Case 23-11069-CTG    Doc 969-1    Filed 10/26/23   Page 1 of 942




                         EXHIBIT A

                    Revised Proposed Order




                              4
              Case 23-11069-CTG              Doc 969-1        Filed 10/26/23         Page 2 of 942




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             )    Chapter 11
                                                                   )
YELLOW CORPORATION, et al.,1                                       )    Case No. 23-11069 (CTG)
                                                                   )
                             Debtors.                              )    (Jointly Administered)
                                                                   )    Re: Docket No. 863

    ORDER (I) APPROVING AGENCY AGREEMENT WITH NATIONS CAPITAL, LLC,
    RITCHIE BROS. AUCTIONEERS (AMERICA) INC., IRONPLANET, INC., RITCHIE
        BROS. AUCTIONEERS (CANADA) LTD., AND IRONPLANET CANADA
         LTD. EFFECTIVE AS OF OCTOBER 16, 2023; (II) AUTHORIZING THE
      SALE OF ROLLING STOCK ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
     INTERESTS AND ENCUMBRANCES; AND (III) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the

Debtors to enter into the Agency Agreement dated as of October 16, 2023 with Nations Capital,

LLC, Ritchie Bros. Auctioneers (America) Inc., IronPlanet, Inc., Ritchie Bros. Auctioneers

(Canada) Ltd., and IronPlanet Canada Ltd. (collectively, the “Agent”), as auctioneer, broker, and

exclusive marketing agent of the Rolling Stock Assets and for related services to be provided by

the Agent relating to the Rolling Stock Assets, including, without limitation, removal from

Company Properties, refurbishment, and transportation to and storage at Agent Properties of the

Rolling Stock Assets, a true and correct copy of which is attached hereto as Exhibit 1 (as

amended, supplemented, or modified from time to time and including all exhibits, schedules, and

appendixes thereto, the “Agency Agreement”), (b) authorizing the sale by the Agent (acting on

1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
     place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
     Overland Park, Kansas 66211.
2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion or the
     Agency Agreement, as applicable.



DOCS_DE:245534.1 96859/001
             Case 23-11069-CTG          Doc 969-1       Filed 10/26/23      Page 3 of 942




behalf of the Debtors) of the Rolling Stock Assets free and clear of any liens, claims, interests

and encumbrances (effective upon the sale thereof), and (c) granting related relief, all as more

fully set forth in the Motion; and upon the Kaldenberg Declaration and the Agent Declaration

(including all filed supplements to the Agent Declaration); and the district court having

jurisdiction under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157

pursuant to the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may

enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the

Motion and all relief requested therein were appropriate, adequate, and sufficient, with all parties

having been afforded due process and an opportunity to be heard with respect to the Motion and

all relief requested therein, and no other or further notice need be provided; and this Court

having reviewed and considered the Motion and having heard the statements in support of the

relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish

just cause for the relief granted herein; and upon all of the proceedings had before this Court; and

after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY FOUND AND DETERMINED THAT:




                                                    2
DOCS_DE:245534.1 96859/001
             Case 23-11069-CTG              Doc 969-1     Filed 10/26/23    Page 4 of 942




                 A.          As demonstrated by evidence adduced at and prior to the Hearing and the

representations of counsel made on the record at the Hearing, the Debtors’ entry into the Agency

Agreement and retention of the Agent represent a sound exercise of the Debtors’ business

judgment under the circumstances. The Debtors have demonstrated good, sufficient, and sound

business purposes and justifications for entry into the Agency Agreement pursuant to section

363(b) of the Bankruptcy Code. Approval of the Agency Agreement is in the best interests of

the Debtors, their estates, their creditors, and other parties in interest. The Agency Agreement

was negotiated, proposed, and entered into by the Debtors and the Agent without collusion, in

good faith, and from arms’ length bargaining positions. The Agent is not an “insider” of the

Debtors, as that term is defined in Section 101 of the Bankruptcy Code. Upon entry of this

Order, the Debtors shall have full authority to consummate and perform under the Agency

Agreement.

                 B.          Any and all sales of the Rolling Stock Assets at any auction, private sale,

or otherwise pursuant to the Agency Agreement will be a legal, valid, and effective transfer of

the Rolling Stock Assets to the buyer(s) of the Rolling Stock Assets and, upon the sale thereof,

will vest the buyers with all right, title, and interest of the Debtors to the Rolling Stock Assets

free and clear of all liens, claims, encumbrances, and other interests of any kind and every kind

whatsoever; provided that all liens, claims, encumbrances and interests of which the Rolling

Stock Assets are sold free and clear shall attach to the Net Proceeds of the applicable sale,

including on the Client Account where Net Proceeds will be deposited, for the benefit of the

Prepetition Secured Parties, the Prepetition UST Secured Parties, the Junior DIP Secured Parties,

and (as applicable) BNSF Railway Company (“BNSF”) in order of priority of such liens, claims,

encumbrances, and interests, with the same validity, force, and effect which they had against the



                                                      3
DOCS_DE:245534.1 96859/001
             Case 23-11069-CTG              Doc 969-1        Filed 10/26/23         Page 5 of 942




applicable Rolling Stock Asset(s) prior to the entry of this Order, including, solely with respect

to Rolling Stock Assets held at BNSF storage locations, prior to the removal of such Rolling

Stock Assets from any such BNSF storage locations.3 The Agent and the Debtors may sell the

Rolling Stock Assets free and clear of all such liens, claims, encumbrances, and interests

because, in each case, one or more of the standards set forth in section 363(f)(l) through (5) of

the Bankruptcy Code have been satisfied.

                 C.          The Agency Agreement is a valid and binding contract between the

Debtors and the Agent, which is and shall be immediately enforceable upon entry of this Order

according to its terms and provisions.

        IT IS HEREBY ORDERED THAT:

                 1.          The Motion is GRANTED, as set forth herein.

                 2.          Any objections to the Motion or to the entry of this Order that have not

been withdrawn, waived or settled, and all reservations of rights included therein, are hereby

DENIED and OVERRULED.

                 3.          The Agency Agreement, including all of its terms and conditions, and

sales of the Rolling Stock Assets as contemplated therein, are approved in all respects pursuant

to sections 327(a), 328(a), and 363 of the Bankruptcy Code. The Debtors and the Agent are

authorized, without further order of the Court, to take all steps they deem necessary or

appropriate to sell the Rolling Stock Assets in accordance with the Agency Agreement, as well

as to perform any and all other duties and obligations contemplated by the Agency Agreement.




3
    Nothing in this Order shall be construed as a determination of the nature, scope, or validity of BNSF’s interests
    in Rolling Stock Assets (including Rolling Stock Assets stored at BNSF locations), if any. The rights of BNSF
    and the Debtors are fully preserved with respect to such matters.


                                                         4
DOCS_DE:245534.1 96859/001
             Case 23-11069-CTG             Doc 969-1    Filed 10/26/23   Page 6 of 942




                 4.          Pursuant to section 363 of the Bankruptcy Code, the Debtors are

authorized, without further order of the Court, to execute, deliver, and perform under,

consummate, and implement the Agency Agreement together with any additional instruments

and documents that may be reasonably necessary or desirable to implement the transactions

contemplated by the Agency Agreement.

                 5.          The Debtors are authorized to employ and retain the Agent on the terms

and provisions set forth in the Agency Agreement, effective as of October 16, 2023.

                 6.          The Agent shall perform all of its obligations, including, without

limitation, marketing and selling the Rolling Stock Assets on the Debtors’ behalf, pursuant to the

Agency Agreement in accordance with the terms and provisions of the Agency Agreement. The

Agent shall be permitted and hold power of attorney from the Debtors to sign any title, release,

or other similar instrument to transfer ownership to a purchaser of any Rolling Stock Assets free

and clear of liens, claims, interests, and encumbrances.

                 7.          Pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the

Rolling Stock Assets shall be sold, pursuant to the Agency Agreement, free and clear of all liens,

claims, encumbrances, and other interests of any kind and every kind whatsoever (effective upon

the sale thereof), in accordance with section 363(f) of the Bankruptcy Code; provided that all

liens, claims, encumbrances, and interests of which the Rolling Stock Assets are sold free and

clear pursuant to the Agency Agreement and this Order shall attach to the Net Proceeds of the

applicable sale, including on the Client Account where Net Proceeds will be deposited, for the

benefit of the Prepetition Secured Parties, the Prepetition UST Secured Parties, the Junior DIP

Secured Parties, and (as applicable) BNSF in the order of priority of such liens, claims,

encumbrances, and interests, with the same validity, force, and effect which they had against the



                                                    5
DOCS_DE:245534.1 96859/001
             Case 23-11069-CTG             Doc 969-1      Filed 10/26/23    Page 7 of 942




applicable Rolling Stock Asset(s) prior to the entry of this Order, including, solely with respect

to Rolling Stock Assets held at BNSF storage locations, prior to the removal of such Rolling

Stock Assets from any such BNSF storage locations.

                 8.          The Debtors shall consult with the Consultation Parties in connection with

each of the Debtors’ rights and obligations under the Agency Agreement, including, but not

limited to: (i) amendments, extensions, modifications, transfers, and assignments of the Agency

Agreement; (ii) the inclusion or removal of Rolling Stock Assets and leased Rolling Stock Assets

from Exhibits A and B, respectively, to the Agency Agreement; (iii) the timing of the Agent’s

removal of Rolling Stock Assets from the Company’s Properties and the order in which such

assets will be removed; and (iv) approval of sales of Rolling Stock Assets by private treaty, or

pursuant to Strategic Bulk Sales and the timing of such sales. For the avoidance of doubt,

nothing herein shall limit any of the rights of the Consultation Parties under the Bidding

Procedures Order and, to the extent of any conflicts between this Order and the Bidding

Procedures Order with respect to the consultation rights of the Consultation Parties regarding

sales of the Rolling Stock Assets, the Bidding Procedures Order shall govern.

                 9.          The Agent’s sale of Rolling Stock Assets by private treaty and Strategic

Bulk Sales shall be subject to approval by the Debtors in consultation with and following notice

to the Committee and the Consultation Parties that have liens on the Rolling Stock Assets that

are the subject of such private treaty sale or Strategic Bulk Sale (which consultation rights shall

continue until such time as the applicable Consultation Party’s claims against the Debtors’

estates have been paid in full in cash); provided that, with respect to private treaty and Strategic

Bulk Sales of Rolling Stock Assets constituting Prepetition UST Tranche B Priority Collateral




                                                      6
DOCS_DE:245534.1 96859/001
             Case 23-11069-CTG              Doc 969-1        Filed 10/26/23        Page 8 of 942




and/or Prepetition Joint Collateral (each as defined in the Final UST Cash Collateral Order)4, the

Debtors shall receive the approval of the Prepetition UST Secured Parties (not to be

unreasonably withheld and deemed given if not objected to within two (2) business days) in

advance of their providing approval pursuant to this paragraph.

                 10.         For each Rolling Stock Asset sold or collective group of Rolling Stock

Assets sold to a single purchaser, the Debtors shall provide a statement (a “Rolling Stock Lien

Statement”) to the advisors to each of the Prepetition Secured Parties, the Prepetition UST

Secured Parties, the Junior DIP Secured Parties, the Committee, BNSF (solely with respect to

Rolling Stock Assets stored at BNSF’s storage locations as of or subsequent to the date of the

entry of this Order (such Rolling Stock Assets, the “Possible BNSF Lien Collateral”))5, and

Alvarez & Marsal Canada Inc., as information officer in respect of the Canadian Recognition

Proceedings (as defined below) (the “Information Officer”) (solely with respect to Canadian

Rolling Stock Assets (as defined below)),6 that indicates the relative lien priorities of each such

secured party on each Rolling Stock Asset sold and the Net Proceeds attributable to the sale of

each Rolling Stock Asset. In the event that a Rolling Stock Lien Statement includes any Possible

BNSF Lien Collateral, such Rolling Stock Lien Statement shall indicate the Debtors’ position

with respect to the existence, validity, and priority of BNSF’s liens, if any, on such Possible

4
    The “Final UST Cash Collateral Order” shall mean the Final UST Cash Collateral and Adequate Protection
    Order (I) Authorizing the Debtors to Use UST Cash Collateral and All Other Prepetition UST Collateral, (II)
    Granting Adequate Protection, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket
    No. 570].
5
    BNSF shall provide the Debtors with a list of Possible BNSF Lien Collateral (including the applicable BNSF
    storage locations) as promptly as practicable, and in no event later than fourteen (14) calendar days, following
    entry of this Order.
6
    “Canadian Rolling Stock Assets” shall mean Rolling Stock Assets located in Canada and/or owned by YRC
    Freight Canada Company, YRC Logistics Inc., USF Holland International Sales Corporation, and/or 1105481
    Ontario Inc. The “Canadian Recognition Proceedings” shall mean those certain recognition proceedings under
    the Companies’ Creditors Arrangement Act in respect of these chapter 11 cases pending before the Ontario
    Superior Court of Justice (Commercial List) (the “Canadian Court”).


                                                         7
DOCS_DE:245534.1 96859/001
             Case 23-11069-CTG             Doc 969-1    Filed 10/26/23   Page 9 of 942




BNSF Lien Collateral sold and the Net Proceeds attributable to such sale(s) of Possible BNSF

Lien Collateral; provided that if BNSF disputes the Debtors’ position with respect to the

foregoing and desires to have such applicable Net Proceeds held in reserve pending resolution of

such dispute in accordance with paragraph 11 of this Order, BNSF may file an appropriate

pleading with this Court no later than five (5) calendar days following BNSF’s receipt of the

Rolling Stock Lien Statement and request that this Court resolve any such dispute (any such

filing, a “BNSF Rolling Stock Asset Lien Dispute”).

                 11.         As soon as is reasonably practicable following Agent’s transfer of Net

Proceeds to the Client Account, but in no event later than ten (10) calendar days thereafter

(except, as applicable, as set forth below with respect to disputed Net Proceeds (if any) of

Possible BNSF Lien Collateral), the Debtors shall distribute the Net Proceeds from the sale of

each Rolling Stock Asset to the Prepetition Secured Parties, the Prepetition UST Secured Parties,

the Junior DIP Secured Parties (collectively, the “Secured Parties”), and/or (as applicable and

only with respect to Possible BNSF Lien Collateral) BNSF in satisfaction of those parties’ claims

against the Debtors’ estates in the order of priority of such liens, claims, encumbrances, and

interests against the Rolling Stock Asset sold, consistent with the Final DIP Order and the

applicable Rolling Stock Lien Statement, until such time as the Secured Parties’ claims against

the Debtors’ estates are paid in full in cash; provided that, in the event any Net Proceeds are

received by the Secured Parties or BNSF prior to the expiration of the Challenge Period (as

defined in the Final DIP Order), such Net Proceeds shall be subject to disgorgement or any other

appropriate remedy the Court may fashion in the event of a successful Challenge (as defined in

the Final DIP Order) pursuant to the Final DIP Order; provided further that if a Rolling Stock

Lien Statement includes any Possible BNSF Lien Collateral, unless agreed otherwise between



                                                    8
DOCS_DE:245534.1 96859/001
            Case 23-11069-CTG             Doc 969-1        Filed 10/26/23      Page 10 of 942




the Debtors and BNSF, the Debtors shall not distribute the Net Proceeds from the sale of such

Possible BNSF Lien Collateral to the Secured Parties prior to the sixth (6th) calendar day

following BNSF’s receipt of such Rolling Stock Lien Statement; provided further that, if BNSF

timely files a BNSF Rolling Stock Asset Lien Dispute in accordance with paragraph 10 of this

Order, the disputed amount of (i.e., BNSF’s alleged claim to) such Net Proceeds of the sale of

the Possible BNSF Lien Collateral referenced in such Rolling Stock Lien Statement shall be held

in reserve by the Debtors pending further Order of this Court resolving such BNSF Rolling Stock

Asset Lien Dispute or upon agreement by the Debtors and BNSF.

                 12.         This Order is and shall be effective as a determination that all liens,

claims, encumbrances and interests shall be and are released with respect to the Rolling Stock

Assets as of the closing of any sale of Rolling Stock Assets. The provisions of this Order

authorizing the sale and assignment of the Rolling Stock Assets free and clear of all liens, claims,

encumbrances and interests, subject to the terms and provisions hereof, shall be self-executing

upon the sale of any Rolling Stock Asset pursuant to the terms of the Agency Agreement.

                 13.         Notwithstanding the failure of the Debtors, the Agent, or any other party

to execute, file or obtain releases, termination statements, assignments, consents or other

instruments to effectuate, consummate and/or implement the provisions hereof, all liens, claims,

encumbrances, and other interests on or against the Rolling Stock Assets, if any, shall be deemed

released, discharged and terminated as of the closing of any sale of Rolling Stock Assets. This

Order (including, as applicable with respect to the Canadian Rolling Stock Assets, subject to the

entry by the Canadian Court of a Canadian Recognition Order (as defined below))7 shall be the

sole and sufficient evidence of authority to transfer title to any particular purchaser of the Rolling


7
    A “Canadian Recognition Order” shall mean an order of the Canadian Court recognizing this Order.


                                                       9
DOCS_DE:245534.1 96859/001
            Case 23-11069-CTG              Doc 969-1        Filed 10/26/23        Page 11 of 942




Stock Assets (including any Canadian Rolling Stock Assets), and the transactions consummated

pursuant to this Order shall be binding upon and shall govern the acts of all persons and entities

who may be required by operation of law, the duties of their office, or contract, to accept, file,

register, or otherwise record or release any documents or instruments, or who may be required to

report or insure any title or state of title in or to any of the property sold pursuant to this Order,

including, without limitation, all filing agents, filing officers, title agents, title companies,

recorders of mortgages, recorders of deeds, administrative agencies, governmental departments,

secretaries of state, and federal, state, and local officials, and each of such persons and entities is

hereby directed to accept this Order as sole and sufficient evidence of such transfer of title and

shall rely upon this Order in consummating the transaction.

                 14.         The Debtors, in consultation with the Consultation Parties (along with the

Information Officer regarding Canadian Rolling Stock Assets), are authorized, without further

order of the Court, to modify Exhibit A and Exhibit B to the Agency Agreement (and upon the

Agent’s consent in accordance with the terms of the Agency Agreement) to add or remove

Rolling Stock Assets thereto or therefrom during the Term in accordance with the Agency

Agreement.8 The Agency Agreement may be amended by (i) the Debtors, in consultation with

the Consultation Parties (along with the Information Officer with respect to amendments

concerning Canadian Rolling Stock Assets) (and which may not be amended or modified in any

manner which adversely affects a Consultation Party’s rights under the Agency Agreement, this

Order, the DIP Orders, the UST Cash Collateral Orders, and the Prepetition Intercreditor

Agreement, without written consent of such adversely affected Consultation Party), and (ii) the


8
    For the avoidance of doubt, the 160 trailers leased by Nations Fund I, Inc. to debtor USF Holland are not
    included in the trailers identified on Exhibit B to the Agency Agreement and may not be subject to the terms of
    this Order absent the written consent of Nations Fund I, Inc. and USF Holland.


                                                       10
DOCS_DE:245534.1 96859/001
            Case 23-11069-CTG              Doc 969-1        Filed 10/26/23        Page 12 of 942




Agent in a writing signed by both Parties without further order of the Court. The Debtors will

file a notice on the Court’s docket setting forth any such foregoing modifications or amendments

(if any).

                 15.         The inclusion of leased Rolling Stock Assets on Exhibit B to the Agency

Agreement shall be subject to: (i) the terms of the Agency Agreement, (ii) the Debtors’ consent,

given following consultation with the Consultation Parties (along with the Information Officer

regarding Canadian Rolling Stock Assets); and (iii) entry by the Debtors, following consultation

with the Consultation Parties, into an acceptable expense and proceed sharing agreement with the

lessor(s) of the Rolling Stock Assets that are proposed to be included on Exhibit B.

                 16.         Notwithstanding any other provision in this Order, as adequate protection

for the purported secured tax claims asserted by the Texas Taxing Authorities,9 the Debtors shall

set aside, from the Net Proceeds generated by Rolling Stock Assets located in the state of Texas

and prior to the distribution of such Net Proceeds to any other creditor, the amount of

$171,424.10 in a segregated account (the “Texas Tax Reserve”), and the tax liens, if any, of the

Texas Taxing Authorities shall attach to the Texas Tax Reserve to the same extent and with the

same priority as the liens they now assert against such Rolling Stock Assets. These funds shall

be on the order of adequate protection and shall constitute neither the allowance of the claims of

the Texas Taxing Authorities, nor a cap on the amounts the Texas Taxing Authorities may be

entitled to receive. These funds may be distributed only upon agreement between the Texas


9
    The “Texas Taxing Authorities” shall mean all ad valorem taxing jurisdictions represented by the firms of
    Linebarger, Goggan, Blair and Sampson, McCreary, Veselka, Bragg & Allen, PC, and Perdue Brandon Fielder
    Collins and Mott LLP, including but not limited to Bexar County, Cypress-Fairbanks Independent School
    District, Dallas County, City of Eagle Pass, Eagle Pass Independent School District, City of El Paso, Fort Bend
    County, Harris County, Hidalgo County, Irving Independent School District, Jefferson County, City of
    McAllen, McLennan County, City of Mesquite, Nueces County, Tarrant County, Bowie Central Appraisal
    District, Central Appraisal District of Taylor County, Waco Independent School District, Lubbock Central
    Appraisal District, Maverick County Tax Office.


                                                       11
DOCS_DE:245534.1 96859/001
              Case 23-11069-CTG            Doc 969-1      Filed 10/26/23    Page 13 of 942




Taxing Authorities and the Debtors, in consultation with the Consultation Parties, or by

subsequent order of the Court, duly noticed to the Texas Taxing Authorities and the Consultation

Parties. The claims and liens of the Texas Taxing Authorities shall remain subject to any

objections any party would otherwise be entitled to raise as to the priority, validity, or extent of

such liens.

                 17.         Neither the Debtors nor the Agent shall be required to file a separate

motion or seek Court approval for any sale or other disposition of the Rolling Stock Assets,

which sale or other disposition shall be authorized to be sold pursuant to the terms set forth in the

Agency Agreement and this Order (including, as applicable with respect to the Canadian Rolling

Stock Assets, subject to the entry by the Canadian Court of a Canadian Recognition Order). The

Debtors shall not be required to file a separate motion or to seek Court approval to pay or

reimburse the Agent in accordance with and for any purposes under the Agency Agreement, and

the Agent shall not be required to file a separate motion or to seek Court approval to be paid or

reimbursed from Gross Proceeds in accordance with and for any purposes under the Agency

Agreement. For the avoidance of doubt, other than with respect to Strategic Bulk Sales, Ducera

Partners LLC, investment banker to the Debtors, shall not earn any fees in respect of the Rolling

Stock Asset sales(s) by the Agent on behalf of the Debtors; provided that, in no event shall the

aggregate fees paid or payable to the Agent and Ducera Partners LLC on account of Strategic

Bulk Sales exceed the applicable Rolling Stock Services Fee which would otherwise be paid or

payable to the Agent (i.e., if such sales were not Strategic Bulk Sales) under the terms of the

Agency Agreement.

                 18.         The Agent shall not be required to maintain time records or to file interim

or final fee applications with the Court. Any and all commissions, reimbursements, fees, or



                                                     12
DOCS_DE:245534.1 96859/001
            Case 23-11069-CTG              Doc 969-1       Filed 10/26/23    Page 14 of 942




other amounts due to, earned by, and paid to the Agent in accordance with the Agency

Agreement (including those to be set forth in the Final Report (defined below)) shall not be

subject to the review by the Court, any party in interest (except as and only to the extent

provided in the Agency Agreement), or the U.S. Trustee. Upon the conclusion of the Term or at

such earlier time following Agent’s completion of the sale process for the Rolling Stock Assets,

the Agent shall prepare, and the Debtors shall file, a report (the “Final Report”) with the Court

that identifies (i) the Rolling Stock Assets sold pursuant to the terms set forth in the Agency

Agreement, (ii) the sale prices for the Rolling Stock Assets, and (iii) the commission and fees

and reimbursement of expenses deducted by the Agent with respect to each transaction (or in the

aggregate with respect to expenses if not directly incurred to sell a Rolling Stock Asset). For the

avoidance of doubt, the Final Report need only describe the information contained in this

paragraph, and the Agent shall not be required to file interim reports or to keep time records of

hours spent performing the services set forth in the Agency Agreement.

                 19.         Parties who purchase the Rolling Stock Assets shall be afforded the

protections under section 363(m) of the Bankruptcy Code.

                 20.         No bulk sales law or any similar law of any state or other jurisdiction shall

apply in any way to the transactions authorized herein, including the Agency Agreement and the

Agent Sale authorized therein.

                 21.         The failure to include specifically any particular provision of the Agency

Agreement in this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of the Bankruptcy Court that the Agency Agreement be authorized and approved in its

entirety.




                                                      13
DOCS_DE:245534.1 96859/001
            Case 23-11069-CTG              Doc 969-1       Filed 10/26/23   Page 15 of 942




                 22.         To the extent of any inconsistency between the provisions of this Order

and the Agency Agreement, the provisions contained in the Order shall govern.

                 23.         Notice of the Motion as provided therein shall be deemed good and

sufficient notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local

Rules are satisfied by such notice.

                 24.         Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of

this Order are immediately effective and enforceable upon its entry.

                 25.         This Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




                                                      14
DOCS_DE:245534.1 96859/001
            Case 23-11069-CTG   Doc 969-1   Filed 10/26/23   Page 16 of 942




                                      EXHIBIT 1

                                  Agency Agreement




DOCS_DE:245534.1 96859/001
            Case 23-11069-CTG               Doc 969-1         Filed 10/26/23        Page 17 of 942

                                                                                                  Execution Version

                    NCI – RITCHIE BROS. AGENCY AGREEMENT
        This Agency Agreement (this “Agreement”) is dated as of the 16th day of October, 2023
(the “Effective Date”), by and between Nations Capital, LLC, Ritchie Bros. Auctioneers
(America) Inc., IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd. and IronPlanet Canada
Ltd. (collectively, the “Agent”)), and Yellow Corporation and its affiliated debtors and debtors-in-
possession (collectively, the “Company” or the “Debtors”). Agent is in the business of marketing
and selling assets on behalf of its clients. The Company is the owner, lessee and possessor of the
Rolling Stock Assets (as defined below) and desires to engage Agent as its exclusive agent to sell
such assets as more fully described herein. Therefore, in consideration of the covenants contained
herein, Agent and the Company (individually, each a “Party,” and together, the “Parties”) do
hereby agree as follows:

I.      Engagement and Agreement to Market Rolling Stock Assets

       A.      The Company hereby engages Agent as its exclusive marketing and sales agent,
and Agent hereby accepts such engagement, with respect to the marketing, sale, and disposition of
the Company’s rolling stock, machinery and equipment (the “Rolling Stock Assets”) located at,
in, or in the vicinity of the properties owned or leased by the Company
(the “Company Properties”), which Rolling Stock Assets are specifically identified in Exhibit A
attached hereto and by this reference incorporated herein.1

        B.     For purposes of marketing and selling the Rolling Stock Assets, Agent shall market
and sell the Rolling Stock Assets during the Term (defined below) of this Agreement substantially
consistent with the Disposition Plan (defined below) utilizing private treaty, online, webcast, or
unreserved public auctions, and such other sale strategies as the Company (in consultation with
the Consultation Parties (as defined in the Bidding Procedures Order) (as defined below)) and
Agent mutually agree.2

        C.      The Company and its advisors, in consultation with the Consultation Parties, shall
work with Agent promptly to identify any Rolling Stock Assets that are subject to an executory
contract or unexpired lease, and Agent shall, within thirty (30) days following the entry of the
Retention Order (defined below), evaluate whether assumption and assignment or rejection of such
contracts or leases will maximize value for the Debtors and their estates. The Company shall
cooperate with Agent in connection with Agent’s review of executory contracts and unexpired
leases. Agent will also, within thirty (30) days following the entry of the Retention Order,
recommend which contracts and leases shall be assumed or develop an alternate strategy with
respect to all or any of such contracts and leases subject to the Company’s input in consultation
with the Consultation Parties. Any assumption of an executory contract or lease, the sale by the

1
     Unless otherwise set forth herein, any Assets (as defined in the Bidding Procedures Order) not specifically set
     forth at Exhibit A attached hereto shall not be considered Rolling Stock Assets for purposes of this Agreement.
     Assets that are in the possession or under the control of third parties may become Rolling Stock Assets and added
     to Exhibit A once possession is obtained by the Debtors. The Parties reserve the right to amend Exhibit A by
     mutual written agreement during the Term.
2
     For the avoidance of doubt, any reference herein to the consultation rights of the Consultation Parties shall mean
     the Company’s (not Agent’s) obligation to consult with the Consultation Parties in each applicable case.

                                                          1
             Case 23-11069-CTG             Doc 969-1        Filed 10/26/23       Page 18 of 942




Agent of any leased Assets listed at Exhibit B hereto, or alternative strategy with respect to such
contracts and leases, shall be subject to the Company’s consent in consultation with the
Consultation Parties. A schedule of the Company’s leased or financed Rolling Stock Assets,
which may be marketed and sold by the Agent pursuant to this Agreement, and exclusive of the
Rolling Stock Assets that are the subject of leases or financings as to which the Debtors have
stipulated as of the Effective Date to stay relief, is shown in Exhibit B.3

        D.     Rolling Stock Assets comprise the property identified in Exhibit A hereto, together
with (in each case only if and to the extent currently in the Company’s possession and/or readily
available/accessible to the Company) manuals, certificates of title, certificates of origin, bills of
sale, machinery history documentation (including usage, maintenance and repair records),
manufacturer and other warranties, and keys associated with or related to such Rolling Stock
Assets, wherever located, including at the Company Properties; provided that, unless agreed in
writing between the Agent and the Company, Agent shall not be responsible for the maintenance,
removal, disposal, or other disposition of Assets (as defined in the Bidding Procedures Order) not
constituting Rolling Stock Assets from the Company Properties. Assets that, if and to the extent
known, contain unusually dangerous or environmentally hazardous substances shall not be
considered Rolling Stock Assets even if they are listed on Exhibit A.

II.      Exclusivity and Cooperation

        In order to permit the successful marketing, disposition and sale of the Rolling Stock
Assets, the Company grants to Agent the exclusive right to sell the Rolling Stock Assets for a
period beginning on the Effective Date and continuing for a period of eighteen (18) months
thereafter (such period, the “Term”), which Term may be extended by mutual agreement of the
Company (in consultation with the Consultation Parties) and Agent. The Company acknowledges
that Agent, its members or its affiliated entities may be engaged to sell or market similar assets by
other persons or entities during the Term, and that any such engagement shall not constitute or be
deemed to be a violation of this Agreement. All inquiries regarding the Rolling Stock Assets made
to the Company or its representatives shall be redirected to Agent, and Company shall, on or as
soon as reasonably practicable following the Effective Date, share with Agent all indications of
interest, offers and proposals to purchase or remarket and sell any of the Rolling Stock Assets.

       Agent understands that the Company is conducting the sale of the Company’s Assets in
accordance with the Order (I)(A) Approving Bidding Procedures for the Sale or Sales of the
Debtors’ Assets; (B) Scheduling Auctions and Approving the Form and Manner of Notice Thereof;
(C) Approving Assumption and Assignment Procedures; (D) Scheduling Sale Hearings and
Approving the Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’
Assets Free and Clear of Liens, Claims, Interests and Encumbrances, and (B) Approving the
Assumption and Assignment of Executory Contracts and Unexpired Leases; and (III) Granting
Related Relief [Docket No. 575] (the “Bidding Procedures Order”). Agent agrees to coordinate
and work in consultation with the Company’s advisors in accordance with the Bidding Procedures
Order to maximize the value of the Rolling Stock Assets and in consultation with (as required by
the Bidding Procedures Order or herein) the Consultation Parties.


3
      The Parties reserve the right to amend Exhibit B by mutual written agreement during the Term.


                                                        2
          Case 23-11069-CTG          Doc 969-1      Filed 10/26/23     Page 19 of 942




III.   Rolling Stock Services

        A.     Rolling Stock Services. In connection with the marketing, disposition and sale
(including removal, transportation, and storage of, as applicable) of the Rolling Stock Assets
(the “Rolling Stock Services”), Agent will:

              (i)     develop an advertising, removal, transportation, storage, disposition and
                      marketing plan (including the timing, sale modality and location) for the
                      marketing, removal, transportation, storage, and sale of the Rolling Stock
                      Assets (the “Disposition Plan”) within forty-five (45) days of the entry of
                      the Retention Order designed to maximize the net recovery on the Rolling
                      Stock Assets and consult with Company (in consultation with the
                      Consultation Parties) with respect to the foregoing plan;

              (ii)    implement the advertising, removal, transportation, storage, disposition and
                      marketing plan as deemed necessary or appropriate by Agent and provide
                      the Company (which shall, in turn, provide the Consultation Parties) with
                      weekly updates on the implementation of such plan;

              (iii)   prepare for the sale of the Rolling Stock Assets, including gathering
                      specifications and photographs for pictorial brochures or other advertising
                      means and arranging (including removing and transporting to Agent
                      Properties (as applicable) and refurbishing (as applicable)) the Rolling
                      Stock Assets in a manner, which in Agent’s commercially reasonable
                      judgment is designed to enhance the net recovery on the Rolling Stock
                      Assets;

              (iv)    provide fully qualified and experienced personnel who will advertise,
                      market, prepare for sale and sell the Rolling Stock Assets and promptly
                      account for the proceeds thereof in accordance with the terms of this
                      Agreement;

              (v)     provide additional staffing to handle all auction-related accounting tasks,
                      including a complete auction crew to handle computerized accounting
                      functions necessary to provide auction buyers with invoices and the
                      Company with a complete accounting of all Rolling Stock Assets sold at
                      any auction or otherwise;

              (vi)    (A) organize, oversee, staff, and facilitate all aspects of purchasers’ removal
                      of Rolling Stock Assets from the Company Properties and (B) organize and
                      provide fully qualified and experienced drivers, towing services, and other
                      necessary and specialized personnel and services necessary on a
                      commercially best efforts basis to remove (by either (a) on-site sale and
                      removal by buyer or (b) removal and transportation by Agent) from
                      Company Properties any and all Rolling Stock Assets within six (6) months
                      of entry of the Retention Order (the “Removal Date”) and to transport any
                      such Rolling Stock Assets to commercially appropriate facilities owned or

                                                3
           Case 23-11069-CTG               Doc 969-1         Filed 10/26/23        Page 20 of 942




                          possessed by the entities comprising the Agent or their affiliates
                          (“Agent Properties”), where Agent will store such Rolling Stock Assets in
                          a commercially reasonable manner; provided that the Company agrees to
                          coordinate with Agent to provide the minimum level of Company staffing
                          (but not less than one) necessary to ensure Agent’s access to Company
                          Properties and ability to execute its obligations hereunder; provided further
                          that Agent acknowledges and agrees it will provide substantially all staffing
                          related to and necessary for the marketing, sale, removal, transportation, and
                          storage of the Rolling Stock Assets during the Term as contemplated by this
                          Agreement; provided further that Agent agrees to use commercially best
                          efforts to remove all Rolling Stock Assets from all Company Properties by
                          the Removal Date, including its commercially best efforts to remove all
                          Rolling Stock Assets from Priority Company Properties (defined below)4
                          within three (3) months after the date of the entry of the Retention Order;
                          provided further that Agent acknowledges and agrees that the Removal
                          Date (i.e., the date that is six (6) months from the date of entry of the
                          Retention Order) shall not be extended except in Company’s sole,
                          exclusive, and reasonable discretion (in consultation with the Consultation
                          Parties); provided further, however, if Company determines to not extend
                          the Removal Date, Agent shall have the right to cure by continuing to use
                          commercially best efforts to remove and transport remaining Rolling Stock
                          Assets from Company Properties during the three (3) months following the
                          Removal Date (the “Cure Period”), with any occupancy costs incurred by
                          the Company during such Cure Period added to the Gross Proceeds tiered
                          ranges set forth below; and provided further that Agent’s failure to remove
                          all Rolling Stock Assets (without Company’s consent in consultation with
                          the Consultation Parties) from Company Properties by the Removal Date
                          (as may be extended or during any Cure Period) shall result only in a Gross
                          Proceeds range upward adjustment as provided in Section III.B.(i) below,
                          and Agent shall, following any cure period, unless agreed otherwise with
                          the Company (in consultation with the Consultation Parties), use
                          commercially best efforts to dispose of any remaining Rolling Stock Assets
                          (y) at Company Properties “AS IS” “WHERE IS” and (z) at Agent
                          Properties in Agent’s commercially reasonable discretion either
                          (1) “AS IS” “WHERE IS” or (2) if any Rolling Stock Services Expenses
                          budget remains, refurbished in an effort to maximize the Gross Proceeds of
                          such Rolling Stock Assets at Agent Properties, as promptly as commercially
                          practicable, with any additional occupancy costs incurred by the Company
                          adjusting the Gross Proceeds tiers upwards by such costs incurred following
                          the Removal Date. For the avoidance of doubt, (m) the Company’s sole and
                          exclusive remedy for the Agent’s failure to remove all Rolling Stock Assets

4
    “Priority Company Properties” shall mean those Company Properties provided in a list by the Company to Agent
    within two (2) business days following entry of the Retention Order which (a) Agent shall use its commercially
    best efforts to clear of Rolling Stock Assets within three (3) months after the date of the entry of the Retention
    Order and (b) amount to no more than fifty (50%) of the Company Properties. Company and Agent may adjust
    the list of Priority Company Properties thereafter to the extent agreed and commercially practicable.


                                                         4
Case 23-11069-CTG         Doc 969-1       Filed 10/26/23     Page 21 of 942




           from Company Properties by the Removal Date, as may be extended by
           agreement or by the expiration of the Cure Period, or by the expiration of
           the Term, shall be an increase in the Gross Proceeds range upward
           adjustment as provided in Section III.B.(i) below and (n) Agent shall not be
           liable for any actual, special, consequential or punitive damages;
           provided that nothing in this Section III(A)(vi) shall remove or otherwise
           limit the Company’s termination rights under this Agreement, including but
           not limited to, for cause.

   (vii)   as part of the Disposition Plan, recommend (and consult with the Company
           (in consultation with the Consultation Parties)) and manage refurbishment
           (including, e.g., cleaning, topping off fluids, replacement of tires and
           batteries, etc.) of certain of the Rolling Stock Assets to prepare for sales, in
           each case where appropriate and value-maximizing, and arrange for,
           oversee, and execute all other tasks in connection with same;

   (viii) sell the Rolling Stock Assets for cash or other immediately available funds
          at live, internet or internet-assisted auctions or by private treaty to the
          highest bidder(s) pursuant to standard buyer terms and conditions and on an
          “AS IS,” “WHERE IS” and “all sales are final” bases. Only sales by private
          treaty and Strategic Bulk Sales (as defined below) shall be subject to
          approval by the Company (not to be unreasonably withheld or delayed) in
          consultation with and following notice to the Consultation Parties and their
          advisors). Sales of Rolling Stock Assets at live, internet, or internet-assisted
          auctions shall not be subject to the Company’s consent; provided, however,
          for the avoidance of doubt, the approximate timing of such auctions and the
          scope of Rolling Stock Assets included therein shall be subject to the
          Company’s consent (not to be unreasonably withheld or delayed) in
          consultation with the Consultation Parties;

   (ix)    charge and collect on behalf of Company from all purchasers any purchase
           price together with all applicable taxes in connection therewith and manage
           and administer the processing of all Company certificates of title associated
           with titled Rolling Stock Assets;

   (x)     assist the Company and/or its advisors as necessary to obtain all required
           approvals and authorizations from the Bankruptcy Court or the Canadian
           Court (as defined in the Bidding Procedures Order) with respect to any sale
           of Rolling Stock Assets contemplated herein, which assistance may include,
           without limitation, testimony at hearings before the Bankruptcy Court or the
           Canadian Court, attendance at depositions and/or the provision of
           declarations or affidavits in support of Rolling Stock Asset sales (provided
           that Agent shall not be responsible for the costs of such assistance);
           provided, however, time spent preparing to deliver testimony (whether in
           court or for purposes of a deposition), attending court proceedings, and
           delivering any testimony in court or during a deposition will be charged on
           a time and materials basis based on Agent’s then prevailing hourly rates


                                      5
Case 23-11069-CTG         Doc 969-1       Filed 10/26/23     Page 22 of 942




           (“Testimony Fees”), which Testimony Fees are not otherwise included in
           Agent’s compensation set forth herein, and Agent shall be reimbursed for
           reasonable attorney’s fees and expenses incurred in connection therewith;
           provided, however, Agent’s legal fees in connection with the foregoing
           (which shall be limited to those of one law firm) and Testimony Fees shall
           not be subject to the limitation on expenses in Section III.B.(i);

   (xi)    work with the Company and/or its advisors to prepare reports, statements,
           affidavits or similar documents required under Rule 6004 of the Federal
           Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) or any applicable
           local rule (including, if necessary, as part of the Canadian Recognition
           Proceeding (as defined in the Bidding Procedures Order));

   (xii)   collect Gross Proceeds generated by the sale of the Rolling Stock Assets
           and account and remit net proceeds (Gross Proceeds less any amounts due
           to Agent hereunder, the “Net Proceeds”) to the Company by transferring the
           Net Proceeds to an account as directed by the Company
           (the “Client Account”), provided that the Agent shall remit all collected Net
           Proceeds to the Client Account together with a settlement statement (a) with
           respect to any sale to a single purchaser generating Gross Proceeds in excess
           of $10,000,000, within five (5) business days following Agent’s receipt of
           good funds on account of such Gross Proceeds from any such purchaser and
           (b) with respect to all other sales, on a rolling basis in each case as promptly
           as commercially practicable (and at least every fourteen (14) calendar days
           following the commencement of the Rolling Stock Assets sales), subject to
           a periodic true up and audit procedures to be agreed between the Agent and
           the Company (in consultation with the Consultation Parties) to reflect the
           actual calculation of the Rolling Stock Services Fees (defined below) earned
           by the Agent during such period (if such amounts have not already been
           earned and withheld by Agent) and reimbursement of Rolling Stock
           Services Expenses (defined below) and Transportation Fees (defined
           below). The Company shall provide a copy of each settlement statement to
           the Consultation Parties. In connection with any true up and/or audit of the
           Net Proceeds, Rolling Stock Services Fees, Rolling Stock Services
           Expenses and Transportation Fees, the Company shall be granted access to
           all accounting and information necessary to complete the audit/true up (and
           the Consultation Parties shall have access to such accounting and
           information from the Company, once provided to the Company).
           “Gross Proceeds” shall be defined as cumulative collected gross receipts
           from the sale of the Rolling Stock Assets, exclusive of sales taxes and
           Transaction Fees (defined below) charged to purchasers;

   (xiii) only if and to the extent required and requested by the Company, procure or
          provide insurance coverage on the Company’s behalf at rates lower
          (if available) than the rates paid by the Company for Rolling Stock Assets
          only once such assets are delivered to certain of the Agent Properties;



                                      6
     Case 23-11069-CTG        Doc 969-1       Filed 10/26/23    Page 23 of 942




        (xiv)   submit to the Company and its advisors (which shall provide the same, upon
                receipt, to the Consultation Parties and their advisors) (a) bi-weekly sales
                reports and (b) a final and complete sales report no later than fourteen (14)
                calendar days after the end of the Term.

B.      Rolling Stock Services Fees.

        (i)     In consideration of its performance of the Rolling Stock Services, the
                Rolling Stock Services Fee shall be a percentage of the Gross Proceeds
                collected and payable on sales of owned Rolling Stock Assets,
                in accordance with the table below:

                  Tier        Start                   End                      Fee
                 1       $0                   $475,000,000
                 2       $475,000,001         $600,000,000
                 3       $600,000,001         $800,000,000
                 4       $800,000,001         Above $800,000,001

                With respect to Rolling Stock Assets that are missing or are in unsalable
                condition only (as reasonably determined by Agent, “Unsaleable Assets”),
                the Gross Proceeds ranges shown above will be adjusted downward based
                on existing orderly liquidation values provided to and accepted by the
                Agent. Agent acknowledges it has reviewed and accepted such orderly
                liquidation values of the Rolling Stock Assets provided by the Company to
                Agent in the Company’s data room in advance of entering this Agreement.
                In the event adjustment(s) are required pursuant to this provision, each tier
                of Gross Proceeds shown above will be adjusted downward ratably based
                on the contribution of the Unsalable Assets to the total orderly liquidation
                values provided to and accepted by the Agent. The Gross Proceeds ranges
                shown above will be adjusted downward based on Strategic Bulk Sales.

                Pursuant to Section III.C of this Agreement, Agent will work with Company
                to mutually agree upon budgeted amounts for Rolling Stock Services
                Expenses and Transportation Fees (each as defined herein). In the event
                that total budgeted amounts of Rolling Stock Services Expenses
                (excluding title transfer fees) and Transportation Fees exceeds
                $38.4 million, each of the Gross Proceeds ranges shown above will be
                adjusted upward by the dollar amount that the total budgeted amounts
                exceed $38.4 million. Further, in the event the Company incurs occupancy
                costs after the Removal Date solely on account of Rolling Stock Assets
                remaining on such properties, each of the Gross Proceeds ranges shown
                above will be adjusted upward by the dollar amount of such occupancy costs
                pursuant to Section III.A(vi); provided, however, if the Company
                (in consultation with the Consultation Parties) and Agent agree to extend
                the Removal Date (including by amendment to the Disposition Plan) in
                order to maximize the Gross Proceeds, then the Gross Proceeds ranges
                shown above will not be adjusted upwards unless additional costs are

                                          7
           Case 23-11069-CTG             Doc 969-1        Filed 10/26/23       Page 24 of 942




                        incurred beyond such extended Removal Date; provided further that Agent
                        acknowledges and agrees that the Removal Date (i.e., the date that is
                        six (6) months from the date of entry of the Retention Order) shall not be
                        extended except in the Company’s sole and exclusive discretion.

                        For the avoidance of doubt, the above ranges apply marginally, i.e., the next
                        fee tier only applies to each dollar of Gross Proceeds in excess of the cutoff
                        for the prior tier.

                        With respect to leased Rolling Stock Assets, the Rolling Stock Services Fee
                        shall be      for any amount of Gross Proceeds therefrom.

                (ii)    The Company has indicated that it will share with Agent a list of potential
                        buyers who have each expressed an interest in purchasing a sub-set of the
                        Rolling Stock Assets. Any lists provided must be from specific buyers on
                        a specific list of the Rolling Stock Assets. Agent and the Company’s
                        representatives (in consultation with the Consultation Parties, to the extent
                        required under the Bidding Procedures Order) will assess these expressions
                        of interest and mutually determine whether or not to negotiate and execute
                        any such sales. In the event that binding transaction documentation for any
                        such sales is executed within sixty (60) days of the entry of the Retention
                        Order (such sales, “Strategic Bulk Sales”), which such transaction
                        documentation shall set forth the purchase price for each Rolling Stock
                        Asset and across categories of Rolling Stock Assets, Agent will reduce its
                        commission rate to          for those applicable Rolling Stock Assets sold
                        pursuant to Strategic Bulk Sales; provided, however, Agent shall be entitled
                        to the full commission rate for any portion of the Gross Proceeds of such
                        Strategic Bulk Sales for Rolling Stock Assets that were not initially
                        included in the specific list provided by the Company and that are directly
                        attributable to Agent’s services and efforts that resulted in increased
                        Gross Proceeds generated on account of such increase in units sold or
                        pricing. For the avoidance of doubt, any Strategic Bulk Sales at the reduced
                        commission rate shall cause a downward adjustment of the Gross Proceeds
                        tiers described in Section III.B(i) above based on existing orderly
                        liquidation values provided to and accepted by the Agent.

        C.     Rolling Stock Services Expenses. Agent shall market and sell the Rolling Stock
Assets in a commercially practical and prompt manner, including in various phases if
commercially reasonable to do so, consistent with the Disposition Plan and this Agreement. Agent
shall advance (up to the agreed Rolling Stock Services Expenses budget)5, and shall be entitled to
reimbursement by the Company for all Rolling Stock Services Expenses on a cost basis, regardless
of whether or not any Rolling Stock Assets are sold, and which expenses shall be recovered from
the collected Gross Proceeds of the sale of Rolling Stock Assets only.
“Rolling Stock Services Expenses” mean the Agent’s commercially reasonable and documented

5
    The Parties will discuss and agree to the Rolling Stock Expenses budget as promptly as practicable following
    the Effective Date.


                                                      8
           Case 23-11069-CTG             Doc 969-1         Filed 10/26/23       Page 25 of 942




out-of-pocket expenses for repair and refurbishment costs to be incurred solely to maximize the
Net Proceeds to the Company and title transfer fees equal to or less than (if applicable) $50.00 per
title. Agent will not charge the Company for storage of any Rolling Stock Assets following their
removal of such Rolling Stock Assets from the Company Properties. Notwithstanding anything
to the contrary provided herein, Agent shall not be obligated to advance payment of Rolling Stock
Services Expenses or Transportation Fees in excess of the Rolling Stock Services Expenses budget
or the Transportation Fees budget, respectively, and shall thereafter use commercially best efforts,
unless agreed otherwise with the Company, to dispose of the remaining Rolling Stock Assets
“AS IS” “WHERE IS” during the duration of the Term, with any additional costs incurred by the
Company for occupancy adjusting the Gross Proceeds tiers upwards by such costs incurred
following the Removal Date; provided that if the aggregate of Rolling Stock Services Expenses
and Transportation Fees incurred exceed $38.4 million (not to be exceeded without Company’s
prior written consent in consultation with the Consultation Parties), then the Gross Proceeds ranges
in Section III.B.(i) above shall be adjusted upwards by such amount in excess of $38.4 million.

        D.      Transportation Fees. Agent shall advance (up to the agreed Transportation Fees
        6
budget) and shall be entitled to reimbursement of its expenses on a cost basis for (a) removing all
Rolling Stock Assets from off the Company Properties’ premises consistent with the Disposition
Plan and this Agreement and (b) transporting such Rolling Stock Assets to Agent Locations in a
commercially practicable and economical manner (such fees and costs, the “Transportation Fees”).
In addition to the Rolling Stock Services Fees, the Company shall be responsible for
Transportation Fees, both of which shall be recovered from the collected Gross Proceeds derived
from the sale of Rolling Stock Assets only. Notwithstanding anything to the contrary provided
herein, Agent shall not be obligated to advance payment of Rolling Stock Services Expenses or
Transportation Fees in excess of the Rolling Stock Services Expenses budget or the Transportation
Fees budget, respectively, and shall thereafter use commercially best efforts, unless agreed
otherwise with the Company, to dispose of the remaining Rolling Stock Assets
“AS IS” “WHERE IS” during the duration of the Term, with any additional costs incurred by the
Company for occupancy adjusting the Gross Proceeds tiers upwards by such costs incurred;
provided that if the aggregate of Rolling Stock Services Expenses and Transportation Fees incurred
exceed $38.4 million (not to be exceeded without Company’s prior written consent in consultation
with the Consultation Parties), then the Gross Proceeds ranges in Section III.B.(i) above shall be
adjusted upwards by such amount in excess of $38.4 million.

        Agent shall provide the Company (which shall in turn provide to the Consultation Parties)
an updated Rolling Stock Services Expenses budget and an updated Transportation Fees budget as
promptly as practicable (and no event later than fourteen (14) days) following Agent’s incurrence
of eighty (80) percent, or $30.7 million, of the abovementioned $38.4 million budget for Rolling
Stock Services Expenses and Transportation Fees.

       E.      Transaction Fee. Agent is authorized to charge purchasers a transaction fee
(the “Transaction Fee”). With respect to Rolling Stock Assets sold at a public auction run by
Ritchie Bros. Auctioneers (America) Inc. or its affiliates, any Transaction Fee collected shall not
exceed the following: (a)     on all lots selling for USD 12,000 or less, with a minimum fee of

6
    The Parties will discuss and agree to the Transportation Fees budget as promptly as practicable following the
    Effective Date.


                                                       9
             Case 23-11069-CTG               Doc 969-1         Filed 10/26/23        Page 26 of 942




USD       per lot,7 (b)      on all lots selling for over USD 12,000 up to USD 75,000, with a
minimum fee of USD           per lot or, (c) USD         on all lots selling for over USD 75,000.
For the avoidance of doubt, any Rolling Stock Assets sold through a private treaty or other
mutually agreeable sales platforms that are not sold via public unreserved auction shall not be
subject to the Transaction Fee. The Transaction Fee shall not be considered Gross Proceeds for
the purpose of calculating the Rolling Stock Services Fees hereunder. Agent agrees that
          percent of each Transaction Fee shall be credited against the Rolling Stock Service Fee
earned and owing to Agent in connection with the applicable sale.

IV.      Termination for Cause

       Company may terminate this Agreement at any time for cause (including Agent’s fraud,
gross negligence, willful misconduct or abdication of responsibility in fulfilling the Agreement),
but not as a result of the aggregate of Rolling Stock Services Expenses and Transportation Fees
exceeding $38.4 million with the Company’s prior written consent in consultation with the
Consultation Parties. In the event of a termination for cause, no fees shall be paid to Agent other
than any undisputed fees already earned and payable (including any related reimbursable
expenses).

        Each Party shall have the right to terminate this Agreement upon not less than
thirty (30) days’ written notice in the event that a Force Majeure Event occurs and is continuing
for a period in excess of three (3) consecutive months and materially interferes with or delays
either Party’s ability to perform under this Agreement or materially increases the cost of the
Rolling Stock Services or transportation services. “Force Majeure Event” means any act, event,
circumstance or condition that (i) is beyond the commercially reasonable control of and
unforeseeable by, or which, if foreseeable, could not be avoided in whole or in material part by the
exercise of due diligence by, either the Company or Agent who is relying on such act, event,
circumstance or condition as justification for not performing an obligation under this Agreement
and (ii) materially interferes with, or materially increases the cost of, performing such Party’s
obligations under this Agreement, to the extent that such act, event, circumstance or condition is
not the result of the willful or negligent act, error or omission or breach of this Agreement by such
Party.

     EACH PARTY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY RIGHT EITHER MAY HAVE TO A TRIAL BY JURY IN
RESPECT OF ANY PROCEEDING BROUGHT UNDER THIS AGREEMENT.

V.       Company Undertakings

      A.     In connection with the Rolling Stock Services to be provided by Agent hereunder,
the Company shall and hereby grants to Agent the following rights and authority:

                  (i)      The Company hereby grants Agent a limited license to use the name
                           “Yellow Corporation” and similar derivations thereof, and any marks and
                           logos related thereto, but solely to the extent reasonably required for use in

7
      For purposes of this Agreement, a “lot” shall be defined as a single Rolling Stock Asset.

                                                          10
Case 23-11069-CTG        Doc 969-1       Filed 10/26/23    Page 27 of 942




           advertising and promotional materials related to Agent’s marketing and
           selling of the Rolling Stock Assets under this Agreement. Agent’s license
           to use such name, marks, and logos for such marketing and sale purpose
           shall continue until the end of the Term of this Agreement.

   (ii)    The Company shall assist Agent to directly coordinate with Vintek to
           assemble and deliver to Agent a title for each Rolling Stock Asset that is a
           titled Rolling Stock Asset, together with a power of attorney to permit Agent
           to transfer and register title to such Rolling Stock Assets.

   (iii)   The Company shall endeavor to cause all liens and encumbrances, including
           adverse possession of any Rolling Stock Asset, to be removed from title to
           the Rolling Stock Assets (effective upon the sale thereof) pursuant to the
           Retention Order. Any Rolling Stock Asset that cannot be sold free and clear
           of liens and encumbrances following entry of the Retention Order shall not
           constitute Rolling Stock Assets under this Agreement.

   (iv)    The Company will permit Agent and its employees and consultants (in each
           case commercially licensed, qualified, and experienced in such operations)
           to operate the Rolling Stock Assets and other equipment, garages, and on-
           site filling stations necessary or appropriate to arrange the Rolling Stock
           Assets for sale, including, as applicable, removal from the Company
           Properties and transportation to the agreed Agent Properties. Nothing
           herein or in the course of conduct under this Agreement shall be or shall be
           deemed to be Agent’s control or operation of Company’s business or
           Company Properties.

   (v)     The Company hereby agrees to use commercially reasonable efforts to
           provide Agent with reasonable access to the Company’s books and records
           related to the Rolling Stock Services, including service and maintenance
           logs and records, and all related systems, to assist Agent with efficiently
           and effectively performing the Rolling Stock Services.

   (vi)    The Company hereby grants Agent a license to allow Agent to enter and use
           the Company Properties for the purposes set forth in this Agreement
           through the Removal Date (unless extended by the Company in consultation
           with the Consultation Parties). Company shall provide Agent with the
           contact information of Company personnel with whom to coordinate
           Agent’s access to the Company Properties. Specifically, Agent shall have
           the right to enter and use the Company Properties during the Term (through
           the Removal Date unless extended by the Company in consultation with the
           Consultation Parties) solely for the purposes of performing its obligations
           under this Agreement, including (without limitation) taking photographs
           and preparing the marketing materials for the Rolling Stock Assets,
           removing, transporting or arranging the Rolling Stock Assets for marketing
           and sale, conducting virtual or live auctions, allowing potential buyers
           access for inspections of the Rolling Stock Assets prior to sale and selling


                                    11
           Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 28 of 942




                         and overseeing and administering all aspects of the removal and
                         transportation of the Rolling Stock Assets pursuant to the terms of this
                         Agreement. Agent shall have quiet enjoyment of the Company Properties
                         through the Removal Date with no interference from any labor unions or
                         any other third parties. Agent will use the Company Properties as licensee
                         and shall not be obligated to pay any rent, taxes, utilities, insurance (except
                         as provided herein) or other charges (except as provided herein) therefor.
                         The Company agrees to continue to provide and pay for all utilities and
                         other costs and expenses authorized by the Bankruptcy Court’s “first day”
                         and “second day” orders (including pursuant to the Approved Budget)
                         relating to the use and occupancy of the Company Properties during the
                         course of Agent’s use. The Company agrees to maintain and bear the cost
                         of any existing security personnel on the Company Properties during the
                         term of this Agreement (or for so long as the Company has any rights to any
                         such Company Property). The Company acknowledges that Agent is not
                         an insurer of the Company’s personal property but shall obtain and maintain
                         the insurance coverage as required by this Agreement during the Term.
                         Agent shall have the right, in consultation with the Company
                         (in consultation with the Consultation Parties), to abandon (prior to
                         removal) any Rolling Stock Asset that Agent deems unsalable in its
                         commercially reasonable discretion. Following removal of any Rolling
                         Stock Assets from the Company Properties, Agent shall have the right, in
                         consultation with the Company (in consultation with the Consultation
                         Parties), to abandon any Rolling Stock Asset at Agent’s sole cost and
                         expense. In the event that the Company incurs rent or other occupancy costs
                         solely on account of Rolling Stock Assets remaining at Company Properties
                         after the Removal Date, the Gross Proceeds ranges applicable to the Rolling
                         Stock Services Fee pursuant to Section B(i) shall be adjusted upward by the
                         dollar amount of occupancy costs incurred by the Company.

                (vii)    The parties hereto agree, and the Company hereby expressly acknowledges,
                         that Agent shall not be responsible for the removal or disposition of any
                         environmentally hazardous chemicals, pollutants, waste, solvents or
                         substances howsoever occurring, except for spillage or contamination as is
                         negligently caused or created by Agent or third parties acting at the
                         direction, or on behalf of, Agent, found at the Company Properties or in the
                         Rolling Stock Assets or obtaining or maintaining any Environmental
                         Permits.8 The Company shall be responsible for ensuring that the Company
                         possesses and is in compliance with all Environmental Permits that are
                         required for the operation of the Company’s business. As used in this
                         Agreement, “Environmental Laws” means all domestic, federal, provincial,
                         state and local statutes, regulations, ordinances, rules, regulations and
                         policies, all court orders and decrees and arbitration awards, and the common
                         law, which pertain to environmental matters or contamination of any type
8
    Oil, fuel, diesel, batteries, antifreeze, brake fluid and other chemicals or products normally contained in or
    relating to the Rolling Stock Assets at the Company Properties shall not be considered “unusually dangerous” or
    “environmentally hazardous” for purposes of this Agreement.

                                                       12
          Case 23-11069-CTG          Doc 969-1       Filed 10/26/23    Page 29 of 942




                      whatsoever; and “Environmental Permits” means licenses, permits,
                      registrations, governmental approvals, agreements and consents which are
                      required under or are issued pursuant to Environmental Laws. The Company
                      hereby agrees to defend, indemnify and hold Agent harmless from any and
                      all claims, losses, damages and liabilities of any kind whatsoever which
                      arise from or are in connection with any hazardous chemicals, pollutants,
                      waste, solvents, or substances howsoever occurring found at the Company
                      Properties or in the Rolling Stock Assets, Environmental Laws or
                      Environmental Permits; provided that, for the avoidance of doubt, the
                      foregoing indemnification shall not apply in the case of negligence by Agent
                      or any person or entity acting at the direction, or on behalf of, Agent. Any
                      Rolling Stock Asset that, if and to the extent known, contains any unusually
                      dangerous or environmentally hazardous chemicals, pollutants, waste,
                      solvents, or substances shall be deemed an Unsalable Asset. Company shall
                      promptly, if and to the extent known, identify for Agent any Rolling Stock
                      Asset containing such unusually dangerous or environmentally hazardous
                      chemicals, pollutants, waste, solvents, or substances.

              (viii) With respect to the sale of any Rolling Stock Assets located in the United
                     States, the Company acknowledges that with respect to any export
                     transaction involving any of the Rolling Stock Assets sold hereunder, and
                     unless the Company and the applicable purchaser agree otherwise, Yellow
                     Corporation shall be the United States principal party in interest.
                     Accordingly, the Company authorizes Agent to provide Yellow
                     Corporation’s federal employer identification number (“EIN”) to
                     purchasers, their agents, customs officials, or similar parties for the
                     purposes of completing a Shipper’s Export Declaration form or any
                     documentation necessary to facilitate the respective purchaser’s export of
                     the purchased Rolling Stock Assets.

              (ix)    With respect to the sale of any Rolling Stock Assets located in Canada, the
                      Company acknowledges that with respect to any export transaction
                      involving any of the Canadian Rolling Stock Assets sold hereunder, and
                      unless the Company and the applicable purchaser agree otherwise,
                      YRC Freight Canada Company shall be the Canadian principal party in
                      interest. Accordingly, the Company authorizes Agent to provide YRC
                      Freight Canada Company’s business identification number (“BIN”) to
                      purchasers, their agents, customs officials or similar parties for the purposes
                      of completing a bill of lading, commercial invoice, USMCA Certificate of
                      Origin, Import/Export License or customs bond, or any other information
                      or documentation necessary to facilitate the respective purchaser’s export
                      of the purchased Rolling Stock Assets.

VI.    Representations and Covenants of the Company and Agent

       A.      The Company represents and warrants to Agent and covenants that, subject to entry
of the Retention Order (as defined below) and entry of a Bankruptcy Court order approving the

                                                13
           Case 23-11069-CTG          Doc 969-1       Filed 10/26/23    Page 30 of 942




sale of the Rolling Stock Assets free and clear of all claims, liens, encumbrances and interests:
(i) the Company has all legal right and authority to sell the Rolling Stock Assets; (ii) the Company
has taken all necessary actions required to authorize the execution, delivery and performance of
this Agreement and the related documents contemplated hereby, and no further consent or approval
is required for the Company to enter into and deliver the Agreement and to perform its obligations
under the Agreement; (iii) other than the Retention Order, no court order or decree of any domestic,
federal, provincial, state or local governmental authority or regulatory body is in effect that would
prevent or impair, or is required for the Company’s consummation of, the transactions
contemplated by this Agreement, and no consent of any third party which has not been obtained is
required therefore; (iv) Company has the authority to grant the limited license to Agent to utilize
the Company Properties and to use the name “Yellow Corporation” as well as commercial marks
and logos related thereto as provided for under this Agreement; (v) Agent shall have access to the
Rolling Stock Assets and the Company Properties in accordance with this Agreement
(provided that, if any Rolling Stock Asset listed on Exhibit A is not present on the Company
Property as represented by Company, Company shall assist Agent to locate and gain possession of
such Rolling Stock Asset. Agent is not obligated to locate, gain possession of, or expend any funds
in connection with repossessing any such Rolling Stock Asset before the Removal Date or the
expiration of the Term, but once such Rolling Stock Asset is located and available for
transportation by Agent, Agent will include the transportation of such Rolling Stock Asset as part
of Agent’s transportation services and within the remaining Transportation Fees budget;
(vi) the Company’s representations and descriptions of the Rolling Stock Assets on Exhibit A are,
to the best of the Company’s knowledge, materially accurate, true and complete; and
(vii) all Rolling Stock Assets to be marketed and sold by Agent are, or will be at the time of sale
(subject to entry of the Retention Order providing the same) free and clear of all liens, claims, and
encumbrances of any kind whatsoever. The Company further represents and warrants to Agent
that any amounts due and payable hereunder to Agent shall be free and clear of any liens, claims,
or encumbrances of any kind whatsoever.

        B.     Agent represents and warrants to Company that (i) Agent and each of the entities
comprising Agent is duly organized, validly existing and in good standing under the laws of the
province or state of its formation and (ii) Agent has taken all necessary actions required to
authorize the execution, delivery and performance of this Agreement and the related documents
contemplated hereby, and no further consent or approval is required for Agent to enter into and
deliver the Agreement and to perform its obligations under the Agreement.

VII.   Indemnification

         A.     Agent understands that the Rolling Stock Assets will be sold AS IS and WHERE IS,
without representation or warranty of any nature of kind whatsoever, and the Company does not
make any representations or warranties with respect to the Rolling Stock Assets, except for
specifically stated under Section VI of this Agreement (provided, however, any existing or
remaining manufacturer’s warranty shall remain and be transferred to the extent permissible and
practicable to any buyer). The Company hereby agrees to indemnify and hold Agent harmless
from any and all claims, causes of actions, damages, losses, or liabilities (including, without
limitation, reasonable and documented attorney’s fees) of any kind arising from or related to
(i) the Company’s material breach of any of its obligations, representations and warranties
hereunder, (ii) its performance or failure to perform hereunder, (iii) the Company’s failure to pay

                                                 14
           Case 23-11069-CTG           Doc 969-1        Filed 10/26/23     Page 31 of 942




any personal property taxes associated with the Rolling Stock Assets, and (iv) the fraud,
negligence, gross negligence (including omissions) or willful misconduct of the Company, its
officers, directors, employees, agents or representatives. The Company further agrees to
indemnify and hold Agent harmless from any and all claims, causes of actions, damages, losses,
or liabilities (including, without limitation, reasonable attorney’s fees) of any kind arising from
any misrepresentations concerning the Rolling Stock Assets made by the Company to Agent.
Notwithstanding the foregoing, the Company shall not in any circumstances indemnify Agent from
any claims or causes of action arising from any fraud, negligence, gross negligence
(including omissions) or willful misconduct of Agent or its respective officers, directors,
employees, agents, contractors, consultants or representatives.

         B.     Agent hereby agrees to indemnify and hold the Company and its affiliates and their
officers, directors, principals, shareholders, affiliates, members, consultants, attorneys, advisors,
and employees (collectively, “Company Indemnified Parties”) harmless from any and all claims,
causes of actions, damages, losses, or liabilities (including, without limitation, reasonable
attorney’s fees), including those asserted by any buyer or prospective buyer, arising from or related
to (i) Agent’s material breach of any of its obligations, representations and warranties hereunder,
(ii) its performance or failure to perform hereunder, (iii) the fraud, negligence, gross negligence
(including omissions) or willful misconduct of Agent, its officers, directors, employees, agents,
Third Parties, affiliates, contractors or representatives, or (iv) any liability or other claims asserted
by Agent’s consultants, members, employees, representatives, affiliates, contractors and principals
(excluding Company Indemnified Parties) against a Company Indemnified Party arising out of or
related to Agent’s conduct of the sale of the Rolling Stock Assets, except claims arising from the
Company’s gross negligence, willful misconduct or unlawful behavior. Notwithstanding the
foregoing, Agent shall not in any circumstances indemnify Company from any claims or causes
of action arising from any fraud, negligence, gross negligence (including omissions) or willful
misconduct of the Company or its respective officers, directors, employees, agents, contractors,
consultants or representatives.

VIII. Insurance

        The Company agrees to procure and/or maintain, at least for the duration of the Term,
insurance in appropriate amounts in respect of all Rolling Stock Assets (including, without
limitation, commercial general liability, property damage, fire and other perils insurance) until
sold and no longer in the care, custody, or control of the Company or its agents. Such coverage
shall be on at least an actual cash value (market value) basis and subject to no more than a
commercially reasonable deductible.

        At all times during the Term of this Agreement, Agent shall maintain, at its sole cost and
expense, general liability insurance, including: (a) contractual liability, with minimum limits of
$1,000,000 per occurrence; (b) automobile liability insurance with minimum limits of not less than
$1,000,000 per occurrence combined with single limit for bodily injury and property damage; and
(c) workers’ compensation insurance (including employer’s liability) in an amount not less than
such amount required by applicable law. Commercial general liability and automobile liability
shall be endorsed to include the Company as an additional insured. Coverage shall be primary and
receive no contribution from any insurance available to the additional insureds. Policies shall be
issued by insurance companies having an A.M. Best rating of at least A-VII. Agent agrees to be

                                                   15
           Case 23-11069-CTG         Doc 969-1       Filed 10/26/23    Page 32 of 942




responsible for loss or damage arising during the Term as a result of the negligence of Agent, its
agents or employees. Other than the foregoing, risk of loss or damage to the Rolling Stock Assets
remains with the Company regardless of whether located on Company Property or Agent Property,
including in the event Agent procures less expensive insurance for Company.

         On behalf of themselves and their respective insurers, to the fullest extent allowed by
applicable law, the Company and the Agent and their respective affiliates each waive and release
the right to pursue the other party or its affiliates, whether in subrogation or otherwise, for any
loss, liability, or damage of any kind or nature to the extent covered by their own insurance.

         Agent shall promptly provide certificates of insurance to the Company evidencing required
insurance and shall promptly provide notice to Company upon receipt of any notice of cancellation,
non-renewal, or material change in coverage from its insurers. If Agent utilizes subcontractors in
Agent’s performance of this Agreement, Agent shall require and warrant that said subcontractors
possess the requisite type and amounts of insurance as required by contract and law.
It is specifically agreed that the types and amounts of insurance required herein shall not limit or
otherwise affect Agent’s liability or obligation to indemnify and hold the additional insureds
harmless as provided by the indemnification provisions of this Agreement.

IX.    Personal Property Taxes

        Agent and the Company understand and agree that Agent shall not take title to any Rolling
Stock Assets and, unless agreed by the Company and Agent for Agent to remit such taxes to the
applicable taxing authorities from Gross Proceeds, shall not be responsible or liable for the
remittance, withholding and payment of any federal, state, local, and/or provincial sales taxes
(including any retail sales taxes, HST, GST, and land transfer taxes) and all other taxes, duties,
fees or other like charges of any jurisdiction properly payable in connection with the sale and
transfer of the Rolling Stock Assets.

X.     Bankruptcy Approval

        The Company agrees to as promptly as reasonably practicable request entry of an order,
under sections 363, 327, and 328 of              chapter 11 of title 11, United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”), in form and substance acceptable to Agent and to the Consultation
Parties, each in their reasonable discretion, authorizing the Company’s retention of Agent under
this Agreement, which the Company agrees to use the Company’s best efforts to obtain
(the “Retention Order”). The Company will provide Agent and the Consultation Parties with a
draft of the motion seeking such Retention Order and a draft of the proposed Retention Order at
least two (2) business days (or otherwise as soon as reasonably practicable) before filing them with
the Bankruptcy Court. The Company will use reasonable efforts to ensure that the Retention Order
specifically provides that: (i) Agent is being retained pursuant to sections 327 and 328 of the
Bankruptcy Code by the Company and the Agreement is authorized pursuant to section 363 of the
Bankruptcy Code; (ii) the payment of all fees and reimbursement of expenses hereunder to Agent
is approved under section 328 of the Bankruptcy Code and shall be free and clear of all liens,
claims, and encumbrances; (iii) all such payments of fees and reimbursement of expenses shall be
made without further order of the Bankruptcy Court and in accordance with this Agreement;

                                                16
           Case 23-11069-CTG          Doc 969-1       Filed 10/26/23    Page 33 of 942




(iv) Agent shall not be required to comply with any licensing restrictions; (v) Agent is authorized
to employ Third Parties (defined below) in connection with the performance of its Rolling Stock
Services as set forth herein; and (vi) Agent is not required to maintain time records or file interim
or final fee applications. The Agent acknowledges that the Company’s obligations under this
Agreement are only enforceable in the event, and to the extent, this Agreement is approved by the
Bankruptcy Court pursuant to the Retention Order. Company’s proposed Retention Order shall
provide that Agent’s fees and reimbursement of expenses provided for hereunder shall not be
subject to review by any party in interest, the Office of the United States Trustee, or the
Bankruptcy Court.

XI.    General Provisions

        A.       Agent shall not subcontract the whole of its obligations under this Agreement, but
shall be permitted to utilize independent contractors and subcontractors for performing various
obligations. Any cooperating brokers, sub-brokers, sub-agents, independent contractors or other
third parties enlisted by Agent in connection with its performance of the Rolling Stock Services
and not otherwise employed by Agent (any such third party, a “Third Party”) may be engaged
upon such terms as are commercially reasonable in the market(s) in which such Third Parties are
engaged or as otherwise provided herein. Agent shall be responsible for any fees or commissions
payable to any such Third Parties in connection with its performance of the Rolling Stock Services.
The Parties agree that their relationship is one of principal and agent and no partnership or joint
venture is created by or through the performance of this Agreement. Agent is not a fiduciary of
the Company and is not assuming any fiduciary duty to the Company or their bankruptcy estates.
Agent shall provide the Company with monthly notice of material contractual engagements
entered into with Third Party(ies) for the fulfillment of its duties and obligations under this
Agreement, which notice the Company shall deliver to the Consultation Parties and their advisors.

        B.       This Agreement constitutes the entire agreement between the Parties and
supersedes all prior agreements and understandings, both written and oral, among the parties with
respect to the subject matter hereof.

       C.       Agent shall be entitled to compensation and reimbursement of expenses for
Rolling Stock Services rendered under this Agreement and this Agreement shall be binding upon
the Company or any successor or assignee, including any trustee appointed in Company’s chapter
11 cases or any successor case.

        D.     The Parties hereto agree, and the Company hereby expressly acknowledges, that
Agent has not guaranteed the Company any recovery or return from the sale of the Rolling Stock
Assets.

       E.     The Company and Agent shall deal with each other fairly and in good faith so as to
allow each Party to perform its duties and earn the benefits of this Agreement.

     F.     THE COMPANY AND AGENT AGREE THAT THE ROLLING STOCK
ASSETS WILL BE OFFERED FOR SALE AND WILL BE SOLD WITHOUT REGARD TO
RACE, COLOR, RELIGIOUS CREED, ANCESTRY, AGE, NATIONAL ORIGIN,
DISABILITY, SEX, GENDER, OR FAMILIAL STATUS.


                                                 17
            Case 23-11069-CTG        Doc 969-1       Filed 10/26/23    Page 34 of 942




     G.   TECHNOLOGY DISCLAIMER: AGENT DOES NOT WARRANT THAT THE
FUNCTIONS, FEATURES, OR CONTENT CONTAINED IN ANY WEBSITE USED IN
CONNECTION WITH THE SALE OF THE ROLLING STOCK ASSETS, INCLUDING ANY
THIRD-PARTY SOFTWARE, PRODUCTS OR OTHER MATERIALS USED IN
CONNECTION WITH ANY SUCH WEBSITE, WILL BE TIMELY, SECURE,
UNINTERRUPTED, OR THAT DEFECTS WILL BE CORRECTED; PROVIDED AGENT
AGREES TO USE BEST EFFORTS TO PROMPTLY CORRECT ANY SUCH
INTERRUPTIONS AND/OR DEFECTS.

        H.     The Company recognizes and acknowledges that the services to be provided by
Agent pursuant to this Agreement are, in general, transactional in nature, and Agent will not be
billing the Company by the hour nor maintaining time records unless required pursuant to
Bankruptcy Court order. It is agreed that Agent is not requested by the Company to maintain such
time records and that its compensation will be fixed on the terms and conditions, including
percentages, set forth herein. Agent represents and warrants that it has the expertise in performing
the Rolling Stock Services under this Agreement.

       I.      Any correspondence or required notice shall be addressed as follows:

               If to Agent:
                                      Ritchie Bros. Auctioneers (America) Inc.
                                      4000 Pine Lake Road
                                      Lincoln, NE 68516
                                      Tel: (402) 420-3711
                                      Fax: (402) 420-3721
                                      Email: legal@ritchiebros.com
                                      Attn: Legal Affairs

               With a copy to:        Nations Capital, LLC
                                      16125 Armour St NE
                                      Alliance, OH 44601
                                      Email: jburke@nationscapitalinc.com
                                      Attn: Jim Burke

               With a copy to:        DLA Piper LLP (US)
                                      1201 N. Market Street, Suite 2100
                                      Wilmington, DE 19810
                                      Tel.: 302-468-5700
                                      Email: stuart.brown@us.dlapiper.com
                                      Attn: Stuart M. Brown, Esq.




                                                18
           Case 23-11069-CTG         Doc 969-1       Filed 10/26/23    Page 35 of 942




               If to the Company:     Yellow Corporation
                                      11500 Outlook Street, Suite 400
                                      Overland Park, Kansas 66211
                                      Attn: Leah Dawson
                                      Email: Leah.Dawson@myYellow.com

               With a copy to:        Kirkland & Ellis LLP
                                      300 N. La Salle Dr.
                                      Chicago, IL 60654
                                      Attn: Patrick J. Nash, Jr., P.C.; Whitney C. Fogelberg
                                      Tel: (312) 862-2000
                                      Email: patrick.nash@kirkland.com
                                      Email: whitney.fogelberg@kirkland.com

                                      Kirkland & Ellis LLP
                                      601 Lexington Avenue
                                      New York, NY 10022
                                      Attn: Allyson B. Smith; Aaron Metviner
                                      Tel: (212) 446-4800
                                      Email: allyson.smith@kirkland.com
                                      Email: aaron.metviner@kirkland.com

      J.      This Agreement shall be deemed drafted by the parties hereto, and there shall be no
presumption against either party in the interpretation of this Agreement.

       K.      By executing or otherwise accepting this Agreement, the Company and Agent
acknowledge and represent that they are represented by and have consulted with independent legal
counsel with respect to the terms and conditions contained herein.

        L.      This Agreement may be executed in original counterparts, and if executed and
delivered via facsimile or other electronic signature shall be deemed the equivalent of an original.

        M.      This Agreement creates no third-party beneficiaries, subject to the rights of the
Consultation Parties as set forth in this Agreement. In the event that a Consultation Party
forecloses on Rolling Stock Assets that are its collateral, Agent agrees to continue to market and
sell such assets on terms substantially similar to those contained in this Agreement for the benefit
of such Consultation Party, with such Consultation Party bearing any and all costs which would
have otherwise been incurred by the Company under this Agreement with respect to such Rolling
Stock Assets.

        N.       This Agreement shall be governed by and construed in accordance with the laws of
the State of Delaware, without giving effect to conflict of laws provisions. The Parties consent to
the exclusive jurisdiction of the Bankruptcy Court to hear and determine all disputes arising out of
or in relation to this Agreement.

       O.      Agent recognizes that it may come into possession of information relating to the
business of the Company that is not available to the general public or that reasonably or logically


                                                19
           Case 23-11069-CTG           Doc 969-1        Filed 10/26/23     Page 36 of 942




may be considered to be confidential or proprietary (“Confidential Information”). Agent shall hold
confidential and not use (except as necessary to perform its obligations under this Agreement) or
disclose (unless required by a court of competent jurisdiction), and shall cause its employees,
agents, contractors, directors, and other representatives to hold confidential all
Confidential Information. Upon the Company’s request, all such information shall be destroyed,
deleted or returned to the Company in any physical medium. Confidential Information shall not
include information that is or becomes publicly available through no wrongful act of Agent, is
furnished to others by the Company without similar restrictions on their right to use or disclose, is
known by Agent without any proprietary restrictions at the time of receipt of such information
from the Company or becomes rightfully known to Agent without proprietary restrictions from a
source other than the Company, is independently developed by Agent by persons who did not have
access, directly or indirectly, to the Confidential Information, or that is provided by Agent to
Company in a report disclosed by the Company.

XII.    Miscellaneous

        This Agreement may not be transferred or assigned without the express written consent of
the other Parties (the Company, in each case, in consultation with the Consultation Parties),
provided that Agent shall be permitted to engage or retain, and utilize, contractors and
subcontractors to assist in the performance of the Rolling Stock Services. This Agreement does
not create, and shall not be construed as creating, any rights enforceable by any person not a Party
to this Agreement, subject to the rights of the Consultation Parties under this Agreement.
The Parties hereto are acting as independent contractors and nothing contained herein shall be
deemed to create any other type of partnership, joint venture or other relationship.
This Agreement may not be modified or amended except by an instrument in writing executed by
an authorized representative of each of the Parties to this Agreement (the Company, in each case,
in consultation with the Consultation Parties) (and which may not be amended or modified in any
manner which adversely affects a Consultation Party’s rights hereunder without the written
consent of such adversely affected Consultation Party). If any part or subpart of this agreement is
found or held to be invalid, that invalidity shall not affect the enforceability and binding nature of
any other part of this Agreement. No Party shall be considered in default hereunder to the extent
that performance by such Party is prevented or delayed by any unforeseeable cause, existing or
future, which is beyond the commercially reasonable control of such Party. The Parties do hereby
agree that this Agreement and related documents be drawn up in the English language only.

XIII. Power of Attorney

        The Company hereby appoints Agent as its attorney-in-fact with a limited power of
attorney (“LPOA”) to execute on the Company’s behalf, all documents necessary and required to
transfer title to, and permit registration of ownership of, any portion of the Rolling Stock Assets
to any buyer; provided, however, if original titles or a notarized LPOA are required by federal,
state, provincial or local regulation to transfer title, the Company will provide Agent with either,
as applicable, (i) signed original titles, or (ii) a notarized LPOA and unsigned original titles at least
two weeks prior to any auction or private treaty disposition of any of the Rolling Stock Assets.
Failure to provide title(s) and/or an LPOA as required may prevent the Rolling Stock Assets being
made available for sale until such documentation is provided. Agent agrees to exercise the LPOA
in good faith.

                                                   20
          Case 23-11069-CTG      Doc 969-1      Filed 10/26/23   Page 37 of 942




        IN WITNESS WHEREOF, the Parties hereto have duly executed this Agreement as of
the date written below.

YELLOW CORPORATION


__________________________

By: Daniel L. Olivier
Title: Authorized Signatory
Date: October 16, 2023

YRC FREIGHT CANADA COMPANY


__________________________

By: Daniel L. Olivier
Title: Authorized Signatory
Date: October 16, 2023

RITCHIE BROS. AUCTIONEERS (AMERICA) INC.
IRONPLANET, INC.
RITCHIE BROS. AUCTIONEERS (CANADA) LTD.
IRONPLANET CANADA, LTD.


__________________________
By: Jake Lawson
Title: Authorized Signatory
Date: October 15, 2023


NATIONS CAPITAL, LLC


__________________________
By: Jim Burke
Title: Authorized Signatory
Date: October 15, 2023




                                           21
Case 23-11069-CTG   Doc 969-1   Filed 10/26/23   Page 38 of 942




                        EXHIBIT A

                    Rolling Stock Assets
                     Case 23-11069-CTG                Doc 969-1         Filed 10/26/23        Page 39 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HNRY     FORKLIFT              FKL     HNRY1017      2015   HYSTR   A269N02935N         E35XN     OH          Grove City
 HNRY     FORKLIFT              FKL     HNRY1018      2015   HYSTR   A269N02925N         E35XN     OH          Grove City
 HNRY     FORKLIFT              FKL     HNRY1019      2015   HYSTR   A269N02924N         E35XN     OH          Grove City
 HNRY     FORKLIFT              FKL     HNRY1022      2015   HYSTR   A269N02927N         E35XN     OH          Grove City
 HNRY     FORKLIFT              FKL     HNRY1023      2015   HYSTR   A269N02972N         E35XN     UT          Salt Lake City
 HNRY     FORKLIFT              FKL     HNRY3272      2021   MTSBS   AF82F49741          FGC25N4   GA          Lithia Springs
 HNRY     FORKLIFT              FKL     HNRY3274      2021   MTSBS   AF82F49743          FGC25N4   GA          Lithia Springs
 HNRY     FORKLIFT              FKL     HNRY3275      2021   MTSBS   AF82F49742          FGC25N4   GA          Lithia Springs
 HNRY     FORKLIFT              FKL     HNRY3276      2022   MTSBS   AF82F50295          FGC25N4   GA          Lithia Springs
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1200      2012   FRGHT   1FVACWDTXCDBL8023   MS        OH          Columbus
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1202      2012   FRGHT   1FVACWDT9CDBP0980   M2        OH          Columbus
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1205      2012   FRGHT   1FVACWDTXCDBP1037   M2        OH          Columbus
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1214      2012   FRGHT   1FVACWDT5CDBP1186   M2        OH          Columbus
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1215      2012   FRGHT   1FVACWDT4CDBP1311   M2        MN          Coon Rapids
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1216      2012   FRGHT   1FVACWDT8CDBP0999   M2        MI          Jackson
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1218      2012   INTL    3HAMMAAL7CL105982   4300      WI          Tomah
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1300      2013   FRGHT   1FVACWDT4DHBY8863   M2        MN          Coon Rapids
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1301      2013   FRGHT   1FVACWDT6DHBY8864   M2        OH          North Lima
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1302      2013   FRGHT   1FVACWDT4DHBZ1181   M2        GA          Ringgold
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1303      2014   FRGHT   1FVACWDTXEHFT6182   M2        OH          Cincinnati
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1304      2013   FRGHT   1FVACWDTXDHBY2260   M2        OH          Cincinnati
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1305      2013   FRGHT   1FVACWDT4DDFD1447   M2        MI          Jackson
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1306      2013   INTL    3HAMMAAL7DL300739   4300      OH          North Lima
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1400      2014   FRGHT   3ALACWDT5EDFZ4383   M2        OH          Cincinnati
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1401      2014   FRGHT   1FVACWDTXEHFJ4375   M2        OH          North Lima
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1403      2014   FRGHT   1FVACWDT5EHFJ4364   M2        MN          Duluth
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1404      2014   FRGHT   3ALACWDT3EDFS9757   M2        WI          Milwaukee
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1405      2014   FRGHT   3ALACWDT5EDFS9758   M2        MN          Coon Rapids
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1406      2014   FRGHT   1FVACWDTXEHFS8860   M2        OH          Cincinnati
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1501      2015   FRGHT   3ALACWDTXFDGS8951   M2        MN          Coon Rapids
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1503      2015   FRGHT   3ALACWDT6FDGS8946   M2        WI          Milwaukee
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1505      2015   FRGHT   3ALACWDT8FDGS8947   M2        MI          Wayland
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1506      2015   FRGHT   3ALACWDT0FDGC8002   M2        OH          Columbus
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1507      2015   FRGHT   3ALACWDT0FDGA3150   M2        OH          Bowling Green
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1508      2015   FRGHT   3ALACWDT1FDGS8952   M2        WI          Milwaukee
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1509      2015   FRGHT   3ALACWDT0FDGC7965   M2        WI          Milwaukee
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1511      2015   INTL    1HTMMMML9FH736241   4300      IA          Des Moines
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1512      2015   INTL    1HTMMMML0FH736242   4300      PA          Bensalem
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1513      2015   INTL    1HTMMMML4FH736244   4300      IL          Edwardsville
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1514      2015   FRGHT   3ALACWDT6FDGA3038   M2        MN          Coon Rapids
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1515      2015   FRGHT   3ALACWDT3FDGS8953   M2        TN          Goodlettsville
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1600      2016   INTL    3HAMMMML6GL415642   4300      IN          Indianapolis
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1601      2016   INTL    1HTMMMML4GH231984   4300      OH          Bowling Green
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1602      2016   INTL    1HTMMMML6GH231985   4300      OH          Columbus
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1603      2016   INTL    1HTMMMML1GH231988   4300      IN          South Bend
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1604      2016   FRGHT   1FVACWDT3GHHR1498   M2        OH          Cincinnati
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES1605      2016   HINO    5PVNJ8JV1F4S58217   268       GA          Ellenwood
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES2111      2021   KNWRT   1NKHHM6X6MR464028   T270      MI          Gaylord
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES2117      2016   FRGHT   3ALACWDT6GDGV2410   M2        IA          Des Moines
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES2123      2015   FRGHT   1FVACWDU6FHGP8409   M2        SC          Piedmont
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES2126      2016   FRGHT   3ALACWDT1GDHR8648   M2        NY          East Syracuse
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES2127      2016   FRGHT   3ALACWDT3GDHR8649   M2        MI          Wayland
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES31294     2012   FRGHT   1FVACWDT1CDBP1248   M2        AL          Birmingham
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES31295     2014   FRGHT   1FVACWDT3EHFJ4377   M2        IN          Jeffersonville
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES31298     2012   FRGHT   1FVACWDTXCDBV9230   M2        WI          Neenah
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES31300     2013   FRGHT   3ALACWDT1DDFF9608   M2        MN          Owatonna
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES31500     2015   INTL    3HAMMMML5FL041023   4300      WI          Neenah
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES80190     2021   KNWRT   1NKHHM6X4MR464027   T270      OH          Dayton
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES80193     2016   FRGHT   3ALACWDT9GDHH1192   M2        MD          Hagerstown
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES80194     2015   FRGHT   1FVACWDT2FHGM7276   M2        IN          Jeffersonville
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES80202     2013   FRGHT   1FVACWDT2DDFD4153   M2        KS          Kansas City
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES82757     2012   FRGHT   1FVACWDT9CDBP2793   M2        WI          Milwaukee
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES82758     2012   FRGHT   1FVACWDT4CDBH4074   M2        WI          Oak Creek
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES82759     2012   FRGHT   1FVACWDT6CDBH4058   M2        WI          Milwaukee
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES82760     2012   FRGHT   1FVACWDT0CDBP1225   M2        WI          Milwaukee
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES82761     2012   FRGHT   1FVACWDT7CDBH3940   M2        WI          Oak Creek
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES82762     2012   FRGHT   1FVACWDT5CDBD5073   M2        MI          Jackson
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES82764     2012   FRGHT   1FVACWDT0CDBP5873   M2        WI          Milwaukee
 HMES     STRAIGHT/ BOX TRUCK   BOX     HMES82766     2012   FRGHT   1FVACWDT8CHBW9148   M2        IN          Jeffersonville
                     Case 23-11069-CTG                  Doc 969-1         Filed 10/26/23        Page 40 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82767      2012   FRGHT   1FVACWDT5CDBD5560   M2        IA          Des Moines
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82768      2013   INTL    3HAMMAAL5DL156771   4300      IA          Des Moines
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82770      2014   FRGHT   1FVACWDT9DHFE5708   M2        WI          Milwaukee
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82771      2014   FRGHT   1FVACWDT4EHFJ4372   M2        OH          Dayton
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82772      2021   KNWRT   1NKHHM6X1MR464017   T270      SC          Piedmont
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82773      2021   KNWRT   1NKHHM6X3MR464018   T270      GA          Ellenwood
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82774      2021   KNWRT   1NKHHM6X5MR464019   T270      IA          Des Moines
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82775      2021   KNWRT   1NKHHM6X1MR464020   T270      IA          Des Moines
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82776      2021   KNWRT   1NKHHM6XXMR464033   T270      MI          Romulus
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82777      2021   KNWRT   1NKHHM6X1MR464034   T270      OH          Dayton
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82778      2021   KNWRT   1NKHHM6X3MR464035   T270      WI          Tomah
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82779      2021   KNWRT   1NKHHM6X5MR464036   T270      KY          Lexington
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82780      2021   KNWRT   1NKHHM6X7MR464037   T270      WI          Tomah
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82781      2021   KNWRT   1NKHHM6X2MR464026   T270      MI          Romulus
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82784      2015   FRGHT   3ALACWDT1FDGL0314   M2        OH          Columbus
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82787      2016   FRGHT   1FVACWDTXGHGS7116   M2        MI          Wayland
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82788      2015   FRGHT   3ALACWDTXFDGR5159   M2        NY          Williamsville
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82789      2016   FRGHT   1FVACWDTXGHHE7865   M2        MI          Wayland
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82790      2015   FRGHT   3ALACWDT4FDGB7522   M2        MI          Wayland
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82791      2016   FRGHT   3ALACWDT5GDHN7293   M2        MI          Wayland
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82792      2015   FRGHT   3ALACWDT7FDGC7963   M2        IN          Indianapolis
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82793      2013   FRGHT   1FVACWDT4DDFD4154   M2        SD          Sioux Falls
 HMES     STRAIGHT/ BOX TRUCK   BOX      HMES82795      2016   FRGHT   1FVACWDT9GHGS7124   M2        IL          Edwardsville
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES31296      2019   INTL    1HTMMMMN5KH123349   4300      KY          Lexington
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES38006      2000   INTL    1HTMKAAN82H527092   4900      GA          Ringgold
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES38013      2013   PTRBL   2NP2HN7X6DM211819   337       IL          Wheeling
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES38014      2013   PTRBL   2NP2HN7X2DM211820   337       SC          West Columbia
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES38015      2013   PTRBL   2NP2HN7X4DM211821   337       SC          West Columbia
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES38016      2013   PTRBL   2NP2HN7X6DM211822   337       OH          Brooklyn
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES38018      2013   PTRBL   2NP2HN7XXDM211824   337       IL          Wheeling
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES38019      2013   PTRBL   2NP2HN7X1DM211825   337       OH          Lima
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES38020      2012   PTRBL   2NP2HN7X7CM148132   337       IL          Montgomery
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES5590       2015   FRGHT   3ALACXDT4FDGK3959   M2106     MN          Coon Rapids
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES5591       2015   FRGHT   3ALACXDT0FDGK3960   M2106     NC          Charlotte
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES5592       2015   FRGHT   3ALACXDT2FDGK3961   M2106     IL          Edwardsville
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES5593       2015   FRGHT   3ALACXDT4FDGK3962   M2106     SC          Piedmont
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES6600       2016   FRGHT   3ALACXDT6GDHJ6791   MM106     IL          McCook
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES6601       2016   FRGHT   3ALACXDT8GDHJ6792   MM106     IL          Edwardsville
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES7170       2017   FRGHT   3ALACXDT1HDJE2093   MM106     OH          Bowling Green
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES7171       2017   FRGHT   3ALACXDT3HDJE2094   MM106     MN          Coon Rapids
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8840       2005   INTL    1HTMMAAN75H118757   4300      IL          McCook
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8846       2005   INTL    1HTMMAAN25H118763   4300      SC          Piedmont
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8849       2005   INTL    1HTMMAAN85H118766   4300      IL          McCook
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8850       2005   INTL    1HTMMAANX5H118767   4300      TN          Goodlettsville
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8851       2005   INTL    1HTMMAAN15H118768   4300      OH          Brooklyn
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8852       2005   INTL    1HTMMAAN35H118769   4300      GA          Ringgold
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8855       2006   INTL    1HTMMAAN86H192013   4300      IL          McCook
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8856       2006   INTL    1HTMMAANX6H192014   4300      IL          McCook
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8857       2006   INTL    1HTMMAAN16H192015   4300      IL          McCook
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8858       2006   INTL    1HTMMAAN36H192016   4300      IL          McCook
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8861       2006   INTL    1HTMMAAN96H192019   4300      IL          Wheeling
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8862       2006   INTL    1HTMMAAN56H192020   4300      GA          Ellenwood
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8863       2006   INTL    1HTMMAAN76H192021   4300      GA          Ellenwood
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8872       2002   INTL    1HTMKAAN72H527102   4400      SC          Florence
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8873       2002   INTL    1HTMKAAN92H527103   4400      TN          Goodlettsville
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8874       2002   INTL    1HTMKAAN02H527104   4400      WI          Oak Creek
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8876       2005   FRGHT   1FVACXDC95HU72350   M2 10     GA          Ellenwood
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8880       2018   FRGHT   3ALACXFCXJDJV9658   MM106     IL          Wheeling
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES8881       2018   FRGHT   3ALACXFC1JDJV9659   MM106     OH          Cincinnati
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES9920       2019   INTL    1HTMMMMN7KH301407   4300      KS          Kansas City
 HMES     STRAIGHT/ BOX TRUCK   CTK      HMES9921       2019   INTL    1HTMMMMN5KH300420   4300      MS          Olive Branch
 HMES     CITY TRAILER          CTL‐SA   HMES200717     2005   GRTDN   1GRAA80115D410353   LIFTG     MS          Olive Branch
 HMES     CITY TRAILER          CTL‐SA   HMES200718     2004   GRTDN   1GRAA56174K255579   LIFTG     IN          Indianapolis
 HMES     CITY TRAILER          CTL‐SA   HMES200724     2005   GRTDN   1GRAA80155D410307   LIFTG     MO          Baxter Springs
 HMES     CITY TRAILER          CTL‐SA   HMES200731     2005   GRTDN   1GRAA80115D410319   LIFT      MO          Baxter Springs
 HMES     CITY TRAILER          CTL‐SA   HMES200785     2005   GRTDN   1GRAA80175D410311   LIFT      GA          Ellenwood
 HMES     CITY TRAILER          CTL‐SA   HMES220054     2000   DORSY   1DTV11G11YA283903   AID       KY          Lexington
 HMES     CITY TRAILER          CTL‐SA   HMES220056     2000   DORSY   1DTV11G15YA283905   AID       IN          Evansville
 HMES     CITY TRAILER          CTL‐SA   HMES220067     2000   DORSY   1DTV11G1XYA283916   AID       MI          Wayland
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 41 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRAILER     CTL‐SA   HMES220082     2000   DORSY   1DTV11G16YA283931   AID       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES220088     2000   DORSY   1DTV11G17YA283937   AID       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES220089     2000   DORSY   1DTV11G19YA283938   AID       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES220095     2000   DORSY   1DTV11G14YA283944   AID       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES220098     2000   DORSY   1DTV11G1XYA283947   AID       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES224001     2005   GRTDN   1GRAA64195D410955   SSL       NC          Charlotte
 HMES     CITY TRAILER     CTL‐SA   HMES224004     2005   GRTDN   1GRAA64145D410958   SSL       IL          Wheeling
 HMES     CITY TRAILER     CTL‐SA   HMES224008     2005   GRTDN   1GRAA64165D410962   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐SA   HMES224011     2005   GRTDN   1GRAA64115D410965   SSL       MS          Olive Branch
 HMES     CITY TRAILER     CTL‐SA   HMES224012     2005   GRTDN   1GRAA64135D410966   SSL       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES224013     2005   GRTDN   1GRAA64155D410967   SSL       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES225001     2005   GRTDN   1GRAA64175D410968   SSL       OH          North Lima
 HMES     CITY TRAILER     CTL‐SA   HMES225002     2005   GRTDN   1GRAA64195D410969   SSL       TN          Nashville
 HMES     CITY TRAILER     CTL‐SA   HMES225003     2005   GRTDN   1GRAA64155D410970   SSL       TN          Knoxville
 HMES     CITY TRAILER     CTL‐SA   HMES225005     2005   GRTDN   1GRAA64195D410972   SSL       MI          Jackson
 HMES     CITY TRAILER     CTL‐SA   HMES288091     2008   WABSH   1JJV281W18L207239   DVCVH     NC          Raleigh
 HMES     CITY TRAILER     CTL‐SA   HMES294021     2005   GRTDN   1GRAA80425D410355   SSL       NC          Raleigh
 HMES     CITY TRAILER     CTL‐SA   HMES294022     2005   GRTDN   1GRAA80445D410356   SSL       MS          Olive Branch
 HMES     CITY TRAILER     CTL‐SA   HMES294024     2005   GRTDN   1GRAA80485D410358   SSL       GA          Ringgold
 HMES     CITY TRAILER     CTL‐SA   HMES294026     2005   GRTDN   1GRAA80465D410360   SSL       GA          Ringgold
 HMES     CITY TRAILER     CTL‐SA   HMES294027     2005   GRTDN   1GRAA80485D410361   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐SA   HMES294029     2005   GRTDN   1GRAA80415D410363   SSL       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐SA   HMES294030     2005   GRTDN   1GRAA80435D410364   SSL       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐SA   HMES294031     2005   GRTDN   1GRAA80455D410365   SSL       KS          Kansas City
 HMES     CITY TRAILER     CTL‐SA   HMES294032     2005   GRTDN   1GRAA80475D410366   SSL       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐SA   HMES294033     2005   GRTDN   1GRAA80495D410367   SSL       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐SA   HMES294035     2005   GRTDN   1GRAA80425D410369   SSL       IA          Des Moines
 HMES     CITY TRAILER     CTL‐SA   HMES294039     2005   GRTDN   1GRAA80445D410373   SSL       MI          Romulus
 HMES     CITY TRAILER     CTL‐SA   HMES294042     2005   GRTDN   1GRAA804X5D410376   SSL       MI          Romulus
 HMES     CITY TRAILER     CTL‐SA   HMES294044     2005   GRTDN   1GRAA80435D410378   SSL       GA          Ringgold
 HMES     CITY TRAILER     CTL‐SA   HMES313001     2004   GRTDN   1GRAA56134K255532   SSL       IN          Fort Wayne
 HMES     CITY TRAILER     CTL‐SA   HMES313002     2004   GRTDN   1GRAA56154K255533   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐SA   HMES313003     2004   GRTDN   1GRAA56174K255534   SSL       NC          Charlotte
 HMES     CITY TRAILER     CTL‐SA   HMES313004     2004   GRTDN   1GRAA56194K255535   SSL       NC          Charlotte
 HMES     CITY TRAILER     CTL‐SA   HMES313005     2004   GRTDN   1GRAA56104K255536   SSL       MI          Gaylord
 HMES     CITY TRAILER     CTL‐SA   HMES313006     2004   GRTDN   1GRAA56144K255538   SSL       GA          Conley
 HMES     CITY TRAILER     CTL‐SA   HMES313007     2004   GRTDN   1GRAA56164K255539   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐SA   HMES313008     2004   GRTDN   1GRAA56124K255540   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐SA   HMES313009     2004   GRTDN   1GRAA56164K255542   SSL       OH          Gallipolis
 HMES     CITY TRAILER     CTL‐SA   HMES313010     2004   GRTDN   1GRAA56184K255543   SSL       IA          Council Bluffs
 HMES     CITY TRAILER     CTL‐SA   HMES313011     2004   GRTDN   1GRAA56114K255545   SSL       IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐SA   HMES313012     2004   GRTDN   1GRAA56194K255549   SSL       TN          Knoxville
 HMES     CITY TRAILER     CTL‐SA   HMES313014     2004   GRTDN   1GRAA56174K255551   SSL       NC          Kernersville
 HMES     CITY TRAILER     CTL‐SA   HMES313016     2004   GRTDN   1GRAA56104K255553   SSL       TN          Goodlettsville
 HMES     CITY TRAILER     CTL‐SA   HMES313017     2004   GRTDN   1GRAA56184K255557   SSL       IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐SA   HMES313019     2004   GRTDN   1GRAA56114K255559   SSL       KS          Kansas City
 HMES     CITY TRAILER     CTL‐SA   HMES313020     2004   GRTDN   1GRAA56184K255560   SSL       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐SA   HMES313021     2004   GRTDN   1GRAA561X4K255561   SSL       AL          Birmingham
 HMES     CITY TRAILER     CTL‐SA   HMES313023     2004   GRTDN   1GRAA56134K255563   SSL       IL          Rockford
 HMES     CITY TRAILER     CTL‐SA   HMES313024     2004   GRTDN   1GRAA56174K255565   SSL       KY          Lexington
 HMES     CITY TRAILER     CTL‐SA   HMES313025     2004   GRTDN   1GRAA56194K255566   SSL       TN          Goodlettsville
 HMES     CITY TRAILER     CTL‐SA   HMES313027     2004   GRTDN   1GRAA56144K255569   SSL       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐SA   HMES313028     2004   GRTDN   1GRAA56104K255570   SSL       MI          Jackson
 HMES     CITY TRAILER     CTL‐SA   HMES313029     2004   GRTDN   1GRAA56164K255573   SSL       IA          Council Bluffs
 HMES     CITY TRAILER     CTL‐SA   HMES313030     2004   GRTDN   1GRAA56184K255574   SSL       GA          Ringgold
 HMES     CITY TRAILER     CTL‐SA   HMES313031     2004   GRTDN   1GRAA561X4K255575   SSL       IL          Wheeling
 HMES     CITY TRAILER     CTL‐SA   HMES313032     2004   GRTDN   1GRAA56114K255576   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐SA   HMES313033     2004   GRTDN   1GRAA56134K255577   SSL       IN          Indianapolis
 HMES     CITY TRAILER     CTL‐SA   HMES313034     2004   GRTDN   1GRAA56154K255578   SSL       OH          Dayton
 HMES     CITY TRAILER     CTL‐SA   HMES395003     2005   GRTDN   1GRAA80125D410281   SSL       IL          Rockford
 HMES     CITY TRAILER     CTL‐SA   HMES395005     2005   GRTDN   1GRAA80165D410283   SSL       OH          Columbus
 HMES     CITY TRAILER     CTL‐SA   HMES395006     2005   GRTDN   1GRAA80185D410284   SSL       OH          Gallipolis
 HMES     CITY TRAILER     CTL‐SA   HMES395007     2005   GRTDN   1GRAA801X5D410285   SSL       IL          Wheeling
 HMES     CITY TRAILER     CTL‐SA   HMES395008     2005   GRTDN   1GRAA80115D410286   SSL       IL          Joliet
 HMES     CITY TRAILER     CTL‐SA   HMES395009     2005   GRTDN   1GRAA80135D410287   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐SA   HMES395013     2005   GRTDN   1GRAA80155D410291   SSL       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES395014     2005   GRTDN   1GRAA80175D410292   SSL       IL          Morton
 HMES     CITY TRAILER     CTL‐SA   HMES395016     2005   GRTDN   1GRAA80105D410294   SSL       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES395018     2005   GRTDN   1GRAA80145D410296   SSL       IN          Jeffersonville
                     Case 23-11069-CTG             Doc 969-1         Filed 10/26/23        Page 42 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRAILER     CTL‐SA   HMES395019     2005   GRTDN   1GRAA80165D410297   SSL       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐SA   HMES395020     2005   GRTDN   1GRAA80185D410298   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐SA   HMES395022     2005   GRTDN   1GRAA80125D410300   SSL       OH          Akron
 HMES     CITY TRAILER     CTL‐SA   HMES395023     2005   GRTDN   1GRAA80145D410301   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐SA   HMES395024     2005   GRTDN   1GRAA80165D410302   SSL       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐SA   HMES395025     2005   GRTDN   1GRAA80185D410303   SSL       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐SA   HMES395026     2005   GRTDN   1GRAA80175D410308   SSL       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐SA   HMES395027     2005   GRTDN   1GRAA80155D410310   SSL       OH          Akron
 HMES     CITY TRAILER     CTL‐SA   HMES395028     2005   GRTDN   1GRAA80195D410312   SSL       IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐SA   HMES395030     2005   GRTDN   1GRAA80165D410316   SSL       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐SA   HMES395031     2005   GRTDN   1GRAA801X5D410318   SSL       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES395032     2005   GRTDN   1GRAA80185D410320   SSL       OH          Akron
 HMES     CITY TRAILER     CTL‐SA   HMES395034     2005   GRTDN   1GRAA80115D410322   SSL       OH          Akron
 HMES     CITY TRAILER     CTL‐SA   HMES395035     2005   GRTDN   1GRAA80135D410323   SSL       IL          Rockford
 HMES     CITY TRAILER     CTL‐SA   HMES395036     2005   GRTDN   1GRAA80155D410324   SSL       SC          Piedmont
 HMES     CITY TRAILER     CTL‐SA   HMES395038     2005   GRTDN   1GRAA80195D410326   SSL       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES395040     2005   GRTDN   1GRAA80125D410328   SSL       NY          Williamsville
 HMES     CITY TRAILER     CTL‐SA   HMES395041     2005   GRTDN   1GRAA80145D410329   SSL       MI          Jackson
 HMES     CITY TRAILER     CTL‐SA   HMES395042     2005   GRTDN   1GRAA80105D410330   SSL       IN          Indianapolis
 HMES     CITY TRAILER     CTL‐SA   HMES395044     2005   GRTDN   1GRAA80145D410332   SSL       MS          Olive Branch
 HMES     CITY TRAILER     CTL‐SA   HMES395045     2005   GRTDN   1GRAA80165D410333   SSL       IN          South Bend
 HMES     CITY TRAILER     CTL‐SA   HMES395046     2005   GRTDN   1GRAA80185D410334   SSL       IL          Wheeling
 HMES     CITY TRAILER     CTL‐SA   HMES395049     2005   GRTDN   1GRAA80175D410339   SSL       TN          Knoxville
 HMES     CITY TRAILER     CTL‐SA   HMES395050     2005   GRTDN   1GRAA80135D410340   SSL       TN          Goodlettsville
 HMES     CITY TRAILER     CTL‐SA   HMES395054     2005   GRTDN   1GRAA80105D410344   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐SA   HMES395056     2005   GRTDN   1GRAA80145D410346   SSL       SC          West Columbia
 HMES     CITY TRAILER     CTL‐SA   HMES395057     2005   GRTDN   1GRAA80165D410347   SSL       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES395058     2005   GRTDN   1GRAA801X5D410349   SSL       IL          Rockford
 HMES     CITY TRAILER     CTL‐SA   HMES395061     2005   GRTDN   1GRAA801X5D410352   SSL       MS          Olive Branch
 HMES     CITY TRAILER     CTL‐SA   HMES418001     2018   HYUND   3H3V401C0JT868011   NA        WI          Neenah
 HMES     CITY TRAILER     CTL‐SA   HMES418002     2018   HYUND   3H3V401C7JT868023   NA        IL          Rock Island
 HMES     CITY TRAILER     CTL‐SA   HMES451003     2001   WABSH   1JJV281W21L745695   DVDBH     MO          Baxter Springs
 HMES     CITY TRAILER     CTL‐SA   HMES453596     2009   WABSH   1JJV401W09L285038   NA        PA          Erie
 HMES     CITY TRAILER     CTL‐SA   HMES459000     2009   WABSH   1JJV401W49L285009   NA        SC          Piedmont
 HMES     CITY TRAILER     CTL‐SA   HMES459001     2009   WABSH   1JJV401W09L285119   NA        NC          Kernersville
 HMES     CITY TRAILER     CTL‐SA   HMES459002     2009   WABSH   1JJV401W79L285120   NA        NC          Kernersville
 HMES     CITY TRAILER     CTL‐SA   HMES459003     2009   WABSH   1JJV401W49L285012   NA        NC          Kernersville
 HMES     CITY TRAILER     CTL‐SA   HMES459004     2009   WABSH   1JJV401W79L285067   NA        NC          Kernersville
 HMES     CITY TRAILER     CTL‐SA   HMES459007     2009   WABSH   1JJV401W99L285006   NA        IL          Rockford
 HMES     CITY TRAILER     CTL‐SA   HMES459008     2009   WABSH   1JJV281W29L286101   NA        IL          Rockford
 HMES     CITY TRAILER     CTL‐SA   HMES459011     2009   WABSH   1JJV401W79L285103   NA        IL          Rock Island
 HMES     CITY TRAILER     CTL‐SA   HMES521000     2021   VANGU   5V8VC4011MM109091   VXP       NY          Williamsville
 HMES     CITY TRAILER     CTL‐SA   HMES521001     2021   VANGU   5V8VC4013MM109092   VXP       NY          Williamsville
 HMES     CITY TRAILER     CTL‐SA   HMES521002     2021   VANGU   5V8VC4015MM109093   VXP       IN          Fort Wayne
 HMES     CITY TRAILER     CTL‐SA   HMES521003     2021   VANGU   5V8VC4017MM109094   VXP       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐SA   HMES521004     2021   VANGU   5V8VC4019MM109095   VXP       IA          Council Bluffs
 HMES     CITY TRAILER     CTL‐SA   HMES521005     2021   VANGU   5V8VC4010MM109096   VXP       IN          Indianapolis
 HMES     CITY TRAILER     CTL‐SA   HMES521006     2021   VANGU   5V8VC4012MM109097   VXP       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐SA   HMES521007     2021   VANGU   5V8VC4014MM109098   VXP       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐SA   HMES521008     2021   VANGU   5V8VC4016MM109099   VXP       IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐SA   HMES521009     2021   VANGU   5V8VC4019MM109100   VXP       IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐SA   HMES521010     2021   VANGU   5V8VC4010MM109101   VXP       MI          Taylor
 HMES     CITY TRAILER     CTL‐SA   HMES521011     2021   VANGU   5V8VC4012MM109102   VXP       IA          Des Moines
 HMES     CITY TRAILER     CTL‐SA   HMES521012     2021   VANGU   5V8VC4014MM109103   VXP       IA          Des Moines
 HMES     CITY TRAILER     CTL‐SA   HMES521013     2021   VANGU   5V8VC4016MM109104   VXP       AL          Decatur
 HMES     CITY TRAILER     CTL‐SA   HMES521014     2021   VANGU   5V8VC4018MM109105   VXP       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐SA   HMES521015     2021   VANGU   5V8VC401XMM109106   VXP       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐SA   HMES521016     2021   VANGU   5V8VC4015NM203251   VXP       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐SA   HMES521017     2021   VANGU   5V8VC4017NM203252   VXP       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐SA   HMES521018     2021   VANGU   5V8VC4019NM203253   VXP       AL          Birmingham
 HMES     CITY TRAILER     CTL‐SA   HMES521019     2021   VANGU   5V8VC4010NM203254   VXP       AL          Birmingham
 HMES     CITY TRAILER     CTL‐SA   HMES521020     2021   VANGU   5V8VC4012NM203255   VXP       NY          Williamsville
 HMES     CITY TRAILER     CTL‐SA   HMES521021     2021   VANGU   5V8VC4014NM203256   VXP       SC          West Columbia
 HMES     CITY TRAILER     CTL‐SA   HMES521022     2021   VANGU   5V8VC4016NM203257   VXP       SC          West Columbia
 HMES     CITY TRAILER     CTL‐SA   HMES521023     2021   VANGU   5V8VC4018NM203258   VXP       SC          West Columbia
 HMES     CITY TRAILER     CTL‐SA   HMES521024     2021   VANGU   5V8VC401XNM203259   VXP       IL          Bolingbrook
 HMES     CITY TRAILER     CTL‐SA   HMES521025     2021   VANGU   5V8VC4016NM203260   VXP       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES521026     2021   VANGU   5V8VC4018NM203261   VXP       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐SA   HMES521027     2021   VANGU   5V8VC401XNM203262   VXP       OH          Brooklyn
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 43 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRAILER     CTL‐SA   HMES521028     2021   VANGU   5V8VC4011NM203263   VXP       OH          Brooklyn
 HMES     CITY TRAILER     CTL‐SA   HMES521029     2021   VANGU   5V8VC4013NM203264   VXP       NC          Charlotte
 HMES     CITY TRAILER     CTL‐SA   HMES521030     2021   VANGU   5V8VC4015NM203265   VXP       GA          Ringgold
 HMES     CITY TRAILER     CTL‐SA   HMES521031     2021   VANGU   5V8VC4017NM203266   VXP       GA          Ringgold
 HMES     CITY TRAILER     CTL‐SA   HMES521032     2021   VANGU   5V8VC4019NM203267   VXP       GA          Ringgold
 HMES     CITY TRAILER     CTL‐SA   HMES521033     2021   VANGU   5V8VC4010NM203268   VXP       OH          Dayton
 HMES     CITY TRAILER     CTL‐SA   HMES521034     2021   VANGU   5V8VC4012NM203269   VXP       MI          Romulus
 HMES     CITY TRAILER     CTL‐SA   HMES521035     2021   VANGU   5V8VC4019NM203270   VXP       AL          Decatur
 HMES     CITY TRAILER     CTL‐SA   HMES521036     2021   VANGU   5V8VC4010NM203271   VXP       IN          Evansville
 HMES     CITY TRAILER     CTL‐SA   HMES521037     2021   VANGU   5V8VC4012NM203272   VXP       NC          Kernersville
 HMES     CITY TRAILER     CTL‐SA   HMES521038     2021   VANGU   5V8VC4014NM203273   VXP       NC          Kernersville
 HMES     CITY TRAILER     CTL‐SA   HMES521039     2021   VANGU   5V8VC4016NM203274   VXP       MI          Wayland
 HMES     CITY TRAILER     CTL‐SA   HMES521040     2021   VANGU   5V8VC4018NM203275   VXP       IN          Indianapolis
 HMES     CITY TRAILER     CTL‐SA   HMES521041     2021   VANGU   5V8VC401XNM203276   VXP       IN          Indianapolis
 HMES     CITY TRAILER     CTL‐SA   HMES521042     2021   VANGU   5V8VC4011NM203277   VXP       MI          Jackson
 HMES     CITY TRAILER     CTL‐SA   HMES521043     2021   VANGU   5V8VC4013NM203278   VXP       IL          Joliet
 HMES     CITY TRAILER     CTL‐SA   HMES521044     2021   VANGU   5V8VC4015NM203279   VXP       IL          Joliet
 HMES     CITY TRAILER     CTL‐SA   HMES521045     2021   VANGU   5V8VC4011NM203280   VXP       IL          Joliet
 HMES     CITY TRAILER     CTL‐SA   HMES521046     2021   VANGU   5V8VC4013NM203281   VXP       KS          Kansas City
 HMES     CITY TRAILER     CTL‐SA   HMES521047     2021   VANGU   5V8VC4015NM203282   VXP       KS          Kansas City
 HMES     CITY TRAILER     CTL‐SA   HMES521048     2021   VANGU   5V8VC4017NM203283   VXP       KS          Kansas City
 HMES     CITY TRAILER     CTL‐SA   HMES521049     2021   VANGU   5V8VC4019NM203284   VXP       KS          Kansas City
 HMES     CITY TRAILER     CTL‐SA   HMES521050     2021   VANGU   5V8VC4010NM203285   VXP       TN          Knoxville
 HMES     CITY TRAILER     CTL‐SA   HMES521051     2021   VANGU   5V8VC4012NM203286   VXP       KY          Lexington
 HMES     CITY TRAILER     CTL‐SA   HMES521052     2021   VANGU   5V8VC4014NM203287   VXP       IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐SA   HMES521053     2021   VANGU   5V8VC4016NM203288   VXP       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐SA   HMES521054     2021   VANGU   5V8VC4018NM203289   VXP       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐SA   HMES521055     2021   VANGU   5V8VC4014NM203290   VXP       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐SA   HMES521056     2021   VANGU   5V8VC4016NM203291   VXP       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐SA   HMES521057     2021   VANGU   5V8VC4018NM203292   VXP       TN          Goodlettsville
 HMES     CITY TRAILER     CTL‐SA   HMES521058     2021   VANGU   5V8VC401XNM203293   VXP       IA          Council Bluffs
 HMES     CITY TRAILER     CTL‐SA   HMES521059     2021   VANGU   5V8VC4011NM203294   VXP       IA          Council Bluffs
 HMES     CITY TRAILER     CTL‐SA   HMES521060     2021   VANGU   5V8VC4013NM203295   VXP       MN          Owatonna
 HMES     CITY TRAILER     CTL‐SA   HMES521061     2021   VANGU   5V8VC4015NM203296   VXP       NC          Raleigh
 HMES     CITY TRAILER     CTL‐SA   HMES521062     2021   VANGU   5V8VC4017NM203297   VXP       IL          Rock Island
 HMES     CITY TRAILER     CTL‐SA   HMES521063     2021   VANGU   5V8VC4019NM203298   VXP       MI          Wayland
 HMES     CITY TRAILER     CTL‐SA   HMES521064     2021   VANGU   5V8VC4010NM203299   VXP       IL          Rockford
 HMES     CITY TRAILER     CTL‐SA   HMES521065     2021   VANGU   5V8VC4013NM203300   VXP       IN          South Bend
 HMES     CITY TRAILER     CTL‐SA   HMES521066     2021   VANGU   5V8VC4015NM203301   VXP       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐SA   HMES521067     2021   VANGU   5V8VC4017NM203302   VXP       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐SA   HMES521068     2021   VANGU   5V8VC4019NM203303   VXP       IL          McCook
 HMES     CITY TRAILER     CTL‐SA   HMES521069     2021   VANGU   5V8VC4010NM203304   VXP       SC          Piedmont
 HMES     CITY TRAILER     CTL‐SA   HMES521070     2021   VANGU   5V8VC4012NM203305   VXP       MI          Wayland
 HMES     CITY TRAILER     CTL‐SA   HMES521071     2021   VANGU   5V8VC4014NM203306   VXP       OH          Bowling Green
 HMES     CITY TRAILER     CTL‐SA   HMES521072     2021   VANGU   5V8VC4016NM203307   VXP       IL          Wheeling
 HMES     CITY TRAILER     CTL‐SA   HMES521073     2021   VANGU   5V8VC4018NM203308   VXP       IL          Wheeling
 HMES     CITY TRAILER     CTL‐SA   HMES521074     2021   VANGU   5V8VC401XNM203309   VXP       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐SA   HMES521075     2021   VANGU   5V8VC4016NM203310   VXP       WI          Mosinee
 HMES     CITY TRAILER     CTL‐SA   HMES521076     2021   VANGU   5V8VC4018NM203311   VXP       OH          North Lima
 HMES     CITY TRAILER     CTL‐SA   HMES521077     2021   VANGU   5V8VC401XNM203312   VXP       OH          North Lima
 HMES     CITY TRAILER     CTL‐SA   HMES595000     2015   STGHT   1DW1A2810FS596101   ZGPVW     OH          Richfield
 HMES     CITY TRAILER     CTL‐SA   HMES595001     2015   STGHT   1DW1A2812FS596102   ZGPVW     MI          Romulus
 HMES     CITY TRAILER     CTL‐SA   HMES595002     2015   STGHT   1DW1A2814FS596103   ZGPVW     IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐SA   HMES595003     2015   STGHT   1DW1A2816FS596104   ZGPW‐     SC          West Columbia
 HMES     CITY TRAILER     CTL‐SA   HMES595004     2015   STGHT   1DW1A2818FS596105   ZGPVW     IL          Edwardsville
 HMES     CITY TRAILER     CTL‐SA   HMES595005     2015   STGHT   1DW1A281XFS596106   ZGPVW     MI          Jackson
 HMES     CITY TRAILER     CTL‐SA   HMES595006     2015   STGHT   1DW1A2811FS596107   ZGPVW     GA          Ellenwood
 HMES     CITY TRAILER     CTL‐SA   HMES595007     2015   STGHT   1DW1A2813FS596108   ZGPVW     OH          Cincinnati
 HMES     CITY TRAILER     CTL‐SA   HMES595008     2015   STGHT   1DW1A2815FS596109   ZGPVW     OH          Dayton
 HMES     CITY TRAILER     CTL‐SA   HMES595009     2015   STGHT   1DW1A2811FS596110   ZGPVW     TN          Knoxville
 HMES     CITY TRAILER     CTL‐SA   HMES730161     2008   WABSH   1JJV281WX8L207238   DVCVH     NC          Kernersville
 HMES     CITY TRAILER     CTL‐TA   HMES193033     2005   GRTDN   1GRAA96255K263293   LIFT      MO          Baxter Springs
 HMES     CITY TRAILER     CTL‐TA   HMES200711     2005   GRTDN   1GRAA96245K263267   LIFTG     KS          Kansas City
 HMES     CITY TRAILER     CTL‐TA   HMES200713     2005   GRTDN   1GRAA96255K263309   LIFTG     IA          Council Bluffs
 HMES     CITY TRAILER     CTL‐TA   HMES200714     2005   GRTDN   1GRAA96215K263310   LIFTG     GA          Ringgold
 HMES     CITY TRAILER     CTL‐TA   HMES200715     2005   GRTDN   1GRAA96255K263312   LIFTG     OH          Gallipolis
 HMES     CITY TRAILER     CTL‐TA   HMES200716     2005   GRTDN   1GRAA96295K263359   LIFTG     MS          Olive Branch
 HMES     CITY TRAILER     CTL‐TA   HMES200719     2005   GRTDN   1GRAA96295K263376   LIFTG     IA          Des Moines
 HMES     CITY TRAILER     CTL‐TA   HMES200720     2005   GRTDN   1GRAA96275K263277   LIFTG     MI          Romulus
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 44 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRAILER     CTL‐TA   HMES200726     2005   GRTDN   1GRAA96295K263300   48        TN          Memphis
 HMES     CITY TRAILER     CTL‐TA   HMES200727     2005   GRTDN   1GRAA962X5K263323   LIFT      GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES200728     2005   GRTDN   1GRAA96285K263353   LIFT      MS          Olive Branch
 HMES     CITY TRAILER     CTL‐TA   HMES200730     2005   GRTDN   1GRAA96235K263311   LIFT      GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES200776     2005   GRTDN   1GRAA96245K263351   LIFTG     MN          Jackson
 HMES     CITY TRAILER     CTL‐TA   HMES200788     2005   GRTDN   1GRAA96225K263302   LIFT      IL          Rock Island
 HMES     CITY TRAILER     CTL‐TA   HMES298117     1999   WABSH   1JJV402W6XL532185   DURAP     MI          Romulus
 HMES     CITY TRAILER     CTL‐TA   HMES298132     1999   WABSH   1JJV402W9XL532200   DURAP     IN          Evansville
 HMES     CITY TRAILER     CTL‐TA   HMES298138     1999   WABSH   1JJV402WXXL532206   DURAP     IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES305102     2005   GRTDN   1GRAA96215K263260   SSL       KY          Lexington
 HMES     CITY TRAILER     CTL‐TA   HMES305103     2005   GRTDN   1GRAA96235K263261   SSL       IN          Fort Wayne
 HMES     CITY TRAILER     CTL‐TA   HMES305104     2005   GRTDN   1GRAA96255K263262   SSL       IN          Fort Wayne
 HMES     CITY TRAILER     CTL‐TA   HMES305106     2005   GRTDN   1GRAA96295K263264   SSL       IN          Indianapolis
 HMES     CITY TRAILER     CTL‐TA   HMES305107     2005   GRTDN   1GRAA96205K263265   SSL       MO          Sikeston
 HMES     CITY TRAILER     CTL‐TA   HMES305111     2005   GRTDN   1GRAA962X5K263273   SSL       NC          Raleigh
 HMES     CITY TRAILER     CTL‐TA   HMES305114     2005   GRTDN   1GRAA96255K263276   SSL       SC          Piedmont
 HMES     CITY TRAILER     CTL‐TA   HMES305115     2005   GRTDN   1GRAA96295K263278   SSL       NC          Charlotte
 HMES     CITY TRAILER     CTL‐TA   HMES305118     2005   GRTDN   1GRAA96285K263286   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐TA   HMES305121     2005   GRTDN   1GRAA96235K263289   SSL       KS          Kansas City
 HMES     CITY TRAILER     CTL‐TA   HMES305122     2005   GRTDN   1GRAA962X5K263290   SSL       NC          Charlotte
 HMES     CITY TRAILER     CTL‐TA   HMES305123     2005   GRTDN   1GRAA96215K263291   SSL       MO          Sikeston
 HMES     CITY TRAILER     CTL‐TA   HMES305124     2005   GRTDN   1GRAA96275K263294   SSL       IN          Indianapolis
 HMES     CITY TRAILER     CTL‐TA   HMES305127     2005   GRTDN   1GRAA96245K263303   SSL       OH          Dayton
 HMES     CITY TRAILER     CTL‐TA   HMES305129     2005   GRTDN   1GRAA96285K263305   SSL       OH          Columbus
 HMES     CITY TRAILER     CTL‐TA   HMES305130     2005   GRTDN   1GRAA962X5K263306   SSL       IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES305131     2005   GRTDN   1GRAA96215K263307   SSL       OH          Columbus
 HMES     CITY TRAILER     CTL‐TA   HMES305132     2005   GRTDN   1GRAA96235K263308   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐TA   HMES305133     2005   GRTDN   1GRAA96295K263314   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐TA   HMES305134     2005   GRTDN   1GRAA96205K263315   SSL       KS          Kansas City
 HMES     CITY TRAILER     CTL‐TA   HMES305136     2005   GRTDN   1GRAA96245K263317   SSL       MO          Strafford
 HMES     CITY TRAILER     CTL‐TA   HMES305137     2005   GRTDN   1GRAA96265K263318   SSL       OH          North Lima
 HMES     CITY TRAILER     CTL‐TA   HMES305138     2005   GRTDN   1GRAA96285K263319   SSL       GA          Ringgold
 HMES     CITY TRAILER     CTL‐TA   HMES305140     2005   GRTDN   1GRAA96265K263321   SSL       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐TA   HMES305142     2005   GRTDN   1GRAA96215K263324   SSL       IN          Evansville
 HMES     CITY TRAILER     CTL‐TA   HMES305143     2005   GRTDN   1GRAA96235K263325   SSL       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐TA   HMES305145     2005   GRTDN   1GRAA96275K263327   SSL       IL          Danville
 HMES     CITY TRAILER     CTL‐TA   HMES305146     2005   GRTDN   1GRAA96295K263328   SSL       WI          Tomah
 HMES     CITY TRAILER     CTL‐TA   HMES305147     2005   GRTDN   1GRAA96205K263329   SSL       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐TA   HMES305148     2005   GRTDN   1GRAA96275K263330   SSL       MI          Jackson
 HMES     CITY TRAILER     CTL‐TA   HMES305150     2005   GRTDN   1GRAA96205K263332   SSL       IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES305151     2005   GRTDN   1GRAA96225K263333   SSL       OH          Cincinnati
 HMES     CITY TRAILER     CTL‐TA   HMES305152     2005   GRTDN   1GRAA96245K263334   SSL       OH          Bowling Green
 HMES     CITY TRAILER     CTL‐TA   HMES305153     2005   GRTDN   1GRAA96265K263335   SSL       MI          Gaylord
 HMES     CITY TRAILER     CTL‐TA   HMES305154     2005   GRTDN   1GRAA96285K263336   SSL       IN          Evansville
 HMES     CITY TRAILER     CTL‐TA   HMES305155     2005   GRTDN   1GRAA96255K263343   SSL       IA          Council Bluffs
 HMES     CITY TRAILER     CTL‐TA   HMES305157     2005   GRTDN   1GRAA96295K263345   SSL       NC          Charlotte
 HMES     CITY TRAILER     CTL‐TA   HMES305159     2005   GRTDN   1GRAA96225K263347   SSL       TN          Goodlettsville
 HMES     CITY TRAILER     CTL‐TA   HMES305161     2005   GRTDN   1GRAA96265K263349   SSL       IA          Des Moines
 HMES     CITY TRAILER     CTL‐TA   HMES305162     2005   GRTDN   1GRAA96225K263350   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐TA   HMES305164     2005   GRTDN   1GRAA96295K263362   SSL       TN          Knoxville
 HMES     CITY TRAILER     CTL‐TA   HMES305165     2005   GRTDN   1GRAA96205K263363   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES305166     2005   GRTDN   1GRAA96225K263364   SSL       NC          Raleigh
 HMES     CITY TRAILER     CTL‐TA   HMES305167     2005   GRTDN   1GRAA96245K263365   SSL       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐TA   HMES305168     2005   GRTDN   1GRAA96265K263366   SSL       IL          Wheeling
 HMES     CITY TRAILER     CTL‐TA   HMES305169     2005   GRTDN   1GRAA96285K263367   SSL       MI          Birch Run
 HMES     CITY TRAILER     CTL‐TA   HMES305170     2005   GRTDN   1GRAA962X5K263368   SSL       MI          Gaylord
 HMES     CITY TRAILER     CTL‐TA   HMES305172     2005   GRTDN   1GRAA96285K263370   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐TA   HMES305174     2005   GRTDN   1GRAA96215K263372   SSL       IL          Atlanta
 HMES     CITY TRAILER     CTL‐TA   HMES305175     2005   GRTDN   1GRAA96235K263373   SSL       TN          Knoxville
 HMES     CITY TRAILER     CTL‐TA   HMES305176     2005   GRTDN   1GRAA96255K263374   SSL       NC          Kernersville
 HMES     CITY TRAILER     CTL‐TA   HMES305179     2005   GRTDN   1GRAA96245K263382   SSL       SC          Piedmont
 HMES     CITY TRAILER     CTL‐TA   HMES393002     2003   GRTDN   1GRAA80263K247815   SSL       SC          Piedmont
 HMES     CITY TRAILER     CTL‐TA   HMES393003     2003   GRTDN   1GRAA80283K247816   SSL       GA          Ringgold
 HMES     CITY TRAILER     CTL‐TA   HMES393004     2003   GRTDN   1GRAA802X3K247817   SSL       IL          McCook
 HMES     CITY TRAILER     CTL‐TA   HMES393006     2003   GRTDN   1GRAA80233K247819   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES393007     2003   GRTDN   1GRAA802X3K247820   SSL       GA          Ringgold
 HMES     CITY TRAILER     CTL‐TA   HMES393011     2003   GRTDN   1GRAA80293K247825   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES393012     2003   GRTDN   1GRAA80203K247826   SSL       OH          Columbus
 HMES     CITY TRAILER     CTL‐TA   HMES393013     2003   GRTDN   1GRAA80223K247827   SSL       NC          Raleigh
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 45 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRAILER     CTL‐TA   HMES393014     2003   GRTDN   1GRAA80243K247828   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES393016     2003   GRTDN   1GRAA80223K247830   SSL       IA          Council Bluffs
 HMES     CITY TRAILER     CTL‐TA   HMES393017     2003   GRTDN   1GRAA80243K247831   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐TA   HMES393018     2003   GRTDN   1GRAA80263K247832   SSL       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐TA   HMES393019     2003   GRTDN   1GRAA802X3K247834   SSL       KS          Kansas City
 HMES     CITY TRAILER     CTL‐TA   HMES393021     2003   GRTDN   1GRAA80293K247839   SSL       IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES393022     2003   GRTDN   1GRAA80253K247840   SSL       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐TA   HMES393023     2003   GRTDN   1GRAA80273K247841   SSL       SC          Piedmont
 HMES     CITY TRAILER     CTL‐TA   HMES393024     2003   GRTDN   1GRAA80293K247842   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES393025     2003   GRTDN   1GRAA80203K247843   SSL       SC          West Columbia
 HMES     CITY TRAILER     CTL‐TA   HMES393026     2003   GRTDN   1GRAA80223K247844   SSL       NC          Kernersville
 HMES     CITY TRAILER     CTL‐TA   HMES393031     2003   GRTDN   1GRAA80283K247850   SSL       OH          Akron
 HMES     CITY TRAILER     CTL‐TA   HMES393033     2003   GRTDN   1GRAA80213K247852   SSL       IL          Edwardsville
 HMES     CITY TRAILER     CTL‐TA   HMES393034     2003   GRTDN   1GRAA80233K247853   SSL       MO          Strafford
 HMES     CITY TRAILER     CTL‐TA   HMES393035     2003   GRTDN   1GRAA80253K247854   SSL       KS          Kansas City
 HMES     CITY TRAILER     CTL‐TA   HMES393036     2003   GRTDN   1GRAA80273K247855   SSL       MO          Baxter Springs
 HMES     CITY TRAILER     CTL‐TA   HMES393042     2003   GRTDN   1GRAA80243K247862   SSL       OH          Dayton
 HMES     CITY TRAILER     CTL‐TA   HMES393043     2003   GRTDN   1GRAA80263K247863   SSL       NY          Williamsville
 HMES     CITY TRAILER     CTL‐TA   HMES393047     2003   GRTDN   1GRAA80233K247867   SSL       IL          Danville
 HMES     CITY TRAILER     CTL‐TA   HMES393048     2003   GRTDN   1GRAA80253K247868   SSL       NC          Raleigh
 HMES     CITY TRAILER     CTL‐TA   HMES393049     2003   GRTDN   1GRAA80273K247869   SSL       IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐TA   HMES393050     2003   GRTDN   1GRAA80233K247870   SSL       PA          Erie
 HMES     CITY TRAILER     CTL‐TA   HMES393052     2003   GRTDN   1GRAA80273K247872   SSL       AL          Birmingham
 HMES     CITY TRAILER     CTL‐TA   HMES393059     2003   GRTDN   1GRAA80283K247881   SSL       TN          Knoxville
 HMES     CITY TRAILER     CTL‐TA   HMES393060     2003   GRTDN   1GRAA802X3K247882   SSL       NC          Raleigh
 HMES     CITY TRAILER     CTL‐TA   HMES393061     2003   GRTDN   1GRAA80213K247883   SSL       NY          Williamsville
 HMES     CITY TRAILER     CTL‐TA   HMES393062     2003   GRTDN   1GRAA80233K247884   SSL       NC          Raleigh
 HMES     CITY TRAILER     CTL‐TA   HMES393065     2003   GRTDN   1GRAA80203K247888   SSL       IL          Chicago Heights
 HMES     CITY TRAILER     CTL‐TA   HMES393067     2003   GRTDN   1GRAA80293K247890   SSL       IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES393068     2003   GRTDN   1GRAA80203K247891   SSL       NY          Williamsville
 HMES     CITY TRAILER     CTL‐TA   HMES393070     2003   GRTDN   1GRAA80243K247893   SSL       MI          Gaylord
 HMES     CITY TRAILER     CTL‐TA   HMES393071     2003   GRTDN   1GRAA80263K247894   SSL       GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES393072     2003   GRTDN   1GRAA80283K247895   SSL       OH          Copley
 HMES     CITY TRAILER     CTL‐TA   HMES393073     2003   GRTDN   1GRAA802X3K247896   SSL       IL          Wheeling
 HMES     CITY TRAILER     CTL‐TA   HMES393074     2003   GRTDN   1GRAA80233K247898   SSL       KS          Kansas City
 HMES     CITY TRAILER     CTL‐TA   HMES393078     2003   GRTDN   1GRAA80213K247902   SSL       MI          Norway
 HMES     CITY TRAILER     CTL‐TA   HMES393079     2003   GRTDN   1GRAA80233K247903   SSL       WI          Milwaukee
 HMES     CITY TRAILER     CTL‐TA   HMES393080     2003   GRTDN   1GRAA80243K247814   SSL       NC          Charlotte
 HMES     CITY TRAILER     CTL‐TA   HMES452000     2002   UTLTY   1UYVS24535P531503   NA        SC          Piedmont
 HMES     CITY TRAILER     CTL‐TA   HMES453585     2001   GRTDN   1GRAA96241K237391   SSL       IN          Indianapolis
 HMES     CITY TRAILER     CTL‐TA   HMES453591     2006   GRTDN   1GRAA802X6K278182   SSL       NE          Omaha
 HMES     CITY TRAILER     CTL‐TA   HMES453592     2001   GRTDN   1GRAA96291G318454   NA        IA          Des Moines
 HMES     CITY TRAILER     CTL‐TA   HMES453593     2005   WABSH   1JJV482W65L905334   NA        IL          Wheeling
 HMES     CITY TRAILER     CTL‐TA   HMES453595     2003   WABSH   1JJV482W83L849717   NA        IA          Des Moines
 HMES     CITY TRAILER     CTL‐TA   HMES453658     2003   WABSH   1JJV482W03L849288   VAN       NC          Kernersville
 HMES     CITY TRAILER     CTL‐TA   HMES453659     2003   WABSH   1JJV482W63L849831   VAN       NC          Kernersville
 HMES     CITY TRAILER     CTL‐TA   HMES453689     2003   WABSH   1JJV482W53L834804   DVCVH     IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐TA   HMES453690     2003   WABSH   1JJV482W03L849730   DVCVH     MI          Pontiac
 HMES     CITY TRAILER     CTL‐TA   HMES453692     2003   WABSH   1JJV482W63L849473   DVCVH     MO          Baxter Springs
 HMES     CITY TRAILER     CTL‐TA   HMES453693     2003   WABSH   1JJV482W63L849389   NA        WI          Oak Creek
 HMES     CITY TRAILER     CTL‐TA   HMES453694     2003   WABSH   1JJV482W93L849760   NA        WI          Milwaukee
 HMES     CITY TRAILER     CTL‐TA   HMES454000     2004   WABSH   1JJV281W34L887252   NA        NC          Kernersville
 HMES     CITY TRAILER     CTL‐TA   HMES454002     2004   GRTDN   1GRAA96204K262230   NA        TN          Nashville
 HMES     CITY TRAILER     CTL‐TA   HMES455003     2005   WABSH   1JJV482W45L913710   NA        WI          Milwaukee
 HMES     CITY TRAILER     CTL‐TA   HMES455004     2005   WABSH   1JJV482W85L905335   NA        GA          Conley
 HMES     CITY TRAILER     CTL‐TA   HMES455006     2005   WABSH   1JJV482W65L905236   NA        MI          Romulus
 HMES     CITY TRAILER     CTL‐TA   HMES455007     2005   WABSH   1JJV482W55L905261   NA        FL          Miami
 HMES     CITY TRAILER     CTL‐TA   HMES456005     2006   WABSH   1JJV482W36L988920   NA        GA          Ringgold
 HMES     CITY TRAILER     CTL‐TA   HMES456006     2006   WABSH   1JJV482W86L988914   NA        MO          Sikeston
 HMES     CITY TRAILER     CTL‐TA   HMES456007     2006   GRTDN   1GRAA80226K278161   NA        IL          Rock Island
 HMES     CITY TRAILER     CTL‐TA   HMES456008     2006   GRTDN   1GRAA80246K278162   NA        IL          Rock Island
 HMES     CITY TRAILER     CTL‐TA   HMES456009     2006   GRTDN   1GRAA80246K278159   NA        IL          Rock Island
 HMES     CITY TRAILER     CTL‐TA   HMES481037     2001   FRUHF   1JJV482FX1F728666   NONE      TN          Nashville
 HMES     CITY TRAILER     CTL‐TA   HMES481038     2001   FRUHF   1GRAA96295K263099   NONE      TN          Goodlettsville
 HMES     CITY TRAILER     CTL‐TA   HMES486032     2005   WABSH   1JJV482W15L913731   VAN       MI          Gaylord
 HMES     CITY TRAILER     CTL‐TA   HMES488111     2018   STGHT   1DW1A4828JBA08896   ZGPVW     MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐TA   HMES505000     2015   STGHT   1DW1A4024FS596201   ZGPVW     WI          Tomah
 HMES     CITY TRAILER     CTL‐TA   HMES505001     2015   STGHT   1DW1A4026FS596202   ZGPVW     NC          Charlotte
 HMES     CITY TRAILER     CTL‐TA   HMES505002     2015   STGHT   1DW1A4028FS596203   ZGPVW     OH          Dayton
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 46 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRAILER     CTL‐TA   HMES505003     2015   STGHT   1DW1A402XFS596204   ZGPVW     OH          Akron
 HMES     CITY TRAILER     CTL‐TA   HMES505004     2015   STGHT   1DW1A4021FS596205   ZGPVW     IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES505005     2015   STGHT   1DW1A4023FS596206   ZGPVW     MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐TA   HMES505006     2015   STGHT   1DW1A4025FS596207   ZGPVW     TN          Knoxville
 HMES     CITY TRAILER     CTL‐TA   HMES505007     2015   STGHT   1DW1A4027FS596208   ZGPVW     GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES505008     2015   STGHT   1DW1A4029FS596209   ZGPVW     OH          Columbus
 HMES     CITY TRAILER     CTL‐TA   HMES505009     2015   STGHT   1DW1A4025FS596210   ZGPW‐     IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES505010     2015   STGHT   1DW1A4027FS596211   ZGPW      WI          Milwaukee
 HMES     CITY TRAILER     CTL‐TA   HMES505011     2015   STGHT   1DW1A4029FS596212   ZGPVW     MI          Birch Run
 HMES     CITY TRAILER     CTL‐TA   HMES505012     2015   STGHT   1DW1A4020FS596213   ZGPW‐     KY          Lexington
 HMES     CITY TRAILER     CTL‐TA   HMES505013     2015   STGHT   1DW1A4022FS596214   ZGPVW     KY          Lexington
 HMES     CITY TRAILER     CTL‐TA   HMES505014     2015   STGHT   1DW1A4024FS596215   ZGPVW     IN          Indianapolis
 HMES     CITY TRAILER     CTL‐TA   HMES505015     2015   STGHT   1DW1A4026FS596216   ZGPVW     IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐TA   HMES505016     2015   STGHT   1DW1A4028FS596217   ZGPVW     OH          Cincinnati
 HMES     CITY TRAILER     CTL‐TA   HMES505017     2015   STGHT   1DW1A402XFS596218   ZGPVW     NC          Raleigh
 HMES     CITY TRAILER     CTL‐TA   HMES505018     2015   STGHT   1DW1A4021FS596219   ZGPVW     IN          Indianapolis
 HMES     CITY TRAILER     CTL‐TA   HMES505019     2015   STGHT   1DW1A4028FS596220   ZGPVW     OH          Cincinnati
 HMES     CITY TRAILER     CTL‐TA   HMES505020     2015   STGHT   1DW1A402XFS596221   ZGPVW     OH          Cincinnati
 HMES     CITY TRAILER     CTL‐TA   HMES505021     2015   STGHT   1DW1A4021FS596222   ZGPVW     OH          Columbus
 HMES     CITY TRAILER     CTL‐TA   HMES505022     2015   STGHT   1DW1A4023FS596223   SGPVW     IL          Danville
 HMES     CITY TRAILER     CTL‐TA   HMES505023     2015   STGHT   1DW1A4025FS596224   ZGPVW     IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES505024     2015   STGHT   1DW1A4027FS596225   ZGPVW     MI          Wayland
 HMES     CITY TRAILER     CTL‐TA   HMES507131     2007   GRTDN   1GRAA96207D424222   SSL       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐TA   HMES507301     2007   GRTDN   1GRAA96257D425785   SSL       MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐TA   HMES515157     2015   STGHT   1DW1A5325FB577657   ZGPVW     TN          Nashville
 HMES     CITY TRAILER     CTL‐TA   HMES515189     2015   STGHT   1DW1A5327FB577689   ZGPVW     IL          Edwardsville
 HMES     CITY TRAILER     CTL‐TA   HMES515329     2015   STGHT   1DW1A5328FB577829   ZGPVW     IN          Indianapolis
 HMES     CITY TRAILER     CTL‐TA   HMES517000     2017   STGHT   1DW1A4021HS763701   ZGPVW     OH          Cincinnati
 HMES     CITY TRAILER     CTL‐TA   HMES517001     2017   STGHT   1DW1A4023HS763702   ZGPVW     OH          Columbus
 HMES     CITY TRAILER     CTL‐TA   HMES517002     2017   STGHT   1DW1A4025HS763703   ZGPVW     OH          North Lima
 HMES     CITY TRAILER     CTL‐TA   HMES517003     2017   STGHT   1DW1A4027HS763704   ZGPVW     IL          McCook
 HMES     CITY TRAILER     CTL‐TA   HMES517004     2017   STGHT   1DW1A4029HS763705   ZGPVW     GA          Ellenwood
 HMES     CITY TRAILER     CTL‐TA   HMES517005     2017   STGHT   1DW1A4026HS763709   ZGPVW     TN          Knoxville
 HMES     CITY TRAILER     CTL‐TA   HMES517006     2017   STGHT   1DW1A4022HS763707   ZGPVW     OH          Cincinnati
 HMES     CITY TRAILER     CTL‐TA   HMES517007     2017   STGHT   1DW1A4022HS763724   ZGPVW     IN          Jeffersonville
 HMES     CITY TRAILER     CTL‐TA   HMES517008     2017   STGHT   1DW1A4022HS763710   ZGPVW     NC          Charlotte
 HMES     CITY TRAILER     CTL‐TA   HMES517009     2017   STGHT   1DW1A4020HS763706   ZGPVW     TN          Knoxville
 HMES     CITY TRAILER     CTL‐TA   HMES517010     2017   STGHT   1DW1A4028HS763727   ZGPVW     IL          Atlanta
 HMES     CITY TRAILER     CTL‐TA   HMES517011     2017   STGHT   1DW1A4026HS763712   ZGPVW     OH          Dayton
 HMES     CITY TRAILER     CTL‐TA   HMES517012     2017   STGHT   1DW1A4028HS763713   ZGPVW     MI          Romulus
 HMES     CITY TRAILER     CTL‐TA   HMES517013     2017   STGHT   1DW1A402XHS763714   ZGPVW     IN          Indianapolis
 HMES     CITY TRAILER     CTL‐TA   HMES517014     2017   STGHT   1DW1A4021HS763715   ZGPVW     MI          Wayland
 HMES     CITY TRAILER     CTL‐TA   HMES517015     2017   STGHT   1DW1A4023HS763716   ZGPVW     MI          Romulus
 HMES     CITY TRAILER     CTL‐TA   HMES517016     2017   STGHT   1DW1A4025HS763717   ZGPVW     IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES517017     2017   STGHT   1DW1A4027HS763718   ZGPVW     MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐TA   HMES517018     2017   STGHT   1DW1A4029HS763719   ZGPVW     OH          Brooklyn
 HMES     CITY TRAILER     CTL‐TA   HMES517019     2017   STGHT   1DW1A4025HS763720   ZGPVW     WI          Milwaukee
 HMES     CITY TRAILER     CTL‐TA   HMES517020     2017   STGHT   1DW1A4027HS763721   ZGPVW     MI          Romulus
 HMES     CITY TRAILER     CTL‐TA   HMES517021     2017   STGHT   1DW1A4024HS763711   ZGPVW     NC          Raleigh
 HMES     CITY TRAILER     CTL‐TA   HMES517022     2017   STGHT   1DW1A4020HS763723   ZGPVW     WI          Milwaukee
 HMES     CITY TRAILER     CTL‐TA   HMES517023     2017   STGHT   1DW1A4029HS763722   ZGPVW     IL          Wheeling
 HMES     CITY TRAILER     CTL‐TA   HMES517024     2017   STGHT   1DW1A4024HS763725   ZGPVW     MI          Wayland
 HMES     CITY TRAILER     CTL‐TA   HMES517025     2017   STGHT   1DW1A4026HS763726   ZGPVW     IN          Fort Wayne
 HMES     CITY TRAILER     CTL‐TA   HMES517026     2017   STGHT   1DW1A4024HS763708   ZGPVW     MI          Jackson
 HMES     CITY TRAILER     CTL‐TA   HMES517027     2017   STGHT   1DW1A402XHS763728   ZGPVW     MI          Wayland
 HMES     CITY TRAILER     CTL‐TA   HMES517028     2017   STGHT   1DW1A4021HS763729   ZGPVW     MI          Wayland
 HMES     CITY TRAILER     CTL‐TA   HMES517029     2017   STGHT   1DW1A4028HS763730   ZGPVW     MI          Wayland
 HMES     CITY TRAILER     CTL‐TA   HMES517030     2017   STGHT   1DW1A402XHS763731   ZGPVW     IL          Atlanta
 HMES     CITY TRAILER     CTL‐TA   HMES517031     2017   STGHT   1DW1A4021HS763732   ZGPVW     IN          South Bend
 HMES     CITY TRAILER     CTL‐TA   HMES517032     2017   STGHT   1DW1A4023HS763733   ZGPVW     IN          South Bend
 HMES     CITY TRAILER     CTL‐TA   HMES517033     2017   STGHT   1DW1A4025HS763734   ZGPVW     OH          Bowling Green
 HMES     CITY TRAILER     CTL‐TA   HMES517034     2017   STGHT   1DW1A4027HS763735   ZGPVW     WI          Neenah
 HMES     CITY TRAILER     CTL‐TA   HMES517035     2017   STGHT   1DW1A4029HS763736   ZGPVW     MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐TA   HMES517036     2017   STGHT   1DW1A4020HS763737   ZGPVW     MO          Sikeston
 HMES     CITY TRAILER     CTL‐TA   HMES517037     2017   STGHT   1DW1A4022HS763738   ZGPVW     IN          Fort Wayne
 HMES     CITY TRAILER     CTL‐TA   HMES517038     2017   STGHT   1DW1A4024HS763739   ZGPVW     MN          Coon Rapids
 HMES     CITY TRAILER     CTL‐TA   HMES517039     2017   STGHT   1DW1A4020HS763740   ZGPVW     MI          Wayland
 HMES     CITY TRAILER     CTL‐TA   HMES530994     2022   VANGU   5V8VA5327NM204692   VAN       IN          South Bend
 HMES     CITY TRAILER     CTL‐TA   HMES531006     2022   VANGU   5V8VA532XNM204704   VAN       IN          South Bend
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23        Page 47 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL     State       City
 HMES     CITY TRAILER     CTL‐TA   HMES533197     2014   STGHT   1DW1A5326EB487352   ZGPVW      IL          Joliet
 HMES     CITY TRAILER     CTL‐TA   HMES533202     2014   STGHT   1DW1A5325EB487357   ZGPVW      MO          Sikeston
 HMES     CITY TRAILER     CTL‐TA   HMES810031     2003   GRTDN   1GRAA80253K247823   SSL        IN          Evansville
 HMES     CITY TRAILER     CTL‐TA   HMES810033     2003   GRTDN   1GRAA802X3K247851   SSL        MI          Birch Run
 HMES     CITY TRAILER     CTL‐TA   HMES810034     2003   GRTDN   1GRAA80293K247856   SSL        KS          Kansas City
 HMES     CITY TRAILER     CTL‐TA   HMES810035     2003   GRTDN   1GRAA80223K247861   SSL        OH          Cincinnati
 HMES     CITY TRAILER     CTL‐TA   HMES810036     2003   GRTDN   1GRAA802X3K247865   SSL        IL          Atlanta
 HMES     CITY TRAILER     CTL‐TA   HMES842144     2001   GRTDN   1GRAA962X1K237895   P‐SERIES   TX          Fort Worth
 HMES     CITY TRAILER     CTL‐TA   HMES842249     2001   GRTDN   1GRAA96211K238286   P‐SERIES   TN          Memphis
 HMES     CITY TRACTOR     CTR‐SA   HMES30015      2015   VOLVO   4V4M19EG5FN933188   VNM42      KS          Kansas City
 HMES     CITY TRACTOR     CTR‐SA   HMES30130      2009   VOLVO   4V4M19EG89N263835   VNM42      MI          Birch Run
 HMES     CITY TRACTOR     CTR‐SA   HMES30205      2002   VOLVO   4V4M19RF42N324525   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30206      2002   VOLVO   4V4M39RF72N325520   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30207      2002   VOLVO   4V4M39RF22N325487   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30208      2002   VOLVO   4V4M19RF72N324602   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30210      2002   VOLVO   4V4MC9RF02N324676   VNM64      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30500      2005   VOLVO   4V4M19GF85N406488   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30600      2006   VOLVO   4V4M19GFX6N406591   VNM42      SC          Piedmont
 HMES     CITY TRACTOR     CTR‐SA   HMES30601      2006   VOLVO   4V4M19GF26N406603   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30613      2006   INTL    2HSCEAPR26C301645   AS920      IL          Rock Island
 HMES     CITY TRACTOR     CTR‐SA   HMES30614      2006   VOLVO   4V4M19GF26N406679   VNM42      MI          Pontiac
 HMES     CITY TRACTOR     CTR‐SA   HMES30620      2006   VOLVO   4V4M19GF96N406260   VNM42      IL          Rock Island
 HMES     CITY TRACTOR     CTR‐SA   HMES30701      2007   VOLVO   4V4M19GF27N406733   VNM42      SC          Piedmont
 HMES     CITY TRACTOR     CTR‐SA   HMES30703      2007   VOLVO   4V4M19GF37N462504   VNM42      SC          Piedmont
 HMES     CITY TRACTOR     CTR‐SA   HMES30704      2007   VOLVO   4V4MC9GF47N480973   VNM64      SC          Piedmont
 HMES     CITY TRACTOR     CTR‐SA   HMES30705      2006   VOLVO   4V4M19GF86N406668   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30706      2007   VOLVO   4V4M19GF27N406781   VNM42      SC          Piedmont
 HMES     CITY TRACTOR     CTR‐SA   HMES30708      2007   VOLVO   4V4M19GF37N451535   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30714      2007   VOLVO   4V4M19GH47N449195   VNM42      IL          Rockford
 HMES     CITY TRACTOR     CTR‐SA   HMES30715      2007   VOLVO   4V4M19GF07N451637   VNM42      MN          Owatonna
 HMES     CITY TRACTOR     CTR‐SA   HMES30716      2007   VOLVO   4V4M19GF07N446700   VNM42      MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐SA   HMES30723      2007   VOLVO   4V4M19GF97N406793   VNM42      MI          Birch Run
 HMES     CITY TRACTOR     CTR‐SA   HMES30726      2007   VOLVO   4V4M19GF77N406839   VNM42      IL          Rock Island
 HMES     CITY TRACTOR     CTR‐SA   HMES30727      2007   VOLVO   4V4M19GFX7N451581   VNM42      IL          Rock Island
 HMES     CITY TRACTOR     CTR‐SA   HMES30728      2007   VOLVO   4V4MC9GF77N449359   VNM42      IL          Rock Island
 HMES     CITY TRACTOR     CTR‐SA   HMES30800      2008   VOLVO   4V4M19EG38N262879   VNM42      SC          Piedmont
 HMES     CITY TRACTOR     CTR‐SA   HMES30816      2008   FRGHT   1FUBA6CK18LZ83926   CASCA      IL          Rock Island
 HMES     CITY TRACTOR     CTR‐SA   HMES30817      2008   VOLVO   4V4MC9EG28N262723   VNM42      MI          Birch Run
 HMES     CITY TRACTOR     CTR‐SA   HMES30820      2008   VOLVO   4V4MC9EG58N262733   VNM42      IL          Rock Island
 HMES     CITY TRACTOR     CTR‐SA   HMES30900      2009   VOLVO   4V4M19EG99N263827   VNM42      SC          Piedmont
 HMES     CITY TRACTOR     CTR‐SA   HMES30902      2009   VOLVO   4V4M19EG69N263915   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES30903      2009   VOLVO   4V4M19EG19N263918   VNM42      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES31280      2001   VOLVO   4V4M19RF41N320327   VNM42      AL          Birmingham
 HMES     CITY TRACTOR     CTR‐SA   HMES31284      2001   VOLVO   4V4M19RF81N306558   VNM42      AL          Decatur
 HMES     CITY TRACTOR     CTR‐SA   HMES31632      2016   VOLVO   4V4M19EGXGN944642   VNM42      KS          Kansas City
 HMES     CITY TRACTOR     CTR‐SA   HMES31633      2016   FRGHT   1FUBGADV8GLHB3521   CASCA      KS          Kansas City
 HMES     CITY TRACTOR     CTR‐SA   HMES32893      2002   INTL    2HSCDAXN52C046094   9200I      IL          McCook
 HMES     CITY TRACTOR     CTR‐SA   HMES33010      2005   INTL    1HSMTAAN75H106597   MCT        WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐SA   HMES33019      2005   INTL    3HSCPAPNX5N049261   CUMMI      MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐SA   HMES33029      2005   INTL    1HSMTAAN75H106583   MCT        AL          Birmingham
 HMES     CITY TRACTOR     CTR‐SA   HMES33032      2005   INTL    3HSCPSBN65N051361   C13        IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐SA   HMES33033      2005   INTL    3HSCPSBN45N049236   CATC1      WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐SA   HMES33037      2005   INTL    3HSCPSBN45N051374   9400I      GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐SA   HMES33040      2005   INTL    3HSCPSBN95N051368   CAT        WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐SA   HMES33059      2005   INTL    3HSCPAPN85N049260   CUMMI      MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐SA   HMES33081      2005   INTL    3HSCPAPN55N049281   9400I      MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐SA   HMES33085      2005   INTL    1HSMTAAN15H106594   4400       SC          West Columbia
 HMES     CITY TRACTOR     CTR‐SA   HMES33091      2005   INTL    3HSCPSBNX5N051377   9400       KS          Kansas City
 HMES     CITY TRACTOR     CTR‐SA   HMES33093      2005   INTL    2HSCPSBNX5C045256   CAT C      KS          Kansas City
 HMES     CITY TRACTOR     CTR‐SA   HMES33103      2005   INTL    3HSCPSBN65N049237   9400I      GA          Ringgold
 HMES     CITY TRACTOR     CTR‐SA   HMES33105      2005   INTL    3HSCPSBN05N049248   9400I      IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐SA   HMES33111      2005   INTL    3HSCPAPN35N049280   9400I      KS          Kansas City
 HMES     CITY TRACTOR     CTR‐SA   HMES33301      2003   VOLVO   4V4M39RF43N325735   VNM42      AL          Decatur
 HMES     CITY TRACTOR     CTR‐SA   HMES34054      2004   VOLVO   4V4M19GF04N369905   VNM42      MI          Birch Run
 HMES     CITY TRACTOR     CTR‐SA   HMES34088      2004   VOLVO   4V4M19GF54N352274   VNM42      AL          Birmingham
 HMES     CITY TRACTOR     CTR‐SA   HMES34094      2004   VOLVO   4V4M19GFX4N360368   VNM42      IL          McCook
 HMES     CITY TRACTOR     CTR‐SA   HMES34099      2004   VOLVO   4V4M19GF24N352183   VNM42      IN          Evansville
 HMES     CITY TRACTOR     CTR‐SA   HMES34102      2004   VOLVO   4V4M19GF74N369870   VNM42      MI          Jackson
 HMES     CITY TRACTOR     CTR‐SA   HMES34113      2004   VOLVO   4V4M19GF74N352213   VNM42      IL          McCook
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 48 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐SA   HMES34120     2004   VOLVO   4V4M19GF74N357105   VNM42     SC          Columbia
 HMES     CITY TRACTOR     CTR‐SA   HMES34126     2004   VOLVO   4V4M19GF84N360370   VNM42     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐SA   HMES34137     2004   VOLVO   4V4M19GF84N352253   NA        MI          Wayland
 HMES     CITY TRACTOR     CTR‐SA   HMES34141     2004   VOLVO   4V4M19GF94N352181   NA        OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐SA   HMES34142     2004   VOLVO   4V4M19GF84N352219   NA        NC          Raleigh
 HMES     CITY TRACTOR     CTR‐SA   HMES34144     2004   VOLVO   4V4M19GF94N352259   NA        SC          West Columbia
 HMES     CITY TRACTOR     CTR‐SA   HMES34146     2004   VOLVO   4V4M19GF14N357116   NA        NC          Charlotte
 HMES     CITY TRACTOR     CTR‐SA   HMES34147     2004   VOLVO   4V4M19GF04N360380   NA        NC          Charlotte
 HMES     CITY TRACTOR     CTR‐SA   HMES34148     2004   VOLVO   4V4M19GF94N369854   NA        GA          Ringgold
 HMES     CITY TRACTOR     CTR‐SA   HMES34153     2004   VOLVO   4V4M19GFX4N357101   NA        MI          Wayland
 HMES     CITY TRACTOR     CTR‐SA   HMES34159     2004   VOLVO   4V4M19GF84N352236   NA        IL          McCook
 HMES     CITY TRACTOR     CTR‐SA   HMES34160     2004   VOLVO   4V4M19GF74N360344   NA        IL          McCook
 HMES     CITY TRACTOR     CTR‐SA   HMES34161     2004   VOLVO   4V4M19GF54N360360   NA        IL          McCook
 HMES     CITY TRACTOR     CTR‐SA   HMES34162     2004   VOLVO   4V4M19GF34N352161   NA        IL          McCook
 HMES     CITY TRACTOR     CTR‐SA   HMES34163     2004   VOLVO   4V4M19GF64N352168   NA        IL          McCook
 HMES     CITY TRACTOR     CTR‐SA   HMES34164     2004   VOLVO   4V4M19GF14N352255   NA        IL          McCook
 HMES     CITY TRACTOR     CTR‐SA   HMES34166     2004   VOLVO   4V4M19GF44N360348   NA        IL          Joliet
 HMES     CITY TRACTOR     CTR‐SA   HMES34175     2004   VOLVO   4V4M19GF44N352217   NA        MN          Owatonna
 HMES     CITY TRACTOR     CTR‐SA   HMES34177     2004   VOLVO   4V4M19GF64N357077   NA        MO          Kansas City
 HMES     CITY TRACTOR     CTR‐SA   HMES34179     2004   VOLVO   4V4M19GF74N360361   NA        IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐SA   HMES34204     2004   VOLVO   4V4M19GF24N369906   VNM42     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐SA   HMES34206     2016   VOLVO   4V4M19EG4GN944698   VNM42T    KS          Kansas City
 HMES     CITY TRACTOR     CTR‐SA   HMES34207     2016   VOLVO   4V4M19EG8GN944655   VNM42T    KS          Kansas City
 HMES     CITY TRACTOR     CTR‐SA   HMES35001     2005   INTL    1HSHWAHN45J054367   8600      TN          Knoxville
 HMES     CITY TRACTOR     CTR‐SA   HMES35002     2005   INTL    1HSHWAHN65J054368   8600      IL          McCook
 HMES     CITY TRACTOR     CTR‐SA   HMES35007     2005   VOLVO   4V4M19GF05N395194   NA        OH          Columbus
 HMES     CITY TRACTOR     CTR‐SA   HMES35009     2005   VOLVO   4V4M19GF75N378120   NA        IN          Evansville
 HMES     CITY TRACTOR     CTR‐SA   HMES35011     2005   VOLVO   4V4M19GF65N378111   NA        WI          Neenah
 HMES     CITY TRACTOR     CTR‐SA   HMES35080     2005   VOLVO   4V4MC9GF65N387594   VNM42     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐SA   HMES35081     2005   INTL    3HSCPSBNX5N051363   9400I     IN          Evansville
 HMES     CITY TRACTOR     CTR‐SA   HMES36601     2006   VOLVO   4V4M19GFX6N406669   VNM42     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐SA   HMES36602     2006   VOLVO   4V4M19GF76N406094   VNM42     KY          Lexington
 HMES     CITY TRACTOR     CTR‐SA   HMES36603     2006   VOLVO   4V4M19GF66N406667   VNM42     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐SA   HMES37001     2007   INTL    1HSHWAHN17J522851   8600      MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐SA   HMES37084     2007   VOLVO   4V4M19GF47N462527   VNM42     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐SA   HMES37087     2007   VOLVO   4V4MC9GF97N449489   VNM42     IN          Evansville
 HMES     CITY TRACTOR     CTR‐SA   HMES37088     2007   VOLVO   4V4M19GF77N451778   VNM42     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐SA   HMES38145     2008   VOLVO   4V4M19GF68N462563   VNM42     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐SA   HMES38147     2008   VOLVO   4V4MC9EG58N498279   VNM64     AL          Decatur
 HMES     CITY TRACTOR     CTR‐SA   HMES38151     2008   VOLVO   4V4M19EG98N262806   VNM42     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐SA   HMES39132     2009   VOLVO   4V4M19EG09N263893   VNM42     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐SA   HMES39133     2009   VOLVO   4V4M19EG49N263931   VNM42     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐SA   HMES39134     2009   VOLVO   4V4M19EG79N263809   VNM42     AL          Decatur
 HMES     CITY TRACTOR     CTR‐SA   HMES39135     2009   VOLVO   4V4M19EG19N263952   VNM42     AL          Decatur
 HMES     CITY TRACTOR     CTR‐SA   HMES39136     2009   VOLVO   4V4M19EG59N263968   VNM42     IA          Des Moines
 HMES     CITY TRACTOR     CTR‐SA   HMES39137     2009   VOLVO   4V4MC9EG19N283631   VNM42     IA          Des Moines
 HMES     CITY TRACTOR     CTR‐SA   HMES39138     2009   VOLVO   4V4M19EG19N263840   VNM42     IN          Evansville
 HMES     CITY TRACTOR     CTR‐SA   HMES39139     2009   VOLVO   4V4M19EG99N263830   VNM42     IN          Evansville
 HMES     CITY TRACTOR     CTR‐SA   HMES39140     2009   VOLVO   4V4MC9EG89N283626   VNM42     IN          Evansville
 HMES     CITY TRACTOR     CTR‐SA   HMES39142     2009   VOLVO   4V4MC9EG89N283612   VNM42     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐SA   HMES67221     2001   VOLVO   4V4M19RF61N306672   VNM42     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES67233     2002   VOLVO   4V4MC9RF62N319451   VNM42     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐SA   HMES67234     2002   VOLVO   4V4M39RF32N325482   VNM42     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐SA   HMES67662     2018   PTRBL   1XPBAP8X1JD487010   579       MO          Sikeston
 HMES     CITY TRACTOR     CTR‐SA   HMES67663     2017   VOLVO   4V4M19EG6HN985142   VNM42T    MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐SA   HMES67664     2016   VOLVO   4V4M19EGXGN944639   VNM42T    MO          Sikeston
 HMES     CITY TRACTOR     CTR‐SA   HMES67665     2016   VOLVO   4V4M19EG2GN944649   VNM42T    TN          Memphis
 HMES     CITY TRACTOR     CTR‐SA   HMES75004     2005   KNWRT   2XKMAZ7X95M086199   T300      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES75005     2005   KNWRT   2XKMAZ7X15M086200   T300      IL          Wheeling
 HMES     CITY TRACTOR     CTR‐SA   HMES75009     2005   KNWRT   2XKMAZ7X95M086204   T300      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES75010     2005   KNWRT   2XKMAZ7X05M086205   T300      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES75013     2005   KNWRT   2XKMAZ7X65M086208   T300      NC          Charlotte
 HMES     CITY TRACTOR     CTR‐SA   HMES75014     2005   KNWRT   2XKMAZ7X85M086209   T300      IL          Wheeling
 HMES     CITY TRACTOR     CTR‐SA   HMES75015     2005   KNWRT   2XKMAZ7X45M086210   T300      IL          Wheeling
 HMES     CITY TRACTOR     CTR‐SA   HMES75017     2005   KNWRT   2XKMAZ7X85M086212   T300      OH          Dayton
 HMES     CITY TRACTOR     CTR‐SA   HMES75018     2005   KNWRT   2XKMAZ7XX5M086213   T300      TN          Knoxville
 HMES     CITY TRACTOR     CTR‐SA   HMES75021     2005   KNWRT   2XKMAZ7X55M086216   T300      OH          Akron
 HMES     CITY TRACTOR     CTR‐SA   HMES75022     2005   KNWRT   2XKMAZ7X75M086217   T300      SC          Piedmont
 HMES     CITY TRACTOR     CTR‐SA   HMES75023     2005   KNWRT   2XKMAZ7X95M086218   T300      OH          Akron
                     Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 49 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐SA   HMES75027     2005   KNWRT   2XKMAZ7X05M086222   T300      OH          Akron
 HMES     CITY TRACTOR     CTR‐SA   HMES75028     2005   KNWRT   2XKMAZ7X25M086223   T300      OH          Akron
 HMES     CITY TRACTOR     CTR‐SA   HMES75030     2005   KNWRT   2XKMAZ7X65M086225   T300      AL          Decatur
 HMES     CITY TRACTOR     CTR‐SA   HMES75032     2005   KNWRT   2XKMAZ7XX5M086227   T300      OH          Dayton
 HMES     CITY TRACTOR     CTR‐SA   HMES75034     2005   KNWRT   2XKMAZ7X35M086229   T300      NY          Williamsville
 HMES     CITY TRACTOR     CTR‐SA   HMES75036     2005   KNWRT   2XKMAZ7X15M086231   T300      IL          Wheeling
 HMES     CITY TRACTOR     CTR‐SA   HMES75037     2005   KNWRT   2XKMAZ7X35M086232   T300      OH          North Lima
 HMES     CITY TRACTOR     CTR‐SA   HMES75040     2005   KNWRT   2XKMAZ7X95M086235   T300      NY          Williamsville
 HMES     CITY TRACTOR     CTR‐SA   HMES75041     2005   KNWRT   2XKMAZ7X05M086236   T300      NY          Williamsville
 HMES     CITY TRACTOR     CTR‐SA   HMES75042     2005   KNWRT   2XKMAZ7X25M086237   T300      TN          Nashville
 HMES     CITY TRACTOR     CTR‐SA   HMES75043     2005   KNWRT   2XKMAZ7X45M086238   T300      NY          Williamsville
 HMES     CITY TRACTOR     CTR‐SA   HMES75045     2005   KNWRT   2XKMAZ7X25M086240   T300      NC          Raleigh
 HMES     CITY TRACTOR     CTR‐SA   HMES75047     2005   KNWRT   2XKMAZ7X65M086242   T300      NC          Kernersville
 HMES     CITY TRACTOR     CTR‐SA   HMES75049     2005   KNWRT   2XKMAZ7XX5M086244   T300      IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐SA   HMES75050     2005   KNWRT   2XKMAZ7X15M086245   T300      IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES15005     2015   FRGHT   3AKGGEDV0FSGK3302   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES15028     2015   FRGHT   3AKGGEDV1FSGK3325   CASCA     MI          Gaylord
 HMES     CITY TRACTOR     CTR‐TA   HMES15083     2015   FRGHT   3AKGGEDV9FSGK3380   CASCA     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES15087     2015   FRGHT   3AKGGEDV6FSGK3384   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES15099     2015   FRGHT   3AKGGEDV2FSGK3396   CASCA     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES15117     2015   FRGHT   3AKGGEDV0FSGK3414   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES15128     2015   FRGHT   3AKGGEDV5FSGK3425   CASCA     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES15129     2015   FRGHT   3AKGGEDV7FSGK3426   CASCA     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES15133     2015   FRGHT   3AKGGEDV9FSGK3430   CASCA     MI          Gaylord
 HMES     CITY TRACTOR     CTR‐TA   HMES15139     2015   FRGHT   3AKGGEDVXFSGK3436   CASCA     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES15142     2015   FRGHT   3AKGGEDV5FSGK3439   CASCA     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES15145     2015   FRGHT   3AKGGEDV5FSGK3442   CASCA     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES15150     2015   FRGHT   3AKGGEDV4FSGK3447   CASCA     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES15160     2015   FRGHT   3AKGGEDV7FSGK3457   CASCA     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES15171     2015   FRGHT   3AKGGEDV1FSGK3468   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES15183     2015   FRGHT   3AKGGEDV2FSGK3480   CASCA     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES15200     2015   FRGHT   3AKGGEDV8FSGK3497   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES15202     2015   FRGHT   3AKGGEDV1FSGK3499   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES15224     2015   FRGHT   3AKGGEDV1FSGK3521   CASCA     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES15225     2015   FRGHT   3AKGGEDV3FSGK3522   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES15227     2015   FRGHT   3AKGGEDV7FSGK3524   CASCA     MI          Gaylord
 HMES     CITY TRACTOR     CTR‐TA   HMES15231     2015   FRGHT   3AKGGEDV4FSGK3528   CASCA     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES15265     2015   FRGHT   3AKGGEDV4FSGK3562   CASCA     MI          Gaylord
 HMES     CITY TRACTOR     CTR‐TA   HMES15278     2015   FRGHT   3AKGGEDV2FSGK3575   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES15289     2015   FRGHT   3AKGGEDV7FSGK3586   CASCA     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES15337     2015   FRGHT   3AKGGEDV2FSGK3642   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES15341     2015   FRGHT   3AKGGEDVXFSGK3646   CASCA     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES15372     2015   FRGHT   3AKGGEDV9FSGM5220   CASCA     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES15373     2015   FRGHT   3AKGGEDV0FSGM5221   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES15382     2015   FRGHT   3AKGGEDV1FSGM5230   CASCA     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES15399     2015   FRGHT   3AKGGEDV7FSGM5247   CASCA     OH          North Lima
 HMES     CITY TRACTOR     CTR‐TA   HMES15400     2015   FRGHT   3AKGGEDV9FSGM5248   CASCA     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES15412     2015   FRGHT   3AKGGEDVXFSGM5260   CASCA     MI          Gaylord
 HMES     CITY TRACTOR     CTR‐TA   HMES15420     2015   FRGHT   3AKGGEDV4FSGM5268   CASCA     MI          Gaylord
 HMES     CITY TRACTOR     CTR‐TA   HMES15427     2015   FRGHT   3AKGGEDV1FSGM5275   CASCA     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES15436     2015   FRGHT   3AKGGEDV2FSGM5284   CASCA     OH          Gallipolis
 HMES     CITY TRACTOR     CTR‐TA   HMES16009     2016   FRGHT   3AKGGEDVXGDHC4820   CASCA     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES16010     2016   FRGHT   3AKGGEDV1GDHC4821   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES16031     2016   FRGHT   3AKGGEDV0GDHC4986   CASCA     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES16055     2016   FRGHT   3AKGGEDV1GDHC4866   CASCA     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES16061     2016   FRGHT   3AKGGEDV7GDHC4872   CASCA     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES16067     2016   FRGHT   3AKGGEDV5GDHC4854   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES16070     2016   FRGHT   3AKGGEDV4GDHC4909   CASCA     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES16078     2016   FRGHT   3AKGGEDV3GDHC4884   CASCA     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES16080     2016   FRGHT   3AKGGEDV9GDHC4887   CASCA     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES16088     2016   FRGHT   3AKGGEDV1GDHC4897   CASCA     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES16113     2016   FRGHT   3AKGGEDV6GDHC5026   CASCA     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES16141     2016   FRGHT   3AKGGEDV7GDHC4936   CASCA     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES16158     2016   FRGHT   3AKGGEDV3GDHC4903   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES16159     2016   FRGHT   3AKGGEDV6GDHC4913   CASCA     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES16193     2016   FRGHT   3AKGGEDV7GDHC4919   CASCA     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES16218     2016   FRGHT   3AKGGEDV2GDHC5055   CASCA     IL          Edwardsville
 HMES     CITY TRACTOR     CTR‐TA   HMES17003     2017   FRGHT   1FUGGEDVXHLHS3762   CASCA     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES17066     2017   FRGHT   1FUGGEDV8HLHS3825   CASCA     OH          Cincinnati
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 50 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES17074     2017   FRGHT   1FUGGEDV7HLHS3833   CASCA     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES17084     2017   FRGHT   1FUGGEDVXHLHS3843   CASCA     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES17114     2017   FRGHT   1FUGGEDV8HLHS3873   CASCA     MO          Sikeston
 HMES     CITY TRACTOR     CTR‐TA   HMES17119     2017   FRGHT   1FUGGEDV7HLHS3878   CASCA     OH          Dayton
 HMES     CITY TRACTOR     CTR‐TA   HMES17182     2017   FRGHT   1FUGGEDVXHLHS3941   CASCA     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES17206     2017   FRGHT   1FUGGEDV2HLHS3965   CASCA     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES17219     2017   FRGHT   1FUGGEDV0HLHS3978   CASCA     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES17230     2017   FRGHT   1FUGGEDV5HLHS3989   CASCA     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES17252     2017   FRGHT   1FUGGEDV3HLHS4011   CASCA     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES17269     2017   FRGHT   1FUGGEDV9HLHS4028   CASCA     TN          Nashville
 HMES     CITY TRACTOR     CTR‐TA   HMES17292     2017   FRGHT   1FUGGEDV4HLHS4051   CASCA     MO          Sikeston
 HMES     CITY TRACTOR     CTR‐TA   HMES17298     2017   FRGHT   1FUGGEDV5HLHS4057   CASCA     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES17311     2017   FRGHT   1FUGGEDV8HLHS4070   CASCA     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES25002     2005   INTL    2HSCNAPR35C046082   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25003     2005   INTL    2HSCNAPR55C046083   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25004     2005   INTL    2HSCNAPR75C046084   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES25007     2005   INTL    2HSCNAPR25C046087   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES25009     2005   INTL    2HSCNAPR65C046089   9400I     OH          North Lima
 HMES     CITY TRACTOR     CTR‐TA   HMES25012     2005   INTL    2HSCNAPR65C046092   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25013     2005   INTL    2HSCNAPR85C046093   9400I     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES25019     2005   INTL    2HSCNAPR95C046099   9400I     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES25020     2005   INTL    2HSCNAPR15C046100   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES25022     2005   INTL    2HSCNAPR55C046102   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25028     2005   INTL    2HSCNAPR65C046108   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25029     2005   INTL    2HSCNAPR85C046109   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25030     2005   INTL    2HSCNAPR45C046110   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25040     2005   INTL    2HSCNAPR75C046120   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25044     2005   INTL    2HSCNAPR45C046124   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES25046     2005   INTL    2HSCNAPR85C046126   9400I     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES25047     2005   INTL    2HSCNAPRX5C046127   9400I     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES25050     2005   INTL    2HSCNAPRX5C046130   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25051     2005   INTL    2HSCNAPR15C046131   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25055     2005   INTL    2HSCNAPR95C046135   9400I     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES25056     2005   INTL    2HSCNAPR05C046136   9400I     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES25057     2005   INTL    2HSCNAPR25C046137   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25058     2005   INTL    2HSCNAPR45C046138   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25062     2005   INTL    2HSCNAPR65C046142   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25064     2005   INTL    2HSCNAPRX5C046144   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25065     2005   INTL    2HSCNAPR15C046145   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25068     2005   INTL    2HSCNAPR75C046148   9400I     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES25069     2005   INTL    2HSCNAPR95C046149   9400I     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES25071     2005   INTL    2HSCNAPR75C046151   9400I     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES25074     2005   INTL    2HSCNAPR25C046154   9400I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES25077     2005   INTL    2HSCNAPR85C046157   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES25078     2005   INTL    2HSCNAPRX5C046158   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25079     2005   INTL    2HSCNAPR15C046159   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25081     2005   INTL    2HSCNAPRX5C046161   9400I     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES25082     2005   INTL    2HSCNAPR15C046162   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES25084     2005   INTL    2HSCNAPR55C046164   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25087     2005   INTL    2HSCNAPR05C046167   9400I     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES25088     2005   INTL    2HSCNAPR25C046168   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25089     2005   INTL    2HSCNAPR45C046169   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25091     2005   INTL    2HSCNAPR25C046171   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25092     2005   INTL    2HSCNAPR45C046172   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES25096     2005   INTL    2HSCNAPR15C046176   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25099     2005   INTL    2HSCNAPR75C046179   9400I     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES25101     2005   INTL    2HSCNAPR55C046181   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25102     2005   INTL    2HSCNAPR75C046182   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25103     2005   INTL    2HSCNAPR95C046183   9400I     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES25104     2005   INTL    2HSCNAPR05C046184   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25105     2005   INTL    2HSCNAPR25C046185   9400I     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES25107     2005   INTL    2HSCNAPR65C046187   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25110     2005   INTL    2HSCNAPR65C046190   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25111     2005   INTL    2HSCNAPR85C046191   9400I     OH          Dayton
 HMES     CITY TRACTOR     CTR‐TA   HMES25113     2005   INTL    2HSCNAPR15C046193   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25117     2005   INTL    2HSCNAPR95C046197   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25118     2005   INTL    2HSCNAPR05C046198   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25119     2005   INTL    2HSCNAPR25C046199   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25121     2005   INTL    2HSCNAPR75C046201   9400I     IL          McCook
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 51 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES25124     2005   INTL    2HSCNAPR25C046204   9400I     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES25125     2005   INTL    2HSCNAPR45C046205   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25126     2005   INTL    2HSCNAPR65C046206   9400I     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES25128     2005   INTL    2HSCNAPRX5C046208   9400I     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES25130     2005   INTL    2HSCNAPR85C046210   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25131     2005   INTL    2HSCNAPRX5C046211   9400I     WI          Eau Claire
 HMES     CITY TRACTOR     CTR‐TA   HMES25138     2005   INTL    2HSCNAPR25C046218   9400I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES25139     2005   INTL    2HSCNAPR45C046219   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25141     2005   INTL    2HSCNAPR25C046221   9400I     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES25143     2005   INTL    2HSCNAPR65C046223   9400I     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES25144     2005   INTL    2HSCNAPR85C046224   9400I     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES25145     2005   INTL    2HSCNAPRX5C046225   9400I     OH          Richfield
 HMES     CITY TRACTOR     CTR‐TA   HMES25147     2005   INTL    2HSCNAPR35C046227   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25149     2005   INTL    2HSCNAPR75C046229   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES25151     2005   INTL    2HSCNAPR55C046231   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25152     2005   INTL    2HSCNAPR75C046232   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25153     2005   INTL    2HSCNAPR95C046233   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25154     2005   INTL    2HSCNAPR05C046234   9400I     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES25155     2005   INTL    2HSCNAPR25C046235   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25157     2005   INTL    2HSCNAPR65C046237   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25158     2005   INTL    2HSCNAPR85C046238   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25160     2005   INTL    2HSCNAPR65C046240   9400I     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES25163     2005   INTL    2HSCNAPR15C046243   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES25167     2005   INTL    2HSCNAPR95C046247   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES25171     2005   INTL    2HSCNAPR05C046251   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25175     2005   INTL    2HSCNAPR85C046255   9400I     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES25178     2005   INTL    2HSCNAPR35C046258   9400I     OH          Richfield
 HMES     CITY TRACTOR     CTR‐TA   HMES25179     2005   INTL    2HSCNAPR55C046259   9400I     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES25182     2005   INTL    2HSCNAPR55C046262   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25183     2005   INTL    2HSCNAPR75C046263   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25188     2005   INTL    2HSCNAPR65C046268   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25192     2005   INTL    2HSCNAPR85C046272   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25195     2005   INTL    2HSCNAPR35C046275   9400I     OH          North Lima
 HMES     CITY TRACTOR     CTR‐TA   HMES25198     2005   INTL    2HSCNAPR95C046278   9400I     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES25199     2005   INTL    2HSCNAPR05C046279   9400I     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES25201     2005   INTL    2HSCNAPR95C046281   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES25203     2005   INTL    2HSCNAPR25C046283   9400I     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES25204     2005   INTL    2HSCNAPR45C046284   9400I     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES25205     2005   INTL    2HSCNAPR65C046285   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25206     2005   INTL    2HSCNAPR85C046286   9400I     MN          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES25207     2005   INTL    2HSCNAPRX5C046287   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25208     2005   INTL    2HSCNAPR15C046288   9400I     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES25210     2005   INTL    2HSCNAPRX5C046290   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25211     2005   INTL    2HSCNAPR15C046291   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES25213     2005   INTL    2HSCNAPR55C046293   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES25214     2005   INTL    2HSCNAPR75C046294   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25218     2005   INTL    2HSCNAPR45C046298   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25219     2005   INTL    2HSCNAPR65C046299   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25223     2005   INTL    2HSCNAPR45C046303   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25225     2005   INTL    2HSCNAPR85C046305   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES25229     2005   INTL    2HSCNAPR55C046309   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25231     2005   INTL    2HSCNAPR35C046311   9400I     NE          Omaha
 HMES     CITY TRACTOR     CTR‐TA   HMES25232     2005   INTL    2HSCNAPR55C046312   9400I     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES25234     2005   INTL    2HSCNAPR95C046314   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25235     2005   INTL    2HSCNAPR05C046315   9400I     MO          Strafford
 HMES     CITY TRACTOR     CTR‐TA   HMES25241     2005   INTL    2HSCNAPR65C046321   9400I     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES25242     2005   INTL    2HSCNAPR85C046322   9400I     IL          Atlanta
 HMES     CITY TRACTOR     CTR‐TA   HMES25243     2005   INTL    2HSCNAPRX5C046323   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES25246     2005   INTL    2HSCNAPR55C046326   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25247     2005   INTL    2HSCNAPR75C046327   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES25249     2005   INTL    2HSCNAPR05C046329   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25250     2005   INTL    2HSCNAPR75C046330   9400I     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES25252     2005   INTL    2HSCNAPR05C046332   9400I     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES25254     2005   INTL    2HSCNAPR45C046334   9400I     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES25256     2005   INTL    2HSCNAPR85C046336   9400I     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES25257     2005   INTL    2HSCNAPRX5C046337   9400I     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES25258     2005   INTL    2HSCNAPR15C046338   9400I     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES25261     2005   INTL    2HSCNAPR15C046341   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25264     2005   INTL    2HSCNAPR75C046344   9400I     MI          Wayland
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 52 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES25267     2005   INTL    2HSCNAPR25C046347   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25268     2005   INTL    2HSCNAPR45C046348   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25269     2005   INTL    2HSCNAPR65C046349   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES25270     2005   INTL    2HSCNAPR25C046350   9400I     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES25276     2005   INTL    2HSCNAPR35C046356   9400I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES25277     2005   INTL    2HSCNAPR55C046357   9400I     OH          Richfield
 HMES     CITY TRACTOR     CTR‐TA   HMES25278     2005   INTL    2HSCNAPR75C046358   9400I     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES25279     2005   INTL    2HSCNAPR95C046359   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25280     2005   INTL    2HSCNAPR55C046360   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25285     2005   INTL    2HSCNAPR45C046365   9400I     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES25286     2005   INTL    2HSCNAPR65C046366   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25287     2005   INTL    2HSCNAPR85C046367   9400I     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES25288     2005   INTL    2HSCNAPRX5C046368   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25290     2005   INTL    2HSCNAPR85C046370   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25292     2005   INTL    2HSCNAPR15C046372   9400I     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES25293     2005   INTL    2HSCNAPR35C046373   9400I     NE          Omaha
 HMES     CITY TRACTOR     CTR‐TA   HMES25296     2005   INTL    2HSCNAPR95C046376   9400I     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES25297     2005   INTL    2HSCNAPR05C046377   9400I     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES25299     2005   INTL    2HSCNAPR45C046379   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES25300     2005   INTL    2HSCNAPR05C046380   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES25302     2005   INTL    2HSCNAPR15C039695   9400I     OH          Richfield
 HMES     CITY TRACTOR     CTR‐TA   HMES25303     2005   INTL    2HSCNAPR35C039696   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES25305     2005   INTL    2HSCNAPR75C039698   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25308     2005   INTL    2HSCNAPR35C039701   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES25310     2005   INTL    2HSCNAPR75C039703   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25312     2005   INTL    2HSCNAPR05C039705   9400I     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES25313     2005   INTL    2HSCNAPR25C039706   9400I     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES25314     2005   INTL    2HSCNAPR45C039707   9400I     WI          Eau Claire
 HMES     CITY TRACTOR     CTR‐TA   HMES25316     2005   INTL    2HSCNAPR85C039709   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES25317     2005   INTL    2HSCNAPR45C039710   9400I     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES25319     2005   INTL    2HSCNAPR85C039712   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25320     2005   INTL    2HSCNAPRX5C039713   9400I     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES25321     2005   INTL    2HSCNAPR15C039714   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25323     2005   INTL    2HSCNAPR55C039716   9400I     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES25325     2005   INTL    2HSCNAPR95C039718   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25326     2005   INTL    2HSCNAPR05C039719   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25328     2005   INTL    2HSCNAPR95C039721   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25329     2005   INTL    2HSCNAPR05C039722   9400I     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES25330     2005   INTL    2HSCNAPR25C039723   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25332     2005   INTL    2HSCNAPR65C039725   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25333     2005   INTL    2HSCNAPR85C039726   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25334     2005   INTL    2HSCNAPRX5C039727   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25335     2005   INTL    2HSCNAPR15C039728   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25339     2005   INTL    2HSCNAPR35C039732   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25341     2005   INTL    2HSCNAPR75C039734   9400I     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES25347     2005   INTL    2HSCNAPR25C039740   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25501     2005   INTL    2HSCNAPR65C178852   9400I     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES25502     2005   INTL    2HSCNAPR85C178853   9400I     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES25503     2005   INTL    2HSCNAPRX5C178854   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25505     2005   INTL    2HSCNAPR35C178856   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25506     2005   INTL    2HSCNAPR55C178857   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES25512     2005   INTL    2HSCNAPR05C178863   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25513     2005   INTL    2HSCNAPR25C178864   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25514     2005   INTL    2HSCNAPR45C178865   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25515     2005   INTL    2HSCNAPR65C178866   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25517     2005   INTL    2HSCNAPRX5C178868   9400I     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES25518     2005   INTL    2HSCNAPR15C178869   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25521     2005   INTL    2HSCNAPR15C178872   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25525     2005   INTL    2HSCNAPR95C178876   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25526     2005   INTL    2HSCNAPR05C178877   9400I     OH          Gallipolis
 HMES     CITY TRACTOR     CTR‐TA   HMES25527     2005   INTL    2HSCNAPR25C178878   9400I     MN          Burnsville
 HMES     CITY TRACTOR     CTR‐TA   HMES25528     2005   INTL    2HSCNAPR45C178879   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25529     2005   INTL    2HSCNAPR05C178880   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES25530     2005   INTL    2HSCNAPR25C178881   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES25533     2005   INTL    2HSCNAPR85C178884   9400I     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES25535     2005   INTL    2HSCNAPR15C178886   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25536     2005   INTL    2HSCNAPR35C178887   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES25537     2005   INTL    2HSCNAPR55C178888   9400I     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES25538     2005   INTL    2HSCNAPR75C178889   9400I     GA          Ringgold
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 53 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES25539     2005   INTL    2HSCNAPR35C178890   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25541     2005   INTL    2HSCNAPR75C178892   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25543     2005   INTL    2HSCNAPR05C178894   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES25544     2005   INTL    2HSCNAPR25C178895   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES25545     2005   INTL    2HSCNAPR45C178896   9400I     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES25547     2005   INTL    2HSCNAPR85C178898   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25549     2005   INTL    2HSCNAPR25C178900   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25551     2005   INTL    2HSCNAPR65C178902   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25552     2005   INTL    2HSCNAPR85C178903   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25553     2005   INTL    2HSCNAPRX5C178904   9400I     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES25555     2005   INTL    2HSCNAPR35C178906   9400I     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES25557     2005   INTL    2HSCNAPR75C178908   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25558     2005   INTL    2HSCNAPR95C178909   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES25559     2005   INTL    2HSCNAPR55C178910   9400I     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES25561     2005   INTL    2HSCNAPR95C178912   9400I     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES25563     2005   INTL    2HSCNAPR25C178914   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25564     2005   INTL    2HSCNAPR45C178915   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES25565     2005   INTL    2HSCNAPR65C178916   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES25566     2005   INTL    2HSCNAPR85C178917   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES25567     2005   INTL    2HSCNAPRX5C178918   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES25568     2005   INTL    2HSCNAPR15C178919   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25569     2005   INTL    2HSCNAPR85C178920   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25570     2005   INTL    2HSCNAPRX5C178921   9400I     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES25571     2005   INTL    2HSCNAPR15C178922   9400I     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES25572     2005   INTL    2HSCNAPR35C178923   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES25574     2005   INTL    2HSCNAPR75C178925   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES25579     2005   INTL    2HSCNAPR05C178930   9400I     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES25581     2005   INTL    2HSCNAPR45C178932   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES25582     2005   INTL    2HSCNAPR65C178933   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES25584     2005   INTL    2HSCNAPRX5C178935   9400I     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES25588     2005   INTL    2HSCNAPR75C178939   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES25592     2005   INTL    2HSCNAPR95C178943   9400I     WI          Neenah
 HMES     CITY TRACTOR     CTR‐TA   HMES25593     2005   INTL    2HSCNAPR05C178944   9400I     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES25594     2005   INTL    2HSCNAPR25C178945   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES25595     2005   INTL    2HSCNAPR45C178946   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES25596     2005   INTL    2HSCNAPR65C178947   9400I     NE          Omaha
 HMES     CITY TRACTOR     CTR‐TA   HMES25598     2005   INTL    2HSCNAPRX5C178949   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES25599     2005   INTL    2HSCNAPR65C178950   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES25600     2005   INTL    2HSCNAPR85C178951   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26002     2006   INTL    2HSCNAPR06C189881   9400I     IL          Atlanta
 HMES     CITY TRACTOR     CTR‐TA   HMES26003     2006   INTL    2HSCNAPR26C189882   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26004     2006   INTL    2HSCNAPR46C189883   9400I     WI          Neenah
 HMES     CITY TRACTOR     CTR‐TA   HMES26005     2006   INTL    2HSCNAPR66C189884   9400I     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES26006     2006   INTL    2HSCNAPR86C189885   9400I     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES26007     2006   INTL    2HSCNAPRX6C189886   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES26009     2006   INTL    2HSCNAPR36C189888   9400I     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES26013     2006   INTL    2HSCNAPR56C189892   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26016     2006   INTL    2HSCNAPR06C189895   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES26020     2006   INTL    2HSCNAPR86C189899   9400I     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES26021     2006   INTL    2HSCNAPR06C189900   9400I     MN          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES26026     2006   INTL    2HSCNAPRX6C189905   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES26027     2006   INTL    2HSCNAPR16C189906   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26028     2006   INTL    2HSCNAPR36C189907   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26031     2006   INTL    2HSCNAPR36C189910   9400I     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES26032     2006   INTL    2HSCNAPR56C189911   9400I     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES26033     2006   INTL    2HSCNAPR76C189912   9400I     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES26037     2006   INTL    2HSCNAPR46C189916   9400I     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES26040     2006   INTL    2HSCNAPRX6C189919   9400I     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES26041     2006   INTL    2HSCNAPR66C189920   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26053     2006   INTL    2HSCNAPR26C189932   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES26054     2006   INTL    2HSCNAPR46C189933   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26061     2006   INTL    2HSCNAPR16C189940   9400I     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES26063     2006   INTL    2HSCNAPR56C189942   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES26065     2006   INTL    2HSCNAPR96C189944   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26066     2006   INTL    2HSCNAPR06C189945   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26069     2006   INTL    2HSCNAPR66C189948   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES26070     2006   INTL    2HSCNAPR86C189949   9400I     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES26075     2006   INTL    2HSCNAPR16C189954   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26082     2006   INTL    2HSCNAPR96C189961   9400I     MI          Romulus
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 54 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES26084     2006   INTL    2HSCNAPR26C189963   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES26086     2006   INTL    2HSCNAPR66C189965   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES26087     2006   INTL    2HSCNAPR86C189966   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES26089     2006   INTL    2HSCNAPR16C189968   9400I     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES26090     2006   INTL    2HSCNAPR36C189969   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26092     2006   INTL    2HSCNAPR16C189971   9400I     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES26093     2006   INTL    2HSCNAPR36C189972   9400I     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES26094     2006   INTL    2HSCNAPR56C189973   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES26096     2006   INTL    2HSCNAPR96C189975   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES26100     2006   INTL    2HSCNAPR66C189979   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26101     2006   INTL    2HSCNAPR26C189980   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26104     2006   INTL    2HSCNAPR86C189983   9400I     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES26107     2006   INTL    2HSCNAPR36C189986   9400I     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES26110     2006   INTL    2HSCNAPR96C189989   9400I     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES26113     2006   INTL    2HSCNAPR96C189992   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES26114     2006   INTL    2HSCNAPR06C189993   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26115     2006   INTL    2HSCNAPR26C189994   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES26116     2006   INTL    2HSCNAPR46C189995   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26119     2006   INTL    2HSCNAPRX6C189998   9400I     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES26120     2006   INTL    2HSCNAPR16C189999   9400I     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES26127     2006   INTL    2HSCNAPR36C190006   9400I     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES26128     2006   INTL    2HSCNAPR56C190007   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26130     2006   INTL    2HSCNAPR96C190009   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES26131     2006   INTL    2HSCNAPR56C190010   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26132     2006   INTL    2HSCNAPR76C190011   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES26135     2006   INTL    2HSCNAPR26C190014   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26138     2006   INTL    2HSCNAPR86C190017   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES26141     2006   INTL    2HSCNAPR86C190020   9400I     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES26143     2006   INTL    2HSCNAPR16C190022   9400I     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES26144     2006   INTL    2HSCNAPR36C190023   9400I     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES26145     2006   INTL    2HSCNAPR56C190024   9400I     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES26148     2006   INTL    2HSCNAPR06C190027   9400I     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES26150     2006   INTL    2HSCNAPR46C190029   9400I     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES26151     2006   INTL    2HSCNAPR06C190030   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES26152     2006   INTL    2HSCNAPR26C190031   9400I     MO          Strafford
 HMES     CITY TRACTOR     CTR‐TA   HMES26153     2006   INTL    2HSCNAPR46C190032   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES26154     2006   INTL    2HSCNAPR66C190033   9400I     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES26159     2006   INTL    2HSCNAPR56C190038   9400I     IA          Council Bluffs
 HMES     CITY TRACTOR     CTR‐TA   HMES26160     2006   INTL    2HSCNAPR76C190039   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26161     2006   INTL    2HSCNAPR36C190040   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26162     2006   INTL    2HSCNAPR56C190041   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26166     2006   INTL    2HSCNAPR26C190045   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26168     2006   INTL    2HSCNAPR66C190047   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26173     2006   INTL    2HSCNAPRX6C190052   9400I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES26174     2006   INTL    2HSCNAPR16C190053   9400I     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES26175     2006   INTL    2HSCNAPR36C190054   9400I     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES26176     2006   INTL    2HSCNAPR56C190055   9400I     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES26177     2006   INTL    2HSCNAPR76C190056   9400I     IL          Atlanta
 HMES     CITY TRACTOR     CTR‐TA   HMES26178     2006   INTL    2HSCNAPR96C190057   9400I     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES26182     2006   INTL    2HSCNAPR06C190061   9400I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES26183     2006   INTL    2HSCNAPR26C190062   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26184     2006   INTL    2HSCNAPR46C190063   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES26186     2006   INTL    2HSCNAPR86C190065   9400I     IA          Council Bluffs
 HMES     CITY TRACTOR     CTR‐TA   HMES26187     2006   INTL    2HSCNAPRX6C190066   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES26190     2006   INTL    2HSCNAPR56C190069   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26193     2006   INTL    2HSCNAPR56C190072   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26194     2006   INTL    2HSCNAPR76C190073   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26195     2006   INTL    2HSCNAPR96C190074   9400I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES26196     2006   INTL    2HSCNAPR06C190075   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26197     2006   INTL    2HSCNAPR26C190076   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES26198     2006   INTL    2HSCNAPR46C190077   9400I     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES26199     2006   INTL    2HSCNAPR66C190078   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26200     2006   INTL    2HSCNAPR86C190079   9400I     MO          Strafford
 HMES     CITY TRACTOR     CTR‐TA   HMES26201     2006   INTL    2HSCNAPR46C190080   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES26202     2006   INTL    2HSCNAPR66C190081   9400I     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES26204     2006   INTL    2HSCNAPRX6C190083   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26205     2006   INTL    2HSCNAPR16C190084   9400I     OH          Dayton
 HMES     CITY TRACTOR     CTR‐TA   HMES26207     2006   INTL    2HSCNAPR56C190086   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26208     2006   INTL    2HSCNAPR76C190087   9400I     AL          Birmingham
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 55 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES26210     2006   INTL    2HSCNAPR06C190089   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES26211     2006   INTL    2HSCNAPR76C190090   9400I     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES26212     2006   INTL    2HSCNAPR96C190091   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26214     2006   INTL    2HSCNAPR26C190093   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26216     2006   INTL    2HSCNAPR66C190095   9400I     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES26217     2006   INTL    2HSCNAPR86C190096   9400I     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES26218     2006   INTL    2HSCNAPRX6C190097   9400I     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES26221     2006   INTL    2HSCNAPR66C190100   9400I     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES26222     2006   INTL    2HSCNAPR86C190101   9400I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES26223     2006   INTL    2HSCNAPRX6C190102   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26224     2006   INTL    2HSCNAPR16C190103   9400I     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26225     2006   INTL    2HSCNAPR36C190104   9400I     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES26226     2006   INTL    2HSCNAPR56C190105   9400I     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26227     2006   INTL    2HSCNAPR76C190106   9400I     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES26228     2006   INTL    2HSCNAPR96C190107   9400I     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES26229     2006   INTL    2HSCNAPR06C190108   9400I     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES26232     2006   INTL    2HSCNAPR06C190111   9400I     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES26233     2006   INTL    2HSCNAPR26C190112   9400I     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES26234     2006   INTL    2HSCNAPR46C190113   9400I     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES26235     2006   INTL    2HSCNAPR66C190114   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES26236     2006   INTL    2HSCNAPR86C190115   9400I     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES26237     2006   INTL    2HSCNAPRX6C190116   9400I     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES26240     2006   INTL    2HSCNAPR56C190119   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES26241     2006   INTL    2HSCNAPR16C190120   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26244     2006   INTL    2HSCNAPR76C190123   9400I     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES26245     2006   INTL    2HSCNAPR96C190124   9400I     WI          Mosinee
 HMES     CITY TRACTOR     CTR‐TA   HMES26247     2006   INTL    2HSCNAPR26C190126   9400I     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES26248     2006   INTL    2HSCNAPR46C190127   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26249     2006   INTL    2HSCNAPR66C190128   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26253     2006   INTL    2HSCNAPR86C190132   9400I     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES26256     2006   INTL    2HSCNAPR36C190135   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES26258     2006   INTL    2HSCNAPR76C190137   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES26260     2006   INTL    2HSCNAPR06C190139   9400I     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES26261     2006   INTL    2HSCNAPR76C190140   9400I     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26262     2006   INTL    2HSCNAPR96C190141   9400I     OH          Gallipolis
 HMES     CITY TRACTOR     CTR‐TA   HMES26264     2006   INTL    2HSCNAPR26C190143   9400I     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES26265     2006   INTL    2HSCNAPR46C190144   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES26267     2006   INTL    2HSCNAPR86C190146   9400I     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES26269     2006   INTL    2HSCNAPR16C190148   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26270     2006   INTL    2HSCNAPR36C190149   9400I     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES26271     2006   INTL    2HSCNAPRX6C190150   9400I     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES26272     2006   INTL    2HSCNAPR16C190151   9400I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES26275     2006   INTL    2HSCNAPR76C190154   9400I     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES26277     2006   INTL    2HSCNAPR06C190156   9400I     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES26280     2006   INTL    2HSCNAPR66C190159   9400I     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26281     2006   INTL    2HSCNAPR26C190160   9400I     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES26282     2006   INTL    2HSCNAPR46C190161   9400I     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES26284     2006   INTL    2HSCNAPR86C190163   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES26285     2006   INTL    2HSCNAPRX6C190164   9400I     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES26286     2006   INTL    2HSCNAPR16C190165   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26287     2006   INTL    2HSCNAPR36C190166   9400I     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES26288     2006   INTL    2HSCNAPR56C190167   9400I     WI          Eau Claire
 HMES     CITY TRACTOR     CTR‐TA   HMES26289     2006   INTL    2HSCNAPR76C190168   9400I     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES26291     2006   INTL    2HSCNAPR56C190170   9400I     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES26292     2006   INTL    2HSCNAPR76C190171   9400I     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES26293     2006   INTL    2HSCNAPR96C190172   9400I     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES26295     2006   INTL    2HSCNAPR26C190174   9400I     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES26296     2006   INTL    2HSCNAPR46C190175   9400I     OH          Gallipolis
 HMES     CITY TRACTOR     CTR‐TA   HMES26297     2006   INTL    2HSCNAPR66C190176   9400I     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES26298     2006   INTL    2HSCNAPR86C190177   9400I     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES26300     2006   INTL    2HSCNAPR16C190179   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26402     2006   VOLVO   4V4MC9GF76N405747   VNM42     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES26405     2006   VOLVO   4V4MC9GF76N405750   VNM42     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26408     2006   VOLVO   4V4MC9GF26N405753   VNM42     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26413     2006   VOLVO   4V4MC9GF16N405758   VNM42     IA          Council Bluffs
 HMES     CITY TRACTOR     CTR‐TA   HMES26414     2006   VOLVO   4V4MC9GF36N405759   VNM42     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26416     2006   VOLVO   4V4MC9GF16N405761   VNM42     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26417     2006   VOLVO   4V4MC9GF36N405762   VNM42     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26420     2006   VOLVO   4V4MC9GF96N405765   VNM42     IN          Fort Wayne
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 56 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES26425     2006   VOLVO   4V4MC9GF26N405770   VNM42     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES26426     2006   VOLVO   4V4MC9GF46N405771   VNM42     MI          Gaylord
 HMES     CITY TRACTOR     CTR‐TA   HMES26427     2006   VOLVO   4V4MC9GF66N405772   VNM42     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26430     2006   VOLVO   4V4MC9GF16N405775   VNM42     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES26431     2006   VOLVO   4V4MC9GF36N405776   VNM42     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26432     2006   VOLVO   4V4MC9GF36N405907   VNM42     WI          Neenah
 HMES     CITY TRACTOR     CTR‐TA   HMES26434     2006   VOLVO   4V4MC9GF76N405909   VNM42     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES26436     2006   VOLVO   4V4MC9GF56N405911   VNM42     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES26437     2006   VOLVO   4V4MC9GF76N405912   VNM42     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26438     2006   VOLVO   4V4MC9GF96N405913   VNM42     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES26441     2006   VOLVO   4V4MC9GF46N405916   VNM42     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES26442     2006   VOLVO   4V4MC9GF66N405917   VNM42     WI          Neenah
 HMES     CITY TRACTOR     CTR‐TA   HMES26443     2006   VOLVO   4V4MC9GF86N405918   VNM42     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES26445     2006   VOLVO   4V4MC9GF66N405920   VNM42     IL          Atlanta
 HMES     CITY TRACTOR     CTR‐TA   HMES26450     2006   VOLVO   4V4MC9GF56N405925   VNM42     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26452     2006   VOLVO   4V4MC9GF86N439633   VNM42     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES26453     2006   VOLVO   4V4MC9GFX6N439634   VNM42     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES26454     2006   VOLVO   4V4MC9GF16N439635   VNM42     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES26457     2006   VOLVO   4V4MC9GF76N439638   VNM42     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES26459     2006   VOLVO   4V4MC9GF56N439640   VNM42     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26463     2006   VOLVO   4V4MC9GF26N439644   VNM42     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES26464     2006   VOLVO   4V4MC9GF46N439645   VNM42     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26469     2006   VOLVO   4V4MC9GF86N439650   VNM42     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES26474     2006   VOLVO   4V4MC9GF76N439655   VNM42     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES26478     2006   VOLVO   4V4MC9GF46N439659   VNM42     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES26481     2006   VOLVO   4V4MC9GF46N439662   VNM42     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES26483     2006   VOLVO   4V4MC9GF86N439664   VNM42     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES26484     2006   VOLVO   4V4MC9GFX6N439665   VNM42     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26488     2006   VOLVO   4V4MC9GF76N439669   VNM42     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES26489     2006   VOLVO   4V4MC9GF36N439670   VNM42     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES26491     2006   VOLVO   4V4MC9GF76N439672   VNM42     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES26494     2006   VOLVO   4V4MC9GF26N439675   VNM42     MO          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES26495     2006   VOLVO   4V4MC9GF46N439676   VNM42     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27003     2007   VOLVO   4V4MC9GF07N446769   VNM42     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES27006     2007   VOLVO   4V4MC9GF07N446772   VNM42     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES27008     2007   VOLVO   4V4MC9GF47N446774   VNM42     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES27011     2007   VOLVO   4V4MC9GFX7N446777   VNM42     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES27014     2007   VOLVO   4V4MC9GFX7N446780   VNM42     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES27021     2007   VOLVO   4V4MC9GF27N446787   VNM42     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27022     2007   VOLVO   4V4MC9GF47N446788   VNM42     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES27026     2007   VOLVO   4V4MC9GF67N446792   VNM42     IL          Chicago Heights
 HMES     CITY TRACTOR     CTR‐TA   HMES27028     2007   VOLVO   4V4MC9GFX7N446794   VNM42     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES27034     2007   VOLVO   4V4MC9GF17N446800   VNM42     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES27036     2007   VOLVO   4V4MC9GF57N446802   VNM42     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27039     2007   VOLVO   4V4MC9GF07N446805   VNM42     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES27040     2007   VOLVO   4V4MC9GF27N446806   VNM42     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES27041     2007   VOLVO   4V4MC9GF47N446807   VNM42     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES27043     2007   VOLVO   4V4MC9GF87N446809   VNM42     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES27050     2007   VOLVO   4V4MC9GF57N446816   VNM42     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES27051     2007   VOLVO   4V4MC9GF77N446817   VNM42     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES27053     2007   VOLVO   4V4MC9GF07N446819   VNM42     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES27054     2007   VOLVO   4V4MC9GF77N446820   VNM42     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27061     2007   VOLVO   4V4MC9GFX7N446827   VNM42     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27062     2007   VOLVO   4V4MC9GF17N446828   VNM42     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27063     2007   VOLVO   4V4MC9GF37N446829   VNM42     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES27065     2007   VOLVO   4V4MC9GF07N449364   VNM64     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES27066     2007   VOLVO   4V4MC9GF27N449365   VNM64     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES27067     2007   VOLVO   4V4MC9GF47N449366   VNM64     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES27068     2007   VOLVO   4V4MC9GF67N449367   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27069     2007   VOLVO   4V4MC9GF87N449368   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27072     2007   VOLVO   4V4MC9GF87N449371   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27073     2007   VOLVO   4V4MC9GFX7N449372   VNM64     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES27074     2007   VOLVO   4V4MC9GF17N449373   VNM64     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES27075     2007   VOLVO   4V4MC9GF37N449374   VNM64     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES27077     2007   VOLVO   4V4MC9GF77N449376   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27078     2007   VOLVO   4V4MC9GF97N449377   VNM64     OH          Richfield
 HMES     CITY TRACTOR     CTR‐TA   HMES27084     2007   VOLVO   4V4MC9GF47N449383   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27085     2007   VOLVO   4V4MC9GF67N449384   VNM64     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES27100     2007   VOLVO   4V4MC9GF87N449399   VNM64     IN          Evansville
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 57 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES27106     2007   VOLVO   4V4MC9GFX7N449405   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27107     2007   VOLVO   4V4MC9GF17N449406   VNM64     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES27108     2007   VOLVO   4V4MC9GF37N449407   VNM64     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES27112     2007   VOLVO   4V4MC9GF57N449411   VNM64     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES27113     2007   VOLVO   4V4MC9GF77N449412   VNM64     IL          Atlanta
 HMES     CITY TRACTOR     CTR‐TA   HMES27116     2007   VOLVO   4V4MC9GF27N449415   VNM64     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES27117     2007   VOLVO   4V4MC9GF47N449416   VNM64     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES27120     2007   VOLVO   4V4MC9GFX7N449419   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27123     2007   VOLVO   4V4MC9GFX7N449422   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27124     2007   VOLVO   4V4MC9GF17N449423   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27125     2007   VOLVO   4V4MC9GF37N449424   VNM64     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES27126     2007   VOLVO   4V4MC9GF57N449425   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27128     2007   VOLVO   4V4MC9GF97N449427   VNM64     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES27130     2007   VOLVO   4V4MC9GF27N449429   VNM64     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES27132     2007   VOLVO   4V4MC9GF07N449431   VNM64     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES27134     2007   VOLVO   4V4MC9GF47N449433   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27135     2007   VOLVO   4V4MC9GF67N449434   VNM64     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES27137     2007   VOLVO   4V4MC9GFX7N449436   VNM64     WI          Mosinee
 HMES     CITY TRACTOR     CTR‐TA   HMES27138     2007   VOLVO   4V4MC9GF17N449437   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27201     2007   VOLVO   4V4MC9GF17N449616   VNM64     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES27203     2007   VOLVO   4V4MC9GF57N449618   VNM64     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES27205     2007   VOLVO   4V4MC9GF37N449620   VNM64     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES27206     2007   VOLVO   4V4MC9GF57N449621   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27207     2007   VOLVO   4V4MC9GF77N449622   VNM64     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES27209     2007   VOLVO   4V4MC9GF07N449624   VNM64     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES27211     2007   VOLVO   4V4MC9GF47N449626   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27212     2007   VOLVO   4V4MC9GF67N449627   VNM64     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES27215     2007   VOLVO   4V4MC9GF67N449630   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27217     2007   VOLVO   4V4MC9GFX7N449632   VNM64     MO          Strafford
 HMES     CITY TRACTOR     CTR‐TA   HMES27218     2007   VOLVO   4V4MC9GF17N449633   VNM64     WI          Mosinee
 HMES     CITY TRACTOR     CTR‐TA   HMES27220     2007   VOLVO   4V4MC9GF57N449635   VNM64     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES27221     2007   VOLVO   4V4MC9GF77N449636   VNM64     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES27222     2007   VOLVO   4V4MC9GF97N449637   VNM64     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES27223     2007   VOLVO   4V4MC9GF07N449638   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27227     2007   VOLVO   4V4MC9GF27N449642   VNM64     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES27228     2007   VOLVO   4V4MC9GF47N449643   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27229     2007   VOLVO   4V4MC9GF67N449644   VNM64     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES27230     2007   VOLVO   4V4MC9GF87N449645   VNM64     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES27232     2007   VOLVO   4V4MC9GF17N449647   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27233     2007   VOLVO   4V4MC9GF37N449648   VNM64     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES27235     2007   VOLVO   4V4MC9GF17N449650   VNM64     IL          Atlanta
 HMES     CITY TRACTOR     CTR‐TA   HMES27236     2007   VOLVO   4V4MC9GF37N449651   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27237     2007   VOLVO   4V4MC9GF57N449652   VNM64     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES27238     2007   VOLVO   4V4MC9GF77N449653   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27240     2007   VOLVO   4V4MC9GF07N449655   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27242     2007   VOLVO   4V4MC9GF47N449657   VNM64     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES27244     2007   VOLVO   4V4MC9GF87N449659   VNM64     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES27245     2007   VOLVO   4V4MC9GF47N449660   VNM64     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES27247     2007   VOLVO   4V4MC9GF87N449662   VNM64     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES27252     2007   VOLVO   4V4MC9GF77N449667   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27256     2007   VOLVO   4V4MC9GF97N449671   VNM64     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES27258     2007   VOLVO   4V4MC9GF27N449673   VNM64     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES27268     2007   VOLVO   4V4MC9GF57N451787   VNM64     IL          Atlanta
 HMES     CITY TRACTOR     CTR‐TA   HMES27273     2007   VOLVO   4V4MC9GF97N451792   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27275     2007   VOLVO   4V4MC9GF27N451794   VNM64     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES27276     2007   VOLVO   4V4MC9GF47N451795   VNM64     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES27277     2007   VOLVO   4V4MC9GF67N451796   VNM64     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES27280     2007   VOLVO   4V4MC9GF17N451799   VNM64     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES27283     2007   VOLVO   4V4MC9GF87N451802   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27284     2007   VOLVO   4V4MC9GFX7N451803   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27285     2007   VOLVO   4V4MC9GF17N451804   VNM64     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES27286     2007   VOLVO   4V4MC9GF37N451805   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27288     2007   VOLVO   4V4MC9GF77N451807   VNM64     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES27290     2007   VOLVO   4V4MC9GF07N451809   VNM64     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES27291     2007   VOLVO   4V4MC9GF77N451810   VNM64     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES27292     2007   VOLVO   4V4MC9GF97N451811   VNM64     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES27293     2007   VOLVO   4V4MC9GF07N451812   VNM64     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES27294     2007   VOLVO   4V4MC9GF27N451813   VNM64     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES27296     2007   VOLVO   4V4MC9GF67N451815   VNM64     IL          Rockford
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 58 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES27298     2007   VOLVO   4V4MC9GFX7N451817   VNM64     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES27300     2007   VOLVO   4V4MC9GF37N451819   VNM64     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES27302     2007   VOLVO   4V4MC9GF17N451821   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27303     2007   VOLVO   4V4MC9GF37N451822   VNM64     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES27306     2007   VOLVO   4V4MC9GF97N451825   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27307     2007   VOLVO   4V4MC9GF07N451826   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27309     2007   VOLVO   4V4MC9GF47N451828   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27314     2007   VOLVO   4V4MC9GF87N451833   VNM64     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES27315     2007   VOLVO   4V4MC9GFX7N451834   VNM64     IN          South Bend
 HMES     CITY TRACTOR     CTR‐TA   HMES27319     2007   VOLVO   4V4MC9GF77N451838   VNM64     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES27320     2007   VOLVO   4V4MC9GF97N451839   VNM64     OH          Dayton
 HMES     CITY TRACTOR     CTR‐TA   HMES27321     2007   VOLVO   4V4MC9GF57N451840   VNM64     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES27322     2007   VOLVO   4V4MC9GF77N451841   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27323     2007   VOLVO   4V4MC9GF97N451842   VNM64     OH          North Lima
 HMES     CITY TRACTOR     CTR‐TA   HMES27324     2007   VOLVO   4V4MC9GF07N451843   VNM64     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES27327     2007   VOLVO   4V4MC9GF67N451846   VNM64     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES27328     2007   VOLVO   4V4MC9GF87N451847   VNM64     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES27334     2007   VOLVO   4V4MC9GF37N451853   VNM64     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES27335     2007   VOLVO   4V4MC9GF57N451854   VNM64     IL          Atlanta
 HMES     CITY TRACTOR     CTR‐TA   HMES27337     2007   VOLVO   4V4MC9GF97N451856   VNM64     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES27342     2007   VOLVO   4V4MC9GF27N451861   VNM64     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES27343     2007   VOLVO   4V4MC9GF47N451862   VNM64     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES27347     2007   VOLVO   4V4MC9GF17N451866   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27349     2007   VOLVO   4V4MC9GF57N451868   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27351     2007   VOLVO   4V4MC9GF37N451870   VNM64     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES27353     2007   VOLVO   4V4MC9GF77N451872   VNM64     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES27354     2007   VOLVO   4V4MC9GF97N451873   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27356     2007   VOLVO   4V4MC9GF27N451875   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27357     2007   VOLVO   4V4MC9GF47N451876   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27361     2007   VOLVO   4V4MC9GF67N451880   VNM64     OH          North Lima
 HMES     CITY TRACTOR     CTR‐TA   HMES27366     2007   VOLVO   4V4MC9GF57N451885   VNM64     IA          Des Moines
 HMES     CITY TRACTOR     CTR‐TA   HMES27367     2007   VOLVO   4V4MC9GF77N451886   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES27369     2007   VOLVO   4V4MC9GF07N451888   VNM64     OH          Gallipolis
 HMES     CITY TRACTOR     CTR‐TA   HMES27373     2007   VOLVO   4V4MC9GF27N451892   VNM64     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES27374     2007   VOLVO   4V4MC9GF47N451893   VNM64     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES27379     2007   VOLVO   4V4MC9GF37N451898   VNM64     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES27386     2007   VOLVO   4V4MC9GF77N451905   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27387     2007   VOLVO   4V4MC9GF97N451906   VNM64     OH          Dayton
 HMES     CITY TRACTOR     CTR‐TA   HMES27389     2007   VOLVO   4V4MC9GF27N451908   VNM64     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES27390     2007   VOLVO   4V4MC9GF47N451909   VNM64     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES27391     2007   VOLVO   4V4MC9GF07N451910   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27392     2007   VOLVO   4V4MC9GF27N451911   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27393     2007   VOLVO   4V4MC9GF47N451912   VNM64     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES27395     2007   VOLVO   4V4MC9GF87N451914   VNM64     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES27397     2007   VOLVO   4V4MC9GF17N451916   VNM64     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES27399     2007   VOLVO   4V4MC9GF57N451918   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27400     2007   VOLVO   4V4MC9GF77N451919   VNM64     MI          Gaylord
 HMES     CITY TRACTOR     CTR‐TA   HMES27401     2007   VOLVO   4V4MC9GF37N451920   VNM64     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES27402     2007   VOLVO   4V4MC9GF57N451921   VNM64     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES27407     2007   VOLVO   4V4MC9GF47N451926   VNM64     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES27408     2007   VOLVO   4V4MC9GF67N451927   VNM64     GA          Conley
 HMES     CITY TRACTOR     CTR‐TA   HMES27413     2007   VOLVO   4V4MC9GFX7N451932   VNM64     OH          Dayton
 HMES     CITY TRACTOR     CTR‐TA   HMES27415     2007   VOLVO   4V4MC9GF37N451934   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27416     2007   VOLVO   4V4MC9GF57N451935   VNM64     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES27420     2007   VOLVO   4V4MC9GF27N451939   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27422     2007   VOLVO   4V4MC9GF07N451941   VNM64     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES27423     2007   VOLVO   4V4MC9GF27N451942   VNM64     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES27424     2007   VOLVO   4V4MC9GF47N451943   VNM64     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES27425     2007   VOLVO   4V4MC9GF67N451944   VNM64     MO          Strafford
 HMES     CITY TRACTOR     CTR‐TA   HMES27426     2007   VOLVO   4V4MC9GF87N451945   VNM64     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES27430     2007   VOLVO   4V4MC9GF57N451949   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES27434     2007   VOLVO   4V4MC9GF77N451953   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27435     2007   VOLVO   4V4MC9GF97N451954   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES27438     2007   VOLVO   4V4MC9GF47N451957   VNM64     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES27439     2007   VOLVO   4V4MC9GF67N451958   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES28004     2008   VOLVO   4V4MC9EGX8N498326   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES28015     2008   VOLVO   4V4MC9EG48N498337   VNM64     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES28017     2008   VOLVO   4V4MC9EG88N498339   VNM64     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES28018     2008   VOLVO   4V4MC9EG48N498340   VNM64     MN          Coon Rapids
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 59 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES28047     2008   VOLVO   4V4MC9EG68N498369   VNM64     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES28048     2008   VOLVO   4V4MC9EG28N498370   VNM64     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES28084     2008   VOLVO   4V4MC9EG88N498406   VNM64     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES28143     2008   VOLVO   4V4MC9EG88N263522   VNM64     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES28149     2008   VOLVO   4V4MC9EG98N263528   VNM64     OH          North Lima
 HMES     CITY TRACTOR     CTR‐TA   HMES28177     2009   VOLVO   4V4MC9EG19N263556   VNM64     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES28182     2009   VOLVO   4V4MC9EG59N263561   VNM64     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES28241     2009   VOLVO   4V4MC9EG69N263620   VNM64     IL          Danville
 HMES     CITY TRACTOR     CTR‐TA   HMES28282     2009   VOLVO   4V4MC9EG99N263661   VNM64     WI          Mosinee
 HMES     CITY TRACTOR     CTR‐TA   HMES28284     2009   VOLVO   4V4MC9EG29N263663   VNM64     OH          Dayton
 HMES     CITY TRACTOR     CTR‐TA   HMES28317     2009   VOLVO   4V4MC9EG29N263694   VNM64     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES28327     2009   VOLVO   4V4MC9EG19N263704   VNM64     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES30507     2005   VOLVO   4V4MC9GF55N387621   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES30608     2006   VOLVO   4V4MC9GF26N405705   VNM64     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES30718     2007   VOLVO   4V4MC9GF17N449518   VNM64     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES30811     2008   VOLVO   4V4MC9GG18N461968   VNM64     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES30812     2008   VOLVO   4V4MC9GG38N461955   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES30904     2009   VOLVO   4V4MC9EG79N283620   VNM64     WI          Neenah
 HMES     CITY TRACTOR     CTR‐TA   HMES31216     2012   FRGHT   1FUJGEDVXCSBH7268   X1256     IN          Jeffersonville
 HMES     CITY TRACTOR     CTR‐TA   HMES31264     2012   FRGHT   1FUJGEDV4CSBD3105   X1256     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES31271     2012   FRGHT   1FUJGEDV9CSBD3651   X1256     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES31299     2012   VOLVO   4V4MC9EG9CN555639   VNM64     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES33017     2005   INTL    3HSCPSBN95N049247   CATC1     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES33035     2005   INTL    3HSCPSBN75N051367   CATC1     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES33078     2005   INTL    3HSCPSBN05N051372   CAT C     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES34027     2004   VOLVO   4V4MC9GF54N369957   NA        IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES34032     2004   VOLVO   4V4MC9GFX4N369968   NA        NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES34040     2004   VOLVO   4V4MC9GF84N369953   NA        NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES34185     2004   VOLVO   4V4MC9GF44N352292   NA        IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES34188     2004   VOLVO   4V4MC9GF54N369960   NA        NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES34192     2004   VOLVO   4V4MC9GF74N352285   NA        IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES34195     2004   FRGHT   1FUJA6CK84LN59651   CL120     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES34196     2004   FRGHT   1FUJA6CK24LN15158   CL120     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES34197     2004   FRGHT   1FUJA6CK04LN59692   CL120     OH          North Lima
 HMES     CITY TRACTOR     CTR‐TA   HMES34198     2004   FRGHT   1FUJA6CK44LN59744   CL120     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES34199     2004   FRGHT   1FUJA6CK24LN59340   CL120     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES34202     2004   FRGHT   1FUJA6CK74LN59723   COLUM     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES35000     2015   FRGHT   3AKJGEDV9FSGB7421   X1256     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES35006     2005   INTL    2HSCNAPR25C140602   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES35010     2005   INTL    2HSCNAPR75C058008   9400I     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES35020     2005   VOLVO   4V4MC9GF85N405660   NA        NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES35021     2005   VOLVO   4V4MC9GF75N378189   NA        SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES35023     2005   VOLVO   4V4MC9GFX5N387761   NA        MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES35028     2005   VOLVO   4V4MC9GF75N405648   NA        NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES35033     2005   VOLVO   4V4MC9GF45N387755   NA        IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES35036     2005   FRGHT   1FUJA6CK75DN36776   CL120     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES35037     2005   FRGHT   1FUJA6CK75PU12912   CL120     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES35038     2005   FRGHT   1FUJA6CK35LV21956   CL120     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES35039     2005   FRGHT   1FUJA6CKX5LV21954   CL120     IN          Fort Wayne
 HMES     CITY TRACTOR     CTR‐TA   HMES35040     2005   FRGHT   1FUJA6CK65LV21952   CL120     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES35042     2005   FRGHT   1FUJA6CK15LV15668   CL120     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES35043     2005   FRGHT   1FUJA6CK85LV14940   CL120     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES35044     2005   FRGHT   1FUJA6CK15DV14868   CL120     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES35045     2005   FRGHT   1FUJA6CKX5LV29083   CL120     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES35046     2005   FRGHT   1FUJA6CG95LV37591   CL120     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES35049     2005   FRGHT   1FUJA6CK45LV15017   CL120     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES35050     2005   FRGHT   1FUJA6CG25PV37070   CL206     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES35051     2005   FRGHT   1FUJA6CG15DU67174   CL120     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES35053     2005   FRGHT   1FUJA6CK65LV29081   CL120     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES35055     2005   FRGHT   1FUJA6CK25LN60456   CL120     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES35056     2005   FRGHT   1FUJA6CG55LV37006   CL120     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES35057     2005   FRGHT   1FUJA6CG95LU36616   CL120     WI          Neenah
 HMES     CITY TRACTOR     CTR‐TA   HMES35058     2005   FRGHT   1FUJA6CK45LV15681   CL120     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES35061     2005   FRGHT   1FUJA6CK05LV15659   COLUM     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES35062     2005   FRGHT   1FUJA6CG95PV19813   COLUM     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES35063     2005   FRGHT   1FUJA6CG25PV19815   COLUM     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES35066     2005   FRGHT   1FUJA6CK35LV14831   COLUM     MN          Burnsville
 HMES     CITY TRACTOR     CTR‐TA   HMES35069     2005   FRGHT   1FUJA6CG15DN55917   COLUM     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES35071     2005   FRGHT   1FUJA6CG75PU87055   COLUM     IL          Rock Island
                     Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 60 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES35072     2005   FRGHT   1FUJA6CK05LV14740   COLUM     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES35073     2005   FRGHT   1FUJA6CK45LV14837   COLUM     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES35078     2005   FRGHT   1FUJA6CK75LU13176   CL120     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES35079     2005   FRGHT   1FUJA6CK75LN37559   CL120     OH          Gallipolis
 HMES     CITY TRACTOR     CTR‐TA   HMES36333     2006   FRGHT   1FUJA6CK66LV98712   CL120     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES36334     2006   FRGHT   1FUJA6CK76LV98847   CL120     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES36335     2006   FRGHT   1FUJA6CK96LV84741   CL120     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES36336     2006   FRGHT   1FUJA6CG16LV57996   CL120     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES36338     2006   FRGHT   1FUJA6CK36LW32203   CL120     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES36339     2006   FRGHT   1FUJA6CK06LV84739   CL120     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES36342     2006   FRGHT   1FUJA6CKX6LV98809   CL120     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES36343     2006   FRGHT   1FUJA6CK36LV48902   CL120     IA          Des Moines
 HMES     CITY TRACTOR     CTR‐TA   HMES36344     2006   FRGHT   1FUJA6CK66LV99519   CL120     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES36345     2006   FRGHT   1FUJA6CK46LV99521   CL120     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES36346     2006   FRGHT   1FUJA6CK26LV99520   CL120     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES36347     2006   FRGHT   1FUJA6CK26LV84970   CL120     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES36348     2006   FRGHT   1FUJA6CK46LV99518   CL120     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES36349     2006   FRGHT   1FUJA6CK56LV84753   CL120     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES36350     2006   FRGHT   1FUJA6CK06LV84742   CL120     WI          Mosinee
 HMES     CITY TRACTOR     CTR‐TA   HMES36351     2006   FRGHT   1FUJA6CK56LV98586   CL120     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES36353     2006   FRGHT   1FUJA6CKX6LV98597   CL120     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES36355     2006   FRGHT   1FUJA6CG86PV76974   CL120     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES36356     2006   FRGHT   1FUJA6CGX6PV76975   CL120     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES36358     2006   FRGHT   1FUJA6CG96LW43721   CL120     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES36360     2006   FRGHT   1FUJA6CG36LW44881   CL120     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES36361     2006   FRGHT   1FUJA6CK96LX17594   COLUM     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES36362     2006   FRGHT   1FUJA6CKX6DX17582   COLUM     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES36364     2006   FRGHT   1FUJA6CG36PW22730   COLUM     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES36368     2006   FRGHT   1FUJA6CK06LW13852   COLUM     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES36369     2006   FRGHT   1FUJA6CG76LV43214   COLUM     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES36371     2006   FRGHT   1FUJA6CKX6LW47250   COLUM     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES36372     2006   FRGHT   1FUJA6CG56PW22731   COLUM     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES36373     2006   FRGHT   1FUJA6CG86PW03882   COLUM     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES36379     2006   FRGHT   1FUJA6CG56LW36619   COLUM     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES36381     2006   FRGHT   1FUJA6CK06LV59677   COLUM     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES36382     2006   FRGHT   1FUJA6CK46LV98899   COLUM     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES36383     2006   FRGHT   1FUJA6CK66LW78494   COLUM     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES36384     2006   FRGHT   1FUJA6CKX6LV84831   COLUM     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES36385     2006   FRGHT   1FUJA6CK66LV99004   COLUM     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES36389     2006   FRGHT   1FUJA6CK36LV98408   COLUM     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES36390     2006   FRGHT   1FUJA6CK46LW91356   COLUM     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES36395     2006   FRGHT   1FUJA6CK46PV60629   COLUM     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES36397     2006   FRGHT   1FUJA6CK86LV85220   COLUM     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES36398     2006   FRGHT   1FUJA6CK26LW78492   COLUM     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES36399     2006   FRGHT   1FUJA6CK06PV60627   COLUM     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES36403     2006   FRGHT   1FUJA6CK46LV63215   COLUM     WI          Tomah
 HMES     CITY TRACTOR     CTR‐TA   HMES36404     2006   FRGHT   1FUJA6CK66LV63216   COLUM     IL          McCook
 HMES     CITY TRACTOR     CTR‐TA   HMES36406     2006   FRGHT   1FUJA6CK16LV95281   COLUM     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES36408     2006   FRGHT   1FUJA6CK46LW68191   COLUM     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES36413     2006   FRGHT   1FUJA6CK86PV60648   CL120     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES36414     2006   FRGHT   1FUJA6CK06LV98883   CL120     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES36416     2006   FRGHT   1FUJA6CK86LV59667   CL120     IL          Joliet
 HMES     CITY TRACTOR     CTR‐TA   HMES36419     2006   FRGHT   1FUJA6CK46LV98918   CL120     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES36421     2006   FRGHT   1FUJA6CKX6LV84974   CL120     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES36423     2006   FRGHT   1FUJA6CK16LW32202   CL120     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES36425     2006   FRGHT   1FUJA6CK26LV98948   CL120     LA          Alexandria
 HMES     CITY TRACTOR     CTR‐TA   HMES36426     2006   FRGHT   1FUJA6CK86LV99442   CL120     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES36428     2006   FRGHT   1FUJA6CK06LV98947   CL120     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES36429     2006   FRGHT   1FUJA6CK76LV98945   CL120     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES36430     2006   FRGHT   1FUJA6CKX6LV84747   CL120     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES36431     2006   FRGHT   1FUJA6CK86LV99389   CL120     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES36432     2006   FRGHT   1FUJA6CK26PV59656   CL120     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES36433     2006   FRGHT   1FUJA6CK06LW63487   CL120     MN          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES36435     2006   FRGHT   1FUJA6CG26LW42846   CL120     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES37002     2007   FRGHT   1FUJA6CK27LX76827   CL120     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES37003     2007   FRGHT   1FUJA6CK07LY40847   CL120     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES37004     2007   FRGHT   1FUJA6CK17LZ21243   CL120     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES37006     2007   FRGHT   1FUJA6CK07DX37163   CL120     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES37007     2007   FRGHT   1FUJA6CG47LY50082   CL120     IN          Evansville
                     Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 61 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES37011     2007   FRGHT   1FUJA6CK17LX41311   COLUM     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES37012     2007   FRGHT   1FUJA6CK27LY16145   COLUM     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES37018     2007   FRGHT   1FUJA6CG77LX58576   COLUM     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES37021     2007   FRGHT   1FUJA6CK77LX38574   COLUM     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES37022     2007   FRGHT   1FUJA6CK07LX17694   COLUM     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES37030     2007   FRGHT   1FUJA6CKX7LX34258   COLUM     IA          Council Bluffs
 HMES     CITY TRACTOR     CTR‐TA   HMES37035     2007   FRGHT   1FUJA6CK27LX69795   COLUM     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES37059     2007   FRGHT   1FUJA6CK97LX77389   COLUM     MI          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES37061     2007   FRGHT   1FUJA6CK47LX77588   COLUM     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES37064     2007   FRGHT   1FUJA6CK57LX83268   COLUM     IL          Rock Island
 HMES     CITY TRACTOR     CTR‐TA   HMES37067     2007   FRGHT   1FUJA6CK57LY57739   COLUM     MN          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES37070     2007   FRGHT   1FUJA6CK77LX77147   CL120     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES37071     2007   FRGHT   1FUJA6CK47LY28295   CL120     OH          Akron
 HMES     CITY TRACTOR     CTR‐TA   HMES37074     2007   FRGHT   1FUJA6CK37DX77513   CL120     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES37076     2007   FRGHT   1FUJA6CK67LY57748   CL120     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES37077     2007   FRGHT   1FUJA6CK67LY67843   CL120     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES37080     2007   FRGHT   1FUJA6CG97LX26566   CL120     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES37082     2007   FRGHT   1FUJA6CG37LY07191   CL120     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES38110     2011   FRGHT   1FUJGEDV0BSAZ0966   X1256     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES38142     2013   FRGHT   1FUJGEDV0DSBZ2335   X1256     KY          Lexington
 HMES     CITY TRACTOR     CTR‐TA   HMES42007     2012   VOLVO   4V4MC9EG8CN555647   VNM64     OH          North Lima
 HMES     CITY TRACTOR     CTR‐TA   HMES42032     2012   VOLVO   4V4MC9EG7CN555672   VNM64     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES42038     2012   VOLVO   4V4MC9EG8CN555678   VNM64     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES42041     2012   VOLVO   4V4MC9EG8CN555681   VNM64     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES70183     2014   FRGHT   3ALXA7A87EDFP8336   CL120     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES70210     2007   FRGHT   1FUJA6CK47LX77218   COLUM     OH          Columbus
 HMES     CITY TRACTOR     CTR‐TA   HMES79395     2007   FRGHT   1FUJA6CKX7LX76820   COLUM     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79396     2007   FRGHT   1FUJA6CK97LX76534   COLUM     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES79397     2007   FRGHT   1FUJA6CK47LX69796   COLUM     NY          Williamsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79398     2007   FRGHT   1FUJA6CK67LX34354   COLUM     OH          Bowling Green
 HMES     CITY TRACTOR     CTR‐TA   HMES79399     2007   FRGHT   1FUJA6CK57LX69760   COLUM     SC          West Columbia
 HMES     CITY TRACTOR     CTR‐TA   HMES79400     2007   FRGHT   1FUJA6CK97LX83189   COLUM     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES79401     2007   FRGHT   1FUJA6CK87PY06194   COLUM     WI          Milwaukee
 HMES     CITY TRACTOR     CTR‐TA   HMES79403     2007   FRGHT   1FUJA6CK67LX34015   COLUM     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES79404     2007   FRGHT   1FUJA6CK57LX69757   COLUM     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES79474     2009   VOLVO   4V4MC9EGX9N263619   VNM64     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES79475     2009   VOLVO   4V4MC9EG89N263618   VNM64     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES79498     2015   FRGHT   3AKGGEDVXFSGK3467   CASCA     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES79499     2015   FRGHT   3AKGGEDV0FSGK3459   CASCA     MN          Burnsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79500     2015   FRGHT   3AKGGEDV8FSGK3340   CASCA     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES79501     2012   VOLVO   4V4MC9EG0CN555643   VNM64     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES79503     2006   FRGHT   1FUJA6CK06PV49045   COLUM     MN          Jackson
 HMES     CITY TRACTOR     CTR‐TA   HMES79596     2012   FRGHT   1FUJGEDV7CSBM1140   X1256     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES79604     2012   FRGHT   1FUJGEDV0CSBD7099   X1256     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES79643     2015   FRGHT   3AKGGEDV4FSGK3366   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79644     2015   FRGHT   3AKGGEDV4FSGK3612   CASCA     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES79645     2015   FRGHT   3AKGGEDV9FSGK3377   CASCA     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES79646     2015   FRGHT   3AKGGEDV2FSGM5219   CASCA     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES79656     2015   FRGHT   3AKGGEDVXFSGK3484   CASCA     TN          Nashville
 HMES     CITY TRACTOR     CTR‐TA   HMES79659     2012   FRGHT   1FUJGEDV9CSBD3245   X1256     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES79660     2015   FRGHT   3AKGGEDV6FSGM5238   CASCA     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES79705     2014   FRGHT   3ALXA7A84EDFP8326   CL120     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79706     2013   FRGHT   1FUJGEDV3DSBZ2331   X1256     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79707     2013   FRGHT   3AKJGEDV6DSBZ1804   X1256     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79708     2012   FRGHT   1FUJGEDVXCSBM1441   X1256     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79711     2008   INTL    2HSCEAPR18C644238   9200I     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79712     2006   FRGHT   1FUJA6CK96LV48919   COLUM     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79713     2012   VOLVO   4V4MC9EG6CN555677   VNM64     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES79714     2015   FRGHT   3AKGGEDV8FSGK3323   CASCA     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES79719     2012   FRGHT   1FUJGEDV3CSBK2696   X1256     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES79736     2012   VOLVO   4V4MC9EGXCN555679   VNM64     MO          Sikeston
 HMES     CITY TRACTOR     CTR‐TA   HMES79737     2009   VOLVO   4V4MC9EG19N263671   VNM64     MO          Sikeston
 HMES     CITY TRACTOR     CTR‐TA   HMES79738     2009   VOLVO   4V4MC9EG99N263580   VNM64     MO          Sikeston
 HMES     CITY TRACTOR     CTR‐TA   HMES79739     2012   VOLVO   4V4MC9EG0CN555657   VNM64     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES79740     2012   VOLVO   4V4MC9EG5CN555671   VNM64     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79741     2012   FRGHT   1FUJGEDR0CLBE7290   X1256     MO          Sikeston
 HMES     CITY TRACTOR     CTR‐TA   HMES79753     2013   FRGHT   1FUJGEDV7DSBX3894   X1256     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES79754     2012   FRGHT   1FUJGEDV8CSBD3463   X1256     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79755     2012   VOLVO   4V4MC9EG0CN555688   VNM64     IL          Edwardsville
                     Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 62 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES79756     2012   FRGHT   1FUJGEDV4CSBH3104   X1256     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79781     2007   FRGHT   1FUJA6CKX7PY06195   COLUM     IL          Edwardsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79782     2012   VOLVO   4V4MC9EG4CN555645   VNM64     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79788     2015   FRGHT   3AKGGEDV7FSGK3622   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79789     2015   FRGHT   3AKGGEDV5FSGM5232   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79791     2007   FRGHT   1FUJA6CK17LV99557   COLUM     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES79798     2015   FRGHT   3AKGGEDV0FSGK3445   CASCA     MN          Burnsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79799     2012   VOLVO   4V4MC9EG1CN555697   VNM64     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES79800     2012   VOLVO   4V4MC9EG3CN555653   VNM64     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES79808     2012   VOLVO   4V4MC9EGXCN555665   VNM64     IL          Rockford
 HMES     CITY TRACTOR     CTR‐TA   HMES79809     2015   FRGHT   3AKGGEDV0FSGK3607   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79810     2015   FRGHT   3AKGGEDV2FSGK3513   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79811     2015   FRGHT   3AKGGEDV1FSGX1665   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79812     2015   FRGHT   3AKGGEDV1FSGK3485   CASCA     AL          Birmingham
 HMES     CITY TRACTOR     CTR‐TA   HMES79813     2015   FRGHT   3AKGGEDV7FSGK3376   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79814     2015   FRGHT   3AKGGEDV2FSGK3351   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79815     2015   FRGHT   3AKGGEDV6FSGK3482   CASCA     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES79821     2015   FRGHT   3AKGGEDV3FSGK3424   CASCA     MI          Birch Run
 HMES     CITY TRACTOR     CTR‐TA   HMES79822     2014   FRGHT   3ALXA7A85EDFP8349   CL120     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES79823     2013   FRGHT   3AKJGEDV4DSBZ1798   X1256     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES79824     2013   FRGHT   1FUJGEDV5DSBZ2329   X1256     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79825     2012   FRGHT   1FUJGEDV4CSBD2861   X1256     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79826     2013   FRGHT   1FUJGEDR1DSBX5708   X1256     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79827     2012   FRGHT   1FUJGEDV2CSBD2874   X1256     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79828     2015   FRGHT   3AKGGEDV9FSGK3492   CASCA     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES79829     2012   FRGHT   1FUJGEDR3CSBK2555   X1256     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79830     2015   FRGHT   3AKGGEDV4FSGK3299   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79831     2015   FRGHT   3AKGGEDVXFSGK3517   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79832     2015   FRGHT   3AKGGEDV2FSGK3298   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79833     2015   FRGHT   3AKGGEDV0FSGK3400   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79834     2015   FRGHT   3AKGGEDV1FSGK3454   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79835     2015   FRGHT   3AKGGEDV2FSGM5236   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79836     2008   INTL    2HSCEAPR58C644257   9200I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES79837     2015   FRGHT   3AKGGEDV5FSGM5294   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79838     2014   FRGHT   3ALXA7A8XEDFP8315   CL120     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES79839     2007   FRGHT   1FUJA6CG77LX26565   CL120     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES79840     2015   FRGHT   3AKGGEDV6FSGK3479   CASCA     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES79841     2015   FRGHT   3AKGGEDV8FSGK3547   CASCA     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES79842     2015   FRGHT   3AKGGEDV9FSGK3606   CASCA     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES79843     2015   FRGHT   3AKGGEDV9FSGM5198   CASCA     GA          Ringgold
 HMES     CITY TRACTOR     CTR‐TA   HMES79844     2015   FRGHT   3AKGGEDV9FSGK3427   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79845     2015   FRGHT   3AKGGEDV3FSGK3651   CASCA     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES79846     2015   FRGHT   3AKGGEDVXFSGK3520   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79847     2015   FRGHT   3AKGGEDV6FSGM5224   CASCA     TN          Goodlettsville
 HMES     CITY TRACTOR     CTR‐TA   HMES79849     2016   FRGHT   3AKGGEDV7GDHC4922   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79850     2015   FRGHT   3AKGGEDV5FSGM5246   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79851     2015   FRGHT   3AKGGEDV8FSGK3337   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79852     2015   FRGHT   3AKGGEDV8FSGM5239   CASCA     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES79853     2015   FRGHT   3AKGGEDVXFSGK3386   CASCA     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES79854     2015   FRGHT   3AKGGEDV3FSGK3455   CASCA     MI          Wayland
 HMES     CITY TRACTOR     CTR‐TA   HMES79860     2013   FRGHT   1FUJGEDVXDSBZ1726   X1256     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79861     2015   FRGHT   3AKGGEDV4FSGM5206   CASCA     OH          Cincinnati
 HMES     CITY TRACTOR     CTR‐TA   HMES79862     2016   FRGHT   3AKGGEDVXGDHM6403   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79870     2015   FRGHT   3AKGGEDV7FSGK3328   CASCA     IN          Evansville
 HMES     CITY TRACTOR     CTR‐TA   HMES79871     2012   FRGHT   1FUJGEDV3CSBK2701   X1256     NC          Charlotte
 HMES     CITY TRACTOR     CTR‐TA   HMES79872     2015   FRGHT   3AKGGEDV5FSGK3344   CASCA     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES79873     2015   FRGHT   3AKGGEDV3FSGK3472   CASCA     MN          Coon Rapids
 HMES     CITY TRACTOR     CTR‐TA   HMES79874     2015   FRGHT   3AKGGEDV5FSGM5201   CASCA     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES79877     2016   FRGHT   3AKGGEDV3GDHC5033   CASCA     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES79878     2008   VOLVO   4V4MC9EG38N263525   VNM64     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES79881     2015   FRGHT   3AKGGEDV9FSGK3511   CASCA     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES79882     2015   FRGHT   3AKGGEDV0FSGK3526   CASCA     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES79883     2015   FRGHT   3AKGGEDV8FSGK3421   CASCA     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES79884     2015   FRGHT   3AKGGEDV7FSGK3491   CASCA     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES79885     2015   FRGHT   3AKGGEDV6FSGM5255   CASCA     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES79886     2015   FRGHT   3AKGGEDV0FSGK3395   CASCA     OH          Brooklyn
 HMES     CITY TRACTOR     CTR‐TA   HMES79897     2011   FRGHT   1FUJGEDV7BSAZ1080   X1256     IL          Wheeling
 HMES     CITY TRACTOR     CTR‐TA   HMES79898     2013   FRGHT   1FUJGEDV4DSBZ1771   X1256     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES79899     2015   FRGHT   3AKGGEDV9FSGK3654   CASCA     GA          Ellenwood
                     Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 63 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     CITY TRACTOR     CTR‐TA   HMES79901     2015   FRGHT   3AKGGEDV8FSGM5273   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES79902     2015   FRGHT   3AKGGEDV2FSGM5270   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES79903     2015   FRGHT   3AKGGEDV3FSGK3620   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES79904     2015   FRGHT   3AKGGEDV6FSGK3563   CASCA     IN          Indianapolis
 HMES     CITY TRACTOR     CTR‐TA   HMES79909     2006   INTL    2HSCNAPR36C190071   9400I     NC          Kernersville
 HMES     CITY TRACTOR     CTR‐TA   HMES79910     2012   VOLVO   4V4MC9EG0CN555674   VNM64     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES79916     2015   FRGHT   3AKGGEDV6FSGK3529   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79921     2008   VOLVO   4V4MC9EG88N498356   VNM64     IA          Des Moines
 HMES     CITY TRACTOR     CTR‐TA   HMES79922     2008   VOLVO   4V4MC9EGX8N498388   VNM64     IA          Des Moines
 HMES     CITY TRACTOR     CTR‐TA   HMES79923     2015   FRGHT   3AKGGEDV3FSGK3486   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79924     2016   FRGHT   3AKGGEDV6GDHC4832   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES79939     2016   FRGHT   3AKGGEDV8GDHC4914   CASCA     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES79940     2017   FRGHT   1FUGGEDV7HLHS3976   CASCA     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES79941     2015   FRGHT   3AKGGEDV3FSGK3357   CASCA     MN          Owatonna
 HMES     CITY TRACTOR     CTR‐TA   HMES79943     2016   FRGHT   3AKGGEDVXGDHC4834   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79944     2016   FRGHT   3AKGGEDVXGDHC4865   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79945     2016   FRGHT   3AKGGEDV7GDHC4998   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79947     2016   FRGHT   3AKGGEDV6GDHC4829   CASCA     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES79948     2015   FRGHT   3AKGGEDVXFSGK3596   CASCA     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES79949     2015   FRGHT   3AKGGEDV5FSGM5229   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79950     2014   FRGHT   3ALXA7A82EDFP8325   CL120     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79951     2016   FRGHT   3AKGGEDV5GDHC4837   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79952     2016   FRGHT   3AKGGEDV1GDHC4902   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79953     2016   FRGHT   3AKGGEDV9GDHC5036   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79954     2016   FRGHT   3AKGGEDV1GDHC5077   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79955     2016   FRGHT   3AKGGEDVXGDHC5059   CASCA     KS          Kansas City
 HMES     CITY TRACTOR     CTR‐TA   HMES79956     2015   FRGHT   3AKGGEDV3FSGK3312   CASCA     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES79957     2016   FRGHT   3AKGGEDV0GDHC4843   CASCA     TN          Knoxville
 HMES     CITY TRACTOR     CTR‐TA   HMES79962     2006   FRGHT   1FUJA6CK16LX25432   COLUM     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES79963     2006   FRGHT   1FUJA6CG66LW97624   CL120     MI          Romulus
 HMES     CITY TRACTOR     CTR‐TA   HMES79979     2007   FRGHT   1FUJA6CK47LY28751   COLUM     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES79980     2016   FRGHT   3AKGGEDV2GDHC5069   CASCA     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES79981     2016   FRGHT   3AKGGEDVXGDHC4848   CASCA     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES79983     2007   FRGHT   1FUJA6CK07LY28956   CL120     AL          Decatur
 HMES     CITY TRACTOR     CTR‐TA   HMES89234     2015   FRGHT   3AKGGEDV6FSGK3644   CASCA     GA          Ellenwood
 HMES     CITY TRACTOR     CTR‐TA   HMES89246     2016   FRGHT   3AKGGEDV2GDHC4858   CASCA     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES89247     2016   FRGHT   3AKGGEDV4GDHC4859   CASCA     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES89251     2017   FRGHT   1FUGGEDV1HLHS3813   CASCA     MS          Olive Branch
 HMES     CITY TRACTOR     CTR‐TA   HMES89262     2015   FRGHT   3AKGGEDV5FSGK3649   CASCA     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES89263     2016   FRGHT   3AKGGEDV3GDHC4917   CASCA     MO          Baxter Springs
 HMES     CITY TRACTOR     CTR‐TA   HMES89279     2015   FRGHT   3AKGGEDV1FSGK3583   CASCA     OH          Dayton
 HMES     CITY TRACTOR     CTR‐TA   HMES89280     2015   FRGHT   3AKGGEDV6FSGK3448   CASCA     OH          Dayton
 HMES     CITY TRACTOR     CTR‐TA   HMES89281     2015   FRGHT   3AKGGEDV6FSGK3417   CASCA     SC          Piedmont
 HMES     CITY TRACTOR     CTR‐TA   HMES89285     2015   FRGHT   3AKGGEDV7FSGK3362   CASCA     IL          Edwardsville
 HMES     CITY TRACTOR     CTR‐TA   HMES89286     2013   FRGHT   1FUJGEDVXDSBZ1709   X1256     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES89287     2012   FRGHT   1FUJGEDV5CSBD3632   X1256     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES89288     2005   FRGHT   1FUJA6CG75LU94692   CL120     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES89289     2008   VOLVO   4V4MC9EG28N498353   VNM64     NC          Raleigh
 HMES     CITY TRACTOR     CTR‐TA   HMES89290     2015   FRGHT   3AKGGEDV4FSGM5254   CASCA     SC          Piedmont
 HMES     DOLLY            DOL‐TA   HMES327       2007   GRTDN   1GRER24277K287649   GCD‐2     IN          South Bend
 HMES     DOLLY            DOL‐TA   HMES334       2007   GRTDN   1GRER24247K287656   GCD‐2     OH          Akron
 HMES     DOLLY            DOL‐TA   HMES336       2007   GRTDN   1GRER24287K287658   GCD‐2     IN          South Bend
 HMES     DOLLY            DOL‐TA   HMES339       2007   GRTDN   1GRER24287K287661   GCD‐2     OH          Akron
 HMES     DOLLY            DOL‐TA   HMES340       2007   GRTDN   1GRER242X7K287662   GCD‐2     IN          South Bend
 HMES     DOLLY            DOL‐TA   HMES341       2007   GRTDN   1GRER24217K287663   GCD‐2     OH          Akron
 HMES     DOLLY            DOL‐TA   HMES343       2007   GRTDN   1GRER24257K287665   GCD‐2     IN          South Bend
 HMES     DOLLY            DOL‐TA   HMES345       2007   GRTDN   1GRER24297K287667   GCD‐2     OH          North Lima
 HMES     DOLLY            DOL‐TA   HMES349       2007   GRTDN   1GRER24207K287671   GCD‐2     IN          South Bend
 HMES     DOLLY            DOL‐TA   HMES373       2007   GRTDN   1GRER24287K287675   GCD‐2     OH          Akron
 HMES     DOLLY            DOL‐TA   HMES377       2007   GRTDN   1GRER24257K287679   GCD‐2     IN          South Bend
 HMES     DOLLY            DOL‐TA   HMES379       2007   GRTDN   1GRER24237K287681   GCD‐2     OR          Eugene
 HMES     DOLLY            DOL‐TA   HMES380       2007   GRTDN   1GRER24257K287682   GCD‐2     OH          Brooklyn
 HMES     FORKLIFT         FKL      HMES1038      2007   TOYOT   7FGCU25‐03863                 OH          Gallipolis
 HMES     FORKLIFT         FKL      HMES1039      2007   TOYOT   8FGCU25‐14154       8FGCU25   OH          Gallipolis
 HMES     FORKLIFT         FKL      HMES30001     2000   KMTSU   516696A             FG20S     NC          Kernersville
 HMES     FORKLIFT         FKL      HMES30215     2002   TOYOT   7FGCU25‐75700       7FGCU     MO          Baxter Springs
 HMES     FORKLIFT         FKL      HMES30226     2002   TOYOT   7FGCU25‐78058       7FGCU     MI          Birch Run
 HMES     FORKLIFT         FKL      HMES30227     2004   TOYOT   7FGCU25‐78548       7FGCU     OH          Cincinnati
 HMES     FORKLIFT         FKL      HMES30301     2003   KMTSU   566453A             FG20S     IL          Rockford
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 64 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES30302     2003   KMTSU   568656A         FG20S     IL          Rockford
 HMES     FORKLIFT         FKL     HMES30303     2003   TOYOT   7FGCU25‐80112   7FGCU     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES30304     2003   KMTSU   562002A         FG20S     UT          Salt Lake City
 HMES     FORKLIFT         FKL     HMES30305     2003   TOYOT   7FGCU25‐80033   7FGCU     MO          Kansas City
 HMES     FORKLIFT         FKL     HMES30401     2004   KMTSU   568368A         FG20S     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES30402     2004   TOYOT   7FGCU25‐82935   7FGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES30404     2004   TOYOT   7FGCU25‐82921   7FGCU     WI          Tomah
 HMES     FORKLIFT         FKL     HMES30407     2004   TOYOT   7FGCU25‐86804   7FGCU     WI          Neenah
 HMES     FORKLIFT         FKL     HMES30410     2002   TOYOT   7FGCU25‐78474   7FGCU     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES30411     2004   KMTSU   569238A         FG20ST    IL          Rock Island
 HMES     FORKLIFT         FKL     HMES30413     2004   TOYOT   7FGCU25‐83686   7FGCU     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES30501     2005   TOYOT   7FGCU25‐90903   7FGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES30502     2005   KMTSU   585951A         FG20S     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30503     2005   KMTSU   588897A         FG20S     GA          Macon
 HMES     FORKLIFT         FKL     HMES30504     2005   KMTSU   587817A         FG20S     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30505     2005   KMTSU   91960           FG20S     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30509     2005   TOYOT   7FGCU25‐90122   7FGCU     WI          Tomah
 HMES     FORKLIFT         FKL     HMES30511     2005   TOYOT   7FGCU25‐93704   7FGCU     MO          Baxter Springs
 HMES     FORKLIFT         FKL     HMES30512     2005   TOYOT   7FGCU25‐93627   7FGCU     WI          Neenah
 HMES     FORKLIFT         FKL     HMES30513     2005   TOYOT   7FGCU25‐93635   7FGCU     WI          Neenah
 HMES     FORKLIFT         FKL     HMES30514     2005   TOYOT   7FGCU25‐93660   7FGCU     WI          Neenah
 HMES     FORKLIFT         FKL     HMES30516     2005   TOYOT   7FGCU25‐90571   7FGCU     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES30517     2005   TOYOT   7FGCU25‐90610   7FGCU     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES30519     2005   TOYOT   7FGCU25‐93673   7FGCU     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES30520     2005   TOYOT   7FGCU25‐93677   7FGCU     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES30521     2005   TOYOT   7FGCU25‐93678   7FGCU     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES30522     2005   TOYOT   7FGCU25‐93696   7FGCU     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES30523     2005   TOYOT   7FGCU25‐93698   7FGCU     CA          Tracy
 HMES     FORKLIFT         FKL     HMES30604     2006   KMTSU   587872A         F620S     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30605     2006   KMTSU   587873A         F620S     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30606     2006   KMTSU   592690A         F620S     MO          Strafford
 HMES     FORKLIFT         FKL     HMES30609     2006   TOYOT   7FGCU25‐02878   7FGCU     WI          Tomah
 HMES     FORKLIFT         FKL     HMES30611     2006   TOYOT   7FGCU25‐93942   7FGCU     MO          Baxter Springs
 HMES     FORKLIFT         FKL     HMES30612     2006   TOYOT   7FGCU20‐02830   7FGCU     WI          Neenah
 HMES     FORKLIFT         FKL     HMES30615     2006   TOYOT   7FGCU20‐02785   7FGCU     AZ          Phoenix
 HMES     FORKLIFT         FKL     HMES30710     2007   KMTSU   213409A         FG25S     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30711     2007   KMTSU   213410A         FG25S     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30719     2007   TOYOT   7FGCU25‐86887   7FGCU     MN          Owatonna
 HMES     FORKLIFT         FKL     HMES30720     2007   TOYOT   8FGCU25‐13303   8FGCU     WI          Neenah
 HMES     FORKLIFT         FKL     HMES30721     2007   TOYOT   8FGCU25‐14068   8FGCU     WI          Neenah
 HMES     FORKLIFT         FKL     HMES30722     2008   TOYOT   8FGCU25‐22199   8FGCU     IL          Rockford
 HMES     FORKLIFT         FKL     HMES30729     2007   TOYOT   8FGCU25‐14106   8FGCU     OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES30730     2007   TOYOT   8FGCU25‐14116   8FGCU     OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES30801     2008   TOYOT   8FGCU25‐22359   8FGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES30802     2008   TOYOT   8FGCU25‐22388   8FGCU     GA          Jefferson
 HMES     FORKLIFT         FKL     HMES30803     2008   TOYOT   8FGCU25‐22297   8GGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES30804     2008   TOYOT   8FGCU25‐22340   8GGCU     CA          Bloomington
 HMES     FORKLIFT         FKL     HMES30805     2008   TOYOT   8FGCU25‐22365   8GGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES30806     2008   TOYOT   8FGCU25‐22390   8GGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES30807     2008   KMTSU   220343A         FG25S     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30808     2008   TOYOT   8FGCU25‐22269   8FGCU     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30809     2008   TOYOT   8FGCU25‐22416   8FGCU     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30810     2008   TOYOT   8FGCU25‐12981   8FGCU     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES30813     2008   TOYOT   8FGCU25‐22124   8FGCU     IL          Rockford
 HMES     FORKLIFT         FKL     HMES30814     2008   TOYOT   8FGCU25‐18812   8FGCU     WI          Neenah
 HMES     FORKLIFT         FKL     HMES30818     2002   TOYOT   7FGCU25‐79693   7FGCU     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES30821     2008   KMTSU   220333A78058    7FGCU     CA          Tracy
 HMES     FORKLIFT         FKL     HMES30822     2008   TOYOT   8FGCU25‐12854   8FGCU     MO          Baxter Springs
 HMES     FORKLIFT         FKL     HMES30833     2008   TOYOT   8FGCU25‐12937   8FGCU     KY          Lexington
 HMES     FORKLIFT         FKL     HMES30835     2008   TOYOT   8FGCU25‐13823   8FGCU2    AL          Mobile
 HMES     FORKLIFT         FKL     HMES30836     2008   TOYOT   8FGCU25‐13856   8FGCU2    FL          Fort Myers
 HMES     FORKLIFT         FKL     HMES30837     2008   TOYOT   8FGCU25‐12693   8FGCU2    AL          Mobile
 HMES     FORKLIFT         FKL     HMES33330     2004   TOYOT   33330           5FBE1     IL          McCook
 HMES     FORKLIFT         FKL     HMES33600     2013   NSSMT   9P9998          NA        MO          Kansas City
 HMES     FORKLIFT         FKL     HMES34400     2014   TOYOT   8FGCU25‐49526   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34401     2014   TOYOT   8FGCU25‐49919   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34402     2014   TOYOT   8FGCU25‐49978   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34403     2014   TOYOT   8FGCU25‐49979   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34404     2014   TOYOT   8FGCU25‐50013   FGCU      MI          Romulus
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 65 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES34405     2014   TOYOT   8FGCU25‐50015   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34406     2014   TOYOT   8FGCU25‐50031   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34407     2014   TOYOT   8FGCU25‐50037   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34408     2014   TOYOT   8FGCU25‐50051   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34409     2014   TOYOT   8FGCU25‐50042   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34410     2014   TOYOT   8FGCU25‐50087   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34411     2014   TOYOT   8FGCU25‐50085   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34412     2014   TOYOT   8FGCU25‐50090   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34413     2014   TOYOT   8FGCU25‐50118   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34414     2014   TOYOT   8FGCU25‐50123   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34415     2014   TOYOT   8FGCU25‐50125   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34416     2014   TOYOT   8FGCU25‐50152   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34417     2014   TOYOT   8FGCU25‐50154   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34418     2014   TOYOT   8FGCU25‐50157   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34419     2014   TOYOT   8FGCU25‐50200   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34420     2014   TOYOT   8FGCU25‐50177   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34421     2014   TOYOT   8FGCU25‐50205   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34422     2014   TOYOT   8FGCU25‐50209   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34423     2014   TOYOT   8FGCU25‐50212   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34425     2014   TOYOT   8FGCU25‐50258   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34426     2014   TOYOT   8FGCU25‐50259   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34427     2014   TOYOT   8FGCU25‐50262   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34428     2014   TOYOT   8FGCU25‐50282   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34429     2014   TOYOT   8FGCU25‐50284   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34430     2014   TOYOT   8FGCU25‐50287   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34431     2014   TOYOT   8FGCU25‐50317   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34432     2014   TOYOT   8FGCU25‐50321   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34433     2014   TOYOT   8FGCU25‐50331   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34434     2014   TOYOT   8FGCU25‐50372   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34435     2014   TOYOT   8FGCU25‐50349   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34436     2014   TOYOT   8FGCU25‐50377   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34437     2014   TOYOT   8FGCU25‐50381   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34438     2014   TOYOT   8FGCU25‐50394   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34439     2014   TOYOT   8FGCU25‐50406   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34440     2014   TOYOT   8FGCU25‐50410   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34441     2014   TOYOT   8FGCU25‐50412   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34442     2014   TOYOT   8FGCU25‐50433   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34443     2014   TOYOT   8FGCU25‐50438   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34444     2014   TOYOT   8FGCU25‐50435   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34445     2014   TOYOT   8FGCU25‐50491   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34446     2014   TOYOT   8FGCU25‐50497   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34447     2014   TOYOT   8FGCU25‐50445   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34448     2014   TOYOT   8FGCU25‐50520   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34449     2014   TOYOT   8FGCU25‐50538   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34450     2014   TOYOT   8FGCU25‐50541   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34451     2014   TOYOT   8FGCU25‐50573   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34452     2014   TOYOT   8FGCU25‐50584   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34453     2014   TOYOT   8FGCU25‐50582   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34454     2014   TOYOT   8FGCU25‐50596   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34455     2014   TOYOT   8FGCU25‐50599   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34456     2014   TOYOT   8FGCU25‐50607   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34457     2014   TOYOT   8FGCU25‐50639   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34458     2014   TOYOT   8FGCU25‐50643   FGCU      WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES34459     2014   TOYOT   8FGCU25‐50660   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34460     2014   TOYOT   8FGCU25‐50681   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34461     2014   TOYOT   8FGCU25‐50685   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34462     2014   TOYOT   8FGCU25‐50686   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34463     2014   TOYOT   8FGCU25‐50727   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34464     2014   TOYOT   8FGCU25‐50735   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34465     2014   TOYOT   8FGCU25‐50708   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34466     2014   TOYOT   8FGCU25‐50719   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34467     2014   TOYOT   8FGCU25‐50783   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34468     2014   TOYOT   8FGCU25‐50764   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34469     2014   TOYOT   8FGCU25‐50792   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34470     2014   TOYOT   8FGCU25‐50801   FGCU      IL          Rock Island
 HMES     FORKLIFT         FKL     HMES34471     2014   TOYOT   8FGCU25‐50780   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34472     2014   TOYOT   8FGCU25‐50834   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34473     2014   TOYOT   8FGCU25‐50838   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34474     2014   TOYOT   8FGCU25‐50842   FGCU      GA          Ellenwood
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 66 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES34475     2014   TOYOT   8FGCU25‐50850   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34476     2014   TOYOT   8FGCU25‐50864   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34477     2014   TOYOT   8FGCU25‐50866   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34479     2014   TOYOT   8FGCU25‐51222   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34480     2014   TOYOT   8FGCU25‐51232   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34481     2014   TOYOT   8FGCU25‐51233   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34482     2014   TOYOT   8FGCU25‐51257   FGCU      FL          Miami
 HMES     FORKLIFT         FKL     HMES34483     2014   TOYOT   8FGCU25‐51261   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34484     2014   TOYOT   8FGCU25‐51267   8FGCU25   TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34485     2014   TOYOT   8FGCU25‐51292   8FGCU25   TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34486     2014   TOYOT   8FGCU25‐51297   8FGCU25   TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34487     2014   TOYOT   8FGCU25‐51300   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34488     2014   TOYOT   8FGCU25‐51324   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34489     2014   TOYOT   8FGCU25‐51328   8FGCU25   TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34490     2014   TOYOT   8FGCU25‐51330   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34491     2014   TOYOT   8FGCU25‐51430   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34492     2014   TOYOT   8FGCU25‐51433   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34493     2014   TOYOT   8FGCU25‐51438   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34494     2014   TOYOT   8FGCU25‐51467   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34495     2014   TOYOT   8FGCU25‐51472   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34496     2014   TOYOT   8FGCU25‐51477   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34497     2014   TOYOT   8FGCU25‐51497   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34498     2014   TOYOT   8FGCU25‐51507   FGCU      TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES34499     2014   TOYOT   8FGCU25‐50350   FGCU      MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES34500     2014   TOYOT   8FGCU25‐50868   FGCU      GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES34501     2014   TOYOT   8FGCU25‐50231   FGCU      MI          Romulus
 HMES     FORKLIFT         FKL     HMES34601     2004   TOYOT   7FGCU25‐86981   FGCU2     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES34602     2004   TOYOT   7FGCU25‐87802   FGCU2     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES35100     2005   TOYOT   7FGCU25‐90525   FGCU2     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES36002     2000   MTSBS   AF82C02409      FGC20     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES36003     2000   MTSBS   AF82C02417      FGC20     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES36107     2001   MTSBS   AF82C05189      FGC25     WI          Tomah
 HMES     FORKLIFT         FKL     HMES36110     2001   MTSBS   AF82C05193      FGC25     WI          Tomah
 HMES     FORKLIFT         FKL     HMES36124     2001   MTSBS   AF82C05420      FGC20     IN          South Bend
 HMES     FORKLIFT         FKL     HMES36131     2001   MTSBS   AF82C05429      FGC20     IL          Danville
 HMES     FORKLIFT         FKL     HMES36162     2001   MTSBS   AF82C05472      FGC20     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES36169     2001   MTSBS   AF82C05480      FGC20     OH          Columbus
 HMES     FORKLIFT         FKL     HMES36172     2001   MTSBS   AF82C05483      FGC20     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES36175     2001   MTSBS   AF82C05486      FGC20     MO          Strafford
 HMES     FORKLIFT         FKL     HMES36176     2001   MTSBS   AF82C05487      FGC20     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES36177     2001   MTSBS   AF82C05488      FGC20     MN          Owatonna
 HMES     FORKLIFT         FKL     HMES36192     2001   MTSBS   AF82C05538      FGC20     IN          South Bend
 HMES     FORKLIFT         FKL     HMES36198     2001   MTSBS   AF82C05548      FGC20     OH          Dayton
 HMES     FORKLIFT         FKL     HMES36199     2001   MTSBS   AF82C05549      FGC20     MO          Strafford
 HMES     FORKLIFT         FKL     HMES36216     2001   MTSBS   AF82C05402      FGC20     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES36223     2001   MTSBS   AF82C05417      FGC20     MO          Strafford
 HMES     FORKLIFT         FKL     HMES36229     2001   MTSBS   AF82C05448      FGC20     WI          Mosinee
 HMES     FORKLIFT         FKL     HMES36231     2001   MTSBS   AF82C05452      FGC20     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES36269     2002   KMTSU   560806          FG20S     OH          Dayton
 HMES     FORKLIFT         FKL     HMES36272     2002   KMTSU   560809          FG20S     MO          Kansas City
 HMES     FORKLIFT         FKL     HMES36285     2002   KMTSU   559749          FG20S     OH          Columbus
 HMES     FORKLIFT         FKL     HMES36286     2002   KMTSU   559751          FG20S     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES36287     2002   KMTSU   559748          FG20S     MN          Duluth
 HMES     FORKLIFT         FKL     HMES36289     2002   KMTSU   559756          FG20S     MN          Owatonna
 HMES     FORKLIFT         FKL     HMES36295     2002   KMTSU   559752          FG20S     IL          Danville
 HMES     FORKLIFT         FKL     HMES36298     2002   KMTSU   559755          FG20S     IL          Rockford
 HMES     FORKLIFT         FKL     HMES36301     2002   KMTSU   559761          FG20S     AL          Birmingham
 HMES     FORKLIFT         FKL     HMES36311     2002   KMTSU   559780          FG20S     OH          Columbus
 HMES     FORKLIFT         FKL     HMES36324     2002   KMTSU   559783          FG20S     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES36325     2002   KMTSU   559791          FG20S     MN          Owatonna
 HMES     FORKLIFT         FKL     HMES36326     2002   KMTSU   559778          FG20S     IL          Joliet
 HMES     FORKLIFT         FKL     HMES36502     2003   NSSMT   E728997         CPJ02     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES36507     2002   NSSMT   CPJ029W1874     50        AL          Birmingham
 HMES     FORKLIFT         FKL     HMES36513     2002   NSSMT   CPJ029W1857     CPJ02     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES36522     2003   NSSMT   CPJ029W4803     CABLE     KS          Kansas City
 HMES     FORKLIFT         FKL     HMES36525     2003   NSSMT   CPJ029W4804     CABLE     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES36527     2003   NSSMT   CPJ029W4626     CABLE     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES36529     2003   NSSMT   CPJ029W4642     FORKL     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES36530     2003   NSSMT   CPL029P0596     50        IL          Edwardsville
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 67 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES36600     2016   NSSMT   9W21832         NA        CO          Colorado Springs
 HMES     FORKLIFT         FKL     HMES37600     2017   NSSMT   9W25306         NA        CO          Aurora
 HMES     FORKLIFT         FKL     HMES37601     2007   NSSMT   9P1559          NA        CO          Aurora
 HMES     FORKLIFT         FKL     HMES60041     2000   MTSBS   AF82C03444      FGC25     IL          Joliet
 HMES     FORKLIFT         FKL     HMES60043     2000   MTSBS   AF82C03447      FGC25     MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES60045     2000   MTSBS   AF82C03450      FGC25     MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES60056     2000   MTSBS   AF82C03451      FGC25     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES60063     2000   MTSBS   AF82C03480      FGC20     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES60067     2000   MTSBS   AF82C03477      FGC20     TN          Nashville
 HMES     FORKLIFT         FKL     HMES61001     2011   TOYOT   8FGCU25‐34657   FGCU2     TN          Memphis
 HMES     FORKLIFT         FKL     HMES61002     2011   TOYOT   8FGCU25‐34893   FGCU2     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES61003     2011   TOYOT   8FGCU25‐34925   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61004     2011   TOYOT   8FGCU25‐34928   FGCU2     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES61005     2011   TOYOT   8FGCU25‐34930   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61006     2011   TOYOT   8FGCU25‐34932   FGCU2     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES61007     2011   TOYOT   8FGCU25‐34961   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61008     2011   TOYOT   8FGCU25‐35963   FGCU2     OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES61009     2011   TOYOT   8FGCU25‐34967   FGCU2     OH          Dayton
 HMES     FORKLIFT         FKL     HMES61010     2011   TOYOT   8FGCU25‐35002   FGCU2     OH          Dayton
 HMES     FORKLIFT         FKL     HMES61011     2011   TOYOT   8FGCU25‐35004   FGCU2     OH          Dayton
 HMES     FORKLIFT         FKL     HMES61012     2011   TOYOT   8FGCU25‐35014   FGCU2     CA          Bloomington
 HMES     FORKLIFT         FKL     HMES61013     2011   TOYOT   8FGCU25‐35030   FGCU2     MI          Jackson
 HMES     FORKLIFT         FKL     HMES61014     2011   TOYOT   8FGCU25‐35032   FGCU2     OH          North Lima
 HMES     FORKLIFT         FKL     HMES61015     2011   TOYOT   8FGCU25‐35037   FGCU2     OH          North Lima
 HMES     FORKLIFT         FKL     HMES61016     2011   TOYOT   8FGCU25‐35085   FGCU2     CA          Bloomington
 HMES     FORKLIFT         FKL     HMES61017     2011   TOYOT   8FGCU25‐35089   FGCU2     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES61018     2011   TOYOT   8FGCU25‐35091   FGCU2     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES61019     2011   TOYOT   8FGCU25‐35118   FGCU2     MI          Jackson
 HMES     FORKLIFT         FKL     HMES61020     2011   TOYOT   8FGCU25‐35122   FGCU2     MI          Jackson
 HMES     FORKLIFT         FKL     HMES61021     2011   TOYOT   8FGCU25‐35124   FGCU2     MI          Jackson
 HMES     FORKLIFT         FKL     HMES61022     2011   TOYOT   8FGCU25‐35160   FGCU2     MI          Wayland
 HMES     FORKLIFT         FKL     HMES61023     2011   TOYOT   8FGCU25‐35162   FGCU2     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61024     2011   TOYOT   8FGCU25‐35164   FGCU2     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61025     2011   TOYOT   8FGCU25‐35192   FGCU2     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61026     2011   TOYOT   8FGCU25‐35197   FGCU2     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61027     2011   TOYOT   8FGCU25‐35198   8FGCU25   CA          Pomona
 HMES     FORKLIFT         FKL     HMES61028     2011   TOYOT   8FGCU25‐35239   FGCU2     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES61029     2011   TOYOT   8FGCU25‐35241   FGCU2     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES61030     2011   TOYOT   8FGCU25‐35242   FGCU2     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES61031     2011   TOYOT   8FGCU25‐35275   FGCU2     KY          Lexington
 HMES     FORKLIFT         FKL     HMES61032     2011   TOYOT   8FGCU25‐35280   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61033     2011   TOYOT   8FGCU25‐35283   FGCU2     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61034     2011   TOYOT   8FGCU25‐35305   FGCU2     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61035     2011   TOYOT   8FGCU25‐35309   FGCU2     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61036     2011   TOYOT   8FGCU25‐35310   FGCU2     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61037     2011   TOYOT   8FGCU25‐35343   FGCU2     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61038     2011   TOYOT   8FGCU25‐35344   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61039     2011   TOYOT   8FGCU25‐35346   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61040     2011   TOYOT   8FGCU25‐35378   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61041     2011   TOYOT   8FGCU25‐35380   FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61042     2011   TOYOT   8FGCU25‐35385   FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61043     2011   TOYOT   8FGCU25‐35421   FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61044     2011   TOYOT   8FGCU25‐35424   FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES61045     2011   TOYOT   8FGCU25‐35431   FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES61046     2011   TOYOT   8FGCU25‐35455   FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES61047     2011   TOYOT   8FGCU25‐35459   FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61048     2011   TOYOT   8FGCU25‐35460   FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61049     2011   TOYOT   8FGCU25‐35494   FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61050     2011   TOYOT   8FGCU25‐35496   FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61051     2011   TOYOT   8FGCU25‐35497   FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61052     2011   TOYOT   8FGCU25‐35537   FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL     HMES61053     2011   TOYOT   8FGCU25‐35539   FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL     HMES61054     2011   TOYOT   8FGCU25‐35540   FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL     HMES61055     2011   TOYOT   8FGCU25‐35569   FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL     HMES61056     2011   TOYOT   8FGCU25‐35571   FGCU2     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES61057     2011   TOYOT   8FGCU25‐35582   FGCU2     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES61058     2011   TOYOT   8FGCU25‐36322   FGCU2     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES61059     2011   TOYOT   8FGCU25‐36324   FGCU2     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES61060     2011   TOYOT   8FGCU25‐36293   FGCU2     IL          Edwardsville
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 68 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES61061     2011   TOYOT   8FGCU25‐35612   FGCU2     WI          Tomah
 HMES     FORKLIFT         FKL     HMES61062     2011   TOYOT   8FGCU25‐35615   FGCU2     WI          Tomah
 HMES     FORKLIFT         FKL     HMES61063     2011   TOYOT   8FGCU25‐35616   FGCU2     WI          Tomah
 HMES     FORKLIFT         FKL     HMES61064     2011   TOYOT   8FGCU25‐35650   FGCU2     WI          Tomah
 HMES     FORKLIFT         FKL     HMES61065     2011   TOYOT   8FGCU25‐35652   FGCU2     WI          Tomah
 HMES     FORKLIFT         FKL     HMES61066     2011   TOYOT   8FGCU25‐35654   FGCU2     TN          Memphis
 HMES     FORKLIFT         FKL     HMES61067     2011   TOYOT   8FGCU25‐35676   FGCU2     MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES61068     2011   TOYOT   8FGCU25‐35677   FGCU2     MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES61069     2011   TOYOT   8FGCU25‐35681   FGCU2     MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES61070     2011   TOYOT   8FGCU25‐35704   FGCU2     TN          Nashville
 HMES     FORKLIFT         FKL     HMES61072     2011   TOYOT   8FGCU25‐35708   FGCU2     OH          North Lima
 HMES     FORKLIFT         FKL     HMES61073     2011   TOYOT   8FGCU25‐35731   FGCU2     CA          Bloomington
 HMES     FORKLIFT         FKL     HMES61074     2011   TOYOT   8FGCU25‐35733   FGCU2     OH          North Lima
 HMES     FORKLIFT         FKL     HMES61075     2011   TOYOT   8FGCU25‐35734   FGCU2     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61076     2011   TOYOT   8FGCU25‐35766   FGCU2     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES61077     2011   TOYOT   8FGCU25‐35768   FGCU2     MI          Jackson
 HMES     FORKLIFT         FKL     HMES61078     2011   TOYOT   8FGCU25‐35770   FGCU2     MI          Jackson
 HMES     FORKLIFT         FKL     HMES61079     2011   TOYOT   8FGCU25‐35807   FGCU2     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61080     2011   TOYOT   8FGCU25‐35806   FGCU2     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61081     2011   TOYOT   8FGCU25‐35810   FGCU2     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61083     2011   TOYOT   8FGCU25‐35836   FGCU2     IL          Danville
 HMES     FORKLIFT         FKL     HMES61084     2011   TOYOT   8FGCU25‐35840   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61085     2011   TOYOT   8FGCU25‐35866   FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61086     2011   TOYOT   8FGCU25‐35868   FGCU2     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES61088     2011   TOYOT   8FGCU25‐35895   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61089     2011   TOYOT   8FGCU25‐35898   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61090     2011   TOYOT   8FGCU25‐35924   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61092     2011   TOYOT   8FGCU25‐35932   FGCU2     CA          Fontana
 HMES     FORKLIFT         FKL     HMES61093     2011   TOYOT   8FGCU25‐35930   FGCU2     CO          Aurora
 HMES     FORKLIFT         FKL     HMES61094     2011   TOYOT   8FGCU25‐35962   FGCU2     CO          Aurora
 HMES     FORKLIFT         FKL     HMES61095     2011   TOYOT   8FGCU25‐35968   FGCU2     CA          Tracy
 HMES     FORKLIFT         FKL     HMES61096     2011   TOYOT   8FGCU25‐35974   FGCU2     KY          Lexington
 HMES     FORKLIFT         FKL     HMES61097     2011   TOYOT   8FGCU25‐36000   FGCU2     MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES61098     2011   TOYOT   8FGCU25‐36002   FGCU2     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES61099     2011   TOYOT   8FGCU25‐36003   FGCU2     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES61101     2011   TOYOT   8FGCU25‐36033   FGCU2     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61102     2011   TOYOT   8FGCU25‐36036   FGCU2     CA          Bloomington
 HMES     FORKLIFT         FKL     HMES61103     2011   TOYOT   8FGCU25‐36062   FGCU2     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61104     2011   TOYOT   8FGCU25‐36063   FGCU2     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61105     2011   TOYOT   8FGCU25‐36066   FGCU2     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61106     2011   TOYOT   8FGCU25‐36096   FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61107     2011   TOYOT   8FGCU25‐36097   FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61108     2011   TOYOT   8FGCU25‐36104   FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61109     2011   TOYOT   8FGCU25‐36129   FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61110     2011   TOYOT   8FGCU25‐36137   FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61111     2011   TOYOT   8FGCU25‐36139   FGCU2     KY          Lexington
 HMES     FORKLIFT         FKL     HMES61112     2011   TOYOT   8FGCU25‐36165   FGCU2     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61113     2011   TOYOT   8FGCU25‐36170   FGCU2     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES61114     2011   TOYOT   8FGCU25‐36172   FGCU2     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES61115     2011   TOYOT   8FGCU25‐36187   FGCU2     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES61116     2011   TOYOT   8FGCU25‐36190   FGCU2     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES61117     2011   TOYOT   8FGCU25‐36192   FGCU2     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES61118     2011   TOYOT   8FGCU25‐36224   FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL     HMES61119     2011   TOYOT   8FGCU25‐36227   FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL     HMES61121     2011   TOYOT   8FGCU25‐36263   FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES61122     2011   TOYOT   8FGCU25‐36265   FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES61123     2011   TOYOT   8FGCU25‐36266   FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES61124     2011   TOYOT   8FGCU25‐36296   FGCU2     KY          Lexington
 HMES     FORKLIFT         FKL     HMES61125     2011   TOYOT   8FGCU25‐36300   FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL     HMES61400     2007   TOYOT   8FGCU25‐14011   FGCU2     NM          Albuquerque
 HMES     FORKLIFT         FKL     HMES61600     2016   TOYOT   8FGCU25‐80990   FKL       WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61601     2016   TOYOT   8FGCU25‐80984   FKL 0     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61602     2016   TOYOT   8FGCU25‐80565   FKL       WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61603     2016   TOYOT   8FGCU25‐80576   FKL 0     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61604     2016   TOYOT   8FGCU25‐80621   FKL 0     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61605     2016   TOYOT   8FGCU25‐80625   FKL 0     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61606     2016   TOYOT   8FGCU25‐80677   FKL 0     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61607     2016   TOYOT   8FGCU25‐80684   FKL 0     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61608     2016   TOYOT   8FGCU25‐80749   FKL 0     WI          Milwaukee
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 69 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES61609     2016   TOYOT   8FGCU25‐80757   FKL 0     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES61610     2016   TOYOT   8FGCU25‐80777   FKL       IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES61611     2016   TOYOT   8FGCU25‐80814   FKL       WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61612     2016   TOYOT   8FGCU25‐80784   FKL       MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES61613     2016   TOYOT   8FGCU25‐80880   FKL       MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES61614     2016   TOYOT   8FGCU25‐80821   FKL       MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES61615     2016   TOYOT   8FGCU25‐80846   FKL       TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61616     2016   TOYOT   8FGCU25‐80854   FKL       TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61617     2016   TOYOT   8FGCU25‐80886   FKL       TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61618     2016   TOYOT   8FGCU25‐80908   FKL       TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61619     2016   TOYOT   8FGCU25‐80913   FKL       TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61620     2016   TOYOT   8FGCU25‐80945   FKL       TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61621     2016   TOYOT   8FGCU25‐80947   8FGCU25   TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61622     2016   TOYOT   8FGCU25‐81009   FKL       TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61623     2016   TOYOT   8FGCU25‐81017   FKL 0     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61624     2016   TOYOT   8FGCU25‐80594   FKL 0     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61625     2016   TOYOT   8FGCU25‐80606   FKL 0     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61626     2016   TOYOT   8FGCU25‐80645   FKL 0     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61627     2016   TOYOT   8FGCU25‐80656   8FGCU25   TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61628     2016   TOYOT   8FGCU25‐80721   FKL       TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61629     2016   TOYOT   8FGCU25‐80719   FKL       IL          Rock Island
 HMES     FORKLIFT         FKL     HMES61630     2016   TOYOT   8FGCU25‐79861   FKL 0     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61631     2016   TOYOT   8FGCU25‐80084   FKL 0     OH          Columbus
 HMES     FORKLIFT         FKL     HMES61636     2016   TOYOT   8FGCU25‐80239   FKL 0     MI          Wayland
 HMES     FORKLIFT         FKL     HMES61637     2016   TOYOT   8FGCU25‐80276   FKL 0     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61638     2016   TOYOT   8FGCU25‐80311   FKL 0     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61639     2016   TOYOT   8FGCU25‐80334   FKL 0     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61640     2016   TOYOT   8FGCU25‐80365   FKL       TN          Knoxville
 HMES     FORKLIFT         FKL     HMES61641     2016   TOYOT   8FGCU25‐80392   FKL 0     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES61642     2016   TOYOT   8FGCU25‐80425   FKL       IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES61643     2016   TOYOT   8FGCU25‐80457   FKL 0     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61644     2016   TOYOT   8FGCU25‐80493   FKL 0     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61645     2016   TOYOT   8FGCU25‐80687   FKL 0     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES61646     2016   TOYOT   8FGCU25‐81353   FKL 0     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61647     2016   TOYOT   8FGCU25‐81412   FKL       MI          Gaylord
 HMES     FORKLIFT         FKL     HMES61648     2016   TOYOT   8FGCU25‐81387   FKL 0     OH          Columbus
 HMES     FORKLIFT         FKL     HMES61649     2016   TOYOT   8FGCU25‐81418   FKL       OH          Dayton
 HMES     FORKLIFT         FKL     HMES61650     2016   TOYOT   8FGCU25‐81419   FKL       OH          Dayton
 HMES     FORKLIFT         FKL     HMES61651     2016   TOYOT   8FGCU25‐81443   FKL 0     IN          Evansville
 HMES     FORKLIFT         FKL     HMES61652     2016   TOYOT   8FGCU25‐81460   FKL 0     IN          Evansville
 HMES     FORKLIFT         FKL     HMES61653     2016   TOYOT   8FGCU25‐81469   FKL 0     IN          Evansville
 HMES     FORKLIFT         FKL     HMES61654     2016   TOYOT   8FGCU25‐81471   FKL 0     IN          Evansville
 HMES     FORKLIFT         FKL     HMES61655     2016   TOYOT   8FGCU25‐81483   FKL 0     IN          Evansville
 HMES     FORKLIFT         FKL     HMES61656     2016   TOYOT   8FGCU25‐81489   FKL 0     MI          Wayland
 HMES     FORKLIFT         FKL     HMES61657     2016   TOYOT   8FGCU25‐81491   FKL 0     MI          Wayland
 HMES     FORKLIFT         FKL     HMES61658     2016   TOYOT   8FGCU25‐81513   FKL 0     MI          Wayland
 HMES     FORKLIFT         FKL     HMES61659     2016   TOYOT   8FGCU25‐81532   FKL 0     MI          Gaylord
 HMES     FORKLIFT         FKL     HMES61660     2016   TOYOT   8FGCU25‐81515   FKL 0     MI          Wayland
 HMES     FORKLIFT         FKL     HMES61661     2016   TOYOT   8FGCU25‐81547   FKL 0     MI          Wayland
 HMES     FORKLIFT         FKL     HMES61662     2016   TOYOT   8FGCU25‐81552   FKL       MI          Gaylord
 HMES     FORKLIFT         FKL     HMES61663     2016   TOYOT   8FGCU25‐81558   FKL       MI          Gaylord
 HMES     FORKLIFT         FKL     HMES61664     2016   TOYOT   8FGCU25‐81579   FKL 0     OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES61665     2016   TOYOT   8FGCU25‐81594   FKL 0     OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES61666     2016   TOYOT   8FGCU25‐81598   FKL 0     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61667     2016   TOYOT   8FGCU25‐81604   FKL 0     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61668     2016   TOYOT   8FGCU25‐81606   FKL 0     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61669     2016   TOYOT   8FGCU25‐81622   FKL 0     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61670     2016   TOYOT   8FGCU25‐81632   FKL 0     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES61671     2016   TOYOT   8FGCU25‐81641   FKL 0     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES61672     2016   TOYOT   8FGCU25‐81638   FKL 0     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES61673     2016   TOYOT   8FGCU25‐81661   FKL 0     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES61674     2016   TOYOT   8FGCU25‐81664   FKL 0     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES61675     2016   TOYOT   8FGCU25‐81669   FKL       IL          Atlanta
 HMES     FORKLIFT         FKL     HMES61676     2016   TOYOT   8FGCU25‐81705   FKL 0     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES61677     2016   TOYOT   8FGCU25‐81694   FKL       IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES61678     2016   TOYOT   8FGCU25‐81700   FKL       IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61679     2016   TOYOT   8FGCU25‐81713   FKL 0     IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES61680     2016   TOYOT   8FGCU25‐81715   FKL       IL          Rockford
 HMES     FORKLIFT         FKL     HMES61681     2016   TOYOT   8FGCU25‐81722   FKL 0     IL          Rockford
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 70 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES61682     2016   TOYOT   8FGCU25‐81740   FKL 0     IL          Rockford
 HMES     FORKLIFT         FKL     HMES61683     2016   TOYOT   8FGCU25‐81745   FKL 0     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61684     2016   TOYOT   8FGCU25‐81748   FKL 0     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61685     2016   TOYOT   8FGCU25‐81788   FKL       MO          Baxter Springs
 HMES     FORKLIFT         FKL     HMES61686     2016   TOYOT   8FGCU25‐81791   FKL       MO          Strafford
 HMES     FORKLIFT         FKL     HMES61687     2016   TOYOT   8FGCU25‐81794   FKL 0     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES61688     2016   TOYOT   8FGCU25‐81812   FKL 0     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES61689     2016   TOYOT   8FGCU25‐81819   FKL 0     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES61850     2018   TOYOT   8FGCU25‐97429   FGC25     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61851     2018   TOYOT   8FGCU25‐97463   FGC25     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61852     2018   TOYOT   8FGCU25‐97474   FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES61853     2018   TOYOT   8FGCU25‐97498   FGC25     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES61854     2018   TOYOT   8FGCU25‐97505   FGC25     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61855     2018   TOYOT   8FGCU25‐97519   FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES61856     2018   TOYOT   8FGCU25‐97521   FGC25     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES61857     2018   TOYOT   8FGCU25‐97563   FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES61858     2018   TOYOT   8FGCU25‐97566   FGC25     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61859     2018   TOYOT   8FGCU25‐97600   FGC25     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES61860     2018   TOYOT   8FGCU25‐97608   FGC25     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61861     2018   TOYOT   8FGCU25‐97651   FGC25     MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES61862     2018   TOYOT   8FGCU25‐97684   FGC25     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES61863     2018   TOYOT   8FGCU25‐97037   FGC25     IL          Rockford
 HMES     FORKLIFT         FKL     HMES61864     2018   TOYOT   8FGCU25‐97082   FGC25     NY          Williamsville
 HMES     FORKLIFT         FKL     HMES61865     2018   TOYOT   8FGCU25‐97096   FGC25     OH          Dayton
 HMES     FORKLIFT         FKL     HMES61866     2018   TOYOT   8FGCU25‐97147   FGC25     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES61867     2018   TOYOT   8FGCU25‐97149   FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES61868     2018   TOYOT   8FGCU25‐97153   FGC25     AL          Birmingham
 HMES     FORKLIFT         FKL     HMES61869     2018   TOYOT   8FGCU25‐97189   FGC25     OH          Dayton
 HMES     FORKLIFT         FKL     HMES61870     2018   TOYOT   8FGCU25‐97186   FGC25     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61871     2018   TOYOT   8FGCU25‐97198   FGC25     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES61872     2018   TOYOT   8FGCU25‐97200   FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61873     2018   TOYOT   8FGCU25‐97237   FGC25     MI          Romulus
 HMES     FORKLIFT         FKL     HMES61874     2018   TOYOT   8FGCU25‐97240   FGC25     IL          Danville
 HMES     FORKLIFT         FKL     HMES61875     2018   TOYOT   8FGCU25‐97244   FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61876     2018   TOYOT   8FGCU25‐97247   FGC25     MI          Jackson
 HMES     FORKLIFT         FKL     HMES61877     2018   TOYOT   8FGCU25‐97256   FGC25     OH          Dayton
 HMES     FORKLIFT         FKL     HMES61878     2018   TOYOT   8FGCU25‐97298   8GC25     OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES61879     2018   TOYOT   8FGCU25‐97306   FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES61880     2018   TOYOT   8FGCU25‐93718   FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61881     2018   TOYOT   8FGCU25‐97330   FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61882     2018   TOYOT   8FGCU25‐97338   FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES61883     2018   TOYOT   8FGCU25‐97354   FGC25     KS          Kansas City
 HMES     FORKLIFT         FKL     HMES61884     2018   TOYOT   8FGCU25‐97364   FGC25     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61885     2018   TOYOT   8FGCU25‐97368   FGC25     IN          Evansville
 HMES     FORKLIFT         FKL     HMES61886     2018   TOYOT   8FGCU25‐97384   FGC25     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES61887     2018   TOYOT   8FGCU25‐97396   FGC25     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES61888     2018   TOYOT   8FGCU25‐97413   FGC25     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES61889     2018   TOYOT   8FGCU25‐97416   FGC25     IL          Danville
 HMES     FORKLIFT         FKL     HMES61890     2018   TOYOT   8FGCU25‐97420   FGC25     IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES61891     2018   TOYOT   8FGCU25‐97424   FGC25     IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES61892     2018   TOYOT   8FGCU25‐97487   FGC25     IL          Rockford
 HMES     FORKLIFT         FKL     HMES61893     2018   TOYOT   8FGCU25‐97450   FGC25     IL          Rockford
 HMES     FORKLIFT         FKL     HMES61894     2018   TOYOT   8FGCU25‐97455   FGC25     IL          Joliet
 HMES     FORKLIFT         FKL     HMES61895     2018   TOYOT   8FGCU25‐97459   FGC25     MO          Baxter Springs
 HMES     FORKLIFT         FKL     HMES61896     2018   TOYOT   8FGCU25‐97489   FGC25     IL          Rockford
 HMES     FORKLIFT         FKL     HMES61897     2018   TOYOT   8FGCU25‐97491   FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61898     2018   TOYOT   8FGCU25‐97515   FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES61899     2018   TOYOT   8FGCU25‐97560   FGC25     MO          Strafford
 HMES     FORKLIFT         FKL     HMES62009     2002   MTSBS   AF82C05772      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES62011     2002   MTSBS   AF82C05774      FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES62012     2002   MTSBS   AF82C05790      FGC20     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62013     2002   MTSBS   AF82C05791      FGC20     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62015     2002   MTSBS   AF82C05793      FGC20     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62016     2002   MTSBS   AF82C05794      FGC20     UT          Salt Lake City
 HMES     FORKLIFT         FKL     HMES62017     2002   MTSBS   AF82C05795      FGC20     AZ          Phoenix
 HMES     FORKLIFT         FKL     HMES62018     2002   MTSBS   AF82C05796      FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES62027     2002   MTSBS   AF82C05805      FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES62030     2002   MTSBS   AF82C05808      FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES62032     2002   MTSBS   AF82C05810      FGC20     OH          Brooklyn
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 71 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES62038     2002   MTSBS   AF82C05816      FGC20     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62045     2002   TOYOT   7FGCU25‐78073   FGCU2     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES62101     2002   KMTSU   558831A         FG20S     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62106     2002   TOYOT   7FGCU25‐74679   7FGCU     UT          Salt Lake City
 HMES     FORKLIFT         FKL     HMES62108     2002   TOYOT   7FGCU25‐74804   FGCU2     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES62111     2020   TOYOT   8FGCU25‐C4677   8FGCU     OH          Akron
 HMES     FORKLIFT         FKL     HMES62112     2020   TOYOT   8FGCU25‐C5097   8FGCU     OH          Akron
 HMES     FORKLIFT         FKL     HMES62113     2020   TOYOT   8FGCU25‐C5098   8FGCU     AL          Birmingham
 HMES     FORKLIFT         FKL     HMES62114     2020   TOYOT   8FGCU25‐C5117   8FGCU     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES62115     2020   TOYOT   8FGCU25‐C5119   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62116     2020   TOYOT   8FGCU25‐C5123   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62117     2020   TOYOT   8FGCU25‐C5160   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62118     2020   TOYOT   8FGCU25‐C5172   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62119     2020   TOYOT   8FGCU25‐C5216   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62120     2020   TOYOT   8FGCU25‐C5219   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62121     2020   TOYOT   8FGCU25‐C5794   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62122     2020   TOYOT   8FGCU25‐C5823   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62123     2020   TOYOT   8FGCU25‐C5845   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62124     2020   TOYOT   8FGCU25‐C5847   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62125     2020   TOYOT   8FGCU25‐C5848   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62126     2020   TOYOT   8FGCU25‐C5850   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62127     2020   TOYOT   8FGCU25‐C5882   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62128     2020   TOYOT   8FGCU25‐C5884   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62129     2020   TOYOT   8FGCU25‐C5886   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62130     2020   TOYOT   8FGCU25‐C5888   8FGCU     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62131     2020   TOYOT   8FGCU25‐C5907   8FGCU     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES62132     2020   TOYOT   8FGCU25‐C5909   8FGCU     OH          Columbus
 HMES     FORKLIFT         FKL     HMES62133     2020   TOYOT   8FGCU25‐C5910   8FGCU     IL          Danville
 HMES     FORKLIFT         FKL     HMES62134     2020   TOYOT   8FGCU25‐C5912   8FGCU     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES62135     2020   TOYOT   8FGCU25‐C5914   8FGCU     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES62136     2020   TOYOT   8FGCU25‐C5954   8FGCU     IL          Joliet
 HMES     FORKLIFT         FKL     HMES62137     2020   TOYOT   8FGCU25‐C5955   8FGCU     MO          Baxter Springs
 HMES     FORKLIFT         FKL     HMES62138     2020   TOYOT   8FGCU25‐C5957   8FGCU     MO          Baxter Springs
 HMES     FORKLIFT         FKL     HMES62139     2020   TOYOT   8FGCU25‐C5958   8FGCU     KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62140     2020   TOYOT   8FGCU25‐C5960   8FGCU     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES62141     2020   TOYOT   8FGCU25‐C5982   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES62142     2020   TOYOT   8FGCU25‐C5987   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES62143     2020   TOYOT   8FGCU25‐C5993   8FGCU     TN          Memphis
 HMES     FORKLIFT         FKL     HMES62144     2020   TOYOT   8FGCU25‐C5999   8FGCU     IL          Rockford
 HMES     FORKLIFT         FKL     HMES62145     2020   TOYOT   8FGCU25‐C6001   8FGCU     IL          Rockford
 HMES     FORKLIFT         FKL     HMES62146     2020   TOYOT   8FGCU25‐C6003   8FGCU     IN          South Bend
 HMES     FORKLIFT         FKL     HMES62147     2020   TOYOT   8FGCU25‐C6010   8FGCU     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES62148     2020   TOYOT   8FGCU25‐C6014   8FGCU     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES62149     2020   TOYOT   8FGCU25‐C6018   8FGCU     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES62150     2020   TOYOT   8FGCU25‐C6020   8FGCU     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES62151     2021   MTSBS   AF82F49392      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62152     2021   MTSBS   AF82F49399      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62153     2021   MTSBS   AF82F49286      FGC25N4   GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES62154     2021   MTSBS   AF82F49296      FGC25N4   GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES62155     2021   MTSBS   AF82F49358      FGC25N4   SC          West Columbia
 HMES     FORKLIFT         FKL     HMES62156     2021   MTSBS   AF82F49359      FGC25N4   SC          West Columbia
 HMES     FORKLIFT         FKL     HMES62157     2021   MTSBS   AF82F49388      FGC25N4   SC          West Columbia
 HMES     FORKLIFT         FKL     HMES62158     2021   MTSBS   AF82F49282      FGC25N4   NC          Charlotte
 HMES     FORKLIFT         FKL     HMES62159     2021   MTSBS   AF82F49343      FGC25N4   NC          Charlotte
 HMES     FORKLIFT         FKL     HMES62160     2021   MTSBS   AF82F49288      FGC25N4   NC          Charlotte
 HMES     FORKLIFT         FKL     HMES62161     2021   MTSBS   AF82F49364      FGC25N4   GA          Ringgold
 HMES     FORKLIFT         FKL     HMES62162     2021   MTSBS   AF82F49283      FGC25N4   MI          Jackson
 HMES     FORKLIFT         FKL     HMES62163     2021   MTSBS   AF82F49394      FGC25N4   MI          Jackson
 HMES     FORKLIFT         FKL     HMES62164     2021   MTSBS   AF82F49391      FGC25N4   IL          Joliet
 HMES     FORKLIFT         FKL     HMES62165     2021   MTSBS   AF82F49298      FGC25N4   IL          Joliet
 HMES     FORKLIFT         FKL     HMES62166     2021   MTSBS   AF82F49277      FGC25N4   IL          Joliet
 HMES     FORKLIFT         FKL     HMES62167     2021   MTSBS   AF82F49389      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62168     2021   MTSBS   AF82F49387      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62169     2021   MTSBS   AF82F49366      FGC25N4   MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES62170     2021   MTSBS   AF82F49295      FGC25N4   IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES62171     2021   MTSBS   AF82F49371      FGC25N4   IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES62172     2021   MTSBS   AF82F49807      FGC25N4   IL          Rockford
 HMES     FORKLIFT         FKL     HMES62173     2021   MTSBS   AF82F49402      FGC25N4   IL          Rockford
 HMES     FORKLIFT         FKL     HMES62174     2021   MTSBS   AF82F49381      FGC25N4   IL          Rock Island
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 72 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES62175     2021   MTSBS   AF82F49279      FGC25N4   IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES62176     2021   MTSBS   AF82F49356      FGC25N4   NC          Raleigh
 HMES     FORKLIFT         FKL     HMES62177     2021   MTSBS   AF82F49390      FGC25N4   NC          Raleigh
 HMES     FORKLIFT         FKL     HMES62178     2021   MTSBS   AF82F49367      FGC25N4   NC          Raleigh
 HMES     FORKLIFT         FKL     HMES62179     2021   MTSBS   AF82F49287      FGC25N4   NC          Raleigh
 HMES     FORKLIFT         FKL     HMES62180     2021   MTSBS   AF82F49262      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62181     2021   MTSBS   AF82F49339      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62182     2021   MTSBS   AF82F49274      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62183     2021   MTSBS   AF82F49398      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62184     2021   MTSBS   AF82F49424      FGC25N4   OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES62185     2021   MTSBS   AF82F49425      FGC25N4   OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES62186     2021   MTSBS   AF82F49281      FGC25N4   OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES62187     2021   MTSBS   AF82F49276      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62188     2021   MTSBS   AF82F49357      FGC25N4   IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES62189     2021   MTSBS   AF82F49375      FGC25N4   OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES62190     2021   MTSBS   AF82F49472      FGC25N4   OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES62191     2021   MTSBS   AF82F49647      FGC25N4   NY          Williamsville
 HMES     FORKLIFT         FKL     HMES62192     2021   MTSBS   AF82F49474      FGC25N4   NY          Williamsville
 HMES     FORKLIFT         FKL     HMES62193     2021   MTSBS   AF82F49473      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62194     2021   MTSBS   AF82F49396      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62195     2021   MTSBS   AF82F49446      FGC25N4   WI          Neenah
 HMES     FORKLIFT         FKL     HMES62196     2021   MTSBS   AF82F49476      FGC25N4   IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES62197     2021   MTSBS   AF82F49490      FGC25N4   WI          Neenah
 HMES     FORKLIFT         FKL     HMES62198     2021   MTSBS   AF82F49468      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62199     2021   MTSBS   AF82F49644      FGC25N4   MI          Birch Run
 HMES     FORKLIFT         FKL     HMES62200     2021   MTSBS   AF82F49360      FGC25N4   MI          Birch Run
 HMES     FORKLIFT         FKL     HMES62201     2021   MTSBS   AF82F49477      FGC25N4   OH          Akron
 HMES     FORKLIFT         FKL     HMES62202     2021   MTSBS   AF82F49465      FGC25N4   NY          Williamsville
 HMES     FORKLIFT         FKL     HMES62203     2021   MTSBS   AF82F49486      FGC25N4   NC          Charlotte
 HMES     FORKLIFT         FKL     HMES62204     2021   MTSBS   AF82F49466      FGC25N4   NC          Charlotte
 HMES     FORKLIFT         FKL     HMES62205     2021   MTSBS   AF82F49487      FGC25N4   NC          Charlotte
 HMES     FORKLIFT         FKL     HMES62206     2021   MTSBS   AF82F49506      FGC25N4   OH          Columbus
 HMES     FORKLIFT         FKL     HMES62207     2021   MTSBS   AF82F49603      FGC25N4   OH          Columbus
 HMES     FORKLIFT         FKL     HMES62208     2021   MTSBS   AF82F49600      FGC25N4   OH          Columbus
 HMES     FORKLIFT         FKL     HMES62209     2021   MTSBS   AF82F49369      FGC25N4   OH          Columbus
 HMES     FORKLIFT         FKL     HMES62210     2021   MTSBS   AF82F49488      FGC25N4   OH          Columbus
 HMES     FORKLIFT         FKL     HMES62211     2021   MTSBS   AF82F49507      FGC25N4   GA          Ringgold
 HMES     FORKLIFT         FKL     HMES62212     2021   MTSBS   AF82F49508      FGC25N4   GA          Ringgold
 HMES     FORKLIFT         FKL     HMES62213     2021   MTSBS   AF82F49604      FGC25N4   GA          Ringgold
 HMES     FORKLIFT         FKL     HMES62214     2021   MTSBS   AF82F49368      FGC25N4   OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES62215     2021   MTSBS   AF82F49489      FGC25N4   OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES62216     2021   MTSBS   AF82F49467      FGC25N4   OH          Dayton
 HMES     FORKLIFT         FKL     HMES62217     2021   MTSBS   AF82F49445      FGC25N4   OH          Dayton
 HMES     FORKLIFT         FKL     HMES62218     2021   MTSBS   AF82F49475      FGC25N4   OH          Dayton
 HMES     FORKLIFT         FKL     HMES62219     2021   MTSBS   AF82F49491      FGC25N4   IL          Danville
 HMES     FORKLIFT         FKL     HMES62220     2021   MTSBS   AF82F49437      FGC25N4   AL          Decatur
 HMES     FORKLIFT         FKL     HMES62221     2021   MTSBS   AF82F49431      FGC25N4   AL          Decatur
 HMES     FORKLIFT         FKL     HMES62222     2021   MTSBS   AF82F49479      FGC25N4   AL          Decatur
 HMES     FORKLIFT         FKL     HMES62223     2021   MTSBS   AF82F49599      FGC25N4   AL          Decatur
 HMES     FORKLIFT         FKL     HMES62224     2021   MTSBS   AF82F49605      FGC25N4   IN          Evansville
 HMES     FORKLIFT         FKL     HMES62225     2021   MTSBS   AF82F49469      FGC25N4   IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES62226     2021   MTSBS   AF82F49432      FGC25N4   NC          Kernersville
 HMES     FORKLIFT         FKL     HMES62227     2021   MTSBS   AF82F49434      FGC25N4   NC          Kernersville
 HMES     FORKLIFT         FKL     HMES62228     2021   MTSBS   AF82F49606      FGC25N4   NC          Kernersville
 HMES     FORKLIFT         FKL     HMES62229     2021   MTSBS   AF82F49444      FGC25N4   NC          Kernersville
 HMES     FORKLIFT         FKL     HMES62230     2021   MTSBS   AF82F49433      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62231     2021   MTSBS   AF82F49447      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62232     2021   MTSBS   AF82F49428      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62233     2021   MTSBS   AF82F49470      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62234     2021   MTSBS   AF82F49443      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62235     2021   MTSBS   AF82F49429      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62236     2021   MTSBS   AF82F49440      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62237     2021   MTSBS   AF82F49441      FGC25N4   MI          Jackson
 HMES     FORKLIFT         FKL     HMES62238     2021   MTSBS   AF82F49568      FGC25N4   MI          Jackson
 HMES     FORKLIFT         FKL     HMES62239     2021   MTSBS   AF82F49679      FGC25N4   MI          Jackson
 HMES     FORKLIFT         FKL     HMES62240     2021   MTSBS   AF82F49653      FGC25N4   MI          Jackson
 HMES     FORKLIFT         FKL     HMES62241     2021   MTSBS   AF82F49539      FGC25N4   MI          Jackson
 HMES     FORKLIFT         FKL     HMES62242     2021   MTSBS   AF82F49654      FGC25N4   IL          Joliet
 HMES     FORKLIFT         FKL     HMES62243     2021   MTSBS   AF82F49430      FGC25N4   IL          Joliet
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 73 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES62244     2021   MTSBS   AF82F49552      FGC25N4   IL          Joliet
 HMES     FORKLIFT         FKL     HMES62245     2021   MTSBS   AF82F49438      FGC25N4   IL          Joliet
 HMES     FORKLIFT         FKL     HMES62246     2021   MTSBS   AF82F49587      FGC25N4   MO          Baxter Springs
 HMES     FORKLIFT         FKL     HMES62247     2021   MTSBS   AF82F49591      FGC25N4   MO          Baxter Springs
 HMES     FORKLIFT         FKL     HMES62248     2021   MTSBS   AF82F49214      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62249     2021   MTSBS   AF82F49243      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62250     2021   MTSBS   AF82F49266      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62251     2021   MTSBS   AF82F49245      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62252     2021   MTSBS   AF82F49246      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62253     2021   MTSBS   AF82F49646      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62254     2021   MTSBS   AF82F49480      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62255     2021   MTSBS   AF82F49748      FGC25N4   MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES62256     2021   MTSBS   AF82F49687      FGC25N4   MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES62257     2021   MTSBS   AF82F49746      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62258     2021   MTSBS   AF82F49685      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62259     2021   MTSBS   AF82F49267      FGC25N4   WI          Neenah
 HMES     FORKLIFT         FKL     HMES62260     2021   MTSBS   AF82F49284      FGC25N4   WI          Neenah
 HMES     FORKLIFT         FKL     HMES62261     2021   MTSBS   AF82F49297      FGC25N4   GA          Ringgold
 HMES     FORKLIFT         FKL     HMES62262     2021   MTSBS   AF82F49285      FGC25N4   GA          Ringgold
 HMES     FORKLIFT         FKL     HMES62263     2021   MTSBS   AF82F49265      FGC25N4   GA          Ringgold
 HMES     FORKLIFT         FKL     HMES62264     2021   MTSBS   AF82F49957      FGC25N4   GA          Ringgold
 HMES     FORKLIFT         FKL     HMES62265     2021   MTSBS   AF82F49678      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62266     2021   MTSBS   AF82F49756      FGC25N4   NC          Raleigh
 HMES     FORKLIFT         FKL     HMES62267     2021   MTSBS   AF82F49686      FGC25N4   IN          South Bend
 HMES     FORKLIFT         FKL     HMES62268     2021   MTSBS   AF82F49668      FGC25N4   IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES62269     2021   MTSBS   AF82F49759      FGC25N4   IL          Rock Island
 HMES     FORKLIFT         FKL     HMES62270     2021   MTSBS   AF82F49814      FGC25N4   IL          Rockford
 HMES     FORKLIFT         FKL     HMES62271     2021   MTSBS   AF82F49757      FGC25N4   IL          Rockford
 HMES     FORKLIFT         FKL     HMES62272     2021   MTSBS   AF82F49811      FGC25N4   IL          Rockford
 HMES     FORKLIFT         FKL     HMES62273     2021   MTSBS   AF82F49515      FGC25N4   IL          Rockford
 HMES     FORKLIFT         FKL     HMES62274     2021   MTSBS   AF82F49755      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62275     2021   MTSBS   AF82F50361      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62276     2021   MTSBS   AF82F50359      FGC25N4   MN          Owatonna
 HMES     FORKLIFT         FKL     HMES62277     2021   MTSBS   AF82F50370      FGC25N4   IN          South Bend
 HMES     FORKLIFT         FKL     HMES62278     2021   MTSBS   AF82F50371      FGC25N4   IN          South Bend
 HMES     FORKLIFT         FKL     HMES62279     2021   MTSBS   AF82F50367      FGC25N4   MO          Strafford
 HMES     FORKLIFT         FKL     HMES62280     2021   MTSBS   AF82F50360      FGC25N4   MO          Strafford
 HMES     FORKLIFT         FKL     HMES62281     2021   MTSBS   AF82F50392      FGC25N4   MO          Strafford
 HMES     FORKLIFT         FKL     HMES62282     2021   MTSBS   AF82F50387      FGC25N4   MO          Sikeston
 HMES     FORKLIFT         FKL     HMES62283     2021   MTSBS   AF82F50365      FGC25N4   IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES62284     2021   MTSBS   AF82F50362      FGC25N4   CA          Bloomington
 HMES     FORKLIFT         FKL     HMES62285     2021   MTSBS   AF82F50368      FGC25N4   SC          Piedmont
 HMES     FORKLIFT         FKL     HMES62286     2021   MTSBS   AF82F50358      FGC25N4   SC          Piedmont
 HMES     FORKLIFT         FKL     HMES62287     2021   MTSBS   AF82F50373      FGC25N4   SC          Piedmont
 HMES     FORKLIFT         FKL     HMES62288     2021   MTSBS   AF82F50293      FGC25N4   WI          Tomah
 HMES     FORKLIFT         FKL     HMES62289     2021   MTSBS   AF82F50389      FGC25N4   WI          Tomah
 HMES     FORKLIFT         FKL     HMES62290     2021   MTSBS   AF82F50369      FGC25N4   WI          Tomah
 HMES     FORKLIFT         FKL     HMES62291     2021   MTSBS   AF82F50185      FGC25N4   OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES62292     2021   MTSBS   AF82F50378      FGC25N4   IL          Wheeling
 HMES     FORKLIFT         FKL     HMES62293     2021   MTSBS   AF82F50372      FGC25N4   IL          Wheeling
 HMES     FORKLIFT         FKL     HMES62294     2021   MTSBS   AF82F50390      FGC25N4   IL          Wheeling
 HMES     FORKLIFT         FKL     HMES62295     2021   MTSBS   AF82F50167      FGC25N4   IL          Wheeling
 HMES     FORKLIFT         FKL     HMES62296     2021   MTSBS   AF82F50391      FGC25N4   WI          Mosinee
 HMES     FORKLIFT         FKL     HMES62297     2021   MTSBS   AF82F50376      FGC25N4   OH          North Lima
 HMES     FORKLIFT         FKL     HMES62298     2021   MTSBS   AF82F50388      FGC25N4   OH          North Lima
 HMES     FORKLIFT         FKL     HMES62299     2021   MTSBS   AF82F50366      FGC25N4   OH          North Lima
 HMES     FORKLIFT         FKL     HMES62300     2021   MTSBS   AF82F50383      FGC25N4   OH          North Lima
 HMES     FORKLIFT         FKL     HMES62301     2021   MTSBS   AF82F50377      FGC25N4   OH          North Lima
 HMES     FORKLIFT         FKL     HMES62302     2021   MTSBS   AF82F50382      FGC25N4   OH          North Lima
 HMES     FORKLIFT         FKL     HMES62303     2021   MTSBS   AF82F50393      FGC25N4   OH          North Lima
 HMES     FORKLIFT         FKL     HMES62304     2021   MTSBS   AF82F50364      FGC25N4   OH          Akron
 HMES     FORKLIFT         FKL     HMES62305     2021   MTSBS   AF82F49967      FGC25N4   OH          Akron
 HMES     FORKLIFT         FKL     HMES62306     2021   MTSBS   AF82F50188      FGC25N4   OH          Akron
 HMES     FORKLIFT         FKL     HMES62307     2021   MTSBS   AF82F50374      FGC25N4   OH          Akron
 HMES     FORKLIFT         FKL     HMES62308     2021   MTSBS   AF82F50375      FGC25N4   AL          Birmingham
 HMES     FORKLIFT         FKL     HMES62309     2021   MTSBS   AF82F50189      FGC25N4   AL          Birmingham
 HMES     FORKLIFT         FKL     HMES62310     2021   MTSBS   AF82F49893      FGC25N4   AL          Birmingham
 HMES     FORKLIFT         FKL     HMES62311     2021   MTSBS   AF82F50176      FGC25N4   SC          West Columbia
 HMES     FORKLIFT         FKL     HMES62312     2021   MTSBS   AF82F50292      FGC25N4   OH          Cincinnati
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 74 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES62313     2021   MTSBS   AF82F50168      FGC25N4   OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES62314     2021   MTSBS   AF82F49974      FGC25N4   OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62315     2021   MTSBS   AF82F49960      FGC25N4   OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62316     2021   MTSBS   AF82F50379      FGC25N4   OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62317     2021   MTSBS   AF82F49844      FGC25N4   OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62318     2021   MTSBS   AF82F50177      FGC25N4   OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62319     2021   MTSBS   AF82F49855      FGC25N4   OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62320     2021   MTSBS   AF82F49854      FGC25N4   OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62321     2021   MTSBS   AF82F50400      FGC25N4   OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES62322     2021   MTSBS   AF82F50291      FGC25N4   NC          Charlotte
 HMES     FORKLIFT         FKL     HMES62323     2021   MTSBS   AF82F50472      FGC25N4   OH          Columbus
 HMES     FORKLIFT         FKL     HMES62324     2021   MTSBS   AF82F50173      FGC25N4   OH          Columbus
 HMES     FORKLIFT         FKL     HMES62325     2021   MTSBS   AF82F50397      FGC25N4   OH          Dayton
 HMES     FORKLIFT         FKL     HMES62326     2021   MTSBS   AF82F50396      FGC25N4   OH          Dayton
 HMES     FORKLIFT         FKL     HMES62327     2021   MTSBS   AF82F50166      FGC25N4   OH          Dayton
 HMES     FORKLIFT         FKL     HMES62328     2021   MTSBS   AF82F50381      FGC25N4   OH          Dayton
 HMES     FORKLIFT         FKL     HMES62329     2021   MTSBS   AF82F50399      FGC25N4   IL          Danville
 HMES     FORKLIFT         FKL     HMES62330     2021   MTSBS   AF82F49892      FGC25N4   IN          Evansville
 HMES     FORKLIFT         FKL     HMES62331     2021   MTSBS   AF82F50406      FGC25N4   MI          Wayland
 HMES     FORKLIFT         FKL     HMES62332     2021   MTSBS   AF82F50395      FGC25N4   OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES62333     2021   MTSBS   AF82F50175      FGC25N4   OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES62334     2021   MTSBS   AF82F50398      FGC25N4   OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES62335     2021   MTSBS   AF82F50432      FGC25N4   IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62336     2021   MTSBS   AF82F50455      FGC25N4   IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62337     2021   MTSBS   AF82F50407      FGC25N4   IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62338     2021   MTSBS   AF82F50405      FGC25N4   MI          Jackson
 HMES     FORKLIFT         FKL     HMES62339     2021   MTSBS   AF82F50457      FGC25N4   CA          Pico Rivera
 HMES     FORKLIFT         FKL     HMES62340     2021   MTSBS   AF82F50394      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62341     2021   MTSBS   AF82F50187      FGC25N4   MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES62342     2021   MTSBS   AF82F50470      FGC25N4   MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES62343     2021   MTSBS   AF82F50456      FGC25N4   MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES62344     2021   MTSBS   AF82F50404      FGC25N4   MI          Birch Run
 HMES     FORKLIFT         FKL     HMES62345     2021   MTSBS   AF82F50471      FGC25N4   KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62800     2018   TOYOT   8FGCU25‐96287   FGC25     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62801     2018   TOYOT   8FGCU25‐96396   FGC25     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62802     2018   TOYOT   8FGCU25‐96402   FGC25     IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES62803     2018   TOYOT   8FGCU25‐96431   FGC25     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES62804     2018   TOYOT   8FGCU25‐96441   FGC25     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES62805     2018   TOYOT   8FGCU25‐96448   FGC25     KS          Kansas City
 HMES     FORKLIFT         FKL     HMES62806     2018   TOYOT   8FGCU25‐96478   FGC25     OH          Columbus
 HMES     FORKLIFT         FKL     HMES62807     2018   TOYOT   8FGCU25‐96483   FGC25     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62808     2018   TOYOT   8FGCU25‐96491   FGC25     MI          Gaylord
 HMES     FORKLIFT         FKL     HMES62809     2018   TOYOT   8FGCU25‐96516   FGC25     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62810     2018   TOYOT   8FGCU25‐96520   FGC25     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES62811     2018   TOYOT   8FGCU25‐96522   FGC25     OH          Columbus
 HMES     FORKLIFT         FKL     HMES62812     2018   TOYOT   8FGCU25‐96572   FGC25     OH          Columbus
 HMES     FORKLIFT         FKL     HMES62813     2018   TOYOT   8FGCU25‐96581   FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES62814     2018   TOYOT   8FGCU25‐96584   FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES62815     2018   TOYOT   8FGCU25‐96608   FGC25     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES62816     2018   TOYOT   8FGCU25‐96610   FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES62817     2018   TOYOT   8FGCU25‐96633   FGC25     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62818     2018   TOYOT   8FGCU25‐62818   FGC25     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES62819     2018   TOYOT   8FGCU25‐96650   FGC25     OH          North Lima
 HMES     FORKLIFT         FKL     HMES62820     2018   TOYOT   8FGCU25‐96665   FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES62821     2018   TOYOT   8FGCU25‐96707   FGC25     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES62822     2018   TOYOT   8FGCU25‐96712   FGC25     KS          Topeka
 HMES     FORKLIFT         FKL     HMES62823     2018   TOYOT   8FGCU25‐96721   FGC25     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES62824     2018   TOYOT   8FGCU25‐96743   FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES62825     2018   TOYOT   8FGCU25‐96754   FGC25     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES62826     2018   TOYOT   8FGCU25‐96782   FGC25     OH          Columbus
 HMES     FORKLIFT         FKL     HMES62827     2018   TOYOT   8FGCU25‐96798   FGC25     MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES62828     2018   TOYOT   8FGCU25‐96801   FGC25     MS          Olive Branch
 HMES     FORKLIFT         FKL     HMES62829     2018   TOYOT   8FGCU25‐96832   FGC25     OH          Columbus
 HMES     FORKLIFT         FKL     HMES62830     2002   TOYOT   7FGCU25‐73836   FGCU2     IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES62831     2002   TOYOT   7FGCU25‐78347   FGCU2     IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES62832     2002   TOYOT   7FGCU25‐74196   FGCU2     IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES62835     2002   TOYOT   7FGCU25‐78506   FGCU2     AL          Decatur
 HMES     FORKLIFT         FKL     HMES62836     2002   TOYOT   7FGCU25‐79256   FGCU2     AL          Decatur
 HMES     FORKLIFT         FKL     HMES63007     2003   MTSBS   AF82C05848      FGC25     UT          Salt Lake City
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 75 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES63008     2003   MTSBS   AF82C05849      FGC25     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES63009     2003   MTSBS   AF82C05850      FGC25     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES63010     2003   MTSBS   AF82C05851      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES63013     2003   MTSBS   AF82C05854      FGC25     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES63014     2003   MTSBS   AF82C05855      FGC25     OH          Akron
 HMES     FORKLIFT         FKL     HMES63015     2003   MTSBS   AF82C05856      FGC25     OH          Akron
 HMES     FORKLIFT         FKL     HMES63016     2003   MTSBS   AF82C05857      FGC25     MO          Kansas City
 HMES     FORKLIFT         FKL     HMES63017     2003   MTSBS   AF82C05858      FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES63019     2003   MTSBS   AF82C05860      FGC25     OH          Akron
 HMES     FORKLIFT         FKL     HMES63020     2003   MTSBS   AF82C05861      FGC25     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES63021     2003   MTSBS   AF82C05864      FGC25     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES63022     2003   MTSBS   AF82C05865      FGC20     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES63023     2003   MTSBS   AF82C05866      FGC20     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES63025     2003   MTSBS   AF82C05868      FGC20     UT          Salt Lake City
 HMES     FORKLIFT         FKL     HMES63032     2003   MTSBS   AF82C05875      FGC20     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES63034     2003   MTSBS   AF82C05877      FGC20     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES63038     2003   MTSBS   AF82C05881      FGC20     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES63041     2003   MTSBS   AF82C05922      FGC20     OH          North Lima
 HMES     FORKLIFT         FKL     HMES63042     2003   MTSBS   AF82C05890      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES63043     2003   MTSBS   AF82C05889      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES63045     2003   MTSBS   AF82C05896      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES63046     2003   MTSBS   AF82C05888      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES63048     2003   MTSBS   AF82C05897      FGC25     MO          Saint Louis
 HMES     FORKLIFT         FKL     HMES63049     2003   MTSBS   AF82C05891      FGC25     OH          Akron
 HMES     FORKLIFT         FKL     HMES63051     2003   MTSBS   AF82C06016      FGC20     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES63055     2003   MTSBS   AF82C05892      FGC25     WI          Tomah
 HMES     FORKLIFT         FKL     HMES63056     2003   MTSBS   AF82C05908      FGC20     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES63057     2003   MTSBS   AF82C05910      FGC20     IL          Rockford
 HMES     FORKLIFT         FKL     HMES63058     2003   MTSBS   AF82C05907      FGC20     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES63059     2003   MTSBS   AF82C05905      FGC20     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES63061     2003   MTSBS   AF82C05903      FGC20     OH          North Lima
 HMES     FORKLIFT         FKL     HMES63065     2003   MTSBS   AF82C05900      FGC20     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES63068     2003   MTSBS   AF82C05935      FGC20     OH          North Lima
 HMES     FORKLIFT         FKL     HMES63069     2003   MTSBS   AF82C05919      FGC20     IN          South Bend
 HMES     FORKLIFT         FKL     HMES63071     2003   MTSBS   AF82C05917      FGC20     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES63072     2003   MTSBS   AF82C05901      FGC20     OH          North Lima
 HMES     FORKLIFT         FKL     HMES63073     2003   MTSBS   AF82C05909      FGC20     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES63074     2003   MTSBS   AF82C05912      FGC20     WI          Mosinee
 HMES     FORKLIFT         FKL     HMES63075     2003   MTSBS   AF82C05914      FGC20     MI          Jackson
 HMES     FORKLIFT         FKL     HMES63076     2003   MTSBS   AF82C05915      FGC20     IL          Rockford
 HMES     FORKLIFT         FKL     HMES63077     2003   MTSBS   AF82C05911      FGC20     OH          Dayton
 HMES     FORKLIFT         FKL     HMES63080     2003   MTSBS   AF82C05939      FGC20     NY          Williamsville
 HMES     FORKLIFT         FKL     HMES63082     2003   MTSBS   AF82C05937      FGC20     NY          Williamsville
 HMES     FORKLIFT         FKL     HMES63083     2003   MTSBS   AF82C05932      FGC20     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES63084     2003   MTSBS   AF82C05918      FGC20     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES63085     2003   MTSBS   AF82C05928      FGC20     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES63087     2003   MTSBS   AF82C05904      FGC20     WI          Tomah
 HMES     FORKLIFT         FKL     HMES63088     2003   MTSBS   AF82C05906      FGC20     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES63089     2003   MTSBS   AF82C05938      FGC20     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES63090     2003   MTSBS   AF82C05940      FGC20     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES63093     2003   MTSBS   AF82C05944      FGC20     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES63094     2003   MTSBS   AF82C05945      FGC20     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES63095     2003   MTSBS   AF82C05946      FGC20     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES63096     2003   MTSBS   AF82C05947      FGC20     NY          Williamsville
 HMES     FORKLIFT         FKL     HMES63098     2003   MTSBS   AF82C05949      FGC20     WI          Mosinee
 HMES     FORKLIFT         FKL     HMES63099     2003   MTSBS   AF82C05950      FGC20     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES63100     2003   MTSBS   AF82C05951      FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES63101     2003   MTSBS   AF82C05952      FGC20     IN          South Bend
 HMES     FORKLIFT         FKL     HMES63103     2003   MTSBS   AF82C05967      FGC20     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES63104     2003   MTSBS   AF82C05968      FGC20     IL          Rockford
 HMES     FORKLIFT         FKL     HMES63106     2003   MTSBS   AF82C05970      FGC20     WI          Tomah
 HMES     FORKLIFT         FKL     HMES63107     2003   MTSBS   AF82C05971      FGC20     IL          Danville
 HMES     FORKLIFT         FKL     HMES63108     2003   MTSBS   AF82C05972      FGC20     IL          Danville
 HMES     FORKLIFT         FKL     HMES63110     2003   MTSBS   AF82C05974      FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES63111     2003   MTSBS   AF82C05975      FGC20     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES63112     2003   MTSBS   AF82C05976      FGC20     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES63113     2003   MTSBS   AF82C05977      FGC20     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES63115     2003   MTSBS   AF82C05979      FGC20     IL          Danville
 HMES     FORKLIFT         FKL     HMES63116     2003   MTSBS   AF82C05980      FGC20     NY          Williamsville
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 76 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES63117     2003   MTSBS   AF82C05981      FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES63119     2003   MTSBS   AF82C05983      FGC20     OH          North Lima
 HMES     FORKLIFT         FKL     HMES63120     2003   MTSBS   AF82C05984      FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES63121     2003   MTSBS   AF82C05985      FGC20     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES63122     2003   MTSBS   AF82C05986      FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES63123     2003   MTSBS   AF82C05987      FGC20     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES63124     2003   MTSBS   AF82C05988      FGC20     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES63125     2003   MTSBS   AF82C05989      FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES63126     2003   MTSBS   AF82C05990      FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES63127     2003   MTSBS   AF82C05991      FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES63128     2003   MTSBS   AF82C05992      FGC20     OH          North Lima
 HMES     FORKLIFT         FKL     HMES63129     2003   MTSBS   AF82C05993      FGC20     OH          North Lima
 HMES     FORKLIFT         FKL     HMES63130     2003   MTSBS   AF82C05994      FGC20     IN          South Bend
 HMES     FORKLIFT         FKL     HMES63131     2003   MTSBS   AF82C05995      FGC20     WI          Neenah
 HMES     FORKLIFT         FKL     HMES63132     2003   MTSBS   AF82C05996      FGC20     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES63133     2003   MTSBS   AF82C05997      FGC20     NY          Williamsville
 HMES     FORKLIFT         FKL     HMES63134     2003   MTSBS   AF82C05998      FGC20     MI          Jackson
 HMES     FORKLIFT         FKL     HMES63135     2003   MTSBS   AF82C05999      FGC20     IN          South Bend
 HMES     FORKLIFT         FKL     HMES63138     2003   MTSBS   AF82C06002      FGC20     OH          Columbus
 HMES     FORKLIFT         FKL     HMES63139     2003   MTSBS   AF82C06003      FGC20     MI          Jackson
 HMES     FORKLIFT         FKL     HMES63140     2003   MTSBS   AF82C06004      FGC20     MO          Kansas City
 HMES     FORKLIFT         FKL     HMES63143     2003   MTSBS   AF82C06007      FGC20     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES63144     2003   MTSBS   AF82C06008      FGC20     IL          Danville
 HMES     FORKLIFT         FKL     HMES63147     2003   MTSBS   AF82C06011      FGC20     OH          Columbus
 HMES     FORKLIFT         FKL     HMES63150     2003   MTSBS   AF82C06014      FGC20     IN          Evansville
 HMES     FORKLIFT         FKL     HMES63201     2003   CTRPL   AT82D02818      GC25K     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES63203     2003   KMTSU   566113A         NA        IN          Evansville
 HMES     FORKLIFT         FKL     HMES63204     2003   KMTSU   566958A         NA        NC          Charlotte
 HMES     FORKLIFT         FKL     HMES64002     2004   MTSBS   AF82D02882      FGC25     MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES64003     2004   MTSBS   AF82D02883      FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES64004     2004   MTSBS   AF82D02884      FGC25     UT          Salt Lake City
 HMES     FORKLIFT         FKL     HMES64005     2004   MTSBS   AF82D02885      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64006     2004   MTSBS   AF82D02886      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64007     2004   MTSBS   AF82D02887      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64009     2004   MTSBS   AF82D02913      8FGCU25   TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES64010     2004   MTSBS   AF82D02890      FGC25     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES64011     2004   MTSBS   AF82D02891      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64012     2004   MTSBS   AF82D02892      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64013     2004   MTSBS   AF82D02893      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64014     2004   MTSBS   AF82D02894      FGC25     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES64015     2004   MTSBS   AF82D02895      FGC25     IL          Rockford
 HMES     FORKLIFT         FKL     HMES64016     2004   MTSBS   AF82D02954      FGC25     UT          Salt Lake City
 HMES     FORKLIFT         FKL     HMES64017     2004   MTSBS   AF82D02955      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64018     2004   MTSBS   AF82D02956      FGC25     OH          Dayton
 HMES     FORKLIFT         FKL     HMES64019     2004   MTSBS   AF82D02957      FGC25     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES64020     2004   MTSBS   AF82D02900      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64021     2004   MTSBS   AF82D02914      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64023     2004   MTSBS   AF82D02916      FGC25     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES64024     2004   MTSBS   AF82D02917      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64025     2004   MTSBS   AF82D02905      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64026     2004   MTSBS   AF82D02906      FGC25     TN          Kingsport
 HMES     FORKLIFT         FKL     HMES64027     2004   MTSBS   AF82D02907      FGC25     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES64029     2004   MTSBS   AF82D02909      FGC25     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES64030     2004   MTSBS   AF82D02910      FGC25     MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES64031     2004   MTSBS   AF82D02911      FGC25     MN          Coon Rapids
 HMES     FORKLIFT         FKL     HMES64035     2004   MTSBS   AF82D02958      FGC25     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES64037     2004   MTSBS   AF82D02960      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64038     2004   MTSBS   AF82D02961      FGC25     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES64040     2004   MTSBS   AF82D02963      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64041     2004   MTSBS   AF82D02964      FGC25     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES64042     2004   MTSBS   AF82D02965      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64043     2004   MTSBS   AF82D02966      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64045     2004   MTSBS   AF82D02968      FGC25     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES64046     2004   MTSBS   AF82D02969      FGC25     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES64047     2004   MTSBS   AF82D02970      FGC25     OH          Dayton
 HMES     FORKLIFT         FKL     HMES64049     2004   MTSBS   AF82D02972      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64050     2004   MTSBS   AF82D02973      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64051     2004   MTSBS   AF82D02974      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64053     2004   MTSBS   AF82D02976      FGC25     OH          Dayton
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 77 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES64054     2004   MTSBS   AF82D02977      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64056     2004   MTSBS   AF82D02979      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64057     2004   MTSBS   AF82D02980      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64058     2004   MTSBS   AF82D02981      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64059     2004   MTSBS   AF82D02982      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64061     2004   MTSBS   AF82D02984      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64062     2004   MTSBS   AF82D02985      FGC25     IL          Joliet
 HMES     FORKLIFT         FKL     HMES64063     2004   MTSBS   AF82D02986      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64064     2004   MTSBS   AF82D02987      FGC25     OH          Dayton
 HMES     FORKLIFT         FKL     HMES64066     2004   MTSBS   AF82D02989      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64067     2004   MTSBS   AF82D02990      FGC25     OH          Dayton
 HMES     FORKLIFT         FKL     HMES64068     2004   MTSBS   AF82D02991      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64069     2004   MTSBS   AF82D02992      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64070     2004   MTSBS   AF82D02993      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64072     2004   MTSBS   AF82D02952      FGC25     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES64073     2004   MTSBS   AF82D02953      FGC25     OH          Brooklyn
 HMES     FORKLIFT         FKL     HMES64075     2004   MTSBS   AF82D02996      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64076     2004   MTSBS   AF82D02997      FGC25     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES64077     2004   MTSBS   AF82D02998      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64079     2004   MTSBS   AF82D03000      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64080     2004   MTSBS   AF82D03001      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64081     2004   MTSBS   AF82D02920      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64082     2004   MTSBS   AF82D02921      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64083     2004   MTSBS   AF82D02922      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64084     2004   MTSBS   AF82D02923      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64085     2004   MTSBS   AF82D02924      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64086     2004   MTSBS   AF82D02925      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64087     2004   MTSBS   AF82D03002      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64088     2004   MTSBS   AF82D02926      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64089     2004   MTSBS   AF82D03003      FGC25     OH          Dayton
 HMES     FORKLIFT         FKL     HMES64090     2004   MTSBS   AF82D03004      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64091     2004   MTSBS   AF82D03005      FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES64092     2004   MTSBS   AF82D03006      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64093     2004   MTSBS   AF82D02927      FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES64095     2004   MTSBS   AF82D03008      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64096     2004   MTSBS   AF82D03009      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64097     2004   MTSBS   AF82D03010      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64098     2004   MTSBS   AF82D03011      FGC25     OH          Columbus
 HMES     FORKLIFT         FKL     HMES64099     2004   MTSBS   AF82D02928      FGC25     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES64100     2004   MTSBS   AF82D02929      FGC25     NM          Albuquerque
 HMES     FORKLIFT         FKL     HMES64101     2004   MTSBS   AF82D02930      FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES64102     2004   MTSBS   AF82D02931      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64103     2004   MTSBS   AF82D02932      FGC25     IL          Danville
 HMES     FORKLIFT         FKL     HMES64104     2004   MTSBS   AF82D02933      FGC25     IL          Danville
 HMES     FORKLIFT         FKL     HMES64105     2004   MTSBS   AF82D02934      FGC25     IL          Joliet
 HMES     FORKLIFT         FKL     HMES64107     2004   MTSBS   AF82D02936      FGC25     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES64108     2004   MTSBS   AF82D02937      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES64110     2004   MTSBS   AF82D02939      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64111     2004   MTSBS   AF82D02940      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64112     2004   MTSBS   AF82D02941      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64113     2004   MTSBS   AF82D02942      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64114     2004   MTSBS   AF82D02943      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64115     2004   MTSBS   AF82D02944      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64116     2004   MTSBS   AF82D02945      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64117     2004   MTSBS   AF82D03012      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64118     2004   MTSBS   AF82D03013      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64119     2004   MTSBS   AF82D03014      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64120     2004   MTSBS   AF82D03015      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64121     2004   MTSBS   AF82D03016      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64122     2004   MTSBS   AF82D03017      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64123     2004   MTSBS   AF82D03018      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64124     2004   MTSBS   AF82D03019      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64125     2004   MTSBS   AF82D03020      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64126     2004   MTSBS   AF82D03021      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64127     2004   MTSBS   AF82D02946      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64128     2004   MTSBS   AF82D02947      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64129     2004   MTSBS   AF82D02948      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64130     2004   MTSBS   AF82D03022      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64131     2004   MTSBS   AF82D02949      FGC25     IL          McCook
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 78 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES64132     2004   MTSBS   AF82D02950      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64133     2004   MTSBS   AF82D03023      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64134     2004   MTSBS   AF82D02951      FGC25     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES64136     2004   MTSBS   AF82D03025      FGC25     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES64137     2004   MTSBS   AF82D03026      FGC25     TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES64138     2014   MTSBS   AF82D03027      FGC25K1   TN          Goodlettsville
 HMES     FORKLIFT         FKL     HMES64139     2004   MTSBS   AF82D02614      FGC25     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64140     2004   MTSBS   AF82D02615      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64141     2004   MTSBS   AF82D02617      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64142     2004   MTSBS   AF82D02618      FGC25     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64143     2004   MTSBS   AF82D02619      FGC25     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES64144     2004   MTSBS   AF82D02620      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64145     2004   MTSBS   AF82D02622      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64146     2004   MTSBS   AF82D02623      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64147     2004   MTSBS   AF82D02624      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64148     2004   MTSBS   AF82D02616      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64149     2004   MTSBS   AF82D02625      FGC25     IL          McCook
 HMES     FORKLIFT         FKL     HMES64150     2004   MTSBS   AF82D02613      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64151     2004   KMTSU   581277A         NA        MO          Sikeston
 HMES     FORKLIFT         FKL     HMES64201     2004   KMTSU   568338A         FG20S     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES64203     2004   KMTSU   582298A         FG20S     WI          Neenah
 HMES     FORKLIFT         FKL     HMES64204     2004   TOYOT   7FGCU25‐86906   7FGCU     WI          Mosinee
 HMES     FORKLIFT         FKL     HMES64205     2004   TOYOT   7FGCU25‐83062   7FGCU     WI          Mosinee
 HMES     FORKLIFT         FKL     HMES64206     2004   TOYOT   7FGCU25‐83110   7FGCU     MI          Gaylord
 HMES     FORKLIFT         FKL     HMES64400     2014   TOYOT   8FGCU25‐63731   FGC20     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES64401     2014   TOYOT   8FGCU25‐64704   FGC20     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES64402     2014   TOYOT   8FGCU25‐64719   FGC20     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES64403     2014   TOYOT   8FGCU25‐64727   FGC20     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES64404     2014   TOYOT   8FGCU25‐64751   FGC20     GA          Ellenwood
 HMES     FORKLIFT         FKL     HMES64405     2014   TOYOT   8FGCU25‐64758   FGC20     GA          Conley
 HMES     FORKLIFT         FKL     HMES64406     2014   TOYOT   8FGCU25‐65094   FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES64407     2014   TOYOT   8FGCU25‐65099   FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES64408     2014   TOYOT   8FGCU25‐64800   FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES64409     2014   TOYOT   8FGCU25‐64804   FGC20     IL          Rock Island
 HMES     FORKLIFT         FKL     HMES64410     2014   TOYOT   8FGCU25‐65104   FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES64411     2014   TOYOT   8FGCU25‐65149   FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES64412     2014   TOYOT   8FGCU25‐64843   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64413     2014   TOYOT   8FGCU25‐64846   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64414     2014   TOYOT   8FGCU25‐65152   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64415     2014   TOYOT   8FGCU25‐65161   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64416     2014   TOYOT   8FGCU25‐64878   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64417     2014   TOYOT   8FGCU25‐64907   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64418     2014   TOYOT   8FGCU25‐64894   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64419     2014   TOYOT   8FGCU25‐65199   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64420     2014   TOYOT   8FGCU25‐64915   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64421     2014   TOYOT   8FGCU25‐64918   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64422     2014   TOYOT   8FGCU25‐64931   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64423     2014   TOYOT   8FGCU25‐65203   FGC20     MI          Romulus
 HMES     FORKLIFT         FKL     HMES64424     2014   TOYOT   8FGCU25‐64957   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES64425     2014   TOYOT   8FGCU25‐64960   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES64426     2014   TOYOT   8FGCU25‐64967   FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES64427     2014   TOYOT   8FGCU25‐65204   FGC20     IL          McCook
 HMES     FORKLIFT         FKL     HMES64428     2014   TOYOT   8FGCU25‐65003   FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES64429     2014   TOYOT   8FGCU25‐65006   FGC20     WI          Milwaukee
 HMES     FORKLIFT         FKL     HMES64430     2014   TOYOT   8FGCU25‐65013   FGC20     IL          McCook
 HMES     FORKLIFT         FKL     HMES64431     2014   TOYOT   8FGCU25‐65232   FGC20     IL          McCook
 HMES     FORKLIFT         FKL     HMES64432     2014   TOYOT   8FGCU25‐65041   FGC20     IL          McCook
 HMES     FORKLIFT         FKL     HMES64433     2014   TOYOT   8FGCU25‐65052   FGC20     IL          McCook
 HMES     FORKLIFT         FKL     HMES64434     2014   TOYOT   8FGCU25‐65053   FGC20     IL          McCook
 HMES     FORKLIFT         FKL     HMES64435     2014   TOYOT   8FGCU25‐63598   FGC20     CA          Bloomington
 HMES     FORKLIFT         FKL     HMES64436     2014   TOYOT   8FGCU25‐65009   FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES64437     2014   TOYOT   8FGCU25‐65032   FGC20     OH          Akron
 HMES     FORKLIFT         FKL     HMES64438     2014   TOYOT   8FGCU25‐65015   FGC20     WI          Neenah
 HMES     FORKLIFT         FKL     HMES64439     2014   TOYOT   8FGCU25‐65021   FGC20     WI          Neenah
 HMES     FORKLIFT         FKL     HMES64440     2014   TOYOT   8FGCU25‐65018   FGC20     WI          Neenah
 HMES     FORKLIFT         FKL     HMES64441     2014   TOYOT   8FGCU25‐65023   FGC20     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES64442     2014   TOYOT   8FGCU25‐65026   FGC20     NY          Williamsville
 HMES     FORKLIFT         FKL     HMES64443     2014   TOYOT   8FGCU25‐65047   FGC20     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES64444     2014   TOYOT   8FGCU25‐65051   FGC20     NC          Charlotte
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 79 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES64445     2014   TOYOT   8FGCU25‐65056   FGC20     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES64446     2014   TOYOT   8FGCU25‐65060   FGC20     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES64447     2014   TOYOT   8FGCU25‐65108   FGC20     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES64448     2014   TOYOT   8FGCU25‐65105   FGC20     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES64449     2014   TOYOT   8FGCU25‐65112   FGC20     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES64450     2014   TOYOT   8FGCU25‐65110   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64451     2014   TOYOT   8FGCU25‐65157   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64452     2014   TOYOT   8FGCU25‐65162   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64453     2014   TOYOT   8FGCU25‐65163   FGC20     OH          Columbus
 HMES     FORKLIFT         FKL     HMES64454     2014   TOYOT   8FGCU25‐65164   FGC20     OH          Columbus
 HMES     FORKLIFT         FKL     HMES64455     2014   TOYOT   8FGCU25‐64678   FKL02     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64456     2014   TOYOT   8FGCU25‐64685   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64457     2014   TOYOT   8FGCU25‐64682   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64458     2014   TOYOT   8FGCU25‐64702   FGC20     OH          Dayton
 HMES     FORKLIFT         FKL     HMES64459     2014   TOYOT   8FGCU25‐64679   FGC20     OH          Dayton
 HMES     FORKLIFT         FKL     HMES64460     2014   TOYOT   8FGCU25‐64689   FGC20     AL          Decatur
 HMES     FORKLIFT         FKL     HMES64461     2014   TOYOT   8FGCU25‐64711   FGC20     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES64462     2014   TOYOT   8FGCU25‐64694   FGC20     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES64463     2014   TOYOT   8FGCU25‐64721   FGC20     IN          Evansville
 HMES     FORKLIFT         FKL     HMES64464     2014   TOYOT   8FGCU25‐64729   FGC20     IN          Evansville
 HMES     FORKLIFT         FKL     HMES64465     2014   TOYOT   8FGCU25‐64734   FGC20     IN          Evansville
 HMES     FORKLIFT         FKL     HMES64466     2014   TOYOT   8FGCU25‐64722   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64467     2014   TOYOT   8FGCU25‐64740   FKL02     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64468     2014   TOYOT   8FGCU25‐64741   FGC20     MI          Gaylord
 HMES     FORKLIFT         FKL     HMES64469     2014   TOYOT   8FGCU25‐64744   FGC20     MI          Gaylord
 HMES     FORKLIFT         FKL     HMES64470     2014   TOYOT   8FGCU25‐64747   FGC20     MI          Gaylord
 HMES     FORKLIFT         FKL     HMES64471     2014   TOYOT   8FGCU25‐64761   FGC20     MI          Gaylord
 HMES     FORKLIFT         FKL     HMES64472     2014   TOYOT   8FGCU25‐64770   FGC20     MI          Wayland
 HMES     FORKLIFT         FKL     HMES64473     2014   TOYOT   8FGCU25‐64769   FGC20     MI          Wayland
 HMES     FORKLIFT         FKL     HMES64474     2014   TOYOT   8FGCU25‐64771   FGC20     MI          Wayland
 HMES     FORKLIFT         FKL     HMES64475     2014   TOYOT   8FGCU25‐64773   FGC20     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES64476     2014   TOYOT   8FGCU25‐64754   FGC20     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES64477     2014   TOYOT   8FGCU25‐64767   FGC20     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES64478     2014   TOYOT   8FGCU25‐64778   FGC20     OH          Gallipolis
 HMES     FORKLIFT         FKL     HMES64479     2014   TOYOT   8FGCU25‐64806   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64480     2014   TOYOT   8FGCU25‐64808   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64481     2014   TOYOT   8FGCU25‐64812   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES64482     2014   TOYOT   8FGCU25‐64836   FGC20     IL          Joliet
 HMES     FORKLIFT         FKL     HMES64483     2014   TOYOT   8FGCU25‐64816   FGC20     CA          Sacramento
 HMES     FORKLIFT         FKL     HMES64484     2014   TOYOT   8FGCU25‐64819   FGC20     CA          Bloomington
 HMES     FORKLIFT         FKL     HMES64485     2014   TOYOT   8FGCU25‐64826   FGC20     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES64486     2014   TOYOT   8FGCU25‐64822   FGC20     KY          Lexington
 HMES     FORKLIFT         FKL     HMES64487     2014   TOYOT   8FGCU25‐64847   FGC20     KY          Lexington
 HMES     FORKLIFT         FKL     HMES64488     2014   TOYOT   8FGCU25‐64850   FGC20     KY          Lexington
 HMES     FORKLIFT         FKL     HMES64489     2014   TOYOT   8FGCU25‐64845   FGC20     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES64491     2014   TOYOT   8FGCU25‐64859   FGC20     CA          Pomona
 HMES     FORKLIFT         FKL     HMES64492     2014   TOYOT   8FGCU25‐64862   FGC20     CA          Pomona
 HMES     FORKLIFT         FKL     HMES64493     2014   TOYOT   8FGCU25‐64863   FGC20     IA          Council Bluffs
 HMES     FORKLIFT         FKL     HMES64494     2014   TOYOT   8FGCU25‐64867   FGC20     MN          Owatonna
 HMES     FORKLIFT         FKL     HMES64495     2014   TOYOT   8FGCU25‐64890   FGC20     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES64496     2014   TOYOT   8FGCU25‐64888   FGC20     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES64497     2014   TOYOT   8FGCU25‐64895   FGC20     IL          Rockford
 HMES     FORKLIFT         FKL     HMES64498     2014   TOYOT   8FGCU25‐64892   FGC20     IL          Rockford
 HMES     FORKLIFT         FKL     HMES64499     2014   TOYOT   8FGCU25‐64899   FGC20     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES64500     2014   TOYOT   8FGCU25‐64902   FGC20     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES64501     2014   TOYOT   8FGCU25‐64903   FGC20     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES64502     2014   TOYOT   8FGCU25‐64904   FGC20     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES64503     2014   TOYOT   8FGCU25‐64926   FGC20     CA          Bloomington
 HMES     FORKLIFT         FKL     HMES64504     2014   TOYOT   8FGCU25‐64929   FGC20     MO          Strafford
 HMES     FORKLIFT         FKL     HMES64505     2014   TOYOT   8FGCU25‐64920   FGC20     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64506     2014   TOYOT   8FGCU25‐64935   FGC20     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64507     2014   TOYOT   8FGCU25‐64938   FGC20     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64508     2014   TOYOT   8FGCU25‐64942   FGC20     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64509     2014   TOYOT   8FGCU25‐64946   FGC20     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES64510     2014   TOYOT   8FGCU25‐64948   FGC20     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES64511     2014   TOYOT   8FGCU25‐64968   FGC20     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES64512     2014   TOYOT   8FGCU25‐64969   FGC20     WI          Tomah
 HMES     FORKLIFT         FKL     HMES64513     2014   TOYOT   8FGCU25‐64971   FGC20     WI          Tomah
 HMES     FORKLIFT         FKL     HMES64514     2014   TOYOT   8FGCU25‐64976   FGC20     WI          Tomah
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 80 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL      State     City
 HMES     FORKLIFT         FKL     HMES64515     2014   TOYOT   8FGCU25‐64978   FGC20       WI        Mosinee
 HMES     FORKLIFT         FKL     HMES64516     2014   TOYOT   8FGCU25‐64982   FGC20       WI        Mosinee
 HMES     FORKLIFT         FKL     HMES64517     2014   TOYOT   8FGCU25‐64975   FGC20       OH        North Lima
 HMES     FORKLIFT         FKL     HMES64518     2014   TOYOT   8FGCU25‐64993   FGC20       SC        Piedmont
 HMES     FORKLIFT         FKL     HMES64519     2014   TOYOT   8FGCU25‐65028   FGC20       OH        North Lima
 HMES     FORKLIFT         FKL     HMES64520     2004   TOYOT   7FGCU25‐83542   FGCU2       IA        Des Moines
 HMES     FORKLIFT         FKL     HMES64522     2004   TOYOT   7FGCU25‐82749   FGCU2       AL        Birmingham
 HMES     FORKLIFT         FKL     HMES64524     2004   KMTSU   568346A         FG20ST12R   MS        Richland
 HMES     FORKLIFT         FKL     HMES64525     2004   TOYOT   7FGCU25‐83100   FGCU2       IN        Evansville
 HMES     FORKLIFT         FKL     HMES64527     2004   TOYOT   7FGCU25‐82619   FGCU2       MS        Tupelo
 HMES     FORKLIFT         FKL     HMES64528     2004   TOYOT   7FGCU25‐87716   FGCU2       IL        Edwardsville
 HMES     FORKLIFT         FKL     HMES64530     2004   TOYOT   7FGCU25‐83099   FGCU2       NC        Charlotte
 HMES     FORKLIFT         FKL     HMES64531     2004   TOYOT   7FGCU25‐87044   FGCU2       AZ        Phoenix
 HMES     FORKLIFT         FKL     HMES64532     2004   KMTSU   568366A         568         IN        Evansville
 HMES     FORKLIFT         FKL     HMES64533     2004   KMTSU   581279A         568         GA        Ringgold
 HMES     FORKLIFT         FKL     HMES64534     2004   KMTSU   580481A         568         GA        Ringgold
 HMES     FORKLIFT         FKL     HMES65002     2015   TOYOT   8FGCU25‐72715   8FGCU       OH        Akron
 HMES     FORKLIFT         FKL     HMES65003     2015   TOYOT   8FGCU25‐72719   8FGCU       OH        Akron
 HMES     FORKLIFT         FKL     HMES65004     2015   TOYOT   8FGCU25‐72728   8FGCU       CA        Bloomington
 HMES     FORKLIFT         FKL     HMES65005     2015   TOYOT   8FGCU25‐72744   8FGCU       WI        Neenah
 HMES     FORKLIFT         FKL     HMES65006     2015   TOYOT   8FGCU25‐72763   8FGCU       WI        Neenah
 HMES     FORKLIFT         FKL     HMES65007     2015   TOYOT   8FGCU25‐72771   8FGCU       NY        Williamsville
 HMES     FORKLIFT         FKL     HMES65008     2015   TOYOT   8FGCU25‐72777   8FGCU       NY        Williamsville
 HMES     FORKLIFT         FKL     HMES65009     2015   TOYOT   8FGCU25‐72782   8FGCU       NY        Williamsville
 HMES     FORKLIFT         FKL     HMES65010     2015   TOYOT   8FGCU25‐71851   8FGCU       NY        Williamsville
 HMES     FORKLIFT         FKL     HMES65011     2015   TOYOT   8FGCU25‐71868   8FGCU       NY        Williamsville
 HMES     FORKLIFT         FKL     HMES65012     2015   TOYOT   8FGCU25‐71859   8FGCU       NY        Williamsville
 HMES     FORKLIFT         FKL     HMES65013     2015   TOYOT   8FGCU25‐71864   8FGCU       SC        West Columbia
 HMES     FORKLIFT         FKL     HMES65014     2015   TOYOT   8FGCU25‐71874   8FGCU       SC        West Columbia
 HMES     FORKLIFT         FKL     HMES65015     2015   TOYOT   8FGCU25‐71877   8FGCU       OH        Columbus
 HMES     FORKLIFT         FKL     HMES65016     2015   TOYOT   8FGCU25‐71885   8FGCU       OH        Columbus
 HMES     FORKLIFT         FKL     HMES65017     2015   TOYOT   8FGCU25‐71889   TOYOT       OH        Columbus
 HMES     FORKLIFT         FKL     HMES65018     2015   TOYOT   8FGCU25‐71920   TOYOT       OH        Columbus
 HMES     FORKLIFT         FKL     HMES65019     2015   TOYOT   8FGCU25‐71936   TOYOT       OH        Columbus
 HMES     FORKLIFT         FKL     HMES65020     2015   TOYOT   8FGCU25‐71927   TOYOT       OH        Columbus
 HMES     FORKLIFT         FKL     HMES65021     2015   TOYOT   8FGCU25‐71930   TOYOT       OH        Columbus
 HMES     FORKLIFT         FKL     HMES65022     2015   TOYOT   8FGCU25‐71998   8FGCU       IL        Danville
 HMES     FORKLIFT         FKL     HMES65023     2015   TOYOT   8FGCU25‐71957   8FGCU       IL        Danville
 HMES     FORKLIFT         FKL     HMES65024     2015   TOYOT   8FGCU25‐71965   8FGCU       AL        Decatur
 HMES     FORKLIFT         FKL     HMES65025     2015   TOYOT   8FGCU25‐71966   8FGCU       AL        Decatur
 HMES     FORKLIFT         FKL     HMES65026     2015   TOYOT   8FGCU25‐72006   8FGCU       AL        Decatur
 HMES     FORKLIFT         FKL     HMES65027     2015   TOYOT   8FGCU25‐72012   8FGCU       IA        Des Moines
 HMES     FORKLIFT         FKL     HMES65028     2015   TOYOT   8FGCU25‐72026   8FGCU       IA        Des Moines
 HMES     FORKLIFT         FKL     HMES65029     2015   TOYOT   8FGCU25‐72016   8FGCU       IA        Des Moines
 HMES     FORKLIFT         FKL     HMES65030     2015   TOYOT   8FGCU25‐72049   8FGCU       NC        Kernersville
 HMES     FORKLIFT         FKL     HMES65031     2015   TOYOT   8FGCU25‐72067   8FGCU       NC        Kernersville
 HMES     FORKLIFT         FKL     HMES65032     2015   TOYOT   8FGCU25‐72053   8FGCU       NC        Kernersville
 HMES     FORKLIFT         FKL     HMES65033     2015   TOYOT   8FGCU25‐72060   8FGCU       NC        Kernersville
 HMES     FORKLIFT         FKL     HMES65034     2015   TOYOT   8FGCU25‐72105   8FGCU       MI        Jackson
 HMES     FORKLIFT         FKL     HMES65035     2015   TOYOT   8FGCU25‐72096   8FGCU       MI        Jackson
 HMES     FORKLIFT         FKL     HMES65036     2015   TOYOT   8FGCU25‐72111   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65037     2015   TOYOT   8FGCU25‐72123   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65038     2015   TOYOT   8FGCU25‐72136   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65039     2015   TOYOT   8FGCU25‐72140   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65040     2015   TOYOT   8FGCU25‐72141   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65041     2015   TOYOT   8FGCU25‐72146   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65042     2015   TOYOT   8FGCU25‐72203   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65043     2015   TOYOT   8FGCU25‐72204   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65044     2015   TOYOT   8FGCU25‐72212   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65045     2015   TOYOT   8FGCU25‐72221   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65046     2015   TOYOT   8FGCU25‐72247   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65047     2015   TOYOT   8FGCU25‐72249   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65048     2015   TOYOT   8FGCU25‐72256   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65049     2015   TOYOT   8FGCU25‐72259   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65050     2015   TOYOT   8FGCU25‐72286   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65051     2015   TOYOT   8FGCU25‐72299   8FGCU       IL        Joliet
 HMES     FORKLIFT         FKL     HMES65052     2015   TOYOT   8FGCU25‐72300   8FGCU       TN        Knoxville
 HMES     FORKLIFT         FKL     HMES65053     2015   TOYOT   8FGCU25‐72291   8FGCU       TN        Knoxville
 HMES     FORKLIFT         FKL     HMES65054     2015   TOYOT   8FGCU25‐72301   8FGCU       TN        Knoxville
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 81 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES65055     2015   TOYOT   8FGCU25‐72308   8FGCU     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES65056     2015   TOYOT   8FGCU25‐72305   8FGCU     TN          Knoxville
 HMES     FORKLIFT         FKL     HMES65057     2015   TOYOT   8FGCU25‐72333   8FGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES65058     2015   TOYOT   8FGCU25‐72363   8FGCU     KY          Lexington
 HMES     FORKLIFT         FKL     HMES65059     2015   TOYOT   8FGCU25‐72381   8FGCU     KY          Lexington
 HMES     FORKLIFT         FKL     HMES65060     2015   TOYOT   8FGCU25‐72370   8FGCU     KY          Lexington
 HMES     FORKLIFT         FKL     HMES65061     2015   TOYOT   8FGCU25‐72379   8FGCU     KY          Lexington
 HMES     FORKLIFT         FKL     HMES65062     2015   TOYOT   8FGCU25‐72395   8FGCU     KY          Lexington
 HMES     FORKLIFT         FKL     HMES65063     2015   TOYOT   8FGCU25‐72402   8FGCU     KY          Lexington
 HMES     FORKLIFT         FKL     HMES65064     2015   TOYOT   8FGCU25‐72404   8FGCU     KY          Lexington
 HMES     FORKLIFT         FKL     HMES65065     2015   TOYOT   8FGCU25‐72410   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES65066     2015   TOYOT   8FGCU25‐72430   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES65067     2015   TOYOT   8FGCU25‐72432   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES65068     2015   TOYOT   8FGCU25‐72434   8FGCU     MN          Owatonna
 HMES     FORKLIFT         FKL     HMES65069     2015   TOYOT   8FGCU25‐72442   8FGCU     MN          Owatonna
 HMES     FORKLIFT         FKL     HMES65070     2015   TOYOT   8FGCU25‐72472   8FGCU     MN          Owatonna
 HMES     FORKLIFT         FKL     HMES65071     2015   TOYOT   8FGCU25‐72479   8FGCU     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES65072     2015   TOYOT   8FGCU25‐72486   8FGCU     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES65073     2015   TOYOT   8FGCU25‐72489   8FGCU     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES65074     2015   TOYOT   8FGCU25‐72502   8FGCU     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES65075     2015   TOYOT   8FGCU25‐72505   8FGCU     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES65076     2015   TOYOT   8FGCU25‐72506   8FGCU     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES65077     2015   TOYOT   8FGCU25‐72511   8FGCU     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES65078     2015   TOYOT   8FGCU25‐72546   8FGCU     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES65079     2015   TOYOT   8FGCU25‐72552   8FGCU     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES65081     2015   TOYOT   8FGCU25‐72559   8FGCU     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES65083     2015   TOYOT   8FGCU25‐72589   8FGCU     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES65084     2015   TOYOT   8FGCU25‐72601   8FGCU     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES65085     2015   TOYOT   8FGCU25‐72605   8FGCU     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES65086     2015   TOYOT   8FGCU25‐72628   8FGCU     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES65087     2015   TOYOT   8FGCU25‐72632   8FGCU     OH          Bowling Green
 HMES     FORKLIFT         FKL     HMES65088     2015   TOYOT   8FGCU25‐72640   8FGCU     MN          Jackson
 HMES     FORKLIFT         FKL     HMES65089     2015   TOYOT   8FGCU25‐72644   8FGCU     MN          Jackson
 HMES     FORKLIFT         FKL     HMES65090     2015   TOYOT   8FGCU25‐72665   8FGCU     MN          Jackson
 HMES     FORKLIFT         FKL     HMES65102     2005   TOYOT   7FGCU25‐91068   7FGC2     MI          Wayland
 HMES     FORKLIFT         FKL     HMES65103     2005   TOYOT   7FGCU25‐91092   7FGCU     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES65104     2005   TOYOT   7FGCU25‐89797   7FGCU     IL          Joliet
 HMES     FORKLIFT         FKL     HMES65105     2005   TOYOT   7FGCU25‐91474   FGC20     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES65106     2005   KMTSU   588890A         FG20S     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES65107     2005   TOYOT   7FGCU25‐90121   FGCU2     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES65108     2005   KMTSU   587801A         5878      IA          Des Moines
 HMES     FORKLIFT         FKL     HMES65109     2005   TOYOT   7FGCU25‐91134   FGCU2     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES65111     2005   TOYOT   7FGCU25‐89968   FGCU2     IN          Evansville
 HMES     FORKLIFT         FKL     HMES65113     2005   TOYOT   7FGCU25‐93713   FGCU2     MO          Saint Louis
 HMES     FORKLIFT         FKL     HMES65114     2005   TOYOT   7FGCU25‐88235   FGCU2     MO          Saint Louis
 HMES     FORKLIFT         FKL     HMES65115     2005   TOYOT   7FGCU25‐89972   FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL     HMES65117     2006   TOYOT   7FGCU25‐00902   FGCU2     IN          Evansville
 HMES     FORKLIFT         FKL     HMES65118     2005   TOYOT   7FGCU25‐90938   FGCU2     AL          Decatur
 HMES     FORKLIFT         FKL     HMES65119     2005   TOYOT   7FGCU25‐89975   FGCU2     AL          Birmingham
 HMES     FORKLIFT         FKL     HMES66001     2006   MTSBS   AF82F02668      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES66003     2006   MTSBS   AF82F02645      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES66004     2006   MTSBS   AF82F02614      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES66005     2006   MTSBS   AF82F02613      FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES66006     2006   MTSBS   AF82F02612      FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES66007     2006   MTSBS   AF82F02611      FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES66008     2006   MTSBS   AF82F02567      FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES66009     2006   MTSBS   AF82F02566      FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES66011     2006   MTSBS   AF82F02564      FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES66012     2006   MTSBS   AF82F02563      FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES66013     2006   MTSBS   AF82F02562      FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES66014     2006   MTSBS   AF82F02561      FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES66015     2006   MTSBS   AF82F02560      FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES66016     2006   MTSBS   AF82F02592      FGC25     MI          Wayland
 HMES     FORKLIFT         FKL     HMES66017     2006   MTSBS   AF82F02591      FGC25     IN          Evansville
 HMES     FORKLIFT         FKL     HMES66018     2006   MTSBS   AF82F02590      FGC25     IN          South Bend
 HMES     FORKLIFT         FKL     HMES66020     2006   MTSBS   AF82F02589      FGC25     AL          Birmingham
 HMES     FORKLIFT         FKL     HMES66021     2006   MTSBS   AF82F02546      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES66022     2006   MTSBS   AF82F02545      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES66023     2006   MTSBS   AF82F02588      FGC25     WI          Neenah
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 82 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES66024     2006   MTSBS   AF82F02587      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES66025     2006   MTSBS   AF82F02558      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES66026     2006   MTSBS   AF82F02610      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES66027     2006   MTSBS   AF82F02609      FGC25     OH          Akron
 HMES     FORKLIFT         FKL     HMES66028     2006   MTSBS   AF82F02608      FGC25     OH          Akron
 HMES     FORKLIFT         FKL     HMES66029     2006   MTSBS   AF82F02607      FGC25     OH          Akron
 HMES     FORKLIFT         FKL     HMES66030     2006   MTSBS   AF82F02606      FGC25     OH          Akron
 HMES     FORKLIFT         FKL     HMES66031     2006   MTSBS   AF82F02605      FGC25     OH          Akron
 HMES     FORKLIFT         FKL     HMES66034     2006   MTSBS   AF82F01527      FGC25     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES66036     2006   MTSBS   AF82F01530      FGC25     OH          Columbus
 HMES     FORKLIFT         FKL     HMES66037     2006   MTSBS   AF82F02582      FGC25     IL          Danville
 HMES     FORKLIFT         FKL     HMES66101     2006   KMTSU   587883A         FG20S     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES66103     2006   KMTSU   592688A         FG20S     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES66104     2006   TOYOT   7FGCU25‐90873   7FGCU     IN          Evansville
 HMES     FORKLIFT         FKL     HMES66106     2006   TOYOT   7FGCU25‐02873   FGCU2     MI          Wayland
 HMES     FORKLIFT         FKL     HMES66108     2006   MTSBS   AF82F01533      AF82F     IN          Evansville
 HMES     FORKLIFT         FKL     HMES66109     2006   KMTSU   587877A         5878      IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES66110     2006   TOYOT   7FGCU25‐00682   FGCU2     IL          Edwardsville
 HMES     FORKLIFT         FKL     HMES67001     2007   MTSBS   AF82F10548      FGC25     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES67002     2007   MTSBS   AF82F10505      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES67003     2007   MTSBS   AF82F10506      FGC25     TX          Laredo
 HMES     FORKLIFT         FKL     HMES67004     2007   MTSBS   AF82F10507      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES67005     2007   MTSBS   AF82F10508      FGC25     CA          Fontana
 HMES     FORKLIFT         FKL     HMES67006     2007   MTSBS   AF82F10475      FGC25     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES67007     2007   MTSBS   AF82F10509      FGC25     CA          Tracy
 HMES     FORKLIFT         FKL     HMES67008     2007   MTSBS   AF82F10494      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES67009     2007   MTSBS   AF82F10495      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES67010     2007   MTSBS   AF82F10499      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES67011     2007   MTSBS   AF82F10500      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES67012     2007   MTSBS   AF82F10501      FGC25     WI          Neenah
 HMES     FORKLIFT         FKL     HMES67013     2007   MTSBS   AF82F10540      FGC25     IA          Des Moines
 HMES     FORKLIFT         FKL     HMES67014     2007   MTSBS   AF82F10504      FGC25     IN          Evansville
 HMES     FORKLIFT         FKL     HMES67015     2007   MTSBS   AF82F10539      FGC25     MI          Gaylord
 HMES     FORKLIFT         FKL     HMES67016     2007   MTSBS   AF82F10476      FGC25     TX          Austin
 HMES     FORKLIFT         FKL     HMES67017     2007   MTSBS   AF82F10477      FGC25     SC          Columbia
 HMES     FORKLIFT         FKL     HMES67018     2007   MTSBS   AF82F10481      FGC25     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES67019     2007   MTSBS   AF82F10482      FGC25     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES67020     2007   MTSBS   AF82F10478      FGC25     SC          Columbia
 HMES     FORKLIFT         FKL     HMES67021     2007   MTSBS   AF82F10483      FGC25     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES67022     2007   MTSBS   AF82F10484      FGC25     FL          Miami
 HMES     FORKLIFT         FKL     HMES67023     2007   MTSBS   AF82F10485      FGC25     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES67025     2007   MTSBS   AF82F10510      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES67026     2007   MTSBS   AF82F10511      FGC25     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES67028     2007   MTSBS   AF82F10502      FGC25     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES67029     2007   MTSBS   AF82F10503      FGC25     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES67030     2007   MTSBS   AF82F10512      FGC25     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES67032     2007   MTSBS   AF82F10514      FGC25     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES67033     2007   MTSBS   AF82F10541      FGC25     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES67034     2007   MTSBS   AF82F10542      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES67035     2007   MTSBS   AF82F10517      FGC25     MN          Jackson
 HMES     FORKLIFT         FKL     HMES67036     2007   MTSBS   AF82F10518      FGC25     MN          Jackson
 HMES     FORKLIFT         FKL     HMES67037     2007   MTSBS   AF82F10519      FGC25     MN          Jackson
 HMES     FORKLIFT         FKL     HMES67038     2007   MTSBS   AF82F10471      FGC25     WI          Mosinee
 HMES     FORKLIFT         FKL     HMES67039     2007   MTSBS   AF82F10472      FGC25     WI          Mosinee
 HMES     FORKLIFT         FKL     HMES67040     2007   MTSBS   AF82F10474      FGC25     AL          Birmingham
 HMES     FORKLIFT         FKL     HMES67041     2007   MTSBS   AF82F10496      FGC25     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES67042     2007   MTSBS   AF82F10497      FGC25     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES67043     2007   MTSBS   AF82F10498      FGC25     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES67044     2007   MTSBS   AF82F10488      FGC25     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES67045     2007   MTSBS   AF82F10543      FGC25     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES67046     2007   MTSBS   AF82F10545      FGC25     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES67047     2007   MTSBS   AF82F10546      FGC25     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES67048     2007   MTSBS   AF82F10547      FGC25     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES67049     2007   MTSBS   AF82F10473      FGC25     IN          Indianapolis
 HMES     FORKLIFT         FKL     HMES67050     2007   TOYOT   8FGCU25‐16867   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES67051     2007   TOYOT   8FGCU25‐17381   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES67052     2007   TOYOT   8FGCU25‐17488   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES67053     2007   TOYOT   8FGCU25‐17436   8FGCU     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES67054     2007   TOYOT   8FGCU25‐17419   FGC20     IN          Fort Wayne
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23   Page 83 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State       City
 HMES     FORKLIFT         FKL     HMES67055     2007   TOYOT   8FGCU25‐17531   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES67056     2007   TOYOT   8FGCU25‐17502   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES67057     2007   TOYOT   8FGCU25‐17359   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES67058     2007   TOYOT   8FGCU25‐17520   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES67059     2007   TOYOT   8FGCU25‐17399   FGC20     IN          Fort Wayne
 HMES     FORKLIFT         FKL     HMES67060     2007   TOYOT   8FGCU25‐13919   8FGCU     OH          North Lima
 HMES     FORKLIFT         FKL     HMES67061     2007   TOYOT   8FGCU25‐13922   8FGCU     WI          Mosinee
 HMES     FORKLIFT         FKL     HMES67062     2007   TOYOT   8FGCU25‐13923   8FGCU     MI          Birch Run
 HMES     FORKLIFT         FKL     HMES67063     2007   TOYOT   8FGCU25‐13925   8FGCU     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES67064     2007   TOYOT   8FGCU25‐13927   8FGCU     OH          Dayton
 HMES     FORKLIFT         FKL     HMES67065     2007   TOYOT   8FGCU25‐13928   8FGCU     OH          Dayton
 HMES     FORKLIFT         FKL     HMES67066     2007   TOYOT   8FGCU25‐13930   8FGCU     OH          Dayton
 HMES     FORKLIFT         FKL     HMES67067     2007   TOYOT   8FGCU25‐13964   8FGCU     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES67068     2007   TOYOT   8FGCU25‐13966   8FGCU     MI          Wayland
 HMES     FORKLIFT         FKL     HMES67069     2007   TOYOT   8FGCU25‐13967   8FGCU     SC          West Columbia
 HMES     FORKLIFT         FKL     HMES67070     2007   TOYOT   8FGCU25‐13759   8FGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES67071     2007   TOYOT   8FGCU25‐13884   8FGCU     OH          Cincinnati
 HMES     FORKLIFT         FKL     HMES67072     2007   TOYOT   8FGCU25‐13882   8FGCU     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES67073     2007   TOYOT   8FGCU25‐13887   8FGCU     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES67074     2007   TOYOT   8FGCU25‐13846   8FGCU     NC          Raleigh
 HMES     FORKLIFT         FKL     HMES67076     2007   TOYOT   8FGCU25‐13849   8FGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES67077     2007   TOYOT   8FGCU25‐13850   8FGCU     SC          Piedmont
 HMES     FORKLIFT         FKL     HMES67078     2007   TOYOT   8FGCU25‐13853   8FGCU     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES67079     2007   TOYOT   8FGCU25‐13806   8FGCU     IL          Danville
 HMES     FORKLIFT         FKL     HMES67080     2007   TOYOT   8FGCU25‐13992   8FGCU     IL          Danville
 HMES     FORKLIFT         FKL     HMES67081     2007   TOYOT   8FGCU25‐13998   8FGCU     NY          Williamsville
 HMES     FORKLIFT         FKL     HMES67082     2007   TOYOT   8FGCU25‐14001   8FGCU     NY          Williamsville
 HMES     FORKLIFT         FKL     HMES67083     2007   TOYOT   8FGCU25‐14026   8FGCU     IL          Rockford
 HMES     FORKLIFT         FKL     HMES67084     2007   TOYOT   8FGCU25‐14133   8FGCU     NC          Kernersville
 HMES     FORKLIFT         FKL     HMES67086     2007   TOYOT   8FGCU25‐14259   8FGCU     MI          Wayland
 HMES     FORKLIFT         FKL     HMES67087     2007   TOYOT   8FGCU25‐14028   8FGCU     MI          Wayland
 HMES     FORKLIFT         FKL     HMES67088     2007   TOYOT   8FGCU25‐14029   8FGCU     MI          Wayland
 HMES     FORKLIFT         FKL     HMES67089     2007   TOYOT   8FGCU25‐14030   8FGCU     MI          Wayland
 HMES     FORKLIFT         FKL     HMES67090     2007   TOYOT   8FGCU25‐14032   8FGCU     MI          Jackson
 HMES     FORKLIFT         FKL     HMES67091     2007   TOYOT   8FGCU25‐13889   8FGCU     KS          Kansas City
 HMES     FORKLIFT         FKL     HMES67092     2007   TOYOT   8FGCU25‐13955   8FGCU     IL          Atlanta
 HMES     FORKLIFT         FKL     HMES67093     2007   TOYOT   8FGCU25‐13961   8FGCU     OH          Columbus
 HMES     FORKLIFT         FKL     HMES67094     2007   TOYOT   8FGCU25‐13962   8FGCU     NC          Charlotte
 HMES     FORKLIFT         FKL     HMES67097     2007   TOYOT   8FGCU25‐13763   8FGCU     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES67098     2007   MTSBS   AF82F10684      FGC25     MO          Sikeston
 HMES     FORKLIFT         FKL     HMES67099     2007   MTSBS   AF82F10685      FGC25     IL          Wheeling
 HMES     FORKLIFT         FKL     HMES67100     2007   TOYOT   7FGCU25‐14126   FGCU2     AL          Birmingham
 HMES     FORKLIFT         FKL     HMES67103     2007   TOYOT   7FGCU25‐02987   FGCU2     GA          Ringgold
 HMES     FORKLIFT         FKL     HMES68501     2008   TOYOT   8FGCU25‐20805   FGCU2     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68502     2008   TOYOT   8FGCU25‐20807   FGCU2     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68503     2008   TOYOT   8FGCU25‐21116   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68504     2008   TOYOT   8FGCU25‐21121   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68505     2008   TOYOT   8FGCU25‐20809   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68506     2008   TOYOT   8FGCU25‐21133   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68507     2008   TOYOT   8FGCU25‐21137   8FGCU     IL          Rockford
 HMES     FORKLIFT         FKL     HMES68508     2008   TOYOT   8FGCU25‐20834   8FGCU     OH          Columbus
 HMES     FORKLIFT         FKL     HMES68509     2008   TOYOT   8FGCU25‐20938   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68510     2008   TOYOT   8FGCU25‐20983   8FGCU     IL          Rockford
 HMES     FORKLIFT         FKL     HMES68511     2008   TOYOT   8FGCU25‐21022   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68512     2008   TOYOT   8FGCU25‐21050   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68513     2008   TOYOT   8FGCU25‐21150   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68514     2008   TOYOT   8FGCU25‐21147   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68515     2008   TOYOT   8FGCU25‐21153   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68516     2008   TOYOT   8FGCU25‐21092   8FGCU     OH          Columbus
 HMES     FORKLIFT         FKL     HMES68517     2008   TOYOT   8FGCU25‐20893   8FGCU     MI          Wayland
 HMES     FORKLIFT         FKL     HMES68518     2008   TOYOT   8FGCU25‐20896   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68519     2008   TOYOT   8FGCU25‐20897   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68520     2008   TOYOT   8FGCU25‐20900   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68521     2008   TOYOT   8FGCU25‐21028   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68522     2008   TOYOT   8FGCU25‐21056   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68523     2008   TOYOT   8FGCU25‐20877   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68524     2008   TOYOT   8FGCU25‐21084   8FGCU     IN          Jeffersonville
 HMES     FORKLIFT         FKL     HMES68525     2008   TOYOT   8FGCU25‐21097   8FGCU     FL          Fort Myers
 HMES     FORKLIFT         FKL     HMES68526     2008   TOYOT   8FGCU25‐21868   FGCU2     IN          South Bend
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 84 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     FORKLIFT         FKL      HMES68527      2008   TOYOT   8FGCU25‐21854       FGCU2     IN          South Bend
 HMES     FORKLIFT         FKL      HMES68528      2008   TOYOT   8FGCU25‐21860       FGCU2     MI          Birch Run
 HMES     FORKLIFT         FKL      HMES68529      2008   TOYOT   8FGCU25‐21864       FGCU2     MI          Birch Run
 HMES     FORKLIFT         FKL      HMES68530      2008   TOYOT   8FGCU25‐21494       FGCU2     MI          Birch Run
 HMES     FORKLIFT         FKL      HMES68531      2008   TOYOT   8FGCU25‐21503       FGCU2     MI          Birch Run
 HMES     FORKLIFT         FKL      HMES68532      2008   TOYOT   8FGCU25‐21505       FGCU2     MI          Birch Run
 HMES     FORKLIFT         FKL      HMES68533      2008   TOYOT   8FGCU25‐21508       FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL      HMES68534      2008   TOYOT   8FGCU25‐21458       FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL      HMES68535      2008   TOYOT   8FGCU25‐21408       FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL      HMES68536      2008   TOYOT   8FGCU25‐21588       FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL      HMES68537      2008   TOYOT   8FGCU25‐21592       FGCU2     OH          Bowling Green
 HMES     FORKLIFT         FKL      HMES68538      2008   TOYOT   8FGCU25‐21595       FGCU2     MS          Olive Branch
 HMES     FORKLIFT         FKL      HMES68540      2008   TOYOT   8FGCU25‐21626       FGCU2     TN          Memphis
 HMES     FORKLIFT         FKL      HMES68542      2008   TOYOT   8FGCU25‐21648       FGCU2     SC          Piedmont
 HMES     FORKLIFT         FKL      HMES68543      2008   TOYOT   8FGCU25‐21642       FGCU2     SC          Piedmont
 HMES     FORKLIFT         FKL      HMES68544      2008   TOYOT   8FGCU25‐21654       FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL      HMES68545      2008   TOYOT   8FGCU25‐21719       FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL      HMES68546      2008   TOYOT   8FGCU25‐21745       FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL      HMES68547      2008   TOYOT   8FGCU25‐21772       FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL      HMES68548      2008   TOYOT   8FGCU25‐21812       FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL      HMES68549      2008   TOYOT   8FGCU25‐21866       FGCU2     IL          Joliet
 HMES     FORKLIFT         FKL      HMES68550      2008   TOYOT   8FGCU25‐21369       FGCU2     OH          Cincinnati
 HMES     FORKLIFT         FKL      HMES69366      1999   MTSBS   AF82C01863          FGC25     IL          Joliet
 HMES     FORKLIFT         FKL      HMES69399      2002   TOYOT   7FGCU25‐73840       FGCU2     KS          Kansas City
 HMES     ROAD TRAILER     CTL‐TA   HMES453662     2014   WABSH   1JJV532D2EL795154   NA        NC          Durham
 HMES     ROAD TRAILER     CTL‐TA   HMES453671     2014   WABSH   1JJV532D0EL794083   NA        IL          Joliet
 HMES     ROAD TRAILER     CTL‐TA   HMES453675     2014   WABSH   1JJV532D2EL796207   NA        IL          Rockford
 HMES     ROAD TRAILER     CTL‐TA   HMES453677     2014   WABSH   1JJV532D7EL795229   NA        IN          Jeffersonville
 HMES     ROAD TRAILER     CTL‐TA   HMES453678     2014   WABSH   1JJV532D4EL795477   NA        OH          Akron
 HMES     ROAD TRAILER     CTL‐TA   HMES453679     2014   WABSH   1JJV532D8EL795787   NA        MS          Olive Branch
 HMES     ROAD TRAILER     CTL‐TA   HMES453680     2014   WABSH   1JJV532D4EL796239   NA        OH          Akron
 HMES     ROAD TRAILER     CTL‐TA   HMES453681     2014   WABSH   1JJV532D6EL796288   NA        OH          Copley
 HMES     ROAD TRAILER     CTL‐TA   HMES453682     2014   WABSH   1JJV532D7EL796378   NA        OH          Akron
 HMES     ROAD TRAILER     CTL‐TA   HMES483161     2003   WABSH   1JJV482W23L849650   NONE      IN          Fort Wayne
 HMES     ROAD TRAILER     CTL‐TA   HMES485096     2005   GRTDN   1GRAA96225K263106   NONE      OH          Brooklyn
 HMES     ROAD TRAILER     CTL‐TA   HMES515314     2015   STGHT   1DW1A5326FB577814   ZGPVW     NC          Charlotte
 HMES     ROAD TRAILER     CTL‐TA   HMES536609     2006   GRTDN   1GRAA06226J610159   SSL       IL          Wheeling
 HMES     ROAD TRAILER     CTL‐TA   HMES536665     2006   GRTDN   1GRAA06286J610215   SSL       MN          Owatonna
 HMES     ROAD TRAILER     CTL‐TA   HMES537046     2007   GRTDN   1GRAA06227D423973   SSL       MI          Birch Run
 HMES     ROAD TRAILER     CTL‐TA   HMES537083     2007   GRTDN   1GRAA06227D424010   SSL       MI          Wayland
 HMES     ROAD TRAILER     CTL‐TA   HMES546095     2006   GRTDN   1GRAA06216T521283   SSL       IN          South Bend
 HMES     ROAD TRAILER     CTL‐TA   HMES546290     2006   GRTDN   1GRAA06256T521478   SSL       IL          Chicago Heights
 HMES     ROAD TRAILER     CTL‐TA   HMES546494     2006   GRTDN   1GRAA06246T521682   SSL       GA          Marietta
 HMES     ROAD TRAILER     CTL‐TA   HMES585036     2015   STGHT   1DW1A4827FB577937   ZGPVW     IL          Rock Island
 HMES     ROAD TRAILER     CTL‐TA   HMES585121     2015   STGHT   1DW1A482XFB596451   ZGPVW     NC          Kernersville
 HMES     ROAD TRAILER     RTL‐SA   HMES145608     2023   HYUND   3H3V281K9PJ116002   NA        NY          Tonawanda
 HMES     ROAD TRAILER     RTL‐SA   HMES145609     2023   HYUND   3H3V281K0PJ116003   NA        OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐SA   HMES145610     2023   HYUND   3H3V281K2PJ116004   NA        MS          Richland
 HMES     ROAD TRAILER     RTL‐SA   HMES145611     2023   HYUND   3H3V281K4PJ116005   NA        OR          Portland
 HMES     ROAD TRAILER     RTL‐SA   HMES145612     2023   HYUND   3H3V281K6PJ116006   NA        MI          Romulus
 HMES     ROAD TRAILER     RTL‐SA   HMES145613     2023   HYUND   3H3V281K8PJ116007   NA        OH          Richfield
 HMES     ROAD TRAILER     RTL‐SA   HMES145614     2023   HYUND   3H3V281KXPJ116008   NA        NM          Albuquerque
 HMES     ROAD TRAILER     RTL‐SA   HMES145615     2023   HYUND   3H3V281K1PJ116009   NA        TX          Houston
 HMES     ROAD TRAILER     RTL‐SA   HMES145616     2023   HYUND   3H3V281K8PJ116010   NA        PA          Bensalem
 HMES     ROAD TRAILER     RTL‐SA   HMES145617     2023   HYUND   3H3V281KXPJ116011   NA        NY          Tonawanda
 HMES     ROAD TRAILER     RTL‐SA   HMES145618     2023   HYUND   3H3V281K1PJ116012   NA        CA          Bloomington
 HMES     ROAD TRAILER     RTL‐SA   HMES145619     2023   HYUND   3H3V281K3PJ116013   NA        AZ          Phoenix
 HMES     ROAD TRAILER     RTL‐SA   HMES145620     2023   HYUND   3H3V281K5PJ116014   NA        CA          Tracy
 HMES     ROAD TRAILER     RTL‐SA   HMES145621     2023   HYUND   3H3V281K7PJ116015   NA        TN          Nashville
 HMES     ROAD TRAILER     RTL‐SA   HMES145622     2023   HYUND   3H3V281K9PJ116016   NA        MO          Saint Louis
 HMES     ROAD TRAILER     RTL‐SA   HMES145623     2023   HYUND   3H3V281K0PJ116017   NA        MN          Burnsville
 HMES     ROAD TRAILER     RTL‐SA   HMES145624     2023   HYUND   3H3V281K2PJ116018   NA        NY          Maybrook
 HMES     ROAD TRAILER     RTL‐SA   HMES145625     2023   HYUND   3H3V281K4PJ116019   NA        CA          Pico Rivera
 HMES     ROAD TRAILER     RTL‐SA   HMES145626     2023   HYUND   3H3V281K0PJ116020   NA        IN          South Bend
 HMES     ROAD TRAILER     RTL‐SA   HMES145627     2023   HYUND   3H3V281K2PJ116021   NA        NJ          South Plainfield
 HMES     ROAD TRAILER     RTL‐SA   HMES145628     2023   HYUND   3H3V281K4PJ116022   NA        TX          Irving
 HMES     ROAD TRAILER     RTL‐SA   HMES145629     2023   HYUND   3H3V281K6PJ116023   NA        NY          Tonawanda
 HMES     ROAD TRAILER     RTL‐SA   HMES145630     2023   HYUND   3H3V281K8PJ116024   NA        NY          Elmira
 HMES     ROAD TRAILER     RTL‐SA   HMES145631     2023   HYUND   3H3V281KXPJ116025   NA        FL          Jacksonville
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 85 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐SA   HMES145632     2023   HYUND   3H3V281K1PJ116026   NA        AL          Montgomery
 HMES     ROAD TRAILER     RTL‐SA   HMES145633     2023   HYUND   3H3V281K3PJ116027   NA        IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐SA   HMES145634     2023   HYUND   3H3V281K5PJ116028   NA        ND          Fargo
 HMES     ROAD TRAILER     RTL‐SA   HMES145635     2023   HYUND   3H3V281K7PJ116029   NA        NC          Charlotte
 HMES     ROAD TRAILER     RTL‐SA   HMES145636     2023   HYUND   3H3V281K3PJ116030   NA        CO          Aurora
 HMES     ROAD TRAILER     RTL‐SA   HMES145637     2023   HYUND   3H3V281K5PJ116031   NA        TN          Memphis
 HMES     ROAD TRAILER     RTL‐SA   HMES145638     2023   HYUND   3H3V281K7PJ116032   NA        OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐SA   HMES145639     2023   HYUND   3H3V281K9PJ116033   NA        WA          Seattle
 HMES     ROAD TRAILER     RTL‐SA   HMES145640     2023   HYUND   3H3V281K0PJ116034   NA        OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐SA   HMES145641     2023   HYUND   3H3V281K2PJ116035   NA        NC          Charlotte
 HMES     ROAD TRAILER     RTL‐SA   HMES145642     2023   HYUND   3H3V281K4PJ116036   NA        TX          Irving
 HMES     ROAD TRAILER     RTL‐SA   HMES145643     2023   HYUND   3H3V281K6PJ116037   NA        OK          Oklahoma City
 HMES     ROAD TRAILER     RTL‐SA   HMES145644     2023   HYUND   3H3V281K8PJ116038   NA        WI          Tomah
 HMES     ROAD TRAILER     RTL‐SA   HMES145645     2023   HYUND   3H3V281KXPJ116039   NA        MS          Richland
 HMES     ROAD TRAILER     RTL‐SA   HMES145646     2023   HYUND   3H3V281K6PJ116040   NA        MO          Kansas City
 HMES     ROAD TRAILER     RTL‐SA   HMES145647     2023   HYUND   3H3V281K8PJ116041   NA        TN          Jackson
 HMES     ROAD TRAILER     RTL‐SA   HMES145648     2023   HYUND   3H3V281KXPJ116042   NA        TX          Irving
 HMES     ROAD TRAILER     RTL‐SA   HMES145649     2023   HYUND   3H3V281K1PJ116043   NA        TX          Sherman
 HMES     ROAD TRAILER     RTL‐SA   HMES145650     2023   HYUND   3H3V281K3PJ116044   NA        CA          Downey
 HMES     ROAD TRAILER     RTL‐SA   HMES145651     2023   HYUND   3H3V281K5PJ116045   NA        CA          Tracy
 HMES     ROAD TRAILER     RTL‐SA   HMES145652     2023   HYUND   3H3V281K7PJ116046   NA        NJ          Hamilton
 HMES     ROAD TRAILER     RTL‐SA   HMES145653     2023   HYUND   3H3V281K9PJ116047   NA        IN          South Bend
 HMES     ROAD TRAILER     RTL‐SA   HMES145654     2023   HYUND   3H3V281K0PJ116048   NA        MN          Coon Rapids
 HMES     ROAD TRAILER     RTL‐SA   HMES145655     2023   HYUND   3H3V281K2PJ116049   NA        IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐SA   HMES145656     2023   HYUND   3H3V281K9PJ116050   NA        CA          Pico Rivera
 HMES     ROAD TRAILER     RTL‐SA   HMES145657     2023   HYUND   3H3V281K0PJ116051   NA        OR          Roseburg
 HMES     ROAD TRAILER     RTL‐SA   HMES145658     2023   HYUND   3H3V281K2PJ116052   NA        CA          Tracy
 HMES     ROAD TRAILER     RTL‐SA   HMES145659     2023   HYUND   3H3V281K4PJ116053   NA        PQ          Sherbrooke
 HMES     ROAD TRAILER     RTL‐SA   HMES145660     2023   HYUND   3H3V281K6PJ116054   NA        CA          Anderson
 HMES     ROAD TRAILER     RTL‐SA   HMES145661     2023   HYUND   3H3V281K8PJ116055   NA        CO          Aurora
 HMES     ROAD TRAILER     RTL‐SA   HMES145662     2023   HYUND   3H3V281KXPJ116056   NA        MD          Hagerstown
 HMES     ROAD TRAILER     RTL‐SA   HMES145663     2023   HYUND   3H3V281K1PJ116057   NA        Ontario     Mississauga
 HMES     ROAD TRAILER     RTL‐SA   HMES145664     2023   HYUND   3H3V281K3PJ116058   NA        TX          Irving
 HMES     ROAD TRAILER     RTL‐SA   HMES145665     2023   HYUND   3H3V281K5PJ116059   NA        ID          Twin Falls
 HMES     ROAD TRAILER     RTL‐SA   HMES145666     2023   HYUND   3H3V281K1PJ116060   NA        NC          Charlotte
 HMES     ROAD TRAILER     RTL‐SA   HMES145667     2023   HYUND   3H3V281K3PJ116061   NA        WA          Spokane
 HMES     ROAD TRAILER     RTL‐SA   HMES145668     2023   HYUND   3H3V281K5PJ116062   NA        NY          Maybrook
 HMES     ROAD TRAILER     RTL‐SA   HMES145669     2023   HYUND   3H3V281K7PJ116063   NA        VA          Manassas
 HMES     ROAD TRAILER     RTL‐SA   HMES145670     2023   HYUND   3H3V281K9PJ116064   NA        CA          Tracy
 HMES     ROAD TRAILER     RTL‐SA   HMES145671     2023   HYUND   3H3V281K0PJ116065   NA        CA          Tracy
 HMES     ROAD TRAILER     RTL‐SA   HMES145672     2023   HYUND   3H3V281K2PJ116066   NA        TX          Irving
 HMES     ROAD TRAILER     RTL‐SA   HMES145673     2023   HYUND   3H3V281K4PJ116067   NA        OH          Copley
 HMES     ROAD TRAILER     RTL‐SA   HMES145674     2023   HYUND   3H3V281K6PJ116068   NA        NY          Tonawanda
 HMES     ROAD TRAILER     RTL‐SA   HMES145675     2023   HYUND   3H3V281K8PJ116069   NA        MD          Baltimore
 HMES     ROAD TRAILER     RTL‐SA   HMES145676     2023   HYUND   3H3V281K4PJ116070   NA        CA          Sacramento
 HMES     ROAD TRAILER     RTL‐SA   HMES145677     2023   HYUND   3H3V281K6PJ116071   NA        CO          Henderson
 HMES     ROAD TRAILER     RTL‐SA   HMES145678     2023   HYUND   3H3V281K8PJ116072   NA        OH          Copley
 HMES     ROAD TRAILER     RTL‐SA   HMES145679     2023   HYUND   3H3V281KXPJ116073   NA        TX          Houston
 HMES     ROAD TRAILER     RTL‐SA   HMES145680     2023   HYUND   3H3V281K1PJ116074   NA        MO          Columbia
 HMES     ROAD TRAILER     RTL‐SA   HMES145681     2023   HYUND   3H3V281K3PJ116075   NA        NY          Rochester
 HMES     ROAD TRAILER     RTL‐SA   HMES145682     2023   HYUND   3H3V281K5PJ116076   NA        OH          Richfield
 HMES     ROAD TRAILER     RTL‐SA   HMES145683     2023   HYUND   3H3V281K7PJ116077   NA        TX          Abilene
 HMES     ROAD TRAILER     RTL‐SA   HMES145684     2023   HYUND   3H3V281K9PJ116078   NA        CA          San Diego
 HMES     ROAD TRAILER     RTL‐SA   HMES145685     2023   HYUND   3H3V281K0PJ116079   NA        CA          Ventura
 HMES     ROAD TRAILER     RTL‐SA   HMES145686     2023   HYUND   3H3V281K7PJ116080   NA        VT          Bellows Falls
 HMES     ROAD TRAILER     RTL‐SA   HMES145687     2023   HYUND   3H3V281K9PJ116081   NA        NJ          Millville
 HMES     ROAD TRAILER     RTL‐SA   HMES145688     2023   HYUND   3H3V281K0PJ116082   NA        CA          Bloomington
 HMES     ROAD TRAILER     RTL‐SA   HMES145689     2023   HYUND   3H3V281K2PJ116083   NA        IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐SA   HMES145690     2023   HYUND   3H3V281K4PJ116084   NA        CO          Aurora
 HMES     ROAD TRAILER     RTL‐SA   HMES145691     2023   HYUND   3H3V281K6PJ116085   NA        NY          Maybrook
 HMES     ROAD TRAILER     RTL‐SA   HMES145692     2023   HYUND   3H3V281K8PJ116086   NA        NE          Kearney
 HMES     ROAD TRAILER     RTL‐SA   HMES145693     2023   HYUND   3H3V281KXPJ116087   NA        NM          Albuquerque
 HMES     ROAD TRAILER     RTL‐SA   HMES145694     2023   HYUND   3H3V281K1PJ116088   NA        WI          Neenah
 HMES     ROAD TRAILER     RTL‐SA   HMES145695     2023   HYUND   3H3V281K3PJ116089   NA        OR          Portland
 HMES     ROAD TRAILER     RTL‐SA   HMES145696     2023   HYUND   3H3V281KXPJ116090   NA        AL          Decatur
 HMES     ROAD TRAILER     RTL‐SA   HMES145697     2023   HYUND   3H3V281K1PJ116091   NA        OK          Oklahoma City
 HMES     ROAD TRAILER     RTL‐SA   HMES145698     2023   HYUND   3H3V281K3PJ116092   NA        MI          Wyoming
 HMES     ROAD TRAILER     RTL‐SA   HMES145699     2023   HYUND   3H3V281K5PJ116093   NA        PA          Bedford
 HMES     ROAD TRAILER     RTL‐SA   HMES145700     2023   HYUND   3H3V281K7PJ116094   NA        NC          Fayetteville
                     Case 23-11069-CTG             Doc 969-1         Filed 10/26/23        Page 86 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐SA   HMES145701     2023   HYUND   3H3V281K9PJ116095   NA        NY          Maybrook
 HMES     ROAD TRAILER     RTL‐SA   HMES145702     2023   HYUND   3H3V281K0PJ116096   NA        IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐SA   HMES145703     2023   HYUND   3H3V281K2PJ116097   NA        TN          Memphis
 HMES     ROAD TRAILER     RTL‐SA   HMES145704     2023   HYUND   3H3V281K4PJ116098   NA        TX          Sherman
 HMES     ROAD TRAILER     RTL‐SA   HMES145705     2023   HYUND   3H3V281K6PJ116099   NA        MO          Saint Louis
 HMES     ROAD TRAILER     RTL‐SA   HMES145706     2023   HYUND   3H3V281K9PJ116100   NA        Alberta     Edmonton
 HMES     ROAD TRAILER     RTL‐TA   HMES353700     2007   WABSH   1JJV532W17L051047   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES421000     2021   VANGU   5V8VA4828MM109107   VAN       WI          Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES421001     2021   VANGU   5V8VA482XMM109108   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421002     2021   VANGU   5V8VA4821MM109109   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421003     2021   VANGU   5V8VA4828MM109110   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421004     2021   VANGU   5V8VA482XMM109111   VAN       MD          Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES421005     2021   VANGU   5V8VA4821MM109112   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES421006     2021   VANGU   5V8VA4823MM109113   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES421007     2021   VANGU   5V8VA4825MM109114   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421008     2021   VANGU   5V8VA4827MM109115   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES421009     2021   VANGU   5V8VA4829MM109116   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES421010     2021   VANGU   5V8VA4820MM109117   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421011     2021   VANGU   5V8VA4822MM109118   VAN       NY          Elmira
 HMES     ROAD TRAILER     RTL‐TA   HMES421012     2021   VANGU   5V8VA4824MM109119   VAN       MI          Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES421013     2021   VANGU   5V8VA4820MM109120   VAN       IA          Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES421014     2021   VANGU   5V8VA4822MM109121   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES421015     2021   VANGU   5V8VA4824MM109122   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421016     2021   VANGU   5V8VA4826MM109123   VAN       OH          Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES421017     2021   VANGU   5V8VA4828MM109124   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES421018     2021   VANGU   5V8VA482XMM109125   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421019     2021   VANGU   5V8VA4821MM109126   VAN       KY          Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES421020     2021   VANGU   5V8VA4823MM109127   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES421021     2021   VANGU   5V8VA4825MM109128   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES421022     2021   VANGU   5V8VA4827MM109129   VAN       IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES421023     2021   VANGU   5V8VA4823MM109130   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421024     2021   VANGU   5V8VA4825MM109131   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421025     2021   VANGU   5V8VA4827MM109132   VAN       MN          Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES421026     2021   VANGU   5V8VA4829MM109133   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421027     2021   VANGU   5V8VA4820MM109134   VAN       OH          Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES421028     2021   VANGU   5V8VA4822MM109135   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421029     2021   VANGU   5V8VA4824MM109136   VAN       MO          Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES421030     2021   VANGU   5V8VA4826MM109137   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES421031     2021   VANGU   5V8VA4828MM109138   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES421032     2021   VANGU   5V8VA482XMM109139   VAN       WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES421033     2021   VANGU   5V8VA4826MM109140   VAN       MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES421034     2021   VANGU   5V8VA4828MM109141   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421035     2021   VANGU   5V8VA482XMM109142   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES421036     2021   VANGU   5V8VA4821MM109143   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421037     2021   VANGU   5V8VA4823MM109144   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421038     2021   VANGU   5V8VA4825MM109145   VAN       AL          Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES421039     2021   VANGU   5V8VA4827MM109146   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421040     2022   VANGU   5V8VA4820NT201092   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421041     2022   VANGU   5V8VA4822NT201093   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421042     2022   VANGU   5V8VA4824NT201094   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421043     2022   VANGU   5V8VA4826NT201095   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES421044     2022   VANGU   5V8VA4828NT201096   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421045     2022   VANGU   5V8VA482XNT201097   VAN       DE          New Castle
 HMES     ROAD TRAILER     RTL‐TA   HMES421046     2022   VANGU   5V8VA4821NT201098   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421047     2022   VANGU   5V8VA4823NT201099   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421048     2022   VANGU   5V8VA4826NT201100   VAN       MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES421049     2022   VANGU   5V8VA4828NT201101   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421050     2022   VANGU   5V8VA482XNT201102   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES421051     2022   VANGU   5V8VA4821NT201103   VAN       IL          Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES421052     2022   VANGU   5V8VA4823NT201104   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421053     2022   VANGU   5V8VA4825NT201105   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES421054     2022   VANGU   5V8VA4827NT201106   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421055     2022   VANGU   5V8VA4829NT201107   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421056     2022   VANGU   5V8VA4820NT201108   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421057     2022   VANGU   5V8VA4822NT201109   VAN       OH          Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES421058     2022   VANGU   5V8VA4829NT201110   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES421059     2022   VANGU   5V8VA4820NT201111   VAN       MI          Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES421060     2022   VANGU   5V8VA4822NT201112   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421061     2022   VANGU   5V8VA4824NT201113   VAN       NC          Charlotte
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 87 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES421062     2022   VANGU   5V8VA4826NT201114   VAN       WI          Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES421063     2022   VANGU   5V8VA4828NT201115   VAN       AZ          Phoenix
 HMES     ROAD TRAILER     RTL‐TA   HMES421064     2022   VANGU   5V8VA482XNT201116   VAN       MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES421065     2022   VANGU   5V8VA4821NT201117   VAN       MI          Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES421066     2022   VANGU   5V8VA4823NT201118   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421067     2022   VANGU   5V8VA4825NT201119   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES421068     2022   VANGU   5V8VA4821NT201120   VAN       MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES421069     2022   VANGU   5V8VA4823NT201121   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421070     2022   VANGU   5V8VA4825NT201122   VAN       NC          Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES421071     2022   VANGU   5V8VA4827NT201123   VAN       TX          Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES421072     2022   VANGU   5V8VA4829NT201124   VAN       CA          Pomona
 HMES     ROAD TRAILER     RTL‐TA   HMES421074     2022   VANGU   5V8VA4822NT201126   VAN       VA          Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES421075     2022   VANGU   5V8VA4824NT201127   VAN       OH          Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES421076     2022   VANGU   5V8VA4826NT201128   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421077     2022   VANGU   5V8VA4828NT201129   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES421078     2022   VANGU   5V8VA4824NT201130   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421079     2022   VANGU   5V8VA4826NT201131   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421080     2022   VANGU   5V8VA4828NT201132   VAN       PA          Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES421081     2022   VANGU   5V8VA482XNT201133   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES421082     2022   VANGU   5V8VA4821NT201134   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES421083     2022   VANGU   5V8VA4823NT201135   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES421084     2022   VANGU   5V8VA4825NT201136   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES421085     2022   VANGU   5V8VA4827NT201137   VAN       OH          Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES421086     2022   VANGU   5V8VA4829NT201138   VAN       MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES421087     2022   VANGU   5V8VA4820NT201139   VAN       NY          Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES421088     2022   VANGU   5V8VA4827NT201140   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES421089     2022   VANGU   5V8VA4829NT201141   VAN       KY          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES421090     2022   VANGU   5V8VA4820NT201142   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES421091     2022   VANGU   5V8VA4822NT201143   VAN       MI          Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES421092     2022   VANGU   5V8VA4824NT201144   VAN       MO          Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES421093     2022   VANGU   5V8VA4826NT201145   VAN       NJ          South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES421094     2022   VANGU   5V8VA4828NT201146   VAN       MI          Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES421095     2022   VANGU   5V8VA482XNT201147   VAN       WI          Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES421096     2022   VANGU   5V8VA4821NT201148   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421097     2022   VANGU   5V8VA4823NT201149   VAN       NV          Las Vegas
 HMES     ROAD TRAILER     RTL‐TA   HMES421098     2022   VANGU   5V8VA482XNT201150   VAN       MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES421099     2022   VANGU   5V8VA4821NT201151   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES421100     2022   VANGU   5V8VA4823NT201152   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421101     2022   VANGU   5V8VA4825NT201153   VAN       NC          Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES421102     2022   VANGU   5V8VA4827NT201154   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES421103     2022   VANGU   5V8VA4829NT201155   VAN       MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES421104     2022   VANGU   5V8VA4820NT201156   VAN       TN          Kingsport
 HMES     ROAD TRAILER     RTL‐TA   HMES421105     2022   VANGU   5V8VA4822NT201157   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES421106     2022   VANGU   5V8VA4824NT201158   VAN       MN          Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES421107     2022   VANGU   5V8VA4826NT201159   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES421108     2022   VANGU   5V8VA4822NT201160   VAN       WI          Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES421109     2022   VANGU   5V8VA4824NT201161   VAN       NC          Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES421110     2022   VANGU   5V8VA4826NT201162   VAN       IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421111     2022   VANGU   5V8VA4828NT201163   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421112     2022   VANGU   5V8VA482XNT201164   VAN       PA          Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES421113     2022   VANGU   5V8VA4821NT201165   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421114     2022   VANGU   5V8VA4823NT201166   VAN       IN          Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES421115     2022   VANGU   5V8VA4825NT201167   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421116     2022   VANGU   5V8VA4827NT201168   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES421117     2022   VANGU   5V8VA4829NT201169   VAN       KY          Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES421118     2022   VANGU   5V8VA4825NT201170   VAN       IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421119     2022   VANGU   5V8VA4827NT201171   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421120     2022   VANGU   5V8VA4829NT201172   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES421121     2022   VANGU   5V8VA4820NT201173   VAN       CA          Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES421122     2022   VANGU   5V8VA4822NT201174   VAN       TX          McAllen
 HMES     ROAD TRAILER     RTL‐TA   HMES421123     2022   VANGU   5V8VA4824NT201175   VAN       NY          Elmira
 HMES     ROAD TRAILER     RTL‐TA   HMES421124     2022   VANGU   5V8VA4826NT201176   VAN       MO          Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES421125     2022   VANGU   5V8VA4828NT201177   VAN       WI          Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES421126     2022   VANGU   5V8VA482XNT201178   VAN       IA          Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES421127     2022   VANGU   5V8VA4821NT201179   VAN       IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES421128     2022   VANGU   5V8VA4828NT201180   VAN       WI          Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES421129     2022   VANGU   5V8VA482XNT201181   VAN       TN          Kingsport
 HMES     ROAD TRAILER     RTL‐TA   HMES421130     2022   VANGU   5V8VA4821NT201182   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES421131     2022   VANGU   5V8VA4823NT201183   VAN       OH          Gallipolis
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 88 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES421132     2022   VANGU   5V8VA4825NT201184   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES421133     2022   VANGU   5V8VA4827NT201185   VAN       IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES421134     2022   VANGU   5V8VA4829NT201186   VAN       MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES421135     2022   VANGU   5V8VA4820NT201187   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES421136     2022   VANGU   5V8VA4822NT201188   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES421137     2022   VANGU   5V8VA4824NT201189   VAN       PQ          Dorval
 HMES     ROAD TRAILER     RTL‐TA   HMES421138     2022   VANGU   5V8VA4820NT201190   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES421139     2022   VANGU   5V8VA4822NT201191   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453000     2008   STGHT   1DW1A53208E047436   VAN       MI          Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES453001     2008   WABSH   1JJV532W68L111292   VAN       MI          Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES453002     2008   STGHT   1DW1A53288E047474   VAN       IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES453003     2009   WABSH   1JJV532W29L313015   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453004     2008   WABSH   1JJV532W08L111742   VAN       IA          Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES453005     2008   WABSH   1JJV532W18L111796   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453006     2008   GRTDN   1GRAP06248T542906   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453007     2008   WABSH   1JJV532W18L112558   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453008     2008   WABSH   1JJV532W38L111296   VAN       AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES453009     2008   WABSH   1JJV532W68L111633   VAN       MI          Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES453011     2008   WABSH   1JJV532WX8L112235   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453012     2008   WABSH   1JJV532W38L112142   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453013     2008   WABSH   1JJV532W48L112022   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453014     2008   WABSH   1JJV532W18L141655   VAN       WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES453015     2008   WABSH   1JJV532W98L111559   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453016     2009   WABSH   1JJV532W99L312931   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453017     2009   WABSH   1JJV532W09L313126   VAN       IN          Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES453018     2008   WABSH   1JJV532W28L141843   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453019     2008   GRTDN   1GRAP06208T542885   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES453020     2008   WABSH   1JJV532W18L112186   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453021     2008   WABSH   1JJV532W18L111894   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453022     2008   WABSH   1JJV532W78L111625   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453023     2008   WABSH   1JJV532W08L111935   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453024     2008   WABSH   1JJV532W88L112539   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453025     2009   WABSH   1JJV532W69L312949   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453026     2009   GRTDN   1GRAP06249T553664   VAN       AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES453027     2009   GRTDN   1GRAP06229T553727   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES453028     2008   WABSH   1JJV532W18L111488   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453029     2008   WABSH   1JJV532W28L111807   VAN       MO          Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES453031     2008   WABSH   1JJV532WX8L141654   VAN       WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES453032     2008   WABSH   1JJV532W88L111472   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453033     2008   STGHT   1DW1A532X8E047475   VAN       KY          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453034     2008   STGHT   1DW1A53298E047435   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453035     2008   WABSH   1JJV532W28L111886   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453036     2008   WABSH   1JJV532W98L112503   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453037     2008   WABSH   1JJV532W68L111888   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453038     2008   WABSH   1JJV532W68L111325   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453040     2009   WABSH   1JJV532W99L313058   VAN       NY          Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES453041     2008   WABSH   1JJV532W78L111379   VAN       IA          Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES453042     2008   WABSH   1JJV532W18L111765   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453043     2008   WABSH   1JJV532W08L111532   VAN       TX          Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES453044     2008   WABSH   1JJV532W49L313081   VAN       MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES453046     2008   WABSH   1JJV532W08L111353   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453047     2008   WABSH   1JJV532W78L112595   VAN       PA          Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES453048     2008   WABSH   1JJV532W98L112498   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453049     2008   WABSH   1JJV532W78L111611   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453050     2008   WABSH   1JJV532W38L112089   VAN       MS          Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES453051     2008   WABSH   1JJV532W78L112211   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES453053     2008   WABSH   1JJV532W68L141652   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453054     2008   STGHT   1DW1A53288E047488   VAN       GA          Savannah
 HMES     ROAD TRAILER     RTL‐TA   HMES453055     2009   WABSH   1JJV532W39L313119   VAN       OH          Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453056     2008   WABSH   1JJV532WX8L111957   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453057     2008   WABSH   1JJV532W68L111793   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453058     2008   WABSH   1JJV532W78L111799   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453059     2009   WABSH   1JJV532W59L313025   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453060     2008   WABSH   1JJV532W08L141615   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453061     2008   GRTDN   1GRAP06268T542924   VAN       NC          Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES453062     2009   GRTDN   1GRAP06279T553755   VAN       IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453063     2008   WABSH   1JJV532W58L111557   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453064     2008   WABSH   1JJV532W88L111780   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453065     2008   WABSH   1JJV532W29L313130   VAN       GA          Ringgold
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 89 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES453066     2008   WABSH   1JJV532W48L112098   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453068     2009   WABSH   1JJV532WX8L112414   VAN       MI          Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES453069     2008   WABSH   1JJV532W28L111421   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453070     2008   WABSH   1JJV532W48L112473   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453071     2008   WABSH   1JJV532W48L112070   VAN       MN          Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES453072     2008   WABSH   1JJV532W98L112081   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453073     2008   WABSH   1JJV532W38L111671   VAN       IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES453074     2008   WABSH   1JJV532W28L141826   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453075     2009   WABSH   1JJV532W69L313146   VAN       MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES453076     2008   WABSH   1JJV532W78L111432   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453077     2008   STGHT   1DW1A53238E047480   VAN       AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES453078     2008   STGHT   1DW1A532X8E047413   VAN       TX          Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES453079     2008   WABSH   1JJV532W78L111267   NONE      AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES453080     2008   WABSH   1JJV532W18L111541   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453081     2008   WABSH   1JJV532W28L111502   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453082     2009   WABSH   1JJV532W39L312942   VAN       SC          West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES453083     2008   WABSH   1JJV532W68L112135   VAN       KY          Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES453084     2008   WABSH   1JJV532W88L111844   VAN       MO          Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES453085     2008   GRTDN   1GRAP06228T542998   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453086     2008   WABSH   1JJV532W78L111690   VAN       IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES453087     2008   STGHT   1DW1A53218E047459   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453088     2008   STGHT   1DW1A53268E047442   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453089     2007   WABSH   1JJV532W98L111660   VAN       NY          Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES453090     2008   WABSH   1JJV532WX8L112204   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453091     2008   WABSH   1JJV532W58L112210   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES453093     2008   WABSH   1JJV532W48L111680   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453094     2008   WABSH   1JJV532W18L112219   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453095     2008   WABSH   1JJV532W58L141657   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453096     2009   GRTDN   1GRAP06259T553737   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453097     2008   WABSH   1JJV532W28L112519   VAN       NY          Elmira
 HMES     ROAD TRAILER     RTL‐TA   HMES453098     2009   WABSH   1JJV532W09L312879   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453099     2009   GRTDN   1GRAP06279T553738   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453100     2008   WABSH   1JJV532W98L112209   VAN       PA          Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES453101     2008   WABSH   1JJV532W88L111827   VAN       TN          Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES453103     2009   WABSH   1JJV532WX9L313053   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453104     2009   WABSH   1JJV532WX9L312954   VAN       WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES453105     2008   WABSH   1JJV532W98L111285   VAN       MO          Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES453106     2008   WABSH   1JJV532W08L111417   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453107     2009   GRTDN   1GRAP06249T553745   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453108     2008   GRTDN   1GRAP06238T542976   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453109     2008   GRTDN   1GRAP06278T542916   VAN       SC          North Charleston
 HMES     ROAD TRAILER     RTL‐TA   HMES453110     2008   STGHT   1DW1A53298E047483   VAN       OH          Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453112     2008   WABSH   1JJV532W88L112458   VAN       SC          Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES453113     2008   WABSH   1JJV532W68L112443   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453114     2008   WABSH   1JJV532W88L112489   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453115     2008   WABSH   1JJV532W88L111259   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453117     2009   GRTDN   1GRAP06219T553752   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES453118     2008   WABSH   1JJV532W68L141599   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES453119     2008   WABSH   1JJV532W68L111583   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453120     2008   WABSH   1JJV532W68L111275   VAN       MN          Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES453121     2008   WABSH   1JJV532W68L112037   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453122     2008   GRTDN   1GRAP06258T542932   VAN       IL          Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES453123     2009   GRTDN   1GRAP06299T553742   VAN       NY          East Syracuse
 HMES     ROAD TRAILER     RTL‐TA   HMES453124     2008   WABSH   1JJV532W98L112579   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453125     2008   WABSH   1JJV532W08L111367   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453126     2009   WABSH   1JJV532WX9L312873   VAN       TX          Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES453127     2008   WABSH   1JJV532W28L112178   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453128     2008   WABSH   1JJV532W18L112429   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453129     2009   WABSH   1JJV532W09L312901   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453130     2008   WABSH   1JJV532W18L111779   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453131     2008   WABSH   1JJV532WX8L111425   VAN       KS          Wichita
 HMES     ROAD TRAILER     RTL‐TA   HMES453132     2008   WABSH   1JJV532W68L111891   VAN       IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453133     2008   WABSH   1JJV532W38L111959   VAN       NC          Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES453134     2008   STGHT   1DW1A53248E047441   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453135     2008   WABSH   1JJV532W48L141827   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453136     2009   GRTDN   1GRAP06259T553754   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453137     2008   WABSH   1JJV532W88L112492   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453138     2008   WABSH   1JJV532W18L111443   VAN       MI          Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES453139     2008   WABSH   1JJV532W98L111710   VAN       OH          Columbus
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 90 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES453140     2008   WABSH   1JJV532W98L111674   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES453141     2009   WABSH   1JJV532W29L312981   VAN       IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453142     2008   STGHT   1DW1A53218E047431   VAN       MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES453143     2008   WABSH   1JJV532W88L112220   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453144     2009   WABSH   1JJV532W79L312944   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453145     2009   WABSH   1JJV532W29L312995   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453146     2008   WABSH   1JJV532W48L112120   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453147     2008   WABSH   1JJV532W18L141834   VAN       MO          Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES453148     2008   WABSH   1JJV532W28L111970   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453149     2008   WABSH   1JJV532W68L112104   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453150     2008   WABSH   1JJV532W08L112499   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453151     2008   WABSH   1JJV532W98L111982   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453152     2008   WABSH   1JJV532W08L141601   VAN       IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES453154     2008   WABSH   1JJV532W68L112457   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES453155     2008   WABSH   1JJV532W98L111724   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453156     2008   WABSH   1JJV532W18L141848   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453157     2008   WABSH   1JJV532W68L112118   VAN       GA          Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES453158     2008   WABSH   1JJV532W18L112527   VAN       TX          Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES453159     2008   WABSH   1JJV532W48L112232   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453160     2008   WABSH   1JJV532W88L111374   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453161     2008   WABSH   1JJV532WX8L111943   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453162     2008   WABSH   1JJV532W48L111971   VAN       GA          Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES453163     2008   WABSH   1JJV532W78L111852   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453164     2008   WABSH   1JJV532WX8L112168   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES453165     2008   GRTDN   1GRAP062X8T542912   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453166     2008   WABSH   1JJV532W98L111478   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453167     2008   WABSH   1JJV532W48L111744   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES453168     2008   WABSH   1JJV532W38L112156   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453169     2009   WABSH   1JJV532W59L312893   VAN       OR          Portland
 HMES     ROAD TRAILER     RTL‐TA   HMES453170     2008   GRTDN   1GRAP06288T542908   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453171     2008   WABSH   1JJV532W78L112578   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453172     2009   WABSH   1JJV532W19L312924   VAN       IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES453173     2008   WABSH   1JJV532W98L111853   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453174     2008   WABSH   1JJV532W68L111986   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453175     2008   WABSH   1JJV532W08L111594   VAN       VA          Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES453176     2008   WABSH   1JJV532W28L112195   VAN       IL          Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES453177     2008   STGHT   1DW1A53248E047438   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453178     2008   WABSH   1JJV532W68L111745   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453179     2008   WABSH   1JJV532W38L111931   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453180     2008   WABSH   1JJV532WX8L112607   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453181     2008   WABSH   1JJV532W68L111955   VAN       MD          Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES453182     2008   WABSH   1JJV532W28L111645   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453183     2008   WABSH   1JJV532W08L111966   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453184     2008   WABSH   1JJV532W28L111290   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453185     2009   WABSH   1JJV532W79L313107   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453186     2009   WABSH   1JJV532W59L313123   VAN       OH          Copley
 HMES     ROAD TRAILER     RTL‐TA   HMES453187     2009   WABSH   1JJV532W99L313027   VAN       KY          Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES453188     2009   GRTDN   1GRAP06279T553741   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453189     2009   GRTDN   1GRAP06279T553724   VAN       IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453190     2008   WABSH   1JJV532W48L111646   VAN       MO          Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES453191     2008   WABSH   1JJV532W28L112021   VAN       KY          Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES453192     2008   WABSH   1JJV532W88L111469   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453193     2008   WABSH   1JJV532W08L111983   VAN       WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES453194     2008   WABSH   1JJV532W38L112030   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453195     2008   WABSH   1JJV532W68L111860   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453196     2008   WABSH   1JJV532W38L111685   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453197     2008   WABSH   1JJV532WX8L112011   VAN       WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES453198     2009   WABSH   1JJV532W09L313143   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453199     2009   WABSH   1JJV532W59L312960   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453200     2008   WABSH   1JJV532WX8L111621   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453201     2008   WABSH   1JJV532W08L112213   VAN       PA          Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES453202     2008   WABSH   1JJV532W38L111458   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453203     2008   WABSH   1JJV532W18L112110   VAN       SC          West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES453204     2008   WABSH   1JJV532W98L111464   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453206     2008   WABSH   1JJV532W08L111403   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES453207     2008   WABSH   1JJV532W38L112254   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453208     2008   WABSH   1JJV532W38L141656   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453209     2008   WABSH   1JJV532W68L111597   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453210     2008   WABSH   1JJV532W68L112054   VAN       NC          Raleigh
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 91 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES453211     2008   WABSH   1JJV532W98L141600   VAN       FL          Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES453212     2008   WABSH   1JJV532W78L112029   VAN       MS          Richland
 HMES     ROAD TRAILER     RTL‐TA   HMES453213     2008   WABSH   1JJV532W58L112224   VAN       AZ          Phoenix
 HMES     ROAD TRAILER     RTL‐TA   HMES453214     2008   WABSH   1JJV532W28L111712   VAN       MO          Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES453215     2008   GRTDN   1GRAP06298T542934   VAN       IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES453216     2008   GRTDN   1GRAP062X8T542960   VAN       IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453217     2008   GRTDN   1GRAP06298T542920   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453218     2008   STGHT   1DW1A53228E047485   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES453219     2009   WABSH   1JJV532W29L312902   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453220     2009   WABSH   1JJV532W69L313065   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES453221     2009   WABSH   1JJV532W59L312991   VAN       TX          Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES453222     2008   WABSH   1JJV532W78L112497   VAN       TN          Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES453224     2008   WABSH   1JJV532W28L111452   VAN       CA          Sun Valley
 HMES     ROAD TRAILER     RTL‐TA   HMES453225     2008   WABSH   1JJV532W18L112091   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453226     2008   WABSH   1JJV532W18L111832   VAN       WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES453227     2008   WABSH   1JJV532W98L111805   VAN       PA          McKees Rocks
 HMES     ROAD TRAILER     RTL‐TA   HMES453228     2008   WABSH   1JJV532W88L111892   VAN       NC          Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES453229     2009   GRTDN   1GRAP06219T553735   VAN       WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES453230     2008   WABSH   1JJV532W88L111438   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453232     2008   WABSH   1JJV532W88L111388   VAN       MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES453233     2008   WABSH   1JJV532W08L111501   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453234     2008   WABSH   1JJV532W38L111752   VAN       TX          San Antonio
 HMES     ROAD TRAILER     RTL‐TA   HMES453236     2008   WABSH   1JJV532W68L141618   VAN       WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES453237     2008   STGHT   1DW1A53298E047421   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453238     2009   GRTDN   1GRAP06289T553697   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453239     2008   WABSH   1JJV532W38L112450   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453240     2008   WABSH   1JJV532W98L112176   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453242     2008   WABSH   1JJV532W18L111619   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453243     2008   WABSH   1JJV532WX8L111358   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453244     2008   WABSH   1JJV532WX8L111716   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453245     2008   WABSH   1JJV532W58L111879   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453246     2008   WABSH   1JJV532W78L111771   VAN       KY          Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES453248     2008   WABSH   1JJV532W58L112241   VAN       IN          Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES453249     2008   WABSH   1JJV532W08L112146   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453250     2008   WABSH   1JJV532W68L141621   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453251     2008   GRTDN   1GRAP06229T553680   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES453252     2009   WABSH   1JJV532W19L313121   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453253     2008   GRTDN   1GRAP06268T542888   VAN       MO          Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES453254     2008   GRTDN   1GRAP06288T542925   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453255     2008   WABSH   1JJV532W88L112413   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453256     2008   WABSH   1JJV532W78L112418   VAN       RI          Cranston
 HMES     ROAD TRAILER     RTL‐TA   HMES453258     2008   WABSH   1JJV532W08L111269   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453259     2008   WABSH   1JJV532W08L111885   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES453260     2008   WABSH   1JJV532W18L112172   VAN       MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES453261     2008   WABSH   1JJV532W58L112000   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453262     2008   WABSH   1JJV532W48L112201   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES453263     2008   WABSH   1JJV532W28L111418   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453264     2008   WABSH   1JJV532W88L112587   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES453266     2009   WABSH   1JJV532W99L312962   VAN       IA          Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES453267     2009   GRTDN   1GRAP06299T553711   VAN       MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES453268     2009   GRTDN   1GRAP06269T553715   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453270     2008   WABSH   1JJV532W88L111830   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453271     2008   WABSH   1JJV532W18L111880   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453272     2008   WABSH   1JJV532W88L111603   VAN       NJ          South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES453273     2008   STGHT   1DW1A53278E047465   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453275     2008   WABSH   1JJV532W98L112548   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453276     2008   WABSH   1JJV532W98L112520   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453277     2008   WABSH   1JJV532W89L312886   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453278     2008   WABSH   1JJV532W68L111261   VAN       AL          Mobile
 HMES     ROAD TRAILER     RTL‐TA   HMES453279     2008   WABSH   1JJV532W48L111615   VAN       TN          Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES453281     2008   WABSH   1JJV532W58L112093   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453282     2008   WABSH   1JJV532W78L112192   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453283     2008   WABSH   1JJV532W58L111638   VAN       MN          Burnsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453284     2008   WABSH   1JJV532W48L111372   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453285     2008   WABSH   1JJV532W98L111402   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453286     2008   WABSH   1JJV532WX8L112008   VAN       PA          Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES453287     2008   WABSH   1JJV532W98L111500   VAN       Ontario     Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES453288     2008   WABSH   1JJV532W78L111740   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453289     2008   WABSH   1JJV532W98L111691   VAN       WI          Tomah
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 92 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES453290     2008   STGHT   1DW1A53278E047482   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453291     2008   GRTDN   1GRAP062X8T542991   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES453292     2009   GRTDN   1GRAP06249T553714   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453293     2009   WABSH   1JJV532W29L313127   VAN       IN          Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES453294     2008   GRTDN   1GRAP06218T542961   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453295     2008   WABSH   1JJV532WX8L112588   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453296     2008   WABSH   1JJV532W88L141832   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES453298     2008   WABSH   1JJV532W68L111387   VAN       IA          Sioux City
 HMES     ROAD TRAILER     RTL‐TA   HMES453299     2008   WABSH   1JJV532W48L111503   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453300     2008   WABSH   1JJV532W98L111786   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453301     2008   WABSH   1JJV532W48L111811   VAN       FL          Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES453302     2008   WABSH   1JJV532W18L112043   VAN       CA          Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES453303     2008   WABSH   1JJV532W28L112181   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES453304     2009   WABSH   1JJV532W59L312974   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453305     2009   WABSH   1JJV532W69L312918   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453306     2008   WABSH   1JJV532W68L112412   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453307     2008   WABSH   1JJV532W58L112563   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453308     2008   WABSH   1JJV532W38L111623   VAN       TX          Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES453309     2008   WABSH   1JJV532W28L111824   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453310     2008   WABSH   1JJV532W38L112058   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453311     2008   WABSH   1JJV532W68L112247   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453312     2008   WABSH   1JJV532W18L111913   VAN       CA          Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES453313     2008   WABSH   1JJV532W78L111964   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453314     2009   WABSH   1JJV532W19L312910   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453315     2009   WABSH   1JJV532W89L313004   VAN       TN          Kingsport
 HMES     ROAD TRAILER     RTL‐TA   HMES453316     2008   WABSH   1JJV532W78L112516   VAN       AL          Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES453317     2008   WABSH   1JJV532W08L112602   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453318     2008   WABSH   1JJV532W48L112182   VAN       VA          Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES453319     2008   WABSH   1JJV532W38L111315   VAN       LA          Monroe
 HMES     ROAD TRAILER     RTL‐TA   HMES453320     2008   WABSH   1JJV532W78L111480   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453321     2008   WABSH   1JJV532W38L112206   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES453323     2008   WABSH   1JJV532W98L141631   VAN       NC          Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES453324     2008   GRTDN   1GRAP06228T542984   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453325     2008   WABSH   1JJV532W68L112474   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453326     2009   WABSH   1JJV532W39L313010   VAN       CA          Pico Rivera
 HMES     ROAD TRAILER     RTL‐TA   HMES453327     2009   WABSH   1JJV532W09L313109   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453328     2008   WABSH   1JJV532W48L112540   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453329     2008   WABSH   1JJV532W58L112014   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453331     2008   WABSH   1JJV532W38L112190   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453332     2008   WABSH   1JJV532W18L112253   VAN       IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453333     2008   WABSH   1JJV532W08L112518   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453334     2008   WABSH   1JJV532W78L111950   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453335     2009   WABSH   1JJV532W29L313001   VAN       PA          Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES453336     2009   WABSH   1JJV532W28L112570   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453337     2009   WABSH   1JJV532W38L112531   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453338     2009   WABSH   1JJV532W28L112536   VAN       FL          Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES453339     2009   WABSH   1JJV532W38L111525   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453340     2009   WABSH   1JJV532WX8L112140   VAN       MS          Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES453341     2009   WABSH   1JJV532W79L313074   VAN       MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES453342     2008   WABSH   1JJV532W88L111777   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES453344     2009   GRTDN   1GRAP06219T553685   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES453345     2008   WABSH   1JJV532W78L111656   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453346     2008   WABSH   1JJV532W58L112479   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453347     2008   WABSH   1JJV532W48L141603   VAN       SC          West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES453348     2008   WABSH   1JJV532W08L111448   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453349     2009   WABSH   1JJV532W59L313039   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453350     2008   STGHT   1DW1A53258E047447   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES453351     2008   WABSH   1JJV532W78L112547   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453353     2008   GRTDN   1GRAP06278T542964   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453354     2008   WABSH   1JJV532WX8L112574   VAN       TX          El Paso
 HMES     ROAD TRAILER     RTL‐TA   HMES453355     2009   WABSH   1JJV532W89L312998   VAN       OH          Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES453356     2008   WABSH   1JJV532WX8L112428   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453357     2008   WABSH   1JJV532W98L111495   VAN       IA          Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES453359     2009   WABSH   1JJV532W69L312997   VAN       MI          Pontiac
 HMES     ROAD TRAILER     RTL‐TA   HMES453360     2008   WABSH   1JJV532W08L112194   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453361     2009   WABSH   1JJV532W49L312898   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453362     2008   WABSH   1JJV532W88L112556   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453364     2008   WABSH   1JJV532W88L141846   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453367     2008   WABSH   1JJV532W48L111761   VAN       NY          Williamsville
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 93 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES453368     2008   WABSH   1JJV532W38L111878   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453369     2008   WABSH   1JJV532W08L112065   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453370     2008   WABSH   1JJV532WX8L111439   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453371     2008   WABSH   1JJV532W88L111391   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453372     2008   STGHT   1DW1A53248E047455   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453373     2008   WABSH   1JJV532W58L111851   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453374     2008   WABSH   1JJV532W68L112572   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453376     2008   WABSH   1JJV532W68L111499   VAN       MD          Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES453377     2008   WABSH   1JJV532W48L111632   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453378     2008   WABSH   1JJV532W78L112452   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453379     2008   WABSH   1JJV532W58L111817   VAN       MI          Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES453380     2008   WABSH   1JJV532WX8L111893   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453381     2008   WABSH   1JJV532W18L111734   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453383     2008   WABSH   1JJV532W68L111485   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453384     2008   WABSH   1JJV532W98L111514   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453385     2008   WABSH   1JJV532W58L111462   VAN       CA          Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES453386     2008   WABSH   1JJV532W48L111307   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453387     2009   WABSH   1JJV532W09L313112   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453388     2009   WABSH   1JJV532W19L313068   VAN       SC          West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES453389     2009   WABSH   1JJV532W39L312911   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453391     2008   WABSH   1JJV532W98L141662   VAN       MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES453392     2008   GRTDN   1GRAP062X8T542957   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453393     2008   STGHT   1DW1A53208E047422   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453395     2008   WABSH   1JJV532W98L111299   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453396     2008   WABSH   1JJV532W28L112164   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453398     2008   WABSH   1JJV532W18L111717   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453399     2008   WABSH   1JJV532W18L112012   VAN       OH          Toledo
 HMES     ROAD TRAILER     RTL‐TA   HMES453400     2008   WABSH   1JJV532W88L141605   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453401     2008   WABSH   1JJV532WX8L111859   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453402     2008   WABSH   1JJV532W38L112125   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453403     2008   WABSH   1JJV532W88L112153   VAN       TX          Dallas
 HMES     ROAD TRAILER     RTL‐TA   HMES453404     2008   WABSH   1JJV532W68L112250   VAN       MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES453405     2008   WABSH   1JJV532W58L112255   VAN       GA          Savannah
 HMES     ROAD TRAILER     RTL‐TA   HMES453406     2008   WABSH   1JJV532W98L111349   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453407     2008   WABSH   1JJV532W38L112478   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453408     2008   WABSH   1JJV532W78L112502   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453409     2009   WABSH   1JJV532W59L312988   VAN       NJ          Carlstadt
 HMES     ROAD TRAILER     RTL‐TA   HMES453410     2009   WABSH   1JJV532W09L313028   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453411     2009   WABSH   1JJV532W89L313102   VAN       GA          Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES453412     2009   WABSH   1JJV532WX9L313117   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453413     2008   GRTDN   1GRAP06288T542892   VAN       TX          Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES453414     2009   GRTDN   1GRAP06259T553690   VAN       MO          Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES453415     2008   WABSH   1JJV532W38L111590   VAN       FL          Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES453416     2008   WABSH   1JJV532W88L111973   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES453417     2008   WABSH   1JJV532W28L111533   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453418     2008   WABSH   1JJV532W98L111965   VAN       MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES453419     2008   WABSH   1JJV532W68L111518   VAN       KY          Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES453420     2008   WABSH   1JJV532W98L112145   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453421     2008   WABSH   1JJV532W48L111937   VAN       WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES453422     2008   WABSH   1JJV532W08L111630   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453423     2009   WABSH   1JJV532W69L313096   VAN       NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453424     2008   GRTDN   1GRAP06238T542959   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453425     2008   GRTDN   1GRAP06208T542997   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453426     2008   GRTDN   1GRAP06228T542936   VAN       WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES453427     2008   STGHT   1DW1A53268E047408   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453428     2008   WABSH   1JJV532W18L111457   VAN       MI          Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES453429     2008   WABSH   1JJV532W88L111665   VAN       WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES453430     2008   GRTDN   1GRAP06288T542911   VAN       MN          Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES453431     2008   GRTDN   1GRAP06218T542880   VAN       PA          Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES453432     2008   GRTDN   1JJV532W28L112245   VAN       MO          Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES453434     2008   WABSH   1JJV532W28L112603   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453435     2008   WABSH   1JJV532W98L111318   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453437     2009   WABSH   1JJV532W29L313029   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453438     2008   GRTDN   1GRAP06238T542881   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453439     2008   WABSH   1JJV532W68L112586   VAN       AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES453440     2008   WABSH   1JJV532W18L111331   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453441     2008   WABSH   1JJV532WX8L111652   VAN       IL          Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES453442     2008   WABSH   1JJV532W08L112020   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453443     2009   WABSH   1JJV532W89L313052   VAN       IN          Jeffersonville
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 94 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES453444     2009   WABSH   1JJV532W99L313108   VAN       SC          West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES453445     2008   WABSH   1JJV532W08L111806   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453446     2008   WABSH   1JJV532W08L112017   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453447     2008   WABSH   1JJV532W78L111561   VAN       WI          Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES453448     2008   WABSH   1JJV532W08L111370   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453449     2008   WABSH   1JJV532W98L111352   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453451     2008   WABSH   1JJV532W48L111694   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453452     2008   WABSH   1JJV532W58L111753   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453453     2008   WABSH   1JJV532W38L111475   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453454     2008   WABSH   1JJV532W98L111738   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES453455     2008   WABSH   1JJV532W78L112581   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453456     2008   WABSH   1JJV532W48L111906   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453458     2008   WABSH   1JJV532W18L112477   VAN       TX          Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES453459     2008   WABSH   1JJV532W28L112455   VAN       AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES453460     2008   WABSH   1JJV532W68L112197   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453461     2008   WABSH   1JJV532W88L112119   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453462     2008   WABSH   1JJV532W68L111602   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453463     2008   WABSH   1JJV532W98L112419   VAN       WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES453465     2008   GRTDN   1GRAP06258T542946   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453466     2008   WABSH   1JJV532W48L111548   VAN       NJ          Kearny
 HMES     ROAD TRAILER     RTL‐TA   HMES453467     2008   WABSH   1JJV532W98L112095   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453468     2008   WABSH   1JJV532W98L112193   VAN       MS          Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES453469     2008   WABSH   1JJV532W28L111726   VAN       MN          Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES453470     2008   WABSH   1JJV532WX8L111392   VAN       IA          Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES453471     2008   WABSH   1JJV532W78L111849   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453472     2008   WABSH   1JJV532W38L111654   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453473     2008   WABSH   1JJV532W18L111751   VAN       NC          Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES453474     2008   WABSH   1JJV532W08L112132   VAN       MI          Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES453475     2008   WABSH   1JJV532W88L112525   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453476     2009   WABSH   1JJV532W49L312903   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453477     2008   WABSH   1JJV532W18L141624   VAN       WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES453478     2008   WABSH   1JJV532W28L141857   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453479     2008   WABSH   1JJV532W18L112463   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453480     2008   WABSH   1JJV532W78L112144   VAN       GA          Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES453481     2008   WABSH   1JJV532W68L112524   VAN       TX          Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES453482     2008   WABSH   1JJV532W08L111482   VAN       IN          Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES453483     2008   WABSH   1JJV532W48L112585   VAN       Ontario     Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES453484     2009   WABSH   1JJV532W39L312889   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453485     2008   WABSH   1JJV532W88L111990   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453486     2008   WABSH   1JJV532W08L112485   VAN       GA          Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES453487     2008   WABSH   1JJV532W28L112214   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453488     2008   WABSH   1JJV532W78L141840   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453489     2008   WABSH   1JJV532W88L112136   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES453490     2008   WABSH   1JJV532WX8L112123   VAN       MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES453491     2008   WABSH   1JJV532W08L111272   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453492     2008   WABSH   1JJV532W08L111823   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453493     2008   WABSH   1JJV532W79L313124   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453494     2008   WABSH   1JJV532W68L111289   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453495     2008   WABSH   1JJV532W58L111493   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453496     2008   WABSH   1JJV532W58L111610   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453497     2008   WABSH   1JJV532W88L111617   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453498     2008   WABSH   1JJV532WX8L112557   VAN       TX          Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES453499     2008   WABSH   1JJV532W18L112432   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453500     2008   WABSH   1JJV532W98L112582   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453501     2008   WABSH   1JJV532W18L112494   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES453502     2008   WABSH   1JJV532W08L141842   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453503     2008   WABSH   1JJV532W08L111773   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453504     2008   WABSH   1JJV532W28L112004   VAN       PA          Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES453505     2008   WABSH   1JJV532W48L111856   VAN       TX          McAllen
 HMES     ROAD TRAILER     RTL‐TA   HMES453506     2008   WABSH   1JJV532WX8L112137   VAN       WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES453507     2008   WABSH   1JJV532W78L111866   VAN       GA          Martinez
 HMES     ROAD TRAILER     RTL‐TA   HMES453508     2008   WABSH   1JJV532W38L112237   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453509     2008   WABSH   1JJV532W48L111923   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453510     2008   WABSH   1JJV532W98L111481   VAN       IL          Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES453511     2008   WABSH   1JJV532W18L112155   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453512     2008   WABSH   1JJV532W38L141852   VAN       IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES453513     2008   WABSH   1JJV532WX8L111554   VAN       IL          Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES453515     2008   WABSH   1JJV532W38L111508   VAN       MI          Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES453516     2008   WABSH   1JJV532W38L111539   VAN       IL          Edwardsville
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 95 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES453517     2008   WABSH   1JJV532W08L112437   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453518     2008   WABSH   1JJV532W08L111515   VAN       IL          Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES453519     2008   WABSH   1JJV532W28L111323   VAN       IN          Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES453520     2009   GRTDN   1GRAP06209T553757   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453521     2008   WABSH   1JJV532WX8L111487   VAN       SC          West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES453522     2009   WABSH   1JJV532W39L313038   VAN       IL          Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES453523     2008   WABSH   1JJV532W08L111739   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453524     2009   GRTDN   1GRAP06259T553706   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453525     2007   WABSH   1JJV532W68L111258   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453526     2008   WABSH   1JJV532W48L112456   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453527     2008   WABSH   1JJV532W98L112226   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453528     2008   WABSH   1JJV532W48L111355   VAN       NY          Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES453529     2008   WABSH   1JJV532W38L112027   VAN       MI          Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES453530     2009   WABSH   1JJV532W09L313093   VAN       CA          Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES453531     2008   STGHT   1DW1A53268E047456   VAN       MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES453532     2009   WABSH   1JJV532W29L313046   VAN       CA          Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES453533     2008   GRTDN   1GRAP062X8T542909   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453534     2009   WABSH   1JJV532W29L313077   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453535     2009   WABSH   1JJV532W69L313003   VAN       TX          Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES453536     2009   WABSH   1JJV532W29L312947   VAN       OH          Toledo
 HMES     ROAD TRAILER     RTL‐TA   HMES453537     2009   WABSH   1JJV532W69L312952   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453538     2009   WABSH   1JJV532W29L313113   VAN       WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES453539     2009   WABSH   1JJV532W19L313104   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453540     2008   GRTDN   1GRAP06218T542894   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES453541     2009   GRTDN   1GRAP06209T553726   VAN       MN          Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES453542     2008   WABSH   1JJV532W08L111627   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES453543     2008   WABSH   1JJV532W88L111360   VAN       WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES453544     2009   WABSH   1JJV532WX9L313084   VAN       OH          Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES453545     2009   WABSH   1JJV532W59L313140   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453546     2009   WABSH   1JJV532W39L312861   VAN       PA          McKees Rocks
 HMES     ROAD TRAILER     RTL‐TA   HMES453547     2008   GRTDN   1GRAP06278T542950   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453548     2009   WABSH   1JJV532W68L111731   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453549     2009   WABSH   1JJV532W79L312877   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES453550     2009   WABSH   1JJV532WX9L313103   VAN       WI          Eau Claire
 HMES     ROAD TRAILER     RTL‐TA   HMES453551     2009   WABSH   1JJV532W19L313099   VAN       WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES453554     2008   STGHT   1DW1A53288E047412   VAN       SC          West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES453555     2008   WABSH   1JJV532W38L111489   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453556     2008   GRTDN   1GRAP06208T542966   VAN       IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES453557     2008   GRTDN   1JJV532W58L141626   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453558     2008   GRTDN   1JJV532W38L111766   VAN       IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES453559     2008   WABSH   1JJV532W58L141612   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453560     2008   WABSH   1JJV532W08L112082   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453561     2008   WABSH   1JJV532W48L111484   VAN       PA          Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES453562     2008   WABSH   1JJV532W78L111821   VAN       NY          Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES453563     2008   WABSH   1JJV532W28L111953   VAN       CT          Cheshire
 HMES     ROAD TRAILER     RTL‐TA   HMES453564     2008   WABSH   1JJV532W48L141598   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453565     2008   GRTDN   1GRAP06228T542970   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453566     2008   WABSH   1JJV532WX8L112462   VAN       IA          Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES453567     2008   WABSH   1JJV532W48L112523   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453568     2008   WABSH   1JJV532W28L111581   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453569     2008   WABSH   1JJV532WX8L141850   VAN       NC          Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES453570     2008   WABSH   1JJV532W98L111545   VAN       TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES453571     2008   WABSH   1JJV532W38L112111   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453573     2008   WABSH   1JJV532W88L111441   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES453574     2008   WABSH   1JJV532W48L111954   VAN       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES453575     2008   WABSH   1JJV532W98L112453   VAN       IA          Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES453577     2003   WABSH   1JJV482W73L849644   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453579     2008   WABSH   1JJV532W38L112562   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES453580     2007   WABSH   1JJV532W27L043202   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453581     2008   GRTDN   1GRAP06258T542994   VAN       TN          Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES453597     2014   WABSH   1JJV532D4EL793941   VAN       IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES453598     2014   WABSH   1JJV532D6EL793987   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES453599     2014   WABSH   1JJV532D4EL794488   VAN       MO          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES453600     2014   WABSH   1JJV532D7EL794825   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453601     2014   WABSH   1JJV532D4EL795303   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES453602     2014   WABSH   1JJV532D8EL796065   VAN       OH          Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES453603     2014   WABSH   1JJV532DXEL794088   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453604     2014   WABSH   1JJV532D2EL794313   VAN       Ontario     Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES453605     2014   WABSH   1JJV532D4EL794703   VAN       PA          Mountain Top
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 96 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES453606     2014   WABSH   1JJV532D2EL794750   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES453607     2014   WABSH   1JJV532DXEL795628   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453608     2014   WABSH   1JJV532D4EL755254   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES453609     2014   WABSH   1JJV532D9EL755279   VAN       CA          Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES453610     2014   WABSH   1JJV532D6EL755403   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES453611     2014   WABSH   1JJV532DXEL755405   VAN       OK          Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES453612     2014   WABSH   1JJV532D1EL755406   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453613     2014   WABSH   1JJV532D7EL793965   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453614     2014   WABSH   1JJV532D6EL794010   VAN       Ontario     Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES453615     2014   WABSH   1JJV532D7EL794050   VAN       TX          Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES453616     2014   WABSH   1JJV532D5EL794080   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES453617     2014   WABSH   1JJV532D4EL794121   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453618     2014   WABSH   1JJV532D6EL794170   VAN       IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES453619     2014   WABSH   1JJV532D6EL794217   VAN       CA          Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES453620     2014   WABSH   1JJV532D7EL794257   VAN       IN          Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES453621     2014   WABSH   1JJV532D8EL794283   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453622     2014   WABSH   1JJV532D1EL794335   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453623     2014   WABSH   1JJV532D7EL794341   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES453624     2014   WABSH   1JJV532DXEL794382   VAN       SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES453625     2014   WABSH   1JJV532D7EL794419   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES453626     2014   WABSH   1JJV532DXEL794494   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453627     2014   WABSH   1JJV532D7EL794498   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453628     2014   WABSH   1JJV532D5EL794600   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453629     2014   WABSH   1JJV532D8EL794851   VAN       Ontario     London
 HMES     ROAD TRAILER     RTL‐TA   HMES453630     2014   WABSH   1JJV532D2EL794862   VAN       OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES453631     2014   WABSH   1JJV532DXEL794950   VAN       OK          Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES453632     2014   WABSH   1JJV532D2EL794960   VAN       TN          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES453633     2014   WABSH   1JJV532D3EL795079   VAN       GA          Thomasville
 HMES     ROAD TRAILER     RTL‐TA   HMES453634     2014   WABSH   1JJV532D2EL795218   VAN       IL          Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES453635     2014   WABSH   1JJV532D5EL795245   VAN       MO          Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES453636     2014   WABSH   1JJV532D0EL795315   VAN       IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453637     2014   WABSH   1JJV532D0EL795332   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453638     2014   WABSH   1JJV532D1EL795338   VAN       MO          Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES453639     2014   WABSH   1JJV532D6EL795349   VAN       AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES453640     2014   WABSH   1JJV532D4EL795382   VAN       IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES453641     2014   WABSH   1JJV532D1EL795419   VAN       AZ          Phoenix
 HMES     ROAD TRAILER     RTL‐TA   HMES453642     2014   WABSH   1JJV532D3EL795454   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453643     2014   WABSH   1JJV532D0EL795458   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453644     2014   WABSH   1JJV532D2EL795476   VAN       GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES453645     2014   WABSH   1JJV532D0EL795489   VAN       CA          Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES453646     2014   WABSH   1JJV532D5EL795617   VAN       NC          Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES453647     2014   WABSH   1JJV532D5EL795729   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453648     2014   WABSH   1JJV532D8EL795742   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453649     2014   WABSH   1JJV532D7EL795764   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES453650     2014   WABSH   1JJV532D9EL795930   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453651     2014   WABSH   1JJV532D7EL796056   VAN       GA          Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES453652     2014   WABSH   1JJV532D0EL796075   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453653     2014   WABSH   1JJV532D3EL796104   VAN       IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES453654     2014   WABSH   1JJV532D0EL796237   VAN       FL          Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES453655     2014   WABSH   1JJV532D3EL796247   VAN       TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES453656     2014   WABSH   1JJV532D1EL796392   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES453670     2014   WABSH   1JJV532D2EL794019   NA        Ontario     Whitby
 HMES     ROAD TRAILER     RTL‐TA   HMES453672     2014   WABSH   1JJV532D1EL795890   NA        IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES453673     2014   WABSH   1JJV532D6EL795996   NA        IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES453674     2014   WABSH   1JJV532D8EL796079   NA        IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES453676     2014   WABSH   1JJV532D3EL793994   NA        TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES453688     2003   WABSH   1JJV482W23L834615   DVCVH     MI          Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES453695     2003   WABSH   1JJV482W03L849632   VAN       CA          Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES454001     2004   GRTDN   1GRAA962X4K262347   NA        GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES480048     2000   DORSY   1DTV41Z22YA278948   VAN       AL          Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES480087     2000   DORSY   1DTV41Z23YA278909   AID       OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES480097     2000   DORSY   1DTV41Z24YA278949   VAN       MN          Burnsville
 HMES     ROAD TRAILER     RTL‐TA   HMES480103     2000   TRLMB   1PT01JAH216002905   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES480207     2017   STGHT   1DW1A5327HB720725   ZGPVW     TX          Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES480208     2017   STGHT   1DW1A5329HB720726   ZGPVW     WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES480210     2017   STGHT   1DW1A5322HB720728   ZGPVW     GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES480211     2017   STGHT   1DW1A5324HB720729   ZGPVW     IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES480213     2017   STGHT   1DW1A5322HB720731   ZGPVW     TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES480214     2017   STGHT   1DW1A5324HB720732   ZGPVW     IL          Joliet
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 97 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES480215     2017   STGHT   1DW1A5326HB720733   ZGPVW     NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES480217     2017   STGHT   1DW1A532XHB720735   ZGPVW     TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES480218     2017   STGHT   1DW1A5321HB720736   ZGPVW     TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES480219     2017   STGHT   1DW1A5323HB720737   ZGPVW     NJ          Carlstadt
 HMES     ROAD TRAILER     RTL‐TA   HMES480220     2017   STGHT   1DW1A5325HB720738   ZGPVW     IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES480221     2017   STGHT   1DW1A5327HB720739   ZGPVW     OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES480223     2017   STGHT   1DW1A5325HB720741   ZGPVW     OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES480224     2017   STGHT   1DW1A5327HB720742   ZGPVW     NC          Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES480226     2017   STGHT   1DW1A5320HB720744   ZGPVW     MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES480227     2017   STGHT   1DW1A5322HB720745   ZGPVW     OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES480228     2017   STGHT   1DW1A5324HB720746   ZGPVW     AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES480229     2017   STGHT   1DW1A5326HB720747   ZGPVW     FL          Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES480230     2017   STGHT   1DW1A5328HB720748   ZGPVW     NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES480231     2017   STGHT   1DW1A532XHB720749   ZGPVW     WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES480232     2017   STGHT   1DW1A5326HB737001   ZGPVW     IL          Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES480234     2017   STGHT   1DW1A532XHB737003   ZGPVW     TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES480235     2017   STGHT   1DW1A5321HB737004   ZGPVW     TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES480236     2017   STGHT   1DW1A5323HB737005   ZGPVW     IL          Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES480238     2017   STGHT   1DW1A5327HB737007   ZGPVW     PA          Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES480239     2017   STGHT   1DW1A5329HB737008   ZGPVW     GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES480240     2017   STGHT   1DW1A5320HB737009   ZGPVW     MI          Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES480241     2017   STGHT   1DW1A5327HB737010   ZGPVW     IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES480242     2017   STGHT   1DW1A5329HB737011   ZGPVW     WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES480243     2017   STGHT   1DW1A5320HB737012   ZGPVW     WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES480248     2017   STGHT   1DW1A532XHB737017   ZGPVW     IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES480249     2017   STGHT   1DW1A5321HB737018   ZGPVW     Ontario     Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES480250     2017   STGHT   1DW1A5323HB737019   ZGPVW     TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES482200     2020   VANGU   5V8VA4823LM005249   VAN       IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES482201     2020   VANGU   5V8VA482XLM005250   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES482202     2020   VANGU   5V8VA4821LM005251   VAN       NJ          Millville
 HMES     ROAD TRAILER     RTL‐TA   HMES482203     2020   VANGU   5V8VA4823LM005252   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES482204     2020   VANGU   5V8VA4825LM005253   VAN       NJ          Millville
 HMES     ROAD TRAILER     RTL‐TA   HMES482205     2020   VANGU   5V8VA4827LM005254   VAN       WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES482206     2020   VANGU   5V8VA4829LM005255   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES482207     2020   VANGU   5V8VA4820LM005256   VAN       NC          Rocky Mount
 HMES     ROAD TRAILER     RTL‐TA   HMES482208     2020   VANGU   5V8VA4822LM005257   VAN       TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES482209     2020   VANGU   5V8VA4824LM005258   VAN       MO          Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES482210     2020   VANGU   5V8VA4826LM005259   VAN       NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES482211     2020   VANGU   5V8VA4822LM005260   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES482212     2020   VANGU   5V8VA4824LM005261   VAN       GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES482213     2020   VANGU   5V8VA4826LM005262   VAN       AL          Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES482214     2020   VANGU   5V8VA4828LM005263   VAN       IL          Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES482215     2020   VANGU   5V8VA482XLM005264   VAN       IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES482216     2020   VANGU   5V8VA4821LM005265   VAN       MN          Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES482217     2020   VANGU   5V8VA4823LM005266   VAN       MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES482218     2020   VANGU   5V8VA4825LM005267   VAN       OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES482219     2020   VANGU   5V8VA4827LM005268   VAN       MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES482220     2020   VANGU   5V8VA4829LM005269   VAN       OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES482221     2020   VANGU   5V8VA4825LM005270   VAN       MI          Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES482222     2020   VANGU   5V8VA4827LM005271   VAN       AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES482223     2020   VANGU   5V8VA4829LM005272   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES482224     2020   VANGU   5V8VA4820LM005273   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES482225     2020   VANGU   5V8VA4822LM005274   VAN       MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES482226     2020   VANGU   5V8VA4824LM005275   VAN       OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES482227     2020   VANGU   5V8VA4826LM005276   VAN       OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES482228     2020   VANGU   5V8VA4828LM005277   VAN       IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES482229     2020   VANGU   5V8VA482XLM005278   VAN       AL          Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES482230     2020   VANGU   5V8VA4821LM005279   VAN       MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES482231     2020   VANGU   5V8VA4828LM005280   VAN       OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES482232     2020   VANGU   5V8VA482XLM005281   VAN       NY          Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES482233     2020   VANGU   5V8VA4821LM005282   VAN       IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES482234     2020   VANGU   5V8VA4823LM005283   VAN       KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES483007     2003   WABSH   1JJV482W23L849776   NONE      NY          Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES483010     2003   WABSH   1JJV482W53L834608   NONE      PA          Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES483011     2003   WABSH   1JJV482W53L849335   NONE      MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES483023     2003   WABSH   1JJV482W33L849303   NONE      IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES483025     2003   WABSH   1JJV482WX3L849511   NONE      IL          Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES483029     2003   WABSH   1JJV482W13L849672   NONE      MI          Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES483039     2003   WABSH   1JJV482WX3L849458   NONE      IL          Bolingbrook
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 98 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES483040     2003   WABSH   1JJV482W43L849536   NONE      MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES483041     2003   WABSH   1JJV482W83L849782   NONE      KS          Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES483045     2003   WABSH   1JJV482WX3L849590   NONE      NJ          Carlstadt
 HMES     ROAD TRAILER     RTL‐TA   HMES483049     2003   WABSH   1JJV482WX3L834605   NONE      IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES483050     2003   WABSH   1JJV482W23L834761   NONE      GA          Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES483053     2003   WABSH   1JJV482W93L849600   NONE      TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES483054     2003   WABSH   1JJV482W83L834750   NONE      IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES483056     2003   WABSH   1JJV482W13L849364   NONE      IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES483061     2003   WABSH   1JJV482W93L849676   NONE      TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES483062     2003   WABSH   1JJV482W23L849289   NONE      IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES483065     2003   WABSH   1JJV482W53L849805   NONE      OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES483067     2003   WABSH   1JJV482W23L834789   NONE      TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES483074     2003   WABSH   1JJV482W93L849242   NONE      MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES483075     2003   WABSH   1JJV482W63L849358   NONE      TX          Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES483076     2003   WABSH   1JJV482W63L849425   NONE      IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES483079     2003   WABSH   1JJV482W83L849264   NONE      IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES483081     2003   WABSH   1JJV482W43L849312   NONE      WI          Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES483088     2003   WABSH   1JJV482W63L834620   NONE      PA          Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES483107     2003   WABSH   1JJV482W03L849310   NONE      TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES483108     2003   WABSH   1JJV482W13L849316   NONE      NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES483115     2003   WABSH   1JJV482W03L849811   NONE      IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES483116     2003   WABSH   1JJV482W43L834745   NONE      AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES483117     2003   WABSH   1JJV482W13L849235   NONE      OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES483118     2003   WABSH   1JJV482W53L849321   NONE      VA          Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES483120     2003   WABSH   1JJV482WX3L834667   NONE      WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES483122     2003   WABSH   1JJV482W13L834704   NONE      IL          Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES483126     2003   WABSH   1JJV482W93L849581   NONE      NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES483129     2003   WABSH   1JJV482W83L849698   NONE      GA          Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES483132     2003   WABSH   1JJV482W53L849254   NONE      IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES483134     2003   WABSH   1JJV482W03L849291   NONE      MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES483135     2003   WABSH   1JJV482W93L849385   NONE      NC          Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES483139     2003   WABSH   1JJV482W83L849328   NONE      Ontario     Niagara on the Lake
 HMES     ROAD TRAILER     RTL‐TA   HMES483140     2003   WABSH   1JJV482W83L849457   NONE      SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES483148     2003   WABSH   1JJV482WX3L849332   NONE      MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES483150     2003   WABSH   1JJV482W73L849305   NONE      NC          Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES483154     2003   WABSH   1JJV482W43L849679   NONE      OH          North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES483156     2003   WABSH   1JJV482W23L834629   NONE      IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES483162     2003   WABSH   1JJV482W73L849420   NONE      IL          Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES483168     2003   WABSH   1JJV482W33L849253   NONE      IL          Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES483174     2003   WABSH   1JJV482W53L834642   NONE      MI          Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES483176     2003   WABSH   1JJV482W53L849268   NONE      MI          Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES483177     2003   WABSH   1JJV482W53L849397   NONE      MI          Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES484002     2004   GRTDN   1GRAA962X4K262218   NONE      WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES484003     2004   GRTDN   1GRAA96294K262226   NONE      GA          Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES484004     2004   GRTDN   1GRAA96264K262345   NONE      IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES484006     2004   GRTDN   1GRAA96294K262243   NONE      AZ          Phoenix
 HMES     ROAD TRAILER     RTL‐TA   HMES484007     2004   GRTDN   1GRAA96244K262313   NONE      TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES484008     2004   GRTDN   1GRAA96284K262220   NONE      NJ          South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES484012     2004   GRTDN   1GRAA96244K262277   NONE      OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES484013     2004   GRTDN   1GRAA96274K262290   NONE      AZ          Phoenix
 HMES     ROAD TRAILER     RTL‐TA   HMES484014     2004   GRTDN   1GRAA96244K262280   NONE      TX          Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES484015     2004   GRTDN   1GRAA96274K262211   NONE      MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES484019     2004   GRTDN   1GRAA962X4K262333   NONE      IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES484021     2004   GRTDN   1GRAA96244K262229   NONE      MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES484022     2004   GRTDN   1GRAA96244K262232   NONE      KY          Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES484024     2004   GRTDN   1GRAA96264K262202   NONE      MO          Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES484025     2004   GRTDN   1GRAA96274K262256   NONE      KY          Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES484026     2004   GRTDN   1GRAA96254K262336   NONE      IL          McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES484027     2004   GRTDN   1GRAA962X4K262221   NONE      TN          Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES484029     2004   GRTDN   1GRAA96294K262338   NONE      GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES484030     2004   GRTDN   1GRAA96214K262284   NONE      OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES484032     2004   GRTDN   1GRAA96244K262327   NONE      OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES484035     2004   GRTDN   1GRAA96244K262215   NONE      TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES484038     2004   GRTDN   1GRAA962X4K262316   NONE      OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES485001     2005   WABSH   1JJV482W75L905357   NONE      IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES485007     2005   GRTDN   1GRAA96255K263178   NONE      IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES485010     2005   WABSH   1JJV482W05L905362   NONE      TN          Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES485014     2005   WABSH   1JJV482W95L905361   NONE      IN          Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES485016     2005   WABSH   1JJV482W15L913728   NONE      IL          Rockford
                     Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 99 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State       City
 HMES     ROAD TRAILER     RTL‐TA   HMES485017     2005   GRTDN   1GRAA96285K263109   NONE      MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES485018     2005   WABSH   1JJV482WX5L905255   NONE      OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES485019     2005   WABSH   1JJV482WX5L913694   NONE      GA          Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES485021     2005   WABSH   1JJV482WX5L913789   NONE      PA          Bedford
 HMES     ROAD TRAILER     RTL‐TA   HMES485025     2005   WABSH   1JJV482W45L905316   NONE      IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES485027     2005   GRTDN   1GRAA96265K263206   NONE      OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES485028     2005   GRTDN   1GRAA96275K263120   NONE      MI          Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES485029     2005   WABSH   1JJV482W75L905276   NONE      IL          Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES485030     2005   WABSH   1JJV482W45L905283   NONE      WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES485031     2005   GRTDN   1GRAA96225K263087   NONE      PA          Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES485032     2005   GRTDN   1GRAA96295K263149   NONE      TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES485033     2005   GRTDN   1GRAA96225K263168   NONE      OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES485034     2005   GRTDN   1GRAA96205K263220   NONE      NY          Elmira
 HMES     ROAD TRAILER     RTL‐TA   HMES485036     2005   WABSH   1JJV482W85L913757   NONE      SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES485037     2005   WABSH   1JJV482W05L913848   NONE      MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES485038     2005   GRTDN   1GRAA962X5K263144   NONE      MN          Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES485040     2005   WABSH   1JJV482W15L913826   NONE      OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES485041     2005   GRTDN   1GRAA96215K263145   NONE      IN          South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES485042     2005   GRTDN   1GRAA96225K263171   NONE      IL          Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES485043     2005   WABSH   1JJV482W95L913685   NONE      IN          Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES485044     2005   WABSH   1JJV482W85L905285   NONE      PQ          Dorval
 HMES     ROAD TRAILER     RTL‐TA   HMES485045     2005   WABSH   1JJV482WX5L905319   NONE      IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES485050     2005   WABSH   1JJV482W35L905338   NONE      WI          Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES485051     2005   GRTDN   1GRAA96235K263115   NONE      IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES485054     2005   WABSH   1JJV482W05L913719   NONE      TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES485055     2005   WABSH   1JJV482W55L913795   NONE      MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES485057     2005   WABSH   1JJV482W35L905291   NONE      GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES485058     2005   WABSH   1JJV482W85L913760   NONE      OH          Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES485059     2005   GRTDN   1GRAA96205K263167   NONE      MD          Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES485060     2005   GRTDN   1GRAA96215K263176   NONE      TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES485062     2005   GRTDN   1GRAA96215K263209   NONE      NY          Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES485063     2005   GRTDN   1GRAA96245K263124   NONE      IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES485065     2005   WABSH   1JJV482W55L905275   NONE      IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES485067     2005   WABSH   1JJV482W15L913745   NONE      WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES485069     2005   WABSH   1JJV482W75L913782   NONE      OH          Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES485072     2003   GRTDN   1GRAA96255K263150   NONE      IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES485073     2005   WABSH   1JJV482W85L913709   NONE      OH          Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES485074     2003   WABSH   1JJV482W05L913803   NONE      WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES485076     2005   GRTDN   1GRAA962X5K263239   NONE      IL          Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES485079     2005   GRTDN   1GRAA96295K263247   NONE      OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES485084     2005   WABSH   1JJV482W55L913831   NONE      AL          Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES485090     2005   WABSH   1JJV482W35L913715   NONE      IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES485091     2005   WABSH   1JJV482W55L905308   NONE      MI          Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES485097     2005   GRTDN   1GRAA96245K263141   NONE      TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES485100     2005   GRTDN   1GRAA96265K263187   NONE      SC          Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES485102     2005   GRTDN   1GRAA96245K263222   NONE      OH          Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES486001     2006   WABSH   1JJV482W86L988959   NONE      IN          Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES486002     2006   WABSH   1JJV482W86L988962   NONE      PA          Erie
 HMES     ROAD TRAILER     RTL‐TA   HMES486003     2006   WABSH   1JJV482W76L988970   NONE      WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES486004     2006   WABSH   1JJV482WX6L975713   NONE      WI          Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES486005     2006   WABSH   1JJV482W66L988975   NONE      IL          Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES486006     2006   WABSH   1JJV482W56L989020   NONE      VA          Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES486007     2006   WABSH   1JJV482W46L989073   NONE      GA          Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES486008     2006   WABSH   1JJV482W96L989067   NONE      TX          El Paso
 HMES     ROAD TRAILER     RTL‐TA   HMES486011     2006   WABSH   1JJV482W26L988990   NONE      OH          Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES486012     2006   WABSH   1JJV482W46L989042   NONE      MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES486013     2006   WABSH   1JJV482W36L989050   NONE      WI          Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES486014     2006   WABSH   1JJV482W06L989054   NONE      NY          Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES486015     2006   WABSH   1JJV482W16L989032   NONE      IN          Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES486016     2006   WABSH   1JJV482W26L989069   NONE      MI          Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES486017     2006   WABSH   1JJV482W96L989070   NONE      TN          Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES486018     2006   WABSH   1JJV482W36L988965   NONE      WI          Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES486019     2006   WABSH   1JJV482W76L988922   NONE      MS          Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES486020     2006   WABSH   1JJV482W46L988960   NONE      IL          Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES486021     2006   WABSH   1JJV482W06L975719   NONE      CO          Henderson
 HMES     ROAD TRAILER     RTL‐TA   HMES486022     2006   WABSH   1JJV482W76L989021   NONE      OH          Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES486023     2006   WABSH   1JJV482W16L989029   NONE      TN          Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES486024     2006   WABSH   1JJV482W46L988988   NONE      GA          Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES486025     2006   WABSH   1JJV482W66L989026   NONE      IA          Council Bluffs
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 100 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES486026     2006   WABSH   1JJV482W36L989033   NONE      MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES486027     2006   WABSH   1JJV482W66L988913   NONE      IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES486028     2006   WABSH   1JJV482W26L989055   NONE      MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES486029     2006   WABSH   1JJV482W56L988921   NONE      MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES486030     2006   WABSH   1JJV482W76L988953   NONE      OH        North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES488000     2018   STGHT   1DW1A4820JBA08889   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES488004     2018   STGHT   1DW1A4820JBA08925   ZGPVW     NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES488005     2018   STGHT   1DW1A4820JBA08939   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES488028     2018   STGHT   1DW1A4822JBA08893   ZGPVW     OH        North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES488033     2018   STGHT   1DW1A4822JBA08957   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES488060     2018   STGHT   1DW1A4824JBA08944   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES488082     2018   STGHT   1DW1A4826JBA08881   ZGPVW     FL        Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES488085     2018   STGHT   1DW1A4826JBA08914   ZGPVW     PQ        Dorval
 HMES     ROAD TRAILER     RTL‐TA   HMES488086     2018   STGHT   1DW1A4826JBA08928   ZGPVW     NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES488089     2018   STGHT   1DW1A4826JBA08959   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES488095     2018   STGHT   1DW1A4827JBA08887   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES488096     2018   STGHT   1DW1A4827JBA08890   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES488109     2018   STGHT   1DW1A4828JBA08879   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES488110     2018   STGHT   1DW1A4828JBA08882   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES488124     2018   STGHT   1DW1A4829JBA08888   ZGPVW     SC        Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES488125     2018   STGHT   1DW1A4829JBA08891   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES488130     2018   STGHT   1DW1A4829JBA08941   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES488137     2018   STGHT   1DW1A482XJBA08883   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES488138     2018   STGHT   1DW1A482XJBA08897   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES503007     2004   GRTDN   1GRAA96294T505513   SSL       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES503022     2004   GRTDN   1GRAA96204T505528   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES503031     2004   GRTDN   1GRAA96214T505537   SSL       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES503047     2004   GRTDN   1GRAA962X4T505553   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES503055     2004   GRTDN   1GRAA96294T505561   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES503064     2004   GRTDN   1GRAA962X4T505570   SSL       VA        Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES503085     2004   GRTDN   1GRAA96274T505591   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES503088     2004   GRTDN   1GRAA96224T505594   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES503098     2004   GRTDN   1GRAA96214T505604   SSL       GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES503110     2004   GRTDN   1GRAA96284T505616   SSL       IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES503128     2004   GRTDN   1GRAA962X4T505634   SSL       Ontario   Ottawa
 HMES     ROAD TRAILER     RTL‐TA   HMES503141     2004   GRTDN   1GRAA96284T505647   SSL       TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES503174     2004   GRTDN   1GRAA96264T505680   SSL       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES503215     2004   GRTDN   1GRAA96254T505721   SSL       OK        Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES503233     2004   GRTDN   1GRAA96224T505739   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES503239     2004   GRTDN   1GRAA96284T505745   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES504001     2005   GRTDN   1GRAA96285T513829   SSL       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES504006     2005   GRTDN   1GRAA96215T513834   SSL       TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES504016     2005   GRTDN   1GRAA96245T513844   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES504018     2005   GRTDN   1GRAA96285T513846   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES504019     2005   GRTDN   1GRAA962X5T513847   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES504023     2005   GRTDN   1GRAA96215T513851   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES504025     2005   GRTDN   1GRAA96255T513853   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES504026     2005   GRTDN   1GRAA96275T513854   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES504027     2005   GRTDN   1GRAA96295T513855   SSL       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES504037     2005   GRTDN   1GRAA96215T513865   SSL       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES504046     2005   GRTDN   1GRAA96225T513874   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES504049     2005   GRTDN   1GRAA96285T513877   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES504052     2005   GRTDN   1GRAA96285T513880   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES504055     2005   GRTDN   1GRAA96235T513883   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES504056     2005   GRTDN   1GRAA96255T513884   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES504063     2005   GRTDN   1GRAA96225T513891   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES504064     2005   GRTDN   1GRAA96245T513892   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES504066     2005   GRTDN   1GRAA96285T513894   SSL       OH        North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES504078     2005   GRTDN   1GRAA96205T513906   SSL       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES504088     2005   GRTDN   1GRAA96235T513916   SSL       AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES504091     2005   GRTDN   1GRAA96295T513919   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES504093     2005   GRTDN   1GRAA96275T513921   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES504096     2005   GRTDN   1GRAA96225T513924   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES504100     2005   GRTDN   1GRAA962X5T513928   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES504101     2005   GRTDN   1GRAA96215T513929   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES504105     2005   GRTDN   1GRAA96235T513933   SSL       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES504106     2005   GRTDN   1GRAA96255T513934   SSL       SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES504114     2005   GRTDN   1GRAA96245T513942   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES504115     2005   GRTDN   1GRAA96265T513943   SSL       GA        Marietta
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 101 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES504125     2005   GRTDN   1GRAA96295T513953   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES504131     2005   GRTDN   1GRAA962X5T513959   SSL       IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES504134     2005   GRTDN   1GRAA962X5T513962   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES504137     2005   GRTDN   1GRAA96255T513965   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES504140     2005   GRTDN   1GRAA96205T513968   SSL       IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES504141     2005   GRTDN   1GRAA96225T513969   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES504145     2005   GRTDN   1GRAA96245T513973   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES504147     2005   GRTDN   1GRAA96285T513975   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES504148     2005   GRTDN   1GRAA962X5T513976   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES504173     2005   GRTDN   1GRAA96235T514001   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES504177     2005   GRTDN   1GRAA96205T514005   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES504186     2005   GRTDN   1GRAA96215T514014   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES504190     2005   GRTDN   1GRAA96295T514018   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES504196     2005   GRTDN   1GRAA96245T514024   SSL       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES504198     2005   GRTDN   1GRAA96285T514026   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES507001     2007   GRTDN   1GRAA96227D424092   SSL       CA      Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES507002     2007   GRTDN   1GRAA96247D424093   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507003     2007   GRTDN   1GRAA96267D424094   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES507004     2007   GRTDN   1GRAA96287D424095   SSL       IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES507005     2007   GRTDN   1GRAA962X7D424096   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES507006     2007   GRTDN   1GRAA96217D424097   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES507007     2007   GRTDN   1GRAA96237D424098   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES507008     2007   GRTDN   1GRAA96257D424099   SSL       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES507012     2007   GRTDN   1GRAA96237D424103   SSL       PA      Neville Island
 HMES     ROAD TRAILER     RTL‐TA   HMES507013     2007   GRTDN   1GRAA96257D424104   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES507014     2007   GRTDN   1GRAA96277D424105   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES507015     2007   GRTDN   1GRAA96297D424106   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES507016     2007   GRTDN   1GRAA96207D424107   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES507017     2007   GRTDN   1GRAA96227D424108   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES507018     2007   GRTDN   1GRAA96247D424109   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES507019     2007   GRTDN   1GRAA96207D424110   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES507020     2007   GRTDN   1GRAA96227D424111   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507021     2007   GRTDN   1GRAA96247D424112   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES507022     2007   GRTDN   1GRAA96267D424113   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507023     2007   GRTDN   1GRAA96287D424114   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES507024     2007   GRTDN   1GRAA962X7D424115   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES507025     2007   GRTDN   1GRAA96217D424116   SSL       IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES507026     2007   GRTDN   1GRAA96237D424117   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES507028     2007   GRTDN   1GRAA96277D424119   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES507029     2007   GRTDN   1GRAA96237D424120   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES507030     2007   GRTDN   1GRAA96257D424121   SSL       CT      Cheshire
 HMES     ROAD TRAILER     RTL‐TA   HMES507031     2007   GRTDN   1GRAA96277D424122   SSL       NY      Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507032     2007   GRTDN   1GRAA96297D424123   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507033     2007   GRTDN   1GRAA96207D424124   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES507034     2007   GRTDN   1GRAA96227D424125   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES507035     2007   GRTDN   1GRAA96247D424126   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507036     2007   GRTDN   1GRAA96267D424127   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES507037     2007   GRTDN   1GRAA96287D424128   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES507038     2007   GRTDN   1GRAA962X7D424129   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507040     2007   GRTDN   1GRAA96287D424131   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES507041     2007   GRTDN   1GRAA962X7D424132   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES507044     2007   GRTDN   1GRAA96257D424135   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES507046     2007   GRTDN   1GRAA96297D424137   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES507047     2007   GRTDN   1GRAA96207D424138   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES507048     2007   GRTDN   1GRAA96227D424139   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES507049     2007   GRTDN   1GRAA96297D424140   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507051     2007   GRTDN   1GRAA96227D424142   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507052     2007   GRTDN   1GRAA96247D424143   SSL       TX      Dallas
 HMES     ROAD TRAILER     RTL‐TA   HMES507053     2007   GRTDN   1GRAA96267D424144   SSL       MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES507055     2007   GRTDN   1GRAA962X7D424146   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES507056     2007   GRTDN   1GRAA96217D424147   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES507057     2007   GRTDN   1GRAA96237D424148   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES507058     2007   GRTDN   1GRAA96257D424149   SSL       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES507059     2007   GRTDN   1GRAA96217D424150   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES507060     2007   GRTDN   1GRAA96237D424151   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES507061     2007   GRTDN   1GRAA96257D424152   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES507062     2007   GRTDN   1GRAA96277D424153   SSL       MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES507063     2007   GRTDN   1GRAA96297D424154   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES507064     2007   GRTDN   1GRAA96207D424155   SSL       IN      Jeffersonville
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 102 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES507065     2007   GRTDN   1GRAA96227D424156   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES507067     2007   GRTDN   1GRAA96267D424158   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES507068     2007   GRTDN   1GRAA96287D424159   SSL       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES507069     2007   GRTDN   1GRAA96247D424160   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES507070     2007   GRTDN   1GRAA96267D424161   SSL       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES507071     2007   GRTDN   1GRAA96287D424162   SSL       MI      Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES507072     2007   GRTDN   1GRAA962X7D424163   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507073     2007   GRTDN   1GRAA96217D424164   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES507074     2007   GRTDN   1GRAA96237D424165   SSL       TX      Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES507076     2007   GRTDN   1GRAA96277D424167   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES507077     2007   GRTDN   1GRAA96297D424168   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507078     2007   GRTDN   1GRAA96207D424169   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES507079     2007   GRTDN   1GRAA96277D424170   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES507080     2007   GRTDN   1GRAA96297D424171   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES507081     2007   GRTDN   1GRAA96207D424172   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES507082     2007   GRTDN   1GRAA96227D424173   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507083     2007   GRTDN   1GRAA96247D424174   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES507085     2007   GRTDN   1GRAA96287D424176   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES507086     2007   GRTDN   1GRAA962X7D424177   SSL       TX      Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES507087     2007   GRTDN   1GRAA96217D424178   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES507088     2007   GRTDN   1GRAA96237D424179   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507089     2007   GRTDN   1GRAA962X7D424180   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507091     2007   GRTDN   1GRAA96237D424182   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507092     2007   GRTDN   1GRAA96257D424183   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507093     2007   GRTDN   1GRAA96277D424184   SSL       IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES507094     2007   GRTDN   1GRAA96297D424185   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES507095     2007   GRTDN   1GRAA96207D424186   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507096     2007   GRTDN   1GRAA96227D424187   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES507097     2007   GRTDN   1GRAA96247D424188   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507098     2007   GRTDN   1GRAA96267D424189   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507099     2007   GRTDN   1GRAA96227D424190   SSL       TX      Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES507100     2007   GRTDN   1GRAA96247D424191   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES507101     2007   GRTDN   1GRAA96267D424192   SSL       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES507102     2007   GRTDN   1GRAA96287D424193   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507103     2007   GRTDN   1GRAA962X7D424194   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507105     2007   GRTDN   1GRAA96237D424196   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES507106     2007   GRTDN   1GRAA96257D424197   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507107     2007   GRTDN   1GRAA96277D424198   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507108     2007   GRTDN   1GRAA96297D424199   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES507110     2007   GRTDN   1GRAA96237D424201   SSL       MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES507111     2007   GRTDN   1GRAA96257D424202   SSL       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES507113     2007   GRTDN   1GRAA96297D424204   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507114     2007   GRTDN   1GRAA96207D424205   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES507115     2007   GRTDN   1GRAA96227D424206   SSL       TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES507116     2007   GRTDN   1GRAA96247D424207   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507117     2007   GRTDN   1GRAA96267D424208   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES507118     2007   GRTDN   1GRAA96287D424209   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507119     2007   GRTDN   1GRAA96247D424210   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES507120     2007   GRTDN   1GRAA96267D424211   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES507121     2007   GRTDN   1GRAA96287D424212   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507122     2007   GRTDN   1GRAA962X7D424213   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES507123     2007   GRTDN   1GRAA96217D424214   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES507124     2007   GRTDN   1GRAA96237D424215   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES507126     2007   GRTDN   1GRAA96277D424217   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES507127     2007   GRTDN   1GRAA96297D424218   SSL       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES507128     2007   GRTDN   1GRAA96207D424219   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES507129     2007   GRTDN   1GRAA96277D424220   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES507130     2007   GRTDN   1GRAA96297D424221   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507132     2007   GRTDN   1GRAA96227D424223   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507133     2007   GRTDN   1GRAA96247D424224   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507136     2007   GRTDN   1GRAA962X7D424227   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES507138     2007   GRTDN   1GRAA96237D424229   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES507139     2007   GRTDN   1GRAA962X7D424230   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES507140     2007   GRTDN   1GRAA96217D424231   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES507141     2007   GRTDN   1GRAA96237D424232   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES507142     2007   GRTDN   1GRAA96257D424233   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES507143     2007   GRTDN   1GRAA96277D424234   SSL       WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES507144     2007   GRTDN   1GRAA96297D424235   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES507145     2007   GRTDN   1GRAA96207D424236   SSL       GA      Ellenwood
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 103 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES507146     2007   GRTDN   1GRAA96227D424237   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES507147     2007   GRTDN   1GRAA96247D424238   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507148     2007   GRTDN   1GRAA96267D424239   SSL       AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES507149     2007   GRTDN   1GRAA96227D424240   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES507150     2007   GRTDN   1GRAA96247D424241   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507151     2007   GRTDN   1GRAA96267D424242   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507153     2007   GRTDN   1GRAA962X7D424244   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507154     2007   GRTDN   1GRAA96217D424245   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES507155     2007   GRTDN   1GRAA96237D424246   SSL       PA      Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES507156     2007   GRTDN   1GRAA96257D424247   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507157     2007   GRTDN   1GRAA96277D424248   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES507158     2007   GRTDN   1GRAA96297D424249   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES507159     2007   GRTDN   1GRAA96257D424250   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES507160     2007   GRTDN   1GRAA96277D424251   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507201     2007   GRTDN   1GRAA96217D425685   SSL       CA      Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES507202     2007   GRTDN   1GRAA96237D425686   SSL       MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES507204     2007   GRTDN   1GRAA96277D425688   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES507205     2007   GRTDN   1GRAA96297D425689   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES507206     2007   GRTDN   1GRAA96257D425690   SSL       NY      Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507207     2007   GRTDN   1GRAA96277D425691   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES507208     2007   GRTDN   1GRAA96297D425692   SSL       WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES507210     2007   GRTDN   1GRAA96227D425694   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507211     2007   GRTDN   1GRAA96247D425695   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES507212     2007   GRTDN   1GRAA96267D425696   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES507214     2007   GRTDN   1GRAA962X7D425698   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES507215     2007   GRTDN   1GRAA96217D425699   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507216     2007   GRTDN   1GRAA96247D425700   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES507218     2007   GRTDN   1GRAA96287D425702   SSL       AL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES507219     2007   GRTDN   1GRAA962X7D425703   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES507220     2007   GRTDN   1GRAA96217D425704   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507221     2007   GRTDN   1GRAA96237D425705   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507222     2007   GRTDN   1GRAA96257D425706   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507223     2007   GRTDN   1GRAA96277D425707   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES507224     2007   GRTDN   1GRAA96297D425708   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES507226     2007   GRTDN   1GRAA96277D425710   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES507227     2007   GRTDN   1GRAA96297D425711   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES507229     2007   GRTDN   1GRAA96227D425713   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507230     2007   GRTDN   1GRAA96247D425714   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES507231     2007   GRTDN   1GRAA96267D425715   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507232     2007   GRTDN   1GRAA96287D425716   SSL       TX      Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES507233     2007   GRTDN   1GRAA962X7D425717   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES507234     2007   GRTDN   1GRAA96217D425718   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES507235     2007   GRTDN   1GRAA96237D425719   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507236     2007   GRTDN   1GRAA962X7D425720   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES507237     2007   GRTDN   1GRAA96217D425721   SSL       MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES507238     2007   GRTDN   1GRAA96237D425722   SSL       MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES507239     2007   GRTDN   1GRAA96257D425723   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES507241     2007   GRTDN   1GRAA96297D425725   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES507242     2007   GRTDN   1GRAA96207D425726   SSL       NY      Elmira
 HMES     ROAD TRAILER     RTL‐TA   HMES507244     2007   GRTDN   1GRAA96247D425728   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES507245     2007   GRTDN   1GRAA96267D425729   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES507246     2007   GRTDN   1GRAA96227D425730   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507247     2007   GRTDN   1GRAA96247D425731   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507248     2007   GRTDN   1GRAA96267D425732   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507249     2007   GRTDN   1GRAA96287D425733   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES507250     2007   GRTDN   1GRAA962X7D425734   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507252     2007   GRTDN   1GRAA96237D425736   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507253     2007   GRTDN   1GRAA96257D425737   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES507254     2007   GRTDN   1GRAA96277D425738   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES507255     2007   GRTDN   1GRAA96297D425739   SSL       IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES507256     2007   GRTDN   1GRAA96257D425740   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES507257     2007   GRTDN   1GRAA96277D425741   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507258     2007   GRTDN   1GRAA96297D425742   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES507259     2007   GRTDN   1GRAA96207D425743   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES507260     2007   GRTDN   1GRAA96227D425744   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507263     2007   GRTDN   1GRAA96287D425747   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507264     2007   GRTDN   1GRAA962X7D425748   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES507265     2007   GRTDN   1GRAA96217D425749   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES507266     2007   GRTDN   1GRAA96287D425750   SSL       MI      Gaylord
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 104 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES507267     2007   GRTDN   1GRAA962X7D425751   SSL       FL      Jacksonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507269     2007   GRTDN   1GRAA96237D425753   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES507270     2007   GRTDN   1GRAA96257D425754   SSL       IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES507271     2007   GRTDN   1GRAA96277D425755   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507272     2007   GRTDN   1GRAA96297D425756   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES507273     2007   GRTDN   1GRAA96207D425757   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507274     2007   GRTDN   1GRAA96227D425758   SSL       PA      Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES507276     2007   GRTDN   1GRAA96207D425760   SSL       CA      Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES507277     2007   GRTDN   1GRAA96227D425761   SSL       AL      Mobile
 HMES     ROAD TRAILER     RTL‐TA   HMES507280     2007   GRTDN   1GRAA96287D425764   SSL       MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES507281     2007   GRTDN   1GRAA962X7D425765   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES507283     2007   GRTDN   1GRAA96237D425767   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES507284     2007   GRTDN   1GRAA96257D425768   SSL       IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES507285     2007   GRTDN   1GRAA96277D425769   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES507286     2007   GRTDN   1GRAA96237D425770   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES507287     2007   GRTDN   1GRAA96257D425771   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES507288     2007   GRTDN   1GRAA96277D425772   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES507290     2007   GRTDN   1GRAA96207D425774   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES507291     2007   GRTDN   1GRAA96227D425775   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507292     2007   GRTDN   1GRAA96247D425776   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES507294     2007   GRTDN   1GRAA96287D425778   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES507295     2007   GRTDN   1GRAA962X7D425779   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES507296     2007   GRTDN   1GRAA96267D425780   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES507298     2007   GRTDN   1GRAA962X7D425782   SSL       VA      Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES507299     2007   GRTDN   1GRAA96217D425783   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507300     2007   GRTDN   1GRAA96237D425784   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES507302     2007   GRTDN   1GRAA96277D425786   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES507303     2007   GRTDN   1GRAA96297D425787   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES507304     2007   GRTDN   1GRAA96207D425788   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES507305     2007   GRTDN   1GRAA96227D425789   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES507308     2007   GRTDN   1GRAA96227D425792   SSL       IN      Terre Haute
 HMES     ROAD TRAILER     RTL‐TA   HMES507309     2007   GRTDN   1GRAA96247D425793   SSL       TX      Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES507310     2007   GRTDN   1GRAA96267D425794   SSL       OH      Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES507311     2007   GRTDN   1GRAA96287D425795   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES507312     2007   GRTDN   1GRAA962X7D425796   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES507313     2007   GRTDN   1GRAA96217D425797   SSL       MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES507316     2007   GRTDN   1GRAA96287D425800   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES507317     2007   GRTDN   1GRAA962X7D425801   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507401     2008   GRTDN   1GRAA96218B702509   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES507402     2008   GRTDN   1GRAA96288B702510   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES507404     2008   GRTDN   1GRAA96218B702512   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507405     2008   GRTDN   1GRAA96238B702513   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES507406     2008   GRTDN   1GRAA96258B702514   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507407     2008   GRTDN   1GRAA96278B702515   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507408     2008   GRTDN   1GRAA96298B702516   SSL       MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES507410     2008   GRTDN   1GRAA96228B702518   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507411     2008   GRTDN   1GRAA96248B702519   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507412     2008   GRTDN   1GRAA96208B702520   SSL       NY      Tonawanda
 HMES     ROAD TRAILER     RTL‐TA   HMES507413     2008   GRTDN   1GRAA96228B702521   SSL       MD      Elkridge
 HMES     ROAD TRAILER     RTL‐TA   HMES507415     2008   GRTDN   1GRAA96268B702523   SSL       CA      Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES507416     2008   GRTDN   1GRAA96288B702524   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES507417     2008   GRTDN   1GRAA962X8B702525   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES507418     2008   GRTDN   1GRAA96218B702526   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES507419     2008   GRTDN   1GRAA96238B702527   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES507420     2008   GRTDN   1GRAA96258B702528   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES507421     2008   GRTDN   1GRAA96278B702529   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES507422     2008   GRTDN   1GRAA96238B702530   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES507423     2008   GRTDN   1GRAA96258B702531   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES507424     2008   GRTDN   1GRAA96278B702532   SSL       WI      Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES507425     2008   GRTDN   1GRAA96298B702533   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES507426     2008   GRTDN   1GRAA96208B702534   SSL       NY      Tonawanda
 HMES     ROAD TRAILER     RTL‐TA   HMES507427     2008   GRTDN   1GRAA96228B702535   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES507428     2008   GRTDN   1GRAA96248B702536   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507429     2008   GRTDN   1GRAA96268B702537   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES507430     2008   GRTDN   1GRAA96288B702538   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES507431     2008   GRTDN   1GRAA962X8B702539   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES507432     2008   GRTDN   1GRAA96268B702540   SSL       CA      Tracy
 HMES     ROAD TRAILER     RTL‐TA   HMES507434     2008   GRTDN   1GRAA962X8B702542   SSL       PA      Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES507435     2008   GRTDN   1GRAA96218B702543   SSL       MN      Coon Rapids
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 105 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES507436     2008   GRTDN   1GRAA96238B702544   SSL       PA      McKees Rocks
 HMES     ROAD TRAILER     RTL‐TA   HMES507437     2008   GRTDN   1GRAA96258B702545   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES507438     2008   GRTDN   1GRAA96278B702546   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES507439     2008   GRTDN   1GRAA96298B702547   SSL       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES507440     2008   GRTDN   1GRAA96208B702548   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES507441     2008   GRTDN   1GRAA96228B702549   SSL       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507442     2008   GRTDN   1GRAA96298B702550   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES507443     2008   GRTDN   1GRAA96208B702551   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507444     2008   GRTDN   1GRAA96228B702552   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES507445     2008   GRTDN   1GRAA96248B702553   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES507446     2008   GRTDN   1GRAA96268B702554   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES507447     2008   GRTDN   1GRAA96288B702555   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507448     2008   GRTDN   1GRAA962X8B702556   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES507449     2008   GRTDN   1GRAA96218B702557   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507450     2008   GRTDN   1GRAA96238B702558   SSL       IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES507451     2008   GRTDN   1GRAA96258B702559   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES507452     2008   GRTDN   1GRAA96218B702560   SSL       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES507453     2008   GRTDN   1GRAA96238B702561   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES507454     2008   GRTDN   1GRAA96258B702562   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES507455     2008   GRTDN   1GRAA96278B702563   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES507456     2008   GRTDN   1GRAA96298B702564   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES507457     2008   GRTDN   1GRAA96208B702565   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES507458     2008   GRTDN   1GRAA96228B702566   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507459     2008   GRTDN   1GRAA96248B702567   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES507460     2008   GRTDN   1GRAA96268B702568   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES507461     2008   GRTDN   1GRAA96288B702569   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES507462     2008   GRTDN   1GRAA96248B702570   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES507463     2008   GRTDN   1GRAA96268B702571   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES507464     2008   GRTDN   1GRAA96288B702572   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES507465     2008   GRTDN   1GRAA962X8B702573   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES507466     2008   GRTDN   1GRAA96218B702574   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES507468     2008   GRTDN   1GRAA96258B702576   SSL       IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES507469     2008   GRTDN   1GRAA96278B702577   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES508002     2008   WABSH   1JJV482W28L178696   DVCVH     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES508004     2008   WABSH   1JJV482W68L178698   DVCVH     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES508005     2008   WABSH   1JJV482W88L178699   DVCVH     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES508006     2008   WABSH   1JJV482W08L178700   DVCVH     IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES508008     2008   WABSH   1JJV482W48L178702   DVCVH     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES508009     2008   WABSH   1JJV482W68L178703   DVCVH     WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES508010     2008   WABSH   1JJV482W88L178704   DVCVH     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES508012     2008   WABSH   1JJV482W18L178706   DVCVH     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES508013     2008   WABSH   1JJV482W38L178707   DVCVH     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES508016     2008   WABSH   1JJV482W38L178710   DVCVH     IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES508017     2008   WABSH   1JJV482W58L178711   DVCVH     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES508018     2008   WABSH   1JJV482W78L178712   DVCVH     MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES508020     2008   WABSH   1JJV482W08L178714   DVCVH     OK      Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES508022     2008   WABSH   1JJV482W48L178716   DVCVH     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES508023     2008   WABSH   1JJV482W68L178717   DVCVH     FL      Tampa
 HMES     ROAD TRAILER     RTL‐TA   HMES508027     2008   WABSH   1JJV482W88L178721   DVCVH     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES508029     2008   WABSH   1JJV482W18L178723   DVCVH     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES508030     2008   WABSH   1JJV482W38L178724   DVCVH     FL      Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES508031     2008   WABSH   1JJV482W58L178725   DVCVH     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES515000     2015   STGHT   1DW1A5325FB577500   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES515001     2015   STGHT   1DW1A5327FB577501   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES515002     2015   STGHT   1DW1A5329FB577502   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515003     2015   STGHT   1DW1A5320FB577503   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES515004     2015   STGHT   1DW1A5322FB577504   ZGPVW     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES515005     2015   STGHT   1DW1A5324FB577505   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES515006     2015   STGHT   1DW1A5326FB577506   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES515007     2015   STGHT   1DW1A5328FB577507   ZGPVW     KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES515008     2015   STGHT   1DW1A532XFB577508   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES515009     2015   STGHT   1DW1A5321FB577509   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515010     2015   STGHT   1DW1A5328FB577510   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515011     2015   STGHT   1DW1A532XFB577511   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES515012     2015   STGHT   1DW1A5321FB577512   ZGPVW     SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES515013     2015   STGHT   1DW1A5323FB577513   ZGPVW     FL      Tampa
 HMES     ROAD TRAILER     RTL‐TA   HMES515014     2015   STGHT   1DW1A5325FB577514   ZGPVW     TX      Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES515015     2015   STGHT   1DW1A5327FB577515   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES515016     2015   STGHT   1DW1A5329FB577516   ZGPVW     PA      Bensalem
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 106 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES515017     2015   STGHT   1DW1A5320FB577517   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES515018     2015   STGHT   1DW1A5322FB577518   ZGPVW     IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES515019     2015   STGHT   1DW1A5324FB577519   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES515020     2015   STGHT   1DW1A5320FB577520   ZGPVW     IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES515021     2015   STGHT   1DW1A5322FB577521   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515022     2015   STGHT   1DW1A5324FB577522   ZGPVW     NJ      Cinnaminson
 HMES     ROAD TRAILER     RTL‐TA   HMES515023     2015   STGHT   1DW1A5326FB577523   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515024     2015   STGHT   1DW1A5328FB577524   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES515025     2015   STGHT   1DW1A532XFB577525   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515026     2015   STGHT   1DW1A5321FB577526   ZGPVW     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES515027     2015   STGHT   1DW1A5323FB577527   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES515028     2015   STGHT   1DW1A5325FB577528   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515029     2015   STGHT   1DW1A5327FB577529   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515030     2015   STGHT   1DW1A5323FB577530   ZGPVW     MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES515031     2015   STGHT   1DW1A5325FB577531   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES515032     2015   STGHT   1DW1A5327FB577532   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515033     2015   STGHT   1DW1A5329FB577533   ZGPVW     PA      Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES515034     2015   STGHT   1DW1A5320FB577534   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515035     2015   STGHT   1DW1A5322FB577535   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES515036     2015   STGHT   1DW1A5324FB577536   ZGPVW     GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES515037     2015   STGHT   1DW1A5326FB577537   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515038     2015   STGHT   1DW1A5328FB577538   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES515039     2015   STGHT   1DW1A532XFB577539   ZGPVW     IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES515040     2015   STGHT   1DW1A5326FB577540   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES515041     2015   STGHT   1DW1A5328FB577541   ZGPVW     PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES515042     2015   STGHT   1DW1A532XFB577542   ZGPVW     MD      Landover
 HMES     ROAD TRAILER     RTL‐TA   HMES515043     2015   STGHT   1DW1A5321FB577543   ZGPVW     KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES515044     2015   STGHT   1DW1A5323FB577544   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515045     2015   STGHT   1DW1A5325FB577545   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515046     2015   STGHT   1DW1A5327FB577546   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES515047     2015   STGHT   1DW1A5329FB577547   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515048     2015   STGHT   1DW1A5320FB577548   ZGPVW     CA      Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES515049     2015   STGHT   1DW1A5322FB577549   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515050     2015   STGHT   1DW1A5329FB577550   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515051     2015   STGHT   1DW1A5320FB577551   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES515052     2015   STGHT   1DW1A5322FB577552   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515053     2015   STGHT   1DW1A5324FB577553   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES515054     2015   STGHT   1DW1A5326FB577554   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515055     2015   STGHT   1DW1A5328FB577555   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515056     2015   STGHT   1DW1A532XFB577556   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515057     2015   STGHT   1DW1A5321FB577557   ZGPVW     IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES515058     2015   STGHT   1DW1A5323FB577558   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES515059     2015   STGHT   1DW1A5325FB577559   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES515060     2015   STGHT   1DW1A5321FB577560   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515061     2015   STGHT   1DW1A5323FB577561   ZGPVW     IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES515062     2015   STGHT   1DW1A5325FB577562   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515063     2015   STGHT   1DW1A5327FB577563   ZGPVW     MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES515064     2015   STGHT   1DW1A5329FB577564   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515065     2015   STGHT   1DW1A5320FB577565   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515066     2015   STGHT   1DW1A5322FB577566   ZGPVW     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES515067     2015   STGHT   1DW1A5324FB577567   ZGPVW     IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES515068     2015   STGHT   1DW1A5326FB577568   ZGPVW     GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES515069     2015   STGHT   1DW1A5328FB577569   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515070     2015   STGHT   1DW1A5324FB577570   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515071     2015   STGHT   1DW1A5326FB577571   ZGPVW     TX      Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES515072     2015   STGHT   1DW1A5328FB577572   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES515073     2015   STGHT   1DW1A532XFB577573   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES515074     2015   STGHT   1DW1A5321FB577574   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES515075     2015   STGHT   1DW1A5323FB577575   ZGPVW     IA      Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES515076     2015   STGHT   1DW1A5325FB577576   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515077     2015   STGHT   1DW1A5327FB577577   ZGPVW     IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES515078     2015   STGHT   1DW1A5329FB577578   ZGPVW     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES515079     2015   STGHT   1DW1A5320FB577579   ZGPVW     VA      Manassas
 HMES     ROAD TRAILER     RTL‐TA   HMES515080     2015   STGHT   1DW1A5327FB577580   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515081     2015   STGHT   1DW1A5329FB577581   ZGPVW     TX      Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES515082     2015   STGHT   1DW1A5320FB577582   ZGPVW     WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES515083     2015   STGHT   1DW1A5322FB577583   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515084     2015   STGHT   1DW1A5324FB577584   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515085     2015   STGHT   1DW1A5326FB577585   ZGPVW     NY      Williamsville
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 107 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES515086     2015   STGHT   1DW1A5328FB577586   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515087     2015   STGHT   1DW1A532XFB577587   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515088     2015   STGHT   1DW1A5321FB577588   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515089     2015   STGHT   1DW1A5323FB577589   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES515090     2015   STGHT   1DW1A532XFB577590   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES515091     2015   STGHT   1DW1A5321FB577591   ZGPVW     OH        Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES515092     2015   STGHT   1DW1A5323FB577592   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515093     2015   STGHT   1DW1A5325FB577593   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515094     2015   STGHT   1DW1A5327FB577594   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515095     2015   STGHT   1DW1A5329FB577595   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES515096     2015   STGHT   1DW1A5320FB577596   ZGPVW     MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES515097     2015   STGHT   1DW1A5322FB577597   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515098     2015   STGHT   1DW1A5324FB577598   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515099     2015   STGHT   1DW1A5326FB577599   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES515100     2015   STGHT   1DW1A5329FB577600   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES515101     2015   STGHT   1DW1A5320FB577601   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515102     2015   STGHT   1DW1A5322FB577602   ZGPVW     KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES515103     2015   STGHT   1DW1A5324FB577603   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES515104     2015   STGHT   1DW1A5326FB577604   ZGPVW     WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES515105     2015   STGHT   1DW1A5328FB577605   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES515106     2015   STGHT   1DW1A532XFB577606   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES515107     2015   STGHT   1DW1A5321FB577607   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES515108     2015   STGHT   1DW1A5323FB577608   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES515109     2015   STGHT   1DW1A5325FB577609   ZGPVW     GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES515110     2015   STGHT   1DW1A5321FB577610   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515111     2015   STGHT   1DW1A5323FB577611   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515112     2015   STGHT   1DW1A5325FB577612   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES515113     2015   STGHT   1DW1A5327FB577613   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES515114     2015   STGHT   1DW1A5329FB577614   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES515115     2015   STGHT   1DW1A5320FB577615   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES515116     2015   STGHT   1DW1A5322FB577616   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES515117     2015   STGHT   1DW1A5324FB577617   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515118     2015   STGHT   1DW1A5326FB577618   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES515119     2015   STGHT   1DW1A5328FB577619   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515120     2015   STGHT   1DW1A5324FB577620   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515121     2015   STGHT   1DW1A5326FB577621   ZGPVW     IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES515122     2015   STGHT   1DW1A5328FB577622   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515123     2015   STGHT   1DW1A532XFB577623   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515124     2015   STGHT   1DW1A5321FB577624   ZGPVW     IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES515125     2015   STGHT   1DW1A5323FB577625   ZGPVW     PA        Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES515126     2015   STGHT   1DW1A5325FB577626   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES515127     2015   STGHT   1DW1A5327FB577627   ZGPVW     CA        Pomona
 HMES     ROAD TRAILER     RTL‐TA   HMES515128     2015   STGHT   1DW1A5329FB577628   ZGPVW     PA        McKees Rocks
 HMES     ROAD TRAILER     RTL‐TA   HMES515129     2015   STGHT   1DW1A5320FB577629   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515130     2015   STGHT   1DW1A5327FB577630   ZGPVW     MS        Richland
 HMES     ROAD TRAILER     RTL‐TA   HMES515131     2015   STGHT   1DW1A5329FB577631   ZGPVW     FL        Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES515132     2015   STGHT   1DW1A5320FB577632   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515133     2015   STGHT   1DW1A5322FB577633   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515134     2015   STGHT   1DW1A5324FB577634   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES515135     2015   STGHT   1DW1A5326FB577635   ZGPVW     PA        Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES515136     2015   STGHT   1DW1A5328FB577636   ZGPVW     MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES515137     2015   STGHT   1DW1A532XFB577637   ZGPVW     OH        Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES515138     2015   STGHT   1DW1A5321FB577638   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES515139     2015   STGHT   1DW1A5323FB577639   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES515140     2015   STGHT   1DW1A532XFB577640   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES515141     2015   STGHT   1DW1A5321FB577641   ZGPVW     IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES515142     2015   STGHT   1DW1A5323FB577642   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES515143     2015   STGHT   1DW1A5325FB577643   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515144     2015   STGHT   1DW1A5327FB577644   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515145     2015   STGHT   1DW1A5329FB577645   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515146     2015   STGHT   1DW1A5320FB577646   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515147     2015   STGHT   1DW1A5322FB577647   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515148     2015   STGHT   1DW1A5324FB577648   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515149     2015   STGHT   1DW1A5326FB577649   ZGPVW     PA        Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES515150     2015   STGHT   1DW1A5322FB577650   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515151     2015   STGHT   1DW1A5324FB577651   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515152     2015   STGHT   1DW1A5326FB577652   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES515153     2015   STGHT   1DW1A5328FB577653   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES515154     2015   STGHT   1DW1A532XFB577654   ZGPVW     OH        Cincinnati
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 108 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES515155     2015   STGHT   1DW1A5321FB577655   ZGPVW     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES515156     2015   STGHT   1DW1A5323FB577656   ZGPVW     NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515158     2015   STGHT   1DW1A5327FB577658   ZGPVW     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES515159     2015   STGHT   1DW1A5329FB577659   ZGPVW     OH      Toledo
 HMES     ROAD TRAILER     RTL‐TA   HMES515160     2015   STGHT   1DW1A5325FB577660   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515161     2015   STGHT   1DW1A5327FB577661   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES515162     2015   STGHT   1DW1A5329FB577662   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515163     2015   STGHT   1DW1A5320FB577663   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515164     2015   STGHT   1DW1A5322FB577664   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES515165     2015   STGHT   1DW1A5324FB577665   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515166     2015   STGHT   1DW1A5326FB577666   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES515167     2015   STGHT   1DW1A5328FB577667   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES515168     2015   STGHT   1DW1A532XFB577668   ZGPVW     IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES515169     2015   STGHT   1DW1A5321FB577669   ZGPVW     AR      Springdale
 HMES     ROAD TRAILER     RTL‐TA   HMES515170     2015   STGHT   1DW1A5328FB577670   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES515171     2015   STGHT   1DW1A532XFB577671   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515172     2015   STGHT   1DW1A5321FB577672   ZGPVW     PA      Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES515173     2015   STGHT   1DW1A5323FB577673   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515174     2015   STGHT   1DW1A5325FB577674   ZGPVW     OH      Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES515175     2015   STGHT   1DW1A5327FB577675   ZGPVW     VA      Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES515176     2015   STGHT   1DW1A5329FB577676   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515177     2015   STGHT   1DW1A5320FB577677   ZGPVW     AR      Springdale
 HMES     ROAD TRAILER     RTL‐TA   HMES515178     2015   STGHT   1DW1A5322FB577678   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515179     2015   STGHT   1DW1A5324FB577679   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES515180     2015   STGHT   1DW1A5320FB577680   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES515181     2015   STGHT   1DW1A5322FB577681   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES515182     2015   STGHT   1DW1A5324FB577682   ZGPVW     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES515183     2015   STGHT   1DW1A5326FB577683   ZGPVW     PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES515184     2015   STGHT   1DW1A5328FB577684   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES515185     2015   STGHT   1DW1A532XFB577685   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515186     2015   STGHT   1DW1A5321FB577686   ZGPVW     NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515187     2015   STGHT   1DW1A5323FB577687   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515188     2015   STGHT   1DW1A5325FB577688   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515190     2015   STGHT   1DW1A5323FB577690   ZGPVW     SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES515191     2015   STGHT   1DW1A5325FB577691   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES515192     2015   STGHT   1DW1A5327FB577692   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515193     2015   STGHT   1DW1A5329FB577693   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES515194     2015   STGHT   1DW1A5320FB577694   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515195     2015   STGHT   1DW1A5322FB577695   ZGPVW     VA      Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES515196     2015   STGHT   1DW1A5324FB577696   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES515197     2015   STGHT   1DW1A5326FB577697   ZGPVW     MD      Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES515198     2015   STGHT   1DW1A5328FB577698   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515199     2015   STGHT   1DW1A532XFB577699   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES515200     2015   STGHT   1DW1A5322FB577700   ZGPVW     OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES515201     2015   STGHT   1DW1A5324FB577701   ZGPVW     FL      Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES515202     2015   STGHT   1DW1A5326FB577702   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515203     2015   STGHT   1DW1A5328FB577703   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515204     2015   STGHT   1DW1A532XFB577704   ZGPVW     IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES515205     2015   STGHT   1DW1A5321FB577705   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515206     2015   STGHT   1DW1A5323FB577706   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515207     2015   STGHT   1DW1A5325FB577707   ZGPVW     GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES515208     2015   STGHT   1DW1A5327FB577708   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES515209     2015   STGHT   1DW1A5329FB577709   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES515210     2015   STGHT   1DW1A5325FB577710   ZGPVW     TX      Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES515211     2015   STGHT   1DW1A5327FB577711   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515212     2015   STGHT   1DW1A5329FB577712   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515213     2015   STGHT   1DW1A5320FB577713   ZGPVW     IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES515214     2015   STGHT   1DW1A5322FB577714   ZGPVW     MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES515215     2015   STGHT   1DW1A5324FB577715   ZGPVW     AR      Little Rock
 HMES     ROAD TRAILER     RTL‐TA   HMES515216     2015   STGHT   1DW1A5326FB577716   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515217     2015   STGHT   1DW1A5328FB577717   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515218     2015   STGHT   1DW1A532XFB577718   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515219     2015   STGHT   1DW1A5321FB577719   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515220     2015   STGHT   1DW1A5328FB577720   ZGPVW     NY      Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES515221     2015   STGHT   1DW1A532XFB577721   ZGPVW     MS      Richland
 HMES     ROAD TRAILER     RTL‐TA   HMES515222     2015   STGHT   1DW1A5321FB577722   ZGPVW     KY      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515223     2015   STGHT   1DW1A5323FB577723   ZGPVW     TX      Sherman
 HMES     ROAD TRAILER     RTL‐TA   HMES515224     2015   STGHT   1DW1A5325FB577724   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES515225     2015   STGHT   1DW1A5327FB577725   ZGPVW     OH      Cincinnati
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 109 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES515226     2015   STGHT   1DW1A5329FB577726   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515227     2015   STGHT   1DW1A5320FB577727   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515228     2015   STGHT   1DW1A5322FB577728   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES515229     2015   STGHT   1DW1A5324FB577729   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515230     2015   STGHT   1DW1A5320FB577730   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515231     2015   STGHT   1DW1A5322FB577731   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515232     2015   STGHT   1DW1A5324FB577732   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515233     2015   STGHT   1DW1A5326FB577733   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES515234     2015   STGHT   1DW1A5328FB577734   ZGPVW     KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES515235     2015   STGHT   1DW1A532XFB577735   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES515236     2015   STGHT   1DW1A5321FB577736   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515237     2015   STGHT   1DW1A5323FB577737   ZGPVW     WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES515238     2015   STGHT   1DW1A5325FB577738   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515239     2015   STGHT   1DW1A5327FB577739   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515240     2015   STGHT   1DW1A5323FB577740   ZGPVW     OH        Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515241     2015   STGHT   1DW1A5325FB577741   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515242     2015   STGHT   1DW1A5327FB577742   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515243     2015   STGHT   1DW1A5329FB577743   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515244     2015   STGHT   1DW1A5320FB577744   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES515245     2015   STGHT   1DW1A5322FB577745   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515246     2015   STGHT   1DW1A5324FB577746   ZGPVW     WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES515247     2015   STGHT   1DW1A5326FB577747   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES515248     2015   STGHT   1DW1A5328FB577748   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515249     2015   STGHT   1DW1A532XFB577749   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES515250     2015   STGHT   1DW1A5326FB577750   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES515251     2015   STGHT   1DW1A5328FB577751   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES515252     2015   STGHT   1DW1A532XFB577752   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES515253     2015   STGHT   1DW1A5321FB577753   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES515254     2015   STGHT   1DW1A5323FB577754   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515255     2015   STGHT   1DW1A5325FB577755   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES515256     2015   STGHT   1DW1A5327FB577756   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES515257     2015   STGHT   1DW1A5329FB577757   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515258     2015   STGHT   1DW1A5320FB577758   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES515259     2015   STGHT   1DW1A5322FB577759   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES515260     2015   STGHT   1DW1A5329FB577760   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES515261     2015   STGHT   1DW1A5320FB577761   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515262     2015   STGHT   1DW1A5322FB577762   ZGPVW     NY        Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515263     2015   STGHT   1DW1A5324FB577763   ZGPVW     MS        Richland
 HMES     ROAD TRAILER     RTL‐TA   HMES515264     2015   STGHT   1DW1A5326FB577764   ZGPVW     NV        Las Vegas
 HMES     ROAD TRAILER     RTL‐TA   HMES515265     2015   STGHT   1DW1A5328FB577765   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES515266     2015   STGHT   1DW1A532XFB577766   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES515267     2015   STGHT   1DW1A5321FB577767   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515268     2015   STGHT   1DW1A5323FB577768   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES515269     2015   STGHT   1DW1A5325FB577769   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515270     2015   STGHT   1DW1A5321FB577770   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES515271     2015   STGHT   1DW1A5323FB577771   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES515272     2015   STGHT   1DW1A5325FB577772   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515273     2015   STGHT   1DW1A5327FB577773   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515274     2015   STGHT   1DW1A5329FB577774   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES515275     2015   STGHT   1DW1A5320FB577775   ZGPVW     GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES515276     2015   STGHT   1DW1A5322FB577776   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515277     2015   STGHT   1DW1A5324FB577777   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515278     2015   STGHT   1DW1A5326FB577778   ZGPVW     TX        Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES515279     2015   STGHT   1DW1A5328FB577779   ZGPVW     IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES515280     2015   STGHT   1DW1A5324FB577780   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515281     2015   STGHT   1DW1A5326FB577781   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515282     2015   STGHT   1DW1A5328FB577782   ZGPVW     MD        Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES515283     2015   STGHT   1DW1A532XFB577783   ZGPVW     TX        Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES515284     2015   STGHT   1DW1A5321FB577784   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES515285     2015   STGHT   1DW1A5323FB577785   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES515286     2015   STGHT   1DW1A5325FB577786   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515287     2015   STGHT   1DW1A5327FB577787   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES515288     2015   STGHT   1DW1A5329FB577788   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515289     2015   STGHT   1DW1A5320FB577789   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515290     2015   STGHT   1DW1A5327FB577790   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES515291     2015   STGHT   1DW1A5329FB577791   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515292     2015   STGHT   1DW1A5320FB577792   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515293     2015   STGHT   1DW1A5322FB577793   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515294     2015   STGHT   1DW1A5324FB577794   ZGPVW     IL        Edwardsville
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 110 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES515295     2015   STGHT   1DW1A5326FB577795   ZGPVW     MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES515296     2015   STGHT   1DW1A5328FB577796   ZGPVW     VA      Fishersville
 HMES     ROAD TRAILER     RTL‐TA   HMES515297     2015   STGHT   1DW1A532XFB577797   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES515298     2015   STGHT   1DW1A5321FB577798   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES515299     2015   STGHT   1DW1A5323FB577799   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES515300     2015   STGHT   1DW1A5326FB577800   ZGPVW     AR      Little Rock
 HMES     ROAD TRAILER     RTL‐TA   HMES515301     2015   STGHT   1DW1A5328FB577801   ZGPVW     NJ      Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES515302     2015   STGHT   1DW1A532XFB577802   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES515303     2015   STGHT   1DW1A5321FB577803   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515304     2015   STGHT   1DW1A5323FB577804   ZGPVW     CA      Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES515305     2015   STGHT   1DW1A5325FB577805   ZGPVW     AL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES515306     2015   STGHT   1DW1A5327FB577806   ZGPVW     VA      Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES515307     2015   STGHT   1DW1A5329FB577807   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES515308     2015   STGHT   1DW1A5320FB577808   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES515309     2015   STGHT   1DW1A5322FB577809   ZGPVW     MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES515310     2015   STGHT   1DW1A5329FB577810   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515311     2015   STGHT   1DW1A5320FB577811   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515312     2015   STGHT   1DW1A5322FB577812   ZGPVW     IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES515313     2015   STGHT   1DW1A5324FB577813   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515315     2015   STGHT   1DW1A5328FB577815   ZGPVW     MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES515316     2015   STGHT   1DW1A532XFB577816   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES515317     2015   STGHT   1DW1A5321FB577817   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515318     2015   STGHT   1DW1A5323FB577818   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES515319     2015   STGHT   1DW1A5325FB577819   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES515320     2015   STGHT   1DW1A5321FB577820   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515321     2015   STGHT   1DW1A5323FB577821   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515322     2015   STGHT   1DW1A5325FB577822   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515323     2015   STGHT   1DW1A5327FB577823   ZGPVW     MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES515324     2015   STGHT   1DW1A5329FB577824   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515325     2015   STGHT   1DW1A5320FB577825   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515326     2015   STGHT   1DW1A5322FB577826   ZGPVW     WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES515327     2015   STGHT   1DW1A5324FB577827   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES515328     2015   STGHT   1DW1A5326FB577828   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES515330     2015   STGHT   1DW1A5324FB577830   ZGPVW     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES515331     2015   STGHT   1DW1A5326FB577831   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515332     2015   STGHT   1DW1A5328FB577832   ZGPVW     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES515333     2015   STGHT   1DW1A532XFB577833   ZGPVW     NJ      Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES515334     2015   STGHT   1DW1A5321FB577834   ZGPVW     MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES515335     2015   STGHT   1DW1A5323FB577835   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515336     2015   STGHT   1DW1A5325FB577836   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES515337     2015   STGHT   1DW1A5327FB577837   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515338     2015   STGHT   1DW1A5329FB577838   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES515339     2015   STGHT   1DW1A5320FB577839   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515340     2015   STGHT   1DW1A5327FB577840   ZGPVW     MI      Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES515341     2015   STGHT   1DW1A5329FB577841   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515342     2015   STGHT   1DW1A5320FB577842   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515343     2015   STGHT   1DW1A5322FB577843   ZGPVW     PA      Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES515344     2015   STGHT   1DW1A5324FB577844   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES515345     2015   STGHT   1DW1A5326FB577845   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515346     2015   STGHT   1DW1A5328FB577846   ZGPVW     MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES515347     2015   STGHT   1DW1A532XFB577847   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES515348     2015   STGHT   1DW1A5321FB577848   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES515349     2015   STGHT   1DW1A5323FB577849   ZGPVW     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES515350     2015   STGHT   1DW1A5326FB596301   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES515351     2015   STGHT   1DW1A5328FB596302   ZGPVW     NC      Fayetteville
 HMES     ROAD TRAILER     RTL‐TA   HMES515352     2015   STGHT   1DW1A532XFB596303   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES515353     2015   STGHT   1DW1A5321FB596304   ZGPVW     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES515354     2015   STGHT   1DW1A5323FB596305   ZGPVW     WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES515355     2015   STGHT   1DW1A5325FB596306   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES515356     2015   STGHT   1DW1A5327FB596307   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES515357     2015   STGHT   1DW1A5329FB596308   ZGPVW     CO      Henderson
 HMES     ROAD TRAILER     RTL‐TA   HMES515358     2015   STGHT   1DW1A5320FB596309   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES515359     2015   STGHT   1DW1A5327FB596310   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES515360     2015   STGHT   1DW1A5329FB596311   ZGPVW     OH      Toledo
 HMES     ROAD TRAILER     RTL‐TA   HMES515361     2015   STGHT   1DW1A5320FB596312   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515362     2015   STGHT   1DW1A5322FB596313   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES515363     2015   STGHT   1DW1A5324FB596314   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515364     2015   STGHT   1DW1A5326FB596315   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES515365     2015   STGHT   1DW1A5328FB596316   ZGPVW     IL      Rock Island
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 111 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 HMES     ROAD TRAILER     RTL‐TA   HMES515366     2015   STGHT   1DW1A532XFB596317   ZGPVW     IL         Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES515367     2015   STGHT   1DW1A5321FB596318   ZGPVW     MS         Richland
 HMES     ROAD TRAILER     RTL‐TA   HMES515368     2015   STGHT   1DW1A5323FB596319   ZGPVW     NC         Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES515369     2015   STGHT   1DW1A532XFB596320   ZGPVW     OH         Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES515370     2015   STGHT   1DW1A5321FB596321   ZGPVW     WI         Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515371     2015   STGHT   1DW1A5323FB596322   ZGPVW     IL         Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES515373     2015   STGHT   1DW1A5327FB596324   ZGPVW     MD         Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES515374     2015   STGHT   1DW1A5329FB596325   ZGPVW     NE         Omaha
 HMES     ROAD TRAILER     RTL‐TA   HMES515375     2015   STGHT   1DW1A5320FB596326   ZGPVW     MI         Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES515376     2015   STGHT   1DW1A5322FB596327   ZGPVW     IN         Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515377     2015   STGHT   1DW1A5324FB596328   ZGPVW     IL         Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES515378     2015   STGHT   1DW1A5326FB596329   ZGPVW     IN         Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES515379     2015   STGHT   1DW1A5322FB596330   ZGPVW     TN         Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES515380     2015   STGHT   1DW1A5324FB596331   ZGPVW     OH         Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515381     2015   STGHT   1DW1A5326FB596332   ZGPVW     IN         Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515382     2015   STGHT   1DW1A5328FB596333   ZGPVW     NC         Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515383     2015   STGHT   1DW1A532XFB596334   ZGPVW     OH         Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES515384     2015   STGHT   1DW1A5321FB596335   ZGPVW     NC         Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES515385     2015   STGHT   1DW1A5323FB596336   ZGPVW     IN         South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES515386     2015   STGHT   1DW1A5325FB596337   ZGPVW     IL         Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES515387     2015   STGHT   1DW1A5327FB596338   ZGPVW     FL         Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES515388     2015   STGHT   1DW1A5329FB596339   ZGPVW     TX         Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES515389     2015   STGHT   1DW1A5325FB596340   ZGPVW     IN         Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES515390     2015   STGHT   1DW1A5327FB596341   ZGPVW     GA         Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES515391     2015   STGHT   1DW1A5329FB596342   ZGPVW     WI         Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES515392     2015   STGHT   1DW1A5320FB596343   ZGPVW     IN         Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES515393     2015   STGHT   1DW1A5322FB596344   ZGPVW     OH         Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515394     2015   STGHT   1DW1A5324FB596345   ZGPVW     OH         Copley
 HMES     ROAD TRAILER     RTL‐TA   HMES515395     2015   STGHT   1DW1A5326FB596346   ZGPVW     MS         Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES515396     2015   STGHT   1DW1A5328FB596347   ZGPVW     NC         Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES515397     2015   STGHT   1DW1A532XFB596348   ZGPVW     IN         South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES515398     2015   STGHT   1DW1A5321FB596349   ZGPVW     OH         Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES515399     2015   STGHT   1DW1A5328FB596350   ZGPVW     GA         Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES515400     2015   STGHT   1DW1A532XFB596351   ZGPVW     IN         Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515401     2015   STGHT   1DW1A5321FB596352   ZGPVW     Manitoba   Winnipeg
 HMES     ROAD TRAILER     RTL‐TA   HMES515402     2015   STGHT   1DW1A5323FB596353   ZGPVW     MS         Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES515403     2015   STGHT   1DW1A5325FB596354   ZGPVW     TN         Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES515404     2015   STGHT   1DW1A5327FB596355   ZGPVW     TN         Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES515405     2015   STGHT   1DW1A5329FB596356   ZGPVW     MI         Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES515406     2015   STGHT   1DW1A5320FB596357   ZGPVW     OH         Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES515407     2015   STGHT   1DW1A5322FB596358   ZGPVW     PA         Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES515408     2015   STGHT   1DW1A5324FB596359   ZGPVW     IN         Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES515409     2015   STGHT   1DW1A5320FB596360   ZGPVW     IL         McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES520050     2020   VANGU   5V8VA5322LM005109   VAN       MI         Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES520051     2020   VANGU   5V8VA5329LM005110   VAN       AL         Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES520052     2020   VANGU   5V8VA5320LM005111   VAN       NC         Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES520053     2020   VANGU   5V8VA5322LM005112   VAN       IL         Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES520054     2020   VANGU   5V8VA5324LM005113   VAN       MN         Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES520055     2020   VANGU   5V8VA5326LM005114   VAN       IN         South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES520056     2020   VANGU   5V8VA5328LM005115   VAN       MI         Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES520057     2020   VANGU   5V8VA532XLM005116   VAN       MI         Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES520058     2020   VANGU   5V8VA5321LM005117   VAN       IL         McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES520059     2020   VANGU   5V8VA5323LM005118   VAN       TN         Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES520060     2020   VANGU   5V8VA5325LM005119   VAN       MD         Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES520061     2020   VANGU   5V8VA5321LM005120   VAN       OH         Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES520062     2020   VANGU   5V8VA5323LM005121   VAN       MN         Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES520063     2020   VANGU   5V8VA5325LM005122   VAN       NC         Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES520064     2020   VANGU   5V8VA5327LM005123   VAN       PA         Line Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES520065     2020   VANGU   5V8VA5329LM005124   VAN       TN         Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES520066     2020   VANGU   5V8VA5320LM005125   VAN       MI         Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES520067     2020   VANGU   5V8VA5322LM005126   VAN       WI         Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES520068     2020   VANGU   5V8VA5324LM005127   VAN       IL         Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES520069     2020   VANGU   5V8VA5326LM005128   VAN       GA         Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES520070     2020   VANGU   5V8VA5328LM005129   VAN       MI         Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES520071     2020   VANGU   5V8VA5324LM005130   VAN       OH         Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES520072     2020   VANGU   5V8VA5326LM005131   VAN       MO         Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES520073     2020   VANGU   5V8VA5328LM005132   VAN       WI         Eau Claire
 HMES     ROAD TRAILER     RTL‐TA   HMES520074     2020   VANGU   5V8VA532XLM005133   VAN       NY         Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES520075     2020   VANGU   5V8VA5321LM005134   VAN       WI         Milwaukee
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 112 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES520076     2020   VANGU   5V8VA5323LM005135   VAN       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES520077     2020   VANGU   5V8VA5325LM005136   VAN       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES520078     2020   VANGU   5V8VA5327LM005137   VAN       WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES520079     2020   VANGU   5V8VA5329LM005138   VAN       MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES520080     2020   VANGU   5V8VA5320LM005139   VAN       MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES520081     2020   VANGU   5V8VA5327LM005140   VAN       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES520082     2020   VANGU   5V8VA5329LM005141   VAN       IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES520083     2020   VANGU   5V8VA5320LM005142   VAN       KS        Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES520084     2020   VANGU   5V8VA5322LM005143   VAN       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES520085     2020   VANGU   5V8VA5324LM005144   VAN       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES520086     2020   VANGU   5V8VA5326LM005145   VAN       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES520087     2020   VANGU   5V8VA5328LM005146   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES520088     2020   VANGU   5V8VA532XLM005147   VAN       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES520089     2020   VANGU   5V8VA5321LM005148   VAN       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES520090     2020   VANGU   5V8VA5323LM005149   VAN       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES520091     2020   VANGU   5V8VA532XLM005150   VAN       MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES520092     2020   VANGU   5V8VA5321LM005151   VAN       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES520093     2020   VANGU   5V8VA5323LM005152   VAN       TN        Kingsport
 HMES     ROAD TRAILER     RTL‐TA   HMES520094     2020   VANGU   5V8VA5325LM005153   VAN       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES520095     2020   VANGU   5V8VA5327LM005154   VAN       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES520096     2020   VANGU   5V8VA5329LM005155   VAN       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES520097     2020   VANGU   5V8VA5320LM005156   VAN       SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES520098     2020   VANGU   5V8VA5322LM005157   VAN       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES520099     2020   VANGU   5V8VA5324LM005158   VAN       CA        Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES520100     2020   VANGU   5V8VA5326LM005159   VAN       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES520101     2020   VANGU   5V8VA5322LM005160   VAN       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES520102     2020   VANGU   5V8VA5324LM005161   VAN       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES520103     2020   VANGU   5V8VA5326LM005162   VAN       MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES520104     2020   VANGU   5V8VA5328LM005163   VAN       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES520105     2020   VANGU   5V8VA532XLM005164   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES520106     2020   VANGU   5V8VA5321LM005165   VAN       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES520107     2020   VANGU   5V8VA5323LM005166   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES520108     2020   VANGU   5V8VA5325LM005167   VAN       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES520109     2020   VANGU   5V8VA5327LM005168   VAN       TX        Dallas
 HMES     ROAD TRAILER     RTL‐TA   HMES520110     2020   VANGU   5V8VA5329LM005169   VAN       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES520111     2020   VANGU   5V8VA5325LM005170   VAN       MN        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES520112     2020   VANGU   5V8VA5327LM005171   VAN       Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES520113     2020   VANGU   5V8VA5329LM005172   VAN       VA        Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES520114     2020   VANGU   5V8VA5320LM005173   VAN       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES530985     2022   VANGU   5V8VA5326NM204683   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES530991     2022   VANGU   5V8VA5327NM204689   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES530995     2022   VANGU   5V8VA5329NM204693   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES530996     2022   VANGU   5V8VA5320NM204694   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES530997     2022   VANGU   5V8VA5322NM204695   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES531002     2022   VANGU   5V8VA5322NM204700   VAN       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES531570     2022   VANGU   5V8VC5324NM204613   VAN       NC        Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES531577     2022   VANGU   5V8VC5321NM204620   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES531628     2022   VANGU   5V8VC5327NM204671   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES531653     2022   VANGU   5V8VA5321NM211041   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES531702     2017   STGHT   1DW1A5320HB720727   ZGPVW     OH        Copley
 HMES     ROAD TRAILER     RTL‐TA   HMES531709     2017   STGHT   1DW1A5328HB720734   ZGPVW     MI        Pontiac
 HMES     ROAD TRAILER     RTL‐TA   HMES531726     2017   STGHT   1DW1A5328HB737002   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES531730     2017   STGHT   1DW1A5325HB737006   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES531737     2017   STGHT   1DW1A5322HB737013   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES531738     2017   STGHT   1DW1A5324HB737014   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES531740     2017   STGHT   1DW1A5328HB737016   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES531746     2017   STGHT   1DW1A5323HB737022   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES531748     2017   STGHT   1DW1A5327HB737024   ZGPVW     MO        Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES531749     2017   STGHT   1DW1A5329HB737025   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES531750     2017   STGHT   1DW1A5320HB737026   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES531751     2017   STGHT   1DW1A5322HB737027   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES531752     2017   STGHT   1DW1A5324HB737028   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES531753     2017   STGHT   1DW1A5326HB737029   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES531754     2017   STGHT   1DW1A5322HB737030   ZGPVW     MD        Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES531755     2017   STGHT   1DW1A5324HB737031   ZGPVW     WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES531756     2017   STGHT   1DW1A5326HB737032   ZGPVW     MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES531757     2017   STGHT   1DW1A5328HB737033   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES531758     2017   STGHT   1DW1A532XHB737034   ZGPVW     MS        Tupelo
 HMES     ROAD TRAILER     RTL‐TA   HMES531759     2017   STGHT   1DW1A5321HB737035   ZGPVW     TN        Memphis
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 113 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES531760     2017   STGHT   1DW1A5323HB737036   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES531761     2017   STGHT   1DW1A5325HB737037   ZGPVW     MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES531762     2017   STGHT   1DW1A5327HB737038   ZGPVW     PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES531763     2017   STGHT   1DW1A5329HB737039   ZGPVW     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES531764     2017   STGHT   1DW1A5325HB737040   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES531765     2017   STGHT   1DW1A5327HB737041   ZGPVW     KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES531766     2017   STGHT   1DW1A5329HB737042   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES531767     2017   STGHT   1DW1A5320HB737043   ZGPVW     TX      Austin
 HMES     ROAD TRAILER     RTL‐TA   HMES531768     2017   STGHT   1DW1A5322HB737044   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES531769     2017   STGHT   1DW1A5324HB737045   ZGPVW     CO      Aurora
 HMES     ROAD TRAILER     RTL‐TA   HMES531770     2017   STGHT   1DW1A5326HB737046   ZGPVW     MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES531771     2017   STGHT   1DW1A5328HB737047   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES531772     2017   STGHT   1DW1A532XHB737048   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES531773     2017   STGHT   1DW1A5321HB737049   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES531774     2017   STGHT   1DW1A5328HB737050   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES531775     2017   STGHT   1DW1A532XHB737051   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES531776     2017   STGHT   1DW1A5321HB737052   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES531777     2017   STGHT   1DW1A5323HB737053   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES531778     2017   STGHT   1DW1A5325HB737054   ZGPVW     IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES531779     2017   STGHT   1DW1A5327HB737055   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES531780     2017   STGHT   1DW1A5329HB737056   ZGPVW     UT      Salt Lake City
 HMES     ROAD TRAILER     RTL‐TA   HMES531781     2017   STGHT   1DW1A5320HB737057   ZGPVW     IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES531782     2017   STGHT   1DW1A5322HB737058   ZGPVW     NC      Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES531783     2017   STGHT   1DW1A5324HB737059   ZGPVW     PA      Altoona
 HMES     ROAD TRAILER     RTL‐TA   HMES531784     2017   STGHT   1DW1A5320HB737060   ZGPVW     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES531785     2017   STGHT   1DW1A5322HB737061   ZGPVW     GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES531786     2017   STGHT   1DW1A5324HB737062   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES531787     2017   STGHT   1DW1A5326HB737063   ZGPVW     PA      Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES531788     2017   STGHT   1DW1A5328HB737064   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES531789     2017   STGHT   1DW1A532XHB737065   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES531790     2017   STGHT   1DW1A5321HB737066   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES531791     2017   STGHT   1DW1A5323HB737067   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES531792     2017   STGHT   1DW1A5325HB737068   ZGPVW     TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES531793     2017   STGHT   1DW1A5327HB737069   ZGPVW     OH      Copley
 HMES     ROAD TRAILER     RTL‐TA   HMES531794     2017   STGHT   1DW1A5323HB737070   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES531795     2017   STGHT   1DW1A5325HB737071   ZGPVW     IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES531796     2017   STGHT   1DW1A5327HB737072   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES531797     2017   STGHT   1DW1A5329HB737073   ZGPVW     OH      Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES531798     2017   STGHT   1DW1A5320HB737074   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES531799     2017   STGHT   1DW1A5322HB737075   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532100     2021   VANGU   5V8VA5322MM109147   VAN       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES532101     2021   VANGU   5V8VA5324MM109148   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532102     2021   VANGU   5V8VA5326MM109149   VAN       NE      Omaha
 HMES     ROAD TRAILER     RTL‐TA   HMES532103     2021   VANGU   5V8VA5322MM109150   VAN       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532104     2021   VANGU   5V8VA5324MM109151   VAN       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532105     2021   VANGU   5V8VA5326MM109152   VAN       OH      Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES532106     2021   VANGU   5V8VA5328MM109153   VAN       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES532107     2021   VANGU   5V8VA532XMM109154   VAN       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES532108     2021   VANGU   5V8VA5321MM109155   VAN       MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES532109     2021   VANGU   5V8VA5323MM109156   VAN       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532110     2021   VANGU   5V8VA5325MM109157   VAN       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES532111     2021   VANGU   5V8VA5327MM109158   VAN       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES532112     2021   VANGU   5V8VA5329MM109159   VAN       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES532113     2021   VANGU   5V8VA5325MM109160   VAN       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES532114     2021   VANGU   5V8VA5327MM109161   VAN       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES532115     2021   VANGU   5V8VA5329MM109162   VAN       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES532116     2021   VANGU   5V8VA5320MM109163   VAN       OH      Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES532117     2021   VANGU   5V8VA5322MM109164   VAN       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES532118     2021   VANGU   5V8VA5324MM109165   VAN       CO      Henderson
 HMES     ROAD TRAILER     RTL‐TA   HMES532119     2021   VANGU   5V8VA5326MM109166   VAN       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES532120     2021   VANGU   5V8VA5328MM109167   VAN       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES532121     2021   VANGU   5V8VA532XMM109168   VAN       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES532122     2021   VANGU   5V8VA5321MM109169   VAN       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES532123     2021   VANGU   5V8VA5328MM109170   VAN       IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES532124     2021   VANGU   5V8VA532XMM109171   VAN       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES532125     2021   VANGU   5V8VA5321MM109172   VAN       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES532126     2021   VANGU   5V8VA5323MM109173   VAN       MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES532127     2021   VANGU   5V8VA5325MM109174   VAN       WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES532128     2021   VANGU   5V8VA5327MM109175   VAN       IL      Joliet
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 114 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES532129     2021   VANGU   5V8VA5329MM109176   VAN       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES532130     2021   VANGU   5V8VA5320MM109177   VAN       MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES532131     2021   VANGU   5V8VA5322MM109178   VAN       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES532132     2021   VANGU   5V8VA5324MM109179   VAN       AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES532133     2021   VANGU   5V8VA5320MM109180   VAN       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532134     2021   VANGU   5V8VA5322MM109181   VAN       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES532135     2021   VANGU   5V8VA5324MM109182   VAN       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532136     2021   VANGU   5V8VA5326MM109183   VAN       MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES532137     2021   VANGU   5V8VA5328MM109184   VAN       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532138     2021   VANGU   5V8VA532XMM109185   VAN       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES532139     2021   VANGU   5V8VA5321MM109186   VAN       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532140     2021   VANGU   5V8VA5323MM109187   VAN       MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES532141     2021   VANGU   5V8VA5325MM109188   VAN       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES532142     2021   VANGU   5V8VA5327MM109189   VAN       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES532143     2021   VANGU   5V8VA5323MM109190   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532144     2021   VANGU   5V8VA5325MM109191   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532145     2021   VANGU   5V8VA5327MM109192   VAN       MN      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532146     2021   VANGU   5V8VA5329MM109193   VAN       IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES532147     2021   VANGU   5V8VA5320MM109194   VAN       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES532148     2021   VANGU   5V8VA5322MM109195   VAN       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES532149     2021   VANGU   5V8VA5324MM109196   VAN       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES532150     2021   VANGU   5V8VA5326MM109197   VAN       MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES532151     2021   VANGU   5V8VA5328MM109198   VAN       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES532152     2021   VANGU   5V8VA532XMM109199   VAN       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES532153     2021   VANGU   5V8VA5322MM109200   VAN       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES532154     2021   VANGU   5V8VA5324MM109201   VAN       MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES532155     2021   VANGU   5V8VA5326MM109202   VAN       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES532156     2021   VANGU   5V8VA5328MM109203   VAN       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES532157     2021   VANGU   5V8VA532XMM109204   VAN       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES532158     2021   VANGU   5V8VA5321MM109205   VAN       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES532159     2021   VANGU   5V8VA5323MM109206   VAN       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES532160     2021   VANGU   5V8VA5325MM109207   VAN       CA      Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES532161     2021   VANGU   5V8VA5327MM109208   VAN       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES532162     2021   VANGU   5V8VA5329MM109209   VAN       PA      Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES532163     2021   VANGU   5V8VA5325MM109210   VAN       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES532164     2022   VANGU   5V8VA5328NT201192   VAN       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES532165     2022   VANGU   5V8VA532XNT201193   VAN       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES532166     2022   VANGU   5V8VA5321NT201194   VAN       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES532167     2022   VANGU   5V8VA5323NT201195   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532168     2022   VANGU   5V8VA5325NT201196   VAN       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES532169     2022   VANGU   5V8VA5327NT201197   VAN       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES532170     2022   VANGU   5V8VA5329NT201198   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532171     2022   VANGU   5V8VA5320NT201199   VAN       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532172     2022   VANGU   5V8VA5323NT201200   VAN       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES532173     2022   VANGU   5V8VA5325NT201201   VAN       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES532174     2022   VANGU   5V8VA5327NT201202   VAN       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532175     2022   VANGU   5V8VA5329NT201203   VAN       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES532176     2022   VANGU   5V8VA5320NT201204   VAN       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES532177     2022   VANGU   5V8VA5322NT201205   VAN       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES532178     2022   VANGU   5V8VA5324NT201206   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532179     2022   VANGU   5V8VA5326NT201207   VAN       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES532180     2022   VANGU   5V8VA5328NT201208   VAN       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES532181     2022   VANGU   5V8VA532XNT201209   VAN       MN      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532182     2022   VANGU   5V8VA5326NT201210   VAN       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES532183     2022   VANGU   5V8VA5328NT201211   VAN       MN      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532184     2022   VANGU   5V8VA532XNT201212   VAN       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES532185     2022   VANGU   5V8VA5321NT201213   VAN       GA      Macon
 HMES     ROAD TRAILER     RTL‐TA   HMES532186     2022   VANGU   5V8VA5323NT201214   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532187     2022   VANGU   5V8VA5325NT201215   VAN       AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES532188     2022   VANGU   5V8VA5327NT201216   VAN       MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES532189     2022   VANGU   5V8VA5329NT201217   VAN       CA      Tracy
 HMES     ROAD TRAILER     RTL‐TA   HMES532190     2022   VANGU   5V8VA5320NT201218   VAN       IA      Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES532192     2022   VANGU   5V8VA5329NT201220   VAN       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES532193     2022   VANGU   5V8VA5320NT201221   VAN       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES532194     2022   VANGU   5V8VA5322NT201222   VAN       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES532195     2022   VANGU   5V8VA5324NT201223   VAN       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES532196     2022   VANGU   5V8VA5326NT201224   VAN       AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES532197     2022   VANGU   5V8VA5328NT201225   VAN       NC      Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES532198     2022   VANGU   5V8VA532XNT201226   VAN       NC      Charlotte
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 115 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES532199     2022   VANGU   5V8VA5321NT201227   VAN       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES532200     2022   VANGU   5V8VA5323NT201228   VAN       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES532201     2022   VANGU   5V8VA5325NT201229   VAN       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES532202     2022   VANGU   5V8VA5321NT201230   VAN       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES532203     2022   VANGU   5V8VA5323NT201231   VAN       AL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES532204     2022   VANGU   5V8VA5325NT201232   VAN       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES532205     2022   VANGU   5V8VA5327NT201233   VAN       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES532206     2022   VANGU   5V8VA5329NT201234   VAN       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES532207     2022   VANGU   5V8VA5320NT201235   VAN       AR        Little Rock
 HMES     ROAD TRAILER     RTL‐TA   HMES532208     2022   VANGU   5V8VA5322NT201236   VAN       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES532209     2022   VANGU   5V8VA5324NT201237   VAN       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES532210     2022   VANGU   5V8VA5326NT201238   VAN       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532211     2022   VANGU   5V8VA5328NT201239   VAN       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES532212     2022   VANGU   5V8VA5324NT201240   VAN       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES532213     2022   VANGU   5V8VA5326NT201241   VAN       IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES532214     2022   VANGU   5V8VA5328NT201242   VAN       IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES532215     2022   VANGU   5V8VA532XNT201243   VAN       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES532216     2022   VANGU   5V8VA5321NT201244   VAN       PA        Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES532217     2022   VANGU   5V8VA5323NT201245   VAN       OK        Tulsa
 HMES     ROAD TRAILER     RTL‐TA   HMES532218     2022   VANGU   5V8VA5325NT201246   VAN       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES532219     2022   VANGU   5V8VA5327NT201247   VAN       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES532220     2022   VANGU   5V8VA5329NT201248   VAN       KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES532221     2022   VANGU   5V8VA5320NT201249   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES532222     2022   VANGU   5V8VA5327NT201250   VAN       MN        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532223     2022   VANGU   5V8VA5329NT201251   VAN       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES532224     2022   VANGU   5V8VA5320NT201252   VAN       IA        Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES532225     2022   VANGU   5V8VA5322NT201253   VAN       MO        Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES532226     2022   VANGU   5V8VA5324NT201254   VAN       GA        Savannah
 HMES     ROAD TRAILER     RTL‐TA   HMES532227     2022   VANGU   5V8VA5326NT201255   VAN       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES532228     2022   VANGU   5V8VA5328NT201256   VAN       SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES532229     2022   VANGU   5V8VA532XNT201257   VAN       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES532230     2022   VANGU   5V8VA5321NT201258   VAN       IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES532231     2022   VANGU   5V8VA5323NT201259   VAN       Ontario   Niagara on the Lake
 HMES     ROAD TRAILER     RTL‐TA   HMES532232     2022   VANGU   5V8VA532XNT201260   VAN       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES532233     2022   VANGU   5V8VA5321NT201261   VAN       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES532234     2022   VANGU   5V8VA5323NT201262   VAN       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES532235     2022   VANGU   5V8VA5325NT201263   VAN       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES532236     2022   VANGU   5V8VA5327NT201264   VAN       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES532237     2022   VANGU   5V8VA5329NT201265   VAN       GA        Thomasville
 HMES     ROAD TRAILER     RTL‐TA   HMES532238     2022   VANGU   5V8VA5320NT201266   VAN       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES532239     2022   VANGU   5V8VA5322NT201267   VAN       MO        Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES532240     2022   VANGU   5V8VA5324NT201268   VAN       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES532241     2022   VANGU   5V8VA5326NT201269   VAN       NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532242     2022   VANGU   5V8VA5322NT201270   VAN       CO        Henderson
 HMES     ROAD TRAILER     RTL‐TA   HMES532243     2022   VANGU   5V8VA5324NT201271   VAN       SC        Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES532244     2022   VANGU   5V8VA5326NT201272   VAN       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES532245     2022   VANGU   5V8VA5328NT201273   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES532246     2022   VANGU   5V8VA532XNT201274   VAN       MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES532247     2022   VANGU   5V8VA5321NT201275   VAN       NJ        South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES532248     2022   VANGU   5V8VA5323NT201276   VAN       OH        Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532249     2022   VANGU   5V8VA5325NT201277   VAN       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES532250     2022   VANGU   5V8VA5327NT201278   VAN       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES532251     2022   VANGU   5V8VA5329NT201279   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES532252     2022   VANGU   5V8VA5325NT201280   VAN       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532253     2022   VANGU   5V8VA5327NT201281   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532254     2022   VANGU   5V8VA5329NT201282   VAN       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES532255     2022   VANGU   5V8VA5320NT201283   VAN       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES532256     2022   VANGU   5V8VA5322NT201284   VAN       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES532257     2022   VANGU   5V8VA5324NT201285   VAN       WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES532258     2022   VANGU   5V8VA5326NT201286   VAN       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES532259     2022   VANGU   5V8VA5328NT201287   VAN       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES532260     2022   VANGU   5V8VA532XNT201288   VAN       IL        Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES532261     2022   VANGU   5V8VA5321NT201289   VAN       MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES532262     2022   VANGU   5V8VA5328NT201290   VAN       MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532263     2022   VANGU   5V8VA532XNT201291   VAN       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES532264     2022   VANGU   5V8VA5321NT201292   VAN       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES532265     2022   VANGU   5V8VA5329NM211126   VAN       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES532266     2022   VANGU   5V8VA5320NM211127   VAN       MN        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532267     2022   VANGU   5V8VA5322NM211128   VAN       WI        Neenah
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 116 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES532268     2022   VANGU   5V8VA5324NM211129   VAN       MI        Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES532269     2022   VANGU   5V8VA5320NM211130   VAN       TX        McAllen
 HMES     ROAD TRAILER     RTL‐TA   HMES532270     2022   VANGU   5V8VA5322NM211131   VAN       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532271     2022   VANGU   5V8VA5324NM211132   VAN       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES532272     2022   VANGU   5V8VA5326NM211133   VAN       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES532273     2022   VANGU   5V8VA5328NM211134   VAN       TX        McAllen
 HMES     ROAD TRAILER     RTL‐TA   HMES532274     2022   VANGU   5V8VA532XNM211135   VAN       MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES532275     2022   VANGU   5V8VA5321NM211136   VAN       MO        Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES532276     2022   VANGU   5V8VA5323NM211137   VAN       NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532277     2022   VANGU   5V8VA5325NM211138   VAN       CA        Downey
 HMES     ROAD TRAILER     RTL‐TA   HMES532278     2022   VANGU   5V8VA5327NM211139   VAN       MN        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532279     2022   VANGU   5V8VA5323NM211140   VAN       GA        Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES532280     2022   VANGU   5V8VA5325NM211141   VAN       IN        Terre Haute
 HMES     ROAD TRAILER     RTL‐TA   HMES532281     2022   VANGU   5V8VA5327NM211142   VAN       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532282     2022   VANGU   5V8VA5329NM211143   VAN       IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES532283     2022   VANGU   5V8VA5320NM211144   VAN       TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES532284     2022   VANGU   5V8VA5322NM211145   VAN       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES532285     2022   VANGU   5V8VA5324NM211146   VAN       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532286     2022   VANGU   5V8VA5326NM211147   VAN       NJ        Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES532287     2022   VANGU   5V8VA5328NM211148   VAN       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES532288     2022   VANGU   5V8VA532XNM211149   VAN       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES532289     2022   VANGU   5V8VA5326NM211150   VAN       AR        Little Rock
 HMES     ROAD TRAILER     RTL‐TA   HMES532290     2022   VANGU   5V8VA5328NM211151   VAN       GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES532291     2022   VANGU   5V8VA532XNM211152   VAN       MN        Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES532292     2022   VANGU   5V8VA5321NM211153   VAN       MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES532293     2022   VANGU   5V8VA5323NM211154   VAN       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES532294     2022   VANGU   5V8VA5325NM211155   VAN       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES532295     2022   VANGU   5V8VA5327NM211156   VAN       WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES532296     2022   VANGU   5V8VA5329NM211157   VAN       CA        San Diego
 HMES     ROAD TRAILER     RTL‐TA   HMES532297     2022   VANGU   5V8VA5320NM211158   VAN       GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES532298     2022   VANGU   5V8VA5322NM211159   VAN       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES532299     2022   VANGU   5V8VA5329NM211160   VAN       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES532300     2022   VANGU   5V8VA5320NM211161   VAN       KY        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES532301     2022   VANGU   5V8VA5322NM211162   VAN       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES532302     2022   VANGU   5V8VA5324NM211163   VAN       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES532303     2022   VANGU   5V8VA5326NM211164   VAN       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES532304     2022   VANGU   5V8VA5328NM211165   VAN       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES532305     2022   VANGU   5V8VA532XNM211166   VAN       MO        Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES532306     2022   VANGU   5V8VA5321NM211167   VAN       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES532307     2022   VANGU   5V8VA5323NM211168   VAN       CA        Orange
 HMES     ROAD TRAILER     RTL‐TA   HMES532308     2022   VANGU   5V8VA5325NM211169   VAN       KY        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES532309     2022   VANGU   5V8VA5321NM211170   VAN       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES532310     2022   VANGU   5V8VA5323NM211171   VAN       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES532311     2022   VANGU   5V8VA5325NM211172   VAN       KS        Topeka
 HMES     ROAD TRAILER     RTL‐TA   HMES532312     2022   VANGU   5V8VA5327NM211173   VAN       NY        Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES532313     2022   VANGU   5V8VA5329NM211174   VAN       SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES532314     2022   VANGU   5V8VA5320NM211175   VAN       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES532315     2022   VANGU   5V8VA5322NM211176   VAN       NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532316     2022   VANGU   5V8VA5324NM211177   VAN       MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES532317     2022   VANGU   5V8VA5326NM211178   VAN       MN        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532318     2022   VANGU   5V8VA5328NM211179   VAN       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES532319     2022   VANGU   5V8VA5324NM211180   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532320     2022   VANGU   5V8VA5326NM211181   VAN       CA        Downey
 HMES     ROAD TRAILER     RTL‐TA   HMES532321     2022   VANGU   5V8VA5328NM211182   VAN       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES532322     2022   VANGU   5V8VA532XNM211183   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532323     2022   VANGU   5V8VA5321NM211184   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532324     2022   VANGU   5V8VA5323NM211185   VAN       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES532325     2022   VANGU   5V8VA5325NM211186   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532326     2022   VANGU   5V8VA5327NM211187   VAN       TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES532327     2022   VANGU   5V8VA5329NM211188   VAN       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES532328     2022   VANGU   5V8VA5320NM211189   VAN       Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES532329     2022   VANGU   5V8VA5327NM211190   VAN       WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES532330     2022   VANGU   5V8VA5329NM211191   VAN       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES532331     2022   VANGU   5V8VA5320NM211192   VAN       PA        Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES532332     2022   VANGU   5V8VA5322NM211193   VAN       NE        Omaha
 HMES     ROAD TRAILER     RTL‐TA   HMES532333     2022   VANGU   5V8VA5324NM211194   VAN       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532334     2022   VANGU   5V8VA5326NM211195   VAN       OH        Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES532335     2022   VANGU   5V8VA5328NM211196   VAN       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES532336     2022   VANGU   5V8VA532XNM211197   VAN       TA        Nuevo Laredo
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 117 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES532337     2022   VANGU   5V8VA5321NM211198   VAN       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532338     2022   VANGU   5V8VA5323NM211199   VAN       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES532339     2022   VANGU   5V8VA5326NM211200   VAN       IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES532340     2022   VANGU   5V8VA5328NM211201   VAN       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES532341     2022   VANGU   5V8VA532XNM211202   VAN       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532342     2022   VANGU   5V8VA5321NM211203   VAN       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES532343     2022   VANGU   5V8VA5323NM211204   VAN       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES532344     2022   VANGU   5V8VA5325NM211205   VAN       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES532345     2022   VANGU   5V8VA5327NM211206   VAN       NY        East Syracuse
 HMES     ROAD TRAILER     RTL‐TA   HMES532346     2022   VANGU   5V8VA5329NM211207   VAN       NJ        Carlstadt
 HMES     ROAD TRAILER     RTL‐TA   HMES532347     2022   VANGU   5V8VA5320NM211208   VAN       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES532348     2022   VANGU   5V8VA5322NM211209   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532349     2022   VANGU   5V8VA5329NM211210   VAN       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES532350     2022   VANGU   5V8VA5320NM211211   VAN       TX        Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES532351     2022   VANGU   5V8VA5322NM211212   VAN       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES532352     2022   VANGU   5V8VA5324NM211213   VAN       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES532353     2022   VANGU   5V8VA5326NM211214   VAN       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES532354     2022   VANGU   5V8VA5328NM211215   VAN       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES532355     2022   VANGU   5V8VA532XNM211216   VAN       WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES532356     2022   VANGU   5V8VA5321NM211217   VAN       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES532357     2022   VANGU   5V8VA5323NM211218   VAN       MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES532358     2022   VANGU   5V8VA5325NM211219   VAN       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES532359     2022   VANGU   5V8VA5321NM211220   VAN       TX        Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES532360     2022   VANGU   5V8VA5323NM211221   VAN       PA        Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES532361     2022   VANGU   5V8VA5325NM211222   VAN       NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES532362     2022   VANGU   5V8VA5327NM211223   VAN       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES532363     2022   VANGU   5V8VA5329NM211224   VAN       PA        Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES532364     2022   VANGU   5V8VA5320NM211225   VAN       Ontario   London
 HMES     ROAD TRAILER     RTL‐TA   HMES532365     2022   VANGU   5V8VA5327NM204708   VAN       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES533000     2013   STGHT   1DW1A5325EB449501   ZGPVW     TX        Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES533001     2013   STGHT   1DW1A5329EB457200   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533002     2013   STGHT   1DW1A5320EB457201   ZGPVW     MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES533003     2013   STGHT   1DW1A5322EB457202   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES533004     2013   STGHT   1DW1A5324EB457203   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES533005     2013   STGHT   1DW1A5326EB457204   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES533006     2013   STGHT   1DW1A5328EB457205   ZGPVW     VA        Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES533007     2013   STGHT   1DW1A532XEB457206   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533008     2013   STGHT   1DW1A5321EB457207   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES533009     2013   STGHT   1DW1A5323EB457208   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES533010     2013   STGHT   1DW1A5325EB457209   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES533011     2013   STGHT   1DW1A5321EB457210   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES533012     2013   STGHT   1DW1A5323EB457211   ZGPVW     MI        Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES533013     2013   STGHT   1DW1A5325EB457212   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES533014     2013   STGHT   1DW1A5327EB457213   ZGPVW     IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES533015     2013   STGHT   1DW1A5329EB457214   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533016     2013   STGHT   1DW1A5320EB457215   ZGPVW     WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES533017     2013   STGHT   1DW1A5322EB457216   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES533018     2013   STGHT   1DW1A5324EB457217   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES533019     2013   STGHT   1DW1A5326EB457218   ZGPVW     MN        Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES533020     2013   STGHT   1DW1A5328EB457219   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES533021     2013   STGHT   1DW1A5324EB457220   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES533022     2013   STGHT   1DW1A5326EB457221   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES533023     2013   STGHT   1DW1A5328EB457222   ZGPVW     TX        Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES533024     2013   STGHT   1DW1A532XEB457223   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES533025     2013   STGHT   1DW1A5321EB457224   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES533027     2013   STGHT   1DW1A5325EB457226   ZGPVW     NY        Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533028     2013   STGHT   1DW1A5327EB457227   ZGPVW     MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES533029     2013   STGHT   1DW1A5329EB457228   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES533030     2013   STGHT   1DW1A5320EB457229   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES533031     2013   STGHT   1DW1A5327EB457230   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES533032     2013   STGHT   1DW1A5329EB457231   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES533033     2013   STGHT   1DW1A5320EB457232   ZGPVW     TX        McAllen
 HMES     ROAD TRAILER     RTL‐TA   HMES533034     2013   STGHT   1DW1A5322EB457233   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES533035     2013   STGHT   1DW1A5324EB457234   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES533036     2013   STGHT   1DW1A5326EB457235   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES533037     2013   STGHT   1DW1A5328EB457236   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533038     2013   STGHT   1DW1A532XEB457237   ZGPVW     MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES533039     2013   STGHT   1DW1A5321EB457238   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES533041     2013   STGHT   1DW1A532XEB457240   ZGPVW     IL        Atlanta
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 118 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES533042     2013   STGHT   1DW1A5321EB457241   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES533043     2013   STGHT   1DW1A5323EB457242   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES533044     2013   STGHT   1DW1A5325EB457243   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES533045     2013   STGHT   1DW1A5327EB457244   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533046     2013   STGHT   1DW1A5329EB457245   ZGPVW     OH        Toledo
 HMES     ROAD TRAILER     RTL‐TA   HMES533047     2013   STGHT   1DW1A5320EB457246   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES533048     2013   STGHT   1DW1A5322EB457247   ZGPVW     AZ        Tucson
 HMES     ROAD TRAILER     RTL‐TA   HMES533049     2013   STGHT   1DW1A5324EB457248   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533050     2013   STGHT   1DW1A5326EB457249   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES533051     2013   STGHT   1DW1A5322EB457250   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES533052     2013   STGHT   1DW1A5324EB457251   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533053     2013   STGHT   1DW1A5326EB457252   ZGPVW     NY        Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533054     2013   STGHT   1DW1A5328EB457253   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES533055     2013   STGHT   1DW1A532XEB457254   ZGPVW     GA        Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES533056     2013   STGHT   1DW1A5321EB457255   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES533057     2013   STGHT   1DW1A5323EB457256   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES533058     2013   STGHT   1DW1A5325EB457257   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES533059     2013   STGHT   1DW1A5327EB457258   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES533060     2013   STGHT   1DW1A5329EB457259   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES533061     2013   STGHT   1DW1A5325EB457260   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES533062     2013   STGHT   1DW1A5327EB457261   ZGPVW     MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES533063     2013   STGHT   1DW1A5329EB457262   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES533064     2013   STGHT   1DW1A5320EB457263   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES533065     2013   STGHT   1DW1A5322EB457264   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES533066     2013   STGHT   1DW1A5324EB457265   ZGPVW     PA        Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES533067     2013   STGHT   1DW1A5326EB457266   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES533068     2013   STGHT   1DW1A5328EB457267   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES533070     2013   STGHT   1DW1A5321EB457269   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533071     2013   STGHT   1DW1A5328EB457270   ZGPVW     TX        Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES533072     2013   STGHT   1DW1A532XEB457271   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533073     2013   STGHT   1DW1A5321EB457272   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES533074     2013   STGHT   1DW1A5323EB457273   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES533075     2013   STGHT   1DW1A5325EB457274   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES533076     2013   STGHT   1DW1A5327EB457275   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES533077     2013   STGHT   1DW1A5329EB457276   ZGPVW     GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES533078     2013   STGHT   1DW1A5320EB457277   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533079     2013   STGHT   1DW1A5322EB457278   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES533080     2013   STGHT   1DW1A5324EB457279   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES533081     2013   STGHT   1DW1A5320EB457280   ZGPVW     MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES533082     2013   STGHT   1DW1A5322EB457281   ZGPVW     CA        Pomona
 HMES     ROAD TRAILER     RTL‐TA   HMES533083     2013   STGHT   1DW1A5324EB457282   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES533084     2013   STGHT   1DW1A5326EB457283   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES533085     2013   STGHT   1DW1A5328EB457284   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES533086     2013   STGHT   1DW1A532XEB457285   ZGPVW     IA        Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES533087     2013   STGHT   1DW1A5321EB457286   ZGPVW     TX        Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES533088     2013   STGHT   1DW1A5323EB457287   ZGPVW     KS        Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES533089     2013   STGHT   1DW1A5325EB457288   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES533090     2013   STGHT   1DW1A5327EB457289   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533091     2013   STGHT   1DW1A5323EB457290   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES533092     2013   STGHT   1DW1A5325EB457291   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES533093     2013   STGHT   1DW1A5327EB457292   ZGPVW     MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES533094     2013   STGHT   1DW1A5329EB457293   ZGPVW     MO        Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES533095     2013   STGHT   1DW1A5320EB457294   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533096     2013   STGHT   1DW1A5322EB457295   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES533097     2013   STGHT   1DW1A5324EB457296   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES533098     2013   STGHT   1DW1A5326EB457297   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES533099     2013   STGHT   1DW1A5328EB457298   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES533100     2013   STGHT   1DW1A532XEB457299   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES533101     2013   STGHT   1DW1A5322EB457300   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES533102     2013   STGHT   1DW1A5324EB457301   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES533103     2013   STGHT   1DW1A5326EB457302   ZGPVW     NY        East Syracuse
 HMES     ROAD TRAILER     RTL‐TA   HMES533104     2013   STGHT   1DW1A5328EB457303   ZGPVW     MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES533105     2013   STGHT   1DW1A532XEB457304   ZGPVW     PA        Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES533106     2013   STGHT   1DW1A5321EB457305   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES533107     2013   STGHT   1DW1A5323EB457306   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES533108     2013   STGHT   1DW1A5325EB457307   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533109     2013   STGHT   1DW1A5327EB457308   ZGPVW     WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES533110     2013   STGHT   1DW1A5329EB457309   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES533111     2013   STGHT   1DW1A5325EB457310   ZGPVW     IN        South Bend
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 119 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES533112     2013   STGHT   1DW1A5327EB457311   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES533113     2013   STGHT   1DW1A5329EB457312   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533114     2013   STGHT   1DW1A5320EB457313   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES533115     2013   STGHT   1DW1A5322EB457314   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533116     2013   STGHT   1DW1A5324EB457315   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES533117     2013   STGHT   1DW1A5326EB457316   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES533118     2013   STGHT   1DW1A5328EB457317   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES533119     2013   STGHT   1DW1A532XEB457318   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533120     2013   STGHT   1DW1A5321EB457319   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES533121     2013   STGHT   1DW1A5328EB457320   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES533122     2013   STGHT   1DW1A532XEB457321   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533123     2013   STGHT   1DW1A5321EB457322   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES533124     2013   STGHT   1DW1A5323EB457323   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES533125     2013   STGHT   1DW1A5325EB457324   ZGPVW     IA        Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES533126     2013   STGHT   1DW1A5327EB457325   ZGPVW     TX        Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES533127     2013   STGHT   1DW1A5329EB457326   ZGPVW     IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES533128     2013   STGHT   1DW1A5320EB457327   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES533129     2013   STGHT   1DW1A5322EB457328   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533130     2013   STGHT   1DW1A5324EB457329   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES533131     2013   STGHT   1DW1A5320EB457330   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES533132     2013   STGHT   1DW1A5322EB457331   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES533133     2013   STGHT   1DW1A5324EB457332   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES533134     2013   STGHT   1DW1A5326EB457333   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES533135     2013   STGHT   1DW1A5328EB457334   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533136     2013   STGHT   1DW1A532XEB457335   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES533137     2013   STGHT   1DW1A5321EB457336   ZGPVW     VA        Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES533138     2013   STGHT   1DW1A5323EB457337   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES533139     2013   STGHT   1DW1A5325EB457338   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES533140     2013   STGHT   1DW1A5327EB457339   ZGPVW     Ontario   London
 HMES     ROAD TRAILER     RTL‐TA   HMES533141     2013   STGHT   1DW1A5323EB457340   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES533142     2013   STGHT   1DW1A5325EB457341   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533143     2013   STGHT   1DW1A5327EB457342   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES533144     2013   STGHT   1DW1A5329EB457343   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES533145     2014   STGHT   1DW1A5329EB487300   ZGPVW     NY        Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533146     2014   STGHT   1DW1A5320EB487301   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES533147     2014   STGHT   1DW1A5322EB487302   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES533148     2014   STGHT   1DW1A5324EB487303   ZGPVW     OH        Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES533149     2014   STGHT   1DW1A5326EB487304   ZGPVW     VA        Roanoke
 HMES     ROAD TRAILER     RTL‐TA   HMES533150     2014   STGHT   1DW1A5328EB487305   ZGPVW     IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES533151     2014   STGHT   1DW1A532XEB487306   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES533152     2014   STGHT   1DW1A5321EB487307   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES533153     2014   STGHT   1DW1A5323EB487308   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES533154     2014   STGHT   1DW1A5325EB487309   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533155     2014   STGHT   1DW1A5321EB487310   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533156     2014   STGHT   1DW1A5323EB487311   ZGPVW     MN        Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES533157     2014   STGHT   1DW1A5325EB487312   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES533158     2014   STGHT   1DW1A5327EB487313   ZGPVW     MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES533159     2014   STGHT   1DW1A5329EB487314   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES533160     2014   STGHT   1DW1A5320EB487315   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES533161     2014   STGHT   1DW1A5322EB487316   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES533162     2014   STGHT   1DW1A5324EB487317   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES533163     2014   STGHT   1DW1A5326EB487318   ZGPVW     KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES533164     2014   STGHT   1DW1A5328EB487319   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES533165     2014   STGHT   1DW1A5324EB487320   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES533166     2014   STGHT   1DW1A5326EB487321   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533167     2014   STGHT   1DW1A5328EB487322   ZGPVW     KY        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES533168     2014   STGHT   1DW1A532XEB487323   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES533169     2014   STGHT   1DW1A5321EB487324   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES533170     2014   STGHT   1DW1A5323EB487325   ZGPVW     WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES533171     2014   STGHT   1DW1A5325EB487326   ZGPVW     NY        Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533172     2014   STGHT   1DW1A5327EB487327   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES533173     2014   STGHT   1DW1A5329EB487328   ZGPVW     IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES533174     2014   STGHT   1DW1A5320EB487329   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533175     2014   STGHT   1DW1A5327EB487330   ZGPVW     NE        Omaha
 HMES     ROAD TRAILER     RTL‐TA   HMES533176     2014   STGHT   1DW1A5329EB487331   ZGPVW     PA        Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES533177     2014   STGHT   1DW1A5320EB487332   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES533178     2014   STGHT   1DW1A5322EB487333   ZGPVW     OH        Toledo
 HMES     ROAD TRAILER     RTL‐TA   HMES533179     2014   STGHT   1DW1A5324EB487334   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES533180     2014   STGHT   1DW1A5326EB487335   ZGPVW     PA        Camp Hill
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 120 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES533181     2014   STGHT   1DW1A5328EB487336   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES533182     2014   STGHT   1DW1A532XEB487337   ZGPVW     IL        Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES533183     2014   STGHT   1DW1A5321EB487338   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533184     2014   STGHT   1DW1A5323EB487339   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES533185     2014   STGHT   1DW1A532XEB487340   ZGPVW     TX        Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES533186     2014   STGHT   1DW1A5321EB487341   ZGPVW     TX        Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES533187     2014   STGHT   1DW1A5323EB487342   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES533188     2014   STGHT   1DW1A5325EB487343   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533189     2014   STGHT   1DW1A5327EB487344   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES533190     2014   STGHT   1DW1A5329EB487345   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES533191     2014   STGHT   1DW1A5320EB487346   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES533192     2014   STGHT   1DW1A5322EB487347   ZGPVW     Ontario   Woodstock
 HMES     ROAD TRAILER     RTL‐TA   HMES533193     2014   STGHT   1DW1A5324EB487348   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES533194     2014   STGHT   1DW1A5326EB487349   ZGPVW     KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES533195     2014   STGHT   1DW1A5322EB487350   ZGPVW     MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES533196     2014   STGHT   1DW1A5324EB487351   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES533198     2014   STGHT   1DW1A5328EB487353   ZGPVW     IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES533199     2014   STGHT   1DW1A532XEB487354   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES533200     2014   STGHT   1DW1A5321EB487355   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES533201     2014   STGHT   1DW1A5323EB487356   ZGPVW     WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES533203     2014   STGHT   1DW1A5327EB487358   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES533204     2014   STGHT   1DW1A5329EB487359   ZGPVW     CA        Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES533205     2014   STGHT   1DW1A5325EB487360   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES533206     2014   STGHT   1DW1A5327EB487361   ZGPVW     GA        Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES533207     2014   STGHT   1DW1A5329EB487362   ZGPVW     WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES533208     2014   STGHT   1DW1A5320EB487363   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES533209     2014   STGHT   1DW1A5322EB487364   ZGPVW     CA        Orange
 HMES     ROAD TRAILER     RTL‐TA   HMES533210     2014   STGHT   1DW1A5324EB487365   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES533211     2014   STGHT   1DW1A5326EB487366   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES533212     2014   STGHT   1DW1A5328EB487367   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533213     2014   STGHT   1DW1A532XEB487368   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES533214     2014   STGHT   1DW1A5321EB487369   ZGPVW     CA        Pomona
 HMES     ROAD TRAILER     RTL‐TA   HMES533215     2014   STGHT   1DW1A5328EB487370   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES533216     2014   STGHT   1DW1A532XEB487371   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES533217     2014   STGHT   1DW1A5321EB487372   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES533218     2014   STGHT   1DW1A5323EB487373   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES533219     2014   STGHT   1DW1A5325EB487374   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES533220     2014   STGHT   1DW1A5327EB487375   ZGPVW     NE        Omaha
 HMES     ROAD TRAILER     RTL‐TA   HMES533221     2014   STGHT   1DW1A5329EB487376   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533222     2014   STGHT   1DW1A5320EB487377   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533223     2014   STGHT   1DW1A5322EB487378   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES533224     2014   STGHT   1DW1A5324EB487379   ZGPVW     NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533225     2014   STGHT   1DW1A5320EB487380   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES533226     2014   STGHT   1DW1A5322EB487381   ZGPVW     Ontario   Whitby
 HMES     ROAD TRAILER     RTL‐TA   HMES533227     2014   STGHT   1DW1A5324EB487382   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES533228     2014   STGHT   1DW1A5326EB487383   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES533229     2014   STGHT   1DW1A5328EB487384   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES533230     2014   STGHT   1DW1A532XEB487385   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES533231     2014   STGHT   1DW1A5321EB487386   ZGPVW     IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES533232     2014   STGHT   1DW1A5323EB487387   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES533233     2014   STGHT   1DW1A5325EB487388   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES533234     2014   STGHT   1DW1A5327EB487389   ZGPVW     GA        Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES533235     2014   STGHT   1DW1A5323EB487390   ZGPVW     MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES533236     2014   STGHT   1DW1A5325EB487391   ZGPVW     VA        Roanoke
 HMES     ROAD TRAILER     RTL‐TA   HMES533237     2014   STGHT   1DW1A5327EB487392   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES533238     2014   STGHT   1DW1A5329EB487393   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES533239     2014   STGHT   1DW1A5320EB487394   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES533240     2014   STGHT   1DW1A5322EB487395   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533241     2014   STGHT   1DW1A5324EB487396   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES533242     2014   STGHT   1DW1A5326EB487397   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES533243     2014   STGHT   1DW1A5328EB487398   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES533244     2014   STGHT   1DW1A532XEB487399   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES533245     2014   STGHT   1DW1A5322EB487400   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES533246     2014   STGHT   1DW1A5324EB487401   ZGPVW     GA        Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES533247     2014   STGHT   1DW1A5326EB487402   ZGPVW     IN        Terre Haute
 HMES     ROAD TRAILER     RTL‐TA   HMES533248     2014   STGHT   1DW1A5328EB487403   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES533249     2014   STGHT   1DW1A532XEB487404   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES533250     2014   STGHT   1DW1A5321EB487405   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533251     2014   STGHT   1DW1A5323EB487406   ZGPVW     OH        Bowling Green
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 121 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES533252     2014   STGHT   1DW1A5325EB487407   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533253     2014   STGHT   1DW1A5327EB487408   ZGPVW     MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES533254     2014   STGHT   1DW1A5329EB487409   ZGPVW     VA        Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES533255     2014   STGHT   1DW1A5325EB487410   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES533256     2014   STGHT   1DW1A5327EB487411   ZGPVW     IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES533257     2014   STGHT   1DW1A5329EB487412   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES533258     2014   STGHT   1DW1A5320EB487413   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES533259     2014   STGHT   1DW1A5322EB487414   ZGPVW     MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES533260     2014   STGHT   1DW1A5324EB487415   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES533261     2014   STGHT   1DW1A5326EB487416   ZGPVW     OH        Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES533262     2014   STGHT   1DW1A5328EB487417   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES533263     2014   STGHT   1DW1A532XEB487418   ZGPVW     MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES533264     2014   STGHT   1DW1A5321EB487419   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533265     2014   STGHT   1DW1A5328EB487420   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES533266     2014   STGHT   1DW1A532XEB487421   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES533267     2014   STGHT   1DW1A5321EB487422   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES533268     2014   STGHT   1DW1A5323EB487423   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES533269     2014   STGHT   1DW1A5325EB487424   ZGPVW     NY        Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533270     2014   STGHT   1DW1A5327EB487425   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES533271     2014   STGHT   1DW1A5329EB487426   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES533272     2014   STGHT   1DW1A5320EB487427   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES533273     2014   STGHT   1DW1A5322EB487428   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES533274     2014   STGHT   1DW1A5324EB487429   ZGPVW     IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES533275     2014   STGHT   1DW1A5320EB487430   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES533276     2014   STGHT   1DW1A5322EB487431   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533277     2014   STGHT   1DW1A5324EB487432   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES533278     2014   STGHT   1DW1A5326EB487433   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES533279     2014   STGHT   1DW1A5328EB487434   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533280     2014   STGHT   1DW1A532XEB487435   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533281     2014   STGHT   1DW1A5321EB487436   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES533282     2014   STGHT   1DW1A5323EB487437   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES533283     2014   STGHT   1DW1A5325EB487438   ZGPVW     MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES533284     2014   STGHT   1DW1A5327EB487439   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES533285     2014   STGHT   1DW1A5323EB487440   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES533286     2014   STGHT   1DW1A5325EB487441   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES533287     2014   STGHT   1DW1A5327EB487442   ZGPVW     IA        Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES533288     2014   STGHT   1DW1A5329EB487443   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES533289     2014   STGHT   1DW1A5320EB487444   ZGPVW     IL        Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES533291     2017   STGHT   1DW1A5320HB720730   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES533292     2017   STGHT   1DW1A5329HB720743   ZGPVW     IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES533293     2017   STGHT   1DW1A5326HB737015   ZGPVW     MI        Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES533295     2017   STGHT   1DW1A532XHB737020   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES533296     2017   STGHT   1DW1A5321HB737021   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES533297     2017   STGHT   1DW1A5325HB737023   ZGPVW     PA        Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES534203     2005   GRTDN   1GRAA06255D409739   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES534209     2005   GRTDN   1GRAA06205D409745   SSL       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES534221     2005   GRTDN   1GRAA06275D409757   SSL       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES534225     2005   GRTDN   1GRAA06295D409761   SSL       MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES534228     2005   GRTDN   1GRAA06245D409764   SSL       NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES534241     2005   GRTDN   1GRAA06225D409777   SSL       MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES534242     2005   GRTDN   1GRAA06245D409778   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534245     2005   GRTDN   1GRAA06245D409781   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534248     2005   GRTDN   1GRAA062X5D409784   SSL       IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES534266     2005   GRTDN   1GRAA06285D409802   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534270     2005   GRTDN   1GRAA06255D409806   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES534277     2005   GRTDN   1GRAA06225D409813   SSL       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES534283     2005   GRTDN   1GRAA06235D409819   SSL       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES534284     2005   GRTDN   1GRAA062X5D409820   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES534296     2005   GRTDN   1GRAA06265D409832   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534302     2005   GRTDN   1GRAA06275D409838   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES534313     2005   GRTDN   1GRAA06215D409849   SSL       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES534314     2005   GRTDN   1GRAA06285D409850   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES534316     2005   GRTDN   1GRAA06215D409852   SSL       MO        Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES534321     2005   GRTDN   1GRAA06205D409857   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES534325     2005   GRTDN   1GRAA06225D409861   SSL       WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES534338     2005   GRTDN   1GRAA06205D409874   SSL       KS        Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES534341     2005   GRTDN   1GRAA06265D409877   SSL       NJ        South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES534344     2005   GRTDN   1GRAA06265D409880   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534345     2005   GRTDN   1GRAA06285D409881   SSL       GA        Ringgold
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 122 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES534348     2005   GRTDN   1GRAA06235D409884   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES534351     2005   GRTDN   1GRAA06295D409887   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES534359     2005   GRTDN   1GRAA06285D409895   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES534363     2005   GRTDN   1GRAA06255D409899   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES534365     2005   GRTDN   1GRAA062X5D409901   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES534369     2005   GRTDN   1GRAA06275D409905   SSL       MN      Burnsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534372     2005   GRTDN   1GRAA06225D409908   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES534377     2005   GRTDN   1GRAA06265D409913   SSL       OH      Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES534379     2005   GRTDN   1GRAA062X5D409915   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES534390     2005   GRTDN   1GRAA06245D409926   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES534394     2005   GRTDN   1GRAA06265D409930   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES534395     2005   GRTDN   1GRAA06285D409931   SSL       TX      Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES534397     2005   GRTDN   1GRAA06215D409933   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES534399     2005   GRTDN   1GRAA06255D409935   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES534402     2005   WABSH   1JJV532W65L926362   DURAP     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES534417     2005   WABSH   1JJV532W85L926377   DURAP     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534429     2005   WABSH   1JJV532W45L926389   DURAP     FL      Boynton Beach
 HMES     ROAD TRAILER     RTL‐TA   HMES534437     2005   WABSH   1JJV532W35L926397   DURAP     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534441     2005   WABSH   1JJV532W15L926401   DURAP     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES534443     2005   WABSH   1JJV532W55L926403   DURAP     OH      Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES534444     2005   WABSH   1JJV532W75L926404   DURAP     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES534449     2005   WABSH   1JJV532W65L926409   DURAP     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES534454     2005   WABSH   1JJV532WX5L926414   DURAP     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES534459     2005   WABSH   1JJV532W95L926419   DURAP     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES534461     2005   WABSH   1JJV532W75L926421   DURAP     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES534469     2005   WABSH   1JJV532W15L926429   DURAP     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES534475     2005   WABSH   1JJV532W75L926435   DURAP     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534477     2005   WABSH   1JJV532W05L926437   DURAP     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES534478     2005   WABSH   1JJV532W25L926438   DURAP     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534481     2005   WABSH   1JJV532W25L926441   DURAP     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES534483     2005   WABSH   1JJV532W65L926443   DURAP     MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES534503     2005   WABSH   1JJV532W15L926463   DURAP     TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES534505     2005   WABSH   1JJV532W55L926465   DURAP     PA      Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES534506     2005   WABSH   1JJV532W75L926466   DURAP     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES534509     2005   WABSH   1JJV532W25L926469   DURAP     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534512     2005   WABSH   1JJV532W25L926472   DURAP     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES534514     2005   WABSH   1JJV532W65L926474   DURAP     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534517     2005   WABSH   1JJV532W15L926477   DURAP     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES534536     2005   WABSH   1JJV532W55L926496   DURAP     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534544     2005   WABSH   1JJV532W05L926504   DURAP     IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES534553     2005   WABSH   1JJV532W15L926513   DURAP     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES534556     2005   WABSH   1JJV532W75L926516   DURAP     SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES534560     2005   WABSH   1JJV532W95L926520   DURAP     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES534563     2005   WABSH   1JJV532W45L926523   DURAP     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES534565     2005   WABSH   1JJV532W85L926525   DURAP     WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES534567     2005   WABSH   1JJV532W15L926527   DURAP     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES534574     2005   WABSH   1JJV532W95L926534   DURAP     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534575     2005   WABSH   1JJV532W05L926535   DURAP     IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES534579     2005   WABSH   1JJV532W85L926539   DURAP     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES534580     2005   WABSH   1JJV532W45L926540   DURAP     GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES534584     2005   WABSH   1JJV532W15L926544   DURAP     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534585     2005   WABSH   1JJV532W35L926545   DURAP     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534586     2005   WABSH   1JJV532W55L926546   DURAP     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES534591     2005   WABSH   1JJV532W95L926551   DURAP     WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES534594     2005   WABSH   1JJV532W45L926554   DURAP     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534595     2005   WABSH   1JJV532W65L926555   DURAP     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534597     2005   WABSH   1JJV532WX5L926557   DURAP     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES534602     2005   WABSH   1JJV532W15L931131   DURAP     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES534608     2005   WABSH   1JJV532W25L931137   DURAP     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534609     2005   WABSH   1JJV532W45L931138   DURAP     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES534613     2005   WABSH   1JJV532W65L931142   DURAP     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534620     2005   WABSH   1JJV532W95L931149   DURAP     TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES534621     2005   WABSH   1JJV532W55L931150   DURAP     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES534622     2005   WABSH   1JJV532W75L931151   DURAP     IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES534624     2005   WABSH   1JJV532W05L931153   DURAP     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES534625     2005   WABSH   1JJV532W25L931154   DURAP     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES534627     2005   WABSH   1JJV532W65L931156   DURAP     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES534628     2005   WABSH   1JJV532W85L931157   DURAP     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534629     2005   WABSH   1JJV532WX5L931158   DURAP     GA      Ellenwood
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 123 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES534631     2005   WABSH   1JJV532W85L931160   DURAP     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534632     2005   WABSH   1JJV532WX5L931161   DURAP     Ontario   Mississauga
 HMES     ROAD TRAILER     RTL‐TA   HMES534635     2005   WABSH   1JJV532W55L931164   DURAP     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534637     2005   WABSH   1JJV532W95L931166   DURAP     PA        McKees Rocks
 HMES     ROAD TRAILER     RTL‐TA   HMES534639     2005   WABSH   1JJV532W25L931168   DURAP     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES534643     2005   WABSH   1JJV532W45L931172   DURAP     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES534646     2005   WABSH   1JJV532WX5L931175   DURAP     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES534647     2005   WABSH   1JJV532W15L931176   DURAP     KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES534648     2005   WABSH   1JJV532W35L931177   DURAP     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES534649     2005   WABSH   1JJV532W55L931178   DURAP     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534651     2005   WABSH   1JJV532W35L931180   DURAP     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES534652     2005   WABSH   1JJV532W55L931181   DURAP     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES534657     2005   WABSH   1JJV532W45L931186   DURAP     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES534661     2005   WABSH   1JJV532W65L931190   DURAP     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES534664     2005   WABSH   1JJV532W15L931193   DURAP     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534668     2005   WABSH   1JJV532W95L931197   DURAP     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES534669     2005   WABSH   1JJV532W05L931198   DURAP     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES534670     2005   WABSH   1JJV532W25L931199   DURAP     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES534700     2014   STGHT   1DW1A5322EB494900   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534701     2014   STGHT   1DW1A5324EB494901   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534702     2014   STGHT   1DW1A5326EB494902   ZGPVW     NY        Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534703     2014   STGHT   1DW1A5328EB494903   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534704     2014   STGHT   1DW1A532XEB494904   ZGPVW     IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES534705     2014   STGHT   1DW1A5321EB494905   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES534706     2014   STGHT   1DW1A5323EB494906   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES534707     2014   STGHT   1DW1A5325EB494907   ZGPVW     IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES534708     2014   STGHT   1DW1A5327EB494908   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES534709     2014   STGHT   1DW1A5329EB494909   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES534710     2014   STGHT   1DW1A5325EB494910   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES534711     2014   STGHT   1DW1A5327EB494911   ZGPVW     TX        Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES534712     2014   STGHT   1DW1A5329EB494912   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES534713     2014   STGHT   1DW1A5320EB494913   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534714     2014   STGHT   1DW1A5322EB494914   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES534715     2014   STGHT   1DW1A5324EB494915   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES534716     2014   STGHT   1DW1A5326EB494916   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES534717     2014   STGHT   1DW1A5328EB494917   ZGPVW     AL        Mobile
 HMES     ROAD TRAILER     RTL‐TA   HMES534718     2014   STGHT   1DW1A532XEB494918   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES534719     2014   STGHT   1DW1A5321EB494919   ZGPVW     NY        Elmira
 HMES     ROAD TRAILER     RTL‐TA   HMES534720     2014   STGHT   1DW1A5328EB494920   ZGPVW     MO        Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES534721     2014   STGHT   1DW1A532XEB494921   ZGPVW     TX        Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES534722     2014   STGHT   1DW1A5321EB494922   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES534723     2014   STGHT   1DW1A5323EB494923   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES534724     2014   STGHT   1DW1A5325EB494924   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES534725     2014   STGHT   1DW1A5327EB494925   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534726     2014   STGHT   1DW1A5329EB494926   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES534727     2014   STGHT   1DW1A5320EB494927   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES534728     2014   STGHT   1DW1A5322EB494928   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES534729     2014   STGHT   1DW1A5324EB494929   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES534730     2014   STGHT   1DW1A5320EB494930   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES534731     2014   STGHT   1DW1A5322EB494931   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534732     2014   STGHT   1DW1A5324EB494932   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534733     2014   STGHT   1DW1A5326EB494933   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES534734     2014   STGHT   1DW1A5328EB494934   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534735     2014   STGHT   1DW1A532XEB494935   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534736     2014   STGHT   1DW1A5321EB494936   ZGPVW     MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES534737     2014   STGHT   1DW1A5323EB494937   ZGPVW     TX        Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES534738     2014   STGHT   1DW1A5325EB494938   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES534739     2014   STGHT   1DW1A5327EB494939   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES534740     2014   STGHT   1DW1A5323EB494940   ZGPVW     IA        Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES534741     2014   STGHT   1DW1A5325EB494941   ZGPVW     MS        Richland
 HMES     ROAD TRAILER     RTL‐TA   HMES534742     2014   STGHT   1DW1A5327EB494942   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534743     2014   STGHT   1DW1A5329EB494943   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES534744     2014   STGHT   1DW1A5320EB494944   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES534745     2014   STGHT   1DW1A5322EB494945   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534746     2014   STGHT   1DW1A5324EB494946   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534747     2014   STGHT   1DW1A5326EB494947   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES534748     2014   STGHT   1DW1A5328EB494948   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES534749     2014   STGHT   1DW1A532XEB494949   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534750     2014   STGHT   1DW1A5326EB494950   ZGPVW     SC        Piedmont
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 124 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES534751     2014   STGHT   1DW1A5328EB494951   ZGPVW     TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES534752     2014   STGHT   1DW1A532XEB494952   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534753     2014   STGHT   1DW1A5321EB494953   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES534754     2014   STGHT   1DW1A5323EB494954   ZGPVW     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES534755     2014   STGHT   1DW1A5325EB494955   ZGPVW     WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES534756     2014   STGHT   1DW1A5327EB494956   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES534757     2014   STGHT   1DW1A5329EB494957   ZGPVW     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES534758     2014   STGHT   1DW1A5320EB494958   ZGPVW     IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES534759     2014   STGHT   1DW1A5322EB494959   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES534760     2014   STGHT   1DW1A5329EB494960   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534761     2014   STGHT   1DW1A5320EB494961   ZGPVW     NJ      Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES534762     2014   STGHT   1DW1A5322EB494962   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534763     2014   STGHT   1DW1A5324EB494963   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES534764     2014   STGHT   1DW1A5326EB494964   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534765     2014   STGHT   1DW1A5328EB494965   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES534766     2014   STGHT   1DW1A532XEB494966   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES534767     2014   STGHT   1DW1A5321EB494967   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534768     2014   STGHT   1DW1A5323EB494968   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES534769     2014   STGHT   1DW1A5325EB494969   ZGPVW     MO      Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES534770     2014   STGHT   1DW1A5321EB494970   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES534771     2014   STGHT   1DW1A5323EB494971   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534772     2014   STGHT   1DW1A5325EB494972   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES534773     2014   STGHT   1DW1A5327EB494973   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES534774     2014   STGHT   1DW1A5329EB494974   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534775     2014   STGHT   1DW1A5320EB494975   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES534776     2014   STGHT   1DW1A5322EB494976   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES534777     2014   STGHT   1DW1A5324EB494977   ZGPVW     PA      Dunmore
 HMES     ROAD TRAILER     RTL‐TA   HMES534778     2014   STGHT   1DW1A5326EB494978   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534779     2014   STGHT   1DW1A5328EB494979   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534780     2014   STGHT   1DW1A5324EB494980   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES534781     2014   STGHT   1DW1A5326EB494981   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES534782     2014   STGHT   1DW1A5328EB494982   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES534783     2014   STGHT   1DW1A532XEB494983   ZGPVW     IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES534784     2014   STGHT   1DW1A5321EB494984   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES534785     2014   STGHT   1DW1A5323EB494985   ZGPVW     WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES534786     2014   STGHT   1DW1A5325EB494986   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES534787     2014   STGHT   1DW1A5327EB494987   ZGPVW     IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES534788     2014   STGHT   1DW1A5329EB494988   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES534789     2014   STGHT   1DW1A5320EB494989   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES534790     2014   STGHT   1DW1A5327EB494990   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534791     2014   STGHT   1DW1A5329EB494991   ZGPVW     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES534792     2014   STGHT   1DW1A5320EB494992   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES534793     2014   STGHT   1DW1A5322EB494993   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES534794     2014   STGHT   1DW1A5324EB494994   ZGPVW     FL      Boynton Beach
 HMES     ROAD TRAILER     RTL‐TA   HMES534795     2014   STGHT   1DW1A5326EB494995   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534796     2014   STGHT   1DW1A5328EB494996   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES534797     2014   STGHT   1DW1A532XEB494997   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES534798     2014   STGHT   1DW1A5321EB494998   ZGPVW     PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES534799     2014   STGHT   1DW1A5323EB494999   ZGPVW     WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES534800     2014   STGHT   1DW1A5324EB495000   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534801     2014   STGHT   1DW1A5326EB495001   ZGPVW     IL      Quincy
 HMES     ROAD TRAILER     RTL‐TA   HMES534802     2014   STGHT   1DW1A5328EB495002   ZGPVW     MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES534803     2014   STGHT   1DW1A532XEB495003   ZGPVW     IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES534804     2014   STGHT   1DW1A5321EB495004   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534805     2014   STGHT   1DW1A5323EB495005   ZGPVW     IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES534806     2014   STGHT   1DW1A5325EB495006   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES534807     2014   STGHT   1DW1A5327EB495007   ZGPVW     VA      Roanoke
 HMES     ROAD TRAILER     RTL‐TA   HMES534808     2014   STGHT   1DW1A5329EB495008   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES534809     2014   STGHT   1DW1A5320EB495009   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534810     2014   STGHT   1DW1A5327EB495010   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES534811     2014   STGHT   1DW1A5329EB495011   ZGPVW     KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES534812     2014   STGHT   1DW1A5320EB495012   ZGPVW     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES534813     2014   STGHT   1DW1A5322EB495013   ZGPVW     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES534814     2014   STGHT   1DW1A5324EB495014   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534815     2014   STGHT   1DW1A5326EB495015   ZGPVW     IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES534816     2014   STGHT   1DW1A5328EB495016   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534817     2014   STGHT   1DW1A532XEB495017   ZGPVW     PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES534818     2014   STGHT   1DW1A5321EB495018   ZGPVW     OH      Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534819     2014   STGHT   1DW1A5323EB495019   ZGPVW     IL      Atlanta
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 125 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES534820     2014   STGHT   1DW1A532XEB495020   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES534821     2014   STGHT   1DW1A5321EB495021   ZGPVW     GA        Macon
 HMES     ROAD TRAILER     RTL‐TA   HMES534822     2014   STGHT   1DW1A5323EB495022   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534823     2014   STGHT   1DW1A5325EB495023   ZGPVW     TX        Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES534824     2014   STGHT   1DW1A5327EB495024   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES534825     2014   STGHT   1DW1A5329EB495025   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534826     2014   STGHT   1DW1A5320EB495026   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES534827     2014   STGHT   1DW1A5322EB495027   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES534828     2014   STGHT   1DW1A5324EB495028   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES534829     2014   STGHT   1DW1A5326EB495029   ZGPVW     TX        Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES534830     2014   STGHT   1DW1A5322EB495030   ZGPVW     NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534831     2014   STGHT   1DW1A5324EB495031   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES534832     2014   STGHT   1DW1A5326EB495032   ZGPVW     TN        Kingsport
 HMES     ROAD TRAILER     RTL‐TA   HMES534833     2014   STGHT   1DW1A5328EB495033   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES534834     2014   STGHT   1DW1A532XEB495034   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534835     2014   STGHT   1DW1A5321EB495035   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES534836     2014   STGHT   1DW1A5323EB495036   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES534837     2014   STGHT   1DW1A5325EB495037   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES534838     2014   STGHT   1DW1A5327EB495038   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES534839     2014   STGHT   1DW1A5329EB495039   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534840     2014   STGHT   1DW1A5325EB495040   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES534841     2014   STGHT   1DW1A5327EB495041   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534842     2014   STGHT   1DW1A5329EB495042   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES534843     2014   STGHT   1DW1A5320EB495043   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534844     2014   STGHT   1DW1A5322EB495044   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES534845     2014   STGHT   1DW1A5324EB495045   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES534846     2014   STGHT   1DW1A5326EB495046   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES534847     2014   STGHT   1DW1A5328EB495047   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES534848     2014   STGHT   1DW1A532XEB495048   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534849     2014   STGHT   1DW1A5321EB495049   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534850     2014   STGHT   1DW1A5328EB495050   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534851     2014   STGHT   1DW1A532XEB495051   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES534852     2014   STGHT   1DW1A5321EB495052   ZGPVW     NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534853     2014   STGHT   1DW1A5323EB495053   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES534854     2014   STGHT   1DW1A5325EB495054   ZGPVW     IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES534855     2014   STGHT   1DW1A5327EB495055   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES534856     2014   STGHT   1DW1A5329EB495056   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES534857     2014   STGHT   1DW1A5320EB495057   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES534858     2014   STGHT   1DW1A5322EB495058   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES534859     2014   STGHT   1DW1A5324EB495059   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES534860     2014   STGHT   1DW1A5320EB495060   ZGPVW     MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES534861     2014   STGHT   1DW1A5322EB495061   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES534862     2014   STGHT   1DW1A5324EB495062   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES534863     2014   STGHT   1DW1A5326EB495063   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES534864     2014   STGHT   1DW1A5328EB495064   ZGPVW     MO        Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES534865     2014   STGHT   1DW1A532XEB495065   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES534866     2014   STGHT   1DW1A5321EB495066   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES534867     2014   STGHT   1DW1A5323EB495067   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES534868     2014   STGHT   1DW1A5325EB495068   ZGPVW     NY        Elmira
 HMES     ROAD TRAILER     RTL‐TA   HMES534869     2014   STGHT   1DW1A5327EB495069   ZGPVW     WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES534870     2014   STGHT   1DW1A5323EB495070   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES534871     2014   STGHT   1DW1A5325EB495071   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES534872     2014   STGHT   1DW1A5327EB495072   ZGPVW     GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES534873     2014   STGHT   1DW1A5329EB495073   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES534874     2014   STGHT   1DW1A5320EB495074   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES534875     2014   STGHT   1DW1A5322EB495075   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES534877     2014   STGHT   1DW1A5326EB495077   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534878     2014   STGHT   1DW1A5328EB495078   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES534879     2014   STGHT   1DW1A532XEB495079   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES534880     2014   STGHT   1DW1A5326EB495080   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES534881     2014   STGHT   1DW1A5328EB495081   ZGPVW     MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES534882     2014   STGHT   1DW1A532XEB495082   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES534883     2014   STGHT   1DW1A5321EB495083   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES534884     2014   STGHT   1DW1A5323EB495084   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES534885     2014   STGHT   1DW1A5325EB495085   ZGPVW     NJ        Cinnaminson
 HMES     ROAD TRAILER     RTL‐TA   HMES534886     2014   STGHT   1DW1A5327EB495086   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES534887     2014   STGHT   1DW1A5329EB495087   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES534888     2014   STGHT   1DW1A5320EB495088   ZGPVW     WI        Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES534889     2014   STGHT   1DW1A5322EB495089   ZGPVW     IN        Indianapolis
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 126 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES534890     2014   STGHT   1DW1A5329EB495090   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES534891     2014   STGHT   1DW1A5320EB495091   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES534892     2014   STGHT   1DW1A5322EB495092   ZGPVW     KS        Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES534894     2014   STGHT   1DW1A5326EB495094   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES534895     2014   STGHT   1DW1A5328EB495095   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES534896     2014   STGHT   1DW1A532XEB495096   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES534897     2014   STGHT   1DW1A5321EB495097   ZGPVW     WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES534898     2014   STGHT   1DW1A5323EB495098   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES534899     2014   STGHT   1DW1A5325EB495099   ZGPVW     IL        Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES535001     2005   GRTDN   1GRAA062X5D414631   SSL       MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES535002     2005   GRTDN   1GRAA06215D414632   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES535011     2005   GRTDN   1GRAA06225D414641   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES535015     2005   GRTDN   1GRAA062X5D414645   SSL       WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES535021     2005   GRTDN   1GRAA06255D414651   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES535022     2005   GRTDN   1GRAA06275D414652   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES535024     2005   GRTDN   1GRAA06205D414654   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES535027     2005   GRTDN   1GRAA06265D414657   SSL       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES535030     2005   GRTDN   1GRAA06265D414660   SSL       OK        Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES535033     2005   GRTDN   1GRAA06215D414663   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES535034     2005   GRTDN   1GRAA06235D414664   SSL       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES535037     2005   GRTDN   1GRAA06295D414667   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES535038     2005   GRTDN   1GRAA06205D414668   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES535042     2005   GRTDN   1GRAA06225D414672   SSL       NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535054     2005   GRTDN   1GRAA06295D414684   SSL       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES535056     2005   GRTDN   1GRAA06225D414686   SSL       SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES535057     2005   GRTDN   1GRAA06245D414687   SSL       FL        Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES535059     2005   GRTDN   1GRAA06285D414689   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES535060     2005   GRTDN   1GRAA06245D414690   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535066     2005   GRTDN   1GRAA06255D414696   SSL       IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES535068     2005   GRTDN   1GRAA06295D414698   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES535076     2005   GRTDN   1GRAA06245D414706   SSL       Ontario   Mississauga
 HMES     ROAD TRAILER     RTL‐TA   HMES535084     2005   GRTDN   1GRAA06235D414714   SSL       IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES535091     2005   GRTDN   1GRAA06205D414721   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES535095     2005   GRTDN   1GRAA06285D414725   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES535097     2005   GRTDN   1GRAA06215D414727   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES535098     2005   GRTDN   1GRAA06235D414728   SSL       MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES535100     2005   GRTDN   1GRAA06215D414730   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES535101     2005   GRTDN   1GRAA06275J610401   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES535103     2005   GRTDN   1GRAA06205J610403   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES535104     2005   GRTDN   1GRAA06225J610404   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES535107     2005   GRTDN   1GRAA06285J610407   SSL       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES535111     2005   GRTDN   1GRAA062X5J610411   SSL       MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES535112     2005   GRTDN   1GRAA06215J610412   SSL       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES535114     2005   GRTDN   1GRAA06255J610414   SSL       TX        Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES535115     2005   GRTDN   1GRAA06275J610415   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES535116     2005   GRTDN   1GRAA06295J610416   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535118     2005   GRTDN   1GRAA06225J610418   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535121     2005   GRTDN   1GRAA06225J610421   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES535122     2005   GRTDN   1GRAA06245J610422   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES535124     2005   GRTDN   1GRAA06285J610424   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES535127     2005   GRTDN   1GRAA06235J610427   SSL       TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES535129     2005   GRTDN   1GRAA06275J610429   SSL       CA        Tracy
 HMES     ROAD TRAILER     RTL‐TA   HMES535130     2005   GRTDN   1GRAA06235J610430   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES535132     2005   GRTDN   1GRAA06275J610432   SSL       MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES535133     2005   GRTDN   1GRAA06295J610433   SSL       CA        Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES535135     2005   GRTDN   1GRAA06225J610435   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES535136     2005   GRTDN   1GRAA06245J610436   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES535137     2005   GRTDN   1GRAA06265J610437   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES535141     2005   GRTDN   1GRAA06285J610441   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES535143     2005   GRTDN   1GRAA06215J610443   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES535144     2005   GRTDN   1GRAA06235J610444   SSL       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES535147     2005   GRTDN   1GRAA06295J610447   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES535148     2005   GRTDN   1GRAA06205J610448   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES535149     2005   GRTDN   1GRAA06225J610449   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES535151     2005   GRTDN   1GRAA06205J610451   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES535152     2005   GRTDN   1GRAA06225J610452   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535153     2005   GRTDN   1GRAA06245J610453   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES535154     2005   GRTDN   1GRAA06265J610454   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES535155     2005   GRTDN   1GRAA06285J610455   SSL       OH        Richfield
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 127 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES535156     2005   GRTDN   1GRAA062X5J610456   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES535158     2005   GRTDN   1GRAA06235J610458   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES535163     2005   GRTDN   1GRAA06275J610463   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES535164     2005   GRTDN   1GRAA06295J610464   SSL       CO      Henderson
 HMES     ROAD TRAILER     RTL‐TA   HMES535165     2005   GRTDN   1GRAA06205J610465   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES535166     2005   GRTDN   1GRAA06225J610466   SSL       GA      Martinez
 HMES     ROAD TRAILER     RTL‐TA   HMES535170     2005   GRTDN   1GRAA06245J610470   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES535171     2005   GRTDN   1GRAA06265J610471   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES535172     2005   GRTDN   1GRAA06285J610472   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES535173     2005   GRTDN   1GRAA062X5J610473   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES535174     2005   GRTDN   1GRAA06215J610474   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES535176     2005   GRTDN   1GRAA06255J610476   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES535178     2005   GRTDN   1GRAA06295J610478   SSL       MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES535181     2005   GRTDN   1GRAA06295J610481   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES535184     2005   GRTDN   1GRAA06245J610484   SSL       IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES535185     2005   GRTDN   1GRAA06265J610485   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES535187     2005   GRTDN   1GRAA062X5J610487   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES535188     2005   GRTDN   1GRAA06215J610488   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES535189     2005   GRTDN   1GRAA06235J610489   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES535190     2005   GRTDN   1GRAA062X5J610490   SSL       PA      Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES535192     2005   GRTDN   1GRAA06235J610492   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES535195     2005   GRTDN   1GRAA06295J610495   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES535197     2005   GRTDN   1GRAA06225J610497   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES535198     2005   GRTDN   1GRAA06245J610498   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES535201     2005   GRTDN   1GRAA06205J610501   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES535203     2005   GRTDN   1GRAA06245J610503   SSL       NY      Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES535205     2005   GRTDN   1GRAA06285J610505   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES535208     2005   GRTDN   1GRAA06235J610508   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES535209     2005   GRTDN   1GRAA06255J610509   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES535212     2005   GRTDN   1GRAA06255J610512   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES535213     2005   GRTDN   1GRAA06275J610513   SSL       MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES535214     2005   GRTDN   1GRAA06295J610514   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES535217     2005   GRTDN   1GRAA06245J610517   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES535218     2005   GRTDN   1GRAA06265J610518   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES535219     2005   GRTDN   1GRAA06285J610519   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES535221     2005   GRTDN   1GRAA06265J610521   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES535224     2005   GRTDN   1GRAA06215J610524   SSL       MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES535226     2005   GRTDN   1GRAA06255J610526   SSL       MN      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES535227     2005   GRTDN   1GRAA06275J610527   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES535238     2005   GRTDN   1GRAA06215J610538   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES535247     2005   GRTDN   1GRAA06225J610547   SSL       PA      Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES535248     2005   GRTDN   1GRAA06245J610548   SSL       NJ      South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES535253     2005   GRTDN   1GRAA06285J610553   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES535255     2005   GRTDN   1GRAA06215J610555   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535256     2005   GRTDN   1GRAA06235J610556   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES535257     2005   GRTDN   1GRAA06255J610557   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES535262     2005   GRTDN   1GRAA06295J610562   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES535264     2005   GRTDN   1GRAA06225J610564   SSL       CA      Tracy
 HMES     ROAD TRAILER     RTL‐TA   HMES535265     2005   GRTDN   1GRAA06245J610565   SSL       NJ      South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES535268     2005   GRTDN   1GRAA062X5J610568   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES535269     2005   GRTDN   1GRAA06215J610569   SSL       OH      Copley
 HMES     ROAD TRAILER     RTL‐TA   HMES535271     2005   GRTDN   1GRAA062X5J610571   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535272     2005   GRTDN   1GRAA06215J610572   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES535274     2005   GRTDN   1GRAA06255J610574   SSL       PA      Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES535280     2005   GRTDN   1GRAA06205J610580   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES535282     2005   GRTDN   1GRAA06245J610582   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES535285     2005   GRTDN   1GRAA062X5J610585   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES535286     2005   GRTDN   1GRAA06215J610586   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES535287     2005   GRTDN   1GRAA06235J610587   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES535288     2005   GRTDN   1GRAA06255J610588   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES535291     2005   GRTDN   1GRAA06255J610591   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES535292     2005   GRTDN   1GRAA06275J610592   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES535293     2005   GRTDN   1GRAA06295J610593   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES535294     2005   GRTDN   1GRAA06205J610594   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535297     2005   GRTDN   1GRAA06265J610597   SSL       SC      Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES535298     2005   GRTDN   1GRAA06285J610598   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES535300     2005   GRTDN   1GRAA06225J610600   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES535301     2005   GRTDN   1GRAA06245J610601   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES535303     2005   GRTDN   1GRAA06285J610603   SSL       OH      Dayton
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 128 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES535305     2005   GRTDN   1GRAA06215J610605   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES535306     2005   GRTDN   1GRAA06235J610606   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES535307     2005   GRTDN   1GRAA06255J610607   SSL       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES535314     2005   GRTDN   1GRAA06225J610614   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535316     2005   GRTDN   1GRAA06265J610616   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES535320     2005   GRTDN   1GRAA06285J610620   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES535322     2005   GRTDN   1GRAA06215J610622   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES535326     2005   GRTDN   1GRAA06295J610626   SSL       TX      Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES535327     2005   GRTDN   1GRAA06205J610627   SSL       PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES535329     2005   GRTDN   1GRAA06245J610629   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES535332     2005   GRTDN   1GRAA06245J610632   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES535333     2005   GRTDN   1GRAA06265J610633   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES535339     2005   GRTDN   1GRAA06275J610639   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES535341     2005   GRTDN   1GRAA06255J610641   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES535346     2005   GRTDN   1GRAA06245J610646   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES535347     2005   GRTDN   1GRAA06265J610647   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES535348     2005   GRTDN   1GRAA06285J610648   SSL       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES535349     2005   GRTDN   1GRAA062X5J610649   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536001     2006   GRTDN   1GRAA062X6D414131   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536002     2006   GRTDN   1GRAA06216D414132   SSL       FL      Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES536007     2006   GRTDN   1GRAA06206D414137   SSL       TN      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES536008     2006   GRTDN   1GRAA06226D414138   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES536010     2006   GRTDN   1GRAA06206D414140   SSL       MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES536011     2006   GRTDN   1GRAA06226D414141   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536012     2006   GRTDN   1GRAA06246D414142   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536013     2006   GRTDN   1GRAA06266D414143   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536014     2006   GRTDN   1GRAA06286D414144   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536018     2006   GRTDN   1GRAA06256D414148   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES536021     2006   GRTDN   1GRAA06256D414151   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536022     2006   GRTDN   1GRAA06276D414152   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES536025     2006   GRTDN   1GRAA06226D414155   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536026     2006   GRTDN   1GRAA06246D414156   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536028     2006   GRTDN   1GRAA06286D414158   SSL       TX      Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES536029     2006   GRTDN   1GRAA062X6D414159   SSL       MN      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES536031     2006   GRTDN   1GRAA06286D414161   SSL       TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES536032     2006   GRTDN   1GRAA062X6D414162   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536036     2006   GRTDN   1GRAA06276D414166   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536038     2006   GRTDN   1GRAA06206D414168   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536039     2006   GRTDN   1GRAA06226D414169   SSL       VA      Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES536040     2006   GRTDN   1GRAA06296D414170   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536042     2006   GRTDN   1GRAA06226D414172   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536043     2006   GRTDN   1GRAA06246D414173   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536044     2006   GRTDN   1GRAA06266D414174   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES536045     2006   GRTDN   1GRAA06286D414175   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536046     2006   GRTDN   1GRAA062X6D414176   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536047     2006   GRTDN   1GRAA06216D414177   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536048     2006   GRTDN   1GRAA06236D414178   SSL       MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES536050     2006   GRTDN   1GRAA06216D414180   SSL       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536052     2006   GRTDN   1GRAA06256D414182   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536053     2006   GRTDN   1GRAA06276D414183   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536055     2006   GRTDN   1GRAA06206D414185   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES536056     2006   GRTDN   1GRAA06226D414186   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536057     2006   GRTDN   1GRAA06246D414187   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536058     2006   GRTDN   1GRAA06266D414188   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES536059     2006   GRTDN   1GRAA06286D414189   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536060     2006   GRTDN   1GRAA06246D414190   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536061     2006   GRTDN   1GRAA06266D414191   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES536062     2006   GRTDN   1GRAA06286D414192   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536063     2006   GRTDN   1GRAA062X6D414193   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536064     2006   GRTDN   1GRAA06216D414194   SSL       OK      Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES536065     2006   GRTDN   1GRAA06236D414195   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536066     2006   GRTDN   1GRAA06256D414196   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536068     2006   GRTDN   1GRAA06296D414198   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536069     2006   GRTDN   1GRAA06206D414199   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536071     2006   GRTDN   1GRAA06256D414201   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES536072     2006   GRTDN   1GRAA06276D414202   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536073     2006   GRTDN   1GRAA06296D414203   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES536075     2006   GRTDN   1GRAA06226D414205   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536076     2006   GRTDN   1GRAA06246D414206   SSL       NC      Charlotte
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 129 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES536077     2006   GRTDN   1GRAA06266D414207   SSL       CA      Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES536078     2006   GRTDN   1GRAA06286D414208   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536079     2006   GRTDN   1GRAA062X6D414209   SSL       MO      Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES536080     2006   GRTDN   1GRAA06266D414210   SSL       VA      Manassas
 HMES     ROAD TRAILER     RTL‐TA   HMES536082     2006   GRTDN   1GRAA062X6D414212   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536088     2006   GRTDN   1GRAA06206D414218   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536089     2006   GRTDN   1GRAA06226D414219   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536091     2006   GRTDN   1GRAA06206D414221   SSL       VA      Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES536093     2006   GRTDN   1GRAA06246D414223   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES536094     2006   GRTDN   1GRAA06266D414224   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES536095     2006   GRTDN   1GRAA06286D414225   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES536097     2006   GRTDN   1GRAA06216D414227   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES536098     2006   GRTDN   1GRAA06236D414228   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536099     2006   GRTDN   1GRAA06256D414229   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536100     2006   GRTDN   1GRAA06216D414230   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536101     2006   GRTDN   1GRAA06256J612262   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536102     2006   GRTDN   1GRAA06276J612263   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536103     2006   GRTDN   1GRAA06296J612264   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536104     2006   GRTDN   1GRAA06206J612265   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536106     2006   GRTDN   1GRAA06246J612267   SSL       CA      Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES536107     2006   GRTDN   1GRAA06266J612268   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536108     2006   GRTDN   1GRAA06286J612269   SSL       GA      Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES536109     2006   GRTDN   1GRAA06246J612270   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536110     2006   GRTDN   1GRAA06266J612271   SSL       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536111     2006   GRTDN   1GRAA06286J612272   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536112     2006   GRTDN   1GRAA062X6J612273   SSL       TX      Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES536114     2006   GRTDN   1GRAA06236J612275   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES536118     2006   GRTDN   1GRAA06206J612279   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES536119     2006   GRTDN   1GRAA06276J612280   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES536121     2006   GRTDN   1GRAA06206J612282   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536122     2006   GRTDN   1GRAA06226J612283   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES536123     2006   GRTDN   1GRAA06246J612284   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536124     2006   GRTDN   1GRAA06266J612285   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES536125     2006   GRTDN   1GRAA06286J612286   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536126     2006   GRTDN   1GRAA062X6J612287   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536127     2006   GRTDN   1GRAA06216J612288   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536130     2006   GRTDN   1GRAA06216J612291   SSL       MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES536131     2006   GRTDN   1GRAA06236J612292   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536132     2006   GRTDN   1GRAA06256J612293   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536133     2006   GRTDN   1GRAA06276J612294   SSL       MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES536135     2006   GRTDN   1GRAA06206J612296   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536137     2006   GRTDN   1GRAA06246J612298   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536139     2006   GRTDN   1GRAA06296J612300   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536140     2006   GRTDN   1GRAA06206J612301   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES536141     2006   GRTDN   1GRAA06226J612302   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES536142     2006   GRTDN   1GRAA06246J612303   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES536144     2006   GRTDN   1GRAA06286J612305   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES536145     2006   GRTDN   1GRAA062X6J612306   SSL       PA      McKees Rocks
 HMES     ROAD TRAILER     RTL‐TA   HMES536147     2006   GRTDN   1GRAA06236J612308   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536148     2006   GRTDN   1GRAA06256J612309   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536149     2006   GRTDN   1GRAA06216J612310   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536150     2006   GRTDN   1GRAA06236J612311   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536152     2006   GRTDN   1GRAA06276J612313   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536154     2006   GRTDN   1GRAA06206J612315   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536155     2006   GRTDN   1GRAA06226J612316   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES536156     2006   GRTDN   1GRAA06246J612317   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES536157     2006   GRTDN   1GRAA06266J612318   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536158     2006   GRTDN   1GRAA06286J612319   SSL       CA      Tracy
 HMES     ROAD TRAILER     RTL‐TA   HMES536159     2006   GRTDN   1GRAA06246J612320   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536160     2006   GRTDN   1GRAA06266J612321   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES536162     2006   GRTDN   1GRAA062X6J612323   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536163     2006   GRTDN   1GRAA06216J612324   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES536164     2006   GRTDN   1GRAA06236J612325   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536165     2006   GRTDN   1GRAA06256J612326   SSL       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES536166     2006   GRTDN   1GRAA06276J612327   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536167     2006   GRTDN   1GRAA06296J612328   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536169     2006   GRTDN   1GRAA06276J612330   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES536170     2006   GRTDN   1GRAA06296J612331   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536171     2006   GRTDN   1GRAA06206J612332   SSL       IL      Rock Island
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 130 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES536172     2006   GRTDN   1GRAA06226J612333   SSL       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES536174     2006   GRTDN   1GRAA06266J612335   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536176     2006   GRTDN   1GRAA062X6J612337   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536177     2006   GRTDN   1GRAA06216J612338   SSL       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536178     2006   GRTDN   1GRAA06236J612339   SSL       NY      Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES536180     2006   GRTDN   1GRAA06216J612341   SSL       PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES536182     2006   GRTDN   1GRAA06256J612343   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES536183     2006   GRTDN   1GRAA06276J612344   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536184     2006   GRTDN   1GRAA06296J612345   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES536185     2006   GRTDN   1GRAA06206J612346   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536186     2006   GRTDN   1GRAA06226J612347   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536187     2006   GRTDN   1GRAA06246J612348   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536188     2006   GRTDN   1GRAA06266J612349   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES536189     2006   GRTDN   1GRAA06226J612350   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536190     2006   GRTDN   1GRAA06246J612351   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536191     2006   GRTDN   1GRAA06266J612352   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES536192     2006   GRTDN   1GRAA06286J612353   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536194     2006   GRTDN   1GRAA06216J612355   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536197     2006   GRTDN   1GRAA06276J612358   SSL       PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES536198     2006   GRTDN   1GRAA06296J612359   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536199     2006   GRTDN   1GRAA06256J612360   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536202     2006   GRTDN   1GRAA06206J612363   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536203     2006   GRTDN   1GRAA06226J612364   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536204     2006   GRTDN   1GRAA06246J612365   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536205     2006   GRTDN   1GRAA06266J612366   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536206     2006   GRTDN   1GRAA06286J612367   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536207     2006   GRTDN   1GRAA062X6J612368   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536208     2006   GRTDN   1GRAA06216J612369   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES536210     2006   GRTDN   1GRAA062X6J612371   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536211     2006   GRTDN   1GRAA06216J612372   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536213     2006   GRTDN   1GRAA06256J612374   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536214     2006   GRTDN   1GRAA06276J612375   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536218     2006   GRTDN   1GRAA06246J612379   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES536219     2006   GRTDN   1GRAA06206J612380   SSL       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES536220     2006   GRTDN   1GRAA06226J612381   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536225     2006   GRTDN   1GRAA06216J612386   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES536226     2006   GRTDN   1GRAA06236J612387   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES536228     2006   GRTDN   1GRAA06276J612389   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536230     2006   GRTDN   1GRAA06256J612391   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536231     2006   GRTDN   1GRAA06276J612392   SSL       PA      Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES536234     2006   GRTDN   1GRAA06226J612395   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536235     2006   GRTDN   1GRAA06246J612396   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536236     2006   GRTDN   1GRAA06266J612397   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536237     2006   GRTDN   1GRAA06286J612398   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536238     2006   GRTDN   1GRAA062X6J612399   SSL       OH      Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536240     2006   GRTDN   1GRAA06246J612401   SSL       IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES536243     2006   GRTDN   1GRAA062X6J612404   SSL       PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES536245     2006   GRTDN   1GRAA06236J612406   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES536246     2006   GRTDN   1GRAA06256J612407   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536248     2006   GRTDN   1GRAA06296J612409   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536249     2006   GRTDN   1GRAA06256J612410   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536250     2006   GRTDN   1GRAA06276J612411   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES536252     2006   GRTDN   1GRAA06206J612413   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536253     2006   GRTDN   1GRAA06226J612414   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536254     2006   GRTDN   1GRAA06246J612415   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536255     2006   GRTDN   1GRAA06266J612416   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536256     2006   GRTDN   1GRAA06286J612417   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536258     2006   GRTDN   1GRAA06216J612419   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536262     2006   GRTDN   1GRAA06236J612423   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536263     2006   GRTDN   1GRAA06256J612424   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536265     2006   GRTDN   1GRAA06296J612426   SSL       NJ      Kearny
 HMES     ROAD TRAILER     RTL‐TA   HMES536270     2006   GRTDN   1GRAA06226J612431   SSL       IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES536271     2006   GRTDN   1GRAA06246J612432   SSL       AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES536274     2006   GRTDN   1GRAA062X6J612435   SSL       TX      San Antonio
 HMES     ROAD TRAILER     RTL‐TA   HMES536275     2006   GRTDN   1GRAA06216J612436   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536276     2006   GRTDN   1GRAA06236J612437   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536277     2006   GRTDN   1GRAA06256J612438   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536278     2006   GRTDN   1GRAA06276J612439   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536280     2006   GRTDN   1GRAA06256J612441   SSL       MS      Olive Branch
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 131 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES536281     2006   GRTDN   1GRAA06276J612442   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536282     2006   GRTDN   1GRAA06296J612443   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536283     2006   GRTDN   1GRAA06206J612444   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES536284     2006   GRTDN   1GRAA06226J612445   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536285     2006   GRTDN   1GRAA06246J612446   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536286     2006   GRTDN   1GRAA06266J612447   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES536287     2006   GRTDN   1GRAA06286J612448   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536290     2006   GRTDN   1GRAA06286J612451   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536291     2006   GRTDN   1GRAA062X6J612452   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536293     2006   GRTDN   1GRAA06236J612454   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536294     2006   GRTDN   1GRAA06256J612455   SSL       OH      Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536295     2006   GRTDN   1GRAA06276J612456   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536296     2006   GRTDN   1GRAA06296J612457   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536297     2006   GRTDN   1GRAA06206J612458   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536300     2006   GRTDN   1GRAA06206J612461   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536302     2006   GRTDN   1GRAA06246J612463   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536303     2006   GRTDN   1GRAA06266J612464   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536304     2006   GRTDN   1GRAA06286J612465   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536305     2006   GRTDN   1GRAA062X6J612466   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536307     2006   GRTDN   1GRAA06236J612468   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536309     2006   GRTDN   1GRAA06216J612470   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536313     2006   GRTDN   1GRAA06296J612474   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536314     2006   GRTDN   1GRAA06206J612475   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536316     2006   GRTDN   1GRAA06246J612477   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536320     2006   GRTDN   1GRAA06266J612481   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES536322     2006   GRTDN   1GRAA062X6J612483   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536324     2006   GRTDN   1GRAA06236J612485   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536325     2006   GRTDN   1GRAA06256J612486   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536326     2006   GRTDN   1GRAA06276J612487   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES536327     2006   GRTDN   1GRAA06296J612488   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536328     2006   GRTDN   1GRAA06206J612489   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536330     2006   GRTDN   1GRAA06296J612491   SSL       FL      Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES536331     2006   GRTDN   1GRAA06206J612492   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536332     2006   GRTDN   1GRAA06226J612493   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES536333     2006   GRTDN   1GRAA06246J612494   SSL       AZ      Phoenix
 HMES     ROAD TRAILER     RTL‐TA   HMES536336     2006   GRTDN   1GRAA062X6J612497   SSL       MI      Pontiac
 HMES     ROAD TRAILER     RTL‐TA   HMES536337     2006   GRTDN   1GRAA06216J612498   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES536338     2006   GRTDN   1GRAA06236J612499   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536339     2006   GRTDN   1GRAA06266J612500   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES536340     2006   GRTDN   1GRAA06286J612501   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536341     2006   GRTDN   1GRAA062X6J612502   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536343     2006   GRTDN   1GRAA06236J612504   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536345     2006   GRTDN   1GRAA06276J612506   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES536346     2006   GRTDN   1GRAA06296J612507   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536347     2006   GRTDN   1GRAA06206J612508   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536349     2006   GRTDN   1GRAA06296J612510   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536353     2006   GRTDN   1GRAA06266J612514   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536355     2006   GRTDN   1GRAA062X6J612516   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES536356     2006   GRTDN   1GRAA06216J612517   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES536357     2006   GRTDN   1GRAA06236J612518   SSL       FL      Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES536358     2006   GRTDN   1GRAA06256J612519   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536359     2006   GRTDN   1GRAA06216J612520   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES536360     2006   GRTDN   1GRAA06236J612521   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536361     2006   GRTDN   1GRAA06256J612522   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES536362     2006   GRTDN   1GRAA06276J612523   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536364     2006   GRTDN   1GRAA06206J612525   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536365     2006   GRTDN   1GRAA06226J612526   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES536366     2006   GRTDN   1GRAA06246J612527   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536367     2006   GRTDN   1GRAA06266J612528   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536368     2006   GRTDN   1GRAA06286J612529   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536369     2006   GRTDN   1GRAA06246J612530   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536370     2006   GRTDN   1GRAA06266J612531   SSL       MN      Burnsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536371     2006   GRTDN   1GRAA06286J612532   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES536373     2006   GRTDN   1GRAA06216J612534   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536374     2006   GRTDN   1GRAA06236J612535   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536375     2006   GRTDN   1GRAA06256J612536   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536376     2006   GRTDN   1GRAA06276J612537   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES536378     2006   GRTDN   1GRAA06206J612539   SSL       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES536381     2006   GRTDN   1GRAA06206J612542   SSL       IL      Joliet
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 132 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES536382     2006   GRTDN   1GRAA06226J612543   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES536383     2006   GRTDN   1GRAA06246J612544   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536384     2006   GRTDN   1GRAA06266J612545   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536387     2006   GRTDN   1GRAA06216J612548   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536388     2006   GRTDN   1GRAA06236J612549   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536390     2006   GRTDN   1GRAA06216J612551   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES536392     2006   GRTDN   1GRAA06256J612553   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536393     2006   GRTDN   1GRAA06276J612554   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES536395     2006   GRTDN   1GRAA06206J612556   SSL       IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES536396     2006   GRTDN   1GRAA06226J612557   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536397     2006   GRTDN   1GRAA06246J612558   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES536398     2006   GRTDN   1GRAA06266J612559   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES536400     2006   GRTDN   1GRAA06246J612561   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536401     2006   GRTDN   1GRAA06266J612562   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES536402     2006   GRTDN   1GRAA06286J612563   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536403     2006   GRTDN   1GRAA062X6J612564   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536405     2006   GRTDN   1GRAA06236J612566   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES536406     2006   GRTDN   1GRAA06256J612567   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536408     2006   GRTDN   1GRAA06296J612569   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536409     2006   GRTDN   1GRAA06256J612570   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536410     2006   GRTDN   1GRAA06276J612571   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES536411     2006   GRTDN   1GRAA06296J612572   SSL       NJ      Carlstadt
 HMES     ROAD TRAILER     RTL‐TA   HMES536412     2006   GRTDN   1GRAA06206J612573   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536415     2006   GRTDN   1GRAA06266J612576   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536416     2006   GRTDN   1GRAA06286J612577   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536417     2006   GRTDN   1GRAA062X6J612578   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536419     2006   GRTDN   1GRAA06286J612580   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES536422     2006   GRTDN   1GRAA06236J612583   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536423     2006   GRTDN   1GRAA06256J612584   SSL       PA      Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES536425     2006   GRTDN   1GRAA06296J612586   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536427     2006   GRTDN   1GRAA06226J612588   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536429     2006   GRTDN   1GRAA06206J612590   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536431     2006   GRTDN   1GRAA06246J612592   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES536432     2006   GRTDN   1GRAA06266J612593   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES536433     2006   GRTDN   1GRAA06286J612594   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES536435     2006   GRTDN   1GRAA06216J612596   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536436     2006   GRTDN   1GRAA06236J612597   SSL       PA      Dunmore
 HMES     ROAD TRAILER     RTL‐TA   HMES536437     2006   GRTDN   1GRAA06256J612598   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES536438     2006   GRTDN   1GRAA06276J612599   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536439     2006   GRTDN   1GRAA062X6J612600   SSL       NJ      Cinnaminson
 HMES     ROAD TRAILER     RTL‐TA   HMES536442     2006   GRTDN   1GRAA06256J612603   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536443     2006   GRTDN   1GRAA06276J612604   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES536445     2006   GRTDN   1GRAA06206J612606   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536447     2006   GRTDN   1GRAA06246J612608   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES536448     2006   GRTDN   1GRAA06266J612609   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536449     2006   GRTDN   1GRAA06226J612610   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES536451     2006   GRTDN   1GRAA06266J612612   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536452     2006   GRTDN   1GRAA06286J612613   SSL       CA      Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES536453     2006   GRTDN   1GRAA062X6J612614   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES536454     2006   GRTDN   1GRAA06216J612615   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536456     2006   GRTDN   1GRAA06256J612617   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536457     2006   GRTDN   1GRAA06276J612618   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536458     2006   GRTDN   1GRAA06296J612619   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES536459     2006   GRTDN   1GRAA06256J612620   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES536465     2006   GRTDN   1GRAA06266J612626   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536466     2006   GRTDN   1GRAA06286J612627   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES536467     2006   GRTDN   1GRAA062X6J612628   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES536468     2006   GRTDN   1GRAA06216J612629   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536471     2006   GRTDN   1GRAA06216J612632   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536474     2006   GRTDN   1GRAA06276J612635   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536476     2006   GRTDN   1GRAA06206J612637   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES536478     2006   GRTDN   1GRAA06246J612639   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES536480     2006   GRTDN   1GRAA06226J612641   SSL       PA      Reading
 HMES     ROAD TRAILER     RTL‐TA   HMES536481     2006   GRTDN   1GRAA06246J612642   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536482     2006   GRTDN   1GRAA06266J612643   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536484     2006   GRTDN   1GRAA062X6J612645   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536486     2006   GRTDN   1GRAA06236J612647   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536488     2006   GRTDN   1GRAA06276J612649   SSL       OH      Toledo
 HMES     ROAD TRAILER     RTL‐TA   HMES536489     2006   GRTDN   1GRAA06236J612650   SSL       IL      Rockford
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 133 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES536490     2006   GRTDN   1GRAA06256J612651   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536492     2006   GRTDN   1GRAA06296J612653   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536493     2006   GRTDN   1GRAA06206J612654   SSL       NY      Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES536495     2006   GRTDN   1GRAA06246J612656   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536498     2006   GRTDN   1GRAA062X6J612659   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES536501     2006   GRTDN   1GRAA06246J610051   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536502     2006   GRTDN   1GRAA06266J610052   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536503     2006   GRTDN   1GRAA06286J610053   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536506     2006   GRTDN   1GRAA06236J610056   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536507     2006   GRTDN   1GRAA06256J610057   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES536508     2006   GRTDN   1GRAA06276J610058   SSL       VA      Fishersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536510     2006   GRTDN   1GRAA06256J610060   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536511     2006   GRTDN   1GRAA06276J610061   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536512     2006   GRTDN   1GRAA06296J610062   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536513     2006   GRTDN   1GRAA06206J610063   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES536514     2006   GRTDN   1GRAA06226J610064   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536515     2006   GRTDN   1GRAA06246J610065   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536517     2006   GRTDN   1GRAA06286J610067   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536518     2006   GRTDN   1GRAA062X6J610068   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536519     2006   GRTDN   1GRAA06216J610069   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536520     2006   GRTDN   1GRAA06286J610070   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536523     2006   GRTDN   1GRAA06236J610073   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536524     2006   GRTDN   1GRAA06256J610074   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536526     2006   GRTDN   1GRAA06296J610076   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES536527     2006   GRTDN   1GRAA06206J610077   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536529     2006   GRTDN   1GRAA06246J610079   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES536530     2006   GRTDN   1GRAA06206J610080   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES536533     2006   GRTDN   1GRAA06266J610083   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536534     2006   GRTDN   1GRAA06286J610084   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536535     2006   GRTDN   1GRAA062X6J610085   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536537     2006   GRTDN   1GRAA06236J610087   SSL       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES536539     2006   GRTDN   1GRAA06276J610089   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536540     2006   GRTDN   1GRAA06236J610090   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES536541     2006   GRTDN   1GRAA06256J610091   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES536542     2006   GRTDN   1GRAA06276J610092   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536545     2006   GRTDN   1GRAA06226J610095   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536546     2006   GRTDN   1GRAA06246J610096   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES536547     2006   GRTDN   1GRAA06266J610097   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536549     2006   GRTDN   1GRAA062X6J610099   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536550     2006   GRTDN   1GRAA06226J610100   SSL       MI      Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES536552     2006   GRTDN   1GRAA06266J610102   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES536556     2006   GRTDN   1GRAA06236J610106   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536557     2006   GRTDN   1GRAA06256J610107   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536558     2006   GRTDN   1GRAA06276J610108   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536559     2006   GRTDN   1GRAA06296J610109   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536560     2006   GRTDN   1GRAA06256J610110   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES536561     2006   GRTDN   1GRAA06276J610111   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536563     2006   GRTDN   1GRAA06206J610113   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES536564     2006   GRTDN   1GRAA06226J610114   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536565     2006   GRTDN   1GRAA06246J610115   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536566     2006   GRTDN   1GRAA06266J610116   SSL       MO      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES536567     2006   GRTDN   1GRAA06286J610117   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536568     2006   GRTDN   1GRAA062X6J610118   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536569     2006   GRTDN   1GRAA06216J610119   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536570     2006   GRTDN   1GRAA06286J610120   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536571     2006   GRTDN   1GRAA062X6J610121   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536572     2006   GRTDN   1GRAA06216J610122   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES536573     2006   GRTDN   1GRAA06236J610123   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536574     2006   GRTDN   1GRAA06256J610124   SSL       NJ      South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES536576     2006   GRTDN   1GRAA06296J610126   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536578     2006   GRTDN   1GRAA06226J610128   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536580     2006   GRTDN   1GRAA06206J610130   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536581     2006   GRTDN   1GRAA06226J610131   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536582     2006   GRTDN   1GRAA06246J610132   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES536583     2006   GRTDN   1GRAA06266J610133   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES536585     2006   GRTDN   1GRAA062X6J610135   SSL       PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES536586     2006   GRTDN   1GRAA06216J610136   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES536588     2006   GRTDN   1GRAA06256J610138   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536589     2006   GRTDN   1GRAA06276J610139   SSL       OH      Akron
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 134 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES536590     2006   GRTDN   1GRAA06236J610140   SSL       OH        Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES536591     2006   GRTDN   1GRAA06256J610141   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536592     2006   GRTDN   1GRAA06276J610142   SSL       MO        Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES536593     2006   GRTDN   1GRAA06296J610143   SSL       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES536594     2006   GRTDN   1GRAA06206J610144   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES536595     2006   GRTDN   1GRAA06226J610145   SSL       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536596     2006   GRTDN   1GRAA06246J610146   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536597     2006   GRTDN   1GRAA06266J610147   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES536598     2006   GRTDN   1GRAA06286J610148   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES536601     2006   GRTDN   1GRAA06286J610151   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536602     2006   GRTDN   1GRAA062X6J610152   SSL       WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES536605     2006   GRTDN   1GRAA06256J610155   SSL       PA        Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES536606     2006   GRTDN   1GRAA06276J610156   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536607     2006   GRTDN   1GRAA06296J610157   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES536608     2006   GRTDN   1GRAA06206J610158   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES536610     2006   GRTDN   1GRAA06296J610160   SSL       PA        Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES536612     2006   GRTDN   1GRAA06226J610162   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536613     2006   GRTDN   1GRAA06246J610163   SSL       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536618     2006   GRTDN   1GRAA06236J610168   SSL       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536620     2006   GRTDN   1GRAA06216J610170   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536621     2006   GRTDN   1GRAA06236J610171   SSL       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536622     2006   GRTDN   1GRAA06256J610172   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536623     2006   GRTDN   1GRAA06276J610173   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES536625     2006   GRTDN   1GRAA06206J610175   SSL       MO        Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES536627     2006   GRTDN   1GRAA06246J610177   SSL       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536631     2006   GRTDN   1GRAA06266J610181   SSL       SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES536632     2006   GRTDN   1GRAA06286J610182   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536634     2006   GRTDN   1GRAA06216J610184   SSL       TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536638     2006   GRTDN   1GRAA06296J610188   SSL       PA        Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES536640     2006   GRTDN   1GRAA06276J610190   SSL       NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES536641     2006   GRTDN   1GRAA06296J610191   SSL       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536642     2006   GRTDN   1GRAA06206J610192   SSL       OK        Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES536648     2006   GRTDN   1GRAA06216J610198   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536650     2006   GRTDN   1GRAA06266J610200   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES536652     2006   GRTDN   1GRAA062X6J610202   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536653     2006   GRTDN   1GRAA06216J610203   SSL       NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES536654     2006   GRTDN   1GRAA06236J610204   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536656     2006   GRTDN   1GRAA06276J610206   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES536658     2006   GRTDN   1GRAA06206J610208   SSL       IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES536659     2006   GRTDN   1GRAA06226J610209   SSL       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536660     2006   GRTDN   1GRAA06296J610210   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536661     2006   GRTDN   1GRAA06206J610211   SSL       KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES536662     2006   GRTDN   1GRAA06226J610212   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536666     2006   GRTDN   1GRAA062X6J610216   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES536668     2006   GRTDN   1GRAA06236J610218   SSL       GA        Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES536669     2006   GRTDN   1GRAA06256J610219   SSL       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536670     2006   GRTDN   1GRAA06216J610220   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536671     2006   GRTDN   1GRAA06236J610221   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES536673     2006   GRTDN   1GRAA06276J610223   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536674     2006   GRTDN   1GRAA06296J610224   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536676     2006   GRTDN   1GRAA06226J610226   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536677     2006   GRTDN   1GRAA06246J610227   SSL       TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536678     2006   GRTDN   1GRAA06266J610228   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536679     2006   GRTDN   1GRAA06286J610229   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536680     2006   GRTDN   1GRAA06246J610230   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536681     2006   GRTDN   1GRAA06266J610231   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536682     2006   GRTDN   1GRAA06286J610232   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536683     2006   GRTDN   1GRAA062X6J610233   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536685     2006   GRTDN   1GRAA06236J610235   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536687     2006   GRTDN   1GRAA06276J610237   SSL       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536688     2006   GRTDN   1GRAA06296J610238   SSL       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES536691     2006   GRTDN   1GRAA06296J610241   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536692     2006   GRTDN   1GRAA06206J610242   SSL       Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES536693     2006   GRTDN   1GRAA06226J610243   SSL       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES536694     2006   GRTDN   1GRAA06246J610244   SSL       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536695     2006   GRTDN   1GRAA06266J610245   SSL       MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES536696     2006   GRTDN   1GRAA06286J610246   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536697     2006   GRTDN   1GRAA062X6J610247   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES536698     2006   GRTDN   1GRAA06216J610248   SSL       SC        West Columbia
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 135 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES536699     2006   GRTDN   1GRAA06236J610249   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536700     2006   GRTDN   1GRAA062X6J610250   SSL       DE        New Castle
 HMES     ROAD TRAILER     RTL‐TA   HMES536701     2006   GRTDN   1GRAA06216J610251   SSL       GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES536702     2006   GRTDN   1GRAA06236J610252   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536703     2006   GRTDN   1GRAA06256J610253   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536705     2006   GRTDN   1GRAA06296J610255   SSL       NY        Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES536706     2006   GRTDN   1GRAA06206J610256   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536707     2006   GRTDN   1GRAA06226J610257   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536709     2006   GRTDN   1GRAA06266J610259   SSL       PA        Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536710     2006   GRTDN   1GRAA06226J610260   SSL       KY        Paducah
 HMES     ROAD TRAILER     RTL‐TA   HMES536713     2006   GRTDN   1GRAA06286J610263   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536714     2006   GRTDN   1GRAA062X6J610264   SSL       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES536716     2006   GRTDN   1GRAA06236J610266   SSL       PA        Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536718     2006   GRTDN   1GRAA06276J610268   SSL       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536719     2006   GRTDN   1GRAA06296J610269   SSL       IA        Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES536721     2006   GRTDN   1GRAA06276J610271   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536722     2006   GRTDN   1GRAA06296J610272   SSL       Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES536723     2006   GRTDN   1GRAA06206J610273   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES536725     2006   GRTDN   1GRAA06246J610275   SSL       OH        Toledo
 HMES     ROAD TRAILER     RTL‐TA   HMES536726     2006   GRTDN   1GRAA06266J610276   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536727     2006   GRTDN   1GRAA06286J610277   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES536728     2006   GRTDN   1GRAA062X6J610278   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536730     2006   GRTDN   1GRAA06286J610280   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES536731     2006   GRTDN   1GRAA062X6J610281   SSL       IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES536732     2006   GRTDN   1GRAA06216J610282   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536733     2006   GRTDN   1GRAA06236J610283   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536735     2006   GRTDN   1GRAA06276J610285   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES536737     2006   GRTDN   1GRAA06206J610287   SSL       MN        Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES536739     2006   GRTDN   1GRAA06246J610289   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES536741     2006   GRTDN   1GRAA06226J610291   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536743     2006   GRTDN   1GRAA06266J610293   SSL       PA        Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536746     2006   GRTDN   1GRAA06216J610296   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536747     2006   GRTDN   1GRAA06236J610297   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536749     2006   GRTDN   1GRAA06276J610299   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536750     2006   GRTDN   1GRAA062X6J610300   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536751     2006   GRTDN   1GRAA06216J610301   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES536752     2006   GRTDN   1GRAA06236J610302   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536753     2006   GRTDN   1GRAA06256J610303   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536755     2006   GRTDN   1GRAA06296J610305   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536756     2006   GRTDN   1GRAA06206J610306   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536757     2006   GRTDN   1GRAA06226J610307   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES536758     2006   GRTDN   1GRAA06246J610308   SSL       IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES536761     2006   GRTDN   1GRAA06246J610311   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536763     2006   GRTDN   1GRAA06286J610313   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES536764     2006   GRTDN   1GRAA062X6J610314   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536765     2006   GRTDN   1GRAA06216J610315   SSL       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES536766     2006   GRTDN   1GRAA06236J610316   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES536767     2006   GRTDN   1GRAA06256J610317   SSL       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536769     2006   GRTDN   1GRAA06296J610319   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536771     2006   GRTDN   1GRAA06276J610321   SSL       MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES536772     2006   GRTDN   1GRAA06296J610322   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES536773     2006   GRTDN   1GRAA06206J610323   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES536774     2006   GRTDN   1GRAA06226J610324   SSL       CA        Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES536775     2006   GRTDN   1GRAA06246J610325   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536776     2006   GRTDN   1GRAA06266J610326   SSL       NY        Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES536777     2006   GRTDN   1GRAA06286J610327   SSL       AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES536778     2006   GRTDN   1GRAA062X6J610328   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES536780     2006   GRTDN   1GRAA06286J610330   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536782     2006   GRTDN   1GRAA06216J610332   SSL       NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES536785     2006   GRTDN   1GRAA06276J610335   SSL       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES536786     2006   GRTDN   1GRAA06296J610336   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES536787     2006   GRTDN   1GRAA06206J610337   SSL       Ontario   Pickering
 HMES     ROAD TRAILER     RTL‐TA   HMES536790     2006   GRTDN   1GRAA06206J610340   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536791     2006   GRTDN   1GRAA06226J610341   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536792     2006   GRTDN   1GRAA06246J610342   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES536793     2006   GRTDN   1GRAA06266J610343   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES536794     2006   GRTDN   1GRAA06286J610344   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536795     2006   GRTDN   1GRAA062X6J610345   SSL       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES536796     2006   GRTDN   1GRAA06216J610346   SSL       SC        West Columbia
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 136 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES536800     2006   GRTDN   1GRAA06236J610350   SSL       PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES536802     2006   GRTDN   1GRAA06276J610352   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES536804     2006   GRTDN   1GRAA06206J610354   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536805     2006   GRTDN   1GRAA06226J610355   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES536806     2006   GRTDN   1GRAA06246J610356   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536807     2006   GRTDN   1GRAA06266J610357   SSL       MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES536808     2006   GRTDN   1GRAA06286J610358   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES536809     2006   GRTDN   1GRAA062X6J610359   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES536810     2006   GRTDN   1GRAA06266J610360   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536811     2006   GRTDN   1GRAA06286J610361   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES536812     2006   GRTDN   1GRAA062X6J610362   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES536813     2006   GRTDN   1GRAA06216J610363   SSL       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES536814     2006   GRTDN   1GRAA06236J610364   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536816     2006   GRTDN   1GRAA06276J610366   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES536817     2006   GRTDN   1GRAA06296J610367   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES536818     2006   GRTDN   1GRAA06206J610368   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES536819     2006   GRTDN   1GRAA06226J610369   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES536822     2006   GRTDN   1GRAA06226J610372   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES536823     2006   GRTDN   1GRAA06246J610373   SSL       NY      Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES536824     2006   GRTDN   1GRAA06266J610374   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES536825     2006   GRTDN   1GRAA06286J610375   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES536826     2006   GRTDN   1GRAA062X6J610376   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536827     2006   GRTDN   1GRAA06216J610377   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES536828     2006   GRTDN   1GRAA06236J610378   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES536830     2006   GRTDN   1GRAA06216J610380   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES536831     2006   GRTDN   1GRAA06236J610381   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES536832     2006   GRTDN   1GRAA06256J610382   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536834     2006   GRTDN   1GRAA06296J610384   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES536835     2006   GRTDN   1GRAA06206J610385   SSL       MN      Burnsville
 HMES     ROAD TRAILER     RTL‐TA   HMES536836     2006   GRTDN   1GRAA06226J610386   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES536838     2006   GRTDN   1GRAA06266J610388   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES536839     2006   GRTDN   1GRAA06286J610389   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES536843     2006   GRTDN   1GRAA062X6J610393   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES536844     2006   GRTDN   1GRAA06216J610394   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES536846     2006   GRTDN   1GRAA06256J610396   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES536847     2006   GRTDN   1GRAA06276J610397   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES536849     2006   GRTDN   1GRAA06206J610399   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES536850     2006   GRTDN   1GRAA06236J610400   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES536851     2006   GRTDN   1GRAA06276T530215   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537001     2007   GRTDN   1GRAA06287D423928   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES537003     2007   GRTDN   1GRAA06267D423930   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537004     2007   GRTDN   1GRAA06287D423931   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537005     2007   GRTDN   1GRAA062X7D423932   SSL       AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES537006     2007   GRTDN   1GRAA06217D423933   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537007     2007   GRTDN   1GRAA06237D423934   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537008     2007   GRTDN   1GRAA06257D423935   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES537009     2007   GRTDN   1GRAA06277D423936   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537010     2007   GRTDN   1GRAA06297D423937   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537011     2007   GRTDN   1GRAA06207D423938   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537012     2007   GRTDN   1GRAA06227D423939   SSL       MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES537013     2007   GRTDN   1GRAA06297D423940   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537014     2007   GRTDN   1GRAA06207D423941   SSL       TX      Dallas
 HMES     ROAD TRAILER     RTL‐TA   HMES537015     2007   GRTDN   1GRAA06227D423942   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES537017     2007   GRTDN   1GRAA06267D423944   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537018     2007   GRTDN   1GRAA06287D423945   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES537019     2007   GRTDN   1GRAA062X7D423946   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537020     2007   GRTDN   1GRAA06217D423947   SSL       IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES537021     2007   GRTDN   1GRAA06237D423948   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537023     2007   GRTDN   1GRAA06217D423950   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES537024     2007   GRTDN   1GRAA06237D423951   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537026     2007   GRTDN   1GRAA06277D423953   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537027     2007   GRTDN   1GRAA06297D423954   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537028     2007   GRTDN   1GRAA06207D423955   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES537029     2007   GRTDN   1GRAA06227D423956   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES537030     2007   GRTDN   1GRAA06247D423957   SSL       MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES537032     2007   GRTDN   1GRAA06287D423959   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537033     2007   GRTDN   1GRAA06247D423960   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537034     2007   GRTDN   1GRAA06267D423961   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES537035     2007   GRTDN   1GRAA06287D423962   SSL       IL      Joliet
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 137 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES537036     2007   GRTDN   1GRAA062X7D423963   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES537037     2007   GRTDN   1GRAA06217D423964   SSL       MO      Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES537038     2007   GRTDN   1GRAA06237D423965   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537039     2007   GRTDN   1GRAA06257D423966   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537040     2007   GRTDN   1GRAA06277D423967   SSL       WI      Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES537041     2007   GRTDN   1GRAA06297D423968   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES537042     2007   GRTDN   1GRAA06207D423969   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES537043     2007   GRTDN   1GRAA06277D423970   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES537044     2007   GRTDN   1GRAA06297D423971   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES537045     2007   GRTDN   1GRAA06207D423972   SSL       PA      Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES537047     2007   GRTDN   1GRAA06247D423974   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537049     2007   GRTDN   1GRAA06287D423976   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537050     2007   GRTDN   1GRAA062X7D423977   SSL       MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES537051     2007   GRTDN   1GRAA06217D423978   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537052     2007   GRTDN   1GRAA06237D423979   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537053     2007   GRTDN   1GRAA062X7D423980   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537054     2007   GRTDN   1GRAA06217D423981   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537055     2007   GRTDN   1GRAA06237D423982   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537057     2007   GRTDN   1GRAA06277D423984   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES537058     2007   GRTDN   1GRAA06297D423985   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537059     2007   GRTDN   1GRAA06207D423986   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES537060     2007   GRTDN   1GRAA06227D423987   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES537061     2007   GRTDN   1GRAA06247D423988   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537062     2007   GRTDN   1GRAA06267D423989   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537063     2007   GRTDN   1GRAA06227D423990   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES537064     2007   GRTDN   1GRAA06247D423991   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES537065     2007   GRTDN   1GRAA06267D423992   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES537066     2007   GRTDN   1GRAA06287D423993   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES537068     2007   GRTDN   1GRAA06217D423995   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537069     2007   GRTDN   1GRAA06237D423996   SSL       PA      Du Bois
 HMES     ROAD TRAILER     RTL‐TA   HMES537072     2007   GRTDN   1GRAA06297D423999   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES537073     2007   GRTDN   1GRAA062X7D424000   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES537074     2007   GRTDN   1GRAA06217D424001   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537075     2007   GRTDN   1GRAA06237D424002   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES537076     2007   GRTDN   1GRAA06257D424003   SSL       PA      Bethlehem
 HMES     ROAD TRAILER     RTL‐TA   HMES537077     2007   GRTDN   1GRAA06277D424004   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537078     2007   GRTDN   1GRAA06297D424005   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES537080     2007   GRTDN   1GRAA06227D424007   SSL       CA      Orange
 HMES     ROAD TRAILER     RTL‐TA   HMES537081     2007   GRTDN   1GRAA06247D424008   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES537082     2007   GRTDN   1GRAA06267D424009   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537084     2007   GRTDN   1GRAA06247D424011   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES537085     2007   GRTDN   1GRAA06267D424012   SSL       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES537086     2007   GRTDN   1GRAA06287D424013   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537088     2007   GRTDN   1GRAA06217D424015   SSL       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537089     2007   GRTDN   1GRAA06237D424016   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537091     2007   GRTDN   1GRAA06277D424018   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537092     2007   GRTDN   1GRAA06297D424019   SSL       PA      Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES537093     2007   GRTDN   1GRAA06257D424020   SSL       AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES537094     2007   GRTDN   1GRAA06277D424021   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES537095     2007   GRTDN   1GRAA06297D424022   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537096     2007   GRTDN   1GRAA06207D424023   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537097     2007   GRTDN   1GRAA06227D424024   SSL       PA      Milton
 HMES     ROAD TRAILER     RTL‐TA   HMES537098     2007   GRTDN   1GRAA06247D424025   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES537099     2007   GRTDN   1GRAA06267D424026   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES537100     2007   GRTDN   1GRAA06287D424027   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537101     2007   GRTDN   1GRAA062X7D424028   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537102     2007   GRTDN   1GRAA06217D424029   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537103     2007   GRTDN   1GRAA06287D424030   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES537104     2007   GRTDN   1GRAA062X7D424031   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES537105     2007   GRTDN   1GRAA06217D424032   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES537106     2007   GRTDN   1GRAA06237D424033   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES537108     2007   GRTDN   1GRAA06277D424035   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537109     2007   GRTDN   1GRAA06297D424036   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537111     2007   GRTDN   1GRAA06227D424038   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES537112     2007   GRTDN   1GRAA06247D424039   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537113     2007   GRTDN   1GRAA06207D424040   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537114     2007   GRTDN   1GRAA06227D424041   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537115     2007   GRTDN   1GRAA06247D424042   SSL       OK      Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES537116     2007   GRTDN   1GRAA06267D424043   SSL       IN      Indianapolis
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 138 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES537117     2007   GRTDN   1GRAA06287D424044   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537118     2007   GRTDN   1GRAA062X7D424045   SSL       MD        Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES537120     2007   GRTDN   1GRAA06237D424047   SSL       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537121     2007   GRTDN   1GRAA06257D424048   SSL       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES537122     2007   GRTDN   1GRAA06277D424049   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES537123     2007   GRTDN   1GRAA06237D424050   SSL       AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES537125     2007   GRTDN   1GRAA06277D424052   SSL       OH        Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES537126     2007   GRTDN   1GRAA06297D424053   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537128     2007   GRTDN   1GRAA06227D424055   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537129     2007   GRTDN   1GRAA06247D424056   SSL       NJ        Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES537130     2007   GRTDN   1GRAA06267D424057   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537131     2007   GRTDN   1GRAA06287D424058   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537132     2007   GRTDN   1GRAA062X7D424059   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES537133     2007   GRTDN   1GRAA06267D424060   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537134     2007   GRTDN   1GRAA06287D424061   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES537135     2007   GRTDN   1GRAA062X7D424062   SSL       IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537136     2007   GRTDN   1GRAA06217D424063   SSL       VA        Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES537137     2007   GRTDN   1GRAA06237D424064   SSL       MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES537138     2007   GRTDN   1GRAA06257D424065   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537139     2007   GRTDN   1GRAA06277D424066   SSL       Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES537140     2007   GRTDN   1GRAA06297D424067   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537141     2007   GRTDN   1GRAA06207D424068   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537142     2007   GRTDN   1GRAA06227D424069   SSL       MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES537144     2007   GRTDN   1GRAA06207D424071   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537145     2007   GRTDN   1GRAA06227D424072   SSL       IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537146     2007   GRTDN   1GRAA06247D424073   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES537147     2007   GRTDN   1GRAA06267D424074   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537148     2007   GRTDN   1GRAA06287D424075   SSL       MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES537150     2007   GRTDN   1GRAA06217D424077   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES537151     2007   GRTDN   1GRAA06237D424078   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES537152     2007   GRTDN   1GRAA06257D424079   SSL       PA        Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES537153     2007   GRTDN   1GRAA06217D424080   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES537154     2007   GRTDN   1GRAA06237D424081   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES537155     2007   GRTDN   1GRAA06257D424082   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537156     2007   GRTDN   1GRAA06277D424083   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES537158     2007   GRTDN   1GRAA06207D424085   SSL       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537159     2007   GRTDN   1GRAA06227D424086   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES537160     2007   GRTDN   1GRAA06247D424087   SSL       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES537162     2007   GRTDN   1GRAA06287D424089   SSL       WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES537164     2007   GRTDN   1GRAA06267D424091   SSL       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES537201     2007   GRTDN   1GRAA06277D425802   SSL       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537202     2007   GRTDN   1GRAA06297D425803   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537204     2007   GRTDN   1GRAA06227D425805   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537205     2007   GRTDN   1GRAA06247D425806   SSL       OK        Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES537208     2007   GRTDN   1GRAA062X7D425809   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES537209     2007   GRTDN   1GRAA06267D425810   SSL       MD        Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES537210     2007   GRTDN   1GRAA06287D425811   SSL       VA        Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES537211     2007   GRTDN   1GRAA062X7D425812   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537212     2007   GRTDN   1GRAA06217D425813   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES537213     2007   GRTDN   1GRAA06237D425814   SSL       DE        New Castle
 HMES     ROAD TRAILER     RTL‐TA   HMES537214     2007   GRTDN   1GRAA06257D425815   SSL       CA        Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES537216     2007   GRTDN   1GRAA06297D425817   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537217     2007   GRTDN   1GRAA06207D425818   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537218     2007   GRTDN   1GRAA06227D425819   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537219     2007   GRTDN   1GRAA06297D425820   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537220     2007   GRTDN   1GRAA06207D425821   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537222     2007   GRTDN   1GRAA06247D425823   SSL       IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES537224     2007   GRTDN   1GRAA06287D425825   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537225     2007   GRTDN   1GRAA062X7D425826   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537226     2007   GRTDN   1GRAA06217D425827   SSL       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES537227     2007   GRTDN   1GRAA06237D425828   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES537228     2007   GRTDN   1GRAA06257D425829   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537229     2007   GRTDN   1GRAA06217D425830   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537231     2007   GRTDN   1GRAA06257D425832   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537232     2007   GRTDN   1GRAA06277D425833   SSL       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES537233     2007   GRTDN   1GRAA06297D425834   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537235     2007   GRTDN   1GRAA06227D425836   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537236     2007   GRTDN   1GRAA06247D425837   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537237     2007   GRTDN   1GRAA06267D425838   SSL       TN        Nashville
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 139 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES537239     2007   GRTDN   1GRAA06247D425840   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES537240     2007   GRTDN   1GRAA06267D425841   SSL       AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES537241     2007   GRTDN   1GRAA06287D425842   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537242     2007   GRTDN   1GRAA062X7D425843   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537243     2007   GRTDN   1GRAA06217D425844   SSL       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES537244     2007   GRTDN   1GRAA06237D425845   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES537245     2007   GRTDN   1GRAA06257D425846   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES537246     2007   GRTDN   1GRAA06277D425847   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES537248     2007   GRTDN   1GRAA06207D425849   SSL       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES537249     2007   GRTDN   1GRAA06277D425850   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES537250     2007   GRTDN   1GRAA06297D425851   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES537251     2007   GRTDN   1GRAA06207D425852   SSL       OH        Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES537252     2007   GRTDN   1GRAA06227D425853   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537254     2007   GRTDN   1GRAA06267D425855   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537255     2007   GRTDN   1GRAA06287D425856   SSL       TX        Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES537256     2007   GRTDN   1GRAA062X7D425857   SSL       IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537257     2007   GRTDN   1GRAA06217D425858   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537258     2007   GRTDN   1GRAA06237D425859   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537259     2007   GRTDN   1GRAA062X7D425860   SSL       Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES537260     2007   GRTDN   1GRAA06217D425861   SSL       OH        North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES537261     2007   GRTDN   1GRAA06237D425862   SSL       WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES537262     2007   GRTDN   1GRAA06257D425863   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537263     2007   GRTDN   1GRAA06277D425864   SSL       NJ        Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES537264     2007   GRTDN   1GRAA06297D425865   SSL       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES537265     2007   GRTDN   1GRAA06207D425866   SSL       KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES537266     2007   GRTDN   1GRAA06227D425867   SSL       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES537267     2007   GRTDN   1GRAA06247D425868   SSL       SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES537268     2007   GRTDN   1GRAA06267D425869   SSL       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES537270     2007   GRTDN   1GRAA06247D425871   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537271     2007   GRTDN   1GRAA06267D425872   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES537272     2007   GRTDN   1GRAA06287D425873   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537273     2007   GRTDN   1GRAA062X7D425874   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES537274     2007   GRTDN   1GRAA06217D425875   SSL       TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES537275     2007   GRTDN   1GRAA06237D425876   SSL       WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES537276     2007   GRTDN   1GRAA06257D425877   SSL       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537277     2007   GRTDN   1GRAA06277D425878   SSL       MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES537278     2007   GRTDN   1GRAA06297D425879   SSL       MN        Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES537279     2007   GRTDN   1GRAA06257D425880   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES537280     2007   GRTDN   1GRAA06277D425881   SSL       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES537281     2007   GRTDN   1GRAA06297D425882   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537284     2007   GRTDN   1GRAA06247D425885   SSL       OH        Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES537700     2017   STGHT   1DW1A5323HB704800   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537701     2017   STGHT   1DW1A5325HB704801   ZGPVW     MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES537702     2017   STGHT   1DW1A5327HB704802   ZGPVW     GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES537703     2017   STGHT   1DW1A5329HB704803   ZGPVW     WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES537704     2017   STGHT   1DW1A5320HB704804   ZGPVW     Ontario   Mississauga
 HMES     ROAD TRAILER     RTL‐TA   HMES537705     2017   STGHT   1DW1A5322HB704805   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537706     2017   STGHT   1DW1A5324HB704806   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537707     2017   STGHT   1DW1A5326HB704807   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537708     2017   STGHT   1DW1A5328HB704808   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES537709     2017   STGHT   1DW1A532XHB704809   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES537710     2017   STGHT   1DW1A5326HB704810   ZGPVW     MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES537711     2017   STGHT   1DW1A5328HB704811   ZGPVW     MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES537712     2017   STGHT   1DW1A532XHB704812   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537713     2017   STGHT   1DW1A5321HB704813   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537714     2017   STGHT   1DW1A5323HB704814   ZGPVW     IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES537715     2017   STGHT   1DW1A5325HB704815   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537716     2017   STGHT   1DW1A5327HB704816   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537717     2017   STGHT   1DW1A5329HB704817   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537718     2017   STGHT   1DW1A5320HB704818   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537719     2017   STGHT   1DW1A5322HB704819   ZGPVW     GA        Savannah
 HMES     ROAD TRAILER     RTL‐TA   HMES537720     2017   STGHT   1DW1A5329HB704820   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537721     2017   STGHT   1DW1A5320HB704821   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES537722     2017   STGHT   1DW1A5322HB704822   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537723     2017   STGHT   1DW1A5324HB704823   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537724     2017   STGHT   1DW1A5326HB704824   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537725     2017   STGHT   1DW1A5328HB704825   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537726     2017   STGHT   1DW1A532XHB704826   ZGPVW     PA        Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES537727     2017   STGHT   1DW1A5321HB704827   ZGPVW     OH        Columbus
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 140 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES537728     2017   STGHT   1DW1A5323HB704828   ZGPVW     IL      Morton
 HMES     ROAD TRAILER     RTL‐TA   HMES537729     2017   STGHT   1DW1A5325HB704829   ZGPVW     WI      Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES537730     2017   STGHT   1DW1A5321HB704830   ZGPVW     IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES537731     2017   STGHT   1DW1A5323HB704831   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537732     2017   STGHT   1DW1A5325HB704832   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537733     2017   STGHT   1DW1A5327HB704833   ZGPVW     FL      Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES537734     2017   STGHT   1DW1A5329HB704834   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537735     2017   STGHT   1DW1A5320HB704835   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES537736     2017   STGHT   1DW1A5322HB704836   ZGPVW     SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES537737     2017   STGHT   1DW1A5324HB704837   ZGPVW     OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES537738     2017   STGHT   1DW1A5326HB704838   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537739     2017   STGHT   1DW1A5328HB704839   ZGPVW     PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES537740     2017   STGHT   1DW1A5324HB704840   ZGPVW     OH      Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES537741     2017   STGHT   1DW1A5326HB704841   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537742     2017   STGHT   1DW1A5328HB704842   ZGPVW     WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES537743     2017   STGHT   1DW1A532XHB704843   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537744     2017   STGHT   1DW1A5321HB704844   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES537745     2017   STGHT   1DW1A5323HB704845   ZGPVW     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES537746     2017   STGHT   1DW1A5325HB704846   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537747     2017   STGHT   1DW1A5327HB704847   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537748     2017   STGHT   1DW1A5329HB704848   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537749     2017   STGHT   1DW1A5320HB704849   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537750     2017   STGHT   1DW1A5327HB704850   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537751     2017   STGHT   1DW1A5329HB704851   ZGPVW     IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES537752     2017   STGHT   1DW1A5320HB704852   ZGPVW     MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES537753     2017   STGHT   1DW1A5322HB704853   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537754     2017   STGHT   1DW1A5324HB704854   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537755     2017   STGHT   1DW1A5326HB704855   ZGPVW     IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537756     2017   STGHT   1DW1A5328HB704856   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537757     2017   STGHT   1DW1A532XHB704857   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537758     2017   STGHT   1DW1A5321HB704858   ZGPVW     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES537759     2017   STGHT   1DW1A5323HB704859   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537760     2017   STGHT   1DW1A532XHB704860   ZGPVW     KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES537761     2017   STGHT   1DW1A5321HB704861   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES537762     2017   STGHT   1DW1A5323HB704862   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES537763     2017   STGHT   1DW1A5325HB704863   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537764     2017   STGHT   1DW1A5327HB704864   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537765     2017   STGHT   1DW1A5329HB704865   ZGPVW     GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES537766     2017   STGHT   1DW1A5320HB704866   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES537767     2017   STGHT   1DW1A5322HB704867   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537768     2017   STGHT   1DW1A5324HB704868   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES537769     2017   STGHT   1DW1A5326HB704869   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537770     2017   STGHT   1DW1A5322HB704870   ZGPVW     IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537771     2017   STGHT   1DW1A5324HB704871   ZGPVW     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES537772     2017   STGHT   1DW1A5326HB704872   ZGPVW     TX      Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES537773     2017   STGHT   1DW1A5328HB704873   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537774     2017   STGHT   1DW1A532XHB704874   ZGPVW     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES537775     2017   STGHT   1DW1A5321HB704875   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES537776     2017   STGHT   1DW1A5323HB704876   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES537777     2017   STGHT   1DW1A5325HB704877   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES537778     2017   STGHT   1DW1A5327HB704878   ZGPVW     MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES537779     2017   STGHT   1DW1A5329HB704879   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537780     2017   STGHT   1DW1A5325HB704880   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES537781     2017   STGHT   1DW1A5327HB704881   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537782     2017   STGHT   1DW1A5329HB704882   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537783     2017   STGHT   1DW1A5320HB704883   ZGPVW     KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES537784     2017   STGHT   1DW1A5322HB704884   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537785     2017   STGHT   1DW1A5324HB704885   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537786     2017   STGHT   1DW1A5326HB704886   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES537787     2017   STGHT   1DW1A5328HB704887   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537788     2017   STGHT   1DW1A532XHB704888   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES537789     2017   STGHT   1DW1A5321HB704889   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537790     2017   STGHT   1DW1A5328HB704890   ZGPVW     MO      Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES537791     2017   STGHT   1DW1A532XHB704891   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES537792     2017   STGHT   1DW1A5321HB704892   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES537793     2017   STGHT   1DW1A5323HB704893   ZGPVW     MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES537794     2017   STGHT   1DW1A5325HB704894   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537795     2017   STGHT   1DW1A5327HB704895   ZGPVW     WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES537796     2017   STGHT   1DW1A5329HB704896   ZGPVW     WI      Milwaukee
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 141 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES537797     2017   STGHT   1DW1A5320HB704897   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537798     2017   STGHT   1DW1A5322HB704898   ZGPVW     Ontario   Mississauga
 HMES     ROAD TRAILER     RTL‐TA   HMES537799     2017   STGHT   1DW1A5324HB704899   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537800     2017   STGHT   1DW1A5327HB704900   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES537801     2017   STGHT   1DW1A5329HB704901   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537802     2017   STGHT   1DW1A5320HB704902   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537803     2017   STGHT   1DW1A5322HB704903   ZGPVW     IL        Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES537804     2017   STGHT   1DW1A5324HB704904   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES537805     2017   STGHT   1DW1A5326HB704905   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537806     2017   STGHT   1DW1A5328HB704906   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537807     2017   STGHT   1DW1A532XHB704907   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537808     2017   STGHT   1DW1A5321HB704908   ZGPVW     MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES537809     2017   STGHT   1DW1A5323HB704909   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES537810     2017   STGHT   1DW1A532XHB704910   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES537811     2017   STGHT   1DW1A5321HB704911   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537812     2017   STGHT   1DW1A5323HB704912   ZGPVW     IA        Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES537813     2017   STGHT   1DW1A5325HB704913   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537814     2017   STGHT   1DW1A5327HB704914   ZGPVW     KS        Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES537815     2017   STGHT   1DW1A5329HB704915   ZGPVW     MO        Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES537816     2017   STGHT   1DW1A5320HB704916   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES537817     2017   STGHT   1DW1A5322HB704917   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537818     2017   STGHT   1DW1A5324HB704918   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537819     2017   STGHT   1DW1A5326HB704919   ZGPVW     WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES537820     2017   STGHT   1DW1A5322HB704920   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537821     2017   STGHT   1DW1A5324HB704921   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES537822     2017   STGHT   1DW1A5326HB704922   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES537823     2017   STGHT   1DW1A5328HB704923   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537824     2017   STGHT   1DW1A532XHB704924   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537825     2017   STGHT   1DW1A5321HB704925   ZGPVW     PA        Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES537826     2017   STGHT   1DW1A5323HB704926   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537827     2017   STGHT   1DW1A5325HB704927   ZGPVW     NJ        South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES537828     2017   STGHT   1DW1A5327HB704928   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES537829     2017   STGHT   1DW1A5329HB704929   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537830     2017   STGHT   1DW1A5325HB704930   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537831     2017   STGHT   1DW1A5327HB704931   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES537832     2017   STGHT   1DW1A5329HB704932   ZGPVW     GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES537833     2017   STGHT   1DW1A5320HB704933   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES537834     2017   STGHT   1DW1A5322HB704934   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES537835     2017   STGHT   1DW1A5324HB704935   ZGPVW     MS        Richland
 HMES     ROAD TRAILER     RTL‐TA   HMES537836     2017   STGHT   1DW1A5326HB704936   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES537837     2017   STGHT   1DW1A5328HB704937   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES537838     2017   STGHT   1DW1A532XHB704938   ZGPVW     PA        McKees Rocks
 HMES     ROAD TRAILER     RTL‐TA   HMES537839     2017   STGHT   1DW1A5321HB704939   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES537840     2017   STGHT   1DW1A5328HB704940   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537841     2017   STGHT   1DW1A532XHB704941   ZGPVW     IA        Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES537842     2017   STGHT   1DW1A5321HB704942   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537843     2017   STGHT   1DW1A5323HB704943   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES537844     2017   STGHT   1DW1A5325HB704944   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537845     2017   STGHT   1DW1A5327HB704945   ZGPVW     PA        Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES537846     2017   STGHT   1DW1A5329HB704946   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537847     2017   STGHT   1DW1A5320HB704947   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES537848     2017   STGHT   1DW1A5322HB704948   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537849     2017   STGHT   1DW1A5324HB704949   ZGPVW     AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES537850     2017   STGHT   1DW1A5320HB704950   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537851     2017   STGHT   1DW1A5322HB704951   ZGPVW     TX        Dallas
 HMES     ROAD TRAILER     RTL‐TA   HMES537852     2017   STGHT   1DW1A5324HB704952   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES537853     2017   STGHT   1DW1A5326HB704953   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537854     2017   STGHT   1DW1A5328HB704954   ZGPVW     PA        Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES537855     2017   STGHT   1DW1A532XHB704955   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES537856     2017   STGHT   1DW1A5321HB704956   ZGPVW     OH        Copley
 HMES     ROAD TRAILER     RTL‐TA   HMES537857     2017   STGHT   1DW1A5323HB704957   ZGPVW     GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES537858     2017   STGHT   1DW1A5325HB704958   ZGPVW     KS        Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES537859     2017   STGHT   1DW1A5327HB704959   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES537860     2017   STGHT   1DW1A5323HB704960   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537861     2017   STGHT   1DW1A5325HB704961   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537862     2017   STGHT   1DW1A5327HB704962   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES537863     2017   STGHT   1DW1A5329HB704963   ZGPVW     WI        Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES537864     2017   STGHT   1DW1A5320HB704964   ZGPVW     PA        Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES537866     2017   STGHT   1DW1A5324HB704966   ZGPVW     GA        Ringgold
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 142 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES537867     2017   STGHT   1DW1A5326HB704967   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES537868     2017   STGHT   1DW1A5328HB704968   ZGPVW     KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES537869     2017   STGHT   1DW1A532XHB704969   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES537870     2017   STGHT   1DW1A5326HB704970   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES537871     2017   STGHT   1DW1A5328HB704971   ZGPVW     Ontario   Mississauga
 HMES     ROAD TRAILER     RTL‐TA   HMES537872     2017   STGHT   1DW1A532XHB704972   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537873     2017   STGHT   1DW1A5321HB704973   ZGPVW     MI        Pontiac
 HMES     ROAD TRAILER     RTL‐TA   HMES537874     2017   STGHT   1DW1A5323HB704974   ZGPVW     IA        Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES537875     2017   STGHT   1DW1A5329HB720600   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES537876     2017   STGHT   1DW1A5320HB720601   ZGPVW     MO        Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES537877     2017   STGHT   1DW1A5322HB720602   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES537878     2017   STGHT   1DW1A5324HB720603   ZGPVW     IA        Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES537879     2017   STGHT   1DW1A5326HB720604   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537880     2017   STGHT   1DW1A5328HB720605   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES537881     2017   STGHT   1DW1A532XHB720606   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537882     2017   STGHT   1DW1A5321HB720607   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES537883     2017   STGHT   1DW1A5323HB720608   ZGPVW     IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES537884     2017   STGHT   1DW1A5325HB720609   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537885     2017   STGHT   1DW1A5321HB720610   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES537886     2017   STGHT   1DW1A5323HB720611   ZGPVW     IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES537887     2017   STGHT   1DW1A5325HB720612   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES537888     2017   STGHT   1DW1A5327HB720613   ZGPVW     AL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537889     2017   STGHT   1DW1A5329HB720614   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537890     2017   STGHT   1DW1A5320HB720615   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES537891     2017   STGHT   1DW1A5322HB720616   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES537892     2017   STGHT   1DW1A5324HB720617   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES537893     2017   STGHT   1DW1A5326HB720618   ZGPVW     WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES537894     2017   STGHT   1DW1A5328HB720619   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537895     2017   STGHT   1DW1A5324HB720620   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537896     2017   STGHT   1DW1A5326HB720621   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537897     2017   STGHT   1DW1A5328HB720622   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537898     2017   STGHT   1DW1A532XHB720623   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537899     2017   STGHT   1DW1A5321HB720624   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES537900     2017   STGHT   1DW1A5323HB720625   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537901     2017   STGHT   1DW1A5325HB720626   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537902     2017   STGHT   1DW1A5327HB720627   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537903     2017   STGHT   1DW1A5329HB720628   ZGPVW     NJ        Carlstadt
 HMES     ROAD TRAILER     RTL‐TA   HMES537904     2017   STGHT   1DW1A5320HB720629   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537905     2017   STGHT   1DW1A5327HB720630   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES537906     2017   STGHT   1DW1A5329HB720631   ZGPVW     MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES537907     2017   STGHT   1DW1A5320HB720632   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES537908     2017   STGHT   1DW1A5322HB720633   ZGPVW     MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES537909     2017   STGHT   1DW1A5324HB720634   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES537910     2017   STGHT   1DW1A5326HB720635   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537911     2017   STGHT   1DW1A5328HB720636   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES537912     2017   STGHT   1DW1A532XHB720637   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES537913     2017   STGHT   1DW1A5321HB720638   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537914     2017   STGHT   1DW1A5323HB720639   ZGPVW     DE        New Castle
 HMES     ROAD TRAILER     RTL‐TA   HMES537915     2017   STGHT   1DW1A532XHB720640   ZGPVW     NJ        Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES537916     2017   STGHT   1DW1A5321HB720641   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES537917     2017   STGHT   1DW1A5323HB720642   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537918     2017   STGHT   1DW1A5325HB720643   ZGPVW     TX        McAllen
 HMES     ROAD TRAILER     RTL‐TA   HMES537919     2017   STGHT   1DW1A5327HB720644   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES537920     2017   STGHT   1DW1A5329HB720645   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537921     2017   STGHT   1DW1A5320HB720646   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES537922     2017   STGHT   1DW1A5322HB720647   ZGPVW     MI        Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES537923     2017   STGHT   1DW1A5324HB720648   ZGPVW     NJ        Millville
 HMES     ROAD TRAILER     RTL‐TA   HMES537924     2017   STGHT   1DW1A5326HB720649   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES537925     2017   STGHT   1DW1A5322HB720650   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES537926     2017   STGHT   1DW1A5324HB720651   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES537927     2017   STGHT   1DW1A5326HB720652   ZGPVW     CA        Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES537928     2017   STGHT   1DW1A5328HB720653   ZGPVW     WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES537929     2017   STGHT   1DW1A532XHB720654   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES537930     2017   STGHT   1DW1A5321HB720655   ZGPVW     SC        Florence
 HMES     ROAD TRAILER     RTL‐TA   HMES537931     2017   STGHT   1DW1A5323HB720656   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES537932     2017   STGHT   1DW1A5325HB720657   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES537933     2017   STGHT   1DW1A5327HB720658   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES537934     2017   STGHT   1DW1A5329HB720659   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES537935     2017   STGHT   1DW1A5325HB720660   ZGPVW     NC        Charlotte
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 143 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES537936     2017   STGHT   1DW1A5327HB720661   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES537937     2017   STGHT   1DW1A5329HB720662   ZGPVW     PA      Line Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES537938     2017   STGHT   1DW1A5320HB720663   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537939     2017   STGHT   1DW1A5322HB720664   ZGPVW     KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES537940     2017   STGHT   1DW1A5324HB720665   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES537941     2017   STGHT   1DW1A5326HB720666   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537942     2017   STGHT   1DW1A5328HB720667   ZGPVW     MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES537943     2017   STGHT   1DW1A532XHB720668   ZGPVW     IA      Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES537944     2017   STGHT   1DW1A5321HB720669   ZGPVW     GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES537945     2017   STGHT   1DW1A5328HB720670   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537946     2017   STGHT   1DW1A532XHB720671   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537947     2017   STGHT   1DW1A5321HB720672   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES537948     2017   STGHT   1DW1A5323HB720673   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES537949     2017   STGHT   1DW1A5325HB720674   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES537950     2017   STGHT   1DW1A5327HB720675   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537951     2017   STGHT   1DW1A5329HB720676   ZGPVW     MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES537952     2017   STGHT   1DW1A5320HB720677   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES537953     2017   STGHT   1DW1A5322HB720678   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537954     2017   STGHT   1DW1A5324HB720679   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537955     2017   STGHT   1DW1A5320HB720680   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES537956     2017   STGHT   1DW1A5322HB720681   ZGPVW     TX      Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES537957     2017   STGHT   1DW1A5324HB720682   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537958     2017   STGHT   1DW1A5326HB720683   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537959     2017   STGHT   1DW1A5328HB720684   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES537960     2017   STGHT   1DW1A532XHB720685   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537961     2017   STGHT   1DW1A5321HB720686   ZGPVW     WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES537962     2017   STGHT   1DW1A5323HB720687   ZGPVW     TX      San Antonio
 HMES     ROAD TRAILER     RTL‐TA   HMES537963     2017   STGHT   1DW1A5325HB720688   ZGPVW     SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES537964     2017   STGHT   1DW1A5327HB720689   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537965     2017   STGHT   1DW1A5323HB720690   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES537966     2017   STGHT   1DW1A5325HB720691   ZGPVW     PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES537967     2017   STGHT   1DW1A5327HB720692   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES537968     2017   STGHT   1DW1A5329HB720693   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES537969     2017   STGHT   1DW1A5320HB720694   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES537971     2017   STGHT   1DW1A5324HB720696   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537972     2017   STGHT   1DW1A5326HB720697   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537973     2017   STGHT   1DW1A5328HB720698   ZGPVW     AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES537974     2017   STGHT   1DW1A532XHB720699   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537975     2017   STGHT   1DW1A5322HB720700   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537976     2017   STGHT   1DW1A5324HB720701   ZGPVW     MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES537977     2017   STGHT   1DW1A5326HB720702   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537978     2017   STGHT   1DW1A5328HB720703   ZGPVW     VA      Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES537979     2017   STGHT   1DW1A532XHB720704   ZGPVW     VA      Roanoke
 HMES     ROAD TRAILER     RTL‐TA   HMES537980     2017   STGHT   1DW1A5321HB720705   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537981     2017   STGHT   1DW1A5323HB720706   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES537982     2017   STGHT   1DW1A5325HB720707   ZGPVW     PA      Shippensburg
 HMES     ROAD TRAILER     RTL‐TA   HMES537983     2017   STGHT   1DW1A5327HB720708   ZGPVW     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES537984     2017   STGHT   1DW1A5329HB720709   ZGPVW     NC      Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES537985     2017   STGHT   1DW1A5325HB720710   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES537986     2017   STGHT   1DW1A5327HB720711   ZGPVW     TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES537987     2017   STGHT   1DW1A5329HB720712   ZGPVW     OR      Portland
 HMES     ROAD TRAILER     RTL‐TA   HMES537988     2017   STGHT   1DW1A5320HB720713   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES537989     2017   STGHT   1DW1A5322HB720714   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES537990     2017   STGHT   1DW1A5324HB720715   ZGPVW     IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES537991     2017   STGHT   1DW1A5326HB720716   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537992     2017   STGHT   1DW1A5328HB720717   ZGPVW     OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES537993     2017   STGHT   1DW1A532XHB720718   ZGPVW     MI      Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES537994     2017   STGHT   1DW1A5321HB720719   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES537995     2017   STGHT   1DW1A5328HB720720   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES537997     2017   STGHT   1DW1A5321HB720722   ZGPVW     TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES537998     2017   STGHT   1DW1A5323HB720723   ZGPVW     KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES537999     2017   STGHT   1DW1A5325HB720724   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES538301     2018   STGHT   1DW1A5320JSA09280   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES538302     2018   STGHT   1DW1A5320JSA09294   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES538303     2018   STGHT   1DW1A5320JSA09313   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES538304     2018   STGHT   1DW1A5320JSA09327   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES538305     2018   STGHT   1DW1A5320JSA09330   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES538307     2018   STGHT   1DW1A5320JSA09358   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538308     2018   STGHT   1DW1A5320JSA09361   ZGPVW     NC      Kernersville
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 144 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES538309     2018   STGHT   1DW1A5320JSA09375   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES538310     2018   STGHT   1DW1A5320JSA09389   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES538311     2018   STGHT   1DW1A5320JSA09392   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES538312     2018   STGHT   1DW1A5320JSA09408   ZGPVW     MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES538313     2018   STGHT   1DW1A5320JSA09411   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES538314     2018   STGHT   1DW1A5320JSA09425   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES538315     2018   STGHT   1DW1A5320JSA09439   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538316     2018   STGHT   1DW1A5320JSA09442   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES538317     2018   STGHT   1DW1A5320JSA09456   ZGPVW     TX        Abilene
 HMES     ROAD TRAILER     RTL‐TA   HMES538318     2018   STGHT   1DW1A5320JSA09473   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES538319     2018   STGHT   1DW1A5321JSA09286   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES538320     2018   STGHT   1DW1A5321JSA09305   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES538321     2018   STGHT   1DW1A5321JSA09319   ZGPVW     WI        Madison
 HMES     ROAD TRAILER     RTL‐TA   HMES538322     2018   STGHT   1DW1A5321JSA09322   ZGPVW     IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES538323     2018   STGHT   1DW1A5321JSA09336   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES538324     2018   STGHT   1DW1A5321JSA09353   ZGPVW     NY        Mount Vernon
 HMES     ROAD TRAILER     RTL‐TA   HMES538325     2018   STGHT   1DW1A5321JSA09367   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538326     2018   STGHT   1DW1A5321JSA09370   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES538327     2018   STGHT   1DW1A5321JSA09384   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES538328     2018   STGHT   1DW1A5321JSA09398   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES538329     2018   STGHT   1DW1A5321JSA09403   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES538330     2018   STGHT   1DW1A5321JSA09417   ZGPVW     OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES538331     2018   STGHT   1DW1A5321JSA09420   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES538332     2018   STGHT   1DW1A5321JSA09434   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538333     2018   STGHT   1DW1A5321JSA09448   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES538334     2018   STGHT   1DW1A5321JSA09451   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES538335     2018   STGHT   1DW1A5321JSA09465   ZGPVW     MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES538336     2018   STGHT   1DW1A5322JSA09281   ZGPVW     IA        Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES538337     2018   STGHT   1DW1A5322JSA09295   ZGPVW     WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES538338     2018   STGHT   1DW1A5322JSA09300   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES538339     2018   STGHT   1DW1A5322JSA09314   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538340     2018   STGHT   1DW1A5322JSA09328   ZGPVW     PA        Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES538341     2018   STGHT   1DW1A5322JSA09331   ZGPVW     KS        Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES538342     2018   STGHT   1DW1A5322JSA09345   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538343     2018   STGHT   1DW1A5322JSA09359   ZGPVW     MO        Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES538344     2018   STGHT   1DW1A5322JSA09362   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES538345     2018   STGHT   1DW1A5322JSA09376   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES538346     2018   STGHT   1DW1A5322JSA09393   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538347     2018   STGHT   1DW1A5322JSA09409   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538348     2018   STGHT   1DW1A5322JSA09412   ZGPVW     IL        Morton
 HMES     ROAD TRAILER     RTL‐TA   HMES538349     2018   STGHT   1DW1A5322JSA09426   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES538350     2018   STGHT   1DW1A5322JSA09443   ZGPVW     CA        Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES538351     2018   STGHT   1DW1A5322JSA09457   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES538352     2018   STGHT   1DW1A5322JSA09460   ZGPVW     MO        Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES538353     2018   STGHT   1DW1A5322JSA09474   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES538354     2018   STGHT   1DW1A5323JSA09287   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES538355     2018   STGHT   1DW1A5323JSA09290   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES538356     2018   STGHT   1DW1A5323JSA09306   ZGPVW     KY        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES538357     2018   STGHT   1DW1A5323JSA09323   ZGPVW     GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES538358     2018   STGHT   1DW1A5323JSA09337   ZGPVW     FL        Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES538359     2018   STGHT   1DW1A5323JSA09340   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES538360     2018   STGHT   1DW1A5323JSA09354   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES538361     2018   STGHT   1DW1A5323JSA09368   ZGPVW     TN        Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES538362     2018   STGHT   1DW1A5323JSA09371   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES538363     2018   STGHT   1DW1A5323JSA09385   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES538364     2018   STGHT   1DW1A5323JSA09399   ZGPVW     OH        Copley
 HMES     ROAD TRAILER     RTL‐TA   HMES538365     2018   STGHT   1DW1A5323JSA09404   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES538366     2018   STGHT   1DW1A5323JSA09418   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES538367     2018   STGHT   1DW1A5323JSA09421   ZGPVW     MD        Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES538368     2018   STGHT   1DW1A5323JSA09435   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES538369     2018   STGHT   1DW1A5323JSA09449   ZGPVW     MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES538370     2018   STGHT   1DW1A5323JSA09452   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES538371     2018   STGHT   1DW1A5323JSA09466   ZGPVW     NJ        South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES538372     2018   STGHT   1DW1A5324JSA09279   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES538373     2018   STGHT   1DW1A5324JSA09282   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES538374     2018   STGHT   1DW1A5324JSA09296   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES538375     2018   STGHT   1DW1A5324JSA09301   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES538376     2018   STGHT   1DW1A5324JSA09315   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538377     2018   STGHT   1DW1A5324JSA09329   ZGPVW     KS        Kansas City
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 145 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES538378     2018   STGHT   1DW1A5324JSA09332   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES538379     2018   STGHT   1DW1A5324JSA09346   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES538380     2018   STGHT   1DW1A5324JSA09363   ZGPVW     GA      Savannah
 HMES     ROAD TRAILER     RTL‐TA   HMES538381     2018   STGHT   1DW1A5324JSA09377   ZGPVW     MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES538382     2018   STGHT   1DW1A5324JSA09380   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES538383     2018   STGHT   1DW1A5324JSA09394   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES538384     2018   STGHT   1DW1A5324JSA09413   ZGPVW     MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES538385     2018   STGHT   1DW1A5324JSA09427   ZGPVW     IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES538386     2018   STGHT   1DW1A5324JSA09430   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES538387     2018   STGHT   1DW1A5324JSA09444   ZGPVW     IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES538388     2018   STGHT   1DW1A5324JSA09458   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES538389     2018   STGHT   1DW1A5324JSA09461   ZGPVW     OH      Copley
 HMES     ROAD TRAILER     RTL‐TA   HMES538390     2018   STGHT   1DW1A5324JSA09475   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538391     2018   STGHT   1DW1A5325JSA09288   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES538392     2018   STGHT   1DW1A5325JSA09291   ZGPVW     TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES538393     2018   STGHT   1DW1A5325JSA09307   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES538394     2018   STGHT   1DW1A5325JSA09310   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES538395     2018   STGHT   1DW1A5325JSA09324   ZGPVW     IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES538396     2018   STGHT   1DW1A5325JSA09338   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES538397     2018   STGHT   1DW1A5325JSA09341   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES538398     2018   STGHT   1DW1A5325JSA09355   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES538399     2018   STGHT   1DW1A5325JSA09369   ZGPVW     OH      Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538400     2018   STGHT   1DW1A5325JSA09372   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538551     2008   WABSH   1JJV532W38L178660   DVCVH     IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES538553     2008   WABSH   1JJV532W78L178662   DVCVH     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES538554     2008   WABSH   1JJV532W98L178663   DVCVH     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES538555     2008   WABSH   1JJV532W08L178664   DVCVH     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES538556     2008   WABSH   1JJV532W28L178665   DVCVH     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES538557     2008   WABSH   1JJV532W48L178666   DVCVH     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538560     2008   WABSH   1JJV532WX8L178669   DVCVH     NE      Omaha
 HMES     ROAD TRAILER     RTL‐TA   HMES538561     2008   WABSH   1JJV532W68L178670   DVCVH     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES538563     2008   WABSH   1JJV532WX8L178672   DVCVH     MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES538564     2008   WABSH   1JJV532W18L178673   DVCVH     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES538567     2008   WABSH   1JJV532W78L178676   DVCVH     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES538568     2008   WABSH   1JJV532W98L178677   DVCVH     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES538569     2008   WABSH   1JJV532W08L178678   DVCVH     IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES538572     2008   WABSH   1JJV532W08L178681   DVCVH     IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES538573     2008   WABSH   1JJV532W28L178682   DVCVH     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES538574     2008   WABSH   1JJV532W48L178683   DVCVH     MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES538575     2008   WABSH   1JJV532W68L178684   DVCVH     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES538576     2008   WABSH   1JJV532W88L178685   DVCVH     PA      Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES538578     2008   WABSH   1JJV532W18L178687   DVCVH     MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES538579     2008   WABSH   1JJV532W38L178688   DVCVH     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES538580     2008   WABSH   1JJV532W58L178689   DVCVH     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES538581     2008   WABSH   1JJV532W18L178690   DVCVH     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES538582     2008   WABSH   1JJV532W38L178691   DVCVH     SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES538584     2008   WABSH   1JJV532W78L178693   DVCVH     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538600     2018   STGHT   1DW1A5325JSA09386   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES538601     2018   STGHT   1DW1A5325JSA09405   ZGPVW     TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES538602     2018   STGHT   1DW1A5325JSA09419   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES538603     2018   STGHT   1DW1A5325JSA09422   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES538604     2018   STGHT   1DW1A5325JSA09436   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES538605     2018   STGHT   1DW1A5325JSA09453   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES538606     2018   STGHT   1DW1A5325JSA09467   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES538607     2018   STGHT   1DW1A5325JSA09470   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES538608     2018   STGHT   1DW1A5326JSA09283   ZGPVW     IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES538609     2018   STGHT   1DW1A5326JSA09297   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES538610     2018   STGHT   1DW1A5326JSA09302   ZGPVW     MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES538611     2018   STGHT   1DW1A5326JSA09316   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538612     2018   STGHT   1DW1A5326JSA09333   ZGPVW     IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES538613     2018   STGHT   1DW1A5326JSA09347   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES538614     2018   STGHT   1DW1A5326JSA09350   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES538615     2018   STGHT   1DW1A5326JSA09364   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES538617     2018   STGHT   1DW1A5326JSA09381   ZGPVW     PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES538618     2018   STGHT   1DW1A5326JSA09395   ZGPVW     CA      Pomona
 HMES     ROAD TRAILER     RTL‐TA   HMES538619     2018   STGHT   1DW1A5326JSA09400   ZGPVW     SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES538620     2018   STGHT   1DW1A5326JSA09414   ZGPVW     MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES538621     2018   STGHT   1DW1A5326JSA09428   ZGPVW     TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES538622     2018   STGHT   1DW1A5326JSA09431   ZGPVW     NC      Kernersville
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 146 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES538623     2018   STGHT   1DW1A5326JSA09445   ZGPVW     FL      Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES538624     2018   STGHT   1DW1A5326JSA09459   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES538625     2018   STGHT   1DW1A5326JSA09462   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES538626     2018   STGHT   1DW1A5326JSA09476   ZGPVW     TX      Dallas
 HMES     ROAD TRAILER     RTL‐TA   HMES538627     2018   STGHT   1DW1A5327JSA09289   ZGPVW     AR      Little Rock
 HMES     ROAD TRAILER     RTL‐TA   HMES538628     2018   STGHT   1DW1A5327JSA09292   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538629     2018   STGHT   1DW1A5327JSA09308   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538630     2018   STGHT   1DW1A5327JSA09311   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES538631     2018   STGHT   1DW1A5327JSA09325   ZGPVW     WI      Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES538632     2018   STGHT   1DW1A5327JSA09339   ZGPVW     GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES538633     2018   STGHT   1DW1A5327JSA09342   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538634     2018   STGHT   1DW1A5327JSA09356   ZGPVW     CO      Aurora
 HMES     ROAD TRAILER     RTL‐TA   HMES538635     2018   STGHT   1DW1A5327JSA09373   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538636     2018   STGHT   1DW1A5327JSA09387   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES538637     2018   STGHT   1DW1A5327JSA09390   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538638     2018   STGHT   1DW1A5327JSA09406   ZGPVW     MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES538639     2018   STGHT   1DW1A5327JSA09423   ZGPVW     PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES538640     2018   STGHT   1DW1A5327JSA09437   ZGPVW     OK      Oklahoma City
 HMES     ROAD TRAILER     RTL‐TA   HMES538641     2018   STGHT   1DW1A5327JSA09440   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES538642     2018   STGHT   1DW1A5327JSA09454   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES538643     2018   STGHT   1DW1A5327JSA09468   ZGPVW     MI      Wyoming
 HMES     ROAD TRAILER     RTL‐TA   HMES538644     2018   STGHT   1DW1A5327JSA09471   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES538645     2018   STGHT   1DW1A5328JSA09284   ZGPVW     FL      Jacksonville
 HMES     ROAD TRAILER     RTL‐TA   HMES538646     2018   STGHT   1DW1A5328JSA09298   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES538647     2018   STGHT   1DW1A5328JSA09303   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES538648     2018   STGHT   1DW1A5328JSA09317   ZGPVW     TX      Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES538649     2018   STGHT   1DW1A5328JSA09320   ZGPVW     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES538650     2018   STGHT   1DW1A5328JSA09334   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES538651     2018   STGHT   1DW1A5328JSA09348   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES538652     2018   STGHT   1DW1A5328JSA09351   ZGPVW     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES538653     2018   STGHT   1DW1A5328JSA09365   ZGPVW     CA      Tracy
 HMES     ROAD TRAILER     RTL‐TA   HMES538654     2018   STGHT   1DW1A5328JSA09379   ZGPVW     IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES538655     2018   STGHT   1DW1A5328JSA09382   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES538656     2018   STGHT   1DW1A5328JSA09396   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538657     2018   STGHT   1DW1A5328JSA09401   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES538658     2018   STGHT   1DW1A5328JSA09415   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES538659     2018   STGHT   1DW1A5328JSA09429   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538660     2018   STGHT   1DW1A5328JSA09432   ZGPVW     MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES538661     2018   STGHT   1DW1A5328JSA09446   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES538662     2018   STGHT   1DW1A5328JSA09463   ZGPVW     NJ      South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES538663     2018   STGHT   1DW1A5328JSA09477   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES538664     2018   STGHT   1DW1A5329JSA09293   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES538665     2018   STGHT   1DW1A5329JSA09309   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES538666     2018   STGHT   1DW1A5329JSA09312   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538667     2018   STGHT   1DW1A5329JSA09326   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES538668     2018   STGHT   1DW1A5329JSA09343   ZGPVW     MS      Tupelo
 HMES     ROAD TRAILER     RTL‐TA   HMES538669     2018   STGHT   1DW1A5329JSA09357   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES538670     2018   STGHT   1DW1A5329JSA09360   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES538671     2018   STGHT   1DW1A5329JSA09374   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES538672     2018   STGHT   1DW1A5329JSA09388   ZGPVW     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES538673     2018   STGHT   1DW1A5329JSA09391   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES538674     2018   STGHT   1DW1A5329JSA09407   ZGPVW     MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES538675     2018   STGHT   1DW1A5329JSA09410   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES538676     2018   STGHT   1DW1A5329JSA09424   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES538677     2018   STGHT   1DW1A5329JSA09438   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538678     2018   STGHT   1DW1A5329JSA09441   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES538679     2018   STGHT   1DW1A5329JSA09455   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES538680     2018   STGHT   1DW1A5329JSA09469   ZGPVW     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES538681     2018   STGHT   1DW1A5329JSA09472   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538682     2018   STGHT   1DW1A532XJSA09285   ZGPVW     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES538683     2018   STGHT   1DW1A532XJSA09299   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES538684     2018   STGHT   1DW1A532XJSA09304   ZGPVW     IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES538685     2018   STGHT   1DW1A532XJSA09318   ZGPVW     GA      Savannah
 HMES     ROAD TRAILER     RTL‐TA   HMES538686     2018   STGHT   1DW1A532XJSA09321   ZGPVW     UT      Salt Lake City
 HMES     ROAD TRAILER     RTL‐TA   HMES538687     2018   STGHT   1DW1A532XJSA09335   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES538688     2018   STGHT   1DW1A532XJSA09349   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES538689     2018   STGHT   1DW1A532XJSA09352   ZGPVW     MI      Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES538690     2018   STGHT   1DW1A532XJSA09366   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES538691     2018   STGHT   1DW1A532XJSA09383   ZGPVW     WI      Milwaukee
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 147 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES538692     2018   STGHT   1DW1A532XJSA09397   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538693     2018   STGHT   1DW1A532XJSA09402   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES538694     2018   STGHT   1DW1A532XJSA09416   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES538695     2018   STGHT   1DW1A532XJSA09433   ZGPVW     TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES538696     2018   STGHT   1DW1A532XJSA09447   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES538697     2018   STGHT   1DW1A532XJSA09450   ZGPVW     TX        El Paso
 HMES     ROAD TRAILER     RTL‐TA   HMES538698     2018   STGHT   1DW1A532XJSA09464   ZGPVW     SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES538699     2018   STGHT   1DW1A532XJSA09478   ZGPVW     NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES538700     2018   STGHT   1DW1A5320JBA08839   ZGPVW     OH        Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538701     2018   STGHT   1DW1A5320JBA08842   ZGPVW     KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES538706     2018   STGHT   1DW1A5321JBA08851   ZGPVW     MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES538711     2018   STGHT   1DW1A5322JBA08874   ZGPVW     MA        Shrewsbury
 HMES     ROAD TRAILER     RTL‐TA   HMES538714     2018   STGHT   1DW1A5323JBA08852   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES538718     2018   STGHT   1DW1A5324JBA08858   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES538720     2018   STGHT   1DW1A5324JBA08875   ZGPVW     Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES538722     2018   STGHT   1DW1A5325JBA08853   ZGPVW     IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES538723     2018   STGHT   1DW1A5325JBA08867   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES538724     2018   STGHT   1DW1A5325JBA08870   ZGPVW     MI        Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES538727     2018   STGHT   1DW1A5326JBA08859   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES538728     2018   STGHT   1DW1A5326JBA08862   ZGPVW     CA        Tracy
 HMES     ROAD TRAILER     RTL‐TA   HMES538729     2018   STGHT   1DW1A5326JBA08876   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES538731     2018   STGHT   1DW1A5327JBA08840   ZGPVW     TX        Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES538732     2018   STGHT   1DW1A5327JBA08854   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES538734     2018   STGHT   1DW1A5327JBA08871   ZGPVW     MN        Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES538738     2018   STGHT   1DW1A5328JBA08863   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES538740     2018   STGHT   1DW1A5329JBA08838   ZGPVW     IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES538747     2018   STGHT   1DW1A532XJBA08850   ZGPVW     MN        Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES538749     2018   STGHT   1DW1A532XJBA08878   ZGPVW     CA        Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES539000     2017   STGHT   1DW1A5329HS763401   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES539001     2017   STGHT   1DW1A5320HS763402   ZGPVW     MD        Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES539002     2017   STGHT   1DW1A5322HS763403   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES539003     2017   STGHT   1DW1A5324HS763404   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES539004     2017   STGHT   1DW1A5326HS763405   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES539005     2017   STGHT   1DW1A5328HS763406   ZGPVW     TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES539006     2017   STGHT   1DW1A532XHS763407   ZGPVW     SC        Florence
 HMES     ROAD TRAILER     RTL‐TA   HMES539007     2017   STGHT   1DW1A5321HS763408   ZGPVW     IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES539008     2017   STGHT   1DW1A5323HS763409   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES539009     2017   STGHT   1DW1A532XHS763410   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES539010     2017   STGHT   1DW1A5321HS763411   ZGPVW     IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES539011     2017   STGHT   1DW1A5323HS763412   ZGPVW     IL        Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES539012     2017   STGHT   1DW1A5325HS763413   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES539013     2017   STGHT   1DW1A5327HS763414   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES539014     2017   STGHT   1DW1A5329HS763415   ZGPVW     KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES539015     2017   STGHT   1DW1A5320HS763416   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES539016     2017   STGHT   1DW1A5322HS763417   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES539017     2017   STGHT   1DW1A5324HS763418   ZGPVW     NJ        South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES539018     2017   STGHT   1DW1A5326HS763419   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES539019     2017   STGHT   1DW1A5322HS763420   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES539020     2017   STGHT   1DW1A5324HS763421   ZGPVW     IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES539021     2017   STGHT   1DW1A5326HS763422   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES539022     2017   STGHT   1DW1A5328HS763423   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES539023     2017   STGHT   1DW1A532XHS763424   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES539024     2017   STGHT   1DW1A5321HS763425   ZGPVW     GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES539025     2017   STGHT   1DW1A5323HS763426   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES539026     2017   STGHT   1DW1A5325HS763427   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES539027     2017   STGHT   1DW1A5327HS763428   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES539028     2017   STGHT   1DW1A5329HS763429   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES539029     2017   STGHT   1DW1A5325HS763430   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES539030     2017   STGHT   1DW1A5327HS763431   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES539031     2017   STGHT   1DW1A5329HS763432   ZGPVW     KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES539032     2017   STGHT   1DW1A5320HS763433   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES539033     2017   STGHT   1DW1A5322HS763434   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES539034     2017   STGHT   1DW1A5324HS763435   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES539035     2017   STGHT   1DW1A5326HS763436   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES539036     2017   STGHT   1DW1A5328HS763437   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES539037     2017   STGHT   1DW1A532XHS763438   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES539038     2017   STGHT   1DW1A5321HS763439   ZGPVW     NC        Wilmington
 HMES     ROAD TRAILER     RTL‐TA   HMES539039     2017   STGHT   1DW1A5328HS763440   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES539040     2017   STGHT   1DW1A532XHS763441   ZGPVW     MI        Jackson
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 148 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES539041     2017   STGHT   1DW1A5321HS763442   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES539042     2017   STGHT   1DW1A5323HS763443   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES539043     2017   STGHT   1DW1A5325HS763444   ZGPVW     TX      Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES539044     2017   STGHT   1DW1A5327HS763445   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES539045     2017   STGHT   1DW1A5329HS763446   ZGPVW     MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES539046     2017   STGHT   1DW1A5320HS763447   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES539048     2017   STGHT   1DW1A5324HS763449   ZGPVW     MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES539049     2017   STGHT   1DW1A5320HS763450   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES539050     2020   VANGU   5V8VA5325LM009736   VAN       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES539051     2020   VANGU   5V8VA5327LM009737   VAN       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES539052     2020   VANGU   5V8VA5329LM009738   VAN       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES539053     2020   VANGU   5V8VA5320LM009739   VAN       ME      Fairfield
 HMES     ROAD TRAILER     RTL‐TA   HMES539054     2020   VANGU   5V8VA5327LM009740   VAN       CA      Orange
 HMES     ROAD TRAILER     RTL‐TA   HMES539055     2020   VANGU   5V8VA5329LM009741   VAN       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES539056     2020   VANGU   5V8VA5320LM009742   VAN       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES539057     2020   VANGU   5V8VA5322LM009743   VAN       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES539058     2020   VANGU   5V8VA5324LM009744   VAN       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES539059     2020   VANGU   5V8VA5326LM009745   VAN       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES539060     2020   VANGU   5V8VA5328LM009746   VAN       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES539061     2020   VANGU   5V8VA532XLM009747   VAN       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES539062     2020   VANGU   5V8VA5321LM009748   VAN       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES539063     2020   VANGU   5V8VA5323LM009749   VAN       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES539064     2020   VANGU   5V8VA532XLM009750   VAN       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES539065     2020   VANGU   5V8VA5321LM009751   VAN       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES539066     2020   VANGU   5V8VA5323LM009752   VAN       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES539067     2020   VANGU   5V8VA5325LM009753   VAN       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES539068     2020   VANGU   5V8VA5327LM009754   VAN       NJ      Mercerville
 HMES     ROAD TRAILER     RTL‐TA   HMES539069     2020   VANGU   5V8VA5329LM009755   VAN       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES539070     2020   VANGU   5V8VA5320LM009756   VAN       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES539071     2020   VANGU   5V8VA5322LM009757   VAN       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES539072     2020   VANGU   5V8VA5324LM009758   VAN       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES539073     2020   VANGU   5V8VA5326LM009759   VAN       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES539074     2020   VANGU   5V8VA5322LM009760   VAN       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES539075     2020   VANGU   5V8VA5324LM009761   VAN       MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES539076     2020   VANGU   5V8VA5326LM009762   VAN       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES539077     2020   VANGU   5V8VA5328LM009763   VAN       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES539078     2020   VANGU   5V8VA532XLM009764   VAN       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES539079     2020   VANGU   5V8VA5321LM009765   VAN       AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES539080     2020   VANGU   5V8VA5323LM009766   VAN       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES539081     2020   VANGU   5V8VA5325LM009767   VAN       CT      Cheshire
 HMES     ROAD TRAILER     RTL‐TA   HMES539082     2020   VANGU   5V8VA5327LM009768   VAN       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES539083     2020   VANGU   5V8VA5329LM009769   VAN       NY      East Syracuse
 HMES     ROAD TRAILER     RTL‐TA   HMES539084     2020   VANGU   5V8VA5325LM009770   VAN       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES539085     2020   VANGU   5V8VA5327LM009771   VAN       OK      Tulsa
 HMES     ROAD TRAILER     RTL‐TA   HMES539086     2020   VANGU   5V8VA5329LM009772   VAN       MN      Burnsville
 HMES     ROAD TRAILER     RTL‐TA   HMES539087     2020   VANGU   5V8VA5320LM009773   VAN       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES539088     2020   VANGU   5V8VA5322LM009774   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES539089     2020   VANGU   5V8VA5324LM009775   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES539090     2020   VANGU   5V8VA5326LM009776   VAN       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES539091     2020   VANGU   5V8VA5328LM009777   VAN       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES539092     2020   VANGU   5V8VA532XLM009778   VAN       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES539093     2020   VANGU   5V8VA5321LM009779   VAN       MD      Landover
 HMES     ROAD TRAILER     RTL‐TA   HMES539094     2020   VANGU   5V8VA5328LM009780   VAN       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES539095     2020   VANGU   5V8VA532XLM009781   VAN       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES539096     2020   VANGU   5V8VA5321LM009782   VAN       TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES539097     2020   VANGU   5V8VA5323LM009783   VAN       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES539098     2020   VANGU   5V8VA5325LM009784   VAN       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES539099     2020   VANGU   5V8VA5327LM009785   VAN       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES546001     2006   GRTDN   1GRAA06296T521189   SSL       IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES546002     2006   GRTDN   1GRAA06256T521190   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546003     2006   GRTDN   1GRAA06276T521191   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546004     2006   GRTDN   1GRAA06296T521192   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546007     2006   GRTDN   1GRAA06246T521195   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546009     2006   GRTDN   1GRAA06286T521197   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546010     2006   GRTDN   1GRAA062X6T521198   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES546012     2006   GRTDN   1GRAA06246T521200   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546013     2006   GRTDN   1GRAA06266T521201   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546017     2006   GRTDN   1GRAA06236T521205   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546018     2006   GRTDN   1GRAA06256T521206   SSL       IL      McCook
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 149 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES546019     2006   GRTDN   1GRAA06276T521207   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546020     2006   GRTDN   1GRAA06296T521208   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES546021     2006   GRTDN   1GRAA06206T521209   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546022     2006   GRTDN   1GRAA06276T521210   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES546027     2006   GRTDN   1GRAA06266T521215   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546028     2006   GRTDN   1GRAA06286T521216   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546031     2006   GRTDN   1GRAA06236T521219   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546034     2006   GRTDN   1GRAA06236T521222   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546035     2006   GRTDN   1GRAA06256T521223   SSL       OK      Tulsa
 HMES     ROAD TRAILER     RTL‐TA   HMES546036     2006   GRTDN   1GRAA06276T521224   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546042     2006   GRTDN   1GRAA06226T521230   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES546043     2006   GRTDN   1GRAA06246T521231   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES546044     2006   GRTDN   1GRAA06266T521232   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES546045     2006   GRTDN   1GRAA06286T521233   SSL       TN      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546047     2006   GRTDN   1GRAA06216T521235   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES546049     2006   GRTDN   1GRAA06256T521237   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES546050     2006   GRTDN   1GRAA06276T521238   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES546051     2006   GRTDN   1GRAA06296T521239   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546052     2006   GRTDN   1GRAA06256T521240   SSL       NY      Elmira
 HMES     ROAD TRAILER     RTL‐TA   HMES546053     2006   GRTDN   1GRAA06276T521241   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES546054     2006   GRTDN   1GRAA06296T521242   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546055     2006   GRTDN   1GRAA06206T521243   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546059     2006   GRTDN   1GRAA06286T521247   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546061     2006   GRTDN   1GRAA06216T521249   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546062     2006   GRTDN   1GRAA06286T521250   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546065     2006   GRTDN   1GRAA06236T521253   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES546066     2006   GRTDN   1GRAA06256T521254   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES546068     2006   GRTDN   1GRAA06296T521256   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546070     2006   GRTDN   1GRAA06226T521258   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES546071     2006   GRTDN   1GRAA06246T521259   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546072     2006   GRTDN   1GRAA06206T521260   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES546073     2006   GRTDN   1GRAA06226T521261   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES546074     2006   GRTDN   1GRAA06246T521262   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546075     2006   GRTDN   1GRAA06266T521263   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546077     2006   GRTDN   1GRAA062X6T521265   SSL       PQ      Sherbrooke
 HMES     ROAD TRAILER     RTL‐TA   HMES546079     2006   GRTDN   1GRAA06236T521267   SSL       TX      Fort Worth
 HMES     ROAD TRAILER     RTL‐TA   HMES546080     2006   GRTDN   1GRAA06256T521268   SSL       AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES546081     2006   GRTDN   1GRAA06276T521269   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546082     2006   GRTDN   1GRAA06236T521270   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES546083     2006   GRTDN   1GRAA06256T521271   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES546085     2006   GRTDN   1GRAA06296T521273   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546086     2006   GRTDN   1GRAA06206T521274   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546087     2006   GRTDN   1GRAA06226T521275   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546088     2006   GRTDN   1GRAA06246T521276   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546089     2006   GRTDN   1GRAA06266T521277   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546090     2006   GRTDN   1GRAA06286T521278   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546092     2006   GRTDN   1GRAA06266T521280   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546093     2006   GRTDN   1GRAA06286T521281   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546094     2006   GRTDN   1GRAA062X6T521282   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546097     2006   GRTDN   1GRAA06256T521285   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES546098     2006   GRTDN   1GRAA06276T521286   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546099     2006   GRTDN   1GRAA06296T521287   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546100     2006   GRTDN   1GRAA06206T521288   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546106     2006   GRTDN   1GRAA06266T521294   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546108     2006   GRTDN   1GRAA062X6T521296   SSL       IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES546109     2006   GRTDN   1GRAA06216T521297   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546110     2006   GRTDN   1GRAA06236T521298   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546111     2006   GRTDN   1GRAA06256T521299   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546113     2006   GRTDN   1GRAA062X6T521301   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES546114     2006   GRTDN   1GRAA06216T521302   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546115     2006   GRTDN   1GRAA06236T521303   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES546117     2006   GRTDN   1GRAA06276T521305   SSL       IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES546118     2006   GRTDN   1GRAA06296T521306   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES546119     2006   GRTDN   1GRAA06206T521307   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546120     2006   GRTDN   1GRAA06226T521308   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546121     2006   GRTDN   1GRAA06246T521309   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546122     2006   GRTDN   1GRAA06206T521310   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546123     2006   GRTDN   1GRAA06226T521311   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546124     2006   GRTDN   1GRAA06246T521312   SSL       GA      Ellenwood
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 150 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES546125     2006   GRTDN   1GRAA06266T521313   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES546126     2006   GRTDN   1GRAA06286T521314   SSL       IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES546127     2006   GRTDN   1GRAA062X6T521315   SSL       DE        New Castle
 HMES     ROAD TRAILER     RTL‐TA   HMES546128     2006   GRTDN   1GRAA06216T521316   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES546129     2006   GRTDN   1GRAA06236T521317   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546130     2006   GRTDN   1GRAA06256T521318   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546131     2006   GRTDN   1GRAA06276T521319   SSL       PA        Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES546134     2006   GRTDN   1GRAA06276T521322   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546135     2006   GRTDN   1GRAA06296T521323   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546136     2006   GRTDN   1GRAA06206T521324   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546137     2006   GRTDN   1GRAA06226T521325   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES546138     2006   GRTDN   1GRAA06246T521326   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES546141     2006   GRTDN   1GRAA062X6T521329   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546142     2006   GRTDN   1GRAA06266T521330   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES546143     2006   GRTDN   1GRAA06286T521331   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546145     2006   GRTDN   1GRAA06216T521333   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546146     2006   GRTDN   1GRAA06236T521334   SSL       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES546147     2006   GRTDN   1GRAA06256T521335   SSL       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546148     2006   GRTDN   1GRAA06276T521336   SSL       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES546149     2006   GRTDN   1GRAA06296T521337   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546150     2006   GRTDN   1GRAA06206T521338   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546151     2006   GRTDN   1GRAA06226T521339   SSL       FL        Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES546153     2006   GRTDN   1GRAA06206T521341   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546154     2006   GRTDN   1GRAA06226T521342   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES546155     2006   GRTDN   1GRAA06246T521343   SSL       MO        Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES546156     2006   GRTDN   1GRAA06266T521344   SSL       Ontario   Mississauga
 HMES     ROAD TRAILER     RTL‐TA   HMES546157     2006   GRTDN   1GRAA06286T521345   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546158     2006   GRTDN   1GRAA062X6T521346   SSL       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546159     2006   GRTDN   1GRAA06216T521347   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546160     2006   GRTDN   1GRAA06236T521348   SSL       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES546161     2006   GRTDN   1GRAA06256T521349   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546162     2006   GRTDN   1GRAA06216T521350   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546163     2006   GRTDN   1GRAA06236T521351   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546164     2006   GRTDN   1GRAA06256T521352   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546165     2006   GRTDN   1GRAA06276T521353   SSL       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES546166     2006   GRTDN   1GRAA06296T521354   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES546167     2006   GRTDN   1GRAA06206T521355   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546168     2006   GRTDN   1GRAA06226T521356   SSL       IA        Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES546169     2006   GRTDN   1GRAA06246T521357   SSL       MO        Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES546170     2006   GRTDN   1GRAA06266T521358   SSL       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546171     2006   GRTDN   1GRAA06286T521359   SSL       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546173     2006   GRTDN   1GRAA06266T521361   SSL       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES546174     2006   GRTDN   1GRAA06286T521362   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546175     2006   GRTDN   1GRAA062X6T521363   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES546176     2006   GRTDN   1GRAA06216T521364   SSL       RI        Cumberland
 HMES     ROAD TRAILER     RTL‐TA   HMES546178     2006   GRTDN   1GRAA06256T521366   SSL       IL        Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES546179     2006   GRTDN   1GRAA06276T521367   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546180     2006   GRTDN   1GRAA06296T521368   SSL       MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES546182     2006   GRTDN   1GRAA06276T521370   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546183     2006   GRTDN   1GRAA06296T521371   SSL       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546184     2006   GRTDN   1GRAA06206T521372   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES546185     2006   GRTDN   1GRAA06226T521373   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES546186     2006   GRTDN   1GRAA06246T521374   SSL       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546188     2006   GRTDN   1GRAA06286T521376   SSL       GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES546189     2006   GRTDN   1GRAA062X6T521377   SSL       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546190     2006   GRTDN   1GRAA06216T521378   SSL       CA        Pomona
 HMES     ROAD TRAILER     RTL‐TA   HMES546191     2006   GRTDN   1GRAA06236T521379   SSL       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES546192     2006   GRTDN   1GRAA062X6T521380   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546193     2006   GRTDN   1GRAA06216T521381   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546194     2006   GRTDN   1GRAA06236T521382   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546195     2006   GRTDN   1GRAA06256T521383   SSL       IL        Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES546198     2006   GRTDN   1GRAA06206T521386   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546199     2006   GRTDN   1GRAA06226T521387   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546200     2006   GRTDN   1GRAA06246T521388   SSL       NJ        Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES546201     2006   GRTDN   1GRAA06266T521389   SSL       MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546202     2006   GRTDN   1GRAA06226T521390   SSL       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546203     2006   GRTDN   1GRAA06246T521391   SSL       WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES546204     2006   GRTDN   1GRAA06266T521392   SSL       TX        Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES546205     2006   GRTDN   1GRAA06286T521393   SSL       OH        Akron
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 151 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES546206     2006   GRTDN   1GRAA062X6T521394   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES546207     2006   GRTDN   1GRAA06216T521395   SSL       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES546208     2006   GRTDN   1GRAA06236T521396   SSL       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546209     2006   GRTDN   1GRAA06256T521397   SSL       OH        Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546211     2006   GRTDN   1GRAA06296T521399   SSL       NY        Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES546212     2006   GRTDN   1GRAA06216T521400   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546213     2006   GRTDN   1GRAA06236T521401   SSL       OH        Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES546215     2006   GRTDN   1GRAA06276T521403   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546216     2006   GRTDN   1GRAA06296T521404   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546218     2006   GRTDN   1GRAA06226T521406   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES546219     2006   GRTDN   1GRAA06246T521407   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546220     2006   GRTDN   1GRAA06266T521408   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546222     2006   GRTDN   1GRAA06246T521410   SSL       IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES546223     2006   GRTDN   1GRAA06266T521411   SSL       OK        Tulsa
 HMES     ROAD TRAILER     RTL‐TA   HMES546224     2006   GRTDN   1GRAA06286T521412   SSL       TX        Laredo
 HMES     ROAD TRAILER     RTL‐TA   HMES546226     2006   GRTDN   1GRAA06216T521414   SSL       MI        Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES546227     2006   GRTDN   1GRAA06236T521415   SSL       IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546228     2006   GRTDN   1GRAA06256T521416   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546230     2006   GRTDN   1GRAA06296T521418   SSL       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES546231     2006   GRTDN   1GRAA06206T521419   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546232     2006   GRTDN   1GRAA06276T521420   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546233     2006   GRTDN   1GRAA06296T521421   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546234     2006   GRTDN   1GRAA06206T521422   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546235     2006   GRTDN   1GRAA06226T521423   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546236     2006   GRTDN   1GRAA06246T521424   SSL       MD        Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES546237     2006   GRTDN   1GRAA06266T521425   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546239     2006   GRTDN   1GRAA062X6T521427   SSL       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546240     2006   GRTDN   1GRAA06216T521428   SSL       IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES546242     2006   GRTDN   1GRAA062X6T521430   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546243     2006   GRTDN   1GRAA06216T521431   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546244     2006   GRTDN   1GRAA06236T521432   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546245     2006   GRTDN   1GRAA06256T521433   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546246     2006   GRTDN   1GRAA06276T521434   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546248     2006   GRTDN   1GRAA06206T521436   SSL       IL        Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES546249     2006   GRTDN   1GRAA06226T521437   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546251     2006   GRTDN   1GRAA06266T521439   SSL       Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES546252     2006   GRTDN   1GRAA06226T521440   SSL       NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546254     2006   GRTDN   1GRAA06266T521442   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546257     2006   GRTDN   1GRAA06216T521445   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546259     2006   GRTDN   1GRAA06256T521447   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546260     2006   GRTDN   1GRAA06276T521448   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546261     2006   GRTDN   1GRAA06296T521449   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546262     2006   GRTDN   1GRAA06256T521450   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546263     2006   GRTDN   1GRAA06276T521451   SSL       NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES546264     2006   GRTDN   1GRAA06296T521452   SSL       MD        Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES546265     2006   GRTDN   1GRAA06206T521453   SSL       PA        Camp Hill
 HMES     ROAD TRAILER     RTL‐TA   HMES546266     2006   GRTDN   1GRAA06226T521454   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES546267     2006   GRTDN   1GRAA06246T521455   SSL       MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546269     2006   GRTDN   1GRAA06286T521457   SSL       KY        Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES546270     2006   GRTDN   1GRAA062X6T521458   SSL       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES546273     2006   GRTDN   1GRAA062X6T521461   SSL       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES546275     2006   GRTDN   1GRAA06236T521463   SSL       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546276     2006   GRTDN   1GRAA06256T521464   SSL       OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546277     2006   GRTDN   1GRAA06276T521465   SSL       GA        Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES546278     2006   GRTDN   1GRAA06296T521466   SSL       NY        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546280     2006   GRTDN   1GRAA06226T521468   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546281     2006   GRTDN   1GRAA06246T521469   SSL       NJ        South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES546282     2006   GRTDN   1GRAA06206T521470   SSL       NJ        South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES546284     2006   GRTDN   1GRAA06246T521472   SSL       IL        Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES546286     2006   GRTDN   1GRAA06286T521474   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES546287     2006   GRTDN   1GRAA062X6T521475   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546288     2006   GRTDN   1GRAA06216T521476   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546291     2006   GRTDN   1GRAA06276T521479   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546292     2006   GRTDN   1GRAA06236T521480   SSL       MI        Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546293     2006   GRTDN   1GRAA06256T521481   SSL       NY        Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES546294     2006   GRTDN   1GRAA06276T521482   SSL       OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES546295     2006   GRTDN   1GRAA06296T521483   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546296     2006   GRTDN   1GRAA06206T521484   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES546297     2006   GRTDN   1GRAA06226T521485   SSL       OH        Cincinnati
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 152 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES546298     2006   GRTDN   1GRAA06246T521486   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES546299     2006   GRTDN   1GRAA06266T521487   SSL       OH      Copley
 HMES     ROAD TRAILER     RTL‐TA   HMES546300     2006   GRTDN   1GRAA06286T521488   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546302     2006   GRTDN   1GRAA06266T521490   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES546303     2006   GRTDN   1GRAA06286T521491   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES546304     2006   GRTDN   1GRAA062X6T521492   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546305     2006   GRTDN   1GRAA06216T521493   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546306     2006   GRTDN   1GRAA06236T521494   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546307     2006   GRTDN   1GRAA06256T521495   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546308     2006   GRTDN   1GRAA06276T521496   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546310     2006   GRTDN   1GRAA06206T521498   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546311     2006   GRTDN   1GRAA06226T521499   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546312     2006   GRTDN   1GRAA06256T521500   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES546313     2006   GRTDN   1GRAA06276T521501   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546314     2006   GRTDN   1GRAA06296T521502   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546316     2006   GRTDN   1GRAA06226T521504   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546318     2006   GRTDN   1GRAA06266T521506   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546319     2006   GRTDN   1GRAA06286T521507   SSL       TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES546320     2006   GRTDN   1GRAA062X6T521508   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546321     2006   GRTDN   1GRAA06216T521509   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546322     2006   GRTDN   1GRAA06286T521510   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546323     2006   GRTDN   1GRAA062X6T521511   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546325     2006   GRTDN   1GRAA06236T521513   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546326     2006   GRTDN   1GRAA06256T521514   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES546327     2006   GRTDN   1GRAA06276T521515   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546328     2006   GRTDN   1GRAA06296T521516   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546332     2006   GRTDN   1GRAA06206T521520   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546333     2006   GRTDN   1GRAA06226T521521   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546334     2006   GRTDN   1GRAA06246T521522   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546336     2006   GRTDN   1GRAA06286T521524   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546337     2006   GRTDN   1GRAA062X6T521525   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546338     2006   GRTDN   1GRAA06216T521526   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES546339     2006   GRTDN   1GRAA06236T521527   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546340     2006   GRTDN   1GRAA06256T521528   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES546341     2006   GRTDN   1GRAA06276T521529   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES546342     2006   GRTDN   1GRAA06236T521530   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES546343     2006   GRTDN   1GRAA06256T521531   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES546346     2006   GRTDN   1GRAA06206T521534   SSL       GA      Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES546347     2006   GRTDN   1GRAA06226T521535   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546348     2006   GRTDN   1GRAA06246T521536   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES546349     2006   GRTDN   1GRAA06266T521537   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES546350     2006   GRTDN   1GRAA06286T521538   SSL       PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES546352     2006   GRTDN   1GRAA06266T521540   SSL       IA      Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES546353     2006   GRTDN   1GRAA06286T521541   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546354     2006   GRTDN   1GRAA062X6T521542   SSL       IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES546355     2006   GRTDN   1GRAA06216T521543   SSL       MA      North Reading
 HMES     ROAD TRAILER     RTL‐TA   HMES546356     2006   GRTDN   1GRAA06236T521544   SSL       NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES546357     2006   GRTDN   1GRAA06256T521545   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546361     2006   GRTDN   1GRAA06226T521549   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546362     2006   GRTDN   1GRAA06296T521550   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES546364     2006   GRTDN   1GRAA06226T521552   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546365     2006   GRTDN   1GRAA06246T521553   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546367     2006   GRTDN   1GRAA06286T521555   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546370     2006   GRTDN   1GRAA06236T521558   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546371     2006   GRTDN   1GRAA06256T521559   SSL       MI      Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES546372     2006   GRTDN   1GRAA06216T521560   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546373     2006   GRTDN   1GRAA06236T521561   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546374     2006   GRTDN   1GRAA06256T521562   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES546375     2006   GRTDN   1GRAA06276T521563   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546376     2006   GRTDN   1GRAA06296T521564   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546379     2006   GRTDN   1GRAA06246T521567   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES546380     2006   GRTDN   1GRAA06266T521568   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546381     2006   GRTDN   1GRAA06286T521569   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES546384     2006   GRTDN   1GRAA06286T521572   SSL       TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES546385     2006   GRTDN   1GRAA062X6T521573   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546386     2006   GRTDN   1GRAA06216T521574   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546388     2006   GRTDN   1GRAA06256T521576   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546389     2006   GRTDN   1GRAA06276T521577   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546392     2006   GRTDN   1GRAA06276T521580   SSL       TN      Goodlettsville
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 153 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES546393     2006   GRTDN   1GRAA06296T521581   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546394     2006   GRTDN   1GRAA06206T521582   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546395     2006   GRTDN   1GRAA06226T521583   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546396     2006   GRTDN   1GRAA06246T521584   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546398     2006   GRTDN   1GRAA06286T521586   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES546400     2006   GRTDN   1GRAA06216T521588   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546401     2006   GRTDN   1GRAA06236T521589   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES546402     2006   GRTDN   1GRAA062X6T521590   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546403     2006   GRTDN   1GRAA06216T521591   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546404     2006   GRTDN   1GRAA06236T521592   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546405     2006   GRTDN   1GRAA06256T521593   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546406     2006   GRTDN   1GRAA06276T521594   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546407     2006   GRTDN   1GRAA06296T521595   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546408     2006   GRTDN   1GRAA06206T521596   SSL       IN      Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES546409     2006   GRTDN   1GRAA06226T521597   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES546410     2006   GRTDN   1GRAA06246T521598   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES546412     2006   GRTDN   1GRAA06296T521600   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES546414     2006   GRTDN   1GRAA06226T521602   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546415     2006   GRTDN   1GRAA06246T521603   SSL       MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES546417     2006   GRTDN   1GRAA06286T521605   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546421     2006   GRTDN   1GRAA06256T521609   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546422     2006   GRTDN   1GRAA06216T521610   SSL       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546423     2006   GRTDN   1GRAA06236T521611   SSL       MO      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES546425     2006   GRTDN   1GRAA06276T521613   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546426     2006   GRTDN   1GRAA06296T521614   SSL       OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES546427     2006   GRTDN   1GRAA06206T521615   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES546428     2006   GRTDN   1GRAA06226T521616   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES546429     2006   GRTDN   1GRAA06246T521617   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546430     2006   GRTDN   1GRAA06266T521618   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546431     2006   GRTDN   1GRAA06286T521619   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES546433     2006   GRTDN   1GRAA06266T521621   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546435     2006   GRTDN   1GRAA062X6T521623   SSL       MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES546436     2006   GRTDN   1GRAA06216T521624   SSL       VA      Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES546437     2006   GRTDN   1GRAA06236T521625   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546438     2006   GRTDN   1GRAA06256T521626   SSL       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES546439     2006   GRTDN   1GRAA06276T521627   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546440     2006   GRTDN   1GRAA06296T521628   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546444     2006   GRTDN   1GRAA06206T521632   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546446     2006   GRTDN   1GRAA06246T521634   SSL       WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES546447     2006   GRTDN   1GRAA06266T521635   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES546449     2006   GRTDN   1GRAA062X6T521637   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546450     2006   GRTDN   1GRAA06216T521638   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546451     2006   GRTDN   1GRAA06236T521639   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546452     2006   GRTDN   1GRAA062X6T521640   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546453     2006   GRTDN   1GRAA06216T521641   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546456     2006   GRTDN   1GRAA06276T521644   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546457     2006   GRTDN   1GRAA06296T521645   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546458     2006   GRTDN   1GRAA06206T521646   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546459     2006   GRTDN   1GRAA06226T521647   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546460     2006   GRTDN   1GRAA06246T521648   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546461     2006   GRTDN   1GRAA06266T521649   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546462     2006   GRTDN   1GRAA06226T521650   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546468     2006   GRTDN   1GRAA06236T521656   SSL       MO      Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES546470     2006   GRTDN   1GRAA06276T521658   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546472     2006   GRTDN   1GRAA06256T521660   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546473     2006   GRTDN   1GRAA06276T521661   SSL       MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES546475     2006   GRTDN   1GRAA06206T521663   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES546477     2006   GRTDN   1GRAA06246T521665   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546478     2006   GRTDN   1GRAA06266T521666   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546480     2006   GRTDN   1GRAA062X6T521668   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES546481     2006   GRTDN   1GRAA06216T521669   SSL       MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546482     2006   GRTDN   1GRAA06286T521670   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546483     2006   GRTDN   1GRAA062X6T521671   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546484     2006   GRTDN   1GRAA06216T521672   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546486     2006   GRTDN   1GRAA06256T521674   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES546488     2006   GRTDN   1GRAA06296T521676   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546490     2006   GRTDN   1GRAA06226T521678   SSL       NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES546495     2006   GRTDN   1GRAA06266T521683   SSL       PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES546496     2006   GRTDN   1GRAA06286T521684   SSL       GA      Ellenwood
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 154 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES546497     2006   GRTDN   1GRAA062X6T521685   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546498     2006   GRTDN   1GRAA06216T521686   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546501     2006   GRTDN   1GRAA06276T521689   SSL       NY      Maybrook
 HMES     ROAD TRAILER     RTL‐TA   HMES546502     2006   GRTDN   1GRAA06236T521690   SSL       MO      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES546503     2006   GRTDN   1GRAA06256T521691   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES546505     2006   GRTDN   1GRAA06296T521693   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546507     2006   GRTDN   1GRAA06226T521695   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546509     2006   GRTDN   1GRAA06266T521697   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546510     2006   GRTDN   1GRAA06286T521698   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546511     2006   GRTDN   1GRAA062X6T521699   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES546513     2006   GRTDN   1GRAA06246T521701   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES546515     2006   GRTDN   1GRAA06286T521703   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546516     2006   GRTDN   1GRAA062X6T521704   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546517     2006   GRTDN   1GRAA06216T521705   SSL       NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546518     2006   GRTDN   1GRAA06236T521706   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546519     2006   GRTDN   1GRAA06256T521707   SSL       MN      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546520     2006   GRTDN   1GRAA06276T521708   SSL       KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES546521     2006   GRTDN   1GRAA06296T521709   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546522     2006   GRTDN   1GRAA06256T521710   SSL       FL      Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES546523     2006   GRTDN   1GRAA06276T521711   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546524     2006   GRTDN   1GRAA06296T521712   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546525     2006   GRTDN   1GRAA06206T521713   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES546527     2006   GRTDN   1GRAA06246T521715   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546530     2006   GRTDN   1GRAA062X6T521718   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES546531     2006   GRTDN   1GRAA06216T521719   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546532     2006   GRTDN   1GRAA06286T521720   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546534     2006   GRTDN   1GRAA06216T521722   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546535     2006   GRTDN   1GRAA06236T521723   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546538     2006   GRTDN   1GRAA06296T521726   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546539     2006   GRTDN   1GRAA06206T521727   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546540     2006   GRTDN   1GRAA06226T521728   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546541     2006   GRTDN   1GRAA06246T521729   SSL       AR      Little Rock
 HMES     ROAD TRAILER     RTL‐TA   HMES546543     2006   GRTDN   1GRAA06226T521731   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546544     2006   GRTDN   1GRAA06246T521732   SSL       GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES546545     2006   GRTDN   1GRAA06266T521733   SSL       OH      Gallipolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546546     2006   GRTDN   1GRAA06286T521734   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546549     2006   GRTDN   1GRAA06236T521737   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546550     2006   GRTDN   1GRAA06256T521738   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546552     2006   GRTDN   1GRAA06236T521740   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546554     2006   GRTDN   1GRAA06276T521742   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546556     2006   GRTDN   1GRAA06206T521744   SSL       MN      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546557     2006   GRTDN   1GRAA06226T521745   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546558     2006   GRTDN   1GRAA06246T521746   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546559     2006   GRTDN   1GRAA06266T521747   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES546563     2006   GRTDN   1GRAA06286T521751   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546564     2006   GRTDN   1GRAA062X6T521752   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546565     2006   GRTDN   1GRAA06216T521753   SSL       NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES546566     2006   GRTDN   1GRAA06236T521754   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES546567     2006   GRTDN   1GRAA06256T521755   SSL       MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES546569     2006   GRTDN   1GRAA06296T521757   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546570     2006   GRTDN   1GRAA06206T521758   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546571     2006   GRTDN   1GRAA06226T521759   SSL       TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES546573     2006   GRTDN   1GRAA06206T521761   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546576     2006   GRTDN   1GRAA06266T521764   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546577     2006   GRTDN   1GRAA06286T521765   SSL       SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546578     2006   GRTDN   1GRAA062X6T521766   SSL       GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES546580     2006   GRTDN   1GRAA06236T521768   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546582     2006   GRTDN   1GRAA06216T521770   SSL       OH      Toledo
 HMES     ROAD TRAILER     RTL‐TA   HMES546585     2006   GRTDN   1GRAA06276T521773   SSL       GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546587     2006   GRTDN   1GRAA06206T521775   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546591     2006   GRTDN   1GRAA06286T521779   SSL       CA      Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES546593     2006   GRTDN   1GRAA06266T521781   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES546594     2006   GRTDN   1GRAA06286T521782   SSL       IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546595     2006   GRTDN   1GRAA062X6T521783   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546597     2006   GRTDN   1GRAA06236T521785   SSL       IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES546598     2006   GRTDN   1GRAA06256T521786   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546599     2006   GRTDN   1GRAA06276T521787   SSL       MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES546600     2006   GRTDN   1GRAA06296T521788   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546602     2006   GRTDN   1GRAA06276T521790   SSL       GA      Ellenwood
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 155 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES546603     2006   GRTDN   1GRAA06296T521791   SSL       IN      Terre Haute
 HMES     ROAD TRAILER     RTL‐TA   HMES546605     2006   GRTDN   1GRAA06226T521793   SSL       IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES546607     2006   GRTDN   1GRAA06266T521795   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546608     2006   GRTDN   1GRAA06286T521796   SSL       FL      Tampa
 HMES     ROAD TRAILER     RTL‐TA   HMES546612     2006   GRTDN   1GRAA06266T521800   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546615     2006   GRTDN   1GRAA06216T521803   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546616     2006   GRTDN   1GRAA06236T521804   SSL       IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546621     2006   GRTDN   1GRAA06226T521809   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546622     2006   GRTDN   1GRAA06296T521810   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546624     2006   GRTDN   1GRAA06226T521812   SSL       IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES546625     2006   GRTDN   1GRAA06246T521813   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546627     2006   GRTDN   1GRAA06286T521815   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546629     2006   GRTDN   1GRAA06216T521817   SSL       VA      Chesapeake
 HMES     ROAD TRAILER     RTL‐TA   HMES546630     2006   GRTDN   1GRAA06236T521818   SSL       NV      Las Vegas
 HMES     ROAD TRAILER     RTL‐TA   HMES546631     2006   GRTDN   1GRAA06256T521819   SSL       MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES546632     2006   GRTDN   1GRAA06216T521820   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546633     2006   GRTDN   1GRAA06236T521821   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546634     2006   GRTDN   1GRAA06256T521822   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546635     2006   GRTDN   1GRAA06276T521823   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546636     2006   GRTDN   1GRAA06296T521824   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546637     2006   GRTDN   1GRAA06206T521825   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546639     2006   GRTDN   1GRAA06246T521827   SSL       KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES546640     2006   GRTDN   1GRAA06266T521828   SSL       MO      Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES546641     2006   GRTDN   1GRAA06286T521829   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546642     2006   GRTDN   1GRAA06246T521830   SSL       IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546643     2006   GRTDN   1GRAA06266T521831   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546645     2006   GRTDN   1GRAA062X6T521833   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546646     2006   GRTDN   1GRAA06216T521834   SSL       IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES546648     2006   GRTDN   1GRAA06256T521836   SSL       IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546649     2006   GRTDN   1GRAA06276T521837   SSL       WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546650     2006   GRTDN   1GRAA06296T521838   SSL       OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES546652     2006   GRTDN   1GRAA06276T521840   SSL       MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES546654     2006   GRTDN   1GRAA06206T521842   SSL       IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES546656     2006   GRTDN   1GRAA06246T521844   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546658     2006   GRTDN   1GRAA06286T521846   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546660     2006   GRTDN   1GRAA06216T521848   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546662     2006   GRTDN   1GRAA062X6T521850   SSL       IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES546663     2006   GRTDN   1GRAA06216T521851   SSL       MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES546665     2006   GRTDN   1GRAA06256T521853   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546666     2006   GRTDN   1GRAA06276T521854   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES546667     2006   GRTDN   1GRAA06296T521855   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546668     2006   GRTDN   1GRAA06206T521856   SSL       TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546669     2006   GRTDN   1GRAA06226T521857   SSL       OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546670     2006   GRTDN   1GRAA06246T521858   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546673     2006   GRTDN   1GRAA06246T521861   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546675     2006   GRTDN   1GRAA06286T521863   SSL       IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES546676     2006   GRTDN   1GRAA062X6T521864   SSL       OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES546679     2006   GRTDN   1GRAA06256T521867   SSL       IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES546680     2006   GRTDN   1GRAA06276T521868   SSL       OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546681     2006   GRTDN   1GRAA06296T521869   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546682     2006   GRTDN   1GRAA06256T521870   SSL       GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES546683     2006   GRTDN   1GRAA06276T521871   SSL       AL      Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES546685     2006   GRTDN   1GRAA06206T521873   SSL       OH      Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES546686     2006   GRTDN   1GRAA06226T521874   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546687     2006   GRTDN   1GRAA06246T521875   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546688     2006   GRTDN   1GRAA06266T521876   SSL       OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES546689     2006   GRTDN   1GRAA06286T521877   SSL       NJ      Millville
 HMES     ROAD TRAILER     RTL‐TA   HMES546691     2006   GRTDN   1GRAA06216T521879   SSL       IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546693     2006   GRTDN   1GRAA062X6T521881   SSL       MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546694     2006   GRTDN   1GRAA06216T521882   SSL       IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546695     2006   GRTDN   1GRAA06236T521883   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546696     2006   GRTDN   1GRAA06256T521884   SSL       WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES546697     2006   GRTDN   1GRAA06276T521885   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546698     2006   GRTDN   1GRAA06296T521886   SSL       WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546699     2006   GRTDN   1GRAA06206T521887   SSL       OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546700     2006   GRTDN   1GRAA06226T521888   SSL       TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546701     2006   GRTDN   1GRAA06246T521889   SSL       SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES546702     2006   GRTDN   1GRAA06206T521890   SSL       IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546703     2006   GRTDN   1GRAA06226T521891   SSL       IL      Rock Island
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 156 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES546704     2006   GRTDN   1GRAA06246T521892   SSL       OH        North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES546705     2006   GRTDN   1GRAA06266T521893   SSL       IN        Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES546706     2006   GRTDN   1GRAA06286T521894   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546708     2006   GRTDN   1GRAA06216T521896   SSL       IA        Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES546709     2006   GRTDN   1GRAA06236T521897   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546710     2006   GRTDN   1GRAA06256T521898   SSL       IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES546711     2006   GRTDN   1GRAA06276T521899   SSL       NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES546713     2006   GRTDN   1GRAA06216T521901   SSL       PA        Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES546715     2006   GRTDN   1GRAA06256T521903   SSL       MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES546716     2006   GRTDN   1GRAA06276T521904   SSL       OK        Tulsa
 HMES     ROAD TRAILER     RTL‐TA   HMES546717     2006   GRTDN   1GRAA06296T521905   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546718     2006   GRTDN   1GRAA06206T521906   SSL       OH        Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES546719     2006   GRTDN   1GRAA06226T521907   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546720     2006   GRTDN   1GRAA06246T521908   SSL       SC        West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES546722     2006   GRTDN   1GRAA06226T521910   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546723     2006   GRTDN   1GRAA06246T521911   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546724     2006   GRTDN   1GRAA06266T521912   SSL       MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES546727     2006   GRTDN   1GRAA06216T521915   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES546728     2006   GRTDN   1GRAA06236T521916   SSL       CA        Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES546729     2006   GRTDN   1GRAA06256T521917   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546730     2006   GRTDN   1GRAA06276T521918   SSL       OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES546731     2006   GRTDN   1GRAA06296T521919   SSL       IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES546732     2006   GRTDN   1GRAA06256T521920   SSL       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES546734     2006   GRTDN   1GRAA06296T521922   SSL       FL        Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES546735     2006   GRTDN   1GRAA06206T521923   SSL       KS        Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES546737     2006   GRTDN   1GRAA06246T521925   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES546741     2006   GRTDN   1GRAA06216T521929   SSL       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES546742     2006   GRTDN   1GRAA06286T521930   SSL       MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES546743     2006   GRTDN   1GRAA062X6T521931   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546744     2006   GRTDN   1GRAA06216T521932   SSL       PA        Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES546745     2006   GRTDN   1GRAA06236T521933   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546746     2006   GRTDN   1GRAA06256T521934   SSL       NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES546747     2006   GRTDN   1GRAA06276T521935   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546748     2006   GRTDN   1GRAA06296T521936   SSL       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES546750     2006   GRTDN   1GRAA06226T521938   SSL       AR        Little Rock
 HMES     ROAD TRAILER     RTL‐TA   HMES546754     2006   GRTDN   1GRAA06246T521942   SSL       NC        Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES546755     2006   GRTDN   1GRAA06266T521943   SSL       TN        Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES546756     2006   GRTDN   1GRAA06286T521944   SSL       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES546757     2006   GRTDN   1GRAA062X6T521945   SSL       IL        Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES546758     2006   GRTDN   1GRAA06216T521946   SSL       OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES546760     2006   GRTDN   1GRAA06256T521948   SSL       SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES546762     2006   GRTDN   1GRAA06236T521950   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546763     2006   GRTDN   1GRAA06256T521951   SSL       WI        Mosinee
 HMES     ROAD TRAILER     RTL‐TA   HMES546765     2006   GRTDN   1GRAA06296T521953   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546767     2006   GRTDN   1GRAA06226T521955   SSL       MO        Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES546768     2006   GRTDN   1GRAA06246T521956   SSL       NJ        South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES546769     2006   GRTDN   1GRAA06266T521957   SSL       IN        Evansville
 HMES     ROAD TRAILER     RTL‐TA   HMES546770     2006   GRTDN   1GRAA06286T521958   SSL       NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546771     2006   GRTDN   1GRAA062X6T521959   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546772     2006   GRTDN   1GRAA06266T521960   SSL       TN        Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES546773     2006   GRTDN   1GRAA06286T521961   SSL       OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES546774     2006   GRTDN   1GRAA062X6T521962   SSL       Ontario   Brampton
 HMES     ROAD TRAILER     RTL‐TA   HMES546778     2006   GRTDN   1GRAA06276T521966   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546779     2006   GRTDN   1GRAA06296T521967   SSL       IL        Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES546780     2006   GRTDN   1GRAA06206T521968   SSL       TX        Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES546781     2006   GRTDN   1GRAA06226T521969   SSL       AL        Birmingham
 HMES     ROAD TRAILER     RTL‐TA   HMES546782     2006   GRTDN   1GRAA06296T521970   SSL       NY        Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546783     2006   GRTDN   1GRAA06206T521971   SSL       IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES546784     2006   GRTDN   1GRAA06226T521972   SSL       WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES546785     2006   GRTDN   1GRAA06246T521973   SSL       TX        Waco
 HMES     ROAD TRAILER     RTL‐TA   HMES546787     2006   GRTDN   1GRAA06286T521975   SSL       GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES546788     2006   GRTDN   1GRAA062X6T521976   SSL       IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES546789     2006   GRTDN   1GRAA06216T521977   SSL       IL        McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES546790     2006   GRTDN   1GRAA06236T521978   SSL       GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES546791     2006   GRTDN   1GRAA06256T521979   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES546792     2006   GRTDN   1GRAA06216T521980   SSL       IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES546793     2006   GRTDN   1GRAA06236T521981   SSL       IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES546795     2006   GRTDN   1GRAA06276T521983   SSL       NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES546796     2006   GRTDN   1GRAA06296T521984   SSL       IL        Rock Island
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 157 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 HMES     ROAD TRAILER     RTL‐TA   HMES546797     2006   GRTDN   1GRAA06206T521985   SSL       IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES546798     2006   GRTDN   1GRAA06226T521986   SSL       MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES546799     2006   GRTDN   1GRAA06246T521987   SSL       WI        Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES546800     2006   GRTDN   1GRAA06266T521988   SSL       TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES548000     2017   STGHT   1DW1A4827HS763500   ZGPVW     NC        Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES548001     2017   STGHT   1DW1A4829HS763501   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES548002     2017   STGHT   1DW1A4820HS763502   ZGPVW     IL        Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES548003     2017   STGHT   1DW1A4822HS763503   ZGPVW     GA        Jefferson
 HMES     ROAD TRAILER     RTL‐TA   HMES548004     2017   STGHT   1DW1A4824HS763504   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES548005     2017   STGHT   1DW1A4826HS763505   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES548006     2017   STGHT   1DW1A4828HS763506   ZGPVW     IN        South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES548007     2017   STGHT   1DW1A482XHS763507   ZGPVW     PA        Milton
 HMES     ROAD TRAILER     RTL‐TA   HMES548008     2017   STGHT   1DW1A4821HS763508   ZGPVW     MN        Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES548009     2017   STGHT   1DW1A4823HS763509   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES548010     2017   STGHT   1DW1A4825HS763575   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES548011     2017   STGHT   1DW1A4827HS763576   ZGPVW     VA        Richmond
 HMES     ROAD TRAILER     RTL‐TA   HMES548012     2017   STGHT   1DW1A4829HS763577   ZGPVW     GA        Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES548013     2017   STGHT   1DW1A4820HS763578   ZGPVW     Ontario   Woodstock
 HMES     ROAD TRAILER     RTL‐TA   HMES548014     2017   STGHT   1DW1A4822HS763579   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES548015     2017   STGHT   1DW1A4829HS763580   ZGPVW     NC        Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES548016     2017   STGHT   1DW1A4820HS763581   ZGPVW     NJ        Cinnaminson
 HMES     ROAD TRAILER     RTL‐TA   HMES548017     2017   STGHT   1DW1A4822HS763582   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES548018     2017   STGHT   1DW1A4824HS763583   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES548019     2017   STGHT   1DW1A4826HS763584   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES548020     2017   STGHT   1DW1A4828HS763585   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES548021     2017   STGHT   1DW1A482XHS763586   ZGPVW     GA        Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES548022     2017   STGHT   1DW1A4821HS763587   ZGPVW     OH        Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES548023     2017   STGHT   1DW1A4823HS763588   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES548024     2017   STGHT   1DW1A4825HS763589   ZGPVW     CA        Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES548025     2017   STGHT   1DW1A482XHS763510   ZGPVW     IL        Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES548026     2017   STGHT   1DW1A4821HS763511   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES548027     2017   STGHT   1DW1A4823HS763512   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES548028     2017   STGHT   1DW1A4825HS763513   ZGPVW     AL        Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES548029     2017   STGHT   1DW1A4827HS763514   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES548030     2017   STGHT   1DW1A4829HS763515   ZGPVW     WI        Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES548031     2017   STGHT   1DW1A4820HS763516   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES548032     2017   STGHT   1DW1A4822HS763517   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES548033     2017   STGHT   1DW1A4824HS763518   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES548034     2017   STGHT   1DW1A4826HS763519   ZGPVW     NJ        Millville
 HMES     ROAD TRAILER     RTL‐TA   HMES548035     2017   STGHT   1DW1A4821HS763590   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES548036     2017   STGHT   1DW1A4823HS763591   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES548037     2017   STGHT   1DW1A4825HS763592   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES548038     2017   STGHT   1DW1A4827HS763593   ZGPVW     MS        Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES548039     2017   STGHT   1DW1A4829HS763594   ZGPVW     MO        Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES548040     2017   STGHT   1DW1A4820HS763595   ZGPVW     SC        Florence
 HMES     ROAD TRAILER     RTL‐TA   HMES548041     2017   STGHT   1DW1A4822HS763596   ZGPVW     IN        Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES548042     2017   STGHT   1DW1A4824HS763597   ZGPVW     IL        Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES548043     2017   STGHT   1DW1A4826HS763598   ZGPVW     NJ        South Plainfield
 HMES     ROAD TRAILER     RTL‐TA   HMES548044     2017   STGHT   1DW1A4828HS763599   ZGPVW     IL        Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES548045     2017   STGHT   1DW1A4820HS763600   ZGPVW     OH        Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES548046     2017   STGHT   1DW1A4822HS763601   ZGPVW     IA        Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES548047     2017   STGHT   1DW1A4824HS763602   ZGPVW     MI        Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES548048     2017   STGHT   1DW1A4826HS763603   ZGPVW     OH        Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES548049     2017   STGHT   1DW1A4828HS763604   ZGPVW     GA        Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES548050     2017   STGHT   1DW1A482XHS763605   ZGPVW     NC        Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES548051     2017   STGHT   1DW1A4821HS763606   ZGPVW     IL        Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES548052     2017   STGHT   1DW1A4823HS763607   ZGPVW     NY        Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES548053     2017   STGHT   1DW1A4825HS763608   ZGPVW     OH        Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES548054     2017   STGHT   1DW1A4827HS763609   ZGPVW     SC        Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES548055     2017   STGHT   1DW1A4823HS763610   ZGPVW     OH        Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES548056     2017   STGHT   1DW1A4825HS763611   ZGPVW     WI        Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES548057     2017   STGHT   1DW1A4827HS763612   ZGPVW     IN        Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES548058     2017   STGHT   1DW1A4829HS763613   ZGPVW     MI        Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES548059     2017   STGHT   1DW1A4820HS763614   ZGPVW     IA        Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES548060     2017   STGHT   1DW1A4822HS763615   ZGPVW     PA        Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES548061     2017   STGHT   1DW1A4824HS763616   ZGPVW     MI        Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES548062     2017   STGHT   1DW1A4826HS763617   ZGPVW     TN        Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES548063     2017   STGHT   1DW1A4828HS763618   ZGPVW     IL        Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES548064     2017   STGHT   1DW1A482XHS763619   ZGPVW     GA        Ringgold
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 158 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES548065     2017   STGHT   1DW1A4826HS763620   ZGPVW     WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES548066     2017   STGHT   1DW1A4828HS763621   ZGPVW     IL      Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES548067     2017   STGHT   1DW1A482XHS763622   ZGPVW     IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES548068     2017   STGHT   1DW1A4821HS763623   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES548069     2017   STGHT   1DW1A4823HS763624   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES548070     2017   STGHT   1DW1A4825HS763625   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES548071     2017   STGHT   1DW1A4827HS763626   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES548072     2017   STGHT   1DW1A4829HS763627   ZGPVW     MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES548073     2017   STGHT   1DW1A4820HS763628   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES548074     2017   STGHT   1DW1A4822HS763629   ZGPVW     OH      Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES548075     2017   STGHT   1DW1A4822HS763520   ZGPVW     CA      Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES548076     2017   STGHT   1DW1A4824HS763521   ZGPVW     IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES548077     2017   STGHT   1DW1A4826HS763522   ZGPVW     FL      Jacksonville
 HMES     ROAD TRAILER     RTL‐TA   HMES548078     2017   STGHT   1DW1A4828HS763523   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES548079     2017   STGHT   1DW1A482XHS763524   ZGPVW     MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES548080     2017   STGHT   1DW1A4821HS763525   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES548081     2017   STGHT   1DW1A4823HS763526   ZGPVW     MI      Pontiac
 HMES     ROAD TRAILER     RTL‐TA   HMES548082     2017   STGHT   1DW1A4825HS763527   ZGPVW     IA      Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES548083     2017   STGHT   1DW1A4827HS763528   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES548084     2017   STGHT   1DW1A4829HS763529   ZGPVW     NJ      Carlstadt
 HMES     ROAD TRAILER     RTL‐TA   HMES548085     2017   STGHT   1DW1A4825HS763530   ZGPVW     MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES548086     2017   STGHT   1DW1A4827HS763531   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES548087     2017   STGHT   1DW1A4829HS763532   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES548088     2017   STGHT   1DW1A4820HS763533   ZGPVW     GA      Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES548089     2017   STGHT   1DW1A4822HS763534   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES548090     2017   STGHT   1DW1A4824HS763535   ZGPVW     IL      Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES548091     2017   STGHT   1DW1A4826HS763536   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES548092     2017   STGHT   1DW1A4828HS763537   ZGPVW     ME      Fairfield
 HMES     ROAD TRAILER     RTL‐TA   HMES548093     2017   STGHT   1DW1A4829HS763630   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES548094     2017   STGHT   1DW1A4820HS763631   ZGPVW     MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES548095     2017   STGHT   1DW1A4822HS763632   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES548096     2017   STGHT   1DW1A4824HS763633   ZGPVW     MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES548097     2017   STGHT   1DW1A4826HS763634   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES548098     2017   STGHT   1DW1A4828HS763635   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES548099     2017   STGHT   1DW1A482XHS763636   ZGPVW     IA      Des Moines
 HMES     ROAD TRAILER     RTL‐TA   HMES548100     2017   STGHT   1DW1A4821HS763637   ZGPVW     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES548101     2017   STGHT   1DW1A4823HS763638   ZGPVW     NC      Rocky Mount
 HMES     ROAD TRAILER     RTL‐TA   HMES548102     2017   STGHT   1DW1A4825HS763639   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES548103     2017   STGHT   1DW1A4821HS763640   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES548104     2017   STGHT   1DW1A4823HS763641   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES548106     2017   STGHT   1DW1A4821HS763539   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES548107     2017   STGHT   1DW1A4828HS763540   ZGPVW     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES548108     2017   STGHT   1DW1A482XHS763541   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES548109     2017   STGHT   1DW1A4821HS763542   ZGPVW     WI      Eau Claire
 HMES     ROAD TRAILER     RTL‐TA   HMES548110     2017   STGHT   1DW1A4823HS763543   ZGPVW     IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES548111     2017   STGHT   1DW1A4825HS763544   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES548112     2017   STGHT   1DW1A4827HS763545   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES548113     2017   STGHT   1DW1A4829HS763546   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES548114     2017   STGHT   1DW1A4820HS763547   ZGPVW     MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES548115     2017   STGHT   1DW1A4822HS763548   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES548116     2017   STGHT   1DW1A4824HS763549   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES548117     2017   STGHT   1DW1A4820HS763550   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES548118     2017   STGHT   1DW1A4822HS763551   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES548119     2017   STGHT   1DW1A4824HS763552   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES548120     2017   STGHT   1DW1A4825HS763642   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES548121     2017   STGHT   1DW1A4827HS763643   ZGPVW     MS      Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES548122     2017   STGHT   1DW1A4829HS763644   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES548123     2017   STGHT   1DW1A4820HS763645   ZGPVW     MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES548124     2017   STGHT   1DW1A4822HS763646   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES548125     2017   STGHT   1DW1A4824HS763647   ZGPVW     MO      Strafford
 HMES     ROAD TRAILER     RTL‐TA   HMES548126     2017   STGHT   1DW1A4826HS763648   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES548127     2017   STGHT   1DW1A4828HS763649   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES548128     2017   STGHT   1DW1A4824HS763650   ZGPVW     MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES548129     2017   STGHT   1DW1A4826HS763651   ZGPVW     MI      Taylor
 HMES     ROAD TRAILER     RTL‐TA   HMES548130     2017   STGHT   1DW1A4826HS763553   ZGPVW     IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES548131     2017   STGHT   1DW1A4828HS763554   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES548132     2017   STGHT   1DW1A482XHS763555   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES548133     2017   STGHT   1DW1A4821HS763556   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES548134     2017   STGHT   1DW1A4823HS763557   ZGPVW     OH      Cincinnati
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 159 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES548135     2017   STGHT   1DW1A4825HS763558   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES548136     2017   STGHT   1DW1A4827HS763559   ZGPVW     NJ      Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES548137     2017   STGHT   1DW1A4823HS763560   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES548138     2017   STGHT   1DW1A4825HS763561   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES548139     2017   STGHT   1DW1A4827HS763562   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES548140     2017   STGHT   1DW1A4829HS763563   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES548141     2017   STGHT   1DW1A4820HS763564   ZGPVW     FL      Miami
 HMES     ROAD TRAILER     RTL‐TA   HMES548142     2017   STGHT   1DW1A4822HS763565   ZGPVW     PA      Bensalem
 HMES     ROAD TRAILER     RTL‐TA   HMES548143     2017   STGHT   1DW1A4824HS763566   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES548145     2017   STGHT   1DW1A4828HS763568   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES548146     2017   STGHT   1DW1A482XHS763569   ZGPVW     MS      Richland
 HMES     ROAD TRAILER     RTL‐TA   HMES548147     2017   STGHT   1DW1A4826HS763570   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES548148     2017   STGHT   1DW1A4828HS763571   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES548149     2017   STGHT   1DW1A482XHS763572   ZGPVW     NV      Sparks
 HMES     ROAD TRAILER     RTL‐TA   HMES548150     2017   STGHT   1DW1A4821HS763573   ZGPVW     MD      Baltimore
 HMES     ROAD TRAILER     RTL‐TA   HMES548151     2017   STGHT   1DW1A4823HS763574   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES585000     2015   STGHT   1DW1A4828FB577901   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES585001     2015   STGHT   1DW1A482XFB577902   ZGPVW     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES585002     2015   STGHT   1DW1A4821FB577903   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES585003     2015   STGHT   1DW1A4823FB577904   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES585004     2015   STGHT   1DW1A4825FB577905   ZGPVW     PA      Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES585005     2015   STGHT   1DW1A4827FB577906   ZGPVW     MD      Hagerstown
 HMES     ROAD TRAILER     RTL‐TA   HMES585006     2015   STGHT   1DW1A4829FB577907   ZGPVW     PA      Line Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES585007     2015   STGHT   1DW1A4820FB577908   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES585008     2015   STGHT   1DW1A4822FB577909   ZGPVW     NY      Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES585009     2015   STGHT   1DW1A4829FB577910   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES585010     2015   STGHT   1DW1A4820FB577911   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES585011     2015   STGHT   1DW1A4822FB577912   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES585012     2015   STGHT   1DW1A4824FB577913   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES585013     2015   STGHT   1DW1A4826FB577914   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES585014     2015   STGHT   1DW1A4828FB577915   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES585015     2015   STGHT   1DW1A482XFB577916   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES585016     2015   STGHT   1DW1A4821FB577917   ZGPVW     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES585017     2015   STGHT   1DW1A4823FB577918   ZGPVW     NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES585018     2015   STGHT   1DW1A4825FB577919   ZGPVW     MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES585019     2015   STGHT   1DW1A4821FB577920   ZGPVW     CA      Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES585020     2015   STGHT   1DW1A4823FB577921   ZGPVW     IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES585021     2015   STGHT   1DW1A4825FB577922   ZGPVW     NJ      Millville
 HMES     ROAD TRAILER     RTL‐TA   HMES585022     2015   STGHT   1DW1A4827FB577923   ZGPVW     CA      Fontana
 HMES     ROAD TRAILER     RTL‐TA   HMES585023     2015   STGHT   1DW1A4829FB577924   ZGPVW     NC      Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES585024     2015   STGHT   1DW1A4820FB577925   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES585025     2015   STGHT   1DW1A4822FB577926   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES585026     2015   STGHT   1DW1A4824FB577927   ZGPVW     MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES585027     2015   STGHT   1DW1A4826FB577928   ZGPVW     WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES585028     2015   STGHT   1DW1A4828FB577929   ZGPVW     NE      Omaha
 HMES     ROAD TRAILER     RTL‐TA   HMES585029     2015   STGHT   1DW1A4824FB577930   ZGPVW     MI      Pontiac
 HMES     ROAD TRAILER     RTL‐TA   HMES585030     2015   STGHT   1DW1A4826FB577931   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES585031     2015   STGHT   1DW1A4828FB577932   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES585032     2015   STGHT   1DW1A482XFB577933   ZGPVW     WI      Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES585033     2015   STGHT   1DW1A4821FB577934   ZGPVW     IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES585034     2015   STGHT   1DW1A4823FB577935   ZGPVW     OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES585035     2015   STGHT   1DW1A4825FB577936   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES585037     2015   STGHT   1DW1A4829FB577938   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES585038     2015   STGHT   1DW1A4820FB577939   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES585039     2015   STGHT   1DW1A4827FB577940   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES585040     2015   STGHT   1DW1A4829FB577941   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES585041     2015   STGHT   1DW1A4820FB577942   ZGPVW     IN      South Bend
 HMES     ROAD TRAILER     RTL‐TA   HMES585042     2015   STGHT   1DW1A4822FB577943   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES585043     2015   STGHT   1DW1A4824FB577944   ZGPVW     OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES585044     2015   STGHT   1DW1A4826FB577945   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES585045     2015   STGHT   1DW1A4828FB577946   ZGPVW     KS      Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES585046     2015   STGHT   1DW1A482XFB577947   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES585047     2015   STGHT   1DW1A4821FB577948   ZGPVW     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES585048     2015   STGHT   1DW1A4823FB577949   ZGPVW     SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES585049     2015   STGHT   1DW1A482XFB577950   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES585050     2015   STGHT   1DW1A4821FB577951   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES585052     2015   STGHT   1DW1A4825FB577953   ZGPVW     GA      Ellenwood
 HMES     ROAD TRAILER     RTL‐TA   HMES585053     2015   STGHT   1DW1A4827FB577954   ZGPVW     TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES585054     2015   STGHT   1DW1A4829FB577955   ZGPVW     MS      Richland
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 160 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES585055     2015   STGHT   1DW1A4820FB577956   ZGPVW     IL      Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES585056     2015   STGHT   1DW1A4822FB577957   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES585057     2015   STGHT   1DW1A4824FB577958   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES585058     2015   STGHT   1DW1A4826FB577959   ZGPVW     WI      Eau Claire
 HMES     ROAD TRAILER     RTL‐TA   HMES585059     2015   STGHT   1DW1A4822FB577960   ZGPVW     NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES585060     2015   STGHT   1DW1A4824FB577961   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES585061     2015   STGHT   1DW1A4826FB577962   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES585062     2015   STGHT   1DW1A4828FB577963   ZGPVW     MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES585063     2015   STGHT   1DW1A482XFB577964   ZGPVW     SC      West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES585064     2015   STGHT   1DW1A4821FB577965   ZGPVW     IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES585065     2015   STGHT   1DW1A4823FB577966   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES585066     2015   STGHT   1DW1A4825FB577967   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES585067     2015   STGHT   1DW1A4827FB577968   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES585068     2015   STGHT   1DW1A4829FB577969   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES585069     2015   STGHT   1DW1A4825FB577970   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES585070     2015   STGHT   1DW1A4824FB596400   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES585071     2015   STGHT   1DW1A4826FB596401   ZGPVW     WI      Eau Claire
 HMES     ROAD TRAILER     RTL‐TA   HMES585072     2015   STGHT   1DW1A4828FB596402   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES585073     2015   STGHT   1DW1A482XFB596403   ZGPVW     PA      McKees Rocks
 HMES     ROAD TRAILER     RTL‐TA   HMES585074     2015   STGHT   1DW1A4821FB596404   ZGPVW     NC      Raleigh
 HMES     ROAD TRAILER     RTL‐TA   HMES585075     2015   STGHT   1DW1A4823FB596405   ZGPVW     MN      Owatonna
 HMES     ROAD TRAILER     RTL‐TA   HMES585076     2015   STGHT   1DW1A4825FB596406   ZGPVW     CO      Aurora
 HMES     ROAD TRAILER     RTL‐TA   HMES585077     2015   STGHT   1DW1A4827FB596407   ZGPVW     IL      Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES585078     2015   STGHT   1DW1A4829FB596408   ZGPVW     PA      Carlisle
 HMES     ROAD TRAILER     RTL‐TA   HMES585079     2015   STGHT   1DW1A4820FB596409   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES585080     2015   STGHT   1DW1A4827FB596410   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES585081     2015   STGHT   1DW1A4829FB596411   ZGPVW     MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES585082     2015   STGHT   1DW1A4820FB596412   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES585083     2015   STGHT   1DW1A4822FB596413   ZGPVW     ME      Fairfield
 HMES     ROAD TRAILER     RTL‐TA   HMES585084     2015   STGHT   1DW1A4824FB596414   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES585085     2015   STGHT   1DW1A4826FB596415   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES585086     2015   STGHT   1DW1A4828FB596416   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES585087     2015   STGHT   1DW1A482XFB596417   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES585088     2015   STGHT   1DW1A4821FB596418   ZGPVW     MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES585089     2015   STGHT   1DW1A4823FB596419   ZGPVW     WI      Tomah
 HMES     ROAD TRAILER     RTL‐TA   HMES585090     2015   STGHT   1DW1A482XFB596420   ZGPVW     MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES585091     2015   STGHT   1DW1A4821FB596421   ZGPVW     OH      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES585092     2015   STGHT   1DW1A4823FB596422   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES585094     2015   STGHT   1DW1A4827FB596424   ZGPVW     MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES585095     2015   STGHT   1DW1A4829FB596425   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES585096     2015   STGHT   1DW1A4820FB596426   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES585097     2015   STGHT   1DW1A4822FB596427   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585098     2015   STGHT   1DW1A4824FB596428   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES585099     2015   STGHT   1DW1A4826FB596429   ZGPVW     OH      North Lima
 HMES     ROAD TRAILER     RTL‐TA   HMES585100     2015   STGHT   1DW1A4822FB596430   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES585101     2015   STGHT   1DW1A4824FB596431   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES585102     2015   STGHT   1DW1A4826FB596432   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES585103     2015   STGHT   1DW1A4828FB596433   ZGPVW     KY      Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES585104     2015   STGHT   1DW1A482XFB596434   ZGPVW     IA      Council Bluffs
 HMES     ROAD TRAILER     RTL‐TA   HMES585105     2015   STGHT   1DW1A4821FB596435   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES585106     2015   STGHT   1DW1A4823FB596436   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES585107     2015   STGHT   1DW1A4825FB596437   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES585108     2015   STGHT   1DW1A4827FB596438   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES585109     2015   STGHT   1DW1A4829FB596439   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585110     2015   STGHT   1DW1A4825FB596440   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES585111     2015   STGHT   1DW1A4827FB596441   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES585112     2015   STGHT   1DW1A4829FB596442   ZGPVW     AL      Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES585113     2015   STGHT   1DW1A4820FB596443   ZGPVW     MO      Saint Louis
 HMES     ROAD TRAILER     RTL‐TA   HMES585114     2015   STGHT   1DW1A4822FB596444   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES585115     2015   STGHT   1DW1A4824FB596445   ZGPVW     MI      Jackson
 HMES     ROAD TRAILER     RTL‐TA   HMES585116     2015   STGHT   1DW1A4826FB596446   ZGPVW     MN      Coon Rapids
 HMES     ROAD TRAILER     RTL‐TA   HMES585117     2015   STGHT   1DW1A4828FB596447   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES585118     2015   STGHT   1DW1A482XFB596448   ZGPVW     NC      Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES585119     2015   STGHT   1DW1A4821FB596449   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES585120     2015   STGHT   1DW1A4828FB596450   ZGPVW     TX      McAllen
 HMES     ROAD TRAILER     RTL‐TA   HMES585122     2015   STGHT   1DW1A4821FB596452   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES585123     2015   STGHT   1DW1A4823FB596453   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES585124     2015   STGHT   1DW1A4825FB596454   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES585125     2015   STGHT   1DW1A4827FB596455   ZGPVW     IN      Jeffersonville
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 161 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRAILER     RTL‐TA   HMES585126     2015   STGHT   1DW1A4829FB596456   ZGPVW     IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES585127     2015   STGHT   1DW1A4820FB596457   ZGPVW     NC      Durham
 HMES     ROAD TRAILER     RTL‐TA   HMES585128     2015   STGHT   1DW1A4822FB596458   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES585129     2015   STGHT   1DW1A4824FB596459   ZGPVW     FL      Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES585130     2015   STGHT   1DW1A4820FB596460   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES585131     2015   STGHT   1DW1A4822FB596461   ZGPVW     NJ      Hamilton
 HMES     ROAD TRAILER     RTL‐TA   HMES585132     2015   STGHT   1DW1A4824FB596462   ZGPVW     IL      Danville
 HMES     ROAD TRAILER     RTL‐TA   HMES585133     2015   STGHT   1DW1A4826FB596463   ZGPVW     PA      Mountain Top
 HMES     ROAD TRAILER     RTL‐TA   HMES585134     2015   STGHT   1DW1A4828FB596464   ZGPVW     OH      Columbus
 HMES     ROAD TRAILER     RTL‐TA   HMES585135     2015   STGHT   1DW1A482XFB596465   ZGPVW     MI      Gaylord
 HMES     ROAD TRAILER     RTL‐TA   HMES585136     2015   STGHT   1DW1A4821FB596466   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES585137     2015   STGHT   1DW1A4823FB596467   ZGPVW     TN      Knoxville
 HMES     ROAD TRAILER     RTL‐TA   HMES585138     2015   STGHT   1DW1A4825FB596468   ZGPVW     WI      Eau Claire
 HMES     ROAD TRAILER     RTL‐TA   HMES585139     2015   STGHT   1DW1A4827FB596469   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES585140     2015   STGHT   1DW1A4823FB596470   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES585141     2015   STGHT   1DW1A4825FB596471   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES585142     2015   STGHT   1DW1A4827FB596472   ZGPVW     OK      Tulsa
 HMES     ROAD TRAILER     RTL‐TA   HMES585143     2015   STGHT   1DW1A4829FB596473   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES585144     2015   STGHT   1DW1A4820FB596474   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES585145     2015   STGHT   1DW1A4822FB596475   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES585146     2015   STGHT   1DW1A4824FB596476   ZGPVW     IL      Bolingbrook
 HMES     ROAD TRAILER     RTL‐TA   HMES585147     2015   STGHT   1DW1A4826FB596477   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES585148     2015   STGHT   1DW1A4828FB596478   ZGPVW     TN      Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES585149     2015   STGHT   1DW1A482XFB596479   ZGPVW     GA      Marietta
 HMES     ROAD TRAILER     RTL‐TA   HMES585150     2015   STGHT   1DW1A4826FB596480   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585151     2015   STGHT   1DW1A4828FB596481   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585152     2015   STGHT   1DW1A482XFB596482   ZGPVW     IN      Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES585153     2015   STGHT   1DW1A4821FB596483   ZGPVW     IN      Fort Wayne
 HMES     ROAD TRAILER     RTL‐TA   HMES585154     2015   STGHT   1DW1A4823FB596484   ZGPVW     KY      Lexington
 HMES     ROAD TRAILER     RTL‐TA   HMES585155     2015   STGHT   1DW1A4825FB596485   ZGPVW     SC      Piedmont
 HMES     ROAD TRAILER     RTL‐TA   HMES585156     2015   STGHT   1DW1A4827FB596486   ZGPVW     MI      Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES585157     2015   STGHT   1DW1A4829FB596487   ZGPVW     OH      Akron
 HMES     ROAD TRAILER     RTL‐TA   HMES585158     2015   STGHT   1DW1A4820FB596488   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585159     2015   STGHT   1DW1A4822FB596489   ZGPVW     NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES585160     2015   STGHT   1DW1A4829FB596490   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES585161     2015   STGHT   1DW1A4820FB596491   ZGPVW     OH      Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES585162     2015   STGHT   1DW1A4822FB596492   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585163     2015   STGHT   1DW1A4824FB596493   ZGPVW     MI      Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES585164     2015   STGHT   1DW1A4826FB596494   ZGPVW     IL      Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES585165     2015   STGHT   1DW1A4828FB596495   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES585166     2015   STGHT   1DW1A482XFB596496   ZGPVW     IL      Montgomery
 HMES     ROAD TRAILER     RTL‐TA   HMES585167     2015   STGHT   1DW1A4821FB596497   ZGPVW     IL      Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES585168     2015   STGHT   1DW1A4823FB596498   ZGPVW     TX      Irving
 HMES     ROAD TRAILER     RTL‐TA   HMES585169     2015   STGHT   1DW1A4825FB596499   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES585170     2015   STGHT   1DW1A4828FB596500   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585171     2015   STGHT   1DW1A482XFB596501   ZGPVW     WI      Neenah
 HMES     ROAD TRAILER     RTL‐TA   HMES585172     2015   STGHT   1DW1A4821FB596502   ZGPVW     NJ      Millville
 HMES     ROAD TRAILER     RTL‐TA   HMES585173     2015   STGHT   1DW1A4823FB596503   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES585174     2015   STGHT   1DW1A4825FB596504   ZGPVW     WI      Milwaukee
 HMES     ROAD TRAILER     RTL‐TA   HMES585175     2015   STGHT   1DW1A4827FB596505   ZGPVW     IL      Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES585176     2015   STGHT   1DW1A4829FB596506   ZGPVW     OH      Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES585177     2015   STGHT   1DW1A4820FB596507   ZGPVW     TN      Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES585178     2015   STGHT   1DW1A4822FB596508   ZGPVW     FL      Orlando
 HMES     ROAD TRAILER     RTL‐TA   HMES585179     2015   STGHT   1DW1A4824FB596509   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES585180     2015   STGHT   1DW1A4820FB596510   ZGPVW     GA      Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES585181     2015   STGHT   1DW1A4822FB596511   ZGPVW     MO      Sikeston
 HMES     ROAD TRAILER     RTL‐TA   HMES585182     2015   STGHT   1DW1A4824FB596512   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES585183     2015   STGHT   1DW1A4826FB596513   ZGPVW     MI      Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES585184     2015   STGHT   1DW1A4828FB596514   ZGPVW     OH      Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES585185     2015   STGHT   1DW1A482XFB596515   ZGPVW     CA      Bloomington
 HMES     ROAD TRAILER     RTL‐TA   HMES585186     2015   STGHT   1DW1A4821FB596516   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585187     2015   STGHT   1DW1A4823FB596517   ZGPVW     IN      Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585188     2015   STGHT   1DW1A4825FB596518   ZGPVW     NY      Glenmont
 HMES     ROAD TRAILER     RTL‐TA   HMES585189     2015   STGHT   1DW1A4827FB596519   ZGPVW     NY      Williamsville
 HMES     ROAD TRAILER     RTL‐TA   HMES585190     2015   STGHT   1DW1A4823FB596520   ZGPVW     NC      Kernersville
 HMES     ROAD TRAILER     RTL‐TA   HMES585191     2015   STGHT   1DW1A4825FB596521   ZGPVW     MO      Baxter Springs
 HMES     ROAD TRAILER     RTL‐TA   HMES585192     2015   STGHT   1DW1A4827FB596522   ZGPVW     TN      Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES585193     2015   STGHT   1DW1A4829FB596523   ZGPVW     IL      McCook
 HMES     ROAD TRAILER     RTL‐TA   HMES585194     2015   STGHT   1DW1A4820FB596524   ZGPVW     MO      Sikeston
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 162 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 HMES     ROAD TRAILER     RTL‐TA   HMES585195     2015   STGHT   1DW1A4822FB596525   ZGPVW     MI         Birch Run
 HMES     ROAD TRAILER     RTL‐TA   HMES585196     2015   STGHT   1DW1A4824FB596526   ZGPVW     MI         Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES585197     2015   STGHT   1DW1A4826FB596527   ZGPVW     IL         Edwardsville
 HMES     ROAD TRAILER     RTL‐TA   HMES585198     2015   STGHT   1DW1A4828FB596528   ZGPVW     OH         Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES585199     2015   STGHT   1DW1A482XFB596529   ZGPVW     IL         Rockford
 HMES     ROAD TRAILER     RTL‐TA   HMES585200     2015   STGHT   1DW1A4826FB596530   ZGPVW     IN         Indianapolis
 HMES     ROAD TRAILER     RTL‐TA   HMES585201     2015   STGHT   1DW1A4828FB596531   ZGPVW     AL         Decatur
 HMES     ROAD TRAILER     RTL‐TA   HMES585202     2015   STGHT   1DW1A482XFB596532   ZGPVW     IL         Wheeling
 HMES     ROAD TRAILER     RTL‐TA   HMES585203     2015   STGHT   1DW1A4821FB596533   ZGPVW     IL         Chicago Heights
 HMES     ROAD TRAILER     RTL‐TA   HMES585204     2015   STGHT   1DW1A4823FB596534   ZGPVW     IL         Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES585205     2015   STGHT   1DW1A4825FB596535   ZGPVW     MI         Romulus
 HMES     ROAD TRAILER     RTL‐TA   HMES585206     2015   STGHT   1DW1A4827FB596536   ZGPVW     MS         Olive Branch
 HMES     ROAD TRAILER     RTL‐TA   HMES585207     2015   STGHT   1DW1A4829FB596537   ZGPVW     MO         Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES585208     2015   STGHT   1DW1A4820FB596538   ZGPVW     GA         Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES585209     2015   STGHT   1DW1A4822FB596539   ZGPVW     KS         Kansas City
 HMES     ROAD TRAILER     RTL‐TA   HMES585210     2015   STGHT   1DW1A4829FB596540   ZGPVW     SC         West Columbia
 HMES     ROAD TRAILER     RTL‐TA   HMES585211     2015   STGHT   1DW1A4820FB596541   ZGPVW     OH         Bowling Green
 HMES     ROAD TRAILER     RTL‐TA   HMES585212     2015   STGHT   1DW1A4822FB596542   ZGPVW     GA         Conley
 HMES     ROAD TRAILER     RTL‐TA   HMES585213     2015   STGHT   1DW1A4824FB596543   ZGPVW     OH         Brooklyn
 HMES     ROAD TRAILER     RTL‐TA   HMES585214     2015   STGHT   1DW1A4826FB596544   ZGPVW     NY         Maspeth
 HMES     ROAD TRAILER     RTL‐TA   HMES585215     2015   STGHT   1DW1A4828FB596545   ZGPVW     MI         Wayland
 HMES     ROAD TRAILER     RTL‐TA   HMES585216     2015   STGHT   1DW1A482XFB596546   ZGPVW     IN         Terre Haute
 HMES     ROAD TRAILER     RTL‐TA   HMES585217     2015   STGHT   1DW1A4821FB596547   ZGPVW     FL         Boynton Beach
 HMES     ROAD TRAILER     RTL‐TA   HMES585218     2015   STGHT   1DW1A4823FB596548   ZGPVW     PA         Dunmore
 HMES     ROAD TRAILER     RTL‐TA   HMES585219     2015   STGHT   1DW1A4825FB596549   ZGPVW     DE         New Castle
 HMES     ROAD TRAILER     RTL‐TA   HMES585220     2015   STGHT   1DW1A4821FB596550   ZGPVW     IL         Joliet
 HMES     ROAD TRAILER     RTL‐TA   HMES585221     2015   STGHT   1DW1A4823FB596551   ZGPVW     IL         Atlanta
 HMES     ROAD TRAILER     RTL‐TA   HMES585222     2015   STGHT   1DW1A4825FB596552   ZGPVW     OH         Dayton
 HMES     ROAD TRAILER     RTL‐TA   HMES585223     2015   STGHT   1DW1A4827FB596553   ZGPVW     OH         Cincinnati
 HMES     ROAD TRAILER     RTL‐TA   HMES585224     2015   STGHT   1DW1A4829FB596554   ZGPVW     IN         Jeffersonville
 HMES     ROAD TRAILER     RTL‐TA   HMES850437     2013   WABSH   1JJV532D4DL711172   VAN       TX         Houston
 HMES     ROAD TRAILER     RTL‐TA   HMES850438     2013   WABSH   1JJV532D3DL711647   VAN       GA         Ringgold
 HMES     ROAD TRAILER     RTL‐TA   HMES850439     2013   WABSH   1JJV532D2DL713342   VAN       Manitoba   Winnipeg
 HMES     ROAD TRAILER     RTL‐TA   HMES850440     2013   WABSH   1JJV532D3DL713401   VAN       CA         Sun Valley
 HMES     ROAD TRAILER     RTL‐TA   HMES850441     2013   WABSH   1JJV532D3DL713432   VAN       TN         Memphis
 HMES     ROAD TRAILER     RTL‐TA   HMES850442     2013   WABSH   1JJV532D1DL713610   VAN       IL         Rock Island
 HMES     ROAD TRAILER     RTL‐TA   HMES850443     2013   WABSH   1JJV532D6DL712100   VAN       NC         Charlotte
 HMES     ROAD TRAILER     RTL‐TA   HMES850444     2013   WABSH   1JJV532D3DL712104   VAN       OH         Richfield
 HMES     ROAD TRAILER     RTL‐TA   HMES850445     2013   WABSH   1JJV532D9DL712995   VAN       TN         Nashville
 HMES     ROAD TRAILER     RTL‐TA   HMES850446     2013   WABSH   1JJV532D5DL713299   VAN       TN         Goodlettsville
 HMES     ROAD TRAILER     RTL‐TA   HMES850447     2013   WABSH   1JJV532D4DL755107   VAN       WI         Oak Creek
 HMES     ROAD TRAILER     RTL‐TA   HMES850448     2013   WABSH   1JJV532D5DL711357   VAN       TN         Nashville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10324      2023   VOLVO   4V4W19EG3PN616830   VNR42T    IN         Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10325      2023   VOLVO   4V4W19EG5PN616831   VNR42T    IN         Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10326      2023   VOLVO   4V4W19EG7PN616832   VNR42T    IN         Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10327      2023   VOLVO   4V4W19EG9PN616833   VNR42T    IN         Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10328      2023   VOLVO   4V4W19EG0PN616834   VNR42T    IL         Rockford
 HMES     ROAD TRACTOR     RTR‐SA   HMES10329      2023   VOLVO   4V4W19EG2PN616835   VNR42T    IL         Rockford
 HMES     ROAD TRACTOR     RTR‐SA   HMES10330      2023   VOLVO   4V4W19EG4PN616836   VNR42T    IL         Rockford
 HMES     ROAD TRACTOR     RTR‐SA   HMES10331      2023   VOLVO   4V4W19EG6PN616837   VNR42T    IL         Rockford
 HMES     ROAD TRACTOR     RTR‐SA   HMES10332      2023   VOLVO   4V4W19EG8PN616838   VNR42T    NC         Charlotte
 HMES     ROAD TRACTOR     RTR‐SA   HMES10333      2023   VOLVO   4V4W19EGXPN616839   VNR42T    OH         Cincinnati
 HMES     ROAD TRACTOR     RTR‐SA   HMES10334      2023   VOLVO   4V4W19EG6PN616840   VNR42T    OH         Cincinnati
 HMES     ROAD TRACTOR     RTR‐SA   HMES10335      2023   VOLVO   4V4W19EG8PN616841   VNR42T    IN         Evansville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10336      2023   VOLVO   4V4W19EGXPN616842   VNR42T    TN         Knoxville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10337      2023   VOLVO   4V4W19EG1PN616843   VNR42T    TN         Knoxville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10338      2023   VOLVO   4V4W19EG3PN616844   VNR42T    MS         Olive Branch
 HMES     ROAD TRACTOR     RTR‐SA   HMES10339      2023   VOLVO   4V4W19EG5PN616845   VNR42T    MS         Olive Branch
 HMES     ROAD TRACTOR     RTR‐SA   HMES10340      2023   VOLVO   4V4W19EG7PN616846   VNR42T    MS         Olive Branch
 HMES     ROAD TRACTOR     RTR‐SA   HMES10341      2023   VOLVO   4V4W19EG9PN616847   VNR42T    TN         Goodlettsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10342      2023   VOLVO   4V4W19EG0PN616848   VNR42T    OH         Gallipolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10343      2023   VOLVO   4V4W19EG2PN616849   VNR42T    KY         Lexington
 HMES     ROAD TRACTOR     RTR‐SA   HMES10344      2023   VOLVO   4V4W19EG9PN616850   VNR42T    TN         Goodlettsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10345      2023   VOLVO   4V4W19EG0PN616851   VNR42T    AL         Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10346      2023   VOLVO   4V4W19EG2PN616852   VNR42T    AL         Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10347      2023   VOLVO   4V4W19EG4PN616853   VNR42T    IN         Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10348      2023   VOLVO   4V4W19EG6PN616854   VNR42T    AL         Decatur
 HMES     ROAD TRACTOR     RTR‐SA   HMES10349      2023   VOLVO   4V4W19EG8PN616855   VNR42T    IN         Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10350      2023   VOLVO   4V4W19EGXPN616856   VNR42T    AL         Decatur
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 163 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐SA   HMES10351     2023   VOLVO   4V4W19EG1PN616857   VNR42T    AL      Decatur
 HMES     ROAD TRACTOR     RTR‐SA   HMES10352     2023   VOLVO   4V4W19EG3PN616858   VNR42T    AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10353     2023   VOLVO   4V4W19EG5PN616859   VNR42T    AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10354     2023   VOLVO   4V4W19EG1PN616860   VNR42T    AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10355     2023   VOLVO   4V4W19EG3PN616861   VNR42T    TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10356     2023   VOLVO   4V4W19EG5PN616862   VNR42T    NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10357     2023   VOLVO   4V4W19EG7PN616863   VNR42T    SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐SA   HMES10358     2023   VOLVO   4V4W19EG9PN616864   VNR42T    OH      North Lima
 HMES     ROAD TRACTOR     RTR‐SA   HMES10359     2023   VOLVO   4V4W19EG0PN616865   VNR42T    OH      North Lima
 HMES     ROAD TRACTOR     RTR‐SA   HMES10360     2023   VOLVO   4V4W19EG2PN616866   VNR42T    NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10361     2023   VOLVO   4V4W19EG4PN616867   VNR42T    SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐SA   HMES10362     2023   VOLVO   4V4W19EG6PN616868   VNR42T    NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10363     2023   VOLVO   4V4W19EG8PN616869   VNR42T    SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐SA   HMES10364     2023   VOLVO   4V4W19EG4PN616870   VNR42T    IN      South Bend
 HMES     ROAD TRACTOR     RTR‐SA   HMES10365     2023   VOLVO   4V4W19EG6PN616871   VNR42T    OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐SA   HMES10366     2023   VOLVO   4V4W19EG8PN616872   VNR42T    IN      South Bend
 HMES     ROAD TRACTOR     RTR‐SA   HMES10367     2023   VOLVO   4V4W19EGXPN616873   VNR42T    OH      Akron
 HMES     ROAD TRACTOR     RTR‐SA   HMES10368     2023   VOLVO   4V4W19EG1PN616874   VNR42T    OH      Akron
 HMES     ROAD TRACTOR     RTR‐SA   HMES10369     2023   VOLVO   4V4W19EG3PN616875   VNR42T    OH      Akron
 HMES     ROAD TRACTOR     RTR‐SA   HMES10370     2023   VOLVO   4V4W19EG5PN616876   VNR42T    OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐SA   HMES10371     2023   VOLVO   4V4W19EG7PN616877   VNR42T    OH      Akron
 HMES     ROAD TRACTOR     RTR‐SA   HMES10372     2023   VOLVO   4V4W19EG9PN616878   VNR42T    OH      Akron
 HMES     ROAD TRACTOR     RTR‐SA   HMES10373     2023   VOLVO   4V4W19EG0PN616879   VNR42T    OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐SA   HMES10374     2023   VOLVO   4V4W19EG7PN616880   VNR42T    MI      Romulus
 HMES     ROAD TRACTOR     RTR‐SA   HMES10375     2023   VOLVO   4V4W19EG7PN616927   VNR42T    MI      Romulus
 HMES     ROAD TRACTOR     RTR‐SA   HMES10376     2023   VOLVO   4V4W19EG9PN616928   VNR42T    MI      Romulus
 HMES     ROAD TRACTOR     RTR‐SA   HMES10377     2023   VOLVO   4V4W19EG0PN616929   VNR42T    MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐SA   HMES10378     2023   VOLVO   4V4W19EG7PN616930   VNR42T    MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐SA   HMES10379     2023   VOLVO   4V4W19EG9PN616931   VNR42T    MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐SA   HMES10380     2023   VOLVO   4V4W19EG0PN616932   VNR42T    IL      McCook
 HMES     ROAD TRACTOR     RTR‐SA   HMES10381     2023   VOLVO   4V4W19EG2PN616933   VNR42T    IL      McCook
 HMES     ROAD TRACTOR     RTR‐SA   HMES10382     2023   VOLVO   4V4W19EG4PN616934   VNR42T    IL      McCook
 HMES     ROAD TRACTOR     RTR‐SA   HMES10383     2023   VOLVO   4V4W19EG6PN616935   VNR42T    IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10384     2023   VOLVO   4V4W19EG8PN616936   VNR42T    IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10385     2023   VOLVO   4V4W19EGXPN616937   VNR42T    IL      McCook
 HMES     ROAD TRACTOR     RTR‐SA   HMES10386     2023   VOLVO   4V4W19EG1PN616938   VNR42T    OH      Columbus
 HMES     ROAD TRACTOR     RTR‐SA   HMES10387     2023   VOLVO   4V4W19EG3PN616939   VNR42T    IL      McCook
 HMES     ROAD TRACTOR     RTR‐SA   HMES10388     2023   VOLVO   4V4W19EGXPN616940   VNR42T    IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐SA   HMES10389     2023   VOLVO   4V4W19EG1PN616941   VNR42T    IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐SA   HMES10390     2023   VOLVO   4V4W19EG3PN616942   VNR42T    IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐SA   HMES10391     2023   VOLVO   4V4W19EG5PN616943   VNR42T    IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐SA   HMES10392     2023   VOLVO   4V4W19EG7PN616944   VNR42T    IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐SA   HMES10393     2023   VOLVO   4V4W19EG9PN616945   VNR42T    IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐SA   HMES10394     2023   VOLVO   4V4W19EG0PN616946   VNR42T    OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐SA   HMES10395     2023   VOLVO   4V4W19EG2PN616947   VNR42T    IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐SA   HMES10396     2023   VOLVO   4V4W19EG4PN616948   VNR42T    IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐SA   HMES10397     2023   VOLVO   4V4W19EG6PN616949   VNR42T    IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐SA   HMES10398     2023   VOLVO   4V4W19EG2PN616950   VNR42T    IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐SA   HMES10399     2023   VOLVO   4V4W19EG4PN616951   VNR42T    IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐SA   HMES10400     2023   VOLVO   4V4W19EG6PN616952   VNR42T    MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐SA   HMES10401     2023   VOLVO   4V4W19EG8PN616953   VNR42T    MN      Burnsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10402     2023   VOLVO   4V4W19EGXPN616954   VNR42T    MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐SA   HMES10403     2023   VOLVO   4V4W19EG1PN616955   VNR42T    OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐SA   HMES10404     2023   VOLVO   4V4W19EG3PN616956   VNR42T    MI      Wayland
 HMES     ROAD TRACTOR     RTR‐SA   HMES10405     2023   VOLVO   4V4W19EG5PN616957   VNR42T    MI      Wayland
 HMES     ROAD TRACTOR     RTR‐SA   HMES10406     2023   VOLVO   4V4W19EG7PN616958   VNR42T    MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐SA   HMES10407     2023   VOLVO   4V4W19EG9PN616959   VNR42T    MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐SA   HMES10408     2023   VOLVO   4V4W19EG5PN616960   VNR42T    MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐SA   HMES10409     2023   VOLVO   4V4W19EG7PN616961   VNR42T    MI      Wayland
 HMES     ROAD TRACTOR     RTR‐SA   HMES10410     2023   VOLVO   4V4W19EG9PN616962   VNR42T    OH      North Lima
 HMES     ROAD TRACTOR     RTR‐SA   HMES10411     2023   VOLVO   4V4W19EG0PN616963   VNR42T    OH      North Lima
 HMES     ROAD TRACTOR     RTR‐SA   HMES10412     2023   VOLVO   4V4W19EG2PN616964   VNR42T    MI      Wayland
 HMES     ROAD TRACTOR     RTR‐SA   HMES10413     2023   VOLVO   4V4W19EG4PN616965   VNR42T    MI      Wayland
 HMES     ROAD TRACTOR     RTR‐SA   HMES10414     2023   VOLVO   4V4W19EG6PN616966   VNR42T    MI      Wayland
 HMES     ROAD TRACTOR     RTR‐SA   HMES10415     2023   VOLVO   4V4W19EG8PN616967   VNR42T    MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐SA   HMES10416     2023   VOLVO   4V4W19EGXPN616968   VNR42T    IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10417     2023   VOLVO   4V4W19EG1PN616969   VNR42T    IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10418     2023   VOLVO   4V4W19EG8PN616970   VNR42T    IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐SA   HMES10419     2023   VOLVO   4V4W19EGXPN616971   VNR42T    IN      Indianapolis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 164 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐SA   HMES10420     2023   VOLVO   4V4W19EG1PN616972   VNR42T    IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10421     2023   VOLVO   4V4W19EG3PN616973   VNR42T    IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10422     2023   VOLVO   4V4W19EG5PN616974   VNR42T    IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10423     2023   VOLVO   4V4W19EG7PN616975   VNR42T    IL      Rockford
 HMES     ROAD TRACTOR     RTR‐SA   HMES10424     2023   VOLVO   4V4W19EG9PN616976   VNR42T    IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10425     2023   VOLVO   4V4W19EG0PN616977   VNR42T    IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10426     2023   VOLVO   4V4W19EG2PN616978   VNR42T    OH      Columbus
 HMES     ROAD TRACTOR     RTR‐SA   HMES10427     2023   VOLVO   4V4W19EG4PN616979   VNR42T    OH      Dayton
 HMES     ROAD TRACTOR     RTR‐SA   HMES10428     2023   VOLVO   4V4W19EG0PN616980   VNR42T    OH      Akron
 HMES     ROAD TRACTOR     RTR‐SA   HMES10429     2023   VOLVO   4V4W19EG2PN616981   VNR42T    WI      Neenah
 HMES     ROAD TRACTOR     RTR‐SA   HMES10430     2023   VOLVO   4V4W19EG4PN616982   VNR42T    IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐SA   HMES10431     2023   VOLVO   4V4W19EG6PN616983   VNR42T    AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10432     2023   VOLVO   4V4W19EG8PN616984   VNR42T    WI      Neenah
 HMES     ROAD TRACTOR     RTR‐SA   HMES10433     2023   VOLVO   4V4W19EGXPN616985   VNR42T    OH      Dayton
 HMES     ROAD TRACTOR     RTR‐SA   HMES10434     2023   VOLVO   4V4W19EG1PN616986   VNR42T    IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐SA   HMES10435     2023   VOLVO   4V4W19EG3PN616987   VNR42T    KY      Lexington
 HMES     ROAD TRACTOR     RTR‐SA   HMES10436     2023   VOLVO   4V4W19EG5PN616988   VNR42T    IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐SA   HMES10437     2023   VOLVO   4V4W19EG7PN616989   VNR42T    IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐SA   HMES10438     2023   VOLVO   4V4W19EG3PN616990   VNR42T    IL      Joliet
 HMES     ROAD TRACTOR     RTR‐SA   HMES10439     2023   VOLVO   4V4W19EG5PN616991   VNR42T    KY      Lexington
 HMES     ROAD TRACTOR     RTR‐SA   HMES10440     2023   VOLVO   4V4W19EG7PN616992   VNR42T    WI      Neenah
 HMES     ROAD TRACTOR     RTR‐SA   HMES10441     2023   VOLVO   4V4W19EG9PN616993   VNR42T    WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐SA   HMES10442     2023   VOLVO   4V4W19EG0PN616994   VNR42T    IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10443     2023   VOLVO   4V4W19EG2PN616995   VNR42T    KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐SA   HMES10444     2023   VOLVO   4V4W19EG4PN616996   VNR42T    IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10445     2023   VOLVO   4V4W19EG6PN616997   VNR42T    IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10446     2023   VOLVO   4V4W19EG8PN616998   VNR42T    IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10447     2023   VOLVO   4V4W19EGXPN616999   VNR42T    IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10448     2023   VOLVO   4V4W19EG0PN617000   VNR42T    IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10449     2023   VOLVO   4V4W19EG5PN617011   VNR42T    IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10450     2023   VOLVO   4V4W19EG9PN616881   VNR42T    KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐SA   HMES10451     2023   VOLVO   4V4W19EG0PN616882   VNR42T    AL      Decatur
 HMES     ROAD TRACTOR     RTR‐SA   HMES10452     2023   VOLVO   4V4W19EG2PN616883   VNR42T    GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐SA   HMES10453     2023   VOLVO   4V4W19EG4PN616884   VNR42T    GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐SA   HMES10454     2023   VOLVO   4V4W19EG6PN616885   VNR42T    GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐SA   HMES10455     2023   VOLVO   4V4W19EG8PN616886   VNR42T    AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10456     2023   VOLVO   4V4W19EGXPN616887   VNR42T    GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐SA   HMES10457     2023   VOLVO   4V4W19EG1PN616888   VNR42T    IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10458     2023   VOLVO   4V4W19EG3PN616889   VNR42T    IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10459     2023   VOLVO   4V4W19EGXPN616890   VNR42T    GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐SA   HMES10460     2023   VOLVO   4V4W19EG1PN616891   VNR42T    GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐SA   HMES10461     2023   VOLVO   4V4W19EG3PN616892   VNR42T    GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐SA   HMES10462     2023   VOLVO   4V4W19EG5PN616893   VNR42T    AL      Decatur
 HMES     ROAD TRACTOR     RTR‐SA   HMES10463     2023   VOLVO   4V4W19EG7PN616894   VNR42T    IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10464     2023   VOLVO   4V4W19EG9PN616895   VNR42T    GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐SA   HMES10465     2023   VOLVO   4V4W19EG0PN616896   VNR42T    IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐SA   HMES10466     2023   VOLVO   4V4W19EG2PN616897   VNR42T    TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10467     2023   VOLVO   4V4W19EG4PN616898   VNR42T    AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10468     2023   VOLVO   4V4W19EG6PN616899   VNR42T    AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10469     2023   VOLVO   4V4W19EG9PN616900   VNR42T    TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10470     2023   VOLVO   4V4W19EG0PN616901   VNR42T    AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐SA   HMES10471     2023   VOLVO   4V4W19EG2PN616902   VNR42T    OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐SA   HMES10472     2023   VOLVO   4V4W19EG4PN616903   VNR42T    AL      Decatur
 HMES     ROAD TRACTOR     RTR‐SA   HMES10473     2023   VOLVO   4V4W19EGXPN616906   VNR42T    TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10474     2023   VOLVO   4V4W19EG1PN616907   VNR42T    IN      South Bend
 HMES     ROAD TRACTOR     RTR‐SA   HMES10475     2023   VOLVO   4V4W19EG3PN616908   VNR42T    GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐SA   HMES10476     2023   VOLVO   4V4W19EG5PN616909   VNR42T    GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐SA   HMES10477     2023   VOLVO   4V4W19EG1PN616910   VNR42T    NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10478     2023   VOLVO   4V4W19EG3PN616911   VNR42T    IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐SA   HMES10479     2023   VOLVO   4V4W19EG5PN616912   VNR42T    TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10480     2023   VOLVO   4V4W19EG7PN616913   VNR42T    IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10481     2023   VOLVO   4V4W19EG9PN616914   VNR42T    OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10482     2023   VOLVO   4V4W19EG0PN616915   VNR42T    OH      North Lima
 HMES     ROAD TRACTOR     RTR‐SA   HMES10483     2023   VOLVO   4V4W19EG2PN616916   VNR42T    IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10484     2023   VOLVO   4V4W19EG4PN616917   VNR42T    IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐SA   HMES10485     2023   VOLVO   4V4W19EG6PN616918   VNR42T    OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐SA   HMES10486     2023   VOLVO   4V4W19EG8PN616919   VNR42T    NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10487     2023   VOLVO   4V4W19EG4PN616920   VNR42T    IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10488     2023   VOLVO   4V4W19EG5PN616926   VNR42T    NC      Kernersville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 165 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐SA   HMES10489     2023   VOLVO   4V4W19EG7PN617012   VNR42T    GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐SA   HMES10490     2023   VOLVO   4V4W19EG9PN617013   VNR42T    SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐SA   HMES10491     2023   VOLVO   4V4W19EG0PN617014   VNR42T    IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐SA   HMES10492     2023   VOLVO   4V4W19EG2PN617015   VNR42T    MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐SA   HMES10493     2023   VOLVO   4V4W19EG3PN621073   VNR42T    NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐SA   HMES10494     2023   VOLVO   4V4W19EG5PN621074   VNR42T    NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐SA   HMES10495     2023   VOLVO   4V4W19EG7PN621075   VNR42T    NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐SA   HMES10496     2023   VOLVO   4V4W19EG9PN621076   VNR42T    NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐SA   HMES10497     2023   VOLVO   4V4W19EG0PN621077   VNR42T    GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐SA   HMES10498     2023   VOLVO   4V4W19EG2PN621078   VNR42T    SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐SA   HMES10499     2023   VOLVO   4V4W19EG4PN621079   VNR42T    SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES13001     2013   FRGHT   1FVXA7CGXDDFB3917   CL120     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15000     2015   FRGHT   3AKGGEDV1FSGH9857   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES15006     2015   FRGHT   3AKGGEDV2FSGK3303   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES15007     2015   FRGHT   3AKGGEDV4FSGK3304   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15010     2015   FRGHT   3AKGGEDVXFSGK3307   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15011     2015   FRGHT   3AKGGEDV1FSGK3308   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES15012     2015   FRGHT   3AKGGEDV3FSGK3309   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES15013     2015   FRGHT   3AKGGEDVXFSGK3310   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15014     2015   FRGHT   3AKGGEDV1FSGK3311   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES15016     2015   FRGHT   3AKGGEDV5FSGK3313   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15017     2015   FRGHT   3AKGGEDV7FSGK3314   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES15021     2015   FRGHT   3AKGGEDV4FSGK3318   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES15022     2015   FRGHT   3AKGGEDV6FSGK3319   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15024     2015   FRGHT   3AKGGEDV4FSGK3321   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES15029     2015   FRGHT   3AKGGEDV3FSGK3326   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15030     2015   FRGHT   3AKGGEDV5FSGK3327   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES15033     2015   FRGHT   3AKGGEDV5FSGK3330   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15034     2015   FRGHT   3AKGGEDV7FSGK3331   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES15036     2015   FRGHT   3AKGGEDV0FSGK3333   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES15038     2015   FRGHT   3AKGGEDV4FSGK3335   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15039     2015   FRGHT   3AKGGEDV6FSGK3336   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES15041     2015   FRGHT   3AKGGEDVXFSGK3338   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES15046     2015   FRGHT   3AKGGEDV3FSGK3343   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES15048     2015   FRGHT   3AKGGEDV7FSGK3345   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES15049     2015   FRGHT   3AKGGEDV9FSGK3346   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15050     2015   FRGHT   3AKGGEDV0FSGK3347   CASCA     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15051     2015   FRGHT   3AKGGEDV2FSGK3348   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15052     2015   FRGHT   3AKGGEDV4FSGK3349   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15053     2015   FRGHT   3AKGGEDV0FSGK3350   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES15055     2015   FRGHT   3AKGGEDV4FSGK3352   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15057     2015   FRGHT   3AKGGEDV8FSGK3354   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES15058     2015   FRGHT   3AKGGEDVXFSGK3355   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES15059     2015   FRGHT   3AKGGEDV1FSGK3356   CASCA     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15061     2015   FRGHT   3AKGGEDV5FSGK3358   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15063     2015   FRGHT   3AKGGEDV3FSGK3360   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES15064     2015   FRGHT   3AKGGEDV5FSGK3361   CASCA     TN      Nashville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15066     2015   FRGHT   3AKGGEDV9FSGK3363   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15067     2015   FRGHT   3AKGGEDV0FSGK3364   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15068     2015   FRGHT   3AKGGEDV2FSGK3365   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15071     2015   FRGHT   3AKGGEDV8FSGK3368   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES15072     2015   FRGHT   3AKGGEDVXFSGK3369   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES15073     2015   FRGHT   3AKGGEDV6FSGK3370   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES15074     2015   FRGHT   3AKGGEDV8FSGK3371   CASCA     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15077     2015   FRGHT   3AKGGEDV3FSGK3374   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES15078     2015   FRGHT   3AKGGEDV5FSGK3375   CASCA     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15082     2015   FRGHT   3AKGGEDV2FSGK3379   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15084     2015   FRGHT   3AKGGEDV0FSGK3381   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES15085     2015   FRGHT   3AKGGEDV2FSGK3382   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15086     2015   FRGHT   3AKGGEDV4FSGK3383   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15094     2015   FRGHT   3AKGGEDV3FSGK3391   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15096     2015   FRGHT   3AKGGEDV7FSGK3393   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15102     2015   FRGHT   3AKGGEDV8FSGK3399   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15104     2015   FRGHT   3AKGGEDV2FSGK3401   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15105     2015   FRGHT   3AKGGEDV4FSGK3402   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15109     2015   FRGHT   3AKGGEDV1FSGK3406   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES15111     2015   FRGHT   3AKGGEDV5FSGK3408   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15112     2015   FRGHT   3AKGGEDV7FSGK3409   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15113     2015   FRGHT   3AKGGEDV3FSGK3410   CASCA     MO      Sikeston
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 166 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES15115     2015   FRGHT   3AKGGEDV7FSGK3412   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15116     2015   FRGHT   3AKGGEDV9FSGK3413   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15118     2015   FRGHT   3AKGGEDV2FSGK3415   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES15119     2015   FRGHT   3AKGGEDV4FSGK3416   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES15121     2015   FRGHT   3AKGGEDV8FSGK3418   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15122     2015   FRGHT   3AKGGEDVXFSGK3419   CASCA     TX      Irving
 HMES     ROAD TRACTOR     RTR‐TA   HMES15125     2015   FRGHT   3AKGGEDVXFSGK3422   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES15126     2015   FRGHT   3AKGGEDV1FSGK3423   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES15132     2015   FRGHT   3AKGGEDV2FSGK3429   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15134     2015   FRGHT   3AKGGEDV0FSGK3431   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15135     2015   FRGHT   3AKGGEDV2FSGK3432   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES15136     2015   FRGHT   3AKGGEDV4FSGK3433   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15137     2015   FRGHT   3AKGGEDV6FSGK3434   CASCA     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15138     2015   FRGHT   3AKGGEDV8FSGK3435   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15140     2015   FRGHT   3AKGGEDV1FSGK3437   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15141     2015   FRGHT   3AKGGEDV3FSGK3438   CASCA     MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES15146     2015   FRGHT   3AKGGEDV7FSGK3443   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15149     2015   FRGHT   3AKGGEDV2FSGK3446   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15153     2015   FRGHT   3AKGGEDV4FSGK3450   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15156     2015   FRGHT   3AKGGEDVXFSGK3453   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES15159     2015   FRGHT   3AKGGEDV5FSGK3456   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES15161     2015   FRGHT   3AKGGEDV9FSGK3458   CASCA     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15163     2015   FRGHT   3AKGGEDV7FSGK3460   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES15164     2015   FRGHT   3AKGGEDV9FSGK3461   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15165     2015   FRGHT   3AKGGEDV0FSGK3462   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES15167     2015   FRGHT   3AKGGEDV4FSGK3464   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES15168     2015   FRGHT   3AKGGEDV6FSGK3465   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES15169     2015   FRGHT   3AKGGEDV8FSGK3466   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES15172     2015   FRGHT   3AKGGEDV3FSGK3469   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15173     2015   FRGHT   3AKGGEDVXFSGK3470   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES15174     2015   FRGHT   3AKGGEDV1FSGK3471   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15176     2015   FRGHT   3AKGGEDV5FSGK3473   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES15178     2015   FRGHT   3AKGGEDV9FSGK3475   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES15179     2015   FRGHT   3AKGGEDV0FSGK3476   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES15180     2015   FRGHT   3AKGGEDV2FSGK3477   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15181     2015   FRGHT   3AKGGEDV4FSGK3478   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15190     2015   FRGHT   3AKGGEDV5FSGK3487   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15191     2015   FRGHT   3AKGGEDV7FSGK3488   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15192     2015   FRGHT   3AKGGEDV9FSGK3489   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES15193     2015   FRGHT   3AKGGEDV5FSGK3490   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES15196     2015   FRGHT   3AKGGEDV0FSGK3493   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15198     2015   FRGHT   3AKGGEDV4FSGK3495   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES15201     2015   FRGHT   3AKGGEDVXFSGK3498   CASCA     GA      Marietta
 HMES     ROAD TRACTOR     RTR‐TA   HMES15203     2015   FRGHT   3AKGGEDV4FSGK3500   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES15204     2015   FRGHT   3AKGGEDV6FSGK3501   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES15206     2015   FRGHT   3AKGGEDVXFSGK3503   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15207     2015   FRGHT   3AKGGEDV1FSGK3504   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15208     2015   FRGHT   3AKGGEDV3FSGK3505   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES15211     2015   FRGHT   3AKGGEDV9FSGK3508   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES15215     2015   FRGHT   3AKGGEDV3FSGX1666   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15218     2015   FRGHT   3AKGGEDV6FSGK3515   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES15222     2015   FRGHT   3AKGGEDV3FSGK3519   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES15226     2015   FRGHT   3AKGGEDV5FSGK3523   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15228     2015   FRGHT   3AKGGEDV9FSGK3525   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES15235     2015   FRGHT   3AKGGEDV6FSGK3532   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15236     2015   FRGHT   3AKGGEDV8FSGK3533   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES15237     2015   FRGHT   3AKGGEDVXFSGK3534   CASCA     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15238     2015   FRGHT   3AKGGEDV1FSGK3535   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES15240     2015   FRGHT   3AKGGEDV5FSGK3537   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES15241     2015   FRGHT   3AKGGEDV7FSGK3538   CASCA     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15243     2015   FRGHT   3AKGGEDV5FSGK3540   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15244     2015   FRGHT   3AKGGEDV7FSGK3541   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES15246     2015   FRGHT   3AKGGEDV0FSGK3543   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES15247     2015   FRGHT   3AKGGEDV2FSGK3544   CASCA     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15248     2015   FRGHT   3AKGGEDV4FSGK3545   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES15251     2015   FRGHT   3AKGGEDVXFSGK3548   CASCA     IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES15253     2015   FRGHT   3AKGGEDV8FSGK3550   CASCA     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES15254     2015   FRGHT   3AKGGEDVXFSGK3551   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15255     2015   FRGHT   3AKGGEDV1FSGK3552   CASCA     IN      Indianapolis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 167 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES15256     2015   FRGHT   3AKGGEDV3FSGK3553   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15257     2015   FRGHT   3AKGGEDV5FSGK3554   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15258     2015   FRGHT   3AKGGEDV7FSGK3555   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES15260     2015   FRGHT   3AKGGEDV0FSGK3557   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15261     2015   FRGHT   3AKGGEDV2FSGK3558   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15263     2015   FRGHT   3AKGGEDV0FSGK3560   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES15264     2015   FRGHT   3AKGGEDV2FSGK3561   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15267     2015   FRGHT   3AKGGEDV8FSGK3564   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES15269     2015   FRGHT   3AKGGEDV1FSGK3566   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES15270     2015   FRGHT   3AKGGEDV3FSGK3567   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES15271     2015   FRGHT   3AKGGEDV5FSGK3568   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15272     2015   FRGHT   3AKGGEDV7FSGK3569   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES15273     2015   FRGHT   3AKGGEDV3FSGK3570   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15274     2015   FRGHT   3AKGGEDV5FSGK3571   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15275     2015   FRGHT   3AKGGEDV7FSGK3572   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15276     2015   FRGHT   3AKGGEDV9FSGK3573   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15277     2015   FRGHT   3AKGGEDV0FSGK3574   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES15279     2015   FRGHT   3AKGGEDV4FSGK3576   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15280     2015   FRGHT   3AKGGEDV6FSGK3577   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES15281     2015   FRGHT   3AKGGEDV8FSGK3578   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15282     2015   FRGHT   3AKGGEDVXFSGK3579   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15283     2015   FRGHT   3AKGGEDV6FSGK3580   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES15284     2015   FRGHT   3AKGGEDV8FSGK3581   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES15285     2015   FRGHT   3AKGGEDVXFSGK3582   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15288     2015   FRGHT   3AKGGEDV5FSGK3585   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15290     2015   FRGHT   3AKGGEDV9FSGK3587   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES15293     2015   FRGHT   3AKGGEDV9FSGK3590   CASCA     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15294     2015   FRGHT   3AKGGEDV0FSGK3591   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES15296     2015   FRGHT   3AKGGEDV4FSGK3593   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES15297     2015   FRGHT   3AKGGEDV6FSGK3594   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES15298     2015   FRGHT   3AKGGEDV8FSGK3595   CASCA     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES15300     2015   FRGHT   3AKGGEDV7FSGK3605   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES15303     2015   FRGHT   3AKGGEDV2FSGK3608   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES15306     2015   FRGHT   3AKGGEDV2FSGK3611   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15308     2015   FRGHT   3AKGGEDV6FSGK3613   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES15311     2015   FRGHT   3AKGGEDV1FSGK3616   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES15312     2015   FRGHT   3AKGGEDV3FSGK3617   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES15314     2015   FRGHT   3AKGGEDV7FSGK3619   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15316     2015   FRGHT   3AKGGEDV5FSGK3621   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15318     2015   FRGHT   3AKGGEDV9FSGK3623   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES15319     2015   FRGHT   3AKGGEDV0FSGK3624   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15321     2015   FRGHT   3AKGGEDV4FSGK3626   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15322     2015   FRGHT   3AKGGEDV6FSGK3627   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15325     2015   FRGHT   3AKGGEDV6FSGK3630   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15326     2015   FRGHT   3AKGGEDV8FSGK3631   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES15327     2015   FRGHT   3AKGGEDVXFSGK3632   CASCA     TN      Memphis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15329     2015   FRGHT   3AKGGEDV3FSGK3634   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES15330     2015   FRGHT   3AKGGEDV5FSGK3635   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15331     2015   FRGHT   3AKGGEDV7FSGK3636   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES15334     2015   FRGHT   3AKGGEDV2FSGK3639   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES15335     2015   FRGHT   3AKGGEDV9FSGK3640   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15338     2015   FRGHT   3AKGGEDV4FSGK3643   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15340     2015   FRGHT   3AKGGEDV8FSGK3645   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15345     2015   FRGHT   3AKGGEDV1FSGK3650   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15347     2015   FRGHT   3AKGGEDV5FSGK3652   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES15348     2015   FRGHT   3AKGGEDV7FSGK3653   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES15351     2015   FRGHT   3AKGGEDV0FSGM5199   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15354     2015   FRGHT   3AKGGEDV7FSGM5202   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES15355     2015   FRGHT   3AKGGEDV9FSGM5203   CASCA     WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES15357     2015   FRGHT   3AKGGEDV2FSGM5205   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES15360     2015   FRGHT   3AKGGEDV8FSGM5208   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15362     2015   FRGHT   3AKGGEDV6FSGM5210   CASCA     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15363     2015   FRGHT   3AKGGEDV8FSGM5211   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15365     2015   FRGHT   3AKGGEDV1FSGM5213   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15374     2015   FRGHT   3AKGGEDV2FSGM5222   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15375     2015   FRGHT   3AKGGEDV4FSGM5223   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES15377     2015   FRGHT   3AKGGEDV8FSGM5225   CASCA     IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES15378     2015   FRGHT   3AKGGEDVXFSGM5226   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15379     2015   FRGHT   3AKGGEDV1FSGM5227   CASCA     MS      Olive Branch
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 168 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES15380     2015   FRGHT   3AKGGEDV3FSGM5228   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES15383     2015   FRGHT   3AKGGEDV3FSGM5231   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES15385     2015   FRGHT   3AKGGEDV7FSGM5233   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15387     2015   FRGHT   3AKGGEDV0FSGM5235   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES15389     2015   FRGHT   3AKGGEDV4FSGM5237   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15392     2015   FRGHT   3AKGGEDV4FSGM5240   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES15393     2015   FRGHT   3AKGGEDV6FSGM5241   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES15394     2015   FRGHT   3AKGGEDV8FSGM5242   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES15395     2015   FRGHT   3AKGGEDVXFSGM5243   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15402     2015   FRGHT   3AKGGEDV7FSGM5250   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES15403     2015   FRGHT   3AKGGEDV9FSGM5251   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15404     2015   FRGHT   3AKGGEDV0FSGM5252   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES15409     2015   FRGHT   3AKGGEDVXFSGM5257   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES15410     2015   FRGHT   3AKGGEDV1FSGM5258   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES15411     2015   FRGHT   3AKGGEDV3FSGM5259   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES15413     2015   FRGHT   3AKGGEDV1FSGM5261   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES15414     2015   FRGHT   3AKGGEDV3FSGM5262   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES15417     2015   FRGHT   3AKGGEDV9FSGM5265   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15418     2015   FRGHT   3AKGGEDV0FSGM5266   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES15423     2015   FRGHT   3AKGGEDV4FSGM5271   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES15424     2015   FRGHT   3AKGGEDV6FSGM5272   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES15426     2015   FRGHT   3AKGGEDVXFSGM5274   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES15428     2015   FRGHT   3AKGGEDV3FSGM5276   CASCA     TN      Memphis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15429     2015   FRGHT   3AKGGEDV5FSGM5277   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES15432     2015   FRGHT   3AKGGEDV5FSGM5280   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES15433     2015   FRGHT   3AKGGEDV7FSGM5281   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES15434     2015   FRGHT   3AKGGEDV9FSGM5282   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15435     2015   FRGHT   3AKGGEDV0FSGM5283   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES15437     2015   FRGHT   3AKGGEDV4FSGM5285   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES15438     2015   FRGHT   3AKGGEDV6FSGM5286   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES15439     2015   FRGHT   3AKGGEDV8FSGM5287   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES15441     2015   FRGHT   3AKGGEDV1FSGM5289   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES15442     2015   FRGHT   3AKGGEDV8FSGM5290   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES15445     2015   FRGHT   3AKGGEDV3FSGM5293   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES15448     2015   FRGHT   3AKGGEDV9FSGM5296   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES15449     2015   FRGHT   3AKGGEDV0FSGM5297   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES16000     2016   FRGHT   3AKGGEDV9GDHC4811   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES16001     2016   FRGHT   3AKGGEDV0GDHC4812   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES16003     2016   FRGHT   3AKGGEDV4GDHC4814   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES16004     2016   FRGHT   3AKGGEDV6GDHC4815   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES16005     2016   FRGHT   3AKGGEDV8GDHC4816   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES16006     2016   FRGHT   3AKGGEDVXGDHC4817   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16007     2016   FRGHT   3AKGGEDV1GDHC4818   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16008     2016   FRGHT   3AKGGEDV3GDHC4819   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES16011     2016   FRGHT   3AKGGEDV3GDHC4822   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES16013     2016   FRGHT   3AKGGEDV7GDHC4824   CASCA     IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES16014     2016   FRGHT   3AKGGEDV9GDHC4825   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES16015     2016   FRGHT   3AKGGEDV0GDHC4826   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES16016     2016   FRGHT   3AKGGEDV2GDHC4827   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES16017     2016   FRGHT   3AKGGEDV4GDHC4828   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16019     2016   FRGHT   3AKGGEDV2GDHC4830   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES16023     2016   FRGHT   3AKGGEDV3GDHC4836   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES16024     2016   FRGHT   3AKGGEDV7GDHC4838   CASCA     MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES16025     2016   FRGHT   3AKGGEDV9GDHC4839   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES16027     2016   FRGHT   3AKGGEDVXGDHC4896   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES16032     2016   FRGHT   3AKGGEDV7GDHC5004   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES16033     2016   FRGHT   3AKGGEDV2GDHC5007   CASCA     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES16034     2016   FRGHT   3AKGGEDV4GDHC4831   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES16035     2016   FRGHT   3AKGGEDV1GDHC4835   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16037     2016   FRGHT   3AKGGEDV5GDHC4840   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES16038     2016   FRGHT   3AKGGEDV7GDHC4841   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES16039     2016   FRGHT   3AKGGEDV9GDHC4842   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES16040     2016   FRGHT   3AKGGEDV2GDHC4844   CASCA     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16041     2016   FRGHT   3AKGGEDV4GDHC4845   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16042     2016   FRGHT   3AKGGEDV6GDHC4846   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES16043     2016   FRGHT   3AKGGEDV8GDHC4847   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES16044     2016   FRGHT   3AKGGEDV1GDHC4849   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES16045     2016   FRGHT   3AKGGEDVXGDHC4851   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES16048     2016   FRGHT   3AKGGEDV9GDHC4856   CASCA     SC      Piedmont
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 169 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES16049     2016   FRGHT   3AKGGEDV8GDHC4850   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES16050     2016   FRGHT   3AKGGEDV3GDHC4853   CASCA     MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES16051     2016   FRGHT   3AKGGEDV4GDHC4862   CASCA     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES16052     2016   FRGHT   3AKGGEDV6GDHC4863   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES16056     2016   FRGHT   3AKGGEDV3GDHC4867   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16058     2016   FRGHT   3AKGGEDV7GDHC4869   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES16059     2016   FRGHT   3AKGGEDV3GDHC4870   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES16060     2016   FRGHT   3AKGGEDV5GDHC4871   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES16062     2016   FRGHT   3AKGGEDV9GDHC4873   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES16063     2016   FRGHT   3AKGGEDV0GDHC4874   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES16064     2016   FRGHT   3AKGGEDV2GDHC4875   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES16065     2016   FRGHT   3AKGGEDVXGDHC4882   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES16066     2016   FRGHT   3AKGGEDV6GDHC4894   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES16068     2016   FRGHT   3AKGGEDV8GDHC4900   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES16069     2016   FRGHT   3AKGGEDV2GDHC4908   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES16071     2016   FRGHT   3AKGGEDV7GDHC4855   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16072     2016   FRGHT   3AKGGEDV0GDHC4857   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES16073     2016   FRGHT   3AKGGEDV0GDHC4860   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES16074     2016   FRGHT   3AKGGEDV1GDHC5029   CASCA     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES16076     2016   FRGHT   3AKGGEDV9GDHC5053   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES16079     2016   FRGHT   3AKGGEDV7GDHC4886   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES16081     2016   FRGHT   3AKGGEDV8GDHC4895   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES16082     2016   FRGHT   3AKGGEDV4GDHC4876   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES16083     2016   FRGHT   3AKGGEDV6GDHC4877   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES16085     2016   FRGHT   3AKGGEDV5GDHC4885   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES16086     2016   FRGHT   3AKGGEDV0GDHC4888   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16087     2016   FRGHT   3AKGGEDV0GDHC4891   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES16089     2016   FRGHT   3AKGGEDV2GDHC4987   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES16090     2016   FRGHT   3AKGGEDV4GDHC4988   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES16091     2016   FRGHT   3AKGGEDV4GDHC4991   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES16093     2016   FRGHT   3AKGGEDV8GDHC4993   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES16095     2016   FRGHT   3AKGGEDV9GDHC4999   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES16096     2016   FRGHT   3AKGGEDV6GDHC5009   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES16097     2016   FRGHT   3AKGGEDV2GDHC5010   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16098     2016   FRGHT   3AKGGEDV4GDHC5011   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES16099     2016   FRGHT   3AKGGEDV6GDHC5012   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16100     2016   FRGHT   3AKGGEDV8GDHC5013   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES16101     2016   FRGHT   3AKGGEDVXGDHC5014   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES16102     2016   FRGHT   3AKGGEDV1GDHC5015   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES16103     2016   FRGHT   3AKGGEDV3GDHC5016   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16104     2016   FRGHT   3AKGGEDV5GDHC5017   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16105     2016   FRGHT   3AKGGEDV7GDHC5018   CASCA     IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES16106     2016   FRGHT   3AKGGEDV9GDHC5019   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES16107     2016   FRGHT   3AKGGEDV5GDHC5020   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES16108     2016   FRGHT   3AKGGEDV7GDHC5021   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES16109     2016   FRGHT   3AKGGEDV9GDHC5022   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES16110     2016   FRGHT   3AKGGEDV0GDHC5023   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES16111     2016   FRGHT   3AKGGEDV2GDHC5024   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES16112     2016   FRGHT   3AKGGEDV4GDHC5025   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16115     2016   FRGHT   3AKGGEDVXGDHC5028   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES16116     2016   FRGHT   3AKGGEDV8GDHC5030   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES16117     2016   FRGHT   3AKGGEDVXGDHC5045   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES16118     2016   FRGHT   3AKGGEDV3GDHC5050   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES16120     2016   FRGHT   3AKGGEDV5GDHC5079   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES16121     2016   FRGHT   3AKGGEDV0GDHC5085   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES16122     2016   FRGHT   3AKGGEDV8GDHC4881   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES16123     2016   FRGHT   3AKGGEDV1GDHC4883   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES16124     2016   FRGHT   3AKGGEDV2GDHC4889   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES16125     2016   FRGHT   3AKGGEDV9GDHC4890   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES16126     2016   FRGHT   3AKGGEDV4GDHC4893   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES16127     2016   FRGHT   3AKGGEDV5GDHC4899   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES16128     2016   FRGHT   3AKGGEDVXGDHC4901   CASCA     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES16130     2016   FRGHT   3AKGGEDV9GDHC4906   CASCA     WI      Oak Creek
 HMES     ROAD TRACTOR     RTR‐TA   HMES16131     2016   FRGHT   3AKGGEDV0GDHC4907   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES16133     2016   FRGHT   3AKGGEDV2GDHC4911   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16137     2016   FRGHT   3AKGGEDV5GDHC4918   CASCA     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES16138     2016   FRGHT   3AKGGEDV3GDHC4920   CASCA     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES16139     2016   FRGHT   3AKGGEDV0GDHC4924   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16142     2016   FRGHT   3AKGGEDV2GDHC4942   CASCA     WI      Neenah
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 170 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES16143     2016   FRGHT   3AKGGEDVXGDHC4946   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES16146     2016   FRGHT   3AKGGEDV2GDHC4892   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES16147     2016   FRGHT   3AKGGEDV2GDHC4990   CASCA     MO      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES16150     2016   FRGHT   3AKGGEDVXGDHC5000   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES16151     2016   FRGHT   3AKGGEDV5GDHC5003   CASCA     VA      Richmond
 HMES     ROAD TRACTOR     RTR‐TA   HMES16152     2016   FRGHT   3AKGGEDV3GDHC5078   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16153     2016   FRGHT   3AKGGEDV1GDHC5080   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES16154     2016   FRGHT   3AKGGEDV3GDHC5081   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16155     2016   FRGHT   3AKGGEDV5GDHC5082   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16156     2016   FRGHT   3AKGGEDV3GDHC4898   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16161     2016   FRGHT   3AKGGEDVXGDHC4915   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES16162     2016   FRGHT   3AKGGEDV6GDHC4989   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES16167     2016   FRGHT   3AKGGEDV9GDHC5005   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES16168     2016   FRGHT   3AKGGEDV0GDHC5006   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES16169     2016   FRGHT   3AKGGEDV4GDHC5008   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16170     2016   FRGHT   3AKGGEDVXGDHC5031   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES16171     2016   FRGHT   3AKGGEDV1GDHC5032   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES16175     2016   FRGHT   3AKGGEDV0GDHC5037   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16177     2016   FRGHT   3AKGGEDV4GDHC5039   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES16178     2016   FRGHT   3AKGGEDV0GDHC5040   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16181     2016   FRGHT   3AKGGEDV6GDHC5043   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES16183     2016   FRGHT   3AKGGEDV1GDHC5046   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES16184     2016   FRGHT   3AKGGEDV3GDHC5047   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES16185     2016   FRGHT   3AKGGEDV5GDHC5048   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES16186     2016   FRGHT   3AKGGEDV7GDHC5049   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES16187     2016   FRGHT   3AKGGEDV0GDHC5054   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16189     2016   FRGHT   3AKGGEDV6GDHC5060   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16190     2016   FRGHT   3AKGGEDV8GDHM6402   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES16192     2016   FRGHT   3AKGGEDV1GDHM6404   CASCA     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES16194     2016   FRGHT   3AKGGEDV5GDHC4921   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES16196     2016   FRGHT   3AKGGEDV9GDHC4923   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES16198     2016   FRGHT   3AKGGEDV8GDHC4928   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES16199     2016   FRGHT   3AKGGEDV3GDHC5064   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16202     2016   FRGHT   3AKGGEDVXGDHC4879   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES16203     2016   FRGHT   3AKGGEDV2GDHC4925   CASCA     WI      Oak Creek
 HMES     ROAD TRACTOR     RTR‐TA   HMES16204     2016   FRGHT   3AKGGEDVXGDHC4932   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16205     2016   FRGHT   3AKGGEDV3GDHC4934   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES16206     2016   FRGHT   3AKGGEDV0GDHC4938   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES16207     2016   FRGHT   3AKGGEDV2GDHC4939   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16208     2016   FRGHT   3AKGGEDV9GDHC4940   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES16210     2016   FRGHT   3AKGGEDV4GDHC5056   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES16211     2016   FRGHT   3AKGGEDV6GDHC5057   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES16213     2016   FRGHT   3AKGGEDV0GDHC5068   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES16214     2016   FRGHT   3AKGGEDV6GDHC5074   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES16215     2016   FRGHT   3AKGGEDV7GDHC5083   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES16216     2016   FRGHT   3AKGGEDV9GDHC5084   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES16217     2016   FRGHT   3AKGGEDVXGDHC4929   CASCA     WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES16219     2016   FRGHT   3AKGGEDV7GDHC4905   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16221     2016   FRGHT   3AKGGEDV6GDHC4930   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES16222     2016   FRGHT   3AKGGEDV8GDHC4931   CASCA     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES16223     2016   FRGHT   3AKGGEDV5GDHC4935   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES16224     2016   FRGHT   3AKGGEDV9GDHC4937   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES16225     2016   FRGHT   3AKGGEDV0GDHC4941   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES16226     2016   FRGHT   3AKGGEDV6GDHC4944   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES16227     2016   FRGHT   3AKGGEDV8GDHC4945   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES16228     2016   FRGHT   3AKGGEDV5GDHC5051   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES16229     2016   FRGHT   3AKGGEDV8GDHC5061   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES16230     2016   FRGHT   3AKGGEDVXGDHC5062   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES16231     2016   FRGHT   3AKGGEDV1GDHC5063   CASCA     IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES16232     2016   FRGHT   3AKGGEDV5GDHC5065   CASCA     IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES16233     2016   FRGHT   3AKGGEDV7GDHC5066   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES16234     2016   FRGHT   3AKGGEDV9GDHC5067   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES16235     2016   FRGHT   3AKGGEDV0GDHC5071   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES16237     2016   FRGHT   3AKGGEDV8GDHC5075   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES16238     2016   FRGHT   3AKGGEDV4GDHC5073   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES17000     2017   FRGHT   1FUGGEDVXHLHS3759   CASCA     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17004     2017   FRGHT   1FUGGEDV1HLHS3763   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17005     2017   FRGHT   1FUGGEDV3HLHS3764   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES17006     2017   FRGHT   1FUGGEDV5HLHS3765   CASCA     KY      Lexington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 171 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES17007     2017   FRGHT   1FUGGEDV7HLHS3766   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17008     2017   FRGHT   1FUGGEDV9HLHS3767   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES17009     2017   FRGHT   1FUGGEDV0HLHS3768   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES17010     2017   FRGHT   1FUGGEDV2HLHS3769   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17011     2017   FRGHT   1FUGGEDV9HLHS3770   CASCA     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES17012     2017   FRGHT   1FUGGEDV0HLHS3771   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES17013     2017   FRGHT   1FUGGEDV2HLHS3772   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES17015     2017   FRGHT   1FUGGEDV6HLHS3774   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17016     2017   FRGHT   1FUGGEDV8HLHS3775   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17017     2017   FRGHT   1FUGGEDVXHLHS3776   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17018     2017   FRGHT   1FUGGEDV1HLHS3777   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES17019     2017   FRGHT   1FUGGEDV3HLHS3778   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17020     2017   FRGHT   1FUGGEDV5HLHS3779   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17021     2017   FRGHT   1FUGGEDV1HLHS3780   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17023     2017   FRGHT   1FUGGEDV5HLHS3782   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17024     2017   FRGHT   1FUGGEDV7HLHS3783   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES17025     2017   FRGHT   1FUGGEDV9HLHS3784   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES17026     2017   FRGHT   1FUGGEDV0HLHS3785   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES17028     2017   FRGHT   1FUGGEDV4HLHS3787   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES17030     2017   FRGHT   1FUGGEDV8HLHS3789   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES17031     2017   FRGHT   1FUGGEDV4HLHS3790   CASCA     MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES17032     2017   FRGHT   1FUGGEDV6HLHS3791   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES17033     2017   FRGHT   1FUGGEDV8HLHS3792   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES17036     2017   FRGHT   1FUGGEDV3HLHS3795   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES17037     2017   FRGHT   1FUGGEDV5HLHS3796   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES17038     2017   FRGHT   1FUGGEDV7HLHS3797   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES17039     2017   FRGHT   1FUGGEDV9HLHS3798   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES17040     2017   FRGHT   1FUGGEDV0HLHS3799   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES17041     2017   FRGHT   1FUGGEDV3HLHS3800   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES17042     2017   FRGHT   1FUGGEDV5HLHS3801   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES17043     2017   FRGHT   1FUGGEDV7HLHS3802   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES17044     2017   FRGHT   1FUGGEDV9HLHS3803   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17045     2017   FRGHT   1FUGGEDV0HLHS3804   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES17046     2017   FRGHT   1FUGGEDV2HLHS3805   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES17047     2017   FRGHT   1FUGGEDV4HLHS3806   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES17048     2017   FRGHT   1FUGGEDV6HLHS3807   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES17049     2017   FRGHT   1FUGGEDV8HLHS3808   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES17050     2017   FRGHT   1FUGGEDVXHLHS3809   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES17051     2017   FRGHT   1FUGGEDV6HLHS3810   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES17052     2017   FRGHT   1FUGGEDV8HLHS3811   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17053     2017   FRGHT   1FUGGEDVXHLHS3812   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES17055     2017   FRGHT   1FUGGEDV3HLHS3814   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES17056     2017   FRGHT   1FUGGEDV5HLHS3815   CASCA     OH      Copley
 HMES     ROAD TRACTOR     RTR‐TA   HMES17057     2017   FRGHT   1FUGGEDV7HLHS3816   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES17058     2017   FRGHT   1FUGGEDV9HLHS3817   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17059     2017   FRGHT   1FUGGEDV0HLHS3818   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES17060     2017   FRGHT   1FUGGEDV2HLHS3819   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES17062     2017   FRGHT   1FUGGEDV0HLHS3821   CASCA     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES17063     2017   FRGHT   1FUGGEDV2HLHS3822   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES17064     2017   FRGHT   1FUGGEDV4HLHS3823   CASCA     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES17065     2017   FRGHT   1FUGGEDV6HLHS3824   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES17067     2017   FRGHT   1FUGGEDVXHLHS3826   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES17069     2017   FRGHT   1FUGGEDV3HLHS3828   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES17070     2017   FRGHT   1FUGGEDV5HLHS3829   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17071     2017   FRGHT   1FUGGEDV1HLHS3830   CASCA     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES17072     2017   FRGHT   1FUGGEDV3HLHS3831   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES17073     2017   FRGHT   1FUGGEDV5HLHS3832   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES17075     2017   FRGHT   1FUGGEDV9HLHS3834   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17076     2017   FRGHT   1FUGGEDV0HLHS3835   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES17077     2017   FRGHT   1FUGGEDV2HLHS3836   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES17078     2017   FRGHT   1FUGGEDV4HLHS3837   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES17079     2017   FRGHT   1FUGGEDV6HLHS3838   CASCA     IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES17080     2017   FRGHT   1FUGGEDV8HLHS3839   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES17081     2017   FRGHT   1FUGGEDV4HLHS3840   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES17082     2017   FRGHT   1FUGGEDV6HLHS3841   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17083     2017   FRGHT   1FUGGEDV8HLHS3842   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17085     2017   FRGHT   1FUGGEDV1HLHS3844   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17087     2017   FRGHT   1FUGGEDV5HLHS3846   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17089     2017   FRGHT   1FUGGEDV9HLHS3848   CASCA     WI      Neenah
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 172 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES17090     2017   FRGHT   1FUGGEDV0HLHS3849   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17092     2017   FRGHT   1FUGGEDV9HLHS3851   CASCA     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES17096     2017   FRGHT   1FUGGEDV6HLHS3855   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES17098     2017   FRGHT   1FUGGEDVXHLHS3857   CASCA     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17099     2017   FRGHT   1FUGGEDV1HLHS3858   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES17100     2017   FRGHT   1FUGGEDV3HLHS3859   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES17101     2017   FRGHT   1FUGGEDVXHLHS3860   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES17102     2017   FRGHT   1FUGGEDV1HLHS3861   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES17104     2017   FRGHT   1FUGGEDV5HLHS3863   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES17105     2017   FRGHT   1FUGGEDV7HLHS3864   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17106     2017   FRGHT   1FUGGEDV9HLHS3865   CASCA     WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES17107     2017   FRGHT   1FUGGEDV0HLHS3866   CASCA     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES17108     2017   FRGHT   1FUGGEDV2HLHS3867   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES17110     2017   FRGHT   1FUGGEDV6HLHS3869   CASCA     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES17112     2017   FRGHT   1FUGGEDV4HLHS3871   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES17113     2017   FRGHT   1FUGGEDV6HLHS3872   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17115     2017   FRGHT   1FUGGEDVXHLHS3874   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES17116     2017   FRGHT   1FUGGEDV1HLHS3875   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17117     2017   FRGHT   1FUGGEDV3HLHS3876   CASCA     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES17120     2017   FRGHT   1FUGGEDV9HLHS3879   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES17121     2017   FRGHT   1FUGGEDV5HLHS3880   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES17122     2017   FRGHT   1FUGGEDV7HLHS3881   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES17123     2017   FRGHT   1FUGGEDV9HLHS3882   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES17124     2017   FRGHT   1FUGGEDV0HLHS3883   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES17125     2017   FRGHT   1FUGGEDV2HLHS3884   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES17126     2017   FRGHT   1FUJGEDV7HLHS3885   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17127     2017   FRGHT   1FUJGEDV9HLHS3886   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17128     2017   FRGHT   1FUGGEDV8HLHS3887   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES17129     2017   FRGHT   1FUGGEDVXHLHS3888   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17130     2017   FRGHT   1FUGGEDV1HLHS3889   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES17132     2017   FRGHT   1FUGGEDVXHLHS3891   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES17133     2017   FRGHT   1FUGGEDV1HLHS3892   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES17134     2017   FRGHT   1FUGGEDV3HLHS3893   CASCA     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES17135     2017   FRGHT   1FUGGEDV5HLHS3894   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17137     2017   FRGHT   1FUGGEDV9HLHS3896   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES17138     2017   FRGHT   1FUGGEDV0HLHS3897   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES17139     2017   FRGHT   1FUGGEDV2HLHS3898   CASCA     IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES17140     2017   FRGHT   1FUGGEDV4HLHS3899   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES17144     2017   FRGHT   1FUGGEDV2HLHS3903   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES17146     2017   FRGHT   1FUGGEDV6HLHS3905   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES17148     2017   FRGHT   1FUGGEDVXHLHS3907   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17149     2017   FRGHT   1FUGGEDV1HLHS3908   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17150     2017   FRGHT   1FUGGEDV3HLHS3909   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES17151     2017   FRGHT   1FUGGEDVXHLHS3910   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES17152     2017   FRGHT   1FUGGEDV1HLHS3911   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17153     2017   FRGHT   1FUGGEDV3HLHS3912   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES17154     2017   FRGHT   1FUGGEDV5HLHS3913   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17156     2017   FRGHT   1FUGGEDV9HLHS3915   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES17157     2017   FRGHT   1FUGGEDV0HLHS3916   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17158     2017   FRGHT   1FUGGEDV2HLHS3917   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES17159     2017   FRGHT   1FUGGEDV4HLHS3918   CASCA     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES17161     2017   FRGHT   1FUGGEDV2HLHS3920   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES17163     2017   FRGHT   1FUGGEDV6HLHS3922   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17165     2017   FRGHT   1FUGGEDVXHLHS3924   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES17166     2017   FRGHT   1FUGGEDV1HLHS3925   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES17167     2017   FRGHT   1FUGGEDV3HLHS3926   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES17168     2017   FRGHT   1FUGGEDV5HLHS3927   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES17170     2017   FRGHT   1FUGGEDV9HLHS3929   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES17171     2017   FRGHT   1FUGGEDV5HLHS3930   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES17172     2017   FRGHT   1FUGGEDV7HLHS3931   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES17173     2017   FRGHT   1FUGGEDV9HLHS3932   CASCA     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES17175     2017   FRGHT   1FUGGEDV2HLHS3934   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES17176     2017   FRGHT   1FUGGEDV4HLHS3935   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES17177     2017   FRGHT   1FUGGEDV6HLHS3936   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17178     2017   FRGHT   1FUGGEDV8HLHS3937   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES17179     2017   FRGHT   1FUGGEDV1HLHS3939   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17180     2017   FRGHT   1FUGGEDVXHLHS3938   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17181     2017   FRGHT   1FUGGEDV8HLHS3940   CASCA     MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES17183     2017   FRGHT   1FUGGEDV1HLHS3942   CASCA     SC      West Columbia
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 173 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES17184     2017   FRGHT   1FUGGEDV3HLHS3943   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES17185     2017   FRGHT   1FUGGEDV5HLHS3944   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES17187     2017   FRGHT   1FUGGEDV9HLHS3946   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES17188     2017   FRGHT   1FUGGEDV0HLHS3947   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17190     2017   FRGHT   1FUGGEDV4HLHS3949   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES17191     2017   FRGHT   1FUGGEDV0HLHS3950   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES17193     2017   FRGHT   1FUGGEDV4HLHS3952   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES17194     2017   FRGHT   1FUGGEDV6HLHS3953   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17195     2017   FRGHT   1FUGGEDV8HLHS3954   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17196     2017   FRGHT   1FUGGEDVXHLHS3955   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES17197     2017   FRGHT   1FUGGEDV1HLHS3956   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES17198     2017   FRGHT   1FUGGEDV3HLHS3957   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES17199     2017   FRGHT   1FUGGEDV5HLHS3958   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17201     2017   FRGHT   1FUGGEDV3HLHS3960   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17202     2017   FRGHT   1FUGGEDV5HLHS3961   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES17204     2017   FRGHT   1FUGGEDV9HLHS3963   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17205     2017   FRGHT   1FUGGEDV0HLHS3964   CASCA     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES17207     2017   FRGHT   1FUGGEDV4HLHS3966   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17208     2017   FRGHT   1FUGGEDV6HLHS3967   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES17209     2017   FRGHT   1FUGGEDV8HLHS3968   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES17210     2017   FRGHT   3AKGHLDV2HSHS3969   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES17211     2017   FRGHT   1FUGGEDV6HLHS3970   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17212     2017   FRGHT   1FUGGEDV8HLHS3971   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES17213     2017   FRGHT   1FUGGEDVXHLHS3972   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17214     2017   FRGHT   1FUGGEDV1HLHS3973   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES17215     2017   FRGHT   1FUGGEDV3HLHS3974   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES17216     2017   FRGHT   1FUGGEDV5HLHS3975   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES17220     2017   FRGHT   1FUGGEDV2HLHS3979   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES17222     2017   FRGHT   1FUGGEDV0HLHS3981   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES17223     2017   FRGHT   1FUGGEDV2HLHS3982   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES17224     2017   FRGHT   1FUGGEDV4HLHS3983   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES17225     2017   FRGHT   1FUGGEDV6HLHS3984   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES17226     2017   FRGHT   1FUGGEDV8HLHS3985   CASCA     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES17228     2017   FRGHT   1FUGGEDV1HLHS3987   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17229     2017   FRGHT   1FUGGEDV3HLHS3988   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17231     2017   FRGHT   1FUGGEDV1HLHS3990   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17232     2017   FRGHT   1FUGGEDV3HLHS3991   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17234     2017   FRGHT   1FUGGEDV7HLHS3993   CASCA     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES17235     2017   FRGHT   1FUGGEDV9HLHS3994   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES17236     2017   FRGHT   1FUGGEDV0HLHS3995   CASCA     GA      Conley
 HMES     ROAD TRACTOR     RTR‐TA   HMES17237     2017   FRGHT   1FUGGEDV2HLHS3996   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES17238     2017   FRGHT   1FUGGEDV4HLHS3997   CASCA     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES17239     2017   FRGHT   1FUGGEDV6HLHS3998   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES17241     2017   FRGHT   1FUGGEDV9HLHS4000   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES17242     2017   FRGHT   1FUGGEDV0HLHS4001   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17244     2017   FRGHT   1FUGGEDV4HLHS4003   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES17245     2017   FRGHT   1FUGGEDV6HLHS4004   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES17246     2017   FRGHT   1FUGGEDV8HLHS4005   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES17247     2017   FRGHT   1FUGGEDVXHLHS4006   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES17248     2017   FRGHT   1FUGGEDV1HLHS4007   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17249     2017   FRGHT   1FUGGEDV3HLHS4008   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES17250     2017   FRGHT   1FUGGEDV5HLHS4009   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES17251     2017   FRGHT   1FUGGEDV1HLHS4010   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17253     2017   FRGHT   1FUGGEDV5HLHS4012   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES17254     2017   FRGHT   1FUGGEDV7HLHS4013   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES17255     2017   FRGHT   1FUGGEDV9HLHS4014   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES17256     2017   FRGHT   1FUGGEDV0HLHS4015   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES17258     2017   FRGHT   1FUGGEDV4HLHS4017   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES17259     2017   FRGHT   1FUGGEDV6HLHS4018   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17260     2017   FRGHT   1FUGGEDV8HLHS4019   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES17261     2017   FRGHT   1FUGGEDV4HLHS4020   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES17262     2017   FRGHT   1FUGGEDV6HLHS4021   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17264     2017   FRGHT   1FUGGEDVXHLHS4023   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES17265     2017   FRGHT   1FUGGEDV1HLHS4024   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES17266     2017   FRGHT   1FUGGEDV3HLHS4025   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES17268     2017   FRGHT   1FUGGEDV7HLHS4027   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES17271     2017   FRGHT   1FUGGEDV7HLHS4030   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES17272     2017   FRGHT   1FUGGEDV9HLHS4031   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES17275     2017   FRGHT   1FUGGEDV4HLHS4034   CASCA     AL      Decatur
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 174 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES17276     2017   FRGHT   1FUGGEDV6HLHS4035   CASCA     MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES17277     2017   FRGHT   1FUGGEDV8HLHS4036   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES17278     2017   FRGHT   1FUGGEDVXHLHS4037   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17280     2017   FRGHT   1FUGGEDV3HLHS4039   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES17281     2017   FRGHT   1FUGGEDVXHLHS4040   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES17282     2017   FRGHT   1FUGGEDV1HLHS4041   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES17283     2017   FRGHT   1FUGGEDV3HLHS4042   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES17284     2017   FRGHT   1FUGGEDV5HLHS4043   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17285     2017   FRGHT   1FUGGEDV7HLHS4044   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES17286     2017   FRGHT   1FUGGEDV9HLHS4045   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17287     2017   FRGHT   1FUGGEDV0HLHS4046   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES17288     2017   FRGHT   1FUGGEDV2HLHS4047   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES17289     2017   FRGHT   1FUGGEDV4HLHS4048   CASCA     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES17290     2017   FRGHT   1FUGGEDV6HLHS4049   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES17291     2017   FRGHT   1FUGGEDV2HLHS4050   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES17293     2017   FRGHT   1FUGGEDV6HLHS4052   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17294     2017   FRGHT   1FUGGEDV8HLHS4053   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17295     2017   FRGHT   1FUGGEDVXHLHS4054   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17296     2017   FRGHT   1FUGGEDV1HLHS4055   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES17297     2017   FRGHT   1FUGGEDV3HLHS4056   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17299     2017   FRGHT   1FUGGEDV7HLHS4058   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES17300     2017   FRGHT   1FUGGEDV9HLHS4059   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17301     2017   FRGHT   1FUGGEDV5HLHS4060   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES17302     2017   FRGHT   1FUGGEDV7HLHS4061   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES17303     2017   FRGHT   1FUGGEDV9HLHS4062   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES17304     2017   FRGHT   1FUGGEDV0HLHS4063   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES17305     2017   FRGHT   1FUGGEDV2HLHS4064   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES17306     2017   FRGHT   1FUGGEDV4HLHS4065   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES17307     2017   FRGHT   1FUGGEDV6HLHS4066   CASCA     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES17308     2017   FRGHT   1FUGGEDV8HLHS4067   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES17312     2017   FRGHT   1FUGGEDVXHLHS4071   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES17313     2017   FRGHT   1FUGGEDV1HLHS4072   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES17314     2017   FRGHT   1FUGGEDV3HLHS4073   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES17998     2017   PTRBL   1XPBAK9X3HD415074   579 D     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES17999     2017   PTRBL   1XPBAK9X5HD415075   579 D     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18000     2018   FRGHT   1FUGGEDV3JLJN6569   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18002     2018   FRGHT   1FUGGEDV1JLJN6571   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES18003     2018   FRGHT   1FUGGEDV3JLJN6572   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES18004     2018   FRGHT   1FUGGEDV5JLJN6573   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES18005     2018   FRGHT   1FUGGEDV7JLJN6574   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18006     2018   FRGHT   1FUGGEDV9JLJN6575   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES18007     2018   FRGHT   1FUGGEDV0JLJN6576   CASCA     TN      Nashville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18008     2018   FRGHT   1FUGGEDV2JLJN6577   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES18009     2018   FRGHT   1FUGGEDV4JLJN6578   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18010     2018   FRGHT   1FUGGEDV6JLJN6579   CASCA     WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES18012     2018   FRGHT   1FUGGEDV4JLJN6581   CASCA     TN      Nashville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18013     2018   FRGHT   1FUGGEDV6JLJN6582   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18014     2018   FRGHT   1FUGGEDV8JLJN6583   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES18015     2018   FRGHT   1FUGGEDVXJLJN6584   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18016     2018   FRGHT   1FUGGEDV1JLJN6585   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18017     2018   FRGHT   1FUGGEDV3JLJN6586   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES18018     2018   FRGHT   1FUGGEDV5JLJN6587   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18019     2018   FRGHT   1FUGGEDV7JLJN6588   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES18020     2018   FRGHT   1FUGGEDV9JLJN6589   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18021     2018   FRGHT   1FUGGEDV5JLJN6590   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES18022     2018   FRGHT   1FUGGEDV7JLJN6591   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES18023     2018   FRGHT   1FUGGEDV9JLJN6592   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES18024     2018   FRGHT   1FUGGEDV0JLJN6593   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES18025     2018   FRGHT   1FUGGEDV2JLJN6594   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES18026     2018   FRGHT   1FUGGEDV4JLJN6595   CASCA     TN      Nashville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18029     2018   FRGHT   1FUGGEDVXJLJN6598   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES18030     2018   FRGHT   1FUGGEDV1JLJN6599   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18031     2018   FRGHT   1FUGGEDV4JLJN6600   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES18032     2018   FRGHT   1FUGGEDV6JLJN6601   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES18033     2018   FRGHT   1FUGGEDV8JLJN6602   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES18034     2018   FRGHT   1FUGGEDVXJLJN6603   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES18035     2018   FRGHT   1FUGGEDV1JLJN6604   CASCA     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES18036     2018   FRGHT   1FUGGEDV3JLJN6605   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES18037     2018   FRGHT   1FUGGEDV5JLJN6606   CASCA     OH      Brooklyn
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 175 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES18038     2018   FRGHT   1FUGGEDV7JLJN6607   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES18039     2018   FRGHT   1FUGGEDV9JLJN6608   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18040     2018   FRGHT   1FUGGEDV0JLJN6609   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18041     2018   FRGHT   1FUGGEDV7JLJN6610   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18042     2018   FRGHT   1FUGGEDV9JLJN6611   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES18043     2018   FRGHT   1FUGGEDV0JLJN6612   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18045     2018   FRGHT   1FUGGEDV4JLJN6614   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES18046     2018   FRGHT   1FUGGEDV6JLJN6615   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES18047     2018   FRGHT   1FUGGEDV8JLJN6616   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES18048     2018   FRGHT   1FUGGEDVXJLJN6617   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES18049     2018   FRGHT   1FUGGEDV1JLJN6618   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18050     2018   FRGHT   1FUGGEDV3JLJN6619   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES18051     2018   FRGHT   1FUGGEDVXJLJN6620   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES18052     2018   FRGHT   1FUGGEDV1JLJN6621   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES18053     2018   FRGHT   1FUGGEDV3JLJN6622   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18054     2018   FRGHT   1FUGGEDV5JLJN6623   CASCA     TN      Memphis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18055     2018   FRGHT   1FUGGEDV7JLJN6624   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18056     2018   FRGHT   1FUGGEDV9JLJN6625   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18057     2018   FRGHT   1FUGGEDV0JLJN6626   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES18058     2018   FRGHT   1FUGGEDV2JLJN6627   CASCA     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES18059     2018   FRGHT   1FUGGEDV4JLJN6628   CASCA     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES18060     2018   FRGHT   1FUGGEDV6JLJN6629   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18063     2018   FRGHT   1FUGGEDV6JLJN6632   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES18065     2018   FRGHT   1FUGGEDVXJLJN6634   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES18066     2018   FRGHT   1FUGGEDV1JLJN6635   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18067     2018   FRGHT   1FUGGEDV3JLJN6636   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18068     2018   FRGHT   1FUGGEDV5JLJN6637   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES18069     2018   FRGHT   1FUGGEDV7JLJN6638   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES18070     2018   FRGHT   1FUGGEDV9JLJN6639   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES18071     2018   FRGHT   1FUGGEDV5JLJN6640   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES18072     2018   FRGHT   1FUGGEDV7JLJN6641   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES18073     2018   FRGHT   1FUGGEDV9JLJN6642   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18074     2018   FRGHT   1FUGGEDV0JLJN6643   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES18075     2018   FRGHT   1FUGGEDV2JLJN6644   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18076     2018   FRGHT   1FUGGEDV4JLJN6645   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES18077     2018   FRGHT   1FUGGEDV6JLJN6646   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18078     2018   FRGHT   1FUGGEDV8JLJN6647   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18079     2018   FRGHT   1FUGGEDVXJLJN6648   CASCA     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18080     2018   FRGHT   1FUGGEDV1JLJN6649   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18081     2018   FRGHT   1FUGGEDV8JLJN6650   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES18082     2018   FRGHT   1FUGGEDVXJLJN6651   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18083     2018   FRGHT   1FUGGEDV1JLJN6652   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18084     2018   FRGHT   1FUGGEDV3JLJN6653   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18085     2018   FRGHT   1FUGGEDV5JLJN6654   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18086     2018   FRGHT   1FUGGEDV7JLJN6655   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18087     2018   FRGHT   1FUGGEDV9JLJN6656   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES18088     2018   FRGHT   1FUGGEDV0JLJN6657   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES18089     2018   FRGHT   1FUGGEDV2JLJN6658   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18090     2018   FRGHT   1FUGGEDV4JLJN6659   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES18091     2018   FRGHT   1FUGGEDV0JLJN6660   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES18092     2018   FRGHT   1FUGGEDV2JLJN6661   CASCA     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES18093     2018   FRGHT   1FUGGEDV4JLJN6662   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES18094     2018   FRGHT   1FUGGEDV6JLJN6663   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES18095     2018   FRGHT   1FUGGEDV8JLJN6664   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18096     2018   FRGHT   1FUGGEDVXJLJN6665   CASCA     MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES18097     2018   FRGHT   1FUGGEDV1JLJN6666   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18098     2018   FRGHT   1FUGGEDV3JLJN6667   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18099     2018   FRGHT   1FUGGEDV5JLJN6668   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18100     2018   FRGHT   1FUGGEDV7JLJN6669   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18101     2018   FRGHT   1FUGGEDV3JLJN6670   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18102     2018   FRGHT   1FUGGEDV5JLJN6671   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES18103     2018   FRGHT   1FUGGEDV7JLJN6672   CASCA     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES18104     2018   FRGHT   1FUGGEDV9JLJN6673   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES18105     2018   FRGHT   1FUGGEDV0JLJN6674   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18106     2018   FRGHT   1FUGGEDV2JLJN6675   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES18107     2018   FRGHT   1FUGGEDV4JLJN6676   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18108     2018   FRGHT   1FUGGEDV6JLJN6677   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18109     2018   FRGHT   1FUGGEDV8JLJN6678   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18110     2018   FRGHT   1FUGGEDVXJLJN6679   CASCA     OH      Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 176 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES18111     2018   FRGHT   1FUGGEDV6JLJN6680   CASCA     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18112     2018   FRGHT   1FUGGEDV8JLJN6681   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES18113     2018   FRGHT   1FUGGEDVXJLJN6682   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18114     2018   FRGHT   1FUGGEDV1JLJN6683   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES18115     2018   FRGHT   1FUGGEDV3JLJN6684   CASCA     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES18116     2018   FRGHT   1FUGGEDV5JLJN6685   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18117     2018   FRGHT   1FUGGEDV7JLJN6686   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18118     2018   FRGHT   1FUGGEDV9JLJN6687   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES18119     2018   FRGHT   1FUGGEDV0JLJN6688   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18120     2018   FRGHT   1FUGGEDV2JLJN6689   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18121     2018   FRGHT   1FUGGEDV9JLJN6690   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES18122     2018   FRGHT   1FUGGEDV0JLJN6691   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES18123     2018   FRGHT   1FUGGEDV2JLJN6692   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES18124     2018   FRGHT   1FUGGEDV4JLJN6693   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18125     2018   FRGHT   1FUGGEDV6JLJN6694   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18126     2018   FRGHT   1FUGGEDV8JLJN6695   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18127     2018   FRGHT   1FUGGEDVXJLJN6696   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18128     2018   FRGHT   1FUGGEDV1JLJN6697   CASCA     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES18129     2018   FRGHT   1FUGGEDV3JLJN6698   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES18130     2018   FRGHT   1FUGGEDV5JLJN6699   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES18131     2018   FRGHT   1FUGGEDV8JLJN6700   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18132     2018   FRGHT   1FUGGEDVXJLJN6701   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES18133     2018   FRGHT   1FUGGEDV1JLJN6702   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18134     2018   FRGHT   1FUGGEDV3JLJN6703   CASCA     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES18135     2018   FRGHT   1FUGGEDV5JLJN6704   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18136     2018   FRGHT   1FUGGEDV7JLJN6705   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18137     2018   FRGHT   1FUGGEDV9JLJN6706   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES18138     2018   FRGHT   1FUGGEDV0JLJN6707   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES18140     2018   FRGHT   1FUGGEDV4JLJN6709   CASCA     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES18141     2018   FRGHT   1FUGGEDV0JLJN6710   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18142     2018   FRGHT   1FUGGEDV2JLJN6711   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES18143     2018   FRGHT   1FUGGEDV4JLJN6712   CASCA     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES18144     2018   FRGHT   1FUGGEDV6JLJN6713   CASCA     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES18145     2018   FRGHT   1FUGGEDV8JLJN6714   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES18146     2018   FRGHT   1FUGGEDVXJLJN6715   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18147     2018   FRGHT   1FUGGEDV1JLJN6716   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES18148     2018   FRGHT   1FUGGEDV3JLJN6717   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES18149     2018   FRGHT   1FUGGEDV5JLJN6718   CASCA     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES18150     2018   FRGHT   1FUGGEDV7JLJN6719   CASCA     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES18151     2018   FRGHT   1FUGGEDV3JLJN6720   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES18152     2018   FRGHT   1FUGGEDV5JLJN6721   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES18153     2018   FRGHT   1FUGGEDV7JLJN6722   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18154     2018   FRGHT   1FUGGEDV9JLJN6723   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES18155     2018   FRGHT   1FUGGEDV0JLJN6724   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES18156     2018   FRGHT   1FUGGEDV2JLJN6725   CASCA     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES18157     2018   FRGHT   1FUGGEDV4JLJN6726   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES18158     2018   FRGHT   1FUGGEDV6JLJN6727   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES18159     2018   FRGHT   1FUGGEDV8JLJN6728   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18160     2018   FRGHT   1FUGGEDVXJLJN6729   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES18161     2018   FRGHT   1FUGGEDV6JLJN6730   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES18162     2018   FRGHT   1FUGGEDV8JLJN6731   CASCA     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18163     2018   FRGHT   1FUGGEDVXJLJN6732   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES18164     2018   FRGHT   1FUGGEDV1JLJN6733   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES18165     2018   FRGHT   1FUGGEDV3JLJN6734   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES18167     2018   FRGHT   1FUGGEDV7JLJN6736   CASCA     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES18168     2018   FRGHT   1FUGGEDV9JLJN6737   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18169     2018   FRGHT   1FUGGEDV0JLJN6738   CASCA     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES18170     2018   FRGHT   1FUGGEDV2JLJN6739   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES18171     2018   FRGHT   1FUGGEDV9JLJN6740   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18172     2018   FRGHT   1FUGGEDV0JLJN6741   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES18173     2018   FRGHT   1FUGGEDV2JLJN6742   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18174     2018   FRGHT   1FUGGEDV4JLJN6743   CASCA     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18175     2018   FRGHT   1FUGGEDV6JLJN6744   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES18176     2018   FRGHT   1FUGGEDV8JLJN6745   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES18177     2018   FRGHT   1FUGGEDVXJLJN6746   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES18178     2018   FRGHT   1FUGGEDV1JLJN6747   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES18179     2018   FRGHT   1FUGGEDV3JLJN6748   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES18180     2018   FRGHT   1FUGGEDV5JLJN6749   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES18181     2018   FRGHT   1FUGGEDV1JLJN6750   CASCA     OH      Brooklyn
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 177 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES18182     2018   FRGHT   1FUGGEDV3JLJN6751   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18183     2018   FRGHT   1FUGGEDV5JLJN6752   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18184     2018   FRGHT   1FUGGEDV7JLJN6753   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES18185     2018   FRGHT   1FUGGEDV9JLJN6754   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES18186     2018   FRGHT   1FUGGEDV0JLJN6755   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES18187     2018   FRGHT   1FUGGEDV2JLJN6756   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES18188     2018   FRGHT   1FUGGEDV4JLJN6757   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES18189     2018   FRGHT   1FUGGEDV6JLJN6758   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES18190     2018   FRGHT   1FUGGEDV8JLJN6759   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES18192     2018   FRGHT   1FUGGEDV6JLJN6761   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18193     2018   FRGHT   1FUGGEDV8JLJN6762   CASCA     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES18194     2018   FRGHT   1FUGGEDVXJLJN6763   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18195     2018   FRGHT   1FUGGEDV1JLJN6764   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES18196     2018   FRGHT   1FUGGEDV3JLJN6765   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES18197     2018   FRGHT   1FUGGEDV5JLJN6766   CASCA     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES18198     2018   FRGHT   1FUGGEDV7JLJN6767   CASCA     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES18199     2018   FRGHT   1FUGGEDV9JLJN6768   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18200     2018   FRGHT   1FUGGEDV0JLJN6769   CASCA     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES18201     2018   FRGHT   1FUGGEDV7JLJN6770   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES18202     2018   FRGHT   1FUGGEDV9JLJN6771   CASCA     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES18203     2018   FRGHT   1FUGGEDV0JLJN6772   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES18204     2018   FRGHT   1FUGGEDV2JLJN6773   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES18205     2018   FRGHT   1FUGGEDV4JLJN6774   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18206     2018   FRGHT   1FUGGEDV6JLJN6775   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18207     2018   FRGHT   1FUGGEDV8JLJN6776   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18208     2018   FRGHT   1FUGGEDVXJLJN6777   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18209     2018   FRGHT   1FUGGEDV1JLJN6778   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES18210     2018   FRGHT   1FUGGEDV3JLJN6779   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES18211     2018   FRGHT   1FUGGEDVXJLJN6780   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18212     2018   FRGHT   1FUGGEDV1JLJN6781   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18213     2018   FRGHT   1FUGGEDV3JLJN6782   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18215     2018   FRGHT   1FUGGEDV7JLJN6784   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES18216     2018   FRGHT   1FUGGEDV9JLJN6785   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES18217     2018   FRGHT   1FUGGEDV0JLJN6786   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES18218     2018   FRGHT   1FUGGEDV2JLJN6787   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES18219     2018   FRGHT   1FUGGEDV4JLJN6788   CASCA     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18220     2018   FRGHT   1FUGGEDV6JLJN6789   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES18221     2018   FRGHT   1FUGGEDV2JLJN6790   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES18222     2018   FRGHT   1FUGGEDV4JLJN6791   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18223     2018   FRGHT   1FUGGEDV6JLJN6792   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES18224     2018   FRGHT   1FUGGEDV8JLJN6793   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES18226     2018   FRGHT   1FUGGEDV1JLJN6795   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES18227     2018   FRGHT   1FUGGEDV3JLJN6796   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18228     2018   FRGHT   1FUGGEDV5JLJN6797   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18229     2018   FRGHT   1FUGGEDV7JLJN6798   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES18230     2018   FRGHT   1FUGGEDV9JLJN6799   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES18231     2018   FRGHT   1FUGGEDV1JLJN6800   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18232     2018   FRGHT   1FUGGEDV3JLJN6801   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES18233     2018   FRGHT   1FUGGEDV5JLJN6802   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18234     2018   FRGHT   1FUGGEDV7JLJN6803   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES18235     2018   FRGHT   1FUGGEDV9JLJN6804   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES18236     2018   FRGHT   1FUGGEDV0JLJN6805   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18237     2018   FRGHT   1FUGGEDV2JLJN6806   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES18238     2018   FRGHT   1FUGGEDV4JLJN6807   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES18239     2018   FRGHT   1FUGGEDV6JLJN6808   CASCA     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES18240     2018   FRGHT   1FUGGEDV8JLJN6809   CASCA     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES18241     2018   FRGHT   1FUGGEDV4JLJN6810   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18242     2018   FRGHT   1FUGGEDV6JLJN6811   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES18243     2018   FRGHT   1FUGGEDV8JLJN6812   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES18244     2018   FRGHT   1FUGGEDVXJLJN6813   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES19704     2019   PTRBL   1XPBAK9X1KD624594   579 D     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES19705     2019   PTRBL   1XPBAK9X3KD624595   579 D     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES19706     2019   PTRBL   1XPBAK9X5KD624596   579 D     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES19707     2019   PTRBL   1XPBAK9X7KD624597   579 D     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES19708     2019   PTRBL   1XPBAK9X9KD624598   579 D     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES19709     2019   PTRBL   1XPBAK9X0KD624599   579 D     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES19710     2019   PTRBL   1XPBAK9X3KD624600   579 D     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES19711     2019   PTRBL   1XPBAK9X5KD624601   579 D     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES19713     2019   PTRBL   1XPBAK9X9KD624603   579 D     MO      Strafford
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 178 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES19714     2019   PTRBL   1XPBAK9X0KD624604   579 D     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES19715     2019   PTRBL   1XPBAK9X2KD624605   579 D     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES19716     2019   PTRBL   1XPBAK9X4KD624606   579 D     IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES19717     2019   PTRBL   1XPBAK9X6KD624607   579 D     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES19718     2019   PTRBL   1XPBAK9X8KD624608   579 D     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES19719     2019   PTRBL   1XPBAK9XXKD624609   579 D     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES19720     2019   PTRBL   1XPBAK9X6KD624610   579 D     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES19721     2019   PTRBL   1XPBAK9X8KD624611   579 D     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES19722     2019   PTRBL   1XPBAK9XXKD624612   579 D     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES19723     2019   PTRBL   1XPBAK9X1KD624613   579 D     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES19724     2019   PTRBL   1XPBAK9X3KD624614   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19725     2019   PTRBL   1XPBAK9X5KD624615   579 D     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES19726     2019   PTRBL   1XPBAK9X7KD624616   579 D     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES19727     2019   PTRBL   1XPBAK9X9KD624617   579 D     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES19728     2019   PTRBL   1XPBAK9X0KD624618   579 D     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES19729     2019   PTRBL   1XPBAK9X2KD624619   579 D     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES19730     2019   PTRBL   1XPBAK9X9KD624620   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19733     2019   PTRBL   1XPBAK9X4KD624623   579 D     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES19734     2019   PTRBL   1XPBAK9X6KD624624   579 D     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES19735     2019   PTRBL   1XPBAK9X8KD624625   579 D     WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES19736     2019   PTRBL   1XPBAK9XXKD624626   579 D     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES19737     2019   PTRBL   1XPBAK9X1KD624627   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19738     2019   PTRBL   1XPBAK9X3KD624628   579 D     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES19739     2019   PTRBL   1XPBAK9X5KD624629   579 D     WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES19740     2019   PTRBL   1XPBAK9X1KD624630   579 D     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES19741     2019   PTRBL   1XPBAK9X3KD624631   579 D     MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES19742     2019   PTRBL   1XPBAK9X5KD624632   579 D     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES19743     2019   PTRBL   1XPBAK9X7KD624633   579 D     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES19744     2019   PTRBL   1XPBAK9X9KD624634   579 D     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES19745     2019   PTRBL   1XPBAK9X0KD624635   579 D     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES19746     2019   PTRBL   1XPBAK9X2KD624636   579 D     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES19747     2019   PTRBL   1XPBAK9X4KD624637   579 D     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES19748     2019   PTRBL   1XPBAK9X6KD624638   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19749     2019   PTRBL   1XPBAK9X8KD624639   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19750     2019   PTRBL   1XPBAK9X4KD624640   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19751     2019   PTRBL   1XPBAK9X6KD624641   579 D     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES19752     2019   PTRBL   1XPBAK9X8KD624642   579 D     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES19753     2019   PTRBL   1XPBAK9XXKD624643   579 D     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES19754     2019   PTRBL   1XPBAK9X1KD624644   579 D     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES19755     2019   PTRBL   1XPBAK9X3KD624645   579 D     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES19756     2019   PTRBL   1XPBAK9X5KD624646   579 D     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES19757     2019   PTRBL   1XPBAK9X7KD624647   579 D     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES19758     2019   PTRBL   1XPBAK9X9KD624648   579 D     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES19759     2019   PTRBL   1XPBAK9X0KD624649   579 D     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES19760     2019   PTRBL   1XPBAK9X7KD624650   579 D     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES19761     2019   PTRBL   1XPBAK9X9KD624651   579 D     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES19762     2019   PTRBL   1XPBAK9X0KD624652   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19763     2019   PTRBL   1XPBAK9X2KD624653   579 D     MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES19764     2019   PTRBL   1XPBAK9X4KD624654   579 D     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES19765     2019   PTRBL   1XPBAK9X6KD624655   579 D     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES19766     2019   PTRBL   1XPBAK9X8KD624656   579 D     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES19767     2019   PTRBL   1XPBAK9XXKD624657   579 D     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES19768     2019   PTRBL   1XPBAK9X1KD624658   579 D     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES19769     2019   PTRBL   1XPBAK9X3KD624659   579 D     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES19770     2019   PTRBL   1XPBAK9XXKD624660   579 D     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES19771     2019   PTRBL   1XPBAK9X1KD624661   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19772     2019   PTRBL   1XPBAK9X3KD624662   579 D     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES19773     2019   PTRBL   1XPBAK9X5KD624663   579 D     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES19774     2019   PTRBL   1XPBAK9X7KD624664   579 D     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES19775     2019   PTRBL   1XPBAK9X9KD624665   579 D     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES19776     2019   PTRBL   1XPBAK9X0KD624666   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19777     2019   PTRBL   1XPBAK9X2KD624667   579 D     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES19778     2019   PTRBL   1XPBAK9X4KD624668   579 D     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES19779     2019   PTRBL   1XPBAK9X9KD632541   579 D     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES19780     2019   PTRBL   1XPBAK9X0KD632542   579 D     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES19781     2019   PTRBL   1XPBAK9X2KD632543   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19782     2019   PTRBL   1XPBAK9X4KD632544   579 D     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES19783     2019   PTRBL   1XPBAK9X6KD632545   579 D     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES19784     2019   PTRBL   1XPBAK9X8KD632546   579 D     GA      Ellenwood
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 179 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES19785     2019   PTRBL   1XPBAK9XXKD632547   579 D     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES19786     2019   PTRBL   1XPBAK9X1KD632548   579 D     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES19787     2019   PTRBL   1XPBAK9X3KD632549   579 D     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES19789     2019   PTRBL   1XPBAK9X1KD632551   579 D     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES19791     2019   PTRBL   1XPBAK9X5KD632553   579 D     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES19792     2019   PTRBL   1XPBAK9X7KD632554   579 D     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES19793     2019   PTRBL   1XPBAK9X9KD632555   579 D     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES21302     2021   PTRBL   1XPBAK9X6MD758682   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES21303     2021   PTRBL   1XPBAK9X8MD758683   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES21304     2021   PTRBL   1XPBAK9XXMD758684   579       MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES21305     2021   PTRBL   1XPBAK9X1MD758685   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES21306     2021   PTRBL   1XPBAK9X3MD758686   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21307     2021   PTRBL   1XPBAK9X5MD758687   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES21308     2021   PTRBL   1XPBAK9X7MD758688   579       SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES21309     2021   PTRBL   1XPBAK9X9MD758689   579       OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES21310     2021   PTRBL   1XPBAK9X5MD758690   579       PA      McKees Rocks
 HMES     ROAD TRACTOR     RTR‐TA   HMES21312     2021   PTRBL   1XPBAK9X9MD758692   579       OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES21313     2021   PTRBL   1XPBAK9X0MD758693   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES21314     2021   PTRBL   1XPBAK9X2MD758694   579       OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES21315     2021   PTRBL   1XPBAK9X4MD758695   579       IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21319     2021   PTRBL   1XPBAK9X1MD758699   579       MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES21321     2021   PTRBL   1XPBAK9X6MD758701   579       IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21322     2021   PTRBL   1XPBAK9X8MD758702   579       MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES21323     2021   PTRBL   1XPBAK9XXMD758703   579       WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES21325     2021   PTRBL   1XPBAK9X3MD758705   579       WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES21326     2021   PTRBL   1XPBAK9X5MD758706   579       WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES21327     2021   PTRBL   1XPBAK9X7MD758707   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES21328     2021   PTRBL   1XPBAK9X9MD758708   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21329     2021   PTRBL   1XPBAK9X0MD758709   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21330     2021   PTRBL   1XPBAK9X7MD758710   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES21331     2021   PTRBL   1XPBAK9X9MD758711   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES21332     2021   PTRBL   1XPBAK9X0MD758712   579       WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES21333     2021   PTRBL   1XPBAK9X2MD758713   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21335     2021   PTRBL   1XPBAK9X6MD758715   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21337     2021   PTRBL   1XPBAK9XXMD758717   579       GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES21339     2021   PTRBL   1XPBAK9X3MD758719   579       IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES21340     2021   PTRBL   1XPBAK9XXMD758720   579       OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES21341     2021   PTRBL   1XPBAK9X1MD758721   579       WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES21342     2021   PTRBL   1XPBAK9X3MD758722   579       MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES21344     2021   PTRBL   1XPBAK9X7MD758724   579       WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES21345     2021   PTRBL   1XPBAK9X9MD758725   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES21346     2021   PTRBL   1XPBAK9X0MD758726   579       NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21347     2021   PTRBL   1XPBAK9X2MD758727   579       NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21348     2021   PTRBL   1XPBAK9X4MD758728   579       NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21349     2021   PTRBL   1XPBAK9X6MD758729   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES21351     2021   PTRBL   1XPBAK9X4MD758731   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES21352     2021   PTRBL   1XPBAK9X6MD758732   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES21355     2021   PTRBL   1XPBAK9X1MD758735   579       IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES21357     2021   PTRBL   1XPBAK9X5MD758737   579       IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES21358     2021   PTRBL   1XPBAK9X7MD758738   579       IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES21359     2021   PTRBL   1XPBAK9X9MD758739   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES21360     2021   PTRBL   1XPBAK9X5MD758740   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES21365     2021   PTRBL   1XPBAK9X4MD758745   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES21369     2021   PTRBL   1XPBAK9X1MD758749   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES21400     2021   PTRBL   1XPBAK9X4MD758681   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES21401     2021   PTRBL   1XPBAK9X7MD758691   579       OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES21402     2021   PTRBL   1XPBAK9X6MD758696   579       IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES21403     2021   PTRBL   1XPBAK9X8MD758697   579       OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES21404     2021   PTRBL   1XPBAK9XXMD758698   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES21406     2021   PTRBL   1XPBAK9X4MD758700   579       NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES21407     2021   PTRBL   1XPBAK9X1MD758704   579       MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES21408     2021   PTRBL   1XPBAK9X4MD758714   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21409     2021   PTRBL   1XPBAK9X8MD758716   579       MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES21410     2021   PTRBL   1XPBAK9X1MD758718   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES21411     2021   PTRBL   1XPBAK9X5MD758723   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES21412     2021   PTRBL   1XPBAK9X2MD758730   579       AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES21413     2021   PTRBL   1XPBAK9X8MD758733   579       IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES21419     2021   PTRBL   1XPBAK9XXMD758734   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES21420     2021   PTRBL   1XPBAK9X3MD758736   579       OH      Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 180 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES21421     2021   PTRBL   1XPBAK9X7MD758741   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES21424     2021   PTRBL   1XPBAK9X9MD758742   579       AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES21427     2021   PTRBL   1XPBAK9X0MD758743   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES21430     2021   PTRBL   1XPBAK9X2MD758744   579       MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES21431     2021   PTRBL   1XPBAK9X6MD758746   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21432     2021   PTRBL   1XPBAK9X8MD758747   579       WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES21433     2021   PTRBL   1XPBAK9XXMD758748   579       NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21434     2021   PTRBL   1XPBAK9X8MD758750   579       IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES21435     2021   PTRBL   1XPBAK9XXMD758751   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES21436     2021   PTRBL   1XPBAK9X1MD758752   579       GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES21438     2021   PTRBL   1XPBAK9X3MD758753   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22001     2022   PTRBL   1XPBAK9X3ND758754   579       IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22002     2022   PTRBL   1XPBAK9X5ND758755   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22003     2022   PTRBL   1XPBAK9X7ND758756   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22004     2022   PTRBL   1XPBAK9X9ND758757   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22005     2022   PTRBL   1XPBAK9X0ND758758   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22006     2022   PTRBL   1XPBAK9X2ND758759   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES22007     2022   PTRBL   1XPBAK9X9ND758760   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22008     2022   PTRBL   1XPBAK9X0ND758761   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22009     2022   PTRBL   1XPBAK9X2ND758762   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22010     2022   PTRBL   1XPBAK9X4ND758763   579       WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22011     2022   PTRBL   1XPBAK9X6ND758764   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22012     2022   PTRBL   1XPBAK9X8ND758765   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22013     2022   PTRBL   1XPBAK9XXND758766   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22014     2022   PTRBL   1XPBAK9X1ND758767   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22015     2022   PTRBL   1XPBAK9X3ND758768   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22016     2022   PTRBL   1XPBAK9X5ND758769   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22017     2022   PTRBL   1XPBAK9X1ND758770   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22018     2022   PTRBL   1XPBAK9X3ND758771   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22019     2022   PTRBL   1XPBAK9X5ND758772   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22020     2022   PTRBL   1XPBAK9X7ND758773   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22021     2022   PTRBL   1XPBAK9X9ND758774   579       OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22022     2022   PTRBL   1XPBAK9X0ND758775   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES22023     2022   PTRBL   1XPBAK9X2ND758776   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22024     2022   PTRBL   1XPBAK9X4ND758777   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22025     2022   PTRBL   1XPBAK9X6ND758778   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22026     2022   PTRBL   1XPBAK9X8ND758779   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22027     2022   PTRBL   1XPBAK9X4ND758780   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22028     2022   PTRBL   1XPBAK9X6ND758781   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22029     2022   PTRBL   1XPBAK9X8ND758782   579       IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22030     2022   PTRBL   1XPBAK9XXND758783   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22031     2022   PTRBL   1XPBAK9X1ND758784   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22032     2022   PTRBL   1XPBAK9X3ND758785   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22033     2022   PTRBL   1XPBAK9X5ND758786   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22034     2022   PTRBL   1XPBAK9X7ND758787   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22035     2022   PTRBL   1XPBAK9X9ND758788   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22036     2022   PTRBL   1XPBAK9X0ND758789   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22037     2022   PTRBL   1XPBAK9X7ND758790   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22038     2022   PTRBL   1XPBAK9X9ND758791   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22039     2022   PTRBL   1XPBAK9X0ND758792   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22040     2022   PTRBL   1XPBAK9X2ND758793   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22041     2022   PTRBL   1XPBAK9X4ND758794   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22042     2022   PTRBL   1XPBAK9X6ND758795   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES22043     2022   PTRBL   1XPBAK9X8ND758796   579       GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22044     2022   PTRBL   1XPBAK9XXND758797   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22045     2022   PTRBL   1XPBAK9X1ND758798   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22046     2022   PTRBL   1XPBAK9X3ND758799   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22047     2022   PTRBL   1XPBAK9X6ND758800   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22048     2022   PTRBL   1XPBAK9X8ND758801   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22049     2022   PTRBL   1XPBAK9XXND758802   579       WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22050     2022   PTRBL   1XPBAK9X1ND758803   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22051     2022   PTRBL   1XPBAK9X3ND758804   579       IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22052     2022   PTRBL   1XPBAK9X5ND758805   579       MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES22053     2022   PTRBL   1XPBAK9X7ND758806   579       MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22054     2022   PTRBL   1XPBAK9X9ND758807   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES22055     2022   PTRBL   1XPBAK9X0ND758808   579       AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES22056     2022   PTRBL   1XPBAK9X2ND758809   579       IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES22057     2022   PTRBL   1XPBAK9X9ND758810   579       IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22058     2022   PTRBL   1XPBAK9X0ND758811   579       IN      Evansville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 181 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22059     2022   PTRBL   1XPBAK9X2ND758812   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22060     2022   PTRBL   1XPBAK9X4ND758813   579       IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22061     2022   PTRBL   1XPBAK9X6ND758814   579       IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22062     2022   PTRBL   1XPBAK9X8ND758815   579       IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22063     2022   PTRBL   1XPBAK9XXND758816   579       IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22064     2022   PTRBL   1XPBAK9X1ND758817   579       IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES22065     2022   PTRBL   1XPBAK9X3ND758818   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22066     2022   PTRBL   1XPBAK9X5ND758819   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22067     2022   PTRBL   1XPBAK9X1ND758820   579       WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22068     2022   PTRBL   1XPBAK9X3ND758821   579       MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES22069     2022   PTRBL   1XPBAK9X5ND758822   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22070     2022   PTRBL   1XPBAK9X7ND758823   579       MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES22071     2022   PTRBL   1XPBAK9X9ND758824   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22072     2022   PTRBL   1XPBAK9X0ND758825   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22073     2022   PTRBL   1XPBAK9X2ND758826   579       OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22074     2022   PTRBL   1XPBAK9X4ND758827   579       IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES22075     2022   PTRBL   1XPBAK9X6ND758828   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22076     2022   PTRBL   1XPBAK9X8ND758829   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22077     2022   PTRBL   1XPBAK9X4ND758830   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22078     2022   PTRBL   1XPBAK9X6ND758831   579       IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22079     2022   PTRBL   1XPBAK9X8ND758832   579       MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22081     2022   PTRBL   1XPBAK9X1ND758834   579       NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22082     2022   PTRBL   1XPBAK9X3ND758835   579       MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22083     2022   PTRBL   1XPBAK9X5ND758836   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22084     2022   PTRBL   1XPBAK9X7ND758837   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22085     2022   PTRBL   1XPBAK9X9ND758838   579       MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22086     2022   PTRBL   1XPBAK9X0ND758839   579       MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22087     2022   PTRBL   1XPBAK9X7ND758840   579       MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22088     2022   PTRBL   1XPBAK9X9ND758841   579       MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22089     2022   PTRBL   1XPBAK9X0ND758842   579       MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22090     2022   PTRBL   1XPBAK9X2ND758843   579       MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22091     2022   PTRBL   1XPBAK9X4ND758844   579       MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22092     2022   PTRBL   1XPBAK9X6ND758845   579       IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES22093     2022   PTRBL   1XPBAK9X8ND758846   579       KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22094     2022   PTRBL   1XPBAK9XXND758847   579       IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES22095     2022   PTRBL   1XPBAK9X1ND758848   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22096     2022   PTRBL   1XPBAK9X3ND758849   579       KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22097     2022   PTRBL   1XPBAK9XXND758850   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22098     2022   PTRBL   1XPBAK9X1ND758851   579       IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22099     2022   PTRBL   1XPBAK9X3ND758852   579       VA      Richmond
 HMES     ROAD TRACTOR     RTR‐TA   HMES22100     2022   PTRBL   1XPBAK9X5ND758853   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22101     2022   PTRBL   1XPBAK9X7ND758854   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES22102     2022   PTRBL   1XPBAK9X9ND758855   579       OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES22103     2022   PTRBL   1XPBAK9X0ND758856   579       OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES22104     2022   PTRBL   1XPBAK9X2ND758857   579       OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES22105     2022   PTRBL   1XPBAK9X4ND758858   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22106     2022   PTRBL   1XPBAK9X6ND758859   579       OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES22107     2022   PTRBL   1XPBAK9X2ND758860   579       GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22108     2022   PTRBL   1XPBAK9X4ND758861   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22109     2022   PTRBL   1XPBAK9X6ND758862   579       WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22110     2022   PTRBL   1XPBAK9X8ND758863   579       WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22111     2022   PTRBL   1XPBAK9XXND758864   579       IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES22112     2022   PTRBL   1XPBAK9X1ND758865   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22113     2022   PTRBL   1XPBAK9X3ND758866   579       AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES22114     2022   PTRBL   1XPBAK9X5ND758867   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22115     2022   PTRBL   1XPBAK9X7ND758868   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22116     2022   PTRBL   1XPBAK9X9ND758869   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22117     2022   PTRBL   1XPBAK9X5ND758870   579       OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES22118     2022   PTRBL   1XPBAK9X7ND758871   579       TN      Memphis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22119     2022   PTRBL   1XPBAK9X9ND758872   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22120     2022   PTRBL   1XPBAK9X0ND758873   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22121     2022   PTRBL   1XPBAK9X2ND758874   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22122     2022   PTRBL   1XPBAK9X4ND758875   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22123     2022   PTRBL   1XPBAK9X6ND758876   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22124     2022   PTRBL   1XPBAK9X8ND758877   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22125     2022   PTRBL   1XPBAK9XXND758878   579       MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22126     2022   PTRBL   1XPBAK9X1ND758879   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22127     2022   PTRBL   1XPBAK9X8ND758880   579       GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22128     2022   PTRBL   1XPBAK9XXND758881   579       TN      Goodlettsville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 182 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22129     2022   PTRBL   1XPBAK9X1ND758882   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22130     2022   PTRBL   1XPBAK9X3ND758883   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22131     2022   PTRBL   1XPBAK9X5ND758884   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22132     2022   PTRBL   1XPBAK9X7ND758885   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22133     2022   PTRBL   1XPBAK9X9ND758886   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22134     2022   PTRBL   1XPBAK9X0ND758887   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22135     2022   PTRBL   1XPBAK9X2ND758888   579       WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22136     2022   PTRBL   1XPBAK9X4ND758889   579       MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES22137     2022   PTRBL   1XPBAK9X0ND758890   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22138     2022   PTRBL   1XPBAK9X2ND758891   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22139     2022   PTRBL   1XPBAK9X4ND758892   579       MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22140     2022   PTRBL   1XPBAK9X6ND758893   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22141     2022   PTRBL   1XPBAK9X8ND758894   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22142     2022   PTRBL   1XPBAK9XXND758895   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22143     2022   PTRBL   1XPBAK9X1ND758896   579       IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22144     2022   PTRBL   1XPBAK9X3ND758897   579       IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22145     2022   PTRBL   1XPBAK9X5ND758898   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22146     2022   PTRBL   1XPBAK9X7ND758899   579       IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22147     2022   PTRBL   1XPBAK9XXND758900   579       MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES22148     2022   PTRBL   1XPBAK9X1ND758901   579       MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES22149     2022   PTRBL   1XPBAK9X3ND758902   579       OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES22150     2022   PTRBL   1XPBAK9X5ND758903   579       NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES22151     2022   PTRBL   1XPBAK9X7ND758904   579       KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22152     2022   PTRBL   1XPBAK9X9ND758905   579       IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22153     2022   PTRBL   1XPBAK9X0ND758906   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22154     2022   PTRBL   1XPBAK9X2ND758907   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES22155     2022   PTRBL   1XPBAK9X4ND758908   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22156     2022   PTRBL   1XPBAK9X6ND758909   579       WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22157     2022   PTRBL   1XPBAK9X2ND758910   579       IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22158     2022   PTRBL   1XPBAK9X4ND758911   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22159     2022   PTRBL   1XPBAK9X6ND758912   579       IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES22160     2022   PTRBL   1XPBAK9X8ND758913   579       IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22161     2022   PTRBL   1XPBAK9XXND758914   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22162     2022   PTRBL   1XPBAK9X1ND758915   579       IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22163     2022   PTRBL   1XPBAK9X3ND758916   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22164     2022   PTRBL   1XPBAK9X5ND758917   579       IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22165     2022   PTRBL   1XPBAK9X7ND758918   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22166     2022   PTRBL   1XPBAK9X9ND758919   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22167     2022   PTRBL   1XPBAK9X5ND758920   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22168     2022   PTRBL   1XPBAK9X7ND758921   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22169     2022   PTRBL   1XPBAK9X9ND758922   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22170     2022   PTRBL   1XPBAK9X0ND758923   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22171     2022   PTRBL   1XPBAK9X2ND758924   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22172     2022   PTRBL   1XPBAK9X4ND758925   579       IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22173     2022   PTRBL   1XPBAK9X6ND758926   579       GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22174     2022   PTRBL   1XPBAK9X8ND758927   579       KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22175     2022   PTRBL   1XPBAK9XXND758928   579       IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22176     2022   PTRBL   1XPBAK9X1ND758929   579       IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES22177     2022   PTRBL   1XPBAK9X8ND758930   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22178     2022   PTRBL   1XPBAK9XXND758931   579       IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES22179     2022   PTRBL   1XPBAK9X1ND758932   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22180     2022   PTRBL   1XPBAK9X3ND758933   579       MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22181     2022   PTRBL   1XPBAK9X5ND758934   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22182     2022   PTRBL   1XPBAK9X7ND758935   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22183     2022   PTRBL   1XPBAK9X9ND758936   579       IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES22184     2022   PTRBL   1XPBAK9X0ND758937   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22185     2022   PTRBL   1XPBAK9X2ND758938   579       IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22186     2022   PTRBL   1XPBAK9X4ND758939   579       WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22187     2022   PTRBL   1XPBAK9X0ND758940   579       MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22188     2022   PTRBL   1XPBAK9X2ND758941   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22189     2022   PTRBL   1XPBAK9X4ND758942   579       OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES22190     2022   PTRBL   1XPBAK9X6ND758943   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22191     2022   PTRBL   1XPBAK9X8ND758944   579       OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22192     2022   PTRBL   1XPBAK9XXND758945   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22193     2022   PTRBL   1XPBAK9X1ND758946   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22194     2022   PTRBL   1XPBAK9X3ND758947   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22195     2022   PTRBL   1XPBAK9X5ND758948   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22196     2022   PTRBL   1XPBAK9X7ND758949   579       WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22197     2022   PTRBL   1XPBAK9X3ND758950   579       IL      Atlanta
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 183 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22198     2022   PTRBL   1XPBAK9X5ND758951   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22199     2022   PTRBL   1XPBAK9X7ND758952   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22365     2020   PTRBL   1XPBAK9X6LD656345   579 D     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES22500     2022   PTRBL   1XPBAK9X9ND758953   579       IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22501     2022   PTRBL   1XPBAK9X0ND758954   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22502     2022   PTRBL   1XPBAK9X2ND758955   579       IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22503     2022   PTRBL   1XPBAK9X4ND758956   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22504     2022   PTRBL   1XPBAK9X6ND758957   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22505     2022   PTRBL   1XPBAK9X8ND758958   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22506     2022   PTRBL   1XPBAK9XXND758959   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22507     2022   PTRBL   1XPBAK9X6ND758960   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22508     2022   PTRBL   1XPBAK9X8ND758961   579       WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22509     2022   PTRBL   1XPBAK9XXND758962   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES22510     2022   PTRBL   1XPBAK9X1ND758963   579       IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22511     2022   PTRBL   1XPBAK9X3ND758964   579       IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES22512     2022   PTRBL   1XPBAK9X5ND758965   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22513     2022   PTRBL   1XPBAK9X7ND758966   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES22514     2022   PTRBL   1XPBAK9X9ND758967   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES22515     2022   PTRBL   1XPBAK9X0ND758968   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22516     2022   PTRBL   1XPBAK9X2ND758969   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22517     2022   PTRBL   1XPBAK9X9ND758970   579       IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22518     2022   PTRBL   1XPBAK9X0ND758971   579       MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22519     2022   PTRBL   1XPBAK9X2ND758972   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22520     2022   VOLVO   4V4WB9EG9NN285259   VNR62     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22521     2022   VOLVO   4V4WB9EG5NN285260   VNR62     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22522     2022   VOLVO   4V4WB9EG7NN285261   VNR62     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22523     2022   VOLVO   4V4WB9EG9NN285262   VNR62     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22524     2022   VOLVO   4V4WB9EG0NN285263   VNR62     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22525     2022   FRGHT   1FUGHLDV9NLMZ4985   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22526     2022   FRGHT   1FUGHLDV0NLMZ4986   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22527     2022   FRGHT   1FUGHLDV2NLMZ4987   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22528     2022   FRGHT   1FUGHLDV4NLMZ4988   CASCA     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES22529     2022   FRGHT   1FUGHLDV6NLMZ4989   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22530     2022   FRGHT   1FUGHLDV2NLMZ4990   CASCA     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES22531     2022   FRGHT   1FUGHLDV4NLMZ4991   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22532     2022   FRGHT   1FUGHLDV6NLMZ4992   CASCA     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22533     2022   FRGHT   1FUGHLDV8NLMZ4993   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22534     2022   FRGHT   1FUGHLDVXNLMZ4994   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22535     2022   FRGHT   1FUGHLDV1NLMZ4995   CASCA     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES22536     2022   FRGHT   1FUGHLDV3NLMZ4996   CASCA     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22537     2022   FRGHT   1FUGHLDV5NLMZ4997   CASCA     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22538     2022   FRGHT   1FUGHLDV7NLMZ4998   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22540     2022   FRGHT   1FUGHLDVXNLMZ5000   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22541     2022   FRGHT   1FUGHLDV1NLMZ5001   CASCA     NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES22542     2022   FRGHT   1FUGHLDV3NLMZ5002   CASCA     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22543     2022   FRGHT   1FUGHLDV5NLMZ5003   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22544     2022   FRGHT   1FUGHLDV7NLMZ5004   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22545     2022   FRGHT   1FUGHLDV9NLMZ5005   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22546     2022   FRGHT   1FUGHLDV0NLMZ5006   CASCA     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22547     2022   FRGHT   1FUGHLDV2NLMZ5007   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES22548     2022   FRGHT   1FUGHLDV4NLMZ5008   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES22549     2022   FRGHT   1FUGHLDV6NLMZ5009   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES22550     2022   FRGHT   1FUGHLDV2NLMZ5010   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22551     2022   FRGHT   1FUGHLDV4NLMZ5011   CASCA     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22552     2022   FRGHT   1FUGHLDV6NLMZ5012   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22553     2022   FRGHT   1FUGHLDV8NLMZ5013   CASCA     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22554     2022   FRGHT   1FUGHLDVXNLMZ5014   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22555     2022   FRGHT   1FUGHLDV1NLMZ5015   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22556     2022   FRGHT   1FUGHLDV3NLMZ5016   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22557     2022   FRGHT   1FUGHLDV5NLMZ5017   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22558     2022   FRGHT   1FUGHLDV7NLMZ5018   CASCA     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES22559     2022   FRGHT   1FUGHLDV9NLMZ5019   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22560     2022   FRGHT   1FUGHLDV5NLMZ5020   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22561     2022   FRGHT   1FUGHLDV7NLMZ5021   CASCA     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22562     2022   FRGHT   1FUGHLDV9NLMZ5022   CASCA     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22563     2022   FRGHT   1FUGHLDV0NLMZ5023   CASCA     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22564     2022   FRGHT   1FUGHLDV2NLMZ5024   CASCA     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES22565     2022   FRGHT   1FUGHLDV4NLMZ5025   CASCA     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22566     2022   FRGHT   1FUGHLDV6NLMZ5026   CASCA     MI      Jackson
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 184 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22567     2022   FRGHT   1FUGHLDV8NLMZ5027   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22568     2022   FRGHT   1FUGHLDVXNLMZ5028   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22569     2022   FRGHT   1FUGHLDV1NLMZ5029   CASCA     MO      Baxter Springs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22570     2022   FRGHT   1FUGHLDV8NLMZ5030   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22571     2022   FRGHT   1FUGHLDVXNLMZ5031   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22572     2022   FRGHT   1FUGHLDV1NLMZ5032   CASCA     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22573     2022   FRGHT   1FUGHLDV3NLMZ5033   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22574     2022   FRGHT   1FUGHLDV5NLMZ5034   CASCA     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22575     2022   FRGHT   1FUGHLDV7NLMZ5035   CASCA     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22576     2022   FRGHT   1FUGHLDV9NLMZ5036   CASCA     KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22577     2022   FRGHT   1FUGHLDV0NLMZ5037   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22578     2022   FRGHT   1FUGHLDV2NLMZ5038   CASCA     OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22579     2022   FRGHT   1FUGHLDV4NLMZ5039   CASCA     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22580     2022   FRGHT   1FUGHLDV0NLMZ5040   CASCA     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES22581     2022   FRGHT   1FUGHLDV2NLMZ5041   CASCA     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22582     2022   FRGHT   1FUGHLDV4NLMZ5042   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22583     2022   FRGHT   1FUGHLDV6NLMZ5043   CASCA     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22584     2022   FRGHT   1FUGHLDV8NLMZ5044   CASCA     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22585     2022   FRGHT   1FUGHLDVXNLMZ5045   CASCA     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22586     2022   FRGHT   1FUGHLDV1NLMZ5046   CASCA     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES22587     2022   FRGHT   1FUGHLDV3NLMZ5047   CASCA     IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22588     2022   FRGHT   1FUGHLDV5NLMZ5048   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES22589     2022   FRGHT   1FUGHLDV7NLMZ5049   CASCA     IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES22590     2022   FRGHT   1FUGHLDV3NLMZ5050   CASCA     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22591     2022   FRGHT   1FUGHLDV5NLMZ5051   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22592     2022   FRGHT   1FUGHLDV7NLMZ5052   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22593     2022   FRGHT   1FUGHLDV9NLMZ5053   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22594     2022   FRGHT   1FUGHLDV0NLMZ5054   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22595     2022   FRGHT   1FUGHLDV2NLMZ5055   CASCA     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22596     2022   FRGHT   1FUGHLDV4NLMZ5056   CASCA     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22597     2022   FRGHT   1FUGHLDV6NLMZ5057   CASCA     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES22598     2022   FRGHT   1FUGHLDV8NLMZ5058   CASCA     IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22599     2022   FRGHT   1FUGHLDVXNLMZ5059   CASCA     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES22600     2022   PTRBL   1XPBAK9X0ND777312   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22601     2022   PTRBL   1XPBAK9X2ND777313   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22602     2022   PTRBL   1XPBAK9X4ND777314   579       MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22603     2022   PTRBL   1XPBAK9X6ND777315   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22604     2022   PTRBL   1XPBAK9X8ND777316   579       WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22605     2022   PTRBL   1XPBAK9XXND777317   579       WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22606     2022   PTRBL   1XPBAK9X1ND777318   579       AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES22607     2022   PTRBL   1XPBAK9X3ND777319   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22608     2022   PTRBL   1XPBAK9XXND777320   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22609     2022   PTRBL   1XPBAK9X1ND777321   579       MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22610     2022   PTRBL   1XPBAK9X3ND777322   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22611     2022   PTRBL   1XPBAK9X5ND777323   579       WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22612     2022   PTRBL   1XPBAK9X7ND777324   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22613     2022   PTRBL   1XPBAK9X9ND777325   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22614     2022   PTRBL   1XPBAK9X0ND777326   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22615     2022   PTRBL   1XPBAK9X2ND777327   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22616     2022   PTRBL   1XPBAK9X4ND777328   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22617     2022   PTRBL   1XPBAK9X6ND777329   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22618     2022   PTRBL   1XPBAK9X2ND777330   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22619     2022   PTRBL   1XPBAK9X4ND777331   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22620     2022   PTRBL   1XPBAK9X6ND777332   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22621     2022   PTRBL   1XPBAK9X8ND777333   579       MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22622     2022   PTRBL   1XPBAK9XXND777334   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22623     2022   PTRBL   1XPBAK9X1ND777335   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES22624     2022   PTRBL   1XPBAK9X3ND777336   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22625     2022   PTRBL   1XPBAK9X5ND777337   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22626     2022   PTRBL   1XPBAK9X7ND777338   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22627     2022   PTRBL   1XPBAK9X9ND777339   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22628     2022   PTRBL   1XPBAK9X5ND777340   579       OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES22629     2022   PTRBL   1XPBAK9X7ND777341   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22630     2022   PTRBL   1XPBAK9X9ND777342   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22631     2022   PTRBL   1XPBAK9X0ND777343   579       OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES22632     2022   PTRBL   1XPBAK9X2ND777344   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22633     2022   PTRBL   1XPBAK9X4ND777345   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22634     2022   PTRBL   1XPBAK9X6ND777346   579       MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES22635     2022   PTRBL   1XPBAK9X8ND777347   579       TN      Knoxville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 185 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22636     2022   PTRBL   1XPBAK9XXND777348   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22637     2022   PTRBL   1XPBAK9X1ND777349   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22638     2022   PTRBL   1XPBAK9X8ND777350   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22639     2022   PTRBL   1XPBAK9XXND777351   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22640     2022   PTRBL   1XPBAK9X1ND777352   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22641     2022   PTRBL   1XPBAK9X3ND777353   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22642     2022   PTRBL   1XPBAK9X5ND777354   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22643     2022   PTRBL   1XPBAK9X7ND777355   579       AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES22644     2022   PTRBL   1XPBAK9X9ND777356   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES22645     2022   PTRBL   1XPBAK9X0ND777357   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES22646     2022   PTRBL   1XPBAK9X2ND777358   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES22647     2022   PTRBL   1XPBAK9X4ND777359   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES22648     2022   PTRBL   1XPBAK9X0ND777360   579       AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES22649     2022   PTRBL   1XPBAK9X2ND777361   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22650     2022   PTRBL   1XPBAK9X4ND777362   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22651     2022   PTRBL   1XPBAK9X6ND777363   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22652     2022   PTRBL   1XPBAK9X8ND777364   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22653     2022   PTRBL   1XPBAK9XXND777365   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22654     2022   PTRBL   1XPBAK9X1ND777366   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22655     2022   PTRBL   1XPBAK9X3ND777367   579       IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22656     2022   PTRBL   1XPBAK9X5ND777368   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22657     2022   PTRBL   1XPBAK9X7ND777369   579       IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22658     2022   PTRBL   1XPBAK9X3ND777370   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22659     2022   PTRBL   1XPBAK9X5ND777371   579       MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22660     2022   PTRBL   1XPBAK9X7ND777372   579       IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22661     2022   PTRBL   1XPBAK9X9ND777373   579       GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22662     2022   PTRBL   1XPBAK9X0ND777374   579       IN      Evansville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22663     2022   PTRBL   1XPBAK9X2ND777375   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22664     2022   PTRBL   1XPBAK9X4ND777376   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22665     2022   PTRBL   1XPBAK9X6ND777377   579       IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22666     2022   PTRBL   1XPBAK9X8ND777378   579       IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22667     2022   PTRBL   1XPBAK9XXND777379   579       WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22668     2022   PTRBL   1XPBAK9X6ND777380   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22669     2022   PTRBL   1XPBAK9X8ND777381   579       IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22670     2022   PTRBL   1XPBAK9XXND777382   579       IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES22671     2022   PTRBL   1XPBAK9X1ND777383   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22672     2022   PTRBL   1XPBAK9X3ND791799   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22673     2022   PTRBL   1XPBAK9X6ND791800   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22674     2022   PTRBL   1XPBAK9X8ND791801   579       MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES22675     2022   PTRBL   1XPBAK9XXND791802   579       IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES22676     2022   PTRBL   1XPBAK9X1ND791803   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22677     2022   PTRBL   1XPBAK9X3ND791804   579       MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22678     2022   PTRBL   1XPBAK9X5ND791805   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22679     2022   PTRBL   1XPBAK9X7ND791806   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22680     2022   PTRBL   1XPBAK9X9ND791807   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22681     2022   PTRBL   1XPBAK9X0ND791808   579       IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES22682     2022   PTRBL   1XPBAK9X2ND791809   579       MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22683     2022   PTRBL   1XPBAK9X9ND791810   579       OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22684     2022   PTRBL   1XPBAK9X0ND791811   579       WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES22685     2022   PTRBL   1XPBAK9X2ND791812   579       IL      Rockford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22686     2022   PTRBL   1XPBAK9X4ND791813   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22687     2022   PTRBL   1XPBAK9X6ND791814   579       IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22688     2022   PTRBL   1XPBAK9X8ND791815   579       IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES22689     2022   PTRBL   1XPBAK9XXND791816   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22692     2022   PTRBL   1XPBAK9X5ND791819   579       KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22693     2022   PTRBL   1XPBAK9X1ND791820   579       KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22697     2022   PTRBL   1XPBAK9X9ND791824   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22699     2022   PTRBL   1XPBAK9X2ND791826   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22700     2022   PTRBL   1XPBAK9X4ND791827   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22701     2022   PTRBL   1XPBAK9X6ND791828   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22703     2022   PTRBL   1XPBAK9X4ND791830   579       NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22704     2022   PTRBL   1XPBAK9X6ND791831   579       IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES22706     2022   PTRBL   1XPBAK9XXND791833   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22709     2022   PTRBL   1XPBAK9X5ND791836   579       IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES22710     2022   PTRBL   1XPBAK9X7ND791837   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22711     2022   PTRBL   1XPBAK9X9ND791838   579       WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22712     2022   PTRBL   1XPBAK9X0ND791839   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22713     2022   PTRBL   1XPBAK9X7ND791840   579       GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22714     2022   PTRBL   1XPBAK9X9ND791841   579       TN      Goodlettsville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 186 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22715     2022   PTRBL   1XPBAK9X0ND791842   579       GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES22716     2022   PTRBL   1XPBAK9X2ND791843   579       TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22717     2022   PTRBL   1XPBAK9X4ND791844   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22718     2022   PTRBL   1XPBAK9X6ND791845   579       MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES22719     2022   PTRBL   1XPBAK9X8ND791846   579       MS      Olive Branch
 HMES     ROAD TRACTOR     RTR‐TA   HMES22720     2022   PTRBL   1XPBAK9XXND791847   579       IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES22721     2022   PTRBL   1XPBAK9X1ND791848   579       IA      Council Bluffs
 HMES     ROAD TRACTOR     RTR‐TA   HMES22722     2022   PTRBL   1XPBAK9X3ND791849   579       IL      Rock Island
 HMES     ROAD TRACTOR     RTR‐TA   HMES22723     2022   PTRBL   1XPBAK9XXND791850   579       NC      Raleigh
 HMES     ROAD TRACTOR     RTR‐TA   HMES22724     2022   PTRBL   1XPBAK9X1ND791851   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22725     2022   PTRBL   1XPBAK9X3ND791852   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22726     2022   PTRBL   1XPBAK9X5ND791853   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22727     2022   PTRBL   1XPBAK9X7ND791854   579       KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22728     2022   PTRBL   1XPBAK9X9ND791855   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22730     2022   PTRBL   1XPBAK9X2ND791857   579       MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES22731     2022   PTRBL   1XPBAK9X4ND791858   579       MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES22733     2022   PTRBL   1XPBAK9X2ND791860   579       MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22734     2022   PTRBL   1XPBAK9X4ND791861   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22736     2022   PTRBL   1XPBAK9X8ND791863   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22737     2022   PTRBL   1XPBAK9XXND791864   579       MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES22738     2022   PTRBL   1XPBAK9X1ND791865   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22739     2022   PTRBL   1XPBAK9X3ND791866   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22741     2022   PTRBL   1XPBAK9X7ND791868   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22742     2022   PTRBL   1XPBAK9X9ND791869   579       IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES22744     2022   PTRBL   1XPBAK9X7ND791871   579       SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES22745     2022   PTRBL   1XPBAK9X9ND791872   579       GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES22746     2022   PTRBL   1XPBAK9X0ND791873   579       MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES22747     2022   PTRBL   1XPBAK9X2ND791874   579       WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES22748     2022   PTRBL   1XPBAK9X4ND791875   579       IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22801     2022   PTRBL   1XPBAK9X1ND791817   579       KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22802     2022   PTRBL   1XPBAK9X3ND791818   579       KS      Kansas City
 HMES     ROAD TRACTOR     RTR‐TA   HMES22803     2022   PTRBL   1XPBAK9X3ND791821   579       MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES22808     2022   PTRBL   1XPBAK9X5ND791822   579       MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES22813     2022   PTRBL   1XPBAK9X7ND791823   579       TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22814     2022   PTRBL   1XPBAK9X0ND791825   579       NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES22815     2022   PTRBL   1XPBAK9X8ND791829   579       IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES22816     2022   PTRBL   1XPBAK9X8ND791832   579       KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES22818     2022   PTRBL   1XPBAK9X1ND791834   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22819     2022   PTRBL   1XPBAK9X3ND791835   579       OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES22820     2022   PTRBL   1XPBAK9X0ND791856   579       IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES22821     2022   PTRBL   1XPBAK9X6ND791859   579       MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES22822     2022   PTRBL   1XPBAK9X6ND791862   579       OH      Dayton
 HMES     ROAD TRACTOR     RTR‐TA   HMES22823     2022   PTRBL   1XPBAK9X5ND791867   579       IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES22825     2022   PTRBL   1XPBAK9X5ND791870   579       MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES22828     2022   FRGHT   1FUGHLDV9NLMZ4999   CASCA     TN      Knoxville
 HMES     ROAD TRACTOR     RTR‐TA   HMES26019     2006   INTL    2HSCNAPR66C189898   9400I     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES26025     2006   INTL    2HSCNAPR86C189904   9400I     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES26137     2006   INTL    2HSCNAPR66C190016   9400I     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES26215     2006   INTL    2HSCNAPR46C190094   9400I     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES26276     2006   INTL    2HSCNAPR96C190155   9400I     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES26435     2006   VOLVO   4V4MC9GF36N405910   VNM42     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES26465     2006   VOLVO   4V4MC9GF66N439646   VNM42     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES26486     2006   VOLVO   4V4MC9GF36N439667   VNM42     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES27024     2007   VOLVO   4V4MC9GF27N446790   VNM42     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES27064     2007   VOLVO   4V4MC9GFX7N446830   VNM42     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES27095     2007   VOLVO   4V4MC9GF97N449394   VNM64     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES27224     2007   VOLVO   4V4MC9GF27N449639   VNM64     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES27249     2007   VOLVO   4V4MC9GF17N449664   VNM64     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES27253     2007   VOLVO   4V4MC9GF97N449668   VNM64     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES27260     2007   VOLVO   4V4MC9GF67N449675   VNM64     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES27282     2007   VOLVO   4V4MC9GF67N451801   VNM64     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES27304     2007   VOLVO   4V4MC9GF57N451823   VNM64     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES27331     2007   VOLVO   4V4MC9GF87N451850   VNM64     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES27332     2007   VOLVO   4V4MC9GFX7N451851   VNM64     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES27377     2007   VOLVO   4V4MC9GFX7N451896   VNM64     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES27388     2007   VOLVO   4V4MC9GF07N451907   VNM64     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES27404     2007   VOLVO   4V4MC9GF97N451923   VNM64     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES28009     2008   VOLVO   4V4MC9EG38N498331   VNM64     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES28020     2008   VOLVO   4V4MC9EG88N498342   VNM64     WI      Tomah
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 187 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES28023     2008   VOLVO   4V4MC9EG38N498345   VNM64     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES28027     2008   VOLVO   4V4MC9EG08N498349   VNM64     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES28028     2008   VOLVO   4V4MC9EG78N498350   VNM64     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES28030     2008   VOLVO   4V4MC9EG08N498352   VNM64     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES28036     2008   VOLVO   4V4MC9EG18N498358   VNM64     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES28044     2008   VOLVO   4V4MC9EG08N498366   VNM64     MN      Coon Rapids
 HMES     ROAD TRACTOR     RTR‐TA   HMES28046     2008   VOLVO   4V4MC9EG48N498368   VNM64     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES28056     2008   VOLVO   4V4MC9EG78N498378   VNM64     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES28067     2008   VOLVO   4V4MC9EG18N498389   VNM64     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES28069     2008   VOLVO   4V4MC9EGX8N498391   VNM64     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES28078     2008   VOLVO   4V4MC9EG78N498400   VNM64     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES28101     2008   VOLVO   4V4MC9EG78N263480   VNM64     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES28104     2008   VOLVO   4V4MC9EG28N263483   VNM64     NC      Kernersville
 HMES     ROAD TRACTOR     RTR‐TA   HMES28112     2008   VOLVO   4V4MC9EG18N263491   VNM64     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES28116     2008   VOLVO   4V4MC9EG98N263495   VNM64     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES28140     2008   VOLVO   4V4MC9EG88N263519   VNM64     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES28144     2008   VOLVO   4V4MC9EGX8N263523   VNM64     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES28147     2008   VOLVO   4V4MC9EG58N263526   VNM64     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES28150     2008   VOLVO   4V4MC9EG08N263529   VNM64     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES28166     2009   VOLVO   4V4MC9EG79N263545   VNM64     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES28171     2009   VOLVO   4V4MC9EG09N263550   VNM64     TN      Goodlettsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES28174     2009   VOLVO   4V4MC9EG69N263553   VNM64     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES28179     2009   VOLVO   4V4MC9EG59N263558   VNM64     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES28184     2009   VOLVO   4V4MC9EG99N263563   VNM64     IA      Des Moines
 HMES     ROAD TRACTOR     RTR‐TA   HMES28216     2009   VOLVO   4V4MC9EG09N263595   VNM64     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES28221     2009   VOLVO   4V4MC9EG09N263600   VNM64     SC      West Columbia
 HMES     ROAD TRACTOR     RTR‐TA   HMES28222     2009   VOLVO   4V4MC9EG29N263601   VNM64     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES28223     2009   VOLVO   4V4MC9EG49N263602   VNM64     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES28224     2009   VOLVO   4V4MC9EG69N263603   VNM64     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES28226     2009   VOLVO   4V4MC9EGX9N263605   VNM64     OH      Gallipolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES28228     2009   VOLVO   4V4MC9EG39N263607   VNM64     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES28229     2009   VOLVO   4V4MC9EG59N263608   VNM64     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES28235     2009   VOLVO   4V4MC9EG09N263614   VNM64     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES28236     2009   VOLVO   4V4MC9EG29N263615   VNM64     MO      Strafford
 HMES     ROAD TRACTOR     RTR‐TA   HMES28238     2009   VOLVO   4V4MC9EG69N263617   VNM64     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES28258     2009   VOLVO   4V4MC9EG19N263637   VNM64     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES28267     2009   VOLVO   4V4MC9EG29N263646   VNM64     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES28273     2009   VOLVO   4V4MC9EG89N263652   VNM64     MO      Sikeston
 HMES     ROAD TRACTOR     RTR‐TA   HMES28287     2009   VOLVO   4V4MC9EG89N263666   VNM64     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES28302     2009   VOLVO   4V4MC9EG69N263679   VNM64     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES28307     2009   VOLVO   4V4MC9EGX9N263684   VNM64     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES28310     2009   VOLVO   4V4MC9EG59N263687   VNM64     NY      Maybrook
 HMES     ROAD TRACTOR     RTR‐TA   HMES28322     2009   VOLVO   4V4MC9EG19N263699   VNM64     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES28326     2009   VOLVO   4V4MC9EGX9N263703   VNM64     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES31190     2011   FRGHT   1FUJGEDV4BSAZ0789   X1256     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES31200     2012   FRGHT   1FUJGEDV2CSBM1143   X1256     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES31208     2012   FRGHT   1FUJGEDV5CSBD6322   X1256     MN      Owatonna
 HMES     ROAD TRACTOR     RTR‐TA   HMES31212     2012   FRGHT   1FUJGEDVXCSBD6266   X1256     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES31213     2012   FRGHT   1FUJGEDV6CSBM1386   X1256     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES31215     2012   FRGHT   1FUJGEDV4CSBD3315   X1256     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES31217     2012   FRGHT   1FUJGEDV1CSBM1442   X1256     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES31228     2012   FRGHT   1FUJGEDVXCSBK2694   X1256     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES31230     2012   FRGHT   1FUJGEDVXCSBD3626   X1256     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES31244     2012   FRGHT   1FUJGEDV0CSBH3164   X1256     OH      North Lima
 HMES     ROAD TRACTOR     RTR‐TA   HMES31245     2012   FRGHT   1FUJGEDVXCSBL5915   X1256     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES31247     2012   FRGHT   1FUJGEDV2CSBD3104   X1256     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES31257     2012   FRGHT   1FUJGEDV0CSBD7037   X1256     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES31259     2012   FRGHT   1FUJGEDVXCSBJ9195   X1256     WI      Neenah
 HMES     ROAD TRACTOR     RTR‐TA   HMES31261     2012   FRGHT   1FUJGEDV0CSBJ6290   X1256     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES31265     2012   FRGHT   1FUJGEDV8CSBH3171   X1256     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES31266     2012   FRGHT   1FUJGEDV1CSBD2865   X1256     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES31268     2012   FRGHT   1FUJGEDV6CSBJ9226   X1256     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES31269     2012   FRGHT   1FUJGEDV6CSBD3509   X1256     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES31273     2012   FRGHT   1FUJGEDV0CSBJ0599   X1256     OH      Akron
 HMES     ROAD TRACTOR     RTR‐TA   HMES31274     2012   FRGHT   1FUJGEDV9CSBJ9219   X1256     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES31275     2012   FRGHT   1FUJGEDV3CSBD3323   X1256     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES31276     2012   FRGHT   1FUJGEDR8CSBK2552   X1256     IN      Fort Wayne
 HMES     ROAD TRACTOR     RTR‐TA   HMES31277     2012   FRGHT   1FUJGEDV3CSBP3650   X1256     IL      Wheeling
 HMES     ROAD TRACTOR     RTR‐TA   HMES33099     2013   FRGHT   1FUJGEDV8DSBZ1739   X1256     IN      Fort Wayne
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 188 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR     RTR‐TA   HMES33156     2013   FRGHT   1FUJGEDV7DSBZ1750   X1256     AL      Birmingham
 HMES     ROAD TRACTOR     RTR‐TA   HMES33198     2013   FRGHT   1FUJGEDVXDSBZ1712   X1256     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES33199     2013   FRGHT   1FUJGEDV5DSBZ1701   X1256     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES33211     2013   FRGHT   1FUJGEDV8DSBU6123   X1256     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES33212     2013   FRGHT   1FUJGEDV6DSBZ1724   X1256     NC      Charlotte
 HMES     ROAD TRACTOR     RTR‐TA   HMES33214     2013   FRGHT   3AKJGEDV0DSBZ1796   X1256     WI      Tomah
 HMES     ROAD TRACTOR     RTR‐TA   HMES33217     2013   FRGHT   1FUJGEDV4DSBX3903   X1256     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES33220     2013   FRGHT   1FUJGEDV8DSBZ1725   X1256     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES33222     2013   FRGHT   1FUJGEDV9DSBZ1720   X1256     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES33226     2013   FRGHT   1FUJGEDV7DSBZ1733   X1256     IL      Danville
 HMES     ROAD TRACTOR     RTR‐TA   HMES33228     2013   FRGHT   1FUJGEDV3DSBZ1759   X1256     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES33229     2013   FRGHT   1FUJGEDV2DSBX3902   X1256     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES34000     2014   FRGHT   3AKJGED69ESFM1243   X1256     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES35064     2005   FRGHT   1FUJA6CG75PV19809   COLUM     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES36337     2006   FRGHT   1FUJA6CKX6LV99524   CL120     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES36341     2006   FRGHT   1FUJA6CK86LV99523   CL120     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES36378     2006   FRGHT   1FUJA6CK96LX17692   COLUM     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES36388     2006   FRGHT   1FUJA6CK76LV98802   COLUM     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES36411     2006   FRGHT   1FUJA6CK36LV85321   COLUM     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES36420     2006   FRGHT   1FUJA6CK66LV84745   CL120     MI      Birch Run
 HMES     ROAD TRACTOR     RTR‐TA   HMES36427     2006   FRGHT   1FUJA6CK56LV99530   CL120     IL      Chicago Heights
 HMES     ROAD TRACTOR     RTR‐TA   HMES37010     2007   FRGHT   1FUJA6CK67DX37166   CL120     KY      Lexington
 HMES     ROAD TRACTOR     RTR‐TA   HMES37016     2007   FRGHT   1FUJA6CK67LW68209   COLUM     SC      Piedmont
 HMES     ROAD TRACTOR     RTR‐TA   HMES37020     2007   FRGHT   1FUJA6CK27LW68207   COLUM     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES37024     2007   FRGHT   1FUJA6CK87LX28488   COLUM     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES37027     2007   FRGHT   1FUJA6CK57LX77695   COLUM     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES37034     2007   FRGHT   1FUJA6CK17LY28755   COLUM     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES37051     2007   FRGHT   1FUJA6CK27LX52415   COLUM     WI      Mosinee
 HMES     ROAD TRACTOR     RTR‐TA   HMES37058     2007   FRGHT   1FUJA6CK47LX76778   COLUM     MI      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES37062     2007   FRGHT   1FUJA6CK67LX77589   COLUM     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES37075     2007   FRGHT   1FUJA6CK77LX77228   CL120     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES37078     2007   FRGHT   1FUJA6CG57LX26564   CL120     GA      Ringgold
 HMES     ROAD TRACTOR     RTR‐TA   HMES38010     2008   INTL    2HSCEAPR38C644256   9200I     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES38112     2011   FRGHT   1FUJGEDV3BSAZ1089   X1256     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES38131     2013   FRGHT   1FUJGEDVXDSBZ1693   X1256     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES38133     2013   FRGHT   1FUJGEDV9DSBZ1698   X1256     MI      Gaylord
 HMES     ROAD TRACTOR     RTR‐TA   HMES38135     2013   FRGHT   1FUJGEDV1DSBZ2330   X1256     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES38137     2013   FRGHT   1FUJGEDV7DLBZ2326   X1256     MN      Jackson
 HMES     ROAD TRACTOR     RTR‐TA   HMES38138     2013   FRGHT   1FUJGEDV1DSBZ2327   X1256     TX      Irving
 HMES     ROAD TRACTOR     RTR‐TA   HMES38141     2013   FRGHT   1FUJGEDV3DLBZ2324   X1256     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES38143     2013   FRGHT   1FUJGEDV1DLBZ2323   X1256     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES42002     2012   VOLVO   4V4MC9EG9CN555642   VNM64     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES42004     2012   VOLVO   4V4MC9EG2CN555644   VNM64     IN      Jeffersonville
 HMES     ROAD TRACTOR     RTR‐TA   HMES42009     2012   VOLVO   4V4MC9EG1CN555649   VNM64     IN      Indianapolis
 HMES     ROAD TRACTOR     RTR‐TA   HMES42011     2012   VOLVO   4V4MC9EGXCN555651   VNM64     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES42012     2012   VOLVO   4V4MC9EG1CN555652   VNM64     NY      Williamsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES42015     2012   VOLVO   4V4MC9EG7CN555655   VNM64     WI      Milwaukee
 HMES     ROAD TRACTOR     RTR‐TA   HMES42018     2012   VOLVO   4V4MC9EG2CN555658   VNM64     IL      Atlanta
 HMES     ROAD TRACTOR     RTR‐TA   HMES42019     2012   VOLVO   4V4MC9EG4CN555659   VNM64     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES42022     2012   VOLVO   4V4MC9EG4CN555662   VNM64     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES42023     2012   VOLVO   4V4MC9EG6CN555663   VNM64     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES42024     2012   VOLVO   4V4MC9EG8CN555664   VNM64     IL      Joliet
 HMES     ROAD TRACTOR     RTR‐TA   HMES42026     2012   VOLVO   4V4MC9EG1CN555666   VNM64     IN      South Bend
 HMES     ROAD TRACTOR     RTR‐TA   HMES42035     2012   VOLVO   4V4MC9EG2CN555675   VNM64     IL      Edwardsville
 HMES     ROAD TRACTOR     RTR‐TA   HMES42036     2012   VOLVO   4V4MC9EG4CN555676   VNM64     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES42042     2012   VOLVO   4V4MC9EGXCN555682   VNM64     GA      Ellenwood
 HMES     ROAD TRACTOR     RTR‐TA   HMES42045     2012   VOLVO   4V4MC9EG5CN555685   VNM64     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES42046     2012   VOLVO   4V4MC9EG7CN555686   VNM64     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES42047     2012   VOLVO   4V4MC9EG9CN555687   VNM64     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES42050     2012   VOLVO   4V4MC9EG9CN555690   VNM64     IL      Chicago Heights
 HMES     ROAD TRACTOR     RTR‐TA   HMES42053     2012   VOLVO   4V4MC9EG4CN555693   VNM64     OH      Bowling Green
 HMES     ROAD TRACTOR     RTR‐TA   HMES42054     2012   VOLVO   4V4MC9EG6CN555694   VNM64     AL      Decatur
 HMES     ROAD TRACTOR     RTR‐TA   HMES42055     2012   VOLVO   4V4MC9EG8CN555695   VNM64     IL      McCook
 HMES     ROAD TRACTOR     RTR‐TA   HMES42056     2012   VOLVO   4V4MC9EGXCN555696   VNM64     OH      Cincinnati
 HMES     ROAD TRACTOR     RTR‐TA   HMES42058     2012   VOLVO   4V4MC9EG3CN555698   VNM64     MI      Romulus
 HMES     ROAD TRACTOR     RTR‐TA   HMES42059     2012   VOLVO   4V4MC9EG5CN555699   VNM64     MI      Wayland
 HMES     ROAD TRACTOR     RTR‐TA   HMES70160     2014   FRGHT   1FUGGBDV5ELFX1478   CASCA     OH      Columbus
 HMES     ROAD TRACTOR     RTR‐TA   HMES70161     2014   FRGHT   3ALXA7A86EDFP8313   CL120     OH      Brooklyn
 HMES     ROAD TRACTOR     RTR‐TA   HMES70162     2014   FRGHT   3ALXA7A88EDFP8314   CL120     IA      Council Bluffs
                    Case 23-11069-CTG                Doc 969-1          Filed 10/26/23       Page 189 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     ROAD TRACTOR        RTR‐TA   HMES70165      2014   FRGHT   3ALXA7A83EDFP8317   CL120     MI      Jackson
 HMES     ROAD TRACTOR        RTR‐TA   HMES70166      2014   FRGHT   3ALXA7A85EDFP8318   CL120     IN      Indianapolis
 HMES     ROAD TRACTOR        RTR‐TA   HMES70167      2014   FRGHT   3ALXA7A87EDFP8319   CL120     SC      West Columbia
 HMES     ROAD TRACTOR        RTR‐TA   HMES70168      2014   FRGHT   3ALXA7A83EDFP8320   CL120     OH      Brooklyn
 HMES     ROAD TRACTOR        RTR‐TA   HMES70170      2014   FRGHT   3ALXA7A87EDFP8322   CL120     TN      Knoxville
 HMES     ROAD TRACTOR        RTR‐TA   HMES70171      2014   FRGHT   3ALXA7A89EDFP8323   CL120     GA      Ringgold
 HMES     ROAD TRACTOR        RTR‐TA   HMES70172      2014   FRGHT   3ALXA7A80EDFP8324   CL120     WI      Neenah
 HMES     ROAD TRACTOR        RTR‐TA   HMES70175      2014   FRGHT   3ALXA7A86EDFP8327   CL120     OH      Dayton
 HMES     ROAD TRACTOR        RTR‐TA   HMES70176      2014   FRGHT   3ALXA7A88EDFP8328   CL120     MN      Jackson
 HMES     ROAD TRACTOR        RTR‐TA   HMES70177      2014   FRGHT   3ALXA7A86EDFP8330   CL120     OH      Brooklyn
 HMES     ROAD TRACTOR        RTR‐TA   HMES70178      2014   FRGHT   3ALXA7A88EDFP8331   CL120     GA      Ellenwood
 HMES     ROAD TRACTOR        RTR‐TA   HMES70181      2014   FRGHT   3ALXA7A83EDFP8334   CL120     OH      Brooklyn
 HMES     ROAD TRACTOR        RTR‐TA   HMES70182      2014   FRGHT   3ALXA7A85EDFP8335   CL120     TX      Irving
 HMES     ROAD TRACTOR        RTR‐TA   HMES70184      2014   FRGHT   3ALXA7A89EDFP8337   CL120     GA      Ringgold
 HMES     ROAD TRACTOR        RTR‐TA   HMES70185      2014   FRGHT   3ALXA7A80EDFP8338   CL120     OH      Gallipolis
 HMES     ROAD TRACTOR        RTR‐TA   HMES70187      2014   FRGHT   3ALXA7A89EDFP8340   CL120     IL      Rockford
 HMES     ROAD TRACTOR        RTR‐TA   HMES70188      2014   FRGHT   3ALXA7A80EDFP8341   CL120     OH      Brooklyn
 HMES     ROAD TRACTOR        RTR‐TA   HMES70189      2014   FRGHT   3ALXA7A82EDFP8342   CL120     IL      Atlanta
 HMES     ROAD TRACTOR        RTR‐TA   HMES70190      2014   FRGHT   3ALXA7A84EDFP8343   CL120     AL      Decatur
 HMES     ROAD TRACTOR        RTR‐TA   HMES70191      2014   FRGHT   3ALXA7A86EDFP8344   CL120     IL      Rockford
 HMES     ROAD TRACTOR        RTR‐TA   HMES70194      2014   FRGHT   3ALXA7A81EDFP8347   CL120     MN      Jackson
 HMES     ROAD TRACTOR        RTR‐TA   HMES70197      2014   FRGHT   3ALXA7A81EDFP8350   CL120     MO      Baxter Springs
 HMES     ROAD TRACTOR        RTR‐TA   HMES70198      2014   FRGHT   3ALXA7A83EDFP8351   CL120     IL      Rockford
 HMES     ROAD TRACTOR        RTR‐TA   HMES70199      2014   FRGHT   3ALXA7A85EDFP8352   CL120     OH      Brooklyn
 HMES     ROAD TRACTOR        RTR‐TA   HMES70200      2014   FRGHT   3ALXA7A87EDFP8353   CL120     VA      Richmond
 HMES     ROAD TRACTOR        RTR‐TA   HMES70201      2014   FRGHT   3ALXA7A89EDFP8354   CL120     OH      Brooklyn
 HMES     ROAD TRACTOR        RTR‐TA   HMES70202      2014   FRGHT   3ALXA7A80EDFP8355   CL120     MI      Wayland
 HMES     ROAD TRACTOR        RTR‐TA   HMES70203      2014   FRGHT   3ALXA7A82EDFP8356   CL120     IN      Indianapolis
 HMES     ROAD TRACTOR        RTR‐TA   HMES70204      2014   FRGHT   3ALXA7A84EDFP8357   CL120     IL      Joliet
 HMES     ROAD TRACTOR        RTR‐TA   HMES70205      2014   FRGHT   3ALXA7A86EDFP8358   CL120     MI      Birch Run
 HMES     ROAD TRACTOR        RTR‐TA   HMES70206      2014   FRGHT   3ALXA7A88EDFP8359   CL120     OH      Columbus
 HMES     ROAD TRACTOR        RTR‐TA   HMES70207      2014   FRGHT   3ALXA7A84EDFP8360   CL120     MI      Wayland
 HMES     ROAD TRACTOR        RTR‐TA   HMES70208      2014   FRGHT   3ALXA7A86EDFP8361   CL120     OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG      HMES193021     1991   STGHT   1DW1A5324MS956145   AVW53     OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG      HMES193147     1999   DORSY   1DTV11526XA269344   AID       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG      HMES193174     1998   WABSH   1JJV532W6WL504223   SWING     NC      Raleigh
 HMES     SERVICE EQUIPMENT   STG      HMES193182     1998   WABSH   1JJV532W1WL504260   SWING     IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG      HMES200515     1991   WABSH   1JJV482M6ML151266   FRP 1     NY      Williamsville
 HMES     SERVICE EQUIPMENT   STG      HMES200579     1991   WABSH   1JJV482M8ML151334   FRP 1     GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG      HMES201101     1992   WABSH   1JJV482M8NL165106   FRP 1     IL      Joliet
 HMES     SERVICE EQUIPMENT   STG      HMES202284     1993   WABSH   1JJV482M3PL182091   FRP 1     IL      McCook
 HMES     SERVICE EQUIPMENT   STG      HMES202344     1993   WABSH   1JJV482M6PL182151   FRP 1     GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG      HMES202368     1993   WABSH   1JJV482M9PL182175   FRP 1     IL      McCook
 HMES     SERVICE EQUIPMENT   STG      HMES202385     1993   WABSH   1JJV482M9PL182192   FRP 1     IL      Joliet
 HMES     SERVICE EQUIPMENT   STG      HMES204010     1984   FRUHF   1H2V04827EB005010   FP9F2     WI      Mosinee
 HMES     SERVICE EQUIPMENT   STG      HMES205401     1995   WABSH   1JJV482MXSL247365   FRP 1     IL      Rockford
 HMES     SERVICE EQUIPMENT   STG      HMES205788     1995   WABSH   1JJV482M0SL247777   FRP       AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG      HMES205963     1996   WABSH   1JJV482M1TL247952   FRP       OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG      HMES206042     1986   WABSH   1JJV482M4GL102104   FRP       OH      Columbus
 HMES     SERVICE EQUIPMENT   STG      HMES206456     1996   WABSH   1JJV482M6TL248045   FRP 1     MS      Olive Branch
 HMES     SERVICE EQUIPMENT   STG      HMES206500     1996   WABSH   1JJV482M4TL248089   FRP 1     OH      Akron
 HMES     SERVICE EQUIPMENT   STG      HMES207006     1987   WABSH   1JJV482M9HL110880   102‐F     MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG      HMES207046     1987   WABSH   1JJV482M6HL110920   102‐F     WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG      HMES207154     1987   FRUHF   1H2V0482XHC002004   FRP‐S     MI      Gaylord
 HMES     SERVICE EQUIPMENT   STG      HMES207167     1987   FRUHF   1H2V04828HC002017   FRP‐S     MO      Sikeston
 HMES     SERVICE EQUIPMENT   STG      HMES207204     1987   FRUHF   1H2V04823HC002054   FRP‐S     GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG      HMES207240     1987   FRUHF   1H2V04824HH008805   ALUM      OH      Columbus
 HMES     SERVICE EQUIPMENT   STG      HMES207251     1987   FRUHF   1H2V04829HH008816   ALUM      MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG      HMES207291     1987   FRUHF   1H2V04828HH008855   ALUM      GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG      HMES207303     1987   FRUHF   1H2V04826HH008868   ALUM      OH      Akron
 HMES     SERVICE EQUIPMENT   STG      HMES207330     1987   FRUHF   1H2V04820HH008896   ALUM      MO      Sikeston
 HMES     SERVICE EQUIPMENT   STG      HMES207435     1987   GRTDN   1JJV482P4HL105712   FRP       OH      Bowling Green
 HMES     SERVICE EQUIPMENT   STG      HMES207454     1987   WABSH   1JJV482P1HL105733   FRP       SC      West Columbia
 HMES     SERVICE EQUIPMENT   STG      HMES207493     1987   WABSH   1JJV482P5HL105802   FRP       OH      Bowling Green
 HMES     SERVICE EQUIPMENT   STG      HMES207499     1987   WABSH   1JJV482P6HL105811   FRP       WI      Tomah
 HMES     SERVICE EQUIPMENT   STG      HMES207500     1987   WABSH   1JJV482P8HL105812   FRP       OH      Gallipolis
 HMES     SERVICE EQUIPMENT   STG      HMES207529     1987   WABSH   1JJV482P6HL105842   FRP       AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG      HMES207530     1987   WABSH   1JJV482P8HL105843   FRP       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG      HMES207654     1997   WABSH   1JJV482M3VL359106   FRP       TN      Knoxville
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 190 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     SERVICE EQUIPMENT   STG     HMES207741     1997   WABSH   1JJV482M0VL359193   FRP       IL      Atlanta
 HMES     SERVICE EQUIPMENT   STG     HMES207770     1997   WABSH   1JJV482M4VL397055   FRP 1     NC      Raleigh
 HMES     SERVICE EQUIPMENT   STG     HMES207797     1997   WABSH   1JJV482M7VL397082   FRP 1     OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES207833     1997   WABSH   1JJV482M2VL397118   FRP 1     MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES207836     1997   WABSH   1JJV482M2VL397121   FRP 1     OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES207840     1997   WABSH   1JJV482MXVL397125   FRP 1     IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES207922     1997   WABSH   1JJV482M5VL409777   FRP 1     MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES208086     1988   WABSH   1JJV482MXJL114894   FRP‐1     IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES208244     1997   WABSH   1JJV482M8VL409899   FRP       OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES208454     1998   WABSH   1JJV482M0WL410109   FRP 1     IL      Atlanta
 HMES     SERVICE EQUIPMENT   STG     HMES208463     1998   WABSH   1JJV482M1WL410118   FRP 1     MN      Owatonna
 HMES     SERVICE EQUIPMENT   STG     HMES208516     1998   WABSH   1JJV482M5WL410171   FRP 1     OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES208519     1998   WABSH   1JJV482M0WL410174   FRP 1     IL      Danville
 HMES     SERVICE EQUIPMENT   STG     HMES208532     1998   WABSH   1JJV482M9WL410187   FRP 1     IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES208534     1998   WABSH   1JJV482M2WL410189   FRP 1     IL      Atlanta
 HMES     SERVICE EQUIPMENT   STG     HMES208547     1998   WABSH   1JJV482M1WL410202   FRP 1     IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES208558     1998   WABSH   1JJV482M6WL410213   FRP 1     MO      Baxter Springs
 HMES     SERVICE EQUIPMENT   STG     HMES208582     1998   WABSH   1JJV482M9WL410237   FRP 1     GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES208588     1998   WABSH   1JJV482M4WL410243   FRP 1     MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES208691     1998   TRLMB   1PT01ARH8W9002773   FRP 1     WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES208736     1998   TRLMB   1PT01ARH4W9002818   FRP 1     OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES208792     1998   TRLMB   1PT01ARH3W9002874   FRP 1     TN      Goodlettsville
 HMES     SERVICE EQUIPMENT   STG     HMES209024     1989   FRUHF   1H2V04825KB009424   FP9‐F     MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES209152     1999   WABSH   1JJV482W3XL618147   DURAP     MO      Strafford
 HMES     SERVICE EQUIPMENT   STG     HMES209171     1999   WABSH   1JJV482W7XL618166   DURAP     IL      Rockford
 HMES     SERVICE EQUIPMENT   STG     HMES209200     1999   WABSH   1JJV482W3XL618195   DURAP     IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES209203     1999   WABSH   1JJV482W4XL558461   DURAP     IL      Rockford
 HMES     SERVICE EQUIPMENT   STG     HMES209207     1999   WABSH   1JJV482W1XL558465   DURAP     IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES209227     1999   WABSH   1JJV482W7XL558485   DURAP     MO      Sikeston
 HMES     SERVICE EQUIPMENT   STG     HMES209241     1999   WABSH   1JJV482W7XL558499   DURAP     IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES209256     1999   WABSH   1JJV482WXXL558514   DURAP     IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG     HMES209267     1999   WABSH   1JJV482W4XL558525   DURAP     IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES209279     1999   WABSH   1JJV482W0XL558537   DURAP     SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES209284     1999   WABSH   1JJV482W4XL558542   DURAP     IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES209297     1999   WABSH   1JJV482W2XL558555   DURAP     IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES209303     1999   WABSH   1JJV482W8XL558561   DURAP     IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES209313     1999   WABSH   1JJV482W0XL558571   DURAP     OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES209330     1999   WABSH   1JJV482W6XL558588   DURAP     IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG     HMES209331     1999   WABSH   1JJV482W8XL558589   DURAP     IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES209336     1999   WABSH   1JJV482W1XL558594   DURAP     MS      Olive Branch
 HMES     SERVICE EQUIPMENT   STG     HMES209344     1999   WABSH   1JJV482W7XL558602   DURAP     OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES209346     1999   WABSH   1JJV482W0XL558604   DURAP     MI      Jackson
 HMES     SERVICE EQUIPMENT   STG     HMES209356     1999   WABSH   1JJV482W4XL567886   DURAP     MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES209363     1999   WABSH   1JJV482W1XL567893   DURAP     IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG     HMES209365     1999   WABSH   1JJV482W5XL567895   DURAP     IL      Rockford
 HMES     SERVICE EQUIPMENT   STG     HMES209371     1999   WABSH   1JJV482W7XL567901   DURAP     IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES209372     1999   WABSH   1JJV482W9XL567902   DURAP     IN      Evansville
 HMES     SERVICE EQUIPMENT   STG     HMES209374     1999   WABSH   1JJV482W2XL567904   DURAP     IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES209391     1999   WABSH   1JJV482W2XL567921   DURAP     IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES209412     1999   WABSH   1JJV482WXXL567942   DURAP     OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES209414     1999   WABSH   1JJV482W3XL567944   DURAP     MS      Olive Branch
 HMES     SERVICE EQUIPMENT   STG     HMES209428     1999   WABSH   1JJV482W3XL567958   DURAP     IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES209433     1999   WABSH   1JJV482W7XL567963   DURAP     IN      Fort Wayne
 HMES     SERVICE EQUIPMENT   STG     HMES209438     1999   WABSH   1JJV482W6XL567968   DURAP     AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES209440     1999   WABSH   1JJV482W4XL567970   DURAP     GA      Ringgold
 HMES     SERVICE EQUIPMENT   STG     HMES209442     1999   WABSH   1JJV482W2XL636493   DURAP     MN      Owatonna
 HMES     SERVICE EQUIPMENT   STG     HMES209444     1999   WABSH   1JJV482W6XL636495   DURAP     AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES209465     1999   WABSH   1JJV482WXXL636516   DURAP     OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES209474     1999   WABSH   1JJV482W0XL636525   DURAP     OH      Gallipolis
 HMES     SERVICE EQUIPMENT   STG     HMES209493     1999   WABSH   1JJV482W4XL636544   DURAP     MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES209500     1999   WABSH   1JJV482W1XL636551   DURAP     IL      Atlanta
 HMES     SERVICE EQUIPMENT   STG     HMES209505     1999   WABSH   1JJV482W0XL636556   DURAP     MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES209515     1999   WABSH   1JJV482W3XL636566   DURAP     IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES209518     1999   WABSH   1JJV482W9XL636569   DURAP     IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES209520     1999   WABSH   1JJV482W7XL636571   DURAP     MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES209524     1999   WABSH   1JJV482W4XL636575   DURAP     OH      Gallipolis
 HMES     SERVICE EQUIPMENT   STG     HMES209538     1999   WABSH   1JJV482W4XL636589   DURAP     IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG     HMES209581     2000   WABSH   1JJV482WXYL636632   1JJ       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES209602     2000   WABSH   1JJV482W7YL636653   1JJ       IL      Rockford
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 191 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     SERVICE EQUIPMENT   STG     HMES209603     2000   WABSH   1JJV482W9YL636654   1JJ       WI      Neenah
 HMES     SERVICE EQUIPMENT   STG     HMES209607     2000   WABSH   1JJV482W6YL636658   1JJ       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES209686     2000   WABSH   1JJV482W2YL636737   1JJ       MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES209687     2000   WABSH   1JJV482W4YL636738   1JJ       AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES209705     2000   WABSH   1JJV482W6YL636756   1JJ       AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES209715     2000   WABSH   1JJV482W9YL636766   1JJ       MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES209739     2000   WABSH   1JJV482W6YL636790   1JJ       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES209750     2000   WABSH   1JJV482W7YL636801   1JJ       GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES209757     2000   WABSH   1JJV482WXYL636808   1JJ       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES209764     2000   WABSH   1JJV482W7YL636815   1JJ       IL      Rockford
 HMES     SERVICE EQUIPMENT   STG     HMES209785     2000   WABSH   1JJV482W1YL678140   1JJ       IL      Danville
 HMES     SERVICE EQUIPMENT   STG     HMES209804     2000   WABSH   1JJV482W0YL678159   1JJ       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES209812     2000   WABSH   1JJV482WXYL678167   1JJ       WI      Tomah
 HMES     SERVICE EQUIPMENT   STG     HMES209816     2000   WABSH   1JJV482W1YL678171   1JJ       OH      Akron
 HMES     SERVICE EQUIPMENT   STG     HMES209826     2000   WABSH   1JJV482W4YL678181   1JJ       IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES209831     2000   WABSH   1JJV482W3YL678186   1JJ       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES209848     2000   WABSH   1JJV482WXYL678203   1JJ       MS      Olive Branch
 HMES     SERVICE EQUIPMENT   STG     HMES209852     2000   WABSH   1JJV482W7YL678207   1JJ       KY      Lexington
 HMES     SERVICE EQUIPMENT   STG     HMES209855     2000   WABSH   1JJV482W7YL678210   1JJ       OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES209864     2000   WABSH   1JJV482W3YL678219   1JJ       MN      Jackson
 HMES     SERVICE EQUIPMENT   STG     HMES209928     2000   DORSY   1DTV11Z24YA281780   AID       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES209936     2000   DORSY   1DTV11Z29YA281788   AID       OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES209939     2000   DORSY   1DTV11Z29YA281791   AID       GA      Ringgold
 HMES     SERVICE EQUIPMENT   STG     HMES209957     2000   DORSY   1DTV11Z22YA281809   AID       MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES209963     2000   DORSY   1DTV11Z28YA281815   AID       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES209974     2000   DORSY   1DTV11Z22YA281826   AID       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES209975     2000   DORSY   1DTV11Z24YA281827   AID       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES209994     2000   DORSY   1DTV11Z28YA281846   AID       WI      Neenah
 HMES     SERVICE EQUIPMENT   STG     HMES220011     1980   MONON   47567               FRP       OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES220019     1980   MONON   47734               FRP       OH      Dayton
 HMES     SERVICE EQUIPMENT   STG     HMES220057     2000   DORSY   1DTV11G17YA283906   AID       OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES220058     2000   DORSY   1DTV11G19YA283907   AID       OH      Gallipolis
 HMES     SERVICE EQUIPMENT   STG     HMES220062     2000   DORSY   1DTV11G10YA283911   AID       IN      Fort Wayne
 HMES     SERVICE EQUIPMENT   STG     HMES220081     2000   DORSY   1DTV11G14YA283930   AID       IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG     HMES220084     2000   DORSY   1DTV11G1XYA283933   AID       OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES220090     2000   DORSY   1DTV11G10YA283939   AID       OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES220092     2000   DORSY   1DTV11G19YA283941   AID       IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG     HMES264014     1974   COPCO   8586                EP150     OH      Akron
 HMES     SERVICE EQUIPMENT   STG     HMES279072     1989   ALLOY   1ALSP6185KS891663   FRP       GA      Ringgold
 HMES     SERVICE EQUIPMENT   STG     HMES286008     1986   WABSH   1JJV452C9GL104999   FRP96     OH      Bowling Green
 HMES     SERVICE EQUIPMENT   STG     HMES286012     1986   WABSH   1JJV452C5GL105003   FRP96     GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES297002     1998   WABSH   1JJV402W5WL468803   FRP10     IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES297014     1998   WABSH   1JJV402W1WL468815   FRP10     IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES297015     1998   WABSH   1JJV402W3WL468816   FRP10     OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES297018     1998   WABSH   1JJV402W9WL468819   FRP10     OH      Bowling Green
 HMES     SERVICE EQUIPMENT   STG     HMES297020     1998   WABSH   1JJV402W7WL468821   FRP10     MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES297022     1998   WABSH   1JJV402W0WL468823   FRP10     IN      Fort Wayne
 HMES     SERVICE EQUIPMENT   STG     HMES297025     1998   WABSH   1JJV402W6WL468826   FRP10     OH      Dayton
 HMES     SERVICE EQUIPMENT   STG     HMES297026     1998   WABSH   1JJV402W8WL468827   FRP10     IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES297030     1998   WABSH   1JJV402WXWL468831   FRP10     OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES297037     1998   WABSH   1JJV402W2WL468838   FRP10     KY      Lexington
 HMES     SERVICE EQUIPMENT   STG     HMES297043     1998   WABSH   1JJV402W8WL468844   FRP10     IN      Evansville
 HMES     SERVICE EQUIPMENT   STG     HMES297052     1998   TRLMB   1PT01ARH6W9002898   OIAR      IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES297053     1998   TRLMB   1PT01ARH8W9002899   OIAR      NC      Charlotte
 HMES     SERVICE EQUIPMENT   STG     HMES297068     1998   TRLMB   1PT01ARH0W9002914   OIAR      OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES297705     1991   WABSH   1JJV402A2ML157119   FRP       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES298111     1999   WABSH   1JJV402W0XL532179   DURAP     OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES298115     1999   WABSH   1JJV402W2XL532183   DURAP     MI      Jackson
 HMES     SERVICE EQUIPMENT   STG     HMES298119     1999   WABSH   1JJV402WXXL532187   DURAP     OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES298125     1999   WABSH   1JJV402W5XL532193   DURAP     IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG     HMES298130     1999   WABSH   1JJV402W4XL532198   DURAP     IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES298143     1999   WABSH   1JJV402W3XL532211   DURAP     IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES298148     1999   WABSH   1JJV402W2XL532216   DURAP     IL      Danville
 HMES     SERVICE EQUIPMENT   STG     HMES304005     1994   WABSH   1JJV482M9RL247349   FRP 1     GA      Conley
 HMES     SERVICE EQUIPMENT   STG     HMES304007     1994   WABSH   1JJV482M7RL247351   FRP 1     IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES304009     1994   WABSH   1JJV482M0RL247353   FRP 1     MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES304014     1994   WABSH   1JJV482M1RL247362   FRP 1     IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES304027     1994   STRCK   1S12S8485RD367218   S7480     TN      Knoxville
 HMES     SERVICE EQUIPMENT   STG     HMES304033     1994   STRCK   1S12S8482RD367225   S7480     NY      Williamsville
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 192 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     SERVICE EQUIPMENT   STG     HMES304039     1994   STRCK   1S12S8488RD367231   S7480     OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES304041     1994   STRCK   1S12S8481RD367233   S7480     IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES304042     1994   STRCK   1S12S8483RD367234   S7480     IL      Danville
 HMES     SERVICE EQUIPMENT   STG     HMES304044     1994   STRCK   1S12S8487RD367236   S7480     MI      Romulus
 HMES     SERVICE EQUIPMENT   STG     HMES304045     1994   STRCK   1S12S8480RD367238   S7480     OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES304048     1994   STRCK   1S12S8480RD367241   S7480     OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES304050     1994   STRCK   1S12S8484RD367243   S7480     MI      Romulus
 HMES     SERVICE EQUIPMENT   STG     HMES304051     1994   STRCK   1S12S8486RD367244   S7480     MI      Gaylord
 HMES     SERVICE EQUIPMENT   STG     HMES304054     1994   STRCK   1S12S8481RD367247   S7480     KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES304055     1994   STRCK   1S12S8483RD367248   S7480     NC      Kernersville
 HMES     SERVICE EQUIPMENT   STG     HMES304062     1994   STRCK   1S12S8480RD367255   S7480     OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES304063     1994   STRCK   1S12S8482RD367256   S7480     WI      Tomah
 HMES     SERVICE EQUIPMENT   STG     HMES304064     1994   STRCK   1S12S8484RD367257   S7480     IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES304065     1994   STRCK   1S12S8488RD367259   S7480     OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES304069     1994   STRCK   1S12S848XRD367263   S7480     IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES304072     1994   STRCK   1S12S8485RD367266   S7480     IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES304076     1994   STRCK   1S12S8487RD367270   S7480     SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES304078     1994   STRCK   1S12S8480RD367272   S7480     KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES304086     1994   STRCK   1S12S848XRD367280   S7480     IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES304087     1994   STRCK   1S12S8481RD367281   S7480     AL      Decatur
 HMES     SERVICE EQUIPMENT   STG     HMES304088     1994   STRCK   1S12S8483RD367282   S7480     WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES304089     1994   STRCK   1S12S8485RD367283   S7480     SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES304093     1994   STRCK   1S12S8482RD367287   S7480     OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES304095     1994   STRCK   1S12S8486RD367289   S7480     OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES304097     1994   STRCK   1S12S8484RD367291   S7480     IA      Council Bluffs
 HMES     SERVICE EQUIPMENT   STG     HMES304099     1994   STRCK   1S12S8488RD367293   S7480     SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES304102     1994   STRCK   1S12S8483RD367296   S7480     OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES304109     1994   STRCK   1S12S8487RD367303   S7480     TN      Knoxville
 HMES     SERVICE EQUIPMENT   STG     HMES304110     1994   STRCK   1S12S8485RD367304   S7480     MN      Owatonna
 HMES     SERVICE EQUIPMENT   STG     HMES304111     1994   STRCK   1S12S8480RD367305   S7480     SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES305001     1995   STRCK   1S12S848XSD395697   S7480     KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES305008     1995   STRCK   1S12S8483SD395704   S7480     OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES305010     1995   STRCK   1S12S8487SD395706   S7480     WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES305011     1995   STRCK   1S12S8489SD395707   S7480     SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES305015     1995   STRCK   1S12S8480SD395711   S7480     MN      Owatonna
 HMES     SERVICE EQUIPMENT   STG     HMES305018     1995   STRCK   1S12S8486SD395714   S7480     OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES305023     1995   STRCK   1S12S8485SD395719   S7480     IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES305028     1995   STRCK   1S12S8487SD395723   S7480     IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES305029     1995   STRCK   1S12S8489SD395724   S7480     MO      Baxter Springs
 HMES     SERVICE EQUIPMENT   STG     HMES305030     1995   STRCK   1S12S8480SD395725   S7480     OH      Akron
 HMES     SERVICE EQUIPMENT   STG     HMES305031     1995   STRCK   1S12S8482SD395726   S7480     KY      Lexington
 HMES     SERVICE EQUIPMENT   STG     HMES305043     1995   STRCK   1S12S8489SD395738   S7480     MI      Jackson
 HMES     SERVICE EQUIPMENT   STG     HMES305044     1995   STRCK   1S12S8480SD395739   S7480     IL      Danville
 HMES     SERVICE EQUIPMENT   STG     HMES305046     1995   STRCK   1S12S8489SD395741   S7480     MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES305047     1995   STRCK   1S12S8480SD395742   S7480     NC      Raleigh
 HMES     SERVICE EQUIPMENT   STG     HMES305056     1995   STRCK   1S12S8481SD395751   S7480     SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES305057     1995   STRCK   1S12S8483SD395752   S7480     KY      Lexington
 HMES     SERVICE EQUIPMENT   STG     HMES305061     1995   STRCK   1S12S8480SD395756   S7480     GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES305063     1995   STRCK   1S12S8484SD395758   S7480     WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES305064     1995   STRCK   1S12S8486SD395759   S7480     KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES305071     1995   STRCK   1S12S8483SD395766   S7480     MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES305072     1995   STRCK   1S12S8485SD395767   S7480     OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES305076     1995   STRCK   1S12S8487SD395771   S7480     OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES305077     1995   STRCK   1S12S8489SD395772   S7480     MN      Coon Rapids
 HMES     SERVICE EQUIPMENT   STG     HMES305078     1995   STRCK   1S12S8482SD395774   S7480     KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES305080     1995   STRCK   1S12S8486SD395776   S7480     OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES305086     1995   STRCK   1S12S8481SD395782   S7480     KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES305088     1995   STRCK   1S12S8485SD395784   S7480     MN      Jackson
 HMES     SERVICE EQUIPMENT   STG     HMES305090     1995   STRCK   1S12S8489SD395786   S7480     WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES305092     1995   STRCK   1S12S8482SD395788   S7480     IA      Des Moines
 HMES     SERVICE EQUIPMENT   STG     HMES305095     1995   STRCK   1S12S8482SD395791   S7480     IN      South Bend
 HMES     SERVICE EQUIPMENT   STG     HMES305098     1995   STRCK   1S12S848XSD395795   S7480     IN      Fort Wayne
 HMES     SERVICE EQUIPMENT   STG     HMES305126     2005   GRTDN   1GRAA96205K263296   SSL       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES305180     2005   GRTDN   1GRAA96265K263383   SSL       MI      Romulus
 HMES     SERVICE EQUIPMENT   STG     HMES310909     2003   WABSH   1JJV482W83L849684   VAN       IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES330541     2000   VANCO   1VVSV532XYF013742   VAN       IA      Des Moines
 HMES     SERVICE EQUIPMENT   STG     HMES330557     2000   VANCO   1VVSV5323YF013758   VAN       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES330585     2000   VANCO   1VVSV5328YF013786   VAN       OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES330599     2000   VANCO   1VVSV5329YF013800   VAN       GA      Ellenwood
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 193 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     SERVICE EQUIPMENT   STG     HMES330604     2000   VANCO   1VVSV532XYF013806   VAN       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES330613     2000   VANCO   1VVSV5320YF013815   VAN       IN      South Bend
 HMES     SERVICE EQUIPMENT   STG     HMES330628     2000   VANCO   1VVSV5327YF013830   VAN       IN      South Bend
 HMES     SERVICE EQUIPMENT   STG     HMES330632     2000   VANCO   1VVSV5324YF013834   VAN       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES330644     2000   VANCO   1VVSV5320YF013846   VAN       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES330648     2000   VANCO   1VVSV5322YF013850   VAN       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES330654     2000   VANCO   1VVSV5323YF013856   VAN       SC      West Columbia
 HMES     SERVICE EQUIPMENT   STG     HMES330660     2000   VANCO   1VVSV5329YF013862   VAN       IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES330665     2000   VANCO   1VVSV5328YF013867   VAN       NC      Raleigh
 HMES     SERVICE EQUIPMENT   STG     HMES330692     2000   VANCO   1VVSV5320YF013894   VAN       GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES330702     2000   VANCO   1VVSV532XYF013904   VAN       KY      Lexington
 HMES     SERVICE EQUIPMENT   STG     HMES330704     2000   VANCO   1VVSV5323YF013906   VAN       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES330749     2000   VANCO   1VVSV5328YF013951   VAN       GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES338072     1998   PINES   1PNV532A7WH209204   VAN       IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES339240     1999   VANCO   1VVSV532XXF013015   2WIL      MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES339312     1999   VANCO   1VVSV5322XF013087   2WIL      TN      Goodlettsville
 HMES     SERVICE EQUIPMENT   STG     HMES339341     2000   VANCO   1VVSV5323YF013116   2WIL      OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES339368     2000   VANCO   1VVSV5326YF013143   2WIL      IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES339383     2000   VANCO   1VVSV5328YF013158   2WIL      MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES339421     2000   VANCO   1VVSV5325YF013196   2WIL      WI      Neenah
 HMES     SERVICE EQUIPMENT   STG     HMES339431     2000   VANCO   1VVSV5324YF013206   2WIL      IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES339446     2000   VANCO   1VVSV5322YF013221   2WIL      TN      Goodlettsville
 HMES     SERVICE EQUIPMENT   STG     HMES339455     2000   VANCO   1VVSV5323YF013230   2WIL      NY      Williamsville
 HMES     SERVICE EQUIPMENT   STG     HMES339470     2000   VANCO   1VVSV5325YF013245   2WIL      IN      Fort Wayne
 HMES     SERVICE EQUIPMENT   STG     HMES345003     1985   TRLMB   1PT07AAEXF9003827   FRP       IA      Council Bluffs
 HMES     SERVICE EQUIPMENT   STG     HMES345014     1985   TRLMB   1PT07ARE6F9006762   FRP       IA      Council Bluffs
 HMES     SERVICE EQUIPMENT   STG     HMES393053     2003   GRTDN   1GRAA80293K247873   SSL       AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES395011     2005   GRTDN   1GRAA80175D410289   SSL       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES395039     2005   GRTDN   1GRAA80105D410327   SSL       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES395053     2005   GRTDN   1GRAA80195D410343   SSL       AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES395062     2005   GRTDN   1GRAA80195D410309   SSL       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES430383     2001   WABSH   1JJV532W21L738514   1JJ       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES430662     2001   WABSH   1JJV532W81L738517   VAN       TN      Nashville
 HMES     SERVICE EQUIPMENT   STG     HMES453030     2008   WABSH   1JJV532W68L112068   VAN       IL      Rockford
 HMES     SERVICE EQUIPMENT   STG     HMES453235     2008   WABSH   1JJV532W78L111317   VAN       OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES453343     2008   WABSH   1JJV532W78L112449   VAN       OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES453358     2008   WABSH   1JJV532W78L111706   VAN       IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES453375     2008   WABSH   1JJV532W48L111582   VAN       WI      Neenah
 HMES     SERVICE EQUIPMENT   STG     HMES480017     2000   TRLMB   1PT01JAHXY6007358   NONE      OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES480019     2000   DORSY   1DTV41Z28YA279084   VAN       OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES480021     2000   DORSY   1DTV41Z20YA279046   VAN       MI      Jackson
 HMES     SERVICE EQUIPMENT   STG     HMES480024     2000   TRLMB   1PT01JAH6Y6007339   VAN       MI      Birch Run
 HMES     SERVICE EQUIPMENT   STG     HMES480027     2000   DORSY   1DTV41Z25YA279074   VAN       MS      Olive Branch
 HMES     SERVICE EQUIPMENT   STG     HMES480031     2000   DORSY   1DTV41Z27YA279075   VAN       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES480046     2000   DORSY   1DTV41Z26YA278998   VAN       IN      South Bend
 HMES     SERVICE EQUIPMENT   STG     HMES480049     2000   DORSY   1DTV41Z27YA278945   VAN       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES480050     2000   DORSY   1DTV41Z26YA278922   VAN       SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES480051     2000   DORSY   1DTV41Z28YA278906   VAN       TN      Knoxville
 HMES     SERVICE EQUIPMENT   STG     HMES480058     2000   DORSY   1DTV41Z29YA278994   VAN       IL      Rockford
 HMES     SERVICE EQUIPMENT   STG     HMES480072     2000   TRLMB   1PT01JAH0Y6007336   VAN       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES480073     2000   DORSY   1DTV41Z2XYA279054   VAN       OH      Akron
 HMES     SERVICE EQUIPMENT   STG     HMES480075     2000   DORSY   1DTV41Z2XYA278969   VAN       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES480078     2000   DORSY   1DTV41Z25YA278913   VAN       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES480082     2000   DORSY   1DTV41Z21YA278973   AID       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES480096     2000   TRLMB   1PT01JAH916002898   VAN       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES480100     2000   DORSY   1DTV41Z25YA278992   VAN       IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES480102     2000   DORSY   1DTV41Z2XYA279068   VAN       OH      Akron
 HMES     SERVICE EQUIPMENT   STG     HMES480111     2000   DORSY   1DTV41Z22YA279016   AID       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES480209     2000   DORSY   1DTV41Z2XYA278938   VAN       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES481003     2001   TRLMB   1PT01JPHX18001304   NONE      OH      Akron
 HMES     SERVICE EQUIPMENT   STG     HMES481026     2001   FRUHF   1JJV482F61F728681   NONE      OH      Columbus
 HMES     SERVICE EQUIPMENT   STG     HMES483008     2003   WABSH   1JJV482W33L849754   NONE      OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES483022     2003   WABSH   1JJV482W23L849258   NONE      IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES483027     2003   WABSH   1JJV482W93L849564   NONE      WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES483058     2003   WABSH   1JJV482WX3L849461   NONE      IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES483064     2003   WABSH   1JJV482W83L849748   NONE      WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES483097     2003   WABSH   1JJV482W73L834786   NONE      WI      Tomah
 HMES     SERVICE EQUIPMENT   STG     HMES483127     2003   WABSH   1JJV482W03L849601   NONE      WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES483149     2003   WABSH   1JJV482WX3L834684   NONE      IL      Wheeling
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 194 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     SERVICE EQUIPMENT   STG     HMES483164     2003   WABSH   1JJV482W53L849450   NONE      WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES483171     2003   WABSH   1JJV482W23L849518   NONE      IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES483184     2007   GRTDN   1GRAA06297K286235   VAN       NC      Charlotte
 HMES     SERVICE EQUIPMENT   STG     HMES484036     2004   GRTDN   1GRAA96284K262315   NONE      WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES485013     2005   WABSH   1JJV482W35L905355   NONE      NC      Kernersville
 HMES     SERVICE EQUIPMENT   STG     HMES485022     2005   GRTDN   1GRAA96205K263119   NONE      IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES485048     2005   WABSH   1JJV482W55L913697   NONE      TN      Nashville
 HMES     SERVICE EQUIPMENT   STG     HMES485089     2005   WABSH   1JJV482W75L905312   NONE      TN      Goodlettsville
 HMES     SERVICE EQUIPMENT   STG     HMES498816     1994   STRCK   1S12S848RD367274    874       IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES500008     2000   WABSH   1JJV482W8YL678233   1JJ       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES500009     2000   WABSH   1JJV482WXYL678234   1JJ       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES500018     2000   WABSH   1JJV482W0YL678243   1JJ       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES500025     2000   WABSH   1JJV482W8YL678250   1JJ       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES500032     2000   WABSH   1JJV482W0YL678257   1JJ       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES500038     2000   WABSH   1JJV482W6YL678263   1JJ       GA      Conley
 HMES     SERVICE EQUIPMENT   STG     HMES500045     2000   WABSH   1JJV482W3YL678270   1JJ       OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES500051     2000   WABSH   1JJV482W4YL678276   1JJ       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES500061     2000   WABSH   1JJV482W7YL678286   1JJ       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES500074     2000   WABSH   1JJV482W5YL678299   1JJ       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES500078     2000   WABSH   1JJV482W3YL678303   1JJ       OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES500079     2000   WABSH   1JJV482W5YL678304   1JJ       IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES500101     2000   WABSH   1JJV482W4YL678326   1JJ       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES500144     2000   WABSH   1JJV482W0YL678369   1JJ       OH      Bowling Green
 HMES     SERVICE EQUIPMENT   STG     HMES500159     2000   WABSH   1JJV482W7YL678384   1JJ       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES500161     2000   WABSH   1JJV482W0YL678386   1JJ       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES500165     2000   WABSH   1JJV482W2YL678390   1JJ       IN      Evansville
 HMES     SERVICE EQUIPMENT   STG     HMES500182     2000   WABSH   1JJV482W4YL678407   1JJ       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES500204     2000   WABSH   1JJV482W3YL678429   1JJ       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES500207     2000   WABSH   1JJV482W3YL678432   1JJ       IL      Rockford
 HMES     SERVICE EQUIPMENT   STG     HMES500219     2000   WABSH   1JJV482WXYL678444   1JJ       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES500227     2000   WABSH   1JJV482W9YL678452   1JJ       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES500238     2000   WABSH   1JJV482W3YL678463   1JJ       AL      Decatur
 HMES     SERVICE EQUIPMENT   STG     HMES500260     2000   WABSH   1JJV482W2YL678485   1JJ       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES500261     2000   WABSH   1JJV482W4YL678486   1JJ       MI      Romulus
 HMES     SERVICE EQUIPMENT   STG     HMES500273     2000   WABSH   1JJV482W0YL678498   1JJ       IN      Evansville
 HMES     SERVICE EQUIPMENT   STG     HMES500277     2000   WABSH   1JJV482W9YL678502   1JJ       MI      Romulus
 HMES     SERVICE EQUIPMENT   STG     HMES500341     2000   WABSH   1JJV482W2YL678566   1JJ       OH      Dayton
 HMES     SERVICE EQUIPMENT   STG     HMES500366     2000   WABSH   1JJV482W1YL678591   1JJ       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES500404     2001   WABSH   1JJV482W51L746431   1JJ       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES500419     2001   WABSH   1JJV482W71L746446   1JJ       IN      South Bend
 HMES     SERVICE EQUIPMENT   STG     HMES500420     2001   WABSH   1JJV482W91L746447   1JJ       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES500424     2001   WABSH   1JJV482W01L746451   1JJ       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES500437     2001   WABSH   1JJV482W91L746464   1JJ       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES500442     2001   WABSH   1JJV482W81L746469   1JJ       SC      West Columbia
 HMES     SERVICE EQUIPMENT   STG     HMES500444     2001   WABSH   1JJV482W61L746471   1JJ       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES500448     2001   WABSH   1JJV482W31L746475   1JJ       NC      Charlotte
 HMES     SERVICE EQUIPMENT   STG     HMES500458     2001   WABSH   1JJV482W61L746485   1JJ       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES500476     2001   WABSH   1JJV482W41L746503   1JJ       NY      Williamsville
 HMES     SERVICE EQUIPMENT   STG     HMES503010     2004   GRTDN   1GRAA96244T505516   SSL       IL      Rockford
 HMES     SERVICE EQUIPMENT   STG     HMES503020     2004   GRTDN   1GRAA96274T505526   SSL       OH      Akron
 HMES     SERVICE EQUIPMENT   STG     HMES503049     2004   GRTDN   1GRAA96234T505555   SSL       SC      West Columbia
 HMES     SERVICE EQUIPMENT   STG     HMES503057     2004   GRTDN   1GRAA96224T505563   SSL       SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES503061     2004   GRTDN   1GRAA962X4T505567   SSL       AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES503078     2004   GRTDN   1GRAA962X4T505584   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES503099     2004   GRTDN   1GRAA96234T505605   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES503103     2004   GRTDN   1GRAA96204T505609   SSL       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES503106     2004   GRTDN   1GRAA96204T505612   SSL       NC      Kernersville
 HMES     SERVICE EQUIPMENT   STG     HMES503109     2004   GRTDN   1GRAA96264T505615   SSL       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES503126     2004   GRTDN   1GRAA96264T505632   SSL       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES503127     2004   GRTDN   1GRAA96284T505633   SSL       GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES503132     2004   GRTDN   1GRAA96274T505638   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES503148     2004   GRTDN   1GRAA96254T505654   SSL       WI      Neenah
 HMES     SERVICE EQUIPMENT   STG     HMES503149     2004   GRTDN   1GRAA96274T505655   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES503154     2004   GRTDN   1GRAA96204T505660   SSL       IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES503158     2004   GRTDN   1GRAA96284T505664   SSL       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES503165     2004   GRTDN   1GRAA96254T505671   SSL       OH      Dayton
 HMES     SERVICE EQUIPMENT   STG     HMES503167     2004   GRTDN   1GRAA96294T505673   SSL       AL      Decatur
 HMES     SERVICE EQUIPMENT   STG     HMES503191     2004   GRTDN   1GRAA96214T505697   SSL       OH      Bowling Green
 HMES     SERVICE EQUIPMENT   STG     HMES503195     2004   GRTDN   1GRAA962X4T505701   SSL       NC      Charlotte
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 195 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     SERVICE EQUIPMENT   STG     HMES503207     2004   GRTDN   1GRAA96264T505713   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES503209     2004   GRTDN   1GRAA962X4T505715   SSL       IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES503219     2004   GRTDN   1GRAA96224T505725   SSL       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES503222     2004   GRTDN   1GRAA96284T505728   SSL       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES503235     2004   GRTDN   1GRAA96204T505741   SSL       WI      Neenah
 HMES     SERVICE EQUIPMENT   STG     HMES504011     2005   GRTDN   1GRAA96205T513839   SSL       MS      Olive Branch
 HMES     SERVICE EQUIPMENT   STG     HMES504015     2005   GRTDN   1GRAA96225T513843   SSL       IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES504021     2005   GRTDN   1GRAA96235T513849   SSL       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES504040     2005   GRTDN   1GRAA96275T513868   SSL       IN      South Bend
 HMES     SERVICE EQUIPMENT   STG     HMES504059     2005   GRTDN   1GRAA96205T513887   SSL       OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES504079     2005   GRTDN   1GRAA96225T513907   SSL       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES504120     2005   GRTDN   1GRAA96255T513948   SSL       IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES504159     2005   GRTDN   1GRAA96245T513987   SSL       GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES504178     2005   GRTDN   1GRAA96225T514006   SSL       OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES504192     2005   GRTDN   1GRAA96275T514020   SSL       SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES504195     2005   GRTDN   1GRAA96225T514023   SSL       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES507042     2007   GRTDN   1GRAA96217D424133   SSL       SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES507137     2007   GRTDN   1GRAA96217D424228   SSL       TN      Goodlettsville
 HMES     SERVICE EQUIPMENT   STG     HMES507307     2007   GRTDN   1GRAA96207D425791   SSL       NC      Charlotte
 HMES     SERVICE EQUIPMENT   STG     HMES508003     2008   WABSH   1JJV482W48L178697   DVCVH     KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES508011     2008   WABSH   1JJV482WX8L178705   DVCVH     IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES508015     2008   WABSH   1JJV482W78L178709   DVCVH     IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES534205     2005   GRTDN   1GRAA06235D409741   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES534213     2005   GRTDN   1GRAA06285D409749   SSL       IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES534244     2005   GRTDN   1GRAA06225D409780   SSL       OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES534289     2005   GRTDN   1GRAA06295D409825   SSL       IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES534332     2005   GRTDN   1GRAA06255D409868   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES534371     2005   GRTDN   1GRAA06205D409907   SSL       OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES534378     2005   GRTDN   1GRAA06285D409914   SSL       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES534384     2005   GRTDN   1GRAA06235D409920   SSL       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES534385     2005   GRTDN   1GRAA06255D409921   SSL       OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES534396     2005   GRTDN   1GRAA062X5D409932   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES534407     2005   WABSH   1JJV532W55L926367   DURAP     WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES534451     2005   WABSH   1JJV532W45L926411   DURAP     WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES534471     2005   WABSH   1JJV532WX5L926431   DURAP     WI      Tomah
 HMES     SERVICE EQUIPMENT   STG     HMES534486     2005   WABSH   1JJV532W15L926446   DURAP     IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES534487     2005   WABSH   1JJV532W35L926447   DURAP     IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES534550     2005   WABSH   1JJV532W65L926510   DURAP     MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES534604     2005   WABSH   1JJV532W55L931133   DURAP     IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES534605     2005   WABSH   1JJV532W75L931134   DURAP     IN      Evansville
 HMES     SERVICE EQUIPMENT   STG     HMES535073     2005   GRTDN   1GRAA06295D414703   SSL       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES535079     2005   GRTDN   1GRAA062X5D414709   SSL       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES535081     2005   GRTDN   1GRAA06285D414711   SSL       MO      Sikeston
 HMES     SERVICE EQUIPMENT   STG     HMES535113     2005   GRTDN   1GRAA06235J610413   SSL       NC      Kernersville
 HMES     SERVICE EQUIPMENT   STG     HMES535128     2005   GRTDN   1GRAA06255J610428   SSL       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES535159     2005   GRTDN   1GRAA06255J610459   SSL       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES535175     2005   GRTDN   1GRAA06235J610475   SSL       OH      Akron
 HMES     SERVICE EQUIPMENT   STG     HMES535211     2005   GRTDN   1GRAA06235J610511   SSL       OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES535237     2005   GRTDN   1GRAA062X5J610537   SSL       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES535243     2005   GRTDN   1GRAA06255J610543   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES535273     2005   GRTDN   1GRAA06235J610573   SSL       OH      Brooklyn
 HMES     SERVICE EQUIPMENT   STG     HMES535279     2005   GRTDN   1GRAA06245J610579   SSL       IL      Wheeling
 HMES     SERVICE EQUIPMENT   STG     HMES535310     2005   GRTDN   1GRAA06255J610610   SSL       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES535311     2005   GRTDN   1GRAA06275J610611   SSL       IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG     HMES535337     2005   GRTDN   1GRAA06235J610637   SSL       IA      Des Moines
 HMES     SERVICE EQUIPMENT   STG     HMES535500     1995   STRCK   1S12E9538SE402589   VAN       IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES536033     2006   GRTDN   1GRAA06216D414163   SSL       TN      Goodlettsville
 HMES     SERVICE EQUIPMENT   STG     HMES536070     2006   GRTDN   1GRAA06236D414200   SSL       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES536175     2006   GRTDN   1GRAA06286J612336   SSL       NY      Glenmont
 HMES     SERVICE EQUIPMENT   STG     HMES536179     2006   GRTDN   1GRAA062X6J612340   SSL       IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES536241     2006   GRTDN   1GRAA06266J612402   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES536268     2006   GRTDN   1GRAA06246J612429   SSL       IN      Fort Wayne
 HMES     SERVICE EQUIPMENT   STG     HMES536315     2006   GRTDN   1GRAA06226J612476   SSL       WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES536334     2006   GRTDN   1GRAA06266J612495   SSL       SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES536351     2006   GRTDN   1GRAA06226J612512   SSL       IA      Des Moines
 HMES     SERVICE EQUIPMENT   STG     HMES536377     2006   GRTDN   1GRAA06296J612538   SSL       KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES536441     2006   GRTDN   1GRAA06236J612602   SSL       MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES536446     2006   GRTDN   1GRAA06226J612607   SSL       OH      Akron
 HMES     SERVICE EQUIPMENT   STG     HMES536525     2006   GRTDN   1GRAA06276J610075   SSL       IL      Edwardsville
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23        Page 196 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 HMES     SERVICE EQUIPMENT   STG     HMES536672     2006   GRTDN   1GRAA06256J610222   SSL           OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES536797     2006   GRTDN   1GRAA06236J610347   SSL           MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES536821     2006   GRTDN   1GRAA06206J610371   SSL           MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES537067     2007   GRTDN   1GRAA062X7D423994   SSL           TN      Goodlettsville
 HMES     SERVICE EQUIPMENT   STG     HMES537207     2007   GRTDN   1GRAA06287D425808   SSL           IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES537234     2007   GRTDN   1GRAA06207D425835   SSL           SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES538015     1998   WABSH   1JJV532W9WL457141   FRP 1         MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES538040     1998   WABSH   1JJV532W3WL457166   FRP 1         IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES538096     1998   WABSH   1JJV532W9WL457222   FRP           IL      Montgomery
 HMES     SERVICE EQUIPMENT   STG     HMES538145     1998   WABSH   1JJV532W0WL457271   FRP           OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES538161     1998   WABSH   1JJV532W4WL457287   FRP           IN      Fort Wayne
 HMES     SERVICE EQUIPMENT   STG     HMES538211     1998   WABSH   1JJV532W4WL457337   FRP           IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES538227     1998   WABSH   1JJV532W2WL457353   FRP           IL      McCook
 HMES     SERVICE EQUIPMENT   STG     HMES538249     1998   WABSH   1JJV532W1WL457375   FRP           OH      Dayton
 HMES     SERVICE EQUIPMENT   STG     HMES538559     2008   WABSH   1JJV532W88L178668   DVCVH         MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES538571     2008   WABSH   1JJV532W98L178680   DVCVH         IN      Evansville
 HMES     SERVICE EQUIPMENT   STG     HMES546103     2006   GRTDN   1GRAA06206T521291   SSL           IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES546247     2006   GRTDN   1GRAA06296T521435   SSL           MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES546258     2006   GRTDN   1GRAA06236T521446   SSL           NY      Williamsville
 HMES     SERVICE EQUIPMENT   STG     HMES546368     2006   GRTDN   1GRAA062X6T521556   SSL           OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES546378     2006   GRTDN   1GRAA06226T521566   SSL           TN      Goodlettsville
 HMES     SERVICE EQUIPMENT   STG     HMES546420     2006   GRTDN   1GRAA06236T521608   SSL           IN      Indianapolis
 HMES     SERVICE EQUIPMENT   STG     HMES546441     2006   GRTDN   1GRAA06206T521629   SSL           KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES546463     2006   GRTDN   1GRAA06246T521651   SSL           MO      Strafford
 HMES     SERVICE EQUIPMENT   STG     HMES546466     2006   GRTDN   1GRAA062X6T521654   SSL           OH      Bowling Green
 HMES     SERVICE EQUIPMENT   STG     HMES546508     2006   GRTDN   1GRAA06246T521696   SSL           MI      Wayland
 HMES     SERVICE EQUIPMENT   STG     HMES546529     2006   GRTDN   1GRAA06286T521717   SSL           OH      Cincinnati
 HMES     SERVICE EQUIPMENT   STG     HMES546536     2006   GRTDN   1GRAA06256T521724   SSL           MO      Strafford
 HMES     SERVICE EQUIPMENT   STG     HMES546547     2006   GRTDN   1GRAA062X6T521735   SSL           OH      Dayton
 HMES     SERVICE EQUIPMENT   STG     HMES559998     2008   WABSH   1JJV532W98L111271   VAN           IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES605033     1995   STRCK   1S12E8482SD403069   VAN           OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES609247     1999   VANCO   1VVSV4825XF012373   VAN           IN      South Bend
 HMES     SERVICE EQUIPMENT   STG     HMES700101     1991   WABSH   1JJV482M4ML153453   FRP 1         WI      Mosinee
 HMES     SERVICE EQUIPMENT   STG     HMES700103     1991   WABSH   1JJV482M8ML153455   FRP 1         MN      Owatonna
 HMES     SERVICE EQUIPMENT   STG     HMES700104     1991   WABSH   1JJV482MXML153456   FRP 1         WI      Neenah
 HMES     SERVICE EQUIPMENT   STG     HMES700105     1992   WABSH   1JJV482M1NL165156   FRP 1         MN      Jackson
 HMES     SERVICE EQUIPMENT   STG     HMES700106     1994   WABSH   1JJV482M5RL212517   FRP 1         WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES700107     1994   WABSH   1JJV482M7RL212518   FRP 1         WI      Milwaukee
 HMES     SERVICE EQUIPMENT   STG     HMES706193     1986   WABSH   1JJV482M1HL105513   FRP 1         GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES706237     1986   WABSH   1JJV482MXHL105557   FRP 1         IA      Des Moines
 HMES     SERVICE EQUIPMENT   STG     HMES709003     1989   WABSH   1JJV482M0KL124741   FRP 1         IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES709044     1989   WABSH   1JJV482M3KL124782   FRP 1         NY      Williamsville
 HMES     SERVICE EQUIPMENT   STG     HMES709047     1989   WABSH   1JJV482M9KL124785   FRP 1         GA      Ellenwood
 HMES     SERVICE EQUIPMENT   STG     HMES709049     1989   WABSH   1JJV482M2KL124787   FRP 1         SC      Piedmont
 HMES     SERVICE EQUIPMENT   STG     HMES734139     1974   COPCO   8623                FRP           OH      Gallipolis
 HMES     SERVICE EQUIPMENT   STG     HMES803156     1993   WABSH   1JJV482M3PL202856   FRP           IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES803184     1993   WABSH   1JJV482M8PL202884   FRP           IL      Edwardsville
 HMES     SERVICE EQUIPMENT   STG     HMES808862     1998   TRLMB   1PT01ARH4W9007792   FRP 1         IL      Joliet
 HMES     SERVICE EQUIPMENT   STG     HMES842142     2001   GRTDN   1GRAA96221K237891   VAN           IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES843490     2003   WABSH   1JJV482W53L849819   VAN           IN      Jeffersonville
 HMES     SERVICE EQUIPMENT   STG     HMES899176     1977   TRLMB   S62564              VAN           AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES899212     1992   PINES   1PNK281S5KKB33372   VAN           AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES899213     1977   TRLMB   S30744              VAN           AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES899544     2002   STRCK   1S12E95362E491272   53' W/ GATE   IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES899546     2000   DORSY   1DTV11G11YA283917   AID           IL      Rock Island
 HMES     SERVICE EQUIPMENT   STG     HMES90819      1971   FRUHF   BLN877705           VAN           AL      Birmingham
 HMES     SERVICE EQUIPMENT   STG     HMES908808     1998   TRLMB   1PT01ARH1W9002890   FRP 1         OH      North Lima
 HMES     SERVICE EQUIPMENT   STG     HMES908854     1998   TRLMB   1PT01ARH5W9007784   FRP 1         KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES938033     1998   WABSH   1JJV532W2WL457059   FRP 1         MN      Owatonna
 HMES     SERVICE EQUIPMENT   STG     HMES938061     1998   WABSH   1JJV532W7WL457087   FRP 1         WI      Tomah
 HMES     SERVICE EQUIPMENT   STG     HMES938089     1998   WABSH   1JJV532W8WL457115   FRP 1         KS      Kansas City
 HMES     SERVICE EQUIPMENT   STG     HMES938098     1998   WABSH   1JJV532W9WL457124   FRP 1         GA      Ellenwood
 HMES     SERVICE EQUIPMENT   SVC‐CTR HMES23036      2003   STRLN   2FZBA3AN93AL03503   AS951         IL      Joliet
 HMES     SERVICE EQUIPMENT   SVC‐CTR HMES30010      2000   INTL    1HSHBAHN0YH312262   NA            IL      Rock Island
 HMES     SERVICE EQUIPMENT   SVC‐CTR HMES31556      2000   INTL    2HSCEAHR2YC077052   9200I         KS      Kansas City
 HMES     SERVICE EQUIPMENT   SVC‐CTR HMES31566      2000   INTL    2HSCEAHR5YC077062   9200I         IL      Joliet
 HMES     SERVICE EQUIPMENT   SVC‐CTR HMES32883      2002   INTL    2HSCDAXN02C046083   9200I         OH      Cincinnati
 HMES     SERVICE EQUIPMENT   SVC‐CTR HMES33512      2004   STRLN   2FWJA3CG14AM04978   920           MI      Romulus
 HMES     SERVICE EQUIPMENT   SVC‐CTR HMES34062      2004   VOLVO   4V4M19GF44N352251   VNM42         IL      Wheeling
                    Case 23-11069-CTG              Doc 969-1          Filed 10/26/23       Page 197 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 HMES     SERVICE EQUIPMENT   SVC‐CTR HMES7725      1998   INTL    1HSSDAAN1WH564786   4900      IL             McCook
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES1009      1991   MTSBS   AF81A00827          FGC‐2             #N/A           #N/A
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES30000     2000   KMTSU   550311A             FG20S     NC             Kernersville
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES30225     2002   KMTSU   559997              7FGCU     IL             Wheeling
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES3025      1991   TOYOT   5FGCU25‐73325       5FGC2     MI             Romulus
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES36163     2001   MTSBS   AF82C05473          FGC20             #N/A           #N/A
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES36511     1997   NSSMT   909277              40                #N/A           #N/A
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES36811     1998   MTSBS   AF82B04398          FGC20     IL             Joliet
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES6041      1989   TOYOT   5FGCU25‐12302       5FGC2     IN             Indianapolis
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES62042     2002   TOYOT   7FGCU25‐74319       FGCU2     GA             Ringgold
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES68160     1998   MTSBS   AF82B06768          FGC20             #N/A           #N/A
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES68331     1998   MTSBS   AF82B07061          FGC20             #N/A           #N/A
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES69289     1999   MTSBS   AF82C01740          FGC25     IL             Joliet
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES69388     1999   MTSBS   AF82C02042          FGC25     MI             Romulus
 HMES     SERVICE EQUIPMENT   SVC‐FKL HMES8094      1988   MTSBS   AF82A01367          FGC‐2     IN             Indianapolis
 HMES     SERVICE EQUIPMENT   SVC‐OTH HMES33008     1997   FORD    1FTHF25FXVEA38758   F250      MI             Wayland
 HMES     SERVICE EQUIPMENT   SVC‐OTH HMES8907      1998   FORD    2FTZX17W2WCA24210   F150      OH             Cincinnati
 HMES     SERVICE EQUIPMENT   SVC‐OTH HMES8913      2001   FORD    1FTRX18W11NB85746   F150      IN             Indianapolis
 HMES     SERVICE EQUIPMENT   SVC‐YTR HMES39102     2002   OTTWA   304453              YT30      IL             McCook
 HMES     SERVICE EQUIPMENT   SVC‐YTR HMES90003     2000   OTTWA   300243              COMMA     IL             Wheeling
 HMES     YARD TRACTOR        YTR     HMES30219     2002   OTTWA   304411              NA        MO             Baxter Springs
 HMES     YARD TRACTOR        YTR     HMES30408     2004   OTTWA   308063              30        IL             Rockford
 HMES     YARD TRACTOR        YTR     HMES30409     2004   OTTWA   307656              30        WI             Neenah
 HMES     YARD TRACTOR        YTR     HMES30824     2008   OTTWA   320670              4675      IL             Rock Island
 HMES     YARD TRACTOR        YTR     HMES34205     2004   OTTWA   308069              YT30      AL             Decatur
 HMES     YARD TRACTOR        YTR     HMES37091     2007   OTTWA   316653              316       KY             Lexington
 HMES     YARD TRACTOR        YTR     HMES38152     2008   OTTWA   321954              COMMA     AL             Birmingham
 HMES     YARD TRACTOR        YTR     HMES39104     2002   OTTWA   304451              YT30      WI             Milwaukee
 HMES     YARD TRACTOR        YTR     HMES39105     2002   OTTWA   304457              YT30      NC             Raleigh
 HMES     YARD TRACTOR        YTR     HMES39107     2003   OTTWA   306391              YT30      IL             Edwardsville
 HMES     YARD TRACTOR        YTR     HMES39108     2003   OTTWA   306392              YT30      OH             Cincinnati
 HMES     YARD TRACTOR        YTR     HMES39109     2003   OTTWA   306393              YT30      TN             Knoxville
 HMES     YARD TRACTOR        YTR     HMES39110     2003   OTTWA   306394              YT30      MS             Olive Branch
 HMES     YARD TRACTOR        YTR     HMES39115     2004   OTTWA   308836              YT30      IN             Fort Wayne
 HMES     YARD TRACTOR        YTR     HMES39117     2002   OTTWA   304456              YARDG     IN             Jeffersonville
 HMES     YARD TRACTOR        YTR     HMES39118     2004   OTTWA   308619              YT30      OH             Brooklyn
 HMES     YARD TRACTOR        YTR     HMES39120     2002   OTTWA   304455              COMMA     IN             Evansville
 HMES     YARD TRACTOR        YTR     HMES39121     2005   OTTWA   310299              SHUNT     AL             Birmingham
 HMES     YARD TRACTOR        YTR     HMES39122     2005   OTTWA   310300              SHUNT     IL             McCook
 HMES     YARD TRACTOR        YTR     HMES39123     2005   OTTWA   310311              SHUNT     NY             Williamsville
 HMES     YARD TRACTOR        YTR     HMES39124     2005   OTTWA   11VA813E15A000431   SHUNT     AL             Decatur
 HMES     YARD TRACTOR        YTR     HMES39125     2005   OTTWA   311648              SHUNT     IA             Council Bluffs
 HMES     YARD TRACTOR        YTR     HMES39126     2007   OTTWA   317707              C30       MN             Jackson
 HMES     YARD TRACTOR        YTR     HMES39127     2007   OTTWA   317708              C30       KS             Kansas City
 HMES     YARD TRACTOR        YTR     HMES39128     2004   OTTWA   308616              YT30      OH             Columbus
 HMES     YARD TRACTOR        YTR     HMES39129     2004   OTTWA   308618              YT30      OH             Bowling Green
 HMES     YARD TRACTOR        YTR     HMES39131     2005   OTTWA   310298              YT30      TN             Goodlettsville
 HMES     YARD TRACTOR        YTR     HMES39301     2003   OTTWA   305574              YT30      OH             Cincinnati
 HMES     YARD TRACTOR        YTR     HMES470       2017   OTTWA   346790              T2        GA             Ellenwood
 HMES     YARD TRACTOR        YTR     HMES67101     2007   OTTWA   317303              317       IN             Jeffersonville
 HMES     YARD TRACTOR        YTR     HMES67102     2007   OTTWA   316628              316       IN             Jeffersonville
 HMES     YARD TRACTOR        YTR     HMES90014     2000   OTTWA   80899               YT30      WI             Mosinee
 HMES     YARD TRACTOR        YTR     HMES91000     2010   OTTWA   11VF813E2AA000163   YT30      IL             Rockford
 HMES     YARD TRACTOR        YTR     HMES91001     2001   OTTWA   300610              YT30      IL             Joliet
 HMES     YARD TRACTOR        YTR     HMES91002     2011   OTTWA   327473              YTHWY     IL             Rock Island
 HMES     YARD TRACTOR        YTR     HMES91003     2011   OTTWA   327474              YTHWY     GA             Ellenwood
 HMES     YARD TRACTOR        YTR     HMES91004     2011   OTTWA   327475              YTHWY     IN             Indianapolis
 HMES     YARD TRACTOR        YTR     HMES91005     2011   OTTWA   327476              YTHWY     OH             Brooklyn
 HMES     YARD TRACTOR        YTR     HMES91006     2011   OTTWA   327477              YTHWY     OH             Richfield
 HMES     YARD TRACTOR        YTR     HMES91007     2011   OTTWA   327478              YTHWY     IL             Edwardsville
 HMES     YARD TRACTOR        YTR     HMES91008     2011   OTTWA   327479              YTHWY     MN             Coon Rapids
 HMES     YARD TRACTOR        YTR     HMES91009     2011   OTTWA   327480              YTHWY     IN             South Bend
 HMES     YARD TRACTOR        YTR     HMES91010     2011   OTTWA   327481              YTHWY     IL             Joliet
 HMES     YARD TRACTOR        YTR     HMES91011     2011   OTTWA   327482              YTHWY     TN             Goodlettsville
 HMES     YARD TRACTOR        YTR     HMES91012     2011   OTTWA   326492              YT30      MI             Romulus
 HMES     YARD TRACTOR        YTR     HMES91013     2010   OTTWA   325669              YT30      NC             Kernersville
 HMES     YARD TRACTOR        YTR     HMES91014     2012   OTTWA   11VF813EXCA000219   YT30      NC             Raleigh
 HMES     YARD TRACTOR        YTR     HMES91015     2011   OTTWA   326524              YT30      OH             Akron
 HMES     YARD TRACTOR        YTR     HMES91200     2012   OTTWA   329619              YT30      IN             Fort Wayne
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 198 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     YARD TRACTOR     YTR     HMES91201     2012   CPCTY   4LMBB5113CL023487   SABRE     MI      Wayland
 HMES     YARD TRACTOR     YTR     HMES91301     2013   OTTWA   11VF813E8DA000401   YT30      OH      Dayton
 HMES     YARD TRACTOR     YTR     HMES91302     2013   OTTWA   11VF813E1DA000045   YT30      IN      Evansville
 HMES     YARD TRACTOR     YTR     HMES91400     2014   OTTWA   11VF813E0EA000359   YT30      IN      Jeffersonville
 HMES     YARD TRACTOR     YTR     HMES91401     2014   OTTWA   11VF813E4EA000090   YT30      SC      West Columbia
 HMES     YARD TRACTOR     YTR     HMES91402     2014   OTTWA   11VF813E6EA000091   YT30      MO      Baxter Springs
 HMES     YARD TRACTOR     YTR     HMES91403     2014   OTTWA   11VF813E8EA000089   YT30      NC      Charlotte
 HMES     YARD TRACTOR     YTR     HMES91600     2016   OTTWA   344158              4X2       WI      Milwaukee
 HMES     YARD TRACTOR     YTR     HMES91601     2016   OTTWA   344159              4X2       IL      McCook
 HMES     YARD TRACTOR     YTR     HMES91602     2016   OTTWA   344160              4X2       MI      Romulus
 HMES     YARD TRACTOR     YTR     HMES91603     2016   OTTWA   344161              4X2       IL      Wheeling
 HMES     YARD TRACTOR     YTR     HMES91604     2016   OTTWA   344162              4X2       IL      Joliet
 HMES     YARD TRACTOR     YTR     HMES91700     2017   OTTWA   346503              4X2       IN      Indianapolis
 HMES     YARD TRACTOR     YTR     HMES91701     2017   OTTWA   346504              4X2       OH      Cincinnati
 HMES     YARD TRACTOR     YTR     HMES91702     2017   OTTWA   346505              4X2       TN      Goodlettsville
 HMES     YARD TRACTOR     YTR     HMES91703     2017   OTTWA   346506              4X2       NC      Charlotte
 HMES     YARD TRACTOR     YTR     HMES91704     2017   OTTWA   346507              4X2       MI      Romulus
 HMES     YARD TRACTOR     YTR     HMES91800     2018   OTTWA   349317              4X2       IN      Indianapolis
 HMES     YARD TRACTOR     YTR     HMES91801     2018   OTTWA   349318              4X2       IN      Indianapolis
 HMES     YARD TRACTOR     YTR     HMES91802     2018   OTTWA   349319              4X2       WI      Milwaukee
 HMES     YARD TRACTOR     YTR     HMES91803     2018   OTTWA   349320              4X2       MI      Romulus
 HMES     YARD TRACTOR     YTR     HMES91804     2018   OTTWA   349321              4X2       IL      Wheeling
 HMES     YARD TRACTOR     YTR     HMES92100     2020   OTTWA   355987              4X2       IL      Danville
 HMES     YARD TRACTOR     YTR     HMES92101     2020   OTTWA   355988              4X2       MI      Birch Run
 HMES     YARD TRACTOR     YTR     HMES92102     2020   OTTWA   355989              4X2       MI      Romulus
 HMES     YARD TRACTOR     YTR     HMES92103     2020   OTTWA   355990              4X2       SC      Piedmont
 HMES     YARD TRACTOR     YTR     HMES92104     2020   OTTWA   355991              4X2       NC      Kernersville
 HMES     YARD TRACTOR     YTR     HMES92105     2020   OTTWA   355992              4X2       MI      Jackson
 HMES     YARD TRACTOR     YTR     HMES92106     2020   OTTWA   355993              4X2       IL      Atlanta
 HMES     YARD TRACTOR     YTR     HMES92107     2020   OTTWA   355994              4X2       OH      Dayton
 HMES     YARD TRACTOR     YTR     HMES92108     2020   OTTWA   355995              4X2       MS      Olive Branch
 HMES     YARD TRACTOR     YTR     HMES92109     2020   OTTWA   355996              4X2       IL      Edwardsville
 HMES     YARD TRACTOR     YTR     HMES92110     2020   OTTWA   355997              4X2       OH      Brooklyn
 HMES     YARD TRACTOR     YTR     HMES94003     2004   OTTWA   308673              C30       IN      Jeffersonville
 HMES     YARD TRACTOR     YTR     HMES94004     2004   OTTWA   309083              YT50      IN      Jeffersonville
 HMES     YARD TRACTOR     YTR     HMES95001     2005   OTTWA   11VA813EX5A000461   C50       WI      Tomah
 HMES     YARD TRACTOR     YTR     HMES95002     2015   OTTWA   336423              4X2       MI      Wayland
 HMES     YARD TRACTOR     YTR     HMES95003     2015   OTTWA   336424              4X2       OH      Columbus
 HMES     YARD TRACTOR     YTR     HMES95004     2015   OTTWA   336425              4X2       WI      Neenah
 HMES     YARD TRACTOR     YTR     HMES95005     2015   OTTWA   336426              4X2       KS      Kansas City
 HMES     YARD TRACTOR     YTR     HMES95006     2015   OTTWA   336427              4X2       OH      Cincinnati
 HMES     YARD TRACTOR     YTR     HMES95007     2009   OTTWA   321254              YT30      MN      Coon Rapids
 HMES     YARD TRACTOR     YTR     HMES95008     2009   OTTWA   321262              YT30      KY      Lexington
 HMES     YARD TRACTOR     YTR     HMES95009     2009   OTTWA   321343              YT30      TN      Knoxville
 HMES     YARD TRACTOR     YTR     HMES95010     2009   OTTWA   321240              YT30      IN      South Bend
 HMES     YARD TRACTOR     YTR     HMES95011     2007   OTTWA   316016              YT30      WI      Milwaukee
 HMES     YARD TRACTOR     YTR     HMES95017     2005   OTTWA   311012              YT50      MS      Olive Branch
 HMES     YARD TRACTOR     YTR     HMES95018     2005   OTTWA   311016              COMMA     IL      Rockford
 HMES     YARD TRACTOR     YTR     HMES95019     2005   OTTWA   309920              YT30      IL      Edwardsville
 HMES     YARD TRACTOR     YTR     HMES95020     2005   OTTWA   311017              YT50      OH      Dayton
 HMES     YARD TRACTOR     YTR     HMES95021     2005   OTTWA   309489              YT30      IN      Indianapolis
 HMES     YARD TRACTOR     YTR     HMES96001     2006   OTTWA   313782              COMMA     OH      North Lima
 HMES     YARD TRACTOR     YTR     HMES96002     2006   OTTWA   313783              COMMA     GA      Ellenwood
 HMES     YARD TRACTOR     YTR     HMES96005     2006   OTTWA   313786              COMMA     IL      Atlanta
 HMES     YARD TRACTOR     YTR     HMES96006     2006   OTTWA   313787              COMMA     OH      North Lima
 HMES     YARD TRACTOR     YTR     HMES96007     2006   OTTWA   313788              COMMA     IL      Danville
 HMES     YARD TRACTOR     YTR     HMES96009     2006   OTTWA   314194              COMMA     WI      Milwaukee
 HMES     YARD TRACTOR     YTR     HMES96010     2006   OTTWA   314195              COMMA     IA      Des Moines
 HMES     YARD TRACTOR     YTR     HMES96011     2006   OTTWA   314196              COMMA     WI      Neenah
 HMES     YARD TRACTOR     YTR     HMES96012     2006   OTTWA   314197              COMMA     IN      South Bend
 HMES     YARD TRACTOR     YTR     HMES96015     2006   OTTWA   314200              COMMA     IL      McCook
 HMES     YARD TRACTOR     YTR     HMES96016     2006   OTTWA   314201              COMMA     IL      Wheeling
 HMES     YARD TRACTOR     YTR     HMES96017     2006   OTTWA   314262              COMMA     SC      Piedmont
 HMES     YARD TRACTOR     YTR     HMES96018     2006   OTTWA   314263              COMMA     OH      Brooklyn
 HMES     YARD TRACTOR     YTR     HMES96019     2006   OTTWA   314264              COMMA     GA      Ringgold
 HMES     YARD TRACTOR     YTR     HMES96020     2006   OTTWA   314265              COMMA     OH      Dayton
 HMES     YARD TRACTOR     YTR     HMES96021     2006   OTTWA   11VA813A16A000721   C30       MI      Wyoming
 HMES     YARD TRACTOR     YTR     HMES96022     2006   OTTWA   313575              COMMA     IL      Rock Island
 HMES     YARD TRACTOR     YTR     HMES96023     2016   OTTWA   341253              T2        OH      Cincinnati
                    Case 23-11069-CTG                Doc 969-1          Filed 10/26/23       Page 199 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 HMES     YARD TRACTOR          YTR     HMES96024     2016   OTTWA   341254              T2        GA      Ellenwood
 HMES     YARD TRACTOR          YTR     HMES96025     2016   OTTWA   341255              T2        IL      Edwardsville
 HMES     YARD TRACTOR          YTR     HMES96026     2016   OTTWA   341256              T2        NC      Charlotte
 HMES     YARD TRACTOR          YTR     HMES96027     2016   OTTWA   341257              T2        MN      Coon Rapids
 HMES     YARD TRACTOR          YTR     HMES96028     2004   OTTWA   308164              COMMA     OH      Bowling Green
 HMES     YARD TRACTOR          YTR     HMES96029     2006   CPCTY   4LMCB21186L017368   TJ500     MO      Kansas City
 HMES     YARD TRACTOR          YTR     HMES97001     2007   OTTWA   317004              COMMA     MI      Romulus
 HMES     YARD TRACTOR          YTR     HMES97002     2007   OTTWA   317005              COMMA     MI      Birch Run
 HMES     YARD TRACTOR          YTR     HMES97003     2007   OTTWA   317006              4X2       OH      Bowling Green
 HMES     YARD TRACTOR          YTR     HMES97004     2007   OTTWA   317007              4X2       GA      Ellenwood
 HMES     YARD TRACTOR          YTR     HMES97005     2007   OTTWA   317008              4X2       NY      Williamsville
 HMES     YARD TRACTOR          YTR     HMES97006     2007   OTTWA   317009              4X2       OH      Akron
 HMES     YARD TRACTOR          YTR     HMES97007     2007   OTTWA   317010              4X2       IL      Joliet
 HMES     YARD TRACTOR          YTR     HMES97009     2007   OTTWA   317012              4X2       MN      Owatonna
 HMES     YARD TRACTOR          YTR     HMES97010     2007   OTTWA   317013              4X2       IL      Joliet
 HMES     YARD TRACTOR          YTR     HMES97011     2007   OTTWA   11VF813A77A000021   C30       OH      Columbus
 HMES     YARD TRACTOR          YTR     HMES97012     2007   OTTWA   316576              YT30      MN      Coon Rapids
 HMES     YARD TRACTOR          YTR     HMES97013     2007   CPCTY   4LMBB21177L018900   TJ500     MI      Wayland
 HMES     YARD TRACTOR          YTR     HMES97014     2007   OTTWA   316642              YT30      NC      Kernersville
 HMES     YARD TRACTOR          YTR     HMES97015     2007   OTTWA   317018              YT30      NC      Kernersville
 HMES     YARD TRACTOR          YTR     HMES98006     2008   OTTWA   321971              YT30      GA      Ringgold
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5102      2014   FRGHT   3ALACWDT8EDFZ5477   0         MA      North Billerica
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5103      2013   FRGHT   1FVACWDT6DHFG3311   0         MA      North Billerica
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5104      2014   FRGHT   1FVACWDT8EHFR8003   0         NJ      Cinnaminson
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5105      2012   HINO    5PVNJ8JV7C4S53499   0         NY      Maybrook
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5106      2012   HINO    5PVNJ8JT8C4S53882   0         NJ      Cinnaminson
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5108      2014   FRGHT   3ALACWDT2EDFP9064   0         NY      East Syracuse
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5109      2014   FRGHT   1FVACWDTXEHFT1080   0         RI      Cumberland
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5110      2015   FRGHT   3ALACWDT6FDGN1188   0         NY      Glenmont
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5111      2015   FRGHT   3ALACWDT0FDGL0286   0         NY      Maybrook
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5112      2014   FRGHT   3ALACWDT4EDFV3341   0         NY      Glenmont
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5113      2015   FRGHT   1FVACWDTXFHGP7710   0         NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5116      2015   FRGHT   1FVACWDT8FHGD8027   0         NJ      Kearny
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5117      2014   FRGHT   1FVACWDT8EHFH4585   0         NY      Maybrook
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5119      2012   FRGHT   1FVACWDT6CDBH3962   0         MD      Elkridge
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5120      2016   FRGHT   1FVACWDT6GHGZ9530   M2        PA      Camp Hill
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5125      2021   KNWRT   1NKHHM6X8MR464029   T270      MA      North Billerica
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5126      2021   KNWRT   1NKHHM6X4MR464030   T270      MA      North Billerica
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5127      2021   KNWRT   1NKHHM6X6MR464031   T270      NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME5128      2021   KNWRT   1NKHHM6X8MR464032   T270      NY      Rochester
 NPME     STRAIGHT/ BOX TRUCK   BOX     NPME80231     2013   INTL    3HAMMAAL5DL202695   4300      NY      Williamsville
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME5000      2017   FRGHT   3ALACXDT1HDJF0453   0         NJ      Mercerville
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME5001      2017   FRGHT   3ALACXDT3HDJF0454   0         MA      North Billerica
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME5002      2017   FRGHT   3ALACXDT5HDJF0455   0         RI      Cranston
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME5003      2017   FRGHT   3ALACXDT7HDJF0456   0         NY      Maybrook
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME5004      2013   FRGHT   1FVACXDT6DHFE6322   0         MA      West Springfield
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME5005      2014   FRGHT   1FVACXDT6EHFR8426   0         VT      Williston
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME5006      2013   FRGHT   1FVACXDT9DHBT2021   0         NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME501       2009   INTL    1HTMMAAN39H100603   4300      PA      Dunmore
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME502       2009   INTL    1HTMMAAN59H100604   4300      MA      West Springfield
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME503       2009   INTL    1HTMMAAN29H124391   4300      NJ      Mercerville
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME504       2009   INTL    1HTMMAAN49H124392   4300      NJ      Cinnaminson
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME510       2006   INTL    1HTMMAANX6H189405   4300      NC      Kernersville
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME517       2006   INTL    1HTMMAAN06H211962   4300      NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME521       2006   INTL    1HTMMAAN26H218170   4300      CT      Plantsville
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME523       2009   INTL    1HTMMAAN29H086614   4300      PA      Dunmore
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME527       2006   INTL    1HTMMAAN26H193190   4300      PA      Camp Hill
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME529       2008   INTL    1HTMMAAN48H656465   4300      MD      Baltimore
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME565       2006   INTL    1HTMMAAN86H256938   4300      NC      Kernersville
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME570       2006   INTL    1HTMMAAN06H266993   4300      NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME572       2006   INTL    1HTMMAAN46H266995   4300      NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME573       2006   INTL    1HTMMAAN66H266996   4300      NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME575       2006   INTL    1HTMMAANX6H266998   4300      NY      Maybrook
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME577       2006   INTL    1HTMMAAN26H267000   4300      NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME578       2006   INTL    1HTMMAAN46H267001   4300      NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME581       2006   INTL    1HTMMAANX6H267004   4300      NJ      Kearny
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME584       2006   INTL    1HTMMAAN56H267007   4300      PA      Neville Island
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME585       2006   INTL    1HTMMAAN76H267008   4300      NY      Maybrook
 NPME     STRAIGHT/ BOX TRUCK   CTK     NPME588       2008   INTL    1HTMMAAN88H645727   4300      NY      Maspeth
                    Case 23-11069-CTG                 Doc 969-1         Filed 10/26/23       Page 200 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     STRAIGHT/ BOX TRUCK   CTK      NPME589      2008   INTL    1HTMMAANX8H645728   4300      NY      Maspeth
 NPME     STRAIGHT/ BOX TRUCK   CTK      NPME592      2008   INTL    1HTMMAANX8H645731   4300      NJ      Kearny
 NPME     STRAIGHT/ BOX TRUCK   CTK      NPME594      2008   INTL    1HTMMAAN38H645733   4300      PA      Dunmore
 NPME     STRAIGHT/ BOX TRUCK   CTK      NPME596      2008   INTL    1HTMMAAN78H645735   4300      MD      Elkridge
 NPME     CITY TRAILER          CTL‐SA   NPME11052    2003   GRTDN   1GRAA56163K246872             MA      North Billerica
 NPME     CITY TRAILER          CTL‐SA   NPME11068    2000   STRCK   1S11S8327YD454951             NY      Maspeth
 NPME     CITY TRAILER          CTL‐SA   NPME11070    2014   GRTDN   1GRAP6417EB710083             NY      Glenmont
 NPME     CITY TRAILER          CTL‐SA   NPME11072    2014   GRTDN   1GRAP6410EB710085             NJ      Kearny
 NPME     CITY TRAILER          CTL‐SA   NPME11074    2014   GRTDN   1GRAP6414EB710087             RI      Cranston
 NPME     CITY TRAILER          CTL‐SA   NPME11075    2014   GRTDN   1GRAP6416EB710088             PA      Reading
 NPME     CITY TRAILER          CTL‐SA   NPME11076    2014   GRTDN   1GRAP6418EB710089             MA      North Billerica
 NPME     CITY TRAILER          CTL‐SA   NPME11077    2014   GRTDN   1GRAP6414EB710090             NJ      Kearny
 NPME     CITY TRAILER          CTL‐SA   NPME11078    2014   GRTDN   1GRAP6416EB710091             NY      Maybrook
 NPME     CITY TRAILER          CTL‐SA   NPME11079    2014   GRTDN   1GRAP6418EB710092             MD      Elkridge
 NPME     CITY TRAILER          CTL‐SA   NPME11080    2014   GRTDN   1GRAP641XEB710093             PA      Camp Hill
 NPME     CITY TRAILER          CTL‐SA   NPME11081    2014   GRTDN   1GRAP6411EB710094             NJ      Kearny
 NPME     CITY TRAILER          CTL‐SA   NPME117301   2017   HYUND   3H3V321C0HT882001             CT      Plantsville
 NPME     CITY TRAILER          CTL‐SA   NPME117302   2017   HYUND   3H3V321C2HT882002             NJ      Cinnaminson
 NPME     CITY TRAILER          CTL‐SA   NPME117303   2017   HYUND   3H3V321C4HT882003             MD      Elkridge
 NPME     CITY TRAILER          CTL‐SA   NPME117304   2017   HYUND   3H3V321C6HT882004             MD      Elkridge
 NPME     CITY TRAILER          CTL‐SA   NPME117305   2017   HYUND   3H3V321C8HT882005             PA      Camp Hill
 NPME     CITY TRAILER          CTL‐SA   NPME117306   2017   HYUND   3H3V321CXHT882006             PA      Neville Island
 NPME     CITY TRAILER          CTL‐SA   NPME117307   2017   HYUND   3H3V321C1HT882007             NY      East Syracuse
 NPME     CITY TRAILER          CTL‐SA   NPME117308   2017   HYUND   3H3V321C3HT882008             NY      Williamsville
 NPME     CITY TRAILER          CTL‐SA   NPME117309   2017   HYUND   3H3V321C5HT882009             NJ      Kearny
 NPME     CITY TRAILER          CTL‐SA   NPME117310   2017   HYUND   3H3V321C1HT882010             NJ      Mercerville
 NPME     CITY TRAILER          CTL‐SA   NPME117311   2017   HYUND   3H3V321C3HT882011             NY      Maybrook
 NPME     CITY TRAILER          CTL‐SA   NPME117312   2017   HYUND   3H3V321C5HT882012             NY      Maspeth
 NPME     CITY TRAILER          CTL‐SA   NPME730103   2006   WABSH   1JJV281W06L987943             PA      Milton
 NPME     CITY TRAILER          CTL‐SA   NPME730166   2016   WABSH   1JJV281D5GL906189             NJ      Mercerville
 NPME     CITY TRAILER          CTL‐TA   NPME213046   2005   WABSH   1JJV452W75L924912             PA      Camp Hill
 NPME     CITY TRAILER          CTL‐TA   NPME213124   2006   WABSH   1JJV452W16L995198             PA      Dunmore
 NPME     CITY TRAILER          CTL‐TA   NPME213129   2006   WABSH   1JJV452W16L995203             NY      Maspeth
 NPME     CITY TRAILER          CTL‐TA   NPME213156   2006   WABSH   1JJV452W46L995230             NJ      Cinnaminson
 NPME     CITY TRAILER          CTL‐TA   NPME213282   2007   WABSH   1JJV452W87L048127             PA      Dunmore
 NPME     CITY TRAILER          CTL‐TA   NPME213503   2015   GRTDN   1GRAP900XGB702562             PA      Dunmore
 NPME     CITY TRAILER          CTL‐TA   NPME213504   2008   WABSH   1JJV452W68L178585             PA      Du Bois
 NPME     CITY TRAILER          CTL‐TA   NPME213505   2015   GRTDN   1GRAP9007GB702583             NJ      Cinnaminson
 NPME     CITY TRAILER          CTL‐TA   NPME213506   2015   GRTDN   1GRAP9002GB702572             MA      North Billerica
 NPME     CITY TRAILER          CTL‐TA   NPME213520   2015   GRTDN   1GRAP9005GB702579             PA      Dunmore
 NPME     CITY TRAILER          CTL‐TA   NPME213521   2015   GRTDN   1GRAP9001GB702546             NY      Maspeth
 NPME     CITY TRAILER          CTL‐TA   NPME213522   2015   GRTDN   1GRAP9005GB702534             NY      Maspeth
 NPME     CITY TRAILER          CTL‐TA   NPME213523   2015   GRTDN   1GRAP9003GB702564             MA      North Billerica
 NPME     CITY TRAILER          CTL‐TA   NPME213524   2014   GRTDN   1GRAP9620ED452789             PA      Camp Hill
 NPME     CITY TRAILER          CTL‐TA   NPME213525   2015   GRTDN   1GRAP9003GB702550             MD      Elkridge
 NPME     CITY TRAILER          CTL‐TA   NPME213526   2014   GRTDN   1GRAP9620ED452792             NJ      Mercerville
 NPME     CITY TRAILER          CTL‐TA   NPME213527   2014   GRTDN   1GRAP9620ED452808             PA      Altoona
 NPME     CITY TRAILER          CTL‐TA   NPME216301   2016   HYUND   3H3V452C6GT676001             PA      Reading
 NPME     CITY TRAILER          CTL‐TA   NPME216302   2016   HYUND   3H3V452C8GT676002             NY      Maspeth
 NPME     CITY TRAILER          CTL‐TA   NPME216303   2016   HYUND   3H3V452CXGT676003             NJ      Mercerville
 NPME     CITY TRAILER          CTL‐TA   NPME216304   2016   HYUND   3H3V452C1GT676004             NJ      Kearny
 NPME     CITY TRAILER          CTL‐TA   NPME216305   2016   HYUND   3H3V452C3GT676005             MD      Elkridge
 NPME     CITY TRAILER          CTL‐TA   NPME216306   2016   HYUND   3H3V452C5GT676006             MA      West Springfield
 NPME     CITY TRAILER          CTL‐TA   NPME216307   2016   HYUND   3H3V452C7GT676007             PA      Camp Hill
 NPME     CITY TRAILER          CTL‐TA   NPME216308   2016   HYUND   3H3V452C9GT676008             NY      East Syracuse
 NPME     CITY TRAILER          CTL‐TA   NPME216309   2016   HYUND   3H3V452C0GT676009             MA      West Springfield
 NPME     CITY TRAILER          CTL‐TA   NPME216310   2016   HYUND   3H3V452C7GT676010             MA      North Billerica
 NPME     CITY TRAILER          CTL‐TA   NPME2469     2000   STRCK   1S12S8404YD468145             NY      Maspeth
 NPME     CITY TRAILER          CTL‐TA   NPME2478     2002   STRCK   1S12S84092D475504             NY      Maspeth
 NPME     CITY TRAILER          CTL‐TA   NPME2482     2003   WABSH   1JJV402W83L835818             CT      Plantsville
 NPME     CITY TRAILER          CTL‐TA   NPME2483     2003   WABSH   1JJV402WX3L835819             PA      Dunmore
 NPME     CITY TRAILER          CTL‐TA   NPME2485     2003   WABSH   1JJV402W83L835821             NH      Bedford
 NPME     CITY TRAILER          CTL‐TA   NPME2486     2003   WABSH   1JJV402WX3L835822             NY      Maspeth
 NPME     CITY TRAILER          CTL‐TA   NPME2487     2005   WABSH   1JJV402W05L942557             MA      North Billerica
 NPME     CITY TRAILER          CTL‐TA   NPME2488     2005   WABSH   1JJV402W25L942558             PA      Camp Hill
 NPME     CITY TRAILER          CTL‐TA   NPME2489     2005   WABSH   1JJV402W45L942559             NY      Williamsville
 NPME     CITY TRAILER          CTL‐TA   NPME2490     2005   WABSH   1JJV402W05L942560             PA      Altoona
 NPME     CITY TRAILER          CTL‐TA   NPME2492     2016   GRTDN   1GRAP8000GB702502             MA      North Billerica
 NPME     CITY TRAILER          CTL‐TA   NPME2493     2016   GRTDN   1GRAP8002GB702503             NY      Maspeth
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 201 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 NPME     CITY TRAILER     CTL‐TA   NPME2494     2016   GRTDN   1GRAP8004GB702504                  NY      Rochester
 NPME     CITY TRAILER     CTL‐TA   NPME2495     2016   GRTDN   1GRAP8006GB702505                  PA      Dunmore
 NPME     CITY TRAILER     CTL‐TA   NPME2496     2016   GRTDN   1GRAP8008GB702506                  NJ      Mercerville
 NPME     CITY TRAILER     CTL‐TA   NPME2497     2016   GRTDN   1GRAP800XGB702507                  NY      Maspeth
 NPME     CITY TRAILER     CTL‐TA   NPME2498     2016   GRTDN   1GRAP8001GB702508                  NY      Maspeth
 NPME     CITY TRAILER     CTL‐TA   NPME2499     2016   GRTDN   1GRAP8003GB702509                  NJ      Kearny
 NPME     CITY TRAILER     CTL‐TA   NPME2500     2016   GRTDN   1GRAP800XGB702510                  NY      Maybrook
 NPME     CITY TRAILER     CTL‐TA   NPME2501     2016   GRTDN   1GRAP8001GB702511                  PA      Reading
 NPME     CITY TRAILER     CTL‐TA   NPME2502     2016   GRTDN   1GRAP8003GB702512                  NJ      Cinnaminson
 NPME     CITY TRAILER     CTL‐TA   NPME2503     2016   GRTDN   1GRAP8005GB702513                  NJ      Cinnaminson
 NPME     CITY TRAILER     CTL‐TA   NPME2504     2016   GRTDN   1GRAP8007GB702514                  RI      Cranston
 NPME     CITY TRAILER     CTL‐TA   NPME2505     2016   GRTDN   1GRAP8009GB702515                  MD      Elkridge
 NPME     CITY TRAILER     CTL‐TA   NPME2506     2016   GRTDN   1GRAP8000GB702516                  MD      Elkridge
 NPME     CITY TRAILER     CTL‐TA   NPME2600     2005   WABSH   1JJV452W35L924938                  RI      Cranston
 NPME     CITY TRAILER     CTL‐TA   NPME2604     2006   WABSH   1JJV452W36L995302                  VT      Williston
 NPME     CITY TRAILER     CTL‐TA   NPME2605     2006   WABSH   1JJV452W56L995303                  NY      Maybrook
 NPME     CITY TRAILER     CTL‐TA   NPME2607     2006   WABSH   1JJV452W96L995305                  PA      Bedford
 NPME     CITY TRAILER     CTL‐TA   NPME2608     2006   WABSH   1JJV452W06L995306                  CT      Plantsville
 NPME     CITY TRAILER     CTL‐TA   NPME2609     2006   WABSH   1JJV452W26L995307                  VT      Williston
 NPME     CITY TRAILER     CTL‐TA   NPME2611     2006   WABSH   1JJV452W66L995309                  PA      Neville Island
 NPME     CITY TRAILER     CTL‐TA   NPME2612     2006   WABSH   1JJV452W26L995310                  MD      Elkridge
 NPME     CITY TRAILER     CTL‐TA   NPME2613     2006   WABSH   1JJV452W46L995311                  PA      Dunmore
 NPME     CITY TRAILER     CTL‐TA   NPME2614     2006   WABSH   1JJV452W66L995312                  PA      Camp Hill
 NPME     CITY TRAILER     CTL‐TA   NPME2615     2008   WABSH   1JJV452W68L133002                  NJ      Cinnaminson
 NPME     CITY TRAILER     CTL‐TA   NPME2616     2008   WABSH   1JJV452W88L133003                  PA      Dunmore
 NPME     CITY TRAILER     CTL‐TA   NPME2617     2008   WABSH   1JJV452WX8L133004                  NY      Maybrook
 NPME     CITY TRAILER     CTL‐TA   NPME2618     2008   WABSH   1JJV452W18L133005                  MD      Elkridge
 NPME     CITY TRAILER     CTL‐TA   NPME2619     2008   WABSH   1JJV452W38L133006                  RI      Cranston
 NPME     CITY TRAILER     CTL‐TA   NPME2620     2008   WABSH   1JJV452W58L133007                  NJ      Mercerville
 NPME     CITY TRAILER     CTL‐TA   NPME2622     2008   WABSH   1JJV452W98L178628                  PA      Milton
 NPME     CITY TRAILER     CTL‐TA   NPME2623     2008   WABSH   1JJV452W08L178629                  NY      Rochester
 NPME     CITY TRAILER     CTL‐TA   NPME2625     2008   WABSH   1JJV452W98L178631                  NY      Williamsville
 NPME     CITY TRAILER     CTL‐TA   NPME2626     2008   WABSH   1JJV452W08L178632                  NY      Maspeth
 NPME     CITY TRAILER     CTL‐TA   NPME2627     2008   WABSH   1JJV452W28L178633                  PA      Camp Hill
 NPME     CITY TRAILER     CTL‐TA   NPME2628     2008   WABSH   1JJV452W48L178634                  NY      Maybrook
 NPME     CITY TRAILER     CTL‐TA   NPME2629     2009   WABSH   1JJV452W79L314496                  PA      Camp Hill
 NPME     CITY TRAILER     CTL‐TA   NPME2630     2009   WABSH   1JJV452W99L314497                  NY      Maspeth
 NPME     CITY TRAILER     CTL‐TA   NPME2631     2009   WABSH   1JJV452W09L314498                  MD      Elkridge
 NPME     CITY TRAILER     CTL‐TA   NPME2632     2009   WABSH   1JJV452W29L314499                  PA      Camp Hill
 NPME     CITY TRAILER     CTL‐TA   NPME2634     2009   WABSH   1JJV452W79L314501                  NY      Williamsville
 NPME     CITY TRAILER     CTL‐TA   NPME2635     2009   WABSH   1JJV452W99L314502                  PA      Dunmore
 NPME     CITY TRAILER     CTL‐TA   NPME2636     2009   WABSH   1JJV452W09L314503                  PA      Camp Hill
 NPME     CITY TRAILER     CTL‐TA   NPME2637     2009   WABSH   1JJV452W29L314504                  NY      Williamsville
 NPME     CITY TRAILER     CTL‐TA   NPME2638     2009   WABSH   1JJV452W49L314505                  MA      North Billerica
 NPME     CITY TRAILER     CTL‐TA   NPME2640     2009   WABSH   1JJV452W89L314507                  MA      North Billerica
 NPME     CITY TRAILER     CTL‐TA   NPME2641     2009   WABSH   1JJV452WX9L314508                  PA      Reading
 NPME     CITY TRAILER     CTL‐TA   NPME2642     2009   WABSH   1JJV452W19L314509                  PA      Dunmore
 NPME     CITY TRAILER     CTL‐TA   NPME2643     2009   WABSH   1JJV452W89L314510                  MA      North Billerica
 NPME     CITY TRAILER     CTL‐TA   NPME2646     2003   WABSH   1JJV452W73L829313                  NJ      Cinnaminson
 NPME     CITY TRAILER     CTL‐TA   NPME2648     2003   WABSH   1JJV452W03L829301                  PA      Dunmore
 NPME     CITY TRAILER     CTL‐TA   NPME2649     2003   WABSH   1JJV452W93L829314                  NY      Williamsville
 NPME     CITY TRAILER     CTL‐TA   NPME3492     2015   GRTDN   1GRAP9005GB702551                  MA      North Billerica
 NPME     CITY TRAILER     CTL‐TA   NPME514001   2014   WABSH   1JJV532D8EL794087   ************   GA      Marietta
 NPME     CITY TRAILER     CTL‐TA   NPME514003   2014   WABSH   1JJV532D3EL794448   ************   NY      Elmira
 NPME     CITY TRAILER     CTL‐TA   NPME514004   2014   WABSH   1JJV532D1EL794805   ************   NJ      Cinnaminson
 NPME     CITY TRAILER     CTL‐TA   NPME514005   2014   WABSH   1JJV532D3EL795213   ************   NY      Glenmont
 NPME     CITY TRAILER     CTL‐TA   NPME514006   2014   WABSH   1JJV532D9EL795376   ************   MA      West Springfield
 NPME     CITY TRAILER     CTL‐TA   NPME514008   2014   WABSH   1JJV532D1EL795873   ************   NY      Williamsville
 NPME     CITY TRAILER     CTL‐TA   NPME514009   2014   WABSH   1JJV532D2EL795879   ************   NY      Elmira
 NPME     CITY TRAILER     CTL‐TA   NPME514010   2014   WABSH   1JJV532D5EL795925   ************   MS      Olive Branch
 NPME     CITY TRAILER     CTL‐TA   NPME514012   2014   WABSH   1JJV532D7EL796008   ************   NY      Glenmont
 NPME     CITY TRACTOR     CTR‐SA   NPME1224     2005   INTL    2HSCDAHN95C003865   9200I          NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1226     2005   INTL    2HSCDAHN25C003867   9200I          NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1233     2005   MACK    1M1AK01Y05N001291   CXN612         NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1234     2005   MACK    1M1AK01Y25N001292   CXN612         NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1237     2005   MACK    1M1AK01Y85N001295   CXN612         NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1238     2005   MACK    1M1AK01YX5N001296   CXN612         NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1239     2005   MACK    1M1AK01Y15N001297   CXN612         NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1243     2005   MACK    1M1AK01YX5N001301   CXN612         NY      Maybrook
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 202 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     CITY TRACTOR     CTR‐SA   NPME1244     2005   MACK    1M1AK01Y15N001302   CXN612    NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1248     2005   MACK    1M1AK01Y95N001306   CXN612    NY      Rochester
 NPME     CITY TRACTOR     CTR‐SA   NPME1253     2005   MACK    1M1AK01Y25N001311   CXN612    NY      Rochester
 NPME     CITY TRACTOR     CTR‐SA   NPME1255     2005   MACK    1M1AK01Y65N001313   CXN612    NY      Rochester
 NPME     CITY TRACTOR     CTR‐SA   NPME1257     2005   MACK    1M1AK01YX5N001315   CXN612    CT      Plantsville
 NPME     CITY TRACTOR     CTR‐SA   NPME1258     2005   MACK    1M1AK01Y15N001316   CXN612    NY      Maybrook
 NPME     CITY TRACTOR     CTR‐SA   NPME1260     2005   MACK    1M1AK01Y55N001318   CXN612    NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1265     2005   MACK    1M1AK01Y95N001323   CXN612    NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1272     2005   MACK    1M1AK01Y65N001330   CXN612    NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1275     2005   MACK    1M1AK01Y15N001333   CXN612    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐SA   NPME1279     2005   MACK    1M1AK01Y95N001337   CXN612    MD      Elkridge
 NPME     CITY TRACTOR     CTR‐SA   NPME1280     2005   MACK    1M1AK01Y05N001338   CXN612    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐SA   NPME1285     2005   MACK    1M1AK01Y65N001912   CXN612    NY      Rochester
 NPME     CITY TRACTOR     CTR‐SA   NPME1287     2005   MACK    1M1AK01YX5N001914   CXN612    NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1292     2005   MACK    1M1AK01Y95N001919   CXN612    CT      Cheshire
 NPME     CITY TRACTOR     CTR‐SA   NPME1308     2005   MACK    1M1AK01Y75N001935   CXN612    NY      Brooklyn
 NPME     CITY TRACTOR     CTR‐SA   NPME1327     2005   MACK    1M1AK01Y05N001954   CXN612    MD      Elkridge
 NPME     CITY TRACTOR     CTR‐SA   NPME1335     2006   INTL    2HSCDAHN86C288687   9200I     NJ      Cinnaminson
 NPME     CITY TRACTOR     CTR‐SA   NPME1336     2006   INTL    2HSCDAHNX6C288688   9200I     NJ      Cinnaminson
 NPME     CITY TRACTOR     CTR‐SA   NPME1339     2006   INTL    2HSCDAHNX6C288691   9200I     NJ      Cinnaminson
 NPME     CITY TRACTOR     CTR‐SA   NPME1340     2006   INTL    2HSCDAHN16C288692   9200I     NJ      Cinnaminson
 NPME     CITY TRACTOR     CTR‐SA   NPME1343     2006   INTL    2HSCDAHN76C288695   9200I     NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1344     2006   INTL    2HSCDAHN96C288696   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1346     2006   INTL    2HSCDAHN26C288698   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1356     2006   INTL    2HSCDAHN16C288708   9200I     NY      Maybrook
 NPME     CITY TRACTOR     CTR‐SA   NPME1357     2006   INTL    2HSCDAHN36C288709   9200I     MA      West Springfield
 NPME     CITY TRACTOR     CTR‐SA   NPME1359     2006   INTL    2HSCDAHN16C288711   9200I     NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1372     2006   INTL    2HSCDAHNX6C288724   9200I     NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1373     2006   INTL    2HSCDAHN16C288725   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1384     2006   INTL    2HSCDAHN66C288736   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1388     2006   INTL    2HSCDAHN86C288740   9200I     NY      Maybrook
 NPME     CITY TRACTOR     CTR‐SA   NPME1391     2006   INTL    2HSCDAHN36C288743   9200I     NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1394     2006   INTL    2HSCDAHN96C288746   9200I     NY      Glenmont
 NPME     CITY TRACTOR     CTR‐SA   NPME1396     2006   INTL    2HSCDAHN26C288748   9200I     RI      Cranston
 NPME     CITY TRACTOR     CTR‐SA   NPME1398     2006   INTL    2HSCDAHN06C288750   9200I     NY      Glenmont
 NPME     CITY TRACTOR     CTR‐SA   NPME1416     2007   INTL    2HSCDAHN17C424370   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1417     2007   INTL    2HSCDAHN37C424371   9200I     NY      Williamsville
 NPME     CITY TRACTOR     CTR‐SA   NPME1423     2007   INTL    2HSCDAHN47C424377   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1424     2007   INTL    2HSCDAHN17C424403   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1425     2007   INTL    2HSCDAHN37C424404   9200I     MA      North Reading
 NPME     CITY TRACTOR     CTR‐SA   NPME1427     2007   INTL    2HSCDAHN77C424406   9200I     MA      North Reading
 NPME     CITY TRACTOR     CTR‐SA   NPME1428     2007   INTL    2HSCDAHN97C424407   9200I     NY      Glenmont
 NPME     CITY TRACTOR     CTR‐SA   NPME1436     2007   INTL    2HSCDAHN87C424415   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1438     2007   INTL    2HSCDAHN17C424417   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1439     2007   INTL    2HSCDAHN37C424418   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1440     2007   INTL    2HSCDAHN57C424419   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1444     2007   INTL    2HSCDAHN77C424423   9200I     MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1449     2007   VOLVO   4V4M19GF57N451682   VNM42T    MA      West Springfield
 NPME     CITY TRACTOR     CTR‐SA   NPME1455     2007   VOLVO   4V4M19GF67N451688   VNM42T    NY      East Syracuse
 NPME     CITY TRACTOR     CTR‐SA   NPME1458     2007   VOLVO   4V4M19GF67N451691   VNM42T    MA      West Springfield
 NPME     CITY TRACTOR     CTR‐SA   NPME1473     2008   VOLVO   4V4M19EFX8N498419   VNM42T    MA      West Springfield
 NPME     CITY TRACTOR     CTR‐SA   NPME1476     2008   VOLVO   4V4M19EFX8N498422   VNM42T    CT      Plantsville
 NPME     CITY TRACTOR     CTR‐SA   NPME1485     2008   VOLVO   4V4M19EF08N498431   VNM42T    NY      Rochester
 NPME     CITY TRACTOR     CTR‐SA   NPME1497     2008   VOLVO   4V4M19EF78N498443   VNM42T    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1526     2009   VOLVO   4V4M19EF19N264011   VNM42T    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1561     2009   VOLVO   4V4M19EF99N264046   VNM42T    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1575     2009   VOLVO   4V4M19EF29N283960   VNM42T    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1576     2009   VOLVO   4V4M19EF49N283961   VNM42T    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1599     2009   VOLVO   4V4M19EF59N283984   VNM42T    PA      Camp Hill
 NPME     CITY TRACTOR     CTR‐SA   NPME1649     2014   FRGHT   1FUBGADVXELFV9167   CA113DC   PA      McKees Rocks
 NPME     CITY TRACTOR     CTR‐SA   NPME1680     2016   FRGHT   1FUBGADV5GLHB5727   CA113DC   NJ      Cinnaminson
 NPME     CITY TRACTOR     CTR‐SA   NPME1688     2016   FRGHT   1FUBGADV4GLHB5735   CA113DC   NJ      Mercerville
 NPME     CITY TRACTOR     CTR‐SA   NPME1693     2016   FRGHT   1FUBGADV8GLHB5740   CA113DC   MA      West Springfield
 NPME     CITY TRACTOR     CTR‐SA   NPME1710     2016   FRGHT   1FUBGADV7GLHC3456   CA113DC   NJ      Cinnaminson
 NPME     CITY TRACTOR     CTR‐SA   NPME1720     2017   MACK    1M1AW01Y1HM010161   CXU612    PA      Altoona
 NPME     CITY TRACTOR     CTR‐SA   NPME1722     2017   MACK    1M1AW01Y5HM010163   CXU612    MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1723     2017   MACK    1M1AW01Y7HM010164   CXU612    MA      North Billerica
 NPME     CITY TRACTOR     CTR‐SA   NPME1724     2017   MACK    1M1AW01Y9HM010165   CXU612    MD      Elkridge
 NPME     CITY TRACTOR     CTR‐SA   NPME1726     2017   MACK    1M1AW01Y2HM010167   CXU612    NJ      Kearny
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 203 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     CITY TRACTOR     CTR‐SA   NPME1728      2017   MACK    1M1AW01Y6HM010169   CXU612    ME      Fairfield
 NPME     CITY TRACTOR     CTR‐SA   NPME1730      2017   MACK    1M1AW01Y4HM010171   CXU612    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1731      2017   MACK    1M1AW01Y6HM010172   CXU612    VT      Williston
 NPME     CITY TRACTOR     CTR‐SA   NPME1732      2017   MACK    1M1AW01Y8HM010173   CXU612    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1733      2017   MACK    1M1AW01YXHM010174   CXU612    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1734      2017   MACK    1M1AW01Y1HM010175   CXU612    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1735      2017   MACK    1M1AW01Y3HM010176   CXU612    NY      Rochester
 NPME     CITY TRACTOR     CTR‐SA   NPME1737      2017   MACK    1M1AW01Y7HM010178   CXU612    NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME1738      2017   MACK    1M1AW01Y9HM010179   CXU612    MA      West Springfield
 NPME     CITY TRACTOR     CTR‐SA   NPME1741      2017   MACK    1M1AW01Y9HM010182   CXU612    CT      Plantsville
 NPME     CITY TRACTOR     CTR‐SA   NPME1742      2017   MACK    1M1AW01Y0HM010183   CXU612    PA      Camp Hill
 NPME     CITY TRACTOR     CTR‐SA   NPME1743      2017   MACK    1M1AW01Y2HM010184   CXU612    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1744      2017   MACK    1M1AW01Y4HM010185   CXU612    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1745      2017   MACK    1M1AW01Y6HM010186   CXU612    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1746      2017   MACK    1M1AW01Y8HM010187   CXU612    PA      Milton
 NPME     CITY TRACTOR     CTR‐SA   NPME1747      2017   MACK    1M1AW01YXHM010188   CXU612    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME1748      2017   MACK    1M1AW01Y1HM010189   CXU612    NY      East Syracuse
 NPME     CITY TRACTOR     CTR‐SA   NPME1765      2020   PTRBL   1XPBAK8X9LD661069   579       NJ      Mercerville
 NPME     CITY TRACTOR     CTR‐SA   NPME1766      2020   PTRBL   1XPBAK8X5LD661070   579       NJ      Mercerville
 NPME     CITY TRACTOR     CTR‐SA   NPME1767      2020   PTRBL   1XPBAK8X7LD661071   579       NY      Williamsville
 NPME     CITY TRACTOR     CTR‐SA   NPME1768      2020   PTRBL   1XPBAK8X9LD661072   579       NJ      Mercerville
 NPME     CITY TRACTOR     CTR‐SA   NPME67170     2005   INTL    2HSCDAHN75C003847   9200I     NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME67174     2005   INTL    2HSCDAHN05C003852   9200I     NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME67175     2005   INTL    2HSCDAHN25C003853   9200I     NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME67177     2005   MACK    1M1AK01Y55N001934   CXN612    NJ      Cinnaminson
 NPME     CITY TRACTOR     CTR‐SA   NPME67178     2005   MACK    1M1AK01Y95N001936   CXN612    NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME67546     2005   VOLVO   4V4M19GF65N387651   VNM42T    NY      Maybrook
 NPME     CITY TRACTOR     CTR‐SA   NPME67561     2005   MACK    1M1AK01Y05N001310   CXN612    NY      Maybrook
 NPME     CITY TRACTOR     CTR‐SA   NPME67672     2005   INTL    2HSCDAHN85C003842   9200I     NJ      Cinnaminson
 NPME     CITY TRACTOR     CTR‐SA   NPME772       2004   VOLVO   4V4M19GF64N357080   VNM42T    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME775       2004   VOLVO   4V4M19GF84N357114   VNM42T    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME779       2004   VOLVO   4V4M19GF24N352166   VNM42T    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐SA   NPME803       2005   VOLVO   4V4M19GF45N378155   VNM42T    MD      Elkridge
 NPME     CITY TRACTOR     CTR‐SA   NPME809       2005   VOLVO   4V4M19GF15N387640   VNM42T    MA      West Springfield
 NPME     CITY TRACTOR     CTR‐SA   NPME822       2005   VOLVO   4V4M19GF25N378154   VNM42T    NY      Rochester
 NPME     CITY TRACTOR     CTR‐SA   NPME824       2005   VOLVO   4V4M19GFX5N387667   VNM42T    PA      Reading
 NPME     CITY TRACTOR     CTR‐SA   NPME827       2005   VOLVO   4V4M19GF15N387654   VNM42T    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐SA   NPME829       2005   VOLVO   4V4M19GF75N405929   VNM42T    NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME832       2005   VOLVO   4V4M19GF65N378139   VNM42T    NY      Rochester
 NPME     CITY TRACTOR     CTR‐SA   NPME839       2006   FRGHT   1FUBA5CG36LV98192   CL1242S   NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME840       2005   FRGHT   1FUBA5CG85LN96307   CL1242S   NY      Maspeth
 NPME     CITY TRACTOR     CTR‐SA   NPME843       2007   FRGHT   1FUBA5CG57LX85533   CL1242S   NY      Maspeth
 NPME     CITY TRACTOR     CTR‐TA   NPME105       2014   FRGHT   1FUJGBDV4ELFV9148   CA113DC   PA      Altoona
 NPME     CITY TRACTOR     CTR‐TA   NPME122       2016   FRGHT   1FUJGBDV9GLHC3461   CA113DC   VT      Williston
 NPME     CITY TRACTOR     CTR‐TA   NPME131       2017   MACK    1M1AW02Y6HM084223   CXU613    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐TA   NPME134       2017   MACK    1M1AW02Y1HM084226   CXU613    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐TA   NPME135       2017   MACK    1M1AW02Y3HM084227   CXU613    PA      Camp Hill
 NPME     CITY TRACTOR     CTR‐TA   NPME138       2017   MACK    1M1AW02Y3HM084230   CXU613    NY      Maspeth
 NPME     CITY TRACTOR     CTR‐TA   NPME139       2017   MACK    1M1AW02Y5HM084231   CXU613    NY      Maybrook
 NPME     CITY TRACTOR     CTR‐TA   NPME141       2017   MACK    1M1AW02Y9HM084233   CXU613    MD      Elkridge
 NPME     CITY TRACTOR     CTR‐TA   NPME142       2017   MACK    1M1AW02Y0HM084234   CXU613    NJ      Mercerville
 NPME     CITY TRACTOR     CTR‐TA   NPME143       2017   MACK    1M1AW02Y2HM084235   CXU613    NJ      Mercerville
 NPME     CITY TRACTOR     CTR‐TA   NPME147       2017   MACK    1M1AW02YXHM084239   CXU613    NY      Glenmont
 NPME     CITY TRACTOR     CTR‐TA   NPME149       2017   MACK    1M1AW02Y8HM084241   CXU613    VT      Williston
 NPME     CITY TRACTOR     CTR‐TA   NPME150       2014   MACK    1M1AW09Y6EM036531   CXU613    VT      Williston
 NPME     CITY TRACTOR     CTR‐TA   NPME152       2013   MACK    1M1AW09Y9DM034576   CXU613    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐TA   NPME153       2013   MACK    1M1AW09Y1DM034555   CXU613    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐TA   NPME156       2013   MACK    1M1AW09Y7DM034558   CXU613    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐TA   NPME157       2013   MACK    1M1AW09Y8DM034536   CXU613    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐TA   NPME610       2005   INTL    2HSCEAHR55C003877   9200I     NY      Maspeth
 NPME     CITY TRACTOR     CTR‐TA   NPME612       2005   INTL    2HSCEAHR95C003879   9200I     NJ      Kearny
 NPME     CITY TRACTOR     CTR‐TA   NPME614       2005   INTL    2HSCEAHR75C003881   9200I     NY      Maybrook
 NPME     CITY TRACTOR     CTR‐TA   NPME617       2005   INTL    2HSCEAHR25C003884   9200I     NJ      Cinnaminson
 NPME     CITY TRACTOR     CTR‐TA   NPME620       2006   VOLVO   4V4MC9GF06N405895   VNM64T    NJ      Kearny
 NPME     CITY TRACTOR     CTR‐TA   NPME626       2006   VOLVO   4V4MC9GF26N405901   VNM64T    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐TA   NPME628       2006   VOLVO   4V4MC9GF66N405903   VNM64T    PA      Reading
 NPME     CITY TRACTOR     CTR‐TA   NPME631       2006   VOLVO   4V4MC9GF16N405906   VNM64T    PA      Reading
 NPME     CITY TRACTOR     CTR‐TA   NPME639       2009   VOLVO   4V4MC9EF49N283808   VNM64T    PA      Dunmore
 NPME     CITY TRACTOR     CTR‐TA   NPME89249     2017   MACK    1M1AW02Y8HM084224   CXU613    PA      McKees Rocks
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 204 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     CITY TRACTOR     CTR‐TA   NPME89250     2017   MACK    1M1AW02Y4HM084236   CXU613    NJ      Cinnaminson
 NPME     FORKLIFT         FKL      NPME9100      2007   TOYOT   7FGCU25‐12728       0         NY      Maspeth
 NPME     FORKLIFT         FKL      NPME9103      2007   TOYOT   7FGCU25‐14495       0         NY      Maspeth
 NPME     FORKLIFT         FKL      NPME9105      2007   TOYOT   7FGCU25‐14601       0         NY      Maspeth
 NPME     FORKLIFT         FKL      NPME9406      1999   NSSMT   CPJ029P3941         0         RI      Cranston
 NPME     FORKLIFT         FKL      NPME9408      1999   NSSMT   CPJ029P3943         0         MA      West Springfield
 NPME     FORKLIFT         FKL      NPME9416      1999   NSSMT   CPJ029P3992         0         MA      North Billerica
 NPME     FORKLIFT         FKL      NPME9418      1999   NSSMT   CPJ029P3958         0         MA      West Springfield
 NPME     FORKLIFT         FKL      NPME9432      1999   NSSMT   CPJ029P4404         0         NJ      Mercerville
 NPME     FORKLIFT         FKL      NPME9440      2000   NSSMT   CPJ029P5371         0         NY      Williamsville
 NPME     FORKLIFT         FKL      NPME9441      2000   NSSMT   CPJ029P5372         0         MA      North Billerica
 NPME     FORKLIFT         FKL      NPME9451      2000   NSSMT   CPJ029P5517         0         NY      Glenmont
 NPME     FORKLIFT         FKL      NPME9453      2000   NSSMT   CPJ029P5519         0         PA      Neville Island
 NPME     FORKLIFT         FKL      NPME9478      2000   NSSMT   CPJ029P6941         0         PA      Reading
 NPME     FORKLIFT         FKL      NPME9492      2000   NSSMT   CPJ029P7928         0         NJ      Mercerville
 NPME     FORKLIFT         FKL      NPME9515      2001   NSSMT   CPJ029P8558         0         MD      Landover
 NPME     FORKLIFT         FKL      NPME9520      2001   TOYOT   7FGCU25‐69399       0         NJ      Mercerville
 NPME     FORKLIFT         FKL      NPME9523      2001   TOYOT   7FGCU25‐69423       0         NY      Rochester
 NPME     FORKLIFT         FKL      NPME9530      2001   TOYOT   7FGCU25‐69499       0         NJ      Kearny
 NPME     FORKLIFT         FKL      NPME9532      2001   TOYOT   7FGCU25‐69514       0         NJ      Kearny
 NPME     FORKLIFT         FKL      NPME9534      2001   TOYOT   7FGCU25‐69524       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL      NPME9535      2001   TOYOT   7FGCU25‐69526       0         NY      Maspeth
 NPME     FORKLIFT         FKL      NPME9537      2001   TOYOT   7FGCU25‐69555       0         MD      Elkridge
 NPME     FORKLIFT         FKL      NPME9538      2001   TOYOT   7FGCU25‐69556       0         MD      Elkridge
 NPME     FORKLIFT         FKL      NPME9540      2001   TOYOT   7FGCU25‐69565       0         NY      Maspeth
 NPME     FORKLIFT         FKL      NPME9543      2001   TOYOT   7FGCU25‐69583       0         MA      North Billerica
 NPME     FORKLIFT         FKL      NPME9546      2001   TOYOT   7FGCU25‐69614       0         NY      Glenmont
 NPME     FORKLIFT         FKL      NPME9548      2001   TOYOT   7FGCU25‐69625       0         PA      Dunmore
 NPME     FORKLIFT         FKL      NPME9549      2005   CTRPL   AT9000158           0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL      NPME9550      2005   CTRPL   AT9000159           0         MD      Elkridge
 NPME     FORKLIFT         FKL      NPME9551      2005   CTRPL   AT9000160           0         NY      Maspeth
 NPME     FORKLIFT         FKL      NPME9552      2005   CTRPL   AT9000161           0         PA      Reading
 NPME     FORKLIFT         FKL      NPME9553      2005   CTRPL   AT9000162           0         CT      Plantsville
 NPME     FORKLIFT         FKL      NPME9554      2005   CTRPL   AT9000163           0         PA      Reading
 NPME     FORKLIFT         FKL      NPME9555      2005   CTRPL   AT9000203           0         NJ      Carlstadt
 NPME     FORKLIFT         FKL      NPME9556      2005   CTRPL   AT9000204           0         NY      Williamsville
 NPME     FORKLIFT         FKL      NPME9558      2005   CTRPL   AT9000206           0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL      NPME9559      2005   CTRPL   AT9000207           0         MA      North Billerica
 NPME     FORKLIFT         FKL      NPME9561      2005   CTRPL   AT9000289           0         NJ      Carlstadt
 NPME     FORKLIFT         FKL      NPME9562      2005   CTRPL   AT9000290           0         VT      Williston
 NPME     FORKLIFT         FKL      NPME9563      2005   CTRPL   AT9000291           0         MA      North Billerica
 NPME     FORKLIFT         FKL      NPME9564      2005   CTRPL   AT9002564           0         MA      North Billerica
 NPME     FORKLIFT         FKL      NPME9566      2005   CTRPL   AT9002566           0         CT      Plantsville
 NPME     FORKLIFT         FKL      NPME9567      2005   CTRPL   AT9002567           0         MA      North Billerica
 NPME     FORKLIFT         FKL      NPME9569      2005   CTRPL   AT9002577           0         PA      Neville Island
 NPME     FORKLIFT         FKL      NPME9570      2005   CTRPL   AT9002578           0         NY      Williamsville
 NPME     FORKLIFT         FKL      NPME9571      2005   CTRPL   AT9002579           0         MA      West Springfield
 NPME     FORKLIFT         FKL      NPME9572      2005   CTRPL   AT9002619           0         MA      West Springfield
 NPME     FORKLIFT         FKL      NPME9574      2005   CTRPL   AT9002621           0         MA      West Springfield
 NPME     FORKLIFT         FKL      NPME9575      2005   CTRPL   AT9002622           0         NY      Rochester
 NPME     FORKLIFT         FKL      NPME9576      2005   CTRPL   AT9002623           0         PA      Reading
 NPME     FORKLIFT         FKL      NPME9577      2005   CTRPL   AT9002624           0         NY      Rochester
 NPME     FORKLIFT         FKL      NPME9579      2006   CTRPL   AT9005408           0         NY      East Syracuse
 NPME     FORKLIFT         FKL      NPME9580      2006   CTRPL   AT9005409           0         PA      Reading
 NPME     FORKLIFT         FKL      NPME9581      2006   CTRPL   AT9005411           0         NY      East Syracuse
 NPME     FORKLIFT         FKL      NPME9582      2006   CTRPL   AT9005412           0         NY      Maspeth
 NPME     FORKLIFT         FKL      NPME9583      2006   CTRPL   AT9005413           0         PA      Neville Island
 NPME     FORKLIFT         FKL      NPME9585      2006   CTRPL   AT9005430           0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL      NPME9586      2006   CTRPL   AT9005431           0         PA      Neville Island
 NPME     FORKLIFT         FKL      NPME9587      2006   CTRPL   AT9005432           0         NY      Maspeth
 NPME     FORKLIFT         FKL      NPME9588      2006   CTRPL   AT9005410           0         NJ      Mercerville
 NPME     FORKLIFT         FKL      NPME9589      2006   CTRPL   AT9005476           0         NY      Williamsville
 NPME     FORKLIFT         FKL      NPME9590      2006   CTRPL   AT9005477           0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL      NPME9591      2006   CTRPL   AT9005366           0         PA      Milton
 NPME     FORKLIFT         FKL      NPME9592      2006   CTRPL   AT9005367           0         MA      North Billerica
 NPME     FORKLIFT         FKL      NPME9593      2006   CTRPL   AT9005368           0         NY      Williamsville
 NPME     FORKLIFT         FKL      NPME9594      2006   CTRPL   AT9005369           0         NY      East Syracuse
 NPME     FORKLIFT         FKL      NPME9595      2006   CTRPL   AT9005370           0         NY      East Syracuse
 NPME     FORKLIFT         FKL      NPME9596      2007   CTRPL   AT9010618           0         NY      Glenmont
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 205 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 NPME     FORKLIFT         FKL     NPME9597     2007   CTRPL   AT9010619       0         MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9598     2007   CTRPL   AT9010620       0         CT      Plantsville
 NPME     FORKLIFT         FKL     NPME9599     2007   CTRPL   AT9010708       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9600     2007   CTRPL   AT9010709       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9601     2007   CTRPL   AT9010815       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9602     2007   CTRPL   AT9010816       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9604     2007   CTRPL   AT9010818       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9605     2007   CTRPL   AT9010819       0         NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9606     2007   CTRPL   AT9010820       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9607     2007   CTRPL   AT9010821       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9608     2007   CTRPL   AT9010822       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9609     2007   CTRPL   AT9010823       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9611     2007   CTRPL   AT9010881       0         NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9612     2007   CTRPL   AT9010882       0         NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9614     2007   CTRPL   AT9010884       0         NY      East Syracuse
 NPME     FORKLIFT         FKL     NPME9615     2007   CTRPL   AT9010885       0         PA      Reading
 NPME     FORKLIFT         FKL     NPME9616     2009   TOYOT   8FGCU25‐21180   8FGCU25   NY      East Syracuse
 NPME     FORKLIFT         FKL     NPME9617     2009   TOYOT   8FGCU25‐21227   8FGCU25   NY      Rochester
 NPME     FORKLIFT         FKL     NPME9618     2009   TOYOT   8FGCU25‐21279   8FGCU25   NY      Williamsville
 NPME     FORKLIFT         FKL     NPME9619     2009   TOYOT   8FGCU25‐21304   8FGCU25   CT      Plantsville
 NPME     FORKLIFT         FKL     NPME9620     2009   TOYOT   8FGCU25‐21519   8FGCU25   MA      West Springfield
 NPME     FORKLIFT         FKL     NPME9621     2009   TOYOT   8FGCU25‐21548   8FGCU25   NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9624     2009   TOYOT   8FGCU25‐21280   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9625     2009   TOYOT   8FGCU25‐21230   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9626     2009   TOYOT   8FGCU25‐21598   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9627     2009   TOYOT   8FGCU25‐21661   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9628     2009   TOYOT   8FGCU25‐21722   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9629     2009   TOYOT   8FGCU25‐21605   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9630     2009   TOYOT   8FGCU25‐21658   8FGCU25   PA      Altoona
 NPME     FORKLIFT         FKL     NPME9631     2009   TOYOT   8FGCU25‐21726   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9632     2009   TOYOT   8FGCU25‐22723   8FGCU25   RI      Cranston
 NPME     FORKLIFT         FKL     NPME9633     2009   TOYOT   8FGCU25‐22694   8FGCU25   NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9634     2009   TOYOT   8FGCU25‐22727   8FGCU25   NY      East Syracuse
 NPME     FORKLIFT         FKL     NPME9635     2009   TOYOT   8FGCU25‐22753   8FGCU25   CT      Plantsville
 NPME     FORKLIFT         FKL     NPME9636     2009   TOYOT   8FGCU25‐22776   8FGCU25   PA      Altoona
 NPME     FORKLIFT         FKL     NPME9637     2009   TOYOT   8FGCU25‐22818   8FGCU25   PA      Altoona
 NPME     FORKLIFT         FKL     NPME9638     2009   TOYOT   8FGCU25‐22844   8FGCU25   CA      Bloomington
 NPME     FORKLIFT         FKL     NPME9639     2009   TOYOT   8FGCU25‐22892   8FGCU25   NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9640     2011   TOYOT   8FGCU25‐36149   8FGCU25   NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9641     2011   TOYOT   8FGCU25‐35394   8FGCU25   NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9642     2011   TOYOT   8FGCU25‐35710   8FGCU25   PA      Milton
 NPME     FORKLIFT         FKL     NPME9643     2011   TOYOT   8FGCU25‐35737   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9644     2011   TOYOT   8FGCU25‐35745   8FGCU25   CT      Plantsville
 NPME     FORKLIFT         FKL     NPME9645     2011   TOYOT   8FGCU25‐35722   8FGCU25   TN      Nashville
 NPME     FORKLIFT         FKL     NPME9646     2011   TOYOT   8FGCU25‐35774   8FGCU25   PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9647     2011   TOYOT   8FGCU25‐35821   8FGCU25   NY      East Syracuse
 NPME     FORKLIFT         FKL     NPME9648     2011   TOYOT   8FGCU25‐35823   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9649     2011   TOYOT   8FGCU25‐35848   8FGCU25   OK      Oklahoma City
 NPME     FORKLIFT         FKL     NPME9650     2011   TOYOT   8FGCU25‐35851   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9652     2011   TOYOT   8FGCU25‐35590   8FGCU25   PA      Neville Island
 NPME     FORKLIFT         FKL     NPME9653     2011   TOYOT   8FGCU25‐35619   8FGCU25   PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9654     2011   TOYOT   8FGCU25‐35603   8FGCU25   PA      Milton
 NPME     FORKLIFT         FKL     NPME9655     2011   TOYOT   8FGCU25‐35655   8FGCU25   NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9656     2011   TOYOT   8FGCU25‐35656   8FGCU25   CA      Tracy
 NPME     FORKLIFT         FKL     NPME9658     2011   TOYOT   8FGCU25‐35683   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9659     2011   TOYOT   8FGCU25‐35717   8FGCU25   VT      Williston
 NPME     FORKLIFT         FKL     NPME9660     2014   TOYOT   8FGCU25‐49338   8FGCU25   MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9662     2014   TOYOT   8FGCU25‐50081   8FGCU25   RI      Cranston
 NPME     FORKLIFT         FKL     NPME9663     2014   TOYOT   8FGCU25‐50083   8FGCU25   MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9664     2014   TOYOT   8FGCU25‐50113   8FGCU25   MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9665     2014   TOYOT   8FGCU25‐50116   8FGCU25   MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9666     2014   TOYOT   8FGCU25‐50117   8FGCU25   MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9667     2014   TOYOT   8FGCU25‐50140   8FGCU25   NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9668     2014   TOYOT   8FGCU25‐50165   8FGCU25   MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9669     2014   TOYOT   8FGCU25‐50147   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9670     2014   TOYOT   8FGCU25‐50168   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9671     2014   TOYOT   8FGCU25‐50176   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9672     2014   TOYOT   8FGCU25‐50188   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9673     2014   TOYOT   8FGCU25‐50227   8FGCU25   MA      North Billerica
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 206 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 NPME     FORKLIFT         FKL     NPME9674     2014   TOYOT   8FGCU25‐50214   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9675     2014   TOYOT   8FGCU25‐50222   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9676     2014   TOYOT   8FGCU25‐50246   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9677     2014   TOYOT   8FGCU25‐50253   8FGCU25   MA      West Springfield
 NPME     FORKLIFT         FKL     NPME9678     2014   TOYOT   8FGCU25‐50255   8FGCU25   NY      East Syracuse
 NPME     FORKLIFT         FKL     NPME9679     2014   TOYOT   8FGCU25‐50278   8FGCU25   NY      Rochester
 NPME     FORKLIFT         FKL     NPME9680     2015   TOYOT   8FGCU25‐63552   8FGCU25   MA      West Springfield
 NPME     FORKLIFT         FKL     NPME9681     2015   TOYOT   8FGCU25‐65095   8FGCU25   NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9682     2015   TOYOT   8FGCU25‐65201   8FGCU25   RI      Cranston
 NPME     FORKLIFT         FKL     NPME9684     2015   TOYOT   8FGCU25‐65137   8FGCU25   NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9685     2015   TOYOT   8FGCU25‐65138   8FGCU25   NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9686     2015   TOYOT   8FGCU25‐65143   8FGCU25   PA      Altoona
 NPME     FORKLIFT         FKL     NPME9687     2015   TOYOT   8FGCU25‐65192   8FGCU25   PA      Altoona
 NPME     FORKLIFT         FKL     NPME9688     2015   TOYOT   8FGCU25‐65194   8FGCU25   NY      Williamsville
 NPME     FORKLIFT         FKL     NPME9689     2015   TOYOT   8FGCU25‐65196   8FGCU25   NY      Williamsville
 NPME     FORKLIFT         FKL     NPME9690     2015   TOYOT   8FGCU25‐65221   8FGCU25   PA      McKees Rocks
 NPME     FORKLIFT         FKL     NPME9691     2015   TOYOT   8FGCU25‐65222   8FGCU25   NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9692     2015   TOYOT   8FGCU25‐65225   8FGCU25   NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9693     2015   TOYOT   8FGCU25‐65246   8FGCU25   CA      Tracy
 NPME     FORKLIFT         FKL     NPME9694     2015   TOYOT   8FGCU25‐65260   8FGCU25   RI      Cranston
 NPME     FORKLIFT         FKL     NPME9695     2015   TOYOT   8FGCU25‐65251   8FGCU25   RI      Cranston
 NPME     FORKLIFT         FKL     NPME9696     2015   TOYOT   8FGCU25‐65227   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9698     2015   TOYOT   8FGCU25‐65254   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9699     2015   TOYOT   8FGCU25‐65263   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9700     2016   TOYOT   8FGCU25‐73488   8FGCU25   NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9701     2016   TOYOT   8FGCU25‐73504   8FGCU25   NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9702     2016   TOYOT   8FGCU25‐73619   8FGCU25   NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9703     2016   TOYOT   8FGCU25‐73666   8FGCU25   MA      West Springfield
 NPME     FORKLIFT         FKL     NPME9704     2016   TOYOT   8FGCU25‐73668   8FGCU25   NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9705     2016   TOYOT   8FGCU25‐73671   8FGCU25   NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9706     2016   TOYOT   8FGCU25‐73713   8FGCU25   CA      Bloomington
 NPME     FORKLIFT         FKL     NPME9707     2016   TOYOT   8FGCU25‐73729   8FGCU25   NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9708     2016   TOYOT   8FGCU25‐74187   8FGCU25   NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9709     2016   TOYOT   8FGCU25‐74150   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9710     2016   TOYOT   8FGCU25‐74110   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9711     2016   TOYOT   8FGCU25‐74157   8FGCU25   NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9712     2016   TOYOT   8FGCU25‐74112   8FGCU25   NY      Williamsville
 NPME     FORKLIFT         FKL     NPME9713     2016   TOYOT   8FGCU25‐74113   8FGCU25   NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9714     2016   TOYOT   8FGCU25‐74121   8FGCU25   RI      Cranston
 NPME     FORKLIFT         FKL     NPME9715     2016   TOYOT   8FGCU25‐74124   8FGCU25   MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9716     2016   TOYOT   8FGCU25‐74158   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9717     2016   TOYOT   8FGCU25‐74127   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9718     2016   TOYOT   8FGCU25‐74243   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9719     2016   TOYOT   8FGCU25‐74247   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9720     2016   TOYOT   8FGCU25‐74015   8FGCU25   NY      Williamsville
 NPME     FORKLIFT         FKL     NPME9721     2016   TOYOT   8FGCU25‐74034   8FGCU25   PA      Reading
 NPME     FORKLIFT         FKL     NPME9722     2016   TOYOT   8FGCU25‐74061   8FGCU25   NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9723     2016   TOYOT   8FGCU25‐74072   8FGCU25   MA      West Springfield
 NPME     FORKLIFT         FKL     NPME9724     2016   TOYOT   8FGCU25‐74128   8FGCU25   MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9725     2017   TOYOT   8FGCU25‐81021   8FGCU25   RI      Cranston
 NPME     FORKLIFT         FKL     NPME9726     2017   TOYOT   8FGCU25‐81182   8FGCU25   NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9727     2017   TOYOT   8FGCU25‐81192   8FGCU25   NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9728     2017   TOYOT   8FGCU25‐81172   8FGCU25   MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9729     2017   TOYOT   8FGCU25‐81211   8FGCU25   NY      Williamsville
 NPME     FORKLIFT         FKL     NPME9730     2017   TOYOT   8FGCU25‐81217   8FGCU25   NY      Williamsville
 NPME     FORKLIFT         FKL     NPME9731     2017   TOYOT   8FGCU25‐81218   8FGCU25   NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9732     2017   TOYOT   8FGCU25‐81244   8FGCU25   PA      Neville Island
 NPME     FORKLIFT         FKL     NPME9733     2017   TOYOT   8FGCU25‐81254   8FGCU25   NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9734     2017   TOYOT   8FGCU25‐81256   8FGCU25   NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9735     2017   TOYOT   8FGCU25‐81275   8FGCU25   VT      Williston
 NPME     FORKLIFT         FKL     NPME9737     2017   TOYOT   8FGCU25‐81288   8FGCU25   NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9738     2017   TOYOT   8FGCU25‐81313   8FGCU25   NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9739     2017   TOYOT   8FGCU25‐81314   8FGCU25   NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9740     2017   TOYOT   8FGCU25‐81339   8FGCU25   RI      Cranston
 NPME     FORKLIFT         FKL     NPME9741     2017   TOYOT   8FGCU25‐81357   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9742     2017   TOYOT   8FGCU25‐81394   8FGCU25   RI      Cranston
 NPME     FORKLIFT         FKL     NPME9743     2017   TOYOT   8FGCU25‐81408   8FGCU25   NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9744     2017   TOYOT   8FGCU25‐81405   8FGCU25   NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9745     2017   TOYOT   8FGCU25‐81424   8FGCU25   MA      North Billerica
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 207 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL      State   City
 NPME     FORKLIFT         FKL     NPME9746     2017   TOYOT   8FGCU25‐81433   8FGCU25     NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9747     2017   TOYOT   8FGCU25‐81435   8FGCU25     NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9748     2017   TOYOT   8FGCU25‐81360   8FGCU25     MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9749     2017   TOYOT   8FGCU25‐81375   8FGCU25     MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9751     2006   TOYOT   7FGCU25‐00732   0           RI      Cranston
 NPME     FORKLIFT         FKL     NPME9752     2006   TOYOT   7FGCU25‐03117   0           NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9753     2006   TOYOT   7FGCU25‐03119   0           NY      Maspeth
 NPME     FORKLIFT         FKL     NPME9754     2006   TOYOT   7FGCU25‐03125   0           MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9755     2006   TOYOT   7FGCU25‐03116   0           MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9756     2006   TOYOT   7FGCU25‐03158   0           MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9757     2006   TOYOT   7FGCU25‐03163   0           PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9758     2006   TOYOT   7FGCU25‐03164   0           MD      Elkridge
 NPME     FORKLIFT         FKL     NPME9759     2007   TOYOT   7FGCU25‐13753   0           PA      McKees Rocks
 NPME     FORKLIFT         FKL     NPME9760     2006   TOYOT   7FGCU25‐13754   0           NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9761     2007   TOYOT   7FGCU25‐13990   0           NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9762     2007   TOYOT   7FGCU25‐13801   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9763     2011   TOYOT   8FGCU25‐34959   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9764     2011   TOYOT   8FGCU25‐34997   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9766     2006   TOYOT   7FGCU25‐00939   0           NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9767     2007   TOYOT   8FGCU25‐13158   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9768     2008   TOYOT   8FGCU25‐18724   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9770     2006   KMTSU   592675A         0           PA      McKees Rocks
 NPME     FORKLIFT         FKL     NPME9771     2006   TOYOT   587866A         0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9772     2008   TOYOT   8FGCU25‐22972   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9773     2005   TOYOT   7FGCU25‐90526               NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9774     2005   TOYOT   7FGCU25‐90528               NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9775     2007   TOYOT   8FGCU25‐13159   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9776     2008   TOYOT   8FGCU25‐18712   0           MA      North Billerica
 NPME     FORKLIFT         FKL     NPME9777     2008   KMTSU   220056A         FG25ST‐16   NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9778     2008   TOYOT   220059A         0           PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9780     2007   TOYOT   8FGCU25‐13301   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9781     2008   TOYOT   220339A         0           NY      Williamsville
 NPME     FORKLIFT         FKL     NPME9782     2005   TOYOT   7FGCU25‐93752               NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9783     2007   TOYOT   8FGCU25‐14219   0           NY      Williamsville
 NPME     FORKLIFT         FKL     NPME9784     2006   TOYOT   592672A         0           NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9785     2011   TOYOT   8FGCU25‐34848   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9786     2005   TOYOT   7FGCU25‐88351               NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9787     2011   TOYOT   8FGCU25‐35608   0           NY      Glenmont
 NPME     FORKLIFT         FKL     NPME9788     2008   TOYOT   8FGCU25‐20590   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9789     2008   TOYOT   8FGCU25‐20624   0           NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9790     2020   TOYOT   8FGCU25‐C4825   8FGCU25     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9791     2020   TOYOT   8FGCU25‐C5571   8FGCU25     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9792     2020   TOYOT   8FGCU25‐C5623   8FGCU25     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9793     2020   TOYOT   8FGCU25‐C5670   8FGCU25     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9794     2020   TOYOT   8FGCU25‐C5673   8FGCU25     NJ      Kearny
 NPME     FORKLIFT         FKL     NPME9795     2020   TOYOT   8FGCU25‐C5708   8FGCU25     PA      Dunmore
 NPME     FORKLIFT         FKL     NPME9796     2020   TOYOT   8FGCU25‐C5710   8FGCU25     NJ      Mercerville
 NPME     FORKLIFT         FKL     NPME9797     2020   TOYOT   8FGCU25‐C5733   8FGCU25     NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9798     2020   TOYOT   8FGCU25‐C5734   8FGCU25     NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9799     2020   TOYOT   8FGCU25‐C5768   8FGCU25     NJ      Cinnaminson
 NPME     FORKLIFT         FKL     NPME9800     2020   TOYOT   8FGCU25‐C5798   8FGCU25     NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9801     2020   TOYOT   8FGCU25‐C5925   8FGCU25     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9802     2021   MTSBS   AF82F49210      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9803     2021   MTSBS   AF82F49211      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9804     2021   MTSBS   AF82F49212      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9805     2021   MTSBS   AF82F49237      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9806     2021   MTSBS   AF82F49233      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9807     2021   MTSBS   AF82F49365      FGC25N4     PA      Dunmore
 NPME     FORKLIFT         FKL     NPME9808     2021   MTSBS   AF82F49518      FGC25N4     PA      Dunmore
 NPME     FORKLIFT         FKL     NPME9809     2021   MTSBS   AF82F49666      FGC25N4     PA      Dunmore
 NPME     FORKLIFT         FKL     NPME9810     2021   MTSBS   AF82F49559      FGC25N4     PA      Dunmore
 NPME     FORKLIFT         FKL     NPME9811     2021   MTSBS   AF82F50179      FGC25N4     PA      Dunmore
 NPME     FORKLIFT         FKL     NPME9812     2021   MTSBS   AF82F49874      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9813     2021   MTSBS   AF82F49868      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9814     2021   MTSBS   AF82F49870      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9815     2021   MTSBS   AF82F49804      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9816     2021   MTSBS   AF82F49642      FGC25N4     PA      Camp Hill
 NPME     FORKLIFT         FKL     NPME9817     2021   MTSBS   AF82F49739      FGC25N4     NY      Maybrook
 NPME     FORKLIFT         FKL     NPME9818     2021   MTSBS   AF82F49593      FGC25N4     NY      Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 208 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     FORKLIFT         FKL      NPME9819     2021   MTSBS   AF82F49511          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9820     2021   MTSBS   AF82F49864          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9821     2021   MTSBS   AF82F49677          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9822     2021   MTSBS   AF82F49517          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9823     2021   MTSBS   AF82F49865          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9824     2021   MTSBS   AF82F49512          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9825     2021   MTSBS   AF82F49671          FGC25N4   PA      Camp Hill
 NPME     FORKLIFT         FKL      NPME9826     2021   MTSBS   AF82F49869          FGC25N4   PA      Camp Hill
 NPME     FORKLIFT         FKL      NPME9827     2021   MTSBS   AF82F49866          FGC25N4   PA      Camp Hill
 NPME     FORKLIFT         FKL      NPME9828     2021   MTSBS   AF82F49758          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9829     2021   MTSBS   AF82F49861          FGC25N4   PA      Dunmore
 NPME     FORKLIFT         FKL      NPME9830     2021   MTSBS   AF82F49875          FGC25N4   PA      Dunmore
 NPME     FORKLIFT         FKL      NPME9831     2021   MTSBS   AF82F49848          FGC25N4   PA      Dunmore
 NPME     FORKLIFT         FKL      NPME9832     2021   MTSBS   AF82F49863          FGC25N4   PA      Dunmore
 NPME     FORKLIFT         FKL      NPME9833     2021   MTSBS   AF82F49847          FGC25N4   PA      Camp Hill
 NPME     FORKLIFT         FKL      NPME9834     2021   MTSBS   AF82F49673          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9835     2021   MTSBS   AF82F49680          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9836     2021   MTSBS   AF82F49852          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9837     2021   MTSBS   AF82F49906          FGC25N4   PA      Camp Hill
 NPME     FORKLIFT         FKL      NPME9838     2021   MTSBS   AF82F49806          FGC25N4   PA      Camp Hill
 NPME     FORKLIFT         FKL      NPME9839     2021   MTSBS   AF82F49589          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9840     2021   MTSBS   AF82F49676          FGC25N4   PA      Dunmore
 NPME     FORKLIFT         FKL      NPME9841     2021   MTSBS   AF82F49975          FGC25N4   PA      Dunmore
 NPME     FORKLIFT         FKL      NPME9842     2021   MTSBS   AF82F49956          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9843     2021   MTSBS   AF82F49900          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9844     2021   MTSBS   AF82F49735          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9845     2021   MTSBS   AF82F49851          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9846     2021   MTSBS   AF82F49966          FGC25N4   PA      Camp Hill
 NPME     FORKLIFT         FKL      NPME9847     2021   MTSBS   AF82F49858          FGC25N4   CT      Plantsville
 NPME     FORKLIFT         FKL      NPME9848     2021   MTSBS   AF82F49949          FGC25N4   CT      Plantsville
 NPME     FORKLIFT         FKL      NPME9849     2021   MTSBS   AF82F49964          FGC25N4   PA      Dunmore
 NPME     FORKLIFT         FKL      NPME9850     2021   MTSBS   AF82F49973          FGC25N4   PA      Dunmore
 NPME     FORKLIFT         FKL      NPME9852     2021   MTSBS   AF82F50190          FGC25N4   PA      Camp Hill
 NPME     FORKLIFT         FKL      NPME9853     2021   MTSBS   AF82F49905          FGC25N4   PA      Camp Hill
 NPME     FORKLIFT         FKL      NPME9854     2021   MTSBS   AF82F50163          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9855     2021   MTSBS   AF82F49965          FGC25N4   NY      Maybrook
 NPME     FORKLIFT         FKL      NPME9856     2021   MTSBS   AF82F50172          FGC25N4   MD      Elkridge
 NPME     ROAD TRAILER     RTL‐SA   NPME11049    2003   WABSH   1JJV281W33L860129             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐SA   NPME11073    2014   GRTDN   1GRAP6412EB710086             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME13333    2000   STRCK   1S12S8458YD468502             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME13340    2000   STRCK   1S12S8450YD468509             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME13344    2001   STRCK   1S12S84591D472757             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME13345    2001   STRCK   1S12S84501D472758             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME13346    2001   STRCK   1S12S84521D472759             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME13359    2001   STRCK   1S12S84551D472772             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME13362    2001   STRCK   1S12S84501D472775             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME13364    2001   STRCK   1S12S84541D472777             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME13366    2001   STRCK   1S12S84581D472779             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME13367    2001   STRCK   1S12S84541D472780             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME13376    2001   STRCK   1S12S84501D472789             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME13380    2001   STRCK   1S12S84521D472793             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME13382    2001   STRCK   1S12S84561D472795             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME13389    2001   STRCK   1S12S845X1D472802             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME13390    2001   STRCK   1S12S84511D472803             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME213185   2006   WABSH   1JJV452W66L995259             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME213395   2008   WABSH   1JJV452W98L132992             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME2917     1998   WABSH   1JJV452W1WL496594             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3000     2005   WABSH   1JJV452W45L924866             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3001     2005   WABSH   1JJV452W65L924867             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3002     2005   WABSH   1JJV452W85L924868             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3003     2005   WABSH   1JJV452WX5L924869             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3004     2005   WABSH   1JJV452W65L924870             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3005     2005   WABSH   1JJV452W85L924871             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3006     2005   WABSH   1JJV452WX5L924872             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3007     2005   WABSH   1JJV452W15L924873             NC      Raleigh
 NPME     ROAD TRAILER     RTL‐TA   NPME3010     2005   WABSH   1JJV452W75L924876             OH      Cincinnati
 NPME     ROAD TRAILER     RTL‐TA   NPME3011     2005   WABSH   1JJV452W95L924877             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3012     2005   WABSH   1JJV452W05L924878             NC      Charlotte
 NPME     ROAD TRAILER     RTL‐TA   NPME3013     2005   WABSH   1JJV452W25L924879             PA      Line Lexington
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 209 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRAILER     RTL‐TA   NPME3014     2005   WABSH   1JJV452W95L924880             PA      McKees Rocks
 NPME     ROAD TRAILER     RTL‐TA   NPME3016     2005   WABSH   1JJV452W25L924882             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3017     2005   WABSH   1JJV452W45L924883             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3018     2005   WABSH   1JJV452W65L924884             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3019     2005   WABSH   1JJV452W85L924885             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3020     2005   WABSH   1JJV452WX5L924886             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3021     2005   WABSH   1JJV452W15L924887             TX      Irving
 NPME     ROAD TRAILER     RTL‐TA   NPME3022     2005   WABSH   1JJV452W35L924888             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3023     2005   WABSH   1JJV452W55L924889             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME3024     2005   WABSH   1JJV452W15L924890             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3025     2005   WABSH   1JJV452W35L924891             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3027     2005   WABSH   1JJV452W75L924893             IL      Joliet
 NPME     ROAD TRAILER     RTL‐TA   NPME3028     2005   WABSH   1JJV452W95L924894             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3029     2005   WABSH   1JJV452W05L924895             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3030     2005   WABSH   1JJV452W25L924896             NC      Raleigh
 NPME     ROAD TRAILER     RTL‐TA   NPME3031     2005   WABSH   1JJV452W45L924897             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3032     2005   WABSH   1JJV452W65L924898             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME3033     2005   WABSH   1JJV452W85L924899             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3034     2005   WABSH   1JJV452W05L924900             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3035     2005   WABSH   1JJV452W25L924901             OH      Columbus
 NPME     ROAD TRAILER     RTL‐TA   NPME3036     2005   WABSH   1JJV452W65L924903             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3037     2005   WABSH   1JJV452W45L924902             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3038     2005   WABSH   1JJV452W85L924904             WI      Milwaukee
 NPME     ROAD TRAILER     RTL‐TA   NPME3040     2005   WABSH   1JJV452W15L924906             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3041     2005   WABSH   1JJV452W35L924907             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3042     2005   WABSH   1JJV452W55L924908             MI      Taylor
 NPME     ROAD TRAILER     RTL‐TA   NPME3043     2005   WABSH   1JJV452W75L924909             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3044     2005   WABSH   1JJV452W35L924910             TN      Knoxville
 NPME     ROAD TRAILER     RTL‐TA   NPME3045     2005   WABSH   1JJV452W55L924911             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3047     2005   WABSH   1JJV452W95L924913             OH      Richfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3048     2005   WABSH   1JJV452W05L924914             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3049     2005   WABSH   1JJV452W25L924915             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3050     2005   WABSH   1JJV452W45L924916             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3051     2005   WABSH   1JJV452W65L924917             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3052     2005   WABSH   1JJV452W85L924918             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3053     2005   WABSH   1JJV452WX5L924919             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3054     2005   WABSH   1JJV452W65L924920             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3055     2005   WABSH   1JJV452W85L924921             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3056     2005   WABSH   1JJV452WX5L924922             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3057     2005   WABSH   1JJV452W15L924923             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3058     2005   WABSH   1JJV452W35L924924             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3059     2005   WABSH   1JJV452W55L924925             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3060     2005   WABSH   1JJV452W75L924926             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3061     2005   WABSH   1JJV452W95L924927             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3062     2005   WABSH   1JJV452W05L924928             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3063     2005   WABSH   1JJV452W25L924929             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3064     2005   WABSH   1JJV452W95L924930             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3065     2005   WABSH   1JJV452W05L924931             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3066     2005   WABSH   1JJV452W25L924932             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3067     2005   WABSH   1JJV452W45L924933             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3068     2005   WABSH   1JJV452W65L924934             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3069     2005   WABSH   1JJV452W85L924935             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3070     2005   WABSH   1JJV452WX5L924936             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3071     2005   WABSH   1JJV452W15L924937             PA      McKees Rocks
 NPME     ROAD TRAILER     RTL‐TA   NPME3072     2006   WABSH   1JJV452W46L995146             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3073     2006   WABSH   1JJV452W66L995147             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3074     2006   WABSH   1JJV452W86L995148             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3075     2006   WABSH   1JJV452WX6L995149             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME3076     2006   WABSH   1JJV452W66L995150             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3077     2006   WABSH   1JJV452W86L995151             SC      Piedmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3078     2006   WABSH   1JJV452WX6L995152             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3079     2006   WABSH   1JJV452W16L995153             PA      McKees Rocks
 NPME     ROAD TRAILER     RTL‐TA   NPME3081     2006   WABSH   1JJV452W56L995155             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3082     2006   WABSH   1JJV452W76L995156             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3083     2006   WABSH   1JJV452W96L995157             NY      Plattsburgh
 NPME     ROAD TRAILER     RTL‐TA   NPME3084     2006   WABSH   1JJV452W06L995158             CT      Cheshire
 NPME     ROAD TRAILER     RTL‐TA   NPME3085     2006   WABSH   1JJV452W26L995159             OH      Bowling Green
 NPME     ROAD TRAILER     RTL‐TA   NPME3086     2006   WABSH   1JJV452W96L995160             MI      Jackson
 NPME     ROAD TRAILER     RTL‐TA   NPME3087     2006   WABSH   1JJV452W06L995161             OH      Richfield
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 210 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 NPME     ROAD TRAILER     RTL‐TA   NPME3088     2006   WABSH   1JJV452W26L995162             OH        Akron
 NPME     ROAD TRAILER     RTL‐TA   NPME3089     2006   WABSH   1JJV452W46L995163             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3090     2006   WABSH   1JJV452W66L995164             NY        Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME3091     2006   WABSH   1JJV452W86L995165             PA        McKees Rocks
 NPME     ROAD TRAILER     RTL‐TA   NPME3092     2006   WABSH   1JJV452WX6L995166             OH        Copley
 NPME     ROAD TRAILER     RTL‐TA   NPME3093     2006   WABSH   1JJV452W16L995167             MD        Hagerstown
 NPME     ROAD TRAILER     RTL‐TA   NPME3094     2006   WABSH   1JJV452W36L995168             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3095     2006   WABSH   1JJV452W56L995169             VT        Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME3096     2006   WABSH   1JJV452W16L995170             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3097     2006   WABSH   1JJV452W36L995171             NY        Tonawanda
 NPME     ROAD TRAILER     RTL‐TA   NPME3098     2006   WABSH   1JJV452W56L995172             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3099     2006   WABSH   1JJV452W76L995173             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3100     2006   WABSH   1JJV452W96L995174             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3101     2006   WABSH   1JJV452W06L995175             MD        Baltimore
 NPME     ROAD TRAILER     RTL‐TA   NPME3102     2006   WABSH   1JJV452W26L995176             OH        Richfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3103     2006   WABSH   1JJV452W46L995177             Ontario   Mississauga
 NPME     ROAD TRAILER     RTL‐TA   NPME3104     2006   WABSH   1JJV452W66L995178             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3105     2006   WABSH   1JJV452W86L995179             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3106     2006   WABSH   1JJV452W46L995180             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3107     2006   WABSH   1JJV452W66L995181             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3108     2006   WABSH   1JJV452W86L995182             IL        Chicago Heights
 NPME     ROAD TRAILER     RTL‐TA   NPME3109     2006   WABSH   1JJV452WX6L995183             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3110     2006   WABSH   1JJV452W16L995184             PQ        Dorval
 NPME     ROAD TRAILER     RTL‐TA   NPME3111     2006   WABSH   1JJV452W36L995185             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3112     2006   WABSH   1JJV452W56L995186             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3113     2006   WABSH   1JJV452W76L995187             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3114     2006   WABSH   1JJV452W96L995188             SC        Piedmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3115     2006   WABSH   1JJV452W06L995189             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3116     2006   WABSH   1JJV452W76L995190             MD        Hagerstown
 NPME     ROAD TRAILER     RTL‐TA   NPME3117     2006   WABSH   1JJV452W96L995191             OH        Copley
 NPME     ROAD TRAILER     RTL‐TA   NPME3118     2006   WABSH   1JJV452W06L995192             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3119     2006   WABSH   1JJV452W26L995193             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3120     2006   WABSH   1JJV452W46L995194             OH        Columbus
 NPME     ROAD TRAILER     RTL‐TA   NPME3121     2006   WABSH   1JJV452W66L995195             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3122     2006   WABSH   1JJV452W86L995196             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3123     2006   WABSH   1JJV452WX6L995197             NC        Charlotte
 NPME     ROAD TRAILER     RTL‐TA   NPME3125     2006   WABSH   1JJV452W36L995199             NY        Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME3126     2006   WABSH   1JJV452W66L995200             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3127     2006   WABSH   1JJV452W86L995201             SC        Piedmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3128     2006   WABSH   1JJV452WX6L995202             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3130     2006   WABSH   1JJV452W36L995204             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3131     2006   WABSH   1JJV452W56L995205             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3132     2006   WABSH   1JJV452W76L995206             GA        Ellenwood
 NPME     ROAD TRAILER     RTL‐TA   NPME3133     2006   WABSH   1JJV452W96L995207             NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME3134     2006   WABSH   1JJV452W06L995208             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3136     2006   WABSH   1JJV452W96L995210             TN        Nashville
 NPME     ROAD TRAILER     RTL‐TA   NPME3137     2006   WABSH   1JJV452W06L995211             OH        Columbus
 NPME     ROAD TRAILER     RTL‐TA   NPME3138     2006   WABSH   1JJV452W26L995212             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3139     2006   WABSH   1JJV452W46L995213             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3140     2006   WABSH   1JJV452W66L995214             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3142     2006   WABSH   1JJV452WX6L995216             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3143     2006   WABSH   1JJV452W16L995217             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3144     2006   WABSH   1JJV452W36L995218             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME3145     2006   WABSH   1JJV452W56L995219             NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME3146     2006   WABSH   1JJV452W16L995220             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3147     2006   WABSH   1JJV452W36L995221             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3148     2006   WABSH   1JJV452W56L995222             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3149     2006   WABSH   1JJV452W76L995223             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3150     2006   WABSH   1JJV452W96L995224             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3151     2006   WABSH   1JJV452W06L995225             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3152     2006   WABSH   1JJV452W26L995226             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3153     2006   WABSH   1JJV452W46L995227             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3154     2006   WABSH   1JJV452W66L995228             LA        Shreveport
 NPME     ROAD TRAILER     RTL‐TA   NPME3155     2006   WABSH   1JJV452W86L995229             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3157     2006   WABSH   1JJV452W66L995231             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3158     2006   WABSH   1JJV452W86L995232             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3159     2006   WABSH   1JJV452WX6L995233             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3161     2006   WABSH   1JJV452W36L995235             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3162     2006   WABSH   1JJV452W56L995236             NY        Maybrook
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 211 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRAILER     RTL‐TA   NPME3163     2006   WABSH   1JJV452W76L995237             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3164     2006   WABSH   1JJV452W96L995238             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3165     2006   WABSH   1JJV452W06L995239             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3166     2006   WABSH   1JJV452W76L995240             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3167     2006   WABSH   1JJV452W96L995241             TN      Goodlettsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3168     2006   WABSH   1JJV452W06L995242             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME3169     2006   WABSH   1JJV452W26L995243             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3170     2006   WABSH   1JJV452W46L995244             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3171     2006   WABSH   1JJV452W66L995245             OH      Richfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3172     2006   WABSH   1JJV452W86L995246             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3173     2006   WABSH   1JJV452WX6L995247             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3174     2006   WABSH   1JJV452W16L995248             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3175     2006   WABSH   1JJV452W36L995249             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3176     2006   WABSH   1JJV452WX6L995250             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3177     2006   WABSH   1JJV452W16L995251             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3178     2006   WABSH   1JJV452W36L995252             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3179     2006   WABSH   1JJV452W56L995253             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3180     2006   WABSH   1JJV452W76L995254             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3181     2006   WABSH   1JJV452W96L995255             PA      Bethlehem
 NPME     ROAD TRAILER     RTL‐TA   NPME3182     2006   WABSH   1JJV452W06L995256             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3183     2006   WABSH   1JJV452W26L995257             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3184     2006   WABSH   1JJV452W46L995258             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3186     2006   WABSH   1JJV452W26L995260             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3187     2006   WABSH   1JJV452W46L995261             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3188     2006   WABSH   1JJV452W66L995262             PA      Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME3189     2006   WABSH   1JJV452W86L995263             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3190     2006   WABSH   1JJV452WX6L995264             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3191     2006   WABSH   1JJV452W16L995265             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3192     2006   WABSH   1JJV452W36L995266             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME3193     2006   WABSH   1JJV452W56L995267             NY      East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME3194     2006   WABSH   1JJV452W76L995268             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3195     2006   WABSH   1JJV452W96L995269             OH      Copley
 NPME     ROAD TRAILER     RTL‐TA   NPME3197     2006   WABSH   1JJV452W76L995271             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3198     2006   WABSH   1JJV452W96L995272             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3199     2006   WABSH   1JJV452W06L995273             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3200     2006   WABSH   1JJV452W26L995274             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3201     2006   WABSH   1JJV452W46L995275             NY      East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME3202     2006   WABSH   1JJV452W66L995276             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3203     2006   WABSH   1JJV452W86L995277             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3204     2006   WABSH   1JJV452WX6L995278             MA      North Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3205     2006   WABSH   1JJV452W16L995279             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3206     2006   WABSH   1JJV452W86L995280             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3207     2006   WABSH   1JJV452WX6L995281             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3208     2006   WABSH   1JJV452W16L995282             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3209     2006   WABSH   1JJV452W36L995283             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3210     2006   WABSH   1JJV452W56L995284             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3211     2006   WABSH   1JJV452W76L995285             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3212     2006   WABSH   1JJV452W96L995286             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3213     2006   WABSH   1JJV452W06L995287             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3214     2006   WABSH   1JJV452W26L995288             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3215     2006   WABSH   1JJV452W46L995289             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3216     2006   WABSH   1JJV452W06L995290             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3217     2006   WABSH   1JJV452W26L995291             AL      Decatur
 NPME     ROAD TRAILER     RTL‐TA   NPME3218     2006   WABSH   1JJV452W46L995292             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3219     2006   WABSH   1JJV452W66L995293             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3220     2006   WABSH   1JJV452W86L995294             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3221     2006   WABSH   1JJV452WX6L995295             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3222     2006   WABSH   1JJV452W16L995296             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3223     2006   WABSH   1JJV452W36L995297             FL      Miami
 NPME     ROAD TRAILER     RTL‐TA   NPME3224     2006   WABSH   1JJV452W56L995298             MO      Strafford
 NPME     ROAD TRAILER     RTL‐TA   NPME3225     2006   WABSH   1JJV452W76L995299             NY      Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME3226     2006   WABSH   1JJV452WX6L995300             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3227     2007   WABSH   1JJV452W97L048072             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3228     2007   WABSH   1JJV452W07L048073             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3229     2007   WABSH   1JJV452W27L048074             CT      Cheshire
 NPME     ROAD TRAILER     RTL‐TA   NPME3230     2007   WABSH   1JJV452W47L048075             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3231     2007   WABSH   1JJV452W67L048076             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3232     2007   WABSH   1JJV452W87L048077             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3233     2007   WABSH   1JJV452WX7L048078             NJ      Mercerville
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 212 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRAILER     RTL‐TA   NPME3234     2007   WABSH   1JJV452W17L048079             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3235     2007   WABSH   1JJV452W87L048080             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3236     2007   WABSH   1JJV452WX7L048081             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3237     2007   WABSH   1JJV452W17L048082             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3238     2007   WABSH   1JJV452W37L048083             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3239     2007   WABSH   1JJV452W57L048084             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3240     2007   WABSH   1JJV452W77L048085             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME3241     2007   WABSH   1JJV452W97L048086             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3242     2007   WABSH   1JJV452W07L048087             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3243     2007   WABSH   1JJV452W27L048088             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3244     2007   WABSH   1JJV452W47L048089             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3245     2007   WABSH   1JJV452W07L048090             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3246     2007   WABSH   1JJV452W27L048091             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3247     2007   WABSH   1JJV452W47L048092             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3248     2007   WABSH   1JJV452W67L048093             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3249     2007   WABSH   1JJV452W87L048094             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3251     2007   WABSH   1JJV452W17L048096             IL      Rockford
 NPME     ROAD TRAILER     RTL‐TA   NPME3252     2007   WABSH   1JJV452W37L048097             DE      New Castle
 NPME     ROAD TRAILER     RTL‐TA   NPME3253     2007   WABSH   1JJV452W57L048098             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME3254     2007   WABSH   1JJV452W77L048099             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3255     2007   WABSH   1JJV452WX7L048100             TN      Goodlettsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3256     2007   WABSH   1JJV452W17L048101             FL      Jacksonville
 NPME     ROAD TRAILER     RTL‐TA   NPME3257     2007   WABSH   1JJV452W37L048102             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3258     2007   WABSH   1JJV452W57L048103             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3259     2007   WABSH   1JJV452W77L048104             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3260     2007   WABSH   1JJV452W97L048105             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3261     2007   WABSH   1JJV452W07L048106             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3262     2007   WABSH   1JJV452W27L048107             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3263     2007   WABSH   1JJV452W47L048108             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3264     2007   WABSH   1JJV452W67L048109             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3265     2007   WABSH   1JJV452W27L048110             MD      Hagerstown
 NPME     ROAD TRAILER     RTL‐TA   NPME3266     2007   WABSH   1JJV452W47L048111             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3267     2007   WABSH   1JJV452W67L048112             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME3269     2007   WABSH   1JJV452WX7L048114             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3270     2007   WABSH   1JJV452W17L048115             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3271     2007   WABSH   1JJV452W37L048116             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3272     2007   WABSH   1JJV452W57L048117             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3273     2007   WABSH   1JJV452W77L048118             NC      Charlotte
 NPME     ROAD TRAILER     RTL‐TA   NPME3274     2007   WABSH   1JJV452W97L048119             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3275     2007   WABSH   1JJV452W57L048120             PA      McKees Rocks
 NPME     ROAD TRAILER     RTL‐TA   NPME3276     2007   WABSH   1JJV452W77L048121             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3277     2007   WABSH   1JJV452W97L048122             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME3278     2007   WABSH   1JJV452W07L048123             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3279     2007   WABSH   1JJV452W27L048124             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3280     2007   WABSH   1JJV452W47L048125             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3281     2007   WABSH   1JJV452W67L048126             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3283     2007   WABSH   1JJV452WX7L048128             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3284     2007   WABSH   1JJV452W17L048129             VA      Fishersville
 NPME     ROAD TRAILER     RTL‐TA   NPME3285     2007   WABSH   1JJV452W87L048130             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3286     2007   WABSH   1JJV452WX7L048131             IN      Indianapolis
 NPME     ROAD TRAILER     RTL‐TA   NPME3287     2007   WABSH   1JJV452W17L048132             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3288     2007   WABSH   1JJV452W37L048133             VA      Richmond
 NPME     ROAD TRAILER     RTL‐TA   NPME3289     2007   WABSH   1JJV452W57L048134             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3291     2007   WABSH   1JJV452W97L048136             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3292     2007   WABSH   1JJV452W07L048137             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3293     2007   WABSH   1JJV452W27L048138             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3294     2007   WABSH   1JJV452W47L048139             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3295     2007   WABSH   1JJV452W07L048140             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME3296     2007   WABSH   1JJV452W27L048141             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3298     2007   WABSH   1JJV452WX7L085051             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME3299     2007   WABSH   1JJV452W17L085052             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3301     2007   WABSH   1JJV452W57L085054             OH      Cincinnati
 NPME     ROAD TRAILER     RTL‐TA   NPME3302     2007   WABSH   1JJV452W77L085055             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3303     2007   WABSH   1JJV452W97L085056             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME3304     2007   WABSH   1JJV452W07L085057             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3307     2007   WABSH   1JJV452W07L085060             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3308     2007   WABSH   1JJV452W27L085061             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3309     2007   WABSH   1JJV452W47L085062             PA      McKees Rocks
 NPME     ROAD TRAILER     RTL‐TA   NPME3310     2007   WABSH   1JJV452W67L085063             NY      Williamsville
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 213 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRAILER     RTL‐TA   NPME3311     2007   WABSH   1JJV452W87L085064             IL      Edwardsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3312     2007   WABSH   1JJV452WX7L085065             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3313     2007   WABSH   1JJV452W17L085066             OH      Richfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3314     2007   WABSH   1JJV452W37L085067             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3315     2007   WABSH   1JJV452W57L085068             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3316     2007   WABSH   1JJV452W77L085069             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME3317     2007   WABSH   1JJV452W37L085070             SC      Piedmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3318     2007   WABSH   1JJV452W57L085071             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3319     2007   WABSH   1JJV452W77L085072             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3320     2007   WABSH   1JJV452W97L085073             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3321     2007   WABSH   1JJV452W07L085074             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3322     2007   WABSH   1JJV452W27L085075             NY      Plattsburgh
 NPME     ROAD TRAILER     RTL‐TA   NPME3323     2007   WABSH   1JJV452W47L085076             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3324     2007   WABSH   1JJV452W67L085077             PA      Bethlehem
 NPME     ROAD TRAILER     RTL‐TA   NPME3325     2007   WABSH   1JJV452W87L085078             OH      Copley
 NPME     ROAD TRAILER     RTL‐TA   NPME3326     2007   WABSH   1JJV452WX7L085079             VA      Richmond
 NPME     ROAD TRAILER     RTL‐TA   NPME3327     2008   WABSH   1JJV452W38L132924             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3328     2008   WABSH   1JJV452W58L132925             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3329     2008   WABSH   1JJV452W78L132926             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3330     2008   WABSH   1JJV452W98L132927             DE      New Castle
 NPME     ROAD TRAILER     RTL‐TA   NPME3331     2008   WABSH   1JJV452W08L132928             PA      Bethlehem
 NPME     ROAD TRAILER     RTL‐TA   NPME3332     2008   WABSH   1JJV452W28L132929             PA      Bensalem
 NPME     ROAD TRAILER     RTL‐TA   NPME3333     2008   WABSH   1JJV452W98L132930             TN      Jackson
 NPME     ROAD TRAILER     RTL‐TA   NPME3334     2008   WABSH   1JJV452W08L132931             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3335     2008   WABSH   1JJV452W28L132932             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3336     2008   WABSH   1JJV452W48L132933             PA      McKees Rocks
 NPME     ROAD TRAILER     RTL‐TA   NPME3337     2008   WABSH   1JJV452W68L132934             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3338     2008   WABSH   1JJV452W88L132935             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3339     2008   WABSH   1JJV452WX8L132936             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME3340     2008   WABSH   1JJV452W18L132937             OH      Richfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3341     2008   WABSH   1JJV452W38L132938             IL      Wheeling
 NPME     ROAD TRAILER     RTL‐TA   NPME3342     2008   WABSH   1JJV452W58L132939             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3343     2008   WABSH   1JJV452W18L132940             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3344     2008   WABSH   1JJV452W38L132941             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3345     2008   WABSH   1JJV452W58L132942             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3346     2008   WABSH   1JJV452W78L132943             PA      Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3347     2008   WABSH   1JJV452W98L132944             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3348     2008   WABSH   1JJV452W08L132945             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3349     2008   WABSH   1JJV452W28L132946             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3350     2008   WABSH   1JJV452W48L132947             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3351     2008   WABSH   1JJV452W68L132948             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3352     2008   WABSH   1JJV452W88L132949             NJ      Carlstadt
 NPME     ROAD TRAILER     RTL‐TA   NPME3353     2008   WABSH   1JJV452W48L132950             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3354     2008   WABSH   1JJV452W68L132951             OH      Dayton
 NPME     ROAD TRAILER     RTL‐TA   NPME3356     2008   WABSH   1JJV452WX8L132953             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3357     2008   WABSH   1JJV452W18L132954             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3358     2008   WABSH   1JJV452W38L132955             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3359     2008   WABSH   1JJV452W58L132956             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3360     2008   WABSH   1JJV452W78L132957             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3361     2008   WABSH   1JJV452W98L132958             OH      Akron
 NPME     ROAD TRAILER     RTL‐TA   NPME3362     2008   WABSH   1JJV452W08L132959             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3363     2008   WABSH   1JJV452W78L132960             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3364     2008   WABSH   1JJV452W98L132961             DE      New Castle
 NPME     ROAD TRAILER     RTL‐TA   NPME3365     2008   WABSH   1JJV452W08L132962             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3366     2008   WABSH   1JJV452W28L132963             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3367     2008   WABSH   1JJV452W48L132964             VT      Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME3368     2008   WABSH   1JJV452W68L132965             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME3369     2008   WABSH   1JJV452W88L132966             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3370     2008   WABSH   1JJV452WX8L132967             KY      Lexington
 NPME     ROAD TRAILER     RTL‐TA   NPME3371     2008   WABSH   1JJV452W18L132968             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3372     2008   WABSH   1JJV452W38L132969             CT      Cheshire
 NPME     ROAD TRAILER     RTL‐TA   NPME3373     2008   WABSH   1JJV452WX8L132970             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3374     2008   WABSH   1JJV452W18L132971             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3375     2008   WABSH   1JJV452W38L132972             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3376     2008   WABSH   1JJV452W58L132973             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3377     2008   WABSH   1JJV452W78L132974             NY      Tonawanda
 NPME     ROAD TRAILER     RTL‐TA   NPME3378     2008   WABSH   1JJV452W98L132975             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3379     2008   WABSH   1JJV452W08L132976             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3380     2008   WABSH   1JJV452W28L132977             GA      Ellenwood
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 214 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRAILER     RTL‐TA   NPME3381     2008   WABSH   1JJV452W48L132978             CT      Cheshire
 NPME     ROAD TRAILER     RTL‐TA   NPME3382     2008   WABSH   1JJV452W68L132979             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3383     2008   WABSH   1JJV452W28L132980             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3384     2008   WABSH   1JJV452W48L132981             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3385     2008   WABSH   1JJV452W68L132982             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3386     2008   WABSH   1JJV452W88L132983             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3387     2008   WABSH   1JJV452WX8L132984             OH      Akron
 NPME     ROAD TRAILER     RTL‐TA   NPME3388     2008   WABSH   1JJV452W18L132985             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3389     2008   WABSH   1JJV452W38L132986             PA      Bethlehem
 NPME     ROAD TRAILER     RTL‐TA   NPME3390     2008   WABSH   1JJV452W58L132987             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3391     2008   WABSH   1JJV452W78L132988             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3392     2008   WABSH   1JJV452W98L132989             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3393     2008   WABSH   1JJV452W58L132990             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3394     2008   WABSH   1JJV452W78L132991             GA      Ellenwood
 NPME     ROAD TRAILER     RTL‐TA   NPME3396     2008   WABSH   1JJV452W08L132993             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3397     2008   WABSH   1JJV452W28L132994             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3398     2008   WABSH   1JJV452W48L132995             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3399     2008   WABSH   1JJV452W68L132996             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3400     2008   WABSH   1JJV452W88L132997             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3401     2008   WABSH   1JJV452WX8L132998             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3402     2008   WABSH   1JJV452W18L132999             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3403     2008   WABSH   1JJV452W28L133000             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3404     2008   WABSH   1JJV452W48L133001             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3405     2008   WABSH   1JJV452W38L178575             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3406     2008   WABSH   1JJV452W58L178576             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3407     2008   WABSH   1JJV452W78L178577             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3408     2008   WABSH   1JJV452W98L178578             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3409     2008   WABSH   1JJV452W08L178579             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3410     2008   WABSH   1JJV452W78L178580             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3411     2008   WABSH   1JJV452W98L178581             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3412     2008   WABSH   1JJV452W08L178582             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3413     2008   WABSH   1JJV452W28L178583             PA      Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME3414     2008   WABSH   1JJV452W48L178584             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3416     2008   WABSH   1JJV452W88L178586             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3417     2008   WABSH   1JJV452WX8L178587             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3418     2008   WABSH   1JJV452W18L178588             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3419     2008   WABSH   1JJV452W38L178589             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3420     2008   WABSH   1JJV452WX8L178590             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3421     2008   WABSH   1JJV452W18L178591             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3422     2008   WABSH   1JJV452W38L178592             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3423     2008   WABSH   1JJV452W58L178593             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3424     2008   WABSH   1JJV452W78L178594             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3425     2008   WABSH   1JJV452W98L178595             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3426     2008   WABSH   1JJV452W08L178596             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3427     2008   WABSH   1JJV452W28L178597             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3428     2008   WABSH   1JJV452W48L178598             PA      Bensalem
 NPME     ROAD TRAILER     RTL‐TA   NPME3429     2008   WABSH   1JJV452W68L178599             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3431     2008   WABSH   1JJV452W08L178601             WI      Mosinee
 NPME     ROAD TRAILER     RTL‐TA   NPME3432     2008   WABSH   1JJV452W28L178602             TN      Nashville
 NPME     ROAD TRAILER     RTL‐TA   NPME3433     2008   WABSH   1JJV452W48L178603             PA      Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3434     2008   WABSH   1JJV452W68L178604             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3435     2008   WABSH   1JJV452W88L178605             MI      Romulus
 NPME     ROAD TRAILER     RTL‐TA   NPME3436     2008   WABSH   1JJV452WX8L178606             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3437     2008   WABSH   1JJV452W18L178607             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3438     2008   WABSH   1JJV452W38L178608             PA      Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME3439     2008   WABSH   1JJV452W58L178609             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3440     2008   WABSH   1JJV452W18L178610             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3441     2008   WABSH   1JJV452W38L178611             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME3442     2008   WABSH   1JJV452W58L178612             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3443     2008   WABSH   1JJV452W78L178613             IN      Indianapolis
 NPME     ROAD TRAILER     RTL‐TA   NPME3444     2008   WABSH   1JJV452W98L178614             MD      Baltimore
 NPME     ROAD TRAILER     RTL‐TA   NPME3445     2008   WABSH   1JJV452W08L178615             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3446     2008   WABSH   1JJV452W28L178616             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME3447     2008   WABSH   1JJV452W48L178617             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3448     2008   WABSH   1JJV452W68L178618             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME3449     2008   WABSH   1JJV452W88L178619             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3450     2008   WABSH   1JJV452WX8L178620             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME3451     2008   WABSH   1JJV452W68L178621             NY      East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME3452     2008   WABSH   1JJV452W88L178622             NJ      Mercerville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 215 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 NPME     ROAD TRAILER     RTL‐TA   NPME3453     2008   WABSH   1JJV452WX8L178623             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3454     2008   WABSH   1JJV452W18L178624             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3455     2008   WABSH   1JJV452W38L178625             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3456     2008   WABSH   1JJV452W58L178626             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3457     2008   WABSH   1JJV452W78L178627             PA        McKees Rocks
 NPME     ROAD TRAILER     RTL‐TA   NPME3458     2015   GRTDN   1GRAP9005GB702517             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3459     2015   GRTDN   1GRAP9007GB702518             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3460     2015   GRTDN   1GRAP9009GB702519             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3461     2015   GRTDN   1GRAP9005GB702520             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3462     2015   GRTDN   1GRAP9007GB702521             PA        Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME3463     2015   GRTDN   1GRAP9009GB702522             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3464     2015   GRTDN   1GRAP9000GB702523             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3465     2015   GRTDN   1GRAP9002GB702524             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3467     2015   GRTDN   1GRAP9006GB702526             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3468     2015   GRTDN   1GRAP9008GB702527             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3469     2015   GRTDN   1GRAP900XGB702528             PA        Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME3470     2015   GRTDN   1GRAP9001GB702529             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3471     2015   GRTDN   1GRAP9008GB702530             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3473     2015   GRTDN   1GRAP9001GB702532             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME3474     2015   GRTDN   1GRAP9003GB702533             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3476     2015   GRTDN   1GRAP9007GB702535             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3477     2015   GRTDN   1GRAP9009GB702536             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3478     2015   GRTDN   1GRAP9000GB702537             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3479     2015   GRTDN   1GRAP9002GB702538             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3480     2015   GRTDN   1GRAP9004GB702539             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME3481     2015   GRTDN   1GRAP9000GB702540             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3482     2015   GRTDN   1GRAP9002GB702541             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3483     2015   GRTDN   1GRAP9004GB702542             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3485     2015   GRTDN   1GRAP9008GB702544             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3486     2015   GRTDN   1GRAP900XGB702545             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3488     2015   GRTDN   1GRAP9003GB702547             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3489     2015   GRTDN   1GRAP9005GB702548             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3490     2015   GRTDN   1GRAP9007GB702549             PA        Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME3493     2015   GRTDN   1GRAP9007GB702552             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3494     2015   GRTDN   1GRAP9009GB702553             PA        Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME3495     2015   GRTDN   1GRAP9000GB702554             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3496     2015   GRTDN   1GRAP9002GB702555             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3497     2015   GRTDN   1GRAP9004GB702556             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3498     2015   GRTDN   1GRAP9006GB702557             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3499     2015   GRTDN   1GRAP9008GB702558             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3504     2015   GRTDN   1GRAP9001GB702563             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3506     2015   GRTDN   1GRAP9005GB702565             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3508     2015   GRTDN   1GRAP9009GB702567             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME3510     2015   GRTDN   1GRAP9002GB702569             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3511     2015   GRTDN   1GRAP9009GB702570             GA        Marietta
 NPME     ROAD TRAILER     RTL‐TA   NPME3512     2015   GRTDN   1GRAP9000GB702571             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3514     2015   GRTDN   1GRAP9004GB702573             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME3515     2015   GRTDN   1GRAP9006GB702574             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3516     2015   GRTDN   1GRAP9008GB702575             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME3517     2015   GRTDN   1GRAP900XGB702576             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME3518     2015   GRTDN   1GRAP9001GB702577             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3519     2015   GRTDN   1GRAP9003GB702578             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME3521     2015   GRTDN   1GRAP9001GB702580             CT        Cheshire
 NPME     ROAD TRAILER     RTL‐TA   NPME3525     2015   GRTDN   1GRAP9009GB702584             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME3526     2015   GRTDN   1GRAP9000GB702585             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3527     2015   GRTDN   1GRAP9002GB702586             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME3528     2015   GRTDN   1GRAP9004GB702587             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME3529     2015   GRTDN   1GRAP9006GB702588             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME3530     2015   GRTDN   1GRAP9008GB702589             PA        Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME3531     2015   GRTDN   1GRAP9004GB702590             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME3532     2015   GRTDN   1GRAP9006GB702591             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME48006    2000   DORSY   1DTV11Z24YA280273             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48007    2000   DORSY   1DTV11Z26YA280274             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48009    2003   WABSH   1JJV482W13L834752             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME48011    2003   WABSH   1JJV482W53L849612             Ontario   Whitby
 NPME     ROAD TRAILER     RTL‐TA   NPME48012    2004   GRTDN   1GRAA96214K262253             CT        Cheshire
 NPME     ROAD TRAILER     RTL‐TA   NPME480121   2003   WABSH   1JJV482W33L849396             Ontario   Niagara on the Lake
 NPME     ROAD TRAILER     RTL‐TA   NPME480122   2003   WABSH   1JJV482W53L849559             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480123   2003   WABSH   1JJV482WX3L834751             PA        Camp Hill
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 216 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRAILER     RTL‐TA   NPME480124   2000   TRLMB   1PT01JAH0Y9016827             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480125   2004   WABSH   1JJV482W65L905320             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480127   2006   WABSH   1JJV482W26L989010             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480128   2003   WABSH   1JJV482W03L849663             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME480131   2003   WABSH   1JJV482W13L849333             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480132   2001   GRTDN   1GRAA96221B042793             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480133   2003   WABSH   1JJV482W93L849774             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME480134   2003   WABSH   1JJV482WX3L849704             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480135   2006   WABSH   1JJV482W66L975711             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480137   2003   WABSH   1JJV482W63L849330             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480138   2003   WABSH   1JJV482W23L834775             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME480139   2001   GRTDN   1GRAA96251K237769             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME48014    2003   WABSH   1JJV482W83L849362             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480142   2014   GRTDN   1GRAP9626ED452747             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME480143   2014   GRTDN   1GRAP9628ED452748             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME480144   2014   GRTDN   1GRAP962XED452749             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480145   2014   GRTDN   1GRAP9626ED452750             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480146   2014   GRTDN   1GRAP9628ED452751             NJ      Hamilton
 NPME     ROAD TRAILER     RTL‐TA   NPME480147   2014   GRTDN   1GRAP962XED452752             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480148   2014   GRTDN   1GRAP9621ED452753             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME480149   2014   GRTDN   1GRAP9623ED452754             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME480150   2014   GRTDN   1GRAP9627ED452756             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME480151   2014   GRTDN   1GRAP9629ED452757             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME480152   2014   GRTDN   1GRAP9620ED452758             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480153   2014   GRTDN   1GRAP9622ED452759             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480154   2014   GRTDN   1GRAP9629ED452760             ME      Fairfield
 NPME     ROAD TRAILER     RTL‐TA   NPME480155   2014   GRTDN   1GRAP9620ED452761             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME480156   2014   GRTDN   1GRAP9622ED452762             PA      Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME480157   2014   GRTDN   1GRAP962XED452766             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME480158   2014   GRTDN   1GRAP9621ED452767             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME480159   2014   GRTDN   1GRAP9625ED452769             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME48016    2003   WABSH   1JJV482W53L834771             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME480160   2014   GRTDN   1GRAP9621ED452770             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480162   2014   GRTDN   1GRAP9625ED452772             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480163   2014   GRTDN   1GRAP9627ED452773             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480164   2014   GRTDN   1GRAP9629ED452774             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480165   2014   GRTDN   1GRAP9620ED452775             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480166   2014   GRTDN   1GRAP9622ED452776             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME480167   2014   GRTDN   1GRAP9624ED452777             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME480168   2014   GRTDN   1GRAP9626ED452778             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480169   2014   GRTDN   1GRAP9628ED452779             NJ      Hamilton
 NPME     ROAD TRAILER     RTL‐TA   NPME480170   2014   GRTDN   1GRAP9624ED452780             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480171   2014   GRTDN   1GRAP9626ED452781             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480172   2014   GRTDN   1GRAP9628ED452782             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME480173   2014   GRTDN   1GRAP962XED452783             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME480174   2014   GRTDN   1GRAP9621ED452784             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME480176   2014   GRTDN   1GRAP9625ED452786             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME480178   2014   GRTDN   1GRAP9627ED452790             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480179   2014   GRTDN   1GRAP9629ED452791             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME48018    2005   WABSH   1JJV482W85L905254             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480181   2014   GRTDN   1GRAP9624ED452794             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME480183   2014   GRTDN   1GRAP9628ED452796             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME480184   2014   GRTDN   1GRAP9621ED452798             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480188   2014   GRTDN   1GRAP9621ED452803             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME480189   2014   GRTDN   1GRAP9623ED452804             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME48019    2005   GRTDN   1GRAA96235K263101             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480191   2014   GRTDN   1GRAP9627ED452806             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480192   2014   GRTDN   1GRAP9629ED452807             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480194   2014   GRTDN   1GRAP9622ED452809             NY      East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME480197   2014   GRTDN   1GRAP9624ED452813             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480198   2014   GRTDN   1GRAP9626ED452814             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480199   2014   GRTDN   1GRAP9628ED452815             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48020    2003   WABSH   1JJV482W93L849712             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME480200   2014   GRTDN   1GRAP962XED452816             RI      Cumberland
 NPME     ROAD TRAILER     RTL‐TA   NPME480201   2014   GRTDN   1GRAP9621ED452817             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480202   2014   GRTDN   1GRAP9623ED452818             MA      North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME480203   2014   GRTDN   1GRAP9625ED452819             OH      Akron
 NPME     ROAD TRAILER     RTL‐TA   NPME480204   2014   GRTDN   1GRAP9623ED452821             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME480205   2005   GRTDN   1GRAA96285D412493             VT      Williston
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 217 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State     City
 NPME     ROAD TRAILER     RTL‐TA   NPME48021    2004   GRTDN   1GRAA96244K262330                  IL        Atlanta
 NPME     ROAD TRAILER     RTL‐TA   NPME48022    2003   WABSH   1JJV482W03L834709                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48024    2006   WABSH   1JJV482W23L989038                  PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME48025    2003   WABSH   1JJV482W73L849353                  TX        Dallas
 NPME     ROAD TRAILER     RTL‐TA   NPME48026    2003   WABSH   1JJV482W53L849741                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME480263   2006   WABSH   1JJV482W76L989052                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480264   2014   GRTDN   1GRAP9623ED452771                  NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME48027    2003   WABSH   1JJV482W23L834680                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME480270   2014   GRTDN   1GRAP9623ED452785                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480273   2014   GRTDN   1GRAP9622ED452793                  RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480292   2014   GRTDN   1GRAP962XED452802                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME480293   2014   GRTDN   1GRAP9625ED452805                  RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME480295   2014   GRTDN   1GRAP9620ED452811                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48030    2003   WABSH   1JJV482W03L849369                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48031    2003   WABSH   1JJV482W33L849592                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME48034    2003   WABSH   1JJV482W23L849695                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48037    2003   WABSH   1JJV482W93L849578                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48039    2005   WABSH   1JJV482W35L913763                  NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME48040    2005   WABSH   1JJV482W16L988995                  NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME48041    2006   WABSH   1JJV482W56L989017                  NJ        South Plainfield
 NPME     ROAD TRAILER     RTL‐TA   NPME48042    2000   GRTDN   1GRAA962X1B042766                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48045    2002   WABSH   1JJV482W03L849274                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48046    2002   WABSH   1JJV482W33L834803                  MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME48047    2005   WABSH   1JJV482W45L913836                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48049    2003   WABSH   1JJV482W33L849284                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME48050    2005   GRTDN   1GRAA96245K263169                  NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME48053    2001   GRTDN   1GRAA96271G318419                  MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME48058    2003   WABSH   1JJV482W63L834777                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME48061    2005   GRTDN   1GRAA96295K263152                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME48065    2005   WABSH   1JJV482W25L905363                  MD        Hagerstown
 NPME     ROAD TRAILER     RTL‐TA   NPME48066    2004   GRTDN   1GRAA96234K262299                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48070    2005   WABSH   1JJV482W95L913735                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME48077    2001   GRTDN   1GRAA96291G318306                  NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME48095    2014   GRTDN   1GRAP9624ED452763                  PA        Bedford
 NPME     ROAD TRAILER     RTL‐TA   NPME48097    2014   GRTDN   1GRAP9628ED452765                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME48132    2014   GRTDN   1GRAP9626ED452800                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME48133    2014   GRTDN   1GRAP9628ED452801                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME48142    2014   GRTDN   1GRAP9629ED452810                  NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME48152    2014   GRTDN   1GRAP9621ED452820                  NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME514002   2014   WABSH   1JJV532D4EL794197   ************   Ontario   Mississauga
 NPME     ROAD TRAILER     RTL‐TA   NPME514007   2014   WABSH   1JJV532D3EL795597   ************   CT        Cheshire
 NPME     ROAD TRAILER     RTL‐TA   NPME514011   2014   WABSH   1JJV532D3EL795986   ************   PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME514013   2014   WABSH   1JJV532D2EL794005   ************   NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516301   2016   HYUND   3H3V532C0GT673001                  TX        Fort Worth
 NPME     ROAD TRAILER     RTL‐TA   NPME516302   2016   HYUND   3H3V532C2GT673002                  NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME516303   2016   HYUND   3H3V532C4GT673003                  NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516304   2016   HYUND   3H3V532C6GT673004                  MI        Romulus
 NPME     ROAD TRAILER     RTL‐TA   NPME516305   2016   HYUND   3H3V532C8GT673005                  RI        Cumberland
 NPME     ROAD TRAILER     RTL‐TA   NPME516306   2016   HYUND   3H3V532CXGT673006                  PA        Bensalem
 NPME     ROAD TRAILER     RTL‐TA   NPME516307   2016   HYUND   3H3V532C1GT673007                  NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME516308   2016   HYUND   3H3V532C3GT673008                  OH        Bowling Green
 NPME     ROAD TRAILER     RTL‐TA   NPME516309   2016   HYUND   3H3V532C5GT673009                  NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME516310   2016   HYUND   3H3V532C1GT673010                  NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516311   2016   HYUND   3H3V532C3GT673011                  NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME516312   2016   HYUND   3H3V532C5GT673012                  MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME516313   2016   HYUND   3H3V532C7GT673013                  IN        South Bend
 NPME     ROAD TRAILER     RTL‐TA   NPME516314   2016   HYUND   3H3V532C9GT673014                  PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME516315   2016   HYUND   3H3V532C0GT673015                  TX        El Paso
 NPME     ROAD TRAILER     RTL‐TA   NPME516316   2016   HYUND   3H3V532C2GT673016                  PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME516317   2016   HYUND   3H3V532C4GT673017                  PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME516318   2016   HYUND   3H3V532C6GT673018                  NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME516319   2016   HYUND   3H3V532C8GT673019                  NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516320   2016   HYUND   3H3V532C4GT673020                  NY        Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME516321   2016   HYUND   3H3V532C6GT673021                  NY        Tonawanda
 NPME     ROAD TRAILER     RTL‐TA   NPME516322   2016   HYUND   3H3V532C8GT673022                  PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME516323   2016   HYUND   3H3V532CXGT673023                  RI        Cumberland
 NPME     ROAD TRAILER     RTL‐TA   NPME516324   2016   HYUND   3H3V532C1GT673024                  NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME516325   2016   HYUND   3H3V532C3GT673025                  PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME516326   2016   HYUND   3H3V532C5GT673026                  PA        Bensalem
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 218 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 NPME     ROAD TRAILER     RTL‐TA   NPME516327   2016   HYUND   3H3V532C7GT673027             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME516328   2016   HYUND   3H3V532C9GT673028             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME516329   2016   HYUND   3H3V532C0GT673029             Ontario   Niagara on the Lake
 NPME     ROAD TRAILER     RTL‐TA   NPME516330   2016   HYUND   3H3V532C7GT673030             GA        Conley
 NPME     ROAD TRAILER     RTL‐TA   NPME516331   2016   HYUND   3H3V532C9GT673031             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME516332   2016   HYUND   3H3V532C0GT673032             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME516333   2016   HYUND   3H3V532C2GT673033             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME516334   2016   HYUND   3H3V532C4GT673034             RI        Cumberland
 NPME     ROAD TRAILER     RTL‐TA   NPME516335   2016   HYUND   3H3V532C6GT673035             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME516336   2016   HYUND   3H3V532C8GT673036             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME516337   2016   HYUND   3H3V532CXGT673037             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME516338   2016   HYUND   3H3V532C1GT673038             IN        Indianapolis
 NPME     ROAD TRAILER     RTL‐TA   NPME516339   2016   HYUND   3H3V532C3GT673039             NY        Tonawanda
 NPME     ROAD TRAILER     RTL‐TA   NPME516340   2016   HYUND   3H3V532CXGT673040             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME516341   2016   HYUND   3H3V532C1GT673041             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME516343   2016   HYUND   3H3V532C5GT673043             ME        Westbrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516344   2016   HYUND   3H3V532C7GT673044             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516345   2016   HYUND   3H3V532C9GT673045             MN        Owatonna
 NPME     ROAD TRAILER     RTL‐TA   NPME516346   2016   HYUND   3H3V532C0GT673046             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME516347   2016   HYUND   3H3V532C2GT673047             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516348   2016   HYUND   3H3V532C4GT673048             IN        Jeffersonville
 NPME     ROAD TRAILER     RTL‐TA   NPME516349   2016   HYUND   3H3V532C6GT673049             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME516350   2016   HYUND   3H3V532C2GT673050             VT        Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME516351   2016   HYUND   3H3V532C4GT673051             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME516352   2016   HYUND   3H3V532C6GT673052             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME516353   2016   HYUND   3H3V532C8GT673053             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME516354   2016   HYUND   3H3V532CXGT673054             ME        Westbrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516355   2016   HYUND   3H3V532C1GT673055             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516356   2016   HYUND   3H3V532C3GT673056             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516357   2016   HYUND   3H3V532C5GT673057             PA        Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME516358   2016   HYUND   3H3V532C7GT673058             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME516359   2016   HYUND   3H3V532C9GT673059             ME        Westbrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516360   2016   HYUND   3H3V532C5GT673060             CT        Cheshire
 NPME     ROAD TRAILER     RTL‐TA   NPME516361   2016   HYUND   3H3V532C7GT673061             Ontario   Whitby
 NPME     ROAD TRAILER     RTL‐TA   NPME516362   2016   HYUND   3H3V532C9GT673062             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME516363   2016   HYUND   3H3V532C0GT673063             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME516364   2016   HYUND   3H3V532C2GT673064             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME516365   2016   HYUND   3H3V532C4GT673065             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME516366   2016   HYUND   3H3V532C6GT673066             NY        Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME516367   2016   HYUND   3H3V532C8GT673067             MI        Taylor
 NPME     ROAD TRAILER     RTL‐TA   NPME516368   2016   HYUND   3H3V532CXGT673068             PA        McKees Rocks
 NPME     ROAD TRAILER     RTL‐TA   NPME516369   2016   HYUND   3H3V532C1GT673069             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME516370   2016   HYUND   3H3V532C8GT673070             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME516371   2016   HYUND   3H3V532CXGT673071             NY        Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME516372   2016   HYUND   3H3V532C1GT673072             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME516373   2016   HYUND   3H3V532C3GT673073             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME516374   2016   HYUND   3H3V532C5GT673074             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME516375   2016   HYUND   3H3V532C7GT673075             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME516376   2016   HYUND   3H3V532C9GT673076             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME516377   2016   HYUND   3H3V532C0GT673077             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME516378   2016   HYUND   3H3V532C2GT673078             ME        Fairfield
 NPME     ROAD TRAILER     RTL‐TA   NPME516379   2016   HYUND   3H3V532C4GT673079             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME516380   2016   HYUND   3H3V532C0GT673080             NY        Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME517301   2017   HYUND   3H3V532C8HT881001             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME517302   2017   HYUND   3H3V532CXHT881002             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME517303   2017   HYUND   3H3V532C1HT881003             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME517304   2017   HYUND   3H3V532C3HT881004             MD        Hagerstown
 NPME     ROAD TRAILER     RTL‐TA   NPME517305   2017   HYUND   3H3V532C5HT881005             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME517306   2017   HYUND   3H3V532C7HT881006             OH        Copley
 NPME     ROAD TRAILER     RTL‐TA   NPME517307   2017   HYUND   3H3V532C9HT881007             PA        Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME517308   2017   HYUND   3H3V532C0HT881008             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME517309   2017   HYUND   3H3V532C2HT881009             NY        Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME517310   2017   HYUND   3H3V532C9HT881010             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME517311   2017   HYUND   3H3V532C0HT881011             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME517313   2017   HYUND   3H3V532C4HT881013             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME517314   2017   HYUND   3H3V532C6HT881014             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME517315   2017   HYUND   3H3V532C8HT881015             IL        Joliet
 NPME     ROAD TRAILER     RTL‐TA   NPME517316   2017   HYUND   3H3V532CXHT881016             NY        Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME517317   2017   HYUND   3H3V532C1HT881017             PA        Mountain Top
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 219 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRAILER     RTL‐TA   NPME517318   2017   HYUND   3H3V532C3HT881018             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME517319   2017   HYUND   3H3V532C5HT881019             IL      Joliet
 NPME     ROAD TRAILER     RTL‐TA   NPME517320   2017   HYUND   3H3V532C1HT881020             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME517321   2017   HYUND   3H3V532C3HT881021             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME517323   2017   HYUND   3H3V532C7HT881023             IN      Fort Wayne
 NPME     ROAD TRAILER     RTL‐TA   NPME517324   2017   HYUND   3H3V532C9HT881024             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME517325   2017   HYUND   3H3V532C0HT881025             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME517326   2017   HYUND   3H3V532C2HT881026             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME517327   2017   HYUND   3H3V532C4HT881027             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME517328   2017   HYUND   3H3V532C6HT881028             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME517329   2017   HYUND   3H3V532C8HT881029             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME517330   2017   HYUND   3H3V532C4HT881030             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME517331   2017   HYUND   3H3V532C6HT881031             TX      Laredo
 NPME     ROAD TRAILER     RTL‐TA   NPME517332   2017   HYUND   3H3V532C8HT881032             NY      Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME517333   2017   HYUND   3H3V532CXHT881033             NY      Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME517334   2017   HYUND   3H3V532C1HT881034             NY      Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME517335   2017   HYUND   3H3V532C3HT881035             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME517336   2017   HYUND   3H3V532C5HT881036             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME517337   2017   HYUND   3H3V532C7HT881037             GA      Conley
 NPME     ROAD TRAILER     RTL‐TA   NPME517338   2017   HYUND   3H3V532C9HT881038             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME517339   2017   HYUND   3H3V532C0HT881039             ME      Westbrook
 NPME     ROAD TRAILER     RTL‐TA   NPME517340   2017   HYUND   3H3V532C7HT881040             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME517341   2017   HYUND   3H3V532C9HT881041             IL      Montgomery
 NPME     ROAD TRAILER     RTL‐TA   NPME517342   2017   HYUND   3H3V532C0HT881042             PA      Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME517343   2017   HYUND   3H3V532C2HT881043             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME517344   2017   HYUND   3H3V532C4HT881044             PA      Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME517345   2017   HYUND   3H3V532C6HT881045             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME517346   2017   HYUND   3H3V532C8HT881046             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME517347   2017   HYUND   3H3V532CXHT881047             NY      Tonawanda
 NPME     ROAD TRAILER     RTL‐TA   NPME517348   2017   HYUND   3H3V532C1HT881048             TN      Memphis
 NPME     ROAD TRAILER     RTL‐TA   NPME517349   2017   HYUND   3H3V532C3HT881049             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME517350   2017   HYUND   3H3V532CXHT881050             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME517351   2017   HYUND   3H3V532C1HT881051             MD      Baltimore
 NPME     ROAD TRAILER     RTL‐TA   NPME517352   2017   HYUND   3H3V532C3HT881052             VT      Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME517353   2017   HYUND   3H3V532C5HT881053             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME517354   2017   HYUND   3H3V532C7HT881054             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME517355   2017   HYUND   3H3V532C9HT881055             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME517356   2017   HYUND   3H3V532C0HT881056             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME517357   2017   HYUND   3H3V532C2HT881057             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME517358   2017   HYUND   3H3V532C4HT881058             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME517359   2017   HYUND   3H3V532C6HT881059             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME517360   2017   HYUND   3H3V532C2HT881060             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME517361   2017   HYUND   3H3V532C4HT881061             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME517362   2017   HYUND   3H3V532C6HT881062             MD      Hagerstown
 NPME     ROAD TRAILER     RTL‐TA   NPME517363   2017   HYUND   3H3V532C8HT881063             VT      Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME517364   2017   HYUND   3H3V532CXHT881064             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME517365   2017   HYUND   3H3V532C1HT881065             NY      East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME517366   2017   HYUND   3H3V532C3HT881066             GA      Jefferson
 NPME     ROAD TRAILER     RTL‐TA   NPME517367   2017   HYUND   3H3V532C5HT881067             MI      Wyoming
 NPME     ROAD TRAILER     RTL‐TA   NPME517368   2017   HYUND   3H3V532C7HT881068             TX      Laredo
 NPME     ROAD TRAILER     RTL‐TA   NPME521078   2021   VANGU   5V8VA5327MM109211             PA      Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME521079   2021   VANGU   5V8VA5329MM109212             NC      Charlotte
 NPME     ROAD TRAILER     RTL‐TA   NPME521080   2021   VANGU   5V8VA5320MM109213             RI      Cumberland
 NPME     ROAD TRAILER     RTL‐TA   NPME521081   2021   VANGU   5V8VA5322MM109214             PA      Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME521082   2021   VANGU   5V8VA5324MM109215             IL      Montgomery
 NPME     ROAD TRAILER     RTL‐TA   NPME521083   2021   VANGU   5V8VA5326MM109216             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME521084   2021   VANGU   5V8VA5328MM109217             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME521085   2021   VANGU   5V8VA532XMM109218             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME521086   2021   VANGU   5V8VA5321MM109219             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME521087   2021   VANGU   5V8VA5328MM109220             NY      Plattsburgh
 NPME     ROAD TRAILER     RTL‐TA   NPME521088   2021   VANGU   5V8VA532XMM109221             MA      North Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME521089   2021   VANGU   5V8VA5321MM109222             PA      Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME521090   2021   VANGU   5V8VA5323MM109223             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME521091   2021   VANGU   5V8VA5325MM109224             OH      Dayton
 NPME     ROAD TRAILER     RTL‐TA   NPME521092   2021   VANGU   5V8VA5327MM109225             MI      Romulus
 NPME     ROAD TRAILER     RTL‐TA   NPME521093   2021   VANGU   5V8VA5329MM109226             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME521094   2021   VANGU   5V8VA5320MM109227             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME521095   2021   VANGU   5V8VA5322MM109228             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME521096   2021   VANGU   5V8VA5324MM109229             PA      Camp Hill
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 220 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 NPME     ROAD TRAILER     RTL‐TA   NPME521097   2021   VANGU   5V8VA5320MM109230             NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME521098   2021   VANGU   5V8VA5322MM109231             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME521099   2021   VANGU   5V8VA5324MM109232             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME521100   2021   VANGU   5V8VA5326MM109233             Ontario   Mississauga
 NPME     ROAD TRAILER     RTL‐TA   NPME521101   2021   VANGU   5V8VA5328MM109234             ME        Westbrook
 NPME     ROAD TRAILER     RTL‐TA   NPME521102   2021   VANGU   5V8VA532XMM109235             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME521103   2021   VANGU   5V8VA5321MM109236             OH        Richfield
 NPME     ROAD TRAILER     RTL‐TA   NPME521104   2021   VANGU   5V8VA5323MM109237             NC        Charlotte
 NPME     ROAD TRAILER     RTL‐TA   NPME521105   2021   VANGU   5V8VA5325MM109238             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME521106   2021   VANGU   5V8VA5327MM109239             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME521107   2021   VANGU   5V8VA5323MM109240             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME521108   2021   VANGU   5V8VA5325MM109241             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME521109   2021   VANGU   5V8VA5327MM109242             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME521110   2021   VANGU   5V8VA5329MM109243             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME521111   2021   VANGU   5V8VA5320MM109244             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME521112   2021   VANGU   5V8VA5322MM109245             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME521113   2021   VANGU   5V8VA5324MM109246             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME521114   2021   VANGU   5V8VA5326MM109247             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME521115   2021   VANGU   5V8VA5328MM109248             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME521116   2021   VANGU   5V8VA532XMM109249             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME521117   2021   VANGU   5V8VA5326MM109250             NY        Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME521118   2021   VANGU   5V8VA5328MM109251             IN        Indianapolis
 NPME     ROAD TRAILER     RTL‐TA   NPME521119   2021   VANGU   5V8VA532XMM109252             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME521120   2021   VANGU   5V8VA5321MM109253             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME521121   2021   VANGU   5V8VA5323MM109254             PA        Bedford
 NPME     ROAD TRAILER     RTL‐TA   NPME521122   2021   VANGU   5V8VA5325MM109255             PA        Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME521123   2021   VANGU   5V8VA5327MM109256             OH        Columbus
 NPME     ROAD TRAILER     RTL‐TA   NPME521124   2021   VANGU   5V8VA5329MM109257             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME521125   2021   VANGU   5V8VA5320MM109258             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME521126   2021   VANGU   5V8VA5322MM109259             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME521127   2021   VANGU   5V8VA5329MM109260             PA        Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME521128   2021   VANGU   5V8VA5320MM109261             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME521129   2021   VANGU   5V8VA5322MM109262             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522000   2022   VANGU   5V8VA5320NM201293             VT        Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME522001   2022   VANGU   5V8VA5322NM201294             RI        Cumberland
 NPME     ROAD TRAILER     RTL‐TA   NPME522002   2022   VANGU   5V8VA5324NM201295             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME522003   2022   VANGU   5V8VA5326NM201296             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522004   2022   VANGU   5V8VA5328NM201297             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME522005   2022   VANGU   5V8VA532XNM201298             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522006   2022   VANGU   5V8VA5321NM201299             ME        Westbrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522007   2022   VANGU   5V8VA5324NM201300             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME522008   2022   VANGU   5V8VA5326NM201301             TN        Goodlettsville
 NPME     ROAD TRAILER     RTL‐TA   NPME522009   2022   VANGU   5V8VA5328NM201302             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME522010   2022   VANGU   5V8VA532XNM201303             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522011   2022   VANGU   5V8VA5321NM201304             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME522012   2022   VANGU   5V8VA5323NM201305             VT        Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME522013   2022   VANGU   5V8VA5325NM201306             TX        Laredo
 NPME     ROAD TRAILER     RTL‐TA   NPME522014   2022   VANGU   5V8VA5327NM201307             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522015   2022   VANGU   5V8VA5329NM201308             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522016   2022   VANGU   5V8VA5320NM201309             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522017   2022   VANGU   5V8VA5327NM201310             Ontario   Whitby
 NPME     ROAD TRAILER     RTL‐TA   NPME522018   2022   VANGU   5V8VA5329NM201311             NJ        Hamilton
 NPME     ROAD TRAILER     RTL‐TA   NPME522019   2022   VANGU   5V8VA5320NM201312             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522020   2022   VANGU   5V8VA5322NM201313             OH        Dayton
 NPME     ROAD TRAILER     RTL‐TA   NPME522021   2022   VANGU   5V8VA5324NM201314             ME        Westbrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522022   2022   VANGU   5V8VA5326NM201315             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME522023   2022   VANGU   5V8VA5328NM201316             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME522024   2022   VANGU   5V8VA532XNM201317             CA        Bloomington
 NPME     ROAD TRAILER     RTL‐TA   NPME522025   2022   VANGU   5V8VA5321NM201318             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME522026   2022   VANGU   5V8VA5323NM201319             MA        Shrewsbury
 NPME     ROAD TRAILER     RTL‐TA   NPME522027   2022   VANGU   5V8VA532XNM201320             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME522028   2022   VANGU   5V8VA5321NM201321             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME522029   2022   VANGU   5V8VA5323NM201322             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME522030   2022   VANGU   5V8VA5325NM201323             NJ        Hamilton
 NPME     ROAD TRAILER     RTL‐TA   NPME522031   2022   VANGU   5V8VA5327NM201324             MS        Richland
 NPME     ROAD TRAILER     RTL‐TA   NPME522032   2022   VANGU   5V8VA5329NM201325             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME522033   2022   VANGU   5V8VA5320NM201326             MA        West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME522034   2022   VANGU   5V8VA5322NM201327             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME522035   2022   VANGU   5V8VA5324NM201328             PA        Mountain Top
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 221 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 NPME     ROAD TRAILER     RTL‐TA   NPME522036   2022   VANGU   5V8VA5326NM201329             PQ        Dorval
 NPME     ROAD TRAILER     RTL‐TA   NPME522037   2022   VANGU   5V8VA5322NM201330             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME522038   2022   VANGU   5V8VA5324NM201331             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME522039   2022   VANGU   5V8VA5326NM201332             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME522040   2022   VANGU   5V8VA5328NM201333             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME522041   2022   VANGU   5V8VA532XNM201334             ME        Westbrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522042   2022   VANGU   5V8VA5321NM201335             VT        Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME522043   2022   VANGU   5V8VA5323NM201336             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522044   2022   VANGU   5V8VA5325NM201337             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME522045   2022   VANGU   5V8VA5327NM201338             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522046   2022   VANGU   5V8VA5329NM201339             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME522047   2022   VANGU   5V8VA5325NM201340             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME522048   2022   VANGU   5V8VA5327NM201341             OH        Columbus
 NPME     ROAD TRAILER     RTL‐TA   NPME522049   2022   VANGU   5V8VA5329NM201342             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522050   2022   VANGU   5V8VA5320NM201343             OH        Dayton
 NPME     ROAD TRAILER     RTL‐TA   NPME522051   2022   VANGU   5V8VA5322NM201344             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522052   2022   VANGU   5V8VA5324NM201345             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522053   2022   VANGU   5V8VA5326NM201346             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME522054   2022   VANGU   5V8VA5328NM201347             NY        Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME522055   2022   VANGU   5V8VA532XNM201348             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME522056   2022   VANGU   5V8VA5321NM201349             NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME522057   2022   VANGU   5V8VA5328NM201350             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522058   2022   VANGU   5V8VA532XNM201351             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME522059   2022   VANGU   5V8VA5321NM201352             NY        Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME522060   2022   VANGU   5V8VA5323NM201353             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME522061   2022   VANGU   5V8VA5325NM201354             OH        Richfield
 NPME     ROAD TRAILER     RTL‐TA   NPME522062   2022   VANGU   5V8VA5327NM201355             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME522063   2022   VANGU   5V8VA5329NM201356             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME522064   2022   VANGU   5V8VA5320NM201357             PQ        Dorval
 NPME     ROAD TRAILER     RTL‐TA   NPME522065   2022   VANGU   5V8VA5322NM201358             Alberta   Calgary
 NPME     ROAD TRAILER     RTL‐TA   NPME522066   2022   VANGU   5V8VA5324NM201359             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME522067   2022   VANGU   5V8VA5320NM201360             NY        Plattsburgh
 NPME     ROAD TRAILER     RTL‐TA   NPME522068   2022   VANGU   5V8VA5322NM201361             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME522069   2022   VANGU   5V8VA5324NM201362             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME522070   2022   VANGU   5V8VA5326NM201363             NY        Elmira
 NPME     ROAD TRAILER     RTL‐TA   NPME522071   2022   VANGU   5V8VA5328NM201364             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522072   2022   VANGU   5V8VA532XNM201365             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME522073   2022   VANGU   5V8VA5321NM201366             SC        Florence
 NPME     ROAD TRAILER     RTL‐TA   NPME522074   2022   VANGU   5V8VA5323NM201367             NY        Elmira
 NPME     ROAD TRAILER     RTL‐TA   NPME522075   2022   VANGU   5V8VA5325NM201368             PA        Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME522076   2022   VANGU   5V8VA5327NM201369             OH        Lima
 NPME     ROAD TRAILER     RTL‐TA   NPME522077   2022   VANGU   5V8VA5323NM201370             NY        Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME522078   2022   VANGU   5V8VA5325NM201371             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522079   2022   VANGU   5V8VA5327NM201372             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME522080   2022   VANGU   5V8VA5329NM201373             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522081   2022   VANGU   5V8VA5320NM201374             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME522082   2022   VANGU   5V8VA5322NM201375             PA        Bensalem
 NPME     ROAD TRAILER     RTL‐TA   NPME522083   2022   VANGU   5V8VA5322NM210996             NY        Plainview
 NPME     ROAD TRAILER     RTL‐TA   NPME522084   2022   VANGU   5V8VA5324NM210997             GA        Jefferson
 NPME     ROAD TRAILER     RTL‐TA   NPME522085   2022   VANGU   5V8VA5326NM210998             NJ        South Plainfield
 NPME     ROAD TRAILER     RTL‐TA   NPME522086   2022   VANGU   5V8VA5328NM210999             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME522087   2022   VANGU   5V8VA5329NM211000             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME522088   2022   VANGU   5V8VA5320NM211001             NJ        Hamilton
 NPME     ROAD TRAILER     RTL‐TA   NPME522089   2022   VANGU   5V8VA5322NM211002             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522090   2022   VANGU   5V8VA5324NM211003             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522091   2022   VANGU   5V8VA5326NM211004             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522092   2022   VANGU   5V8VA5328NM211005             TN        Memphis
 NPME     ROAD TRAILER     RTL‐TA   NPME522093   2022   VANGU   5V8VA532XNM211006             IL        Rock Island
 NPME     ROAD TRAILER     RTL‐TA   NPME522094   2022   VANGU   5V8VA5321NM211007             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522095   2022   VANGU   5V8VA5323NM211008             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522096   2022   VANGU   5V8VA5325NM211009             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME522097   2022   VANGU   5V8VA5321NM211010             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522098   2022   VANGU   5V8VA5323NM211011             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME522099   2022   VANGU   5V8VA5325NM211012             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME522100   2022   VANGU   5V8VA5327NM211013             KS        Kansas City
 NPME     ROAD TRAILER     RTL‐TA   NPME522101   2022   VANGU   5V8VA5329NM211014             MA        Shrewsbury
 NPME     ROAD TRAILER     RTL‐TA   NPME522102   2022   VANGU   5V8VA5320NM211015             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522103   2022   VANGU   5V8VA5322NM211016             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME522104   2022   VANGU   5V8VA5324NM211017             ME        Fairfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 222 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 NPME     ROAD TRAILER     RTL‐TA   NPME522105   2022   VANGU   5V8VA5326NM211018             PA               Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME522106   2022   VANGU   5V8VA5328NM211019             PA               Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME522107   2022   VANGU   5V8VA5324NM211020             PA               Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME522108   2022   VANGU   5V8VA5326NM211021             PA               Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME522109   2022   VANGU   5V8VA5328NM211022             PA               Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME522110   2022   VANGU   5V8VA532XNM211023             NY               Tonawanda
 NPME     ROAD TRAILER     RTL‐TA   NPME522111   2022   VANGU   5V8VA5321NM211024             NY               Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME522112   2022   VANGU   5V8VA5323NM211025             PA               Bedford
 NPME     ROAD TRAILER     RTL‐TA   NPME53001    2003   WABSH   1JJV532W83L819875             MA               North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME53003    2003   WABSH   1JJV532W93L820386             NY               Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME53004    2003   WABSH   1JJV532W13L820687             MA               West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME53005    2003   WABSH   1JJV532W53L820711             NY               Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME53006    2003   WABSH   1JJV532W53L820806             Ontario          Mississauga
 NPME     ROAD TRAILER     RTL‐TA   NPME53013    2008   WABSH   1JJV532W48L178635             British Columbia Burnaby
 NPME     ROAD TRAILER     RTL‐TA   NPME53014    2008   WABSH   1JJV532W68L178636             PA               Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME53015    2008   WABSH   1JJV532W88L178637             Ontario          Mississauga
 NPME     ROAD TRAILER     RTL‐TA   NPME53016    2008   WABSH   1JJV532WX8L178638             NY               Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME53017    2008   WABSH   1JJV532W18L178639             RI               Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME53018    2008   WABSH   1JJV532W88L178640             MA               North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME53020    2008   WABSH   1JJV532W18L178642             PA               Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME53021    2008   WABSH   1JJV532W38L178643             PA               Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME53022    2008   WABSH   1JJV532W58L178644             NY               Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME53024    2008   WABSH   1JJV532W98L178646             SC               Piedmont
 NPME     ROAD TRAILER     RTL‐TA   NPME53026    2008   WABSH   1JJV532W28L178648             NY               Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME53027    2008   WABSH   1JJV532W48L178649             RI               Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME53028    2008   WABSH   1JJV532W08L178650             IL               Edwardsville
 NPME     ROAD TRAILER     RTL‐TA   NPME53029    2008   WABSH   1JJV532W28L178651             NJ               Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME53031    2008   WABSH   1JJV532W68L178653             CT               Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME53033    2008   WABSH   1JJV532WX8L178655             PA               Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME53034    2008   WABSH   1JJV532W18L178656             PA               Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53037    2008   WABSH   1JJV532W78L178659             OK               Oklahoma City
 NPME     ROAD TRAILER     RTL‐TA   NPME53038    2009   WABSH   1JJV532W89L314511             MD               Baltimore
 NPME     ROAD TRAILER     RTL‐TA   NPME53039    2009   WABSH   1JJV532WX9L314512             PA               Bedford
 NPME     ROAD TRAILER     RTL‐TA   NPME53040    2009   WABSH   1JJV532W19L314513             OH               Richfield
 NPME     ROAD TRAILER     RTL‐TA   NPME53041    2009   WABSH   1JJV532W39L314514             IL               Danville
 NPME     ROAD TRAILER     RTL‐TA   NPME53042    2009   WABSH   1JJV532W59L314515             PA               Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME53043    2009   WABSH   1JJV532W79L314516             TX               Dallas
 NPME     ROAD TRAILER     RTL‐TA   NPME53044    2009   WABSH   1JJV532W99L314517             NY               Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME53045    2009   WABSH   1JJV532W09L314518             PA               Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME53046    2009   WABSH   1JJV532W29L314519             OH               Copley
 NPME     ROAD TRAILER     RTL‐TA   NPME53048    2009   WABSH   1JJV532W09L314521             IL               Atlanta
 NPME     ROAD TRAILER     RTL‐TA   NPME53049    2009   WABSH   1JJV532W29L314522             IN               Jeffersonville
 NPME     ROAD TRAILER     RTL‐TA   NPME53050    2009   WABSH   1JJV532W49L314523             GA               Marietta
 NPME     ROAD TRAILER     RTL‐TA   NPME53052    2009   WABSH   1JJV532W89L314525             MA               West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME53053    2009   WABSH   1JJV532WX9L314526             PA               Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME53054    2009   WABSH   1JJV532W19L314527             NY               East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME53055    2009   WABSH   1JJV532W39L314528             NY               Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME53056    2009   WABSH   1JJV532W59L314529             NY               Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME53057    2009   WABSH   1JJV532W19L314530             PA               Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME53058    2009   WABSH   1JJV532W39L314531             RI               Cumberland
 NPME     ROAD TRAILER     RTL‐TA   NPME53059    2009   WABSH   1JJV532W59L314532             VT               Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME53060    2009   WABSH   1JJV532W79L314533             PA               Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME53061    2009   WABSH   1JJV532W99L314534             NJ               Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME53063    2009   WABSH   1JJV532W29L314536             NY               Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME53064    2009   WABSH   1JJV532W49L314537             PA               Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME53065    2009   WABSH   1JJV532W69L314538             PA               Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME53066    2009   WABSH   1JJV532W89L314539             Ontario          Niagara on the Lake
 NPME     ROAD TRAILER     RTL‐TA   NPME53067    2009   WABSH   1JJV532W49L314540             VT               Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME53068    2009   WABSH   1JJV532W69L314541             ME               Westbrook
 NPME     ROAD TRAILER     RTL‐TA   NPME53069    2009   WABSH   1JJV532W89L314542             NJ               Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME53070    2009   WABSH   1JJV532WX9L314543             NJ               Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME53071    2009   WABSH   1JJV532W19L314544             NY               Tonawanda
 NPME     ROAD TRAILER     RTL‐TA   NPME53072    2009   WABSH   1JJV532W39L314545             PA               Bensalem
 NPME     ROAD TRAILER     RTL‐TA   NPME53073    2000   TRLMB   1PT01JAH7Y9017313             NY               Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME53074    2000   STRCK   1S12E95332E491522             NY               Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME53075    2000   STRCK   1S12E95352E491523             NY               Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME53076    2000   STRCK   1S12E95372E491524             NY               Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME53077    2000   STRCK   1S12E95392E491525             NY               Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME53079    2000   STRCK   1S12E95322E491527             MA               West Springfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 223 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 NPME     ROAD TRAILER     RTL‐TA   NPME53080     2000   STRCK   1S12E95342E491528             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME53082     2000   STRCK   1S12E95322E491530             NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME53086     2000   TRLMB   1PT01JAH4Y9017298             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME53087     2000   TRLMB   1PT01JAH6Y9017299             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME53088     2001   TRLMB   1PT01JAH619004395             PA        Erie
 NPME     ROAD TRAILER     RTL‐TA   NPME53089     2001   TRLMB   1PT01JAH819004396             LA        Shreveport
 NPME     ROAD TRAILER     RTL‐TA   NPME53090     2001   TRLMB   1PT01JAH619004399             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME53091     2001   TRLMB   1PT01JAH619004400             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME53092     2001   STRCK   1S12E95371E469893             NY        Tonawanda
 NPME     ROAD TRAILER     RTL‐TA   NPME53093     2001   STRCK   1S12E95391E469894             Ontario   Mississauga
 NPME     ROAD TRAILER     RTL‐TA   NPME53094     2001   STRCK   1S12E95301E469895             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME53096     2002   STRCK   1S12E95312E491535             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53098     2002   STRCK   1S12E95352E491537             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME53099     2002   STRCK   1S12E95372E491538             PA        Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME53100     2002   STRCK   1S12E95392E491539             NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME53101     2002   STRCK   1S12E953X2E491372             TX        Irving
 NPME     ROAD TRAILER     RTL‐TA   NPME53102     2002   STRCK   1S12E95312E491373             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME53106     2002   STRCK   1S12E95362E491286             MA        Shrewsbury
 NPME     ROAD TRAILER     RTL‐TA   NPME53107     2002   STRCK   1S12E95382E491287             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME53110     2002   STRCK   1S12E95382E491290             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME53111     2002   STRCK   1S12E953X2E491291             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53113     2002   STRCK   1S12E95332E491293             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53114     2002   STRCK   1S12E95352E491294             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME53117     2002   STRCK   1S12E95302E491297             RI        Cumberland
 NPME     ROAD TRAILER     RTL‐TA   NPME53118     2015   GRTDN   1GRAP0620FB709782             MI        Romulus
 NPME     ROAD TRAILER     RTL‐TA   NPME53119     2015   GRTDN   1GRAP0622FB709783             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53120     2015   GRTDN   1GRAP0624FB709784             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME53121     2015   GRTDN   1GRAP0626FB709785             IN        South Bend
 NPME     ROAD TRAILER     RTL‐TA   NPME53122     2015   GRTDN   1GRAP0628FB709786             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME53123     2015   GRTDN   1GRAP062XFB709787             NY        Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME53124     2015   GRTDN   1GRAP0621FB709788             PA        Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME53125     2015   GRTDN   1GRAP0623FB709789             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME53126     2015   GRTDN   1GRAP062XFB709790             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53127     2015   GRTDN   1GRAP0621FB709791             PA        Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME53128     2015   GRTDN   1GRAP0623FB709792             PA        Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME53129     2015   GRTDN   1GRAP0625FB709793             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME53130     2015   GRTDN   1GRAP0627FB709794             NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME53131     2015   GRTDN   1GRAP0629FB709795             NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME53132     2015   GRTDN   1GRAP0620FB709796             PA        Bensalem
 NPME     ROAD TRAILER     RTL‐TA   NPME53133     2015   GRTDN   1GRAP0622FB709797             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME53134     2015   GRTDN   1GRAP0624FB709798             VT        Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME53135     2015   GRTDN   1GRAP0626FB709799             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME53136     2015   GRTDN   1GRAP0629FB709800             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME53137     2015   GRTDN   1GRAP0620FB709801             NY        Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME53138     2015   GRTDN   1GRAP0622FB709802             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME53139     2015   GRTDN   1GRAP0624FB709803             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53140     2015   GRTDN   1GRAP0626FB709804             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME53141     2015   GRTDN   1GRAP0628FB709805             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53142     2015   GRTDN   1GRAP062XFB709806             NJ        Hamilton
 NPME     ROAD TRAILER     RTL‐TA   NPME53143     2015   GRTDN   1GRAP0621FB709807             PA        Altoona
 NPME     ROAD TRAILER     RTL‐TA   NPME53145     2015   GRTDN   1GRAP0625FB709809             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME53146     2015   GRTDN   1GRAP0621FB709810             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53147     2015   GRTDN   1GRAP0623FB709811             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME53148     2015   GRTDN   1GRAP0625FB709812             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME53149     2015   GRTDN   1GRAP0627FB709813             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME53150     2015   GRTDN   1GRAP0629FB709814             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME53151     2015   GRTDN   1GRAP0620FB709815             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME53152     2015   GRTDN   1GRAP0622FB709816             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53153     2015   GRTDN   1GRAP0624FB709817             PA        Bensalem
 NPME     ROAD TRAILER     RTL‐TA   NPME53154     2015   GRTDN   1GRAP0626FB709818             VT        Bellows Falls
 NPME     ROAD TRAILER     RTL‐TA   NPME53155     2015   GRTDN   1GRAP0628FB709819             IL        Edwardsville
 NPME     ROAD TRAILER     RTL‐TA   NPME53156     2015   GRTDN   1GRAP0624FB709820             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME53157     2015   GRTDN   1GRAP0626FB709821             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53158     2015   GRTDN   1GRAP0628FB709822             GA        Marietta
 NPME     ROAD TRAILER     RTL‐TA   NPME53159     2015   GRTDN   1GRAP062XFB709823             NJ        Hamilton
 NPME     ROAD TRAILER     RTL‐TA   NPME53160     2015   GRTDN   1GRAP0621FB709824             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53161     2015   GRTDN   1GRAP0623FB709825             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME53162     2015   GRTDN   1GRAP0625FB709826             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME53163     2015   GRTDN   1GRAP0627FB709827             OH        Columbus
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 224 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 NPME     ROAD TRAILER     RTL‐TA   NPME53164     2015   GRTDN   1GRAP0629FB709828             PA        Bensalem
 NPME     ROAD TRAILER     RTL‐TA   NPME53165     2015   GRTDN   1GRAP0620FB709829             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME53166     2015   GRTDN   1GRAP0627FB709830             NY        East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME53167     2015   GRTDN   1GRAP0629FB709831             VT        Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME54101     2009   WABSH   1JJV532W88L122715             RI        Cumberland
 NPME     ROAD TRAILER     RTL‐TA   NPME54102     2008   WABSH   1JJV532W68L122583             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME54103     2008   WABSH   1JJV532W28L122581             PA        Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME54104     2008   WABSH   1JJV532WX8L122683             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME54105     2008   WABSH   1JJV532W28L122693             NY        Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME54106     2008   WABSH   1JJV532W38L122640             PA        Bethlehem
 NPME     ROAD TRAILER     RTL‐TA   NPME54107     2008   WABSH   1JJV532W18L122555             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME54108     2007   WABSH   1JJV532W27L029414             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME54109     2007   WABSH   1JJV532W07L029413             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME54110     2007   WABSH   1JJV532W87L029370             PA        Bensalem
 NPME     ROAD TRAILER     RTL‐TA   NPME54111     2007   WABSH   1JJV532W67L029500             Ontario   Mississauga
 NPME     ROAD TRAILER     RTL‐TA   NPME54112     2007   WABSH   1JJV532W47L029401             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME54113     2006   WABSH   1JJV532W26L971476             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME54114     2006   WABSH   1JJV532W46L971544             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME54115     2006   WABSH   1JJV532W36L971504             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME54116     2006   WABSH   1JJV532W86L971465             RI        Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME54117     2006   WABSH   1JJV532W06L971475             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME54118     2006   WABSH   1JJV532W86L971501             OK        Tulsa
 NPME     ROAD TRAILER     RTL‐TA   NPME54119     2005   GRTDN   1GRAA06295D410182             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME54121     2005   GRTDN   1GRAA06275D410214             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME54124     2005   GRTDN   1GRAA062X5D410191             NJ        Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME54125     2005   GRTDN   1GRAA06235D411778             MD        Hagerstown
 NPME     ROAD TRAILER     RTL‐TA   NPME54126     2005   GRTDN   1GRAA062X5D410160             NY        Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME54127     2005   GRTDN   1GRAA06265D410236             MD        Hagerstown
 NPME     ROAD TRAILER     RTL‐TA   NPME54128     2005   GRTDN   1GRAA06265D411757             PA        Milton
 NPME     ROAD TRAILER     RTL‐TA   NPME54130     2006   GRTDN   1GRAA06256D414134             NY        Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME54131     2006   GRTDN   1GRAA06206J612394             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME54132     2006   GRTDN   1GRAA06226J612400             PA        Mountain Top
 NPME     ROAD TRAILER     RTL‐TA   NPME54133     2006   GRTDN   1GRAA06286J612515             CT        Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME6446      1998   STRCK   1S12S8451WD433765             OH        Akron
 NPME     ROAD TRAILER     RTL‐TA   NPME6561      1998   WABSH   1JJV452WXWL512047             NY        Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME6585      1998   WABSH   1JJV452W7WL512071             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME6649      1999   WABSH   1JJV452W5XL512135             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6654      1999   WABSH   1JJV452W9XL512140             NY        Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME6689      2000   STRCK   1S12S8452YD453302             OH        Copley
 NPME     ROAD TRAILER     RTL‐TA   NPME6701      2000   STRCK   1S12S8459YD453314             NC        Charlotte
 NPME     ROAD TRAILER     RTL‐TA   NPME6717      2000   STRCK   1S12S8452YD461979             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6719      2000   STRCK   1S12S8450YD461981             PA        Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME6733      2000   STRCK   1S12S8450YD461995             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME6747      2000   STRCK   1S12S8455YD462009             NY        Elmira
 NPME     ROAD TRAILER     RTL‐TA   NPME6756      2000   STRCK   1S12S8456YD462018             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6757      2000   STRCK   1S12S8458YD462019             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6758      2000   STRCK   1S12S8454YD462020             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME6766      2000   STRCK   1S12S8459YD462028             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6775      2000   STRCK   1S12S845XYD462037             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME6778      2000   STRCK   1S12S845XYD462040             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME6780      2000   STRCK   1S12S8453YD462042             VT        Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME6784      2000   STRCK   1S12S8450YD462046             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME6798      2000   STRCK   1S12S8455YD462060             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME6802      2000   STRCK   1S12S8452YD462064             NJ        Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME6810      2000   STRCK   1S12S8451YD462072             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME6818      2000   STRCK   1S12S8453YD463448             NY        Brooklyn
 NPME     ROAD TRAILER     RTL‐TA   NPME6820      2000   STRCK   1S12S8451YD463450             NY        Tonawanda
 NPME     ROAD TRAILER     RTL‐TA   NPME6822      2000   STRCK   1S12S8455YD463452             IL        Joliet
 NPME     ROAD TRAILER     RTL‐TA   NPME6823      2000   STRCK   1S12S8457YD463453             VA        Richmond
 NPME     ROAD TRAILER     RTL‐TA   NPME6826      2000   STRCK   1S12S8452YD463456             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME6827      2000   STRCK   1S12S8454YD463457             PA        Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6831      2000   STRCK   1S12S8456YD463461             NJ        Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME6837      2000   STRCK   1S12S8457YD463467             MA        North Billerica
 NPME     ROAD TRAILER     RTL‐TA   NPME6851      2000   STRCK   1S12S8451YD463481             NC        Charlotte
 NPME     ROAD TRAILER     RTL‐TA   NPME6879      2003   WABSH   1JJV452W23L829297             VT        Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME6881      2003   WABSH   1JJV452W63L829299             PA        Dunmore
 NPME     ROAD TRAILER     RTL‐TA   NPME6882      2003   WABSH   1JJV452W93L829300             MD        Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME6884      2003   WABSH   1JJV452W23L829302             PA        Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME6886      2003   WABSH   1JJV452W63L829304             MD        Elkridge
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 225 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRAILER     RTL‐TA   NPME6888      2003   WABSH   1JJV452WX3L829306             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME6890      2003   WABSH   1JJV452W33L829308             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME6891      2003   WABSH   1JJV452W53L829309             PA      Bethlehem
 NPME     ROAD TRAILER     RTL‐TA   NPME6892      2003   WABSH   1JJV452W13L829310             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6894      2003   WABSH   1JJV452W53L829312             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME6898      2003   WABSH   1JJV452W23L829316             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6902      2003   WABSH   1JJV452W43L829320             OH      Akron
 NPME     ROAD TRAILER     RTL‐TA   NPME6909      2003   WABSH   1JJV452W73L829327             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME6910      2004   TRLMB   2MN031AJ141003700             VT      Williston
 NPME     ROAD TRAILER     RTL‐TA   NPME6911      2004   TRLMB   2MN031AJ341003701             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME6912      2004   TRLMB   2MN031AJ541003702             NY      Williamsville
 NPME     ROAD TRAILER     RTL‐TA   NPME6913      2004   TRLMB   2MN031AJ741003703             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME6914      2004   TRLMB   2MN031AJ941003704             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME6915      2004   TRLMB   2MN031AJ041003705             NY      Maspeth
 NPME     ROAD TRAILER     RTL‐TA   NPME6916      2004   TRLMB   2MN031AJ241003706             NY      Glenmont
 NPME     ROAD TRAILER     RTL‐TA   NPME6917      2004   TRLMB   2MN031AJ441003707             NY      East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME6918      2004   TRLMB   2MN031AJ641003708             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME6919      2004   TRLMB   2MN031AJ841003709             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME6920      2004   TRLMB   2MN031AJ441003710             SC      Piedmont
 NPME     ROAD TRAILER     RTL‐TA   NPME6922      2004   TRLMB   2MN031AJ841003712             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME6923      2004   TRLMB   2MN031AJX41003713             OH      Copley
 NPME     ROAD TRAILER     RTL‐TA   NPME6925      2004   TRLMB   2MN031AJ341003715             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME6926      2004   TRLMB   2MN031AJ541003716             IL      Wheeling
 NPME     ROAD TRAILER     RTL‐TA   NPME6927      2004   TRLMB   2MN031AJ741003717             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME6928      2004   TRLMB   2MN031AJ941003718             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME6929      2004   TRLMB   2MN031AJ041003719             IL      Rockford
 NPME     ROAD TRAILER     RTL‐TA   NPME6930      2004   TRLMB   2MN031AJ741003720             CT      Plantsville
 NPME     ROAD TRAILER     RTL‐TA   NPME6931      2004   TRLMB   2MN031AJ941003721             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME6933      2004   TRLMB   2MN031AJ241003723             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6934      2004   TRLMB   2MN031AJ441003724             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME6935      2004   TRLMB   2MN031AJ641003725             NJ      Cinnaminson
 NPME     ROAD TRAILER     RTL‐TA   NPME6936      2004   TRLMB   2MN031AJ841003726             KS      Kansas City
 NPME     ROAD TRAILER     RTL‐TA   NPME6937      2004   TRLMB   2MN031AJX41003727             NY      East Syracuse
 NPME     ROAD TRAILER     RTL‐TA   NPME6938      2004   TRLMB   2MN031AJ141003728             MA      West Springfield
 NPME     ROAD TRAILER     RTL‐TA   NPME6939      2004   TRLMB   2MN031AJ341003729             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME6940      2004   TRLMB   2MN031AJX41003730             NY      Maybrook
 NPME     ROAD TRAILER     RTL‐TA   NPME6941      2004   TRLMB   2MN031AJ141003731             NJ      Kearny
 NPME     ROAD TRAILER     RTL‐TA   NPME6942      2004   TRLMB   2MN031AJ341003732             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6943      2004   TRLMB   2MN031AJ541003733             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME6944      2004   TRLMB   2MN031AJ741003734             MD      Baltimore
 NPME     ROAD TRAILER     RTL‐TA   NPME6945      2004   TRLMB   2MN031AJ941003735             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6946      2004   TRLMB   2MN031AJ041003736             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6947      2004   TRLMB   2MN031AJ241003737             PA      Neville Island
 NPME     ROAD TRAILER     RTL‐TA   NPME6948      2004   TRLMB   2MN031AJ441003738             IL      Joliet
 NPME     ROAD TRAILER     RTL‐TA   NPME6949      2004   TRLMB   2MN031AJ641003739             PA      Reading
 NPME     ROAD TRAILER     RTL‐TA   NPME6950      2004   TRLMB   2MN031AJ241003740             OH      Copley
 NPME     ROAD TRAILER     RTL‐TA   NPME6951      2004   TRLMB   2MN031AJ441003741             PA      Camp Hill
 NPME     ROAD TRAILER     RTL‐TA   NPME6952      2004   TRLMB   2MN031AJ641003742             MD      Elkridge
 NPME     ROAD TRAILER     RTL‐TA   NPME6953      2004   TRLMB   2MN031AJ841003743             RI      Cranston
 NPME     ROAD TRAILER     RTL‐TA   NPME6954      2004   TRLMB   2MN031AJX41003744             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME6955      2004   TRLMB   2MN031AJ141003745             NJ      Mercerville
 NPME     ROAD TRAILER     RTL‐TA   NPME6956      2004   TRLMB   2MN031AJ341003746             PA      Carlisle
 NPME     ROAD TRAILER     RTL‐TA   NPME6957      2004   TRLMB   2MN031AJ541003747             NY      Rochester
 NPME     ROAD TRAILER     RTL‐TA   NPME6958      2004   TRLMB   2MN031AJ741003748             MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME10073     2005   INTL    2HSCDAHN95C003848   9200I     NY      Maspeth
 NPME     ROAD TRACTOR     RTR‐SA   NPME10075     2022   VOLVO   4V4W19EG1NN308472   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME10077     2022   VOLVO   4V4W19EG5NN308474   VNR42T    VT      Williston
 NPME     ROAD TRACTOR     RTR‐SA   NPME10078     2022   VOLVO   4V4W19EG7NN308475   VNR42T    NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME10080     2022   VOLVO   4V4W19EG0NN308477   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME10084     2022   VOLVO   4V4W19EG2NN308481   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME10085     2022   VOLVO   4V4W19EG4NN308482   VNR42T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME10086     2022   VOLVO   4V4W19EG6NN308483   VNR42T    NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME10087     2022   VOLVO   4V4W19EGXNN308485   VNR42T    NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME10088     2022   VOLVO   4V4W19EG1NN308486   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME10089     2022   VOLVO   4V4W19EG3NN308487   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME10090     2022   VOLVO   4V4W19EG7NN308489   VNR42T    MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME10091     2022   VOLVO   4V4W19EG3NN308490   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME10092     2022   VOLVO   4V4W19EG5NN308491   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME10093     2022   VOLVO   4V4W19EG7NN308492   VNR42T    NJ      Mercerville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 226 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRACTOR     RTR‐SA   NPME10094     2022   VOLVO   4V4W19EG2NN308495   VNR42T    NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME10095     2022   VOLVO   4V4W19EGXNN308499   VNR42T    NY      Maspeth
 NPME     ROAD TRACTOR     RTR‐SA   NPME10096     2022   VOLVO   4V4W19EG6NN308502   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME1739      2017   MACK    1M1AW01Y5HM010180   CXU612    NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1740      2017   MACK    1M1AW01Y7HM010181   CXU612    NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1749      2017   MACK    1M1AW01Y8HM010190   CXU612    NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1769      2020   PTRBL   1XPBAK8X0LD661073   579       RI      Cumberland
 NPME     ROAD TRACTOR     RTR‐SA   NPME1771      2021   PTRBL   1XPBAP8X8MD758553   579       NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1772      2021   PTRBL   1XPBAP8XXMD758554   579       NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1773      2021   PTRBL   1XPBAP8X1MD758555   579       NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1774      2021   PTRBL   1XPBAP8X3MD758556   579       CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1777      2021   PTRBL   1XPBAP8X9MD758559   579       VT      Williston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1778      2021   PTRBL   1XPBAP8X5MD758560   579       RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1779      2021   PTRBL   1XPBAP8X7MD758561   579       VT      Williston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1780      2021   PTRBL   1XPBAP8X9MD758562   579       MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME1781      2021   PTRBL   1XPBAP8X0MD758563   579       NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME1782      2021   PTRBL   1XPBAP8X2MD758564   579       NY      Rochester
 NPME     ROAD TRACTOR     RTR‐SA   NPME1784      2021   PTRBL   1XPBAP8X6MD758566   579       RI      Cumberland
 NPME     ROAD TRACTOR     RTR‐SA   NPME1785      2021   PTRBL   1XPBAP8X8MD758567   579       NY      Rochester
 NPME     ROAD TRACTOR     RTR‐SA   NPME1786      2021   PTRBL   1XPBAP8XXMD758568   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1787      2021   PTRBL   1XPBAP8X1MD758569   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1788      2021   PTRBL   1XPBAP8X8MD758570   579       PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME1793      2021   PTRBL   1XPBAP8X7MD758575   579       NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1796      2021   PTRBL   1XPBAP8X2MD758578   579       NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1799      2021   PTRBL   1XPBAP8X2MD758581   579       MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME1800      2021   PTRBL   1XPBAP8X4MD758582   579       MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME1804      2022   PTRBL   1XPBAP8XXND758586   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1805      2022   PTRBL   1XPBAP8X1ND758587   579       NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1806      2022   PTRBL   1XPBAP8X3ND758588   579       PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME1808      2022   PTRBL   1XPBAP8X1ND758590   579       NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1812      2022   PTRBL   1XPBAP8X9ND758594   579       CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1813      2022   PTRBL   1XPBAP8X0ND758595   579       CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1814      2022   PTRBL   1XPBAP8X2ND758596   579       CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1815      2022   PTRBL   1XPBAP8X4ND758597   579       CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1819      2022   PTRBL   1XPBAP8X2ND758601   579       NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1822      2022   PTRBL   1XPBAP8X8ND758604   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1823      2022   PTRBL   1XPBAP8XXND758605   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1824      2022   PTRBL   1XPBAP8X1ND758606   579       MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME1826      2022   PTRBL   1XPBAP8X5ND758608   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1827      2022   PTRBL   1XPBAP8X7ND758609   579       NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1828      2022   PTRBL   1XPBAP8X3ND758610   579       PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME1830      2022   PTRBL   1XPBAP8X7ND758612   579       NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1831      2022   PTRBL   1XPBAP8X9ND758613   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1832      2022   PTRBL   1XPBAP8X0ND758614   579       NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1833      2022   PTRBL   1XPBAP8X2ND758615   579       RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1835      2022   PTRBL   1XPBAP8X6ND758617   579       NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1836      2022   PTRBL   1XPBAP8X8ND758618   579       NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1837      2022   PTRBL   1XPBAP8XXND758619   579       NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1838      2022   PTRBL   1XPBAP8X6ND758620   579       NY      Rochester
 NPME     ROAD TRACTOR     RTR‐SA   NPME1839      2022   PTRBL   1XPBAP8X8ND758621   579       RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1840      2022   PTRBL   1XPBAP8XXND758622   579       NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1841      2022   PTRBL   1XPBAP8X1ND758623   579       NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1843      2022   PTRBL   1XPBAP8X5ND758625   579       NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1844      2022   PTRBL   1XPBAP8X7ND758626   579       NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1846      2022   PTRBL   1XPBAP8X0ND758628   579       PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME1847      2022   PTRBL   1XPBAP8X2ND758629   579       NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME1848      2022   PTRBL   1XPBAP8X9ND758630   579       NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME1852      2022   PTRBL   1XPBAP8X6ND758634   579       PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME1853      2022   PTRBL   1XPBAP8X8ND758635   579       PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME1854      2022   PTRBL   1XPBAP8XXND758636   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1857      2022   PTRBL   1XPBAP8X5ND758639   579       MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME1858      2022   PTRBL   1XPBAP8X1ND758640   579       PA      McKees Rocks
 NPME     ROAD TRACTOR     RTR‐SA   NPME1860      2022   PTRBL   1XPBAP8X5ND758642   579       NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1861      2022   PTRBL   1XPBAP8X7ND758643   579       PA      McKees Rocks
 NPME     ROAD TRACTOR     RTR‐SA   NPME1862      2022   PTRBL   1XPBAP8X9ND758644   579       PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME1863      2022   PTRBL   1XPBAP8X0ND758645   579       MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME1864      2022   PTRBL   1XPBAP8X2ND758646   579       PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1865      2022   PTRBL   1XPBAP8X4ND758647   579       NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1868      2022   PTRBL   1XPBAP8X4ND758650   579       RI      Cranston
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 227 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRACTOR     RTR‐SA   NPME1869     2022   PTRBL   1XPBAP8X6ND758651   579       NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1870     2022   PTRBL   1XPBAP8X8ND758652   579       RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1872     2022   PTRBL   1XPBAP8X1ND758654   579       VT      Williston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1873     2022   PTRBL   1XPBAP8X3ND758655   579       VT      Williston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1874     2020   PTRBL   1XPBAP8X5ND758656   579       NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1875     2022   PTRBL   1XPBAP8X7ND758657   579       NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1876     2022   PTRBL   1XPBAP8X9ND758658   579       RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1877     2022   PTRBL   1XPBAP8X0ND758659   579       NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1878     2022   PTRBL   1XPBAP8X7ND758660   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1879     2022   PTRBL   1XPBAP8X9ND758661   579       VT      Williston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1880     2022   PTRBL   1XPBAP8X0ND758662   579       PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME1881     2022   PTRBL   1XPBAP8X2ND758663   579       PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME1883     2022   PTRBL   1XPBAP8X6ND758665   579       PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME1885     2022   PTRBL   1XPBAP8XXND758667   579       PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME1886     2022   PTRBL   1XPBAP8X1ND758668   579       PA      McKees Rocks
 NPME     ROAD TRACTOR     RTR‐SA   NPME1887     2022   PTRBL   1XPBAP8X3ND758669   579       PA      McKees Rocks
 NPME     ROAD TRACTOR     RTR‐SA   NPME1888     2022   PTRBL   1XPBAP8XXND758670   579       PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME1889     2022   PTRBL   1XPBAP8X1ND758671   579       PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME1890     2022   PTRBL   1XPBAP8X3ND758672   579       NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1891     2022   PTRBL   1XPBAP8X5ND758673   579       NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1892     2022   PTRBL   1XPBAP8X7ND758674   579       PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME1894     2022   PTRBL   1XPBAP8X0ND758676   579       NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1897     2022   PTRBL   1XPBAP8X6ND758679   579       NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1898     2022   PTRBL   1XPBAP8X2ND758680   579       NY      Rochester
 NPME     ROAD TRACTOR     RTR‐SA   NPME1900     2022   VOLVO   4V4W19EG6NN285853   VNR42T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME1901     2022   VOLVO   4V4W19EG8NN285854   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME1902     2022   VOLVO   4V4W19EGXNN285855   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME1903     2022   VOLVO   4V4W19EG1NN285856   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME1905     2022   VOLVO   4V4W19EG5NN285858   VNR42T    PA      McKees Rocks
 NPME     ROAD TRACTOR     RTR‐SA   NPME1906     2022   VOLVO   4V4W19EG7NN285859   VNR42T    PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME1907     2022   VOLVO   4V4W19EG3NN285860   VNR42T    PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME1908     2022   VOLVO   4V4W19EG5NN285861   VNR42T    PA      McKees Rocks
 NPME     ROAD TRACTOR     RTR‐SA   NPME1909     2022   VOLVO   4V4W19EG7NN285862   VNR42T    PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME1910     2022   VOLVO   4V4W19EG9NN285863   VNR42T    MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME1911     2022   VOLVO   4V4W19EG0NN285864   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1912     2022   VOLVO   4V4W19EG2NN285865   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1913     2022   VOLVO   4V4W19EG4NN285866   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1914     2022   VOLVO   4V4W19EG6NN285867   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1915     2022   VOLVO   4V4W19EG8NN285868   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1916     2022   VOLVO   4V4W19EGXNN285869   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME1917     2022   VOLVO   4V4W19EG6NN285870   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME1918     2022   VOLVO   4V4W19EG8NN285871   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1919     2022   VOLVO   4V4W19EGXNN285872   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1920     2022   VOLVO   4V4W19EG1NN285873   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1921     2022   VOLVO   4V4W19EG3NN285874   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1922     2022   VOLVO   4V4W19EG5NN285875   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1923     2022   VOLVO   4V4W19EG7NN285876   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1924     2022   VOLVO   4V4W19EG9NN285877   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1925     2022   VOLVO   4V4W19EG0NN285878   VNR42T    NY      Rochester
 NPME     ROAD TRACTOR     RTR‐SA   NPME1926     2022   VOLVO   4V4W19EG2NN285879   VNR42T    NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1927     2022   VOLVO   4V4W19EG9NN285880   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME1928     2022   VOLVO   4V4W19EG0NN285881   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1929     2022   VOLVO   4V4W19EG2NN285882   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1930     2022   VOLVO   4V4W19EG4NN285883   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME1931     2022   VOLVO   4V4W19EG6NN285884   VNR42T    NY      Maspeth
 NPME     ROAD TRACTOR     RTR‐SA   NPME1932     2022   VOLVO   4V4W19EG8NN285885   VNR42T    VT      Williston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1933     2022   VOLVO   4V4W19EGXNN285886   VNR42T    VT      Williston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1934     2022   VOLVO   4V4W19EG1NN285887   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME1935     2022   VOLVO   4V4W19EG3NN285888   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME1936     2022   VOLVO   4V4W19EG5NN285889   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1937     2022   VOLVO   4V4W19EG1NN285890   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1938     2022   VOLVO   4V4W19EG3NN285891   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1939     2022   VOLVO   4V4W19EG5NN285892   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1940     2022   VOLVO   4V4W19EG7NN285893   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1941     2022   VOLVO   4V4W19EG9NN285894   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1942     2022   VOLVO   4V4W19EG0NN285895   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1943     2022   VOLVO   4V4W19EG2NN285896   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1944     2022   VOLVO   4V4W19EG4NN285897   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1945     2022   VOLVO   4V4W19EG6NN285898   VNR42T    RI      Cranston
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 228 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRACTOR     RTR‐SA   NPME1946     2022   VOLVO   4V4W19EG8NN285899   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1947     2022   VOLVO   4V4W19EG0NN285900   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1948     2022   VOLVO   4V4W19EG2NN285901   VNR42T    NJ      Kearny
 NPME     ROAD TRACTOR     RTR‐SA   NPME1949     2022   VOLVO   4V4W19EG4NN285902   VNR42T    NJ      Kearny
 NPME     ROAD TRACTOR     RTR‐SA   NPME1950     2022   VOLVO   4V4W19EG6NN285903   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME1951     2022   VOLVO   4V4W19EG8NN285904   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME1952     2022   VOLVO   4V4W19EGXNN285905   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME1953     2022   VOLVO   4V4W19EG1NN285906   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME1954     2022   VOLVO   4V4W19EG3NN285907   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME1956     2022   VOLVO   4V4W19EG7NN285909   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1957     2022   VOLVO   4V4W19EG3NN285910   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME1958     2022   VOLVO   4V4W19EG5NN285911   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1959     2022   VOLVO   4V4W19EG7NN285912   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1960     2022   VOLVO   4V4W19EG9NN285913   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME1961     2022   VOLVO   4V4W19EG0NN285914   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME1962     2022   VOLVO   4V4W19EG2NN285915   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME1963     2022   VOLVO   4V4W19EG4NN285916   VNR42T    NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1964     2022   VOLVO   4V4W19EG6NN285917   VNR42T    NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME1966     2022   VOLVO   4V4W19EGXNN285919   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1967     2022   VOLVO   4V4W19EG6NN285920   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME1968     2022   VOLVO   4V4W19EG8NN285921   VNR42T    NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1969     2022   VOLVO   4V4W19EGXNN285922   VNR42T    NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME1970     2022   VOLVO   4V4W19EG1NN285923   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME1971     2022   VOLVO   4V4W19EG3NN285924   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME1973     2022   VOLVO   4V4W19EG7NN285926   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME1975     2022   VOLVO   4V4W19EG0NN285928   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME1978     2022   VOLVO   4V4W19EG0NN285931   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1979     2022   VOLVO   4V4W19EG2NN285932   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1980     2022   VOLVO   4V4W19EG4NN285933   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1981     2022   VOLVO   4V4W19EG6NN285934   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1982     2022   VOLVO   4V4W19EG8NN285935   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME1983     2022   VOLVO   4V4W19EGXNN285936   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1984     2022   VOLVO   4V4W19EG1NN285937   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1985     2022   VOLVO   4V4W19EG3NN285938   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1986     2022   VOLVO   4V4W19EG5NN285939   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1987     2022   VOLVO   4V4W19EG1NN285940   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1988     2022   VOLVO   4V4W19EG3NN285941   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1989     2022   VOLVO   4V4W19EG5NN285942   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME1990     2022   VOLVO   4V4W19EG7NN285943   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1991     2022   VOLVO   4V4W19EG9NN285944   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1992     2022   VOLVO   4V4W19EG0NN285945   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1993     2022   VOLVO   4V4W19EG2NN285946   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1994     2022   VOLVO   4V4W19EG4NN285947   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1995     2022   VOLVO   4V4W19EG6NN285948   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME1996     2022   VOLVO   4V4W19EG8NN285949   VNR42T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME1997     2022   VOLVO   4V4W19EG4NN285950   VNR42T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME1998     2022   VOLVO   4V4W19EG6NN285951   VNR42T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME1999     2022   VOLVO   4V4W19EG8NN285952   VNR42T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐SA   NPME2000     2022   VOLVO   4V4W19EGXNN285953   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2001     2022   VOLVO   4V4W19EG1NN285954   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2002     2022   VOLVO   4V4W19EG3NN285955   VNR42T    PA      Carlisle
 NPME     ROAD TRACTOR     RTR‐SA   NPME2004     2022   VOLVO   4V4W19EG7NN285957   VNR42T    NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2005     2022   VOLVO   4V4W19EG9NN285958   VNR42T    NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2009     2022   VOLVO   4V4W19EG0NN285962   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME2010     2022   VOLVO   4V4W19EG2NN285963   VNR42T    ME      Fairfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME2011     2022   VOLVO   4V4W19EG4NN285964   VNR42T    NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME2012     2022   VOLVO   4V4W19EG6NN285965   VNR42T    NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐SA   NPME2013     2022   VOLVO   4V4W19EG8NN285966   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2014     2022   VOLVO   4V4W19EGXNN285967   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2015     2022   VOLVO   4V4W19EG1NN285968   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME2017     2022   VOLVO   4V4W19EGXNN285970   VNR42T    NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME2018     2022   VOLVO   4V4W19EG1NN285971   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2019     2022   VOLVO   4V4W19EG3NN285972   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2020     2022   VOLVO   4V4W19EG5NN285973   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2021     2022   VOLVO   4V4W19EG7NN285974   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2022     2022   VOLVO   4V4W19EG9NN285975   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2023     2022   VOLVO   4V4W19EG0NN285976   VNR42T    MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME2024     2022   VOLVO   4V4W19EG2NN285977   VNR42T    NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2025     2022   VOLVO   4V4W19EG4NN285978   VNR42T    PA      Altoona
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 229 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRACTOR     RTR‐SA   NPME2026     2022   VOLVO   4V4W19EG6NN285979   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME2027     2022   VOLVO   4V4W19EG2NN285980   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME2029     2022   VOLVO   4V4W19EG6NN285982   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME2030     2022   VOLVO   4V4W19EG8NN285983   VNR42T    PA      Du Bois
 NPME     ROAD TRACTOR     RTR‐SA   NPME2032     2022   VOLVO   4V4W19EG1NN285985   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME2034     2022   VOLVO   4V4W19EG5NN285987   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2035     2022   VOLVO   4V4W19EG7NN285988   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME2036     2022   VOLVO   4V4W19EG9NN285989   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME2037     2022   VOLVO   4V4W19EG5NN285990   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME2038     2022   VOLVO   4V4W19EG7NN285991   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME2039     2022   VOLVO   4V4W19EG9NN285992   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME2041     2022   VOLVO   4V4W19EG2NN285994   VNR42T    PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME2042     2022   VOLVO   4V4W19EG4NN285995   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME2044     2022   VOLVO   4V4W19EG8NN285997   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2045     2022   VOLVO   4V4W19EGXNN285998   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME2046     2022   VOLVO   4V4W19EG1NN285999   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME2047     2022   VOLVO   4V4W19EG2NN286000   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2048     2022   VOLVO   4V4W19EG4NN286001   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2049     2022   VOLVO   4V4W19EG6NN286002   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2050     2022   VOLVO   4V4W19EG8NN286003   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2051     2022   VOLVO   4V4W19EGXNN286004   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2052     2022   VOLVO   4V4W19EG1NN286005   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2053     2022   VOLVO   4V4W19EG3NN286006   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2054     2022   VOLVO   4V4W19EG5NN286007   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2055     2022   VOLVO   4V4W19EG7NN286008   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2056     2022   VOLVO   4V4W19EG9NN286009   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2057     2022   VOLVO   4V4W19EG5NN286010   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2058     2022   VOLVO   4V4W19EG7NN286011   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2059     2022   VOLVO   4V4W19EG9NN286012   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2060     2022   VOLVO   4V4W19EG0NN286013   VNR42T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2061     2022   VOLVO   4V4W19EG2NN286014   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME2062     2022   VOLVO   4V4W19EG4NN286015   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME2063     2022   VOLVO   4V4W19EG6NN286016   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME2064     2022   VOLVO   4V4W19EG8NN286017   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME2065     2022   VOLVO   4V4W19EGXNN286018   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME2066     2022   VOLVO   4V4W19EG1NN286019   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME2067     2022   VOLVO   4V4W19EG8NN286020   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME2068     2022   VOLVO   4V4W19EGXNN286021   VNR42T    MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME2069     2022   VOLVO   4V4W19EG1NN286022   VNR42T    MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME2071     2022   VOLVO   4V4W19EG5NN286024   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME2072     2022   VOLVO   4V4W19EG7NN286025   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME2073     2022   VOLVO   4V4W19EG9NN286026   VNR42T    NJ      Kearny
 NPME     ROAD TRACTOR     RTR‐SA   NPME2074     2022   VOLVO   4V4W19EG0NN286027   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME2075     2022   VOLVO   4V4W19EG2NN286028   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME2076     2022   VOLVO   4V4W19EG4NN286029   VNR42T    PA      Milton
 NPME     ROAD TRACTOR     RTR‐SA   NPME2077     2022   VOLVO   4V4W19EG4NN308448   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2078     2022   VOLVO   4V4W19EG6NN308449   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2079     2022   VOLVO   4V4W19EG2NN308450   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2080     2022   VOLVO   4V4W19EG4NN308451   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2081     2022   VOLVO   4V4W19EG6NN308452   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2082     2022   VOLVO   4V4W19EG8NN308453   VNR42T    PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐SA   NPME2083     2022   VOLVO   4V4W19EGXNN308454   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2084     2022   VOLVO   4V4W19EG1NN308455   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2085     2022   VOLVO   4V4W19EG3NN308456   VNR42T    NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME2086     2022   VOLVO   4V4W19EG5NN308457   VNR42T    MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME2087     2022   VOLVO   4V4W19EG7NN308458   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME2088     2022   VOLVO   4V4W19EG9NN308459   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2089     2022   VOLVO   4V4W19EG5NN308460   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME2090     2022   VOLVO   4V4W19EG7NN308461   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME2091     2022   VOLVO   4V4W19EG9NN308462   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME2093     2022   VOLVO   4V4W19EG2NN308464   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2094     2022   VOLVO   4V4W19EG4NN308465   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2095     2022   VOLVO   4V4W19EG6NN308466   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME2096     2022   VOLVO   4V4W19EG8NN308467   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2097     2022   VOLVO   4V4W19EGXNN308468   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2098     2022   VOLVO   4V4W19EG1NN308469   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2099     2022   VOLVO   4V4W19EG8NN308470   VNR42T    NJ      Kearny
 NPME     ROAD TRACTOR     RTR‐SA   NPME2113     2022   VOLVO   4V4W19EG8NN308484   VNR42T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐SA   NPME2117     2022   VOLVO   4V4W19EG5NN308488   VNR42T    NY      East Syracuse
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 230 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRACTOR     RTR‐SA   NPME2122     2022   VOLVO   4V4W19EG9NN308493   VNR42T    NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐SA   NPME2123     2022   VOLVO   4V4W19EG0NN308494   VNR42T    MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME2125     2022   VOLVO   4V4W19EG4NN308496   VNR42T    ME      Westbrook
 NPME     ROAD TRACTOR     RTR‐SA   NPME2126     2022   VOLVO   4V4W19EG6NN308497   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME2127     2022   VOLVO   4V4W19EG8NN308498   VNR42T    RI      Cranston
 NPME     ROAD TRACTOR     RTR‐SA   NPME2129     2022   VOLVO   4V4W19EG2NN308500   VNR42T    NY      Maspeth
 NPME     ROAD TRACTOR     RTR‐SA   NPME2130     2022   VOLVO   4V4W19EG4NN308501   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2133     2022   VOLVO   4V4W19EGXNN308504   VNR42T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐SA   NPME2134     2022   VOLVO   4V4W19EG1NN308505   VNR42T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐SA   NPME2135     2022   VOLVO   4V4W19EG3NN308506   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2136     2022   VOLVO   4V4W19EG5NN308507   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2137     2022   VOLVO   4V4W19EG7NN308508   VNR42T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐SA   NPME2138     2022   VOLVO   4V4W19EG9NN308509   VNR42T    PA      Du Bois
 NPME     ROAD TRACTOR     RTR‐SA   NPME2140     2022   VOLVO   4V4W19EG7NN308511   VNR42T    NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐SA   NPME2141     2022   VOLVO   4V4W19EG9NN308512   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2142     2022   VOLVO   4V4W19EG0NN308513   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2143     2022   VOLVO   4V4W19EG2NN308514   VNR42T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐SA   NPME2144     2022   VOLVO   4V4W19EG4NN308515   VNR42T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐SA   NPME2146     2022   VOLVO   4V4W19EG8NN308517   VNR42T    MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME2147     2022   VOLVO   4V4W19EGXNN308518   VNR42T    MA      West Springfield
 NPME     ROAD TRACTOR     RTR‐SA   NPME2149     2022   VOLVO   4V4W19EG4NN285852   VNR42T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐TA   NPME111      2014   FRGHT   1FUJGBDVXELFV9154   CA113DC   NY      Maybrook
 NPME     ROAD TRACTOR     RTR‐TA   NPME114      2014   FRGHT   1FUJGBDV5ELFV9157   CA113DC   RI      Cumberland
 NPME     ROAD TRACTOR     RTR‐TA   NPME130      2017   MACK    1M1AW02Y4HM084222   CXU613    NY      Maspeth
 NPME     ROAD TRACTOR     RTR‐TA   NPME133      2017   MACK    1M1AW02YXHM084225   CXU613    NY      East Syracuse
 NPME     ROAD TRACTOR     RTR‐TA   NPME136      2017   MACK    1M1AW02Y5HM084228   CXU613    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐TA   NPME137      2017   MACK    1M1AW02Y7HM084229   CXU613    PA      Du Bois
 NPME     ROAD TRACTOR     RTR‐TA   NPME140      2017   MACK    1M1AW02Y7HM084232   CXU613    VT      Williston
 NPME     ROAD TRACTOR     RTR‐TA   NPME146      2017   MACK    1M1AW02Y8HM084238   CXU613    NJ      Kearny
 NPME     ROAD TRACTOR     RTR‐TA   NPME148      2017   MACK    1M1AW02Y6HM084240   CXU613    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐TA   NPME700      2022   VOLVO   4V4WC9EG2NN286136   VNR64T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐TA   NPME701      2022   VOLVO   4V4WC9EG4NN286137   VNR64T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐TA   NPME702      2022   VOLVO   4V4WC9EG6NN286138   VNR64T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐TA   NPME703      2022   VOLVO   4V4WC9EG8NN286139   VNR64T    PA      Reading
 NPME     ROAD TRACTOR     RTR‐TA   NPME704      2022   VOLVO   4V4WC9EG4NN286140   VNR64T    NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐TA   NPME705      2022   VOLVO   4V4WC9EG6NN286141   VNR64T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐TA   NPME706      2022   VOLVO   4V4WC9EG8NN286142   VNR64T    PA      Altoona
 NPME     ROAD TRACTOR     RTR‐TA   NPME707      2022   VOLVO   4V4WC9EGXNN286143   VNR64T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐TA   NPME708      2022   VOLVO   4V4WC9EG1NN286144   VNR64T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐TA   NPME709      2022   VOLVO   4V4WC9EG3NN286145   VNR64T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐TA   NPME710      2022   VOLVO   4V4WC9EG5NN286146   VNR64T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐TA   NPME711      2022   VOLVO   4V4WC9EG7NN286147   VNR64T    PA      McKees Rocks
 NPME     ROAD TRACTOR     RTR‐TA   NPME712      2022   VOLVO   4V4WC9EG9NN286148   VNR64T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐TA   NPME713      2022   VOLVO   4V4WC9EG0NN286149   VNR64T    MD      Elkridge
 NPME     ROAD TRACTOR     RTR‐TA   NPME714      2022   VOLVO   4V4WC9EG7NN286150   VNR64T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐TA   NPME715      2022   VOLVO   4V4WC9EG9NN286151   VNR64T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐TA   NPME716      2022   VOLVO   4V4WC9EG0NN286152   VNR64T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐TA   NPME717      2022   VOLVO   4V4WC9EG2NN286153   VNR64T    NY      Glenmont
 NPME     ROAD TRACTOR     RTR‐TA   NPME718      2022   VOLVO   4V4WC9EG4NN286154   VNR64T    CT      Plantsville
 NPME     ROAD TRACTOR     RTR‐TA   NPME719      2022   VOLVO   4V4WC9EG1NN291456   VNR64T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐TA   NPME720      2022   VOLVO   4V4WC9EG3NN291457   VNR64T    PA      Dunmore
 NPME     ROAD TRACTOR     RTR‐TA   NPME721      2022   VOLVO   4V4WC9EG5NN291458   VNR64T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐TA   NPME722      2022   VOLVO   4V4WC9EG7NN291459   VNR64T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐TA   NPME723      2022   VOLVO   4V4WC9EG3NN291460   VNR64T    VT      Williston
 NPME     ROAD TRACTOR     RTR‐TA   NPME724      2022   VOLVO   4V4WC9EG5NN291461   VNR64T    NY      Rochester
 NPME     ROAD TRACTOR     RTR‐TA   NPME725      2022   VOLVO   4V4WC9EG7NN291462   VNR64T    PA      Neville Island
 NPME     ROAD TRACTOR     RTR‐TA   NPME726      2022   VOLVO   4V4WC9EG9NN291463   VNR64T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐TA   NPME727      2022   VOLVO   4V4WC9EG0NN291464   VNR64T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐TA   NPME728      2022   VOLVO   4V4WC9EG2NN291465   VNR64T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐TA   NPME729      2022   VOLVO   4V4WC9EG4NN291466   VNR64T    NY      Maspeth
 NPME     ROAD TRACTOR     RTR‐TA   NPME730      2022   VOLVO   4V4WC9EG6NN291467   VNR64T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐TA   NPME731      2022   VOLVO   4V4WC9EG8NN291468   VNR64     RI      Cranston
 NPME     ROAD TRACTOR     RTR‐TA   NPME732      2022   VOLVO   4V4WC9EGXNN291469   VNR64T    MA      North Billerica
 NPME     ROAD TRACTOR     RTR‐TA   NPME733      2022   VOLVO   4V4WC9EG6NN291470   VNR64T    NJ      Mercerville
 NPME     ROAD TRACTOR     RTR‐TA   NPME734      2022   VOLVO   4V4WC9EG8NN291471   VNR64T    NJ      Kearny
 NPME     ROAD TRACTOR     RTR‐TA   NPME735      2022   VOLVO   4V4WC9EGXNN291472   VNR64T    PA      Camp Hill
 NPME     ROAD TRACTOR     RTR‐TA   NPME736      2022   VOLVO   4V4WC9EG1NN291473   VNR64T    NY      Williamsville
 NPME     ROAD TRACTOR     RTR‐TA   NPME737      2022   VOLVO   4V4WC9EG3NN291474   VNR64T    NJ      Cinnaminson
 NPME     ROAD TRACTOR     RTR‐TA   NPME738      2022   VOLVO   4V4WC9EG5NN291475   VNR64T    NJ      Cinnaminson
                    Case 23-11069-CTG               Doc 969-1         Filed 10/26/23       Page 231 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     ROAD TRACTOR        RTR‐TA   NPME739      2022   VOLVO   4V4WC9EG7NN291476   VNR64T    MA      North Billerica
 NPME     ROAD TRACTOR        RTR‐TA   NPME740      2022   VOLVO   4V4WC9EG9NN291477   VNR64T    NY      Williamsville
 NPME     ROAD TRACTOR        RTR‐TA   NPME741      2022   VOLVO   4V4WC9EG0NN291478   VNR64T    NY      Glenmont
 NPME     ROAD TRACTOR        RTR‐TA   NPME742      2022   VOLVO   4V4WC9EG2NN291479   VNR64T    PA      Dunmore
 NPME     ROAD TRACTOR        RTR‐TA   NPME743      2022   VOLVO   4V4WC9EG9NN291480   VNR64T    NY      Rochester
 NPME     ROAD TRACTOR        RTR‐TA   NPME744      2022   VOLVO   4V4WC9EG0NN291481   VNR64T    PA      Dunmore
 NPME     ROAD TRACTOR        RTR‐TA   NPME745      2022   VOLVO   4V4WC9EG2NN291482   VNR64T    MA      West Springfield
 NPME     ROAD TRACTOR        RTR‐TA   NPME746      2022   VOLVO   4V4WC9EG4NN291483   VNR64T    CT      Plantsville
 NPME     ROAD TRACTOR        RTR‐TA   NPME747      2022   VOLVO   4V4WC9EG6NN291484   VNR64T    ME      Westbrook
 NPME     ROAD TRACTOR        RTR‐TA   NPME748      2022   VOLVO   4V4WC9EG8NN291485   VNR64T    RI      Cranston
 NPME     ROAD TRACTOR        RTR‐TA   NPME749      2022   VOLVO   4V4WC9EGXNN291486   VNR64T    PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG      NPME13002    2004   DORSY   1DTV45W234A301840   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG      NPME13120    1984   FRUHF   1H2V04525EH068270   A31D      MA      North Billerica
 NPME     SERVICE EQUIPMENT   STG      NPME13142    1995   STRCK   1S12S8456SD400254   VARIOUS   NY      East Syracuse
 NPME     SERVICE EQUIPMENT   STG      NPME13151    1995   STRCK   1S12S8457SD400263   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG      NPME13163    1995   STRCK   1S12S8453SD400275   VARIOUS   CT      Plantsville
 NPME     SERVICE EQUIPMENT   STG      NPME13177    1995   STRCK   1S12S8453SD400289   VARIOUS   PA      Neville Island
 NPME     SERVICE EQUIPMENT   STG      NPME13181    1995   STRCK   1S12S8455SD400293   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG      NPME13184    1995   STRCK   1S12S8450SD400296   VARIOUS   NY      Williamsville
 NPME     SERVICE EQUIPMENT   STG      NPME13192    1995   STRCK   1S12S8456SD400304   VARIOUS   MA      West Springfield
 NPME     SERVICE EQUIPMENT   STG      NPME13209    1995   STRCK   1S12S8456SD400321   VARIOUS   MA      West Springfield
 NPME     SERVICE EQUIPMENT   STG      NPME13231    1995   STRCK   1S12S8455SD400343   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG      NPME13311    1997   STRCK   1S12S8457VD416337   VARIOUS   NJ      Cinnaminson
 NPME     SERVICE EQUIPMENT   STG      NPME13321    1997   STRCK   1S12S845XVD416347   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG      NPME13322    1997   STRCK   1S12S8451VD416348   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG      NPME13332    2000   STRCK   1S12S8456YD468501   VARIOUS   RI      Cranston
 NPME     SERVICE EQUIPMENT   STG      NPME13336    2000   STRCK   1S12S8453YD468505   VARIOUS   RI      Cranston
 NPME     SERVICE EQUIPMENT   STG      NPME13349    2001   STRCK   1S12S84521D472762   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG      NPME13356    2001   STRCK   1S12S84551D472769   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG      NPME13358    2001   STRCK   1S12S84531D472771   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG      NPME13369    2001   STRCK   1S12S84581D472782   VARIOUS   MA      North Billerica
 NPME     SERVICE EQUIPMENT   STG      NPME13374    2001   STRCK   1S12S84571D472787   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG      NPME2913     1998   WABSH   1JJV452W4WL496590   VARIOUS   PA      Reading
 NPME     SERVICE EQUIPMENT   STG      NPME2918     1998   WABSH   1JJV452W3WL496595   VARIOUS   NY      East Syracuse
 NPME     SERVICE EQUIPMENT   STG      NPME2923     1998   WABSH   1JJV452W3WL496600   VARIOUS   MA      North Billerica
 NPME     SERVICE EQUIPMENT   STG      NPME2924     1998   WABSH   1JJV452W5WL496601   VARIOUS   NJ      Cinnaminson
 NPME     SERVICE EQUIPMENT   STG      NPME3039     2005   WABSH   1JJV452WX5L924905   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG      NPME48004    1997   WABSH   1JJV532S3VL401661   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG      NPME48033    2003   WABSH   1JJV482W25L913852   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG      NPME48043    2001   FRUHF   1JJV482F21F728709   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG      NPME48057    2001   GRTDN   1GRAA96291K237788   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG      NPME483167   2003   WABSH   1JJV482W73L834691   VARIOUS   NJ      Cinnaminson
 NPME     SERVICE EQUIPMENT   STG      NPME50901    1985   FRUHF   1H2R04528DH014106   A31D      NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG      NPME50903    1990   AMERI   1YKR04620L3046400   A555      NY      Rochester
 NPME     SERVICE EQUIPMENT   STG      NPME50911    1980   FRUHF   HPV701104           A31D      PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG      NPME50912    1985   FRUHF   1H2R04520DH014116   A31D      NY      East Syracuse
 NPME     SERVICE EQUIPMENT   STG      NPME50922    2002   WABSH   1JJV482W12L814354   VARIOUS   NY      Maspeth
 NPME     SERVICE EQUIPMENT   STG      NPME5187     1992   STRCK   1S12S7451ND339880   VARIOUS   NY      Rochester
 NPME     SERVICE EQUIPMENT   STG      NPME5188     1992   STRCK   1S12S7453ND339881   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG      NPME5196     1992   STRCK   1S12S7458ND339889   VARIOUS   CT      Plantsville
 NPME     SERVICE EQUIPMENT   STG      NPME5205     1992   STRCK   1S12S7459ND339898   VARIOUS   CT      Plantsville
 NPME     SERVICE EQUIPMENT   STG      NPME5211     1992   STRCK   1S12S7450ND339904   VARIOUS   NY      Williamsville
 NPME     SERVICE EQUIPMENT   STG      NPME5277     1993   STRCK   1S12S7450PD352610   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG      NPME53012    1993   WABSH   1JJV532Y0PL183475   VARIOUS   OH      Akron
 NPME     SERVICE EQUIPMENT   STG      NPME53104    2002   STRCK   1S12E953X2E491274   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG      NPME53112    2002   STRCK   1S12E95312E491292   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG      NPME5334     1993   STRCK   1S12S7457PD352667   VARIOUS   NY      East Syracuse
 NPME     SERVICE EQUIPMENT   STG      NPME5405     1994   STRCK   1S12S7453RD364009   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG      NPME5411     1994   STRCK   1S12S7457RD365969   VARIOUS   PA      Neville Island
 NPME     SERVICE EQUIPMENT   STG      NPME6134     1996   STRCK   1S12S7451TD405230   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG      NPME6135     1996   STRCK   1S12S7453TD405231   VARIOUS   NY      Maybrook
 NPME     SERVICE EQUIPMENT   STG      NPME6288     1997   STRCK   1S12E9454VD422108   VARIOUS   NY      Maybrook
 NPME     SERVICE EQUIPMENT   STG      NPME6295     1997   STRCK   1S12E9451VD422115   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG      NPME6319     1997   STRCK   1S12E9454VD422139   VARIOUS   NJ      Kearny
 NPME     SERVICE EQUIPMENT   STG      NPME6322     1997   STRCK   1S12E9454VD422142   VARIOUS   NJ      Kearny
 NPME     SERVICE EQUIPMENT   STG      NPME6348     1997   STRCK   1S12E9450VD422168   VARIOUS   NY      Rochester
 NPME     SERVICE EQUIPMENT   STG      NPME6349     1997   STRCK   1S12E9452VD422169   VARIOUS   MA      North Billerica
 NPME     SERVICE EQUIPMENT   STG      NPME6361     1997   STRCK   1S12E9453VD422181   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG      NPME6366     1997   STRCK   1S12E9452VD422186   VARIOUS   PA      Camp Hill
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 232 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 NPME     SERVICE EQUIPMENT   STG     NPME6372     1998   STRCK   1S12E9454WD422191   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG     NPME6382     1998   STRCK   1S12E9453WD422201   VARIOUS   NJ      Kearny
 NPME     SERVICE EQUIPMENT   STG     NPME6395     1998   STRCK   1S12E9451WD422214   VARIOUS   NJ      Cinnaminson
 NPME     SERVICE EQUIPMENT   STG     NPME6402     1998   STRCK   1S12E9459WD422221   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG     NPME6407     1998   STRCK   1S12E9458WD422226   VARIOUS   PA      Reading
 NPME     SERVICE EQUIPMENT   STG     NPME6419     1998   STRCK   1S12E9454WD422238   VARIOUS   MA      North Billerica
 NPME     SERVICE EQUIPMENT   STG     NPME6420     1998   STRCK   1S12E9456WD422239   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG     NPME6444     1998   STRCK   1S12S8458WD433763   VARIOUS   MA      West Springfield
 NPME     SERVICE EQUIPMENT   STG     NPME6450     1998   STRCK   1S12S8459WD433769   VARIOUS   NY      East Syracuse
 NPME     SERVICE EQUIPMENT   STG     NPME6457     1998   STRCK   1S12S8456WD433776   VARIOUS   PA      Neville Island
 NPME     SERVICE EQUIPMENT   STG     NPME6459     1998   STRCK   1S12S845XWD433778   VARIOUS   MA      North Billerica
 NPME     SERVICE EQUIPMENT   STG     NPME6468     1998   STRCK   1S12S8450WD433787   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6470     1998   STRCK   1S12S8454WD433789   VARIOUS   PA      Reading
 NPME     SERVICE EQUIPMENT   STG     NPME6475     1998   STRCK   1S12S8458WD433794   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6493     1999   STRCK   1S12S8454XD433812   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG     NPME6494     1999   STRCK   1S12S8456XD433813   VARIOUS   PA      Reading
 NPME     SERVICE EQUIPMENT   STG     NPME6496     1999   STRCK   1S12S845XXD433815   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6498     1999   STRCK   1S12S8453XD433817   VARIOUS   MA      West Springfield
 NPME     SERVICE EQUIPMENT   STG     NPME6503     1999   STRCK   1S12S8457XD433822   VARIOUS   PA      Reading
 NPME     SERVICE EQUIPMENT   STG     NPME6504     1999   STRCK   1S12S8459XD433823   VARIOUS   PA      Neville Island
 NPME     SERVICE EQUIPMENT   STG     NPME6509     1999   STRCK   1S12S8458XD433828   VARIOUS   PA      Reading
 NPME     SERVICE EQUIPMENT   STG     NPME6520     1999   STRCK   1S12S8452XD433839   VARIOUS   PA      Milton
 NPME     SERVICE EQUIPMENT   STG     NPME6530     1999   STRCK   1S12S8459XD443073   VARIOUS   PA      Neville Island
 NPME     SERVICE EQUIPMENT   STG     NPME6534     1998   WABSH   1JJV452W1WL512020   VARIOUS   NY      East Syracuse
 NPME     SERVICE EQUIPMENT   STG     NPME6539     1998   WABSH   1JJV452W0WL512025   VARIOUS   NJ      Cinnaminson
 NPME     SERVICE EQUIPMENT   STG     NPME6540     1998   WABSH   1JJV452W2WL512026   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6567     1998   WABSH   1JJV452W5WL512053   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6568     1998   WABSH   1JJV452W7WL512054   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG     NPME6571     1998   WABSH   1JJV452W2WL512057   VARIOUS   PA      Milton
 NPME     SERVICE EQUIPMENT   STG     NPME6579     1998   WABSH   1JJV452W1WL512065   VARIOUS   NY      Williamsville
 NPME     SERVICE EQUIPMENT   STG     NPME6596     1999   WABSH   1JJV452WXXL512082   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6603     1999   WABSH   1JJV452W2XL512089   VARIOUS   NJ      Cinnaminson
 NPME     SERVICE EQUIPMENT   STG     NPME6616     1999   WABSH   1JJV452W1XL512102   VARIOUS   PA      Milton
 NPME     SERVICE EQUIPMENT   STG     NPME6625     1999   WABSH   1JJV452W2XL512111   VARIOUS   NY      Williamsville
 NPME     SERVICE EQUIPMENT   STG     NPME6627     1999   WABSH   1JJV452W6XL512113   VARIOUS   PA      Reading
 NPME     SERVICE EQUIPMENT   STG     NPME6629     1999   WABSH   1JJV452WXXL512115   VARIOUS   MA      North Billerica
 NPME     SERVICE EQUIPMENT   STG     NPME6632     1999   WABSH   1JJV452W5XL512118   VARIOUS   NJ      Cinnaminson
 NPME     SERVICE EQUIPMENT   STG     NPME6633     1999   WABSH   1JJV452W7XL512119   VARIOUS   CT      Plantsville
 NPME     SERVICE EQUIPMENT   STG     NPME6638     1999   WABSH   1JJV452W0XL512124   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG     NPME6640     1999   WABSH   1JJV452W4XL512126   VARIOUS   NJ      Cinnaminson
 NPME     SERVICE EQUIPMENT   STG     NPME6651     1999   WABSH   1JJV452W9XL512137   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6653     1999   WABSH   1JJV452W2XL512139   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6658     1999   WABSH   1JJV452W6XL512144   VARIOUS   PA      Milton
 NPME     SERVICE EQUIPMENT   STG     NPME6660     1999   WABSH   1JJV452WXXL512146   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG     NPME6664     1999   STRCK   1S12S8456XD443077   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG     NPME6672     2000   STRCK   1S12S8456YD453285   VARIOUS   RI      Cranston
 NPME     SERVICE EQUIPMENT   STG     NPME6681     2000   STRCK   1S12S8457YD453294   VARIOUS   NJ      Kearny
 NPME     SERVICE EQUIPMENT   STG     NPME6700     2000   STRCK   1S12S8457YD453313   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG     NPME6709     2000   STRCK   1S12S8458YD453322   VARIOUS   NY      Maspeth
 NPME     SERVICE EQUIPMENT   STG     NPME6714     2000   STRCK   1S12S8457YD453327   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG     NPME6715     2000   STRCK   1S12S8459YD453328   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG     NPME6720     2000   STRCK   1S12S8452YD461982   VARIOUS   PA      Neville Island
 NPME     SERVICE EQUIPMENT   STG     NPME6738     2000   STRCK   1S12S8459YD462000   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG     NPME6744     2000   STRCK   1S12S845XYD462006   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6761     2000   STRCK   1S12S845XYD462023   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG     NPME6777     2000   STRCK   1S12S8453YD462039   VARIOUS   NJ      Cinnaminson
 NPME     SERVICE EQUIPMENT   STG     NPME6803     2000   STRCK   1S12S8454YD462065   VARIOUS   NJ      Kearny
 NPME     SERVICE EQUIPMENT   STG     NPME6833     2000   STRCK   1S12S845XYD463463   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   STG     NPME6854     2000   STRCK   1S12S8457YD463484   VARIOUS   VT      Williston
 NPME     SERVICE EQUIPMENT   STG     NPME6857     2000   STRCK   1S12S8452YD463487   VARIOUS   NY      Glenmont
 NPME     SERVICE EQUIPMENT   STG     NPME6880     2003   WABSH   1JJV452W43L829298   VARIOUS   NJ      Mercerville
 NPME     SERVICE EQUIPMENT   STG     NPME6900     2003   WABSH   1JJV452W63L829318   VARIOUS   PA      Dunmore
 NPME     SERVICE EQUIPMENT   STG     NPME6903     2003   WABSH   1JJV452W63L829321   VARIOUS   MD      Elkridge
 NPME     SERVICE EQUIPMENT   STG     NPME6907     2003   WABSH   1JJV452W33L829325   VARIOUS   PA      Camp Hill
 NPME     SERVICE EQUIPMENT   SVC‐CTR NPME1192     2003   INTL    2HSCDAHN03C049968   9200      PA      Camp Hill
 NPME     SERVICE EQUIPMENT   SVC‐FKL NPME9001     1996   TOYOT   48803983            0         PA      Camp Hill
 NPME     SERVICE EQUIPMENT   SVC‐FKL NPME9002     1995   TOYOT   48804000            0         PA      Dunmore
 NPME     SERVICE EQUIPMENT   SVC‐FKL NPME9003     1996   TOYOT   48804368            0         PA      Camp Hill
 NPME     SERVICE EQUIPMENT   SVC‐FKL NPME9042     1989   HYSTR   D118D01681K         0         PA      Camp Hill
                    Case 23-11069-CTG                 Doc 969-1         Filed 10/26/23            Page 233 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL        State            City
 NPME     SERVICE EQUIPMENT     SVC‐FKL NPME9436       2000   NSSMT   CPJ029P5367         0             PA               Milton
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8020       2007   DODGE   3D7KS26D67G774919   2500 4X4      PA               Milton
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8021       2007   CHVRL   1GCHK24K67E510645   2500 4X4      OH               Akron
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8070       2007   CHVRL   1GCHK34J6XF024991   CK3500        MD               Elkridge
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8078       2002   DODGE   3B7MF36612M225315   3500 4X4      NJ               Cinnaminson
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8080       2002   DODGE   3D7MU46633G762351   3500 4X4      MA               North Billerica
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8081       2004   DODGE   3D7MU46C64G147493   3500          PA               Dunmore
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8082       2004   DODGE   3D7MU46C84G147494   3500          PA               Reading
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8083       2004   FORD    1FTSF31P44ED80683   F350          RI               Cranston
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8084       2004   FORD    1FTSF31P74ED80676   F350          NJ               Kearny
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8085       2006   FORD    1FTSF31P46EB19265   F350          NY               Maspeth
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8086       2006   FORD    1FTSF31P66EB19266   F350          CT               Plantsville
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8088       2018   CHVRL   1GC0KYEG9JZ125400   3500 4X4      PA               Camp Hill
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8089       2018   CHVRL   1GC0KYEG8JZ125419   3500 4X4      PA               Dunmore
 NPME     SERVICE EQUIPMENT     SVC‐OTH NPME8098       2005   CHVRL   1GCDT146258279523   VARIOUS       PA               Dunmore
 NPME     YARD TRACTOR          YTR     NPME8134       1997   OTTWA   75778               CA113DC       PA               Altoona
 NPME     YARD TRACTOR          YTR     NPME8135       1997   OTTWA   75779               CA113DC       PA               Camp Hill
 NPME     YARD TRACTOR          YTR     NPME8137       1998   OTTWA   76979               CA113DC       NY               Glenmont
 NPME     YARD TRACTOR          YTR     NPME8141       1999   OTTWA   79008               CA113DC       NJ               Mercerville
 NPME     YARD TRACTOR          YTR     NPME8142       1999   OTTWA   79009               CA113DC       NJ               Hamilton
 NPME     YARD TRACTOR          YTR     NPME8143       2000   OTTWA   80688               CA113DC       NJ               Kearny
 NPME     YARD TRACTOR          YTR     NPME8144       2000   OTTWA   80689               CA113DC       NY               Maspeth
 NPME     YARD TRACTOR          YTR     NPME8145       2000   OTTWA   80690               CA113DC       PA               Camp Hill
 NPME     YARD TRACTOR          YTR     NPME8146       2001   OTTWA   301611              CA113DC       NY               Williamsville
 NPME     YARD TRACTOR          YTR     NPME8147       2001   OTTWA   301612              CA113DC       CT               Plantsville
 NPME     YARD TRACTOR          YTR     NPME8148       2001   OTTWA   301613              CA113DC       PA               Reading
 NPME     YARD TRACTOR          YTR     NPME8149       2003   OTTWA   306019              CA113DC       PA               Camp Hill
 NPME     YARD TRACTOR          YTR     NPME8150       2003   OTTWA   306020              CA113DC       NJ               Cinnaminson
 NPME     YARD TRACTOR          YTR     NPME8151       2004   OTTWA   308709              CA113DC       ME               Westbrook
 NPME     YARD TRACTOR          YTR     NPME8152       2004   OTTWA   308710              CA113DC       MD               Elkridge
 NPME     YARD TRACTOR          YTR     NPME8153       2006   OTTWA   312682              CA113DC       RI               Cranston
 NPME     YARD TRACTOR          YTR     NPME8154       2006   OTTWA   11VA812EX6A000107   CA113DC       PA               Camp Hill
 NPME     YARD TRACTOR          YTR     NPME8158       1999   OTTWA   79169               CA113DC       PA               Neville Island
 NPME     YARD TRACTOR          YTR     NPME8159       2015   OTTWA   336864              CA113DC       NY               Maspeth
 NPME     YARD TRACTOR          YTR     NPME8160       2017   OTTWA   345618              CA113DC       NY               Maybrook
 NPME     YARD TRACTOR          YTR     NPME8161       2017   OTTWA   345619              CA113DC       NJ               Kearny
 NPME     YARD TRACTOR          YTR     NPME8162       2015   OTTWA   11VF813EXFA000046   CA113DC       PA               Camp Hill
 NPME     YARD TRACTOR          YTR     NPME8163       2020   OTTWA   355998              CA113DC       PA               Dunmore
 NPME     YARD TRACTOR          YTR     NPME8164       2020   OTTWA   355999              CA113DC       NY               Maybrook
 NPME     YARD TRACTOR          YTR     NPME8165       2020   OTTWA   356000              CA113DC       MA               North Billerica
 REIM     STRAIGHT/ BOX TRUCK   BOX     REIM80093      2015   FRGHT   1FVACWDUXFHGE3108   M2            PQ               Dorval
 REIM     STRAIGHT/ BOX TRUCK   BOX     REIM80094      2015   FRGHT   1FVACWDU8EHFM0580   M2            PQ               Sherbrooke
 REIM     STRAIGHT/ BOX TRUCK   BOX     REIM80095      2012   HINO    2AYNE8JV2C3S13618   268           Ontario          Mississauga
 REIM     STRAIGHT/ BOX TRUCK   BOX     REIM80162      2015   FRGHT   1FVACWDU6FHGN4482   M2            PQ               Dorval
 REIM     STRAIGHT/ BOX TRUCK   BOX     REIM80163      2015   FRGHT   1FVACWDU7FHGR7180   M2            PQ               Dorval
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110073     2005   INTL    1HTMMAAP65H681123   4300          Alberta          Edmonton
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110074     2005   INTL    1HTMMAAP85H681124   4300          Alberta          Edmonton
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110075     2003   INTL    1HTMMAAN13H597867   4300          Ontario          Whitby
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110076     2005   INTL    1HTMKAAN55H112476   4400          Ontario          Mississauga
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110077     2003   INTL    1HTMMAAN93H558976   4300          Ontario          Mississauga
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110078     2003   INTL    1HTMMAAN33H585266   4300          Alberta          Calgary
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110079     2019   PTRBL   2NP2HM7X2KM491956   337           PQ               Dorval
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110080     2019   PTRBL   2NP2HM7X4KM491957   337           Ontario          Ottawa
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110081     2019   PTRBL   2NP2HM7X2JM497058   337           Manitoba         Winnipeg
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110082     2019   PTRBL   2NP2HM7X0JM497057   337           British Columbia Burnaby
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110083     2019   PTRBL   2NP2HM7X6KM491958   337           British Columbia Burnaby
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110084     2019   INTL    1HTMMMMN6KH414863   4300          PQ               Dorval
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110085     2019   INTL    1HTMMMMN3KH414819   4300          British Columbia Burnaby
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM110086     2019   INTL    1HTMMMMN1KH414625   4300          British Columbia Burnaby
 REIM     STRAIGHT/ BOX TRUCK   CTK     REIM82598      2005   INTL    1HTMMAAN55H117400   4300          British Columbia Burnaby
 REIM     CITY TRAILER          CTL‐SA REIM122084      1997   MANAC   2M5910976V7046864                 British Columbia Burnaby
 REIM     CITY TRAILER          CTL‐SA REIM122101      1997   MANAC   2M5910976V7046881                 PQ               Dorval
 REIM     CITY TRAILER          CTL‐SA REIM122102      1997   MANAC   2M5910978V7046882                 PQ               Dorval
 REIM     CITY TRAILER          CTL‐SA REIM122108      1997   MANAC   2M5910975W7048008                 British Columbia Burnaby
 REIM     CITY TRAILER          CTL‐SA REIM122115      1998   MANAC   2M5910972W7048015   90132         PQ               Dorval
 REIM     CITY TRAILER          CTL‐SA REIM122132      1998   MANAC   2M5911097W7048032                 Ontario          Whitby
 REIM     CITY TRAILER          CTL‐SA REIM122152      2003   MANAC   2M591109031086099   90136         Ontario          Whitby
 REIM     CITY TRAILER          CTL‐SA REIM122158      2003   MANAC   2M591109231086105   90136         Ontario          Whitby
 REIM     CITY TRAILER          CTL‐SA REIM122160      2003   MANAC   2M591109631086107   90136         Ontario          Whitby
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 234 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 REIM     CITY TRAILER     CTL‐SA   REIM122162     2004   MANAC   2M591097X41094384   90132     Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐SA   REIM122163     2004   MANAC   2M591097141094385   90132     PQ               Dorval
 REIM     CITY TRAILER     CTL‐SA   REIM122165     2004   MANAC   2M591097541094387   90132     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐SA   REIM122167     2006   MANAC   2M591097861106860   90132     PQ               Dorval
 REIM     CITY TRAILER     CTL‐SA   REIM122168     2006   MANAC   2M591097X61106861   90132     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐SA   REIM123005     1997   MANAC   2M5910973V7046885   90132     Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐SA   REIM123023     1997   MANAC   2M5910971V7046903   90132     Alberta          Edmonton
 REIM     CITY TRAILER     CTL‐SA   REIM123039     1999   MANAC   2M5910972X7058612   90132     Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐SA   REIM123040     1999   MANAC   2M5910974X7058613   90132     Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐SA   REIM123041     1999   MANAC   2M5910976X7058614   90132     Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐SA   REIM123042     1999   MANAC   2M5910978X7058615   90132     Alberta          Calgary
 REIM     CITY TRAILER     CTL‐SA   REIM123043     1999   MANAC   2M591097XX7058616   90132     Alberta          Edmonton
 REIM     CITY TRAILER     CTL‐SA   REIM123060     2000   MANAC   2M5910972Y1064821   90132     Saskatchewan     Regina
 REIM     CITY TRAILER     CTL‐SA   REIM123062     2000   MANAC   2M5910976Y1064823   90132     Saskatchewan     Regina
 REIM     CITY TRAILER     CTL‐SA   REIM123076     2003   MANAC   2M591097X31086090   90132     Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐SA   REIM123079     2003   MANAC   2M591097531086093   90132     Alberta          Edmonton
 REIM     CITY TRAILER     CTL‐SA   REIM123080     2003   MANAC   2M591097731086094   90132     Alberta          Calgary
 REIM     CITY TRAILER     CTL‐SA   REIM124002     2018   WABSH   1JJV401DXJL090048   DVCVHPC   Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐SA   REIM124005     2018   WABSH   1JJV401DXJL090051   DVCVHPC   Alberta          Edmonton
 REIM     CITY TRAILER     CTL‐SA   REIM124006     2018   WABSH   1JJV401D1JL090052   DVCVHPC   Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐SA   REIM124007     2018   WABSH   1JJV401D3JL090053   DVCVHPC   Alberta          Calgary
 REIM     CITY TRAILER     CTL‐SA   REIM124009     2018   WABSH   1JJV401D7JL090055   DVCVHPC   Alberta          Calgary
 REIM     CITY TRAILER     CTL‐SA   REIM124012     2018   WABSH   1JJV401D0KL090058   DVCVHPC   British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐SA   REIM124013     2018   WABSH   1JJV401D2KL090059   DVCVHPC   British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐SA   REIM124014     2018   WABSH   1JJV401D9KL090060   DVCVHPC   British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐SA   REIM124016     2019   VANGU   5V8VC401XKM912320   VXP       Ontario          Ottawa
 REIM     CITY TRAILER     CTL‐SA   REIM124019     2019   VANGU   5V8VC4015KM912323   VXP       Ontario          Niagara on the Lake
 REIM     CITY TRAILER     CTL‐SA   REIM124023     2019   VANGU   5V8VC4012KM912327   VXP       Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐SA   REIM124028     2019   VANGU   5V8VC4016KM912332   VXP       Alberta          Edmonton
 REIM     CITY TRAILER     CTL‐SA   REIM124029     2019   VANGU   5V8VC4018KM912333   VXP       British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐SA   REIM133080     2015   STGHT   1DW1A2814FS620688             PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐SA   REIM133640     2016   WABSH   1JJV281D5GL906273             Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐SA   REIM133859     2017   WABSH   1JJV281D8HL985990             Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐SA   REIM720004     1997   MANAC   2M5910971V7046884   90132     Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐SA   REIM720005     1997   MANAC   2M5910979V7046888   90132     Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐SA   REIM720006     1999   MANAC   2M5910970X7058611   90132     Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐SA   REIM720007     2000   MANAC   2M5910974Y1064822   90132     Saskatchewan     Regina
 REIM     CITY TRAILER     CTL‐SA   REIM720008     2003   MANAC   2M591097131086091   90132     Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐SA   REIM720009     2003   MANAC   2M591097931086095   90132     Alberta          Edmonton
 REIM     CITY TRAILER     CTL‐SA   REIM720010     1997   MANAC   2M5910975V7046919   90132     Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐SA   REIM720011     2019   VANGU   5V8VC321XKM913295   VXP       Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐SA   REIM810013     2018   WABSH   1JJV401D6JL090046   DVCVHPC   PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐SA   REIM810014     2018   WABSH   1JJV401D8JL090047   DVCVHPC   Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐SA   REIM810015     2018   WABSH   1JJV401D1JL090049   DVCVHPC   Ontario          Whitby
 REIM     CITY TRAILER     CTL‐SA   REIM810016     2018   WABSH   1JJV401D8JL090050   DVCVHPC   Ontario          Whitby
 REIM     CITY TRAILER     CTL‐SA   REIM810017     2018   WABSH   1JJV401D5JL090054   DVCVHPC   Alberta          Calgary
 REIM     CITY TRAILER     CTL‐SA   REIM810018     2018   WABSH   1JJV401D7KL090056   DVCVHPC   Alberta          Calgary
 REIM     CITY TRAILER     CTL‐SA   REIM810019     2018   WABSH   1JJV401D9KL090057   DVCVHPC   Alberta          Edmonton
 REIM     CITY TRAILER     CTL‐SA   REIM810020     2019   VANGU   5V8VC4013KM912319   VXP       PQ               Dorval
 REIM     CITY TRAILER     CTL‐SA   REIM810021     2019   VANGU   5V8VC4011KM912321   VXP       Ontario          Ottawa
 REIM     CITY TRAILER     CTL‐SA   REIM810022     2019   VANGU   5V8VC4013KM912322   VXP       Ontario          Niagara on the Lake
 REIM     CITY TRAILER     CTL‐SA   REIM810023     2019   VANGU   5V8VC4017KM912324   VXP       Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐SA   REIM810024     2019   VANGU   5V8VC4019KM912325   VXP       Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐SA   REIM810025     2019   VANGU   5V8VC4010KM912326   VXP       Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐SA   REIM810026     2019   VANGU   5V8VC4014KM912328   VXP       Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐SA   REIM810027     2019   VANGU   5V8VC4016KM912329   VXP       Alberta          Calgary
 REIM     CITY TRAILER     CTL‐SA   REIM810028     2019   VANGU   5V8VC4012KM912330   VXP       Alberta          Calgary
 REIM     CITY TRAILER     CTL‐SA   REIM810029     2019   VANGU   5V8VC4014KM912331   VXP       Alberta          Edmonton
 REIM     CITY TRAILER     CTL‐TA   REIM125589     2004   MANAC   2M592146441094382   90248     Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM125593     2005   MANAC   2M592146751100631   90248     PQ               Dorval
 REIM     CITY TRAILER     CTL‐TA   REIM125600     2005   MANAC   2M592146X51100638   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM125603     2005   MANAC   2M592146X51100641   90248     Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM125605     2005   MANAC   2M592146351100643   90248     PQ               Dorval
 REIM     CITY TRAILER     CTL‐TA   REIM125610     2005   MANAC   2M592146251100648   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM125611     2005   MANAC   2M592146451100649   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM125614     2005   MANAC   2M592146451100652   90248     PQ               Dorval
 REIM     CITY TRAILER     CTL‐TA   REIM125617     2005   MANAC   2M592146X51100655   90248     British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM125620     2005   MANAC   2M592146551100658   90248     British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM125621     2005   MANAC   2M592146751100659   90248     Saskatchewan     Regina
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23           Page 235 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL        State            City
 REIM     CITY TRAILER     CTL‐TA   REIM147634     2001   TRLCN   2MN01JAH711000301   O1JA          Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM147695     2001   MANAC   2M592161X11079799   94253         British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM147774     2003   MANAC   2M592161337086187                 Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM147798     2003   MANAC   2M592161737086211   94253         Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM147842     2002   MANAC   2M592161321086255   94253         British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM147852     2002   MANAC   2M592161621086265   94253         PQ               Dorval
 REIM     CITY TRAILER     CTL‐TA   REIM147858     2004   MANAC   2M592161041094803   94253         Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM147867     2004   MANAC   2M592161141094812   94253         NY               Tonawanda
 REIM     CITY TRAILER     CTL‐TA   REIM147868     2004   MANAC   2M592161341094813                 Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM147869     2004   MANAC   2M592161541094814   94253         PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM147871     2007   MANAC   2M592161941094816   94253         Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM147872     2004   MANAC   2M592161041094817                 Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM147877     2004   MANAC   2M592161441094822                 Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM147878     2001   MANAC   2M592161641094823   94253         British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM147881     2004   MANAC   2M592161141094826                 Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM147884     2004   MANAC   2M592161741094829                 IL               Atlanta
 REIM     CITY TRAILER     CTL‐TA   REIM147886     2006   GRTDN   1GRAA06276K274664   7411TP        Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐TA   REIM147888     2006   GRTDN   1GRAA06206K274666                 British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM147891     2006   GRTDN   1GRAA06266K274669                 Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM147893     2006   GRTDN   1GRAA06266K274672   7411TP        Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM147897     2006   GRTDN   1GRAA06236K274676   7411TP        Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM147902     2006   GRTDN   1GRAA06296K274679                 Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐TA   REIM147905     2006   GRTDN   1GRAA06226K274684   7411TP        Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM147909     2006   GRTDN   1GRAA06266K274686   7411TP        Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM147912     2006   GRTDN   1GRAA062X6K274691   7411TP        VA               Roanoke
 REIM     CITY TRAILER     CTL‐TA   REIM147913     2006   GRTDN   1GRAA06216K274692                 Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM147917     2006   GRTDN   1GRAA06296K274696                 Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM147920     2006   GRTDN   1GRAA06246K274699   7411TP        Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM147921     2006   GRTDN   1GRAA06276K274700   7411TP        Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐TA   REIM147923     2006   GRTDN   1GRAA06206K274702                 Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM147925     2006   GRTDN   1GRAA06246K274704                 Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM147926     2006   GRTDN   1GRAA06266K274705                 Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM147930     2007   WABSH   1JJV532W77L080648   DVCVHPC       Ontario          Woodstock
 REIM     CITY TRAILER     CTL‐TA   REIM147933     2007   WABSH   1JJV532W77L080651                 Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM147934     2007   WABSH   1JJV532W97L080652   DVCVHPC       NY               Tonawanda
 REIM     CITY TRAILER     CTL‐TA   REIM147935     2007   WABSH   1JJV532W07L080653                 Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM147936     2007   WABSH   1JJV532W27L080654   DVCVHPC       PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM147937     2007   WABSH   1JJV532W47L080655   DVCVHPC       Alberta          Edmonton
 REIM     CITY TRAILER     CTL‐TA   REIM147939     2007   WABSH   1JJV532W87L080657   DVCVHPC       Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM147940     2007   WABSH   1JJV532WX7L080658   DVCVHPC       Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM147941     2007   WABSH   1JJV532W17L080659                 Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM147942     2007   WABSH   1JJV532W87L080660                 PQ               Dorval
 REIM     CITY TRAILER     CTL‐TA   REIM147944     2007   WABSH   1JJV532W17L080662                 PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM166127     2002   TRLCN   2MN01JPH421000121                 Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐TA   REIM166131     2002   TRLCN   2MN01JPH121000125                 Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM166162     2002   TRLCN   2MN01JPH221000697                 OH               Copley
 REIM     CITY TRAILER     CTL‐TA   REIM166175     2004   MANAC   2M592161647094835                 Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM166193     2004   MANAC   2M592161847094853                 Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM166197     2004   MANAC   2M592161547094857   94253         NY               Maybrook
 REIM     CITY TRAILER     CTL‐TA   REIM166204     2004   MANAC   MBPGSIN4802                       Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM166207     2004   MANAC   2M592161847094867   94253         PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM166208     2004   MANAC   2M592161X47094868                 Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM166211     2004   MANAC   2M592161X47094871   94253         Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM810030     2003   MANAC   2M592122551100661   90145         British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM821229     2009   WABSH   1JJV401W29L285073                 British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM830000     2003   MANAC   2M592137031086112   90145         PQ               Dorval
 REIM     CITY TRAILER     CTL‐TA   REIM843018     2006   WABSH   1JJV482W36L989078                 British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM843021     2003   WABSH   1JJV482W93L834739   DVCVHPC       Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843022     2005   WABSH   1JJV482W15L905368                 Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843026     2003   WABSH   1JJV482W43L849343   DVCVHPC       Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM843069     2005   WABSH   1JJV482W15L905340                 Ontario          Woodstock
 REIM     CITY TRAILER     CTL‐TA   REIM843832     2004   MANAC   2M592146141094369   90248         Saskatchewan     Regina
 REIM     CITY TRAILER     CTL‐TA   REIM843833     2004   MANAC   2M592146141094370   90248         NY               Maybrook
 REIM     CITY TRAILER     CTL‐TA   REIM843834     2004   MANAC   2M592146X41094371   90248         Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐TA   REIM843835     2004   MANAC   2M592146141094372   90248         NY               Tonawanda
 REIM     CITY TRAILER     CTL‐TA   REIM843836     2004   MANAC   2M592146141094373   90248         PQ               Dorval
 REIM     CITY TRAILER     CTL‐TA   REIM843837     2004   MANAC   2M592146541094374   90248         Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐TA   REIM843838     2004   MANAC   2M592146941094376   90248         NY               Maybrook
 REIM     CITY TRAILER     CTL‐TA   REIM843839     2004   MANAC   2M592146041094377   90248         Ontario          Mississauga
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 236 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 REIM     CITY TRAILER     CTL‐TA   REIM843840     2004   MANAC   2M592146241094378   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843842     2004   MANAC   2M592146141094380   90248     Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM843843     2004   MANAC   2M592146241094381   90248     Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM843844     2004   MANAC   2M592146641094383   90248     Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM843845     2005   MANAC   2M592146951100632   90248     PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM843846     2005   MANAC   2M592146051100633   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843847     2005   MANAC   2M592146251100634   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843848     2005   MANAC   2M592146451100635   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843850     2005   MANAC   2M592146851100637   90248     Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM843851     2005   MANAC   2M592146151100639   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843852     2005   MANAC   2M592146851100640   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843853     2005   MANAC   2M592146151100642   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843854     2005   MANAC   2M592146551100644   90248     Ontario          Whitby
 REIM     CITY TRAILER     CTL‐TA   REIM843855     2005   MANAC   2M592146951100646   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843856     2005   MANAC   2M592146051100647   90248     Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM843857     2005   MANAC   2M592146651100653   90248     British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM843858     2005   MANAC   2M592146851100654   90248     British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM843859     2005   MANAC   2M592146151100656   90248     British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM843860     2005   MANAC   2M592146351100657   90248     British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM843861     2005   MANAC   2M592146351100660   90248     Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐TA   REIM843862     2006   MANAC   2M592146161106863   90248     Saskatchewan     Regina
 REIM     CITY TRAILER     CTL‐TA   REIM843863     2006   MANAC   2M592146X61106862   90248     Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐TA   REIM850349     2021   VANGU   5V8VC5328MM109339   VXP‐53    Ontario          Woodstock
 REIM     CITY TRAILER     CTL‐TA   REIM850350     2021   VANGU   5V8VC5324MM109340   VXP‐53    PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM850351     2021   VANGU   5V8VC5326MM109341   VXP‐53    Ontario          Woodstock
 REIM     CITY TRAILER     CTL‐TA   REIM850352     2021   VANGU   5V8VC5328MM109342   VXP‐53    Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM850353     2021   VANGU   5V8VC532XMM109343   VXP‐53    Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM850354     2021   VANGU   5V8VC5321MM109344   VXP‐53    UT               Salt Lake City
 REIM     CITY TRAILER     CTL‐TA   REIM850355     2021   VANGU   5V8VC5323MM109345   VXP‐53    Saskatchewan     Saskatoon
 REIM     CITY TRAILER     CTL‐TA   REIM850356     2021   VANGU   5V8VC5325MM109346   VXP‐53    Ontario          Woodstock
 REIM     CITY TRAILER     CTL‐TA   REIM850357     2021   VANGU   5V8VC5327MM109347   VXP‐53    Alberta          Calgary
 REIM     CITY TRAILER     CTL‐TA   REIM850358     2021   VANGU   5V8VC5329MM109348   VXP‐53    British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM850359     2021   VANGU   5V8VC5320MM109349   VXP‐53    NV               Las Vegas
 REIM     CITY TRAILER     CTL‐TA   REIM850360     2021   VANGU   5V8VC5327MM109350   VXP‐53    Manitoba         Winnipeg
 REIM     CITY TRAILER     CTL‐TA   REIM850361     2022   VANGU   5V8VC5322NM204593   VXP‐53    Ontario          Woodstock
 REIM     CITY TRAILER     CTL‐TA   REIM850362     2022   VANGU   5V8VC5324NM204594   VXP‐53    Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM850363     2022   VANGU   5V8VC5326NM204595   VXP‐53    Ontario          Woodstock
 REIM     CITY TRAILER     CTL‐TA   REIM850364     2022   VANGU   5V8VC5328NM204596   VXP‐53    PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM850365     2022   VANGU   5V8VC532XNM204597   VXP‐53    Ontario          Niagara on the Lake
 REIM     CITY TRAILER     CTL‐TA   REIM850366     2022   VANGU   5V8VC5321NM204598   VXP‐53    Ontario          Woodstock
 REIM     CITY TRAILER     CTL‐TA   REIM850367     2022   VANGU   5V8VC5323NM204599   VXP‐53    British Columbia Burnaby
 REIM     CITY TRAILER     CTL‐TA   REIM850368     2022   VANGU   5V8VC5326NM204600   VXP‐53    Ontario          Mississauga
 REIM     CITY TRAILER     CTL‐TA   REIM850369     2022   VANGU   5V8VC5328NM204601   VXP‐53    PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM850370     2022   VANGU   5V8VC532XNM204602   VXP‐53    PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM850371     2022   VANGU   5V8VC5321NM204603   VXP‐53    PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM850372     2022   VANGU   5V8VC5323NM204604   VXP‐53    TN               Memphis
 REIM     CITY TRAILER     CTL‐TA   REIM850373     2022   VANGU   5V8VC5325NM204605   VXP‐53    Ontario          Niagara on the Lake
 REIM     CITY TRAILER     CTL‐TA   REIM850374     2022   VANGU   5V8VC5327NM204606   VXP‐53    NY               Tonawanda
 REIM     CITY TRAILER     CTL‐TA   REIM850375     2022   VANGU   5V8VC5329NM204607   VXP‐53    PQ               Sherbrooke
 REIM     CITY TRAILER     CTL‐TA   REIM850376     2022   VANGU   5V8VC5320NM204608   VXP‐53    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM130224     2001   STRLN   2FWBAVAK51AH80332   L8513     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130225     2001   STRLN   2FWBAVAK71AH80333   L8513     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130226     2001   STRLN   2FWBAVAK91AH80334   L8513     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130228     2001   STRLN   2FWBAVAK21AH80336   L8513     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130229     2001   STRLN   2FWBAVAK41AH80337   L8513     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130233     2001   STRLN   2FWBAVAK61AH80341   L8513     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130234     2001   STRLN   2FWBAVAK81AH80342   L8513     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130236     2001   STRLN   2FWBAVAK11AH80344   L8513     Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM130237     2001   STRLN   2FWBAVAK31AH80345   L8513     Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM130238     2002   STRLN   2FWBAKAK72AJ64273   M7500     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130239     2002   STRLN   2FWBAKAK92AJ64274   M7500     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130240     2002   STRLN   2FWBAKAK02AJ64275   M7500     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130241     2002   STRLN   2FWBAKAK22AJ64276   M7500     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130242     2002   STRLN   2FWBAKAK42AJ64277   M7500     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130248     2002   STRLN   2FWBAKAK12AJ64267   M7500     Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM130250     2002   STRLN   2FWBAKAK52AJ64269   M7500     Saskatchewan     Regina
 REIM     CITY TRACTOR     CTR‐SA   REIM130251     2002   STRLN   2FWBAKAK12AJ64270   M7500     Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM130253     2002   STRLN   2FWBAKAK52AJ64272   M7500     Saskatchewan     Saskatoon
 REIM     CITY TRACTOR     CTR‐SA   REIM130261     2003   STRLN   2FWBAKAK33AK37138   M7500     Ontario          Mississauga
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 237 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 REIM     CITY TRACTOR     CTR‐SA   REIM130263     2003   STRLN   2FWBAKAK13AK37140   M7500     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130264     2003   STRLN   2FWBAKAK33AK37141   M7500     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130265     2003   STRLN   2FWBAKAK53AK37142   M7500     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130266     2003   STRLN   2FWBAKAK73AK37143   M7500     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130267     2003   STRLN   2FWBAKAK93AK37144   M7500     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130268     2003   STRLN   2FWBAKAK03AK37145   M7500     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130269     2003   STRLN   2FWBAKAK23AK37146   M7500     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130270     2003   STRLN   2FWBAKAK43AK37147   M7500     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130271     2003   STRLN   2FWBAKAK63AK37148   M7500     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM130274     2003   STRLN   2FWBAKAK63AK37151   M7500     Saskatchewan     Regina
 REIM     CITY TRACTOR     CTR‐SA   REIM130275     2003   STRLN   2FWBAKAK83AK37152   M7500     Saskatchewan     Saskatoon
 REIM     CITY TRACTOR     CTR‐SA   REIM130276     2003   STRLN   2FWBAKAKX3AK37153   M7500     Saskatchewan     Saskatoon
 REIM     CITY TRACTOR     CTR‐SA   REIM130279     2003   STRLN   2FWBAKAK33AK37155   M7500     Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM130280     2003   STRLN   2FWBAKAK53AK37156   M7500     Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM130281     2003   STRLN   2FWBAKAK93AK37158   M7500     Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM130283     2003   STRLN   2FWBAKAK73AK37160   M7500     Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM130284     2003   STRLN   2FWBAKAK93AK37161   M7500     Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM130291     2003   STRLN   2FWBAKAK13AK37168   M7500     Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM130292     2003   STRLN   2FWBAKAK33AK37169   M7500     Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM130293     2003   STRLN   2FWBAKAKX3AK37170   M7500     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130294     2003   STRLN   2FWBAKAK13AK37171   M7500     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130296     2003   STRLN   2FWBAKAK53AK37173   M7500     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM130297     2005   STRLN   2FWBAWDA55AN99923   L8500     Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM130312     2006   STRLN   2FWBAWDA36AV64671   L8500     Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM130313     2006   STRLN   2FWBAWDA56AV64672   L8500     Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM130316     2006   STRLN   2FWBAWDA06AV64675   L8500     Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM130317     2006   STRLN   2FWBAWDA26AV64676   L8500     Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM62372      2001   INTL    1HSHBAHR81H361346   8100      Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM65115      2007   VOLVO   4V4M19GF47N451589   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM65240      2007   VOLVO   4V4M19GF47N451463   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM65366      2007   VOLVO   4V4M19GF87N451465   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM66100      2016   MACK    1M1AW32X3GM008725   CXU612    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM66101      2016   MACK    1M1AW32XXGM008723   CXU612    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM66102      2016   MACK    1M1AW32X8GM008722   CXU612    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM66103      2016   MACK    1M1AW32X5GM008726   CXU612    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM66104      2016   VOLVO   4V4M19EG0GN944780   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM66105      2016   VOLVO   4V4M19EG1GN944822   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM66106      2016   VOLVO   4V4M19EG5GN944807   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM66107      2016   VOLVO   4V4M19EG9GN944812   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM66108      2016   VOLVO   4V4M19EG2GN944814   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM66109      2016   VOLVO   4V4M19EGXGN944799   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM66157      2016   VOLVO   4V4M19EG0GN944813   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM66324      2016   VOLVO   4V4M19EG1GN962785   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM66339      2016   VOLVO   4V4M19EG4GN962750   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM66358      2016   VOLVO   4V4M19EG6GN962782   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM66359      2016   VOLVO   4V4M19EG2GN962777   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM66360      2016   VOLVO   4V4M19EG5GN962739   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM66410      2016   VOLVO   4V4M19EG8GN962833   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM66411      2016   VOLVO   4V4M19EG5GN962787   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM66541      2016   VOLVO   4V4M19EG4GN962764   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM66647      2016   VOLVO   4V4M19EG2GN962794   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM66648      2016   VOLVO   4V4M19EG0GN962809   VNM42T    PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐SA   REIM66649      2016   VOLVO   4V4M19EGXGN962803   VNM42T    PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐SA   REIM66664      2016   VOLVO   4V4M19EG6GN962748   VNM42T    PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐SA   REIM66665      2016   VOLVO   4V4M19EGXGN962798   VNM42T    PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐SA   REIM66985      2016   VOLVO   4V4M19EG5GN962837   VNM42T    PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐SA   REIM67039      2016   VOLVO   4V4M19EG7GN962788   VNM42T    Ontario          Ottawa
 REIM     CITY TRACTOR     CTR‐SA   REIM67040      2016   VOLVO   4V4M19EG8GN962752   VNM42T    Ontario          Ottawa
 REIM     CITY TRACTOR     CTR‐SA   REIM67041      2016   VOLVO   4V4M19EG4GN962814   VNM42T    PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐SA   REIM67042      2016   VOLVO   4V4M19EG6GN962815   VNM42T    PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐SA   REIM67103      2016   VOLVO   4V4M19EG3GN962836   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67104      2016   VOLVO   4V4M19EG5GN962806   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67105      2016   VOLVO   4V4M19EG1GN962804   VNM42T    Ontario          Ottawa
 REIM     CITY TRACTOR     CTR‐SA   REIM67106      2016   VOLVO   4V4M19EG5GN962742   VNM42T    Ontario          Ottawa
 REIM     CITY TRACTOR     CTR‐SA   REIM67107      2016   VOLVO   4V4M19EG8GN962749   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67108      2016   VOLVO   4V4M19EG3GN962741   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67109      2016   VOLVO   4V4M19EG0GN962759   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67119      2016   VOLVO   4V4M19EG4GN962831   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67121      2016   VOLVO   4V4M19EG0GN962762   VNM42T    Ontario          Mississauga
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 238 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 REIM     CITY TRACTOR     CTR‐SA   REIM67124     2016   VOLVO   4V4M19EG0GN962826   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67125     2016   VOLVO   4V4M19EG3GN962769   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67126     2016   VOLVO   4V4M19EG5GN962756   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67127     2016   VOLVO   4V4M19EG0GN962776   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67131     2016   VOLVO   4V4M19EG1GN962818   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67134     2016   VOLVO   4V4M19EG7GN962824   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67143     2016   VOLVO   4V4M19EG5GN962773   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67148     2016   VOLVO   4V4M19EG1GN962799   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67151     2016   VOLVO   4V4M19EG7GN962774   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67152     2016   VOLVO   4V4M19EG1GN962740   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67153     2016   VOLVO   4V4M19EG9GN962789   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67154     2016   VOLVO   4V4M19EG0GN962812   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67155     2016   VOLVO   4V4M19EG6GN962796   VNM42T    NY               Tonawanda
 REIM     CITY TRACTOR     CTR‐SA   REIM67156     2016   VOLVO   4V4M19EG1GN962821   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67158     2016   VOLVO   4V4M19EG3GN962805   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67160     2016   VOLVO   4V4M19EG9GN962825   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67163     2016   VOLVO   4V4M19EG2GN962827   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67181     2007   VOLVO   4V4M19GF17N451520   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM67182     2016   VOLVO   4V4M19EG8GN944817   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67183     2016   MACK    1M1AW32X1GM008724   CXU612    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM67184     2016   VOLVO   4V4M19EG9GN962758   VNM42T    PQ               Dorval
 REIM     CITY TRACTOR     CTR‐SA   REIM67185     2016   VOLVO   4V4M19EG7GN962791   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67186     2016   VOLVO   4V4M19EG5GN962823   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67187     2016   VOLVO   4V4M19EG6GN962751   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67188     2016   VOLVO   4V4M19EG9GN962792   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67203     2016   VOLVO   4V4M19EGXGN962767   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM67204     2016   VOLVO   4V4M19EG4GN962828   VNM42T    Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐SA   REIM67239     2016   VOLVO   4V4M19EG6GN962832   VNM42T    Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM67240     2016   VOLVO   4V4M19EG8GN962802   VNM42T    Ontario          Niagara on the Lake
 REIM     CITY TRACTOR     CTR‐SA   REIM67246     2016   VOLVO   4V4M19EG3GN962786   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM67247     2016   VOLVO   4V4M19EGXGN962834   VNM42T    Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐SA   REIM67249     2016   VOLVO   4V4M19EG0GN962793   VNM42T    Saskatchewan     Regina
 REIM     CITY TRACTOR     CTR‐SA   REIM67250     2016   VOLVO   4V4M19EG2GN962830   VNM42T    Saskatchewan     Regina
 REIM     CITY TRACTOR     CTR‐SA   REIM67253     2016   VOLVO   4V4M19EG3GN962819   VNM42T    MN               Burnsville
 REIM     CITY TRACTOR     CTR‐SA   REIM67259     2016   VOLVO   4V4M19EG9GN962811   VNM42T    Saskatchewan     Saskatoon
 REIM     CITY TRACTOR     CTR‐SA   REIM67260     2016   VOLVO   4V4M19EG6GN962829   VNM42T    Saskatchewan     Saskatoon
 REIM     CITY TRACTOR     CTR‐SA   REIM67271     2016   VOLVO   4V4M19EG8GN962816   VNM42T    Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM67272     2016   VOLVO   4V4M19EG4GN962781   VNM42T    Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM67273     2016   VOLVO   4V4M19EG9GN962775   VNM42T    Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM67275     2016   VOLVO   4V4M19EG7GN962743   VNM42T    Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM67276     2016   VOLVO   4V4M19EG4GN962747   VNM42T    Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM67284     2016   VOLVO   4V4M19EG4GN962800   VNM42T    Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM67285     2016   VOLVO   4V4M19EG7GN962810   VNM42T    Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM67299     2016   VOLVO   4V4M19EG3GN962822   VNM42T    Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM67300     2016   VOLVO   4V4M19EG6GN962801   VNM42T    IL               Chicago Heights
 REIM     CITY TRACTOR     CTR‐SA   REIM67311     2016   VOLVO   4V4M19EG0GN962745   VNM42T    Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐SA   REIM67393     2016   VOLVO   4V4M19EG2GN962763   VNM42T    IL               Chicago Heights
 REIM     CITY TRACTOR     CTR‐SA   REIM67406     2016   VOLVO   4V4M19EG7GN962757   VNM42T    Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM67424     2016   VOLVO   4V4M19EG9GN962744   VNM42T    Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐SA   REIM67490     2018   PTRBL   1XPBA48X8JD478920   579       British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67491     2018   PTRBL   1XPBA48X2JD478945   579       British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67492     2016   VOLVO   4V4M19EG7GN962760   VNM42T    OR               Central Point
 REIM     CITY TRACTOR     CTR‐SA   REIM67493     2016   VOLVO   4V4M19EG1GN962768   VNM42T    British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67494     2016   VOLVO   4V4M19EG2GN962813   VNM42T    British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67495     2016   VOLVO   4V4M19EGXGN962820   VNM42T    British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67498     2016   VOLVO   4V4M19EG1GN962754   VNM42T    Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM67516     2018   PTRBL   1XPBA48X8JD478934   579       British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67526     2018   PTRBL   1XPBA48X3JD478937   579       OR               Central Point
 REIM     CITY TRACTOR     CTR‐SA   REIM67527     2018   PTRBL   1XPBA48X4JD478932   579       OR               Central Point
 REIM     CITY TRACTOR     CTR‐SA   REIM67528     2018   PTRBL   1XPBA48X0JD478927   579       British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67529     2018   PTRBL   1XPBA48X1JD478919   579       OR               Central Point
 REIM     CITY TRACTOR     CTR‐SA   REIM67530     2018   PTRBL   1XPBA48X3JD478923   579       OR               Central Point
 REIM     CITY TRACTOR     CTR‐SA   REIM67531     2016   VOLVO   4V4M19EG3GN962772   VNM42T    Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐SA   REIM67532     2016   VOLVO   4V4M19EGXGN962770   VNM42T    British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67533     2018   PTRBL   1XPBA48X7JD478939   579       British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67547     2016   VOLVO   4V4M19EG1GN962771   VNM42T    British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐SA   REIM67548     2018   PTRBL   1XPBA48XXJD478918   579       OR               Central Point
 REIM     CITY TRACTOR     CTR‐SA   REIM67549     2018   PTRBL   1XPBA48X5JD478941   579       OR               Central Point
 REIM     CITY TRACTOR     CTR‐SA   REIM67606     2018   PTRBL   1XPBA48X5JD478924   579       OR               Central Point
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23        Page 239 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL     State            City
 REIM     CITY TRACTOR     CTR‐SA   REIM67642      2018   PTRBL   1XPBA48X6JD478933   579        OR               Central Point
 REIM     CITY TRACTOR     CTR‐SA   REIM71665      2000   VOLVO   4V4M22UF3YN231547   VNM42T     Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐SA   REIM79300      2000   INTL    2HSCBAMR7YC059371   9100       Ontario          Niagara on the Lake
 REIM     CITY TRACTOR     CTR‐TA   REIM131245     2008   INTL    1HSHXAHR48J647294   8600       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131246     2008   INTL    1HSHXAHR68J647295   8600       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131247     2008   INTL    1HSHXAHR88J647296   8600       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131248     2008   INTL    1HSHXAHRX8J647297   8600       Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐TA   REIM131249     2008   INTL    1HSHXAHR18J647298   8600       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131250     2008   INTL    1HSHXAHR38J647299   8600       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131251     2008   INTL    1HSHXAHR68J647300   8600       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131252     2008   INTL    1HSHXAHR88J647301   8600       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131253     2008   INTL    1HSHXAHRX8J647302   8600       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131254     2008   INTL    1HSHXAHR18J647303   8600       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131255     2008   INTL    1HSHXAHR98J647288   8600       PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131256     2008   INTL    1HSHXAHR08J647289   8600       PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131257     2008   INTL    1HSHXAHR78J647290   8600       PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131258     2008   INTL    1HSHXAHR98J647291   8600       PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131259     2008   INTL    1HSHXAHR08J647292   8600       PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐TA   REIM131260     2008   INTL    1HSHXAHR28J647293   8600       PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131261     2008   INTL    1HSHXAHR38J647304   8600       Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐TA   REIM131264     2008   INTL    1HSHXAHR98J647307   8600       Ontario          Woodstock
 REIM     CITY TRACTOR     CTR‐TA   REIM131273     2005   VOLVO   4V4NC9GH45N379533   VNL64T     PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131277     2005   VOLVO   4V4NC9GH05N379531   VNL64T     Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐TA   REIM131292     2005   INTL    2HSCNAPR45C190577   9400       NY               Tonawanda
 REIM     CITY TRACTOR     CTR‐TA   REIM131293     2005   INTL    2HSCNAPRX5C190616   9400       Ontario          Niagara on the Lake
 REIM     CITY TRACTOR     CTR‐TA   REIM131310     2005   INTL    2HSCNAPR35C190618   9400       Manitoba         Winnipeg
 REIM     CITY TRACTOR     CTR‐TA   REIM131313     2005   INTL    2HSCNAPR65C190614   9400       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131314     2005   INTL    2HSCNAPR15C190617   9400       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131315     2005   INTL    2HSCNAPR45C190627   9400       Ontario          Mississauga
 REIM     CITY TRACTOR     CTR‐TA   REIM131317     2005   INTL    2HSCNAPR85C190615   9400       British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐TA   REIM131321     2011   VOLVO   4V4NC9EHXBN528428   VNL64300   PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131322     2011   VOLVO   4V4NC9EH8BN528430   VNL64300   PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131323     2011   VOLVO   4V4NC9EHXBN528431   VNL64300   PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131324     2011   VOLVO   4V4NC9EH1BN528432   VNL64300   NY               Tonawanda
 REIM     CITY TRACTOR     CTR‐TA   REIM131325     2011   VOLVO   4V4NC9EH3BN528433   VNL64300   NY               Tonawanda
 REIM     CITY TRACTOR     CTR‐TA   REIM131326     2011   VOLVO   4V4NC9EH5BN528434   VNL64300   PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐TA   REIM131327     2011   VOLVO   4V4NC9EH0BN528437   VNL64300   PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131328     2011   VOLVO   4V4NC9EH2BN528438   VNL64300   PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131329     2011   VOLVO   4V4NC9EH4BN528439   VNL64300   PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐TA   REIM131330     2011   VOLVO   4V4NC9EH0BN528440   VNL64300   PQ               Dorval
 REIM     CITY TRACTOR     CTR‐TA   REIM131331     2011   VOLVO   4V4NC9EH4BN528442   VNL64300   PQ               Sherbrooke
 REIM     CITY TRACTOR     CTR‐TA   REIM69128      2001   INTL    2HSCBAMR61C007591   9100       British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐TA   REIM69129      2006   VOLVO   4V4MC9GF36N439586   VNM64T     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐TA   REIM69130      2006   VOLVO   4V4MC9GF26N439594   VNM64T     British Columbia Burnaby
 REIM     CITY TRACTOR     CTR‐TA   REIM69131      2009   VOLVO   4V4MC9EGX9N283840   VNM64T     Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐TA   REIM69132      2008   VOLVO   4V4MC9GG88N462017   VNM64T     Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐TA   REIM69150      2009   VOLVO   4V4MC9EG09N283863   VNM64T     Saskatchewan     Regina
 REIM     CITY TRACTOR     CTR‐TA   REIM69151      2009   VOLVO   4V4MC9EG89N263604   VNM64T     Ontario          Whitby
 REIM     CITY TRACTOR     CTR‐TA   REIM69152      2009   VOLVO   4V4MC9EG58N498346   VNM64T     Alberta          Edmonton
 REIM     CITY TRACTOR     CTR‐TA   REIM69153      2009   VOLVO   4V4MC9EG29N263534   VNM64T     WA               Bellingham
 REIM     CITY TRACTOR     CTR‐TA   REIM79951      2009   NVSTR   2HSCUAPR59C091680   PRO S      Alberta          Calgary
 REIM     CITY TRACTOR     CTR‐TA   REIM79978      2014   VOLVO   4V4MC9EH0EN161443   VNM42      OR               Central Point
 REIM     CITY TRACTOR     CTR‐TA   REIM79995      2012   VOLVO   4V4MC9EG7CN555638   VNM64T     Alberta          Calgary
 REIM     DOLLY            DOL‐TA   REIM190070     2008   GRTDN   1GRER22299K208925              Manitoba         Winnipeg
 REIM     DOLLY            DOL‐TA   REIM190071     2008   GRTDN   1GRER22209K208926              Manitoba         Winnipeg
 REIM     DOLLY            DOL‐TA   REIM190075     2008   GRTDN   1GRER22229K208930              Saskatchewan     Saskatoon
 REIM     FORKLIFT         FKL      REIM113106     1996   CTRPL   5AM03108            GC25LPSC   Saskatchewan     Saskatoon
 REIM     FORKLIFT         FKL      REIM113221     2007   TOYOT   8FGCU25‐13803       8FGCU25    Ontario          Whitby
 REIM     FORKLIFT         FKL      REIM113224     2007   TOYOT   8FGCU25‐13989       8FGCU25    Ontario          Mississauga
 REIM     FORKLIFT         FKL      REIM113225     2008   TOYOT   8FGCU25‐21045       8FGCU25    Saskatchewan     Saskatoon
 REIM     FORKLIFT         FKL      REIM113226     2008   TOYOT   8FGCU25‐21021       8FGCU25    Saskatchewan     Regina
 REIM     FORKLIFT         FKL      REIM113227     2008   TOYOT   8FGCU25‐20936       8FGCU25    Ontario          Woodstock
 REIM     FORKLIFT         FKL      REIM113228     2008   TOYOT   8FGCU25‐20981       8FGCU25    Saskatchewan     Regina
 REIM     FORKLIFT         FKL      REIM113229     2008   TOYOT   8FGCU25‐21081       8FGCU25    Alberta          Edmonton
 REIM     FORKLIFT         FKL      REIM113230     2008   TOYOT   8FGCU25‐21476       8FGCU25    Ontario          Mississauga
 REIM     FORKLIFT         FKL      REIM113231     2008   TOYOT   8FGCU25‐21444       8FGCU25    Manitoba         Winnipeg
 REIM     FORKLIFT         FKL      REIM113232     2008   TOYOT   8FGCU25‐21638       8FGCU25    Ontario          Woodstock
 REIM     FORKLIFT         FKL      REIM113233     2008   TOYOT   8FGCU25‐21577       8FGCU25    Saskatchewan     Regina
 REIM     FORKLIFT         FKL      REIM113234     2008   TOYOT   8FGCU25‐21632       8FGCU25    PQ               Sherbrooke
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23    Page 240 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL      State            City
 REIM     FORKLIFT         FKL     REIM113235     2008   TOYOT   8FGCU25‐22720   8FGCU25     Ontario          Woodstock
 REIM     FORKLIFT         FKL     REIM113236     2008   TOYOT   8FGCU25‐22687   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113237     2008   TOYOT   8FGCU25‐22692   8FGCU25     Saskatchewan     Saskatoon
 REIM     FORKLIFT         FKL     REIM113238     2008   TOYOT   8FGCU25‐22752   8FGCU25     Saskatchewan     Saskatoon
 REIM     FORKLIFT         FKL     REIM113239     2008   TOYOT   8FGCU25‐22722   8FGCU25     Saskatchewan     Saskatoon
 REIM     FORKLIFT         FKL     REIM113240     2011   TOYOT   8FGCU25‐34688   8FGCU25     Alberta          Edmonton
 REIM     FORKLIFT         FKL     REIM113241     2011   TOYOT   8FGCU25‐36005   8FGCU25     Alberta          Edmonton
 REIM     FORKLIFT         FKL     REIM113242     2011   TOYOT   8FGCU25‐36053   8FGCU25     Alberta          Edmonton
 REIM     FORKLIFT         FKL     REIM113243     2011   TOYOT   8FGCU25‐36068   8FGCU25     Ontario          Ottawa
 REIM     FORKLIFT         FKL     REIM113244     2011   TOYOT   8FGCU25‐36109   8FGCU25     Ontario          Whitby
 REIM     FORKLIFT         FKL     REIM113245     2018   TOYOT   8FGCU25‐88012   8FGCU25     PQ               Dorval
 REIM     FORKLIFT         FKL     REIM113246     2018   TOYOT   8FGCU25‐88009   8FGCU25     PQ               Dorval
 REIM     FORKLIFT         FKL     REIM113247     2018   TOYOT   8FGCU25‐88139   8FGCU25     PQ               Dorval
 REIM     FORKLIFT         FKL     REIM113248     2018   TOYOT   8FGCU25‐87949   8FGCU25     PQ               Dorval
 REIM     FORKLIFT         FKL     REIM113249     2018   TOYOT   8FGCU25‐88076   8FGCU25     Ontario          Woodstock
 REIM     FORKLIFT         FKL     REIM113250     2018   TOYOT   8FGCU25‐88089   8FGCU25     Ontario          Woodstock
 REIM     FORKLIFT         FKL     REIM113251     2018   TOYOT   8FGCU25‐87982   8FGCU25     Ontario          Woodstock
 REIM     FORKLIFT         FKL     REIM113252     2018   TOYOT   8FGCU25‐88053   8FGCU25     Ontario          Whitby
 REIM     FORKLIFT         FKL     REIM113253     2018   TOYOT   8FGCU25‐87977   8FGCU25     Ontario          Ottawa
 REIM     FORKLIFT         FKL     REIM113254     2018   TOYOT   8FGCU25‐88057   8FGCU25     Ontario          Whitby
 REIM     FORKLIFT         FKL     REIM113255     2018   TOYOT   8FGCU25‐87952   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113256     2018   TOYOT   8FGCU25‐87923   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113257     2018   TOYOT   8FGCU25‐87893   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113258     2018   TOYOT   8FGCU25‐87872   8FGCU25     Alberta          Edmonton
 REIM     FORKLIFT         FKL     REIM113259     2018   TOYOT   8FGCU25‐87876   8FGCU25     PQ               Sherbrooke
 REIM     FORKLIFT         FKL     REIM113260     2018   TOYOT   8FGCU25‐87835   8FGCU25     Ontario          Ottawa
 REIM     FORKLIFT         FKL     REIM113261     2018   TOYOT   8FGCU25‐87830   8FGCU25     British Columbia Burnaby
 REIM     FORKLIFT         FKL     REIM113262     2018   TOYOT   8FGCU25‐87793   8FGCU25     British Columbia Burnaby
 REIM     FORKLIFT         FKL     REIM113263     2018   TOYOT   8FGCU25‐87803   8FGCU25     British Columbia Burnaby
 REIM     FORKLIFT         FKL     REIM113264     2018   TOYOT   8FGCU25‐87668   8FGCU25     British Columbia Burnaby
 REIM     FORKLIFT         FKL     REIM113265     2019   TOYOT   8FGCU25‐96791   8FGCU25     PQ               Dorval
 REIM     FORKLIFT         FKL     REIM113266     2019   TOYOT   8FGCU25‐96794   8FGCU25     PQ               Dorval
 REIM     FORKLIFT         FKL     REIM113267     2019   TOYOT   8FGCU25‐96802   8FGCU25     PQ               Dorval
 REIM     FORKLIFT         FKL     REIM113268     2019   TOYOT   8FGCU25‐96809   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113269     2019   TOYOT   8FGCU25‐96825   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113270     2019   TOYOT   8FGCU25‐96828   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113271     2019   TOYOT   8FGCU25‐96834   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113272     2019   TOYOT   8FGCU25‐96841   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113273     2019   TOYOT   8FGCU25‐96844   8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT         FKL     REIM113274     2019   TOYOT   8FGCU25‐96873   8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT         FKL     REIM113275     2019   TOYOT   8FGCU25‐96877   8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT         FKL     REIM113276     2019   TOYOT   8FGCU25‐96880   8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT         FKL     REIM113277     2019   TOYOT   8FGCU25‐96879   8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT         FKL     REIM113278     2019   TOYOT   8FGCU25‐96890   8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT         FKL     REIM113279     2019   CROWN   10103963        FC5225‐50   Alberta          Calgary
 REIM     FORKLIFT         FKL     REIM113280     2019   CROWN   10103964        FC5225‐50   Alberta          Calgary
 REIM     FORKLIFT         FKL     REIM113281     2019   CROWN   10103965        FC5225‐50   Alberta          Calgary
 REIM     FORKLIFT         FKL     REIM113282     2019   CROWN   10103966        FC5225‐50   Alberta          Calgary
 REIM     FORKLIFT         FKL     REIM113283     2019   CROWN   10103967        FC5225‐50   Alberta          Calgary
 REIM     FORKLIFT         FKL     REIM113284     2019   CROWN   10103968        FC5225‐50   Alberta          Calgary
 REIM     FORKLIFT         FKL     REIM113285     2019   TOYOT   8FGCU25‐96917   8FGCU25     British Columbia Burnaby
 REIM     FORKLIFT         FKL     REIM113286     2019   TOYOT   8FGCU25‐96919   8FGCU25     British Columbia Burnaby
 REIM     FORKLIFT         FKL     REIM113287     2019   TOYOT   8FGCU25‐96925   8FGCU25     British Columbia Burnaby
 REIM     FORKLIFT         FKL     REIM113288     2019   TOYOT   8FGCU25‐96931   8FGCU25     British Columbia Burnaby
 REIM     FORKLIFT         FKL     REIM113289     2019   TOYOT   8FGCU25‐96942   8FGCU25     British Columbia Burnaby
 REIM     FORKLIFT         FKL     REIM113290     2019   TOYOT   8FGCU25‐95870   8FGCU25     Ontario          Niagara on the Lake
 REIM     FORKLIFT         FKL     REIM113291     2019   TOYOT   8FGCU25‐04506   8FGCU25     PQ               Dorval
 REIM     FORKLIFT         FKL     REIM113292     2019   TOYOT   8FGCU25‐04590   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113293     2019   TOYOT   8FGCU25‐04640   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113294     2019   TOYOT   8FGCU25‐04723   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113295     2019   TOYOT   8FGCU25‐04847   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113296     2019   TOYOT   8FGCU25‐04891   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113297     2019   TOYOT   8FGCU25‐04924   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113298     2019   TOYOT   8FGCU25‐04933   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113299     2019   TOYOT   8FGCU25‐04980   8FGCU25     Ontario          Mississauga
 REIM     FORKLIFT         FKL     REIM113300     2019   TOYOT   8FGCU25‐04984   8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT         FKL     REIM113301     2019   TOYOT   8FGCU25‐05015   8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT         FKL     REIM113302     2019   TOYOT   8FGCU25‐05019   8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT         FKL     REIM113303     2019   TOYOT   8FGCU25‐05049   8FGCU25     Manitoba         Winnipeg
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 241 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL      State            City
 REIM     FORKLIFT            FKL     REIM113304     2019   TOYOT   8FGCU25‐05071       8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT            FKL     REIM113305     2019   TOYOT   8FGCU25‐05075       8FGCU25     Manitoba         Winnipeg
 REIM     FORKLIFT            FKL     REIM2434       2007   TOYOT   8FGCU25‐14357       8FGCU25     Ontario          Mississauga
 REIM     SHOW TRAILER        SHOW    REIM897029     1997   MANAC   2M5910822V7046964               British Columbia Burnaby
 REIM     SHOW TRAILER        SHOW    REIM897030     1998   MANAC   2M5910825W1048356               British Columbia Burnaby
 REIM     SHOW TRAILER        SHOW    REIM897031     1997   MANAC   2M5910824W1048350               British Columbia Burnaby
 REIM     SHOW TRAILER        SHOW    REIM897032     2001   MANAC   2M592161211079800   94253       British Columbia Burnaby
 REIM     SHOW TRAILER        SHOW    REIM897045     2000   WABSH   1JJV532W0YL623095   DVCVHPC     OH               Akron
 REIM     SHOW TRAILER        SHOW    REIM897046     2000   WABSH   1JJV532W4YL623102   DVCVHPC     Ontario          Mississauga
 REIM     SHOW TRAILER        SHOW    REIM897047     2005   MANAC   2M592146551100630   90248       Ontario          Whitby
 REIM     SHOW TRAILER        SHOW    REIM897048     2005   MANAC   2M592146751100645   90248       Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM121118     2000   FRUHF   1JJV281F0YF704264   DVDBFSA     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM122004     1988   TRLCN   2TCV321B8JA555801   VARIOUS     PQ               Dorval
 REIM     SERVICE EQUIPMENT   STG     REIM122031     1990   FRUHF   2FEV03211LS182425   VARIOUS     British Columbia Burnaby
 REIM     SERVICE EQUIPMENT   STG     REIM122083     1997   MANAC   2M5910974V7046863   90132       British Columbia Burnaby
 REIM     SERVICE EQUIPMENT   STG     REIM123006     1997   MANAC   2M5910975V7046886   90132       Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM123007     1997   MANAC   2M5910977V7046887   90132       Saskatchewan     Saskatoon
 REIM     SERVICE EQUIPMENT   STG     REIM123009     1997   MANAC   2M5910970V7046889   90132       Saskatchewan     Saskatoon
 REIM     SERVICE EQUIPMENT   STG     REIM123063     2000   MANAC   2M5910978Y1064824   90132       Saskatchewan     Saskatoon
 REIM     SERVICE EQUIPMENT   STG     REIM123087     1997   MANAC   2M5910973V7046918   90132       Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM125582     2004   MANAC   2M592146741094375   90248       Ontario          Woodstock
 REIM     SERVICE EQUIPMENT   STG     REIM125591     1994   MANAC   2M592146XR1030001   90248       PQ               Dorval
 REIM     SERVICE EQUIPMENT   STG     REIM125612     2005   MANAC   2M592146051100650   90248       Ontario          Woodstock
 REIM     SERVICE EQUIPMENT   STG     REIM125613     2005   MANAC   2M592146251100651   90248       Ontario          Woodstock
 REIM     SERVICE EQUIPMENT   STG     REIM126008     1995   UTLTY   1UYVS2489SU427512   VS2R        Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM126502     1990   FRUHF   2FEV05322LS182128   FB9F253     Alberta          Edmonton
 REIM     SERVICE EQUIPMENT   STG     REIM128002     1990   FRUHF   2FEV05324LS182020   FB9F253     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM128004     1990   FRUHF   2FEV0532XLS182314   FB9F253     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM128017     1990   FRUHF   2FEV05326LS182018   94253       Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM128059     1990   FRUHF   2FEV05329LS182207   FB9F253     Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM129911     1982   TEMSK   TMC240410           VARIOUS     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM129915     1976   TRLCN   1.17614E+14         VARIOUS     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM129938     1965   FRUHF   DXF386301           FB8F248     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM129942     1979   FRUHF   DXV174408           FB8F248     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM129964     1976   STGHT   7621713             VARIOUS     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM129988     1988   FRUHF   2H8V02716JS032402   FB9F253     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM129989     1988   FRUHF   2H8V02715JS032407   FB9F253     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM131444     2008   WABSH   1JJV281W58L109623   VARIOUS     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM137551     2000   WABSH   1JJV532W3YL623091   DVCVHPC     Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM137552     2000   WABSH   1JJV532W5YL623092   DVCVHPC     Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM137559     2000   WABSH   1JJV532W8YL623099   DVCVHPC     Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM137563     2000   WABSH   1JJV532W6YL623103   DVCVHPC     Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM137564     2000   WABSH   1JJV532W8YL623104   DVCVHPC     Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM137565     1999   WABSH   1JJV532WXYL623105   94253       Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM147615     2001   TRLCN   MBPGSIN4818         01JA        Alberta          Edmonton
 REIM     SERVICE EQUIPMENT   STG     REIM147666     2001   TRLCN   2MN01JAH911000333   01JA        Alberta          Calgary
 REIM     SERVICE EQUIPMENT   STG     REIM147697     2001   MANAC   MBPGSIN4774         94253       British Columbia Burnaby
 REIM     SERVICE EQUIPMENT   STG     REIM147701     2001   MANAC   2M592161111079805   94253       Alberta          Calgary
 REIM     SERVICE EQUIPMENT   STG     REIM147721     2001   MANAC   2M592161711079825   VARIOUS     British Columbia Burnaby
 REIM     SERVICE EQUIPMENT   STG     REIM147762     2003   MANAC   2M592161737086175   94253       British Columbia Burnaby
 REIM     SERVICE EQUIPMENT   STG     REIM147811     2003   MANAC   2M592161537086224   VARIOUS     British Columbia Burnaby
 REIM     SERVICE EQUIPMENT   STG     REIM147819     2003   MANAC   2M592161437086232   VARIOUS     Alberta          Calgary
 REIM     SERVICE EQUIPMENT   STG     REIM147866     2004   MANAC   2M592161911079812   94253       Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM147892     2006   GRTDN   1GRAA06226K274670   7411TP      Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM147894     2006   GRTDN   1GRAA06256K274680   VARIOUS     Ontario          Ottawa
 REIM     SERVICE EQUIPMENT   STG     REIM147911     2006   GRTDN   1GRAA06286K274690   7411TP      Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM147916     2006   GRTDN   1GRAA06276K274695   VARIOUS     Ontario          Woodstock
 REIM     SERVICE EQUIPMENT   STG     REIM147918     2006   GRTDN   1GRAA06206K274697   7411TP      British Columbia Burnaby
 REIM     SERVICE EQUIPMENT   STG     REIM147922     2006   GRTDN   1GRAA06296K274701   VARIOUS     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM147927     2006   GRTDN   1GRAA06246K274671   VARIOUS     British Columbia Burnaby
 REIM     SERVICE EQUIPMENT   STG     REIM166101     2001   GRTDN   1GRAA062X1B053231   71111TJWA   PQ               Dorval
 REIM     SERVICE EQUIPMENT   STG     REIM166102     2001   GRTDN   1GRAA06211B053232   71111TJWA   PQ               Dorval
 REIM     SERVICE EQUIPMENT   STG     REIM166154     2002   TRLCN   2MN01JPH321000689   O1JP        Alberta          Edmonton
 REIM     SERVICE EQUIPMENT   STG     REIM166163     2002   TRLCN   2MN01JPH421000698   VARIOUS     Alberta          Calgary
 REIM     SERVICE EQUIPMENT   STG     REIM290077     2009   WABSH   1JJV281W39L285989   VARIOUS     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT   STG     REIM558843     2007   WABSH   1JJV532W67L043221   1JJV        Ontario          Woodstock
 REIM     SERVICE EQUIPMENT   STG     REIM843841     2004   MANAC   2M592146141094379   90248       Ontario          Mississauga
 REIM     SERVICE EQUIPMENT   STG     REIM897034     2001   TRLCN   2MN01JAH411000238   VARIOUS     British Columbia Burnaby
 REIM     SERVICE EQUIPMENT   STG     REIM897036     2001   TRLCN   2MN01JAH311000246   O1JA        British Columbia Burnaby
                    Case 23-11069-CTG                 Doc 969-1          Filed 10/26/23       Page 242 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL       State            City
 REIM     SERVICE EQUIPMENT     STG     REIM897037     2001   MANAC   2M592161011079794   94253        British Columbia Burnaby
 REIM     SERVICE EQUIPMENT     STG     REIM897038     2001   TRLCN   2MN01JAH911000249   O1JA         British Columbia Burnaby
 REIM     SERVICE EQUIPMENT     STG     REIM897040     2001   TRLCN   2MN01JAH911000302   O1JA         British Columbia Burnaby
 REIM     SERVICE EQUIPMENT     STG     REIM897041     2001   MANAC   2M592161511079791   94253        British Columbia Burnaby
 REIM     SERVICE EQUIPMENT     STG     REIM897042     2003   MANAC   2M592161837086203   94235        British Columbia Burnaby
 REIM     SERVICE EQUIPMENT     STG     REIM897043     2001   TRLCN   2MN01JAH211000285   VARIOUS      British Columbia Burnaby
 REIM     SERVICE EQUIPMENT     STG     REIM899091     1987   FRUHF   1H2V04829JH035679   VARIOUS      PQ               Sherbrooke
 REIM     SERVICE EQUIPMENT     STG     REIM899257     2001   TRLCN   2MN01JAH611000256   01JA         Ontario          Woodstock
 REIM     SERVICE EQUIPMENT     STG     REIM98175      1999   ROUSS   2R1B3W3C9E1000050   94253        Ontario          Mississauga
 REIM     SERVICE EQUIPMENT     STG     REIM98234      1984   TRLCN   2TCV482B4EA271005   94253        Ontario          Mississauga
 REIM     SERVICE EQUIPMENT     STG     REIM98236      1984   TRLCN   2TCV482B8EA271007   94253        Ontario          Mississauga
 REIM     SERVICE EQUIPMENT     STG     REIM98240      1984   TRLCN   2TCV482BXEA271011   94253        Ontario          Mississauga
 REIM     SERVICE EQUIPMENT     STG     REIM98257      1984   TRLCN   2TCV482B5EA271028   94253        Ontario          Mississauga
 REIM     SERVICE EQUIPMENT     STG     REIM98261      1984   TRLCN   2TCV482B7EA271032   94253        Ontario          Mississauga
 REIM     SERVICE EQUIPMENT     STG     REIM98270      1984   TRLCN   UNKNOWN1            94253        Ontario          Mississauga
 REIM     SERVICE EQUIPMENT     STG     REIM98274      1984   TRLCN   2TCV482B5EA271045   94253        Ontario          Mississauga
 REIM     SERVICE EQUIPMENT     SVC‐CTR REIM115038     1998   FORD    1FTYS92B1WVA18986   L9513        Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT     SVC‐FKL REIM113018     2000   MTSBS   AF82A51784          FGC25        British Columbia Burnaby
 REIM     SERVICE EQUIPMENT     SVC‐FKL REIM113067     1991   CLARK   68571390            VARIOUS      PQ               Dorval
 REIM     SERVICE EQUIPMENT     SVC‐FKL REIM113183     2001   CTRPL   6AP00700            GC25LPSC     Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT     SVC‐FKL REIM113223     2007   TOYOT   8FGCU25‐13953       8FGCU25      Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT     SVC‐OTH REIM115037     2000   GMC     1GTEC14W3YZ264886   C2500        Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT     SVC‐OTH REIM115758     1997   FORD    1FTEE1428VHA74395   E‐150        Manitoba         Winnipeg
 REIM     SERVICE EQUIPMENT     SVC‐YTR REIM112025     2004   OTTWA   308534              COMMAND      Manitoba         Winnipeg
 REIM     YARD TRACTOR          YTR     REIM112021     1999   OTTWA   79119               COMMANDO30   Saskatchewan     Saskatoon
 REIM     YARD TRACTOR          YTR     REIM112027     2005   OTTWA   311877              COMMAND      British Columbia Burnaby
 REIM     YARD TRACTOR          YTR     REIM112028     2005   OTTWA   311878              COMMAND      Alberta          Edmonton
 REIM     YARD TRACTOR          YTR     REIM112029     2006   OTTWA   313778              COMMAND      Ontario          Woodstock
 REIM     YARD TRACTOR          YTR     REIM112030     2006   OTTWA   314191              COMMAND      PQ               Dorval
 REIM     YARD TRACTOR          YTR     REIM112031     2007   OTTWA   317016              COMMAND      Ontario          Mississauga
 REIM     YARD TRACTOR          YTR     REIM112033     2018   OTTWA   346763              YT30         PQ               Dorval
 REIM     YARD TRACTOR          YTR     REIM112034     2018   OTTWA   346764              YT30         Ontario          Mississauga
 REIM     YARD TRACTOR          YTR     REIM112035     2018   OTTWA   346765              YT30         Manitoba         Winnipeg
 REIM     YARD TRACTOR          YTR     REIM112036     2018   OTTWA   347724              YT30         Alberta          Calgary
 REIM     YARD TRACTOR          YTR     REIM112037     2018   OTTWA   347725              YT30         British Columbia Burnaby
 REIM     YARD TRACTOR          YTR     REIM290        2020   OTTWA   356001              T2           Ontario          Mississauga
 REIM     YARD TRACTOR          YTR     REIM291        2020   OTTWA   356002              T2           British Columbia Burnaby
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL61000      2014   FRGHT   3ALACWDT8EDFU6201   M2           CO               Henderson
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL61001      2014   FRGHT   3ALACWDT9EDFU7003   M2           CA               Fontana
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL61002      2014   FRGHT   3ALACWDT0EDFU7004   M2           CA               Orange
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL61006      2016   FRGHT   3ALACWDU9GDHJ2494   M2           AZ               Phoenix
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL61007      2014   FRGHT   3ALACWDT9EDFU2223   M2           CO               Henderson
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL61008      2018   FRGHT   3ALACWFCXJDJH4098   M2           CA               Brisbane
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6909       2016   FRGHT   1FVACWDT5GHHN3187   M2           CA               Downey
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6910       2016   FRGHT   1FVACWDT7GHHN3188   M2           WA               East Wenatchee
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6911       2016   FRGHT   1FVACWDT9GHHN3189   M2           OR               Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6912       2016   FRGHT   1FVACWDT5GHHN3190   M2           CA               San Diego
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6913       2016   FRGHT   1FVACWDT7GHHN3191   M2           CA               Hayward
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6914       2016   FRGHT   1FVACWDT9GHHN3192   M2           CA               Tracy
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6915       2016   FRGHT   1FVACWDT0GHHN3193   M2           CA               San Diego
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6916       2016   FRGHT   1FVACWDT2GHHN3194   M2           CA               San Diego
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6917       2016   FRGHT   1FVACWDT4GHHN3195   M2           CA               Santa Clara
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6918       2016   FRGHT   1FVACWDT6GHHN3196   M2           CA               Sun Valley
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6919       2016   FRGHT   1FVACWDT8GHHN3197   M2           AZ               Phoenix
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6920       2016   FRGHT   1FVACWDTXGHHN3198   M2           OR               Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6921       2016   FRGHT   1FVACWDT1GHHN3199   M2           OR               Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6922       2016   FRGHT   1FVACWDT4GHHN3200   M2           WA               Union Gap
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6923       2016   FRGHT   1FVACWDT6GHHN3201   M2           CA               West Sacramento
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6924       2018   FRGHT   3ALACWFC3JDJN7504   M2           WA               Tacoma
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6925       2018   FRGHT   3ALACWFC5JDJN7505   M2           WA               Seattle
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6928       2018   FRGHT   3ALACWFC2JDJU1228   M2           CO               Henderson
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6929       2018   FRGHT   3ALACWFC4JDJU1229   M2           CO               Henderson
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6930       2018   FRGHT   3ALACWFC0JDJU1230   M2           CA               Orange
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6931       2018   FRGHT   3ALACWFC2JDJU1231   M2           CA               Gardena
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6932       2018   FRGHT   3ALACWFC4JDJU1232   M2           CO               Henderson
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6933       2018   FRGHT   3ALACWFC6JDJU1233   M2           CA               Santa Clara
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6934       2018   FRGHT   3ALACWFC8JDJU1234   M2           AZ               Phoenix
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6935       2018   FRGHT   3ALACWFCXJDJU1235   M2           AZ               Phoenix
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6936       2018   FRGHT   3ALACWFC1JDJU1236   M2           OR               Portland
                    Case 23-11069-CTG                Doc 969-1         Filed 10/26/23        Page 243 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6937      2018   FRGHT   3ALACWFC3JDJU1237   M2        OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6938      2018   FRGHT   3ALACWFC5JDJU1238   M2        OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6939      2018   FRGHT   3ALACWFC7JDJU1239   M2        UT      Salt Lake City
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6940      2018   FRGHT   3ALACWFC3JDJU1240   M2        WA      Spokane
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6941      2018   FRGHT   3ALACWFC5JDJU1241   M2        WA      Spokane
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6942      2018   PTRBL   2NP2HM6X1JM495674   330       OR      Eugene
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6943      2018   PTRBL   2NP2HM6X3JM495675   330       OR      Eugene
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6944      2018   PTRBL   2NP2HM6X5JM495676   330       OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6945      2018   PTRBL   2NP2HM6X7JM495677   330       OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6946      2018   PTRBL   2NP2HM6X9JM495678   330       OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6947      2018   PTRBL   2NP2HM6X0JM495679   330       OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6948      2018   PTRBL   2NP2HM6X7JM495680   330       WA      Everett
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6949      2018   PTRBL   2NP2HM6X9JM495681   330       WA      Everett
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6950      2018   PTRBL   2NP2HM6X0JM495682   330       WA      Tacoma
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6951      2018   PTRBL   2NP2HM6X2JM495683   330       OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6952      2018   PTRBL   2NP2HM6X4JM495684   330       WA      Everett
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6953      2018   PTRBL   2NP2HM6X6JM495685   330       WA      Spokane
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6954      2018   PTRBL   2NP2HM6X8JM495686   330       MT      Missoula
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6955      2018   PTRBL   2NP2HM6XXJM495687   330       WA      Tacoma
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6956      2018   PTRBL   2NP2HM6X1JM495688   330       WA      Everett
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6957      2018   PTRBL   2NP2HM6X3JM495689   330       WA      Seattle
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6958      2018   PTRBL   2NP2HM6XXJM495690   330       CA      West Sacramento
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6959      2018   PTRBL   2NP2HM6X1JM495691   330       CA      Downey
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6960      2018   PTRBL   2NP2HM6X3JM495692   330       CA      Downey
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6961      2018   PTRBL   2NP2HM6X5JM495693   330       CO      Henderson
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6962      2019   NVSTR   3HAMMMMLXKL569005   4300      CA      Sun Valley
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6963      2019   NVSTR   3HAMMMML1KL569006   4300      CA      Gardena
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6965      2019   NVSTR   3HAMMMML5KL569008   4300      CA      Downey
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6966      2019   NVSTR   3HAMMMML7KL569009   4300      CA      Brisbane
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6967      2019   NVSTR   3HAMMMML9KL578035   4300      CA      Hayward
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6968      2019   NVSTR   3HAMMMML0KL578036   4300      CA      Hayward
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6969      2019   NVSTR   3HAMMMML2KL578037   4300      CA      Hayward
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6970      2019   NVSTR   3HAMMMML4KL578038   4300      CA      Orange
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6971      2019   NVSTR   3HAMMMML6KL578039   4300      CA      West Sacramento
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6972      2020   PTRBL   2NP2HM6X0LM661217   330       WA      Tacoma
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6973      2020   PTRBL   2NP2HM6X2LM661218   330       OR      Redmond
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6974      2020   PTRBL   2NP2HM6X4LM661219   330       CA      Hayward
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6975      2020   PTRBL   2NP2HM6X0LM661220   330       CA      Hayward
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6976      2020   PTRBL   2NP2HM6X2LM661221   330       CA      Anderson
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6977      2020   PTRBL   2NP2HM6X4LM661222   330       CA      West Sacramento
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6978      2020   PTRBL   2NP2HM6X6LM661223   330       CA      West Sacramento
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6979      2020   PTRBL   2NP2HM6X8LM661224   330       CA      Santa Clara
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6980      2020   PTRBL   2NP2HM6XXLM661225   330       CA      Santa Clara
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6981      2020   PTRBL   2NP2HM6X1LM661226   330       CA      Santa Clara
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6982      2015   FRGHT   3ALACWDT5FDGD7861   M2        CA      Santa Clara
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6983      2015   FRGHT   3ALACWDT1FDGD7842   M2        CA      Tracy
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6984      2014   FRGHT   1FVACWDT6EHFJ4342   M2        CA      Tracy
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6985      2015   FRGHT   3ALACWDT3FDGD7843   M2        CA      Hayward
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6986      2015   FRGHT   3ALACWDT2FDGD7901   M2        CA      Hayward
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6987      2015   FRGHT   3ALACWDT6FDGD7853   M2        CA      Brisbane
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6990      2012   FRGHT   1FVACWDTXCDBP1197   M2        CO      Henderson
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6991      2013   FRGHT   3ALACWDT4DDFF7240   M2        NV      Elko
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6992      2015   FRGHT   3ALACWDT7FDGF7626   M2        CA      Brisbane
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6993      2021   KNWRT   1NKHHM6X3MR464021   T270      OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6994      2021   KNWRT   1NKHHM6X5MR464022   T270      OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6995      2021   KNWRT   1NKHHM6X7MR464023   T270      OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6996      2021   KNWRT   1NKHHM6X9MR464024   T270      OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6997      2021   KNWRT   1NKHHM6X0MR464025   T270      OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6998      2021   KNWRT   1NKHHM6X9MR464038   T270      OR      Redmond
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL6999      2015   FRGHT   3ALACWDT3FDGJ3949   M2        NE      Omaha
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL80048     2014   FRGHT   3ALACWDT9EDFV0192   M2        WA      Everett
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL80064     2014   FRGHT   3ALACWDT8EDFZ5964   M2        WA      Tacoma
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL80066     2013   FRGHT   1FVACWDT5DHBZ6230   M2        MT      Butte
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL80083     2012   FRGHT   1FVACWDT3CHBF1796   M2        WA      Everett
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL80126     2017   FRGHT   3ALACWDT1HDHV3680   M2        CA      Fontana
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL80140     2017   FRGHT   3ALACWDT9HDJD7038   M2        CA      Santa Maria
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL80159     2021   KNWRT   1NKHHM6X3MR464049   T270      WA      Tacoma
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL80160     2021   KNWRT   1NKHHM6XXMR464050   T270      OR      Eugene
 RETL     STRAIGHT/ BOX TRUCK   BOX     RETL80221     2024   INTL    3HAEUMML5RL719066   4300      ID      Meridian
                    Case 23-11069-CTG                  Doc 969-1          Filed 10/26/23           Page 244 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     STRAIGHT/ BOX TRUCK   BOX      RETL80226      2024   INTL    3HAEUMML9RL719071   4300          WA      Spokane
 RETL     STRAIGHT/ BOX TRUCK   BOX      RETL80227      2024   INTL    3HAEUMML0RL719072   4300          WA      Tacoma
 RETL     STRAIGHT/ BOX TRUCK   BOX      RETL80228      2024   INTL    3HAEUMML2RL719073   4300          OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   BOX      RETL80229      2024   INTL    3HAEUMML4RL719074   4300          OR      Portland
 RETL     STRAIGHT/ BOX TRUCK   CTK      RETL82586      2004   FRGHT   1FVABTAK34DM46887   FL70          WY      Buffalo
 RETL     STRAIGHT/ BOX TRUCK   CTK      RETL82680      2018   PTRBL   2NP2HM7X5JM491948   337           WA      Spokane
 RETL     CITY TRAILER          CTL‐SA   RETL728134     1997   UTLTY   1UYVS1285VU278502   REFER         CO      Henderson
 RETL     CITY TRAILER          CTL‐SA   RETL728144     1997   UTLTY   1UYVS1289WU613701   REFER         OR      Portland
 RETL     CITY TRAILER          CTL‐SA   RETL728149     1997   UTLTY   1UYVS1288WU613706   REFER         WA      Union Gap
 RETL     CITY TRAILER          CTL‐SA   RETL728153     1997   UTLTY   1UYVS128XWU613710   REFER         OR      Portland
 RETL     CITY TRAILER          CTL‐SA   RETL728155     1997   UTLTY   1UYVS1283WU613712   REFER         OR      Portland
 RETL     CITY TRAILER          CTL‐SA   RETL728159     2016   HYUND   3H3V281C3GT577001   REFER         CA      Pico Rivera
 RETL     CITY TRAILER          CTL‐SA   RETL728160     2016   HYUND   3H3V281C5GT577002   REFER         CA      Brisbane
 RETL     CITY TRAILER          CTL‐SA   RETL728161     2016   HYUND   3H3V281C7GT577003   REFER         CA      Pico Rivera
 RETL     CITY TRAILER          CTL‐SA   RETL728162     2016   HYUND   3H3V281C9GT577004   REFER         CA      Orange
 RETL     CITY TRAILER          CTL‐SA   RETL730133     2008   WABSH   1JJV281W38L109636                 OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL730145     2009   WABSH   1JJV281W19L286199                 ID      Twin Falls
 RETL     CITY TRAILER          CTL‐SA   RETL821179     2009   WABSH   1JJV401W99L285023                 OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL821184     2009   WABSH   1JJV401W89L285028                 OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL821212     2009   WABSH   1JJV401W29L285056                 UT      Salt Lake City
 RETL     CITY TRAILER          CTL‐SA   RETL821215     2009   WABSH   1JJV401W89L285059                 WA      Spokane
 RETL     CITY TRAILER          CTL‐SA   RETL821403     2018   HYUND   3H3V401C5JT868070   HY            CA      Fresno
 RETL     CITY TRAILER          CTL‐SA   RETL821404     2018   HYUND   3H3V401C7JT868071   HY            CA      Visalia
 RETL     CITY TRAILER          CTL‐SA   RETL821407     2018   HYUND   3H3V401C2JT868074   HY            CA      Santa Maria
 RETL     CITY TRAILER          CTL‐SA   RETL827299     1975   COMET   77516549            FLT B         OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL827529     1965   COMET   312878              FLT B         CA      Fontana
 RETL     CITY TRAILER          CTL‐SA   RETL828970     1989   FRUHF   1H4P02810KJ045202   FLT B         OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL89005      2009   WABSH   1JJV401W59L285083                 CA      Visalia
 RETL     CITY TRAILER          CTL‐SA   RETL89048      2009   WABSH   1JJV401W89L285126                 CA      Anderson
 RETL     CITY TRAILER          CTL‐SA   RETL89512      2004   WABSH   1JJV281W94L887062   DVDBHPC       CO      Grand Junction
 RETL     CITY TRAILER          CTL‐SA   RETL89631      2004   WABSH   1JJV281WX4L887278   DVDBHPC       CA      Fresno
 RETL     CITY TRAILER          CTL‐SA   RETL928000     2003   GRTDN   1GRAA57133K248304   DRY V         CA      Bakersfield
 RETL     CITY TRAILER          CTL‐SA   RETL928001     2003   GRTDN   1GRAA57143K248313   DRY V         CA      Sacramento
 RETL     CITY TRAILER          CTL‐SA   RETL928006     1999   STRCK   1S11E8282XE444850   DRY V         CA      Anderson
 RETL     CITY TRAILER          CTL‐SA   RETL928007     1999   STRCK   1S11E8284XE447851   DRY V         CA      Sun Valley
 RETL     CITY TRAILER          CTL‐SA   RETL928008     1999   STRCK   1S11E8286XE447852   DRY V         CA      Eureka
 RETL     CITY TRAILER          CTL‐SA   RETL928010     1999   STRCK   1S11E8283XE447856   DRY V         OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL928011     1999   STRCK   1S11E8287XE447858   DRY V         WA      Spokane
 RETL     CITY TRAILER          CTL‐SA   RETL928012     1999   STRCK   1S11E8289XE447859   DRY V         MT      Billings
 RETL     CITY TRAILER          CTL‐SA   RETL928013     1999   STRCK   1S11E8287XE447861   DRY V         WA      Spokane
 RETL     CITY TRAILER          CTL‐SA   RETL928014     2000   STRCK   1S11E8287YE461292   DRY V         UT      St. George
 RETL     CITY TRAILER          CTL‐SA   RETL928015     2000   STRCK   1S11E8289YE461293   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER          CTL‐SA   RETL928016     2000   STRCK   1S11E8280YE461294   DRY V         NM      Albuquerque
 RETL     CITY TRAILER          CTL‐SA   RETL928017     2000   STRCK   1S11E8284YE461296   DRY V         OR      La Grande
 RETL     CITY TRAILER          CTL‐SA   RETL928018     2000   STRCK   1S11E8288YE461298   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER          CTL‐SA   RETL928019     2000   STRCK   1S11E8282YE461300   DRY V         CA      Bakersfield
 RETL     CITY TRAILER          CTL‐SA   RETL928021     2000   STRCK   1S11E8286YE461302   DRY V         AZ      Flagstaff
 RETL     CITY TRAILER          CTL‐SA   RETL928022     2000   STRCK   1S11E8288YE461303   DRY V         OR      Portland
 RETL     CITY TRAILER          CTL‐SA   RETL928023     2000   STRCK   1S11E828XYE461304   DRY V         OR      Eugene
 RETL     CITY TRAILER          CTL‐SA   RETL928024     2000   STRCK   1S11E8281YE461305   DRY V         WA      East Wenatchee
 RETL     CITY TRAILER          CTL‐SA   RETL928025     2000   STRCK   1S11E8283YE461306   DRY V         OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL928026     2000   STRCK   1S11E8287YE461308   DRY V         OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL928027     2000   STRCK   1S11E8285YE461310   DRY V         CA      Eureka
 RETL     CITY TRAILER          CTL‐SA   RETL928028     2000   STRCK   1S11E8289YE461312   DRY V         CA      Pico Rivera
 RETL     CITY TRAILER          CTL‐SA   RETL928029     2000   STRCK   1S11E8280YE461313   DRY V         CA      Fresno
 RETL     CITY TRAILER          CTL‐SA   RETL928030     2000   STRCK   1S11E8282YE461314   DRY V         CA      West Sacramento
 RETL     CITY TRAILER          CTL‐SA   RETL928031     2000   STRCK   1S11E8284YE461315   DRY V         OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL928033     2000   STRCK   1S11E8281YE461322   DRY V         WA      Spokane
 RETL     CITY TRAILER          CTL‐SA   RETL928036     2000   STRCK   1S11E8280YE461327   DRY V         OR      Portland
 RETL     CITY TRAILER          CTL‐SA   RETL928037     2000   STRCK   1S11E8280YE461330   DRY V         CO      Henderson
 RETL     CITY TRAILER          CTL‐SA   RETL928038     2000   STRCK   1S11E8282YE461331   DRY V         OR      Portland
 RETL     CITY TRAILER          CTL‐SA   RETL928040     2002   STRCK   1S11E82882E492915   DRY V         OR      Central Point
 RETL     CITY TRAILER          CTL‐SA   RETL928041     2002   STRCK   1S11E82812E492917   DRY V         WA      Pasco
 RETL     CITY TRAILER          CTL‐SA   RETL928042     2002   STRCK   1S11E82832E492918   DRY V         CO      Grand Junction
 RETL     CITY TRAILER          CTL‐SA   RETL928043     2002   STRCK   1S11E82852E492919   DRY V         CA      Eureka
 RETL     CITY TRAILER          CTL‐SA   RETL928044     2002   STRCK   1S11E82812E492920   DRY V         CA      Bakersfield
 RETL     CITY TRAILER          CTL‐SA   RETL928045     2002   STRCK   1S11E82852E492922   DRY V         CA      Downey
 RETL     CITY TRAILER          CTL‐SA   RETL928046     2002   STRCK   1S11E82872E492923   DRY V         CA      Downey
 RETL     CITY TRAILER          CTL‐SA   RETL928047     2002   STRCK   1S11E82892E492924   DRY V         OR      Redmond
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 245 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐SA   RETL928048     2002   STRCK   1S11E82802E492925   DRY V     OR      Redmond
 RETL     CITY TRAILER     CTL‐SA   RETL928049     2002   STRCK   1S11E82822E492926   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐SA   RETL928050     2002   STRCK   1S11E82882E492929   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐SA   RETL928051     2002   STRCK   1S11E82842E492930   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL928053     2002   STRCK   1S11E82882E492932   DRY V     ID      Meridian
 RETL     CITY TRAILER     CTL‐SA   RETL928054     2002   STRCK   1S11E828X2E492933   DRY V     OR      Eugene
 RETL     CITY TRAILER     CTL‐SA   RETL928055     2002   STRCK   1S11E82832E492935   DRY V     OR      Eugene
 RETL     CITY TRAILER     CTL‐SA   RETL928056     2002   STRCK   1S11E82852E492936   DRY V     WA      Bellingham
 RETL     CITY TRAILER     CTL‐SA   RETL928057     2002   STRCK   1S11E82872E492937   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐SA   RETL928058     2002   STRCK   1S11E82892E492938   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL928059     2002   STRCK   1S11E82802E492939   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐SA   RETL928060     2004   GRTDN   1GRAA56124K255537   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL928061     2004   GRTDN   1GRAA56144K255541   DRY V     MT      Butte
 RETL     CITY TRAILER     CTL‐SA   RETL928062     2004   GRTDN   1GRAA561X4K255544   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐SA   RETL928063     2004   GRTDN   1GRAA56124K255554   DRY V     CA      Ventura
 RETL     CITY TRAILER     CTL‐SA   RETL928064     2004   GRTDN   1GRAA56144K255555   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL928065     2004   GRTDN   1GRAA56164K255556   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐SA   RETL928066     2004   GRTDN   1GRAA56154K255564   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐SA   RETL928067     2004   GRTDN   1GRAA56124K255571   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐SA   RETL928068     2004   GRTDN   1GRAA56144K255572   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐SA   RETL928069     2004   GRTDN   1GRAA56134K255580   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐SA   RETL928070     2003   GRTDN   1GRAA56163K255975   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐SA   RETL928071     2003   GRTDN   1GRAA56183K255976   DRY V     CA      Calexico
 RETL     CITY TRAILER     CTL‐SA   RETL928074     2003   GRTDN   1GRAA56133K255979   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐SA   RETL928075     2003   GRTDN   1GRAA561X3K255980   DRY V     MT      Missoula
 RETL     CITY TRAILER     CTL‐SA   RETL928076     2003   GRTDN   1GRAA56113K255981   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐SA   RETL928077     2003   GRTDN   1GRAA56133K255982   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐SA   RETL928078     2003   GRTDN   1GRAA56153K255983   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐SA   RETL928079     2003   GRTDN   1GRAA56173K255984   DRY V     MT      Butte
 RETL     CITY TRAILER     CTL‐SA   RETL928080     2003   GRTDN   1GRAA56193K255985   DRY V     CO      Colorado Springs
 RETL     CITY TRAILER     CTL‐SA   RETL928081     2003   GRTDN   1GRAA56103K255986   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐SA   RETL928082     2003   GRTDN   1GRAA56123K255987   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐SA   RETL928083     2003   GRTDN   1GRAA56143K255988   DRY V     AZ      Flagstaff
 RETL     CITY TRAILER     CTL‐SA   RETL928084     2003   GRTDN   1GRAA56163K255989   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐SA   RETL928085     2003   GRTDN   1GRAA56123K255990   DRY V     CO      Colorado Springs
 RETL     CITY TRAILER     CTL‐SA   RETL928086     2003   GRTDN   1GRAA56143K255991   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐SA   RETL928087     2003   GRTDN   1GRAA56163K255992   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐SA   RETL928088     2003   GRTDN   1GRAA56183K255993   DRY V     WA      Everett
 RETL     CITY TRAILER     CTL‐SA   RETL928089     2003   GRTDN   1GRAA56133K255996   DRY V     WA      Union Gap
 RETL     CITY TRAILER     CTL‐SA   RETL928090     2003   GRTDN   1GRAA56153K255997   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐SA   RETL928091     2003   GRTDN   1GRAA56173K255998   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐SA   RETL928092     2003   GRTDN   1GRAA56193K255999   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL928093     2004   GRTDN   1GRAA56154K264006   DRY V     OR      La Grande
 RETL     CITY TRAILER     CTL‐SA   RETL928094     2004   GRTDN   1GRAA56174K264007   DRY V     OR      La Grande
 RETL     CITY TRAILER     CTL‐SA   RETL928095     2004   GRTDN   1GRAA56194K264008   DRY V     MT      Missoula
 RETL     CITY TRAILER     CTL‐SA   RETL928096     2004   GRTDN   1GRAA56104K264009   DRY V     MT      Missoula
 RETL     CITY TRAILER     CTL‐SA   RETL928097     2004   GRTDN   1GRAA56174K264010   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐SA   RETL928098     2004   GRTDN   1GRAA56124K264013   DRY V     AZ      Tucson
 RETL     CITY TRAILER     CTL‐SA   RETL928099     2004   GRTDN   1GRAA56144K264014   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐SA   RETL928100     2004   GRTDN   1GRAA56164K264015   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐SA   RETL928101     2004   GRTDN   1GRAA56184K264016   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐SA   RETL928102     2004   GRTDN   1GRAA561X4K264017   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐SA   RETL928103     2004   GRTDN   1GRAA56114K264018   DRY V     CA      Brisbane
 RETL     CITY TRAILER     CTL‐SA   RETL928104     2004   GRTDN   1GRAA56134K264019   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐SA   RETL928105     2004   GRTDN   1GRAA561X4K264020   DRY V     WA      Pasco
 RETL     CITY TRAILER     CTL‐SA   RETL928107     2004   STRCK   1GRAA56134K264022   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐SA   RETL928108     2004   GRTDN   1GRAA56154K264023   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐SA   RETL928109     2004   GRTDN   1GRAA56174K264024   DRY V     UT      St. George
 RETL     CITY TRAILER     CTL‐SA   RETL928110     2004   GRTDN   1GRAA56194K264025   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐SA   RETL928111     2004   GRTDN   1GRAA56134K255546   DRY V     MT      Butte
 RETL     CITY TRAILER     CTL‐SA   RETL928112     2004   GRTDN   1GRAA56154K255547   DRY V     WY      Buffalo
 RETL     CITY TRAILER     CTL‐SA   RETL928113     2004   GRTDN   1GRAA56174K255548   DRY V     NV      Elko
 RETL     CITY TRAILER     CTL‐SA   RETL928114     2003   GRTDN   1GRAA57143K248330   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐SA   RETL928115     2003   GRTDN   1GRAA57123K248360   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐SA   RETL928116     2003   GRTDN   1GRAA571X3K248364   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐SA   RETL928117     1999   STRCK   1S11E8283XE449557   28FT      AZ      Phoenix
 RETL     CITY TRAILER     CTL‐SA   RETL928118     2000   STRCK   1S11E8287YE449658   28FT      CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐SA   RETL928119     2000   STRCK   1S11E828XYE449704   28FT      CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL928120     2000   STRCK   1S11E828XYE465756   28FT      CA      Fresno
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 246 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐SA   RETL928121     2000   STRCK   1S11E8281YE465807   28FT      CA      Orange
 RETL     CITY TRAILER     CTL‐SA   RETL928122     2005   GRTDN   1GRAA56185K263899   LGT V     OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL928123     2005   GRTDN   1GRAA56105K263900   LGT V     CA      Santa Maria
 RETL     CITY TRAILER     CTL‐SA   RETL928124     2005   GRTDN   1GRAA56125K263901   LGT V     CA      San Diego
 RETL     CITY TRAILER     CTL‐SA   RETL928125     2005   GRTDN   1GRAA56145K263902   LGT V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL928126     2005   GRTDN   1GRAA56165K263903   LGT V     CA      Santa Rosa
 RETL     CITY TRAILER     CTL‐SA   RETL928127     2005   GRTDN   1GRAA56185K263904   LGT V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL928128     2005   GRTDN   1GRAA561X5K263905   LGT V     CA      Hayward
 RETL     CITY TRAILER     CTL‐SA   RETL928129     2005   GRTDN   1GRAA56115K263906   LGT V     OR      Roseburg
 RETL     CITY TRAILER     CTL‐SA   RETL928130     2005   GRTDN   1GRAA56135K263907   LGT V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL928131     2005   GRTDN   1GRAA56155K263908   LGT V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐SA   RETL928132     2005   GRTDN   1GRAA56175K263909   LGT V     CA      Visalia
 RETL     CITY TRAILER     CTL‐SA   RETL928133     2005   GRTDN   1GRAA56135K263910   LGT V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL928134     2005   GRTDN   1GRAA56155K263911   LGT V     AZ      Lake Havasu City
 RETL     CITY TRAILER     CTL‐SA   RETL928135     2005   GRTDN   1GRAA56175K263912   LGT V     CA      Anderson
 RETL     CITY TRAILER     CTL‐SA   RETL928136     2005   GRTDN   1GRAA56195K263913   LGT V     CA      Orange
 RETL     CITY TRAILER     CTL‐SA   RETL928137     2005   UTLTY   1UYVS12845G528410   DRY V     CA      Santa Clara
 RETL     CITY TRAILER     CTL‐SA   RETL940000     2003   GRTDN   1GRAA80213K247821   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐SA   RETL940001     2003   GRTDN   1GRAA80283K247833   DRY V     CO      Grand Junction
 RETL     CITY TRAILER     CTL‐SA   RETL940002     2003   GRTDN   1GRAA80213K247835   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐SA   RETL940003     2003   GRTDN   1GRAA80263K247846   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐SA   RETL940004     2003   GRTDN   1GRAA80213K247849   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐SA   RETL940005     2003   GRTDN   1GRAA80243K247876   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐SA   RETL940006     2003   GRTDN   1GRAA80263K247877   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940008     2003   GRTDN   1GRAA80213K247897   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940009     2005   GRTDN   1GRAA801X5D410304   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL940010     2005   GRTDN   1GRAA80115D410305   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐SA   RETL940011     2005   GRTDN   1GRAA80135D410306   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐SA   RETL940012     2005   GRTDN   1GRAA80105D410313   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940013     2005   GRTDN   1GRAA80125D410314   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐SA   RETL940014     2005   GRTDN   1GRAA80185D410317   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940015     2005   GRTDN   1GRAA80115D410336   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐SA   RETL940016     2005   GRTDN   1GRAA80185D410348   L/GAT     AZ      Tucson
 RETL     CITY TRAILER     CTL‐SA   RETL940562     2003   GRTDN   1GRAA80223K247858   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐SA   RETL940563     2005   GRTDN   1GRAA80135D410354   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐SA   RETL940564     2008   UTLTY   1UYVS14048G328610   LGT V     CA      Tracy
 RETL     CITY TRAILER     CTL‐SA   RETL940565     2008   UTLTY   1UYVS14008G328605   LGT V     OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL940566     2008   UTLTY   1UYVS14058G328602   LGT V     WA      Union Gap
 RETL     CITY TRAILER     CTL‐SA   RETL940567     2008   UTLTY   1UYVS14098G328604   LGT V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐SA   RETL940568     2015   HYUND   3H3V401C6FT510001   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐SA   RETL940569     2015   HYUND   3H3V401C8FT510002   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐SA   RETL940570     2015   HYUND   3H3V401CXFT510003   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐SA   RETL940571     2015   HYUND   3H3V401C1FT510004   DRY V     WA      Union Gap
 RETL     CITY TRAILER     CTL‐SA   RETL940572     2015   HYUND   3H3V401C3FT510005   DRY V     CA      Eureka
 RETL     CITY TRAILER     CTL‐SA   RETL940573     2015   HYUND   3H3V401C5FT510006   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐SA   RETL940574     2015   HYUND   3H3V401C7FT510007   DRY V     AZ      Tucson
 RETL     CITY TRAILER     CTL‐SA   RETL940575     2015   HYUND   3H3V401C9FT510008   DRY V     CA      Santa Maria
 RETL     CITY TRAILER     CTL‐SA   RETL940576     2015   HYUND   3H3V401C0FT510009   DRY V     CA      Santa Maria
 RETL     CITY TRAILER     CTL‐SA   RETL940577     2015   HYUND   3H3V401C7FT510010   DRY V     CA      Santa Maria
 RETL     CITY TRAILER     CTL‐SA   RETL940578     2015   HYUND   3H3V401C9FT510011   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐SA   RETL940579     2015   HYUND   3H3V401C0FT510012   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐SA   RETL940580     2015   HYUND   3H3V401C2FT510013   DRY V     OR      Roseburg
 RETL     CITY TRAILER     CTL‐SA   RETL940581     2015   HYUND   3H3V401C4FT510014   DRY V     AZ      Lake Havasu City
 RETL     CITY TRAILER     CTL‐SA   RETL940582     2015   HYUND   3H3V401C6FT510015   DRY V     WY      Buffalo
 RETL     CITY TRAILER     CTL‐SA   RETL940583     2015   HYUND   3H3V401C8FT510016   DRY V     WA      East Wenatchee
 RETL     CITY TRAILER     CTL‐SA   RETL940584     2015   HYUND   3H3V401CXFT510017   DRY V     CA      Anderson
 RETL     CITY TRAILER     CTL‐SA   RETL940585     2015   HYUND   3H3V401C1FT510018   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐SA   RETL940586     2015   HYUND   3H3V401C3FT510019   DRY V     CA      Santa Clara
 RETL     CITY TRAILER     CTL‐SA   RETL940587     2015   HYUND   3H3V401CXFT510020   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐SA   RETL940588     2015   HYUND   3H3V401C1FT510021   DRY V     AZ      Tucson
 RETL     CITY TRAILER     CTL‐SA   RETL940589     2015   HYUND   3H3V401C3FT510022   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐SA   RETL940590     2016   HYUND   3H3V401C8GT546001   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL940591     2016   HYUND   3H3V401CXGT546002   DRY V     WA      Everett
 RETL     CITY TRAILER     CTL‐SA   RETL940592     2016   HYUND   3H3V401C1GT546003   DRY V     WA      Everett
 RETL     CITY TRAILER     CTL‐SA   RETL940593     2016   HYUND   3H3V401C3GT546004   DRY V     CA      Santa Rosa
 RETL     CITY TRAILER     CTL‐SA   RETL940594     2016   HYUND   3H3V401C5GT546005   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐SA   RETL940595     2016   HYUND   3H3V401C7GT546006   DRY V     CA      Brisbane
 RETL     CITY TRAILER     CTL‐SA   RETL940596     2016   HYUND   3H3V401C9GT546007   DRY V     CA      Santa Rosa
 RETL     CITY TRAILER     CTL‐SA   RETL940597     2016   HYUND   3H3V401C0GT546008   DRY V     CA      Hayward
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 247 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐SA   RETL940598     2016   HYUND   3H3V401C2GT546009   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐SA   RETL940599     2016   HYUND   3H3V401C9GT546010   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐SA   RETL940600     2016   HYUND   3H3V401C0GT546011   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐SA   RETL940601     2016   HYUND   3H3V401C2GT546012   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐SA   RETL940602     2016   HYUND   3H3V401C4GT546013   DRY V     ID      Pocatello
 RETL     CITY TRAILER     CTL‐SA   RETL940603     2016   HYUND   3H3V401C6GT546014   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940604     2016   HYUND   3H3V401C8GT546015   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐SA   RETL940605     2016   HYUND   3H3V401CXGT546016   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐SA   RETL940606     2016   HYUND   3H3V401C1GT546017   DRY V     CA      Ventura
 RETL     CITY TRAILER     CTL‐SA   RETL940607     2016   HYUND   3H3V401C3GT546018   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL940608     2016   HYUND   3H3V401C5GT546019   DRY V     UT      St. George
 RETL     CITY TRAILER     CTL‐SA   RETL940609     2016   HYUND   3H3V401C1GT546020   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐SA   RETL940610     2016   HYUND   3H3V401C3GT546021   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐SA   RETL940611     2016   HYUND   3H3V401C5GT546022   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940612     2016   HYUND   3H3V401C7GT546023   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐SA   RETL940613     2016   HYUND   3H3V401C9GT546024   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐SA   RETL940614     2016   HYUND   3H3V401C0GT546025   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐SA   RETL940615     2016   HYUND   3H3V401C2GT546026   DRY V     MT      Missoula
 RETL     CITY TRAILER     CTL‐SA   RETL940616     2016   HYUND   3H3V401C4GT546027   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐SA   RETL940617     2016   HYUND   3H3V401C6GT546028   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐SA   RETL940618     2016   HYUND   3H3V401C8GT546029   DRY V     OR      Eugene
 RETL     CITY TRAILER     CTL‐SA   RETL940619     2016   HYUND   3H3V401C4GT546030   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940620     2017   HYUND   3H3V402C7HT721001   DRY V     OR      Redmond
 RETL     CITY TRAILER     CTL‐SA   RETL940621     2017   HYUND   3H3V402C9HT721002   DRY V     WA      Pasco
 RETL     CITY TRAILER     CTL‐SA   RETL940622     2017   HYUND   3H3V402C0HT721003   DRY V     CA      Ventura
 RETL     CITY TRAILER     CTL‐SA   RETL940623     2017   HYUND   3H3V402C2HT721004   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL940624     2017   HYUND   3H3V402C4HT721005   DRY V     CA      Bakersfield
 RETL     CITY TRAILER     CTL‐SA   RETL940625     2017   HYUND   3H3V402C6HT721006   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐SA   RETL940626     2017   HYUND   3H3V402C8HT721007   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐SA   RETL940627     2017   HYUND   3H3V402CXHT721008   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐SA   RETL940628     2017   HYUND   3H3V402C1HT721009   DRY V     CA      Santa Clara
 RETL     CITY TRAILER     CTL‐SA   RETL940629     2017   HYUND   3H3V402C8HT721010   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐SA   RETL940630     2017   HYUND   3H3V402CXHT721011   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐SA   RETL940631     2017   HYUND   3H3V402C1HT721012   DRY V     NM      Albuquerque
 RETL     CITY TRAILER     CTL‐SA   RETL940632     2017   HYUND   3H3V402C3HT721013   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐SA   RETL940633     2017   HYUND   3H3V402C5HT721014   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐SA   RETL940634     2018   HYUND   3H3V401C3JT156401   DRY V     ID      Meridian
 RETL     CITY TRAILER     CTL‐SA   RETL940635     2018   HYUND   3H3V401C5JT156402   DRY V     ID      Meridian
 RETL     CITY TRAILER     CTL‐SA   RETL940636     2018   HYUND   3H3V401C7JT156403   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL940637     2018   HYUND   3H3V401C9JT156404   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL940638     2018   HYUND   3H3V401C0JT156405   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL940639     2018   HYUND   3H3V401C2JT156406   DRY V     CA      Anderson
 RETL     CITY TRAILER     CTL‐SA   RETL940640     2018   HYUND   3H3V401C4JT156407   DRY V     UT      St. George
 RETL     CITY TRAILER     CTL‐SA   RETL940641     2018   HYUND   3H3V401C6JT156408   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐SA   RETL940642     2018   HYUND   3H3V401C8JT156409   DRY V     CA      Santa Clara
 RETL     CITY TRAILER     CTL‐SA   RETL940643     2018   HYUND   3H3V401C4JT156410   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940644     2018   HYUND   3H3V401C6JT156411   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940645     2018   HYUND   3H3V401C8JT156412   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐SA   RETL940646     2018   HYUND   3H3V401CXJT156413   DRY V     OR      Eugene
 RETL     CITY TRAILER     CTL‐SA   RETL940647     2018   HYUND   3H3V401C1JT156414   DRY V     OR      La Grande
 RETL     CITY TRAILER     CTL‐SA   RETL940648     2018   HYUND   3H3V401C3JT156415   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL940649     2018   HYUND   3H3V401C5JT156416   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL940650     2018   HYUND   3H3V401C7JT156417   DRY V     WA      Pasco
 RETL     CITY TRAILER     CTL‐SA   RETL940651     2018   HYUND   3H3V401C9JT156418   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐SA   RETL940652     2018   HYUND   3H3V401C0JT156419   DRY V     MT      Missoula
 RETL     CITY TRAILER     CTL‐SA   RETL940653     2018   HYUND   3H3V401C7JT156420   DRY V     MT      Missoula
 RETL     CITY TRAILER     CTL‐SA   RETL940654     2018   HYUND   3H3V401C9JT156421   DRY V     ID      Pocatello
 RETL     CITY TRAILER     CTL‐SA   RETL940655     2018   HYUND   3H3V401C0JT156422   DRY V     OR      Redmond
 RETL     CITY TRAILER     CTL‐SA   RETL940656     2018   HYUND   3H3V401C2JT156423   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL940657     2018   HYUND   3H3V401C4JT156424   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐SA   RETL940658     2018   HYUND   3H3V401C6JT156425   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐SA   RETL940659     2018   HYUND   3H3V401C8JT156426   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐SA   RETL940661     2018   HYUND   3H3V401C1JT156428   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐SA   RETL940662     2018   HYUND   3H3V401C3JT156429   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐SA   RETL940663     2018   HYUND   3H3V401CXJT156430   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐SA   RETL940664     2018   HYUND   3H3V401C1JT156431   DRY V     ID      Twin Falls
 RETL     CITY TRAILER     CTL‐SA   RETL940665     2018   HYUND   3H3V401C3JT156432   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐SA   RETL940666     2018   HYUND   3H3V401C5JT156433   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐SA   RETL940667     2018   HYUND   3H3V401C7JT156434   DRY V     MT      Great Falls
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23           Page 248 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     CITY TRAILER     CTL‐SA   RETL940668     2018   HYUND   3H3V401C9JT156435   DRY V         ID      Twin Falls
 RETL     CITY TRAILER     CTL‐SA   RETL948925     2000   DORSY   1DTV11Z2XYA280276   48FT          CA      Calexico
 RETL     CITY TRAILER     CTL‐SA   RETL948926     2000   DORSY   1DTV11Z23YA280281   48FT          AZ      Tucson
 RETL     CITY TRAILER     CTL‐SA   RETL948933     2001   TRLMB   1PT01JAH219003650                 CA      Downey
 RETL     CITY TRAILER     CTL‐SA   RETL948936     2001   TRLMB   1PT01JAH619003653                 OR      Central Point
 RETL     CITY TRAILER     CTL‐SA   RETL948938     2001   TRLMB   1PT01JAH119003655                 CA      Fontana
 RETL     CITY TRAILER     CTL‐SA   RETL948940     2001   TRLMB   1PT01JAH519003657                 CA      Downey
 RETL     CITY TRAILER     CTL‐SA   RETL948944     2002   STRCK   1S12E948X2E491241   48FT          CA      Sun Valley
 RETL     CITY TRAILER     CTL‐SA   RETL948945     2007   UTLTY   1UYVS24807G300913   48FT          CA      Bakersfield
 RETL     CITY TRAILER     CTL‐TA   RETL480161     1996   TRLMB   1PT01JAH6T6008192   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL480175     1996   TRLMB   1PT01JAH4T6008210   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL480247     1999   GRTDN   1PNV482B4XK215278   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL480251     1999   GRTDN   1PNV482B1XK215299   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480252     1999   GRTDN   1PNV482B6XK215301   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480253     1999   GRTDN   1PNV482BXXK215303   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480254     1999   GRTDN   1PNV482B1XK215304   DRY V         CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL480255     1999   GRTDN   1PNV482B3XK215305   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480257     1999   GRTDN   1PNV482B9XK215308   DRY V         CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL480258     1999   GRTDN   1PNV482B0XK215309   DRY V         WA      Pasco
 RETL     CITY TRAILER     CTL‐TA   RETL480260     1999   GRTDN   1PNV482B2XK215313   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL480262     1999   GRTDN   1PNV482BXXK215317   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480265     1999   GRTDN   1PNV482B9XK215325   DRY V         TX      El Paso
 RETL     CITY TRAILER     CTL‐TA   RETL480266     1999   GRTDN   1PNV482B0XK215326   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480267     1999   GRTDN   1PNV482B2XK215327   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480268     1999   GRTDN   1PNV482B6XK215329   DRY V         CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL480269     1999   GRTDN   1PNV482B4XK215331   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480271     1999   GRTDN   1PNV482B1XK215335   DRY V         CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL480274     1999   GRTDN   1PNV482B2XK215344   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480275     1999   GRTDN   1PNV482BXXK215348   DRY V         AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL480277     1999   GRTDN   1PNV482B8XK215350   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480279     1999   GRTDN   1PNV482B3XK215353   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480282     1999   GRTDN   1PNV482B0XK215360   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL480284     1999   GRTDN   1PNV482B8XK215364   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL480285     1999   GRTDN   1PNV482BXXK215365   DRY V         CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL480286     1999   GRTDN   1PNV482B7XK215369   DRY V         CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL480287     1999   GRTDN   1PNV482B3XK215370   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480288     1999   GRTDN   1PNV482B6XK215377   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480289     1999   GRTDN   1PNV482B8XK215381   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480290     1999   GRTDN   1PNV482B3XK215238   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480291     1999   GRTDN   1PNV482B5XK215239   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL480294     1999   GRTDN   1PNV482B9XK215244   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480296     1999   GRTDN   1PNV482B8XK215252   DRY V         CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48032      1998   WABSH   1JJV482W3WL444191   DRY V         AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48036      1998   WABSH   1JJV482W0WL444195   DRY V         AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL480474     2000   TRLMB   1PT01JAH2Y9012486                 CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL480475     2000   TRLMB   1PT01JAH3Y9012495                 CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL480476     2000   TRLMB   1PT01JAH5Y9012482                 UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL480477     2000   TRLMB   1PT01JAH8Y9012489                 CO      Aurora
 RETL     CITY TRAILER     CTL‐TA   RETL480479     2000   TRLMB   1PT01JAH5Y9012501                 CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48048      1998   STRCK   1S12E848XWE434554   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL480481     2000   FRUHF   1JJV482F7YF606633   48FT          OR      Central Point
 RETL     CITY TRAILER     CTL‐TA   RETL480482     1999   FRUHF   1JJV482FXXF525222   48FT          CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480491     2000   FRUHF   1JJV482F3YF606631   48FT          CO      Aurora
 RETL     CITY TRAILER     CTL‐TA   RETL480492     1999   GRTDN   1PNV482B6XH215683   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480494     2000   FRUHF   1JJV482F1YF606630   48FT          AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL480500     2000   FRUHF   1JJV482F9YF606634   48FT          CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL480501     2001   LFKTR   1L01A482511149600   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL480502     2001   LFKTR   1L01A482211149599   DRY V         CO      Aurora
 RETL     CITY TRAILER     CTL‐TA   RETL480503     2000   STRCK   1S12E9480YD454875   DRY V         CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL480504     2000   GRTDN   1GRAA9623YS018447   DRY V         CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL480505     2000   GRTDN   1PNV482B4YH226442   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL480506     2000   GRTDN   1PNV482B9YH226467   DRY V         AZ      Lake Havasu City
 RETL     CITY TRAILER     CTL‐TA   RETL480508     2000   GRTDN   1GRAA9628YS018413   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480509     2000   GRTDN   1PNV482B7YK228740   DRY V         CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48051      1998   STRCK   1S12E8485WE434557   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL480510     2000   GRTDN   1PNV482BXYG315292   DRY V         CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL480511     2000   GRTDN   1PNV482B1YG315309   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480512     2000   GRTDN   1PNV482B8YG315310   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480514     2001   GRTDN   1GRAA962X1S017902   DRY V         CA      Visalia
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 249 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL480515     2001   GRTDN   1GRAA96241S039801   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480516     2001   GRTDN   1GRAA96261S039802   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480517     2001   GRTDN   1GRAA962X1S039804   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480518     2001   GRTDN   1GRAA96211S039805   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480519     2001   GRTDN   1GRAA96231S039806   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48052      1998   STRCK   1S12E8487WE434558   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480520     2001   GRTDN   1GRAA96271S039808   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL480521     2001   GRTDN   1GRAA96291S039809   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480522     2001   GRTDN   1GRAA96271S039811   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL480524     2001   GRTDN   1GRAA96221S039814   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480525     2001   GRTDN   1GRAA96241S039815   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480526     2001   STGHT   1DW1A48241S474709   48FT      WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL480527     2001   STGHT   1DW1A48291S474706   48FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480528     2000   GRTDN   1PNV482B2YK228726   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480529     2000   GRTDN   1PNV482B0YK228711   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL480530     2000   GRTDN   1PNV482B4YK229120   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480531     2000   GRTDN   1PNV482B0YK230376   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480532     2000   GRTDN   1GRAA9620YS018633   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL480533     2000   GRTDN   1PNV482B9YK229064   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL480534     2000   GRTDN   1PNV482B6YK229068   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL480535     2000   GRTDN   1PNV482B8YK229069   DRY V     CO      Aurora
 RETL     CITY TRAILER     CTL‐TA   RETL480536     2000   GRTDN   1PNV482B5YK229076   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480537     2000   GRTDN   1PNV482B4YK228825   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL480538     2000   GRTDN   1PNV482B8YK228830   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL480539     2001   GRTDN   1GRAA96261G317486   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48054      1998   STRCK   1S12E8485WE434560   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL480542     2000   GRTDN   1PNV482B0YK228739   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL480543     2001   GRTDN   1GRAA96291K235748   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480544     2001   GRTDN   1GRAA96271K235750   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL480545     2001   GRTDN   1GRAA96201K235752   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480546     2001   GRTDN   1GRAA96261K235755   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL480547     2001   GRTDN   1GRAA96211K235758   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL480548     2001   GRTDN   1GRAA96231K235759   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48055      1998   STRCK   1S12E8487WE434561   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL480550     2001   GRTDN   1GRAA96291K235765   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL480551     2001   GRTDN   1GRAA96201K235766   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480552     2001   STRCK   1S12E94811E469711   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL480557     2001   LFKTR   1L01A482X11149608   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL480558     2001   LFKTR   1L01A482611149606   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL480559     2001   LFKTR   1L01A482911149602   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48056      1998   STRCK   1S12E8489WE434562   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL480561     2000   WABSH   1JJV482W1YL657854   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL480564     2000   WABSH   1JJV482W8YL684727   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL480566     2000   WABSH   1JJV482W1YL684729   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL480567     2000   WABSH   1JJV482W8YL684730   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL480568     2000   WABSH   1JJV482W6YL657834   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL480570     2000   WABSH   1JJV482W4YL657850   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL480574     2000   WABSH   1JJV482W1YL657840   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL480578     2000   WABSH   1JJV482W5YL657842   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL480581     2000   WABSH   1JJV482WXYL657853   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL480582     2000   WABSH   1JJV482W0YL657845   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL480583     2000   WABSH   1JJV482W4YL684725   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48059      1998   STRCK   1S12E8484WE434565   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐TA   RETL48060      1998   STRCK   1S12E8486WE434566   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48062      1998   STRCK   1S12E848XWE434568   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48063      1998   STRCK   1S12E8481WE434569   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48064      1998   STRCK   1S12E8488WE434570   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48067      1998   STRCK   1S12E8483WE434573   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48068      1999   STRCK   1S12E8482XE447798   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48071      1999   STRCK   1S12E8489XE447801   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48072      1999   STRCK   1S12E8480XE447802   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48073      1999   STRCK   1S12E8482XE447803   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48074      1999   STRCK   1S12E8484XE447804   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48075      1999   STRCK   1S12E8486XE447805   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48076      1999   STRCK   1S12E8488XE447806   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48078      2002   STRCK   1S12E848X2E491797   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48079      2002   STRCK   1S12E84812E491798   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48080      2002   STRCK   1S12E84832E491799   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48081      2002   STRCK   1S12E84862E491800   DRY V     CA      Bloomington
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 250 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL48082      2002   STRCK   1S12E84882E491801   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48083      2002   STRCK   1S12E848X2E491802   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48084      2002   STRCK   1S12E84812E491803   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48085      2002   STRCK   1S12E84832E491804   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48086      2002   STRCK   1S12E84852E491805   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48087      2002   STRCK   1S12E84872E491806   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48088      2002   STRCK   1S12E84892E491807   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48089      2002   STRCK   1S12E84802E491808   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48090      2002   STRCK   1S12E84822E491809   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48091      2002   STRCK   1S12E84892E491810   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48092      2002   STRCK   1S12E84802E491811   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48093      2002   STRCK   1S12E84822E491812   DRY V     WA      Pasco
 RETL     CITY TRAILER     CTL‐TA   RETL48094      2002   STRCK   1S12E84842E491813   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48096      2002   STRCK   1S12E84882E491815   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48098      2002   STRCK   1S12E84812E491817   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48099      2002   STRCK   1S12E84832E491818   DRY V     MO      Strafford
 RETL     CITY TRAILER     CTL‐TA   RETL48100      2002   STRCK   1S12E84852E491819   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL481000     2016   HYUND   3H3V482C9GT545033   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL481001     2016   HYUND   3H3V482C0GT545034   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL481002     2016   HYUND   3H3V482C2GT545035   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL481003     2016   HYUND   3H3V482C4GT545036   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL481004     2016   HYUND   3H3V482C6GT545037   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL481005     2016   HYUND   3H3V482C8GT545038   DRY V     CA      Bakersfield
 RETL     CITY TRAILER     CTL‐TA   RETL481006     2016   HYUND   3H3V482CXGT545039   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL481007     2016   HYUND   3H3V482C6GT545040   DRY V     CA      Santa Clara
 RETL     CITY TRAILER     CTL‐TA   RETL481008     2016   HYUND   3H3V482C8GT545041   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL481009     2016   HYUND   3H3V482CXGT545042   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48101      2002   STRCK   1S12E84812E491820   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL481010     2016   HYUND   3H3V482C1GT545043   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL481011     2016   HYUND   3H3V482C3GT545044   DRY V     WA      Everett
 RETL     CITY TRAILER     CTL‐TA   RETL481012     2016   HYUND   3H3V482C5GT545045   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL481013     2017   HYUND   3H3V482C3HT722001   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL481014     2017   HYUND   3H3V482C5HT722002   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL481015     2017   HYUND   3H3V482C7HT722003   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL481016     2017   HYUND   3H3V482C9HT722004   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL481017     2017   HYUND   3H3V482C0HT722005   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL481018     2017   HYUND   3H3V482C2HT722006   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL481019     2017   HYUND   3H3V482C4HT722007   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48102      2002   STRCK   1S12E84832E491821   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL481020     2017   HYUND   3H3V482C6HT722008   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL481021     2017   HYUND   3H3V482C8HT722009   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL481022     2017   HYUND   3H3V482C4HT722010   DRY V     CA      Bakersfield
 RETL     CITY TRAILER     CTL‐TA   RETL481023     2017   HYUND   3H3V482C6HT722011   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL481024     2017   HYUND   3H3V482C8HT722012   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL481025     2017   HYUND   3H3V482CXHT722013   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL481026     2017   HYUND   3H3V482C1HT722014   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL481027     2017   HYUND   3H3V482C3HT722015   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL481028     2017   HYUND   3H3V482C5HT722016   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL481029     2017   HYUND   3H3V482C7HT722017   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48103      2002   STRCK   1S12E84852E491822   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL481030     2017   HYUND   3H3V482C9HT722018   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL481031     2017   HYUND   3H3V482C0HT722019   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL481032     2017   HYUND   3H3V482C7HT722020   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL481033     2017   HYUND   3H3V482C9HT722021   DRY V     CO      Aurora
 RETL     CITY TRAILER     CTL‐TA   RETL48104      2002   STRCK   1S12E84872E491823   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48105      2002   STRCK   1S12E84892E491824   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48106      2002   STRCK   1S12E84802E491825   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48107      2002   STRCK   1S12E84822E491826   DRY V     WA      Pasco
 RETL     CITY TRAILER     CTL‐TA   RETL48108      2002   STRCK   1S12E84842E491827   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48109      2002   STRCK   1S12E84862E491828   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48110      2002   STRCK   1S12E84882E491829   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48111      2002   STRCK   1S12E84842E491830   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48112      2002   STRCK   1S12E84862E491831   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48113      2002   STRCK   1S12E84882E491832   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48114      2002   STRCK   1S12E848X2E491833   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48115      2002   STRCK   1S12E84812E491834   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48116      2002   STRCK   1S12E84832E491835   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48117      2002   STRCK   1S12E84852E491836   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48118      2002   STRCK   1S12E84872E491837   DRY V     OR      Portland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 251 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL48119     2002   STRCK   1S12E84892E491838   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48120     2002   STRCK   1S12E84802E491839   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48121     2002   STRCK   1S12E84872E491840   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48122     2002   STRCK   1S12E84892E491841   DRY V     OR      Eugene
 RETL     CITY TRAILER     CTL‐TA   RETL48123     2002   STRCK   1S12E84802E491842   DRY V     CA      Anderson
 RETL     CITY TRAILER     CTL‐TA   RETL48124     2002   STRCK   1S12E84822E491843   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48125     2002   STRCK   1S12E84842E491844   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48126     2002   STRCK   1S12E84862E491845   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48127     2002   STRCK   1S12E84882E491846   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48128     2002   STRCK   1S12E84892E492245   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48129     2002   STRCK   1S12E84802E492246   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48130     2002   STRCK   1S12E84822E492247   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐TA   RETL48131     2002   STRCK   1S12E84842E492248   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐TA   RETL48132     2002   STRCK   1S12E84862E492249   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48133     2002   STRCK   1S12E84822E492250   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48134     2002   STRCK   1S12E84842E492251   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48135     2002   STRCK   1S12E84862E492252   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48136     2002   STRCK   1S12E84882E492253   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48137     2002   STRCK   1S12E848X2E492254   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48138     2002   STRCK   1S12E84812E492255   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48139     2002   STRCK   1S12E84832E492256   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48140     2002   STRCK   1S12E84852E492257   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48141     2002   STRCK   1S12E84872E492258   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48142     2002   STRCK   1S12E84892E492259   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48143     2002   STRCK   1S12E84852E492260   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48144     2002   STRCK   1S12E84872E492261   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48145     2002   STRCK   1S12E84892E492262   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48146     2002   STRCK   1S12E84802E492263   DRY V     CA      Anderson
 RETL     CITY TRAILER     CTL‐TA   RETL48147     2002   STRCK   1S12E84822E492264   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48148     2002   STRCK   1S12E84842E492265   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48149     2002   STRCK   1S12E84892E492195   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48150     2002   STRCK   1S12E84802E492196   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48151     2002   STRCK   1S12E84822E492197   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48153     2002   STRCK   1S12E84862E492199   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48154     2002   STRCK   1S12E84892E492200   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48155     2002   STRCK   1S12E84802E492201   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48156     2002   STRCK   1S12E84822E492202   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48157     2002   STRCK   1S12E84842E492203   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48158     2002   STRCK   1S12E84862E492204   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48159     2002   STRCK   1S12E84882E492205   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48160     2002   STRCK   1S12E848X2E492206   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48161     2002   STRCK   1S12E84862E492266   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48162     2002   STRCK   1S12E84882E492267   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48163     2002   STRCK   1S12E848X2E492268   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48164     2002   STRCK   1S12E84812E492269   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL48165     2002   STRCK   1S12E848X2E492707   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48166     2002   STRCK   1S12E84812E492708   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48167     2002   STRCK   1S12E84832E492709   DRY V     CA      Santa Maria
 RETL     CITY TRAILER     CTL‐TA   RETL48168     2002   STRCK   1S12E848X2E492710   DRY V     MT      Missoula
 RETL     CITY TRAILER     CTL‐TA   RETL48169     2002   STRCK   1S12E84812E492711   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48170     2002   STRCK   1S12E84832E492712   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48171     2002   STRCK   1S12E84852E492713   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48172     2002   STRCK   1S12E84872E492714   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48173     2002   STRCK   1S12E84892E492715   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48174     2002   STRCK   1S12E84802E492716   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48175     2002   STRCK   1S12E84822E492717   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48176     2002   STRCK   1S12E84842E492718   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48177     2002   STRCK   1S12E84862E492719   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48178     2002   STRCK   1S12E84822E492720   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48179     2002   STRCK   1S12E84842E492721   DRY V     ID      Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL48180     2002   STRCK   1S12E84862E492722   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48181     2002   STRCK   1S12E84882E492723   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48182     2002   STRCK   1S12E84812E492207   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48183     2002   STRCK   1S12E84832E492208   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48184     2002   STRCK   1S12E84852E492209   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48185     2002   STRCK   1S12E84812E492210   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48186     2002   STRCK   1S12E84832E492211   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48187     2002   STRCK   1S12E84852E492212   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48188     2002   STRCK   1S12E84872E492213   DRY V     NV      Las Vegas
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 252 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL48190     2002   STRCK   1S12E84802E492215   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48191     2002   STRCK   1S12E84822E492216   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48192     2002   STRCK   1S12E84842E492217   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48193     2002   STRCK   1S12E84852E493733   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL48194     2002   STRCK   1S12E84872E493734   DRY V     AZ      Lake Havasu City
 RETL     CITY TRAILER     CTL‐TA   RETL48195     2002   STRCK   1S12E84892E493735   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48196     2002   STRCK   1S12E84802E493736   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48197     2002   STRCK   1S12E84822E493737   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48198     2002   STRCK   1S12E84842E493738   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48199     2002   STRCK   1S12E84862E493739   DRY V     CA      Visalia
 RETL     CITY TRAILER     CTL‐TA   RETL48200     2002   STRCK   1S12E84822E493740   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48201     2002   STRCK   1S12E84842E493741   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48202     2002   STRCK   1S12E84862E493742   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48203     2004   GRTDN   1GRAA96224B704912   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48204     2004   GRTDN   1GRAA96244B704913   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48205     2004   GRTDN   1GRAA96264B704914   DRY V     OR      Eugene
 RETL     CITY TRAILER     CTL‐TA   RETL48206     2004   GRTDN   1GRAA96284B704915   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48207     2004   GRTDN   1GRAA962X4B704916   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48208     2004   GRTDN   1GRAA96214B704917   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48209     2004   GRTDN   1GRAA96234B704918   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48210     2004   GRTDN   1GRAA96254B704919   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48211     2004   GRTDN   1GRAA96214B704920   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48212     2004   GRTDN   1GRAA96234B704921   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48213     2004   GRTDN   1GRAA96254B704922   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48214     2004   GRTDN   1GRAA96274B704923   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48215     2004   GRTDN   1GRAA96294B704924   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48216     2004   GRTDN   1GRAA96204B704925   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48217     2004   GRTDN   1GRAA96224B704926   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48218     2004   GRTDN   1GRAA96244B704927   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48219     2004   GRTDN   1GRAA96264B704928   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐TA   RETL48220     2004   GRTDN   1GRAA96284B704929   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48221     2004   GRTDN   1GRAA96244B704930   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48223     2004   GRTDN   1GRAA96264B704932   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48224     2004   GRTDN   1GRAA962X4B704933   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48225     2004   GRTDN   1GRAA96214B704934   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48226     2004   GRTDN   1GRAA96234B704935   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48227     2004   GRTDN   1GRAA96254B704936   DRY V     CA      Visalia
 RETL     CITY TRAILER     CTL‐TA   RETL48228     2004   GRTDN   1GRAA96274B704937   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48229     2004   GRTDN   1GRAA96294B704938   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48230     2004   GRTDN   1GRAA96204B704939   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48231     2004   GRTDN   1GRAA96274B704940   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48232     2004   GRTDN   1GRAA96294B704941   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48233     2004   GRTDN   1GRAA96204B704942   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48234     2004   GRTDN   1GRAA96224B704943   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48235     2004   GRTDN   1GRAA96244B704944   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48236     2004   GRTDN   1GRAA96264B704945   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48238     2004   GRTDN   1GRAA962X4B704947   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48239     2004   GRTDN   1GRAA96214B704948   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48240     2004   GRTDN   1GRAA96234B704949   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48241     2004   GRTDN   1GRAA962X4B704950   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48242     2004   GRTDN   1GRAA96214B704951   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48243     2004   GRTDN   1GRAA96234B704952   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48244     2004   GRTDN   1GRAA96254B704953   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48245     2004   GRTDN   1GRAA96274B704954   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48246     2004   GRTDN   1GRAA96294B704955   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48247     2004   GRTDN   1GRAA96204B704956   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48248     2004   GRTDN   1GRAA96224B704957   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48249     2004   GRTDN   1GRAA96244B704958   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48250     2004   GRTDN   1GRAA96264B704959   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48251     2004   GRTDN   1GRAA96224B704960   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48252     2004   GRTDN   1GRAA96244B704961   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48253     2004   GRTDN   1GRAA96264B704962   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐TA   RETL48254     2004   GRTDN   1GRAA96284B704963   DRY V     ID      Meridian
 RETL     CITY TRAILER     CTL‐TA   RETL48255     2004   GRTDN   1GRAA962X4B704964   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48256     2004   GRTDN   1GRAA96214B704965   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48257     2004   GRTDN   1GRAA96234B704966   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48258     2004   GRTDN   1GRAA96254B704967   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48259     2004   GRTDN   1GRAA96274B704968   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48260     2004   GRTDN   1GRAA96294B704969   DRY V     OR      Portland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 253 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL48261     2004   GRTDN   1GRAA96254B704970   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48262     2004   GRTDN   1GRAA96274B704971   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48263     2004   GRTDN   1GRAA96294B704972   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48264     2004   GRTDN   1GRAA96204B704973   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48265     2004   GRTDN   1GRAA96224B704974   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48266     2004   GRTDN   1GRAA96244B704975   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48267     2004   GRTDN   1GRAA96264B704976   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48268     2004   GRTDN   1GRAA96284B704977   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48269     2004   GRTDN   1GRAA962X4B704978   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48270     2004   GRTDN   1GRAA96214B704979   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48271     2004   GRTDN   1GRAA96284B704980   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48272     2004   GRTDN   1GRAA962X4B704981   DRY V     AZ      Tucson
 RETL     CITY TRAILER     CTL‐TA   RETL48273     2004   GRTDN   1GRAA96214B704982   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48274     2004   GRTDN   1GRAA96234B704983   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48275     2004   GRTDN   1GRAA96254B704984   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48279     2004   GRTDN   1GRAA96204B708182   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48280     2004   GRTDN   1GRAA96224B708183   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48281     2004   GRTDN   1GRAA96244B708184   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48282     2004   GRTDN   1GRAA96264B708185   DRY V     CA      Visalia
 RETL     CITY TRAILER     CTL‐TA   RETL48283     2004   GRTDN   1GRAA96284B708186   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48284     2004   GRTDN   1GRAA962X4B708187   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48285     2004   GRTDN   1GRAA96214B708188   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48286     2004   GRTDN   1GRAA96234B708189   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48287     2004   GRTDN   1GRAA962X4B708190   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48288     2004   GRTDN   1GRAA96214B708191   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48290     2004   GRTDN   1GRAA96254B708193   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48291     2004   GRTDN   1GRAA96274B708194   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48292     2004   GRTDN   1GRAA96294B708195   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48298     2004   GRTDN   1GRAA96204B708201   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48299     2004   GRTDN   1GRAA96224B708202   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48301     2004   GRTDN   1GRAA96264B708204   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48302     2004   GRTDN   1GRAA96284B708205   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48303     2004   GRTDN   1GRAA962X4B708206   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48304     2004   GRTDN   1GRAA96214B708207   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48305     2004   GRTDN   1GRAA96234B708208   DRY V     ID      Meridian
 RETL     CITY TRAILER     CTL‐TA   RETL48306     2004   GRTDN   1GRAA96254B708209   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48307     2004   GRTDN   1GRAA96214B708210   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48308     2004   GRTDN   1GRAA96234B708211   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48309     2004   GRTDN   1GRAA96254B708212   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48310     2004   GRTDN   1GRAA96274B708213   DRY V     ID      Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL48311     2004   GRTDN   1GRAA96294B708214   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48312     2004   GRTDN   1GRAA96204B708215   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48313     2004   GRTDN   1GRAA96224B708216   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48314     2004   GRTDN   1GRAA96244B708217   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48315     2004   GRTDN   1GRAA96264B708218   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48316     2004   GRTDN   1GRAA96284B708219   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48317     2004   GRTDN   1GRAA96244B708220   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48318     2004   GRTDN   1GRAA96264B708221   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48319     2004   GRTDN   1GRAA96284B708222   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48320     2004   GRTDN   1GRAA962X4B708223   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48321     2004   GRTDN   1GRAA96214B708224   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48322     2004   GRTDN   1GRAA96234B708225   DRY V     CA      Santa Maria
 RETL     CITY TRAILER     CTL‐TA   RETL48323     2004   GRTDN   1GRAA96254B708226   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48324     2004   GRTDN   1GRAA96274B708227   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48325     2004   GRTDN   1GRAA96294B708228   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48326     2004   GRTDN   1GRAA96204B708229   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL48327     2004   GRTDN   1GRAA96274B708230   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48328     2004   GRTDN   1GRAA96294B708231   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48329     2004   GRTDN   1GRAA96204B708232   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48331     2004   GRTDN   1GRAA96244B708234   DRY V     ID      Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL48332     2004   GRTDN   1GRAA96264B708235   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48333     2004   GRTDN   1GRAA96284B708236   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48334     2004   GRTDN   1GRAA962X4B708237   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48335     2004   GRTDN   1GRAA96214B708238   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48336     2004   GRTDN   1GRAA96234B708239   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48337     2004   GRTDN   1GRAA962X4B708240   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48338     2004   GRTDN   1GRAA96214B708241   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48339     2004   GRTDN   1GRAA96234B708242   DRY V     WA      Union Gap
 RETL     CITY TRAILER     CTL‐TA   RETL48340     2004   GRTDN   1GRAA96254B708243   DRY V     AZ      Phoenix
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 254 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL48341     2004   GRTDN   1GRAA96274B708244   DRY V     ID      Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL48342     2004   GRTDN   1GRAA96294B708245   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48343     2004   GRTDN   1GRAA96204B708246   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48344     2004   GRTDN   1GRAA96224B708247   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48345     2004   GRTDN   1GRAA96244B708248   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48346     2004   GRTDN   1GRAA96264B708249   DRY V     CA      Anderson
 RETL     CITY TRAILER     CTL‐TA   RETL48347     2004   GRTDN   1GRAA96224B708250   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48349     2004   GRTDN   1GRAA96264B708252   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48350     2004   GRTDN   1GRAA96284B708253   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48351     2004   GRTDN   1GRAA962X4B708254   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48352     2004   GRTDN   1GRAA96214B708255   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48354     2004   GRTDN   1GRAA96254B708257   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48355     2004   GRTDN   1GRAA96274B708258   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48356     2004   GRTDN   1GRAA96294B708259   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48357     2004   GRTDN   1GRAA96254B708260   DRY V     NM      Albuquerque
 RETL     CITY TRAILER     CTL‐TA   RETL48358     2004   GRTDN   1GRAA96274B708261   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐TA   RETL48360     2004   GRTDN   1GRAA96204B708263   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48361     2004   GRTDN   1GRAA96224B708264   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48362     2004   GRTDN   1GRAA96244B708265   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48363     2004   GRTDN   1GRAA96264B708266   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48364     2004   GRTDN   1GRAA96284B708267   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48365     2004   GRTDN   1GRAA962X4B708268   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48366     2004   GRTDN   1GRAA96214B708269   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48367     2004   GRTDN   1GRAA96284B708270   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48368     2004   GRTDN   1GRAA962X4B708271   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48369     2004   GRTDN   1GRAA96214B708272   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48370     2004   GRTDN   1GRAA96234B708273   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48371     2004   GRTDN   1GRAA96254B708274   DRY V     WA      Union Gap
 RETL     CITY TRAILER     CTL‐TA   RETL48372     2004   GRTDN   1GRAA96274B708275   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48373     2004   GRTDN   1GRAA96294B708276   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48374     2004   GRTDN   1GRAA96204B708277   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48375     2004   GRTDN   1GRAA96224B708278   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48376     2004   GRTDN   1GRAA96244B708279   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48377     2004   GRTDN   1GRAA96204B708280   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48378     1999   TRLMB   1PT01JAH5X6014765   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48379     2000   STRCK   3H3V482C0XT015002   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48380     2000   STRCK   1S12E9484YD454877   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48381     2000   GRTDN   1PNV482B8YH227156   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48383     2000   GRTDN   1PNV482B7YH226435   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48384     2000   GRTDN   1PNV482B6YG315340   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48385     2000   GRTDN   1PNV482B1YG315360   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48386     1999   FRUHF   1JJV482F4XF547636   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48387     1999   FRUHF   1JJV482F0XF550159   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48465     2006   GRTDN   1GRAA96256B704972   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48466     2006   GRTDN   1GRAA96276B704973   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48467     2006   GRTDN   1GRAA96296B704974   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48468     2006   GRTDN   1GRAA96206B704975   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48469     2006   GRTDN   1GRAA96226B704976   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48470     2006   GRTDN   1GRAA96246B704977   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐TA   RETL48471     2006   GRTDN   1GRAA96266B704978   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48472     2006   GRTDN   1GRAA96286B704979   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48473     2006   GRTDN   1GRAA96246B704980   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48474     2006   GRTDN   1GRAA96266B704981   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48475     2006   GRTDN   1GRAA96286B704982   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48476     2006   GRTDN   1GRAA962X6B704983   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48477     2006   GRTDN   1GRAA96216B704984   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48478     2006   GRTDN   1GRAA96236B704985   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48479     2006   GRTDN   1GRAA96256B704986   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48480     2006   GRTDN   1GRAA96276B704987   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48481     2006   GRTDN   1GRAA96296B704988   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐TA   RETL48483     2006   GRTDN   1GRAA96276B704990   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48484     2006   GRTDN   1GRAA96296B704991   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐TA   RETL48485     2006   GRTDN   1GRAA96206B704992   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48486     2006   GRTDN   1GRAA96226B704993   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48487     2006   GRTDN   1GRAA96246B704994   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48488     2006   GRTDN   1GRAA96266B704995   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48489     2006   GRTDN   1GRAA96286B704996   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48490     2006   GRTDN   1GRAA962X6B704997   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48491     2006   GRTDN   1GRAA96216B704998   DRY V     CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 255 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL48492     2006   GRTDN   1GRAA96236B704999   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48493     2006   GRTDN   1GRAA96246B705000   DRY V     WA      Everett
 RETL     CITY TRAILER     CTL‐TA   RETL48494     2006   GRTDN   1GRAA96266B705001   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48495     2006   GRTDN   1GRAA96286B705002   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48496     2006   GRTDN   1GRAA962X6B705003   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48497     2006   GRTDN   1GRAA96216B705004   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48498     2006   GRTDN   1GRAA96236B705005   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48499     2006   GRTDN   1GRAA96256B705006   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48500     2006   GRTDN   1GRAA96276B705007   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48501     2006   GRTDN   1GRAA96296B705008   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48502     2006   GRTDN   1GRAA96206B705009   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48503     2006   GRTDN   1GRAA96276B705010   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48504     2006   GRTDN   1GRAA96296B705011   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48505     2006   GRTDN   1GRAA96206B705012   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48506     2006   GRTDN   1GRAA96226B705013   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48507     2006   GRTDN   1GRAA96246B705014   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48508     2006   GRTDN   1GRAA96266B705015   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48509     2006   GRTDN   1GRAA96286B705016   DRY V     CA      Santa Clara
 RETL     CITY TRAILER     CTL‐TA   RETL48510     2006   GRTDN   1GRAA962X6B705017   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48511     2006   GRTDN   1GRAA96216B705018   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48512     2006   GRTDN   1GRAA96236B705019   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48513     2006   GRTDN   1GRAA962X6B705020   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48514     2006   GRTDN   1GRAA96216B705021   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48515     2006   GRTDN   1GRAA96236B705022   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48516     2006   GRTDN   1GRAA96256B705023   DRY V     OR      Eugene
 RETL     CITY TRAILER     CTL‐TA   RETL48517     2006   GRTDN   1GRAA96276B705024   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48518     2006   GRTDN   1GRAA96296B705025   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48520     2006   GRTDN   1GRAA96226B705027   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48521     2006   GRTDN   1GRAA96246B705028   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48522     2006   GRTDN   1GRAA96266B705029   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48523     2006   GRTDN   1GRAA96226B705030   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48524     2006   GRTDN   1GRAA96246B705031   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48525     2006   GRTDN   1GRAA96266B705032   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48526     2006   GRTDN   1GRAA96286B705033   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48527     2006   GRTDN   1GRAA962X6B705034   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48528     2006   GRTDN   1GRAA96216B705035   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48529     2006   GRTDN   1GRAA96236B705036   DRY V     AZ      Nogales
 RETL     CITY TRAILER     CTL‐TA   RETL48530     2006   GRTDN   1GRAA96256B705037   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48531     2006   GRTDN   1GRAA96276B705038   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48532     2006   GRTDN   1GRAA96296B705039   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48533     2006   GRTDN   1GRAA96256B705040   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48534     2006   GRTDN   1GRAA96276B705041   DRY V     WA      Union Gap
 RETL     CITY TRAILER     CTL‐TA   RETL48535     2006   GRTDN   1GRAA96296B705042   DRY V     CA      Anderson
 RETL     CITY TRAILER     CTL‐TA   RETL48536     2006   GRTDN   1GRAA96206B705043   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48537     2006   GRTDN   1GRAA96226B705044   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48539     2006   GRTDN   1GRAA96266B705046   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48540     2006   GRTDN   1GRAA96286B705047   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48541     2006   GRTDN   1GRAA962X6B705048   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48542     2006   GRTDN   1GRAA96216B705049   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48543     2006   GRTDN   1GRAA96286B705050   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48544     2006   GRTDN   1GRAA962X6B705051   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48545     2006   GRTDN   1GRAA96216B705052   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48546     2006   GRTDN   1GRAA96236B705053   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48547     2006   GRTDN   1GRAA96256B705054   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48548     2006   GRTDN   1GRAA96276B705055   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48549     2006   GRTDN   1GRAA96296B705056   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48550     2006   GRTDN   1GRAA96206B705057   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48551     2006   GRTDN   1GRAA96226B705058   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48552     2006   GRTDN   1GRAA96246B705059   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48553     2006   GRTDN   1GRAA96206B705060   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48554     2006   GRTDN   1GRAA96226B705061   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48555     2006   GRTDN   1GRAA96246B705062   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48556     2006   GRTDN   1GRAA96266B705063   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48557     2006   GRTDN   1GRAA96286B705064   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48558     2006   GRTDN   1GRAA962X6B705065   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48559     2006   GRTDN   1GRAA96216B705066   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48562     2007   GRTDN   1GRAA96247B705838   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48563     2007   GRTDN   1GRAA96267B705839   DRY V     WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48564     2007   GRTDN   1GRAA96227B705840   DRY V     UT      St. George
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 256 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL48565     2007   GRTDN   1GRAA96247B705841   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48566     2007   GRTDN   1GRAA96267B705842   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48567     2007   GRTDN   1GRAA96287B705843   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48568     2007   GRTDN   1GRAA962X7B705844   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48569     2007   GRTDN   1GRAA96217B705845   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48570     2007   GRTDN   1GRAA96237B705846   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48571     2007   GRTDN   1GRAA96257B705847   DRY V     AZ      Tucson
 RETL     CITY TRAILER     CTL‐TA   RETL48572     2007   GRTDN   1GRAA96277B705848   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48573     2007   GRTDN   1GRAA96297B705849   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐TA   RETL48574     2007   GRTDN   1GRAA96257B705850   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48575     2007   GRTDN   1GRAA96277B705851   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48576     2007   GRTDN   1GRAA96297B705852   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48577     2007   GRTDN   1GRAA96207B705853   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL48580     2007   GRTDN   1GRAA962X7B707321   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48581     2007   GRTDN   1GRAA96217B707322   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48582     2007   GRTDN   1GRAA96237B707323   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48583     2007   GRTDN   1GRAA96257B707324   DRY V     ID      Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL48584     2007   GRTDN   1GRAA96277B707325   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48585     2007   GRTDN   1GRAA96297B707326   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48586     2007   GRTDN   1GRAA96207B707327   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48587     2007   GRTDN   1GRAA96227B707328   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48588     2007   GRTDN   1GRAA96247B707329   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48589     2007   GRTDN   1GRAA96207B707330   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48590     2007   GRTDN   1GRAA96227B707331   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48591     2007   GRTDN   1GRAA96247B707332   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48592     2007   GRTDN   1GRAA96267B707333   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48593     2007   GRTDN   1GRAA96287B707334   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48594     2007   GRTDN   1GRAA962X7B707335   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48595     2007   GRTDN   1GRAA96217B707336   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48596     2007   GRTDN   1GRAA96237B707337   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48597     2007   GRTDN   1GRAA96257B707338   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48598     2007   GRTDN   1GRAA96277B707339   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48599     2007   GRTDN   1GRAA96237B707340   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48600     2007   GRTDN   1GRAA96257B707341   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48601     2007   GRTDN   1GRAA96277B707342   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48602     2007   GRTDN   1GRAA96297B707343   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48603     2007   GRTDN   1GRAA96207B707344   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48604     2007   GRTDN   1GRAA96227B707345   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48605     2007   GRTDN   1GRAA96247B707346   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48606     2007   GRTDN   1GRAA96267B707347   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48607     2007   GRTDN   1GRAA96287B707348   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48609     2007   GRTDN   1GRAA96267B707350   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48610     2007   GRTDN   1GRAA96287B707351   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48611     2007   GRTDN   1GRAA962X7B707352   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48612     2007   GRTDN   1GRAA96217B707353   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48614     2007   GRTDN   1GRAA96257B707355   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48615     2007   GRTDN   1GRAA96277B707356   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48616     2007   GRTDN   1GRAA96297B707357   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48617     2007   GRTDN   1GRAA96207B707358   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48618     2007   GRTDN   1GRAA96227B707359   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48619     2007   GRTDN   1GRAA96297B707360   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48620     2007   GRTDN   1GRAA96207B707361   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48621     2007   GRTDN   1GRAA96227B707362   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48622     2007   GRTDN   1GRAA96247B707363   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48623     2007   GRTDN   1GRAA96267B707364   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48624     2007   GRTDN   1GRAA96287B707365   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48625     2007   GRTDN   1GRAA962X7B707366   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48626     2007   GRTDN   1GRAA96217B707367   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48627     2007   GRTDN   1GRAA96237B707368   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48628     2007   GRTDN   1GRAA96257B707369   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48629     2007   GRTDN   1GRAA96217B707370   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48630     2007   GRTDN   1GRAA96228B702163   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48631     2007   GRTDN   1GRAA96248B702164   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48632     2007   GRTDN   1GRAA96268B702165   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48633     2007   GRTDN   1GRAA96288B702166   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48634     2007   GRTDN   1GRAA962X8B702167   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48635     2007   GRTDN   1GRAA96218B702168   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48636     2007   GRTDN   1GRAA96238B702169   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48637     2007   GRTDN   1GRAA962X8B702170   DRY V     CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 257 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL48638     2007   GRTDN   1GRAA96218B702171   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48639     2007   GRTDN   1GRAA96238B702172   DRY V     CA      Sun Valley
 RETL     CITY TRAILER     CTL‐TA   RETL48640     2007   GRTDN   1GRAA96258B702173   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48641     2007   GRTDN   1GRAA96278B702174   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48642     2007   GRTDN   1GRAA96298B702175   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48643     2007   GRTDN   1GRAA96208B702176   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48644     2007   GRTDN   1GRAA96228B702177   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐TA   RETL48645     2007   GRTDN   1GRAA96248B702178   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48646     2007   GRTDN   1GRAA96268B702179   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48647     2007   GRTDN   1GRAA96228B702180   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48648     2007   GRTDN   1GRAA96248B702181   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48649     2007   GRTDN   1GRAA96268B702182   DRY V     WA      Cheney
 RETL     CITY TRAILER     CTL‐TA   RETL48650     2007   GRTDN   1GRAA96288B702183   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48651     2007   GRTDN   1GRAA962X8B702184   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL48652     2007   GRTDN   1GRAA96218B702185   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48653     2007   GRTDN   1GRAA96238B702186   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48654     2007   GRTDN   1GRAA96258B702187   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48655     2007   GRTDN   1GRAA96278B702188   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48656     2007   GRTDN   1GRAA96298B702189   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48658     2007   GRTDN   1GRAA96278B702191   DRY V     IL      McCook
 RETL     CITY TRAILER     CTL‐TA   RETL48659     2007   GRTDN   1GRAA96298B702192   DRY V     ID      Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL48660     2007   GRTDN   1GRAA96208B702193   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48661     2007   GRTDN   1GRAA96228B702194   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48662     2007   GRTDN   1GRAA96248B702195   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48663     2007   GRTDN   1GRAA96268B702196   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48664     2007   GRTDN   1GRAA96288B702197   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48665     2007   GRTDN   1GRAA962X8B702198   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48666     2007   GRTDN   1GRAA96218B702199   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48667     2007   GRTDN   1GRAA96248B702200   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48668     2007   GRTDN   1GRAA96268B702201   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48669     2007   GRTDN   1GRAA96288B702202   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48670     2007   GRTDN   1GRAA96248B704383   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48671     2007   GRTDN   1GRAA96268B704384   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48672     2007   GRTDN   1GRAA96288B704385   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48673     2007   GRTDN   1GRAA962X8B704386   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48674     2007   GRTDN   1GRAA96218B704387   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48675     2007   GRTDN   1GRAA96238B704388   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48676     2007   GRTDN   1GRAA96258B704389   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48677     2007   GRTDN   1GRAA96218B704390   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48678     2007   GRTDN   1GRAA96238B704391   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48679     2007   GRTDN   1GRAA96258B704392   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48680     2007   GRTDN   1GRAA96278B704393   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48681     2007   GRTDN   1GRAA96298B704394   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48682     2007   GRTDN   1GRAA96208B704395   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48683     2007   GRTDN   1GRAA96228B704396   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48684     2007   GRTDN   1GRAA96248B704397   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48685     2007   GRTDN   1GRAA96268B704398   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48686     2007   GRTDN   1GRAA96288B704399   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48687     2007   GRTDN   1GRAA96208B704400   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48688     2007   GRTDN   1GRAA96228B704401   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48689     2007   GRTDN   1GRAA96248B704402   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48690     2007   GRTDN   1GRAA96268B704403   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48691     2007   GRTDN   1GRAA96288B704404   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48692     2007   GRTDN   1GRAA962X8B704405   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48693     2007   GRTDN   1GRAA96218B704406   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48694     2007   GRTDN   1GRAA96238B704407   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48695     2007   GRTDN   1GRAA96258B704408   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48698     2007   GRTDN   1GRAA96258B704411   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48699     2007   GRTDN   1GRAA96278B704412   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48700     2007   GRTDN   1GRAA96298B704413   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48701     2007   GRTDN   1GRAA96208B704414   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48702     2007   GRTDN   1GRAA96228B704415   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48703     2007   GRTDN   1GRAA96248B704416   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48704     2007   GRTDN   1GRAA96268B704417   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48705     2007   GRTDN   1GRAA96288B704418   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48706     2007   GRTDN   1GRAA962X8B704419   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48707     2007   GRTDN   1GRAA96268B704420   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48708     2007   GRTDN   1GRAA96288B704421   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL48709     2007   GRTDN   1GRAA962X8B704422   DRY V     NV      Sparks
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23           Page 258 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     CITY TRAILER     CTL‐TA   RETL48710     2007   GRTDN   1GRAA96218B704423   DRY V         CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL48711     2007   GRTDN   1GRAA96238B704424   DRY V         CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL48712     2007   GRTDN   1GRAA96258B704425   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48713     2007   GRTDN   1GRAA96278B704426   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48714     2007   GRTDN   1GRAA96298B704427   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48715     2007   GRTDN   1GRAA96208B704428   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48716     2007   GRTDN   1GRAA96228B704429   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48717     2007   GRTDN   1GRAA96298B704430   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48805     2000   HYUND   3H3V482C7YT047012                 UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48847     2000   HYUND   3H3V482C1YT047007   48FT          CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL48854     2001   TRLMB   1PT01JAH219003776                 CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48859     2001   TRLMB   1PT01JAH919003807                 CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48860     2001   TRLMB   1PT01JAH519003805                 CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48861     2001   TRLMB   1PT01JAH119003817                 CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48862     2001   TRLMB   1PT01JAH119003820                 CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48863     2001   TRLMB   1PT01JAH319003821                 CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48864     2001   TRLMB   1PT01JAH019003825                 CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48866     2001   TRLMB   1PT01JAH619003828                 CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48867     2001   TRLMB   1PT01JAH819003829                 CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48870     2001   TRLMB   1PT01JAH019003839                 CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48871     2001   TRLMB   1PT01JAH519003772                 UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48873     2001   TRLMB   1PT01JAH019003808                 CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48876     2001   TRLMB   1PT01JAH019003811                 CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48877     2001   TRLMB   1PT01JAHX19003816                 CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48879     2001   TRLMB   1PT01JAH319003818                 CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48881     2001   TRLMB   1PT01JAH719003823                 CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48882     2001   TRLMB   1PT01JAH919003824                 CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48883     2001   TRLMB   1PT01JAH419003830                 CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48885     2001   TRLMB   1PT01JAH719003837                 CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48888     2000   DORSY   1DTV11Z2XYA280259   48FT          CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48889     2000   DORSY   1DTV11Z2XYA280262   48FT          CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48892     2000   DORSY   1DTV11Z25YA280265   48FT          CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48893     2000   DORSY   1DTV11Z29YA280267   48FT          CA      Sun Valley
 RETL     CITY TRAILER     CTL‐TA   RETL48895     2000   DORSY   1DTV11Z29YA280270   48FT          CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48897     2000   HYUND   3H3V482C0YT047014                 CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48898     2001   TRLMB   1PT01JAH719003840                 CA      Visalia
 RETL     CITY TRAILER     CTL‐TA   RETL48901     2001   TRLMB   1PT01JAH519003773                 WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48902     2002   STRCK   1S12E94802E491328                 CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48903     2002   STRCK   1S12E94822E491329                 CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48904     2002   STRCK   1S12E94892E491330                 CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48905     2002   STRCK   1S12E94802E491331                 CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48906     2002   STRCK   1S12E94822E491332                 CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48907     2002   STRCK   1S12E94842E491333                 CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL48908     2002   STRCK   1S12E94862E491334                 CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48909     2002   STRCK   1S12E94882E491335                 CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48910     2002   STRCK   1S12E948X2E491336                 WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48911     2002   STRCK   1S12E94812E491337                 CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL48912     2002   STRCK   1S12E94832E491338                 WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48913     2002   STRCK   1S12E94852E491339                 CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48914     2002   STRCK   1S12E94812E491340                 CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48916     2002   STRCK   1S12E94852E491342                 CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48917     2002   STRCK   1S12E94872E491343                 CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48918     2002   STRCK   1S12E94892E491344                 CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48919     2002   STRCK   1S12E94802E491345                 CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48920     2002   STRCK   1S12E94822E491346                 CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48921     2002   STRCK   1S12E94842E491347                 AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL48922     2000   DORSY   1DTV11Z22YA280255   48FT          UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48923     2015   HYUND   3H3V482C4FT511001   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48924     2015   HYUND   3H3V482C6FT511002   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48925     2015   HYUND   3H3V482C8FT511003   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48926     2015   HYUND   3H3V482CXFT511004   DRY V         CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL48927     2015   HYUND   3H3V482C1FT511005   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48928     2015   HYUND   3H3V482C3FT511006   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48929     2015   HYUND   3H3V482C5FT511007   DRY V         CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL48930     2015   HYUND   3H3V482C7FT511008   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48931     2015   HYUND   3H3V482C9FT511009   DRY V         CO      Aurora
 RETL     CITY TRAILER     CTL‐TA   RETL48932     2015   HYUND   3H3V482C5FT511010   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48933     2015   HYUND   3H3V482C7FT511011   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48934     2015   HYUND   3H3V482C9FT511012   DRY V         MT      Missoula
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 259 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     CITY TRAILER     CTL‐TA   RETL48935      2015   HYUND   3H3V482C0FT511013   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48936      2015   HYUND   3H3V482C2FT511014   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48937      2015   HYUND   3H3V482C4FT511015   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48938      2015   HYUND   3H3V482C6FT511016   DRY V     CA               Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48939      2015   HYUND   3H3V482C8FT511017   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48940      2015   HYUND   3H3V482CXFT511018   DRY V     CA               Santa Clara
 RETL     CITY TRAILER     CTL‐TA   RETL48941      2015   HYUND   3H3V482C1FT511019   DRY V     WA               Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48942      2015   HYUND   3H3V482C8FT511020   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48943      2015   HYUND   3H3V482CXFT511021   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48944      2015   HYUND   3H3V482C1FT511022   DRY V     WA               Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48945      2015   HYUND   3H3V482C3FT511023   DRY V     CA               Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL48946      2015   HYUND   3H3V482C5FT511024   DRY V     British Columbia Burnaby
 RETL     CITY TRAILER     CTL‐TA   RETL48947      2015   HYUND   3H3V482C7FT511025   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48948      2015   HYUND   3H3V482C9FT511026   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48949      2015   HYUND   3H3V482C0FT511027   DRY V     CO               Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48950      2015   HYUND   3H3V482C2FT511028   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48951      2015   HYUND   3H3V482C4FT511029   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48952      2015   HYUND   3H3V482C0FT511030   DRY V     CO               Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48953      2015   HYUND   3H3V482C2FT511031   DRY V     WA               Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48954      2015   HYUND   3H3V482C4FT511032   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48955      2015   HYUND   3H3V482C6FT511033   DRY V     WA               Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48956      2015   HYUND   3H3V482C8FT511034   DRY V     CA               Santa Clara
 RETL     CITY TRAILER     CTL‐TA   RETL48957      2015   HYUND   3H3V482CXFT511035   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48958      2015   HYUND   3H3V482C1FT511036   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48959      2015   HYUND   3H3V482C3FT511037   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48960      2015   HYUND   3H3V482C5FT511038   DRY V     CA               Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48961      2015   HYUND   3H3V482C7FT511039   DRY V     NV               Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48962      2015   HYUND   3H3V482C3FT511040   DRY V     WA               Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48963      2015   HYUND   3H3V482C5FT511041   DRY V     CA               Bakersfield
 RETL     CITY TRAILER     CTL‐TA   RETL48964      2015   HYUND   3H3V482C7FT511042   DRY V     CO               Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL48965      2015   HYUND   3H3V482C9FT511043   DRY V     MT               Missoula
 RETL     CITY TRAILER     CTL‐TA   RETL48966      2015   HYUND   3H3V482C0FT511044   DRY V     CA               Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48967      2015   HYUND   3H3V482C2FT511045   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48968      2016   HYUND   3H3V482C7GT545001   DRY V     CA               Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48969      2016   HYUND   3H3V482C9GT545002   DRY V     ID               Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL48970      2016   HYUND   3H3V482C0GT545003   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48971      2016   HYUND   3H3V482C2GT545004   DRY V     CA               Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48972      2016   HYUND   3H3V482C4GT545005   DRY V     WA               Pasco
 RETL     CITY TRAILER     CTL‐TA   RETL48973      2016   HYUND   3H3V482C6GT545006   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48974      2016   HYUND   3H3V482C8GT545007   DRY V     CA               Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL48975      2016   HYUND   3H3V482CXGT545008   DRY V     WA               Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48976      2016   HYUND   3H3V482C1GT545009   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48977      2016   HYUND   3H3V482C8GT545010   DRY V     CA               Downey
 RETL     CITY TRAILER     CTL‐TA   RETL48978      2016   HYUND   3H3V482CXGT545011   DRY V     ID               Meridian
 RETL     CITY TRAILER     CTL‐TA   RETL48979      2016   HYUND   3H3V482C1GT545012   DRY V     CA               Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL48980      2016   HYUND   3H3V482C3GT545013   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48981      2016   HYUND   3H3V482C5GT545014   DRY V     WA               Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL48982      2016   HYUND   3H3V482C7GT545015   DRY V     CA               Orange
 RETL     CITY TRAILER     CTL‐TA   RETL48983      2016   HYUND   3H3V482C9GT545016   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48984      2016   HYUND   3H3V482C0GT545017   DRY V     CA               Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL48985      2016   HYUND   3H3V482C2GT545018   DRY V     NV               Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL48986      2016   HYUND   3H3V482C4GT545019   DRY V     WA               Everett
 RETL     CITY TRAILER     CTL‐TA   RETL48987      2016   HYUND   3H3V482C0GT545020   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48988      2016   HYUND   3H3V482C2GT545021   DRY V     CO               Colorado Springs
 RETL     CITY TRAILER     CTL‐TA   RETL48989      2016   HYUND   3H3V482C4GT545022   DRY V     WA               Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL48990      2016   HYUND   3H3V482C6GT545023   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48991      2016   HYUND   3H3V482C8GT545024   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48992      2016   HYUND   3H3V482CXGT545025   DRY V     WA               Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48993      2016   HYUND   3H3V482C1GT545026   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL48994      2016   HYUND   3H3V482C3GT545027   DRY V     OR               Portland
 RETL     CITY TRAILER     CTL‐TA   RETL48995      2016   HYUND   3H3V482C5GT545028   DRY V     CA               Santa Clara
 RETL     CITY TRAILER     CTL‐TA   RETL48996      2016   HYUND   3H3V482C7GT545029   DRY V     WA               Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL48997      2016   HYUND   3H3V482C3GT545030   DRY V     ID               Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL48998      2016   HYUND   3H3V482C5GT545031   DRY V     AZ               Tucson
 RETL     CITY TRAILER     CTL‐TA   RETL48999      2016   HYUND   3H3V482C7GT545032   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530151     1999   GRTDN   1GRAA0627XB102815   DRY V     UT               Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530152     1996   GRTDN   1GRAA0629TS006808   DRY V     AZ               Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530162     1998   TRLMB   1PT01JLH9W6006597   DRY V     NV               Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530176     1997   FRUHF   1JJV532F7VF441923   DRY V     CA               Tracy
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23           Page 260 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     CITY TRAILER     CTL‐TA   RETL530191     1999   GRTDN   1GRAA0629XB102816   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530194     1998   WABSH   1JJV532W3WL504244                 NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530202     1997   TRLMB   1PT01JAH4V6000482   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530219     1999   DORSY   1DTV11520XA269324   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530222     1999   DORSY   1DTV1152XXA269332   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530228     1999   DORSY   1DTV11529XA269340   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530236     1999   GRTDN   1GRAA0627XB001340   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530244     1999   STRCK   1S12E9537XD447116   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530261     1996   GRTDN   1GRAA0629TS039016   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530267     1997   STGHT   1DW1A5325VS131636   DRY V         CA      Santa Rosa
 RETL     CITY TRAILER     CTL‐TA   RETL530275     1999   GRTDN   1GRAA0624XB077517   DRY V         CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL530277     1996   WABSH   1JJV532Y4TL272377   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530286     1996   TRLMB   1PT01JAH6T9004612   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530296     1998   GRTDN   1GRAA0620WS068702   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530342     2000   TRLMB   1PT01JAH0Y9017296   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL530348     1999   HYUND   3H3V482C7XT043895   DRY V         CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL530373     2001   GRTDN   1GRAA06231K239449   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530378     2003   WABSH   1JJV532W83L846154   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530381     2000   GRTDN   1GRAA0620YB016019   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL530386     2003   GRTDN   1GRAA06224D404481   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL530393     2003   WABSH   1JJV532W03L846133   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530394     2001   STRCK   1S12E95391D455371   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530404     2003   GRTDN   1GRAA06244D404482   DRY V         CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL530409     2001   GRTDN   1GRAA0622YB016037   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530410     2003   WABSH   1JJV532W83L846137   DRY V         CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL530412     2001   GRTDN   1GRAA06271B053428   DRY V         CA      Brisbane
 RETL     CITY TRAILER     CTL‐TA   RETL530414     2000   GRTDN   1GRAA0623YB016032   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530419     2000   STRCK   1S12E9538YD455307   53FT          NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530422     2000   STRCK   1S12E9536YD455208   53FT          NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530425     1999   STGHT   1S12E9537YD455296   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530426     2001   GRTDN   1GRAA06241B053452   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL530430     2000   GRTDN   1GRAA0623YB016127   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530437     2000   GRTDN   1GRAA0622YB016023   DRY V         NV      Elko
 RETL     CITY TRAILER     CTL‐TA   RETL530440     2000   GRTDN   1GRAA0620YB016148   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530442     2001   GRTDN   1GRAA06251K239503   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL530446     2001   GRTDN   1GRAA06251G319421   DRY V         OH      Akron
 RETL     CITY TRAILER     CTL‐TA   RETL530558     2001   GRTDN   1GRAA062X1G319415   53FT          CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530564     2001   STRCK   1S12E95301D455338   53FT          UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530565     2001   GRTDN   1GRAA06291K239505   53FT          AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530567     2001   GRTDN   1GRAA06201G319407   53FT          AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530577     2001   GRTDN   1GRAA06221B053448   53FT          CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530583     2000   STRCK   1S12E9534YD455286   53FT          CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530585     2014   STGHT   1DW1A5328EB457401   DRY V         CA      Calexico
 RETL     CITY TRAILER     CTL‐TA   RETL530586     2014   STGHT   1DW1A532XEB457402   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530590     2014   STGHT   1DW1A5327EB457406   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530595     2014   STGHT   1DW1A5320EB457411   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530596     2014   STGHT   1DW1A5322EB457412   DRY V         AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530599     2014   STGHT   1DW1A5328EB457415   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530605     2014   STGHT   1DW1A5323EB457421   DRY V         CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL530613     2014   STGHT   1DW1A5328EB457429   DRY V         AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530614     2014   STGHT   1DW1A5324EB457430   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530617     2014   STGHT   1DW1A532XEB457433   DRY V         AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530618     2014   STGHT   1DW1A5321EB457434   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530626     2014   STGHT   1DW1A5320EB457442   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530631     2014   STGHT   1DW1A532XEB457447   DRY V         CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL530633     2014   STGHT   1DW1A5323EB457449   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530634     2014   STGHT   1DW1A532XEB457450   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL530635     2014   STGHT   1DW1A5321EB457451   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530644     2014   STGHT   1DW1A5322EB457460   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530647     2014   STGHT   1DW1A5328EB457463   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530652     2014   STGHT   1DW1A5327EB457468   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530655     2014   STGHT   1DW1A5327EB457471   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530656     2014   STGHT   1DW1A5329EB457472   DRY V         WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL530666     2014   STGHT   1DW1A5321EB457482   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530668     2014   STGHT   1DW1A5325EB457484   DRY V         CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL530698     2014   STGHT   1DW1A5328EB487224   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530718     2014   STGHT   1DW1A5323EB487244   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530719     2014   STGHT   1DW1A5325EB487245   DRY V         CO      Aurora
 RETL     CITY TRAILER     CTL‐TA   RETL530720     2014   STGHT   1DW1A5327EB487246   DRY V         CA      Fontana
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 261 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL530721     2014   STGHT   1DW1A5329EB487247   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530724     2014   STGHT   1DW1A5329EB487250   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530725     2014   STGHT   1DW1A5320EB487251   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL530727     2014   STGHT   1DW1A5324EB487253   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530733     2014   STGHT   1DW1A5325EB487259   DRY V     TX      El Paso
 RETL     CITY TRAILER     CTL‐TA   RETL530734     2014   STGHT   1DW1A5321EB487260   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL530735     2014   STGHT   1DW1A5323EB487261   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530738     2014   STGHT   1DW1A5329EB487264   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530740     2014   STGHT   1DW1A5322EB487266   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL530742     2014   STGHT   1DW1A5326EB487268   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL530743     2014   STGHT   1DW1A5328EB487269   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530749     2014   STGHT   1DW1A5323EB487275   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530750     2014   STGHT   1DW1A5325EB487276   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530754     2007   WABSH   1JJV532W57L034896   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530755     2007   WABSH   1JJV532W57L034901   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530756     2007   WABSH   1JJV532W67L034101   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530758     2007   WABSH   1JJV532W67L034938   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530759     2007   WABSH   1JJV532W77L034916   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL530761     2007   WABSH   1JJV532W97L034612   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL530762     2007   WABSH   1JJV532WX7L034179   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530763     2007   WABSH   1JJV532WX7L034974   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530764     2007   WABSH   1JJV532W07L034689   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530768     2007   WABSH   1JJV532W27L034824   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530769     2007   WABSH   1JJV532W47L034968   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530779     2008   GRTDN   1GRAP06208T544023   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530780     2008   GRTDN   1GRAP06218T543995   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530783     2008   GRTDN   1GRAP06228T544136   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530784     2008   GRTDN   1GRAP06248T544171   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530785     2008   GRTDN   1GRAP06258T543921   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530786     2008   GRTDN   1GRAP06258T543949   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530790     2008   GRTDN   1GRAP06268T544155   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530791     2008   GRTDN   1GRAP06278T543984   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530795     2008   GRTDN   1GRAP06288T543945   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL530796     2008   GRTDN   1GRAP062X8T543896   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL530798     2008   GRTDN   1GRAP062X8T543980   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530799     2008   GRTDN   1GRAP062X8T544014   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530800     2008   GRTDN   1GRAP062X8T544045   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530803     2008   WABSH   1JJV532W08L165249   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530804     2008   WABSH   1JJV532W08L165283   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530805     2008   WABSH   1JJV532W08L165316   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530807     2008   WABSH   1JJV532W08L165493   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530808     2008   WABSH   1JJV532W18L165258   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530809     2008   WABSH   1JJV532W18L165406   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL530813     2008   WABSH   1JJV532W38L165195   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530816     2008   WABSH   1JJV532W38L165424   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530819     2008   WABSH   1JJV532W58L165280   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530822     2008   WABSH   1JJV532W58L165571   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530824     2008   WABSH   1JJV532W68L165398   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530825     2008   WABSH   1JJV532W68L165417   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530829     2008   WABSH   1JJV532W88L165323   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530830     2008   WABSH   1JJV532W88L165385   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530831     2008   WABSH   1JJV532W88L165418   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530832     2008   WABSH   1JJV532W88L165497   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530833     2008   WABSH   1JJV532W98L165203   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530837     2008   WABSH   1JJV532W98L165489   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530838     2008   WABSH   1JJV532W98L165525   DRY V     CA      Visalia
 RETL     CITY TRAILER     CTL‐TA   RETL530842     2008   WABSH   1JJV532WX8L165355   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530844     2008   WABSH   1JJV532WX8L165419   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530845     2008   WABSH   1JJV532WX8L165484   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL530846     2008   WABSH   1JJV532W58L165392   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530848     2007   WABSH   1JJV532W37L034993   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL530853     2008   WABSH   1JJV532W48L165190   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530854     2008   WABSH   1JJV532W58L165196   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL530857     2007   WABSH   1JJV532W47L034985   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL530858     2008   GRTDN   1GRAP06248T544087   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530861     2008   WABSH   1JJV532W18L165227   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL530862     2008   WABSH   1JJV532W98L165234   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530863     2008   WABSH   1JJV532W68L165269   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL530864     2008   WABSH   1JJV532W78L165314   DRY V     CA      Gardena
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23        Page 262 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 RETL     CITY TRAILER     CTL‐TA   RETL530868     2008   WABSH   1JJV532W88L165564   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530869     2008   WABSH   1JJV532W78L165569   DRY V      CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL530870     2009   WABSH   1JJV532W89L313326   DRY V      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530875     2009   WABSH   1JJV532W29L313371   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530876     2009   WABSH   1JJV532W79L313396   DRY V      UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530878     2009   WABSH   1JJV532W89L313410   DRY V      CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL530880     2009   WABSH   1JJV532WX9L313442   DRY V      CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL530884     2008   GRTDN   1GRAP062X8T544174   DRY V      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530885     2009   WABSH   1JJV532W09L313319   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530886     2009   WABSH   1JJV532W09L313398   DRY V      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530887     2009   WABSH   1JJV532W19L313460   DRY V      CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL530888     2008   WABSH   1JJV532W28L165382   DRY V      CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL530891     2008   WABSH   1JJV532W48L165318   DRY V      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530892     2009   WABSH   1JJV532W49L313324   DRY V      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530893     2009   WABSH   1JJV532W49L313341   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530894     2009   WABSH   1JJV532W49L313470   DRY V      OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL530901     2009   WABSH   1JJV532W89L313357   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530908     2009   WABSH   1JJV532W59L313574   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530909     2009   WABSH   1JJV532W79L313575   DRY V      CA      Sun Valley
 RETL     CITY TRAILER     CTL‐TA   RETL530913     2008   WABSH   1JJV532W38L165245   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530914     2008   WABSH   1JJV532W48L165268   DRY V      UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530920     2009   WABSH   1JJV532W09L313773   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530921     2009   WABSH   1JJV532WX9L313411   DRY V      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530926     2009   WABSH   1JJV532W69L313731   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530927     2009   WABSH   1JJV532W79L313348   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530928     2009   WABSH   1JJV532W79L313530   DRY V      UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL530930     2008   WABSH   1JJV532W88L165287   DRY V      CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530931     2009   WABSH   1JJV532W99L313366   DRY V      CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL530934     2008   WABSH   1JJV532W48L165559   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530936     2009   WABSH   1JJV532W19L313796   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530937     2009   WABSH   1JJV532W29L275642   DRY V      OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL530939     2009   WABSH   1JJV532W49L313632   DRY V      NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL530940     2009   WABSH   1JJV532W59L313655   DRY V      CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL530942     2009   WABSH   1JJV532W99L313335   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530944     2009   WABSH   1JJV532W99L313738   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530946     2009   WABSH   1JJV532W09L313580   DRY V      WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL530951     2008   WABSH   1JJV532W88L165354   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530955     2021   VANGU   5V8VA5324MM109263   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL530956     2021   VANGU   5V8VA5326MM109264   DRY V      CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530969     2021   VANGU   5V8VA5324MM109277   DRY V      CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL530983     2022   VANGU   5V8VA5322NM204681   DRY V      WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL530987     2022   VANGU   5V8VA532XNM204685   DRY V      AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL530992     2022   VANGU   5V8VA5323NM204690   DRY V      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL530998     2022   VANGU   5V8VA5324NM204696   DRY V      CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL530999     2022   VANGU   5V8VA5326NM204697   DRY V      CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL531004     2022   VANGU   5V8VA5326NM204702   DRY V      CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL531011     2022   VANGU   5V8VA5329NM204709   DRY V      CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL531017     2022   VANGU   5V8VA5324NM204715   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL531018     2022   VANGU   5V8VA5326NM204716   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL531028     2022   VANGU   5V8VA5329NM204726   DRY V      CA      Santa Rosa
 RETL     CITY TRAILER     CTL‐TA   RETL536912     2006   HYUND   3H3V532C56T159255   DRY V      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL820802     2001   FRUHF   1JJV402F21F732051   DVCVFSA    MT      Billings
 RETL     CITY TRAILER     CTL‐TA   RETL820805     2001   FRUHF   1JJV402F81F732054   DVCVFSA    WA      Everett
 RETL     CITY TRAILER     CTL‐TA   RETL820806     2001   FRUHF   1JJV402FX1F732055   DVCVFSA    WA      Everett
 RETL     CITY TRAILER     CTL‐TA   RETL820808     2001   FRUHF   1JJV402F31F732057   DVCVFSA    CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL820823     2001   FRUHF   1JJV402FX1F732072   DVCVFSA    CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL820921     2004   GRTDN   1GRAA80294K262746              MT      Billings
 RETL     CITY TRAILER     CTL‐TA   RETL820960     2004   GRTDN   1GRAA80284K262785              WA      Everett
 RETL     CITY TRAILER     CTL‐TA   RETL820983     2006   GRTDN   1GRAA80226K278080              CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL821080     2006   GRTDN   1GRAA80266K278177              MT      Billings
 RETL     CITY TRAILER     CTL‐TA   RETL821121     2007   GRTDN   1GRAA802X8K296958              CO      Grand Junction
 RETL     CITY TRAILER     CTL‐TA   RETL840477     1999   GRTDN   1GRAA0626XB077521   DRY V      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL841955     2001   GRTDN   1GRAA96291B042794   P‐SERIES   CA      Santa Maria
 RETL     CITY TRAILER     CTL‐TA   RETL842901     2003   WABSH   1JJV482WX3L834619   DVCVHPC    CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL842986     2006   WABSH   1JJV482W36L988979              CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL843063     2006   WABSH   1JJV482W46L975710              UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL843431     2004   GRTDN   1GRAA96284K262329              CO      Grand Junction
 RETL     CITY TRAILER     CTL‐TA   RETL843635     2003   WABSH   1JJV482W73L849787   DVCVHPC    WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL843659     2003   WABSH   1JJV482W13L849526   DVCVHPC    ID      Pocatello
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23           Page 263 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     CITY TRAILER     CTL‐TA   RETL850475     1996   WABSH   1JJV532Y8TL272379   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850476     1996   WABSH   1JJV532Y1TL272384   DRY V         CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL850478     1997   PINES   1PNV532B4VG303408   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850479     1999   PINES   1PNV532B2XH224767   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850482     1998   TRLMB   1PT01JLH7W6006646   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850483     1998   TRLMB   1PT01JAH5W6004901   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850484     1999   GRTDN   1GRAA062XXB102842   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850485     1999   GRTDN   1GRAA0626XB077504   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850486     1998   TRLMB   1PT01JLHXW6006589   53FT          CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850487     1997   STGHT   1DW1A5326VS131628   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850488     1998   GRTDN   1PT01JLH3W6006644   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850489     1999   GRTDN   1GRAA0629XB102914   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850490     1998   TRLMB   1PT01JLH8W6006669   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850491     1998   WABSH   1JJV532W5WL504259   DRY V         CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL850492     1997   PINES   1PNV532B4VG303425   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850493     1998   WABSH   1JJV532WXWL504242   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850495     1998   GRTDN   1GRAA0625WS068730   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850496     1999   GRTDN   1GRAA0626XB102806   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850500     1997   PINES   1PNV532B8VG303413   53FT          NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850501     1998   GRTDN   1GRAA062XXB102825   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850503     1999   GRTDN   1GRAA0626XB102935   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850504     1998   VANCO   1VVVW5322W1012248                 NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850506     1995   STRCK   1S12E9530SE402604   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850507     2002   STRCK   1S12E95332E491374   53FT          NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850508     2002   STRCK   1S12E95352E491375   53FT          UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850509     2002   STRCK   1S12E95322E491382   53FT          UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850510     2002   STRCK   1S12E95362E491305   53FT          WA      Union Gap
 RETL     CITY TRAILER     CTL‐TA   RETL850511     2002   STRCK   1S12E95342E491268   53FT          WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL850512     2000   STRCK   1S12E9538YD455226   53FT          WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL850513     2000   STRCK   1S12E9539YD465988   53FT          CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850514     2000   STRCK   1S12E953XYD455275   53FT          CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850515     2000   STRCK   1S12E9536YD455323   53FT          CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850516     2001   GRTDN   1GRAA06251B053427   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850517     2001   STRCK   1S12E95361D455361   53FT          CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL850518     2003   WABSH   1JJV532W73L846047   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850520     2003   GRTDN   1GRAA06264D404497   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850522     2000   GRTDN   1GRAA0627YB016129   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850523     2000   GRTDN   1GRAA0622YB016149   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850524     2000   GRTDN   1GRAA0624YB009722   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850525     2000   STRCK   1S12E9537YD465990   53FT          NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850526     2000   STRCK   1S12E9537YD447327   53FT          CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL850527     2001   GRTDN   1GRAA06221B053403   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850528     2000   GRTDN   1GRAA062XYB008607   53FT          NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850529     2000   GRTDN   1GRAA0628YB009724   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850530     2000   GRTDN   1GRAA0624YB016119   53FT          UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850532     2001   STRCK   1S12E95341D455360   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850533     2001   GRTDN   1GRAA06201K239540   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850534     2000   STRCK   1S12E9536YD455273   53FT          CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850535     2000   STRCK   1S12E9530YD455270   53FT          NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850536     2000   GRTDN   1GRAA0621YB016112   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850538     2003   WABSH   1JJV532W43L846040   DRY V         CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL850539     2003   WABSH   1JJV532W13L846058   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850540     2000   STRCK   1S12E9534YD447303   53FT          CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850541     1996   GRTDN   1GRAA0623YB016046   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850542     2000   STRCK   1S12E9530YD447265   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850544     2001   STRCK   1S12E9536YD466001   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850545     2000   STRCK   1S12E9534YD447284   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850546     2003   GRTDN   1GRAA062X4D404504   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850547     2000   STRCK   1S12E9531YD466004   53FT          NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850548     2001   GRTDN   1GRAA062X1K239450   DRY V         CA      West Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL850549     2001   GRTDN   1GRAA06281K239527   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850550     2000   GRTDN   1GRAA0626YB016011   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850552     2001   STRCK   1S12E95321D455373   DRY V         CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL850553     2000   STRCK   1S12E9538YD447319   53FT          AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL850555     2001   STRCK   1S12E95371D455353   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850556     2001   GRTDN   1GRAA06261B053436   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850558     2003   GRTDN   1GRAA062X4D404499   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850559     2000   STRCK   1S12E9531YD455309   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850561     2001   GRTDN   1GRAA06251B053430   DRY V         WA      Seattle
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 264 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL850562     2000   GRTDN   1GRAA062XYB009708   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850563     2003   WABSH   1JJV532W43L846152   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850564     2001   STRCK   1S12E95361D455344   53FT      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850565     2001   GRTDN   1GRAA06251K239520   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850567     2001   GRTDN   1GRAA06261B053467   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850568     2001   GRTDN   1GRAA06281G319381   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850569     2000   GRTDN   1GRAA0624YB016010   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850570     2000   STRCK   1S12E95331D455334   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850571     2001   GRTDN   1GRAA06271B078412   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850572     2000   STRCK   1S12E9535YD447309   53FT      CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850573     2001   GRTDN   1GRAA06211G319433   53FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850574     2000   GRTDN   1GRAA0622YB016006   53FT      CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850575     2000   GRTDN   1GRAA0624YB016122   DRY V     CO      Aurora
 RETL     CITY TRAILER     CTL‐TA   RETL850576     2000   STRCK   1S12E9535YD455278   53FT      CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850577     2000   GRTDN   1GRAA0628YB009710   53FT      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850578     2000   STRCK   1S12E9535YD455216   53FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850579     2000   GRTDN   1GRAA0625YB016128   53FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850580     2001   GRTDN   1GRAA06281G319445   53FT      CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850582     2001   GRTDN   1GRAA06281G319414   53FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850583     2001   GRTDN   1GRAA062X1K239495   53FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850584     2000   STRCK   1S12E9530YD455222   53FT      NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850585     2001   STRCK   1S12E95381D455362   53FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850586     2000   GRTDN   1GRAA0628YB008508   53FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850587     2000   STRCK   1S12E9537YD455279   53FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850588     2000   GRTDN   1GRAA0627YB016034   53FT      CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850590     2000   GRTDN   1GRAA0628YB016026   53FT      NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850591     2001   GRTDN   1GRAA06251K239484   53FT      CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850592     2000   STRCK   1S12E9537YD447313   53FT      CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL850593     2000   STRCK   1S12E95341D455357   53FT      NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850595     2014   STGHT   1DW1A5321EB457403   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850596     2014   STGHT   1DW1A5323EB457404   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850597     2014   STGHT   1DW1A5325EB457405   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850599     2014   STGHT   1DW1A5329EB457407   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850600     2014   STGHT   1DW1A5320EB457408   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850601     2014   STGHT   1DW1A5322EB457409   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850602     2014   STGHT   1DW1A5329EB457410   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850604     2014   STGHT   1DW1A5324EB457413   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL850605     2014   STGHT   1DW1A5326EB457414   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850606     2014   STGHT   1DW1A532XEB457416   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850607     2014   STGHT   1DW1A5321EB457417   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850608     2014   STGHT   1DW1A5323EB457418   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850609     2014   STGHT   1DW1A5325EB457419   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850610     2014   STGHT   1DW1A5321EB457420   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850612     2014   STGHT   1DW1A5325EB457422   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL850613     2014   STGHT   1DW1A5327EB457423   DRY V     CA      Bakersfield
 RETL     CITY TRAILER     CTL‐TA   RETL850614     2014   STGHT   1DW1A5329EB457424   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850615     2014   STGHT   1DW1A5320EB457425   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850616     2014   STGHT   1DW1A5322EB457426   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850617     2014   STGHT   1DW1A5324EB457427   DRY V     MO      Saint Louis
 RETL     CITY TRAILER     CTL‐TA   RETL850618     2014   STGHT   1DW1A5326EB457428   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL850620     2014   STGHT   1DW1A5326EB457431   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL850621     2014   STGHT   1DW1A5328EB457432   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850623     2014   STGHT   1DW1A5323EB457435   DRY V     CA      Bakersfield
 RETL     CITY TRAILER     CTL‐TA   RETL850624     2014   STGHT   1DW1A5325EB457436   DRY V     MI      Birch Run
 RETL     CITY TRAILER     CTL‐TA   RETL850625     2014   STGHT   1DW1A5327EB457437   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL850626     2014   STGHT   1DW1A5329EB457438   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850627     2014   STGHT   1DW1A5320EB457439   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850628     2014   STGHT   1DW1A5327EB457440   DRY V     CA      Ventura
 RETL     CITY TRAILER     CTL‐TA   RETL850629     2014   STGHT   1DW1A5329EB457441   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL850630     2014   STGHT   1DW1A5322EB457443   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850631     2014   STGHT   1DW1A5324EB457444   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850632     2014   STGHT   1DW1A5326EB457445   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850633     2014   STGHT   1DW1A5328EB457446   DRY V     CA      West Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL850634     2014   STGHT   1DW1A5321EB457448   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL850636     2014   STGHT   1DW1A5323EB457452   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850637     2014   STGHT   1DW1A5325EB457453   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850638     2014   STGHT   1DW1A5327EB457454   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850639     2014   STGHT   1DW1A5329EB457455   DRY V     AZ      Tucson
 RETL     CITY TRAILER     CTL‐TA   RETL850640     2014   STGHT   1DW1A5320EB457456   DRY V     CA      Adelanto
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 265 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL850641     2014   STGHT   1DW1A5322EB457457   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL850642     2014   STGHT   1DW1A5324EB457458   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850643     2014   STGHT   1DW1A5326EB457459   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850645     2014   STGHT   1DW1A5324EB457461   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850646     2014   STGHT   1DW1A5326EB457462   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850648     2014   STGHT   1DW1A532XEB457464   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850649     2014   STGHT   1DW1A5321EB457465   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850650     2014   STGHT   1DW1A5323EB457466   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850651     2014   STGHT   1DW1A5325EB457467   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850653     2014   STGHT   1DW1A5329EB457469   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850654     2014   STGHT   1DW1A5325EB457470   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850655     2014   STGHT   1DW1A5320EB457473   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850656     2014   STGHT   1DW1A5322EB457474   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850657     2014   STGHT   1DW1A5324EB457475   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850658     2014   STGHT   1DW1A5326EB457476   DRY V     CA      Visalia
 RETL     CITY TRAILER     CTL‐TA   RETL850659     2014   STGHT   1DW1A5328EB457477   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL850660     2014   STGHT   1DW1A532XEB457478   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850661     2014   STGHT   1DW1A5321EB457479   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL850662     2014   STGHT   1DW1A5328EB457480   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850663     2014   STGHT   1DW1A532XEB457481   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850665     2014   STGHT   1DW1A5323EB457483   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850667     2014   STGHT   1DW1A5327EB457485   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850668     2014   STGHT   1DW1A5329EB457486   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL850669     2014   STGHT   1DW1A5320EB457487   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL850670     2014   STGHT   1DW1A5322EB457488   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL850671     2014   STGHT   1DW1A5324EB457489   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850672     2014   STGHT   1DW1A5320EB457490   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL850673     2014   STGHT   1DW1A5327EB487201   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL850674     2014   STGHT   1DW1A5329EB487202   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850675     2014   STGHT   1DW1A5320EB487203   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL850676     2014   STGHT   1DW1A5322EB487204   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850677     2014   STGHT   1DW1A5324EB487205   DRY V     CA      Anderson
 RETL     CITY TRAILER     CTL‐TA   RETL850678     2014   STGHT   1DW1A5326EB487206   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL850679     2014   STGHT   1DW1A5328EB487207   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850680     2014   STGHT   1DW1A532XEB487208   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL850681     2014   STGHT   1DW1A5321EB487209   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL850682     2014   STGHT   1DW1A5328EB487210   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850683     2014   STGHT   1DW1A532XEB487211   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850684     2014   STGHT   1DW1A5321EB487212   DRY V     CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850685     2014   STGHT   1DW1A5323EB487213   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850686     2014   STGHT   1DW1A5325EB487214   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850687     2014   STGHT   1DW1A5327EB487215   DRY V     CA      Santa Clara
 RETL     CITY TRAILER     CTL‐TA   RETL850688     2014   STGHT   1DW1A5329EB487216   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL850689     2014   STGHT   1DW1A5320EB487217   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850690     2014   STGHT   1DW1A5322EB487218   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850691     2014   STGHT   1DW1A5324EB487219   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850692     2014   STGHT   1DW1A5320EB487220   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850693     2014   STGHT   1DW1A5322EB487221   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850694     2014   STGHT   1DW1A5324EB487222   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850695     2014   STGHT   1DW1A5326EB487223   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850697     2014   STGHT   1DW1A532XEB487225   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL850698     2014   STGHT   1DW1A5321EB487226   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850699     2014   STGHT   1DW1A5323EB487227   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL850700     2014   STGHT   1DW1A5325EB487228   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850701     2014   STGHT   1DW1A5327EB487229   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850702     2014   STGHT   1DW1A5323EB487230   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850703     2014   STGHT   1DW1A5325EB487231   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850704     2014   STGHT   1DW1A5327EB487232   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850705     2014   STGHT   1DW1A5329EB487233   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL850706     2014   STGHT   1DW1A5320EB487234   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850707     2014   STGHT   1DW1A5322EB487235   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL850708     2014   STGHT   1DW1A5324EB487236   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL850709     2014   STGHT   1DW1A5326EB487237   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL850710     2014   STGHT   1DW1A5328EB487238   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850711     2014   STGHT   1DW1A532XEB487239   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL850712     2014   STGHT   1DW1A5326EB487240   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850713     2014   STGHT   1DW1A5328EB487241   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850714     2014   STGHT   1DW1A532XEB487242   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850715     2014   STGHT   1DW1A5321EB487243   DRY V     CA      West Sacramento
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 266 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL850717     2014   STGHT   1DW1A5320EB487248   DRY V     CA      Bakersfield
 RETL     CITY TRAILER     CTL‐TA   RETL850718     2014   STGHT   1DW1A5322EB487249   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850719     2014   STGHT   1DW1A5322EB487252   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850721     2014   STGHT   1DW1A5326EB487254   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850722     2014   STGHT   1DW1A5328EB487255   DRY V     AZ      Nogales
 RETL     CITY TRAILER     CTL‐TA   RETL850723     2014   STGHT   1DW1A532XEB487256   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850724     2014   STGHT   1DW1A5321EB487257   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850725     2014   STGHT   1DW1A5323EB487258   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850727     2014   STGHT   1DW1A5325EB487262   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850728     2014   STGHT   1DW1A5327EB487263   DRY V     CA      Brisbane
 RETL     CITY TRAILER     CTL‐TA   RETL850729     2014   STGHT   1DW1A5320EB487265   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850730     2014   STGHT   1DW1A5324EB487267   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL850731     2014   STGHT   1DW1A5324EB487270   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL850732     2014   STGHT   1DW1A5326EB487271   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL850733     2014   STGHT   1DW1A5328EB487272   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850734     2014   STGHT   1DW1A532XEB487273   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850735     2014   STGHT   1DW1A5321EB487274   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850737     2014   STGHT   1DW1A5327EB487277   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850738     2007   WABSH   1JJV532W07L034305   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850739     2007   WABSH   1JJV532W17L034829   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850740     2007   WABSH   1JJV532W67L034762   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850741     2007   WABSH   1JJV532W87L034424   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850742     2007   WABSH   1JJV532W07L034904   DRY V     CA      Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL850743     2007   WABSH   1JJV532W17L034295   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850744     2007   WABSH   1JJV532W17L034510   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850745     2007   WABSH   1JJV532W57L034848   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL850746     2007   WABSH   1JJV532W77L034933   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850747     2007   WABSH   1JJV532W97L034142   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850748     2007   WABSH   1JJV532W97L034688   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850749     2007   WABSH   1JJV532W97L035016   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850750     2007   WABSH   1JJV532WX7L034165   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850751     2008   GRTDN   1GRAP06208T543938   DRY V     CA      Hayward
 RETL     CITY TRAILER     CTL‐TA   RETL850752     2008   GRTDN   1GRAP06208T543969   DRY V     CA      Brisbane
 RETL     CITY TRAILER     CTL‐TA   RETL850753     2008   GRTDN   1GRAP06208T544006   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL850754     2008   GRTDN   1GRAP06218T544001   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850755     2008   GRTDN   1GRAP06218T544161   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850756     2008   GRTDN   1GRAP06258T544017   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850757     2008   GRTDN   1GRAP06258T544048   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850758     2008   GRTDN   1GRAP06268T543894   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850760     2008   GRTDN   1GRAP06278T544133   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL850761     2008   GRTDN   1GRAP06278T544164   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850762     2008   GRTDN   1GRAP06288T543895   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850764     2008   GRTDN   1GRAP062X8T543963   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850765     2008   GRTDN   1GRAP062X8T544109   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850766     2008   WABSH   1JJV532W08L165218   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850767     2008   WABSH   1JJV532W08L165428   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850768     2008   WABSH   1JJV532W18L165552   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850769     2008   WABSH   1JJV532W28L165270   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850770     2008   WABSH   1JJV532W28L165365   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850772     2008   WABSH   1JJV532W38L165276   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850773     2008   WABSH   1JJV532W38L165357   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850774     2008   WABSH   1JJV532W48L165495   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850775     2008   WABSH   1JJV532W48L165545   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850776     2008   WABSH   1JJV532W58L165313   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL850777     2008   WABSH   1JJV532W58L165568   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850778     2008   WABSH   1JJV532W68L165241   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850779     2008   WABSH   1JJV532W78L165331   DRY V     CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL850780     2008   WABSH   1JJV532W88L165242   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850781     2008   WABSH   1JJV532W98L165220   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850782     2008   WABSH   1JJV532W98L165282   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850783     2008   WABSH   1JJV532W98L165296   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850785     2008   WABSH   1JJV532W98L165556   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850786     2008   WABSH   1JJV532W98L165573   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850787     2008   WABSH   1JJV532WX8L165209   DRY V     OR      Central Point
 RETL     CITY TRAILER     CTL‐TA   RETL850788     2008   WABSH   1JJV532WX8L165386   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL850789     2008   WABSH   1JJV532W98L165444   DRY V     CA      Brisbane
 RETL     CITY TRAILER     CTL‐TA   RETL850791     2007   WABSH   1JJV532W57L034560   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850792     2007   WABSH   1JJV532W77L034625   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850793     2007   WABSH   1JJV532W97L034223   DRY V     NV      Sparks
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 267 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRAILER     CTL‐TA   RETL850794     2008   WABSH   1JJV532W38L165486   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850795     2008   WABSH   1JJV532WX8L165226   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850796     2007   WABSH   1JJV532WX7L034649   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850799     2008   GRTDN   1GRAP06268T544088   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850800     2008   GRTDN   1GRAP06228T544153   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850802     2008   WABSH   1JJV532W18L165387   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850803     2008   WABSH   1JJV532W38L165455   DRY V     CA      Santa Clara
 RETL     CITY TRAILER     CTL‐TA   RETL850804     2008   WABSH   1JJV532W78L165488   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850806     2009   WABSH   1JJV532W19L313328   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850807     2009   WABSH   1JJV532W59L313333   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850808     2009   WABSH   1JJV532W59L313350   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850809     2009   WABSH   1JJV532W09L313370   DRY V     CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL850810     2009   WABSH   1JJV532W19L313409   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850811     2009   WABSH   1JJV532W39L313427   DRY V     UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850812     2008   GRTDN   1GRAP06208T543986   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850813     2008   GRTDN   1GRAP06218T543897   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850814     2008   GRTDN   1GRAP06238T544100   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850815     2008   WABSH   1JJV532W28L165558   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850816     2008   WABSH   1JJV532W38L165259   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850817     2007   WABSH   1JJV532W57L034364   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850818     2009   WABSH   1JJV532W59L313381   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850819     2009   WABSH   1JJV532W59L313526   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850820     2008   WABSH   1JJV532W68L165188   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850821     2009   WABSH   1JJV532W69L313356   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850822     2009   WABSH   1JJV532W79L313558   DRY V     AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL850823     2008   WABSH   1JJV532W98L165346   DRY V     NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850824     2009   WABSH   1JJV532W99L313397   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850825     2007   WABSH   1JJV532WX7L034389   DRY V     CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL850826     2009   WABSH   1JJV532W19L313345   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850827     2009   WABSH   1JJV532W19L313605   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850828     2009   WABSH   1JJV532W29L313547   DRY V     CA      Visalia
 RETL     CITY TRAILER     CTL‐TA   RETL850829     2009   WABSH   1JJV532W79L313611   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850830     2009   WABSH   1JJV532W99L313433   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850831     2009   WABSH   1JJV532W09L313529   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850832     2008   WABSH   1JJV532W58L165487   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850833     2009   WABSH   1JJV532W59L313557   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850834     2009   WABSH   1JJV532W59L313817   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850835     2008   WABSH   1JJV532W68L165319   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850836     2009   WABSH   1JJV532W69L313678   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850837     2008   GRTDN   1GRAP06258T544003   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850838     2009   WABSH   1JJV532W49L313579   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850839     2009   WABSH   1JJV532W49L313677   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850840     2009   WABSH   1JJV532W69L313423   DRY V     CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL850842     2009   WABSH   1JJV532W79L313799   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850844     2008   WABSH   1JJV532W08L165199   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850845     2008   WABSH   1JJV532W18L165342   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850846     2008   WABSH   1JJV532WX8L165338   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850847     2009   WABSH   1JJV532W49L313453   DRY V     NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL850848     2009   WABSH   1JJV532W69L313583   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL850849     2009   WABSH   1JJV532W99L313710   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850850     2009   WABSH   1JJV532W09L313420   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850851     2009   WABSH   1JJV532W09L313689   DRY V     WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL850852     2009   WABSH   1JJV532W49L313372   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850853     2009   WABSH   1JJV532W69L313602   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850854     2009   WABSH   1JJV532W79L313527   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850855     2009   WABSH   1JJV532W99L313626   DRY V     CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850856     2009   WABSH   1JJV532WX9L313487   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850857     2009   WABSH   1JJV532WX9L313800   DRY V     CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850860     2021   VANGU   5V8VA5328MM109265   DRY V     AZ      Nogales
 RETL     CITY TRAILER     CTL‐TA   RETL850861     2021   VANGU   5V8VA532XMM109266   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL850862     2021   VANGU   5V8VA5321MM109267   DRY V     NE      Omaha
 RETL     CITY TRAILER     CTL‐TA   RETL850863     2021   VANGU   5V8VA5323MM109268   DRY V     CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850864     2021   VANGU   5V8VA5325MM109269   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850865     2021   VANGU   5V8VA5321MM109270   DRY V     CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL850866     2021   VANGU   5V8VA5323MM109271   DRY V     CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL850867     2021   VANGU   5V8VA5325MM109272   DRY V     OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850868     2021   VANGU   5V8VA5327MM109273   DRY V     CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL850869     2021   VANGU   5V8VA5329MM109274   DRY V     WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL850870     2021   VANGU   5V8VA5320MM109275   DRY V     CA      Bloomington
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23        Page 268 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     CITY TRAILER     CTL‐TA   RETL850871     2021   VANGU   5V8VA5322MM109276   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850872     2021   VANGU   5V8VA5326MM109278   DRY V         WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL850873     2021   VANGU   5V8VA5328MM109279   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850874     2021   VANGU   5V8VA5324MM109280   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL850875     2021   VANGU   5V8VA5326MM109281   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850876     2021   VANGU   5V8VA5328MM109282   DRY V         CA      Sun Valley
 RETL     CITY TRAILER     CTL‐TA   RETL850877     2021   VANGU   5V8VA532XMM109283   DRY V         WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL850878     2021   VANGU   5V8VA5321MM109284   DRY V         CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL850879     2021   VANGU   5V8VA5323MM109285   DRY V         UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL850880     2021   VANGU   5V8VA5325MM109286   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850881     2021   VANGU   5V8VA5327MM109287   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850882     2021   VANGU   5V8VA5329MM109288   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL850883     2021   VANGU   5V8VA5320MM109289   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850884     2021   VANGU   5V8VA5327MM109290   DRY V         PA      Carlisle
 RETL     CITY TRAILER     CTL‐TA   RETL850888     2022   VANGU   5V8VA5321NM204686   DRY V         CA      Brisbane
 RETL     CITY TRAILER     CTL‐TA   RETL850889     2022   VANGU   5V8VA5323NM204687   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850890     2022   VANGU   5V8VA5325NM204688   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850896     2022   VANGU   5V8VA5321NM204705   DRY V         CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL850897     2022   VANGU   5V8VA5323NM204706   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850898     2022   VANGU   5V8VA5325NM204707   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850900     2022   VANGU   5V8VA5325NM204710   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL850901     2022   VANGU   5V8VA5327NM204711   DRY V         CA      Tracy
 RETL     CITY TRAILER     CTL‐TA   RETL850902     2022   VANGU   5V8VA5329NM204712   DRY V         CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL850903     2022   VANGU   5V8VA5320NM204713   DRY V         WA      Seattle
 RETL     CITY TRAILER     CTL‐TA   RETL850904     2022   VANGU   5V8VA5322NM204714   DRY V         WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL850907     2022   VANGU   5V8VA5328NM204717   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850908     2022   VANGU   5V8VA532XNM204718   DRY V         CA      Pomona
 RETL     CITY TRAILER     CTL‐TA   RETL850909     2022   VANGU   5V8VA5321NM204719   DRY V         CO      Aurora
 RETL     CITY TRAILER     CTL‐TA   RETL850910     2022   VANGU   5V8VA5328NM204720   DRY V         CA      Bloomington
 RETL     CITY TRAILER     CTL‐TA   RETL850911     2022   VANGU   5V8VA532XNM204721   DRY V         TN      Knoxville
 RETL     CITY TRAILER     CTL‐TA   RETL850912     2022   VANGU   5V8VA5321NM204722   DRY V         NC      Fayetteville
 RETL     CITY TRAILER     CTL‐TA   RETL850913     2022   VANGU   5V8VA5323NM204723   DRY V         CA      Gardena
 RETL     CITY TRAILER     CTL‐TA   RETL850914     2022   VANGU   5V8VA5325NM204724   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL850915     2022   VANGU   5V8VA5327NM204725   DRY V         CA      Santa Rosa
 RETL     CITY TRAILER     CTL‐TA   RETL850916     2022   VANGU   5V8VA5320NM204727   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL89196      2007   UTLTY   1UYVS24817G300919   48' W/ GATE   WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL948000     2005   GRTDN   1GRAA96235K263292   DRY V         AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL948001     2005   GRTDN   1GRAA96225K263297   DRY V         CA      Downey
 RETL     CITY TRAILER     CTL‐TA   RETL948002     2005   GRTDN   1GRAA96235K263356   DRY V         CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL948008     1994   GRTDN   1GRAA9625RB179111   LGT V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL948010     1994   GRTDN   1GRAA962XRB179119   LGT V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL948011     1994   GRTDN   1GRAA9621RB179123   LGT V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL948012     2001   GRTDN   1GRAA96291S035307   DRY V         AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL948013     2001   GRTDN   1GRAA96271S035306   DRY V         WY      Buffalo
 RETL     CITY TRAILER     CTL‐TA   RETL948014     2005   GRTDN   1GRAA96265K263268   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL948015     2005   GRTDN   1GRAA96285K263269   DRY V         CA      Orange
 RETL     CITY TRAILER     CTL‐TA   RETL948016     2005   GRTDN   1GRAA96245K263270   DRY V         ID      Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL948017     2005   GRTDN   1GRAA96205K263279   DRY V         CA      Calexico
 RETL     CITY TRAILER     CTL‐TA   RETL948018     2005   GRTDN   1GRAA96275K263280   DRY V         CA      Pico Rivera
 RETL     CITY TRAILER     CTL‐TA   RETL948020     2005   GRTDN   1GRAA96205K263301   L/GAT         WA      Pasco
 RETL     CITY TRAILER     CTL‐TA   RETL948021     2005   GRTDN   1GRAA96275K263313   DRY V         CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL948022     2005   GRTDN   1GRAA96215K263338   DRY V         CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL948023     2005   GRTDN   1GRAA96235K263339   DRY V         CA      San Diego
 RETL     CITY TRAILER     CTL‐TA   RETL948024     2005   GRTDN   1GRAA962X5K263340   DRY V         CA      Fontana
 RETL     CITY TRAILER     CTL‐TA   RETL948025     2005   GRTDN   1GRAA96215K263341   DRY V         CO      Grand Junction
 RETL     CITY TRAILER     CTL‐TA   RETL948026     2005   GRTDN   1GRAA96235K263342   DRY V         WA      Pasco
 RETL     CITY TRAILER     CTL‐TA   RETL948027     2005   GRTDN   1GRAA962X5K263354   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL948028     2005   GRTDN   1GRAA96215K263355   DRY V         WA      Spokane
 RETL     CITY TRAILER     CTL‐TA   RETL948029     2005   GRTDN   1GRAA96255K263357   DRY V         WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL948030     2005   GRTDN   1GRAA96275K263358   DRY V         WA      Tacoma
 RETL     CITY TRAILER     CTL‐TA   RETL948031     2005   GRTDN   1GRAA96275K263361   DRY V         MT      Missoula
 RETL     CITY TRAILER     CTL‐TA   RETL948032     2005   GRTDN   1GRAA96205K263377   DRY V         WA      Pasco
 RETL     CITY TRAILER     CTL‐TA   RETL948033     2005   GRTDN   1GRAA96225K263378   DRY V         CA      West Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL948034     2005   GRTDN   1GRAA96245K263379   DRY V         CA      West Sacramento
 RETL     CITY TRAILER     CTL‐TA   RETL948276     2004   GRTDN   1GRAA96274B704985   DRY V         NV      Sparks
 RETL     CITY TRAILER     CTL‐TA   RETL948277     2004   GRTDN   1GRAA96294B704986   DRY V         OR      Portland
 RETL     CITY TRAILER     CTL‐TA   RETL948278     2004   GRTDN   1GRAA96294B708181   DRY V         OR      Eugene
 RETL     CITY TRAILER     CTL‐TA   RETL948289     2004   GRTDN   1GRAA96234B708192   DRY V         NV      Las Vegas
 RETL     CITY TRAILER     CTL‐TA   RETL948293     2004   GRTDN   1GRAA96204B708196   DRY V         CA      Fresno
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 269 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 RETL     CITY TRAILER     CTL‐TA   RETL948294     2004   GRTDN   1GRAA96224B708197   DRY V      ID      Meridian
 RETL     CITY TRAILER     CTL‐TA   RETL948295     2004   GRTDN   1GRAA96244B708198   DRY V      OR      Eugene
 RETL     CITY TRAILER     CTL‐TA   RETL948296     2004   GRTDN   1GRAA96264B708199   DRY V      UT      Salt Lake City
 RETL     CITY TRAILER     CTL‐TA   RETL948297     2004   GRTDN   1GRAA96294B708200   DRY V      CA      Fresno
 RETL     CITY TRAILER     CTL‐TA   RETL948353     2004   GRTDN   1GRAA96234B708256   DRY V      CA      Santa Clara
 RETL     CITY TRAILER     CTL‐TA   RETL948564     2005   GRTDN   1GRAA96205K263282   DRY V      ID      Pocatello
 RETL     CITY TRAILER     CTL‐TA   RETL948565     2005   GRTDN   1GRAA96225K263283   DRY V      CO      Henderson
 RETL     CITY TRAILER     CTL‐TA   RETL948566     2005   GRTDN   1GRAA96245K263284   DRY V      WA      East Wenatchee
 RETL     CITY TRAILER     CTL‐TA   RETL948896     2000   DORSY   1DTV11Z28YA280275   48FT       CA      Bakersfield
 RETL     CITY TRAILER     CTL‐TA   RETL948927     2000   HYUND   3H3V482C2YT047001   48FT       AZ      Phoenix
 RETL     CITY TRAILER     CTL‐TA   RETL948928     2000   HYUND   3H3V482C8YT047004   48FT       CA      Bakersfield
 RETL     CITY TRAILER     CTL‐TA   RETL948930     2000   HYUND   3H3V482C1YT047006   48FT       CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL19525      2005   INTL    1HSMTAAN95H106553   4400       NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL62381      2003   FRGHT   1FUBA5CGX3LK71803   CL120      WA      Union Gap
 RETL     CITY TRACTOR     CTR‐SA   RETL62382      2003   FRGHT   1FUBA5CG33LK71805   CL120      WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL64112      2005   VOLVO   4V4M19GF05N405982   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64162      2005   VOLVO   4V4M19GF65N378173   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64174      2005   VOLVO   4V4M19GFX5N405942   VNM42T     ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL64210      2004   VOLVO   4V4M19GF54N369902   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64306      2005   VOLVO   4V4M19GF25N378171   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64572      2008   INTL    1HSHWAHN38J674258   8600 S/A   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64576      2009   INTL    1HSHWAHN59J674263   8600 S/A   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64586      2009   INTL    1HSHWAHN89J674273   8600 S/A   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64596      2009   INTL    1HSHWAHN89J674287   8600 S/A   MT      Great Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL64599      2009   INTL    1HSHWAHN89J674290   8600 S/A   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64612      2009   INTL    1HSHWAHN29J674303   8600 S/A   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64617      2009   INTL    1HSHWAHN19J674308   8600 S/A   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64733      2008   INTL    1HSHWAHN18J645860   8600 S/A   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64741      2008   INTL    1HSHWAHN58J645831   8600 S/A   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64745      2008   INTL    1HSHWAHN88J645919   8600 S/A   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64759      2008   FRGHT   1FUBA5CK58LZ94910   CL120      OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL64897      2009   VOLVO   4V4M19EG29N263832   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64964      2008   VOLVO   4V4M19EG38N262896   VNM42T     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL64965      2008   VOLVO   4V4M19EG28N262792   VNM42T     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL64966      2008   VOLVO   4V4M19EG28N262825   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64967      2008   VOLVO   4V4M19EG18N262797   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL64968      2008   VOLVO   4V4M19EG88N262800   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65031      2008   VOLVO   4V4M19EG68N262908   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65046      2008   VOLVO   4V4M19EG38N262820   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65047      2009   VOLVO   4V4M19EGX9N263948   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65083      2006   VOLVO   4V4M19GF36N406108   VNM42T     ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL65085      2006   VOLVO   4V4M19GF06N406163   VNM42T     ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL65111      2007   VOLVO   4V4M19GF47N406832   VNM42T     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL65337      2006   VOLVO   4V4M19GF76N406659   VNM42T     CO      Grand Junction
 RETL     CITY TRACTOR     CTR‐SA   RETL65404      2009   VOLVO   4V4M19EG59N263985   VNM42T     WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL65408      2008   VOLVO   4V4M19EG58N262902   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65414      2008   VOLVO   4V4M19EG38N262803   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65659      2007   VOLVO   4V4M19GFX7N451564   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65663      2005   VOLVO   4V4M19GFX5N378161   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65743      2008   FRGHT   1FUBA6CK08LZ83934   COLUMBIA   NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65816      2008   VOLVO   4V4M19EG08N262872   VNM42T     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL65843      2008   FRGHT   1FUBA6CK58LZ83928   COLUMBIA   MT      Billings
 RETL     CITY TRACTOR     CTR‐SA   RETL65915      2012   VOLVO   4V4M19EG6CN555619   VNM42T     CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL65949      2014   VOLVO   4V4N39EG1EN160345   VNL42300   CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL65950      2014   VOLVO   4V4N39EG0EN160353   VNL42300   CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL65955      2014   FRGHT   1FUBGADV0ELFR1027   CAS113     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL65956      2014   FRGHT   1FUBGADV0ELFP6365   CAS113     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL65963      2012   VOLVO   4V4M19EG2CN555620   VNM42T     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL65965      2012   VOLVO   4V4M19EGXCN555610   VNM42T     CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL65972      2014   FRGHT   1FUBGADVXELFR1035   CAS113     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL66007      2012   VOLVO   4V4M19EG1CN555611   VNM42T     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL66008      2012   VOLVO   4V4M19EG6CN555605   VNM42T     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL66009      2014   FRGHT   1FUBGADV3ELFP6358   CAS113     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL66014      2013   VOLVO   4V4N39EG0DN145964   VNL42300   CA      Bloomington
 RETL     CITY TRACTOR     CTR‐SA   RETL66016      2012   VOLVO   4V4N39DFXCN538605   VNL42300   CA      Anderson
 RETL     CITY TRACTOR     CTR‐SA   RETL66062      2014   VOLVO   4V4N39EG0EN175631   VNL42300   CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL66355      2016   FRGHT   3AKBGADV5GDHC3500   CAS113     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL66356      2017   VOLVO   4V4M19EG9HN962891   VNM42T     CA      Santa Maria
 RETL     CITY TRACTOR     CTR‐SA   RETL66357      2017   VOLVO   4V4M19EG4HN985124   VNM42T     CA      Tracy
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 270 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRACTOR     CTR‐SA   RETL66364     2017   VOLVO   4V4M19EG5HN962905   VNM42T    CA      Visalia
 RETL     CITY TRACTOR     CTR‐SA   RETL66368     2016   FRGHT   3AKBGADV7GDHC3532   CAS113    CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL66391     2016   VOLVO   4V4M19EGXGN944821   VNM42T    CA      Santa Maria
 RETL     CITY TRACTOR     CTR‐SA   RETL66394     2016   FRGHT   3AKBGADV2GDHC3518   CAS113    OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL66401     2016   FRGHT   1FUBGADV5GLHB3542   CAS113    CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL66402     2017   VOLVO   4V4M19EG4HN985107   VNM42T    CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL66403     2017   VOLVO   4V4M19EG4HN962863   VNM42T    CA      Bloomington
 RETL     CITY TRACTOR     CTR‐SA   RETL66404     2017   VOLVO   4V4M19EG5HN962855   VNM42T    CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL66431     2016   FRGHT   3AKBGADV9GDHC3483   CAS113    ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL66551     2017   VOLVO   4V4M19EG7HN962890   VNM42T    CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL66607     2017   VOLVO   4V4M19EG2HN985137   VNM42T    CA      San Diego
 RETL     CITY TRACTOR     CTR‐SA   RETL66609     2017   VOLVO   4V4M19EG4HN962913   VNM42T    CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL66610     2017   VOLVO   4V4M19EG5HN985116   VNM42T    CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL66643     2017   VOLVO   4V4M19EG3HN962921   VNM42T    CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL66650     2017   VOLVO   4V4M19EG5HN962869   VNM42T    CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL66651     2017   VOLVO   4V4M19EG9HN985149   VNM42T    CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL66652     2017   VOLVO   4V4M19EG1HN962903   VNM42T    CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL66657     2017   VOLVO   4V4M19EG8HN985126   VNM42T    CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL66659     2017   VOLVO   4V4M19EGXHN985113   VNM42T    CA      Brisbane
 RETL     CITY TRACTOR     CTR‐SA   RETL66672     2017   VOLVO   4V4M19EG1HN962917   VNM42T    CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL66698     2017   VOLVO   4V4M19EG7HN962873   VNM42T    CA      Brisbane
 RETL     CITY TRACTOR     CTR‐SA   RETL66699     2017   VOLVO   4V4M19EG6HN962881   VNM42T    CA      Brisbane
 RETL     CITY TRACTOR     CTR‐SA   RETL67348     2007   NVSTR   2HSCPAPN17C424586   9400      UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL67359     2009   VOLVO   4V4M19EH39N283905   VNM42     OR      Redmond
 RETL     CITY TRACTOR     CTR‐SA   RETL67390     2017   PTRBL   1XPBA48X0HD441869   579       AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL67411     2017   PTRBL   1XPBA48X3HD441848   579       CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL67431     2014   VOLVO   4V4M19EHXEN161360   VNM42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL67459     2005   NVSTR   2HSCPAPN75C047341   9400      CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL67468     2005   NVSTR   2HSCPAPN55C047287   9400      CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL67619     2009   VOLVO   4V4M19EHX9N283934   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL67624     2016   NVSTR   3HSDGAPN9GN279624   PRO S     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL67625     2012   VOLVO   4V4M19EH5CN555748   VNM42     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL67626     2005   NVSTR   2HSCPAPN95C047325   9400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL67627     2009   VOLVO   4V4M19EHX9N283920   VNM42     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL67628     2009   VOLVO   4V4M19EH89N283902   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL67629     2009   VOLVO   4V4M19EH89N283916   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL67648     2014   VOLVO   4V4M19EH2EN161417   VNM42     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL67649     2016   NVSTR   3HSDGAPN2GN214565   PRO S     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL67650     2015   VOLVO   4V4M19EH2FN918219   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL67651     2014   VOLVO   4V4M19EH9EN161429   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL67652     2014   VOLVO   4V4M19EH7EN161428   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL67655     2016   NVSTR   3HSDGAPN3GN214526   PRO S     CA      Anderson
 RETL     CITY TRACTOR     CTR‐SA   RETL67656     2007   NVSTR   2HSCPAPN97C424593   9400      CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL67657     2009   VOLVO   4V4M19EH39N283919   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL67661     2016   NVSTR   3HSDGAPN5GN214575   PRO S     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL67666     2015   VOLVO   4V4M19EH6FN918188   VNM42     OR      Roseburg
 RETL     CITY TRACTOR     CTR‐SA   RETL67667     2015   VOLVO   4V4M19EH6FN918191   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL67669     2014   VOLVO   4V4M19EH5EN161430   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL67670     2014   VOLVO   4V4M19EH1EN161425   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL67673     2015   VOLVO   4V4M19EH0FN918235   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL67674     2015   VOLVO   4V4M19EH9FN918203   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL67675     2015   VOLVO   4V4M19EH9FN918220   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL67676     2014   VOLVO   4V4M19EH8EN161342   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL67677     2014   VOLVO   4V4M19EH8EN161423   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL71055     2004   NVSTR   1HSMKAAN04H619126   4400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL71081     2006   NVSTR   1HSMKAAN36H225655   4400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL71088     2006   NVSTR   1HSMKAAN06H225662   4400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL7246      2005   NVSTR   1HSMTAAN05H106554   4400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL7247      2005   NVSTR   1HSMTAAN25H106555   4400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL7251      2005   NVSTR   1HSMTAANX5H106559   4400      NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL7255      2005   NVSTR   1HSMTAAN15H106563   4400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL7261      2005   NVSTR   1HSMTAAN25H106569   4400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL7262      2005   NVSTR   1HSMTAAN95H106570   4400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL7263      2005   NVSTR   1HSMTAAN05H106571   4400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL7279      2005   NVSTR   1HSMTAAN45H106587   4400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL7284      2005   NVSTR   1HSMTAAN85H106592   4400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL7287      2005   NVSTR   1HSMTAAN35H106595   4400      NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL7293      2005   NVSTR   1HSMTAAN55H106601   4400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL7294      2005   NVSTR   1HSMTAAN75H106602   4400      NV      Las Vegas
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 271 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRACTOR     CTR‐SA   RETL78004      2012   FRGHT   1FUBGDDV0CSBL9518   CASCA     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL78005      2012   FRGHT   1FUBGDDV1CSBD2993   CASCA     CA      Bloomington
 RETL     CITY TRACTOR     CTR‐SA   RETL78008      2012   FRGHT   1FUBGDDV2CSBD6230   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78009      2012   FRGHT   1FUBGDDV4CSBL9506   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78012      2013   FRGHT   1FUBGDDV9DSBU4881   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78014      2014   FRGHT   3AKBGDDV1ESFU3106   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78015      2014   FRGHT   3AKBGDDV5ESFS7863   CASCA     CA      West Sacramento
 RETL     CITY TRACTOR     CTR‐SA   RETL78016      2014   FRGHT   3AKBGDDVXESFU3105   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78018      2012   FRGHT   1FUBGDDV1CSBD6638   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78019      2013   FRGHT   1FUBGDDV2DSBU4981   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78021      2013   FRGHT   1FUBGDDV3DSBU5010   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78022      2013   FRGHT   1FUBGDDV4DSBU4965   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78023      2013   FRGHT   1FUBGDDV4DSBU5016   CASCA     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL78024      2013   FRGHT   1FUBGDDV5DSBU4974   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78028      2013   FRGHT   1FUBGDDV9DSBU4976   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78029      2013   FRGHT   1FUBGDDV7DSBU4975   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78030      2013   FRGHT   1FUBGDDV2DSBU4978   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78031      2011   FRGHT   1FUBGADV9BSAX7484   CASCA     WA      Tacoma
 RETL     CITY TRACTOR     CTR‐SA   RETL78033      2012   FRGHT   1FUBGDDR9CSBJ4359   CASCA     CA      Pomona
 RETL     CITY TRACTOR     CTR‐SA   RETL78034      2012   FRGHT   1FUBGDDV8CSBD3090   CASCA     CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL78035      2012   FRGHT   1FUBGDDV9CSBD6998   CASCA     OR      Redmond
 RETL     CITY TRACTOR     CTR‐SA   RETL78036      2012   FRGHT   1FUBGDDV2CSBD3019   CASCA     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL78038      2013   FRGHT   3AKBGADV0DSFG8541   CASCA     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL78040      2013   FRGHT   3AKBGADV2DSFG8573   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78041      2014   FRGHT   3AKBGDDV4ESFL0401   CASCA     CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL78042      2012   FRGHT   1FUBGEDV5CSBF7840   CASCA     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL78044      2013   FRGHT   1FUBGDDV9DSBU4928   CASCA     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL78046      2013   FRGHT   3AKBGDDV8DSFG3766   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78047      2013   FRGHT   1FUBGDDV0DSBU5045   CASCA     WA      Seattle
 RETL     CITY TRACTOR     CTR‐SA   RETL78048      2013   FRGHT   1FUBGDDV0DSBU5000   CASCA     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL78049      2013   FRGHT   1FUBGDDV6DSBU5020   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78051      2013   FRGHT   1FUBGDDV9DLBZ2357   CASCA     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL78052      2019   PTRBL   2XP2AJ7X1KM605857   330       OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL78063      2011   FRGHT   1FUBGADV2BSBC5158   CASCA     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL78064      2011   FRGHT   1FUBGADV4BSBC5159   CASCA     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL78066      2013   FRGHT   3AKBGDDVXDSFF0615   CASCA     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL78067      2013   FRGHT   3AKBGDDV1DSFF0616   CASCA     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL78071      2015   FRGHT   3AKBGDDVXFDGL8155   CASCA     CA      Eureka
 RETL     CITY TRACTOR     CTR‐SA   RETL78072      2015   FRGHT   3AKBGDDV5FSGB5602   FLD11     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78076      2015   FRGHT   3AKBGDDV9FSGB5604   FLD11     CA      Santa Maria
 RETL     CITY TRACTOR     CTR‐SA   RETL78079      2014   FRGHT   3AKBGADV5ESFY4210   CASCA     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL78080      2014   FRGHT   3AKBGADV6ESFS3111   FLD11     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL78081      2014   FRGHT   3AKBGADV8ESFS3112   FLD11     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL78082      2014   FRGHT   3AKBGADVXESFS3113   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78083      2013   FRGHT   1FUBGDDV3DSBU4925   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78084      2013   FRGHT   1FUBGDDV8DSBU4922   CASCA     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL78085      2012   FRGHT   1FUBGDDV7CSBD2982   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78086      2013   FRGHT   1FUBGDDV9CSBD2983   FLD11     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL78090      2013   FRGHT   1FUBGDDV3DLBZ5089   CASCA     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL78091      2013   FRGHT   1FUBGDDVXDLBZ5090   CASCA     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL78093      2013   FRGHT   1FUBGDDV3DLBZ5092   FLD11     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL78095      2013   FRGHT   1FUBGDDV0DSBU4932   CASCA     CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL78098      2013   FRGHT   1FUBGDDV4DSBU5033   CASCA     WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL78099      2013   FRGHT   1FUBGDDV5DSBU4960   CASCA     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL78101      2012   FRGHT   1FUBGDDV4CSBL9408   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL78102      2013   FRGHT   3AKBGEDV4DSFD7512   CASCA     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781342     2005   NVSTR   2HSCPAPN65C045189   9400      CO      Grand Junction
 RETL     CITY TRACTOR     CTR‐SA   RETL781345     2005   NVSTR   2HSCPAPN25C047280   9400      MT      Billings
 RETL     CITY TRACTOR     CTR‐SA   RETL781347     2005   NVSTR   2HSCPAPN65C047282   9400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL781348     2005   NVSTR   2HSCPAPN85C047283   9400      ID      Pocatello
 RETL     CITY TRACTOR     CTR‐SA   RETL781350     2005   NVSTR   2HSCPAPN15C047285   9400      WA      Tacoma
 RETL     CITY TRACTOR     CTR‐SA   RETL781355     2005   NVSTR   2HSCPAPN55C047290   9400      ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781356     2005   NVSTR   2HSCPAPN75C047291   9400      WA      Spokane
 RETL     CITY TRACTOR     CTR‐SA   RETL781357     2005   NVSTR   2HSCPAPN95C047292   9400      CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781362     2005   NVSTR   2HSCPAPN45C047295   9400      OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781366     2005   NVSTR   2HSCPAPN15C047299   9400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781370     2005   NVSTR   2HSCPAPNX5C047303   9400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781372     2005   NVSTR   2HSCPAPN35C047305   9400      WA      Spokane
 RETL     CITY TRACTOR     CTR‐SA   RETL781374     2005   NVSTR   2HSCPAPN75C047307   9400      ID      Twin Falls
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 272 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRACTOR     CTR‐SA   RETL781379     2005   NVSTR   2HSCPAPN05C047312   9400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL781380     2005   NVSTR   2HSCPAPN25C047313   9400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL781381     2005   NVSTR   2HSCPAPN45C047314   9400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781382     2005   NVSTR   2HSCPAPN65C047315   9400      UT      Beaver
 RETL     CITY TRACTOR     CTR‐SA   RETL781383     2005   NVSTR   2HSCPAPN85C047316   9400      WA      Seattle
 RETL     CITY TRACTOR     CTR‐SA   RETL781384     2005   NVSTR   2HSCPAPNX5C047317   9400      WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781385     2005   NVSTR   2HSCPAPN15C047318   9400      WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781387     2005   NVSTR   2HSCPAPNX5C047320   9400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL781388     2005   NVSTR   2HSCPAPN15C047321   9400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781398     2005   NVSTR   2HSCPAPN45C047331   9400      AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781405     2005   NVSTR   2HSCPAPN75C047338   9400      CO      Aurora
 RETL     CITY TRACTOR     CTR‐SA   RETL781411     2005   NVSTR   2HSCPAPN25C047344   9400      WA      Union Gap
 RETL     CITY TRACTOR     CTR‐SA   RETL781418     2006   NVSTR   2HSCPAPN16C225570   9400      OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781419     2006   NVSTR   2HSCPAPN36C225571   9400      WA      Union Gap
 RETL     CITY TRACTOR     CTR‐SA   RETL781421     2006   NVSTR   2HSCPAPN76C225573   9400      UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781422     2006   NVSTR   2HSCPAPN96C225574   9400      ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781425     2006   NVSTR   2HSCPAPN46C225577   9400      AZ      Tucson
 RETL     CITY TRACTOR     CTR‐SA   RETL781427     2006   NVSTR   2HSCPAPN86C225579   9400      UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781431     2006   NVSTR   2HSCPAPNX6C225583   9400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL781436     2006   NVSTR   2HSCPAPN96C225588   9400      WA      Spokane
 RETL     CITY TRACTOR     CTR‐SA   RETL781441     2006   NVSTR   2HSCPAPN26C225593   9400      UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781444     2006   NVSTR   2HSCPAPN86C225596   9400      MT      Billings
 RETL     CITY TRACTOR     CTR‐SA   RETL781446     2006   NVSTR   2HSCPAPN16C225598   9400      UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781447     2006   NVSTR   2HSCPAPN36C225599   9400      OR      La Grande
 RETL     CITY TRACTOR     CTR‐SA   RETL781449     2006   NVSTR   2HSCPAPN86C225601   9400      MT      Billings
 RETL     CITY TRACTOR     CTR‐SA   RETL781453     2006   NVSTR   2HSCPAPN56C225605   9400      WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781463     2006   NVSTR   2HSCPAPN86C225615   9400      ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781466     2006   NVSTR   2HSCPAPN36C225618   9400      WA      Union Gap
 RETL     CITY TRACTOR     CTR‐SA   RETL781468     2006   NVSTR   2HSCPAPN16C225620   9400      WA      Tacoma
 RETL     CITY TRACTOR     CTR‐SA   RETL781470     2006   NVSTR   2HSCPAPN56C225622   9400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL781472     2006   NVSTR   2HSCPAPN96C225624   9400      ID      Pocatello
 RETL     CITY TRACTOR     CTR‐SA   RETL781474     2006   NVSTR   2HSCPAPN26C225626   9400      ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL781475     2006   NVSTR   2HSCPAPN46C225627   9400      ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781476     2006   NVSTR   2HSCPAPN66C225628   9400      ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781480     2007   NVSTR   2HSCPAPN67C424583   9400      MT      Billings
 RETL     CITY TRACTOR     CTR‐SA   RETL781481     2007   NVSTR   2HSCPAPN87C424584   9400      OR      La Grande
 RETL     CITY TRACTOR     CTR‐SA   RETL781484     2007   NVSTR   2HSCPAPN37C424587   9400      CO      Grand Junction
 RETL     CITY TRACTOR     CTR‐SA   RETL781485     2007   NVSTR   2HSCPAPN57C424588   9400      WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781490     2007   NVSTR   2HSCPAPN77C424592   9400      CO      Grand Junction
 RETL     CITY TRACTOR     CTR‐SA   RETL781494     2007   NVSTR   2HSCPAPNX7C445419   9400      WA      Spokane
 RETL     CITY TRACTOR     CTR‐SA   RETL781496     2007   NVSTR   2HSCPAPN87C445421   9400      WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781501     2008   NVSTR   2HSCRAPNX8C657202   PRO S     NV      Elko
 RETL     CITY TRACTOR     CTR‐SA   RETL781502     2008   NVSTR   2HSCRAPN08C658679   PRO S     NV      Elko
 RETL     CITY TRACTOR     CTR‐SA   RETL781504     2008   NVSTR   2HSCRAPN98C658681   PRO S     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781505     2008   NVSTR   2HSCRAPN08C658682   PRO S     WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781506     2008   NVSTR   2HSCRAPN28C658683   PRO S     CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781508     2008   NVSTR   2HSCRAPN68C658685   PRO S     ID      Pocatello
 RETL     CITY TRACTOR     CTR‐SA   RETL781510     2008   NVSTR   2HSCRAPNX8C658687   PRO S     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781515     2008   NVSTR   2HSCRAPN38C658692   PRO S     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781517     2008   NVSTR   2HSCRAPN78C658694   PRO S     CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781518     2008   NVSTR   2HSCRAPN98C658695   PRO S     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781525     2008   NVSTR   2HSCRAPN28C658702   PRO S     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781530     2008   NVSTR   2HSCRAPN18C658707   PRO S     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781534     2008   NVSTR   2HSCRAPN38C658711   PRO S     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781536     2008   NVSTR   2HSCRAPN78C658713   PRO S     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781541     2008   NVSTR   2HSCRAPN68C658718   PRO S     WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781546     2008   NVSTR   2HSCRAPNX8C658723   PRO S     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781547     2008   NVSTR   2HSCRAPN18C658724   PRO S     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781548     2008   NVSTR   2HSCRAPN38C658725   PRO S     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781549     2008   NVSTR   2HSCRAPN58C658726   PRO S     CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781550     2008   NVSTR   2HSCRAPN78C658727   PRO S     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781552     2007   VOLVO   4V4M19EG68N498474   VNM42     WA      Union Gap
 RETL     CITY TRACTOR     CTR‐SA   RETL781553     2008   VOLVO   4V4M19EG88N498475   VNM42     AZ      Tucson
 RETL     CITY TRACTOR     CTR‐SA   RETL781554     2007   VOLVO   4V4M19EGX8N498476   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781555     2008   VOLVO   4V4M19EG18N498477   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781556     2008   VOLVO   4V4M19EG38N498478             WA      Tacoma
 RETL     CITY TRACTOR     CTR‐SA   RETL781557     2008   VOLVO   4V4M19EG58N498479   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781558     2008   VOLVO   4V4M19EG18N498480   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781559     2008   VOLVO   4V4M19EG38N498481   VNM42     OR      Portland
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 273 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRACTOR     CTR‐SA   RETL781560     2008   VOLVO   4V4M19EG58N498482   VNM42     ID      Pocatello
 RETL     CITY TRACTOR     CTR‐SA   RETL781561     2008   VOLVO   4V4M19EG78N498483   VNM42     WA      Spokane
 RETL     CITY TRACTOR     CTR‐SA   RETL781562     2008   VOLVO   4V4M19EG98N498484   VNM42     WA      Pasco
 RETL     CITY TRACTOR     CTR‐SA   RETL781565     2008   VOLVO   4V4M19EG48N498487   VNM42     WA      Spokane
 RETL     CITY TRACTOR     CTR‐SA   RETL781567     2008   VOLVO   4V4M19EG88N498489   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781568     2008   VOLVO   4V4M19EG48N498490   VNM42     WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781571     2008   VOLVO   4V4M19EGX8N498493   VNM42     WA      Tacoma
 RETL     CITY TRACTOR     CTR‐SA   RETL781572     2008   VOLVO   4V4M19EG18N498494   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781573     2008   VOLVO   4V4M19EG38N498495   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781574     2008   VOLVO   4V4M19EG58N498496   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781577     2007   VOLVO   4V4M19GF67N451707   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781578     2007   VOLVO   4V4M19GF87N451708   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781579     2007   VOLVO   4V4M19GFX7N451709   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781580     2007   VOLVO   4V4M19GF67N451710   VNM42     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781581     2007   VOLVO   4V4M19GF87N451711   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781583     2007   VOLVO   4V4M19GF17N451713   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781584     2007   VOLVO   4V4M19GF37N451714   VNM42     ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781589     2007   VOLVO   4V4M19GF27N451719   VNM42     MT      Missoula
 RETL     CITY TRACTOR     CTR‐SA   RETL781590     2007   VOLVO   4V4M19GF97N451720   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781591     2007   VOLVO   4V4M19GF07N451721   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781593     2007   VOLVO   4V4M19GF47N451723   VNM42     WA      Spokane
 RETL     CITY TRACTOR     CTR‐SA   RETL781595     2007   VOLVO   4V4M19GF87N451725   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781596     2008   VOLVO   4V4M19EG98N498498   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781597     2008   VOLVO   4V4M19EG08N498499   VNM42     WA      Union Gap
 RETL     CITY TRACTOR     CTR‐SA   RETL781598     2008   VOLVO   4V4M19EG38N498500   VNM42     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781599     2008   VOLVO   4V4M19EG58N498501   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781601     2008   VOLVO   4V4M19EG98N498503   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781603     2008   VOLVO   4V4M19EG28N498505   VNM42     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781605     2008   VOLVO   4V4M19EG68N498507   VNM42     WA      East Wenatchee
 RETL     CITY TRACTOR     CTR‐SA   RETL781606     2008   VOLVO   4V4M19EG88N498508   VNM42     ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781607     2008   VOLVO   4V4M19EGX8N498509   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781608     2008   VOLVO   4V4M19EG68N498510   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781611     2008   VOLVO   4V4M19EG18N498513   VNM42     WA      Pasco
 RETL     CITY TRACTOR     CTR‐SA   RETL781612     2008   VOLVO   4V4M19EG38N498514   VNM42     WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781613     2008   VOLVO   4V4M19EG58N498515   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781614     2008   VOLVO   4V4M19EG78N498516   VNM42     MT      Missoula
 RETL     CITY TRACTOR     CTR‐SA   RETL781615     2008   VOLVO   4V4M19EG98N498517   VNM42     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781616     2008   VOLVO   4V4M19EG08N498518   VNM42     WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781618     2008   VOLVO   4V4M19EG98N498520   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781619     2008   VOLVO   4V4M19EG08N498521   VNM42     OR      Redmond
 RETL     CITY TRACTOR     CTR‐SA   RETL781620     2008   VOLVO   4V4M19EG28N498522   VNM42     ID      Pocatello
 RETL     CITY TRACTOR     CTR‐SA   RETL781622     2008   VOLVO   4V4M19EG68N498524   VOLVO     ID      Pocatello
 RETL     CITY TRACTOR     CTR‐SA   RETL781623     2008   VOLVO   4V4M19EG58N263712   VNM42     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781624     2008   VOLVO   4V4M19EG78N263713   VNM42     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781625     2008   VOLVO   4V4M19EG98N263714   VNM42     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781626     2008   VOLVO   4V4M19EG08N263715   VNM42     OR      Roseburg
 RETL     CITY TRACTOR     CTR‐SA   RETL781627     2008   VOLVO   4V4M19EG28N263716   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781628     2008   VOLVO   4V4M19EG48N263717   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781630     2008   VOLVO   4V4M19EG88N263719   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781631     2008   VOLVO   4V4M19EG48N263720   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781632     2008   VOLVO   4V4M19EG68N263721   VNM42     OR      Redmond
 RETL     CITY TRACTOR     CTR‐SA   RETL781633     2009   VOLVO   4V4M19EG69N263722   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781634     2009   VOLVO   4V4M19EG89N263723   VNM42     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781636     2009   VOLVO   4V4M19EG19N263725   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781637     2009   VOLVO   4V4M19EG39N263726   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781640     2009   VOLVO   4V4M19EG99N263729   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781644     2009   VOLVO   4V4M19EG09N263733   VNM42     CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781645     2009   VOLVO   4V4M19EG29N263734   VNM42     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781646     2009   VOLVO   4V4M19EG49N263735   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781647     2009   VOLVO   4V4M19EG69N263736   VNM42     OR      Redmond
 RETL     CITY TRACTOR     CTR‐SA   RETL781650     2009   VOLVO   4V4M19EG19N263739   VNM42     WA      Spokane
 RETL     CITY TRACTOR     CTR‐SA   RETL781656     2009   VOLVO   4V4M19EG79N263745   VNM42     CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781658     2009   VOLVO   4V4M19EG09N263747   VNM42     CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781659     2009   VOLVO   4V4M19EG29N263748   VNM42     MT      Missoula
 RETL     CITY TRACTOR     CTR‐SA   RETL781661     2009   VOLVO   4V4M19EG09N263750   VNM42     CO      Henderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781667     2009   VOLVO   4V4M19EG19N263756   VNM42     OR      Eugene
 RETL     CITY TRACTOR     CTR‐SA   RETL781668     2009   VOLVO   4V4M19EG39N263757   VNM42     WA      Spokane
 RETL     CITY TRACTOR     CTR‐SA   RETL781669     2009   VOLVO   4V4M19EG59N263758   VNM42     WA      Union Gap
 RETL     CITY TRACTOR     CTR‐SA   RETL781670     2009   VOLVO   4V4M19EG79N263759   VNM42     ID      Twin Falls
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 274 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRACTOR     CTR‐SA   RETL781671     2009   VOLVO   4V4M19EG39N263760   VNM42     ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781673     2009   VOLVO   4V4M19EH69N283901   VNM42     ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781682     2009   VOLVO   4V4M19EH79N283910   VNM42     WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781684     2009   VOLVO   4V4M19EH09N283912   VNM42     MT      Missoula
 RETL     CITY TRACTOR     CTR‐SA   RETL781685     2009   VOLVO   4V4M19EH29N283913   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781695     2009   VOLVO   4V4M19EH59N283923   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781696     2009   VOLVO   4V4M19EH79N283924   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781698     2009   VOLVO   4V4M19EH09N283926   VNM42     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781699     2009   VOLVO   4V4M19EH29N283927   VNM42     WA      Everett
 RETL     CITY TRACTOR     CTR‐SA   RETL781700     2009   VOLVO   4V4M19EH49N283928   VNM42     OR      Roseburg
 RETL     CITY TRACTOR     CTR‐SA   RETL781707     2009   VOLVO   4V4M19EH19N283935   VNM42     ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781709     2009   VOLVO   4V4M19EH59N283937   VNM42     ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781710     2009   VOLVO   4V4M19EH79N283938   VNM42     ID      Meridian
 RETL     CITY TRACTOR     CTR‐SA   RETL781714     2009   VOLVO   4V4M19EH99N283942   VNM42     CO      Aurora
 RETL     CITY TRACTOR     CTR‐SA   RETL781715     2009   VOLVO   4V4M19EH09N283943   VNM42     CO      Aurora
 RETL     CITY TRACTOR     CTR‐SA   RETL781717     2009   VOLVO   4V4M19EH49N283945   VNM42     AZ      Flagstaff
 RETL     CITY TRACTOR     CTR‐SA   RETL781722     2009   VOLVO   4V4M19EH89N283950   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781724     2004   VOLVO   4V4M19GFX4N352268   VNM42     WA      Tacoma
 RETL     CITY TRACTOR     CTR‐SA   RETL781726     2004   VOLVO   4V4M19GF54N357071   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL781740     2012   VOLVO   4V4M19EH3CN555702   VNM42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781742     2012   VOLVO   4V4M19EH7CN555704   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781743     2012   VOLVO   4V4M19EH9CN555705   VNM42     CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL781744     2012   VOLVO   4V4M19EH0CN555706   VNM42     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL781745     2012   VOLVO   4V4M19EH2CN555707   VNM42     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781746     2012   VOLVO   4V4M19EH4CN555708   VNM42     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL781747     2012   VOLVO   4V4M19EH6CN555709   VNM42     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781748     2012   VOLVO   4V4M19EH2CN555710   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781749     2012   VOLVO   4V4M19EH4CN555711   VNM42     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL781752     2012   VOLVO   4V4M19EHXCN555714   VNM42     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL781753     2012   VOLVO   4V4M19EH1CN555715   VNM42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781756     2012   VOLVO   4V4M19EH7CN555718   VNM42     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781757     2012   VOLVO   4V4M19EH9CN555719   VNM42     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781760     2012   VOLVO   4V4M19EH9CN555722   VNM42     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL781761     2012   VOLVO   4V4M19EH0CN555723   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781763     2012   VOLVO   4V4M19EH4CN555725   VNM42     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781765     2012   VOLVO   4V4M19EH8CN555727   VNM42     CA      Bloomington
 RETL     CITY TRACTOR     CTR‐SA   RETL781767     2012   VOLVO   4V4M19EH1CN555729   VNM42     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL781768     2012   VOLVO   4V4M19EH8CN555730   VNM42     CA      Pico Rivera
 RETL     CITY TRACTOR     CTR‐SA   RETL781771     2012   VOLVO   4V4M19EH3CN555733   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781773     2012   VOLVO   4V4M19EH7CN555735   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781775     2012   VOLVO   4V4M19EH0CN555737   VNM42     CA      Bloomington
 RETL     CITY TRACTOR     CTR‐SA   RETL781776     2012   VOLVO   4V4M19EH2CN555738   VNM42     CA      Santa Maria
 RETL     CITY TRACTOR     CTR‐SA   RETL781777     2012   VOLVO   4V4M19EH4CN555739   VNM42     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781778     2012   VOLVO   4V4M19EH0CN555740   VNM42     UT      St. George
 RETL     CITY TRACTOR     CTR‐SA   RETL781779     2012   VOLVO   4V4M19EH2CN555741   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781781     2012   VOLVO   4V4M19EH6CN555743   VNM42     CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL781783     2012   VOLVO   4V4M19EHXCN555745   VNM42     CA      Pico Rivera
 RETL     CITY TRACTOR     CTR‐SA   RETL781784     2012   VOLVO   4V4M19EH1CN555746   VNM42     CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL781785     2012   VOLVO   4V4M19EH3CN555747   VNM42     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL781787     2012   VOLVO   4V4M19EH7CN555749   VNM42     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781790     2014   VOLVO   4V4M19EHXEN161343   VNM42     CA      West Sacramento
 RETL     CITY TRACTOR     CTR‐SA   RETL781793     2014   VOLVO   4V4M19EH5EN161346   VNM42     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL781795     2014   VOLVO   4V4M19EH9EN161348   VNR42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781797     2014   VOLVO   4V4M19EH7EN161350   VNM42     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781798     2014   VOLVO   4V4M19EH9EN161351   VNM42     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL781800     2014   VOLVO   4V4M19EH2EN161353   VNM42     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781806     2014   VOLVO   4V4M19EH3EN161359   VNM42     CA      Anderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781808     2014   VOLVO   4V4M19EH1EN161361   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781810     2014   VOLVO   4V4M19EH5EN161363   VNM42     CA      West Sacramento
 RETL     CITY TRACTOR     CTR‐SA   RETL781811     2014   VOLVO   4V4M19EH7EN161364   VNM42     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL781813     2014   VOLVO   4V4M19EH0EN161366   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781814     2014   VOLVO   4V4M19EH8EN161387   VNM42     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL781816     2014   VOLVO   4V4M19EH1EN161389   VNM42     CA      West Sacramento
 RETL     CITY TRACTOR     CTR‐SA   RETL781817     2014   VOLVO   4V4M19EH8EN161390   VNM42     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL781818     2014   VOLVO   4V4M19EHXEN161391   VNM42     ID      Twin Falls
 RETL     CITY TRACTOR     CTR‐SA   RETL781819     2014   VOLVO   4V4M19EH1EN161392   VNM42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781820     2014   VOLVO   4V4M19EH3EN161393   VNR42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781821     2014   VOLVO   4V4M19EH5EN161394   VNM42     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL781827     2014   VOLVO   4V4M19EH7EN161400   VNM42     CA      Tracy
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 275 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRACTOR     CTR‐SA   RETL781831     2014   VOLVO   4V4M19EH4EN161404   VOLVO     CA      Bloomington
 RETL     CITY TRACTOR     CTR‐SA   RETL781834     2014   VOLVO   4V4M19EHXEN161407   VNM42     CA      Santa Rosa
 RETL     CITY TRACTOR     CTR‐SA   RETL781838     2014   VOLVO   4V4M19EH1EN161411   VNM42     CA      West Sacramento
 RETL     CITY TRACTOR     CTR‐SA   RETL781839     2014   VOLVO   4V4M19EH3EN161412   VNM42     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781840     2014   VOLVO   4V4M19EH5EN161413   VNM42     CA      West Sacramento
 RETL     CITY TRACTOR     CTR‐SA   RETL781842     2014   VOLVO   4V4M19EH9EN161415   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781843     2014   VOLVO   4V4M19EH0EN161416   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781846     2014   VOLVO   4V4M19EH6EN161419   VNM42     CA      West Sacramento
 RETL     CITY TRACTOR     CTR‐SA   RETL781847     2014   VOLVO   4V4M19EH2EN161420   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781848     2014   VOLVO   4V4M19EH4EN161421   VNM42     CA      West Sacramento
 RETL     CITY TRACTOR     CTR‐SA   RETL781849     2014   VOLVO   4V4M19EH6EN161422   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781860     2014   VOLVO   4V4M19EH0EN161433   VNM42     CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL781861     2014   VOLVO   4V4M19EH2EN161434   VNM42     CA      West Sacramento
 RETL     CITY TRACTOR     CTR‐SA   RETL781865     2009   NVSTR   2HSCYAHN99C167627   PRO S     OR      Portland
 RETL     CITY TRACTOR     CTR‐SA   RETL781867     2009   NVSTR   2HSCYAHN49C167633   PRO S     WA      Seattle
 RETL     CITY TRACTOR     CTR‐SA   RETL781868     2009   NVSTR   2HSCYAHN89C167635   4400      AZ      Tucson
 RETL     CITY TRACTOR     CTR‐SA   RETL781869     2009   NVSTR   2HSCYAHNX9C167636   NVSTR     AZ      Phoenix
 RETL     CITY TRACTOR     CTR‐SA   RETL781870     2015   VOLVO   4V4M19EH2FN918186   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781871     2015   VOLVO   4V4M19EH4FN918187   VNM42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781873     2015   VOLVO   4V4M19EH8FN918189   VNM42     CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL781874     2015   VOLVO   4V4M19EH4FN918190   VNM42     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781879     2015   VOLVO   4V4M19EH3FN918195   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781880     2015   VOLVO   4V4M19EH5FN918196   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781882     2015   VOLVO   4V4M19EH9FN918198   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781884     2015   VOLVO   4V4M19EH3FN918200   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781885     2015   VOLVO   4V4M19EH5FN918201   VNM42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781886     2015   VOLVO   4V4M19EH7FN918202   VNM42     CA      Anderson
 RETL     CITY TRACTOR     CTR‐SA   RETL781888     2015   VOLVO   4V4M19EH0FN918204   VNM42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781889     2015   VOLVO   4V4M19EH2FN918205   VNM42     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL781890     2015   VOLVO   4V4M19EH4FN918206   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781892     2015   VOLVO   4V4M19EH8FN918208   VNM42     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL781893     2015   VOLVO   4V4M19EHXFN918209   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781894     2015   VOLVO   4V4M19EH6FN918210   VNM42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781895     2015   VOLVO   4V4M19EH8FN918211   VNR42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781897     2015   VOLVO   4V4M19EH1FN918213   VNR42     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL781898     2015   VOLVO   4V4M19EH3FN918214   VNM42     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL781899     2015   VOLVO   4V4M19EH5FN918215   VNM42     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL781901     2015   VOLVO   4V4M19EH9FN918217   VNM42     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL781905     2015   VOLVO   4V4M19EH0FN918221   VNM42     CA      Orange
 RETL     CITY TRACTOR     CTR‐SA   RETL781906     2015   VOLVO   4V4M19EH2FN918222   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781907     2015   VOLVO   4V4M19EH4FN918223   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781908     2015   VOLVO   4V4M19EH6FN918224   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781910     2015   VOLVO   4V4M19EHXFN918226   VNM42     CA      Fresno
 RETL     CITY TRACTOR     CTR‐SA   RETL781917     2015   VOLVO   4V4M19EH7FN918233   VNM42     CA      Bakersfield
 RETL     CITY TRACTOR     CTR‐SA   RETL781922     2016   NVSTR   3HSDGAPN4GN214504   PRO S     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781923     2016   NVSTR   3HSDGAPN6GN214505   NVSTR     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781925     2016   NVSTR   3HSDGAPNXGN214507   PRO S     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL781926     2016   NVSTR   3HSDGAPN1GN214508   PRO S     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781928     2016   NVSTR   3HSDGAPNXGN214510   NVSTR     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781929     2016   NVSTR   3HSDGAPN1GN214511   PRO S     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781931     2016   NVSTR   3HSDGAPN7GN214514   PRO S     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL781933     2016   NVSTR   3HSDGAPN0GN214516   PRO S     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781938     2016   NVSTR   3HSDGAPN8GN214523   PRO S     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781939     2016   NVSTR   3HSDGAPNXGN214524   PRO S     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781940     2016   NVSTR   3HSDGAPN1GN214525   PRO S     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781943     2016   NVSTR   3HSDGAPN7GN214528   PRO S     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL781946     2016   NVSTR   3HSDGAPN7GN214531   PRO S     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL781947     2016   NVSTR   3HSDGAPN9GN214532   PRO S     CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL781948     2016   NVSTR   3HSDGAPN0GN214533   PRO S     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781949     2016   NVSTR   3HSDGAPN2GN214534   PRO S     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781950     2016   NVSTR   3HSDGAPN4GN214535   PRO S     CA      Sun Valley
 RETL     CITY TRACTOR     CTR‐SA   RETL781951     2016   NVSTR   3HSDGAPN6GN214536   PRO S     CA      Downey
 RETL     CITY TRACTOR     CTR‐SA   RETL781954     2016   NVSTR   3HSDGAPN3GN214560   PRO S     NV      Sparks
 RETL     CITY TRACTOR     CTR‐SA   RETL781956     2016   NVSTR   3HSDGAPN7GN214562   PRO S     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781962     2016   NVSTR   3HSDGAPN8GN214568   PRO S     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL781968     2016   NVSTR   3HSDGAPN3GN214574   PRO S     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL781970     2016   NVSTR   3HSDGAPN0GN214595   PRO S     CA      Santa Clara
 RETL     CITY TRACTOR     CTR‐SA   RETL781973     2016   NVSTR   3HSDGAPN6GN214598   PRO S     CA      Eureka
 RETL     CITY TRACTOR     CTR‐SA   RETL781976     2016   NVSTR   3HSDGAPN2GN214601   PRO S     OR      Central Point
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 276 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     CITY TRACTOR     CTR‐SA   RETL781978     2016   NVSTR   3HSDGAPN6GN214603   PRO S     CA      Hayward
 RETL     CITY TRACTOR     CTR‐SA   RETL781979     2016   NVSTR   3HSDGAPN8GN214604   PRO S     CA      Tracy
 RETL     CITY TRACTOR     CTR‐SA   RETL781980     2016   NVSTR   3HSDGAPNXGN214605   PRO S     CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL781983     2016   NVSTR   3HSDGAPN5GN214608   PRO S     CA      Bloomington
 RETL     CITY TRACTOR     CTR‐SA   RETL781984     2016   NVSTR   3HSDGAPN7GN214609   PRO S     CA      Visalia
 RETL     CITY TRACTOR     CTR‐SA   RETL781987     2016   NVSTR   3HSDGAPN8GN279615   PRO S     NV      Elko
 RETL     CITY TRACTOR     CTR‐SA   RETL781988     2016   NVSTR   3HSDGAPNXGN279616   PRO S     AZ      Lake Havasu City
 RETL     CITY TRACTOR     CTR‐SA   RETL781989     2016   NVSTR   3HSDGAPN1GN279617   NVSTR     NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐SA   RETL781994     2016   NVSTR   3HSDGAPN5GN279622   PRO S     CA      Eureka
 RETL     CITY TRACTOR     CTR‐SA   RETL781995     2016   NVSTR   3HSDGAPN7GN279623   PRO S     OR      Central Point
 RETL     CITY TRACTOR     CTR‐SA   RETL78531      2005   NVSTR   3HSCPAPN15N049259   9400      WA      Union Gap
 RETL     CITY TRACTOR     CTR‐SA   RETL78534      2005   NVSTR   3HSCPAPN15N049262   9400      WA      Union Gap
 RETL     CITY TRACTOR     CTR‐SA   RETL78537      2005   NVSTR   3HSCPAPN75N049265   9400      UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐SA   RETL79274      2009   NVSTR   2HSCUAPR89C091415   PRO S     WA      Tacoma
 RETL     CITY TRACTOR     CTR‐SA   RETL82030      2017   PTRBL   1XPBA48X0HD441872   579       CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL82068      2018   PTRBL   1XPBA48XXJD478921   579       CA      Fontana
 RETL     CITY TRACTOR     CTR‐SA   RETL9301       2009   NVSTR   1HSHXAHR89J134065   TRANS     OR      Eugene
 RETL     CITY TRACTOR     CTR‐TA   RETL69038      2006   VOLVO   4V4MC9GF26N405736   VNM64T    WA      Tacoma
 RETL     CITY TRACTOR     CTR‐TA   RETL69044      2007   VOLVO   4V4MC9GF57N480982   VNM64T    NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐TA   RETL69045      2006   VOLVO   4V4MC9GF96N439625   VNM64T    NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐TA   RETL69395      2009   VOLVO   4V4MC9EG69N283849   VNM64T    OR      Central Point
 RETL     CITY TRACTOR     CTR‐TA   RETL69606      2002   VOLVO   4V4MC9RF42N324681   VNM64T    ID      Meridian
 RETL     CITY TRACTOR     CTR‐TA   RETL69709      2008   VOLVO   4V4MC9EG28N498322   VNM64T    ID      Meridian
 RETL     CITY TRACTOR     CTR‐TA   RETL69907      2009   VOLVO   4V4MC9EG39N283663   VNM64T    NV      Las Vegas
 RETL     CITY TRACTOR     CTR‐TA   RETL781507     2008   NVSTR   2HSCRAPN48C658684   NVSTR     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐TA   RETL79209      2006   NVSTR   2HSCNAPR96C225647   9400      CO      Henderson
 RETL     CITY TRACTOR     CTR‐TA   RETL79217      2007   NVSTR   2HSCNAPR27C431197   9400      OR      Portland
 RETL     CITY TRACTOR     CTR‐TA   RETL79220      2007   INTL    2HSCNAPR67C445412   9400      CO      Henderson
 RETL     CITY TRACTOR     CTR‐TA   RETL79232      2005   VOLVO   4V4MC9GF75N405780   VNM42     CO      Grand Junction
 RETL     CITY TRACTOR     CTR‐TA   RETL79239      2012   VOLVO   4V4MC9EH3CN556603   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐TA   RETL79278      2009   NVSTR   2HSCUAPR59C091629   PRO S     MT      Billings
 RETL     CITY TRACTOR     CTR‐TA   RETL79294      2008   NVSTR   1HSHXAHR58J668056   TRANS     OR      Portland
 RETL     CITY TRACTOR     CTR‐TA   RETL79300      2008   NVSTR   1HSHXAHR98J662485   TRANS     OR      Portland
 RETL     CITY TRACTOR     CTR‐TA   RETL79302      2008   NVSTR   1HSHXAHR78J662498   TRANS     WA      Spokane
 RETL     CITY TRACTOR     CTR‐TA   RETL79370      2013   FRGHT   3AKJGBDV5DSFG5703   9200      CA      Fontana
 RETL     CITY TRACTOR     CTR‐TA   RETL79371      2013   FRGHT   3AKJGBDV0DSFG5706   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐TA   RETL79373      2013   FRGHT   3AKJGBDV1DSFG5701   CASCA     CA      Fontana
 RETL     CITY TRACTOR     CTR‐TA   RETL79374      2013   FRGHT   3AKJGBDV5DSFG5698   CASCA     CA      Downey
 RETL     CITY TRACTOR     CTR‐TA   RETL79375      2013   FRGHT   3AKJGBDV3DSFG5702   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐TA   RETL79377      2013   FRGHT   3AKJGBDV3DSFG5697   CASCA     CA      Downey
 RETL     CITY TRACTOR     CTR‐TA   RETL79378      2013   FRGHT   3AKJGBDVXDSFG5700   CASCA     CA      Orange
 RETL     CITY TRACTOR     CTR‐TA   RETL79384      2005   INTL    2HSCNAPR25C047272   9400      WA      Pasco
 RETL     CITY TRACTOR     CTR‐TA   RETL79385      2005   NVSTR   2HSCNAPRX5C047276   9400      WA      Union Gap
 RETL     CITY TRACTOR     CTR‐TA   RETL79387      2006   INTL    2HSCNAPR36C225630   9400      MT      Missoula
 RETL     CITY TRACTOR     CTR‐TA   RETL79389      2012   VOLVO   4V4MC9EH1CN556602   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐TA   RETL79390      2012   VOLVO   4V4MC9EH7CN556605   VNM42     UT      Salt Lake City
 RETL     CITY TRACTOR     CTR‐TA   RETL79668      2006   NVSTR   2HSCNAPR06C225634   9400      WA      East Wenatchee
 RETL     CITY TRACTOR     CTR‐TA   RETL79718      2006   NVSTR   2HSCNAPR86C225638   9400      OR      Portland
 RETL     CITY TRACTOR     CTR‐TA   RETL79790      2009   VOLVO   4V4MC9EG09N283653   VNM64T    OR      Portland
 RETL     CITY TRACTOR     CTR‐TA   RETL79801      2008   VOLVO   4V4MC9EH48N262005   VNM42     CO      Henderson
 RETL     CITY TRACTOR     CTR‐TA   RETL79802      2008   VOLVO   4V4MC9EH28N262004   VNM42     CO      Henderson
 RETL     CITY TRACTOR     CTR‐TA   RETL79803      2006   INTL    2HSCNAPR66C225640   9400      CO      Henderson
 RETL     CITY TRACTOR     CTR‐TA   RETL79804      2016   NVSTR   3HSDJAPR4GN214619   PRO S     CO      Henderson
 RETL     CITY TRACTOR     CTR‐TA   RETL79805      2016   NVSTR   3HSDJAPR9GN214616   PRO S     CO      Henderson
 RETL     CITY TRACTOR     CTR‐TA   RETL79806      2016   NVSTR   3HSDJAPR3GN214613   PRO S     CO      Henderson
 RETL     CITY TRACTOR     CTR‐TA   RETL79807      2012   VOLVO   4V4MC9EH2CN556611   VNM42     CO      Henderson
 RETL     CITY TRACTOR     CTR‐TA   RETL79917      2014   VOLVO   4V4MC9EH2EN161444   VNM42     WY      Buffalo
 RETL     CITY TRACTOR     CTR‐TA   RETL79918      2014   VOLVO   4V4MC9EH5EN161440   VNM42     WY      Buffalo
 RETL     CITY TRACTOR     CTR‐TA   RETL81825      2014   VOLVO   4V4M19EH2EN161398   VNM42     CA      Fontana
 RETL     CITY TRACTOR     CTR‐TA   RETL82036      2017   PTRBL   1XPBA48X1HD441878   579       OR      Central Point
 RETL     CITY TRACTOR     CTR‐TA   RETL89237      2006   NVSTR   2HSCNAPR26C225635   9400      MT      Great Falls
 RETL     CITY TRACTOR     CTR‐TA   RETL9152       2003   KNWRT   1XKDD49X03R898035   T800      WA      Tacoma
 RETL     CITY TRACTOR     CTR‐TA   RETL9249       2014   VOLVO   4V4MC9EH5EN161437   VNM42     OR      Central Point
 RETL     CITY TRACTOR     CTR‐TA   RETL9260       2014   VOLVO   4V4MC9EHXEN161448   VNM42     MT      Missoula
 RETL     CITY TRACTOR     CTR‐TA   RETL9300       2009   NVSTR   1HSHXAHR39J134037   TRANS     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3085       1985   EGHPN   1E9501132E1016335   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3086       1991   ALLOY   1ALCA2161MS910595   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3087       1964   ALLOY   ATCD7264431         78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3088       1964   ALLOY   ATCD7264432         78 IN     WA      Seattle
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23           Page 277 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State     City
 RETL     DOLLY            DOL‐SA   RETL3089      1970   JIFFL   2652                              ID        DuBois
 RETL     DOLLY            DOL‐SA   RETL3090      1973   ALLOY   2585                78 IN         CA        Tracy
 RETL     DOLLY            DOL‐SA   RETL3091      1967   ALLOY   1628                78 IN         CA        Hayward
 RETL     DOLLY            DOL‐SA   RETL3093      1971   ALLOY   2581                78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3094      1972   ALLOY   2564                78 IN         WA        Tacoma
 RETL     DOLLY            DOL‐SA   RETL3095      1975   COMET   47517719            78 IN         NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL3096      1975   COMET   47517720            78 IN         ID        Meridian
 RETL     DOLLY            DOL‐SA   RETL3097      1975   COMET   47517721            78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3098      1969   FRUHF   FWK454219           78 IN         CA        Tracy
 RETL     DOLLY            DOL‐SA   RETL3099      1969   FRUHF   FWK461008           78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3100      1979   COMET   47925187            78 IN         AZ        Phoenix
 RETL     DOLLY            DOL‐SA   RETL31000     1999   ALLOY   5RECF2165XS990139   78 IN         CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL31001     1999   ALLOY   5RECF2161XS990140   78 IN         CA        Downey
 RETL     DOLLY            DOL‐SA   RETL31002     1999   ALLOY   5RECF2163XS990141   78 IN         MT        Great Falls
 RETL     DOLLY            DOL‐SA   RETL31003     1999   ALLOY   5RECF2165XS990142   78 IN         CA        Anderson
 RETL     DOLLY            DOL‐SA   RETL31004     1999   ALLOY   5RECF2167XS990143   78 IN         ID        Meridian
 RETL     DOLLY            DOL‐SA   RETL31005     1999   ALLOY   5RECF2169XS990144   78 IN         CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL31006     1999   ALLOY   5RECF2160XS990145   78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31007     1999   ALLOY   5RECF2162XS990146   78 IN         NV        Elko
 RETL     DOLLY            DOL‐SA   RETL31008     1999   ALLOY   5RECF2164XS990147   78 IN         NV        Elko
 RETL     DOLLY            DOL‐SA   RETL31009     1999   ALLOY   5RECF2166XS990148   78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3101      1979   COMET   47925185            78 IN         ID        Meridian
 RETL     DOLLY            DOL‐SA   RETL31010     1999   ALLOY   5RECF2168XS990149   78 IN         CA        San Diego
 RETL     DOLLY            DOL‐SA   RETL31011     1999   ALLOY   5RECF2164XS990150   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31013     1999   ALLOY   5RECF2168XS990152   78 IN         CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL31014     1999   ALLOY   5RECF216XXS990153   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31015     1999   ALLOY   5RECF2161XS990154   78 IN         CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL31017     1999   ALLOY   5RECF2165XS990156   78 IN         CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL31018     1999   ALLOY   5RECF2167XS990157   78 IN         CA        Anderson
 RETL     DOLLY            DOL‐SA   RETL31019     1999   ALLOY   5RECF2169XS990158   78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3102      1979   COMET   47925186            78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31020     1999   ALLOY   5RECF2160XS990159   78 IN         OR        Central Point
 RETL     DOLLY            DOL‐SA   RETL31021     1999   ALLOY   5RECF2167XS990160   78 IN         CA        Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31022     2000   SILVR   1U3JR7814YBK00001   78 IN         CA        Sun Valley
 RETL     DOLLY            DOL‐SA   RETL31023     2000   SILVR   1U3JR7816YBK00002   78 IN         CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL31025     2000   SILVR   1U3JR781XYBK00004   78 IN         AZ        Tucson
 RETL     DOLLY            DOL‐SA   RETL31026     2000   SILVR   1U3JR7811YBK00005   78 IN         WA        Seattle
 RETL     DOLLY            DOL‐SA   RETL31027     2000   SILVR   1U3JR7813YBK00006   78 IN         CA        Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31028     2000   SILVR   1U3JR7815YBK00007   78 IN         CA        San Diego
 RETL     DOLLY            DOL‐SA   RETL31029     2000   SILVR   1U3JR7817YBK00008   78 IN         Alberta   Calgary
 RETL     DOLLY            DOL‐SA   RETL3103      1971   COMET   4718589             78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31030     2000   SILVR   1U3JR7818YBK00009   78 IN         CA        Willows
 RETL     DOLLY            DOL‐SA   RETL31031     2000   SILVR   1U3JR7815YBK00010   78 IN         WA        Tacoma
 RETL     DOLLY            DOL‐SA   RETL31032     2000   SILVR   1U3JR7817YBK00011   78 IN         WA        Spokane
 RETL     DOLLY            DOL‐SA   RETL31033     2000   SILVR   1U3JR7819YBK00012   78 IN         CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL31034     2000   SILVR   1U3JR7810YBK00013   78 IN         CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL31035     2000   SILVR   1U3JR7812YBK00014   78 IN         NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL31036     2000   SILVR   1U3JR7814YBK00015   78 IN         OR        Portland
 RETL     DOLLY            DOL‐SA   RETL31037     2000   SILVR   1U3JR7816YBK00016   78 IN         CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL31038     2000   SILVR   1U3JR7818YBK00017   78 IN         NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL31039     2000   SILVR   1U3JR781XYBK00018   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3104      1971   COMET   47210958            78 IN         ID        Pocatello
 RETL     DOLLY            DOL‐SA   RETL31040     2000   SILVR   1U3JR7811YBK00019   78 IN         CA        Santa Clara
 RETL     DOLLY            DOL‐SA   RETL31041     2000   SILVR   1U3JR7818YBK00020   78 IN         AZ        Flagstaff
 RETL     DOLLY            DOL‐SA   RETL31042     2000   SILVR   1U3JR781XYBK00021   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31043     2000   SILVR   1U3JR7811YBK00022   78 IN         NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL31044     2000   SILVR   1U3JR7813YBK00023   78 IN         CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL31045     2000   SILVR   1U3JR7815YBK00024   78 IN         ID        Meridian
 RETL     DOLLY            DOL‐SA   RETL31046     2000   SILVR   1U3JR7817YBK00025   78 IN         WA        Tacoma
 RETL     DOLLY            DOL‐SA   RETL31047     2000   SILVR   1U3JR7819YBK00026   78 IN         CA        Santa Maria
 RETL     DOLLY            DOL‐SA   RETL31048     2000   SILVR   1U3JR7810YBK00027   78 IN         MO        Strafford
 RETL     DOLLY            DOL‐SA   RETL31049     2000   SILVR   1U3JR7812YBK00028   78 IN         NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL31050     2000   SILVR   1U3JR7814YBK00029   78 IN         NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL31051     2000   SILVR   1U3JR7810YBK00030   78 IN         WA        Tacoma
 RETL     DOLLY            DOL‐SA   RETL31052     2000   SILVR   1U3JR7812YBK00031   78 IN         WA        Seattle
 RETL     DOLLY            DOL‐SA   RETL31053     2000   SILVR   1U3JR7814YBK00032   78 IN         CA        San Diego
 RETL     DOLLY            DOL‐SA   RETL31054     2000   SILVR   1U3JR7816YBK00033   78 IN         CO        Henderson
 RETL     DOLLY            DOL‐SA   RETL31055     2000   SILVR   1U3JR7818YBK00034   78 IN         CA        Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31056     2000   SILVR   1U3JR781XYBK00035   78 IN         UT        Salt Lake City
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 278 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     DOLLY            DOL‐SA   RETL31057     2000   SILVR   1U3JR7811YBK00036   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31058     2000   SILVR   1U3JR7813YBK00037   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31059     2000   SILVR   1U3JR7815YBK00038   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3106      1975   FRUHF   FRW604313           78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31060     2000   SILVR   1U3JR7817YBK00039   78 IN     UT      St. George
 RETL     DOLLY            DOL‐SA   RETL31061     2000   SILVR   1U3JR7813YBK00040   78 IN     CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31062     2000   SILVR   1U3JR7815YBK00041   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL31063     2000   SILVR   1U3JR7817YBK00042   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31065     2000   SILVR   1U3JR7810YBK00044   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31066     2000   SILVR   1U3JR7812YBK00045   78 IN     IL      Wheeling
 RETL     DOLLY            DOL‐SA   RETL31067     2000   SILVR   1U3JR7814YBK00046   78 IN     CA      West Sacramento
 RETL     DOLLY            DOL‐SA   RETL31068     2000   SILVR   1U3JR7816YBK00047   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL31069     2000   SILVR   1U3JR7818YBK00048   78 IN     CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL3107      1978   FRUHF   WA7894210           78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL31070     2000   SILVR   1U3JR781XYBK00049   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31071     2000   SILVR   1U3JR7816YBK00050   78 IN     CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31072     2000   SILVR   1U3JR7818YBK00051   78 IN     CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL31073     2000   SILVR   1U3JR781XYBK00052   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31074     2000   SILVR   1U3JR7811YBK00053   78 IN     WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL31075     2000   SILVR   1U3JR7813YBK00054   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31076     2000   SILVR   1U3JR7815YBK00055   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL31077     2000   SILVR   1U3JR7817YBK00056   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31078     2000   SILVR   1U3JR7819YBK00057   78 IN     CA      Santa Rosa
 RETL     DOLLY            DOL‐SA   RETL31079     2000   SILVR   1U3JR7810YBK00058   78 IN     AZ      Nogales
 RETL     DOLLY            DOL‐SA   RETL3108      1978   FRUHF   FRY671310           78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31081     2000   SILVR   1U3JR7819YBK00060   78 IN     WA      Pasco
 RETL     DOLLY            DOL‐SA   RETL31082     2000   SILVR   1U3JR7810YBK00061   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31083     2000   SILVR   1U3JR7812YBK00062   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL31084     2000   SILVR   1U3JR7814YBK00063   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31085     2000   SILVR   1U3JR7816YBK00064   78 IN     CA      Hayward
 RETL     DOLLY            DOL‐SA   RETL31086     2000   SILVR   1U3JR7818YBK00065   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31087     2000   SILVR   1U3JR781XYBK00066   78 IN     IL      Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL31088     2000   SILVR   1U3JR7811YBK00067   78 IN     WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL31089     2000   SILVR   1U3JR7813YBK00068   78 IN     ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL3109      1984   COMET   1C0C10018ES031870   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31090     2000   SILVR   1U3JR7815YBK00069   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31091     2000   SILVR   1U3JR7811YBK00070   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31092     2000   SILVR   1U3JR7813YBK00071   78 IN     OR      La Grande
 RETL     DOLLY            DOL‐SA   RETL31093     2000   SILVR   1U3JR7815YBK00072   78 IN     CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL31094     2000   SILVR   1U3JR7817YBK00073   78 IN     WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL31095     2000   SILVR   1U3JR7819YBK00074   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31096     2000   SILVR   1U3JR7810YBK00075   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31097     2000   SILVR   1U3JR7812YBK00076   78 IN     WA      Bellingham
 RETL     DOLLY            DOL‐SA   RETL31098     2000   SILVR   1U3JR7814YBK00077   78 IN     WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3110      1977   COMET   47719139            78 IN     CO      Grand Junction
 RETL     DOLLY            DOL‐SA   RETL31100     2000   SILVR   1U3JR7818YBK00079   78 IN     OR      La Grande
 RETL     DOLLY            DOL‐SA   RETL31101     2000   SILVR   1U3JR7814YBK00080   78 IN     CA      Santa Clara
 RETL     DOLLY            DOL‐SA   RETL31102     2000   SILVR   1U3JR7816YBK00081   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31103     2000   SILVR   1U3JR7818YBK00082   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31104     2000   SILVR   1U3JR781XYBK00083   78 IN     CA      Santa Rosa
 RETL     DOLLY            DOL‐SA   RETL31105     2000   SILVR   1U3JR7811YBK00084   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31106     2000   SILVR   1U3JR7818YBK00085   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL31107     2000   SILVR   1U3JR7815YBK00086   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31108     2000   SILVR   1U3JR7817YBK00087   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31109     2000   SILVR   1U3JR7819YBK00088   78 IN     MT      Billings
 RETL     DOLLY            DOL‐SA   RETL3111      1970   STRCK   CP595131            78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31110     2000   SILVR   1U3JR7810YBK00089   78 IN     MT      Great Falls
 RETL     DOLLY            DOL‐SA   RETL31112     2000   SILVR   1U3JR7819YBK00091   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31113     2000   SILVR   1U3JR7810YBK00092   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL31114     2000   SILVR   1U3JR7812YBK00093   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31115     2000   SILVR   1U3JR7814YBK00094   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31116     2000   SILVR   1U3JR7816YBK00095   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31117     2000   SILVR   1U3JR7818YBK00096   78 IN     MT      Missoula
 RETL     DOLLY            DOL‐SA   RETL31118     2000   SILVR   1U3JR781XYBK00097   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL31119     2000   SILVR   1U3JR7811YBK00098   78 IN     WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL3112      1969   UTLTY   6L92133045          78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31120     2000   SILVR   1U3JR7813YBK00099   78 IN     ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL31121     2000   SILVR   1U3JR7816YBK00100   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL31122     2004   SILVR   1U3JF78184BJ00325   78 IN     OH      Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23           Page 279 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     DOLLY            DOL‐SA   RETL31123     2004   SILVR   1U3JF781X4BJ00326   78 IN         CA      Sacramento
 RETL     DOLLY            DOL‐SA   RETL31124     2004   SILVR   1U3JF78114BJ00327   78 IN         OR      Portland
 RETL     DOLLY            DOL‐SA   RETL31125     2004   SILVR   1U3JF78134BJ00328   78 IN         WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL31126     2004   SILVR   1U3JF78154BJ00329   78 IN         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31127     2004   SILVR   1U3JF78114BJ00330   78 IN         CA      Fontana
 RETL     DOLLY            DOL‐SA   RETL31128     2004   SILVR   1U3JF78134BJ00331   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31129     2004   SILVR   1U3JF78154BJ00332   78 IN         MT      Billings
 RETL     DOLLY            DOL‐SA   RETL3113      1969   UTLTY   6L92133028          78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL31130     2004   SILVR   1U3JF78174BJ00333   78 IN         CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL31131     2004   SILVR   1U3JF78194BJ00334   78 IN         OR      Portland
 RETL     DOLLY            DOL‐SA   RETL31132     2004   SILVR   1U3JF78104BJ00335   78 IN         NM      Albuquerque
 RETL     DOLLY            DOL‐SA   RETL31133     2004   SILVR   1U3JF78124BJ00336   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31134     2004   SILVR   1U3JF78144BJ00337   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31135     2004   SILVR   1U3JF78164BJ00338   78 IN         CA      Fresno
 RETL     DOLLY            DOL‐SA   RETL31136     2004   SILVR   1U3JF78184BJ00339   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31137     2004   SILVR   1U3JF78144BJ00340   78 IN         ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL31138     2004   SILVR   1U3JF78164BJ00341   78 IN         OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL31139     2004   SILVR   1U3JF78184BJ00342   78 IN         CA      Downey
 RETL     DOLLY            DOL‐SA   RETL31140     2004   SILVR   1U3JF781X4BJ00343   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31141     2004   SILVR   1U3JF78114BJ00344   78 IN         UT      Beaver
 RETL     DOLLY            DOL‐SA   RETL31142     2004   SILVR   1U3JF78144BJ00345   78 IN         MT      Missoula
 RETL     DOLLY            DOL‐SA   RETL31143     2004   SILVR   1U3JF78154BJ00346   78 IN         ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL31144     2004   SILVR   1U3JF78174BJ00347   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31145     2004   SILVR   1U3JF78194BJ00348   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31146     2004   SILVR   1U3JF78104BJ00349   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31147     2004   SILVR   1U3JF78174BJ00350   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31148     2004   SILVR   1U3JF78194BJ00351   78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL31149     2004   SILVR   1U3JF781X4BJ00352   78 IN         CA      Sacramento
 RETL     DOLLY            DOL‐SA   RETL3115      1977   COMET   47720862            78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31151     2004   SILVR   1U3JF78144BJ00354   78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL31152     2004   SILVR   1U3JF78164BJ00355   78 IN         WA      Everett
 RETL     DOLLY            DOL‐SA   RETL31153     2004   SILVR   1U3JF78184BJ00356   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31154     2004   SILVR   1U3JF781X4BJ00357   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31155     2004   SILVR   1U3JF78114BJ00358   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31156     2004   SILVR   1U3JF78134BJ00359   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31157     2004   SILVR   1U3JF781X4BJ00360   78 IN         NV      Las Vegas
 RETL     DOLLY            DOL‐SA   RETL31158     2004   SILVR   1U3JF78114BJ00361   78 IN         OR      Portland
 RETL     DOLLY            DOL‐SA   RETL31159     2004   SILVR   1U3JF78134BJ00362   78 IN         CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3116      1986   COMET   1C0C10013GS033464   78 IN         CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL31160     2004   SILVR   1U3JF78154BJ00363   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31161     2004   SILVR   1U3JF78174BJ00364   78 IN         OR      Portland
 RETL     DOLLY            DOL‐SA   RETL31162     2004   SILVR   1U3JF78194BJ00365   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31163     2004   SILVR   1U3JF78104BJ00366   78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL31164     2004   SILVR   1U3JF78124BJ00367   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31165     2004   SILVR   1U3JF78144BJ00368   78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL31166     2004   SILVR   1U3JF78164BJ00369   78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL31167     2004   SILVR   1U3JF78124BJ00370   78 IN         CA      Fresno
 RETL     DOLLY            DOL‐SA   RETL31168     2004   SILVR   1U3JF78144BJ00371   78 IN         WA      Union Gap
 RETL     DOLLY            DOL‐SA   RETL31169     2004   SILVR   1U3JF78164BJ00372   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3117      1979   COMET   47924145            78 IN         CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL31170     2004   SILVR   1U3JF78184BJ00373   78 IN         WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL31171     2004   SILVR   1U3JF781X4BJ00374   78 IN         CO      Clifton
 RETL     DOLLY            DOL‐SA   RETL31172     2004   SILVR   1U3JF78114BJ00375   78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL31173     2004   SILVR   1U3JF78134BJ00376   78 IN         OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL31174     2004   SILVR   1U3JF78154BJ00377   78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL31175     2004   SILVR   1U3JF78174BJ00378   78 IN         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL31176     2004   SILVR   1U3JF78194BJ00379   78 IN         OR      Roseburg
 RETL     DOLLY            DOL‐SA   RETL31177     2004   SILVR   1U3JF78154BJ00380   78 IN         CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL31178     2004   SILVR   1U3JF78174BJ00381   78 IN         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3118      1984   COMET   1C0C1001XES031871   78 IN         AZ      Tucson
 RETL     DOLLY            DOL‐SA   RETL31185     1988   ALLOY   1ALCA2168JS881060   78 IN         CA      Santa Clara
 RETL     DOLLY            DOL‐SA   RETL31186     1997   STRCK   1S11CD089VE421017                 OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3119      1979   COMET   47924147            78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL31190     1997   STRCK   1S11CD084VE421023                 MT      Butte
 RETL     DOLLY            DOL‐SA   RETL31191     1997   STRCK   1S11CD08XVE421026                 ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL31192     1997   STRCK   1S11CD085VE421029                 OR      Redmond
 RETL     DOLLY            DOL‐SA   RETL31196     1997   STRCK   1S11CD089VE421048                 WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL31199     1992   TRLMB   1PT0YR0G0N9001484                 UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3120      1986   COMET   1C0C10015GS033465   78 IN         NV      Sparks
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23           Page 280 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State            City
 RETL     DOLLY            DOL‐SA   RETL31200     1992   TRLMB   1PT0YR0G5N9001485                 CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL31202     1992   TRLMB   1PT0YR0G0N9001498                 CA               Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31203     1992   TRLMB   1PT0YR0G9N9001502                 OR               Eugene
 RETL     DOLLY            DOL‐SA   RETL3121      1986   COMET   1C0C10015GS033466   78 IN         NV               Las Vegas
 RETL     DOLLY            DOL‐SA   RETL31213     2002   STRCK   1S11CD0822D473560                 OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3122      1986   COMET   48025872            78 IN         AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL3123      1986   COMET   1C0C10011GS033463   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3124      1984   GRTDN   1GRKS1313EM065301   78 IN         CA               West Sacramento
 RETL     DOLLY            DOL‐SA   RETL3125      1984   ALLOY   1C0C10011ES031872   78 IN         NM               Albuquerque
 RETL     DOLLY            DOL‐SA   RETL3126      1984   PINES   1PNA09107EK013497   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3127      1984   PINES   1PNA09104EK013473   78 IN         IL               Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL3128      1984   PINES   1PNA0910XEK013557   78 IN         CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3129      1984   PINES   1PNA0910XEK013624   78 IN         AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL3130      1984   PINES   1PNA09108EK013640   78 IN         OR               Central Point
 RETL     DOLLY            DOL‐SA   RETL3131      1984   PINES   1PNA09105DK016626   78 IN         OR               Central Point
 RETL     DOLLY            DOL‐SA   RETL3132      1984   PINES   1PNA09103EK103660   78 IN         WA               Spokane
 RETL     DOLLY            DOL‐SA   RETL3133      1984   PINES   1PNA09103EK013674   78 IN         OR               Central Point
 RETL     DOLLY            DOL‐SA   RETL3134      1984   PINES   1PNA09103EK013680   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3135      1984   PINES   1PNA09101EK013687   78 IN         WA               Union Gap
 RETL     DOLLY            DOL‐SA   RETL3136      1984   PINES   1PNA09108EK013718   78 IN         NV               Las Vegas
 RETL     DOLLY            DOL‐SA   RETL3137      1984   PINES   1PNA09102EK013780   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3138      1984   PINES   1PNA09103EK013803   78 IN         WA               Pasco
 RETL     DOLLY            DOL‐SA   RETL3139      1984   PINES   1PNA09100EK013829   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3140      1984   PINES   1PNA09102EK013827   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3141      1984   PINES   1PNA09109EK013842   78 IN         UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3142      1984   PINES   1PNA09107EK013886   78 IN         CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL3143      1984   PINES   1PNA09101EK013897   78 IN         AZ               Lake Havasu City
 RETL     DOLLY            DOL‐SA   RETL3144      1984   PINES   1PNA09107EK013905   78 IN         UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3145      1984   PINES   1PNA09106EK016585   78 IN         UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3146      1984   PINES   1PNA09103EK013587   78 IN         AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL3147      1984   PINES   1PNA09104EK016634   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3148      1984   PINES   1PNA09105HK024471   78 IN         CA               Fresno
 RETL     DOLLY            DOL‐SA   RETL3149      1984   PINES   1PNA09107HK024486   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3150      1987   TRLMB   1PT0YR0GXH9005739   78 IN         NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL3151      1978   FRUHF   FWZ345404           78 IN         British Columbia Burnaby
 RETL     DOLLY            DOL‐SA   RETL3152      1979   TRLMB   J1J741816           78 IN         OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3153      1977   PIKEX   K21343              78 IN         CA               Pomona
 RETL     DOLLY            DOL‐SA   RETL31534     1989   RDSTM   1RZ3AE1G6K1000175   78 IN         OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3154      1987   TRLMB   1PT0YR0G6H9010551   78 IN         ID               Meridian
 RETL     DOLLY            DOL‐SA   RETL31542     1989   RDSTM   1RZ3AE1G7K1000184   78 IN         NV               Elko
 RETL     DOLLY            DOL‐SA   RETL31543     1989   RDSTM   1RZ3AE1G9K1000185   78 IN         MT               Great Falls
 RETL     DOLLY            DOL‐SA   RETL31547     1986   STRCK   1S11CD084GB656297                 CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL31549     1986   STRCK   1S11CD08XGB656353                 UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3155      1977   PIKEX   77D1191             78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3156      1977   PIKEX   77D1195             78 IN         AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL3157      1977   PIKEX   124                 78 IN         MT               Missoula
 RETL     DOLLY            DOL‐SA   RETL31575     1984   FRUHF   1H2E00612ED000465   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3158      1970   PIKEX   WA89156472          78 IN         CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL3159      1980   PIKEX   V95182              78 IN         UT               St. George
 RETL     DOLLY            DOL‐SA   RETL31595     1984   FRUHF   1H2E00618ED000339   78 IN         OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3160      1984   GRTDN   1GRKS1314EM065310   78 IN         CA               Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31607     1990   RDSTM   1RZ3AE1G3L1000488                 TN               Memphis
 RETL     DOLLY            DOL‐SA   RETL3161      1983   GRTDN   1GRKS1414EM020122   78 IN         OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31612     1990   RDSTM   1RZ3AE1G7L1000493   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31613     1990   RDSTM   1RZ3AE1G9L1000494   78 IN         OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3162      1984   GRTDN   1GRKS1319EM065416   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31624     1990   RDSTM   1RZ3AE1GXL1000505   78 IN         UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31626     1992   RDSTM   1RZ3AE1G9N1000188   78 IN         AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL3163      1984   GRTDN   1GRKS1313EM065427   78 IN         CA               Santa Rosa
 RETL     DOLLY            DOL‐SA   RETL31635     1992   RDSTM   1RZ3AE1G1N1000198   78 IN         CA               Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31638     1992   RDSTM   1RZ3AE1G8N1000201   78 IN         WA               Seattle
 RETL     DOLLY            DOL‐SA   RETL3164      1984   GRTDN   1GRKS1316EM065311   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31646     1992   RDSTM   1RZ3AE1G2N1000209   78 IN         CA               Santa Clara
 RETL     DOLLY            DOL‐SA   RETL3165      1984   GRTDN   1GRKS1314EM065419   78 IN         CA               Brisbane
 RETL     DOLLY            DOL‐SA   RETL31654     1993   STRCK   1S11CD105PG677204                 CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL31659     1993   STRCK   1S11CD104PG677551                 OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3166      1984   GRTDN   1GRKS1313EM065413   78 IN         CA               San Diego
 RETL     DOLLY            DOL‐SA   RETL31661     1993   STRCK   1S11CD10XPG677554                 CA               Orange
 RETL     DOLLY            DOL‐SA   RETL31668     1993   STRCK   1S11CD107PG677561                 OH               Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23           Page 281 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State     City
 RETL     DOLLY            DOL‐SA   RETL3167      1984   GRTDN   1GRKS1312EM065418   78 IN         CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL31673     1993   STRCK   1S11CD106PG677566                 CA        Downey
 RETL     DOLLY            DOL‐SA   RETL3168      1984   ALLOY   1ALCA216XES084525   78 IN         AZ        Phoenix
 RETL     DOLLY            DOL‐SA   RETL31685     1993   STRCK   1S11CD104PG677579                 AZ        Phoenix
 RETL     DOLLY            DOL‐SA   RETL31686     1993   STRCK   1S11CD100PG677580                 CA        Tracy
 RETL     DOLLY            DOL‐SA   RETL31688     1993   STRCK   1S11CD104PG677582                 ID        Pocatello
 RETL     DOLLY            DOL‐SA   RETL31689     1993   STRCK   1S11CD106PG677583                 UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3169      1984   ALLOY   1ALCA2161ES084526   78 IN         WA        Pasco
 RETL     DOLLY            DOL‐SA   RETL31690     1993   STRCK   1S11CD108PG677584                 CA        Willows
 RETL     DOLLY            DOL‐SA   RETL31695     1993   STRCK   1S11CD107PG677589                 DE        New Castle
 RETL     DOLLY            DOL‐SA   RETL31696     1993   STRCK   1S11CD103PG677590                 OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31697     1993   STRCK   1S11CD105PG677591                 CA        San Diego
 RETL     DOLLY            DOL‐SA   RETL31698     1993   STRCK   1S11CD107PG677592                 NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL31699     1993   STRCK   1S11CD109PG677593                 WA        Seattle
 RETL     DOLLY            DOL‐SA   RETL3170      1984   ALLOY   1ALCA2163ES084432   78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31700     1993   STRCK   1S11CD100PG677594                 CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL31702     1993   STRCK   1S11CD104PG677596                 UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31703     1993   STRCK   1S11CD106PG677597                 OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31705     1993   STRCK   1S11CD10XPG677599                 IL        Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL31706     1993   STRCK   1S11CD102PG677600                 CA        San Diego
 RETL     DOLLY            DOL‐SA   RETL31708     1993   STRCK   1S11CD106PG677602                 OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31709     1993   STRCK   1S11CD108PG677603                 OR        Portland
 RETL     DOLLY            DOL‐SA   RETL3171      1984   ALLOY   1ALCA2163ES084429   78 IN         Alberta   Calgary
 RETL     DOLLY            DOL‐SA   RETL31710     1993   STRCK   1S11CD10XPG677604                 CA        Santa Clara
 RETL     DOLLY            DOL‐SA   RETL31711     1993   STRCK   1S11CD101PG677605                 ID        Twin Falls
 RETL     DOLLY            DOL‐SA   RETL31712     1993   STRCK   1S11CD103PG677606                 OR        Portland
 RETL     DOLLY            DOL‐SA   RETL31713     1993   STRCK   1S11CD105PG677607                 CA        Pomona
 RETL     DOLLY            DOL‐SA   RETL31715     1993   STRCK   1S11CD109PG677609                 OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31716     1993   STRCK   1S11CD105PG677610                 CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL31717     1993   STRCK   1S11CD107PG677611                 OR        Portland
 RETL     DOLLY            DOL‐SA   RETL31718     1993   STRCK   1S11CD109PG677612                 ID        Meridian
 RETL     DOLLY            DOL‐SA   RETL31719     1993   STRCK   1S11CD100PG677613                 CA        Bakersfield
 RETL     DOLLY            DOL‐SA   RETL3172      1986   ALLOY   1ALCA2169GS860115   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31720     1993   STRCK   1S11CD102PG677614                 TN        Memphis
 RETL     DOLLY            DOL‐SA   RETL31724     1990   PIKEX   1NNJ00912LM139092   78 IN         OR        Portland
 RETL     DOLLY            DOL‐SA   RETL31725     1990   PIKEX   1NNJ00912LM147418   78 IN         WA        Seattle
 RETL     DOLLY            DOL‐SA   RETL3173      1986   ALLOY   1ALCA2166GS860118   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31739     2004   GRTDN   1GRER13104M701289   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3174      1986   ALLOY   1ALCA2169GS860119   78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31744     2004   GRTDN   1GRER13144M701294   78 IN         NV        Elko
 RETL     DOLLY            DOL‐SA   RETL31746     2004   GRTDN   1GRER13184M701296   78 IN         CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL3175      1986   ALLOY   1ALCA2169GS860121   78 IN         CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL31762     2004   GRTDN   1GRER13124M701312   78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31763     2004   GRTDN   1GRER13144M701313   78 IN         OR        Portland
 RETL     DOLLY            DOL‐SA   RETL31766     2004   GRTDN   1GRER131X4M701316   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31769     2004   GRTDN   1GRER13154M701319   78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3177      1986   ALLOY   1ALCA2168GS861013   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31771     2004   GRTDN   1GRER13134M701321   78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31776     2004   GRTDN   1GRER13124M701326   78 IN         OR        Portland
 RETL     DOLLY            DOL‐SA   RETL31779     2004   GRTDN   1GRER13184M701329   78 IN         NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL3178      1986   ALLOY   1ALCA216XGS861014   78 IN         CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL31788     2004   GRTDN   1GRER13194M701338   78 IN         UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3179      1986   ALLOY   1ALCA2161GS861015   78 IN         CA        Tracy
 RETL     DOLLY            DOL‐SA   RETL31794     2004   GRTDN   1GRER13144M701344   78 IN         OR        Portland
 RETL     DOLLY            DOL‐SA   RETL3180      1986   ALLOY   1ALCA2163GS861016   78 IN         CA        Fresno
 RETL     DOLLY            DOL‐SA   RETL31807     2004   GRTDN   1GRER13124M701357   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3181      1986   ALLOY   1ALCA2165GS861017   78 IN         WA        Spokane
 RETL     DOLLY            DOL‐SA   RETL3182      1986   ALLOY   1ALCA2167GS861018   78 IN         NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL31820     2004   GRTDN   1GRER13154M701370   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3183      1986   ALLOY   1ALCA2169GS861019   78 IN         CA        Orange
 RETL     DOLLY            DOL‐SA   RETL31831     2004   SILVR   1U3JE78144BJ00387   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31832     2004   SILVR   1U3JE78164BJ00388   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31833     2004   SILVR   1U3JE78184BJ00389   78 IN         CA        Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31835     2004   SILVR   1U3JE78164BJ00391   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31838     2004   SILVR   1U3JE78114BJ00394   78 IN         CA        Tracy
 RETL     DOLLY            DOL‐SA   RETL3184      1986   ALLOY   1ALCA2161HS871089   78 IN         OH        Akron
 RETL     DOLLY            DOL‐SA   RETL31840     2004   SILVR   1U3JE78154BJ00396   78 IN         NV        Elko
 RETL     DOLLY            DOL‐SA   RETL31841     2004   SILVR   1U3JE78174BJ00397   78 IN         WA        Spokane
 RETL     DOLLY            DOL‐SA   RETL31842     2004   SILVR   1U3JE78194BJ00398   78 IN         OR        Portland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 282 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     DOLLY            DOL‐SA   RETL31844     2004   SILVR   1U3JE78134BJ00400   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31845     2004   SILVR   1U3JE78154BJ00401   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL31846     2004   SILVR   1U3JE78174BJ00402   78 IN     TN               Memphis
 RETL     DOLLY            DOL‐SA   RETL31847     2004   SILVR   1U3JE78194BJ00403   78 IN     TN               Memphis
 RETL     DOLLY            DOL‐SA   RETL3185      1986   ALLOY   1ALCA2167GS861021   78 IN     CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL31850     2004   SILVR   1U3JE78144BJ00406   78 IN     WA               Seattle
 RETL     DOLLY            DOL‐SA   RETL31851     2004   SILVR   1U3JE78164BJ00407   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31853     2004   SILVR   1U3JE781X4BJ00409   78 IN     NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL31854     2004   SILVR   1U3JE78164BJ00410   78 IN     NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL31855     2004   SILVR   1U3JE78184BJ00411   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL31856     2004   SILVR   1U3JE781X4BJ00412   78 IN     CA               Orange
 RETL     DOLLY            DOL‐SA   RETL31857     2004   SILVR   1U3JE78114BJ00413   78 IN     CA               Anderson
 RETL     DOLLY            DOL‐SA   RETL31859     2004   SILVR   1U3JE78154BJ00415   78 IN     WA               Everett
 RETL     DOLLY            DOL‐SA   RETL3186      1986   ALLOY   1ALCA2169GS861022   78 IN     NV               Elko
 RETL     DOLLY            DOL‐SA   RETL31861     2004   SILVR   1U3JE78194BJ00417   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31865     2004   SILVR   1U3JE78104BJ00421   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31866     2004   SILVR   1U3JE78124BJ00422   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31868     2004   SILVR   1U3JE78164BJ00424   78 IN     CA               Orange
 RETL     DOLLY            DOL‐SA   RETL31869     2004   SILVR   1U3JE78184BJ00425   78 IN     AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL3187      1986   ALLOY   1ALCA2162GS861024   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31870     2004   SILVR   1U3JE781X4BJ00426   78 IN     CO               Clifton
 RETL     DOLLY            DOL‐SA   RETL31871     2004   SILVR   1U3JE78114BJ00427   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31874     2004   SILVR   1U3JE78114BJ00430   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31875     2004   SILVR   1U3JE78134BJ00431   78 IN     WA               Everett
 RETL     DOLLY            DOL‐SA   RETL3188      1986   ALLOY   1ALCA2168GS861027   78 IN     CA               Sacramento
 RETL     DOLLY            DOL‐SA   RETL31881     2004   SILVR   1U3JE78144BJ00437   78 IN     CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL31882     2004   SILVR   1U3JE78164BJ00438   78 IN     OR               Eugene
 RETL     DOLLY            DOL‐SA   RETL31883     2004   SILVR   1U3JE78184BJ00439   78 IN     ID               Twin Falls
 RETL     DOLLY            DOL‐SA   RETL31887     2004   SILVR   1U3JE781X4BJ00443   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL31889     2004   SILVR   1U3JE78134BJ00445   78 IN     WA               Seattle
 RETL     DOLLY            DOL‐SA   RETL3189      1991   ALLOY   1ALCA2169MS910571   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31890     2004   SILVR   1U3JE78154BJ00446   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31892     2004   SILVR   1U3JE78194BJ00448   78 IN     NV               Las Vegas
 RETL     DOLLY            DOL‐SA   RETL31894     2004   SILVR   1U3JE78174BJ00450   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL31895     2004   SILVR   1U3JE78194BJ00451   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31897     2004   SILVR   1U3JE78124BJ00453   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31898     2004   SILVR   1U3JE78144BJ00454   78 IN     CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL3190      1991   ALLOY   1ALCA2160MS910572   78 IN     WA               Spokane
 RETL     DOLLY            DOL‐SA   RETL31900     2004   SILVR   1U3JE78184BJ00456   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL31901     2004   SILVR   1U3JE781X4BJ00457   78 IN     CA               Pomona
 RETL     DOLLY            DOL‐SA   RETL31903     2004   SILVR   1U3JE78134BJ00459   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31904     2004   SILVR   1U3JE781X4BJ00460   78 IN     CA               Ventura
 RETL     DOLLY            DOL‐SA   RETL31905     2004   SILVR   1U3JE78114BJ00461   78 IN     NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL31907     2004   SILVR   1U3JE78154BJ00463   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31909     2004   SILVR   1U3JE78194BJ00465   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31910     2005   SILVR   1U3JR78185BJ00382   78 IN     British Columbia Burnaby
 RETL     DOLLY            DOL‐SA   RETL31911     2005   SILVR   1U3JR781X5BJ00383   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL31912     2005   SILVR   1U3JR78145BJ00384   78 IN     CA               Adelanto
 RETL     DOLLY            DOL‐SA   RETL31913     2005   SILVR   1U3JR78105BJ00385   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31914     2005   SILVR   1U3JR78155BJ00386   78 IN     CA               Sacramento
 RETL     DOLLY            DOL‐SA   RETL31915     2005   SILVR   1U3JR78175BJ00387   78 IN     AZ               Nogales
 RETL     DOLLY            DOL‐SA   RETL31916     2005   SILVR   1U3JR78195BJ00388   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31917     2005   SILVR   1U3JR78105BJ00389   78 IN     CA               Bakersfield
 RETL     DOLLY            DOL‐SA   RETL31918     2005   SILVR   1U3JR78175BJ00390   78 IN     OR               Central Point
 RETL     DOLLY            DOL‐SA   RETL31919     2005   SILVR   1U3JR78195BJ00391   78 IN     WA               Tacoma
 RETL     DOLLY            DOL‐SA   RETL3192      1991   ALLOY   1ALCA2164MS910574   78 IN     WA               Tacoma
 RETL     DOLLY            DOL‐SA   RETL31920     2005   SILVR   1U3JR78105BJ00392   78 IN     WA               Seattle
 RETL     DOLLY            DOL‐SA   RETL31921     2005   SILVR   1U3JR78125BJ00393   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31922     2005   SILVR   1U3JR78145BJ00394   78 IN     OR               Central Point
 RETL     DOLLY            DOL‐SA   RETL31923     2005   SILVR   1U3JR78165BJ00395   78 IN     ID               Meridian
 RETL     DOLLY            DOL‐SA   RETL31924     2005   SILVR   1U3JR78185BJ00396   78 IN     WA               Seattle
 RETL     DOLLY            DOL‐SA   RETL31925     2005   SILVR   1U3JR781X5BJ00397   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31926     2005   SILVR   1U3JR78115BJ00398   78 IN     FL               Orlando
 RETL     DOLLY            DOL‐SA   RETL31927     2005   SILVR   1U3JR78135BJ00399   78 IN     CA               Orange
 RETL     DOLLY            DOL‐SA   RETL31928     2005   SILVR   1U3JR78165BJ00400   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31929     2005   SILVR   1U3JR78185BJ00401   78 IN     NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL31930     2005   SILVR   1U3JR781X5BJ00402   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31931     2005   SILVR   1U3JR78115BJ00403   78 IN     TN               Memphis
 RETL     DOLLY            DOL‐SA   RETL31932     2005   SILVR   1U3JR78135BJ00404   78 IN     CA               Tracy
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23           Page 283 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State            City
 RETL     DOLLY            DOL‐SA   RETL31933     2005   SILVR   1U3JR78155BJ00405   78 IN         CO               Clifton
 RETL     DOLLY            DOL‐SA   RETL31934     2005   SILVR   1U3JR78175BJ00406   78 IN         CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL31935     2005   SILVR   1U3JR78195BJ00407   78 IN         IL               Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL31936     2005   SILVR   1U3JR78105BJ00408   78 IN         NC               Charlotte
 RETL     DOLLY            DOL‐SA   RETL31937     2005   SILVR   1U3JR78125BJ00409   78 IN         OR               Central Point
 RETL     DOLLY            DOL‐SA   RETL31938     2005   SILVR   1U3JR78195BJ00410   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31939     2005   SILVR   1U3JR78105BJ00411   78 IN         CO               Clifton
 RETL     DOLLY            DOL‐SA   RETL3194      1991   ALLOY   1ALCA2168MS910576   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31940     2005   SILVR   1U3JR78125BJ00412   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31941     2005   SILVR   1U3JR78145BJ00413   78 IN         CA               San Diego
 RETL     DOLLY            DOL‐SA   RETL31942     2005   SILVR   1U3JR78165BJ00414   78 IN         CA               Pomona
 RETL     DOLLY            DOL‐SA   RETL31943     2005   SILVR   1U3JR78185BJ00415   78 IN         UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31944     2005   SILVR   1U3JR781X5BJ00416   78 IN         WA               East Wenatchee
 RETL     DOLLY            DOL‐SA   RETL31945     2005   SILVR   1U3JR78115BJ00417   78 IN         AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL31946     2005   SILVR   1U3JR78135BJ00418   78 IN         UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL31947     2005   SILVR   1U3JR78155BJ00419   78 IN         NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL31948     2005   SILVR   1U3JR78115BJ00420   78 IN         AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL31949     2005   SILVR   1U3JR78135BJ00421   78 IN         CA               Downey
 RETL     DOLLY            DOL‐SA   RETL3195      1991   ALLOY   1ALCA216XMS910577   78 IN         NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL31950     2005   SILVR   1U3JR78155BJ00422   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31951     2005   SILVR   1U3JR78175BJ00423   78 IN         OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31952     2005   SILVR   1U3JR78195BJ00424   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31953     2005   SILVR   1U3JR78105BJ00425   78 IN         CA               Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31955     2005   SILVR   1U3JR78145BJ00427   78 IN         CA               Santa Rosa
 RETL     DOLLY            DOL‐SA   RETL31956     2005   SILVR   1U3JR78165BJ00428   78 IN         WA               Tacoma
 RETL     DOLLY            DOL‐SA   RETL31957     2005   SILVR   1U3JR78185BJ00429   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31958     2005   SILVR   1U3JR78145BJ00430   78 IN         CA               Visalia
 RETL     DOLLY            DOL‐SA   RETL31960     2005   SILVR   1U3JR78185BJ00432   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31961     2005   SILVR   1U3JR781X5BJ00433   78 IN         CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL31962     2005   SILVR   1U3JR78115BJ00434   78 IN         AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL31964     2005   SILVR   1U3JR78155BJ00436   78 IN         CA               Anderson
 RETL     DOLLY            DOL‐SA   RETL31965     2005   SILVR   1U3JR78175BJ00437   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31966     2005   SILVR   1U3JR78195BJ00438   78 IN         NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL31968     2005   SILVR   1U3JR78175BJ00440   78 IN         NM               Albuquerque
 RETL     DOLLY            DOL‐SA   RETL31969     2005   SILVR   1U3JR78195BJ00441   78 IN         CA               Bakersfield
 RETL     DOLLY            DOL‐SA   RETL3197      1991   ALLOY   1ALCA2163MS910579   78 IN         CO               Henderson
 RETL     DOLLY            DOL‐SA   RETL31970     2005   SILVR   1U3JR78105BJ00442   78 IN         AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL31971     2005   SILVR   1U3JR78125BJ00443   78 IN         WA               Pasco
 RETL     DOLLY            DOL‐SA   RETL31972     2005   SILVR   1U3JR78145BJ00444   78 IN         OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31973     2005   SILVR   1U3JR78165BJ00445   78 IN         OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31974     2005   SILVR   1U3JR78185BJ00446   78 IN         OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31975     2006   SILVR   1U3JE78116BJ01028                 CA               Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL31977     2006   SILVR   1U3JE781X6BJ01030                 CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL31978     2006   SILVR   1U3JE78116BJ01031                 British Columbia Burnaby
 RETL     DOLLY            DOL‐SA   RETL31979     2006   SILVR   1U3JE78116BJ01032                 CA               Pomona
 RETL     DOLLY            DOL‐SA   RETL3198      1991   ALLOY   1ALCA216XMS910580   78 IN         OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31980     2006   SILVR   1U3JE78136BJ01033                 ID               Twin Falls
 RETL     DOLLY            DOL‐SA   RETL31981     2006   SILVR   1U3JE78156BJ01034                 MI               Taylor
 RETL     DOLLY            DOL‐SA   RETL31982     2006   SILVR   1U3JE78176BJ01035                 OH               Akron
 RETL     DOLLY            DOL‐SA   RETL31984     2006   SILVR   1U3JE78126BJ01037                 CA               Anderson
 RETL     DOLLY            DOL‐SA   RETL31985     2006   SILVR   1U3JE78126BJ01038                 OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31987     2006   SILVR   1U3JE78106BJ01040                 CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL31989     2006   SILVR   1U3JE78146BJ01042                 CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL31990     2006   SILVR   1U3JE78166BJ01043                 OR               Portland
 RETL     DOLLY            DOL‐SA   RETL31991     2006   SILVR   1U3JE78186BJ01044                 CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL31992     2006   SILVR   1U3JE781X6BJ01045                 CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL31993     2006   SILVR   1U3JE78116BJ01046                 CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3200      1991   ALLOY   1ALCA2163MS910582   78 IN         CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3202      1991   ALLOY   1ALCA2167MS910584   78 IN         AZ               Lake Havasu City
 RETL     DOLLY            DOL‐SA   RETL3204      1991   ALLOY   1ALCA2160MS910586   78 IN         OR               Central Point
 RETL     DOLLY            DOL‐SA   RETL32047     2005   SILVR   1U3JE81145BJ00490                 OR               Portland
 RETL     DOLLY            DOL‐SA   RETL32048     2005   SILVR   1U3JE81165BJ00491                 NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL32050     2005   SILVR   1U3JE811X5BJ00493                 NM               Albuquerque
 RETL     DOLLY            DOL‐SA   RETL32051     2005   SILVR   1U3JE81115BJ00494                 ID               Twin Falls
 RETL     DOLLY            DOL‐SA   RETL32052     2005   SILVR   1U3JE81135BJ00495                 CA               San Diego
 RETL     DOLLY            DOL‐SA   RETL32053     2005   SILVR   1U3JE81155BJ00496                 NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL32054     2005   SILVR   1U3JE81175BJ00497                 OH               Akron
 RETL     DOLLY            DOL‐SA   RETL32055     2005   SILVR   1U3JE81195BJ00498                 CA               Sun Valley
 RETL     DOLLY            DOL‐SA   RETL32056     2005   SILVR   1U3JE81105BJ00499                 CA               Orange
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23           Page 284 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     DOLLY            DOL‐SA   RETL32057     2005   SILVR   1U3JE81135BJ00500                 OR      Portland
 RETL     DOLLY            DOL‐SA   RETL32058     2005   SILVR   1U3JE81155BJ00501                 UT      St. George
 RETL     DOLLY            DOL‐SA   RETL32060     2005   SILVR   1U3JE81195BJ00503                 OR      Portland
 RETL     DOLLY            DOL‐SA   RETL32061     2005   SILVR   1U3JE81105BJ00504                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32062     2005   SILVR   1U3JE81125BJ00505                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32063     2005   SILVR   1U3JE81145BJ00506                 MT      Great Falls
 RETL     DOLLY            DOL‐SA   RETL32065     2005   SILVR   1U3JE81185BJ00508                 TX      Lubbock
 RETL     DOLLY            DOL‐SA   RETL32066     2005   SILVR   1U3JE811X5BJ00509                 CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL32067     2005   SILVR   1U3JE81165BJ00510                 TN      Memphis
 RETL     DOLLY            DOL‐SA   RETL32068     2005   SILVR   1U3JE81185BJ00511                 CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3207      1991   ALLOY   1ALCA2166MS910589   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32072     2005   SILVR   1U3JE81155BJ00515                 TN      Memphis
 RETL     DOLLY            DOL‐SA   RETL32073     2005   SILVR   1U3JE81175BJ00516                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32074     2005   SILVR   1U3JE81195BJ00517                 OR      Portland
 RETL     DOLLY            DOL‐SA   RETL32075     2005   SILVR   1U3JE81105BJ00518                 NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL32078     2005   SILVR   1U3JE81105BJ00521                 CA      Anderson
 RETL     DOLLY            DOL‐SA   RETL32079     2005   SILVR   1U3JE81125BJ00522                 CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3208      1991   ALLOY   1ALCA2162MS910590   78 IN         CA      Santa Rosa
 RETL     DOLLY            DOL‐SA   RETL32080     2005   SILVR   1U3JE81145BJ00523                 OR      Portland
 RETL     DOLLY            DOL‐SA   RETL32081     2005   SILVR   1U3JE81165BJ00524                 NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL32083     2005   SILVR   1U3JE811X5BJ00526                 CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL32085     2005   SILVR   1U3JE81135BJ00528                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32086     2005   SILVR   1U3JE81155BJ00529                 CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL32087     2005   SILVR   1U3JE81115BJ00530                 WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL32088     2005   SILVR   1U3JE81135BJ00531                 CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3209      1991   ALLOY   1ALCA2164MS910591   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3210      1991   ALLOY   1ALCA2166MS910592   78 IN         AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL32100     2005   SILVR   1U3JE81175BJ00533                 UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32101     2005   SILVR   1U3JE81195BJ00534                 OR      Portland
 RETL     DOLLY            DOL‐SA   RETL32102     2005   SILVR   1U3JE81105BJ00535                 IL      McCook
 RETL     DOLLY            DOL‐SA   RETL32103     2005   SILVR   1U3JE81125BJ00536                 WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL32104     2005   SILVR   1U3JE81145BJ00537                 UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32105     2005   SILVR   1U3JE81165BJ00538                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32107     2005   SILVR   1U3JE81145BJ00540                 NV      Las Vegas
 RETL     DOLLY            DOL‐SA   RETL32109     2005   SILVR   1U3JE81185BJ00542                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3211      1991   ALLOY   1ALCA2168MS910593   78 IN         CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL32110     2005   SILVR   1U3JE811X5BJ00543                 TN      Memphis
 RETL     DOLLY            DOL‐SA   RETL32111     2005   SILVR   1U3JE81115BJ00544                 CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL32112     2005   SILVR   1U3JE81135BJ00545                 NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL32114     2005   SILVR   1U3JE81175BJ00547                 NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL32115     2005   SILVR   1U3JE81195BJ00548                 CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3212      1991   ALLOY   1ALCA216XMS910594   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3213      1987   TRLMB   1PT0YR0G5H9005728   78 IN         WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL3214      1987   TRLMB   1PT0YR0G7H9005729   78 IN         OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3215      1987   TRLMB   1PT0YR0G3H9005730   78 IN         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3216      1987   TRLMB   1PT0YR0G5H9005731   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3217      1987   TRLMB   1PT0YR0G7H9005732   78 IN         WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL3218      1987   TRLMB   1PT0YR0G9H9005733   78 IN         ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL3219      1987   TRLMB   1PT0YR0G0H9005734   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3222      1987   TRLMB   1PT0YR0G6H9005737   78 IN         WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL3223      1987   TRLMB   1PT0YR0G0H9005743   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3224      1987   TRLMB   1PT0YR0G6H9005740   78 IN         OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3225      1987   TRLMB   1PT0YR0G8H9005741   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3228      1994   ALLOY   1ALCA2168RS941012   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32286     2004   SILVR   1U3JE78104BJ00466   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32287     2004   SILVR   1U3JE78124BJ00467   78 IN         WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL32293     2004   SILVR   1U3JE78184BJ00473   78 IN         NV      Las Vegas
 RETL     DOLLY            DOL‐SA   RETL32295     2004   SILVR   1U3JE78114BJ00475   78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL32297     2004   SILVR   1U3JE78154BJ00477   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3230      1994   ALLOY   1ALCA2161RS941014   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32302     2006   SILVR   1U3JE78136BJ00979                 WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL32303     2006   SILVR   1U3JE781X6BJ00980                 CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL32304     2006   SILVR   1U3JE78116BJ00981                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32306     2006   SILVR   1U3JE78156BJ00983                 CA      Fresno
 RETL     DOLLY            DOL‐SA   RETL32307     2006   SILVR   1U3JE78176BJ00984                 WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL32309     2006   SILVR   1U3JE78106BJ00986                 CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL32310     2006   SILVR   1U3JE78146BJ00987                 CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL32311     2006   SILVR   1U3JE78146BJ00988                 OR      Portland
 RETL     DOLLY            DOL‐SA   RETL32312     2006   SILVR   1U3JE78186BJ00989                 UT      Salt Lake City
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23           Page 285 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     DOLLY            DOL‐SA   RETL32313     2006   SILVR   1U3JE78146BJ00990                 CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL32314     2006   SILVR   1U3JE78146BJ00991                 AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL32316     2006   SILVR   1U3JE78186BJ00993                 WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL32317     2006   SILVR   1U3JE781X6BJ00994                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32318     2006   SILVR   1U3JE78116BJ00995                 OR      Portland
 RETL     DOLLY            DOL‐SA   RETL32319     2006   SILVR   1U3JE78136BJ00996                 CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL32321     2006   SILVR   1U3JE78176BJ00998                 WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL32322     2006   SILVR   1U3JE78196BJ00999                 CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL32323     2006   SILVR   1U3JE78116BJ01000                 CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL32324     2006   SILVR   1U3JE78136BJ01001                 CA      Visalia
 RETL     DOLLY            DOL‐SA   RETL32326     2006   SILVR   1U3JE78176BJ01003                 WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL32327     2006   SILVR   1U3JE78176BJ01004                 AZ      Flagstaff
 RETL     DOLLY            DOL‐SA   RETL32328     2006   SILVR   1U3JE78196BJ01005                 CA      Pomona
 RETL     DOLLY            DOL‐SA   RETL3233      1994   ALLOY   1ALCA2167RS941017   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32330     2006   SILVR   1U3JE78126BJ01007                 MO      Strafford
 RETL     DOLLY            DOL‐SA   RETL32331     2006   SILVR   1U3JE78146BJ01008                 NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL32333     2006   SILVR   1U3JE78126BJ01010                 WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL32334     2006   SILVR   1U3JE78146BJ01011                 GA      Thomasville
 RETL     DOLLY            DOL‐SA   RETL32336     2006   SILVR   1U3JE78186BJ01013                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32337     2006   SILVR   1U3JE781X6BJ01014                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32339     2006   SILVR   1U3JE78156BJ01016                 CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3234      1994   ALLOY   1ALCA2169RS941018   78 IN         AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL32340     2006   SILVR   1U3JE78156BJ01017                 WA      Pasco
 RETL     DOLLY            DOL‐SA   RETL32344     2006   SILVR   1U3JE78176BJ01021                 AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL32345     2006   SILVR   1U3JE78196BJ01022                 CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL32346     2006   SILVR   1U3JE78106BJ01023                 CA      Gardena
 RETL     DOLLY            DOL‐SA   RETL32348     2006   SILVR   1U3JE78146BJ01025                 MT      Billings
 RETL     DOLLY            DOL‐SA   RETL32349     2006   SILVR   1U3JE78166BJ01026                 CA      Visalia
 RETL     DOLLY            DOL‐SA   RETL3235      1994   ALLOY   1ALCA2160RS941019   78 IN         WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL32350     2006   SILVR   1U3JE781X6BJ01027                 OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32351     1984   FRUHF   CA694087            78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32352     2022   WABSH   1JJD061XXNL318964   ELF‐1         WA      Bellingham
 RETL     DOLLY            DOL‐SA   RETL32353     2022   WABSH   1JJD061X1NL318965   ELF‐1         GA      Marietta
 RETL     DOLLY            DOL‐SA   RETL32354     2022   WABSH   1JJD061X3NL318966   ELF‐1         IL      Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL32355     2022   WABSH   1JJD061X5NL318967   ELF‐1         MD      Hagerstown
 RETL     DOLLY            DOL‐SA   RETL32356     2022   WABSH   1JJD061X7NL318968   ELF‐1         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32357     2022   WABSH   1JJD061X9NL318969   ELF‐1         MO      Saint Louis
 RETL     DOLLY            DOL‐SA   RETL32358     2022   WABSH   1JJD061X5NL318970   ELF‐1         TX      Irving
 RETL     DOLLY            DOL‐SA   RETL32359     2022   WABSH   1JJD061X7NL318971   ELF‐1         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32360     2022   WABSH   1JJD061X9NL318972   ELF‐1         CA      Fontana
 RETL     DOLLY            DOL‐SA   RETL32361     2022   WABSH   1JJD061X0NL318973   ELF‐1         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32362     2022   WABSH   1JJD061X2NL318974   ELF‐1         RI      Cumberland
 RETL     DOLLY            DOL‐SA   RETL32363     2022   WABSH   1JJD061X4NL318975   ELF‐1         LA      Port Allen
 RETL     DOLLY            DOL‐SA   RETL32364     2022   WABSH   1JJD061X6NL318976   ELF‐1         IN      South Bend
 RETL     DOLLY            DOL‐SA   RETL32365     2022   WABSH   1JJD061X8NL318977   ELF‐1         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32366     2022   WABSH   1JJD061XXNL318978   ELF‐1         OH      Copley
 RETL     DOLLY            DOL‐SA   RETL32367     2022   WABSH   1JJD061X1NL318979   ELF‐1         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL32368     2022   WABSH   1JJD061X8NL318980   ELF‐1         AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL32369     2022   WABSH   1JJD061XXNL318981   ELF‐1         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL32370     2022   WABSH   1JJD061X1NL318982   ELF‐1         PA      Mountain Top
 RETL     DOLLY            DOL‐SA   RETL32371     2022   WABSH   1JJD061X3NL318983   ELF‐1         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL32372     2022   WABSH   1JJD061X5NL318984   ELF‐1         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32373     2022   WABSH   1JJD061X7NL318985   ELF‐1         MO      Saint Louis
 RETL     DOLLY            DOL‐SA   RETL32374     2022   WABSH   1JJD061X9NL318986   ELF‐1         GA      Ellenwood
 RETL     DOLLY            DOL‐SA   RETL32375     2022   WABSH   1JJD061X0NL318987   ELF‐1         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL32376     2022   WABSH   1JJD061X2NL318988   ELF‐1         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32377     2022   WABSH   1JJD061X4NL318989   ELF‐1         NY      Tonawanda
 RETL     DOLLY            DOL‐SA   RETL32378     2022   WABSH   1JJD061X0NL318990   ELF‐1         ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL32379     2022   WABSH   1JJD061X2NL318991   ELF‐1         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3238      1994   ALLOY   1ALCA2160RS941022   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32380     2022   WABSH   1JJD061X4NL318992   ELF‐1         MO      Strafford
 RETL     DOLLY            DOL‐SA   RETL32381     2022   WABSH   1JJD061X6NL318993   ELF‐1         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32382     2022   WABSH   1JJD061X8NL318994   ELF‐1         CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL32383     2022   WABSH   1JJD061XXNL318995   ELF‐1         VA      Richmond
 RETL     DOLLY            DOL‐SA   RETL32384     2022   WABSH   1JJD061X1NL318996   ELF‐1         CA      Santa Rosa
 RETL     DOLLY            DOL‐SA   RETL32385     2022   WABSH   1JJD061X3NL318997   ELF‐1         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL32386     2022   WABSH   1JJD061X5NL318998   ELF‐1         TN      Memphis
 RETL     DOLLY            DOL‐SA   RETL32387     2022   WABSH   1JJD061X7NL318999   ELF‐1         WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL32388     2022   WABSH   1JJD061X8NL319000   ELF‐1         IL      Bolingbrook
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 286 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     DOLLY            DOL‐SA   RETL32389     2022   WABSH   1JJD061XXNL319001   ELF‐1     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32390     2022   WABSH   1JJD061X1NL319002   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32391     2022   WABSH   1JJD061X3NL319003   ELF‐1     CA      Orange
 RETL     DOLLY            DOL‐SA   RETL32392     2022   WABSH   1JJD061X5NL319004   ELF‐1     ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL32393     2022   WABSH   1JJD061X7NL319005   ELF‐1     CA      Pomona
 RETL     DOLLY            DOL‐SA   RETL32394     2022   WABSH   1JJD061X9NL319006   ELF‐1     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL32395     2022   WABSH   1JJD061X0NL319007   ELF‐1     CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL32396     2022   WABSH   1JJD061X2NL319008   ELF‐1     WV      Charleston
 RETL     DOLLY            DOL‐SA   RETL32397     2022   WABSH   1JJD061X4NL319009   ELF‐1     CA      Calexico
 RETL     DOLLY            DOL‐SA   RETL32398     2022   WABSH   1JJD061X0NL319010   ELF‐1     CA      Lost Hills
 RETL     DOLLY            DOL‐SA   RETL32399     2022   WABSH   1JJD061X2NL319011   ELF‐1     AR      Little Rock
 RETL     DOLLY            DOL‐SA   RETL3240      1994   ALLOY   1ALCA216XRS941024   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32400     2022   WABSH   1JJD061X4NL319012   ELF‐1     MO      Saint Louis
 RETL     DOLLY            DOL‐SA   RETL32401     2022   WABSH   1JJD061X6NL319013   ELF‐1     CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL32402     2022   WABSH   1JJD061X8NL319014   ELF‐1     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32403     2022   WABSH   1JJD061XXNL319015   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32404     2022   WABSH   1JJD061X1NL319016   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32405     2022   WABSH   1JJD061X3NL319017   ELF‐1     WA      Everett
 RETL     DOLLY            DOL‐SA   RETL32406     2022   WABSH   1JJD061X5NL319018   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32407     2022   WABSH   1JJD061X7NL319019   ELF‐1     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32408     2022   WABSH   1JJD061X3NL319020   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32409     2022   WABSH   1JJD061X5NL319021   ELF‐1     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3241      1994   ALLOY   1ALCA2166RS941025   78 IN     WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL32410     2022   WABSH   1JJD061X7NL319022   ELF‐1     NJ      Carlstadt
 RETL     DOLLY            DOL‐SA   RETL32411     2022   WABSH   1JJD061X9NL319023   ELF‐1     CA      Willows
 RETL     DOLLY            DOL‐SA   RETL32412     2022   WABSH   1JJD061X0NL319024   ELF‐1     MT      Billings
 RETL     DOLLY            DOL‐SA   RETL32413     2022   WABSH   1JJD061X2NL319025   ELF‐1     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL32414     2022   WABSH   1JJD061X4NL319026   ELF‐1     OH      Bowling Green
 RETL     DOLLY            DOL‐SA   RETL32415     2022   WABSH   1JJD061X6NL319027   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32416     2022   WABSH   1JJD061X8NL319028   ELF‐1     IL      Rock Island
 RETL     DOLLY            DOL‐SA   RETL32417     2022   WABSH   1JJD061XXNL319029   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32418     2022   WABSH   1JJD061X6NL319030   ELF‐1     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL32419     2022   WABSH   1JJD061X8NL319031   ELF‐1     WI      Tomah
 RETL     DOLLY            DOL‐SA   RETL32420     2022   WABSH   1JJD061XXNL319032   ELF‐1     OH      Columbus
 RETL     DOLLY            DOL‐SA   RETL32421     2022   WABSH   1JJD061X1NL319033   ELF‐1     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32422     2022   WABSH   1JJD061X3NL319034   ELF‐1     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL32423     2022   WABSH   1JJD061X5NL319035   ELF‐1     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL32424     2022   WABSH   1JJD061X7NL319036   ELF‐1     ID      Pocatello
 RETL     DOLLY            DOL‐SA   RETL32425     2022   WABSH   1JJD061X9NL319037   ELF‐1     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32426     2022   WABSH   1JJD061X0NL319038   ELF‐1     IN      Indianapolis
 RETL     DOLLY            DOL‐SA   RETL32427     2022   WABSH   1JJD061X2NL319039   ELF‐1     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL32428     2022   WABSH   1JJD061X9NL319040   ELF‐1     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL32429     2022   WABSH   1JJD061X0NL319041   ELF‐1     OH      Bowling Green
 RETL     DOLLY            DOL‐SA   RETL3243      1994   ALLOY   1ALCA216XRS941027   78 IN     CA      Anderson
 RETL     DOLLY            DOL‐SA   RETL32430     2022   WABSH   1JJD061X2NL319042   ELF‐1     WV      Charleston
 RETL     DOLLY            DOL‐SA   RETL32431     2022   WABSH   1JJD061X4NL319043   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32432     2022   WABSH   1JJD061X6NL319044   ELF‐1     TN      Knoxville
 RETL     DOLLY            DOL‐SA   RETL32433     2022   WABSH   1JJD061X8NL319045   ELF‐1     WY      Buffalo
 RETL     DOLLY            DOL‐SA   RETL32434     2022   WABSH   1JJD061XXNL319046   ELF‐1     CA      Los Angeles
 RETL     DOLLY            DOL‐SA   RETL32435     2022   WABSH   1JJD061X1NL319047   ELF‐1     CA      Fresno
 RETL     DOLLY            DOL‐SA   RETL32436     2022   WABSH   1JJD061X3NL319048   ELF‐1     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32437     2022   WABSH   1JJD061X5NL319049   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32438     2022   WABSH   1JJD061X1NL319050   ELF‐1     IL      Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL32439     2022   WABSH   1JJD061X3NL319051   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32440     2022   WABSH   1JJD061X5NL319052   ELF‐1     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL32441     2022   WABSH   1JJD061X7NL319053   ELF‐1     TN      Memphis
 RETL     DOLLY            DOL‐SA   RETL32442     2022   WABSH   1JJD061X9NL319054   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32443     2022   WABSH   1JJD061X0NL319055   ELF‐1     GA      Marietta
 RETL     DOLLY            DOL‐SA   RETL32444     2022   WABSH   1JJD061X2NL319056   ELF‐1     MT      Great Falls
 RETL     DOLLY            DOL‐SA   RETL32445     2022   WABSH   1JJD061X4NL319057   ELF‐1     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL32446     2022   WABSH   1JJD061X6NL319058   ELF‐1     CA      West Sacramento
 RETL     DOLLY            DOL‐SA   RETL32447     2022   WABSH   1JJD061X8NL319059   ELF‐1     TN      Memphis
 RETL     DOLLY            DOL‐SA   RETL32448     2022   WABSH   1JJD061X4NL319060   ELF‐1     GA      Marietta
 RETL     DOLLY            DOL‐SA   RETL32449     2022   WABSH   1JJD061X6NL319061   ELF‐1     GA      Marietta
 RETL     DOLLY            DOL‐SA   RETL3245      1994   ALLOY   1ALCA2163RS941029   78 IN     TX      El Paso
 RETL     DOLLY            DOL‐SA   RETL32450     2022   WABSH   1JJD061X8NL319062   ELF‐1     IL      Montgomery
 RETL     DOLLY            DOL‐SA   RETL32451     2022   WABSH   1JJD061XXNL319063   ELF‐1     FL      Ocala
 RETL     DOLLY            DOL‐SA   RETL32452     2022   WABSH   1JJD061X1NL319064   ELF‐1     WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL32453     2022   WABSH   1JJD061X3NL319065   ELF‐1     OR      Portland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 287 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 RETL     DOLLY            DOL‐SA   RETL32454     2022   WABSH   1JJD061X5NL319066   ELF‐1     WA        East Wenatchee
 RETL     DOLLY            DOL‐SA   RETL32455     2022   WABSH   1JJD061X7NL319067   ELF‐1     GA        Marietta
 RETL     DOLLY            DOL‐SA   RETL32456     2022   WABSH   1JJD061X9NL319068   ELF‐1     UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32457     2022   WABSH   1JJD061X0NL319069   ELF‐1     CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL32458     2022   WABSH   1JJD061X7NL319070   ELF‐1     KS        Kansas City
 RETL     DOLLY            DOL‐SA   RETL32459     2022   WABSH   1JJD061X9NL319071   ELF‐1     KY        Bowling Green
 RETL     DOLLY            DOL‐SA   RETL3246      1994   ALLOY   1ALCA216XRS941030   78 IN     CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL32460     2022   WABSH   1JJD061X0NL319072   ELF‐1     AL        Birmingham
 RETL     DOLLY            DOL‐SA   RETL32461     2022   WABSH   1JJD061X2NL319073   ELF‐1     NM        Albuquerque
 RETL     DOLLY            DOL‐SA   RETL32462     2022   WABSH   1JJD061X4NL319074   ELF‐1     MI        Taylor
 RETL     DOLLY            DOL‐SA   RETL32463     2022   WABSH   1JJD061X6NL319075   ELF‐1     OH        Copley
 RETL     DOLLY            DOL‐SA   RETL32464     2022   WABSH   1JJD061X8NL319076   ELF‐1     NC        Charlotte
 RETL     DOLLY            DOL‐SA   RETL32465     2022   WABSH   1JJD061XXNL319077   ELF‐1     IL        Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL32466     2022   WABSH   1JJD061X1NL319078   ELF‐1     CA        Adelanto
 RETL     DOLLY            DOL‐SA   RETL32467     2022   WABSH   1JJD061X3NL319079   ELF‐1     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL32468     2022   WABSH   1JJD061XXNL319080   ELF‐1     WA        Bellingham
 RETL     DOLLY            DOL‐SA   RETL32469     2022   WABSH   1JJD061X1NL319081   ELF‐1     WY        Buffalo
 RETL     DOLLY            DOL‐SA   RETL32470     2022   WABSH   1JJD061X3NL319082   ELF‐1     OH        Richfield
 RETL     DOLLY            DOL‐SA   RETL32471     2022   WABSH   1JJD061X5NL319083   ELF‐1     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL32472     2022   WABSH   1JJD061X7NL319084   ELF‐1     CA        Anderson
 RETL     DOLLY            DOL‐SA   RETL32473     2022   WABSH   1JJD061X9NL319085   ELF‐1     TN        Jackson
 RETL     DOLLY            DOL‐SA   RETL32474     2022   WABSH   1JJD061X0NL319086   ELF‐1     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL32475     2022   WABSH   1JJD061X2NL319087   ELF‐1     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL32476     2022   WABSH   1JJD061X4NL319088   ELF‐1     WI        Oak Creek
 RETL     DOLLY            DOL‐SA   RETL32477     2022   WABSH   1JJD061X6NL319089   ELF‐1     CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL32478     2022   WABSH   1JJD061X2NL319090   ELF‐1     OR        Portland
 RETL     DOLLY            DOL‐SA   RETL32479     2022   WABSH   1JJD061X4NL319091   ELF‐1     MI        Taylor
 RETL     DOLLY            DOL‐SA   RETL3248      1994   ALLOY   1ALCA2163RS941032   78 IN     UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32480     2022   WABSH   1JJD061X6NL319092   ELF‐1     AL        Mobile
 RETL     DOLLY            DOL‐SA   RETL32481     2022   WABSH   1JJD061X8NL319093   ELF‐1     MO        Kansas City
 RETL     DOLLY            DOL‐SA   RETL32482     2022   WABSH   1JJD061XXNL319094   ELF‐1     MI        Jackson
 RETL     DOLLY            DOL‐SA   RETL32483     2022   WABSH   1JJD061X1NL319095   ELF‐1     CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL32484     2022   WABSH   1JJD061X3NL319096   ELF‐1     WA        Seattle
 RETL     DOLLY            DOL‐SA   RETL32485     2022   WABSH   1JJD061X5NL319097   ELF‐1     CA        Pomona
 RETL     DOLLY            DOL‐SA   RETL32486     2022   WABSH   1JJD061X7NL319098   ELF‐1     UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL32487     2022   WABSH   1JJD061X9NL319099   ELF‐1     IL        Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL32488     2022   WABSH   1JJD061X1NL319100   ELF‐1     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL32489     2022   WABSH   1JJD061X3NL319101   ELF‐1     ID        Twin Falls
 RETL     DOLLY            DOL‐SA   RETL32490     2022   WABSH   1JJD061X5NL319102   ELF‐1     KS        Wichita
 RETL     DOLLY            DOL‐SA   RETL32491     2022   WABSH   1JJD061X7NL319103   ELF‐1     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL32492     2022   WABSH   1JJD061X9NL319104   ELF‐1     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL32493     2022   WABSH   1JJD061X0NL319105   ELF‐1     NY        Tonawanda
 RETL     DOLLY            DOL‐SA   RETL32494     2022   WABSH   1JJD061X2NL319106   ELF‐1     CA        Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL32495     2022   WABSH   1JJD061X4NL319107   ELF‐1     MO        Kansas City
 RETL     DOLLY            DOL‐SA   RETL32496     2022   WABSH   1JJD061X6NL319108   ELF‐1     GA        Ringgold
 RETL     DOLLY            DOL‐SA   RETL32497     2022   WABSH   1JJD061X8NL319109   ELF‐1     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL32498     2022   WABSH   1JJD061X4NL319110   ELF‐1     TN        Knoxville
 RETL     DOLLY            DOL‐SA   RETL32499     2022   WABSH   1JJD061X6NL319111   ELF‐1     RI        Cumberland
 RETL     DOLLY            DOL‐SA   RETL3250      1994   ALLOY   1ALCA2167RS941034   78 IN     CA        Pomona
 RETL     DOLLY            DOL‐SA   RETL32500     2022   WABSH   1JJD061X8NL319112   ELF‐1     MI        Taylor
 RETL     DOLLY            DOL‐SA   RETL32501     2022   WABSH   1JJD061XXNL319113   ELF‐1     IL        Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL3252      1994   ALLOY   1ALCA2160RS941036   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3254      1994   ALLOY   1ALCA2164RS941038   78 IN     CA        Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3261      1994   ALLOY   1ALCA2161RS941569   78 IN     CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL3262      1995   ALLOY   1ALCA2164SS951431   78 IN     ID        Meridian
 RETL     DOLLY            DOL‐SA   RETL3264      1995   ALLOY   1ALCA2168SS951433   78 IN     Alberta   Calgary
 RETL     DOLLY            DOL‐SA   RETL3266      1995   ALLOY   1ALCA2161SS951435   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3267      1995   ALLOY   1ALCA2163SS951436   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3268      1995   ALLOY   1ALCA2165SS951437   78 IN     NV        Las Vegas
 RETL     DOLLY            DOL‐SA   RETL3269      1995   ALLOY   1ALCA2167SS951438   78 IN     NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL3270      1995   ALLOY   1ALCA2169SS951439   78 IN     CA        Orange
 RETL     DOLLY            DOL‐SA   RETL3273      1995   ALLOY   1ALCA2169SS951442   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3274      1995   ALLOY   1ALCA2160SS951443   78 IN     UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3275      1995   ALLOY   1ALCA2162SS951444   78 IN     CA        Sacramento
 RETL     DOLLY            DOL‐SA   RETL3277      1995   ALLOY   1ALCA2166SS951446   78 IN     OR        Portland
 RETL     DOLLY            DOL‐SA   RETL3278      1995   ALLOY   1ALCA2168SS951447   78 IN     CA        Orange
 RETL     DOLLY            DOL‐SA   RETL3279      1995   ALLOY   1ALCA216XSS951448   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3280      1995   ALLOY   1ALCA2161SS951449   78 IN     CA        Fontana
 RETL     DOLLY            DOL‐SA   RETL3282      1995   ALLOY   1ALCA216XSS951451   78 IN     OH        Akron
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23           Page 288 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     DOLLY            DOL‐SA   RETL3283     1995   ALLOY   1ALCA2161SS951452   78 IN         AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3284     1995   ALLOY   1ALCA2163SS951453   78 IN         AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3285     1995   ALLOY   1ALCA2165SS951454   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3286     1995   ALLOY   1ALCA2167SS951455   78 IN         PA      Mountain Top
 RETL     DOLLY            DOL‐SA   RETL3287     1995   ALLOY   1ALCA2169SS951456   78 IN         NE      Bridgeport
 RETL     DOLLY            DOL‐SA   RETL3288     1995   ALLOY   1ALCA2160SS951457   78 IN         CA      Fresno
 RETL     DOLLY            DOL‐SA   RETL3289     1995   ALLOY   1ALCA2162SS951458   78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3290     1995   ALLOY   1ALCA2164SS951459   78 IN         OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3291     1995   ALLOY   1ALCA2160SS951460   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3293     1995   ALLOY   1ALCA2164SS951462   78 IN         WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3294     1995   ALLOY   1ALCA2166SS951463   78 IN         CA      Anderson
 RETL     DOLLY            DOL‐SA   RETL3295     1995   ALLOY   1ALCA2168SS951464   78 IN         MT      Missoula
 RETL     DOLLY            DOL‐SA   RETL3296     1995   ALLOY   1ALCA216XSS951465   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3299     1995   ALLOY   1ALCA2165SS951468   78 IN         CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL3300     1995   ALLOY   1ALCA2167SS951469   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3301     1995   ALLOY   1ALCA2163SS951470   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3302     1995   ALLOY   1ALCA2165SS951471   78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3303     1995   ALLOY   1ALCA2167SS951472   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3304     1995   ALLOY   1ALCA2169SS951473   78 IN         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3305     1995   ALLOY   1ALCA2160SS951474   78 IN         CA      Hayward
 RETL     DOLLY            DOL‐SA   RETL3309     1995   ALLOY   1ALCA2168SS951478   78 IN         CO      Clifton
 RETL     DOLLY            DOL‐SA   RETL3310     1995   ALLOY   1ALCA216XSS951479   78 IN         WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL3311     1995   ALLOY   1ALCA2166SS951480   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3312     1995   ALLOY   1ALCA2168SS951481   78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3314     1973   TRLMB   J20855              78 IN         CA      Fontana
 RETL     DOLLY            DOL‐SA   RETL3316     1974   FRUHF   OR27826             78 IN         UT      St. George
 RETL     DOLLY            DOL‐SA   RETL3317     1980   FRUHF   FRT034004           78 IN         CA      Avenal
 RETL     DOLLY            DOL‐SA   RETL3318     1980   FRUHF   FRT034003           78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3319     1977   WILMS   6NN061817           78 IN         CA      Visalia
 RETL     DOLLY            DOL‐SA   RETL3320     1977   COMET   47719162            78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3321     1977   COMET   47719206            78 IN         KS      Wichita
 RETL     DOLLY            DOL‐SA   RETL3322     1977   COMET   47719058            78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3323     1977   COMET   47719130            78 IN         MT      Missoula
 RETL     DOLLY            DOL‐SA   RETL3325     1977   COMET   6NN061794           78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3328     1977   COMET   47719060            78 IN         OR      Redmond
 RETL     DOLLY            DOL‐SA   RETL3329     1977   COMET   47719067            78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3330     1977   COMET   47719166            78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3331     1973   PRLSS   736903              78 IN         WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL3332     1969   PRLSS   698986              78 IN         NV      Las Vegas
 RETL     DOLLY            DOL‐SA   RETL3333     1982   ASMBL   OR021722            78 IN         OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3334     1975   PRLSS   749460              78 IN         CA      Hayward
 RETL     DOLLY            DOL‐SA   RETL3335     1973   PRLSS   736902              78 IN         CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL3336     1972   PRLSS   724857              78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3337     1972   PRLSS   724507              78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3338     1968   PRLSS   688924              78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3339     1972   PRLSS   724856              78 IN         CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL3340     1973   PRLSS   736927              78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3342     1975   PRLSS   749463              78 IN         CA      Santa Maria
 RETL     DOLLY            DOL‐SA   RETL3347     1969   LFKTR   27984               78 IN         OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3349     1986   ASMBL   RETL860001          78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3350     1972   TRLMB   J20494              78 IN         WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL3351     1972   TRLMB   J20505              78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3352     1972   TRLMB   J20507              78 IN         CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3354     1979   FRUHF   FRV776726           78 IN         IL      Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL3355     1979   FRUHF   FRV776731           78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3356     1979   FRUHF   FRV776738           78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3357     1974   TRLMB   K23685              78 IN         CO      Colorado Springs
 RETL     DOLLY            DOL‐SA   RETL3359     1986   ASMBL   RETL860002          78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3360     1986   ASMBL   RETL860003          78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3361     1986   ASMBL   OR38833             78 IN         ID      Twin Falls
 RETL     DOLLY            DOL‐SA   RETL3362     1986   ASMBL   OR38832             78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3363     1987   PACE    87001               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3365     1987   PACE    87003               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3366     1987   PACE    87004               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3367     1987   PACE    87005               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3368     1987   PACE    87006               78 IN         CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3369     1987   PACE    87007               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3370     1987   PACE    87008                             NV      Las Vegas
 RETL     DOLLY            DOL‐SA   RETL3371     1987   PACE    87009               78 IN         OH      Akron
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23           Page 289 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 RETL     DOLLY            DOL‐SA   RETL3372     1987   PACE    87010               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3373     1987   PACE    87011               78 IN         CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL3374     1987   PACE    87012               78 IN         CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3375     1987   PACE    87013               78 IN         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3376     1987   PACE    87014               78 IN         WA      Pasco
 RETL     DOLLY            DOL‐SA   RETL3377     1987   PACE    87015               78 IN         ID      Pocatello
 RETL     DOLLY            DOL‐SA   RETL3379     1985   COMET   1C0C10018FS033328   78 IN         CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3380     1985   COMET   1C0C1001XFS033329   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3381     1985   COMET   1C0C10016FS033330   78 IN         OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3382     1985   COMET   1C0C10018FS033331   78 IN         WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL3383     1985   COMET   1C0C1001XFS033332   78 IN         ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL3384     1985   COMET   1C0C10011FS033333   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3385     1987   PACE    87017               78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3386     1987   PACE    87018               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3387     1988   PACE    88001                             WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3388     1988   PACE    88002               78 IN         WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3389     1988   PACE    88003               78 IN         AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3390     1988   PACE    88004               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3391     1988   PACE    88005               78 IN         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3392     1988   PACE    88006               78 IN         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3394     1988   PACE    88008               78 IN         CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3395     1988   PACE    88009               78 IN         CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3396     1988   PACE    88010               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3397     1988   PACE    88011               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3398     1988   PACE    88012               78 IN         AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3399     1988   PACE    88013               78 IN         NV      Elko
 RETL     DOLLY            DOL‐SA   RETL3400     1988   PACE    88014               78 IN         CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3401     1973   TRLMB   K22513              78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3402     1981   COMET   1C0C1001XBS028240   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3403     1981   COMET   1C0C10013BS028239   78 IN         CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3404     1981   COMET   1C0C10017BS028843   78 IN         CA      Gardena
 RETL     DOLLY            DOL‐SA   RETL3405     1981   COMET   1C0C10019BS028844   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3407     1971   TRLMB   H23895              78 IN         CA      Fontana
 RETL     DOLLY            DOL‐SA   RETL3408     1971   TRLMB   H23843              78 IN         OR      Roseburg
 RETL     DOLLY            DOL‐SA   RETL3409     1979   TRLMB   T50912              78 IN         WA      Pasco
 RETL     DOLLY            DOL‐SA   RETL3411     1988   PACE    88015               78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3412     1988   PACE    88016               78 IN         ID      Twin Falls
 RETL     DOLLY            DOL‐SA   RETL3413     1988   PACE    88017               78 IN         CA      Pomona
 RETL     DOLLY            DOL‐SA   RETL3414     1988   PACE    88018               78 IN         OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3415     1988   PACE    88019               78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3416     1988   PACE    88020               78 IN         ID      Pocatello
 RETL     DOLLY            DOL‐SA   RETL3417     1988   PACE    88021               78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3418     1988   PACE    88022               78 IN         WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3419     1988   PACE    88023               78 IN         ID      Pocatello
 RETL     DOLLY            DOL‐SA   RETL3420     1988   PACE    88024               78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3421     1988   PACE    88025                             UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3422     1988   PACE    88026               78 IN         UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3423     1988   PACE    88027                             CA      Hayward
 RETL     DOLLY            DOL‐SA   RETL3424     1988   PACE    88028               78 IN         CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3425     1989   ALLOY   1ALCA2165KS890221   78 IN         CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3427     1989   ALLOY   1ALCA2169KS890223   78 IN         NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3428     1989   ALLOY   1ALCA2160KS890224   78 IN         OR      Redmond
 RETL     DOLLY            DOL‐SA   RETL3429     1989   ALLOY   1ALCA2162KS890225   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3430     1989   ALLOY   1ALCA2164KS890226   78 IN         PA      Carlisle
 RETL     DOLLY            DOL‐SA   RETL3431     1989   ALLOY   1ALCA2166KS890227   78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3432     1989   ALLOY   1ALCA2168KS890228   78 IN         UT      Beaver
 RETL     DOLLY            DOL‐SA   RETL3433     1989   ALLOY   1ALCA216XKS890229   78 IN         OR      Redmond
 RETL     DOLLY            DOL‐SA   RETL3434     1989   ALLOY   1ALCA2166KS870230   78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3435     1989   PACE    89001               78 IN         CA      Santa Clara
 RETL     DOLLY            DOL‐SA   RETL3436     1989   PACE    89002               78 IN         CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3437     1989   PACE    89003               78 IN         CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3438     1989   PACE    89004               78 IN         OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3439     1989   PACE    89005               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3440     1989   PACE    89006               78 IN         CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3441     1989   PACE    89007               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3442     1989   PACE    89008               78 IN         CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3443     1989   PACE    89009               78 IN         OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3444     1989   PACE    89010               78 IN         OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3445     1989   PACE    89012               78 IN         WA      Spokane
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 290 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     DOLLY            DOL‐SA   RETL3446     1989   PACE    89011               78 IN     WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3447     1989   PACE    89013               78 IN     CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3448     1989   PACE    89014               78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3449     1989   PACE    89015               78 IN     OR      Redmond
 RETL     DOLLY            DOL‐SA   RETL3450     1989   PACE    89016               78 IN     NM      Albuquerque
 RETL     DOLLY            DOL‐SA   RETL3451     1989   PACE    89017               78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3452     1989   PACE    89018               78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3453     1990   PACE    89019               78 IN     TN      Memphis
 RETL     DOLLY            DOL‐SA   RETL3454     1990   PACE    89020               78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3455     1990   PACE    89021               78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3456     1990   PACE    89022               78 IN     CA      Downey
 RETL     DOLLY            DOL‐SA   RETL3457     1990   PACE    89023               78 IN     NV      Las Vegas
 RETL     DOLLY            DOL‐SA   RETL3458     1990   PACE    89024               78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3459     1990   PACE    89025               78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3460     1990   PACE    89026               78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3462     1990   PACE    89028               78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3463     1990   PACE    89029               78 IN     ID      Pocatello
 RETL     DOLLY            DOL‐SA   RETL3464     1990   PACE    89030               78 IN     CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3465     1990   COMET   1C0C10015LS037669   78 IN     OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3466     1990   COMET   1C0C10011LS037670   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3467     1990   COMET   1C0C10013LS037671   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3468     1990   COMET   1C0C10015LS037672   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3469     1990   COMET   1C0C10017LS037673   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3470     1990   COMET   1C0C10019LS037674   78 IN     CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3471     1990   COMET   1C0C10010LS037675   78 IN     CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL3472     1990   COMET   1C0C10012LS037676   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3473     1990   COMET   1C0C10014LS037677   78 IN     CA      Calexico
 RETL     DOLLY            DOL‐SA   RETL3474     1990   COMET   1COC10016LS037678   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3475     1990   COMET   1C0C10018LS037679   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3476     1990   COMET   1C0C10014LS037680   78 IN     ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL3477     1990   COMET   1C0C10016LS037681   78 IN     WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3478     1990   COMET   1C0C10018LS037682   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3479     1990   COMET   1C0C1001XLS037683   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3480     1990   COMET   1C0C10018LS037732   78 IN     CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL3481     1990   COMET   1C0C1001XLS037733   78 IN     WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL3482     1990   COMET   1C0C10011LS037734   78 IN     CA      Hayward
 RETL     DOLLY            DOL‐SA   RETL3483     1990   COMET   1C0C10013LS037735   78 IN     CA      Sacramento
 RETL     DOLLY            DOL‐SA   RETL3484     1990   COMET   1C0C10015LS037736   78 IN     OR      Eugene
 RETL     DOLLY            DOL‐SA   RETL3485     1990   COMET   1C0C10017LS037737   78 IN     OR      Albany
 RETL     DOLLY            DOL‐SA   RETL3486     1990   COMET   1C0C10019LS037738   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3487     1990   COMET   1C0C10010LS037739   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3488     1990   COMET   1C0C10017LS037740   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3489     1990   COMET   1C0C10019LS037741   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3490     1991   ALLOY   1ALCA2164M5910221   78 IN     CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3491     1991   ALLOY   1ALCA2166MS910222   78 IN     CA      Sacramento
 RETL     DOLLY            DOL‐SA   RETL3493     1991   ALLOY   1ALCA216XMS910224   78 IN     ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL3494     1991   ALLOY   1ALCA2161MS910225   78 IN     WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3495     1991   ALLOY   1ALCA2163MS910226   78 IN     CA      Santa Clara
 RETL     DOLLY            DOL‐SA   RETL3496     1991   ALLOY   1ALCA2165MS910227   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3497     1991   ALLOY   1ALCA2167MS910228   78 IN     CA      Sacramento
 RETL     DOLLY            DOL‐SA   RETL3498     1991   ALLOY   1ALCA2169MS910229   78 IN     CA      Fontana
 RETL     DOLLY            DOL‐SA   RETL3500     1991   ALLOY   1ALCA2167MS910231   78 IN     CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL3501     1991   ALLOY   1ALCA2169MS910232   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3502     1991   ALLOY   1ALCA2160MS910233   78 IN     OR      Eugene
 RETL     DOLLY            DOL‐SA   RETL3503     1991   ALLOY   1ALCA2162MS910234   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3504     1991   ALLOY   1ALCA2164MS910235   78 IN     UT      Beaver
 RETL     DOLLY            DOL‐SA   RETL3505     1991   ALLOY   1ALCA2166MS910236   78 IN     WA      East Wenatchee
 RETL     DOLLY            DOL‐SA   RETL3506     1991   ALLOY   1ALCA2168MS910237   78 IN     ID      Twin Falls
 RETL     DOLLY            DOL‐SA   RETL3508     1991   ALLOY   1ALCA2161MS910239   78 IN     ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL3509     1991   ALLOY   1ALCA2168MS910240   78 IN     OR      Eugene
 RETL     DOLLY            DOL‐SA   RETL3511     1991   ALLOY   1ALCA2161MS910242   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3512     1991   ALLOY   1ALCA2163MS910243   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3515     1991   ALLOY   1ALCA216XMS910451   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3516     1991   ALLOY   1ALCA2161MS910452   78 IN     CO      Colorado Springs
 RETL     DOLLY            DOL‐SA   RETL3517     1991   ALLOY   1ALCA2163MS910453   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3518     1991   ALLOY   1ALCA2165MS910454   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3519     1991   ALLOY   1ALCA2167MS910455   78 IN     WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3520     1991   ALLOY   1ALCA2169MS910456   78 IN     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3521     1991   ALLOY   1ALCA2160MS910457   78 IN     UT      Salt Lake City
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 291 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 RETL     DOLLY            DOL‐SA   RETL3522     1991   ALLOY   1ALCA2162MS910458   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3523     1991   ALLOY   1ALCA2164MS910459   78 IN     WA        Union Gap
 RETL     DOLLY            DOL‐SA   RETL3525     1991   ALLOY   1ALCA2162MS910461   78 IN     CA        Orange
 RETL     DOLLY            DOL‐SA   RETL3526     1991   ALLOY   1ALCA2164MS910462   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3528     1991   ALLOY   1ALCA2168MS910464   78 IN     UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3529     1991   ALLOY   1ALCA216XMS910465   78 IN     Alberta   Calgary
 RETL     DOLLY            DOL‐SA   RETL3530     1991   ALLOY   1ALCA216XMS911311   78 IN     CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL3531     1991   ALLOY   1ALCA2161MS911312   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3533     1991   ALLOY   1ALCA2165MS911314   78 IN     CA        Tracy
 RETL     DOLLY            DOL‐SA   RETL3534     1991   ALLOY   1ALCA2167MS911315   78 IN     NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL3535     1991   ALLOY   1ALCA2169MS911316   78 IN     WA        Tacoma
 RETL     DOLLY            DOL‐SA   RETL3536     1991   ALLOY   1ALCA2160MS911317   78 IN     OR        Eugene
 RETL     DOLLY            DOL‐SA   RETL3537     1991   ALLOY   1ALCA2162MS911318   78 IN     CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL3538     1991   ALLOY   1ALCA2164MS911319   78 IN     CA        Downey
 RETL     DOLLY            DOL‐SA   RETL3539     1991   ALLOY   1ALCA2160MS911320   78 IN     CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL3540     1991   ALLOY   1ALCA2165NS921486   78 IN     NM        Albuquerque
 RETL     DOLLY            DOL‐SA   RETL3541     1991   ALLOY   1ALCA2167NS921487   78 IN     OR        Portland
 RETL     DOLLY            DOL‐SA   RETL3542     1991   ALLOY   1ALCA2169NS921488   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3543     1991   ALLOY   1ALCA2160NS921489   78 IN     OR        Central Point
 RETL     DOLLY            DOL‐SA   RETL3544     1991   ALLOY   1ALCA2167NS921490   78 IN     CO        Henderson
 RETL     DOLLY            DOL‐SA   RETL3545     1991   ALLOY   1ALCA2169NS921491   78 IN     CA        Tracy
 RETL     DOLLY            DOL‐SA   RETL3546     1991   ALLOY   1ALCA2160NS921492   78 IN     CA        Tracy
 RETL     DOLLY            DOL‐SA   RETL3547     1991   ALLOY   1ALCA2162NS921493   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3548     1991   ALLOY   1ALCA2164NS921494   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3549     1991   ALLOY   1ALCA2166NS921495   78 IN     CA        Tracy
 RETL     DOLLY            DOL‐SA   RETL3550     1991   ALLOY   1ALCA2168NS921496   78 IN     UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3551     1991   ALLOY   1ALCA216XNS921497   78 IN     ID        Twin Falls
 RETL     DOLLY            DOL‐SA   RETL3552     1991   ALLOY   1ALCA2161NS921498   78 IN     AZ        Phoenix
 RETL     DOLLY            DOL‐SA   RETL3553     1991   ALLOY   1ALCA2163NS921499   78 IN     CA        Orange
 RETL     DOLLY            DOL‐SA   RETL3554     1991   ALLOY   1ALCA2166NS921500   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3555     1991   ALLOY   1ALCA2168NS921501   78 IN     CA        San Diego
 RETL     DOLLY            DOL‐SA   RETL3557     1991   ALLOY   1ALCA2161NS921503   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3558     1991   ALLOY   1ALCA2163NS921504   78 IN     CA        Willows
 RETL     DOLLY            DOL‐SA   RETL3559     1991   ALLOY   1ALCA2165NS921505   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3560     1993   COMET   1C0C10016PS039369   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3561     1993   COMET   1C0C10012PS039370   78 IN     CA        Orange
 RETL     DOLLY            DOL‐SA   RETL3562     1993   COMET   1C0C10014PS039371   78 IN     AZ        Phoenix
 RETL     DOLLY            DOL‐SA   RETL3563     1993   COMET   1C0C10016PS039372   78 IN     CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL3564     1993   COMET   1C0C10018PS039373   78 IN     CA        Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3565     1993   COMET   1C0C1001XPS039374   78 IN     CO        Colorado Springs
 RETL     DOLLY            DOL‐SA   RETL3566     1993   COMET   1C0C10011PS039375   78 IN     CA        West Sacramento
 RETL     DOLLY            DOL‐SA   RETL3567     1993   COMET   1C0C10013PS039376   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3568     1993   COMET   1C0C10015PS039377   78 IN     AZ        Phoenix
 RETL     DOLLY            DOL‐SA   RETL3569     1993   COMET   1C0C10017PS039378   78 IN     OR        Portland
 RETL     DOLLY            DOL‐SA   RETL3570     1993   COMET   1C0C10019PS039379   78 IN     CA        Downey
 RETL     DOLLY            DOL‐SA   RETL3571     1993   COMET   1C0C10015PS039380   78 IN     CA        Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3572     1993   COMET   1C0C10017PS039381   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3573     1993   COMET   1C0C10019PS039382   78 IN     ID        Meridian
 RETL     DOLLY            DOL‐SA   RETL3574     1993   COMET   1C0C10010PS039383   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3575     1993   COMET   1C0C10012PS039384   78 IN     CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL3576     1993   COMET   1C0C10014PS039385   78 IN     ID        Twin Falls
 RETL     DOLLY            DOL‐SA   RETL3577     1993   COMET   1C0C10016PS039386   78 IN     UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3578     1993   COMET   1C0C10018PS039387   78 IN     CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL3579     1993   COMET   1C0C1001XPS039388   78 IN     MT        Missoula
 RETL     DOLLY            DOL‐SA   RETL3580     1993   COMET   1C0C10011PS039389   78 IN     CA        Fontana
 RETL     DOLLY            DOL‐SA   RETL3581     1993   COMET   1C0C10018PS039390   78 IN     WA        Seattle
 RETL     DOLLY            DOL‐SA   RETL3582     1993   COMET   1C0C1001XPS039391   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3583     1993   COMET   1C0C10011PS039392   78 IN     CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL3584     1993   COMET   1C0C10013PS039393   78 IN     CA        San Diego
 RETL     DOLLY            DOL‐SA   RETL3585     1993   COMET   1C0C10017PS039879   78 IN     NV        Sparks
 RETL     DOLLY            DOL‐SA   RETL3586     1993   COMET   1C0C10013PS039880   78 IN     WA        Seattle
 RETL     DOLLY            DOL‐SA   RETL3587     1993   COMET   1C0C10015PS039881   78 IN     CA        Bloomington
 RETL     DOLLY            DOL‐SA   RETL3588     1993   COMET   1C0C10017PS039882   78 IN     UT        Beaver
 RETL     DOLLY            DOL‐SA   RETL3589     1993   COMET   1C0C10019PS039883   78 IN     CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL3590     1993   COMET   1C0C10010PS039884   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3591     1993   COMET   1C0C10012PS039885   78 IN     UT        Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3592     1993   COMET   1C0C10014PS039886   78 IN     CO        Aurora
 RETL     DOLLY            DOL‐SA   RETL3593     1993   COMET   1C0C10016PS039887   78 IN     OH        Akron
 RETL     DOLLY            DOL‐SA   RETL3594     1993   COMET   1C0C10018PS039888   78 IN     OR        Central Point
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 292 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     DOLLY            DOL‐SA   RETL3595     1993   COMET   1C0C1001XPS039889   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3596     1993   COMET   1C0C10016PS039890   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3597     1993   COMET   1C0C10018PS039891   78 IN     CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3598     1993   COMET   1C0C1001XPS039892   78 IN     NV      Carlin
 RETL     DOLLY            DOL‐SA   RETL3599     1993   COMET   1C0C10011PS039893   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3600     1993   COMET   1C0C10013PS039894   78 IN     CA      Anderson
 RETL     DOLLY            DOL‐SA   RETL3601     1993   COMET   1C0C10015PS039895   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3602     1993   COMET   1C0C10017PS039896   78 IN     CA      Anderson
 RETL     DOLLY            DOL‐SA   RETL3603     1993   COMET   1C0C10019PS039897   78 IN     WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL3604     1993   COMET   1C0C10010PS039898   78 IN     CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL3605     1993   COMET   1C0C10012PS039899   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3606     1993   COMET   1C0C10015PS039900   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3607     1993   COMET   1C0C10017PS039901   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3608     1993   COMET   1C0C10019PS039902   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3609     1993   COMET   1C0C10010PS039903   78 IN     WA      Pasco
 RETL     DOLLY            DOL‐SA   RETL3610     1993   COMET   1C0C10012PS039904   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3611     1993   COMET   1C0C10014PS039905   78 IN     OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3612     1993   COMET   1C0C10016PS039906   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3613     1993   COMET   1C0C10018PS039907   78 IN     WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL3614     1993   COMET   1C0C1001XPS039908   78 IN     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3615     1993   COMET   1C0C10011PS039909   78 IN     CA      West Sacramento
 RETL     DOLLY            DOL‐SA   RETL3616     1993   COMET   1C0C10018PS039910   78 IN     CA      Fontana
 RETL     DOLLY            DOL‐SA   RETL3617     1993   COMET   1C0C1001XPS039911   78 IN     OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3618     1993   COMET   1C0C10011PS039912   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3619     1993   COMET   1C0C10013PS039913   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3620     1993   COMET   1C0C10015PS039914   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3621     1993   COMET   1C0C10017PS039915   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3622     1993   COMET   1C0C10019PS039916   78 IN     CA      Eureka
 RETL     DOLLY            DOL‐SA   RETL3623     1994   ALLOY   1ALCA2161RS940851   78 IN     OR      Roseburg
 RETL     DOLLY            DOL‐SA   RETL3625     1994   ALLOY   1ALCA2165RS940853   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3626     1994   ALLOY   1ALCA2167RS940854   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3627     1994   ALLOY   1ALCA2169RS940855   78 IN     CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3628     1994   ALLOY   1ALCA2160RS940856   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3629     1994   ALLOY   1ALCA2162RS940857   78 IN     WA      Pasco
 RETL     DOLLY            DOL‐SA   RETL3630     1994   ALLOY   1ALCA2164RS940858   78 IN     WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3631     1994   ALLOY   1ALCA2166RS940859   78 IN     CA      Visalia
 RETL     DOLLY            DOL‐SA   RETL3632     1994   ALLOY   1ALCA2162RS940860   78 IN     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3633     1994   ALLOY   1ALCA2164RS940861   78 IN     CA      Visalia
 RETL     DOLLY            DOL‐SA   RETL3634     1994   ALLOY   1ALCA2166RS940862   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3635     1994   ALLOY   1ALCA2168RS940863   78 IN     CA      Fresno
 RETL     DOLLY            DOL‐SA   RETL3636     1994   ALLOY   1ALCA216XRS940864   78 IN     ID      Pocatello
 RETL     DOLLY            DOL‐SA   RETL3637     1994   ALLOY   1ALCA2161RS940865   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3638     1994   ALLOY   1ALCA2163RS940866   78 IN     CA      Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3639     1994   ALLOY   1ALCA2165RS940867   78 IN     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3640     1994   ALLOY   1ALCA2167RS940868   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3641     1994   ALLOY   1ALCA2169RS940869   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3642     1994   ALLOY   1ALCA2165RS940870   78 IN     OR      Hermiston
 RETL     DOLLY            DOL‐SA   RETL3643     1994   ALLOY   1ALCA2167RS940871   78 IN     CA      Fresno
 RETL     DOLLY            DOL‐SA   RETL3644     1994   ALLOY   1ALCA2169RS940872   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3645     1994   ALLOY   1ALCA2160RS940873   78 IN     WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL3646     1994   ALLOY   1ALCA2162RS940874   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3647     1994   ALLOY   1ALCA2164RS940875   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3648     1994   ALLOY   1ALCA2166RS940876   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3649     1994   ALLOY   1ALCA2168RS940877   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3650     1994   ALLOY   1ALCA216XRS940878   78 IN     FL      Orlando
 RETL     DOLLY            DOL‐SA   RETL3652     1994   ALLOY   1ALCA2168RS940880   78 IN     CA      Santa Rosa
 RETL     DOLLY            DOL‐SA   RETL3653     1994   ALLOY   1ALCA216XRS940881   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3654     1994   ALLOY   1ALCA2161RS940882   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3655     1994   ALLOY   1ALCA2163RS940883   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3658     1994   ALLOY   1ALCA2169RS940886   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3659     1994   ALLOY   1ALCA2160RS940887   78 IN     CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL3660     1994   ALLOY   1ALCA2162RS940888   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3661     1994   ALLOY   1ALCA2164RS940889   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3662     1994   ALLOY   1ALCA2160RS940890   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3663     1994   ALLOY   1ALCA2162RS940891   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3664     1994   ALLOY   1ALCA2164RS940892   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3665     1994   ALLOY   1ALCA2166RS940893   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3666     1994   ALLOY   1ALCA2168RS940894   78 IN     IN      Indianapolis
 RETL     DOLLY            DOL‐SA   RETL3668     1994   ALLOY   1ALCA2161RS940896   78 IN     CO      Aurora
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 293 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     DOLLY            DOL‐SA   RETL3670     1994   ALLOY   1ALCA2165RS940898   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3671     1994   ALLOY   1ALCA2167RS940899   78 IN     UT               Beaver
 RETL     DOLLY            DOL‐SA   RETL3672     1994   ALLOY   1ALCA216XRS940900   78 IN     NM               Albuquerque
 RETL     DOLLY            DOL‐SA   RETL3673     1995   ALLOY   1ALCA2164SS950571   78 IN     WA               Spokane
 RETL     DOLLY            DOL‐SA   RETL3674     1995   ALLOY   1ALCA2166SS950572   78 IN     WA               Pasco
 RETL     DOLLY            DOL‐SA   RETL3676     1995   ALLOY   1ALCA216XSS950574   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3677     1995   ALLOY   1ALCA2161SS950575   78 IN     CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL3678     1995   ALLOY   1ALCA2163SS950576   78 IN     CA               Santa Clara
 RETL     DOLLY            DOL‐SA   RETL3679     1995   ALLOY   1ALCA2165SS950577   78 IN     ID               Pocatello
 RETL     DOLLY            DOL‐SA   RETL3681     1995   ALLOY   1ALCA2169SS950579   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3682     1995   ALLOY   1ALCA2165SS950580   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3685     1995   ALLOY   1ALCA2160SS950583   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3686     1995   ALLOY   1ALCA2162SS950584   78 IN     ID               Pocatello
 RETL     DOLLY            DOL‐SA   RETL3688     1995   ALLOY   1ALCA2166SS950586   78 IN     PA               Carlisle
 RETL     DOLLY            DOL‐SA   RETL3690     1995   ALLOY   1ALCA216XSS950588   78 IN     WA               Seattle
 RETL     DOLLY            DOL‐SA   RETL3692     1995   ALLOY   1ALCA2168SS950590   78 IN     OR               Central Point
 RETL     DOLLY            DOL‐SA   RETL3693     1995   ALLOY   1ALCA216XSS950591   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3695     1995   ALLOY   1ALCA2163SS950593   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3696     1995   ALLOY   1ALCA2165SS950594   78 IN     NE               Bridgeport
 RETL     DOLLY            DOL‐SA   RETL3698     1995   ALLOY   1ALCA2169SS951831   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3700     1995   ALLOY   1ALCA2162SS951833   78 IN     CA               Hayward
 RETL     DOLLY            DOL‐SA   RETL3702     1995   ALLOY   1ALCA2166SS951835   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3703     1995   ALLOY   1ALCA2168SS951836   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3704     1995   ALLOY   1ALCA216XSS951837   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3705     1995   ALLOY   1ALCA2161SS951838   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3708     1995   ALLOY   1ALCA2161SS951841   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3710     1995   ALLOY   1ALCA2165SS951843   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3711     1995   ALLOY   1ALCA2167SS951844   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3712     1995   ALLOY   1ALCA2169SS951845   78 IN     OR               La Grande
 RETL     DOLLY            DOL‐SA   RETL3714     1995   ALLOY   1ALCA2162SS951847   78 IN     CA               San Diego
 RETL     DOLLY            DOL‐SA   RETL3715     1995   ALLOY   1ALCA2164SS951848   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3717     1995   ALLOY   1ALCA2162SS951850   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3718     1995   ALLOY   1ALCA2164SS951851   78 IN     CA               Hayward
 RETL     DOLLY            DOL‐SA   RETL3720     1995   ALLOY   1ALCA2168SS951853   78 IN     AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL3721     1995   ALLOY   1ALCA216XSS951854   78 IN     ID               Twin Falls
 RETL     DOLLY            DOL‐SA   RETL3722     1995   ALLOY   1ALCA2161SS951855   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3723     1995   ALLOY   1ALCA2163SS951856   78 IN     CA               Santa Rosa
 RETL     DOLLY            DOL‐SA   RETL3724     1995   ALLOY   1ALCA2165SS951857   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3725     1995   ALLOY   1ALCA2167SS951858   78 IN     UT               Beaver
 RETL     DOLLY            DOL‐SA   RETL3726     1995   ALLOY   1ALCA2169SS951859   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3727     1995   ALLOY   1ALCA2165SS951860   78 IN     WA               East Wenatchee
 RETL     DOLLY            DOL‐SA   RETL3728     1995   ALLOY   1ALCA2167SS951861   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3729     1995   ALLOY   1ALCA2169SS951862   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3730     1995   ALLOY   1ALCA2160SS951863   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3732     1995   ALLOY   1ALCA2164SS951865   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3733     1995   ALLOY   1ALCA2166SS951866   78 IN     British Columbia Burnaby
 RETL     DOLLY            DOL‐SA   RETL3734     1995   ALLOY   1ALCA2168SS951867   78 IN     CO               Henderson
 RETL     DOLLY            DOL‐SA   RETL3735     1995   ALLOY   1ALCA216XSS951868   78 IN     WA               Seattle
 RETL     DOLLY            DOL‐SA   RETL3736     1995   ALLOY   1ALCA2161SS951869   78 IN     ID               Meridian
 RETL     DOLLY            DOL‐SA   RETL3738     1995   ALLOY   1ALCA216XSS951871   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3739     1995   ALLOY   1ALCA2161SS951872   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3740     1995   ALLOY   1ALCA2163SS951873   78 IN     WA               Tacoma
 RETL     DOLLY            DOL‐SA   RETL3741     1995   ALLOY   1ALCA2165SS951874   78 IN     CA               Willows
 RETL     DOLLY            DOL‐SA   RETL3742     1995   ALLOY   1ALCA2167SS951875   78 IN     CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL3743     1995   ALLOY   1ALCA2169SS951876   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3744     1995   ALLOY   1ALCA2160SS951877   78 IN     ID               Twin Falls
 RETL     DOLLY            DOL‐SA   RETL3745     1995   ALLOY   1ALCA2162SS951878   78 IN     IL               Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL3746     1995   ALLOY   1ALCA2164SS951879   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3748     1995   ALLOY   1ALCA2162SS951881   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3749     1995   ALLOY   1ALCA2164SS951882   78 IN     MN               Burnsville
 RETL     DOLLY            DOL‐SA   RETL3750     1995   ALLOY   1ALCA2166SS951883   78 IN     NV               Las Vegas
 RETL     DOLLY            DOL‐SA   RETL3751     1995   ALLOY   1ALCA2168SS951884   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3753     1995   ALLOY   1ALCA2161SS951886   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3754     1995   ALLOY   1ALCA2163SS951887   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3755     1995   ALLOY   1ALCA2165SS951888   78 IN     OR               Eugene
 RETL     DOLLY            DOL‐SA   RETL3756     1995   ALLOY   1ALCA2167SS951889   78 IN     CO               Henderson
 RETL     DOLLY            DOL‐SA   RETL3757     1995   ALLOY   1ALCA2163SS951890   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3758     1995   ALLOY   1ALCA2165SS951891   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3761     1995   ALLOY   1ALCA2160SS951894   78 IN     OH               Akron
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 294 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     DOLLY            DOL‐SA   RETL3762     1995   ALLOY   1ALCA2162SS951895   78 IN     WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL3763     1995   ALLOY   1ALCA2164SS951896   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3764     1995   ALLOY   1ALCA2166SS951897   78 IN     CA      Fontana
 RETL     DOLLY            DOL‐SA   RETL3765     1995   ALLOY   1ALCA2168SS951898   78 IN     WA      Everett
 RETL     DOLLY            DOL‐SA   RETL3766     1995   ALLOY   1ALCA216XSS951899   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3767     1995   ALLOY   1ALCA2162SS951900   78 IN     OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3768     1995   ALLOY   1ALCA2164SS951901   78 IN     MT      Missoula
 RETL     DOLLY            DOL‐SA   RETL3769     1995   ALLOY   1ALCA2166SS951902   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3770     1995   ALLOY   1ALCA2168SS951903   78 IN     WA      Union Gap
 RETL     DOLLY            DOL‐SA   RETL3771     1995   ALLOY   1ALCA216XSS951904   78 IN     CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL3772     1995   ALLOY   1ALCA2161SS951905   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3773     1996   ALLOY   1ALCA216XTS961351   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3774     1996   ALLOY   1ALCA2161TS961352   78 IN     CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3775     1996   ALLOY   1ALCA2163TS961353   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3777     1996   ALLOY   1ALCA2167TS961355   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3778     1996   ALLOY   1ALCA2169TS961356   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3779     1996   ALLOY   1ALCA2160TS961357   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3780     1996   ALLOY   1ALCA2162TS961358   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3783     1996   ALLOY   1ALCA2162TS961361   78 IN     CO      Henderson
 RETL     DOLLY            DOL‐SA   RETL3784     1996   ALLOY   1ALCA2164TS961362   78 IN     TX      Abilene
 RETL     DOLLY            DOL‐SA   RETL3785     1996   ALLOY   1ALCA2166TS961363   78 IN     WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL3786     1996   ALLOY   1ALCA2168TS961364   78 IN     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3787     1996   ALLOY   1ALCA216XTS961365   78 IN     TN      Memphis
 RETL     DOLLY            DOL‐SA   RETL3790     1996   ALLOY   1ALCA2165TS961368   78 IN     CA      Fresno
 RETL     DOLLY            DOL‐SA   RETL3791     1996   ALLOY   1ALCA2167TS961369   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3792     1996   ALLOY   1ALCA2163TS961370   78 IN     AZ      Tucson
 RETL     DOLLY            DOL‐SA   RETL3793     1996   ALLOY   1ALCA2165TS961371   78 IN     CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3795     1996   ALLOY   1ALCA2169TS961373   78 IN     OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3796     1996   ALLOY   1ALCA2160TS961374   78 IN     OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3799     1996   ALLOY   1ALCA2166TS961377   78 IN     AZ      Tucson
 RETL     DOLLY            DOL‐SA   RETL3800     1996   ALLOY   1ALCA2168TS961378   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3801     1996   ALLOY   1ALCA216XTS961379   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3802     1996   ALLOY   1ALCA2166TS961380   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3803     1996   ALLOY   1ALCA2168TS961381   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3804     1996   ALLOY   1ALCA216XTS961382   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3806     1996   ALLOY   1ALCA2163TS961384   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3807     1996   ALLOY   1ALCA2165TS961385   78 IN     CA      Fontana
 RETL     DOLLY            DOL‐SA   RETL3808     1996   ALLOY   1ALCA2167TS961386   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3809     1996   ALLOY   1ALCA2169TS961387   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3810     1996   ALLOY   1ALCA2160TS961388   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3811     1996   ALLOY   1ALCA2162TS961389   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3812     1996   ALLOY   1ALCA2169TS961390   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3813     1996   ALLOY   1ALCA2160TS961391   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3814     1996   ALLOY   1ALCA2162TS961392   78 IN     OR      Central Point
 RETL     DOLLY            DOL‐SA   RETL3815     1996   ALLOY   1ALCA2164TS961393   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3817     1996   ALLOY   1ALCA2168TS961395   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3818     1996   ALLOY   1ALCA216XTS961396   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3819     1996   ALLOY   1ALCA2161TS961397   78 IN     WA      East Wenatchee
 RETL     DOLLY            DOL‐SA   RETL3820     1996   ALLOY   1ALCA2163TS961398   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3821     1996   ALLOY   1ALCA2165TS961399   78 IN     GA      Marietta
 RETL     DOLLY            DOL‐SA   RETL3822     1996   ALLOY   1ALCA2168TS961400   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3823     1996   ALLOY   1ALCA216XTS961401   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3824     1996   ALLOY   1ALCA2161TS961402   78 IN     ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL3825     1996   ALLOY   1ALCA2163TS961403   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3826     1996   ALLOY   1ALCA2165TS961404   78 IN     CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL3827     1996   ALLOY   1ALCA2167TS961405   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3829     1996   ALLOY   1ALCA2160TS961407   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3830     1996   ALLOY   1ALCA2162TS961408   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3831     1996   ALLOY   1ALCA2164TS961409   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3832     1996   ALLOY   1ALCA2160TS961410   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3834     1996   ALLOY   1ALCA2164TS961412   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3835     1996   ALLOY   1ALCA2166TS961413   78 IN     WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3836     1996   ALLOY   1ALCA2168TS961414   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3837     1996   ALLOY   1ALCA216XTS961415   78 IN     CA      Orange
 RETL     DOLLY            DOL‐SA   RETL3838     1996   ALLOY   1ALCA2161TS961416   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3839     1996   ALLOY   1ALCA2163TS961417   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3840     1996   ALLOY   1ALCA2165TS961418   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3841     1996   ALLOY   1ALCA2167TS961419   78 IN     TX      Irving
 RETL     DOLLY            DOL‐SA   RETL3842     1996   ALLOY   1ALCA2163TS961420   78 IN     WA      Spokane
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 295 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     DOLLY            DOL‐SA   RETL3844     1996   ALLOY   1ALCA2167TS961422   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3845     1996   ALLOY   1ALCA2169TS961423   78 IN     CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL3846     1996   ALLOY   1ALCA2160TS961424   78 IN     CA               Anderson
 RETL     DOLLY            DOL‐SA   RETL3847     1996   ALLOY   1ALCA2162TS961425   78 IN     AZ               Flagstaff
 RETL     DOLLY            DOL‐SA   RETL3849     1996   ALLOY   1ALCA2166TS961427   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3850     1996   ALLOY   1ALCA2168TS961428   78 IN     British Columbia Burnaby
 RETL     DOLLY            DOL‐SA   RETL3851     1996   ALLOY   1ALCA216XTS961429   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3852     1996   ALLOY   1ALCA2166TS961430   78 IN     WA               Pasco
 RETL     DOLLY            DOL‐SA   RETL3855     1997   EGHPN   1E9501139V1016056   78 IN     CA               Sun Valley
 RETL     DOLLY            DOL‐SA   RETL3856     1997   EGHPN   1E9501130V1016057   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3857     1997   EGHPN   1E9501132V1016058   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3860     1997   EGHPN   1E9501132V1016061   78 IN     ID               Meridian
 RETL     DOLLY            DOL‐SA   RETL3861     1997   EGHPN   1E9501134V1016062   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3862     1997   EGHPN   1E9501136V1016063   78 IN     ID               Pocatello
 RETL     DOLLY            DOL‐SA   RETL3863     1997   EGHPN   1E9501138V1016064   78 IN     NV               Las Vegas
 RETL     DOLLY            DOL‐SA   RETL3865     1997   EGHPN   1E9501131V1016066   78 IN     OR               Central Point
 RETL     DOLLY            DOL‐SA   RETL3866     1997   EGHPN   1E9501133V1016067   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3867     1997   EGHPN   1E9501135V1016068   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3868     1997   EGHPN   1E9501137V1016069   78 IN     CA               Pico Rivera
 RETL     DOLLY            DOL‐SA   RETL3869     1997   EGHPN   1E9501133V1016070   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3870     1997   EGHPN   1E9501135V1016071   78 IN     CA               San Diego
 RETL     DOLLY            DOL‐SA   RETL3872     1997   EGHPN   1E9501137V1016073   78 IN     IL               Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL3873     1997   EGHPN   1E9501130V1016074   78 IN     WA               Spokane
 RETL     DOLLY            DOL‐SA   RETL3875     1998   ALLOY   1ALCA2163WS980232   78 IN     CO               Aurora
 RETL     DOLLY            DOL‐SA   RETL3876     1998   ALLOY   1ALCA2165WS980233   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3877     1998   ALLOY   1ALCA2167WS980234   78 IN     CA               Santa Clara
 RETL     DOLLY            DOL‐SA   RETL3878     1998   ALLOY   1ALCA2169WS980235   78 IN     CA               Ventura
 RETL     DOLLY            DOL‐SA   RETL3879     1998   ALLOY   1ALCA2160WS980236   78 IN     NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL3880     1998   ALLOY   1ALCA2162WS980237   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3881     1998   ALLOY   1ALCA2164WS980238   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3882     1998   ALLOY   1ALCA2166WS980239   78 IN     CA               Sacramento
 RETL     DOLLY            DOL‐SA   RETL3883     1998   ALLOY   1ALCA2162WS980240   78 IN     ID               Meridian
 RETL     DOLLY            DOL‐SA   RETL3884     1998   ALLOY   1ALCA2164WS980241   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3885     1998   ALLOY   1ALCA2166WS980242   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3887     1998   ALLOY   1ALCA216XWS980244   78 IN     CA               Santa Rosa
 RETL     DOLLY            DOL‐SA   RETL3888     1998   ALLOY   1ALCA2161WS980245   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3889     1998   ALLOY   1ALCA2163WS980246   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3890     1998   ALLOY   1ALCA2165WS980247   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3891     1998   ALLOY   1ALCA2167WS980248   78 IN     CO               Colorado Springs
 RETL     DOLLY            DOL‐SA   RETL3892     1998   ALLOY   1ALCA2169WS980249   78 IN     OH               Akron
 RETL     DOLLY            DOL‐SA   RETL3894     1998   ALLOY   1ALCA2167WS980251   78 IN     NV               Sparks
 RETL     DOLLY            DOL‐SA   RETL3895     1998   ALLOY   1ALCA2169WS980252   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3896     1998   ALLOY   1ALCA2160WS980253   78 IN     UT               St. George
 RETL     DOLLY            DOL‐SA   RETL3897     1998   ALLOY   1ALCA2162WS980254   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3898     1998   ALLOY   1ALCA2164WS980255   78 IN     CA               San Diego
 RETL     DOLLY            DOL‐SA   RETL3899     1998   ALLOY   1ALCA2166WS980256   78 IN     AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL3900     1998   ALLOY   1ALCA2168WS980257   78 IN     MT               Missoula
 RETL     DOLLY            DOL‐SA   RETL3901     1998   ALLOY   1ALCA216XWS980258   78 IN     WA               Tacoma
 RETL     DOLLY            DOL‐SA   RETL3902     1998   ALLOY   1ALCA2161WS980259   78 IN     WA               Tacoma
 RETL     DOLLY            DOL‐SA   RETL3903     1998   ALLOY   1ALCA2168WS980260   78 IN     WA               Spokane
 RETL     DOLLY            DOL‐SA   RETL3905     1998   ALLOY   1ALCA2161WS980262   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3907     1998   ALLOY   1ALCA2165WS980264   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3908     1998   ALLOY   1ALCA2167WS980265   78 IN     Alberta          Calgary
 RETL     DOLLY            DOL‐SA   RETL3909     1998   ALLOY   1ALCA2169WS980266   78 IN     CA               Orange
 RETL     DOLLY            DOL‐SA   RETL3910     1998   ALLOY   1ALCA2160WS980267   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3911     1998   ALLOY   1ALCA2162WS980268   78 IN     CA               San Diego
 RETL     DOLLY            DOL‐SA   RETL3912     1998   ALLOY   1ALCA2164WS980269   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3913     1998   ALLOY   1ALCA2160WS980270   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3914     1998   ALLOY   1ALCA2162WS980271   78 IN     CA               Fresno
 RETL     DOLLY            DOL‐SA   RETL3915     1998   ALLOY   1ALCA2164WS980272   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3916     1998   ALLOY   1ALCA2166WS980273   78 IN     CA               San Diego
 RETL     DOLLY            DOL‐SA   RETL3917     1998   ALLOY   1ALCA2168WS980274   78 IN     OR               Portland
 RETL     DOLLY            DOL‐SA   RETL3918     1998   ALLOY   1ALCA216XWS980275   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3919     1998   ALLOY   1ALCA2161WS980276   78 IN     AZ               Phoenix
 RETL     DOLLY            DOL‐SA   RETL3920     1998   ALLOY   1ALCA2163WS980277   78 IN     UT               Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3921     1998   ALLOY   1ALCA2165WS980278   78 IN     CA               Tracy
 RETL     DOLLY            DOL‐SA   RETL3922     1998   ALLOY   1ALCA2167WS980279   78 IN     IL               Chicago Heights
 RETL     DOLLY            DOL‐SA   RETL3923     1998   ALLOY   1ALCA2163WS980280   78 IN     CA               Bloomington
 RETL     DOLLY            DOL‐SA   RETL3925     1998   ALLOY   1ALCA2167WS980282   78 IN     GA               Marietta
                     Case 23-11069-CTG           Doc 969-1          Filed 10/26/23       Page 296 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     DOLLY            DOL‐SA   RETL3926      1998   ALLOY   1ALCA2169WS980283   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3927      1998   ALLOY   1ALCA2160WS980284   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3928      1998   ALLOY   1ALCA2162WS980285   78 IN     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3929      1998   ALLOY   1ALCA2164WS980286   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3930      1998   ALLOY   1ALCA2166WS980287   78 IN     CA      Downey
 RETL     DOLLY            DOL‐SA   RETL3931      1998   ALLOY   1ALCA2168WS980288   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3932      1998   ALLOY   1ALCA216XWS980289   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3933      1998   ALLOY   1ALCA2166WS980290   78 IN     CA      Sun Valley
 RETL     DOLLY            DOL‐SA   RETL3935      1998   ALLOY   1ALCA216XWS980292   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3936      1998   ALLOY   1ALCA2161WS980293   78 IN     NM      Albuquerque
 RETL     DOLLY            DOL‐SA   RETL3937      1998   ALLOY   1ALCA2163WS980294   78 IN     WA      Pasco
 RETL     DOLLY            DOL‐SA   RETL3938      1998   ALLOY   1ALCA2165WS980295   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3939      1998   ALLOY   1ALCA2167WS980296   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3940      1998   ALLOY   1ALCA2169WS980297   78 IN     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3941      1998   ALLOY   1ALCA2160WS980298   78 IN     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3943      1998   ALLOY   1ALCA2165WS980300   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3944      1998   ALLOY   1ALCA2166WS980466   78 IN     WA      East Wenatchee
 RETL     DOLLY            DOL‐SA   RETL3945      1998   ALLOY   1ALCA2168WS980467   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3947      1998   ALLOY   1ALCA2161WS980469   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3948      1998   ALLOY   1ALCA2168WS980470   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3950      1998   ALLOY   1ALCA2161WS980472   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3951      1998   ALLOY   1ALCA2163WS980473   78 IN     NV      Elko
 RETL     DOLLY            DOL‐SA   RETL3952      1998   ALLOY   1ALCA2165WS980474   78 IN     WA      Pasco
 RETL     DOLLY            DOL‐SA   RETL3953      1998   ALLOY   1ALCA2164WS980949   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3954      1998   ALLOY   1ALCA2160WS980950   78 IN     NV      Las Vegas
 RETL     DOLLY            DOL‐SA   RETL3956      1998   ALLOY   1ALCA2164WS980952   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3959      1998   ALLOY   1ALCA216XWS980955   78 IN     OR      Eugene
 RETL     DOLLY            DOL‐SA   RETL3960      1998   ALLOY   1ALCA2161WS980956   78 IN     AZ      Lake Havasu City
 RETL     DOLLY            DOL‐SA   RETL3961      1998   ALLOY   1ALCA2163WS980957   78 IN     AZ      Lake Havasu City
 RETL     DOLLY            DOL‐SA   RETL3962      1998   ALLOY   1ALCA2165WS980958   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3963      1998   ALLOY   1ALCA2167WS980959   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3964      1998   ALLOY   1ALCA2163WS980960   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3965      1998   ALLOY   1ALCA2165WS980961   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3966      1998   ALLOY   1ALCA2167WS980962   78 IN     CA      Ventura
 RETL     DOLLY            DOL‐SA   RETL3967      1998   ALLOY   1ALCA2169WS980963   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3968      1998   ALLOY   1ALCA2160WS980964   78 IN     CA      Santa Maria
 RETL     DOLLY            DOL‐SA   RETL3969      1998   ALLOY   1ALCA2162WS980965   78 IN     WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL3970      1998   ALLOY   1ALCA2164WS980966   78 IN     CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL3971      1998   ALLOY   1ALCA2166WS980967   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3972      1998   ALLOY   1ALCA2168WS980968   78 IN     CA      Tracy
 RETL     DOLLY            DOL‐SA   RETL3973      1998   ALLOY   1ALCA216XWS980969   78 IN     UT      Salt Lake City
 RETL     DOLLY            DOL‐SA   RETL3975      1998   ALLOY   1ALCA2168WS980971   78 IN     TX      McAllen
 RETL     DOLLY            DOL‐SA   RETL3976      1998   ALLOY   1ALCA216XWS980972   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3977      1998   ALLOY   1ALCA2161WS980973   78 IN     WA      Tacoma
 RETL     DOLLY            DOL‐SA   RETL3978      1998   ALLOY   1ALCA2163WS980974   78 IN     CO      Aurora
 RETL     DOLLY            DOL‐SA   RETL3979      1998   ALLOY   1ALCA2165WS980975   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3980      1998   ALLOY   1ALCA2167WS980976   78 IN     CA      San Diego
 RETL     DOLLY            DOL‐SA   RETL3981      1998   ALLOY   1ALCA2169WS980977   78 IN     AZ      Flagstaff
 RETL     DOLLY            DOL‐SA   RETL3982      1998   ALLOY   1ALCA2160WS980978   78 IN     OH      Akron
 RETL     DOLLY            DOL‐SA   RETL3983      1998   ALLOY   1ALCA2162WS980979   78 IN     CA      Fresno
 RETL     DOLLY            DOL‐SA   RETL3985      1998   ALLOY   1ALCA2160WS980981   78 IN     NV      Sparks
 RETL     DOLLY            DOL‐SA   RETL3986      1998   ALLOY   1ALCA2162WS980982   78 IN     ID      Twin Falls
 RETL     DOLLY            DOL‐SA   RETL3987      1998   ALLOY   1ALCA2164WS980983   78 IN     CO      Colorado Springs
 RETL     DOLLY            DOL‐SA   RETL3988      1998   ALLOY   1ALCA2166WS980984   78 IN     CA      Adelanto
 RETL     DOLLY            DOL‐SA   RETL3989      1998   ALLOY   1ALCA2168WS980985   78 IN     WA      Seattle
 RETL     DOLLY            DOL‐SA   RETL3990      1998   ALLOY   1ALCA216XWS980986   78 IN     NV      Elko
 RETL     DOLLY            DOL‐SA   RETL3991      1998   ALLOY   1ALCA2161WS980987   78 IN     ID      Meridian
 RETL     DOLLY            DOL‐SA   RETL3992      1999   ALLOY   5RECF2160XS990131   78 IN     AZ      Phoenix
 RETL     DOLLY            DOL‐SA   RETL3993      1999   ALLOY   5RECF2162XS990132   78 IN     WA      Everett
 RETL     DOLLY            DOL‐SA   RETL3994      1999   ALLOY   5RECF2164XS990133   78 IN     NM      Albuquerque
 RETL     DOLLY            DOL‐SA   RETL3995      1999   ALLOY   5RECF2166XS990134   78 IN     WA      Spokane
 RETL     DOLLY            DOL‐SA   RETL3996      1999   ALLOY   5RECF2168XS990135   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3997      1999   ALLOY   5RECF216XXS990136   78 IN     OR      Portland
 RETL     DOLLY            DOL‐SA   RETL3998      1999   ALLOY   5RECF2161XS990137   78 IN     CA      Bloomington
 RETL     DOLLY            DOL‐SA   RETL3999      1999   ALLOY   5RECF2163XS990138   78 IN     CO      Aurora
 RETL     FORKLIFT         FKL      RETL1016      2002   TOYOT   7FGCU25‐74294       7FGCU25   ID      Meridian
 RETL     FORKLIFT         FKL      RETL1703      2005   KMTSU   587816A             5878      OR      La Grande
 RETL     FORKLIFT         FKL      RETL1902      2011   TOYOT   8FGCU25‐35801       8FGCU25   CO      Grand Junction
 RETL     FORKLIFT         FKL      RETL21000     2017   TOYOT   8FGCU25‐83832       8FGCU     CA      Fontana
                     Case 23-11069-CTG          Doc 969-1          Filed 10/26/23   Page 297 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 RETL     FORKLIFT         FKL     RETL21001     2017   TOYOT   8FGCU25‐83865   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL21002     2017   TOYOT   8FGCU25‐83871   8FGCU     CA      Santa Rosa
 RETL     FORKLIFT         FKL     RETL21003     2017   TOYOT   8FGCU25‐83881   8FGCU     CA      Hayward
 RETL     FORKLIFT         FKL     RETL21004     2017   TOYOT   8FGCU25‐83892   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21005     2017   TOYOT   8FGCU25‐83921   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL21006     2017   TOYOT   8FGCU25‐83912   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL21007     2017   TOYOT   8FGCU25‐83937   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL21008     2017   TOYOT   8FGCU25‐83931   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL21009     2017   TOYOT   8FGCU25‐83955   8FGCU     CA      Santa Clara
 RETL     FORKLIFT         FKL     RETL21010     2017   TOYOT   8FGCU25‐83957   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL21011     2017   TOYOT   8FGCU25‐83973   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL21012     2017   TOYOT   8FGCU25‐83977   8FGCU     CA      Anderson
 RETL     FORKLIFT         FKL     RETL21013     2017   TOYOT   8FGCU25‐84002   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21014     2017   TOYOT   8FGCU25‐84003   8FGCU     CA      Sun Valley
 RETL     FORKLIFT         FKL     RETL21015     2017   TOYOT   8FGCU25‐84014   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21016     2017   TOYOT   8FGCU25‐84024   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL21017     2017   TOYOT   8FGCU25‐84035   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21018     2017   TOYOT   8FGCU25‐84039   8FGCU     CA      Sun Valley
 RETL     FORKLIFT         FKL     RETL21019     2017   TOYOT   8FGCU25‐84061   8FGCU     CA      Fresno
 RETL     FORKLIFT         FKL     RETL21020     2017   TOYOT   8FGCU25‐84064   8FGCU     CA      Fresno
 RETL     FORKLIFT         FKL     RETL21021     2017   TOYOT   8FGCU25‐84083   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL21022     2017   TOYOT   8FGCU25‐84094   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL21023     2017   TOYOT   8FGCU25‐84116   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL21024     2017   TOYOT   8FGCU25‐84117   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL21025     2017   TOYOT   8FGCU25‐89058   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL21026     2017   TOYOT   8FGCU25‐89028   8FGCU     MT      Great Falls
 RETL     FORKLIFT         FKL     RETL21027     2017   TOYOT   8FGCU25‐89027   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL21028     2017   TOYOT   8FGCU25‐88987   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21029     2017   TOYOT   8FGCU25‐88993   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL21030     2017   TOYOT   8FGCU25‐88966   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL21031     2017   TOYOT   8FGCU25‐88961   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21032     2017   TOYOT   8FGCU25‐88933   8FGCU     NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL21033     2017   TOYOT   8FGCU25‐88945   8FGCU     NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL21034     2017   TOYOT   8FGCU25‐88904   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21035     2018   TOYOT   8FGCU25‐95400   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL21036     2018   TOYOT   8FGCU25‐95444   8FGCU     CA      Santa Clara
 RETL     FORKLIFT         FKL     RETL21037     2018   TOYOT   8FGCU25‐95448   8FGCU     CA      San Diego
 RETL     FORKLIFT         FKL     RETL21038     2018   TOYOT   8FGCU25‐95500   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21039     2018   TOYOT   8FGCU25‐95505   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21040     2018   TOYOT   8FGCU25‐95558   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21041     2018   TOYOT   8FGCU25‐95563   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL21042     2018   TOYOT   8FGCU25‐95567   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL21043     2018   TOYOT   8FGCU25‐95612   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL21044     2018   TOYOT   8FGCU25‐95666   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL21045     2018   TOYOT   8FGCU25‐95678   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL21046     2018   TOYOT   8FGCU25‐95680   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21047     2018   TOYOT   8FGCU25‐95720   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21048     2018   TOYOT   8FGCU25‐95728   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21049     2018   TOYOT   8FGCU25‐95814   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21050     2018   TOYOT   8FGCU25‐96964   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21051     2018   TOYOT   8FGCU25‐96977   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL21052     2018   TOYOT   8FGCU25‐96979   8FGCU     CA      Sun Valley
 RETL     FORKLIFT         FKL     RETL21053     2018   TOYOT   8FGCU25‐96997   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL21054     2018   TOYOT   8FGCU25‐97015   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL21055     2018   TOYOT   8FGCU25‐97035   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL21056     2018   TOYOT   8FGCU25‐97039   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL21057     2018   TOYOT   8FGCU25‐97045   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL21058     2018   TOYOT   8FGCU25‐97053   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL21059     2018   TOYOT   8FGCU25‐97090   8FGCU     CA      Hayward
 RETL     FORKLIFT         FKL     RETL21060     2018   TOYOT   8FGCU25‐97097   8FGCU     CA      Hayward
 RETL     FORKLIFT         FKL     RETL21061     2018   TOYOT   8FGCU25‐97109   8FGCU     CA      Hayward
 RETL     FORKLIFT         FKL     RETL21062     2018   TOYOT   8FGCU25‐97158   8FGCU     CA      Hayward
 RETL     FORKLIFT         FKL     RETL21063     2018   TOYOT   8FGCU25‐97165   8FGCU     CA      Hayward
 RETL     FORKLIFT         FKL     RETL21064     2018   TOYOT   8FGCU25‐97208   8FGCU     CA      Hayward
 RETL     FORKLIFT         FKL     RETL21065     2019   TOYOT   8FGCU25‐02125   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL21066     2019   TOYOT   8FGCU25‐02343   8FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL21067     2019   TOYOT   8FGCU25‐02373   8FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL21068     2019   TOYOT   8FGCU25‐02378   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL21069     2019   TOYOT   8FGCU25‐02159   8FGCU     CO      Henderson
                     Case 23-11069-CTG          Doc 969-1          Filed 10/26/23   Page 298 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 RETL     FORKLIFT         FKL     RETL21070     2019   TOYOT   8FGCU25‐02164   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21071     2019   TOYOT   8FGCU25‐02201   8FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL21072     2019   TOYOT   8FGCU25‐02199   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL21073     2019   TOYOT   8FGCU25‐02202   8FGCU     NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL21074     2019   TOYOT   8FGCU25‐02231   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL21076     2019   TOYOT   8FGCU25‐02237   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21077     2019   TOYOT   8FGCU25‐02381   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21079     2019   TOYOT   8FGCU25‐02383   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL21080     2019   TOYOT   8FGCU25‐02417   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21081     2019   TOYOT   8FGCU25‐02268   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL21082     2019   TOYOT   8FGCU25‐02271   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL21083     2019   TOYOT   8FGCU25‐02273   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL21084     2019   TOYOT   8FGCU25‐02419   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL21085     2019   TOYOT   8FGCU25‐02420   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21086     2019   TOYOT   8FGCU25‐02421   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL21087     2019   TOYOT   8FGCU25‐02305   8FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL21088     2019   TOYOT   8FGCU25‐02309   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL21089     2019   TOYOT   8FGCU25‐02344   8FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL21090     2019   TOYOT   8FGCU25‐02445   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL21091     2019   TOYOT   8FGCU25‐02450   8FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL21092     2019   TOYOT   8FGCU25‐02455   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21093     2019   TOYOT   8FGCU25‐02491   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL21094     2019   TOYOT   8FGCU25‐02493   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21095     2020   TOYOT   8FGCU25‐C4891   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21096     2020   TOYOT   8FGCU25‐C5552   8FGCU     NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL21097     2020   TOYOT   8FGCU25‐C5614   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL21098     2020   TOYOT   8FGCU25‐C5662   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL21099     2020   TOYOT   8FGCU25‐C5663   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL22000     2020   TOYOT   8FGCU25‐C5703   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL22001     2020   TOYOT   8FGCU25‐C5704   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL22002     2020   TOYOT   8FGCU25‐C5728   8FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL22003     2020   TOYOT   8FGCU25‐C5730   8FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL22004     2020   TOYOT   8FGCU25‐C5765   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22005     2020   TOYOT   8FGCU25‐C5796   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL22006     2020   TOYOT   8FGCU25‐C5962   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL22007     2021   MTSBS   AF82F49213      FGC25N4   OR      Portland
 RETL     FORKLIFT         FKL     RETL22008     2021   MTSBS   AF82F49244      FGC25N4   OR      Portland
 RETL     FORKLIFT         FKL     RETL22009     2021   MTSBS   AF82F49247      FGC25N4   NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL22010     2021   MTSBS   AF82F49249      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22011     2021   MTSBS   AF82F49216      FGC25N4   OR      Portland
 RETL     FORKLIFT         FKL     RETL22012     2021   MTSBS   AF82F49291      FGC25N4   OR      Portland
 RETL     FORKLIFT         FKL     RETL22013     2021   MTSBS   AF82F49362      FGC25N4   OR      Portland
 RETL     FORKLIFT         FKL     RETL22014     2021   MTSBS   AF82F49752      FGC25N4   OR      Portland
 RETL     FORKLIFT         FKL     RETL22015     2021   MTSBS   AF82F49815      FGC25N4   OR      Portland
 RETL     FORKLIFT         FKL     RETL22016     2021   MTSBS   AF82F49663      FGC25N4   OR      Central Point
 RETL     FORKLIFT         FKL     RETL22017     2021   MTSBS   AF82F49513      FGC25N4   WA      Everett
 RETL     FORKLIFT         FKL     RETL22018     2021   MTSBS   AF82F49681      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22019     2021   MTSBS   AF82F49641      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22020     2021   MTSBS   AF82F49809      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22021     2021   MTSBS   AF82F49516      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22022     2021   MTSBS   AF82F49872      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22023     2021   MTSBS   AF82F49816      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22024     2021   MTSBS   AF82F49672      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22025     2021   MTSBS   AF82F49670      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22026     2021   MTSBS   AF82F49643      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22027     2021   MTSBS   AF82F49862      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22028     2021   MTSBS   AF82F49856      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22029     2021   MTSBS   AF82F49545      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22030     2021   MTSBS   AF82F49805      FGC25N4   UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL22031     2021   MTSBS   AF82F49640      FGC25N4   WA      Pasco
 RETL     FORKLIFT         FKL     RETL22032     2021   MTSBS   AF82F49674      FGC25N4   ID      Pocatello
 RETL     FORKLIFT         FKL     RETL22033     2021   MTSBS   AF82F49959      FGC25N4   WA      East Wenatchee
 RETL     FORKLIFT         FKL     RETL22034     2021   MTSBS   AF82F49947      FGC25N4   NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL22035     2021   MTSBS   AF82F49942      FGC25N4   MT      Billings
 RETL     FORKLIFT         FKL     RETL22036     2021   MTSBS   AF82F49934      FGC25N4   MT      Billings
 RETL     FORKLIFT         FKL     RETL22037     2021   MTSBS   AF82F49902      FGC25N4   MT      Missoula
 RETL     FORKLIFT         FKL     RETL22038     2021   MTSBS   AF82F49940      FGC25N4   MT      Missoula
 RETL     FORKLIFT         FKL     RETL22039     2021   MTSBS   AF82F49945      FGC25N4   CO      Henderson
 RETL     FORKLIFT         FKL     RETL22040     2021   MTSBS   AF82F49894      FGC25N4   CO      Henderson
                     Case 23-11069-CTG          Doc 969-1          Filed 10/26/23   Page 299 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 RETL     FORKLIFT         FKL     RETL22041     2021   MTSBS   AF82F49948      FGC25N4   WA      Spokane
 RETL     FORKLIFT         FKL     RETL22042     2021   MTSBS   AF82F49951      FGC25N4   NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL22043     2021   MTSBS   AF82F49938      FGC25N4   MT      Butte
 RETL     FORKLIFT         FKL     RETL22044     2021   MTSBS   AF82F49935      FGC25N4   ID      Twin Falls
 RETL     FORKLIFT         FKL     RETL22045     2021   MTSBS   AF82F49961      FGC25N4   ID      Twin Falls
 RETL     FORKLIFT         FKL     RETL22046     2021   MTSBS   AF82F49936      FGC25N4   NV      Sparks
 RETL     FORKLIFT         FKL     RETL22047     2021   MTSBS   AF82F49849      FGC25N4   NV      Sparks
 RETL     FORKLIFT         FKL     RETL22048     2021   MTSBS   AF82F49850      FGC25N4   NV      Sparks
 RETL     FORKLIFT         FKL     RETL22049     2021   MTSBS   AF82F49908      FGC25N4   NV      Sparks
 RETL     FORKLIFT         FKL     RETL22050     2021   MTSBS   AF82F49943      FGC25N4   ID      Meridian
 RETL     FORKLIFT         FKL     RETL22051     2021   MTSBS   AF82F49857      FGC25N4   OR      Portland
 RETL     FORKLIFT         FKL     RETL22052     2021   MTSBS   AF82F50159      FGC25N4   AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL22053     2021   MTSBS   AF82F50151      FGC25N4   OR      Central Point
 RETL     FORKLIFT         FKL     RETL22054     2021   MTSBS   AF82F50164      FGC25N4   OR      Central Point
 RETL     FORKLIFT         FKL     RETL22055     2021   MTSBS   AF82F50192      FGC25N4   AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL22056     2021   MTSBS   AF82F49846      FGC25N4   AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL22057     2021   MTSBS   AF82F49979      FGC25N4   AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL22058     2021   MTSBS   AF82F50152      FGC25N    AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL22059     2021   MTSBS   AF82F50154      FGC25N4   AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL22060     2021   MTSBS   AF82F50193      FGC25N    AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL22061     2021   MTSBS   AF82F49978      FGC25N4   WA      Tacoma
 RETL     FORKLIFT         FKL     RETL22062     2021   MTSBS   AF82F49903      FGC25N4   WA      Tacoma
 RETL     FORKLIFT         FKL     RETL22063     2021   MTSBS   AF82F49899      FGC25N4   WA      Tacoma
 RETL     FORKLIFT         FKL     RETL22064     2021   MTSBS   AF82F49970      FGC25N4   WA      Everett
 RETL     FORKLIFT         FKL     RETL22065     2021   MTSBS   AF82F50363      FGC25N4   WA      Spokane
 RETL     FORKLIFT         FKL     RETL22066     2021   MTSBS   AF82F50182      FGC25N4   WA      Spokane
 RETL     FORKLIFT         FKL     RETL22067     2021   MTSBS   AF82F50294      FGC25N4   WA      Spokane
 RETL     FORKLIFT         FKL     RETL22068     2021   MTSBS   AF82F50357      FGC25N4   WA      Spokane
 RETL     FORKLIFT         FKL     RETL2209      1999   TOYOT   6FGCU25‐78630   426FG     OR      La Grande
 RETL     FORKLIFT         FKL     RETL2263      2000   TOYOT   7FGCU25‐61754   7FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2265      2000   TOYOT   7FGCU25‐62214   7FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2287      2000   TOYOT   7FGCU25‐63415   7FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL2288      2000   TOYOT   7FGCU25‐63452   7FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2294      2000   TOYOT   7FGCU25‐63457   7FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2303      2000   TOYOT   7FGCU25‐63512   7FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2322      2001   TOYOT   7FGCU25‐69183   7FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL2338      2001   TOYOT   7FGCU25‐69200   7FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2352      2002   HYSTR   D187V24677Z     X50SM     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2357      2002   HYSTR   D187V24672Z     S50XM     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2364      2003   HYSTR   D187V27736A     S50XM     WY      Buffalo
 RETL     FORKLIFT         FKL     RETL2373      2003   HYSTR   D187V27858A     S50XM     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2378      2003   HYSTR   D187V28118A     S50XM     OR      Portland
 RETL     FORKLIFT         FKL     RETL2379      2003   HYSTR   D187V28119A     S50XM     WA      Everett
 RETL     FORKLIFT         FKL     RETL2383      2003   HYSTR   D187V28122A     S50XM     OR      Eugene
 RETL     FORKLIFT         FKL     RETL2386      2005   HYSTR   D187V33024B     S50XM     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2388      2005   HYSTR   D187V33017B     S50XM     OR      Eugene
 RETL     FORKLIFT         FKL     RETL2390      2005   HYSTR   D187V33072B     S50XM     OR      Portland
 RETL     FORKLIFT         FKL     RETL2391      2005   HYSTR   D187V33073B     S50XM     OR      Portland
 RETL     FORKLIFT         FKL     RETL2392      2005   HYSTR   D187V33069B     S50XM     OR      Portland
 RETL     FORKLIFT         FKL     RETL2416      2007   TOYOT   8FGCU25‐14344   7FGCU     MT      Billings
 RETL     FORKLIFT         FKL     RETL2417      2007   TOYOT   8FGCU25‐14349   7FGCU     WY      Buffalo
 RETL     FORKLIFT         FKL     RETL2418      2007   TOYOT   8FGCU25‐14353   7FGCU     CA      Santa Rosa
 RETL     FORKLIFT         FKL     RETL2419      2007   TOYOT   8FGCU25‐14355   7FGCU     CA      Eureka
 RETL     FORKLIFT         FKL     RETL2420      2007   TOYOT   8FGCU25‐14314   7FGCU     CA      Bakersfield
 RETL     FORKLIFT         FKL     RETL2421      2007   TOYOT   8FGCU25‐14315   7FGCU     CO      Grand Junction
 RETL     FORKLIFT         FKL     RETL2422      2007   TOYOT   8FGCU25‐14290   7FGCU     MT      Butte
 RETL     FORKLIFT         FKL     RETL2423      2007   TOYOT   8FGCU25‐14292   7FGCU     ID      Pocatello
 RETL     FORKLIFT         FKL     RETL2424      2007   TOYOT   8FGCU25‐14294   7FGCU     WA      Everett
 RETL     FORKLIFT         FKL     RETL2425      2007   TOYOT   8FGCU25‐14295   7FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2426      2007   TOYOT   8FGCU25‐14296   7FGCU     WA      Everett
 RETL     FORKLIFT         FKL     RETL2427      2007   TOYOT   8FGCU25‐14297   7FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL2428      2007   TOYOT   8FGCU25‐14299   7FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2429      2007   TOYOT   8FGCU25‐14327   7FGCU     WA      Everett
 RETL     FORKLIFT         FKL     RETL2430      2007   TOYOT   8FGCU25‐14329   8FGCU     WA      Everett
 RETL     FORKLIFT         FKL     RETL2431      2007   TOYOT   8FGCU25‐14330   7FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL2432      2007   TOYOT   8FGCU25‐14316   7FGCU     OR      Eugene
 RETL     FORKLIFT         FKL     RETL2433      2007   TOYOT   8FGCU25‐14356   7FGCU     ID      Pocatello
 RETL     FORKLIFT         FKL     RETL2435      2007   TOYOT   8FGCU25‐14358   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL2436      2007   TOYOT   8FGCU25‐14359   8FGCU     OR      Redmond
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 300 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 RETL     FORKLIFT         FKL     RETL2437     2007   TOYOT   8FGCU25‐14414   7FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL2438     2007   TOYOT   8FGCU25‐14386   7FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2439     2007   TOYOT   8FGCU25‐14388   7FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL2440     2007   TOYOT   8FGCU25‐14390   7FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL2441     2007   TOYOT   8FGCU25‐14393   7FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2442     2007   TOYOT   8FGCU25‐14395   7FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL2443     2007   TOYOT   8FGCU25‐14396   7FGCU     CA      Bakersfield
 RETL     FORKLIFT         FKL     RETL2444     2007   TOYOT   8FGCU25‐14190   7FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2445     2007   TOYOT   8FGCU25‐14397   7FGCU     ID      Meridian
 RETL     FORKLIFT         FKL     RETL2446     2007   TOYOT   8FGCU25‐14272   7FGCU     CA      Santa Maria
 RETL     FORKLIFT         FKL     RETL2447     2007   TOYOT   8FGCU25‐14274   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL2448     2007   TOYOT   8FGCU25‐14276   8FGCU     OR      Roseburg
 RETL     FORKLIFT         FKL     RETL2449     2007   TOYOT   8FGCU25‐14278   7FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2450     2007   TOYOT   8FGCU25‐14280   7FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2451     2007   TOYOT   8FGCU25‐14281   7FGCU     CA      Santa Maria
 RETL     FORKLIFT         FKL     RETL2452     2007   TOYOT   8FGCU25‐14318   7FGCU     OR      Eugene
 RETL     FORKLIFT         FKL     RETL2453     2007   TOYOT   8FGCU25‐14319   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL2454     2007   TOYOT   8FGCU25‐14361   7FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL2455     2007   TOYOT   8FGCU25‐14364   7FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL2456     2007   TOYOT   8FGCU25‐14320   7FGCU     WA      Everett
 RETL     FORKLIFT         FKL     RETL2503     2004   MTSBS   AF82D02875      FGC25     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2505     2002   NSSMT   CPJ029W1766     02A25     WA      Pasco
 RETL     FORKLIFT         FKL     RETL2539     2002   NSSMT   CPJ029W1870     02A25     AZ      Tucson
 RETL     FORKLIFT         FKL     RETL2546     2003   NSSMT   CPJ029W4628     02A25     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2547     2003   NSSMT   CPJ029W4629     02A25     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2552     2003   NSSMT   CPJ029W4648     02A25     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2554     2003   NSSMT   CPJ029W4650     02A25     OR      Portland
 RETL     FORKLIFT         FKL     RETL2555     2003   NSSMT   CPJ029W4651     02A25     OR      Portland
 RETL     FORKLIFT         FKL     RETL2556     2003   NSSMT   CPJ029W4652     02A25     CO      Grand Junction
 RETL     FORKLIFT         FKL     RETL2558     2003   NSSMT   CPJ029W4654     02A25     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2559     2003   NSSMT   CPJ029W4802     02A25     IN      Jeffersonville
 RETL     FORKLIFT         FKL     RETL2562     2003   NSSMT   CPJ029W4806     02A25     OR      Portland
 RETL     FORKLIFT         FKL     RETL2573     2004   NSSMT   CPL029P0590     02A25     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2574     2004   NSSMT   CPL029P0595     02A25     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2576     2004   NSSMT   CPL029P0597     02A25     MT      Missoula
 RETL     FORKLIFT         FKL     RETL2743     2004   MTSBS   AF82D02878      FGC25     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2747     2004   MTSBS   AF82D02899      FGC25     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2748     2004   MTSBS   AF82D02901      FGC25     OR      Portland
 RETL     FORKLIFT         FKL     RETL2749     2004   MTSBS   AF82D02902      FGC25     OR      Portland
 RETL     FORKLIFT         FKL     RETL2751     2004   MTSBS   AF82D02904      FGC25     OR      Portland
 RETL     FORKLIFT         FKL     RETL2754     2005   MTSBS   AF82E00484      FGC25     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2757     2005   MTSBS   AF82E00487      FGC25     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2758     2005   MTSBS   AF82E00488      FGC25     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2760     2007   TOYOT   7FGCU25‐02850   7FGCU     WA      Pasco
 RETL     FORKLIFT         FKL     RETL2761     2007   TOYOT   7FGCU25‐02852   7FGCU     WA      Pasco
 RETL     FORKLIFT         FKL     RETL2763     2007   TOYOT   7FGCU25‐02895   7FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2764     2007   TOYOT   7FGCU25‐02937   7FGCU     WY      Buffalo
 RETL     FORKLIFT         FKL     RETL2765     2007   TOYOT   7FGCU25‐02938   7FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2766     2007   TOYOT   7FGCU25‐02976   7FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL2767     2007   TOYOT   7FGCU25‐02982   7FGCU     MT      Great Falls
 RETL     FORKLIFT         FKL     RETL2768     2007   TOYOT   7FGCU25‐03007   7FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2770     2007   TOYOT   7FGCU25‐03038   7FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2771     2007   TOYOT   7FGCU25‐03040   7FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2772     2007   TOYOT   7FGCU25‐03082   7FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL2773     2007   TOYOT   7FGCU25‐03056   7FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2774     2007   TOYOT   7FGCU25‐03108   7FGCU     WA      East Wenatchee
 RETL     FORKLIFT         FKL     RETL2775     2007   TOYOT   7FGCU25‐03111   7FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2776     2007   TOYOT   7FGCU25‐03113   7FGCU     WA      East Wenatchee
 RETL     FORKLIFT         FKL     RETL2777     2007   TOYOT   7FGCU25‐03147   7FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL2778     2007   TOYOT   7FGCU25‐03151   7FGCU     MT      Missoula
 RETL     FORKLIFT         FKL     RETL2783     2007   TOYOT   8FGCU25‐14323   7FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2784     2007   TOYOT   8FGCU25‐14324   7FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL2785     2007   TOYOT   8FGCU25‐14325   7FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2786     2007   TOYOT   8FGCU25‐14326   7FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL2787     2007   TOYOT   8FGCU25‐14366   7FGCU     ID      Meridian
 RETL     FORKLIFT         FKL     RETL2788     2007   TOYOT   8FGCU25‐14367   7FGCU     UT      St. George
 RETL     FORKLIFT         FKL     RETL2789     2007   TOYOT   8FGCU25‐14369   7FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2790     2007   TOYOT   8FGCU25‐14371   7FGCU     WA      Union Gap
 RETL     FORKLIFT         FKL     RETL2791     2007   TOYOT   8FGCU25‐14401   7FGCU     AZ      Tucson
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 301 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 RETL     FORKLIFT         FKL     RETL2793     2007   TOYOT   8FGCU25‐14405   7FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL2794     2007   TOYOT   8FGCU25‐14406   7FGCU     ID      Twin Falls
 RETL     FORKLIFT         FKL     RETL2795     2007   TOYOT   8FGCU25‐14408   7FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL2796     2007   TOYOT   8FGCU25‐14407   7FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2797     2007   TOYOT   8FGCU25‐14410   7FGCU     CA      Santa Clara
 RETL     FORKLIFT         FKL     RETL2800     2008   TOYOT   8FGCU25‐20689   8FGCU     AZ      Lake Havasu City
 RETL     FORKLIFT         FKL     RETL2801     2008   TOYOT   8FGCU25‐20690   8FGCU     WA      Pasco
 RETL     FORKLIFT         FKL     RETL2802     2008   TOYOT   8FGCU25‐20692   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2804     2008   TOYOT   8FGCU25‐20697   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2806     2008   TOYOT   8FGCU25‐20706   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2807     2008   TOYOT   8FGCU25‐20709   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2808     2008   TOYOT   8FGCU25‐20839   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL2809     2008   TOYOT   8FGCU25‐20840   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2810     2008   TOYOT   8FGCU25‐20844   8FGCU     CA      Bloomington
 RETL     FORKLIFT         FKL     RETL2811     2008   TOYOT   8FGCU25‐20988   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2812     2008   TOYOT   8FGCU25‐20990   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2813     2008   TOYOT   8FGCU25‐20997   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2814     2008   TOYOT   8FGCU25‐21031   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2815     2008   TOYOT   8FGCU25‐21034   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2816     2008   TOYOT   8FGCU25‐21058   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2817     2008   TOYOT   8FGCU25‐21060   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2818     2008   TOYOT   8FGCU25‐21064   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2819     2008   TOYOT   8FGCU25‐21070   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2820     2008   TOYOT   8FGCU25‐21513   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2821     2008   TOYOT   8FGCU25‐21518   8FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL2822     2008   TOYOT   8FGCU25‐21546   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2823     2008   TOYOT   8FGCU25‐21547   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL2824     2008   TOYOT   8FGCU25‐21091   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2826     2008   TOYOT   8FGCU25‐21108   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2827     2008   TOYOT   8FGCU25‐21581   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2828     2008   TOYOT   8FGCU25‐21586   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL2829     2008   TOYOT   8FGCU25‐21615   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2830     2008   TOYOT   8FGCU25‐21617   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2831     2008   TOYOT   8FGCU25‐21715   8FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL2832     2008   TOYOT   8FGCU25‐21717   8FGCU     CA      San Diego
 RETL     FORKLIFT         FKL     RETL2833     2008   TOYOT   8FGCU25‐21737   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2834     2008   TOYOT   8FGCU25‐21738   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL2835     2008   TOYOT   8FGCU25‐21767   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2836     2008   TOYOT   8FGCU25‐21770   8FGCU     CA      Santa Maria
 RETL     FORKLIFT         FKL     RETL2837     2008   TOYOT   8FGCU25‐21807   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL2838     2008   TOYOT   8FGCU25‐21810   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL2839     2008   TOYOT   8FGCU25‐21829   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2840     2008   TOYOT   8FGCU25‐21832   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2841     2008   TOYOT   8FGCU25‐21740   8FGCU     AZ      Tucson
 RETL     FORKLIFT         FKL     RETL2842     2008   TOYOT   8FGCU25‐21841   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2843     2008   TOYOT   8FGCU25‐21871   8FGCU     NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL2844     2008   TOYOT   8FGCU25‐21910   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2845     2008   TOYOT   8FGCU25‐21926   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2846     2008   TOYOT   8FGCU25‐21948   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL2847     2008   TOYOT   8FGCU25‐21882   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL2848     2008   TOYOT   8FGCU25‐21911   8FGCU     WA      Union Gap
 RETL     FORKLIFT         FKL     RETL2849     2008   TOYOT   8FGCU25‐21927   8FGCU     NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL2850     2008   TOYOT   8FGCU25‐21949   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2851     2008   TOYOT   8FGCU25‐21847   8FGCU     MT      Missoula
 RETL     FORKLIFT         FKL     RETL2852     2008   TOYOT   8FGCU25‐21849   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2853     2008   TOYOT   8FGCU25‐22313   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2854     2008   TOYOT   8FGCU25‐22345   8FGCU     CA      Eureka
 RETL     FORKLIFT         FKL     RETL2855     2008   TOYOT   8FGCU25‐22367   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2856     2008   TOYOT   8FGCU25‐22420   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2857     2008   TOYOT   8FGCU25‐22315   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL2858     2008   TOYOT   8FGCU25‐22316   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2859     2008   TOYOT   8FGCU25‐22348   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2860     2008   TOYOT   8FGCU25‐22349   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2861     2008   TOYOT   8FGCU25‐22370   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2862     2008   TOYOT   8FGCU25‐22375   8FGCU     CA      Brisbane
 RETL     FORKLIFT         FKL     RETL2863     2008   TOYOT   8FGCU25‐22400   8FGCU     CA      Hayward
 RETL     FORKLIFT         FKL     RETL2864     2008   TOYOT   8FGCU25‐22405   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2865     2008   TOYOT   8FGCU25‐22428   8FGCU     CA      Brisbane
 RETL     FORKLIFT         FKL     RETL2866     2008   TOYOT   8FGCU25‐22432   8FGCU     CA      Downey
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 302 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 RETL     FORKLIFT         FKL     RETL2867     2008   TOYOT   8FGCU25‐22437   8FGCU     CA      Orange
 RETL     FORKLIFT         FKL     RETL2868     2008   TOYOT   8FGCU25‐22733   8FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2869     2008   TOYOT   8FGCU25‐22702   8FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2870     2008   TOYOT   8FGCU25‐22736   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2871     2008   TOYOT   8FGCU25‐22854   8FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2872     2008   TOYOT   8FGCU25‐22931   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2873     2008   TOYOT   8FGCU25‐22962   8FGCU     NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL2874     2008   TOYOT   8FGCU25‐22990   8FGCU     NV      Elko
 RETL     FORKLIFT         FKL     RETL2875     2008   TOYOT   8FGCU25‐22993   8FGCU     OR      Redmond
 RETL     FORKLIFT         FKL     RETL2876     2008   TOYOT   8FGCU25‐23015   8FGCU     CA      Bloomington
 RETL     FORKLIFT         FKL     RETL2877     2008   TOYOT   8FGCU25‐22856   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2878     2008   TOYOT   8FGCU25‐22896   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2879     2008   TOYOT   8FGCU25‐22963   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2880     2008   TOYOT   8FGCU25‐23020   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2881     2008   TOYOT   8FGCU25‐22858   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2882     2008   TOYOT   8FGCU25‐22897   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2883     2008   TOYOT   8FGCU25‐22995   8FGCU     ID      Meridian
 RETL     FORKLIFT         FKL     RETL2884     2008   TOYOT   8FGCU25‐23023   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2885     2008   TOYOT   8FGCU25‐23051   8FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2886     2008   TOYOT   8FGCU25‐23069   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2887     2008   TOYOT   8FGCU25‐23053   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2888     2008   TOYOT   8FGCU25‐23041   8FGCU     OR      Eugene
 RETL     FORKLIFT         FKL     RETL2889     2008   TOYOT   8FGCU25‐23071   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2890     2012   TOYOT   8FGCU25‐34404   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2891     2012   TOYOT   8FGCU25‐34635   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2892     2012   TOYOT   8FGCU25‐34636   8FGCU     CA      Santa Clara
 RETL     FORKLIFT         FKL     RETL2893     2012   TOYOT   8FGCU25‐34649   8FGCU     CA      Fresno
 RETL     FORKLIFT         FKL     RETL2894     2012   TOYOT   8FGCU25‐34652   8FGCU     CA      Santa Clara
 RETL     FORKLIFT         FKL     RETL2895     2012   TOYOT   8FGCU25‐35795   8FGCU     CA      Sun Valley
 RETL     FORKLIFT         FKL     RETL2896     2012   TOYOT   8FGCU25‐34670   8FGCU     CA      San Diego
 RETL     FORKLIFT         FKL     RETL2897     2012   TOYOT   8FGCU25‐34675   8FGCU     NV      Las Vegas
 RETL     FORKLIFT         FKL     RETL2898     2012   TOYOT   8FGCU25‐34700   8FGCU     CA      San Diego
 RETL     FORKLIFT         FKL     RETL2899     2012   TOYOT   8FGCU25‐34703   8FGCU     CA      Sun Valley
 RETL     FORKLIFT         FKL     RETL2900     2012   TOYOT   8FGCU25‐34715   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL2901     2012   TOYOT   8FGCU25‐34727   8FGCU     CA      Sun Valley
 RETL     FORKLIFT         FKL     RETL2902     2012   TOYOT   8FGCU25‐34733   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2903     2012   TOYOT   8FGCU25‐34747   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2904     2012   TOYOT   8FGCU25‐34758   8FGCU     CA      Ventura
 RETL     FORKLIFT         FKL     RETL2905     2012   TOYOT   8FGCU25‐34774   8FGCU     CA      Santa Clara
 RETL     FORKLIFT         FKL     RETL2906     2012   TOYOT   8FGCU25‐34765   8FGCU     CA      Ventura
 RETL     FORKLIFT         FKL     RETL2907     2012   TOYOT   8FGCU25‐34789   8FGCU     CA      San Diego
 RETL     FORKLIFT         FKL     RETL2908     2012   TOYOT   8FGCU25‐34795   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2909     2012   TOYOT   8FGCU25‐34804   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL2910     2012   TOYOT   8FGCU25‐34824   8FGCU     CA      Fresno
 RETL     FORKLIFT         FKL     RETL2911     2012   TOYOT   8FGCU25‐34829   8FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2912     2012   TOYOT   8FGCU25‐34830   8FGCU     MT      Billings
 RETL     FORKLIFT         FKL     RETL2913     2012   TOYOT   8FGCU25‐35249   8FGCU     CA      Santa Clara
 RETL     FORKLIFT         FKL     RETL2914     2012   TOYOT   8FGCU25‐35254   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2915     2013   TOYOT   8FGCU25‐49421   8FGCU     CA      Ventura
 RETL     FORKLIFT         FKL     RETL2916     2013   TOYOT   8FGCU25‐49970   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2917     2013   TOYOT   8FGCU25‐49972   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2918     2013   TOYOT   8FGCU25‐49976   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2919     2013   TOYOT   8FGCU25‐50001   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2920     2013   TOYOT   8FGCU25‐50000   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2921     2013   TOYOT   8FGCU25‐50008   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2922     2013   TOYOT   8FGCU25‐50068   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2923     2013   TOYOT   8FGCU25‐50044   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2924     2013   TOYOT   8FGCU25‐50048   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2925     2013   TOYOT   8FGCU25‐50069   8FGCU     CA      Fresno
 RETL     FORKLIFT         FKL     RETL2926     2013   TOYOT   8FGCU25‐50070   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2927     2013   TOYOT   8FGCU25‐50077   8FGCU     CA      Sun Valley
 RETL     FORKLIFT         FKL     RETL2928     2013   TOYOT   8FGCU25‐50103   8FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2929     2013   TOYOT   8FGCU25‐50109   8FGCU     CA      Santa Rosa
 RETL     FORKLIFT         FKL     RETL2930     2013   TOYOT   8FGCU25‐50108   8FGCU     CA      West Sacramento
 RETL     FORKLIFT         FKL     RETL2931     2013   TOYOT   8FGCU25‐50133   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2932     2013   TOYOT   8FGCU25‐50134   8FGCU     CA      San Diego
 RETL     FORKLIFT         FKL     RETL2933     2013   TOYOT   8FGCU25‐50137   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2934     2013   TOYOT   8FGCU25‐50167   8FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2935     2014   TOYOT   8FGCU25‐63550   8FGCU     CA      Pico Rivera
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 303 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 RETL     FORKLIFT         FKL     RETL2936     2014   TOYOT   8FGCU25‐65081   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL2937     2014   TOYOT   8FGCU25‐65169   8FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2938     2014   TOYOT   8FGCU25‐65172   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2939     2014   TOYOT   8FGCU25‐65215   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2940     2014   TOYOT   8FGCU25‐65217   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2941     2014   TOYOT   8FGCU25‐65219   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2942     2014   TOYOT   8FGCU25‐65085   8FGCU     CA      Bloomington
 RETL     FORKLIFT         FKL     RETL2943     2014   TOYOT   8FGCU25‐65088   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2944     2014   TOYOT   8FGCU25‐65090   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2945     2014   TOYOT   8FGCU25‐65173   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2946     2014   TOYOT   8FGCU25‐65176   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2947     2014   TOYOT   8FGCU25‐65177   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2948     2014   TOYOT   8FGCU25‐65126   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2949     2014   TOYOT   8FGCU25‐65127   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2950     2014   TOYOT   8FGCU25‐65130   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2951     2014   TOYOT   8FGCU25‐65179   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2952     2014   TOYOT   8FGCU25‐65168   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2953     2014   TOYOT   8FGCU25‐65183   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2954     2014   TOYOT   8FGCU25‐65230   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2955     2015   TOYOT   8FGCU25‐73630   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2956     2015   TOYOT   8FGCU25‐73637   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2957     2015   TOYOT   8FGCU25‐73512   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2958     2015   TOYOT   8FGCU25‐73522   8FGCU     OR      Central Point
 RETL     FORKLIFT         FKL     RETL2959     2015   TOYOT   8FGCU25‐73687   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2960     2015   TOYOT   8FGCU25‐73681   8FGCU     CA      Fresno
 RETL     FORKLIFT         FKL     RETL2961     2015   TOYOT   8FGCU25‐73647   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2962     2015   TOYOT   8FGCU25‐73652   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2963     2015   TOYOT   8FGCU25‐73682   8FGCU     UT      Salt Lake City
 RETL     FORKLIFT         FKL     RETL2964     2015   TOYOT   8FGCU25‐73688   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2965     2015   TOYOT   8FGCU25‐73743   8FGCU     AZ      Tucson
 RETL     FORKLIFT         FKL     RETL2966     2015   TOYOT   8FGCU25‐73753   8FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2967     2015   TOYOT   8FGCU25‐74201   8FGCU     CA      Hayward
 RETL     FORKLIFT         FKL     RETL2968     2015   TOYOT   8FGCU25‐74202   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2969     2015   TOYOT   8FGCU25‐74020   8FGCU     ID      Meridian
 RETL     FORKLIFT         FKL     RETL2970     2015   TOYOT   8FGCU25‐74074   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2971     2015   TOYOT   8FGCU25‐74023   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2972     2015   TOYOT   8FGCU25‐74048   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2973     2015   TOYOT   8FGCU25‐74164   8FGCU     CA      Tracy
 RETL     FORKLIFT         FKL     RETL2974     2015   TOYOT   8FGCU25‐74168   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2975     2015   TOYOT   8FGCU25‐74209   8FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2976     2015   TOYOT   8FGCU25‐74210   8FGCU     ID      Meridian
 RETL     FORKLIFT         FKL     RETL2977     2015   TOYOT   8FGCU25‐74248   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2978     2015   TOYOT   8FGCU25‐74249   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2979     2015   TOYOT   8FGCU25‐74031   8FGCU     ID      Meridian
 RETL     FORKLIFT         FKL     RETL2980     2015   TOYOT   8FGCU25‐74033   8FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2981     2015   TOYOT   8FGCU25‐74085   8FGCU     CA      Bakersfield
 RETL     FORKLIFT         FKL     RETL2982     2015   TOYOT   8FGCU25‐74087   8FGCU     OR      Portland
 RETL     FORKLIFT         FKL     RETL2983     2015   TOYOT   8FGCU25‐74131   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL2984     2015   TOYOT   8FGCU25‐74140   8FGCU     WA      Spokane
 RETL     FORKLIFT         FKL     RETL2985     2015   TOYOT   8FGCU25‐74169   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2986     2015   TOYOT   8FGCU25‐74175   8FGCU     WA      Tacoma
 RETL     FORKLIFT         FKL     RETL2987     2015   TOYOT   8FGCU25‐74214   8FGCU     CA      Santa Clara
 RETL     FORKLIFT         FKL     RETL2988     2015   TOYOT   8FGCU25‐74217   8FGCU     CA      Santa Clara
 RETL     FORKLIFT         FKL     RETL2989     2015   TOYOT   8FGCU25‐74261   8FGCU     CA      Anderson
 RETL     FORKLIFT         FKL     RETL2990     2015   TOYOT   8FGCU25‐74254   8FGCU     CA      Anderson
 RETL     FORKLIFT         FKL     RETL2991     2015   TOYOT   8FGCU25‐74285   8FGCU     AZ      Phoenix
 RETL     FORKLIFT         FKL     RETL2992     2015   TOYOT   8FGCU25‐74292   8FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2993     2015   TOYOT   8FGCU25‐74340   8FGCU     CO      Henderson
 RETL     FORKLIFT         FKL     RETL2994     2015   TOYOT   8FGCU25‐74345   8FGCU     NV      Sparks
 RETL     FORKLIFT         FKL     RETL2995     2017   TOYOT   8FGCU25‐83810   8FGCU     CA      Downey
 RETL     FORKLIFT         FKL     RETL2996     2017   TOYOT   8FGCU25‐83824   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2997     2017   TOYOT   8FGCU25‐83816   8FGCU     CA      Pico Rivera
 RETL     FORKLIFT         FKL     RETL2998     2017   TOYOT   8FGCU25‐83813   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL2999     2017   TOYOT   8FGCU25‐83849   8FGCU     CA      Fontana
 RETL     FORKLIFT         FKL     RETL4302     2008   TOYOT   8FGCU25‐20786   8FGCU2    CA      Bakersfield
 RETL     FORKLIFT         FKL     RETL4512     2008   TOYOT   8FGCU25‐21760   8FGCU2    WA      Spokane
 RETL     FORKLIFT         FKL     RETL4569     2008   TOYOT   8FGCU25‐21437   8FGCU2    MT      Missoula
 RETL     FORKLIFT         FKL     RETL4579     2008   TOYOT   8FGCU25‐21890   8FGCU2    CA      Santa Maria
 RETL     FORKLIFT         FKL     RETL4594     2008   TOYOT   8FGCU25‐22184   8FGCU2    ID      Meridian
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23        Page 304 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 RETL     FORKLIFT         FKL      RETL4598       2008   TOYOT   8FGCU25‐22235       8FGCU2       OR      Portland
 RETL     FORKLIFT         FKL      RETL4599       2008   TOYOT   8FGCU25‐22268       8FGCU2       OR      Central Point
 RETL     FORKLIFT         FKL      RETL5000       2005   TOYOT   7FGCU25‐93842       TOY          WA      Spokane
 RETL     FORKLIFT         FKL      RETL5003       2005   TOYOT   7FGCU25‐93846       TOY          WA      Union Gap
 RETL     FORKLIFT         FKL      RETL5391       2003   TOYOT   7FGCU20‐81743       7FGCU20      WA      Everett
 RETL     FORKLIFT         FKL      RETL5566       2008   TOYOT   8FGCU25‐12771       8FGCU2       CA      Fresno
 RETL     FORKLIFT         FKL      RETL5574       2008   TOYOT   8FGCU25‐12807       8FGCU2       WA      Spokane
 RETL     FORKLIFT         FKL      RETL5576       2008   TOYOT   8FGCU25‐12811       8FGCU2       CO      Aurora
 RETL     FORKLIFT         FKL      RETL5637       2008   TOYOT   8FGCU25‐12705       8FGCU2       CA      Santa Maria
 RETL     FORKLIFT         FKL      RETL5753       2004   KMTSU   568726A             FG20ST12     OR      Central Point
 RETL     FORKLIFT         FKL      RETL5869       2005   KMTSU   587848A             FG20ST       WA      Spokane
 RETL     FORKLIFT         FKL      RETL6294       2004   KMTSU   580550A                          WA      Everett
 RETL     FORKLIFT         FKL      RETL6335       2004   TOYOT   7FGCU25‐87025       7FGCU25      WA      Everett
 RETL     FORKLIFT         FKL      RETL6747       2006   TOYOT   7FGCU25‐94182                    ID      Meridian
 RETL     FORKLIFT         FKL      RETL7033       2008   TOYOT   8FGCU25‐18485       8FGCU25      CA      Bakersfield
 RETL     FORKLIFT         FKL      RETL7168       2008   TOYOT   8FGCU25‐22941       8FGCU25      CA      Anderson
 RETL     FORKLIFT         FKL      RETL7967       2006   TOYOT   7FGCU25‐94187                    WA      Spokane
 RETL     FORKLIFT         FKL      RETL8009       2006   TOYOT   7FGCU25‐00688                    OR      Eugene
 RETL     FORKLIFT         FKL      RETL9109       2002   TOYOT   7FGCU25‐73872       7FGCU25      OR      Roseburg
 RETL     FORKLIFT         FKL      RETL9442       2002   TOYOT   7FGCU25‐76803       7FGCU25      ID      Pocatello
 RETL     FORKLIFT         FKL      RETL9800       2008   TOYOT   8FGCU25‐21478       8FGCU25      CA      Visalia
 RETL     FORKLIFT         FKL      RETL9803       2008   TOYOT   8FGCU25‐21403       8FGCU25      CA      Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL139444     2017   STGHT   1DW1A2819HS716805   DVW‐285S‐C   MS      Richland
 RETL     ROAD TRAILER     RTL‐SA   RETL139449     2017   STGHT   1DW1A2814HS716811   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139451     2017   STGHT   1DW1A2811HS716815   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139455     2017   STGHT   1DW1A2817HS716821   DVW‐285S‐C   CA      Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL139457     2017   STGHT   1DW1A2816HS716826   DVW‐285S‐C   OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL139465     2017   STGHT   1DW1A2810HS716837   DVW‐285S‐C   CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139470     2017   STGHT   1DW1A281XHS716845   DVW‐285S‐C   CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139471     2017   STGHT   1DW1A2811HS716846   DVW‐285S‐C   CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL139472     2017   STGHT   1DW1A2815HS716848   DVW‐285S‐C   CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL139474     2017   STGHT   1DW1A2815HS716851   DVW‐285S‐C   CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL139478     2017   STGHT   1DW1A2812HS716855   DVW‐285S‐C   WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL139479     2017   STGHT   1DW1A2814HS716856   DVW‐285S‐C   CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL139480     2017   STGHT   1DW1A281XHS716859   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139482     2017   STGHT   1DW1A2811HS716863   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139489     2017   STGHT   1DW1A2816HS716874   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139491     2017   STGHT   1DW1A2813HS716878   DVW‐285S‐C   ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL139496     2017   STGHT   1DW1A2819HS716884   DVW‐285S‐C   CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL139503     2017   STGHT   1DW1A2817HS716897   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139505     2017   STGHT   1DW1A2810HS716899   DVW‐285S‐C   CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL139512     2017   STGHT   1DW1A2816HS716910   DVW‐285S‐C   UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL139513     2017   STGHT   1DW1A2818HS716911   DVW‐285S‐C   OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL139516     2017   STGHT   1DW1A2812HS716919   DVW‐285S‐C   WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL139522     2017   STGHT   1DW1A2813HS716928   DVW‐285S‐C   NV      Elko
 RETL     ROAD TRAILER     RTL‐SA   RETL139523     2017   STGHT   1DW1A2815HS716929   DVW‐285S‐C   MT      Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL139530     2017   STGHT   1DW1A2814HS716937   DVW‐285S‐C   ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL139534     2017   STGHT   1DW1A2813HS716945   DVW‐285S‐C   UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL139535     2017   STGHT   1DW1A2817HS716947   DVW‐285S‐C   NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL139543     2017   STGHT   1DW1A2812HB719013   DVW‐285S‐C   OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL139544     2017   STGHT   1DW1A2814HB719014   DVW‐285S‐C   CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL139549     2017   STGHT   1DW1A281XHB719020   DVW‐285S‐C   CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL139569     2017   STGHT   1DW1A2818HB719050   DVW‐285S‐C   UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL139570     2017   STGHT   1DW1A2815HB719054   DVW‐285S‐C   CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139571     2017   STGHT   1DW1A2810HB719057   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139575     2017   STGHT   1DW1A2818HB719064   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139577     2017   STGHT   1DW1A2813HB719067   DVW‐285S‐C   NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL139583     2017   STGHT   1DW1A281XHB719079   DVW‐285S‐C   CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL139586     2017   STGHT   1DW1A2811HB719083   DVW‐285S‐C   AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL139597     2017   STGHT   1DW1A2811HB719102   DVW‐285S‐C   CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL139602     2017   STGHT   1DW1A2814HB719109   DVW‐285S‐C   OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL139605     2017   STGHT   1DW1A2818HB719114   DVW‐285S‐C   CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139611     2017   STGHT   1DW1A2817HB719122   DVW‐285S‐C   NY      Maybrook
 RETL     ROAD TRAILER     RTL‐SA   RETL139618     2017   STGHT   1DW1A2813HB719134   DVW‐285S‐C   CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL139619     2017   STGHT   1DW1A2817HB719136   DVW‐285S‐C   CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139624     2017   STGHT   1DW1A281XHB719146   DVW‐285S‐C   CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139627     2017   STGHT   1DW1A2815HB719149   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139633     2017   STGHT   1DW1A2814HB719157   DVW‐285S‐C   UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL139636     2017   STGHT   1DW1A2811HB719164   DVW‐285S‐C   WA      Union Gap
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 305 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL       State     City
 RETL     ROAD TRAILER     RTL‐SA   RETL139642     2017   STGHT   1DW1A2816HB719189   DVW‐285S‐C   OR        Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL139643     2017   STGHT   1DW1A2811HB719178   DVW‐285S‐C   NV        Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL139661     2017   STGHT   1DW1A2813HB719201   DVW‐285S‐C   WA        Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL139663     2017   STGHT   1DW1A2817HB719203   DVW‐285S‐C   CA        Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL139665     2017   STGHT   1DW1A2810HB719205   DVW‐285S‐C   CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139670     2017   STGHT   1DW1A2811HB719214   DVW‐285S‐C   CA        Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL139679     2017   STGHT   1DW1A2816HB719225   DVW‐285S‐C   WA        Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL139681     2017   STGHT   1DW1A281XHB719227   DVW‐285S‐C   WA        Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL139682     2017   STGHT   1DW1A2811HB719228   DVW‐285S‐C   CA        Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL139686     2017   STGHT   1DW1A2813HB719232   DVW‐285S‐C   NV        Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL139687     2017   STGHT   1DW1A2815HB719233   DVW‐285S‐C   WA        Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL139688     2017   STGHT   1DW1A2817HB719234   DVW‐285S‐C   CA        Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL139696     2017   STGHT   1DW1A281XHB719244   DVW‐285S‐C   CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139697     2017   STGHT   1DW1A2811HB719245   DVW‐285S‐C   OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139708     2017   STGHT   1DW1A2819HB719266   DVW‐285S‐C   CA        Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL139714     2017   STGHT   1DW1A2811HB719276   DVW‐285S‐C   AZ        Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL139718     2017   STGHT   1DW1A2812HB719285   DVW‐285S‐C   WA        Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL139732     2017   STGHT   1DW1A2811HB719309   DVW‐285S‐C   WA        Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL139733     2017   STGHT   1DW1A2818HB719310   DVW‐285S‐C   OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139737     2017   STGHT   1DW1A2817HB719315   DVW‐285S‐C   CA        Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL139738     2017   STGHT   1DW1A2819HB719316   DVW‐285S‐C   CA        West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL139740     2017   STGHT   1DW1A2810HB719320   DVW‐285S‐C   OR        Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL139747     2017   STGHT   1DW1A2812HB719335   DVW‐285S‐C   UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL139750     2017   STGHT   1DW1A281XHB719339   DVW‐285S‐C   WA        Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL139753     2017   STGHT   1DW1A2811HB719343   DVW‐285S‐C   UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL139757     2017   STGHT   1DW1A2811HB719357   DVW‐285S‐C   CA        Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL139761     2017   STGHT   1DW1A2815HB719362   DVW‐285S‐C   AZ        Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL139772     2017   STGHT   1DW1A2815HB719376   DVW‐285S‐C   WA        East Wenatchee
 RETL     ROAD TRAILER     RTL‐SA   RETL139776     2017   STGHT   1DW1A2819HB719381   DVW‐285S‐C   CO        Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL139779     2017   STGHT   1DW1A2818HB719386   DVW‐285S‐C   NV        Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL139782     2017   STGHT   1DW1A281XHB719390   DVW‐285S‐C   OR        Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL139785     2017   STGHT   1DW1A2817HB719394   DVW‐285S‐C   CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139788     2017   STGHT   1DW1A2812HB719402   DVW‐285S‐C   CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139789     2017   STGHT   1DW1A2814HB719403   DVW‐285S‐C   CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139796     2017   STGHT   1DW1A2812HB719416   DVW‐285S‐C   ID        Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL139808     2017   STGHT   1DW1A2813HB719439   DVW‐285S‐C   OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139812     2017   STGHT   1DW1A2815HB719443   DVW‐285S‐C   OR        Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL139813     2017   STGHT   1DW1A2817HB719444   DVW‐285S‐C   CA        Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL139819     2017   STGHT   1DW1A2818HB719453   DVW‐285S‐C   CA        Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL139820     2017   STGHT   1DW1A2811HB719455   DVW‐285S‐C   CA        Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL139823     2017   STGHT   1DW1A2815HB719460   DVW‐285S‐C   WA        Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL139824     2017   STGHT   1DW1A2817HB719461   DVW‐285S‐C   IL        Wheeling
 RETL     ROAD TRAILER     RTL‐SA   RETL139835     2017   STGHT   1DW1A2810HB719477   DVW‐285S‐C   PA        Bethlehem
 RETL     ROAD TRAILER     RTL‐SA   RETL139840     2017   STGHT   1DW1A2818HB719484   DVW‐285S‐C   OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139842     2017   STGHT   1DW1A2815HB719488   DVW‐285S‐C   WA        Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL139845     2017   STGHT   1DW1A2817HB719492   DVW‐285S‐C   WA        Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL139846     2017   STGHT   1DW1A2819HB719493   DVW‐285S‐C   NV        Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL139848     2017   STGHT   1DW1A2814HB719496   DVW‐285S‐C   UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL139849     2017   STGHT   1DW1A281XHB719499   DVW‐285S‐C   CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139864     2017   STGHT   1DW1A281XHB719518   DVW‐285S‐C   CA        Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL139867     2017   STGHT   1DW1A281XHB719521   DVW‐285S‐C   NV        Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL139870     2017   STGHT   1DW1A2819HB719526   DVW‐285S‐C   NV        Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL139872     2017   STGHT   1DW1A2812HB719528   DVW‐285S‐C   CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139876     2017   STGHT   1DW1A2816HB719533   DVW‐285S‐C   CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139881     2017   STGHT   1DW1A2817HB719542   DVW‐285S‐C   CA        Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL139884     2017   STGHT   1DW1A2814HB719546   DVW‐285S‐C   OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139890     2017   STGHT   1DW1A281XHB719552   DVW‐285S‐C   OR        Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL139902     2017   STGHT   1DW1A2811HB719570   DVW‐285S‐C   WA        Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL139905     2017   STGHT   1DW1A2817HB719573   DVW‐285S‐C   OH        Copley
 RETL     ROAD TRAILER     RTL‐SA   RETL139906     2017   STGHT   1DW1A2819HB719574   DVW‐285S‐C   CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139908     2017   STGHT   1DW1A2812HB719576   DVW‐285S‐C   CA        Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL139909     2017   STGHT   1DW1A2814HB719577   DVW‐285S‐C   CA        Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL139915     2017   STGHT   1DW1A2815HB719586   DVW‐285S‐C   Alberta   Edmonton
 RETL     ROAD TRAILER     RTL‐SA   RETL139917     2017   STGHT   1DW1A2819HB719591   DVW‐285S‐C   CA        Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL139920     2017   STGHT   1DW1A2816HB719595   DVW‐285S‐C   CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL139921     2017   STGHT   1DW1A281XHB719597   DVW‐285S‐C   CA        Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL139927     2017   STGHT   1DW1A2815HB719605   DVW‐285S‐C   UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL139930     2017   STGHT   1DW1A2810HB719611   DVW‐285S‐C   OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139939     2017   STGHT   1DW1A2814HB719627   DVW‐285S‐C   CA        Bloomington
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 306 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL139940     2017   STGHT   1DW1A2816HB719628   DVW‐285S‐C   AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL139941     2017   STGHT   1DW1A2818HB719629   DVW‐285S‐C   CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL139943     2017   STGHT   1DW1A2816HB719631   DVW‐285S‐C   CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL139945     2017   STGHT   1DW1A281XHB719633   DVW‐285S‐C   WA      Union Gap
 RETL     ROAD TRAILER     RTL‐SA   RETL139946     2017   STGHT   1DW1A2811HB719634   DVW‐285S‐C   CO      Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL139947     2017   STGHT   1DW1A2813HB719635   DVW‐285S‐C   ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL139953     2017   STGHT   1DW1A2814HB719644   DVW‐285S‐C   WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL139956     2017   STGHT   1DW1A281XHB719647   DVW‐285S‐C   CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL139960     2017   STGHT   1DW1A2811HB719651   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139961     2017   STGHT   1DW1A2813HB719652   DVW‐285S‐C   CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL139962     2017   STGHT   1DW1A2817HB719654   DVW‐285S‐C   WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL139963     2017   STGHT   1DW1A2819HB719655   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139967     2017   STGHT   1DW1A2818HB719663   DVW‐285S‐C   NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL139970     2017   STGHT   1DW1A2813HB719666   DVW‐285S‐C   GA      Ellenwood
 RETL     ROAD TRAILER     RTL‐SA   RETL139971     2017   STGHT   1DW1A2819HB719669   DVW‐285S‐C   CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL139975     2017   STGHT   1DW1A2816HB719676   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL139976     2017   STGHT   1DW1A281XHB719678   DVW‐285S‐C   CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL139979     2017   STGHT   1DW1A2813HB719683   DVW‐285S‐C   CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL139985     2017   STGHT   1DW1A2814HB719692   DVW‐285S‐C   CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL139987     2017   STGHT   1DW1A281XHB719695   DVW‐285S‐C   CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL139990     2017   STGHT   1DW1A2817HB719699   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL139992     2017   STGHT   1DW1A2811HB719701   DVW‐285S‐C   CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL139993     2017   STGHT   1DW1A2817HB719668   DVW‐285S‐C   WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL139996     2017   STGHT   1DW1A2819HB719705   DVW‐285S‐C   OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL139999     2017   STGHT   1DW1A2814HB719711   DVW‐285S‐C   CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL140004     2017   STGHT   1DW1A2815HB719717   DVW‐285S‐C   CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL140005     2017   STGHT   1DW1A2817HB719718   DVW‐285S‐C   ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL140006     2017   STGHT   1DW1A2819HB719719   DVW‐285S‐C   MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL140008     2017   STGHT   1DW1A2817HB719721   DVW‐285S‐C   CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL140011     2017   STGHT   1DW1A2818HB719727   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140016     2017   STGHT   1DW1A2811HB719732   DVW‐285S‐C   ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL140019     2017   STGHT   1DW1A2817HB719735   DVW‐285S‐C   WA      East Wenatchee
 RETL     ROAD TRAILER     RTL‐SA   RETL140021     2017   STGHT   1DW1A2812HB719738   DVW‐285S‐C   TX      El Paso
 RETL     ROAD TRAILER     RTL‐SA   RETL140022     2017   STGHT   1DW1A2814HB719739   DVW‐285S‐C   CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL140025     2017   STGHT   1DW1A2814HB719742   DVW‐285S‐C   CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL140027     2017   STGHT   1DW1A281XHB719745   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL140028     2017   STGHT   1DW1A2811HB719746   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140030     2017   STGHT   1DW1A2813HB719750   DVW‐285S‐C   FL      Miami
 RETL     ROAD TRAILER     RTL‐SA   RETL140031     2017   STGHT   1DW1A2817HB719752   DVW‐285S‐C   UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL140033     2017   STGHT   1DW1A2810HB719754   DVW‐285S‐C   WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL140036     2017   STGHT   1DW1A2816HB719757   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL140037     2017   STGHT   1DW1A2818HB719758   DVW‐285S‐C   CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL140045     2017   STGHT   1DW1A2812HB719769   DVW‐285S‐C   WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL140046     2017   STGHT   1DW1A2816HB719774   DVW‐285S‐C   CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL140057     2017   STGHT   1DW1A2816HB719788   DVW‐285S‐C   CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL140062     2017   STGHT   1DW1A281XHB719793   DVW‐285S‐C   CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL140066     2017   STGHT   1DW1A2815HB719801   DVW‐285S‐C   WA      Bellingham
 RETL     ROAD TRAILER     RTL‐SA   RETL140067     2017   STGHT   1DW1A2817HB719802   DVW‐285S‐C   NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL140068     2017   STGHT   1DW1A2819HB719803   DVW‐285S‐C   CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL140080     2017   STGHT   1DW1A2812HB719819   DVW‐285S‐C   OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL140081     2017   STGHT   1DW1A2819HB719820   DVW‐285S‐C   CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL140089     2017   STGHT   1DW1A2815HB719832   DVW‐285S‐C   WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL140094     2017   STGHT   1DW1A2818HB719839   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL140096     2017   STGHT   1DW1A2816HB719841   DVW‐285S‐C   WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL140097     2017   STGHT   1DW1A2810HB719866   DVW‐285S‐C   CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL140106     2017   STGHT   1DW1A2814HB719854   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140109     2017   STGHT   1DW1A2811HB719858   DVW‐285S‐C   MT      Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL140115     2017   STGHT   1DW1A2812HB719867   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140123     2017   STGHT   1DW1A2819HB719882   DVW‐285S‐C   CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL140124     2017   STGHT   1DW1A2810HB719883   DVW‐285S‐C   OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL140127     2017   STGHT   1DW1A2816HB719886   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140128     2017   STGHT   1DW1A2818HB719887   DVW‐285S‐C   AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL140129     2017   STGHT   1DW1A281XHB719888   DVW‐285S‐C   MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL140130     2017   STGHT   1DW1A2811HB719892   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140132     2017   STGHT   1DW1A2817HB719895   DVW‐285S‐C   CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140133     2017   STGHT   1DW1A2810HB719897   DVW‐285S‐C   CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL140139     2017   STGHT   1DW1A2816HB719905   DVW‐285S‐C   CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL140140     2017   STGHT   1DW1A2818HB719906   DVW‐285S‐C   UT      St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL140145     2017   STGHT   1DW1A2811HB719911   DVW‐285S‐C   NV      Las Vegas
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 307 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL       State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL140149     2017   STGHT   1DW1A2810HB719916   DVW‐285S‐C   CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL140152     2017   STGHT   1DW1A2814HB719921   DVW‐285S‐C   AZ               Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL140153     2017   STGHT   1DW1A2818HB719923   DVW‐285S‐C   WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL140174     2017   STGHT   1DW1A2815HB719961   DVW‐285S‐C   OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL140175     2017   STGHT   1DW1A2819HB719963   DVW‐285S‐C   NV               Elko
 RETL     ROAD TRAILER     RTL‐SA   RETL140180     2017   STGHT   1DW1A2816HB719970   DVW‐285S‐C   AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL140184     2017   STGHT   1DW1A2813HB719974   DVW‐285S‐C   OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL140189     2017   STGHT   1DW1A2819HB719980   DVW‐285S‐C   UT               St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL140195     2017   STGHT   1DW1A2815HB719992   DVW‐285S‐C   CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL140207     2017   STGHT   1DW1A2814HB720020   DVW‐285S‐C   CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL140208     2017   STGHT   1DW1A2816HB720021   DVW‐285S‐C   OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL140212     2017   STGHT   1DW1A2819HB720031   DVW‐285S‐C   CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL140214     2017   STGHT   1DW1A2812HB720033   DVW‐285S‐C   CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL140215     2017   STGHT   1DW1A2814HB720034   DVW‐285S‐C   CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL140216     2017   STGHT   1DW1A281XHB720037   DVW‐285S‐C   UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL140217     2017   STGHT   1DW1A2811HB720038   DVW‐285S‐C   CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140230     2017   STGHT   1DW1A2812HB720064   DVW‐285S‐C   AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL140231     2017   STGHT   1DW1A2816HB720066   DVW‐285S‐C   NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL140237     2017   STGHT   1DW1A2813HB720073   DVW‐285S‐C   CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL140245     2017   STGHT   1DW1A2813HB720090   DVW‐285S‐C   British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL140248     2017   STGHT   1DW1A2816HB720097   DVW‐285S‐C   IN               Indianapolis
 RETL     ROAD TRAILER     RTL‐SA   RETL140249     2017   STGHT   1DW1A281XHB720099   DVW‐285S‐C   UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL140250     2017   STGHT   1DW1A2812HB720100   DVW‐285S‐C   WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL140253     2017   STGHT   1DW1A2818HB720103   DVW‐285S‐C   WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL140254     2017   STGHT   1DW1A281XHB720104   DVW‐285S‐C   NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL140255     2017   STGHT   1DW1A2811HB720105   DVW‐285S‐C   British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL140261     2017   STGHT   1DW1A2819HB720112   DVW‐285S‐C   OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL140263     2017   STGHT   1DW1A2812HB720114   DVW‐285S‐C   OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL140272     2017   STGHT   1DW1A2814HB720132   DVW‐285S‐C   CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140278     2017   STGHT   1DW1A2817HB720142   DVW‐285S‐C   CO               Grand Junction
 RETL     ROAD TRAILER     RTL‐SA   RETL140280     2017   STGHT   1DW1A2812HB720145   DVW‐285S‐C   CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140282     2017   STGHT   1DW1A281XHB720149   DVW‐285S‐C   CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140286     2017   STGHT   1DW1A2819HB720160   DVW‐285S‐C   CA               Santa Maria
 RETL     ROAD TRAILER     RTL‐SA   RETL140295     2017   STGHT   1DW1A2817HB720173   DVW‐285S‐C   ID               Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL140296     2017   STGHT   1DW1A2819HB720174   DVW‐285S‐C   AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL140319     2017   STGHT   1DW1A2812HB720209   DVW‐285S‐C   KS               Wichita
 RETL     ROAD TRAILER     RTL‐SA   RETL140323     2017   STGHT   1DW1A281XHB720216   DVW‐285S‐C   UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL140341     2017   STGHT   1DW1A2810HB720242   DVW‐285S‐C   CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140348     2017   STGHT   1DW1A2811HB720251   DVW‐285S‐C   CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL140358     2017   STGHT   1DW1A2815HB720267   DVW‐285S‐C   CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL140360     2017   STGHT   1DW1A2815HB720270   DVW‐285S‐C   CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL140361     2017   STGHT   1DW1A2817HB720271   DVW‐285S‐C   CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL140364     2017   STGHT   1DW1A2814HB720275   DVW‐285S‐C   AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL140367     2017   STGHT   1DW1A281XHB720281   DVW‐285S‐C   OH               Cincinnati
 RETL     ROAD TRAILER     RTL‐SA   RETL140369     2017   STGHT   1DW1A2813HB720283   DVW‐285S‐C   CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL140374     2017   STGHT   1DW1A2810HB720290   DVW‐285S‐C   ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL140376     2017   STGHT   1DW1A2818HB720294   DVW‐285S‐C   UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL140385     2017   STGHT   1DW1A2810HB720306   DVW‐285S‐C   CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL140387     2017   STGHT   1DW1A2814HB720311   DVW‐285S‐C   CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL140389     2017   STGHT   1DW1A2818HB720313   DVW‐285S‐C   CA               Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL140391     2017   STGHT   1DW1A2813HB720316   DVW‐285S‐C   CA               Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL140392     2017   STGHT   1DW1A2815HB720317   DVW‐285S‐C   CA               Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL140393     2017   STGHT   1DW1A2817HB720318   DVW‐285S‐C   CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL140400     2017   STGHT   1DW1A281XHB720328   DVW‐285S‐C   ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL140401     2017   STGHT   1DW1A2818HB720330   DVW‐285S‐C   CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL140407     2017   STGHT   1DW1A2814HB720339   DVW‐285S‐C   CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL140408     2017   STGHT   1DW1A2810HB720340   DVW‐285S‐C   NC               Charlotte
 RETL     ROAD TRAILER     RTL‐SA   RETL140411     2017   STGHT   1DW1A2816HB720343   DVW‐285S‐C   ID               Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL140414     2017   STGHT   1DW1A2811HB720346   DVW‐285S‐C   CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL140428     2017   STGHT   1DW1A2816HB720374   DVW‐285S‐C   UT               St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL140432     2017   STGHT   1DW1A2811HB720380   DVW‐285S‐C   CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL140433     2017   STGHT   1DW1A2813HB720381   DVW‐285S‐C   CO               Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL140436     2017   STGHT   1DW1A2812HB720386   DVW‐285S‐C   UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL140440     2017   STGHT   1DW1A2818HB720392   DVW‐285S‐C   OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL144446     2017   HYUND   3H3V281C0HT286084                OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL144448     2017   HYUND   3H3V281C6HT286123                CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL144459     2017   HYUND   3H3V281C4HT286363                CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL144461     2017   HYUND   3H3V281C5HT286372                WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL144462     2017   HYUND   3H3V281C4HT286380                British Columbia Burnaby
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23           Page 308 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL        State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL144463     2017   HYUND   3H3V281C9HT286391                 CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL144475     2017   HYUND   3H3V281C0HT286506                 CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL144481     2017   HYUND   3H3V281C9HT286584                 WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL144484     2017   HYUND   3H3V281C3HT286645                 CA               Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL144488     2017   HYUND   3H3V281C9HT286729                 WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL144489     2017   HYUND   3H3V281C1HT286739                 CA               Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL144492     2017   HYUND   3H3V281C6HT286770                 CA               Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL144495     2017   HYUND   3H3V281C6HT286820                 AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL144502     2017   HYUND   3H3V281C4HT286976                 WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL144507     2017   HYUND   3H3V281C2HT287026                 WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL144508     2017   HYUND   3H3V281C6HT287045                 CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL144514     2017   HYUND   3H3V281C7HT287166                 WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL144515     2017   HYUND   3H3V281C3HT287214                 OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL144517     2017   HYUND   3H3V281C6HT287238                 CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL144518     2017   HYUND   3H3V281C2HT287270                 NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL144524     2017   STGHT   1DW1A2816HS716860                 VA               Fishersville
 RETL     ROAD TRAILER     RTL‐SA   RETL144526     2017   STGHT   1DW1A2813HS716864                 ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL144532     2017   STGHT   1DW1A2812HS716922                 WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL144537     2017   STGHT   1DW1A2817HB719024                 OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL144540     2017   STGHT   1DW1A2814HB719045                 OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL144543     2017   STGHT   1DW1A2812HB719058                 CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL144545     2017   STGHT   1DW1A2812HB719125                 CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL144548     2017   STGHT   1DW1A2814HB719143                 WA               Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL144550     2017   STGHT   1DW1A2813HB719165                 CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL144556     2017   STGHT   1DW1A2818HB719260                 AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL144557     2017   STGHT   1DW1A2811HB719262                 CA               Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL144568     2017   STGHT   1DW1A2815HB719409                 WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL144570     2017   STGHT   1DW1A2811HB719438                 CA               Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL144577     2017   STGHT   1DW1A2810HB719513                 CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL144581     2017   STGHT   1DW1A2812HB719626                 CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL144583     2017   STGHT   1DW1A2816HB719662                 UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL144589     2017   STGHT   1DW1A2812HB719707                 CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL144595     2017   STGHT   1DW1A2810HB719852                 CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL144603     2017   STGHT   1DW1A2819HB719977                 CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL144605     2017   STGHT   1DW1A2819HB719994                 CA               Willows
 RETL     ROAD TRAILER     RTL‐SA   RETL144607     2017   STGHT   1DW1A2817HB720013                 CA               Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL144614     2017   STGHT   1DW1A2815HB720091                 CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL144616     2017   STGHT   1DW1A2818HB720117                 CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL144618     2017   STGHT   1DW1A2813HB720123                 UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL144627     2017   STGHT   1DW1A2816HB720259                 OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL144630     2017   STGHT   1DW1A2812HB720288                 CA               Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL144633     2017   STGHT   1DW1A2812HB720310                 CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL144637     2017   STGHT   1DW1A2817HB720349                 AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL144639     2017   STGHT   1DW1A2816HB720360                 WA               Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL144640     2017   STGHT   1DW1A281XHB720362                 WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL144642     2017   STGHT   1DW1A281XHB720393                 CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL144644     2017   HYUND   1DW1A2813HB719103                 CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL144647     2017   HYUND   1DW1A281XHB720247                 CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL145807     2005   GRTDN   1GRAA56135K263647   DRY V         British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL145808     2005   GRTDN   1GRAA56165K263657   DRY V         WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL145809     2005   GRTDN   1GRAA56145K263673   DRY V         WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL145810     2003   GRTDN   1GRAA56113K247699   DRY V         CA               Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL280062     2003   GRTDN   1GRAA561X3K247667   DRY V         CA               Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL280063     2003   GRTDN   1GRAA56113K247668   DRY V         NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL280065     2003   GRTDN   1GRAA561X3K247670   DRY V         OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL280070     2003   GRTDN   1GRAA56193K247675   DRY V         NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL280077     2003   GRTDN   1GRAA56163K247682   DRY V         CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL280081     2003   GRTDN   1GRAA56133K247686   DRY V         CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL280092     2003   GRTDN   1GRAA56183K247697   DRY V         AZ               Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL280093     2003   GRTDN   1GRAA561X3K247698   DRY V         CO               Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL280095     2003   GRTDN   1GRAA56143K247700   DRY V         ID               Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL280098     2003   GRTDN   1GRAA561X3K247703   DRY V         CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280099     2003   GRTDN   1GRAA56113K247704   DRY V         AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280100     2003   GRTDN   1GRAA56133K247705   DRY V         AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280102     2003   GRTDN   1GRAA56153K247706   DRY V         CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280106     2003   GRTDN   1GRAA56173K247710   DRY V         AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280108     2003   GRTDN   1GRAA56103K247712   DRY V         CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL280114     2003   GRTDN   1GRAA56113K247718   DRY V         WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL280120     2003   GRTDN   1GRAA56173K247724   DRY V         UT               St. George
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 309 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL280123     2003   GRTDN   1GRAA56123K247727   DRY V     WY      Buffalo
 RETL     ROAD TRAILER     RTL‐SA   RETL280130     2003   GRTDN   1GRAA561X3K247734   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL280136     2003   GRTDN   1GRAA56153K247740   DRY V     CA      Eureka
 RETL     ROAD TRAILER     RTL‐SA   RETL280138     2003   GRTDN   1GRAA56193K247742   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL280139     2003   GRTDN   1GRAA56103K247743   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL280146     2003   GRTDN   1GRAA56123K247680   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL280153     2003   GRTDN   1GRAA56103K247757   DRY V     ID      Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL280154     2003   GRTDN   1GRAA56123K247758   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL280155     2003   GRTDN   1GRAA56143K247759   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL280158     2003   GRTDN   1GRAA56143K247762   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL280160     2003   GRTDN   1GRAA56183K247764   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL280166     2003   GRTDN   1GRAA56133K247770   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280168     2003   GRTDN   1GRAA56173K247772   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280170     2003   GRTDN   1GRAA56103K247774   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280171     2003   GRTDN   1GRAA56123K247775   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL280172     2003   GRTDN   1GRAA56143K247776   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280173     2003   GRTDN   1GRAA56163K247777   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL280176     2003   GRTDN   1GRAA56183K247781   DRY V     AZ      Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL280179     2003   GRTDN   1GRAA56133K247784   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL280181     2003   GRTDN   1GRAA56173K247786   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL280183     2003   GRTDN   1GRAA56103K247788   DRY V     CA      Santa Maria
 RETL     ROAD TRAILER     RTL‐SA   RETL280191     2003   GRTDN   1GRAA561X3K247796   DRY V     UT      St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL280193     2003   GRTDN   1GRAA56133K247798   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL280196     2003   GRTDN   1GRAA561X3K247801   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL280198     2003   GRTDN   1GRAA56133K247803   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL280201     2003   GRTDN   1GRAA56193K247806   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL280203     2003   GRTDN   1GRAA56123K247808   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL280208     2003   GRTDN   1GRAA56163K247813   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL280209     2003   GRTDN   1GRAA56163K254325   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280210     2003   GRTDN   1GRAA56183K254326   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL280211     2003   GRTDN   1GRAA561X3K254327   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL280214     2003   GRTDN   1GRAA561X3K254330   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL280215     2003   GRTDN   1GRAA56113K254331   DRY V     PA      Carlisle
 RETL     ROAD TRAILER     RTL‐SA   RETL280216     2003   GRTDN   1GRAA56133K254332   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL280220     2003   GRTDN   1GRAA56103K254336   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280221     2003   GRTDN   1GRAA56123K254337   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280222     2003   GRTDN   1GRAA56143K254338   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL280232     2003   GRTDN   1GRAA56173K254348   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL280233     2003   GRTDN   1GRAA56193K254349   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL280234     2003   GRTDN   1GRAA56153K254350   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280235     2003   GRTDN   1GRAA56173K254351   DRY V     ID      Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL280237     2003   GRTDN   1GRAA56103K254353   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL280243     2003   GRTDN   1GRAA56113K254359   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280246     2003   GRTDN   1GRAA56113K254362   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280251     2003   GRTDN   1GRAA56103K254367   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL280253     2003   GRTDN   1GRAA56143K254369   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL280254     2003   GRTDN   1GRAA56103K254370   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL280256     2003   GRTDN   1GRAA56143K254372   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280259     2003   GRTDN   1GRAA561X3K254375   DRY V     CA      Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL280265     2003   GRTDN   1GRAA56153K254381   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280269     2003   GRTDN   1GRAA56123K254385   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280273     2003   GRTDN   1GRAA561X3K254389   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL280276     2003   GRTDN   1GRAA561X3K254392   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL280277     2003   GRTDN   1GRAA56113K254393   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL280278     2003   GRTDN   1GRAA56133K254394   DRY V     CA      Brisbane
 RETL     ROAD TRAILER     RTL‐SA   RETL280282     2003   GRTDN   1GRAA56123K254399   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL280288     2003   GRTDN   1GRAA56143K254405   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280297     2003   GRTDN   1GRAA56173K254415   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL280299     2003   GRTDN   1GRAA56103K254417   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280300     2003   GRTDN   1GRAA56123K254418   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL280304     2003   GRTDN   1GRAA56143K254422   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL280308     2003   GRTDN   1GRAA56113K254426   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL280312     2003   GRTDN   1GRAA56133K254430   DRY V     UT      Beaver
 RETL     ROAD TRAILER     RTL‐SA   RETL280313     2003   GRTDN   1GRAA56153K254431   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280314     2003   GRTDN   1GRAA56173K254432   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280318     2003   GRTDN   1GRAA56143K254436   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280324     2003   GRTDN   1GRAA561X3K254442   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL280326     2003   GRTDN   1GRAA56133K254444   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL280330     2003   GRTDN   1GRAA56103K254448   DRY V     CA      West Sacramento
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 310 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL280335     2003   GRTDN   1GRAA56143K254453   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL280336     2003   GRTDN   1GRAA56163K254454   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL280339     2003   GRTDN   1GRAA56113K254457   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280340     2003   GRTDN   1GRAA56133K254458   DRY V     CA      Brisbane
 RETL     ROAD TRAILER     RTL‐SA   RETL280345     2003   GRTDN   1GRAA56173K254463   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL280347     2003   GRTDN   1GRAA56103K254465   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL280348     2003   GRTDN   1GRAA56123K254466   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280350     2003   GRTDN   1GRAA56163K254468   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL280352     2003   GRTDN   1GRAA56143K254470   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL280353     2003   GRTDN   1GRAA56163K254471   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL280354     2003   GRTDN   1GRAA56183K254472   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL280355     2003   GRTDN   1GRAA56113K254474   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280357     2003   GRTDN   1GRAA56153K254476   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL280358     2003   GRTDN   1GRAA56173K254477   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL280359     2003   GRTDN   1GRAA56193K254478   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL280360     2003   GRTDN   1GRAA56103K254479   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL280363     2003   GRTDN   1GRAA56103K254482   DRY V     MT      Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL280365     2003   GRTDN   1GRAA56143K254484   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280366     2003   GRTDN   1GRAA56163K254485   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL280367     2003   GRTDN   1GRAA56183K254486   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL280368     2003   GRTDN   1GRAA561X3K254487   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL280369     2003   GRTDN   1GRAA56113K254488   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL280381     2003   GRTDN   1GRAA57183K248301   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280473     2004   GRTDN   1GRAA56164K255394   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL280495     2004   GRTDN   1GRAA56164K255427   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL280525     2004   GRTDN   1GRAA56104K255388   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL280527     2004   GRTDN   1GRAA56164K255413   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL280592     2004   GRTDN   1GRAA561X4K255494   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283425     2003   GRTDN   1GRAA56163K254499   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL283426     2003   GRTDN   1GRAA56193K254500   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL283427     2003   GRTDN   1GRAA56103K254501   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283428     2003   GRTDN   1GRAA56123K254502   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL283429     2003   GRTDN   1GRAA56143K254503   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283430     2003   GRTDN   1GRAA56163K254504   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283432     2003   GRTDN   1GRAA561X3K254506   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL283433     2003   GRTDN   1GRAA56113K254507   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283434     2003   GRTDN   1GRAA56133K254508   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283435     2003   GRTDN   1GRAA56153K254509   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283437     2003   GRTDN   1GRAA56133K254511   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL283438     2003   GRTDN   1GRAA56153K254512   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL283439     2003   GRTDN   1GRAA56173K254513   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL283440     2003   GRTDN   1GRAA56193K254514   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL283441     2003   GRTDN   1GRAA56103K254515   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL283442     2003   GRTDN   1GRAA56123K254516   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283443     2003   GRTDN   1GRAA56143K254517   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL283444     2003   GRTDN   1GRAA56163K254518   DRY V     AZ      Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL283445     2003   GRTDN   1GRAA56183K254519   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL283448     2003   GRTDN   1GRAA56183K254522   DRY V     UT      St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL283450     2003   GRTDN   1GRAA56113K254524   DRY V     UT      Beaver
 RETL     ROAD TRAILER     RTL‐SA   RETL283451     2003   GRTDN   1GRAA56133K254525   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL283452     2003   GRTDN   1GRAA56153K254526   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283453     2003   GRTDN   1GRAA56173K254527   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL283456     2003   GRTDN   1GRAA56173K254530   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL283457     2003   GRTDN   1GRAA56193K254531   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL283460     2003   GRTDN   1GRAA56143K254534   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL283461     2003   GRTDN   1GRAA56163K254535   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283462     2003   GRTDN   1GRAA56183K254536   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283463     2003   GRTDN   1GRAA561X3K254537   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283464     2003   GRTDN   1GRAA56113K254538   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL283465     2003   GRTDN   1GRAA56133K254539   DRY V     CA      Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL283466     2003   GRTDN   1GRAA561X3K254540   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL283467     2003   GRTDN   1GRAA56113K254541   DRY V     CA      Brisbane
 RETL     ROAD TRAILER     RTL‐SA   RETL283468     2003   GRTDN   1GRAA56133K254542   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283470     2003   GRTDN   1GRAA56173K254544   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL283471     2003   GRTDN   1GRAA56193K254545   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283472     2003   GRTDN   1GRAA56103K254546   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL283474     2003   GRTDN   1GRAA56143K254548   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL283475     2003   GRTDN   1GRAA56163K254549   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL283476     2003   GRTDN   1GRAA56123K254550   DRY V     AZ      Phoenix
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 311 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL283480     2003   GRTDN   1GRAA561X3K254554   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283481     2003   GRTDN   1GRAA56113K254555   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL283483     2003   GRTDN   1GRAA56153K254557   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283485     2003   GRTDN   1GRAA56193K254559   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL283486     2003   GRTDN   1GRAA56153K254560   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283487     2003   GRTDN   1GRAA56173K254561   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL283488     2003   GRTDN   1GRAA56193K254562   DRY V     TX      San Antonio
 RETL     ROAD TRAILER     RTL‐SA   RETL283489     2003   GRTDN   1GRAA56103K254563   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL283491     2003   GRTDN   1GRAA56143K254565   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283492     2003   GRTDN   1GRAA56163K254566   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283493     2003   GRTDN   1GRAA56183K254567   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL283494     2003   GRTDN   1GRAA561X3K254568   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL283495     2003   GRTDN   1GRAA56113K254569   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL283554     2000   STRCK   1S11E8282YE460910   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283558     2000   STRCK   1S11E828XYE460914   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283563     2000   STRCK   1S11E8289YE460919   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283625     2000   STRCK   1S11E8283YE460981   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL283648     2000   STRCK   1S11E8289YE461004   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL283740     2000   STRCK   1S11E8287YE461096   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283866     2002   STRCK   1S11E82822E492912   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283894     2002   STRCK   1S11E82832E494085   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283895     2002   STRCK   1S11E82852E494086   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283897     2003   GRTDN   1GRAA56123K255634   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283898     2003   GRTDN   1GRAA56143K255635   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL283900     2003   GRTDN   1GRAA56183K255637   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL283901     2003   GRTDN   1GRAA561X3K255638   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL283902     2003   GRTDN   1GRAA56113K255639   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283903     2003   GRTDN   1GRAA56183K255640   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL283905     2003   GRTDN   1GRAA56113K255642   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283907     2003   GRTDN   1GRAA56153K255644   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283908     2003   GRTDN   1GRAA56173K255645   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283909     2003   GRTDN   1GRAA56193K255646   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL283910     2003   GRTDN   1GRAA56103K255647   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283911     2003   GRTDN   1GRAA56123K255648   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283912     2003   GRTDN   1GRAA56143K255649   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283913     2003   GRTDN   1GRAA56103K255650   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283914     2003   GRTDN   1GRAA56123K255651   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL283915     2003   GRTDN   1GRAA56143K255652   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL283916     2003   GRTDN   1GRAA56163K255653   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL283917     2003   GRTDN   1GRAA56183K255654   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL283921     2003   GRTDN   1GRAA56153K255658   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283922     2003   GRTDN   1GRAA56173K255659   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL283923     2003   GRTDN   1GRAA56133K255660   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL283924     2003   GRTDN   1GRAA56153K255661   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL283925     2003   GRTDN   1GRAA56173K255662   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283927     2003   GRTDN   1GRAA56103K255664   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283928     2003   GRTDN   1GRAA56123K255665   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283929     2003   GRTDN   1GRAA56143K255666   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL283932     2003   GRTDN   1GRAA561X3K255669   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283933     2003   GRTDN   1GRAA56163K255670   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL283934     2003   GRTDN   1GRAA56183K255671   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL283935     2003   GRTDN   1GRAA561X3K255672   DRY V     CA      Willows
 RETL     ROAD TRAILER     RTL‐SA   RETL283936     2003   GRTDN   1GRAA56113K255673   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283937     2003   GRTDN   1GRAA56133K255674   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283938     2003   GRTDN   1GRAA56153K255675   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL283939     2003   GRTDN   1GRAA56173K255676   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283940     2003   GRTDN   1GRAA56193K255677   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL283941     2003   GRTDN   1GRAA56103K255678   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283942     2003   GRTDN   1GRAA56123K255679   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL283945     2003   GRTDN   1GRAA56123K255682   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283946     2003   GRTDN   1GRAA56143K255683   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL283949     2003   GRTDN   1GRAA561X3K255686   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283950     2003   GRTDN   1GRAA56113K255687   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL283952     2003   GRTDN   1GRAA56153K255689   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283953     2003   GRTDN   1GRAA56113K255690   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL283954     2003   GRTDN   1GRAA56133K255691   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL283955     2003   GRTDN   1GRAA56153K255692   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283956     2003   GRTDN   1GRAA56173K255693   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL283958     2003   GRTDN   1GRAA56103K255695   DRY V     CA      Willows
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 312 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL283960     2003   GRTDN   1GRAA56143K255697   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL283961     2003   GRTDN   1GRAA56163K255698   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL283962     2003   GRTDN   1GRAA56183K255699   DRY V     CO      Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL283964     2003   GRTDN   1GRAA56123K255701   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283965     2003   GRTDN   1GRAA56143K255702   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL283966     2003   GRTDN   1GRAA56163K255703   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL283967     2003   GRTDN   1GRAA56183K255704   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283968     2003   GRTDN   1GRAA561X3K255705   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL283971     2003   GRTDN   1GRAA56153K255708   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283973     2003   GRTDN   1GRAA56133K255710   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL283974     2003   GRTDN   1GRAA56153K255711   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL283975     2003   GRTDN   1GRAA56173K255712   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283976     2003   GRTDN   1GRAA56193K255713   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL283978     2003   GRTDN   1GRAA56123K255715   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL283979     2003   GRTDN   1GRAA56143K255716   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL283981     2003   GRTDN   1GRAA56183K255718   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283982     2003   GRTDN   1GRAA561X3K255719   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL283983     2003   GRTDN   1GRAA56163K255720   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL283984     2003   GRTDN   1GRAA56183K255721   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL283985     2003   GRTDN   1GRAA561X3K255722   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL283986     2003   GRTDN   1GRAA56113K255723   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL283987     2003   GRTDN   1GRAA56133K255724   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL283989     2003   GRTDN   1GRAA56173K255726   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL283991     2003   GRTDN   1GRAA56103K255728   DRY V     UT      St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL283992     2003   GRTDN   1GRAA56123K255729   DRY V     NV      Elko
 RETL     ROAD TRAILER     RTL‐SA   RETL283993     2003   GRTDN   1GRAA56193K255730   DRY V     NV      Carlin
 RETL     ROAD TRAILER     RTL‐SA   RETL283995     2003   GRTDN   1GRAA56123K255732   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL283996     2003   GRTDN   1GRAA56143K255733   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL283997     2003   GRTDN   1GRAA56163K255734   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL283998     2003   GRTDN   1GRAA56183K255735   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284000     2003   GRTDN   1GRAA56113K255737   DRY V     UT      St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL284003     2003   GRTDN   1GRAA56113K255740   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284005     2003   GRTDN   1GRAA56153K255742   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284006     2003   GRTDN   1GRAA56173K255743   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284007     2003   GRTDN   1GRAA56193K255744   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284009     2003   GRTDN   1GRAA56123K255746   DRY V     MT      Great Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL284013     2003   GRTDN   1GRAA56143K255750   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL284014     2003   GRTDN   1GRAA56163K255751   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284015     2003   GRTDN   1GRAA56183K255752   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284016     2003   GRTDN   1GRAA561X3K255753   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284017     2003   GRTDN   1GRAA56113K255754   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284018     2003   GRTDN   1GRAA56133K255755   DRY V     WA      East Wenatchee
 RETL     ROAD TRAILER     RTL‐SA   RETL284019     2003   GRTDN   1GRAA56153K255756   DRY V     CO      Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL284020     2003   GRTDN   1GRAA56173K255757   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284025     2003   GRTDN   1GRAA56103K255762   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284027     2003   GRTDN   1GRAA56143K255764   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284028     2003   GRTDN   1GRAA56163K255765   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284029     2003   GRTDN   1GRAA56183K255766   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284030     2003   GRTDN   1GRAA561X3K255767   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284031     2003   GRTDN   1GRAA56113K255768   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284032     2003   GRTDN   1GRAA56133K255769   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284034     2003   GRTDN   1GRAA56113K255771   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284035     2003   GRTDN   1GRAA56133K255772   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284036     2003   GRTDN   1GRAA56153K255773   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284039     2003   GRTDN   1GRAA56103K255776   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284040     2003   GRTDN   1GRAA56123K255777   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL284041     2003   GRTDN   1GRAA56143K255778   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284043     2003   GRTDN   1GRAA56123K255780   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284044     2003   GRTDN   1GRAA56143K255781   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284046     2003   GRTDN   1GRAA56183K255783   DRY V     CA      Calexico
 RETL     ROAD TRAILER     RTL‐SA   RETL284047     2003   GRTDN   1GRAA561X3K255784   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284048     2003   GRTDN   1GRAA56113K255785   DRY V     WA      Bellingham
 RETL     ROAD TRAILER     RTL‐SA   RETL284050     2003   GRTDN   1GRAA56153K255787   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL284051     2003   GRTDN   1GRAA56173K255788   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284052     2003   GRTDN   1GRAA56193K255789   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284053     2003   GRTDN   1GRAA56153K255790   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284054     2003   GRTDN   1GRAA56173K255791   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284055     2003   GRTDN   1GRAA56193K255792   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL284056     2003   GRTDN   1GRAA56103K255793   DRY V     CO      Aurora
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 313 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL284059     2003   GRTDN   1GRAA56163K255796   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284060     2003   GRTDN   1GRAA56183K255797   DRY V     NV      Elko
 RETL     ROAD TRAILER     RTL‐SA   RETL284061     2003   GRTDN   1GRAA561X3K255798   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284063     2003   GRTDN   1GRAA56143K255800   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284064     2003   GRTDN   1GRAA56163K255801   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284065     2003   GRTDN   1GRAA56183K255802   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL284066     2003   GRTDN   1GRAA561X3K255803   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284067     2003   GRTDN   1GRAA56113K255804   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284068     2003   GRTDN   1GRAA56133K255805   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284069     2003   GRTDN   1GRAA56153K255806   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284070     2003   GRTDN   1GRAA56173K255807   DRY V     CA      Eureka
 RETL     ROAD TRAILER     RTL‐SA   RETL284071     2003   GRTDN   1GRAA56193K255808   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284072     2003   GRTDN   1GRAA56103K255809   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284075     2003   GRTDN   1GRAA56103K255812   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284076     2003   GRTDN   1GRAA56123K255813   DRY V     MT      Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL284077     2003   GRTDN   1GRAA56143K255814   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL284078     2003   GRTDN   1GRAA56163K255815   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284079     2003   GRTDN   1GRAA56183K255816   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284080     2003   GRTDN   1GRAA561X3K255817   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284083     2003   GRTDN   1GRAA561X3K255820   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284084     2003   GRTDN   1GRAA56113K255821   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284087     2003   GRTDN   1GRAA56173K255824   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL284088     2003   GRTDN   1GRAA56193K255825   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284089     2003   GRTDN   1GRAA56103K255826   DRY V     CA      Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL284090     2003   GRTDN   1GRAA56123K255827   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284091     2003   GRTDN   1GRAA56143K255828   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL284092     2003   GRTDN   1GRAA56163K255829   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284093     2003   GRTDN   1GRAA56123K255830   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284094     2003   GRTDN   1GRAA56143K255831   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284095     2003   GRTDN   1GRAA56163K255832   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284096     2003   GRTDN   1GRAA56183K255833   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284097     2003   GRTDN   1GRAA561X3K255834   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284098     2003   GRTDN   1GRAA56113K255835   DRY V     MT      Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL284099     2003   GRTDN   1GRAA56133K255836   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284100     2003   GRTDN   1GRAA56153K255837   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284101     2003   GRTDN   1GRAA56173K255838   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284102     2003   GRTDN   1GRAA56193K255839   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284103     2003   GRTDN   1GRAA56153K255840   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284104     2003   GRTDN   1GRAA56173K255841   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284105     2003   GRTDN   1GRAA56193K255842   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284107     2003   GRTDN   1GRAA56123K255844   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284108     2003   GRTDN   1GRAA56143K255845   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284110     2003   GRTDN   1GRAA56183K255847   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL284111     2003   GRTDN   1GRAA561X3K255848   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284112     2003   GRTDN   1GRAA56113K255849   DRY V     NM      Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL284113     2003   GRTDN   1GRAA56124K255344   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284114     2003   GRTDN   1GRAA56144K255345   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284115     2003   GRTDN   1GRAA56164K255346   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284116     2003   GRTDN   1GRAA56184K255347   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284117     2003   GRTDN   1GRAA561X4K255348   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284118     2003   GRTDN   1GRAA56114K255349   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284119     2003   GRTDN   1GRAA56184K255350   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284120     2003   GRTDN   1GRAA561X4K255351   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL284122     2003   GRTDN   1GRAA56134K255353   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284123     2003   GRTDN   1GRAA56154K255354   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284124     2003   GRTDN   1GRAA56174K255355   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284125     2003   GRTDN   1GRAA56194K255356   DRY V     AZ      Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL284126     2003   GRTDN   1GRAA56104K255357   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284127     2003   GRTDN   1GRAA56124K255358   DRY V     OH      Copley
 RETL     ROAD TRAILER     RTL‐SA   RETL284129     2003   GRTDN   1GRAA56104K255360   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284130     2003   GRTDN   1GRAA56124K255361   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284131     2003   GRTDN   1GRAA56144K255362   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL284133     2003   GRTDN   1GRAA56184K255364   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284134     2003   GRTDN   1GRAA561X4K255365   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284135     2003   GRTDN   1GRAA56114K255366   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284136     2003   GRTDN   1GRAA56134K255367   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284138     2004   GRTDN   1GRAA561X4K263384   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284139     2004   GRTDN   1GRAA56114K263385   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284140     2004   GRTDN   1GRAA56134K263386   DRY V     CO      Aurora
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 314 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL284142     2004   GRTDN   1GRAA56174K263388   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284143     2004   GRTDN   1GRAA56194K263389   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284144     2004   GRTDN   1GRAA56154K263390   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284145     2004   GRTDN   1GRAA56174K263391   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284146     2004   GRTDN   1GRAA56194K263392   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284147     2004   GRTDN   1GRAA56104K263393   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL284148     2004   GRTDN   1GRAA56124K263394   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284149     2004   GRTDN   1GRAA56144K263395   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284150     2004   GRTDN   1GRAA56164K263396   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284151     2004   GRTDN   1GRAA56184K263397   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284152     2004   GRTDN   1GRAA561X4K263398   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284154     2004   GRTDN   1GRAA56144K263400   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284155     2004   GRTDN   1GRAA56164K263401   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284156     2004   GRTDN   1GRAA56184K263402   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284157     2004   GRTDN   1GRAA561X4K263403   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284158     2004   GRTDN   1GRAA56114K263404   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284161     2004   GRTDN   1GRAA56174K263407   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284162     2004   GRTDN   1GRAA56194K263408   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284163     2004   GRTDN   1GRAA56104K263409   DRY V     CA      Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL284165     2004   GRTDN   1GRAA56194K263411   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL284166     2004   GRTDN   1GRAA56104K263412   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284167     2004   GRTDN   1GRAA56124K263413   DRY V     CO      Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL284169     2004   GRTDN   1GRAA56164K263415   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL284170     2004   GRTDN   1GRAA56184K263416   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284171     2004   GRTDN   1GRAA561X4K263417   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284172     2004   GRTDN   1GRAA56114K263418   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284173     2004   GRTDN   1GRAA56134K263419   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284174     2004   GRTDN   1GRAA561X4K263420   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL284176     2004   GRTDN   1GRAA56134K263422   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL284177     2004   GRTDN   1GRAA56154K263423   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284179     2004   GRTDN   1GRAA56194K263425   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284180     2004   GRTDN   1GRAA56104K263426   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284182     2004   GRTDN   1GRAA56144K263428   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284183     2004   GRTDN   1GRAA56164K263429   DRY V     OR      Redmond
 RETL     ROAD TRAILER     RTL‐SA   RETL284184     2004   GRTDN   1GRAA56124K263430   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284185     2004   GRTDN   1GRAA56144K263431   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL284187     2004   GRTDN   1GRAA56184K263433   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284188     2004   GRTDN   1GRAA561X4K263434   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284189     2004   GRTDN   1GRAA56114K263435   DRY V     MT      Great Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL284190     2004   GRTDN   1GRAA56134K263436   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284191     2004   GRTDN   1GRAA56154K263437   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284192     2004   GRTDN   1GRAA56174K263438   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284193     2004   GRTDN   1GRAA56194K263439   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL284194     2004   GRTDN   1GRAA56154K263440   DRY V     CA      Santa Maria
 RETL     ROAD TRAILER     RTL‐SA   RETL284195     2004   GRTDN   1GRAA56174K263441   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284196     2004   GRTDN   1GRAA56194K263442   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL284197     2004   GRTDN   1GRAA56104K263443   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL284198     2004   GRTDN   1GRAA56124K263444   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284199     2004   GRTDN   1GRAA56144K263445   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL284200     2004   GRTDN   1GRAA56164K263446   DRY V     AZ      Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL284201     2004   GRTDN   1GRAA56184K263447   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284202     2004   GRTDN   1GRAA561X4K263448   DRY V     WY      Buffalo
 RETL     ROAD TRAILER     RTL‐SA   RETL284203     2004   GRTDN   1GRAA56114K263449   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284205     2004   GRTDN   1GRAA561X4K263451   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284206     2004   GRTDN   1GRAA56114K263452   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284207     2004   GRTDN   1GRAA56134K263453   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284208     2004   GRTDN   1GRAA56154K263454   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284209     2004   GRTDN   1GRAA56174K263455   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284210     2004   GRTDN   1GRAA56194K263456   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284211     2004   GRTDN   1GRAA56104K263457   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284212     2004   GRTDN   1GRAA56124K263458   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284213     2004   GRTDN   1GRAA56144K263459   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284214     2004   GRTDN   1GRAA56104K263460   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284215     2004   GRTDN   1GRAA56124K263461   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL284216     2004   GRTDN   1GRAA56144K263462   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284217     2004   GRTDN   1GRAA56164K263463   DRY V     CO      Clifton
 RETL     ROAD TRAILER     RTL‐SA   RETL284218     2004   GRTDN   1GRAA56184K263464   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284219     2004   GRTDN   1GRAA561X4K263465   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284220     2004   GRTDN   1GRAA56114K263466   DRY V     UT      Salt Lake City
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 315 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL284221     2004   GRTDN   1GRAA56134K263467   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL284222     2004   GRTDN   1GRAA56154K263468   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284223     2004   GRTDN   1GRAA56174K263469   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284224     2004   GRTDN   1GRAA56134K263470   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284225     2004   GRTDN   1GRAA56154K263471   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284226     2004   GRTDN   1GRAA56174K263472   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284227     2004   GRTDN   1GRAA56194K263473   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL284228     2004   GRTDN   1GRAA56104K263474   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284229     2004   GRTDN   1GRAA56124K263475   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284231     2004   GRTDN   1GRAA56164K263477   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL284232     2004   GRTDN   1GRAA56184K263478   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284233     2004   GRTDN   1GRAA561X4K263479   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284234     2004   GRTDN   1GRAA56164K263480   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284235     2004   GRTDN   1GRAA56184K263481   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284236     2004   GRTDN   1GRAA561X4K263482   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284237     2004   GRTDN   1GRAA56114K263483   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284238     2004   GRTDN   1GRAA56134K263484   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284239     2004   GRTDN   1GRAA56154K263485   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284240     2004   GRTDN   1GRAA56174K263486   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL284241     2004   GRTDN   1GRAA56194K263487   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284242     2004   GRTDN   1GRAA56104K263488   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284243     2004   GRTDN   1GRAA56124K263489   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284244     2004   GRTDN   1GRAA56194K263490   DRY V     CA      Santa Maria
 RETL     ROAD TRAILER     RTL‐SA   RETL284245     2004   GRTDN   1GRAA56104K263491   DRY V     UT      Beaver
 RETL     ROAD TRAILER     RTL‐SA   RETL284246     2004   GRTDN   1GRAA56124K263492   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284247     2004   GRTDN   1GRAA56144K263493   DRY V     WY      Buffalo
 RETL     ROAD TRAILER     RTL‐SA   RETL284248     2004   GRTDN   1GRAA56164K263494   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284249     2004   GRTDN   1GRAA56184K263495   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284251     2004   GRTDN   1GRAA56114K263497   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284252     2004   GRTDN   1GRAA56134K263498   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284253     2004   GRTDN   1GRAA56154K263499   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL284254     2004   GRTDN   1GRAA56184K263500   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284255     2004   GRTDN   1GRAA561X4K263501   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284256     2004   GRTDN   1GRAA56114K263502   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284257     2004   GRTDN   1GRAA56134K263503   DRY V     TX      Abilene
 RETL     ROAD TRAILER     RTL‐SA   RETL284258     2004   GRTDN   1GRAA56154K263504   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284259     2004   GRTDN   1GRAA56174K263505   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284260     2004   GRTDN   1GRAA56194K263506   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284261     2004   GRTDN   1GRAA56104K263507   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL284262     2004   GRTDN   1GRAA56124K263508   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284263     2004   GRTDN   1GRAA56144K263509   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284264     2004   GRTDN   1GRAA56104K263510   DRY V     NM      Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL284265     2004   GRTDN   1GRAA56124K263511   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284266     2004   GRTDN   1GRAA56144K263512   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL284267     2004   GRTDN   1GRAA56164K263513   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284268     2004   GRTDN   1GRAA56184K263514   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284269     2004   GRTDN   1GRAA561X4K263515   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284270     2004   GRTDN   1GRAA56114K263516   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL284271     2004   GRTDN   1GRAA56134K263517   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284272     2004   GRTDN   1GRAA56154K263518   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284273     2004   GRTDN   1GRAA56174K263519   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284274     2004   GRTDN   1GRAA56134K263520   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL284275     2004   GRTDN   1GRAA56154K263521   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284276     2004   GRTDN   1GRAA56174K263522   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL284277     2004   GRTDN   1GRAA56194K263523   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284278     2004   GRTDN   1GRAA56104K263524   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284279     2004   GRTDN   1GRAA56124K263525   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL284280     2004   GRTDN   1GRAA56144K263526   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL284281     2004   GRTDN   1GRAA56164K263527   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284282     2004   GRTDN   1GRAA56184K263528   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284283     2004   GRTDN   1GRAA561X4L263529   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284284     2004   GRTDN   1GRAA56164K263530   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284285     2004   GRTDN   1GRAA56184K263531   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284286     2004   GRTDN   1GRAA561X4K263532   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284287     2004   GRTDN   1GRAA56114K263533   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284288     2004   GRTDN   1GRAA56134K263534   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284290     2004   GRTDN   1GRAA56174K263536   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284291     2004   GRTDN   1GRAA56194K263537   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284292     2004   GRTDN   1GRAA56104K263538   DRY V     UT      Salt Lake City
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 316 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL284293     2004   GRTDN   1GRAA56124K263539   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284294     2004   GRTDN   1GRAA56194K263540   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284295     2004   GRTDN   1GRAA56104K263541   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL284296     2004   GRTDN   1GRAA56124K263542   DRY V     AZ               Flagstaff
 RETL     ROAD TRAILER     RTL‐SA   RETL284297     2004   GRTDN   1GRAA56144K263543   DRY V     WA               Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL284298     2004   GRTDN   1GRAA56164K263544   DRY V     CA               Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL284300     2004   GRTDN   1GRAA561X4K263546   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284301     2004   GRTDN   1GRAA56114K263547   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284302     2004   GRTDN   1GRAA56134K263548   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284303     2004   GRTDN   1GRAA56154K263549   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284304     2004   GRTDN   1GRAA56114K263550   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284305     2004   GRTDN   1GRAA56134K263551   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284306     2004   GRTDN   1GRAA56154K263552   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL284307     2004   GRTDN   1GRAA56174K263553   DRY V     OR               La Grande
 RETL     ROAD TRAILER     RTL‐SA   RETL284308     2004   GRTDN   1GRAA56194K263554   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284309     2004   GRTDN   1GRAA56104K263555   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284310     2004   GRTDN   1GRAA56124K263556   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284312     2004   GRTDN   1GRAA56164K263558   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284313     2004   GRTDN   1GRAA56184K263559   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284314     2004   GRTDN   1GRAA56144K263560   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284315     2004   GRTDN   1GRAA56164K263561   DRY V     NM               Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL284316     2004   GRTDN   1GRAA56184K263562   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284317     2004   GRTDN   1GRAA561X4K263563   DRY V     CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284318     2004   GRTDN   1GRAA56114K263564   DRY V     CA               Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL284319     2004   GRTDN   1GRAA56134K263565   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284321     2004   GRTDN   1GRAA56174K263567   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284322     2004   GRTDN   1GRAA56194K263568   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284323     2004   GRTDN   1GRAA56104K263569   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284324     2004   GRTDN   1GRAA56174K263570   DRY V     UT               Beaver
 RETL     ROAD TRAILER     RTL‐SA   RETL284325     2004   GRTDN   1GRAA56194K263571   DRY V     CA               Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284326     2004   GRTDN   1GRAA56104K263572   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284327     2004   GRTDN   1GRAA56124K263573   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284328     2004   GRTDN   1GRAA56144K263574   DRY V     OR               Hermiston
 RETL     ROAD TRAILER     RTL‐SA   RETL284330     2004   GRTDN   1GRAA56144K263576   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284331     2004   GRTDN   1GRAA561X4K263577   DRY V     CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284332     2004   GRTDN   1GRAA56114K263578   DRY V     Alberta          Edmonton
 RETL     ROAD TRAILER     RTL‐SA   RETL284333     2004   GRTDN   1GRAA56134K263579   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284334     2004   GRTDN   1GRAA561X4K263580   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284336     2004   GRTDN   1GRAA56134K263582   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284338     2004   GRTDN   1GRAA56174K263584   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284339     2004   GRTDN   1GRAA56194K263585   DRY V     CA               Calexico
 RETL     ROAD TRAILER     RTL‐SA   RETL284340     2004   GRTDN   1GRAA56104K263586   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284341     2004   GRTDN   1GRAA56124K263587   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284342     2004   GRTDN   1GRAA56144K263588   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284343     2004   GRTDN   1GRAA56164K263589   DRY V     ID               Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL284344     2004   GRTDN   1GRAA56124K263590   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284345     2004   GRTDN   1GRAA56144K263591   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284346     2004   GRTDN   1GRAA56164K263592   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284347     2004   GRTDN   1GRAA56184K263593   DRY V     CA               Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL284348     2004   GRTDN   1GRAA561X4K263594   DRY V     CA               Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL284349     2004   GRTDN   1GRAA56114K263595   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284350     2004   GRTDN   1GRAA56134K263596   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL284351     2004   GRTDN   1GRAA56154K263597   DRY V     CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284352     2004   GRTDN   1GRAA56174K263598   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL284353     2004   GRTDN   1GRAA56164K263599   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284354     2004   GRTDN   1GRAA56114K263600   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284355     2004   GRTDN   1GRAA56134K263601   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284356     2004   GRTDN   1GRAA56154K263602   DRY V     CA               Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL284358     2004   GRTDN   1GRAA56194K263604   DRY V     WA               Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL284359     2004   GRTDN   1GRAA56104K263605   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284360     2004   GRTDN   1GRAA56114K263606   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284362     2004   GRTDN   1GRAA56164K263608   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284363     2004   GRTDN   1GRAA56184K263609   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284364     2004   GRTDN   1GRAA56144K263610   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284365     2004   GRTDN   1GRAA56164K263611   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284366     2004   GRTDN   1GRAA56184K263612   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284367     2004   GRTDN   1GRAA561X4K263613   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284368     2004   GRTDN   1GRAA56114K263614   DRY V     AZ               Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL284369     2004   GRTDN   1GRAA56134K263615   DRY V     CO               Henderson
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 317 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL284370     2004   GRTDN   1GRAA56154K263616   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284371     2004   GRTDN   1GRAA56174K263617   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284373     2004   GRTDN   1GRAA56104K263619   DRY V     UT      St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL284374     2004   GRTDN   1GRAA56174K263620   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284375     2004   GRTDN   1GRAA56194K263621   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284376     2004   GRTDN   1GRAA56104K263622   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284377     2004   GRTDN   1GRAA56124K263623   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284378     2004   GRTDN   1GRAA56144K263624   DRY V     TX      Irving
 RETL     ROAD TRAILER     RTL‐SA   RETL284380     2004   GRTDN   1GRAA56184K263626   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284381     2004   GRTDN   1GRAA561X4K263627   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284382     2004   GRTDN   1GRAA56114K263628   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284383     2004   GRTDN   1GRAA56134K263629   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284384     2004   GRTDN   1GRAA561X4K263630   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284385     2004   GRTDN   1GRAA56114K263631   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284386     2004   GRTDN   1GRAA56134K263632   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL284387     2004   GRTDN   1GRAA56154K263633   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284388     2004   GRTDN   1GRAA56174K263634   DRY V     MT      Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL284389     2004   GRTDN   1GRAA56194K263635   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284390     2004   GRTDN   1GRAA56104K263636   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284391     2004   GRTDN   1GRAA56124K263637   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284393     2004   GRTDN   1GRAA56164K263639   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284394     2004   GRTDN   1GRAA56124K263640   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284395     2004   GRTDN   1GRAA56144K263641   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284396     2004   GRTDN   1GRAA56154K263924   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284397     2004   GRTDN   1GRAA56174K263925   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284398     2004   GRTDN   1GRAA56194K263926   DRY V     TN      Goodlettsville
 RETL     ROAD TRAILER     RTL‐SA   RETL284399     2004   GRTDN   1GRAA56104K263927   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284400     2004   GRTDN   1GRAA56124K263928   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284401     2004   GRTDN   1GRAA56144K263929   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284402     2004   GRTDN   1GRAA56104K263930   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284403     2004   GRTDN   1GRAA56124K263931   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL284404     2004   GRTDN   1GRAA56144K263932   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284405     2004   GRTDN   1GRAA56164K263933   DRY V     CA      Calexico
 RETL     ROAD TRAILER     RTL‐SA   RETL284406     2004   GRTDN   1GRAA56184K263934   DRY V     NV      Elko
 RETL     ROAD TRAILER     RTL‐SA   RETL284407     2004   GRTDN   1GRAA561X4K263935   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL284410     2004   GRTDN   1GRAA56154K263938   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284411     2004   GRTDN   1GRAA56174K263939   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL284412     2004   GRTDN   1GRAA56134K263940   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284413     2004   GRTDN   1GRAA56154K263941   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284414     2004   GRTDN   1GRAA56174K263942   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284415     2004   GRTDN   1GRAA56194K263943   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284416     2004   GRTDN   1GRAA56104K263944   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284417     2004   GRTDN   1GRAA56124K263945   DRY V     CO      Grand Junction
 RETL     ROAD TRAILER     RTL‐SA   RETL284418     2004   GRTDN   1GRAA56144K263946   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284421     2004   GRTDN   1GRAA561X4K263949   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284422     2004   GRTDN   1GRAA56164K263950   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284423     2004   GRTDN   1GRAA56184K263951   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL284424     2004   GRTDN   1GRAA561X4K263952   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL284425     2004   GRTDN   1GRAA56114K263953   DRY V     AZ      Nogales
 RETL     ROAD TRAILER     RTL‐SA   RETL284426     2004   GRTDN   1GRAA56134K263954   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284427     2004   GRTDN   1GRAA56154K263955   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284428     2004   GRTDN   1GRAA56174K263956   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284429     2004   GRTDN   1GRAA56194K263957   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL284430     2004   GRTDN   1GRAA56104K263958   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284431     2004   GRTDN   1GRAA56124K263959   DRY V     AZ      Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL284433     2004   GRTDN   1GRAA56104K263961   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL284435     2004   GRTDN   1GRAA56144K263963   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284436     2004   GRTDN   1GRAA56164K263964   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL284437     2004   GRTDN   1GRAA56184K263965   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284438     2004   GRTDN   1GRAA561X4K263966   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL284439     2004   GRTDN   1GRAA56114K263967   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL284440     2004   GRTDN   1GRAA56134K263968   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284441     2004   GRTDN   1GRAA56154K263969   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL284442     2004   GRTDN   1GRAA56114K263970   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284443     2004   GRTDN   1GRAA56134K263971   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284444     2004   GRTDN   1GRAA56154K263972   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL284445     2004   GRTDN   1GRAA56174K263973   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284446     2004   GRTDN   1GRAA56194K263974   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284447     2004   GRTDN   1GRAA56104K263975   DRY V     WY      Buffalo
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 318 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL284448     2004   GRTDN   1GRAA56124K263976   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284449     2004   GRTDN   1GRAA56144K263977   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284451     2004   GRTDN   1GRAA56184K263979   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284452     2004   GRTDN   1GRAA56144K263980   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL284453     2004   GRTDN   1GRAA56164K263981   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284454     2004   GRTDN   1GRAA56184K263982   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284455     2004   GRTDN   1GRAA561X4K263983   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284456     2004   GRTDN   1GRAA56114K263984   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284457     2004   GRTDN   1GRAA56134K263985   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284458     2004   GRTDN   1GRAA56154K263986   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284460     2004   GRTDN   1GRAA56194K263988   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284461     2004   GRTDN   1GRAA56104K263989   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284462     2004   GRTDN   1GRAA56174K263990   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL284463     2004   GRTDN   1GRAA56194K263991   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL284464     2004   GRTDN   1GRAA56104K263992   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284465     2004   GRTDN   1GRAA56124K263993   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284466     2004   GRTDN   1GRAA56144K263994   DRY V     ID      Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL284467     2004   GRTDN   1GRAA56164K263995   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284469     2004   GRTDN   1GRAA561X4K263997   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284470     2004   GRTDN   1GRAA56114K263998   DRY V     CO      Clifton
 RETL     ROAD TRAILER     RTL‐SA   RETL284471     2004   GRTDN   1GRAA56134K263999   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284472     2004   GRTDN   1GRAA56144K264000   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284473     2004   GRTDN   1GRAA56164K264001   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL284474     2004   GRTDN   1GRAA56184K264002   DRY V     OR      La Grande
 RETL     ROAD TRAILER     RTL‐SA   RETL284475     2004   GRTDN   1GRAA561X4K264003   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284476     2004   GRTDN   1GRAA56114K264004   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284477     2004   GRTDN   1GRAA56134K264005   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284602     2003   GRTDN   1GRAA56143K247664   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284603     2003   GRTDN   1GRAA56163K247665   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL284604     2003   GRTDN   1GRAA56183K247666   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL284605     2003   GRTDN   1GRAA56133K247669   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284606     2003   GRTDN   1GRAA56113K247671   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284607     2003   GRTDN   1GRAA56153K247673   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284608     2003   GRTDN   1GRAA56103K247676   DRY V     CO      Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL284609     2003   GRTDN   1GRAA56123K247677   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284611     2003   GRTDN   1GRAA56163K247679   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284612     2003   GRTDN   1GRAA56183K247683   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284613     2003   GRTDN   1GRAA56113K247685   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284614     2003   GRTDN   1GRAA56173K247688   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284615     2003   GRTDN   1GRAA56193K247689   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284616     2003   GRTDN   1GRAA56153K247690   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284618     2003   GRTDN   1GRAA56193K247692   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284619     2003   GRTDN   1GRAA56103K247693   DRY V     NV      Elko
 RETL     ROAD TRAILER     RTL‐SA   RETL284620     2003   GRTDN   1GRAA56123K247694   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284621     2003   GRTDN   1GRAA56143K247695   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284622     2003   GRTDN   1GRAA56163K247696   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284623     2003   GRTDN   1GRAA56183K247702   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284625     2003   GRTDN   1GRAA56193K247708   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284626     2003   GRTDN   1GRAA56103K247709   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284627     2003   GRTDN   1GRAA56193K247711   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284628     2003   GRTDN   1GRAA56143K247714   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284629     2003   GRTDN   1GRAA56163K247715   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284630     2003   GRTDN   1GRAA56183K247716   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284631     2003   GRTDN   1GRAA56133K247719   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284633     2003   GRTDN   1GRAA56193K247725   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284636     2003   GRTDN   1GRAA56123K247730   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284637     2003   GRTDN   1GRAA56163K247732   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284638     2003   GRTDN   1GRAA56113K247735   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284639     2003   GRTDN   1GRAA56133K247736   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284640     2003   GRTDN   1GRAA56153K247737   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284641     2003   GRTDN   1GRAA56173K247738   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284642     2003   GRTDN   1GRAA56173K247741   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284644     2003   GRTDN   1GRAA56163K247746   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284646     2003   GRTDN   1GRAA561X3K247748   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284647     2003   GRTDN   1GRAA56113K247749   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284648     2003   GRTDN   1GRAA56103K247726   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284650     2003   GRTDN   1GRAA56133K247753   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284652     2003   GRTDN   1GRAA56173K247755   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284653     2003   GRTDN   1GRAA56193K247756   DRY V     CA      Orange
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 319 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL284654     2003   GRTDN   1GRAA56103K247760   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284655     2003   GRTDN   1GRAA561X3K247765   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284656     2003   GRTDN   1GRAA56153K247768   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284657     2003   GRTDN   1GRAA56193K247773   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284658     2003   GRTDN   1GRAA56183K247778   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284660     2003   GRTDN   1GRAA561X3K247782   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284662     2003   GRTDN   1GRAA56153K247785   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284663     2003   GRTDN   1GRAA56193K247787   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284664     2003   GRTDN   1GRAA56123K247789   DRY V     MT      Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL284665     2003   GRTDN   1GRAA56193K247790   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL284666     2003   GRTDN   1GRAA56103K247791   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284667     2003   GRTDN   1GRAA56123K247792   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284668     2003   GRTDN   1GRAA56143K247793   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284669     2003   GRTDN   1GRAA56153K247799   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284670     2003   GRTDN   1GRAA56183K247800   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284671     2003   GRTDN   1GRAA56113K247802   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL284673     2003   GRTDN   1GRAA56173K247805   DRY V     AZ      Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL284674     2003   GRTDN   1GRAA56103K247807   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284675     2003   GRTDN   1GRAA56143K247809   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284676     2003   GRTDN   1GRAA56103K247810   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284677     2003   GRTDN   1GRAA56123K247811   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284678     2003   GRTDN   1GRAA56143K247812   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284680     2003   GRTDN   1GRAA56153K254333   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284682     2003   GRTDN   1GRAA56193K254335   DRY V     AZ      Flagstaff
 RETL     ROAD TRAILER     RTL‐SA   RETL284683     2003   GRTDN   1GRAA56163K254339   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284684     2003   GRTDN   1GRAA56123K254340   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284686     2003   GRTDN   1GRAA56183K254343   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284688     2003   GRTDN   1GRAA56113K254345   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284689     2003   GRTDN   1GRAA56133K254346   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284691     2003   GRTDN   1GRAA56193K254352   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284692     2003   GRTDN   1GRAA56123K254354   DRY V     OH      Copley
 RETL     ROAD TRAILER     RTL‐SA   RETL284693     2003   GRTDN   1GRAA56143K254355   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284694     2003   GRTDN   1GRAA56183K254357   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284695     2003   GRTDN   1GRAA561X3K254358   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284697     2003   GRTDN   1GRAA561X3K254361   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL284698     2003   GRTDN   1GRAA56133K254363   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL284699     2003   GRTDN   1GRAA56153K254364   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284702     2003   GRTDN   1GRAA56123K254371   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284703     2003   GRTDN   1GRAA56183K254374   DRY V     MT      Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL284704     2003   GRTDN   1GRAA56133K254377   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284705     2003   GRTDN   1GRAA56173K254379   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284706     2003   GRTDN   1GRAA56133K254380   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL284707     2003   GRTDN   1GRAA56173K254382   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL284709     2003   GRTDN   1GRAA56103K254384   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284710     2003   GRTDN   1GRAA56143K254386   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284711     2003   GRTDN   1GRAA56163K254387   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284713     2003   GRTDN   1GRAA56163K254390   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284714     2003   GRTDN   1GRAA56183K254391   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284715     2003   GRTDN   1GRAA56173K254396   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284716     2003   GRTDN   1GRAA56193K254397   DRY V     WA      Union Gap
 RETL     ROAD TRAILER     RTL‐SA   RETL284718     2003   GRTDN   1GRAA56173K254401   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284719     2003   GRTDN   1GRAA56193K254402   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284720     2003   GRTDN   1GRAA56103K254403   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284721     2003   GRTDN   1GRAA56123K254404   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284722     2003   GRTDN   1GRAA56163K254406   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL284723     2003   GRTDN   1GRAA561X3K254408   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284724     2003   GRTDN   1GRAA56183K254410   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284726     2003   GRTDN   1GRAA56113K254412   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284727     2003   GRTDN   1GRAA56133K254413   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284728     2003   GRTDN   1GRAA56153K254414   DRY V     IN      Jeffersonville
 RETL     ROAD TRAILER     RTL‐SA   RETL284729     2003   GRTDN   1GRAA56193K254416   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284730     2003   GRTDN   1GRAA56143K254419   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284731     2003   GRTDN   1GRAA56103K254420   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284732     2003   GRTDN   1GRAA56123K254421   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL284733     2003   GRTDN   1GRAA56163K254423   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284735     2003   GRTDN   1GRAA561X3K254425   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284736     2003   GRTDN   1GRAA56133K254427   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284737     2003   GRTDN   1GRAA56153K254428   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284738     2003   GRTDN   1GRAA56173K254429   DRY V     CA      Bloomington
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 320 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL284739     2003   GRTDN   1GRAA56193K254433   DRY V     CA               Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL284740     2003   GRTDN   1GRAA56103K254434   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284742     2003   GRTDN   1GRAA56163K254437   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284743     2003   GRTDN   1GRAA56183K254438   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL284744     2003   GRTDN   1GRAA561X3K254439   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284745     2003   GRTDN   1GRAA56163K254440   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284746     2003   GRTDN   1GRAA56183K254441   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284747     2003   GRTDN   1GRAA56153K254445   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284748     2003   GRTDN   1GRAA56173K254446   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL284749     2003   GRTDN   1GRAA56193K254447   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284750     2003   GRTDN   1GRAA56123K254449   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284751     2003   GRTDN   1GRAA56103K254451   DRY V     AZ               Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL284752     2003   GRTDN   1GRAA56123K254452   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284753     2003   GRTDN   1GRAA56183K254455   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284754     2003   GRTDN   1GRAA561X3K254456   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284755     2003   GRTDN   1GRAA56153K254459   DRY V     MT               Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL284756     2003   GRTDN   1GRAA56113K254460   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284757     2003   GRTDN   1GRAA56133K254461   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284758     2003   GRTDN   1GRAA56153K254462   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284759     2003   GRTDN   1GRAA56193K254464   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284760     2003   GRTDN   1GRAA56173K254480   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284761     2003   GRTDN   1GRAA56193K254481   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284762     2003   GRTDN   1GRAA56133K254489   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284763     2003   GRTDN   1GRAA561X3K254490   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284764     2003   GRTDN   1GRAA56113K254491   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284765     2003   GRTDN   1GRAA56133K254492   DRY V     AZ               Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL284766     2003   GRTDN   1GRAA56153K254493   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284768     2003   GRTDN   1GRAA56103K254496   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284769     2003   GRTDN   1GRAA56113K254572   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284770     2003   GRTDN   1GRAA56133K254573   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284771     2003   GRTDN   1GRAA56184K255333   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284772     2003   GRTDN   1GRAA561X4K255334   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284773     2003   GRTDN   1GRAA56114K255335   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284774     2003   GRTDN   1GRAA56134K255336   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL284775     2003   GRTDN   1GRAA56154K255337   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284776     2003   GRTDN   1GRAA56174K255338   DRY V     WA               Union Gap
 RETL     ROAD TRAILER     RTL‐SA   RETL284777     2003   GRTDN   1GRAA56194K255339   DRY V     CA               Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL284778     2003   GRTDN   1GRAA56154K255340   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284779     2003   GRTDN   1GRAA56174K255341   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284780     2003   GRTDN   1GRAA56194K255342   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284782     2003   GRTDN   1GRAA56124K255389   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284784     2003   GRTDN   1GRAA56104K255391   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284786     2003   GRTDN   1GRAA56144K255393   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284787     2003   GRTDN   1GRAA56184K255395   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284789     2003   GRTDN   1GRAA56114K255397   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284790     2003   GRTDN   1GRAA56134K255398   DRY V     CA               Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284792     2003   GRTDN   1GRAA56184K255400   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284793     2003   GRTDN   1GRAA561X4K255401   DRY V     CA               Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL284794     2003   GRTDN   1GRAA56114K255402   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284796     2003   GRTDN   1GRAA56154K255404   DRY V     UT               St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL284797     2003   GRTDN   1GRAA56174K255405   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284798     2003   GRTDN   1GRAA56194K255406   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284799     2003   GRTDN   1GRAA56104K255407   DRY V     TX               McAllen
 RETL     ROAD TRAILER     RTL‐SA   RETL284800     2003   GRTDN   1GRAA56174K255419   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284801     2003   GRTDN   1GRAA56134K255420   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284802     2003   GRTDN   1GRAA56154K255421   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284803     2003   GRTDN   1GRAA56174K255422   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284804     2003   GRTDN   1GRAA56194K255423   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284805     2003   GRTDN   1GRAA56104K255424   DRY V     MT               Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL284806     2003   GRTDN   1GRAA56124K255425   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL284807     2003   GRTDN   1GRAA56144K255426   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284808     2003   GRTDN   1GRAA56184K255428   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284809     2003   GRTDN   1GRAA561X4K255429   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284812     2003   GRTDN   1GRAA56184K255414   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284814     2003   GRTDN   1GRAA56194K255373   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL284815     2003   GRTDN   1GRAA56174K255369   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284817     2003   GRTDN   1GRAA56104K255374   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284818     2003   GRTDN   1GRAA56124K255375   DRY V     AZ               Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL284819     2003   GRTDN   1GRAA56144K255376   DRY V     AZ               Phoenix
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 321 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL284820     2003   GRTDN   1GRAA56164K255377   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284821     2003   GRTDN   1GRAA56184K255378   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284823     2003   GRTDN   1GRAA56164K255380   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284824     2003   GRTDN   1GRAA56124K255408   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284825     2003   GRTDN   1GRAA56114K255514   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284826     2004   GRTDN   1GRAA56144K255409   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284827     2004   GRTDN   1GRAA56124K255411   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284828     2004   GRTDN   1GRAA56144K255412   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL284829     2004   GRTDN   1GRAA56134K255417   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL284830     2004   GRTDN   1GRAA56154K255418   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284832     2004   GRTDN   1GRAA561X4K255382   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284834     2004   GRTDN   1GRAA56134K255384   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL284835     2004   GRTDN   1GRAA56154K255385   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284836     2004   GRTDN   1GRAA56174K255386   DRY V     MT      Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL284837     2004   GRTDN   1GRAA56194K255387   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284838     2004   GRTDN   1GRAA56104K255410   DRY V     CA      Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL284839     2004   GRTDN   1GRAA561X4K255415   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284843     2004   GRTDN   1GRAA56114K255416   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284844     2004   GRTDN   1GRAA56184K255431   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284845     2004   GRTDN   1GRAA561X4K255432   DRY V     CO      Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL284846     2004   GRTDN   1GRAA56114K255433   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284848     2004   GRTDN   1GRAA56154K255435   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284849     2004   GRTDN   1GRAA56174K255436   DRY V     CO      Clifton
 RETL     ROAD TRAILER     RTL‐SA   RETL284850     2004   GRTDN   1GRAA56194K255437   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL284851     2004   GRTDN   1GRAA56104K255438   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284852     2004   GRTDN   1GRAA56124K255439   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284853     2004   GRTDN   1GRAA56194K255440   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284854     2004   GRTDN   1GRAA56104K255441   DRY V     CA      Brisbane
 RETL     ROAD TRAILER     RTL‐SA   RETL284855     2004   GRTDN   1GRAA56124K255442   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284856     2004   GRTDN   1GRAA56144K255443   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284857     2004   GRTDN   1GRAA56164K255444   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284858     2004   GRTDN   1GRAA56184K255445   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284859     2004   GRTDN   1GRAA561X4K255446   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284860     2004   GRTDN   1GRAA56114K255447   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284862     2004   GRTDN   1GRAA56154K255449   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284863     2004   GRTDN   1GRAA56114K255450   DRY V     WY      Cheyenne
 RETL     ROAD TRAILER     RTL‐SA   RETL284864     2004   GRTDN   1GRAA56134K255451   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284865     2004   GRTDN   1GRAA56154K255452   DRY V     WA      East Wenatchee
 RETL     ROAD TRAILER     RTL‐SA   RETL284866     2004   GRTDN   1GRAA56174K255453   DRY V     NM      Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL284867     2004   GRTDN   1GRAA56194K255454   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284868     2004   GRTDN   1GRAA56104K255455   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284869     2004   GRTDN   1GRAA56124K255456   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284870     2004   GRTDN   1GRAA56144K255457   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL284871     2004   GRTDN   1GRAA56164K255458   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284872     2004   GRTDN   1GRAA56184K255459   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284873     2004   GRTDN   1GRAA56144K255460   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL284874     2004   GRTDN   1GRAA56164K255461   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284875     2004   GRTDN   1GRAA56184K255462   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284877     2004   GRTDN   1GRAA56114K255464   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284878     2004   GRTDN   1GRAA56134K255465   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284879     2004   GRTDN   1GRAA56154K255466   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL284880     2004   GRTDN   1GRAA56174K255467   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284881     2004   GRTDN   1GRAA56194K255468   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL284882     2004   GRTDN   1GRAA56174K255470   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284883     2004   GRTDN   1GRAA56194K255471   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL284884     2004   GRTDN   1GRAA56124K255473   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL284885     2004   GRTDN   1GRAA56144K255474   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284886     2004   GRTDN   1GRAA56164K255475   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL284887     2004   GRTDN   1GRAA56184K255476   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284888     2004   GRTDN   1GRAA561X4K255477   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL284889     2004   GRTDN   1GRAA56134K255479   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL284890     2004   GRTDN   1GRAA56134K255482   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284891     2004   GRTDN   1GRAA561X4K255480   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL284892     2004   GRTDN   1GRAA56154K255483   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284893     2004   GRTDN   1GRAA56174K255484   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL284894     2004   GRTDN   1GRAA56194K255485   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284895     2004   GRTDN   1GRAA56104K255486   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL284896     2004   GRTDN   1GRAA56124K255487   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL284897     2004   GRTDN   1GRAA56144K255488   DRY V     CA      Tracy
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 322 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL284898     2004   GRTDN   1GRAA56164K255489   DRY V     NM      Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL284899     2004   GRTDN   1GRAA56124K255490   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL284900     2004   GRTDN   1GRAA56144K255491   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284901     2004   GRTDN   1GRAA56164K255492   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL284902     2004   GRTDN   1GRAA56184K255493   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL284903     2004   GRTDN   1GRAA56114K255495   DRY V     AZ      Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL284904     2004   GRTDN   1GRAA56134K255496   DRY V     TN      Memphis
 RETL     ROAD TRAILER     RTL‐SA   RETL284905     2004   GRTDN   1GRAA56154K255497   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284906     2004   GRTDN   1GRAA56174K255498   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284907     2004   GRTDN   1GRAA56194K255499   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284908     2004   GRTDN   1GRAA56114K255500   DRY V     CA      Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL284909     2004   GRTDN   1GRAA56134K255501   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL284910     2004   GRTDN   1GRAA56154K255502   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284911     2004   GRTDN   1GRAA56174K255503   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284912     2004   GRTDN   1GRAA56194K255504   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL284913     2004   GRTDN   1GRAA56104K255505   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284914     2004   GRTDN   1GRAA56124K255506   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284916     2004   GRTDN   1GRAA56164K255508   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL284917     2004   GRTDN   1GRAA56184K255509   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284918     2004   GRTDN   1GRAA56144K255510   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL284919     2004   GRTDN   1GRAA56164K255511   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL284920     2004   GRTDN   1GRAA56184K255512   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284921     2004   GRTDN   1GRAA561X4K255513   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284922     2004   GRTDN   1GRAA56134K255515   DRY V     NM      Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL284924     2004   GRTDN   1GRAA56174K255517   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284925     2004   GRTDN   1GRAA56194K255518   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL284926     2004   GRTDN   1GRAA56104K255519   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284927     2004   GRTDN   1GRAA56174K255520   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL284928     2004   GRTDN   1GRAA56194K255521   DRY V     WA      Union Gap
 RETL     ROAD TRAILER     RTL‐SA   RETL284930     2004   GRTDN   1GRAA56124K255523   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL284931     2004   GRTDN   1GRAA56144K255524   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284932     2004   GRTDN   1GRAA56164K255525   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284933     2004   GRTDN   1GRAA56184K255526   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL284934     2004   GRTDN   1GRAA561X4K255527   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL284935     2004   GRTDN   1GRAA56114K255528   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL284936     2004   GRTDN   1GRAA56134K255529   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL284937     2004   GRTDN   1GRAA561X4K255530   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL284939     2004   GRTDN   1GRAA56114K255481   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL284979     2004   GRTDN   1GRAA56133K254329   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL285102     2005   GRTDN   1GRAA56105K264027   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL285108     2005   GRTDN   1GRAA56165K264033   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL285110     2005   GRTDN   1GRAA561X5K264035   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL285112     2005   GRTDN   1GRAA56135K264037   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL285115     2005   GRTDN   1GRAA56135K264040   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL285116     2005   GRTDN   1GRAA56155K264041   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL285118     2005   GRTDN   1GRAA56195K264043   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL285125     2005   GRTDN   1GRAA56165K264050   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL285126     2005   GRTDN   1GRAA56185K264051   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL285128     2005   GRTDN   1GRAA56115K264053   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL285130     2005   GRTDN   1GRAA56155K264055   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL285133     2005   GRTDN   1GRAA56105K264058   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL285136     2005   GRTDN   1GRAA56105K264061   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL285138     2005   GRTDN   1GRAA56145K264063   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL285143     2005   GRTDN   1GRAA56135K264068   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL285146     2005   GRTDN   1GRAA56135K264071   DRY V     CA      Eureka
 RETL     ROAD TRAILER     RTL‐SA   RETL285149     2005   GRTDN   1GRAA56195K264074   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL285150     2005   GRTDN   1GRAA56105K264075   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL285152     2005   GRTDN   1GRAA56145K264077   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL285153     2005   GRTDN   1GRAA56165K264078   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL285158     2005   GRTDN   1GRAA561X5K264083   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL285164     2005   GRTDN   1GRAA56105K264089   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL285165     2005   GRTDN   1GRAA56175K264090   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL285167     2005   GRTDN   1GRAA56105K264092   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL285174     2005   GRTDN   1GRAA56135K264099   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL285175     2005   GRTDN   1GRAA56165K264100   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL285188     2005   GRTDN   1GRAA56145K264113   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL285190     2005   GRTDN   1GRAA56185K264115   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL285191     2005   GRTDN   1GRAA561X5K264116   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL285193     2005   GRTDN   1GRAA56135K264118   DRY V     OR      Portland
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 323 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL285199     2005   GRTDN   1GRAA56195K264124   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL285202     2005   GRTDN   1GRAA56145K264127   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL285204     2005   GRTDN   1GRAA56185K264129   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL285212     2005   GRTDN   1GRAA56175K264137   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL285217     2005   GRTDN   1GRAA56105K264142   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL285222     2005   GRTDN   1GRAA561X5K264147   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL285229     2005   GRTDN   1GRAA56175K264154   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL285230     2005   GRTDN   1GRAA56195K264155   DRY V     CA      Calexico
 RETL     ROAD TRAILER     RTL‐SA   RETL285241     2005   GRTDN   1GRAA56135K264166   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL285246     2005   GRTDN   1GRAA56175K264171   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL285252     2005   GRTDN   1GRAA56185K264177   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL285272     2005   GRTDN   1GRAA56135K264197   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL285282     2005   GRTDN   1GRAA56125K264207   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL285296     2005   GRTDN   1GRAA56175K264221   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL285299     2005   GRTDN   1GRAA56125K264224   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL285304     2005   GRTDN   1GRAA56115K264229   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL285308     2005   GRTDN   1GRAA56135K264233   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL285316     2005   GRTDN   1GRAA56125K264241   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL285322     2005   GRTDN   1GRAA56135K264247   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL285328     2005   GRTDN   1GRAA56195K264253   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL285336     2005   GRTDN   1GRAA56185K264261   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL285337     2005   GRTDN   1GRAA561X5K264262   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL285346     2005   GRTDN   1GRAA56105K264271   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL285349     2005   GRTDN   1GRAA56165K264274   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL285350     2005   GRTDN   1GRAA56185K264275   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL285353     2005   GRTDN   1GRAA56135K264278   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL285355     2005   GRTDN   1GRAA56115K264280   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL285409     2005   GRTDN   1GRAA561X5K267890   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL285419     2005   GRTDN   1GRAA56195K267900   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL285458     2005   GRTDN   1GRAA56135K267939   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL285463     2005   GRTDN   1GRAA56175K267944   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL285466     2005   GRTDN   1GRAA56125K267947   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL285484     2005   GRTDN   1GRAA56145K267965   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL285496     2005   GRTDN   1GRAA56105K267977   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL285499     2005   GRTDN   1GRAA56105K267980   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL286990     2005   GRTDN   1GRAA56135K273126   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL286991     2005   GRTDN   1GRAA56155K273127   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL286992     2005   GRTDN   1GRAA56175K273128   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL286993     2005   GRTDN   1GRAA56195K273129   DRY V     UT      St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL286994     2005   GRTDN   1GRAA56155K273130   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL286995     2005   GRTDN   1GRAA56175K273131   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL286996     2005   GRTDN   1GRAA56195K273132   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL286997     2005   GRTDN   1GRAA56105K273133   DRY V     CA      Santa Maria
 RETL     ROAD TRAILER     RTL‐SA   RETL286998     2005   GRTDN   1GRAA56125K273134   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL286999     2005   GRTDN   1GRAA56145K273135   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL287000     2005   GRTDN   1GRAA56165K273136   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287001     2005   GRTDN   1GRAA56185K273137   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL287002     2005   GRTDN   1GRAA561X5K273138   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287003     2005   GRTDN   1GRAA56115K273139   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL287004     2005   GRTDN   1GRAA56185K273140   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL287005     2005   GRTDN   1GRAA561X5K273141   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL287006     2005   GRTDN   1GRAA56115K273142   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL287007     2005   GRTDN   1GRAA56135K273143   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL287009     2005   GRTDN   1GRAA56175K273145   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287010     2005   GRTDN   1GRAA56195K273146   DRY V     UT      St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL287011     2005   GRTDN   1GRAA56105K273147   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287012     2005   GRTDN   1GRAA56125K273148   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL287013     2005   GRTDN   1GRAA56145K273149   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL287014     2005   GRTDN   1GRAA56105K273150   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287015     2005   GRTDN   1GRAA56125K273151   DRY V     OR      Redmond
 RETL     ROAD TRAILER     RTL‐SA   RETL287016     2005   GRTDN   1GRAA56145K273152   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287017     2005   GRTDN   1GRAA56165K273153   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL287018     2005   GRTDN   1GRAA56185K273154   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL287019     2005   GRTDN   1GRAA561X5K273155   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287020     2005   GRTDN   1GRAA56115K273156   DRY V     NM      Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL287021     2005   GRTDN   1GRAA56135K273157   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL287022     2005   GRTDN   1GRAA56155K273158   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL287023     2005   GRTDN   1GRAA56175K273159   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL287024     2005   GRTDN   1GRAA56135K273160   DRY V     CA      Ventura
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 324 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 RETL     ROAD TRAILER     RTL‐SA   RETL287025     2005   GRTDN   1GRAA56155K273161   DRY V     ID        Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL287026     2005   GRTDN   1GRAA56175K273162   DRY V     CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287027     2005   GRTDN   1GRAA56195K273163   DRY V     CA        Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL287028     2005   GRTDN   1GRAA56105K273164   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287029     2005   GRTDN   1GRAA56125K273165   DRY V     OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287030     2005   GRTDN   1GRAA56145K273166   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287031     2005   GRTDN   1GRAA56165K273167   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287032     2005   GRTDN   1GRAA56185K273168   DRY V     CA        Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL287033     2005   GRTDN   1GRAA561X5K273169   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287034     2005   GRTDN   1GRAA56165K273170   DRY V     WA        Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL287035     2005   GRTDN   1GRAA56185K273171   DRY V     CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287037     2005   GRTDN   1GRAA56115K273173   DRY V     Alberta   Calgary
 RETL     ROAD TRAILER     RTL‐SA   RETL287038     2005   GRTDN   1GRAA56135K273174   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287039     2005   GRTDN   1GRAA56155K273175   DRY V     CO        Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL287040     2005   GRTDN   1GRAA56175K273176   DRY V     CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287041     2005   GRTDN   1GRAA56195K273177   DRY V     OR        Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL287042     2005   GRTDN   1GRAA56105K273178   DRY V     OR        Redmond
 RETL     ROAD TRAILER     RTL‐SA   RETL287043     2005   GRTDN   1GRAA56125K273179   DRY V     CA        Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL287044     2005   GRTDN   1GRAA56195K273180   DRY V     CA        Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL287045     2005   GRTDN   1GRAA56105K273181   DRY V     IL        Wheeling
 RETL     ROAD TRAILER     RTL‐SA   RETL287046     2005   GRTDN   1GRAA56125K273182   DRY V     ID        Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL287047     2005   GRTDN   1GRAA56145K273183   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287048     2005   GRTDN   1GRAA56165K273184   DRY V     OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287049     2005   GRTDN   1GRAA56185K273185   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287050     2005   GRTDN   1GRAA561X5K273186   DRY V     NM        Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL287051     2005   GRTDN   1GRAA56115K273187   DRY V     CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287052     2005   GRTDN   1GRAA56135K273188   DRY V     CA        Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL287053     2005   GRTDN   1GRAA56155K273189   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287054     2005   GRTDN   1GRAA56115K273190   DRY V     WA        Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL287055     2005   GRTDN   1GRAA56135K273191   DRY V     NV        Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL287056     2005   GRTDN   1GRAA56155K273192   DRY V     CA        Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL287057     2005   GRTDN   1GRAA56175K273193   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287058     2005   GRTDN   1GRAA56195K273194   DRY V     CO        Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL287059     2005   GRTDN   1GRAA56105K273195   DRY V     WA        Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL287060     2005   GRTDN   1GRAA56125K273196   DRY V     NV        Elko
 RETL     ROAD TRAILER     RTL‐SA   RETL287062     2005   GRTDN   1GRAA56165K273198   DRY V     CA        Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL287063     2005   GRTDN   1GRAA56185K273199   DRY V     WA        Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL287064     2005   GRTDN   1GRAA56105K273200   DRY V     CA        Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL287065     2005   GRTDN   1GRAA56125K273201   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287066     2005   GRTDN   1GRAA56145K273202   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287067     2005   GRTDN   1GRAA56165K273203   DRY V     CA        Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL287068     2005   GRTDN   1GRAA56185K273204   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287069     2005   GRTDN   1GRAA561X5K273205   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287070     2005   GRTDN   1GRAA56115K273206   DRY V     WA        Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL287071     2005   GRTDN   1GRAA56135K273207   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287072     2005   GRTDN   1GRAA56155K273208   DRY V     WA        Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL287073     2005   GRTDN   1GRAA56175K273209   DRY V     CA        Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL287074     2005   GRTDN   1GRAA56135K273210   DRY V     CA        Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL287075     2005   GRTDN   1GRAA56155K273211   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287077     2005   GRTDN   1GRAA56195K273213   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287078     2005   GRTDN   1GRAA56105K273214   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287079     2005   GRTDN   1GRAA56125K273215   DRY V     CA        Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL287080     2005   GRTDN   1GRAA56145K273216   DRY V     CA        Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL287081     2005   GRTDN   1GRAA56165K273217   DRY V     CA        Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL287083     2005   GRTDN   1GRAA561X5K273219   DRY V     AZ        Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287084     2005   GRTDN   1GRAA56165K273220   DRY V     CA        Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL287085     2005   GRTDN   1GRAA56185K273221   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287086     2005   GRTDN   1GRAA561X5K273222   DRY V     WA        Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL287087     2005   GRTDN   1GRAA56115K273223   DRY V     AZ        Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL287088     2005   GRTDN   1GRAA56135K273224   DRY V     KS        Kansas City
 RETL     ROAD TRAILER     RTL‐SA   RETL287089     2005   GRTDN   1GRAA56155K273225   DRY V     WA        Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL287090     2005   GRTDN   1GRAA56175K273226   DRY V     OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287091     2005   GRTDN   1GRAA56195K273227   DRY V     WA        Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL287092     2005   GRTDN   1GRAA56105K273228   DRY V     AZ        Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287093     2005   GRTDN   1GRAA56125K273229   DRY V     AZ        Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287094     2005   GRTDN   1GRAA56195K273230   DRY V     CO        Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL287095     2005   GRTDN   1GRAA56105K273231   DRY V     MT        Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL287097     2005   GRTDN   1GRAA56145K273233   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287098     2005   GRTDN   1GRAA56165K273234   DRY V     OR        Portland
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 325 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL287099     2005   GRTDN   1GRAA56185K273235   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287100     2005   GRTDN   1GRAA561X5K273236   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL287101     2005   GRTDN   1GRAA56115K273237   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287102     2005   GRTDN   1GRAA56135K273238   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL287103     2005   GRTDN   1GRAA56155K273239   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL287104     2005   GRTDN   1GRAA56115K273240   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL287105     2005   GRTDN   1GRAA56135K273241   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287106     2005   GRTDN   1GRAA56155K273242   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL287107     2005   GRTDN   1GRAA56175K273243   DRY V     CA      Brisbane
 RETL     ROAD TRAILER     RTL‐SA   RETL287108     2005   GRTDN   1GRAA56195K273244   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287109     2005   GRTDN   1GRAA56105K273245   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL287110     2005   GRTDN   1GRAA56125K273246   DRY V     MT      Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL287111     2005   GRTDN   1GRAA56145K273247   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL287112     2005   GRTDN   1GRAA56165K273248   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287113     2005   GRTDN   1GRAA56185K273249   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL287114     2005   GRTDN   1GRAA56145K273250   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL287115     2005   GRTDN   1GRAA56165K273251   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287116     2005   GRTDN   1GRAA56185K273252   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL287117     2005   GRTDN   1GRAA561X5K273253   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL287118     2005   GRTDN   1GRAA56115K273254   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL287119     2005   GRTDN   1GRAA56135K273255   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL287120     2005   GRTDN   1GRAA56155K273256   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL287121     2005   GRTDN   1GRAA56175K273257   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287123     2005   GRTDN   1GRAA56105K273259   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL287124     2005   GRTDN   1GRAA56175K273260   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL287125     2005   GRTDN   1GRAA56195K273261   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL287126     2005   GRTDN   1GRAA56105K273262   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287127     2005   GRTDN   1GRAA56125K273263   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287128     2005   GRTDN   1GRAA56145K273264   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL287129     2005   GRTDN   1GRAA56165K273265   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL287130     2005   GRTDN   1GRAA56185K273266   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287131     2005   GRTDN   1GRAA561X5K273267   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL287132     2005   GRTDN   1GRAA56115K273268   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287133     2005   GRTDN   1GRAA56135K273269   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL287135     2005   GRTDN   1GRAA56115K273271   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287136     2005   GRTDN   1GRAA56135K273272   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287137     2005   GRTDN   1GRAA56155K273273   DRY V     NV      Elko
 RETL     ROAD TRAILER     RTL‐SA   RETL287138     2005   GRTDN   1GRAA56175K273274   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287139     2005   GRTDN   1GRAA56195K273275   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL287140     2005   GRTDN   1GRAA56105K273276   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287141     2005   GRTDN   1GRAA56125K273277   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL287142     2005   GRTDN   1GRAA56145K273278   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL287143     2005   GRTDN   1GRAA56165K273279   DRY V     MT      Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL287144     2005   GRTDN   1GRAA56125K273280   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287145     2005   GRTDN   1GRAA56145K273281   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287146     2005   GRTDN   1GRAA56165K273282   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL287147     2005   GRTDN   1GRAA56185K273283   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL287148     2005   GRTDN   1GRAA561X5K273284   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL287149     2005   GRTDN   1GRAA56115K273285   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287150     2005   GRTDN   1GRAA56135K273286   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287152     2005   GRTDN   1GRAA56175K273288   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287153     2005   GRTDN   1GRAA56195K273289   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL287154     2005   GRTDN   1GRAA56155K273290   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL287155     2005   GRTDN   1GRAA56175K273291   DRY V     AZ      Flagstaff
 RETL     ROAD TRAILER     RTL‐SA   RETL287156     2005   GRTDN   1GRAA56195K273292   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL287157     2005   GRTDN   1GRAA56105K273293   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL287158     2005   GRTDN   1GRAA56125K273294   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL287159     2005   GRTDN   1GRAA56145K273295   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL287160     2005   GRTDN   1GRAA56165K273296   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287161     2005   GRTDN   1GRAA56115K273297   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL287162     2005   GRTDN   1GRAA561X5K273298   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287163     2005   GRTDN   1GRAA56115K273299   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL287164     2005   GRTDN   1GRAA56145K273300   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL287165     2005   GRTDN   1GRAA56165K273301   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287166     2005   GRTDN   1GRAA56185K273302   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287167     2005   GRTDN   1GRAA561X5K273303   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL287168     2005   GRTDN   1GRAA56115K273304   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL287169     2005   GRTDN   1GRAA56135K273305   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL287170     2005   GRTDN   1GRAA56155K273306   DRY V     AZ      Phoenix
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 326 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL287171     2005   GRTDN   1GRAA56175K273307   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL287172     2005   GRTDN   1GRAA56195K273308   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL287173     2005   GRTDN   1GRAA56105K273309   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL287174     2005   GRTDN   1GRAA56175K273310   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287175     2005   GRTDN   1GRAA56195K273311   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL287176     2005   GRTDN   1GRAA56105K273312   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287177     2005   GRTDN   1GRAA56125K273313   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287178     2005   GRTDN   1GRAA56145K273314   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL287179     2005   GRTDN   1GRAA56165K273315   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287180     2005   GRTDN   1GRAA56185K273316   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL287181     2005   GRTDN   1GRAA561X5K273317   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL287182     2005   GRTDN   1GRAA56115K273318   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL287183     2005   GRTDN   1GRAA56135K273319   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL287184     2005   GRTDN   1GRAA561X5K273320   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL287186     2005   GRTDN   1GRAA56135K273322   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL287187     2005   GRTDN   1GRAA56165K273323   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL287188     2005   GRTDN   1GRAA56175K273324   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL287189     2005   GRTDN   1GRAA56115K273125   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288001     2005   GRTDN   1GRAA561X5K263645   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288002     2005   GRTDN   1GRAA56115K263646   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288004     2005   GRTDN   1GRAA56155K263648   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288005     2005   GRTDN   1GRAA56175K263649   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288006     2005   GRTDN   1GRAA56135K263650   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288007     2005   GRTDN   1GRAA56155K263651   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288008     2005   GRTDN   1GRAA56175K263652   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288009     2005   GRTDN   1GRAA56195K263653   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288010     2005   GRTDN   1GRAA56105K263654   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288011     2005   GRTDN   1GRAA56125K263655   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288012     2005   GRTDN   1GRAA56145K263656   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288014     2005   GRTDN   1GRAA56185K263658   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288015     2005   GRTDN   1GRAA561X5K263659   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288016     2005   GRTDN   1GRAA56165K263660   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288017     2005   GRTDN   1GRAA56185K263661   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288018     2005   GRTDN   1GRAA561X5K263662   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288019     2005   GRTDN   1GRAA56115K263663   DRY V     MT      Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL288020     2005   GRTDN   1GRAA56135K263664   DRY V     AZ      Flagstaff
 RETL     ROAD TRAILER     RTL‐SA   RETL288022     2005   GRTDN   1GRAA56175K263666   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL288023     2005   GRTDN   1GRAA56195K263667   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288024     2005   GRTDN   1GRAA56105K263668   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288026     2005   GRTDN   1GRAA56195K263670   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288027     2005   GRTDN   1GRAA56105K263671   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288028     2005   GRTDN   1GRAA56125K263672   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288030     2005   GRTDN   1GRAA56165K263674   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288031     2005   GRTDN   1GRAA56185K263675   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288032     2005   GRTDN   1GRAA561X5K263676   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288033     2005   GRTDN   1GRAA56115K263677   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288034     2005   GRTDN   1GRAA56135K263678   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288036     2005   GRTDN   1GRAA56115K263680   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL288037     2005   GRTDN   1GRAA56135K263681   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288038     2005   GRTDN   1GRAA56155K263682   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288039     2005   GRTDN   1GRAA56175K263683   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288040     2005   GRTDN   1GRAA56195K263684   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288041     2005   GRTDN   1GRAA56105K263685   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288043     2005   GRTDN   1GRAA56145K263687   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288045     2005   GRTDN   1GRAA56185K263689   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288046     2005   GRTDN   1GRAA56145K263690   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288047     2005   GRTDN   1GRAA56165K263691   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288049     2005   GRTDN   1GRAA561X5K263693   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288050     2005   GRTDN   1GRAA56115K263694   DRY V     CA      Brisbane
 RETL     ROAD TRAILER     RTL‐SA   RETL288051     2005   GRTDN   1GRAA56135K263695   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288052     2005   GRTDN   1GRAA56155K263696   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288053     2005   GRTDN   1GRAA56175K263697   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288054     2005   GRTDN   1GRAA56195K263698   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288055     2005   GRTDN   1GRAA56105K263699   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288056     2005   GRTDN   1GRAA56135K263700   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288057     2005   GRTDN   1GRAA56155K263701   DRY V     AZ      Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL288058     2005   GRTDN   1GRAA56175K263702   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288059     2005   GRTDN   1GRAA56195K263703   DRY V     UT      St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL288062     2005   GRTDN   1GRAA56145K263706   DRY V     WA      Seattle
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 327 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL288063     2005   GRTDN   1GRAA56165K263707   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288064     2005   GRTDN   1GRAA56185K263708   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288065     2005   GRTDN   1GRAA561X5K263709   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288068     2005   GRTDN   1GRAA561X5K263712   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288069     2005   GRTDN   1GRAA56115K263713   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288070     2005   GRTDN   1GRAA56135K263714   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288071     2005   GRTDN   1GRAA56155K263715   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288072     2005   GRTDN   1GRAA56175K263716   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288073     2005   GRTDN   1GRAA56195K263717   DRY V     CO               Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL288074     2005   GRTDN   1GRAA56105K263718   DRY V     MT               Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL288075     2005   GRTDN   1GRAA56125K263719   DRY V     CO               Clifton
 RETL     ROAD TRAILER     RTL‐SA   RETL288076     2005   GRTDN   1GRAA56195K263720   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288078     2005   GRTDN   1GRAA56125K263722   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288079     2005   GRTDN   1GRAA56145K263723   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288080     2005   GRTDN   1GRAA56165K263724   DRY V     CA               Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288081     2005   GRTDN   1GRAA56185K263725   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288082     2005   GRTDN   1GRAA561X5K263726   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288083     2005   GRTDN   1GRAA56115K263727   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288084     2005   GRTDN   1GRAA56135K263728   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288085     2005   GRTDN   1GRAA56155K263729   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288086     2005   GRTDN   1GRAA56115K263730   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288087     2005   GRTDN   1GRAA56135K263731   DRY V     Alberta          Calgary
 RETL     ROAD TRAILER     RTL‐SA   RETL288088     2005   GRTDN   1GRAA56155K263732   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288089     2005   GRTDN   1GRAA56175K263733   DRY V     CA               Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288090     2005   GRTDN   1GRAA56195K263734   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288092     2005   GRTDN   1GRAA56125K263736   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288093     2005   GRTDN   1GRAA56145K263737   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288094     2005   GRTDN   1GRAA56165K263738   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288095     2005   GRTDN   1GRAA56185K263739   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288097     2005   GRTDN   1GRAA56165K263741   DRY V     CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL288098     2005   GRTDN   1GRAA56185K263742   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288100     2005   GRTDN   1GRAA56115K263744   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288101     2005   GRTDN   1GRAA56135K263745   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288102     2005   GRTDN   1GRAA56155K263746   DRY V     TX               El Paso
 RETL     ROAD TRAILER     RTL‐SA   RETL288103     2005   GRTDN   1GRAA56175K263747   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288104     2005   GRTDN   1GRAA56195K263748   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288105     2005   GRTDN   1GRAA56105K263749   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288106     2005   GRTDN   1GRAA56175K263750   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288107     2005   GRTDN   1GRAA56195K263751   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288108     2005   GRTDN   1GRAA56105K263752   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288109     2005   GRTDN   1GRAA56125K263753   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288110     2005   GRTDN   1GRAA56145K263754   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288111     2005   GRTDN   1GRAA56165K263755   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288113     2005   GRTDN   1GRAA561X5K263757   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288114     2005   GRTDN   1GRAA56115K263758   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288115     2005   GRTDN   1GRAA56135K263759   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288117     2005   GRTDN   1GRAA56115K263761   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288119     2005   GRTDN   1GRAA56155K263763   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288120     2005   GRTDN   1GRAA56175K263764   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288121     2005   GRTDN   1GRAA56195K263765   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288122     2005   GRTDN   1GRAA56105K263766   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288123     2005   GRTDN   1GRAA56125K263767   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL288124     2005   GRTDN   1GRAA56145K263768   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288125     2005   GRTDN   1GRAA56165K263769   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288126     2005   GRTDN   1GRAA56125K263770   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288127     2005   GRTDN   1GRAA56145K263771   DRY V     CA               Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288128     2005   GRTDN   1GRAA56165K263772   DRY V     CA               Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL288129     2005   GRTDN   1GRAA56185K263773   DRY V     WA               Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288130     2005   GRTDN   1GRAA561X5K263774   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288131     2005   GRTDN   1GRAA56115K263775   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288133     2005   GRTDN   1GRAA56155K263777   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288134     2005   GRTDN   1GRAA56175K263778   DRY V     CO               Clifton
 RETL     ROAD TRAILER     RTL‐SA   RETL288135     2005   GRTDN   1GRAA56195K263779   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288136     2005   GRTDN   1GRAA56155K263780   DRY V     OR               Roseburg
 RETL     ROAD TRAILER     RTL‐SA   RETL288137     2005   GRTDN   1GRAA56175K263781   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288138     2005   GRTDN   1GRAA56195K263782   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288139     2005   GRTDN   1GRAA56105K263783   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288141     2005   GRTDN   1GRAA56145K263785   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288142     2005   GRTDN   1GRAA56165K263786   DRY V     AZ               Phoenix
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 328 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL288143     2005   GRTDN   1GRAA56185K263787   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288144     2005   GRTDN   1GRAA561X5K263788   DRY V     CA      Lost Hills
 RETL     ROAD TRAILER     RTL‐SA   RETL288145     2005   GRTDN   1GRAA56115K263789   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288146     2005   GRTDN   1GRAA56185K263790   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288147     2005   GRTDN   1GRAA561X5K263791   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288148     2005   GRTDN   1GRAA56115K263792   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288149     2005   GRTDN   1GRAA56135K263793   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288150     2005   GRTDN   1GRAA56155K263794   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288151     2005   GRTDN   1GRAA56175K263795   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288152     2005   GRTDN   1GRAA56195K263796   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288153     2005   GRTDN   1GRAA56105K263797   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288154     2005   GRTDN   1GRAA56125K263798   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288170     2007   GRTDN   1GRAA56137K286882   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288171     2007   GRTDN   1GRAA56157K286883   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL288172     2007   GRTDN   1GRAA56177K286884   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288173     2007   GRTDN   1GRAA56197K286885   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288174     2007   GRTDN   1GRAA56107K286886   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288175     2007   GRTDN   1GRAA56127K286887   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288176     2007   GRTDN   1GRAA56147K286888   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288177     2007   GRTDN   1GRAA56167K286889   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288178     2007   GRTDN   1GRAA56127K286890   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288179     2007   GRTDN   1GRAA56147K286891   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288180     2007   GRTDN   1GRAA56167K286892   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288182     2007   GRTDN   1GRAA561X7K286894   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288183     2007   GRTDN   1GRAA56117K286895   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288184     2007   GRTDN   1GRAA56137K286896   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288185     2007   GRTDN   1GRAA56157K286897   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288186     2007   GRTDN   1GRAA56177K286898   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288187     2007   GRTDN   1GRAA56197K286899   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288188     2007   GRTDN   1GRAA56117K286900   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288189     2007   GRTDN   1GRAA56137K286901   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288190     2007   GRTDN   1GRAA56157K286902   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288191     2007   GRTDN   1GRAA56177K286903   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288192     2007   GRTDN   1GRAA56197K286904   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288193     2007   GRTDN   1GRAA56107K286905   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288194     2007   GRTDN   1GRAA56127K286906   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288195     2007   GRTDN   1GRAA56147K286907   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288196     2007   GRTDN   1GRAA56167K286908   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288197     2007   GRTDN   1GRAA56187K286909   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL288198     2007   GRTDN   1GRAA56147K286910   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288199     2007   GRTDN   1GRAA56167K286911   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288200     2007   GRTDN   1GRAA56187K286912   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288201     2007   GRTDN   1GRAA561X7K286913   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288202     2007   GRTDN   1GRAA56117K286914   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288203     2007   GRTDN   1GRAA56137K286915   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288204     2007   GRTDN   1GRAA56157K286916   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL288205     2007   GRTDN   1GRAA56177K286917   DRY V     WA      East Wenatchee
 RETL     ROAD TRAILER     RTL‐SA   RETL288206     2007   GRTDN   1GRAA56197K286918   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288207     2007   GRTDN   1GRAA56107K286919   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288208     2007   GRTDN   1GRAA56177K286920   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288209     2007   GRTDN   1GRAA56197K286921   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288210     2007   GRTDN   1GRAA56107K286922   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288211     2007   GRTDN   1GRAA56127K286923   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288212     2007   GRTDN   1GRAA56147K286924   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288213     2007   GRTDN   1GRAA56167K286925   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288214     2007   GRTDN   1GRAA56187K286926   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288215     2007   GRTDN   1GRAA561X7K286927   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288216     2007   GRTDN   1GRAA56117K286928   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288217     2007   GRTDN   1GRAA56137K286929   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288218     2007   GRTDN   1GRAA561X7K286930   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288219     2007   GRTDN   1GRAA56117K286931   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288220     2007   GRTDN   1GRAA56137K286932   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288221     2007   GRTDN   1GRAA56157K286933   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288222     2007   GRTDN   1GRAA56177K286934   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288223     2007   GRTDN   1GRAA56197K286935   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288224     2007   GRTDN   1GRAA56107K286936   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288225     2007   GRTDN   1GRAA56127K286937   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288226     2007   GRTDN   1GRAA56147K286938   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL288227     2007   GRTDN   1GRAA56167K286939   DRY V     CA      Orange
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 329 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL288228     2007   GRTDN   1GRAA56127K286940   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288229     2007   GRTDN   1GRAA56147K286941   DRY V     CA               Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL288230     2007   GRTDN   1GRAA56167K286942   DRY V     WA               Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL288231     2007   GRTDN   1GRAA56187K286943   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288232     2007   GRTDN   1GRAA561X7K286944   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288233     2007   GRTDN   1GRAA56117K286945   DRY V     AZ               Flagstaff
 RETL     ROAD TRAILER     RTL‐SA   RETL288234     2007   GRTDN   1GRAA56137K286946   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288235     2007   GRTDN   1GRAA56157K286947   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288236     2007   GRTDN   1GRAA56177K286948   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288237     2007   GRTDN   1GRAA56197K286949   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288238     2007   GRTDN   1GRAA56157K286950   DRY V     UT               Beaver
 RETL     ROAD TRAILER     RTL‐SA   RETL288240     2007   GRTDN   1GRAA56197K286952   DRY V     OR               Hermiston
 RETL     ROAD TRAILER     RTL‐SA   RETL288241     2007   GRTDN   1GRAA56177K291650   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288242     2007   GRTDN   1GRAA56197K291651   DRY V     NE               Omaha
 RETL     ROAD TRAILER     RTL‐SA   RETL288243     2007   GRTDN   1GRAA56107K291652   DRY V     CA               Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL288244     2007   GRTDN   1GRAA56127K291653   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288245     2007   GRTDN   1GRAA56147K291654   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288246     2007   GRTDN   1GRAA56167K291655   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288247     2007   GRTDN   1GRAA56187K291656   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288248     2007   GRTDN   1GRAA561X7K291657   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288249     2007   GRTDN   1GRAA56117K291658   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288250     2007   GRTDN   1GRAA56137K291659   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288251     2007   GRTDN   1GRAA561X7K291660   DRY V     MT               Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL288252     2007   GRTDN   1GRAA56117K291661   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288253     2007   GRTDN   1GRAA56137K291662   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288254     2007   GRTDN   1GRAA56157K291663   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288255     2007   GRTDN   1GRAA56177K291664   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288256     2007   GRTDN   1GRAA56197K291665   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288257     2007   GRTDN   1GRAA56107K291666   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288258     2007   GRTDN   1GRAA56127K291667   DRY V     AZ               Flagstaff
 RETL     ROAD TRAILER     RTL‐SA   RETL288259     2007   GRTDN   1GRAA56147K291668   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288260     2007   GRTDN   1GRAA56167K291669   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288261     2007   GRTDN   1GRAA56127K291670   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288262     2007   GRTDN   1GRAA56147K291671   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288263     2007   GRTDN   1GRAA56167K291672   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288264     2007   GRTDN   1GRAA56187K291673   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288265     2007   GRTDN   1GRAA561X7K291674   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288266     2007   GRTDN   1GRAA56117K291675   DRY V     ID               Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL288267     2007   GRTDN   1GRAA56137K291676   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288268     2007   GRTDN   1GRAA56157K291677   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288269     2007   GRTDN   1GRAA56177K291678   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL288270     2007   GRTDN   1GRAA56197K291679   DRY V     CA               Willows
 RETL     ROAD TRAILER     RTL‐SA   RETL288271     2007   GRTDN   1GRAA56157K291680   DRY V     MO               Saint Louis
 RETL     ROAD TRAILER     RTL‐SA   RETL288272     2007   GRTDN   1GRAA56177K291681   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288273     2007   GRTDN   1GRAA56197K291682   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288274     2007   GRTDN   1GRAA56107K291683   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288275     2007   GRTDN   1GRAA56127K291684   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288276     2007   GRTDN   1GRAA56147K291685   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288277     2007   GRTDN   1GRAA56167K291686   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288278     2007   GRTDN   1GRAA56187K291687   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288279     2007   GRTDN   1GRAA561X7K291688   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288280     2007   GRTDN   1GRAA56117K291689   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288281     2007   GRTDN   1GRAA56187K291690   DRY V     CA               Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL288282     2007   GRTDN   1GRAA561X7K291691   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288283     2007   GRTDN   1GRAA56117K291692   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288284     2007   GRTDN   1GRAA56137K291693   DRY V     WA               Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288285     2007   GRTDN   1GRAA56157K291694   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288286     2007   GRTDN   1GRAA56177K291695   DRY V     MT               Great Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL288287     2007   GRTDN   1GRAA56197K291696   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288290     2007   GRTDN   1GRAA56147K291699   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288291     2007   GRTDN   1GRAA56177K291700   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288292     2007   GRTDN   1GRAA56197K291701   DRY V     WA               Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288293     2007   GRTDN   1GRAA56107K291702   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288294     2007   GRTDN   1GRAA56127K291703   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288295     2007   GRTDN   1GRAA56147K291704   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288296     2007   GRTDN   1GRAA56167K291705   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288297     2007   GRTDN   1GRAA56187K291706   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288298     2007   GRTDN   1GRAA561X7K291707   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288299     2007   GRTDN   1GRAA56117K291708   DRY V     CO               Grand Junction
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 330 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL288300     2007   GRTDN   1GRAA56137K291709   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288302     2007   GRTDN   1GRAA56117K291711   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288303     2007   GRTDN   1GRAA56137K291712   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288304     2007   GRTDN   1GRAA56157K291713   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288305     2007   GRTDN   1GRAA56177K291714   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL288306     2007   GRTDN   1GRAA56197K291715   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288307     2007   GRTDN   1GRAA56107K291716   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288308     2007   GRTDN   1GRAA56127K291717   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288309     2007   GRTDN   1GRAA56147K291718   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288310     2007   GRTDN   1GRAA56167K291719   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288311     2007   GRTDN   1GRAA56127K291720   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288312     2007   GRTDN   1GRAA56147K291721   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288313     2007   GRTDN   1GRAA56167K291722   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288314     2007   GRTDN   1GRAA56187K291723   DRY V     CA               Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL288315     2007   GRTDN   1GRAA561X7K291724   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288316     2007   GRTDN   1GRAA56117K291725   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288317     2007   GRTDN   1GRAA56137K291726   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288318     2007   GRTDN   1GRAA56157K291727   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288320     2007   GRTDN   1GRAA56197K291729   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288321     2007   GRTDN   1GRAA56157K291730   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288322     2007   GRTDN   1GRAA56177K291731   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288323     2007   GRTDN   1GRAA56197K291732   DRY V     UT               St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL288324     2007   GRTDN   1GRAA56107K291733   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288325     2007   GRTDN   1GRAA56127K291734   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288326     2007   GRTDN   1GRAA56147K291735   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288327     2007   GRTDN   1GRAA56167K291736   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288328     2007   GRTDN   1GRAA56187K291737   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288329     2007   GRTDN   1GRAA561X7K291738   DRY V     CA               Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288330     2007   GRTDN   1GRAA56117K291739   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288331     2007   GRTDN   1GRAA56187K291740   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288332     2007   GRTDN   1GRAA561X7K291741   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288333     2007   GRTDN   1GRAA56117K291742   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288334     2007   GRTDN   1GRAA56137K291743   DRY V     CA               Calexico
 RETL     ROAD TRAILER     RTL‐SA   RETL288335     2007   GRTDN   1GRAA56157K291744   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288336     2007   GRTDN   1GRAA56177K291745   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288337     2007   GRTDN   1GRAA56197K291746   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288338     2007   GRTDN   1GRAA56107K291747   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288339     2007   GRTDN   1GRAA56127K291748   DRY V     CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL288340     2007   GRTDN   1GRAA56147K291749   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288341     2007   GRTDN   1GRAA56107K291750   DRY V     AZ               Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL288342     2007   GRTDN   1GRAA56127K291751   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288343     2007   GRTDN   1GRAA56147K291752   DRY V     CA               Calexico
 RETL     ROAD TRAILER     RTL‐SA   RETL288344     2007   GRTDN   1GRAA56167K291753   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288345     2007   GRTDN   1GRAA56187K291754   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288346     2007   GRTDN   1GRAA561X7K291755   DRY V     CA               Avenal
 RETL     ROAD TRAILER     RTL‐SA   RETL288347     2007   GRTDN   1GRAA56117K291756   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288348     2007   GRTDN   1GRAA56137K291757   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288349     2007   GRTDN   1GRAA56157K291758   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288350     2007   GRTDN   1GRAA56177K291759   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288351     2007   GRTDN   1GRAA56137K291760   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288352     2007   GRTDN   1GRAA56157K291761   DRY V     CA               Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL288353     2007   GRTDN   1GRAA56177K291762   DRY V     UT               St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL288354     2007   GRTDN   1GRAA56197K291763   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288355     2007   GRTDN   1GRAA56107K291764   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288356     2007   GRTDN   1GRAA56127K291765   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288357     2007   GRTDN   1GRAA56147K291766   DRY V     MT               Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL288358     2007   GRTDN   1GRAA56167K291767   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288359     2007   GRTDN   1GRAA56187K291768   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288360     2007   GRTDN   1GRAA561X7K291769   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288361     2007   GRTDN   1GRAA56167K291770   DRY V     AZ               Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL288362     2007   GRTDN   1GRAA56187K291771   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288363     2007   GRTDN   1GRAA561X7K291772   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288364     2007   GRTDN   1GRAA56117K291773   DRY V     WA               Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL288365     2007   GRTDN   1GRAA56137K291774   DRY V     AZ               Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL288366     2007   GRTDN   1GRAA56157K291775   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288367     2007   GRTDN   1GRAA56177K291776   DRY V     OR               Redmond
 RETL     ROAD TRAILER     RTL‐SA   RETL288368     2007   GRTDN   1GRAA56197K291777   DRY V     CA               Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL288369     2007   GRTDN   1GRAA56107K291778   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288370     2007   GRTDN   1GRAA56127K291779   DRY V     CA               Pomona
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 331 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL288372     2007   GRTDN   1GRAA56107K291781   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288373     2007   GRTDN   1GRAA56127K291782   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288374     2007   GRTDN   1GRAA56147K291783   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288375     2007   GRTDN   1GRAA56167K291784   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288376     2007   GRTDN   1GRAA56187K291785   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288377     2007   GRTDN   1GRAA561X7K291786   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288378     2007   GRTDN   1GRAA56117K291787   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288379     2007   GRTDN   1GRAA56178K295666   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288380     2007   GRTDN   1GRAA56198K295667   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288381     2007   GRTDN   1GRAA56108K295668   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288382     2007   GRTDN   1GRAA56128K295669   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288383     2007   GRTDN   1GRAA56198K295670   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288384     2007   GRTDN   1GRAA56108K295671   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288385     2007   GRTDN   1GRAA56128K295672   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288386     2007   GRTDN   1GRAA56148K295673   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288387     2007   GRTDN   1GRAA56168K295674   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288388     2007   GRTDN   1GRAA56188K295675   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288389     2007   GRTDN   1GRAA561X8K295676   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288390     2007   GRTDN   1GRAA56118K295677   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288391     2007   GRTDN   1GRAA56138K295678   DRY V     CA      Willows
 RETL     ROAD TRAILER     RTL‐SA   RETL288392     2007   GRTDN   1GRAA56158K295679   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288393     2007   GRTDN   1GRAA56118K295680   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL288394     2007   GRTDN   1GRAA56138K295681   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288395     2007   GRTDN   1GRAA56158K295682   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288396     2007   GRTDN   1GRAA56178K295683   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288397     2007   GRTDN   1GRAA56198K295684   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288398     2007   GRTDN   1GRAA56108K295685   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288399     2007   GRTDN   1GRAA56128K295686   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288400     2007   GRTDN   1GRAA56148K295687   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL288401     2007   GRTDN   1GRAA56168K295688   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288402     2007   GRTDN   1GRAA56188K295689   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288403     2007   GRTDN   1GRAA56148K295690   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL288404     2007   GRTDN   1GRAA56168K295691   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288405     2007   GRTDN   1GRAA56188K295692   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288406     2007   GRTDN   1GRAA561X8K295693   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288407     2007   GRTDN   1GRAA56118K295694   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288408     2007   GRTDN   1GRAA56138K295695   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288409     2007   GRTDN   1GRAA56158K295696   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288410     2007   GRTDN   1GRAA56178K295697   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL288411     2007   GRTDN   1GRAA56198K295698   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288412     2007   GRTDN   1GRAA56108K295699   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL288413     2007   GRTDN   1GRAA56138K295700   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288414     2007   GRTDN   1GRAA56158K295701   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288415     2007   GRTDN   1GRAA56178K295702   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288416     2007   GRTDN   1GRAA56198K295703   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288417     2007   GRTDN   1GRAA56108K295704   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288418     2007   GRTDN   1GRAA56128K295705   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288419     2007   GRTDN   1GRAA56148K295706   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288420     2007   GRTDN   1GRAA56168K295707   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288421     2007   GRTDN   1GRAA56188K295708   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288422     2007   GRTDN   1GRAA561X8K295709   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288423     2007   GRTDN   1GRAA56168K295710   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288424     2007   GRTDN   1GRAA56188K295711   DRY V     CA      Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL288425     2007   GRTDN   1GRAA561X8K295712   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288426     2007   GRTDN   1GRAA56118K295713   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL288427     2007   GRTDN   1GRAA56138K295714   DRY V     NV      Elko
 RETL     ROAD TRAILER     RTL‐SA   RETL288428     2007   GRTDN   1GRAA56158K295715   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL288429     2007   GRTDN   1GRAA56178K295716   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288430     2007   GRTDN   1GRAA56198K295717   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288431     2007   GRTDN   1GRAA56108K295718   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288432     2007   GRTDN   1GRAA56128K295719   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288433     2007   GRTDN   1GRAA56198K295720   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288434     2007   GRTDN   1GRAA56108K295721   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288435     2007   GRTDN   1GRAA56128K295722   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288436     2007   GRTDN   1GRAA56148K295723   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288437     2007   GRTDN   1GRAA56168K295724   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288438     2007   GRTDN   1GRAA56188K295725   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288439     2007   GRTDN   1GRAA561X8K295726   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288440     2007   GRTDN   1GRAA56118K295727   DRY V     ID      Twin Falls
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 332 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL288441     2007   GRTDN   1GRAA56138K295728   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288442     2007   GRTDN   1GRAA56158K295729   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288443     2007   GRTDN   1GRAA56118K295730   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL288444     2007   GRTDN   1GRAA56138K295731   DRY V     CO               Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL288445     2007   GRTDN   1GRAA56158K295732   DRY V     UT               Beaver
 RETL     ROAD TRAILER     RTL‐SA   RETL288446     2007   GRTDN   1GRAA56178K295733   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288447     2007   GRTDN   1GRAA56198K295734   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288448     2007   GRTDN   1GRAA56108K295735   DRY V     CA               Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL288449     2007   GRTDN   1GRAA56128K295736   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288450     2007   GRTDN   1GRAA56148K295737   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288451     2007   GRTDN   1GRAA56168K295738   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288452     2007   GRTDN   1GRAA56188K295739   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288453     2007   GRTDN   1GRAA56148K295740   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288454     2007   GRTDN   1GRAA56168K295741   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288455     2007   GRTDN   1GRAA56188K295742   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288456     2007   GRTDN   1GRAA561X8K295743   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288457     2007   GRTDN   1GRAA56118K295744   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288458     2007   GRTDN   1GRAA56138K295745   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288459     2007   GRTDN   1GRAA56158K295746   DRY V     CA               Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL288460     2007   GRTDN   1GRAA56178K295747   DRY V     AZ               Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL288461     2007   GRTDN   1GRAA56198K295748   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288462     2007   GRTDN   1GRAA56108K295749   DRY V     OR               La Grande
 RETL     ROAD TRAILER     RTL‐SA   RETL288463     2007   GRTDN   1GRAA56178K295750   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288464     2007   GRTDN   1GRAA56198K295751   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288465     2007   GRTDN   1GRAA56108K295752   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288466     2007   GRTDN   1GRAA56128K295753   DRY V     OR               Roseburg
 RETL     ROAD TRAILER     RTL‐SA   RETL288467     2007   GRTDN   1GRAA56148K295754   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288468     2007   GRTDN   1GRAA56168K295755   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288469     2007   GRTDN   1GRAA56188K295756   DRY V     CA               Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL288470     2007   GRTDN   1GRAA561X8K295757   DRY V     CA               Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL288471     2007   GRTDN   1GRAA56118K295758   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288472     2007   GRTDN   1GRAA56138K295759   DRY V     CA               Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL288473     2007   GRTDN   1GRAA561X8K295760   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288474     2007   GRTDN   1GRAA56118K295761   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288475     2007   GRTDN   1GRAA56138K295762   DRY V     MT               Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL288476     2007   GRTDN   1GRAA56158K295763   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288477     2007   GRTDN   1GRAA56178K295764   DRY V     CA               Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL288478     2007   GRTDN   1GRAA56198K295765   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288479     2007   GRTDN   1GRAA56108K295766   DRY V     UT               St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL288480     2007   GRTDN   1GRAA56128K295767   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288481     2007   GRTDN   1GRAA56148K295768   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288482     2007   GRTDN   1GRAA56168K295769   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288483     2007   GRTDN   1GRAA56128K295770   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288484     2007   GRTDN   1GRAA56148K295771   DRY V     CA               Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL288485     2007   GRTDN   1GRAA56168K295772   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288486     2007   GRTDN   1GRAA56188K295773   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288487     2007   GRTDN   1GRAA561X8K295774   DRY V     CA               Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL288488     2007   GRTDN   1GRAA56118K295775   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288489     2007   GRTDN   1GRAA56138K295776   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288490     2007   GRTDN   1GRAA56158K295777   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288491     2007   GRTDN   1GRAA56178K295778   DRY V     CA               Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL288492     2007   GRTDN   1GRAA56198K295779   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288493     2007   GRTDN   1GRAA56158K295780   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288494     2007   GRTDN   1GRAA56178K295781   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288495     2007   GRTDN   1GRAA56198K295782   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288496     2007   GRTDN   1GRAA56108K295783   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288497     2007   GRTDN   1GRAA56128K295784   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288498     2007   GRTDN   1GRAA56148K295785   DRY V     NM               Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL288499     2007   GRTDN   1GRAA56168K295786   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288500     2007   GRTDN   1GRAA56188K295787   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288501     2007   GRTDN   1GRAA561X8K295788   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288502     2007   GRTDN   1GRAA56118K295789   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288503     2007   GRTDN   1GRAA56188K295790   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288504     2007   GRTDN   1GRAA561X8K295791   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288505     2007   GRTDN   1GRAA56118K295792   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288506     2007   GRTDN   1GRAA56138K295793   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288507     2007   GRTDN   1GRAA56158K295794   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288508     2007   GRTDN   1GRAA56178K295795   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288509     2007   GRTDN   1GRAA56198K295796   DRY V     CA               Orange
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 333 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL288510     2007   GRTDN   1GRAA56108K295797   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288511     2007   GRTDN   1GRAA56128K295798   DRY V     ID               Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL288512     2007   GRTDN   1GRAA56148K295799   DRY V     AZ               Nogales
 RETL     ROAD TRAILER     RTL‐SA   RETL288513     2007   GRTDN   1GRAA56178K295800   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288515     2007   GRTDN   1GRAA56108K295802   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288516     2007   GRTDN   1GRAA56128K295803   DRY V     CA               Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL288517     2007   GRTDN   1GRAA56148K295804   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288518     2007   GRTDN   1GRAA56168K295805   DRY V     AZ               Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL288519     2007   GRTDN   1GRAA56188K295806   DRY V     AZ               Tucson
 RETL     ROAD TRAILER     RTL‐SA   RETL288520     2007   GRTDN   1GRAA561X8K295807   DRY V     ID               Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL288521     2007   GRTDN   1GRAA56118K295808   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288522     2007   GRTDN   1GRAA56138K295809   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288523     2007   GRTDN   1GRAA561X8K295810   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288524     2007   GRTDN   1GRAA56118K295811   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288525     2007   GRTDN   1GRAA56138K295812   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288526     2007   GRTDN   1GRAA56158K295813   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288527     2007   GRTDN   1GRAA56178K295814   DRY V     NM               Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL288528     2007   GRTDN   1GRAA56198K295815   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288529     2007   GRTDN   1GRAA56108K295816   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288530     2007   GRTDN   1GRAA56128K295817   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288531     2007   GRTDN   1GRAA56148K295818   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288532     2007   GRTDN   1GRAA56168K295819   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288533     2007   GRTDN   1GRAA56128K295820   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288534     2007   GRTDN   1GRAA56148K295821   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288535     2007   GRTDN   1GRAA56168K295822   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288536     2007   GRTDN   1GRAA56188K295823   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288537     2007   GRTDN   1GRAA561X8K295824   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288538     2007   GRTDN   1GRAA56118K295825   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288539     2007   GRTDN   1GRAA56138K295826   DRY V     Alberta          Edmonton
 RETL     ROAD TRAILER     RTL‐SA   RETL288540     2007   GRTDN   1GRAA56158K295827   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288541     2007   GRTDN   1GRAA56178K295828   DRY V     CA               Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL288542     2007   GRTDN   1GRAA56198K295829   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288543     2007   GRTDN   1GRAA56158K295830   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288544     2007   GRTDN   1GRAA56178K295831   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288545     2007   GRTDN   1GRAA56198K295832   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288546     2007   GRTDN   1GRAA56108K295833   DRY V     OR               Roseburg
 RETL     ROAD TRAILER     RTL‐SA   RETL288547     2007   GRTDN   1GRAA56128K295834   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288548     2007   GRTDN   1GRAA56148K295835   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288549     2007   GRTDN   1GRAA56168K295836   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288550     2007   GRTDN   1GRAA56188K295837   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288551     2007   GRTDN   1GRAA561X8K295838   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288552     2007   GRTDN   1GRAA56118K295839   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288553     2007   GRTDN   1GRAA56188K295840   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL288554     2007   GRTDN   1GRAA561X8K295841   DRY V     CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL288555     2007   GRTDN   1GRAA56118K295842   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288556     2007   GRTDN   1GRAA56138K295843   DRY V     MT               Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL288557     2007   GRTDN   1GRAA56158K295844   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288558     2007   GRTDN   1GRAA56178K295845   DRY V     WA               Union Gap
 RETL     ROAD TRAILER     RTL‐SA   RETL288559     2007   GRTDN   1GRAA56198K295846   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288560     2007   GRTDN   1GRAA56108K295847   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288562     2007   GRTDN   1GRAA56148K295849   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288563     2007   GRTDN   1GRAA56108K295850   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288564     2007   GRTDN   1GRAA56128K295851   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288565     2007   GRTDN   1GRAA56148K295852   DRY V     CO               Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL288566     2007   GRTDN   1GRAA56168K295853   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288567     2007   GRTDN   1GRAA56188K295854   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288568     2007   GRTDN   1GRAA561X8K295855   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288569     2007   GRTDN   1GRAA56118K295856   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288570     2007   GRTDN   1GRAA56138K295857   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288571     2007   GRTDN   1GRAA56158K295858   DRY V     ID               Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL288572     2007   GRTDN   1GRAA56178K295859   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288573     2007   GRTDN   1GRAA56138K295860   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288574     2007   GRTDN   1GRAA56158K295861   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288575     2007   GRTDN   1GRAA56178K295652   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288576     2007   GRTDN   1GRAA56198K295863   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288577     2007   GRTDN   1GRAA56108K295864   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288578     2007   GRTDN   1GRAA56128K295865   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288579     2007   GRTDN   1GRAA56148K295866   DRY V     CA               Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288580     2007   GRTDN   1GRAA56168K295867   DRY V     OR               Portland
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 334 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL288581     2007   GRTDN   1GRAA56188K295868   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288582     2007   GRTDN   1GRAA561X8K295869   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288583     2007   GRTDN   1GRAA56168K295870   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288584     2007   GRTDN   1GRAA56188K295871   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288586     2007   GRTDN   1GRAA56118K295873   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288587     2007   GRTDN   1GRAA56138K295874   DRY V     CA      Calexico
 RETL     ROAD TRAILER     RTL‐SA   RETL288588     2007   GRTDN   1GRAA56158K295875   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288589     2007   WABSH   1JJV281WX8L131276   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288590     2007   WABSH   1JJV281W18L131277   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL288591     2007   WABSH   1JJV281W38L131278   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288592     2007   WABSH   1JJV281W58L131279   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288593     2007   WABSH   1JJV281W18L131280   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288594     2007   WABSH   1JJV281W38L131281   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288595     2007   WABSH   1JJV281W58L131282   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288596     2007   WABSH   1JJV281W78L131283   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288597     2007   WABSH   1JJV281W98L131284   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288598     2007   WABSH   1JJV281W08L131285   DRY V     WA      Union Gap
 RETL     ROAD TRAILER     RTL‐SA   RETL288599     2007   WABSH   1JJV281W28L131286   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288600     2007   WABSH   1JJV281W48L131287   DRY V     CO      Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL288602     2007   WABSH   1JJV281W88L131289   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288603     2007   WABSH   1JJV281W48L131290   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288604     2007   WABSH   1JJV281W68L131291   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL288605     2007   WABSH   1JJV281W88L131292   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288606     2007   WABSH   1JJV281WX8L131293   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288607     2007   WABSH   1JJV281W18L131294   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288608     2007   WABSH   1JJV281W38L131295   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288609     2007   WABSH   1JJV281W58L131296   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288610     2007   WABSH   1JJV281W78L131297   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288611     2007   WABSH   1JJV281W98L131298   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL288612     2007   WABSH   1JJV281W08L131299   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL288613     2007   WABSH   1JJV281W38L131300   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288614     2007   WABSH   1JJV281W58L131301   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288615     2007   WABSH   1JJV281W78L131302   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288616     2007   WABSH   1JJV281W98L131303   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288617     2007   WABSH   1JJV281W08L131304   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288618     2007   WABSH   1JJV281W28L131305   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288619     2007   WABSH   1JJV281W48L131306   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288620     2007   WABSH   1JJV281W68L131307   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288621     2007   WABSH   1JJV281W88L131308   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288622     2007   WABSH   1JJV281WX8L131309   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288623     2007   WABSH   1JJV281W68L131310   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288624     2007   WABSH   1JJV281W88L131311   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288625     2007   WABSH   1JJV281WX8L131312   DRY V     TN      Memphis
 RETL     ROAD TRAILER     RTL‐SA   RETL288626     2007   WABSH   1JJV281W18L131313   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288627     2007   WABSH   1JJV281W38L131314   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288628     2007   WABSH   1JJV281W58L131315   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288629     2007   WABSH   1JJV281W78L131316   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288630     2007   WABSH   1JJV281W98L131317   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288631     2007   WABSH   1JJV281W08L131318   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288632     2007   WABSH   1JJV281W28L131319   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288633     2007   WABSH   1JJV281W98L131320   DRY V     CA      Eureka
 RETL     ROAD TRAILER     RTL‐SA   RETL288634     2007   WABSH   1JJV281W08L131321   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288635     2007   WABSH   1JJV281W28L131322   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288636     2007   WABSH   1JJV281W48L131323   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288637     2007   WABSH   1JJV281W68L131324   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288638     2007   WABSH   1JJV281W88L131325   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288639     2007   WABSH   1JJV281WX8L131326   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL288640     2007   WABSH   1JJV281W18L131327   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288641     2007   WABSH   1JJV281W38L131328   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288643     2007   WABSH   1JJV281W18L131330   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288644     2007   WABSH   1JJV281W38L131331   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288645     2007   WABSH   1JJV281W58L131332   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288646     2007   WABSH   1JJV281W78L131333   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288647     2007   WABSH   1JJV281W98L131334   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL288648     2007   WABSH   1JJV281W08L131335   DRY V     WA      Union Gap
 RETL     ROAD TRAILER     RTL‐SA   RETL288649     2007   WABSH   1JJV281W28L131336   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288650     2007   WABSH   1JJV281W48L131337   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288651     2007   WABSH   1JJV281W68L131338   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288652     2007   WABSH   1JJV281W88L131339   DRY V     CO      Henderson
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 335 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL288653     2007   WABSH   1JJV281W48L131340   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288654     2007   WABSH   1JJV281W68L131341   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288655     2007   WABSH   1JJV281W88L131342   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288656     2007   WABSH   1JJV281WX8L131343   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288657     2007   WABSH   1JJV281W18L131344   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288659     2007   WABSH   1JJV281W58L131346   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288660     2007   WABSH   1JJV281W78L131347   DRY V     CA               Santa Maria
 RETL     ROAD TRAILER     RTL‐SA   RETL288661     2007   WABSH   1JJV281W98L131348   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288662     2007   WABSH   1JJV281W08L131349   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288663     2007   WABSH   1JJV281W78L131350   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288664     2007   WABSH   1JJV281W98L131351   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288665     2007   WABSH   1JJV281W08L131352   DRY V     CA               Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL288666     2007   WABSH   1JJV281W28L131353   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288667     2007   WABSH   1JJV281W48L131354   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288668     2007   WABSH   1JJV281W68L131355   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288669     2007   WABSH   1JJV281W88L131356   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288670     2007   WABSH   1JJV281WX8L131357   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288672     2007   WABSH   1JJV281W38L131359   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288673     2007   WABSH   1JJV281WX8L131360   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288674     2007   WABSH   1JJV281W18L131361   DRY V     MT               Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL288675     2007   WABSH   1JJV281W38L131362   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288676     2007   WABSH   1JJV281W58L131363   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288678     2007   WABSH   1JJV281W98L131365   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288679     2007   WABSH   1JJV281W08L131366   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288680     2007   WABSH   1JJV281W28L131367   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288681     2007   WABSH   1JJV281W48L131368   DRY V     CO               Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL288682     2007   WABSH   1JJV281W68L131369   DRY V     WA               Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288683     2007   WABSH   1JJV281W28L131370   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288684     2007   WABSH   1JJV281W48L131371   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288685     2007   WABSH   1JJV281W68L131372   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL288686     2007   WABSH   1JJV281W88L131373   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288687     2007   WABSH   1JJV281WX8L131374   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288688     2007   WABSH   1JJV281W18L131375   DRY V     Alberta          Calgary
 RETL     ROAD TRAILER     RTL‐SA   RETL288689     2007   WABSH   1JJV281W38L131376   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288690     2007   WABSH   1JJV281W58L131377   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288692     2007   WABSH   1JJV281W98L131379   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288693     2007   WABSH   1JJV281W58L131380   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288694     2007   WABSH   1JJV281W78L131381   DRY V     WA               Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288696     2007   WABSH   1JJV281W08L131383   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288697     2007   WABSH   1JJV281W28L131384   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288698     2007   WABSH   1JJV281W48L131385   DRY V     CA               Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL288699     2007   WABSH   1JJV281W68L131386   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288700     2007   WABSH   1JJV281W88L131387   DRY V     MT               Great Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL288701     2007   WABSH   1JJV281WX8L131388   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288702     2007   WABSH   1JJV281W18L131389   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288703     2007   WABSH   1JJV281W88L131390   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288704     2015   HYUND   3H3V281C4FT513001   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288705     2015   HYUND   3H3V281C6FT513002   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288706     2015   HYUND   3H3V281C8FT513003   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288707     2015   HYUND   3H3V281CXFT513004   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288708     2015   HYUND   3H3V281C1FT513005   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288709     2015   HYUND   3H3V281C3FT513006   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288710     2015   HYUND   3H3V281C5FT513007   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288711     2015   HYUND   3H3V281C7FT513008   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288712     2015   HYUND   3H3V281C9FT513009   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288713     2015   HYUND   3H3V281C5FT513010   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288714     2015   HYUND   3H3V281C7FT513011   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288715     2015   HYUND   3H3V281C9FT513012   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288716     2015   HYUND   3H3V281C0FT513013   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288717     2015   HYUND   3H3V281C2FT513014   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288718     2015   HYUND   3H3V281C4FT513015   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288719     2015   HYUND   3H3V281C6FT513016   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288720     2015   HYUND   3H3V281C8FT513017   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288721     2015   HYUND   3H3V281CXFT513018   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288723     2015   HYUND   3H3V281C8FT513020   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288724     2015   HYUND   3H3V281CXFT513021   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288725     2015   HYUND   3H3V281C1FT513022   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288726     2015   HYUND   3H3V281C3FT513023   DRY V     MT               Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL288727     2015   HYUND   3H3V281C5FT513024   DRY V     CA               Gardena
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 336 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 RETL     ROAD TRAILER     RTL‐SA   RETL288728     2015   HYUND   3H3V281C7FT513025   DRY V     ID        Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288729     2015   HYUND   3H3V281C9FT513026   DRY V     NY        Maybrook
 RETL     ROAD TRAILER     RTL‐SA   RETL288730     2015   HYUND   3H3V281C0FT513027   DRY V     Alberta   Calgary
 RETL     ROAD TRAILER     RTL‐SA   RETL288732     2015   HYUND   3H3V281C4FT513029   DRY V     CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288733     2015   HYUND   3H3V281C0FT513030   DRY V     CA        Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288734     2015   HYUND   3H3V281C2FT513031   DRY V     AZ        Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288735     2015   HYUND   3H3V281C4FT513032   DRY V     CO        Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288736     2015   HYUND   3H3V281C6FT513033   DRY V     CA        Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL288737     2015   HYUND   3H3V281C8FT513034   DRY V     NV        Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288738     2015   HYUND   3H3V281CXFT513035   DRY V     WA        Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288739     2015   HYUND   3H3V281C1FT513036   DRY V     WA        Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL288740     2015   HYUND   3H3V281C3FT513037   DRY V     CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288741     2015   HYUND   3H3V281C5FT513038   DRY V     AZ        Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288742     2015   HYUND   3H3V281C7FT513039   DRY V     CA        Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288743     2015   HYUND   3H3V281C3FT513040   DRY V     CA        Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL288744     2015   HYUND   3H3V281C5FT513041   DRY V     NV        Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288745     2015   HYUND   3H3V281C7FT513042   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288746     2015   HYUND   3H3V281C9FT513043   DRY V     CA        Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288747     2015   HYUND   3H3V281C0FT513044   DRY V     OR        Roseburg
 RETL     ROAD TRAILER     RTL‐SA   RETL288748     2015   HYUND   3H3V281C2FT513045   DRY V     OR        Roseburg
 RETL     ROAD TRAILER     RTL‐SA   RETL288749     2015   HYUND   3H3V281C4FT513046   DRY V     CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288750     2015   HYUND   3H3V281C6FT513047   DRY V     CA        Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288751     2015   HYUND   3H3V281C8FT513048   DRY V     CA        Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288752     2015   HYUND   3H3V281CXFT513049   DRY V     CA        Calexico
 RETL     ROAD TRAILER     RTL‐SA   RETL288753     2015   HYUND   3H3V281C6FT513050   DRY V     CA        Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288754     2015   HYUND   3H3V281C8FT513051   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288755     2015   HYUND   3H3V281CXFT513052   DRY V     CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288756     2015   HYUND   3H3V281C1FT513053   DRY V     CA        Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288757     2015   HYUND   3H3V281C3FT513054   DRY V     OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288758     2015   HYUND   3H3V281C5FT513055   DRY V     WA        Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288759     2015   HYUND   3H3V281C7FT513056   DRY V     CA        Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288760     2015   HYUND   3H3V281C9FT513057   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288761     2015   HYUND   3H3V281C0FT513058   DRY V     CA        Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288762     2016   HYUND   3H3V281C3GT544001   DRY V     AZ        Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288763     2016   HYUND   3H3V281C5GT544002   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288764     2016   HYUND   3H3V281C7GT544003   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288765     2016   HYUND   3H3V281C9GT544004   DRY V     CA        Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288766     2016   HYUND   3H3V281C0GT544005   DRY V     WA        Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288768     2016   HYUND   3H3V281C4GT544007   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288769     2016   HYUND   3H3V281C6GT544008   DRY V     MT        Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL288770     2016   HYUND   3H3V281C8GT544009   DRY V     OR        Redmond
 RETL     ROAD TRAILER     RTL‐SA   RETL288771     2016   HYUND   3H3V281C4GT544010   DRY V     CA        Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL288772     2016   HYUND   3H3V281C6GT544011   DRY V     NV        Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288773     2016   HYUND   3H3V281C8GT544012   DRY V     CA        Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288774     2016   HYUND   3H3V281CXGT544013   DRY V     CA        Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288775     2016   HYUND   3H3V281C1GT544014   DRY V     ID        Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288776     2016   HYUND   3H3V281C3GT544015   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288777     2016   HYUND   3H3V281C5GT544016   DRY V     ID        Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288778     2016   HYUND   3H3V281C7GT544017   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288779     2016   HYUND   3H3V281C9GT544018   DRY V     OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288780     2016   HYUND   3H3V281C0GT544019   DRY V     CA        Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288781     2016   HYUND   3H3V281C7GT544020   DRY V     CA        Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288782     2016   HYUND   3H3V281C9GT544021   DRY V     CA        Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288783     2016   HYUND   3H3V281C0GT544022   DRY V     CA        Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288784     2016   HYUND   3H3V281C2GT544023   DRY V     CA        Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288785     2016   HYUND   3H3V281C4GT544024   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288786     2016   HYUND   3H3V281C6GT544025   DRY V     OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288787     2016   HYUND   3H3V281C8GT544026   DRY V     NV        Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288788     2016   HYUND   3H3V281CXGT544027   DRY V     NM        Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL288789     2016   HYUND   3H3V281C1GT544028   DRY V     CA        Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288790     2016   HYUND   3H3V281C3GT544029   DRY V     OR        Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288791     2016   HYUND   3H3V281CXGT544030   DRY V     UT        St. George
 RETL     ROAD TRAILER     RTL‐SA   RETL288792     2016   HYUND   3H3V281C1GT544031   DRY V     UT        Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288793     2016   HYUND   3H3V281C3GT544032   DRY V     AZ        Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288794     2016   HYUND   3H3V281C5GT544033   DRY V     CA        Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288795     2016   HYUND   3H3V281C7GT544034   DRY V     CA        Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288796     2016   HYUND   3H3V281C9GT544035   DRY V     CO        Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288797     2016   HYUND   3H3V281C0GT544036   DRY V     WA        Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288798     2016   HYUND   3H3V281C2GT544037   DRY V     NV        Carlin
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 337 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL288799     2016   HYUND   3H3V281C4GT544038   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288800     2016   HYUND   3H3V281C6GT544039   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288801     2016   HYUND   3H3V281C2GT544040   DRY V     AZ      Flagstaff
 RETL     ROAD TRAILER     RTL‐SA   RETL288802     2016   HYUND   3H3V281C4GT544041   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288803     2016   HYUND   3H3V281C6GT544042   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288804     2016   HYUND   3H3V281C8GT544043   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288805     2016   HYUND   3H3V281CXGT544044   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288806     2016   HYUND   3H3V281C1GT544045   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288807     2016   HYUND   3H3V281C3GT544046   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288808     2016   HYUND   3H3V281C5GT544047   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288809     2016   HYUND   3H3V281C7GT544048   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288810     2016   HYUND   3H3V281C9GT544049   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288811     2016   HYUND   3H3V281C5GT544050   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288812     2016   HYUND   3H3V281C7GT544051   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288813     2016   HYUND   3H3V281C9GT544052   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288814     2016   HYUND   3H3V281C0GT544053   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288815     2016   HYUND   3H3V281C2GT544054   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL288816     2016   HYUND   3H3V281C4GT544055   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288817     2016   HYUND   3H3V281C6GT544056   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288818     2016   HYUND   3H3V281C8GT544057   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288819     2016   HYUND   3H3V281CXGT544058   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288820     2016   HYUND   3H3V281C1GT544059   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288821     2016   HYUND   3H3V281C8GT544060   DRY V     MT      Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL288822     2016   HYUND   3H3V281CXGT544061   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288823     2016   HYUND   3H3V281C1GT544062   DRY V     AZ      Nogales
 RETL     ROAD TRAILER     RTL‐SA   RETL288824     2016   HYUND   3H3V281C3GT544063   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288825     2016   HYUND   3H3V281C5GT544064   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288826     2016   HYUND   3H3V281C7GT544065   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288827     2016   HYUND   3H3V281C9GT544066   DRY V     CA      Santa Maria
 RETL     ROAD TRAILER     RTL‐SA   RETL288828     2016   HYUND   3H3V281C0GT544067   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288829     2016   HYUND   3H3V281C2GT544068   DRY V     CA      Eureka
 RETL     ROAD TRAILER     RTL‐SA   RETL288830     2016   HYUND   3H3V281C4GT544069   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288831     2016   HYUND   3H3V281C0GT544070   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288832     2016   HYUND   3H3V281C2GT544071   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288833     2016   HYUND   3H3V281C4GT544072   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288834     2016   HYUND   3H3V281C6GT544073   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL288835     2016   HYUND   3H3V281C8GT544074   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288836     2016   HYUND   3H3V281CXGT544075   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL288837     2016   HYUND   3H3V281C1GT544076   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288838     2016   HYUND   3H3V281C3GT544077   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288839     2016   HYUND   3H3V281C5GT544078   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288840     2016   HYUND   3H3V281C7GT544079   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288841     2016   HYUND   3H3V281C3GT544080   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288842     2016   HYUND   3H3V281C5GT544081   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288843     2016   HYUND   3H3V281C7GT544082   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288844     2016   HYUND   3H3V281C9GT544083   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL288845     2016   HYUND   3H3V281C0GT544084   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288846     2016   HYUND   3H3V281C2GT544085   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288847     2016   HYUND   3H3V281C4GT544086   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288848     2016   HYUND   3H3V281C6GT544087   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288849     2016   HYUND   3H3V281C8GT544088   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288850     2016   HYUND   3H3V281CXGT544089   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288851     2016   HYUND   3H3V281C6GT544090   DRY V     WA      Union Gap
 RETL     ROAD TRAILER     RTL‐SA   RETL288852     2016   HYUND   3H3V281C8GT544091   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL288853     2016   HYUND   3H3V281CXGT544092   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288854     2016   HYUND   3H3V281C1GT544093   DRY V     OR      Roseburg
 RETL     ROAD TRAILER     RTL‐SA   RETL288855     2016   HYUND   3H3V281C3GT544094   DRY V     WY      Cheyenne
 RETL     ROAD TRAILER     RTL‐SA   RETL288856     2016   HYUND   3H3V281C5GT544095   DRY V     CA      Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL288857     2016   HYUND   3H3V281C7GT544096   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288858     2016   HYUND   3H3V281C9GT544097   DRY V     CA      Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL288859     2016   HYUND   3H3V281C0GT544098   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288860     2016   HYUND   3H3V281C2GT544099   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288861     2016   HYUND   3H3V281C5GT544100   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL288862     2016   HYUND   3H3V281C7GT544101   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288863     2016   HYUND   3H3V281C9GT544102   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL288864     2016   HYUND   3H3V281C0GT544103   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288865     2016   HYUND   3H3V281C2GT544104   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288866     2016   HYUND   3H3V281C4GT544105   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288867     2016   HYUND   3H3V281C6GT544106   DRY V     CA      Pico Rivera
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 338 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL288869     2016   HYUND   3H3V281CXGT544108   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288870     2016   HYUND   3H3V281C1GT544109   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288871     2016   HYUND   3H3V281C8GT544110   DRY V     CO      Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL288872     2016   HYUND   3H3V281CXGT544111   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288873     2016   HYUND   3H3V281C1GT544112   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288874     2016   HYUND   3H3V281C3GT544113   DRY V     ID      Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL288875     2016   HYUND   3H3V281C5GT544114   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288876     2016   HYUND   3H3V281C7GT544115   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288877     2016   HYUND   3H3V281C9GT544116   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288878     2016   HYUND   3H3V281C0GT544117   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288879     2016   HYUND   3H3V281C2GT544118   DRY V     WA      Pasco
 RETL     ROAD TRAILER     RTL‐SA   RETL288880     2016   HYUND   3H3V281C4GT544119   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288881     2016   HYUND   3H3V281C0GT544120   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288882     2016   HYUND   3H3V281C2GT544121   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL288883     2016   HYUND   3H3V281C4GT544122   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288884     2017   HYUND   3H3V281C9HT723001   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288885     2017   HYUND   3H3V281C0HT723002   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288886     2017   HYUND   3H3V281C2HT723003   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL288887     2017   HYUND   3H3V281C4HT723004   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288888     2017   HYUND   3H3V281C6HT723005   DRY V     AZ      Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL288889     2017   HYUND   3H3V281C8HT723006   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288890     2017   HYUND   3H3V281CXHT723007   DRY V     ID      Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL288891     2017   HYUND   3H3V281C1HT723008   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288892     2017   HYUND   3H3V281C3HT723009   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288893     2017   HYUND   3H3V281CXHT723010   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288894     2017   HYUND   3H3V281C1HT723011   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288895     2017   HYUND   3H3V281C3HT723012   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288896     2017   HYUND   3H3V281C5HT723013   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288897     2017   HYUND   3H3V281C7HT723014   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288898     2017   HYUND   3H3V281C9HT723015   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288899     2017   HYUND   3H3V281C0HT723016   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288900     2017   HYUND   3H3V281C2HT723017   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288901     2017   HYUND   3H3V281C4HT723018   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288902     2017   HYUND   3H3V281C6HT723019   DRY V     OR      Redmond
 RETL     ROAD TRAILER     RTL‐SA   RETL288903     2017   HYUND   3H3V281C2HT723020   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288904     2017   HYUND   3H3V281C4HT723021   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288905     2017   HYUND   3H3V281C6HT723022   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288906     2017   HYUND   3H3V281C8HT723023   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288907     2017   HYUND   3H3V281CXHT723024   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288908     2017   HYUND   3H3V281C1HT723025   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL288909     2017   HYUND   3H3V281C3HT723026   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288910     2017   HYUND   3H3V281C5HT723027   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288911     2017   HYUND   3H3V281C7HT723028   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288912     2017   HYUND   3H3V281C9HT723029   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288913     2017   HYUND   3H3V281C5HT723030   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288914     2017   HYUND   3H3V281C7HT723031   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL288915     2017   HYUND   3H3V281C9HT723032   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288916     2017   HYUND   3H3V281C0HT723033   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288917     2017   HYUND   3H3V281C2HT723034   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288918     2017   HYUND   3H3V281C4HT723035   DRY V     OR      Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288919     2017   HYUND   3H3V281C6HT723036   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288920     2017   HYUND   3H3V281C8HT723037   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288921     2017   HYUND   3H3V281CXHT723038   DRY V     WY      Buffalo
 RETL     ROAD TRAILER     RTL‐SA   RETL288922     2017   HYUND   3H3V281C1HT723039   DRY V     CO      Colorado Springs
 RETL     ROAD TRAILER     RTL‐SA   RETL288923     2017   HYUND   3H3V281C8HT723040   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288924     2017   HYUND   3H3V281CXHT723041   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288925     2017   HYUND   3H3V281C1HT723042   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL288926     2017   HYUND   3H3V281C3HT723043   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL288927     2017   HYUND   3H3V281C5HT723044   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL288928     2017   HYUND   3H3V281C7HT723045   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL288929     2017   HYUND   3H3V281C9HT723046   DRY V     FL      Orlando
 RETL     ROAD TRAILER     RTL‐SA   RETL288930     2017   HYUND   3H3V281C0HT723047   DRY V     MT      Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL288931     2017   HYUND   3H3V281C2HT723048   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288932     2017   HYUND   3H3V281C4HT723049   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288933     2017   HYUND   3H3V281C0HT723050   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288934     2017   HYUND   3H3V281C2HT723051   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288935     2017   HYUND   3H3V281C4HT723052   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL288936     2017   HYUND   3H3V281C6HT723053   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288937     2017   HYUND   3H3V281C8HT723054   DRY V     OR      Eugene
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 339 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL288938     2017   HYUND   3H3V281CXHT723055   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288939     2017   HYUND   3H3V281C1HT723056   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288940     2017   HYUND   3H3V281C3HT723057   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288941     2017   HYUND   3H3V281C5HT723058   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288942     2017   HYUND   3H3V281C7HT723059   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288943     2017   HYUND   3H3V281C3HT723060   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL288944     2017   HYUND   3H3V281C5HT723061   DRY V     CA               Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL288945     2017   HYUND   3H3V281C7HT723062   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288946     2017   HYUND   3H3V281C9HT723063   DRY V     WA               East Wenatchee
 RETL     ROAD TRAILER     RTL‐SA   RETL288947     2017   HYUND   3H3V281C0HT723064   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288948     2017   HYUND   3H3V281C2HT723065   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288949     2017   HYUND   3H3V281C4HT723066   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288950     2017   HYUND   3H3V281C6HT723067   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288951     2017   HYUND   3H3V281C8HT723068   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288952     2017   HYUND   3H3V281CXHT723069   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288953     2017   HYUND   3H3V281C6HT723070   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288954     2017   HYUND   3H3V281C8HT723071   DRY V     ID               Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL288955     2017   HYUND   3H3V281CXHT723072   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288956     2017   HYUND   3H3V281C1HT723073   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL288957     2017   HYUND   3H3V281C3HT723074   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL288958     2017   HYUND   3H3V281C5HT723075   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288959     2017   HYUND   3H3V281C7HT723076   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288960     2017   HYUND   3H3V281C9HT723077   DRY V     ID               Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL288961     2017   HYUND   3H3V281C0HT723078   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL288962     2017   HYUND   3H3V281C2HT723079   DRY V     CA               Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL288963     2017   HYUND   3H3V281C9HT723080   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288964     2017   HYUND   3H3V281C0HT723081   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL288965     2017   HYUND   3H3V281C2HT723082   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288966     2017   HYUND   3H3V281C4HT723083   DRY V     MT               Great Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL288967     2017   HYUND   3H3V281C6HT723084   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288968     2017   HYUND   3H3V281C8HT723085   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288969     2017   HYUND   3H3V281CXHT723086   DRY V     CA               Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL288970     2017   HYUND   3H3V281C1HT723087   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288971     2017   HYUND   3H3V281C3HT723088   DRY V     AZ               Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL288972     2017   HYUND   3H3V281C5HT723089   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL288973     2017   HYUND   3H3V281C1HT723090   DRY V     CO               Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL288974     2017   HYUND   3H3V281C3HT723091   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288975     2017   HYUND   3H3V281C5HT723092   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288976     2017   HYUND   3H3V281C7HT723093   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288977     2017   HYUND   3H3V281C9HT723094   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288978     2017   HYUND   3H3V281C0HT723095   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL288979     2017   HYUND   3H3V281C2HT723096   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288980     2017   HYUND   3H3V281C4HT723097   DRY V     TN               Memphis
 RETL     ROAD TRAILER     RTL‐SA   RETL288981     2017   HYUND   3H3V281C6HT723098   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL288982     2017   HYUND   3H3V281C8HT723099   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288983     2017   HYUND   3H3V281C0HT723100   DRY V     CA               Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL288984     2017   HYUND   3H3V281C2HT723101   DRY V     AZ               Nogales
 RETL     ROAD TRAILER     RTL‐SA   RETL288985     2017   HYUND   3H3V281C4HT723102   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL288986     2017   HYUND   3H3V281C6HT723103   DRY V     CA               Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL288987     2017   HYUND   3H3V281C8HT723104   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL288988     2017   HYUND   3H3V281CXHT723105   DRY V     ID               Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL288989     2017   HYUND   3H3V281C1HT723106   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL288990     2017   HYUND   3H3V281C3HT723107   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL288991     2017   HYUND   3H3V281C5HT723108   DRY V     WA               Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL288992     2017   HYUND   3H3V281C7HT723109   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288993     2017   HYUND   3H3V281C3HT723110   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL288994     2017   HYUND   3H3V281C5HT723111   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL288995     2017   HYUND   3H3V281C7HT723112   DRY V     OR               Central Point
 RETL     ROAD TRAILER     RTL‐SA   RETL288996     2018   HYUND   3H3V281C3JT020001   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL288997     2018   HYUND   3H3V281C5JT020002   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL288998     2018   HYUND   3H3V281C7JT020003   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL288999     2018   HYUND   3H3V281C9JT020004   DRY V     CA               Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL289000     2018   HYUND   3H3V281C0JT020005   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL289001     2018   HYUND   3H3V281C2JT020006   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL289002     2018   HYUND   3H3V281C4JT020007   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL289003     2018   HYUND   3H3V281C6JT020008   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL289004     2018   HYUND   3H3V281C8JT020009   DRY V     ID               Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL289005     2018   HYUND   3H3V281C4JT020010   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL289321     2020   HYUND   3H3V281C4LT618066   DRY V     ID               Meridian
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 340 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL289349     2022   WABSH   1JJV281D7NL317853   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289350     2022   WABSH   1JJV281D9NL317854   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL289351     2022   WABSH   1JJV281D0NL317855   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL289352     2022   WABSH   1JJV281D2NL317856   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL289353     2022   WABSH   1JJV281D4NL317857   DRY V     British Columbia Burnaby
 RETL     ROAD TRAILER     RTL‐SA   RETL289354     2022   WABSH   1JJV281D6NL317858   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289355     2022   WABSH   1JJV281D8NL317859   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL289356     2022   WABSH   1JJV281D4NL317860   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL289357     2022   WABSH   1JJV281D6NL317861   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL289358     2022   WABSH   1JJV281D8NL317862   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289359     2022   WABSH   1JJV281DXNL317863   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289360     2022   WABSH   1JJV281D1NL317864   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL289361     2022   WABSH   1JJV281D3NL317865   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL289362     2022   WABSH   1JJV281D5NL317866   DRY V     WY               Cheyenne
 RETL     ROAD TRAILER     RTL‐SA   RETL289363     2022   WABSH   1JJV281D7NL317867   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL289364     2022   WABSH   1JJV281D9NL317868   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL289365     2022   WABSH   1JJV281D0NL317869   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL289366     2022   WABSH   1JJV281D7NL317870   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL289367     2022   WABSH   1JJV281D9NL317871   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL289368     2022   WABSH   1JJV281D0NL317872   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL289369     2022   WABSH   1JJV281D2NL317873   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL289370     2022   WABSH   1JJV281D4NL317874   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL289371     2022   WABSH   1JJV281D6NL317875   DRY V     CO               Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL289372     2022   WABSH   1JJV281D8NL317876   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL289373     2022   WABSH   1JJV281DXNL317877   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL289374     2022   WABSH   1JJV281D1NL317878   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL289375     2022   WABSH   1JJV281D3NL317879   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL289376     2022   WABSH   1JJV281DXNL317880   DRY V     CA               Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL289378     2022   WABSH   1JJV281D3NL317882   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL289379     2022   WABSH   1JJV281D5NL317883   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL289380     2022   WABSH   1JJV281D7NL317884   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL289381     2022   WABSH   1JJV281D9NL317885   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL289382     2022   WABSH   1JJV281D0NL317886   DRY V     CA               Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL289383     2022   WABSH   1JJV281D2NL317887   DRY V     OR               La Grande
 RETL     ROAD TRAILER     RTL‐SA   RETL289384     2022   WABSH   1JJV281D4NL317888   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL289385     2022   WABSH   1JJV281D6NL317889   DRY V     AZ               Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL289386     2022   WABSH   1JJV281D2NL317890   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL289387     2022   WABSH   1JJV281D4NL317891   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289388     2022   WABSH   1JJV281D6NL317892   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289389     2022   WABSH   1JJV281D8NL317893   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL289390     2022   WABSH   1JJV281DXNL317894   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL289391     2022   WABSH   1JJV281D1NL317895   DRY V     CA               Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL289392     2022   WABSH   1JJV281D3NL317896   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL289393     2022   WABSH   1JJV281D5NL317897   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL289394     2022   WABSH   1JJV281D7NL317898   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL289395     2022   WABSH   1JJV281D9NL317899   DRY V     CA               Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL289396     2022   WABSH   1JJV281D1NL317900   DRY V     CA               Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL289397     2022   WABSH   1JJV281D3NL317901   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289398     2022   WABSH   1JJV281D5NL317902   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL289399     2022   WABSH   1JJV281D7NL317903   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289400     2022   WABSH   1JJV281D9NL317904   DRY V     WA               East Wenatchee
 RETL     ROAD TRAILER     RTL‐SA   RETL289401     2022   WABSH   1JJV281D0NL317905   DRY V     CA               Willows
 RETL     ROAD TRAILER     RTL‐SA   RETL289402     2022   WABSH   1JJV281D2NL317906   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL289403     2022   WABSH   1JJV281D4NL317907   DRY V     CA               Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL289404     2022   WABSH   1JJV281D6NL317908   DRY V     NM               Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL289405     2022   WABSH   1JJV281D8NL317909   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL289406     2022   WABSH   1JJV281D4NL317910   DRY V     CA               Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL289407     2022   WABSH   1JJV281D6NL317911   DRY V     CA               Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL289408     2022   WABSH   1JJV281D8NL317912   DRY V     Alberta          Calgary
 RETL     ROAD TRAILER     RTL‐SA   RETL289409     2022   WABSH   1JJV281DXNL317913   DRY V     CA               Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL289410     2022   WABSH   1JJV281D1NL317914   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL289411     2022   WABSH   1JJV281D3NL317915   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL289412     2022   WABSH   1JJV281D5NL317916   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL289413     2022   WABSH   1JJV281D7NL317917   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL289414     2022   WABSH   1JJV281D9NL317918   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289415     2022   WABSH   1JJV281D0NL317919   DRY V     NV               Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL289416     2022   WABSH   1JJV281D7NL317920   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL289417     2022   WABSH   1JJV281D9NL317921   DRY V     CA               Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289418     2022   WABSH   1JJV281D0NL317922   DRY V     CO               Henderson
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 341 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL289419     2022   WABSH   1JJV281D2NL317923   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL289420     2022   WABSH   1JJV281D4NL317924   DRY V     OR      Roseburg
 RETL     ROAD TRAILER     RTL‐SA   RETL289421     2022   WABSH   1JJV281D6NL317925   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL289422     2022   WABSH   1JJV281D8NL317926   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL289423     2022   WABSH   1JJV281DXNL317927   DRY V     CA      Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL289424     2022   WABSH   1JJV281D1NL317928   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL289425     2022   WABSH   1JJV281D3NL317929   DRY V     CA      Pomona
 RETL     ROAD TRAILER     RTL‐SA   RETL289426     2022   WABSH   1JJV281DXNL317930   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL289427     2022   WABSH   1JJV281D1NL317931   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295101     2005   GRTDN   1GRAA56195K264026   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295103     2005   GRTDN   1GRAA56125K264028   DRY V     CA      Ventura
 RETL     ROAD TRAILER     RTL‐SA   RETL295104     2005   GRTDN   1GRAA56145K264029   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295105     2005   GRTDN   1GRAA56105K264030   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL295106     2005   GRTDN   1GRAA56125K264031   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295107     2005   GRTDN   1GRAA56145K264032   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL295109     2005   GRTDN   1GRAA56185K264034   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295111     2005   GRTDN   1GRAA56115K264036   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295113     2005   GRTDN   1GRAA56155K264038   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295114     2005   GRTDN   1GRAA56175K264039   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL295117     2005   GRTDN   1GRAA56175K264042   DRY V     CA      Brisbane
 RETL     ROAD TRAILER     RTL‐SA   RETL295119     2005   GRTDN   1GRAA56105K264044   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL295120     2005   GRTDN   1GRAA56125K264045   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295121     2005   GRTDN   1GRAA56145K264046   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL295122     2005   GRTDN   1GRAA56165K264047   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295124     2005   GRTDN   1GRAA561X5K264049   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL295129     2005   GRTDN   1GRAA56135K264054   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295131     2005   GRTDN   1GRAA56175K264056   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295132     2005   GRTDN   1GRAA56195K264057   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295135     2005   GRTDN   1GRAA56195K264060   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295137     2005   GRTDN   1GRAA56125K264062   DRY V     MT      Butte
 RETL     ROAD TRAILER     RTL‐SA   RETL295139     2005   GRTDN   1GRAA56165K264064   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL295140     2005   GRTDN   1GRAA56185K264065   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL295141     2005   GRTDN   1GRAA561X5K264066   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL295144     2005   GRTDN   1GRAA56155K264069   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295145     2005   GRTDN   1GRAA56115K264070   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295147     2005   GRTDN   1GRAA56155K264072   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL295151     2005   GRTDN   1GRAA56125K264076   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295154     2005   GRTDN   1GRAA56185K264079   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295155     2005   GRTDN   1GRAA56145K264080   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295157     2005   GRTDN   1GRAA56185K264082   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295159     2005   GRTDN   1GRAA56115K264084   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295162     2005   GRTDN   1GRAA56175K264087   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295163     2005   GRTDN   1GRAA56195K264088   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295166     2005   GRTDN   1GRAA56195K264091   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL295168     2005   GRTDN   1GRAA56125K264093   DRY V     MT      Billings
 RETL     ROAD TRAILER     RTL‐SA   RETL295169     2005   GRTDN   1GRAA56145K264094   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL295170     2005   GRTDN   1GRAA56165K264095   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295172     2005   GRTDN   1GRAA561X5K264097   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295173     2005   GRTDN   1GRAA56115K264098   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295176     2005   GRTDN   1GRAA56185K264101   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295177     2005   GRTDN   1GRAA561X5K264102   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295178     2005   GRTDN   1GRAA56115K264103   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295179     2005   GRTDN   1GRAA56135K264104   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295180     2005   GRTDN   1GRAA56155K264105   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL295181     2005   GRTDN   1GRAA56175K264106   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295184     2005   GRTDN   1GRAA56125K264109   DRY V     CA      Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL295185     2005   GRTDN   1GRAA56195K264110   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295186     2005   GRTDN   1GRAA56105K264111   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL295187     2005   GRTDN   1GRAA56125K264112   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295189     2005   GRTDN   1GRAA56165K264114   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL295192     2005   GRTDN   1GRAA56115K264117   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295194     2005   GRTDN   1GRAA56155K264119   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL295196     2005   GRTDN   1GRAA56135K264121   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295197     2005   GRTDN   1GRAA56155K264122   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295198     2005   GRTDN   1GRAA56175K264123   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295200     2005   GRTDN   1GRAA56105K264125   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295201     2005   GRTDN   1GRAA56125K264126   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295203     2005   GRTDN   1GRAA56165K264128   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295205     2005   GRTDN   1GRAA56145K264130   DRY V     CA      Orange
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 342 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL295206     2005   GRTDN   1GRAA56165K264131   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL295207     2005   GRTDN   1GRAA56175K264132   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295208     2005   GRTDN   1GRAA561X5K264133   DRY V     CO      Clifton
 RETL     ROAD TRAILER     RTL‐SA   RETL295210     2005   GRTDN   1GRAA56135K264135   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295211     2005   GRTDN   1GRAA56155K264136   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295213     2005   GRTDN   1GRAA56195K264138   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295215     2005   GRTDN   1GRAA56175K264140   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295216     2005   GRTDN   1GRAA56195K264141   DRY V     MS      Richland
 RETL     ROAD TRAILER     RTL‐SA   RETL295218     2005   GRTDN   1GRAA56125K264143   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL295219     2005   GRTDN   1GRAA56145K264144   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295220     2005   GRTDN   1GRAA56165K264145   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295221     2005   GRTDN   1GRAA56185K264146   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295223     2005   GRTDN   1GRAA56115K264148   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295224     2005   GRTDN   1GRAA56135K264149   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL295225     2005   GRTDN   1GRAA561X5K264150   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL295226     2005   GRTDN   1GRAA56115K264151   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295227     2005   GRTDN   1GRAA56135K264152   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295228     2005   GRTDN   1GRAA56155K264153   DRY V     WA      Union Gap
 RETL     ROAD TRAILER     RTL‐SA   RETL295231     2005   GRTDN   1GRAA56105K264156   DRY V     AZ      Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL295232     2005   GRTDN   1GRAA56125K264157   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295233     2005   GRTDN   1GRAA56145K264158   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295234     2005   GRTDN   1GRAA56165K264159   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295235     2005   GRTDN   1GRAA56125K264160   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295236     2005   GRTDN   1GRAA56145K264161   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL295237     2005   GRTDN   1GRAA56165K264162   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL295238     2005   GRTDN   1GRAA56185K264163   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL295239     2005   GRTDN   1GRAA561X5K264164   DRY V     ID      Twin Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL295240     2005   GRTDN   1GRAA56115K264165   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295242     2005   GRTDN   1GRAA56155K264167   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295243     2005   GRTDN   1GRAA56175K264168   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL295244     2005   GRTDN   1GRAA56195K264169   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295245     2005   GRTDN   1GRAA56155K264170   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295247     2005   GRTDN   1GRAA56195K264172   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL295249     2005   GRTDN   1GRAA56125K264174   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL295250     2005   GRTDN   1GRAA56145K264175   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295251     2005   GRTDN   1GRAA56165K264176   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295254     2005   GRTDN   1GRAA56115K264179   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295256     2005   GRTDN   1GRAA561X5K264181   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL295257     2005   GRTDN   1GRAA56115K264182   DRY V     OR      Eugene
 RETL     ROAD TRAILER     RTL‐SA   RETL295258     2005   GRTDN   1GRAA56135K264183   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL295259     2005   GRTDN   1GRAA56155K264184   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295261     2005   GRTDN   1GRAA56195K264186   DRY V     CA      Santa Maria
 RETL     ROAD TRAILER     RTL‐SA   RETL295262     2005   GRTDN   1GRAA56105K264187   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL295263     2005   GRTDN   1GRAA56125K264263   DRY V     AZ      Lake Havasu City
 RETL     ROAD TRAILER     RTL‐SA   RETL295264     2005   GRTDN   1GRAA56145K264189   DRY V     CA      Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL295266     2005   GRTDN   1GRAA56125K264191   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL295267     2005   GRTDN   1GRAA56145K264192   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295268     2005   GRTDN   1GRAA56165K264193   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295270     2005   GRTDN   1GRAA561X5K264195   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL295271     2005   GRTDN   1GRAA56115K264196   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL295273     2005   GRTDN   1GRAA56155K264198   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295275     2005   GRTDN   1GRAA561X5K264200   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL295276     2005   GRTDN   1GRAA56115K264201   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295277     2005   GRTDN   1GRAA56135K264202   DRY V     CA      Willows
 RETL     ROAD TRAILER     RTL‐SA   RETL295279     2005   GRTDN   1GRAA56175K264204   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL295280     2005   GRTDN   1GRAA56195K264205   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295281     2005   GRTDN   1GRAA56105K264206   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295283     2005   GRTDN   1GRAA56145K264208   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL295284     2005   GRTDN   1GRAA56165K264209   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL295285     2005   GRTDN   1GRAA56125K264210   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL295286     2005   GRTDN   1GRAA56145K264211   DRY V     MT      Great Falls
 RETL     ROAD TRAILER     RTL‐SA   RETL295287     2005   GRTDN   1GRAA56165K264212   DRY V     NM      Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL295288     2005   GRTDN   1GRAA56185K264213   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295289     2005   GRTDN   1GRAA561X5K264214   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295291     2005   GRTDN   1GRAA56135K264216   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295292     2005   GRTDN   1GRAA56155K264217   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295293     2005   GRTDN   1GRAA56175K264218   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295294     2005   GRTDN   1GRAA56195K264219   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295297     2005   GRTDN   1GRAA56195K264222   DRY V     CO      Aurora
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 343 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL295298     2005   GRTDN   1GRAA56105K264223   DRY V     CA      Willows
 RETL     ROAD TRAILER     RTL‐SA   RETL295300     2005   GRTDN   1GRAA56145K264225   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295301     2005   GRTDN   1GRAA56165K264226   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295302     2005   GRTDN   1GRAA56185K264227   DRY V     CA      Santa Rosa
 RETL     ROAD TRAILER     RTL‐SA   RETL295303     2005   GRTDN   1GRAA561X5K264228   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL295305     2005   GRTDN   1GRAA56185K264230   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295306     2005   GRTDN   1GRAA561X5K264231   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295310     2005   GRTDN   1GRAA56175K264235   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL295311     2005   GRTDN   1GRAA56195K264236   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295313     2005   GRTDN   1GRAA56125K264238   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL295314     2005   GRTDN   1GRAA56145K264239   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295315     2005   GRTDN   1GRAA56105K264240   DRY V     CA      Hayward
 RETL     ROAD TRAILER     RTL‐SA   RETL295317     2005   GRTDN   1GRAA56145K264242   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295318     2005   GRTDN   1GRAA56165K264243   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295319     2005   GRTDN   1GRAA56185K264244   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295320     2005   GRTDN   1GRAA561X5K264245   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295323     2005   GRTDN   1GRAA56155K264248   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL295324     2005   GRTDN   1GRAA56175K264249   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295325     2005   GRTDN   1GRAA56135K264250   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295327     2005   GRTDN   1GRAA56175K264252   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL295329     2005   GRTDN   1GRAA56105K264254   DRY V     CA      Santa Maria
 RETL     ROAD TRAILER     RTL‐SA   RETL295331     2005   GRTDN   1GRAA56145K264256   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295333     2005   GRTDN   1GRAA56185K264258   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295334     2005   GRTDN   1GRAA561X5K264259   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295338     2005   GRTDN   1GRAA56115K264263   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL295339     2005   GRTDN   1GRAA56135K264264   DRY V     MT      Missoula
 RETL     ROAD TRAILER     RTL‐SA   RETL295340     2005   GRTDN   1GRAA56155K264265   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295341     2005   GRTDN   1GRAA56175K264266   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295343     2005   GRTDN   1GRAA56105K264268   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295344     2005   GRTDN   1GRAA56125K264269   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL295345     2005   GRTDN   1GRAA56195K264270   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295348     2005   GRTDN   1GRAA56145K264273   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295351     2005   GRTDN   1GRAA561X5K264276   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295354     2005   GRTDN   1GRAA56155K264279   DRY V     CA      Bakersfield
 RETL     ROAD TRAILER     RTL‐SA   RETL295356     2005   GRTDN   1GRAA56135K264281   DRY V     GA      Ellenwood
 RETL     ROAD TRAILER     RTL‐SA   RETL295358     2005   GRTDN   1GRAA56175K264283   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL295359     2005   GRTDN   1GRAA56195K264284   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295360     2005   GRTDN   1GRAA56105K264285   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295362     2005   GRTDN   1GRAA56145K264287   DRY V     CA      Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL295363     2005   GRTDN   1GRAA56165K264288   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295364     2005   GRTDN   1GRAA56185K264289   DRY V     WY      Evansville
 RETL     ROAD TRAILER     RTL‐SA   RETL295365     2005   GRTDN   1GRAA56145K264290   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295366     2005   GRTDN   1GRAA56165K264291   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295367     2005   GRTDN   1GRAA56185K264292   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295368     2005   GRTDN   1GRAA561X5K264293   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295369     2005   GRTDN   1GRAA56115K264294   DRY V     CA      Adelanto
 RETL     ROAD TRAILER     RTL‐SA   RETL295370     2005   GRTDN   1GRAA56135K264295   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295371     2005   GRTDN   1GRAA56155K264296   DRY V     ID      Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL295372     2005   GRTDN   1GRAA56175K264297   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295373     2005   GRTDN   1GRAA56195K264298   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295375     2005   GRTDN   1GRAA56135K264300   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295376     2005   GRTDN   1GRAA56155K264301   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295377     2005   GRTDN   1GRAA56175K264302   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295378     2005   GRTDN   1GRAA56195K264303   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295379     2005   GRTDN   1GRAA56105K264304   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295380     2005   GRTDN   1GRAA56125K264305   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295381     2005   GRTDN   1GRAA56145K264306   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295383     2005   GRTDN   1GRAA56185K264308   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295384     2005   GRTDN   1GRAA561X5K264309   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295385     2005   GRTDN   1GRAA56165K264310   DRY V     CA      Willows
 RETL     ROAD TRAILER     RTL‐SA   RETL295386     2005   GRTDN   1GRAA56185K264311   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295387     2005   GRTDN   1GRAA561X5K264312   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL295389     2005   GRTDN   1GRAA56135K264314   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295390     2005   GRTDN   1GRAA56155K264315   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295391     2005   GRTDN   1GRAA56175K264316   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295393     2005   GRTDN   1GRAA56105K264318   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295396     2005   GRTDN   1GRAA56105K264321   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL295397     2005   GRTDN   1GRAA56125K264322   DRY V     NM      Albuquerque
 RETL     ROAD TRAILER     RTL‐SA   RETL295398     2005   GRTDN   1GRAA56145K264323   DRY V     CA      Pico Rivera
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 344 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐SA   RETL295399     2005   GRTDN   1GRAA56165K264324   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295400     2005   GRTDN   1GRAA56185K264325   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295402     2005   GRTDN   1GRAA56125K267883   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295403     2005   GRTDN   1GRAA56145K267884   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295406     2005   GRTDN   1GRAA561X5K267887   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295407     2005   GRTDN   1GRAA56115K267888   DRY V     CO      Henderson
 RETL     ROAD TRAILER     RTL‐SA   RETL295410     2005   GRTDN   1GRAA56115K267891   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295411     2005   GRTDN   1GRAA56135K267892   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295413     2005   GRTDN   1GRAA56175K267894   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL295414     2005   GRTDN   1GRAA56195K267895   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295415     2005   GRTDN   1GRAA56105K267896   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295416     2005   GRTDN   1GRAA56125K267897   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295417     2005   GRTDN   1GRAA56145K267898   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295418     2005   GRTDN   1GRAA56165K267899   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295420     2005   GRTDN   1GRAA56105K267901   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295421     2005   GRTDN   1GRAA56125K267902   DRY V     CA      Tracy
 RETL     ROAD TRAILER     RTL‐SA   RETL295422     2005   GRTDN   1GRAA56145K267903   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295423     2005   GRTDN   1GRAA56165K267904   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295424     2005   GRTDN   1GRAA56185K267905   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295425     2005   GRTDN   1GRAA561X5K267906   DRY V     OR      La Grande
 RETL     ROAD TRAILER     RTL‐SA   RETL295426     2005   GRTDN   1GRAA56115K267907   DRY V     CA      Visalia
 RETL     ROAD TRAILER     RTL‐SA   RETL295428     2005   GRTDN   1GRAA56155K267909   DRY V     NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐SA   RETL295430     2005   GRTDN   1GRAA56135K267911   DRY V     WA      Tacoma
 RETL     ROAD TRAILER     RTL‐SA   RETL295431     2005   GRTDN   1GRAA56155K267912   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295432     2005   GRTDN   1GRAA56175K267913   DRY V     ID      Meridian
 RETL     ROAD TRAILER     RTL‐SA   RETL295435     2005   GRTDN   1GRAA56125K267916   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295436     2005   GRTDN   1GRAA56145K267917   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295438     2005   GRTDN   1GRAA56185K267919   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295439     2005   GRTDN   1GRAA56145K267920   DRY V     CA      Pico Rivera
 RETL     ROAD TRAILER     RTL‐SA   RETL295440     2005   GRTDN   1GRAA56165K267921   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295441     2005   GRTDN   1GRAA56185K267922   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295442     2005   GRTDN   1GRAA561X5K267923   DRY V     CA      Fresno
 RETL     ROAD TRAILER     RTL‐SA   RETL295443     2005   GRTDN   1GRAA56115K267924   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295446     2005   GRTDN   1GRAA56175K267927   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL295447     2005   GRTDN   1GRAA56195K267928   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295448     2005   GRTDN   1GRAA56105K267929   DRY V     CO      Grand Junction
 RETL     ROAD TRAILER     RTL‐SA   RETL295450     2005   GRTDN   1GRAA56195K267931   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295451     2005   GRTDN   1GRAA56105K267932   DRY V     WA      Spokane
 RETL     ROAD TRAILER     RTL‐SA   RETL295452     2005   GRTDN   1GRAA56125K267933   DRY V     CA      Brisbane
 RETL     ROAD TRAILER     RTL‐SA   RETL295453     2005   GRTDN   1GRAA56145K267934   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295455     2005   GRTDN   1GRAA56185K267936   DRY V     OR      Portland
 RETL     ROAD TRAILER     RTL‐SA   RETL295456     2005   GRTDN   1GRAA561X5K267937   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295457     2005   GRTDN   1GRAA56115K267938   DRY V     CA      San Diego
 RETL     ROAD TRAILER     RTL‐SA   RETL295459     2005   GRTDN   1GRAA561X5K267940   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295460     2005   GRTDN   1GRAA56115K267941   DRY V     CA      Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295461     2005   GRTDN   1GRAA56135K267942   DRY V     CA      West Sacramento
 RETL     ROAD TRAILER     RTL‐SA   RETL295462     2005   GRTDN   1GRAA56155K267943   DRY V     CA      Gardena
 RETL     ROAD TRAILER     RTL‐SA   RETL295464     2005   GRTDN   1GRAA56195K267945   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295465     2005   GRTDN   1GRAA56105K267946   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295467     2005   GRTDN   1GRAA56145K267948   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL295468     2005   GRTDN   1GRAA56165K267949   DRY V     CO      Aurora
 RETL     ROAD TRAILER     RTL‐SA   RETL295469     2005   GRTDN   1GRAA56125K267950   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295470     2005   GRTDN   1GRAA56145K267951   DRY V     WA      Everett
 RETL     ROAD TRAILER     RTL‐SA   RETL295471     2005   GRTDN   1GRAA56165K267952   DRY V     WA      Seattle
 RETL     ROAD TRAILER     RTL‐SA   RETL295472     2005   GRTDN   1GRAA56185K267953   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295473     2005   GRTDN   1GRAA561X5K267954   DRY V     CA      Orange
 RETL     ROAD TRAILER     RTL‐SA   RETL295474     2005   GRTDN   1GRAA56115K267955   DRY V     CA      Santa Clara
 RETL     ROAD TRAILER     RTL‐SA   RETL295475     2005   GRTDN   1GRAA56135K267956   DRY V     NV      Sparks
 RETL     ROAD TRAILER     RTL‐SA   RETL295476     2005   GRTDN   1GRAA56155K267957   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL295477     2005   GRTDN   1GRAA56175K267958   DRY V     UT      Beaver
 RETL     ROAD TRAILER     RTL‐SA   RETL295479     2005   GRTDN   1GRAA56155K267960   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295480     2005   GRTDN   1GRAA56175K267961   DRY V     ID      Pocatello
 RETL     ROAD TRAILER     RTL‐SA   RETL295481     2005   GRTDN   1GRAA56195K267962   DRY V     CA      Bloomington
 RETL     ROAD TRAILER     RTL‐SA   RETL295482     2005   GRTDN   1GRAA56105K267963   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295483     2005   GRTDN   1GRAA56125K267964   DRY V     AZ      Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295486     2005   GRTDN   1GRAA56185K267967   DRY V     UT      Salt Lake City
 RETL     ROAD TRAILER     RTL‐SA   RETL295487     2005   GRTDN   1GRAA561X5K267968   DRY V     CA      Fontana
 RETL     ROAD TRAILER     RTL‐SA   RETL295488     2005   GRTDN   1GRAA56115K267969   DRY V     CA      Sun Valley
 RETL     ROAD TRAILER     RTL‐SA   RETL295489     2005   GRTDN   1GRAA56185K267970   DRY V     OR      Portland
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 345 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 RETL     ROAD TRAILER     RTL‐SA   RETL295491     2005   GRTDN   1GRAA56115K267972   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐SA   RETL295493     2005   GRTDN   1GRAA56155K267974   DRY V     AZ               Phoenix
 RETL     ROAD TRAILER     RTL‐SA   RETL295494     2005   GRTDN   1GRAA56175K267975   DRY V     CA               Anderson
 RETL     ROAD TRAILER     RTL‐SA   RETL295497     2005   GRTDN   1GRAA56125K267978   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL289348     2022   WABSH   1JJV281D5NL317852   DRY V     CA               West Sacramento
 RETL     ROAD TRAILER     RTL‐TA   RETL289377     2022   WABSH   1JJV281D1NL317881   DRY V     CA               San Diego
 RETL     ROAD TRAILER     RTL‐TA   RETL35296      1999   STRCK   1S12E8358XE447814   DRY V     WA               Pasco
 RETL     ROAD TRAILER     RTL‐TA   RETL35297      1999   STRCK   1S12E835XXE447815   DRY V     WA               Pasco
 RETL     ROAD TRAILER     RTL‐TA   RETL35300      2000   STRCK   1S12E8359YE461335   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐TA   RETL35302      2000   STRCK   1S12E8352YE461337   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35313      2015   HYUND   3H3V352C7FT512001   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35314      2015   HYUND   3H3V352C9FT512002   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35315      2015   HYUND   3H3V352C0FT512003   DRY V     MT               Great Falls
 RETL     ROAD TRAILER     RTL‐TA   RETL35316      2015   HYUND   3H3V352C2FT512004   DRY V     British Columbia Trail
 RETL     ROAD TRAILER     RTL‐TA   RETL35317      2015   HYUND   3H3V352C4FT512005   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35318      2015   HYUND   3H3V352C6FT512006   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35319      2015   HYUND   3H3V352C8FT512007   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐TA   RETL35320      2015   HYUND   3H3V352CXFT512008   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐TA   RETL35321      2015   HYUND   3H3V352C1FT512009   DRY V     WA               Union Gap
 RETL     ROAD TRAILER     RTL‐TA   RETL35322      2015   HYUND   3H3V352C8FT512010   DRY V     WA               Everett
 RETL     ROAD TRAILER     RTL‐TA   RETL35323      2015   HYUND   3H3V352CXFT512011   DRY V     WA               Pasco
 RETL     ROAD TRAILER     RTL‐TA   RETL35324      2015   HYUND   3H3V352C1FT512012   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35325      2015   HYUND   3H3V352C3FT512013   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35326      2015   HYUND   3H3V352C5FT512014   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35327      2015   HYUND   3H3V352C7FT512015   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35328      2015   HYUND   3H3V352C9FT512016   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35329      2015   HYUND   3H3V352C0FT512017   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35330      2015   HYUND   3H3V352C2FT512018   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐TA   RETL35331      2015   HYUND   3H3V352C4FT512019   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35332      2015   HYUND   3H3V352C0FT512020   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35333      2015   HYUND   3H3V352C2FT512021   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35334      2015   HYUND   3H3V352C4FT512022   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐TA   RETL35335      2015   HYUND   3H3V352C6FT512023   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐TA   RETL35336      2015   HYUND   3H3V352C8FT512024   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35337      2015   HYUND   3H3V352CXFT512025   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35338      2015   HYUND   3H3V352C1FT512026   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐TA   RETL35339      2015   HYUND   3H3V352C3FT512027   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35340      2015   HYUND   3H3V352C5FT512028   DRY V     CA               Downey
 RETL     ROAD TRAILER     RTL‐TA   RETL35342      2015   HYUND   3H3V352C3FT512030   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐TA   RETL35343      2016   HYUND   3H3V352C1GT553001   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35344      2016   HYUND   3H3V352C3GT553002   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐TA   RETL35345      2016   HYUND   3H3V352C5GT553003   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35346      2016   HYUND   3H3V352C7GT553004   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐TA   RETL35347      2016   HYUND   3H3V352C9GT553005   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35348      2016   HYUND   3H3V352C0GT553006   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35349      2016   HYUND   3H3V352C2GT553007   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35350      2016   HYUND   3H3V352C4GT553008   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐TA   RETL35351      2016   HYUND   3H3V352C6GT553009   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35352      2016   HYUND   3H3V352C2GT553010   DRY V     WA               Everett
 RETL     ROAD TRAILER     RTL‐TA   RETL35353      2016   HYUND   3H3V352C4GT553011   DRY V     NV               Sparks
 RETL     ROAD TRAILER     RTL‐TA   RETL35354      2016   HYUND   3H3V352C6GT553012   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐TA   RETL35355      2016   HYUND   3H3V352C8GT553013   DRY V     WA               Seattle
 RETL     ROAD TRAILER     RTL‐TA   RETL35356      2016   HYUND   3H3V352CXGT553014   DRY V     WA               Everett
 RETL     ROAD TRAILER     RTL‐TA   RETL35357      2016   HYUND   3H3V352C1GT553015   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐TA   RETL35358      2016   HYUND   3H3V352C3GT553016   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐TA   RETL35359      2016   HYUND   3H3V352C5GT553017   DRY V     WA               Tacoma
 RETL     ROAD TRAILER     RTL‐TA   RETL35360      2016   HYUND   3H3V352C7GT553018   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35361      2016   HYUND   3H3V352C9GT553019   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐TA   RETL35362      2016   HYUND   3H3V352C5GT553020   DRY V     UT               Salt Lake City
 RETL     ROAD TRAILER     RTL‐TA   RETL35363      2018   HYUND   3H3V352C1JT007001   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35364      2018   HYUND   3H3V352C3JT007002   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐TA   RETL35365      2018   HYUND   3H3V352C5JT007003   DRY V     ID               Meridian
 RETL     ROAD TRAILER     RTL‐TA   RETL35366      2018   HYUND   3H3V352C7JT007004   DRY V     MT               Butte
 RETL     ROAD TRAILER     RTL‐TA   RETL35367      2018   HYUND   3H3V352C9JT007005   DRY V     WA               Spokane
 RETL     ROAD TRAILER     RTL‐TA   RETL35368      2018   HYUND   3H3V352C0JT007006   DRY V     MT               Missoula
 RETL     ROAD TRAILER     RTL‐TA   RETL35369      2018   HYUND   3H3V352C2JT007007   DRY V     OR               Eugene
 RETL     ROAD TRAILER     RTL‐TA   RETL35370      2018   HYUND   3H3V352C4JT007008   DRY V     OR               Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL35371      2018   HYUND   3H3V352C6JT007009   DRY V     WA               Everett
 RETL     ROAD TRAILER     RTL‐TA   RETL35372      2018   HYUND   3H3V352C2JT007010   DRY V     WA               Everett
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 346 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRAILER     RTL‐TA   RETL530993     2022   VANGU   5V8VA5325NM204691             CA      Visalia
 RETL     ROAD TRAILER     RTL‐TA   RETL531001     2022   VANGU   5V8VA532XNM204699             NV      Las Vegas
 RETL     ROAD TRAILER     RTL‐TA   RETL531003     2022   VANGU   5V8VA5324NM204701             CA      Ventura
 RETL     ROAD TRAILER     RTL‐TA   RETL850885     2022   VANGU   5V8VA5324NM204682             OR      Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL850886     2022   VANGU   5V8VA5328NM204684             OR      Portland
 RETL     ROAD TRAILER     RTL‐TA   RETL850893     2022   VANGU   5V8VA5328NM204698             CA      Bloomington
 RETL     ROAD TRAILER     RTL‐TA   RETL850895     2022   VANGU   5V8VA5328NM204703             UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL10098      2022   VOLVO   4V4W19EH6NN286252   VNR42     AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL10099      2022   VOLVO   4V4W19EH7NN286258   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL10101      2022   VOLVO   4V4W19EH1NN286269   VNR42     OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL10300      2023   VOLVO   4V4W19EG6PN616806   VNR42T    AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL10301      2023   VOLVO   4V4W19EG8PN616807   VNR42T    AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL10302      2022   VOLVO   4V4W19EGXPN616808   VNR42T    AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL10303      2023   VOLVO   4V4W19EG1PN616809   VNR42T    AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL10304      2023   VOLVO   4V4W19EG8PN616810   VNR42T    AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL10305      2023   VOLVO   4V4W19EGXPN616811   VNR42T    OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL10306      2023   VOLVO   4V4W19EG1PN616812   VNR42T    OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL10308      2023   VOLVO   4V4W19EG5PN616814   VNR42T    CO      Clifton
 RETL     ROAD TRACTOR     RTR‐SA   RETL10309      2023   VOLVO   4V4W19EG7PN616815   VNR42T    CO      Clifton
 RETL     ROAD TRACTOR     RTR‐SA   RETL10311      2023   VOLVO   4V4W19EG0PN616817   VNR42T    OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL10312      2023   VOLVO   4V4W19EG2PN616818   VNR42T    OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL10313      2023   VOLVO   4V4W19EG4PN616819   VNR42T    OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL10314      2023   VOLVO   4V4W19EG0PN616820   VNR42T    OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL10315      2023   VOLVO   4V4W19EG2PN616821   VNR42T    OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL10316      2023   VOLVO   4V4W19EG4PN616822   VNR42T    OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL10317      2023   VOLVO   4V4W19EG6PN616823   VNR42T    OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL10318      2023   VOLVO   4V4W19EG8PN616824   VNR42T    ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL10319      2023   VOLVO   4V4W19EGXPN616825   VNR42T    ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL10320      2023   VOLVO   4V4W19EG1PN616826   VNR42T    UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL10321      2022   VOLVO   4V4W19EG3PN616827   VNR42T    UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL10322      2023   VOLVO   4V4W19EG5PN616828   VNR42T    ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL10323      2023   VOLVO   4V4W19EG7PN616829   VNR42T    ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL81500      2007   NVSTR   2HSCPAPN27C424614   9400      MT      Billings
 RETL     ROAD TRACTOR     RTR‐SA   RETL81641      2009   VOLVO   4V4M19EG59N263730   VNM42     CO      Colorado Springs
 RETL     ROAD TRACTOR     RTR‐SA   RETL81680      2009   VOLVO   4V4M19EH99N283908   VNM42     AZ      Lake Havasu City
 RETL     ROAD TRACTOR     RTR‐SA   RETL81703      2009   VOLVO   4V4M19EH49N283931   VNM42     WA      Pasco
 RETL     ROAD TRACTOR     RTR‐SA   RETL81711      2009   VOLVO   4V4M19EH99N283939   VNM42     OR      La Grande
 RETL     ROAD TRACTOR     RTR‐SA   RETL81712      2009   VOLVO   4V4M19EH59N283940   VNM42     OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL81713      2009   VOLVO   4V4M19EH79N283941   VNM42     OR      Redmond
 RETL     ROAD TRACTOR     RTR‐SA   RETL81758      2012   VOLVO   4V4M19EH5CN555720   VNM42     CA      Sun Valley
 RETL     ROAD TRACTOR     RTR‐SA   RETL81762      2012   VOLVO   4V4M19EH2CN555724   VNM42     WA      Everett
 RETL     ROAD TRACTOR     RTR‐SA   RETL81769      2012   VOLVO   4V4M19EHXCN555731   VNM42     WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL81780      2012   VOLVO   4V4M19EH4CN555742   VNM42     AZ      Tucson
 RETL     ROAD TRACTOR     RTR‐SA   RETL81796      2014   VOLVO   4V4M19EH0EN161349   VNM42     CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL81801      2014   VOLVO   4V4M19EH4EN161354   VNM42     AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL81802      2014   VOLVO   4V4M19EH6EN161355   VNM42     CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL81803      2014   VOLVO   4V4M19EH8EN161356   VNM42     CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL81804      2014   VOLVO   4V4M19EHXEN161357   VNM42     AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL81805      2014   VOLVO   4V4M19EH1EN161358   VNM42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL81815      2014   VOLVO   4V4M19EHXEN161388   VNM42     CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL81822      2014   VOLVO   4V4M19EH7EN161395   VNM42     CA      Santa Rosa
 RETL     ROAD TRACTOR     RTR‐SA   RETL81823      2014   VOLVO   4V4M19EH9EN161396   VNM42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL81826      2014   VOLVO   4V4M19EH4EN161399   VNM42     CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL81828      2014   VOLVO   4V4M19EH9EN161401   VNM42     CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL81829      2014   VOLVO   4V4M19EH0EN161402   VNM42     CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL81830      2014   VOLVO   4V4M19EH2EN161403   VNM42     CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL81835      2014   VOLVO   4V4M19EH1EN161408   VNM42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL81836      2014   VOLVO   4V4M19EH3EN161409   VNM42     CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL81841      2014   VOLVO   4V4M19EH7EN161414   VNM42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL81845      2014   VOLVO   4V4M19EH4EN161418   VNM42     CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL81859      2014   VOLVO   4V4M19EH9EN161432   VNM42     CA      Santa Clara
 RETL     ROAD TRACTOR     RTR‐SA   RETL81862      2014   VOLVO   4V4M19EH4EN161435   VNM42     CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL81876      2015   VOLVO   4V4M19EH8FN918192   VNM42     OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL81883      2015   VOLVO   4V4M19EH0FN918199   VNM42     CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL81891      2015   VOLVO   4V4M19EH6FN918207   VNM42     OR      Eugene
 RETL     ROAD TRACTOR     RTR‐SA   RETL81914      2015   VOLVO   4V4M19EH1FN918230   VNM42     CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL81918      2015   VOLVO   4V4M19EH9FN918234   VNM42     CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL81920      2015   VOLVO   4V5N19UG7FN930732   VNM42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL81921      2016   NVSTR   3HSDGAPN3GN084652   PRO S     WA      Spokane
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 347 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRACTOR     RTR‐SA   RETL81924     2016   NVSTR   3HSDGAPN8GN214506   PRO S     CA      Willows
 RETL     ROAD TRACTOR     RTR‐SA   RETL81927     2016   NVSTR   3HSDGAPN3GN214509   PRO S     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL81932     2016   NVSTR   3HSDGAPN9GN214515   PRO S     CA      Willows
 RETL     ROAD TRACTOR     RTR‐SA   RETL81945     2016   NVSTR   3HSDGAPN5GN214530   PRO S     CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL81957     2016   NVSTR   3HSDGAPN9GN214563   PRO S     CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL81963     2016   NVSTR   3HSDGAPNXGN214569   PRO S     OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL81977     2016   NVSTR   3HSDGAPN4GN214602   PRO S     CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL81992     2016   NVSTR   3HSDGAPN1GN279620   PRO S     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL81993     2016   NVSTR   3HSDGAPN3GN279621   PRO S     CA      Willows
 RETL     ROAD TRACTOR     RTR‐SA   RETL81997     2016   FRGHT   3AKBGBDV0GSHN3185   CASCA     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL81998     2016   FRGHT   3AKBGBDV2GSHN3186   CASCA     CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82001     2017   PTRBL   1XPBA48X4HD441843   579       CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82003     2017   PTRBL   1XPBA48X8HD441845   579       CA      Willows
 RETL     ROAD TRACTOR     RTR‐SA   RETL82005     2017   PTRBL   1XPBA48X1HD441847   579       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82008     2017   PTRBL   1XPBA48X1HD441850   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82009     2017   PTRBL   1XPBA48X3HD441851   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82010     2017   PTRBL   1XPBA48X5HD441852   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82011     2017   PTRBL   1XPBA48X7HD441853   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82012     2017   PTRBL   1XPBA48X9HD441854   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82013     2017   PTRBL   1XPBA48X0HD441855   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82014     2017   PTRBL   1XPBA48X2HD441856   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82015     2017   PTRBL   1XPBA48X4HD441857   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82016     2017   PTRBL   1XPBA48X6HD441858   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82017     2017   PTRBL   1XPBA48X8HD441859   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82018     2017   PTRBL   1XPBA48X4HD441860   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82019     2017   PTRBL   1XPBA48X6HD441861   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82020     2017   PTRBL   1XPBA48X8HD441862   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82021     2017   PTRBL   1XPBA48XXHD441863   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82022     2017   PTRBL   1XPBA48X1HD441864   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82023     2017   PTRBL   1XPBA48X3HD441865   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82024     2017   PTRBL   1XPBA48X5HD441866   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82025     2017   PTRBL   1XPBA48X7HD441867   579       CA      Santa Rosa
 RETL     ROAD TRACTOR     RTR‐SA   RETL82026     2017   PTRBL   1XPBA48X9HD441868   579       AZ      Tucson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82028     2017   PTRBL   1XPBA48X7HD441870   579       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82029     2017   PTRBL   1XPBA48X9HD441871   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82031     2017   PTRBL   1XPBA48X2HD441873   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82032     2017   PTRBL   1XPBA48X4HD441874   579       CA      Willows
 RETL     ROAD TRACTOR     RTR‐SA   RETL82033     2017   PTRBL   1XPBA48X6HD441875   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82034     2017   PTRBL   1XPBA48X8HD441876   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82035     2017   PTRBL   1XPBA48XXHD441877   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82037     2017   PTRBL   1XPBA48X3HD441879   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82038     2017   PTRBL   1XPBA48XXHD441880   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82039     2017   PTRBL   1XPBA48X1HD441881   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82040     2017   PTRBL   1XPBA48X3HD441882   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82041     2017   PTRBL   1XPBA48X5HD441883   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82043     2017   PTRBL   1XPBA48X9HD441885   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82044     2017   PTRBL   1XPBA48X0HD441886   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82045     2017   PTRBL   1XPBA48X2HD441887   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82047     2017   PTRBL   1XPBA48X6HD441889   579       CA      Lost Hills
 RETL     ROAD TRACTOR     RTR‐SA   RETL82049     2017   PTRBL   1XPBA48X4HD441891   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82050     2017   PTRBL   1XPBA48X6HD441892   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82051     2017   PTRBL   1XPBA48X8HD441893   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82052     2017   PTRBL   1XPBA48XXHD441894   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82053     2017   PTRBL   1XPBA48X1HD441895   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82054     2017   PTRBL   1XPBA48X3HD441896   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82055     2017   PTRBL   1XPBA48X5HD441897   579       AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82056     2017   PTRBL   1XPBA48X7HD441898   579       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82057     2017   PTRBL   1XPBA48X9HD441899   579       CA      Brisbane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82058     2017   PTRBL   1XPBA48X1HD441900   579       AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82059     2017   PTRBL   1XPBA48X3HD441901   579       CA      Los Angeles
 RETL     ROAD TRACTOR     RTR‐SA   RETL82060     2017   PTRBL   1XPBA48X5HD441902   579       CA      Brisbane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82061     2017   PTRBL   1XPBA48X7HD441903   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82062     2017   PTRBL   1XPBA48X9HD441904   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82063     2017   PTRBL   1XPBA48X0HD441905   579       CA      Visalia
 RETL     ROAD TRACTOR     RTR‐SA   RETL82064     2018   PTRBL   1XPBA48X8JD478917   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82069     2018   PTRBL   1XPBA48X1JD478922   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82072     2018   PTRBL   1XPBA48X7JD478925   579       CA      Santa Maria
 RETL     ROAD TRACTOR     RTR‐SA   RETL82073     2018   PTRBL   1XPBA48X9JD478926   579       CA      Pomona
 RETL     ROAD TRACTOR     RTR‐SA   RETL82075     2018   PTRBL   1XPBA48X2JD478928   579       CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 348 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82076     2018   PTRBL   1XPBA48X4JD478929   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82077     2018   PTRBL   1XPBA48X0JD478930   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82082     2018   PTRBL   1XPBA48XXJD478935   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82085     2018   PTRBL   1XPBA48X5JD478938   579       WA      Union Gap
 RETL     ROAD TRACTOR     RTR‐SA   RETL82089     2018   PTRBL   1XPBA48X7JD478942   579       WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82090     2018   PTRBL   1XPBA48X9JD478943   579       WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82091     2018   PTRBL   1XPBA48X0JD478944   579       WA      Seattle
 RETL     ROAD TRACTOR     RTR‐SA   RETL82093     2018   PTRBL   1XPBA48X4JD478946   579       WA      Everett
 RETL     ROAD TRACTOR     RTR‐SA   RETL82094     2018   PTRBL   1XPBA48X6JD478947   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82095     2018   PTRBL   1XPBA48X8JD478948   579       UT      Beaver
 RETL     ROAD TRACTOR     RTR‐SA   RETL82096     2018   PTRBL   1XPBA48XXJD478949   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82097     2018   PTRBL   1XPBA48X6JD478950   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82098     2018   PTRBL   1XPBA48X8JD478951   579       WA      Seattle
 RETL     ROAD TRACTOR     RTR‐SA   RETL82099     2018   PTRBL   1XPBA48XXJD478952   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82100     2018   PTRBL   1XPBA48X1JD478953   579       ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82101     2018   PTRBL   1XPBA48X3JD478954   579       WA      Union Gap
 RETL     ROAD TRACTOR     RTR‐SA   RETL82102     2018   PTRBL   1XPBA48X5JD478955   579       CO      Aurora
 RETL     ROAD TRACTOR     RTR‐SA   RETL82103     2018   PTRBL   1XPBA48X7JD478956   579       UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82104     2018   PTRBL   1XPBA48X9JD478957   579       WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82105     2018   PTRBL   1XPBA48X0JD478958   579       UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82106     2018   PTRBL   1XPBA48X2JD478959   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82107     2018   PTRBL   1XPBA48X9JD478960   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82109     2018   PTRBL   1XPBA48X2JD478962   579       WA      East Wenatchee
 RETL     ROAD TRACTOR     RTR‐SA   RETL82110     2018   PTRBL   1XPBA48X4JD478963   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82113     2018   PTRBL   1XPBA48XXJD478966   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82114     2018   PTRBL   1XPBA48X1JD478967   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82115     2018   PTRBL   1XPBA48X3JD478968   579       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82116     2018   PTRBL   1XPBA48X5JD478969   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82117     2018   PTRBL   1XPBA48X1JD478970   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82118     2019   PTRBL   1XPBAP8X5KD613371   579       MT      Missoula
 RETL     ROAD TRACTOR     RTR‐SA   RETL82119     2019   PTRBL   1XPBAP8X7KD613372   579       CO      Clifton
 RETL     ROAD TRACTOR     RTR‐SA   RETL82120     2019   PTRBL   1XPBAP8X9KD613373   579       UT      Beaver
 RETL     ROAD TRACTOR     RTR‐SA   RETL82121     2019   PTRBL   1XPBAP8X0KD613374   579       UT      St. George
 RETL     ROAD TRACTOR     RTR‐SA   RETL82122     2019   PTRBL   1XPBAP8X2KD613375   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82123     2019   PTRBL   1XPBAP8X4KD613376   579       CO      Grand Junction
 RETL     ROAD TRACTOR     RTR‐SA   RETL82124     2019   PTRBL   1XPBAP8X6KD613377   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82126     2019   PTRBL   1XPBAP8XXKD613379   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82127     2019   PTRBL   1XPBAP8X6KD613380   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82128     2019   PTRBL   1XPBA48XXKD613381   579       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82129     2019   PTRBL   1XPBA48X1KD613382   579       MT      Missoula
 RETL     ROAD TRACTOR     RTR‐SA   RETL82130     2019   PTRBL   1XPBA48X3KD613383   579       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82131     2019   PTRBL   1XPBA48X5KD613384   579       ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82132     2019   PTRBL   1XPBA48X7KD613385   579       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82134     2019   PTRBL   1XPBA48X0KD613387   579       OR      La Grande
 RETL     ROAD TRACTOR     RTR‐SA   RETL82135     2019   PTRBL   1XPBA48X2KD613388   579       WA      Seattle
 RETL     ROAD TRACTOR     RTR‐SA   RETL82136     2019   PTRBL   1XPBA48X4KD613389   579       UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82137     2019   PTRBL   1XPBA48X0KD613390   579       OR      Eugene
 RETL     ROAD TRACTOR     RTR‐SA   RETL82138     2019   PTRBL   1XPBA48X2KD613391   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82139     2019   PTRBL   1XPBA48X4KD613392   579       ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82140     2019   PTRBL   1XPBA48X6KD613393   579       UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82141     2019   PTRBL   1XPBA48X8KD613394   579       WA      Seattle
 RETL     ROAD TRACTOR     RTR‐SA   RETL82142     2019   PTRBL   1XPBA48XXKD613395   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82143     2019   PTRBL   1XPBA48X1KD613396   579       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82144     2019   PTRBL   1XPBA48X3KD613397   579       OR      Eugene
 RETL     ROAD TRACTOR     RTR‐SA   RETL82145     2019   PTRBL   1XPBA48X5KD613398   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82146     2019   PTRBL   1XPBA48X7KD613399   579       WA      Pasco
 RETL     ROAD TRACTOR     RTR‐SA   RETL82147     2019   PTRBL   1XPBA48XXKD613400   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82148     2019   PTRBL   1XPBA48X1KD613401   579       OR      Roseburg
 RETL     ROAD TRACTOR     RTR‐SA   RETL82149     2019   PTRBL   1XPBA48X3KD613402   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82150     2019   PTRBL   1XPBA48X5KD613403   579       ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82151     2019   PTRBL   1XPBA48X7KD613404   579       WA      Seattle
 RETL     ROAD TRACTOR     RTR‐SA   RETL82152     2019   PTRBL   1XPBA48X9KD613405   579       CA      Fresno
 RETL     ROAD TRACTOR     RTR‐SA   RETL82154     2019   PTRBL   1XPBA48X2KD613407   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82155     2019   PTRBL   1XPBA48X4KD613408   579       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82156     2019   PTRBL   1XPBA48X6KD613409   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82158     2019   PTRBL   1XPBA48X4KD613411   579       WA      Seattle
 RETL     ROAD TRACTOR     RTR‐SA   RETL82159     2019   PTRBL   1XPBA48X6KD613412   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82160     2019   PTRBL   1XPBA48X8KD613413   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82161     2019   PTRBL   1XPBA48XXKD613414   579       OR      Central Point
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 349 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82163     2019   PTRBL   1XPBA48X3KD613416   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82164     2019   PTRBL   1XPBA48X5KD613417   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82166     2019   PTRBL   1XPBA48X9KD613419   579       WA      East Wenatchee
 RETL     ROAD TRACTOR     RTR‐SA   RETL82218     2020   VOLVO   4V4W39EH8LN262283   VNR42     WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82219     2020   VOLVO   4V4W39EHXLN262284   VNR42     WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82220     2020   VOLVO   4V4W39EH1LN262285   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82221     2020   VOLVO   4V4W39EH3LN262286   VNR42     CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82222     2021   VOLVO   4V4W19EHXMN286155   VNR42     CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82223     2021   VOLVO   4V4W19EH1MN286156   VNR42     CA      Santa Maria
 RETL     ROAD TRACTOR     RTR‐SA   RETL82224     2021   VOLVO   4V4W19EH3MN286157   VNR42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82225     2021   VOLVO   4V4W19EH5MN286158   VNR42     WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82226     2021   VOLVO   4V4W19EH7MN286159   VNR42     CA      Sun Valley
 RETL     ROAD TRACTOR     RTR‐SA   RETL82227     2021   VOLVO   4V4W19EH3MN286160   VNR42     CA      Fresno
 RETL     ROAD TRACTOR     RTR‐SA   RETL82228     2021   VOLVO   4V4W19EH5MN286161   VNR42     CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82229     2021   VOLVO   4V4W19EH7MN286162   VNR42     CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82230     2021   VOLVO   4V4W19EH9MN286163   VNR42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82231     2021   VOLVO   4V4W19EH0MN286164   VNR42     CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82232     2021   VOLVO   4V4W19EH2MN286165   VNR42     CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82233     2021   VOLVO   4V4W19EH4MN286166   VNR42     CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82234     2021   VOLVO   4V4W19EH6MN286167   VNR42     CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82235     2021   VOLVO   4V4W19EH8MN286168   VNR42     CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82236     2021   VOLVO   4V4W19EHXMN286169   VNR42     ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82237     2021   VOLVO   4V4W19EH6MN286170   VNR42     CA      Brisbane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82238     2021   VOLVO   4V4W19EH8MN286171   VNR42     CA      Gardena
 RETL     ROAD TRACTOR     RTR‐SA   RETL82239     2021   VOLVO   4V4W19EHXMN286172   VNR42     CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82240     2021   PTRBL   1XPBAP8X8MD758312   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82241     2021   PTRBL   1XPBAP8XXMD758313   579       CA      Bakersfield
 RETL     ROAD TRACTOR     RTR‐SA   RETL82243     2021   PTRBL   1XPBAP8X3MD758315   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82244     2021   PTRBL   1XPBAP8X5MD758316   579       CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82245     2021   PTRBL   1XPBAP8X7MD758317   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82246     2021   PTRBL   1XPBAP8X9MD758318   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82247     2021   PTRBL   1XPBAP8X0MD758319   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82248     2021   PTRBL   1XPBAP8X7MD758320   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82249     2021   PTRBL   1XPBAP8X9MD758321   579       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82250     2021   PTRBL   1XPBAP8X0MD758322   579       CA      Fresno
 RETL     ROAD TRACTOR     RTR‐SA   RETL82251     2021   PTRBL   1XPBAP8X2MD758323   579       CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82253     2021   PTRBL   1XPBAP8X6MD758325   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82254     2021   PTRBL   1XPBAP8X8MD758326   579       CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82255     2021   PTRBL   1XPBAP8XXMD758327   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82256     2021   PTRBL   1XPBAP8X1MD758328   579       CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL82257     2021   PTRBL   1XPBAP8X3MD758329   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82258     2021   PTRBL   1XPBAP8XXMD758330   579       CA      Willows
 RETL     ROAD TRACTOR     RTR‐SA   RETL82259     2021   PTRBL   1XPBAP8X1MD758331   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82260     2021   PTRBL   1XPBAP8X3MD758332   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82261     2021   PTRBL   1XPBAP8X5MD758333   579       CA      Gardena
 RETL     ROAD TRACTOR     RTR‐SA   RETL82262     2021   PTRBL   1XPBAP8X7MD758334   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82263     2021   PTRBL   1XPBAP8X9MD758335   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82264     2021   PTRBL   1XPBAP8X0MD758336   579       WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82265     2021   PTRBL   1XPBAP8X2MD758337   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82266     2021   PTRBL   1XPBAP8X4MD758338   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82267     2021   PTRBL   1XPBAP8X6MD758339   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82268     2021   PTRBL   1XPBAP8X2MD758340   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82269     2021   PTRBL   1XPBAP8X4MD758341   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82270     2021   PTRBL   1XPBAP8X6MD758342   579       CA      Willows
 RETL     ROAD TRACTOR     RTR‐SA   RETL82271     2021   PTRBL   1XPBAP8X8MD758343   579       CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL82275     2021   PTRBL   1XPBAP8X5MD758347   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82277     2021   PTRBL   1XPBAP8X9MD758349   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82278     2021   PTRBL   1XPBAP8X5MD758350   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82279     2021   PTRBL   1XPBAP8X7MD758351   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82280     2021   PTRBL   1XPBAP8X9MD758352   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82281     2021   PTRBL   1XPBAP8X0MD758353   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82282     2021   PTRBL   1XPBAP8X2MD758354   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82283     2021   PTRBL   1XPBAP8X4MD758355   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82284     2021   PTRBL   1XPBAP8X6MD758356   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82285     2021   PTRBL   1XPBAP8X8MD758357   579       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82286     2022   PTRBL   1XPBAP8X8ND758358   579       CA      Santa Clara
 RETL     ROAD TRACTOR     RTR‐SA   RETL82287     2022   PTRBL   1XPBAP8XXND758359   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82288     2022   PTRBL   1XPBAP8X6ND758360   579       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82289     2022   PTRBL   1XPBAP8X8ND758361   579       CA      Tracy
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 350 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82290     2022   PTRBL   1XPBAP8XXND758362   579       CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82291     2022   PTRBL   1XPBAP8X1ND758363   579       CA      Santa Clara
 RETL     ROAD TRACTOR     RTR‐SA   RETL82292     2022   PTRBL   1XPBAP8X3ND758364   579       CA      Gardena
 RETL     ROAD TRACTOR     RTR‐SA   RETL82293     2022   PTRBL   1XPBAP8X5ND758365   579       CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82294     2022   PTRBL   1XPBAP8X7ND758366   579       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82295     2022   PTRBL   1XPBAP8X9ND758367   579       AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82296     2022   PTRBL   1XPBAP8X0ND758368   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82297     2022   PTRBL   1XPBAP8X2ND758369   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82298     2022   PTRBL   1XPBAP8X9ND758370   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82299     2022   PTRBL   1XPBAP8X0ND758371   579       WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82300     2022   PTRBL   1XPBAP8X2ND758372   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82301     2022   PTRBL   1XPBAP8X4ND758373   579       CA      Fresno
 RETL     ROAD TRACTOR     RTR‐SA   RETL82302     2022   PTRBL   1XPBAP8X6ND758374   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82303     2022   PTRBL   1XPBAP8X8ND758375   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82304     2022   PTRBL   1XPBAP8XXND758376   579       CA      Ventura
 RETL     ROAD TRACTOR     RTR‐SA   RETL82305     2022   PTRBL   1XPBAP8X1ND758377   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82306     2022   PTRBL   1XPBAP8X3ND758378   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82307     2022   PTRBL   1XPBAP8X5ND758379   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82308     2022   PTRBL   1XPBAP8X1ND758380   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82309     2022   PTRBL   1XPBAP8X3ND758381   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82310     2022   PTRBL   1XPBAP8X5ND758382   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82311     2022   PTRBL   1XPBAP8X7ND758383   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82313     2022   PTRBL   1XPBAP8X0ND758385   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82314     2022   PTRBL   1XPBAP8X2ND758386   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82315     2022   PTRBL   1XPBAP8X4ND758387   579       OR      Eugene
 RETL     ROAD TRACTOR     RTR‐SA   RETL82316     2022   PTRBL   1XPBAP8X6ND758388   579       CA      Fresno
 RETL     ROAD TRACTOR     RTR‐SA   RETL82317     2022   PTRBL   1XPBAP8X8ND758389   579       CA      Fresno
 RETL     ROAD TRACTOR     RTR‐SA   RETL82318     2022   PTRBL   1XPBAP8X4ND758390   579       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82320     2022   PTRBL   1XPBAP8X8ND758392   579       WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82321     2022   PTRBL   1XPBAP8XXND758393   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82322     2022   PTRBL   1XPBAP8X1ND758394   579       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82323     2022   PTRBL   1XPBAP8X3ND758395   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82324     2022   PTRBL   1XPBAP8X5ND758396   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82325     2022   PTRBL   1XPBAP8X7ND758397   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82326     2022   PTRBL   1XPBAP8X9ND758398   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82327     2022   PTRBL   1XPBAP8X0ND758399   579       CA      Willows
 RETL     ROAD TRACTOR     RTR‐SA   RETL82328     2022   PTRBL   1XPBAP8X3ND758400   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82329     2022   PTRBL   1XPBAP8X5ND758401   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82330     2022   PTRBL   1XPBAP8X7ND758402   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82331     2022   PTRBL   1XPBAP8X9ND758403   579       CA      Bakersfield
 RETL     ROAD TRACTOR     RTR‐SA   RETL82332     2022   PTRBL   1XPBAP8X0ND758404   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82333     2022   PTRBL   1XPBAP8X2ND758405   579       CA      Visalia
 RETL     ROAD TRACTOR     RTR‐SA   RETL82334     2022   PTRBL   1XPBAP8X4ND758406   579       CA      Gardena
 RETL     ROAD TRACTOR     RTR‐SA   RETL82338     2022   PTRBL   1XPBAP8X6ND758410   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82339     2022   PTRBL   1XPBAP8X8ND758411   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82340     2022   PTRBL   1XPBAP8XXND758412   579       CO      Clifton
 RETL     ROAD TRACTOR     RTR‐SA   RETL82341     2022   PTRBL   1XPBAP8X1ND758413   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82342     2022   PTRBL   1XPBAP8X3ND758414   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82343     2022   PTRBL   1XPBAP8X5ND758415   579       CA      Los Angeles
 RETL     ROAD TRACTOR     RTR‐SA   RETL82344     2022   PTRBL   1XPBAP8X7ND758416   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82345     2022   PTRBL   1XPBAP8X9ND758417   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82346     2022   PTRBL   1XPBAP8X0ND758418   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82347     2022   PTRBL   1XPBAP8X2ND758419   579       CA      Fresno
 RETL     ROAD TRACTOR     RTR‐SA   RETL82348     2022   PTRBL   1XPBAP8X9ND758420   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82349     2022   PTRBL   1XPBAP8X0ND758421   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82350     2022   PTRBL   1XPBAP8X2ND758422   579       AZ      Lake Havasu City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82351     2022   PTRBL   1XPBAP8X4ND758423   579       CO      Grand Junction
 RETL     ROAD TRACTOR     RTR‐SA   RETL82352     2022   PTRBL   1XPBAP8X6ND758424   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82353     2022   PTRBL   1XPBAP8X8ND758425   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82354     2022   PTRBL   1XPBAP8XXND758426   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82355     2022   PTRBL   1XPBAP8X1ND758427   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82356     2022   PTRBL   1XPBAP8X3ND758428   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82357     2022   PTRBL   1XPBAP8X5ND758429   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82358     2022   PTRBL   1XPBAP8X1ND758430   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82359     2022   PTRBL   1XPBAP8X3ND758431   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82360     2022   PTRBL   1XPBAP8X5ND758432   579       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82361     2022   PTRBL   1XPBAP8X7ND758433   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82362     2022   PTRBL   1XPBAP8X9ND758434   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82363     2022   PTRBL   1XPBAP8X0ND758435   579       NV      Las Vegas
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 351 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82364     2022   PTRBL   1XPBAP8X2ND758436   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82365     2022   PTRBL   1XPBAP8X4ND758437   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82367     2022   PTRBL   1XPBAP8X8ND758439   579       MT      Missoula
 RETL     ROAD TRACTOR     RTR‐SA   RETL82368     2022   PTRBL   1XPBAP8X4ND758440   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82369     2022   PTRBL   1XPBAP8X6ND758441   579       CA      Santa Clara
 RETL     ROAD TRACTOR     RTR‐SA   RETL82370     2022   PTRBL   1XPBAP8X8ND758442   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82372     2022   PTRBL   1XPBAP8X1ND758444   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82374     2022   PTRBL   1XPBAP8X5ND758446   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82375     2022   PTRBL   1XPBAP8X7ND758447   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82376     2022   PTRBL   1XPBAP8X9ND758448   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82377     2022   PTRBL   1XPBAP8X0ND758449   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82378     2022   PTRBL   1XPBAP8X7ND758450   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82379     2022   PTRBL   1XPBAP8X9ND758451   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82380     2022   PTRBL   1XPBAP8X0ND758452   579       CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL82381     2022   PTRBL   1XPBAP8X2ND758453   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82383     2022   PTRBL   1XPBAP8X6ND758455   579       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82384     2022   PTRBL   1XPBAP8X8ND758456   579       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82385     2022   PTRBL   1XPBAP8XXND758457   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82386     2022   PTRBL   1XPBAP8X1ND758458   579       CA      Brisbane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82387     2022   PTRBL   1XPBAP8X3ND758459   579       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82388     2022   PTRBL   1XPBAP8XXND758460   579       CA      Orange
 RETL     ROAD TRACTOR     RTR‐SA   RETL82389     2022   PTRBL   1XPBAP8X1ND758461   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82390     2022   PTRBL   1XPBAP8X3ND758462   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82391     2022   PTRBL   1XPBAP8X5ND758463   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82392     2022   PTRBL   1XPBAP8X7ND758464   579       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82393     2022   PTRBL   1XPBAP8X9ND758465   579       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82394     2022   PTRBL   1XPBAP8X0ND758466   579       CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82395     2022   PTRBL   1XPBAP8X2ND758467   579       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82396     2022   PTRBL   1XPBAP8X4ND758468   579       AZ      Lake Havasu City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82397     2022   PTRBL   1XPBAP8X6ND758469   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82398     2022   PTRBL   1XPBAP8X2ND758470   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82400     2022   PTRBL   1XPBAP8X6ND758472   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82401     2022   PTRBL   1XPBAP8X8ND758473   579       CA      Fresno
 RETL     ROAD TRACTOR     RTR‐SA   RETL82402     2022   PTRBL   1XPBAP8XXND758474   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82403     2022   PTRBL   1XPBAP8X1ND758475   579       CA      Santa Clara
 RETL     ROAD TRACTOR     RTR‐SA   RETL82404     2022   PTRBL   1XPBAP8X3ND758476   579       CA      Eureka
 RETL     ROAD TRACTOR     RTR‐SA   RETL82405     2022   PTRBL   1XPBAP8X5ND758477   579       CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82406     2022   PTRBL   1XPBAP8X7ND758478   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82408     2022   PTRBL   1XPBAP8X5ND758480   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82409     2022   PTRBL   1XPBAP8X7ND758481   579       ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82410     2022   PTRBL   1XPBAP8X9ND758482   579       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82411     2022   PTRBL   1XPBAP8X0ND758483   579       CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82412     2022   PTRBL   1XPBAP8X2ND758484   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82413     2022   PTRBL   1XPBAP8X4ND758485   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82414     2022   PTRBL   1XPBAP8X6ND758486   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82415     2022   PTRBL   1XPBAP8X8ND758487   579       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82416     2022   PTRBL   1XPBAP8XXND758488   579       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82417     2022   PTRBL   1XPBAP8X1ND758489   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82418     2022   PTRBL   1XPBAP8X8ND758490   579       CA      Pomona
 RETL     ROAD TRACTOR     RTR‐SA   RETL82419     2022   PTRBL   1XPBAP8XXND758491   579       CA      Anderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82420     2022   PTRBL   1XPBAP8X1ND758492   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82421     2022   PTRBL   1XPBAP8X3ND758493   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82422     2022   PTRBL   1XPBAP8X5ND758494   579       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82423     2022   PTRBL   1XPBAP8X7ND758495   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82424     2022   PTRBL   1XPBAP8X9ND758496   579       CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL82425     2022   PTRBL   1XPBAP8X0ND758497   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82426     2022   PTRBL   1XPBAP8X2ND758498   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82427     2022   PTRBL   1XPBAP8X4ND758499   579       CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82428     2022   PTRBL   1XPBAP8X7ND758500   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82429     2022   PTRBL   1XPBAP8X9ND758501   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82430     2022   PTRBL   1XPBAP8X0ND758502   579       ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82431     2022   PTRBL   1XPBAP8X2ND758503   579       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82434     2022   PTRBL   1XPBAP8X8ND758506   579       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82435     2022   PTRBL   1XPBAP8XXND758507   579       CA      Brisbane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82436     2022   PTRBL   1XPBAP8X1ND758508   579       CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82437     2022   PTRBL   1XPBAP8X3ND758509   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82438     2022   PTRBL   1XPBAP8XXND758510   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82439     2022   PTRBL   1XPBAP8X1ND758511   579       NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82440     2021   VOLVO   4V4W19EH1MN286173   VNR42     NV      Sparks
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 352 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82441     2021   VOLVO   4V4W19EH3MN286174   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82442     2021   VOLVO   4V4W19EH5MN286175   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82443     2021   VOLVO   4V4W19EH7MN286176   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82444     2021   VOLVO   4V4W19EH9MN286177   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82445     2021   VOLVO   4V4W19EH0MN286178   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82446     2021   VOLVO   4V4W19EH2MN286179   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82447     2021   VOLVO   4V4W19EH9MN286180   VNR42     UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82448     2021   VOLVO   4V4W19EH0MN286181   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82449     2021   VOLVO   4V4W19EH2MN286182   VNR42     CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82451     2021   VOLVO   4V4W19EH6MN286184   VNR42     OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82452     2021   VOLVO   4V4W19EH8MN286185   VNR42     CA      Thousand Palms
 RETL     ROAD TRACTOR     RTR‐SA   RETL82453     2021   VOLVO   4V4W19EHXMN286186   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82454     2021   VOLVO   4V4W19EH1MN286187   VNR42     ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82455     2022   VOLVO   4V4W19EH1NN286188   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82456     2022   VOLVO   4V4W19EH3NN286189   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82457     2022   VOLVO   4V4W19EHXNN286190   VNR42     ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82458     2022   VOLVO   4V4W19EH1NN286191   VNR42     UT      Beaver
 RETL     ROAD TRACTOR     RTR‐SA   RETL82463     2022   VOLVO   4V4W19EH0NN286196   VNR42     UT      St. George
 RETL     ROAD TRACTOR     RTR‐SA   RETL82465     2022   VOLVO   4V4W19EH4NN286198   VNR42     UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82466     2022   VOLVO   4V4W19EH6NN286199   VNR42     ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82467     2022   VOLVO   4V4W19EH9NN286200   VNR42     UT      Beaver
 RETL     ROAD TRACTOR     RTR‐SA   RETL82468     2022   VOLVO   4V4W19EH0NN286201   VNR42     UT      Beaver
 RETL     ROAD TRACTOR     RTR‐SA   RETL82469     2022   VOLVO   4V4W19EH2NN286202   VNR42     CA      Bakersfield
 RETL     ROAD TRACTOR     RTR‐SA   RETL82470     2022   VOLVO   4V4W19EH4NN286203   VNR42     CA      Bakersfield
 RETL     ROAD TRACTOR     RTR‐SA   RETL82471     2022   VOLVO   4V4W19EH6NN286204   VNR42     WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82472     2022   VOLVO   4V4W19EH8NN286205   VNR42     WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82473     2022   VOLVO   4V4W19EHXNN286206   VNR42     OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82474     2022   VOLVO   4V4W19EH1NN286207   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82475     2022   VOLVO   4V4W19EH3NN286208   VNR42     CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82476     2022   VOLVO   4V4W19EH5NN286209   VNR42     OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82477     2022   VOLVO   4V4W19EH1NN286210   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82478     2022   VOLVO   4V4W19EH3NN286211   VNR42     CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82479     2022   VOLVO   4V4W19EH5NN286212   VNR42     CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82480     2022   VOLVO   4V4W19EH7NN286213   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82481     2022   VOLVO   4V4W19EH9NN286214   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82482     2022   VOLVO   4V4W19EH0NN286215   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82483     2022   VOLVO   4V4W19EH2NN286216   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82484     2022   VOLVO   4V4W19EH4NN286217   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82485     2022   VOLVO   4V4W19EH6NN286218   VNR42     CA      Willows
 RETL     ROAD TRACTOR     RTR‐SA   RETL82486     2022   VOLVO   4V4W19EH8NN286219   VNR42     WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82487     2022   VOLVO   4V4W19EH4NN286220   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82488     2022   VOLVO   4V4W19EH6NN286221   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82489     2022   VOLVO   4V4W19EH8NN286222   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82490     2022   VOLVO   4V4W19EHXNN286223   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82491     2022   VOLVO   4V4W19EH1NN286224   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82492     2022   VOLVO   4V4W19EH3NN286225   VNR42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82493     2022   VOLVO   4V4W19EH5NN286226   VNR42     WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82494     2022   VOLVO   4V4W19EH7NN286227   VNR42     NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82495     2022   VOLVO   4V4W19EH9NN286228   VNR42     CA      Pico Rivera
 RETL     ROAD TRACTOR     RTR‐SA   RETL82497     2022   VOLVO   4V4W19EH7NN286230   VNR42     OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82498     2022   VOLVO   4V4W19EH9NN286231   VNR42     WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82499     2022   VOLVO   4V4W19EH0NN286232   VNR42     WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82500     2022   VOLVO   4V4W19EH2NN286233   VNR42     WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82501     2022   VOLVO   4V4W19EH4NN286234   VNR42     MT      Missoula
 RETL     ROAD TRACTOR     RTR‐SA   RETL82502     2022   VOLVO   4V4W19EH6NN286235   VNR42     OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82506     2022   VOLVO   4V4W19EH3NN286239   VNR42     WA      Everett
 RETL     ROAD TRACTOR     RTR‐SA   RETL82507     2022   VOLVO   4V4W19EHXNN286240   VNR42     OR      Redmond
 RETL     ROAD TRACTOR     RTR‐SA   RETL82508     2022   VOLVO   4V4W19EH1NN286241   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82509     2022   VOLVO   4V4W19EH3NN286242   VNR42     OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82510     2022   VOLVO   4V4W19EH5NN286243   VNR42     OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82511     2022   VOLVO   4V4W19EH7NN286244   VNR42     OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82512     2022   VOLVO   4V4W19EH9NN286245   VNR42     OR      Eugene
 RETL     ROAD TRACTOR     RTR‐SA   RETL82513     2022   VOLVO   4V4W19EH0NN286246   VNR42     OR      Roseburg
 RETL     ROAD TRACTOR     RTR‐SA   RETL82514     2022   VOLVO   4V4W19EH2NN286247   VNR42     WA      Everett
 RETL     ROAD TRACTOR     RTR‐SA   RETL82515     2022   VOLVO   4V4W19EH4NN286248   VNR42     WA      Seattle
 RETL     ROAD TRACTOR     RTR‐SA   RETL82516     2022   VOLVO   4V4W19EH6NN286249   VNR42     WA      Everett
 RETL     ROAD TRACTOR     RTR‐SA   RETL82517     2022   VOLVO   4V4W19EH2NN286250   VNR42     CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82518     2022   VOLVO   4V4W19EH4NN286251   VNR42     AZ      Tucson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82520     2022   VOLVO   4V4W19EH8NN286253   VNR42     CA      Pomona
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 353 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82521     2022   VOLVO   4V4W19EHXNN286254   VNR42     OR      Redmond
 RETL     ROAD TRACTOR     RTR‐SA   RETL82523     2022   VOLVO   4V4W19EH3NN286256   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82524     2022   VOLVO   4V4W19EH5NN286257   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82526     2022   VOLVO   4V4W19EH9NN286259   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82527     2022   VOLVO   4V4W19EH5NN286260   VNR42     CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82528     2022   VOLVO   4V4W19EH7NN286261   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL82529     2022   VOLVO   4V4W19EH9NN286262   VNR42     AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82530     2022   VOLVO   4V4W19EH0NN286263   VNR42     AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82531     2022   VOLVO   4V4W19EH2NN286264   VNR42     AZ      Tucson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82532     2022   VOLVO   4V4W19EH4NN286265   VNR42     OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82533     2022   VOLVO   4V4W19EH6NN286266   VNR42     OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82534     2022   VOLVO   4V4W19EH8NN286267   VNR42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐SA   RETL82535     2022   VOLVO   4V4W19EHXNN286268   VNR42     OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82537     2022   VOLVO   4V4W19EH8NN286270   VNR42     OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82760     2022   VOLVO   4V4W19EHXNN286271   VNR       AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82761     2022   VOLVO   4V4W19EH1NN286272   VNR       UT      Beaver
 RETL     ROAD TRACTOR     RTR‐SA   RETL82762     2022   VOLVO   4V4W19EH3NN286273   VNR       AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82763     2022   VOLVO   4V4W19EH5NN286274   VNR       AZ      Lake Havasu City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82764     2022   VOLVO   4V4W19EH7NN286275   VNR       AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82765     2022   VOLVO   4V4W19EH9NN286276   VNR       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82766     2022   VOLVO   4V4W19EH0NN286277   VNR       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82767     2022   VOLVO   4V4W19EH2NN286278   VNR       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82768     2022   VOLVO   4V4W19EH4NN286279   VNR       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82769     2022   VOLVO   4V4W19EH0NN286280   VNR       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82770     2022   VOLVO   4V4W19EH2NN286281   VNR       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82771     2022   VOLVO   4V4W19EH4NN286282   VNR       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82772     2022   VOLVO   4V4W19EH6NN286283   VNR       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82773     2022   VOLVO   4V4W19EH8NN286284   VNR       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82774     2022   VOLVO   4V4W19EHXNN286285   VNR       CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82775     2022   VOLVO   4V4W19EH1NN286286   VNR       NV      Las Vegas
 RETL     ROAD TRACTOR     RTR‐SA   RETL82776     2022   VOLVO   4V4W19EH3NN286287   VNR       CA      Bakersfield
 RETL     ROAD TRACTOR     RTR‐SA   RETL82777     2022   VOLVO   4V4W19EH5NN286288   VNR       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82778     2022   VOLVO   4V4W19EH7NN286289   VNR       CA      Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82779     2022   VOLVO   4V4W19EH3NN286290   VNR       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82780     2022   VOLVO   4V4W19EH5NN286291   VNR       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82781     2022   VOLVO   4V4W19EH7NN286292   VNR       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82782     2022   VOLVO   4V4W19EH9NN286293   VNR       WA      Everett
 RETL     ROAD TRACTOR     RTR‐SA   RETL82783     2022   VOLVO   4V4W19EH0NN286294   VNR       MT      Missoula
 RETL     ROAD TRACTOR     RTR‐SA   RETL82784     2022   VOLVO   4V4W19EH2NN286295   VNR       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82785     2022   VOLVO   4V4W19EH4NN286296   VNR       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82786     2022   VOLVO   4V4W19EH6NN286297   VNR       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82787     2022   VOLVO   4V4W19EH8NN286298   VNR       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82788     2022   VOLVO   4V4W19EHXNN286299   VNR       OR      Eugene
 RETL     ROAD TRACTOR     RTR‐SA   RETL82790     2022   VOLVO   4V4W19EHXNN285802   VNR       CO      Henderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL82791     2022   VOLVO   4V4W19EH1NN285803   VNR       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82792     2022   VOLVO   4V4W19EH3NN285804   VNR       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82793     2022   VOLVO   4V4W19EH5NN285805   VNR       UT      Beaver
 RETL     ROAD TRACTOR     RTR‐SA   RETL82794     2022   VOLVO   4V4W19EH7NN285806   VNR       WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82795     2022   VOLVO   4V4W19EH9NN285807   VNR       UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82797     2022   VOLVO   4V4W19EH2NN285809   VNR       MT      Missoula
 RETL     ROAD TRACTOR     RTR‐SA   RETL82798     2022   VOLVO   4V4W19EH9NN285810   VNR       MT      Missoula
 RETL     ROAD TRACTOR     RTR‐SA   RETL82799     2022   VOLVO   4V4W19EH0NN285811   VNR       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82800     2022   VOLVO   4V4W19EH2NN285812   VNR       AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82801     2022   VOLVO   4V4W19EH4NN285813   VNR       AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐SA   RETL82802     2022   VOLVO   4V4W19EH6NN285814   VNR       MT      Billings
 RETL     ROAD TRACTOR     RTR‐SA   RETL82803     2022   VOLVO   4V4W19EH8NN285815   VNR       ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82804     2022   VOLVO   4V4W19EHXNN285816   VNR       ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82805     2022   VOLVO   4V4W19EH1NN285817   VNR       CA      Gardena
 RETL     ROAD TRACTOR     RTR‐SA   RETL82806     2022   VOLVO   4V4W19EH3NN285818   VNR       CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL82807     2022   VOLVO   4V4W19EH5NN285819   VNR       CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL82808     2022   VOLVO   4V4W19EH1NN285820   VNR       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82809     2022   VOLVO   4V4W19EH3NN285821   VNR       CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL82810     2022   VOLVO   4V4W19EH5NN285822   VNR       ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐SA   RETL82811     2022   VOLVO   4V4W19EH7NN285823   VNR       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL82812     2022   VOLVO   4V4W19EH9NN285824   VNR       CA      Santa Maria
 RETL     ROAD TRACTOR     RTR‐SA   RETL82813     2022   VOLVO   4V4W19EH0NN285825   VNR       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82814     2022   VOLVO   4V4W19EH2NN285826   VNR       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82815     2022   VOLVO   4V4W19EH4NN285827   VNR       CA      West Sacramento
 RETL     ROAD TRACTOR     RTR‐SA   RETL82816     2022   VOLVO   4V4W19EH6NN285828   VNR       CA      Anderson
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 354 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     ROAD TRACTOR     RTR‐SA   RETL82817     2022   VOLVO   4V4W19EH8NN285829   VNR       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82818     2022   VOLVO   4V4W19EH4NN285830   VNR       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82819     2022   VOLVO   4V4W19EH6NN285831   VNR       OR      Central Point
 RETL     ROAD TRACTOR     RTR‐SA   RETL82821     2022   VOLVO   4V4W19EHXNN285833   VNR       CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL82822     2022   VOLVO   4V4W19EH1NN285834   VNR       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82823     2022   VOLVO   4V4W19EH3NN285835   VNR       CA      Ventura
 RETL     ROAD TRACTOR     RTR‐SA   RETL82824     2022   VOLVO   4V4W19EH5NN285836   VNR       WA      East Wenatchee
 RETL     ROAD TRACTOR     RTR‐SA   RETL82825     2022   VOLVO   4V4W19EH7NN285837   VNR       CA      Tracy
 RETL     ROAD TRACTOR     RTR‐SA   RETL82826     2022   VOLVO   4V4W19EH9NN285838   VNR       CA      Santa Rosa
 RETL     ROAD TRACTOR     RTR‐SA   RETL82827     2022   VOLVO   4V4W19EH0NN285839   VNR       CA      Hayward
 RETL     ROAD TRACTOR     RTR‐SA   RETL82828     2022   VOLVO   4V4W19EH7NN285840   VNR       CA      Los Angeles
 RETL     ROAD TRACTOR     RTR‐SA   RETL82829     2022   VOLVO   4V4W19EH9NN285841   VNR       WA      Tacoma
 RETL     ROAD TRACTOR     RTR‐SA   RETL82830     2022   VOLVO   4V4W19EH0NN285842   VNR       WA      Seattle
 RETL     ROAD TRACTOR     RTR‐SA   RETL82831     2022   VOLVO   4V4W19EH2NN285843   VNR       WA      Pasco
 RETL     ROAD TRACTOR     RTR‐SA   RETL82832     2022   VOLVO   4V4W19EH4NN285844   VNR       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL82833     2022   VOLVO   4V4W19EH6NN285845   VNR       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82834     2022   VOLVO   4V4W19EH8NN285846   VNR       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82835     2022   VOLVO   4V4W19EHXNN285847   VNR       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82836     2022   VOLVO   4V4W19EH1NN285848   VNR       OR      Portland
 RETL     ROAD TRACTOR     RTR‐SA   RETL82838     2022   VOLVO   4V4W19EHXNN285850   VNR       CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL82839     2022   VOLVO   4V4W19EH1NN285851   VNR       CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL8546      2005   NVSTR   3HSCPAPN85N049274   9400      AZ      Tucson
 RETL     ROAD TRACTOR     RTR‐SA   RETL9248      2014   VOLVO   4V4MC9EH3EN161436   VNM42     MT      Missoula
 RETL     ROAD TRACTOR     RTR‐SA   RETL9320      2017   PTRBL   1XPBD49X4HD441914   579       WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL9352      2022   VOLVO   4V4WC9EH7NN286092   VNR42     UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL9354      2022   VOLVO   4V4WC9EH0NN286094   VNR42     ID      Meridian
 RETL     ROAD TRACTOR     RTR‐SA   RETL9356      2022   VOLVO   4V4WC9EH4NN286096   VNR42     UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐SA   RETL9367      2022   VOLVO   4V4WC9EH5NN286107   VNR42     CA      Bloomington
 RETL     ROAD TRACTOR     RTR‐SA   RETL9369      2022   VOLVO   4V4WC9EH9NN286109   VNR42     CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL9370      2022   VOLVO   4V4WC9EH5NN286110   VNR42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL9372      2022   VOLVO   4V4WC9EH9NN286112   VNR42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL9373      2022   VOLVO   4V4WC9EH0NN286113   VNR42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL9374      2022   VOLVO   4V4WC9EH2NN286114   VNR42     CA      Los Angeles
 RETL     ROAD TRACTOR     RTR‐SA   RETL9375      2022   VOLVO   4V4WC9EH4NN286115   VNR42     CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL9376      2022   VOLVO   4V4WC9EH6NN286116   VNR42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL9377      2022   VOLVO   4V4WC9EH8NN286117   VNR42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL9378      2022   VOLVO   4V4WC9EHXNN286118   VNR42     CA      San Bernardino
 RETL     ROAD TRACTOR     RTR‐SA   RETL9379      2022   VOLVO   4V4WC9EH1NN286119   VNR42     CA      Fontana
 RETL     ROAD TRACTOR     RTR‐SA   RETL9380      2022   VOLVO   4V4WC9EH8NN286120   VNR42     CA      San Diego
 RETL     ROAD TRACTOR     RTR‐SA   RETL9381      2022   VOLVO   4V4WC9EHXNN286121   VNR42     CA      Pomona
 RETL     ROAD TRACTOR     RTR‐SA   RETL9382      2022   VOLVO   4V4WC9EH1NN286122   VNR42     CO      Henderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL9383      2022   VOLVO   4V4WC9EH3NN286123   VNR42     MT      Billings
 RETL     ROAD TRACTOR     RTR‐SA   RETL9384      2022   VOLVO   4V4WC9EH5NN286124   VNR42     CO      Clifton
 RETL     ROAD TRACTOR     RTR‐SA   RETL9385      2022   VOLVO   4V4WC9EH7NN286125   VNR42     MT      Billings
 RETL     ROAD TRACTOR     RTR‐SA   RETL9386      2022   VOLVO   4V4WC9EH9NN286126   VNR42     CO      Grand Junction
 RETL     ROAD TRACTOR     RTR‐SA   RETL9387      2022   VOLVO   4V4WC9EH0NN286127   VNR42     CO      Henderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL9388      2022   VOLVO   4V4WC9EH2NN286128   VNR42     CO      Henderson
 RETL     ROAD TRACTOR     RTR‐SA   RETL9389      2022   VOLVO   4V4WC9EH4NN286129   VNR42     MT      Missoula
 RETL     ROAD TRACTOR     RTR‐SA   RETL9390      2022   VOLVO   4V4WC9EH0NN286130   VNR42     WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL9391      2022   VOLVO   4V4WC9EH2NN286131   VNR42     ID      Pocatello
 RETL     ROAD TRACTOR     RTR‐SA   RETL9392      2022   VOLVO   4V4WC9EH4NN286132   VNR42     WA      Spokane
 RETL     ROAD TRACTOR     RTR‐SA   RETL9393      2022   VOLVO   4V4WC9EH6NN286133   VNR42     CA      Downey
 RETL     ROAD TRACTOR     RTR‐SA   RETL9394      2022   VOLVO   4V4WC9EH8NN286134   VNR42     OR      Central Point
 RETL     ROAD TRACTOR     RTR‐TA   RETL9172      2005   NVSTR   2HSCNAPRX5C047259   9400      MT      Billings
 RETL     ROAD TRACTOR     RTR‐TA   RETL9201      2006   NVSTR   2HSCNAPRX6C225639   9400      WA      Seattle
 RETL     ROAD TRACTOR     RTR‐TA   RETL9215      2006   NVSTR   2HSCNAPR46C225653   9400      UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐TA   RETL9227      2008   NVSTR   2HSCTAPR58C658729   PRO S     WA      Spokane
 RETL     ROAD TRACTOR     RTR‐TA   RETL9228      2008   NVSTR   2HSCTAPR18C658730   PRO S     WA      Spokane
 RETL     ROAD TRACTOR     RTR‐TA   RETL9230      2005   VOLVO   4V4MC9GF65N387756   VNM42     NV      Sparks
 RETL     ROAD TRACTOR     RTR‐TA   RETL9231      2005   VOLVO   4V4MC9GF45N383463   VNM42     WA      Seattle
 RETL     ROAD TRACTOR     RTR‐TA   RETL9234      2008   VOLVO   4V4MC9EH58N262000   VNM42     UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐TA   RETL9237      2008   VOLVO   4V4MC9EHX8N262008   VNM42     ID      Twin Falls
 RETL     ROAD TRACTOR     RTR‐TA   RETL9240      2012   VOLVO   4V4MC9EH5CN556604   VNM42     UT      Salt Lake City
 RETL     ROAD TRACTOR     RTR‐TA   RETL9243      2012   VOLVO   4V4MC9EH0CN556607   VNM42     WA      Union Gap
 RETL     ROAD TRACTOR     RTR‐TA   RETL9244      2012   VOLVO   4V4MC9EH2CN556608   VNM42     MT      Billings
 RETL     ROAD TRACTOR     RTR‐TA   RETL9245      2012   VOLVO   4V4MC9EH4CN556609   VNM42     WA      Spokane
 RETL     ROAD TRACTOR     RTR‐TA   RETL9246      2012   VOLVO   4V4MC9EH0CN556610   VNM42     AZ      Phoenix
 RETL     ROAD TRACTOR     RTR‐TA   RETL9251      2014   VOLVO   4V4MC9EH9EN161439   VNM42     CO      Grand Junction
 RETL     ROAD TRACTOR     RTR‐TA   RETL9253      2014   VOLVO   4V4MC9EH7EN161441   VNM42     MT      Billings
                    Case 23-11069-CTG                Doc 969-1          Filed 10/26/23        Page 355 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL     State            City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9254       2014   VOLVO   4V4MC9EH9EN161442   VNM42      MT               Missoula
 RETL     ROAD TRACTOR        RTR‐TA   RETL9259       2014   VOLVO   4V4MC9EH8EN161447   VNM42      NV               Sparks
 RETL     ROAD TRACTOR        RTR‐TA   RETL9261       2014   VOLVO   4V4MC9EH1EN161449   VNM42      British Columbia Burnaby
 RETL     ROAD TRACTOR        RTR‐TA   RETL9262       2014   VOLVO   4V4MC9EH8EN161450   VNM42      MT               Butte
 RETL     ROAD TRACTOR        RTR‐TA   RETL9263       2014   VOLVO   4V4MC9EHXEN161451   VNM42      MT               Billings
 RETL     ROAD TRACTOR        RTR‐TA   RETL9264       2014   VOLVO   4V4MC9EH1EN161452   VNM42      WA               Spokane
 RETL     ROAD TRACTOR        RTR‐TA   RETL9265       2014   VOLVO   4V4MC9EH3EN161453   VNM42      MT               Great Falls
 RETL     ROAD TRACTOR        RTR‐TA   RETL9266       2014   VOLVO   4V4MC9EH5EN161454   VNM42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9267       2014   VOLVO   4V4MC9EH7EN161455   VNM42      NV               Sparks
 RETL     ROAD TRACTOR        RTR‐TA   RETL9269       2014   VOLVO   4V4MC9EH0EN161457   VNM42      CO               Clifton
 RETL     ROAD TRACTOR        RTR‐TA   RETL9272       2014   VOLVO   4V4MC9EH0EN161460   VNM42      British Columbia Burnaby
 RETL     ROAD TRACTOR        RTR‐TA   RETL9275       2009   NVSTR   2HSCUAPRX9C091626   PRO S      NV               Sparks
 RETL     ROAD TRACTOR        RTR‐TA   RETL9281       2015   VOLVO   4V4MC9EH3FN918238   VNM42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9282       2015   VOLVO   4V4MC9EH5FN918239   VNM42      NV               Sparks
 RETL     ROAD TRACTOR        RTR‐TA   RETL9283       2015   VOLVO   4V4MC9EH1FN918240   VNM42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9287       2015   VOLVO   4V4MC9EH9FN918244   VNM42      CO               Clifton
 RETL     ROAD TRACTOR        RTR‐TA   RETL9289       2008   NVSTR   1HSHXAHR08J662505   TRANS      NV               Sparks
 RETL     ROAD TRACTOR        RTR‐TA   RETL9291       2008   NVSTR   1HSHXAHR18J668071   TRANS      OR               Portland
 RETL     ROAD TRACTOR        RTR‐TA   RETL9292       2008   NVSTR   1HSHXAHR28J662490   TRANS      WA               Union Gap
 RETL     ROAD TRACTOR        RTR‐TA   RETL9293       2008   NVSTR   1HSHXAHR48J668078   TRANS      WA               Tacoma
 RETL     ROAD TRACTOR        RTR‐TA   RETL9298       2008   NVSTR   1HSHXAHR98J668058   TRANS      OR               Portland
 RETL     ROAD TRACTOR        RTR‐TA   RETL9302       2009   NVSTR   1HSHXAHR99J133927   TRANS      OR               Portland
 RETL     ROAD TRACTOR        RTR‐TA   RETL9303       2009   NVSTR   1HSHXAHR09J133914   TRANS      OR               Portland
 RETL     ROAD TRACTOR        RTR‐TA   RETL9304       2009   NVSTR   1HSCUAPR59C091548   PRO S      WA               Pasco
 RETL     ROAD TRACTOR        RTR‐TA   RETL9305       2009   NVSTR   1HSCUAPR09C091604   PRO S      WA               Spokane
 RETL     ROAD TRACTOR        RTR‐TA   RETL9306       2016   NVSTR   3HSDJAPR4GN084664   PRO S      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9307       2016   NVSTR   3HSDJAPRXGN214611   PRO S      ID               Pocatello
 RETL     ROAD TRACTOR        RTR‐TA   RETL9308       2016   NVSTR   3HSDJAPR1GN214612   PRO S      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9311       2016   NVSTR   3HSDJAPR7GN214615   PRO S      CO               Clifton
 RETL     ROAD TRACTOR        RTR‐TA   RETL9313       2016   NVSTR   3HSDJAPR0GN214617   PRO S      MT               Missoula
 RETL     ROAD TRACTOR        RTR‐TA   RETL9314       2016   NVSTR   3HSDJAPR2GN214618   PRO S      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9316       2017   PTRBL   1XPBD49X4HD412428   579        CO               Henderson
 RETL     ROAD TRACTOR        RTR‐TA   RETL9317       2017   PTRBL   1XPBD49X9HD441911   579        CO               Clifton
 RETL     ROAD TRACTOR        RTR‐TA   RETL9319       2017   PTRBL   1XPBD49X2HD441913   579        CO               Henderson
 RETL     ROAD TRACTOR        RTR‐TA   RETL9321       2017   PTRBL   1XPBD49X4HD442030   579        MT               Billings
 RETL     ROAD TRACTOR        RTR‐TA   RETL9322       2017   PTRBL   1XPBD49X6HD442031   579        ID               Pocatello
 RETL     ROAD TRACTOR        RTR‐TA   RETL9323       2017   PTRBL   1XPBD49X8HD442032   579        UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9324       2017   PTRBL   1XPBD49XXHD442033   579        MT               Missoula
 RETL     ROAD TRACTOR        RTR‐TA   RETL9325       2017   PTRBL   1XPBD49X1HD442034   579        MT               Missoula
 RETL     ROAD TRACTOR        RTR‐TA   RETL9326       2018   PTRBL   1XPBD49X9JD490600   579        WA               Spokane
 RETL     ROAD TRACTOR        RTR‐TA   RETL9327       2018   PTRBL   1XPBD49X0JD490601   579        WA               Spokane
 RETL     ROAD TRACTOR        RTR‐TA   RETL9328       2018   PTRBL   1XPBD49X2JD490602   579        NV               Ely
 RETL     ROAD TRACTOR        RTR‐TA   RETL9329       2018   PTRBL   1XPBD49X4JD490603   579        NV               Carlin
 RETL     ROAD TRACTOR        RTR‐TA   RETL9330       2018   PTRBL   1XPBD49X6JD490604   579        NV               Las Vegas
 RETL     ROAD TRACTOR        RTR‐TA   RETL9335       2019   PTRBL   1XPBD49X3KD617830   579        CO               Henderson
 RETL     ROAD TRACTOR        RTR‐TA   RETL9346       2022   VOLVO   4V4WC9EH1NN286086   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9347       2022   VOLVO   4V4WC9EH3NN286087   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9348       2022   VOLVO   4V4WC9EH5NN286088   VNR42      WA               Spokane
 RETL     ROAD TRACTOR        RTR‐TA   RETL9349       2022   VOLVO   4V4WC9EH7NN286089   VNR42      WA               Spokane
 RETL     ROAD TRACTOR        RTR‐TA   RETL9350       2022   VOLVO   4V4WC9EH3NN286090   VNR42      MT               Missoula
 RETL     ROAD TRACTOR        RTR‐TA   RETL9351       2022   VOLVO   4V4WC9EH5NN286091   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9353       2022   VOLVO   4V4WC9EH9NN286093   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9355       2022   VOLVO   4V4WC9EH2NN286095   VNR42      UT               Beaver
 RETL     ROAD TRACTOR        RTR‐TA   RETL9357       2022   VOLVO   4V4WC9EH6NN286097   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9358       2022   VOLVO   4V4WC9EH8NN286098   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9359       2022   VOLVO   4V4WC9EHXNN286099   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9360       2022   VOLVO   4V4WC9EH2NN286100   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9361       2022   VOLVO   4V4WC9EH4NN286101   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9362       2022   VOLVO   4V4WC9EH6NN286102   VNR42      ID               Twin Falls
 RETL     ROAD TRACTOR        RTR‐TA   RETL9363       2022   VOLVO   4V4WC9EH8NN286103   VNR42      ID               Twin Falls
 RETL     ROAD TRACTOR        RTR‐TA   RETL9364       2022   VOLVO   4V4WC9EHXNN286104   VNR42      UT               Salt Lake City
 RETL     ROAD TRACTOR        RTR‐TA   RETL9365       2022   VOLVO   4V4WC9EH1NN286105   VNR42      CO               Clifton
 RETL     ROAD TRACTOR        RTR‐TA   RETL9366       2022   VOLVO   4V4WC9EH3NN286106   VNR42      CA               Gardena
 RETL     ROAD TRACTOR        RTR‐TA   RETL9368       2022   VOLVO   4V4WC9EH7NN286108   VNR42      CA               Bloomington
 RETL     ROAD TRACTOR        RTR‐TA   RETL9371       2022   VOLVO   4V4WC9EH7NN286111   VNR42      CA               Bloomington
 RETL     SERVICE EQUIPMENT   STG      RETL126302     2004   GRTDN   1GRAA56184K257437   VARIOUS    WA               Everett
 RETL     SERVICE EQUIPMENT   STG      RETL199        1973   LFKTR   40248               TFV24104   ID               Meridian
 RETL     SERVICE EQUIPMENT   STG      RETL266042     1978   TRLMB   T91338              VARIOUS    AZ               Lake Havasu City
 RETL     SERVICE EQUIPMENT   STG      RETL266057     1978   TRLMB   T91353              VARIOUS    AZ               Tucson
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 356 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     SERVICE EQUIPMENT   STG     RETL266354     1981   TRLMB   1PT071AE3B9001055   VARIOUS   NV      Sparks
 RETL     SERVICE EQUIPMENT   STG     RETL27157      1971   COMET   5718311             DRY V     CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL27210      1970   UTLTY   7L02869001          DRY V     OR      Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL27256      1978   TRLMB   T92868              DRY V     OH      Akron
 RETL     SERVICE EQUIPMENT   STG     RETL280054     1987   FRUHF   1H2V02816HC002416   VARIOUS   NV      Las Vegas
 RETL     SERVICE EQUIPMENT   STG     RETL280189     2003   GRTDN   1GRAA56163K247794   DRY V     AZ      Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL280395     2000   STRCK   1S11E8282YE464441   DRY V     AZ      Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL280410     2003   GRTDN   1GRAA561X3K254473   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL280890     1989   STRCK   1PT08DAE8G9004264   28FT      OH      Akron
 RETL     SERVICE EQUIPMENT   STG     RETL281006     1990   STRCK   1S11E8287LG322891   28FT      WA      Spokane
 RETL     SERVICE EQUIPMENT   STG     RETL281048     1990   STRCK   1S11E8288LG328411   28FT      MT      Missoula
 RETL     SERVICE EQUIPMENT   STG     RETL281095     1991   STRCK   1S11E8284MG333641   DRY V     WA      Union Gap
 RETL     SERVICE EQUIPMENT   STG     RETL281179     1991   COMET   1C0V28019MS038197   DRY V     OR      Eugene
 RETL     SERVICE EQUIPMENT   STG     RETL281324     1993   STRCK   1C0V28010PS039453   DRY V     MT      Missoula
 RETL     SERVICE EQUIPMENT   STG     RETL281337     1993   COMET   1C0V28019PS039466   DRY V     CA      San Diego
 RETL     SERVICE EQUIPMENT   STG     RETL281345     1993   COMET   1C0V28018PS039474   DRY V     CA      Bloomington
 RETL     SERVICE EQUIPMENT   STG     RETL281352     1993   COMET   1C0V28015PS039481   DRY V     CA      Anderson
 RETL     SERVICE EQUIPMENT   STG     RETL281355     1993   COMET   1C0V28010PS039484   DRY V     MT      Missoula
 RETL     SERVICE EQUIPMENT   STG     RETL281388     1993   COMET   1C0V28011PS039803   DRY V     OR      Redmond
 RETL     SERVICE EQUIPMENT   STG     RETL281721     1989   TRLMB   1PT07AAE0K9010747   DRY/V     CA      Downey
 RETL     SERVICE EQUIPMENT   STG     RETL282403     1994   ALLOY   1ALSD6187RS940915   DRY V     OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL282404     1994   ALLOY   1ALSD6189RS940916   DRY V     CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL282531     1995   ALLOY   1ALSD6180SS951373   DRY V     OR      Eugene
 RETL     SERVICE EQUIPMENT   STG     RETL282572     1995   ALLOY   1ALSD618XSS951414   DRY V     OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL283018     1998   STRCK   1S11E8282WE434370   DRY V     CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL283028     1998   STRCK   1S11E8285WE434380   DRY V     CA      Santa Clara
 RETL     SERVICE EQUIPMENT   STG     RETL283035     1998   STRCK   1S11E8288WE434387   DRY V     NV      Sparks
 RETL     SERVICE EQUIPMENT   STG     RETL283039     1998   STRCK   1S11E828XWE434391   DRY V     AZ      Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL283054     1998   STRCK   1S11E8288WE434406   DRY V     CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL283090     1998   STRCK   1S11E8281WE434442   DRY V     CA      Santa Clara
 RETL     SERVICE EQUIPMENT   STG     RETL28312      1984   FRUHF   1H4V0281XEJ006127   DRY V     CA      San Diego
 RETL     SERVICE EQUIPMENT   STG     RETL283308     1999   STRCK   1S11E8289XE447988   DRY V     CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL283323     1999   STRCK   1S11E828XXE448003   DRY V     CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL283410     1999   STRCK   1S11E8289XE448090   DRY V     CA      Santa Rosa
 RETL     SERVICE EQUIPMENT   STG     RETL283473     2003   GRTDN   1GRAA56123K254547   DRY V     OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL283499     2000   STRCK   1S11E8289YE460855   DRY V     OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL283507     2000   STRCK   1S11E8288YE460863   DRY V     UT      Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL283559     2000   STRCK   1S11E8281YE460915   DRY V     OR      Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL283583     2000   STRCK   1S11E8284YE460939   DRY V     UT      Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL28365      1985   ALLOY   1ALSP6186FS085031   DRY V     OH      Akron
 RETL     SERVICE EQUIPMENT   STG     RETL283660     2000   STRCK   1S11E8285YE461016   DRY V     ID      Pocatello
 RETL     SERVICE EQUIPMENT   STG     RETL283666     2000   STRCK   1S11E8280YE461022   DRY V     CA      Santa Clara
 RETL     SERVICE EQUIPMENT   STG     RETL283704     2000   STRCK   1S11E8288YE461060   DRY V     CA      Santa Rosa
 RETL     SERVICE EQUIPMENT   STG     RETL283756     2000   STRCK   1S11E8281YE461112   DRY V     CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL283766     2000   STRCK   1S11E8284YE461122   DRY V     CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL283899     2003   GRTDN   1GRAA56163K255636   DRY V     OR      Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL283948     2003   GRTDN   1GRAA56183K255685   DRY V     CA      Santa Clara
 RETL     SERVICE EQUIPMENT   STG     RETL283969     2003   GRTDN   1GRAA56113K255706   DRY V     CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL284023     2003   GRTDN   1GRAA56173K255760   DRY V     OR      Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL28460      1985   FRUHF   1H2V02810FC005132   DRY V     MT      Billings
 RETL     SERVICE EQUIPMENT   STG     RETL284685     2003   GRTDN   1GRAA56163K254342   DRY V     CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL284876     2004   GRTDN   1GRAA561X4K255463   DRY V     CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL285379     1995   STRCK   1S11E8282SG401965   28FT      WA      Spokane
 RETL     SERVICE EQUIPMENT   STG     RETL285526     1997   STRCK   1S11E8283VG414373   28FT      OR      Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL28565      1985   FRUHF   1H5V02815FM054338   DRY V     OR      La Grande
 RETL     SERVICE EQUIPMENT   STG     RETL28693      1979   PIKEX   79V015              DRY V     CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL287076     2005   GRTDN   1GRAA56175K273212   DRY V     WA      Tacoma
 RETL     SERVICE EQUIPMENT   STG     RETL28738      1984   MONON   1NNVF2813EM075287   DRY V     OR      Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL28744      1985   COMET   1C0V28017FS033308   DRY V     OH      Akron
 RETL     SERVICE EQUIPMENT   STG     RETL28819      1988   COMET   1C0V28012JS035511   28FT      WA      Spokane
 RETL     SERVICE EQUIPMENT   STG     RETL28838      1988   COMET   1C0V28016JS035530   28FT      OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL28842      1988   COMET   1C0V28015JS035650   28FT      OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL28904      1989   STRCK   1S11E8288KG313194   28FT      CA      Downey
 RETL     SERVICE EQUIPMENT   STG     RETL28942      1989   STRCK   1S11E8283KG321865   28FT      OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL28982      1990   STRCK   1S11E828XLG322867   28FT      OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL295214     2005   GRTDN   1GRAA56105K264139   DRY V     MT      Billings
 RETL     SERVICE EQUIPMENT   STG     RETL30141      1969   PIKEX   68V083              DRY V     UT      Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL35230      1981   ALLOY   1ALSP7281BS081192   DRY V     WA      Kent
 RETL     SERVICE EQUIPMENT   STG     RETL35286      1994   ALLOY   1ALSD7284RS941007   DRY V     OR      Eugene
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 357 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     SERVICE EQUIPMENT   STG     RETL35308      2000   STRCK   1S12E8358YE461343   DRY V     CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL35311      2000   STRCK   1S12E8353YE461346   DRY V     WA      Spokane
 RETL     SERVICE EQUIPMENT   STG     RETL40264      1968   STRCK   MAG146002           DRY V     NV      Sparks
 RETL     SERVICE EQUIPMENT   STG     RETL450101     1992   GRTDN   1GRAA9028NB021803   DRY V     AZ      Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL450104     1992   GRTDN   1GRAA9028NB021806   DRY V     CA      Downey
 RETL     SERVICE EQUIPMENT   STG     RETL480130     1988   TRLMB   1PT02DAHXJ9001045   VARIOUS   NV      Las Vegas
 RETL     SERVICE EQUIPMENT   STG     RETL480180     1996   TRLMB   1PT01JAH3T6008215   VARIOUS   CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL480182     1996   TRLMB   1PT01JAH7T6008217   VARIOUS   CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL480187     1996   FRUHF   1H2V04828TE047813   DRY V     CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL480190     1996   FRUHF   1H2V04823TE047816   DRY V     CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL480196     1996   TRLMB   1PT01JAH5T6008197   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480212     1994   GRTDN   1GRAA9626RB179117   DRY V     CA      Pacoima
 RETL     SERVICE EQUIPMENT   STG     RETL480225     1994   GRTDN   1GRAA9628RB179135   DRY V     OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL480246     1995   GRTDN   1GRAA9625SB172410   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480256     1999   GRTDN   1PNV482B5XK215306   DRY V     OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL480259     1999   GRTDN   1PNV482B9XK215311   DRY V     CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL480261     1999   GRTDN   1PNV482B6XK215315   DRY V     CA      Orange
 RETL     SERVICE EQUIPMENT   STG     RETL480272     1999   GRTDN   1PNV482B3XK215336   DRY V     UT      Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL480276     1999   GRTDN   1PNV482B1XK215349   DRY V     CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL48028      1988   FRUHF   1H2V04823JC015361   DRY V     WA      Spokane
 RETL     SERVICE EQUIPMENT   STG     RETL480283     1999   GRTDN   1PNV482B2XK215361   DRY V     CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL480315     1994   DORSY   1DTV11Z28SA232668   48FT      CA      Pacoima
 RETL     SERVICE EQUIPMENT   STG     RETL480319     1994   DORSY   1DTV11Z29RA217817   48FT      CA      Pacoima
 RETL     SERVICE EQUIPMENT   STG     RETL480320     1994   DORSY   1DTV11Z20RA217821   48FT      CA      Hayward
 RETL     SERVICE EQUIPMENT   STG     RETL48034      1998   WABSH   1JJV482W7WL444193   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480403     1992   GRTDN   1GRAA962XNB079001   48FT      CA      Pacoima
 RETL     SERVICE EQUIPMENT   STG     RETL48041      1998   WABSH   1JJV482W0WL444200   DRY V     CA      San Diego
 RETL     SERVICE EQUIPMENT   STG     RETL480423     1990   GRTDN   1GRAA9625LS049207   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL48044      1998   WABSH   1JJV482W6WL444203   DRY V     OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL480444     1994   WABSH   1JJV482UXRL207457   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480447     1995   UTLTY   1UYVS248XSP326959   DRY V     UT      Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL480451     1996   PINES   1PNV482B0TH202440   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480456     1996   PINES   1PNV482B1TH202463   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480459     1996   PINES   1PNV482B6TH202443   DRY V     CA      San Diego
 RETL     SERVICE EQUIPMENT   STG     RETL480460     1996   PINES   1PNV482B1TH202432   DRY V     CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL480465     1996   PINES   1PNV482B3TH202450   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480466     1996   PINES   1PNV482B0TH202454   DRY V     CA      Bakersfield
 RETL     SERVICE EQUIPMENT   STG     RETL480467     1996   PINES   1PNV482B4TH202456   DRY V     CA      San Diego
 RETL     SERVICE EQUIPMENT   STG     RETL480468     1996   PINES   1PNV482B6TH202460   DRY V     CA      Downey
 RETL     SERVICE EQUIPMENT   STG     RETL48047      1998   WABSH   1JJV482W1WL444206   DRY V     CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL480471     1996   PINES   1PNV482B3TH202464   DRY V     CA      Orange
 RETL     SERVICE EQUIPMENT   STG     RETL480473     1996   PINES   1PNV482B7TH202466   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480478     2000   TRLMB   1PT01JAH3Y9012500   VARIOUS   OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL480483     1999   FRUHF   1JJV482FXXF525219   48FT      CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL480484     1999   FRUHF   1JJV482F6XF525220   48FT      CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480485     1999   FRUHF   1JJV482F3XF525224   48FT      CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL480490     1999   GRTDN   1GRAA9624XB009318   DRY V     AZ      Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL480493     1999   FRUHF   1JJV482FXXF525227   48FT      CA      Downey
 RETL     SERVICE EQUIPMENT   STG     RETL480499     1999   FRUHF   1JJV482F0XF525228   48FT      CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL480507     2000   GRTDN   1PNV482B7YH226433   DRY V     CA      Orange
 RETL     SERVICE EQUIPMENT   STG     RETL480565     2000   WABSH   1JJV482WXYL684728   DRY V     CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL48057      1998   STRCK   1S12E8480WE434563   DRY V     CA      Orange
 RETL     SERVICE EQUIPMENT   STG     RETL480572     2000   WABSH   1JJV482W9YL657861   DRY V     UT      Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL480575     2000   WABSH   1JJV482WXYL684731   DRY V     UT      Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL480580     2000   WABSH   1JJV482W6YL657851   DRY V     CA      Tracy
 RETL     SERVICE EQUIPMENT   STG     RETL480585     2000   WABSH   1JJV482W2YL657846   DRY V     CA      Tracy
 RETL     SERVICE EQUIPMENT   STG     RETL48061      1998   STRCK   1S12E8488WE434567   DRY V     CA      Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL48066      1998   STRCK   1S12E8481WE434572   DRY V     CA      Hayward
 RETL     SERVICE EQUIPMENT   STG     RETL48070      1999   STRCK   1S12E8487XE447800   DRY V     CA      Sun Valley
 RETL     SERVICE EQUIPMENT   STG     RETL481100     1991   TRLMB   1PT01AAH0M9001478   VARIOUS   CA      Downey
 RETL     SERVICE EQUIPMENT   STG     RETL48222      2004   GRTDN   1GRAA96264B704931   DRY V     AZ      Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL48403      1985   TRLMB   1PT01HAH0F9005932   DRY V     OR      Portland
 RETL     SERVICE EQUIPMENT   STG     RETL48430      1993   TRLMB   1PT01JAH8P9002169   DRY V     CA      Pacoima
 RETL     SERVICE EQUIPMENT   STG     RETL48438      1993   UTLTY   1UYVS2484PC882702   DRY V     CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL48458      1992   FRUHF   1H2V04829NE013706   DRY V     CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL48657      2007   GRTDN   1GRAA96258B702190   DRY V     WA      Tacoma
 RETL     SERVICE EQUIPMENT   STG     RETL48696      2007   GRTDN   1GRAA96278B704409   DRY V     OR      Eugene
 RETL     SERVICE EQUIPMENT   STG     RETL48722      1996   WABSH   1JJV482M3TL247936   FRP       UT      Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL48726      1997   WABSH   1JJV482MXVL358874   FRP       UT      Salt Lake City
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23       Page 358 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 RETL     SERVICE EQUIPMENT   STG     RETL48728      1997   WABSH   1JJV482M1VL358892   FRP       OR             Redmond
 RETL     SERVICE EQUIPMENT   STG     RETL48731      1997   WABSH   1JJV482M4VL358935   FRP       MT             Missoula
 RETL     SERVICE EQUIPMENT   STG     RETL48745      1997   WABSH   1JJV482M8TL349443   FRP       OR             Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL48752      1997   WABSH   1JJV482M0VL359046   FRP       OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL48763      1996   WABSH   1JJV482M7TL247969   FRP       CA             Santa Clara
 RETL     SERVICE EQUIPMENT   STG     RETL48843      1993   DORSY   1DTV11Z23PA212187   48FT      CA             Hayward
 RETL     SERVICE EQUIPMENT   STG     RETL48848      2000   HYUND   3H3V482C2YT047015   48FT      CA             Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL48852      1996   STGHT   1DW1A4822TS062808   48FT      CA             Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL48853      2001   TRLMB   1PT01JAH919003838   VARIOUS   CA             Pacoima
 RETL     SERVICE EQUIPMENT   STG     RETL48855      2001   TRLMB   1PT01JAH619003814   VARIOUS   CA             Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL48856      2001   TRLMB   1PT01JAH619003831   VARIOUS   CA             Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL48858      2001   TRLMB   1PT01JAH319003835   VARIOUS   NV             Las Vegas
 RETL     SERVICE EQUIPMENT   STG     RETL48865      2001   TRLMB   1PT01JAH419003827   VARIOUS   CA             Hayward
 RETL     SERVICE EQUIPMENT   STG     RETL48868      2001   TRLMB   1PT01JAH819003832   VARIOUS   CA             Bakersfield
 RETL     SERVICE EQUIPMENT   STG     RETL48869      2001   TRLMB   1PT01JAHX19003833   VARIOUS   CA             Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL48874      2001   TRLMB   1PT01JAH219003809   VARIOUS   CA             Pacoima
 RETL     SERVICE EQUIPMENT   STG     RETL48875      2001   TRLMB   1PT01JAH919003810   VARIOUS           #N/A           #N/A
 RETL     SERVICE EQUIPMENT   STG     RETL48886      2000   DORSY   1DTV11Z26YA280257   48FT              #N/A           #N/A
 RETL     SERVICE EQUIPMENT   STG     RETL48887      2000   DORSY   1DTV11Z28YA280258   48FT      CA             Downey
 RETL     SERVICE EQUIPMENT   STG     RETL48890      2000   DORSY   1DTV11Z21YA280263   48FT      CA             Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL48891      2000   DORSY   1DTV11Z23YA280264   48FT      UT             Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL48899      2001   TRLMB   1PT01JAH919003941   VARIOUS   NV             Las Vegas
 RETL     SERVICE EQUIPMENT   STG     RETL495597     1993   STRCK   1S12S8480PD355393   DRY V     WA             Seattle
 RETL     SERVICE EQUIPMENT   STG     RETL495605     1993   STRCK   1S12S8486PD355401   DRY V     WA             Seattle
 RETL     SERVICE EQUIPMENT   STG     RETL500880     1977   PINES   320CDV6016          320CDV    ID             Meridian
 RETL     SERVICE EQUIPMENT   STG     RETL530017     1988   TRLMB   1DW1A5328JS568508   48FT      CA             Bakersfield
 RETL     SERVICE EQUIPMENT   STG     RETL530035     1994   TRLMB   1PT01AAH2R9006611   48FT      CO             Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL530089     1997   STRCK   1S12E9534VD412529   DRY V     OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530129     1996   WABSH   1JJV532Y7TL272387   DRY V     AZ             Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL530135     1997   STRCK   1S12E9538VD412520   DRY V     CO             Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL530140     1997   PINES   1PNV532B2VG303438   53FT      OR             Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL530144     1996   TRLMB   1PT01JAH9T9004636   DRY V     CO             Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL530157     1996   STRCK   1S12E9539TD412510   DRY V     CO             Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL530163     1999   STRCK   1S12E9539XD447098   DRY V     OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530164     2000   STRCK   1S12E9537YD455217   DRY V     CA             Downey
 RETL     SERVICE EQUIPMENT   STG     RETL530168     1996   GRTDN   1GRAA0622TB129141   DRY V     NV             Las Vegas
 RETL     SERVICE EQUIPMENT   STG     RETL530192     1998   TRLMB   1PT01JLH7W6006596   DRY V     OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530208     1996   TRLMB   1PT01JAHXV6000468   VARIOUS   CA             Pacoima
 RETL     SERVICE EQUIPMENT   STG     RETL530211     1998   TRLMB   1PT01JLH9W6006650   53FT      MT             Missoula
 RETL     SERVICE EQUIPMENT   STG     RETL530212     1997   PINES   1PNV532B9VG303419   53FT      CA             Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL530215     1997   TRLMB   1PT01JAH0V6000527   DRY V     CA             Downey
 RETL     SERVICE EQUIPMENT   STG     RETL530226     1997   PINES   1PNV532B5VGB85298   DRY V     CA             Fontana
 RETL     SERVICE EQUIPMENT   STG     RETL530229     1999   DORSY   1DTV11526XA269327   DRY V     CA             Downey
 RETL     SERVICE EQUIPMENT   STG     RETL530230     1999   DORSY   1DTV11524XA269343   DRY V     ID             Meridian
 RETL     SERVICE EQUIPMENT   STG     RETL530247     1998   DORSY   1DTV11525XA269321   DRY V     CA             Orange
 RETL     SERVICE EQUIPMENT   STG     RETL530256     1995   PINES   1PNV532S7SGB84557   53FT      OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530258     1999   GRTDN   1GRAA0624XB077520   DRY V     OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530285     1999   GRTDN   1GRAA0629XB077531   DRY V     OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530290     1998   GRTDN   1GRAA0629SS099814   53FT      OR             Eugene
 RETL     SERVICE EQUIPMENT   STG     RETL530328     1993   STRCK   1S12E9538PE350985   DRY V     NV             Las Vegas
 RETL     SERVICE EQUIPMENT   STG     RETL530364     2000   DORSY   1DTV11520YA283824   53FT      OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530366     2002   STRCK   1S12E95342E491271   53FT      OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530372     2001   GRTDN   1GRAA06281G319428   DRY V     UT             Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL530374     2001   GRTDN   1GRAA06271K239468   DRY V     OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530397     2000   STRCK   1S12E9530YD447282   DRY V     UT             Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL530398     2000   STRCK   1S12E9538YD447322   DRY V     UT             Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL530402     2000   STRCK   1S12E9539YD447300   DRY V     UT             Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL530434     2001   GRTDN   1GRAA06251G319399   DRY V     OR             Portland
 RETL     SERVICE EQUIPMENT   STG     RETL530435     2000   GRTDN   1GRAA0620YB008504   DRY V     AZ             Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL530438     2001   STRCK   1S12E95341D455374   DRY V     WA             Tacoma
 RETL     SERVICE EQUIPMENT   STG     RETL530575     2001   GRTDN   1GRAA06281B078418   53FT      CA             Orange
 RETL     SERVICE EQUIPMENT   STG     RETL530578     2000   GRTDN   1GRAA0624YB008618   53FT      CA             Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL530584     2001   GRTDN   1GRAA06251K239498   53FT      UT             Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL553003     1988   FRUHF   1H4V05930JJ030724   DRY V     WA             Tacoma
 RETL     SERVICE EQUIPMENT   STG     RETL553013     1988   FRUHF   1H4V05939JJ030737   DRY V     WA             Tacoma
 RETL     SERVICE EQUIPMENT   STG     RETL553019     1988   FRUHF   1H4V05931JJ030747   DRY V     UT             Salt Lake City
 RETL     SERVICE EQUIPMENT   STG     RETL553024     1988   FRUHF   1H4V05939JJ030754   DRY V     WA             Kent
 RETL     SERVICE EQUIPMENT   STG     RETL553028     1988   FRUHF   1H4V05936JJ030758   DRY V     WA             Kent
 RETL     SERVICE EQUIPMENT   STG     RETL553032     1988   FRUHF   1H4V0593XJJ030763   DRY V     UT             Salt Lake City
                    Case 23-11069-CTG               Doc 969-1          Filed 10/26/23         Page 359 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 RETL     SERVICE EQUIPMENT   STG     RETL553033     1988   FRUHF   1H4V05931JJ030764   DRY V       CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL553038     1988   FRUHF   1H4V05931JJ030702   DRY V       CO      Henderson
 RETL     SERVICE EQUIPMENT   STG     RETL728127     1997   UTLTY   1UYVS128XVU278401   REFER       MT      Billings
 RETL     SERVICE EQUIPMENT   STG     RETL728139     1997   UTLTY   1UYVS1283VU275601   REFER       WA      Spokane
 RETL     SERVICE EQUIPMENT   STG     RETL899327     1998   GRTDN   1GRAA0623WS068709   HOLLAND     CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL899407     1999   FRUHF   1JJV281F1XF540456   DVDBFSA     WA      Everett
 RETL     SERVICE EQUIPMENT   STG     RETL899433     1995   STRCK   1S11E8288SD392898   VARIOUS     CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL899468     2000   WABSH   1JJV281W4YL716662   DVDBHPC     WA      Everett
 RETL     SERVICE EQUIPMENT   STG     RETL92101      1978   MONON   33395               FA70CD      OR      Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL92257      1978   PINES   323CDV7772          323CDV      OR      Eugene
 RETL     SERVICE EQUIPMENT   STG     RETL928002     1994   UTLTY   1UYVS1286RC313804   LGT V       CA      Fresno
 RETL     SERVICE EQUIPMENT   STG     RETL928003     1997   UTLTY   1UYVS128XVC334410   DRY V       OR      Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL928004     1998   STRCK   1S11E8289WE434544   DRY V       AZ      Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL928005     1998   STRCK   1S11E8287WE435840   DRY V       AZ      Phoenix
 RETL     SERVICE EQUIPMENT   STG     RETL94548      1977   TRLMB   P95446              D71A‐1AAP   OR      Eugene
 RETL     SERVICE EQUIPMENT   STG     RETL94580      1977   TRLMB   P95442              D71A‐1AAP   ID      Meridian
 RETL     SERVICE EQUIPMENT   STG     RETL948004     1996   TRLMB   1PT01JAH7T6008198   LGT/V       CA      Pacoima
 RETL     SERVICE EQUIPMENT   STG     RETL948009     1994   GRTDN   1GRAA9628RB179118   LGT V       CA      Santa Rosa
 RETL     SERVICE EQUIPMENT   STG     RETL948019     2005   GRTDN   1GRAA96245K263298   DRY V       CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL948937     2001   TRLMB   1PT01JAHX19003654   VARIOUS     OR      Central Point
 RETL     SERVICE EQUIPMENT   STG     RETL948939     2001   TRLMB   1PT01JAH319003656   VARIOUS     CA      West Sacramento
 RETL     SERVICE EQUIPMENT   STG     RETL948942     2002   STRCK   1S12E94812E491239   48FT        CA      West Sacramento
 RETL     SERVICE EQUIPMENT   SVC‐CTR RETL781540     2008   NVSTR   2HSCRAPN48C658717   PRO S       AZ      Phoenix
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2005       1970   CLARK   Y235254310          FRK L       WA      Spokane
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2037       1991   HYSTR   A187V99455          S 50        OR      Portland
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2103       1990   TOYOT   5FGCU25‐15160       5FGC2       CO      Henderson
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL21075      2019   TOYOT   8FGCU25‐02233       8FGCU       CO      Henderson
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL21078      2019   TOYOT   8FGCU25‐02382       8FGCU       WA      Kent
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2515       2002   NSSMT   CPJ029W1777         02A25       MT      Missoula
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2526       2002   NSSMT   CPJ029W1855         02A25       NV      Sparks
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2733       2001   MTSBS   AF82C04690          FGC25       OR      Portland
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2740       2000   TOYOT   AF82C04302          FGC25       UT      Salt Lake City
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2746       2004   MTSBS   AF82D02889          FGC25       WA      Spokane
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2755       2005   MTSBS   AF82E00485          FGC25       OR      Central Point
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2779       2007   TOYOT   7FGCU25‐03153       7FGCU       NV      Sparks
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2792       2007   TOYOT   8FGCU25‐14402       8FGCU       CA      Hayward
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2803       2008   TOYOT   8FGCU25‐20695       8FGCU       CA      Fontana
 RETL     SERVICE EQUIPMENT   SVC‐FKL RETL2805       2008   TOYOT   8FGCU25‐20704       8FGCU       CA      Downey
 RETL     SERVICE EQUIPMENT   SVC‐OTH RETL4556       1987   FORD    1FTEF25Y8HKA11746   F250        AZ      Phoenix
 RETL     SERVICE EQUIPMENT   SVC‐OTH RETL4577       1998   FORD    1FTSF31F3XEA65305   F350        WA      Spokane
 RETL     SERVICE EQUIPMENT   SVC‐OTH RETL4578       1998   FORD    1FTSF31F5XEA65306   F350        CO      Henderson
 RETL     SERVICE EQUIPMENT   SVC‐YTR RETL5049       1999   CPCTY   4LMBB2113XL011197   TJ500       OR      Central Point
 RETL     YARD TRACTOR        YTR     RETL5048       1999   CPCTY   4LMBB2111XL011196   TJ500       OR      Central Point
 RETL     YARD TRACTOR        YTR     RETL5053       2000   CPCTY   4LMBB2117YL011786   TJ500       WA      Spokane
 RETL     YARD TRACTOR        YTR     RETL5054       2000   CPCTY   4LMBB2117YL011787   TJ500       NV      Sparks
 RETL     YARD TRACTOR        YTR     RETL5062       2002   CPCTY   4LMBB21102L013269   TJ500       NV      Sparks
 RETL     YARD TRACTOR        YTR     RETL5063       2002   CPCTY   4LMBB21172L013270   TJ500       MT      Missoula
 RETL     YARD TRACTOR        YTR     RETL5065       2002   CPCTY   4LMBB21102L013272   TJ500       WA      Everett
 RETL     YARD TRACTOR        YTR     RETL5067       2005   CPCTY   4LMBB21165L016409               MT      Butte
 RETL     YARD TRACTOR        YTR     RETL5068       2005   CPCTY   4LMBB21125L016410               WA      Tacoma
 RETL     YARD TRACTOR        YTR     RETL5069       2005   CPCTY   4LMBB21145L016499               WA      Seattle
 RETL     YARD TRACTOR        YTR     RETL5070       2005   CPCTY   4LMBB21145L016411               ID      Pocatello
 RETL     YARD TRACTOR        YTR     RETL5071       2005   CPCTY   4LMBB21145L016408               MT      Billings
 RETL     YARD TRACTOR        YTR     RETL5092       2006   OTTWA   313779              COMMA       CA      San Diego
 RETL     YARD TRACTOR        YTR     RETL5093       2006   OTTWA   313780              COMMA       CA      Gardena
 RETL     YARD TRACTOR        YTR     RETL5094       2006   OTTWA   313781              COMMA       CA      Santa Rosa
 RETL     YARD TRACTOR        YTR     RETL5095       2006   OTTWA   314192              C30         CA      Pico Rivera
 RETL     YARD TRACTOR        YTR     RETL5096       2006   OTTWA   314193              C30         CA      Fontana
 RETL     YARD TRACTOR        YTR     RETL5097       2006   OTTWA   315653              C30         UT      Salt Lake City
 RETL     YARD TRACTOR        YTR     RETL5099       2007   OTTWA   317014                          OR      Portland
 RETL     YARD TRACTOR        YTR     RETL5100       2007   OTTWA   317015                          OR      Portland
 RETL     YARD TRACTOR        YTR     RETL5105       2011   OTTWA   327483              C30         CO      Henderson
 RETL     YARD TRACTOR        YTR     RETL5106       2011   OTTWA   327484              C30         CO      Henderson
 RETL     YARD TRACTOR        YTR     RETL5107       2011   OTTWA   327485              C30         CA      Pico Rivera
 RETL     YARD TRACTOR        YTR     RETL5108       2011   OTTWA   327486              C30         NV      Las Vegas
 RETL     YARD TRACTOR        YTR     RETL5109       2011   OTTWA   327487              C30         NV      Sparks
 RETL     YARD TRACTOR        YTR     RETL5110       2013   OTTWA   332632              C30         ID      Meridian
 RETL     YARD TRACTOR        YTR     RETL5111       2013   OTTWA   332633              C30         NV      Sparks
 RETL     YARD TRACTOR        YTR     RETL5112       2013   OTTWA   332634              C30         CA      Orange
                    Case 23-11069-CTG                Doc 969-1         Filed 10/26/23        Page 360 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 RETL     YARD TRACTOR          YTR     RETL5113      2013   OTTWA   333669              C30       WA      Spokane
 RETL     YARD TRACTOR          YTR     RETL5114      2013   OTTWA   333670              C30       OR      Portland
 RETL     YARD TRACTOR          YTR     RETL5115      2010   OTTWA   324776              C30       OR      Portland
 RETL     YARD TRACTOR          YTR     RETL5116      2010   OTTWA   324777              C30       CA      Fontana
 RETL     YARD TRACTOR          YTR     RETL5117      2010   OTTWA   324778              C30       CA      Santa Clara
 RETL     YARD TRACTOR          YTR     RETL5118      2010   OTTWA   324779              C30       CA      Tracy
 RETL     YARD TRACTOR          YTR     RETL5119      2010   OTTWA   324780              C30       OR      Portland
 RETL     YARD TRACTOR          YTR     RETL5120      2015   OTTWA   341097              C30       AZ      Phoenix
 RETL     YARD TRACTOR          YTR     RETL5121      2015   OTTWA   341098              C30       CO      Henderson
 RETL     YARD TRACTOR          YTR     RETL5122      2015   OTTWA   341099              C30       NV      Sparks
 RETL     YARD TRACTOR          YTR     RETL5123      2016   OTTWA   344409              C30       CA      Pico Rivera
 RETL     YARD TRACTOR          YTR     RETL5124      2016   OTTWA   344410              C30       CA      Downey
 RETL     YARD TRACTOR          YTR     RETL5125      2016   OTTWA   344411              C30       CA      Fontana
 RETL     YARD TRACTOR          YTR     RETL5126      2016   OTTWA   344412              C30       CA      Fontana
 RETL     YARD TRACTOR          YTR     RETL5127      2016   OTTWA   344413              C30       CA      Fontana
 RETL     YARD TRACTOR          YTR     RETL5128      2016   OTTWA   344414              C30       CA      Fresno
 RETL     YARD TRACTOR          YTR     RETL5129      2017   OTTWA   346747              T2        AZ      Phoenix
 RETL     YARD TRACTOR          YTR     RETL5130      2017   OTTWA   346748              T2        CA      Hayward
 RETL     YARD TRACTOR          YTR     RETL5131      2017   OTTWA   346749              T2        CA      West Sacramento
 RETL     YARD TRACTOR          YTR     RETL5132      2017   OTTWA   346750              T2        CA      Sun Valley
 RETL     YARD TRACTOR          YTR     RETL5133      2018   OTTWA   349267              T2        CA      Orange
 RETL     YARD TRACTOR          YTR     RETL5134      2018   OTTWA   349268              T2        CA      Fontana
 RETL     YARD TRACTOR          YTR     RETL5135      2018   OTTWA   349269              T2        CA      Tracy
 RETL     YARD TRACTOR          YTR     RETL5136      2018   OTTWA   349270              T2        CA      West Sacramento
 RETL     YARD TRACTOR          YTR     RETL5137      2018   OTTWA   349271              T2        CA      Hayward
 RETL     YARD TRACTOR          YTR     RETL5138      2018   OTTWA   349570              T2        CA      Fontana
 RETL     YARD TRACTOR          YTR     RETL5139      2018   OTTWA   349571              T2        CA      Fontana
 RETL     YARD TRACTOR          YTR     RETL5140      2018   OTTWA   349572              T2        OR      Central Point
 RETL     YARD TRACTOR          YTR     RETL5141      2018   OTTWA   349573              T2        OR      Central Point
 RETL     YARD TRACTOR          YTR     RETL5142      2018   OTTWA   349574              T2        OR      Portland
 RETL     YARD TRACTOR          YTR     RETL5144      2020   OTTWA   355976              T2        WA      Spokane
 RETL     YARD TRACTOR          YTR     RETL5146      2020   OTTWA   355978              T2        WA      Seattle
 RETL     YARD TRACTOR          YTR     RETL5147      2020   OTTWA   355979              T2        UT      Salt Lake City
 RETL     YARD TRACTOR          YTR     RETL5148      2020   OTTWA   355980              T2        UT      Salt Lake City
 RETL     YARD TRACTOR          YTR     RETL5149      2020   OTTWA   355981              T2        OR      Central Point
 RETL     YARD TRACTOR          YTR     RETL5150      2020   OTTWA   355982              T2        OR      Central Point
 RETL     YARD TRACTOR          YTR     RETL5151      2020   OTTWA   355983              T2        CA      Downey
 RETL     YARD TRACTOR          YTR     RETL5152      2020   OTTWA   356341              T2        CA      Fontana
 RETL     YARD TRACTOR          YTR     RETL5153      2020   OTTWA   356342              T2        WA      Tacoma
 RETL     YARD TRACTOR          YTR     RETL5154      2020   OTTWA   356343              T2        AZ      Phoenix
 RETL     YARD TRACTOR          YTR     RETL8413      2007   OTTWA   316661              30        UT      Salt Lake City
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80000     2015   FRGHT   3ALACWDT9FDGE0830   M2        WA      Tacoma
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80001     2015   FRGHT   3ALACWDT7FDGE0826   M2        OR      Portland
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80002     2014   HINO    5PVNJ8JV2E4S55860   268       WI      Oak Creek
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80003     2013   HINO    5PVNJ8JV6E4S55991   268       NY      Plainview
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80004     2014   HINO    5PVNJ8JV8E4S56026   268       PA      Bensalem
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80005     2014   HINO    5PVNJ8JVXE4S55864   268       NJ      Hamilton
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80006     2013   HINO    5PVNJ8JV3D4S54926   268       CO      Aurora
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80007     2015   HINO    5PVNJ8JV7F4S58187   268       UT      Salt Lake City
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80008     2015   FRGHT   3ALACWDT2FDGM8403   M2        OR      Portland
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80010     2015   HINO    5PVNJ8JV6F4S58262   268       CA      San Diego
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80011     2017   INTL    1HTMMMML4HH462577   4300      NJ      South Plainfield
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80012     2013   FRGHT   3ALACWDT2DDFG5305   M2        CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80013     2014   FRGHT   3ALACWDT4EDFJ4197   M2        CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80014     2015   FRGHT   3ALACWDT6FDGG9041   M2        CA      Brisbane
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80015     2014   FRGHT   3ALACWDTXEDFZ7912   M2        CA      Brisbane
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80016     2015   FRGHT   3ALACWDTXFDGC7956   M2        CA      Santa Rosa
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80017     2014   HINO    5PVNJ8JV5E4S55948   268       MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80018     2014   HINO    5PVNJ8JV3E4S55947   268       MD      Baltimore
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80019     2014   HINO    5PVNJ8JV6E4S55747   268       CA      Sacramento
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80020     2015   HINO    5PVNJ8JV0F4S57298   268       NJ      Hamilton
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80021     2014   HINO    5PVNJ8JV2E4S55972   268       NJ      Hamilton
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80022     2014   HINO    5PVNJ8JV1E4S55946   268       RI      Cumberland
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80023     2014   HINO    5PVNJ8JV4E4S56041   268       MA      North Reading
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80024     2013   FRGHT   1FVACWDT3DHFA4331   M2        OR      Portland
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80025     2014   HINO    5PVNJ8JV0E4S55887   268       NY      Glenmont
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80026     2012   FRGHT   1FVACWDT5CDBH3936   M2        CA      Sacramento
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80027     2012   FRGHT   1FVACWDT1CDBP6143   M2        NY      Glenmont
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80028     2014   HINO    5PVNJ8JV8E4S55894   268       MD      Baltimore
                    Case 23-11069-CTG                Doc 969-1         Filed 10/26/23        Page 361 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80029     2012   FRGHT   1FVACWDT3CDBP1087   M2        NY      Glenmont
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80030     2016   FRGHT   3ALACWCY5GDHA4330   M2        MD      Landover
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80031     2012   FRGHT   1FVACWDT0CHBR8515   M2        PA      Line Lexington
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80032     2012   FRGHT   1FVACWDT8CHBR7645   M2        MD      Landover
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80033     2013   FRGHT   1FVACWDT6DHFA3786   M2        NJ      Kearny
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80034     2013   FRGHT   1FVACWDT0DHFA9891   M2        VA      Richmond
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80035     2013   FRGHT   1FVACWDTXDHFB9280   M2        NY      Rochester
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80036     2013   FRGHT   1FVACWDT3DHBY0625   M2        IA      Mason City
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80037     2012   FRGHT   1FVACWDT4CHBV0855   M2        NY      East Syracuse
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80039     2012   FRGHT   1FVACWDT6CDBU7883   M2        CT      Cheshire
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80040     2013   FRGHT   1FVACWDT2DHFF4007   M2        NY      East Syracuse
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80041     2014   FRGHT   3ALACWDT3EDFJ7219   M2        CT      Cheshire
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80043     2013   FRGHT   1FVACWDT6DDFB8649   M2        MD      Hagerstown
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80044     2014   FRGHT   3ALACWDT7EDFS9759   M2        CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80045     2014   FRGHT   1FVACWDT5EHFT3383   M2        MD      Hagerstown
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80046     2014   FRGHT   1FVACWDT9EHFU1583   M2        MA      North Reading
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80047     2014   FRGHT   3ALACWDT7EDFV0191   M2        WA      Tacoma
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80049     2014   FRGHT   3ALACWDT4EDFU9368   M2        CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80050     2014   FRGHT   3ALACWDT1EDFX2848   M2        OH      Columbus
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80051     2017   INTL    1HTMMMML7HH462475   4300      NY      Plainview
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80052     2012   FRGHT   1FVACWDTXCDBP1264   M2        NY      Maspeth
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80053     2012   FRGHT   1FVACWDT5CDBP1124   M2        NY      Maybrook
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80054     2012   FRGHT   1FVACWDT2CDBP1064   M2        MD      Baltimore
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80055     2013   FRGHT   1FVACWDT6DHFF9209   M2        MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80056     2012   FRGHT   1FVACWDT2CDBP1095   M2        MA      Shrewsbury
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80057     2012   FRGHT   1FVACWDTXCDBP1040   M2        PA      McKees Rocks
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80058     2013   HINO    5PVNJ8JV6D4S53981   268       ME      Fairfield
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80059     2012   HINO    5PVNJ8JV1C4S53398   268       PA      Bensalem
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80060     2012   FRGHT   1FVACWDT6CDBP1052   M2        OH      Cincinnati
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80061     2013   FRGHT   1FVACWDT7DHBY9554   M2        NJ      Kearny
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80062     2015   HINO    5PVNJ8JVXF4S58586   268       PA      Line Lexington
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80063     2012   FRGHT   1FVACWDT7CDBH3954   M2        NY      Rochester
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80065     2013   FRGHT   1FVACWDT3DDBW7977   M2        WA      Seattle
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80067     2012   FRGHT   1FVACWDT3CDBP1137   M2        VA      Richmond
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80068     2012   FRGHT   1FVACWDT8CDBM5147   M2        NY      East Syracuse
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80069     2016   FRGHT   3ALACWDTXGDGW6388   M2        PA      Line Lexington
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80070     2015   FRGHT   3ALACWDT7FDGE7517   M2        MA      North Reading
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80071     2016   FRGHT   3ALACWDT3GDHB6317   M2        PA      McKees Rocks
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80072     2015   HINO    5PVNJ8JV8F4S58263   268       CA      Orange
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80073     2015   FRGHT   3ALACWDT0FDGC7951   M2        CA      Orange
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80074     2013   HINO    5PVNJ8JVXD4S54387   268       OR      Eugene
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80075     2013   HINO    5PVNJ8JV9D4S54395   268       MD      Landover
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80076     2013   HINO    5PVNJ8JV6D4S54371   268       WA      Tacoma
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80077     2015   FRGHT   3ALACWDT2FDGK6482   M2        ME      Westbrook
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80078     2014   HINO    5PVNJ8JV0E4S55808   268       IN      Fort Wayne
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80080     2015   HINO    5PVNJ8JV4F4S59488   268       CO      Aurora
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80081     2016   HINO    5PVNJ8JV9G4S59987   268       NY      East Syracuse
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80082     2012   FRGHT   1FVACWDT0CDBF2136   M2        NC      Charlotte
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80084     2014   HINO    5PVNJ8JV3E4S55950   M2        MN      Burnsville
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80085     2014   HINO    5PVNJ8JV8E4S55944   268       NC      Charlotte
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80086     2014   HINO    5PVNJ8JV8E4S56012   268       MN      Burnsville
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80087     2016   FRGHT   3ALACWDT7GDGZ8408   268       WI      Oak Creek
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80088     2012   FRGHT   1FVACWDT7CDBF2134   M2        NY      Maybrook
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80089     2014   HINO    5PVNJ8JV5E4S55903   M2        IN      Fort Wayne
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80090     2014   FRGHT   3ALACWDT1EDFK2547   268       UT      Salt Lake City
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80091     2014   HINO    5PVNJ8JV2E4S56071   268       CA      Brisbane
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80097     2015   HINO    5PVNJ8JV4F4S57370   268       CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80098     2015   HINO    5PVNJ8JV8F4S57372   268       CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80099     2015   FRGHT   3ALACWDT2FDGR7603   M2        CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80100     2014   FRGHT   3ALACWDT8EDFX5374   M2        VA      Manassas
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80102     2014   FRGHT   1FVACWDT3CDBP1106   M2        VA      Manassas
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80103     2012   FRGHT   3ALACWDTXFDGA3043   M2        FL      Boynton Beach
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80104     2015   INTL    3HAMMMML4FL041062   4300      TX      Austin
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80105     2015   FRGHT   3ALACWDT4FDGK6306   M2        TX      Irving
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80106     2014   FRGHT   1FVACWDT5EHFW3242   M2        VA      Manassas
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80107     2015   FRGHT   3ALACWDT7FDGS8955   M2        OH      Cincinnati
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80108     2016   HINO    5PVNJ8JV6F4S57757   268       MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80109     2015   FRGHT   3ALACWDT3FDGK2117   M2        NY      Maybrook
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80110     2015   FRGHT   3ALACWDT5FDGK2118   M2        PA      Line Lexington
                    Case 23-11069-CTG                Doc 969-1         Filed 10/26/23        Page 362 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80111     2015   FRGHT   3ALACWDT6FDGT8618   M2        MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80112     2016   HINO    5PVNJ8JVXG4S59819   268       MA      Shrewsbury
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80113     2016   HINO    5PVNJ8JV3G4S59838   268       MI      Pontiac
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80114     2016   HINO    5PVNJ8JV2G4S59815   268       MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80115     2016   HINO    5PVNJ8JV3G4S59743   268       CA      Pico Rivera
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80117     2015   HINO    5PVNJ8JV0F4S58175   268       MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80118     2017   HINO    5PVNJ8JV4H4S63964   268       CA      Santa Rosa
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80119     2016   HINO    5PVNJ8JV1G4S59773   268       VA      Manassas
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80120     2017   FRGHT   3ALACWDT1HDJA6799   M2        TX      Dallas
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80121     2016   HINO    5PVNJ8JV9G4S59794   268       IN      South Bend
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80122     2016   FRGHT   3ALACWDT3GDHA3793   M2        MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80123     2018   FRGHT   3ALACWFC8JDJH4424   M2        TX      Irving
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80124     2016   HINO    5PVNJ8JV5G4S60067   268       VA      Chesapeake
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80125     2016   HINO    5PVNJ8JV1G4S60034   268       MI      Pontiac
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80127     2017   FRGHT   3ALACWDT8HDHV3725   M2        LA      New Orleans
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80128     2017   FRGHT   3ALACWDT2HDJD6992   M2        TX      Fort Worth
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80129     2017   FRGHT   3ALACWDT2HDHV3929   M2        CA      Sacramento
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80130     2016   HINO    5PVNJ8JV8G4S59902   268       CA      Sun Valley
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80131     2016   HINO    5PVNJ8JV8G4S59818   268       IN      Indianapolis
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80132     2016   FRGHT   3ALACWDT9GDHN7295   M2        GA      Savannah
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80133     2017   HINO    5PVNJ8JV2H4S63963   268       CA      Santa Rosa
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80134     2017   HINO    5PVNJ8JV8H4S63966   268       MI      Wayland
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80135     2017   FRGHT   3ALACWDTXHDHV3905   M2        MN      Saint Cloud
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80136     2017   FRGHT   3ALACWDT9HDHV3524   M2        WA      Seattle
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80137     2017   FRGHT   3ALACWDT8HDHV3658   M2        CA      Tracy
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80138     2017   FRGHT   3ALACWDT6HDHV3660   M2        CA      Fresno
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80139     2017   FRGHT   3ALACWDT6HDHV3724   M2        TX      Irving
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80141     2018   HINO    5PVNJ8JV4J4S68832   268       WI      Madison
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80142     2018   FRGHT   3ALACWFC5JDJK7100   M2        TX      Austin
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80143     2017   HINO    5PVNJ8JVXH4S64326   268       TX      Austin
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80144     2017   HINO    5PVNJ8JV3H4S64734   268       TX      Houston
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80145     2017   HINO    5PVNJ8JV9H4S64740   268       TX      San Antonio
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80146     2016   HINO    5PVNJ8JV3G4S59709   268       FL      Tampa
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80147     2016   HINO    5PVNJ8JVXG4S59724   268       TX      Austin
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80148     2016   HINO    5PVNJ8JV5G4S59713   M2        IN      Indianapolis
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80149     2021   KNWRT   1NKHHM6X0MR464039   T270      CA      Pico Rivera
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80150     2021   KNWRT   1NKHHM6X7MR464040   T270      CA      Santa Rosa
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80151     2021   KNWRT   1NKHHM6X9MR464041   T270      CA      Sacramento
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80152     2021   KNWRT   1NKHHM6X0MR464042   T270      WA      Tacoma
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80153     2021   KNWRT   1NKHHM6X2MR464043   T270      CA      Tracy
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80154     2021   KNWRT   1NKHHM6X4MR464044   T270      CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80155     2021   KNWRT   1NKHHM6X6MR464045   T270      CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80156     2021   KNWRT   1NKHHM6X8MR464046   T270      CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80157     2021   KNWRT   1NKHHM6XXMR464047   T270      CA      Hayward
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80158     2021   KNWRT   1NKHHM6X1MR464048   T270      CA      Orange
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80161     2021   KNWRT   1NKHHM6X1MR464051   T270      FL      Tampa
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80164     2015   HINO    5PVNJ8JV1F4S57181   268       AL      Mobile
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80165     2015   HINO    5PVNJ8JV6F4S58326   268       CO      Henderson
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80166     2015   HINO    5PVNJ8JV9F4S58319   268       CO      Aurora
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80167     2015   HINO    5PVNJ8JV2F4S57920   268       TX      Irving
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80168     2015   FRGHT   3ALACWDT5FDGK3950   M2        VA      Manassas
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80169     2012   FRGHT   1FVACWDT0CDBH3844   M2        MI      Norway
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80170     2015   FRGHT   3ALACWDT1FDGU3953   M2        VA      Richmond
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80171     2014   FRGHT   1FVACWDT6EHFJ4356   M2        CA      San Diego
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80172     2015   FRGHT   3ALACWDT7FDGE0888   M2        WA      Pasco
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80204     2015   INTL    1HTMMMML5FH638114   4300      WA      Seattle
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80205     2014   FRGHT   3ALACWDT7EDFU7002   M2        OR      Portland
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80216     2024   INTL    3HAEUMML6RL719061   4300      NY      Rochester
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80219     2024   INTL    3HAEUMML1RL719064   4300      MI      Pontiac
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80220     2024   INTL    3HAEUMML3RL719065   4300      VT      Bellows Falls
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80223     2024   INTL    3HAEUMML9RL719068   4300      WA      Tacoma
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80224     2024   INTL    3HAEUMML0RL719069   4300      MT      Billings
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80225     2024   INTL    3HAEUMML7RL719070   4300      UT      Salt Lake City
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80230     2024   INTL    3HAEUMML6RL719075   4300      OR      Portland
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80232     2018   FRGHT   3ALACWFC9JDJN7507   M2        WA      Seattle
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80233     2014   FRGHT   3ALACWDT2EDFU7005   M2        OR      Portland
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80234     2014   FRGHT   3ALACWDT6EDFX4952   M2        MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80235     2012   FRGHT   1FVACWDTXCDBH4063   M2        MO      Columbia
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80236     2015   FRGHT   3ALACWDT8FDGL4070   M2        MI      Taylor
                    Case 23-11069-CTG                Doc 969-1         Filed 10/26/23        Page 363 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80840     2017   FRGHT   3ALACWDT3EDFK1349   M2        MI      Pontiac
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80841     2015   FRGHT   3ALACWDT1FDGS8949   M2        MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80842     2018   FRGHT   3ALACWFC7JDJN7506   M2        WA      Seattle
 YRCF     STRAIGHT/ BOX TRUCK   BOX     RDWY80843     2019   NVSTR   3HAMMMML3KL569007   4300      CA      San Diego
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63120     2002   INTL    1HTMKAAN12H527094   4400      UT      Salt Lake City
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63125     2002   INTL    1HTMKAAN92H527098   4400      PA      Line Lexington
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63126     2002   INTL    1HTMKAAN02H527099   4400      NY      Mount Vernon
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63130     2004   INTL    1HTMMAAN64H606886   4300      ME      Westbrook
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63132     2004   INTL    1HTMMAAN34H606893   4300      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63133     2004   INTL    1HTMMAAN24H606898   4300      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63134     2004   INTL    1HTMMAAN44H606899   4300      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63136     2004   INTL    1HTMMAAN34H609258   4300      IN      South Bend
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63138     2002   FRGHT   1FVABTAKX2HJ98918   FL70      NY      Deer Park
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63139     2003   FRGHT   1FVABTAK73HL78228   FL70      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63140     2003   FRGHT   1FVABTAK23HL70313   FL70      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63151     2005   INTL    1HTMMAAN25H698600   4300      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63152     2005   INTL    1HTMMAANX5H698599   4300      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63153     2005   INTL    1HTMMAAN45H698615   4300      PA      Dunmore
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63154     2005   INTL    1HTMMAAN05H681634   4300      UT      Salt Lake City
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63155     2005   INTL    1HTMMAAN35H119565   4300      TX      Fort Worth
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63156     2005   INTL    1HTMMAAN05H118468   4300      TX      Houston
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63158     2005   INTL    1HTMMAAN65H119575   4300      IL      Wheeling
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63159     2009   FRGHT   1FVACXDT59HAK7435   M2        VA      Manassas
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63161     2006   INTL    1HTMMAAL56H302093   4300      IL      Wheeling
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63162     2006   INTL    1HTMMAAL76H302094   4300      IL      Montgomery
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63165     2006   INTL    1HTMMAAL26H302097   4300      TN      Memphis
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY63166     2007   INTL    1HTMMAAL47H444341   4300      UT      Salt Lake City
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82519     1999   FRGHT   1FV6HLAA7XHB01166   FL70      PA      Dunmore
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82525     2000   INTL    1HTSDAAN7YH219129   4900      NY      Maybrook
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82553     2000   INTL    1HTSDAAN71H314666   4900      TX      Corpus Christi
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82555     2000   INTL    1HTSDAAN51H374056   4900      HI      Waipahu
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82564     2000   INTL    1HTMKAAN62H527088   4900      PA      McKees Rocks
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82576     2003   INTL    1HTMMAAN84H606887   4300      TX      San Antonio
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82578     2004   INTL    1HTMMAANX4H606891   4300      GA      Conley
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82582     2003   FRGHT   1FVABTAK83HM09065   FL70      PA      Bethlehem
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82584     2002   INTL    1HTMMAAN13H568787   4300      PA      Carlisle
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82588     2005   INTL    1HTMMAAN85H698374   4300      NY      Mount Vernon
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82592     2005   INTL    1HTMMAAN25H119573   4300      TX      Fort Worth
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82594     2005   INTL    1HTMMAAN05H119538   4300      OK      Tulsa
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82597     2005   INTL    1HTMMAAN75H118466   4300      NY      Maybrook
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82599     2009   FRGHT   1FVACXDT39HAK7434   M2        PA      McKees Rocks
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82600     2007   INTL    1HTMMAAN86H181304   4300      MA      North Reading
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82601     2007   INTL    1HTMMAAN26H175322   4300      OH      Richfield
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82602     2007   INTL    1HTMMAAN26H181282   4300      NY      Mount Vernon
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82605     2007   INTL    1HTMMAAN36H206531   4300      NJ      Carlstadt
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82606     2007   INTL    1HTMMAAN66H181303   4300      MD      Landover
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82607     2006   INTL    1HTMMAAN06H206518   4300      NJ      South Plainfield
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82608     2005   INTL    1HTMMAAN15H164052   4300      NY      Deer Park
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82609     2008   FRGHT   1FVACXDT98HZ34796   ISB       PA      Carlisle
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82611     2007   INTL    1HTMMAAN36H181310   4300      PA      Carlisle
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82612     2007   INTL    1HTMMAAN56H181311   4300      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82613     2007   INTL    1HTMMAANX6H193180   4300      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82615     2007   INTL    1HTMMAAN46H206523   4300      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82616     2007   INTL    1HTMMAAN06H290744   4300      IL      Chicago Heights
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82617     2007   INTL    1HTMMAAN17H375920   4300      IL      Wheeling
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82619     2007   INTL    1HTMMAAN97H486294   4300      GA      Conley
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82620     2006   INTL    1HTMMAAN16H208858   4300      NJ      Kearny
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82621     2006   INTL    1HTMMAAN76H211943   4300      NJ      Kearny
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82622     2006   INTL    1HTMMAAN96H211944   4300      NJ      Carlstadt
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82623     2006   INTL    1HTMMAAN76H211957   4300      NJ      Kearny
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82625     2006   INTL    1HTMMAAN86H211966   4300      NY      Mount Vernon
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82626     2006   INTL    1HTMMAAN26H211980   4300      IL      Wheeling
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82627     2006   INTL    1HTMMAAN46H211981   4300      NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82628     2006   INTL    1HTMMAANX6H213265   4300      NJ      Carlstadt
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82629     2006   INTL    1HTMMAAN36H213267   4300      MA      North Reading
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82630     2006   INTL    1HTMMAAN56H213268   4300      PA      Carlisle
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82632     2006   INTL    1HTMMAAN66H299514   4300      VA      Richmond
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82633     2006   FRGHT   1FAVCXCS46HV63648   ISB       MD      Baltimore
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82634     2006   INTL    1HTMMAAN76H223896   4300      NJ      Carlstadt
                    Case 23-11069-CTG                Doc 969-1          Filed 10/26/23       Page 364 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82635     2009   FRGHT   1FVACXDT89HAE4869   M2        WA      Seattle
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82636     2009   FRGHT   1FVACXDT49HAE4870   M2        WA      Seattle
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82637     2009   FRGHT   1FVACXDT69HAE4871   M2        WA      Seattle
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82638     2009   FRGHT   1FVACXDT89HAE4872   M2        WA      Everett
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82639     2009   FRGHT   1FVACXDT19HAE4874   M2        TN      Nashville
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82640     2009   FRGHT   1FVACXDT59HAE4876   M2        MI      Taylor
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82641     2016   KNWRT   3BKHHM7X4GF110749   KWT370    IL      Chicago Heights
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82642     2016   KNWRT   3BKHHM7X0GF110750   KWT370    IL      Chicago Heights
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82643     2016   KNWRT   3BKHHM7X7GF110731   KWT370    NJ      Hamilton
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82644     2016   KNWRT   3BKHHM7X9GF110732   KWT370    NJ      Hamilton
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82645     2016   KNWRT   3BKHHM7X0GF110733   KWT370    NY      Deer Park
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82646     2016   KNWRT   3BKHHM7X2GF110734   KWT370    NY      Mount Vernon
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82647     2016   KNWRT   3BKHHM7X4GF110735   KWT370    NY      Mount Vernon
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82648     2016   KNWRT   3BKHHM7X6GF110736   KWT370    MD      Baltimore
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82649     2016   KNWRT   3BKHHM7X8GF110737   KWT370    MD      Landover
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82650     2016   KNWRT   3BKHHM7XXGF110738   KWT370    NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82651     2016   KNWRT   3BKHHM7X1GF110739   KWT370    NY      Brooklyn
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82652     2016   KNWRT   3BKHHM7X8GF110740   KWT370    CA      San Diego
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82653     2016   KNWRT   3BKHHM7XXGF110741   KWT370    CA      Brisbane
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82654     2016   KNWRT   3BKHHM7X1GF110742   KWT370    CA      Brisbane
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82655     2016   KNWRT   3BKHHM7X3GF110743   KWT370    OH      Richfield
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82656     2016   KNWRT   3BKHHM7X5GF110744   KWT370    MO      Kansas City
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82657     2016   KNWRT   3BKHHM7X7GF110745   KWT370    GA      Conley
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82658     2016   KNWRT   3BKHHM7X9GF110746   KWT370    CA      Pico Rivera
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82659     2016   KNWRT   3BKHHM7X0GF110747   KWT370    CA      Sun Valley
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82660     2016   KNWRT   3BKHHM7X2GF110748   KWT370    MN      Duluth
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82661     2013   FRGHT   1FVACXDT8DDBU8363   M2        HI      Waipahu
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82662     2013   FRGHT   1FVACXDT5DDBU8367   M2        HI      Waipahu
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82663     2018   PTRBL   2NP2HM7XXJM491931   337       NY      Maybrook
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82664     2018   PTRBL   2NP2HM7X1JM491932   337       NY      Deer Park
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82665     2018   PTRBL   2NP2HM7X3JM491933   337       PA      Bensalem
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82666     2018   PTRBL   2NP2HM7X5JM491934   337       NJ      Millville
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82667     2018   PTRBL   2NP2HM7X7JM491935   337       VA      Richmond
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82668     2018   PTRBL   2NP2HM7X9JM491936   337       DE      New Castle
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82669     2018   PTRBL   2NP2HM7X0JM491937   337       TX      Dallas
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82670     2018   PTRBL   2NP2HM7X2JM491938   337       GA      Marietta
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82671     2018   PTRBL   2NP2HM7X4JM491939   337       GA      Marietta
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82672     2018   PTRBL   2NP2HM7X0JM491940   337       GA      Marietta
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82673     2018   PTRBL   2NP2HM7X2JM491941   337       TX      Dallas
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82674     2018   PTRBL   2NP2HM7X4JM491942   337       GA      Jefferson
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82675     2018   PTRBL   2NP2HM7X6JM491943   337       TX      Houston
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82676     2018   PTRBL   2NP2HM7X6KM491944   337       TX      Irving
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82677     2018   PTRBL   2NP2HM7XXJM491945   337       TX      Fort Worth
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82678     2018   PTRBL   2NP2HM7X1JM491946   337       NC      Charlotte
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82679     2018   PTRBL   2NP2HM7X3JM491947   337       NC      Charlotte
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82681     2018   PTRBL   2NP2HM7X7JM491949   337       CA      Sun Valley
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82682     2018   PTRBL   2NP2HM7X3JM491950   337       GA      Savannah
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82683     2018   PTRBL   2NP2HM7X5JM491951   337       CA      Santa Rosa
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82684     2018   PTRBL   2NP2HM7X5KM491952   337       CA      Bloomington
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82685     2018   PTRBL   2NP2HM7X7KM491953   337       CA      Bloomington
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82686     2018   PTRBL   2NP2HM7X9KM491954   337       WA      Tacoma
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82687     2018   PTRBL   2NP2HM7X0KM491955   337       UT      Salt Lake City
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82688     2018   PTRBL   2NP2HM7X4JM497031   337       IL      Chicago Heights
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82689     2018   PTRBL   2NP2HM7X6JM497032   337       VA      Manassas
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82690     2019   PTRBL   2NP2HM7X8JM497033   337       HI      Waipahu
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82691     2018   PTRBL   2NP2HM7XXJM497034   337       CA      Pico Rivera
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82695     2019   PTRBL   2NP2HM7X5KM497038   337       NY      Maybrook
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82696     2019   PTRBL   2NP2HM7X7KM497039   337       LA      New Orleans
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82697     2019   PTRBL   2NP2HM7X3KM497040   337       NJ      Hamilton
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82698     2019   PTRBL   2NP2HM7X5KM497041   337       SC      North Charleston
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82699     2019   PTRBL   2NP2HM7X7KM497042   337       GA      Marietta
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82700     2019   PTRBL   2NP2HM7X9KM497043   337       MD      Landover
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82701     2019   PTRBL   2NP2HM7X0KM497044   337       MO      Kansas City
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82702     2019   PTRBL   2NP2HM7X2KM497045   337       MN      Burnsville
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82703     2019   PTRBL   2NP2HM7X4KM497046   337       TN      Nashville
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82704     2019   PTRBL   2NP2HM7X6KM497047   337       NJ      Carlstadt
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82705     2019   PTRBL   2NP2HM7X8KM497048   337       PA      McKees Rocks
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82706     2019   PTRBL   2NP2HM7XXKM497049   337       IN      Indianapolis
 YRCF     STRAIGHT/ BOX TRUCK   CTK     RDWY82707     2019   PTRBL   2NP2HM7X6KM497050   337       WI      Oak Creek
                    Case 23-11069-CTG                 Doc 969-1        Filed 10/26/23           Page 365 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1                 Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82708    2019   PTRBL   2NP2HM7X8KM497051   337           SC      North Charleston
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82709    2019   PTRBL   2NP2HM7XXKM497052   337           WI      Eau Claire
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82710    2019   PTRBL   2NP2HM7X1KM497053   337           TX      El Paso
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82711    2019   PTRBL   2NP2HM7X3KM497054   337           TX      San Antonio
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82712    2019   PTRBL   2NP2HM7X5KM497055   337           TN      Knoxville
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82713    2019   PTRBL   2NP2HM7X7KM497056   337           IL      Chicago Heights
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82714    2019   INTL    1HTMMMMN4KH122483   4300          NJ      Kearny
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82715    2019   INTL    1HTMMMMN3KH122491   4300          MA      North Reading
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82716    2019   INTL    1HTMMMMN8KH122888   4300          LA      New Orleans
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82717    2019   INTL    1HTMMMMN7KH123255   4300          TX      Irving
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82719    2019   INTL    1HTMMMMN7KH124034   4300          IL      Montgomery
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82720    2019   INTL    1HTMMMMN7KH414533   4300          CA      Orange
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82721    2019   INTL    1HTMMMMN0KH414101   4300          CA      Tracy
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82722    2019   INTL    1HTMMMMN6KH412918   4300          CA      Gardena
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82726    2016   FRGHT   3ALACXDT4GDHS7711   M2            OH      Richfield
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82727    2016   FRGHT   3ALACXDT6GDHS7712   M2            OH      Richfield
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82728    2012   FRGHT   1FVACXDTXBHBB1140   M2            NY      Plainview
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82729    2012   HINO    5PVNV8JV0C4S52084   338           NY      Plainview
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82730    2011   FRGHT   1FVACXDT6CDBM6951   M2            TX      Houston
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82731    2015   FRGHT   1FVACXDT2CDBU4372   M2            NY      Mount Vernon
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82732    2012   FRGHT   1FVACXDT4CDBU4373   M2            WA      Seattle
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82733    2012   FRGHT   1FVACXDT6CDBU4374   M2            WA      Everett
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82734    2012   FRGHT   1FVACXDT8CDBU4375   M2            FL      Jacksonville
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82735    2012   FRGHT   1FVACXDTXCDBU4376   M2            MD      Hagerstown
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82736    2012   FRGHT   1FVACXDTXCDBU9514   M2            TN      Memphis
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82737    2012   FRGHT   1FVACXDT9CDBU9522   M2            GA      Marietta
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82738    2012   FRGHT   1FVACXDT9CDBU9536   M2            TX      Houston
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82739    2014   FRGHT   1FVACXDT4CDBV1744   M2            CA      Gardena
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82740    2012   FRGHT   1FVACXDT8EHFR8427   M2            NJ      South Plainfield
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82741    2012   FRGHT   3ALACXDT3FDGA6498   M2            NJ      Kearny
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82742    2012   FRGHT   1FVACXDT0CDBK1768   M2            NY      Elmira
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82743    2012   FRGHT   1FVACXDT1CDBJ7521   M2            TX      Houston
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82744    2012   FRGHT   1FVACXDT7CDBU0947   M2            AR      Little Rock
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82745    2012   FRGHT   1FVACXDTXDDBU8235   M2            TX      Irving
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82746    2013   FRGHT   1FVACXDT2DHFF4367   M2            PA      Bensalem
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82747    2013   FRGHT   1FVACXDT6DHFF4369   M2            VA      Fishersville
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82748    2014   FRGHT   3ALACXDT2EDFS1672   M2            FL      Miami
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82749    2014   FRGHT   3ALACXDT8EDFS1742   M2            IN      Indianapolis
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82750    2014   FRGHT   3ALACXDT4EDFV8593   M2            CA      Pico Rivera
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82751    2014   FRGHT   3ALACXDT6EDFY1809   M2            IL      Wheeling
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82752    2014   FRGHT   3ALACXDT2EDFY1810   M2            PA      McKees Rocks
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82753    2015   FRGHT   3ALACXDT5FDGB6787   M2            NY      Mount Vernon
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82754    2013   FRGHT   1FVACXDT4DHFF4368   M2            NY      Plattsburgh
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82755    2013   HINO    5PVNV8JVXD4S52904   M2            MD      Landover
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82756    2013   HINO    5PVNV8JV7D4S52908   M2            MA      North Reading
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82796    2005   INTL    1HTMMAANX5H118770   4300          TX      Houston
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82797    2004   INTL    1HTMMAAL84H601395   4300          TX      Houston
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82843    2013   PTRBL   2NP2HN7X8DM211823   337           TX      Houston
 YRCF     STRAIGHT/ BOX TRUCK   CTK      RDWY82844    2009   INTL    1HTMMAAN19H100602   4300          TN      Knoxville
 YRCF     CITY TRAILER          CTL‐SA   RDWY31902    2005   GRTDN   1GRAA64145D410944   32' DRY VAN   PA      Bensalem
 YRCF     CITY TRAILER          CTL‐SA   RDWY31903    2005   GRTDN   1GRAA64165D410945   32' DRY VAN   IL      Wheeling
 YRCF     CITY TRAILER          CTL‐SA   RDWY31904    2005   GRTDN   1GRAA64185D410946   32' DRY VAN   PA      Bensalem
 YRCF     CITY TRAILER          CTL‐SA   RDWY31905    2005   GRTDN   1GRAA641X5D410947   32' DRY VAN   MD      Landover
 YRCF     CITY TRAILER          CTL‐SA   RDWY700000   2001   WABSH   1JJF362W81S727888   FB            HI      Waipahu
 YRCF     CITY TRAILER          CTL‐SA   RDWY710000   2003   WABSH   1JJV281W13L834550   DVDBHPC       MI      Taylor
 YRCF     CITY TRAILER          CTL‐SA   RDWY720000   2008   WABSH   1JJV281WX8L109942   VARIOUS       OH      Columbus
 YRCF     CITY TRAILER          CTL‐SA   RDWY720001   2009   WABSH   1JJV281W99L286161                 IN      Indianapolis
 YRCF     CITY TRAILER          CTL‐SA   RDWY720002   2008   WABSH   1JJV281W28L109479                 NC      Charlotte
 YRCF     CITY TRAILER          CTL‐SA   RDWY720003   2008   WABSH   1JJV281W48L108818                 MO      Kansas City
 YRCF     CITY TRAILER          CTL‐SA   RDWY730005   2006   WABSH   1JJV281W26L986941   1JJV          NY      Glenmont
 YRCF     CITY TRAILER          CTL‐SA   RDWY730020   2007   WABSH   1JJV281W17L988388                 AZ      Flagstaff
 YRCF     CITY TRAILER          CTL‐SA   RDWY730029   1992   STRCK   1S11E8283ND342706   S4280E98NF    CA      Orange
 YRCF     CITY TRAILER          CTL‐SA   RDWY730033   2009   WABSH   1JJV281W99L286063                 IL      Wheeling
 YRCF     CITY TRAILER          CTL‐SA   RDWY730034   2007   WABSH   1JJV281W77L050735                 CA      Sacramento
 YRCF     CITY TRAILER          CTL‐SA   RDWY730035   2008   WABSH   1JJV281W08L109819                 IN      Indianapolis
 YRCF     CITY TRAILER          CTL‐SA   RDWY730046   1995   PINES   1PNK281SXSKB65492   UNKNOWN       CA      Gardena
 YRCF     CITY TRAILER          CTL‐SA   RDWY730055   1998   FRUHF   1JJV281F4WF456386   UNKNOWN       GA      Marietta
 YRCF     CITY TRAILER          CTL‐SA   RDWY730056   1998   FRUHF   1JJV281F5WF456526   UNKNOWN       GA      Marietta
 YRCF     CITY TRAILER          CTL‐SA   RDWY730064   1999   DORSY   1DTV91C10XA275787   USFDUGAN      UT      Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 366 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     CITY TRAILER     CTL‐SA   RDWY730081   1999   FRUHF   1JJV281F7XF540218   S4280E98NF   NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐SA   RDWY730082   1998   FRUHF   1JJV281F0WF456031   S4280E98NF   CO      Colorado Springs
 YRCF     CITY TRAILER     CTL‐SA   RDWY730085   1998   FRUHF   1JJV281F6WF456082   UNKNOWN      CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY730086   1998   FRUHF   1JJV281F7WF456611   UNKNOWN      CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐SA   RDWY730087   1999   FRUHF   1JJV281F8XF539935   UNKNOWN      CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐SA   RDWY730088   1999   FRUHF   1JJV281F8XF540292   UNKNOWN      OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐SA   RDWY730090   1998   FRUHF   1JJV281F7WF456673   UNKNOWN      TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐SA   RDWY730091   1998   FRUHF   1JJV281F4WF456405   UNKNOWN      TX      Austin
 YRCF     CITY TRAILER     CTL‐SA   RDWY730093   1999   FRUHF   1JJV281F5XF540881   UNKNOWN      NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐SA   RDWY730096   1999   FRUHF   1JJV281F0XF539895   UNKNOWN      LA      Port Allen
 YRCF     CITY TRAILER     CTL‐SA   RDWY730099   2007   WABSH   1JJV281W27L050738                CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY730100   2009   WABSH   1JJV281W29L286020                OH      Columbus
 YRCF     CITY TRAILER     CTL‐SA   RDWY730101   2008   WABSH   1JJV281W78L108814                MD      Hagerstown
 YRCF     CITY TRAILER     CTL‐SA   RDWY730102   2003   GRTDN   1GRAA56183K246677   P‐SERIES     DE      New Castle
 YRCF     CITY TRAILER     CTL‐SA   RDWY730104   2006   WABSH   1JJV281W16L988051                PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐SA   RDWY730105   2008   WABSH   1JJV281W68L109033                PA      Carlisle
 YRCF     CITY TRAILER     CTL‐SA   RDWY730106   2008   WABSH   1JJV281W28L108896                OR      Portland
 YRCF     CITY TRAILER     CTL‐SA   RDWY730107   2008   WABSH   1JJV281W78L109462                IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐SA   RDWY730108   2009   WABSH   1JJV281W79L286238                OK      Tulsa
 YRCF     CITY TRAILER     CTL‐SA   RDWY730109   2004   WABSH   1JJV281W84L900318   N/A          PA      Mountain Top
 YRCF     CITY TRAILER     CTL‐SA   RDWY730110   2009   WABSH   1JJV281W09L286274                AR      Little Rock
 YRCF     CITY TRAILER     CTL‐SA   RDWY730111   2004   WABSH   1JJV281W74L883642   N/A          TN      Knoxville
 YRCF     CITY TRAILER     CTL‐SA   RDWY730112   2005   GRTDN   1GRAA56175K270682                MT      Missoula
 YRCF     CITY TRAILER     CTL‐SA   RDWY730113   2008   WABSH   1JJV281W68L108819                SC      Florence
 YRCF     CITY TRAILER     CTL‐SA   RDWY730115   2009   WABSH   1JJV281W59L285914                MI      Wyoming
 YRCF     CITY TRAILER     CTL‐SA   RDWY730116   2008   WABSH   1JJV281W08L109352                FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY730117   2004   GRTDN   1GRAA561X4K257701                NY      Maybrook
 YRCF     CITY TRAILER     CTL‐SA   RDWY730118   2007   WABSH   1JJV281W17L046048                NE      Omaha
 YRCF     CITY TRAILER     CTL‐SA   RDWY730119   2004   WABSH   1JJV281W24L883600   N/A          AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐SA   RDWY730120   2007   WABSH   1JJV281W07L050883                NC      Charlotte
 YRCF     CITY TRAILER     CTL‐SA   RDWY730121   2008   WABSH   1JJV281W88L109020                NC      Charlotte
 YRCF     CITY TRAILER     CTL‐SA   RDWY730122   2008   WABSH   1JJV281W78L109915                MI      Pontiac
 YRCF     CITY TRAILER     CTL‐SA   RDWY730123   2009   WABSH   1JJV281W19L286204                AR      Springdale
 YRCF     CITY TRAILER     CTL‐SA   RDWY730124   2009   WABSH   1JJV281W39L286155                IN      South Bend
 YRCF     CITY TRAILER     CTL‐SA   RDWY730125   2006   WABSH   1JJV281W16L988132                TN      Knoxville
 YRCF     CITY TRAILER     CTL‐SA   RDWY730126   2008   WABSH   1JJV281W38L109653                KS      Wichita
 YRCF     CITY TRAILER     CTL‐SA   RDWY730127   2009   WABSH   1JJV281W19L286218                MO      Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY730128   2009   WABSH   1JJV281W79L285865                MT      Great Falls
 YRCF     CITY TRAILER     CTL‐SA   RDWY730129   2006   WABSH   1JJV281W36L958307                PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐SA   RDWY730130   2003   GRTDN   1GRAA56103K246608   P‐SERIES     RI      Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY730131   2009   WABSH   1JJV281W39L286172                WY      Evansville
 YRCF     CITY TRAILER     CTL‐SA   RDWY730132   2008   WABSH   1JJV281W98L109138                OH      Columbus
 YRCF     CITY TRAILER     CTL‐SA   RDWY730134   2006   WABSH   1JJV281WX6L986802   1JJV         RI      Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY730135   2008   WABSH   1JJV281W28L108851                OH      Richfield
 YRCF     CITY TRAILER     CTL‐SA   RDWY730136   2008   WABSH   1JJV281W58L109248                IN      Evansville
 YRCF     CITY TRAILER     CTL‐SA   RDWY730137   2009   WABSH   1JJV281WX9L286234                IL      Bolingbrook
 YRCF     CITY TRAILER     CTL‐SA   RDWY730138   2008   WABSH   1JJV281W08L109741                NV      Sparks
 YRCF     CITY TRAILER     CTL‐SA   RDWY730139   2009   WABSH   1JJV281W99L285883                IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐SA   RDWY730140   2008   WABSH   1JJV281W48L109323                WA      Tacoma
 YRCF     CITY TRAILER     CTL‐SA   RDWY730141   2008   WABSH   1JJV281W38L109345                OR      Portland
 YRCF     CITY TRAILER     CTL‐SA   RDWY730143   2008   WABSH   1JJV281W38L109314                MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY730144   2009   WABSH   1JJV281W29L286003                IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐SA   RDWY730146   2007   WABSH   1JJV281W07L050737                VA      Manassas
 YRCF     CITY TRAILER     CTL‐SA   RDWY730147   2007   WABSH   1JJV281W77L046006                OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐SA   RDWY730148   2009   GRTDN   1GRAP561X9K208956                OR      Roseburg
 YRCF     CITY TRAILER     CTL‐SA   RDWY730150   2004   WABSH   1JJV281W74L870776   N/A          SC      Columbia
 YRCF     CITY TRAILER     CTL‐SA   RDWY730151   2008   WABSH   1JJV281W28L109482                IL      Wheeling
 YRCF     CITY TRAILER     CTL‐SA   RDWY730152   2008   WABSH   1JJV281W38L108941                MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐SA   RDWY730153   2014   STGHT   1DW1A2810EB457519                FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY730154   2014   STGHT   1DW1A2818EB458112                WA      Pasco
 YRCF     CITY TRAILER     CTL‐SA   RDWY730155   2008   WABSH   1JJV281W58L109332                AZ      Tucson
 YRCF     CITY TRAILER     CTL‐SA   RDWY730156   2008   WABSH   1JJV281W68L109436                NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐SA   RDWY730157   2014   STGHT   1DW1A281XEB458127                TX      Sherman
 YRCF     CITY TRAILER     CTL‐SA   RDWY730158   2014   STGHT   1DW1A2816EB458321                CA      San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY730159   2017   WABSH   1JJV281D2HL986097                PA      Carlisle
 YRCF     CITY TRAILER     CTL‐SA   RDWY730160   2017   WABSH   1JJV281D7HL987228                NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐SA   RDWY730162   2007   WABSH   1JJV281W97L988476                TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐SA   RDWY730163   2007   WABSH   1JJV281W87L988534                TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐SA   RDWY730164   2016   WABSH   1JJV281D0GL905936                NJ      Hamilton
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 367 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     CITY TRAILER     CTL‐SA   RDWY730165   2016   WABSH   1JJV281D2GL906196                VA      Roanoke
 YRCF     CITY TRAILER     CTL‐SA   RDWY730166   2015   STGHT   1DW1A2814FS620772                UT      St. George
 YRCF     CITY TRAILER     CTL‐SA   RDWY730168   2015   STGHT   1DW1A281XFS620517                CT      Cheshire
 YRCF     CITY TRAILER     CTL‐SA   RDWY730226   2006   WABSH   1JJV281W06L986775   1JJV         IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐SA   RDWY810005   2009   WABSH   1JJV401W89L284980                PA      Carlisle
 YRCF     CITY TRAILER     CTL‐SA   RDWY810006   2009   WABSH   1JJV401WX9L284981                OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐SA   RDWY810007   2009   WABSH   1JJV401W19L284982                OH      Richfield
 YRCF     CITY TRAILER     CTL‐SA   RDWY810008   2009   WABSH   1JJV401W39L284983                MD      Landover
 YRCF     CITY TRAILER     CTL‐SA   RDWY810009   2009   WABSH   1JJV401W59L284984                PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐SA   RDWY810010   2009   WABSH   1JJV401W79L284985                MI      Taylor
 YRCF     CITY TRAILER     CTL‐SA   RDWY810011   2009   WABSH   1JJV401W99L284986                NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐SA   RDWY810012   2009   WABSH   1JJV401W09L284987                NJ      Millville
 YRCF     CITY TRAILER     CTL‐SA   RDWY820686   2016   WABSH   1JJV401DXGL957196   DVCVHPC      NC      Kernersville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821144   2009   WABSH   1JJV401W29L284988                GA      La Grange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821145   2009   WABSH   1JJV401W49L284989                DE      New Castle
 YRCF     CITY TRAILER     CTL‐SA   RDWY821146   2009   WABSH   1JJV401W09L284990                TX      Austin
 YRCF     CITY TRAILER     CTL‐SA   RDWY821147   2009   WABSH   1JJV401W29L284991                AL      Birmingham
 YRCF     CITY TRAILER     CTL‐SA   RDWY821148   2009   WABSH   1JJV401W49L284992                IL      Montgomery
 YRCF     CITY TRAILER     CTL‐SA   RDWY821149   2009   WABSH   1JJV401W69L284993                TN      Nashville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821150   2009   WABSH   1JJV401W89L284994                IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐SA   RDWY821151   2009   WABSH   1JJV401WX9L284995                MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐SA   RDWY821152   2009   WABSH   1JJV401W19L284996                OH      Columbus
 YRCF     CITY TRAILER     CTL‐SA   RDWY821153   2009   WABSH   1JJV401W39L284997                OH      Columbus
 YRCF     CITY TRAILER     CTL‐SA   RDWY821154   2009   WABSH   1JJV401W59L284998                OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐SA   RDWY821155   2009   WABSH   1JJV401W79L284999                TX      Dallas
 YRCF     CITY TRAILER     CTL‐SA   RDWY821156   2009   WABSH   1JJV401W89L285000                TX      Dallas
 YRCF     CITY TRAILER     CTL‐SA   RDWY821157   2009   WABSH   1JJV401WX9L285001                MI      Pontiac
 YRCF     CITY TRAILER     CTL‐SA   RDWY821158   2009   WABSH   1JJV401W19L285002                PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐SA   RDWY821159   2009   WABSH   1JJV401W39L285003                MI      Pontiac
 YRCF     CITY TRAILER     CTL‐SA   RDWY821160   2009   WABSH   1JJV401W59L285004                OH      Dayton
 YRCF     CITY TRAILER     CTL‐SA   RDWY821161   2009   WABSH   1JJV401W79L285005                FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐SA   RDWY821163   2009   WABSH   1JJV401W09L285007                CO      Henderson
 YRCF     CITY TRAILER     CTL‐SA   RDWY821164   2009   WABSH   1JJV401W29L285008                MI      Wyoming
 YRCF     CITY TRAILER     CTL‐SA   RDWY821166   2009   WABSH   1JJV401W09L285010                AL      Mobile
 YRCF     CITY TRAILER     CTL‐SA   RDWY821167   2009   WABSH   1JJV401W29L285011                MD      Hagerstown
 YRCF     CITY TRAILER     CTL‐SA   RDWY821170   2009   WABSH   1JJV401W89L285014                MO      Columbia
 YRCF     CITY TRAILER     CTL‐SA   RDWY821171   2009   WABSH   1JJV401WX9L285015                MS      Richland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821172   2009   WABSH   1JJV401W19L285016                CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY821173   2009   WABSH   1JJV401W39L285017                PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐SA   RDWY821174   2009   WABSH   1JJV401W59L285018                AR      Little Rock
 YRCF     CITY TRAILER     CTL‐SA   RDWY821175   2009   WABSH   1JJV401W79L285019                IN      Jeffersonville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821176   2009   WABSH   1JJV401W39L285020                NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐SA   RDWY821177   2009   WABSH   1JJV401W59L285021                RI      Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821180   2009   WABSH   1JJV401W09L285024                WI      Madison
 YRCF     CITY TRAILER     CTL‐SA   RDWY821181   2009   WABSH   1JJV401W29L285025                AZ      Tucson
 YRCF     CITY TRAILER     CTL‐SA   RDWY821182   2009   WABSH   1JJV401W49L285026                WI      Madison
 YRCF     CITY TRAILER     CTL‐SA   RDWY821183   2009   WABSH   1JJV401W69L285027                CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY821185   2009   WABSH   1JJV401WX9L285029                GA      La Grange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821186   2009   WABSH   1JJV401W69L285030                VA      Manassas
 YRCF     CITY TRAILER     CTL‐SA   RDWY821187   2009   WABSH   1JJV401W89L285031                PA      Carlisle
 YRCF     CITY TRAILER     CTL‐SA   RDWY821188   2009   WABSH   1JJV401WX9L285032                VA      Chesapeake
 YRCF     CITY TRAILER     CTL‐SA   RDWY821189   2009   WABSH   1JJV401W19L285033                TN      Knoxville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821190   2009   WABSH   1JJV401W39L285034                TN      Nashville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821191   2009   WABSH   1JJV401W59L285035                CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY821192   2009   WABSH   1JJV401W79L285036                OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821193   2009   WABSH   1JJV401W99L285037                WA      Tacoma
 YRCF     CITY TRAILER     CTL‐SA   RDWY821195   2009   WABSH   1JJV401W29L285039                CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821196   2009   WABSH   1JJV401W99L285040                CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821197   2009   WABSH   1JJV401W09L285041                CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821198   2009   WABSH   1JJV401W29L285042                CA      Ventura
 YRCF     CITY TRAILER     CTL‐SA   RDWY821199   2009   WABSH   1JJV401W49L285043                CA      Ventura
 YRCF     CITY TRAILER     CTL‐SA   RDWY821200   2009   WABSH   1JJV401W69L285044                WA      Pasco
 YRCF     CITY TRAILER     CTL‐SA   RDWY821202   2009   WABSH   1JJV401WX9L285046                OR      Portland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821203   2009   WABSH   1JJV401W19L285047                NC      Durham
 YRCF     CITY TRAILER     CTL‐SA   RDWY821204   2009   WABSH   1JJV401W39L285048                NC      Durham
 YRCF     CITY TRAILER     CTL‐SA   RDWY821205   2009   WABSH   1JJV401W59L285049                DE      Seaford
 YRCF     CITY TRAILER     CTL‐SA   RDWY821206   2009   WABSH   1JJV401W19L285050                CA      Bloomington
 YRCF     CITY TRAILER     CTL‐SA   RDWY821207   2009   WABSH   1JJV401W39L285051                CA      Bakersfield
 YRCF     CITY TRAILER     CTL‐SA   RDWY821208   2009   WABSH   1JJV401W59L285052                CA      San Diego
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 368 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821209   2009   WABSH   1JJV401W79L285053             CA      San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY821210   2009   WABSH   1JJV401W99L285054             CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY821211   2009   WABSH   1JJV401W09L285055             ID      Meridian
 YRCF     CITY TRAILER     CTL‐SA   RDWY821213   2009   WABSH   1JJV401W49L285057             CT      Cheshire
 YRCF     CITY TRAILER     CTL‐SA   RDWY821214   2009   WABSH   1JJV401W69L285058             AL      Montgomery
 YRCF     CITY TRAILER     CTL‐SA   RDWY821216   2009   WABSH   1JJV401W49L285060             MO      Strafford
 YRCF     CITY TRAILER     CTL‐SA   RDWY821217   2009   WABSH   1JJV401W69L285061             MN      Burnsville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821218   2009   WABSH   1JJV401W89L285062             GA      Savannah
 YRCF     CITY TRAILER     CTL‐SA   RDWY821219   2009   WABSH   1JJV401WX9L285063             OH      Richfield
 YRCF     CITY TRAILER     CTL‐SA   RDWY821220   2009   WABSH   1JJV401W19L285064             AZ      Tucson
 YRCF     CITY TRAILER     CTL‐SA   RDWY821221   2009   WABSH   1JJV401W39L285065             OK      Tulsa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821222   2009   WABSH   1JJV401W59L285066             LA      Shreveport
 YRCF     CITY TRAILER     CTL‐SA   RDWY821224   2009   WABSH   1JJV401W99L285068             VA      Richmond
 YRCF     CITY TRAILER     CTL‐SA   RDWY821225   2009   WABSH   1JJV401W09L285069             TN      Kingsport
 YRCF     CITY TRAILER     CTL‐SA   RDWY821227   2009   WABSH   1JJV401W99L285071             TX      Houston
 YRCF     CITY TRAILER     CTL‐SA   RDWY821228   2009   WABSH   1JJV401W09L285072             TX      Houston
 YRCF     CITY TRAILER     CTL‐SA   RDWY821230   2009   WABSH   1JJV401W49L285074             CA      Tracy
 YRCF     CITY TRAILER     CTL‐SA   RDWY821231   2009   WABSH   1JJV401W69L285075             TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐SA   RDWY821232   2009   WABSH   1JJV401W89L285076             AL      Mobile
 YRCF     CITY TRAILER     CTL‐SA   RDWY821233   2009   WABSH   1JJV401WX9L285077             CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY821234   2018   WABSH   1JJV401D4JL086898   DVCVHPC   MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY821235   2018   WABSH   1JJV401D6JL086899   DVCVHPC   MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY821236   2018   WABSH   1JJV401D9JL086900   DVCVHPC   MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY821237   2018   WABSH   1JJV401D0JL086901   DVCVHPC   MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY821238   2018   WABSH   1JJV401D2JL086902   DVCVHPC   MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY821239   2018   WABSH   1JJV401D4JL086903   DVCVHPC   NY      Plattsburgh
 YRCF     CITY TRAILER     CTL‐SA   RDWY821240   2018   WABSH   1JJV401D6JL086904   DVCVHPC   RI      Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821241   2018   WABSH   1JJV401D8JL086905   DVCVHPC   NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY821242   2018   WABSH   1JJV401DXJL086906   DVCVHPC   NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐SA   RDWY821243   2018   WABSH   1JJV401D1JL086907   DVCVHPC   NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐SA   RDWY821244   2018   WABSH   1JJV401D3JL086908   DVCVHPC   NJ      South Plainfield
 YRCF     CITY TRAILER     CTL‐SA   RDWY821245   2018   WABSH   1JJV401D5JL086909   DVCVHPC   NY      Plainview
 YRCF     CITY TRAILER     CTL‐SA   RDWY821246   2018   WABSH   1JJV401D1JL086910   DVCVHPC   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐SA   RDWY821247   2018   WABSH   1JJV401D3JL086911   DVCVHPC   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐SA   RDWY821248   2018   WABSH   1JJV401D5JL086912   DVCVHPC   NH      Bedford
 YRCF     CITY TRAILER     CTL‐SA   RDWY821249   2018   WABSH   1JJV401D7JL086913   DVCVHPC   PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐SA   RDWY821250   2018   WABSH   1JJV401D9JL086914   DVCVHPC   CT      Cheshire
 YRCF     CITY TRAILER     CTL‐SA   RDWY821251   2018   WABSH   1JJV401D0JL086915   DVCVHPC   VA      Manassas
 YRCF     CITY TRAILER     CTL‐SA   RDWY821252   2018   WABSH   1JJV401D2JL086916   DVCVHPC   NY      Mount Vernon
 YRCF     CITY TRAILER     CTL‐SA   RDWY821253   2018   WABSH   1JJV401D4JL086917   DVCVHPC   PA      Bensalem
 YRCF     CITY TRAILER     CTL‐SA   RDWY821254   2018   WABSH   1JJV401D6JL086918   DVCVHPC   PA      Bensalem
 YRCF     CITY TRAILER     CTL‐SA   RDWY821255   2018   WABSH   1JJV401D8JL086919   DVCVHPC   MD      Hagerstown
 YRCF     CITY TRAILER     CTL‐SA   RDWY821256   2018   WABSH   1JJV401D4JL086920   DVCVHPC   MD      Baltimore
 YRCF     CITY TRAILER     CTL‐SA   RDWY821257   2018   WABSH   1JJV401D6JL086921   DVCVHPC   MD      Baltimore
 YRCF     CITY TRAILER     CTL‐SA   RDWY821258   2018   WABSH   1JJV401D8JL086922   DVCVHPC   MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐SA   RDWY821259   2018   WABSH   1JJV401DXJL086923   DVCVHPC   NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐SA   RDWY821260   2018   WABSH   1JJV401D1JL086924   DVCVHPC   NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐SA   RDWY821261   2018   WABSH   1JJV401D3JL086925   DVCVHPC   NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐SA   RDWY821262   2018   WABSH   1JJV401D5JL086926   DVCVHPC   NY      Rochester
 YRCF     CITY TRAILER     CTL‐SA   RDWY821263   2018   WABSH   1JJV401D7JL086927   DVCVHPC   PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐SA   RDWY821264   2018   WABSH   1JJV401D9JL086928   DVCVHPC   OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐SA   RDWY821265   2018   WABSH   1JJV401D0JL086929   DVCVHPC   WV      Bridgeport
 YRCF     CITY TRAILER     CTL‐SA   RDWY821266   2018   WABSH   1JJV401D7JL086930   DVCVHPC   OH      Dayton
 YRCF     CITY TRAILER     CTL‐SA   RDWY821267   2018   WABSH   1JJV401D9JL086931   DVCVHPC   NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐SA   RDWY821268   2018   WABSH   1JJV401D0JL086932   DVCVHPC   NY      Rochester
 YRCF     CITY TRAILER     CTL‐SA   RDWY821269   2018   WABSH   1JJV401D2JL086933   DVCVHPC   MI      Birch Run
 YRCF     CITY TRAILER     CTL‐SA   RDWY821270   2018   WABSH   1JJV401D4JL086934   DVCVHPC   MI      Wyoming
 YRCF     CITY TRAILER     CTL‐SA   RDWY821271   2018   WABSH   1JJV401D6JL086935   DVCVHPC   GA      Jefferson
 YRCF     CITY TRAILER     CTL‐SA   RDWY821272   2018   WABSH   1JJV401D8JL086936   DVCVHPC   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY821273   2018   WABSH   1JJV401DXJL086937   DVCVHPC   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY821274   2018   WABSH   1JJV401D1JL086938   DVCVHPC   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY821275   2018   WABSH   1JJV401D3JL086939   DVCVHPC   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY821276   2018   WABSH   1JJV401DXJL086940   DVCVHPC   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY821277   2018   WABSH   1JJV401D1JL086941   DVCVHPC   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY821278   2018   WABSH   1JJV401D3JL086942   DVCVHPC   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY821279   2018   WABSH   1JJV401D5JL086943   DVCVHPC   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY821280   2018   WABSH   1JJV401D7JL086944   DVCVHPC   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY821281   2018   WABSH   1JJV401D9JL086945   DVCVHPC   AL      Mobile
 YRCF     CITY TRAILER     CTL‐SA   RDWY821282   2018   WABSH   1JJV401D0JL086946   DVCVHPC   TN      Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 369 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821283   2018   WABSH   1JJV401D2JL086947   DVCVHPC   MS      Richland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821284   2019   WABSH   1JJV401D2KL086948   DVCVHPC   TN      Kingsport
 YRCF     CITY TRAILER     CTL‐SA   RDWY821285   2019   WABSH   1JJV401D4KL086949   DVCVHPC   VA      Fishersville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821286   2019   WABSH   1JJV401D0KL086950   DVCVHPC   SC      Piedmont
 YRCF     CITY TRAILER     CTL‐SA   RDWY821287   2019   WABSH   1JJV401D2KL086951   DVCVHPC   GA      Martinez
 YRCF     CITY TRAILER     CTL‐SA   RDWY821288   2019   WABSH   1JJV401D4KL086952   DVCVHPC   SC      North Charleston
 YRCF     CITY TRAILER     CTL‐SA   RDWY821289   2019   WABSH   1JJV401D6KL086953   DVCVHPC   SC      North Charleston
 YRCF     CITY TRAILER     CTL‐SA   RDWY821290   2019   WABSH   1JJV401D8KL086954   DVCVHPC   SC      Florence
 YRCF     CITY TRAILER     CTL‐SA   RDWY821291   2019   WABSH   1JJV401DXKL086955   DVCVHPC   SC      Columbia
 YRCF     CITY TRAILER     CTL‐SA   RDWY821292   2019   WABSH   1JJV401D1KL086956   DVCVHPC   GA      Macon
 YRCF     CITY TRAILER     CTL‐SA   RDWY821293   2019   WABSH   1JJV401D3KL086957   DVCVHPC   GA      Thomasville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821294   2019   WABSH   1JJV401D5KL086958   DVCVHPC   FL      Ocala
 YRCF     CITY TRAILER     CTL‐SA   RDWY821295   2019   WABSH   1JJV401D7KL086959   DVCVHPC   FL      Ocala
 YRCF     CITY TRAILER     CTL‐SA   RDWY821296   2019   WABSH   1JJV401D3KL086960   DVCVHPC   FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐SA   RDWY821297   2019   WABSH   1JJV401D5KL086961   DVCVHPC   FL      Jacksonville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821298   2019   WABSH   1JJV401D7KL086962   DVCVHPC   FL      Jacksonville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821299   2019   WABSH   1JJV401D9KL086963   DVCVHPC   FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐SA   RDWY821300   2019   WABSH   1JJV401D0KL086964   DVCVHPC   FL      Jacksonville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821301   2019   WABSH   1JJV401D2KL086965   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821302   2019   WABSH   1JJV401D4KL086966   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821303   2019   WABSH   1JJV401D6KL086967   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821304   2019   WABSH   1JJV401D8KL086968   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821305   2019   WABSH   1JJV401DXKL086969   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821306   2019   WABSH   1JJV401D6KL086970   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821307   2019   WABSH   1JJV401D8KL086971   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821308   2019   WABSH   1JJV401DXKL086972   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821309   2019   WABSH   1JJV401D1KL086973   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821310   2019   WABSH   1JJV401D3KL086974   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821311   2019   WABSH   1JJV401D5KL086975   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821312   2019   WABSH   1JJV401D7KL086976   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821313   2019   WABSH   1JJV401D9KL086977   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821314   2019   WABSH   1JJV401D0KL086978   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821315   2019   WABSH   1JJV401D2KL086979   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821316   2019   WABSH   1JJV401D9KL086980   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821317   2019   WABSH   1JJV401D0KL086981   DVCVHPC   FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821318   2019   WABSH   1JJV401D2KL086982   DVCVHPC   PA      Bedford
 YRCF     CITY TRAILER     CTL‐SA   RDWY821319   2019   WABSH   1JJV401D4KL086983   DVCVHPC   GA      Thomasville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821320   2019   WABSH   1JJV401D6KL086984   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821321   2019   WABSH   1JJV401D8KL086985   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821322   2019   WABSH   1JJV401DXKL086986   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821323   2019   WABSH   1JJV401D1KL086987   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821324   2019   WABSH   1JJV401D3KL086988   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821325   2019   WABSH   1JJV401D5KL086989   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821326   2019   WABSH   1JJV401D1KL086990   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821327   2019   WABSH   1JJV401D3KL086991   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821328   2019   WABSH   1JJV401D5KL086992   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821329   2019   WABSH   1JJV401D7KL086993   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821330   2019   WABSH   1JJV401D9KL086994   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821331   2019   WABSH   1JJV401D0KL086995   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821332   2019   WABSH   1JJV401D2KL086996   DVCVHPC   GA      Macon
 YRCF     CITY TRAILER     CTL‐SA   RDWY821333   2019   WABSH   1JJV401D4KL086997   DVCVHPC   FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐SA   RDWY821334   2018   HYUND   3H3V401C8JT868001   HY        OH      Richfield
 YRCF     CITY TRAILER     CTL‐SA   RDWY821335   2018   HYUND   3H3V401CXJT868002   HY        KY      Lexington
 YRCF     CITY TRAILER     CTL‐SA   RDWY821336   2018   HYUND   3H3V401C1JT868003   HY        IL      Wheeling
 YRCF     CITY TRAILER     CTL‐SA   RDWY821337   2018   HYUND   3H3V401C3JT868004   HY        IL      Wheeling
 YRCF     CITY TRAILER     CTL‐SA   RDWY821338   2018   HYUND   3H3V401C5JT868005   HY        IL      Wheeling
 YRCF     CITY TRAILER     CTL‐SA   RDWY821340   2018   HYUND   3H3V401C9JT868007   HY        IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐SA   RDWY821341   2018   HYUND   3H3V401C0JT868008   HY        WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐SA   RDWY821342   2018   HYUND   3H3V401C2JT868009   HY        WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐SA   RDWY821343   2018   HYUND   3H3V401C9JT868010   HY        IL      Morton
 YRCF     CITY TRAILER     CTL‐SA   RDWY821345   2018   HYUND   3H3V401C2JT868012   HY        IL      Bolingbrook
 YRCF     CITY TRAILER     CTL‐SA   RDWY821346   2018   HYUND   3H3V401C4JT868013   HY        IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐SA   RDWY821347   2018   HYUND   3H3V401C6JT868014   HY        IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐SA   RDWY821348   2018   HYUND   3H3V401C8JT868015   HY        MO      Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821349   2018   HYUND   3H3V401CXJT868016   HY        MO      Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821350   2018   HYUND   3H3V401C1JT868017   HY        MO      Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821351   2018   HYUND   3H3V401C3JT868018   HY        MO      Strafford
 YRCF     CITY TRAILER     CTL‐SA   RDWY821352   2018   HYUND   3H3V401C5JT868019   HY        IL      Decatur
 YRCF     CITY TRAILER     CTL‐SA   RDWY821353   2018   HYUND   3H3V401C1JT868020   HY        IA      Des Moines
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 370 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821354   2018   HYUND   3H3V401C3JT868021   HY        NE      Omaha
 YRCF     CITY TRAILER     CTL‐SA   RDWY821355   2018   HYUND   3H3V401C5JT868022   HY        NE      Omaha
 YRCF     CITY TRAILER     CTL‐SA   RDWY821357   2018   HYUND   3H3V401C9JT868024   HY        LA      New Orleans
 YRCF     CITY TRAILER     CTL‐SA   RDWY821358   2018   HYUND   3H3V401C0JT868025   HY        LA      Port Allen
 YRCF     CITY TRAILER     CTL‐SA   RDWY821359   2018   HYUND   3H3V401C2JT868026   HY        LA      Port Allen
 YRCF     CITY TRAILER     CTL‐SA   RDWY821360   2018   HYUND   3H3V401C4JT868027   HY        LA      Shreveport
 YRCF     CITY TRAILER     CTL‐SA   RDWY821361   2018   HYUND   3H3V401C6JT868028   HY        TX      Sherman
 YRCF     CITY TRAILER     CTL‐SA   RDWY821362   2018   HYUND   3H3V401C8JT868029   HY        TX      Houston
 YRCF     CITY TRAILER     CTL‐SA   RDWY821363   2018   HYUND   3H3V401C4JT868030   HY        TX      Irving
 YRCF     CITY TRAILER     CTL‐SA   RDWY821364   2018   HYUND   3H3V401C6JT868031   HY        IA      Sioux City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821365   2018   HYUND   3H3V401C8JT868032   HY        OK      Tulsa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821366   2018   HYUND   3H3V401CXJT868033   HY        TX      Lubbock
 YRCF     CITY TRAILER     CTL‐SA   RDWY821367   2018   HYUND   3H3V401C1JT868034   HY        MO      Strafford
 YRCF     CITY TRAILER     CTL‐SA   RDWY821368   2018   HYUND   3H3V401C3JT868035   HY        KS      Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821369   2018   HYUND   3H3V401C5JT868036   HY        TX      San Antonio
 YRCF     CITY TRAILER     CTL‐SA   RDWY821370   2018   HYUND   3H3V401C7JT868037   HY        TX      San Antonio
 YRCF     CITY TRAILER     CTL‐SA   RDWY821371   2018   HYUND   3H3V401C9JT868038   HY        TX      San Antonio
 YRCF     CITY TRAILER     CTL‐SA   RDWY821372   2018   HYUND   3H3V401C0JT868039   HY        TX      McAllen
 YRCF     CITY TRAILER     CTL‐SA   RDWY821373   2018   HYUND   3H3V401C7JT868040   HY        TX      San Antonio
 YRCF     CITY TRAILER     CTL‐SA   RDWY821374   2018   HYUND   3H3V401C9JT868041   HY        ND      Bismarck
 YRCF     CITY TRAILER     CTL‐SA   RDWY821375   2018   HYUND   3H3V401C0JT868042   HY        MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐SA   RDWY821376   2018   HYUND   3H3V401C2JT868043   HY        MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐SA   RDWY821377   2018   HYUND   3H3V401C4JT868044   HY        CA      Ventura
 YRCF     CITY TRAILER     CTL‐SA   RDWY821378   2018   HYUND   3H3V401C6JT868045   HY        CA      Ventura
 YRCF     CITY TRAILER     CTL‐SA   RDWY821379   2018   HYUND   3H3V401C8JT868046   HY        SD      Rapid City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821380   2018   HYUND   3H3V401CXJT868047   HY        MT      Missoula
 YRCF     CITY TRAILER     CTL‐SA   RDWY821381   2018   HYUND   3H3V401C1JT868048   HY        CA      San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY821382   2018   HYUND   3H3V401C3JT868049   HY        CA      San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY821383   2018   HYUND   3H3V401CXJT868050   HY        WA      Seattle
 YRCF     CITY TRAILER     CTL‐SA   RDWY821384   2018   HYUND   3H3V401C1JT868051   HY        WA      Seattle
 YRCF     CITY TRAILER     CTL‐SA   RDWY821385   2018   HYUND   3H3V401C3JT868052   HY        NC      Charlotte
 YRCF     CITY TRAILER     CTL‐SA   RDWY821386   2018   HYUND   3H3V401C5JT868053   HY        CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐SA   RDWY821387   2018   HYUND   3H3V401C7JT868054   HY        CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐SA   RDWY821388   2018   HYUND   3H3V401C9JT868055   HY        CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐SA   RDWY821389   2018   HYUND   3H3V401C0JT868056   HY        NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐SA   RDWY821390   2018   HYUND   3H3V401C2JT868057   HY        NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐SA   RDWY821391   2018   HYUND   3H3V401C4JT868058   HY        CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐SA   RDWY821392   2018   HYUND   3H3V401C6JT868059   HY        CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐SA   RDWY821393   2018   HYUND   3H3V401C2JT868060   HY        CA      Tracy
 YRCF     CITY TRAILER     CTL‐SA   RDWY821394   2018   HYUND   3H3V401C4JT868061   HY        CA      San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY821395   2018   HYUND   3H3V401C6JT868062   HY        CA      San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY821396   2018   HYUND   3H3V401C8JT868063   HY        CA      Tracy
 YRCF     CITY TRAILER     CTL‐SA   RDWY821397   2018   HYUND   3H3V401CXJT868064   HY        CA      Sacramento
 YRCF     CITY TRAILER     CTL‐SA   RDWY821398   2018   HYUND   3H3V401C1JT868065   HY        CA      Sacramento
 YRCF     CITY TRAILER     CTL‐SA   RDWY821399   2018   HYUND   3H3V401C3JT868066   HY        CA      Sacramento
 YRCF     CITY TRAILER     CTL‐SA   RDWY821400   2018   HYUND   3H3V401C5JT868067   HY        CA      Sacramento
 YRCF     CITY TRAILER     CTL‐SA   RDWY821401   2018   HYUND   3H3V401C7JT868068   HY        NV      Sparks
 YRCF     CITY TRAILER     CTL‐SA   RDWY821402   2018   HYUND   3H3V401C9JT868069   HY        CA      Tracy
 YRCF     CITY TRAILER     CTL‐SA   RDWY821405   2018   HYUND   3H3V401C9JT868072   HY        NV      Sparks
 YRCF     CITY TRAILER     CTL‐SA   RDWY821406   2018   HYUND   3H3V401C0JT868073   HY        CA      Bloomington
 YRCF     CITY TRAILER     CTL‐SA   RDWY821408   2018   HYUND   3H3V401C4JT868075   HY        AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐SA   RDWY821409   2018   HYUND   3H3V401C6JT868076   HY        AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐SA   RDWY821410   2018   HYUND   3H3V401C8JT868077   HY        CA      Gardena
 YRCF     CITY TRAILER     CTL‐SA   RDWY821411   2018   HYUND   3H3V401CXJT868078   HY        CA      Gardena
 YRCF     CITY TRAILER     CTL‐SA   RDWY821412   2018   HYUND   3H3V401C1JT868079   HY        CA      Gardena
 YRCF     CITY TRAILER     CTL‐SA   RDWY821413   2018   HYUND   3H3V401C8JT868080   HY        CA      Fontana
 YRCF     CITY TRAILER     CTL‐SA   RDWY821414   2018   HYUND   3H3V401CXJT868081   HY        CA      Gardena
 YRCF     CITY TRAILER     CTL‐SA   RDWY821415   2018   HYUND   3H3V401C1JT868082   HY        CA      Adelanto
 YRCF     CITY TRAILER     CTL‐SA   RDWY821416   2018   HYUND   3H3V401C3JT868083   HY        CA      Gardena
 YRCF     CITY TRAILER     CTL‐SA   RDWY821417   2018   HYUND   3H3V401C5JT868084   HY        TX      El Paso
 YRCF     CITY TRAILER     CTL‐SA   RDWY821418   2018   HYUND   3H3V401C7JT868085   HY        TX      Lubbock
 YRCF     CITY TRAILER     CTL‐SA   RDWY821419   2018   HYUND   3H3V401C9JT868086   HY        NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐SA   RDWY821420   2018   HYUND   3H3V401C0JT868087   HY        NE      Kearney
 YRCF     CITY TRAILER     CTL‐SA   RDWY821421   2018   HYUND   3H3V401C2JT868088   HY        WA      Pasco
 YRCF     CITY TRAILER     CTL‐SA   RDWY821422   2018   HYUND   3H3V401C4JT868089   HY        WA      Seattle
 YRCF     CITY TRAILER     CTL‐SA   RDWY821423   2018   HYUND   3H3V401C0JT868090   HY        CA      Santa Rosa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821424   2018   HYUND   3H3V401C2JT868091   HY        CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY821425   2018   HYUND   3H3V401C4JT868092   HY        CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY821426   2018   HYUND   3H3V401C6JT868093   HY        CO      Aurora
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 371 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821427   2018   HYUND   3H3V401C8JT868094   HY        CO        Colorado Springs
 YRCF     CITY TRAILER     CTL‐SA   RDWY821428   2018   HYUND   3H3V401CXJT868095   HY        CO        Aurora
 YRCF     CITY TRAILER     CTL‐SA   RDWY821429   2018   HYUND   3H3V401C1JT868096   HY        CO        Aurora
 YRCF     CITY TRAILER     CTL‐SA   RDWY821430   2018   HYUND   3H3V401C3JT868097   HY        CO        Colorado Springs
 YRCF     CITY TRAILER     CTL‐SA   RDWY821431   2018   HYUND   3H3V401C5JT868098   HY        CA        Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821432   2018   HYUND   3H3V401C7JT868099   HY        CA        Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821433   2018   HYUND   3H3V401CXJT868100   HY        CA        Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821499   2023   VANGU   5V8VC4013PM310379             RI        Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821500   2023   VANGU   5V8VC401XPM310380             RI        Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821501   2023   VANGU   5V8VC4011PM310381             RI        Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821502   2023   VANGU   5V8VC4013PM310382             RI        Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821503   2023   VANGU   5V8VC4015PM310383             NJ        Hamilton
 YRCF     CITY TRAILER     CTL‐SA   RDWY821504   2023   VANGU   5V8VC4017PM310384             NJ        South Plainfield
 YRCF     CITY TRAILER     CTL‐SA   RDWY821505   2023   VANGU   5V8VC4019PM310385             NY        Maybrook
 YRCF     CITY TRAILER     CTL‐SA   RDWY821506   2023   VANGU   5V8VC4010PM310386             NY        Maybrook
 YRCF     CITY TRAILER     CTL‐SA   RDWY821507   2023   VANGU   5V8VC4012PM310387             NY        Maybrook
 YRCF     CITY TRAILER     CTL‐SA   RDWY821508   2023   VANGU   5V8VC4014PM310388             PA        Bensalem
 YRCF     CITY TRAILER     CTL‐SA   RDWY821509   2023   VANGU   5V8VC4016PM310389             PA        Bensalem
 YRCF     CITY TRAILER     CTL‐SA   RDWY821510   2023   VANGU   5V8VC4012PM310390             MD        Landover
 YRCF     CITY TRAILER     CTL‐SA   RDWY821511   2023   VANGU   5V8VC4014PM310391             OH        Cincinnati
 YRCF     CITY TRAILER     CTL‐SA   RDWY821512   2023   VANGU   5V8VC4016PM310392             MI        Romulus
 YRCF     CITY TRAILER     CTL‐SA   RDWY821513   2023   VANGU   5V8VC4018PM310393             Ontario   Woodstock
 YRCF     CITY TRAILER     CTL‐SA   RDWY821514   2023   VANGU   5V8VC401XPM310394             IL        Wheeling
 YRCF     CITY TRAILER     CTL‐SA   RDWY821515   2023   VANGU   5V8VC4011PM310395             IN        South Bend
 YRCF     CITY TRAILER     CTL‐SA   RDWY821516   2023   VANGU   5V8VC4013PM310396             IL        Rockford
 YRCF     CITY TRAILER     CTL‐SA   RDWY821517   2023   VANGU   5V8VC4015PM310397             MO        Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821518   2023   VANGU   5V8VC4017PM310398             OH        Dayton
 YRCF     CITY TRAILER     CTL‐SA   RDWY821519   2023   VANGU   5V8VC4019PM310399             MN        Burnsville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821520   2023   VANGU   5V8VC4011PM310400             MI        Wayland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821521   2023   VANGU   5V8VC4013PM310401             KS        Topeka
 YRCF     CITY TRAILER     CTL‐SA   RDWY821522   2023   VANGU   5V8VC4015PM310402             MI        Jackson
 YRCF     CITY TRAILER     CTL‐SA   RDWY821523   2023   VANGU   5V8VC4017PM310403             KS        Salina
 YRCF     CITY TRAILER     CTL‐SA   RDWY821524   2023   VANGU   5V8VC4019PM310404             IL        Rock Island
 YRCF     CITY TRAILER     CTL‐SA   RDWY821525   2023   VANGU   5V8VC4010PM310405             WI        Tomah
 YRCF     CITY TRAILER     CTL‐SA   RDWY821526   2023   VANGU   5V8VC4012PM310406             GA        Marietta
 YRCF     CITY TRAILER     CTL‐SA   RDWY821527   2023   VANGU   5V8VC4014PM310407             GA        Marietta
 YRCF     CITY TRAILER     CTL‐SA   RDWY821528   2023   VANGU   5V8VC4016PM310408             GA        Marietta
 YRCF     CITY TRAILER     CTL‐SA   RDWY821529   2023   VANGU   5V8VC4018PM310409             AL        Decatur
 YRCF     CITY TRAILER     CTL‐SA   RDWY821530   2023   VANGU   5V8VC4014PM310410             TN        Nashville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821531   2023   VANGU   5V8VC4016PM310411             TN        Nashville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821532   2023   VANGU   5V8VC4018PM310412             TN        Nashville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821533   2023   VANGU   5V8VC401XPM310413             TN        Nashville
 YRCF     CITY TRAILER     CTL‐SA   RDWY821534   2023   VANGU   5V8VC4011PM310414             AL        Mobile
 YRCF     CITY TRAILER     CTL‐SA   RDWY821535   2023   VANGU   5V8VC4013PM310415             TN        Memphis
 YRCF     CITY TRAILER     CTL‐SA   RDWY821536   2023   VANGU   5V8VC4015PM310416             MS        Tupelo
 YRCF     CITY TRAILER     CTL‐SA   RDWY821537   2023   VANGU   5V8VC4017PM310417             TX        Dallas
 YRCF     CITY TRAILER     CTL‐SA   RDWY821538   2023   VANGU   5V8VC4019PM310418             CA        Anderson
 YRCF     CITY TRAILER     CTL‐SA   RDWY821539   2023   VANGU   5V8VC4010PM310419             TX        Sherman
 YRCF     CITY TRAILER     CTL‐SA   RDWY821540   2023   VANGU   5V8VC4017PM310420             TN        Memphis
 YRCF     CITY TRAILER     CTL‐SA   RDWY821541   2023   VANGU   5V8VC4019PM310421             TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐SA   RDWY821542   2023   VANGU   5V8VC4010PM310422             TX        San Antonio
 YRCF     CITY TRAILER     CTL‐SA   RDWY821543   2023   VANGU   5V8VC4012PM310423             AR        Little Rock
 YRCF     CITY TRAILER     CTL‐SA   RDWY821544   2023   VANGU   5V8VC4014PM310424             VA        Chesapeake
 YRCF     CITY TRAILER     CTL‐SA   RDWY821545   2023   VANGU   5V8VC4016PM310425             VA        Roanoke
 YRCF     CITY TRAILER     CTL‐SA   RDWY821546   2023   VANGU   5V8VC4018PM310426             MO        Saint Louis
 YRCF     CITY TRAILER     CTL‐SA   RDWY821547   2023   VANGU   5V8VC401XPM310427             CA        San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY821548   2023   VANGU   5V8VC4011PM310428             CA        San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY821549   2023   VANGU   5V8VC4013PM310429             NC        Rocky Mount
 YRCF     CITY TRAILER     CTL‐SA   RDWY821550   2023   VANGU   5V8VC401XPM310430             CA        Sun Valley
 YRCF     CITY TRAILER     CTL‐SA   RDWY821551   2023   VANGU   5V8VC4011PM310431             FL        Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY821552   2023   VANGU   5V8VC4013PM310432             FL        Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821553   2023   VANGU   5V8VC4015PM310433             FL        Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821554   2023   VANGU   5V8VC4017PM310434             FL        Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821555   2023   VANGU   5V8VC4019PM310435             CA        Pico Rivera
 YRCF     CITY TRAILER     CTL‐SA   RDWY821556   2023   VANGU   5V8VC4010PM310436             CA        Bloomington
 YRCF     CITY TRAILER     CTL‐SA   RDWY821557   2023   VANGU   5V8VC4012PM310437             CA        Gardena
 YRCF     CITY TRAILER     CTL‐SA   RDWY821558   2023   VANGU   5V8VC4014PM310438             CA        Gardena
 YRCF     CITY TRAILER     CTL‐SA   RDWY821559   2023   VANGU   5V8VC4016PM310439             CA        Gardena
 YRCF     CITY TRAILER     CTL‐SA   RDWY821560   2023   VANGU   5V8VC4012PM310440             OH        Columbus
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 372 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821561   2023   VANGU   5V8VC4014PM310441              UT      St. George
 YRCF     CITY TRAILER     CTL‐SA   RDWY821562   2023   VANGU   5V8VC4016PM310442              UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821563   2023   VANGU   5V8VC4018PM310443              CO      Colorado Springs
 YRCF     CITY TRAILER     CTL‐SA   RDWY821564   2023   VANGU   5V8VC401XPM310444              CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821565   2023   VANGU   5V8VC4011PM310445              CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821566   2023   VANGU   5V8VC4013PM310446              CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821567   2023   VANGU   5V8VC4015PM310447              CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY821699   2021   WABSH   1JJV401D1ML309533   DVCVHPC    MO      Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821700   2021   WABSH   1JJV401D3ML309534   DVCVHPC    FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐SA   RDWY821701   2021   WABSH   1JJV401D5ML309535   DVCVHPC    CA      Bloomington
 YRCF     CITY TRAILER     CTL‐SA   RDWY821702   2021   WABSH   1JJV401D7ML309536   DVCVHPC    SD      Sioux Falls
 YRCF     CITY TRAILER     CTL‐SA   RDWY821703   2021   WABSH   1JJV401D7NL309537   DVCVHPC    FL      Tampa
 YRCF     CITY TRAILER     CTL‐SA   RDWY821704   2021   WABSH   1JJV401D9NL309538   DVCVHPC    WV      Bridgeport
 YRCF     CITY TRAILER     CTL‐SA   RDWY821705   2021   WABSH   1JJV401D0NL309539   DVCVHPC    OR      Portland
 YRCF     CITY TRAILER     CTL‐SA   RDWY821706   2021   WABSH   1JJV401D7NL309540   DVCVHPC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY821707   2021   WABSH   1JJV401D9NL309541   DVCVHPC    OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐SA   RDWY821708   2021   WABSH   1JJV401D0NL309542   DVCVHPC    TX      Corpus Christi
 YRCF     CITY TRAILER     CTL‐SA   RDWY821709   2021   WABSH   1JJV401D2NL309543   DVCVHPC    MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY821710   2021   WABSH   1JJV401D4NL309544   DVCVHPC    MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY821711   2021   WABSH   1JJV401D6NL309545   DVCVHPC    NY      Glenmont
 YRCF     CITY TRAILER     CTL‐SA   RDWY821712   2021   WABSH   1JJV401D8NL309546   DVCVHPC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY821713   2021   WABSH   1JJV401DXNL309547   DVCVHPC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY821714   2021   WABSH   1JJV401D1NL309548   DVCVHPC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY821715   2022   WABSH   1JJV401D3NL309549   DVCVHPC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY821716   2022   WABSH   1JJV401DXNL309550   DVCVHPC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY821717   2022   WABSH   1JJV401D1NL309551   DVCVHPC    NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐SA   RDWY821718   2022   WABSH   1JJV401D3NL309552   DVCVHPC    NJ      South Plainfield
 YRCF     CITY TRAILER     CTL‐SA   RDWY821719   2022   WABSH   1JJV401D5NL309553   DVCVHPC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐SA   RDWY821720   2022   WABSH   1JJV401D7NL309554   DVCVHPC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐SA   RDWY821721   2022   WABSH   1JJV401D9NL309555   DVCVHPC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐SA   RDWY821722   2022   WABSH   1JJV401D0NL309556   DVCVHPC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐SA   RDWY821723   2022   WABSH   1JJV401D2NL309557   DVCVHPC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐SA   RDWY821724   2022   WABSH   1JJV401D4NL309558   DVCVHPC    NY      Plainview
 YRCF     CITY TRAILER     CTL‐SA   RDWY821725   2022   WABSH   1JJV401D6NL309559   DVCVHPC    NY      Deer Park
 YRCF     CITY TRAILER     CTL‐SA   RDWY821726   2022   WABSH   1JJV401D2NL309560   DVCVHPC    NY      Plainview
 YRCF     CITY TRAILER     CTL‐SA   RDWY821727   2022   WABSH   1JJV401D4NL309561   DVCVHPC    PA      Carlisle
 YRCF     CITY TRAILER     CTL‐SA   RDWY821728   2022   WABSH   1JJV401D6NL309562   DVCVHPC    PA      Milton
 YRCF     CITY TRAILER     CTL‐SA   RDWY821729   2022   WABSH   1JJV401D8NL309563   DVCVHPC    PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐SA   RDWY821730   2022   WABSH   1JJV401DXNL309564   DVCVHPC    CT      Cheshire
 YRCF     CITY TRAILER     CTL‐SA   RDWY821731   2022   WABSH   1JJV401D1NL309565   DVCVHPC    PA      Bensalem
 YRCF     CITY TRAILER     CTL‐SA   RDWY821732   2022   WABSH   1JJV401D3NL309566   DVCVHPC    PA      Bensalem
 YRCF     CITY TRAILER     CTL‐SA   RDWY821733   2022   WABSH   1JJV401D5NL309567   DVCVHPC    PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐SA   RDWY821734   2022   WABSH   1JJV401D7NL309568   DVCVHPC    MD      Landover
 YRCF     CITY TRAILER     CTL‐SA   RDWY821735   2022   WABSH   1JJV401D9NL309569   DVCVHPC    MD      Landover
 YRCF     CITY TRAILER     CTL‐SA   RDWY821736   2022   WABSH   1JJV401D5NL309570   DVCVHPC    MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐SA   RDWY821737   2022   WABSH   1JJV401D7NL309571   DVCVHPC    NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐SA   RDWY821738   2022   WABSH   1JJV401D9NL309572   DVCVHPC    NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐SA   RDWY821739   2022   WABSH   1JJV401D0NL309573   DVCVHPC    NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐SA   RDWY821740   2022   WABSH   1JJV401D2NL309574   DVCVHPC    PA      Bedford
 YRCF     CITY TRAILER     CTL‐SA   RDWY821741   2022   WABSH   1JJV401D4NL309575   DVCVHPC    PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐SA   RDWY821742   2022   WABSH   1JJV401D6NL309576   DVCVHPC    PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐SA   RDWY821743   2022   WABSH   1JJV401D8NL309577   DVCVHPC    OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐SA   RDWY821744   2022   WABSH   1JJV401DXNL309578   DVCVHPC    WV      Charleston
 YRCF     CITY TRAILER     CTL‐SA   RDWY821745   2022   WABSH   1JJV401D1NL309579   DVCVHPC    MI      Norway
 YRCF     CITY TRAILER     CTL‐SA   RDWY821746   2022   WABSH   1JJV401D8NL309580   DVCVHPC    OH      Dayton
 YRCF     CITY TRAILER     CTL‐SA   RDWY843167   2009   WABSH   1JJV281W19L286011              NY      Maybrook
 YRCF     CITY TRAILER     CTL‐SA   RDWY843187   2009   WABSH   1JJV281W79L285879              MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY843799   2009   GRTDN   1GRAP56129K208949   DV         RI      Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY843800   2016   WABSH   1JJV281DXGL906172              PA      Mountain Top
 YRCF     CITY TRAILER     CTL‐SA   RDWY843816   2014   STGHT   1DW1A2819EB457745              TX      Laredo
 YRCF     CITY TRAILER     CTL‐SA   RDWY89000    2009   WABSH   1JJV401W19L285078              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY89001    2009   WABSH   1JJV401W39L285079              NY      Maybrook
 YRCF     CITY TRAILER     CTL‐SA   RDWY89002    2009   WABSH   1JJV401WX9L285080              NY      Deer Park
 YRCF     CITY TRAILER     CTL‐SA   RDWY89003    2009   WABSH   1JJV401W19L285081              PA      Mountain Top
 YRCF     CITY TRAILER     CTL‐SA   RDWY89004    2009   WABSH   1JJV401W39L285082              NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐SA   RDWY89006    2009   WABSH   1JJV401W79L285084              CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY89007    2009   WABSH   1JJV401W99L285085              CA      Adelanto
 YRCF     CITY TRAILER     CTL‐SA   RDWY89008    2009   WABSH   1JJV401W09L285086              MD      Hagerstown
 YRCF     CITY TRAILER     CTL‐SA   RDWY89009    2009   WABSH   1JJV401W29L285087              MD      Hagerstown
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 373 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 YRCF     CITY TRAILER     CTL‐SA   RDWY89011     2009   WABSH   1JJV401W69L285089                 MD      Hagerstown
 YRCF     CITY TRAILER     CTL‐SA   RDWY89012     2009   WABSH   1JJV401W29L285090                 OH      Copley
 YRCF     CITY TRAILER     CTL‐SA   RDWY89013     2009   WABSH   1JJV401W49L285091                 OH      Copley
 YRCF     CITY TRAILER     CTL‐SA   RDWY89014     2009   WABSH   1JJV401W69L285092                 OH      Copley
 YRCF     CITY TRAILER     CTL‐SA   RDWY89015     2009   WABSH   1JJV401W89L285093                 PA      Carlisle
 YRCF     CITY TRAILER     CTL‐SA   RDWY89016     2009   WABSH   1JJV401WX9L285094                 OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐SA   RDWY89017     2009   WABSH   1JJV401W19L285095                 OH      Columbus
 YRCF     CITY TRAILER     CTL‐SA   RDWY89018     2009   WABSH   1JJV401W39L285096                 OH      Dayton
 YRCF     CITY TRAILER     CTL‐SA   RDWY89020     2009   WABSH   1JJV401W79L285098                 OH      Columbus
 YRCF     CITY TRAILER     CTL‐SA   RDWY89021     2009   WABSH   1JJV401W99L285099                 IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐SA   RDWY89022     2009   WABSH   1JJV401W19L285100                 IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐SA   RDWY89023     2009   WABSH   1JJV401W39L285101                 MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐SA   RDWY89024     2009   WABSH   1JJV401W59L285102                 WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐SA   RDWY89026     2009   WABSH   1JJV401W99L285104                 GA      Conley
 YRCF     CITY TRAILER     CTL‐SA   RDWY89027     2009   WABSH   1JJV401W09L285105                 TN      Knoxville
 YRCF     CITY TRAILER     CTL‐SA   RDWY89028     2009   WABSH   1JJV401W29L285106                 TN      Memphis
 YRCF     CITY TRAILER     CTL‐SA   RDWY89029     2009   WABSH   1JJV401W49L285107                 LA      Monroe
 YRCF     CITY TRAILER     CTL‐SA   RDWY89030     2009   WABSH   1JJV401W69L285108                 TX      Irving
 YRCF     CITY TRAILER     CTL‐SA   RDWY89031     2009   WABSH   1JJV401W89L285109                 TX      Houston
 YRCF     CITY TRAILER     CTL‐SA   RDWY89032     2009   WABSH   1JJV401W49L285110                 TX      Houston
 YRCF     CITY TRAILER     CTL‐SA   RDWY89033     2009   WABSH   1JJV401W69L285111                 TX      Houston
 YRCF     CITY TRAILER     CTL‐SA   RDWY89034     2009   WABSH   1JJV401W89L285112                 TX      Irving
 YRCF     CITY TRAILER     CTL‐SA   RDWY89035     2009   WABSH   1JJV401WX9L285113                 MO      Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY89037     2009   WABSH   1JJV401W39L285115                 TX      Houston
 YRCF     CITY TRAILER     CTL‐SA   RDWY89038     2009   WABSH   1JJV401W59L285116                 AR      Springdale
 YRCF     CITY TRAILER     CTL‐SA   RDWY89040     2009   WABSH   1JJV401W99L285118                 TN      Kingsport
 YRCF     CITY TRAILER     CTL‐SA   RDWY89043     2009   WABSH   1JJV401W99L285121                 GA      Martinez
 YRCF     CITY TRAILER     CTL‐SA   RDWY89044     2009   WABSH   1JJV401W09L285122                 SC      Florence
 YRCF     CITY TRAILER     CTL‐SA   RDWY89045     2009   WABSH   1JJV401W29L285123                 FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐SA   RDWY89046     2009   WABSH   1JJV401W49L285124                 FL      Miami
 YRCF     CITY TRAILER     CTL‐SA   RDWY89047     2009   WABSH   1JJV401W69L285125                 FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐SA   RDWY89049     2009   WABSH   1JJV401WX9L285127                 CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY89051     2009   WABSH   1JJV401W39L285129                 CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY89052     2009   WABSH   1JJV401WX9L285130                 CA      Hayward
 YRCF     CITY TRAILER     CTL‐SA   RDWY89053     2009   WABSH   1JJV401W19L285131                 NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐SA   RDWY89054     2009   WABSH   1JJV401W39L285132                 NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐SA   RDWY89055     2009   WABSH   1JJV401W59L285133                 CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐SA   RDWY89056     2009   WABSH   1JJV401W79L285134                 CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY89057     2009   WABSH   1JJV401W99L285135                 CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY89058     2009   WABSH   1JJV401W09L285136                 CA      Gardena
 YRCF     CITY TRAILER     CTL‐SA   RDWY89059     2009   WABSH   1JJV401W29L285137                 CA      Bloomington
 YRCF     CITY TRAILER     CTL‐SA   RDWY89060     2009   WABSH   1JJV401W49L285138                 CA      San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY89061     2009   WABSH   1JJV401W69L285139                 CA      San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY89062     2009   WABSH   1JJV401W29L285140                 AZ      Flagstaff
 YRCF     CITY TRAILER     CTL‐SA   RDWY89064     2009   WABSH   1JJV401W69L285142                 AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐SA   RDWY89065     2009   WABSH   1JJV401W89L285143                 AZ      Tucson
 YRCF     CITY TRAILER     CTL‐SA   RDWY89066     2009   WABSH   1JJV401WX9L285144                 MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐SA   RDWY89067     2009   WABSH   1JJV401W19L285145                 MO      Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY89068     2009   WABSH   1JJV401W39L285146                 MO      Kansas City
 YRCF     CITY TRAILER     CTL‐SA   RDWY89069     2009   WABSH   1JJV401W59L285147                 WA      Tacoma
 YRCF     CITY TRAILER     CTL‐SA   RDWY89070     2009   WABSH   1JJV401W79L285148                 OR      Eugene
 YRCF     CITY TRAILER     CTL‐SA   RDWY89071     2009   WABSH   1JJV401W99L285149                 CA      Fontana
 YRCF     CITY TRAILER     CTL‐SA   RDWY89072     2009   WABSH   1JJV401W59L285150                 OR      Portland
 YRCF     CITY TRAILER     CTL‐SA   RDWY89073     2009   WABSH   1JJV401W79L285151                 UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐SA   RDWY89074     2009   WABSH   1JJV401W99L285152                 CO      Aurora
 YRCF     CITY TRAILER     CTL‐SA   RDWY89075     2009   WABSH   1JJV401W49L285088                 CO      Aurora
 YRCF     CITY TRAILER     CTL‐SA   RDWY89076     2009   WABSH   1JJV401W59L285097                 CO      Aurora
 YRCF     CITY TRAILER     CTL‐SA   RDWY89077     2009   WABSH   1JJV401W79L285117                 MI      Taylor
 YRCF     CITY TRAILER     CTL‐SA   RDWY89086     2004   WABSH   1JJV281W04L887225   DVDBHPC       MO      Strafford
 YRCF     CITY TRAILER     CTL‐SA   RDWY89087     2004   WABSH   1JJV281W04L887015   DVDBHPC       CA      Tracy
 YRCF     CITY TRAILER     CTL‐SA   RDWY89089     2004   WABSH   1JJV281W14L887234   DVDBHPC       MT      Butte
 YRCF     CITY TRAILER     CTL‐SA   RDWY89091     2004   WABSH   1JJV281W44L887051   DVDBHPC       MI      Taylor
 YRCF     CITY TRAILER     CTL‐SA   RDWY89092     2004   WABSH   1JJV281W74L887223   DVDBHPC       OH      Columbus
 YRCF     CITY TRAILER     CTL‐SA   RDWY89094     2004   WABSH   1JJV281W54L887026   DVDBHPC       DE      Seaford
 YRCF     CITY TRAILER     CTL‐SA   RDWY89097     2002   STRCK   1S11E82822E491310   28' W/ GATE   IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐SA   RDWY89099     2005   UTLTY   1UYVS12845G528407   28' W/ GATE   IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐SA   RDWY89100     2005   UTLTY   1UYVS12865G528408   28' W/ GATE   KS      Salina
 YRCF     CITY TRAILER     CTL‐SA   RDWY89101     2005   UTLTY   1UYVS12885G528409   28' W/ GATE   CA      Tracy
 YRCF     CITY TRAILER     CTL‐SA   RDWY89104     2007   UTLTY   1UYVS12867G301402   28' W/ GATE   NC      Rocky Mount
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 374 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 YRCF     CITY TRAILER     CTL‐SA   RDWY89105     2007   UTLTY   1UYVS12887G301403   28' W/ GATE   FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY89107     2007   UTLTY   1UYVS12817G301405   28' W/ GATE   CA      Brisbane
 YRCF     CITY TRAILER     CTL‐SA   RDWY89109     2005   UTLTY   1UYVS12805G528405   28' W/ GATE   CA      Tracy
 YRCF     CITY TRAILER     CTL‐SA   RDWY89111     2005   GRTDN   1GRAA64135D410949   32' W/ GATE   NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐SA   RDWY89112     2005   GRTDN   1GRAA641X5D410950   32' W/ GATE   NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY89114     2005   GRTDN   1GRAA64135D410952   32' W/ GATE   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐SA   RDWY89115     2005   GRTDN   1GRAA64155D410953   32' W/ GATE   CA      Brisbane
 YRCF     CITY TRAILER     CTL‐SA   RDWY89232     2007   WABSH   1JJV281W17L050746   VARIOUS       OH      Columbus
 YRCF     CITY TRAILER     CTL‐SA   RDWY89501     2001   WABSH   1JJV281W71L745773   DVDBHPC       TX      Abilene
 YRCF     CITY TRAILER     CTL‐SA   RDWY89502     2001   WABSH   1JJV281WX1L745797   DVDBHPC       TX      Lubbock
 YRCF     CITY TRAILER     CTL‐SA   RDWY89506     2001   WABSH   1JJV281W81L745474   DVDBHPC       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐SA   RDWY89510     2001   WABSH   1JJV281W21L745311   DVDBHPC       NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐SA   RDWY89511     2001   WABSH   1JJV281W71L745112   DVDBHPC       SD      Rapid City
 YRCF     CITY TRAILER     CTL‐SA   RDWY89515     2004   WABSH   1JJV281W94L887143   DVDBHPC       CO      Aurora
 YRCF     CITY TRAILER     CTL‐SA   RDWY89516     2004   WABSH   1JJV281W54L887222   DVDBHPC       VA      Chesapeake
 YRCF     CITY TRAILER     CTL‐SA   RDWY89518     2001   WABSH   1JJV281W51L745108   DVDBHPC       NC      Jacksonville
 YRCF     CITY TRAILER     CTL‐SA   RDWY89526     2001   WABSH   1JJV281W31L745608   DVDBHPC       TX      Corpus Christi
 YRCF     CITY TRAILER     CTL‐SA   RDWY89528     2001   WABSH   1JJV281W01L745775   DVDBHPC       NC      Fayetteville
 YRCF     CITY TRAILER     CTL‐SA   RDWY89533     2004   WABSH   1JJV281W04L887189   DVDBHPC       AL      Mobile
 YRCF     CITY TRAILER     CTL‐SA   RDWY89534     2001   WABSH   1JJV281W21L745342   DVDBHPC       MS      Tupelo
 YRCF     CITY TRAILER     CTL‐SA   RDWY89537     2004   WABSH   1JJV281W14L887220   DVDBHPC       NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐SA   RDWY89552     2004   WABSH   1JJV281W34L887199   DVDBHPC       GA      Thomasville
 YRCF     CITY TRAILER     CTL‐SA   RDWY89553     2001   WABSH   1JJV281W81L745541   DVDBHPC       MA      North Reading
 YRCF     CITY TRAILER     CTL‐SA   RDWY89557     2004   WABSH   1JJV281W44L887261   DVDBHPC       NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY89565     1999   DORSY   1DTV91C17XA275785   DVDBHPC       NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐SA   RDWY89567     2004   WABSH   1JJV281W14L887296   DVDBHPC       GA      Conley
 YRCF     CITY TRAILER     CTL‐SA   RDWY89568     2001   WABSH   1JJV281WX1L745752   DVDBHPC       GA      Marietta
 YRCF     CITY TRAILER     CTL‐SA   RDWY89569     2001   WABSH   1JJV281W11L745770   DVDBHPC       GA      Macon
 YRCF     CITY TRAILER     CTL‐SA   RDWY89570     2004   WABSH   1JJV281W24L887128   DVDBHPC       GA      Macon
 YRCF     CITY TRAILER     CTL‐SA   RDWY89571     2001   WABSH   1JJV281W31L745687   DVDBHPC       FL      Orlando
 YRCF     CITY TRAILER     CTL‐SA   RDWY89572     2001   WABSH   1JJV281W01L745615   DVDBHPC       FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐SA   RDWY89574     2001   WABSH   1JJV281W51L745433   DVDBHPC       TX      Houston
 YRCF     CITY TRAILER     CTL‐SA   RDWY89575     2004   WABSH   1JJV281W24L887288   DVDBHPC       PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐SA   RDWY89577     2004   WABSH   1JJV281W84L887215   DVDBHPC       PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐SA   RDWY89586     2004   WABSH   1JJV281W44L887342   DVDBHPC       TX      Lubbock
 YRCF     CITY TRAILER     CTL‐SA   RDWY89587     2004   WABSH   1JJV281W44L887311   DVDBHPC       TN      Kingsport
 YRCF     CITY TRAILER     CTL‐SA   RDWY89589     2004   WABSH   1JJV281W44L887079   DVDBHPC       AZ      Tucson
 YRCF     CITY TRAILER     CTL‐SA   RDWY89590     2004   WABSH   1JJV281W94L887336   DVDBHPC       CO      Aurora
 YRCF     CITY TRAILER     CTL‐SA   RDWY89592     2004   WABSH   1JJV281W14L887251   DVDBHPC       PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐SA   RDWY89593     2004   WABSH   1JJV281W14L887265   DVDBHPC       NY      East Syracuse
 YRCF     CITY TRAILER     CTL‐SA   RDWY89595     2004   WABSH   1JJV281W84L887313   DVDBHPC       KS      Topeka
 YRCF     CITY TRAILER     CTL‐SA   RDWY89596     2004   WABSH   1JJV281W24L887274   DVDBHPC       TX      Houston
 YRCF     CITY TRAILER     CTL‐SA   RDWY89597     2004   WABSH   1JJV281W34L887154   DVDBHPC       NV      Sparks
 YRCF     CITY TRAILER     CTL‐SA   RDWY89599     2004   WABSH   1JJV281W14L887203   DVDBHPC       CA      Sacramento
 YRCF     CITY TRAILER     CTL‐SA   RDWY89602     2004   WABSH   1JJV281W44L887082   DVDBHPC       NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐SA   RDWY89604     2004   WABSH   1JJV281W34L887350   DVDBHPC       CA      Tracy
 YRCF     CITY TRAILER     CTL‐SA   RDWY89605     2004   WABSH   1JJV281WX4L887085   DVDBHPC       GA      Marietta
 YRCF     CITY TRAILER     CTL‐SA   RDWY89607     2004   WABSH   1JJV281W54L887365   DVDBHPC       MO      Strafford
 YRCF     CITY TRAILER     CTL‐SA   RDWY89609     2004   WABSH   1JJV281W24L887145   DVDBHPC       CA      Ventura
 YRCF     CITY TRAILER     CTL‐SA   RDWY89611     2004   WABSH   1JJV281W64L887181   DVDBHPC       KY      Paducah
 YRCF     CITY TRAILER     CTL‐SA   RDWY89613     2004   WABSH   1JJV281W24L887100   DVDBHPC       TX      McAllen
 YRCF     CITY TRAILER     CTL‐SA   RDWY89614     2004   WABSH   1JJV281W74L887304   DVDBHPC       TX      Waco
 YRCF     CITY TRAILER     CTL‐SA   RDWY89615     2004   WABSH   1JJV281W14L887119   DVDBHPC       UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐SA   RDWY89616     2004   WABSH   1JJV281W14L887153   DVDBHPC       NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐SA   RDWY89617     2004   WABSH   1JJV281W24L887162   DVDBHPC       TX      Austin
 YRCF     CITY TRAILER     CTL‐SA   RDWY89619     2004   WABSH   1JJV281W24L887050   DVDBHPC       TX      Irving
 YRCF     CITY TRAILER     CTL‐SA   RDWY89620     2004   WABSH   1JJV281W54L887351   DVDBHPC       TX      Irving
 YRCF     CITY TRAILER     CTL‐SA   RDWY89625     2004   WABSH   1JJV281WX4L887068   DVDBHPC       PA      Bensalem
 YRCF     CITY TRAILER     CTL‐SA   RDWY89627     2004   WABSH   1JJV281W64L887052   DVDBHPC       MI      Taylor
 YRCF     CITY TRAILER     CTL‐SA   RDWY89632     2004   WABSH   1JJV281W74L887058   DVDBHPC       CA      Adelanto
 YRCF     CITY TRAILER     CTL‐SA   RDWY89633     2004   WABSH   1JJV281WX4L887197   DVDBHPC       CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY89717     1985   FRUHF   1H2V02811FH034464   8W6102        CA      Orange
 YRCF     CITY TRAILER     CTL‐SA   RDWY89790     1992   FRUHF   1H2V02813NE029721   NF128W5W      CA      Fontana
 YRCF     CITY TRAILER     CTL‐SA   RDWY89792     1992   FRUHF   1H2V02810NE028834   NF128W5W      AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐SA   RDWY89794     1992   FRUHF   1H2V02815NE029459   NF128W5W      TX      Sherman
 YRCF     CITY TRAILER     CTL‐SA   RDWY89869     1985   FRUHF   1H2V02814FH053560   8W5102        CA      San Diego
 YRCF     CITY TRAILER     CTL‐SA   RDWY89923     2009   WABSH   1JJV281W29L286079   VARIOUS       MN      Burnsville
 YRCF     CITY TRAILER     CTL‐SA   RDWY89926     2008   WABSH   1JJV281W48L109399   VARIOUS       TN      Memphis
 YRCF     CITY TRAILER     CTL‐SA   RDWY89940     2005   WABSH   1JJV281WX5L913427   VARIOUS       OH      Cincinnati
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 375 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     CITY TRAILER     CTL‐SA   RDWY89963    2008   WABSH   1JJV281W48L109435   VARIOUS      RI      Cumberland
 YRCF     CITY TRAILER     CTL‐SA   RDWY89964    2008   WABSH   1JJV281W18L109473   VARIOUS      DE      New Castle
 YRCF     CITY TRAILER     CTL‐SA   RDWY89965    2008   WABSH   1JJV281W38L109913   VARIOUS      NJ      Millville
 YRCF     CITY TRAILER     CTL‐SA   RDWY89966    2006   WABSH   1JJV281W26L987846   VARIOUS      NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐SA   RDWY89969    2004   GRTDN   1GRAA56194K255552   SSL          TN      Nashville
 YRCF     CITY TRAILER     CTL‐SA   RDWY89979    2004   WABSH   1JJV281W94L883335   N/A          NJ      Kearny
 YRCF     CITY TRAILER     CTL‐SA   RDWY89994    2007   WABSH   1JJV281W17L046020   VARIOUS      TX      McAllen
 YRCF     CITY TRAILER     CTL‐SA   RDWY89995    2007   WABSH   1JJV281W77L046071   VARIOUS      TX      Dallas
 YRCF     CITY TRAILER     CTL‐SA   RDWY89997    2006   WABSH   1JJV281W66L987705   VARIOUS      CA      Ventura
 YRCF     CITY TRAILER     CTL‐TA   RDWY810001   1997   WABSH   1JJV402T0VL430108   SA 102 MC    NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY810002   2003   WABSH   1JJV402W13L843047   DVCVHPC      FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY810003   2003   WABSH   1JJV402W33L843048   DVCVHPC      MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY810004   2007   GRTDN   1GRAA80258K296981                NY      Mount Vernon
 YRCF     CITY TRAILER     CTL‐TA   RDWY820085   1995   PINES   1PNM402S6SK069794   4096CDBRSV   PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY820094   1995   PINES   1PNM402S3SK069803   4096CDBRSV   CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY820145   1994   PINES   1PNM402S3RKB56355   CDRSV        WV      Charleston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820148   1994   PINES   1PNM402S9RKB56358   CDRSV        OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY820156   1994   PINES   1PNM402S8RKB56366   CDRSV        NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY820195   1995   PINES   1PNM402SXSK069815   4096CDBRSV   NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY820199   1995   PINES   1PNM402S7SK069819   4096CDBRSV   NJ      South Plainfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY820281   1997   WABSH   1JJV402T0VL429072   SA 102 MC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY820284   1997   WABSH   1JJV402T6VL429075   SA 102 MC    NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐TA   RDWY820286   1997   WABSH   1JJV402TXVL429077   SA 102 MC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY820289   1997   WABSH   1JJV402TXVL429080   SA 102 MC    CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820310   1997   WABSH   1JJV402T3VL429101   SA 102 MC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY820315   1997   WABSH   1JJV402T2VL429106   SA 102 MC    CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY820316   1997   WABSH   1JJV402T4VL429107   SA 102 MC    NY      Plainview
 YRCF     CITY TRAILER     CTL‐TA   RDWY820317   1997   WABSH   1JJV402T6VL429108   SA 102 MC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY820318   1997   WABSH   1JJV402T8VL429109   SA 102 MC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY820320   1997   WABSH   1JJV402T6VL429111   SA 102 MC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY820321   1997   WABSH   1JJV402T8VL429112   SA 102 MC    CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820324   1997   WABSH   1JJV402T3VL429115   SA 102 MC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY820325   1997   WABSH   1JJV402T5VL429116   SA 102 MC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY820338   1997   WABSH   1JJV402T3VL429129   SA 102 MC    NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY820350   1997   WABSH   1JJV402T4VL429141   SA 102 MC    TX      Sherman
 YRCF     CITY TRAILER     CTL‐TA   RDWY820352   1997   WABSH   1JJV402T8VL429143   SA 102 MC    AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY820355   1997   WABSH   1JJV402T3VL429146   SA 102 MC    AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY820359   1997   WABSH   1JJV402T5VL429150   SA 102 MC    OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820370   1997   WABSH   1JJV402TXVL429161   SA 102 MC    MA      North Reading
 YRCF     CITY TRAILER     CTL‐TA   RDWY820371   1997   WABSH   1JJV402T1VL429162   SA 102 MC    IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820373   1997   WABSH   1JJV402T5VL429164   SA 102 MC    OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY820375   1997   WABSH   1JJV402T9VL429166   SA 102 MC    CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820378   1997   WABSH   1JJV402T4VL429169   SA 102 MC    CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY820381   1997   WABSH   1JJV402T4VL429172   SA 102 MC    CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY820387   1997   WABSH   1JJV402T5VL429178   SA 102 MC    IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820396   1997   WABSH   1JJV402T6VL429187   SA 102 MC    PA      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY820399   1997   WABSH   1JJV402T6VL429190   SA 102 MC    IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820401   1997   WABSH   1JJV402TXVL429192   SA 102 MC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820402   1997   WABSH   1JJV402T1VL429193   SA 102 MC    NE      Omaha
 YRCF     CITY TRAILER     CTL‐TA   RDWY820405   1997   WABSH   1JJV402T7VL429196   SA 102 MC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820406   1997   WABSH   1JJV402T9VL429197   SA 102 MC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820407   1997   WABSH   1JJV402T0VL429198   SA 102 MC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820410   1997   WABSH   1JJV402T7VL429201   SA 102 MC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820412   1997   WABSH   1JJV402T0VL429203   SA 102 MC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820413   1997   WABSH   1JJV402T2VL429204   SA 102 MC    TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820414   1997   WABSH   1JJV402T4VL429205   SA 102 MC    TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820415   1997   WABSH   1JJV402T6VL429206   SA 102 MC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820416   1997   WABSH   1JJV402T8VL429207   SA 102 MC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820430   1997   WABSH   1JJV402T2VL429221   SA 102 MC    TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820433   1997   WABSH   1JJV402T8VL429224   SA 102 MC    TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820437   1997   WABSH   1JJV402T5VL429228   SA 102 MC    MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820443   1997   WABSH   1JJV402T0VL429234   SA 102 MC    MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820447   1997   WABSH   1JJV402T8VL429238   SA 102 MC    NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY820448   1997   WABSH   1JJV402TXVL429239   SA 102 MC    CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820451   1997   WABSH   1JJV402TXVL429242   SA 102 MC    CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820452   1997   WABSH   1JJV402T1VL429243   SA 102 MC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820454   1997   WABSH   1JJV402T5VL429245   SA 102 MC    CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820460   1997   WABSH   1JJV402T0VL429251   SA 102 MC    CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820461   1997   WABSH   1JJV402T2VL429252   SA 102 MC    NY      Plainview
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 376 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820462   1997   WABSH   1JJV402T4VL429253   SA 102 MC   AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY820463   1997   WABSH   1JJV402T6VL429254   SA 102 MC   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820464   1997   WABSH   1JJV402T8VL429255   SA 102 MC   CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820465   1997   WABSH   1JJV402TXVL429256   SA 102 MC   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820466   1997   WABSH   1JJV402T1VL429257   SA 102 MC   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820467   1997   WABSH   1JJV402T3VL429258   SA 102 MC   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY820470   1997   WABSH   1JJV402T3VL429261   SA 102 MC   WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY820476   1997   WABSH   1JJV402T4VL429267   SA 102 MC   AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY820478   1997   WABSH   1JJV402T8VL429269   SA 102 MC   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820479   1997   WABSH   1JJV402T4VL429270   SA 102 MC   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820480   1997   WABSH   1JJV402T6VL429271   SA 102 MC   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820481   1997   WABSH   1JJV402T8VL429272   SA 102 MC   CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820482   1997   WABSH   1JJV402TXVL429273   SA 102 MC   CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820483   1997   WABSH   1JJV402T1VL429274   SA 102 MC   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820484   1997   WABSH   1JJV402T3VL429275   SA 102 MC   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820486   1997   WABSH   1JJV402T7VL429277   SA 102 MC   PA      Mountain Top
 YRCF     CITY TRAILER     CTL‐TA   RDWY820487   1997   WABSH   1JJV402T9VL429278   SA 102 MC   NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY820490   1997   WABSH   1JJV402T9VL429281   SA 102 MC   WV      Charleston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820493   1997   WABSH   1JJV402T4VL429284   SA 102 MC   CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820495   1997   WABSH   1JJV402T8VL429286   SA 102 MC   CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820497   1997   WABSH   1JJV402T1VL429288   SA 102 MC   CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820500   1997   WABSH   1JJV402T1VL429291   SA 102 MC   CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820501   1997   WABSH   1JJV402T3VL429292   SA 102 MC   CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820506   1997   WABSH   1JJV402T2VL429297   SA 102 MC   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820507   1997   WABSH   1JJV402T4VL429298   SA 102 MC   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820508   1997   WABSH   1JJV402T6VL429299   SA 102 MC   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820512   1997   WABSH   1JJV402T4VL429303   SA 102 MC   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820516   1997   WABSH   1JJV402T1VL429307   SA 102 MC   NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY820523   1997   WABSH   1JJV402T9VL429314   SA 102 MC   NY      Plainview
 YRCF     CITY TRAILER     CTL‐TA   RDWY820526   1997   WABSH   1JJV402T4VL429317   SA 102 MC   RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY820534   1997   WABSH   1JJV402T3VL429325   SA 102 MC   TX      Austin
 YRCF     CITY TRAILER     CTL‐TA   RDWY820541   1997   WABSH   1JJV402T0VL429332   SA 102 MC   WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY820544   1997   WABSH   1JJV402T6VL429335   SA 102 MC   CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY820545   1997   WABSH   1JJV402T8VL429336   SA 102 MC   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820546   1997   WABSH   1JJV402TXVL429337   SA 102 MC   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820550   1999   FRUHF   1JJV402F1XF543836   FBHLP9‐40   TX      Sherman
 YRCF     CITY TRAILER     CTL‐TA   RDWY820553   1999   FRUHF   1JJV402F7XF543839   FBHLP9‐40   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820555   1999   FRUHF   1JJV402F5XF543841   FBHLP9‐40   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820558   1999   FRUHF   1JJV402F0XF543844   FBHLP9‐40   TX      Lubbock
 YRCF     CITY TRAILER     CTL‐TA   RDWY820563   1999   FRUHF   1JJV402FXXF543849   FBHLP9‐40   OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY820566   1999   FRUHF   1JJV402FXXF543852   FBHLP9‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820567   1999   FRUHF   1JJV402F1XF543853   FBHLP9‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820570   1999   FRUHF   1JJV402F7XF543856   FBHLP9‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820572   1999   FRUHF   1JJV402F0XF543858   FBHLP9‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820573   1999   FRUHF   1JJV402F2XF543859   FBHLP9‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820574   1999   FRUHF   1JJV402F9XF543860   FBHLP9‐40   CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820575   1999   FRUHF   1JJV402F0XF543861   FBHLP9‐40   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820578   1999   FRUHF   1JJV402F6XF543864   FBHLP9‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820581   1999   WABSH   1JJV402F2YF625916   FBHLP8‐40   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY820585   1999   WABSH   1JJV402F4YF625920   FBHLP8‐40   IL      Quincy
 YRCF     CITY TRAILER     CTL‐TA   RDWY820587   1999   WABSH   1JJV402F8YF625922   FBHLP8‐40   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820591   1999   WABSH   1JJV402F5YF625926   FBHLP8‐40   NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY820592   1999   WABSH   1JJV402F7YF625927   FBHLP8‐40   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820599   1999   WABSH   1JJV402F4YF625934   FBHLP8‐40   PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY820603   1999   WABSH   1JJV402F1YF625938   FBHLP8‐40   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820604   1999   WABSH   1JJV402F3YF625939   FBHLP8‐40   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820605   1999   WABSH   1JJV402FXYF625940   FBHLP8‐40   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820608   1999   WABSH   1JJV402F5YF625943   FBHLP8‐40   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY820610   1999   WABSH   1JJV402F9YF625945   FBHLP8‐40   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820611   1999   WABSH   1JJV402F0YF625946   FBHLP8‐40   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820614   1999   WABSH   1JJV402F6YF625949   FBHLP8‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820616   1999   WABSH   1JJV402F4YF625951   FBHLP8‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820618   1999   WABSH   1JJV402F8YF625953   FBHLP8‐40   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820619   1999   WABSH   1JJV402FXYF625954   FBHLP8‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820620   1999   WABSH   1JJV402F1YF625955   FBHLP8‐40   TX      Corpus Christi
 YRCF     CITY TRAILER     CTL‐TA   RDWY820622   1999   WABSH   1JJV402F5YF625957   FBHLP8‐40   OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY820626   1999   WABSH   1JJV402F7YF625961   FBHLP8‐40   CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820627   1999   WABSH   1JJV402F9YF625962   FBHLP8‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820630   1999   WABSH   1JJV402F1YF632369   FBHLP8‐40   TX      Houston
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 377 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820631   1999   WABSH   1JJV402F8YF632370   FBHLP8‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820632   1999   WABSH   1JJV402FXYF632371   FBHLP8‐40   CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY820633   1999   WABSH   1JJV402F1YF632372   FBHLP8‐40   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820634   1999   WABSH   1JJV402F3YF632373   FBHLP8‐40   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820635   1999   WABSH   1JJV402F5YF632374   FBHLP8‐40   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820636   1999   WABSH   1JJV402F7YF632375   FBHLP8‐40   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820637   1999   WABSH   1JJV402F9YF632376   FBHLP8‐40   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820640   1999   WABSH   1JJV402F4YF632379   FBHLP8‐40   NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY820642   1999   WABSH   1JJV402F2YF632381   FBHLP8‐40   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820644   1999   WABSH   1JJV402F6YF632383   FBHLP8‐40   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820648   1999   WABSH   1JJV402F3YF632387   FBHLP8‐40   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820650   1999   WABSH   1JJV402F7YF632389   FBHLP8‐40   WV      Bridgeport
 YRCF     CITY TRAILER     CTL‐TA   RDWY820651   1999   WABSH   1JJV402F3YF632390   FBHLP8‐40   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820655   1999   WABSH   1JJV402F0YF632394   FBHLP8‐40   OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY820656   1999   WABSH   1JJV402F2YF632395   FBHLP8‐40   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820658   1999   WABSH   1JJV402F6YF632397   FBHLP8‐40   WA      Seattle
 YRCF     CITY TRAILER     CTL‐TA   RDWY820659   1999   WABSH   1JJV402F8YF632398   FBHLP8‐40   WA      Tacoma
 YRCF     CITY TRAILER     CTL‐TA   RDWY820664   1999   WABSH   1JJV402F8YF632403   FBHLP8‐40   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820771   2001   FRUHF   1JJV402F21F732020   DVCVFSA     MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY820772   2001   FRUHF   1JJV402F41F732021   DVCVFSA     VA      Manassas
 YRCF     CITY TRAILER     CTL‐TA   RDWY820774   2001   FRUHF   1JJV402F81F732023   DVCVFSA     NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY820781   2001   FRUHF   1JJV402F51F732030   DVCVFSA     MA      North Reading
 YRCF     CITY TRAILER     CTL‐TA   RDWY820787   2001   FRUHF   1JJV402F61F732036   DVCVFSA     VA      Roanoke
 YRCF     CITY TRAILER     CTL‐TA   RDWY820788   2001   FRUHF   1JJV402F81F732037   DVCVFSA     TX      Austin
 YRCF     CITY TRAILER     CTL‐TA   RDWY820789   2001   FRUHF   1JJV402FX1F732038   DVCVFSA     MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820790   2001   FRUHF   1JJV402F11F732039   DVCVFSA     OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY820791   2001   FRUHF   1JJV402F81F732040   DVCVFSA     OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY820792   2001   FRUHF   1JJV402FX1F732041   DVCVFSA     AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY820793   2001   FRUHF   1JJV402F11F732042   DVCVFSA     CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820794   2001   FRUHF   1JJV402F31F732043   DVCVFSA     TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY820796   2001   FRUHF   1JJV402F71F732045   DVCVFSA     MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820797   2001   FRUHF   1JJV402F91F732046   DVCVFSA     MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820798   2001   FRUHF   1JJV402F01F732047   DVCVFSA     ND      Fargo
 YRCF     CITY TRAILER     CTL‐TA   RDWY820799   2001   FRUHF   1JJV402F21F732048   DVCVFSA     MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820801   2001   FRUHF   1JJV402F01F732050   DVCVFSA     MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820803   2001   FRUHF   1JJV402F41F732052   DVCVFSA     WA      Everett
 YRCF     CITY TRAILER     CTL‐TA   RDWY820804   2001   FRUHF   1JJV402F61F732053   DVCVFSA     WA      Seattle
 YRCF     CITY TRAILER     CTL‐TA   RDWY820807   2001   FRUHF   1JJV402F11F732056   DVCVFSA     TX      El Paso
 YRCF     CITY TRAILER     CTL‐TA   RDWY820811   2001   FRUHF   1JJV402F31F732060   DVCVFSA     NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐TA   RDWY820812   2001   FRUHF   1JJV402F51F732061   DVCVFSA     CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820813   2001   FRUHF   1JJV402F71F732062   DVCVFSA     CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820814   2001   FRUHF   1JJV402F91F732063   DVCVFSA     IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820815   2001   FRUHF   1JJV402F01F732064   DVCVFSA     CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820816   2001   FRUHF   1JJV402F21F732065   DVCVFSA     IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820817   2001   FRUHF   1JJV402F41F732066   DVCVFSA     CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820818   2001   FRUHF   1JJV402F61F732067   DVCVFSA     CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820821   2001   FRUHF   1JJV402F61F732070   DVCVFSA     NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY820822   2001   FRUHF   1JJV402F81F732071   DVCVFSA     CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820825   2001   FRUHF   1JJV402F31F732074   DVCVFSA     CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820826   2001   FRUHF   1JJV402F51F732075   DVCVFSA     CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820827   2001   FRUHF   1JJV402F71F732076   DVCVFSA     CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820828   2001   FRUHF   1JJV402F91F732077   DVCVFSA     CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820829   2001   FRUHF   1JJV402F01F732078   DVCVFSA     CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820830   2001   FRUHF   1JJV402F21F732079   DVCVFSA     TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820831   2001   FRUHF   1JJV402F91F732080   DVCVFSA     CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY820832   2001   FRUHF   1JJV402F01F732081   DVCVFSA     CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY820833   2001   FRUHF   1JJV402F21F732082   DVCVFSA     OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820834   2003   WABSH   1JJV402W53L843049   DVCVHPC     NY      Plainview
 YRCF     CITY TRAILER     CTL‐TA   RDWY820835   2003   WABSH   1JJV402W13L843050   DVCVHPC     NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY820836   2003   WABSH   1JJV402W33L843051   DVCVHPC     TN      Knoxville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820837   2003   WABSH   1JJV402W53L843052   DVCVHPC     OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY820838   2003   WABSH   1JJV402W73L843053   DVCVHPC     GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY820839   2003   WABSH   1JJV402W93L843054   DVCVHPC     GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY820840   2003   WABSH   1JJV402W03L843055   DVCVHPC     TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY820842   2003   WABSH   1JJV402W43L843057   DVCVHPC     GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY820843   2003   WABSH   1JJV402W63L843058   DVCVHPC     GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY820845   2003   WABSH   1JJV402W43L843060   DVCVHPC     GA      Thomasville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820848   2003   WABSH   1JJV402WX3L843063   DVCVHPC     GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY820849   2003   WABSH   1JJV402W13L843064   DVCVHPC     CT      Cheshire
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 378 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820851   2003   WABSH   1JJV402W53L843066   DVCVHPC   GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY820852   2003   WABSH   1JJV402W73L843067   DVCVHPC   AL      Birmingham
 YRCF     CITY TRAILER     CTL‐TA   RDWY820853   2003   WABSH   1JJV402W93L843068   DVCVHPC   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820854   2003   WABSH   1JJV402W33L843069   DVCVHPC   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820855   2003   WABSH   1JJV402W73L843070   DVCVHPC   TN      Jackson
 YRCF     CITY TRAILER     CTL‐TA   RDWY820859   2003   WABSH   1JJV402W43L843074   DVCVHPC   MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY820860   2003   WABSH   1JJV402W63L843075   DVCVHPC   MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY820861   2003   WABSH   1JJV402W83L843076   DVCVHPC   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820862   2003   WABSH   1JJV402WX3L843077   DVCVHPC   PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐TA   RDWY820863   2003   WABSH   1JJV402W13L843078   DVCVHPC   MD      Landover
 YRCF     CITY TRAILER     CTL‐TA   RDWY820864   2003   WABSH   1JJV402W33L843079   DVCVHPC   GA      La Grange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820865   2003   WABSH   1JJV402WX3L843080   DVCVHPC   MS      Tupelo
 YRCF     CITY TRAILER     CTL‐TA   RDWY820866   2003   WABSH   1JJV402W13L843081   DVCVHPC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY820867   2003   WABSH   1JJV402W33L843082   DVCVHPC   GA      Savannah
 YRCF     CITY TRAILER     CTL‐TA   RDWY820869   2003   WABSH   1JJV402W73L843084   DVCVHPC   TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820871   2003   WABSH   1JJV402W03L843086   DVCVHPC   SC      North Charleston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820872   2003   WABSH   1JJV402W23L843087   DVCVHPC   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820873   2003   WABSH   1JJV402W43L843088   DVCVHPC   NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY820874   2003   WABSH   1JJV402W63L843089   DVCVHPC   NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY820875   2003   WABSH   1JJV402W23L843090   DVCVHPC   PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐TA   RDWY820876   2004   GRTDN   1GRAA80294K262701             FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐TA   RDWY820877   2004   GRTDN   1GRAA80204K262702             WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY820878   2004   GRTDN   1GRAA80224K262703             IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY820879   2004   GRTDN   1GRAA80244K262704             NC      Durham
 YRCF     CITY TRAILER     CTL‐TA   RDWY820880   2004   GRTDN   1GRAA80264K262705             VA      Richmond
 YRCF     CITY TRAILER     CTL‐TA   RDWY820881   2004   GRTDN   1GRAA80284K262706             NC      Durham
 YRCF     CITY TRAILER     CTL‐TA   RDWY820882   2004   GRTDN   1GRAA802X4K262707             VA      Roanoke
 YRCF     CITY TRAILER     CTL‐TA   RDWY820883   2004   GRTDN   1GRAA80214K262708             NC      Fayetteville
 YRCF     CITY TRAILER     CTL‐TA   RDWY820887   2004   GRTDN   1GRAA80234K262712             OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY820890   2004   GRTDN   1GRAA80294K262715             TX      Austin
 YRCF     CITY TRAILER     CTL‐TA   RDWY820891   2004   GRTDN   1GRAA80204K262716             TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY820892   2004   GRTDN   1GRAA80224K262717             TX      Irving
 YRCF     CITY TRAILER     CTL‐TA   RDWY820893   2004   GRTDN   1GRAA80244K262718             TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY820894   2004   GRTDN   1GRAA80264K262719             TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY820895   2004   GRTDN   1GRAA80224K262720             TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820896   2004   GRTDN   1GRAA80244K262721             TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820899   2004   GRTDN   1GRAA802X4K262724             OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820900   2004   GRTDN   1GRAA80214K262725             OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820901   2004   GRTDN   1GRAA80234K262726             OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY820902   2004   GRTDN   1GRAA80254K262727             ND      Fargo
 YRCF     CITY TRAILER     CTL‐TA   RDWY820904   2004   GRTDN   1GRAA80294K262729             MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY820908   2004   GRTDN   1GRAA80204K262733             PA      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY820909   2004   GRTDN   1GRAA80224K262734             NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY820910   2004   GRTDN   1GRAA80244K262735             NY      Mount Vernon
 YRCF     CITY TRAILER     CTL‐TA   RDWY820919   2004   GRTDN   1GRAA80254K262744             AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY820920   2004   GRTDN   1GRAA80274K262745             AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY820922   2004   GRTDN   1GRAA80204K262747             MT      Butte
 YRCF     CITY TRAILER     CTL‐TA   RDWY820923   2004   GRTDN   1GRAA80224K262748             TX      El Paso
 YRCF     CITY TRAILER     CTL‐TA   RDWY820924   2004   GRTDN   1GRAA80244K262749             NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐TA   RDWY820925   2004   GRTDN   1GRAA80204K262750             CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820926   2004   GRTDN   1GRAA80224K262751             WY      Cheyenne
 YRCF     CITY TRAILER     CTL‐TA   RDWY820927   2004   GRTDN   1GRAA80244K262752             CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820928   2004   GRTDN   1GRAA80264K262753             CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY820931   2004   GRTDN   1GRAA80214K262756             AZ      Lake Havasu City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820932   2004   GRTDN   1GRAA80234K262757             CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY820933   2004   GRTDN   1GRAA80254K262758             TX      Waco
 YRCF     CITY TRAILER     CTL‐TA   RDWY820934   2004   GRTDN   1GRAA80274K262759             AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY820935   2004   GRTDN   1GRAA80234K262760             AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY820936   2004   GRTDN   1GRAA80254K262761             AZ      Flagstaff
 YRCF     CITY TRAILER     CTL‐TA   RDWY820937   2004   GRTDN   1GRAA80274K262762             AZ      Tucson
 YRCF     CITY TRAILER     CTL‐TA   RDWY820938   2004   GRTDN   1GRAA80294K262763             CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820939   2004   GRTDN   1GRAA80204K262764             CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820940   2004   GRTDN   1GRAA80224K262765             CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820941   2004   GRTDN   1GRAA80244K262766             CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY820942   2004   GRTDN   1GRAA80264K262767             CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY820943   2004   GRTDN   1GRAA80284K262768             CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY820944   2004   GRTDN   1GRAA802X4K262769             CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY820945   2004   GRTDN   1GRAA80264K262770             CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY820946   2004   GRTDN   1GRAA80284K262771             CA      Pomona
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 379 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY820947   2004   GRTDN   1GRAA802X4K262772             CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY820948   2004   GRTDN   1GRAA80214K262773             CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY820952   2004   GRTDN   1GRAA80294K262777             MO      Columbia
 YRCF     CITY TRAILER     CTL‐TA   RDWY820954   2004   GRTDN   1GRAA80224K262779             MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY820955   2004   GRTDN   1GRAA80294K262780             MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY820956   2004   GRTDN   1GRAA80204K262781             OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY820957   2004   GRTDN   1GRAA80224K262782             OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY820958   2004   GRTDN   1GRAA80244K262783             OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY820959   2004   GRTDN   1GRAA80264K262784             WA      East Wenatchee
 YRCF     CITY TRAILER     CTL‐TA   RDWY820961   2004   GRTDN   1GRAA802X4K262786             WA      Everett
 YRCF     CITY TRAILER     CTL‐TA   RDWY820962   2004   GRTDN   1GRAA80214K262787             WA      Seattle
 YRCF     CITY TRAILER     CTL‐TA   RDWY820963   2004   GRTDN   1GRAA80234K262788             WA      Everett
 YRCF     CITY TRAILER     CTL‐TA   RDWY820965   2004   GRTDN   1GRAA80214K262790             CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY820966   2004   GRTDN   1GRAA80234K262791             TX      Irving
 YRCF     CITY TRAILER     CTL‐TA   RDWY820967   2004   GRTDN   1GRAA80254K262792             TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY820968   2004   GRTDN   1GRAA80274K262793             MD      Landover
 YRCF     CITY TRAILER     CTL‐TA   RDWY820969   2004   GRTDN   1GRAA80294K292794             MD      Landover
 YRCF     CITY TRAILER     CTL‐TA   RDWY820970   2004   GRTDN   1GRAA80204K262795             NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐TA   RDWY820972   2004   GRTDN   1GRAA80244K262797             NY      Plainview
 YRCF     CITY TRAILER     CTL‐TA   RDWY820974   2004   GRTDN   1GRAA80284K262799             CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY820976   2006   GRTDN   1GRAA80256K278073             CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820977   2006   GRTDN   1GRAA80276K278074             CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY820978   2006   GRTDN   1GRAA80296K278075             CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY820979   2006   GRTDN   1GRAA80206K278076             CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY820980   2006   GRTDN   1GRAA80226K278077             NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY820981   2006   GRTDN   1GRAA80246K278078             CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY820982   2006   GRTDN   1GRAA80266K278079             WA      Pasco
 YRCF     CITY TRAILER     CTL‐TA   RDWY820984   2006   GRTDN   1GRAA80246K278081             CA      Hayward
 YRCF     CITY TRAILER     CTL‐TA   RDWY820985   2006   GRTDN   1GRAA80266K278082             CA      Hayward
 YRCF     CITY TRAILER     CTL‐TA   RDWY820986   2006   GRTDN   1GRAA80286K278083             CA      Santa Rosa
 YRCF     CITY TRAILER     CTL‐TA   RDWY820987   2006   GRTDN   1GRAA802X6K278084             CA      Sacramento
 YRCF     CITY TRAILER     CTL‐TA   RDWY820988   2006   GRTDN   1GRAA80216K278085             OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY820989   2006   GRTDN   1GRAA80236K278086             WA      Seattle
 YRCF     CITY TRAILER     CTL‐TA   RDWY820990   2006   GRTDN   1GRAA80256K278087             CA      Santa Rosa
 YRCF     CITY TRAILER     CTL‐TA   RDWY820991   2006   GRTDN   1GRAA80276K278088             CA      Santa Rosa
 YRCF     CITY TRAILER     CTL‐TA   RDWY820992   2006   GRTDN   1GRAA80296K278089             AZ      Nogales
 YRCF     CITY TRAILER     CTL‐TA   RDWY820993   2006   GRTDN   1GRAA80256K278090             CO      Colorado Springs
 YRCF     CITY TRAILER     CTL‐TA   RDWY820994   2006   GRTDN   1GRAA80276K278091             NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐TA   RDWY820995   2006   GRTDN   1GRAA80296K278092             CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY820996   2006   GRTDN   1GRAA80206K278093             NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐TA   RDWY820997   2006   GRTDN   1GRAA80226K278094             MT      Butte
 YRCF     CITY TRAILER     CTL‐TA   RDWY820998   2006   GRTDN   1GRAA80246K278095             NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY820999   2006   GRTDN   1GRAA80266K278096             NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY821000   2006   GRTDN   1GRAA80286K278097             MT      Butte
 YRCF     CITY TRAILER     CTL‐TA   RDWY821001   2006   GRTDN   1GRAA802X6K278098             CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY821002   2006   GRTDN   1GRAA80216K278099             AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY821003   2006   GRTDN   1GRAA80246K278100             NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐TA   RDWY821004   2006   GRTDN   1GRAA80266K278101             UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐TA   RDWY821005   2006   GRTDN   1GRAA80286K278102             AZ      Tucson
 YRCF     CITY TRAILER     CTL‐TA   RDWY821007   2006   GRTDN   1GRAA80216K278104             VT      Bellows Falls
 YRCF     CITY TRAILER     CTL‐TA   RDWY821008   2006   GRTDN   1GRAA80236K278105             VT      Bellows Falls
 YRCF     CITY TRAILER     CTL‐TA   RDWY821009   2006   GRTDN   1GRAA80256K278106             NY      Glenmont
 YRCF     CITY TRAILER     CTL‐TA   RDWY821012   2006   GRTDN   1GRAA80206K278109             GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY821013   2006   GRTDN   1GRAA80276K278110             GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY821017   2006   GRTDN   1GRAA80246K278114             GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY821018   2006   GRTDN   1GRAA80266K278115             FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐TA   RDWY821019   2006   GRTDN   1GRAA80286K278116             ND      Bismarck
 YRCF     CITY TRAILER     CTL‐TA   RDWY821020   2006   GRTDN   1GRAA802X6K278117             MN      Duluth
 YRCF     CITY TRAILER     CTL‐TA   RDWY821021   2006   GRTDN   1GRAA80216K278118             WI      Eau Claire
 YRCF     CITY TRAILER     CTL‐TA   RDWY821022   2006   GRTDN   1GRAA80236K278119             MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY821023   2006   GRTDN   1GRAA802X6K278120             MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821024   2006   GRTDN   1GRAA80216K278121             OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY821025   2006   GRTDN   1GRAA80236K278122             ND      Minot
 YRCF     CITY TRAILER     CTL‐TA   RDWY821026   2006   GRTDN   1GRAA80256K278123             CA      Sacramento
 YRCF     CITY TRAILER     CTL‐TA   RDWY821027   2006   GRTDN   1GRAA80276K278124             MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821028   2006   GRTDN   1GRAA80296K278125             MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY821029   2006   GRTDN   1GRAA80206K278126             MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY821030   2006   GRTDN   1GRAA80226K278127             MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821031   2006   GRTDN   1GRAA80246K278128             MN      Burnsville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 380 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY821032   2006   GRTDN   1GRAA80266K278129             MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821033   2006   GRTDN   1GRAA80226K278130             KS      Salina
 YRCF     CITY TRAILER     CTL‐TA   RDWY821034   2006   GRTDN   1GRAA80246K278131             PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY821035   2006   GRTDN   1GRAA80266K278132             PA      Erie
 YRCF     CITY TRAILER     CTL‐TA   RDWY821036   2006   GRTDN   1GRAA80286K278133             PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY821037   2006   GRTDN   1GRAA802X6K278134             VA      Manassas
 YRCF     CITY TRAILER     CTL‐TA   RDWY821042   2006   GRTDN   1GRAA80296K278139             OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY821043   2006   GRTDN   1GRAA80256K278140             OH      Lima
 YRCF     CITY TRAILER     CTL‐TA   RDWY821044   2006   GRTDN   1GRAA80276K278141             OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY821046   2006   GRTDN   1GRAA80206K278143             VA      Manassas
 YRCF     CITY TRAILER     CTL‐TA   RDWY821048   2006   GRTDN   1GRAA80246K278145             LA      Alexandria
 YRCF     CITY TRAILER     CTL‐TA   RDWY821049   2006   GRTDN   1GRAA80266K278146             LA      Alexandria
 YRCF     CITY TRAILER     CTL‐TA   RDWY821051   2006   GRTDN   1GRAA802X6K278148             TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY821052   2006   GRTDN   1GRAA80216K278149             AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY821053   2006   GRTDN   1GRAA80286K278150             AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY821054   2006   GRTDN   1GRAA802X6K278151             TX      Texarkana
 YRCF     CITY TRAILER     CTL‐TA   RDWY821055   2006   GRTDN   1GRAA80216K278152             KY      Bowling Green
 YRCF     CITY TRAILER     CTL‐TA   RDWY821056   2006   GRTDN   1GRAA80236K278153             NC      Durham
 YRCF     CITY TRAILER     CTL‐TA   RDWY821057   2006   GRTDN   1GRAA80256K278154             AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY821058   2006   GRTDN   1GRAA80276K278155             TN      Jackson
 YRCF     CITY TRAILER     CTL‐TA   RDWY821059   2006   GRTDN   1GRAA80296K278156             TN      Jackson
 YRCF     CITY TRAILER     CTL‐TA   RDWY821060   2006   GRTDN   1GRAA80206K278157             GA      Ringgold
 YRCF     CITY TRAILER     CTL‐TA   RDWY821061   2006   GRTDN   1GRAA80226K278158             AL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY821063   2006   GRTDN   1GRAA80206K278160             IL      Bolingbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY821066   2006   GRTDN   1GRAA80266K278163             IL      Morton
 YRCF     CITY TRAILER     CTL‐TA   RDWY821068   2006   GRTDN   1GRAA802X6K278165             WI      Neenah
 YRCF     CITY TRAILER     CTL‐TA   RDWY821069   2006   GRTDN   1GRAA80216K278166             IL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY821071   2006   GRTDN   1GRAA80256K278168             IN      Jeffersonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821072   2006   GRTDN   1GRAA80276K278169             KY      Paducah
 YRCF     CITY TRAILER     CTL‐TA   RDWY821073   2006   GRTDN   1GRAA80236K278170             MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY821074   2006   GRTDN   1GRAA80256K278171             IN      Terre Haute
 YRCF     CITY TRAILER     CTL‐TA   RDWY821075   2006   GRTDN   1GRAA80276K278172             IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY821076   2006   GRTDN   1GRAA80296K278173             IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY821077   2006   GRTDN   1GRAA80206K278174             IN      Fort Wayne
 YRCF     CITY TRAILER     CTL‐TA   RDWY821078   2006   GRTDN   1GRAA80226K278175             NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY821079   2006   GRTDN   1GRAA80246K278176             TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY821081   2006   GRTDN   1GRAA80286K278178             MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY821083   2006   GRTDN   1GRAA80266K278180             TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY821084   2006   GRTDN   1GRAA80286K278181             TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY821086   2006   GRTDN   1GRAA80216K278183             MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY821087   2006   GRTDN   1GRAA80236K278184             MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY821088   2006   GRTDN   1GRAA80256K278185             MO      Strafford
 YRCF     CITY TRAILER     CTL‐TA   RDWY821089   2006   GRTDN   1GRAA80276K278186             MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821090   2006   GRTDN   1GRAA80296K278187             AL      Decatur
 YRCF     CITY TRAILER     CTL‐TA   RDWY821091   2006   GRTDN   1GRAA80206K278188             TX      Lubbock
 YRCF     CITY TRAILER     CTL‐TA   RDWY821092   2006   GRTDN   1GRAA80226K278189             TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY821093   2006   GRTDN   1GRAA80296K278190             TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY821094   2006   GRTDN   1GRAA80206K278191             TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY821095   2006   GRTDN   1GRAA80226K278192             FL      Jacksonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821096   2006   GRTDN   1GRAA80246K278193             OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY821098   2006   GRTDN   1GRAA80286K278195             NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY821099   2006   GRTDN   1GRAA802X6K278196             TN      Knoxville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821101   2006   GRTDN   1GRAA80236K278198             PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐TA   RDWY821102   2006   GRTDN   1GRAA80256K278199             VA      Manassas
 YRCF     CITY TRAILER     CTL‐TA   RDWY821103   2006   GRTDN   1GRAA80286K278200             MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY821104   2006   GRTDN   1GRAA802X6K278201             MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821105   2007   GRTDN   1GRAA80268K296942             GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY821106   2007   GRTDN   1GRAA80288K296943             IN      Fort Wayne
 YRCF     CITY TRAILER     CTL‐TA   RDWY821107   2007   GRTDN   1GRAA802X8K296944             IN      Fort Wayne
 YRCF     CITY TRAILER     CTL‐TA   RDWY821108   2007   GRTDN   1GRAA80218K296945             MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821109   2007   GRTDN   1GRAA80238K296946             TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY821110   2007   GRTDN   1GRAA80258K296947             MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY821111   2007   GRTDN   1GRAA80278K296948             MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY821112   2007   GRTDN   1GRAA80298K296949             NY      Rochester
 YRCF     CITY TRAILER     CTL‐TA   RDWY821113   2007   GRTDN   1GRAA80258K296950             MN      Duluth
 YRCF     CITY TRAILER     CTL‐TA   RDWY821114   2007   GRTDN   1GRAA80278K296951             PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY821115   2007   GRTDN   1GRAA80298K296952             RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY821116   2007   GRTDN   1GRAA80208K296953             FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐TA   RDWY821117   2007   GRTDN   1GRAA80228K296954             CA      Gardena
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 381 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY821118   2007   GRTDN   1GRAA80248K296955               CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY821119   2007   GRTDN   1GRAA80268K296956               IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY821120   2007   GRTDN   1GRAA80288K296957               IN      Fort Wayne
 YRCF     CITY TRAILER     CTL‐TA   RDWY821122   2007   GRTDN   1GRAA80218K296959               MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821123   2007   GRTDN   1GRAA80288K296960               PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY821124   2007   GRTDN   1GRAA802X8K296961               FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY821125   2007   GRTDN   1GRAA80218K296962               SC      North Charleston
 YRCF     CITY TRAILER     CTL‐TA   RDWY821126   2007   GRTDN   1GRAA80238K296963               CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY821127   2007   GRTDN   1GRAA80258K296964               FL      Jacksonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821128   2007   GRTDN   1GRAA80278K296965               MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821129   2007   GRTDN   1GRAA80298K296966               MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY821130   2007   GRTDN   1GRAA80208K296967               NJ      South Plainfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY821131   2007   GRTDN   1GRAA80228K296968               FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐TA   RDWY821132   2007   GRTDN   1GRAA80248K296969               NY      Plainview
 YRCF     CITY TRAILER     CTL‐TA   RDWY821133   2007   GRTDN   1GRAA80208K296970               NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY821134   2007   GRTDN   1GRAA80228K296971               NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY821135   2007   GRTDN   1GRAA80248K296972               NY      Mount Vernon
 YRCF     CITY TRAILER     CTL‐TA   RDWY821136   2007   GRTDN   1GRAA80268K296973               NY      Mount Vernon
 YRCF     CITY TRAILER     CTL‐TA   RDWY821137   2007   GRTDN   1GRAA80288K296974               NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY821139   2007   GRTDN   1GRAA80218K296976               NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY821140   2007   GRTDN   1GRAA80238K296977               NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY821141   2007   GRTDN   1GRAA80258K296978               NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐TA   RDWY821143   2007   GRTDN   1GRAA80238K296980               PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY830077   1995   PINES   1PNM452S6SKB61309   4596CDRSV   FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY830110   2007   WABSH   1JJV452W47L085059               DE      Seaford
 YRCF     CITY TRAILER     CTL‐TA   RDWY830111   2007   WABSH   1JJV452W37L085053               PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY830277   1997   WABSH   1JJV452T2VL429412   SA 102 MC   VA      Chesapeake
 YRCF     CITY TRAILER     CTL‐TA   RDWY830291   2006   WABSH   1JJV452W26L995209               PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY830292   1997   WABSH   1JJV452T4VL429427   SA 102 MC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY830293   1997   WABSH   1JJV452T6VL429428   SA 102 MC   FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY830299   2005   WABSH   1JJV452W35L924874               PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY830300   2015   GRTDN   1GRAP9008GB702561               NC      Jacksonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY830301   2015   GRTDN   1GRAP9007GB702566               NC      Wilmington
 YRCF     CITY TRAILER     CTL‐TA   RDWY830302   2015   GRTDN   1GRAP900XGB702531               PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY830303   2014   GRTDN   1GRAP9622ED452812               NY      Elmira
 YRCF     CITY TRAILER     CTL‐TA   RDWY830304   2015   GRTDN   1GRAP9003GB702581               KY      Bowling Green
 YRCF     CITY TRAILER     CTL‐TA   RDWY830305   2014   GRTDN   1GRAP9623ED452768               ME      Westbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY830323   1997   WABSH   1JJV452T9VL429458   SA 102 MC   MA      North Reading
 YRCF     CITY TRAILER     CTL‐TA   RDWY830326   1997   WABSH   1JJV452T4VL429461   SA 102 MC   CA      Ventura
 YRCF     CITY TRAILER     CTL‐TA   RDWY830396   1997   WABSH   1JJV452TXVL429531   SA 102 MC   GA      Ellenwood
 YRCF     CITY TRAILER     CTL‐TA   RDWY830437   1997   WABSH   1JJV452T2VL429572   SA 102 MC   NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY830455   1997   WABSH   1JJV452T4VL429590   SA 102 MC   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY830472   1997   WABSH   1JJV452T6VL429607   SA 102 MC   NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY830502   1998   WABSH   1JJV452W7WL447139   SA 102 MC   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY830572   1998   WABSH   1JJV452W2WL447209   SA 102 MC   RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY830631   1998   WABSH   1JJV452W7WL447268   SA 102 MC   CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY830633   1998   WABSH   1JJV452W5WL447270   SA 102 MC   TX      Irving
 YRCF     CITY TRAILER     CTL‐TA   RDWY830665   1999   FRUHF   1JJV452F6XF543022   FBHLP9‐45   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY830669   1999   FRUHF   1JJV452F3XF543026   FBHLP9‐45   CA      Ventura
 YRCF     CITY TRAILER     CTL‐TA   RDWY830685   1999   FRUHF   1JJV452F1XF543042   FBHLP9‐45   MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY830686   1999   FRUHF   1JJV452F3XF543043   FBHLP9‐45   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY830687   1999   FRUHF   1JJV452F5XF543044   FBHLP9‐45   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY830689   1999   FRUHF   1JJV452F9XF543046   FBHLP9‐45   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY830702   1999   FRUHF   1JJV452F7XF543059   FBHLP9‐45   WV      Charleston
 YRCF     CITY TRAILER     CTL‐TA   RDWY830717   1999   FRUHF   1JJV452F3XF543074   FBHLP9‐45   GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY830718   1999   FRUHF   1JJV452F5XF543075   FBHLP9‐45   CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY830719   1999   FRUHF   1JJV452F7XF543076   FBHLP9‐45   FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY830721   1999   FRUHF   1JJV452F0XF543078   FBHLP9‐45   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY830722   1999   FRUHF   1JJV452F2XF543079   FBHLP9‐45   OH      Lima
 YRCF     CITY TRAILER     CTL‐TA   RDWY830724   1999   FRUHF   1JJV452F0XF543081   FBHLP9‐45   MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY830734   1999   FRUHF   1JJV452F3XF543091   FBHLP9‐45   WV      Charleston
 YRCF     CITY TRAILER     CTL‐TA   RDWY830736   1999   FRUHF   1JJV452F7XF543093   FBHLP9‐45   TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY830737   1999   FRUHF   1JJV452F9XF543094   FBHLP9‐45   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY830746   1999   FRUHF   1JJV452F6XF543103   FBHLP9‐45   UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐TA   RDWY830760   1999   FRUHF   1JJV452F6XF543117   FBHLP9‐45   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY830764   1999   FRUHF   1JJV452F8XF543121   FBHLP9‐45   AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY830767   1999   FRUHF   1JJV452F3XF543124   FBHLP9‐45   IA      Mason City
 YRCF     CITY TRAILER     CTL‐TA   RDWY830774   1999   FRUHF   1JJV452F0XF543131   FBHLP9‐45   TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY830775   1999   FRUHF   1JJV452F2XF543132   FBHLP9‐45   FL      Fort Myers
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 382 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY830789   1999   FRUHF   1JJV452F2XF543146   FBHLP9‐45      PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY830799   1999   FRUHF   1JJV452F5XF543156   FBHLP9‐45      OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY830800   1999   FRUHF   1JJV452F7XF543157   FBHLP9‐45      WV      Charleston
 YRCF     CITY TRAILER     CTL‐TA   RDWY830804   1999   FRUHF   1JJV452F9XF543161   FBHLP9‐45      FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY830815   1999   FRUHF   1JJV452F3XF543172   FBHLP9‐45      CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY830820   1999   FRUHF   1JJV452F2XF543177   FBHLP9‐45      MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY830824   1999   FRUHF   1JJV452F4XF543181   FBHLP9‐45      WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY830828   1999   FRUHF   1JJV452F1XF543185   FBHLP9‐45      IL      Morton
 YRCF     CITY TRAILER     CTL‐TA   RDWY830834   1999   FRUHF   1JJV452F7XF543191   FBHLP9‐45      PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY830842   1999   FRUHF   1JJV452F1XF543199   FBHLP9‐45      IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY830843   1999   FRUHF   1JJV452F4XF543200   FBHLP9‐45      IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY830846   1999   FRUHF   1JJV452FXXF543203   FBHLP9‐45      CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY830848   1999   FRUHF   1JJV452F3XF543205   FBHLP9‐45      CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY830863   1999   FRUHF   1JJV452FXXF543220   FBHLP9‐45      TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY830866   1999   FRUHF   1JJV452F5XF543223   FBHLP9‐45      CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY830867   1999   FRUHF   1JJV452F7XF543224   FBHLP9‐45      CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY830871   1999   FRUHF   1JJV452F4XF543228   FBHLP9‐45      PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY830874   1999   FRUHF   1JJV452F4XF543231   FBHLP9‐45      NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY830877   1999   FRUHF   1JJV452FXXF543234   FBHLP9‐45      TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY830885   1999   FRUHF   1JJV452F9XF543242   FBHLP9‐45      NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY830887   1999   FRUHF   1JJV452F2XF543244   FBHLP9‐45      TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY830890   1999   FRUHF   1JJV452F8XF543247   FBHLP9‐45      TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY830898   1999   FRUHF   1JJV452F7XF543255   FBHLP9‐45      CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY830908   1999   FRUHF   1JJV452FXXF543265   FBHLP9‐45      FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY830915   1999   FRUHF   1JJV452F7XF543272   FBHLP9‐45      PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY830918   1999   WABSH   1JJV452FXXF625965   FBHLP8‐45      OH      Akron
 YRCF     CITY TRAILER     CTL‐TA   RDWY830922   1999   WABSH   1JJV452F7XF625969   FBHLP8‐45      MA      North Reading
 YRCF     CITY TRAILER     CTL‐TA   RDWY830925   1999   WABSH   1JJV452F7XF625972   FBHLP8‐45      NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY830931   1999   WABSH   1JJV452F8XF625978   FBHLP8‐45      FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY830934   1999   WABSH   1JJV452F8XF625981   FBHLP8‐45      OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY830947   1999   WABSH   1JJV452F6XF625994   FBHLP8‐45      FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY830959   1999   WABSH   1JJV452F7XF626006   FBHLP8‐45      TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY830960   1999   WABSH   1JJV452F9XF626007   FBHLP8‐45      MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY830964   1999   WABSH   1JJV452F0XF626011   FBHLP8‐45      OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY830966   1999   WABSH   1JJV452F4XF626013   FBHLP8‐45      MA      North Reading
 YRCF     CITY TRAILER     CTL‐TA   RDWY830971   1999   WABSH   1JJV452F3XF626018   FBHLP8‐45      FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐TA   RDWY830975   1999   WABSH   1JJV452F5XF626022   FBHLP8‐45      IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY830976   1999   WABSH   1JJV452F7XF626023   FBHLP8‐45      NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY830989   1999   WABSH   1JJV452F5XF626036   FBHLP8‐45      CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY831002   1999   WABSH   1JJV452F3XF626049   FBHLP8‐45      NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY831019   2001   FRUHF   1JJV452FX1F732084   DVCVFSA        PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY831040   1999   PINES   1PNV452B9YK226701   ************   OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY831042   1995   TRLMB   1S12E9452YD454883   ************   PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY831051   2000   STRCK   1S12E9450YD454882   ************   VA      Roanoke
 YRCF     CITY TRAILER     CTL‐TA   RDWY831052   2000   STRCK   1S12E9458YD454886   ************   IL      Bolingbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY831055   2000   STRCK   1S12E9453YD454889   ************   OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY831057   1999   STRCK   1PNV452B8YK226705   ************   MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY831069   2003   WABSH   1JJV452W33L828739   DVCVFSA‐45`    NY      Mount Vernon
 YRCF     CITY TRAILER     CTL‐TA   RDWY831071   2003   WABSH   1JJV452W13L828741   DVCVFSA‐45`    CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY831073   2003   WABSH   1JJV452W43L828748   DVCVFSA‐45`    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY831077   2003   WABSH   1JJV452W73L828744   DVCVFSA‐45`    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY831078   2003   WABSH   1JJV452W73L828761   DVCVFSA‐45`    MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY831079   2003   WABSH   1JJV452W63L828752   DVCVFSA‐45`    CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY831081   2003   WABSH   1JJV452W83L828767   DVCVFSA‐45`    MA      North Reading
 YRCF     CITY TRAILER     CTL‐TA   RDWY831085   2003   WABSH   1JJV452W13L828755   DVCVFSA‐45`    IL      Joliet
 YRCF     CITY TRAILER     CTL‐TA   RDWY831086   2003   WABSH   1JJV452W23L828778   DVCVFSA‐45`    MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY831088   2003   WABSH   1JJV452W43L828782   DVCVFSA‐45`    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY831090   2003   WABSH   1JJV452WX3L828785   DVCVFSA‐45`    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY831091   2003   WABSH   1JJV452W93L828759   DVCVFSA‐45`    TX      Waco
 YRCF     CITY TRAILER     CTL‐TA   RDWY831094   2003   WABSH   1JJV452W23L828764   DVCVFSA‐45`    CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY831095   2003   WABSH   1JJV452W13L828769   DVCVFSA‐45`    CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY831097   2003   WABSH   1JJV452W93L828776   DVCVFSA‐45`    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY831098   2003   WABSH   1JJV452W03L828777   DVCVFSA‐45`    MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY831099   2003   WABSH   1JJV452W83L828784   DVCVFSA‐45`    CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY831100   2003   WABSH   1JJV452W73L828789   DVCVFSA‐45`    GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY831101   2005   GRTDN   1GRAA96205K263086                  PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY831102   2004   GRTDN   1GRAA96224K262231                  PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY831103   2005   WABSH   1JJV482W55L905230                  PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY831104   2003   WABSH   1JJV482W23L849597   DVCVHPC        PA      McKees Rocks
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 383 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY831105   2003   WABSH   1JJV482W13L849347   DVCVHPC        PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY831106   2005   WABSH   1JJV482W25L905251                  NC      Rocky Mount
 YRCF     CITY TRAILER     CTL‐TA   RDWY831107   2004   GRTDN   1GRAA96204K262311                  NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY831109   2005   GRTDN   1GRAA962X5K263158                  NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY831110   2004   GRTDN   1GRAA96264K262247                  NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY831111   2006   WABSH   1JJV482W86L989058                  RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY831112   2004   GRTDN   1GRAA96264K262250                  VA      Fishersville
 YRCF     CITY TRAILER     CTL‐TA   RDWY831113   2005   WABSH   1JJV482W15L913700                  VA      Chesapeake
 YRCF     CITY TRAILER     CTL‐TA   RDWY831114   2008   WABSH   1JJV452W88L132952                  NY      Plainview
 YRCF     CITY TRAILER     CTL‐TA   RDWY831115   2015   GRTDN   1GRAP9006GB702560                  NY      Plainview
 YRCF     CITY TRAILER     CTL‐TA   RDWY831116   2015   GRTDN   1GRAP9006GB702543                  WI      Madison
 YRCF     CITY TRAILER     CTL‐TA   RDWY840512   1999   WABSH   1JJV482F3YF626068   FBHLPI‐48      PA      Milton
 YRCF     CITY TRAILER     CTL‐TA   RDWY840514   1999   WABSH   1JJV482F1YF626070   FBHLPI‐48      CA      Bakersfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY840518   1999   WABSH   1JJV482F9YF626074   FBHLPI‐48      MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY840853   1998   PINES   1PNV482B6WK211649   ************   TX      Irving
 YRCF     CITY TRAILER     CTL‐TA   RDWY840866   1996   WABSH   1JJV482U5TL267069   ************   FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY841196   1995   PINES   1PNV482N7SGB80700   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY841208   1995   PINES   1PNV482N5SKB61200   ************   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY841389   1995   PINES   1PNV482N3SKB67178   ************   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY841766   1997   STGHT   1DW1A4825VS098835   USED           MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY841775   1997   STGHT   1DW1A4821VS101536   USED           IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY841787   1997   STGHT   1DW1A4823VS101568   USED           OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY841853   2001   GRTDN   1GRAA96291G237399   P‐SERIES       IL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY841854   2001   GRTDN   1GRAA96291G237401   P‐SERIES       OH      Bowling Green
 YRCF     CITY TRAILER     CTL‐TA   RDWY841855   2001   GRTDN   1GRAA96231K237415   P‐SERIES       FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY841856   2001   GRTDN   1GRAA96251G237447   P‐SERIES       CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY841858   2001   GRTDN   1GRAA96291G237560   P‐SERIES       FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY841859   2001   GRTDN   1GRAA96291G318302   P‐SERIES       FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY841860   2001   GRTDN   1GRAA96291G318303   P‐SERIES       FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐TA   RDWY841864   2001   GRTDN   1GRAA96271G318307   P‐SERIES       OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY841865   2001   GRTDN   1GRAA96291G318308   P‐SERIES       IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841868   2001   GRTDN   1GRAA96291G318311   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841869   2001   GRTDN   1GRAA96291G318312   P‐SERIES       CO      Henderson
 YRCF     CITY TRAILER     CTL‐TA   RDWY841870   2001   GRTDN   1GRAA96291G318313   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841873   2001   GRTDN   1GRAA96291G318316   P‐SERIES       TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY841875   2001   GRTDN   1GRAA96291G318318   P‐SERIES       NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY841876   2001   GRTDN   1GRAA96291G318319   P‐SERIES       NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY841877   2001   GRTDN   1GRAA96291G318320   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841878   2001   GRTDN   1GRAA96291G318321   P‐SERIES       OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY841881   2001   GRTDN   1GRAA96291G318324   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841883   2001   GRTDN   1GRAA96291G318326   P‐SERIES       MI      Wayland
 YRCF     CITY TRAILER     CTL‐TA   RDWY841885   2001   GRTDN   1GRAA96241G318328   P‐SERIES       CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY841887   2001   GRTDN   1GRAA96291G318330   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841892   2001   GRTDN   1GRAA96291G318335   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841895   2001   GRTDN   1GRAA96291G318338   P‐SERIES       TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY841897   2001   GRTDN   1GRAA96291G318340   P‐SERIES       MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY841900   2001   GRTDN   1GRAA96201G318343   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841901   2001   GRTDN   1GRAA96221G318344   P‐SERIES       CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY841903   2001   GRTDN   1GRAA96261G318346   P‐SERIES       TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY841904   2001   GRTDN   1GRAA96291G318347   P‐SERIES       RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY841905   2001   GRTDN   1GRAA96291G318348   P‐SERIES       OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY841906   2001   GRTDN   1GRAA96291G318349   P‐SERIES       PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY841907   2001   GRTDN   1GRAA96291G318350   P‐SERIES       OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY841908   2001   GRTDN   1GRAA96291G318351   P‐SERIES       CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY841909   2001   GRTDN   1GRAA96291G318352   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841910   2001   GRTDN   1GRAA962X1B042749   P‐SERIES       VA      Chesapeake
 YRCF     CITY TRAILER     CTL‐TA   RDWY841912   2001   GRTDN   1GRAA96291B042751   P‐SERIES       CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY841913   2001   GRTDN   1GRAA96291B042752   P‐SERIES       TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY841914   2001   GRTDN   1GRAA96291B042753   P‐SERIES       CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY841915   2001   GRTDN   1GRAA96291B042754   P‐SERIES       NY      Mount Vernon
 YRCF     CITY TRAILER     CTL‐TA   RDWY841917   2001   GRTDN   1GRAA96291B042756   P‐SERIES       TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY841923   2001   GRTDN   1GRAA96291B042762   P‐SERIES       AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY841924   2001   GRTDN   1GRAA96291B042763   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841928   2001   GRTDN   1GRAA96291B042767   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841929   2001   GRTDN   1GRAA96291B042768   P‐SERIES       IL      McCook
 YRCF     CITY TRAILER     CTL‐TA   RDWY841931   2001   GRTDN   1GRAA96291B042770   P‐SERIES       NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY841934   2001   GRTDN   1GRAA96291B042773   P‐SERIES       CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY841935   2001   GRTDN   1GRAA96291B042774   P‐SERIES       RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY841936   2001   GRTDN   1GRAA96291B042775   P‐SERIES       CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 384 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY841937   2001   GRTDN   1GRAA96291B042776   P‐SERIES   NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY841938   2001   GRTDN   1GRAA96291B042777   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY841939   2001   GRTDN   1GRAA96291B042778   P‐SERIES   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY841940   2001   GRTDN   1GRAA96291B042779   P‐SERIES   IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY841941   2001   GRTDN   1GRAA96291B042780   P‐SERIES   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY841943   2005   WABSH   1JJV482W85L913838              SD      Rapid City
 YRCF     CITY TRAILER     CTL‐TA   RDWY841945   2001   GRTDN   1GRAA96291B042784   P‐SERIES   FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY841946   2001   GRTDN   1GRAA96291B042785   P‐SERIES   FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY841948   2001   GRTDN   1GRAA96291B042787   P‐SERIES   NE      Kearney
 YRCF     CITY TRAILER     CTL‐TA   RDWY841949   2001   GRTDN   1GRAA96291B042788   P‐SERIES   OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY841950   2001   GRTDN   1GRAA96291B042789   P‐SERIES   PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY841953   2001   GRTDN   1GRAA96291B042792   P‐SERIES   MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY841960   2001   GRTDN   1GRAA96291B042799   P‐SERIES   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY841962   2003   WABSH   1JJV482W73L834609   DVCVHPC    OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY841964   2005   WABSH   1JJV482WX5L913825              NY      Glenmont
 YRCF     CITY TRAILER     CTL‐TA   RDWY841966   2003   WABSH   1JJV482WX3L834717   DVCVHPC    ME      Fairfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY841972   2005   GRTDN   1GRAA96215K263212              IL      Quincy
 YRCF     CITY TRAILER     CTL‐TA   RDWY842020   2001   GRTDN   1GRAA96201K237565   P‐SERIES   MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY842026   2001   GRTDN   1GRAA96211K237588   P‐SERIES   NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY842027   2001   GRTDN   1GRAA96231K237589   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842029   2001   GRTDN   1GRAA96291K237595   P‐SERIES   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842032   2001   GRTDN   1GRAA96241K237598   P‐SERIES   CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY842036   2001   GRTDN   1GRAA96221K237616   P‐SERIES   OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY842037   2001   GRTDN   1GRAA96281K237619   P‐SERIES   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842038   2001   GRTDN   1GRAA962X1K237623   P‐SERIES   CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY842040   2001   GRTDN   1GRAA96251K237626   P‐SERIES   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842041   2001   GRTDN   1GRAA96271K237627   P‐SERIES   NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY842042   2001   GRTDN   1GRAA96291K237631   P‐SERIES   NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY842044   2001   GRTDN   1GRAA96241K237634   P‐SERIES   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842046   2001   GRTDN   1GRAA96211K237638   P‐SERIES   IL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY842049   2001   GRTDN   1GRAA96211K237641   P‐SERIES   TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY842052   2001   GRTDN   1GRAA962X1K237654   P‐SERIES   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842055   2001   GRTDN   1GRAA96271K237661   P‐SERIES   CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842058   2001   GRTDN   1GRAA96281K237670   P‐SERIES   CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY842059   2001   GRTDN   1GRAA962X1K237671   P‐SERIES   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842060   2001   GRTDN   1GRAA96271K237675   P‐SERIES   CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY842065   2001   GRTDN   1GRAA96251K237691   P‐SERIES   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY842066   2001   GRTDN   1GRAA96271K237692   P‐SERIES   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842069   2001   GRTDN   1GRAA96261K237697   P‐SERIES   NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY842071   2001   GRTDN   1GRAA962X1K237699   P‐SERIES   OH      Copley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842073   2001   GRTDN   1GRAA96291K237712   P‐SERIES   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY842076   2001   GRTDN   1GRAA96271K237725   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842079   2001   GRTDN   1GRAA96271K237739   P‐SERIES   FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY842082   2001   GRTDN   1GRAA96241K237746   P‐SERIES   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842085   2001   GRTDN   1GRAA962X1K237752   P‐SERIES   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY842088   2001   GRTDN   1GRAA962X1K237766   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842092   2001   GRTDN   1GRAA96241K237780   P‐SERIES   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842099   2001   GRTDN   1GRAA96281K237796   P‐SERIES   IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY842101   2001   GRTDN   1GRAA962X1K237798   P‐SERIES   IL      Rockford
 YRCF     CITY TRAILER     CTL‐TA   RDWY842103   2001   GRTDN   1GRAA962X1K237802   P‐SERIES   NY      Mount Vernon
 YRCF     CITY TRAILER     CTL‐TA   RDWY842104   2001   GRTDN   1GRAA96211K237803   P‐SERIES   FL      Ocala
 YRCF     CITY TRAILER     CTL‐TA   RDWY842111   2001   GRTDN   1GRAA96231K237821   P‐SERIES   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842112   2001   GRTDN   1GRAA96291K237824   P‐SERIES   MS      Tupelo
 YRCF     CITY TRAILER     CTL‐TA   RDWY842113   2001   GRTDN   1GRAA96201K237825   P‐SERIES   FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY842115   2001   GRTDN   1GRAA96241K237830   P‐SERIES   GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842121   2001   GRTDN   1GRAA96291K237841   P‐SERIES   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842124   2001   GRTDN   1GRAA96241K237844   P‐SERIES   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842125   2001   GRTDN   1GRAA962X1K237847   P‐SERIES   OH      Bowling Green
 YRCF     CITY TRAILER     CTL‐TA   RDWY842126   2001   GRTDN   1GRAA96211K237848   P‐SERIES   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842130   2001   GRTDN   1GRAA96261K237862   P‐SERIES   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842131   2001   GRTDN   1GRAA96251K237870   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842133   2001   GRTDN   1GRAA96291K237872   P‐SERIES   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842134   2001   GRTDN   1GRAA962X1K237878   P‐SERIES   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842135   2001   GRTDN   1GRAA962X1K237881   P‐SERIES   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842137   2001   GRTDN   1GRAA96231K237883   P‐SERIES   TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY842138   2001   GRTDN   1GRAA96271K237885   P‐SERIES   NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY842141   2001   GRTDN   1GRAA96241K237889   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842143   2001   GRTDN   1GRAA96241K237892   P‐SERIES   CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY842147   2001   GRTDN   1GRAA96271K237899   P‐SERIES   OK      Tulsa
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 385 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842149   2001   GRTDN   1GRAA96251K237903   P‐SERIES   FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐TA   RDWY842150   2001   GRTDN   1GRAA96291K237905   P‐SERIES   FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐TA   RDWY842152   2001   GRTDN   1GRAA96221K237910   P‐SERIES   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842153   2001   GRTDN   1GRAA96281K237913   P‐SERIES   TX      Texarkana
 YRCF     CITY TRAILER     CTL‐TA   RDWY842155   2001   GRTDN   1GRAA96211K237915   P‐SERIES   CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY842158   2001   GRTDN   1GRAA962X1K237928   P‐SERIES   TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY842159   2001   GRTDN   1GRAA96211K237929   P‐SERIES   IL      Joliet
 YRCF     CITY TRAILER     CTL‐TA   RDWY842160   2001   GRTDN   1GRAA96231K237933   P‐SERIES   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY842161   2001   GRTDN   1GRAA96271K237935   P‐SERIES   OH      Akron
 YRCF     CITY TRAILER     CTL‐TA   RDWY842163   2001   GRTDN   1GRAA96201K237937   P‐SERIES   TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842165   2001   GRTDN   1GRAA96201K237940   P‐SERIES   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY842166   2001   GRTDN   1GRAA96221K237941   P‐SERIES   CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842168   2001   GRTDN   1GRAA96281K237944   P‐SERIES   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842169   2001   GRTDN   1GRAA962X1K237945   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842172   2001   GRTDN   1GRAA96221K237955   P‐SERIES   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842173   2001   GRTDN   1GRAA96241K237956   P‐SERIES   OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842175   2001   GRTDN   1GRAA96231K237964   P‐SERIES   FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY842176   2001   GRTDN   1GRAA96271K237966   P‐SERIES   OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842177   2001   GRTDN   1GRAA96291K237967   P‐SERIES   FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY842178   2001   GRTDN   1GRAA96291K237970   P‐SERIES   OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY842182   2001   GRTDN   1GRAA96211K237977   P‐SERIES   NY      Maspeth
 YRCF     CITY TRAILER     CTL‐TA   RDWY842187   2001   GRTDN   1GRAA96271K237983   P‐SERIES   GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY842188   2001   GRTDN   1GRAA96201K237985   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842190   2001   GRTDN   1GRAA96261K237988   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842192   2001   GRTDN   1GRAA96261K237991   P‐SERIES   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842193   2001   GRTDN   1GRAA96281K238169   P‐SERIES   OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY842194   2001   GRTDN   1GRAA96261K238171   P‐SERIES   TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY842196   2001   GRTDN   1GRAA96231K238175   P‐SERIES   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842200   2001   GRTDN   1GRAA962X1K238187   P‐SERIES   FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY842202   2001   GRTDN   1GRAA96251K238193   P‐SERIES   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY842203   2001   GRTDN   1GRAA96291K238195   P‐SERIES   FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY842204   2001   GRTDN   1GRAA96201K238196   P‐SERIES   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842208   2001   GRTDN   1GRAA96241K238203   P‐SERIES   KS      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842209   2001   GRTDN   1GRAA96281K238205   P‐SERIES   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842210   2001   GRTDN   1GRAA962X1K238206   P‐SERIES   AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY842211   2001   GRTDN   1GRAA96231K238208   P‐SERIES   GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842212   2001   GRTDN   1GRAA96251K238212   P‐SERIES   NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY842215   2001   GRTDN   1GRAA96221K238216   P‐SERIES   CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842216   2001   GRTDN   1GRAA96241K238217   P‐SERIES   TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY842217   2001   GRTDN   1GRAA96281K238219   P‐SERIES   TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY842219   2001   GRTDN   1GRAA96211K238224   P‐SERIES   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842220   2001   GRTDN   1GRAA96231K238225   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842226   2001   GRTDN   1GRAA96201K238232   P‐SERIES   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY842230   2001   GRTDN   1GRAA96231K238242   P‐SERIES   TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842232   2001   GRTDN   1GRAA96221K238250   P‐SERIES   NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY842234   2001   GRTDN   1GRAA96271K238258   P‐SERIES   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842235   2001   GRTDN   1GRAA96291K238259   P‐SERIES   TX      Texarkana
 YRCF     CITY TRAILER     CTL‐TA   RDWY842241   2001   GRTDN   1GRAA962X1K238268   P‐SERIES   WA      Tacoma
 YRCF     CITY TRAILER     CTL‐TA   RDWY842242   2001   GRTDN   1GRAA96231K238273   P‐SERIES   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842243   2001   GRTDN   1GRAA96271K238275   P‐SERIES   NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY842247   2001   GRTDN   1GRAA96281K238284   P‐SERIES   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842248   2001   GRTDN   1GRAA962X1K238285   P‐SERIES   CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY842250   2001   GRTDN   1GRAA96231K238287   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842251   2001   GRTDN   1GRAA96251K238288   P‐SERIES   NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY842253   2001   GRTDN   1GRAA96281K238298   P‐SERIES   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842254   2001   GRTDN   1GRAA962X1K238299   P‐SERIES   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY842255   2001   GRTDN   1GRAA96221K238300   P‐SERIES   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842256   2001   GRTDN   1GRAA96261K238302   P‐SERIES   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842257   2001   GRTDN   1GRAA96281K238303   P‐SERIES   TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY842258   2001   GRTDN   1GRAA96251K238307   P‐SERIES   FL      Ocala
 YRCF     CITY TRAILER     CTL‐TA   RDWY842259   2001   GRTDN   1GRAA96221K238314   P‐SERIES   CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY842260   2001   GRTDN   1GRAA96281K238321   P‐SERIES   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842263   2001   GRTDN   1GRAA96251K238324   P‐SERIES   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842265   2001   GRTDN   1GRAA96201K238327   P‐SERIES   CA      Fresno
 YRCF     CITY TRAILER     CTL‐TA   RDWY842267   2001   GRTDN   1GRAA96201K238330   P‐SERIES   NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY842268   2001   GRTDN   1GRAA96221K238331   P‐SERIES   MN      Saint Cloud
 YRCF     CITY TRAILER     CTL‐TA   RDWY842269   2001   GRTDN   1GRAA96241K238332   P‐SERIES   FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐TA   RDWY842272   2001   GRTDN   1GRAA96221G318358   P‐SERIES   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842273   2001   GRTDN   1GRAA96241G318359   P‐SERIES   MO      Saint Louis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 386 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842274   2001   GRTDN   1GRAA96221G318361   P‐SERIES       VA      Fishersville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842276   2001   GRTDN   1GRAA96211G318366   P‐SERIES       TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY842277   2001   GRTDN   1GRAA96251G318371   P‐SERIES       IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY842278   2001   GRTDN   1GRAA96271G318372   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842279   2001   GRTDN   1GRAA96291G318373   P‐SERIES       FL      Jacksonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842282   2001   GRTDN   1GRAA96261G318377   P‐SERIES       MN      Owatonna
 YRCF     CITY TRAILER     CTL‐TA   RDWY842283   2001   GRTDN   1GRAA96281G318378   P‐SERIES       AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY842284   2001   GRTDN   1GRAA96261G318380   P‐SERIES       CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY842285   2001   GRTDN   1GRAA96251G318385   P‐SERIES       CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY842287   2001   GRTDN   1GRAA96201G318388   P‐SERIES       CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY842288   2001   GRTDN   1GRAA96221G318389   P‐SERIES       OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842289   2001   GRTDN   1GRAA96291G318390   P‐SERIES       NJ      South Plainfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842292   2001   GRTDN   1GRAA96251G318399   P‐SERIES       MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842293   2001   GRTDN   1GRAA96281G318400   P‐SERIES       OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842295   2001   GRTDN   1GRAA96211G318402   P‐SERIES       AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY842296   2001   GRTDN   1GRAA96251G318404   P‐SERIES       TX      Sherman
 YRCF     CITY TRAILER     CTL‐TA   RDWY842297   2001   GRTDN   1GRAA96271G318405   P‐SERIES       NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY842299   2001   GRTDN   1GRAA96231G318417   P‐SERIES       MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842300   2001   GRTDN   1GRAA96251G318418   P‐SERIES       NC      Kernersville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842303   2001   GRTDN   1GRAA96281G318428   P‐SERIES       NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY842307   2001   GRTDN   1GRAA96291G318440   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842311   2001   GRTDN   1GRAA96211G318447   P‐SERIES       MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842313   2001   GRTDN   1GRAA96211G318450   P‐SERIES       IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY842318   2001   GRTDN   1GRAA96241G318457   P‐SERIES       MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842340   2001   GRTDN   1GRAA96261K237280   ************   IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY842342   2001   GRTDN   1GRAA96211K237283   ************   RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842343   2001   GRTDN   1GRAA96241K237293   ************   NY      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY842344   2001   GRTDN   1GRAA96281K237295   ************   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842345   2001   GRTDN   1GRAA96281K237300   ************   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842350   2001   GRTDN   1GRAA96211K237316   ************   OK      Tulsa
 YRCF     CITY TRAILER     CTL‐TA   RDWY842351   2001   GRTDN   1GRAA96241K237326   ************   IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY842356   2001   GRTDN   1GRAA96251K237349   ************   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842359   2001   GRTDN   1GRAA96271K237370   ************   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY842364   2001   GRTDN   1GRAA96201K237386   ************   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842366   2001   GRTDN   1GRAA96251K237402   ************   CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY842368   2001   GRTDN   1GRAA96261K237411   ************   GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY842369   2001   GRTDN   1GRAA96281K237412   ************   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842370   2001   GRTDN   1GRAA96271K237420   ************   PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY842371   2001   GRTDN   1GRAA96291K237421   ************   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842373   2001   GRTDN   1GRAA96261K237439   ************   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842374   2001   GRTDN   1GRAA96261K237442   ************   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY842375   2001   GRTDN   1GRAA96211K237445   ************   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY842376   2001   GRTDN   1GRAA96271K237448   ************   FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY842377   2001   GRTDN   1GRAA96291K237449   ************   IL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY842378   2001   GRTDN   1GRAA96241K237455   ************   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842379   2001   GRTDN   1GRAA96261K237456   ************   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY842383   2001   GRTDN   1GRAA96231K237480   ************   NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY842385   2001   GRTDN   1GRAA96281K237488   ************   TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY842386   2001   GRTDN   1GRAA96281K237491   ************   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY842390   2001   GRTDN   1GRAA96261K237506   ************   TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY842396   2001   GRTDN   1GRAA96201K237520   ************   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY842398   2001   GRTDN   1GRAA96251K237528   ************   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842400   2001   GRTDN   1GRAA96231K237530   ************   CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY842401   2001   GRTDN   1GRAA96271K237532   ************   IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY842403   2001   GRTDN   1GRAA96231K237544   ************   MO      Strafford
 YRCF     CITY TRAILER     CTL‐TA   RDWY842404   2001   GRTDN   1GRAA96201K237548   ************   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842405   2001   GRTDN   1GRAA96221K237552   ************   OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842406   2001   GRTDN   1GRAA96231K237561                  TX      Waco
 YRCF     CITY TRAILER     CTL‐TA   RDWY842410   2001   UTLTY   1UYVS24891P524513   USED           PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY842413   2001   UTLTY   1UYVS24811P524523   USED           CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842414   2001   UTLTY   1UYVS24831P524524   USED           MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842431   2001   UTLTY   1UYVS24821C395005   USED           CA      Fresno
 YRCF     CITY TRAILER     CTL‐TA   RDWY842433   2001   UTLTY   1UYVS24881C395008   USED           TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842434   2001   UTLTY   1UYVS24881C395011   USED           MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842435   2014   GRTDN   1GRAP9626ED452795                  MD      Landover
 YRCF     CITY TRAILER     CTL‐TA   RDWY842469   1998   STGHT   1DW1A482XWS130597   USED           TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY842479   1998   FRUHF   1JJV482F3WF523598   USED           CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY842502   1998   FRUHF   1JJV482F2WF523611   USED           GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842503   1998   FRUHF   1JJV482F7WF523622   USED           MO      Kansas City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 387 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842510   1998   FRUHF   1JJV482F5WF530522   USED           TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842530   2000   TRLMB   1PT01JAH516002896   USED           MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842531   2000   TRLMB   1PT01JAH716002897   USED           CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY842540   2000   TRLMB   1PT01JAH416002906   USED           TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY842546   2000   TRLMB   1PT01JAH9Y6007335   USED           FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY842549   2000   TRLMB   1PT01JAH3Y6007329   USED           OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842555   2000   TRLMB   1PT01JAH2Y6007337   USED           OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842569   2003   WABSH   1JJV482W43L849732   DVCVHPC        AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY842571   2006   WABSH   1JJV482W76L988998   SA 102 MC      MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY842573   2006   WABSH   1JJV482WX6L988963                  TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY842575   2009   GRTDN   1GRAP96229T551920   CPL‐3313       MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY842576   2005   WABSH   1JJV482W95L905327                  AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY842577   2005   WABSH   1JJV482W95L905277                  AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY842578   2004   GRTDN   1GRAA96254K262255                  OH      North Lima
 YRCF     CITY TRAILER     CTL‐TA   RDWY842579   2003   WABSH   1JJV482WX3L849377   DVCVHPC        SC      Columbia
 YRCF     CITY TRAILER     CTL‐TA   RDWY842582   2000   DORSY   1DTV41Z29YA278896   ************   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842586   2000   DORSY   1DTV41Z27YA278900   ************   TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842597   2000   DORSY   1DTV41Z21YA278911   ************   TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842604   2000   DORSY   1DTV41Z24YA278918   ************   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842616   2000   DORSY   1DTV41Z25YA278930   ************   KS      Wichita
 YRCF     CITY TRAILER     CTL‐TA   RDWY842618   2000   DORSY   1DTV41Z29YA278932   ************   NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY842647   2000   DORSY   1DTV41Z25YA278961   ************   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY842650   2000   DORSY   1DTV41Z20YA278964   ************   IL      Danville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842658   2000   DORSY   1DTV41Z2XYA278972   ************   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842660   2000   DORSY   1DTV41Z23YA278974   ************   CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842665   2000   DORSY   1DTV41Z22YA278979   ************   TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842672   2000   DORSY   1DTV41Z2XYA278986   ************   GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY842673   2000   DORSY   1DTV41Z21YA278987   ************   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842676   2000   DORSY   1DTV41Z21YA278990   ************   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842677   2000   DORSY   1DTV41Z23YA278991   ************   VA      Roanoke
 YRCF     CITY TRAILER     CTL‐TA   RDWY842679   2000   DORSY   1DTV41Z27YA278993                  FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY842686   2000   DORSY   1DTV41Z29YA279000   ************   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842704   2000   DORSY   1DTV41Z28YA279019   ************   CA      Calexico
 YRCF     CITY TRAILER     CTL‐TA   RDWY842705   2000   DORSY   1DTV41Z24YA279020   ************   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY842709   2000   DORSY   1DTV41Z21YA279024   ************   CA      Brisbane
 YRCF     CITY TRAILER     CTL‐TA   RDWY842714   2000   DORSY   1DTV41Z20YA279029   ************   OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842715   2000   DORSY   1DTV41Z27YA279030   ************   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842725   2000   DORSY   1DTV41Z2XYA279040   ************   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842736   2000   DORSY   1DTV41Z24YA279051   ************   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842745   2000   DORSY   1DTV41Z25YA279060   ************   CO      Aurora
 YRCF     CITY TRAILER     CTL‐TA   RDWY842747   2000   DORSY   1DTV41Z29YA279062   ************   MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842761   2000   DORSY   1DTV41Z29YA279076   ************   TX      Laredo
 YRCF     CITY TRAILER     CTL‐TA   RDWY842765   2000   DORSY   1DTV41Z20YA279080   ************   CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY842771   2000   DORSY   1DTV41Z21YA279086   ************   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842774   2000   DORSY   1DTV41Z27YA279089   ************   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842777   2000   DORSY   1DTV41Z27YA279092   ************   MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY842785   2001   GRTDN   1GRAA96271S034916   48 FOOT        TX      Waco
 YRCF     CITY TRAILER     CTL‐TA   RDWY842789   2001   GRTDN   1GRAA96291S034903   48 FOOT        TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY842793   2001   GRTDN   1GRAA962X1S034912   48 FOOT        CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842795   2001   GRTDN   1GRAA96201S034921   48 FOOT        PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY842809   2001   GRTDN   1GRAA96261S034907   48 FOOT        MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY842811   2001   GRTDN   1GRAA96201S034949   48 FOOT        TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY842812   2001   GRTDN   1GRAA96291S034965   48 FOOT        CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY842814   2001   GRTDN   1GRAA96251S034901   48 FOOT        MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842816   2001   GRTDN   1GRAA96211S034930   48 FOOT        CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY842819   1999   STRCK   1S12E9484XD452125   48 FOOT        OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842820   1999   STRCK   1S12E9483XD452133   48 FOOT        OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842821   2001   GRTDN   1GRAA96221S034953   48 FOOT        NC      Durham
 YRCF     CITY TRAILER     CTL‐TA   RDWY842823   2001   GRTDN   1GRAA96271S037902   48 FOOT        CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY842824   2001   GRTDN   1GRAA96221S034919   48 FOOT        RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842826   2001   GRTDN   1GRAA962X1S034926   48 FOOT        MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842828   2001   GRTDN   1GRAA96231S034945   48 FOOT        IL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY842831   2001   GRTDN   1GRAA96221S034936   48 FOOT        TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842832   2001   GRTDN   1GRAA96221S034967   48 FOOT        MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842841   2001   GRTDN   1GRAA96291S034934   48 FOOT        OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842844   2001   GRTDN   1GRAA96211S034958   48 FOOT        CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY842845   2001   GRTDN   1GRAA96231S034928   48 FOOT        FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐TA   RDWY842847   2001   GRTDN   1GRAA96241S034923   48 FOOT        OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842852   1999   TRLMB   1PT01AAH8X9013581   48 FOOT        OK      Oklahoma City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 388 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842857   1999   TRLMB   1PT01AAH4X9013587   48 FOOT      CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY842861   1999   TRLMB   1PT01AAH6X9013591   48 FOOT      FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY842867   1999   TRLMB   1PT01AAH9X9013598   48 FOOT      OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842868   1999   TRLMB   1PT01AAH0X9013599   48 FOOT      CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY842870   1999   TRLMB   1PT01AAH9X9013603   48 FOOT      WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY842898   2000   TRLMB   1PT01DAH2Y9007340   48 FOOT      MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842902   2003   WABSH   1JJV482W03L849260   DVCVHPC      OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842905   2006   WABSH   1JJV482W96L988937                VA      Roanoke
 YRCF     CITY TRAILER     CTL‐TA   RDWY842906   2003   WABSH   1JJV482W13L834671   DVCVHPC      LA      Port Allen
 YRCF     CITY TRAILER     CTL‐TA   RDWY842907   2003   WABSH   1JJV482W23L834694   DVCVHPC      MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842908   2005   WABSH   1JJV482W85L905321                TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY842909   2009   GRTDN   1GRAP96299T551932   CPL‐3313     OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842910   2005   WABSH   1JJV482W85L905271                OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842911   2005   WABSH   1JJV482W05L905278                NY      East Syracuse
 YRCF     CITY TRAILER     CTL‐TA   RDWY842912   2001   FRUHF   1JJV482F41F728730   NONE         MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842913   2005   WABSH   1JJV482WX5L905272                OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842914   2006   WABSH   1JJV482W96L989053                CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY842915   2005   WABSH   1JJV482WX5L913811                OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842916   1995   GRTDN   1GRAA96274K262323   DV           OR      Eugene
 YRCF     CITY TRAILER     CTL‐TA   RDWY842917   2004   GRTDN   1GRAA96254K262241                CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842918   2003   WABSH   1JJV482W03L834712   DVCVHPC      NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY842919   2005   WABSH   1JJV482W45L905347                CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY842920   2006   WABSH   1JJV482W36L989016                OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842921   2005   WABSH   1JJV482W65L913756                MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY842922   2005   WABSH   1JJV482W55L913764                OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842923   2005   GRTDN   1GRAA96235K263129                OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842925   2006   WABSH   1JJV482W66L989009                OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842926   2006   WABSH   1JJV482W36L988996                PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY842927   2006   WABSH   1JJV482W16L988981                IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY842929   2003   WABSH   1JJV482WX3L849816   DVCVHPC      MS      Richland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842930   2003   WABSH   1JJV482W53L834656   DVCVHPC      NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY842931   2003   WABSH   1JJV482W43L834759   DVCVHPC      ME      Fairfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842932   2004   GRTDN   1GRAA96254K262322                GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842933   2004   GRTDN   1GRAA96294K262257                NC      Rocky Mount
 YRCF     CITY TRAILER     CTL‐TA   RDWY842934   2006   WABSH   1JJV482W86L988945                VA      Fishersville
 YRCF     CITY TRAILER     CTL‐TA   RDWY842935   2003   WABSH   1JJV482W73L849806   DVCVHPC      OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842936   2005   WABSH   1JJV482W15L913762                SC      Florence
 YRCF     CITY TRAILER     CTL‐TA   RDWY842937   2005   WABSH   1JJV482W75L913748                PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY842938   2005   WABSH   1JJV482W45L905235                AL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY842939   2005   GRTDN   1GRAA962X5K263094                PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY842940   2005   GRTDN   1GRAA96285K263238                MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842941   2005   GRTDN   1GRAA96255K263147                PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY842942   2006   WABSH   1JJV482W56L988966                MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842943   2003   WABSH   1JJV482W83L849295   DVCVHPC      OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842944   2004   GRTDN   1GRAA96234K262318                OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842945   2003   WABSH   1JJV482W03L849680   DVCVHPC      MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842946   2006   WABSH   1JJV482W96L988940                RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842947   2006   WABSH   1JJV482W36L988917                SC      West Columbia
 YRCF     CITY TRAILER     CTL‐TA   RDWY842948   2005   WABSH   1JJV482WX5L913730                AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY842949   2006   WABSH   1JJV482WX6L989031                MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842951   2003   WABSH   1JJV482W03L849419   DVCVHPC      CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY842952   2006   WABSH   1JJV482W36L988951                CA      Bakersfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842953   2003   WABSH   1JJV482W73L849367   DVCVHPC      OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842954   2005   WABSH   1JJV482W05L905295                WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY842955   2005   GRTDN   1GRAA96285K263093                CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY842956   2004   GRTDN   1GRAA96234K262240                MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY842957   2006   WABSH   1JJV482W46L988991                CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY842958   2003   WABSH   1JJV482W63L849442   DVCVHPC      WA      Tacoma
 YRCF     CITY TRAILER     CTL‐TA   RDWY842959   2003   WABSH   1JJV482W43L849794   DVCVHPC      CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY842960   2004   GRTDN   1GRAA96204K262289                OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842961   2006   WABSH   1JJV482WX6L989028                MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY842962   2005   WABSH   1JJV482W05L913770                OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842964   2006   WABSH   1JJV482W06L988941                MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY842965   2005   WABSH   1JJV482W15L905290                OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842966   2004   GRTDN   1GRAA96284K262217                OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842967   2005   GRTDN   1GRAA96255K263133                CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY842968   2005   GRTDN   1GRAA96235K263194                SD      Watertown
 YRCF     CITY TRAILER     CTL‐TA   RDWY842969   2003   WABSH   1JJV482W73L834643   DVCVHPC      CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY842970   2003   WABSH   1JJV482W93L834742   DVCVHPC      IL      Montgomery
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 389 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842971   2004   GRTDN   1GRAA962X4K262204                CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842972   2005   WABSH   1JJV482W75L913751                CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY842973   2005   WABSH   1JJV482WX5L905353                OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842974   2005   GRTDN   1GRAA96275K263117                WA      Tacoma
 YRCF     CITY TRAILER     CTL‐TA   RDWY842975   2003   WABSH   1JJV482W53L849240   DVCVHPC      OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842976   2003   WABSH   1JJV482W13L834623   DVCVHPC      CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY842977   2003   WABSH   1JJV482W03L834757   DVCVHPC      CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY842978   2003   WABSH   1JJV482W33L834770   DVCVHPC      CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY842979   2003   WABSH   1JJV482W83L849359   DVCVHPC      CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842980   2003   WABSH   1JJV482W33L849494   DVCVHPC      CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842981   2003   WABSH   1JJV482WX3L849508   DVCVHPC      CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842982   2004   GRTDN   1GRAA96284K262248                AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY842983   2005   WABSH   1JJV482W35L913696                CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY842984   2006   WABSH   1JJV482W86L988931                CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY842985   2003   WABSH   1JJV482W63L849246   DVCVHPC      CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY842987   2005   GRTDN   1GRAA96235K263213                OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842988   2009   GRTDN   1GRAP96279T551895   CPL‐3313     UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐TA   RDWY842989   2004   GRTDN   1GRAA96254K262207                ME      Westbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY842990   2006   WABSH   1JJV482W46L989025                OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY842991   2004   GRTDN   1GRAA96234K262237                TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY842992   2003   WABSH   1JJV482W03L834659   DVCVHPC      NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY842993   2006   WABSH   1JJV482W96L988923                ME      Fairfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY842994   2005   GRTDN   1GRAA96265K263142                PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY842995   2005   GRTDN   1GRAA96205K263153                OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY842996   2003   WABSH   1JJV482W23L849745   DVCVHPC      IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY842997   2005   WABSH   1JJV482W85L905268                NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY842998   2001   FRUHF   1JJV482F71F728723   NONE         CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY842999   2003   WABSH   1JJV482W63L849585   DVCVHPC      CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY843000   2003   WABSH   1JJV482W83L849734   DVCVHPC      CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY843001   2000   TRLMB   1PT01JAH0Y9016794                CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY843002   2005   GRTDN   1GRAA96215K263162                CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY843003   2005   GRTDN   1GRAA96265K263173                CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY843004   2005   GRTDN   1GRAA96205K263203                CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY843005   2005   WABSH   1JJV482W85L905304                CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY843006   2005   WABSH   1JJV482WX5L905367                CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY843007   2004   GRTDN   1GRAA962X4K262266                CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843008   2006   WABSH   1JJV482W66L988927                CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY843009   2001   FRUHF   1JJV482F41F728713   NONE         CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY843010   2005   WABSH   1JJV482W05L913798                NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843012   2003   WABSH   1JJV482W33L834655   DVCVHPC      CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843013   2003   WABSH   1JJV482W13L834783   DVCVHPC      CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843014   2003   WABSH   1JJV482W73L849630   DVCVHPC      CA      Hayward
 YRCF     CITY TRAILER     CTL‐TA   RDWY843015   2005   WABSH   1JJV482W55L905356                AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY843016   2009   GRTDN   1GRAP96239T551912   CPL‐3313     OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843017   2006   WABSH   1JJV482W86L989027                AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY843019   2003   WABSH   1JJV482W23L849485   DVCVHPC      FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY843020   2003   WABSH   1JJV482W93L849645   DVCVHPC      FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY843023   2003   WABSH   1JJV482W33L849334   DVCVHPC      NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843025   2006   WABSH   1JJV482W96L989019                IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843027   2006   WABSH   1JJV482W66L989057                OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843028   2005   GRTDN   1GRAA96275K263165                AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY843029   2003   WABSH   1JJV482W33L834705   DVCVHPC      CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY843030   2003   WABSH   1JJV482W13L849395   DVCVHPC      NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843031   2006   WABSH   1JJV482W56L988997                NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843032   2001   FRUHF   1JJV482FX1F728733   NONE         IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843033   2005   WABSH   1JJV482WX5L905305                OH      Bowling Green
 YRCF     CITY TRAILER     CTL‐TA   RDWY843034   2003   WABSH   1JJV482W43L834616   DVCVHPC      WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY843035   2003   WABSH   1JJV482W23L849793   DVCVHPC      MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843036   2005   WABSH   1JJV482W95L905294                IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843037   2009   GRTDN   1GRAP96299T551915   CPL‐3313     OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843038   2005   WABSH   1JJV482W15L905337                NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843039   2003   WABSH   1JJV482W63L834617   DVCVHPC      CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY843040   2003   WABSH   1JJV482WX3L849721   DVCVHPC      WA      Seattle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843041   2006   WABSH   1JJV482W76L989004                CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843043   2005   WABSH   1JJV482W15L905354                LA      Shreveport
 YRCF     CITY TRAILER     CTL‐TA   RDWY843044   2005   WABSH   1JJV482W75L913703                MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843046   2001   FRUHF   1JJV482F91F728674   NONE         IL      Edwardsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843047   2003   WABSH   1JJV482W73L849448   DVCVHPC      NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843048   2005   WABSH   1JJV482W85L913807                FL      Orlando
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 390 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843049   2005   WABSH   1JJV482W95L913833              NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843050   2003   WABSH   1JJV482W63L834746   DVCVHPC    CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY843051   2003   WABSH   1JJV482W33L834767   DVCVHPC    CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843052   2005   WABSH   1JJV482W75L913832              CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY843053   2003   WABSH   1JJV482W63L849277   DVCVHPC    MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843056   2003   WABSH   1JJV482W93L834756   DVCVHPC    IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843057   2003   WABSH   1JJV482W73L849465   DVCVHPC    NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843058   2003   WABSH   1JJV482W13L834735   DVCVHPC    MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843059   2004   GRTDN   1GRAA96284K262203              OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843060   2005   WABSH   1JJV482W15L905306              OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843061   2009   GRTDN   1GRAP96259T551894   CPL‐3313   NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843064   2003   WABSH   1JJV482W03L849596   DVCVHPC    NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843065   2004   GRTDN   1GRAA96214K262334              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843066   2003   WABSH   1JJV482WX3L834748   DVCVHPC    RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843068   2005   WABSH   1JJV482W25L913690              CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843070   2005   WABSH   1JJV482W55L905311              LA      Port Allen
 YRCF     CITY TRAILER     CTL‐TA   RDWY843071   2003   WABSH   1JJV482WX3L834698   DVCVHPC    LA      Port Allen
 YRCF     CITY TRAILER     CTL‐TA   RDWY843072   2005   GRTDN   1GRAA96215K263193              LA      Port Allen
 YRCF     CITY TRAILER     CTL‐TA   RDWY843073   2003   WABSH   1JJV482W83L834781   DVCVHPC    WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY843074   2001   FRUHF   1JJV482F61F728678   NONE       IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843076   2001   FRUHF   1JJV482F01F728711   NONE       OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843077   2006   WABSH   1JJV482W66L988958              OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843078   2005   GRTDN   1GRAA96225K263221              OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843081   2003   WABSH   1JJV482W93L849273   DVCVHPC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843082   2003   WABSH   1JJV482W23L849373   DVCVHPC    SC      Piedmont
 YRCF     CITY TRAILER     CTL‐TA   RDWY843083   2003   WABSH   1JJV482W93L849239   DVCVHPC    TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843084   2004   GRTDN   1GRAA96234K262254              IL      Decatur
 YRCF     CITY TRAILER     CTL‐TA   RDWY843088   2003   WABSH   1JJV482W13L849302   DVCVHPC    NV      Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843090   2005   WABSH   1JJV482W95L905246              CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY843091   2009   GRTDN   1GRAP96209T551883   CPL‐3313   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843093   2003   WABSH   1JJV482W23L834632   DVCVHPC    NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY843094   2003   WABSH   1JJV482W53L849576   DVCVHPC    VA      Fishersville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843097   2005   GRTDN   1GRAA96205K263251              MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843101   2005   WABSH   1JJV482W35L913813              LA      Port Allen
 YRCF     CITY TRAILER     CTL‐TA   RDWY843102   2005   WABSH   1JJV482W45L905302              FL      Jacksonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843103   2003   WABSH   1JJV482W33L834736   DVCVHPC    TN      Kingsport
 YRCF     CITY TRAILER     CTL‐TA   RDWY843104   2003   WABSH   1JJV482WX3L834653   DVCVHPC    GA      Thomasville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843105   2005   WABSH   1JJV482W75L913796              CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY843106   2003   WABSH   1JJV482WX3L849251   DVCVHPC    MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843108   2003   WABSH   1JJV482W43L849441   DVCVHPC    FL      Jacksonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843110   2005   WABSH   1JJV482W75L905343              OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843111   2003   WABSH   1JJV482W93L834708   DVCVHPC    PA      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843112   2003   WABSH   1JJV482W73L849286   DVCVHPC    PA      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843113   2004   GRTDN   1GRAA96224K262228              PA      Erie
 YRCF     CITY TRAILER     CTL‐TA   RDWY843114   2005   WABSH   1JJV482WX5L913775              AL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY843115   2005   WABSH   1JJV482W25L913799              PA      Erie
 YRCF     CITY TRAILER     CTL‐TA   RDWY843116   2005   WABSH   1JJV482W75L913815              TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843117   2005   WABSH   1JJV482W05L913851              PA      Du Bois
 YRCF     CITY TRAILER     CTL‐TA   RDWY843118   2005   GRTDN   1GRAA962X5K263127              PA      Erie
 YRCF     CITY TRAILER     CTL‐TA   RDWY843119   2005   GRTDN   1GRAA96225K263235              PA      Erie
 YRCF     CITY TRAILER     CTL‐TA   RDWY843120   2006   WABSH   1JJV482W46L989056              SC      Columbia
 YRCF     CITY TRAILER     CTL‐TA   RDWY843121   2009   GRTDN   1GRAP96259T551913   CPL‐3313   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843122   2003   WABSH   1JJV482W23L849342   DVCVHPC    SC      Florence
 YRCF     CITY TRAILER     CTL‐TA   RDWY843123   2003   WABSH   1JJV482W63L849344   DVCVHPC    MA      North Reading
 YRCF     CITY TRAILER     CTL‐TA   RDWY843124   2003   WABSH   1JJV482W03L849405   DVCVHPC    MA      North Reading
 YRCF     CITY TRAILER     CTL‐TA   RDWY843125   2003   WABSH   1JJV482W43L834695   DVCVHPC    MA      North Reading
 YRCF     CITY TRAILER     CTL‐TA   RDWY843126   2005   GRTDN   1GRAA962X5K263130              IL      Morton
 YRCF     CITY TRAILER     CTL‐TA   RDWY843127   2005   GRTDN   1GRAA96275K263196              WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY843128   2006   WABSH   1JJV482W06L989071              IL      Morton
 YRCF     CITY TRAILER     CTL‐TA   RDWY843130   2005   WABSH   1JJV482W55L913828              NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843131   2005   GRTDN   1GRAA96245K263172              NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843132   2003   WABSH   1JJV482W33L849687   DVCVHPC    TX      Laredo
 YRCF     CITY TRAILER     CTL‐TA   RDWY843133   2005   WABSH   1JJV482W35L913732              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843134   2005   GRTDN   1GRAA96275K263151              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843135   2005   WABSH   1JJV482W65L905284              NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843136   2003   WABSH   1JJV482W33L849608   DVCVHPC    NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843137   2003   WABSH   1JJV482W23L849244   DVCVHPC    NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843138   2003   WABSH   1JJV482W13L849669   DVCVHPC    PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843139   2003   WABSH   1JJV482W63L834794   DVCVHPC    VA      Chesapeake
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 391 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843140   2005   WABSH   1JJV482W55L905244              VA      Chesapeake
 YRCF     CITY TRAILER     CTL‐TA   RDWY843141   2005   WABSH   1JJV482W85L905349              MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843142   2005   GRTDN   1GRAA96295K263202              GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY843143   2004   GRTDN   1GRAA96204K262213              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843144   2005   WABSH   1JJV482W95L913816              VA      Fishersville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843145   2003   WABSH   1JJV482W53L849383   DVCVHPC    IL      Rock Island
 YRCF     CITY TRAILER     CTL‐TA   RDWY843146   2005   GRTDN   1GRAA96245K263107              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843147   2005   WABSH   1JJV482W25L913737              MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843148   2006   WABSH   1JJV482W16L989077              FL      Jacksonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843149   2003   WABSH   1JJV482W33L849589   DVCVHPC    RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843150   2009   GRTDN   1GRAP96269T551922   CPL‐3313   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843151   2003   WABSH   1JJV482W03L834791   DVCVHPC    RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843152   2003   WABSH   1JJV482WX3L849718   DVCVHPC    IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843153   2004   GRTDN   1GRAA96294K262310              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843154   2005   WABSH   1JJV482W25L905315              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843156   2004   GRTDN   1GRAA96234K262321              MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843157   2005   GRTDN   1GRAA96245K263155              MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843158   2009   GRTDN   1GRAP96279T551931   CPL‐3313   PA      Du Bois
 YRCF     CITY TRAILER     CTL‐TA   RDWY843159   2003   WABSH   1JJV482W43L849729   DVCVHPC    NC      Fayetteville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843160   2003   WABSH   1JJV482W83L834764   DVCVHPC    PA      Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843161   2005   GRTDN   1GRAA96245K263088              PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐TA   RDWY843162   2005   WABSH   1JJV482W55L913814              MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843163   2004   GRTDN   1GRAA96264K262295              PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐TA   RDWY843164   2003   WABSH   1JJV482W93L849287   DVCVHPC    PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐TA   RDWY843168   2005   WABSH   1JJV482W05L905328              NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843169   2005   WABSH   1JJV482W85L905318              NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843170   2005   GRTDN   1GRAA96225K263185              NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY843171   2005   WABSH   1JJV482W95L913847              MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843172   2006   WABSH   1JJV482W46L988957              MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843173   2003   WABSH   1JJV482W73L849515   DVCVHPC    MS      Richland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843175   2005   WABSH   1JJV482W65L905348              FL      Ocala
 YRCF     CITY TRAILER     CTL‐TA   RDWY843176   2003   WABSH   1JJV482W23L849292   DVCVHPC    AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY843177   2005   WABSH   1JJV482W05L913705              ME      Fairfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843178   2003   WABSH   1JJV482W63L849392   DVCVHPC    MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843179   2003   WABSH   1JJV482W63L849554   DVCVHPC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843180   2005   GRTDN   1GRAA96215K263131              NY      East Syracuse
 YRCF     CITY TRAILER     CTL‐TA   RDWY843182   2003   WABSH   1JJV482W03L849713   DVCVHPC    LA      Shreveport
 YRCF     CITY TRAILER     CTL‐TA   RDWY843183   2005   GRTDN   1GRAA96295K263085              NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843184   2003   WABSH   1JJV482W23L849759   DVCVHPC    MN      Saint Cloud
 YRCF     CITY TRAILER     CTL‐TA   RDWY843185   2003   WABSH   1JJV482W13L834685   DVCVHPC    PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843186   2005   WABSH   1JJV482W15L913812              NY      Rochester
 YRCF     CITY TRAILER     CTL‐TA   RDWY843189   2004   GRTDN   1GRAA96204K262342              TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843192   2005   GRTDN   1GRAA96295K263250              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843193   2005   GRTDN   1GRAA96225K263218              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843194   2003   WABSH   1JJV482W83L849314   DVCVHPC    FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843195   2003   WABSH   1JJV482W53L849349   DVCVHPC    FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843196   2005   WABSH   1JJV482W15L905273              FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843197   2005   WABSH   1JJV482W75L913765              FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843198   2005   WABSH   1JJV482W55L905342              FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY843199   2003   WABSH   1JJV482W23L849468   DVCVHPC    FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843200   2003   WABSH   1JJV482W73L834710   DVCVHPC    FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY843201   2006   WABSH   1JJV482W86L975712              FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843202   2005   GRTDN   1GRAA962X5K263208              FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843203   2003   WABSH   1JJV482W43L849391   DVCVHPC    FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843204   2003   WABSH   1JJV482W03L849498   DVCVHPC    FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843206   2003   WABSH   1JJV482W23L849325   DVCVHPC    CT      Plantsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843207   2006   WABSH   1JJV482W26L988939              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843209   2006   WABSH   1JJV482W46L989011              PA      Erie
 YRCF     CITY TRAILER     CTL‐TA   RDWY843211   2005   WABSH   1JJV482W95L905313              MI      Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843212   2006   WABSH   1JJV482W36L989002              OH      Copley
 YRCF     CITY TRAILER     CTL‐TA   RDWY843213   2005   WABSH   1JJV482W55L905325              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843214   2003   WABSH   1JJV482W33L849429   DVCVHPC    NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY843215   2005   GRTDN   1GRAA96235K263177              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843216   2005   WABSH   1JJV482W95L905358              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843217   2005   WABSH   1JJV482W95L905344              MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843218   2005   WABSH   1JJV482W15L905239              WI      Neenah
 YRCF     CITY TRAILER     CTL‐TA   RDWY843220   2004   GRTDN   1GRAA96254K262224              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843222   2005   GRTDN   1GRAA96215K263100              VT      Bellows Falls
 YRCF     CITY TRAILER     CTL‐TA   RDWY843223   2005   WABSH   1JJV482WX5L905286              NY      Deer Park
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 392 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843224   2006   WABSH   1JJV482W26L989041              TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843225   2005   GRTDN   1GRAA96245K263110              TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843226   2003   WABSH   1JJV482W43L849570   DVCVHPC    VA      Richmond
 YRCF     CITY TRAILER     CTL‐TA   RDWY843227   2009   GRTDN   1GRAP96229T551898   CPL‐3313   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843228   2003   WABSH   1JJV482WX3L834782   DVCVHPC    NY      East Syracuse
 YRCF     CITY TRAILER     CTL‐TA   RDWY843229   2005   WABSH   1JJV482W85L913712              WV      Charleston
 YRCF     CITY TRAILER     CTL‐TA   RDWY843230   2006   WABSH   1JJV482W16L989063              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843231   2004   GRTDN   1GRAA96224K262245              SC      Columbia
 YRCF     CITY TRAILER     CTL‐TA   RDWY843232   2004   GRTDN   1GRAA96224K262214              OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843234   2003   WABSH   1JJV482W03L849565   DVCVHPC    TN      Jackson
 YRCF     CITY TRAILER     CTL‐TA   RDWY843235   2003   WABSH   1JJV482W63L849408   DVCVHPC    MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843236   2003   WABSH   1JJV482W13L849560   DVCVHPC    IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843237   2006   WABSH   1JJV482WX6L989000              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843238   2006   WABSH   1JJV482W56L988949              IN      Evansville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843239   2003   WABSH   1JJV482W83L849829   DVCVHPC    KS      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843240   2003   WABSH   1JJV482W13L849817   DVCVHPC    TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843241   2001   FRUHF   1JJV482F01F728739   NONE       TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843242   2005   GRTDN   1GRAA96295K263118              LA      Port Allen
 YRCF     CITY TRAILER     CTL‐TA   RDWY843243   2006   WABSH   1JJV482W06L989006              MS      Richland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843244   2003   WABSH   1JJV482W73L834688   DVCVHPC    LA      Port Allen
 YRCF     CITY TRAILER     CTL‐TA   RDWY843245   2003   WABSH   1JJV482W33L834610   DVCVHPC    NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843246   2003   WABSH   1JJV482W13L834668   DVCVHPC    MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843247   2005   GRTDN   1GRAA96265K263237              TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY843248   2004   GRTDN   1GRAA96284K262296              OH      Toledo
 YRCF     CITY TRAILER     CTL‐TA   RDWY843249   2003   WABSH   1JJV482W33L849804   DVCVHPC    TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843250   2003   WABSH   1JJV482W73L849577   DVCVHPC    AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY843251   2003   WABSH   1JJV482WX3L849539   DVCVHPC    OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843252   2006   WABSH   1JJV482W66L988930              AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY843253   2003   WABSH   1JJV482W73L834769   DVCVHPC    AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY843254   2005   WABSH   1JJV482W15L905225              MS      Tupelo
 YRCF     CITY TRAILER     CTL‐TA   RDWY843255   2003   WABSH   1JJV482W73L849336   DVCVHPC    TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843256   2003   WABSH   1JJV482W83L849796   DVCVHPC    NJ      South Plainfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843258   2004   GRTDN   1GRAA96204K262261              PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843259   2003   WABSH   1JJV482W03L849307   DVCVHPC    OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843260   2005   WABSH   1JJV482W75L905326              IL      Morton
 YRCF     CITY TRAILER     CTL‐TA   RDWY843262   2005   WABSH   1JJV482W35L905307              TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843263   2003   WABSH   1JJV482W23L834646   DVCVHPC    PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843264   2003   WABSH   1JJV482W63L849781   DVCVHPC    PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843265   2003   WABSH   1JJV482W73L849238   DVCVHPC    MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843267   2003   WABSH   1JJV482W23L849728   DVCVHPC    MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843268   2006   WABSH   1JJV482W36L989064              ME      Westbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843269   2005   WABSH   1JJV482W45L905297              CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843270   2004   GRTDN   1GRAA96284K262279              MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843271   2006   WABSH   1JJV482W56L989065              IN      Fort Wayne
 YRCF     CITY TRAILER     CTL‐TA   RDWY843272   2006   WABSH   1JJV482W96L988985              IN      Fort Wayne
 YRCF     CITY TRAILER     CTL‐TA   RDWY843273   2005   GRTDN   1GRAA96265K263139              IN      Fort Wayne
 YRCF     CITY TRAILER     CTL‐TA   RDWY843274   2005   WABSH   1JJV482W55L905339              IN      Fort Wayne
 YRCF     CITY TRAILER     CTL‐TA   RDWY843275   2005   WABSH   1JJV482W25L913706              NE      Omaha
 YRCF     CITY TRAILER     CTL‐TA   RDWY843277   2003   WABSH   1JJV482W33L849673   DVCVHPC    PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843278   2003   WABSH   1JJV482W43L849665   DVCVHPC    PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843279   2006   WABSH   1JJV482W26L989024              OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843280   2005   WABSH   1JJV482W55L913716              IL      Bolingbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843281   2005   WABSH   1JJV482W25L913785              WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY843282   2006   WABSH   1JJV482W96L988968              IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843285   2003   WABSH   1JJV482WX3L849430   DVCVHPC    CO      Henderson
 YRCF     CITY TRAILER     CTL‐TA   RDWY843288   2003   WABSH   1JJV482W63L849523   DVCVHPC    NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843289   2003   WABSH   1JJV482W93L834773   DVCVHPC    GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY843290   2005   GRTDN   1GRAA96225K263204              NY      East Syracuse
 YRCF     CITY TRAILER     CTL‐TA   RDWY843291   2005   GRTDN   1GRAA96265K263089              CO      Henderson
 YRCF     CITY TRAILER     CTL‐TA   RDWY843292   2003   WABSH   1JJV482W23L849812   DVCVHPC    MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843293   2003   WABSH   1JJV482W43L849262   DVCVHPC    MI      Wayland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843294   2005   WABSH   1JJV482W45L913819              NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY843295   2004   GRTDN   1GRAA96274K262340              MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843296   2003   WABSH   1JJV482W73L834626   DVCVHPC    IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843298   2006   WABSH   1JJV482W16L988964              GA      Ringgold
 YRCF     CITY TRAILER     CTL‐TA   RDWY843299   2005   WABSH   1JJV482W95L913783              MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843300   2005   WABSH   1JJV482WX5L905238              MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843301   2003   WABSH   1JJV482W83L849801   DVCVHPC    TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843302   2003   WABSH   1JJV482WX3L849783   DVCVHPC    TN      Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 393 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843303   2003   WABSH   1JJV482W13L849476   DVCVHPC    OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843304   2004   GRTDN   1GRAA962X4K262283              OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843305   2005   GRTDN   1GRAA962X5K263211              CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY843306   2003   WABSH   1JJV482W73L849658   DVCVHPC    GA      Macon
 YRCF     CITY TRAILER     CTL‐TA   RDWY843307   2004   GRTDN   1GRAA96234K262271              PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843308   2003   WABSH   1JJV482W13L849557   DVCVHPC    TX      Irving
 YRCF     CITY TRAILER     CTL‐TA   RDWY843309   2003   WABSH   1JJV482W83L849586   DVCVHPC    NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843310   2006   WABSH   1JJV482W16L988950              NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843311   2005   WABSH   1JJV482W75L905262              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843312   2003   WABSH   1JJV482W33L849379   DVCVHPC    NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843314   2005   WABSH   1JJV482W75L913846              MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843315   2005   WABSH   1JJV482W05L913820              IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843320   2003   WABSH   1JJV482W33L834753   DVCVHPC    CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843321   2003   WABSH   1JJV482W43L849746   DVCVHPC    NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843322   2004   GRTDN   1GRAA96214K262205              NY      Glenmont
 YRCF     CITY TRAILER     CTL‐TA   RDWY843324   2005   GRTDN   1GRAA96235K263163              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843325   2003   WABSH   1JJV482W63L849540   DVCVHPC    OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843327   2005   WABSH   1JJV482W95L905280              TN      Kingsport
 YRCF     CITY TRAILER     CTL‐TA   RDWY843328   2003   WABSH   1JJV482W43L849777   DVCVHPC    OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843329   2003   WABSH   1JJV482W73L849322   DVCVHPC    MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843330   2005   GRTDN   1GRAA96255K263164              IL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY843331   2005   WABSH   1JJV482W45L913769              OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843332   2003   WABSH   1JJV482W73L849272   DVCVHPC    NC      Raleigh
 YRCF     CITY TRAILER     CTL‐TA   RDWY843333   2003   WABSH   1JJV482W13L849753   DVCVHPC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY843334   2004   GRTDN   1GRAA96204K262325              NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY843335   2003   WABSH   1JJV482W63L849733   DVCVHPC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY843336   2003   WABSH   1JJV482W13L849431   DVCVHPC    NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY843337   2005   GRTDN   1GRAA96275K263246              NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY843340   2003   WABSH   1JJV482W43L849424   DVCVHPC    CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY843341   2005   WABSH   1JJV482W15L913695              CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY843342   2005   GRTDN   1GRAA96295K263197              LA      New Orleans
 YRCF     CITY TRAILER     CTL‐TA   RDWY843343   2004   GRTDN   1GRAA96284K262346              LA      New Orleans
 YRCF     CITY TRAILER     CTL‐TA   RDWY843344   2003   WABSH   1JJV482W93L849693   DVCVHPC    LA      New Orleans
 YRCF     CITY TRAILER     CTL‐TA   RDWY843345   2003   WABSH   1JJV482W73L849529   DVCVHPC    LA      New Orleans
 YRCF     CITY TRAILER     CTL‐TA   RDWY843346   2003   WABSH   1JJV482W03L849453   DVCVHPC    LA      New Orleans
 YRCF     CITY TRAILER     CTL‐TA   RDWY843347   2003   WABSH   1JJV482W93L834790   DVCVHPC    LA      New Orleans
 YRCF     CITY TRAILER     CTL‐TA   RDWY843348   2003   WABSH   1JJV482W63L834729   DVCVHPC    LA      New Orleans
 YRCF     CITY TRAILER     CTL‐TA   RDWY843349   2003   WABSH   1JJV482W93L834658   DVCVHPC    LA      New Orleans
 YRCF     CITY TRAILER     CTL‐TA   RDWY843351   2005   WABSH   1JJV482W75L905259              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843352   2003   WABSH   1JJV482W03L849372   DVCVHPC    NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843353   2003   WABSH   1JJV482W63L849716   DVCVHPC    NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843354   2003   WABSH   1JJV482W73L849739   DVCVHPC    IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843355   2003   WABSH   1JJV482W93L849399   DVCVHPC    OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843357   2001   FRUHF   1JJV482F81F728682   NONE       NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843358   2003   WABSH   1JJV482W43L834681   DVCVHPC    NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843359   2003   WABSH   1JJV482W03L849503   DVCVHPC    NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843360   2003   WABSH   1JJV482W03L849517   HIX9670    RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843361   2004   GRTDN   1GRAA96204K262339              TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843363   2005   WABSH   1JJV482W65L913689              NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843364   2005   GRTDN   1GRAA96245K263091              NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843365   2005   WABSH   1JJV482W85L913693              NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843366   2005   WABSH   1JJV482WX5L905370              NY      Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843367   2009   GRTDN   1GRAP96219T551925   CPL‐3313   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843368   2003   WABSH   1JJV482WX3L849685   DVCVHPC    MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843369   2003   WABSH   1JJV482W53L849674   DVCVHPC    MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843370   2003   WABSH   1JJV482W83L834800   DVCVHPC    MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843371   2003   WABSH   1JJV482W53L849304   DVCVHPC    MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843372   2003   WABSH   1JJV482W63L849537   DVCVHPC    RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843373   2003   WABSH   1JJV482W53L849433   DVCVHPC    RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843374   2003   WABSH   1JJV482W13L849297   DVCVHPC    RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843375   2003   WABSH   1JJV482W43L834762   DVCVHPC    OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843376   2005   WABSH   1JJV482W65L913806              NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843377   2004   GRTDN   1GRAA962X4K262249              OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843378   2003   WABSH   1JJV482W33L849785   DVCVHPC    PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843379   2003   WABSH   1JJV482W63L849439   DVCVHPC    TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843380   2003   WABSH   1JJV482W43L849374   DVCVHPC    TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843381   2001   FRUHF   1JJV482F51F728719   NONE       TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843382   2004   GRTDN   1GRAA96254K262319              TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843383   2006   WABSH   1JJV482WX6L989059              OH      Dayton
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 394 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843384   2005   GRTDN   1GRAA96235K263146              IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843385   2006   WABSH   1JJV482W46L988974              MI      Romulus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843386   1996   TRLMB   1PTG1JAHXS9011267   1PT        TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843387   2003   WABSH   1JJV482W03L849436   DVCVHPC    AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY843388   2003   WABSH   1JJV482W53L849237   DVCVHPC    LA      Shreveport
 YRCF     CITY TRAILER     CTL‐TA   RDWY843391   2003   WABSH   1JJV482W43L849598   DVCVHPC    VT      Bellows Falls
 YRCF     CITY TRAILER     CTL‐TA   RDWY843392   2003   WABSH   1JJV482W43L849620   DVCVHPC    CA      Sun Valley
 YRCF     CITY TRAILER     CTL‐TA   RDWY843393   2004   GRTDN   1GRAA96254K262272              MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843394   2004   GRTDN   1GRAA96204K262244              TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843395   2003   WABSH   1JJV482W93L834787   DVCVHPC    TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843396   2003   WABSH   1JJV482W63L849666   DVCVHPC    CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843397   2005   GRTDN   1GRAA96275K263103              MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843398   2005   WABSH   1JJV482W85L905223              NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY843399   2003   WABSH   1JJV482W03L849646   DVCVHPC    IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843400   2005   GRTDN   1GRAA96265K263240              PA      Mountain Top
 YRCF     CITY TRAILER     CTL‐TA   RDWY843401   2006   WABSH   1JJV482W26L988925              MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843402   2003   WABSH   1JJV482W23L834713   DVCVHPC    MD      Hagerstown
 YRCF     CITY TRAILER     CTL‐TA   RDWY843403   2005   GRTDN   1GRAA962X5K263192              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843404   2003   WABSH   1JJV482W83L849510   DVCVHPC    IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843406   2003   WABSH   1JJV482W23L849616   DVCVHPC    IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843407   2003   WABSH   1JJV482W53L849464   DVCVHPC    IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843408   2006   WABSH   1JJV482W46L989039              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843409   2005   WABSH   1JJV482W65L913790              NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843410   2003   WABSH   1JJV482W03L849579   DVCVHPC    CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843411   2005   WABSH   1JJV482W75L913720              NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843412   2003   WABSH   1JJV482W63L849750   DVCVHPC    GA      Thomasville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843413   2004   GRTDN   1GRAA96264K262233              FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐TA   RDWY843414   2005   WABSH   1JJV482W05L905314              FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843415   2003   WABSH   1JJV482W83L849765   DVCVHPC    FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843416   2003   WABSH   1JJV482W73L849501   DVCVHPC    FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843417   2003   WABSH   1JJV482W43L849259   DVCVHPC    FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843418   2003   WABSH   1JJV482W83L849605   DVCVHPC    OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843419   2001   FRUHF   1JJV482F61F728731   NONE       NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY843420   2005   WABSH   1JJV482W65L913692              MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843421   2003   WABSH   1JJV482WX3L849623   DVCVHPC    TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843422   2006   WABSH   1JJV482W06L988924              MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843423   2005   WABSH   1JJV482W15L913793              NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843424   2003   WABSH   1JJV482W53L849528   DVCVHPC    TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843425   2003   WABSH   1JJV482W13L849655   DVCVHPC    IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843426   2005   WABSH   1JJV482WX5L905336              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843428   2006   WABSH   1JJV482W76L989018              AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY843430   2009   GRTDN   1GRAP96259T551927   CPL‐3313   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843432   2006   WABSH   1JJV482W56L988983              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843433   2003   WABSH   1JJV482W33L849558   DVCVHPC    IL      Morton
 YRCF     CITY TRAILER     CTL‐TA   RDWY843434   2003   WABSH   1JJV482W23L849454   DVCVHPC    MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843435   2003   WABSH   1JJV482W63L849487   DVCVHPC    MA      Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843436   2003   WABSH   1JJV482W53L834706   DVCVHPC    AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY843437   2006   WABSH   1JJV482W56L975716              RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843438   2003   WABSH   1JJV482W43L849651   DVCVHPC    TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843439   2005   GRTDN   1GRAA96215K263114              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843440   2006   WABSH   1JJV482W76L989049              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843441   2005   WABSH   1JJV482W05L905247              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843442   2005   WABSH   1JJV482W65L913773              PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843443   2005   WABSH   1JJV482W45L913738              PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843444   2005   WABSH   1JJV482W95L913704              PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843445   2003   WABSH   1JJV482W83L849541   DVCVHPC    PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843446   2003   WABSH   1JJV482W63L849375   DVCVHPC    PA      McKees Rocks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843448   2003   WABSH   1JJV482W33L849706   DVCVHPC    NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843449   2006   WABSH   1JJV482W76L988967              OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843450   2005   WABSH   1JJV482W55L913747              CA      Ventura
 YRCF     CITY TRAILER     CTL‐TA   RDWY843451   2005   WABSH   1JJV482W25L913804              MI      Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843452   2006   WABSH   1JJV482W76L988984              MI      Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843453   2003   WABSH   1JJV482W43L849407   DVCVHPC    MI      Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843454   2003   WABSH   1JJV482WX3L849427   DVCVHPC    MI      Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843455   2005   GRTDN   1GRAA96215K263226              NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843456   2003   WABSH   1JJV482W33L849446   DVCVHPC    MI      Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843457   2006   WABSH   1JJV482WX6L989062              MI      Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843458   2005   WABSH   1JJV482W65L905270              CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843459   2003   WABSH   1JJV482W53L849769   DVCVHPC    OH      Richfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 395 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843460   2003   WABSH   1JJV482W03L849551   DVCVHPC    OH        Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843461   2006   WABSH   1JJV482W56L989034              PA        Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843462   2005   GRTDN   1GRAA96265K263125              PA        Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843463   2005   WABSH   1JJV482W05L913722              PA        Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843465   2003   WABSH   1JJV482WX3L849749   DVCVHPC    TX        Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843466   2003   WABSH   1JJV482W03L834676   DVCVHPC    TX        Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843467   2006   WABSH   1JJV482W76L975717              TX        Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843468   2003   WABSH   1JJV482W73L849319   DVCVHPC    TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843469   2005   WABSH   1JJV482W25L905332              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843470   2006   WABSH   1JJV482W66L988992              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843471   2005   WABSH   1JJV482W55L913800              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843472   2003   WABSH   1JJV482W33L849821   DVCVHPC    TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843473   2005   GRTDN   1GRAA96295K263121              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843474   2004   GRTDN   1GRAA96224K262343              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843475   2004   GRTDN   1GRAA96284K262301              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843476   2005   WABSH   1JJV482W35L905257              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843477   2005   WABSH   1JJV482W75L905245              MO        Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843478   2006   WABSH   1JJV482W56L988952              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843479   2006   WABSH   1JJV482W86L988928              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843480   2005   WABSH   1JJV482W35L913780              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843481   2003   WABSH   1JJV482W13L849722   DVCVHPC    ME        Westbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843482   2003   WABSH   1JJV482W73L849689   DVCVHPC    IN        Jeffersonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843483   2003   WABSH   1JJV482W23L849700   DVCVHPC    TN        Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843484   2001   FRUHF   1JJV482F71F728740   NONE       MO        Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843485   2004   GRTDN   1GRAA96224K262276              CA        Fresno
 YRCF     CITY TRAILER     CTL‐TA   RDWY843486   2003   WABSH   1JJV482W93L849435   DVCVHPC    NY        Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843487   2009   GRTDN   1GRAP96219T551911   CPL‐3313   OK        Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843488   2003   WABSH   1JJV482W23L849681   DVCVHPC    VA        Manassas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843489   2004   GRTDN   1GRAA96224K262259              NY        Elmira
 YRCF     CITY TRAILER     CTL‐TA   RDWY843491   2003   WABSH   1JJV482W43L849553   DVCVHPC    OH        Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843492   2003   WABSH   1JJV482W43L849388   DVCVHPC    MI        Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY843493   2003   WABSH   1JJV482W73L834755   DVCVHPC    FL        Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY843494   2003   WABSH   1JJV482W73L849742   DVCVHPC    VA        Manassas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843495   2003   WABSH   1JJV482W83L849331   DVCVHPC    VA        Manassas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843496   2003   WABSH   1JJV482W43L834633   DVCVHPC    VA        Manassas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843499   2005   WABSH   1JJV482W05L913817              NY        Elmira
 YRCF     CITY TRAILER     CTL‐TA   RDWY843502   2005   WABSH   1JJV482W35L905243              PA        Mountain Top
 YRCF     CITY TRAILER     CTL‐TA   RDWY843503   2003   WABSH   1JJV482W33L849771   DVCVHPC    NY        Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843504   2005   WABSH   1JJV482W35L913777              TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843505   2003   WABSH   1JJV482W13L834766   DVCVHPC    CA        Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843506   2004   GRTDN   1GRAA96224K262293              CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY843507   2003   WABSH   1JJV482W93L849354   DVCVHPC    TN        Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843508   2003   WABSH   1JJV482W93L849256   DVCVHPC    NJ        Millville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843511   2003   WABSH   1JJV482W93L849502   DVCVHPC    MI        Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843512   2005   WABSH   1JJV482W95L913850              TN        Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843513   2005   WABSH   1JJV482W25L913818              GA        Ringgold
 YRCF     CITY TRAILER     CTL‐TA   RDWY843514   2003   WABSH   1JJV482W03L849534   DVCVHPC    TN        Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843515   2003   WABSH   1JJV482W63L849621   DVCVHPC    TX        Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY843516   2003   WABSH   1JJV482W83L834621   DVCVHPC    IL        Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843517   2003   WABSH   1JJV482WX3L849587   DVCVHPC    TX        Texarkana
 YRCF     CITY TRAILER     CTL‐TA   RDWY843518   2005   WABSH   1JJV482W25L905329              IN        Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843519   2005   WABSH   1JJV482W65L913711              TX        Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY843520   2005   GRTDN   1GRAA96275K263098              TX        Laredo
 YRCF     CITY TRAILER     CTL‐TA   RDWY843521   2003   WABSH   1JJV482W83L849619   DVCVHPC    TX        San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY843522   2005   WABSH   1JJV482W05L913834              NJ        Millville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843523   2005   GRTDN   1GRAA96265K263190              TX        Lubbock
 YRCF     CITY TRAILER     CTL‐TA   RDWY843524   2003   WABSH   1JJV482W03L849825   DVCVHPC    MD        Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843525   2006   WABSH   1JJV482W06L988955              NY        Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843526   2006   WABSH   1JJV482W56L989048              OH        Toledo
 YRCF     CITY TRAILER     CTL‐TA   RDWY843527   2005   GRTDN   1GRAA96205K263170              IN        Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843528   2005   GRTDN   1GRAA96245K263219              IL        Morton
 YRCF     CITY TRAILER     CTL‐TA   RDWY843529   2003   WABSH   1JJV482W43L834664   DVCVHPC    NY        Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843530   2003   WABSH   1JJV482WX3L849329   DVCVHPC    TX        San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY843531   2004   GRTDN   1GRAA96274K262273              PA        Mountain Top
 YRCF     CITY TRAILER     CTL‐TA   RDWY843532   2003   WABSH   1JJV482W53L849657   DVCVHPC    VA        Chesapeake
 YRCF     CITY TRAILER     CTL‐TA   RDWY843533   2003   WABSH   1JJV482W43L834647   DVCVHPC    VA        Chesapeake
 YRCF     CITY TRAILER     CTL‐TA   RDWY843534   2003   WABSH   1JJV482W13L849445   DVCVHPC    AL        Birmingham
 YRCF     CITY TRAILER     CTL‐TA   RDWY843535   2006   WABSH   1JJV482W96L989005              MA        Shrewsbury
 YRCF     CITY TRAILER     CTL‐TA   RDWY843536   2003   WABSH   1JJV482W53L849660   DVCVHPC    Ontario   Woodstock
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 396 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843537   2006   WABSH   1JJV482W66L989043             MI        Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843538   2003   WABSH   1JJV482W13L849784   DVCVHPC   MI        Pontiac
 YRCF     CITY TRAILER     CTL‐TA   RDWY843539   2004   GRTDN   1GRAA96264K262300             TN        Goodlettsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843540   2005   GRTDN   1GRAA96285K263191             TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843542   2003   WABSH   1JJV482W13L849624   DVCVHPC   OH        Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843543   2005   GRTDN   1GRAA96275K263215             CT        Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843544   2003   WABSH   1JJV482WX3L849833   DVCVHPC   NY        Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843545   2003   WABSH   1JJV482W03L849629   DVCVHPC   Alberta   Edmonton
 YRCF     CITY TRAILER     CTL‐TA   RDWY843547   2006   WABSH   1JJV482W56L989051             PA        Mountain Top
 YRCF     CITY TRAILER     CTL‐TA   RDWY843549   2005   WABSH   1JJV482W25L913740             NY        Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843551   2003   WABSH   1JJV482W33L849270   DVCVHPC   TX        Laredo
 YRCF     CITY TRAILER     CTL‐TA   RDWY843552   2003   WABSH   1JJV482W93L849791   DVCVHPC   MI        Jackson
 YRCF     CITY TRAILER     CTL‐TA   RDWY843553   2003   WABSH   1JJV482W03L849677   DVCVHPC   IL        Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843554   2003   WABSH   1JJV482W03L849615   DVCVHPC   NH        Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843556   2005   WABSH   1JJV482W95L905263             IL        Morton
 YRCF     CITY TRAILER     CTL‐TA   RDWY843557   2003   WABSH   1JJV482W13L834637   DVCVHPC   OH        Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843558   2006   WABSH   1JJV482W76L989035             OH        Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843559   2005   GRTDN   1GRAA962X5K263189             CA        Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843560   2003   WABSH   1JJV482W63L849327   DVCVHPC   FL        Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843561   2003   WABSH   1JJV482W83L849300   DVCVHPC   OH        Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843562   2003   WABSH   1JJV482WX3L834703   DVCVHPC   NY        Deer Park
 YRCF     CITY TRAILER     CTL‐TA   RDWY843563   2005   WABSH   1JJV482W05L913784             RI        Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843565   2005   WABSH   1JJV482WX5L905322             NY        Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843567   2005   WABSH   1JJV482W45L905364             MD        Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843568   2003   WABSH   1JJV482W73L849773   DVCVHPC   PA        Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843569   2005   WABSH   1JJV482W05L913686             OH        Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843570   2005   GRTDN   1GRAA96265K263223             PA        Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843571   2006   WABSH   1JJV482W96L988999             PA        Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843572   2005   WABSH   1JJV482W05L913736             PA        Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843573   2003   WABSH   1JJV482W03L849789   DVCVHPC   PA        Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843574   2003   WABSH   1JJV482W23L849678   DVCVHPC   IN        Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843575   2003   WABSH   1JJV482W73L834741   DVCVHPC   PA        Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843576   2004   GRTDN   1GRAA96214K262222             TX        Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY843577   2004   GRTDN   1GRAA96264K262331             PA        Mountain Top
 YRCF     CITY TRAILER     CTL‐TA   RDWY843579   2003   WABSH   1JJV482W73L834674   DVCVHPC   AR        Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY843580   2001   FRUHF   1JJV482F51F728722   NONE      NV        Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY843581   2006   WABSH   1JJV482W26L988987             IN        Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843582   2005   GRTDN   1GRAA96275K263232             MO        Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843583   2005   WABSH   1JJV482W15L913843             MI        Wayland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843584   2003   WABSH   1JJV482W63L849800   DVCVHPC   MI        Jackson
 YRCF     CITY TRAILER     CTL‐TA   RDWY843585   2003   WABSH   1JJV482W53L834740   DVCVHPC   MO        Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843586   2003   WABSH   1JJV482W43L849813   DVCVHPC   TX        Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843587   2003   WABSH   1JJV482W53L834611   DVCVHPC   IL        Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843588   2005   WABSH   1JJV482W05L913767             PA        Camp Hill
 YRCF     CITY TRAILER     CTL‐TA   RDWY843591   2006   WABSH   1JJV482W66L988989             NY        Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843592   2003   WABSH   1JJV482W73L849708   DVCVHPC   NY        Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843593   2005   GRTDN   1GRAA96295K263216             DE        New Castle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843594   2003   WABSH   1JJV482W73L849692   DVCVHPC   NY        Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843595   2003   WABSH   1JJV482W33L849401   DVCVHPC   PA        Bethlehem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843596   2005   WABSH   1JJV482W15L913714             CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY843597   2006   WABSH   1JJV482W16L988933             CA        Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY843598   2006   WABSH   1JJV482W16L989015             OR        Central Point
 YRCF     CITY TRAILER     CTL‐TA   RDWY843599   2006   WABSH   1JJV482W26L989007             CA        Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY843600   2003   WABSH   1JJV482W43L849780   DVCVHPC   MN        Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843601   2003   WABSH   1JJV482W73L849482   DVCVHPC   NE        Omaha
 YRCF     CITY TRAILER     CTL‐TA   RDWY843602   2003   WABSH   1JJV482W23L849406   DVCVHPC   NY        Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843603   2006   WABSH   1JJV482W86L988976             OH        Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843604   2005   GRTDN   1GRAA96285K263157             TN        Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843606   2003   WABSH   1JJV482W93L849631   DVCVHPC   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY843608   2005   WABSH   1JJV482W75L913717             NY        Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843609   2006   WABSH   1JJV482W86L989075             NY        Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843611   2003   WABSH   1JJV482W53L849593   DVCVHPC   NY        Rochester
 YRCF     CITY TRAILER     CTL‐TA   RDWY843612   2005   WABSH   1JJV482W85L913841             PA        Erie
 YRCF     CITY TRAILER     CTL‐TA   RDWY843614   2006   WABSH   1JJV482W16L975714             CA        San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY843615   2003   WABSH   1JJV482W83L834716   DVCVHPC   CA        Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY843616   2003   WABSH   1JJV482W13L849543   DVCVHPC   MN        Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843617   2005   GRTDN   1GRAA96255K263116             NY        Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843618   2005   GRTDN   1GRAA96235K263132             OH        Copley
 YRCF     CITY TRAILER     CTL‐TA   RDWY843619   2003   WABSH   1JJV482WX3L849573   DVCVHPC   MO        Kansas City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 397 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843620   2003   WABSH   1JJV482W83L849426   DVCVHPC    TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY843621   2004   GRTDN   1GRAA96264K262328              TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY843622   2003   WABSH   1JJV482W83L834778   DVCVHPC    TX      Irving
 YRCF     CITY TRAILER     CTL‐TA   RDWY843623   2003   WABSH   1JJV482W63L834732   DVCVHPC    GA      Thomasville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843624   2005   GRTDN   1GRAA96295K263104              GA      Thomasville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843625   2003   WABSH   1JJV482W43L849410   DVCVHPC    NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843626   2005   WABSH   1JJV482W65L913787              NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843627   2003   WABSH   1JJV482W53L849495   DVCVHPC    NY      East Syracuse
 YRCF     CITY TRAILER     CTL‐TA   RDWY843628   2003   WABSH   1JJV482W93L849418   DVCVHPC    NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843629   2003   WABSH   1JJV482W33L834719   DVCVHPC    NY      Williamsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843632   2005   WABSH   1JJV482W95L913802              IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843633   2003   WABSH   1JJV482W03L849727   DVCVHPC    OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843634   2006   WABSH   1JJV482W96L988971              TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843636   2003   WABSH   1JJV482W43L849617   DVCVHPC    TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843637   2006   WABSH   1JJV482WX6L988980              TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843638   2005   WABSH   1JJV482W85L905366              IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843639   2003   WABSH   1JJV482W23L849311   DVCVHPC    IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843640   2003   WABSH   1JJV482W03L849386   DVCVHPC    IL      Decatur
 YRCF     CITY TRAILER     CTL‐TA   RDWY843642   2003   WABSH   1JJV482W33L849544   DVCVHPC    TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843643   2006   WABSH   1JJV482WX6L988932              NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843644   2003   WABSH   1JJV482W93L849824   DVCVHPC    NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843645   2003   WABSH   1JJV482W73L849370   DVCVHPC    NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY843647   2003   WABSH   1JJV482W03L834628   DVCVHPC    OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843648   2005   WABSH   1JJV482W15L905256              TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY843650   2004   GRTDN   1GRAA96214K262219              IL      Joliet
 YRCF     CITY TRAILER     CTL‐TA   RDWY843651   2003   WABSH   1JJV482W33L849818   DVCVHPC    PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY843652   2006   WABSH   1JJV482W06L988938              TX      Laredo
 YRCF     CITY TRAILER     CTL‐TA   RDWY843653   2005   GRTDN   1GRAA96255K263228              TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY843654   2006   WABSH   1JJV482W06L988972              TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY843656   2003   WABSH   1JJV482W23L834792   DVCVHPC    FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐TA   RDWY843657   2003   WABSH   1JJV482W33L834669   DVCVHPC    FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843658   2005   WABSH   1JJV482WX5L905241              IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843660   2003   WABSH   1JJV482W13L834654   DVCVHPC    NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY843661   2003   WABSH   1JJV482W43L834728   DVCVHPC    MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843664   2003   WABSH   1JJV482W83L849345   DVCVHPC    CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY843665   2003   WABSH   1JJV482W53L849416   DVCVHPC    TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY843666   2003   WABSH   1JJV482W33L834638   DVCVHPC    GA      Savannah
 YRCF     CITY TRAILER     CTL‐TA   RDWY843667   2004   GRTDN   1GRAA96234K262349              TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY843669   2003   WABSH   1JJV482W53L834625   DVCVHPC    TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843670   2005   WABSH   1JJV482W55L913845              VA      Richmond
 YRCF     CITY TRAILER     CTL‐TA   RDWY843671   2005   GRTDN   1GRAA96255K263083              IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843672   2006   WABSH   1JJV482W06L988986              OH      Akron
 YRCF     CITY TRAILER     CTL‐TA   RDWY843673   2005   GRTDN   1GRAA96245K263236              IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843674   2003   WABSH   1JJV482W33L849768   DVCVHPC    IN      Fort Wayne
 YRCF     CITY TRAILER     CTL‐TA   RDWY843675   2004   GRTDN   1GRAA96284K262234              IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843676   2003   WABSH   1JJV482W23L849583   DVCVHPC    TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843677   2005   GRTDN   1GRAA96205K263234              GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY843678   2003   WABSH   1JJV482WX3L849797   DVCVHPC    OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843679   2006   WABSH   1JJV482W56L988918              MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843680   2003   WABSH   1JJV482W53L834785   DVCVHPC    NJ      South Plainfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843681   2005   GRTDN   1GRAA96205K263105              OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843682   2003   WABSH   1JJV482W43L834650   DVCVHPC    GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY843683   2003   WABSH   1JJV482W53L834673   DVCVHPC    NC      Durham
 YRCF     CITY TRAILER     CTL‐TA   RDWY843684   2004   GRTDN   1GRAA96294K262324              NJ      South Plainfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843685   2003   WABSH   1JJV482W13L834797   DVCVHPC    NJ      Hamilton
 YRCF     CITY TRAILER     CTL‐TA   RDWY843686   2003   WABSH   1JJV482W13L849770   DVCVHPC    MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843687   2003   WABSH   1JJV482W33L849723   DVCVHPC    IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843688   2009   GRTDN   1GRAP96269T551936   CPL‐3313   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843689   2009   GRTDN   1GRAP96289T551923   CPL‐3313   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843690   2009   GRTDN   1GRAP96269T551905   CPL‐3313   PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843693   2009   GRTDN   1GRAP96229T551934   CPL‐3313   OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843694   2009   GRTDN   1GRAP962X9T551924   CPL‐3313   OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843695   2004   GRTDN   1GRAA962X4K262252              NJ      Millville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843696   2003   WABSH   1JJV482W23L849521   DVCVHPC    CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY843697   2003   WABSH   1JJV482W93L849368   DVCVHPC    IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843698   2006   WABSH   1JJV482W66L989074              GA      Ellenwood
 YRCF     CITY TRAILER     CTL‐TA   RDWY843699   2005   WABSH   1JJV482W65L905298              NJ      Millville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843700   2005   GRTDN   1GRAA96285K263224              OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843701   2009   GRTDN   1GRAP96259T551930   CPL‐3313   PA      Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 398 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843702   2009   GRTDN   1GRAP96239T551893   CPL‐3313     PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843703   2009   GRTDN   1GRAP96229T551917   CPL‐3313     PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843704   2005   GRTDN   1GRAA96275K263182                MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843705   2003   WABSH   1JJV482W33L849432   DVCVHPC      NJ      South Plainfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843706   2005   WABSH   1JJV482W45L905252                MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843707   2005   GRTDN   1GRAA96205K263217                MN      Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843708   2006   WABSH   1JJV482WX6L988977                MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843709   2003   WABSH   1JJV482W83L849281   DVCVHPC      OH      Brooklyn
 YRCF     CITY TRAILER     CTL‐TA   RDWY843711   2005   GRTDN   1GRAA96255K263097                IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843712   2006   WABSH   1JJV482W26L989072                OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843713   2003   WABSH   1JJV482W53L834690   DVCVHPC      IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843714   2003   WABSH   1JJV482W33L849365   DVCVHPC      MI      Jackson
 YRCF     CITY TRAILER     CTL‐TA   RDWY843717   2003   WABSH   1JJV482W13L849736   HIX9670      IN      Jeffersonville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843718   2005   GRTDN   1GRAA96215K263243                IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843719   2003   WABSH   1JJV482W23L849566   DVCVHPC      TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843720   2003   WABSH   1JJV482W73L849532   DVCVHPC      NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY843721   2003   WABSH   1JJV482W63L834651   DVCVHPC      IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843722   2005   WABSH   1JJV482WX5L913713                IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843723   2003   WABSH   1JJV482W43L849276   DVCVHPC      GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY843724   2004   GRTDN   1GRAA96264K262216                IL      Rockford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843725   2003   WABSH   1JJV482W33L849642   DVCVHPC      IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843726   2004   GRTDN   1GRAA96264K262264                IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843727   2005   WABSH   1JJV482W95L913718                IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843728   2003   WABSH   1JJV482W13L849820   DVCVHPC      IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843729   2009   GRTDN   1GRAP96249T551935   CPL‐3313     MI      Wyoming
 YRCF     CITY TRAILER     CTL‐TA   RDWY843730   2003   WABSH   1JJV482W53L849447   DVCVHPC      IL      Atlanta
 YRCF     CITY TRAILER     CTL‐TA   RDWY843731   2009   GRTDN   1GRAP96279T551881   CPL‐3313     PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843732   2009   GRTDN   1GRAP96289T551890   CPL‐3313     PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843733   2009   GRTDN   1GRAP962X9T551891   CPL‐3313     PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843734   2009   GRTDN   1GRAP96229T551903   CPL‐3313     PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843735   2005   WABSH   1JJV482W05L913753                IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843736   2005   GRTDN   1GRAA96285K263126                IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843737   2005   WABSH   1JJV482W05L905250                SC      Columbia
 YRCF     CITY TRAILER     CTL‐TA   RDWY843738   2009   GRTDN   1GRAP96289T551887   CPL‐3313     PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843739   2009   GRTDN   1GRAP96209T551897   CPL‐3313     PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843740   2009   GRTDN   1GRAP96219T551892   CPL‐3313     PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843741   2003   WABSH   1JJV482W93L849533   DVCVHPC      IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843742   2003   WABSH   1JJV482W93L849628   DVCVHPC      IL      Decatur
 YRCF     CITY TRAILER     CTL‐TA   RDWY843743   2004   GRTDN   1GRAA96274K262306                IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843744   2003   WABSH   1JJV482W63L849568   DVCVHPC      IL      McCook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843745   2003   WABSH   1JJV482W33L834798   DVCVHPC      GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY843746   2005   WABSH   1JJV482W95L913797                MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843748   2006   WABSH   1JJV482W06L989037                OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843749   2003   WABSH   1JJV482W03L849341   DVCVHPC      PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843750   2003   WABSH   1JJV482W73L849627   DVCVHPC      PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843751   2003   WABSH   1JJV482W23L849552   DVCVHPC      PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY843752   2006   WABSH   1JJV482WX6L988915                RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843753   2003   WABSH   1JJV482W53L834639   DVCVHPC      OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843754   2004   GRTDN   1GRAA96294K262341                MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843755   2006   WABSH   1JJV482W66L988944                NY      East Syracuse
 YRCF     CITY TRAILER     CTL‐TA   RDWY843756   2006   WABSH   1JJV482W96L989022                NY      East Syracuse
 YRCF     CITY TRAILER     CTL‐TA   RDWY843757   2005   GRTDN   1GRAA96235K263230                NY      Elmira
 YRCF     CITY TRAILER     CTL‐TA   RDWY843759   2005   WABSH   1JJV482W55L913683                OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843760   2003   WABSH   1JJV482W23L849602   DVCVHPC      IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843761   2005   WABSH   1JJV482W15L905323                NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY843762   2006   WABSH   1JJV482W16L989046                IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843764   2001   FRUHF   1JJV482F81F728696   NONE         IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843765   2005   WABSH   1JJV482W65L913840                IL      McCook
 YRCF     CITY TRAILER     CTL‐TA   RDWY843766   2004   GRTDN   1GRAA96224K262312                MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY843767   2004   GRTDN   1GRAA96264K262281                IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843768   2003   WABSH   1JJV482W13L849509   DVCVHPC      WI      Oak Creek
 YRCF     CITY TRAILER     CTL‐TA   RDWY843769   2003   WABSH   1JJV482W83L834649   DVCVHPC      IL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY843770   2003   WABSH   1JJV482W83L849720   DVCVHPC      OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY843771   2003   WABSH   1JJV482W13L849834   DVCVHPC      IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843772   2003   WABSH   1JJV482W13L849459   DVCVHPC      AZ      Flagstaff
 YRCF     CITY TRAILER     CTL‐TA   RDWY843773   2000   TRLMB   1PT01JPH3Y8002370   1PT          TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843774   2003   WABSH   1JJV482WX3L849248   DVCVHPC      IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843775   2003   WABSH   1JJV482W83L849555   DVCVHPC      GA      Ellenwood
 YRCF     CITY TRAILER     CTL‐TA   RDWY843776   2003   WABSH   1JJV482W43L849472   DVCVHPC      IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 399 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY843777   2004   GRTDN   1GRAA96204K262258                  IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843778   2003   WABSH   1JJV482W83L834666   DVCVHPC        IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843779   2009   GRTDN   1GRAP96249T551899   CPL‐3313       CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY843780   2009   GRTDN   1GRAP96239T551909   CPL‐3313       OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843781   2005   GRTDN   1GRAA96285K263112                  IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843782   2004   GRTDN   1GRAA96294K262212                  IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843784   2005   GRTDN   1GRAA96235K263227                  MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843785   2003   WABSH   1JJV482W63L849599   DVCVHPC        NJ      Millville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843786   2003   WABSH   1JJV482WX3L849296   DVCVHPC        IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843787   2004   GRTDN   1GRAA96224K262309                  NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843788   2003   WABSH   1JJV482W93L849659   DVCVHPC        OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY843789   2003   WABSH   1JJV482W83L849832   DVCVHPC        IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843790   2006   WABSH   1JJV482W36L988934                  IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY843791   2003   WABSH   1JJV482W73L849725   DVCVHPC        IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843792   2003   WABSH   1JJV482W23L849423   DVCVHPC        IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843793   2004   GRTDN   1GRAA96224K262262                  IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843794   2003   WABSH   1JJV482W63L849814   DVCVHPC        OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843795   2003   WABSH   1JJV482W13L834718   DVCVHPC        DE      Seaford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843796   2003   WABSH   1JJV482W63L834665   DVCVHPC        DE      Seaford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843797   2004   GRTDN   1GRAA96264K262314                  DE      Seaford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843798   2005   WABSH   1JJV482W85L913791                  IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843802   2003   WABSH   1JJV482W13L834606   DVCVHPC        IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY843803   2005   GRTDN   1GRAA96225K263137                  CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843804   2003   WABSH   1JJV482W23L849647   DVCVHPC        GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY843805   2003   WABSH   1JJV482W53L849710   DVCVHPC        AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY843806   2003   WABSH   1JJV482W43L849293   DVCVHPC        OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY843807   2005   WABSH   1JJV482W95L913699                  LA      Monroe
 YRCF     CITY TRAILER     CTL‐TA   RDWY843809   2000   TRLMB   1PT01JAH6Y9016797                  NC      Raleigh
 YRCF     CITY TRAILER     CTL‐TA   RDWY843810   2003   WABSH   1JJV482W93L849550   DVCVHPC        NJ      Kearny
 YRCF     CITY TRAILER     CTL‐TA   RDWY843811   2005   GRTDN   1GRAA962X8B702511                  WI      Madison
 YRCF     CITY TRAILER     CTL‐TA   RDWY843812   2005   GRTDN   1GRAA96217D424195                  WI      Madison
 YRCF     CITY TRAILER     CTL‐TA   RDWY843813   2007   GRTDN   1GRAA96207D425693                  OH      Toledo
 YRCF     CITY TRAILER     CTL‐TA   RDWY843814   2014   GRTDN   1GRAP9627ED452787                  DE      Seaford
 YRCF     CITY TRAILER     CTL‐TA   RDWY843815   2005   WABSH   1JJV482W45L905333                  TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843817   2006   WABSH   1JJV482WX6L989076                  CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY843818   2005   GRTDN   1GRAA96285K263174                  CA      Fresno
 YRCF     CITY TRAILER     CTL‐TA   RDWY843819   2003   WABSH   1JJV482WX3L849640   DVCVHPC        OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY843821   2005   WABSH   1JJV482W95L905229                  FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY843823   2015   GRTDN   1GRAP9005GB702582                  MO      Columbia
 YRCF     CITY TRAILER     CTL‐TA   RDWY843824   2007   WABSH   1JJV452WX7L048095                  MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY843826   2014   GRTDN   1GRAP9626ED452764                  MD      Hagerstown
 YRCF     CITY TRAILER     CTL‐TA   RDWY843827   2015   GRTDN   1GRAP9004GB702525                  NJ      Millville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843828   2014   GRTDN   1GRAP9623ED452799                  NC      Durham
 YRCF     CITY TRAILER     CTL‐TA   RDWY843829   2006   WABSH   1JJV452W86L995215                  NJ      Millville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843830   2003   WABSH   1JJV482W53L834768   DVCVHPC        VA      Richmond
 YRCF     CITY TRAILER     CTL‐TA   RDWY843831   2009   GRTDN   1GRAP96259T551877   CPL‐3313       AZ      Tucson
 YRCF     CITY TRAILER     CTL‐TA   RDWY843832   2009   GRTDN   1GRAP06269T551849   CPL‐3313       GA      Thomasville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843833   2009   GRTDN   1GRAP06229T551864   CPL‐3313       GA      Thomasville
 YRCF     CITY TRAILER     CTL‐TA   RDWY843834   2009   GRTDN   1GRAP062X9T553698   CPL‐3313       GA      Macon
 YRCF     CITY TRAILER     CTL‐TA   RDWY843864   2003   WABSH   1JJV482W53L834723   DVCVHPC        CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843865   2009   GRTDN   1GRAP96289T551906   CPL‐3313       CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843866   2004   GRTDN   1GRAA96214K262298                  CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843867   2005   GRTDN   1GRAA96205K263136                  CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843868   2003   WABSH   1JJV482W53L849609   DVCVHPC        CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843869   2005   GRTDN   1GRAA96295K263183                  CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843870   2022   VANGU   5V8VA4820NT201125   VAN            AL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY843871   2003   WABSH   1JJV482W63L849652   DVCVHPC        CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843872   2003   WABSH   1JJV482W53L849500   DVCVHPC        CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY843875   2005   WABSH   1JJV482W35L913827                  TX      Abilene
 YRCF     CITY TRAILER     CTL‐TA   RDWY843876   2003   WABSH   1JJV482W43L849326   DVCVHPC        CT      Cheshire
 YRCF     CITY TRAILER     CTL‐TA   RDWY850012   1999   TRLMB   1PT01JLHXW9007210   ************   NC      Kernersville
 YRCF     CITY TRAILER     CTL‐TA   RDWY850013   1999   TRLMB   1PT01JLH1W9007211   ************   TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850026   1999   STGHT   1DW1A5322XS300188   ************   CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY850047   1999   STGHT   1DW1A5321XS300196   ************   SC      West Columbia
 YRCF     CITY TRAILER     CTL‐TA   RDWY850068   2001   WABSH   1JJV532W41L763639   ************   TX      El Paso
 YRCF     CITY TRAILER     CTL‐TA   RDWY850069   2001   WABSH   1JJV532W81L763644   ************   TN      Goodlettsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY850071   2001   WABSH   1JJV532W21L763655   ************   OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY850073   2001   WABSH   1JJV532W61L763660   ************   OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY850074   2001   WABSH   1JJV532W81L763661   ************   GA      Marietta
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 400 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850075   2001   WABSH   1JJV532WX1L763662   ************   IL      Rockford
 YRCF     CITY TRAILER     CTL‐TA   RDWY850078   2001   WABSH   1JJV532W91L763684   ************   IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850079   2001   WABSH   1JJV532W21L763686   ************   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850080   2001   WABSH   1JJV532W61L763688   ************   OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY850088   1999   STGHT   1DW1A5321XS257334   ************   IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY850097   1999   STGHT   1DW1A5321XS257222   ************   OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY850098   1999   STGHT   1DW1A5326XS257264   ************   NY      Tonawanda
 YRCF     CITY TRAILER     CTL‐TA   RDWY850105   1999   STGHT   1DW1A532XXS257351   ************   OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY850106   1999   STGHT   1DW1A532XXS257392   ************   MN      Owatonna
 YRCF     CITY TRAILER     CTL‐TA   RDWY850120   2007   WABSH   1JJV532WX7L051144   1JJV           UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850124   2000   LFKTR   1L01A5325Y1140953   1L01           TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY850125   2009   WABSH   1JJV532W09L312686                  FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY850126   2009   WABSH   1JJV532W59L312876                  OH      Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY850127   2009   WABSH   1JJV532W59L313106                  NC      Raleigh
 YRCF     CITY TRAILER     CTL‐TA   RDWY850128   2009   GRTDN   1GRAP06259T553687   CPL‐3313       GA      Jefferson
 YRCF     CITY TRAILER     CTL‐TA   RDWY850129   2009   GRTDN   1GRAP062X9T553670   CPL‐3313       CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850132   2001   WABSH   1JJV532WX1L738177   1JJV           NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850133   2001   WABSH   1JJV532WX1L668969   1JJV           UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850135   2009   GRTDN   1GRAP062X9T553703   CPL‐3313       MI      Wyoming
 YRCF     CITY TRAILER     CTL‐TA   RDWY850136   2009   GRTDN   1GRAP06299T551859   CPL‐3313       NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY850137   2008   WABSH   1JJV532W68L112538                  NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY850138   2007   WABSH   1JJV532W97L043410   1JJV           CA      Calexico
 YRCF     CITY TRAILER     CTL‐TA   RDWY850139   2008   STGHT   1DW1A53288E047443   SEVW‐53T       OH      Cincinnati
 YRCF     CITY TRAILER     CTL‐TA   RDWY850140   2008   WABSH   1JJV532W28L112066                  OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY850141   2008   WABSH   1JJV532W28L112052                  NH      Bedford
 YRCF     CITY TRAILER     CTL‐TA   RDWY850142   2006   WABSH   1JJV482W26L988973                  OH      Toledo
 YRCF     CITY TRAILER     CTL‐TA   RDWY850143   2005   WABSH   1JJV482W55L905292                  NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY850145   1999   STGHT   1DW1A5326XS257295   1DW            TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY850147   2001   WABSH   1JJV532W41L738529                  TA      Nuevo Laredo
 YRCF     CITY TRAILER     CTL‐TA   RDWY850149   2001   WABSH   1JJV532W81L669537                  TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY850150   2000   LFKTR   1L01A5323Y1140949   1L01           AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY850151   2002   GRTDN   1GRAA06252G321283   1GRAA          TX      McAllen
 YRCF     CITY TRAILER     CTL‐TA   RDWY850152   2002   WABSH   1JJV532W72L784213   1JJV           CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850153   2001   WABSH   1JJV532W21L738206                  CO      Henderson
 YRCF     CITY TRAILER     CTL‐TA   RDWY850155   1999   STGHT   1DW1A5324XS300287   1DW            IA      Council Bluffs
 YRCF     CITY TRAILER     CTL‐TA   RDWY850156   2001   WABSH   1JJV532W51L738359                  WI      Milwaukee
 YRCF     CITY TRAILER     CTL‐TA   RDWY850161   2006   WABSH   1JJV532W38L205386   1JJV           WI      Eau Claire
 YRCF     CITY TRAILER     CTL‐TA   RDWY850165   2007   WABSH   1JJV532W27L043328   1JJV           TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY850166   2009   GRTDN   1GRAP06269T551852   CPL‐3313       CA      West Sacramento
 YRCF     CITY TRAILER     CTL‐TA   RDWY850167   2009   WABSH   1JJV532W79L313026                  CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY850168   2000   TRLMB   1PT01JAH0Y6006462   1PT            NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY850169   2007   GRTDN   1GRAA06257K286345   1GRA           TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY850170   2007   WABSH   1JJV532W77L050694                  NM      Albuquerque
 YRCF     CITY TRAILER     CTL‐TA   RDWY850171   2009   WABSH   1JJV532W29L312771                  NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY850172   2009   GRTDN   1GRAP06249T551820   CPL‐3313       RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY850173   2007   WABSH   1JJV532W06L999406   1JJV           NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY850174   2009   WABSH   1JJV532W99L312900                  TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850176   2001   WABSH   1JJV532W11L738018                  CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850178   1998   DORSY   1DTV11526WA267463   1DT            IN      South Bend
 YRCF     CITY TRAILER     CTL‐TA   RDWY850179   2007   WABSH   1JJV532W87L050672                  CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850180   2009   WABSH   1JJV532W49L313131                  CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY850181   2009   WABSH   1JJV532W99L312928                  IN      South Bend
 YRCF     CITY TRAILER     CTL‐TA   RDWY850182   2002   MANAC   2M592146327083383                  CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850183   2008   WABSH   1JJV532W78L111916                  IL      Bolingbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY850184   2007   GRTDN   1GRAA06227K286142                  WI      Tomah
 YRCF     CITY TRAILER     CTL‐TA   RDWY850185   2007   WABSH   1JJV532W57L051228   1JJV           TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY850186   2004   STGHT   1DW1A53224S713322                  OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850188   2002   MANAC   2M592146627083362                  OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY850189   2000   TRLMB   1PT01JAH4Y6001121   1PT            OH      Copley
 YRCF     CITY TRAILER     CTL‐TA   RDWY850190   2006   WABSH   1JJV532WX6L987506   1JJV           KY      Paducah
 YRCF     CITY TRAILER     CTL‐TA   RDWY850191   2007   GRTDN   1GRAA06287K286159                  MD      Landover
 YRCF     CITY TRAILER     CTL‐TA   RDWY850192   2008   WABSH   1JJV532W18L141641                  NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY850193   2007   WABSH   1JJV532W57L050693                  AL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY850194   2007   GRTDN   1GRAA06247G341953                  AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY850196   2009   GRTDN   1GRAP06279T551794   CPL‐3313       MI      Wyoming
 YRCF     CITY TRAILER     CTL‐TA   RDWY850197   2001   WABSH   1JJV532W81L738467   1JJV           TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY850198   2001   WABSH   1JJV532W81L668937   1JJV           TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY850199   2008   WABSH   1JJV532W98L111870                  MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY850200   2009   WABSH   1JJV532W19L312888                  MD      Baltimore
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 401 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850201   2015   GRTDN   1GRAP9000GB702568                  VA      Richmond
 YRCF     CITY TRAILER     CTL‐TA   RDWY850203   2001   WABSH   1JJV532W41L738434   1JJV           MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850206   2006   WABSH   1JJV532W06L987658   1JJV           OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY850207   2009   GRTDN   1GRAP062X9T551854   CPL‐3313       TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY850208   2009   WABSH   1JJV532W39L313136                  MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY850209   2005   STRCK   1S12E95305E506739   53' W/ GATE    OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY850210   2007   WABSH   1JJV532W97L050602                  AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY850211   2008   WABSH   1JJV532W98L112436                  AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY850212   2007   WABSH   1JJV532W17L050478                  PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY850213   2007   GRTDN   1GRAA06217G341926                  AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY850214   2000   GRTDN   1PNV532B2YG313715   1PNV           OH      Copley
 YRCF     CITY TRAILER     CTL‐TA   RDWY850215   2007   WABSH   1JJV532W07L051203   1JJV           IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850216   2007   WABSH   1JJV532W37L051132   1JJV           TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850217   2007   GRTDN   1GRAA06297K286283   1GRA           OH      Dayton
 YRCF     CITY TRAILER     CTL‐TA   RDWY850218   2007   GRTDN   1GRAA06207D422482   1GRA           GA      Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY850219   2007   WABSH   1JJV532W37L050448                  AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY850220   2007   WABSH   1JJV532W67L043252   1JJV           AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY850221   2006   WABSH   1JJV532W36L000356   1JJV           AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY850222   2008   WABSH   1JJV532WX8L112493                  AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY850223   2006   WABSH   1JJV532W86L000451   1JJV           AR      Springdale
 YRCF     CITY TRAILER     CTL‐TA   RDWY850224   2007   GRTDN   1GRAA06217K286164                  TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850225   2009   GRTDN   1GRAP06239T553705   CPL‐3313       TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850226   2007   WABSH   1JJV532W97L051118   1JJV           GA      Ringgold
 YRCF     CITY TRAILER     CTL‐TA   RDWY850227   2007   WABSH   1JJV532W47L050605                  IN      South Bend
 YRCF     CITY TRAILER     CTL‐TA   RDWY850228   2006   WABSH   1JJV532W36L000308   1JJV           IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850229   1993   FRUHF   1GRAP06239T553669   FBF248162      SD      Sioux Falls
 YRCF     CITY TRAILER     CTL‐TA   RDWY850230   2007   WABSH   1JJV532W37L043189   1JJV           CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850231   2007   GRTDN   1GRAA06297K286221   1GRA           CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850233   2008   WABSH   1JJV532W38L141639                  PA      Carlisle
 YRCF     CITY TRAILER     CTL‐TA   RDWY850234   2007   WABSH   1JJV532W17L051128   1JJV           MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850235   2006   WABSH   1JJV532W26L000820   1JJV           IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY850236   2007   WABSH   1JJV532W87L050669                  CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY850237   2007   WABSH   1JJV532W57L050497                  SC      Piedmont
 YRCF     CITY TRAILER     CTL‐TA   RDWY850238   2008   STGHT   1DW1A53238B027571   ************   MD      Baltimore
 YRCF     CITY TRAILER     CTL‐TA   RDWY850239   2001   WABSH   1JJV532W91L738056                  TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY850240   2003   WABSH   1JJV532WX3L815617                  TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY850241   2007   WABSH   1JJV532W87L051367   1JJV           MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850242   2009   WABSH   1JJV532W69L313132                  TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY850243   2007   WABSH   1JJV532W67L043297   1JJV           AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY850244   2007   WABSH   1JJV532W57L050466                  AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY850245   2007   GRTDN   1GRAA06217K286326   1GRA           TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850246   2007   WABSH   1JJV532W97L051149   1JJV           AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY850247   2007   WABSH   1JJV532W97L043195   1JJV           KY      Paducah
 YRCF     CITY TRAILER     CTL‐TA   RDWY850248   2006   WABSH   1JJV532W76L000473   1JJV           KY      Paducah
 YRCF     CITY TRAILER     CTL‐TA   RDWY850249   2012   WABSH   1JJV532D1CL593287   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850250   2012   WABSH   1JJV532D3CL593291   ************   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY850251   2012   WABSH   1JJV532D6CL674169   ************   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY850252   2012   WABSH   1JJV532D9CL679527   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850253   2012   WABSH   1JJV532D3CL683296   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850254   2012   WABSH   1JJV532D8CL683567   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850255   2013   WABSH   1JJV532D8DL711353   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850256   2013   WABSH   1JJV532D7DL711506   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850257   2013   WABSH   1JJV532D1DL711548   ************   AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY850258   2013   WABSH   1JJV532D4DL711561   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850259   2013   WABSH   1JJV532D7DL711876   ************   WA      Seattle
 YRCF     CITY TRAILER     CTL‐TA   RDWY850260   2013   WABSH   1JJV532D8DL712129   ************   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850261   2013   WABSH   1JJV532D0DL712917   ************   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY850262   2013   WABSH   1JJV532D1DL713073   ************   CA      Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY850263   2013   WABSH   1JJV532D8DL713121   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850264   2013   WABSH   1JJV532D4DL713357   ************   CA      Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY850265   2013   WABSH   1JJV532D7DL755103   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850266   2013   WABSH   1JJV532D4DL755172   ************   CA      Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850267   2012   WABSH   1JJV532D7CL679459   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850268   2015   WABSH   1JJV532D2FL833998   ************   TN      Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850269   2015   WABSH   1JJV532DXFL834008   ************   CA      Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850270   2015   WABSH   1JJV532D2FL834018   ************   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY850271   2016   WABSH   1JJV532D8GL941754   ************   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850272   2014   WABSH   1JJV532D1EL799244   ************   NV      Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850273   2014   WABSH   1JJV532D3EL799293   ************   CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 402 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State     City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850274   2015   WABSH   1JJV532D0FL833594   ************   IN        Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850275   2013   WABSH   1JJV532D9DL711152   ************   NV        Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850276   2013   WABSH   1JJV532D6DL711531   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850277   2013   WABSH   1JJV532D1DL712182   ************   CA        San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY850278   2013   WABSH   1JJV532D2DL712904   ************   CA        Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850279   2013   WABSH   1JJV532D1DL713266   ************   Alberta   Calgary
 YRCF     CITY TRAILER     CTL‐TA   RDWY850280   2013   WABSH   1JJV532D0DL713355   ************   CA        Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY850281   2013   WABSH   1JJV532D6DL713411   ************   CA        Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY850282   2013   WABSH   1JJV532D2DL713440   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850283   2015   WABSH   1JJV532D5DL713447   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850284   2013   WABSH   1JJV532D8DL755000   ************   TN        Memphis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850285   2012   WABSH   1JJV532D4CL674557   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850286   2013   WABSH   1JJV532D7DL711716   ************   CA        Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850287   2013   WABSH   1JJV532D7DL711943   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850288   2013   WABSH   1JJV532D4DL711981   ************   CA        Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850289   2013   WABSH   1JJV532D4DL713505   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850290   2013   WABSH   1JJV532D5DL755018   ************   CA        Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY850291   2013   WABSH   1JJV532D6DL755075   ************   CA        Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY850292   2013   WABSH   1JJV532DXDL713329   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850293   2013   WABSH   1JJV532D1DL713557   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850294   2013   WABSH   1JJV532D8DL755045   ************   OR        Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY850295   2013   WABSH   1JJV532D7DL755134   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850296   2013   WABSH   1JJV532D4DL755186   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850297   2013   WABSH   1JJV532D7DL713580   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850298   2013   WABSH   1JJV532D6DL713618   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850299   2013   WABSH   1JJV532D2DL713633   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850300   2013   WABSH   1JJV532D6DL713635   ************   TX        Texarkana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850301   2013   WABSH   1JJV532D9DL755149   ************   MO        Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850302   2013   WABSH   1JJV532D3DL712863   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850303   2010   WABSH   1JJV532D8AL378552   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850304   2012   WABSH   1JJV532D8CL679437   ************   FL        Ocala
 YRCF     CITY TRAILER     CTL‐TA   RDWY850305   2013   WABSH   1JJV532D1DL711288   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850306   2013   WABSH   1JJV532D6DL711299   ************   CA        Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY850307   2013   WABSH   1JJV532D1DL713249   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850308   2013   WABSH   1JJV532D4DL713004   ************   OH        North Lima
 YRCF     CITY TRAILER     CTL‐TA   RDWY850309   2013   WABSH   1JJV532D2DL713020   ************   MN        Burnsville
 YRCF     CITY TRAILER     CTL‐TA   RDWY850310   2013   WABSH   1JJV532D1DL713400   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850311   2013   WABSH   1JJV532D3DL713561   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850312   2013   WABSH   1JJV532D9DL754969   ************   UT        Salt Lake City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850313   2014   WABSH   1JJV532D1EL755356   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850314   2014   WABSH   1JJV532D5EL755411   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850315   2014   WABSH   1JJV532D0EL793922   ************   NV        Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850316   2014   WABSH   1JJV532D5EL793964   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850317   2014   WABSH   1JJV532D3EL794045   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850318   2014   WABSH   1JJV532D7EL794128   ************   CA        Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850319   2014   WABSH   1JJV532D9EL794163   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850320   2014   WABSH   1JJV532D0EL794164   ************   CA        Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY850321   2014   WABSH   1JJV532D0EL794214   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850322   2014   WABSH   1JJV532D6EL794279   ************   NV        Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850323   2014   WABSH   1JJV532D2EL794330   ************   IL        Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY850324   2014   WABSH   1JJV532D5EL794368   ************   CA        Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY850325   2014   WABSH   1JJV532D8EL794378   ************   CA        Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850326   2014   WABSH   1JJV532D6EL794413   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850327   2014   WABSH   1JJV532DXEL794513   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850328   2014   WABSH   1JJV532D5EL794516   ************   CA        Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850329   2014   WABSH   1JJV532D2EL794568   ************   CA        Pico Rivera
 YRCF     CITY TRAILER     CTL‐TA   RDWY850330   2014   WABSH   1JJV532D6EL794573   ************   AZ        Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY850331   2014   WABSH   1JJV532D4EL794586   ************   OH        Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY850332   2014   WABSH   1JJV532D7EL794601   ************   SC        Piedmont
 YRCF     CITY TRAILER     CTL‐TA   RDWY850333   2014   WABSH   1JJV532D0EL794620   ************   CA        Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY850334   2014   WABSH   1JJV532D1EL794626   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850335   2014   WABSH   1JJV532DXEL794740   ************   AZ        Lake Havasu City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850336   2014   WABSH   1JJV532D3EL794756   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850337   2014   WABSH   1JJV532D8EL794784   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850338   2014   WABSH   1JJV532D8EL794817   ************   Alberta   Edmonton
 YRCF     CITY TRAILER     CTL‐TA   RDWY850339   2014   WABSH   1JJV532D2EL794845   ************   CA        Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY850340   2014   WABSH   1JJV532D3EL794854   ************   CA        Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY850341   2014   WABSH   1JJV532D9EL794857   ************   CA        Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850342   2014   WABSH   1JJV532DXEL794964   ************   CA        Pico Rivera
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 403 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State            City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850343   2014   WABSH   1JJV532D0EL794987   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850344   2014   WABSH   1JJV532D8EL795370   ************   CA               Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850345   2014   WABSH   1JJV532D0EL795380   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850346   2014   WABSH   1JJV532D2EL795395   ************   NV               Las Vegas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850347   2014   WABSH   1JJV532D9EL795409   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850348   2014   WABSH   1JJV532D1EL795534   ************   AZ               Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY850377   2014   WABSH   1JJV532DXEL795614   ************   CA               Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850378   2014   WABSH   1JJV532D8EL795630   ************   CA               Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850379   2014   WABSH   1JJV532D0EL795749   ************   CA               Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY850380   2014   WABSH   1JJV532D2EL795770   ************   CA               Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850381   2014   WABSH   1JJV532D5EL795780   ************   CA               Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850382   2014   WABSH   1JJV532D4EL795849   ************   CA               Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY850383   2014   WABSH   1JJV532D7EL795909   ************   CA               Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850384   2014   WABSH   1JJV532D9EL795913   ************   CA               Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850385   2014   WABSH   1JJV532D5EL795939   ************   CA               Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850386   2014   WABSH   1JJV532D5EL795987   ************   FL               Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY850387   2014   WABSH   1JJV532D0EL795993   ************   NC               Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY850388   2014   WABSH   1JJV532D1EL796022   ************   TX               Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY850389   2014   WABSH   1JJV532D2EL796157   ************   British Columbia Burnaby
 YRCF     CITY TRAILER     CTL‐TA   RDWY850390   2014   WABSH   1JJV532D9EL796172   ************   MI               Wayland
 YRCF     CITY TRAILER     CTL‐TA   RDWY850391   2014   WABSH   1JJV532D7EL796252   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850392   2014   WABSH   1JJV532D8EL796356   ************   CA               San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY850393   2013   WABSH   1JJV532D0DL711170   ************   GA               Ringgold
 YRCF     CITY TRAILER     CTL‐TA   RDWY850394   2013   WABSH   1JJV532D1DL712876   ************   CA               Fontana
 YRCF     CITY TRAILER     CTL‐TA   RDWY850395   2013   WABSH   1JJV532D1DL713218   ************   CA               Pomona
 YRCF     CITY TRAILER     CTL‐TA   RDWY850396   2013   WABSH   1JJV532D4DL713276   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850397   2013   WABSH   1JJV532D3DL713298   ************   CA               Anderson
 YRCF     CITY TRAILER     CTL‐TA   RDWY850398   2013   WABSH   1JJV532D8DL711160   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850399   2013   WABSH   1JJV532D3DL711468   ************   TX               Irving
 YRCF     CITY TRAILER     CTL‐TA   RDWY850400   2013   WABSH   1JJV532D9DL712124   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850401   2013   WABSH   1JJV532D4DL712287   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850402   2013   WABSH   1JJV532D2DL712899   ************   CA               Gardena
 YRCF     CITY TRAILER     CTL‐TA   RDWY850403   2013   WABSH   1JJV532D0DL713033   ************   TX               Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY850404   2014   WABSH   1JJV532D5EL755330   ************   IL               Rock Island
 YRCF     CITY TRAILER     CTL‐TA   RDWY850405   2014   WABSH   1JJV532D3EL794028   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850406   2014   WABSH   1JJV532D8EL794140   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850407   2014   WABSH   1JJV532D8EL794297   ************   IL               Bolingbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY850408   2014   WABSH   1JJV532D4EL794538   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850409   2014   WABSH   1JJV532D5EL794774   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850410   2014   WABSH   1JJV532D7EL794839   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850411   2014   WABSH   1JJV532D6EL794850   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850412   2014   WABSH   1JJV532D0EL794942   ************   MI               Wyoming
 YRCF     CITY TRAILER     CTL‐TA   RDWY850413   2014   WABSH   1JJV532D2EL794943   ************   GA               Conley
 YRCF     CITY TRAILER     CTL‐TA   RDWY850414   2014   WABSH   1JJV532D8EL795076   ************   IN               Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850415   2014   WABSH   1JJV532D2EL795297   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850416   2014   WABSH   1JJV532D5EL795374   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850417   2014   WABSH   1JJV532D9EL795572   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850418   2014   WABSH   1JJV532DXEL795709   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850419   2014   WABSH   1JJV532D7EL796039   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850420   2014   WABSH   1JJV532D7EL796123   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850421   2014   WABSH   1JJV532D7EL796154   ************   TX               Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY850422   2014   WABSH   1JJV532DXEL796259   ************   NY               Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY850423   2014   WABSH   1JJV532D0EL793998   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850424   2014   WABSH   1JJV532DXEL794026   ************   UT               Salt Lake City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850425   2013   WABSH   1JJV532D0DL711265   ************   IL               Rockford
 YRCF     CITY TRAILER     CTL‐TA   RDWY850426   2013   WABSH   1JJV532D0DL711847   ************   SC               Piedmont
 YRCF     CITY TRAILER     CTL‐TA   RDWY850427   2013   WABSH   1JJV532D3DL712152   ************   IL               Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY850428   2013   WABSH   1JJV532D6DL713389   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850429   2013   WABSH   1JJV532D9DL713497   ************   NV               Sparks
 YRCF     CITY TRAILER     CTL‐TA   RDWY850430   2013   WABSH   1JJV532D9DL713645   ************   CA               Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850431   2013   WABSH   1JJV532D2DL754988   ************   OH               Richfield
 YRCF     CITY TRAILER     CTL‐TA   RDWY850432   2013   WABSH   1JJV532D9DL755006   ************   MO               Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850433   2013   WABSH   1JJV532D5DL712184   ************   OH               Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY850434   2013   WABSH   1JJV532D8DL712194   ************   CA               Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY850435   2013   WABSH   1JJV532D8DL713197   ************   TX               Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850436   2013   WABSH   1JJV532D6DL713473   ************   NC               Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY850449   2005   STRCK   1S12E9535YD467740   53' W/ GATE    TX               San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY850450   2007   GRTDN   1GRAA062X7K286342   1GRA           IL               Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY850451   2009   WABSH   1JJV532W29L312656                  TX               McAllen
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 404 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850452   2006   WABSH   1JJV532W76L000649   1JJV          TX      Eagle Pass
 YRCF     CITY TRAILER     CTL‐TA   RDWY850453   2007   GRTDN   1GRAA06287K286260   1GRA          CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY850454   2008   WABSH   1JJV532W88L111620                 CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850455   2007   GRTDN   1GRAA06267K286354   1GRA          TX      El Paso
 YRCF     CITY TRAILER     CTL‐TA   RDWY850456   2007   GRTDN   1GRAA06217K286147                 CA      Tracy
 YRCF     CITY TRAILER     CTL‐TA   RDWY850457   2007   GRTDN   1GRAA062X7D422506   1GRA          IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850458   2007   WABSH   1JJV532W17L043188   1JJV          IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY850459   2006   WABSH   1JJV532W06L000525   1JJV          IN      Indianapolis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850460   2006   WABSH   1JJV532W86L987584   1JJV          NY      Maybrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY850461   2007   WABSH   1JJV532W57L050452                 IL      Joliet
 YRCF     CITY TRAILER     CTL‐TA   RDWY850462   2006   WABSH   1JJV532W56L000598   1JJV          CA      Santa Rosa
 YRCF     CITY TRAILER     CTL‐TA   RDWY850463   2008   WABSH   1JJV532W08L111546                 TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850464   2007   WABSH   1JJV532W27L051445   1JJV          TX      Fort Worth
 YRCF     CITY TRAILER     CTL‐TA   RDWY850465   2007   WABSH   1JJV532WX7L051113   1JJV          TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850466   2007   WABSH   1JJV532W27L051025   1JJV          TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY850467   2009   WABSH   1JJV532W19L313071                 MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850468   2009   WABSH   1JJV532W39L312844                 TX      McAllen
 YRCF     CITY TRAILER     CTL‐TA   RDWY850469   2007   WABSH   1JJV532W77L050596                 OH      Columbus
 YRCF     CITY TRAILER     CTL‐TA   RDWY850470   2009   GRTDN   1GRAP06249T553695   CPL‐3313      MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY850471   2000   WABSH   1JJV532W3YL730478   1JJV          OK      Oklahoma City
 YRCF     CITY TRAILER     CTL‐TA   RDWY850472   2007   WABSH   1JJV532W67L051562   1JJV          AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY850473   2007   WABSH   1JJV532W87L050333                 AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY850474   2006   WABSH   1JJV532W66L000321   1JJV          TX      Houston
 YRCF     CITY TRAILER     CTL‐TA   RDWY850917   2009   WABSH   1JJV532W09L312882                 MS      Richland
 YRCF     CITY TRAILER     CTL‐TA   RDWY850918   2007   GRTDN   1GRAA06257G341962                 PA      Bensalem
 YRCF     CITY TRAILER     CTL‐TA   RDWY850919   2008   WABSH   1JJV532W18L111409                 PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐TA   RDWY850920   2009   WABSH   1JJV532W39L312648                 MO      Strafford
 YRCF     CITY TRAILER     CTL‐TA   RDWY850921   2017   STGHT   1DW1A5323HB720740   ZGPVW         LA      Shreveport
 YRCF     CITY TRAILER     CTL‐TA   RDWY890001   1995   LFKTR   1L01B4227S1122390   UNKNOWN       HI      Waipahu
 YRCF     CITY TRAILER     CTL‐TA   RDWY89117    2005   UTLTY   1UYVS24075P544601   40' W/ GATE   MD      Hagerstown
 YRCF     CITY TRAILER     CTL‐TA   RDWY89118    2005   UTLTY   1UYVS24095P544602   40' W/ GATE   PA      Mountain Top
 YRCF     CITY TRAILER     CTL‐TA   RDWY89120    2002   TRLMB   1PT01JAJ419003637   45' W/ GATE   NJ      Millville
 YRCF     CITY TRAILER     CTL‐TA   RDWY89124    2002   STRCK   1S12E84552E491387   45' W/ GATE   TX      Irving
 YRCF     CITY TRAILER     CTL‐TA   RDWY89126    2005   UTLTY   1UYVS245X5P531501   45' W/ GATE   CA      Bloomington
 YRCF     CITY TRAILER     CTL‐TA   RDWY89127    2002   STRCK   1UYVS24515P531502   45' W/ GATE   AZ      Phoenix
 YRCF     CITY TRAILER     CTL‐TA   RDWY89130    2001   TRLMB   1PT01JAH619003635   48' W/ GATE   PA      Line Lexington
 YRCF     CITY TRAILER     CTL‐TA   RDWY89132    2000   DORSY   1DTV11Z27YA280266   48' W/ GATE   AR      Little Rock
 YRCF     CITY TRAILER     CTL‐TA   RDWY89133    2000   DORSY   1DTV11Z21YA280277   48' W/ GATE   CA      San Diego
 YRCF     CITY TRAILER     CTL‐TA   RDWY89138    2000   DORSY   1DTV11Z27YA280283   48' W/ GATE   FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY89141    2000   HYUND   3H3V482C8YT047018   48' DRY VAN   AL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY89149    2002   STRCK   1S12E94822E491363   48' W/ GATE   FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐TA   RDWY89154    2002   STRCK   1S12E94832E491369   48' W/ GATE   FL      Orlando
 YRCF     CITY TRAILER     CTL‐TA   RDWY89158    2002   STRCK   1S12E94852E491230   48' W/ GATE   IN      South Bend
 YRCF     CITY TRAILER     CTL‐TA   RDWY89159    2002   STRCK   1S12E94872E491231   48' W/ GATE   IL      Wheeling
 YRCF     CITY TRAILER     CTL‐TA   RDWY89161    2002   STRCK   1S12E94802E491233   48' W/ GATE   IL      Montgomery
 YRCF     CITY TRAILER     CTL‐TA   RDWY89162    2002   STRCK   1S12E94822E491234   48' W/ GATE   IL      Chicago Heights
 YRCF     CITY TRAILER     CTL‐TA   RDWY89165    2002   STRCK   1S12E94882E491237   48' W/ GATE   NC      Raleigh
 YRCF     CITY TRAILER     CTL‐TA   RDWY89169    2002   STRCK   1S12E94852E491244   48' W/ GATE   DE      New Castle
 YRCF     CITY TRAILER     CTL‐TA   RDWY89174    2002   STRCK   1S12E94842E491249   48' W/ GATE   GA      Savannah
 YRCF     CITY TRAILER     CTL‐TA   RDWY89178    2002   STRCK   1S12E94862E431253   48' W/ GATE   TX      Abilene
 YRCF     CITY TRAILER     CTL‐TA   RDWY89179    2002   STRCK   1S12E94882E491254   48' W/ GATE   IL      Bolingbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY89181    2002   STRCK   1S12E94832E491257   48' W/ GATE   MI      Wyoming
 YRCF     CITY TRAILER     CTL‐TA   RDWY89184    2002   STRCK   1S12E94832E491260   48' W/ GATE   NC      Charlotte
 YRCF     CITY TRAILER     CTL‐TA   RDWY89185    2002   STRCK   1S12E94852E491261   48' W/ GATE   NC      Durham
 YRCF     CITY TRAILER     CTL‐TA   RDWY89187    2002   STRCK   1S12E94892E491263   48' W/ GATE   FL      Boynton Beach
 YRCF     CITY TRAILER     CTL‐TA   RDWY89188    2007   UTLTY   1UYVS24817G300905   48' W/ GATE   OR      Portland
 YRCF     CITY TRAILER     CTL‐TA   RDWY89189    2007   UTLTY   1UYVS24837G300906   48' W/ GATE   TX      Lubbock
 YRCF     CITY TRAILER     CTL‐TA   RDWY89190    2007   UTLTY   1UYVS24847G300901   48' W/ GATE   FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐TA   RDWY89192    2007   UTLTY   1UYVS24887G300903   48' W/ GATE   FL      Fort Myers
 YRCF     CITY TRAILER     CTL‐TA   RDWY89193    2007   UTLTY   1UYVS24847G300904   48' W/ GATE   FL      Tampa
 YRCF     CITY TRAILER     CTL‐TA   RDWY89194    2007   UTLTY   1UYVS24887G300917   48' W/ GATE   OH      Copley
 YRCF     CITY TRAILER     CTL‐TA   RDWY89195    2007   UTLTY   1UYVS248X7G300918   48' W/ GATE   TX      Lubbock
 YRCF     CITY TRAILER     CTL‐TA   RDWY89197    2007   UTLTY   1UYVS24887G300920   48' W/ GATE   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY89198    2007   UTLTY   1UYVS248X7G300921   48' W/ GATE   MO      Kansas City
 YRCF     CITY TRAILER     CTL‐TA   RDWY89199    2007   UTLTY   1UYVS24817G300922   48' W/ GATE   DE      New Castle
 YRCF     CITY TRAILER     CTL‐TA   RDWY89200    2001   TRLMB   1PT01JAHX19004397   53' W/ GATE   TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY89201    2001   TRLMB   1PT01JAH119004398   53' W/ GATE   GA      Marietta
 YRCF     CITY TRAILER     CTL‐TA   RDWY89202    2002   STRCK   1S12E95392E491380   53' W/ GATE   UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐TA   RDWY89203    2002   STRCK   1S12E95392E491511   53' W/ GATE   FL      Tampa
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 405 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 YRCF     CITY TRAILER     CTL‐TA   RDWY89206    2002   STRCK   1S12E95342E491321   53' W/ GATE   OH      Copley
 YRCF     CITY TRAILER     CTL‐TA   RDWY89207    2007   UTLTY   1UYVS25327G301002   53' W/ GATE   TN      Knoxville
 YRCF     CITY TRAILER     CTL‐TA   RDWY89209    2002   STRCK   1S12E95392E491377   53' DRY VAN   CA      Orange
 YRCF     CITY TRAILER     CTL‐TA   RDWY89210    2002   STRCK   1S12E95302E491378   53' W/ GATE   CA      Calexico
 YRCF     CITY TRAILER     CTL‐TA   RDWY89211    2002   STRCK   1S12E95322E491379   53' W/ GATE   ID      Pocatello
 YRCF     CITY TRAILER     CTL‐TA   RDWY89213    2002   STRCK   1S12E95302E491381   53' W/ GATE   MO      Saint Louis
 YRCF     CITY TRAILER     CTL‐TA   RDWY89216    2002   STRCK   1S12E95322E491267   53' W/ GATE   UT      Salt Lake City
 YRCF     CITY TRAILER     CTL‐TA   RDWY89217    2002   STRCK   1S12E95362E491269   53' W/ GATE   AL      Birmingham
 YRCF     CITY TRAILER     CTL‐TA   RDWY89218    2002   STRCK   1S12E95322E491270   53' W/ GATE   IN      Terre Haute
 YRCF     CITY TRAILER     CTL‐TA   RDWY89225    2002   STRCK   1S12E95382E491323   53' W/ GATE   NC      Durham
 YRCF     CITY TRAILER     CTL‐TA   RDWY89522    1998   FRUHF   1JJV482F7WF530540   1JJV          NC      Rocky Mount
 YRCF     CITY TRAILER     CTL‐TA   RDWY89539    2001   TRLMB   1PT01JPH418001315   1PT           MD      Hagerstown
 YRCF     CITY TRAILER     CTL‐TA   RDWY89543    2001   TRLMB   1PT01JPHX18001321   1PT           TN      Nashville
 YRCF     CITY TRAILER     CTL‐TA   RDWY89600    2000   TRLMB   1PT01JAH2Y6007371   1PT           IL      Bolingbrook
 YRCF     CITY TRAILER     CTL‐TA   RDWY89628    2001   TRLMB   1PT01JPHX18001318   1PT           AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY897318   2001   WABSH   1JJV532W31L738036                 MI      Taylor
 YRCF     CITY TRAILER     CTL‐TA   RDWY89781    1994   WABSH   1JJV482UXRL207037   1JJV          TX      San Antonio
 YRCF     CITY TRAILER     CTL‐TA   RDWY89798    1995   TRLMB   1PT01JAH2S6003585   1PT           TX      Dallas
 YRCF     CITY TRAILER     CTL‐TA   RDWY89967    2007   GRTDN   1GRAA802X8K296975                 NJ      Carlstadt
 YRCF     CITY TRAILER     CTL‐TA   RDWY89968    2003   WABSH   1JJV482W83L849412   DVCVHPC       RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY89978    2003   WABSH   1JJV482W83L849572   DVCVHPC       AL      Mobile
 YRCF     CITY TRAILER     CTL‐TA   RDWY89980    2003   WABSH   1JJV482W23L849535   DVCVHPC       GA      Thomasville
 YRCF     CITY TRAILER     CTL‐TA   RDWY89981    2003   WABSH   1JJV482W63L849795   DVCVHPC       NY      Elmira
 YRCF     CITY TRAILER     CTL‐TA   RDWY89985    2004   GRTDN   1GRAA96234K262285   VARIOUS       NY      East Syracuse
 YRCF     CITY TRAILER     CTL‐TA   RDWY89992    2005   WABSH   1JJV482W25L913821   VARIOUS       RI      Cumberland
 YRCF     CITY TRAILER     CTL‐TA   RDWY902617   1996   PINES   1PNV482BXTG301109   1PNV          FL      Miami
 YRCF     CITY TRAILER     CTL‐TA   RDWY96755    1991   PINES   1PNV402S5MK043324   4097RSV       FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY10029    2005   INTL    3HSCPAPN35N049277   9400I         TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY12569    2012   VOLVO   4V4N39DF3CN538638   VNL42300      CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY12817    2018   VOLVO   4V4W19EG6JN901724   VNR42T        GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13063    2001   INTL    1HSHBATN01H356422   8100          TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13080    2003   MACK    1M1AA08Y43W026338   CH612         TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13086    2003   MACK    1M1AA08Y53W026350   CH612         TX      Waco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13089    2003   MACK    1M1AA08Y83W026357   CH612         MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13095    2003   MACK    1M1AA08Y43W026369   CH612         AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13202    2003   MACK    1M1AA08Y93W026383   CH612         CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13210    2003   MACK    1M1AA08Y23W026399   CH612         CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13219    2003   MACK    1M1AA08Y23W026418   CH612         AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13228    2003   MACK    1M1AA08Y43W026436   CH612         WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13229    2003   MACK    1M1AA08Y83W026438   CH612         FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13231    2003   MACK    1M1AA08YX3W026442   CH612         AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13250    2004   STRLN   2FWBA2CV94AL89806   A9500         TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13453    2002   INTL    1HSHBATN82H515771   8100          FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13553    2002   INTL    2HSCDAXN92C046132   9200I         MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY13568    2003   INTL    1HSHBAHN83H577634   8100          GA      La Grange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY18580    2005   INTL    3HSCPSBN25N049249   9400I         IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY18582    2005   INTL    3HSCPAPN45N049255   9400I         IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY18583    2005   INTL    3HSCPSBN55N051366   9400I         IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY18597    2003   FRGHT   1FUBACA8X3DK76722   FLD112        TX      Waco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY18598    2003   FRGHT   1FUBACA893DK79031   FLD112        TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY18599    2003   FRGHT   1FUBACA873DK79061   FLD112        TX      Texarkana
 YRCF     CITY TRACTOR     CTR‐SA   RDWY18613    2002   INTL    2HSCDAXN02C046102   9200I         TX      McAllen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY18625    2005   INTL    3HSCPSBN55N049245   9400I         WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY18628    2003   INTL    3HSCDAXN43N057815   9200I         WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19506    2003   FRGHT   1FUBACA843DK79051   FLD112        AZ      Nogales
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19509    2003   FRGHT   1FUBACA873DK79013   FLD112        AZ      Nogales
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19516    2003   INTL    3HSCDAXNX3N057821   9200I         TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19518    2005   INTL    3HSCPAPN05N049270   9400I         TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19530    2005   INTL    3HSCPAPN75N049279   9400I         MO      Strafford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19531    2005   INTL    3HSCPSBN15N051364   9400I         OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19538    2003   FRGHT   1FUBACA873DK79030   FLD112        TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19544    2003   INTL    3HSCDAXN53N057838   9200I         NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19545    2005   INTL    3HSCPSBN25N049252   9400I         UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19551    2005   INTL    3HSCPSBNX5N049239   9400I         GA      Martinez
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19566    2001   FRGHT   1FUW3MDB81PH55891   FLD112        TX      Corpus Christi
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19569    2003   FRGHT   1FUBACA833DK76724   FLD112        TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19582    2004   INTL    3HSCDSBN64N087381   9200I         TX      Waco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19587    2003   INTL    3HSCDAXN53N064045   9200I         TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19591    2002   INTL    2HSCDAXN22C046053   9200I         OK      Tulsa
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 406 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY19592     2005   INTL    3HSCPSBN35N049230   9400I     OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21209     2001   VOLVO   4V4M39RF71N245987   VNM42T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21211     2001   VOLVO   4V4M39RFX1N246051   VNM42T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21212     2001   VOLVO   4V4M39RF61N246032   VNM42T    TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21215     2001   VOLVO   4V4M39RF91N246025   VNM42T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21216     2001   VOLVO   4V4M39RF51N246068   VNM42T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21265     2001   VOLVO   4V4M39RF41N245980   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21291     2001   VOLVO   4V4M39RF01N245989   VNM42T    FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21362     2001   VOLVO   4V4M19RF91N320341   VNM42T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21414     2001   VOLVO   4V4M19RF31N320366   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21423     2001   VOLVO   4V4M19RF41N320375   VNM42T    FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21463     2001   VOLVO   4V4M19RF51N320384   VNM42T    TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21464     2001   VOLVO   4V4M19RF71N320385   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21487     2001   VOLVO   4V4M19RF91N320405   VNM42T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21503     2002   MACK    1M1AA08Y62W025982   CH612     TX      Waco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21602     2001   MACK    1M1AA08YX1W021836   CH612     TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21610     2001   MACK    1M1AA08Y41W021833   CH612     FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21618     2001   MACK    1M1AA08Y41W021802   CH612     GA      La Grange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21665     2001   INTL    1HSCAAHN91J007774   9100      MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21739     2001   MACK    1M1AA08Y61W021784   CH612     NJ      Millville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21952     2001   VOLVO   4V4M39JF01N246345   VNM42T    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21953     2001   VOLVO   4V4M39RF51N246183   VNM42T    OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21961     2001   VOLVO   4V4M39RF91N246185   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21965     2001   VOLVO   4V4M39RF01N246205   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY21968     2001   VOLVO   4V4M39RF41N246191   VNM42T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23516     2001   VOLVO   4V4M39RF21N246125   VNM42T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23613     2002   VOLVO   4V4M19RFX2N324562   VNM42T    TX      Texarkana
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23616     2002   VOLVO   4V4M19RF22N324538   VNM42T    LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23626     2002   VOLVO   4V4M19RF62N324526   VNM42T    AR      Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23642     2002   VOLVO   4V4M19RFX2N324626   VNM42T    SC      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23653     2001   VOLVO   4V4M39RF91N246154   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23654     2002   VOLVO   4V4M39RF42N325488   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23656     2002   VOLVO   4V4M39RF62N325430   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23710     2002   VOLVO   4V4M19RF22N319226   VNM42T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23720     2002   VOLVO   4V4M19RF62N324574   VNM42T    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23729     2001   VOLVO   4V4M19RF61N319132   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23746     2002   VOLVO   4V4M19RF32N335273   VNM42T    MS      Tupelo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23779     2002   VOLVO   4V4M19RF42N319230   VNM42T    OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23784     2002   VOLVO   4V4M19RF72N319237   VNM42T    OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23786     2002   VOLVO   4V4M19RF12N324630   VNM42T    OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23787     2002   VOLVO   4V4M19RF62N319231   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23791     2002   VOLVO   4V4M19GF32N335289   VNM42T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23792     2002   VOLVO   4V4M19GFX2N335368   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23795     2002   VOLVO   4V4M39RF52N325449   VNM42T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23796     2002   VOLVO   4V4M39RF82N325462   VNM42T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23802     2001   VOLVO   4V4M39RF31N246196   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23806     2001   VOLVO   4V4M39RF61N246158   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23808     2002   VOLVO   4V4M19GF92N335295   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23809     2002   VOLVO   4V4M19RF72N324664   VNM42T    TX      Laredo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23810     2002   VOLVO   4V4M39RF52N325452   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23826     2002   VOLVO   4V4M19RFX2N324576   VNM42T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23837     2002   VOLVO   4V4M19RF52N324582   VNM42T    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23841     2002   VOLVO   4V4M19RFX2N319233   VNM42T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23844     2002   VOLVO   4V4M19RF02N335280   VNM42T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23852     2002   VOLVO   4V4M19RF72N324597   VNM42T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23861     2002   VOLVO   4V4M19RF82N319182   VNM42T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23862     2002   VOLVO   4V4M19RF12N319203   VNM42T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23865     2002   VOLVO   4V4M19RF92N324598   VNM42T    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23882     2002   VOLVO   4V4M19GF32N335356   VNM42T    MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23898     2002   VOLVO   4V4M19RF32N324497   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23899     2002   VOLVO   4V4M19RFX2N319216   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23901     2002   VOLVO   4V4M19RF22N324510   VNM42T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23907     2002   VOLVO   4V4M19RF72N324549   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23914     2002   VOLVO   4V4M19RF62N324560   VNM42T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23918     2002   VOLVO   4V4M39RF12N325450   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23919     2002   VOLVO   4V4M39RF02N325469   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23960     2002   VOLVO   4V4M19RFX2N324559   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23962     2001   VOLVO   4V4M19RF81N319066   VNM42T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23965     2002   VOLVO   4V4M19GF42N335351   VNM42T    VA      Fishersville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 407 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23966     2002   VOLVO   4V4M19GF62N335352   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23967     2002   VOLVO   4V4M19RF12N324532   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23969     2002   VOLVO   4V4M19RF72N324552   VNM42T    FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23973     2001   VOLVO   4V4M39RF81N246081   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23974     2001   VOLVO   4V4M39RF91N246106   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23980     2002   VOLVO   4V4M19RF12N335286   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23981     2001   VOLVO   4V4M39RFX1N246101   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23983     2002   VOLVO   4V4M19RF52N324498   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23986     2002   VOLVO   4V4M39RF02N325472   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY23987     2002   VOLVO   4V4M39RFX2N325527   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24008     2002   VOLVO   4V4M19RF22N319260   VNM42T    NY      Mount Vernon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24039     2002   VOLVO   4V4M19RFX2N324612   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24056     2002   VOLVO   4V4M19RF82N324558   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24057     2002   VOLVO   4V4M19RF32N324595   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24084     2002   VOLVO   4V4M19RF62N319259   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24100     2002   VOLVO   4V4M19RF32N324659   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24112     2002   VOLVO   4V4M39RF62N325475   VNM42T    AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24148     2002   VOLVO   4V4M39RFX2N325432   VNM42T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24152     2002   VOLVO   4V4M39GG72N325819   VNM42T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24156     2002   VOLVO   4V4M39GG62N325794   VNM42T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24157     2002   VOLVO   4V4M39RF72N325565   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24159     2002   INTL    2HSCDAMN62C032046   9200I     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24165     2002   VOLVO   4V4M39RF92N325552   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24269     2002   VOLVO   4V4M19RF92N324617   VNM42T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24301     2002   VOLVO   4V4M19RF02N324506   VNM42T    NJ      Millville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24384     2002   VOLVO   4V4M19RF32N319171   VNM42T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24451     2001   VOLVO   4V4M19RF81N319083   VNM42T    SC      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24505     2002   VOLVO   4V4M39RF42N325491   VNM42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24518     2002   VOLVO   4V4M19GF72N335330   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24519     2002   VOLVO   4V4M19RF72N324504   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24534     2004   VOLVO   4V4M19GFX4N360385   VNM42T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24574     2002   VOLVO   4V4M19RF12N324496   VNM42T    NC      Fayetteville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24623     2002   VOLVO   4V4M19RF12N319220   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24625     2002   VOLVO   4V4M19RF42N324623   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24639     2002   VOLVO   4V4M19RF32N324628   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24661     2002   VOLVO   4V4M19RF02N324604   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24732     2002   INTL    2HSCDAMN82C032078   9200I     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24736     2002   VOLVO   4V4M19RF52N319219   VNM42T    TX      McAllen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24739     2002   VOLVO   4V4M39GG22N325811   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24741     2002   VOLVO   4V4M19RF42N324587   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24748     2002   VOLVO   4V4M19GF82N335336   VNM42T    AR      Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24750     2002   VOLVO   4V4M39RF42N325474   VNM42T    AR      Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24818     2002   VOLVO   4V4M19RF22N324619   VNM42T    VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24822     2002   VOLVO   4V4M19RF02N324652   VNM42T    NC      Fayetteville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24829     2002   VOLVO   4V4M19GF12N335291   VNM42T    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24885     2002   VOLVO   4V4M19RF72N335275   VNM42T    VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24888     2002   VOLVO   4V4M19RF42N324606   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24891     2001   VOLVO   4V4M39RF61N246063   VNM42T    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24893     2001   VOLVO   4V4M19RF71N319009   VNM42T    AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24969     2002   VOLVO   4V4M19RF92N324648   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24982     2002   VOLVO   4V4M39RF92N325535   VNM42T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY24985     2002   INTL    2HSCDAMN42C032062   9200I     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60523     2001   MACK    1M1AA08Y41W021766   CH612     NJ      Millville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60525     2001   MACK    1M1AA08Y71W021809   CH612     NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60564     2001   MACK    1M1AA08YX1W021755   CH612     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60568     2001   MACK    1M1AA08Y31W021760   CH612     GA      La Grange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60570     2007   VOLVO   4V4M19GF97N451541   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60572     2007   VOLVO   4V4M19GF17N451596   VNM42T    DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60574     2007   VOLVO   4V4M19GF37N451485   VNM42T    DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60575     2007   VOLVO   4V4M19GF57N449236   VNM42T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60577     2007   VOLVO   4V4M19GF47N451740   VNM42T    IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60753     2001   VOLVO   4V4M19RF21N320259   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60854     2001   VOLVO   4V4M19RF81N320301   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60855     2001   VOLVO   4V4M19RFX1N320302   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60857     2001   VOLVO   4V4M19RF31N320304   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60859     2001   VOLVO   4V4M19RF71N320306   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60860     2001   VOLVO   4V4M19RF91N320307   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60868     2001   VOLVO   4V4M19RF81N320315   VNM42T    VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60885     2001   VOLVO   4V4M19RF81N320332   VNM42T    KY      Bowling Green
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 408 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60894     2002   MACK    1M1AA08Y92W025961   CH612      AR      Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY60899     2002   MACK    1M1AA08Y82W025966   CH612      NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61308     1999   VOLVO   4VA7BBRF4XN773290   VNM42T     SD      Watertown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61363     2003   MACK    1M1AA08YX3W026358   CH612      IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61365     2003   MACK    1M1AA08Y13W026362   CH612      FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61368     2003   MACK    1M1AA08Y23W026368   CH612      ND      Fargo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61370     2003   MACK    1M1AA08Y43W026372   CH612      MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61373     2003   MACK    1M1AA08Y53W026378   CH612      NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61400     2003   MACK    1M1AA08Y93W026433   CH612      CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61638     2003   MACK    1M1AA09Y33W026913   CH612      NJ      Millville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61639     2003   MACK    1M1AA09Y83W027121   CH612      DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61641     2003   MACK    1M1AA09Y33W026894   CH612      DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61643     2003   MACK    1M1AA09Y13W026893   CH612      DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61649     2003   MACK    1M1AA09Y63W026890   CH612      GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61754     2003   VOLVO   4V4M19GF03N349264   VNM42T     MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61756     2003   VOLVO   4V4M19GH23N349266   VNM42T     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61757     2003   INTL    1HSHWAXN33J074723   8600       PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY61758     2003   INTL    1HSHWAXN53J074724   8600       NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62020     2002   INTL    2HSCDAXN22C046070   9200I      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62031     2002   INTL    2HSCDAHN32C043192   9200       TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62032     2002   INTL    2HSCDAXN62C046055   9200I      TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62304     2001   INTL    1HSHBATN01H363113   8100       GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62328     2003   INTL    1HSHBATN23H567897   8100       TX      Waco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62373     2003   INTL    1HSHBAHN53H578241   8100       FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62375     2003   INTL    1HSHBAHN23H577645   8100       FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62459     2001   VOLVO   4V4M19RF71N306549   VNM42T     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62503     2001   VOLVO   4V4M19RF81N306625   VNM42T     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62542     2001   VOLVO   4V4M19RF71N306616   VNM42T     VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62544     2001   VOLVO   4V4M19RF51N306582   VNM42T     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62560     2001   VOLVO   4V4M19RF41N306606   VNM42T     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62566     2001   VOLVO   4V4M19RF51N319090   VNM42T     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62574     2001   VOLVO   4V4M19RF71N306664   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62595     2001   VOLVO   4V4M19RF11N306630   VNM42T     NV      Las Vegas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62615     2001   VOLVO   4V4M19RF71N306728   VNM42T     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62619     2001   VOLVO   4V4M19RF21N306720   VNM42T     FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62650     2001   VOLVO   4V4M19RF91N306665   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62675     2001   VOLVO   4V4M19RF51N319087   VNM42T     VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62683     2001   VOLVO   4V4M19RFX1N306660   VNM42T     TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62684     2001   VOLVO   4V4M19RF61N306719   VNM42T     TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62686     2001   VOLVO   4V4M19RF81N306642   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62780     2005   INTL    3HSCPAPN95N049283   9400I      TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62782     2005   INTL    3HSCPSBN55N049231   9400I      TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62810     2005   INTL    3HSCPSBN65N051358   9400I      AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62900     2001   VOLVO   4V4M19RF91N319156   VNM42T     IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62941     2001   VOLVO   4V4M19RF51N319154   VNM42T     NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62957     2001   VOLVO   4V4M19RF01N306652   VNM42T     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62958     2003   INTL    3HSCDAXNX3N057804   9200I      TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY62988     2001   VOLVO   4V4M19RF11N319104   VNM42T     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64007     2002   VOLVO   4V4M39RF12N325576   VNM42T     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64029     2002   VOLVO   4V4M19RF92N335276   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64034     2002   VOLVO   4V4M39RF72N325579   VNM42T     TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64035     2002   VOLVO   4V4M19GF42N335303   VNM42T     TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64069     2002   INTL    2HSCDAMN42C032045   9200I      SD      Watertown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64073     2005   INTL    1HSHWAHN65J054371   8600 S/A   AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64089     2002   VOLVO   4V4M39RFX2N325415   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64090     2007   INTL    1HSHWAHNX7J443985   8600 S/A   TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64091     2007   INTL    1HSHWAHN17J443986   8600 S/A   FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64092     2007   INTL    1HSHWAHN37J443987   8600 S/A   OR      Redmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64100     2002   VOLVO   4V4M39GG52N325818   VNM42T     VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64104     2007   INTL    1HSHWAHN57J443988   8600 S/A   TN      Jackson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64105     2007   INTL    1HSHWAHN37J522849   8600 S/A   SD      Sioux Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64107     2004   VOLVO   4V4M19GF54N369916   VNM42T     FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64108     2003   VOLVO   4V4M39RF93N341834   VNM42T     FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64110     2005   VOLVO   4V4M19GF55N405928   VNM42T     LA      New Orleans
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64113     2004   VOLVO   4V4M19GF44N369888   VNM42T     TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64114     2004   VOLVO   4V4M19GF54N352257   VNM42T     MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64121     2004   VOLVO   4V4M19GF04N352196   VNM42T     RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64127     2005   VOLVO   4V4M19GF65N405999   VNM42T     MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64130     2004   VOLVO   4V4M19GF94N360362   VNM42T     LA      Port Allen
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 409 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64131     2003   VOLVO   4V4M39RF73N325616   VNM42T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64132     2003   VOLVO   4V4M39RFX3N341826   VNM42T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64134     2004   VOLVO   4V4M19GF74N352227   VNM42T    MN      Duluth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64135     2004   VOLVO   4V4M19GF94N357090   VNM42T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64136     2005   VOLVO   4V4M19GF15N378162   VNM42T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64149     2005   VOLVO   4V4M19GF45N378138   VNM42T    WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64150     2005   VOLVO   4V4M19GFX5N387636   VNM42T    WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64154     2005   VOLVO   4V4M19GF25N387629   VNM42T    IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64156     2004   VOLVO   4V4M19GFX4N352187   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64157     2004   VOLVO   4V4M19GF44N352198   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64158     2003   VOLVO   4V4M39RF23N325605   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64159     2003   VOLVO   4V4M39RF83N325608   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64160     2004   VOLVO   4V4M19GF34N369851   VNM42T    CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64161     2005   VOLVO   4V4M19GF65N378142   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64166     2004   VOLVO   4V4M19GF94N369840   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64168     2005   VOLVO   4V4M19GF85N405941   VNM42T    PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64169     2002   INTL    2HSCDAMN12C032066   9200I     MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64170     2004   VOLVO   4V4M19GFX4N352254   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64171     2004   VOLVO   4V4M19GF54N369883   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64180     2004   VOLVO   4V4M19GF34N369896   VNM42T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64183     2003   VOLVO   4V4M39RF13N325630   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64187     2004   VOLVO   4V4M19GF54N369852   VNM42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64188     2005   VOLVO   4V4M19GF85N405969   VNM42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64190     2003   VOLVO   4V4M39RF53N341829   VNM42T    TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64194     2005   VOLVO   4V4M19GF95N405947   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64196     2004   VOLVO   4V4M19GF34N369879   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64201     2004   VOLVO   4V4M19GF94N369904   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64209     2005   VOLVO   4V4M19GFX5N378144   VNM42T    AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64214     2004   VOLVO   4V4M19GF14N357097   VNM42T    OH      Dayton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64215     2004   VOLVO   4V4M19GFX4N360371   VNM42T    IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64224     2003   VOLVO   4V4M39RF23N325667   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64225     2003   VOLVO   4V4M39RF53N325680   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64230     2005   VOLVO   4V4M19GFX5N405987   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64231     2005   VOLVO   4V4M19GF95N378118   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64233     2003   VOLVO   4V4M39RF43N325623   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64234     2004   VOLVO   4V4M19GF64N369858   VNM42T    AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64235     2005   VOLVO   4V4M19GF35N378146   VNM42T    NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64236     2005   VOLVO   4V4M19GF15N378176   VNM42T    NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64237     2003   VOLVO   4V4M39RF83N325639   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64248     2004   VOLVO   4V4M19GF54N369866   VNM42T    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64252     2004   VOLVO   4V4M19GF34N357067   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64254     2003   VOLVO   4V4M39RFX3N325769   VNM42T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64258     2004   VOLVO   4V4M19GF14N369878   VNM42T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64263     2003   VOLVO   4V4M39RF23N341836   VNM42T    TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64277     2003   VOLVO   4V4M39RF43N325783   VNM42T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64283     2003   VOLVO   4V4M39RF53N325629   VNM42T    NC      Fayetteville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64284     2003   VOLVO   4V4M39RF03N325666   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64289     2003   VOLVO   4V4M39RF43N325640   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64294     2004   VOLVO   4V4M19GF94N357123   VNM42T    OH      Dayton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64296     2004   VOLVO   4V4M19GF94N352262   VNM42T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64300     2005   VOLVO   4V4M19GF35N378101   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64304     2004   VOLVO   4V4M19GF04N357107   VNM42T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64308     2004   VOLVO   4V4M19GF04N369872   VNM42T    MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64309     2005   VOLVO   4V4M19GF25N378140   VNM42T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64310     2004   VOLVO   4V4M19GF04N357074   VNM42T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64311     2005   VOLVO   4V4M19GF05N378167   VNM42T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64318     2005   VOLVO   4V4M19GF65N405954   VNM42T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64319     2005   VOLVO   4V4M19GFX5N378158   VNM42T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64335     2005   VOLVO   4V4M19GFX5N378127   VNM42T    MS      Richland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64337     2003   VOLVO   4V4M39RF63N325641   VNM42T    TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64344     2005   VOLVO   4V4M19GF55N406500   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64349     2004   VOLVO   4V4M19GF74N352244   VNM42T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64361     2005   VOLVO   4V4M19GF25N405966   VNM42T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64364     2005   VOLVO   4V4M19GF75N378148   VNM42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64373     2004   VOLVO   4V4M19GF74N357072   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64375     2004   VOLVO   4V4M19GFX4N369880   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64398     2004   VOLVO   4V4M19GF24N369890   VNM42T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64399     2005   VOLVO   4V4M19GF85N405986   VNM42T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64416     2003   VOLVO   4V4M39RF53N341796   VNM42T    PA      Bensalem
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 410 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64430     2004   VOLVO   4V4M19GF34N369865   VNM42T     OH      Toledo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64431     2004   VOLVO   4V4M19GF64N369844   VNM42T     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64439     2004   VOLVO   4V4M19GF74N369836   VNM42T     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64459     2004   VOLVO   4V4M19GF04N369838   VNM42T     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64462     2003   VOLVO   4V4M39RF63N325736   VNM42T     MS      Tupelo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64463     2003   VOLVO   4V4M39RF13N341827   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64465     2003   VOLVO   4V4M39RF23N341805   VNM42T     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64466     2003   VOLVO   4V4M39RF63N341824   VNM42T     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64469     2003   VOLVO   4V4M39RF03N325618   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64470     2003   VOLVO   4V4M39RF03N325649   VNM42T     TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64471     2003   VOLVO   4V4M39RF33N341814   VNM42T     TX      Waco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64479     2004   VOLVO   4V4M19GF84N369845   VNM42T     VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64490     2003   VOLVO   4V4M39RF33N341795   VNM42T     TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64553     2001   VOLVO   4V4M19RH01N309603   VNM42T     IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64564     2004   VOLVO   4V4M19GH74N369921   VNM42T     OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64569     2005   VOLVO   4V4M19GF95N378149   VNM42T     NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64571     2008   INTL    1HSHWAHN18J674257   8600 S/A   NE      Bridgeport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64573     2008   INTL    1HSHWAHN58J674259   8600 S/A   CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64577     2009   INTL    1HSHWAHN79J674264   8600 S/A   TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64578     2009   INTL    1HSHWAHN99J674265   8600 S/A   TX      Waco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64579     2009   INTL    1HSHWAHN09J674266   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64580     2009   INTL    1HSHWAHN29J674267   8600 S/A   NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64581     2009   INTL    1HSHWAHN49J674268   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64582     2009   INTL    1HSHWAHN69J674269   8600 S/A   TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64583     2009   INTL    1HSHWAHN29J674270   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64584     2009   INTL    1HSHWAHN49J674271   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64587     2009   INTL    1HSHWAHNX9J674274   8600 S/A   TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64588     2009   INTL    1HSHWAHN39J674276   8600 S/A   OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64589     2009   INTL    1HSHWAHN59J674277   8600 S/A   TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64590     2009   INTL    1HSHWAHN59J674280   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64591     2009   INTL    1HSHWAHN79J674281   8600 S/A   AZ      Flagstaff
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64594     2009   INTL    1HSHWAHN49J674285   8600 S/A   TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64595     2009   INTL    1HSHWAHN69J674286   8600 S/A   CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64598     2009   INTL    1HSHWAHN19J674289   8600 S/A   MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64600     2009   INTL    1HSHWAHNX9J674291   8600 S/A   TN      Jackson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64601     2009   INTL    1HSHWAHN19J674292   8600 S/A   MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64602     2009   INTL    1HSHWAHN39J674293   8600 S/A   TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64603     2009   INTL    1HSHWAHN59J674294   8600 S/A   KY      Bowling Green
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64604     2009   INTL    1HSHWAHN79J674295   8600 S/A   TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64605     2009   INTL    1HSHWAHN99J674296   8600 S/A   CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64606     2009   INTL    1HSHWAHN09J674297   8600 S/A   TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64607     2009   INTL    1HSHWAHN29J674298   8600 S/A   TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64608     2009   INTL    1HSHWAHN49J674299   8600 S/A   TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64610     2009   INTL    1HSHWAHN99J674301   8600 S/A   TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64611     2009   INTL    1HSHWAHN09J674302   8600 S/A   SD      Rapid City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64613     2009   INTL    1HSHWAHN49J674304   8600 S/A   TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64614     2009   INTL    1HSHWAHN69J674305   8600 S/A   NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64616     2009   INTL    1HSHWAHNX9J674307   8600 S/A   MS      Tupelo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64618     2009   INTL    1HSHWAHN39J674309   8600 S/A   OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64619     2009   INTL    1HSHWAHNX9J674310   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64620     2009   INTL    1HSHWAHN19J674311   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64621     2008   INTL    1HSHWAHN68J673895   8600 S/A   TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64622     2008   INTL    1HSHWAHN08J674251   8600 S/A   TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64623     2008   INTL    1HSHWAHN48J674253   8600 S/A   TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64624     2008   INTL    1HSHWAHN88J674255   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64625     2008   INTL    1HSHWAHNX8J674256   8600 S/A   TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64626     2009   INTL    1HSHWAHN59J674313   8600 S/A   CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64642     2006   STRLN   2FWBA2CG36AW09302   A9500      IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64665     2004   VOLVO   4V4M19GF94N369918   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64680     2004   VOLVO   4V4M19GF04N369869   VNM42T     IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64686     2004   VOLVO   4V4M19GF94N369868   VNM42T     IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64687     2004   VOLVO   4V4M19GF84N369862   VNM42T     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64689     2004   VOLVO   4V4M19GF94N369885   VNM42T     MO      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64695     2003   VOLVO   4V4M39RF43N325590   VNM42T     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64705     2006   VOLVO   4V4M19GF86N406699   VNM42T     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64706     2001   VOLVO   4V4M39RF71N246234   VNM42T     DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64708     2004   VOLVO   4V4M19GFX4N369894   VNM42T     NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64709     2004   VOLVO   4V4M19GF94N369871   VNM42T     NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64717     2006   VOLVO   4V4M19GF26N406049   VNM42T     NJ      Kearny
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 411 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64722     2004   VOLVO   4V4M19GF34N369882   VNM42T     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64723     2009   INTL    1HSHWAHN99J058680   8600 S/A   MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64724     2009   INTL    1HSHWAHNX9J058686   8600 S/A   OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64725     2009   INTL    1HSHWAHN69J058684   8600 S/A   TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64726     2009   INTL    1HSHWAHN29J058679   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64727     2009   INTL    1HSHWAHN39J058688   8600 S/A   TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64728     2008   INTL    1HSHWAHN28J645835   8600 S/A   OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64729     2010   INTL    1HSHWAHN3AJ172064   8600 S/A   AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64730     2008   INTL    1HSHWAHN28J645902   8600 S/A   TX      Laredo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64731     2008   INTL    1HSHWAHN68J645899   8600 S/A   OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64732     2010   INTL    1HSHWAHN6AJ172060   8600 S/A   NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64734     2008   INTL    1HSHWAHNX8J645839   8600 S/A   MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64735     2008   INTL    1HSHWAHN68J645935   8600 S/A   CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64736     2009   INTL    1HSHWAHN29J044684   8600 S/A   NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64737     2009   INTL    1HSHWAHN49J044685   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64738     2009   INTL    1HSHWAHN69J136543   8600 S/A   OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64739     2009   INTL    1HSHWAHN89J136544   8600 S/A   AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64740     2009   INTL    1HSHWAHNX9J136545   8600 S/A   AZ      Nogales
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64743     2008   INTL    1HSHWAHN78J645894   8600 S/A   OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64744     2008   INTL    1HSHWAHN68J645904   8600 S/A   OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64746     2008   INTL    1HSHWAHN48J645920   8600 S/A   OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64747     2008   INTL    1HSHWAHN68J645921   8600 S/A   TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64749     2009   INTL    1HSHWAHN69J086498   8600 S/A   CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64750     2008   INTL    1HSHWAHN88J645841   8600 S/A   OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64751     2008   INTL    1HSHWAHN18J645924   8600 S/A   AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64752     2008   INTL    1HSHWAHN58J645926   8600 S/A   NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64753     2009   FRGHT   1FUBA5CK09DAE3007   CL120      KY      Paducah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64755     2008   FRGHT   1FUBA5CKX8LZ63698   CL120      TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64756     2008   FRGHT   1FUBA5CK98LZ56290   CL120      OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64758     2008   FRGHT   1FUBA5CK78LZ74125   CL120      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64760     2009   FRGHT   1FUBA5CK59DAK1573   CL120      NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64761     2008   INTL    1HSHWAHN78J645930   8600 S/A   OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64762     2008   INTL    1HSHWAHN48J645836   8600 S/A   TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64763     2008   INTL    1HSHWAHN88J645838   8600 S/A   NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64766     2008   INTL    1HSHWAHN38J645844   8600 S/A   NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64767     2008   INTL    1HSHWAHN68J645868   8600 S/A   NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64768     2008   INTL    1HSHWAHN99J044701   8600 S/A   TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64769     2008   INTL    1HSHWAHN78J645927   8600 S/A   NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64770     2008   FRGHT   1FUBA5CK18LAC3935   CL120      TX      Laredo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64771     2008   FRGHT   1FUBA5CK38DAC5759   CL120      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64772     2009   FRGHT   1FUBA5CKX9LAD0447   CL120      AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64773     2009   FRGHT   1FUBA5CK19LAD0448   CL120      NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64774     2009   FRGHT   1FUBA5CK29DAE2652   CL120      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64775     2009   FRGHT   1FUBA5CK19LAG4566   CL120      CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64776     2009   INTL    3HSCYAHN29N134998   8600 S/A   FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64778     2009   INTL    2HSCSAPN49C045678   8600 S/A   TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64779     2009   INTL    2HSCSAPN69C045679   8600 S/A   OH      Akron
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64780     2009   INTL    2HSCSAPN29C045680   8600 S/A   MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64781     2009   INTL    2HSCSAPN49C045681   8600 S/A   GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64783     2008   FRGHT   1FUBA5CK48LAC3802   CL120      IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64829     2007   VOLVO   4V4M19GF37N446707   VNM42T     NY      Glenmont
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64884     2006   VOLVO   4V4M19GF86N406055   VNM42T     MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64885     2007   VOLVO   4V4M19GF17N451632   VNM42T     AL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64886     2007   VOLVO   4V4M19GF47N451673   VNM42T     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64889     2007   VOLVO   4V4M19GF77N406288   VNM42T     RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64895     2009   VOLVO   4V4M19EG59N263954   VNM42T     FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64896     2009   VOLVO   4V4M19EG59N263856   VNM42T     AZ      Flagstaff
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64898     2009   VOLVO   4V4M19EG39N263984   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64901     2008   VOLVO   4V4M19EG78N262903   VNM42T     TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64903     2009   VOLVO   4V4M19EG19N263935   VNM42T     NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64905     2007   VOLVO   4V4M19GFX7N406401   VNM42T     TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64906     2006   VOLVO   4V4M19GF66N406698   VNM42T     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64907     2007   VOLVO   4V4M19GF57N446725   VNM42T     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64908     2006   VOLVO   4V4M19GFX6N406249   VNM42T     MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64910     2006   VOLVO   4V4M19GF26N406701   VNM42T     PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64911     2009   VOLVO   4V4M19EG99N263889   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64912     2007   VOLVO   4V4M19GF17N406416   VNM42T     NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64913     2007   VOLVO   4V4M19GF27N446701   VNM42T     PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64914     2009   VOLVO   4V4M19EG99N263911   VNM42T     TN      Memphis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 412 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64915     2007   VOLVO   4V4M19GF37N406885   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64916     2006   VOLVO   4V4M19GF86N406637   VNM42T    PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64921     2006   VOLVO   4V4M19GF36N406691   VNM42T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64922     2007   VOLVO   4V4M19GFX7N446705   VNM42T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64923     2005   VOLVO   4V4M19GF75N387643   VNM42T    MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64925     2007   VOLVO   4V4M19GF37N406823   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64927     2008   VOLVO   4V4M19EG48N262888   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64928     2008   VOLVO   4V4M19EG18N262881   VNM42T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64929     2007   VOLVO   4V4M19GF47N406751   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64930     2005   VOLVO   4V4M19GF05N406498   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64935     2007   VOLVO   4V4M19GF07N446714   VNM42T    PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64936     2007   VOLVO   4V4M19GF67N406847   VNM42T    NY      Glenmont
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64938     2007   VOLVO   4V4M19GF07N406374   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64939     2008   VOLVO   4V4M19EG48N262793   VNM42T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64943     2006   VOLVO   4V4M19GF46N406585   VNM42T    ND      Fargo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64945     2006   VOLVO   4V4M19GF36N406660   VNM42T    AR      Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64946     2008   VOLVO   4V4M19EG88N262828   VNM42T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64950     2009   VOLVO   4V4M19EG89N263964   VNM42T    AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64952     2007   VOLVO   4V4M19GF87N451661   VNM42T    DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64954     2007   VOLVO   4V4M19GF37N406790   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64955     2007   VOLVO   4V4M19GF17N406786   VNM42T    NY      Plattsburgh
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64957     2006   VOLVO   4V4M19GF16N406723   VNM42T    PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64958     2007   VOLVO   4V4M19GF07N451752   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64959     2007   VOLVO   4V4M19GF37N406756   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64962     2006   VOLVO   4V4M19GF66N406717   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64969     2008   VOLVO   4V4M19EG48N262812   VNM42T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64970     2009   VOLVO   4V4M19EG99N263892   VNM42T    KS      Topeka
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64971     2009   VOLVO   4V4M19EG79N263924   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64972     2009   VOLVO   4V4M19EG59N263937   VNM42T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64977     2007   VOLVO   4V4M19GFX7N462497   VNM42T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64984     2006   VOLVO   4V4M19GF06N406681   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64985     2007   VOLVO   4V4M19GFX7N406382   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64986     2008   VOLVO   4V4M19EG88N262909   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64987     2007   VOLVO   4V4M19GF37N406322   VNM42T    PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64991     2005   VOLVO   4V4M19GFX5N406461   VNM42T    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64993     2007   VOLVO   4V4M19GF47N406796   VNM42T    DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64995     2007   VOLVO   4V4M19GF07N449242   VNM42T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64998     2009   VOLVO   4V4M19EG39N263855   VNM42T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY64999     2007   VOLVO   4V4M19GF57N406788   VNM42T    PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65000     2009   VOLVO   4V4M19EG39N263872   VNM42T    CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65001     2009   VOLVO   4V4M19EGX9N263979   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65002     2009   VOLVO   4V4M19EGX9N263870   VNM42T    CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65003     2008   VOLVO   4V4M19GF08N462557   VNM42T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65005     2006   VOLVO   4V4M19GF36N406237   VNM42T    OH      Dayton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65006     2007   VOLVO   4V4M19GF87N406378   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65007     2007   VOLVO   4V4M19GF97N406390   VNM42T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65008     2007   VOLVO   4V4M19GF67N406749   VNM42T    PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65009     2006   VOLVO   4V4M19GF26N406665   VNM42T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65011     2007   VOLVO   4V4M19GF07N406326   VNM42T    TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65014     2006   VOLVO   4V4M19GF76N406337   VNM42T    TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65015     2006   VOLVO   4V4M19GF66N406247   VNM42T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65016     2008   VOLVO   4V4M19EH98N498235   VNM42T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65017     2007   VOLVO   4V4M19GF07N406312   VNM42T    WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65020     2007   VOLVO   4V4M19GF27N406389   VNM42T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65022     2007   VOLVO   4V4M19GF27N451543   VNM42T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65024     2007   VOLVO   4V4M19GF77N451571   VNM42T    ND      Fargo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65026     2007   VOLVO   4V4M19GF27N406330   VNM42T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65027     2009   VOLVO   4V4M19EGX9N263965   VNM42T    MO      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65028     2009   VOLVO   4V4M19EGX9N263917   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65029     2009   VOLVO   4V4M19EG29N263958   VNM42T    TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65030     2009   VOLVO   4V4M19EG69N263929   VNM42T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65033     2007   VOLVO   4V4M19GF27N406750   VNM42T    MS      Richland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65035     2009   VOLVO   4V4M19EG39N263841   VNM42T    TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65036     2009   VOLVO   4V4M19EGX9N263822   VNM42T    TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65037     2009   VOLVO   4V4M19EG59N263808   VNM42T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65038     2006   VOLVO   4V4M19GF56N406661   VNM42T    NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65039     2009   VOLVO   4V4M19EG09N263845   VNM42T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65040     2006   VOLVO   4V4M19GF36N406710   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65041     2007   VOLVO   4V4M19GF47N406409   VNM42T    FL      Orlando
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 413 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65043     2008   VOLVO   4V4M19EG58N262866   VNM42T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65044     2007   VOLVO   4V4M19GF37N451602   VNM42T    PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65049     2009   VOLVO   4V4M19EGX9N263951   VNM42T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65050     2008   VOLVO   4V4M19EG18N262850   VNM42T    TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65051     2009   VOLVO   4V4M19EG39N263936   VNM42T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65052     2009   VOLVO   4V4M19EGX9N263934   VNM42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65053     2009   VOLVO   4V4M19EG29N263913   VNM42T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65054     2009   VOLVO   4V4M19EG09N263926   VNM42T    TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65055     2009   VOLVO   4V4M19EG89N263916   VNM42T    IL      Decatur
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65056     2009   VOLVO   4V4M19EG29N263863   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65059     2007   VOLVO   4V4M19GF07N451668   VNM42T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65060     2007   VOLVO   4V4M19GF57N406872   VNM42T    GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65061     2007   VOLVO   4V4M19GF67N406783   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65062     2006   VOLVO   4V4M19GF46N406716   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65065     2007   VOLVO   4V4M19GF77N406730   VNM42T    ND      Bismarck
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65069     2007   VOLVO   4V4M19GF67N406797   VNM42T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65070     2007   VOLVO   4V4M19GF97N451488   VNM42T    VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65071     2007   VOLVO   4V4M19GF47N446702   VNM42T    NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65072     2009   VOLVO   4V4M19EG39N263807   VNM42T    OR      Central Point
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65074     2009   VOLVO   4V4M19EG79N263938   VNM42T    TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65075     2008   VOLVO   4V4M19EGX8N262801   VNM42T    AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65077     2007   VOLVO   4V4M19GF97N406289   VNM42T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65079     2007   VOLVO   4V4M19GF47N446683   VNM42T    VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65080     2006   VOLVO   4V4M19GF86N406248   VNM42T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65082     2007   VOLVO   4V4M19GF57N406418   VNM42T    AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65084     2007   VOLVO   4V4M19GF77N406775   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65088     2007   VOLVO   4V4M19GF87N451742   VNM42T    NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65095     2007   VOLVO   4V4M19GF57N446708   VNM42T    NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65100     2009   VOLVO   4V4M19EG49N263847   VNM42T    AZ      Lake Havasu City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65103     2006   VOLVO   4V4M19GFX6N406350   VNM42T    VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65104     2007   VOLVO   4V4M19GF87N406851   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65105     2007   VOLVO   4V4M19GF57N406287   VNM42T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65106     2006   VOLVO   4V4M19GF06N406521   VNM42T    NY      Glenmont
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65110     2007   VOLVO   4V4M19GF67N462528   VNM42T    NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65114     2006   VOLVO   4V4M19GF66N406071   VNM42T    NY      Glenmont
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65119     2006   VOLVO   4V4M19GF36N406352   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65122     2007   VOLVO   4V4M19GF07N451542   VNM42T    MO      Strafford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65123     2007   VOLVO   4V4M19GF47N406412   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65124     2005   VOLVO   4V4M19GF75N383513   VNM42T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65125     2004   VOLVO   4V4M19GF64N369889   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65129     2009   VOLVO   4V4M19EGX9N263853   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65130     2008   VOLVO   4V4M19EG38N262865   VNM42T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65132     2007   VOLVO   4V4M19GF97N449241   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65135     2007   VOLVO   4V4M19GF37N406384   VNM42T    MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65136     2006   VOLVO   4V4M19GF26N406228   VNM42T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65137     2008   VOLVO   4V4M19GF28N462558   VNM42T    NC      Fayetteville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65138     2006   VOLVO   4V4M19GF86N406718   VNM42T    NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65139     2006   VOLVO   4V4M19GF66N406636   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65140     2006   VOLVO   4V4M19GF06N406261   VNM42T    ME      Westbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65141     2006   VOLVO   4V4M19GF16N406169   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65145     2005   VOLVO   4V4M19GF55N383509   VNM42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65146     2008   VOLVO   4V4M19GF58N462554   VNM42T    SC      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65147     2007   VOLVO   4V4M19GF47N462530   VNM42T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65148     2007   VOLVO   4V4M19GF27N406408   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65151     2007   VOLVO   4V4M19GF37N446724   VNM42T    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65152     2007   VOLVO   4V4M19GF87N406879   VNM42T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65154     2007   VOLVO   4V4M19GF07N406827   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65156     2005   VOLVO   4V4M19GF65N383535   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65159     2007   VOLVO   4V4M19GF07N451654   VNM42T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65160     2007   VOLVO   4V4M19GF37N451471   VNM42T    NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65161     2007   VOLVO   4V4M19GFX7N406429   VNM42T    PA      Camp Hill
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65165     2007   VOLVO   4V4M19GF17N451744   VNM42T    VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65170     2007   VOLVO   4V4M19GF77N446709   VNM42T    WY      Cheyenne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65171     2007   VOLVO   4V4M19GF67N451481   VNM42T    WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65176     2003   VOLVO   4V4M39RF33N325726   VNM42T    TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65177     2006   VOLVO   4V4M19GF96N406257   VNM42T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65179     2007   VOLVO   4V4M19GF27N446696   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65180     2004   VOLVO   4V4M19GF44N369860   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65181     2007   VOLVO   4V4M19GF07N406407   VNM42T    AL      Montgomery
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 414 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65182     2007   VOLVO   4V4M19GF37N406837   VNM42T    FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65184     2007   VOLVO   4V4M19GF77N462537   VNM42T    MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65185     2007   VOLVO   4V4M19GF27N451610   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65186     2006   VOLVO   4V4M19GF26N406343   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65188     2006   VOLVO   4V4M19GF06N406342   VNM42T    OH      Dayton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65189     2006   VOLVO   4V4M19GF16N406690   VNM42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65191     2007   VOLVO   4V4M19GF37N451776   VNM42T    MI      Norway
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65200     2007   VOLVO   4V4M19GF57N446711   VNM42T    PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65201     2007   VOLVO   4V4M19GFX7N451516   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65203     2007   VOLVO   4V4M19GF77N451585   VNM42T    VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65205     2007   VOLVO   4V4M19GF07N451735   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65207     2007   VOLVO   4V4M19GF47N406376   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65209     2006   VOLVO   4V4M19GFX6N406655   VNM42T    NY      Rochester
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65211     2007   VOLVO   4V4M19GF07N451508   VNM42T    CO      Henderson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65213     2007   VOLVO   4V4M19GF67N451531   VNM42T    WV      Charleston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65216     2006   VOLVO   4V4M19GF06N406258   VNM42T    VA      Fishersville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65217     2007   VOLVO   4V4M19GF07N451590   VNM42T    VA      Fishersville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65218     2007   VOLVO   4V4M19GF17N406268   VNM42T    MO      Strafford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65221     2007   VOLVO   4V4M19GFX7N451757   VNM42T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65222     2007   VOLVO   4V4M19GF87N451529   VNM42T    MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65227     2006   VOLVO   4V4M19GFX6N406347   VNM42T    TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65231     2007   VOLVO   4V4M19GF57N451519   VNM42T    NC      Fayetteville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65233     2007   VOLVO   4V4M19GF67N451478   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65235     2006   VOLVO   4V4M19GF56N406708   VNM42T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65236     2007   VOLVO   4V4M19GF87N451580   VNM42T    NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65237     2007   VOLVO   4V4M19GF77N451523   VNM42T    NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65241     2007   VOLVO   4V4M19GF97N451636   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65243     2007   VOLVO   4V4M19GFX7N446719   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65246     2007   VOLVO   4V4M19GF27N451588   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65248     2007   VOLVO   4V4M19GF37N462499   VNM42T    NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65249     2007   VOLVO   4V4M19GF97N446713   VNM42T    NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65250     2007   VOLVO   4V4M19GF37N449235   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65251     2007   VOLVO   4V4M19GF97N462538   VNM42T    WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65252     2007   VOLVO   4V4M19GF17N451579   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65253     2007   VOLVO   4V4M19GF87N449232   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65255     2006   VOLVO   4V4M19GF96N406243   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65256     2005   VOLVO   4V4M19GF25N378137   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65258     2007   VOLVO   4V4M19GFX7N446686   VNM42T    NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65259     2007   VOLVO   4V4M19GF67N406430   VNM42T    KY      Paducah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65260     2008   VOLVO   4V4M19GF98N462542   VNM42T    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65264     2007   VOLVO   4V4M19GF67N446698   VNM42T    PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65265     2007   VOLVO   4V4M19GF27N451770   VNM42T    NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65271     2007   VOLVO   4V4M19GF37N462521   VNM42T    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65272     2007   VOLVO   4V4M19GF37N451759   VNM42T    NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65274     2007   VOLVO   4V4M19GF47N451494   VNM42T    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65275     2007   VOLVO   4V4M19GFX7N451533   VNM42T    WV      Charleston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65276     2007   VOLVO   4V4M19GF37N451583   VNM42T    IL      Morton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65277     2007   VOLVO   4V4M19GF67N462495   VNM42T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65279     2007   VOLVO   4V4M19GF67N451772   VNM42T    AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65280     2009   VOLVO   4V4M19EG09N263831   VNM42T    CO      Henderson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65283     2008   VOLVO   4V4M19GFX8N462565   VNM42T    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65284     2009   VOLVO   4V4M19EG69N263798   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65287     2007   VOLVO   4V4M19GF97N451569   VNM42T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65288     2009   VOLVO   4V4M19EG59N263825   VNM42T    OR      Central Point
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65290     2007   VOLVO   4V4M19GF37N406305   VNM42T    MO      Strafford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65292     2006   VOLVO   4V4M19GF26N406214   VNM42T    TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65294     2007   VOLVO   4V4M19GF37N451552   VNM42T    AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65296     2007   VOLVO   4V4M19GFX7N451595   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65298     2007   VOLVO   4V4M19GF37N406742   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65299     2007   VOLVO   4V4M19GF77N451649   VNM42T    NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65301     2007   VOLVO   4V4M19GF57N446692   VNM42T    IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65303     2007   VOLVO   4V4M19GF97N451670   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65307     2007   VOLVO   4V4M19GF47N406846   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65308     2007   VOLVO   4V4M19GF37N451518   VNM42T    IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65310     2007   VOLVO   4V4M19GF57N406385   VNM42T    SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65311     2007   VOLVO   4V4M19GFX7N451578   VNM42T    VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65315     2007   VOLVO   4V4M19GF47N406734   VNM42T    VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65318     2007   VOLVO   4V4M19GFX7N451676   VNM42T    NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65319     2007   VOLVO   4V4M19GF67N451528   VNM42T    TX      San Antonio
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 415 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65320     2006   VOLVO   4V4M19GF66N406720   VNM42T      TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65321     2007   VOLVO   4V4M19GF67N451769   VNM42T      CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65322     2007   VOLVO   4V4M19GFX7N451743   VNM42T      TX      Abilene
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65324     2006   VOLVO   4V4M19GF86N406119   VNM42T      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65325     2007   VOLVO   4V4M19GF97N451751   VNM42T      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65326     2007   VOLVO   4V4M19GF77N451750   VNM42T      WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65328     2007   VOLVO   4V4M19GF27N406411   VNM42T      FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65330     2007   VOLVO   4V4M19GF57N406371   VNM42T      PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65331     2006   VOLVO   4V4M19GF16N406236   VNM42T      GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65333     2007   VOLVO   4V4M19GF17N451582   VNM42T      PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65334     2007   VOLVO   4V4M19GF87N446718   VNM42T      CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65335     2007   VOLVO   4V4M19GF97N451491   VNM42T      NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65336     2007   VOLVO   4V4M19GF87N406882   VNM42T      NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65339     2003   VOLVO   4V4M39RF93N341817   VNM42T      NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65340     2007   VOLVO   4V4M19GF97N406275   VNM42T      RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65341     2007   VOLVO   4V4M19GF27N451512   VNM42T      NC      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65342     2007   VOLVO   4V4M19GF27N462493   VNM42T      CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65344     2007   VOLVO   4V4M19GF17N451663   VNM42T      MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65349     2007   VOLVO   4V4M19GF77N462490   VNM42T      NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65352     2007   VOLVO   4V4M19GF17N462520   VNM42T      NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65353     2007   VOLVO   4V4M19GF77N451666   VNM42T      LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65354     2007   VOLVO   4V4M19GF37N449249   VNM42T      NJ      Millville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65356     2007   VOLVO   4V4M19GFX7N451631   VNM42T      MN      Duluth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65358     2007   VOLVO   4V4M19GF87N451532   VNM42T      NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65361     2007   VOLVO   4V4M19GF67N462500   VNM42T      CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65365     2007   VOLVO   4V4M19GH97N449192   VNM42T      WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65371     2007   VOLVO   4V4M19GF57N451522   VNM42T      RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65373     2007   VOLVO   4V4M19GF17N406433   VNM42T      NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65376     2007   VOLVO   4V4M19GF17N451503   VNM42T      MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65377     2007   VOLVO   4V4M19GF97N451667   VNM42T      GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65385     2012   VOLVO   4V4N39EGXCN556447   VNL42300    PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65386     2012   VOLVO   4V4N39EG1CN556448   VNL42300    ME      Fairfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65387     2012   VOLVO   4V4N39EG3CN556449   VNL42300    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65388     2012   VOLVO   4V4N39EGXCN556450   VNL42300    NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65389     2012   VOLVO   4V4N39EG5CN556467   VNL42300    NY      East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65390     2012   VOLVO   4V4N39EG9CN556469   VNL42300    ME      Fairfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65391     2012   VOLVO   4V4N39EG5CN556470   VNL42300    ME      Westbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65392     2012   VOLVO   4V4N39EG7CN556471   VNL42300    NY      Rochester
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65393     2012   VOLVO   4V4N39EG9CN556472   VNL42300    NH      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65394     2012   VOLVO   4V4N39EG2CN556474   VNL42300    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65395     2012   VOLVO   4V4N39EG6CN556476   VNL42300    PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65399     2009   VOLVO   4V4M19EG59N263811   VNM42T      MT      Missoula
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65400     2009   VOLVO   4V4M19EG69N263865   VNM42T      NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65401     2009   VOLVO   4V4M19EG49N263833   VNM42T      OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65402     2008   VOLVO   4V4M19EG78N262867   VNM42T      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65403     2009   VOLVO   4V4M19EG29N263944   VNM42T      NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65405     2009   VOLVO   4V4M19EG79N263874   VNM42T      OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65407     2008   VOLVO   4V4M19EG68N262889   VNM42T      CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65409     2008   VOLVO   4V4M19EG58N262852   VNM42T      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65410     2009   VOLVO   4V4M19EG99N263813   VNM42T      TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65411     2009   VOLVO   4V4M19EG19N263837   VNM42T      OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65412     2009   VOLVO   4V4M19EG69N263834   VNM42T      WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65413     2009   VOLVO   4V4M19EG29N263829   VNM42T      NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65415     2008   VOLVO   4V4M19EG98N262885   VNM42T      TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65417     2008   VOLVO   4V4M19EG08N262824   VNM42T      OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65418     2009   VOLVO   4V4M19EG89N283986   VNM42T      MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65420     2009   VOLVO   4V4M19EG79N263857   VNM42T      NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65421     2009   VOLVO   4V4M19EG99N263925   VNM42T      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65422     2007   VOLVO   4V4M19GF07N451475   VNM42T      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65423     2009   VOLVO   4V4M19EG19N263899   VNM42T      TX      Laredo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65424     2007   VOLVO   4V4M19GFX7N451628   VNM42T      AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65426     2009   VOLVO   4V4M19EG39N263970   VNM42T      TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65429     2009   VOLVO   4V4M19EG29N263930   VNM42T      TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65431     2009   VOLVO   4V4M19EG79N263955   VNM42T      IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65432     2009   VOLVO   4V4M19EG19N263921   VNM42T      SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65433     2007   VOLVO   4V4M19GF47N451768   VNM42T      PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65434     2009   VOLVO   4V4M19EG49N263816   VNM42T      IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65438     2012   VOLVO   4V4N39EG7CN556440   VNL42300    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65439     2015   VOLVO   4V4M19DG6FN187609   VNM42T200   NC      Charlotte
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 416 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65440     2015   VOLVO   4V4M19DG2FN187610   VNM42T200   NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65441     2015   VOLVO   4V4M19DG6FN187612   VNM42T200   NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65442     2015   VOLVO   4V4M19DG8FN187613   VNM42T200   NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65443     2015   VOLVO   4V4M19DG1FN187615   VNM42T200   NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65445     2008   STRLN   2FWBA2CK18AZ09119   A9500       KY      Bowling Green
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65446     2009   VOLVO   4V4M19EG19N263854   VNM42T      FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65448     2009   VOLVO   4V4M19EGX9N263903   VNM42T      TX      Texarkana
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65449     2008   VOLVO   4V4M19EG08N262838   VNM42T      IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65451     2009   VOLVO   4V4M19EG49N263928   VNM42T      KY      Paducah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65452     2009   VOLVO   4V4M19EG09N263909   VNM42T      TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65454     2008   FRGHT   1FUBA6CK38LZ83944   CL120       IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65458     2008   VOLVO   4V4M19EG78N262819   VNM42T      NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65461     2009   VOLVO   4V4M19EG39N263869   VNM42T      NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65463     2008   VOLVO   4V4M19EG18N262847   VNM42T      NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65465     2008   VOLVO   4V4M19EG48N262907   VNM42T      VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65466     2008   VOLVO   4V4M19EG68N262861   VNM42T      FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65467     2008   VOLVO   4V4M19EG78N262805   VNM42T      NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65469     2008   VOLVO   4V4M19EGX8N262880   VNM42T      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65471     2009   VOLVO   4V4M19EG09N263876   VNM42T      IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65472     2009   VOLVO   4V4M19EG39N263824   VNM42T      TX      Eagle Pass
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65473     2009   VOLVO   4V4M19EG89N263804   VNM42T      TX      Laredo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65474     2008   VOLVO   4V4M19EG58N262883   VNM42T      TX      Laredo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65475     2008   VOLVO   4V4M19EG48N262891   VNM42T      TX      Eagle Pass
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65476     2008   VOLVO   4V4M19EG28N262811   VNM42T      TX      Laredo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65477     2008   VOLVO   4V4M19EG38N262851   VNM42T      TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65480     2009   VOLVO   4V4M19EG89N263866   VNM42T      LA      New Orleans
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65481     2008   VOLVO   4V4M19EH78N498251   VNM42T      IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65484     2009   VOLVO   4V4M19EGX9N263898   VNM42T      WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65486     2009   VOLVO   4V4M19EG69N263946   VNM42T      SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65487     2008   VOLVO   4V4M19GF88N462550   VNM42T      IL      Joliet
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65488     2009   VOLVO   4V4M19EG79N263941   VNM42T      IA      Sioux City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65491     2007   VOLVO   4V4M19GF27N406778   VNM42T      OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65492     2008   VOLVO   4V4M19EG18N262914   VNM42T      FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65493     2008   VOLVO   4V4M19EG48N262874   VNM42T      FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65494     2008   VOLVO   4V4M19EG08N262919   VNM42T      TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65496     2009   VOLVO   4V4M19EG09N263862   VNM42T      VA      Fishersville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65497     2008   VOLVO   4V4M19EG08N262886   VNM42T      MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65498     2009   VOLVO   4V4M19EG99N263861   VNM42T      OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65501     2008   VOLVO   4V4M19EG28N262873   VNM42T      VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65502     2008   VOLVO   4V4M19EG38N262834   VNM42T      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65503     2009   VOLVO   4V4M19EG69N263896   VNM42T      AZ      Lake Havasu City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65504     2009   VOLVO   4V4M19EG79N263843   VNM42T      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65505     2009   VOLVO   4V4M19EG69N263963   VNM42T      VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65506     2009   VOLVO   4V4M19EG69N263848   VNM42T      VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65507     2008   VOLVO   4V4M19EG88N262795   VNM42T      VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65511     2007   VOLVO   4V4M19GF87N406820   VNM42T      VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65512     2008   VOLVO   4V4M19EG48N262843   VNM42T      IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65513     2009   VOLVO   4V4M19EG89N263902   VNM42T      VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65514     2009   VOLVO   4V4M19EG09N263943   VNM42T      VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65518     2007   VOLVO   4V4M19GF17N451534   VNM42T      IL      Morton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65519     2008   VOLVO   4V4M19EGX8N262863   VNM42T      LA      Alexandria
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65520     2004   VOLVO   4V4M19GHX4N369931   VNM42T      MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65522     2007   VOLVO   4V4M19GF87N451515   VNM42T      TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65526     2007   VOLVO   4V4M19GF37N451504   VNM42T      FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65527     2008   VOLVO   4V4M19GF78N462541   VNM42T      LA      Alexandria
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65529     2008   FRGHT   1FUBA6CK88LZ83955   CL120       MI      Norway
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65532     2009   VOLVO   4V4M19EG79N263812   VNM42T      TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65535     2008   VOLVO   4V4M19EG98N262899   VNM42T      FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65536     2008   VOLVO   4V4M19EG48N262860   VNM42T      LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65537     2007   VOLVO   4V4M19GF97N451555   VNM42T      WV      Charleston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65539     2009   VOLVO   4V4M19EG89N263897   VNM42T      RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65540     2008   VOLVO   4V4M19EG98N262823   VNM42T      FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65543     2009   VOLVO   4V4M19EG69N263817   VNM42T      WV      Charleston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65544     2008   VOLVO   4V4M19EG68N262827   VNM42T      MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65546     2009   VOLVO   4V4M19EG49N263864   VNM42T      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65547     2009   VOLVO   4V4M19EGX9N263867   VNM42T      FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65548     2008   VOLVO   4V4M19EG58N262821   VNM42T      NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65551     2006   VOLVO   4V4M19GF66N406605   VNM42T      NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65552     2008   VOLVO   4V4M19EG38N262817   VNM42T      VA      Richmond
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 417 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65558     2008   VOLVO   4V4M19EG98N262871   VNM42T     GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65559     2008   VOLVO   4V4M19EG58N262897   VNM42T     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65560     2008   VOLVO   4V4M19EG38N262901   VNM42T     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65562     2009   VOLVO   4V4M19EG39N263886   VNM42T     NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65563     2008   VOLVO   4V4M19EG18N262816   VNM42T     MO      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65564     2009   VOLVO   4V4M19EG89N263947   VNM42T     GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65566     2009   VOLVO   4V4M19EG29N263880   VNM42T     NY      Glenmont
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65567     2007   VOLVO   4V4M19GF77N451781   VNM42T     LA      Monroe
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65569     2009   VOLVO   4V4M19EG58N262804   VNM42T     KY      Paducah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65570     2009   VOLVO   4V4M19EG69N263879   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65573     2009   VOLVO   4V4M19EG09N263960   VNM42T     OH      Toledo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65574     2008   VOLVO   4V4M19EG48N262809   VNM42T     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65575     2008   VOLVO   4V4M19EG78N262853   VNM42T     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65576     2009   VOLVO   4V4M19EG89N263852   VNM42T     TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65577     2007   VOLVO   4V4M19GF07N462508   VNM42T     FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65578     2009   VOLVO   4V4M19EG69N263851   VNM42T     TX      Corpus Christi
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65581     2008   VOLVO   4V4M19EG08N262841   VNM42T     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65582     2008   VOLVO   4V4M19EG58N262835   VNM42T     FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65584     2008   VOLVO   4V4M19EGX8N262829   VNM42T     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65585     2006   VOLVO   4V4M19GF46N406697   VNM42T     TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65586     2009   VOLVO   4V4M19EG69N263977   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65587     2008   VOLVO   4V4M19EGX8N262846   VNM42T     TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65588     2008   VOLVO   4V4M19EGX8N262832   VNM42T     TX      Laredo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65589     2009   VOLVO   4V4M19EG89N263849   VNM42T     KY      Bowling Green
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65590     2008   VOLVO   4V4M19EG78N262898   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65591     2009   VOLVO   4V4M19EG19N263949   VNM42T     VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65592     2008   VOLVO   4V4M19EG68N262813   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65595     2009   VOLVO   4V4M19EG49N263900   VNM42T     GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65598     2007   VOLVO   4V4M19GFX7N451662   VNM42T     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65599     2009   VOLVO   4V4M19EG29N263894   VNM42T     KY      Bowling Green
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65600     2005   VOLVO   4V4M19GF65N378125   VNM42T     SD      Sioux Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65601     2008   FRGHT   1FUBA6CK78LZ83929   COLUMBIA   MI      Norway
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65602     2008   FRGHT   1FUBA6CK98LZ83950   CL120      NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65603     2008   VOLVO   4V4M19EG28N262887   VNM42T     NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65604     2009   VOLVO   4V4M19EGX9N263805   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65605     2007   VOLVO   4V4M19GF97N451619   VNM42T     OH      Toledo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65606     2009   VOLVO   4V4M19EG49N263914   VNM42T     OH      Toledo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65607     2008   VOLVO   4V4M19EG98N262854   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65608     2008   VOLVO   4V4M19EG68N262858   VNM42T     NY      Rochester
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65609     2009   VOLVO   4V4M19EGX9N263836   VNM42T     NY      Rochester
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65610     2007   VOLVO   4V4M19GF77N406744   VNM42T     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65611     2008   VOLVO   4V4M19EG28N262906   VNM42T     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65613     2007   VOLVO   4V4M19GF87N451773   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65614     2009   VOLVO   4V4M19EG19N263823   VNM42T     NY      Rochester
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65615     2007   VOLVO   4V4M19GF37N451633   VNM42T     PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65617     2007   VOLVO   4V4M19GF37N462518   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65618     2008   VOLVO   4V4M19GF18N462566   VNM42T     NE      Kearney
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65621     2006   VOLVO   4V4M19GF26N406262   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65622     2007   VOLVO   4V4M19GF97N451605   VNM42T     GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65623     2007   VOLVO   4V4M19GF47N451754   VNM42T     OH      Akron
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65625     2007   VOLVO   4V4M19GFX7N451483   VNM42T     FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65626     2007   VOLVO   4V4M19GF57N462536   VNM42T     GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65627     2007   VOLVO   4V4M19GF07N451671   VNM42T     GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65628     2007   VOLVO   4V4M19GF47N406863   VNM42T     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65630     2007   VOLVO   4V4M19GF27N451624   VNM42T     NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65631     2009   VOLVO   4V4M19EG09N263974   VNM42T     NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65632     2008   VOLVO   4V4M19EG18N262900   VNM42T     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65634     2009   VOLVO   4V4M19EG09N263957   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65635     2005   VOLVO   4V4M19GF65N383549   VNM42T     TX      McAllen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65636     2007   VOLVO   4V4M19GF47N406765   VNM42T     CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65639     2007   VOLVO   4V4M19GF67N451674   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65640     2008   FRGHT   1FUBA6CK28LZ83921   COLUMBIA   AR      Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65643     2006   VOLVO   4V4M19GF56N406711   VNM42T     NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65644     2007   VOLVO   4V4M19GF27N451574   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65645     2007   VOLVO   4V4M19GF87N451630   VNM42T     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65646     2008   VOLVO   4V4M19GF58N462540   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65647     2008   VOLVO   4V4M19GF98N462573   VNM42T     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65649     2007   VOLVO   4V4M19GF77N451604   VNM42T     NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65650     2009   VOLVO   4V4M19EG19N263871   VNM42T     VA      Richmond
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 418 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65652     2007   VOLVO   4V4M19GF87N462515   VNM42T     MO        Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65653     2008   VOLVO   4V4M19EG88N262912   VNM42T     TX        Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65654     2008   VOLVO   4V4M19EG08N262807   VNM42T     OH        Dayton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65655     2007   VOLVO   4V4M19GF97N406874   VNM42T     MO        Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65656     2008   VOLVO   4V4M19EG08N262869   VNM42T     MS        Richland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65664     2007   VOLVO   4V4M19GF07N406830   VNM42T     NH        Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65666     2007   VOLVO   4V4M19GF27N451591   VNM42T     NY        East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65667     2009   VOLVO   4V4M19EG79N263826   VNM42T     FL        Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65668     2007   VOLVO   4V4M19GF67N451755   VNM42T     FL        Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65669     2007   VOLVO   4V4M19GF67N462514   VNM42T     FL        Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65671     2007   VOLVO   4V4M19GF07N462489   VNM42T     FL        Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65676     2005   VOLVO   4V4M19GF15N378145   VNM42T     NY        Maybrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65677     2009   VOLVO   4V4M19EG59N263971   VNM42T     NV        Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65678     2007   VOLVO   4V4M19GFX7N451760   VNM42T     TX        Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65679     2007   VOLVO   4V4M19GFX7N462533   VNM42T     FL        Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65680     2009   VOLVO   4V4M19EG79N263910   VNM42T     UT        Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65683     2007   VOLVO   4V4M19GF87N451613   VNM42T     PA        Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65684     2006   VOLVO   4V4M19GF36N406092   VNM42T     IL        Decatur
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65686     2007   VOLVO   4V4M19GF77N451473   VNM42T     FL        Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65688     2007   VOLVO   4V4M19GF57N462522   VNM42T     LA        New Orleans
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65690     2007   VOLVO   4V4M19GF17N462517   VNM42T     FL        Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65693     2007   VOLVO   4V4M19GF87N451563   VNM42T     NY        Rochester
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65694     2007   VOLVO   4V4M19GF67N446720   VNM42T     NY        East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65695     2006   VOLVO   4V4M19GF26N406682   VNM42T     VA        Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65697     2009   VOLVO   4V4M19EG09N263859   VNM42T     FL        Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65698     2007   VOLVO   4V4M19GF87N449229   VNM42T     MD        Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65699     2007   VOLVO   4V4M19GF47N451639   VNM42T     IN        South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65700     2009   VOLVO   4V4M19EG59N263873   VNM42T     TN        Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65701     2009   VOLVO   4V4M19EG49N263797   VNM42T     OR        Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65702     2009   VOLVO   4V4M19EG29N263796   VNM42T     WA        Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65703     2009   VOLVO   4V4M19EG49N263802   VNM42T     WA        Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65704     2007   VOLVO   4V4M19GF17N462503   VNM42T     NJ        Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65705     2007   VOLVO   4V4M19GF47N451530   VNM42T     MI        Pontiac
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65706     2007   VOLVO   4V4M19GF27N406828   VNM42T     PA        Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65707     2006   VOLVO   4V4M19GF66N406619   VNM42T     MD        Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65708     2007   VOLVO   4V4M19GF07N451766   VNM42T     RI        Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65710     2008   VOLVO   4V4M19GF58N462568   VNM42T     IN        South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65711     2007   VOLVO   4V4M19GF47N451592   VNM42T     PA        Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65712     2007   VOLVO   4V4M19GF47N451771   VNM42T     NY        Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65713     2006   VOLVO   4V4M19GF46N406179   VNM42T     NY        Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65715     2007   VOLVO   4V4M19GF67N449228   VNM42T     NY        Mount Vernon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65716     2009   VOLVO   4V4M19EGX9N263819   VNM42T     TN        Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65717     2007   VOLVO   4V4M19GF27N451753   VNM42T     ND        Fargo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65719     2004   VOLVO   4V4M19GFX4N369863   VNM42T     NY        Rochester
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65720     2007   VOLVO   4V4M19GF77N451554   VNM42T     PA        Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65721     2007   VOLVO   4V4M19GFX7N451659   VNM42T     GA        Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65723     2009   VOLVO   4V4M19EG89N263818   VNM42T     MN        Saint Cloud
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65728     2009   VOLVO   4V4M19EG39N263953   VNM42T     TX        Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65733     2007   VOLVO   4V4M19GF57N451777   VNM42T     NY        East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65736     2007   VOLVO   4V4M19GF27N451767   VNM42T     Ontario   Whitby
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65737     2007   VOLVO   4V4M19GF77N451621   VNM42T     MN        Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65740     2008   FRGHT   1FUBA6CK28LZ83952   CL120      MI        Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65742     2008   FRGHT   1FUBA6CK28LZ83918   COLUMBIA   MO        Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65744     2007   VOLVO   4V4M19GF67N451741   VNM42T     VA        Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65745     2009   VOLVO   4V4M19EG29N263975   VNM42T     OR        Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65746     2004   VOLVO   4V4M19GF64N369892   VNM42T     OH        Dayton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65748     2007   VOLVO   4V4M19GF77N451747   VNM42T     NE        Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65749     2008   FRGHT   1FUBA6CK98LZ83933   COLUMBIA   UT        Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65750     2008   VOLVO   4V4M19EG78N262884   VNM42T     FL        Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65751     2009   VOLVO   4V4M19EG49N263976   VNM42T     AZ        Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65752     2007   VOLVO   4V4M19GF97N462507   VNM42T     LA        Shreveport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65754     2008   FRGHT   1FUBA6CK88LZ83941   CL120      OR        Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65756     2008   VOLVO   4V4M19EG48N262857   VNM42T     PA        Du Bois
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65759     2007   VOLVO   4V4M19GF97N451748   VNM42T     KS        Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65761     2008   VOLVO   4V4M19EG28N262808   VNM42T     AR        Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65762     2008   VOLVO   4V4M19GF48N462576   VNM42T     AR        Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65764     2008   FRGHT   1FUBA6CK08LZ83920   COLUMBIA   IA        Council Bluffs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65765     2007   VOLVO   4V4M19GH27N449194   VNM42T     TN        Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65767     2006   VOLVO   4V4M19GF36N406366   VNM42T     IN        Indianapolis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 419 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65768     2006   VOLVO   4V4M19GF96N406680   VNM42T     FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65769     2007   VOLVO   4V4M19GF67N406850   VNM42T     FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65774     2008   VOLVO   4V4M19EG78N498466   VNM42T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65775     2008   VOLVO   4V4M19GF18N462552   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65776     2007   VOLVO   4V4M19GF87N451739   VNM42T     OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65777     2007   VOLVO   4V4M19GF37N451566   VNM42T     LA      Alexandria
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65779     2007   VOLVO   4V4M19GF37N451468   VNM42T     ND      Minot
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65781     2009   VOLVO   4V4M19EG89N263978   VNM42T     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65782     2008   VOLVO   4V4M19EGX8N262877   VNM42T     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65783     2007   VOLVO   4V4M19GF77N406419   VNM42T     OH      Dayton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65788     2007   VOLVO   4V4M19GF57N451780   VNM42T     LA      New Orleans
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65789     2008   VOLVO   4V4M19GF38N462553   VNM42T     KS      Salina
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65791     2008   VOLVO   4V4M19GF58N462571   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65792     2005   VOLVO   4V4M19GF65N406506   VNM42T     VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65794     2008   VOLVO   4V4M19GF08N462543   VNM42T     PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65796     2009   VOLVO   4V4M19EG09N263814   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65798     2007   VOLVO   4V4M19GF57N406791   VNM42T     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65799     2008   VOLVO   4V4M19EH38N498232   VNM42T     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65800     2008   VOLVO   4V4M19GF68N462546   VNM42T     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65801     2008   FRGHT   1FUBA6CK48LZ83953   CL120      KS      Salina
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65803     2008   VOLVO   4V4M19EH48N498238   VNM42T     OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65804     2007   VOLVO   4V4M19GF97N446694   VNM42T     GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65805     2006   VOLVO   4V4M19GF66N406118   VNM42T     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65806     2008   FRGHT   1FUBA6CK78LZ83946   CL120      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65807     2007   VOLVO   4V4M19GF07N406729   VNM42T     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65808     2008   VOLVO   4V4M19EG28N262839   VNM42T     NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65809     2007   VOLVO   4V4M19GF87N406834   VNM42T     GA      Martinez
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65810     2009   VOLVO   4V4M19EG79N263860   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65811     2008   VOLVO   4V4M19EG98N262904   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65813     2008   FRGHT   1FUBA6CK28LZ83949   CL120      SD      Watertown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65815     2009   VOLVO   4V4M19EG89N263883   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65817     2008   VOLVO   4V4M19EG78N262870   VNM42T     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65820     2008   FRGHT   1FUBA6CK58LZ83945   CL120      MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65821     2008   FRGHT   1FUBA6CK38LZ83930   COLUMBIA   MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65822     2008   VOLVO   4V4M19EG58N262916   VNM42T     TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65824     2008   FRGHT   1FUBA6CK68LZ83940   CL120      WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65826     2007   VOLVO   4V4M19GF27N449243   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65827     2005   VOLVO   4V4M19GF05N378153   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65829     2009   VOLVO   4V4M19EG49N263881   VNM42T     GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65830     2007   VOLVO   4V4M19GF67N451660   VNM42T     LA      Monroe
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65831     2007   VOLVO   4V4M19GF77N451506   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65832     2007   VOLVO   4V4M19GF07N462539   VNM42T     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65833     2007   VOLVO   4V4M19GF57N451746   VNM42T     NY      East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65835     2007   VOLVO   4V4M19GF57N451648   VNM42T     GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65837     2006   VOLVO   4V4M19GF46N406215   VNM42T     GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65838     2007   VOLVO   4V4M19GF27N451638   VNM42T     IA      Council Bluffs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65840     2008   FRGHT   1FUBA6CKX8LZ83939   CL120      NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65841     2008   FRGHT   1FUBA6CK68LZ83954   CL120      MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65842     2007   VOLVO   4V4M19GF37N451745   VNM42T     IA      Sioux City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65844     2007   VOLVO   4V4M19GF17N451551   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65845     2006   VOLVO   4V4M19GF86N406170   VNM42T     GA      Martinez
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65846     2007   VOLVO   4V4M19GF17N451758   VNM42T     IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65848     2008   VOLVO   4V4M19GF88N462547   VNM42T     PA      Erie
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65849     2005   VOLVO   4V4M19GF55N383588   VNM42T     GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65850     2007   VOLVO   4V4M19GF77N446726   VNM42T     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65853     2007   VOLVO   4V4M19GF67N451559   VNM42T     PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65854     2006   VOLVO   4V4M19GF76N406158   VNM42T     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65856     2008   FRGHT   1FUBA6CK48LZ83919   COLUMBIA   IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65858     2006   VOLVO   4V4M19GF66N406703   VNM42T     NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65859     2008   VOLVO   4V4M19GF28N462575   VNM42T     PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65860     2007   VOLVO   4V4M19GF77N451635   VNM42T     NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65861     2006   VOLVO   4V4M19GFX6N406672   VNM42T     PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65862     2009   VOLVO   4V4M19EG59N263887   VNM42T     MS      Richland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65863     2008   VOLVO   4V4M19EG78N262917   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65864     2007   VOLVO   4V4M19GF97N451734   VNM42T     IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65865     2007   VOLVO   4V4M19GF87N446704   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65866     2008   VOLVO   4V4M19EH48N498241   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65868     2006   VOLVO   4V4M19GF86N406251   VNM42T     IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65869     2006   VOLVO   4V4M19GF36N406643   VNM42T     TX      Houston
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 420 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65872     2006   VOLVO   4V4M19GF96N406548   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65874     2007   VOLVO   4V4M19GF77N451490   VNM42T     NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65875     2008   VOLVO   4V4M19EG58N262818   VNM42T     WV      Charleston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65876     2007   VOLVO   4V4M19GF17N462498   VNM42T     ME      Fairfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65877     2007   VOLVO   4V4M19GF47N462513   VNM42T     DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65879     2007   VOLVO   4V4M19GF57N406323   VNM42T     RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65880     2006   VOLVO   4V4M19GF86N406671   VNM42T     OH      Toledo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65881     2007   VOLVO   4V4M19GFX7N451550   VNM42T     MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65882     2005   VOLVO   4V4M19GFX5N406024   VNM42T     SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65883     2007   VOLVO   4V4M19GF57N451620   VNM42T     IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65884     2005   VOLVO   4V4M19GF95N406452   VNM42T     MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65885     2014   FRGHT   1FUBGADV6ELFP6354   CAS113     DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65886     2014   FRGHT   1FUBGADV7ELFR1042   CAS113     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65887     2012   VOLVO   4V4M19EG9CN555601   VNM42T     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65889     2012   VOLVO   4V4M19EG5CN555613   VNM42T     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65890     2007   VOLVO   4V4M19GF87N451644   VNM42T     TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65891     2014   FRGHT   1FUBGADV1ELFP6357   CAS113     NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65892     2014   FRGHT   1FUBGADV2ELFR1045   CAS113     NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65893     2014   FRGHT   1FUBGADV3ELFP6361   CAS113     NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65894     2014   FRGHT   1FUBGADV0ELFR1030   CAS113     RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65895     2009   VOLVO   4V4M19EG89N263950   VNM42T     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65896     2008   FRGHT   1FUBA6CKX8LZ83942   CL120      TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65897     2009   VOLVO   4V4M19EG29N263801   VNM42T     SD      Sioux Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65899     2014   FRGHT   1FUBGADV2ELFP6352   CAS113     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65900     2007   VOLVO   4V4M19GF87N451496   VNM42T     NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65902     2014   FRGHT   1FUBGADV4ELFP6367   CAS113     NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65903     2014   FRGHT   1FUBGADV2ELFR1031   CAS113     NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65904     2014   FRGHT   1FUBGADV5ELFP6345   CAS113     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65905     2014   FRGHT   1FUBGADV0ELFP6351   CAS113     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65906     2014   FRGHT   1FUBGADV4ELFR1032   CAS113     CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65907     2014   FRGHT   1FUBGADV6ELFR1047   CAS113     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65908     2014   FRGHT   1FUBGADV5ELFR1024   CAS113     MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65909     2012   VOLVO   4V4M19EG4CN555621   VNM42T     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65911     2014   FRGHT   1FUBGADV9ELFP6347   CAS113     CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65912     2014   FRGHT   1FUBGADV4ELFR1029   CAS113     NY      East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65913     2014   FRGHT   1FUBGADV3ELFR1023   CAS113     NY      East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65914     2008   VOLVO   4V4M19EH28N498240   VNM42T     NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65916     2012   VOLVO   4V4M19EG7CN555595   VNM42T     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65917     2014   FRGHT   1FUBGADV4ELFR1046   CAS113     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65918     2007   VOLVO   4V4M19GF57N451732   VNM42T     TX      Corpus Christi
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65919     2012   VOLVO   4V4M19EG7CN555600   VNM42T     TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65920     2014   FRGHT   1FUBGADV7ELFP6363   CAS113     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65921     2007   VOLVO   4V4M19GF97N462510   VNM42T     GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65922     2007   VOLVO   4V4M19GF97N451460   VNM42T     GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65924     2008   FRGHT   1FUBA6CK88LZ83938   CL120      CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65925     2012   VOLVO   4V4M19EG2CN555603   VNM42T     TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65926     2007   VOLVO   4V4M19GF57N406869   VNM42T     TX      Waco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65927     2014   FRGHT   1FUBGADV5ELFR1038   CAS113     SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65928     2014   FRGHT   1FUBGADV6ELFP6368   CAS113     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65929     2014   FRGHT   1FUBGADV5ELFP6359   CAS113     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65930     2014   FRGHT   1FUBGADV3ELFR1037   CAS113     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65931     2014   FRGHT   1FUBGADV6ELFR1033   CAS113     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65932     2014   FRGHT   1FUBGADV2ELFR1028   CAS113     TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65933     2012   VOLVO   4V4M19EG9CN555596   VNM42T     FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65935     2014   FRGHT   1FUBGADV7ELFR1039   CAS113     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65936     2012   VOLVO   4V4M19EG4CN555604   VNM42T     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65937     2014   FRGHT   1FUBGADV9ELFR1026   CAS113     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65938     2014   FRGHT   1FUBGADV0ELFP6348   CAS113     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65939     2014   FRGHT   1FUBGADV2ELFP6349   CAS113     WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65940     2014   FRGHT   1FUBGADV3ELFP6344   CAS113     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65941     2015   FRGHT   1FUBGADV1FLGU8465   CAS113     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65942     2008   FRGHT   1FUBA6CK28LZ83935   COLUMBIA   WY      Cheyenne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65943     2012   VOLVO   4V4M19EG8CN555606   VNM42T     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65944     2012   VOLVO   4V4M19EG0CN555616   VNM42T     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65945     2014   FRGHT   1FUBGADV7ELFP6346   CAS113     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65946     2014   FRGHT   1FUBGADVXELFP6356   CAS113     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65947     2012   VOLVO   4V4M19EG9CN555615   VNM42T     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65948     2012   VOLVO   4V4M19EGXCN555607   VNM42T     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65951     2014   FRGHT   1FUBGADV9ELFP6364   CAS113     CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 421 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65952     2014   FRGHT   1FUBGADV5ELFP6362   CAS113     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65953     2012   VOLVO   4V4M19EG1CN555608   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65954     2014   FRGHT   1FUBGADV4ELFP6353   CAS113     ME      Fairfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65957     2014   FRGHT   1FUBGADV9ELFP6350   CAS113     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65958     2012   VOLVO   4V4M19EG4CN555599   VNM42T     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65959     2012   VOLVO   4V4N39DF8CN538635   VNL42300   CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65960     2014   FRGHT   1FUBGADV0ELFR1044   CAS113     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65961     2014   FRGHT   1FUBGADV9ELFR1043   CAS113     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65962     2014   FRGHT   1FUBGADV1ELFR1036   CAS113     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65964     2012   VOLVO   4V4M19EG5CN555594   VNM42T     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65966     2014   FRGHT   1FUBGADV7ELFR1025   CAS113     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65969     2014   VOLVO   4V4N39EG2EN160354   VNL42300   ME      Westbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65970     2014   VOLVO   4V4M19EG2EN150893              AZ      Flagstaff
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65971     2012   VOLVO   4V4M19EG2CN555598   VNM42T     CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65973     2012   VOLVO   4V4M19EG3CN555612   VNM42T     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65974     2012   VOLVO   4V4N39DF6CN538634   VNL42300   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65975     2007   VOLVO   4V4M19GF27N406263   VNM42T     VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65976     2012   VOLVO   4V4N39DF0CN538628   VNL42300   CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65977     2012   VOLVO   4V4M19EG7CN555614   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65978     2014   FRGHT   1FUBGADV3ELFR1040   CAS113     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65979     2012   VOLVO   4V4M19EG2CN548537   VNM42T     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65980     2012   VOLVO   4V4M19EG2CN555617   VNM42T     NY      East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65981     2012   VOLVO   4V4M19EG4CN555618   VNM42T     OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65982     2012   VOLVO   4V4N39DFXCN538619   VNL42300   CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65983     2012   VOLVO   4V4N39DF4CN538602   VNL42300   UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65984     2012   VOLVO   4V4M19EG3CN555609   VNM42T     NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65985     2014   VOLVO   4V4N39EG5EN160350   VNL42300   CA      Downey
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65986     2012   VOLVO   4V4N39DF8CN538618   VNL42300   KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65987     2012   VOLVO   4V4N39EG4CN556444   VNL42300   CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65988     2012   VOLVO   4V4N39DF5CN538625   VNL42300   CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65989     2012   VOLVO   4V4N39DF7CN538626   VNL42300   CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65990     2014   VOLVO   4V4N39EG7EN160348   VNL42300   CA      Calexico
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65991     2014   FRGHT   1FUBGADV8ELFR1034   CAS113     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65992     2012   VOLVO   4V4M19EG0CN555597   VNM42T     RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65993     2014   FRGHT   1FUBGADV8ELFP6355   CAS113     FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65994     2012   VOLVO   4V4N39DFXCN538622   VNL42300   TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65995     2012   VOLVO   4V4N39DF5CN538608   VNL42300   TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65996     2008   VOLVO   4V4M19EG38N262798   VNM42T     IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65997     2007   VOLVO   4V4M19GF77N451568   VNM42T     IL      Joliet
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65998     2015   FRGHT   1FUBGADV6FLGU8459   CAS113     SD      Sioux Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY65999     2015   VOLVO   4V4M19EG8FN933217   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66000     2015   VOLVO   4V4M19EG7FN933208   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66001     2015   VOLVO   4V4M19EG8FN933198   VNM42T     TX      Texarkana
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66002     2015   VOLVO   4V4M19EG0FN933194   VNM42T     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66003     2015   VOLVO   4V4M19EG2FN933195   VNM42T     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66004     2012   VOLVO   4V4M19EG0CN555602   VNM42T     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66005     2007   VOLVO   4V4M19GF97N406762   VNM42T     TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66006     2007   VOLVO   4V4M19GFX7N406785   VNM42T     TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66010     2015   VOLVO   4V4M19EG2FN933200   VNM42T     KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66011     2016   VOLVO   4V4M19EG7GN944646   VNM42T     KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66013     2015   VOLVO   4V4M19EG5FN933224   VNM42T     KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66015     2012   VOLVO   4V4N39EG4CN556475   VNL42300   CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66017     2012   VOLVO   4V4N39EG1CN556417   VNL42300   CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66018     2015   FRGHT   1FUBGADV4FLGU8461   CAS113     TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66019     2015   FRGHT   1FUBGADV0FLGU8456   CAS113     TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66020     2012   VOLVO   4V4N39DF3CN538624   VNL42300   TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66021     2012   VOLVO   4V4M19EG6CN555622   VNM42T     TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66022     2012   VOLVO   4V4N39EG5CN555495   VNL42300   VA      Fishersville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66023     2012   VOLVO   4V4N39EG6CN556459   VNL42300   GA      Martinez
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66024     2006   VOLVO   4V4M19GF76N406550   VNM42T     KS      Topeka
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66025     2012   VOLVO   4V4N39EG3CN556466   VNL42300   NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66026     2016   FRGHT   3AKBGADV6GDHC3523   CAS113     NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66027     2008   VOLVO   4V4M19GF28N462544   VNM42T     PA      Erie
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66028     2012   VOLVO   4V4N39EG6CN556462   VNL42300   IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66029     2012   VOLVO   4V4N39EG2CN555583   VNL42300   DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66030     2012   VOLVO   4V4N39EG4CN556461   VNL42300   TX      Laredo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66032     2012   VOLVO   4V4N39EG2CN556541   VNL42300   GA      Martinez
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66033     2012   VOLVO   4V4N39EG8CN556477   VNL42300   CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66034     2012   VOLVO   4V4N39DF6CN538620   VNL42300   CA      Pico Rivera
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 422 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66035     2012   VOLVO   4V4N39DF4CN538616   VNL42300   CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66036     2012   VOLVO   4V4N39DF1CN538606   VNL42300   CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66037     2012   VOLVO   4V4N39DF8CN538604   VNL42300   IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66038     2007   VOLVO   4V4M19GF87N406817   VNM42T     NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66039     2007   VOLVO   4V4M19GF67N406265   VNM42T     IA      Council Bluffs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66040     2015   VOLVO   4V4M19EG3FN933187   VNM42T     VT      Bellows Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66041     2007   VOLVO   4V4M19GF67N451495   VNM42T     CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66042     2012   VOLVO   4V4N39EG5CN556534   VNL42300   IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66043     2012   VOLVO   4V4N39EG9CN556536   VNL42300   TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66044     2012   VOLVO   4V4N39EG0CN556473   VNL42300   MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66045     2012   VOLVO   4V4N39EG0CN556537   VNL42300   AZ      Flagstaff
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66046     2012   VOLVO   4V4N39EG6CN555585   VNL42300   CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66047     2008   VOLVO   4V4M19GFX8N462551   VNM42T     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66048     2008   VOLVO   4V4M19EG98N262837   VNM42T     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66050     2012   VOLVO   4V4N39EG5CN556954   VNL42300   CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66051     2015   VOLVO   4V4M19EG6FN933197   VNM42T     ME      Westbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66052     2012   VOLVO   4V4N39EG0CN556442   VNL42300   PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66053     2012   VOLVO   4V4N39EG0CN556425   VNL42300   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66054     2012   VOLVO   4V4N39EG8CN556527   VNL42300   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66055     2012   VOLVO   4V4N39EG7CN556535   VNL42300   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66056     2007   VOLVO   4V4M19GF17N451727   VNM42T     MS      Tupelo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66057     2012   VOLVO   4V4N39EG0CN556540   VNL42300   OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66058     2007   VOLVO   4V4M19GF17N446687   VNM42T     TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66059     2015   FRGHT   1FUBGADV2FLGU8460   CAS113     CA      Adelanto
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66060     2012   VOLVO   4V4N39DF6CN538617   VNL42300   CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66061     2012   VOLVO   4V4N39DF5CN538639   VNL42300   CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66063     2015   FRGHT   1FUBGADV4FLGU8458   CAS113     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66064     2012   VOLVO   4V4N39EGXCN556531   VNL42300   PA      Erie
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66065     2007   VOLVO   4V4M19GF57N451472   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66067     2012   VOLVO   4V4N39DF8CN538621   VNL42300   CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66068     2012   VOLVO   4V4N39DF7CN542529   VNL42300   CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66069     2015   FRGHT   1FUBGADV6FLGU8462   CAS113     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66070     2015   VOLVO   4V4M19EG2FN933231   VNM42T     CA      Adelanto
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66071     2015   FRGHT   1FUBGADVXFLGU8464   CAS113     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66074     2012   VOLVO   4V4N39EG5CN556419   VNL42300   TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66075     2013   VOLVO   4V4N39EGXDN142361   VNL42300   TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66076     2012   VOLVO   4V4N39EGXCN556464   VNL42300   MT      Billings
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66077     2013   VOLVO   4V4N39EH5DN142339   VNL42300   PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66078     2015   VOLVO   4V4M19EG6FN933183   VNM42T     MT      Butte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66079     2007   VOLVO   4V4M19GF07N406276   VNM42T     MT      Butte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66080     2012   VOLVO   4V4N39DF9CN538613   VNL42300   CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66081     2012   VOLVO   4V4N39DF9CN538627   VNL42300   CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66082     2012   VOLVO   4V4N39EG6CN556414   VNL42300   CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66083     2012   VOLVO   4V4N39EG6CN556428   VNL42300   CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66084     2012   VOLVO   4V4N39EGXCN556545   VNL42300   CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66085     2012   VOLVO   4V4N39EG1CN556532   VNL42300   PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66086     2012   VOLVO   4V4N39EG8CN556544   VNL42300   TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66087     2012   VOLVO   4V4N39EG4CN556539   VNL42300   TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66088     2016   FRGHT   1FUBGADV1GLHB3506   CAS113     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66089     2016   VOLVO   4V4M19EG7GN944730   VNM42T     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66090     2012   VOLVO   4V4N39EG4CN556542   VNL42300   NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66091     2014   FRGHT   1FUBGADV2ELFP6366   CAS113     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66092     2016   VOLVO   4V4M19EG4GN944765   VNM42T     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66093     2012   VOLVO   4V4N39EG2CN556460   VNL42300   NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66094     2012   VOLVO   4V4N39DF5CN542528   VNL42300   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66095     2008   VOLVO   4V4M19GF78N462569   VNM42T     PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66096     2009   VOLVO   4V4M19EG39N263905   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66097     2012   VOLVO   4V4N39DF4CN538633   VNL42300   TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66098     2012   VOLVO   4V4N39EG8CN556429   VNL42300   CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66099     2007   VOLVO   4V4M19GF17N462534   VNM42T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66111     2016   VOLVO   4V4M19EGXGN944737   VNM42T     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66113     2012   VOLVO   4V4N39DF7CN538609   VNL42300   OH      Copley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66114     2014   FRGHT   1FUBGADV5ELFR1041   CAS113     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66116     2016   FRGHT   1FUBGADV3GLHB3538   CAS113     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66118     2007   VOLVO   4V4M19GF97N406292   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66119     2006   VOLVO   4V4M19GF96N406212   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66120     2007   VOLVO   4V4M19GF87N451501   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66121     2012   VOLVO   4V4N39EG2CN556538   VNL42300   VA      Manassas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66122     2007   VOLVO   4V4M19GF37N451549   VNM42T     OH      Richfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 423 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66123     2007   VOLVO   4V4M19GF17N406870   VNM42T     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66125     2016   FRGHT   1FUBGADV7GLHB3543   CAS113     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66126     2015   VOLVO   4V4M19EGXFN933199   VNM42T     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66127     2016   VOLVO   4V4M19EG7GN944629   VNM42T     NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66128     2016   FRGHT   1FUBGADV1GLHB3540   CAS113     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66129     2017   VOLVO   4V4M19EG4HN962930   VNM42T     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66131     2006   VOLVO   4V4M19GF46N406361   VNM42T     PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66132     2007   VOLVO   4V4M19GF57N406886   VNM42T     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66134     2009   VOLVO   4V4M19EG69N283985   VNM42T     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66137     2012   VOLVO   4V4N39DF5CN538611   VNL42300   NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66138     2006   VOLVO   4V4M19GFX6N406719   VNM42T     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66139     2004   VOLVO   4V4M19GH04N369923   VNM42T     KS      Topeka
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66141     2007   VOLVO   4V4M19GF77N406369   VNM42T     NH      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66142     2007   VOLVO   4V4M19GF57N451634   VNM42T     VA      Manassas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66143     2006   VOLVO   4V4M19GF36N406223   VNM42T     NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66144     2006   VOLVO   4V4M19GF96N406226   VNM42T     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66145     2017   VOLVO   4V4M19EG0HN985153   VNM42T     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66147     2007   VOLVO   4V4M19GF67N406329   VNM42T     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66148     2016   VOLVO   4V4M19EG3GN944823   VNM42T     CA      Calexico
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66150     2016   VOLVO   4V4M19EG5GN944662   VNM42T     CA      Calexico
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66151     2012   VOLVO   4V4N39DF3CN538610   VNL42300   CA      Fontana
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66153     2016   FRGHT   1FUBGADV5GLHB3539   CAS113     CA      Adelanto
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66154     2007   VOLVO   4V4M19GF87N406848   VNM42T     PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66155     2015   VOLVO   4V4M19EGXFN933221   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66158     2015   VOLVO   4V4M19EGXFN933185   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66159     2015   VOLVO   4V4M19EG9FN933209   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66160     2015   VOLVO   4V4M19EGXFN933204   VNM42T     MO      Strafford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66161     2016   VOLVO   4V4M19EG3GN944644   VNM42T     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66162     2015   VOLVO   4V4M19EG3FN933190   VNM42T     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66163     2016   VOLVO   4V4M19EG6GN944637   VNM42T     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66164     2015   VOLVO   4V4M19EG7FN933211   VNM42T     NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66165     2015   VOLVO   4V4M19EG2FN933228   VNM42T     TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66166     2016   VOLVO   4V4M19EG3GN944675   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66167     2006   VOLVO   4V4M19GF56N406241   VNM42T     MI      Norway
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66168     2007   VOLVO   4V4M19GF47N406331   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66169     2017   VOLVO   4V4M19EG7HN985084   VNM42T     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66170     2016   VOLVO   4V4M19EG1GN944786   VNM42T     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66172     2015   VOLVO   4V4M19EG0FN933230   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66173     2016   VOLVO   4V4M19EG8GN944672   VNM42T     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66174     2017   VOLVO   4V4M19EG2HN962876   VNM42T     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66175     2017   VOLVO   4V4M19EG9HN985085   VNM42T     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66176     2016   VOLVO   4V4M19EG8GN944669   VNM42T     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66177     2015   VOLVO   4V4M19EG8FN933203   VNM42T     WV      Bridgeport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66178     2015   VOLVO   4V4M19EG6FN933216   VNM42T     WV      Bridgeport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66179     2015   VOLVO   4V4M19EG1FN933222   VNM42T     WV      Bridgeport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66180     2015   VOLVO   4V4M19EG5FN933207   VNM42T     PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66181     2006   VOLVO   4V4M19GFX6N406543   VNM42T     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66182     2016   VOLVO   4V4M19EG2GN944683   VNM42T     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66183     2016   VOLVO   4V4M19EG6GN944752   VNM42T     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66184     2015   VOLVO   4V4M19EG4FN933196   VNM42T     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66185     2015   VOLVO   4V4M19EG1FN933186   VNM42T     IA      Sioux City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66186     2015   VOLVO   4V4M19EG9FN933212   VNM42T     NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66187     2015   VOLVO   4V4M19EG8FN933184   VNM42T     SD      Sioux Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66188     2015   FRGHT   1FUBGADV8FLGU8463   CAS113     NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66189     2015   VOLVO   4V4M19EG9FN933226   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66190     2015   VOLVO   4V4M19EG6FN933202   VNM42T     NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66191     2017   VOLVO   4V4M19EG6HN985125   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66192     2015   VOLVO   4V4M19EG0FN933227   VNM42T     NJ      Millville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66193     2007   VOLVO   4V4M19GH67N449196   VNM42T     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66194     2015   VOLVO   4V4M19EG0FN933213   VNM42T     IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66195     2015   VOLVO   4V4M19EG3FN933223   VNM42T     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66196     2015   FRGHT   1FUBGADV2FLGU8457   CAS113     SD      Sioux Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66197     2015   VOLVO   4V4M19EG3FN933206   VNM42T     MO      Strafford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66198     2016   VOLVO   4V4M19EG6GN944685   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66199     2016   VOLVO   4V4M19EG0GN944665   VNM42T     KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66200     2016   VOLVO   4V4M19EG2GN944652   VNM42T     KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66201     2016   FRGHT   3AKBGADV6GDHC3537   CAS113     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66202     2016   FRGHT   1FUBGADV4GLHB3533   CAS113     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66203     2017   VOLVO   4V4M19EG9HN962924   VNM42T     CA      Sacramento
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 424 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66204     2015   VOLVO   4V4M19EG7FN933225   VNM42T     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66205     2015   VOLVO   4V4M19EG5FN933191   VNM42T     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66206     2015   VOLVO   4V4M19EG1FN933205   VNM42T     NH      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66207     2016   VOLVO   4V4M19EG5GN944712   VNM42T     NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66208     2016   FRGHT   1FUBGADV1GLHB5708   CAS113     ME      Westbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66209     2016   VOLVO   4V4M19EG2GN944781   VNM42T     CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66210     2016   VOLVO   4V4M19EG2GN962746   VNM42T     MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66211     2016   VOLVO   4V4M19EG9GN944633   VNM42T     MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66212     2016   VOLVO   4V4M19EG6GN962779   VNM42T     NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66213     2016   VOLVO   4V4M19EG0GN944696   VNM42T     ME      Westbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66214     2016   FRGHT   3AKBGADV2GDHC3471   CAS113     NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66215     2016   FRGHT   1FUBGADV4GLHB5704   CAS113     VT      Bellows Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66216     2015   VOLVO   4V4M19EG2FN933214   VNM42T     ME      Fairfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66217     2016   VOLVO   4V4M19EG5GN944743   VNM42T     NH      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66219     2012   VOLVO   4V4N39DF6CN538603   VNL42300   WI      Madison
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66221     2016   FRGHT   1FUBGADV6GLHB5705   CAS113     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66222     2016   VOLVO   4V4M19EG4GN944636   VNM42T     AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66223     2015   VOLVO   4V4M19EG4FN933229   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66224     2015   VOLVO   4V4M19EG1FN933219   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66225     2015   VOLVO   4V4M19EGXFN933218   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66226     2016   VOLVO   4V4M19EG4GN944670   VNM42T     TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66227     2008   FRGHT   1FUBA6CK78LZ83932   COLUMBIA   MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66228     2008   FRGHT   1FUBA6CK48LZ83922   COLUMBIA   MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66229     2016   VOLVO   4V4M19EG4GN944796   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66230     2016   FRGHT   1FUBGADV8GLHB3518   CAS113     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66231     2016   VOLVO   4V4M19EG3GN944627   VNM42T     IL      Morton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66232     2016   VOLVO   4V4M19EG8GN944686   VNM42T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66233     2016   VOLVO   4V4M19EG6GN944654   VNM42T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66234     2016   VOLVO   4V4M19EG1GN944660   VNM42T     CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66235     2016   VOLVO   4V4M19EG3GN944658   VNM42T     IL      Morton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66236     2016   VOLVO   4V4M19EG9GN944776   VNM42T     NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66237     2016   VOLVO   4V4M19EG3GN944711   VNM42T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66238     2016   VOLVO   4V4M19EG1GN944741   VNM42T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66239     2016   FRGHT   3AKBGADV1GDHC3509   CAS113     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66240     2016   VOLVO   4V4M19EG3GN944692   VNM42T     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66241     2016   VOLVO   4V4M19EG8GN944798   VNM42T     TX      Abilene
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66242     2016   VOLVO   4V4M19EG8GN962783   VNM42T     TX      Abilene
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66243     2016   VOLVO   4V4M19EG3GN962755   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66244     2016   VOLVO   4V4M19EGXGN944768   VNM42T     LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66245     2016   FRGHT   1FUBGADVXGLHB3536   CAS113     TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66246     2016   VOLVO   4V4M19EG3GN944725   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66247     2016   FRGHT   3AKBGADV3GDHC3480   CAS113     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66248     2015   VOLVO   4V4M19EG5FN933210   VNM42T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66249     2016   FRGHT   3AKBGADVXGDHC3492   CAS113     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66250     2016   VOLVO   4V4M19EG8GN944722   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66251     2016   VOLVO   4V4M19EG4GN944703   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66252     2016   VOLVO   4V4M19EG5GN944693   VNM42T     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66253     2016   VOLVO   4V4M19EG5GN944810   VNM42T     SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66254     2016   VOLVO   4V4M19EG3GN944787   VNM42T     NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66255     2016   FRGHT   1FUBGADV6GLHB3534   CAS113     SC      North Charleston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66256     2016   FRGHT   1FUBGADV3GLHB3524   CAS113     SC      North Charleston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66257     2016   VOLVO   4V4M19EG5GN944709   VNM42T     TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66258     2016   FRGHT   1FUBGADV7GLHB3509   CAS113     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66259     2016   VOLVO   4V4M19EG4GN962778   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66260     2016   VOLVO   4V4M19EG7GN944680   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66261     2016   FRGHT   3AKBGADV4GDHC3472   CAS113     FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66262     2016   FRGHT   3AKBGADV6GDHC3540   CAS113     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66263     2016   FRGHT   1FUBGADVXGLHB3505   CAS113     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66264     2016   FRGHT   1FUBGADV4GLHB3502   CAS113     PA      Erie
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66265     2016   VOLVO   4V4M19EG1GN962835   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66266     2016   VOLVO   4V4M19EG5GN944628   VNM42T     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66267     2016   FRGHT   1FUBGADV3GLHB3507   CAS113     NY      Rochester
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66268     2007   VOLVO   4V4M19GF57N406743   VNM42T     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66270     2016   VOLVO   4V4M19EG5GN944631   VNM42T     AR      Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66271     2008   VOLVO   4V4M19EH58N498233   VNM42T     OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66272     2015   VOLVO   4V4M19EG4FN933201   VNM42T     PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66273     2016   VOLVO   4V4M19EGXGN962817   VNM42T     MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66276     2016   FRGHT   1FUBGADV2GLHB3501   CAS113     PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66277     2016   FRGHT   3AKBGADVXGDHC3539   CAS113     PA      Bensalem
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 425 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66278     2016   FRGHT   3AKBGADV5GDHC3531   CAS113     PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66279     2016   FRGHT   1FUBGADVXGLHB3522   CAS113     PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66282     2016   VOLVO   4V4M19EG9GN962808   VNM42T     OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66283     2016   FRGHT   3AKBGADV1GDHC3526   CAS113     ME      Westbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66284     2016   VOLVO   4V4M19EG9GN944728   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66285     2016   VOLVO   4V4M19EG7GN944825   VNM42T     TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66286     2016   VOLVO   4V4M19EG7GN944632   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66287     2016   VOLVO   4V4M19EG9GN944678   VNM42T     TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66288     2016   VOLVO   4V4M19EG7GN962807   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66289     2016   FRGHT   1FUBGADV8GLHB5706   CAS113     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66290     2016   FRGHT   1FUBGADVXGLHB5707   CAS113     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66291     2016   VOLVO   4V4M19EG9GN944700   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66293     2016   FRGHT   3AKBGADV3GDHC3530   CAS113     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66294     2016   VOLVO   4V4M19EG8GN962797   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66295     2016   FRGHT   1FUBGADV3GLHB5709   CAS113     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66296     2016   FRGHT   3AKBGADV4GDHC3486   CAS113     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66297     2016   VOLVO   4V4M19EG1GN944688   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66298     2016   VOLVO   4V4M19EG3GN944708   VNM42T     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66299     2016   VOLVO   4V4M19EG6GN944766   VNM42T     CA      Calexico
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66300     2007   VOLVO   4V4M19GH77N449191   VNM42T     IL      Morton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66301     2016   VOLVO   4V4M19EG6GN944640   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66302     2015   VOLVO   4V4M19EG8FN933220   VNM42T     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66303     2016   FRGHT   3AKBGADV8GDHC3538   CAS113     MN      Saint Cloud
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66304     2016   FRGHT   3AKBGADV0GDHC3484   CAS113     MN      Saint Cloud
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66305     2016   VOLVO   4V4M19EG2GN944702   VNM42T     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66306     2015   VOLVO   4V4N39EG6FN909965   VNL42300   IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66307     2016   FRGHT   3AKBGADV6GDHC3487   CAS113     NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66308     2016   FRGHT   3AKBGADV5GDHC3481   CAS113     NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66309     2016   VOLVO   4V4M19EG4GN944717   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66310     2016   FRGHT   3AKBGADV3GDHC3544   CAS113     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66312     2016   VOLVO   4V4M19EG4GN944720   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66313     2016   VOLVO   4V4M19EG4GN944684   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66315     2016   FRGHT   3AKBGADV6GDHC3490   CAS113     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66316     2016   VOLVO   4V4M19EG6GN944718   VNM42T     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66318     2008   VOLVO   4V4M19EH18N498231   VNM42T     OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66319     2016   FRGHT   3AKBGADV8GDHC3488   CAS113     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66320     2016   VOLVO   4V4M19EG0GN944715   VNM42T     KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66321     2016   VOLVO   4V4M19EG7GN944775   VNM42T     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66322     2016   FRGHT   1FUBGADV4GLHB3516   CAS113     IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66323     2016   FRGHT   3AKBGADV5GDHC3495   CAS113     IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66325     2016   VOLVO   4V4M19EGXGN944706   VNM42T     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66326     2016   VOLVO   4V4M19EG4GN944751   VNM42T     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66328     2016   VOLVO   4V4M19EG7GN944713   VNM42T     TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66329     2017   VOLVO   4V4M19EG4HN985088   VNM42T     CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66330     2016   VOLVO   4V4M19EG6GN944797   VNM42T     CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66331     2016   VOLVO   4V4M19EG1GN944691   VNM42T     CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66332     2016   FRGHT   1FUBGADVXGLHB3519   CAS113     CA      Visalia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66333     2016   VOLVO   4V4M19EG4GN944782   VNM42T     SC      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66334     2016   VOLVO   4V4M19EG6GN962765   VNM42T     SC      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66335     2016   VOLVO   4V4M19EG0GN944679   VNM42T     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66336     2016   FRGHT   3AKBGADV1GDHC3543   CAS113     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66337     2016   VOLVO   4V4M19EG1GN944738   VNM42T     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66338     2016   VOLVO   4V4M19EG2GN962780   VNM42T     SC      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66340     2016   FRGHT   3AKBGADVXGDHC3489   CAS113     LA      Alexandria
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66341     2016   FRGHT   3AKBGADV2GDHC3521   CAS113     LA      Alexandria
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66342     2016   FRGHT   3AKBGADV7GDHC3479   CAS113     NY      East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66343     2016   FRGHT   3AKBGADV4GDHC3536   CAS113     NY      East Syracuse
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66345     2016   FRGHT   1FUBGADV9GLHB3530   CAS113     NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66346     2016   FRGHT   3AKBGADV3GDHC3477   CAS113     NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66347     2016   FRGHT   3AKBGADVXGDHC3542   CAS113     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66348     2016   FRGHT   3AKBGADV7GDHC3546   CAS113     VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66349     2016   VOLVO   4V4M19EG5GN944659   VNM42T     IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66350     2016   VOLVO   4V4M19EG6GN944671   VNM42T     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66352     2016   VOLVO   4V4M19EG2GN944800   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66353     2016   FRGHT   1FUBGADV0GLHB3514   CAS113     IL      Decatur
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66354     2016   VOLVO   4V4M19EG8GN944641   VNM42T     OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66361     2016   VOLVO   4V4M19EG8GN944770   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66362     2016   VOLVO   4V4M19EG1GN944707   VNM42T     TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66363     2016   VOLVO   4V4M19EG6GN944668   VNM42T     TX      Lubbock
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 426 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66365     2016   FRGHT   3AKBGADV2GDHC3485   CAS113     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66366     2016   FRGHT   3AKBGADV7GDHC3515   CAS113     VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66367     2016   FRGHT   1FUBGADV5GLHB3508   CAS113     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66369     2016   VOLVO   4V4M19EG1GN944626   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66370     2016   VOLVO   4V4M19EG2GN944635   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66371     2016   VOLVO   4V4M19EG9GN944745   VNM42T     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66372     2016   FRGHT   3AKBGADV0GDHC3534   CAS113     KY      Paducah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66373     2016   FRGHT   1FUBGADV5GLHB3511   CAS113     PA      Erie
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66374     2016   FRGHT   3AKBGADV7GDHC3496   CAS113     TX      Sherman
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66376     2016   FRGHT   3AKBGADV9GDHC3516   CAS113     GA      Martinez
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66378     2016   FRGHT   1FUBGADV1GLHB3537   CAS113     GA      Martinez
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66379     2016   VOLVO   4V4M19EG9GN944714   VNM42T     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66380     2016   VOLVO   4V4M19EG2GN944750   VNM42T     IL      Quincy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66381     2016   VOLVO   4V4M19EG0GN944701   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66382     2016   VOLVO   4V4M19EG8GN944638   VNM42T     IL      Joliet
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66383     2016   VOLVO   4V4M19EG7GN944744   VNM42T     NE      Kearney
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66384     2016   VOLVO   4V4M19EG0GN944732   VNM42T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66385     2016   VOLVO   4V4M19EG1GN944710   VNM42T     CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66387     2016   VOLVO   4V4M19EGXGN944818   VNM42T     NE      Kearney
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66388     2016   VOLVO   4V4M19EG0GN944634   VNM42T     IL      Quincy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66389     2016   FRGHT   3AKBGADV8GDHC3474   CAS113     ND      Fargo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66390     2016   VOLVO   4V4M19EG6GN944721   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66392     2008   FRGHT   1FUBA6CKX8LZ83925   COLUMBIA   OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66393     2008   FRGHT   1FUBA6CK08LZ83948   CL120      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66395     2016   VOLVO   4V4M19EG4GN944667   VNM42T     IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66397     2016   FRGHT   3AKBGADV2GDHC3499   CAS113     IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66398     2008   VOLVO   4V4M19EG18N262833   VNM42T     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66399     2016   VOLVO   4V4M19EG0GN944651   VNM42T     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66400     2016   VOLVO   4V4M19EG2GN944764   VNM42T     NE      Kearney
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66405     2017   VOLVO   4V4M19EG9HN985099   VNM42T     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66406     2017   VOLVO   4V4M19EG1HN962884   VNM42T     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66407     2017   VOLVO   4V4M19EG9HN962874   VNM42T     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66408     2017   VOLVO   4V4M19EG1HN962867   VNM42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66409     2017   VOLVO   4V4M19EG3HN962854   VNM42T     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66412     2016   VOLVO   4V4M19EG4GN944653   VNM42T     IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66413     2016   VOLVO   4V4M19EG9GN944647   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66414     2016   VOLVO   4V4M19EGXGN944723   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66416     2017   VOLVO   4V4M19EG6HN962928   VNM42T     CA      Fontana
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66417     2016   VOLVO   4V4M19EG4GN944734   VNM42T     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66418     2016   FRGHT   3AKBGADV3GDHC3527   CAS113     TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66419     2008   VOLVO   4V4M19EG28N498469   VNM42T     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66420     2016   FRGHT   3AKBGADVXGDHC3525   CAS113     MO      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66422     2016   FRGHT   1FUBGADV2GLHB3529   CAS113     NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66423     2016   FRGHT   1FUBGADV0GLHB3531   CAS113     SC      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66424     2016   FRGHT   3AKBGADV9GDHC3550   CA113      TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66425     2016   VOLVO   4V4M19EG7GN944663   VNM42T     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66426     2017   VOLVO   4V4M19EG8HN962932   VNM42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66427     2017   VOLVO   4V4M19EG9HN962843   VNM42T     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66428     2016   VOLVO   4V4M19EG8GN944736   VNM42T     NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66429     2017   VOLVO   4V4M19EG6HN985092   VNM42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66430     2016   FRGHT   3AKBGADV6GDHC3506   CAS113     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66432     2016   FRGHT   3AKBGADV8GDHC3507   CAS113     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66433     2017   VOLVO   4V4M19EG7HN985117   VNM42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66434     2017   VOLVO   4V4M19EG7HN962887   VNM42T     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66435     2017   VOLVO   4V4M19EG2HN985123   VNM42T     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66436     2017   VOLVO   4V4M19EG5HN985133   VNM42T     CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66437     2016   FRGHT   3AKBGADV7GDHC3529   CAS113     PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66438     2016   FRGHT   1FUBGADV9GLHB3513   CAS113     PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66439     2016   VOLVO   4V4M19EG1GN944657   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66442     2016   FRGHT   1FUBGADV2GLHB3546   CAS113     IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66443     2016   VOLVO   4V4M19EG8GN944767   VNM42T     CO      Grand Junction
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66444     2016   FRGHT   3AKBGADV8GDHC3510   CAS113     SD      Rapid City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66445     2016   VOLVO   4V4M19EG1GN944643   VNM42T     SD      Rapid City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66446     2016   VOLVO   4V4M19EG2GN944697   VNM42T     TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66447     2016   FRGHT   1FUBGADV0GLHB3528   CAS113     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66448     2016   VOLVO   4V4M19EG5GN944824   VNM42T     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66449     2016   FRGHT   1FUBGADV2GLHB3532   CAS113     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66450     2008   VOLVO   4V4M19EH08N498236   VNM42T     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66451     2016   VOLVO   4V4M19EG4GN944815   VNM42T     TX      Laredo
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 427 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66452     2017   VOLVO   4V4M19EG9HN985152   VNM42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66453     2016   VOLVO   4V4M19EG1GN944724   VNM42T    AR      Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66454     2016   VOLVO   4V4M19EGXGN944804   VNM42T    AR      Springdale
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66455     2016   VOLVO   4V4M19EG1GN944769   VNM42T    AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66456     2016   VOLVO   4V4M19EG0GN944777   VNM42T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66457     2016   VOLVO   4V4M19EGXGN944771   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66458     2016   FRGHT   3AKBGADV9GDHC3533   CAS113    KY      Bowling Green
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66459     2016   VOLVO   4V4M19EG2GN944733   VNM42T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66460     2016   VOLVO   4V4M19EG6GN944802   VNM42T    OH      Lima
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66461     2016   VOLVO   4V4M19EG3GN944661   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66462     2016   FRGHT   1FUBGADV5GLHB3525   CAS113    PA      Erie
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66463     2016   FRGHT   1FUBGADV6GLHB3498   CAS113    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66464     2016   FRGHT   1FUBGADV2GLHB5703   CAS113    GA      Martinez
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66465     2016   FRGHT   3AKBGADV0GDHC3470   CAS113    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66466     2016   VOLVO   4V4M19EG7GN944677   VNM42T    TN      Jackson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66467     2016   VOLVO   4V4M19EGXGN944673   VNM42T    MS      Tupelo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66468     2016   VOLVO   4V4M19EG0GN944746   VNM42T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66469     2016   FRGHT   3AKBGADV9GDHC3547   CAS113    LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66470     2016   FRGHT   3AKBGADV5GDHC3545   CAS113    LA      Alexandria
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66471     2016   FRGHT   3AKBGADV0GDHC3503   CAS113    AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66472     2016   FRGHT   1FUBGADV6GLHB3520   CAS113    AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66473     2016   VOLVO   4V4M19EG8GN944719   VNM42T    TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66474     2016   VOLVO   4V4M19EG5GN944645   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66475     2016   FRGHT   1FUBGADV3GLHB3541   CAS113    KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66476     2016   FRGHT   3AKBGADV5GDHC3514   CAS113    MO      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66477     2016   VOLVO   4V4M19EG3GN944630   VNM42T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66478     2016   VOLVO   4V4M19EG9GN944664   VNM42T    MI      Wayland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66479     2016   FRGHT   3AKBGADV8GDHC3524   CAS113    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66480     2016   FRGHT   3AKBGADV0GDHC3548   CAS113    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66481     2016   VOLVO   4V4M19EG0GN944648   VNM42T    GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66482     2017   VOLVO   4V4M19EG3HN985132   VNM42T    CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66483     2017   VOLVO   4V4M19EG3HN962868   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66484     2017   VOLVO   4V4M19EG1HN985128   VNM42T    CA      San Bernardino
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66485     2017   VOLVO   4V4M19EG6HN985156   VNM42T    CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66486     2017   VOLVO   4V4M19EG6HN962878   VNM42T    CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66487     2015   VOLVO   4V4M19EG9FN933193   VNM42T    MO      Strafford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66488     2016   FRGHT   3AKBGADV4GDHC3505   CAS113    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66489     2016   VOLVO   4V4M19EG9GN944695   VNM42T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66490     2016   FRGHT   3AKBGADV1GDHC3476   CAS113    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66491     2016   VOLVO   4V4M19EG8GN944753   VNM42T    FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66492     2017   VOLVO   4V4M19EG2HN962845   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66493     2016   VOLVO   4V4M19EG7GN944811   VNM42T    OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66494     2017   VOLVO   4V4M19EGXHN985130   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66495     2016   VOLVO   4V4M19EG1GN944772   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66497     2016   FRGHT   3AKBGADVXGDHC3508   CAS113    IA      Mason City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66498     2016   FRGHT   1FUBGADVXGLHB5710   CAS113    IA      Mason City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66499     2017   VOLVO   4V4M19EGXHN985161   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66500     2017   VOLVO   4V4M19EG3HN985101   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66501     2016   FRGHT   1FUBGADV7GLHB3526   CAS113    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66502     2016   VOLVO   4V4M19EG9GN944731   VNM42T    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66503     2016   VOLVO   4V4M19EG5GN944726   VNM42T    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66504     2016   VOLVO   4V4M19EG9GN944759   VNM42T    OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66505     2016   FRGHT   1FUBGADV2GLHB3515   CAS113    OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66506     2016   FRGHT   3AKBGADV2GDHC3535   CAS113    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66507     2016   VOLVO   4V4M19EG8GN944820   VNM42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66508     2016   VOLVO   4V4M19EGXGN944754   VNM42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66509     2016   FRGHT   3AKBGADVXGDHC3511   CAS113    TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66510     2016   VOLVO   4V4M19EG5GN944676   VNM42T    NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66512     2016   FRGHT   3AKBGADV0GDHC3498   CAS113    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66513     2016   VOLVO   4V4M19EG1GN944819   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66514     2016   VOLVO   4V4M19EG6GN944704   VNM42T    OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66515     2016   VOLVO   4V4M19EG2GN944666   VNM42T    FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66516     2017   VOLVO   4V4M19EG8HN962915   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66517     2017   VOLVO   4V4M19EG7HN985120   VNM42T    CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66518     2017   VOLVO   4V4M19EG7HN985103   VNM42T    CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66519     2016   FRGHT   3AKBGADV5GDHC3478   CAS113    PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66520     2016   VOLVO   4V4M19EG6GN944816   VNM42T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66521     2016   VOLVO   4V4M19EG2GN944716   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66522     2016   VOLVO   4V4M19EG7GN944808   VNM42T    TX      Houston
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 428 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66523     2016   FRGHT   1FUBGADV6GLHB3517   CAS113    WY      Cheyenne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66524     2016   VOLVO   4V4M19EG9GN944762   VNM42T    NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66525     2016   FRGHT   1FUBGADV0GLHB3500   CAS113    VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66526     2016   VOLVO   4V4M19EG5GN944774   VNM42T    FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66527     2016   VOLVO   4V4M19EG1GN944674   VNM42T    MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66528     2016   FRGHT   3AKBGADV2GDHC3504   CAS113    MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66529     2016   VOLVO   4V4M19EG4GN944779   VNM42T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66530     2016   FRGHT   3AKBGADV2GDHC3552   CAS113    LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66531     2016   VOLVO   4V4M19EG7GN944789   VNM42T    AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66532     2009   VOLVO   4V4M19EG59N263890   VNM42T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66533     2016   VOLVO   4V4M19EG3GN944806   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66534     2016   VOLVO   4V4M19EG3GN944790   VNM42T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66535     2016   VOLVO   4V4M19EG4GN944748   VNM42T    TX      Waco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66536     2017   VOLVO   4V4M19EG1HN962853   VNM42T    CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66537     2016   FRGHT   3AKBGADV0GDHC3517   CAS113    NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66538     2017   VOLVO   4V4M19EG9HN962888   VNM42T    CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66539     2016   VOLVO   4V4M19EG9GN944681   VNM42T    IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66540     2008   VOLVO   4V4M19EG58N498465   VNM42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66542     2016   VOLVO   4V4M19EG2GN944795   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66543     2016   VOLVO   4V4M19EG8GN944803   VNM42T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66544     2016   FRGHT   3AKBGADV5GDHC3528   CAS113    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66545     2017   VOLVO   4V4M19EG0HN985122   VNM42T    CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66546     2017   VOLVO   4V4M19EG3HN985096   VNM42T    CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66547     2016   VOLVO   4V4M19EG2GN944778   VNM42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66548     2016   FRGHT   3AKBGADV4GDHC3519   CAS113    TX      Austin
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66549     2016   VOLVO   4V4M19EG8GN944784   VNM42T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66550     2017   VOLVO   4V4M19EG4HN985141   VNM42T    CA      Visalia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66552     2016   VOLVO   4V4M19EG5GN944791   VNM42T    NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66553     2015   VOLVO   4V4M19EG7FN933192   VNM42T    SD      Watertown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66555     2014   FRGHT   1FUBGADV8ELFR1308   CA113DC   MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66556     2014   FRGHT   1FUBGADV2ELFR1319   CA113DC   MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66557     2014   FRGHT   1FUBGADV4ELFR1323   CA113DC   MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66558     2014   FRGHT   1FUBGADV5ELFR1329   CA113DC   MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66559     2014   FRGHT   1FUBGADV6ELFR1307   CA113DC   RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66560     2014   FRGHT   1FUBGADV9ELFR1348   CA113DC   RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66561     2014   FRGHT   1FUBGADV3ELFR1331   CA113DC   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66562     2016   FRGHT   1FUBGADVXGLHB5724   CA113DC   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66563     2016   FRGHT   1FUBGADV5GLHB5730   CA113DC   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66564     2016   FRGHT   1FUBGADV2GLHB5734   CA113DC   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66565     2016   FRGHT   1FUBGADV9GLHB5746   CA113DC   NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66566     2014   FRGHT   1FUBGADV8ELFR1311   CA113DC   NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66567     2014   FRGHT   1FUBGADV2ELFV9177   CA113DC   NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66568     2016   FRGHT   1FUBGADV0GLHB5733   CA113DC   NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66569     2014   FRGHT   1FUBGADV8ELFR1342   CA113DC   PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66570     2014   FRGHT   1FUBGADV4ELFR1337   CA113DC   PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66571     2014   FRGHT   1FUBGADV3ELFR1328   CA113DC   MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66572     2014   FRGHT   1FUBGADV2ELFV9163   CA113DC   MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66573     2014   FRGHT   1FUBGADV3ELFV9169   CA113DC   MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66574     2014   FRGHT   1FUBGADV9ELFR1320   CA113DC   PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66575     2014   FRGHT   1FUBGADV5ELFR1346   CA113DC   PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66576     2014   FRGHT   1FUBGADV9ELFR1351   CA113DC   PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66577     2014   FRGHT   1FUBGADV6ELFR1310   CA113DC   NJ      Millville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66578     2014   FRGHT   1FUBGADV4ELFV9164   CA113DC   VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66579     2014   FRGHT   1FUBGADV1ELFV9171   CA113DC   VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66580     2016   FRGHT   1FUBGADV6GLHB5722   CA113DC   DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66582     2014   FRGHT   1FUBGADV0ELFR1335   CA113DC   PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66583     2014   FRGHT   1FUBGADV2ELFR1336   CA113DC   MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66584     2014   FRGHT   1FUBGADV1ELFR1344   CA113DC   MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66585     2014   FRGHT   1FUBGADV3ELFV9172   CA113DC   MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66586     2014   FRGHT   1FUBGADV7ELFR1333   CA113DC   NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66587     2014   FRGHT   1FUBGADV7ELFR1350   CA113DC   NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66588     2014   FRGHT   1FUBGADVXELFR1309   CA113DC   PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66589     2014   FRGHT   1FUBGADV0ELFR1321   CA113DC   PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66590     2016   FRGHT   1FUBGADV1GLHB5739   CA113DC   PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66591     2014   FRGHT   1FUBGADV4ELFR1340   CA113DC   PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66592     2014   FRGHT   1FUBGADV0ELFR1349   CA113DC   NY      Plattsburgh
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66597     2016   VOLVO   4V4M19EG9GN944793   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66598     2016   VOLVO   4V4M19EGXGN944740   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66599     2016   VOLVO   4V4M19EG3GN944689   VNM42T    NC      Durham
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 429 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66600     2017   VOLVO   4V4M19EG9HN962857   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66601     2016   FRGHT   3AKBGADV1GDHC3512   CAS113    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66602     2016   VOLVO   4V4M19EG7GN944761   VNM42T    NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66603     2016   VOLVO   4V4M19EG5GN944788   VNM42T    NE      Kearney
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66604     2016   VOLVO   4V4M19EG6GN944783   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66605     2016   VOLVO   4V4M19EG9GN944809   VNM42T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66606     2016   FRGHT   3AKBGADV0GDHC3520   CAS113    AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66608     2015   VOLVO   4V4M19EG4FN933232   VNM42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66611     2017   VOLVO   4V4M19EG3HN985115   VNM42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66612     2017   VOLVO   4V4M19EG0HN962844   VNM42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66613     2014   FRGHT   1FUBGADV6ELFR1341   CA113DC   MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66614     2016   FRGHT   1FUBGADV5GLHB5713   CA113DC   MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66615     2016   FRGHT   1FUBGADV2GLHC3459   CA113DC   MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66616     2016   FRGHT   1FUBGADV9GLHB5732   CA113DC   NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66617     2016   FRGHT   1FUBGADV3GLHB5712   CA113DC   NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66618     2016   FRGHT   1FUBGADV8GLHB5737   CA113DC   NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66619     2014   FRGHT   1FUBGADV8ELFR1325   CA113DC   NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66620     2014   FRGHT   1FUBGADV6ELFR1324   CA113DC   NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66621     2016   FRGHT   1FUBGADV1GLHC3453   CA113DC   NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66622     2014   FRGHT   1FUBGADV5ELFR1332   CA113DC   PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66623     2014   FRGHT   1FUBGADV6ELFR1338   CA113DC   VA      Manassas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66624     2016   FRGHT   1FUBGADV8GLHB5723   CA113DC   VA      Manassas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66625     2016   FRGHT   1FUBGADV7GLHB5728   CA113DC   VA      Manassas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66626     2014   FRGHT   1FUBGADVXELFV9170   CA113DC   MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66627     2016   FRGHT   1FUBGADV7GLHB5714   CA113DC   PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66628     2016   FRGHT   1FUBGADV7GLHB5731   CA113DC   PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66629     2014   FRGHT   1FUBGADV2ELFR1322   CA113DC   DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66630     2016   FRGHT   1FUBGADV6GLHB5736   CA113DC   DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66631     2016   FRGHT   1FUBGADV3GLHB5726   CA113DC   PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66632     2017   VOLVO   4V4M19EG5HN962841   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66633     2016   VOLVO   4V4M19EG7GN944727   VNM42T    MT      Great Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66634     2016   VOLVO   4V4M19EG1GN944805   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66635     2017   VOLVO   4V4M19EG6HN962914   VNM42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66636     2017   VOLVO   4V4M19EG4HN985138   VNM42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66637     2017   VOLVO   4V4M19EG8HN962848   VNM42T    CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66638     2016   VOLVO   4V4M19EG8GN944705   VNM42T    WI      Madison
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66639     2017   VOLVO   4V4M19EG5HN985083   VNM42T    KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66640     2016   VOLVO   4V4M19EG7GN944792   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66641     2016   VOLVO   4V4M19EG6GN944699   VNM42T    NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66642     2016   VOLVO   4V4M19EGXGN944687   VNM42T    NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66644     2016   FRGHT   3AKBGADV9GDHC3502   CAS113    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66645     2017   VOLVO   4V4M19EG0HN962861   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66646     2017   VOLVO   4V4M19EG5HN985097   VNM42T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66653     2016   VOLVO   4V4M19EG2GN944747   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66654     2016   VOLVO   4V4M19EG6GN944735   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66655     2017   VOLVO   4V4M19EG0HN962875   VNM42T    KS      Wichita
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66656     2016   FRGHT   3AKBGADV8GDHC3541   CAS113    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66658     2017   VOLVO   4V4M19EG9HN985121   VNM42T    CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66660     2017   VOLVO   4V4M19EG8HN985112   VNM42T    CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66661     2017   VOLVO   4V4M19EG7HN962923   VNM42T    CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66662     2016   FRGHT   1FUBGADV6GLHB3503   CAS113    GA      La Grange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66663     2016   VOLVO   4V4M19EG3GN944773   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66666     2016   VOLVO   4V4M19EG3GN944756   VNM42T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66667     2016   VOLVO   4V4M19EG5GN944760   VNM42T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66668     2016   VOLVO   4V4M19EGXGN944785   VNM42T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66669     2017   VOLVO   4V4M19EG7HN962906   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66670     2017   VOLVO   4V4M19EG6HN985089   VNM42T    CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66671     2017   VOLVO   4V4M19EG3HN962885   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66673     2016   VOLVO   4V4M19EG7GN944694   VNM42T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66674     2016   VOLVO   4V4M19EG5GN944757   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66675     2016   VOLVO   4V4M19EG3GN944742   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66676     2017   VOLVO   4V4M19EG3HN962935   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66677     2017   VOLVO   4V4M19EG1HN962870   VNM42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66678     2016   FRGHT   1FUBGADV0GLHB3545   CAS113    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66679     2014   FRGHT   1FUBGADV5ELFR1315   CA113DC   NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66680     2014   FRGHT   1FUBGADV3ELFR1314   CA113DC   NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66681     2016   FRGHT   1FUBGADV2GLHB5748   CA113DC   MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66682     2016   FRGHT   1FUBGADV4GLHB5718   CA113DC   NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66684     2016   FRGHT   1FUBGADV9GLHC3457   CA113DC   NJ      Carlstadt
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 430 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66685     2014   FRGHT   1FUBGADV1ELFR1313   CA113DC    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66686     2016   FRGHT   1FUBGADV1GLHB5711   CA113DC    NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66687     2014   FRGHT   1FUBGADV1ELFR1327   CA113DC    NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66688     2014   FRGHT   1FUBGADVXELFR1326   CA113DC    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66689     2016   FRGHT   1FUBGADV5GLHC3455   CA113DC    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66690     2016   FRGHT   1FUBGADVXGLHC3452   CA113DC    MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66691     2017   VOLVO   4V4M19EG5HN962919   VNM42T     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66692     2017   VOLVO   4V4M19EG3HN962904   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66693     2017   VOLVO   4V4M19EG8HN962896   VNM42T     NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66694     2017   VOLVO   4V4M19EG6HN985139   VNM42T     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66695     2017   VOLVO   4V4M19EG6HN962864   VNM42T     SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66696     2016   FRGHT   1FUBGADV9GLHB3544   CAS113     NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66697     2016   FRGHT   3AKBGADV4GDHC3522   CAS113     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66700     2017   VOLVO   4V4M19EG1HN985159   VNM42T     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66701     2017   VOLVO   4V4M19EG6HN985108   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66702     2017   VOLVO   4V4M19EGXHN962849   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66703     2017   VOLVO   4V4M19EG4HN962846   VNM42T     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66704     2017   VOLVO   4V4M19EG3HN962871   VNM42T     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66705     2017   VOLVO   4V4M19EG3HN985146   VNM42T     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66706     2017   VOLVO   4V4M19EG8HN985143   VNM42T     CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66707     2017   VOLVO   4V4M19EG8HN962901   VNM42T     MS      Richland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66708     2016   VOLVO   4V4M19EG0GN944794   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66709     2017   VOLVO   4V4M19EG8HN962929   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66710     2017   VOLVO   4V4M19EG2HN962909   VNM42T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66711     2016   VOLVO   4V4M19EG4GN944801   VNM42T     TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66712     2016   VOLVO   4V4M19EG1GN944755   VNM42T     PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66713     2016   FRGHT   3AKBGADV9GDHC3497   CAS113     MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66714     2017   VOLVO   4V4M19EG0HN962911   VNM42T     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66715     2017   VOLVO   4V4M19EG2HN985140   VNM42T     NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66716     2017   VOLVO   4V4M19EGXHN962916   VNM42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66717     2017   VOLVO   4V4M19EG7HN985098   VNM42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66718     2016   VOLVO   4V4M19EG9GN944650   VNM42T     OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66719     2017   VOLVO   4V4M19EG4HN985091   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66720     2017   VOLVO   4V4M19EG9HN985118   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66721     2014   FRGHT   1FUBGADV7ELFR1316   CA113DC    PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66722     2014   FRGHT   1FUBGADV0ELFR1318   CA113DC    PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66723     2014   FRGHT   1FUBGADV8ELFR1339   CA113DC    PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66724     2014   FRGHT   1FUBGADV7ELFR1347   CA113DC    PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66725     2016   FRGHT   1FUBGADV9GLHB5729   CA113DC    PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66726     2016   FRGHT   1FUBGADV4GLHB5749   CA113DC    MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66727     2016   FRGHT   1FUBGADV0GLHB5750   CA113DC    ME      Westbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66728     2016   FRGHT   1FUBGADV4GLHB5752   CA113DC    ME      Fairfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66729     2009   VOLVO   4V4M19EG39N263967   VNM42T     AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66730     2017   VOLVO   4V4M19EG1HN985131   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66731     2017   VOLVO   4V4M19EG2HN985087   VNM42T     CA      Calexico
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66732     2017   VOLVO   4V4M19EG2HN962912   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66733     2017   VOLVO   4V4M19EG8HN962882   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66734     2017   VOLVO   4V4M19EG8HN985160   VNM42T     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66735     2017   VOLVO   4V4M19EGXHN985144   VNM42T     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66736     2017   VOLVO   4V4M19EG5HN962936   VNM42T     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66737     2017   VOLVO   4V4M19EG6HN962895   VNM42T     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66738     2017   VOLVO   4V4M19EG6HN962900   VNM42T     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66739     2016   FRGHT   3AKBGADV3GDHC3494   CAS113     FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66740     2016   FRGHT   1FUBGADV3GLHB3510   CAS113     TN      Jackson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66741     2016   FRGHT   1FUBGADV1GLHB3523   CAS113     OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66742     2017   VOLVO   4V4M19EG5HN962922   VNM42T     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66743     2017   VOLVO   4V4M19EG2HN962862   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66744     2013   VOLVO   4V4N39EG1DN145861   VNL42300   CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66745     2017   VOLVO   4V4M19EG9HN985135   VNM42T     CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66746     2017   VOLVO   4V4M19EG7HN962937   VNM42T     CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66747     2017   VOLVO   4V4M19EG8HN962879   VNM42T     CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66748     2017   VOLVO   4V4M19EGXHN962866   VNM42T     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66749     2016   FRGHT   1FUBGADV3GLHC3454   CA113DC    PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66750     2009   VOLVO   4V4M19EF79N283954   VNM42T     PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66751     2014   FRGHT   1FUBGADVXELFR1312   CA113DC    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66752     2014   FRGHT   1FUBGADV3ELFV9141   CA113DC    NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66753     2016   FRGHT   1FUBGADV1GLHB5725   CA113DC    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66754     2006   FRGHT   1FUBA5CG86LV98169   CL1242S    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66755     2009   VOLVO   4V4M19EF49N264018   VNM42T     VA      Richmond
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 431 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66756     2017   VOLVO   4V4M19EG1HN962934   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66757     2017   VOLVO   4V4M19EGXHN962902   VNM42T    CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66758     2017   VOLVO   4V4M19EG4HN962880   VNM42T    CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66759     2017   VOLVO   4V4M19EG2HN985090   VNM42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66760     2017   VOLVO   4V4M19EG4HN962877   VNM42T    CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66761     2008   VOLVO   4V4M19EF28N498429   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66762     2008   VOLVO   4V4M19EF58N498442   VNM42T    NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66763     2008   VOLVO   4V4M19EF98N498427   VNM42T    MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66764     2007   VOLVO   4V4M19GF27N451686   VNM42T    NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66765     2009   VOLVO   4V4M19EF29N264020   VNM42T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66766     2007   INTL    2HSCDAHN67C424364   9200I     PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66767     2009   VOLVO   4V4M19EF59N283967   VNM42T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66768     2008   VOLVO   4V4M19EF08N498428   VNM42T    PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66770     2008   VOLVO   4V4M19EF19N264008   VNM42T    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66771     2007   INTL    2HSCDAHN77C424356   9200I     NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66772     2007   INTL    2HSCDAHN07C424358   9200I     NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66773     2008   VOLVO   4V4M19EFX8N264006   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66774     2007   INTL    2HSCDAHN37C424368   9200I     NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66775     2007   INTL    2HSCDAHN57C424369   9200I     NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66776     2016   FRGHT   1FUBGADV9GLHB5715   CA113DC   MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66777     2014   FRGHT   1FUBGADV0ELFV9176   CA113DC   MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66778     2016   FRGHT   1FUBGADV6GLHB5719   CA113DC   NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66779     2014   FRGHT   1FUBGADV9ELFR1334   CA113DC   PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66780     2016   FRGHT   1FUBGADV4GLHB5721   CA113DC   ME      Westbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66781     2014   FRGHT   1FUBGADV9ELFR1317   CA113DC   MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66782     2009   VOLVO   4V4M19EF89N264023   VNM42T    VT      Bellows Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66783     2016   FRGHT   1FUBGADV2GLHB5720   CA113DC   CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66784     2014   FRGHT   1FUBGADV7ELFV9174   CA113DC   PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66785     2016   FRGHT   1FUBGADV7GLHB5745   CA113DC   MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66786     2017   VOLVO   4V4M19EG6HN962847   VNM42T    MO      Strafford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66787     2017   VOLVO   4V4M19EG8HN985109   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66788     2017   VOLVO   4V4M19EGXHN962852   VNM42T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66789     2008   FRGHT   1FUBA6CK18LZ83943   CL120     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66790     2015   VOLVO   4V4M19EG4FN933215   VNM42T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66797     2006   NVSTR   2HSCPAPN66C225595   9400      OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66798     2006   NVSTR   2HSCPAPNX6C225597   9400      OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66799     2008   NVSTR   2HSCRAPN58C658709   PRO S     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66801     2006   NVSTR   2HSCPAPN36C225621   9400      OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66802     2007   NVSTR   2HSCPAPNX7C424585   9400      OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66803     2008   NVSTR   2HSCRAPN08C658701   PRO S     ID      Pocatello
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66804     2008   NVSTR   2HSCRAPN68C658704   PRO S     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66805     2008   NVSTR   2HSCRAPN98C658728   PRO S     MT      Butte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66806     2009   VOLVO   4V4M19EG89N263737   VNM42     MT      Butte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66807     2009   VOLVO   4V4M19EGX9N263738   VNM42     MT      Great Falls
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66808     2009   VOLVO   4V4M19EG89N263740   VNM42     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66810     2009   VOLVO   4V4M19EG49N263749   VNM42     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66811     2009   VOLVO   4V4M19EGX9N263755   VNM42     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66812     2009   VOLVO   4V4M19EH69N283915   VNM42     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66813     2008   NVSTR   2HSCRAPN78C658680   PRO S     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66814     2009   VOLVO   4V4M19EG39N263743   VNM42     UT      St. George
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66815     2009   VOLVO   4V4M19EH39N283922   VNM42     MT      Butte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66816     2009   VOLVO   4V4M19EH99N283925   VNM42     MT      Butte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66817     2009   VOLVO   4V4M19EH29N283930   VNM42     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66818     2009   VOLVO   4V4M19EH69N283932   VNM42     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66819     2009   VOLVO   4V4M19EH89N283933   VNM42     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66820     2009   VOLVO   4V4M19EH89N283947   VNM42     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66821     2014   VOLVO   4V4M19EH1EN161344   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66822     2014   VOLVO   4V4M19EH3EN161362   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66824     2009   NVSTR   2HSCYAHN29C167628   PRO S     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66825     2009   NVSTR   2HSCYAHN99C167630   PRO S     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66826     2009   VOLVO   4V4M19EG59N263761   VNM42     UT      St. George
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66827     2015   VOLVO   4V4M19EH0FN918218   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66828     2015   VOLVO   4V4M19EH1FN918227   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66829     2015   VOLVO   4V4M19EH5FN918232   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66830     2009   VOLVO   4V4M19EG29N263751   VNM42     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66831     2008   NVSTR   2HSCRAPN68C658721   PRO S     OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66832     2009   VOLVO   4V4M19EGX9N263724   VNM42     OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66833     2009   VOLVO   4V4M19EG59N263727   VNM42     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66836     2009   VOLVO   4V4M19EG99N263746   VNM42     OR      Portland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 432 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66837     2009   VOLVO   4V4M19EG69N263753   VNM42      WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66840     2009   VOLVO   4V4M19EH19N283918   VNM42      OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66841     2008   NVSTR   2HSCRAPNX8C658690   PRO S      WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66842     2015   VOLVO   4V4M19EHXFN918212   VNM42      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66843     2008   NVSTR   2HSCRAPN28C658697   PRO S      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66844     2009   VOLVO   4V4M19EG89N263754   VNM42      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66845     2009   VOLVO   4V4M19EHX9N283903   VNM42      WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66846     2008   NVSTR   2HSCRAPN88C658686   PRO S      TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66847     2009   VOLVO   4V4M19EH09N283909   VNM42      WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66848     2009   VOLVO   4V4M19EH99N283911   VNM42      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66851     2008   NVSTR   2HSCRAPN88C658705   PRO S      TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66853     2006   NVSTR   2HSCPAPN16C225603   9400       OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66855     2014   VOLVO   4V4M19EHXEN161424   VNM42      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66856     2009   VOLVO   4V4M19EG59N263744   VNM42      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66857     2015   VOLVO   4V4M19EH8FN918225   VNM42      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66858     2015   VOLVO   4V4M19EH3FN918231   VNM42      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66859     2016   NVSTR   3HSDGAPNXGN214538   PRO S      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66861     2006   NVSTR   2HSCPAPN66C225578   9400       TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66863     2016   NVSTR   3HSDGAPN2GN214520   PRO S      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66864     2006   NVSTR   2HSCPAPN86C225582   9400       TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66865     2016   NVSTR   3HSDGAPN5GN214527   PRO S      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66866     2016   NVSTR   3HSDGAPN6GN214567   PRO S      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66867     2008   NVSTR   2HSCRAPN58C658693   PRO S      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66868     2016   NVSTR   3HSDGAPN8GN214599   PRO S      CA      Hayward
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66869     2007   NVSTR   2HSCPAPN77C424589   9400       TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66871     2016   NVSTR   3HSDGAPN3GN214607   PRO S      CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66872     2016   NVSTR   3HSDGAPN6GN279614   PRO S      CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66873     2016   NVSTR   3HSDGAPN3GN279618   PRO S      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66883     2008   NVSTR   2HSCRAPN18C658691   PRO S      TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66884     2005   NVSTR   2HSCPAPNX5C047348   9400       TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66892     2007   NVSTR   2HSCPAPN47C424582   9400       TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66902     2009   VOLVO   4V4M19EHX9N283948   VNM42      CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66908     2008   NVSTR   2HSCRAPN98C658700   PRO S      TX      Abilene
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66909     2008   NVSTR   2HSCRAPN28C658716   PRO S      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66910     2009   VOLVO   4V4M19EH69N283929   VNM42T     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66912     2009   VOLVO   4V4M19EH29N283944   VNM42T     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66927     2003   INTL    3HSCDAXNX3N064042   9200I      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66929     2016   FRGHT   3AKBGADV7GDHC3501   CAS113     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66931     2006   VOLVO   4V4M19GF76N406063   VNM42T     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66932     2009   INTL    1HSHWAHN19J674261   8600 S/A   WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66933     2008   FRGHT   1FUBA6CK68LZ83937   CL120      WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66934     2008   FRGHT   1FUBA6CK88LZ83924   COLUMBIA   WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66935     2016   VOLVO   4V4M19EG0GN944763   VNM42T     GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66936     2017   VOLVO   4V4M19EG5HN985102   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66937     2017   VOLVO   4V4M19EG2HN985154   VNM42T     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66938     2017   VOLVO   4V4M19EG0HN985105   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66939     2017   VOLVO   4V4M19EGXHN985158   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66940     2017   VOLVO   4V4M19EG5HN962886   VNM42T     GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66941     2016   FRGHT   1FUBGADV2GLHB5751   CA113DC    PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66942     2008   VOLVO   4V4M19EF88N264005   VNM42T     MA      North Reading
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66943     2014   FRGHT   1FUBGADV1ELFR1330   CA113DC    MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66944     2014   FRGHT   1FUBGADV9ELFV9175   CA113DC    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66945     2006   INTL    2HSCDAHN46C288749   9200I      NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66946     2007   INTL    2HSCDAHN37C424354   9200I      PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66947     2007   INTL    2HSCDAHN27C424359   9200I      NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66948     2007   INTL    2HSCDAHN07C424375   9200I      PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66949     2007   INTL    2HSCDAHN67C424414   9200I      NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66951     2008   VOLVO   4V4M19EFX8N498436   VNM42T     NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66952     2008   VOLVO   4V4M19EF88N498452   VNM42T     PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66953     2008   VOLVO   4V4M19EF38N498455   VNM42T     PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66954     2008   VOLVO   4V4M19EF98N498458   VNM42T     PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66955     2008   VOLVO   4V4M19EF68N264004   VNM42T     VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66956     2009   VOLVO   4V4M19EF49N264049   VNM42T     NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66957     2009   VOLVO   4V4M19EF09N283956   VNM42T     DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66958     2009   VOLVO   4V4M19EF69N283962   VNM42T     PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66959     2009   VOLVO   4V4M19EFX9N283964   VNM42T     NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66960     2009   VOLVO   4V4M19EF99N283969   VNM42T     PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66961     2009   VOLVO   4V4M19EF79N283971   VNM42T     VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66962     2009   VOLVO   4V4M19EF99N283972   VNM42T     VA      Richmond
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 433 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66963     2009   VOLVO   4V4M19EF29N283974   VNM42T    PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66964     2009   VOLVO   4V4M19EF49N283975   VNM42T    DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66965     2009   VOLVO   4V4M19EF89N283977   VNM42T    DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66966     2014   FRGHT   1FUBGADV3ELFR1345   CA113DC   PA      Camp Hill
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66967     2016   FRGHT   1FUBGADV3GLHB5743   CA113DC   NH      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66968     2008   VOLVO   4V4M19EF48N264003   VNM42T    NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66969     2008   VOLVO   4V4M19EF48N498450   VNM42T    VA      Fishersville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66970     2009   VOLVO   4V4M19EFX9N283978   VNM42T    VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66971     2009   VOLVO   4V4M19EF69N283976   VNM42T    VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66973     2009   VOLVO   4V4M19EF59N264013   VNM42T    PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66974     2009   VOLVO   4V4M19EF59N264027   VNM42T    NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66975     2008   VOLVO   4V4M19EF58N498456   VNM42T    NY      Glenmont
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66976     2008   VOLVO   4V4M19EF88N498449   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66977     2009   VOLVO   4V4M19EF09N264047   VNM42T    NY      Brooklyn
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66978     2009   VOLVO   4V4M19EF89N283980   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66979     2008   VOLVO   4V4M19EFX8N498453   VNM42T    VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66980     2008   VOLVO   4V4M19EF98N498444   VNM42T    PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66981     2007   VOLVO   4V4M19GF57N451701   VNM42T    CT      Plantsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66982     2008   VOLVO   4V4M19EF18N498423   VNM42T    MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66983     2016   FRGHT   1FUBGADV0GLHC3458   CA113DC   PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66984     2008   VOLVO   4V4M19EF48N498433   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66986     2008   VOLVO   4V4M19EF68N498448   VNM42T    PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66987     2009   VOLVO   4V4M19EF19N283979   VNM42T    NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66988     2009   VOLVO   4V4M19EG99N263956   VNM42T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66989     2008   VOLVO   4V4M19EF88N498421   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66991     2009   VOLVO   4V4M19EFX9N264041   VNM42T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66998     2014   FRGHT   1FUBGADV6ELFV9165   CA113DC   MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY66999     2016   FRGHT   1FUBGADVXGLHB5738   CA113DC   NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67001     2009   VOLVO   4V4M19EF39N264043   VNM42T    PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67002     2007   INTL    2HSCDAHN97C424360   9200I     PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67003     2008   VOLVO   4V4M19EF78N498426   VNM42T    NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67004     2008   VOLVO   4V4M19EF58N498439   VNM42T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67005     2009   VOLVO   4V4M19EF39N283966   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67006     2009   VOLVO   4V4M19EF39N264009   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67007     2007   VOLVO   4V4M19GF27N451705   VNM42T    NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67008     2008   VOLVO   4V4M19EF68N498451   VNM42T    PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67009     2009   VOLVO   4V4M19EF19N264039   VNM42T    NH      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67010     2008   VOLVO   4V4M19EF78N498460   VNM42T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67011     2009   VOLVO   4V4M19EF99N264015   VNM42T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67012     2009   VOLVO   4V4M19EF89N264037   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67013     2009   VOLVO   4V4M19EF79N264014   VNM42T    MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67014     2007   INTL    2HSCDAHN97C424410   9200I     PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67016     2007   INTL    2HSCDAHN17C424367   9200I     VA      Fishersville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67017     2007   INTL    2HSCDAHN97C424374   9200I     VA      Fishersville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67018     2008   VOLVO   4V4M19EF28N498446   VNM42T    NC      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67019     2007   INTL    2HSCDAHN57C424355   9200I     NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67020     2009   VOLVO   4V4M19EF29N264048   VNM42T    NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67021     2009   VOLVO   4V4M19EF69N264022   VNM42T    MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67022     2007   INTL    2HSCDAHN87C424365   9200I     PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67023     2008   VOLVO   4V4M19EF18N498454   VNM42T    DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67024     2009   VOLVO   4V4M19EF19N283982   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67025     2007   VOLVO   4V4M19GF17N451694   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67027     2017   VOLVO   4V4M19EG8HN985093   VNM42T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67029     2017   VOLVO   4V4M19EG6HN962931   VNM42T    SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67030     2017   VOLVO   4V4M19EG3HN985082   VNM42T    TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67031     2017   VOLVO   4V4M19EG7HN985148   VNM42T    TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67032     2017   VOLVO   4V4M19EG1HN985114   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67033     2017   VOLVO   4V4M19EG1HN985100   VNM42T    LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67034     2017   VOLVO   4V4M19EGXHN985127   VNM42T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67035     2009   VOLVO   4V4M19EF19N264042   VNM42T    NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67037     2008   VOLVO   4V4M19EF38N498441   VNM42T    VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67038     2016   FRGHT   1FUBGADV5GLHB5744   CA113DC   NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67043     2017   VOLVO   4V4M19EG5HN985147   VNM42T    CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67044     2017   VOLVO   4V4M19EG4HN985110   VNM42T    FL      Ocala
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67045     2017   VOLVO   4V4M19EG9HN962910   VNM42T    SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67046     2017   VOLVO   4V4M19EG7HN962856   VNM42T    WY      Evansville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67047     2017   VOLVO   4V4M19EG7HN962839   VNM42T    WY      Evansville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67048     2017   VOLVO   4V4M19EG3HN962918   VNM42T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67049     2009   VOLVO   4V4M19EF09N264050   VNM42T    FL      Tampa
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 434 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67050     2008   VOLVO   4V4M19EF18N498437   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67051     2009   VOLVO   4V4M19EF99N264032   VNM42T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67052     2007   VOLVO   4V4M19GF87N451692   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67053     2006   FRGHT   1FUBA5CG26LV83893   CL1242S   FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67055     2017   VOLVO   4V4M19EG5HN962838   VNM42T    AL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67056     2017   VOLVO   4V4M19EG5HN962872   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67057     2017   MACK    1M1AW01Y5HM010177   CXU612    NH      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67082     2017   VOLVO   4V4M19EG8HN985157   VNM42T    AL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67083     2016   FRGHT   1FUBGADV1GLHB5742   CA113DC   PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67084     2009   VOLVO   4V4M19EF79N264031   VNM42T    FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67085     2008   VOLVO   4V4M19EF68N498420   VNM42T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67086     2007   VOLVO   4V4M19GF97N451703   VNM42T    VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67087     2008   VOLVO   4V4M19EF28N264002   VNM42T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67088     2008   VOLVO   4V4MC9EG78N498364   VNM42T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67089     2017   VOLVO   4V4M19EG7HN962842   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67090     2017   VOLVO   4V4M19EG0HN985136   VNM42T    TX      Lubbock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67091     2017   VOLVO   4V4M19EG1HN985095   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67092     2017   VOLVO   4V4M19EG3HN962840   VNM42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67093     2014   FRGHT   1FUBGADV5ELFV9139   CA113DC   FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67094     2009   VOLVO   4V4M19EF69N264036   VNM42T    ME      Fairfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67095     2007   VOLVO   4V4M19GF77N451697   VNM42T    DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67097     2009   VOLVO   4V4M19EF19N264025   VNM42T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67098     2017   VOLVO   4V4M19EG3HN962899   VNM42T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67100     2009   VOLVO   4V4M19EFX9N264024   VNM42T    VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67101     2006   FRGHT   1FUBA5CGX6LV98190   CL1242S   NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67102     2005   FRGHT   1FUBA5CG45LV11723   CL1242S   NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67110     2008   VOLVO   4V4M19EF98N498430   VNM42T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67112     2009   VOLVO   4V4M19EF49N264035   VNM42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67113     2009   VOLVO   4V4M19EFX9N283981   VNM42T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67114     2007   FRGHT   1FUBA5CG37LX85532   CL1242S   MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67115     2017   MACK    1M1AW01Y4HM010168   CXU612    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67116     2017   MACK    1M1AW01Y3HM010162   CXU612    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67117     2008   VOLVO   4V4M19EF78N498457   VNM42T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67118     2008   VOLVO   4V4M19EF48N498447   VNM42T    SC      North Charleston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67120     2007   VOLVO   4V4M19GF07N451685   VNM42T    VA      Richmond
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67122     2005   FRGHT   1FUBA5CGX5LV21818   CL1242S   NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67123     2005   FRGHT   1FUBA5CG85LU18123   CL1242S   SC      North Charleston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67128     2009   VOLVO   4V4M19EF89N264040   VNM42T    VA      Manassas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67129     2009   VOLVO   4V4M19EF69N264019   VNM42T    NC      Durham
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67132     2016   FRGHT   3AKGGEDV8GDHC4864   CAS113    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67133     2006   NVSTR   1HSMKAAN06H225676   4400      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67135     2007   VOLVO   4V4M19GF57N451696   VNM42T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67136     2007   VOLVO   4V4M19GF07N451699   VNM42T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67137     2009   VOLVO   4V4M19EF59N264044   VNM42T    VA      Manassas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67138     2017   MACK    1M1AW01Y6HM010155   CXU612    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67139     2014   FRGHT   1FUBGADV1ELFV9140   CA113DC   CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67140     2014   FRGHT   1FUBGADV5ELFV9142   CA113DC   DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67141     2007   INTL    2HSCDAHN57C424422   9200I     VA      Manassas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67142     2017   MACK    1M1AW01YXHM010160   CXU612    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67144     2017   MACK    1M1AW01Y8HM010156   CXU612    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67145     2007   VOLVO   4V4M19GF37N451700   VNM42T    DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67146     2009   VOLVO   4V4M19EF59N283970   VNM42T    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67147     2008   VOLVO   4V4M19EF58N498425   VNM42T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67149     2009   VOLVO   4V4M19EF19N283951   VNM42T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67150     2017   MACK    1M1AW01YXHM010157   CXU612    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67157     2017   MACK    1M1AW01Y1HM010158   CXU612    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67159     2008   NVSTR   2HSCRAPN38C658689   PRO S     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67161     2009   VOLVO   4V4M19EF39N283983   VNM42T    NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67162     2005   VOLVO   4V4M19GF15N405943   VNM42T    DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67164     2017   VOLVO   4V4M19EG4HN985155   VNM42T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67165     2017   VOLVO   4V4M19EG0HN985086   VNM42T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67166     2017   MACK    1M1AW01Y0HM010166   CXU612    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67167     2009   VOLVO   4V4M19EG19N263966   VNM42T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67189     2009   VOLVO   4V4M19EG69N263980   VNM42T    LA      New Orleans
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67190     2008   VOLVO   4V4M19EG38N262882   VNM42T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67191     2009   VOLVO   4V4M19EG39N263922   VNM42T    NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67192     2016   FRGHT   1FUBGADV8GLHB3499   CAS113    DE      Seaford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67193     2017   VOLVO   4V4M19EG0HN962889   VNM42T    GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67194     2017   VOLVO   4V4M19EG4HN962894   VNM42T    TX      Houston
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 435 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67195     2017   VOLVO   4V4M19EG0HN962858   VNM42T     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67196     2017   VOLVO   4V4M19EG6HN985111   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67197     2017   VOLVO   4V4M19EG2HN962926   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67198     2017   VOLVO   4V4M19EGXHN962883   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67199     2017   VOLVO   4V4M19EG8HN962851   VNM42T     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67200     2017   VOLVO   4V4M19EG0HN962925   VNM42T     GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67201     2017   VOLVO   4V4M19EGXHN962897   VNM42T     KY      Bowling Green
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67202     2017   VOLVO   4V4M19EG1HN985145   VNM42T     GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67205     2017   VOLVO   4V4M19EG9HN985104   VNM42T     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67206     2017   VOLVO   4V4M19EG7HN985151   VNM42T     LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67207     2017   VOLVO   4V4M19EG5HN985150   VNM42T     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67208     2017   VOLVO   4V4M19EG9HN962860   VNM42T     LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67209     2017   VOLVO   4V4M19EGXHN985094   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67210     2005   VOLVO   4V4M19GF45N383596   VNM42T     PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67211     2008   VOLVO   4V4M19GF07N406732   VNM42T     MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67235     2017   VOLVO   4V4M19EG0HN962892   VNM42T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67236     2017   VOLVO   4V4M19EG2HN985106   VNM42T     PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67237     2017   VOLVO   4V4M19EG6HN962850   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67241     2014   VOLVO   4V4N39EG9EN160352   VNL42300   CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67242     2017   VOLVO   4V4M19EG7HN985134   VNM42T     AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67243     2017   VOLVO   4V4M19EG8HN962865   VNM42T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67244     2017   VOLVO   4V4M19EG3HN985129   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67248     2017   VOLVO   4V4M19EG9HN962907   VNM42T     MS      Tupelo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67251     2007   INTL    2HSCDAHN07C424361   9200I      RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67252     2009   VOLVO   4V4M19EG39N263919   VNM42      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67255     2007   INTL    2HSCDAHN27C424362   9200I      RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67256     2005   INTL    1HSMTAANX5H106593   MCT        IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67257     2005   VOLVO   4V4M19GF55N378164   NA         IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67258     2004   VOLVO   4V4M19GF14N360338   NA         IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67261     2016   FRGHT   3AKBGADV1GDHC3493   CAS113     PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67262     2018   VOLVO   4V4W19EG0JN901721   VNR42T     PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67264     2012   VOLVO   4V4N39DF2CN538615   VNL42300   CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67265     2012   VOLVO   4V4N39DF1CN538623   VNL42300   CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67266     2012   VOLVO   4V4N39EG7CN556468   VNL42300   CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67267     2017   VOLVO   4V4M19EG4HN962927   VNM42T     CA      Calexico
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67268     2006   INTL    2HSCDAHN06C288747   9200I      PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67269     2005   INTL    2HSCDAHN35C003845   9200I      PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67270     2017   VOLVO   4V4M19EG2HN962859   VNM42T     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67274     2007   VOLVO   4V4M19GF07N451606   VNM42      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67277     2016   VOLVO   4V4M19EG6GN944749   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67278     2016   FRGHT   1FUBGADV2GLHB5717   CA113DC    NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67279     2016   FRGHT   1FUBGADV0GLHB5716   CA113DC    NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67280     2006   INTL    2HSCDAHN16C288689   9200I      GA      Savannah
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67281     2005   INTL    2HSCDAHN75C003850   9200I      GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67282     2007   INTL    2HSCDAHN57C424405   9200I      GA      Martinez
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67283     2006   INTL    2HSCDAHN36C288077   9200I      FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67286     2017   VOLVO   4V4M19EG0HN985119   VNM42T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67287     2005   VOLVO   4V4M19GF75N378151   VNM42T     NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67288     2005   INTL    2HSCDAHN45C003854   9200I      FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67291     2006   VOLVO   4V4M19GF46N406604   VNM42T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67292     2006   INTL    2HSCDAHN76C288700   9200I      FL      Orlando
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67293     2006   INTL    2HSCDAHN56C288713   9200I      FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67295     2005   MACK    1M1AK01Y85N001331   CXN612     PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67296     2005   MACK    1M1AK01Y55N001335   CXN612     PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67297     2005   MACK    1M1AK01Y75N001336   CXN612     PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67298     2005   MACK    1M1AK01Y65N001327   CXN612     NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67301     2018   KNWRT   1XKYAP8X1JJ214313   T680       TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67302     2006   INTL    2HSCDAHN56C288694   9200I      NH      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67303     2005   INTL    2HSCDAHNX5C003860   9200I      PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67304     2005   MACK    1M1AK01Y65N001943   CXN612     MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67307     2005   MACK    1M1AK01Y85N001300   CXN612     NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67308     2005   MACK    1M1AK01Y45N001309   CXN612     NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67309     2007   VOLVO   4V4M19GF07N451704   VNM42T     NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67310     2008   VOLVO   4V4M19EFX9N264007   VNM42T     NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67312     2016   FRGHT   3AKBGADV8GDHC3491   CAS113     SC      Columbia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67314     2008   VOLVO   4V4M19EG88N262862   VNM64      TX      Houston
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67315     2005   INTL    2HSCDAHN15C003844   9200I      MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67317     2005   MACK    1M1AK01Y35N001916   CXN612     NY      Plainview
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67319     2006   INTL    2HSCDAHN26C288684   9200I      PA      Bensalem
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 436 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67320     2014   VOLVO   4V4M19EH7EN161347   VNM42      NE      Bridgeport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67321     2014   VOLVO   4V4M19EH0EN161352   VNM42      NE      Bridgeport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67322     2006   NVSTR   2HSCPAPN96C225607   9400       CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67323     2006   NVSTR   2HSCPAPN46C225613   9400       CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67324     2007   INTL    2HSCNAPR17C445415   9400       CO      Aurora
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67325     2022   VOLVO   4V4W19EG3NN285857   VNR42T     PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67326     2005   INTL    2HSCDAHN95C003851   9200I      PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67327     2009   INTL    1HSHWAHN09J674283   8600 S/A   OR      Central Point
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67328     2009   INTL    1HSHWAHN69J674272   8600 S/A   NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67329     2006   INTL    2HSCDAHN76C288714   9200I      MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67330     2017   MACK    1M1AW01Y2HM010170   CXU612     PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67331     2005   MACK    1M1AK01Y75N001319   CXN612     NY      Elmira
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67332     2005   MACK    1M1AK01YX5N001332   CXN612     NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67333     2009   INTL    1HSHWAHNX9J674288   8600 S/A   NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67335     2007   VOLVO   4V4M19GF87N462532   VNM42      WI      Madison
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67336     2009   INTL    1HSHWAHN39J674262   8600 S/A   NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67337     2009   NVSTR   2HSCYAHN29C167632   PRO S      AZ      Flagstaff
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67338     2007   VOLVO   4V4M19GFX7N451497   VNM42T     OR      La Grande
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67339     2008   NVSTR   2HSCRAPN48C658703   PRO S      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67340     2009   VOLVO   4V4M19EH49N283914   VNM42      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67341     2009   VOLVO   4V4M19EH79N283907   VNM42      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67342     2009   VOLVO   4V4M19EG99N263732   VNM42      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67343     2009   VOLVO   4V4M19EG79N263731   VNM42      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67344     2008   NVSTR   2HSCRAPN48C658720   PRO S      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67345     2008   NVSTR   2HSCRAPN08C658715   PRO S      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67346     2008   FRGHT   2HSCRAPN18C658710   PRO S      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67347     2008   NVSTR   2HSCRAPN38C658708   PRO S      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67349     2018   VOLVO   4V4M19EG9JN887034   VNM42T     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67350     2018   PTRBL   1XPBAP8X8JD481625   579        CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67351     2018   PTRBL   1XPBAP8X7JD481633   579        CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67352     2018   PTRBL   1XPBAP8X9JD487014   579        CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67353     2018   PTRBL   1XPBAP8X2JD486982   579        CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67354     2018   VOLVO   4V4W19EG3JN901776   VNR42T     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67356     2007   VOLVO   4V4M19GF47N451706   VNM42      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67357     2008   NVSTR   2HSCRAPN18C658688   PRO S      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67358     2006   NVSTR   2HSCPAPN66C225600   9400       WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67360     2018   VOLVO   4V4W19EG8JN901773   VNR42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67361     2018   VOLVO   4V4W19EG7JN901764   VNR42T     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67362     2008   VOLVO   4V4M19EG68N498488   VNM42      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67363     2018   VOLVO   4V4W19EG7JN901697   VNR42T     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67364     2018   VOLVO   4V4W19EG3JN901728   VNR42T     CA      Adelanto
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67365     2018   VOLVO   4V4W19EG8JN901806   VNR42T     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67366     2018   VOLVO   4V4W19EG3JN901809   VNR42T     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67367     2018   VOLVO   4V4W19EG8JN901742   VNR42T     NV      Las Vegas
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67368     2018   VOLVO   4V4W19EG5JN901746   VNR42T     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67369     2018   PTRBL   1XPBAP8X6JD481638   579        CA      Downey
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67370     2018   PTRBL   1XPBAP8X5JD481629   579        CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67371     2008   NVSTR   2HSCRAPN48C658698   PRO S      WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67372     2018   VOLVO   4V4M19EG4JN887006   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67373     2018   VOLVO   4V4M19EG7JN886979   VNM42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67374     2018   VOLVO   4V4W19EG1JN901811   VNR42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67375     2018   VOLVO   4V4W19EGXJN901709   VNR42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67376     2018   VOLVO   4V4M19EG8JN887025   VNM42T     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67377     2018   VOLVO   4V4M19EG9JN895103   VNM42T     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67378     2018   VOLVO   4V4M19EG9JN895098   VNM42T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67379     2016   NVSTR   3HSDGAPN9GN214529   PRO S      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67380     2017   PTRBL   1XPBA48XXHD441846   579        CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67381     2017   PTRBL   1XPBA48X2HD441842   579        CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67382     2018   VOLVO   4V4M19EG3JN886980   VNM42T     CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67383     2018   VOLVO   4V4W19EG1JN901713   VNR42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67384     2018   PTRBL   1XPBAP8X1JD487007   579        CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67385     2014   VOLVO   4V4M19EH3EN161345   VNM42      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67386     2015   VOLVO   4V4M19EH3FN918228   VNM42      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67387     2016   NVSTR   3HSDGAPN3GN214610   PRO S      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67388     2016   NVSTR   3HSDGAPN5GN279619   PRO S      OR      Central Point
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67389     2017   PTRBL   1XPBA48X6HD441844   579        CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67391     2018   VOLVO   4V4M19EG9JN887017   VNM42T     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67392     2018   PTRBL   1XPBAP8X3JD484531   579        CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67394     2018   VOLVO   4V4W19EG6JN901786   VNR42T     CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 437 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67395     2018   VOLVO   4V4M19EGXJN887057   VNM42T    CA      Santa Maria
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67396     2018   VOLVO   4V4W19EG5JN901794   VNR42T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67397     2018   VOLVO   4V4W19EG4JN901768   VNR42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67398     2018   PTRBL   1XPBAP8X2JD484522   579       CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67399     2018   PTRBL   1XPBAP8X8JD486971   579       CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67400     2018   VOLVO   4V4M19EG6JN887069   VNM42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67401     2018   VOLVO   4V4W19EG2JN901722   VNR42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67402     2018   VOLVO   4V4W19EG7JN901747   VNR42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67403     2018   VOLVO   4V4W19EG9JN901748   VNR42T    CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67404     2018   VOLVO   4V4W19EG2JN901753   VNR42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67405     2018   VOLVO   4V4W19EG6JN901805   VNR42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67407     2018   VOLVO   4V4M19EG1JN887027   VNM42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67408     2018   VOLVO   4V4M19EG8JN887039   VNM42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67409     2018   PTRBL   1XPBAP8X8JD481642   579       GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67410     2017   PTRBL   1XPBA48X5HD441849   579       CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67412     2018   VOLVO   4V4W19EG8JN901756   VNR42T    CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67413     2018   VOLVO   4V4W19EG3JN901700   VNR42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67414     2018   PTRBL   1XPBAP8X0JD484535   579       CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67415     2017   PTRBL   1XPBA48X3HD412429   579       CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67416     2018   KNWRT   1XKYAP8X0JJ209877   T680      CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67417     2018   PTRBL   1XPBAP8X4JD487003   579       CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67418     2018   VOLVO   4V4M19EG9JN887048   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67419     2018   VOLVO   4V4M19EG3JN887062   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67420     2018   PTRBL   1XPBAP8X1JD481630   579       CA      Adelanto
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67421     2018   PTRBL   1XPBAP8X8JD486999   579       CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67422     2018   PTRBL   1XPBAP8X4JD487017   579       CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67423     2018   VOLVO   4V4W19EG6JN901710   VNR42T    CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67425     2018   VOLVO   4V4M19EG3JN895100   VNM42T    CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67426     2018   VOLVO   4V4M19EG9JN886997   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67427     2018   VOLVO   4V4M19EG6JN887010   VNM42T    CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67428     2018   VOLVO   4V4M19EG7JN887064   VNM42T    CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67429     2018   KNWRT   1XKYAP8X1JJ207636   T680      CA      Fontana
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67430     2018   KNWRT   1XKYAP8X6JJ214338   T680      UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67432     2018   VOLVO   4V4M19EG6JN895110   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67433     2018   KNWRT   1XKYAP8X6JJ214341   T680      CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67434     2018   VOLVO   4V4W19EG0JN901699   VNR42T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67435     2018   KNWRT   1XKYAP8XXJJ214309   T680      CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67436     2018   VOLVO   4V4M19EG3JN887014   VNM42T    CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67437     2018   VOLVO   4V4M19EG7JN887050   VNM42T    CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67438     2018   PTRBL   1XPBAP8X5JD481632   579       CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67439     2018   VOLVO   4V4M19EG0JN895085   VNM42T    CA      Fontana
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67440     2018   VOLVO   4V4W19EG5JN901715   VNR42T    CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67441     2018   PTRBL   1XPBAP8X0JD486981   579       CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67442     2018   PTRBL   1XPBAP8X8JD487005   579       CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67443     2018   VOLVO   4V4W19EGXJN901807   VNR42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67444     2018   VOLVO   4V4M19EG1JN886993   VNM42T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67445     2018   VOLVO   4V4M19EG5JN886995   VNM42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67446     2018   VOLVO   4V4W19EG8JN901711   VNR42T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67447     2018   VOLVO   4V4W19EG9JN901720   VNR42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67448     2018   VOLVO   4V4M19EG6JN887041   VNM42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67449     2018   PTRBL   1XPBAP8X7JD481650   579       CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67450     2018   KNWRT   1XKYAP8X0JJ207630   T680      CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67451     2005   KNWRT   2XKMAZ7X25M086206   T300      MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67452     2018   KNWRT   1XKYAP8X0JJ214335   T680      CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67453     2013   FRGHT   1FUBGDDV1DSBY2024   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67454     2013   FRGHT   1FUBGDDV9DSBU5030   CASCA     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67455     2015   VOLVO   4V4M19EH7FN918197   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67456     2016   NVSTR   3HSDGAPN8GN214537   PRO S     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67457     2016   NVSTR   3HSDGAPN5GN214561   PRO S     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67458     2018   VOLVO   4V4W19EGXJN901757   VNR42T    CA      Orange
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67460     2018   VOLVO   4V4W19EG8JN901787   VNR42T    UT      St. George
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67461     2018   VOLVO   4V4W19EG9JN901717   VNR42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67462     2018   VOLVO   4V4W19EG9JN901815   VNR42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67464     2018   PTRBL   1XPBAP8X4JD481640   579       IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67465     2018   VOLVO   4V4W19EG8JN899359   VNR42T    CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67466     2018   VOLVO   4V4M19EG5JN886978   VNM42T    CA      Ventura
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67467     2018   PTRBL   1XPBAP8X3JD481628   579       CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67469     2018   VOLVO   4V4M19EG7JN887002   VNM42T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67470     2018   VOLVO   4V4M19EG2JN887005   VNM42T    MO      Kansas City
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 438 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67471     2018   VOLVO   4V4M19EG4JN887068   VNM42T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67472     2018   VOLVO   4V4W19EG2JN901736   VNR42T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67473     2018   VOLVO   4V4W19EG7JN901702   VNR42T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67474     2018   VOLVO   4V4M19EG6JN895088   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67475     2018   VOLVO   4V4M19EG0JN887018   VNM42T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67476     2018   VOLVO   4V4M19EG1JN887030   VNM42T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67477     2012   FRGHT   1FUBGDDV1CSBL9432   CASCA     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67478     2012   VOLVO   4V4M19EHXCN555728   VNM42     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67479     2013   FRGHT   1FUBGDDVXDSBV0933   CASCA     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67480     2018   VOLVO   4V4M19EG3JN887028   VNM42T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67481     2018   VOLVO   4V4M19EG5JN887029   VNM42T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67482     2018   VOLVO   4V4W19EGXJN901788   VNR42T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67483     2018   PTRBL   1XPBAP8X1JD484530   579       MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67484     2018   PTRBL   1XPBAP8XXJD486986   579       FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67485     2018   VOLVO   4V4W19EG5JN901701   VNR42T    NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67486     2018   KNWRT   1XKYAP8X0JJ214299   T680      CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67487     2018   KNWRT   1XKYAP8X4JJ214337   T680      MS      Richland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67496     2018   VOLVO   4V4M19EG2JN895086   VNM42T    ND      Fargo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67497     2019   VOLVO   4V4W19EG3KN901875   VNR42T    ND      Fargo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67499     2018   VOLVO   4V4W19EG0JN901766   VNR42T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67500     2018   VOLVO   4V4M19EG0JN887035   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67501     2008   NVSTR   2HSCRAPN88C658719   PRO S     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67502     2018   VOLVO   4V4W19EG1JN901789   VNR42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67503     2018   VOLVO   4V4M19EGXJN886975   VNM42T    IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67504     2018   VOLVO   4V4W19EG4JN901771   VNR42T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67505     2018   PTRBL   1XPBAP8X5JD486992   579       IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67506     2018   PTRBL   1XPBAP8X9JD486980   579       IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67507     2018   KNWRT   1XKYAP8X1JJ214344   T680      IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67508     2018   KNWRT   1XKYAP8X3JJ214331   T680      IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67509     2018   PTRBL   1XPBAP8X5JD484529   579       IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67510     2018   PTRBL   1XPBAP8X9JD481648   579       IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67511     2018   PTRBL   1XPBAP8X6JD481641   579       IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67512     2018   PTRBL   1XPBAP8X2JD481636   579       IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67513     2018   KNWRT   1XKYAP8X1JJ207622   T680      IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67514     2018   VOLVO   4V4M19EG8JN886991   VNM42T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67517     2018   KNWRT   1XKYAP8X2JJ214305   T680      IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67518     2008   VOLVO   4V4M19EG08N498471   VNM42T    WY      Cheyenne
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67519     2018   VOLVO   4V4W19EG5JN901777   VNR42T    NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67520     2018   VOLVO   4V4M19EG0JN895099   VNM42T    NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67521     2018   VOLVO   4V4W19EG2JN901719   VNR42T    NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67522     2018   VOLVO   4V4W19EG3JN901714   VNR42T    NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67523     2018   VOLVO   4V4M19EG5JN887015   VNM42T    NE      Omaha
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67525     2018   VOLVO   4V4W19EGXJN901824   VNR42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67534     2018   VOLVO   4V4W19EGXJN901743   VNR42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67535     2018   VOLVO   4V4M19EGXJN895109   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67536     2018   VOLVO   4V4M19EG3JN895095   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67537     2018   VOLVO   4V4M19EGXJN895112   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67538     2018   VOLVO   4V4W19EG2JN901705   VNR42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67539     2018   VOLVO   4V4W19EG6JN901738   VNR42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67540     2018   VOLVO   4V4M19EG8JN895089   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67541     2018   VOLVO   4V4M19EG4JN887023   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67542     2018   VOLVO   4V4W19EG3JN901759   VNR42T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67543     2018   KNWRT   1XKYAP8X2JJ214322   T680      IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67544     2018   PTRBL   1XPBAP8X7JD486976   579       TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67545     2018   VOLVO   4V4W19EG4JN901723   VNR42T    TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67550     2018   PTRBL   1XPBAP8X0JD486978   579       IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67551     2018   PTRBL   1XPBAP8X1JD484527   579       IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67552     2018   VOLVO   4V4M19EG0JN887066   VNM42T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67553     2018   VOLVO   4V4M19EG2JN887067   VNM42T    NY      Mount Vernon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67554     2018   PTRBL   1XPBAP8XXJD481626   579       NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67555     2018   KNWRT   1XKYAP8X5JJ207638   T680      IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67556     2019   VOLVO   4V4W19EG0KN907651   VNR42T    PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67557     2019   VOLVO   4V4W19EG4KN907460   VNR42T    PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67558     2018   VOLVO   4V4M19EG1JN887061   VNM42T    PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67559     2018   VOLVO   4V4W19EG0JN901752   VNR42T    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67560     2018   VOLVO   4V4W19EG9JN901829   VNR42T    NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67562     2019   VOLVO   4V4W19EG8KN901841   VNR42T    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67563     2018   VOLVO   4V4W19EG1JN899350   VNR42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67564     2018   VOLVO   4V4W19EGXJN901810   VNR42T    NJ      Millville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 439 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67565     2018   VOLVO   4V4W19EG7JN901814   VNR42T    NJ      Millville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67566     2018   VOLVO   4V4M19EG0JN887004   VNM42T    NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67567     2018   VOLVO   4V4W19EG9JN899354   VNR42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67568     2017   VOLVO   4V4M19EG2HN962893   VNM42T    NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67569     2018   VOLVO   4V4M19EG5JN887046   VNM42T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67570     2018   VOLVO   4V4W19EG3JN901731   VNR42T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67571     2018   VOLVO   4V4M19EG7JN895083   VNM42T    MA      Shrewsbury
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67572     2018   VOLVO   4V4M19EG5JN895096   VNM42T    NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67573     2018   VOLVO   4V4W19EG6JN901755   VNR42T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67574     2018   KNWRT   1XKYAP8X7JJ209875   T680      ND      Fargo
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67575     2018   VOLVO   4V4W19EG3JN901745   VNR42T    NC      Wilmington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67576     2018   VOLVO   4V4W19EG5JN901827   VNR42T    NC      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67577     2018   VOLVO   4V4W19EG4JN901706   VNR42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67578     2018   VOLVO   4V4W19EG7JN901828   VNR42T    VA      Fishersville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67579     2018   VOLVO   4V4W19EG5JN901732   VNR42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67580     2018   VOLVO   4V4W19EG6JN901822   VNR42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67581     2018   VOLVO   4V4M19EG0JN886984   VNM42T    AL      Montgomery
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67582     2018   VOLVO   4V4M19EG9JN887003   VNM42T    GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67583     2018   VOLVO   4V4M19EG8JN887011   VNM42T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67584     2019   VOLVO   4V4W19EG4KN901917   VNR42T    PA      Bedford
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67585     2019   VOLVO   4V4W19EG5KN901926   VNR42T    NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67586     2018   VOLVO   4V4W19EG8JN901790   VNR42T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67587     2018   VOLVO   4V4W19EG0JN901735   VNR42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67588     2018   KNWRT   1XKYAP8XXJJ214312   T680      FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67589     2018   VOLVO   4V4W19EG2JN901817   VNR42T    NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67590     2019   VOLVO   4V4W19EG0KN901834   VNR42T    NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67591     2019   VOLVO   4V4W19EG6KN902003   VNR42T    GA      Macon
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67592     2018   VOLVO   4V4M19EG3JN887045   VNM42T    AZ      Nogales
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67593     2018   VOLVO   4V4W19EG7JN899353   VNR42T    DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67594     2018   VOLVO   4V4M19EG5JN887063   VNM42T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67595     2018   VOLVO   4V4M19EG7JN887033   VNM42T    PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67596     2018   VOLVO   4V4M19EG7JN886982   VNM42T    WY      Evansville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67597     2019   VOLVO   4V4W19EGXKN907592   VNR42T    NJ      Millville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67598     2019   VOLVO   4V4W19EG1KN907691   VNR42T    DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67599     2018   VOLVO   4V4M19EG0JN887021   VNM42T    OH      Lima
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67600     2018   VOLVO   4V4W19EG1JN901792   VNR42T    WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67601     2018   VOLVO   4V4M19EG9JN887020   VNM42T    SC      Florence
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67602     2018   VOLVO   4V4M19EG4JN887037   VNM42T    NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67603     2018   VOLVO   4V4W19EG1JN901761   VNR42T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67604     2018   VOLVO   4V4M19EG3JN886977   VNM42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67605     2018   VOLVO   4V4W19EG7JN901781   VNR42T    WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67607     2019   VOLVO   4V4W19EG2KN901995   VNR42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67608     2018   VOLVO   4V4W19EG3JN901812   VNR42T    PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67609     2019   VOLVO   4V4W19EG0KN902014   VNR42T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67610     2018   VOLVO   4V4W19EG1JN901730   VNR42T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67611     2018   VOLVO   4V4M19EG1JN895094   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67612     2019   VOLVO   4V4W19EG4KN901903   VNR42T    MS      Richland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67613     2018   VOLVO   4V4W19EG4JN901754   VNR42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67614     2018   VOLVO   4V4W19EGXJN901791   VNR42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67615     2018   VOLVO   4V4M19EG7JN895097   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67616     2016   FRGHT   1FUBGADV0GLHB5747   CA113DC   NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67617     2007   FRGHT   1FUBA5CGX7LX85544   CL1242S   NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67618     2018   VOLVO   4V4M19EGXJN887026   VNM42T    MI      Norway
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67620     2018   VOLVO   4V4W19EG4JN901804   VNR42T    MI      Norway
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67621     2018   VOLVO   4V4W19EG1JN901727   VNR42T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67622     2019   VOLVO   4V4W19EG4KN907409   VNR42T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67623     2018   KNWRT   1XKYAP8X6JJ214307   T680      TN      Nashville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67630     2005   INTL    3HSCPSBN45N051357   PTK       TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67631     2016   NVSTR   3HSDGAPN6GN214519   PRO S     OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67632     2005   KNWRT   2XKMAZ7X75M086198   T300      NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67633     2018   VOLVO   4V4M19EGXJN886989   VNM42T    PA      Camp Hill
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67634     2018   VOLVO   4V4M19EG2JN887036   VNM42T    DE      New Castle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67635     2018   VOLVO   4V4W19EG2JN901767   VNR42T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67636     2019   VOLVO   4V4W19EG3KN907661   VNR42T    GA      Jefferson
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67637     2018   VOLVO   4V4W19EG5JN899352   VNR42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67638     2018   VOLVO   4V4M19EG8JN886988   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67639     2018   VOLVO   4V4M19EG3JN887031   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67640     2018   VOLVO   4V4M19EG6JN886990   VNM42T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67641     2019   VOLVO   4V4W19EG2KN902015   VNR42T    FL      Miami
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 440 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67643    2018   PTRBL   1XPBAP8X6JD481624   579       OH      Lima
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67644    2019   VOLVO   4V4W19EG6KN907413   VNR42T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67645    2019   VOLVO   4V4W19EG5KN901991   VNR42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67646    2019   VOLVO   4V4W19EG5KN902008   VNR42T    VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67647    2019   VOLVO   4V4W19EGXKN907608   VNR42T    PA      Neville Island
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67653    2018   VOLVO   4V4M19EG4JN887054   VNM42T    NC      Wilmington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67654    2018   VOLVO   4V4W19EG2JN901820   VNR42T    NC      Jacksonville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67658    2018   VOLVO   4V4M19EG8JN886974   VNM42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67659    2019   VOLVO   4V4W19EG6KN901840   VNR42T    PA      Neville Island
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67660    2019   VOLVO   4V4W19EG3KN907563   VNR42T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐SA   RDWY67668    2019   VOLVO   4V4W19EG7KN901930   VNR42T    PA      Camp Hill
 YRCF     CITY TRACTOR     CTR‐SA   RDWY71097    2006   NVSTR   1HSMKAAN16H225671   4400      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78003    2012   FRGHT   1FUBGDDV0CSBL9504   9400      CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78006    2012   FRGHT   1FUBGDDV1CSBL9429   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78010    2013   FRGHT   1FUBGDDV4DSBU4867   CASCA     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78011    2013   FRGHT   1FUBGDDV4DSBU4917   CASCA     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78013    2012   FRGHT   1FUBGDDVXCSBL9431   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78017    2013   FRGHT   1FUBGDDV0DSBU4977   CASCA     TX      Abilene
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78020    2013   FRGHT   1FUBGDDV3DSBU4956   CASCA     CA      Downey
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78025    2013   FRGHT   1FUBGDDV5DSBU5011   CASCA     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78026    2012   FRGHT   1FUBGDDV6CSBD6585   CASCA     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78027    2013   FRGHT   1FUBGDDV8DSBU5018   CASCA     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78032    2012   FRGHT   1FUBGDDV9CLBH5293   CASCA     NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78037    2014   FRGHT   3AKBGDDV3ESFV6777   CASCA     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78039    2012   FRGHT   1FUBGDDV0CSBD3021   CASCA     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78043    2012   FRGHT   1FUBGDDV7CSBN3383   CASCA     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78045    2012   FRGHT   1FUBGDDV5CSBD6593   CASCA     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78050    2013   FRGHT   1FUBGDDV6DSBU5003   CASCA     CA      West Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78065    2012   FRGHT   1FUBGDDV5CSBN3382   CASCA     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78068    2013   FRGHT   1FUBGDDVXDLBZ2321   CASCA     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78069    2013   FRGHT   1FUBGDDV1DLBZ2322   FLD11     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78070    2015   FRGHT   3AKBGDDV4FSGB5588   CASCA     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78073    2015   FRGHT   3AKBGDDV3FSGC9756   FLD11     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78074    2015   FRGHT   3AKBGDDV7FSGC9758   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78087    2013   FRGHT   1FUBGDDVXDSBY2023   CASCA     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78088    2013   FRGHT   1FUBGDDV9DLBY1035   FLD11     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78089    2013   FRGHT   1FUBGDDV6DSBU4918   FLD11     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78092    2012   FRGHT   1FUBGDDV3CSBL9402   CASCA     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78094    2013   FRGHT   1FUBGDDV1DLBZ5091   CASCA     NV      Sparks
 YRCF     CITY TRACTOR     CTR‐SA   RDWY78100    2013   FRGHT   1FUBGDDV5DSBU5025   CASCA     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781391   2005   NVSTR   2HSCPAPN75C047324   9400      MT      Butte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781414   2005   NVSTR   2HSCPAPN85C047347   9400      MT      Butte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781450   2006   NVSTR   2HSCPAPNX6C225602   9400      WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781535   2008   NVSTR   2HSCRAPN58C658712   PRO S     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781537   2008   NVSTR   2HSCRAPN98C658714   PRO S     MT      Butte
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781569   2007   VOLVO   4V4M19EG68N498491   VNM42     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781570   2007   VOLVO   4V4M19EG88N498492   VNM42     WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781582   2007   VOLVO   4V4M19GFX7N451712   VNM42     WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781585   2007   VOLVO   4V4M19GF57N451715   VNM42     OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781586   2007   VOLVO   4V4M19GF77N451716   VNM42     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781588   2007   VOLVO   4V4M19GF07N451718   VNM42     WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781594   2007   VOLVO   4V4M19GF67N451724   VNM42     OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781600   2007   VOLVO   4V4M19EG78N498502   VNM42     OR      Portland
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781604   2007   VOLVO   4V4M19EG48N498506   VNM42     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781610   2008   VOLVO   4V4M19EGX8N498512   VNM42     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781621   2007   VOLVO   4V4M19EG48N498523   VNM42     WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781663   2009   VOLVO   4V4M19EG49N263752   VNM42     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781708   2009   VOLVO   4V4M19EH39N283936   VNM42     WA      Pasco
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781718   2009   VOLVO   4V4M19EH69N283946   VNM42     WA      Seattle
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781721   2009   VOLVO   4V4M19EH19N283949   VNM42     TX      El Paso
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781738   2012   VOLVO   4V4M19EHXCN555700   VNM42     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781739   2012   VOLVO   4V4M19EH1CN555701   VNM42     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781741   2012   VOLVO   4V4M19EH5CN555703   VNM42     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781750   2012   VOLVO   4V4M19EH6CN555712   VNM42     NM      Albuquerque
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781751   2012   VOLVO   4V4M19EH8CN555713   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781754   2012   VOLVO   4V4M19EH3CN555716   VNM42     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781755   2012   VOLVO   4V4M19EH5CN555717   VNM42     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781759   2012   VOLVO   4V4M19EH7CN555721   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781764   2012   VOLVO   4V4M19EH6CN555726   VNM42     CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 441 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781770   2012   VOLVO   4V4M19EH1CN555732   VNM42     CA      Visalia
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781772   2012   VOLVO   4V4M19EH5CN555734   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781774   2012   VOLVO   4V4M19EH9CN555736   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781782   2012   VOLVO   4V4M19EH8CN555744   VNM42     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781788   2014   VOLVO   4V4M19EH7EN150879   VNM42     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781837   2014   VOLVO   4V4M19EHXEN161410   VNM42     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781853   2014   VOLVO   4V4M19EH3EN161426   VNM42     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781854   2014   VOLVO   4V4M19EH5EN161427   VNM42     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781858   2014   VOLVO   4V4M19EH7EN161431   VNM42     CA      San Bernardino
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781878   2015   VOLVO   4V4M19EH1FN918194   VNM42     CA      Sacramento
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781934   2016   NVSTR   3HSDGAPN2GN214517   PRO S     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781935   2016   NVSTR   3HSDGAPN4GN214518   PRO S     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781958   2016   NVSTR   3HSDGAPN0GN214564   PRO S     CA      Fontana
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781966   2016   NVSTR   3HSDGAPNXGN214572   PRO S     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781967   2016   NVSTR   3HSDGAPN1GN214573   PRO S     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781975   2016   NVSTR   3HSDGAPN0GN214600   PRO S     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY781981   2016   NVSTR   3HSDGAPN1GN214606   PRO S     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐SA   RDWY79015    2014   FRGHT   1FUJGBDV1ELFV9155   CA113DC   PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐SA   RDWY79334    2008   VOLVO   4V4M19GF57N451651   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐SA   RDWY79510    2009   VOLVO   4V4MC9EG99N283604   VNM64T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐SA   RDWY79514    2006   VOLVO   4V4MC9GF36N405891   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY47492    2008   VOLVO   4V4M19EGX8N498462   VNM42T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY48002    2017   VOLVO   4V4M19EG5HN985164   VNM42T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY48006    2017   VOLVO   4V4M19EG6HN985173   VNM42T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY66344    2007   VOLVO   4V4MC9GF67N480991   VNM64T    NY      East Syracuse
 YRCF     CITY TRACTOR     CTR‐TA   RDWY66593    2016   FRGHT   1FUBGADV8GLHB3504   CAS113    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐TA   RDWY66594    2016   FRGHT   1FUBGADV7GLHB3512   CAS113    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐TA   RDWY66595    2016   FRGHT   3AKBGADV7GDHC3482   CAS113    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY66596    2016   FRGHT   3AKBGADV4GDHC3469   CAS113    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY66930    2008   VOLVO   4V4MC9EG18N498313   VNM64T    WA      Seattle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY67238    2008   VOLVO   4V4MC9EG58N498363   VNM64     OH      Lima
 YRCF     CITY TRACTOR     CTR‐TA   RDWY67254    2017   FRGHT   1FUGGEDV0HLHS3902   CASCA     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY67263    2017   FRGHT   1FUGGEDV2HLHS4016   CASCA     MS      Richland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY67313    2014   FRGHT   1FUBGADV5ELFV9173   CA113DC   PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69002    2006   VOLVO   4V4MC9GF46N439628   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69003    2009   VOLVO   4V4MC9EG19N283659   VNM64T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69004    2008   VOLVO   4V4MC9EG58N262716   VNM64T    TN      Jackson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69005    2009   VOLVO   4V4MC9EG19N263766   VNM64T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69007    2009   VOLVO   4V4MC9EG79N283603   VNM64T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69008    2009   VOLVO   4V4MC9EG19N283676   VNM64T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69009    2007   VOLVO   4V4MC9GF17N480963   VNM64T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69011    2008   VOLVO   4V4MC9GGX8N461970   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69012    2009   VOLVO   4V4MC9EG39N283825   VNM64T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69013    2009   VOLVO   4V4MC9EG29N283640   VNM64T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69015    2007   VOLVO   4V4MC9GF17N449499   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69017    2009   VOLVO   4V4MC9EG39N263770   VNM64T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69018    2009   VOLVO   4V4MC9EG59N283650   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69019    2009   VOLVO   4V4MC9EG99N263773   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69021    2009   VOLVO   4V4MC9EG39N283680   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69022    2007   VOLVO   4V4MC9GF37N449343   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69023    2007   VOLVO   4V4MC9GF77N461897   VNM64T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69024    2009   VOLVO   4V4MC9EG09N283619   VNM64T    TX      Sherman
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69025    2009   VOLVO   4V4MC9EG59N283664   VNM64T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69026    2009   VOLVO   4V4MC9EG19N283838   VNM64T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69027    2008   VOLVO   4V4MC9EH88N262007   VNM64T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69028    2009   VOLVO   4V4MC9EGX9N263782   VNM64T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69031    2008   VOLVO   4V4MC9EG68N262773   VNM64T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69032    2006   VOLVO   4V4MC9GF96N405734   VNM64T    NE      Omaha
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69033    2006   VOLVO   4V4MC9GF26N439630   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69035    2007   VOLVO   4V4MC9GF07N480999   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69036    2007   VOLVO   4V4MC9GG37N461937   VNM64T    AL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69039    2007   VOLVO   4V4MC9GF07N480985   VNM64T    UT      St. George
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69041    2009   VOLVO   4V4MC9EG89N283609   VNM64T    PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69042    2007   VOLVO   4V4MC9GF77N461902   VNM64T    PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69043    2008   VOLVO   4V4MC9GGX8N462018   VNM64T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69047    2007   VOLVO   4V4MC9GF47N449352   VNM64T    IA      Council Bluffs
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69049    2007   VOLVO   4V4MC9GF37N480995   VNM64T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69050    2009   VOLVO   4V4MC9EG39N283629   VNM64T    PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69052    2009   VOLVO   4V4MC9EG59N283860   VNM64T    CO      Aurora
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 442 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69053     2008   VOLVO   4V4MC9EG68N262711   VNM64T      TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69054     2008   VOLVO   4V4MC9EG08N262722   VNM64T      MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69055     2007   VOLVO   4V4MC9GF67N461907   VNM64T      NE      Omaha
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69056     2009   VOLVO   4V4MC9EG49N283638   VNM64T      MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69058     2007   VOLVO   4V4MC9GF97N461917   VNM64T      IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69059     2009   VOLVO   4V4MC9EG99N283652   VNM64T      NE      Omaha
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69060     2009   VOLVO   4V4MC9EG09N283670   VNM64T      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69061     2007   VOLVO   4V4MC9GF47N449514   VNM64T      TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69063     2007   VOLVO   4V4MC9GF57N449537   VNM64T      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69064     2008   VOLVO   4V4MC9EG78N262751   VNM64T      TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69065     2008   VOLVO   4V4MC9EG48N262786   VNM64T      TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69066     2008   VOLVO   4V4MC9EG08N498321   VNM64T      AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69067     2008   VOLVO   4V4MC9GG98N461975   VNM64T      TX      Sherman
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69068     2008   VOLVO   4V4MC9GG38N462023   VNM64T      NE      Omaha
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69069     2009   VOLVO   4V4MC9EG09N283684   VNM64T      TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69070     2008   VOLVO   4V4MC9EG48N262772   VNM64T      IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69071     2007   VOLVO   4V4MC9GF67N480943   VNM64T      TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69072     2009   VOLVO   4V4MC9EG89N283657   VNM64T      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69073     2009   VOLVO   4V4MC9EGX9N283675   VNM64T      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69074     2007   VOLVO   4V4MC9GF77N449328   VNM64T      IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69075     2007   VOLVO   4V4MC9GFX7N449517   VNM64T      TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69076     2008   VOLVO   4V4MC9GG98N461958   VNM64T      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69078     2009   VOLVO   4V4MC9EG79N283844   VNM64T      OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69079     2009   VOLVO   4V4MC9EG29N283637   VNM64T      OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69080     2009   VOLVO   4V4MC9EG79N283651   VNM64T      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69081     2007   VOLVO   4V4MC9GF07N449543   VNM64T      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69082     2007   VOLVO   4V4MC9GF77N480997   VNM64T      TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69083     2007   VOLVO   4V4MC9GG17N461936   VNM64T      MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69084     2006   VOLVO   4V4MC9GF56N439590   VNM64T      MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69085     2005   VOLVO   4V4MC9GF05N387753   VNM64T200   IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69086     2008   VOLVO   4V4MC9GG48N461964   VNM64T      IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69087     2008   VOLVO   4V4MC9EG68N498307   VNM64T      IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69090     2009   VOLVO   4V4MC9EGX9N283854   VNM64T      SD      Sioux Falls
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69091     2009   VOLVO   4V4MC9EG39N283615   VNM64T      IA      Sioux City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69092     2009   VOLVO   4V4MC9EG99N283831   VNM64T      WI      Madison
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69093     2009   VOLVO   4V4MC9EG69N283821   VNM64T      OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69094     2009   VOLVO   4V4MC9EGX9N283837   VNM64T      MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69095     2007   VOLVO   4V4MC9GF47N461906   VNM64T      TX      Waco
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69096     2008   VOLVO   4V4MC9EG78N262782   VNM64T      MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69097     2007   VOLVO   4V4MC9GF17N446733   VNM64T      IA      Sioux City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69098     2009   VOLVO   4V4MC9EG29N283864   VNM64T      TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69099     2009   VOLVO   4V4MC9EG29N283623   VNM64T      AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69100     2008   VOLVO   4V4MC9EH68N262006   VNM64T      MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69101     2005   VOLVO   4V4MC9GF65N383450   VNM64T      CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69102     2008   VOLVO   4V4MC9EH18N262012   VNM64T      MI      Romulus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69103     2012   VOLVO   4V4MC9EG6CN555629   VNM64T      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69104     2008   VOLVO   4V4MC9EG98N262752   VNM64T      IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69105     2012   VOLVO   4V4MC9EG4CN555631   VNM64T      NV      Sparks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69106     2012   VOLVO   4V4MC9EG8CN555633   VNM64T      MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69107     2012   VOLVO   4V4MC9EG1CN548538   VNM64T      CA      San Diego
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69108     2012   VOLVO   4V4MC9EG7CN555624   VNM64T      OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69110     2009   VOLVO   4V4MC9EG59N283681   VNM64T      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69111     2008   VOLVO   4V4MC9EG78N498297   VNM64T      WV      Charleston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69112     2007   VOLVO   4V4MC9GF57N449358   VNM64T      IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69113     2009   VOLVO   4V4MC9EG29N283850   VNM64T      GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69114     2012   VOLVO   4V4MC9EG0CN555626   VNM64T      CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69115     2012   VOLVO   4V4MC9EG2CN555630   VNM64T      CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69116     2007   VOLVO   4V4MC9GF27N461905   VNM64T      TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69117     2012   VOLVO   4V4MC9EG9CN555625   VNM64T      NV      Sparks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69118     2009   VOLVO   4V4MC9EG49N283851   VNM64T      MO      Columbia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69120     2006   VOLVO   4V4MC9GF26N405851   VNM64T      IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69124     2007   VOLVO   4V4MC9GF27N461922   VNM64T      PA      Bedford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69134     2009   VOLVO   4V4MC9EG79N283617   VNM64T      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69136     2009   VOLVO   4V4MC9EG59N283826   VNM64T      PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69137     2009   VOLVO   4V4MC9EG89N263795   VNM64T      TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69149     2008   VOLVO   4V4MC9GG78N462011   VNM64T      WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69157     2007   VOLVO   4V4MC9GF47N449500   VNM64T      TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69159     2009   VOLVO   4V4MC9EG69N283673   VNM64T      IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69160     2008   VOLVO   4V4MC9EG78N262720   VNM64T      IL      Bolingbrook
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 443 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69161     2009   VOLVO   4V4MC9EG09N283605   VNM64T     IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69162     2009   VOLVO   4V4MC9EG39N263784   VNM64T     IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69164     2008   VOLVO   4V4MC9EG48N262707   VNM64T     PA      Bedford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69166     2009   VOLVO   4V4MC9EG29N283654   VNM64T     WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69167     2007   VOLVO   4V4MC9GF97N449492   VNM64T     TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69216     2008   VOLVO   4V4MC9GG28N461963   VNM64T     IA      Mason City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69247     2007   VOLVO   4V4MC9GF27N449544   VNM64T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69251     2007   VOLVO   4V4MC9GF57N449361   VNM64T     GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69259     2009   VOLVO   4V4MC9EG99N283618   VNM64T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69260     2009   VOLVO   4V4MC9EG19N283824   VNM64T     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69281     2008   VOLVO   4V4MC9EG18N262731   VNM64T     PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69284     2001   VOLVO   4V4MC9RF41N306809   VNM64T     WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69285     2007   VOLVO   4V4MC9GF97N449346   VNM64T     GA      Jefferson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69294     2001   VOLVO   4V4MC9RF31N306820   VNM64T     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69315     2001   VOLVO   4V4MC9RF51N319293   VNM64T     HI      Waipahu
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69321     2012   VOLVO   4V4MC9EG3CN555636   VNM64T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69322     2008   VOLVO   4V4MC9EG88N498275   VNM64T     PA      Erie
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69324     2007   VOLVO   4V4MC9GF47N449335   VNM64T     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69325     2008   VOLVO   4V4MC9EG28N262768   VNM64T     IA      Sioux City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69326     2006   VOLVO   4V4MC9GF96N439611   VNM64T     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69327     2007   VOLVO   4V4MC9GF47N449478   VNM64T     MO      Columbia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69328     2007   VOLVO   4V4MC9GF87N449337   VNM64T     TN      Jackson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69329     2007   VOLVO   4V4MC9GF57N461901   VNM64T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69330     2008   VOLVO   4V4MC9EH78N261995   VNM64T     UT      St. George
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69331     2008   VOLVO   4V4MC9EH88N262010   VNM64T     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69332     2008   VOLVO   4V4MC9EH08N261997   VNM64T     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69333     2009   VOLVO   4V4MC9EG49N283624   VNM64T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69334     2007   VOLVO   4V4MC9GF87N449354   VNM64T     AR      Springdale
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69335     2009   VOLVO   4V4MC9EG49N283607   VNM64T     ND      Fargo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69336     2008   VOLVO   4V4MC9GG08N461959   VNM64T     GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69337     2008   VOLVO   4V4MC9EH18N262009   VNM64T     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69339     2008   VOLVO   4V4MC9EG38N262715   VNM64T     WV      Charleston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69340     2008   VOLVO   4V4MC9EGX8N262727   VNM64T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69342     2008   VOLVO   4V4MC9GG38N461972   VNM64T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69345     2009   VOLVO   4V4MC9EG29N283606   VNM64T     PA      Erie
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69346     2007   VOLVO   4V4MC9GF37N446734   VNM64T     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69347     2008   VOLVO   4V4MC9EG78N498302   VNM64T     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69349     2009   VOLVO   4V4MC9EGX9N283823   VNM64T     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69350     2012   VOLVO   4V4MC9EG2CN555627   VNM64T     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69351     2012   VOLVO   4V4MC9EG5CN555640   VNM64T     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69352     2005   VOLVO   4V4MC9GF55N405664   VNM64T     IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69353     2012   VOLVO   4V4MC9EG1CN555635   VNM64T     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69355     2013   VOLVO   4V4NC9EG0DN135399   VNL64300   CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69356     2007   VOLVO   4V4MC9GF27N449513   VNM64T     TX      Waco
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69357     2015   VOLVO   4V4NC9EG9FN909118   VNL64300   CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69359     2008   VOLVO   4V4MC9GG78N461991   VNM64T     TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69360     2013   VOLVO   4V4NC9EG7DN135397   VNL64300   NV      Sparks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69370     2008   VOLVO   4V4MC9EG18N262714   VNM64T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69371     2008   VOLVO   4V4MC9EG48N498290   VNM64T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69372     2007   VOLVO   4V4MC9GF07N449476   VNM64T     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69373     2001   VOLVO   4V4MC9RF41N319401   VNM64T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69376     2009   VOLVO   4V4MC9EG39N283677   VNM64T     TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69377     2007   VOLVO   4V4MC9GFX7N480959   VNM64T     DE      New Castle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69382     2008   VOLVO   4V4MC9GG18N462005   VNM64T     NH      Bedford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69385     2006   VOLVO   4V4MC9GF36N405714   VNM64T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69386     2008   VOLVO   4V4MC9GG78N461957   VNM64T     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69387     2008   VOLVO   4V4MC9EG98N262783   VNM64T     VA      Manassas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69388     2009   VOLVO   4V4MC9EG49N263776   VNM64T     TX      Waco
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69389     2008   VOLVO   4V4MC9GG08N462013   VNM64T     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69390     2007   VOLVO   4V4MC9GF17N449325   VNM64T     AL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69391     2007   VOLVO   4V4MC9GF77N449345   VNM64T     NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69392     2008   VOLVO   4V4MC9EG18N262762   VNM64T     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69393     2009   VOLVO   4V4MC9EG79N283827   VNM64T     NV      Sparks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69396     2008   VOLVO   4V4MC9GGX8N461998   VNM64T     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69397     2007   VOLVO   4V4MC9GF77N449541   VNM64T     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69398     2009   VOLVO   4V4MC9EGX9N283644   VNM64T     NV      Sparks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69399     2006   VOLVO   4V4MC9GF76N439607   VNM64T     MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69401     2007   VOLVO   4V4MC9GF77N461916   VNM64T     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69403     2002   VOLVO   4V4MC9RF92N324708   VNM64T     LA      New Orleans
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 444 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69409     2002   VOLVO   4V4MC9RFX2N319467   VNM64T         MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69418     2001   VOLVO   4V4MC9RF01N319279   VNM64T         TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69432     2001   VOLVO   4V4MC9RF01N319332   VNM64T         IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69443     2002   VOLVO   4V4MC9RF42N324969   VNM64T         IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69445     2001   VOLVO   4V4MC9RF01N319346   VNM64T         GA      Savannah
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69450     2001   VOLVO   4V4MC9RF21N319283   VNM64T         TX      Eagle Pass
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69456     2002   VOLVO   4V4MC9RF82N319452   VNM64T         IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69463     2001   VOLVO   4V4MC9RF61N319352   VNM64T         SC      Florence
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69544     2002   VOLVO   4V4MC9RF52N324981   VNM64T         TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69559     2002   VOLVO   4V4MC9RF12N324685   VNM64T         TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69560     2001   VOLVO   4V4MC9RFX1N319340   VNM64T         TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69561     2001   VOLVO   4V4MC9RF31N319356   VNM64T         TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69562     2002   VOLVO   4V4MC9RF02N319459   VNM64T         TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69567     2002   VOLVO   4V4MC9RF52N324978   VNM64T         AR      Springdale
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69573     2002   VOLVO   4V4MC9RF72N319426   VNM64T         VA      Manassas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69575     2005   INTL    2HSCEAPR35C156548   9200 DAY CAB   TX      Texarkana
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69579     2007   INTL    2HSCEAPR77C385799   9200 DAY CAB   OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69595     2001   VOLVO   4V4MC9RFX1N319337   VNM64T         CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69596     2005   INTL    2HSCEAPR15C156547   9200 DAY CAB   TX      Eagle Pass
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69599     2005   VOLVO   4V4MC9GF95N405652   VNM64T         TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69600     2005   VOLVO   4V4MC9GF05N378177   VNM64T         NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69603     2002   VOLVO   4V4MC9RF62N324679   VNM64T         TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69607     2011   PTRBL   1NPVD29X0BD114333   384            CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69608     2011   PTRBL   1NPVD29X7BD114331   384            CA      Gardena
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69609     2011   PTRBL   1NPVD29X9BD114332   384            CA      Orange
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69610     2011   PTRBL   1NPVD29X5BD114330   384            CA      Gardena
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69625     2002   VOLVO   4V4MC9RF12N324976   VNM64T         IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69627     2010   VOLVO   4V4NC9TG2AN292091   VNL64T         MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69629     2010   VOLVO   4V4NC9TG6AN292093   VNL64T         TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69630     2010   VOLVO   4V4NC9TGXAN292095   VNL64T         IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69631     2010   VOLVO   4V4NC9TG1AN292096   VNL64T         OH      Copley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69633     2010   VOLVO   4V4NC9TG7AN292099   VNL64T         TX      Waco
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69634     2010   VOLVO   4V4NC9TG3AN292102   VNL64T         OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69635     2010   VOLVO   4V4NC9TG7AN292104   VNL64T         OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69636     2010   VOLVO   4V4NC9TG9AN292105   VNL64T         TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69637     2010   VOLVO   4V4NC9TG2AN292107   VNL64T         LA      Monroe
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69638     2010   VOLVO   4V4NC9TG6AN292109   VNL64T         TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69640     2010   VOLVO   4V4NC9TG6AN292112   VNL64T         MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69642     2010   VOLVO   4V4NC9TG1AN292115   VNL64T         MO      Columbia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69643     2010   VOLVO   4V4NC9TG5AN292117   VNL64T         TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69644     2010   VOLVO   4V4NC9TG5AN292120   VNL64T         CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69647     2008   VOLVO   4V4MC9GG78N461943   VNM64T         TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69648     2008   VOLVO   4V4MC9EG28N262785   VNM64T         IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69649     2005   VOLVO   4V4MC9GF25N387754   VNM64T         IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69650     2008   VOLVO   4V4MC9GG28N461980   VNM64T         PA      Camp Hill
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69651     2007   VOLVO   4V4MC9GF57N449490   VNM64T         NC      Durham
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69652     2008   VOLVO   4V4MC9EG48N498273   VNM64T         TX      Waco
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69653     2008   VOLVO   4V4MC9EG18N262728   VNM64T         TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69654     2008   VOLVO   4V4MC9EGX8N262730   VNM64T         TX      Texarkana
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69655     2008   VOLVO   4V4MC9EH78N262001   VNM64T         TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69656     2008   VOLVO   4V4MC9EGX8N262775   VNM64T         IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69657     2008   VOLVO   4V4MC9EG38N262777   VNM64T         IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69658     2009   VOLVO   4V4MC9EG89N263764   VNM64T         TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69661     2008   VOLVO   4V4MC9EG28N262771   VNM64T         TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69662     2008   VOLVO   4V4MC9EG28N262754   VNM64T         IL      Morton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69663     2008   VOLVO   4V4MC9EG68N498288   VNM64T         TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69664     2008   VOLVO   4V4MC9EG08N498271   VNM64T         IL      Decatur
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69665     2008   VOLVO   4V4MC9EG48N498287   VNM64T         PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69666     2008   VOLVO   4V4MC9EG98N498303   VNM64T         PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69667     2008   VOLVO   4V4MC9EGX8N262713   VNM64T         NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69669     2009   VOLVO   4V4MC9EG09N263788   VNM64T         IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69670     2008   VOLVO   4V4MC9EG78N262748   VNM64T         PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69672     2009   VOLVO   4V4MC9EG09N263791   VNM64T         PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69673     2008   VOLVO   4V4MC9EGX8N262761   VNM64T         VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69674     2008   VOLVO   4V4MC9EG58N262778   VNM64T         PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69679     2009   VOLVO   4V4MC9EG69N263780   VNM64T         OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69680     2008   VOLVO   4V4MC9EG58N498301   VNM64T         PA      Erie
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69682     2008   VOLVO   4V4MC9EG08N262719   VNM64T         MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69683     2008   VOLVO   4V4MC9EGX8N498312   VNM64T         MN      Burnsville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 445 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69684     2008   VOLVO   4V4MC9EG88N498311   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69685     2008   VOLVO   4V4MC9EG28N262737   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69686     2008   VOLVO   4V4MC9EG68N262756   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69687     2008   VOLVO   4V4MC9EG88N262788   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69688     2008   VOLVO   4V4MC9EG98N262766   VNM64T    MN      Duluth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69691     2009   VOLVO   4V4MC9EG19N263783   VNM64T    NY      Elmira
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69692     2009   VOLVO   4V4MC9EG99N283649   VNM64T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69694     2008   VOLVO   4V4MC9EG98N262721   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69695     2009   VOLVO   4V4MC9EGX9N263765   VNM64T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69698     2008   VOLVO   4V4MC9EG08N498304   VNM64T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69700     2008   VOLVO   4V4MC9EG98N262704   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69702     2009   VOLVO   4V4MC9EG69N263763   VNM64T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69703     2008   VOLVO   4V4MC9EG18N498277   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69705     2009   VOLVO   4V4MC9EG09N263774   VNM64T    TX      Corpus Christi
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69706     2008   VOLVO   4V4MC9EG98N498284   VNM64T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69708     2008   VOLVO   4V4MC9EG38N498314   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69711     2008   VOLVO   4V4MC9EG68N498291   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69715     2005   VOLVO   4V4MC9GF75N405794   VNM64T    KS      Salina
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69719     2005   VOLVO   4V4MC9GF45N383494   VNM64T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69720     2008   VOLVO   4V4MC9GG18N462022   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69723     2005   VOLVO   4V4MC9GF15N378205   VNM64T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69725     2007   VOLVO   4V4MC9GF97N461903   VNM64T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69728     2006   VOLVO   4V4MC9GF26N405669   VNM64T    PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69731     2005   VOLVO   4V4MC9GF55N405809   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69732     2005   VOLVO   4V4MC9GF05N383492   VNM64T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69735     2005   VOLVO   4V4MC9GF55N383455   VNM64T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69740     2006   VOLVO   4V4MC9GF86N405837   VNM64T    LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69745     2006   VOLVO   4V4MC9GF66N405836   VNM64T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69746     2007   VOLVO   4V4MC9GG77N461942   VNM64T    AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69753     2007   VOLVO   4V4MC9GF47N446760   VNM64T    WA      Seattle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69754     2008   VOLVO   4V4MC9EG98N498320   VNM64T    VT      Bellows Falls
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69756     2006   VOLVO   4V4MC9GF06N405668   VNM64T    SD      Rapid City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69757     2006   VOLVO   4V4MC9GF76N405876   VNM64T    MA      North Reading
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69758     2006   VOLVO   4V4MC9GF56N405682   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69759     2006   VOLVO   4V4MC9GF36N405874   VNM64T    ID      Pocatello
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69760     2009   VOLVO   4V4MC9EG59N283647   VNM64T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69761     2008   VOLVO   4V4MC9EG08N262736   VNM64T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69766     2005   VOLVO   4V4MC9GF75N383456   VNM64T    NJ      Kearny
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69767     2009   VOLVO   4V4MC9EG79N283858   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69768     2009   VOLVO   4V4MC9EGX9N283630   VNM64T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69769     2008   VOLVO   4V4MC9EG08N262753   VNM64T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69770     2009   VOLVO   4V4MC9EG59N283633   VNM64T    IL      Quincy
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69771     2009   VOLVO   4V4MC9EG49N283672   VNM64T    KS      Wichita
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69772     2008   VOLVO   4V4MC9EG68N262742   VNM64T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69773     2008   VOLVO   4V4MC9EG38N262763   VNM64T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69774     2009   VOLVO   4V4MC9EG59N263785   VNM64T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69777     2009   VOLVO   4V4MC9EG99N263787   VNM64T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69778     2008   VOLVO   4V4MC9EGX8N262789   VNM64T    AZ      Tucson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69779     2008   VOLVO   4V4MC9EG88N262712   VNM64T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69780     2006   VOLVO   4V4MC9GF36N405678   VNM64T    NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69781     2007   VOLVO   4V4MC9GF47N449318   VNM64T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69784     2006   VOLVO   4V4MC9GFX6N405824   VNM64T    NY      Elmira
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69787     2007   VOLVO   4V4MC9GF47N480990   VNM64T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69788     2009   VOLVO   4V4MC9EG59N263771   VNM64T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69794     2007   VOLVO   4V4MC9GF27N449317   VNM64T    NY      East Syracuse
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69795     2008   VOLVO   4V4MC9EG28N498319   VNM64T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69796     2005   VOLVO   4V4MC9GF15N387583   VNM64T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69799     2005   VOLVO   4V4MC9GF65N383481   VNM64T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69801     2005   VOLVO   4V4MC9GF45N383477   VNM64T    FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69807     2008   VOLVO   4V4MC9GG28N461977   VNM64T    HI      Waipahu
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69808     2007   VOLVO   4V4MC9GF37N461928   VNM64T    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69810     2008   VOLVO   4V4MC9GGX8N462004   VNM64T    HI      Waipahu
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69812     2007   VOLVO   4V4MC9GF27N446739   VNM64T    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69814     2007   VOLVO   4V4MC9GF67N480974   VNM64T    LA      Monroe
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69815     2007   VOLVO   4V4MC9GG87N461934   VNM64T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69816     2007   VOLVO   4V4MC9GF37N449312   VNM64T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69817     2007   VOLVO   4V4MC9GF07N449350   VNM64T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69819     2007   VOLVO   4V4MC9GF57N446752   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69820     2007   VOLVO   4V4MC9GF77N449362   VNM64T    NJ      South Plainfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 446 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69822     2007   VOLVO   4V4MC9GF67N461924   VNM64T    GA      Macon
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69825     2007   VOLVO   4V4MC9GF17N449504   VNM64T    NY      Glenmont
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69826     2007   VOLVO   4V4MC9GF07N449347   VNM64T    RI      Cumberland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69827     2005   VOLVO   4V4MC9GF35N383471   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69828     2006   VOLVO   4V4MC9GFX6N439584   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69829     2005   VOLVO   4V4MC9GF75N383487   VNM64T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69837     2006   VOLVO   4V4MC9GF06N439609   VNM64T    TX      McAllen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69843     2006   VOLVO   4V4MC9GF86N439616   VNM64T    AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69844     2006   VOLVO   4V4MC9GFX6N439620   VNM64T    MN      Saint Cloud
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69845     2007   VOLVO   4V4MC9GF67N446761   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69848     2007   VOLVO   4V4MC9GF87N480944   VNM64T    ND      Bismarck
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69853     2006   VOLVO   4V4MC9GF36N405888   VNM64T    GA      Thomasville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69854     2007   VOLVO   4V4MC9GF47N449495   VNM64T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69855     2007   VOLVO   4V4MC9GF27N449477   VNM64T    TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69859     2008   VOLVO   4V4MC9GG68N461979   VNM64T    PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69860     2007   VOLVO   4V4MC9GF67N461910   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69863     2007   VOLVO   4V4MC9GF07N446741   VNM64T    DE      New Castle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69864     2008   VOLVO   4V4MC9GG58N462010   VNM64T    PA      Bedford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69865     2008   VOLVO   4V4MC9GG08N461945   VNM64T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69867     2006   VOLVO   4V4MC9GF86N439602   VNM64T    CT      Cheshire
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69871     2009   VOLVO   4V4MC9EG59N283857   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69872     2009   VOLVO   4V4MC9EG89N263778   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69873     2009   VOLVO   4V4MC9EG09N283667   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69875     2009   VOLVO   4V4MC9EG59N283678   VNM64T    WA      Seattle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69876     2009   VOLVO   4V4MC9EG69N283656   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69877     2009   VOLVO   4V4MC9EG79N283830   VNM64T    MO      Columbia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69878     2009   VOLVO   4V4MC9EG29N283668   VNM64T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69881     2009   VOLVO   4V4MC9EG99N283845   VNM64T    NV      Sparks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69882     2009   VOLVO   4V4MC9EG29N263792   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69883     2008   VOLVO   4V4MC9EG58N498315   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69885     2007   VOLVO   4V4MC9GF87N449547   VNM64T    WA      Seattle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69887     2009   VOLVO   4V4MC9EG09N283832   VNM64T    WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69890     2009   VOLVO   4V4MC9EG29N263775   VNM64T    WA      Seattle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69891     2006   VOLVO   4V4MC9GF66N405870   VNM64T    MT      Butte
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69892     2008   VOLVO   4V4MC9EG98N498298   VNM64T    MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69893     2007   VOLVO   4V4MC9GF57N461929   VNM64T    WA      Seattle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69894     2007   VOLVO   4V4MC9GF87N461908   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69896     2007   VOLVO   4V4MC9GFX7N449498   VNM64T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69897     2007   VOLVO   4V4MC9GF37N461931   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69898     2009   VOLVO   4V4MC9EG19N283855   VNM64T    TX      Sherman
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69901     2008   VOLVO   4V4MC9EG68N262708   VNM64T    CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69902     2008   VOLVO   4V4MC9EG08N498318   VNM64T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69904     2009   VOLVO   4V4MC9EG89N283822   VNM64T    OR      Central Point
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69905     2007   VOLVO   4V4MC9GF87N451783   VNM64T    MO      Columbia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69906     2008   VOLVO   4V4MC9EG58N262747   VNM64T    CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69908     2008   VOLVO   4V4MC9EG98N498317   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69909     2007   VOLVO   4V4MC9GF07N461921   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69911     2007   VOLVO   4V4MC9GF87N461925   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69913     2007   VOLVO   4V4MC9GG57N461941   VNM64T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69914     2008   VOLVO   4V4MC9EG48N498306   VNM64T    WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69915     2008   VOLVO   4V4MC9EG38N498281   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69916     2008   VOLVO   4V4MC9EG48N262724   VNM64T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69918     2006   VOLVO   4V4MC9GF66N405724   VNM64T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69919     2008   VOLVO   4V4MC9GG28N462028   VNM64T    WA      Tacoma
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69920     2007   VOLVO   4V4MC9GG57N461938   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69921     2007   VOLVO   4V4MC9GFX7N446763   VNM64T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69922     2008   VOLVO   4V4MC9EG18N262745   VNM64T    TX      Texarkana
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69924     2007   VOLVO   4V4MC9GF57N446766   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69925     2006   VOLVO   4V4MC9GF66N405691   VNM64T    FL      Fort Myers
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69926     2009   VOLVO   4V4MC9EG19N283662   VNM64T    NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69927     2008   VOLVO   4V4MC9GG48N462029   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69928     2009   VOLVO   4V4MC9EGX9N283661   VNM64T    TX      Laredo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69929     2007   VOLVO   4V4MC9GF17N449292   VNM64T    TX      Laredo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69930     2009   VOLVO   4V4MC9EGX9N283658   VNM64T    TX      Laredo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69931     2009   VOLVO   4V4MC9EG39N283632   VNM64T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69932     2009   VOLVO   4V4MC9EG99N283635   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69934     2008   VOLVO   4V4MC9GGX8N461953   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69935     2008   VOLVO   4V4MC9GG08N461962   VNM64T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69936     2009   VOLVO   4V4MC9EG79N283679   VNM64T    IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 447 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69937    2008   VOLVO   4V4MC9EG18N262776   VNM64T    OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69938    2009   VOLVO   4V4MC9EG49N283834   VNM64T    OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69940    2009   VOLVO   4V4MC9EG49N283817   VNM64T    VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69941    2007   VOLVO   4V4MC9GG37N461940   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69942    2009   VOLVO   4V4MC9EG59N283843   VNM64T    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69943    2009   VOLVO   4V4MC9EG09N283846   VNM64T    MO      Strafford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69945    2007   VOLVO   4V4MC9GF37N449519   VNM64T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69946    2009   VOLVO   4V4MC9EG29N283685   VNM64T    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69947    2008   VOLVO   4V4MC9EG78N262717   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69948    2007   VOLVO   4V4MC9GF17N480977   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69949    2008   VOLVO   4V4MC9EG48N262769   VNM64T    SD      Sioux Falls
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69950    2009   VOLVO   4V4MC9EG69N283611   VNM64T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69953    2008   VOLVO   4V4MC9GG18N461954   VNM64T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69955    2008   VOLVO   4V4MC9EG48N262710   VNM64T    NJ      Hamilton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69956    2007   VOLVO   4V4MC9GF37N461914   VNM64T    NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69958    2008   VOLVO   4V4MC9EG88N262774   VNM64T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69959    2008   VOLVO   4V4MC9EG98N262749   VNM64T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69960    2008   VOLVO   4V4MC9GGX8N461967   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69961    2009   VOLVO   4V4MC9EG49N283865   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69963    2008   VOLVO   4V4MC9EG98N498270   VNM64T    SD      Sioux Falls
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69964    2009   VOLVO   4V4MC9EG59N283616   VNM64T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69965    2009   VOLVO   4V4MC9EG39N283856   VNM64T    IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69966    2008   VOLVO   4V4MC9EG38N262746   VNM64T    TX      McAllen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69967    2009   VOLVO   4V4MC9EG69N283608   VNM64T    IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69968    2009   VOLVO   4V4MC9EG49N283820   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69969    2009   VOLVO   4V4MC9EG89N283674   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69970    2009   VOLVO   4V4MC9EG69N283625   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69971    2009   VOLVO   4V4MC9EG19N283614   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69972    2007   VOLVO   4V4MC9GF07N449509   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69973    2009   VOLVO   4V4MC9EG99N283683   VNM64T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69974    2009   VOLVO   4V4MC9EG19N283645   VNM64T    TX      McAllen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69975    2009   VOLVO   4V4MC9EG39N283839   VNM64T    ME      Fairfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69977    2007   VOLVO   4V4MC9GF37N449360   VNM64T    NY      Glenmont
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69979    2008   VOLVO   4V4MC9EG88N262760   VNM64T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69981    2007   VOLVO   4V4MC9GF17N449356   VNM64T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69982    2007   VOLVO   4V4MC9GF57N461915   VNM64T    TX      Sherman
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69983    2008   VOLVO   4V4MC9GG78N462008   VNM64T    TX      Austin
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69984    2007   VOLVO   4V4MC9GF17N480980   VNM64T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69985    2009   VOLVO   4V4MC9EG19N283841   VNM64T    ME      Fairfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69986    2006   VOLVO   4V4MC9GF86N405692   VNM64T    NY      Rochester
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69991    2009   VOLVO   4V4MC9EG99N283666   VNM64T    MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69993    2009   VOLVO   4V4MC9EG29N283671   VNM64T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69994    2008   VOLVO   4V4MC9EG48N262755   VNM64T    NY      Glenmont
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69995    2008   VOLVO   4V4MC9GG88N461983   VNM64T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69997    2007   VOLVO   4V4MC9GF17N449535   VNM64T    MD      Hagerstown
 YRCF     CITY TRACTOR     CTR‐TA   RDWY69998    2008   VOLVO   4V4MC9EG28N498286   VNM64T    NY      Rochester
 YRCF     CITY TRACTOR     CTR‐TA   RDWY765097   2006   VOLVO   4V4MC9GF26N439627   VNM64T    OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY775154   2007   VOLVO   4V4MC9GF37N480981   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79000    2007   VOLVO   4V4MC9GF47N449545   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79001    2007   VOLVO   4V4MC9GF37N480964   VNM64T    PA      Erie
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79002    2014   FRGHT   1FUJGBDV0ELFV9146   CA113DC   PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79003    2008   VOLVO   4V4MC9GG28N462031   VNM64T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79004    2016   FRGHT   1FUJGBDV8GLHC3466   CA113DC   MA      North Reading
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79005    2014   FRGHT   1FUJGBDV5ELFV9160   CA113DC   NJ      South Plainfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79006    2016   FRGHT   1FUJGBDVXGLHC3467   CA113DC   PA      Camp Hill
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79007    2016   FRGHT   1FUJGBDV0GLHC3462   CA113DC   PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79008    2016   FRGHT   1FUJGBDV4GLHC3464   CA113DC   PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79009    2016   FRGHT   1FUJGBDV6GLHC3465   CA113DC   PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79010    2008   VOLVO   4V4MC9EH08N262003   VNM64T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79011    2007   VOLVO   4V4MC9GF27N449494   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79012    2014   FRGHT   1FUJGBDV9ELFV9159   CA113DC   PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79013    2007   VOLVO   4V4MC9GFX7N480993   VNM64T    ND      Fargo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79014    2008   VOLVO   4V4MC9EH48N261999   VNM64T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79016    2009   VOLVO   4V4MC9EG99N283828   VNM64T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79017    2008   VOLVO   4V4MC9GG68N461948   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79018    2008   VOLVO   4V4MC9EH98N262002   VNM64T    UT      St. George
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79019    2008   VOLVO   4V4MC9EHX8N262011   VNM64T    UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79020    2009   VOLVO   4V4MC9EG69N283835   VNM64T    NE      Kearney
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79021    2007   VOLVO   4V4MC9GF77N480966   VNM64T    KS      Wichita
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 448 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79022     2007   VOLVO   4V4MC9GF17N461927   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79023     2008   VOLVO   4V4MC9EGX8N498276   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79024     2009   VOLVO   4V4MC9EF99N283805   VNM64T    PA      Du Bois
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79025     2009   VOLVO   4V4MC9EFX9N283814   VNM64T    PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79027     2008   VOLVO   4V4MC9GFX7N449663   VNM64T    OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79028     2008   VOLVO   4V4MC9GF07N449641   VNM64T    AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79029     2008   VOLVO   4V4MC9GF37N449665   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79030     2008   VOLVO   4V4MC9GF57N449666   VNM64T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79032     2009   VOLVO   4V4MC9GF07N449669   VNM64T    MI      Norway
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79034     2008   VOLVO   4V4MC9GF07N449672   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79035     2008   VOLVO   4V4MC9GF47N449674   VNM64T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79037     2008   VOLVO   4V4MC9GF87N449676   VNM64T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79038     2008   VOLVO   4V4MC9GF17N449678   VNM64T    AR      Springdale
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79042     2008   VOLVO   4V4MC9GF07N449414   VNM64T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79043     2008   VOLVO   4V4MC9GF77N451791   VNM64T    NE      Omaha
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79044     2007   VOLVO   4V4MC9GF07N451793   VNM64T    GA      Jefferson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79045     2008   VOLVO   4V4MC9GF87N451797   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79046     2008   VOLVO   4V4MC9GF47N451800   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79049     2008   VOLVO   4V4MC9GF97N451808   VNM64T    MO      Columbia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79050     2008   VOLVO   4V4MC9GF47N451814   VNM64T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79051     2008   VOLVO   4V4MC9GF87N451816   VNM64T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79052     2008   VOLVO   4V4MC9GF77N451824   VNM64T    OH      Toledo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79053     2008   VOLVO   4V4MC9GF67N451829   VNM64T    TX      McAllen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79054     2008   VOLVO   4V4MC9GF47N451831   VNM64T    AR      Springdale
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79055     2008   VOLVO   4V4MC9GF67N451832   VNM64T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79056     2008   VOLVO   4V4MC9GF57N451871   VNM64T    LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79057     2008   VOLVO   4V4MC9GFX7N451879   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79058     2008   VOLVO   4V4MC9GF87N451881   VNM64T    TX      Waco
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79059     2008   VOLVO   4V4MC9GFX7N451882   VNM64T    NC      Durham
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79060     2008   VOLVO   4V4MC9GF37N451884   VNM64T    LA      New Orleans
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79061     2008   VOLVO   4V4MC9GF97N451887   VNM64T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79062     2008   VOLVO   4V4MC9GF27N451889   VNM64T    LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79063     2007   VOLVO   4V4MC9GF07N451891   VNM64T    OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79064     2008   VOLVO   4V4MC9GF67N451894   VNM64T    KS      Topeka
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79065     2007   VOLVO   4V4MC9GF87N451895   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79067     2008   VOLVO   4V4MC9GF17N451897   VNM64T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79068     2007   VOLVO   4V4MC9GF57N451899   VNM64T    IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79069     2007   VOLVO   4V4MC9GF17N451902   VNM64T    GA      Jefferson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79070     2008   VOLVO   4V4MC9GFX7N451865   VNM64T    IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79072     2008   VOLVO   4V4MC9GF87N451959   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79073     2008   VOLVO   4V4MC9GFX7N451915   VNM64T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79074     2008   VOLVO   4V4MC9GF37N451917   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79075     2007   VOLVO   4V4MC9GF27N451925   VNM64T    IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79077     2008   VOLVO   4V4MC9GF67N451930   VNM64T    OH      Bowling Green
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79078     2007   VOLVO   4V4MC9GF17N451933   VNM64T    GA      Jefferson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79080     2008   VOLVO   4V4MC9GF97N451940   VNM64T    OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79081     2008   VOLVO   4V4MC9GF97N446804   VNM64T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79082     2008   VOLVO   4V4MC9GF57N451952   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79083     2008   VOLVO   4V4MC9GF07N451955   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79085     2008   VOLVO   4V4MC9GGX8N461984   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79086     2008   VOLVO   4V4MC9GG18N461985   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79087     2008   VOLVO   4V4MC9GG38N461986   VNM64T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79088     2008   VOLVO   4V4MC9EG68N498324   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79091     2009   VOLVO   4V4MC9EG29N263548   VNM64T    SD      Watertown
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79092     2008   VOLVO   4V4MC9EG28N498367   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79094     2008   VOLVO   4V4MC9EG48N498371   VNM64T    MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79095     2008   VOLVO   4V4MC9EG68N498372   VNM64T    MI      Wayland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79096     2008   VOLVO   4V4MC9EGX8N498374   VNM64T    OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79097     2008   VOLVO   4V4MC9EG58N498377   VNM64T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79099     2008   VOLVO   4V4MC9EG58N498380   VNM64T    IL      Decatur
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79100     2008   VOLVO   4V4MC9EG98N498382   VNM64T    MO      Strafford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79101     2008   VOLVO   4V4MC9EG08N498383   VNM64T    WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79102     2008   VOLVO   4V4MC9EG48N498385   VNM64T    KS      Wichita
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79104     2008   VOLVO   4V4MC9GF97N446821   VNM64T    MO      Strafford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79105     2009   VOLVO   4V4MC9EG59N263625   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79107     2009   VOLVO   4V4MC9GF97N446799   VNM64T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79108     2008   VOLVO   4V4MC9EG38N498393   VNM64T    KS      Wichita
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79109     2008   VOLVO   4V4MC9EG58N498394   VNM64T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79110     2008   VOLVO   4V4MC9EG78N498395   VNM64T    OH      Cincinnati
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 449 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79111     2008   VOLVO   4V4MC9EG98N498396   VNM64T    KS      Salina
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79113     2008   VOLVO   4V4MC9EG98N498401   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79114     2008   VOLVO   4V4MC9EG08N498402   VNM64T    MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79117     2008   VOLVO   4V4MC9EG98N263481   VNM64T    CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79118     2008   VOLVO   4V4MC9EG68N263485   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79120     2009   VOLVO   4V4MC9EG38N263489   VNM64T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79122     2008   VOLVO   4V4MC9EG58N263493   VNM64T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79123     2008   VOLVO   4V4MC9EG78N263494   VNM64T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79125     2008   VOLVO   4V4MC9EG08N263496   VNM64T    LA      New Orleans
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79126     2008   VOLVO   4V4MC9EG98N263500   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79127     2008   VOLVO   4V4MC9EG08N263501   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79128     2008   VOLVO   4V4MC9EG48N263503   VNM64T    GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79129     2008   VOLVO   4V4MC9EG68N263504   VNM64T    TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79130     2008   VOLVO   4V4MC9EG18N263507   VNM64T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79131     2008   VOLVO   4V4MC9EG18N263510   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79132     2008   VOLVO   4V4MC9EG38N263511   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79134     2008   VOLVO   4V4MC9EG98N263514   VNM64T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79135     2008   VOLVO   4V4MC9EG08N263515   VNM64T    OH      Dayton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79137     2008   VOLVO   4V4MC9EG48N263517   VNM64T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79139     2008   VOLVO   4V4MC9GF87N449628   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79140     2009   VOLVO   4V4MC9EG89N263568   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79141     2009   VOLVO   4V4MC9EGX9N263569   VNM64T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79142     2009   VOLVO   4V4MC9EG69N263570   VNM64T    MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79143     2009   VOLVO   4V4MC9EG89N263571   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79144     2009   VOLVO   4V4MC9EGX9N263572   VNM64T    NE      Omaha
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79145     2009   VOLVO   4V4MC9EG19N263573   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79146     2007   VOLVO   4V4MC9GF37N449679   VNM64T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79147     2009   VOLVO   4V4MC9EG99N263577   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79148     2009   VOLVO   4V4MC9EG09N263578   VNM64T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79149     2009   VOLVO   4V4MC9EG29N263579   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79150     2008   VOLVO   4V4MC9GF87N446826   VNM64T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79151     2009   VOLVO   4V4MC9EG09N263581   VNM64T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79156     2009   VOLVO   4V4MC9EG19N263587   VNM64T    GA      La Grange
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79157     2009   VOLVO   4V4MC9EG59N263589   VNM64T    OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79158     2009   VOLVO   4V4MC9EG19N263590   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79160     2009   VOLVO   4V4MC9EG19N263623   VNM64T    MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79161     2009   VOLVO   4V4MC9EG39N263624   VNM64T    TX      McAllen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79163     2009   VOLVO   4V4MC9EG99N263627   VNM64T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79165     2009   VOLVO   4V4MC9EG09N263631   VNM64T    MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79166     2009   VOLVO   4V4MC9EG49N263633   VNM64T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79167     2009   VOLVO   4V4MC9EG69N263634   VNM64T    OH      Toledo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79168     2009   VOLVO   4V4MC9EG89N263635   VNM64T    IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79169     2009   VOLVO   4V4MC9EGX9N263636   VNM64T    NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79171     2009   VOLVO   4V4MC9EG39N263638   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79173     2009   VOLVO   4V4MC9EG19N263640   VNM64T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79174     2009   VOLVO   4V4MC9EG39N263641   VNM64T    OH      Toledo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79176     2009   VOLVO   4V4MC9EG79N263643   VNM64T    KS      Wichita
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79177     2009   VOLVO   4V4MC9EG09N263645   VNM64T    OH      Toledo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79179     2009   VOLVO   4V4MC9EG69N263648   VNM64T    MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79180     2009   VOLVO   4V4MC9EG89N263649   VNM64T    IL      Quincy
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79183     2009   VOLVO   4V4MC9EGX9N263653   VNM64T    MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79185     2009   VOLVO   4V4MC9EG39N263655   VNM64T    OH      Toledo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79186     2009   VOLVO   4V4MC9EG59N263656   VNM64T    TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79187     2009   VOLVO   4V4MC9EG79N263657   VNM64T    CO      Henderson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79188     2009   VOLVO   4V4MC9EG99N263658   VNM64T    MO      Strafford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79189     2009   VOLVO   4V4MC9EG09N263659   VNM64T    OH      Toledo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79190     2009   VOLVO   4V4MC9EG09N263662   VNM64T    MI      Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79192     2009   VOLVO   4V4MC9EG49N263664   VNM64T    OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79195     2009   VOLVO   4V4MC9EG39N263669   VNM64T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79196     2009   VOLVO   4V4MC9EGX9N263670   VNM64T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79198     2009   VOLVO   4V4MC9EG39N263672   VNM64T    OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79199     2009   VOLVO   4V4MC9EG59N263673   VNM64T    OH      Dayton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79200     2008   VOLVO   4V4MC9EG98N498348   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79201     2008   VOLVO   4V4MC9EG58N498329   VNM64T    KS      Salina
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79203     2009   VOLVO   4V4MC9EG29N263680   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79204     2009   VOLVO   4V4MC9EG89N263683   VNM64T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79205     2009   VOLVO   4V4MC9EG39N263588   VNM64T    MN      Duluth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79206     2009   VOLVO   4V4MC9EG19N263685   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79211     2008   VOLVO   4V4MC9GF37N446796   VNM64T    TX      Houston
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 450 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79212     2009   VOLVO   4V4MC9EG49N263695   VNM64T     GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79214     2009   VOLVO   4V4MC9EGX9N263698   VNM64T     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79215     2009   VOLVO   4V4MC9EG69N263701   VNM64T     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79216     2009   VOLVO   4V4MC9GF87N451962   VNM64T     OH      Lima
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79219     2009   VOLVO   4V4MC9EG99N263708   VNM64T     OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79221     2009   VOLVO   4V4MC9EG79N263710   VNM64T     IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79222     2009   VOLVO   4V4MC9EG99N263711   VNM64T     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79224     2012   FRGHT   1FUJGEDV0BSAY2897   CASCA      TX      San Antonio
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79225     2011   FRGHT   1FUJGEDV0BSAY8084   CL120      MI      Norway
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79226     2011   FRGHT   1FUJGEDV1BSAY8448   CASCA      CA      Tracy
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79227     2012   FRGHT   1FUJGEDV0BSAZ0787   CASCA      KS      Salina
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79228     2012   FRGHT   1FUJGEDVXBSAZ1087   CASCA      CO      Henderson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79229     2012   FRGHT   1FUJGEDVXBSAY2857   CASCA      TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79231     2012   FRGHT   1FUJGEDV1BSAZ1091   CASCA      WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79234     2012   FRGHT   1FUJGEDV5CSBJ6303   CASCA      OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79235     2012   FRGHT   1FUJGEDV7CSBD3101   CASCA      CO      Colorado Springs
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79236     2012   FRGHT   1FUJGEDV0CSBM1268   CL120      IA      Council Bluffs
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79238     2012   FRGHT   1FUJGEDV4CSBK2724   CASCA      TX      Laredo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79240     2012   FRGHT   1FUJGEDR9CSBR5445   CASCA      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79241     2012   FRGHT   1FUJGEDV2CSBD3622   CASCA      IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79245     2012   FRGHT   1FUJGEDV2CSBD3149   CASCA      SC      Columbia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79247     2009   VOLVO   4V4MC9EG89N263540   VNM64T     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79249     2012   FRGHT   1FUJGEDV7CSBD3616   CASCA      MI      Wayland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79250     2012   FRGHT   1FUJGEDV8CSBH7253   CASCA      TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79252     2012   FRGHT   1FUJGEDV3CSBD3631   CASCA      OH      Copley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79254     2012   FRGHT   1FUJGEDV7CSBD3633   CASCA      OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79256     2012   FRGHT   1FUJGEDV0CSBD3635   CASCA      PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79257     2008   VOLVO   4V4MC9GF27N451844   VNM64T     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79258     2012   FRGHT   1FUJGEDV6CSBM1467   CASCA      TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79260     2008   VOLVO   4V4MC9EG38N498359   VNM64T     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79261     2008   VOLVO   4V4MC9EG68N263518   VNM64      OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79262     2012   FRGHT   1FUJGEDV5CSBD3663   CASCA      VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79263     2012   FRGHT   1FUJGEDV0CSBD3103   CASCA      CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79265     2012   FRGHT   1FUJGEDV1CSBJ9229   CASCA      MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79266     2012   FRGHT   1FUJGEDV6CSBD6300   CASCA      MO      Strafford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79267     2012   FRGHT   1FUJGEDV7CSBK6704   CL120      WI      Madison
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79268     2012   FRGHT   1FUJGEDVXCSBD2962   CASCA      TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79269     2012   FRGHT   1FUJGEDV9CSBJ4277   CASCA      OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79270     2012   FRGHT   1FUJGEDV1CSBJ9201   CASCA      IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79271     2012   FRGHT   1FUJGEDV7CSBD3132   CASCA      PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79272     2012   FRGHT   1FUJGEDV2CSBD3359   CASCA      LA      Shreveport
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79273     2012   FRGHT   1FUJGEDV8CSBJ9213   CASCA      AR      Springdale
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79274     2008   FRGHT   1FUJA6CK37LZ21244   COLUMBIA   SC      Florence
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79277     2008   VOLVO   1FUJA6CG57PY44297   VNM64T     MO      Strafford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79279     2007   FRGHT   1FUJA6CK77LX34363   CL120      VA      Roanoke
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79282     2008   FRGHT   1FUJA6CK07LY79017   COLUMBIA   TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79285     2008   FRGHT   1FUJA6CKX7LX76509   COLUMBIA   OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79289     2008   FRGHT   1FUJA6CK27LX77394   CL120      OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79290     2008   FRGHT   1FUJA6CK77LX69730   COLUMBIA   GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79291     2008   FRGHT   1FUJA6CK47LY03896   COLUMBIA   PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79292     2008   FRGHT   1FUJA6CK77LX77598   CL120      IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79293     2008   FRGHT   1FUJA6CKX7LX76980   COLUMBIA   IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79295     2007   FRGHT   1FUJA6CK77DX41601   CL120      KY      Corbin
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79297     2008   FRGHT   1FUJA6CK17LX76768              IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79298     2008   FRGHT   1FUJA6CK77LX69761   COLUMBIA   PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79299     2008   FRGHT   1FUJA6CK47LX76540   COLUMBIA   OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79301     2008   FRGHT   1FUJA6CK97LX77392   COLUMBIA   OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79303     2007   FRGHT   1FUJA6CK37LX83186              TX      Laredo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79305     2012   FRGHT   1FUJGEDVXBSAY2843   CASCA      GA      Jefferson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79307     2012   FRGHT   1FUJGEDV3BSAY8113   CASCA      WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79308     2014   FRGHT   1FUJGBDV7ELFV9158   CA113DC    MD      Baltimore
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79309     2014   FRGHT   1FUJGBDV7ELFV9161   CA113DC    VA      Manassas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79310     2009   VOLVO   4V4MC9EF79N283804   VNM64T     PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79311     2009   VOLVO   4V4MC9EF19N283815   VNM64T     VA      Chesapeake
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79312     2009   VOLVO   4V4MC9EF89N283813   VNM64T     PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79313     2014   FRGHT   1FUJGBDV9ELFV9162   CA113DC    PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79314     2009   VOLVO   4V4MC9EG29N283847   VNM64T     KY      Paducah
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79315     2008   VOLVO   4V4MC9GG48N461978   VNM64T     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79316     2014   FRGHT   1FUJGBDV2ELFV9147   CA113DC    MD      Baltimore
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 451 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79318     2014   FRGHT   1FUJGBDV9ELFV9145   CA113DC   FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79322     2008   VOLVO   4V4MC9GF77N451922   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79325     2008   VOLVO   4V4MC9EGX8N498360   VNM64T    IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79328     2008   VOLVO   4V4MC9GF37N451867   VNM64T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79333     2008   VOLVO   4V4MC9EG38N263539   VNM64T    TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79336     2014   FRGHT   1FUJGBDV7ELFV9144   CA113DC   FL      Miami
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79337     2006   FRGHT   1FUJA6CG26LV59384   CL1264S   NJ      Carlstadt
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79338     2005   VOLVO   4V4MC9GF85N387628   VNM64T    PA      McKees Rocks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79339     2008   VOLVO   4V4MC9EG38N498278   VNM64T    OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79340     2014   FRGHT   1FUJGBDV4ELFV9151   CA113DC   NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79341     2014   FRGHT   1FUJGBDV2ELFV9150   CA113DC   FL      Miami
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79342     2014   FRGHT   1FUJGBDV8ELFV9153   CA113DC   PA      Bethlehem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79343     2009   VOLVO   4V4MC9EF29N283807   VNM64T    PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79344     2009   VOLVO   4V4MC9EF29N283810   VNM64T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79345     2009   VOLVO   4V4MC9EF69N283812   VNM64T    MD      Landover
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79346     2014   FRGHT   1FUJGBDV6ELFV9152   CA113DC   PA      Dunmore
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79347     2016   FRGHT   1FUJGBDV1GLHC3468   CA113DC   CA      Downey
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79348     2008   VOLVO   4V4MC9EGX8N498357   VNM64T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79349     2008   VOLVO   4V4MC9GF17N451785   VNM64T    GA      Savannah
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79350     2008   VOLVO   4V4MC9GFX7N449677   VNM64T    GA      La Grange
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79351     2008   VOLVO   4V4MC9GF77N449670   VNM64T    GA      La Grange
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79352     2015   FRGHT   3AKGGEDV4FSGK3397   CASCA     TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79353     2007   VOLVO   4V4MC9GF07N449395   VNM64     GA      Macon
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79354     2007   VOLVO   4V4MC9GF27N449625   VNM64     GA      Macon
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79355     2017   FRGHT   1FUGGEDV4HLHS3773   CASCA     KY      Bowling Green
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79362     2012   VOLVO   4V4MC9EG8CN555650   VNM64     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79363     2015   FRGHT   3AKGGEDV1FSGM5244   CASCA     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79364     2015   FRGHT   3AKGGEDV6FSGM5207   CASCA     TN      Jackson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79365     2015   FRGHT   3AKGGEDV7FSGM5278   CASCA     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79366     2015   FRGHT   3AKGGEDV7FSGM5295   CASCA     AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79367     2015   FRGHT   3AKGGEDV8FSGK3483   CASCA     AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79369     2007   VOLVO   4V4MC9GF87N449404   VNM64     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79372     2013   FRGHT   3AKJGBDV6DSFF1034   CASCA     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79376     2013   FRGHT   3AKJGBDV7DSFG5699   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79405     2007   VOLVO   4V4MC9GF77N480983   VNM64T    FL      Tampa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79406     2007   VOLVO   4V4MC9GF67N449398   VNM64     FL      Tampa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79407     2008   VOLVO   4V4MC9EG68N498355   VNM64     FL      Tampa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79408     2009   VOLVO   4V4MC9EG79N263688   VNM64     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79409     2008   VOLVO   4V4MC9EG78N263530   VNM64     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79410     2008   VOLVO   4V4MC9EG58N498282   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79411     2009   VOLVO   4V4MC9EG99N283859   VNM64T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79412     2007   VOLVO   4V4MC9GF57N451790   VNM64     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79413     2007   VOLVO   4V4MC9GF87N449631   VNM64     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79414     2007   VOLVO   4V4MC9GF17N451849   VNM64     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79415     2009   VOLVO   4V4MC9EG49N263597   VNM64     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79416     2006   INTL    2HSCNAPR46C189897   9400I     NY      Maybrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79419     2005   INTL    2HSCNAPR45C046222   9400I     MS      Tupelo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79420     2005   INTL    2HSCNAPR45C046351   9400I     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79421     2005   INTL    2HSCNAPR95C046264   9400I     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79422     2005   INTL    2HSCNAPRX5C178899   9400I     AL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79423     2006   INTL    2HSCNAPR86C190034   9400I     AL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79424     2005   INTL    2HSCNAPR65C046304   9400I     IL      Morton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79425     2008   VOLVO   4V4MC9EGX8N263487   VNM64     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79426     2007   VOLVO   4V4MC9GF07N449428   VNM64     OH      Dayton
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79428     2006   FRGHT   1FUJA6CK66LV98919   CL120     AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79431     2007   VOLVO   4V4MC9GF67N449661   VNM64     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79432     2007   VOLVO   4V4MC9GF97N449640   VNM64     MS      Tupelo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79436     2006   INTL    2HSCNAPR86C189935   9400I     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79437     2005   INTL    2HSCNAPR65C039742   9400I     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79438     2005   INTL    2HSCNAPR45C046317   9400I     MS      Richland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79439     2005   INTL    2HSCNAPR45C046267   9400I     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79440     2017   FRGHT   1FUGGEDV0HLHS4029   CASCA     MS      Richland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79441     2017   FRGHT   1FUGGEDV6HLHS3760   CASCA     TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79442     2007   FRGHT   1FUJA6CKX7LX83105   CL120     AL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79446     2007   VOLVO   4V4MC9GF47N451859   VNM64     AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79447     2005   INTL    2HSCNAPR55C178860   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79448     2005   INTL    2HSCNAPR35C046292   9400I     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79449     2005   INTL    2HSCNAPR05C046119   9400I     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79450     2006   INTL    2HSCNAPR66C189934   9400I     IN      South Bend
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 452 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79451     2007   VOLVO   4V4MC9GF17N451947   VNM64     SC      Florence
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79453     2006   INTL    2HSCNAPR76C189974   9400I     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79454     2005   INTL    2HSCNAPRX5C046371   9400I     IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79455     2005   INTL    2HSCNAPR65C046173   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79456     2005   INTL    2HSCNAPRX5C046354   9400I     NC      Fayetteville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79457     2012   VOLVO   4V4MC9EG5CN555637   VNM64T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79458     2008   VOLVO   4V4MC9EG28N498336   VNM64     WV      Bridgeport
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79459     2014   FRGHT   3ALXA7A81EDFP8333   CL120     SC      Columbia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79460     2005   INTL    2HSCEAHR05C003883   9200I     GA      Savannah
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79461     2009   VOLVO   4V4MC9EGX9N283627   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79462     2006   VOLVO   4V4MC9GF06N439612   VNM64T    TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79463     2008   VOLVO   4V4MC9EG88N263486   VNM64     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79464     2006   FRGHT   1FUJA6CK56LV86082   COLUM     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79465     2006   INTL    2HSCNAPR06C190092   9400I     IN      Fort Wayne
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79466     2006   INTL    2HSCNAPR56C189925   9400I     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79467     2006   INTL    2HSCNAPR56C190153   9400I     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79468     2006   INTL    2HSCNAPR86C190003   9400I     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79469     2005   INTL    2HSCNAPR15C178905   9400I     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79470     2005   INTL    2HSCNAPR95C178893   9400I     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79471     2005   INTL    2HSCNAPR15C046260   9400I     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79472     2005   INTL    2HSCNAPR95C046166   9400I     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79473     2005   INTL    2HSCNAPR35C046129   9400I     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79476     2006   FRGHT   1FUJA6CK86LX22723   CL120     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79477     2007   VOLVO   4V4MC9GF97N446771   VNM42     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79478     2007   VOLVO   4V4MC9GF27N449401   VNM64     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79479     2006   INTL    2HSCNAPR86C190048   9400I     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79481     2005   INTL    2HSCNAPR85C178948   9400I     MN      Saint Cloud
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79482     2007   VOLVO   4V4MC9GF57N446783   VNM42     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79483     2006   FRGHT   1FUJA6CG36LW03019   COLUM     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79484     2005   INTL    2HSCNAPR75C178942   9400I     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79485     2005   INTL    2HSCNAPR35C046194   9400I     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79486     2007   VOLVO   4V4MC9GFX7N449646   VNM64     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79487     2006   FRGHT   1FUJA6CG46LW10447   CL120     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79488     2006   INTL    2HSCNAPRX6C190147   9400I     MI      Romulus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79489     2004   VOLVO   4V4MC9GF14N369972   NA        IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79490     2005   INTL    2HSCNAPR55C178941   9400I     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79491     2005   INTL    2HSCNAPR45C039741   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79492     2005   INTL    2HSCNAPR35C046308   9400I     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79493     2005   INTL    2HSCNAPR25C046252   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79494     2005   INTL    2HSCNAPR65C046125   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79495     2005   INTL    2HSCNAPR05C046122   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79496     2014   FRGHT   3ALXA7A8XEDFP8332   CL120     SC      Columbia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79497     2009   VOLVO   4V4MC9EG49N263552   VNM64     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79504     2015   FRGHT   3AKGGEDV0FSGM5249   CASCA     NC      Fayetteville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79505     2015   FRGHT   3AKGGEDV7FSGK3474   CASCA     CA      Fontana
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79506     2015   FRGHT   3AKGGEDV3FSGK3648   CASCA     GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79507     2015   FRGHT   3AKGGEDV9FSGM5234   CASCA     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79508     2015   FRGHT   3AKGGEDV5FSGK3389   CASCA     PA      Line Lexington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79509     2008   VOLVO   4V4MC9EG38N263542   VNM64     GA      La Grange
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79511     2009   VOLVO   4V4MC9EF19N283801   VNM64T    NY      Deer Park
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79513     2014   FRGHT   3ALXA7A82EDFP8339   CL120     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79515     2006   VOLVO   4V4MC9GF26N405848   VNM64T    IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79516     2012   VOLVO   4V4MC9EG5CN555654   VNM64     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79517     2012   VOLVO   4V4MC9EG2CN555692   VNM64     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79518     2012   VOLVO   4V4MC9EG7CN555669   VNM64     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79519     2005   INTL    2HSCNAPR35C046163   9400I     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79520     2006   VOLVO   4V4MC9GF26N405896   VNM64T    PA      Camp Hill
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79521     2015   FRGHT   3AKGGEDVXFSGK3372   CASCA     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79522     2015   FRGHT   3AKGGEDVXFSGK3341   CASCA     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79523     2008   VOLVO   4V4MC9EG98N498334   VNM64     GA      La Grange
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79524     2007   VOLVO   4V4MC9GF17N451835   VNM64     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79525     2007   VOLVO   4V4MC9GF37N449391   VNM64     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79526     2006   VOLVO   4V4MC9GF16N439666   VNM42     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79527     2006   INTL    2HSCNAPR46C189978   9400I     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79528     2005   INTL    2HSCNAPR95C178859   9400I     MI      Wayland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79529     2005   INTL    2HSCNAPR55C046116   9400I     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79530     2007   VOLVO   4V4MC9GFX7N451820   VNM64     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79531     2007   VOLVO   4V4MC9GF87N451900   VNM64     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79532     2005   INTL    3HSCPSBN75N051370   CAT C     TX      Houston
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 453 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79533     2005   FRGHT   1FUJA6CGX5LN92695   CL120     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79534     2006   FRGHT   1FUJA6CK46LX06972   COLUM     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79535     2008   VOLVO   4V4MC9EG68N263535   VNM64     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79536     2008   VOLVO   4V4MC9EG28N498384   VNM64     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79537     2007   VOLVO   4V4MC9GF47N451960   VNM64     MI      Wayland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79538     2007   VOLVO   4V4MC9GFX7N449386   VNM64     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79539     2006   INTL    2HSCNAPR86C190082   9400I     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79540     2005   INTL    2HSCNAPR65C046156   9400I     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79541     2007   VOLVO   4V4MC9GF47N480987   VNM64T    FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79542     2014   FRGHT   1FUJGBDV3ELFV9156   CA113DC   PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79543     2012   FRGHT   1FUJGEDR8CSBH0855   X1256     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79544     2005   INTL    2HSCNAPR35C039715   9400I     WI      Eau Claire
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79545     2006   VOLVO   4V4MC9GFX6N405774   VNM42     GA      Jefferson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79546     2005   INTL    3HSCPSBN85N051359   CAT       TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79547     2007   FRGHT   1FUJA6CK37LX34246   COLUM     MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79548     2007   VOLVO   4V4MC9GF67N449496   VNM64T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79549     2015   FRGHT   3AKGGEDV8FSGK3385   CASCA     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79550     2015   FRGHT   3AKGGEDV1FSGK3342   CASCA     FL      Orlando
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79551     2015   FRGHT   3AKGGEDV1FSGK3647   CASCA     GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79552     2009   VOLVO   4V4MC9EG29N263789   VNM64T    TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79553     2009   VOLVO   4V4MC9EGX9N263779   VNM64T    PA      Harrisburg
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79554     2007   VOLVO   4V4MC9GF97N451789   VNM64     GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79555     2009   VOLVO   4V4MC9EG79N263576   VNM64     TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79556     2005   VOLVO   4V4MC9GF45N387609   VNM64T    PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79557     2007   NVSTR   2HSCNAPR67C431199   9400      OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79558     2015   VOLVO   4V4MC9EH7FN918243   VNM42     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79559     2015   VOLVO   4V4MC9EH1FN918237   VNM42     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79560     2014   VOLVO   4V4MC9EH4EN161459   VNM42     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79561     2014   VOLVO   4V4MC9EH9EN161456   VNM42     CO      Henderson
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79562     2014   VOLVO   4V4MC9EH4EN161445   VNM42     CO      Aurora
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79563     2014   VOLVO   4V4MC9EH2EN161458   VNM42     MT      Butte
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79564     2008   NVSTR   1HSHXAHR78J662517   TRANS     MT      Butte
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79566     2006   INTL    2HSCNAPR06C189931   9400I     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79567     2005   INTL    2HSCNAPR95C046152   9400I     IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79568     2014   FRGHT   3AKJGEDV6ESFV6788   X1256     PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79569     2012   FRGHT   1FUJGEDV2CSBM1157   X1256     DE      Seaford
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79570     2015   FRGHT   3AKGGEDV2FSGK3320   CASCA     MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79571     2009   VOLVO   4V4MC9EF39N283816   VNM64T    PA      Mountain Top
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79572     2011   FRGHT   1FUJGEDV8BSAY2842   X1256     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79573     2005   INTL    2HSCNAPR55C046200   9400I     TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79574     2005   INTL    3HSCPAPN05N049267   ISX       TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79575     2005   INTL    2HSCNAPRX5C046189   9400I     TX      Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79576     2005   INTL    2HSCNAPR05C046363   9400I     IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79577     2006   INTL    2HSCNAPR36C190099   9400I     IN      Terre Haute
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79578     2006   INTL    2HSCNAPR26C189915   9400I     OH      Lima
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79579     2006   INTL    2HSCNAPR96C189913   9400I     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79580     2006   INTL    2HSCNAPR96C189880   9400I     IN      Indianapolis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79581     2005   INTL    2HSCNAPR95C178862   9400I     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79582     2005   INTL    2HSCNAPR85C039743   9400I     IN      South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79584     2005   INTL    2HSCNAPRX5C046256   9400I     TX      Texarkana
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79586     2007   VOLVO   4V4MC9GF87N451931   VNM64     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79587     2005   INTL    2HSCNAPR05C046105   9400I     KY      Bowling Green
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79588     2007   VOLVO   4V4MC9GF77N446803   VNM42     OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79589     2012   VOLVO   4V4MC9EG0CN555660   VNM64     OH      Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79590     2006   INTL    2HSCNAPR36C190121   9400I     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79591     2006   INTL    2HSCNAPR76C190042   9400I     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79593     2005   INTL    2HSCNAPR05C046220   9400I     MN      Coon Rapids
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79594     2005   INTL    2HSCNAPR55C046178   9400I     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79595     2007   VOLVO   4V4MC9GF87N480992   VNM64T    PA      Bensalem
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79596     2016   FRGHT   3AKGGEDV2GDHC5041   CASCA     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79597     2016   FRGHT   3AKGGEDV1GDHC4995   CASCA     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79598     2016   FRGHT   3AKGGEDV2GDHC4813   CASCA     OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79599     2016   FRGHT   3AKGGEDV4GDHC4943   CASCA     AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79600     2016   FRGHT   3AKGGEDV3GDHC4996   CASCA     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79601     2016   FRGHT   3AKGGEDV3GDHC5002   CASCA     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79602     2015   FRGHT   3AKGGEDVXFSGM5212   CASCA     AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79603     2015   FRGHT   3AKGGEDV8FSGK3502   CASCA     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79605     2006   FRGHT   1FUJA6CK36LV84783   CL120     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79606     2012   VOLVO   4V4MC9EG2CN555661   VNM64     AL      Mobile
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 454 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79607     2012   VOLVO   4V4MC9EG9CN555673   VNM64     AL               Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79608     2005   INTL    2HSCNAPR85C178870   9400I     IL               Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79609     2005   INTL    2HSCNAPR35C046325   9400I     NY               Maybrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79610     2006   INTL    2HSCNAPR26C190059   9400I     OH               Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79612     2015   FRGHT   3AKGGEDV6FSGK3322   CASCA     PA               Line Lexington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79613     2005   FRGHT   1FUJA6CK15LV21955   CL120     MI               Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79614     2007   VOLVO   4V4MC9GF37N446801   VNM42     MI               Pontiac
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79615     2012   VOLVO   4V4MC9EG3CN555684   VNM64     MS               Richland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79616     2015   FRGHT   3AKGGEDV3FSGK3584   CASCA     AL               Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79617     2012   VOLVO   4V4MC9EG2CN555689   VNM64     MS               Richland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79618     2013   FRGHT   1FUJGEDV3DSBX3892   X1256     AL               Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79619     2015   FRGHT   3AKGGEDV0FSGK3509   CASCA     KY               Paducah
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79620     2015   FRGHT   3AKGGEDV0FSGK3610   CASCA     KY               Paducah
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79621     2014   FRGHT   3ALXA7A88EDFP8345   CL120     SC               North Charleston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79622     2013   FRGHT   1FUJGEDV8DSFB0388   X1256     NC               Rocky Mount
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79623     2012   VOLVO   4V4MC9EG5CN555668   VNM64     IN               South Bend
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79624     2012   VOLVO   4V4MC9EG0CN555691   VNM64     SC               Florence
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79625     2005   INTL    2HSCNAPR05C178927   9400I     NC               Charlotte
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79626     2006   INTL    2HSCNAPR36C190152   9400I     NC               Durham
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79627     2005   INTL    2HSCNAPR35C178873   9400I     NC               Fayetteville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79628     2005   INTL    2HSCNAPR65C046254   9400I     VA               Roanoke
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79629     2005   INTL    2HSCNAPR75C046215   9400I     NC               Durham
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79630     2005   INTL    2HSCNAPR15C046257   9400I     IL               Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79631     2006   INTL    2HSCNAPR06C189914   9400I     IL               Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79632     2005   INTL    2HSCNAPR15C046209   9400I     IL               Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79633     2006   INTL    2HSCNAPR86C190051   9400I     IL               Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79634     2007   VOLVO   4V4MC9GF47N449349   VNM64     WI               Madison
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79635     2005   INTL    2HSCNAPR35C046339   9400I     WI               Madison
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79636     2009   VOLVO   4V4MC9EG79N263559   VNM64     TX               Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79637     2006   FRGHT   1FUJA6CK96LW68199   COLUM     TX               Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79638     2006   FRGHT   1FUJA6CK76LW42880   COLUM     TX               Fort Worth
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79639     2009   VOLVO   4V4MC9EG59N263592   VNM64     TX               Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79640     2015   FRGHT   3AKGGEDV2FSGK3625   CASCA     TX               Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79641     2015   FRGHT   3AKGGEDV7FSGM5216   CASCA     OK               Tulsa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79642     2015   FRGHT   3AKGGEDV6FSGK3367   CASCA     OK               Tulsa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79647     2012   FRGHT   1FUJGEDV5CSBK2697   X1256     GA               Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79648     2008   VOLVO   4V4MC9EG88N262757   VNM64T    TX               Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79649     2007   VOLVO   4V4MC9GF27N449432   VNM64     SC               Florence
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79650     2009   VOLVO   4V4MC9EG49N263583   VNM64     NC               Rocky Mount
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79651     2005   INTL    2HSCNAPR45C046107   9400I     SC               North Charleston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79652     2007   FRGHT   1FUJA6CK37LW68202   COLUM     SC               North Charleston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79653     2004   VOLVO   4V4MC9GF74N369958   NA        IL               Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79654     2014   FRGHT   3ALXA7A85EDFP8321   CL120     TN               Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79655     2005   INTL    2HSCNAPR65C046318   9400I     IL               Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79657     2009   VOLVO   4V4MC9EG39N263610   VNM64     IL               Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79658     2008   VOLVO   4V4MC9EG28N262740   VNM64T    TX               Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79661     2007   VOLVO   4V4MC9GF77N449510   VNM64T    OH               Richfield
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79662     2006   INTL    2HSCNAPR36C189938   9400I     IL               Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79663     2006   INTL    2HSCNAPR86C189918   9400I     IL               Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79664     2016   FRGHT   3AKGGEDV5GDHC4904   CASCA     MS               Tupelo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79665     2008   VOLVO   4V4MC9EG68N498386   VNM64     PA               Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79666     2007   VOLVO   4V4MC9GF57N480996   VNM64T    TX               Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79667     2006   VOLVO   4V4MC9GF56N405827   VNM64T    TX               Abilene
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79669     2009   NVSTR   2HSCUAPR89C091396   PRO S     British Columbia Burnaby
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79670     2009   NVSTR   2HSCUAPR79C091633   PRO S     WA               Seattle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79671     2009   NVSTR   1HSHXAHR19J133937   TRANS     WA               Tacoma
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79672     2008   NVSTR   1HSHXAHR18J668068   TRANS     WA               Spokane
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79673     2015   FRGHT   3AKGGEDV8FSGM5256   CASCA     IL               Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79674     2015   FRGHT   3AKGGEDV9FSGK3637   CASCA     IL               Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79675     2015   FRGHT   3AKGGEDV9FSGK3539   CASCA     IL               Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79676     2017   FRGHT   1FUGGEDV6HLHS3919   CASCA     NC               Durham
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79677     2008   VOLVO   4V4MC9EG48N263520   VNM64     NC               Durham
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79678     2008   VOLVO   4V4MC9EG28N498403   VNM64     SC               North Charleston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79679     2015   FRGHT   3AKGGEDV3FSGM5214   CASCA     SC               North Charleston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79680     2017   FRGHT   1FUGGEDV3HLHS3781   CASCA     NC               Wilmington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79681     2015   FRGHT   3AKGGEDV1FSGK3440   CASCA     ND               Minot
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79682     2013   FRGHT   1FUJGEDV5DSBZ1729   X1256     TX               Waco
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79683     2013   FRGHT   1FUJGEDV2DSBZ2336   X1256     LA               New Orleans
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79684     2014   FRGHT   3ALXA7A81EDFP8316   CL120     TX               Houston
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 455 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79685     2012   FRGHT   1FUJGEDV1CSBD3434   X1256     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79686     2012   VOLVO   4V4MC9EG1CN555683   VNM64     IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79687     2012   VOLVO   4V4MC9EG7CN555641   VNM64     IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79688     2015   FRGHT   3AKGGEDV7FSGK3507   CASCA     IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79689     2009   VOLVO   4V4MC9EG59N263611   VNM64     IL      Bolingbrook
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79690     2015   FRGHT   3AKGGEDV0FSGK3641   CASCA     IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79691     2015   FRGHT   3AKGGEDV9FSGK3332   CASCA     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79692     2015   FRGHT   3AKGGEDV2FSGK3589   CASCA     MN      Owatonna
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79693     2015   FRGHT   3AKGGEDV2FSGM5267   CASCA     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79694     2015   FRGHT   3AKGGEDV9FSGK3315   CASCA     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79695     2016   FRGHT   3AKGGEDV2GDHC4861   CASCA     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79696     2006   INTL    2HSCNAPR66C190050   9400I     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79697     2005   INTL    2HSCNAPR75C046313   9400I     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79698     2005   INTL    2HSCNAPR35C046261   9400I     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79699     2005   INTL    2HSCNAPR75C046117   9400I     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79700     2015   FRGHT   3AKGGEDV5FSGK3506   CASCA     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79701     2015   FRGHT   3AKGGEDV3FSGM5245   CASCA     AL      Mobile
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79702     2015   FRGHT   3AKGGEDV0FSGK3316   CASCA     TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79703     2015   FRGHT   3AKGGEDV8FSGK3449   CASCA     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79704     2015   FRGHT   3AKGGEDV6FSGM5269   CASCA     LA      Alexandria
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79709     2015   FRGHT   3AKGGEDV7FSGM5264   CASCA     KS      Salina
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79710     2015   FRGHT   3AKGGEDV6FSGK3403   CASCA     KS      Topeka
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79715     2015   FRGHT   3AKGGEDV0FSGM5218   CASCA     CA      Downey
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79716     2017   FRGHT   1FUGGEDV4HLHS3868   CASCA     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79717     2015   FRGHT   3AKGGEDVXFSGM5291   CASCA     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79718     2005   FRGHT   1FUJA6CK05LU13178   CL120     MI      Taylor
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79720     2009   VOLVO   4V4MC9EG99N283621   VNM64T    GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79721     2008   VOLVO   4V4MC9GG88N461949   VNM64T    OK      Oklahoma City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79722     2018   FRGHT   1FUGGEDV8JLJN6633   CASCA     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79723     2017   FRGHT   1FUGGEDV7HLHS3945   CASCA     CA      Adelanto
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79724     2017   FRGHT   1FUGGEDV2HLHS4002   CASCA     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79725     2017   FRGHT   1FUGGEDV2HLHS4033   CASCA     CA      Orange
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79726     2017   FRGHT   1FUGGEDV1HLHS3794   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79727     2015   VOLVO   4V4MC9EH0FN918245   VNM42     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79728     2007   VOLVO   4V4MC9GFX7N480976   VNM64T    TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79730     2016   FRGHT   3AKGGEDV8GDHC5044   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79731     2017   FRGHT   1FUGGEDV9HLHS3977   CASCA     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79732     2016   FRGHT   3AKGGEDV0GDHC4910   CASCA     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79733     2015   FRGHT   3AKGGEDV8FSGK3614   CASCA     SD      Watertown
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79734     2015   FRGHT   3AKGGEDV5FSGK3392   CASCA     SD      Watertown
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79735     2017   FRGHT   1FUGGEDV3HLHS3845   CASCA     CA      Sun Valley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79742     2017   FRGHT   1FUGGEDV2HLHS3870   CASCA     NV      Sparks
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79743     2017   FRGHT   1FUGGEDV2HLHS3951   CASCA     CA      Orange
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79744     2017   FRGHT   1FUGGEDVXHLHS3986   CASCA     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79745     2017   FRGHT   1FUGGEDV7HLHS3895   CASCA     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79746     2017   FRGHT   1FUGGEDV8HLHS3856   CASCA     CA      Fontana
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79747     2009   VOLVO   4V4MC9EG79N263612   VNM64     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79748     2012   VOLVO   4V4MC9EG6CN555680   VNM64     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79749     2008   VOLVO   4V4MC9EG18N263524   VNM64     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79750     2015   FRGHT   3AKGGEDV8FSGK3516   CASCA     FL      Tampa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79751     2017   FRGHT   1FUGGEDV1HLHS4069   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79752     2018   FRGHT   1FUGGEDV5JLJN6783   CASCA     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79757     2017   FRGHT   1FUGGEDV5HLHS3992   CASCA     CA      Orange
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79758     2018   FRGHT   1FUGGEDV8JLJN6597   CASCA     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79759     2018   FRGHT   1FUGGEDV5JLJN6735   CASCA     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79760     2018   FRGHT   1FUGGEDV4JLJN6760   CASCA     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79761     2017   FRGHT   1FUGGEDV7HLHS3850   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79762     2016   FRGHT   3AKGGEDV1GDHC4916   CASCA     MI      Romulus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79763     2015   FRGHT   3AKGGEDV9FSGM5279   CASCA     CA      Calexico
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79764     2017   FRGHT   1FUGGEDV3HLHS3862   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79765     2016   FRGHT   3AKGGEDV2GDHC5072   CASCA     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79766     2016   FRGHT   3AKGGEDV8GDHC5058   CASCA     CA      Fontana
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79767     2017   FRGHT   1FUGGEDV9HLHS3820   CASCA     CA      Bloomington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79768     2017   FRGHT   1FUGGEDVXHLHS4068   CASCA     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79769     2017   FRGHT   1FUGGEDV5HLHS4026   CASCA     CA      Los Angeles
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79770     2007   VOLVO   4V4MC9GF57N451904   VNM64     MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79771     2016   FRGHT   3AKGGEDV5GDHC4997   CASCA     CA      Pomona
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79772     2016   FRGHT   3AKGGEDV4GDHC4912   CASCA     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79773     2016   FRGHT   3AKGGEDV6GDHC4927   CASCA     CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 456 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79774     2017   FRGHT   1FUGGEDV1HLHS3827   CASCA     AZ      Phoenix
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79775     2015   FRGHT   3AKGGEDV2FSGK3463   CASCA     CA      San Diego
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79776     2015   FRGHT   3AKGGEDV3FSGK3388   CASCA     CA      Gardena
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79777     2015   FRGHT   3AKGGEDV3FSGK3536   CASCA     ND      Fargo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79778     2016   FRGHT   3AKGGEDV8GDHC5027   CASCA     CA      Pico Rivera
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79779     2022   VOLVO   4V4WC9EHXNN286135   VNR42     CA      Visalia
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79780     2012   VOLVO   4V4MC9EH9CN556606   VNM42     OR      Portland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79783     2006   VOLVO   4V4MC9GF06N405766   VNM42     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79785     2012   FRGHT   1FUJGEDV8CSBJ9227   X1256     GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79786     2015   VOLVO   4V4MC9EH5FN918242   VNM64     CA      Tracy
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79787     2015   FRGHT   3AKGGEDV1FSGK3518   CASCA     TN      Goodlettsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79792     2005   INTL    2HSCNAPR75C178911   9400I     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79793     2005   FRGHT   1FUJA6CK55LU55345   CL120     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79794     2005   INTL    2HSCEAPR85C203847   9200I     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79795     2007   VOLVO   4V4MC9GF87N446793   VNM42     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79796     2006   VOLVO   4V4MC9GFX6N405922   VNM42     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79797     2005   INTL    2HSCNAPRX5C046242   9400I     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79816     2006   FRGHT   1FUJA6CK76PV60625   COLUM     OH      Toledo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79817     2015   FRGHT   3AKGGEDV0FSGK3378   CASCA     TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79818     2015   FRGHT   3AKGGEDV6FSGK3496   CASCA     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79819     2015   FRGHT   3AKGGEDV9FSGM5217   CASCA     LA      New Orleans
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79820     2015   FRGHT   3AKGGEDV1FSGM5292   CASCA     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79848     2007   VOLVO   4V4MC9GF87N461911   VNM64T    IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79856     2006   INTL    2HSCNAPR06C190013   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79857     2015   FRGHT   3AKGGEDV9FSGK3542   CASCA     TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79858     2015   FRGHT   3AKGGEDV5FSGM5263   CASCA     TN      Knoxville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79859     2009   VOLVO   4V4MC9EG59N263639   VNM64     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79863     2007   VOLVO   4V4MC9GF77N451936   VNM64     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79864     2014   FRGHT   3ALXA7A83EDFP8348   CL120     KY      Lexington
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79865     2015   FRGHT   3AKGGEDV0FSGK3588   CASCA     MN      Coon Rapids
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79866     2015   FRGHT   3AKGGEDV5FSGK3411   CASCA     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79867     2016   FRGHT   3AKGGEDV1GDHC4933   CASCA     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79868     2006   VOLVO   4V4MC9GF96N439673   VNM42     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79869     2015   FRGHT   3AKGGEDV1FSGK3633   CASCA     OH      Cincinnati
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79875     2009   VOLVO   4V4MC9EG09N283636   VNM64T    TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79879     2008   VOLVO   4V4MC9EG48N263498   VNM64     NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79880     2005   INTL    2HSCNAPR35C046177   9400I     GA      Conley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79887     2017   FRGHT   1FUGGEDV9HLHS3901   CASCA     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79888     2016   FRGHT   3AKGGEDV6GDHC4880   CASCA     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79889     2007   VOLVO   4V4MC9GF67N451877   VNM64     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79890     2005   FRGHT   1FUJA6CG35LU21657   COLUM     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79891     2006   FRGHT   1FUJA6CG36LW36618   COLUM     OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79892     2005   INTL    2HSCNAPR55C178874   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79893     2012   FRGHT   1FUJGEDV1CSBD2963   X1256     NC      Charlotte
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79894     2016   FRGHT   3AKGGEDV5GDHC4823   CASCA     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79895     2016   FRGHT   3AKGGEDV8GDHC4833   CASCA     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79896     2007   VOLVO   4V4MC9GF97N446818   VNM42     PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79900     2009   VOLVO   4V4MC9EG69N283639   VNM64T    FL      Miami
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79905     2006   INTL    2HSCNAPR76C189988   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79906     2015   FRGHT   3AKGGEDV1FSGK3549   CASCA     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79907     2007   VOLVO   4V4MC9GF67N451863   VNM64     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79908     2019   PTRBL   1XPBD49X3KD617827   579       UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79911     2007   VOLVO   4V4MC9GFX7N449369   VNM64     MD      Landover
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79912     2007   VOLVO   4V4MC9GF37N451836   VNM64     VA      Richmond
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79913     2017   FRGHT   1FUGGEDV2HLHS3853   CASCA     VA      Richmond
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79914     2005   INTL    2HSCNAPR45C178882   9400I     IL      Montgomery
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79915     2006   INTL    2HSCNAPR46C190001   9400I     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79919     2015   FRGHT   3AKGGEDV2FSGK3530   CASCA     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79920     2015   FRGHT   3AKGGEDV8FSGK3404   CASCA     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79925     2016   FRGHT   3AKGGEDV4GDHC5042   CASCA     MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79926     2012   VOLVO   4V4MC9EG3CN555667   VNM64     NC      Rocky Mount
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79927     2007   FRGHT   1FUJA6CK17LX83106   COLUM     LA      Port Allen
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79928     2015   FRGHT   3AKGGEDVXFSGK3324   CASCA     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79929     2015   FRGHT   3AKGGEDV8FSGK3306   CASCA     MS      Richland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79930     2015   FRGHT   3AKGGEDV1FSGK3373   CASCA     FL      Boynton Beach
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79931     2012   VOLVO   4V4MC9EG9CN555656   VNM64     NC      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79933     2015   FRGHT   3AKGGEDVXFSGK3629   CASCA     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79934     2015   FRGHT   3AKGGEDV6FSGK3353   CASCA     WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79935     2017   FRGHT   1FUGGEDV8HLHS3761   CASCA     WI      Oak Creek
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 457 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79936     2015   FRGHT   3AKGGEDVXFSGK3615   CASCA      WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79937     2015   FRGHT   3AKGGEDV4FSGK3514   CASCA      WI      Oak Creek
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79938     2008   VOLVO   4V4MC9EG88N262743   VNM64T     IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79942     2016   FRGHT   3AKGGEDVXGDHC4994   CASCA      GA      Macon
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79946     2015   FRGHT   3AKGGEDVXFSGK3405   CASCA      IL      Wheeling
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79958     2007   VOLVO   4V4MC9GF77N451869   VNM64      OH      Toledo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79959     2005   INTL    2HSCNAPR15C046095   9400I      OH      Toledo
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79960     2017   FRGHT   1FUGGEDV2HLHS3786   CASCA      WV      Beckley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79961     2015   FRGHT   3AKGGEDV5FSGK3618   CASCA      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79964     2005   INTL    2HSCNAPR95C178926   9400I      OH      Akron
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79965     2007   VOLVO   4V4MC9GF27N451830   VNM64      TN      Nashville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79966     2005   INTL    2HSCNAPR65C046139   9400I      OH      Lima
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79967     2007   VOLVO   4V4MC9GF37N451903   VNM64      OH      Lima
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79968     2015   FRGHT   3AKGGEDV2FSGK3527   CASCA      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79969     2015   FRGHT   3AKGGEDV5FSGM5215   CASCA      OH      Copley
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79970     2017   FRGHT   1FUGGEDVXHLHS3793   CASCA      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79971     2017   FRGHT   1FUGGEDV7HLHS3914   CASCA      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79972     2012   FRGHT   1FUJGEDV1CSBD7130   X1256      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79973     2016   FRGHT   3AKGGEDV1GDHC5001   CASCA      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79974     2014   FRGHT   3ALXA7A88EDFP8362   CL120      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79975     2012   VOLVO   4V4MC9EGXCN555648   VNM64      MI      Wyoming
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79976     2015   FRGHT   3AKGGEDV7FSGK3300   CASCA      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79977     2012   FRGHT   1FUJGEDV5CSBJ9184   X1256      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79982     2015   FRGHT   3AKGGEDVXFSGK3565   CASCA      IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79984     2017   FRGHT   1FUGGEDV4HLHS3904   CASCA      OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79985     2017   MACK    1M1AW02Y6HM084237   CXU613     FL      Jacksonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79986     2007   INTL    2HSCEAHR37C379920   9200I      NY      Tonawanda
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79987     2018   FRGHT   1FUGGEDVXJLJN6570   CASCA      OH      Columbus
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79988     2009   VOLVO   4V4MC9EG49N263762   VNM64T     UT      Salt Lake City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79989     2016   FRGHT   3AKGGEDV2GDHC5038   CASCA      IL      Chicago Heights
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79990     2015   FRGHT   3AKGGEDV2FSGK3592   CASCA      MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79991     2018   FRGHT   1FUGGEDVXJLJN6794   CASCA      MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79992     2015   FRGHT   3AKGGEDV6FSGK3451   CASCA      MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79993     2015   FRGHT   3AKGGEDV3FSGK3407   CASCA      MO      Saint Louis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79994     2015   FRGHT   3AKGGEDVXFSGM5209   CASCA      OK      Tulsa
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79996     2008   VOLVO   4V4MC9EGX8N263537   VNM64      MN      Burnsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79997     2015   FRGHT   3AKGGEDV8FSGK3628   CASCA      TX      Houston
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79998     2006   INTL    2HSCNAPRX6C190021   9400I      PA      Carlisle
 YRCF     CITY TRACTOR     CTR‐TA   RDWY79999     2007   VOLVO   4V4MC9GF57N451837   VNM64      MI      Wayland
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89233     2007   VOLVO   4V4MC9GF17N446781   VNM42      AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89235     2014   FRGHT   3ALXA7A8XEDFP8346   CL120      AR      Little Rock
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89236     2007   VOLVO   4V4MC9GF27N449656   VNM64      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89238     2016   FRGHT   3AKGGEDV6GDHC4992   CASCA      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89239     2016   FRGHT   3AKGGEDV4GDHC4926   CASCA      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89240     2017   FRGHT   1FUGGEDV5HLHS3877   CASCA      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89241     2017   FRGHT   1FUGGEDV8HLHS3906   CASCA      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89242     2017   FRGHT   1FUGGEDV0HLHS3933   CASCA      TN      Goodlettsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89243     2017   FRGHT   1FUGGEDV8HLHS3999   CASCA      OH      Akron
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89244     2017   FRGHT   1FUGGEDV0HLHS4032   CASCA      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89245     2006   VOLVO   4V4MC9GF26N405915   VNM42      TN      Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89248     2007   VOLVO   4V4MC9GF07N449378   VNM64      MO      Kansas City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89252     2005   FRGHT   1FUJA6CK05LV15094   CL1264S    PA      Reading
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89253     2006   FRGHT   1FUJA6CK76LW32074   CL120      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89254     2006   INTL    2HSCNAPR76C189957   9400I      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89255     2005   FRGHT   1FUJA6CG05PV19814   COLUM      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89256     2005   INTL    2HSCNAPR75C046196   9400I      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89257     2005   FRGHT   1FUJA6CK15LU12962   CL120      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89258     2006   INTL    2HSCNAPRX6C190049   9400I      GA      Marietta
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89259     2017   FRGHT   1FUGGEDV7HLHS3959   CASCA      TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89260     2015   FRGHT   3AKGGEDVXFSGM5288   CASCA      TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89261     2018   FRGHT   1FUGGEDV4JLJN6631   CASCA      TX      Dallas
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89264     2017   FRGHT   1FUGGEDV7HLHS3847   CASCA      TX      Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89265     2016   FRGHT   3AKGGEDV7GDHC5052   CASCA      TN      Kingsport
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89266     2015   FRGHT   3AKGGEDV9FSGK3301   CASCA      OH      Brooklyn
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89267     2015   FRGHT   3AKGGEDV4FSGK3609   CASCA      OH      Brooklyn
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89268     2016   FRGHT   3AKGGEDV5GDHC5034   CASCA      OH      Brooklyn
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89269     2008   VOLVO   4V4MC9EG58N498332   VNM64      OH      Brooklyn
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89270     2008   VOLVO   4V4MC9EG68N263521   VNM64      OH      Brooklyn
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89271     2006   INTL    2HSCNAPR56C189990   9400I      TN      Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 458 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89272    2006   INTL    2HSCNAPR86C189997   9400I     TN        Memphis
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89273    2006   INTL    2HSCNAPR16C190005   9400I     IN        Jeffersonville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89274    2006   FRGHT   1FUJA6CK16LV99458   CL120     TX        Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89275    2015   FRGHT   3AKGGEDV8FSGK3452   CASCA     IL        Edwardsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89276    2017   FRGHT   1FUGGEDV8HLHS3923   CASCA     TX        Irving
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89277    2015   FRGHT   3AKGGEDV2FSGK3334   CASCA     MD        Hagerstown
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89278    2006   INTL    2HSCNAPR66C190002   9400I     IL        Edwardsville
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89282    2015   FRGHT   3AKGGEDV9FSGK3556   CASCA     GA        Ellenwood
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89283    2015   FRGHT   3AKGGEDV6FSGK3305   CASCA     GA        Ellenwood
 YRCF     CITY TRACTOR     CTR‐TA   RDWY89284    2015   FRGHT   3AKGGEDV3FSGM5200   CASCA     GA        Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY172001   2005   WABSH   1JJD101W45L942597   1JJD      NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY172002   2005   WABSH   1JJD101W65L942598   1JJD      TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY172003   2005   WABSH   1JJD101W85L942599   1JJD      MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY172005   2005   WABSH   1JJD101W25L942601   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172007   2005   WABSH   1JJD101W65L942603   1JJD      AL        Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY172010   2005   WABSH   1JJD101W15L942606   1JJD      TN        Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY172012   2005   WABSH   1JJD101W55L942608   1JJD      IL        Bolingbrook
 YRCF     DOLLY            DOL‐SA   RDWY172013   2005   WABSH   1JJD101W75L942609   1JJD      CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY172014   2005   WABSH   1JJD101W35L942610   1JJD      GA        Ringgold
 YRCF     DOLLY            DOL‐SA   RDWY172015   2005   WABSH   1JJD101W55L942611   1JJD      CA        Downey
 YRCF     DOLLY            DOL‐SA   RDWY172016   2005   WABSH   1JJD101W75L942612   1JJD      OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY172020   2005   WABSH   1JJD101W45L942616   1JJD      MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY172021   2005   WABSH   1JJD101W65L942617   1JJD      FL        Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY172023   2005   WABSH   1JJD101WX5L942619   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172024   2005   WABSH   1JJD101W65L942620   1JJD      ID        Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY172026   2005   WABSH   1JJD101WX5L942622   1JJD      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY172027   2005   WABSH   1JJD101W15L942623   1JJD      NC        Durham
 YRCF     DOLLY            DOL‐SA   RDWY172028   2005   WABSH   1JJD101W35L942624   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172029   2005   WABSH   1JJD101W55L942625   1JJD      GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY172030   2005   WABSH   1JJD101W75L942626   1JJD      MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY172031   2005   WABSH   1JJD101W95L942627   1JJD      OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY172034   2005   WABSH   1JJD101W95L942630   1JJD      MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY172035   2005   WABSH   1JJD101W05L942631   1JJD      TX        El Paso
 YRCF     DOLLY            DOL‐SA   RDWY172036   2005   WABSH   1JJD101W25L942632   1JJD      MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY172037   2005   WABSH   1JJD101W45L942633   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172039   2005   WABSH   1JJD101W85L942635   1JJD      WA        Everett
 YRCF     DOLLY            DOL‐SA   RDWY172040   2005   WABSH   1JJD101WX5L942636   1JJD      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY172041   2005   WABSH   1JJD101W15L942637   1JJD      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY172042   2005   WABSH   1JJD101W35L942638   1JJD      SD        Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY172045   2005   WABSH   1JJD101W35L942641   1JJD      NC        Kernersville
 YRCF     DOLLY            DOL‐SA   RDWY172046   2005   WABSH   1JJD101W55L942642   1JJD      CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY172050   2005   WABSH   1JJD101W25L942646   1JJD      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY172053   2005   WABSH   1JJD101W85L942649   1JJD      OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY172055   2005   WABSH   1JJD101W65L942651   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172056   2005   WABSH   1JJD101W85L942652   1JJD      FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY172058   2005   WABSH   1JJD101W15L942654   1JJD      OK        Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY172059   2005   WABSH   1JJD101W35L942655   1JJD      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY172060   2005   WABSH   1JJD101W55L942656   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172061   2005   WABSH   1JJD101W75L942657   1JJD      IN        Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY172063   2005   WABSH   1JJD101W05L942659   1JJD      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY172064   2005   WABSH   1JJD101W75L942660   1JJD      OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY172065   2005   WABSH   1JJD101W95L942661   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172066   2005   WABSH   1JJD101W05L942662   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172068   2005   WABSH   1JJD101W45L942664   1JJD      TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY172071   2005   WABSH   1JJD101WX5L942667   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172073   2005   WABSH   1JJD101W35L942669   1JJD      IN        Hammond
 YRCF     DOLLY            DOL‐SA   RDWY172074   2005   WABSH   1JJD101WX5L942670   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172077   2005   WABSH   1JJD101W55L942673   1JJD      IA        Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY172078   2005   WABSH   1JJD101W75L942674   1JJD      IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY172079   2005   WABSH   1JJD101W95L942675   1JJD      AZ        Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY172080   2005   WABSH   1JJD101W05L942676   1JJD      Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY172081   2005   WABSH   1JJD101W25L942677   1JJD      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY172085   2005   WABSH   1JJD101W45L942681   1JJD      IA        Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY172086   2005   WABSH   1JJD101W65L942682   1JJD      OH        Toledo
 YRCF     DOLLY            DOL‐SA   RDWY172087   2005   WABSH   1JJD101W85L942683   1JJD      UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY172088   2005   WABSH   1JJD101WX5L942684   1JJD      IL        Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY172089   2005   WABSH   1JJD101W15L942685   1JJD      CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY172090   2005   WABSH   1JJD101W35L942686   1JJD      TN        Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY172091   2005   WABSH   1JJD101W55L942687   1JJD      MO        Saint Louis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 459 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY172093   2005   WABSH   1JJD101W95L942689   1JJD      RI      Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY172094   2005   WABSH   1JJD101W55L942690   1JJD      IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY172096   2005   WABSH   1JJD101W95L942692   1JJD      GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY172097   2005   WABSH   1JJD101W05L942693   1JJD      TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY172098   2005   WABSH   1JJD101W25L942694   1JJD      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY172102   2005   WABSH   1JJD101W05L948087   1JJD      GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY172105   2005   WABSH   1JJD101W05L948090   1JJD      WI      Tomah
 YRCF     DOLLY            DOL‐SA   RDWY172106   2005   WABSH   1JJD101W25L948091   1JJD      TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY172107   2005   WABSH   1JJD101W45L948092   1JJD      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY172108   2005   WABSH   1JJD101W65L948093   1JJD      TN      Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY172110   2006   WABSH   1JJD101W86L987379   1JJD      TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY172111   2006   WABSH   1JJD101W46L987380   1JJD      IN      Hammond
 YRCF     DOLLY            DOL‐SA   RDWY172112   2006   WABSH   1JJD101W66L987381   1JJD      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY172113   2006   WABSH   1JJD101W86L987382   1JJD      OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY172114   2006   WABSH   1JJD101WX6L987383   1JJD      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY172115   2006   WABSH   1JJD101W16L987384   1JJD      NJ      Cinnaminson
 YRCF     DOLLY            DOL‐SA   RDWY172117   2006   WABSH   1JJD101W56L987386   1JJD      MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY172119   2006   WABSH   1JJD101W96L987388   1JJD      MD      Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY172120   2006   WABSH   1JJD101W06L987389   1JJD      WA      Spokane
 YRCF     DOLLY            DOL‐SA   RDWY172121   2006   WABSH   1JJD101W76L987390   1JJD      MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY172122   2006   WABSH   1JJD101W96L987391   1JJD      NE      Omaha
 YRCF     DOLLY            DOL‐SA   RDWY172124   2006   WABSH   1JJD101W26L987393   1JJD      TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY172125   2006   WABSH   1JJD101W46L987394   1JJD      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY172126   2006   WABSH   1JJD101W66L987395   1JJD      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY172128   2006   WABSH   1JJD101WX6L987397   1JJD      AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY172129   2006   WABSH   1JJD101W16L987398   1JJD      CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY172130   2006   WABSH   1JJD101W36L987399   1JJD      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY172131   2006   WABSH   1JJD101W66L987400   1JJD      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY172132   2006   WABSH   1JJD101W86L987401   1JJD      CO      Henderson
 YRCF     DOLLY            DOL‐SA   RDWY172133   2006   WABSH   1JJD101WX6L987402   1JJD      OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY172134   2006   WABSH   1JJD101W16L987403   1JJD      FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY172135   2006   WABSH   1JJD101W36L987404   1JJD      MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY172136   2006   WABSH   1JJD101W56L987405   1JJD      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY172139   2006   WABSH   1JJD101W06L987408   1JJD      IL      Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY172140   2006   WABSH   1JJD101W26L987409   1JJD      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY172141   2006   WABSH   1JJD101W96L987410   1JJD      OH      North Lima
 YRCF     DOLLY            DOL‐SA   RDWY172142   2006   WABSH   1JJD101W06L987411   1JJD      WA      Everett
 YRCF     DOLLY            DOL‐SA   RDWY172143   2006   WABSH   1JJD101W26L987412   1JJD      WI      Eau Claire
 YRCF     DOLLY            DOL‐SA   RDWY172144   2006   WABSH   1JJD101W46L987413   1JJD      TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY172146   2006   WABSH   1JJD101W86L987415   1JJD      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY172147   2006   WABSH   1JJD101WX6L987416   1JJD      TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY172148   2006   WABSH   1JJD101W16L987417   1JJD      TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY172149   2006   WABSH   1JJD101W36L987418   1JJD      AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY172150   2006   WABSH   1JJD101W56L987419   1JJD      IA      Sioux City
 YRCF     DOLLY            DOL‐SA   RDWY172151   2006   WABSH   1JJD101W16L987420   1JJD      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY172152   2006   WABSH   1JJD101W36L987421   1JJD      IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY172153   2006   WABSH   1JJD101W56L987422   1JJD      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY172155   2006   WABSH   1JJD101W96L987424   1JJD      IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY172157   2006   WABSH   1JJD101W26L987426   1JJD      AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY172158   2006   WABSH   1JJD101W46L987427   1JJD      NJ      Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY172159   2006   WABSH   1JJD101W66L987428   1JJD      FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY172161   2006   WABSH   1JJD101W46L987430   1JJD      NM      Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY172162   2006   WABSH   1JJD101W66L987431   1JJD      TX      Texarkana
 YRCF     DOLLY            DOL‐SA   RDWY172163   2006   WABSH   1JJD101W86L987432   1JJD      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY172164   2006   WABSH   1JJD101WX6L987433   1JJD      KY      Paducah
 YRCF     DOLLY            DOL‐SA   RDWY172165   2006   WABSH   1JJD101W16L987434   1JJD      AL      Decatur
 YRCF     DOLLY            DOL‐SA   RDWY172166   2006   WABSH   1JJD101W36L987435   1JJD      MI      Romulus
 YRCF     DOLLY            DOL‐SA   RDWY172167   2006   WABSH   1JJD101W56L987436   1JJD      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY172169   2006   WABSH   1JJD101W96L987438   1JJD      TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY172170   2006   WABSH   1JJD101W06L987439   1JJD      WA      Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY172171   2006   WABSH   1JJD101W76L987440   1JJD      MD      Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY172172   2006   WABSH   1JJD101W96L987441   1JJD      CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY172174   2006   WABSH   1JJD101W26L987443   1JJD      AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY172175   2006   WABSH   1JJD101W46L987444   1JJD      TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY172176   2006   WABSH   1JJD101W66L987445   1JJD      MI      Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY172178   2006   WABSH   1JJD101WX6L987447   1JJD      TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY172179   2006   WABSH   1JJD101W16L987448   1JJD      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY172180   2006   WABSH   1JJD101W36L987449   1JJD      IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY172181   2006   WABSH   1JJD101WX6L987450   1JJD      FL      Jacksonville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 460 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     DOLLY            DOL‐SA   RDWY172183   2006   WABSH   1JJD101W36L987452   1JJD      OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY172185   2006   WABSH   1JJD101W76L987454   1JJD      UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY172186   2006   WABSH   1JJD101W96L987455   1JJD      FL             Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY172187   2006   WABSH   1JJD101W06L987456   1JJD      VA             Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY172189   2006   WABSH   1JJD101W46L987458   1JJD      OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY172190   2006   WABSH   1JJD101W66L987459   1JJD      IN             Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY172191   2006   WABSH   1JJD101W26L987460   1JJD      NY             Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY172192   2006   WABSH   1JJD101W46L987461   1JJD      OH             Copley
 YRCF     DOLLY            DOL‐SA   RDWY172193   2006   WABSH   1JJD101W66L987462   1JJD      TX             Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY172195   2006   WABSH   1JJD101WX6L987464   1JJD      TN             Nashville
 YRCF     DOLLY            DOL‐SA   RDWY172196   2006   WABSH   1JJD101W16L987465   1JJD      TX             Irving
 YRCF     DOLLY            DOL‐SA   RDWY172197   2006   WABSH   1JJD101W36L987466   1JJD      PA             Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY172198   2006   WABSH   1JJD101W56L987467   1JJD      OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY172200   2006   WABSH   1JJD101W96L987469   1JJD      WA             Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY172202   2006   WABSH   1JJD101W76L987471   1JJD      NE             Omaha
 YRCF     DOLLY            DOL‐SA   RDWY172204   2006   WABSH   1JJD101W06L987473   1JJD      FL             Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY172205   2006   WABSH   1JJD101W26L987474   1JJD      TN             Nashville
 YRCF     DOLLY            DOL‐SA   RDWY172206   2006   WABSH   1JJD101W46L987475   1JJD      MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY172207   2006   WABSH   1JJD101W66L987476   1JJD      OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY172208   2006   WABSH   1JJD101W86L987477   1JJD      IN             Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY172209   2006   WABSH   1JJD101WX6L987478   1JJD      ID             Meridian
 YRCF     DOLLY            DOL‐SA   RDWY29174    1988   KWIKL   443CS001XJH000020   7000      OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50001    1985   FRUHF   1H2E00611FH068783   ELF‐1     NE             Omaha
 YRCF     DOLLY            DOL‐SA   RDWY50002    1987   FRUHF   1H2E00614HH031679   ELF‐1     Ontario        Mississauga
 YRCF     DOLLY            DOL‐SA   RDWY50003    1975   HOBBS   BLS513160           DSU1074   NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50004    1984   HOBBS   1H2E00614EE018511   ELF‐1     UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50005    1984   HOBBS   1H2E00616EE018512   ELF‐1     AL             Decatur
 YRCF     DOLLY            DOL‐SA   RDWY50006    1984   HOBBS   1H2E00618EE018513   ELF‐1     WA             Seattle
 YRCF     DOLLY            DOL‐SA   RDWY50007    1984   HOBBS   1H2E0061XEE018514   ELF‐1     TX             Irving
 YRCF     DOLLY            DOL‐SA   RDWY50008    2021   WABSH   1JJD061X1ML304739   ELF‐1     AZ             Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50009    1984   HOBBS   1H2E00613EE018516   ELF‐1     WA             Pasco
 YRCF     DOLLY            DOL‐SA   RDWY50010    2021   WABSH   1JJD061X8ML304740   ELF‐1     TX             Irving
 YRCF     DOLLY            DOL‐SA   RDWY50011    1984   HOBBS   1H2E00617EE018518   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50013    1984   HOBBS   1H2E00615EE018520   ELF‐1     TX             Waco
 YRCF     DOLLY            DOL‐SA   RDWY50015    2021   WABSH   1JJD061XXML304741   ELF‐1     TX             El Paso
 YRCF     DOLLY            DOL‐SA   RDWY50016    1984   HOBBS   1H2E00610EE018523   ELF‐1     AZ             Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50017    1984   HOBBS   1H2E00612EE018524   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50018    2021   WABSH   1JJD061X1ML304742   ELF‐1     WA             Pasco
 YRCF     DOLLY            DOL‐SA   RDWY50020    1984   HOBBS   1H2E00618EE018527   ELF‐1     OR             Portland
 YRCF     DOLLY            DOL‐SA   RDWY50021    1984   HOBBS   1H2E0061XEE018528   ELF‐1     PA             Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50022    2021   WABSH   1JJD061X3ML304743   ELF‐1     UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50024    1984   HOBBS   1H2E0061XEE018531   ELF‐1     VA             Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY50025    1984   HOBBS   1H2E00611EE018532   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50026    2021   WABSH   1JJD061X5ML304744   ELF‐1     TN             Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY50027    1984   HOBBS   1H2E00615EE018534   ELF‐1     MO             Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY50028    1984   HOBBS   1H2E00617EE018535   ELF‐1     CA             Fontana
 YRCF     DOLLY            DOL‐SA   RDWY50029    2021   WABSH   1JJD061X7ML304745   ELF‐1     UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50030    2021   WABSH   1JJD061X9ML304746   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50032    2021   WABSH   1JJD061X0ML304747   ELF‐1     NV             Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY50033    1984   HOBBS   1H2E00612EE018541   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50034    1984   HOBBS   1H2E00614EE018542   ELF‐1     IL             Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY50035    2021   WABSH   1JJD061X2ML304748   ELF‐1     NE             Omaha
 YRCF     DOLLY            DOL‐SA   RDWY50036    1984   HOBBS   1H2E00618EE018544   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50038    1984   HOBBS   1H2E00611EE018546   ELF‐1     Ontario        Mississauga
 YRCF     DOLLY            DOL‐SA   RDWY50039    2021   WABSH   1JJD061X4ML304749   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50041    1984   HOBBS   1H2E00617EE018549   ELF‐1     IL             Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY50042    1984   HOBBS   1H2E00613EE018550   ELF‐1     MI             Norway
 YRCF     DOLLY            DOL‐SA   RDWY50044    2021   WABSH   1JJD061X0ML304750   ELF‐1     Saskatchewan   Saskatoon
 YRCF     DOLLY            DOL‐SA   RDWY50045    1984   HOBBS   1H2E00619EE018553   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50046    2021   WABSH   1JJD061X2ML304751   ELF‐1     CA             West Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY50047    1984   HOBBS   1H2E00612EE018555   ELF‐1     GA             Martinez
 YRCF     DOLLY            DOL‐SA   RDWY50048    1984   HOBBS   1H2E00614EE018556   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50049    2021   WABSH   1JJD061X4ML304752   ELF‐1     NM             Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50050    1984   HOBBS   1H2E00618EE001858   ELF‐1     PA             Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50051    1984   HOBBS   1H2E0061XEE018559   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50052    2021   WABSH   1JJD061X6ML304753   ELF‐1     IN             Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50054    1984   HOBBS   1H2E0061XEE018562   ELF‐1     TX             McAllen
 YRCF     DOLLY            DOL‐SA   RDWY50055    2021   WABSH   1JJD061X8ML304754   ELF‐1     VA             Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY50056    2021   WABSH   1JJD061XXML304755   ELF‐1     PA             Mountain Top
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 461 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     DOLLY            DOL‐SA   RDWY50057     1984   HOBBS   1H2E00615EE018565   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY50058     2021   WABSH   1JJD061X1ML304756   ELF‐1     MI         Birch Run
 YRCF     DOLLY            DOL‐SA   RDWY50059     1984   HOBBS   1H2E00610EE018568   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50062     1984   HOBBS   1H2E00610EE018571   ELF‐1     GA         Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY50063     1984   HOBBS   1H2E00612EE018572   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50065     1987   FRUHF   1H2E00615HC007999   ELF‐1     MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50066     1987   FRUHF   1H2E00614HH031391   ELF‐1     MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50067     1987   FRUHF   1H2E00617HH031451   ELF‐1     ID         Meridian
 YRCF     DOLLY            DOL‐SA   RDWY50068     1987   FRUHF   1H2E00617HH031465   ELF‐1     MT         Missoula
 YRCF     DOLLY            DOL‐SA   RDWY50071     1987   FRUHF   1H2E00616HH031618   ELF‐1     CO         Clifton
 YRCF     DOLLY            DOL‐SA   RDWY50072     2021   WABSH   1JJD061X3ML304757   ELF‐1     GA         La Grange
 YRCF     DOLLY            DOL‐SA   RDWY50073     1987   FRUHF   1H2E00610HH031856   ELF‐1     OR         Roseburg
 YRCF     DOLLY            DOL‐SA   RDWY50074     1987   FRUHF   1H2E00614HH031861   ELF‐1     WI         Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY50075     2021   WABSH   1JJD061X5ML304758   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50076     1987   FRUHF   1H2E00610HH031887   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50077     1987   FRUHF   1H2E00614HH031889   ELF‐1     CO         Aurora
 YRCF     DOLLY            DOL‐SA   RDWY50078     1987   FRUHF   1H2E0061XHH031931   ELF‐1     GA         Savannah
 YRCF     DOLLY            DOL‐SA   RDWY50079     1987   FRUHF   1H2E00612HH031955   ELF‐1     CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY50080     2021   WABSH   1JJD061X7ML304759   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50081     2021   WABSH   1JJD061X3ML304760   ELF‐1     OR         Central Point
 YRCF     DOLLY            DOL‐SA   RDWY50082     1988   FRUHF   1H2E00616JH058470   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50083     1988   FRUHF   1H2E00614JE030913   ELF‐1     MI         Wayland
 YRCF     DOLLY            DOL‐SA   RDWY50084     1988   FRUHF   1H2E00612JE030960   ELF‐1     PA         Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY50085     1988   FRUHF   1H2E0061XJE030981   ELF‐1     WA         Spokane
 YRCF     DOLLY            DOL‐SA   RDWY50086     1988   FRUHF   1H2E00612JE030991   ELF‐1     OH         Richfield
 YRCF     DOLLY            DOL‐SA   RDWY50087     1989   FRUHF   1H2E0061XKH028616   ELF‐1     NV         Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY50089     2021   WABSH   1JJD061X5ML304761   ELF‐1     MT         Missoula
 YRCF     DOLLY            DOL‐SA   RDWY50090     2021   WABSH   1JJD061X7ML304762   ELF‐1     TX         Irving
 YRCF     DOLLY            DOL‐SA   RDWY50091     2021   WABSH   1JJD061X9ML304763   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY50092     1989   FRUHF   1H2E0061XKH028826   ELF‐1     AL         Mobile
 YRCF     DOLLY            DOL‐SA   RDWY50093     2021   WABSH   1JJD061X0ML304764   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50094     1989   FRUHF   1H2E00613KH031633   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50096     2021   WABSH   1JJD061X2ML304765   ELF‐1     Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY50097     1989   FRUHF   1H2E0061XKH045044   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50098     1989   FRUHF   1H2E00614KH045055   ELF‐1     AR         Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY50100     1989   FRUHF   1H2E00614KH045072   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50101     1989   FRUHF   1H2E00613KH045094   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50102     2021   WABSH   1JJD061X4ML304766   ELF‐1     FL         Orlando
 YRCF     DOLLY            DOL‐SA   RDWY50104     2022   WABSH   1JJD061X4NL304767   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50105     1989   FRUHF   1H2E00611KH045191   ELF‐1     FL         Miami
 YRCF     DOLLY            DOL‐SA   RDWY50106     1989   NTHCT   1N9CD0019KW060045   NCD1      CO         Denver
 YRCF     DOLLY            DOL‐SA   RDWY50107     1989   NTHCT   1N9CD0015KW060060   NCD1      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50109     2022   WABSH   1JJD061X6NL304768   ELF‐1     WA         Seattle
 YRCF     DOLLY            DOL‐SA   RDWY50110     1989   NTHCT   1N9CD0015KW060124   NCD1      AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50111     2022   WABSH   1JJD061X8NL304769   ELF‐1     IL         Hodgkins
 YRCF     DOLLY            DOL‐SA   RDWY50113     1990   NTHCT   1N9CD0015LW060044   NCD1      AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50114     1990   NTHCT   1N9CD0017LW060093   NCD1      TX         San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY50115     2022   WABSH   1JJD061X4NL304770   ELF‐1     NY         Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY50116     2022   WABSH   1JJD061X6NL304771   ELF‐1     MI         Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY50117     1990   FRUHF   1H2E00814LH019408   ELF‐1     CA         Sun Valley
 YRCF     DOLLY            DOL‐SA   RDWY50118     1990   FRUHF   1H2E00814LH019411   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50120     1990   FRUHF   1H2E00819LH019422   ELF‐1     CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY50121     1990   FRUHF   1H2E00813LH019433   ELF‐1     GA         Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY50122     1990   FRUHF   1H2E00817LH019435   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50123     1990   FRUHF   1H2E00812LH019438   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50124     2022   WABSH   1JJD061X8NL304772   ELF‐1     MI         Norway
 YRCF     DOLLY            DOL‐SA   RDWY50125     1990   FRUHF   1H2E0081XLH019462   ELF‐1     AL         Mobile
 YRCF     DOLLY            DOL‐SA   RDWY50126     2022   WABSH   1JJD061XXNL304773   ELF‐1     FL         Orlando
 YRCF     DOLLY            DOL‐SA   RDWY50127     1990   FRUHF   1H2E00816LH019510   ELF‐1     OH         Dayton
 YRCF     DOLLY            DOL‐SA   RDWY50128     1990   FRUHF   1H2E0081XLH019512   ELF‐1     NY         Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY50129     1990   FRUHF   1H2E00819LH019517   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50130     1990   FRUHF   1H2E00816LH019524   ELF‐1     TN         Nashville
 YRCF     DOLLY            DOL‐SA   RDWY50131     1990   FRUHF   1H2E00811LH019544   ELF‐1     MD         Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY50132     1990   FRUHF   1H2E00810LH019549   ELF‐1     OH         Copley
 YRCF     DOLLY            DOL‐SA   RDWY50133     2022   WABSH   1JJD061X1NL304774   ELF‐1     VA         Manassas
 YRCF     DOLLY            DOL‐SA   RDWY50134     2022   WABSH   1JJD061X3NL304775   ELF‐1     AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50135     1990   FRUHF   1H2E0081XLH019560   ELF‐1     IN         Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY50136     2022   WABSH   1JJD061X5NL304776   ELF‐1     IL         Decatur
 YRCF     DOLLY            DOL‐SA   RDWY50137     1990   FRUHF   1H2E00813LH019562   ELF‐1     Manitoba   Winnipeg
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 462 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State            City
 YRCF     DOLLY            DOL‐SA   RDWY50138     1990   FRUHF   1H2E00818LH019573   ELF‐1      FL               Boynton Beach
 YRCF     DOLLY            DOL‐SA   RDWY50140     1990   FRUHF   1H2E00810LH019583   ELF‐1      Alberta          Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY50141     1990   FRUHF   1H2E00818LH019587   ELF‐1      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50142     2022   WABSH   1JJD061X7NL304777   ELF‐1      NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50143     1990   FRUHF   1H2E00813LH019593   ELF‐1      IL               Bolingbrook
 YRCF     DOLLY            DOL‐SA   RDWY50144     2022   WABSH   1JJD061X9NL304778   ELF‐1      MO               Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50145     1990   FRUHF   1H2E00813LH019609   ELF‐1      WA               Seattle
 YRCF     DOLLY            DOL‐SA   RDWY50146     1990   FRUHF   1H2E00811LH019611   ELF‐1      OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY50147     2022   WABSH   1JJD061X0NL304779   ELF‐1      Manitoba         Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY50148     1990   FRUHF   1H2E00812LH019620   ELF‐1      VA               Manassas
 YRCF     DOLLY            DOL‐SA   RDWY50149     2022   WABSH   1JJD061X7NL304780   ELF‐1      GA               Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY50151     1990   FRUHF   1H2E00816LH019653   ELF‐1      KY               Corbin
 YRCF     DOLLY            DOL‐SA   RDWY50152     2022   WABSH   1JJD061X9NL304781   ELF‐1      TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY50153     1990   FRUHF   1H2E00819LH019663   ELF‐1      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50154     2022   WABSH   1JJD061X0NL304782   ELF‐1      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50155     1990   FRUHF   1H2E00815LH019689   ELF‐1      IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50156     1990   FRUHF   1H2E00812LH019696   ELF‐1      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50157     2022   WABSH   1JJD061X2NL304783   ELF‐1      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50158     2022   WABSH   1JJD061X4NL304784   ELF‐1      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50159     1990   FRUHF   1H2E00814LH019702   ELF‐1      NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50160     1990   FRUHF   1H2E00817LH019709   ELF‐1      MN               Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50161     2022   WABSH   1JJD061X6NL304785   ELF‐1      TX               Houston
 YRCF     DOLLY            DOL‐SA   RDWY50162     2022   WABSH   1JJD061X8NL304786   ELF‐1      LA               Monroe
 YRCF     DOLLY            DOL‐SA   RDWY50163     1990   FRUHF   1H2E0081XLH019736   ELF‐1      OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY50165     1992   PINES   1PNA09107NK044362   CDLY       OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY50166     1992   PINES   1PNA09103NK044374   CDLY       MN               Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50167     2022   WABSH   1JJD061XXNL304787   ELF‐1      MN               Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50169     2022   WABSH   1JJD061X1NL304788   ELF‐1      OH               Richfield
 YRCF     DOLLY            DOL‐SA   RDWY50170     1992   PINES   1PNA09100NK044395   CDLY       NV               Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50171     1992   PINES   1PNA09102NK044396   CDLY       IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50172     1992   PINES   1PNA09102NK044401   CDLY       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50173     1992   PINES   1PNA09108NK044404   CDLY       CA               Hayward
 YRCF     DOLLY            DOL‐SA   RDWY50175     2022   WABSH   1JJD061X3NL304789   ELF‐1      CA               San Diego
 YRCF     DOLLY            DOL‐SA   RDWY50176     1992   PINES   1PNA09104NK044416   CDLY       NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY50180     1992   PINES   1PNA09102NK044432   CDLY       WA               Spokane
 YRCF     DOLLY            DOL‐SA   RDWY50181     2022   WABSH   1JJD061XXNL304790   ELF‐1      IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50182     1992   PINES   1PNA09108NK044449   CDLY       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50183     2022   WABSH   1JJD061X1NL304791   ELF‐1      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50184     2022   WABSH   1JJD061X3NL304792   ELF‐1      TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY50185     1992   PINES   1PNA09109NK044458   CDLY       PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50186     1992   PINES   1PNA09107NK044460   CDLY       PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50189     1975   HOBBS   BLS513158           DSU‐1074   PA               McKees Rocks
 YRCF     DOLLY            DOL‐SA   RDWY50190     1975   HOBBS   BLS513166           DSU‐1074   MO               Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50191     1990   FRUHF   1H2E00815LH019496   ELF‐1      FL               Miami
 YRCF     DOLLY            DOL‐SA   RDWY50192     2020   WABSH   1JJD061X4LL222406   CDH        OR               Portland
 YRCF     DOLLY            DOL‐SA   RDWY50193     2020   WABSH   1JJD061X6LL222407   CDH        NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50194     2020   WABSH   1JJD061X8LL222408   CDH        TX               Dallas
 YRCF     DOLLY            DOL‐SA   RDWY50195     2020   WABSH   1JJD061XXLL222409   CDH        NE               Omaha
 YRCF     DOLLY            DOL‐SA   RDWY50196     2020   WABSH   1JJD061X6LL222410   CDH        AZ               Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50197     2020   WABSH   1JJD061X8LL222411   CDH        British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY50198     2020   WABSH   1JJD061XXLL222412   CDH        ID               Meridian
 YRCF     DOLLY            DOL‐SA   RDWY50199     2020   WABSH   1JJD061X1LL222413   CDH        PQ               Sherbrooke
 YRCF     DOLLY            DOL‐SA   RDWY50200     2020   WABSH   1JJD061X3LL222414   CDH        OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50201     2020   WABSH   1JJD061X5LL222415   CDH        OR               Portland
 YRCF     DOLLY            DOL‐SA   RDWY50202     2020   WABSH   1JJD061X7LL222416   CDH        OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50203     2020   WABSH   1JJD061X9LL222417   CDH        VA               Roanoke
 YRCF     DOLLY            DOL‐SA   RDWY50204     2020   WABSH   1JJD061X0LL222418   CDH        OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50205     2020   WABSH   1JJD061X2LL222419   CDH        IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50206     2020   WABSH   1JJD061X9LL222420   CDH        MO               Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50207     2020   WABSH   1JJD061X0LL222421   CDH        NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50208     2020   WABSH   1JJD061X2LL222422   CDH        MI               Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY50209     2020   WABSH   1JJD061X4LL222423   CDH        OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50210     2020   WABSH   1JJD061X6LL222424   CDH        OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50211     2020   WABSH   1JJD061X8LL222425   CDH        OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY50212     2020   WABSH   1JJD061XXLL222426   CDH        GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50213     2020   WABSH   1JJD061X1LL222427   CDH        OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50214     2020   WABSH   1JJD061X3LL222428   CDH        CA               Tracy
 YRCF     DOLLY            DOL‐SA   RDWY50215     2020   WABSH   1JJD061X5LL222429   CDH        MI               Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY50216     2020   WABSH   1JJD061X1LL222430   CDH        FL               Jacksonville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 463 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY50217     2020   WABSH   1JJD061X3LL222431   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50218     2020   WABSH   1JJD061X5LL222432   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50219     2020   WABSH   1JJD061X7LL222433   CDH       GA        Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY50220     2020   WABSH   1JJD061X9LL222434   CDH       MT        Butte
 YRCF     DOLLY            DOL‐SA   RDWY50221     2020   WABSH   1JJD061X0LL222435   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50222     2020   WABSH   1JJD061X2LL222436   CDH       GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50223     2020   WABSH   1JJD061X4LL222437   CDH       OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY50224     2020   WABSH   1JJD061X6LL222438   CDH       CA        Santa Maria
 YRCF     DOLLY            DOL‐SA   RDWY50225     2020   WABSH   1JJD061X8LL222439   CDH       UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50226     2020   WABSH   1JJD061X4LL222440   CDH       MI        Norway
 YRCF     DOLLY            DOL‐SA   RDWY50227     2020   WABSH   1JJD061X6LL222441   CDH       CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY50228     2020   WABSH   1JJD061X8LL222442   CDH       IA        Sioux City
 YRCF     DOLLY            DOL‐SA   RDWY50229     2020   WABSH   1JJD061XXLL222443   CDH       TX        Waco
 YRCF     DOLLY            DOL‐SA   RDWY50230     2020   WABSH   1JJD061X1LL222444   CDH       WA        Spokane
 YRCF     DOLLY            DOL‐SA   RDWY50231     2020   WABSH   1JJD061X3LL222445   CDH       FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY50232     2020   WABSH   1JJD061X5LL222446   CDH       FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY50233     2020   WABSH   1JJD061X7LL222447   CDH       OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY50234     2020   WABSH   1JJD061X9LL222448   CDH       NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY50235     2020   WABSH   1JJD061X0LL222449   CDH       TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY50236     2020   WABSH   1JJD061X7LL222450   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50237     2020   WABSH   1JJD061X9LL222451   CDH       MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50238     2020   WABSH   1JJD061X0LL222452   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50239     2020   WABSH   1JJD061X2LL222453   CDH       FL        Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY50240     2020   WABSH   1JJD061X4LL222454   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50241     2020   WABSH   1JJD061X6LL222455   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50242     2020   WABSH   1JJD061X8LL222456   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50243     2020   WABSH   1JJD061XXLL222457   CDH       PQ        Dorval
 YRCF     DOLLY            DOL‐SA   RDWY50244     2020   WABSH   1JJD061X1LL222458   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50245     2020   WABSH   1JJD061X3LL222459   CDH       GA        La Grange
 YRCF     DOLLY            DOL‐SA   RDWY50246     2020   WABSH   1JJD061XXLL222460   CDH       IL        Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY50247     2020   WABSH   1JJD061X1LL222461   CDH       IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50248     2020   WABSH   1JJD061X3LL222462   CDH       IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50249     2020   WABSH   1JJD061X5LL222463   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50250     2020   WABSH   1JJD061X7LL222464   CDH       TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50251     2020   WABSH   1JJD061X9LL222465   CDH       RI        Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY50252     2020   WABSH   1JJD061X0LL222466   CDH       MI        Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY50253     2020   WABSH   1JJD061X2LL222467   CDH       MO        Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50254     2020   WABSH   1JJD061X4LL222468   CDH       VA        Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY50255     2020   WABSH   1JJD061X6LL222469   CDH       FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY50256     2020   WABSH   1JJD061X2LL222470   CDH       MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50257     2020   WABSH   1JJD061X4LL222471   CDH       IN        Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY50258     2020   WABSH   1JJD061X6LL222472   CDH       AR        Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY50259     2020   WABSH   1JJD061X8LL222473   CDH       NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50260     2020   WABSH   1JJD061XXLL222474   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50261     2020   WABSH   1JJD061X1LL222475   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50262     2020   WABSH   1JJD061X3LL222476   CDH       IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50263     2020   WABSH   1JJD061X5LL222477   CDH       OH        Toledo
 YRCF     DOLLY            DOL‐SA   RDWY50264     2020   WABSH   1JJD061X7LL222478   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50265     2020   WABSH   1JJD061X9LL222479   CDH       TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY50266     2020   WABSH   1JJD061X5LL222480   CDH       IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50267     2020   WABSH   1JJD061X7LL222481   CDH       UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50268     2020   WABSH   1JJD061X9LL222482   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50269     2020   WABSH   1JJD061X0LL222483   CDH       PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50270     2020   WABSH   1JJD061X2LL222484   CDH       Ontario   Niagara on the Lake
 YRCF     DOLLY            DOL‐SA   RDWY50271     2020   WABSH   1JJD061X4LL222485   CDH       MI        Wayland
 YRCF     DOLLY            DOL‐SA   RDWY50272     2020   WABSH   1JJD061X6LL222486   CDH       GA        Richmond Hill
 YRCF     DOLLY            DOL‐SA   RDWY50273     2020   WABSH   1JJD061X8LL222487   CDH       OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY50274     2020   WABSH   1JJD061XXLL222488   CDH       MI        Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY50275     2020   WABSH   1JJD061X1LL222489   CDH       TX        Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY50276     2020   WABSH   1JJD061X8LL222490   CDH       TN        Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY50277     2020   WABSH   1JJD061XXLL222491   CDH       IL        Decatur
 YRCF     DOLLY            DOL‐SA   RDWY50278     2020   WABSH   1JJD061X1LL222492   CDH       CO        Colorado Springs
 YRCF     DOLLY            DOL‐SA   RDWY50279     2020   WABSH   1JJD061X3LL222493   CDH       GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50280     2020   WABSH   1JJD061X5LL222494   CDH       MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY50281     2020   WABSH   1JJD061X7LL222495   CDH       VA        Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY50282     2020   WABSH   1JJD061X9LL222496   CDH       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50283     2020   WABSH   1JJD061X0LL222497   CDH       GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50284     2020   WABSH   1JJD061X2LL222498   CDH       ID        DuBois
 YRCF     DOLLY            DOL‐SA   RDWY50285     2020   WABSH   1JJD061X4LL222499   CDH       NY        Williamsville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 464 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     DOLLY            DOL‐SA   RDWY50286     2020   WABSH   1JJD061X7LL222500   CDH       OR             Central Point
 YRCF     DOLLY            DOL‐SA   RDWY50287     2020   WABSH   1JJD061X9LL222501   CDH       TN             Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY50288     2020   WABSH   1JJD061X0LL222502   CDH       CA             San Diego
 YRCF     DOLLY            DOL‐SA   RDWY50289     2020   WABSH   1JJD061X2LL222503   CDH       NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50290     2020   WABSH   1JJD061X4LL222504   CDH       CO             Aurora
 YRCF     DOLLY            DOL‐SA   RDWY50291     2020   WABSH   1JJD061X6LL222505   CDH       GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50292     2020   WABSH   1JJD061X8LL222506   CDH       IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50293     2020   WABSH   1JJD061XXLL222507   CDH       CA             Gardena
 YRCF     DOLLY            DOL‐SA   RDWY50294     2020   WABSH   1JJD061X1LL222508   CDH       CA             Downey
 YRCF     DOLLY            DOL‐SA   RDWY50295     2020   WABSH   1JJD061X3LL222509   CDH       AZ             Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50296     2020   WABSH   1JJD061XXLL222510   CDH       IL             Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY50297     2020   WABSH   1JJD061X1LL222511   CDH       MI             Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY50298     2020   WABSH   1JJD061X3LL222512   CDH       VA             Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY50299     2020   WABSH   1JJD061X5LL222513   CDH       NM             Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50300     2020   WABSH   1JJD061X7LL222514   CDH       TX             Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY50301     2020   WABSH   1JJD061X9LL222515   CDH       PA             Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50302     2020   WABSH   1JJD061X0LL222516   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50303     2020   WABSH   1JJD061X2LL222517   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50304     2020   WABSH   1JJD061X4LL222518   CDH       NM             Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50305     2020   WABSH   1JJD061X6LL222519   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50306     2020   WABSH   1JJD061X2LL222520   CDH       GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50307     2020   WABSH   1JJD061X4LL222521   CDH       UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50308     2020   WABSH   1JJD061X6LL222522   CDH       AZ             Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50309     2020   WABSH   1JJD061X8LL222523   CDH       ME             Fairfield
 YRCF     DOLLY            DOL‐SA   RDWY50310     2020   WABSH   1JJD061XXLL222524   CDH       OR             Redmond
 YRCF     DOLLY            DOL‐SA   RDWY50311     2020   WABSH   1JJD061X1LL222525   CDH       MO             Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY50312     2020   WABSH   1JJD061X3LL222526   CDH       OR             Central Point
 YRCF     DOLLY            DOL‐SA   RDWY50313     2020   WABSH   1JJD061X5LL222527   CDH       PA             Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50314     2020   WABSH   1JJD061X7LL222528   CDH       IN             South Bend
 YRCF     DOLLY            DOL‐SA   RDWY50315     2020   WABSH   1JJD061X9LL222529   CDH       AZ             Tucson
 YRCF     DOLLY            DOL‐SA   RDWY50316     2020   WABSH   1JJD061X5LL222530   CDH       MT             Missoula
 YRCF     DOLLY            DOL‐SA   RDWY50317     2020   WABSH   1JJD061X7LL222531   CDH       OR             Portland
 YRCF     DOLLY            DOL‐SA   RDWY50318     2020   WABSH   1JJD061X9LL222532   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50319     2020   WABSH   1JJD061X0LL222533   CDH       Saskatchewan   Regina
 YRCF     DOLLY            DOL‐SA   RDWY50320     2020   WABSH   1JJD061X2LL222534   CDH       MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50321     2020   WABSH   1JJD061X4LL222535   CDH       TX             Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY50322     2020   WABSH   1JJD061X6LL222536   CDH       Ontario        Whitby
 YRCF     DOLLY            DOL‐SA   RDWY50323     2020   WABSH   1JJD061X8LL222537   CDH       MI             Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY50324     2020   WABSH   1JJD061XXLL222538   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50325     2020   WABSH   1JJD061X1LL222539   CDH       NE             Omaha
 YRCF     DOLLY            DOL‐SA   RDWY50326     2020   WABSH   1JJD061X8LL222540   CDH       MS             Richland
 YRCF     DOLLY            DOL‐SA   RDWY50327     2020   WABSH   1JJD061XXLL222541   CDH       MN             Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50328     2020   WABSH   1JJD061X1LL222542   CDH       IN             Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50329     2020   WABSH   1JJD061X3LL222543   CDH       NM             Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50330     2020   WABSH   1JJD061X5LL222544   CDH       TX             Texarkana
 YRCF     DOLLY            DOL‐SA   RDWY50331     2020   WABSH   1JJD061X7LL222545   CDH       VA             Richmond
 YRCF     DOLLY            DOL‐SA   RDWY50332     2020   WABSH   1JJD061X9LL222546   CDH       MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50333     2020   WABSH   1JJD061X0LL222547   CDH       TN             Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY50334     2020   WABSH   1JJD061X2LL222548   CDH       WI             Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY50335     2020   WABSH   1JJD061X4LL222549   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50336     2020   WABSH   1JJD061X0LL222550   CDH       MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50337     2020   WABSH   1JJD061X2LL222551   CDH       NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50338     2020   WABSH   1JJD061X4LL222552   CDH       TN             Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY50339     2020   WABSH   1JJD061X6LL222553   CDH       FL             Tampa
 YRCF     DOLLY            DOL‐SA   RDWY50340     2020   WABSH   1JJD061X8LL222554   CDH       WA             Pasco
 YRCF     DOLLY            DOL‐SA   RDWY50341     2020   WABSH   1JJD061XXLL222555   CDH       PA             Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY50342     2020   WABSH   1JJD061X1LL222556   CDH       MO             Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50343     2020   WABSH   1JJD061X3LL222557   CDH       VA             Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY50344     2020   WABSH   1JJD061X5LL222558   CDH       MN             Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50345     2020   WABSH   1JJD061X7LL222559   CDH       TX             Dallas
 YRCF     DOLLY            DOL‐SA   RDWY50346     2020   WABSH   1JJD061X3LL222560   CDH       MI             Gaylord
 YRCF     DOLLY            DOL‐SA   RDWY50347     2020   WABSH   1JJD061X5LL222561   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50348     2020   WABSH   1JJD061X7LL222562   CDH       MI             Taylor
 YRCF     DOLLY            DOL‐SA   RDWY50349     2020   WABSH   1JJD061X9LL222563   CDH       DE             New Castle
 YRCF     DOLLY            DOL‐SA   RDWY50350     2020   WABSH   1JJD061X0LL222564   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50351     2020   WABSH   1JJD061X2LL222565   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50352     2020   WABSH   1JJD061X4LL222566   CDH       IN             Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY50353     2022   WABSH   1JJD061X5NL304793   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50354     2020   WABSH   1JJD061X6LL222567   CDH       OH             Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 465 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY50355     2020   WABSH   1JJD061X8LL222568   CDH       TX               El Paso
 YRCF     DOLLY            DOL‐SA   RDWY50356     2020   WABSH   1JJD061XXLL222569   CDH       OH               Columbus
 YRCF     DOLLY            DOL‐SA   RDWY50357     2022   WABSH   1JJD061X7NL304794   ELF‐1     British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY50358     2022   WABSH   1JJD061X9NL304795   ELF‐1     IL               Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY50359     2020   WABSH   1JJD061X6LL222570   CDH       NJ               Kearny
 YRCF     DOLLY            DOL‐SA   RDWY50360     2020   WABSH   1JJD061X8LL222571   CDH       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50361     2020   WABSH   1JJD061XXLL222572   CDH       IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50362     2020   WABSH   1JJD061X1LL222573   CDH       IN               South Bend
 YRCF     DOLLY            DOL‐SA   RDWY50363     2020   WABSH   1JJD061X3LL222574   CDH       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50364     2020   WABSH   1JJD061X5LL222575   CDH       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50365     2020   WABSH   1JJD061X7LL222576   CDH       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50366     2020   WABSH   1JJD061X9LL222577   CDH       OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY50367     2020   WABSH   1JJD061X0LL222578   CDH       British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY50368     2020   WABSH   1JJD061X2LL222579   CDH       MI               Taylor
 YRCF     DOLLY            DOL‐SA   RDWY50369     2020   WABSH   1JJD061X9LL222580   CDH       CA               Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY50370     2020   WABSH   1JJD061X0LL222581   CDH       IL               Quincy
 YRCF     DOLLY            DOL‐SA   RDWY50371     2020   WABSH   1JJD061X2LL222582   CDH       ID               Meridian
 YRCF     DOLLY            DOL‐SA   RDWY50372     2020   WABSH   1JJD061X4LL222583   CDH       NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50373     2020   WABSH   1JJD061X6LL222584   CDH       IL               McCook
 YRCF     DOLLY            DOL‐SA   RDWY50374     2020   WABSH   1JJD061X8LL222585   CDH       NY               Plattsburgh
 YRCF     DOLLY            DOL‐SA   RDWY50375     2022   WABSH   1JJD061X0NL304796   ELF‐1     IN               Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY50376     2020   WABSH   1JJD061XXLL222586   CDH       FL               Miami
 YRCF     DOLLY            DOL‐SA   RDWY50377     2020   WABSH   1JJD061X1LL222587   CDH       NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50378     2020   WABSH   1JJD061X3LL222588   CDH       IN               South Bend
 YRCF     DOLLY            DOL‐SA   RDWY50379     2020   WABSH   1JJD061X5LL222589   CDH       UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50380     2020   WABSH   1JJD061X1LL222590   CDH       WI               Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY50381     2020   WABSH   1JJD061X3LL222591   CDH       SC               West Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50382     2022   WABSH   1JJD061X2NL304797   ELF‐1     TN               Jackson
 YRCF     DOLLY            DOL‐SA   RDWY50383     2020   WABSH   1JJD061X5LL222592   CDH       WV               Charleston
 YRCF     DOLLY            DOL‐SA   RDWY50384     2020   WABSH   1JJD061X7LL222593   CDH       OH               Richfield
 YRCF     DOLLY            DOL‐SA   RDWY50385     2022   WABSH   1JJD061X4NL304798   ELF‐1     IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50386     2020   WABSH   1JJD061X9LL222594   CDH       IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50387     2020   WABSH   1JJD061X0LL222595   CDH       CA               Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY50388     2022   WABSH   1JJD061X6NL304799   ELF‐1     SC               North Charleston
 YRCF     DOLLY            DOL‐SA   RDWY50389     2020   WABSH   1JJD061X2LL222596   CDH       OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY50390     2020   WABSH   1JJD061X4LL222597   CDH       GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50391     2020   WABSH   1JJD061X6LL222598   CDH       OH               Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY50392     2020   WABSH   1JJD061X8LL222599   CDH       MS               Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY50393     2020   WABSH   1JJD061X0LL222600   CDH       PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50394     2020   WABSH   1JJD061X2LL222601   CDH       NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50395     2020   WABSH   1JJD061X4LL222602   CDH       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50396     2020   WABSH   1JJD061X6LL222603   CDH       IN               Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY50397     2020   WABSH   1JJD061X8LL222604   CDH       NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50398     2020   WABSH   1JJD061XXLL222605   CDH       OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY50399     2020   WABSH   1JJD061X1LL222606   CDH       LA               Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY50400     2020   WABSH   1JJD061X3LL222607   CDH       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50401     2022   WABSH   1JJD061X9NL304800   ELF‐1     MD               Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY50402     2020   WABSH   1JJD061X5LL222608   CDH       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50403     2020   WABSH   1JJD061X7LL222609   CDH       FL               Orlando
 YRCF     DOLLY            DOL‐SA   RDWY50404     2020   WABSH   1JJD061X3LL222610   CDH       AL               Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY50406     2020   WABSH   1JJD061X5LL222611   CDH       MO               Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50407     2020   WABSH   1JJD061X7LL222612   CDH       WI               Portage
 YRCF     DOLLY            DOL‐SA   RDWY50408     2020   WABSH   1JJD061X9LL222613   CDH       MI               Jackson
 YRCF     DOLLY            DOL‐SA   RDWY50409     2020   WABSH   1JJD061X0LL222614   CDH       MO               Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50410     2020   WABSH   1JJD061X2LL222615   CDH       MT               Billings
 YRCF     DOLLY            DOL‐SA   RDWY50411     2020   WABSH   1JJD061X4LL222616   CDH       IN               South Bend
 YRCF     DOLLY            DOL‐SA   RDWY50412     2020   WABSH   1JJD061X6LL222617   CDH       OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY50413     2020   WABSH   1JJD061X8LL222618   CDH       MS               Richland
 YRCF     DOLLY            DOL‐SA   RDWY50414     2020   WABSH   1JJD061XXLL222619   CDH       NV               Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50415     2020   WABSH   1JJD061X6LL222620   CDH       GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50416     2020   HYUND   3H3J061S3LT733001   CD21      OR               Roseburg
 YRCF     DOLLY            DOL‐SA   RDWY50417     2019   VANGU   5V8JY1012KM913296   CD21      OH               Dayton
 YRCF     DOLLY            DOL‐SA   RDWY50418     2020   WABSH   1JJD061X4LL228349   CDH       VA               Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY50419     2022   WABSH   1JJD061X0NL304801   ELF‐1     MD               Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY50420     2020   WABSH   1JJD061X0LL228350   CDH       MN               Owatonna
 YRCF     DOLLY            DOL‐SA   RDWY50421     2020   WABSH   1JJD061X2LL228351   CDH       MD               Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY50422     2020   WABSH   1JJD061X4LL228352   CDH       PA               Mountain Top
 YRCF     DOLLY            DOL‐SA   RDWY50423     2020   WABSH   1JJD061X6LL228353   CDH       MO               Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50424     2020   WABSH   1JJD061X8LL228354   CDH       OH               Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 466 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     DOLLY            DOL‐SA   RDWY50425     2020   WABSH   1JJD061XXLL228355   CDH       CO             Aurora
 YRCF     DOLLY            DOL‐SA   RDWY50426     2020   WABSH   1JJD061X1LL228356   CDH       Saskatchewan   Regina
 YRCF     DOLLY            DOL‐SA   RDWY50427     2020   WABSH   1JJD061X3LL228357   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50428     2022   WABSH   1JJD061X2NL304802   ELF‐1     FL             Boynton Beach
 YRCF     DOLLY            DOL‐SA   RDWY50429     2022   WABSH   1JJD061X4NL304803   ELF‐1     FL             Tampa
 YRCF     DOLLY            DOL‐SA   RDWY50430     2020   WABSH   1JJD061X5LL228358   CDH       TX             Laredo
 YRCF     DOLLY            DOL‐SA   RDWY50431     2022   WABSH   1JJD061X6NL304804   ELF‐1     ID             Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY50432     2022   WABSH   1JJD061X8NL304805   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50433     2020   WABSH   1JJD061X7LL228359   CDH       WA             Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY50434     2022   WABSH   1JJD061XXNL304806   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50435     2020   WABSH   1JJD061X3LL228360   CDH       MS             Richland
 YRCF     DOLLY            DOL‐SA   RDWY50436     2020   WABSH   1JJD061X5LL228361   CDH       GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50437     2022   WABSH   1JJD061X1NL304807   ELF‐1     NY             Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY50438     2020   WABSH   1JJD061X7LL228362   CDH       NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50439     2022   WABSH   1JJD061X3NL304808   ELF‐1     PA             Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50440     2020   WABSH   1JJD061X9LL228363   CDH       TX             McAllen
 YRCF     DOLLY            DOL‐SA   RDWY50441     2022   WABSH   1JJD061X5NL304809   ELF‐1     CO             Aurora
 YRCF     DOLLY            DOL‐SA   RDWY50442     2020   WABSH   1JJD061X0LL228364   CDH       MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50443     2020   WABSH   1JJD061X2LL228365   CDH       NV             Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY50444     2020   WABSH   1JJD061X4LL228366   CDH       IL             Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY50445     2022   WABSH   1JJD061X1NL304810   ELF‐1     CA             Orange
 YRCF     DOLLY            DOL‐SA   RDWY50446     2020   WABSH   1JJD061X6LL228367   CDH       MO             Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50447     2022   WABSH   1JJD061X3NL304811   ELF‐1     SC             Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50448     2020   WABSH   1JJD061X8LL228368   CDH       IN             Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY50449     2022   WABSH   1JJD061X5NL304812   ELF‐1     ID             Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY50450     2022   WABSH   1JJD061X7NL304813   ELF‐1     OH             Richfield
 YRCF     DOLLY            DOL‐SA   RDWY50451     2022   WABSH   1JJD061X9NL304814   ELF‐1     CO             Aurora
 YRCF     DOLLY            DOL‐SA   RDWY50452     2020   WABSH   1JJD061XXLL228369   CDH       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50453     2022   WABSH   1JJD061X0NL304815   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50454     2022   WABSH   1JJD061X2NL304816   ELF‐1     CA             Calexico
 YRCF     DOLLY            DOL‐SA   RDWY50455     2022   WABSH   1JJD061X4NL304817   ELF‐1     FL             Orlando
 YRCF     DOLLY            DOL‐SA   RDWY50456     2022   WABSH   1JJD061X6NL304818   ELF‐1     WA             Spokane
 YRCF     DOLLY            DOL‐SA   RDWY50457     2022   WABSH   1JJD061X8NL304819   ELF‐1     FL             Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY50458     2022   WABSH   1JJD061X4NL304820   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50459     2022   WABSH   1JJD061X6NL304821   ELF‐1     MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50460     2020   WABSH   1JJD061X6LL228370   CDH       OR             Central Point
 YRCF     DOLLY            DOL‐SA   RDWY50461     2022   WABSH   1JJD061X8NL304822   ELF‐1     KY             Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY50462     2020   WABSH   1JJD061X8LL228371   CDH       Saskatchewan   Saskatoon
 YRCF     DOLLY            DOL‐SA   RDWY50463     2020   WABSH   1JJD061XXLL228372   CDH       OH             Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY50464     2022   WABSH   1JJD061XXNL304823   ELF‐1     NE             Omaha
 YRCF     DOLLY            DOL‐SA   RDWY50465     2022   WABSH   1JJD061X1NL304824   ELF‐1     CA             Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY50466     2022   WABSH   1JJD061X3NL304825   ELF‐1     MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50467     2022   WABSH   1JJD061X5NL304826   ELF‐1     PA             Erie
 YRCF     DOLLY            DOL‐SA   RDWY50468     2022   WABSH   1JJD061X7NL304827   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50469     2022   WABSH   1JJD061X9NL304828   ELF‐1     NV             Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY50470     2022   WABSH   1JJD061X0NL304829   ELF‐1     ND             Minot
 YRCF     DOLLY            DOL‐SA   RDWY50471     2020   WABSH   1JJD061X1LL228373   CDH       VA             Manassas
 YRCF     DOLLY            DOL‐SA   RDWY50472     2022   WABSH   1JJD061X7NL304830   ELF‐1     ME             Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY50473     2022   WABSH   1JJD061X9NL304831   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50474     2020   WABSH   1JJD061X3LL228374   CDH       FL             Miami
 YRCF     DOLLY            DOL‐SA   RDWY50475     2022   WABSH   1JJD061X0NL304832   ELF‐1     MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50476     2020   WABSH   1JJD061X5LL228375   CDH       MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50477     2022   WABSH   1JJD061X2NL304833   ELF‐1     NJ             Millville
 YRCF     DOLLY            DOL‐SA   RDWY50478     2022   WABSH   1JJD061X4NL304834   ELF‐1     FL             Miami
 YRCF     DOLLY            DOL‐SA   RDWY50479     2022   WABSH   1JJD061X6NL304835   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50480     2022   WABSH   1JJD061X8NL304836   ELF‐1     NY             Plainview
 YRCF     DOLLY            DOL‐SA   RDWY50481     2022   WABSH   1JJD061XXNL304837   ELF‐1     TN             Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY50482     2022   WABSH   1JJD061X1NL304838   ELF‐1     WA             Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY50483     2020   WABSH   1JJD061X7LL228376   CDH       NJ             Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY50484     2020   WABSH   1JJD061X9LL228377   CDH       TX             McAllen
 YRCF     DOLLY            DOL‐SA   RDWY50485     2020   WABSH   1JJD061X0LL228378   CDH       WI             Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY50486     2022   WABSH   1JJD061X3NL304839   ELF‐1     Ontario        Mississauga
 YRCF     DOLLY            DOL‐SA   RDWY50487     2022   WABSH   1JJD061XXNL304840   ELF‐1     NY             Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY50488     2022   WABSH   1JJD061X1NL304841   ELF‐1     AR             Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY50489     2022   WABSH   1JJD061X3NL304842   ELF‐1     NE             Omaha
 YRCF     DOLLY            DOL‐SA   RDWY50490     2022   WABSH   1JJD061X5NL304843   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50491     2022   WABSH   1JJD061X7NL304844   ELF‐1     MD             Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY50492     2022   WABSH   1JJD061X9NL304845   ELF‐1     MN             Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50493     2022   WABSH   1JJD061X0NL304846   ELF‐1     WI             Oak Creek
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 467 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY50494     2022   WABSH   1JJD061X2NL304847   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50495     2022   WABSH   1JJD061X4NL304848   ELF‐1     OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY50496     2022   WABSH   1JJD061X6NL304849   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY50497     2022   WABSH   1JJD061X2NL304850   ELF‐1     IL      McCook
 YRCF     DOLLY            DOL‐SA   RDWY50498     2022   WABSH   1JJD061X6NL304852   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50499     2020   WABSH   1JJD061X2LL228379   CDH       TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50500     2022   WABSH   1JJD061X8NL304853   ELF‐1     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY50501     2022   WABSH   1JJD061XXNL304854   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY50502     2022   WABSH   1JJD061X1NL304855   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50503     2022   WABSH   1JJD061X3NL304856   ELF‐1     WA      East Wenatchee
 YRCF     DOLLY            DOL‐SA   RDWY50504     2022   WABSH   1JJD061X5NL304857   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50505     2020   WABSH   1JJD061X9LL228380   CDH       IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50506     2022   WABSH   1JJD061X7NL304858   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY50507     2022   WABSH   1JJD061X9NL304859   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY50508     2022   WABSH   1JJD061X5NL304860   ELF‐1     CA      Hayward
 YRCF     DOLLY            DOL‐SA   RDWY50509     2022   WABSH   1JJD061X7NL304861   ELF‐1     TX      Sherman
 YRCF     DOLLY            DOL‐SA   RDWY50510     2022   WABSH   1JJD061X9NL304862   ELF‐1     OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY50511     2022   WABSH   1JJD061X0NL304863   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50512     2020   WABSH   1JJD061X0LL228381   CDH       WA      Spokane
 YRCF     DOLLY            DOL‐SA   RDWY50513     2020   WABSH   1JJD061X2LL228382   CDH       NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50514     2022   WABSH   1JJD061X2NL304864   ELF‐1     OH      North Lima
 YRCF     DOLLY            DOL‐SA   RDWY50515     2022   WABSH   1JJD061X4NL304865   ELF‐1     MI      Wayland
 YRCF     DOLLY            DOL‐SA   RDWY50516     2022   WABSH   1JJD061X6NL304866   ELF‐1     WV      Beckley
 YRCF     DOLLY            DOL‐SA   RDWY50517     2022   WABSH   1JJD061X8NL304867   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY50518     2022   WABSH   1JJD061XXNL304868   ELF‐1     NJ      Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY50519     2022   WABSH   1JJD061X1NL304869   ELF‐1     FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY50520     2022   WABSH   1JJD061X8NL304870   ELF‐1     NV      Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY50521     2022   WABSH   1JJD061XXNL304871   ELF‐1     MD      Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY50522     2022   WABSH   1JJD061X1NL304872   ELF‐1     TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY50523     2022   WABSH   1JJD061X3NL304873   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50524     2022   WABSH   1JJD061X5NL304874   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY50525     2020   WABSH   1JJD061X4LL228383   CDH       UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50526     2022   WABSH   1JJD061X7NL304875   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY50527     2022   WABSH   1JJD061X9NL304876   ELF‐1     IN      Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY50528     2022   WABSH   1JJD061X0NL304877   ELF‐1     MO      Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50529     2022   WABSH   1JJD061X2NL304878   ELF‐1     FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY50530     2022   WABSH   1JJD061X4NL304879   ELF‐1     OH      Dayton
 YRCF     DOLLY            DOL‐SA   RDWY50531     2022   WABSH   1JJD061X0NL304880   ELF‐1     AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY50532     2022   WABSH   1JJD061X2NL304881   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY50533     2020   WABSH   1JJD061X6LL228384   CDH       GA      Martinez
 YRCF     DOLLY            DOL‐SA   RDWY50534     2022   WABSH   1JJD061X4NL304882   ELF‐1     NM      Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50535     2022   WABSH   1JJD061X6NL304883   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY50536     2022   WABSH   1JJD061X8NL304884   ELF‐1     MI      Gaylord
 YRCF     DOLLY            DOL‐SA   RDWY50537     2020   WABSH   1JJD061X8LL228385   CDH       TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY50538     2020   WABSH   1JJD061XXLL228386   CDH       PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50539     2022   WABSH   1JJD061XXNL304885   ELF‐1     IL      Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY50540     2022   WABSH   1JJD061X1NL304886   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50541     2022   WABSH   1JJD061X3NL304887   ELF‐1     IL      Hodgkins
 YRCF     DOLLY            DOL‐SA   RDWY50542     2022   WABSH   1JJD061X5NL304888   ELF‐1     CA      Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY50543     2022   WABSH   1JJD061X7NL304889   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50544     2020   WABSH   1JJD061X1LL228387   CDH       GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50545     2022   WABSH   1JJD061X3NL304890   ELF‐1     MI      Gaylord
 YRCF     DOLLY            DOL‐SA   RDWY50546     2022   WABSH   1JJD061X5NL304891   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50547     2022   WABSH   1JJD061X7NL304892   ELF‐1     FL      Boynton Beach
 YRCF     DOLLY            DOL‐SA   RDWY50548     2022   WABSH   1JJD061X9NL304893   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50549     2022   WABSH   1JJD061X0NL304894   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50550     2020   WABSH   1JJD061X3LL228388   CDH       MO      Strafford
 YRCF     DOLLY            DOL‐SA   RDWY50551     2022   WABSH   1JJD061X2NL304895   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50552     2022   WABSH   1JJD061X4NL304896   ELF‐1     CA      Fresno
 YRCF     DOLLY            DOL‐SA   RDWY50553     2022   WABSH   1JJD061X6NL304897   ELF‐1     FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY50554     2022   WABSH   1JJD061X8NL304898   ELF‐1     PA      Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY50555     2022   WABSH   1JJD061XXNL304899   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50556     2022   WABSH   1JJD061X2NL304900   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50557     2020   WABSH   1JJD061X5LL228389   CDH       OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50558     2022   WABSH   1JJD061X4NL304901   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50559     2022   WABSH   1JJD061X6NL304902   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY50560     2022   WABSH   1JJD061X8NL304903   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50561     2022   WABSH   1JJD061XXNL304904   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50562     2022   WABSH   1JJD061X1NL304905   ELF‐1     VA      Fishersville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 468 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     DOLLY            DOL‐SA   RDWY50563     2022   WABSH   1JJD061X3NL304906   ELF‐1     MS             Richland
 YRCF     DOLLY            DOL‐SA   RDWY50564     2022   WABSH   1JJD061X5NL304907   ELF‐1     MS             Richland
 YRCF     DOLLY            DOL‐SA   RDWY50565     2022   WABSH   1JJD061X7NL304908   ELF‐1     MN             Owatonna
 YRCF     DOLLY            DOL‐SA   RDWY50566     2022   WABSH   1JJD061X9NL304909   ELF‐1     WV             Charleston
 YRCF     DOLLY            DOL‐SA   RDWY50567     2020   WABSH   1JJD061X1LL228390   CDH       NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50568     2020   WABSH   1JJD061X3LL228391   CDH       TX             Houston
 YRCF     DOLLY            DOL‐SA   RDWY50569     2020   WABSH   1JJD061X5LL228392   CDH       GA             La Grange
 YRCF     DOLLY            DOL‐SA   RDWY50570     2022   WABSH   1JJD061X5NL304910   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50571     2022   WABSH   1JJD061X7NL304911   ELF‐1     MS             Richland
 YRCF     DOLLY            DOL‐SA   RDWY50572     2022   WABSH   1JJD061X9NL304912   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50573     2022   WABSH   1JJD061X0NL304913   ELF‐1     SC             West Columbia
 YRCF     DOLLY            DOL‐SA   RDWY50574     2022   WABSH   1JJD061X2NL304914   ELF‐1     MI             Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY50575     2022   WABSH   1JJD061X4NL304915   ELF‐1     OH             Copley
 YRCF     DOLLY            DOL‐SA   RDWY50576     2022   WABSH   1JJD061X6NL304916   ELF‐1     AL             Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY50577     2022   WABSH   1JJD061X8NL304917   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50578     2022   WABSH   1JJD061XXNL304918   ELF‐1     VT             Bellows Falls
 YRCF     DOLLY            DOL‐SA   RDWY50579     2020   WABSH   1JJD061X7LL228393   CDH       AL             Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY50580     2022   WABSH   1JJD061X1NL304919   ELF‐1     GA             La Grange
 YRCF     DOLLY            DOL‐SA   RDWY50581     2022   WABSH   1JJD061X8NL304920   ELF‐1     CA             Downey
 YRCF     DOLLY            DOL‐SA   RDWY50582     2022   WABSH   1JJD061XXNL304921   ELF‐1     MI             Gaylord
 YRCF     DOLLY            DOL‐SA   RDWY50583     2022   WABSH   1JJD061X1NL304922   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50584     2022   WABSH   1JJD061X3NL304923   ELF‐1     TX             Sherman
 YRCF     DOLLY            DOL‐SA   RDWY50585     2022   WABSH   1JJD061X5NL304924   ELF‐1     CA             Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY50586     2022   WABSH   1JJD061X7NL304925   ELF‐1     TN             Nashville
 YRCF     DOLLY            DOL‐SA   RDWY50587     2022   WABSH   1JJD061X9NL304926   ELF‐1     NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50588     2022   WABSH   1JJD061X0NL304927   ELF‐1     NH             Bedford
 YRCF     DOLLY            DOL‐SA   RDWY50589     2020   WABSH   1JJD061X9LL228394   CDH       TX             Houston
 YRCF     DOLLY            DOL‐SA   RDWY50590     2022   WABSH   1JJD061X2NL304928   ELF‐1     OH             Columbus
 YRCF     DOLLY            DOL‐SA   RDWY50591     2022   WABSH   1JJD061X4NL304929   ELF‐1     AZ             Nogales
 YRCF     DOLLY            DOL‐SA   RDWY50592     2022   WABSH   1JJD061X0NL304930   ELF‐1     TN             Nashville
 YRCF     DOLLY            DOL‐SA   RDWY50593     2022   WABSH   1JJD061X2NL304931   ELF‐1     CT             Cheshire
 YRCF     DOLLY            DOL‐SA   RDWY50594     2022   WABSH   1JJD061X4NL304932   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50595     2022   WABSH   1JJD061X6NL304933   ELF‐1     NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50596     2022   WABSH   1JJD061X8NL304934   ELF‐1     TN             Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50597     2022   WABSH   1JJD061XXNL304935   ELF‐1     SD             Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY50598     2022   WABSH   1JJD061X1NL304936   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50599     2022   WABSH   1JJD061X3NL304937   ELF‐1     PA             Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50600     2022   WABSH   1JJD061X5NL304938   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50601     2022   WABSH   1JJD061X7NL304939   ELF‐1     AL             Mobile
 YRCF     DOLLY            DOL‐SA   RDWY50602     2020   WABSH   1JJD061X0LL228395   CDH       Alberta        Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY50603     2022   WABSH   1JJD061X3NL304940   ELF‐1     TX             Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY50604     2022   WABSH   1JJD061X5NL304941   ELF‐1     NY             Rochester
 YRCF     DOLLY            DOL‐SA   RDWY50605     2022   WABSH   1JJD061X7NL304942   ELF‐1     TN             Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50606     2022   WABSH   1JJD061X9NL304943   ELF‐1     IA             Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY50607     2022   WABSH   1JJD061X0NL304944   ELF‐1     FL             Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY50608     2022   WABSH   1JJD061X2NL304945   ELF‐1     PQ             Sherbrooke
 YRCF     DOLLY            DOL‐SA   RDWY50609     2022   WABSH   1JJD061X4NL304946   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50610     2022   WABSH   1JJD061X6NL304947   ELF‐1     CA             Sun Valley
 YRCF     DOLLY            DOL‐SA   RDWY50611     2022   WABSH   1JJD061X8NL304948   ELF‐1     NC             Durham
 YRCF     DOLLY            DOL‐SA   RDWY50612     2022   WABSH   1JJD061XXNL304949   ELF‐1     PA             Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50613     2022   WABSH   1JJD061X6NL304950   ELF‐1     UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50614     2022   WABSH   1JJD061X8NL304951   ELF‐1     ID             Meridian
 YRCF     DOLLY            DOL‐SA   RDWY50615     2022   WABSH   1JJD061XXNL304952   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50616     2022   WABSH   1JJD061X1NL304953   ELF‐1     AR             Springdale
 YRCF     DOLLY            DOL‐SA   RDWY50617     2022   WABSH   1JJD061X3NL304954   ELF‐1     MD             Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY50618     2022   WABSH   1JJD061X5NL304955   ELF‐1     PA             Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY50619     2022   WABSH   1JJD061X7NL304956   ELF‐1     MS             Richland
 YRCF     DOLLY            DOL‐SA   RDWY50620     2022   WABSH   1JJD061X9NL304957   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50621     2022   WABSH   1JJD061X0NL304958   ELF‐1     PA             Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY50622     2020   WABSH   1JJD061X2LL228396   CDH       CO             Aurora
 YRCF     DOLLY            DOL‐SA   RDWY50623     2022   WABSH   1JJD061X2NL304959   ELF‐1     Saskatchewan   Saskatoon
 YRCF     DOLLY            DOL‐SA   RDWY50624     2022   WABSH   1JJD061X9NL304960   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY50625     2022   WABSH   1JJD061X0NL304961   ELF‐1     NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50626     2022   WABSH   1JJD061X2NL304962   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50627     2022   WABSH   1JJD061X4NL304963   ELF‐1     GA             Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY50628     2022   WABSH   1JJD061X6NL304964   ELF‐1     AL             Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY50629     2022   WABSH   1JJD061X8NL304965   ELF‐1     MN             Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50630     2022   WABSH   1JJD061XXNL304966   ELF‐1     ID             Meridian
 YRCF     DOLLY            DOL‐SA   RDWY50631     2022   WABSH   1JJD061X1NL304967   ELF‐1     IN             Indianapolis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 469 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     DOLLY            DOL‐SA   RDWY50632     2020   WABSH   1JJD061X4LL228397   CDH       WA         Seattle
 YRCF     DOLLY            DOL‐SA   RDWY50633     2022   WABSH   1JJD061X3NL304968   ELF‐1     MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50634     2022   WABSH   1JJD061X5NL304969   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50636     2022   WABSH   1JJD061X1NL304970   ELF‐1     WA         Everett
 YRCF     DOLLY            DOL‐SA   RDWY50637     2022   WABSH   1JJD061X3NL304971   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50638     2022   WABSH   1JJD061X5NL304972   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY50639     2022   WABSH   1JJD061X7NL304973   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50640     2022   WABSH   1JJD061X9NL304974   ELF‐1     MI         Taylor
 YRCF     DOLLY            DOL‐SA   RDWY50641     2022   WABSH   1JJD061X0NL304975   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50642     2022   WABSH   1JJD061X2NL304976   ELF‐1     Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY50643     2022   WABSH   1JJD061X4NL304977   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50644     2022   WABSH   1JJD061X6NL304978   ELF‐1     MN         Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50645     2022   WABSH   1JJD061X8NL304979   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50646     2022   WABSH   1JJD061X4NL304980   ELF‐1     NM         Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50647     2022   WABSH   1JJD061X6NL304981   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50648     2022   WABSH   1JJD061X8NL304982   ELF‐1     AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50649     2022   WABSH   1JJD061XXNL304983   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50650     2022   WABSH   1JJD061X1NL304984   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50651     2022   WABSH   1JJD061X3NL304985   ELF‐1     TX         Irving
 YRCF     DOLLY            DOL‐SA   RDWY50652     2022   WABSH   1JJD061X5NL304986   ELF‐1     ME         Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY50653     2022   WABSH   1JJD061X7NL304987   ELF‐1     MD         Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY50654     2022   WABSH   1JJD061X9NL304988   ELF‐1     NM         Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50655     2022   WABSH   1JJD061X0NL304989   ELF‐1     IN         Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50656     2022   WABSH   1JJD061X7NL304990   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50657     2022   WABSH   1JJD061X9NL304991   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50658     2022   WABSH   1JJD061X0NL304992   ELF‐1     OH         North Lima
 YRCF     DOLLY            DOL‐SA   RDWY50659     2022   WABSH   1JJD061X2NL304993   ELF‐1     CA         Anderson
 YRCF     DOLLY            DOL‐SA   RDWY50660     2022   WABSH   1JJD061X4NL304994   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY50661     2022   WABSH   1JJD061X6NL304995   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50662     2022   WABSH   1JJD061X8NL304996   ELF‐1     TN         Kingsport
 YRCF     DOLLY            DOL‐SA   RDWY50663     2022   WABSH   1JJD061XXNL304997   ELF‐1     ID         Pocatello
 YRCF     DOLLY            DOL‐SA   RDWY50664     2022   WABSH   1JJD061X1NL304998   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50665     2022   WABSH   1JJD061X3NL304999   ELF‐1     TX         McAllen
 YRCF     DOLLY            DOL‐SA   RDWY50666     2022   WABSH   1JJD061X4NL305000   ELF‐1     NM         Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50667     2022   WABSH   1JJD061X6NL305001   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50668     2022   WABSH   1JJD061X8NL305002   ELF‐1     CO         Henderson
 YRCF     DOLLY            DOL‐SA   RDWY50669     2022   WABSH   1JJD061XXNL305003   ELF‐1     GA         Thomasville
 YRCF     DOLLY            DOL‐SA   RDWY50670     2022   WABSH   1JJD061X1NL305004   ELF‐1     GA         Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY50671     2022   WABSH   1JJD061X3NL305005   ELF‐1     OH         Brooklyn
 YRCF     DOLLY            DOL‐SA   RDWY50672     2022   WABSH   1JJD061X5NL305006   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50673     2022   WABSH   1JJD061X7NL305007   ELF‐1     MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50674     2022   WABSH   1JJD061X9NL305008   ELF‐1     OK         Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY50675     2022   WABSH   1JJD061X0NL305009   ELF‐1     OR         Central Point
 YRCF     DOLLY            DOL‐SA   RDWY50676     2022   WABSH   1JJD061X7NL305010   ELF‐1     WI         Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY50677     2022   WABSH   1JJD061X9NL305011   ELF‐1     MN         Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50678     2022   WABSH   1JJD061X0NL305012   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50679     2022   WABSH   1JJD061X2NL305013   ELF‐1     MI         Romulus
 YRCF     DOLLY            DOL‐SA   RDWY50680     2022   WABSH   1JJD061X4NL305014   ELF‐1     CO         Henderson
 YRCF     DOLLY            DOL‐SA   RDWY50681     2022   WABSH   1JJD061X6NL305015   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50682     2022   WABSH   1JJD061X8NL305016   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50683     2022   WABSH   1JJD061XXNL305017   ELF‐1     ID         Meridian
 YRCF     DOLLY            DOL‐SA   RDWY50684     2022   WABSH   1JJD061X1NL305018   ELF‐1     MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY50685     2022   WABSH   1JJD061X3NL305019   ELF‐1     MT         Missoula
 YRCF     DOLLY            DOL‐SA   RDWY50686     2022   WABSH   1JJD061XXNL305020   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50687     2022   WABSH   1JJD061X1NL305021   ELF‐1     NC         Durham
 YRCF     DOLLY            DOL‐SA   RDWY50688     2022   WABSH   1JJD061X3NL305022   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50689     2022   WABSH   1JJD061X5NL305023   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50690     2022   WABSH   1JJD061X7NL305024   ELF‐1     WV         Beckley
 YRCF     DOLLY            DOL‐SA   RDWY50691     2022   WABSH   1JJD061X9NL305025   ELF‐1     NE         Omaha
 YRCF     DOLLY            DOL‐SA   RDWY50692     2022   WABSH   1JJD061X0NL305026   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50693     2022   WABSH   1JJD061X2NL305027   ELF‐1     IL         Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY50694     2022   WABSH   1JJD061X4NL305028   ELF‐1     LA         Monroe
 YRCF     DOLLY            DOL‐SA   RDWY50695     2022   WABSH   1JJD061X6NL305029   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50696     2022   WABSH   1JJD061X2NL305030   ELF‐1     MT         Butte
 YRCF     DOLLY            DOL‐SA   RDWY50697     2022   WABSH   1JJD061X4NL305031   ELF‐1     NM         Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50698     2022   WABSH   1JJD061X6NL305032   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50699     2022   WABSH   1JJD061X8NL305033   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50700     2022   WABSH   1JJD061XXNL305034   ELF‐1     GA         Conley
 YRCF     DOLLY            DOL‐SA   RDWY50701     2022   WABSH   1JJD061X1NL305035   ELF‐1     OH         Copley
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 470 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY50702     2022   WABSH   1JJD061X3NL305036   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50703     2022   WABSH   1JJD061X5NL305037   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY50704     2022   WABSH   1JJD061X7NL305038   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY50705     2022   WABSH   1JJD061X9NL305039   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50706     2022   WABSH   1JJD061X5NL305040   ELF‐1     MI      Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY50707     2022   WABSH   1JJD061X7NL305041   ELF‐1     CA      Gardena
 YRCF     DOLLY            DOL‐SA   RDWY50708     2022   WABSH   1JJD061X9NL305042   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50709     2022   WABSH   1JJD061X0NL305043   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50710     2022   WABSH   1JJD061X2NL305044   ELF‐1     IL      McCook
 YRCF     DOLLY            DOL‐SA   RDWY50711     2020   WABSH   1JJD061X6LL228398   CDH       NJ      South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY50712     2022   WABSH   1JJD061X4NL305045   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50713     2022   WABSH   1JJD061X6NL305046   ELF‐1     NM      Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50714     2022   WABSH   1JJD061X8NL305047   ELF‐1     IN      Hammond
 YRCF     DOLLY            DOL‐SA   RDWY50715     2020   WABSH   1JJD061X8LL228399   CDH       TX      Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY50716     2022   WABSH   1JJD061XXNL305048   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50717     2022   WABSH   1JJD061X1NL305049   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50718     2022   WABSH   1JJD061X8NL305050   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50719     2022   WABSH   1JJD061XXNL305051   ELF‐1     IL      Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY50720     2022   WABSH   1JJD061X1NL305052   ELF‐1     NV      Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY50721     2022   WABSH   1JJD061X3NL305053   ELF‐1     NE      Omaha
 YRCF     DOLLY            DOL‐SA   RDWY50722     2022   WABSH   1JJD061X5NL305054   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50723     2022   WABSH   1JJD061X7NL305055   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY50724     2022   WABSH   1JJD061X9NL305056   ELF‐1     IN      Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY50725     2022   WABSH   1JJD061X0NL305057   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50726     2022   WABSH   1JJD061X2NL305058   ELF‐1     MI      Birch Run
 YRCF     DOLLY            DOL‐SA   RDWY50727     2022   WABSH   1JJD061X4NL305059   ELF‐1     LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY50728     2022   WABSH   1JJD061X0NL305060   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50729     2022   WABSH   1JJD061X2NL305061   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50730     2022   WABSH   1JJD061X4NL305062   ELF‐1     TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY50731     2020   WABSH   1JJD061X0LL228400   CDH       TX      Houston
 YRCF     DOLLY            DOL‐SA   RDWY50732     2022   WABSH   1JJD061X6NL305063   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50733     2022   WABSH   1JJD061X8NL305064   ELF‐1     CA      San Bernardino
 YRCF     DOLLY            DOL‐SA   RDWY50734     2022   WABSH   1JJD061XXNL305065   ELF‐1     TX      Laredo
 YRCF     DOLLY            DOL‐SA   RDWY50735     2022   WABSH   1JJD061X1NL305066   ELF‐1     LA      Alexandria
 YRCF     DOLLY            DOL‐SA   RDWY50736     2022   WABSH   1JJD061X3NL305067   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50737     2022   WABSH   1JJD061X5NL305068   ELF‐1     ME      Fairfield
 YRCF     DOLLY            DOL‐SA   RDWY50738     2020   WABSH   1JJD061X2LL228401   CDH       CA      Visalia
 YRCF     DOLLY            DOL‐SA   RDWY50739     2022   WABSH   1JJD061X7NL305069   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50740     2022   WABSH   1JJD061X3NL305070   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50741     2022   WABSH   1JJD061X5NL305071   ELF‐1     TN      Jackson
 YRCF     DOLLY            DOL‐SA   RDWY50742     2022   WABSH   1JJD061X7NL305072   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50743     2022   WABSH   1JJD061X9NL305073   ELF‐1     TN      Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY50744     2022   WABSH   1JJD061X0NL305074   ELF‐1     WI      Madison
 YRCF     DOLLY            DOL‐SA   RDWY50745     2022   WABSH   1JJD061X2NL305075   ELF‐1     TX      Houston
 YRCF     DOLLY            DOL‐SA   RDWY50746     2022   WABSH   1JJD061X4NL305076   ELF‐1     MD      Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY50747     2022   WABSH   1JJD061X6NL305077   ELF‐1     FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY50748     2022   WABSH   1JJD061X8NL305078   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY50749     2022   WABSH   1JJD061XXNL305079   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50750     2022   WABSH   1JJD061X6NL305080   ELF‐1     MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50752     2022   WABSH   1JJD061X8NL305081   ELF‐1     IL      Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY50753     2022   WABSH   1JJD061XXNL305082   ELF‐1     IL      Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY50754     2022   WABSH   1JJD061X1NL305083   ELF‐1     FL      Ocala
 YRCF     DOLLY            DOL‐SA   RDWY50755     2022   WABSH   1JJD061X3NL305084   ELF‐1     FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY50756     2022   WABSH   1JJD061X5NL305085   ELF‐1     OK      Checotah
 YRCF     DOLLY            DOL‐SA   RDWY50757     2020   WABSH   1JJD061X4LL228402   CDH       OH      Lima
 YRCF     DOLLY            DOL‐SA   RDWY50758     2022   WABSH   1JJD061X7NL305086   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50759     2022   WABSH   1JJD061X9NL305087   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50760     2022   WABSH   1JJD061X0NL305088   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50761     2022   WABSH   1JJD061X2NL305089   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50762     2022   WABSH   1JJD061X9NL305090   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50763     2022   WABSH   1JJD061X0NL305091   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY50764     2022   WABSH   1JJD061X2NL305092   ELF‐1     GA      Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY50765     2022   WABSH   1JJD061X4NL305093   ELF‐1     CO      Denver
 YRCF     DOLLY            DOL‐SA   RDWY50766     2022   WABSH   1JJD061X6NL305094   ELF‐1     IL      Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY50767     2022   WABSH   1JJD061X8NL305095   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50768     2022   WABSH   1JJD061XXNL305096   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY50769     2022   WABSH   1JJD061X1NL305097   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50770     2022   WABSH   1JJD061X3NL305098   ELF‐1     OK      Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY50771     2022   WABSH   1JJD061X5NL305099   ELF‐1     AR      Little Rock
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 471 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY50772     2022   WABSH   1JJD061X8NL305100   ELF‐1     TX        Dallas
 YRCF     DOLLY            DOL‐SA   RDWY50773     2022   WABSH   1JJD061XXNL305101   ELF‐1     TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY50774     2022   WABSH   1JJD061X1NL305102   ELF‐1     MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50775     2022   WABSH   1JJD061X3NL305103   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50776     2022   WABSH   1JJD061X5NL305104   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50777     2022   WABSH   1JJD061X7NL305105   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50778     2022   WABSH   1JJD061X9NL305106   ELF‐1     AL        Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY50779     2022   WABSH   1JJD061X0NL305107   ELF‐1     TN        Jackson
 YRCF     DOLLY            DOL‐SA   RDWY50780     2022   WABSH   1JJD061X2NL305108   ELF‐1     NC        Durham
 YRCF     DOLLY            DOL‐SA   RDWY50781     2022   WABSH   1JJD061X4NL305109   ELF‐1     IN        Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY50783     2022   WABSH   1JJD061X0NL305110   ELF‐1     NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50784     2022   WABSH   1JJD061X2NL305111   ELF‐1     MI        Norway
 YRCF     DOLLY            DOL‐SA   RDWY50785     2022   WABSH   1JJD061X4NL305112   ELF‐1     SC        North Charleston
 YRCF     DOLLY            DOL‐SA   RDWY50787     2020   WABSH   1JJD061X6LL228403   CDH       PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50788     2022   WABSH   1JJD061X6NL305113   ELF‐1     MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY50789     2022   WABSH   1JJD061X8NL305114   ELF‐1     MD        Landover
 YRCF     DOLLY            DOL‐SA   RDWY50790     2022   WABSH   1JJD061XXNL305115   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50791     2022   WABSH   1JJD061X1NL305116   ELF‐1     OK        Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY50792     2022   WABSH   1JJD061X3NL305117   ELF‐1     GA        Conley
 YRCF     DOLLY            DOL‐SA   RDWY50793     2022   WABSH   1JJD061X5NL305118   ELF‐1     Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY50794     2022   WABSH   1JJD061X7NL305119   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50795     2022   WABSH   1JJD061X3NL305120   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50796     2022   WABSH   1JJD061X5NL305121   ELF‐1     OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY50797     2022   WABSH   1JJD061X7NL305122   ELF‐1     NJ        South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY50801     2022   WABSH   1JJD061X9NL305123   ELF‐1     TX        Eagle Pass
 YRCF     DOLLY            DOL‐SA   RDWY50802     2022   WABSH   1JJD061X0NL305124   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50803     2022   WABSH   1JJD061X2NL305125   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50804     2022   WABSH   1JJD061X4NL305126   ELF‐1     NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50805     2022   WABSH   1JJD061X6NL305127   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50806     2022   WABSH   1JJD061X8NL305128   ELF‐1     TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY50807     2022   WABSH   1JJD061XXNL305129   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50808     2022   WABSH   1JJD061X6NL305130   ELF‐1     FL        Boynton Beach
 YRCF     DOLLY            DOL‐SA   RDWY50809     2022   WABSH   1JJD061X8NL305131   ELF‐1     MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY50810     2022   WABSH   1JJD061XXNL305132   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50812     2022   WABSH   1JJD061X1NL305133   ELF‐1     LA        New Orleans
 YRCF     DOLLY            DOL‐SA   RDWY50814     2022   WABSH   1JJD061X3NL305134   ELF‐1     OK        Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY50815     2022   WABSH   1JJD061X5NL305135   ELF‐1     LA        Alexandria
 YRCF     DOLLY            DOL‐SA   RDWY50816     2022   WABSH   1JJD061X7NL305136   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50818     2022   WABSH   1JJD061X9NL305137   ELF‐1     AL        Mobile
 YRCF     DOLLY            DOL‐SA   RDWY50819     2022   WABSH   1JJD061X0NL305138   ELF‐1     NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY50820     2022   WABSH   1JJD061X2NL305139   ELF‐1     IL        Quincy
 YRCF     DOLLY            DOL‐SA   RDWY50821     2022   WABSH   1JJD061X9NL305140   ELF‐1     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50823     2022   WABSH   1JJD061X0NL305141   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50824     2022   WABSH   1JJD061X2NL305142   ELF‐1     IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY50825     2022   WABSH   1JJD061X4NL305143   ELF‐1     MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY50827     2022   WABSH   1JJD061X6NL305144   ELF‐1     MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50830     2022   WABSH   1JJD061X8NL305145   ELF‐1     NV        Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY50832     2022   WABSH   1JJD061XXNL305146   ELF‐1     OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY50833     2022   WABSH   1JJD061X1NL305147   ELF‐1     NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50834     2022   WABSH   1JJD061X3NL305148   ELF‐1     NV        Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY50835     2022   WABSH   1JJD061X5NL305149   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50836     2022   WABSH   1JJD061X1NL305150   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50837     2022   WABSH   1JJD061X3NL305151   ELF‐1     NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50838     2022   WABSH   1JJD061X5NL305152   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50839     2022   WABSH   1JJD061X7NL305153   ELF‐1     AR        Springdale
 YRCF     DOLLY            DOL‐SA   RDWY50840     2022   WABSH   1JJD061X9NL305154   ELF‐1     OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY50841     2022   WABSH   1JJD061X0NL305155   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50842     2022   WABSH   1JJD061X2NL305156   ELF‐1     MT        Billings
 YRCF     DOLLY            DOL‐SA   RDWY50843     2022   WABSH   1JJD061X4NL305157   ELF‐1     MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY50844     2022   WABSH   1JJD061X6NL305158   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50845     2022   WABSH   1JJD061X8NL305159   ELF‐1     MI        Birch Run
 YRCF     DOLLY            DOL‐SA   RDWY50847     2022   WABSH   1JJD061X4NL305160   ELF‐1     MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50850     2022   WABSH   1JJD061X6NL305161   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY50852     2022   WABSH   1JJD061X8NL305162   ELF‐1     MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50853     2022   WABSH   1JJD061XXNL305163   ELF‐1     IN        Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY50855     2022   WABSH   1JJD061X1NL305164   ELF‐1     KS        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY50857     2022   WABSH   1JJD061X3NL305165   ELF‐1     CA        Fresno
 YRCF     DOLLY            DOL‐SA   RDWY50858     2022   WABSH   1JJD061X5NL305166   ELF‐1     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY50859     2022   WABSH   1JJD061X7NL305167   ELF‐1     MO        Kansas City
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 472 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     DOLLY            DOL‐SA   RDWY50860     2022   WABSH   1JJD061X9NL305168   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50862     2022   WABSH   1JJD061X0NL305169   ELF‐1     WA         Seattle
 YRCF     DOLLY            DOL‐SA   RDWY50863     2022   WABSH   1JJD061X7NL305170   ELF‐1     GA         Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY50864     2022   WABSH   1JJD061X9NL305171   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY50866     2022   WABSH   1JJD061X0NL305172   ELF‐1     NC         Durham
 YRCF     DOLLY            DOL‐SA   RDWY50867     2022   WABSH   1JJD061X2NL305173   ELF‐1     MD         Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY50868     2022   WABSH   1JJD061X4NL305174   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50869     2022   WABSH   1JJD061X6NL305175   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50870     2022   WABSH   1JJD061X8NL305176   ELF‐1     ID         Pocatello
 YRCF     DOLLY            DOL‐SA   RDWY50872     2022   WABSH   1JJD061XXNL305177   ELF‐1     TN         Nashville
 YRCF     DOLLY            DOL‐SA   RDWY50874     2022   WABSH   1JJD061X1NL305178   ELF‐1     CA         Stockton
 YRCF     DOLLY            DOL‐SA   RDWY50875     2022   WABSH   1JJD061X3NL305179   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50876     2022   WABSH   1JJD061XXNL305180   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50878     2022   WABSH   1JJD061X1NL305181   ELF‐1     CA         Hayward
 YRCF     DOLLY            DOL‐SA   RDWY50879     2022   WABSH   1JJD061X3NL305182   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY50886     2022   WABSH   1JJD061X5NL305183   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50887     2022   WABSH   1JJD061X7NL305184   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY50888     2022   WABSH   1JJD061X9NL305185   ELF‐1     MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY50889     2022   WABSH   1JJD061X0NL305186   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50890     2022   WABSH   1JJD061X2NL305187   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50891     2022   WABSH   1JJD061X4NL305188   ELF‐1     MI         Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY50892     2022   WABSH   1JJD061X6NL305189   ELF‐1     CO         Clifton
 YRCF     DOLLY            DOL‐SA   RDWY50896     2022   WABSH   1JJD061X2NL305190   ELF‐1     IN         Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY50897     2022   WABSH   1JJD061X4NL305191   ELF‐1     NE         Omaha
 YRCF     DOLLY            DOL‐SA   RDWY50905     2022   WABSH   1JJD061X6NL305192   ELF‐1     IN         Hammond
 YRCF     DOLLY            DOL‐SA   RDWY50907     2022   WABSH   1JJD061X8NL305193   ELF‐1     MS         Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY50908     2022   WABSH   1JJD061XXNL305194   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50911     2022   WABSH   1JJD061X1NL305195   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY50915     2022   WABSH   1JJD061X3NL305196   ELF‐1     CA         Gardena
 YRCF     DOLLY            DOL‐SA   RDWY50920     2022   WABSH   1JJD061X5NL305197   ELF‐1     GA         La Grange
 YRCF     DOLLY            DOL‐SA   RDWY50921     2022   WABSH   1JJD061X7NL305198   ELF‐1     PQ         Dorval
 YRCF     DOLLY            DOL‐SA   RDWY50925     2022   WABSH   1JJD061X9NL305199   ELF‐1     TX         Waco
 YRCF     DOLLY            DOL‐SA   RDWY50928     2022   WABSH   1JJD061X1NL305200   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50929     2022   WABSH   1JJD061X3NL305201   ELF‐1     CA         Sun Valley
 YRCF     DOLLY            DOL‐SA   RDWY50935     2022   WABSH   1JJD061X5NL305202   ELF‐1     OR         Redmond
 YRCF     DOLLY            DOL‐SA   RDWY50937     2022   WABSH   1JJD061X7NL305203   ELF‐1     AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY50940     2022   WABSH   1JJD061X9NL305204   ELF‐1     VA         Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY50952     2022   WABSH   1JJD061X0NL305205   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50955     2022   WABSH   1JJD061X2NL305206   ELF‐1     NC         Fayetteville
 YRCF     DOLLY            DOL‐SA   RDWY50957     2022   WABSH   1JJD061X4NL305207   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50962     2022   WABSH   1JJD061X6NL305208   ELF‐1     IL         Quincy
 YRCF     DOLLY            DOL‐SA   RDWY50969     2022   WABSH   1JJD061X8NL305209   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50971     2022   WABSH   1JJD061X4NL305210   ELF‐1     NJ         South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY50984     2022   WABSH   1JJD061X6NL305211   ELF‐1     VA         Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY50985     2022   WABSH   1JJD061X8NL305212   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50986     2022   WABSH   1JJD061XXNL305213   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50989     2022   WABSH   1JJD061X1NL305214   ELF‐1     TX         Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY50991     2022   WABSH   1JJD061X3NL305215   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY50992     2022   WABSH   1JJD061X5NL305216   ELF‐1     MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY50993     2022   WABSH   1JJD061X7NL305217   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY50994     2022   WABSH   1JJD061X9NL305218   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50995     2022   WABSH   1JJD061X0NL305219   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50996     2022   WABSH   1JJD061X7NL305220   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY50997     2022   WABSH   1JJD061X9NL305221   ELF‐1     KS         Wichita
 YRCF     DOLLY            DOL‐SA   RDWY50998     2022   WABSH   1JJD061X0NL305222   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY50999     2022   WABSH   1JJD061X2NL305223   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY51000     2022   WABSH   1JJD061X4NL305224   ELF‐1     MO         Strafford
 YRCF     DOLLY            DOL‐SA   RDWY51001     2022   WABSH   1JJD061X6NL305225   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51002     2022   WABSH   1JJD061X8NL305226   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51003     2022   WABSH   1JJD061XXNL305227   ELF‐1     MO         Columbia
 YRCF     DOLLY            DOL‐SA   RDWY51004     2022   WABSH   1JJD061X1NL305228   ELF‐1     FL         Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY51005     2022   WABSH   1JJD061X3NL305229   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY51006     2022   WABSH   1JJD061XXNL305230   ELF‐1     ID         Meridian
 YRCF     DOLLY            DOL‐SA   RDWY51007     2022   WABSH   1JJD061X1NL305231   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51008     2022   WABSH   1JJD061X3NL305232   ELF‐1     Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY51009     2022   WABSH   1JJD061X5NL305233   ELF‐1     MI         Taylor
 YRCF     DOLLY            DOL‐SA   RDWY51010     2022   WABSH   1JJD061X7NL305234   ELF‐1     IN         South Bend
 YRCF     DOLLY            DOL‐SA   RDWY51011     2022   WABSH   1JJD061X9NL305235   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51012     2022   WABSH   1JJD061X0NL305236   ELF‐1     OH         Richfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 473 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY51013     2022   WABSH   1JJD061X2NL305237   ELF‐1     WA               Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY51014     2022   WABSH   1JJD061X4NL305238   ELF‐1     WI               Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY51015     2022   WABSH   1JJD061X6NL305239   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51016     2022   WABSH   1JJD061X2NL305240   ELF‐1     VA               Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY51017     2022   WABSH   1JJD061X4NL305241   ELF‐1     MO               Strafford
 YRCF     DOLLY            DOL‐SA   RDWY51018     2022   WABSH   1JJD061X6NL305242   ELF‐1     RI               Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY51019     2022   WABSH   1JJD061X8NL305243   ELF‐1     FL               Miami
 YRCF     DOLLY            DOL‐SA   RDWY51020     2022   WABSH   1JJD061XXNL305244   ELF‐1     TX               El Paso
 YRCF     DOLLY            DOL‐SA   RDWY51021     2022   WABSH   1JJD061X1NL305245   ELF‐1     WA               Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY51022     2022   WABSH   1JJD061X3NL305246   ELF‐1     MI               Jackson
 YRCF     DOLLY            DOL‐SA   RDWY51023     2022   WABSH   1JJD061X5NL305247   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51024     2022   WABSH   1JJD061X7NL305248   ELF‐1     VA               Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY51025     2022   WABSH   1JJD061X9NL305249   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51026     2022   WABSH   1JJD061X5NL305250   ELF‐1     KS               Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY51027     2022   WABSH   1JJD061X7NL305251   ELF‐1     NJ               Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY51028     2022   WABSH   1JJD061X9NL305252   ELF‐1     NV               Sparks
 YRCF     DOLLY            DOL‐SA   RDWY51029     2022   WABSH   1JJD061X0NL305253   ELF‐1     OH               Columbus
 YRCF     DOLLY            DOL‐SA   RDWY51030     2022   WABSH   1JJD061X2NL305254   ELF‐1     NM               Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY51031     2022   WABSH   1JJD061X4NL305255   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51032     2022   WABSH   1JJD061X6NL305256   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51033     2022   WABSH   1JJD061X8NL305257   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51034     2022   WABSH   1JJD061XXNL305258   ELF‐1     OH               Richfield
 YRCF     DOLLY            DOL‐SA   RDWY51035     2022   WABSH   1JJD061X1NL305259   ELF‐1     WI               Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY51036     2022   WABSH   1JJD061X8NL305260   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51037     2022   WABSH   1JJD061XXNL305261   ELF‐1     WA               Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY51038     2022   WABSH   1JJD061X1NL305262   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51039     2022   WABSH   1JJD061X3NL305263   ELF‐1     CO               Grand Junction
 YRCF     DOLLY            DOL‐SA   RDWY51040     2022   WABSH   1JJD061X5NL305264   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51041     2022   WABSH   1JJD061X7NL305265   ELF‐1     ID               Meridian
 YRCF     DOLLY            DOL‐SA   RDWY51042     2022   WABSH   1JJD061X9NL305266   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY51043     2022   WABSH   1JJD061X0NL305267   ELF‐1     AL               Decatur
 YRCF     DOLLY            DOL‐SA   RDWY51044     2022   WABSH   1JJD061X2NL305268   ELF‐1     IL               Joliet
 YRCF     DOLLY            DOL‐SA   RDWY51045     2022   WABSH   1JJD061X4NL305269   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51054     2022   WABSH   1JJD061X0NL305270   ELF‐1     NE               Omaha
 YRCF     DOLLY            DOL‐SA   RDWY51061     2022   WABSH   1JJD061X2NL305271   ELF‐1     IN               Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY51065     2022   WABSH   1JJD061X4NL305272   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY51071     2022   WABSH   1JJD061X6NL305273   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY51081     2022   WABSH   1JJD061X8NL305274   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51083     2022   WABSH   1JJD061XXNL305275   ELF‐1     NY               East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY51094     2022   WABSH   1JJD061X1NL305276   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51095     2022   WABSH   1JJD061X3NL305277   ELF‐1     British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY51096     2022   WABSH   1JJD061X5NL305278   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51100     2022   WABSH   1JJD061X7NL305279   ELF‐1     GA               La Grange
 YRCF     DOLLY            DOL‐SA   RDWY51102     2022   WABSH   1JJD061X3NL305280   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51106     2022   WABSH   1JJD061X5NL305281   ELF‐1     CA               San Diego
 YRCF     DOLLY            DOL‐SA   RDWY51107     2022   WABSH   1JJD061X7NL305282   ELF‐1     FL               Tampa
 YRCF     DOLLY            DOL‐SA   RDWY51110     2022   WABSH   1JJD061X9NL305283   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51111     2022   WABSH   1JJD061X0NL305284   ELF‐1     PA               Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY51112     2022   WABSH   1JJD061X2NL305285   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51114     2022   WABSH   1JJD061X4NL305286   ELF‐1     MA               North Reading
 YRCF     DOLLY            DOL‐SA   RDWY51115     2022   WABSH   1JJD061X6NL305287   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51116     2022   WABSH   1JJD061X8NL305288   ELF‐1     NC               Durham
 YRCF     DOLLY            DOL‐SA   RDWY51118     2022   WABSH   1JJD061XXNL305289   ELF‐1     TX               Houston
 YRCF     DOLLY            DOL‐SA   RDWY51119     2022   WABSH   1JJD061X6NL305290   ELF‐1     ID               Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY51123     2022   WABSH   1JJD061X8NL305291   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51124     2022   WABSH   1JJD061XXNL305292   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51126     2022   WABSH   1JJD061X1NL305293   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY51127     2022   WABSH   1JJD061X3NL305294   ELF‐1     TN               Memphis
 YRCF     DOLLY            DOL‐SA   RDWY51131     2022   WABSH   1JJD061X5NL305295   ELF‐1     FL               Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY51133     2022   WABSH   1JJD061X7NL305296   ELF‐1     OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY51134     2022   WABSH   1JJD061X9NL305297   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY51135     2022   WABSH   1JJD061X0NL305298   ELF‐1     CA               Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY51136     2022   WABSH   1JJD061X2NL305299   ELF‐1     TX               Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY51137     2022   WABSH   1JJD061X5NL305300   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY51138     2022   WABSH   1JJD061X7NL305301   ELF‐1     IN               Hammond
 YRCF     DOLLY            DOL‐SA   RDWY51139     2022   WABSH   1JJD061X9NL305302   ELF‐1     CA               Ventura
 YRCF     DOLLY            DOL‐SA   RDWY51142     2022   WABSH   1JJD061X0NL305303   ELF‐1     FL               Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY51143     2022   WABSH   1JJD061X2NL305304   ELF‐1     MO               Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY51145     2022   WABSH   1JJD061X4NL305305   ELF‐1     TX               Lubbock
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 474 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     DOLLY            DOL‐SA   RDWY51146     2022   WABSH   1JJD061X6NL305306   ELF‐1      CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY51148     2022   WABSH   1JJD061X8NL305307   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51151     2022   WABSH   1JJD061XXNL305308   ELF‐1      WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY51154     2022   WABSH   1JJD061X1NL305309   ELF‐1      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY51155     2022   WABSH   1JJD061X8NL305310   ELF‐1      OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY51161     2022   WABSH   1JJD061XXNL305311   ELF‐1      CO        Henderson
 YRCF     DOLLY            DOL‐SA   RDWY51163     2022   WABSH   1JJD061X1NL305312   ELF‐1      NY        Rochester
 YRCF     DOLLY            DOL‐SA   RDWY51168     2022   WABSH   1JJD061X3NL305313   ELF‐1      OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY51170     2022   WABSH   1JJD061X5NL305314   ELF‐1      Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY51172     2022   WABSH   1JJD061X7NL305315   ELF‐1      SC        West Columbia
 YRCF     DOLLY            DOL‐SA   RDWY51174     2022   WABSH   1JJD061X9NL305316   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51175     2022   WABSH   1JJD061X0NL305317   ELF‐1      OK        Checotah
 YRCF     DOLLY            DOL‐SA   RDWY51176     2022   WABSH   1JJD061X2NL305318   ELF‐1      FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY51177     2022   WABSH   1JJD061X4NL305319   ELF‐1      ME        Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY51178     2022   WABSH   1JJD061X0NL305320   ELF‐1      IL        Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY51179     2022   WABSH   1JJD061X2NL305321   ELF‐1      GA        Richmond Hill
 YRCF     DOLLY            DOL‐SA   RDWY51183     2022   WABSH   1JJD061X4NL305322   ELF‐1      FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY51184     2022   WABSH   1JJD061X6NL305323   ELF‐1      FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY51186     2022   WABSH   1JJD061X8NL305324   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51190     2022   WABSH   1JJD061XXNL305325   ELF‐1      GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY51193     2022   WABSH   1JJD061X1NL305326   ELF‐1      TX        McAllen
 YRCF     DOLLY            DOL‐SA   RDWY51195     2022   WABSH   1JJD061X3NL305327   ELF‐1      OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY51197     2022   WABSH   1JJD061X5NL305328   ELF‐1      KS        Topeka
 YRCF     DOLLY            DOL‐SA   RDWY51198     2022   WABSH   1JJD061X7NL305329   ELF‐1      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY51201     2022   WABSH   1JJD061X3NL305330   ELF‐1      FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY51202     2022   WABSH   1JJD061X5NL305331   ELF‐1      FL        Ocala
 YRCF     DOLLY            DOL‐SA   RDWY51203     2022   WABSH   1JJD061X7NL305332   ELF‐1      WI        Eau Claire
 YRCF     DOLLY            DOL‐SA   RDWY51204     2022   WABSH   1JJD061X9NL305333   ELF‐1      MS        Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY51206     2020   WABSH   1JJD061X8LL228404   CDH        MI        Wayland
 YRCF     DOLLY            DOL‐SA   RDWY51207     2020   WABSH   1JJD061XXLL228405   CDH        OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51208     2020   WABSH   1JJD061X1LL228406   CDH        TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY51209     1975   HOBBS   BLS513245           DSU‐1074   Ontario   Woodstock
 YRCF     DOLLY            DOL‐SA   RDWY51210     2020   WABSH   1JJD061X3LL228407   CDH        TX        Texarkana
 YRCF     DOLLY            DOL‐SA   RDWY51211     2020   WABSH   1JJD061X5LL228408   CDH        PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY51212     2020   WABSH   1JJD061X7LL228409   CDH        MI        Wayland
 YRCF     DOLLY            DOL‐SA   RDWY51213     2020   WABSH   1JJD061X3LL228410   CDH        NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY51214     2020   WABSH   1JJD061X5LL228411   CDH        ID        Meridian
 YRCF     DOLLY            DOL‐SA   RDWY51215     2020   WABSH   1JJD061X7LL228412   CDH        IN        Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY51216     1975   HOBBS   BLS513252           DSU1074    IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY51217     2020   WABSH   1JJD061X9LL228413   CDH        LA        Port Allen
 YRCF     DOLLY            DOL‐SA   RDWY51218     2020   WABSH   1JJD061X0LL228414   CDH        CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY51219     2020   WABSH   1JJD061X2LL228415   CDH        MT        Billings
 YRCF     DOLLY            DOL‐SA   RDWY51220     2020   WABSH   1JJD061X4LL228416   CDH        IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY51221     2020   WABSH   1JJD061X6LL228417   CDH        WA        Spokane
 YRCF     DOLLY            DOL‐SA   RDWY51222     2020   WABSH   1JJD061X8LL228418   CDH        FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY51223     2020   WABSH   1JJD061XXLL228419   CDH        IL        Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY51224     2020   WABSH   1JJD061X6LL228420   CDH        OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY51225     2020   WABSH   1JJD061X8LL228421   CDH        IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51226     2020   WABSH   1JJD061XXLL228422   CDH        OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51227     2020   WABSH   1JJD061X1LL228423   CDH        NV        Elko
 YRCF     DOLLY            DOL‐SA   RDWY51228     2020   WABSH   1JJD061X3LL228424   CDH        TX        Corpus Christi
 YRCF     DOLLY            DOL‐SA   RDWY51229     2020   WABSH   1JJD061X5LL228425   CDH        OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51230     2020   WABSH   1JJD061X7LL228426   CDH        IA        Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY51231     2020   WABSH   1JJD061X9LL228427   CDH        MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY51232     2020   WABSH   1JJD061X0LL228428   CDH        OH        Dayton
 YRCF     DOLLY            DOL‐SA   RDWY51233     2020   WABSH   1JJD061X2LL228429   CDH        WA        Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY51234     2020   WABSH   1JJD061X9LL228430   CDH        IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51235     2020   WABSH   1JJD061X0LL228431   CDH        MI        Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY51236     2020   WABSH   1JJD061X2LL228432   CDH        OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51237     2020   WABSH   1JJD061X2ML228433   CDH        UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51238     2020   WABSH   1JJD061X6LL228434   CDH        OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51239     2020   WABSH   1JJD061X8LL228435   CDH        OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY51240     2020   WABSH   1JJD061XXLL228436   CDH        TX        San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY51241     2020   WABSH   1JJD061X1LL228437   CDH        VA        Richmond
 YRCF     DOLLY            DOL‐SA   RDWY51242     2020   WABSH   1JJD061X3LL228438   CDH        PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY51243     2020   WABSH   1JJD061X5LL228439   CDH        VA        Elliston
 YRCF     DOLLY            DOL‐SA   RDWY51244     2020   WABSH   1JJD061X1LL228440   CDH        ID        Meridian
 YRCF     DOLLY            DOL‐SA   RDWY51245     2020   WABSH   1JJD061X3LL228441   CDH        TX        McAllen
 YRCF     DOLLY            DOL‐SA   RDWY51246     2020   WABSH   1JJD061X5LL228442   CDH        NV        Sparks
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 475 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     DOLLY            DOL‐SA   RDWY51247     2020   WABSH   1JJD061X7LL228443   CDH        NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY51248     2020   WABSH   1JJD061X9LL228444   CDH        Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY51249     2020   WABSH   1JJD061X0LL228445   CDH        NJ        Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY51250     2020   WABSH   1JJD061X2LL228446   CDH        OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY51251     2020   WABSH   1JJD061X4LL228447   CDH        CA        Adelanto
 YRCF     DOLLY            DOL‐SA   RDWY51252     1975   HOBBS   BLS513313           DSU1074    PA        Shippensburg
 YRCF     DOLLY            DOL‐SA   RDWY51253     2020   WABSH   1JJD061X6LL228448   CDH        MT        Missoula
 YRCF     DOLLY            DOL‐SA   RDWY51254     2020   WABSH   1JJD061X8LL228449   CDH        FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY51255     2020   WABSH   1JJD061X4LL228450   CDH        MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY51256     2020   WABSH   1JJD061X6LL228451   CDH        MT        Missoula
 YRCF     DOLLY            DOL‐SA   RDWY51257     2020   WABSH   1JJD061X8LL228452   CDH        MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY51258     2020   WABSH   1JJD061XXLL228453   CDH        TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY51259     2020   WABSH   1JJD061X1LL228454   CDH        OH        Dayton
 YRCF     DOLLY            DOL‐SA   RDWY51260     2020   WABSH   1JJD061X3LL228455   CDH        OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51261     1975   HOBBS   BLS513322           DSU1074    OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51262     2020   WABSH   1JJD061X5LL228456   CDH        OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51263     2020   WABSH   1JJD061X7LL228457   CDH        WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY51264     2020   WABSH   1JJD061X9LL228458   CDH        MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY51265     2020   WABSH   1JJD061X0LL228459   CDH        CA        Orange
 YRCF     DOLLY            DOL‐SA   RDWY51266     2020   WABSH   1JJD061X7LL228460   CDH        OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY51267     2020   WABSH   1JJD061X9LL228461   CDH        NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY51268     2020   WABSH   1JJD061X0LL228462   CDH        GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY51269     2020   WABSH   1JJD061X2LL228463   CDH        OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51270     2020   HYUND   3H3J061S5LT913001   CD21       GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY51271     2020   HYUND   3H3J061S7LT913002   CD21       IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51272     2020   HYUND   3H3J061S9LT913003   CD21       TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY51273     2020   HYUND   3H3J061S0LT913004   CD21       NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY51274     2020   HYUND   3H3J061S2LT913005   CD21       MT        Billings
 YRCF     DOLLY            DOL‐SA   RDWY51275     2020   HYUND   3H3J061S4LT913006   CD21       PA        Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY51276     2020   HYUND   3H3J061S6LT913007   CD21       AR        Springdale
 YRCF     DOLLY            DOL‐SA   RDWY51277     2020   HYUND   3H3J061S8LT913008   CD21       WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY51278     2020   HYUND   3H3J061SXLT913009   CD21       FL        Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY51279     2020   HYUND   3H3J061S6LT913010   CD21       FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY51280     2020   HYUND   3H3J061S8LT913011   CD21       OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY51281     2020   HYUND   3H3J061SXLT913012   CD21       GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY51282     2020   HYUND   3H3J061S1LT913013   CD21       MT        Butte
 YRCF     DOLLY            DOL‐SA   RDWY51283     2020   HYUND   3H3J061S3LT913014   CD21       OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY51284     2020   HYUND   3H3J061S5LT913015   CD21       OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY51285     2020   HYUND   3H3J061S7LT913016   CD21       IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51287     2020   HYUND   3H3J061S9LT913017   CD21       CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY51288     2020   HYUND   3H3J061S0LT913018   CD21       TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY51289     2020   HYUND   3H3J061S2LT913019   CD21       TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY51290     2020   HYUND   3H3J061S9LT913020   CD21       PA        Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY51291     2020   HYUND   3H3J061S0LT913021   CD21       MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY51292     2020   HYUND   3H3J061S2LT913022   CD21       WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY51293     2020   HYUND   3H3J061S4LT913023   CD21       TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY51294     2020   HYUND   3H3J061S6LT913024   CD21       GA        Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY51295     2020   HYUND   3H3J061S8LT913025   CD21       WI        Madison
 YRCF     DOLLY            DOL‐SA   RDWY51296     1975   HOBBS   BLS513357           DSU1074    AZ        Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY51297     1975   HOBBS   BLS513358           DSU‐1074   UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51298     2020   HYUND   3H3J061SXLT913026   CD21       NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY51299     2020   HYUND   3H3J061S1LT913027   CD21       IL        Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY51300     2020   HYUND   3H3J061S3LT913028   CD21       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51301     2020   HYUND   3H3J061S5LT913029   CD21       NJ        Kearny
 YRCF     DOLLY            DOL‐SA   RDWY51302     2020   HYUND   3H3J061S1LT913030   CD21       CA        Fresno
 YRCF     DOLLY            DOL‐SA   RDWY51303     2020   HYUND   3H3J061S3LT913031   CD21       MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY51304     2020   HYUND   3H3J061S5LT913032   CD21       FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY51305     2020   HYUND   3H3J061S7LT913033   CD21       IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51306     2020   HYUND   3H3J061S9LT913034   CD21       Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY51307     2020   HYUND   3H3J061S0LT913035   CD21       OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY51308     2020   HYUND   3H3J061S2LT913036   CD21       FL        Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY51309     2020   HYUND   3H3J061S4LT913037   CD21       UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51310     2020   HYUND   3H3J061S6LT913038   CD21       OR        Eugene
 YRCF     DOLLY            DOL‐SA   RDWY51311     2020   HYUND   3H3J061S8LT913039   CD21       NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY51312     2020   HYUND   3H3J061S4LT913040   CD21       IA        Sioux City
 YRCF     DOLLY            DOL‐SA   RDWY51313     2020   HYUND   3H3J061S6LT913041   CD21       OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY51314     1975   HOBBS   BLS513375           DSU‐1074   MI        Wayland
 YRCF     DOLLY            DOL‐SA   RDWY51315     2020   HYUND   3H3J061S8LT913042   CD21       IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY51316     2020   HYUND   3H3J061SXLT913043   CD21       OH        Richfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 476 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State          City
 YRCF     DOLLY            DOL‐SA   RDWY51317     2020   HYUND   3H3J061S1LT913044   CD21       NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY51318     2020   HYUND   3H3J061S3LT913045   CD21       GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY51319     2020   HYUND   3H3J061S5LT913046   CD21       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY51321     2020   HYUND   3H3J061S7LT913047   CD21       AZ             Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY51322     2020   HYUND   3H3J061S9LT913048   CD21       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY51323     1975   HOBBS   BLS513409           DSU1074    UT             Beaver
 YRCF     DOLLY            DOL‐SA   RDWY51324     2020   HYUND   3H3J061S0LT913049   CD21       NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY51325     2020   HYUND   3H3J061S7LT913050   CD21       IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY51326     2020   HYUND   3H3J061S9LT913051   CD21       TN             Kingsport
 YRCF     DOLLY            DOL‐SA   RDWY51327     2020   HYUND   3H3J061S0LT913052   CD21       ME             Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY51328     2020   HYUND   3H3J061S2LT913053   CD21       WA             Seattle
 YRCF     DOLLY            DOL‐SA   RDWY51329     2020   HYUND   3H3J061S4LT913054   CD21       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY51330     2020   HYUND   3H3J061S6LT913055   CD21       CO             Aurora
 YRCF     DOLLY            DOL‐SA   RDWY51331     2020   HYUND   3H3J061S8LT913056   CD21       WI             Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY51332     2020   HYUND   3H3J061SXLT913057   CD21       OR             Central Point
 YRCF     DOLLY            DOL‐SA   RDWY51333     2020   HYUND   3H3J061S1LT913058   CD21       FL             Miami
 YRCF     DOLLY            DOL‐SA   RDWY51334     2022   WABSH   1JJD061X0NL305334   ELF‐1      GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY51335     2020   HYUND   3H3J061S3LT913059   CD21       Manitoba       Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY51336     2020   HYUND   3H3J061SXLT913060   CD21       TX             Dallas
 YRCF     DOLLY            DOL‐SA   RDWY51337     2020   HYUND   3H3J061S1LT913061   CD21       IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY51338     2020   HYUND   3H3J061S3LT913062   CD21       UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51339     2020   HYUND   3H3J061S5LT913063   CD21       MI             Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY51340     2020   HYUND   3H3J061S7LT913064   CD21       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY51341     2020   HYUND   3H3J061S9LT913065   CD21       OH             Copley
 YRCF     DOLLY            DOL‐SA   RDWY51342     2020   HYUND   3H3J061S0LT913066   CD21       ID             Meridian
 YRCF     DOLLY            DOL‐SA   RDWY51343     2020   HYUND   3H3J061S2LT913067   CD21       UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51344     2020   HYUND   3H3J061S4LT913068   CD21       IL             McCook
 YRCF     DOLLY            DOL‐SA   RDWY51345     2020   HYUND   3H3J061S6LT913069   CD21       TN             Memphis
 YRCF     DOLLY            DOL‐SA   RDWY51346     2020   HYUND   3H3J061S2LT913070   CD21       TN             Memphis
 YRCF     DOLLY            DOL‐SA   RDWY51347     2020   HYUND   3H3J061S4LT913071   CD21       MD             Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY51348     2020   HYUND   3H3J061S6LT913072   CD21       MI             Taylor
 YRCF     DOLLY            DOL‐SA   RDWY51349     2020   HYUND   3H3J061S8LT913073   CD21       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY51350     1975   HOBBS   BLS513436           DSU1074    IN             Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51351     2020   HYUND   3H3J061SXLT913074   CD21       OH             Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY51352     2020   HYUND   3H3J061S1LT913075   CD21       LA             Port Allen
 YRCF     DOLLY            DOL‐SA   RDWY51353     2020   HYUND   3H3J061S3LT913076   CD21       TX             McAllen
 YRCF     DOLLY            DOL‐SA   RDWY51354     2020   HYUND   3H3J061S5LT913077   CD21       CA             Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY51355     2020   HYUND   3H3J061S7LT913078   CD21       CA             West Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY51356     2020   HYUND   3H3J061S9LT913079   CD21       WA             Seattle
 YRCF     DOLLY            DOL‐SA   RDWY51357     2020   HYUND   3H3J061S5LT913080   CD21       TN             Nashville
 YRCF     DOLLY            DOL‐SA   RDWY51358     2020   HYUND   3H3J061S7LT913081   CD21       MD             Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY51359     2020   HYUND   3H3J061S9LT913082   CD21       IN             Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51360     2020   HYUND   3H3J061S0LT913083   CD21       VA             Christiansburg
 YRCF     DOLLY            DOL‐SA   RDWY51361     2020   HYUND   3H3J061S2LT913084   CD21       Alberta        Calgary
 YRCF     DOLLY            DOL‐SA   RDWY51362     2020   HYUND   3H3J061S4LT913085   CD21       OK             Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY51363     2020   HYUND   3H3J061S6LT913086   CD21       TN             Nashville
 YRCF     DOLLY            DOL‐SA   RDWY51364     2020   HYUND   3H3J061S8LT913087   CD21       PA             Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY51366     1975   HOBBS   BLS513452           DSU1074    NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY51367     2020   HYUND   3H3J061SXLT913088   CD21       GA             Savannah
 YRCF     DOLLY            DOL‐SA   RDWY51368     2020   HYUND   3H3J061S1LT913089   CD21       CA             Los Angeles
 YRCF     DOLLY            DOL‐SA   RDWY51369     2020   HYUND   3H3J061S8LT913090   CD21       Ontario        Woodstock
 YRCF     DOLLY            DOL‐SA   RDWY51370     2020   HYUND   3H3J061SXLT913091   CD21       GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY51371     2020   HYUND   3H3J061S1LT913092   CD21       OR             Portland
 YRCF     DOLLY            DOL‐SA   RDWY51372     1975   HOBBS   BLS513458           DSU‐1074   MA             North Reading
 YRCF     DOLLY            DOL‐SA   RDWY51373     2020   HYUND   3H3J061S3LT913093   CD21       UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51374     2020   HYUND   3H3J061S5LT913094   CD21       MO             Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY51375     2020   HYUND   3H3J061S7LT913095   CD21       LA             Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY51376     2020   HYUND   3H3J061S9LT913096   CD21       TX             McAllen
 YRCF     DOLLY            DOL‐SA   RDWY51377     2020   HYUND   3H3J061S0LT913097   CD21       WV             Beckley
 YRCF     DOLLY            DOL‐SA   RDWY51378     2020   HYUND   3H3J061S2LT913098   CD21       CA             Tracy
 YRCF     DOLLY            DOL‐SA   RDWY51379     1975   HOBBS   BLS513465           DSU1074    NY             East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY51380     2020   HYUND   3H3J061S4LT913099   CD21       TX             Houston
 YRCF     DOLLY            DOL‐SA   RDWY51381     2022   WABSH   1JJD061X2NL305335   ELF‐1      PA             Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY51382     2020   HYUND   3H3J061S7LT913100   CD21       OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY51383     2022   WABSH   1JJD061X4NL305336   ELF‐1      PA             Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY51384     2022   WABSH   1JJD061X6NL305337   ELF‐1      Saskatchewan   Saskatoon
 YRCF     DOLLY            DOL‐SA   RDWY51385     2022   WABSH   1JJD061X8NL305338   ELF‐1      OH             Copley
 YRCF     DOLLY            DOL‐SA   RDWY51386     2022   WABSH   1JJD061XXNL305339   ELF‐1      OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY51387     2022   WABSH   1JJD061X6NL305340   ELF‐1      RI             Cumberland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 477 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State      City
 YRCF     DOLLY            DOL‐SA   RDWY51388     2022   WABSH   1JJD061X8NL305341   ELF‐1      GA         Conley
 YRCF     DOLLY            DOL‐SA   RDWY51389     2022   WABSH   1JJD061XXNL305342   ELF‐1      NV         Carlin
 YRCF     DOLLY            DOL‐SA   RDWY51390     2022   WABSH   1JJD061X1NL305343   ELF‐1      VA         Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY51391     2022   WABSH   1JJD061X3NL305344   ELF‐1      OH         Copley
 YRCF     DOLLY            DOL‐SA   RDWY51392     2022   WABSH   1JJD061X5NL305345   ELF‐1      NY         Elmira
 YRCF     DOLLY            DOL‐SA   RDWY51393     2022   WABSH   1JJD061X7NL305346   ELF‐1      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51394     2022   WABSH   1JJD061X9NL305347   ELF‐1      AR         Springdale
 YRCF     DOLLY            DOL‐SA   RDWY51395     2022   WABSH   1JJD061X0NL305348   ELF‐1      IN         South Bend
 YRCF     DOLLY            DOL‐SA   RDWY51396     2022   WABSH   1JJD061X2NL305349   ELF‐1      TN         Nashville
 YRCF     DOLLY            DOL‐SA   RDWY51397     2022   WABSH   1JJD061X9NL305350   ELF‐1      TX         Houston
 YRCF     DOLLY            DOL‐SA   RDWY51398     2022   WABSH   1JJD061X0NL305351   ELF‐1      AZ         Nogales
 YRCF     DOLLY            DOL‐SA   RDWY51399     2022   WABSH   1JJD061X2NL305352   ELF‐1      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51400     2022   WABSH   1JJD061X4NL305353   ELF‐1      IN         Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51401     2022   WABSH   1JJD061X6NL305354   ELF‐1      TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY51402     2022   WABSH   1JJD061X8NL305355   ELF‐1      MN         Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY51403     2022   WABSH   1JJD061XXNL305356   ELF‐1      WI         Neenah
 YRCF     DOLLY            DOL‐SA   RDWY51404     2022   WABSH   1JJD061X1NL305357   ELF‐1      OH         Richfield
 YRCF     DOLLY            DOL‐SA   RDWY51405     2022   WABSH   1JJD061X3NL305358   ELF‐1      NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY51406     2022   WABSH   1JJD061X5NL305359   ELF‐1      MI         Wayland
 YRCF     DOLLY            DOL‐SA   RDWY51407     2022   WABSH   1JJD061X1NL305360   ELF‐1      MT         Butte
 YRCF     DOLLY            DOL‐SA   RDWY51409     2022   WABSH   1JJD061X3NL305361   ELF‐1      MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY51410     2022   WABSH   1JJD061X5NL305362   ELF‐1      CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY51411     2022   WABSH   1JJD061X7NL305363   ELF‐1      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51412     2022   WABSH   1JJD061X9NL305364   ELF‐1      ID         Meridian
 YRCF     DOLLY            DOL‐SA   RDWY51413     2022   WABSH   1JJD061X0NL305365   ELF‐1      OK         Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY51414     2022   WABSH   1JJD061X2NL305366   ELF‐1      AR         Springdale
 YRCF     DOLLY            DOL‐SA   RDWY51415     2022   WABSH   1JJD061X4NL305367   ELF‐1      IN         Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY51416     2022   WABSH   1JJD061X6NL305368   ELF‐1      CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY51417     2022   WABSH   1JJD061X8NL305369   ELF‐1      TX         Texarkana
 YRCF     DOLLY            DOL‐SA   RDWY51418     2022   WABSH   1JJD061X4NL305370   ELF‐1      Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY51419     2022   WABSH   1JJD061X6NL305371   ELF‐1      OH         Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY51420     2022   WABSH   1JJD061X8NL305372   ELF‐1      IN         Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51421     2022   WABSH   1JJD061XXNL305373   ELF‐1      IA         Sioux City
 YRCF     DOLLY            DOL‐SA   RDWY51422     2022   WABSH   1JJD061X1NL305374   ELF‐1      TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY51423     2022   WABSH   1JJD061X3NL305375   ELF‐1      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51424     2022   WABSH   1JJD061X5NL305376   ELF‐1      CO         Aurora
 YRCF     DOLLY            DOL‐SA   RDWY51425     2022   WABSH   1JJD061X7NL305377   ELF‐1      TX         Dallas
 YRCF     DOLLY            DOL‐SA   RDWY51426     2022   WABSH   1JJD061X9NL305378   ELF‐1      OH         Columbus
 YRCF     DOLLY            DOL‐SA   RDWY51427     2022   WABSH   1JJD061X0NL305379   ELF‐1      AR         Springdale
 YRCF     DOLLY            DOL‐SA   RDWY51428     2022   WABSH   1JJD061X7NL305380   ELF‐1      MI         Wayland
 YRCF     DOLLY            DOL‐SA   RDWY51429     2022   WABSH   1JJD061X9NL305381   ELF‐1      CA         Anderson
 YRCF     DOLLY            DOL‐SA   RDWY51430     2022   WABSH   1JJD061X0NL305382   ELF‐1      GA         Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY51431     2022   WABSH   1JJD061X2NL305383   ELF‐1      FL         Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY51432     2022   WABSH   1JJD061X4NL305384   ELF‐1      LA         Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY51433     2022   WABSH   1JJD061X6NL305385   ELF‐1      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51434     2022   WABSH   1JJD061X8NL305386   ELF‐1      TX         San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY51435     2022   WABSH   1JJD061XXNL305387   ELF‐1      PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY51436     2022   WABSH   1JJD061X1NL305388   ELF‐1      OH         Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY51437     2022   WABSH   1JJD061X3NL305389   ELF‐1      MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY51438     2022   WABSH   1JJD061XXNL305390   ELF‐1      NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY51439     2022   WABSH   1JJD061X1NL305391   ELF‐1      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51440     2022   WABSH   1JJD061X3NL305392   ELF‐1      OH         Richfield
 YRCF     DOLLY            DOL‐SA   RDWY51441     2022   WABSH   1JJD061X5NL305393   ELF‐1      MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY51484     1975   HOBBS   BLS513619           DSU1074    MA         Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY51498     1975   HOBBS   BLS513633           DSU‐1074   OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51531     1975   HOBBS   BLS513666           DSU1074    CA         Calexico
 YRCF     DOLLY            DOL‐SA   RDWY51534     1975   HOBBS   BLS513669           DSU1074    NC         Raleigh
 YRCF     DOLLY            DOL‐SA   RDWY51561     1975   HOBBS   BLS513721           DSU1074    OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51563     1975   HOBBS   BLS513723           DSU1074    FL         Ocala
 YRCF     DOLLY            DOL‐SA   RDWY51574     1975   HOBBS   BLS513734           DSU1074    OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51591     1975   HOBBS   BLS513751           DSU1074    PA         Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY51788     1978   FRUHF   MEY546047           EL‐W1      IN         Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY51797     1978   FRUHF   MEY546056           EL‐W1      TN         Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY51818     1978   FRUHF   MEY546077           EL‐W1      MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY51829     1978   FRUHF   MEY546088           EL‐W1      NJ         Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY51832     1978   FRUHF   MEY546091           EL‐W1      UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51839     1978   FRUHF   MEY546098           EL‐W1      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY51850     1978   FRUHF   MEY546109           EL‐WI      NV         Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY51875     1978   FRUHF   MEY546134           EL‐W1      WA         Union Gap
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 478 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     DOLLY            DOL‐SA   RDWY51877     1978   FRUHF   MEY546136           EL‐W1      RI        Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY51879     1978   FRUHF   MEY546138           EL‐W1      IL        Bolingbrook
 YRCF     DOLLY            DOL‐SA   RDWY51888     1978   FRUHF   MEY546147           EL‐W1      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY51894     1978   FRUHF   MEY546153           EL‐W1      CA        Orange
 YRCF     DOLLY            DOL‐SA   RDWY51900     1978   FRUHF   MEY546159           EL‐WI      MO        Columbia
 YRCF     DOLLY            DOL‐SA   RDWY51908     1978   FRUHF   MEY546167           EL‐W1      IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY51909     1978   FRUHF   MEY546168           EL‐W1      MS        Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY51915     1978   FRUHF   MEY546174           EL‐W1      NJ        Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY51922     1978   FRUHF   MEY546181           EL‐W1      MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY51926     1978   FRUHF   MEY546185           EL‐W1      TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY51930     1978   FRUHF   MEY546189           EL‐W1      GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY51941     1978   FRUHF   MEZ560409           EL‐WI      CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY51962     1981   HOBBS   1H5E00619BN057805   DSU‐1074   UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51968     1981   HOBBS   1H5E00614BN057811   DSU‐1074   NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY51969     1981   HOBBS   1H5E00616BN057812   DSU‐1074   CA        Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY51975     1981   HOBBS   1H5E00617BN057818   DSU‐1074   UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY51979     1981   HOBBS   1H5E00619BN057822   DSU‐1074   WI        Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY51981     1981   HOBBS   1H5E00612BN057824   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY51983     1981   HOBBS   1H5E00616BN057826   DSU‐1074   CA        Anderson
 YRCF     DOLLY            DOL‐SA   RDWY51984     1981   HOBBS   1H5E00618BN057827   DSU‐1074   MT        Billings
 YRCF     DOLLY            DOL‐SA   RDWY51990     1982   HOBBS   1H5E00613BN057833   DSU‐1074   MI        Wayland
 YRCF     DOLLY            DOL‐SA   RDWY51997     1982   HOBBS   1H5E00612CN000105   DSU‐1074   MA        Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY51999     1982   HOBBS   1H5E00616CN000107   DSU‐1074   ID        Meridian
 YRCF     DOLLY            DOL‐SA   RDWY52003     1982   HOBBS   1H5E00618CN000111   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52007     1982   HOBBS   1H5E00615CN000115   DSU‐1074   TX        Dallas
 YRCF     DOLLY            DOL‐SA   RDWY52010     1982   HOBBS   1H5E00610CN000118   DSU‐1074   GA        Martinez
 YRCF     DOLLY            DOL‐SA   RDWY52016     1982   HOBBS   1H5E00616CN000124   DSU‐1074   GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY52018     1982   HOBBS   1H5E0061XCN000126   DSU‐1074   FL        Orlando
 YRCF     DOLLY            DOL‐SA   RDWY52020     1982   HOBBS   1H5E00613CN000128   DSU‐1074   VA        Richmond
 YRCF     DOLLY            DOL‐SA   RDWY52031     1982   HOBBS   1H5E00618CN000139   DSU‐1074   NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY52032     1982   HOBBS   1H5E00614CN000140   DSU‐1074   TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY52036     1982   HOBBS   1H5E00611CN000144   DSU‐1074   CA        Los Angeles
 YRCF     DOLLY            DOL‐SA   RDWY52038     1982   HOBBS   1H5E00615CN000146   DSU‐1074   MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY52041     1982   HOBBS   1H5E00610CN000149   DSU‐1074   KS        Salina
 YRCF     DOLLY            DOL‐SA   RDWY52048     1982   HOBBS   1H5E00618CN000156   DSU‐1074   NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY52050     1982   HOBBS   1H5E00611CN000158   DSU‐1074   AL        Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY52051     1982   HOBBS   1H5E00613CN000159   DSU‐1074   UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY52055     1982   HOBBS   1H5E00615CN000163   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52058     1982   HOBBS   1H5E00610CN000166   DSU‐1074   OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY52059     1982   HOBBS   1H5E00612CN000167   DSU‐1074   AZ        Flagstaff
 YRCF     DOLLY            DOL‐SA   RDWY52060     1982   HOBBS   1H5E00614CN000168   DSU‐1074   FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY52064     1982   HOBBS   1H5E00616CN000172   DSU‐1074   NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY52067     1982   HOBBS   1H5E00611CN000175   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52071     1982   HOBBS   1H5E00619CN000179   DSU‐1074   NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY52073     1982   HOBBS   1H5E00617CN000181   DSU‐1074   FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY52077     1982   HOBBS   1H5E00614CN000185   DSU‐1074   OH        Lima
 YRCF     DOLLY            DOL‐SA   RDWY52080     1982   HOBBS   1H5E0061XCN000188   DSU‐1074   PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY52082     1982   HOBBS   1H5E00618CN000190   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52086     1982   HOBBS   1H5E00615CN000194   DSU‐1074   GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY52087     1982   HOBBS   1H5E00617CN000195   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52091     1982   HOBBS   1H5E00614CN000199   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52093     1982   HOBBS   1H5E00610CN000202   DSU‐1074   GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY52094     1982   HOBBS   1H5E00612CN000203   DSU‐1074   Ontario   Mississauga
 YRCF     DOLLY            DOL‐SA   RDWY52097     1982   HOBBS   1H5E00618CN000206   DSU‐1074   NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY52098     1982   HOBBS   1H5E0061XCN000207   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52101     1982   HOBBS   1H5E0061XCN000210   DSU‐1074   IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52105     1982   HOBBS   1H5E00617CN000214   DSU‐1074   CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY52109     1982   HOBBS   1H5E00614CN000218   DSU‐1074   GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY52110     1982   HOBBS   1H5E00616CN000219   DSU‐1074   WV        Beckley
 YRCF     DOLLY            DOL‐SA   RDWY52111     1982   HOBBS   1H5E00612CN000220   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52115     1982   HOBBS   1H5E0061XCN000224   DSU‐1074   OH        Toledo
 YRCF     DOLLY            DOL‐SA   RDWY52117     1982   HOBBS   1H5E00613CN000226   DSU‐1074   ID        Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY52122     1982   HOBBS   1H5E00617CN000231   DSU‐1074   VA        Richmond
 YRCF     DOLLY            DOL‐SA   RDWY52123     1982   HOBBS   1H5E00619CN000232   DSU‐1074   TX        Houston
 YRCF     DOLLY            DOL‐SA   RDWY52124     1982   HOBBS   1H5E00610CN000233   DSU‐1074   TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY52129     1982   HOBBS   1H5E0061XCN000238   DSU‐1074   OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY52135     1982   HOBBS   1H5E00615CN000244   DSU‐1074   PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY52136     1982   HOBBS   1H5E00617CN000245   DSU‐1074   MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY52142     1982   HOBBS   1H5E00612CN000251   DSU‐1074   OH        Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23        Page 479 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     DOLLY            DOL‐SA   RDWY52148     1982   HOBBS   1H5E00613CN000257   DSU‐1074   MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY52154     1982   HOBBS   1H5E00619CN000263   DSU‐1074   IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52155     1982   HOBBS   1H5E00610CN000264   DSU‐1074   MI        Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY52156     1982   HOBBS   1H5E00612CN000265   DSU‐1074   CO        Grand Junction
 YRCF     DOLLY            DOL‐SA   RDWY52158     1982   HOBBS   1H5E00616CN000267   DSU‐1074   OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY52163     1982   HOBBS   1H5E0061XCN000272   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52180     1982   HOBBS   1H5E00615CN000289   DSU‐1074   IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52181     1982   HOBBS   1H5E00611CN000290   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52183     1982   HOBBS   1H5E00615CN000292   DSU‐1074   CA        Anderson
 YRCF     DOLLY            DOL‐SA   RDWY52188     1982   HOBBS   1H5E00614CN000297   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52189     1982   HOBBS   1H5E00616CN000298   DSU‐1074   WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY52191     1982   HOBBS   1H5E00612CN000301   DSU‐1074   UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY52201     1982   HOBBS   1H5E00615CN000311   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52202     1982   HOBBS   1H5E00617CN000312   DSU‐1074   NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY52204     1982   HOBBS   1H5E00610CN000314   DSU‐1074   CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY52209     1982   HOBBS   1H5E0061XCN000319   DSU‐1074   TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY52211     1982   HOBBS   1H5E00618CN000321   DSU‐1074   OK        Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY52214     1982   HOBBS   1H5E00613CN000324   DSU‐1074   WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY52218     1982   HOBBS   1H5E00610CN000328   DSU‐1074   PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY52219     1982   HOBBS   1H5E00612CN000329   DSU‐1074   MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY52220     1982   HOBBS   1H5E00619CN000330   DSU‐1074   PA        Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY52228     1982   HOBBS   1H5E00613CN000338   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52229     1982   HOBBS   1H5E00615CN000339   DSU‐1074   LA        New Orleans
 YRCF     DOLLY            DOL‐SA   RDWY52230     1982   HOBBS   1H5E00611CN000340   DSU‐1074   TX        Dallas
 YRCF     DOLLY            DOL‐SA   RDWY52232     1982   HOBBS   1H5E00615CN000342   DSU‐1074   MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY52234     1982   HOBBS   1H5E00619CN000344   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52244     1982   HOBBS   1H5E00611CN000354   DSU‐1074   IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY52248     1982   HOBBS   1H5E00619CN000358   DSU‐1074   NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY52250     1982   HOBBS   1H5E00617CN000360   DSU‐1074   PA        Erie
 YRCF     DOLLY            DOL‐SA   RDWY52253     1982   HOBBS   1H5E00612CN000363   DSU‐1074   PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY52254     1982   HOBBS   1H5E00614CN000364   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52256     1982   HOBBS   1H5E00618CN000366   DSU‐1074   NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY52260     1982   HOBBS   1H5E0061XCN000370   DSU‐1074   TN        Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY52261     1982   HOBBS   1H5E00611CN000371   DSU‐1074   ID        Meridian
 YRCF     DOLLY            DOL‐SA   RDWY52263     1982   HOBBS   1H5E00615CN000373   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52264     1982   HOBBS   1H5E00617CN000374   DSU‐1074   MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY52265     1982   HOBBS   1H5E00619CN000375   DSU‐1074   TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY52267     1982   HOBBS   1H5E00612CN000377   DSU‐1074   IL        Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY52272     1982   HOBBS   1H5E00616CN000382   DSU‐1074   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52273     1982   HOBBS   1H5E00618CN000383   DSU‐1074   NJ        Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY52282     1983   FRUHF   1H5E00617DN012803   ELF‐1      NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY52283     1983   FRUHF   1H5E00619DN012804   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52285     1983   FRUHF   1H5E00612DN012806   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52287     1983   FRUHF   1H5E00616DN012808   ELF‐1      IL        Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY52288     1983   FRUHF   1H5E00618DN012809   ELF‐1      UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY52289     1983   FRUHF   1H5E00614DN012810   ELF‐1      TN        Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY52291     1983   FRUHF   1H5E00618DN012812   ELF‐1      CA        Hayward
 YRCF     DOLLY            DOL‐SA   RDWY52294     1983   FRUHF   1H5E00613DN012815   ELF‐1      ME        Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY52295     1983   FRUHF   1H5E00615DN012816   ELF‐1      NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY52299     1983   FRUHF   1H5E00617DN012820   ELF‐1      SD        Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY52303     1983   FRUHF   1H5E00614DN012824   ELF‐1      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY52308     1983   FRUHF   1H5E00613DN012829   ELF‐1      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY52310     1983   FRUHF   1H5E00611DN012831   ELF‐1      UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY52311     1983   FRUHF   1H5E00613DN012832   ELF‐1      WA        Spokane
 YRCF     DOLLY            DOL‐SA   RDWY52314     1983   FRUHF   1H5E00619DN012835   ELF‐1      WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY52317     1983   FRUHF   1H5E00614DN012838   ELF‐1      FL        Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY52319     1983   FRUHF   1H5E00612DN012840   ELF‐1      Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY52321     1983   FRUHF   1H5E00616DN012842   ELF‐1      UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY52328     1983   FRUHF   1H5E00619DN012849   ELF‐1      CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY52333     1983   FRUHF   1H5E00612DN012854   ELF‐1      FL        Fort Myers
 YRCF     DOLLY            DOL‐SA   RDWY52334     1983   FRUHF   1H5E00614DN012855   ELF‐1      TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY52338     1983   FRUHF   1H5E00611DN012859   ELF‐1      IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52341     1983   FRUHF   1H5E00611DN012862   ELF‐1      IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY52346     1983   FRUHF   1H5E00610DN012867   ELF‐1      FL        Boynton Beach
 YRCF     DOLLY            DOL‐SA   RDWY52349     1983   FRUHF   1H5E00610DN012870   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52351     1983   FRUHF   1H5E00614DN012872   ELF‐1      OH        North Lima
 YRCF     DOLLY            DOL‐SA   RDWY52360     1983   FRUHF   1H5E00616DN012906   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY52362     1983   FRUHF   1H5E0061XDN012908   ELF‐1      WI        Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY52364     1983   FRUHF   1H5E00618DN012910   ELF‐1      OH        Richfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 480 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY52365     1983   FRUHF   1H5E0061XDN012911   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52367     1983   FRUHF   1H5E00613DN012913   ELF‐1     CA               Fontana
 YRCF     DOLLY            DOL‐SA   RDWY52369     1983   FRUHF   1H5E00617DN012915   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52381     1983   FRUHF   1H5E00613DN012927   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52389     1983   FRUHF   1H5E00612DN012935   ELF‐1     OR               Roseburg
 YRCF     DOLLY            DOL‐SA   RDWY52394     1983   FRUHF   1H5E00616DN012940   ELF‐1     ID               Pocatello
 YRCF     DOLLY            DOL‐SA   RDWY52410     1983   FRUHF   1H2E07413DE017716   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52415     1983   FRUHF   1H2E07417DE017721   ELF‐1     DE               New Castle
 YRCF     DOLLY            DOL‐SA   RDWY52417     1983   FRUHF   1H2E07410DE017723   ELF‐1     TN               Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY52418     1983   FRUHF   1H2E07412DE017724   ELF‐1     VA               Christiansburg
 YRCF     DOLLY            DOL‐SA   RDWY52420     1983   FRUHF   1H2E07416DE017726   ELF‐1     OH               Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY52425     1983   FRUHF   1H2E0741XDE017731   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52426     1983   FRUHF   1H2E07411DE017732   ELF‐1     OR               Central Point
 YRCF     DOLLY            DOL‐SA   RDWY52439     1983   FRUHF   1H2E0741XDE017745   ELF‐1     IL               Rockford
 YRCF     DOLLY            DOL‐SA   RDWY52442     1983   FRUHF   1H2E07415DE017748   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52450     1983   FRUHF   1H2E07414DE017756   ELF‐1     GA               Macon
 YRCF     DOLLY            DOL‐SA   RDWY52457     1983   FRUHF   1H2E07411DE017763   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY52459     1983   FRUHF   1H2E07415DE017765   ELF‐1     OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY52460     1983   FRUHF   1H2E07417DE017766   ELF‐1     CA               Orange
 YRCF     DOLLY            DOL‐SA   RDWY52464     1983   FRUHF   1H2E07419DE017770   ELF‐1     Ontario          Woodstock
 YRCF     DOLLY            DOL‐SA   RDWY52466     1983   FRUHF   1H2E07412DE017772   ELF‐1     TX               Texarkana
 YRCF     DOLLY            DOL‐SA   RDWY52467     1983   FRUHF   1H2E07414DE017773   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52468     1983   FRUHF   1H2E07416DE017774   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52469     1983   FRUHF   1H2E07418DE017775   ELF‐1     OH               Toledo
 YRCF     DOLLY            DOL‐SA   RDWY52470     1983   FRUHF   1H2E0741XDE017776   ELF‐1     AL               Decatur
 YRCF     DOLLY            DOL‐SA   RDWY52473     1983   FRUHF   1H2E07415DE017779   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY52480     1983   FRUHF   1H2E07412DE017786   ELF‐1     LA               Monroe
 YRCF     DOLLY            DOL‐SA   RDWY52484     1983   FRUHF   1H2E07414DE017790   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY52492     1983   FRUHF   1H2E07419DE017798   ELF‐1     RI               Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY52494     1983   FRUHF   1H2E07413DE017800   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52496     1983   FRUHF   1H2E07417DE017802   ELF‐1     OH               Richfield
 YRCF     DOLLY            DOL‐SA   RDWY52504     1983   FRUHF   1H2E07416DE017810   ELF‐1     MO               Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY52506     1983   FRUHF   1H2E00816DH038902   ELF‐1     CA               San Diego
 YRCF     DOLLY            DOL‐SA   RDWY52507     1983   FRUHF   1H2E00818DH038903   ELF‐1     British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY52511     1983   FRUHF   1H2E00815DH038907   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY52514     1983   FRUHF   1H2E00815DH038910   ELF‐1     IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY52515     1983   FRUHF   1H2E00817DH038911   ELF‐1     WA               Seattle
 YRCF     DOLLY            DOL‐SA   RDWY52516     1983   FRUHF   1H2E00819DH038912   ELF‐1     IL               Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY52517     1983   FRUHF   1H2E00810DH038913   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52520     1983   FRUHF   1H2E00816DH038916   ELF‐1     MT               Butte
 YRCF     DOLLY            DOL‐SA   RDWY52522     1983   FRUHF   1H2E0081XDH038918   ELF‐1     NJ               South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY52524     1983   FRUHF   1H2E00818DH038920   ELF‐1     AZ               Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY52527     1983   FRUHF   1H2E00813DH038923   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52528     1983   FRUHF   1H2E00815DH038924   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY52530     1983   FRUHF   1H2E00819DH038926   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY52532     1983   FRUHF   1H2E00812DH038928   ELF‐1     NM               Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY52535     1983   FRUHF   1H2E00812DH038931   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52536     1983   FRUHF   1H2E00814DH038932   ELF‐1     NY               Williamsville
 YRCF     DOLLY            DOL‐SA   RDWY52537     1983   FRUHF   1H2E00816DH038933   ELF‐1     CA               Tracy
 YRCF     DOLLY            DOL‐SA   RDWY52538     1983   FRUHF   1H2E00818DH038934   ELF‐1     CA               San Diego
 YRCF     DOLLY            DOL‐SA   RDWY52540     1983   FRUHF   1H2E00811DH038936   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY52541     1983   FRUHF   1H2E00813DH038937   ELF‐1     MO               Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY52546     1983   FRUHF   1H2E00817DH038942   ELF‐1     NJ               Kearny
 YRCF     DOLLY            DOL‐SA   RDWY52547     1983   FRUHF   1H2E00819DH038943   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52550     1983   FRUHF   1H2E00814DH038946   ELF‐1     Manitoba         Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY52551     1983   FRUHF   1H2E00816DH038947   ELF‐1     TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY52556     1983   FRUHF   1H2E0081XDH038952   ELF‐1     AZ               Flagstaff
 YRCF     DOLLY            DOL‐SA   RDWY52557     1983   FRUHF   1H2E00811DH038953   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY52560     1983   FRUHF   1H2E00817DH038956   ELF‐1     OH               Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY52563     1983   FRUHF   1H2E00812DH038959   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52564     1983   FRUHF   1H2E00819DH038960   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52566     1983   FRUHF   1H2E00812DH038962   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY52569     1983   FRUHF   1H2E00818DH038965   ELF‐1     NJ               Kearny
 YRCF     DOLLY            DOL‐SA   RDWY52576     1983   FRUHF   1H2E00815DH038972   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY52580     1983   FRUHF   1H2E00812DH038976   ELF‐1     AZ               Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY52583     1983   FRUHF   1H2E00818DH038979   ELF‐1     TX               Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY52588     1983   FRUHF   1H2E00811DH038984   ELF‐1     MI               Romulus
 YRCF     DOLLY            DOL‐SA   RDWY52591     1983   FRUHF   1H2E00817DH038987   ELF‐1     GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY52592     1983   FRUHF   1H2E00819DH038988   ELF‐1     FL               Jacksonville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 481 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     DOLLY            DOL‐SA   RDWY52594     1983   FRUHF   1H2E00817DH038990   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY52595     1983   FRUHF   1H2E00819DH038991   ELF‐1     MN         Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY52596     1983   FRUHF   1H2E00810DH038992   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY52598     1983   FRUHF   1H2E00814DH038994   ELF‐1     IL         Rockford
 YRCF     DOLLY            DOL‐SA   RDWY52599     1983   FRUHF   1H2E00816DH038995   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY52605     1983   FRUHF   1H2E00816DH039001   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY52606     1983   FRUHF   1H2E00818DH039002   ELF‐1     IL         Hodgkins
 YRCF     DOLLY            DOL‐SA   RDWY52610     1983   FRUHF   1H2E00815DH039006   ELF‐1     TA         Nuevo Laredo
 YRCF     DOLLY            DOL‐SA   RDWY52613     1983   FRUHF   1H2E00810DH039009   ELF‐1     MD         Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY52990     1984   HOBBS   1H5E00614EN016101   ELF‐1     CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY52991     1984   HOBBS   1H5E00616EN016102   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY52992     1984   HOBBS   1H5E00618EN016103   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY52993     1984   HOBBS   1H5E0061XEN016104   ELF‐1     TX         Irving
 YRCF     DOLLY            DOL‐SA   RDWY52998     1984   HOBBS   1H5E00619EN016109   ELF‐1     WA         Pasco
 YRCF     DOLLY            DOL‐SA   RDWY52999     1984   HOBBS   1H5E00615EN016110   ELF‐1     MO         Strafford
 YRCF     DOLLY            DOL‐SA   RDWY53001     1984   HOBBS   1H5E00619EN016112   ELF‐1     MS         Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY53003     1984   HOBBS   1H5E00612EN016114   ELF‐1     NY         Brooklyn
 YRCF     DOLLY            DOL‐SA   RDWY53004     1984   HOBBS   1H5E00614EN016115   ELF‐1     Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY53006     1984   HOBBS   1H5E00618EN016117   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53008     1984   HOBBS   1H5E00611EN016119   ELF‐1     MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY53009     1984   HOBBS   1H5E00618EN016120   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53010     1984   HOBBS   1H5E0061XEN016121   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53012     1984   HOBBS   1H5E00613EN016123   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53013     1984   HOBBS   1H5E00615EN016124   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53014     1984   HOBBS   1H5E00617EN016125   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53016     1984   HOBBS   1H5E00610EN016127   ELF‐1     OH         Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY53018     1984   HOBBS   1H5E00614EN016129   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53019     1984   HOBBS   1H5E00610EN016130   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53020     1984   HOBBS   1H5E00612EN016131   ELF‐1     IN         Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY53021     1984   HOBBS   1H5E00614EN016132   ELF‐1     FL         Ocala
 YRCF     DOLLY            DOL‐SA   RDWY53022     1984   HOBBS   1H5E00616EN016133   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY53025     1984   HOBBS   1H5E00611EN016136   ELF‐1     MN         Coon Rapids
 YRCF     DOLLY            DOL‐SA   RDWY53029     1984   HOBBS   1H5E00613EN016140   ELF‐1     NY         Plattsburgh
 YRCF     DOLLY            DOL‐SA   RDWY53030     1984   HOBBS   1H5E00615EN016141   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY53032     1984   HOBBS   1H5E00619EN016143   ELF‐1     TN         Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53033     1984   HOBBS   1H5E00610EN016144   ELF‐1     WA         East Wenatchee
 YRCF     DOLLY            DOL‐SA   RDWY53036     1984   HOBBS   1H5E00616EM016147   ELF‐1     IL         Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY53037     1984   HOBBS   1H5E00618EN016148   ELF‐1     IL         McCook
 YRCF     DOLLY            DOL‐SA   RDWY53039     1984   HOBBS   1H5E00616EN016150   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53042     1984   HOBBS   1H5E00611EN016203   ELF‐1     KY         Waddy
 YRCF     DOLLY            DOL‐SA   RDWY53044     1984   HOBBS   1H5E00615EN016205   ELF‐1     Ontario    Whitby
 YRCF     DOLLY            DOL‐SA   RDWY53046     1984   HOBBS   1H5E00619EN016207   ELF‐1     NJ         Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY53047     1984   HOBBS   1H5E00610EN016208   ELF‐1     IN         South Bend
 YRCF     DOLLY            DOL‐SA   RDWY53048     1984   HOBBS   1H5E00612EN016209   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53049     1984   HOBBS   1H5E00619EN016210   ELF‐1     TN         Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53050     1984   HOBBS   1H5E00610EN016211   ELF‐1     OK         Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY53051     1984   HOBBS   1H5E00612EN016212   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53052     1984   HOBBS   1H5E00614EN016213   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53053     1984   HOBBS   1H5E00616EN016214   ELF‐1     TN         Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY53054     1984   HOBBS   1H5E00618EN016215   ELF‐1     TN         Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53055     1984   HOBBS   1H5E0061XEN016216   ELF‐1     NJ         Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY53056     1984   HOBBS   1H5E00611EN016217   ELF‐1     Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY53057     1984   HOBBS   1H5E00613EN016218   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53059     1984   HOBBS   1H5E00611EN016220   ELF‐1     CA         Sun Valley
 YRCF     DOLLY            DOL‐SA   RDWY53060     1984   HOBBS   1H5E00613EN016221   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53062     1984   HOBBS   1H5E00617EN016223   ELF‐1     AR         Springdale
 YRCF     DOLLY            DOL‐SA   RDWY53064     1984   HOBBS   1H5E00610EN016225   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53065     1984   HOBBS   1H5E00612EN016226   ELF‐1     FL         Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY53066     1984   HOBBS   1H5E00614EN016227   ELF‐1     MN         Duluth
 YRCF     DOLLY            DOL‐SA   RDWY53067     1984   HOBBS   1H5E00616EN016228   ELF‐1     MT         Missoula
 YRCF     DOLLY            DOL‐SA   RDWY53068     1984   HOBBS   1H5E00618EN016229   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53072     1984   HOBBS   1H5E0061XEN016233   ELF‐1     OH         Gallipolis
 YRCF     DOLLY            DOL‐SA   RDWY53075     1984   HOBBS   1H5E00615EN016236   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53077     1984   HOBBS   1H5E00619EN016238   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY53082     1984   HOBBS   1H5E00612EN016243   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY53084     1984   HOBBS   1H5E00616EN016245   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53085     1984   HOBBS   1H5E00618EN016246   ELF‐1     ID         Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY53086     1984   HOBBS   1H5E0061XEN016247   ELF‐1     CA         West Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY53087     1984   HOBBS   1H5E00611EN016248   ELF‐1     WA         Spokane
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 482 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY53088     1984   HOBBS   1H5E00613EN016249   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY53090     1984   HOBBS   1H5E00618EN017901   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY53091     1984   HOBBS   1H5E0061XEN017902   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY53092     1984   HOBBS   1H5E00611EN017903   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY53093     1984   HOBBS   1H5E00613EN017904   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53094     1984   HOBBS   1H5E00615EN017905   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53096     1984   HOBBS   1H5E00619EN017907   ELF‐1     ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY53100     1984   HOBBS   1H5E00610EN017911   ELF‐1     ME      Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY53107     1984   HOBBS   1H5E00613EN017918   ELF‐1     MD      Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY53110     1984   HOBBS   1H5E00613EN017921   ELF‐1     MO      Strafford
 YRCF     DOLLY            DOL‐SA   RDWY53111     1984   HOBBS   1H5E00615EN017922   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY53112     1984   HOBBS   1H5E00617EN017923   ELF‐1     ID      Meridian
 YRCF     DOLLY            DOL‐SA   RDWY53113     1984   HOBBS   1H5E00619EN017924   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53114     1984   HOBBS   1H5E00610EN017925   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY53115     1984   HOBBS   1H5E00612EN017926   ELF‐1     FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY53116     1984   HOBBS   1H5E00614EN017927   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53118     1984   HOBBS   1H5E00618EN017929   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY53119     1984   HOBBS   1H5E00614EN017930   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY53121     1984   HOBBS   1H5E00618EN017932   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53123     1984   HOBBS   1H5E00611EN017934   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53126     1984   HOBBS   1H5E00617EN017937   ELF‐1     TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY53131     1984   HOBBS   1H5E00610EN017942   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53132     1984   HOBBS   1H5E00612EN017943   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53137     1984   HOBBS   1H5E00611EN017948   ELF‐1     GA      Ringgold
 YRCF     DOLLY            DOL‐SA   RDWY53138     1984   HOBBS   1H5E00613EN017949   ELF‐1     ND      Fargo
 YRCF     DOLLY            DOL‐SA   RDWY53139     1984   HOBBS   1H5E0061XEN017950   ELF‐1     FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY53141     1984   HOBBS   1H5E00611EN018002   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY53142     1984   HOBBS   1H5E00613EN018003   ELF‐1     WV      Bridgeport
 YRCF     DOLLY            DOL‐SA   RDWY53148     1984   HOBBS   1H5E00614EN018009   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53149     1984   HOBBS   1H5E00610EN018010   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53153     1984   HOBBS   1H5E00618EN018014   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53154     1984   HOBBS   1H5E0061XEN018015   ELF‐1     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY53156     1984   HOBBS   1H5E00613EN018017   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53157     1984   HOBBS   1H5E00615EN018018   ELF‐1     SD      Rapid City
 YRCF     DOLLY            DOL‐SA   RDWY53158     1984   HOBBS   1H5E00617EN018019   ELF‐1     CA      Eureka
 YRCF     DOLLY            DOL‐SA   RDWY53159     1984   HOBBS   1H5E00613EN018020   ELF‐1     CA      Sun Valley
 YRCF     DOLLY            DOL‐SA   RDWY53160     1984   HOBBS   1H5E00615EN018021   ELF‐1     TX      Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY53161     1984   HOBBS   1H5E00617EN018022   ELF‐1     CA      Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY53162     1984   HOBBS   1H5E00619EN018023   ELF‐1     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY53163     1984   HOBBS   1H5E00610EN018024   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY53167     1984   HOBBS   1H5E00618EN018028   ELF‐1     NJ      Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY53168     1984   HOBBS   1H5E0061XEN018029   ELF‐1     MO      Strafford
 YRCF     DOLLY            DOL‐SA   RDWY53169     1984   HOBBS   1H5E00616EN018030   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53171     1984   HOBBS   1H5E0061XEN018032   ELF‐1     ID      Meridian
 YRCF     DOLLY            DOL‐SA   RDWY53172     1984   HOBBS   1H5E00611EN018033   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY53173     1984   HOBBS   1H5E00613EN018034   ELF‐1     ME      Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY53174     1984   HOBBS   1H5E00615EN018035   ELF‐1     KY      Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY53176     1984   HOBBS   1H5E00619EN018037   ELF‐1     WA      Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY53178     1984   HOBBS   1H5E00612EN018039   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53179     1984   HOBBS   1H5E00619EN018040   ELF‐1     FL      Orlando
 YRCF     DOLLY            DOL‐SA   RDWY53186     1984   HOBBS   1H5E00611EN018047   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY53188     1984   HOBBS   1H5E00615EN018049   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53189     1984   HOBBS   1H5E00611EN018050   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53191     1984   HOBBS   1H5E00615EN018102   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53192     1984   HOBBS   1H5E00617EN018103   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY53197     1984   HOBBS   1H5E00616EN018108   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY53198     1984   HOBBS   1H5E00618EN018109   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY53201     1984   HOBBS   1H5E00618EN018112   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY53203     1984   HOBBS   1H5E00611EN018114   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY53206     1984   HOBBS   1H5E00617EN018117   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53207     1984   HOBBS   1H5E00619EN018118   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53210     1984   HOBBS   1H5E00619EN018121   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53211     1984   HOBBS   1H5E00610EN018122   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53212     1984   HOBBS   1H5E00612EN018123   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53213     1984   HOBBS   1H5E00614EN018124   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY53214     1984   HOBBS   1H5E00616EN018125   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53217     1984   HOBBS   1H5E00611EN018128   ELF‐1     TX      Sherman
 YRCF     DOLLY            DOL‐SA   RDWY53219     1984   HOBBS   1H5E0061XEN018130   ELF‐1     TN      Jackson
 YRCF     DOLLY            DOL‐SA   RDWY53220     1984   HOBBS   1H5E00611EN018131   ELF‐1     WA      Tacoma
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 483 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY53221     1984   HOBBS   1H5E00613EN018132   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53222     1984   HOBBS   1H5E00615EN018133   ELF‐1     LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY53223     1984   HOBBS   1H5E00617EN018134   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY53224     1984   HOBBS   1H5E00619EN011835   ELF‐1     WA      Everett
 YRCF     DOLLY            DOL‐SA   RDWY53225     1984   HOBBS   1H5E00610EN018136   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53226     1984   HOBBS   1H5E00612EN018137   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53229     1984   HOBBS   1H5E00612EN018140   ELF‐1     IL      Rockford
 YRCF     DOLLY            DOL‐SA   RDWY53231     1984   HOBBS   1H5E00616EN018142   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY53232     1984   HOBBS   1H5E00618EN018143   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY53235     1984   HOBBS   1H5E00613EN018146   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY53240     1984   HOBBS   1H5E00617EN018201   ELF‐1     MS      Tupelo
 YRCF     DOLLY            DOL‐SA   RDWY53241     1984   HOBBS   1H5E00619EN018202   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53242     1984   HOBBS   1H5E00610EN018203   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY53243     1984   HOBBS   1H5E00612EN018204   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY53245     1984   HOBBS   1H5E00616EN018206   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY53250     1984   HOBBS   1H5E0061XEN018211   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53253     1984   HOBBS   1H5E00615EN018214   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY53257     1984   HOBBS   1H5E00612EN018218   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53258     1984   HOBBS   1H5E00614EN018219   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53259     1984   HOBBS   1H5E00610EN018220   ELF‐1     GA      Macon
 YRCF     DOLLY            DOL‐SA   RDWY53261     1984   HOBBS   1H5E00614EN018222   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53264     1984   HOBBS   1H5E0061XEN018225   ELF‐1     MT      Great Falls
 YRCF     DOLLY            DOL‐SA   RDWY53265     1984   HOBBS   1H5E00611EN018226   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY53266     1984   HOBBS   1H5E00613EN018227   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53269     1984   HOBBS   1H5E00613EN018230   ELF‐1     TX      El Paso
 YRCF     DOLLY            DOL‐SA   RDWY53272     1984   HOBBS   1H5E00619EN018233   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53275     1984   HOBBS   1H5E00614EN018236   ELF‐1     CA      Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY53277     1984   HOBBS   1H5E00618EN018238   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53278     1984   HOBBS   1H5E0061XEN018239   ELF‐1     IN      Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY53280     1984   HOBBS   1H5E00618EN018241   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY53284     1984   HOBBS   1H5E00615EN018245   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53286     1984   HOBBS   1H5E00619EN018247   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53288     1984   HOBBS   1H5E00612EN018249   ELF‐1     WA      Everett
 YRCF     DOLLY            DOL‐SA   RDWY53289     1984   HOBBS   1H5E00619EN018250   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53290     1984   HOBBS   1H5E00610EN018301   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY53291     1984   HOBBS   1H5E00612EN018302   ELF‐1     WA      Spokane
 YRCF     DOLLY            DOL‐SA   RDWY53294     1984   HOBBS   1H5E00618EN018305   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53297     1984   HOBBS   1H5E00613EN018308   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53298     1984   HOBBS   1H5E00615EN018309   ELF‐1     OH      North Lima
 YRCF     DOLLY            DOL‐SA   RDWY53299     1984   HOBBS   1H5E00611EN018310   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY53302     1984   HOBBS   1H5E00617EN018313   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY53303     1984   HOBBS   1H5E00619EN018314   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53306     1984   HOBBS   1H5E00614EN018317   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY53311     1984   HOBBS   1H5E00618EN018322   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53313     1984   HOBBS   1H5E00611EN018324   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53316     1984   HOBBS   1H5E00617EN018327   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY53318     1984   HOBBS   1H5E00610EN018329   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY53319     1984   HOBBS   1H5E00617EN018330   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY53320     1984   HOBBS   1H5E00619EN018331   ELF‐1     AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY53321     1984   HOBBS   1H5E00610EN018332   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53326     1984   HOBBS   1H5E0061XEN018337   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53327     1984   HOBBS   1H5E00611EN018338   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY53330     1984   HOBBS   1H5E00611EN018341   ELF‐1     MT      Billings
 YRCF     DOLLY            DOL‐SA   RDWY53331     1984   HOBBS   1H5E00613EN018342   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53333     1984   HOBBS   1H5E00617EN018344   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53334     1984   HOBBS   1H5E00619EN018345   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY53336     1984   HOBBS   1H5E00612EN018347   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53337     1984   HOBBS   1H5E00614EN018348   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY53340     1984   HOBBS   1H5E00614EN018401   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53342     1984   HOBBS   1H5E00618EN018403   ELF‐1     RI      Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY53343     1984   HOBBS   1H5E0061XEN018404   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY53344     1984   HOBBS   1H5E00611EN018405   ELF‐1     CA      San Bernardino
 YRCF     DOLLY            DOL‐SA   RDWY53345     1984   HOBBS   1H5E00613EN018406   ELF‐1     IL      Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY53346     1984   HOBBS   1H5E00615EN018407   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53350     1984   HOBBS   1H5E00617EN018411   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53351     1984   HOBBS   1H5E00619EN018412   ELF‐1     KY      Paducah
 YRCF     DOLLY            DOL‐SA   RDWY53353     1984   HOBBS   1H5E00612EN018414   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53360     1984   HOBBS   1H5E0061XEN018421   ELF‐1     TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY53363     1984   HOBBS   1H5E00615EN018424   ELF‐1     NC      Charlotte
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 484 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     DOLLY            DOL‐SA   RDWY53366     1984   HOBBS   1H5E00610EN018427   ELF‐1     IL         McCook
 YRCF     DOLLY            DOL‐SA   RDWY53369     1984   HOBBS   1H5E00610EN018430   ELF‐1     IL         Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY53370     1984   HOBBS   1H5E00612EN018431   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53372     1984   HOBBS   1H5E00616EN018433   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53373     1984   HOBBS   1H5E00618EN018434   ELF‐1     NM         Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY53374     1984   HOBBS   1H5E0061XEN018435   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53376     1984   HOBBS   1H5E00613EN018437   ELF‐1     MD         Landover
 YRCF     DOLLY            DOL‐SA   RDWY53379     1984   HOBBS   1H5E00613EN018440   ELF‐1     Alberta    Calgary
 YRCF     DOLLY            DOL‐SA   RDWY53382     1984   HOBBS   1H5E00619EN018443   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53388     1984   HOBBS   1H5E0061XEN018449   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY53389     1984   HOBBS   1H5E00616EN018450   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53390     1984   HOBBS   1H5E00611EN021501   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53392     1984   HOBBS   1H5E00615EN021503   ELF‐1     OH         Dayton
 YRCF     DOLLY            DOL‐SA   RDWY53394     1984   HOBBS   1H5E00619EN021505   ELF‐1     CA         Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY53395     1984   HOBBS   1H5E00610EN021506   ELF‐1     WI         Madison
 YRCF     DOLLY            DOL‐SA   RDWY53397     1984   HOBBS   1H5E00614EN021508   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53400     1984   HOBBS   1H5E00614EN021511   ELF‐1     Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY53401     1984   HOBBS   1H5E00616EN021512   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY53402     1984   HOBBS   1H5E00618EN021513   ELF‐1     IN         Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY53403     1984   HOBBS   1H5E0061XEN021514   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY53404     1984   HOBBS   1H5E00611EN021515   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53405     1984   HOBBS   1H5E00613EN021516   ELF‐1     MO         Columbia
 YRCF     DOLLY            DOL‐SA   RDWY53407     1984   HOBBS   1H5E00617EN021518   ELF‐1     FL         Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY53409     1984   HOBBS   1H5E00615EN021520   ELF‐1     RI         Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY53410     1984   HOBBS   1H5E00617EN021521   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY53413     1984   HOBBS   1H5E00612EN021524   ELF‐1     TX         Laredo
 YRCF     DOLLY            DOL‐SA   RDWY53414     1984   HOBBS   1H5E00614EN021525   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53416     1984   HOBBS   1H5E00618EN021527   ELF‐1     OR         Central Point
 YRCF     DOLLY            DOL‐SA   RDWY53417     1984   HOBBS   1H5E0061XEN021528   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53420     1984   HOBBS   1H5E0061XEN021531   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53425     1984   HOBBS   1H5E00619EN021536   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53426     1984   HOBBS   1H5E00610EN021537   ELF‐1     MS         Tupelo
 YRCF     DOLLY            DOL‐SA   RDWY53430     1984   HOBBS   1H5E00612EN021541   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53431     1984   HOBBS   1H5E00614EN021542   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY53432     1984   HOBBS   1H5E00616EN021543   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53433     1984   HOBBS   1H5E00618EN021544   ELF‐1     MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY53434     1984   HOBBS   1H5E0061XEN021545   ELF‐1     CO         Henderson
 YRCF     DOLLY            DOL‐SA   RDWY53435     1984   HOBBS   1H5E00611EN021546   ELF‐1     MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY53436     1984   HOBBS   1H5E00613EN021547   ELF‐1     OH         Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY53440     1984   HOBBS   1H5E00615EN021601   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53441     1984   HOBBS   1H5E00617EN021602   ELF‐1     TX         San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY53442     1984   HOBBS   1H5E00619EN021603   ELF‐1     OH         Copley
 YRCF     DOLLY            DOL‐SA   RDWY53444     1984   HOBBS   1H5E00612EN021605   ELF‐1     FL         Miami
 YRCF     DOLLY            DOL‐SA   RDWY53446     1984   HOBBS   1H5E00616EN021607   ELF‐1     CO         Colorado Springs
 YRCF     DOLLY            DOL‐SA   RDWY53448     1984   HOBBS   1H5E0061XEN021609   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53451     1984   HOBBS   1H5E0061XEN021612   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53456     1984   HOBBS   1H5E00619EN021617   ELF‐1     CA         San Diego
 YRCF     DOLLY            DOL‐SA   RDWY53458     1984   HOBBS   1H5E00612EN021619   ELF‐1     SC         West Columbia
 YRCF     DOLLY            DOL‐SA   RDWY53460     1984   HOBBS   1H5E00610EN021621   ELF‐1     CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY53461     1984   HOBBS   1H5E00612EN021622   ELF‐1     WI         Neenah
 YRCF     DOLLY            DOL‐SA   RDWY53464     1984   HOBBS   1H5E00618EN021625   ELF‐1     MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY53465     1984   HOBBS   1H5E0061XEN021626   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53466     1984   HOBBS   1H5E00611EN021627   ELF‐1     OK         Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY53469     1984   HOBBS   1H5E00611EN021630   ELF‐1     TX         Sherman
 YRCF     DOLLY            DOL‐SA   RDWY53470     1984   HOBBS   1H5E00613EH021631   ELF‐1     OK         Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY53473     1984   HOBBS   1H5E00619EN021634   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY53475     1984   HOBBS   1H5E00612EN021636   ELF‐1     DE         Seaford
 YRCF     DOLLY            DOL‐SA   RDWY53476     1984   HOBBS   1H5E00614EN021637   ELF‐1     LA         Monroe
 YRCF     DOLLY            DOL‐SA   RDWY53478     1984   HOBBS   1H5E00618EN021639   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53479     1984   HOBBS   1H5E00614EN021640   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53480     1984   HOBBS   1H5E00616EN021641   ELF‐1     MT         Missoula
 YRCF     DOLLY            DOL‐SA   RDWY53481     1984   HOBBS   1H5E00618EN021642   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY53482     1984   HOBBS   1H5E0061XEN021643   ELF‐1     IN         South Bend
 YRCF     DOLLY            DOL‐SA   RDWY53483     1984   HOBBS   1H5E00611EN021644   ELF‐1     MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY53485     1984   HOBBS   1H5E00615EN021646   ELF‐1     OH         Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY53487     1984   HOBBS   1H5E00619EN021648   ELF‐1     DE         New Castle
 YRCF     DOLLY            DOL‐SA   RDWY53490     1984   HOBBS   1H2E0061XEH074001   ELF‐1     MD         Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY53491     1984   HOBBS   1H2E00611EH074002   ELF‐1     CA         Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY53495     1984   HOBBS   1H2E00619EH074006   ELF‐1     LA         New Orleans
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 485 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY53497     1984   HOBBS   1H2E00612EH074008   ELF‐1     AR      Springdale
 YRCF     DOLLY            DOL‐SA   RDWY53501     1984   HOBBS   1H2E00614EH074012   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY53502     1984   HOBBS   1H2E00616EH074013   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53507     1984   HOBBS   1H2E00615EH074018   ELF‐1     OH      Lima
 YRCF     DOLLY            DOL‐SA   RDWY53511     1984   HOBBS   1H2E00617EH074022   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY53512     1984   HOBBS   1H2E00619EH074023   ELF‐1     MD      Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY53513     1984   HOBBS   1H2E00610EH074024   ELF‐1     IL      Morton
 YRCF     DOLLY            DOL‐SA   RDWY53514     1984   HOBBS   1H2E00612EH074025   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53516     1984   HOBBS   1H2E00616EH074027   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53517     1984   HOBBS   1H2E00618EH074028   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY53518     1984   HOBBS   1H2E0061XEH074029   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53519     1984   HOBBS   1H2E00616EH074030   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY53520     1984   HOBBS   1H2E00618EH074031   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY53523     1984   HOBBS   1H2E00613EH074034   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53528     1984   HOBBS   1H2E00612EH074039   ELF‐1     CA      Downey
 YRCF     DOLLY            DOL‐SA   RDWY53529     1984   HOBBS   1H2E00619EH074040   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53530     1984   HOBBS   1H2E00610EH074041   ELF‐1     CA      Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY53531     1984   HOBBS   1H2E00612EH074042   ELF‐1     NY      Mount Vernon
 YRCF     DOLLY            DOL‐SA   RDWY53532     1984   HOBBS   1H2E00614EH074043   ELF‐1     MD      Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY53534     1984   HOBBS   1H2E00618EH074045   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY53535     1984   HOBBS   1H2E0061XEH074046   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53536     1984   HOBBS   1H2E00611EH074047   ELF‐1     LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY53541     1984   HOBBS   1H2E00615EH074052   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53542     1984   HOBBS   1H2E00617EH074053   ELF‐1     TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY53543     1984   HOBBS   1H2E00619EH074054   ELF‐1     IA      Mason City
 YRCF     DOLLY            DOL‐SA   RDWY53544     1984   HOBBS   1H2E00610EH074055   ELF‐1     OK      Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY53548     1984   HOBBS   1H2E00618EH074059   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53549     1984   HOBBS   1H2E00614EH074060   ELF‐1     MI      Wayland
 YRCF     DOLLY            DOL‐SA   RDWY53550     1984   HOBBS   1H2E00616EH074061   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53551     1984   HOBBS   1H2E00618EH074062   ELF‐1     AL      Decatur
 YRCF     DOLLY            DOL‐SA   RDWY53555     1984   HOBBS   1H2E00615EH074066   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53557     1984   HOBBS   1H2E00619EH074068   ELF‐1     CA      Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY53558     1984   HOBBS   1H2E00610EH074069   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53559     1984   HOBBS   1H2E00617EH074070   ELF‐1     TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY53560     1984   HOBBS   1H2E00619EH074071   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY53561     1984   HOBBS   1H2E00610EH074072   ELF‐1     LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY53563     1984   HOBBS   1H2E00614EH074074   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53564     1984   HOBBS   1H2E00616EH074075   ELF‐1     ND      Bismarck
 YRCF     DOLLY            DOL‐SA   RDWY53568     1984   HOBBS   1H2E00613EH074079   ELF‐1     NM      Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY53569     1984   HOBBS   1H2E0061XEH074080   ELF‐1     MI      Jackson
 YRCF     DOLLY            DOL‐SA   RDWY53570     1984   HOBBS   1H2E00611EH074081   ELF‐1     TX      Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY53571     1984   HOBBS   1H2E00613EH074082   ELF‐1     NY      Glenmont
 YRCF     DOLLY            DOL‐SA   RDWY53573     1984   HOBBS   1H2E00617EH074084   ELF‐1     CO      Clifton
 YRCF     DOLLY            DOL‐SA   RDWY53574     1984   HOBBS   1H2E00619EH074085   ELF‐1     SD      Rapid City
 YRCF     DOLLY            DOL‐SA   RDWY53575     1984   HOBBS   1H2E00610EH074086   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53576     1984   HOBBS   1H2E00612EH074087   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53579     1984   HOBBS   1H2E00612EH074090   ELF‐1     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY53580     1984   HOBBS   1H2E00613EH074101   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53581     1984   HOBBS   1H2E00615EH074102   ELF‐1     MN      Saint Cloud
 YRCF     DOLLY            DOL‐SA   RDWY53582     1984   HOBBS   1H2E00617EH074103   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53583     1984   HOBBS   1H2E00619EH074104   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53587     1984   HOBBS   1H2E00616EH074108   ELF‐1     MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY53589     1984   HOBBS   1H2E00614EH074110   ELF‐1     SC      West Columbia
 YRCF     DOLLY            DOL‐SA   RDWY53591     1984   HOBBS   1H2E00618EH074112   ELF‐1     WI      Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY53592     1984   HOBBS   1H2E0061XEH074113   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53595     1984   HOBBS   1H2E00615EH074116   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53597     1984   HOBBS   1H2E00619EH074118   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53598     1984   HOBBS   1H2E00610EH074119   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY53599     1984   HOBBS   1H2E00617EH074120   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53600     1984   HOBBS   1H2E00619EH074121   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53602     1984   HOBBS   1H2E00612EH074123   ELF‐1     PA      Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY53605     1984   HOBBS   1H2E00618EH074126   ELF‐1     AL      Decatur
 YRCF     DOLLY            DOL‐SA   RDWY53609     1984   HOBBS   1H2E0061XEH074130   ELF‐1     PQ      Sherbrooke
 YRCF     DOLLY            DOL‐SA   RDWY53610     1984   HOBBS   1H2E00611EH074131   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY53612     1984   HOBBS   1H2E00615EH074133   ELF‐1     MI      Birch Run
 YRCF     DOLLY            DOL‐SA   RDWY53613     1984   HOBBS   1H2E00617EH074134   ELF‐1     TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY53614     1984   HOBBS   1H2E00619EH074135   ELF‐1     GA      Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY53616     1984   HOBBS   1H2E00612EH074137   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53620     1984   HOBBS   1H2E00614EH074141   ELF‐1     TN      Knoxville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 486 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY53625     1984   HOBBS   1H2E00613EH074146   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53627     1984   HOBBS   1H2E00617EH074148   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53629     1984   HOBBS   1H2E00615EH074150   ELF‐1     VA      Manassas
 YRCF     DOLLY            DOL‐SA   RDWY53630     1984   HOBBS   1H2E00617EH074151   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY53637     1984   HOBBS   1H2E0061XEH074158   ELF‐1     CA      Fresno
 YRCF     DOLLY            DOL‐SA   RDWY53638     1984   HOBBS   1H2E00611EH074159   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY53639     1984   HOBBS   1H2E00618EH074160   ELF‐1     TX      Sherman
 YRCF     DOLLY            DOL‐SA   RDWY53640     1984   HOBBS   1H2E0061XEH074161   ELF‐1     FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY53641     1984   HOBBS   1H2E00611EH074162   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY53644     1984   HOBBS   1H2E00617EH074165   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY53645     1984   HOBBS   1H2E00619EH074166   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53646     1984   HOBBS   1H2E00610EH074167   ELF‐1     CA      Santa Clara
 YRCF     DOLLY            DOL‐SA   RDWY53650     1984   HOBBS   1H2E00612EH074171   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY53652     1984   HOBBS   1H2E00616EH074173   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53655     1984   HOBBS   1H2E00611EH074176   ELF‐1     TX      Laredo
 YRCF     DOLLY            DOL‐SA   RDWY53659     1984   HOBBS   1H2E00613EH074180   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53660     1984   HOBBS   1H2E00615EH074181   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53662     1984   HOBBS   1H2E00619EH074183   ELF‐1     ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY53663     1984   HOBBS   1H2E00610EH074184   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY53664     1984   HOBBS   1H2E00612EH074185   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY53665     1984   HOBBS   1H2E00614EH074186   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53666     1984   HOBBS   1H2E00616EH074187   ELF‐1     WI      Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY53668     1984   HOBBS   1H2E0061XEH074189   ELF‐1     CA      Downey
 YRCF     DOLLY            DOL‐SA   RDWY53671     1984   HOBBS   1H2E00619EH074202   ELF‐1     VA      Richmond
 YRCF     DOLLY            DOL‐SA   RDWY53674     1984   HOBBS   1H2E00614EH074205   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53676     1984   HOBBS   1H2E00618EH074207   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53678     1984   HOBBS   1H2E00611EH074209   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53680     1984   HOBBS   1H2E0061XEH074211   ELF‐1     NV      Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY53682     1984   HOBBS   1H2E00613EH074213   ELF‐1     PA      Reading
 YRCF     DOLLY            DOL‐SA   RDWY53683     1984   HOBBS   1H2E00615EE074214   ELF‐1     WA      Union Gap
 YRCF     DOLLY            DOL‐SA   RDWY53684     1984   HOBBS   1H2E00617EH074215   ELF‐1     OH      Toledo
 YRCF     DOLLY            DOL‐SA   RDWY53686     1984   HOBBS   1H2E00610EH074217   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53688     1984   HOBBS   1H2E00614EH074219   ELF‐1     TX      Sherman
 YRCF     DOLLY            DOL‐SA   RDWY53689     1984   HOBBS   1H2E00610EH074220   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53690     1984   HOBBS   1H2E00612EH074221   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY53691     1984   HOBBS   1H2E00614EH074222   ELF‐1     TX      El Paso
 YRCF     DOLLY            DOL‐SA   RDWY53693     1984   HOBBS   1H2E00618EH074224   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY53694     1984   HOBBS   1H2E0061XEH074225   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY53695     1984   HOBBS   1H2E00611EH074226   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY53696     1984   HOBBS   1H2E00613EH074227   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53700     1984   HOBBS   1H2E00615EH074231   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY53701     1984   HOBBS   1H2E00617EH074232   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY53702     1984   HOBBS   1H2E00619EH074233   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53706     1984   HOBBS   1H2E00616EH074237   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53708     1984   HOBBS   1H2E0061XEH074239   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY53709     1984   HOBBS   1H2E00616EH074240   ELF‐1     WI      Tomah
 YRCF     DOLLY            DOL‐SA   RDWY53711     1984   HOBBS   1H2E0061XEH074242   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53712     1984   HOBBS   1H2E00611EH074243   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53716     1984   HOBBS   1H2E00619EH074247   ELF‐1     ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY53719     1984   HOBBS   1H2E00619EH074250   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY53720     1984   HOBBS   1H2E00610EH074251   ELF‐1     UT      Beaver
 YRCF     DOLLY            DOL‐SA   RDWY53723     1984   HOBBS   1H2E00616EH074254   ELF‐1     TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY53724     1984   HOBBS   1H2E00618EH074255   ELF‐1     WI      Neenah
 YRCF     DOLLY            DOL‐SA   RDWY53725     1984   HOBBS   1H2E0061XEH074256   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53727     1984   HOBBS   1H2E00613EH074258   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53728     1984   HOBBS   1H2E00615EH074259   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53730     1984   HOBBS   1H2E00613EH074261   ELF‐1     MI      Birch Run
 YRCF     DOLLY            DOL‐SA   RDWY53732     1984   HOBBS   1H2E00617EH074263   ELF‐1     FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY53736     1984   HOBBS   1H2E00614EH074267   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53739     1984   HOBBS   1H2E00614EH074270   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53744     1984   HOBBS   1H2E00618EH074305   ELF‐1     KY      Waddy
 YRCF     DOLLY            DOL‐SA   RDWY53745     1984   HOBBS   1H2E0061XEH074306   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53748     1984   HOBBS   1H2E00615EH074309   ELF‐1     OH      Gallipolis
 YRCF     DOLLY            DOL‐SA   RDWY53749     1984   HOBBS   1H2E00611EH074310   ELF‐1     CA      Bakersfield
 YRCF     DOLLY            DOL‐SA   RDWY53750     1984   HOBBS   1H2E00613EH074311   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY53751     1984   HOBBS   1H2E00615EH074312   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY53754     1984   HOBBS   1H2E00610EH074315   ELF‐1     SD      Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY53756     1984   HOBBS   1H2E00614EH074317   ELF‐1     IL      McCook
 YRCF     DOLLY            DOL‐SA   RDWY53761     1984   HOBBS   1H2E00618EH074322   ELF‐1     OH      Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 487 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY53766     1984   HOBBS   1H2E00617EH074327   ELF‐1     MO               Strafford
 YRCF     DOLLY            DOL‐SA   RDWY53769     1984   HOBBS   1H2E00617EH074330   ELF‐1     MI               Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY53770     1984   HOBBS   1H2E00619EH074331   ELF‐1     AZ               Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY53772     1984   HOBBS   1H2E00612EH074333   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53777     1984   HOBBS   1H2E00611EH074338   ELF‐1     WA               Seattle
 YRCF     DOLLY            DOL‐SA   RDWY53780     1984   HOBBS   1H2E00611EH074341   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53787     1984   HOBBS   1H2E00614EH074348   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY53789     1984   HOBBS   1H2E00612EH074350   ELF‐1     FL               Boynton Beach
 YRCF     DOLLY            DOL‐SA   RDWY53791     1984   HOBBS   1H2E00613EH078102   ELF‐1     CA               Independence
 YRCF     DOLLY            DOL‐SA   RDWY53792     1984   HOBBS   1H2E00615EH078103   ELF‐1     OH               Lima
 YRCF     DOLLY            DOL‐SA   RDWY53795     1984   HOBBS   1H2E00610EH078106   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53796     1984   HOBBS   1H2E00612EH078107   ELF‐1     WA               Seattle
 YRCF     DOLLY            DOL‐SA   RDWY53799     1984   HOBBS   1H2E00612EH078110   ELF‐1     WA               Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY53803     1984   HOBBS   1H2E0061XEH078114   ELF‐1     MI               Taylor
 YRCF     DOLLY            DOL‐SA   RDWY53806     1984   HOBBS   1H2E00615EH078117   ELF‐1     WV               Beckley
 YRCF     DOLLY            DOL‐SA   RDWY53811     1984   HOBBS   1H2E00619EH078122   ELF‐1     Alberta          Calgary
 YRCF     DOLLY            DOL‐SA   RDWY53814     1984   HOBBS   1H2E00614EH078125   ELF‐1     CO               Aurora
 YRCF     DOLLY            DOL‐SA   RDWY53815     1984   HOBBS   1H2E00616EH078126   ELF‐1     NV               Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY53817     1984   HOBBS   1H2E0061XEH078128   ELF‐1     CO               Aurora
 YRCF     DOLLY            DOL‐SA   RDWY53819     1984   HOBBS   1H2E00618EH078130   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53820     1984   HOBBS   1H2E0061XEH078131   ELF‐1     OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY53822     1984   HOBBS   1H2E00613EH078133   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY53825     1984   HOBBS   1H2E00619EH078136   ELF‐1     TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY53826     1984   HOBBS   1H2E00610EH078137   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY53828     1984   HOBBS   1H2E00614EH078139   ELF‐1     FL               Ocala
 YRCF     DOLLY            DOL‐SA   RDWY53830     1984   HOBBS   1H2E00612EH078141   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53832     1984   HOBBS   1H2E00616EH078143   ELF‐1     CO               Henderson
 YRCF     DOLLY            DOL‐SA   RDWY53833     1984   HOBBS   1H2E00618EH078144   ELF‐1     IL               Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY53834     1984   HOBBS   1H2E0061XEH078145   ELF‐1     MI               Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY53838     1984   HOBBS   1H2E00617EH078149   ELF‐1     Ontario          Mississauga
 YRCF     DOLLY            DOL‐SA   RDWY53839     1984   HOBBS   1H2E00613EH078150   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53841     1984   HOBBS   1H2E00617EH078202   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53845     1984   HOBBS   1H2E00614EH078206   ELF‐1     MI               Taylor
 YRCF     DOLLY            DOL‐SA   RDWY53846     1984   HOBBS   1H2E00616EH078207   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53847     1984   HOBBS   1H2E00618EH078208   ELF‐1     MT               Butte
 YRCF     DOLLY            DOL‐SA   RDWY53852     1984   HOBBS   1H2E00611EH078213   ELF‐1     IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY53854     1984   HOBBS   1H2E00615EH078215   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53856     1984   HOBBS   1H2E00619EH078217   ELF‐1     GA               Macon
 YRCF     DOLLY            DOL‐SA   RDWY53859     1984   HOBBS   1H2E00619EH078220   ELF‐1     WA               Everett
 YRCF     DOLLY            DOL‐SA   RDWY53861     1984   HOBBS   1H2E00612EH078222   ELF‐1     British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY53862     1984   HOBBS   1H2E00614EH078223   ELF‐1     CO               Aurora
 YRCF     DOLLY            DOL‐SA   RDWY53863     1984   HOBBS   1H2E00616EH078224   ELF‐1     MD               Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY53869     1984   HOBBS   1H2E00611EH078230   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53872     1984   HOBBS   1H2E00617EH078233   ELF‐1     MD               Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY53875     1984   HOBBS   1H2E00612EH078236   ELF‐1     IL               McCook
 YRCF     DOLLY            DOL‐SA   RDWY53879     1984   HOBBS   1H2E00614EH078240   ELF‐1     TN               Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY53882     1984   HOBBS   1H2E0061XEH078243   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53884     1984   HOBBS   1H2E00613EH078245   ELF‐1     OR               Portland
 YRCF     DOLLY            DOL‐SA   RDWY53885     1984   HOBBS   1H2E00615EH078246   ELF‐1     MD               Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY53886     1984   HOBBS   1H2E00617EH078247   ELF‐1     GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53887     1984   HOBBS   1H2E00619EH078248   ELF‐1     MS               Richland
 YRCF     DOLLY            DOL‐SA   RDWY53888     1984   HOBBS   1H2E00610EH078249   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53889     1984   HOBBS   1H2E00617EH078250   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53892     1984   HOBBS   1H2E00610EH081703   ELF‐1     WA               Union Gap
 YRCF     DOLLY            DOL‐SA   RDWY53894     1984   HOBBS   1H2E00614EH081705   ELF‐1     WA               Everett
 YRCF     DOLLY            DOL‐SA   RDWY53895     1984   HOBBS   1H2E00616EH081706   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53900     1984   HOBBS   1H2E0061XEH081711   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53901     1984   HOBBS   1H2E00611EH081712   ELF‐1     WI               Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY53902     1984   HOBBS   1H2E00613EH081713   ELF‐1     IN               South Bend
 YRCF     DOLLY            DOL‐SA   RDWY53903     1984   HOBBS   1H2E00615EH081714   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53909     1984   HOBBS   1H2E00610EH081720   ELF‐1     CA               Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY53911     1984   HOBBS   1H2E00614EH081722   ELF‐1     OR               Eugene
 YRCF     DOLLY            DOL‐SA   RDWY53914     1984   HOBBS   1H2E0061XEH081725   ELF‐1     IL               Danville
 YRCF     DOLLY            DOL‐SA   RDWY53915     1984   HOBBS   1H2E00611EH081726   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53916     1984   HOBBS   1H2E00613EH081727   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53918     1984   HOBBS   1H2E00617EH081729   ELF‐1     OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY53919     1984   HOBBS   1H2E00613EH081730   ELF‐1     GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY53922     1984   HOBBS   1H2E00619EH081733   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY53925     1984   HOBBS   1H2E00614EH081736   ELF‐1     MS               Richland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 488 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY53926     1984   HOBBS   1H2E00616EH081737   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY53927     1984   HOBBS   1H2E00618EH081738   ELF‐1     AL        Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY53928     1984   HOBBS   1H2E0061XEH081739   ELF‐1     OH        Lima
 YRCF     DOLLY            DOL‐SA   RDWY53929     1984   HOBBS   1H2E00616EH081740   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53932     1984   HOBBS   1H2E00611EH081743   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY53935     1984   HOBBS   1H2E00617EH081746   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY53936     1984   HOBBS   1H2E00619EH081747   ELF‐1     CT        Cheshire
 YRCF     DOLLY            DOL‐SA   RDWY53941     1984   HOBBS   1H2E00612EH081802   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY53943     1984   HOBBS   1H2E00616EH081804   ELF‐1     NV        Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY53944     1984   HOBBS   1H2E00618EH081805   ELF‐1     OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY53948     1984   HOBBS   1H2E00615EH081809   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY53949     1984   HOBBS   1H2E00611EH081810   ELF‐1     MI        Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY53951     1984   HOBBS   1H2E00615EH081812   ELF‐1     Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY53952     1984   HOBBS   1H2E00617EH081813   ELF‐1     NH        Bedford
 YRCF     DOLLY            DOL‐SA   RDWY53953     1984   HOBBS   1H2E00619EH081814   ELF‐1     NE        Kearney
 YRCF     DOLLY            DOL‐SA   RDWY53954     1984   HOBBS   1H2E00610EH081815   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY53955     1984   HOBBS   1H2E00612EH081816   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY53957     1984   HOBBS   1H2E00616EH081818   ELF‐1     AZ        Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY53960     1984   HOBBS   1H2E00616EH081821   ELF‐1     IL        Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY53961     1984   HOBBS   1H2E00618EH081822   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY53963     1984   HOBBS   1H2E00611EH081824   ELF‐1     NJ        South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY53965     1984   HOBBS   1H2E00615EH081826   ELF‐1     TX        San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY53967     1984   HOBBS   1H2E00619EH081828   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY53968     1984   HOBBS   1H2E00610EH081829   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY53969     1984   HOBBS   1H2E00617EH081830   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY53970     1984   HOBBS   1H2E00619EH081831   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY53971     1984   HOBBS   1H2E00610EH081832   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY53973     1984   HOBBS   1H2E00614EH081834   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY53975     1984   HOBBS   1H2E00618EH081836   ELF‐1     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY53976     1984   HOBBS   1H2E0061XEH081837   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY53978     1984   HOBBS   1H2E00613EH081839   ELF‐1     MS        Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY53980     1984   HOBBS   1H2E00611EH081841   ELF‐1     ND        Fargo
 YRCF     DOLLY            DOL‐SA   RDWY53982     1984   HOBBS   1H2E00615EH081843   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY53986     1984   HOBBS   1H2E00612EH081847   ELF‐1     CO        Colorado Springs
 YRCF     DOLLY            DOL‐SA   RDWY53987     1984   HOBBS   1H2E00614EH081848   ELF‐1     TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY53990     1984   HOBBS   1H2E00611EE018501   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY53991     1984   HOBBS   1H2E00613EE018502   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY53994     1984   HOBBS   1H2E00619EE018505   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY53995     1984   HOBBS   1H2E00610EE018506   ELF‐1     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY53999     1984   HOBBS   1H2E00616EE018509   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54062     1984   HOBBS   1H2E00614EE018573   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54065     1984   HOBBS   1H2E0061XEE018576   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54071     1984   HOBBS   1H2E00615EE018582   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54073     1984   HOBBS   1H2E00619EE018584   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54075     1984   HOBBS   1H2E00612EE018586   ELF‐1     CT        Cheshire
 YRCF     DOLLY            DOL‐SA   RDWY54079     1984   HOBBS   1H2E00614EE018590   ELF‐1     Ontario   Mississauga
 YRCF     DOLLY            DOL‐SA   RDWY54080     1984   HOBBS   1H2E00615EE018601   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY54081     1984   HOBBS   1H2E00617EE018602   ELF‐1     Alberta   Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY54084     1984   HOBBS   1H2E00612EE018605   ELF‐1     CA        Anderson
 YRCF     DOLLY            DOL‐SA   RDWY54085     1984   HOBBS   1H2E00614EE018606   ELF‐1     MT        Missoula
 YRCF     DOLLY            DOL‐SA   RDWY54087     1984   HOBBS   1H2E00618EE018608   ELF‐1     TN        Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY54089     1984   HOBBS   1H2E00616EE018610   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54090     1984   HOBBS   1H2E00618EE018611   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54091     1984   HOBBS   1H2E0061XEE018612   ELF‐1     TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY54092     1984   HOBBS   1H2E00611EE018613   ELF‐1     FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY54098     1984   HOBBS   1H2E00612EE018619   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54099     1984   HOBBS   1H2E00619EE018620   ELF‐1     LA        Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY54100     1984   HOBBS   1H2E00610EE018621   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54101     1984   HOBBS   1H2E00612EE018622   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54104     1984   HOBBS   1H2E00618EE018625   ELF‐1     IL        Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY54106     1984   HOBBS   1H2E00611EE018627   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54113     1984   HOBBS   1H2E00619EE018634   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54118     1984   HOBBS   1H2E00618EE018639   ELF‐1     PA        Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY54119     1984   HOBBS   1H2E00614EE018640   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54123     1984   HOBBS   1H2E00611EE018644   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54126     1984   HOBBS   1H2E00617EE018647   ELF‐1     GA        Macon
 YRCF     DOLLY            DOL‐SA   RDWY54127     1984   HOBBS   1H2E00619EE018648   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54131     1984   HOBBS   1H2E00610EE018652   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54132     1984   HOBBS   1H2E00612EE018653   ELF‐1     TX        Irving
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 489 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY54133     1984   HOBBS   1H2E00614EE018654   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY54134     1984   HOBBS   1H2E00616EE018655   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54135     1984   HOBBS   1H2E00618EE018656   ELF‐1     NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY54136     1984   HOBBS   1H2E0061XEE018657   ELF‐1     ID        Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY54138     1984   HOBBS   1H2E00613EE018659   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54140     1984   HOBBS   1H2E00611EE018661   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54142     1984   HOBBS   1H2E00615EE018663   ELF‐1     PA        Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY54145     1984   HOBBS   1H2E00610EE018666   ELF‐1     IL        Bolingbrook
 YRCF     DOLLY            DOL‐SA   RDWY54147     1984   HOBBS   1H2E00614EE018668   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54150     1984   HOBBS   1H2E00614EE018671   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54152     1984   HOBBS   1H2E00618EE018673   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54155     1984   HOBBS   1H2E00613EE018676   ELF‐1     Ontario   Mississauga
 YRCF     DOLLY            DOL‐SA   RDWY54157     1984   HOBBS   1H2E00617EE018678   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY54159     1984   HOBBS   1H2E00615EE018680   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54161     1984   HOBBS   1H2E00619EE018682   ELF‐1     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY54165     1984   HOBBS   1H2E00616EE018686   ELF‐1     CA        Downey
 YRCF     DOLLY            DOL‐SA   RDWY54167     1984   HOBBS   1H2E0061XEE018688   ELF‐1     IA        Council Bluffs
 YRCF     DOLLY            DOL‐SA   RDWY54168     1984   HOBBS   1H2E00611EE018689   ELF‐1     AZ        Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY54169     1984   HOBBS   1H2E00618EE018690   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54170     1984   HOBBS   1H2E00619EE018701   ELF‐1     AZ        Tucson
 YRCF     DOLLY            DOL‐SA   RDWY54172     1984   HOBBS   1H2E00612EE018703   ELF‐1     OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY54176     1984   HOBBS   1H2E0061XEE018707   ELF‐1     NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY54179     1984   HOBBS   1H2E0061XEE018710   ELF‐1     IN        Hammond
 YRCF     DOLLY            DOL‐SA   RDWY54181     1984   HOBBS   1H2E00613EE018712   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54182     1984   HOBBS   1H2E00615EE018713   ELF‐1     NY        Plattsburgh
 YRCF     DOLLY            DOL‐SA   RDWY54183     1984   HOBBS   1H2E00617EE018714   ELF‐1     TN        Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY54187     1984   HOBBS   1H2E00614EE018718   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY54189     1984   HOBBS   1H2E00612EE018720   ELF‐1     AR        Springdale
 YRCF     DOLLY            DOL‐SA   RDWY54190     1984   HOBBS   1H2E00614EE018721   ELF‐1     MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY54191     1984   HOBBS   1H2E00616EE018722   ELF‐1     VA        Manassas
 YRCF     DOLLY            DOL‐SA   RDWY54192     1984   HOBBS   1H2E00618EE018723   ELF‐1     OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY54194     1984   HOBBS   1H2E00611EE018725   ELF‐1     CA        Hayward
 YRCF     DOLLY            DOL‐SA   RDWY54196     1984   HOBBS   1H2E00615EE018727   ELF‐1     OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY54205     1984   HOBBS   1H2E00616EE018736   ELF‐1     MI        Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY54206     1984   HOBBS   1H2E00618EE018737   ELF‐1     RI        Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY54207     1984   HOBBS   1H2E0061XEE018738   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54209     1984   HOBBS   1H2E00618EE018740   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY54210     1984   HOBBS   1H2E0061XEE018741   ELF‐1     CA        Orange
 YRCF     DOLLY            DOL‐SA   RDWY54211     1984   HOBBS   1H2E00611EE018742   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54214     1984   HOBBS   1H2E00617EE018745   ELF‐1     MI        Taylor
 YRCF     DOLLY            DOL‐SA   RDWY54215     1984   HOBBS   1H2E00619EE018746   ELF‐1     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY54216     1984   HOBBS   1H2E00610EE018747   ELF‐1     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY54217     1984   HOBBS   1H2E00612EE018748   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54219     1984   HOBBS   1H2E00610EE018750   ELF‐1     ME        Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY54224     1984   HOBBS   1H2E0061XEE018755   ELF‐1     OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY54232     1984   HOBBS   1H2E00619EE018763   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54233     1984   HOBBS   1H2E00610EE018764   ELF‐1     IL        Rockford
 YRCF     DOLLY            DOL‐SA   RDWY54235     1984   HOBBS   1H2E00614EE018766   ELF‐1     NJ        Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY54238     1984   HOBBS   1H2E0061XEE018769   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY54244     1984   HOBBS   1H2E0061XEE018805   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY54246     1984   HOBBS   1H2E00613EE018807   ELF‐1     IN        Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY54247     1984   HOBBS   1H2E00615EE018808   ELF‐1     VA        Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY54248     1984   HOBBS   1H2E00617EE018809   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54249     1984   HOBBS   1H2E00613EE018810   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54251     1984   HOBBS   1H2E00617EE018812   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54256     1984   HOBBS   1H2E00616EE018817   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY54257     1984   HOBBS   1H2E00618EE018818   ELF‐1     NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY54259     1984   HOBBS   1H2E00616EE018820   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54264     1984   HOBBS   1H2E00615EE018825   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54266     1984   HOBBS   1H2E00619EE018827   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54269     1984   HOBBS   1H2E00619EE018830   ELF‐1     RI        Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY54270     1984   HOBBS   1H2E00610EE018831   ELF‐1     OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY54271     1984   HOBBS   1H2E00612EE018832   ELF‐1     VA        Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY54273     1984   HOBBS   1H2E00616EE018834   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY54275     1984   HOBBS   1H2E0061XEE018836   ELF‐1     ND        Bismarck
 YRCF     DOLLY            DOL‐SA   RDWY54276     1984   HOBBS   1H2E00611EE018837   ELF‐1     TN        Jackson
 YRCF     DOLLY            DOL‐SA   RDWY54278     1984   HOBBS   1H2E00615EE018839   ELF‐1     CA        Ventura
 YRCF     DOLLY            DOL‐SA   RDWY54279     1984   HOBBS   1H2E00611EE018840   ELF‐1     VA        Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY54285     1984   HOBBS   1H2E00612EE018846   ELF‐1     OH        Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 490 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY54286     1984   HOBBS   1H2E00614EE018847   ELF‐1     IA      Mason City
 YRCF     DOLLY            DOL‐SA   RDWY54290     1984   HOBBS   1H2E00616EE018901   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54295     1984   HOBBS   1H2E00615EE018906   ELF‐1     IN      Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY54296     1984   HOBBS   1H2E00617EE018907   ELF‐1     ID      Meridian
 YRCF     DOLLY            DOL‐SA   RDWY54297     1984   HOBBS   1H2E00619EE018908   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54300     1984   HOBBS   1H2E00619EE018911   ELF‐1     OH      Brooklyn
 YRCF     DOLLY            DOL‐SA   RDWY54302     1984   HOBBS   1H2E00612EE018913   ELF‐1     GA      Richmond Hill
 YRCF     DOLLY            DOL‐SA   RDWY54303     1984   HOBBS   1H2E00614EE018914   ELF‐1     WI      Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY54304     1984   HOBBS   1H2E00616EE018915   ELF‐1     PA      Harrisburg
 YRCF     DOLLY            DOL‐SA   RDWY54305     1984   HOBBS   1H2E00618EE018916   ELF‐1     KS      Garden City
 YRCF     DOLLY            DOL‐SA   RDWY54310     1984   HOBBS   1H2E00611EE018921   ELF‐1     AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY54311     1984   HOBBS   1H2E00613EE018922   ELF‐1     NY      Rochester
 YRCF     DOLLY            DOL‐SA   RDWY54314     1984   HOBBS   1H2E00619EE018925   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY54315     1984   HOBBS   1H2E00610EE018926   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54317     1984   HOBBS   1H2E00614EE018928   ELF‐1     MI      Taylor
 YRCF     DOLLY            DOL‐SA   RDWY54318     1984   HOBBS   1H2E00616EE018929   ELF‐1     AL      Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY54322     1984   HOBBS   1H2E00618EE018933   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY54323     1984   HOBBS   1H2E0061XEE018934   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54324     1984   HOBBS   1H2E00611EE018935   ELF‐1     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY54326     1984   HOBBS   1H2E00615EE018937   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54331     1984   HOBBS   1H2E00619EE018942   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY54332     1984   HOBBS   1H2E00610EE018943   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54333     1984   HOBBS   1H2E00612EE018944   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY54336     1984   HOBBS   1H2E00618EE018947   ELF‐1     VA      Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY54341     1984   HOBBS   1H2E0061XEE019002   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54343     1984   HOBBS   1H2E00613EE019004   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54344     1984   HOBBS   1H2E00615EE019005   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54348     1984   HOBBS   1H2E00612EE019009   ELF‐1     CA      San Diego
 YRCF     DOLLY            DOL‐SA   RDWY54349     1984   HOBBS   1H2E00619EE019010   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54350     1984   HOBBS   1H2E00610EE019011   ELF‐1     VA      Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY54352     1984   HOBBS   1H2E00614EE019013   ELF‐1     MI      Romulus
 YRCF     DOLLY            DOL‐SA   RDWY54355     1984   HOBBS   1H2E0061XEE019016   ELF‐1     IN      Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY54356     1984   HOBBS   1H2E00611EE019017   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY54357     1984   HOBBS   1H2E00613EE019018   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54358     1984   HOBBS   1H2E00615EE019019   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY54360     1984   HOBBS   1H2E00613EE019021   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54363     1984   HOBBS   1H2E00619EE019024   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54366     1984   HOBBS   1H2E00614EE019027   ELF‐1     AR      Springdale
 YRCF     DOLLY            DOL‐SA   RDWY54368     1984   HOBBS   1H2E00618EE019029   ELF‐1     ID      Meridian
 YRCF     DOLLY            DOL‐SA   RDWY54371     1984   HOBBS   1H2E00618EE019032   ELF‐1     TN      Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY54373     1984   HOBBS   1H2E00611EE019034   ELF‐1     MA      Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY54378     1984   HOBBS   1H2E00610EE019039   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY54379     1984   HOBBS   1H2E00617EE019040   ELF‐1     NY      Brooklyn
 YRCF     DOLLY            DOL‐SA   RDWY54381     1984   HOBBS   1H2E00610EE019042   ELF‐1     FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY54383     1984   HOBBS   1H2E00614EE019044   ELF‐1     LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY54385     1984   HOBBS   1H2E00618EE019046   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54386     1984   HOBBS   1H2E0061XEE019047   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54388     1984   HOBBS   1H2E00613EE019049   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54389     1984   HOBBS   1H2E0061XEE019050   ELF‐1     MI      Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY54390     1984   HOBBS   1H2E00619EE021601   ELF‐1     OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY54391     1984   HOBBS   1H2E00610EE021602   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY54392     1984   HOBBS   1H2E00612EE021603   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY54393     1984   HOBBS   1H2E00614EE021604   ELF‐1     FL      Orlando
 YRCF     DOLLY            DOL‐SA   RDWY54395     1984   HOBBS   1H2E00618EE021606   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54396     1984   HOBBS   1H2E0061XEE021607   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54399     1984   HOBBS   1H2E0061XEE021610   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY54401     1984   HOBBS   1H2E00613EE021612   ELF‐1     MN      Owatonna
 YRCF     DOLLY            DOL‐SA   RDWY54402     1984   HOBBS   1H2E00615EE021613   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY54403     1984   HOBBS   1H2E00617EE021614   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY54405     1984   HOBBS   1H2E00610EE021616   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54410     1984   HOBBS   1H2E00614EE021621   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54411     1984   HOBBS   1H2E00616EE021622   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54412     1984   HOBBS   1H2E00618EE021623   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY54413     1984   HOBBS   1H2E0061XEE021624   ELF‐1     MN      Saint Cloud
 YRCF     DOLLY            DOL‐SA   RDWY54414     1984   HOBBS   1H2E00611EE021625   ELF‐1     CA      Santa Maria
 YRCF     DOLLY            DOL‐SA   RDWY54418     1984   HOBBS   1H2E00619EE021629   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY54421     1984   HOBBS   1H2E00619EE021632   ELF‐1     GA      Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY54422     1984   HOBBS   1H2E00610EE021633   ELF‐1     WI      Neenah
 YRCF     DOLLY            DOL‐SA   RDWY54423     1984   HOBBS   1H2E00612EE021634   ELF‐1     MN      Coon Rapids
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 491 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     DOLLY            DOL‐SA   RDWY54425     1984   HOBBS   1H2E00616EE021636   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54427     1984   HOBBS   1H2E0061XEE021638   ELF‐1     WV         Charleston
 YRCF     DOLLY            DOL‐SA   RDWY54432     1984   HOBBS   1H2E00613EE021643   ELF‐1     SC         Piedmont
 YRCF     DOLLY            DOL‐SA   RDWY54435     1984   HOBBS   1H2E00619EE021646   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54438     1984   HOBBS   1H2E00614EE021649   ELF‐1     WA         Spokane
 YRCF     DOLLY            DOL‐SA   RDWY54439     1984   HOBBS   1H2E00610EE021650   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY54440     1984   HOBBS   1H2E00612EE021701   ELF‐1     TN         Nashville
 YRCF     DOLLY            DOL‐SA   RDWY54441     1984   HOBBS   1H2E00614EE021702   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54443     1984   HOBBS   1H2E00618EE021704   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54450     1984   HOBBS   1H2E00615EE021711   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54452     1984   HOBBS   1H2E00619EE021713   ELF‐1     OR         Central Point
 YRCF     DOLLY            DOL‐SA   RDWY54455     1984   HOBBS   1H2E00614EE021716   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54456     1984   HOBBS   1H2E00616EE021717   ELF‐1     TX         Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY54459     1984   HOBBS   1H2E00616EE021720   ELF‐1     PA         Shippensburg
 YRCF     DOLLY            DOL‐SA   RDWY54460     1984   HOBBS   1H2E00618EE021721   ELF‐1     MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY54461     1984   HOBBS   1H2E0061XEE021722   ELF‐1     CO         Aurora
 YRCF     DOLLY            DOL‐SA   RDWY54464     1984   HOBBS   1H2E00615EE021725   ELF‐1     IL         Morton
 YRCF     DOLLY            DOL‐SA   RDWY54466     1984   HOBBS   1H2E00619EE021727   ELF‐1     MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY54469     1984   HOBBS   1H2E00619EE021730   ELF‐1     MA         West Springfield
 YRCF     DOLLY            DOL‐SA   RDWY54472     1984   HOBBS   1H2E00614EE021733   ELF‐1     WA         Union Gap
 YRCF     DOLLY            DOL‐SA   RDWY54476     1984   HOBBS   1H2E00611EE021737   ELF‐1     ID         Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY54478     1984   HOBBS   1H2E00615EE021739   ELF‐1     CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY54479     1984   HOBBS   1H2E00611EE021740   ELF‐1     TN         Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY54481     1984   HOBBS   1H2E00615EE021742   ELF‐1     CA         Brisbane
 YRCF     DOLLY            DOL‐SA   RDWY54482     1984   HOBBS   1H2E00617EE021743   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54484     1984   HOBBS   1H2E00610EE021745   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54485     1984   HOBBS   1H2E00612EE021746   ELF‐1     OH         Copley
 YRCF     DOLLY            DOL‐SA   RDWY54486     1984   HOBBS   1H2E00614EE021747   ELF‐1     WV         Bridgeport
 YRCF     DOLLY            DOL‐SA   RDWY54488     1984   HOBBS   1H2E00618EE021749   ELF‐1     NV         Sparks
 YRCF     DOLLY            DOL‐SA   RDWY54489     1984   HOBBS   1H2E00614EE021750   ELF‐1     MI         Taylor
 YRCF     DOLLY            DOL‐SA   RDWY54490     1984   HOBBS   1H2E00615EE025001   ELF‐1     NY         Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54493     1984   HOBBS   1H2E00610EE025004   ELF‐1     MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY54497     1984   HOBBS   1H2E00618EE025008   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54498     1984   HOBBS   1H2E0061XEE025009   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54500     1984   HOBBS   1H2E00618EE025011   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54501     1984   HOBBS   1H2E0061XEE025012   ELF‐1     NY         Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54503     1984   HOBBS   1H2E00613EE025014   ELF‐1     TX         Laredo
 YRCF     DOLLY            DOL‐SA   RDWY54507     1984   HOBBS   1H2E00610EE025018   ELF‐1     MS         Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY54508     1984   HOBBS   1H2E00612EE025019   ELF‐1     PA         Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY54509     1984   HOBBS   1H2E00619EE025020   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54510     1984   HOBBS   1H2E00610EE025021   ELF‐1     Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY54511     1984   HOBBS   1H2E00612EE025022   ELF‐1     CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY54513     1984   HOBBS   1H2E00616EE025024   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY54517     1984   HOBBS   1H2E00613EE025028   ELF‐1     OR         Roseburg
 YRCF     DOLLY            DOL‐SA   RDWY54520     1984   HOBBS   1H2E00613EE025031   ELF‐1     IL         Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY54521     1984   HOBBS   1H2E00615EE025032   ELF‐1     MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY54524     1984   HOBBS   1H2E00610EE025035   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY54526     1984   HOBBS   1H2E00614EE025037   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54527     1984   HOBBS   1H2E00616EE025038   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54529     1984   HOBBS   1H2E00614EE025040   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54531     1984   HOBBS   1H2E00618EE025042   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54533     1984   HOBBS   1H2E00611EE025044   ELF‐1     Ontario    Woodstock
 YRCF     DOLLY            DOL‐SA   RDWY54535     1984   HOBBS   1H2E00615EE025046   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54537     1984   HOBBS   1H2E00619EE025048   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY54538     1984   HOBBS   1H2E00610EE025049   ELF‐1     NY         Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54539     1984   HOBBS   1H2E00617EE025050   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54540     1984   HOBBS   1H2E00619EE025101   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54542     1984   HOBBS   1H2E00612EE025103   ELF‐1     OH         Copley
 YRCF     DOLLY            DOL‐SA   RDWY54545     1984   HOBBS   1H2E00618EE025106   ELF‐1     OR         Portland
 YRCF     DOLLY            DOL‐SA   RDWY54548     1984   HOBBS   1H2E00613EE025109   ELF‐1     VA         Elliston
 YRCF     DOLLY            DOL‐SA   RDWY54549     1984   HOBBS   1H2E0061XEE025110   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54550     1984   HOBBS   1H2E00611EE025111   ELF‐1     OH         Columbus
 YRCF     DOLLY            DOL‐SA   RDWY54552     1984   HOBBS   1H2E00615EE025113   ELF‐1     OR         Portland
 YRCF     DOLLY            DOL‐SA   RDWY54553     1984   HOBBS   1H2E00617EE025114   ELF‐1     NC         Durham
 YRCF     DOLLY            DOL‐SA   RDWY54561     1984   HOBBS   1H2E00616EE025122   ELF‐1     IN         South Bend
 YRCF     DOLLY            DOL‐SA   RDWY54562     1984   HOBBS   1H2E00618EE025123   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54565     1984   HOBBS   1H2E00613EE025126   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54567     1984   HOBBS   1H2E00617EE025128   ELF‐1     CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY54568     1984   HOBBS   1H2E00619EE025129   ELF‐1     IL         Bolingbrook
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 492 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY54569     1984   HOBBS   1H2E00615EE025130   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54573     1984   HOBBS   1H2E00612EE025134   ELF‐1     GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY54574     1984   HOBBS   1H2E00614EE025135   ELF‐1     CA               Adelanto
 YRCF     DOLLY            DOL‐SA   RDWY54578     1984   HOBBS   1H2E00611EE025139   ELF‐1     PA               Mountain Top
 YRCF     DOLLY            DOL‐SA   RDWY54582     1984   HOBBS   1H2E00613EE025143   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54586     1984   HOBBS   1H2E00610EE025147   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54588     1984   HOBBS   1H2E00614EE025149   ELF‐1     CA               Tracy
 YRCF     DOLLY            DOL‐SA   RDWY54590     1984   HOBBS   1H2E00612EE025201   ELF‐1     SD               Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY54592     1984   HOBBS   1H2E00616EE025203   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54593     1984   HOBBS   1H2E00618EE025204   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54595     1984   HOBBS   1H2E00611EE025206   ELF‐1     IL               McCook
 YRCF     DOLLY            DOL‐SA   RDWY54596     1984   HOBBS   1H2E00613EE025207   ELF‐1     MI               Taylor
 YRCF     DOLLY            DOL‐SA   RDWY54597     1984   HOBBS   1H2E00615EE025208   ELF‐1     GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY54598     1984   HOBBS   1H2E00617EE025209   ELF‐1     OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY54599     1984   HOBBS   1H2E00613EE025210   ELF‐1     TX               Irving
 YRCF     DOLLY            DOL‐SA   RDWY54600     1984   HOBBS   1H2E00615EE025211   ELF‐1     MS               Richland
 YRCF     DOLLY            DOL‐SA   RDWY54601     1984   HOBBS   1H2E00617EE025212   ELF‐1     KY               Paducah
 YRCF     DOLLY            DOL‐SA   RDWY54602     1984   HOBBS   1H2E00619EE025213   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54604     1984   HOBBS   1H2E00612EE025215   ELF‐1     GA               Thomasville
 YRCF     DOLLY            DOL‐SA   RDWY54605     1984   HOBBS   1H2E00614EE025216   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54608     1984   HOBBS   1H2E0061XEE025219   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54609     1984   HOBBS   1H2E00616EE025220   ELF‐1     IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY54614     1984   HOBBS   1H2E00615EE025225   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54618     1984   HOBBS   1H2E00612EE025229   ELF‐1     PA               Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY54621     1984   HOBBS   1H2E00612EE025232   ELF‐1     IL               Danville
 YRCF     DOLLY            DOL‐SA   RDWY54622     1984   HOBBS   1H2E00614EE025233   ELF‐1     RI               Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY54625     1984   HOBBS   1H2E0061XEE025236   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54626     1984   HOBBS   1H2E00611EE025237   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54631     1984   HOBBS   1H2E00615EE025242   ELF‐1     CO               Aurora
 YRCF     DOLLY            DOL‐SA   RDWY54633     1984   HOBBS   1H2E00619EE025244   ELF‐1     OH               Richfield
 YRCF     DOLLY            DOL‐SA   RDWY54634     1984   HOBBS   1H2E00610EE025245   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54637     1984   HOBBS   1H2E00616EE025248   ELF‐1     TX               Laredo
 YRCF     DOLLY            DOL‐SA   RDWY54638     1984   HOBBS   1H2E00618EE025249   ELF‐1     AL               Mobile
 YRCF     DOLLY            DOL‐SA   RDWY54639     1984   HOBBS   1H2E00614EE025250   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54640     1984   HOBBS   1H2E00616EE025301   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54641     1984   HOBBS   1H2E00618EE025302   ELF‐1     TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY54643     1984   HOBBS   1H2E00611EE025304   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54644     1984   HOBBS   1H2E00613EE025305   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54645     1984   HOBBS   1H2E00615EE025306   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54647     1984   HOBBS   1H2E00619EE025308   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54649     1984   HOBBS   1H2E00617EE025310   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54651     1984   HOBBS   1H2E00610EE025312   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54656     1984   HOBBS   1H2E0061XEE025317   ELF‐1     FL               Miami
 YRCF     DOLLY            DOL‐SA   RDWY54658     1984   HOBBS   1H2E00613EE025319   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54665     1984   HOBBS   1H2E00610EE025326   ELF‐1     PA               Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY54666     1984   HOBBS   1H2E00612EE025327   ELF‐1     CA               San Bernardino
 YRCF     DOLLY            DOL‐SA   RDWY54667     1984   HOBBS   1H2E00614EE025328   ELF‐1     IL               Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY54668     1984   HOBBS   1H2E00616EE025329   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54671     1984   HOBBS   1H2E00616EE025332   ELF‐1     CO               Aurora
 YRCF     DOLLY            DOL‐SA   RDWY54675     1984   HOBBS   1H2E00613EE025336   ELF‐1     TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY54676     1984   HOBBS   1H2E00615EE025337   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54678     1984   HOBBS   1H2E00619EE025339   ELF‐1     TX               Houston
 YRCF     DOLLY            DOL‐SA   RDWY54680     1984   HOBBS   1H2E00617EE025341   ELF‐1     KY               Lexington
 YRCF     DOLLY            DOL‐SA   RDWY54681     1984   HOBBS   1H2E00619EE025342   ELF‐1     AL               Decatur
 YRCF     DOLLY            DOL‐SA   RDWY54683     1984   HOBBS   1H2E00612EE025344   ELF‐1     OH               Richfield
 YRCF     DOLLY            DOL‐SA   RDWY54685     1984   HOBBS   1H2E00616EE025346   ELF‐1     OH               Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY54687     1984   HOBBS   1H2E0061XEE025348   ELF‐1     NJ               Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY54688     1984   HOBBS   1H2E00611EE025349   ELF‐1     MO               Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY54691     1984   HOBBS   1H2E00611EE025402   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54692     1984   HOBBS   1H2E00613EE025403   ELF‐1     TN               Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54695     1984   HOBBS   1H2E00619EE025406   ELF‐1     TN               Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY54696     1984   HOBBS   1H2E00610EE025407   ELF‐1     FL               Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY54697     1984   HOBBS   1H2E00612EE025408   ELF‐1     MO               Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY54698     1984   HOBBS   1H2E00614EE025409   ELF‐1     NM               Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY54699     1984   HOBBS   1H2E00610EE025410   ELF‐1     MO               Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY54700     1984   HOBBS   1H2E00612EE025411   ELF‐1     ID               Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY54703     1984   HOBBS   1H2E00618EE025414   ELF‐1     NJ               Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY54704     1984   HOBBS   1H2E0061XEE025415   ELF‐1     British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY54706     1984   HOBBS   1H2E00613EE025417   ELF‐1     MI               Romulus
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 493 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     DOLLY            DOL‐SA   RDWY54707     1984   HOBBS   1H2E00615EE025418   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54709     1984   HOBBS   1H2E00613EE025420   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54711     1984   HOBBS   1H2E00617EE025422   ELF‐1     AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY54714     1984   HOBBS   1H2E00612EE025425   ELF‐1     WV         Charleston
 YRCF     DOLLY            DOL‐SA   RDWY54715     1984   HOBBS   1H2E00614EE025426   ELF‐1     TX         Dallas
 YRCF     DOLLY            DOL‐SA   RDWY54719     1984   HOBBS   1H2E00616EE025430   ELF‐1     OK         Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY54720     1984   HOBBS   1H2E00618EE025431   ELF‐1     OH         Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY54722     1984   HOBBS   1H2E00611EE025433   ELF‐1     RI         Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY54728     1984   HOBBS   1H2E00612EE025439   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54729     1984   HOBBS   1H2E00619EE025440   ELF‐1     NY         Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54730     1984   HOBBS   1H2E00610EE025441   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54731     1984   HOBBS   1H2E00612EE025442   ELF‐1     CA         Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY54733     1984   HOBBS   1H2E00616EE025444   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54735     1984   HOBBS   1H2E0061XEE025446   ELF‐1     MN         Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY54737     1984   HOBBS   1H2E00613EE025448   ELF‐1     TN         Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY54743     1984   HOBBS   1H2E00619EE025504   ELF‐1     PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY54745     1984   HOBBS   1H2E00612EE025506   ELF‐1     MI         Romulus
 YRCF     DOLLY            DOL‐SA   RDWY54747     1984   HOBBS   1H2E00616EE025508   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54748     1984   HOBBS   1H2E00618EE025509   ELF‐1     WA         Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY54750     1984   HOBBS   1H2E00616EE025511   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54751     1984   HOBBS   1H2E00618EE025512   ELF‐1     IN         Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY54752     1984   HOBBS   1H2E0061XEE025513   ELF‐1     FL         Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY54753     1984   HOBBS   1H2E00611EE025514   ELF‐1     OH         Columbus
 YRCF     DOLLY            DOL‐SA   RDWY54754     1984   HOBBS   1H2E00613EE025515   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54756     1984   HOBBS   1H2E00617EE025517   ELF‐1     CA         Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY54757     1984   HOBBS   1H2E00619EE025518   ELF‐1     AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY54758     1984   HOBBS   1H2E00610EE025519   ELF‐1     IA         Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY54760     1984   HOBBS   1H2E00619EE025521   ELF‐1     IL         Joliet
 YRCF     DOLLY            DOL‐SA   RDWY54761     1984   HOBBS   1H2E00610EE025522   ELF‐1     Alberta    Calgary
 YRCF     DOLLY            DOL‐SA   RDWY54764     1984   HOBBS   1H2E00616EE025525   ELF‐1     OH         Copley
 YRCF     DOLLY            DOL‐SA   RDWY54770     1984   HOBBS   1H2E00611EE025531   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY54771     1984   HOBBS   1H2E00613EE025532   ELF‐1     IA         Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY54776     1984   HOBBS   1H2E00612EE025537   ELF‐1     Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY54780     1984   HOBBS   1H2E00614EE025541   ELF‐1     TN         Nashville
 YRCF     DOLLY            DOL‐SA   RDWY54782     1984   HOBBS   1H2E00618EE025543   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54783     1984   HOBBS   1H2E0061XEE025544   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54785     1984   HOBBS   1H2E00613EE025546   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54787     1984   HOBBS   1H2E00617EE025548   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54788     1984   HOBBS   1H2E00619EE025549   ELF‐1     ID         Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY54793     1984   HOBBS   1H2E00612EE025604   ELF‐1     CA         Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY54795     1984   HOBBS   1H2E00616EE025606   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54797     1984   HOBBS   1H2E0061XEE025608   ELF‐1     FL         Miami
 YRCF     DOLLY            DOL‐SA   RDWY54798     1984   HOBBS   1H2E00611EE025609   ELF‐1     MO         Strafford
 YRCF     DOLLY            DOL‐SA   RDWY54800     1984   HOBBS   1H2E0061XEE025611   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54801     1984   HOBBS   1H2E00611EE025612   ELF‐1     Alberta    Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY54802     1984   HOBBS   1H2E00613EE025613   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY54805     1984   HOBBS   1H2E00619EE025616   ELF‐1     IL         Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY54807     1984   HOBBS   1H2E00612EE025618   ELF‐1     Alberta    Calgary
 YRCF     DOLLY            DOL‐SA   RDWY54809     1984   HOBBS   1H2E00610EE025620   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54813     1984   HOBBS   1H2E00618EE025624   ELF‐1     WI         Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY54814     1984   HOBBS   1H2E0061XEE025625   ELF‐1     TX         Dallas
 YRCF     DOLLY            DOL‐SA   RDWY54815     1984   HOBBS   1H2E00611EE025626   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY54816     1984   HOBBS   1H2E00613EE025627   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54818     1984   HOBBS   1H2E00617EE025629   ELF‐1     AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY54821     1984   HOBBS   1H2E00617EE025632   ELF‐1     CA         Santa Rosa
 YRCF     DOLLY            DOL‐SA   RDWY54822     1984   HOBBS   1H2E00619EE025633   ELF‐1     NY         Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54824     1984   HOBBS   1H2E00612EE025635   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54826     1984   HOBBS   1H2E00616EE025637   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54827     1984   HOBBS   1H2E00618EE025638   ELF‐1     MI         Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY54829     1984   HOBBS   1H2E00616EE025640   ELF‐1     RI         Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY54831     1984   HOBBS   1H2E0061XEE025642   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY54832     1984   HOBBS   1H2E00611EE025643   ELF‐1     IN         Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY54834     1984   HOBBS   1H2E00615EE025645   ELF‐1     LA         Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY54835     1984   HOBBS   1H2E00617EE025646   ELF‐1     NV         Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY54843     1985   FRUHF   1H2E00613FE013902   ELF‐1     FL         Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY54844     1985   FRUHF   1H2E00615FE013903   ELF‐1     WI         Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY54845     1985   FRUHF   1H2E00617FE013904   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY54846     1985   FRUHF   1H2E00619FE013905   ELF‐1     MI         Romulus
 YRCF     DOLLY            DOL‐SA   RDWY54847     1985   FRUHF   1H2E00610FE013906   ELF‐1     FL         Orlando
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 494 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY54848     1985   FRUHF   1H2E00612FE013907   ELF‐1     CA               Downey
 YRCF     DOLLY            DOL‐SA   RDWY54849     1985   FRUHF   1H2E00614FE013908   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54852     1985   FRUHF   1H2E00614FE013911   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54854     1985   FRUHF   1H2E00618FE013913   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54856     1985   FRUHF   1H2E00611FE013915   ELF‐1     CA               Fontana
 YRCF     DOLLY            DOL‐SA   RDWY54857     1985   FRUHF   1H2E00613FE013916   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54858     1985   FRUHF   1H2E00615FE013917   ELF‐1     CA               Fontana
 YRCF     DOLLY            DOL‐SA   RDWY54860     1985   FRUHF   1H2E00619FE013919   ELF‐1     IA               Sioux City
 YRCF     DOLLY            DOL‐SA   RDWY54864     1985   FRUHF   1H2E00610FE013923   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54865     1985   FRUHF   1H2E00612FE013924   ELF‐1     GA               Conley
 YRCF     DOLLY            DOL‐SA   RDWY54868     1985   FRUHF   1H2E00618FE013927   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54870     1985   FRUHF   1H2E00611FE013929   ELF‐1     TN               Memphis
 YRCF     DOLLY            DOL‐SA   RDWY54871     1985   FRUHF   1H2E00618FE013930   ELF‐1     MO               Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY54873     1985   FRUHF   1H2E00611FE013932   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54878     1985   FRUHF   1H2E00610FE013937   ELF‐1     OH               Columbus
 YRCF     DOLLY            DOL‐SA   RDWY54879     1985   FRUHF   1H2E00612FE013938   ELF‐1     IL               Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY54880     1985   FRUHF   1H2E00614FE013939   ELF‐1     WY               Wamsutter
 YRCF     DOLLY            DOL‐SA   RDWY54882     1985   FRUHF   1H2E00612FE013941   ELF‐1     OH               Columbus
 YRCF     DOLLY            DOL‐SA   RDWY54883     1985   FRUHF   1H2E00614FE013942   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54884     1985   FRUHF   1H2E00616FE013943   ELF‐1     OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY54886     1985   FRUHF   1H2E0061XFE013945   ELF‐1     FL               Orlando
 YRCF     DOLLY            DOL‐SA   RDWY54887     1985   FRUHF   1H2E00611FE013946   ELF‐1     GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY54889     1985   FRUHF   1H2E00615FE013948   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54890     1985   FRUHF   1H2E00617FE013949   ELF‐1     WA               Bellingham
 YRCF     DOLLY            DOL‐SA   RDWY54891     1985   FRUHF   1H2E00613FE013950   ELF‐1     IL               Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY54894     1985   FRUHF   1H2E00619FE013953   ELF‐1     WA               Bellingham
 YRCF     DOLLY            DOL‐SA   RDWY54895     1985   FRUHF   1H2E00610FE013954   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54896     1985   FRUHF   1H2E00612FE013955   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY54897     1985   FRUHF   1H2E00614FE013956   ELF‐1     OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY54899     1985   FRUHF   1H2E00618FE013958   ELF‐1     NV               Sparks
 YRCF     DOLLY            DOL‐SA   RDWY54900     1985   FRUHF   1H2E0061XFE013959   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54901     1985   FRUHF   1H2E00616FE013960   ELF‐1     OR               Portland
 YRCF     DOLLY            DOL‐SA   RDWY54902     1985   FRUHF   1H2E00618FE013961   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54903     1985   FRUHF   1H2E0061XFE013962   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54910     1985   FRUHF   1H2E00612FE013969   ELF‐1     IN               Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY54911     1985   FRUHF   1H2E00619FE013970   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54913     1985   FRUHF   1H2E00612FE013972   ELF‐1     MD               Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY54914     1985   FRUHF   1H2E00614FE013973   ELF‐1     GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY54918     1985   FRUHF   1H2E00611FE013977   ELF‐1     IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY54920     1985   FRUHF   1H2E00615FE013979   ELF‐1     NE               Omaha
 YRCF     DOLLY            DOL‐SA   RDWY54923     1985   FRUHF   1H2E00615FE013982   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54924     1985   FRUHF   1H2E00617FE013983   ELF‐1     OR               Central Point
 YRCF     DOLLY            DOL‐SA   RDWY54925     1985   FRUHF   1H2E00619FE013984   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54926     1985   FRUHF   1H2E00610FE013985   ELF‐1     CO               Aurora
 YRCF     DOLLY            DOL‐SA   RDWY54927     1985   FRUHF   1H2E00612FE013986   ELF‐1     NE               Bridgeport
 YRCF     DOLLY            DOL‐SA   RDWY54928     1985   FRUHF   1H2E00614FE013987   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54929     1985   FRUHF   1H2E00616FE013988   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY54931     1985   FRUHF   1H2E00614FE013990   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54932     1985   FRUHF   1H2E00616FE013991   ELF‐1     TX               Irving
 YRCF     DOLLY            DOL‐SA   RDWY54933     1985   FRUHF   1H2E00618FE013992   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY54934     1985   FRUHF   1H2E0061XFE013993   ELF‐1     ND               Minot
 YRCF     DOLLY            DOL‐SA   RDWY54935     1985   FRUHF   1H2E00611FE013994   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54936     1985   FRUHF   1H2E00613FE013995   ELF‐1     WA               Spokane
 YRCF     DOLLY            DOL‐SA   RDWY54944     1985   FRUHF   1H2E00617FE014003   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54948     1985   FRUHF   1H2E00614FE014007   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY54952     1985   FRUHF   1H2E00616FE014011   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY54957     1985   FRUHF   1H2E00615FE014016   ELF‐1     CA               Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY54966     1985   FRUHF   1H2E00616FE014025   ELF‐1     NV               Sparks
 YRCF     DOLLY            DOL‐SA   RDWY54967     1985   FRUHF   1H2E00618FE014026   ELF‐1     IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY54968     1985   FRUHF   1H2E0061XFE014027   ELF‐1     TX               El Paso
 YRCF     DOLLY            DOL‐SA   RDWY54972     1985   FRUHF   1H2E00611FE014031   ELF‐1     MN               Saint Cloud
 YRCF     DOLLY            DOL‐SA   RDWY54980     1985   FRUHF   1H2E00616FE014039   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY54982     1985   FRUHF   1H2E00614FE014041   ELF‐1     LA               Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY54984     1985   FRUHF   1H2E00618FE014043   ELF‐1     British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY54988     1985   FRUHF   1H2E00615FE014047   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54990     1985   FRUHF   1H2E00619FE014049   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54991     1985   FRUHF   1H2E00615FE014050   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54994     1985   FRUHF   1H2E00610FE014053   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY54995     1985   FRUHF   1H2E00612FE014054   ELF‐1     IL               Wheeling
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 495 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY55001     1985   FRUHF   1H2E00618FE014060   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY55004     1985   FRUHF   1H2E00613FE014063   ELF‐1     MI      Taylor
 YRCF     DOLLY            DOL‐SA   RDWY55005     1985   FRUHF   1H2E00615FE014064   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY55007     1985   FRUHF   1H2E00619FE014066   ELF‐1     AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY55009     1985   FRUHF   1H2E00612FE014068   ELF‐1     AR      Springdale
 YRCF     DOLLY            DOL‐SA   RDWY55010     1985   FRUHF   1H2E00614FE014069   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY55013     1985   FRUHF   1H2E00614FE014072   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY55016     1985   FRUHF   1H2E0061XFE014075   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY55020     1985   FRUHF   1H2E00617FE014079   ELF‐1     NY      East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY55021     1985   FRUHF   1H2E00613FE014080   ELF‐1     RI      Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY55022     1985   FRUHF   1H2E00615FE014081   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55023     1985   FRUHF   1H2E00617FE014082   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY55025     1985   FRUHF   1H2E00610FE014084   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY55027     1985   FRUHF   1H2E00614FE014086   ELF‐1     FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY55028     1985   FRUHF   1H2E00616FE014087   ELF‐1     ME      Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY55031     1985   FRUHF   1H2E00616FE014090   ELF‐1     WA      Pasco
 YRCF     DOLLY            DOL‐SA   RDWY55033     1985   FRUHF   1H2E00610FH033202   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY55035     1985   FRUHF   1H2E00614FH033204   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY55040     1985   FRUHF   1H2E00613FH033209   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY55041     1985   FRUHF   1H2E0061XFH033210   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY55044     1985   FRUHF   1H2E00615FH033213   ELF‐1     CA      Eureka
 YRCF     DOLLY            DOL‐SA   RDWY55045     1985   FRUHF   1H2E00617FH033214   ELF‐1     RI      Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY55048     1985   FRUHF   1H2E00612FH033217   ELF‐1     TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY55049     1985   FRUHF   1H2E00614FH033218   ELF‐1     TX      Sherman
 YRCF     DOLLY            DOL‐SA   RDWY55050     1985   FRUHF   1H2E00616FH033219   ELF‐1     CA      San Diego
 YRCF     DOLLY            DOL‐SA   RDWY55053     1985   FRUHF   1H2E00616FH033222   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55056     1985   FRUHF   1H2E00611FH033225   ELF‐1     GA      Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY55057     1985   FRUHF   1H2E00613FH033226   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY55058     1985   FRUHF   1H2E00615FH033227   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55064     1985   FRUHF   1H2E00610FH033233   ELF‐1     DE      New Castle
 YRCF     DOLLY            DOL‐SA   RDWY55065     1985   FRUHF   1H2E00612FH033234   ELF‐1     WA      Everett
 YRCF     DOLLY            DOL‐SA   RDWY55067     1985   FRUHF   1H2E00616FH033236   ELF‐1     WI      Neenah
 YRCF     DOLLY            DOL‐SA   RDWY55068     1985   FRUHF   1H2E00618FH033237   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY55069     1985   FRUHF   1H2E0061XFH033238   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55071     1985   FRUHF   1H2E00618FH033240   ELF‐1     CA      San Bernardino
 YRCF     DOLLY            DOL‐SA   RDWY55075     1985   FRUHF   1H2E00615FH033244   ELF‐1     MN      Coon Rapids
 YRCF     DOLLY            DOL‐SA   RDWY55076     1985   FRUHF   1H2E00617FH033245   ELF‐1     NY      Rochester
 YRCF     DOLLY            DOL‐SA   RDWY55077     1985   FRUHF   1H2E00619FH033246   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY55079     1985   FRUHF   1H2E00612FH033248   ELF‐1     TX      Houston
 YRCF     DOLLY            DOL‐SA   RDWY55080     1985   FRUHF   1H2E00614FH033249   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55082     1985   FRUHF   1H2E00612FH033251   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55084     1985   FRUHF   1H2E00616FH033253   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55085     1985   FRUHF   1H2E00618FH033254   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY55086     1985   FRUHF   1H2E0061XFH033255   ELF‐1     GA      Macon
 YRCF     DOLLY            DOL‐SA   RDWY55087     1985   FRUHF   1H2E00611FH033256   ELF‐1     CA      Fresno
 YRCF     DOLLY            DOL‐SA   RDWY55088     1985   FRUHF   1H2E00613FH033257   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55090     1985   FRUHF   1H2E00617FH033259   ELF‐1     NJ      Jersey City
 YRCF     DOLLY            DOL‐SA   RDWY55093     1985   FRUHF   1H2E00617FH033262   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55094     1985   FRUHF   1H2E00619FH033263   ELF‐1     VA      Richmond
 YRCF     DOLLY            DOL‐SA   RDWY55095     1985   FRUHF   1H2E00610FH033264   ELF‐1     LA      Port Allen
 YRCF     DOLLY            DOL‐SA   RDWY55098     1985   FRUHF   1H2E00616FH033267   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY55099     1985   FRUHF   1H2E00618FH033268   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY55102     1985   FRUHF   1H2E00618FH033271   ELF‐1     MN      Owatonna
 YRCF     DOLLY            DOL‐SA   RDWY55103     1985   FRUHF   1H2E0061XFH033272   ELF‐1     CO      Henderson
 YRCF     DOLLY            DOL‐SA   RDWY55104     1985   FRUHF   1H2E00611FH033273   ELF‐1     ND      Minot
 YRCF     DOLLY            DOL‐SA   RDWY55105     1985   FRUHF   1H2E00613FH033274   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY55108     1985   FRUHF   1H2E00619FH033277   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY55109     1985   FRUHF   1H2E00610FH033278   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY55113     1985   FRUHF   1H2E00612FH033282   ELF‐1     NV      Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY55117     1985   FRUHF   1H2E0061XFH033286   ELF‐1     TX      San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY55118     1985   FRUHF   1H2E00611FH033287   ELF‐1     VA      Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY55121     1985   FRUHF   1H2E00611FH033290   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY55126     1985   FRUHF   1H2E00610FH033295   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55127     1985   FRUHF   1H2E00612FH033296   ELF‐1     CA      Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY55128     1985   FRUHF   1H2E0061JFH033297   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY55132     1985   FRUHF   1H2E00612FH033301   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY55136     1985   FRUHF   1H2E0061XFH033305   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55138     1985   FRUHF   1H2E00613FH033307   ELF‐1     NY      Glenmont
 YRCF     DOLLY            DOL‐SA   RDWY55140     1985   FRUHF   1H2E00617FH033309   ELF‐1     OH      Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 496 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY55143     1985   FRUHF   1H2E00617FH033312   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY55144     1985   FRUHF   1H2E00619FH033313   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY55147     1985   FRUHF   1H2E00614FH033316   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55150     1985   FRUHF   1H2E0061XFH033319   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY55152     1985   FRUHF   1H2E00618FH033321   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55153     1985   FRUHF   1H2E0061XFH033322   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY55154     1985   FRUHF   1H2E00611FH033323   ELF‐1     PA      Harrisburg
 YRCF     DOLLY            DOL‐SA   RDWY55156     1985   FRUHF   1H2E00615FH033325   ELF‐1     IL      Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY55158     1985   FRUHF   1H2E00619FH033327   ELF‐1     AL      Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY55160     1985   FRUHF   1H2E00612FH033329   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55162     1985   FRUHF   1H2E00610FH033331   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY55163     1985   FRUHF   1H2E00612FH033332   ELF‐1     LA      Port Allen
 YRCF     DOLLY            DOL‐SA   RDWY55165     1985   FRUHF   1H2E00616FH033334   ELF‐1     MD      Landover
 YRCF     DOLLY            DOL‐SA   RDWY55167     1985   FRUHF   1H2E0061XFH033336   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY55171     1985   FRUHF   1H2E00611FH033340   ELF‐1     CO      Clifton
 YRCF     DOLLY            DOL‐SA   RDWY55174     1985   FRUHF   1H2E00617FH033343   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY55177     1985   FRUHF   1H2E00612FH033346   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY55178     1985   FRUHF   1H2E00614FH033347   ELF‐1     WA      Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY55179     1985   FRUHF   1H2E00616FH033348   ELF‐1     WA      Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY55182     1985   FRUHF   1H2E00616FH033351   ELF‐1     OK      Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY55183     1985   FRUHF   1H2E00618FH033352   ELF‐1     VA      Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY55184     1985   FRUHF   1H2E0061XFH033353   ELF‐1     NC      Raleigh
 YRCF     DOLLY            DOL‐SA   RDWY55187     1985   FRUHF   1H2E00615FH033356   ELF‐1     TX      Eagle Pass
 YRCF     DOLLY            DOL‐SA   RDWY55189     1985   FRUHF   1H2E00619FH033358   ELF‐1     MN      Duluth
 YRCF     DOLLY            DOL‐SA   RDWY55190     1985   FRUHF   1H2E00610FH033359   ELF‐1     AL      Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY55192     1985   FRUHF   1H2E00619FH033361   ELF‐1     TX      Texarkana
 YRCF     DOLLY            DOL‐SA   RDWY55194     1985   FRUHF   1H2E00612FH033363   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY55202     1985   FRUHF   1H2E00611FH033371   ELF‐1     NY      Plattsburgh
 YRCF     DOLLY            DOL‐SA   RDWY55203     1985   FRUHF   1H2E00613FH033372   ELF‐1     IN      Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY55205     1985   FRUHF   1H2E00617FH033374   ELF‐1     ID      Meridian
 YRCF     DOLLY            DOL‐SA   RDWY55206     1985   FRUHF   1H2E00619FH033375   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY55208     1985   FRUHF   1H2E00612FH033377   ELF‐1     GA      Thomasville
 YRCF     DOLLY            DOL‐SA   RDWY55209     1985   FRUHF   1H2E00614FH033378   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY55213     1985   FRUHF   1H2E00616FH033382   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55215     1985   FRUHF   1H2E0061XFH033384   ELF‐1     MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY55216     1985   FRUHF   1H2E00611FH033385   ELF‐1     OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY55217     1985   FRUHF   1H2E00613FH033386   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY55220     1985   FRUHF   1H2E00619FH033389   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55227     1985   HOBBS   1H5E00616FM041105   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55229     1985   HOBBS   1H5E0061XFM041107   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY55230     1985   HOBBS   1H5E00611FM041108   ELF‐1     CA      Bakersfield
 YRCF     DOLLY            DOL‐SA   RDWY55236     1985   HOBBS   1H5E00617FM041114   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY55240     1985   HOBBS   1H5E00614FM041118   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55242     1985   HOBBS   1H5E00612FM041120   ELF‐1     FL      Fort Myers
 YRCF     DOLLY            DOL‐SA   RDWY55243     1985   HOBBS   1H5E00614FM041121   ELF‐1     MO      Sikeston
 YRCF     DOLLY            DOL‐SA   RDWY55244     1985   HOBBS   1H5E00616FM041122   ELF‐1     AL      Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY55245     1985   HOBBS   1H5E00618FM041123   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY55246     1985   HOBBS   1H5E0061XFM041124   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55247     1985   HOBBS   1H5E00611FM041125   ELF‐1     FL      Ocala
 YRCF     DOLLY            DOL‐SA   RDWY55249     1985   HOBBS   1H5E00615FM041127   ELF‐1     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY55251     1985   HOBBS   1H5E00619FM041129   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55252     1985   HOBBS   1H5E00615FM041130   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY55253     1985   HOBBS   1H5E00617FM041131   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55255     1985   HOBBS   1H5E00610FM041133   ELF‐1     MD      Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY55256     1985   HOBBS   1H5E00612FM041134   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55258     1985   HOBBS   1H5E00616FM041136   ELF‐1     WI      Milwaukee
 YRCF     DOLLY            DOL‐SA   RDWY55262     1985   HOBBS   1H5E00618FM041140   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55264     1985   HOBBS   1H5E00611FM041142   ELF‐1     CA      Anderson
 YRCF     DOLLY            DOL‐SA   RDWY55265     1985   HOBBS   1H5E00613FM041143   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55269     1985   HOBBS   1H5E00610FM041147   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55271     1985   HOBBS   1H5E00614FM041149   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55274     1985   HOBBS   1H5E00614FM041152   ELF‐1     PA      Mountain Top
 YRCF     DOLLY            DOL‐SA   RDWY55276     1985   HOBBS   1H5E00618FM041154   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY55277     1985   HOBBS   1H5E0061XFM041155   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY55278     1985   HOBBS   1H5E00611FM041156   ELF‐1     WI      Madison
 YRCF     DOLLY            DOL‐SA   RDWY55280     1985   HOBBS   1H5E00615FM041158   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY55285     1985   HOBBS   1H5E00619FM041163   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY55286     1985   HOBBS   1H5E00610FM041164   ELF‐1     AR      Springdale
 YRCF     DOLLY            DOL‐SA   RDWY55287     1985   HOBBS   1H5E00612FM041165   ELF‐1     UT      Salt Lake City
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 497 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY55289     1985   HOBBS   1H5E00616FM041167   ELF‐1     IL        Quincy
 YRCF     DOLLY            DOL‐SA   RDWY55291     1985   HOBBS   1H5E0061XFM041169   ELF‐1     CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY55293     1985   HOBBS   1H5E00618FM041171   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55295     1985   HOBBS   1H5E00611FM041173   ELF‐1     IA        Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY55297     1985   HOBBS   1H5E00615FM041175   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55298     1985   HOBBS   1H5E00612FM041201   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55300     1985   HOBBS   1H5E00616FM041203   ELF‐1     CO        Henderson
 YRCF     DOLLY            DOL‐SA   RDWY55301     1985   HOBBS   1H5E00618FM041204   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55302     1985   HOBBS   1H5E0061XFM041205   ELF‐1     PA        Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY55306     1985   HOBBS   1H5E00617FM041209   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55307     1985   HOBBS   1H5E00613FM041210   ELF‐1     CA        Fontana
 YRCF     DOLLY            DOL‐SA   RDWY55308     1985   HOBBS   1H5E00615FM041211   ELF‐1     AL        Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY55309     1985   HOBBS   1H5E00617FM041212   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY55310     1985   HOBBS   1H5E00619FM041213   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55312     1985   HOBBS   1H5E00612FM041215   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55314     1985   HOBBS   1H5E00616FM041217   ELF‐1     ID        Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY55316     1985   HOBBS   1H5E0061XFM041219   ELF‐1     WA        Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY55317     1985   HOBBS   1H5E00616FM041220   ELF‐1     OR        Albany
 YRCF     DOLLY            DOL‐SA   RDWY55319     1985   HOBBS   1H5E0061XFM041222   ELF‐1     OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY55320     1985   HOBBS   1H5E00611FM041223   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55329     1985   HOBBS   1H5E00612FM041232   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY55330     1985   HOBBS   1H5E00614FM041233   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY55331     1985   HOBBS   1H5E00616FM041234   ELF‐1     MN        Saint Cloud
 YRCF     DOLLY            DOL‐SA   RDWY55333     1985   HOBBS   1H5E0061XFM041236   ELF‐1     WI        Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY55335     1985   HOBBS   1H5E00613FM041238   ELF‐1     PQ        Dorval
 YRCF     DOLLY            DOL‐SA   RDWY55337     1985   HOBBS   1H5E00611FM041240   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55338     1985   HOBBS   1H5E00613FM041241   ELF‐1     GA        Macon
 YRCF     DOLLY            DOL‐SA   RDWY55341     1985   HOBBS   1H5E00619FM041244   ELF‐1     GA        Thomasville
 YRCF     DOLLY            DOL‐SA   RDWY55343     1985   HOBBS   1H5E00612FM041246   ELF‐1     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY55346     1985   HOBBS   1H5E00618FM041249   ELF‐1     NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY55348     1985   HOBBS   1H5E00616FM041251   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY55350     1985   FRUHF   1H2E00616FH068701   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55351     1985   FRUHF   1H2E00618FH068702   ELF‐1     CO        Colorado Springs
 YRCF     DOLLY            DOL‐SA   RDWY55352     1985   FRUHF   1H2E0061XFH068703   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55353     1985   FRUHF   1H2E0061?FH068704   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55354     1985   FRUHF   1H2E00613FH068705   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY55356     1985   FRUHF   1H2E00617FH068707   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55357     1985   FRUHF   1H2E00619FH068708   ELF‐1     WA        Spokane
 YRCF     DOLLY            DOL‐SA   RDWY55358     1985   FRUHF   1H2E00610FH068709   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55361     1985   FRUHF   1H2E00610FH068712   ELF‐1     MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY55363     1985   FRUHF   1H2E00614FH068714   ELF‐1     KY        Lexington
 YRCF     DOLLY            DOL‐SA   RDWY55365     1985   FRUHF   1H2E00618FH068716   ELF‐1     Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY55369     1985   FRUHF   1H2E0061XFH068720   ELF‐1     TX        Houston
 YRCF     DOLLY            DOL‐SA   RDWY55370     1985   FRUHF   1H2E00611FH068721   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY55372     1985   FRUHF   1H2E00615FH068723   ELF‐1     FL        Fort Myers
 YRCF     DOLLY            DOL‐SA   RDWY55373     1985   FRUHF   1H2E00617FH068724   ELF‐1     IL        McCook
 YRCF     DOLLY            DOL‐SA   RDWY55375     1985   FRUHF   1H2E00610FH068726   ELF‐1     PA        Bedford
 YRCF     DOLLY            DOL‐SA   RDWY55376     1985   FRUHF   1H2E00612FH068727   ELF‐1     OK        Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY55378     1985   FRUHF   1H2E00616FH068729   ELF‐1     TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY55380     1985   FRUHF   1H2E00614FH068731   ELF‐1     NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY55381     1985   FRUHF   1H2E00616FH068732   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55383     1985   FRUHF   1H2E0061XFH068734   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55386     1985   FRUHF   1H2E00615FH068737   ELF‐1     IL        McCook
 YRCF     DOLLY            DOL‐SA   RDWY55387     1985   FRUHF   1H2E00617FH068738   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55389     1985   FRUHF   1H2E00615FH068740   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY55392     1985   FRUHF   1H2E00610FH068743   ELF‐1     NC        Kernersville
 YRCF     DOLLY            DOL‐SA   RDWY55393     1985   FRUHF   1H2E00612FH068744   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY55398     1985   FRUHF   1H2E00611FH068749   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55399     1985   FRUHF   1H2E00618FH068750   ELF‐1     WI        Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY55400     1985   FRUHF   1H2E0061XFH068751   ELF‐1     TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY55401     1985   FRUHF   1H2E00611FH068752   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY55402     1985   FRUHF   1H2E00613FH068753   ELF‐1     WA        Bellingham
 YRCF     DOLLY            DOL‐SA   RDWY55404     1985   FRUHF   1H2E00617FH068755   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55405     1985   FRUHF   1H2E00619FH068756   ELF‐1     CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY55406     1985   FRUHF   1H2E00610FH068757   ELF‐1     VA        Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY55408     1985   FRUHF   1H2E00614FH068759   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55409     1985   FRUHF   1H2E00610FH068760   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY55411     1985   FRUHF   1H2E00614FH068762   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55412     1985   FRUHF   1H2E00616FH068763   ELF‐1     TN        Nashville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 498 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY55414     1985   FRUHF   1H2E0061XFH068765   ELF‐1     WA        Spokane
 YRCF     DOLLY            DOL‐SA   RDWY55415     1985   FRUHF   1H2E00611FH068766   ELF‐1     NY        East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY55416     1985   FRUHF   1H2E00613FH068767   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55417     1985   FRUHF   1H2E00615FH068768   ELF‐1     TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY55419     1985   FRUHF   1H2E00613FH068770   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55421     1985   FRUHF   1H2E00617FH068772   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY55424     1985   FRUHF   1H2E00612FH068775   ELF‐1     FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY55427     1985   FRUHF   1H2E00618FH068778   ELF‐1     OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY55429     1985   FRUHF   1H2E00616FH068780   ELF‐1     TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY55431     1985   FRUHF   1H2E0061XFH068782   ELF‐1     CA        Hayward
 YRCF     DOLLY            DOL‐SA   RDWY55433     1985   FRUHF   1H2E00613FH068784   ELF‐1     TN        Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY55436     1985   FRUHF   1H2E00619FH068787   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55439     1985   FRUHF   1H2E00619FH068790   ELF‐1     CA        Orange
 YRCF     DOLLY            DOL‐SA   RDWY55441     1985   FRUHF   1H2E00612FH068792   ELF‐1     CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY55445     1985   FRUHF   1H2E0061XFH068796   ELF‐1     OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY55446     1985   FRUHF   1H2E00611FH068797   ELF‐1     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY55447     1985   FRUHF   1H2E00613FH068798   ELF‐1     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY55449     1985   FRUHF   1H2E00618FH068800   ELF‐1     MA        Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY55450     1986   FRUHF   1H2E00613GH031901   ELF‐1     CA        Gardena
 YRCF     DOLLY            DOL‐SA   RDWY55451     1986   FRUHF   1H2E00615GH031902   ELF‐1     CA        Fontana
 YRCF     DOLLY            DOL‐SA   RDWY55452     1986   FRUHF   1H2E00617GH031903   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY55454     1986   FRUHF   1H2E00610GH031905   ELF‐1     PA        Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY55455     1986   FRUHF   1H2E00612GH031906   ELF‐1     MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY55456     1986   FRUHF   1H2E00614GH031907   ELF‐1     MS        Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY55457     1986   FRUHF   1H2E00616GH031908   ELF‐1     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY55459     1986   FRUHF   1H2E00614GH031910   ELF‐1     FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY55461     1986   FRUHF   1H2E00618GH031912   ELF‐1     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY55465     1986   FRUHF   1H2E00615GH031916   ELF‐1     CA        Bakersfield
 YRCF     DOLLY            DOL‐SA   RDWY55468     1986   FRUHF   1H2E00610GH031919   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55472     1986   FRUHF   1H2E00612GH031923   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY55483     1986   FRUHF   1H2E00617GH031934   ELF‐1     MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY55484     1986   FRUHF   1H2E00619GH031935   ELF‐1     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY55486     1986   FRUHF   1H2E00612GH031937   ELF‐1     NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY55487     1986   FRUHF   1H2E00614GH031938   ELF‐1     PA        Shippensburg
 YRCF     DOLLY            DOL‐SA   RDWY55488     1986   FRUHF   1H2E00616GH031939   ELF‐1     MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY55490     1986   FRUHF   1H2E00614GH031941   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55493     1986   FRUHF   1H2E0061XGH031944   ELF‐1     WI        Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY55495     1986   FRUHF   1H2E00613GH031946   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55496     1986   FRUHF   1H2E00615GH031947   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55498     1986   FRUHF   1H2E00619GH031949   ELF‐1     NH        Bedford
 YRCF     DOLLY            DOL‐SA   RDWY55499     1986   FRUHF   1H2E00615GH031950   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55500     1986   FRUHF   1H2E00617GH031951   ELF‐1     GA        Richmond Hill
 YRCF     DOLLY            DOL‐SA   RDWY55504     1986   FRUHF   1H2E00614GH031955   ELF‐1     CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY55506     1986   FRUHF   1H2E00618GH031957   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55508     1986   FRUHF   1H2E00611GH031959   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY55510     1986   FRUHF   1H2E0061XGH031961   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY55512     1986   FRUHF   1H2E00613GH031963   ELF‐1     TX        Houston
 YRCF     DOLLY            DOL‐SA   RDWY55513     1986   FRUHF   1H2E00615GH031964   ELF‐1     Alberta   Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY55514     1986   FRUHF   1H2E00617GH031965   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55516     1986   FRUHF   1H2E00610GH031967   ELF‐1     TX        Dallas
 YRCF     DOLLY            DOL‐SA   RDWY55518     1986   FRUHF   1H2E00614GH031969   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55525     1986   FRUHF   1H2E00611GH031976   ELF‐1     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY55527     1986   FRUHF   1H2E00615GH031978   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55530     1986   FRUHF   1H2E00615GH031981   ELF‐1     LA        New Orleans
 YRCF     DOLLY            DOL‐SA   RDWY55531     1986   FRUHF   1H2E00617GH031982   ELF‐1     WA        Everett
 YRCF     DOLLY            DOL‐SA   RDWY55533     1986   FRUHF   1H2E00610GH031984   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY55534     1986   FRUHF   1H2E00612GH031985   ELF‐1     WI        Neenah
 YRCF     DOLLY            DOL‐SA   RDWY55535     1986   FRUHF   1H2E00614GH031986   ELF‐1     MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY55537     1986   FRUHF   1H2E00618GH031988   ELF‐1     OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY55540     1986   FRUHF   1H2E00618GH031991   ELF‐1     MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY55541     1986   FRUHF   1H2E0061XGH031992   ELF‐1     MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY55542     1986   FRUHF   1H2E00611GH031993   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55543     1986   FRUHF   1H2E00613GH031994   ELF‐1     CA        West Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY55545     1986   FRUHF   1H2E00617GH031996   ELF‐1     LA        Alexandria
 YRCF     DOLLY            DOL‐SA   RDWY55548     1986   FRUHF   1H2E00612GH031999   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY55551     1986   FRUHF   1H2E00617GH032002   ELF‐1     IL        Quincy
 YRCF     DOLLY            DOL‐SA   RDWY55554     1986   FRUHF   1H2E00612GH032005   ELF‐1     WA        Bellingham
 YRCF     DOLLY            DOL‐SA   RDWY55556     1986   FRUHF   1H2E00616GH032007   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY55557     1986   FRUHF   1H2E00618GH032008   ELF‐1     NY        Deer Park
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 499 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     DOLLY            DOL‐SA   RDWY55558     1986   FRUHF   1H2E0061XGH032009   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55560     1986   FRUHF   1H2E00618GH032011   ELF‐1     LA         Port Allen
 YRCF     DOLLY            DOL‐SA   RDWY55562     1986   FRUHF   1H2E00611GH032013   ELF‐1     PA         Erie
 YRCF     DOLLY            DOL‐SA   RDWY55563     1986   FRUHF   1H2E00613GH032014   ELF‐1     AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY55564     1986   FRUHF   1H2E00615GH032015   ELF‐1     IN         Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY55565     1986   FRUHF   1H2E00617GH032016   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55572     1986   FRUHF   1H2E00614GH032023   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55573     1986   FRUHF   1H2E00616GH032024   ELF‐1     IN         South Bend
 YRCF     DOLLY            DOL‐SA   RDWY55575     1986   FRUHF   1H2E0061XGH032026   ELF‐1     CA         Tracy
 YRCF     DOLLY            DOL‐SA   RDWY55577     1986   FRUHF   1H2E00613GH032028   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55578     1986   FRUHF   1H2E00615GH032029   ELF‐1     IN         South Bend
 YRCF     DOLLY            DOL‐SA   RDWY55579     1986   FRUHF   1H2E00611GH032030   ELF‐1     AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY55580     1986   FRUHF   1H2E00613GH032031   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY55581     1986   FRUHF   1H2E00615GH032032   ELF‐1     FL         Miami
 YRCF     DOLLY            DOL‐SA   RDWY55583     1986   FRUHF   1H2E00619GH032034   ELF‐1     FL         Miami
 YRCF     DOLLY            DOL‐SA   RDWY55587     1986   FRUHF   1H2E00616GH032038   ELF‐1     CA         Sun Valley
 YRCF     DOLLY            DOL‐SA   RDWY55590     1986   FRUHF   1H2E00616GH032041   ELF‐1     CA         Los Angeles
 YRCF     DOLLY            DOL‐SA   RDWY55591     1986   FRUHF   1H2E00618GH032042   ELF‐1     OH         Columbus
 YRCF     DOLLY            DOL‐SA   RDWY55593     1986   FRUHF   1H2E00611GH032044   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55594     1986   FRUHF   1H2E00613GH032045   ELF‐1     MN         Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY55595     1986   FRUHF   1H2E00615GH032046   ELF‐1     OH         Copley
 YRCF     DOLLY            DOL‐SA   RDWY55596     1986   FRUHF   1H2E00617GH032047   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55597     1986   FRUHF   1H2E00619GH032048   ELF‐1     OH         Copley
 YRCF     DOLLY            DOL‐SA   RDWY55599     1986   FRUHF   1H2E00617GH032050   ELF‐1     MI         Norway
 YRCF     DOLLY            DOL‐SA   RDWY55600     1986   FRUHF   1H2E00619GH032051   ELF‐1     NJ         South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY55601     1986   FRUHF   1H2E00610GH032052   ELF‐1     WY         Wamsutter
 YRCF     DOLLY            DOL‐SA   RDWY55603     1986   FRUHF   1H2E00614GH032054   ELF‐1     IN         South Bend
 YRCF     DOLLY            DOL‐SA   RDWY55606     1986   FRUHF   1H2E0061XGH032057   ELF‐1     MN         Saint Cloud
 YRCF     DOLLY            DOL‐SA   RDWY55607     1986   FRUHF   1H2E00611GH032058   ELF‐1     UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY55614     1986   FRUHF   1H2E00619GH032065   ELF‐1     CO         Aurora
 YRCF     DOLLY            DOL‐SA   RDWY55615     1986   FRUHF   1H2E00610GH032066   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY55616     1986   FRUHF   1H2E00612GH032067   ELF‐1     OK         Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY55618     1986   FRUHF   1H2E00616GH032069   ELF‐1     MN         Coon Rapids
 YRCF     DOLLY            DOL‐SA   RDWY55621     1986   FRUHF   1H2E00616GH032072   ELF‐1     OH         Copley
 YRCF     DOLLY            DOL‐SA   RDWY55622     1986   FRUHF   1H2E00618GH032073   ELF‐1     NJ         Kearny
 YRCF     DOLLY            DOL‐SA   RDWY55623     1986   FRUHF   1H2E0061XGH032074   ELF‐1     MA         Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY55624     1986   FRUHF   1H2E00611GH032075   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55625     1986   FRUHF   1H2E00613GH032076   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY55626     1986   FRUHF   1H2E00615GH032077   ELF‐1     OK         Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY55628     1986   FRUHF   1H2E00619GH032079   ELF‐1     NE         Bridgeport
 YRCF     DOLLY            DOL‐SA   RDWY55634     1986   FRUHF   1H2E00614GH032085   ELF‐1     WI         Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY55636     1986   FRUHF   1H2E00618GH032087   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55637     1986   FRUHF   1H2E0061XGH032088   ELF‐1     IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55638     1986   FRUHF   1H2E00611GH032089   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55639     1986   FRUHF   1H2E00618GH032090   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55641     1986   FRUHF   1H2E00611GH032092   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55644     1986   FRUHF   1H2E00617GH032095   ELF‐1     WA         Seattle
 YRCF     DOLLY            DOL‐SA   RDWY55648     1986   FRUHF   1H2E00614GH032099   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55649     1986   FRUHF   1H2E00617GH032100   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY55652     1986   FRUHF   1H2E00612GH032103   ELF‐1     TX         Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY55656     1986   FRUHF   1H2E0061XGH032107   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55657     1986   FRUHF   1H2E00611GH032108   ELF‐1     GA         Marietta
 YRCF     DOLLY            DOL‐SA   RDWY55658     1986   FRUHF   1H2E00613GH032109   ELF‐1     TX         Sherman
 YRCF     DOLLY            DOL‐SA   RDWY55659     1986   FRUHF   1H2E0061XGH032110   ELF‐1     NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55660     1986   FRUHF   1H2E00611GH032111   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55661     1986   FRUHF   1H2E00613GH032112   ELF‐1     Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY55662     1986   FRUHF   1H2E00615GH032113   ELF‐1     TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY55664     1986   FRUHF   1H2E00619GH032115   ELF‐1     MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY55665     1986   FRUHF   1H2E00610GH032116   ELF‐1     WA         Spokane
 YRCF     DOLLY            DOL‐SA   RDWY55667     1986   FRUHF   1H2E00614GH032118   ELF‐1     NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY55670     1986   FRUHF   1H2E00614GH032121   ELF‐1     MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY55671     1986   FRUHF   1H2E00616GH032122   ELF‐1     CA         Fresno
 YRCF     DOLLY            DOL‐SA   RDWY55673     1986   FRUHF   1H2E0061XGH032124   ELF‐1     OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY55675     1986   FRUHF   1H2E00613GH032126   ELF‐1     MN         Saint Cloud
 YRCF     DOLLY            DOL‐SA   RDWY55676     1986   FRUHF   1H2E00615GH032127   ELF‐1     TN         Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY55681     1986   FRUHF   1H2E00619GH032132   ELF‐1     OK         Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY55683     1986   FRUHF   1H2E00612GH032134   ELF‐1     MD         Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY55684     1986   FRUHF   1H2E00614GH032135   ELF‐1     MD         Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY55686     1986   FRUHF   1H2E00618GH032137   ELF‐1     CA         San Bernardino
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 500 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State    City
 YRCF     DOLLY            DOL‐SA   RDWY55687     1986   FRUHF   1H2E0061XGH032138   ELF‐1     GA       Savannah
 YRCF     DOLLY            DOL‐SA   RDWY55688     1986   FRUHF   1H2E00611GH032139   ELF‐1     IL       Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55690     1986   FRUHF   1H2E0061XGH032141   ELF‐1     MS       Richland
 YRCF     DOLLY            DOL‐SA   RDWY55694     1986   FRUHF   1H2E00617GH032145   ELF‐1     VA       Richmond
 YRCF     DOLLY            DOL‐SA   RDWY55695     1986   FRUHF   1H2E00619GH032146   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55696     1986   FRUHF   1H2E00610GH032147   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55698     1986   FRUHF   1H2E00614GH032149   ELF‐1     OR       Central Point
 YRCF     DOLLY            DOL‐SA   RDWY55700     1986   FRUHF   1H2E00612GH032151   ELF‐1     MD       Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY55703     1986   FRUHF   1H2E00618GH032154   ELF‐1     OH       Columbus
 YRCF     DOLLY            DOL‐SA   RDWY55704     1986   FRUHF   1H2E0061XGH032155   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55705     1986   FRUHF   1H2E00611GH032156   ELF‐1     MS       Richland
 YRCF     DOLLY            DOL‐SA   RDWY55706     1986   FRUHF   1H2E00613GH032157   ELF‐1     MN       Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY55709     1986   FRUHF   1H2E00613GH032160   ELF‐1     FL       Miami
 YRCF     DOLLY            DOL‐SA   RDWY55713     1986   FRUHF   1H2E00610GH032164   ELF‐1     OH       Dayton
 YRCF     DOLLY            DOL‐SA   RDWY55714     1986   FRUHF   1H2E00612GH032165   ELF‐1     NJ       South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY55715     1986   FRUHF   1H2E00614GH032166   ELF‐1     NY       Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY55717     1986   FRUHF   1H2E00618GH032168   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55718     1986   FRUHF   1H2E0061XGH032169   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55724     1986   FRUHF   1H2E00615GH032175   ELF‐1     MT       Butte
 YRCF     DOLLY            DOL‐SA   RDWY55725     1986   FRUHF   1H2E00617GH032176   ELF‐1     TX       Irving
 YRCF     DOLLY            DOL‐SA   RDWY55726     1986   FRUHF   1H2E00619GH032177   ELF‐1     AL       Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY55727     1986   FRUHF   1H2E00610GH032178   ELF‐1     IL       Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55728     1986   FRUHF   1H2E00612GH032179   ELF‐1     TX       El Paso
 YRCF     DOLLY            DOL‐SA   RDWY55732     1986   FRUHF   1H2E00614GH032183   ELF‐1     NC       Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55737     1986   FRUHF   1H2E00613GH032188   ELF‐1     IN       South Bend
 YRCF     DOLLY            DOL‐SA   RDWY55746     1986   FRUHF   1H2E00614GH032197   ELF‐1     ID       Pocatello
 YRCF     DOLLY            DOL‐SA   RDWY55749     1986   FRUHF   1H2E00610GH032200   ELF‐1     CA       Willows
 YRCF     DOLLY            DOL‐SA   RDWY55750     1986   FRUHF   1H2E00612GH032201   ELF‐1     CO       Aurora
 YRCF     DOLLY            DOL‐SA   RDWY55752     1986   FRUHF   1H2E00616GH032203   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55753     1986   FRUHF   1H2E00618GH032204   ELF‐1     OR       Central Point
 YRCF     DOLLY            DOL‐SA   RDWY55754     1986   FRUHF   1H2E0061XGH032205   ELF‐1     TX       Waco
 YRCF     DOLLY            DOL‐SA   RDWY55756     1986   FRUHF   1H2E00613GH032207   ELF‐1     AZ       Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY55757     1986   FRUHF   1H2E00615GH032208   ELF‐1     MI       Romulus
 YRCF     DOLLY            DOL‐SA   RDWY55758     1986   FRUHF   1H2E00617GH032209   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55762     1986   FRUHF   1H2E00619GH032213   ELF‐1     UT       Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY55763     1986   FRUHF   1H2E00610GH032214   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55764     1986   FRUHF   1H2E00612GH032215   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55766     1986   FRUHF   1H2E00616GH032217   ELF‐1     MO       Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY55767     1986   FRUHF   1H2E00618GH032218   ELF‐1     TX       El Paso
 YRCF     DOLLY            DOL‐SA   RDWY55770     1986   FRUHF   1H2E00618GH032221   ELF‐1     NY       Deer Park
 YRCF     DOLLY            DOL‐SA   RDWY55771     1986   FRUHF   1H2E0061XGH032222   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55776     1986   FRUHF   1H2E00619GH032227   ELF‐1     NY       Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY55778     1986   FRUHF   1H2E00612GH032229   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55781     1986   FRUHF   1H2E00612GH032232   ELF‐1     NE       Kearney
 YRCF     DOLLY            DOL‐SA   RDWY55785     1986   FRUHF   1H2E0061XGH032236   ELF‐1     IN       Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY55788     1986   FRUHF   1H2E00615GH032239   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55791     1986   FRUHF   1H2E00615GH032242   ELF‐1     VA       Richmond
 YRCF     DOLLY            DOL‐SA   RDWY55792     1986   FRUHF   1H2E00617GH032243   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55793     1986   FRUHF   1H2E00619GH032244   ELF‐1     TX       Irving
 YRCF     DOLLY            DOL‐SA   RDWY55794     1986   FRUHF   1H2E00610GH032245   ELF‐1     VA       Christiansburg
 YRCF     DOLLY            DOL‐SA   RDWY55797     1986   FRUHF   1H2E00616GH032248   ELF‐1     MO       Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY55799     1986   FRUHF   1H2E00614GH032250   ELF‐1     CA       San Diego
 YRCF     DOLLY            DOL‐SA   RDWY55800     1986   FRUHF   1H2E00616GH032251   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55803     1986   FRUHF   1H2E00611GH032254   ELF‐1     TN       Jackson
 YRCF     DOLLY            DOL‐SA   RDWY55805     1986   FRUHF   1H2E00615GH032256   ELF‐1     IL       Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55806     1986   FRUHF   1H2E00617GH032257   ELF‐1     AR       Springdale
 YRCF     DOLLY            DOL‐SA   RDWY55808     1986   FRUHF   1H2E00610GH032259   ELF‐1     PA       Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY55810     1986   FRUHF   1H2E0081XGA019301   ELF‐1     PA       Line Lexington
 YRCF     DOLLY            DOL‐SA   RDWY55811     1986   FRUHF   1H2E00811GA019302   ELF‐1     GA       Marietta
 YRCF     DOLLY            DOL‐SA   RDWY55812     1986   FRUHF   1H2E00813GA019303   ELF‐1     Quebec   Quebec City
 YRCF     DOLLY            DOL‐SA   RDWY55816     1986   FRUHF   1H2E00810GA019307   ELF‐1     CO       Aurora
 YRCF     DOLLY            DOL‐SA   RDWY55819     1986   FRUHF   1H2E00810GA019310   ELF‐1     MO       Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY55820     1986   FRUHF   1H2E00812GA019311   ELF‐1     PA       Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY55825     1986   FRUHF   1H2E00811GA019316   ELF‐1     OH       Akron
 YRCF     DOLLY            DOL‐SA   RDWY55827     1986   FRUHF   1H2E00815GA019318   ELF‐1     TN       Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY55833     1986   FRUHF   1H2E00810GA019324   ELF‐1     OR       Portland
 YRCF     DOLLY            DOL‐SA   RDWY55834     1986   FRUHF   1H2E00812GA019325   ELF‐1     IN       Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY55835     1986   FRUHF   1H2E00814GA019326   ELF‐1     IL       Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY55836     1986   FRUHF   1H2E00816GA019327   ELF‐1     OH       Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 501 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY55837     1986   FRUHF   1H2E00818GA019328   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY55838     1986   FRUHF   1H2E0081XGA019329   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY55840     1986   FRUHF   1H2E00818GA019331   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY55842     1986   FRUHF   1H2E00811GA019333   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY55849     1986   FRUHF   1H2E00819GA019340   ELF‐1     NY      East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY55851     1986   FRUHF   1H2E00812GA019342   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55852     1986   FRUHF   1H2E00814GA019343   ELF‐1     MD      Landover
 YRCF     DOLLY            DOL‐SA   RDWY55853     1986   FRUHF   1H2E00816GA019344   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY55854     1986   FRUHF   1H2E00818GA019345   ELF‐1     TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY55857     1986   FRUHF   1H2E00813GA019348   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55859     1986   FRUHF   1H2E00811GA019350   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY55861     1986   FRUHF   1H2E00815GA019352   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55862     1986   FRUHF   1H2E00817GA019353   ELF‐1     VA      Richmond
 YRCF     DOLLY            DOL‐SA   RDWY55863     1986   FRUHF   1H2E00819GA019354   ELF‐1     ID      Meridian
 YRCF     DOLLY            DOL‐SA   RDWY55867     1986   FRUHF   1H2E00816GA019358   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55868     1986   FRUHF   1H2E00818GA019359   ELF‐1     ME      Fairfield
 YRCF     DOLLY            DOL‐SA   RDWY55870     1986   FRUHF   1H2E00816GA019361   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY55872     1986   FRUHF   1H2E0081XGA019363   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY55873     1986   FRUHF   1H2E00811GA019364   ELF‐1     LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY55876     1986   FRUHF   1H2E00817GA019367   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY55879     1986   FRUHF   1H2E00817GA019370   ELF‐1     WA      Spokane
 YRCF     DOLLY            DOL‐SA   RDWY55880     1986   FRUHF   1H2E00819GA019371   ELF‐1     MI      Gaylord
 YRCF     DOLLY            DOL‐SA   RDWY55882     1986   FRUHF   1H2E00812GA019373   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55883     1986   FRUHF   1H2E00814GA019374   ELF‐1     CA      Willows
 YRCF     DOLLY            DOL‐SA   RDWY55889     1986   FRUHF   1H2E0081XGA019380   ELF‐1     SD      Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY55891     1986   FRUHF   1H2E00813GA019382   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY55896     1986   FRUHF   1H2E00812GA019387   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY55898     1986   FRUHF   1H2E00816GA019389   ELF‐1     MI      Birch Run
 YRCF     DOLLY            DOL‐SA   RDWY55899     1986   FRUHF   1H2E00812GA019390   ELF‐1     GA      Ringgold
 YRCF     DOLLY            DOL‐SA   RDWY55901     1986   FRUHF   1H2E00816GA019392   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY55904     1986   FRUHF   1H2E00811GA019395   ELF‐1     MD      Landover
 YRCF     DOLLY            DOL‐SA   RDWY55905     1986   FRUHF   1H2E00813GA019396   ELF‐1     IL      Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY55906     1986   FRUHF   1H2E00815GA019397   ELF‐1     AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY55907     1986   FRUHF   1H2E00817GA019398   ELF‐1     IN      Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY55910     1986   FRUHF   1H2E00813GA019401   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY55911     1986   FRUHF   1H2E00815GA019402   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY55913     1986   FRUHF   1H2E00819GA019404   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55914     1986   FRUHF   1H2E00810GA019405   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55916     1986   FRUHF   1H2E00814GA019407   ELF‐1     IL      Hodgkins
 YRCF     DOLLY            DOL‐SA   RDWY55918     1986   FRUHF   1H2E00818GA019409   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY55919     1986   FRUHF   1H2E00814GA019410   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY55920     1986   FRUHF   1H2E00816GA019411   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55923     1986   FRUHF   1H2E00811GA019414   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY55925     1986   FRUHF   1H2E00815GA019416   ELF‐1     WI      Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY55927     1986   FRUHF   1H2E00819GA019418   ELF‐1     NJ      Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY55928     1986   FRUHF   1H2E00810GA019419   ELF‐1     OH      Dayton
 YRCF     DOLLY            DOL‐SA   RDWY55929     1986   FRUHF   1H2E00817GA019420   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY55930     1986   FRUHF   1H2E00819GA019421   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY55932     1986   FRUHF   1H2E00812GA019423   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY55933     1986   FRUHF   1H2E00814GA019424   ELF‐1     TN      Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY55934     1986   FRUHF   1H2E00816GA019425   ELF‐1     VA      Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY55936     1986   FRUHF   1H2E0081XGA019427   ELF‐1     NY      Brooklyn
 YRCF     DOLLY            DOL‐SA   RDWY55937     1986   FRUHF   1H2E00811GA019428   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55938     1986   FRUHF   1H2E00813GA019429   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY55939     1986   FRUHF   1H2E0081XGA019430   ELF‐1     TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY55940     1986   FRUHF   1H2E00811GA019431   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY55941     1986   FRUHF   1H2E00813GA019432   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY55942     1986   FRUHF   1H2E00815GA019433   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY55945     1986   FRUHF   1H2E00810GA019436   ELF‐1     MS      Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY55952     1986   FRUHF   1H2E00818GA019443   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55953     1986   FRUHF   1H2E0081XGA019444   ELF‐1     IL      Atlanta
 YRCF     DOLLY            DOL‐SA   RDWY55955     1986   FRUHF   1H2E00813GA019446   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY55956     1986   FRUHF   1H2E00815GA019447   ELF‐1     WV      Asbury
 YRCF     DOLLY            DOL‐SA   RDWY55958     1986   FRUHF   1H2E00819GA019449   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY55959     1986   FRUHF   1H2E00815GA019450   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY55961     1986   FRUHF   1H2E00819GA019452   ELF‐1     TX      San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY55963     1986   FRUHF   1H2E00812GA019454   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY55964     1986   FRUHF   1H2E00814GA019455   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY55965     1986   FRUHF   1H2E00816GA019456   ELF‐1     PA      Bethlehem
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 502 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY55967     1986   FRUHF   1H2E0081XGA019458   ELF‐1     WA        Everett
 YRCF     DOLLY            DOL‐SA   RDWY55968     1986   FRUHF   1H2E00811GA019459   ELF‐1     WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY55970     1986   FRUHF   1H2E0081XGA019461   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY55972     1986   FRUHF   1H2E00813GA019463   ELF‐1     OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY55974     1986   FRUHF   1H2E00817GA019465   ELF‐1     TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY55979     1986   FRUHF   1H2E00811GA019470   ELF‐1     OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY55980     1986   FRUHF   1H2E00812GA019471   ELF‐1     MS        Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY55982     1986   FRUHF   1H2E00816GA019473   ELF‐1     MA        North Reading
 YRCF     DOLLY            DOL‐SA   RDWY55983     1986   FRUHF   1H2E00818GA019474   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY55986     1986   FRUHF   1H2E00813GA019477   ELF‐1     NE        Kearney
 YRCF     DOLLY            DOL‐SA   RDWY55987     1986   FRUHF   1H2E00815GA019478   ELF‐1     FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY55988     1986   FRUHF   1H2E00817GA019479   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY55989     1986   FRUHF   1H2E00813GA019480   ELF‐1     CT        Cheshire
 YRCF     DOLLY            DOL‐SA   RDWY55991     1986   FRUHF   1H2E00817GA019482   ELF‐1     IL        Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY55992     1986   FRUHF   1H2E00819GA019483   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55993     1986   FRUHF   1H2E00810GA019484   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY55994     1986   FRUHF   1H2E00812GA019485   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY55995     1986   FRUHF   1H2E00814GA019486   ELF‐1     CA        Fontana
 YRCF     DOLLY            DOL‐SA   RDWY56000     1986   FRUHF   1H2E00818GA019491   ELF‐1     FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY56001     1986   FRUHF   1H2E0081XGA019492   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56003     1986   FRUHF   1H2E00813GA019494   ELF‐1     MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY56005     1986   FRUHF   1H2E00817GA019496   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56006     1986   FRUHF   1H2E00819GA019497   ELF‐1     AR        Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY56008     1986   FRUHF   1H2E00812GA019499   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56009     1986   FRUHF   1H2E00815GA019500   ELF‐1     TX        McAllen
 YRCF     DOLLY            DOL‐SA   RDWY56010     1986   FRUHF   1H2E00817GA019501   ELF‐1     WA        Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY56014     1986   FRUHF   1H2E00814GA019505   ELF‐1     IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY56015     1986   FRUHF   1H2E00816GA019506   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY56021     1986   FRUHF   1H2E00811GA019512   ELF‐1     VT        Bellows Falls
 YRCF     DOLLY            DOL‐SA   RDWY56022     1986   FRUHF   1H2E00813GA019513   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56023     1986   FRUHF   1H2E00815GA019514   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY56024     1986   FRUHF   1H2E00817GA019515   ELF‐1     ID        Meridian
 YRCF     DOLLY            DOL‐SA   RDWY56026     1986   FRUHF   1H2E00810GA019517   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56028     1986   FRUHF   1H2E00814GA019519   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56035     1986   FRUHF   1H2E00811GA019526   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56037     1986   FRUHF   1H2E00815GA019528   ELF‐1     MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY56038     1986   FRUHF   1H2E00817GA019529   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY56039     1986   FRUHF   1H2E00813GA019530   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56042     1986   FRUHF   1H2E00819GA019533   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY56049     1986   FRUHF   1H2E00816GA019540   ELF‐1     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY56054     1986   FRUHF   1H2E00815GA019545   ELF‐1     CA        San Bernardino
 YRCF     DOLLY            DOL‐SA   RDWY56055     1986   FRUHF   1H2E00817GA019546   ELF‐1     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY56060     1986   FRUHF   1H2E00612GH051301   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY56061     1986   FRUHF   1H2E00614GH051302   ELF‐1     OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY56062     1986   FRUHF   1H2E00616GH051303   ELF‐1     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY56063     1986   FRUHF   1H2E00618GH051304   ELF‐1     FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY56064     1986   FRUHF   1H2E0061XGH051305   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56066     1986   FRUHF   1H2E00613GH051307   ELF‐1     IA        Mason City
 YRCF     DOLLY            DOL‐SA   RDWY56067     1986   FRUHF   1H2E00615GH051308   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56068     1986   FRUHF   1H2E00617GH051309   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY56070     1986   FRUHF   1H2E00615GH051311   ELF‐1     CA        Downey
 YRCF     DOLLY            DOL‐SA   RDWY56078     1986   FRUHF   1H2E0061XGH051319   ELF‐1     TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY56081     1986   FRUHF   1H2E0061XGH051322   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY56082     1986   FRUHF   1H2E00611GH051323   ELF‐1     ID        Meridian
 YRCF     DOLLY            DOL‐SA   RDWY56083     1986   FRUHF   1H2E00613GH051324   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56084     1986   FRUHF   1H2E00615GH051325   ELF‐1     FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY56085     1986   FRUHF   1H2E00617GH051326   ELF‐1     WY        Cheyenne
 YRCF     DOLLY            DOL‐SA   RDWY56088     1986   FRUHF   1H2E00612GH051329   ELF‐1     KS        Salina
 YRCF     DOLLY            DOL‐SA   RDWY56092     1986   FRUHF   1H2E00614GH051333   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56094     1986   FRUHF   1H2E00618GH051335   ELF‐1     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY56096     1986   FRUHF   1H2E00611GH051337   ELF‐1     NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY56099     1986   FRUHF   1H2E00611GH051340   ELF‐1     NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY56100     1986   FRUHF   1H2E00613GH051341   ELF‐1     RI        Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY56101     1986   FRUHF   1H2E00615GH051342   ELF‐1     ND        Fargo
 YRCF     DOLLY            DOL‐SA   RDWY56102     1986   FRUHF   1H2E00617GH051343   ELF‐1     IL        Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY56103     1986   FRUHF   1H2E00619GH051344   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56105     1986   FRUHF   1H2E00612GH051346   ELF‐1     OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY56107     1986   FRUHF   1H2E00616GH051348   ELF‐1     Ontario   Woodstock
 YRCF     DOLLY            DOL‐SA   RDWY56108     1986   FRUHF   1H2E00618GH051349   ELF‐1     CA        Adelanto
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 503 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY56110     1986   FRUHF   1H2E00616GH051351   ELF‐1     VT               Bellows Falls
 YRCF     DOLLY            DOL‐SA   RDWY56112     1986   FRUHF   1H2E0061XGH051353   ELF‐1     WA               Spokane
 YRCF     DOLLY            DOL‐SA   RDWY56117     1986   FRUHF   1H2E00619GH051358   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56121     1986   FRUHF   1H2E00610GH051362   ELF‐1     WA               Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY56123     1986   FRUHF   1H2E00614GH051364   ELF‐1     AZ               Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY56125     1986   FRUHF   1H2E00618GH051366   ELF‐1     MS               Tupelo
 YRCF     DOLLY            DOL‐SA   RDWY56127     1986   FRUHF   1H2E00611GH051368   ELF‐1     VA               Elliston
 YRCF     DOLLY            DOL‐SA   RDWY56128     1986   FRUHF   1H2E00613GH051369   ELF‐1     NJ               Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY56129     1986   FRUHF   1H2E0061XGH051370   ELF‐1     IL               Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY56132     1986   FRUHF   1H2E00615GH051373   ELF‐1     FL               Miami
 YRCF     DOLLY            DOL‐SA   RDWY56136     1986   FRUHF   1H2E00612GH051377   ELF‐1     NJ               South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY56137     1986   FRUHF   1H2E00614GH051378   ELF‐1     OR               Central Point
 YRCF     DOLLY            DOL‐SA   RDWY56138     1986   FRUHF   1H2E00616GH051379   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56139     1986   FRUHF   1H2E00612GH051380   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56142     1986   FRUHF   1H2E00618GH051383   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56143     1986   FRUHF   1H2E0061XGH051384   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56146     1986   FRUHF   1H2E00615GH051387   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56150     1986   FRUHF   1H2E00617GH051391   ELF‐1     FL               Ocala
 YRCF     DOLLY            DOL‐SA   RDWY56153     1986   FRUHF   1H2E00612GH051394   ELF‐1     KY               Paducah
 YRCF     DOLLY            DOL‐SA   RDWY56154     1986   FRUHF   1H2E00614GH051395   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56155     1986   FRUHF   1H2E00616GH051396   ELF‐1     OH               Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY56157     1986   FRUHF   1H2E0061XGH051398   ELF‐1     VA               Manassas
 YRCF     DOLLY            DOL‐SA   RDWY56158     1986   FRUHF   1H2E00611GH051399   ELF‐1     SD               Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY56160     1987   FRUHF   1H2E00612HC007801   ELF‐1     WA               Spokane
 YRCF     DOLLY            DOL‐SA   RDWY56162     1987   FRUHF   1H2E00616HC007803   ELF‐1     WI               Neenah
 YRCF     DOLLY            DOL‐SA   RDWY56164     1987   FRUHF   1H2E0061XHC007805   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56165     1987   FRUHF   1H2E00611HC007806   ELF‐1     TN               Memphis
 YRCF     DOLLY            DOL‐SA   RDWY56166     1987   FRUHF   1H2E00613HC007807   ELF‐1     WI               Portage
 YRCF     DOLLY            DOL‐SA   RDWY56167     1987   FRUHF   1H2E00615HC007808   ELF‐1     OH               Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY56168     1987   FRUHF   1H2E00617HC007809   ELF‐1     ND               Fargo
 YRCF     DOLLY            DOL‐SA   RDWY56169     1987   FRUHF   1H2E00613HC007810   ELF‐1     KS               Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56170     1987   FRUHF   1H2E00615HC007811   ELF‐1     ID               Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY56171     1987   FRUHF   1H2E00617HC007812   ELF‐1     IN               Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY56172     1987   FRUHF   1H2E00619HC007813   ELF‐1     ID               Pocatello
 YRCF     DOLLY            DOL‐SA   RDWY56173     1987   FRUHF   1H2E00610HC007814   ELF‐1     CA               Orange
 YRCF     DOLLY            DOL‐SA   RDWY56174     1987   FRUHF   1H2E00612HC007815   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56175     1987   FRUHF   1H2E00614HC007816   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56176     1987   FRUHF   1H2E00616HC007817   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56181     1987   FRUHF   1H2E0061XHC007822   ELF‐1     MT               Missoula
 YRCF     DOLLY            DOL‐SA   RDWY56182     1987   FRUHF   1H2E00611HC007823   ELF‐1     TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56185     1987   FRUHF   1H2E00617HC007826   ELF‐1     AR               Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY56187     1987   FRUHF   1H2E00610HC007828   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56189     1987   FRUHF   1H2E00619HC007830   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56191     1987   FRUHF   1H2E00612HC007832   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56195     1987   FRUHF   1H2E0061XHC007836   ELF‐1     CA               Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY56197     1987   FRUHF   1H2E00613HC007838   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56198     1987   FRUHF   1H2E00615HC007839   ELF‐1     WI               Eau Claire
 YRCF     DOLLY            DOL‐SA   RDWY56199     1987   FRUHF   1H2E00611HC007840   ELF‐1     WI               Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY56202     1987   FRUHF   1H2E00617HC007843   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56203     1987   FRUHF   1H2E00619HC007844   ELF‐1     NJ               Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY56205     1987   FRUHF   1H2E00612HC007846   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56206     1987   FRUHF   1H2E00614HC007847   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56207     1987   FRUHF   1H2E00616HC007848   ELF‐1     TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56208     1987   FRUHF   1H2E00618HC007849   ELF‐1     NV               Sparks
 YRCF     DOLLY            DOL‐SA   RDWY56209     1987   FRUHF   1H2E00614HC007850   ELF‐1     MD               Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY56211     1987   FRUHF   1H2E00618HC007852   ELF‐1     NJ               Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY56213     1987   FRUHF   1H2E00611HC007854   ELF‐1     ID               Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY56215     1987   FRUHF   1H2E00615HC007856   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56218     1987   FRUHF   1H2E00610HC007859   ELF‐1     GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY56219     1987   FRUHF   1H2E00617HC007860   ELF‐1     British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY56220     1987   FRUHF   1H2E00619HC007861   ELF‐1     IA               Council Bluffs
 YRCF     DOLLY            DOL‐SA   RDWY56221     1987   FRUHF   1H2E00610HC007862   ELF‐1     UT               St. George
 YRCF     DOLLY            DOL‐SA   RDWY56223     1987   FRUHF   1H2E00614HC007864   ELF‐1     MI               Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY56224     1987   FRUHF   1H2E00616HC007865   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56225     1987   FRUHF   1H2E00618HC007866   ELF‐1     IL               Joliet
 YRCF     DOLLY            DOL‐SA   RDWY56228     1987   FRUHF   1H2E00613HC007869   ELF‐1     IN               South Bend
 YRCF     DOLLY            DOL‐SA   RDWY56230     1987   FRUHF   1H2E00611HC007871   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56231     1987   FRUHF   1H2E00613HC007872   ELF‐1     OR               Central Point
 YRCF     DOLLY            DOL‐SA   RDWY56232     1987   FRUHF   1H2E00615HC007873   ELF‐1     Ontario          Mississauga
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 504 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY56236     1987   FRUHF   1H2E00612HC007877   ELF‐1     UT      St. George
 YRCF     DOLLY            DOL‐SA   RDWY56237     1987   FRUHF   1H2E00614HC007878   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56238     1987   FRUHF   1H2E00616HC007879   ELF‐1     MO      Strafford
 YRCF     DOLLY            DOL‐SA   RDWY56240     1987   FRUHF   1H2E00614HC007881   ELF‐1     NY      Williamsville
 YRCF     DOLLY            DOL‐SA   RDWY56241     1987   FRUHF   1H2E00616HC007882   ELF‐1     TX      Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY56244     1987   FRUHF   1H2E00611HC007885   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY56247     1987   FRUHF   1H2E00617HC007888   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY56250     1987   FRUHF   1H2E00617HC007891   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56251     1987   FRUHF   1H2E00619HC007892   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY56255     1987   FRUHF   1H2E00616HC007896   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY56258     1987   FRUHF   1H2E00611HC007899   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56260     1987   FRUHF   1H2E00616HC007901   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56261     1987   FRUHF   1H2E00618HC007902   ELF‐1     NC      Rocky Mount
 YRCF     DOLLY            DOL‐SA   RDWY56262     1987   FRUHF   1H2E0061XHC007903   ELF‐1     CA      Visalia
 YRCF     DOLLY            DOL‐SA   RDWY56274     1987   FRUHF   1H2E00616HC007915   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56275     1987   FRUHF   1H2E00618HC007916   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY56277     1987   FRUHF   1H2E00611HC007918   ELF‐1     MA      North Reading
 YRCF     DOLLY            DOL‐SA   RDWY56278     1987   FRUHF   1H2E00613HC007919   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY56279     1987   FRUHF   1H2E0061XHC007920   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56280     1987   FRUHF   1H2E00611HC007921   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY56281     1987   FRUHF   1H2E00613HC007922   ELF‐1     VA      Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY56282     1987   FRUHF   1H2E00615HC007923   ELF‐1     VA      Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY56283     1987   FRUHF   1H2E00617HC007924   ELF‐1     MN      Coon Rapids
 YRCF     DOLLY            DOL‐SA   RDWY56284     1987   FRUHF   1H2E00619HC007925   ELF‐1     WI      Eau Claire
 YRCF     DOLLY            DOL‐SA   RDWY56290     1987   FRUHF   1H2E00614HC007931   ELF‐1     FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY56291     1987   FRUHF   1H2E00616HC007932   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56292     1987   FRUHF   1H2E00618HC007933   ELF‐1     WI      Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY56297     1987   FRUHF   1H2E00617HC007938   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56301     1987   FRUHF   1H2E00619HC007942   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56302     1987   FRUHF   1H2E00610HC007943   ELF‐1     KY      Lexington
 YRCF     DOLLY            DOL‐SA   RDWY56303     1987   FRUHF   1H2E00612HC007944   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56308     1987   FRUHF   1H2E00611HC007949   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56309     1987   FRUHF   1H2E00618HC007950   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56310     1987   FRUHF   1H2E0061XHC007951   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY56313     1987   FRUHF   1H2E00615HC007954   ELF‐1     NH      Bedford
 YRCF     DOLLY            DOL‐SA   RDWY56314     1987   FRUHF   1H2E00617HC007955   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56315     1987   FRUHF   1H2E00619HC007956   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56318     1987   FRUHF   1H2E00614HC007959   ELF‐1     MN      Saint Cloud
 YRCF     DOLLY            DOL‐SA   RDWY56322     1987   FRUHF   1H2E00616HC007963   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY56323     1987   FRUHF   1H2E00618HC007964   ELF‐1     CA      Anderson
 YRCF     DOLLY            DOL‐SA   RDWY56326     1987   FRUHF   1H2E00613HC007967   ELF‐1     IL      Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY56328     1987   FRUHF   1H2E00617HC007969   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY56330     1987   FRUHF   1H2E00615HC007971   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56331     1987   FRUHF   1H2E00617HC007972   ELF‐1     CA      Fresno
 YRCF     DOLLY            DOL‐SA   RDWY56332     1987   FRUHF   1H2E00619HC007973   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56333     1987   FRUHF   1H2E00610HC007974   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56335     1987   FRUHF   1H2E00614HC007976   ELF‐1     CA      Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY56336     1987   FRUHF   1H2E00616HC007977   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56339     1987   FRUHF   1H2E00616HC007980   ELF‐1     IL      Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY56340     1987   FRUHF   1H2E00618HC007981   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56341     1987   FRUHF   1H2E0061XHC007982   ELF‐1     MI      Wayland
 YRCF     DOLLY            DOL‐SA   RDWY56343     1987   FRUHF   1H2E00613HC007984   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56344     1987   FRUHF   1H2E00615HC007985   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY56345     1987   FRUHF   1H2E00617HC007986   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56347     1987   FRUHF   1H2E00610HC007988   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56349     1987   FRUHF   1H2E00619HC007990   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56351     1987   FRUHF   1H2E00612HC007992   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56352     1987   FRUHF   1H2E00614HC007993   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY56353     1987   FRUHF   1H2E00616HC007994   ELF‐1     TX      San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY56355     1987   FRUHF   1H2E0061XHC007996   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY56356     1987   FRUHF   1H2E00611HC007997   ELF‐1     ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY56357     1987   FRUHF   1H2E00613HC007998   ELF‐1     WI      Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY56361     1987   FRUHF   1H2E00611HH031302   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY56362     1987   FRUHF   1H2E00613HH031303   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY56364     1987   FRUHF   1H2E00617HH031305   ELF‐1     CA      Anderson
 YRCF     DOLLY            DOL‐SA   RDWY56365     1987   FRUHF   1H2E00619HH031306   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56366     1987   FRUHF   1H2E00610HH031307   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY56368     1987   FRUHF   1H2E00614HH031309   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY56370     1987   FRUHF   1H2E00612HH031311   ELF‐1     IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 505 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY56372     1987   FRUHF   1H2E00616HH031313   ELF‐1     NY      Mount Vernon
 YRCF     DOLLY            DOL‐SA   RDWY56374     1987   FRUHF   1H2E0061XHH031315   ELF‐1     MS      Tupelo
 YRCF     DOLLY            DOL‐SA   RDWY56375     1987   FRUHF   1H2E00611HH031316   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56379     1987   FRUHF   1H2E00613HH031320   ELF‐1     GA      Jefferson
 YRCF     DOLLY            DOL‐SA   RDWY56382     1987   FRUHF   1H2E00619HH031323   ELF‐1     CA      Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY56383     1987   FRUHF   1H2E00610HH031324   ELF‐1     PA      Mountain Top
 YRCF     DOLLY            DOL‐SA   RDWY56385     1987   FRUHF   1H2E00614HH031326   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56386     1987   FRUHF   1H2E00616HH031327   ELF‐1     VA      Elliston
 YRCF     DOLLY            DOL‐SA   RDWY56387     1987   FRUHF   1H2E00618HH031328   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56389     1987   FRUHF   1H2E00616HH031330   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56390     1987   FRUHF   1H2E00618HH031331   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56392     1987   FRUHF   1H2E00611HH031333   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56393     1987   FRUHF   1H2E00613HH031334   ELF‐1     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY56395     1987   FRUHF   1H2E00617HH031336   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56397     1987   FRUHF   1H2E00610HH031338   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56398     1987   FRUHF   1H2E00612HH031339   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56399     1987   FRUHF   1H2E00619HH031340   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56401     1987   FRUHF   1H2E00612HH031342   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56405     1987   FRUHF   1H2E0061XHH031346   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56406     1987   FRUHF   1H2E00611HH031347   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56407     1987   FRUHF   1H2E00613HH031348   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56409     1987   FRUHF   1H2E00611HH031350   ELF‐1     IL      Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY56410     1987   FRUHF   1H2E00613HH031351   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56411     1987   FRUHF   1H2E00615HH031352   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56412     1987   FRUHF   1H2E00617HH031353   ELF‐1     ID      Pocatello
 YRCF     DOLLY            DOL‐SA   RDWY56413     1987   FRUHF   1H2E00619HH031354   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56414     1987   FRUHF   1H2E00610HH031355   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY56416     1987   FRUHF   1H2E00614HH031357   ELF‐1     TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY56417     1987   FRUHF   1H2E00616HH031358   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56419     1987   FRUHF   1H2E00614HH031360   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY56421     1987   FRUHF   1H2E00618HH031362   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56423     1987   FRUHF   1H2E00611HH031364   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56425     1987   FRUHF   1H2E00615HH031366   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY56426     1987   FRUHF   1H2E00617HH031367   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56427     1987   FRUHF   1H2E00619HH031368   ELF‐1     DE      New Castle
 YRCF     DOLLY            DOL‐SA   RDWY56429     1987   FRUHF   1H2E00617HH031370   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY56431     1987   FRUHF   1H2E00610HH031372   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY56435     1987   FRUHF   1H2E00618HH031376   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY56438     1987   FRUHF   1H2E00613HH031379   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56440     1987   FRUHF   1H2E00611HH031381   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56444     1987   FRUHF   1H2E00619HH031385   ELF‐1     WI      Tomah
 YRCF     DOLLY            DOL‐SA   RDWY56445     1987   FRUHF   1H2E00610HH031386   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY56447     1987   FRUHF   1H2E00614HH031388   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56449     1987   FRUHF   1H2E00612HH031390   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY56453     1987   FRUHF   1H2E0061XHH031394   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56455     1987   FRUHF   1H2E00613HH031396   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY56457     1987   FRUHF   1H2E00617HH031398   ELF‐1     OH      Toledo
 YRCF     DOLLY            DOL‐SA   RDWY56458     1987   FRUHF   1H2E00619HH031399   ELF‐1     IL      Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY56459     1987   FRUHF   1H2E00611HH031400   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY56463     1987   FRUHF   1H2E00619HH031404   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56465     1987   FRUHF   1H2E00612HH031406   ELF‐1     KS      Garden City
 YRCF     DOLLY            DOL‐SA   RDWY56466     1987   FRUHF   1H2E00614HH031407   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY56468     1987   FRUHF   1H2E00618HH031409   ELF‐1     WA      Spokane
 YRCF     DOLLY            DOL‐SA   RDWY56470     1987   FRUHF   1H2E00616HH031411   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56471     1987   FRUHF   1H2E00618HH031412   ELF‐1     IL      Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY56472     1987   FRUHF   1H2E0061XHH031413   ELF‐1     CA      Downey
 YRCF     DOLLY            DOL‐SA   RDWY56473     1987   FRUHF   1H2E00611HH031414   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY56476     1987   FRUHF   1H2E00617HH031417   ELF‐1     CA      Pomona
 YRCF     DOLLY            DOL‐SA   RDWY56477     1987   FRUHF   1H2E00619HH031418   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56478     1987   FRUHF   1H2E00610HH031419   ELF‐1     OR      La Grande
 YRCF     DOLLY            DOL‐SA   RDWY56479     1987   FRUHF   1H2E00617HH031420   ELF‐1     WA      Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY56480     1987   FRUHF   1H2E00619HH031421   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY56482     1987   FRUHF   1H2E00612HH031423   ELF‐1     VA      Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY56486     1987   FRUHF   1H2E0061XHH031427   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56487     1987   FRUHF   1H2E00611HH031428   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY56488     1987   FRUHF   1H2E00613HH031429   ELF‐1     MO      Strafford
 YRCF     DOLLY            DOL‐SA   RDWY56489     1987   FRUHF   1H2E0061XHH031430   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56491     1987   FRUHF   1H2E00613HH031432   ELF‐1     GA      Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY56492     1987   FRUHF   1H2E00615HH031433   ELF‐1     NM      Albuquerque
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 506 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY56493     1987   FRUHF   1H2E00617HH031434   ELF‐1     IL               Bolingbrook
 YRCF     DOLLY            DOL‐SA   RDWY56494     1987   FRUHF   1H2E00619HH031435   ELF‐1     MD               Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY56496     1987   FRUHF   1H2E00612HH031437   ELF‐1     FL               Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY56497     1987   FRUHF   1H2E00614HH031438   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56498     1987   FRUHF   1H2E00616HH031439   ELF‐1     OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY56499     1987   FRUHF   1H2E00612HH031440   ELF‐1     OR               Eugene
 YRCF     DOLLY            DOL‐SA   RDWY56500     1987   FRUHF   1H2E00614HH031441   ELF‐1     VA               Manassas
 YRCF     DOLLY            DOL‐SA   RDWY56503     1987   FRUHF   1H2E0061XHH031444   ELF‐1     IN               South Bend
 YRCF     DOLLY            DOL‐SA   RDWY56504     1987   FRUHF   1H2E00611HH031445   ELF‐1     CA               Tracy
 YRCF     DOLLY            DOL‐SA   RDWY56506     1987   FRUHF   1H2E00615HH031447   ELF‐1     IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY56508     1987   FRUHF   1H2E00619HH031449   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56509     1987   FRUHF   1H2E00615HH031450   ELF‐1     NM               Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY56511     1987   FRUHF   1H2E00619HH031452   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56513     1987   FRUHF   1H2E00612HH031454   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56514     1987   FRUHF   1H2E00614HH031455   ELF‐1     WA               Union Gap
 YRCF     DOLLY            DOL‐SA   RDWY56517     1987   FRUHF   1H2E0061XHH031458   ELF‐1     CA               Fontana
 YRCF     DOLLY            DOL‐SA   RDWY56522     1987   FRUHF   1H2E00613HH031463   ELF‐1     FL               Fort Myers
 YRCF     DOLLY            DOL‐SA   RDWY56526     1987   FRUHF   1H2E00610HH031467   ELF‐1     OH               Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY56528     1987   FRUHF   1H2E00614HH031469   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56531     1987   FRUHF   1H2E00614HH031472   ELF‐1     GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY56533     1987   FRUHF   1H2E00618HH031474   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56534     1987   FRUHF   1H2E0061XHH031475   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56535     1987   FRUHF   1H2E00611HH031476   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56537     1987   FRUHF   1H2E00615HH031478   ELF‐1     DE               New Castle
 YRCF     DOLLY            DOL‐SA   RDWY56538     1987   FRUHF   1H2E00617HH031479   ELF‐1     CA               Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY56539     1987   FRUHF   1H2E00613HH031480   ELF‐1     TN               Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY56540     1987   FRUHF   1H2E00615HH031481   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56541     1987   FRUHF   1H2E00617HH031482   ELF‐1     Alberta          Calgary
 YRCF     DOLLY            DOL‐SA   RDWY56542     1987   FRUHF   1H2E00619HH031483   ELF‐1     CA               Eureka
 YRCF     DOLLY            DOL‐SA   RDWY56543     1987   FRUHF   1H2E00610HH031484   ELF‐1     AL               Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY56547     1987   FRUHF   1H2E00618HH031488   ELF‐1     IL               Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY56548     1987   FRUHF   1H2E0061XHH031489   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56551     1987   FRUHF   1H2E0061XHH031492   ELF‐1     FL               Miami
 YRCF     DOLLY            DOL‐SA   RDWY56552     1987   FRUHF   1H2E00611HH031493   ELF‐1     WA               Bellingham
 YRCF     DOLLY            DOL‐SA   RDWY56553     1987   FRUHF   1H2E00613HH031494   ELF‐1     MN               Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY56554     1987   FRUHF   1H2E00615HH031495   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56556     1987   FRUHF   1H2E00619HH031497   ELF‐1     AZ               Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY56559     1987   FRUHF   1H2E00615HH031500   ELF‐1     British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY56560     1987   FRUHF   1H2E00617HH031501   ELF‐1     MN               Coon Rapids
 YRCF     DOLLY            DOL‐SA   RDWY56561     1987   FRUHF   1H2E00619HH031502   ELF‐1     VA               Richmond
 YRCF     DOLLY            DOL‐SA   RDWY56562     1987   FRUHF   1H2E00610HH031503   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56563     1987   FRUHF   1H2E00612HH031504   ELF‐1     KY               Paducah
 YRCF     DOLLY            DOL‐SA   RDWY56566     1987   FRUHF   1H2E00618HH031507   ELF‐1     IN               South Bend
 YRCF     DOLLY            DOL‐SA   RDWY56568     1987   FRUHF   1H2E00611HH031509   ELF‐1     MS               Richland
 YRCF     DOLLY            DOL‐SA   RDWY56569     1987   FRUHF   1H2E00618HH031510   ELF‐1     OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY56570     1987   FRUHF   1H2E0061XHH031511   ELF‐1     MI               Taylor
 YRCF     DOLLY            DOL‐SA   RDWY56571     1987   FRUHF   1H2E00611HH031512   ELF‐1     OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY56572     1987   FRUHF   1H2E00613HH031513   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56573     1987   FRUHF   1H2E00615HH031514   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56574     1987   FRUHF   1H2E00617HH031515   ELF‐1     TN               Memphis
 YRCF     DOLLY            DOL‐SA   RDWY56576     1987   FRUHF   1H2E00610HH031517   ELF‐1     LA               Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY56577     1987   FRUHF   1H2E00612HH031518   ELF‐1     NY               Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56579     1987   FRUHF   1H2E00610HH031520   ELF‐1     CA               Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY56582     1987   FRUHF   1H2E00616HH031523   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56584     1987   FRUHF   1H2E0061XHH031525   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56585     1987   FRUHF   1H2E00611HH031526   ELF‐1     ND               Bismarck
 YRCF     DOLLY            DOL‐SA   RDWY56586     1987   FRUHF   1H2E00613HH031527   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY56587     1987   FRUHF   1H2E00615HH031528   ELF‐1     AZ               Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY56590     1987   FRUHF   1H2E00615HH031531   ELF‐1     MI               Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY56591     1987   FRUHF   1H2E00617HH031532   ELF‐1     CA               Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY56592     1987   FRUHF   1H2E00619HH031533   ELF‐1     MA               Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY56595     1987   FRUHF   1H2E00614HH031536   ELF‐1     CO               Grand Junction
 YRCF     DOLLY            DOL‐SA   RDWY56597     1987   FRUHF   1H2E00618HH031538   ELF‐1     OR               Portland
 YRCF     DOLLY            DOL‐SA   RDWY56598     1987   FRUHF   1H2E0061XHH031539   ELF‐1     IN               Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY56600     1987   FRUHF   1H2E00618HH031541   ELF‐1     VA               Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY56602     1987   FRUHF   1H2E00611HH031543   ELF‐1     NV               Sparks
 YRCF     DOLLY            DOL‐SA   RDWY56603     1987   FRUHF   1H2E00613HH031544   ELF‐1     TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56605     1987   FRUHF   1H2E00617HH031546   ELF‐1     LA               Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY56608     1987   FRUHF   1H2E00612HH031549   ELF‐1     TX               Sherman
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 507 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY56609     1987   FRUHF   1H2E00619HH031550   ELF‐1     TX      Sherman
 YRCF     DOLLY            DOL‐SA   RDWY56614     1987   FRUHF   1H2E00618HH031555   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY56615     1987   FRUHF   1H2E0061XHH031556   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY56617     1987   FRUHF   1H2E00613HH031558   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY56619     1987   FRUHF   1H2E00611HH031560   ELF‐1     NY      East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY56621     1987   FRUHF   1H2E00615HH031562   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY56625     1987   FRUHF   1H2E00612HH031566   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY56627     1987   FRUHF   1H2E00616HH031568   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56628     1987   FRUHF   1H2E00618HH031569   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56629     1987   FRUHF   1H2E00614HH031570   ELF‐1     VA      Elliston
 YRCF     DOLLY            DOL‐SA   RDWY56630     1987   FRUHF   1H2E00616HH031571   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY56631     1987   FRUHF   1H2E00618HH031572   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56632     1987   FRUHF   1H2E0061XHH031573   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56633     1987   FRUHF   1H2E00611HH031574   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56634     1987   FRUHF   1H2E00613HH031575   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56636     1987   FRUHF   1H2E00617HH031577   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56637     1987   FRUHF   1H2E00619HH031578   ELF‐1     OR      Eugene
 YRCF     DOLLY            DOL‐SA   RDWY56638     1987   FRUHF   1H2E00610HH031579   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56639     1987   FRUHF   1H2E00617HH031580   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56641     1987   FRUHF   1H2E00610HH031582   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56642     1987   FRUHF   1H2E00612HH031583   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY56645     1987   FRUHF   1H2E00618HH031586   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY56646     1987   FRUHF   1H2E0061XHH031587   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56647     1987   FRUHF   1H2E00611HH031588   ELF‐1     FL      Ocala
 YRCF     DOLLY            DOL‐SA   RDWY56648     1987   FRUHF   1H2E00613HH031589   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56649     1987   FRUHF   1H2E0061XHH031590   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56650     1987   FRUHF   1H2E00611HH031591   ELF‐1     NY      East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY56651     1987   FRUHF   1H2E00613HH031592   ELF‐1     NY      Plainview
 YRCF     DOLLY            DOL‐SA   RDWY56653     1987   FRUHF   1H2E00617HH031594   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56655     1987   FRUHF   1H2E00610HH031596   ELF‐1     OR      Eugene
 YRCF     DOLLY            DOL‐SA   RDWY56657     1987   FRUHF   1H2E00614HH031598   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56658     1987   FRUHF   1H2E00616HH031599   ELF‐1     ND      Fargo
 YRCF     DOLLY            DOL‐SA   RDWY56660     1987   FRUHF   1H2E00610HH031601   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56661     1987   FRUHF   1H2E00612HH031602   ELF‐1     GA      La Grange
 YRCF     DOLLY            DOL‐SA   RDWY56663     1987   FRUHF   1H2E00616HH031604   ELF‐1     VA      Richmond
 YRCF     DOLLY            DOL‐SA   RDWY56664     1987   FRUHF   1H2E00618HH031605   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY56668     1987   FRUHF   1H2E00615HH031609   ELF‐1     OH      Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY56671     1987   FRUHF   1H2E00615HH031612   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56673     1987   FRUHF   1H2E00619HH031614   ELF‐1     CA      Needles
 YRCF     DOLLY            DOL‐SA   RDWY56674     1987   FRUHF   1H2E00610HH031615   ELF‐1     LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY56676     1987   FRUHF   1H2E00614HH031617   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56679     1987   FRUHF   1H2E00614HH031620   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56680     1987   FRUHF   1H2E00616HH031621   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56681     1987   FRUHF   1H2E00618HH031622   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56682     1987   FRUHF   1H2E0061XHH031623   ELF‐1     NY      Plattsburgh
 YRCF     DOLLY            DOL‐SA   RDWY56683     1987   FRUHF   1H2E00611HH031624   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56685     1987   FRUHF   1H2E00615HH031626   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY56686     1987   FRUHF   1H2E00617HH031627   ELF‐1     WA      Union Gap
 YRCF     DOLLY            DOL‐SA   RDWY56687     1987   FRUHF   1H2E00619HH031628   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56688     1987   FRUHF   1H2E00610HH031629   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY56693     1987   FRUHF   1H2E00614HH031634   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY56699     1987   FRUHF   1H2E0061XHH031640   ELF‐1     NJ      South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY56702     1987   FRUHF   1H2E00615HH031643   ELF‐1     MT      Billings
 YRCF     DOLLY            DOL‐SA   RDWY56703     1987   FRUHF   1H2E00617HH031644   ELF‐1     LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY56704     1987   FRUHF   1H2E00619HH031645   ELF‐1     NJ      Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY56705     1987   FRUHF   1H2E00610HH031646   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY56706     1987   FRUHF   1H2E00612HH031647   ELF‐1     TX      San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY56707     1987   FRUHF   1H2E00614HH031648   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56708     1987   FRUHF   1H2E00616HH031649   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56709     1987   FRUHF   1H2E00612HH031650   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56710     1987   FRUHF   1H2E00614HH031651   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56713     1987   FRUHF   1H2E0061XHH031654   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY56716     1987   FRUHF   1H2E00615HH031657   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56717     1987   FRUHF   1H2E00617HH031658   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56718     1987   FRUHF   1H2E00619HH031659   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56719     1987   FRUHF   1H2E00615HH031660   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56720     1987   FRUHF   1H2E00617HH031661   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56724     1987   FRUHF   1H2E00614HH031665   ELF‐1     IN      Hammond
 YRCF     DOLLY            DOL‐SA   RDWY56725     1987   FRUHF   1H2E00616HH031666   ELF‐1     OH      Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 508 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY56726     1987   FRUHF   1H2E00618HH031667   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56727     1987   FRUHF   1H2E0061XHH031668   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56728     1987   FRUHF   1H2E00611HH031669   ELF‐1     OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY56729     1987   FRUHF   1H2E00618HH031670   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY56730     1987   FRUHF   1H2E0061XHH031671   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56731     1987   FRUHF   1H2E00611HH031672   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56732     1987   FRUHF   1H2E00613HH031673   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56733     1987   FRUHF   1H2E00615HH031674   ELF‐1     UT      Beaver
 YRCF     DOLLY            DOL‐SA   RDWY56734     1987   FRUHF   1H2E00617HH031675   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56735     1987   FRUHF   1H2E00619HH031676   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56736     1987   FRUHF   1H2E00610HH031677   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56737     1987   FRUHF   1H2E00612HH031678   ELF‐1     NE      Omaha
 YRCF     DOLLY            DOL‐SA   RDWY56742     1987   FRUHF   1H2E00616HH031683   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY56743     1987   FRUHF   1H2E00618HH031684   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56744     1987   FRUHF   1H2E0061XHH031685   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56745     1987   FRUHF   1H2E00611HH031686   ELF‐1     IL      Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY56749     1987   FRUHF   1H2E00613HH031690   ELF‐1     WA      Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY56750     1987   FRUHF   1H2E00615HH031691   ELF‐1     LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY56753     1987   FRUHF   1H2E00610HH031694   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56754     1987   FRUHF   1H2E00612HH031695   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56756     1987   FRUHF   1H2E00616HH031697   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56758     1987   FRUHF   1H2E0061XHH031699   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY56761     1987   FRUHF   1H2E00616HH031702   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY56764     1987   FRUHF   1H2E00611HH031705   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56765     1987   FRUHF   1H2E00613HH031706   ELF‐1     ME      Fairfield
 YRCF     DOLLY            DOL‐SA   RDWY56768     1987   FRUHF   1H2E00619HH031709   ELF‐1     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY56770     1987   FRUHF   1H2E00617HH031711   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY56771     1987   FRUHF   1H2E00619HH031712   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56773     1987   FRUHF   1H2E00612HH031714   ELF‐1     GA      Thomasville
 YRCF     DOLLY            DOL‐SA   RDWY56774     1987   FRUHF   1H2E00614HH031715   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56775     1987   FRUHF   1H2E00616HH031716   ELF‐1     CA      Fontana
 YRCF     DOLLY            DOL‐SA   RDWY56776     1987   FRUHF   1H2E00618HH031717   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56779     1987   FRUHF   1H2E00618HH031720   ELF‐1     AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY56781     1987   FRUHF   1H2E00611HH031722   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56782     1987   FRUHF   1H2E00613HH031723   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY56783     1987   FRUHF   1H2E00615HH031724   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56784     1987   FRUHF   1H2E00617HH031725   ELF‐1     FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY56785     1987   FRUHF   1H2E00619HH031726   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56787     1987   FRUHF   1H2E00612HH031728   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY56788     1987   FRUHF   1H2E00614HH031729   ELF‐1     OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY56789     1987   FRUHF   1H2E00610HH031730   ELF‐1     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY56792     1987   FRUHF   1H2E00616HH031733   ELF‐1     OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY56793     1987   FRUHF   1H2E00618HH031734   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY56794     1987   FRUHF   1H2E0061XHH031735   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56795     1987   FRUHF   1H2E00611HH031736   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY56796     1987   FRUHF   1H2E00613HH031737   ELF‐1     SC      West Columbia
 YRCF     DOLLY            DOL‐SA   RDWY56798     1987   FRUHF   1H2E00617HH031739   ELF‐1     TN      Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY56801     1987   FRUHF   1H2E00617HH031742   ELF‐1     OR      Redmond
 YRCF     DOLLY            DOL‐SA   RDWY56802     1987   FRUHF   1H2E00619HH031743   ELF‐1     FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY56803     1987   FRUHF   1H2E00610HH031744   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56804     1987   FRUHF   1H2E00612HH031745   ELF‐1     OH      Toledo
 YRCF     DOLLY            DOL‐SA   RDWY56806     1987   FRUHF   1H2E00616HH031747   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56807     1987   FRUHF   1H2E00618HH031748   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY56813     1987   FRUHF   1H2E00613HH031754   ELF‐1     ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY56814     1987   FRUHF   1H2E00615HH031755   ELF‐1     IA      Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY56815     1987   FRUHF   1H2E00617HH031756   ELF‐1     WA      Pasco
 YRCF     DOLLY            DOL‐SA   RDWY56817     1987   FRUHF   1H2E00610HH031758   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56818     1987   FRUHF   1H2E00612HH031759   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56821     1987   FRUHF   1H2E00612HH031762   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY56828     1987   FRUHF   1H2E00615HH031769   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56829     1987   FRUHF   1H2E00611HH031770   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56830     1987   FRUHF   1H2E00613HH031771   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY56831     1987   FRUHF   1H2E00615HH031772   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56832     1987   FRUHF   1H2E00617HH031773   ELF‐1     KS      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56834     1987   FRUHF   1H2E00610HH031775   ELF‐1     OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY56837     1987   FRUHF   1H2E00616HH031778   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY56838     1987   FRUHF   1H2E00618HH031779   ELF‐1     FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY56839     1987   FRUHF   1H2E00614HH031780   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY56840     1987   FRUHF   1H2E00616HH031781   ELF‐1     NY      Tonawanda
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 509 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY56843     1987   FRUHF   1H2E00611HH031784   ELF‐1     TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY56844     1987   FRUHF   1H2E00613HH031785   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56845     1987   FRUHF   1H2E00615HH031786   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56847     1987   FRUHF   1H2E00619HH031788   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56849     1987   FRUHF   1H2E00617HH031790   ELF‐1     CA      Anderson
 YRCF     DOLLY            DOL‐SA   RDWY56850     1987   FRUHF   1H2E00619HH031791   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56852     1987   FRUHF   1H2E00612HH031793   ELF‐1     MD      Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY56856     1987   FRUHF   1H2E0061XHH031797   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY56857     1987   FRUHF   1H2E00611HH031798   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY56858     1987   FRUHF   1H2E00613HH031799   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY56860     1987   FRUHF   1H2E00618HH031801   ELF‐1     VA      Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY56862     1987   FRUHF   1H2E00611HH031803   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56863     1987   FRUHF   1H2E00613HH031804   ELF‐1     VA      Richmond
 YRCF     DOLLY            DOL‐SA   RDWY56864     1987   FRUHF   1H2E00615HH031805   ELF‐1     VA      Elliston
 YRCF     DOLLY            DOL‐SA   RDWY56865     1987   FRUHF   1H2E00617HH031806   ELF‐1     ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY56866     1987   FRUHF   1H2E00619HH031807   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56867     1987   FRUHF   1H2E00610HH031808   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY56869     1987   FRUHF   1H2E00619HH031810   ELF‐1     ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY56871     1987   FRUHF   1H2E00612HH031812   ELF‐1     PA      Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY56872     1987   FRUHF   1H2E00614HH031813   ELF‐1     TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY56873     1987   FRUHF   1H2E00616HH031814   ELF‐1     PA      McKees Rocks
 YRCF     DOLLY            DOL‐SA   RDWY56874     1987   FRUHF   1H2E00618HH031815   ELF‐1     IL      Hodgkins
 YRCF     DOLLY            DOL‐SA   RDWY56875     1987   FRUHF   1H2E0061XHH031816   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY56876     1987   FRUHF   1H2E00611HH031817   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY56877     1987   FRUHF   1H2E00613HH031818   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56880     1987   FRUHF   1H2E00613HH031821   ELF‐1     PQ      Sherbrooke
 YRCF     DOLLY            DOL‐SA   RDWY56881     1987   FRUHF   1H2E00615HH031822   ELF‐1     NJ      Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY56883     1987   FRUHF   1H2E00619HH031824   ELF‐1     NM      Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY56885     1987   FRUHF   1H2E00612HH031826   ELF‐1     CA      Visalia
 YRCF     DOLLY            DOL‐SA   RDWY56886     1987   FRUHF   1H2E00614HH031827   ELF‐1     SC      West Columbia
 YRCF     DOLLY            DOL‐SA   RDWY56887     1987   FRUHF   1H2E00616HH031828   ELF‐1     NV      Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY56889     1987   FRUHF   1H2E00614HH031830   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56891     1987   FRUHF   1H2E00618HH031832   ELF‐1     VA      Roanoke
 YRCF     DOLLY            DOL‐SA   RDWY56892     1987   FRUHF   1H2E0061XHH031833   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56893     1987   FRUHF   1H2E00611HH031834   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY56896     1987   FRUHF   1H2E00617HH031837   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY56897     1987   FRUHF   1H2E00619HH031838   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56898     1987   FRUHF   1H2E00610HH031839   ELF‐1     OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY56899     1987   FRUHF   1H2E00617HH031840   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY56900     1987   FRUHF   1H2E00619HH031841   ELF‐1     NJ      Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY56901     1987   FRUHF   1H2E00610HH031842   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY56904     1987   FRUHF   1H2E00616HH031845   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56907     1987   FRUHF   1H2E00611HH031848   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56908     1987   FRUHF   1H2E00613HH031849   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56909     1987   FRUHF   1H2E0061XHH031850   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY56911     1987   FRUHF   1H2E00613HH031852   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY56919     1987   FRUHF   1H2E00612HH031860   ELF‐1     TX      Laredo
 YRCF     DOLLY            DOL‐SA   RDWY56922     1987   FRUHF   1H2E00618HH031863   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY56924     1987   FRUHF   1H2E00611HH031865   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56925     1987   FRUHF   1H2E00613HH031866   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56929     1987   FRUHF   1H2E00615HH031870   ELF‐1     ME      Westbrook
 YRCF     DOLLY            DOL‐SA   RDWY56932     1987   FRUHF   1H2E00610HH031873   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56934     1987   FRUHF   1H2E00614HH031875   ELF‐1     NM      Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY56935     1987   FRUHF   1H2E00616HH031876   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56941     1987   FRUHF   1H2E00611HH031882   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY56942     1987   FRUHF   1H2E00613HH031883   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY56944     1987   FRUHF   1H2E00617HH031885   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56947     1987   FRUHF   1H2E00612HH031888   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY56949     1987   FRUHF   1H2E00610HH031890   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY56959     1987   FRUHF   1H2E0061XHH031900   ELF‐1     CA      San Diego
 YRCF     DOLLY            DOL‐SA   RDWY56962     1987   FRUHF   1H2E00615HH031903   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY56963     1987   FRUHF   1H2E00617HH031904   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY56964     1987   FRUHF   1H2E00619HH031905   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56966     1987   FRUHF   1H2E00612HH031907   ELF‐1     CA      Orange
 YRCF     DOLLY            DOL‐SA   RDWY56973     1987   FRUHF   1H2E0061XHH031914   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY56974     1987   FRUHF   1H2E00611HH031915   ELF‐1     WV      Charleston
 YRCF     DOLLY            DOL‐SA   RDWY56975     1987   FRUHF   1H2E00613HH031916   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY56977     1987   FRUHF   1H2E00617HH031918   ELF‐1     CA      San Diego
 YRCF     DOLLY            DOL‐SA   RDWY56981     1987   FRUHF   1H2E00619HH031922   ELF‐1     MT      Great Falls
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 510 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY56982     1987   FRUHF   1H2E00610HH031923   ELF‐1     PQ        Sherbrooke
 YRCF     DOLLY            DOL‐SA   RDWY56983     1987   FRUHF   1H2E00612HH031924   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY56984     1987   FRUHF   1H2E00614HH031925   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY56985     1987   FRUHF   1H2E00616HH031926   ELF‐1     MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY56987     1987   FRUHF   1H2E0061XHH031928   ELF‐1     TX        Dallas
 YRCF     DOLLY            DOL‐SA   RDWY56988     1987   FRUHF   1H2E00611HH031929   ELF‐1     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY56989     1987   FRUHF   1H2E00618HH031930   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY56991     1987   FRUHF   1H2E00611HH031932   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56994     1987   FRUHF   1H2E00617HH031935   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56995     1987   FRUHF   1H2E00619HH031936   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY56996     1987   FRUHF   1H2E00610HH031937   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY56997     1987   FRUHF   1H2E00612HH031938   ELF‐1     Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY56998     1987   FRUHF   1H2E00614HH031939   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY56999     1987   FRUHF   1H2E00610HH031940   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57001     1987   FRUHF   1H2E00614HH031942   ELF‐1     TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY57003     1987   FRUHF   1H2E00618HH031944   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57004     1987   FRUHF   1H2E0061XHH031945   ELF‐1     TX        San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY57005     1987   FRUHF   1H2E00611HH031946   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57008     1987   FRUHF   1H2E00617HH031949   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57009     1987   FRUHF   1H2E00613HH031950   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57010     1987   FRUHF   1H2E00615HH031951   ELF‐1     GA        Thomasville
 YRCF     DOLLY            DOL‐SA   RDWY57011     1987   FRUHF   1H2E00617HH031952   ELF‐1     VA        Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY57012     1987   FRUHF   1H2E00619HH031953   ELF‐1     IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY57013     1987   FRUHF   1H2E00610HH031954   ELF‐1     WA        Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY57016     1988   FRUHF   1H2E00610JH058402   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57017     1988   FRUHF   1H2E00612JH058403   ELF‐1     NY        Plainview
 YRCF     DOLLY            DOL‐SA   RDWY57020     1988   FRUHF   1H2E00618JH058406   ELF‐1     LA        New Orleans
 YRCF     DOLLY            DOL‐SA   RDWY57021     1988   FRUHF   1H2E0061XJH058407   ELF‐1     IL        Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY57022     1988   FRUHF   1H2E00611JH058408   ELF‐1     ND        Minot
 YRCF     DOLLY            DOL‐SA   RDWY57023     1988   FRUHF   1H2E00613JH058409   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57027     1988   FRUHF   1H2E00615JH058413   ELF‐1     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY57029     1988   FRUHF   1H2E00619JH058415   ELF‐1     TX        San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY57033     1988   FRUHF   1H2E00616JH058419   ELF‐1     Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY57035     1988   FRUHF   1H2E00614JH058421   ELF‐1     MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57036     1988   FRUHF   1H2E00616JH058422   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57037     1988   FRUHF   1H2E00618JH058423   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57039     1988   FRUHF   1H2E00611JH058425   ELF‐1     FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY57041     1988   FRUHF   1H2E00615JH058427   ELF‐1     MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY57045     1988   FRUHF   1H2E00617JH058431   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57049     1988   FRUHF   1H2E00614JH058435   ELF‐1     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY57050     1988   FRUHF   1H2E00616JH058436   ELF‐1     KY        Waddy
 YRCF     DOLLY            DOL‐SA   RDWY57051     1988   FRUHF   1H2E00618JH058437   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57053     1988   FRUHF   1H2E00611JH058439   ELF‐1     NJ        South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY57054     1988   FRUHF   1H2E00618JH058440   ELF‐1     WA        Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY57056     1988   FRUHF   1H2E00611JH058442   ELF‐1     PA        Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY57058     1988   FRUHF   1H2E00615JH058444   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57061     1988   FRUHF   1H2E00610JH058447   ELF‐1     MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY57062     1988   FRUHF   1H2E00612JH058448   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57063     1988   FRUHF   1H2E00614JH058449   ELF‐1     WA        Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY57064     1988   FRUHF   1H2E00610JH058450   ELF‐1     NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY57065     1988   FRUHF   1H2E00612JH058451   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57066     1988   FRUHF   1H2E00614JH058452   ELF‐1     MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY57067     1988   FRUHF   1H2E00616JH058453   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57070     1988   FRUHF   1H2E00611JH058456   ELF‐1     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY57071     1988   FRUHF   1H2E00613JH058457   ELF‐1     CA        San Diego
 YRCF     DOLLY            DOL‐SA   RDWY57073     1988   FRUHF   1H2E00617JH058459   ELF‐1     GA        Savannah
 YRCF     DOLLY            DOL‐SA   RDWY57078     1988   FRUHF   1H2E00610JH058464   ELF‐1     IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY57082     1988   FRUHF   1H2E00618JH058468   ELF‐1     TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57083     1988   FRUHF   1H2E0061XJH058469   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57085     1988   FRUHF   1H2E00618JH058471   ELF‐1     RI        Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY57086     1988   FRUHF   1H2E0061XJH058472   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY57087     1988   FRUHF   1H2E00611JH058473   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57088     1988   FRUHF   1H2E00613JH058474   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY57090     1988   FRUHF   1H2E00617JH058476   ELF‐1     Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY57093     1988   FRUHF   1H2E00612JH058479   ELF‐1     MD        Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY57095     1988   FRUHF   1H2E00610JH058481   ELF‐1     NC        Kernersville
 YRCF     DOLLY            DOL‐SA   RDWY57097     1988   FRUHF   1H2E00614JH058483   ELF‐1     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57098     1988   FRUHF   1H2E00616JH058484   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57099     1988   FRUHF   1H2E00618JH058485   ELF‐1     IL        Chicago Heights
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 511 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY57100     1988   FRUHF   1H2E00618JE030901   ELF‐1     MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57101     1988   FRUHF   1H2E0061XJE030902   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57102     1988   FRUHF   1H2E00611JE030903   ELF‐1     OK        Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY57104     1988   FRUHF   1H2E00615JE030905   ELF‐1     OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY57105     1988   FRUHF   1H2E00617JE030906   ELF‐1     NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY57106     1988   FRUHF   1H2E00619JE030907   ELF‐1     NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY57109     1988   FRUHF   1H2E00619JE030910   ELF‐1     NV        Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY57110     1988   FRUHF   1H2E00610JE030911   ELF‐1     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57111     1988   FRUHF   1H2E00612JE030912   ELF‐1     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY57113     1988   FRUHF   1H2E00616JE030914   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57114     1988   FRUHF   1H2E00618JE030915   ELF‐1     CT        Cheshire
 YRCF     DOLLY            DOL‐SA   RDWY57115     1988   FRUHF   1H2E0061XJE030916   ELF‐1     TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY57116     1988   FRUHF   1H2E00611JE030917   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57122     1988   FRUHF   1H2E00617JE030923   ELF‐1     NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY57126     1988   FRUHF   1H2E00614JE030927   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57127     1988   FRUHF   1H2E00616JE030928   ELF‐1     Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY57128     1988   FRUHF   1H2E00618JE030929   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57129     1988   FRUHF   1H2E00614JE030930   ELF‐1     GA        Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY57131     1988   FRUHF   1H2E00618JE030932   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57134     1988   FRUHF   1H2E00613JE030935   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57135     1988   FRUHF   1H2E00615JE030936   ELF‐1     FL        Boynton Beach
 YRCF     DOLLY            DOL‐SA   RDWY57136     1988   FRUHF   1H2E00617JE030937   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57138     1988   FRUHF   1H2E00610JE030939   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57140     1988   FRUHF   1H2E00619JE030941   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY57141     1988   FRUHF   1H2E00610JE030942   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57145     1988   FRUHF   1H2E00618JE030946   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57148     1988   FRUHF   1H2E00613JE030949   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57149     1988   FRUHF   1H2E0061XJE030950   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY57150     1988   FRUHF   1H2E00611JE030951   ELF‐1     TN        Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY57151     1988   FRUHF   1H2E00613JE030952   ELF‐1     FL        Miami
 YRCF     DOLLY            DOL‐SA   RDWY57152     1988   FRUHF   1H2E00615JE030953   ELF‐1     GA        Conley
 YRCF     DOLLY            DOL‐SA   RDWY57154     1988   FRUHF   1H2E00619JE030955   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY57155     1988   FRUHF   1H2E00610JE030956   ELF‐1     IA        Mason City
 YRCF     DOLLY            DOL‐SA   RDWY57156     1988   FRUHF   1H2E00612JE030957   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57157     1988   FRUHF   1H2E00614JE030958   ELF‐1     ID        Meridian
 YRCF     DOLLY            DOL‐SA   RDWY57160     1988   FRUHF   1H2E00614JE030961   ELF‐1     CA        Hayward
 YRCF     DOLLY            DOL‐SA   RDWY57163     1988   FRUHF   1H2E0061XJE030964   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57168     1988   FRUHF   1H2E00619JE030969   ELF‐1     OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY57169     1988   FRUHF   1H2E00615JE030970   ELF‐1     CA        Lost Hills
 YRCF     DOLLY            DOL‐SA   RDWY57170     1988   FRUHF   1H2E00617JE030971   ELF‐1     IL        Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY57172     1988   FRUHF   1H2E00610JE030973   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY57176     1988   FRUHF   1H2E00618JE030977   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57177     1988   FRUHF   1H2E0061XJE030978   ELF‐1     TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57182     1988   FRUHF   1H2E00613JE030983   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57183     1988   FRUHF   1H2E00615JE030984   ELF‐1     TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57184     1988   FRUHF   1H2E00617JE030985   ELF‐1     PA        McKees Rocks
 YRCF     DOLLY            DOL‐SA   RDWY57187     1988   FRUHF   1H2E00612JE030988   ELF‐1     LA        Port Allen
 YRCF     DOLLY            DOL‐SA   RDWY57191     1988   FRUHF   1H2E00614JE030992   ELF‐1     PA        Du Bois
 YRCF     DOLLY            DOL‐SA   RDWY57192     1988   FRUHF   1H2E00616JE030993   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57193     1988   FRUHF   1H2E00618JE030994   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57194     1988   FRUHF   1H2E0061XJE030995   ELF‐1     IL        Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY57196     1988   FRUHF   1H2E00613JE030997   ELF‐1     OK        Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY57197     1988   FRUHF   1H2E00615JE030998   ELF‐1     NC        Kernersville
 YRCF     DOLLY            DOL‐SA   RDWY57198     1988   FRUHF   1H2E00617JE030999   ELF‐1     KS        Wichita
 YRCF     DOLLY            DOL‐SA   RDWY57199     1988   FRUHF   1H2E00618JE031000   ELF‐1     CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57201     1988   FRUHF   1H2E00611JE031002   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57206     1988   FRUHF   1H2E00610JE031007   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY57209     1988   FRUHF   1H2E00610JE031010   ELF‐1     OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY57210     1988   FRUHF   1H2E00612JE031011   ELF‐1     FL        Orlando
 YRCF     DOLLY            DOL‐SA   RDWY57212     1988   FRUHF   1H2E00616JE031013   ELF‐1     TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57215     1989   FRUHF   1H2E00618KE013601   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY57217     1989   FRUHF   1H2E00611KE013603   ELF‐1     IN        Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY57219     1989   FRUHF   1H2E00615KE013605   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57220     1989   FRUHF   1H2E00617KE013606   ELF‐1     CA        Anderson
 YRCF     DOLLY            DOL‐SA   RDWY57221     1989   FRUHF   1H2E00619KE013607   ELF‐1     MA        Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY57223     1989   FRUHF   1H2E00612KE013609   ELF‐1     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY57226     1989   FRUHF   1H2E00612KE013612   ELF‐1     MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY57228     1989   FRUHF   1H2E00616KE013614   ELF‐1     WY        Cheyenne
 YRCF     DOLLY            DOL‐SA   RDWY57230     1989   FRUHF   1H2E0061XKE013616   ELF‐1     MI        Wyoming
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 512 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY57235     1989   FRUHF   1H2E00613KE013621   ELF‐1     IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57238     1989   FRUHF   1H2E00619KE013624   ELF‐1     OH               Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY57239     1989   FRUHF   1H2E00610KE013625   ELF‐1     OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY57240     1989   FRUHF   1H2E00612KE013626   ELF‐1     OH               Columbus
 YRCF     DOLLY            DOL‐SA   RDWY57241     1989   FRUHF   1H2E00614KE013627   ELF‐1     MA               North Reading
 YRCF     DOLLY            DOL‐SA   RDWY57242     1989   FRUHF   1H2E00616KE013628   ELF‐1     NJ               Kearny
 YRCF     DOLLY            DOL‐SA   RDWY57243     1989   FRUHF   1H2E00618KE013629   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57245     1989   FRUHF   1H2E00616KE013631   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57248     1989   FRUHF   1H2E00611KE013634   ELF‐1     CA               Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY57249     1989   FRUHF   1H2E00613KE013635   ELF‐1     KS               Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57251     1989   FRUHF   1H2E00617KE013637   ELF‐1     MT               Butte
 YRCF     DOLLY            DOL‐SA   RDWY57252     1989   FRUHF   1H2E00619KE013638   ELF‐1     OR               Eugene
 YRCF     DOLLY            DOL‐SA   RDWY57254     1989   FRUHF   1H2E00617KE013640   ELF‐1     MS               Richland
 YRCF     DOLLY            DOL‐SA   RDWY57255     1989   FRUHF   1H2E00619KE013641   ELF‐1     OH               Richfield
 YRCF     DOLLY            DOL‐SA   RDWY57257     1989   FRUHF   1H2E00612KE013643   ELF‐1     Alberta          Calgary
 YRCF     DOLLY            DOL‐SA   RDWY57258     1989   FRUHF   1H2E00614KE013644   ELF‐1     IL               Rockford
 YRCF     DOLLY            DOL‐SA   RDWY57260     1989   FRUHF   1H2E00618KE013646   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57262     1989   FRUHF   1H2E00611KE013648   ELF‐1     OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY57263     1989   FRUHF   1H2E00613KE013649   ELF‐1     MD               Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY57264     1989   FRUHF   1H2E0061XKE013650   ELF‐1     IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57268     1989   FRUHF   1H2E00613KH028604   ELF‐1     RI               Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY57270     1989   FRUHF   1H2E00617KH028606   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57271     1989   FRUHF   1H2E00619KH028607   ELF‐1     IL               Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY57272     1989   FRUHF   1H2E00610KH028608   ELF‐1     WA               Seattle
 YRCF     DOLLY            DOL‐SA   RDWY57273     1989   FRUHF   1H2E00612KH028609   ELF‐1     CA               Fresno
 YRCF     DOLLY            DOL‐SA   RDWY57274     1989   FRUHF   1H2E00619KH028610   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57275     1989   FRUHF   1H2E00610KH028611   ELF‐1     OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY57277     1989   FRUHF   1H2E00614KH028613   ELF‐1     PQ               Dorval
 YRCF     DOLLY            DOL‐SA   RDWY57281     1989   FRUHF   1H2E00611KH028617   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57282     1989   FRUHF   1H2E00613KH028618   ELF‐1     NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57283     1989   FRUHF   1H2E00615KH028619   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57285     1989   FRUHF   1H2E00613KH028621   ELF‐1     MS               Richland
 YRCF     DOLLY            DOL‐SA   RDWY57286     1989   FRUHF   1H2E00615KH028622   ELF‐1     IA               Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY57287     1989   FRUHF   1H2E00617KH028623   ELF‐1     TX               Irving
 YRCF     DOLLY            DOL‐SA   RDWY57288     1989   FRUHF   1H2E00619KH028624   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57290     1989   FRUHF   1H2E00612KH028626   ELF‐1     British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY57291     1989   FRUHF   1H2E00614KH028627   ELF‐1     TN               Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57294     1989   FRUHF   1H2E00614KH028630   ELF‐1     CA               Brisbane
 YRCF     DOLLY            DOL‐SA   RDWY57297     1989   FRUHF   1H2E0061XKH028633   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY57299     1989   FRUHF   1H2E00613KH028635   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY57300     1989   FRUHF   1H2E00615KH028636   ELF‐1     MO               Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY57303     1989   FRUHF   1H2E00610KH028639   ELF‐1     OH               Dayton
 YRCF     DOLLY            DOL‐SA   RDWY57304     1989   FRUHF   1H2E00617KH028640   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY57306     1989   FRUHF   1H2E00610KH028642   ELF‐1     FL               Orlando
 YRCF     DOLLY            DOL‐SA   RDWY57307     1989   FRUHF   1H2E00612KH028643   ELF‐1     OH               North Lima
 YRCF     DOLLY            DOL‐SA   RDWY57309     1989   FRUHF   1H2E00616KH028645   ELF‐1     NV               Sparks
 YRCF     DOLLY            DOL‐SA   RDWY57312     1989   FRUHF   1H2E00611KH028648   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY57314     1989   FRUHF   1H2E0061XKH028650   ELF‐1     IN               South Bend
 YRCF     DOLLY            DOL‐SA   RDWY57315     1989   FRUHF   1H2E00611KH028651   ELF‐1     OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY57319     1989   FRUHF   1H2E00619KH028655   ELF‐1     WA               Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY57320     1989   FRUHF   1H2E00610KH028656   ELF‐1     PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57324     1989   FRUHF   1H2E00612KH028660   ELF‐1     TN               Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57326     1989   FRUHF   1H2E00616KH028662   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57327     1989   FRUHF   1H2E00618KH028663   ELF‐1     UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57329     1989   FRUHF   1H2E00611KH028665   ELF‐1     IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57330     1989   FRUHF   1H2E00613KH028666   ELF‐1     WI               Eau Claire
 YRCF     DOLLY            DOL‐SA   RDWY57332     1989   FRUHF   1H2E00617KH028668   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY57333     1989   FRUHF   1H2E00619KH028669   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY57335     1989   FRUHF   1H2E00617KH028671   ELF‐1     TN               Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57336     1989   FRUHF   1H2E00619KH028672   ELF‐1     NY               Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57338     1989   FRUHF   1H2E00612KH028674   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY57339     1989   FRUHF   1H2E00614KH028675   ELF‐1     TX               El Paso
 YRCF     DOLLY            DOL‐SA   RDWY57340     1989   FRUHF   1H2E00616KH028676   ELF‐1     TX               Irving
 YRCF     DOLLY            DOL‐SA   RDWY57341     1989   FRUHF   1H2E00618KH028677   ELF‐1     CO               Aurora
 YRCF     DOLLY            DOL‐SA   RDWY57343     1989   FRUHF   1H2E00611KH028679   ELF‐1     MO               Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57344     1989   FRUHF   1H2E00618KH028680   ELF‐1     VA               Richmond
 YRCF     DOLLY            DOL‐SA   RDWY57345     1989   FRUHF   1H2E0061XKH028681   ELF‐1     OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY57346     1989   FRUHF   1H2E00611KH028682   ELF‐1     PQ               Dorval
 YRCF     DOLLY            DOL‐SA   RDWY57347     1989   FRUHF   1H2E00613KH028683   ELF‐1     PA               Erie
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 513 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     DOLLY            DOL‐SA   RDWY57349     1989   FRUHF   1H2E00617KH028685   ELF‐1     AR             Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY57351     1989   FRUHF   1H2E00610KH028687   ELF‐1     UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57353     1989   FRUHF   1H2E00614KH028689   ELF‐1     OH             Richfield
 YRCF     DOLLY            DOL‐SA   RDWY57354     1989   FRUHF   1H2E00610KH028690   ELF‐1     NV             Sparks
 YRCF     DOLLY            DOL‐SA   RDWY57356     1989   FRUHF   1H2E00614KH028692   ELF‐1     NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57357     1989   FRUHF   1H2E00616KH028693   ELF‐1     NM             Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY57358     1989   FRUHF   1H2E00618KH028694   ELF‐1     NY             Williamsville
 YRCF     DOLLY            DOL‐SA   RDWY57361     1989   FRUHF   1H2E00613KH028697   ELF‐1     IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57362     1989   FRUHF   1H2E00615KH028698   ELF‐1     MS             Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY57363     1989   FRUHF   1H2E00617KH028699   ELF‐1     CO             Aurora
 YRCF     DOLLY            DOL‐SA   RDWY57364     1989   FRUHF   1H2E0061XKH028700   ELF‐1     OH             Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY57365     1989   FRUHF   1H2E00611KH028701   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57366     1989   FRUHF   1H2E00613KH028702   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57367     1989   FRUHF   1H2E00615KH028703   ELF‐1     OR             Portland
 YRCF     DOLLY            DOL‐SA   RDWY57368     1989   FRUHF   1H2E00617KH028704   ELF‐1     OH             Richfield
 YRCF     DOLLY            DOL‐SA   RDWY57370     1989   FRUHF   1H2E00610KH028706   ELF‐1     IL             Joliet
 YRCF     DOLLY            DOL‐SA   RDWY57372     1989   FRUHF   1H2E00614KH028708   ELF‐1     IN             Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57374     1989   FRUHF   1H2E00612KH028710   ELF‐1     TN             Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57376     1989   FRUHF   1H2E00616KH028712   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57377     1989   FRUHF   1H2E00618KH028713   ELF‐1     Saskatchewan   Regina
 YRCF     DOLLY            DOL‐SA   RDWY57379     1989   FRUHF   1H2E00611KH028715   ELF‐1     TX             Irving
 YRCF     DOLLY            DOL‐SA   RDWY57381     1989   FRUHF   1H2E00615KH028717   ELF‐1     IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57382     1989   FRUHF   1H2E00617KH028718   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57383     1989   FRUHF   1H2E00619KH028719   ELF‐1     RI             Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY57384     1989   FRUHF   1H2E00615KH028720   ELF‐1     UT             Beaver
 YRCF     DOLLY            DOL‐SA   RDWY57386     1989   FRUHF   1H2E00619KH028722   ELF‐1     TN             Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57388     1989   FRUHF   1H2E00612KH028724   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57389     1989   FRUHF   1H2E00614KH028725   ELF‐1     MD             Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY57392     1989   FRUHF   1H2E0061XKH028728   ELF‐1     IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57395     1989   FRUHF   1H2E0061XKH028731   ELF‐1     IN             Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY57400     1989   FRUHF   1H2E00619KH028736   ELF‐1     CO             Aurora
 YRCF     DOLLY            DOL‐SA   RDWY57401     1989   FRUHF   1H2E00610KH028737   ELF‐1     NV             Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY57402     1989   FRUHF   1H2E00612KH028738   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57403     1989   FRUHF   1H2E00614KH028739   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY57404     1989   FRUHF   1H2E00610KH028740   ELF‐1     FL             Tampa
 YRCF     DOLLY            DOL‐SA   RDWY57405     1989   FRUHF   1H2E00612KH028741   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57406     1989   FRUHF   1H2E00614KH028742   ELF‐1     IL             Joliet
 YRCF     DOLLY            DOL‐SA   RDWY57408     1989   FRUHF   1H2E00618KH028744   ELF‐1     NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57409     1989   FRUHF   1H2E0061XKH028745   ELF‐1     OR             Central Point
 YRCF     DOLLY            DOL‐SA   RDWY57411     1989   FRUHF   1H2E00613KH028747   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57415     1989   FRUHF   1H2E00615KH028751   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57416     1989   FRUHF   1H2E00617KH028752   ELF‐1     VA             Elliston
 YRCF     DOLLY            DOL‐SA   RDWY57417     1989   FRUHF   1H2E00619KH028753   ELF‐1     OH             Lima
 YRCF     DOLLY            DOL‐SA   RDWY57418     1989   FRUHF   1H2E00610KH028754   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY57422     1989   FRUHF   1H2E00618KH028758   ELF‐1     NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57423     1989   FRUHF   1H2E0061XKH028759   ELF‐1     MN             Saint Cloud
 YRCF     DOLLY            DOL‐SA   RDWY57426     1989   FRUHF   1H2E0061XKH028762   ELF‐1     FL             Miami
 YRCF     DOLLY            DOL‐SA   RDWY57427     1989   FRUHF   1H2E00611KH028763   ELF‐1     MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY57429     1989   FRUHF   1H2E00615KH028765   ELF‐1     IN             Hammond
 YRCF     DOLLY            DOL‐SA   RDWY57433     1989   FRUHF   1H2E00612KH028769   ELF‐1     MD             Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY57434     1989   FRUHF   1H2E00619KH028770   ELF‐1     IN             Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY57435     1989   FRUHF   1H2E00610KH028771   ELF‐1     RI             Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY57437     1989   FRUHF   1H2E00614KH028773   ELF‐1     MO             Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57439     1989   FRUHF   1H2E00618KH028775   ELF‐1     MO             Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57442     1989   FRUHF   1H2E00613KH028778   ELF‐1     IL             Hodgkins
 YRCF     DOLLY            DOL‐SA   RDWY57443     1989   FRUHF   1H2E00615KH028779   ELF‐1     NV             Sparks
 YRCF     DOLLY            DOL‐SA   RDWY57446     1989   FRUHF   1H2E00615KH028782   ELF‐1     CA             Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY57448     1989   FRUHF   1H2E00619KH028784   ELF‐1     MT             Great Falls
 YRCF     DOLLY            DOL‐SA   RDWY57449     1989   FRUHF   1H2E00610KH028785   ELF‐1     MO             Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57450     1989   FRUHF   1H2E00612KH028786   ELF‐1     CA             Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57451     1989   FRUHF   1H2E00614KH028787   ELF‐1     MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY57452     1989   FRUHF   1H2E00616KH028788   ELF‐1     KS             Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57453     1989   FRUHF   1H2E00618KH028789   ELF‐1     CA             San Bernardino
 YRCF     DOLLY            DOL‐SA   RDWY57458     1989   FRUHF   1H2E00611KH028794   ELF‐1     AZ             Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY57459     1989   FRUHF   1H2E00613KH028795   ELF‐1     CA             Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57461     1989   FRUHF   1H2E00617KH028797   ELF‐1     OK             Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY57463     1989   FRUHF   1H2E00610KH028799   ELF‐1     NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57464     1989   FRUHF   1H2E00613KH028800   ELF‐1     CA             Orange
 YRCF     DOLLY            DOL‐SA   RDWY57465     1989   FRUHF   1H2E00615KH028801   ELF‐1     TX             Irving
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 514 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY57466     1989   FRUHF   1H2E00617KH028802   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57470     1989   FRUHF   1H2E00614KH028806   ELF‐1     NY      East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY57471     1989   FRUHF   1H2E00616KH028807   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY57474     1989   FRUHF   1H2E00616KH028810   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57478     1989   FRUHF   1H2E00613KH028814   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY57480     1989   FRUHF   1H2E00617KH028816   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57484     1989   FRUHF   1H2E00619KH028820   ELF‐1     WV      Beckley
 YRCF     DOLLY            DOL‐SA   RDWY57485     1989   FRUHF   1H2E00610KH028821   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57486     1989   FRUHF   1H2E00612KH028822   ELF‐1     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY57487     1989   FRUHF   1H2E00614KH028823   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57489     1989   FRUHF   1H2E00618KH028825   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57491     1989   FRUHF   1H2E00611KH028827   ELF‐1     NE      Omaha
 YRCF     DOLLY            DOL‐SA   RDWY57495     1989   FRUHF   1H2E00613KH028831   ELF‐1     PA      Erie
 YRCF     DOLLY            DOL‐SA   RDWY57496     1989   FRUHF   1H2E00615KH028832   ELF‐1     ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY57497     1989   FRUHF   1H2E00617KH028833   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57498     1989   FRUHF   1H2E00619KH028834   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY57499     1989   FRUHF   1H2E00610KH028835   ELF‐1     ID      Meridian
 YRCF     DOLLY            DOL‐SA   RDWY57501     1989   FRUHF   1H2E00614KH028837   ELF‐1     KY      Waddy
 YRCF     DOLLY            DOL‐SA   RDWY57502     1989   FRUHF   1H2E00616KH028838   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57503     1989   FRUHF   1H2E00618KH028839   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57504     1989   FRUHF   1H2E00614KH028840   ELF‐1     CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY57505     1989   FRUHF   1H2E00616KH028841   ELF‐1     TX      Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY57507     1989   FRUHF   1H2E0061XKH028843   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57510     1989   FRUHF   1H2E00615KH028846   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57513     1989   FRUHF   1H2E00610KH028849   ELF‐1     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY57514     1989   FRUHF   1H2E00617KH028850   ELF‐1     VA      Roanoke
 YRCF     DOLLY            DOL‐SA   RDWY57515     1989   FRUHF   1H2E00611KH031601   ELF‐1     ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY57516     1989   FRUHF   1H2E00613KH031602   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57517     1989   FRUHF   1H2E00615KH031603   ELF‐1     RI      Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY57518     1989   FRUHF   1H2E00617KH031604   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57520     1989   FRUHF   1H2E00610KH031606   ELF‐1     WA      Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY57521     1989   FRUHF   1H2E00612KH031607   ELF‐1     MO      Sikeston
 YRCF     DOLLY            DOL‐SA   RDWY57522     1989   FRUHF   1H2E00614KH031608   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57525     1989   FRUHF   1H2E00614KH031611   ELF‐1     NC      Kernersville
 YRCF     DOLLY            DOL‐SA   RDWY57526     1989   FRUHF   1H2E00616KH031612   ELF‐1     NV      Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY57527     1989   FRUHF   1H2E00618KH031613   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57529     1989   FRUHF   1H2E00611KH031615   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57530     1989   FRUHF   1H2E00613KH031616   ELF‐1     AL      Decatur
 YRCF     DOLLY            DOL‐SA   RDWY57531     1989   FRUHF   1H2E00615KH031617   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57534     1989   FRUHF   1H2E00615KH031620   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY57537     1989   FRUHF   1H2E00610KH031623   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57538     1989   FRUHF   1H2E00612KH031624   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57539     1989   FRUHF   1H2E00614KH031625   ELF‐1     TN      Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY57540     1989   FRUHF   1H2E00616KH031626   ELF‐1     TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY57543     1989   FRUHF   1H2E00611KH031629   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57544     1989   FRUHF   1H2E00618KH031630   ELF‐1     MD      Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY57545     1989   FRUHF   1H2E0061XKH031631   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57550     1989   FRUHF   1H2E00619KH031636   ELF‐1     MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY57551     1989   FRUHF   1H2E00610KH031637   ELF‐1     AL      Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY57553     1989   FRUHF   1H2E00614KH031639   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57554     1989   FRUHF   1H2E00610KH031640   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57557     1989   FRUHF   1H2E00616KH031643   ELF‐1     WA      Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY57558     1989   FRUHF   1H2E00618KH031644   ELF‐1     AL      Mobile
 YRCF     DOLLY            DOL‐SA   RDWY57560     1989   FRUHF   1H2E00611KH031646   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57561     1989   FRUHF   1H2E00613KH031647   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57562     1989   FRUHF   1H2E00615KH031648   ELF‐1     GA      Ringgold
 YRCF     DOLLY            DOL‐SA   RDWY57563     1989   FRUHF   1H2E00617KH031649   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY57565     1989   FRUHF   1H2E00615KH031651   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY57569     1989   FRUHF   1H2E00612KH031655   ELF‐1     AL      Mobile
 YRCF     DOLLY            DOL‐SA   RDWY57570     1989   FRUHF   1H2E00614KH031656   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57571     1989   FRUHF   1H2E00616KH031657   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57573     1989   FRUHF   1H2E0061XKH031659   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY57574     1989   FRUHF   1H2E00616KH031660   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57575     1989   FRUHF   1H2E00618KH031661   ELF‐1     IN      Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY57577     1989   FRUHF   1H2E00611KH031663   ELF‐1     OH      Dayton
 YRCF     DOLLY            DOL‐SA   RDWY57578     1989   FRUHF   1H2E00613KH031664   ELF‐1     WA      Everett
 YRCF     DOLLY            DOL‐SA   RDWY57579     1989   FRUHF   1H2E00615KH031665   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57580     1989   FRUHF   1H2E00617KH031666   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY57581     1989   FRUHF   1H2E00619KH031667   ELF‐1     NE      Omaha
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 515 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY57586     1989   FRUHF   1H2E00612KH031672   ELF‐1     PA      Line Lexington
 YRCF     DOLLY            DOL‐SA   RDWY57587     1989   FRUHF   1H2E00614KH031673   ELF‐1     VA      Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY57588     1989   FRUHF   1H2E00616KH031674   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY57589     1989   FRUHF   1H2E00618KH031675   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY57591     1989   FRUHF   1H2E00611KH031677   ELF‐1     TX      Laredo
 YRCF     DOLLY            DOL‐SA   RDWY57594     1989   FRUHF   1H2E00611KH031680   ELF‐1     AL      Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY57595     1989   FRUHF   1H2E00613KH031681   ELF‐1     MI      Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY57596     1989   FRUHF   1H2E00615KH031682   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY57599     1989   FRUHF   1H2E00610KH031685   ELF‐1     AL      Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY57600     1989   FRUHF   1H2E00612KH031686   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY57601     1989   FRUHF   1H2E00614KH031687   ELF‐1     OH      Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY57603     1989   FRUHF   1H2E00618KH031689   ELF‐1     WI      Portage
 YRCF     DOLLY            DOL‐SA   RDWY57606     1989   FRUHF   1H2E00618KH031692   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY57607     1989   FRUHF   1H2E0061XKH031693   ELF‐1     FL      Orlando
 YRCF     DOLLY            DOL‐SA   RDWY57609     1989   FRUHF   1H2E00613KH031695   ELF‐1     VA      Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY57610     1989   FRUHF   1H2E00615KH031696   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57611     1989   FRUHF   1H2E00617KH031697   ELF‐1     CA      Santa Clara
 YRCF     DOLLY            DOL‐SA   RDWY57612     1989   FRUHF   1H2E00619KH031698   ELF‐1     OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY57614     1989   FRUHF   1H2E00613KH031700   ELF‐1     NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY57618     1989   FRUHF   1H2E00617KH045003   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57619     1989   FRUHF   1H2E00619KH045004   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY57621     1989   FRUHF   1H2E00612KH045006   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57622     1989   FRUHF   1H2E00614KH045007   ELF‐1     MI      Taylor
 YRCF     DOLLY            DOL‐SA   RDWY57624     1989   FRUHF   1H2E00618KH045009   ELF‐1     MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY57625     1989   FRUHF   1H2E00614KH045010   ELF‐1     OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY57626     1989   FRUHF   1H2E00616KH045011   ELF‐1     AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY57627     1989   FRUHF   1H2E00618KH045012   ELF‐1     IL      Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY57628     1989   FRUHF   1H2E0061XKH045013   ELF‐1     TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY57629     1989   FRUHF   1H2E00611KH045014   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57630     1989   FRUHF   1H2E00613KH045015   ELF‐1     WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY57632     1989   FRUHF   1H2E00617KH045017   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57633     1989   FRUHF   1H2E00619KH045018   ELF‐1     IL      Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY57635     1989   FRUHF   1H2E00617KH045020   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57636     1989   FRUHF   1H2E00619KH045021   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57638     1989   FRUHF   1H2E00612KH045023   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57639     1989   FRUHF   1H2E00614KH045024   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57641     1989   FRUHF   1H2E00618KH045026   ELF‐1     WA      Everett
 YRCF     DOLLY            DOL‐SA   RDWY57642     1989   FRUHF   1H2E0061XKH045027   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57643     1989   FRUHF   1H2E00611KH045028   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57648     1989   FRUHF   1H2E00615KH045033   ELF‐1     AZ      Lake Havasu City
 YRCF     DOLLY            DOL‐SA   RDWY57650     1989   FRUHF   1H2E00619KH045035   ELF‐1     MI      Wayland
 YRCF     DOLLY            DOL‐SA   RDWY57654     1989   FRUHF   1H2E00616KH045039   ELF‐1     IN      Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY57656     1989   FRUHF   1H2E00614KH045041   ELF‐1     IL      Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY57660     1989   FRUHF   1H2E00611KH045045   ELF‐1     ME      Fairfield
 YRCF     DOLLY            DOL‐SA   RDWY57661     1989   FRUHF   1H2E00613KH045046   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57662     1989   FRUHF   1H2E00615KH045047   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57663     1989   FRUHF   1H2E00617KH045048   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY57664     1989   FRUHF   1H2E00619KH045049   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY57666     1989   FRUHF   1H2E00617KH045051   ELF‐1     NE      North Platte
 YRCF     DOLLY            DOL‐SA   RDWY57667     1989   FRUHF   1H2E00619KH045052   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57668     1989   FRUHF   1H2E00610KH045053   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57669     1989   FRUHF   1H2E00612KH045054   ELF‐1     TX      San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY57671     1989   FRUHF   1H2E00616KH045056   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57672     1989   FRUHF   1H2E00618KH045057   ELF‐1     TX      Sherman
 YRCF     DOLLY            DOL‐SA   RDWY57674     1989   FRUHF   1H2E00611KH045059   ELF‐1     FL      Ocala
 YRCF     DOLLY            DOL‐SA   RDWY57675     1989   FRUHF   1H2E00618KH045060   ELF‐1     TX      Sherman
 YRCF     DOLLY            DOL‐SA   RDWY57676     1989   FRUHF   1H2E0061XKH045061   ELF‐1     OH      Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY57682     1989   FRUHF   1H2E00610KH045067   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY57684     1989   FRUHF   1H2E00614KH045069   ELF‐1     CA      Fontana
 YRCF     DOLLY            DOL‐SA   RDWY57685     1989   FRUHF   1H2E00610KH045070   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57688     1989   FRUHF   1H2E00616KH045073   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57690     1989   FRUHF   1H2E0061XKH045075   ELF‐1     WI      Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY57691     1989   FRUHF   1H2E00611KH045076   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57692     1989   FRUHF   1H2E00613KH045077   ELF‐1     GA      Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY57693     1989   FRUHF   1H2E00615KH045078   ELF‐1     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57696     1989   FRUHF   1H2E00615KH045081   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57697     1989   FRUHF   1H2E00617KH045082   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY57698     1989   FRUHF   1H2E00619KH045083   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY57701     1989   FRUHF   1H2E00614KH045086   ELF‐1     NJ      South Plainfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 516 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     DOLLY            DOL‐SA   RDWY57703     1989   FRUHF   1H2E00618KH045088   ELF‐1      WI        Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY57705     1989   FRUHF   1H2E00616KH045090   ELF‐1      TX        Sherman
 YRCF     DOLLY            DOL‐SA   RDWY57706     1989   FRUHF   1H2E00618KH045091   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57708     1989   FRUHF   1H2E00611KH045093   ELF‐1      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY57710     1989   FRUHF   1H2E00615KH045095   ELF‐1      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57711     1989   FRUHF   1H2E00617KH045096   ELF‐1      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57712     1989   FRUHF   1H2E00619KH045097   ELF‐1      PQ        Dorval
 YRCF     DOLLY            DOL‐SA   RDWY57716     1989   FRUHF   1H2E00617KH045101   ELF‐1      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY57717     1989   FRUHF   1H2E00619KH045102   ELF‐1      CA        Anderson
 YRCF     DOLLY            DOL‐SA   RDWY57719     1989   FRUHF   1H2E00612KH045104   ELF‐1      CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57721     1989   FRUHF   1H2E00616KH045106   ELF‐1      TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY57724     1989   FRUHF   1H2E00611KH045109   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57728     1989   FRUHF   1H2E00613KH045113   ELF‐1      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57729     1989   FRUHF   1H2E00615KH045114   ELF‐1      CA        Stockton
 YRCF     DOLLY            DOL‐SA   RDWY57730     1989   FRUHF   1H2E00617KH045115   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57731     1989   FRUHF   1H2E00619KH045116   ELF‐1      WA        Spokane
 YRCF     DOLLY            DOL‐SA   RDWY57732     1989   FRUHF   1H2E00610KH045117   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57733     1989   FRUHF   1H2E00612KH045118   ELF‐1      CA        Hayward
 YRCF     DOLLY            DOL‐SA   RDWY57735     1989   FRUHF   1H2E00610KH045120   ELF‐1      WA        Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY57740     1989   FRUHF   1H2E0061XKH045125   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57741     1989   FRUHF   1H2E00611KH045126   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57746     1989   FRUHF   1H2E00615KH045131   ELF‐1      NY        Mount Vernon
 YRCF     DOLLY            DOL‐SA   RDWY57751     1989   FRUHF   1H2E00614KH045136   ELF‐1      CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY57753     1989   FRUHF   1H2E00618KH045138   ELF‐1      WV        Bridgeport
 YRCF     DOLLY            DOL‐SA   RDWY57755     1989   FRUHF   1H2E00616KH045140   ELF‐1      TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57758     1989   FRUHF   1H2E00611KH045143   ELF‐1      TN        Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY57759     1989   FRUHF   1H2E00613KH045144   ELF‐1      RI        Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY57762     1989   FRUHF   1H2E00619KH045147   ELF‐1      AZ        Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY57763     1989   FRUHF   1H2E00610KH045148   ELF‐1      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57764     1989   FRUHF   1H2E00612KH045149   ELF‐1      AR        Springdale
 YRCF     DOLLY            DOL‐SA   RDWY57768     1989   FRUHF   1H2E00614KH045153   ELF‐1      MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY57770     1989   FRUHF   1H2E00618KH045155   ELF‐1      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57771     1989   FRUHF   1H2E0061XKH045156   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57772     1989   FRUHF   1H2E00611KH045157   ELF‐1      MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57773     1989   FRUHF   1H2E00613KH045158   ELF‐1      IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57775     1989   FRUHF   1H2E00611KH045160   ELF‐1      IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY57778     1989   FRUHF   1H2E00617KH045163   ELF‐1      PA        Mountain Top
 YRCF     DOLLY            DOL‐SA   RDWY57779     1989   FRUHF   1H2E00619KH045164   ELF‐1      SC        Florence
 YRCF     DOLLY            DOL‐SA   RDWY57780     1989   FRUHF   1H2E00610KH045165   ELF‐1      GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY57782     1989   FRUHF   1H2E00614KH045167   ELF‐1      CA        Orange
 YRCF     DOLLY            DOL‐SA   RDWY57784     1989   FRUHF   1H2E00618KH045169   ELF‐1      NV        Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY57785     1989   FRUHF   1H2E00614KH045170   ELF‐1      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57786     1989   FRUHF   1H2E00616KH045171   ELF‐1      IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY57787     1989   FRUHF   1H2E00618KH045172   ELF‐1      Alberta   Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY57788     1989   FRUHF   1H2E0061XKH045173   ELF‐1      IL        Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY57789     1989   FRUHF   1H2E00611KH045174   ELF‐1      Alberta   Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY57790     1989   FRUHF   1H2E00613KH045175   ELF‐1      MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY57794     1989   FRUHF   1H2E00610KH045179   ELF‐1      IA        Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY57797     1989   FRUHF   1H2E00610KH045182   ELF‐1      MS        Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY57798     1989   FRUHF   1H2E00612KH045183   ELF‐1      TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY57800     1989   FRUHF   1H2E00616KH045185   ELF‐1      CA        Santa Maria
 YRCF     DOLLY            DOL‐SA   RDWY57802     1989   FRUHF   1H2E0061XKH045187   ELF‐1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57803     1989   FRUHF   1H2E00611KH045188   ELF‐1      SC        West Columbia
 YRCF     DOLLY            DOL‐SA   RDWY57805     1989   FRUHF   1H2E0061XKH045190   ELF‐1      AZ        Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY57807     1989   FRUHF   1H2E00613KH045192   ELF‐1      MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY57809     1989   FRUHF   1H2E00617KH045194   ELF‐1      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY57810     1989   FRUHF   1H2E00619KH045195   ELF‐1      WA        Pasco
 YRCF     DOLLY            DOL‐SA   RDWY57813     1989   FRUHF   1H2E00614KH045198   ELF‐1      WI        Eau Claire
 YRCF     DOLLY            DOL‐SA   RDWY57815     1989   FRUHF   1H2E00619KH045200   ELF‐1      WI        Neenah
 YRCF     DOLLY            DOL‐SA   RDWY57822     1990   MONON   1NNJ00914LM139708   CD100A96   OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57823     1989   NTHCT   1N9CD0018KW060020   NCD1       IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57825     1989   NTHCT   1N9CD0018KW060022   NCD1       NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57828     1989   NTHCT   1N9CD0013KW060025   NCD1       OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY57831     1989   NTHCT   1N9CD0019KW060028   NCD1       TX        El Paso
 YRCF     DOLLY            DOL‐SA   RDWY57833     1989   NTHCT   1N9CD0017KW060030   NCD1       NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY57834     1989   NTHCT   1N9CD0019KW060031   NCD1       IN        South Bend
 YRCF     DOLLY            DOL‐SA   RDWY57835     1989   NTHCT   1N9CD0010KW060032   NCD1       OH        Dayton
 YRCF     DOLLY            DOL‐SA   RDWY57836     1989   NTHCT   1N9CD0012KW060033   NCD1       OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57838     1989   NTHCT   1N9CD0016KW060035   NCD1       GA        La Grange
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 517 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY57842     1989   NTHCT   1N9CD0013KW060039   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57843     1989   NTHCT   1N9CD001XKW060040   NCD1      CA        Orange
 YRCF     DOLLY            DOL‐SA   RDWY57845     1989   NTHCT   1N9CD0013KW060042   NCD1      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57846     1989   NTHCT   1N9CD0015KW060043   NCD1      PA        Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY57847     1989   NTHCT   1N9CD0017KW060044   NCD1      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY57854     1989   NTHCT   1N9CD0014KW060051   NCD1      TX        Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY57855     1989   NTHCT   1N9CD0016KW060052   NCD1      PQ        Dorval
 YRCF     DOLLY            DOL‐SA   RDWY57858     1989   NTHCT   1N9CD0011KW060055   NCD1      GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY57861     1989   NTHCT   1N9CD0017KW060058   NCD1      MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY57862     1989   NTHCT   1N9CD0019KW060059   NCD1      GA        Thomasville
 YRCF     DOLLY            DOL‐SA   RDWY57867     1989   NTHCT   1N9CD0012KW060064   NCD1      DE        New Castle
 YRCF     DOLLY            DOL‐SA   RDWY57871     1989   NTHCT   1N9CD001XKW060068   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57874     1989   NTHCT   1N9CD001XKW060071   NCD1      UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57877     1989   NTHCT   1N9CD0015KW060074   NCD1      IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57879     1989   NTHCT   1N9CD0019KW060076   NCD1      OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY57880     1989   NTHCT   1N9CD0010KW060077   NCD1      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57884     1989   NTHCT   1N9CD0012KW060081   NCD1      CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY57885     1989   NTHCT   1N9CD0014KW060082   NCD1      Ontario   Woodstock
 YRCF     DOLLY            DOL‐SA   RDWY57888     1989   NTHCT   1N9CD001XKW060085   NCD1      KS        Wichita
 YRCF     DOLLY            DOL‐SA   RDWY57889     1989   NTHCT   1N9CD0011KW060086   NCD1      SC        Florence
 YRCF     DOLLY            DOL‐SA   RDWY57891     1989   NTHCT   1N9CD0015KW060088   NCD1      WV        Beckley
 YRCF     DOLLY            DOL‐SA   RDWY57894     1989   NTHCT   1N9CD0015KW060091   NCD1      NJ        Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY57896     1989   NTHCT   1N9CD0019KW060093   NCD1      OK        Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY57897     1989   NTHCT   1N9CD0010KW060094   NCD1      UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY57898     1989   NTHCT   1N9CD0012KW060095   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57899     1989   NTHCT   1N9CD0014KW060096   NCD1      NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY57900     1989   NTHCT   1N9CD0016KW060097   NCD1      MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY57904     1989   NTHCT   1N9CD0014KW060101   NCD1      OH        Lima
 YRCF     DOLLY            DOL‐SA   RDWY57906     1989   NTHCT   1N9CD0018KW060103   NCD1      CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY57907     1989   NTHCT   1N9CD001XKW060104   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57908     1989   NTHCT   1N9CD0011KW060105   NCD1      NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY57911     1989   NTHCT   1N9CD0017KW060108   NCD1      NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY57913     1989   NTHCT   1N9CD0015KW060110   NCD1      SD        Watertown
 YRCF     DOLLY            DOL‐SA   RDWY57920     1989   NTHCT   1N9CD0018KW060117   NCD1      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY57921     1989   NTHCT   1N9CD001XKW060118   NCD1      WI        Eau Claire
 YRCF     DOLLY            DOL‐SA   RDWY57922     1989   NTHCT   1N9CD0011KW060119   NCD1      WA        East Wenatchee
 YRCF     DOLLY            DOL‐SA   RDWY57923     1989   NTHCT   1N9CD0018KW060120   NCD1      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY57926     1989   NTHCT   1N9CD0013KW060123   NCD1      IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY57931     1989   NTHCT   1N9CD0012KW060128   NCD1      OK        Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY57932     1989   NTHCT   1N9CD0014KW060129   NCD1      MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY57934     1989   NTHCT   1N9CD0012KW060131   NCD1      AR        Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY57936     1989   NTHCT   1N9CD0016KW060133   NCD1      PA        Mountain Top
 YRCF     DOLLY            DOL‐SA   RDWY57939     1989   NTHCT   1N9CD0011KW060136   NCD1      MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY57941     1989   NTHCT   1N9CD0015KW060138   NCD1      IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57944     1989   NTHCT   1N9CD0015KW060141   NCD1      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY57946     1989   NTHCT   1N9CD0019KW060143   NCD1      MI        Taylor
 YRCF     DOLLY            DOL‐SA   RDWY57953     1989   NTHCT   1N9CD0016KW060150   NCD1      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57955     1989   NTHCT   1N9CD001XKW060152   NCD1      Alberta   Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY57956     1989   NTHCT   1N9CD0011KW060153   NCD1      VA        Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY57961     1989   NTHCT   1N9CD0010KW060158   NCD1      IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57965     1989   NTHCT   1N9CD0012KW060162   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57966     1989   NTHCT   1N9CD0014KW060163   NCD1      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY57967     1990   NTHCT   1N9CD0019LW060001   NCD1      NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY57968     1990   NTHCT   1N9CD0010LW060002   NCD1      WV        Charleston
 YRCF     DOLLY            DOL‐SA   RDWY57970     1990   NTHCT   1N9CD0014LW060004   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57971     1990   NTHCT   1N9CD0016LW060005   NCD1      IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY57976     1990   NTHCT   1N9CD001XLW060010   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57979     1990   NTHCT   1N9CD0015LW060013   NCD1      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY57980     1990   NTHCT   1N9CD0017LW060014   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57981     1990   NTHCT   1N9CD0019LW060015   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57984     1990   NTHCT   1N9CD0014LW060018   NCD1      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY57985     1990   NTHCT   1N9CD0016LW060019   NCD1      WY        Cheyenne
 YRCF     DOLLY            DOL‐SA   RDWY57986     1990   NTHCT   1N9CD0012LW060020   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY57988     1990   NTHCT   1N9CD0016LW060022   NCD1      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY57990     1990   NTHCT   1N9CD001XLW060024   NCD1      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY57992     1990   NTHCT   1N9CD0013LW060026   NCD1      OK        Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY57999     1990   NTHCT   1N9CD0010LW060033   NCD1      NJ        South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY58002     1990   NTHCT   1N9CD0016LW060036   NCD1      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58003     1990   NTHCT   1N9CD0018LW060037   NCD1      OH        Dayton
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 518 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY58004     1990   NTHCT   1N9CD001XLW060038   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58005     1990   NTHCT   1N9CD0011LW060039   NCD1      TX        Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY58008     1990   NTHCT   1N9CD0011LW060042   NCD1      IN        Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY58009     1990   NTHCT   1N9CD0013LW060043   NCD1      TX        El Paso
 YRCF     DOLLY            DOL‐SA   RDWY58012     1990   NTHCT   1N9CD0019LW060046   NCD1      TX        San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY58014     1990   NTHCT   1N9CD0012LW060048   NCD1      TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY58019     1990   NTHCT   1N9CD0016LW060053   NCD1      MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY58021     1990   NTHCT   1N9CD001XLW060055   NCD1      WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY58023     1990   NTHCT   1N9CD0013LW060057   NCD1      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY58025     1990   NTHCT   1N9CD0017LW060059   NCD1      CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY58026     1990   NTHCT   1N9CD0013LW060060   NCD1      CO        Henderson
 YRCF     DOLLY            DOL‐SA   RDWY58027     1990   NTHCT   1N9CD0015LW060061   NCD1      IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY58028     1990   NTHCT   1N9CD0017LW060062   NCD1      IN        Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY58029     1990   NTHCT   1N9CD0019LW060063   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58031     1990   NTHCT   1N9CD0012LW060065   NCD1      TX        El Paso
 YRCF     DOLLY            DOL‐SA   RDWY58032     1990   NTHCT   1N9CD0014LW060066   NCD1      OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58033     1990   NTHCT   1N9CD0016LW060067   NCD1      WI        Milwaukee
 YRCF     DOLLY            DOL‐SA   RDWY58034     1990   NTHCT   1N9CD0018LW060068   NCD1      NV        Las Vegas
 YRCF     DOLLY            DOL‐SA   RDWY58037     1990   NTHCT   1N9CD0018LW060071   NCD1      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58038     1990   NTHCT   1N9CD001XLW060072   NCD1      WA        Seattle
 YRCF     DOLLY            DOL‐SA   RDWY58040     1990   NTHCT   1N9CD0013LW060074   NCD1      GA        Macon
 YRCF     DOLLY            DOL‐SA   RDWY58042     1990   NTHCT   1N9CD0017LW060076   NCD1      NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY58045     1990   NTHCT   1N9CD0012LW060079   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58046     1990   NTHCT   1N9CD0019LW060080   NCD1      WV        Asbury
 YRCF     DOLLY            DOL‐SA   RDWY58049     1990   NTHCT   1N9CD0014LW060083   NCD1      LA        Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY58050     1990   NTHCT   1N9CD0016LW060084   NCD1      Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY58051     1990   NTHCT   1N9CD0018LW060085   NCD1      NC        Kernersville
 YRCF     DOLLY            DOL‐SA   RDWY58052     1990   NTHCT   1N9CD001XLW060086   NCD1      TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY58053     1990   NTHCT   1N9CD0011LW060087   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58054     1990   NTHCT   1N9CD0013LW060088   NCD1      IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58060     1990   NTHCT   1N9CD0019LW060094   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58062     1990   NTHCT   1N9CD0012LW060096   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58067     1990   NTHCT   1N9CD0012LW060101   NCD1      NJ        Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY58068     1990   NTHCT   1N9CD0014LW060102   NCD1      GA        Macon
 YRCF     DOLLY            DOL‐SA   RDWY58069     1990   NTHCT   1N9CD0016LW060103   NCD1      CA        Fontana
 YRCF     DOLLY            DOL‐SA   RDWY58070     1990   NTHCT   1N9CD0018LW060104   NCD1      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58073     1990   NTHCT   1N9CD0013LW060107   NCD1      IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58076     1990   NTHCT   1N9CD0013LW060110   NCD1      WA        Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY58085     1990   NTHCT   1N9CD001XLW060119   NCD1      NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY58091     1990   NTHCT   1N9CD0015LW060125   NCD1      PA        Line Lexington
 YRCF     DOLLY            DOL‐SA   RDWY58094     1990   NTHCT   1N9CD0010LW060128   NCD1      CA        Anderson
 YRCF     DOLLY            DOL‐SA   RDWY58095     1990   NTHCT   1N9CD0012LW060129   NCD1      TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY58100     1990   NTHCT   1N9CD0016LW060134   NCD1      WI        Portage
 YRCF     DOLLY            DOL‐SA   RDWY58103     1990   NTHCT   1N9CD0011LW060137   NCD1      FL        Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY58104     1990   NTHCT   1N9CD0013LW060138   NCD1      MO        Strafford
 YRCF     DOLLY            DOL‐SA   RDWY58105     1990   NTHCT   1N9CD0015LW060139   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58107     1990   NTHCT   1N9CD0013LW060141   NCD1      IA        Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY58110     1990   NTHCT   1N9CD0019LW060144   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58111     1990   NTHCT   1N9CD0010LW060145   NCD1      NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY58114     1990   NTHCT   1N9CD0016LW060148   NCD1      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58116     1990   NTHCT   1N9CD0014LW060150   NCD1      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58120     1990   NTHCT   1N9CD0011LW060154   NCD1      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58122     1990   NTHCT   1N9CD0015LW060156   NCD1      VT        Bellows Falls
 YRCF     DOLLY            DOL‐SA   RDWY58123     1990   FRUHF   1H2E00811LH019401   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY58124     1990   FRUHF   1H2E00813LH019402   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58126     1990   FRUHF   1H2E00817LH019404   ELF‐1     NY        Brooklyn
 YRCF     DOLLY            DOL‐SA   RDWY58129     1990   FRUHF   1H2E00812LH019407   ELF‐1     NY        Deer Park
 YRCF     DOLLY            DOL‐SA   RDWY58131     1990   FRUHF   1H2E00816LH019409   ELF‐1     IL        Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY58132     1990   FRUHF   1H2E00812LH019410   ELF‐1     OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY58134     1990   FRUHF   1H2E00816LH019412   ELF‐1     TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY58136     1990   FRUHF   1H2E0081XLH019414   ELF‐1     OH        Gallipolis
 YRCF     DOLLY            DOL‐SA   RDWY58138     1990   FRUHF   1H2E00813LH019416   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58141     1990   FRUHF   1H2E00819LH019419   ELF‐1     NJ        South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY58143     1990   FRUHF   1H2E00817LH019421   ELF‐1     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY58146     1990   FRUHF   1H2E00812LH019424   ELF‐1     AZ        Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY58147     1990   FRUHF   1H2E00814LH019425   ELF‐1     MI        Jackson
 YRCF     DOLLY            DOL‐SA   RDWY58149     1990   FRUHF   1H2E00818LH019427   ELF‐1     TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY58151     1990   FRUHF   1H2E00811LH019429   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58152     1990   FRUHF   1H2E00818LH019430   ELF‐1     AR        Little Rock
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 519 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     DOLLY            DOL‐SA   RDWY58153     1990   FRUHF   1H2E0081XLH019431   ELF‐1     IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58154     1990   FRUHF   1H2E00811LH019432   ELF‐1     WA             Bellingham
 YRCF     DOLLY            DOL‐SA   RDWY58156     1990   FRUHF   1H2E00815LH019434   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY58158     1990   FRUHF   1H2E00819LH019436   ELF‐1     TX             Irving
 YRCF     DOLLY            DOL‐SA   RDWY58161     1990   FRUHF   1H2E00814LH019439   ELF‐1     PA             Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY58162     1990   FRUHF   1H2E00810LH019440   ELF‐1     OH             Copley
 YRCF     DOLLY            DOL‐SA   RDWY58163     1990   FRUHF   1H2E00812LH019441   ELF‐1     KS             Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58164     1990   FRUHF   1H2E00814LH019442   ELF‐1     IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58166     1990   FRUHF   1H2E00818LH019444   ELF‐1     ID             Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY58169     1990   FRUHF   1H2E00813LH019447   ELF‐1     CA             Tracy
 YRCF     DOLLY            DOL‐SA   RDWY58171     1990   FRUHF   1H2E00817LH019449   ELF‐1     NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58174     1990   FRUHF   1H2E00817LH019452   ELF‐1     MS             Richland
 YRCF     DOLLY            DOL‐SA   RDWY58175     1990   FRUHF   1H2E00819LH019453   ELF‐1     IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58176     1990   FRUHF   1H2E00810LH019454   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY58178     1990   FRUHF   1H2E00814LH019456   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY58179     1990   FRUHF   1H2E00816LH019457   ELF‐1     MS             Tupelo
 YRCF     DOLLY            DOL‐SA   RDWY58180     1990   FRUHF   1H2E00818LH019458   ELF‐1     CO             Aurora
 YRCF     DOLLY            DOL‐SA   RDWY58181     1990   FRUHF   1H2E0081XLH019459   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY58182     1990   FRUHF   1H2E00816LH019460   ELF‐1     TX             McAllen
 YRCF     DOLLY            DOL‐SA   RDWY58183     1990   FRUHF   1H2E00818LH019461   ELF‐1     OH             Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58185     1990   FRUHF   1H2E00811LH019463   ELF‐1     IL             Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY58186     1990   FRUHF   1H2E00813LH019464   ELF‐1     OK             Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY58188     1990   FRUHF   1H2E00817LH019466   ELF‐1     NJ             Kearny
 YRCF     DOLLY            DOL‐SA   RDWY58189     1990   FRUHF   1H2E00819LH019467   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY58190     1990   FRUHF   1H2E00810LH019468   ELF‐1     TX             Irving
 YRCF     DOLLY            DOL‐SA   RDWY58191     1990   FRUHF   1H2E00812LH019469   ELF‐1     TX             El Paso
 YRCF     DOLLY            DOL‐SA   RDWY58194     1990   FRUHF   1H2E00812LH019472   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY58197     1990   FRUHF   1H2E00818LH019475   ELF‐1     OH             Copley
 YRCF     DOLLY            DOL‐SA   RDWY58199     1990   FRUHF   1H2E00811LH019477   ELF‐1     IN             Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY58200     1990   FRUHF   1H2E00813LH019478   ELF‐1     AR             Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY58201     1990   FRUHF   1H2E00815LH019479   ELF‐1     WI             Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY58202     1990   FRUHF   1H2E00811LH019480   ELF‐1     NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58204     1990   FRUHF   1H2E00815LH019482   ELF‐1     NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58206     1990   FRUHF   1H2E00819LH019484   ELF‐1     NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58209     1990   FRUHF   1H2E00814LH019487   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY58212     1990   FRUHF   1H2E00814LH019490   ELF‐1     NY             Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58213     1990   FRUHF   1H2E00816LH019491   ELF‐1     NY             Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY58214     1990   FRUHF   1H2E00818LH019492   ELF‐1     NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58217     1990   FRUHF   1H2E00813LH019495   ELF‐1     NM             Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY58219     1990   FRUHF   1H2E00817LH019497   ELF‐1     WA             Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY58220     1990   FRUHF   1H2E00819LH019498   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY58222     1990   FRUHF   1H2E00813LH019500   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY58223     1990   FRUHF   1H2E00815LH019501   ELF‐1     CA             Downey
 YRCF     DOLLY            DOL‐SA   RDWY58224     1990   FRUHF   1H2E00817LH019502   ELF‐1     LA             Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY58228     1990   FRUHF   1H2E00814LH019506   ELF‐1     MO             Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY58229     1990   FRUHF   1H2E00816LH019507   ELF‐1     TN             Jackson
 YRCF     DOLLY            DOL‐SA   RDWY58230     1990   FRUHF   1H2E00818LH019508   ELF‐1     SC             North Charleston
 YRCF     DOLLY            DOL‐SA   RDWY58235     1990   FRUHF   1H2E00811LH019513   ELF‐1     GA             Marietta
 YRCF     DOLLY            DOL‐SA   RDWY58241     1990   FRUHF   1H2E00812LH019519   ELF‐1     NC             Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58242     1990   FRUHF   1H2E00819LH019520   ELF‐1     IL             Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58243     1990   FRUHF   1H2E00810LH019521   ELF‐1     AZ             Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY58244     1990   FRUHF   1H2E00812LH019522   ELF‐1     NE             Omaha
 YRCF     DOLLY            DOL‐SA   RDWY58245     1990   FRUHF   1H2E00814LH019523   ELF‐1     Saskatchewan   Saskatoon
 YRCF     DOLLY            DOL‐SA   RDWY58247     1990   FRUHF   1H2E00818LH019525   ELF‐1     WA             Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY58248     1990   FRUHF   1H2E0081XLH019526   ELF‐1     MO             Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58249     1990   FRUHF   1H2E00811LH019527   ELF‐1     OH             Richfield
 YRCF     DOLLY            DOL‐SA   RDWY58250     1990   FRUHF   1H2E00813LH019528   ELF‐1     TX             Irving
 YRCF     DOLLY            DOL‐SA   RDWY58251     1990   FRUHF   1H2E00815LH019529   ELF‐1     UT             Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY58253     1990   FRUHF   1H2E00813LH019531   ELF‐1     TN             Memphis
 YRCF     DOLLY            DOL‐SA   RDWY58254     1990   FRUHF   1H2E00815LH019532   ELF‐1     OH             Copley
 YRCF     DOLLY            DOL‐SA   RDWY58255     1990   FRUHF   1H2E00817LH019533   ELF‐1     NY             Glenmont
 YRCF     DOLLY            DOL‐SA   RDWY58257     1990   FRUHF   1H2E00810LH019535   ELF‐1     TN             Nashville
 YRCF     DOLLY            DOL‐SA   RDWY58258     1990   FRUHF   1H2E00812LH019536   ELF‐1     CA             Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY58259     1990   FRUHF   1H2E00814LH019537   ELF‐1     OH             Akron
 YRCF     DOLLY            DOL‐SA   RDWY58260     1990   FRUHF   1H2E00816LH019538   ELF‐1     CA             Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY58262     1990   FRUHF   1H2E00814LH019540   ELF‐1     CA             Gardena
 YRCF     DOLLY            DOL‐SA   RDWY58269     1990   FRUHF   1H2E00817LH019547   ELF‐1     AL             Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY58270     1990   FRUHF   1H2E00819LH019548   ELF‐1     CA             Anderson
 YRCF     DOLLY            DOL‐SA   RDWY58272     1990   FRUHF   1H2E00817LH019550   ELF‐1     TX             Houston
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 520 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY58273     1990   FRUHF   1H2E00819LH019551   ELF‐1     OH        Dayton
 YRCF     DOLLY            DOL‐SA   RDWY58277     1990   FRUHF   1H2E00816LH019555   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58279     1990   FRUHF   1H2E0081XLH019557   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58285     1990   FRUHF   1H2E00815LH019563   ELF‐1     OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY58286     1990   FRUHF   1H2E00817LH019564   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58287     1990   FRUHF   1H2E00819LH019565   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY58288     1990   FRUHF   1H2E00810LH019566   ELF‐1     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58289     1990   FRUHF   1H2E00812LH019567   ELF‐1     GA        Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY58293     1990   FRUHF   1H2E00814LH019571   ELF‐1     MD        Baltimore
 YRCF     DOLLY            DOL‐SA   RDWY58294     1990   FRUHF   1H2E00816LH019572   ELF‐1     TX        McAllen
 YRCF     DOLLY            DOL‐SA   RDWY58297     1990   FRUHF   1H2E00811LH019575   ELF‐1     OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY58302     1990   FRUHF   1H2E00815LH019580   ELF‐1     OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY58303     1990   FRUHF   1H2E00817LH019581   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY58304     1990   FRUHF   1H2E00819LH019582   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58307     1990   FRUHF   1H2E00814LH019585   ELF‐1     OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY58308     1990   FRUHF   1H2E00816LH019586   ELF‐1     WI        Portage
 YRCF     DOLLY            DOL‐SA   RDWY58311     1990   FRUHF   1H2E00811LH019589   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY58312     1990   FRUHF   1H2E00818LH019590   ELF‐1     WI        Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY58313     1990   FRUHF   1H2E0081XLH019591   ELF‐1     CA        Adelanto
 YRCF     DOLLY            DOL‐SA   RDWY58316     1990   FRUHF   1H2E00815LH019594   ELF‐1     WI        Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY58318     1990   FRUHF   1H2E00819LH019596   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58319     1990   FRUHF   1H2E00810LH019597   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58321     1990   FRUHF   1H2E00814LH019599   ELF‐1     IL        Edwardsville
 YRCF     DOLLY            DOL‐SA   RDWY58322     1990   FRUHF   1H2E00817LH019600   ELF‐1     LA        Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY58323     1990   FRUHF   1H2E00819LH019601   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY58324     1990   FRUHF   1H2E00810LH019602   ELF‐1     NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY58325     1990   FRUHF   1H2E00812LH019603   ELF‐1     WV        Charleston
 YRCF     DOLLY            DOL‐SA   RDWY58326     1990   FRUHF   1H2E00814LH019604   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58327     1990   FRUHF   1H2E00816LH019605   ELF‐1     CA        Stockton
 YRCF     DOLLY            DOL‐SA   RDWY58329     1990   FRUHF   1H2E0081XLH019607   ELF‐1     IL        Joliet
 YRCF     DOLLY            DOL‐SA   RDWY58334     1990   FRUHF   1H2E00813LH019612   ELF‐1     NJ        South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY58336     1990   FRUHF   1H2E00817LH019614   ELF‐1     FL        Orlando
 YRCF     DOLLY            DOL‐SA   RDWY58338     1990   FRUHF   1H2E00810LH019616   ELF‐1     TN        Kingsport
 YRCF     DOLLY            DOL‐SA   RDWY58340     1990   FRUHF   1H2E00814LH019618   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58349     1990   FRUHF   1H2E00815LH019627   ELF‐1     MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY58350     1990   FRUHF   1H2E00817LH019628   ELF‐1     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY58351     1990   FRUHF   1H2E00819LH019629   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58353     1990   FRUHF   1H2E00817LH019631   ELF‐1     CA        San Diego
 YRCF     DOLLY            DOL‐SA   RDWY58354     1990   FRUHF   1H2E00819LH019632   ELF‐1     MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58355     1990   FRUHF   1H2E00810LH019633   ELF‐1     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY58359     1990   FRUHF   1H2E00818LH019637   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58360     1990   FRUHF   64101081XLH019638   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58361     1990   FRUHF   1H2E00811LH019639   ELF‐1     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY58362     1990   FRUHF   1H2E00818LH019640   ELF‐1     MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY58366     1990   FRUHF   1H2E00815LH019644   ELF‐1     MO        Strafford
 YRCF     DOLLY            DOL‐SA   RDWY58368     1990   FRUHF   1H2E00819LH019646   ELF‐1     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58369     1990   FRUHF   1H2E00810LH019647   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58370     1990   FRUHF   1H2E00812LH019648   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58373     1990   FRUHF   1H2E00812LH019651   ELF‐1     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY58374     1990   FRUHF   1H2E00814LH019652   ELF‐1     MN        Duluth
 YRCF     DOLLY            DOL‐SA   RDWY58376     1990   FRUHF   1H2E00818LH019654   ELF‐1     TX        Dallas
 YRCF     DOLLY            DOL‐SA   RDWY58379     1990   FRUHF   1H2E00813LH019657   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58380     1990   FRUHF   1H2E00815LH019658   ELF‐1     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58381     1990   FRUHF   1H2E00817LH019659   ELF‐1     CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY58382     1990   FRUHF   1H2E00813LH019660   ELF‐1     SC        Piedmont
 YRCF     DOLLY            DOL‐SA   RDWY58384     1990   FRUHF   1H2E00817LH019662   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58392     1990   FRUHF   1H2E00816LH019670   ELF‐1     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY58393     1990   FRUHF   1H2E00818LH019671   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58394     1990   FRUHF   1H2E0081XLH019672   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY58395     1990   FRUHF   1H2E00811LH019673   ELF‐1     GA        Ringgold
 YRCF     DOLLY            DOL‐SA   RDWY58400     1990   FRUHF   1H2E00810LH019678   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58401     1990   FRUHF   1H2E00812LH019679   ELF‐1     CA        Orange
 YRCF     DOLLY            DOL‐SA   RDWY58402     1990   FRUHF   1H2E00819LH019680   ELF‐1     MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY58403     1990   FRUHF   1H2E00810LH019681   ELF‐1     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58404     1990   FRUHF   1H2E00812LH019682   ELF‐1     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58405     1990   FRUHF   1H2E00814LH019683   ELF‐1     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY58406     1990   FRUHF   1H2E00816LH019684   ELF‐1     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY58412     1990   FRUHF   1H2E00811LH019690   ELF‐1     Alberta   Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY58414     1990   FRUHF   1H2E00815LH019692   ELF‐1     PQ        Dorval
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 521 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY58419     1990   FRUHF   1H2E00814LH019697   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58420     1990   FRUHF   1H2E00816LH019698   ELF‐1     AZ      Lake Havasu City
 YRCF     DOLLY            DOL‐SA   RDWY58421     1990   FRUHF   1H2E00818LH019699   ELF‐1     CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY58427     1990   FRUHF   1H2E0081XLH019705   ELF‐1     IN      Hammond
 YRCF     DOLLY            DOL‐SA   RDWY58428     1990   FRUHF   1H2E00811LH019706   ELF‐1     MT      Missoula
 YRCF     DOLLY            DOL‐SA   RDWY58429     1990   FRUHF   1H2E00813LH019707   ELF‐1     FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY58432     1990   FRUHF   1H2E00813LH019710   ELF‐1     PA      McKees Rocks
 YRCF     DOLLY            DOL‐SA   RDWY58435     1990   FRUHF   1H2E00819LH019713   ELF‐1     NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY58436     1990   FRUHF   1H2E00810LH019714   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58437     1990   FRUHF   1H2E00812LH019715   ELF‐1     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY58438     1990   FRUHF   1H2E00814LH019716   ELF‐1     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY58439     1990   FRUHF   1H2E00816LH019717   ELF‐1     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY58440     1990   FRUHF   1H2E00818LH019718   ELF‐1     OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58441     1990   FRUHF   1H2E0081XLH019719   ELF‐1     TX      San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY58442     1990   FRUHF   1H2E00816LH019720   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58443     1990   FRUHF   1H2E0081XLH019722   ELF‐1     PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58448     1990   FRUHF   1H2E00817LH019726   ELF‐1     NE      Bridgeport
 YRCF     DOLLY            DOL‐SA   RDWY58450     1990   FRUHF   1H2E00810LH019728   ELF‐1     PA      Mountain Top
 YRCF     DOLLY            DOL‐SA   RDWY58451     1990   FRUHF   1H2E00812LH019729   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58454     1990   FRUHF   1H2E00812LH019732   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58456     1990   FRUHF   1H2E00816LH019734   ELF‐1     TN      Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY58457     1990   FRUHF   1H2E00818LH019735   ELF‐1     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY58459     1990   FRUHF   1H2E00811LH019737   ELF‐1     FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY58461     1990   FRUHF   1H2E00815LH019739   ELF‐1     MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY58463     1990   FRUHF   1H2E00813LH019741   ELF‐1     CA      Orange
 YRCF     DOLLY            DOL‐SA   RDWY58464     1990   FRUHF   1H2E00815LH019742   ELF‐1     IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY58467     1990   FRUHF   1H2E00810LH019745   ELF‐1     CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY58468     1990   FRUHF   1H2E00812LH019746   ELF‐1     TX      El Paso
 YRCF     DOLLY            DOL‐SA   RDWY58469     1990   FRUHF   1H2E00814LH019747   ELF‐1     NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58471     1990   FRUHF   1H2E00818LH019749   ELF‐1     MO      Sikeston
 YRCF     DOLLY            DOL‐SA   RDWY58472     1990   FRUHF   1H2E00814LH019750   ELF‐1     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58477     1992   PINES   1PNA09105NK044330   CDLY      WY      Evansville
 YRCF     DOLLY            DOL‐SA   RDWY58478     1992   PINES   1PNA09107NK044331   CDLY      FL      Orlando
 YRCF     DOLLY            DOL‐SA   RDWY58480     1992   PINES   1PNA09100NK044333   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58483     1992   PINES   1PNA09106NK044336   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58484     1992   PINES   1PNA09108NK044337   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58487     1992   PINES   1PNA09108NK044340   CDLY      MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY58488     1992   PINES   1PNA0910XNK044341   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58489     1992   PINES   1PNA09101NK044342   CDLY      OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY58490     1992   PINES   1PNA09103NK044343   CDLY      IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58491     1992   PINES   1PNA09105NK044344   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58493     1992   PINES   1PNA09109NK044346   CDLY      TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY58494     1992   PINES   1PNA09100NK044347   CDLY      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58496     1992   PINES   1PNA09104NK044349   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58497     1992   PINES   1PNA09100NK044350   CDLY      TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY58499     1992   PINES   1PNA09104NK044352   CDLY      MI      Taylor
 YRCF     DOLLY            DOL‐SA   RDWY58500     1992   PINES   1PNA09106NK044353   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58503     1992   PINES   1PNA09101NK044356   CDLY      WY      Evansville
 YRCF     DOLLY            DOL‐SA   RDWY58505     1992   PINES   1PNA09105NK044358   CDLY      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY58507     1992   PINES   1PNA09103NK044360   CDLY      MI      Romulus
 YRCF     DOLLY            DOL‐SA   RDWY58511     1992   PINES   1PNA09100NK044364   CDLY      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY58517     1992   PINES   1PNA09106NK044370   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58518     1992   PINES   1PNA09108NK044371   CDLY      CA      Orange
 YRCF     DOLLY            DOL‐SA   RDWY58519     1992   PINES   1PNA0910XNK044372   CDLY      IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY58522     1992   PINES   1PNA09105NK044375   CDLY      MT      Butte
 YRCF     DOLLY            DOL‐SA   RDWY58523     1992   PINES   1PNA09107NK044376   CDLY      NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY58525     1992   PINES   1PNA09100NK044378   CDLY      WI      Neenah
 YRCF     DOLLY            DOL‐SA   RDWY58526     1992   PINES   1PNA09102NK044379   CDLY      NY      Plattsburgh
 YRCF     DOLLY            DOL‐SA   RDWY58527     1992   PINES   1PNA09109NK044380   CDLY      NM      Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY58531     1992   PINES   1PNA09106NK044384   CDLY      TN      Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY58534     1992   PINES   1PNA09101NK044387   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58536     1992   PINES   1PNA09105NK044389   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58537     1992   PINES   1PNA09101NK044390   CDLY      IN      Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY58539     1992   PINES   1PNA09105NK044392   CDLY      MA      North Reading
 YRCF     DOLLY            DOL‐SA   RDWY58549     1992   PINES   1PNA09104NK044402   CDLY      SD      Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY58550     1992   PINES   1PNA09106NK044403   CDLY      WA      Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY58558     1992   PINES   1PNA09105NK044411   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58560     1992   PINES   1PNA09109NK044413   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58561     1992   PINES   1PNA09100NK044414   CDLY      IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 522 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY58564     1992   PINES   1PNA09106NK044417   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58565     1992   PINES   1PNA09108NK044418   CDLY      LA      Monroe
 YRCF     DOLLY            DOL‐SA   RDWY58566     1992   PINES   1PNA0910XNK044419   CDLY      NE      Omaha
 YRCF     DOLLY            DOL‐SA   RDWY58570     1992   PINES   1PNA09101NK044423   CDLY      MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY58572     1992   PINES   1PNA09105NK044425   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58574     1992   PINES   1PNA09109NK044427   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58575     1992   PINES   1PNA09100NK044428   CDLY      TX      Waco
 YRCF     DOLLY            DOL‐SA   RDWY58577     1992   PINES   1PNA09109NK044430   CDLY      VA      Roanoke
 YRCF     DOLLY            DOL‐SA   RDWY58580     1992   PINES   1PNA09104NK044433   CDLY      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY58585     1992   PINES   1PNA09103NK044438   CDLY      FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY58587     1992   PINES   1PNA09101NK044440   CDLY      IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58588     1992   PINES   1PNA09103NK044441   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58589     1992   PINES   1PNA09105NK044442   CDLY      TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY58590     1992   PINES   1PNA09107NK044443   CDLY      WI      Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY58591     1992   PINES   1PNA09109NK044444   CDLY      CA      Brisbane
 YRCF     DOLLY            DOL‐SA   RDWY58592     1992   PINES   1PNA09100NK044445   CDLY      TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY58597     1992   PINES   1PNA09104NK044450   CDLY      CA      Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY58600     1992   PINES   1PNA0910XNK044453   CDLY      CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY58603     1992   PINES   1PNA09105NK044456   CDLY      OH      Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY58604     1992   PINES   1PNA09107NK044457   CDLY      CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY58608     1992   PINES   1PNA09109NK044461   CDLY      OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58610     1992   PINES   1PNA09102NK044463   CDLY      MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY58611     1992   PINES   1PNA09104NK044464   CDLY      NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58612     1992   PINES   1PNA09106NK044465   CDLY      WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY58613     1992   PINES   1PNA09108NK044466   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58614     1992   PINES   1PNA0910XNK044467   CDLY      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58615     1992   PINES   1PNA09101NK044468   CDLY      IA      Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY58616     1992   PINES   1PNA09103NK044469   CDLY      WI      Milwaukee
 YRCF     DOLLY            DOL‐SA   RDWY58621     1992   PINES   1PNA09107NK044474   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58623     1992   PINES   1PNA09100NK044476   CDLY      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY58626     1992   PINES   1PNA09106NK044479   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58629     1992   PINES   1PNA09106NK044482   CDLY      MS      Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY58630     1992   PINES   1PNA09108NK044483   CDLY      MI      Gaylord
 YRCF     DOLLY            DOL‐SA   RDWY58631     1992   PINES   1PNA0910XNK044484   CDLY      AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY58633     1992   PINES   1PNA09103NK044486   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58634     1992   PINES   1PNA09105NK044487   CDLY      OH      Dayton
 YRCF     DOLLY            DOL‐SA   RDWY58635     1992   PINES   1PNA09107NK044488   CDLY      IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58636     1992   PINES   1PNA09109NK044489   CDLY      CA      Hayward
 YRCF     DOLLY            DOL‐SA   RDWY58639     1992   PINES   1PNA09109NK044492   CDLY      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY58640     1992   PINES   1PNA09100NK044493   CDLY      FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY58641     1992   PINES   1PNA09102NK044494   CDLY      MI      Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY58643     1992   PINES   1PNA09106NK044496   CDLY      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY58644     1992   PINES   1PNA09108NK044497   CDLY      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58646     1992   PINES   1PNA09101NK044499   CDLY      NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58647     1992   PINES   1PNA09104NK044500   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58650     1992   PINES   1PNA0910XNK044503   CDLY      AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY58651     1992   PINES   1PNA09101NK044504   CDLY      TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY58652     1992   PINES   1PNA09103NK044505   CDLY      MA      Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY58654     1992   PINES   1PNA09107NK044507   CDLY      OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58655     1992   PINES   1PNA09109NK044508   CDLY      GA      Thomasville
 YRCF     DOLLY            DOL‐SA   RDWY58656     1992   PINES   1PNA09100NK044509   CDLY      VA      Roanoke
 YRCF     DOLLY            DOL‐SA   RDWY58659     1992   PINES   1PNA09100NK044512   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58661     1992   PINES   1PNA09104NK044514   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58662     1992   PINES   1PNA09106NK044515   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58664     1992   PINES   1PNA0910XNK044517   CDLY      MA      Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY58665     1992   PINES   1PNA09101NK044518   CDLY      IL      Bolingbrook
 YRCF     DOLLY            DOL‐SA   RDWY58671     1992   PINES   1PNA09107NK044524   CDLY      OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY58672     1992   PINES   1PNA09109NK044525   CDLY      PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58677     1992   PINES   1PNA09102NK044530   CDLY      FL      Miami
 YRCF     DOLLY            DOL‐SA   RDWY58685     1992   PINES   1PNA09107NK044538   CDLY      SD      Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY58686     1992   PINES   1PNA09109NK044539   CDLY      AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY58691     1992   PINES   1PNA09102NK044544   CDLY      PA      Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY58692     1992   PINES   1PNA09104NK044545   CDLY      NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY58693     1992   PINES   1PNA09106NK044546   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58695     1992   PINES   1PNA0910XNK044548   CDLY      MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY58700     1992   PINES   1PNA09103NK044553   CDLY      OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY58701     1992   PINES   1PNA09105NK044554   CDLY      OH      Dayton
 YRCF     DOLLY            DOL‐SA   RDWY58704     1992   PINES   1PNA09100NK044557   CDLY      NJ      South Plainfield
 YRCF     DOLLY            DOL‐SA   RDWY58705     1992   PINES   1PNA09102NK044558   CDLY      TN      Jackson
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 523 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY58706     1992   PINES   1PNA09104NK044559   CDLY      PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58707     1992   PINES   1PNA09100NK044560   CDLY      NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY58709     1992   PINES   1PNA09104NK044562   CDLY      MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY58712     1992   PINES   1PNA0910XNK044565   CDLY      TX      Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY58716     1992   PINES   1PNA09107NK044569   CDLY      CA      Santa Rosa
 YRCF     DOLLY            DOL‐SA   RDWY58718     1992   PINES   1PNA09105NK044571   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58721     1992   PINES   1PNA09100NK044574   CDLY      PA      Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY58723     1992   PINES   1PNA09104NK044576   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58724     1992   PINES   1PNA09106NK044577   CDLY      NM      Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY58725     1992   PINES   1PNA09108NK044578   CDLY      WV      Bridgeport
 YRCF     DOLLY            DOL‐SA   RDWY58726     1992   PINES   1PNA0910XNK044579   CDLY      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY58727     1992   PINES   1PNA09106NK044580   CDLY      AL      Montgomery
 YRCF     DOLLY            DOL‐SA   RDWY58729     1992   PINES   1PNA0910XNK044582   CDLY      WA      Union Gap
 YRCF     DOLLY            DOL‐SA   RDWY58730     1992   PINES   1PNA09101NK044583   CDLY      AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY58732     1992   PINES   1PNA09105NK044585   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58733     1992   PINES   1PNA09107NK044586   CDLY      TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY58734     1992   PINES   1PNA09109NK044587   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58736     1992   PINES   1PNA09102NK044589   CDLY      PA      Du Bois
 YRCF     DOLLY            DOL‐SA   RDWY58740     1992   PINES   1PNA09104NK044593   CDLY      OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58742     1992   PINES   1PNA09108NK044595   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58744     1992   PINES   1PNA09101NK044597   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58801     1992   PINES   1PNA09105NK044599   CDLY      MA      Shrewsbury
 YRCF     DOLLY            DOL‐SA   RDWY58802     1992   PINES   1PNA09108NK044600   CDLY      OR      Eugene
 YRCF     DOLLY            DOL‐SA   RDWY58803     1992   PINES   1PNA0910XNK044601   CDLY      ID      Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY58808     1992   PINES   1PNA09109NK044606   CDLY      OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY58809     1992   PINES   1PNA09100NK044607   CDLY      GA      Martinez
 YRCF     DOLLY            DOL‐SA   RDWY58810     1992   PINES   1PNA09102NK044608   CDLY      IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY58813     1992   PINES   1PNA09102NK044611   CDLY      MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY58814     1992   PINES   1PNA09104NK044612   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58815     1992   PINES   1PNA09106NK044613   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58816     1992   PINES   1PNA09108NK044614   CDLY      NJ      Hamilton
 YRCF     DOLLY            DOL‐SA   RDWY58817     1992   PINES   1PNA0910XNK044615   CDLY      FL      Tampa
 YRCF     DOLLY            DOL‐SA   RDWY58819     1992   PINES   1PNA09103NK044617   CDLY      PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58822     1992   PINES   1PNA09103NK044620   CDLY      VA      Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY58823     1992   PINES   1PNA09105NK044621   CDLY      TX      Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY58824     1992   PINES   1PNA09107NK044622   CDLY      TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY58825     1992   PINES   1PNA09109NK044623   CDLY      GA      Ringgold
 YRCF     DOLLY            DOL‐SA   RDWY58827     1992   PINES   1PNA09102NK044625   CDLY      SC      Piedmont
 YRCF     DOLLY            DOL‐SA   RDWY58831     1992   PINES   1PNA0910XNK044629   CDLY      FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY58833     1992   PINES   1PNA09108NK044631   CDLY      VA      Christiansburg
 YRCF     DOLLY            DOL‐SA   RDWY58834     1992   PINES   1PNA0910XNK044632   CDLY      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY58835     1992   PINES   1PNA09101NK044633   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58839     1992   PINES   1PNA09109NK044637   CDLY      MI      Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY58841     1992   PINES   1PNA09102NK044639   CDLY      MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY58842     1992   PINES   1PNA09109NK044640   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY58845     1992   PINES   1PNA09104NK044643   CDLY      PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58846     1992   PINES   1PNA09106NK044644   CDLY      AR      Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY58848     1992   PINES   1PNA0910XNK044646   CDLY      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY58849     1992   PINES   1PNA09101NK044647   CDLY      PQ      Dorval
 YRCF     DOLLY            DOL‐SA   RDWY58853     1992   PINES   1PNA09103NK044651   CDLY      MA      North Reading
 YRCF     DOLLY            DOL‐SA   RDWY58854     1992   PINES   1PNA09105NK044652   CDLY      OH      Copley
 YRCF     DOLLY            DOL‐SA   RDWY58856     1992   PINES   1PNA09109NK044654   CDLY      CA      West Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY58857     1992   PINES   1PNA09100NK044655   CDLY      PQ      Dorval
 YRCF     DOLLY            DOL‐SA   RDWY58860     1992   PINES   1PNA09106NK044658   CDLY      AL      Decatur
 YRCF     DOLLY            DOL‐SA   RDWY58862     1992   PINES   1PNA09104NK044660   CDLY      TX      McAllen
 YRCF     DOLLY            DOL‐SA   RDWY58864     1992   PINES   1PNA09108NK044662   CDLY      OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY58866     1992   PINES   1PNA09101NK044664   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58868     1992   PINES   1PNA09105NK044666   CDLY      CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY58869     1992   PINES   1PNA09107NK044667   CDLY      MN      Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY58870     1992   PINES   1PNA09109NK044668   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58873     1992   PINES   1PNA09109NK044671   CDLY      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58877     1992   PINES   1PNA09106NK044675   CDLY      TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY58878     1992   PINES   1PNA09108NK044676   CDLY      UT      Beaver
 YRCF     DOLLY            DOL‐SA   RDWY58879     1992   PINES   1PNA0910XNK044677   CDLY      WA      Seattle
 YRCF     DOLLY            DOL‐SA   RDWY58881     1992   PINES   1PNA09103NK044679   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58883     1992   PINES   1PNA09101NK044681   CDLY      OR      La Grande
 YRCF     DOLLY            DOL‐SA   RDWY58884     1992   PINES   1PNA09103NK044682   CDLY      CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY58885     1992   PINES   1PNA09105NK044683   CDLY      TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY58886     1992   PINES   1PNA09107NK044684   CDLY      IN      South Bend
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 524 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY58887     1992   PINES   1PNA09109NK044685   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58888     1992   PINES   1PNA09100NK044686   CDLY      OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY58889     1992   PINES   1PNA09102NK044687   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58895     1992   PINES   1PNA09108NK044693   CDLY      WI      Neenah
 YRCF     DOLLY            DOL‐SA   RDWY58898     1992   PINES   1PNA09103NK044696   CDLY      CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY58900     1992   PINES   1PNA09107NK044698   CDLY      PA      Bensalem
 YRCF     DOLLY            DOL‐SA   RDWY58901     1992   PINES   1PNA09109NK044699   CDLY      WA      East Wenatchee
 YRCF     DOLLY            DOL‐SA   RDWY58902     1992   PINES   1PNA09101NK044700   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58909     1992   PINES   1PNA09104NK044707   CDLY      AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY58910     1992   PINES   1PNA09106NK044708   CDLY      IL      Joliet
 YRCF     DOLLY            DOL‐SA   RDWY58914     1992   PINES   1PNA09108NK044712   CDLY      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58916     1992   PINES   1PNA09101NK044714   CDLY      TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY58918     1992   PINES   1PNA09105NK044716   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58922     1992   PINES   1PNA09107NK044720   CDLY      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY58923     1992   PINES   1PNA09109NK044721   CDLY      OK      Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY58924     1992   PINES   1PNA09100NK044722   CDLY      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY58925     1992   PINES   1PNA09102NK044723   CDLY      AZ      Tucson
 YRCF     DOLLY            DOL‐SA   RDWY58927     1992   PINES   1PNA09106NK044725   CDLY      GA      Thomasville
 YRCF     DOLLY            DOL‐SA   RDWY58930     1992   PINES   1PNA09101NK044728   CDLY      CO      Clifton
 YRCF     DOLLY            DOL‐SA   RDWY58931     1992   PINES   1PNA09103NK044729   CDLY      CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY58932     1992   PINES   1PNA0910XNK044730   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58934     1992   PINES   1PNA09103NK044732   CDLY      GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY58936     1992   PINES   1PNA09107NK044734   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58937     1992   PINES   1PNA09109NK044735   CDLY      CA      Tracy
 YRCF     DOLLY            DOL‐SA   RDWY58938     1992   PINES   1PNA09100NK044736   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58940     1992   PINES   1PNA09104NK044738   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58941     1992   PINES   1PNA09106NK044739   CDLY      NE      Omaha
 YRCF     DOLLY            DOL‐SA   RDWY58946     1992   PINES   1PNA0910XNK044744   CDLY      AL      Decatur
 YRCF     DOLLY            DOL‐SA   RDWY58950     1992   PINES   1PNA09107NK044748   CDLY      PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58955     1992   PINES   1PNA09100NK044753   CDLY      OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY58959     1992   PINES   1PNA09108NK044757   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58965     1992   PINES   1PNA09103NK044763   CDLY      WA      Spokane
 YRCF     DOLLY            DOL‐SA   RDWY58966     1992   PINES   1PNA09105NK044764   CDLY      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY58968     1992   PINES   1PNA09109NK044766   CDLY      PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY58970     1992   PINES   1PNA09102NK044768   CDLY      CA      West Sacramento
 YRCF     DOLLY            DOL‐SA   RDWY58971     1992   PINES   1PNA09104NK044769   CDLY      NM      Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY58972     1992   PINES   1PNA09100NK044770   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58973     1992   PINES   1PNA09102NK044771   CDLY      OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58978     1992   PINES   1PNA09101NK044776   CDLY      NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY58981     1992   PINES   1PNA09107NK044779   CDLY      LA      Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY58982     1992   PINES   1PNA09103NK044780   CDLY      TX      San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY58983     1992   PINES   1PNA09105NK044781   CDLY      FL      Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY58985     1992   PINES   1PNA09109NK044783   CDLY      VA      Fishersville
 YRCF     DOLLY            DOL‐SA   RDWY58987     1992   PINES   1PNA09102NK044785   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY58989     1992   PINES   1PNA09106NK044787   CDLY      RI      Cumberland
 YRCF     DOLLY            DOL‐SA   RDWY58990     1992   PINES   1PNA09108NK044788   CDLY      TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY58994     1992   PINES   1PNA0910XNK044792   CDLY      CA      Hayward
 YRCF     DOLLY            DOL‐SA   RDWY58995     1992   PINES   1PNA09101NK044793   CDLY      OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY58996     1992   PINES   1PNA09103NK044794   CDLY      VA      Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY58997     1992   PINES   1PNA09105NK044795   CDLY      OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY58998     1992   PINES   1PNA09107NK044796   CDLY      OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY58999     1992   PINES   1PNA09109NK044797   CDLY      OK      Tulsa
 YRCF     DOLLY            DOL‐SA   RDWY59002     1992   PINES   1PNA09105NK044800   CDLY      OH      Columbus
 YRCF     DOLLY            DOL‐SA   RDWY59003     1992   PINES   1PNA09107NK044801   CDLY      GA      Macon
 YRCF     DOLLY            DOL‐SA   RDWY59008     1992   PINES   1PNA09106NK044806   CDLY      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59009     1992   PINES   1PNA09108NK044807   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59010     1992   PINES   1PNA0910XNK044808   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59012     1992   PINES   1PNA09108NK044810   CDLY      MS      Olive Branch
 YRCF     DOLLY            DOL‐SA   RDWY59013     1992   PINES   1PNA0910XNK044811   CDLY      TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY59016     1992   PINES   1PNA09105NK044814   CDLY      NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59017     1992   PINES   1PNA09107NK044815   CDLY      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59018     1992   PINES   1PNA09109NK044816   CDLY      WA      Spokane
 YRCF     DOLLY            DOL‐SA   RDWY59020     1992   PINES   1PNA09102NK044818   CDLY      TX      Dallas
 YRCF     DOLLY            DOL‐SA   RDWY59025     1992   PINES   1PNA09106NK044823   CDLY      WA      Spokane
 YRCF     DOLLY            DOL‐SA   RDWY59026     1992   PINES   1PNA09108NK044824   CDLY      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59031     1992   PINES   1PNA09107NK044829   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59035     1992   PINES   1PNA09109NK044833   CDLY      PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59038     1992   PINES   1PNA09104NK044836   CDLY      FL      Orlando
 YRCF     DOLLY            DOL‐SA   RDWY59039     1992   PINES   1PNA09106NK044837   CDLY      ID      Meridian
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 525 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     DOLLY            DOL‐SA   RDWY59041     1992   PINES   1PNA0910XNK044839   CDLY      AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY59043     1992   PINES   1PNA09108NK044841   CDLY      MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY59045     1992   PINES   1PNA09101NK044843   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59047     1992   PINES   1PNA09105NK044845   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59048     1992   PINES   1PNA09107NK044846   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59049     1992   PINES   1PNA09109NK044847   CDLY      NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59052     1993   PINES   1PNA09103PK052364   CDLY      PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59058     1993   PINES   1PNA09109PK052370   CDLY      AL         Decatur
 YRCF     DOLLY            DOL‐SA   RDWY59059     1993   PINES   1PNA09100PK052371   CDLY      KY         Lexington
 YRCF     DOLLY            DOL‐SA   RDWY59063     1993   PINES   1PNA09108PK052375   CDLY      UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59064     1993   PINES   1PNA0910XPK052376   CDLY      WA         Seattle
 YRCF     DOLLY            DOL‐SA   RDWY59067     1993   PINES   1PNA09105PK052379   CDLY      KS         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59069     1993   PINES   1PNA09103PK052381   CDLY      IL         Decatur
 YRCF     DOLLY            DOL‐SA   RDWY59070     1993   PINES   1PNA09105PK052382   CDLY      IL         Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY59074     1993   PINES   1PNA09102PK052386   CDLY      MN         Duluth
 YRCF     DOLLY            DOL‐SA   RDWY59076     1993   PINES   1PNA09106PK052388   CDLY      MO         Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59079     1993   PINES   1PNA09106PK052391   CDLY      NH         Bedford
 YRCF     DOLLY            DOL‐SA   RDWY59080     1993   PINES   1PNA09108PK052392   CDLY      IN         Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY59081     1993   PINES   1PNA0910XPK052393   CDLY      AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY59089     1993   PINES   1PNA09105PK052401   CDLY      AZ         Flagstaff
 YRCF     DOLLY            DOL‐SA   RDWY59090     1993   PINES   1PNA09107PK052402   CDLY      Manitoba   Winnipeg
 YRCF     DOLLY            DOL‐SA   RDWY59091     1993   PINES   1PNA09109PK052403   CDLY      PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59094     1993   PINES   1PNA09104PK052406   CDLY      NY         Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59100     1993   PINES   1PNA0910XPK052412   CDLY      OH         Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY59101     1993   PINES   1PNA09101PK052413   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59108     1993   PINES   1PNA09109PK052420   CDLY      GA         Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY59109     1993   PINES   1PNA09100PK052421   CDLY      LA         Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY59110     1993   PINES   1PNA09102PK052422   CDLY      MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY59111     1993   PINES   1PNA09104PK052423   CDLY      WA         Spokane
 YRCF     DOLLY            DOL‐SA   RDWY59112     1993   PINES   1PNA09106PK052424   CDLY      TX         Lubbock
 YRCF     DOLLY            DOL‐SA   RDWY59114     1993   PINES   1PNA0910XPK052426   CDLY      TX         Laredo
 YRCF     DOLLY            DOL‐SA   RDWY59116     1993   PINES   1PNA09103PK052428   CDLY      WI         Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY59119     1993   PINES   1PNA09103PK052431   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59121     1993   PINES   1PNA09107PK052433   CDLY      CO         Aurora
 YRCF     DOLLY            DOL‐SA   RDWY59126     1993   PINES   1PNA09106PK052438   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59128     1993   PINES   1PNA09104PK052440   CDLY      PA         Du Bois
 YRCF     DOLLY            DOL‐SA   RDWY59133     1993   PINES   1PNA09103PK052445   CDLY      UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59135     1993   PINES   1PNA09107PK052447   CDLY      IN         Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY59136     1993   PINES   1PNA09109PK052448   CDLY      MA         North Reading
 YRCF     DOLLY            DOL‐SA   RDWY59137     1993   PINES   1PNA09100PK052449   CDLY      OK         Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY59145     1993   PINES   1PNA0910XPK052457   CDLY      NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59146     1993   PINES   1PNA09101PK052458   CDLY      NC         Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59147     1993   PINES   1PNA09103PK052459   CDLY      IN         Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY59151     1994   PINES   1PNA09108RK056381   CDLY      WA         Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY59152     1994   PINES   1PNA0910XRK056382   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59153     1994   PINES   1PNA09101RK056383   CDLY      TN         Memphis
 YRCF     DOLLY            DOL‐SA   RDWY59154     1994   PINES   1PNA09103RK056384   CDLY      MS         Richland
 YRCF     DOLLY            DOL‐SA   RDWY59155     1994   PINES   1PNA09105RK056385   CDLY      GA         Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY59156     1994   PINES   1PNA09107RK056386   CDLY      AL         Birmingham
 YRCF     DOLLY            DOL‐SA   RDWY59158     1994   PINES   1PNA09100RK056388   CDLY      VA         Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY59159     1994   PINES   1PNA09102RK056389   CDLY      OR         Eugene
 YRCF     DOLLY            DOL‐SA   RDWY59161     1994   PINES   1PNA09100RK056391   CDLY      NY         Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59163     1994   PINES   1PNA09104RK056393   CDLY      AZ         Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY59164     1994   PINES   1PNA09106RK056394   CDLY      NY         Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59165     1994   PINES   1PNA09108RK056395   CDLY      IN         Hammond
 YRCF     DOLLY            DOL‐SA   RDWY59167     1994   PINES   1PNA09101RK056397   CDLY      UT         Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59168     1994   PINES   1PNA09103RK056398   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59169     1994   PINES   1PNA09105RK056399   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59170     1994   PINES   1PNA09108RK056400   CDLY      MI         Taylor
 YRCF     DOLLY            DOL‐SA   RDWY59182     1994   PINES   1PNA09104RK056412   CDLY      WA         Spokane
 YRCF     DOLLY            DOL‐SA   RDWY59183     1994   PINES   1PNA09106RK056413   CDLY      WI         Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY59184     1994   PINES   1PNA09108RK056414   CDLY      FL         Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY59186     1994   PINES   1PNA09101RK056416   CDLY      IN         Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY59188     1994   PINES   1PNA09105RK056418   CDLY      MO         Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59189     1994   PINES   1PNA09107RK056419   CDLY      PA         Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59197     1994   PINES   1PNA09106RK056427   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59198     1994   PINES   1PNA09108RK056428   CDLY      OH         Akron
 YRCF     DOLLY            DOL‐SA   RDWY59201     1994   PINES   1PNA09108RK056431   CDLY      OH         Richfield
 YRCF     DOLLY            DOL‐SA   RDWY59202     1994   PINES   1PNA0910XRK056432   CDLY      FL         Jacksonville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 526 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY59207     1994   PINES   1PNA09109RK056437   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59211     1994   PINES   1PNA09100RK056441   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59212     1994   PINES   1PNA09102RK056442   CDLY      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59213     1994   PINES   1PNA09104RK056443   CDLY      TX      Waco
 YRCF     DOLLY            DOL‐SA   RDWY59215     1994   PINES   1PNA09108RK056445   CDLY      NE      Omaha
 YRCF     DOLLY            DOL‐SA   RDWY59216     1994   PINES   1PNA0910XRK056446   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59218     1994   PINES   1PNA09103RK056448   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59219     1994   PINES   1PNA09105RK056449   CDLY      MN      Saint Cloud
 YRCF     DOLLY            DOL‐SA   RDWY59221     1994   PINES   1PNA09103RK056451   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59222     1994   PINES   1PNA09105RK056452   CDLY      MS      Richland
 YRCF     DOLLY            DOL‐SA   RDWY59223     1994   PINES   1PNA09107RK056453   CDLY      CA      Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY59224     1994   PINES   1PNA09109RK056454   CDLY      TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY59226     1994   PINES   1PNA09102RK056456   CDLY      CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY59227     1994   PINES   1PNA09104RK056457   CDLY      TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY59228     1994   PINES   1PNA09106RK056458   CDLY      OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY59229     1994   PINES   1PNA09108RK056459   CDLY      WV      Bridgeport
 YRCF     DOLLY            DOL‐SA   RDWY59230     1994   PINES   1PNA09104RK056460   CDLY      MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59233     1994   PINES   1PNA0910XRK056463   CDLY      PA      Line Lexington
 YRCF     DOLLY            DOL‐SA   RDWY59234     1994   PINES   1PNA09101RK056464   CDLY      TX      Houston
 YRCF     DOLLY            DOL‐SA   RDWY59235     1994   PINES   1PNA09103RK056465   CDLY      VA      Elliston
 YRCF     DOLLY            DOL‐SA   RDWY59237     1994   PINES   1PNA09107RK056467   CDLY      IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY59239     1994   PINES   1PNA09100RK056469   CDLY      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59240     1994   PINES   1PNA09107RK056470   CDLY      OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY59242     1994   PINES   1PNA09100RK056472   CDLY      CA      Orange
 YRCF     DOLLY            DOL‐SA   RDWY59243     1994   PINES   1PNA09102RK056473   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59244     1994   PINES   1PNA09104RK056474   CDLY      AZ      Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY59245     1994   PINES   1PNA09106RK056475   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59247     1994   PINES   1PNA0910XRK056477   CDLY      OR      Eugene
 YRCF     DOLLY            DOL‐SA   RDWY59251     1994   PINES   1PNA09101RK056481   CDLY      GA      Ellenwood
 YRCF     DOLLY            DOL‐SA   RDWY59253     1994   PINES   1PNA09105RK056483   CDLY      MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59254     1994   PINES   1PNA09107RK056484   CDLY      GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59255     1994   PINES   1PNA09109RK056485   CDLY      NY      Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59256     1994   PINES   1PNA09100RK056486   CDLY      TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY59257     1994   PINES   1PNA09102RK056487   CDLY      CO      Colorado Springs
 YRCF     DOLLY            DOL‐SA   RDWY59260     1994   PINES   1PNA09102RK056490   CDLY      GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59262     1994   PINES   1PNA09106RK056492   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59263     1994   PINES   1PNA09108RK056493   CDLY      CA      San Diego
 YRCF     DOLLY            DOL‐SA   RDWY59264     1994   PINES   1PNA0910XRK056494   CDLY      MD      Landover
 YRCF     DOLLY            DOL‐SA   RDWY59268     1994   PINES   1PNA09106SK061407   CDLY      SD      Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY59269     1994   PINES   1PNA09108SK061408   CDLY      PA      Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59272     1994   PINES   1PNA09108SK061411   CDLY      CA      Pico Rivera
 YRCF     DOLLY            DOL‐SA   RDWY59277     1994   PINES   1PNA09107SK061416   CDLY      TX      Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY59278     1994   PINES   1PNA09109SK061417   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59279     1994   PINES   1PNA09100SK061418   CDLY      PA      McKees Rocks
 YRCF     DOLLY            DOL‐SA   RDWY59280     1994   PINES   1PNA09102SK061419   CDLY      NV      Sparks
 YRCF     DOLLY            DOL‐SA   RDWY59282     1994   PINES   1PNA09100SK061421   CDLY      NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59283     1994   PINES   1PNA09102SK061422   CDLY      OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY59285     1994   PINES   1PNA09106SK061424   CDLY      NE      Omaha
 YRCF     DOLLY            DOL‐SA   RDWY59286     1994   PINES   1PNA09108SK061425   CDLY      OK      Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY59287     1994   PINES   1PNA0910XSK061426   CDLY      TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY59288     1994   PINES   1PNA09101SK061427   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59289     1994   PINES   1PNA09103SK061428   CDLY      NY      Plattsburgh
 YRCF     DOLLY            DOL‐SA   RDWY59291     1994   PINES   1PNA09101SK061430   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59293     1994   PINES   1PNA09105SK061432   CDLY      WA      Olympia
 YRCF     DOLLY            DOL‐SA   RDWY59294     1994   PINES   1PNA09107SK061433   CDLY      MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59297     1994   PINES   1PNA09102SK061436   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59298     1994   PINES   1PNA09104SK061437   CDLY      OR      Central Point
 YRCF     DOLLY            DOL‐SA   RDWY59299     1994   PINES   1PNA09106SK061438   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59303     1994   PINES   1PNA09108SK061442   CDLY      IN      Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY59304     1994   PINES   1PNA0910XSK061443   CDLY      TN      Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY59305     1994   PINES   1PNA09101SK061444   CDLY      ND      Fargo
 YRCF     DOLLY            DOL‐SA   RDWY59306     1994   PINES   1PNA09103SK061445   CDLY      MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59307     1994   PINES   1PNA09105SK061446   CDLY      TN      Memphis
 YRCF     DOLLY            DOL‐SA   RDWY59309     1994   PINES   1PNA09109SK061448   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59311     1994   PINES   1PNA09107SK061450   CDLY      OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59313     1994   PINES   1PNA09100SK061452   CDLY      OR      Eugene
 YRCF     DOLLY            DOL‐SA   RDWY59315     1994   PINES   1PNA09104SK061454   CDLY      CO      Aurora
 YRCF     DOLLY            DOL‐SA   RDWY59316     1994   PINES   1PNA09106SK061455   CDLY      UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59317     1994   PINES   1PNA09108SK061456   CDLY      WA      Spokane
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 527 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY59319     1994   PINES   1PNA09101SK061458   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59320     1994   PINES   1PNA09103SK061459   CDLY      OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY59321     1994   PINES   1PNA0910XSK061460   CDLY      IL        Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY59326     1994   PINES   1PNA09109SK061465   CDLY      GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59327     1994   PINES   1PNA09100SK061466   CDLY      TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY59328     1994   PINES   1PNA09102SK061467   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59329     1994   PINES   1PNA09104SK061468   CDLY      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59338     1994   PINES   1PNA09105SK061477   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59341     1994   PINES   1PNA09105SK061480   CDLY      WA        Tacoma
 YRCF     DOLLY            DOL‐SA   RDWY59342     1994   PINES   1PNA09107SK061481   CDLY      MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY59343     1994   PINES   1PNA09109SK061482   CDLY      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY59346     1994   PINES   1PNA09104SK061485   CDLY      AL        Mobile
 YRCF     DOLLY            DOL‐SA   RDWY59347     1994   PINES   1PNA09106SK061486   CDLY      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59349     1994   PINES   1PNA0910XSK061488   CDLY      GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59350     1994   PINES   1PNA09101SK061489   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59351     1994   PINES   1PNA09108SK061490   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59353     1994   PINES   1PNA09101SK061492   CDLY      OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY59358     1994   PINES   1PNA09100SK061497   CDLY      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59359     1994   PINES   1PNA09102SK061498   CDLY      AR        Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY59360     1994   PINES   1PNA09104SK061499   CDLY      FL        Tampa
 YRCF     DOLLY            DOL‐SA   RDWY59361     1994   PINES   1PNA09107SK061500   CDLY      MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY59363     1994   PINES   1PNA09100SK061502   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59364     1994   PINES   1PNA09102SK061503   CDLY      MI        Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY59365     1994   PINES   1PNA09104SK061504   CDLY      IN        Terre Haute
 YRCF     DOLLY            DOL‐SA   RDWY59366     1994   PINES   1PNA09106SK061505   CDLY      MA        North Reading
 YRCF     DOLLY            DOL‐SA   RDWY59367     1994   PINES   1PNA09108SK061506   CDLY      GA        Macon
 YRCF     DOLLY            DOL‐SA   RDWY59369     1994   PINES   1PNA09101SK061508   CDLY      TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY59370     1994   PINES   1PNA09103SK061509   CDLY      MI        Wyoming
 YRCF     DOLLY            DOL‐SA   RDWY59371     1994   PINES   1PNA0910XSK061510   CDLY      NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY59375     1994   PINES   1PNA09107SK061514   CDLY      MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59379     1994   PINES   1PNA09104SK061518   CDLY      OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY59381     1994   PINES   1PNA09102SK061520   CDLY      OH        Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY59382     1994   PINES   1PNA09104SK061521   CDLY      LA        Port Allen
 YRCF     DOLLY            DOL‐SA   RDWY59383     1994   PINES   1PNA09106SK061522   CDLY      MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY59385     1994   PINES   1PNA0910XSK061524   CDLY      IA        Des Moines
 YRCF     DOLLY            DOL‐SA   RDWY59386     1994   PINES   1PNA09101SK061525   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59387     1994   PINES   1PNA09103SK061526   CDLY      TX        Texarkana
 YRCF     DOLLY            DOL‐SA   RDWY59388     1994   PINES   1PNA09105SK061527   CDLY      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59389     1994   PINES   1PNA09107SK061528   CDLY      CA        Sun Valley
 YRCF     DOLLY            DOL‐SA   RDWY59392     1994   PINES   1PNA09107SK061531   CDLY      PA        Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY59395     1994   PINES   1PNA09102SK061534   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59396     1994   PINES   1PNA09104SK061535   CDLY      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59397     1994   PINES   1PNA09106SK061536   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59398     1994   PINES   1PNA09108SK061537   CDLY      WA        Everett
 YRCF     DOLLY            DOL‐SA   RDWY59399     1994   PINES   1PNA0910XSK061538   CDLY      CA        San Bernardino
 YRCF     DOLLY            DOL‐SA   RDWY59401     1994   PINES   1PNA09108SK061540   CDLY      TX        Laredo
 YRCF     DOLLY            DOL‐SA   RDWY59402     1994   PINES   1PNA0910XSK061541   CDLY      PA        Bedford
 YRCF     DOLLY            DOL‐SA   RDWY59403     1994   PINES   1PNA09101SK061542   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59408     1994   PINES   1PNA09100SK061547   CDLY      NJ        Kearny
 YRCF     DOLLY            DOL‐SA   RDWY59409     1994   PINES   1PNA09102SK061548   CDLY      NV        Sparks
 YRCF     DOLLY            DOL‐SA   RDWY59410     1994   PINES   1PNA09104SK061549   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59411     1994   PINES   1PNA09100SK061550   CDLY      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY59413     1994   PINES   1PNA09104SK061552   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59414     1994   PINES   1PNA09106SK061553   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59416     1994   PINES   1PNA0910XSK061555   CDLY      MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59417     1994   PINES   1PNA09101SK061556   CDLY      TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY59418     1994   PINES   1PNA09103SK061557   CDLY      NJ        Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY59419     1994   PINES   1PNA09105SK061558   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59421     1994   PINES   1PNA09103SK061560   CDLY      IL        McCook
 YRCF     DOLLY            DOL‐SA   RDWY59425     1994   PINES   1PNA09100SK061564   CDLY      CA        Sun Valley
 YRCF     DOLLY            DOL‐SA   RDWY59426     1994   PINES   1PNA09102SK061565   CDLY      NJ        Kearny
 YRCF     DOLLY            DOL‐SA   RDWY59428     1994   PINES   1PNA09106SK061567   CDLY      Ontario   Ottawa
 YRCF     DOLLY            DOL‐SA   RDWY59429     1994   PINES   1PNA09108SK061568   CDLY      CA        San Diego
 YRCF     DOLLY            DOL‐SA   RDWY59431     1994   PINES   1PNA09106SK061570   CDLY      TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY59432     1994   PINES   1PNA09108SK061571   CDLY      OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY59433     1994   PINES   1PNA0910XSK061572   CDLY      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59435     1994   PINES   1PNA09103SK061574   CDLY      CA        Orange
 YRCF     DOLLY            DOL‐SA   RDWY59438     1994   PINES   1PNA09109SK061577   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59439     1994   PINES   1PNA09100SK061578   CDLY      MO        Saint Louis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 528 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY59440     1994   PINES   1PNA09102SK061579   CDLY      IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY59448     1994   PINES   1PNA09101SK061587   CDLY      MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY59451     1994   PINES   1PNA09101SK061590   CDLY      OK        Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY59453     1994   PINES   1PNA09105SK061592   CDLY      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59456     1994   PINES   1PNA09100SK061595   CDLY      CA        Stockton
 YRCF     DOLLY            DOL‐SA   RDWY59458     1994   PINES   1PNA09104SK061597   CDLY      TX        Fort Worth
 YRCF     DOLLY            DOL‐SA   RDWY59459     1994   PINES   1PNA09106SK061598   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59460     1994   PINES   1PNA09108SK061599   CDLY      TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY59463     1994   PINES   1PNA09104SK061602   CDLY      OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY59465     1994   PINES   1PNA09108SK061604   CDLY      ID        Meridian
 YRCF     DOLLY            DOL‐SA   RDWY59467     1994   PINES   1PNA09101SK061606   CDLY      NY        Brooklyn
 YRCF     DOLLY            DOL‐SA   RDWY59468     1994   PINES   1PNA09103SK061607   CDLY      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59469     1994   PINES   1PNA09105SK061608   CDLY      TX        San Antonio
 YRCF     DOLLY            DOL‐SA   RDWY59470     1994   PINES   1PNA09107SK061609   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59472     1994   PINES   1PNA09105SK061611   CDLY      OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY59474     1994   PINES   1PNA09109SK061613   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59477     1994   PINES   1PNA09104SK061616   CDLY      IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY59479     1994   PINES   1PNA09108SK061618   CDLY      VA        Elliston
 YRCF     DOLLY            DOL‐SA   RDWY59480     1994   PINES   1PNA0910XSK061619   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59488     1994   PINES   1PNA09109SK061627   CDLY      MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY59490     1994   PINES   1PNA09102SK061629   CDLY      MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59491     1994   PINES   1PNA09109SK061630   CDLY      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59492     1994   PINES   1PNA09100SK061631   CDLY      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59496     1994   PINES   1PNA09108SK061635   CDLY      OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY59497     1994   PINES   1PNA0910XSK061636   CDLY      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59498     1994   PINES   1PNA09101SK061637   CDLY      OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY59499     1994   PINES   1PNA09103SK061638   CDLY      MO        Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59500     1994   PINES   1PNA09105SK061639   CDLY      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59501     1994   PINES   1PNA09101SK061640   CDLY      GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59503     1994   PINES   1PNA09105SK061642   CDLY      OR        Eugene
 YRCF     DOLLY            DOL‐SA   RDWY59507     1994   PINES   1PNA09102SK061646   CDLY      TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY59517     1994   PINES   1PNA09105SK061656   CDLY      MI        Wayland
 YRCF     DOLLY            DOL‐SA   RDWY59519     1994   PINES   1PNA09109SK061658   CDLY      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59520     1994   PINES   1PNA09100SK061659   CDLY      OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY59529     1994   PINES   1PNA09101SK061668   CDLY      PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59530     1994   PINES   1PNA09103SK061669   CDLY      IN        Evansville
 YRCF     DOLLY            DOL‐SA   RDWY59531     1994   PINES   1PNA0910XSK061670   CDLY      TN        Nashville
 YRCF     DOLLY            DOL‐SA   RDWY59533     1994   PINES   1PNA09103SK061672   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59536     1994   PINES   1PNA09109SK061675   CDLY      OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY59537     1994   PINES   1PNA09100SK061676   CDLY      MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY59540     1995   PINES   1PNA09102SK069083   CDLY      NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59541     1995   PINES   1PNA09104SK069084   CDLY      TX        McAllen
 YRCF     DOLLY            DOL‐SA   RDWY59542     1995   PINES   1PNA09106SK069085   CDLY      TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY59543     1995   PINES   1PNA09108SK069086   CDLY      SD        Sioux Falls
 YRCF     DOLLY            DOL‐SA   RDWY59544     1995   PINES   1PNA0910XSK069087   CDLY      MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY59545     1995   PINES   1PNA09101SK069088   CDLY      IN        Hammond
 YRCF     DOLLY            DOL‐SA   RDWY59546     1995   PINES   1PNA09103SK069089   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59547     1995   PINES   1PNA0910XSK069090   CDLY      TX        Waco
 YRCF     DOLLY            DOL‐SA   RDWY59552     1995   PINES   1PNA09109SK069095   CDLY      CA        Fresno
 YRCF     DOLLY            DOL‐SA   RDWY59553     1995   PINES   1PNA09100SK069096   CDLY      PA        Erie
 YRCF     DOLLY            DOL‐SA   RDWY59555     1995   PINES   1PNA09104SK069098   CDLY      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59556     1995   PINES   1PNA09106SK069099   CDLY      CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY59557     1995   PINES   1PNA09109SK069100   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59560     1995   PINES   1PNA09104SK069103   CDLY      OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59562     1995   PINES   1PNA09108SK069105   CDLY      NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY59563     1995   PINES   1PNA0910XSK069106   CDLY      OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY59566     1995   PINES   1PNA09105SK069109   CDLY      OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY59569     1995   PINES   1PNA09105SK069112   CDLY      NY        Plainview
 YRCF     DOLLY            DOL‐SA   RDWY59570     1995   PINES   1PNA09107SK069113   CDLY      Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY59571     1995   PINES   1PNA09109SK069114   CDLY      NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59572     1995   PINES   1PNA09100SK069115   CDLY      OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY59573     1995   PINES   1PNA09102SK069116   CDLY      OH        Bowling Green
 YRCF     DOLLY            DOL‐SA   RDWY59574     1995   PINES   1PNA09104SK069117   CDLY      MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59575     1995   PINES   1PNA09106SK069118   CDLY      NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY59577     1995   PINES   1PNA09104SK069120   CDLY      NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59578     1995   PINES   1PNA09106SK069121   CDLY      OH        Cincinnati
 YRCF     DOLLY            DOL‐SA   RDWY59581     1995   PINES   1PNA09101SK069124   CDLY      TX        Houston
 YRCF     DOLLY            DOL‐SA   RDWY59582     1995   PINES   1PNA09103SK069125   CDLY      CA        Santa Clara
 YRCF     DOLLY            DOL‐SA   RDWY59583     1995   PINES   1PNA09105SK069126   CDLY      OH        Akron
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 529 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     DOLLY            DOL‐SA   RDWY59587     1995   PINES   1PNA09107SK069130   CDLY      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59588     1995   PINES   1PNA09109SK069131   CDLY      PA               Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY59589     1995   PINES   1PNA09100SK069132   CDLY      OR               Portland
 YRCF     DOLLY            DOL‐SA   RDWY59590     1995   PINES   1PNA09102SK069133   CDLY      CA               Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY59593     1995   PINES   1PNA09108SK069136   CDLY      CA               Anderson
 YRCF     DOLLY            DOL‐SA   RDWY59594     1995   PINES   1PNA0910XSK069137   CDLY      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59595     1995   PINES   1PNA09101SK069138   CDLY      UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59597     1995   PINES   1PNA0910XSK069140   CDLY      British Columbia Burnaby
 YRCF     DOLLY            DOL‐SA   RDWY59600     1995   PINES   1PNA09105SK069143   CDLY      MO               Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59601     1995   PINES   1PNA09107SK069144   CDLY      OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY59602     1995   PINES   1PNA09109SK069145   CDLY      OK               Oklahoma City
 YRCF     DOLLY            DOL‐SA   RDWY59604     1995   PINES   1PNA09102SK069147   CDLY      TN               Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY59605     1995   PINES   1PNA09104SK069148   CDLY      CT               Cheshire
 YRCF     DOLLY            DOL‐SA   RDWY59607     1995   PINES   1PNA09102SK069150   CDLY      WA               Spokane
 YRCF     DOLLY            DOL‐SA   RDWY59608     1995   PINES   1PNA09104SK069151   CDLY      CA               Willows
 YRCF     DOLLY            DOL‐SA   RDWY59612     1995   PINES   1PNA09101SK069155   CDLY      NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59615     1995   PINES   1PNA09107SK069158   CDLY      IN               Fort Wayne
 YRCF     DOLLY            DOL‐SA   RDWY59618     1995   PINES   1PNA09107SK069161   CDLY      OH               Copley
 YRCF     DOLLY            DOL‐SA   RDWY59619     1995   PINES   1PNA09109SK069162   CDLY      NM               Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY59620     1995   PINES   1PNA09100SK069163   CDLY      LA               Port Allen
 YRCF     DOLLY            DOL‐SA   RDWY59622     1995   PINES   1PNA09104SK069165   CDLY      OH               Dayton
 YRCF     DOLLY            DOL‐SA   RDWY59623     1995   PINES   1PNA09106SK069166   CDLY      Ontario          Ottawa
 YRCF     DOLLY            DOL‐SA   RDWY59624     1995   PINES   1PNA09108SK069167   CDLY      WA               Pasco
 YRCF     DOLLY            DOL‐SA   RDWY59625     1995   PINES   1PNA0910XSK069168   CDLY      WV               Bridgeport
 YRCF     DOLLY            DOL‐SA   RDWY59626     1995   PINES   1PNA09101SK069169   CDLY      UT               Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59628     1995   PINES   1PNA0910XSK069171   CDLY      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59629     1995   PINES   1PNA09101SK069172   CDLY      ID               Twin Falls
 YRCF     DOLLY            DOL‐SA   RDWY59630     1995   PINES   1PNA09103SK069173   CDLY      TX               Jacksonville
 YRCF     DOLLY            DOL‐SA   RDWY59631     1995   PINES   1PNA09105SK069174   CDLY      WA               Spokane
 YRCF     DOLLY            DOL‐SA   RDWY59633     1995   PINES   1PNA09109SK069176   CDLY      IN               Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY59638     1995   PINES   1PNA09102SK069181   CDLY      MS               Richland
 YRCF     DOLLY            DOL‐SA   RDWY59640     1995   PINES   1PNA09106SK069183   CDLY      CO               Aurora
 YRCF     DOLLY            DOL‐SA   RDWY59641     1995   PINES   1PNA09108SK069184   CDLY      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59646     1995   PINES   1PNA09107SK069189   CDLY      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59647     1995   PINES   1PNA09103SK069190   CDLY      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59648     1995   PINES   1PNA09105SK069191   CDLY      Alberta          Edmonton
 YRCF     DOLLY            DOL‐SA   RDWY59649     1995   PINES   1PNA09107SK069192   CDLY      KY               Paducah
 YRCF     DOLLY            DOL‐SA   RDWY59650     1995   PINES   1PNA09109SK069193   CDLY      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59651     1995   PINES   1PNA09100SK069194   CDLY      CO               Aurora
 YRCF     DOLLY            DOL‐SA   RDWY59656     1995   PINES   1PNA0910XSK069199   CDLY      GA               Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59657     1995   PINES   1PNA09102SK069200   CDLY      IN               Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY59661     1995   PINES   1PNA0910XSK069204   CDLY      NM               Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY59663     1995   PINES   1PNA09103SK069206   CDLY      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59664     1995   PINES   1PNA09105SK069207   CDLY      CA               Bakersfield
 YRCF     DOLLY            DOL‐SA   RDWY59665     1995   PINES   1PNA09107SK069208   CDLY      PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59668     1995   PINES   1PNA09107SK069211   CDLY      PA               Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59671     1995   PINES   1PNA09102SK069214   CDLY      WA               Bellingham
 YRCF     DOLLY            DOL‐SA   RDWY59673     1995   PINES   1PNA09106SK069216   CDLY      VA               Richmond
 YRCF     DOLLY            DOL‐SA   RDWY59674     1995   PINES   1PNA09108SK069217   CDLY      NC               Kernersville
 YRCF     DOLLY            DOL‐SA   RDWY59676     1995   PINES   1PNA09101SK069219   CDLY      OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59678     1995   PINES   1PNA0910XSK069221   CDLY      MI               Romulus
 YRCF     DOLLY            DOL‐SA   RDWY59680     1998   WABSH   1JJD101W8WL458160             OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59681     1998   WABSH   1JJD101WXWL458161             NJ               Millville
 YRCF     DOLLY            DOL‐SA   RDWY59682     1998   WABSH   1JJD101W1WL458162             TX               Irving
 YRCF     DOLLY            DOL‐SA   RDWY59684     1998   WABSH   1JJD101W5WL458164             TX               Dallas
 YRCF     DOLLY            DOL‐SA   RDWY59685     1998   WABSH   1JJD101W7WL458165             OH               Akron
 YRCF     DOLLY            DOL‐SA   RDWY59687     1998   WABSH   1JJD101W0WL458167             TX               Houston
 YRCF     DOLLY            DOL‐SA   RDWY59688     1998   WABSH   1JJD101W2WL458168             WI               Tomah
 YRCF     DOLLY            DOL‐SA   RDWY59689     1998   WABSH   1JJD101W4WL458169             NC               Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59690     1998   WABSH   1JJD101W0WL458170             WV               Beckley
 YRCF     DOLLY            DOL‐SA   RDWY59691     1998   WABSH   1JJD101W2WL458171             NJ               Kearny
 YRCF     DOLLY            DOL‐SA   RDWY59692     1998   WABSH   1JJD101W4WL458172             TN               Memphis
 YRCF     DOLLY            DOL‐SA   RDWY59696     1998   WABSH   1JJD101W1WL458176             OR               Portland
 YRCF     DOLLY            DOL‐SA   RDWY59697     1998   WABSH   1JJD101W3WL458177             OR               Central Point
 YRCF     DOLLY            DOL‐SA   RDWY59698     1998   WABSH   1JJD101W5WL458178             TX               Irving
 YRCF     DOLLY            DOL‐SA   RDWY59699     1998   WABSH   1JJD101W7WL458179             TX               Austin
 YRCF     DOLLY            DOL‐SA   RDWY59700     1998   WABSH   1JJD101W3WL458180             IL               Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY59701     1998   WABSH   1JJD101W5WL458181             WI               Neenah
 YRCF     DOLLY            DOL‐SA   RDWY59702     1998   WABSH   1JJD101W7WL458182             TX               Irving
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 530 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY59704     1998   WABSH   1JJD101W0WL458184             MN        Burnsville
 YRCF     DOLLY            DOL‐SA   RDWY59705     1998   WABSH   1JJD101W2WL458185             TN        Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY59706     1998   WABSH   1JJD101W4WL458186             PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59708     1998   WABSH   1JJD101W8WL458188             OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59709     1998   WABSH   1JJD101WXWL458189             IL        Hodgkins
 YRCF     DOLLY            DOL‐SA   RDWY59710     1998   WABSH   1JJD101W6WL458190             IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY59711     1998   WABSH   1JJD101W8WL458191             FL        Ocala
 YRCF     DOLLY            DOL‐SA   RDWY59713     1998   WABSH   1JJD101W1WL458193             NY        Elmira
 YRCF     DOLLY            DOL‐SA   RDWY59715     1998   WABSH   1JJD101W5WL458195             GA        Macon
 YRCF     DOLLY            DOL‐SA   RDWY59716     1998   WABSH   1JJD101W7WL458196             IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY59717     1998   WABSH   1JJD101W9WL458197             NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59719     1998   WABSH   1JJD101W2WL458199             NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59720     1998   WABSH   1JJD101W5WL458200             TX        Sherman
 YRCF     DOLLY            DOL‐SA   RDWY59721     1998   WABSH   1JJD101W7WL458201             MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59722     1998   WABSH   1JJD101W9WL458202             ME        Fairfield
 YRCF     DOLLY            DOL‐SA   RDWY59723     1998   WABSH   1JJD101W0WL458203             AR        Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY59724     1998   WABSH   1JJD101W2WL458204             MO        Columbia
 YRCF     DOLLY            DOL‐SA   RDWY59725     1998   WABSH   1JJD101W4WL458205             CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY59726     1998   WABSH   1JJD101W6WL458206             CA        Anderson
 YRCF     DOLLY            DOL‐SA   RDWY59728     1998   WABSH   1JJD101WXWL458208             PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59733     2003   WABSH   1JJD101W13L835374   CD1AH     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY59735     2003   WABSH   1JJD101W53L835376   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59736     2003   WABSH   1JJD101W73L835377   CD1AH     MO        Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59739     2003   WABSH   1JJD101W73L835380   CD1AH     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59742     2003   WABSH   1JJD101W23L835383   CD1AH     CA        Orange
 YRCF     DOLLY            DOL‐SA   RDWY59743     2003   WABSH   1JJD101W43L835384   CD1AH     WI        Madison
 YRCF     DOLLY            DOL‐SA   RDWY59745     2003   WABSH   1JJD101W83L835386   CD1AH     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59746     2003   WABSH   1JJD101WX3L835387   CD1AH     NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY59747     2003   WABSH   1JJD101W13L835388   CD1AH     NY        Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59748     2003   WABSH   1JJD101W33L835389   CD1AH     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY59750     2003   WABSH   1JJD101W13L835391   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59751     2003   WABSH   1JJD101W33L835392   CD1AH     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY59753     2003   WABSH   1JJD101W73L835394   CD1AH     NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY59754     2003   WABSH   1JJD101W93L835395   CD1AH     IL        Wheeling
 YRCF     DOLLY            DOL‐SA   RDWY59756     2003   WABSH   1JJD101W23L835397   CD1AH     AL        Decatur
 YRCF     DOLLY            DOL‐SA   RDWY59757     2003   WABSH   1JJD101W43L835398   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59759     2003   WABSH   1JJD101W93L835400   CD1AH     MI        Taylor
 YRCF     DOLLY            DOL‐SA   RDWY59760     2003   WABSH   1JJD101W03L835401   CD1AH     MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY59761     2003   WABSH   1JJD101W23L835402   CD1AH     NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY59762     2003   WABSH   1JJD101W43L835403   CD1AH     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59763     2003   WABSH   1JJD101W63L835404   CD1AH     TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY59764     2003   WABSH   1JJD101W83L835405   CD1AH     MA        North Reading
 YRCF     DOLLY            DOL‐SA   RDWY59766     2003   WABSH   1JJD101W13L835407   CD1AH     Alberta   Calgary
 YRCF     DOLLY            DOL‐SA   RDWY59767     2003   WABSH   1JJD101W33L835408   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59769     2003   WABSH   1JJD101W13L835410   CD1AH     MI        Wayland
 YRCF     DOLLY            DOL‐SA   RDWY59770     2003   WABSH   1JJD101W33L835411   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59771     2003   WABSH   1JJD101W53L835412   CD1AH     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59773     2003   WABSH   1JJD101W93L835414   CD1AH     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59774     2003   WABSH   1JJD101W03L835415   CD1AH     CO        Grand Junction
 YRCF     DOLLY            DOL‐SA   RDWY59775     2003   WABSH   1JJD101W23L835416   CD1AH     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY59777     2003   WABSH   1JJD101W63L835418   CD1AH     MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY59779     2003   WABSH   1JJD101W43L835420   CD1AH     LA        Port Allen
 YRCF     DOLLY            DOL‐SA   RDWY59781     2003   WABSH   1JJD101W83L835422   CD1AH     OH        Richfield
 YRCF     DOLLY            DOL‐SA   RDWY59782     2003   WABSH   1JJD101WX3L835423   CD1AH     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59783     2003   WABSH   1JJD101W13L835424   CD1AH     MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY59784     2003   WABSH   1JJD101W33L835425   CD1AH     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY59785     2003   WABSH   1JJD101W53L835426   CD1AH     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY59786     2003   WABSH   1JJD101W73L835427   CD1AH     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59787     2003   WABSH   1JJD101W93L835428   CD1AH     MS        Richland
 YRCF     DOLLY            DOL‐SA   RDWY59788     2003   WABSH   1JJD101W03L835429   CD1AH     VA        Chesapeake
 YRCF     DOLLY            DOL‐SA   RDWY59789     2003   WABSH   1JJD101W73L835430   CD1AH     ND        Bismarck
 YRCF     DOLLY            DOL‐SA   RDWY59791     2003   WABSH   1JJD101W03L835432   CD1AH     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59793     2003   WABSH   1JJD101W43L835434   CD1AH     TN        Kingsport
 YRCF     DOLLY            DOL‐SA   RDWY59794     2003   WABSH   1JJD101W63L835435   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59796     2003   WABSH   1JJD101WX3L835437   CD1AH     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY59798     2003   WABSH   1JJD101W33L835439   CD1AH     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59799     2003   WABSH   1JJD101WX3L835440   CD1AH     TN        Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY59801     2003   WABSH   1JJD101W33L835442   CD1AH     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59802     2003   WABSH   1JJD101W53L835443   CD1AH     NY        Plattsburgh
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 531 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     DOLLY            DOL‐SA   RDWY59804     2003   WABSH   1JJD101W93L835445   CD1AH     IN        Jeffersonville
 YRCF     DOLLY            DOL‐SA   RDWY59806     2003   WABSH   1JJD101W23L835447   CD1AH     IN        Hammond
 YRCF     DOLLY            DOL‐SA   RDWY59809     2003   WABSH   1JJD101W23L835450   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59811     2003   WABSH   1JJD101W63L835452   CD1AH     AR        Little Rock
 YRCF     DOLLY            DOL‐SA   RDWY59812     2003   WABSH   1JJD101W83L835453   CD1AH     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59815     2003   WABSH   1JJD101W33L835456   CD1AH     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY59816     2003   WABSH   1JJD101W53L835457   CD1AH     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY59817     2003   WABSH   1JJD101W73L835458   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59821     2003   WABSH   1JJD101W93L835462   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59825     2003   WABSH   1JJD101W63L835466   CD1AH     NC        Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59829     2003   WABSH   1JJD101W83L835470   CD1AH     VA        Roanoke
 YRCF     DOLLY            DOL‐SA   RDWY59832     2003   WABSH   1JJD101W33L835473   CD1AH     NY        East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY59833     2005   WABSH   1JJD101W85L936804   CD1AH     LA        Shreveport
 YRCF     DOLLY            DOL‐SA   RDWY59834     2005   WABSH   1JJD101WX5L936805   CD1AH     OR        Central Point
 YRCF     DOLLY            DOL‐SA   RDWY59836     2005   WABSH   1JJD101W35L936807   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59837     2005   WABSH   1JJD101W55L936808   CD1AH     NY        East Syracuse
 YRCF     DOLLY            DOL‐SA   RDWY59839     2005   WABSH   1JJD101W35L936810   CD1AH     NY        Plattsburgh
 YRCF     DOLLY            DOL‐SA   RDWY59840     2005   WABSH   1JJD101W55L936811   CD1AH     MD        Hagerstown
 YRCF     DOLLY            DOL‐SA   RDWY59841     2005   WABSH   1JJD101W75L936812   CD1AH     PA        Carlisle
 YRCF     DOLLY            DOL‐SA   RDWY59842     2005   WABSH   1JJD101W95L936813   CD1AH     Ontario   Mississauga
 YRCF     DOLLY            DOL‐SA   RDWY59843     2005   WABSH   1JJD101W05L936814   CD1AH     WI        Oak Creek
 YRCF     DOLLY            DOL‐SA   RDWY59844     2005   WABSH   1JJD101W25L936815   CD1AH     NE        Omaha
 YRCF     DOLLY            DOL‐SA   RDWY59845     2005   WABSH   1JJD101W45L936816   CD1AH     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY59846     2005   WABSH   1JJD101W65L936817   CD1AH     KY        Waddy
 YRCF     DOLLY            DOL‐SA   RDWY59847     2005   WABSH   1JJD101W85L936818   CD1AH     PA        Bethlehem
 YRCF     DOLLY            DOL‐SA   RDWY59850     2005   WABSH   1JJD101W85L936821   CD1AH     TX        Irving
 YRCF     DOLLY            DOL‐SA   RDWY59851     2005   WABSH   1JJD101WX5L936822   CD1AH     NM        Albuquerque
 YRCF     DOLLY            DOL‐SA   RDWY59852     2005   WABSH   1JJD101W15L936823   CD1AH     KY        Paducah
 YRCF     DOLLY            DOL‐SA   RDWY59853     2005   WABSH   1JJD101W35L936824   CD1AH     CA        Fresno
 YRCF     DOLLY            DOL‐SA   RDWY59856     2005   WABSH   1JJD101W95L936827   CD1AH     IN        Indianapolis
 YRCF     DOLLY            DOL‐SA   RDWY59857     2005   WABSH   1JJD101W05L936828   CD1AH     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY59858     2005   WABSH   1JJD101W25L936829   CD1AH     MT        Butte
 YRCF     DOLLY            DOL‐SA   RDWY59859     2005   WABSH   1JJD101W95L936830   CD1AH     TN        Jackson
 YRCF     DOLLY            DOL‐SA   RDWY59860     2005   WABSH   1JJD101W05L936831   CD1AH     TN        Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY59862     2005   WABSH   1JJD101W45L936833   CD1AH     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY59863     2005   WABSH   1JJD101W65L936834   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59864     2005   WABSH   1JJD101W85L936835   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59866     2005   WABSH   1JJD101W15L936837   CD1AH     ME        Fairfield
 YRCF     DOLLY            DOL‐SA   RDWY59867     2005   WABSH   1JJD101W35L936838   CD1AH     TN        Memphis
 YRCF     DOLLY            DOL‐SA   RDWY59869     2005   WABSH   1JJD101W15L936840   CD1AH     OH        Columbus
 YRCF     DOLLY            DOL‐SA   RDWY59870     2005   WABSH   1JJD101W35L936841   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59871     2005   WABSH   1JJD101W55L936842   CD1AH     CA        Bloomington
 YRCF     DOLLY            DOL‐SA   RDWY59872     2005   WABSH   1JJD101W75L936843   CD1AH     TN        Knoxville
 YRCF     DOLLY            DOL‐SA   RDWY59874     2005   WABSH   1JJD101W05L936845   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59875     2005   WABSH   1JJD101W25L936846   CD1AH     NY        Maybrook
 YRCF     DOLLY            DOL‐SA   RDWY59876     2005   WABSH   1JJD101W45L936847   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59877     2005   WABSH   1JJD101W65L936848   CD1AH     CO        Aurora
 YRCF     DOLLY            DOL‐SA   RDWY59879     2005   WABSH   1JJD101W45L936850   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59880     2005   WABSH   1JJD101W65L936851   CD1AH     WA        Union Gap
 YRCF     DOLLY            DOL‐SA   RDWY59881     2005   WABSH   1JJD101W85L936852   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59882     2005   WABSH   1JJD101WX5L936853   CD1AH     IL        Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY59883     2005   WABSH   1JJD101W15L936854   CD1AH     NJ        Carlstadt
 YRCF     DOLLY            DOL‐SA   RDWY59885     2005   WABSH   1JJD101W55L936856   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59886     2005   WABSH   1JJD101W75L936857   CD1AH     GA        Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59887     2005   WABSH   1JJD101W95L936858   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59888     2005   WABSH   1JJD101W05L936859   CD1AH     CO        Henderson
 YRCF     DOLLY            DOL‐SA   RDWY59889     2005   WABSH   1JJD101W75L936860   CD1AH     OR        Portland
 YRCF     DOLLY            DOL‐SA   RDWY59890     2005   WABSH   1JJD101W95L936861   CD1AH     MI        Pontiac
 YRCF     DOLLY            DOL‐SA   RDWY59892     2005   WABSH   1JJD101W25L936863   CD1AH     IL        Rock Island
 YRCF     DOLLY            DOL‐SA   RDWY59893     2005   WABSH   1JJD101W45L936864   CD1AH     CA        Tracy
 YRCF     DOLLY            DOL‐SA   RDWY59895     2005   WABSH   1JJD101W85L936866   CD1AH     MA        North Reading
 YRCF     DOLLY            DOL‐SA   RDWY59896     2005   WABSH   1JJD101WX5L936867   CD1AH     OH        Copley
 YRCF     DOLLY            DOL‐SA   RDWY59898     2005   WABSH   1JJD101W35L936869   CD1AH     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59899     2005   WABSH   1JJD101WX5L936870   CD1AH     UT        Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59900     2005   WABSH   1JJD101W15L936871   CD1AH     AZ        Phoenix
 YRCF     DOLLY            DOL‐SA   RDWY59901     2005   WABSH   1JJD101W35L936872   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59902     2005   WABSH   1JJD101W55L936873   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59903     2005   WABSH   1JJD101W75L936874   CD1AH     OH        Akron
 YRCF     DOLLY            DOL‐SA   RDWY59904     2005   WABSH   1JJD101W95L936875   CD1AH     OH        Copley
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23       Page 532 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT        EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     DOLLY            DOL‐SA   RDWY59905      2005   WABSH   1JJD101W05L936876   CD1AH     NY      Rochester
 YRCF     DOLLY            DOL‐SA   RDWY59906      2005   WABSH   1JJD101W25L936877   CD1AH     IL      McCook
 YRCF     DOLLY            DOL‐SA   RDWY59907      2005   WABSH   1JJD101W45L936878   CD1AH     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY59908      2005   WABSH   1JJD101W65L936879   CD1AH     CA      Hayward
 YRCF     DOLLY            DOL‐SA   RDWY59910      2005   WABSH   1JJD101W45L936881   CD1AH     PA      Bedford
 YRCF     DOLLY            DOL‐SA   RDWY59911      2005   WABSH   1JJD101W65L936882   CD1AH     TN      Nashville
 YRCF     DOLLY            DOL‐SA   RDWY59912      2005   WABSH   1JJD101W85L936883   CD1AH     TX      Irving
 YRCF     DOLLY            DOL‐SA   RDWY59914      2005   WABSH   1JJD101W15L936885   CD1AH     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59915      2005   WABSH   1JJD101W35L936886   CD1AH     UT      Salt Lake City
 YRCF     DOLLY            DOL‐SA   RDWY59916      2005   WABSH   1JJD101W55L936887   CD1AH     CA      Hayward
 YRCF     DOLLY            DOL‐SA   RDWY59918      2005   WABSH   1JJD101W95L936889   CD1AH     WA      Spokane
 YRCF     DOLLY            DOL‐SA   RDWY59919      2005   WABSH   1JJD101W55L936890   CD1AH     OR      Portland
 YRCF     DOLLY            DOL‐SA   RDWY59920      2005   WABSH   1JJD101W75L936891   CD1AH     MO      Saint Louis
 YRCF     DOLLY            DOL‐SA   RDWY59921      2005   WABSH   1JJD101W95L936892   CD1AH     GA      Marietta
 YRCF     DOLLY            DOL‐SA   RDWY59922      2005   WABSH   1JJD101W05L936893   CD1AH     NC      Raleigh
 YRCF     DOLLY            DOL‐SA   RDWY59924      2005   WABSH   1JJD101W45L936895   CD1AH     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59925      2005   WABSH   1JJD101W65L936896   CD1AH     CA      Brisbane
 YRCF     DOLLY            DOL‐SA   RDWY59927      2005   WABSH   1JJD101WX5L936898   CD1AH     OH      Akron
 YRCF     DOLLY            DOL‐SA   RDWY59928      2005   WABSH   1JJD101W15L936899   CD1AH     IN      South Bend
 YRCF     DOLLY            DOL‐SA   RDWY59932      2005   WABSH   1JJD101WX5L936903   CD1AH     OH      Richfield
 YRCF     DOLLY            DOL‐SA   RDWY59938      1984   FRUHF   1H2E00614EC043505   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59941      1984   FRUHF   1H2E00616EC014052   ELF‐1     IL      Chicago Heights
 YRCF     DOLLY            DOL‐SA   RDWY59943      1990   FRUHF   1H2E00618MB000402   ELF‐1     TN      Goodlettsville
 YRCF     DOLLY            DOL‐SA   RDWY59971      1985   FRUHF   1H2E00617FJ006501   ELF‐1     NC      Charlotte
 YRCF     DOLLY            DOL‐SA   RDWY59972      1985   FRUHF   1H2E00614FJ006505   ELF‐1     MO      Kansas City
 YRCF     DOLLY            DOL‐SA   RDWY59985      1990   NTHCT   1N9CD00131W060169   NCD1      NY      Tonawanda
 YRCF     DOLLY            DOL‐SA   RDWY59999      1990   FRUHF   1H2E0081XLH019574   ELF‐1     GA      Savannah
 YRCF     RAIL CONTAINER   DRC      YRCU450001     2019   CIMC    XCSE19004940                  TX      Dallas
 YRCF     RAIL CONTAINER   DRC      YRCU450002     2019   CIMC    XCSE19004941                  CA      Fontana
 YRCF     RAIL CONTAINER   DRC      YRCU450003     2019   CIMC    XCSE19004942                  CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC      YRCU450004     2019   CIMC    XCSE19004943                  IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC      YRCU450005     2019   CIMC    XCSE19004944                  PA      Carlisle
 YRCF     RAIL CONTAINER   DRC      YRCU450006     2019   CIMC    XCSE19004945                  IL      Chicago
 YRCF     RAIL CONTAINER   DRC      YRCU450007     2019   CIMC    XCSE19004946                  IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC      YRCU450008     2019   CIMC    XCSE19004947                  IL      Chicago
 YRCF     RAIL CONTAINER   DRC      YRCU450009     2019   CIMC    XCSE19004948                  IL      Chicago
 YRCF     RAIL CONTAINER   DRC      YRCU450010     2019   CIMC    XCSE19004949                  IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC      YRCU450011     2019   CIMC    XCSE19004950                  CA      Bloomington
 YRCF     RAIL CONTAINER   DRC      YRCU450012     2019   CIMC    XCSE19004951                  IL      Chicago
 YRCF     RAIL CONTAINER   DRC      YRCU450013     2019   CIMC    XCSE19004952                  CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC      YRCU450014     2019   CIMC    XCSE19004953                  IL      Chicago
 YRCF     RAIL CONTAINER   DRC      YRCU450015     2019   CIMC    XCSE19004954                  TN      Memphis
 YRCF     RAIL CONTAINER   DRC      YRCU450016     2019   CIMC    XCSE19004955                  IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC      YRCU450017     2019   CIMC    XCSE19004956                  CA      Orange
 YRCF     RAIL CONTAINER   DRC      YRCU450018     2019   CIMC    XCSE19004957                  MO      Kansas City
 YRCF     RAIL CONTAINER   DRC      YRCU450019     2019   CIMC    XCSE19004958                  CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC      YRCU450020     2019   CIMC    XCSE19004959                  IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC      YRCU450021     2019   CIMC    XCSE19004960                  CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC      YRCU450022     2019   CIMC    XCSE19004961                  IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC      YRCU450023     2019   CIMC    XCSE19004962                  CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC      YRCU450024     2019   CIMC    XCSE19004963                  CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC      YRCU450025     2019   CIMC    XCSE19004964                  GA      Marietta
 YRCF     RAIL CONTAINER   DRC      YRCU450026     2019   CIMC    XCSE19004965                  CA      Stockton
 YRCF     RAIL CONTAINER   DRC      YRCU450027     2019   CIMC    XCSE19004966                  CA      Stockton
 YRCF     RAIL CONTAINER   DRC      YRCU450028     2019   CIMC    XCSE19004967                  CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC      YRCU450029     2020   CIMC    XCSE19004968                  CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC      YRCU450030     2019   CIMC    XCSE19004969                  CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC      YRCU450031     2020   CIMC    XCSE19004970                  MO      Kansas City
 YRCF     RAIL CONTAINER   DRC      YRCU450032     2019   CIMC    XCSE19004971                  IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC      YRCU450033     2019   CIMC    XCSE19004972                  IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC      YRCU450034     2019   CIMC    XCSE19004973                  IL      Chicago
 YRCF     RAIL CONTAINER   DRC      YRCU450035     2019   CIMC    XCSE19004974                  CA      Orange
 YRCF     RAIL CONTAINER   DRC      YRCU450036     2019   CIMC    XCSE19004975                  CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC      YRCU450037     2019   CIMC    XCSE19004976                  AZ      Glendale
 YRCF     RAIL CONTAINER   DRC      YRCU450038     2019   CIMC    XCSE19004977                  IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC      YRCU450039     2019   CIMC    XCSE19004978                  IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC      YRCU450040     2019   CIMC    XCSE19004979                  CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC      YRCU450041     2019   CIMC    XCSE19004980                  OH      Copley
 YRCF     RAIL CONTAINER   DRC      YRCU450042     2019   CIMC    XCSE19004981                  MN      Burnsville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 533 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450043     2019   CIMC    XCSE19004982              GA      Marietta
 YRCF     RAIL CONTAINER   DRC     YRCU450044     2020   CIMC    XCSE19004983              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450045     2019   CIMC    XCSE19004984              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450046     2019   CIMC    XCSE19004985              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450047     2019   CIMC    XCSE19004986              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450048     2019   CIMC    XCSE19004987              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450049     2019   CIMC    XCSE19004988              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450050     2019   CIMC    XCSE19004989              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450051     2019   CIMC    XCSE19004990              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450052     2020   CIMC    XCSE19004991              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450053     2020   CIMC    XCSE19004992              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450054     2020   CIMC    XCSE19004993              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450055     2020   CIMC    XCSE19004994              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450056     2020   CIMC    XCSE19004995              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450057     2020   CIMC    XCSE19004996              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450058     2020   CIMC    XCSE19004997              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450059     2020   CIMC    XCSE19004998              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450060     2020   CIMC    XCSE19004999              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450061     2020   CIMC    XCSE19005000              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU450062     2020   CIMC    XCSE19005001              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450063     2020   CIMC    XCSE19005002              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450064     2020   CIMC    XCSE19005003              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450065     2020   CIMC    XCSE19005004              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450066     2020   CIMC    XCSE19005005              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450067     2020   CIMC    XCSE19005006              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450068     2020   CIMC    XCSE19005007              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450069     2020   CIMC    XCSE19005008              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450070     2020   CIMC    XCSE19005009              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450071     2020   CIMC    XCSE19005010              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450072     2020   CIMC    XCSE19005011              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450073     2020   CIMC    XCSE19005012              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450074     2020   CIMC    XCSE19005013              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450075     2020   CIMC    XCSE19005014              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450076     2020   CIMC    XCSE19005015              CA      Sun Valley
 YRCF     RAIL CONTAINER   DRC     YRCU450077     2020   CIMC    XCSE19005016              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450078     2020   CIMC    XCSE19005017              NC      Charlotte
 YRCF     RAIL CONTAINER   DRC     YRCU450079     2020   CIMC    XCSE19005018              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450080     2020   CIMC    XCSE19005019              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450081     2020   CIMC    XCSE19005020              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450082     2020   CIMC    XCSE19005021              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450083     2020   CIMC    XCSE19005022              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450084     2020   CIMC    XCSE19005023              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450085     2020   CIMC    XCSE19005024              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450086     2020   CIMC    XCSE19005025              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450087     2020   CIMC    XCSE19005026              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450088     2020   CIMC    XCSE19005027              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450089     2020   CIMC    XCSE19005028              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450090     2020   CIMC    XCSE19005029              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450091     2020   CIMC    XCSE19005030              CA      Hayward
 YRCF     RAIL CONTAINER   DRC     YRCU450092     2020   CIMC    XCSE19005031              NY      Maybrook
 YRCF     RAIL CONTAINER   DRC     YRCU450093     2020   CIMC    XCSE19005032              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450094     2020   CIMC    XCSE19005033              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450095     2020   CIMC    XCSE19005034              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450096     2020   CIMC    XCSE19005035              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450097     2020   CIMC    XCSE19005036              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450098     2020   CIMC    XCSE19005037              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450099     2020   CIMC    XCSE19005038              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450100     2020   CIMC    XCSE19005039              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450101     2020   CIMC    XCSE19005040              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450102     2020   CIMC    XCSE19005041              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450103     2020   CIMC    XCSE19005042              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450104     2020   CIMC    XCSE19005043              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450105     2020   CIMC    XCSE19005044              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450106     2020   CIMC    XCSE19005045              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450107     2020   CIMC    XCSE19005046              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450108     2020   CIMC    XCSE19005047              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450109     2020   CIMC    XCSE19005048              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450110     2020   CIMC    XCSE19005049              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450111     2020   CIMC    XCSE19005050              IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 534 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450112     2020   CIMC    XCSE19005051              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450113     2020   CIMC    XCSE19005052              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450114     2020   CIMC    XCSE19005053              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450115     2020   CIMC    XCSE19005054              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450116     2020   CIMC    XCSE19005055              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450117     2020   CIMC    XCSE19005056              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU450118     2020   CIMC    XCSE19005057              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450119     2020   CIMC    XCSE19005058              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450120     2020   CIMC    XCSE19005059              MN      Burnsville
 YRCF     RAIL CONTAINER   DRC     YRCU450121     2020   CIMC    XCSE19005060              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450122     2020   CIMC    XCSE19005061              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450123     2020   CIMC    XCSE19005062              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450124     2020   CIMC    XCSE19005063              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450125     2020   CIMC    XCSE19005064              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450126     2020   CIMC    XCSE19005065              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450127     2020   CIMC    XCSE19005066              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450128     2020   CIMC    XCSE19005067              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450129     2020   CIMC    XCSE19005068              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450130     2020   CIMC    XCSE19005069              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450131     2020   CIMC    XCSE19005070              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450132     2020   CIMC    XCSE19005071              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450133     2020   CIMC    XCSE19005072              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450134     2020   CIMC    XCSE19005073              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450135     2020   CIMC    XCSE19005074              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450136     2020   CIMC    XCSE19005075              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450137     2020   CIMC    XCSE19005076              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450138     2020   CIMC    XCSE19005077              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450140     2020   CIMC    XCSE19005079              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450142     2020   CIMC    XCSE19005081              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450143     2020   CIMC    XCSE19005082              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450144     2020   CIMC    XCSE19005083              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450145     2020   CIMC    XCSE19005084              NC      Charlotte
 YRCF     RAIL CONTAINER   DRC     YRCU450147     2020   CIMC    XCSE19005086              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450148     2020   CIMC    XCSE19005087              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450149     2020   CIMC    XCSE19005088              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450150     2020   CIMC    XCSE19005089              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450151     2020   CIMC    XCSE19005090              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450152     2020   CIMC    XCSE19005091              TX      San Antonio
 YRCF     RAIL CONTAINER   DRC     YRCU450153     2020   CIMC    XCSE19005092              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450154     2020   CIMC    XCSE19005093              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450155     2020   CIMC    XCSE19005094              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450156     2020   CIMC    XCSE19005095              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450157     2020   CIMC    XCSE19005096              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450158     2020   CIMC    XCSE19005097              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450159     2020   CIMC    XCSE19005098              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450160     2020   CIMC    XCSE19005099              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU450161     2020   CIMC    XCSE19005100              TX      Houston
 YRCF     RAIL CONTAINER   DRC     YRCU450162     2020   CIMC    XCSE19005101              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450163     2020   CIMC    XCSE19005102              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450164     2020   CIMC    XCSE19005103              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450165     2020   CIMC    XCSE19005104              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450166     2020   CIMC    XCSE19005105              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450167     2020   CIMC    XCSE19005106              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450168     2020   CIMC    XCSE19005107              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450169     2020   CIMC    XCSE19005108              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450170     2020   CIMC    XCSE19005109              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450171     2020   CIMC    XCSE19005110              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450172     2020   CIMC    XCSE19005111              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450173     2020   CIMC    XCSE19005112              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450174     2020   CIMC    XCSE19005113              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450175     2020   CIMC    XCSE19005114              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450176     2020   CIMC    XCSE19005115              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450177     2020   CIMC    XCSE19005116              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450178     2020   CIMC    XCSE19005117              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450179     2020   CIMC    XCSE19005118              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450180     2020   CIMC    XCSE19005119              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU450181     2020   CIMC    XCSE19005120              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450182     2020   CIMC    XCSE19005121              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450183     2020   CIMC    XCSE19005122              TN      Memphis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 535 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450184     2020   CIMC    XCSE19005123              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450185     2020   CIMC    XCSE19005124              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450186     2020   CIMC    XCSE19005125              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450187     2020   CIMC    XCSE19005126              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450188     2020   CIMC    XCSE19005127              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450189     2020   CIMC    XCSE19005128              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450190     2020   CIMC    XCSE19005129              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450191     2020   CIMC    XCSE19005130              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450192     2020   CIMC    XCSE19005131              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450193     2020   CIMC    XCSE19005132              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450194     2020   CIMC    XCSE19005133              WA      Tacoma
 YRCF     RAIL CONTAINER   DRC     YRCU450195     2020   CIMC    XCSE19005134              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450196     2020   CIMC    XCSE19005135              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450197     2020   CIMC    XCSE19005136              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450198     2020   CIMC    XCSE19005137              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450199     2020   CIMC    XCSE19005138              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450200     2020   CIMC    XCSE19005139              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450201     2020   CIMC    XCSE19005140              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450202     2020   CIMC    XCSE19005141              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450203     2020   CIMC    XCSE19005142              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450204     2020   CIMC    XCSE19005143              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450205     2020   CIMC    XCSE19005144              MS      Richland
 YRCF     RAIL CONTAINER   DRC     YRCU450206     2020   CIMC    XCSE19005145              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450207     2020   CIMC    XCSE19005146              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450208     2020   CIMC    XCSE19005147              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450209     2020   CIMC    XCSE19005148              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450210     2020   CIMC    XCSE19005149              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450211     2020   CIMC    XCSE19005150              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450212     2020   CIMC    XCSE19005151              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450213     2020   CIMC    XCSE19005152              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450214     2020   CIMC    XCSE19005153              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450215     2020   CIMC    XCSE19005154              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450216     2020   CIMC    XCSE19005155              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450217     2020   CIMC    XCSE19005156              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450218     2020   CIMC    XCSE19005157              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450219     2020   CIMC    XCSE19005158              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450220     2020   CIMC    XCSE19005159              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450221     2020   CIMC    XCSE19005160              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450222     2020   CIMC    XCSE19005161              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450223     2020   CIMC    XCSE19005162              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450224     2020   CIMC    XCSE19005163              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450225     2020   CIMC    XCSE19005164              GA      Marietta
 YRCF     RAIL CONTAINER   DRC     YRCU450226     2020   CIMC    XCSE19005165              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU450227     2020   CIMC    XCSE19005166              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450228     2020   CIMC    XCSE19005167              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450229     2020   CIMC    XCSE19005168              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450230     2020   CIMC    XCSE19005169              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450231     2020   CIMC    XCSE19005170              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450232     2020   CIMC    XCSE19005171              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450233     2020   CIMC    XCSE19005172              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450234     2020   CIMC    XCSE19005173              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450235     2020   CIMC    XCSE19005174              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450236     2020   CIMC    XCSE19005175              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450237     2020   CIMC    XCSE19005176              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450238     2020   CIMC    XCSE19005177              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450239     2020   CIMC    XCSE19005178              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450240     2020   CIMC    XCSE19005179              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450241     2020   CIMC    XCSE19005180              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450242     2020   CIMC    XCSE19005181              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450243     2020   CIMC    XCSE19005182              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450244     2020   CIMC    XCSE19005183              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450245     2020   CIMC    XCSE19005184              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450246     2020   CIMC    XCSE19005185              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450247     2020   CIMC    XCSE19005186              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450248     2020   CIMC    XCSE19005187              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450249     2020   CIMC    XCSE19005188              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450250     2020   CIMC    XCSE19005189              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450251     2020   CIMC    XCSE19005190              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450252     2020   CIMC    XCSE19005191              IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 536 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450253     2020   CIMC    XCSE19005192              TX      Irving
 YRCF     RAIL CONTAINER   DRC     YRCU450254     2020   CIMC    XCSE19005193              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450255     2020   CIMC    XCSE19005194              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450256     2020   CIMC    XCSE19005195              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450257     2020   CIMC    XCSE19005196              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450258     2020   CIMC    XCSE19005197              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450259     2020   CIMC    XCSE19005198              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450260     2020   CIMC    XCSE19005199              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450261     2020   CIMC    XCSE19005200              CO      Henderson
 YRCF     RAIL CONTAINER   DRC     YRCU450262     2020   CIMC    XCSE19005201              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450263     2020   CIMC    XCSE19005202              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450264     2020   CIMC    XCSE19005203              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450265     2020   CIMC    XCSE19005204              MO      Saint Louis
 YRCF     RAIL CONTAINER   DRC     YRCU450266     2020   CIMC    XCSE19005205              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450267     2020   CIMC    XCSE19005206              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450268     2020   CIMC    XCSE19005207              MS      Richland
 YRCF     RAIL CONTAINER   DRC     YRCU450269     2020   CIMC    XCSE19005208              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450270     2020   CIMC    XCSE19005209              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450271     2020   CIMC    XCSE19005210              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450272     2020   CIMC    XCSE19005211              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450273     2020   CIMC    XCSE19005212              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450274     2020   CIMC    XCSE19005213              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450275     2020   CIMC    XCSE19005214              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450276     2020   CIMC    XCSE19005215              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450277     2020   CIMC    XCSE19005216              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450278     2020   CIMC    XCSE19005217              NJ      Jersey City
 YRCF     RAIL CONTAINER   DRC     YRCU450279     2020   CIMC    XCSE19005218              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450280     2020   CIMC    XCSE19005219              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450281     2020   CIMC    XCSE19005220              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450282     2020   CIMC    XCSE19005221              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450283     2020   CIMC    XCSE19005222              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450284     2020   CIMC    XCSE19005223              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450285     2020   CIMC    XCSE19005224              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450286     2020   CIMC    XCSE19005225              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450287     2020   CIMC    XCSE19005226              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450288     2020   CIMC    XCSE19005227              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450289     2020   CIMC    XCSE19005228              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450290     2020   CIMC    XCSE19005229              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450291     2020   CIMC    XCSE19005230              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450292     2020   CIMC    XCSE19005231              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450293     2020   CIMC    XCSE19005232              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450294     2020   CIMC    XCSE19005233              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450295     2020   CIMC    XCSE19005234              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450296     2020   CIMC    XCSE19005235              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450297     2020   CIMC    XCSE19005236              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450298     2020   CIMC    XCSE19005237              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450299     2020   CIMC    XCSE19005238              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450300     2020   CIMC    XCSE19005239              CA      Sun Valley
 YRCF     RAIL CONTAINER   DRC     YRCU450301     2020   CIMC    XCSE19005240              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450302     2020   CIMC    XCSE19005241              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450303     2020   CIMC    XCSE19005242              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450304     2020   CIMC    XCSE19005243              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450305     2020   CIMC    XCSE19005244              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450306     2020   CIMC    XCSE19005245              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450307     2020   CIMC    XCSE19005246              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450308     2020   CIMC    XCSE19005247              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450309     2020   CIMC    XCSE19005248              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450310     2020   CIMC    XCSE19005249              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450311     2020   CIMC    XCSE19005250              NY      Maybrook
 YRCF     RAIL CONTAINER   DRC     YRCU450312     2020   CIMC    XCSE19005251              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450313     2020   CIMC    XCSE19005252              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450314     2020   CIMC    XCSE19005253              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450315     2020   CIMC    XCSE19005254              GA      Marietta
 YRCF     RAIL CONTAINER   DRC     YRCU450316     2020   CIMC    XCSE19005255              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450317     2020   CIMC    XCSE19005256              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450318     2020   CIMC    XCSE19005257              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450319     2020   CIMC    XCSE19005258              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450320     2020   CIMC    XCSE19005259              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450321     2020   CIMC    XCSE19005260              GA      Marietta
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 537 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450322     2020   CIMC    XCSE19005261              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450323     2020   CIMC    XCSE19005262              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450324     2020   CIMC    XCSE19005263              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450325     2020   CIMC    XCSE19005264              CA      Sun Valley
 YRCF     RAIL CONTAINER   DRC     YRCU450326     2020   CIMC    XCSE19005265              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450327     2020   CIMC    XCSE19005266              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450328     2020   CIMC    XCSE19005267              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450329     2020   CIMC    XCSE19005268              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450330     2020   CIMC    XCSE19005269              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450331     2020   CIMC    XCSE19005270              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450332     2020   CIMC    XCSE19005271              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450333     2020   CIMC    XCSE19005272              CA      Sun Valley
 YRCF     RAIL CONTAINER   DRC     YRCU450334     2020   CIMC    XCSE19005273              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450335     2020   CIMC    XCSE19005274              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450336     2020   CIMC    XCSE19005275              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450337     2020   CIMC    XCSE19005276              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450338     2020   CIMC    XCSE19005277              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450339     2020   CIMC    XCSE19005278              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450340     2020   CIMC    XCSE19005279              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450341     2020   CIMC    XCSE19005280              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450342     2020   CIMC    XCSE19005281              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450343     2020   CIMC    XCSE19005282              IL      Rockford
 YRCF     RAIL CONTAINER   DRC     YRCU450344     2020   CIMC    XCSE19005283              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450345     2020   CIMC    XCSE19005284              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450346     2020   CIMC    XCSE19005285              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450347     2020   CIMC    XCSE19005286              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450348     2020   CIMC    XCSE19005287              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450349     2020   CIMC    XCSE19005288              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450350     2020   CIMC    XCSE19005289              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450351     2020   CIMC    XCSE19005290              CA      Tracy
 YRCF     RAIL CONTAINER   DRC     YRCU450352     2020   CIMC    XCSE19005291              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450353     2020   CIMC    XCSE19005292              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450354     2020   CIMC    XCSE19005293              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450355     2020   CIMC    XCSE19005294              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450356     2020   CIMC    XCSE19005295              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450357     2020   CIMC    XCSE19005296              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450358     2020   CIMC    XCSE19005297              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450359     2020   CIMC    XCSE19005298              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450360     2020   CIMC    XCSE19005299              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450361     2020   CIMC    XCSE19005300              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450362     2020   CIMC    XCSE19005301              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450363     2020   CIMC    XCSE19005302              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450364     2020   CIMC    XCSE19005303              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU450365     2020   CIMC    XCSE19005304              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450366     2020   CIMC    XCSE19005305              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450367     2020   CIMC    XCSE19005306              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450368     2020   CIMC    XCSE19005307              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450369     2020   CIMC    XCSE19005308              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450370     2020   CIMC    XCSE19005309              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450371     2020   CIMC    XCSE19005310              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450372     2020   CIMC    XCSE19005311              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450373     2020   CIMC    XCSE19005312              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450374     2020   CIMC    XCSE19005313              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450375     2020   CIMC    XCSE19005314              PA      Greencastle
 YRCF     RAIL CONTAINER   DRC     YRCU450376     2020   CIMC    XCSE19005315              TX      San Antonio
 YRCF     RAIL CONTAINER   DRC     YRCU450377     2020   CIMC    XCSE19005316              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450378     2020   CIMC    XCSE19005317              NC      Charlotte
 YRCF     RAIL CONTAINER   DRC     YRCU450379     2020   CIMC    XCSE19005318              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450380     2020   CIMC    XCSE19005319              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450381     2020   CIMC    XCSE19005320              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450382     2020   CIMC    XCSE19005321              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450383     2020   CIMC    XCSE19005322              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450384     2020   CIMC    XCSE19005323              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450385     2020   CIMC    XCSE19005324              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450386     2020   CIMC    XCSE19005325              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450387     2020   CIMC    XCSE19005326              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450388     2020   CIMC    XCSE19005327              IL      Wheeling
 YRCF     RAIL CONTAINER   DRC     YRCU450389     2020   CIMC    XCSE19005328              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450390     2020   CIMC    XCSE19005329              CA      San Bernardino
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 538 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450391     2020   CIMC    XCSE19005330              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450392     2020   CIMC    XCSE19005331              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450393     2020   CIMC    XCSE19005332              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450394     2020   CIMC    XCSE19005333              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450395     2020   CIMC    XCSE19005334              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450396     2020   CIMC    XCSE19005335              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450397     2020   CIMC    XCSE19005336              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450398     2020   CIMC    XCSE19005337              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450399     2020   CIMC    XCSE19005338              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450400     2020   CIMC    XCSE19005339              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450401     2020   CIMC    XCSE19005340              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450402     2020   CIMC    XCSE19005341              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450403     2020   CIMC    XCSE19005342              IL      Wheeling
 YRCF     RAIL CONTAINER   DRC     YRCU450404     2020   CIMC    XCSE19005343              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU450405     2020   CIMC    XCSE19005344              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450406     2020   CIMC    XCSE19005345              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450407     2020   CIMC    XCSE19005346              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450408     2020   CIMC    XCSE19005347              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450409     2020   CIMC    XCSE19005348              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450410     2020   CIMC    XCSE19005349              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450411     2020   CIMC    XCSE19005350              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450412     2020   CIMC    XCSE19005351              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450413     2020   CIMC    XCSE19005352              MS      Richland
 YRCF     RAIL CONTAINER   DRC     YRCU450414     2020   CIMC    XCSE19005353              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450415     2020   CIMC    XCSE19005354              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450416     2020   CIMC    XCSE19005355              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450417     2020   CIMC    XCSE19005356              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450418     2020   CIMC    XCSE19005357              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450420     2020   CIMC    XCSE19005359              CA      Pomona
 YRCF     RAIL CONTAINER   DRC     YRCU450421     2020   CIMC    XCSE19005360              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450422     2020   CIMC    XCSE19005361              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450423     2020   CIMC    XCSE19005362              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450424     2020   CIMC    XCSE19005363              TX      San Antonio
 YRCF     RAIL CONTAINER   DRC     YRCU450425     2020   CIMC    XCSE19005364              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450426     2020   CIMC    XCSE19005365              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450427     2020   CIMC    XCSE19005366              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450428     2020   CIMC    XCSE19005367              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450429     2020   CIMC    XCSE19005368              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450430     2020   CIMC    XCSE19005369              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450431     2020   CIMC    XCSE19005370              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450432     2020   CIMC    XCSE19005371              CA      Downey
 YRCF     RAIL CONTAINER   DRC     YRCU450433     2020   CIMC    XCSE19005372              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450434     2020   CIMC    XCSE19005373              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450435     2020   CIMC    XCSE19005374              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450436     2020   CIMC    XCSE19005375              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450437     2020   CIMC    XCSE19005376              IL      Montgomery
 YRCF     RAIL CONTAINER   DRC     YRCU450438     2020   CIMC    XCSE19005377              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450439     2020   CIMC    XCSE19005378              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450440     2020   CIMC    XCSE19005379              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU450441     2020   CIMC    XCSE19005380              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450442     2020   CIMC    XCSE19005381              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450443     2020   CIMC    XCSE19005382              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU450444     2020   CIMC    XCSE19005383              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450445     2020   CIMC    XCSE19005384              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450446     2020   CIMC    XCSE19005385              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450447     2020   CIMC    XCSE19005386              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450448     2020   CIMC    XCSE19005387              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450449     2020   CIMC    XCSE19005388              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450450     2020   CIMC    XCSE19005389              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450451     2020   CIMC    XCSE19005390              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450452     2020   CIMC    XCSE19005391              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450453     2020   CIMC    XCSE19005392              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450454     2020   CIMC    XCSE19005393              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450455     2020   CIMC    XCSE19005394              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450456     2020   CIMC    XCSE19005395              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450457     2020   CIMC    XCSE19005396              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450458     2020   CIMC    XCSE19005397              CA      Pomona
 YRCF     RAIL CONTAINER   DRC     YRCU450459     2020   CIMC    XCSE19005398              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450460     2020   CIMC    XCSE19005399              OR      Portland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 539 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450461     2020   CIMC    XCSE19005400              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450462     2020   CIMC    XCSE19005401              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450463     2020   CIMC    XCSE19005402              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450464     2020   CIMC    XCSE19005403              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450465     2020   CIMC    XCSE19005404              NY      Maybrook
 YRCF     RAIL CONTAINER   DRC     YRCU450466     2020   CIMC    XCSE19005405              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450467     2020   CIMC    XCSE19005406              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450468     2020   CIMC    XCSE19005407              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450469     2020   CIMC    XCSE19005408              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450470     2020   CIMC    XCSE19005409              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450471     2020   CIMC    XCSE19005410              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450472     2020   CIMC    XCSE19005411              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450473     2020   CIMC    XCSE19005412              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450474     2020   CIMC    XCSE19005413              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450476     2020   CIMC    XCSE19005415              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450477     2020   CIMC    XCSE19005416              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450478     2020   CIMC    XCSE19005417              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450479     2020   CIMC    XCSE19005418              TX      Houston
 YRCF     RAIL CONTAINER   DRC     YRCU450480     2020   CIMC    XCSE19005419              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450481     2020   CIMC    XCSE19005420              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450482     2020   CIMC    XCSE19005421              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450483     2020   CIMC    XCSE19005422              IL      Wheeling
 YRCF     RAIL CONTAINER   DRC     YRCU450484     2020   CIMC    XCSE19005423              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450485     2020   CIMC    XCSE19005424              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450486     2020   CIMC    XCSE19005425              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450487     2020   CIMC    XCSE19005426              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450488     2020   CIMC    XCSE19005427              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450489     2020   CIMC    XCSE19005428              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450490     2020   CIMC    XCSE19005429              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450491     2020   CIMC    XCSE19005430              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450492     2020   CIMC    XCSE19005431              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450493     2020   CIMC    XCSE19005432              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450494     2020   CIMC    XCSE19005433              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450495     2020   CIMC    XCSE19005434              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450496     2020   CIMC    XCSE19005435              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450497     2020   CIMC    XCSE19005436              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450498     2020   CIMC    XCSE19005437              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450499     2020   CIMC    XCSE19005438              CO      Aurora
 YRCF     RAIL CONTAINER   DRC     YRCU450500     2020   CIMC    XCSE19005439              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450501     2020   CIMC    XCSE19005440              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450502     2020   CIMC    XCSE19005441              TN      Nashville
 YRCF     RAIL CONTAINER   DRC     YRCU450503     2020   CIMC    XCSE19005442              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450504     2020   CIMC    XCSE19005443              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450505     2020   CIMC    XCSE19005444              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450506     2020   CIMC    XCSE19005445              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450507     2020   CIMC    XCSE19005446              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450508     2020   CIMC    XCSE19005447              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450509     2020   CIMC    XCSE19005448              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450510     2020   CIMC    XCSE19005449              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450511     2020   CIMC    XCSE19005450              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450512     2020   CIMC    XCSE19005451              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450513     2020   CIMC    XCSE19005452              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450514     2020   CIMC    XCSE19005453              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450515     2020   CIMC    XCSE19005454              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450516     2020   CIMC    XCSE19005455              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450517     2020   CIMC    XCSE19005456              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450518     2020   CIMC    XCSE19005457              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450519     2020   CIMC    XCSE19005458              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450520     2020   CIMC    XCSE19005459              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450521     2020   CIMC    XCSE19005460              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450522     2020   CIMC    XCSE19005461              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450523     2020   CIMC    XCSE19005462              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450524     2020   CIMC    XCSE19005463              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450525     2020   CIMC    XCSE19005464              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450526     2020   CIMC    XCSE19005465              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450527     2020   CIMC    XCSE19005466              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450528     2020   CIMC    XCSE19005467              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450529     2020   CIMC    XCSE19005468              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450530     2020   CIMC    XCSE19005469              IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 540 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450531     2020   CIMC    XCSE19005470              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450532     2020   CIMC    XCSE19005471              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450533     2020   CIMC    XCSE19005472              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450534     2020   CIMC    XCSE19005473              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450535     2020   CIMC    XCSE19005474              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450536     2020   CIMC    XCSE19005475              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450537     2020   CIMC    XCSE19005476              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450538     2020   CIMC    XCSE19005477              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450539     2020   CIMC    XCSE19005478              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450540     2020   CIMC    XCSE19005479              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450541     2020   CIMC    XCSE19005480              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450542     2020   CIMC    XCSE19005481              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450543     2020   CIMC    XCSE19005482              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450544     2020   CIMC    XCSE19005483              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450545     2020   CIMC    XCSE19005484              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450546     2020   CIMC    XCSE19005485              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450547     2020   CIMC    XCSE19005486              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450548     2020   CIMC    XCSE19005487              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450549     2020   CIMC    XCSE19005488              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450550     2020   CIMC    XCSE19005489              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450551     2020   CIMC    XCSE19005490              CA      Sacramento
 YRCF     RAIL CONTAINER   DRC     YRCU450552     2020   CIMC    XCSE19005491              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450553     2020   CIMC    XCSE19005492              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450554     2020   CIMC    XCSE19005493              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450555     2020   CIMC    XCSE19005494              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450556     2020   CIMC    XCSE19005495              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450557     2020   CIMC    XCSE19005496              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450558     2020   CIMC    XCSE19005497              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450559     2020   CIMC    XCSE19005498              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450560     2020   CIMC    XCSE19005499              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450561     2020   CIMC    XCSE19005500              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450562     2020   CIMC    XCSE19005501              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450563     2020   CIMC    XCSE19005502              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450564     2020   CIMC    XCSE19005503              CA      Sun Valley
 YRCF     RAIL CONTAINER   DRC     YRCU450565     2020   CIMC    XCSE19005504              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450566     2020   CIMC    XCSE19005505              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450567     2020   CIMC    XCSE19005506              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450568     2020   CIMC    XCSE19005507              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450569     2020   CIMC    XCSE19005508              CA      Pomona
 YRCF     RAIL CONTAINER   DRC     YRCU450570     2020   CIMC    XCSE19005509              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450571     2020   CIMC    XCSE19005510              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450572     2020   CIMC    XCSE19005511              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450573     2020   CIMC    XCSE19005512              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450574     2020   CIMC    XCSE19005513              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450575     2020   CIMC    XCSE19005514              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450576     2020   CIMC    XCSE19005515              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450577     2020   CIMC    XCSE19005516              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450578     2020   CIMC    XCSE19005517              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450579     2020   CIMC    XCSE19005518              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450580     2020   CIMC    XCSE19005519              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450581     2020   CIMC    XCSE19005520              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450582     2020   CIMC    XCSE19005521              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450583     2020   CIMC    XCSE19005522              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450584     2020   CIMC    XCSE19005523              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450585     2020   CIMC    XCSE19005524              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450586     2020   CIMC    XCSE19005525              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450587     2020   CIMC    XCSE19005526              GA      Marietta
 YRCF     RAIL CONTAINER   DRC     YRCU450588     2020   CIMC    XCSE19005527              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450589     2020   CIMC    XCSE19005528              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450590     2020   CIMC    XCSE19005529              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450591     2020   CIMC    XCSE19005530              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450592     2020   CIMC    XCSE19005531              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450593     2020   CIMC    XCSE19005532              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450594     2020   CIMC    XCSE19005533              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450595     2020   CIMC    XCSE19005534              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450596     2020   CIMC    XCSE19005535              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450597     2020   CIMC    XCSE19005536              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450598     2020   CIMC    XCSE19005537              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450599     2020   CIMC    XCSE19005538              IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 541 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450600     2020   CIMC    XCSE19005539              MS      Richland
 YRCF     RAIL CONTAINER   DRC     YRCU450601     2020   CIMC    XCSE19005540              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450602     2020   CIMC    XCSE19005541              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450603     2020   CIMC    XCSE19005542              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450604     2020   CIMC    XCSE19005543              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450605     2020   CIMC    XCSE19005544              TX      Irving
 YRCF     RAIL CONTAINER   DRC     YRCU450606     2020   CIMC    XCSE19005545              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450607     2020   CIMC    XCSE19005546              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450608     2020   CIMC    XCSE19005547              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450609     2020   CIMC    XCSE19005548              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450610     2020   CIMC    XCSE19005549              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450611     2020   CIMC    XCSE19005550              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450612     2020   CIMC    XCSE19005551              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450613     2020   CIMC    XCSE19005552              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450614     2020   CIMC    XCSE19005553              TX      Irving
 YRCF     RAIL CONTAINER   DRC     YRCU450615     2020   CIMC    XCSE19005554              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450616     2020   CIMC    XCSE19005555              CA      Visalia
 YRCF     RAIL CONTAINER   DRC     YRCU450617     2020   CIMC    XCSE19005556              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450618     2020   CIMC    XCSE19005557              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450619     2020   CIMC    XCSE19005558              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450620     2020   CIMC    XCSE19005559              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU450621     2020   CIMC    XCSE19005560              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450622     2020   CIMC    XCSE19005561              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450623     2020   CIMC    XCSE19005562              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450624     2020   CIMC    XCSE19005563              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450625     2020   CIMC    XCSE19005564              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450626     2020   CIMC    XCSE19005565              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450627     2020   CIMC    XCSE19005566              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450628     2020   CIMC    XCSE19005567              TX      Houston
 YRCF     RAIL CONTAINER   DRC     YRCU450629     2020   CIMC    XCSE19005568              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450630     2020   CIMC    XCSE19005569              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450631     2020   CIMC    XCSE19005570              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450632     2020   CIMC    XCSE19005571              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450633     2020   CIMC    XCSE19005572              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450634     2020   CIMC    XCSE19005573              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450635     2020   CIMC    XCSE19005574              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450636     2020   CIMC    XCSE19005575              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450637     2020   CIMC    XCSE19005576              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450638     2020   CIMC    XCSE19005577              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450639     2020   CIMC    XCSE20015128              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450640     2020   CIMC    XCSE20015129              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450641     2020   CIMC    XCSE20015130              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450642     2020   CIMC    XCSE20015131              CA      Hayward
 YRCF     RAIL CONTAINER   DRC     YRCU450643     2020   CIMC    XCSE20015132              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450644     2020   CIMC    XCSE20015133              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450645     2020   CIMC    XCSE20015134              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450646     2020   CIMC    XCSE20015135              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450647     2020   CIMC    XCSE20015136              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450648     2020   CIMC    XCSE20015137              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450649     2020   CIMC    XCSE20015138              NY      Buffalo
 YRCF     RAIL CONTAINER   DRC     YRCU450650     2020   CIMC    XCSE20015139              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450651     2020   CIMC    XCSE20015140              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450652     2020   CIMC    XCSE20015141              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450653     2020   CIMC    XCSE20015142              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450654     2020   CIMC    XCSE20015143              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450655     2020   CIMC    XCSE20015144              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450656     2020   CIMC    XCSE20015145              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450657     2020   CIMC    XCSE20015146              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450658     2020   CIMC    XCSE20015147              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450659     2020   CIMC    XCSE20015148              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450660     2020   CIMC    XCSE20015149              TX      Fort Worth
 YRCF     RAIL CONTAINER   DRC     YRCU450661     2020   CIMC    XCSE20015150              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450662     2020   CIMC    XCSE20015151              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450663     2020   CIMC    XCSE20015152              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450664     2020   CIMC    XCSE20015153              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450665     2020   CIMC    XCSE20015154              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450666     2020   CIMC    XCSE20015155              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450667     2020   CIMC    XCSE20015156              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450668     2020   CIMC    XCSE20015157              WA      Everett
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 542 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450669     2020   CIMC    XCSE20015158              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450670     2020   CIMC    XCSE20015159              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450671     2020   CIMC    XCSE20015160              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450672     2020   CIMC    XCSE20015161              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450673     2020   CIMC    XCSE20015162              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450674     2020   CIMC    XCSE20015163              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450675     2020   CIMC    XCSE20015164              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450676     2020   CIMC    XCSE20015165              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450677     2020   CIMC    XCSE20015166              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450678     2020   CIMC    XCSE20015167              MS      Richland
 YRCF     RAIL CONTAINER   DRC     YRCU450679     2020   CIMC    XCSE20015168              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450680     2020   CIMC    XCSE20015169              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU450681     2020   CIMC    XCSE20015170              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450682     2020   CIMC    XCSE20015171              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450683     2020   CIMC    XCSE20015172              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450684     2020   CIMC    XCSE20015173              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450685     2020   CIMC    XCSE20015174              IL      Wheeling
 YRCF     RAIL CONTAINER   DRC     YRCU450686     2020   CIMC    XCSE20015175              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450687     2020   CIMC    XCSE20015176              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450688     2020   CIMC    XCSE20015177              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450689     2020   CIMC    XCSE20015178              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450690     2020   CIMC    XCSE20015179              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450691     2020   CIMC    XCSE20015180              MN      Burnsville
 YRCF     RAIL CONTAINER   DRC     YRCU450692     2020   CIMC    XCSE20015181              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450693     2020   CIMC    XCSE20015182              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450694     2020   CIMC    XCSE20015183              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450695     2020   CIMC    XCSE20015184              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450696     2020   CIMC    XCSE20015185              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450697     2020   CIMC    XCSE20015186              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450698     2020   CIMC    XCSE20015187              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450699     2020   CIMC    XCSE20015188              CA      Bakersfield
 YRCF     RAIL CONTAINER   DRC     YRCU450700     2020   CIMC    XCSE20015189              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450701     2020   CIMC    XCSE20015190              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450702     2020   CIMC    XCSE20015191              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450703     2020   CIMC    XCSE20015192              TX      San Antonio
 YRCF     RAIL CONTAINER   DRC     YRCU450704     2020   CIMC    XCSE20015193              CA      Pomona
 YRCF     RAIL CONTAINER   DRC     YRCU450705     2020   CIMC    XCSE20015194              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450706     2020   CIMC    XCSE20015195              TX      San Antonio
 YRCF     RAIL CONTAINER   DRC     YRCU450707     2020   CIMC    XCSE20015196              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450708     2020   CIMC    XCSE20015197              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU450709     2020   CIMC    XCSE20015198              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450710     2020   CIMC    XCSE20015199              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450711     2020   CIMC    XCSE20015200              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450712     2020   CIMC    XCSE20015201              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450713     2020   CIMC    XCSE20015202              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450714     2020   CIMC    XCSE20015203              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450715     2020   CIMC    XCSE20015204              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450716     2020   CIMC    XCSE20015205              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450717     2020   CIMC    XCSE20015206              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450718     2020   CIMC    XCSE20015207              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450719     2020   CIMC    XCSE20015208              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450720     2020   CIMC    XCSE20015209              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450721     2020   CIMC    XCSE20015210              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450722     2020   CIMC    XCSE20015211              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450723     2020   CIMC    XCSE20015212              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450724     2020   CIMC    XCSE20015213              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450725     2020   CIMC    XCSE20015214              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450726     2020   CIMC    XCSE20015215              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450727     2020   CIMC    XCSE20015216              CA      Tracy
 YRCF     RAIL CONTAINER   DRC     YRCU450728     2020   CIMC    XCSE20015217              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450729     2020   CIMC    XCSE20015218              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450730     2020   CIMC    XCSE20015219              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450731     2020   CIMC    XCSE20015220              MN      Burnsville
 YRCF     RAIL CONTAINER   DRC     YRCU450732     2020   CIMC    XCSE20015221              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450733     2020   CIMC    XCSE20015222              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450735     2020   CIMC    XCSE20015224              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450736     2020   CIMC    XCSE20015225              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450737     2020   CIMC    XCSE20015226              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450738     2020   CIMC    XCSE20015227              OR      Portland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 543 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450739     2020   CIMC    XCSE20015228              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450740     2020   CIMC    XCSE20015229              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450741     2020   CIMC    XCSE20015230              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450742     2020   CIMC    XCSE20015231              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450743     2020   CIMC    XCSE20015232              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450744     2020   CIMC    XCSE20015233              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450745     2020   CIMC    XCSE20015234              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450746     2020   CIMC    XCSE20015235              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450747     2020   CIMC    XCSE20015236              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450748     2020   CIMC    XCSE20015237              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450749     2020   CIMC    XCSE20015238              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450750     2020   CIMC    XCSE20015239              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450751     2020   CIMC    XCSE20015240              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450752     2020   CIMC    XCSE20015241              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450753     2020   CIMC    XCSE20015242              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450754     2020   CIMC    XCSE20015243              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450755     2020   CIMC    XCSE20015244              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450756     2020   CIMC    XCSE20015245              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450757     2020   CIMC    XCSE20015246              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450758     2020   CIMC    XCSE20015247              GA      Marietta
 YRCF     RAIL CONTAINER   DRC     YRCU450760     2020   CIMC    XCSE20015249              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450761     2020   CIMC    XCSE20015250              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450762     2020   CIMC    XCSE20015251              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450763     2020   CIMC    XCSE20015252              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450764     2020   CIMC    XCSE20015253              CA      Tracy
 YRCF     RAIL CONTAINER   DRC     YRCU450765     2020   CIMC    XCSE20015254              CO      Aurora
 YRCF     RAIL CONTAINER   DRC     YRCU450766     2020   CIMC    XCSE20015255              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450768     2020   CIMC    XCSE20015257              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450769     2020   CIMC    XCSE20015258              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450770     2020   CIMC    XCSE20015259              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450771     2020   CIMC    XCSE20015260              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450772     2020   CIMC    XCSE20015261              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450773     2020   CIMC    XCSE20015262              NY      Buffalo
 YRCF     RAIL CONTAINER   DRC     YRCU450774     2020   CIMC    XCSE20015263              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450777     2020   CIMC    XCSE20015266              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450778     2020   CIMC    XCSE20015267              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450779     2020   CIMC    XCSE20015268              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450780     2020   CIMC    XCSE20015269              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450781     2020   CIMC    XCSE20015270              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450783     2020   CIMC    XCSE20015272              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450784     2020   CIMC    XCSE20015273              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450786     2020   CIMC    XCSE20015275              GA      Marietta
 YRCF     RAIL CONTAINER   DRC     YRCU450787     2020   CIMC    XCSE20015276              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450788     2020   CIMC    XCSE20015277              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450789     2020   CIMC    XCSE20015278              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450790     2020   CIMC    XCSE20015279              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450791     2020   CIMC    XCSE20015280              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450792     2020   CIMC    XCSE20015281              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450793     2020   CIMC    XCSE20015282              MO      Saint Louis
 YRCF     RAIL CONTAINER   DRC     YRCU450795     2020   CIMC    XCSE20015284              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450796     2020   CIMC    XCSE20015285              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450797     2020   CIMC    XCSE20015286              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450798     2020   CIMC    XCSE20015287              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450799     2020   CIMC    XCSE20015288              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450800     2020   CIMC    XCSE20015289              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450801     2020   CIMC    XCSE20015290              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450802     2020   CIMC    XCSE20015291              CO      Aurora
 YRCF     RAIL CONTAINER   DRC     YRCU450803     2020   CIMC    XCSE20015292              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450804     2020   CIMC    XCSE20015293              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450805     2020   CIMC    XCSE20015294              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450806     2020   CIMC    XCSE20015295              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450807     2020   CIMC    XCSE20015296              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450808     2020   CIMC    XCSE20015297              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450809     2020   CIMC    XCSE20015298              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450810     2020   CIMC    XCSE20015299              CA      Sacramento
 YRCF     RAIL CONTAINER   DRC     YRCU450811     2020   CIMC    XCSE20015300              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450812     2020   CIMC    XCSE20015301              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450813     2020   CIMC    XCSE20015302              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450814     2020   CIMC    XCSE20015303              CO      Aurora
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 544 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450815     2020   CIMC    XCSE20015304              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450816     2020   CIMC    XCSE20015305              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450817     2020   CIMC    XCSE20015306              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU450818     2020   CIMC    XCSE20015307              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450819     2020   CIMC    XCSE20015308              OH      Toledo
 YRCF     RAIL CONTAINER   DRC     YRCU450820     2020   CIMC    XCSE20015309              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450821     2020   CIMC    XCSE20015310              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450822     2020   CIMC    XCSE20015311              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450823     2020   CIMC    XCSE20015312              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450824     2020   CIMC    XCSE20015313              CA      Sun Valley
 YRCF     RAIL CONTAINER   DRC     YRCU450825     2020   CIMC    XCSE20015314              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450826     2020   CIMC    XCSE20015315              IL      Montgomery
 YRCF     RAIL CONTAINER   DRC     YRCU450827     2020   CIMC    XCSE20015316              CA      Pomona
 YRCF     RAIL CONTAINER   DRC     YRCU450828     2020   CIMC    XCSE20015317              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450829     2020   CIMC    XCSE20015318              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU450830     2020   CIMC    XCSE20015319              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450831     2020   CIMC    XCSE20015320              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU450832     2020   CIMC    XCSE20015321              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450833     2020   CIMC    XCSE20015322              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450835     2020   CIMC    XCSE20015324              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450836     2020   CIMC    XCSE20015325              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450837     2020   CIMC    XCSE20015326              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450838     2020   CIMC    XCSE20015327              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450839     2020   CIMC    XCSE20015328              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450841     2020   CIMC    XCSE20015330              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450842     2020   CIMC    XCSE20015331              NC      Charlotte
 YRCF     RAIL CONTAINER   DRC     YRCU450843     2020   CIMC    XCSE20015332              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450844     2020   CIMC    XCSE20015333              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450845     2020   CIMC    XCSE20015334              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450846     2020   CIMC    XCSE20015335              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450847     2020   CIMC    XCSE20015336              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450848     2020   CIMC    XCSE20015337              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450849     2020   CIMC    XCSE20015338              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450850     2020   CIMC    XCSE20015339              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450851     2020   CIMC    XCSE20015340              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450852     2020   CIMC    XCSE20015341              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450853     2020   CIMC    XCSE20015342              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450854     2020   CIMC    XCSE20015343              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450855     2020   CIMC    XCSE20015344              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450856     2020   CIMC    XCSE20015345              CA      Sun Valley
 YRCF     RAIL CONTAINER   DRC     YRCU450857     2020   CIMC    XCSE20015346              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450858     2020   CIMC    XCSE20015347              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450859     2020   CIMC    XCSE20015348              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450860     2020   CIMC    XCSE20015349              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450861     2020   CIMC    XCSE20015350              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450862     2020   CIMC    XCSE20015351              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450863     2020   CIMC    XCSE20015352              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450864     2020   CIMC    XCSE20015353              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450865     2020   CIMC    XCSE20015354              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450866     2020   CIMC    XCSE20015355              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450867     2020   CIMC    XCSE20015356              OH      Toledo
 YRCF     RAIL CONTAINER   DRC     YRCU450868     2020   CIMC    XCSE20015357              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU450869     2020   CIMC    XCSE20015358              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450870     2020   CIMC    XCSE20015359              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450871     2020   CIMC    XCSE20015360              TX      Houston
 YRCF     RAIL CONTAINER   DRC     YRCU450873     2020   CIMC    XCSE20015362              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450874     2020   CIMC    XCSE20015363              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450875     2020   CIMC    XCSE20015364              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450876     2020   CIMC    XCSE20015365              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450878     2020   CIMC    XCSE20015367              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450879     2020   CIMC    XCSE20015368              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450881     2020   CIMC    XCSE20015370              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450882     2020   CIMC    XCSE20015371              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450883     2020   CIMC    XCSE20015372              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450884     2020   CIMC    XCSE20015373              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450885     2020   CIMC    XCSE20015374              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450886     2020   CIMC    XCSE20015375              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450887     2020   CIMC    XCSE20015376              CA      Pomona
 YRCF     RAIL CONTAINER   DRC     YRCU450888     2020   CIMC    XCSE20015377              CA      Sun Valley
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 545 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450889     2020   CIMC    XCSE20015378              IN      Indianapolis
 YRCF     RAIL CONTAINER   DRC     YRCU450890     2020   CIMC    XCSE20015379              TX      San Antonio
 YRCF     RAIL CONTAINER   DRC     YRCU450891     2020   CIMC    XCSE20015380              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450893     2020   CIMC    XCSE20015382              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450895     2020   CIMC    XCSE20015384              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450898     2020   CIMC    XCSE20015387              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450899     2020   CIMC    XCSE20015388              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450900     2020   CIMC    XCSE20015389              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450901     2020   CIMC    XCSE20015390              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450902     2020   CIMC    XCSE20015391              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450903     2020   CIMC    XCSE20015392              MS      Richland
 YRCF     RAIL CONTAINER   DRC     YRCU450904     2020   CIMC    XCSE20015393              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450905     2020   CIMC    XCSE20015394              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450906     2020   CIMC    XCSE20015395              MO      Saint Louis
 YRCF     RAIL CONTAINER   DRC     YRCU450907     2020   CIMC    XCSE20015396              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450908     2020   CIMC    XCSE20015397              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450909     2020   CIMC    XCSE20015398              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450910     2020   CIMC    XCSE20015399              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450911     2020   CIMC    XCSE20015400              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450912     2020   CIMC    XCSE20015401              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450913     2020   CIMC    XCSE20015402              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450914     2020   CIMC    XCSE20015403              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450915     2020   CIMC    XCSE20015404              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450916     2020   CIMC    XCSE20015405              NC      Charlotte
 YRCF     RAIL CONTAINER   DRC     YRCU450917     2020   CIMC    XCSE20015406              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450918     2020   CIMC    XCSE20015407              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450919     2020   CIMC    XCSE20015408              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450920     2020   CIMC    XCSE20015409              CO      Aurora
 YRCF     RAIL CONTAINER   DRC     YRCU450921     2020   CIMC    XCSE20015410              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450922     2020   CIMC    XCSE20015411              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450923     2020   CIMC    XCSE20015412              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450924     2020   CIMC    XCSE20015413              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450925     2020   CIMC    XCSE20015414              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450926     2020   CIMC    XCSE20015415              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU450927     2020   CIMC    XCSE20015416              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450928     2020   CIMC    XCSE20015417              NJ      Jersey City
 YRCF     RAIL CONTAINER   DRC     YRCU450929     2020   CIMC    XCSE20015418              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU450930     2020   CIMC    XCSE20015419              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450931     2020   CIMC    XCSE20015420              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450932     2020   CIMC    XCSE20015421              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450933     2020   CIMC    XCSE20015422              OH      Copley
 YRCF     RAIL CONTAINER   DRC     YRCU450934     2020   CIMC    XCSE20015423              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450935     2020   CIMC    XCSE20015424              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450936     2020   CIMC    XCSE20015425              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450937     2020   CIMC    XCSE20015426              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450938     2020   CIMC    XCSE20015427              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450939     2020   CIMC    XCSE20015428              WA      Tacoma
 YRCF     RAIL CONTAINER   DRC     YRCU450940     2020   CIMC    XCSE20015429              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450941     2020   CIMC    XCSE20015430              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450942     2020   CIMC    XCSE20015431              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450943     2020   CIMC    XCSE20015432              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450944     2020   CIMC    XCSE20015433              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU450945     2020   CIMC    XCSE20015434              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450946     2020   CIMC    XCSE20015435              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU450947     2020   CIMC    XCSE20015436              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450948     2020   CIMC    XCSE20015437              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450949     2020   CIMC    XCSE20015438              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450950     2020   CIMC    XCSE20015439              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU450951     2020   CIMC    XCSE20015440              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU450952     2020   CIMC    XCSE20015441              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450953     2020   CIMC    XCSE20015442              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450954     2020   CIMC    XCSE20015443              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450955     2020   CIMC    XCSE20015444              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450956     2020   CIMC    XCSE20015445              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450957     2020   CIMC    XCSE20015446              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU450958     2020   CIMC    XCSE20015447              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450959     2020   CIMC    XCSE20015448              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450960     2020   CIMC    XCSE20015449              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450961     2020   CIMC    XCSE20015450              CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 546 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU450962     2020   CIMC    XCSE20015451              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450963     2020   CIMC    XCSE20015452              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450964     2020   CIMC    XCSE20015453              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450965     2020   CIMC    XCSE20015454              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450966     2020   CIMC    XCSE20015455              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450967     2020   CIMC    XCSE20015456              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450968     2020   CIMC    XCSE20015457              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU450969     2020   CIMC    XCSE20015458              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU450970     2020   CIMC    XCSE20015459              CA      Sun Valley
 YRCF     RAIL CONTAINER   DRC     YRCU450971     2020   CIMC    XCSE20015460              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450972     2020   CIMC    XCSE20015461              NJ      Jersey City
 YRCF     RAIL CONTAINER   DRC     YRCU450973     2020   CIMC    XCSE20015462              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450974     2020   CIMC    XCSE20015463              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450975     2020   CIMC    XCSE20015464              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU450976     2020   CIMC    XCSE20015465              GA      Marietta
 YRCF     RAIL CONTAINER   DRC     YRCU450977     2020   CIMC    XCSE20015466              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU450978     2020   CIMC    XCSE20015467              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450979     2020   CIMC    XCSE20015468              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450980     2020   CIMC    XCSE20015469              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU450981     2020   CIMC    XCSE20015470              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU450982     2020   CIMC    XCSE20015471              TX      Fort Worth
 YRCF     RAIL CONTAINER   DRC     YRCU450983     2020   CIMC    XCSE20015472              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450984     2020   CIMC    XCSE20015473              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450985     2020   CIMC    XCSE20015474              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU450986     2020   CIMC    XCSE20015475              CA      Sacramento
 YRCF     RAIL CONTAINER   DRC     YRCU450987     2020   CIMC    XCSE20015476              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU450988     2020   CIMC    XCSE20015477              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU450989     2020   CIMC    XCSE20015478              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450990     2020   CIMC    XCSE20015479              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU450991     2020   CIMC    XCSE20015480              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450992     2020   CIMC    XCSE20015481              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU450993     2020   CIMC    XCSE20015482              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU450994     2020   CIMC    XCSE20015483              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU450995     2020   CIMC    XCSE20015484              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU450996     2020   CIMC    XCSE20015485              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU450997     2020   CIMC    XCSE20015486              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU450998     2020   CIMC    XCSE20015487              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU450999     2020   CIMC    XCSE20015488              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451000     2020   CIMC    XCSE20015489              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451001     2020   CIMC    XCSE20017116              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451002     2020   CIMC    XCSE20017117              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451003     2020   CIMC    XCSE20017118              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU451004     2020   CIMC    XCSE20017119              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451005     2020   CIMC    XCSE20017120              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451006     2020   CIMC    XCSE20017121              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU451007     2020   CIMC    XCSE20017122              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451008     2020   CIMC    XCSE20017123              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451009     2020   CIMC    XCSE20017124              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451010     2020   CIMC    XCSE20017125              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU451011     2020   CIMC    XCSE20017126              OH      Toledo
 YRCF     RAIL CONTAINER   DRC     YRCU451012     2020   CIMC    XCSE20017127              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU451013     2020   CIMC    XCSE20017128              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU451014     2020   CIMC    XCSE20017129              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU451015     2020   CIMC    XCSE20017130              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451016     2020   CIMC    XCSE20017131              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451017     2020   CIMC    XCSE20017132              IL      Wheeling
 YRCF     RAIL CONTAINER   DRC     YRCU451018     2020   CIMC    XCSE20017133              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451019     2020   CIMC    XCSE20017134              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451020     2020   CIMC    XCSE20017135              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451021     2020   CIMC    XCSE20017136              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451022     2020   CIMC    XCSE20017137              TN      Nashville
 YRCF     RAIL CONTAINER   DRC     YRCU451023     2020   CIMC    XCSE20017138              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451024     2020   CIMC    XCSE20017139              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451025     2020   CIMC    XCSE20017140              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451026     2020   CIMC    XCSE20017141              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU451027     2020   CIMC    XCSE20017142              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451028     2020   CIMC    XCSE20017143              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451029     2020   CIMC    XCSE20017144              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451030     2020   CIMC    XCSE20017145              CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 547 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU451032     2020   CIMC    XCSE20017147              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451033     2020   CIMC    XCSE20017148              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU451034     2020   CIMC    XCSE20017149              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU451035     2020   CIMC    XCSE20017150              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451036     2020   CIMC    XCSE20017151              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451037     2020   CIMC    XCSE20017152              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU451038     2020   CIMC    XCSE20017153              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU451039     2020   CIMC    XCSE20017154              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451040     2020   CIMC    XCSE20017155              CA      Sun Valley
 YRCF     RAIL CONTAINER   DRC     YRCU451041     2020   CIMC    XCSE20017156              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451042     2020   CIMC    XCSE20017157              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451043     2020   CIMC    XCSE20017158              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU451044     2020   CIMC    XCSE20017159              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451045     2020   CIMC    XCSE20017160              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU451046     2020   CIMC    XCSE20017161              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451047     2020   CIMC    XCSE20017162              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451048     2020   CIMC    XCSE20017163              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451049     2020   CIMC    XCSE20017164              WA      Spokane
 YRCF     RAIL CONTAINER   DRC     YRCU451050     2020   CIMC    XCSE20017165              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451051     2020   CIMC    XCSE20017166              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451052     2020   CIMC    XCSE20017167              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451053     2020   CIMC    XCSE20017168              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451054     2020   CIMC    XCSE20017169              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451055     2020   CIMC    XCSE20017170              AZ      Phoenix
 YRCF     RAIL CONTAINER   DRC     YRCU451056     2020   CIMC    XCSE20017171              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451057     2020   CIMC    XCSE20017172              MS      Richland
 YRCF     RAIL CONTAINER   DRC     YRCU451058     2020   CIMC    XCSE20017173              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451059     2020   CIMC    XCSE20017174              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU451060     2020   CIMC    XCSE20017175              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451061     2020   CIMC    XCSE20017176              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451062     2020   CIMC    XCSE20017177              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451063     2020   CIMC    XCSE20017178              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451064     2020   CIMC    XCSE20017179              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451065     2020   CIMC    XCSE20017180              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451066     2020   CIMC    XCSE20017181              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451067     2020   CIMC    XCSE20017182              WA      Tacoma
 YRCF     RAIL CONTAINER   DRC     YRCU451068     2020   CIMC    XCSE20017183              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451069     2020   CIMC    XCSE20017184              IL      Edwardsville
 YRCF     RAIL CONTAINER   DRC     YRCU451070     2020   CIMC    XCSE20017185              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451071     2020   CIMC    XCSE20017186              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451072     2020   CIMC    XCSE20017187              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU451073     2020   CIMC    XCSE20017188              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU451074     2020   CIMC    XCSE20017189              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU451075     2020   CIMC    XCSE20017190              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451076     2020   CIMC    XCSE20017191              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU451077     2020   CIMC    XCSE20017192              CA      Pomona
 YRCF     RAIL CONTAINER   DRC     YRCU451078     2020   CIMC    XCSE20017193              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451079     2020   CIMC    XCSE20017194              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451080     2020   CIMC    XCSE20017195              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU451081     2020   CIMC    XCSE20017196              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451082     2020   CIMC    XCSE20017197              AZ      Glendale
 YRCF     RAIL CONTAINER   DRC     YRCU451083     2020   CIMC    XCSE20017198              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU451084     2020   CIMC    XCSE20017199              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451085     2020   CIMC    XCSE20017200              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451086     2020   CIMC    XCSE20017201              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451087     2020   CIMC    XCSE20017202              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451088     2020   CIMC    XCSE20017203              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451089     2020   CIMC    XCSE20017204              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451090     2020   CIMC    XCSE20017205              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451091     2020   CIMC    XCSE20017206              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451092     2020   CIMC    XCSE20017207              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU451093     2020   CIMC    XCSE20017208              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451094     2020   CIMC    XCSE20017209              MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU451095     2020   CIMC    XCSE20017210              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451096     2020   CIMC    XCSE20017211              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451097     2020   CIMC    XCSE20017212              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU451098     2020   CIMC    XCSE20017213              CA      Colton
 YRCF     RAIL CONTAINER   DRC     YRCU451099     2020   CIMC    XCSE20017214              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU451100     2020   CIMC    XCSE20017215              CA      Stockton
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 548 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU451101     2020   CIMC    XCSE20017216              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451102     2020   CIMC    XCSE20017217              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU451103     2020   CIMC    XCSE20017218              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451104     2020   CIMC    XCSE20017219              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU451105     2020   CIMC    XCSE20017220              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU451106     2020   CIMC    XCSE20017221              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451107     2020   CIMC    XCSE20017222              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451108     2020   CIMC    XCSE20017223              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451109     2020   CIMC    XCSE20017224              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451110     2020   CIMC    XCSE20017225              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451111     2020   CIMC    XCSE20017226              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451112     2020   CIMC    XCSE20017227              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU451113     2020   CIMC    XCSE20017228              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451114     2020   CIMC    XCSE20017229              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451115     2020   CIMC    XCSE20017230              MS      Richland
 YRCF     RAIL CONTAINER   DRC     YRCU451116     2020   CIMC    XCSE20017231              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451117     2020   CIMC    XCSE20017232              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451118     2020   CIMC    XCSE20017233              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451119     2020   CIMC    XCSE20017234              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451120     2020   CIMC    XCSE20017235              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451121     2020   CIMC    XCSE20017236              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451122     2020   CIMC    XCSE20017237              TX      Houston
 YRCF     RAIL CONTAINER   DRC     YRCU451123     2020   CIMC    XCSE20017238              CA      Pico Rivera
 YRCF     RAIL CONTAINER   DRC     YRCU451124     2020   CIMC    XCSE20017239              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451125     2020   CIMC    XCSE20017240              MO      Saint Louis
 YRCF     RAIL CONTAINER   DRC     YRCU451126     2020   CIMC    XCSE20017241              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451127     2020   CIMC    XCSE20017242              GA      Marietta
 YRCF     RAIL CONTAINER   DRC     YRCU451128     2020   CIMC    XCSE20017243              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451129     2020   CIMC    XCSE20017244              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451130     2020   CIMC    XCSE20017245              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU451131     2020   CIMC    XCSE20017246              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451132     2020   CIMC    XCSE20017247              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451133     2020   CIMC    XCSE20017248              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451134     2020   CIMC    XCSE20017249              IL      Wheeling
 YRCF     RAIL CONTAINER   DRC     YRCU451135     2020   CIMC    XCSE20017250              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451136     2020   CIMC    XCSE20017251              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451137     2020   CIMC    XCSE20017252              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451138     2020   CIMC    XCSE20017253              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451139     2020   CIMC    XCSE20017254              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451140     2020   CIMC    XCSE20017255              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU451141     2020   CIMC    XCSE20017256              IN      South Bend
 YRCF     RAIL CONTAINER   DRC     YRCU451142     2020   CIMC    XCSE20017257              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451143     2020   CIMC    XCSE20017258              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451144     2020   CIMC    XCSE20017259              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451145     2020   CIMC    XCSE20017260              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451146     2020   CIMC    XCSE20017261              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451147     2020   CIMC    XCSE20017262              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451148     2020   CIMC    XCSE20017263              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU451149     2020   CIMC    XCSE20017264              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451150     2020   CIMC    XCSE20017265              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451151     2020   CIMC    XCSE20017266              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451152     2020   CIMC    XCSE20017267              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451153     2020   CIMC    XCSE20017268              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451154     2020   CIMC    XCSE20017269              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451155     2020   CIMC    XCSE20017270              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451156     2020   CIMC    XCSE20017271              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451157     2020   CIMC    XCSE20017272              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451158     2020   CIMC    XCSE20017273              GA      Atlanta
 YRCF     RAIL CONTAINER   DRC     YRCU451159     2020   CIMC    XCSE20017274              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451160     2020   CIMC    XCSE20017275              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451161     2020   CIMC    XCSE20017276              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451162     2020   CIMC    XCSE20017277              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451163     2020   CIMC    XCSE20017278              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451164     2020   CIMC    XCSE20017279              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451165     2020   CIMC    XCSE20017280              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451166     2020   CIMC    XCSE20017281              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451167     2020   CIMC    XCSE20017282              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451168     2020   CIMC    XCSE20017283              IN      Indianapolis
 YRCF     RAIL CONTAINER   DRC     YRCU451169     2020   CIMC    XCSE20017284              CA      Fresno
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23   Page 549 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     RAIL CONTAINER   DRC     YRCU451170     2020   CIMC    XCSE20017285              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451171     2020   CIMC    XCSE20017286              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451172     2020   CIMC    XCSE20017287              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451173     2020   CIMC    XCSE20017288              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451174     2020   CIMC    XCSE20017289              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451175     2020   CIMC    XCSE20017290              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451176     2020   CIMC    XCSE20017291              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU451177     2020   CIMC    XCSE20017292              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451178     2020   CIMC    XCSE20017293              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU451179     2020   CIMC    XCSE20017294              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU451180     2020   CIMC    XCSE20017295              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451181     2020   CIMC    XCSE20017296              CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451182     2020   CIMC    XCSE20017297              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451183     2020   CIMC    XCSE20017298              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451184     2020   CIMC    XCSE20017299              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451185     2020   CIMC    XCSE20017300              CA      Fresno
 YRCF     RAIL CONTAINER   DRC     YRCU451186     2020   CIMC    XCSE20017301              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451187     2020   CIMC    XCSE20017302              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451188     2020   CIMC    XCSE20017303              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451189     2020   CIMC    XCSE20017304              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451190     2020   CIMC    XCSE20017305              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU451191     2020   CIMC    XCSE20017306              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451192     2020   CIMC    XCSE20017307              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU451193     2020   CIMC    XCSE20017308              WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU451194     2020   CIMC    XCSE20017309              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451195     2020   CIMC    XCSE20017310              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451196     2020   CIMC    XCSE20017311              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU451197     2020   CIMC    XCSE20017312              PA      Carlisle
 YRCF     RAIL CONTAINER   DRC     YRCU451198     2020   CIMC    XCSE20017313              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451199     2020   CIMC    XCSE20017314              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451200     2020   CIMC    XCSE20017315              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451201     2020   CIMC    XCSE20017316              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451202     2020   CIMC    XCSE20017317              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU451203     2020   CIMC    XCSE20017318              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451204     2020   CIMC    XCSE20017319              CA      Tracy
 YRCF     RAIL CONTAINER   DRC     YRCU451205     2020   CIMC    XCSE20017320              PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU451206     2020   CIMC    XCSE20017321              CA      Gardena
 YRCF     RAIL CONTAINER   DRC     YRCU451207     2020   CIMC    XCSE20017322              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451208     2020   CIMC    XCSE20017323              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU451209     2020   CIMC    XCSE20017324              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451210     2020   CIMC    XCSE20017325              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451211     2020   CIMC    XCSE20017326              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU451212     2020   CIMC    XCSE20017327              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451213     2020   CIMC    XCSE20017328              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451214     2020   CIMC    XCSE20017329              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU451215     2020   CIMC    XCSE20017330              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451216     2020   CIMC    XCSE20017331              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451217     2020   CIMC    XCSE20017332              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451218     2020   CIMC    XCSE20017333              IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451219     2020   CIMC    XCSE20017334              CA      Orange
 YRCF     RAIL CONTAINER   DRC     YRCU451220     2020   CIMC    XCSE20017335              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451221     2020   CIMC    XCSE20017336              GA      Marietta
 YRCF     RAIL CONTAINER   DRC     YRCU451222     2020   CIMC    XCSE20017337              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451223     2020   CIMC    XCSE20017338              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451224     2020   CIMC    XCSE20017339              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU451225     2020   CIMC    XCSE20017340              CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451226     2020   CIMC    XCSE20017341              CA      Los Angeles
 YRCF     RAIL CONTAINER   DRC     YRCU451227     2020   CIMC    XCSE20017342              CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU451228     2020   CIMC    XCSE20017343              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451229     2020   CIMC    XCSE20017344              IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU451230     2020   CIMC    XCSE20017345              TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451231     2020   CIMC    XCSE20017346              CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451232     2020   CIMC    XCSE20017347              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451233     2020   CIMC    XCSE20017348              IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451234     2020   CIMC    XCSE20017349              CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451235     2020   CIMC    XCSE20017350              TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451236     2020   CIMC    XCSE20017351              OR      Portland
 YRCF     RAIL CONTAINER   DRC     YRCU451237     2020   CIMC    XCSE20017352              IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451238     2020   CIMC    XCSE20017353              CA      Tracy
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23    Page 550 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT        EYEAR    EMAKE   EFSERIAL        EMODEL     State   City
 YRCF     RAIL CONTAINER   DRC     YRCU451239     2020   CIMC    XCSE20017354               WA      Seattle
 YRCF     RAIL CONTAINER   DRC     YRCU451240     2020   CIMC    XCSE20017355               TN      Memphis
 YRCF     RAIL CONTAINER   DRC     YRCU451241     2020   CIMC    XCSE20017356               IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451242     2020   CIMC    XCSE20017357               TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451243     2020   CIMC    XCSE20017358               CA      Fontana
 YRCF     RAIL CONTAINER   DRC     YRCU451244     2020   CIMC    XCSE20017359               IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451245     2020   CIMC    XCSE20017360               CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451246     2020   CIMC    XCSE20017361               IL      Hodgkins
 YRCF     RAIL CONTAINER   DRC     YRCU451247     2020   CIMC    XCSE20017362               MS      Richland
 YRCF     RAIL CONTAINER   DRC     YRCU451248     2020   CIMC    XCSE20017363               TX      San Antonio
 YRCF     RAIL CONTAINER   DRC     YRCU451249     2020   CIMC    XCSE20017364               TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451250     2020   CIMC    XCSE20017365               IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451251     2020   CIMC    XCSE20017366               CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451252     2020   CIMC    XCSE20017367               CO      Denver
 YRCF     RAIL CONTAINER   DRC     YRCU451253     2020   CIMC    XCSE20017368               CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451254     2020   CIMC    XCSE20017369               IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451255     2020   CIMC    XCSE20017370               PA      Harrisburg
 YRCF     RAIL CONTAINER   DRC     YRCU451256     2020   CIMC    XCSE20017371               MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU451257     2021   CIMC    XCSE21012205               IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451258     2021   CIMC    XCSE21012206               IL      Bolingbrook
 YRCF     RAIL CONTAINER   DRC     YRCU451259     2021   CIMC    XCSE21012207               IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451260     2021   CIMC    XCSE21012208               IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451261     2021   CIMC    XCSE21012209               TX      Dallas
 YRCF     RAIL CONTAINER   DRC     YRCU451262     2021   CIMC    XCSE21012210               IL      Chicago Heights
 YRCF     RAIL CONTAINER   DRC     YRCU451263     2021   CIMC    XCSE21012211               CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451264     2021   CIMC    XCSE21012212               CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451265     2021   CIMC    XCSE21012213               IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451266     2021   CIMC    XCSE21012214               CA      Bloomington
 YRCF     RAIL CONTAINER   DRC     YRCU451267     2021   CIMC    XCSE21012215               CA      San Bernardino
 YRCF     RAIL CONTAINER   DRC     YRCU451268     2021   CIMC    XCSE21012216               IL      Chicago
 YRCF     RAIL CONTAINER   DRC     YRCU451269     2021   CIMC    XCSE21012217               MO      Kansas City
 YRCF     RAIL CONTAINER   DRC     YRCU451270     2021   CIMC    XCSE21012218               CA      Stockton
 YRCF     RAIL CONTAINER   DRC     YRCU451271     2021   CIMC    XCSE21012219               PA      Harrisburg
 YRCF     FORKLIFT         FKL     RDWY1011       2011   TOYOT   8FGCU25‐34552   8FGCU25    NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY1013       1999   KMTSU   513789A         FG20ST12   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY1014       1999   KMTSU   513790A         FG20ST12   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY1015       2011   TOYOT   8FGCU25‐34766   8FGCU25    NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY1020       2011   TOYOT   8FGCU25‐34771   8FGCU25    NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY1021       2011   TOYOT   8FGCU25‐34777   8FGCU25    AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY1024       2011   TOYOT   8FGCU25‐34781   8FGCU25    PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY1026       2011   TOYOT   8FGCU25‐34806   8FGCU25    NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY1027       2011   TOYOT   8FGCU25‐34808   8FGCU25    NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY1028       2003   MTSBS   AF82C05894      FGC25      AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY1029       2011   TOYOT   8FGCU25‐34812   8FGCU25    FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY1030       2006   CTRPL   AT9005429       0          NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY1031       2011   TOYOT   8FGCU25‐35589   8FGCU25    NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY1032       1998   NSSMT   CPJ029P0919     0          NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY1033       2001   TOYOT   7FGCU25‐69432   0          PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY1034       2001   NSSMT   CPJ029P8552     0          PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY1035       1997   NSSMT   KCPH02P909433   0          PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY1037       2011   TOYOT   8FGCU25‐34815   8FGCU25    MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY1039       2004   NSSMT   CLP029P0604     CPL02      NC      Raleigh
 YRCF     FORKLIFT         FKL     RDWY1040       2001   NSSMT   CPJ029P8556     0          VA      Manassas
 YRCF     FORKLIFT         FKL     RDWY1044       2008   TOYOT   8FGCU25‐21107   8FGCU      WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY1045       2007   TOYOT   8FGCU25‐14321   7FGCU      WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY1046       2015   TOYOT   8FGCU25‐65229   8FGCU25    NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY1047       2015   TOYOT   8FGCU25‐65189   8FGCU25    NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY1048       2014   TOYOT   8FGCU25‐50079   8FGCU25    NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY1049       2011   TOYOT   8FGCU25‐35682   8FGCU25    NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY1050       2009   TOYOT   8FGCU25‐21551   8FGCU25    NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY1051       2008   TOYOT   8FGCU25‐21621   FGCU2      TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY1052       2011   TOYOT   8FGCU25‐34837   8FGCU25    TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY1053       2011   TOYOT   8FGCU25‐35705   FGCU2      TX      Houston
 YRCF     FORKLIFT         FKL     RDWY1054       2004   TOYOT   7FGCU25‐83592   7FGCU      TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY1056       2011   TOYOT   8FGCU25‐34839   8FGCU25    TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY1057       2015   TOYOT   8FGCU25‐64874   8FGCU25    TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY1058       2008   TOYOT   8FGCU25‐21628   FGCU2      TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY1068       2011   TOYOT   8FGCU25‐34855   8FGCU25    IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY1069       2011   TOYOT   8FGCU25‐34879   8FGCU25    IL      Rockford
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 551 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY1077     2011   TOYOT   8FGCU25‐34880   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1081     2011   TOYOT   8FGCU25‐34881   8FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY1099     2011   TOYOT   8FGCU25‐34889   8FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY1104     2011   TOYOT   8FGCU25‐34912   8FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY1125     2005   TOYOT   7FGCU25‐93622   FGCU2     OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY1126     2004   TOYOT   7FGCU25‐82617   FGCU2     OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY1127     2002   NSSMT   E549762         CPJ02     OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY1152     2011   TOYOT   8FGCU25‐34915   8FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY1155     2011   TOYOT   8FGCU25‐34916   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1167     2011   TOYOT   8FGCU25‐34921   8FGCU25   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY1194     2011   TOYOT   8FGCU25‐34947   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY1262     2000   HYSTR   K005D02309X               MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1264     2011   TOYOT   8FGCU25‐34948   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1305     2011   TOYOT   8FGCU25‐34955   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1380     2011   TOYOT   8FGCU25‐34998   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1388     2011   TOYOT   8FGCU25‐35001   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1464     2011   TOYOT   8FGCU25‐35018   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1485     2011   TOYOT   8FGCU25‐35022   8FGCU25   OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY1540     2011   TOYOT   8FGCU25‐35024   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1552     2011   TOYOT   8FGCU25‐35027   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1580     2011   TOYOT   8FGCU25‐35075   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY1590     2011   TOYOT   8FGCU25‐35068   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1600     2011   TOYOT   8FGCU25‐35078   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY1601     2011   TOYOT   8FGCU25‐35083   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1602     2011   TOYOT   8FGCU25‐35101   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1604     2011   TOYOT   8FGCU25‐35106   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1605     2011   TOYOT   8FGCU25‐35107   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY1608     2011   TOYOT   8FGCU25‐35110   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1610     2011   TOYOT   8FGCU25‐35138   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY1611     2011   TOYOT   8FGCU25‐35142   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY1612     2011   TOYOT   8FGCU25‐35150   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY1618     2011   TOYOT   8FGCU25‐35158   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY1619     2011   TOYOT   8FGCU25‐35174   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY1623     2011   TOYOT   8FGCU25‐35178   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY1624     2011   TOYOT   8FGCU25‐35185   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY1625     2011   TOYOT   8FGCU25‐35190   8FGCU25   MN      Saint Cloud
 YRCF     FORKLIFT         FKL     RDWY1627     2011   TOYOT   8FGCU25‐35224   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY1628     2011   TOYOT   8FGCU25‐35227   8FGCU25   MN      Saint Cloud
 YRCF     FORKLIFT         FKL     RDWY1632     2011   TOYOT   8FGCU25‐35234   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1635     2011   TOYOT   8FGCU25‐35235   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1638     2011   TOYOT   8FGCU25‐35257   8FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY1641     2011   TOYOT   8FGCU25‐35260   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1642     2011   TOYOT   8FGCU25‐35267   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY1643     2011   TOYOT   8FGCU25‐35269   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1644     2011   TOYOT   8FGCU25‐35293   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY1645     2011   TOYOT   8FGCU25‐35298   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1646     2011   TOYOT   8FGCU25‐35299   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY1647     2011   TOYOT   8FGCU25‐35302   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1649     2011   TOYOT   8FGCU25‐35326   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1650     2011   TOYOT   8FGCU25‐35335   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1651     2011   TOYOT   8FGCU25‐35338   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY1658     2011   TOYOT   8FGCU25‐35341   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY1659     2011   TOYOT   8FGCU25‐35360   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY1660     2011   TOYOT   8FGCU25‐35368   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY1661     2011   TOYOT   8FGCU25‐35393   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY1662     2011   TOYOT   8FGCU25‐35374   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY1663     2011   TOYOT   8FGCU25‐35402   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY1664     2011   TOYOT   8FGCU25‐35409   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY1665     2011   TOYOT   8FGCU25‐35418   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY1666     2011   TOYOT   8FGCU25‐35419   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY1667     2011   TOYOT   8FGCU25‐35446   8FGCU25   LA      Shreveport
 YRCF     FORKLIFT         FKL     RDWY1670     2011   TOYOT   8FGCU25‐35447   8FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY1672     2011   TOYOT   8FGCU25‐35449   8FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY1673     2011   TOYOT   8FGCU25‐35453   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY1674     2011   TOYOT   8FGCU25‐35482   8FGCU25   TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY1675     2011   TOYOT   8FGCU25‐35486   8FGCU25   TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY1676     2011   TOYOT   8FGCU25‐35489   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY1679     2011   TOYOT   8FGCU25‐35490   8FGCU25   VA      Manassas
 YRCF     FORKLIFT         FKL     RDWY1680     2011   TOYOT   8FGCU25‐35523   8FGCU25   TX      Dallas
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 552 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY1681     2011   TOYOT   8FGCU25‐35524   8FGCU25   TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY1682     2001   NSSMT   CPJ029P8554     0         MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY1683     2005   CTRPL   AT9002620       0         MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY1684     2017   TOYOT   8FGCU25‐81281   8FGCU25   MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY1685     2011   TOYOT   8FGCU25‐35527   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY1686     2021   MTSBS   AF82F49981      FGC25N4   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY1687     2011   TOYOT   8FGCU25‐35530   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY1688     2011   TOYOT   8FGCU25‐35562   8FGCU25   MO      Strafford
 YRCF     FORKLIFT         FKL     RDWY1689     2011   TOYOT   8FGCU25‐35563   8FGCU25   MO      Strafford
 YRCF     FORKLIFT         FKL     RDWY1690     2011   TOYOT   8FGCU25‐35566   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY1692     2011   TOYOT   8FGCU25‐35568   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY1694     2011   TOYOT   8FGCU25‐36256   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY1695     2011   TOYOT   8FGCU25‐36258   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY1696     2011   TOYOT   8FGCU25‐35864   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY1697     2011   TOYOT   8FGCU25‐35830   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY1698     2011   TOYOT   8FGCU25‐35602   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY1699     2011   TOYOT   8FGCU25‐35604   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY1700     2007   TOYOT   7FGCU25‐14497   0         PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY1701     2007   TOYOT   7FGCU25‐13219   0         PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY1702     2014   NSSMT   9W5192          NA        NC      Durham
 YRCF     FORKLIFT         FKL     RDWY1704     2008   TOYOT   8FGCU25‐12667   8FGCU     NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY1712     2011   TOYOT   8FGCU25‐35611   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY1714     2011   TOYOT   8FGCU25‐35637   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1722     2011   TOYOT   8FGCU25‐35639   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY1723     2011   TOYOT   8FGCU25‐35644   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY1724     2011   TOYOT   8FGCU25‐35645   8FGCU25   GA      Thomasville
 YRCF     FORKLIFT         FKL     RDWY1726     2011   TOYOT   8FGCU25‐35660   8FGCU25   GA      Thomasville
 YRCF     FORKLIFT         FKL     RDWY1728     2011   TOYOT   8FGCU25‐35667   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY1730     2011   TOYOT   8FGCU25‐35669   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY1731     2011   TOYOT   8FGCU25‐35673   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY1732     2011   TOYOT   8FGCU25‐35692   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY1733     2011   TOYOT   8FGCU25‐35695   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY1734     2011   TOYOT   8FGCU25‐35697   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY1783     2011   TOYOT   8FGCU25‐35701   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY1787     2011   TOYOT   8FGCU25‐35722   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY1791     2011   TOYOT   8FGCU25‐35725   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY1825     2011   TOYOT   8FGCU25‐35726   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY1869     2011   TOYOT   8FGCU25‐35729   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY1878     2011   TOYOT   8FGCU25‐35756   8FGCU25   KS      Topeka
 YRCF     FORKLIFT         FKL     RDWY1882     2011   TOYOT   8FGCU25‐35759   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1884     2011   TOYOT   8FGCU25‐35760   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1885     2011   TOYOT   8FGCU25‐35764   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1890     2011   TOYOT   8FGCU25‐35799   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY1906     2011   TOYOT   8FGCU25‐35802   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY1915     2008   TOYOT   8FGCU25‐22756   8FGCU2    IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY1918     2008   TOYOT   8FGCU25‐22697   8FGCU2    IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY1919     2008   TOYOT   8FGCU25‐22729   8FGCU2    CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY1920     2008   TOYOT   8FGCU25‐22759   8FGCU2    NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY1921     2008   TOYOT   8FGCU25‐22778   8FGCU2    IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY1922     2008   TOYOT   8FGCU25‐22782   8FGCU2    IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY1924     2008   TOYOT   8FGCU25‐22783   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1927     2008   TOYOT   8FGCU25‐22820   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1928     2008   TOYOT   8FGCU25‐22822   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1930     2008   TOYOT   8FGCU25‐22848   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1931     2008   TOYOT   8FGCU25‐22850   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1932     2008   TOYOT   8FGCU25‐22852   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1933     2008   TOYOT   8FGCU25‐22698   8FGCU2    IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY1935     2008   TOYOT   8FGCU25‐22760   8FGCU2    CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY1936     2008   TOYOT   8FGCU25‐22784   8FGCU2    IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY1937     2008   TOYOT   8FGCU25‐22826   8FGCU2    FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY1939     2008   TOYOT   8FGCU25‐22853   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1940     2008   TOYOT   8FGCU25‐22761   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1944     2008   TOYOT   8FGCU25‐22707   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1945     2008   TOYOT   8FGCU25‐22737   8FGCU2    CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY1951     2008   TOYOT   8FGCU25‐22764   8FGCU2    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY1952     2008   TOYOT   8FGCU25‐22789   8FGCU2    GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1954     2008   TOYOT   8FGCU25‐22827   8FGCU2    GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1956     2008   TOYOT   8FGCU25‐22793   8FGCU2    TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY1957     2008   TOYOT   8FGCU25‐22829   8FGCU2    TN      Memphis
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 553 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL      State   City
 YRCF     FORKLIFT         FKL     RDWY1959     2008   TOYOT   8FGCU25‐22862   8FGCU2      TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY1960     2008   TOYOT   8FGCU25‐22710   8FGCU2      TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY1961     2008   TOYOT   8FGCU25‐22766   8FGCU2      TX      Houston
 YRCF     FORKLIFT         FKL     RDWY1962     2008   TOYOT   8FGCU25‐22739   8FGCU2      GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1963     2008   TOYOT   8FGCU25‐22768   8FGCU2      GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1964     2008   TOYOT   8FGCU25‐22772   8FGCU2      GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1977     2008   TOYOT   8FGCU25‐22796   8FGCU2      GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY1978     2008   TOYOT   8FGCU25‐22832   8FGCU2      AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY1979     2008   TOYOT   8FGCU25‐22834   8FGCU2      CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY1983     2008   TOYOT   8FGCU25‐22837   8FGCU2      WV      Charleston
 YRCF     FORKLIFT         FKL     RDWY1991     2008   KMTSU   219734A         FG25ST‐16   NY      Deer Park
 YRCF     FORKLIFT         FKL     RDWY2000     2008   KMTSU   219735A         FG25ST‐16   PA      Camp Hill
 YRCF     FORKLIFT         FKL     RDWY2002     2008   KMTSU   219934A         FG25ST‐16   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY2012     2008   KMTSU   219942A         FG25ST‐16   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY2032     2008   KMTSU   219944A         FG25ST‐16   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY2038     2008   KMTSU   219945A         FG25ST‐16   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY2039     2008   KMTSU   219946A         FG25ST‐16   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2045     2008   KMTSU   219947A         FG25ST‐16   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY2047     2008   KMTSU   219948A         FG25ST‐16   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY2079     2008   KMTSU   220060A         FG25ST‐16   PA      Camp Hill
 YRCF     FORKLIFT         FKL     RDWY2087     2008   KMTSU   220249A         FG25ST‐16   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY2089     2008   KMTSU   220329A         FG25ST‐16   AR      Springdale
 YRCF     FORKLIFT         FKL     RDWY2093     2008   KMTSU   220332A         FG25ST‐16   IN      Terre Haute
 YRCF     FORKLIFT         FKL     RDWY2094     2008   KMTSU   220335A         FG25ST‐16   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2096     2008   KMTSU   220338A         FG25ST‐16   TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY2099     2008   KMTSU   220342A         FG25ST‐16   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2102     2008   KMTSU   220326A         FG25ST‐16   OK      Tulsa
 YRCF     FORKLIFT         FKL     RDWY2103     2008   KMTSU   220327A         FG25ST‐16   SD      Sioux Falls
 YRCF     FORKLIFT         FKL     RDWY2121     2008   KMTSU   220337A         FG25ST‐16   TX      Corpus Christi
 YRCF     FORKLIFT         FKL     RDWY2147     2004   TOYOT   7FGCU25‐87106   7FGCU25     NY      Rochester
 YRCF     FORKLIFT         FKL     RDWY2169     2002   TOYOT   7FGCU25‐77917   7FGCU25     FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY2170     2002   TOYOT   7FGCU25‐78067   7FGCU25     NY      Plainview
 YRCF     FORKLIFT         FKL     RDWY2175     2002   TOYOT   7FGCU25‐78272   7FGCU25     NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY2177     2002   TOYOT   7FGCU25‐78406   7FGCU25     TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY2188     2007   TOYOT   7FGCU25‐04012               CO      Colorado Springs
 YRCF     FORKLIFT         FKL     RDWY2190     2008   TOYOT   8FGCU25‐22202   8FGCU25     IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY2233     2007   TOYOT   7FGCU25‐02993               TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2254     2016   TOYOT   8FGCU25‐74049   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2255     2016   TOYOT   8FGCU25‐74047   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2256     2016   TOYOT   8FGCU25‐74092   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2257     2016   TOYOT   8FGCU25‐74096   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2258     2016   TOYOT   8FGCU25‐74098   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2259     2016   TOYOT   8FGCU25‐74142   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2260     2016   TOYOT   8FGCU25‐74143   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2261     2016   TOYOT   8FGCU25‐74147   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2262     2016   TOYOT   8FGCU25‐74176   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2263     2016   TOYOT   8FGCU25‐74182   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2264     2016   TOYOT   8FGCU25‐74183   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2265     2016   TOYOT   8FGCU25‐74218   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2266     2016   TOYOT   8FGCU25‐74219   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2267     2016   TOYOT   8FGCU25‐74241   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2268     2016   TOYOT   8FGCU25‐74256   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2269     2016   TOYOT   8FGCU25‐74260   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2270     2016   TOYOT   8FGCU25‐74259   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2271     2016   TOYOT   8FGCU25‐74299   8FGCU25     TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2272     2016   TOYOT   8FGCU25‐74307   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2274     2016   TOYOT   8FGCU25‐74344   8FGCU25     MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2275     2016   TOYOT   8FGCU25‐74351   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2276     2016   TOYOT   8FGCU25‐74357   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2277     2016   TOYOT   8FGCU25‐74381   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2278     2016   TOYOT   8FGCU25‐74385   8FGCU25     MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2279     2016   TOYOT   8FGCU25‐74387   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2280     2016   TOYOT   8FGCU25‐74423   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2282     2016   TOYOT   8FGCU25‐74433   8FGCU25     MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2283     2016   TOYOT   8FGCU25‐74557   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2284     2016   TOYOT   8FGCU25‐74559   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2285     2016   TOYOT   8FGCU25‐74577   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2286     2016   TOYOT   8FGCU25‐74523   8FGCU25     CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2287     2016   TOYOT   8FGCU25‐74530   8FGCU25     UT      Salt Lake City
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 554 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY2288     2016   TOYOT   8FGCU25‐74532   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2289     2016   TOYOT   8FGCU25‐74579   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2290     2016   TOYOT   8FGCU25‐74590   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2291     2016   TOYOT   8FGCU25‐74585   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2292     2016   TOYOT   8FGCU25‐74599   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2293     2016   TOYOT   8FGCU25‐74603   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2294     2016   TOYOT   8FGCU25‐74613   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2295     2016   TOYOT   8FGCU25‐74642   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2296     2016   TOYOT   8FGCU25‐74648   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2297     2016   TOYOT   8FGCU25‐74654   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2298     2016   TOYOT   8FGCU25‐74775   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2299     2016   TOYOT   8FGCU25‐74661   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2300     2016   TOYOT   8FGCU25‐74777   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2301     2016   TOYOT   8FGCU25‐74755   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2302     2016   TOYOT   8FGCU25‐74736   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2303     2016   TOYOT   8FGCU25‐74732   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2304     2016   TOYOT   8FGCU25‐74781   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2305     2016   TOYOT   8FGCU25‐74785   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2306     2016   TOYOT   8FGCU25‐74792   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2307     2016   TOYOT   8FGCU25‐74816   8FGCU25   CA      Fontana
 YRCF     FORKLIFT         FKL     RDWY2308     2016   TOYOT   8FGCU25‐74832   8FGCU25   CA      Fontana
 YRCF     FORKLIFT         FKL     RDWY2309     2016   TOYOT   8FGCU25‐74835   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY2310     2016   TOYOT   8FGCU25‐74855   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY2311     2016   TOYOT   8FGCU25‐74871   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2312     2016   TOYOT   8FGCU25‐74878   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY2313     2016   TOYOT   8FGCU25‐74899   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY2314     2016   TOYOT   8FGCU25‐74905   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2315     2016   TOYOT   8FGCU25‐74906   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2316     2016   TOYOT   8FGCU25‐74934   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2317     2016   TOYOT   8FGCU25‐74935   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2318     2016   TOYOT   8FGCU25‐74938   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2319     2016   TOYOT   8FGCU25‐74972   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2320     2016   TOYOT   8FGCU25‐74975   8FGCU25   MN      Duluth
 YRCF     FORKLIFT         FKL     RDWY2321     2016   TOYOT   8FGCU25‐74976   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY2322     2016   TOYOT   8FGCU25‐75010   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2323     2016   TOYOT   8FGCU25‐75021   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2324     2016   TOYOT   8FGCU25‐75019   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2325     2016   TOYOT   8FGCU25‐75140   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2326     2016   TOYOT   8FGCU25‐75143   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY2327     2016   TOYOT   8FGCU25‐75153   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY2328     2016   TOYOT   8FGCU25‐75105   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY2329     2016   TOYOT   8FGCU25‐75106   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY2330     2016   TOYOT   8FGCU25‐75120   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY2331     2016   TOYOT   8FGCU25‐75155   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY2332     2016   TOYOT   8FGCU25‐75166   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY2333     2016   TOYOT   8FGCU25‐75169   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2334     2016   TOYOT   8FGCU25‐75182   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY2335     2016   TOYOT   8FGCU25‐75203   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2336     2016   TOYOT   8FGCU25‐75219   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY2337     2016   TOYOT   8FGCU25‐75236   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY2338     2016   TOYOT   8FGCU25‐75238   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2339     2016   TOYOT   8FGCU25‐75252   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2340     2016   TOYOT   8FGCU25‐75271   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2341     2016   TOYOT   8FGCU25‐75276   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2342     2016   TOYOT   8FGCU25‐75281   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2343     2016   TOYOT   8FGCU25‐75312   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY2344     2016   TOYOT   8FGCU25‐75326   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY2345     2016   TOYOT   8FGCU25‐75342   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY2346     2016   TOYOT   8FGCU25‐75380   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2347     2016   TOYOT   8FGCU25‐73335   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2348     2016   TOYOT   8FGCU25‐73910   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2349     2016   TOYOT   8FGCU25‐73952   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2350     2016   TOYOT   8FGCU25‐73983   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2351     2016   TOYOT   8FGCU25‐73985   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2352     2016   TOYOT   8FGCU25‐74311   8FGCU25   CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2353     2016   TOYOT   8FGCU25‐74427   8FGCU25   CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2354     2016   TOYOT   8FGCU25‐74046   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2356     2016   TOYOT   8FGCU25‐73862   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2357     2018   TOYOT   8FGCU25‐86691   8FGCU25   OH      Columbus
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 555 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY2358     2018   TOYOT   8FGCU25‐86796   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2359     2018   TOYOT   8FGCU25‐87224   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2360     2018   TOYOT   8FGCU25‐86798   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2361     2018   TOYOT   8FGCU25‐86821   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2362     2018   TOYOT   8FGCU25‐87145   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2363     2018   TOYOT   8FGCU25‐86824   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2364     2018   TOYOT   8FGCU25‐86856   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2365     2018   TOYOT   8FGCU25‐87101   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2366     2018   TOYOT   8FGCU25‐87186   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2367     2018   TOYOT   8FGCU25‐86858   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2368     2018   TOYOT   8FGCU25‐86877   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2369     2018   TOYOT   8FGCU25‐87076   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2370     2018   TOYOT   8FGCU25‐87148   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2371     2018   TOYOT   8FGCU25‐86879   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2372     2018   TOYOT   8FGCU25‐86933   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2373     2018   TOYOT   8FGCU25‐87051   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2374     2018   TOYOT   8FGCU25‐87115   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2375     2018   TOYOT   8FGCU25‐86954   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2376     2018   TOYOT   8FGCU25‐86965   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2377     2018   TOYOT   8FGCU25‐87022   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2378     2018   TOYOT   8FGCU25‐86984   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2379     2018   TOYOT   8FGCU25‐87026   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2380     2018   TOYOT   8FGCU25‐87054   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2381     2018   TOYOT   8FGCU25‐87077   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2382     2018   TOYOT   8FGCU25‐87126   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2384     2018   TOYOT   8FGCU25‐87165   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2385     2018   TOYOT   8FGCU25‐87169   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2386     2018   TOYOT   8FGCU25‐87159   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2387     2018   TOYOT   8FGCU25‐87164   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2388     2018   TOYOT   8FGCU25‐87213   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2389     2018   TOYOT   8FGCU25‐87175   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2390     2018   TOYOT   8FGCU25‐87197   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2391     2018   TOYOT   8FGCU25‐87195   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2392     2018   TOYOT   8FGCU25‐87207   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2393     2018   TOYOT   8FGCU25‐87212   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2394     2018   TOYOT   8FGCU25‐87232   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2395     2018   TOYOT   8FGCU25‐87238   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2396     2018   TOYOT   8FGCU25‐87240   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2397     2018   TOYOT   8FGCU25‐87241   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2398     2018   TOYOT   8FGCU25‐87246   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2399     2018   TOYOT   8FGCU25‐87245   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2400     2018   TOYOT   8FGCU25‐87249   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2401     2018   TOYOT   8FGCU25‐87250   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2402     2018   TOYOT   8FGCU25‐87276   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2403     2018   TOYOT   8FGCU25‐87259   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2404     2018   TOYOT   8FGCU25‐87271   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2405     2018   TOYOT   8FGCU25‐87268   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2406     2018   TOYOT   8FGCU25‐87280   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2407     2018   TOYOT   8FGCU25‐87282   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2408     2018   TOYOT   8FGCU25‐87285   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2409     2018   TOYOT   8FGCU25‐87288   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2410     2018   TOYOT   8FGCU25‐87293   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2411     2018   TOYOT   8FGCU25‐87317   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2412     2018   TOYOT   8FGCU25‐87297   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2413     2018   TOYOT   8FGCU25‐87301   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2414     2018   TOYOT   8FGCU25‐87307   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2415     2018   TOYOT   8FGCU25‐87312   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2416     2018   TOYOT   8FGCU25‐87316   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2417     2018   TOYOT   8FGCU25‐87319   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2418     2018   TOYOT   8FGCU25‐87335   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2419     2018   TOYOT   8FGCU25‐87338   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2420     2018   TOYOT   8FGCU25‐87341   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2421     2018   TOYOT   8FGCU25‐87343   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2422     2018   TOYOT   8FGCU25‐87344   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2423     2018   TOYOT   8FGCU25‐87333   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2424     2018   TOYOT   8FGCU25‐87360   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2425     2018   TOYOT   8FGCU25‐87357   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY2426     2018   TOYOT   8FGCU25‐87376   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY2427     2018   TOYOT   8FGCU25‐87383   8FGCU25   OH      Richfield
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 556 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY2428     2018   TOYOT   8FGCU25‐87382   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY2429     2018   TOYOT   8FGCU25‐87389   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY2430     2018   TOYOT   8FGCU25‐87391   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2431     2018   TOYOT   8FGCU25‐87403   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2432     2018   TOYOT   8FGCU25‐87395   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2433     2018   TOYOT   8FGCU25‐87397   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2434     2018   TOYOT   8FGCU25‐87416   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2435     2018   TOYOT   8FGCU25‐87419   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2436     2018   TOYOT   8FGCU25‐87427   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2437     2018   TOYOT   8FGCU25‐87424   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2438     2018   TOYOT   8FGCU25‐87440   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2439     2018   TOYOT   8FGCU25‐87433   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2440     2018   TOYOT   8FGCU25‐87411   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2441     2018   TOYOT   8FGCU25‐87445   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2442     2018   TOYOT   8FGCU25‐87458   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2443     2018   TOYOT   8FGCU25‐87462   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2444     2018   TOYOT   8FGCU25‐87468   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2445     2018   TOYOT   8FGCU25‐87472   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2446     2018   TOYOT   8FGCU25‐87474   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2447     2018   TOYOT   8FGCU25‐87478   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2448     2018   TOYOT   8FGCU25‐87482   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2450     2018   TOYOT   8FGCU25‐87485   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2451     2018   TOYOT   8FGCU25‐87496   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2452     2018   TOYOT   8FGCU25‐87524   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2453     2018   TOYOT   8FGCU25‐87504   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2454     2018   TOYOT   8FGCU25‐87506   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2455     2018   TOYOT   8FGCU25‐87509   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2456     2018   TOYOT   8FGCU25‐87512   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2457     2018   TOYOT   8FGCU25‐87522   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2458     2018   TOYOT   8FGCU25‐87518   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2459     2018   TOYOT   8FGCU25‐87531   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2460     2018   TOYOT   8FGCU25‐87534   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2461     2018   TOYOT   8FGCU25‐87544   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2462     2018   TOYOT   8FGCU25‐87550   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2463     2018   TOYOT   8FGCU25‐87566   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2464     2018   TOYOT   8FGCU25‐87555   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2465     2018   TOYOT   8FGCU25‐87532   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2466     2018   TOYOT   8FGCU25‐87560   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2467     2018   TOYOT   8FGCU25‐87573   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2468     2018   TOYOT   8FGCU25‐87578   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2469     2018   TOYOT   8FGCU25‐87583   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2470     2018   TOYOT   8FGCU25‐87584   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2471     2018   TOYOT   8FGCU25‐87591   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2472     2018   TOYOT   8FGCU25‐87596   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2473     2018   TOYOT   8FGCU25‐87599   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2474     2018   TOYOT   8FGCU25‐87601   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2475     2018   TOYOT   8FGCU25‐87611   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2476     2018   TOYOT   8FGCU25‐87614   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2477     2018   TOYOT   8FGCU25‐87615   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2478     2018   TOYOT   8FGCU25‐87622   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2479     2018   TOYOT   8FGCU25‐87623   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2480     2018   TOYOT   8FGCU25‐87626   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2481     2018   TOYOT   8FGCU25‐87632   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2482     2018   TOYOT   8FGCU25‐87641   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2483     2018   TOYOT   8FGCU25‐87644   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2484     2018   TOYOT   8FGCU25‐87647   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2485     2018   TOYOT   8FGCU25‐87648   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2486     2018   TOYOT   8FGCU25‐87650   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2487     2018   TOYOT   8FGCU25‐87657   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2488     2018   TOYOT   8FGCU25‐87654   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2489     2018   TOYOT   8FGCU25‐87662   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2490     2018   TOYOT   8FGCU25‐87665   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2491     2018   TOYOT   8FGCU25‐87685   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2492     2018   TOYOT   8FGCU25‐87688   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2493     2018   TOYOT   8FGCU25‐87700   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2494     2018   TOYOT   8FGCU25‐87710   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2495     2018   TOYOT   8FGCU25‐87702   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2496     2018   TOYOT   8FGCU25‐87705   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2497     2018   TOYOT   8FGCU25‐87706   8FGCU25   TN      Nashville
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 557 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY2498     2018   TOYOT   8FGCU25‐87713   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2499     2018   TOYOT   8FGCU25‐87730   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2500     2018   TOYOT   8FGCU25‐87748   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY2501     2018   TOYOT   8FGCU25‐87737   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY2502     2018   TOYOT   8FGCU25‐87758   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2503     2018   TOYOT   8FGCU25‐87741   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2504     2018   TOYOT   8FGCU25‐87762   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2505     2018   TOYOT   8FGCU25‐87764   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2506     2018   TOYOT   8FGCU25‐87751   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2507     2018   TOYOT   8FGCU25‐87768   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2508     2018   TOYOT   8FGCU25‐87769   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2509     2018   TOYOT   8FGCU25‐87781   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY2510     2018   TOYOT   8FGCU25‐87786   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY2511     2018   TOYOT   8FGCU25‐87802   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY2512     2018   TOYOT   8FGCU25‐87792   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY2513     2018   TOYOT   8FGCU25‐87795   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY2514     2018   TOYOT   8FGCU25‐87796   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2515     2018   TOYOT   8FGCU25‐87831   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2516     2018   TOYOT   8FGCU25‐87812   8FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY2517     2018   TOYOT   8FGCU25‐87815   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY2518     2018   TOYOT   8FGCU25‐87817   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY2519     2018   TOYOT   8FGCU25‐87819   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY2520     2018   TOYOT   8FGCU25‐87822   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY2521     2018   TOYOT   8FGCU25‐87823   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY2522     2018   TOYOT   8FGCU25‐87829   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY2523     2018   TOYOT   8FGCU25‐87885   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY2524     2018   TOYOT   8FGCU25‐87852   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2525     2018   TOYOT   8FGCU25‐87853   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2526     2018   TOYOT   8FGCU25‐87856   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2527     2018   TOYOT   8FGCU25‐87862   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2528     2018   TOYOT   8FGCU25‐87866   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2529     2018   TOYOT   8FGCU25‐87871   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2530     2018   TOYOT   8FGCU25‐87879   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2531     2018   TOYOT   8FGCU25‐87925   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2532     2018   TOYOT   8FGCU25‐87889   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2533     2018   TOYOT   8FGCU25‐87902   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2534     2018   TOYOT   8FGCU25‐87892   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2535     2018   TOYOT   8FGCU25‐87906   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2536     2018   TOYOT   8FGCU25‐87908   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2537     2018   TOYOT   8FGCU25‐87911   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2538     2018   TOYOT   8FGCU25‐87912   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2539     2018   TOYOT   8FGCU25‐87932   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2540     2018   TOYOT   8FGCU25‐87948   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2541     2018   TOYOT   8FGCU25‐87933   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2542     2018   TOYOT   8FGCU25‐87934   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2543     2018   TOYOT   8FGCU25‐87937   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2544     2018   TOYOT   8FGCU25‐87939   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2545     2018   TOYOT   8FGCU25‐87943   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2546     2018   TOYOT   8FGCU25‐87946   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2547     2018   TOYOT   8FGCU25‐87964   8FGCU25   CA      Fontana
 YRCF     FORKLIFT         FKL     RDWY2548     2018   TOYOT   8FGCU25‐87965   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2549     2018   TOYOT   8FGCU25‐87969   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2550     2018   TOYOT   8FGCU25‐87989   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2551     2018   TOYOT   8FGCU25‐87972   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2552     2018   TOYOT   8FGCU25‐87974   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2553     2018   TOYOT   8FGCU25‐87979   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2554     2018   TOYOT   8FGCU25‐87984   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2555     2018   TOYOT   8FGCU25‐87998   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2556     2018   TOYOT   8FGCU25‐87994   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2557     2018   TOYOT   8FGCU25‐88001   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2558     2018   TOYOT   8FGCU25‐88002   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2559     2018   TOYOT   8FGCU25‐88004   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY2560     2018   TOYOT   8FGCU25‐88007   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY2561     2018   TOYOT   8FGCU25‐88008   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY2562     2018   TOYOT   8FGCU25‐88010   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY2563     2018   TOYOT   8FGCU25‐88027   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY2564     2018   TOYOT   8FGCU25‐88028   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY2565     2018   TOYOT   8FGCU25‐88029   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY2566     2018   TOYOT   8FGCU25‐88036   8FGCU25   OR      Portland
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 558 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY2567     2018   TOYOT   8FGCU25‐88041   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY2568     2018   TOYOT   8FGCU25‐88045   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY2569     2018   TOYOT   8FGCU25‐88046   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY2570     2018   TOYOT   8FGCU25‐88048   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2571     2018   TOYOT   8FGCU25‐88062   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2572     2018   TOYOT   8FGCU25‐88065   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2573     2018   TOYOT   8FGCU25‐88069   8FGCU25   CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2574     2018   TOYOT   8FGCU25‐88070   8FGCU25   CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY2575     2018   TOYOT   8FGCU25‐88632   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2576     2018   TOYOT   8FGCU25‐88636   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2577     2018   TOYOT   8FGCU25‐88746   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2578     2018   TOYOT   8FGCU25‐88742   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2579     2018   TOYOT   8FGCU25‐88744   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2580     2018   TOYOT   8FGCU25‐88750   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2581     2018   TOYOT   8FGCU25‐88763   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY2582     2018   TOYOT   8FGCU25‐88764   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2583     2018   TOYOT   8FGCU25‐88786   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2584     2018   TOYOT   8FGCU25‐88769   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2585     2018   TOYOT   8FGCU25‐88931   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2586     2018   TOYOT   8FGCU25‐88918   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2587     2018   TOYOT   8FGCU25‐88793   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2588     2018   TOYOT   8FGCU25‐88799   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2589     2018   TOYOT   8FGCU25‐88796   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2590     2018   TOYOT   8FGCU25‐88809   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2591     2018   TOYOT   8FGCU25‐89947   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2592     2018   TOYOT   8FGCU25‐89956   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2593     2018   TOYOT   8FGCU25‐88935   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2594     2018   TOYOT   8FGCU25‐88921   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2595     2018   TOYOT   8FGCU25‐88832   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2596     2018   TOYOT   8FGCU25‐88831   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2597     2018   TOYOT   8FGCU25‐88848   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2598     2018   TOYOT   8FGCU25‐88843   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2599     2018   TOYOT   8FGCU25‐90100   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2600     2018   TOYOT   8FGCU25‐90125   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2601     2018   TOYOT   8FGCU25‐89972   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2602     2018   TOYOT   8FGCU25‐89977   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2603     2018   TOYOT   8FGCU25‐88860   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2604     2018   TOYOT   8FGCU25‐88856   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2605     2018   TOYOT   8FGCU25‐88857   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2606     2018   TOYOT   8FGCU25‐88869   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2607     2018   TOYOT   8FGCU25‐90071   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2608     2018   TOYOT   8FGCU25‐90073   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2609     2018   TOYOT   8FGCU25‐90126   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY2610     2018   TOYOT   8FGCU25‐90131   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2611     2018   TOYOT   8FGCU25‐88886   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2612     2018   TOYOT   8FGCU25‐88889   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2613     2018   TOYOT   8FGCU25‐88893   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2614     2018   TOYOT   8FGCU25‐88897   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2615     2018   TOYOT   8FGCU25‐90045   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2616     2018   TOYOT   8FGCU25‐90048   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2617     2018   TOYOT   8FGCU25‐90077   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2618     2018   TOYOT   8FGCU25‐90081   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2619     2018   TOYOT   8FGCU25‐88946   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY2620     2018   TOYOT   8FGCU25‐88947   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY2621     2018   TOYOT   8FGCU25‐88959   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY2622     2018   TOYOT   8FGCU25‐88952   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY2623     2018   TOYOT   8FGCU25‐90005   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY2624     2018   TOYOT   8FGCU25‐90017   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2625     2018   TOYOT   8FGCU25‐90050   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2626     2018   TOYOT   8FGCU25‐90053   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2627     2018   TOYOT   8FGCU25‐88980   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2628     2018   TOYOT   8FGCU25‐88991   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2629     2018   TOYOT   8FGCU25‐88985   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2630     2018   TOYOT   8FGCU25‐88998   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2631     2018   TOYOT   8FGCU25‐89984   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2632     2018   TOYOT   8FGCU25‐89996   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2633     2018   TOYOT   8FGCU25‐90021   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2634     2018   TOYOT   8FGCU25‐90027   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2635     2018   TOYOT   8FGCU25‐89011   8FGCU25   IL      Chicago Heights
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 559 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY2636     2018   TOYOT   8FGCU25‐89014   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2637     2018   TOYOT   8FGCU25‐89017   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2638     2018   TOYOT   8FGCU25‐89025   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2639     2018   TOYOT   8FGCU25‐89904   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2640     2018   TOYOT   8FGCU25‐89909   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2641     2018   TOYOT   8FGCU25‐89992   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2642     2018   TOYOT   8FGCU25‐90001   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2643     2018   TOYOT   8FGCU25‐89055   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2644     2018   TOYOT   8FGCU25‐89060   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2645     2018   TOYOT   8FGCU25‐89054   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2646     2018   TOYOT   8FGCU25‐89056   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2647     2018   TOYOT   8FGCU25‐89870   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2648     2018   TOYOT   8FGCU25‐89877   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2649     2018   TOYOT   8FGCU25‐89918   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2650     2018   TOYOT   8FGCU25‐89926   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2651     2018   TOYOT   8FGCU25‐89081   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2652     2018   TOYOT   8FGCU25‐89083   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2653     2018   TOYOT   8FGCU25‐89112   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2654     2018   TOYOT   8FGCU25‐89093   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2655     2018   TOYOT   8FGCU25‐89836   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2656     2018   TOYOT   8FGCU25‐89839   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2657     2018   TOYOT   8FGCU25‐89883   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2658     2018   TOYOT   8FGCU25‐89889   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2659     2018   TOYOT   8FGCU25‐89117   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2660     2018   TOYOT   8FGCU25‐89118   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2661     2018   TOYOT   8FGCU25‐89121   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2662     2018   TOYOT   8FGCU25‐89123   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY2663     2018   TOYOT   8FGCU25‐89808   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2664     2018   TOYOT   8FGCU25‐89813   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2665     2018   TOYOT   8FGCU25‐89842   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2666     2018   TOYOT   8FGCU25‐89852   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2667     2018   TOYOT   8FGCU25‐89157   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2668     2018   TOYOT   8FGCU25‐89159   8FGCU25   WI      Eau Claire
 YRCF     FORKLIFT         FKL     RDWY2669     2018   TOYOT   8FGCU25‐89171   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2746     2018   TOYOT   8FGCU25‐88107   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2747     2018   TOYOT   8FGCU25‐88142   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2768     2019   TOYOT   8FGCU25‐93525   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2769     2019   TOYOT   8FGCU25‐95217   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2770     2019   TOYOT   8FGCU25‐95239   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2771     2019   TOYOT   8FGCU25‐95249   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2772     2019   TOYOT   8FGCU25‐95256   8FGCU25   NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY2773     2019   TOYOT   8FGCU25‐95270   8FGCU25   NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY2774     2019   TOYOT   8FGCU25‐95275   8FGCU25   NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY2775     2019   TOYOT   8FGCU25‐95279   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2776     2019   TOYOT   8FGCU25‐95284   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2777     2019   TOYOT   8FGCU25‐95293   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2778     2019   TOYOT   8FGCU25‐95314   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2779     2019   TOYOT   8FGCU25‐95320   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2780     2019   TOYOT   8FGCU25‐95322   8FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY2781     2019   TOYOT   8FGCU25‐95333   8FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY2782     2019   TOYOT   8FGCU25‐95343   8FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY2783     2019   TOYOT   8FGCU25‐95351   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2784     2019   TOYOT   8FGCU25‐95360   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2785     2019   TOYOT   8FGCU25‐95363   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2786     2019   TOYOT   8FGCU25‐95366   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2787     2019   TOYOT   8FGCU25‐95372   8FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY2788     2019   TOYOT   8FGCU25‐95414   8FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY2789     2019   TOYOT   8FGCU25‐95416   8FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY2790     2019   TOYOT   8FGCU25‐95428   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2791     2019   TOYOT   8FGCU25‐95435   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2792     2019   TOYOT   8FGCU25‐95451   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2793     2019   TOYOT   8FGCU25‐95477   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2794     2019   TOYOT   8FGCU25‐95494   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2795     2019   TOYOT   8FGCU25‐95507   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2796     2019   TOYOT   8FGCU25‐95528   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2797     2019   TOYOT   8FGCU25‐95571   8FGCU25   CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY2798     2019   TOYOT   8FGCU25‐95577   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2799     2019   TOYOT   8FGCU25‐95578   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2800     2019   TOYOT   8FGCU25‐95622   8FGCU25   MD      Hagerstown
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 560 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY2801     2019   TOYOT   8FGCU25‐95632   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2802     2019   TOYOT   8FGCU25‐95636   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2803     2019   TOYOT   8FGCU25‐95646   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2804     2019   TOYOT   8FGCU25‐95692   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2805     2019   TOYOT   8FGCU25‐95699   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2806     2019   TOYOT   8FGCU25‐95733   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2807     2019   TOYOT   8FGCU25‐95736   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2808     2019   TOYOT   8FGCU25‐95743   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2809     2019   TOYOT   8FGCU25‐95773   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2810     2019   TOYOT   8FGCU25‐95778   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2811     2019   TOYOT   8FGCU25‐95786   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2812     2019   TOYOT   8FGCU25‐95822   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2813     2019   TOYOT   8FGCU25‐95824   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2814     2019   TOYOT   8FGCU25‐95834   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2815     2019   TOYOT   8FGCU25‐95854   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2816     2019   TOYOT   8FGCU25‐96602   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2817     2019   TOYOT   8FGCU25‐96733   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2818     2019   TOYOT   8FGCU25‐95788   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2819     2019   TOYOT   8FGCU25‐95537   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2820     2019   TOYOT   8FGCU25‐95859   8FGCU25   CA      Fontana
 YRCF     FORKLIFT         FKL     RDWY2821     2019   TOYOT   8FGCU25‐95895   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2822     2019   TOYOT   8FGCU25‐95900   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2823     2019   TOYOT   8FGCU25‐95940   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2824     2019   TOYOT   8FGCU25‐96686   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2825     2019   TOYOT   8FGCU25‐96699   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2826     2019   TOYOT   8FGCU25‐96737   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2827     2019   TOYOT   8FGCU25‐96747   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2848     2019   TOYOT   8FGCU25‐01068   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2849     2019   TOYOT   8FGCU25‐02044   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2850     2019   TOYOT   8FGCU25‐02093   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2851     2019   TOYOT   8FGCU25‐02091   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2852     2019   TOYOT   8FGCU25‐02117   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2853     2019   TOYOT   8FGCU25‐02122   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2854     2019   TOYOT   8FGCU25‐02123   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2855     2019   TOYOT   8FGCU25‐02153   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2856     2019   TOYOT   8FGCU25‐02155   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2857     2019   TOYOT   8FGCU25‐02157   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2858     2019   TOYOT   8FGCU25‐02185   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2859     2019   TOYOT   8FGCU25‐02190   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2860     2019   TOYOT   8FGCU25‐02193   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2861     2019   TOYOT   8FGCU25‐02218   8FGCU25   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY2862     2019   TOYOT   8FGCU25‐02220   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2863     2019   TOYOT   8FGCU25‐02222   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2864     2019   TOYOT   8FGCU25‐02263   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2865     2019   TOYOT   8FGCU25‐02265   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2866     2019   TOYOT   8FGCU25‐02266   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2867     2019   TOYOT   8FGCU25‐02286   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2868     2019   TOYOT   8FGCU25‐02290   8FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY2869     2019   TOYOT   8FGCU25‐02295   8FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY2870     2019   TOYOT   8FGCU25‐02327   8FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY2871     2019   TOYOT   8FGCU25‐02331   8FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY2872     2019   TOYOT   8FGCU25‐02337   8FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY2873     2019   TOYOT   8FGCU25‐02361   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2874     2019   TOYOT   8FGCU25‐02366   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2875     2019   TOYOT   8FGCU25‐02370   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2876     2019   TOYOT   8FGCU25‐02394   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2877     2019   TOYOT   8FGCU25‐02411   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2878     2019   TOYOT   8FGCU25‐02409   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2879     2019   TOYOT   8FGCU25‐02424   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2880     2019   TOYOT   8FGCU25‐02427   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2881     2019   TOYOT   8FGCU25‐02431   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2882     2019   TOYOT   8FGCU25‐02464   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2883     2019   TOYOT   8FGCU25‐02469   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2884     2019   TOYOT   8FGCU25‐02476   8FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY2885     2019   TOYOT   8FGCU25‐02497   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2886     2019   TOYOT   8FGCU25‐02499   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2887     2019   TOYOT   8FGCU25‐02502   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2888     2019   TOYOT   8FGCU25‐02535   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2889     2019   TOYOT   8FGCU25‐02540   8FGCU25   IL      Chicago Heights
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 561 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY2890     2019   TOYOT   8FGCU25‐02555   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2891     2019   TOYOT   8FGCU25‐02584   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2892     2019   TOYOT   8FGCU25‐02577   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2893     2019   TOYOT   8FGCU25‐02594   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2894     2019   TOYOT   8FGCU25‐02623   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2895     2019   TOYOT   8FGCU25‐02619   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2896     2019   TOYOT   8FGCU25‐02624   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2897     2019   TOYOT   07G122192656    8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2898     2019   TOYOT   8FGCU25‐02660   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2899     2019   TOYOT   8FGCU25‐02663   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2900     2019   TOYOT   8FGCU25‐02682   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2901     2019   TOYOT   8FGCU25‐02685   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2902     2019   TOYOT   8FGCU25‐02689   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2903     2019   TOYOT   8FGCU25‐02718   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY2904     2019   TOYOT   8FGCU25‐02724   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2905     2019   TOYOT   8FGCU25‐02732   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2906     2019   TOYOT   8FGCU25‐02754   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2907     2019   TOYOT   8FGCU25‐02758   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2908     2019   TOYOT   8FGCU25‐02762   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2909     2019   TOYOT   8FGCU25‐02795   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2910     2019   TOYOT   8FGCU25‐02798   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY2911     2019   TOYOT   8FGCU25‐02802   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2912     2019   TOYOT   8FGCU25‐02837   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2913     2019   TOYOT   8FGCU25‐02841   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY2914     2019   TOYOT   8FGCU25‐02843   8FGCU25   NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY2915     2019   TOYOT   8FGCU25‐02885   8FGCU25   NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY2916     2019   TOYOT   8FGCU25‐02886   8FGCU25   NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY2917     2019   TOYOT   8FGCU25‐02891   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2918     2019   TOYOT   8FGCU25‐02910   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2919     2019   TOYOT   8FGCU25‐02914   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY2920     2019   TOYOT   8FGCU25‐02920   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2921     2019   TOYOT   8FGCU25‐02943   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2922     2019   TOYOT   8FGCU25‐02945   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2923     2019   TOYOT   8FGCU25‐02954   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY2924     2019   TOYOT   8FGCU25‐02980   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY2925     2019   TOYOT   8FGCU25‐02983   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY2926     2019   TOYOT   8FGCU25‐02988   8FGCU25   TX      Waco
 YRCF     FORKLIFT         FKL     RDWY2927     2019   TOYOT   8FGCU25‐03015   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY2928     2019   TOYOT   8FGCU25‐03026   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY2929     2019   TOYOT   8FGCU25‐03029   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2930     2019   TOYOT   8FGCU25‐03056   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2931     2019   TOYOT   8FGCU25‐03064   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2932     2019   TOYOT   8FGCU25‐03072   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2933     2019   TOYOT   8FGCU25‐03097   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2934     2019   TOYOT   8FGCU25‐03102   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2935     2019   TOYOT   8FGCU25‐03108   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2936     2019   TOYOT   8FGCU25‐03124   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2937     2019   TOYOT   8FGCU25‐03131   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2938     2019   TOYOT   8FGCU25‐03136   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2939     2019   TOYOT   8FGCU25‐03157   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2940     2019   TOYOT   8FGCU25‐03161   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2941     2019   TOYOT   8FGCU25‐03166   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2942     2019   TOYOT   8FGCU25‐03200   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2943     2019   TOYOT   8FGCU25‐03204   8FGCU25   WA      Everett
 YRCF     FORKLIFT         FKL     RDWY2944     2019   TOYOT   8FGCU25‐03206   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2945     2019   TOYOT   8FGCU25‐03214   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2946     2019   TOYOT   8FGCU25‐03221   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY2947     2019   TOYOT   8FGCU25‐03225   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2948     2019   TOYOT   8FGCU25‐03249   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2949     2019   TOYOT   8FGCU25‐03258   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2950     2019   TOYOT   8FGCU25‐03275   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2951     2019   TOYOT   8FGCU25‐03288   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY2952     2019   TOYOT   8FGCU25‐03293   8FGCU25   NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY2953     2019   TOYOT   8FGCU25‐03323   8FGCU25   NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY2954     2019   TOYOT   8FGCU25‐03330   8FGCU25   NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY2955     2019   TOYOT   8FGCU25‐03362   8FGCU25   NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY2956     2019   TOYOT   8FGCU25‐03364   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY2957     2019   TOYOT   8FGCU25‐03391   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2958     2019   TOYOT   8FGCU25‐04114   8FGCU25   NE      Omaha
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 562 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY2959     2019   TOYOT   8FGCU25‐04965   8FGCU25   NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY2960     2019   TOYOT   8FGCU25‐05047   8FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY2961     2019   TOYOT   8FGCU25‐04121   8FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY2962     2019   TOYOT   8FGCU25‐04160   8FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY2963     2019   TOYOT   8FGCU25‐04239   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2964     2019   TOYOT   8FGCU25‐04280   8FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY2965     2019   TOYOT   8FGCU25‐04322   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2966     2019   TOYOT   8FGCU25‐04960   8FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY2967     2019   TOYOT   8FGCU25‐05007   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2968     2019   TOYOT   8FGCU25‐05012   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2969     2019   TOYOT   8FGCU25‐04166   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY2970     2019   TOYOT   8FGCU25‐04173   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2971     2019   TOYOT   8FGCU25‐04178   8FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY2972     2019   TOYOT   8FGCU25‐04208   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2973     2019   TOYOT   8FGCU25‐04212   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2974     2019   TOYOT   8FGCU25‐04217   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2975     2019   TOYOT   8FGCU25‐04223   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2976     2019   TOYOT   8FGCU25‐04247   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY2977     2019   TOYOT   8FGCU25‐04257   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2978     2019   TOYOT   8FGCU25‐04262   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2979     2019   TOYOT   8FGCU25‐04287   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2980     2019   TOYOT   8FGCU25‐04307   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2981     2019   TOYOT   8FGCU25‐04300   8FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY2982     2019   TOYOT   8FGCU25‐04331   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2983     2019   TOYOT   8FGCU25‐04339   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2984     2019   TOYOT   8FGCU25‐04348   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2985     2019   TOYOT   8FGCU25‐04365   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2986     2019   TOYOT   8FGCU25‐04373   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2987     2019   TOYOT   8FGCU25‐04382   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2988     2019   TOYOT   8FGCU25‐04385   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2989     2019   TOYOT   8FGCU25‐04400   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY2990     2019   TOYOT   8FGCU25‐04409   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY2991     2019   TOYOT   8FGCU25‐04422   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY2992     2019   TOYOT   8FGCU25‐04431   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY2993     2019   TOYOT   8FGCU25‐04446   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2994     2019   TOYOT   8FGCU25‐04458   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2995     2019   TOYOT   8FGCU25‐04474   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2996     2019   TOYOT   8FGCU25‐04479   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2997     2019   TOYOT   8FGCU25‐04486   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY2998     2019   TOYOT   8FGCU25‐04489   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY2999     2019   TOYOT   8FGCU25‐04873   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3000     2019   TOYOT   8FGCU25‐04875   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3001     2019   TOYOT   8FGCU25‐04501   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3002     2019   TOYOT   8FGCU25‐04529   8FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3003     2019   TOYOT   8FGCU25‐04544   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY3004     2019   TOYOT   8FGCU25‐04548   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY3005     2019   TOYOT   8FGCU25‐04555   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY3006     2019   TOYOT   8FGCU25‐04571   8FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY3007     2019   TOYOT   8FGCU25‐04574   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3008     2019   TOYOT   8FGCU25‐04582   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3009     2019   TOYOT   8FGCU25‐04787   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3010     2019   TOYOT   8FGCU25‐04881   8FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3011     2019   TOYOT   8FGCU25‐04913   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3012     2019   TOYOT   8FGCU25‐04918   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3013     2019   TOYOT   8FGCU25‐04618   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3014     2019   TOYOT   8FGCU25‐04621   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3015     2019   TOYOT   8FGCU25‐04630   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3016     2019   TOYOT   8FGCU25‐04664   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3017     2019   TOYOT   8FGCU25‐04667   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3018     2019   TOYOT   8FGCU25‐04673   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3019     2019   TOYOT   8FGCU25‐04678   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3020     2019   TOYOT   8FGCU25‐04705   8FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3021     2019   TOYOT   8FGCU25‐04797   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY3022     2019   TOYOT   8FGCU25‐04799   8FGCU25   WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY3023     2019   TOYOT   8FGCU25‐04708   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY3024     2019   TOYOT   8FGCU25‐04712   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY3025     2019   TOYOT   8FGCU25‐04746   8FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY3026     2019   TOYOT   8FGCU25‐04750   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY3027     2019   TOYOT   8FGCU25‐04752   8FGCU25   TN      Nashville
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 563 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY3028     2019   TOYOT   8FGCU25‐04762   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY3029     2019   TOYOT   8FGCU25‐04802   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY3030     2019   TOYOT   8FGCU25‐04835   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY3031     2019   TOYOT   8FGCU25‐04841   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY3032     2019   TOYOT   8FGCU25‐04844   8FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY3033     2020   TOYOT   8FGCU25‐C4730   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3034     2020   TOYOT   8FGCU25‐C5128   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3035     2020   TOYOT   8FGCU25‐C5157   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3036     2020   TOYOT   8FGCU25‐C5158   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3037     2020   TOYOT   8FGCU25‐C5214   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3038     2020   TOYOT   8FGCU25‐C5261   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3039     2020   TOYOT   8FGCU25‐C5270   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3040     2020   TOYOT   8FGCU25‐C5272   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3041     2020   TOYOT   8FGCU25‐C5289   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3042     2020   TOYOT   8FGCU25‐C5295   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3044     2020   TOYOT   8FGCU25‐C5890   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3045     2020   TOYOT   8FGCU25‐C5891   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3046     2020   TOYOT   8FGCU25‐C5894   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3047     2020   TOYOT   8FGCU25‐C5897   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3048     2020   TOYOT   8FGCU25‐C5898   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3049     2020   TOYOT   8FGCU25‐C5900   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3050     2020   TOYOT   8FGCU25‐C5916   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3051     2020   TOYOT   8FGCU25‐C5918   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3052     2020   TOYOT   8FGCU25‐C5920   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3053     2020   TOYOT   8FGCU25‐C5921   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3054     2020   TOYOT   8FGCU25‐C5922   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3055     2020   TOYOT   8FGCU25‐C5923   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3056     2020   TOYOT   8FGCU25‐C5939   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3057     2020   TOYOT   8FGCU25‐C5941   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3059     2020   TOYOT   8FGCU25‐C5947   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3060     2020   TOYOT   8FGCU25‐C5949   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3061     2020   TOYOT   8FGCU25‐C5952   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3062     2020   TOYOT   8FGCU25‐C5964   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3063     2020   TOYOT   8FGCU25‐C5965   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3064     2020   TOYOT   8FGCU25‐C5967   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3065     2020   TOYOT   8FGCU25‐C5969   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3066     2020   TOYOT   8FGCU25‐C5972   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3067     2020   TOYOT   8FGCU25‐C5976   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3068     2020   TOYOT   8FGCU25‐C6022   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3069     2020   TOYOT   8FGCU25‐C6024   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3070     2020   TOYOT   8FGCU25‐C6027   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3071     2020   TOYOT   8FGCU25‐C6032   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3072     2020   TOYOT   8FGCU25‐C6036   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3073     2020   TOYOT   8FGCU25‐C6037   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY3074     2021   MTSBS   AF82F49154      FGC25N4   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY3075     2021   MTSBS   AF82F49374      FGC25N4   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY3076     2021   MTSBS   AF82F49397      FGC25N4   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY3078     2021   MTSBS   AF82F49395      FGC25N4   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY3079     2021   MTSBS   AF82F49393      FGC25N4   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY3080     2021   MTSBS   AF82F49370      FGC25N4   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY3081     2021   MTSBS   AF82F49263      FGC25N4   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY3082     2021   MTSBS   AF82F49278      FGC25N4   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY3083     2021   MTSBS   AF82F49372      FGC25N4   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY3084     2021   MTSBS   AF82F49378      FGC25N4   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY3085     2021   MTSBS   AF82F49423      FGC25N4   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY3086     2021   MTSBS   AF82F49401      FGC25N4   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY3087     2021   MTSBS   AF82F49294      FGC25N4   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY3088     2021   MTSBS   AF82F49290      FGC25N4   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY3090     2021   MTSBS   AF82F49376      FGC25N4   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY3091     2021   MTSBS   AF82F49217      FGC25N4   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY3092     2021   MTSBS   AF82F49218      FGC25N4   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY3093     2021   MTSBS   AF82F49235      FGC25N4   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY3094     2021   MTSBS   AF82F49236      FGC25N4   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY3095     2021   MTSBS   AF82F49219      FGC25N4   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY3096     2021   MTSBS   AF82F49400      FGC25N4   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY3097     2002   TOYOT   7FGCU25‐78638   7FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY3098     2021   MTSBS   AF82F49810      FGC25N4   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY3099     2021   MTSBS   AF82F49665      FGC25N4   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY3100     2021   MTSBS   AF82F49867      FGC25N4   UT      Salt Lake City
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 564 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY3101     2021   MTSBS   AF82F49753      FGC25N4   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY3102     2021   MTSBS   AF82F49812      FGC25N4   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY3103     2021   MTSBS   AF82F49808      FGC25N4   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY3104     2021   MTSBS   AF82F49737      FGC25N4   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY3105     2021   MTSBS   AF82F49853      FGC25N4   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY3106     2021   MTSBS   AF82F49596      FGC25N4   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY3107     2021   MTSBS   AF82F49537      FGC25N4   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY3108     2021   MTSBS   AF82F49471      FGC25N4   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY3109     2021   MTSBS   AF82F49651      FGC25N4   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY3110     2021   MTSBS   AF82F49563      FGC25N4   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY3111     2021   MTSBS   AF82F49232      FGC25N4   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY3112     2021   MTSBS   AF82F49662      FGC25N4   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY3113     2021   MTSBS   AF82F49484      FGC25N4   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY3114     2021   MTSBS   AF82F49483      FGC25N4   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3115     2021   MTSBS   AF82F49557      FGC25N4   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3116     2021   MTSBS   AF82F49481      FGC25N4   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3117     2021   MTSBS   AF82F49554      FGC25N4   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3118     2021   MTSBS   AF82F49546      FGC25N4   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3119     2021   MTSBS   AF82F49590      FGC25N4   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3120     2021   MTSBS   AF82F49553      FGC25N4   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3121     2021   MTSBS   AF82F49597      FGC25N4   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY3122     2021   MTSBS   AF82F49264      FGC25N4   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY3123     2021   MTSBS   AF82F49338      FGC25N4   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY3124     2021   MTSBS   AF82F49293      FGC25N4   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY3125     2021   MTSBS   AF82F49292      FGC25N4   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY3126     2021   MTSBS   AF82F49280      FGC25N4   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY3127     2021   MTSBS   AF82F49541      FGC25N4   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY3128     2021   MTSBS   AF82F49510      FGC25N4   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY3129     2021   MTSBS   AF82F49540      FGC25N4   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY3130     2021   MTSBS   AF82F49751      FGC25N4   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3131     2021   MTSBS   AF82F49645      FGC25N4   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3132     2021   MTSBS   AF82F49650      FGC25N4   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3133     2021   MTSBS   AF82F49538      FGC25N4   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3134     2021   MTSBS   AF82F49750      FGC25N4   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3135     2021   MTSBS   AF82F49689      FGC25N4   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3136     2021   MTSBS   AF82F49738      FGC25N4   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3137     2021   MTSBS   AF82F49688      FGC25N4   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY3138     2021   MTSBS   AF82F49289      FGC25N4   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY3139     2021   MTSBS   AF82F49544      FGC25N4   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY3140     2021   MTSBS   AF82F49373      FGC25N4   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY3141     2021   MTSBS   AF82F49639      FGC25N4   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY3142     2021   MTSBS   AF82F49509      FGC25N4   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY3143     2021   MTSBS   AF82F49588      FGC25N4   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY3144     2021   MTSBS   AF82F49565      FGC25N4   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY3145     2021   MTSBS   AF82F49638      FGC25N4   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY3146     2021   MTSBS   AF82F49564      FGC25N4   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3147     2021   MTSBS   AF82F49485      FGC25N4   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3148     2021   MTSBS   AF82F49655      FGC25N4   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3149     2021   MTSBS   AF82F49648      FGC25N4   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3150     2021   MTSBS   AF82F49664      FGC25N4   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3151     2021   MTSBS   AF82F49649      FGC25N4   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3152     2021   MTSBS   AF82F49558      FGC25N4   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3153     2021   MTSBS   AF82F49562      FGC25N4   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY3154     2021   MTSBS   AF82F49543      FGC25N4   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY3155     2021   MTSBS   AF82F49567      FGC25N4   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY3156     2021   MTSBS   AF82F49601      FGC25N4   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY3157     2021   MTSBS   AF82F49661      FGC25N4   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY3158     2021   MTSBS   AF82F49560      FGC25N4   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY3159     2021   MTSBS   AF82F49561      FGC25N4   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY3160     2021   MTSBS   AF82F49594      FGC25N4   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3161     2021   MTSBS   AF82F49435      FGC25N4   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3162     2021   MTSBS   AF82F49534      FGC25N4   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3163     2021   MTSBS   AF82F49595      FGC25N4   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3164     2021   MTSBS   AF82F49660      FGC25N4   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3165     2008   TOYOT   8FGCU25‐23042   8FGCU25   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY3166     2021   MTSBS   AF82F49542      FGC25N4   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3167     2021   MTSBS   AF82F49556      FGC25N4   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3168     2021   MTSBS   AF82F49652      FGC25N4   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3169     2021   MTSBS   AF82F49442      FGC25N4   PA      Carlisle
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 565 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL       EMODEL    State    City
 YRCF     FORKLIFT         FKL     RDWY3170     2021   MTSBS   AF82F49566     FGC25N4   PA       Carlisle
 YRCF     FORKLIFT         FKL     RDWY3171     2021   MTSBS   AF82F49514     FGC25N4   PA       Carlisle
 YRCF     FORKLIFT         FKL     RDWY3172     2021   MTSBS   AF82F49656     FGC25N4   PA       Carlisle
 YRCF     FORKLIFT         FKL     RDWY3173     2021   MTSBS   AF82F49637     FGC25N4   PA       Carlisle
 YRCF     FORKLIFT         FKL     RDWY3174     2021   MTSBS   AF82F49813     FGC25N4   MN       Burnsville
 YRCF     FORKLIFT         FKL     RDWY3175     2021   MTSBS   AF82F49871     FGC25N4   MN       Burnsville
 YRCF     FORKLIFT         FKL     RDWY3176     2021   MTSBS   AF82F49744     FGC25N4   MN       Burnsville
 YRCF     FORKLIFT         FKL     RDWY3177     2021   MTSBS   AF82F49873     FGC25N4   MN       Burnsville
 YRCF     FORKLIFT         FKL     RDWY3178     2021   MTSBS   AF82F49436     FGC25N4   MN       Burnsville
 YRCF     FORKLIFT         FKL     RDWY3179     2021   MTSBS   AF82F49740     FGC25N4   MN       Burnsville
 YRCF     FORKLIFT         FKL     RDWY3180     2021   MTSBS   AF82F49734     FGC25N4   OK       Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY3181     2021   MTSBS   AF82F49749     FGC25N4   OK       Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY3182     2021   MTSBS   AF82F49667     FGC25N4   OK       Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY3183     2021   MTSBS   AF82F49736     FGC25N4   OK       Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY3184     2021   MTSBS   AF82F49747     FGC25N4   OK       Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY3185     2021   MTSBS   AF82F49669     FGC25N4   OK       Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY3186     2021   MTSBS   AF82F49215     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3187     2021   MTSBS   AF82F49234     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3188     2021   MTSBS   AF82F49248     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3189     2021   MTSBS   AF82F49250     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3190     2021   MTSBS   AF82F49251     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3191     2021   MTSBS   AF82F49598     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3192     2021   MTSBS   AF82F49427     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3193     2021   MTSBS   AF82F49478     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3194     2021   MTSBS   AF82F49439     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3195     2021   MTSBS   AF82F49482     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3196     2021   MTSBS   AF82F49536     FGC25N4   IN       South Bend
 YRCF     FORKLIFT         FKL     RDWY3197     2021   MTSBS   AF82F49592     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3198     2021   MTSBS   AF82F49535     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3199     2021   MTSBS   AF82F49555     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3200     2021   MTSBS   AF82F49602     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3201     2021   MTSBS   AF82F49907     FGC25N4   IN       South Bend
 YRCF     FORKLIFT         FKL     RDWY3202     2021   MTSBS   AF82F49962     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3203     2021   MTSBS   AF82F50074     FGC25N4   IL       Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY3204     2021   MTSBS   AF82F49937     FGC25N4   OR       Portland
 YRCF     FORKLIFT         FKL     RDWY3205     2021   MTSBS   AF82F49944     FGC25N4   OR       Portland
 YRCF     FORKLIFT         FKL     RDWY3206     2021   MTSBS   AF82F49745     FGC25N4   OR       Portland
 YRCF     FORKLIFT         FKL     RDWY3207     2021   MTSBS   AF82F49952     FGC25N4   OR       Portland
 YRCF     FORKLIFT         FKL     RDWY3208     2021   MTSBS   AF82F49946     FGC25N4   IN       Indianapolis
 YRCF     FORKLIFT         FKL     RDWY3209     2021   MTSBS   AF82F49954     FGC25N4   IN       Indianapolis
 YRCF     FORKLIFT         FKL     RDWY3210     2021   MTSBS   AF82F49754     FGC25N4   IN       Indianapolis
 YRCF     FORKLIFT         FKL     RDWY3211     2021   MTSBS   AF82F49845     FGC25N4   IN       Indianapolis
 YRCF     FORKLIFT         FKL     RDWY3212     2021   MTSBS   AF82F49891     FGC25N4   NY       Tonawanda
 YRCF     FORKLIFT         FKL     RDWY3213     2021   MTSBS   AF82F49976     FGC25N4   NY       Tonawanda
 YRCF     FORKLIFT         FKL     RDWY3214     2021   MTSBS   AF82F49982     FGC25N4   NY       Tonawanda
 YRCF     FORKLIFT         FKL     RDWY3215     2021   MTSBS   AF82F49968     FGC25N4   NY       Tonawanda
 YRCF     FORKLIFT         FKL     RDWY3216     2021   MTSBS   AF82F50180     FGC25N4   OH       Columbus
 YRCF     FORKLIFT         FKL     RDWY3217     2021   MTSBS   AF82F50184     FGC25N4   OH       Columbus
 YRCF     FORKLIFT         FKL     RDWY3218     2021   MTSBS   AF82F49980     FGC25N4   OH       Columbus
 YRCF     FORKLIFT         FKL     RDWY3219     2021   MTSBS   AF82F50181     FGC25N4   OH       Columbus
 YRCF     FORKLIFT         FKL     RDWY3220     2021   MTSBS   AF82F49261     FGC25N4   TN       Nashville
 YRCF     FORKLIFT         FKL     RDWY3221     2021   MTSBS   AF82F49275     FGC25N4   TN       Nashville
 YRCF     FORKLIFT         FKL     RDWY3222     2021   MTSBS   AF82F49363     FGC25N4   TN       Nashville
 YRCF     FORKLIFT         FKL     RDWY3223     2021   MTSBS   AF82F49337     FGC25N4   TN       Nashville
 YRCF     FORKLIFT         FKL     RDWY3224     2021   MTSBS   AF82F50174     FGC25N4   CO       Aurora
 YRCF     FORKLIFT         FKL     RDWY3225     2021   MTSBS   AF82F49972     FGC25N4   CO       Aurora
 YRCF     FORKLIFT         FKL     RDWY3226     2021   MTSBS   AF82F49904     FGC25N4   CO       Aurora
 YRCF     FORKLIFT         FKL     RDWY3227     2021   MTSBS   AF82F49901     FGC25N4   CO       Aurora
 YRCF     FORKLIFT         FKL     RDWY3228     2021   MTSBS   AF82F49971     FGC25N4   MS       Richland
 YRCF     FORKLIFT         FKL     RDWY3229     2021   MTSBS   AF82F49675     FGC25N4   MS       Richland
 YRCF     FORKLIFT         FKL     RDWY3230     2021   MTSBS   AF82F50169     FGC25N4   MS       Richland
 YRCF     FORKLIFT         FKL     RDWY3231     2021   MTSBS   AF82F50171     FGC25N4   MS       Richland
 YRCF     FORKLIFT         FKL     RDWY3232     2021   MTSBS   AF82F49977     FGC25N4   FL       Orlando
 YRCF     FORKLIFT         FKL     RDWY3233     2021   MTSBS   AF82F50160     FGC25N4   FL       Orlando
 YRCF     FORKLIFT         FKL     RDWY3234     2021   MTSBS   AF82F49896     FGC25N4   CA       Tracy
 YRCF     FORKLIFT         FKL     RDWY3235     2021   MTSBS   AF82F49983     FGC25N4   FL       Tampa
 YRCF     FORKLIFT         FKL     RDWY3236     2021   MTSBS   AF82F50170     FGC25N4   FL       Tampa
 YRCF     FORKLIFT         FKL     RDWY3237     2021   MTSBS   AF82F49958     FGC25N4   TX       San Antonio
 YRCF     FORKLIFT         FKL     RDWY3238     2021   MTSBS   AF82F50026     FGC25N4   TX       San Antonio
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 566 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL      State   City
 YRCF     FORKLIFT         FKL     RDWY3239     2021   MTSBS   AF82F50155      FGC25N4     TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY3240     2021   MTSBS   AF82F49969      FGC25N4     TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY3241     2021   MTSBS   AF82F49955      FGC25N4     TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY3242     2021   MTSBS   AF82F50162      FGC25N4     TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY3243     2021   MTSBS   AF82F50153      FGC25N4     TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY3244     2021   MTSBS   AF82F49963      FGC25N4     TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY3245     2021   MTSBS   AF82F50157      FGC25N4     NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY3246     2021   MTSBS   AF82F50158      FGC25N4     NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY3247     2021   MTSBS   AF82F50186      FGC25N4     NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY3248     2021   MTSBS   AF82F49941      FGC25N4     NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY3249     2021   MTSBS   AF82F50165      FGC25N4     NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY3250     2021   MTSBS   AF82F50178      FGC25N4     NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY3251     2008   TOYOT   8FGCU25‐23257   8FGCU25     OK      Tulsa
 YRCF     FORKLIFT         FKL     RDWY3252     2021   MTSBS   AF82F50076      FGC25N4     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3253     2021   MTSBS   AF82F50150      FGC25N4     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3254     2021   MTSBS   AF82F50149      FGC25N4     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3255     2021   MTSBS   AF82F50380      FGC25N4     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3256     2021   MTSBS   AF82F50075      FGC25N4     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY3258     2021   MTSBS   AF82F50191      FGC25N4     VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY3259     2021   MTSBS   AF82F50161      FGC25N4     VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY3260     2021   MTSBS   AF82F49897      FGC25N4     VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY3261     2021   MTSBS   AF82F49859      FGC25N4     VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY3262     2021   MTSBS   AF82F49950      FGC25N4     TX      Lubbock
 YRCF     FORKLIFT         FKL     RDWY3263     2021   MTSBS   AF82F49898      FGC25N4     IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY3264     2021   MTSBS   AF82F50077      FGC25N4     TX      Lubbock
 YRCF     FORKLIFT         FKL     RDWY3265     2021   MTSBS   AF82F49895      FGC25N4     IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY3266     2021   MTSBS   AF82F49939      FGC25N4     WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY3267     2008   TOYOT   8FGCU25‐23262   8FGCU25     OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY3268     2021   MTSBS   AF82F50183      FGC25N4     WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY3269     2008   TOYOT   8FGCU25‐23265   8FGCU25     OK      Tulsa
 YRCF     FORKLIFT         FKL     RDWY3270     2021   MTSBS   AF82F49860      FGC25N4     WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY3271     2021   MTSBS   AF82F50156      FGC25N4     WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY3287     2020   TOYOT   8FGCU25‐C5943   8FGCU25     CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3288     2007   TOYOT   8FGCU25‐13295   0           PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY3352     2004   TOYOT   7FGCU25‐83017   7FGCU25     IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY3365     2002   TOYOT   7FGCU25‐78662   7FGCU25     TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY3376     2005   TOYOT   7FGCU25‐89792   7FGCU25     IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY3385     2008   TOYOT   8FGCU25‐22905   8FGCU25     TX      Irving
 YRCF     FORKLIFT         FKL     RDWY3431     2008   TOYOT   8FGCU25‐23033   8FGCU25     TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY3443     2008   TOYOT   8FGCU25‐23048   8FGCU25     CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY3477     2008   TOYOT   8FGCU25‐23292   8FGCU25     MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY3527     2004   TOYOT   7FGCU25‐83006   7FGCU25     IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY3895     2008   TOYOT   8FGCU25‐22842   8FGCU25     TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY3908     2008   TOYOT   8FGCU25‐22843   8FGCU25     TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY4060     2006   KMTSU   592671A         F620ST      PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY4070     2006   KMTSU   587870A         F620ST      NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY4077     2006   KMTSU   587869A         F620ST      RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY4081     2006   KMTSU   587871A         F620ST      AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY4087     2006   KMTSU   587862A         F620ST      ME      Fairfield
 YRCF     FORKLIFT         FKL     RDWY4096     2006   KMTSU   587893A         F620ST      IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY4098     2006   KMTSU   587895A         F620ST      WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY4100     2006   KMTSU   587896A         F620ST      WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY4104     2006   KMTSU   587899A         F620ST      IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY4106     2006   KMTSU   587902A         F620ST      TN      Kingsport
 YRCF     FORKLIFT         FKL     RDWY4107     2006   KMTSU   587904A         F620ST      MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY4110     2006   KMTSU   587907A         F620ST      TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY4111     2006   KMTSU   587875A         FG20ST14R   MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY4115     2006   KMTSU   587892A         F620ST      AZ      Tucson
 YRCF     FORKLIFT         FKL     RDWY4122     2006   KMTSU   592679A         F620ST      RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY4125     2006   KMTSU   587884A         F620ST      MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY4126     2006   KMTSU   587906A         F620ST      WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY4127     2006   KMTSU   587867A         F620ST      TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY4129     2006   KMTSU   587879A         F620ST      TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY4131     2006   KMTSU   587890A         F620ST      TN      Knoxville
 YRCF     FORKLIFT         FKL     RDWY4132     2006   KMTSU   587891A         F620ST      SC      North Charleston
 YRCF     FORKLIFT         FKL     RDWY4135     2006   KMTSU   592673A         F620ST      MD      Landover
 YRCF     FORKLIFT         FKL     RDWY4147     2006   KMTSU   592699A         F620ST      RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY4149     2006   KMTSU   592704A         F620ST      MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY4150     2006   KMTSU   592711A         F620ST      RI      Cumberland
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 567 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL       State   City
 YRCF     FORKLIFT         FKL     RDWY4151     2006   KMTSU   592705A         F620ST       TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY4158     2006   KMTSU   592710A         F620ST       ND      Fargo
 YRCF     FORKLIFT         FKL     RDWY4160     2006   KMTSU   592677A         F620ST       RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY4161     2006   KMTSU   592676A         F620ST       MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY4165     2006   KMTSU   592716A         F620ST       UT      St. George
 YRCF     FORKLIFT         FKL     RDWY4170     2006   KMTSU   592685A         F620ST       MS      Richland
 YRCF     FORKLIFT         FKL     RDWY4172     2006   KMTSU   592717A         F620ST       MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY4177     2006   KMTSU   592695A         F620ST       MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY4178     2006   KMTSU   592682A         F620ST       WI      Madison
 YRCF     FORKLIFT         FKL     RDWY4180     2006   KMTSU   592684A         F620ST       TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY4181     2006   KMTSU   592686A         FG20ST14R    FL      Miami
 YRCF     FORKLIFT         FKL     RDWY4183     2006   KMTSU   592689A         F620ST       TX      Irving
 YRCF     FORKLIFT         FKL     RDWY4192     2006   KMTSU   592691A         F620ST       MO      Strafford
 YRCF     FORKLIFT         FKL     RDWY4196     2006   KMTSU   592696A         F620ST       NC      Fayetteville
 YRCF     FORKLIFT         FKL     RDWY4199     2006   KMTSU   592701A         F620ST       TN      Knoxville
 YRCF     FORKLIFT         FKL     RDWY4201     2006   KMTSU   592702A         F620ST       CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY4202     2006   KMTSU   592703A         F620ST       TN      Jackson
 YRCF     FORKLIFT         FKL     RDWY4203     2006   KMTSU   592719A         F620ST       NY      Elmira
 YRCF     FORKLIFT         FKL     RDWY4207     2006   KMTSU   594221A         FG20ST14R    NJ      Kearny
 YRCF     FORKLIFT         FKL     RDWY4208     2006   KMTSU   594222A         FG20ST14R    NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY4209     2006   KMTSU   594238A         F620ST       WV      Charleston
 YRCF     FORKLIFT         FKL     RDWY4212     2006   KMTSU   594227A         FG20ST‐14R   MI      Wayland
 YRCF     FORKLIFT         FKL     RDWY4213     2006   KMTSU   594228A         F620ST       CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY4214     2006   KMTSU   594234A         F620ST       CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY4215     2006   KMTSU   594235A         F620ST       FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY4219     2006   KMTSU   594241A         F620ST       TX      Irving
 YRCF     FORKLIFT         FKL     RDWY4223     2006   KMTSU   594243A         F620ST       PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY4231     2006   KMTSU   594248A         F620ST       NC      Durham
 YRCF     FORKLIFT         FKL     RDWY4232     2006   KMTSU   594229A         F620ST       TN      Knoxville
 YRCF     FORKLIFT         FKL     RDWY4233     2006   KMTSU   594230A         F620ST       GA      Savannah
 YRCF     FORKLIFT         FKL     RDWY4239     2006   KMTSU   594232A         F620ST       KS      Wichita
 YRCF     FORKLIFT         FKL     RDWY4244     2006   TOYOT   7FGCU20‐02787   7FGCU20      NJ      Kearny
 YRCF     FORKLIFT         FKL     RDWY4246     2006   TOYOT   7FGCU20‐02790   7FGCU20      OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY4247     2006   TOYOT   7FGCU20‐02823   7FGCU20      CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY4248     2006   TOYOT   7FGCU20‐02793   7FGCU20      PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY4249     2006   TOYOT   7FGCU20‐02796   7FGCU20      IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY4250     2006   TOYOT   7FGCU20‐02792   7FGCU20      AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY4251     2006   TOYOT   7FGCU20‐02826   7FGCU20      NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY4255     2006   TOYOT   7FGCU20‐02834   7FGCU20      GA      La Grange
 YRCF     FORKLIFT         FKL     RDWY4256     2006   TOYOT   7FGCU20‐02836   7FGCU20      AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY4257     2006   TOYOT   7FGCU20‐02862   7FGCU20      NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY4260     2006   TOYOT   7FGCU20‐02749   7FGCU20      NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY4261     2006   TOYOT   7FGCU20‐02753   7FGCU20      OK      Tulsa
 YRCF     FORKLIFT         FKL     RDWY4262     2006   TOYOT   7FGCU20‐02752   7FGCU20      TX      Houston
 YRCF     FORKLIFT         FKL     RDWY4264     2006   TOYOT   7FGCU20‐02751   7FGCU20      TX      Houston
 YRCF     FORKLIFT         FKL     RDWY4282     2006   TOYOT   7FGCU20‐02748   7FGCU20      VA      Fishersville
 YRCF     FORKLIFT         FKL     RDWY4283     2006   TOYOT   7FGCU20‐02747   7FGCU20      VA      Roanoke
 YRCF     FORKLIFT         FKL     RDWY4284     2006   TOYOT   7FGCU20‐02744   7FGCU20      PA      Milton
 YRCF     FORKLIFT         FKL     RDWY4291     2008   TOYOT   8FGCU25‐20603   8FGCU2       CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY4292     2008   TOYOT   8FGCU25‐20606   8FGCU2       MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY4293     2008   TOYOT   8FGCU25‐20617   8FGCU2       PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY4295     2008   TOYOT   8FGCU25‐20625   8FGCU2       CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4296     2008   TOYOT   8FGCU25‐20668   8FGCU2       IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY4298     2008   TOYOT   8FGCU25‐20676   8FGCU2       CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY4300     2008   TOYOT   8FGCU25‐20818   8FGCU2       CA      Visalia
 YRCF     FORKLIFT         FKL     RDWY4301     2008   TOYOT   8FGCU25‐20777   8FGCU2       CA      Visalia
 YRCF     FORKLIFT         FKL     RDWY4303     2008   TOYOT   8FGCU25‐20750   8FGCU2       CA      Adelanto
 YRCF     FORKLIFT         FKL     RDWY4304     2008   TOYOT   8FGCU25‐20756   8FGCU2       CA      Adelanto
 YRCF     FORKLIFT         FKL     RDWY4306     2008   TOYOT   8FGCU25‐20758   8FGCU2       CA      Adelanto
 YRCF     FORKLIFT         FKL     RDWY4307     2008   TOYOT   8FGCU25‐20788   8FGCU2       CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4308     2008   TOYOT   8FGCU25‐20792   8FGCU2       NE      Kearney
 YRCF     FORKLIFT         FKL     RDWY4309     2008   TOYOT   8FGCU25‐20796   8FGCU2       CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY4310     2008   TOYOT   8FGCU25‐20744   8FGCU2       CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4311     2008   TOYOT   8FGCU25‐20765   8FGCU2       CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4314     2008   TOYOT   8FGCU25‐20767   8FGCU2       CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4315     2008   TOYOT   8FGCU25‐20768   8FGCU2       CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4316     2008   TOYOT   8FGCU25‐20964   8FGCU2       CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4317     2008   TOYOT   8FGCU25‐20967   8FGCU2       CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4319     2005   KMTSU   585969A         FG20ST14     KY      Bowling Green
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 568 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL     State   City
 YRCF     FORKLIFT         FKL     RDWY4322     2005   KMTSU   585972A         FG20ST14   GA      Martinez
 YRCF     FORKLIFT         FKL     RDWY4324     2005   KMTSU   585977A         FG20ST14   PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY4329     2005   KMTSU   585974A         FG20ST14   NJ      Kearny
 YRCF     FORKLIFT         FKL     RDWY4331     2005   KMTSU   585976A         FG20ST14   NJ      Kearny
 YRCF     FORKLIFT         FKL     RDWY4332     2005   KMTSU   585965A         FG20ST14   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY4333     2005   KMTSU   585948A         FG20ST14   NJ      Kearny
 YRCF     FORKLIFT         FKL     RDWY4335     2005   KMTSU   585966A         FG20ST14   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY4336     2005   KMTSU   585944A         FG20ST14   GA      Jefferson
 YRCF     FORKLIFT         FKL     RDWY4339     2005   KMTSU   585952A         FG20ST14   WI      Madison
 YRCF     FORKLIFT         FKL     RDWY4340     2005   KMTSU   585954A         FG20ST14   PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY4343     2005   KMTSU   585949A         FG20ST14   TX      Lubbock
 YRCF     FORKLIFT         FKL     RDWY4347     2005   KMTSU   585941A         FG20ST14   MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY4348     2005   KMTSU   585939A         FG20ST14   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY4349     2005   KMTSU   585938A         FG20ST14   NC      Rocky Mount
 YRCF     FORKLIFT         FKL     RDWY4350     2005   KMTSU   585962A         FG20ST14   DE      New Castle
 YRCF     FORKLIFT         FKL     RDWY4361     2005   KMTSU   585968A         FG20ST14   PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY4362     2005   KMTSU   587802A         FG20ST     MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY4366     2005   KMTSU   587806A         FG20ST     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY4372     2005   KMTSU   587809A         FG20ST     MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY4381     2005   KMTSU   588895A         FG20ST     AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY4385     2005   KMTSU   588898A         FG20ST     SC      North Charleston
 YRCF     FORKLIFT         FKL     RDWY4386     2005   KMTSU   588882A         FG20ST     CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY4391     2008   TOYOT   8FGCU25‐20972   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4392     2008   TOYOT   8FGCU25‐20928   8FGCU2     CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY4393     2008   TOYOT   8FGCU25‐20930   8FGCU2     IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY4394     2008   TOYOT   8FGCU25‐21007   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4395     2008   TOYOT   8FGCU25‐20819   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4396     2008   TOYOT   8FGCU25‐20826   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4397     2008   TOYOT   8FGCU25‐20829   8FGCU2     IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY4398     2008   TOYOT   8FGCU25‐20933   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4399     2008   TOYOT   8FGCU25‐20978   8FGCU2     IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY4400     2008   TOYOT   8FGCU25‐21012   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4401     2008   TOYOT   8FGCU25‐20860   8FGCU2     CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY4402     2008   TOYOT   8FGCU25‐20832   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4404     2008   TOYOT   8FGCU25‐20855   8FGCU2     CA      Visalia
 YRCF     FORKLIFT         FKL     RDWY4405     2008   TOYOT   8FGCU25‐20858   8FGCU2     MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY4406     2008   TOYOT   8FGCU25‐20862   8FGCU2     CA      Fontana
 YRCF     FORKLIFT         FKL     RDWY4424     2002   KMTSU   558961A         FG20ST12   OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY4432     2008   TOYOT   8FGCU25‐21214   8FGCU2     CA      Ventura
 YRCF     FORKLIFT         FKL     RDWY4433     2008   TOYOT   8FGCU25‐21217   8FGCU2     CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY4435     2008   TOYOT   8FGCU25‐21221   8FGCU2     CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY4436     2008   TOYOT   8FGCU25‐21254   8FGCU2     CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY4437     2008   TOYOT   8FGCU25‐21263   8FGCU2     MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY4438     2008   TOYOT   8FGCU25‐21292   8FGCU2     CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY4449     2008   TOYOT   8FGCU25‐21300   8FGCU2     NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY4456     2002   KMTSU   558701A         FG20ST12   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY4457     2002   KMTSU   558702A         FG20ST12   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY4465     2008   TOYOT   8FGCU25‐21327   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4467     2008   TOYOT   8FGCU25‐21328   8FGCU2     CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY4481     2008   TOYOT   8FGCU25‐21223   8FGCU2     CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY4484     2008   TOYOT   8FGCU25‐21271   8FGCU2     CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY4486     2008   TOYOT   8FGCU25‐21302   8FGCU2     CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY4487     2008   TOYOT   8FGCU25‐21303   8FGCU2     TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY4488     2008   TOYOT   8FGCU25‐21471   8FGCU2     FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY4490     2008   TOYOT   8FGCU25‐21445   8FGCU2     FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY4491     2008   TOYOT   8FGCU25‐21474   8FGCU2     CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY4493     2008   TOYOT   8FGCU25‐21610   8FGCU2     CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY4494     2008   TOYOT   8FGCU25‐21707   8FGCU2     ME      Fairfield
 YRCF     FORKLIFT         FKL     RDWY4495     2008   TOYOT   8FGCU25‐21788   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4497     2008   TOYOT   8FGCU25‐21817   8FGCU2     CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY4498     2008   TOYOT   8FGCU25‐21633   8FGCU2     CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY4499     2008   TOYOT   8FGCU25‐21710   8FGCU2     CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY4501     2008   TOYOT   8FGCU25‐21711   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4506     2008   TOYOT   8FGCU25‐21472   8FGCU2     CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY4507     2008   TOYOT   8FGCU25‐21611   8FGCU2     TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY4508     2008   TOYOT   8FGCU25‐21635   8FGCU2     CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY4509     2008   TOYOT   8FGCU25‐21755   8FGCU2     AZ      Nogales
 YRCF     FORKLIFT         FKL     RDWY4513     2008   TOYOT   8FGCU25‐21762   8FGCU2     FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY4547     2008   TOYOT   8FGCU25‐21791   8FGCU2     SD      Sioux Falls
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 569 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL     State   City
 YRCF     FORKLIFT         FKL     RDWY4561     2008   TOYOT   8FGCU25‐21794   8FGCU2     NV      Sparks
 YRCF     FORKLIFT         FKL     RDWY4563     2008   TOYOT   8FGCU25‐21796   8FGCU2     NV      Sparks
 YRCF     FORKLIFT         FKL     RDWY4564     2008   TOYOT   8FGCU25‐21822   8FGCU2     NV      Sparks
 YRCF     FORKLIFT         FKL     RDWY4565     2008   TOYOT   8FGCU25‐21825   8FGCU2     WA      Tacoma
 YRCF     FORKLIFT         FKL     RDWY4566     2008   TOYOT   8FGCU25‐21827   8FGCU2     WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY4567     2008   TOYOT   8FGCU25‐21475   8FGCU2     WA      Tacoma
 YRCF     FORKLIFT         FKL     RDWY4568     2008   TOYOT   8FGCU25‐21435   8FGCU2     WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY4570     2008   TOYOT   8FGCU25‐21440   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4571     2008   TOYOT   8FGCU25‐21951   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY4572     2008   TOYOT   8FGCU25‐21984   8FGCU2     NV      Sparks
 YRCF     FORKLIFT         FKL     RDWY4575     2008   TOYOT   8FGCU25‐22017   8FGCU2     TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY4577     2008   TOYOT   8FGCU25‐22025   8FGCU2     NY      Deer Park
 YRCF     FORKLIFT         FKL     RDWY4578     2008   TOYOT   8FGCU25‐21885   8FGCU2     ME      Fairfield
 YRCF     FORKLIFT         FKL     RDWY4580     2008   TOYOT   8FGCU25‐21914   8FGCU2     WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY4581     2008   TOYOT   8FGCU25‐21917   8FGCU2     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY4582     2008   TOYOT   8FGCU25‐21931   8FGCU2     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY4583     2008   TOYOT   8FGCU25‐21934   8FGCU2     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY4584     2008   TOYOT   8FGCU25‐21957   8FGCU2     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY4585     2008   TOYOT   8FGCU25‐22045   8FGCU2     TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY4586     2008   TOYOT   8FGCU25‐22126   8FGCU2     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY4587     2008   TOYOT   8FGCU25‐22150   8FGCU2     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY4588     2008   TOYOT   8FGCU25‐22176   8FGCU2     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY4589     2008   TOYOT   8FGCU25‐22206   8FGCU2     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY4590     2008   TOYOT   8FGCU25‐22048   8FGCU2     CA      Santa Rosa
 YRCF     FORKLIFT         FKL     RDWY4591     2008   TOYOT   8FGCU25‐22075   8FGCU2     TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY4592     2008   TOYOT   8FGCU25‐22129   8FGCU2     CA      Brisbane
 YRCF     FORKLIFT         FKL     RDWY4595     2008   TOYOT   8FGCU25‐22207   8FGCU2     CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY4596     2008   TOYOT   8FGCU25‐22079   8FGCU2     CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY4597     2008   TOYOT   8FGCU25‐22100   8FGCU2     NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY4613     2008   TOYOT   8FGCU25‐22293   8FGCU2     NY      East Syracuse
 YRCF     FORKLIFT         FKL     RDWY4621     2001   KMTSU   557610A         FG20ST12   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY4623     2008   TOYOT   8FGCU25‐22339   8FGCU2     CA      Calexico
 YRCF     FORKLIFT         FKL     RDWY4671     2002   KMTSU   558964A         FG20ST12   FL      Fort Myers
 YRCF     FORKLIFT         FKL     RDWY4678     2002   KMTSU   558971A         FG20ST12   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY4692     2002   KMTSU   559217A         FG20ST12   MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY4695     2002   KMTSU   559220A         FG20ST12   VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY4705     2002   KMTSU   559230A         FG20ST12   PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY4706     2002   KMTSU   559231A         FG20ST12   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY4707     2002   KMTSU   559232A         FG20ST12   ND      Fargo
 YRCF     FORKLIFT         FKL     RDWY4727     2002   KMTSU   559983A         FG20ST12   TX      Abilene
 YRCF     FORKLIFT         FKL     RDWY4745     2002   KMTSU   559251A         FG20ST12   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY4750     2002   KMTSU   559947A         FG20ST12   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY4783     2002   KMTSU   561414A         FG20ST12   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY4792     2002   KMTSU   562144A         FG20ST12   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY4802     2002   TOYOT   7FGCU20‐76032   7FGCU20    TN      Knoxville
 YRCF     FORKLIFT         FKL     RDWY4806     2002   TOYOT   7FGCU20‐76129   7FGCU20    IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY4808     2002   TOYOT   7FGCU20‐76162   7FGCU20    HI      Waipahu
 YRCF     FORKLIFT         FKL     RDWY4910     2008   TOYOT   8FGCU25‐22413   8FGCU2     AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY4916     2008   TOYOT   8FGCU25‐22242   8FGCU2     OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY4926     2005   TOYOT   7FGCU25‐91840   TOY        TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY4929     2005   TOYOT   7FGCU25‐91652   TOY        TX      McAllen
 YRCF     FORKLIFT         FKL     RDWY4930     2005   TOYOT   7FGCU25‐91656   TOY        TX      Houston
 YRCF     FORKLIFT         FKL     RDWY4932     2005   TOYOT   7FGCU25‐91622   TOY        OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY4933     2005   TOYOT   7FGCU25‐91624   TOY        OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY4937     2005   TOYOT   7FGCU25‐93613   7FGCU25    CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY4938     2005   TOYOT   7FGCU25‐93615   7FGCU25    CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY4941     2008   TOYOT   8FGCU25‐22442   8FGCU2     GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY4942     2005   TOYOT   7FGCU25‐91185   TOY        OH      Toledo
 YRCF     FORKLIFT         FKL     RDWY4943     2005   TOYOT   7FGCU25‐91187   TOY        OH      Toledo
 YRCF     FORKLIFT         FKL     RDWY4945     2005   TOYOT   7FGCU25‐91192   TOY        TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY4947     2005   TOYOT   7FGCU25‐91751   TOY        WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY4948     2005   TOYOT   7FGCU25‐91763   TOY        WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY4949     2005   TOYOT   7FGCU25‐91789   TOY        IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY4950     2005   TOYOT   7FGCU25‐91797   TOY        WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY4951     2005   TOYOT   7FGCU25‐91808   TOY        WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY4952     2005   TOYOT   7FGCU25‐91810   TOY        WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY4955     2005   TOYOT   7FGCU25‐93658   TOY        AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY4958     2005   TOYOT   7FGCU25‐93629   TOY        PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY4959     2005   TOYOT   7FGCU25‐93667   TOY        MO      Saint Louis
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 570 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL     State   City
 YRCF     FORKLIFT         FKL     RDWY4960     2005   TOYOT   7FGCU25‐93670   TOY        OR      Portland
 YRCF     FORKLIFT         FKL     RDWY4967     2005   TOYOT   7FGCU25‐93701   TOY        KS      Wichita
 YRCF     FORKLIFT         FKL     RDWY4969     2005   TOYOT   7FGCU25‐93707   TOY        VA      Roanoke
 YRCF     FORKLIFT         FKL     RDWY4972     2005   TOYOT   7FGCU25‐93712   TOY        OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY4976     2005   TOYOT   7FGCU25‐93743   TOY        GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY4977     2005   TOYOT   7FGCU25‐93750   TOY        FL      Miami
 YRCF     FORKLIFT         FKL     RDWY4978     2005   TOYOT   7FGCU25‐93715   TOY        GA      Thomasville
 YRCF     FORKLIFT         FKL     RDWY4980     2005   TOYOT   7FGCU25‐93758   TOY        IL      Decatur
 YRCF     FORKLIFT         FKL     RDWY4981     2005   TOYOT   7FGCU25‐93767   TOY        ME      Westbrook
 YRCF     FORKLIFT         FKL     RDWY4983     2005   TOYOT   7FGCU25‐93770   TOY        MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY4985     2005   TOYOT   7FGCU25‐93827   TOY        AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY4987     2005   TOYOT   7FGCU25‐93838   7FGCU25    CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY4988     2005   TOYOT   7FGCU25‐93796   TOY        NC      Durham
 YRCF     FORKLIFT         FKL     RDWY4989     2005   TOYOT   7FGCU25‐93792   TOY        FL      Ocala
 YRCF     FORKLIFT         FKL     RDWY4990     2005   TOYOT   7FGCU25‐93789   TOY        FL      Ocala
 YRCF     FORKLIFT         FKL     RDWY4992     2005   TOYOT   7FGCU25‐93769   TOY        VA      Fishersville
 YRCF     FORKLIFT         FKL     RDWY4996     2005   TOYOT   7FGCU25‐93798   TOY        AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY4997     2005   TOYOT   7FGCU25‐93799   TOY        AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY4999     2005   TOYOT   7FGCU25‐93840   TOY        UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY5001     2005   TOYOT   7FGCU25‐93843   TOY        MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY5006     2005   TOYOT   7FGCU25‐93868   TOY        IL      Morton
 YRCF     FORKLIFT         FKL     RDWY5007     2005   TOYOT   7FGCU25‐93872   TOY        MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY5030     2003   KMTSU   561389A         FG20ST12   MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY5031     2003   KMTSU   561968A         FG20ST12   NY      Rochester
 YRCF     FORKLIFT         FKL     RDWY5036     2003   KMTSU   562004A         FG20ST12   TX      Waco
 YRCF     FORKLIFT         FKL     RDWY5038     2003   KMTSU   562045A         FG20ST12   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5039     2003   KMTSU   562046A         FG20ST12   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY5046     2003   KMTSU   562080A         FG20ST12   FL      Fort Myers
 YRCF     FORKLIFT         FKL     RDWY5054     2003   KMTSU   562134A         FG20ST12   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY5058     2003   KMTSU   563778A         FG20ST12   NH      Bedford
 YRCF     FORKLIFT         FKL     RDWY5076     2003   KMTSU   563796A         FG20ST12   KS      Salina
 YRCF     FORKLIFT         FKL     RDWY5078     2003   KMTSU   563798A         FG20ST12   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY5084     2003   KMTSU   563804A         FG20ST12   IN      Terre Haute
 YRCF     FORKLIFT         FKL     RDWY5087     2003   KMTSU   563807A         FG20ST12   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY5094     2003   KMTSU   563814A         FG20ST12   WV      Charleston
 YRCF     FORKLIFT         FKL     RDWY5097     2003   KMTSU   563817A         FG20ST12   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY5101     2003   KMTSU   563821A         FG20ST12   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY5103     2003   KMTSU   563823A         FG20ST12   TX      Eagle Pass
 YRCF     FORKLIFT         FKL     RDWY5128     2003   KMTSU   563848A         FG20ST12   FL      Boynton Beach
 YRCF     FORKLIFT         FKL     RDWY5134     2003   KMTSU   563854A         FG20ST12   MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY5138     2003   KMTSU   563858A         FG20ST12   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY5139     2003   KMTSU   563859A         FG20ST12   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY5142     2003   KMTSU   563863A         FG20ST12   NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY5143     2003   KMTSU   563864A         FG20ST12   TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY5150     2003   KMTSU   563871A         FG20ST12   IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY5152     2003   KMTSU   563873A         FG20ST12   FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY5166     2003   KMTSU   563887A         FG20ST12   NH      Bedford
 YRCF     FORKLIFT         FKL     RDWY5169     2003   KMTSU   563890A         FG20ST12   FL      Boynton Beach
 YRCF     FORKLIFT         FKL     RDWY5175     2003   KMTSU   563896A         FG20ST12   OH      Toledo
 YRCF     FORKLIFT         FKL     RDWY5176     2003   KMTSU   563897A         FG20ST12   AZ      Flagstaff
 YRCF     FORKLIFT         FKL     RDWY5198     2003   KMTSU   565219A         FG20ST12   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY5203     2003   KMTSU   565781A         FG20ST12   NY      East Syracuse
 YRCF     FORKLIFT         FKL     RDWY5205     2003   KMTSU   565783A         FG20ST12   NY      Mount Vernon
 YRCF     FORKLIFT         FKL     RDWY5206     2003   KMTSU   565784A         FG20ST12   FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY5217     2003   KMTSU   565795A         FG20ST12   MN      Duluth
 YRCF     FORKLIFT         FKL     RDWY5231     2003   KMTSU   565809A         FG20ST12   WV      Charleston
 YRCF     FORKLIFT         FKL     RDWY5232     2003   KMTSU   565810A         FG20ST12   TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY5239     2003   KMTSU   565817A         FG20ST12   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY5240     2003   KMTSU   566110A         FG20ST12   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY5241     2003   KMTSU   566111A         FG20ST12   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY5242     2003   KMTSU   566112A         FG20ST12   WV      Bridgeport
 YRCF     FORKLIFT         FKL     RDWY5249     2003   KMTSU   566172A         FG20ST12   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY5254     2003   KMTSU   566177A         FG20ST12   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY5263     2003   KMTSU   566408A         FG20ST12   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY5270     2003   KMTSU   566415A         FG20ST12   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY5273     2003   KMTSU   566417A         FG20ST12   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY5276     2003   KMTSU   566420A         FG20ST12   IL      Morton
 YRCF     FORKLIFT         FKL     RDWY5280     2003   KMTSU   566424A         FG20ST12   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY5281     2003   KMTSU   566425A         FG20ST12   FL      Miami
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 571 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL      State   City
 YRCF     FORKLIFT         FKL     RDWY5282     2003   KMTSU   566426A         FG20ST12    FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY5283     2003   KMTSU   566427A         FG20ST12    MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY5289     2003   KMTSU   566216A         FG20ST12    SC      Columbia
 YRCF     FORKLIFT         FKL     RDWY5293     2003   KMTSU   566942A         FG20ST12    NY      Plattsburgh
 YRCF     FORKLIFT         FKL     RDWY5300     2003   KMTSU   566949A         FG20ST12    MO      Columbia
 YRCF     FORKLIFT         FKL     RDWY5307     2003   KMTSU   566956A         FG20ST12    NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5311     2003   KMTSU   566960A         FG20ST12    OR      Portland
 YRCF     FORKLIFT         FKL     RDWY5314     2003   KMTSU   566975A         FG20ST12    NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY5317     2003   KMTSU   566978A         FG20ST12    IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY5323     2003   KMTSU   566966A         FG20ST12    ND      Minot
 YRCF     FORKLIFT         FKL     RDWY5324     2003   KMTSU   566967A         FG20ST12    TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY5329     2003   KMTSU   566972A         FG20ST12    TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5372     2003   KMTSU   566980A         FG20ST12    TX      Corpus Christi
 YRCF     FORKLIFT         FKL     RDWY5376     2003   KMTSU   566984A         FG20ST12    MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY5383     2003   TOYOT   7FGCU20‐81747   7FGCU20     MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY5385     2003   TOYOT   7FGCU20‐81775   7FGCU20     VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY5389     2003   TOYOT   7FGCU20‐81721   7FGCU20     IA      Mason City
 YRCF     FORKLIFT         FKL     RDWY5396     2003   KMTSU   566434A         FG20ST12    LA      Shreveport
 YRCF     FORKLIFT         FKL     RDWY5399     2003   KMTSU   566437A         FG20ST12    NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5400     2003   KMTSU   566438A         FG20ST12    PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY5404     2003   KMTSU   566442A         FG20ST12    TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY5411     2003   KMTSU   566449A         FG20ST12    NY      Plattsburgh
 YRCF     FORKLIFT         FKL     RDWY5412     2003   KMTSU   566450A         FG20ST12    NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5416     2003   KMTSU   567545A         FG20ST12    NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5418     2003   KMTSU   566456A         FG20ST12    NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5421     2003   KMTSU   566459A         FG20ST12    NJ      Kearny
 YRCF     FORKLIFT         FKL     RDWY5423     2003   KMTSU   567548A         FG20ST12    GA      Conley
 YRCF     FORKLIFT         FKL     RDWY5425     2003   KMTSU   567063A         FG20ST12    NE      Omaha
 YRCF     FORKLIFT         FKL     RDWY5426     2003   KMTSU   567064A         FG20ST12    FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY5427     2003   KMTSU   567065A         FG20ST12    TN      Knoxville
 YRCF     FORKLIFT         FKL     RDWY5428     2003   KMTSU   567066A         FG20ST12    MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY5430     2003   KMTSU   567068A         FG20ST12    ME      Westbrook
 YRCF     FORKLIFT         FKL     RDWY5436     2003   KMTSU   567553A         FG20ST12    TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY5437     2003   KMTSU   567554A         FG20ST12    KS      Salina
 YRCF     FORKLIFT         FKL     RDWY5442     2003   KMTSU   567559A         FG20ST12    NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5443     2003   KMTSU   567560A         FG20ST12    NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5445     2003   KMTSU   567562A         FG20ST12    MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY5452     2003   KMTSU   568659A         FG20ST12    MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY5453     2003   KMTSU   568660A         FG20ST12    TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5502     2006   TOYOT   7FGCU20‐02627   7FGCU25     UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY5503     2006   TOYOT   7FGCU20‐02638   7FGCU25     NY      East Syracuse
 YRCF     FORKLIFT         FKL     RDWY5505     2006   TOYOT   7FGCU20‐02668   7FGCU25     AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY5507     2006   TOYOT   7FGCU20‐02650   7FGCU25     NY      East Syracuse
 YRCF     FORKLIFT         FKL     RDWY5508     2006   TOYOT   7FGCU20‐02683   7FGCU25     MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY5509     2006   TOYOT   7FGCU20‐02715   7FGCU25     MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY5510     2008   TOYOT   8FGCU25‐12969   8FGCU2      TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY5511     2008   TOYOT   8FGCU25‐13725   8FGCU2      KY      Bowling Green
 YRCF     FORKLIFT         FKL     RDWY5513     2008   TOYOT   8FGCU25‐13728   8FGCU2      TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY5514     2008   TOYOT   8FGCU25‐13730   8FGCU2      PA      Du Bois
 YRCF     FORKLIFT         FKL     RDWY5515     2008   TOYOT   8FGCU25‐13732   8FGCU2      CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY5516     2008   TOYOT   8FGCU25‐13734   8FGCU2      CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY5517     2008   TOYOT   8FGCU25‐13738   8FGCU2      WA      Spokane
 YRCF     FORKLIFT         FKL     RDWY5518     2008   TOYOT   8FGCU25‐13764   8FGCU2      PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY5519     2008   TOYOT   8FGCU25‐13767   8FGCU2      CA      Ventura
 YRCF     FORKLIFT         FKL     RDWY5520     2008   TOYOT   8FGCU25‐13771   8FGCU2      MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY5521     2008   TOYOT   8FGCU25‐13774   8FGCU2      CA      Orange
 YRCF     FORKLIFT         FKL     RDWY5522     2008   TOYOT   8FGCU25‐13776   8FGCU2      PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY5523     2008   TOYOT   8FGCU25‐13777   8FGCU2      PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY5524     2008   TOYOT   8FGCU25‐13778   8FGCU2      CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY5525     2008   TOYOT   8FGCU25‐13808   8FGCU2      OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY5526     2008   TOYOT   8FGCU25‐13813   8FGCU2      CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5528     2008   TOYOT   8FGCU25‐13820   8FGCU2      OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY5529     2008   TOYOT   8FGCU25‐13821   8FGCU2      OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY5532     2008   TOYOT   8FGCU25‐13855   8FGCU2      CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5534     2007   KMTSU   213442A         FG25ST‐16   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY5537     2007   KMTSU   213448A         FG25ST‐16   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY5541     2007   KMTSU   213404A         FG25ST‐16   NJ      Kearny
 YRCF     FORKLIFT         FKL     RDWY5543     2007   KMTSU   213406A         FG25ST‐16   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY5544     2007   KMTSU   213407A         FG25ST‐16   PA      Camp Hill
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 572 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL      State   City
 YRCF     FORKLIFT         FKL     RDWY5547     2007   KMTSU   213447A         FG25ST‐16   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY5548     2007   KMTSU   213449A         FG25ST‐16   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY5549     2007   KMTSU   213450A         FG25ST‐16   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY5551     2007   KMTSU   213441A         FG25ST‐16   NH      Bedford
 YRCF     FORKLIFT         FKL     RDWY5557     2008   TOYOT   8FGCU25‐12490   8FGCU2      LA      New Orleans
 YRCF     FORKLIFT         FKL     RDWY5558     2008   TOYOT   8FGCU25‐12513   8FGCU2      CA      Santa Rosa
 YRCF     FORKLIFT         FKL     RDWY5562     2008   TOYOT   8FGCU25‐12739   8FGCU2      OR      Portland
 YRCF     FORKLIFT         FKL     RDWY5563     2008   TOYOT   8FGCU25‐12765   8FGCU2      CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY5564     2008   TOYOT   8FGCU25‐12767   8FGCU2      CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY5565     2008   TOYOT   8FGCU25‐12769   8FGCU2      CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY5568     2008   TOYOT   8FGCU25‐12774   8FGCU2      CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY5569     2008   TOYOT   8FGCU25‐12775   8FGCU2      CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY5570     2008   TOYOT   8FGCU25‐12801   8FGCU2      CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY5571     2008   TOYOT   8FGCU25‐12802   8FGCU2      NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY5572     2008   TOYOT   8FGCU25‐12804   8FGCU2      CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY5573     2008   TOYOT   8FGCU25‐12806   8FGCU2      MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY5575     2008   TOYOT   8FGCU25‐12809   8FGCU2      NV      Sparks
 YRCF     FORKLIFT         FKL     RDWY5577     2008   TOYOT   8FGCU25‐12848   8FGCU2      MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY5578     2008   TOYOT   8FGCU25‐12849   8FGCU2      CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY5579     2008   TOYOT   8FGCU25‐12851   8FGCU2      PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY5580     2008   TOYOT   8FGCU25‐12853   8FGCU2      CO      Colorado Springs
 YRCF     FORKLIFT         FKL     RDWY5582     2008   TOYOT   8FGCU25‐12857   8FGCU2      KS      Salina
 YRCF     FORKLIFT         FKL     RDWY5583     2008   TOYOT   8FGCU25‐12858   8FGCU2      CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY5584     2008   TOYOT   8FGCU25‐12889   8FGCU2      OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY5585     2008   TOYOT   8FGCU25‐12891   8FGCU2      CA      Brisbane
 YRCF     FORKLIFT         FKL     RDWY5586     2008   TOYOT   8FGCU25‐12892   8FGCU2      CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5587     2008   TOYOT   8FGCU25‐12893   8FGCU2      CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY5588     2008   TOYOT   8FGCU25‐12894   8FGCU2      LA      New Orleans
 YRCF     FORKLIFT         FKL     RDWY5589     2008   TOYOT   8FGCU25‐12895   8FGCU2      HI      Waipahu
 YRCF     FORKLIFT         FKL     RDWY5591     2008   TOYOT   8FGCU25‐12929   8FGCU2      LA      Monroe
 YRCF     FORKLIFT         FKL     RDWY5592     2008   TOYOT   8FGCU25‐12931   8FGCU2      CA      Adelanto
 YRCF     FORKLIFT         FKL     RDWY5593     2008   TOYOT   8FGCU25‐12933   8FGCU2      CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY5594     2008   TOYOT   8FGCU25‐12935   8FGCU2      CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY5595     2008   TOYOT   8FGCU25‐12936   8FGCU2      OH      Toledo
 YRCF     FORKLIFT         FKL     RDWY5597     2008   TOYOT   8FGCU25‐12939   8FGCU2      AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY5598     2008   TOYOT   8FGCU25‐12970   8FGCU2      NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY5599     2008   TOYOT   8FGCU25‐12971   8FGCU2      IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY5600     2008   TOYOT   8FGCU25‐12943   8FGCU2      WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY5601     2008   TOYOT   8FGCU25‐12267   8FGCU2      WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY5602     2008   TOYOT   8FGCU25‐12565   8FGCU2      HI      Waipahu
 YRCF     FORKLIFT         FKL     RDWY5603     2008   TOYOT   8FGCU25‐12566   8FGCU2      NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY5604     2008   TOYOT   8FGCU25‐12567   8FGCU2      WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY5605     2008   TOYOT   8FGCU25‐12568   8FGCU2      TX      McAllen
 YRCF     FORKLIFT         FKL     RDWY5606     2008   TOYOT   8FGCU25‐12569   8FGCU2      NY      Glenmont
 YRCF     FORKLIFT         FKL     RDWY5607     2008   TOYOT   8FGCU25‐12571   8FGCU2      CA      Fontana
 YRCF     FORKLIFT         FKL     RDWY5608     2008   TOYOT   8FGCU25‐12572   8FGCU2      WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY5609     2008   TOYOT   8FGCU25‐12595   8FGCU2      NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY5610     2008   TOYOT   8FGCU25‐12596   8FGCU2      CA      Adelanto
 YRCF     FORKLIFT         FKL     RDWY5612     2008   TOYOT   8FGCU25‐12598   8FGCU2      CA      Adelanto
 YRCF     FORKLIFT         FKL     RDWY5613     2008   TOYOT   8FGCU25‐12599   8FGCU2      CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5614     2008   TOYOT   8FGCU25‐12603   8FGCU2      TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5615     2008   TOYOT   8FGCU25‐12607   8FGCU2      CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY5616     2008   TOYOT   8FGCU25‐12630   8FGCU2      NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY5617     2008   TOYOT   8FGCU25‐12632   8FGCU2      NY      East Syracuse
 YRCF     FORKLIFT         FKL     RDWY5618     2008   TOYOT   8FGCU25‐12634   8FGCU2      CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY5619     2008   TOYOT   8FGCU25‐12635   8FGCU2      MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY5620     2008   TOYOT   8FGCU25‐12636   8FGCU2      CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY5621     2008   TOYOT   8FGCU25‐12638   8FGCU2      CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5622     2008   TOYOT   8FGCU25‐12640   8FGCU2      CA      Santa Rosa
 YRCF     FORKLIFT         FKL     RDWY5623     2008   TOYOT   8FGCU25‐12657   8FGCU2      AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY5624     2008   TOYOT   8FGCU25‐12660   8FGCU2      NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY5625     2008   TOYOT   8FGCU25‐12662   8FGCU2      NV      Sparks
 YRCF     FORKLIFT         FKL     RDWY5626     2008   TOYOT   8FGCU25‐12663   8FGCU2      MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY5628     2008   TOYOT   8FGCU25‐12668   8FGCU2      IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY5629     2008   TOYOT   8FGCU25‐12671   8FGCU2      MD      Landover
 YRCF     FORKLIFT         FKL     RDWY5630     2008   TOYOT   8FGCU25‐12684   8FGCU2      CA      Ventura
 YRCF     FORKLIFT         FKL     RDWY5631     2008   TOYOT   8FGCU25‐12690   8FGCU2      AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY5634     2008   TOYOT   8FGCU25‐12699   8FGCU2      CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5635     2008   TOYOT   8FGCU25‐12701   8FGCU2      CA      Bloomington
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 573 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL     State   City
 YRCF     FORKLIFT         FKL     RDWY5636     2008   TOYOT   8FGCU25‐12703   8FGCU2     CA      Orange
 YRCF     FORKLIFT         FKL     RDWY5638     2008   TOYOT   8FGCU25‐12706   8FGCU2     CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5639     2008   TOYOT   8FGCU25‐12709   8FGCU2     CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5640     2008   TOYOT   8FGCU25‐12976   8FGCU2     CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY5641     2008   TOYOT   8FGCU25‐12979   8FGCU2     CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5643     2008   TOYOT   8FGCU25‐13011   8FGCU2     MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY5644     2008   TOYOT   8FGCU25‐13014   8FGCU25    CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY5646     2008   TOYOT   8FGCU25‐13018   8FGCU2     CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5647     2008   TOYOT   8FGCU25‐13020   8FGCU2     AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY5649     2008   TOYOT   8FGCU25‐13023   8FGCU2     CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY5650     2004   KMTSU   568661A         FG20ST12   PA      Bedford
 YRCF     FORKLIFT         FKL     RDWY5658     2004   KMTSU   568669A         FG20ST12   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY5659     2004   KMTSU   568670A         FG20ST12   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY5660     2004   KMTSU   568671A         FG20ST12   PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY5663     2004   KMTSU   568674A         FG20ST12   NY      Mount Vernon
 YRCF     FORKLIFT         FKL     RDWY5664     2004   KMTSU   568337A         FG20ST12   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY5668     2004   KMTSU   568341A         FG20ST12   MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY5669     2004   KMTSU   568342A         FG20ST12   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY5672     2004   KMTSU   568345A         FG20ST12   VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY5678     2004   KMTSU   568351A         FG20ST12   PA      Bedford
 YRCF     FORKLIFT         FKL     RDWY5680     2004   KMTSU   568353A         FG20ST12   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY5681     2004   KMTSU   568354A         FG20ST12   NY      Deer Park
 YRCF     FORKLIFT         FKL     RDWY5686     2004   KMTSU   568359A         FG20ST12   FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY5687     2004   KMTSU   568360A         FG20ST12   MO      Strafford
 YRCF     FORKLIFT         FKL     RDWY5688     2004   KMTSU   568361A         FG20ST12   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY5690     2004   KMTSU   568363A         FG20ST12   PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY5692     2004   KMTSU   568365A         FG20ST12   VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY5696     2004   KMTSU   568369A         FG20ST12   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY5699     2004   KMTSU   568372A         FG20ST12   OK      Tulsa
 YRCF     FORKLIFT         FKL     RDWY5702     2004   KMTSU   568375A         FG20ST12   NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5707     2004   KMTSU   568832A         FG20ST12   PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY5709     2004   KMTSU   568834A         FG20ST12   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY5713     2004   KMTSU   568838A         FG20ST12   FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY5716     2004   KMTSU   568841A         FG20ST12   NJ      Kearny
 YRCF     FORKLIFT         FKL     RDWY5718     2004   KMTSU   568843A         FG20ST12   TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY5727     2004   KMTSU   568852A         FG20ST12   MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY5729     2004   KMTSU   568854A         FG20ST12   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY5730     2004   KMTSU   568855A         FG20ST12   MO      Columbia
 YRCF     FORKLIFT         FKL     RDWY5736     2004   KMTSU   568861A         FG20ST12   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5737     2004   KMTSU   568862A         FG20ST12   NY      Plainview
 YRCF     FORKLIFT         FKL     RDWY5738     2004   KMTSU   568863A         FG20ST12   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY5747     2004   KMTSU   568912A         FG20ST12   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY5748     2004   KMTSU   568913A         FG20ST12   NY      Rochester
 YRCF     FORKLIFT         FKL     RDWY5751     2004   KMTSU   568691A         FG20ST12   NY      Deer Park
 YRCF     FORKLIFT         FKL     RDWY5754     2004   KMTSU   568727A         FG20ST12   DE      New Castle
 YRCF     FORKLIFT         FKL     RDWY5756     2004   KMTSU   568812A         FG20ST12   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY5757     2004   KMTSU   568813A         FG20ST12   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5759     2004   KMTSU   568870A         FG20ST12   MO      Strafford
 YRCF     FORKLIFT         FKL     RDWY5761     2004   KMTSU   568872A         FG20ST12   MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY5762     2004   KMTSU   568873A         FG20ST12   SD      Rapid City
 YRCF     FORKLIFT         FKL     RDWY5764     2004   KMTSU   568875A         FG20ST12   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY5770     2004   KMTSU   568881A         FG20ST12   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY5771     2004   KMTSU   568882A         FG20ST12   MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY5772     2004   KMTSU   568883A         FG20ST12   OK      Tulsa
 YRCF     FORKLIFT         FKL     RDWY5775     2004   KMTSU   568886A         FG20ST12   IL      Decatur
 YRCF     FORKLIFT         FKL     RDWY5776     2004   KMTSU   568887A         FG20ST12   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5777     2004   KMTSU   568888A         FG20ST12   AZ      Tucson
 YRCF     FORKLIFT         FKL     RDWY5781     2004   KMTSU   568892A         FG20ST12   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY5783     2004   KMTSU   568894A         FG20ST12   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY5784     2004   KMTSU   568895A         FG20ST12   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY5785     2004   KMTSU   568896A         FG20ST12   FL      Boynton Beach
 YRCF     FORKLIFT         FKL     RDWY5787     2004   KMTSU   568898A         FG20ST12   DE      New Castle
 YRCF     FORKLIFT         FKL     RDWY5788     2004   KMTSU   568899A         FG20ST12   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY5789     2004   KMTSU   568900A         FG20ST12   GA      Savannah
 YRCF     FORKLIFT         FKL     RDWY5792     2004   KMTSU   568903A         FG20ST12   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY5793     2004   KMTSU   568904A         FG20ST12   TX      Austin
 YRCF     FORKLIFT         FKL     RDWY5794     2004   KMTSU   568905A         FG20ST12   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY5795     2004   KMTSU   568906A         FG20ST12   MO      Columbia
 YRCF     FORKLIFT         FKL     RDWY5797     2004   KMTSU   568908A         FG20ST12   FL      Miami
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 574 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL     State   City
 YRCF     FORKLIFT         FKL     RDWY5799     2004   KMTSU   569226A         FG20ST12   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY5801     2004   KMTSU   569228A         FG20ST12   NY      Elmira
 YRCF     FORKLIFT         FKL     RDWY5802     2004   KMTSU   569229A         FG20ST12   WI      Madison
 YRCF     FORKLIFT         FKL     RDWY5806     2004   KMTSU   569233A         FG20ST12   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY5807     2004   KMTSU   569234A         FG20ST12   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY5812     2004   KMTSU   569239A         FG20ST12   PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY5814     2004   KMTSU   569241A         FG20ST12   NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5816     2004   KMTSU   569243A         FG20ST12   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY5817     2004   KMTSU   569244A         FG20ST12   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY5818     2004   KMTSU   569245A         FG20ST12   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY5819     2004   KMTSU   569246A         FG20ST12   PA      Milton
 YRCF     FORKLIFT         FKL     RDWY5822     2004   KMTSU   569249A         FG20ST12   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5823     2004   KMTSU   569250A         FG20ST12   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY5825     2004   KMTSU   569253A         FG20ST12   PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY5827     2004   KMTSU   569378A         FG20ST12   PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5831     2004   KMTSU   568382A         FG20ST12   TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY5836     2004   KMTSU   568387A         FG20ST12   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY5837     2004   KMTSU   568388A         FG20ST12   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY5839     2004   KMTSU   568390A         FG20ST12   NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY5843     2004   KMTSU   582299A         FG20ST12   TN      Kingsport
 YRCF     FORKLIFT         FKL     RDWY5845     2004   KMTSU   582291A         FG20ST12   VA      Manassas
 YRCF     FORKLIFT         FKL     RDWY5846     2004   KMTSU   582292A         FG20ST12   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY5847     2004   KMTSU   582293A         FG20ST12   MD      Landover
 YRCF     FORKLIFT         FKL     RDWY5848     2004   KMTSU   582294A         FG20ST12   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY5849     2004   KMTSU   582295A         FG20ST12   ND      Fargo
 YRCF     FORKLIFT         FKL     RDWY5855     2005   KMTSU   588863A         FG20ST     MN      Duluth
 YRCF     FORKLIFT         FKL     RDWY5856     2005   KMTSU   588905A         FG20ST     TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY5858     2005   KMTSU   588908A         FG20ST     NY      Elmira
 YRCF     FORKLIFT         FKL     RDWY5859     2005   KMTSU   588879A         FG20ST     GA      Savannah
 YRCF     FORKLIFT         FKL     RDWY5860     2005   KMTSU   588881A         FG20ST     IN      Terre Haute
 YRCF     FORKLIFT         FKL     RDWY5863     2005   KMTSU   588883A         FG20ST     LA      Alexandria
 YRCF     FORKLIFT         FKL     RDWY5865     2005   KMTSU   587844A         FG20ST     AR      Springdale
 YRCF     FORKLIFT         FKL     RDWY5867     2005   KMTSU   587846A         FG20ST     TX      McAllen
 YRCF     FORKLIFT         FKL     RDWY5870     2005   KMTSU   588872A         FG20ST     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5874     2005   KMTSU   587836A         FG20ST     TX      Abilene
 YRCF     FORKLIFT         FKL     RDWY5878     2005   KMTSU   587832A         FG20ST     GA      Savannah
 YRCF     FORKLIFT         FKL     RDWY5880     2005   KMTSU   587854A         FG20ST     AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY5881     2005   KMTSU   587852A         FG20ST     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5882     2005   KMTSU   587851A         FG20ST     PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY5883     2005   KMTSU   587853A         FG20ST     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5885     2005   KMTSU   587860A         FG20ST     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5886     2005   KMTSU   588861A         FG20ST     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5887     2005   KMTSU   588906A         FG20ST     MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY5888     2005   KMTSU   588903A         FG20ST     TX      Austin
 YRCF     FORKLIFT         FKL     RDWY5892     2005   KMTSU   588864A         FG20ST     TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY5893     2005   KMTSU   588866A         FG20ST     MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY5898     2005   KMTSU   587820A         FG20ST     GA      Thomasville
 YRCF     FORKLIFT         FKL     RDWY5899     2005   KMTSU   587819A         FG20ST     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5900     2005   KMTSU   587857A         FG20ST     NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY5901     2005   KMTSU   587858A         FG20ST     PA      Carlisle
 YRCF     FORKLIFT         FKL     RDWY5905     2005   KMTSU   587825A         FG20ST     OH      Copley
 YRCF     FORKLIFT         FKL     RDWY5909     2005   KMTSU   587841A         FG20ST14   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY5910     2005   KMTSU   587840A         FG20ST14   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY5911     2005   KMTSU   587830A         FG20ST14   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY5912     2005   KMTSU   587842A         FG20ST14   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY5913     2005   KMTSU   587843A         FG20ST     TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY5914     2005   KMTSU   588867A         FG20ST     KY      Bowling Green
 YRCF     FORKLIFT         FKL     RDWY5922     2005   KMTSU   588876A         FG20ST     NY      East Syracuse
 YRCF     FORKLIFT         FKL     RDWY5923     2005   KMTSU   588871A         FG20ST     WV      Bridgeport
 YRCF     FORKLIFT         FKL     RDWY5925     2005   KMTSU   588884A         FG20ST     WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY5928     2005   KMTSU   588888A         FG20ST     OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY5940     2005   TOYOT   7FGCU25‐90882   TOY        PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY5941     2005   TOYOT   7FGCU25‐90900   TOY        NY      Deer Park
 YRCF     FORKLIFT         FKL     RDWY5942     2005   TOYOT   7FGCU25‐90905   TOY        IL      Decatur
 YRCF     FORKLIFT         FKL     RDWY5944     2005   TOYOT   7FGCU25‐90902   TOY        IL      Decatur
 YRCF     FORKLIFT         FKL     RDWY5945     2005   TOYOT   7FGCU25‐90931   TOY        TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY5946     2005   TOYOT   7FGCU25‐90935   TOY        IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY5948     2005   TOYOT   7FGCU25‐90929   TOY        GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY5949     2005   TOYOT   7FGCU25‐90907   TOY        GA      Marietta
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 575 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY5952     2005   TOYOT   7FGCU25‐90959   TOY       GA      Thomasville
 YRCF     FORKLIFT         FKL     RDWY5954     2005   TOYOT   7FGCU25‐90994   TOY       TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5956     2005   TOYOT   7FGCU25‐91005   TOY       TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5958     2005   TOYOT   7FGCU25‐91033   TOY       OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY5960     2005   TOYOT   7FGCU25‐91039   TOY       TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5961     2005   TOYOT   7FGCU25‐91043   TOY       GA      La Grange
 YRCF     FORKLIFT         FKL     RDWY5962     2005   TOYOT   7FGCU25‐91056   TOY       TX      McAllen
 YRCF     FORKLIFT         FKL     RDWY5963     2005   TOYOT   7FGCU25‐91058   TOY       TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5964     2005   TOYOT   7FGCU25‐90968   TOY       TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY5965     2005   TOYOT   7FGCU25‐90973   TOY       TX      Irving
 YRCF     FORKLIFT         FKL     RDWY5966     2005   TOYOT   7FGCU25‐90991   TOY       TX      McAllen
 YRCF     FORKLIFT         FKL     RDWY5967     2005   TOYOT   7FGCU25‐91008   TOY       VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY5973     2005   TOYOT   7FGCU25‐91126   TOY       SC      Florence
 YRCF     FORKLIFT         FKL     RDWY5975     2005   TOYOT   7FGCU25‐91123   TOY       WA      Seattle
 YRCF     FORKLIFT         FKL     RDWY5976     2005   TOYOT   7FGCU25‐91105   TOY       VA      Roanoke
 YRCF     FORKLIFT         FKL     RDWY5977     2005   TOYOT   7FGCU25‐91111   TOY       OR      Redmond
 YRCF     FORKLIFT         FKL     RDWY5978     2005   TOYOT   7FGCU25‐91141   TOY       WA      Spokane
 YRCF     FORKLIFT         FKL     RDWY5979     2005   TOYOT   7FGCU25‐91183   TOY       ND      Bismarck
 YRCF     FORKLIFT         FKL     RDWY5980     2005   TOYOT   7FGCU25‐91148   TOY       WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY5982     2005   TOYOT   7FGCU25‐93611   7FGCU25   CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY5986     2005   TOYOT   7FGCU25‐91959   TOY       WV      Charleston
 YRCF     FORKLIFT         FKL     RDWY5989     2005   TOYOT   7FGCU25‐91872   TOY       TX      Austin
 YRCF     FORKLIFT         FKL     RDWY5992     2005   TOYOT   7FGCU25‐91899   TOY       IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY5993     2005   TOYOT   7FGCU25‐93617   TOY       OH      Toledo
 YRCF     FORKLIFT         FKL     RDWY5999     2002   TOYOT   7FGCU25‐79231   7FGCU25   IL      Morton
 YRCF     FORKLIFT         FKL     RDWY6014     2003   TOYOT   7FGCU25‐80104   7FGCU25   WA      Tacoma
 YRCF     FORKLIFT         FKL     RDWY6071     2004   TOYOT   7FGCU25‐82960   7FGCU25   VA      Roanoke
 YRCF     FORKLIFT         FKL     RDWY6105     2004   TOYOT   7FGCU25‐82918   7FGCU25   MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY6126     2004   TOYOT   7FGCU25‐82910   7FGCU25   KY      Bowling Green
 YRCF     FORKLIFT         FKL     RDWY6143     2004   TOYOT   7FGCU25‐82863   7FGCU25   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY6145     2004   TOYOT   7FGCU25‐78513   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6147     2004   TOYOT   7FGCU25‐83001   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6148     2004   TOYOT   7FGCU25‐83003   7FGCU25   TX      Austin
 YRCF     FORKLIFT         FKL     RDWY6149     2004   TOYOT   7FGCU25‐83004   7FGCU25   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY6153     2004   TOYOT   7FGCU25‐83016   7FGCU25   PA      Bedford
 YRCF     FORKLIFT         FKL     RDWY6164     2004   TOYOT   7FGCU25‐83038   7FGCU25   GA      Thomasville
 YRCF     FORKLIFT         FKL     RDWY6200     2004   TOYOT   7FGCU25‐83499   7FGCU25   KY      Paducah
 YRCF     FORKLIFT         FKL     RDWY6203     2004   TOYOT   7FGCU25‐83507   7FGCU25   NC      Durham
 YRCF     FORKLIFT         FKL     RDWY6208     2004   TOYOT   7FGCU25‐83525   7FGCU25   AR      Springdale
 YRCF     FORKLIFT         FKL     RDWY6210     2004   TOYOT   7FGCU25‐83572   7FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY6211     2004   TOYOT   7FGCU25‐83578   7FGCU25   NE      Kearney
 YRCF     FORKLIFT         FKL     RDWY6215     2004   TOYOT   7FGCU25‐83549   7FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY6218     2004   TOYOT   7FGCU25‐83582   7FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY6219     2004   TOYOT   7FGCU25‐83570   7FGCU25   KS      Salina
 YRCF     FORKLIFT         FKL     RDWY6221     2004   TOYOT   7FGCU25‐83601   7FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY6222     2004   TOYOT   7FGCU25‐83618   7FGCU25   FL      Boynton Beach
 YRCF     FORKLIFT         FKL     RDWY6223     2004   TOYOT   7FGCU25‐83616   7FGCU25   NE      Bridgeport
 YRCF     FORKLIFT         FKL     RDWY6224     2004   TOYOT   7FGCU25‐83612   7FGCU25   AL      Mobile
 YRCF     FORKLIFT         FKL     RDWY6225     2004   TOYOT   7FGCU25‐83644   7FGCU25   GA      Macon
 YRCF     FORKLIFT         FKL     RDWY6226     2004   TOYOT   7FGCU25‐83641   7FGCU25   PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY6229     2004   TOYOT   7FGCU25‐83661   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY6230     2004   TOYOT   7FGCU25‐83651   7FGCU25   MD      Landover
 YRCF     FORKLIFT         FKL     RDWY6231     2004   TOYOT   7FGCU25‐83625   7FGCU25   LA      Port Allen
 YRCF     FORKLIFT         FKL     RDWY6232     2004   TOYOT   7FGCU25‐83704   7FGCU25   LA      New Orleans
 YRCF     FORKLIFT         FKL     RDWY6233     2004   TOYOT   7FGCU25‐83689   7FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY6236     2004   TOYOT   7FGCU25‐83717   7FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY6237     2004   TOYOT   7FGCU25‐83720   7FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY6238     2004   TOYOT   7FGCU25‐83666   7FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY6240     2004   TOYOT   7FGCU25‐83667   7FGCU25   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY6242     2004   TOYOT   7FGCU25‐83565   7FGCU25   DE      New Castle
 YRCF     FORKLIFT         FKL     RDWY6243     2004   TOYOT   7FGCU25‐83695   7FGCU25   IA      Mason City
 YRCF     FORKLIFT         FKL     RDWY6244     2004   TOYOT   7FGCU25‐83685   7FGCU25   WI      Eau Claire
 YRCF     FORKLIFT         FKL     RDWY6249     2004   TOYOT   7FGCU25‐84419   7FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6250     2004   TOYOT   7FGCU25‐84423   7FGCU25   GA      Martinez
 YRCF     FORKLIFT         FKL     RDWY6251     2004   TOYOT   7FGCU25‐84445   7FGCU25   VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY6252     2004   TOYOT   7FGCU25‐84449   7FGCU25   ME      Westbrook
 YRCF     FORKLIFT         FKL     RDWY6255     2004   TOYOT   7FGCU25‐84501   7FGCU25   MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY6257     2004   TOYOT   7FGCU25‐84486   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY6258     2004   TOYOT   7FGCU25‐84484   7FGCU25   RI      Cumberland
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 576 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY6259     2004   TOYOT   7FGCU25‐84529   7FGCU25   PA      Bedford
 YRCF     FORKLIFT         FKL     RDWY6261     2004   TOYOT   7FGCU25‐84477   7FGCU25   VT      Bellows Falls
 YRCF     FORKLIFT         FKL     RDWY6263     2004   TOYOT   7FGCU25‐84583   7FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY6264     2004   TOYOT   7FGCU25‐84581   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6267     2004   TOYOT   7FGCU25‐84590   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY6268     2004   TOYOT   7FGCU25‐84536   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6269     2004   TOYOT   7FGCU25‐84552   7FGCU25   PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY6272     2004   TOYOT   7FGCU25‐84560   7FGCU25   CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY6273     2004   KMTSU   580473A                   IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY6275     2004   KMTSU   580479A                   TN      Kingsport
 YRCF     FORKLIFT         FKL     RDWY6280     2004   KMTSU   580511A                   PA      Camp Hill
 YRCF     FORKLIFT         FKL     RDWY6281     2004   KMTSU   580512A                   TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY6282     2004   KMTSU   581201A                   IA      Mason City
 YRCF     FORKLIFT         FKL     RDWY6286     2004   KMTSU   581278A                   NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY6288     2004   KMTSU   580547A                   VA      Manassas
 YRCF     FORKLIFT         FKL     RDWY6289     2004   KMTSU   580482A                   NC      Rocky Mount
 YRCF     FORKLIFT         FKL     RDWY6292     2004   KMTSU   580480A                   MD      Landover
 YRCF     FORKLIFT         FKL     RDWY6293     2004   KMTSU   580549A                   MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY6295     2004   KMTSU   580551A                   PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY6298     2004   TOYOT   7FGCU25‐86725   7FGCU25   MA      West Springfield
 YRCF     FORKLIFT         FKL     RDWY6299     2004   TOYOT   7FGCU25‐86731   7FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY6300     2004   TOYOT   7FGCU25‐86836   7FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY6301     2004   TOYOT   7FGCU25‐86832   7FGCU25   IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY6302     2004   TOYOT   7FGCU25‐86763   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY6303     2004   TOYOT   7FGCU25‐86776   7FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY6304     2004   TOYOT   7FGCU25‐86749   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6305     2004   TOYOT   7FGCU25‐86778   7FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY6308     2004   TOYOT   7FGCU25‐86808   7FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY6309     2004   TOYOT   7FGCU25‐86790   7FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY6310     2004   TOYOT   7FGCU25‐86801   7FGCU25   FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY6311     2004   TOYOT   7FGCU25‐86862   7FGCU25   WY      Cheyenne
 YRCF     FORKLIFT         FKL     RDWY6312     2004   TOYOT   7FGCU25‐86860   7FGCU25   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY6315     2004   TOYOT   7FGCU25‐86890   7FGCU25   IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY6316     2004   TOYOT   7FGCU25‐86897   7FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY6320     2004   TOYOT   7FGCU25‐86957   7FGCU25   IA      Des Moines
 YRCF     FORKLIFT         FKL     RDWY6321     2004   TOYOT   7FGCU25‐86953   7FGCU25   NY      Mount Vernon
 YRCF     FORKLIFT         FKL     RDWY6322     2004   TOYOT   7FGCU25‐86940   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY6323     2004   TOYOT   7FGCU25‐86949   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY6326     2004   TOYOT   7FGCU25‐86920   7FGCU25   OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY6327     2004   TOYOT   7FGCU25‐86983   7FGCU25   TN      Knoxville
 YRCF     FORKLIFT         FKL     RDWY6330     2004   TOYOT   7FGCU25‐86987   7FGCU25   UT      St. George
 YRCF     FORKLIFT         FKL     RDWY6331     2004   TOYOT   7FGCU25‐87012   7FGCU25   WA      Pasco
 YRCF     FORKLIFT         FKL     RDWY6333     2004   TOYOT   7FGCU25‐87023   7FGCU25   NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY6334     2004   TOYOT   7FGCU25‐87041   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY6340     2004   TOYOT   7FGCU25‐87084   7FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6349     2004   TOYOT   7FGCU25‐87719   7FGCU25   IL      Morton
 YRCF     FORKLIFT         FKL     RDWY6351     2004   TOYOT   7FGCU25‐87724   7FGCU25   OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY6354     2004   TOYOT   7FGCU25‐87730   7FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY6360     2004   TOYOT   7FGCU25‐87760   7FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY6363     2004   TOYOT   7FGCU25‐87781   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY6364     2004   TOYOT   7FGCU25‐87785   7FGCU25   OH      Lima
 YRCF     FORKLIFT         FKL     RDWY6365     2004   TOYOT   7FGCU25‐87791   7FGCU25   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY6366     2004   TOYOT   7FGCU25‐87797   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY6368     2004   TOYOT   7FGCU25‐87766   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY6369     2004   TOYOT   7FGCU25‐87770   7FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY6371     2004   TOYOT   7FGCU25‐87779   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY6372     2004   TOYOT   7FGCU25‐87780   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY6373     2004   TOYOT   7FGCU25‐87811   7FGCU25   PA      Du Bois
 YRCF     FORKLIFT         FKL     RDWY6374     2004   TOYOT   7FGCU25‐87813   7FGCU25   PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY6376     2004   TOYOT   7FGCU25‐87823   7FGCU25   VT      Bellows Falls
 YRCF     FORKLIFT         FKL     RDWY6378     2004   TOYOT   7FGCU25‐87832   7FGCU25   PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY6380     2004   TOYOT   7FGCU25‐87844   7FGCU25   NY      Deer Park
 YRCF     FORKLIFT         FKL     RDWY6384     2004   TOYOT   7FGCU25‐87866   7FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY6385     2004   TOYOT   7FGCU25‐87850   7FGCU25   CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY6387     2004   TOYOT   7FGCU25‐87879   7FGCU25   NJ      Kearny
 YRCF     FORKLIFT         FKL     RDWY6388     2004   TOYOT   7FGCU25‐87894   7FGCU25   CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY6389     2004   TOYOT   7FGCU25‐87896   7FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY6390     2004   TOYOT   7FGCU25‐87885   7FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY6391     2004   TOYOT   7FGCU25‐87900   7FGCU25   NY      Maybrook
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 577 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY6393     2004   TOYOT   7FGCU25‐87871   7FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY6399     2005   TOYOT   7FGCU25‐88357   7FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY6400     2005   TOYOT   7FGCU25‐88303   7FGCU25   TX      Austin
 YRCF     FORKLIFT         FKL     RDWY6403     2005   TOYOT   7FGCU25‐88356   7FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY6404     2005   TOYOT   7FGCU25‐88282   7FGCU25   LA      Port Allen
 YRCF     FORKLIFT         FKL     RDWY6405     2005   TOYOT   7FGCU25‐88360   7FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY6406     2005   TOYOT   7FGCU25‐88352   7FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY6408     2005   TOYOT   7FGCU25‐88473   7FGCU25   TX      Texarkana
 YRCF     FORKLIFT         FKL     RDWY6409     2005   TOYOT   7FGCU25‐88434   7FGCU25   WI      Eau Claire
 YRCF     FORKLIFT         FKL     RDWY6411     2005   TOYOT   7FGCU25‐88499   7FGCU25   MS      Richland
 YRCF     FORKLIFT         FKL     RDWY6412     2005   TOYOT   7FGCU25‐88359   7FGCU25   GA      Macon
 YRCF     FORKLIFT         FKL     RDWY6414     2005   TOYOT   7FGCU25‐88472   7FGCU25   LA      Port Allen
 YRCF     FORKLIFT         FKL     RDWY6416     2005   TOYOT   7FGCU25‐88113   7FGCU25   TX      Lubbock
 YRCF     FORKLIFT         FKL     RDWY6417     2005   TOYOT   7FGCU25‐88409   7FGCU25   DE      New Castle
 YRCF     FORKLIFT         FKL     RDWY6418     2005   TOYOT   7FGCU25‐88500   7FGCU25   MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY6419     2005   TOYOT   7FGCU25‐88355   7FGCU25   MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY6421     2005   TOYOT   7FGCU25‐88298   7FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY6423     2005   TOYOT   7FGCU25‐88188   7FGCU25   MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY6424     2005   TOYOT   7FGCU25‐88190   7FGCU25   MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY6425     2005   TOYOT   7FGCU25‐88191   7FGCU25   KY      Paducah
 YRCF     FORKLIFT         FKL     RDWY6429     2005   TOYOT   7FGCU25‐88246   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY6430     2005   TOYOT   7FGCU25‐88250   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY6432     2005   TOYOT   7FGCU25‐88271   7FGCU25   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY6442     2005   TOYOT   7FGCU25‐88224   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY6455     2005   TOYOT   7FGCU25‐88179   7FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY6457     2005   TOYOT   7FGCU25‐88384   7FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY6458     2005   TOYOT   7FGCU25‐88389   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY6459     2005   TOYOT   7FGCU25‐88390   7FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY6460     2005   TOYOT   7FGCU25‐88412   7FGCU25   FL      Boynton Beach
 YRCF     FORKLIFT         FKL     RDWY6461     2005   TOYOT   7FGCU25‐88426   7FGCU25   OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY6463     2005   TOYOT   7FGCU25‐88088   7FGCU25   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY6465     2005   TOYOT   7FGCU25‐88150   7FGCU25   NY      East Syracuse
 YRCF     FORKLIFT         FKL     RDWY6467     2005   TOYOT   7FGCU25‐89808   7FGCU25   NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY6468     2005   TOYOT   7FGCU25‐89836   7FGCU25   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY6475     2005   TOYOT   7FGCU25‐89765   7FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY6476     2005   TOYOT   7FGCU25‐90160   7FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY6477     2005   TOYOT   7FGCU25‐89786   7FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY6478     2005   TOYOT   7FGCU25‐90137   7FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY6479     2005   TOYOT   7FGCU25‐90133   7FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY6490     2005   TOYOT   7FGCU25‐89919   7FGCU25   TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY6492     2005   TOYOT   7FGCU25‐89939   7FGCU25   GA      Martinez
 YRCF     FORKLIFT         FKL     RDWY6500     2005   TOYOT   7FGCU25‐89925   7FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY6502     2005   TOYOT   7FGCU25‐89839   7FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY6503     2005   TOYOT   7FGCU25‐89892   7FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY6511     2005   TOYOT   7FGCU25‐90652   7FGCU25   TX      Abilene
 YRCF     FORKLIFT         FKL     RDWY6512     2005   TOYOT   7FGCU25‐90659   7FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6513     2005   TOYOT   7FGCU25‐90670   7FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6515     2005   TOYOT   7FGCU25‐90686   7FGCU25   FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY6516     2005   TOYOT   7FGCU25‐90729   7FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY6518     2005   TOYOT   7FGCU25‐90396   7FGCU25   VA      Manassas
 YRCF     FORKLIFT         FKL     RDWY6521     2005   TOYOT   7FGCU25‐90367   7FGCU25   WA      Tacoma
 YRCF     FORKLIFT         FKL     RDWY6522     2005   TOYOT   7FGCU25‐90371   7FGCU25   TX      Waco
 YRCF     FORKLIFT         FKL     RDWY6523     2005   TOYOT   7FGCU25‐90377   7FGCU25   TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY6524     2005   TOYOT   7FGCU25‐90344   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY6526     2005   TOYOT   7FGCU25‐90734   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY6529     2005   TOYOT   7FGCU25‐90708   7FGCU25   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY6530     2005   TOYOT   7FGCU25‐90596   7FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6534     2005   TOYOT   7FGCU25‐90508   7FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY6536     2005   TOYOT   7FGCU25‐90462   7FGCU25   DE      New Castle
 YRCF     FORKLIFT         FKL     RDWY6537     2005   TOYOT   7FGCU25‐90503   7FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY6539     2005   TOYOT   7FGCU25‐88164   7FGCU25   TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY6541     2005   TOYOT   7FGCU25‐88336   7FGCU25   TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY6542     2005   TOYOT   7FGCU25‐88245   7FGCU25   TX      Houston
 YRCF     FORKLIFT         FKL     RDWY6543     2005   TOYOT   7FGCU25‐88461   7FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY6544     2005   TOYOT   7FGCU25‐88112   7FGCU25   TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY6545     2005   TOYOT   7FGCU25‐88448   7FGCU25   FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY6546     2005   TOYOT   7FGCU25‐88451   7FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6547     2005   TOYOT   7FGCU25‐88454   7FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY6553     2005   TOYOT   7FGCU25‐89815   7FGCU25   NH      Bedford
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 578 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY6558     2005   TOYOT   7FGCU25‐88393   7FGCU25   PA      Milton
 YRCF     FORKLIFT         FKL     RDWY6559     2005   TOYOT   7FGCU25‐89784   7FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY6560     2005   TOYOT   7FGCU25‐90158   7FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY6561     2005   TOYOT   7FGCU25‐89764   7FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY6562     2005   TOYOT   7FGCU25‐89760   7FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY6567     2005   TOYOT   7FGCU25‐89995   7FGCU25   MI      Norway
 YRCF     FORKLIFT         FKL     RDWY6571     2005   TOYOT   7FGCU25‐90192   7FGCU25   CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY6573     2005   TOYOT   7FGCU25‐89932   7FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY6574     2005   TOYOT   7FGCU25‐89977   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY6575     2005   TOYOT   7FGCU25‐90124   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY6576     2005   TOYOT   7FGCU25‐90004   7FGCU25   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY6577     2005   TOYOT   7FGCU25‐90127   7FGCU25   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY6578     2005   TOYOT   7FGCU25‐89768   7FGCU25   NY      Deer Park
 YRCF     FORKLIFT         FKL     RDWY6580     2005   TOYOT   7FGCU25‐89796   7FGCU25   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY6582     2005   TOYOT   7FGCU25‐89873   7FGCU25   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY6583     2005   TOYOT   7FGCU25‐90758   7FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY6584     2005   TOYOT   7FGCU25‐90760   7FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY6586     2005   TOYOT   7FGCU25‐90788   7FGCU25   NY      Maybrook
 YRCF     FORKLIFT         FKL     RDWY6587     2005   TOYOT   7FGCU25‐90629   7FGCU25   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY6588     2005   TOYOT   7FGCU25‐90397   7FGCU25   TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY6592     2005   TOYOT   7FGCU25‐90631   7FGCU25   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY6594     2005   TOYOT   7FGCU25‐90633   7FGCU25   TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY6597     2005   TOYOT   7FGCU25‐90493   7FGCU25   NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY6599     2005   TOYOT   7FGCU25‐91437   7FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6600     2005   TOYOT   7FGCU25‐91445   7FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY6603     2005   TOYOT   7FGCU25‐91492   7FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6605     2005   TOYOT   7FGCU25‐91496   7FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY6612     2005   TOYOT   7FGCU25‐92034   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY6614     2005   TOYOT   7FGCU25‐92083   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY6615     2005   TOYOT   7FGCU25‐92090   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY6618     2005   TOYOT   7FGCU25‐91212   7FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY6622     2005   TOYOT   7FGCU25‐91224   7FGCU25   NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY6623     2005   TOYOT   7FGCU25‐91227   7FGCU25   NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY6624     2005   TOYOT   7FGCU25‐91229   7FGCU25   NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY6625     2005   TOYOT   7FGCU25‐91327   7FGCU25   TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY6627     2005   TOYOT   7FGCU25‐91333   7FGCU25   CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY6628     2005   TOYOT   7FGCU25‐91336   7FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY6629     2005   TOYOT   7FGCU25‐91339   7FGCU25   IN      South Bend
 YRCF     FORKLIFT         FKL     RDWY6631     2005   TOYOT   7FGCU25‐91433   7FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY6637     2002   TOYOT   7FGCU25‐73792   7FGCU25   IL      Quincy
 YRCF     FORKLIFT         FKL     RDWY6640     2002   TOYOT   7FGCU25‐73910   7FGCU25   TX      Austin
 YRCF     FORKLIFT         FKL     RDWY6644     2002   TOYOT   7FGCU25‐73971   7FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY6645     2002   TOYOT   7FGCU25‐73967   7FGCU25   CO      Colorado Springs
 YRCF     FORKLIFT         FKL     RDWY6646     2002   TOYOT   7FGCU25‐73765   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY6656     2002   TOYOT   7FGCU25‐73881   7FGCU25   IA      Sioux City
 YRCF     FORKLIFT         FKL     RDWY6662     2002   TOYOT   7FGCU25‐73997   7FGCU25   MO      Columbia
 YRCF     FORKLIFT         FKL     RDWY6663     2002   TOYOT   7FGCU25‐73860   7FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY6666     2002   TOYOT   7FGCU25‐73914   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6668     2006   TOYOT   7FGCU25‐93879   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY6669     2006   TOYOT   7FGCU25‐94058             SC      Florence
 YRCF     FORKLIFT         FKL     RDWY6670     2006   TOYOT   7FGCU25‐93901             FL      Boynton Beach
 YRCF     FORKLIFT         FKL     RDWY6671     2006   TOYOT   7FGCU25‐93887             FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY6672     2006   TOYOT   7FGCU25‐93883             FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY6673     2006   TOYOT   7FGCU25‐93908             GA      Conley
 YRCF     FORKLIFT         FKL     RDWY6674     2006   TOYOT   7FGCU25‐93905             FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY6675     2006   TOYOT   7FGCU25‐93909             NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY6676     2006   TOYOT   7FGCU25‐93910             PA      Milton
 YRCF     FORKLIFT         FKL     RDWY6677     2006   TOYOT   7FGCU25‐93912             IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6678     2006   TOYOT   7FGCU25‐93915             RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY6679     2006   TOYOT   7FGCU25‐93914             IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6680     2006   TOYOT   7FGCU25‐93921             IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6681     2006   TOYOT   7FGCU25‐93941             SC      Piedmont
 YRCF     FORKLIFT         FKL     RDWY6682     2006   TOYOT   7FGCU25‐93939             SC      Columbia
 YRCF     FORKLIFT         FKL     RDWY6683     2006   TOYOT   7FGCU25‐93922             SC      Columbia
 YRCF     FORKLIFT         FKL     RDWY6690     2006   TOYOT   7FGCU25‐93954             OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY6691     2006   TOYOT   7FGCU25‐93957             OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY6692     2006   TOYOT   7FGCU25‐93975             TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY6693     2006   TOYOT   7FGCU25‐93976             TX      Irving
 YRCF     FORKLIFT         FKL     RDWY6695     2006   TOYOT   7FGCU25‐93991             AR      Little Rock
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 579 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY6698     2006   TOYOT   7FGCU25‐93993             VA      Roanoke
 YRCF     FORKLIFT         FKL     RDWY6699     2006   TOYOT   7FGCU25‐94017             OR      Portland
 YRCF     FORKLIFT         FKL     RDWY6700     2006   TOYOT   7FGCU25‐94016             TX      Irving
 YRCF     FORKLIFT         FKL     RDWY6703     2005   TOYOT   7FGCU25‐94090   7FGCU25   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY6708     2006   TOYOT   7FGCU25‐93997             IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY6717     2006   TOYOT   7FGCU25‐94035             MD      Landover
 YRCF     FORKLIFT         FKL     RDWY6737     2006   TOYOT   7FGCU25‐94142             FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6738     2006   TOYOT   7FGCU25‐94144             VA      Manassas
 YRCF     FORKLIFT         FKL     RDWY6739     2006   TOYOT   7FGCU25‐94146             TX      McAllen
 YRCF     FORKLIFT         FKL     RDWY6741     2006   TOYOT   7FGCU25‐94152   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY6742     2006   TOYOT   7FGCU25‐94150             PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY6744     2006   TOYOT   7FGCU25‐94154             PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY6745     2006   TOYOT   7FGCU25‐94177             AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY6750     2006   TOYOT   7FGCU25‐94200             TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY6753     2006   TOYOT   7FGCU25‐94127             OH      Lima
 YRCF     FORKLIFT         FKL     RDWY6755     2006   TOYOT   7FGCU25‐94167             GA      Conley
 YRCF     FORKLIFT         FKL     RDWY6756     2006   TOYOT   7FGCU25‐93936             IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY6757     2006   TOYOT   7FGCU25‐93897             IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY6758     2006   TOYOT   7FGCU25‐94213             IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY6759     2006   TOYOT   7FGCU25‐93966             NC      Wilmington
 YRCF     FORKLIFT         FKL     RDWY6760     2006   TOYOT   7FGCU25‐94049             OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY6761     2006   TOYOT   7FGCU25‐94012             NH      Bedford
 YRCF     FORKLIFT         FKL     RDWY6770     2006   TOYOT   7FGCU25‐00934   7FGCU20   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY6780     2006   TOYOT   7FGCU25‐00863             KS      Wichita
 YRCF     FORKLIFT         FKL     RDWY6783     2006   TOYOT   7FGCU25‐00869             NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY6784     2006   TOYOT   7FGCU25‐00870             MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY6791     2006   TOYOT   7FGCU25‐00774             MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY6816     2007   TOYOT   7FGCU25‐02903             IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY6817     2007   TOYOT   7FGCU25‐03053             IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY6819     2007   TOYOT   7FGCU25‐02943             IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY6822     2007   TOYOT   7FGCU25‐02906             KS      Wichita
 YRCF     FORKLIFT         FKL     RDWY6831     2007   TOYOT   7FGCU25‐03029             OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY6838     2007   TOYOT   7FGCU25‐03131             MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY6844     2007   TOYOT   7FGCU25‐02923             ID      Pocatello
 YRCF     FORKLIFT         FKL     RDWY6848     2007   TOYOT   7FGCU25‐86889             SD      Watertown
 YRCF     FORKLIFT         FKL     RDWY6851     2007   TOYOT   7FGCU25‐03072             NY      Mount Vernon
 YRCF     FORKLIFT         FKL     RDWY6859     2007   TOYOT   7FGCU25‐03824             FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY6873     2007   TOYOT   7FGCU25‐03938             NJ      Millville
 YRCF     FORKLIFT         FKL     RDWY6878     2007   TOYOT   8FGCU25‐13056   8FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6879     2007   TOYOT   8FGCU25‐13057   8FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY6883     2007   TOYOT   8FGCU25‐13063   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY6884     2007   TOYOT   8FGCU25‐13109   8FGCU25   AZ      Nogales
 YRCF     FORKLIFT         FKL     RDWY6885     2007   TOYOT   8FGCU25‐13112   8FGCU25   ND      Fargo
 YRCF     FORKLIFT         FKL     RDWY6886     2007   TOYOT   8FGCU25‐13114   8FGCU25   SD      Sioux Falls
 YRCF     FORKLIFT         FKL     RDWY6888     2007   TOYOT   8FGCU25‐13116   8FGCU25   WI      Eau Claire
 YRCF     FORKLIFT         FKL     RDWY6897     2007   TOYOT   8FGCU25‐13163   8FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY6909     2007   TOYOT   8FGCU25‐13234   8FGCU25   MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY6912     2007   TOYOT   8FGCU25‐13264   8FGCU25   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY6913     2007   TOYOT   8FGCU25‐13266   8FGCU25   NV      Sparks
 YRCF     FORKLIFT         FKL     RDWY6917     2007   TOYOT   8FGCU25‐13274   8FGCU25   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY6924     2007   TOYOT   8FGCU25‐13899   8FGCU25   OH      Toledo
 YRCF     FORKLIFT         FKL     RDWY6932     2007   TOYOT   8FGCU25‐13943   8FGCU25   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY6938     2007   TOYOT   8FGCU25‐13981   8FGCU25   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY6944     2007   TOYOT   8FGCU25‐13828   8FGCU25   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY6947     2007   TOYOT   8FGCU25‐14015   8FGCU25   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY6948     2007   TOYOT   8FGCU25‐14018   8FGCU25   NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY6950     2007   TOYOT   8FGCU25‐14022   8FGCU25   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY6952     2007   TOYOT   8FGCU25‐14060   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY6961     2007   TOYOT   8FGCU25‐14077   8FGCU25   CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY6962     2007   TOYOT   8FGCU25‐14105   8FGCU25   MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY6966     2007   TOYOT   8FGCU25‐14115   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY6969     2007   TOYOT   8FGCU25‐14120   8FGCU25   WA      Tacoma
 YRCF     FORKLIFT         FKL     RDWY6972     2007   TOYOT   8FGCU25‐14128   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY6973     2007   TOYOT   8FGCU25‐14147   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY6974     2007   TOYOT   8FGCU25‐14148   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY6975     2007   TOYOT   7FGCU25‐02580   7FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY6986     2007   TOYOT   8FGCU25‐14158   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY6988     2007   TOYOT   8FGCU25‐14161   8FGCU25   TX      Abilene
 YRCF     FORKLIFT         FKL     RDWY6989     2007   TOYOT   8FGCU25‐14165   8FGCU25   MS      Tupelo
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 580 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY6990     2007   TOYOT   8FGCU25‐14167   8FGCU25   WI      Madison
 YRCF     FORKLIFT         FKL     RDWY6992     2007   TOYOT   8FGCU25‐14173   8FGCU25   MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY6993     2007   TOYOT   8FGCU25‐14192   8FGCU25   MN      Saint Cloud
 YRCF     FORKLIFT         FKL     RDWY6994     2007   TOYOT   8FGCU25‐14195   8FGCU25   TX      Texarkana
 YRCF     FORKLIFT         FKL     RDWY6996     2007   TOYOT   8FGCU25‐14200   8FGCU25   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY6997     2007   TOYOT   8FGCU25‐14203   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY6999     2007   TOYOT   8FGCU25‐14207   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY7000     2007   TOYOT   8FGCU25‐14209   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY7002     2007   TOYOT   8FGCU25‐14214   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY7003     2007   TOYOT   8FGCU25‐14216   8FGCU25   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY7004     2007   TOYOT   8FGCU25‐14217   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY7006     2007   TOYOT   8FGCU25‐14236   8FGCU25   TN      Jackson
 YRCF     FORKLIFT         FKL     RDWY7011     2007   TOYOT   8FGCU25‐14245   8FGCU25   OH      Columbus
 YRCF     FORKLIFT         FKL     RDWY7013     2007   TOYOT   8FGCU25‐14248   8FGCU25   MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY7017     2007   TOYOT   8FGCU25‐13869   8FGCU25   MS      Tupelo
 YRCF     FORKLIFT         FKL     RDWY7018     2007   TOYOT   8FGCU25‐13784   8FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY7019     2007   TOYOT   8FGCU25‐13785   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY7022     2007   TOYOT   8FGCU25‐13987   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY7023     2007   TOYOT   8FGCU25‐14023   8FGCU25   MD      Landover
 YRCF     FORKLIFT         FKL     RDWY7024     2007   TOYOT   8FGCU25‐14079   8FGCU25   FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY7030     2008   TOYOT   8FGCU25‐14025   8FGCU25   CA      Fontana
 YRCF     FORKLIFT         FKL     RDWY7035     2008   TOYOT   8FGCU25‐18544   8FGCU25   CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY7036     2008   TOYOT   8FGCU25‐19436   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7040     2008   TOYOT   8FGCU25‐18584   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY7041     2008   TOYOT   8FGCU25‐18587   8FGCU25   NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY7043     2008   TOYOT   8FGCU25‐18606   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY7044     2008   TOYOT   8FGCU25‐18610   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY7045     2008   TOYOT   8FGCU25‐18611   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY7046     2008   TOYOT   8FGCU25‐18612   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY7048     2008   TOYOT   8FGCU25‐18616   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY7063     2008   TOYOT   8FGCU25‐18716   8FGCU25   CA      Orange
 YRCF     FORKLIFT         FKL     RDWY7064     2008   TOYOT   8FGCU25‐18718   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7065     2008   TOYOT   8FGCU25‐18720   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7068     2008   TOYOT   8FGCU25‐18731   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7069     2008   TOYOT   8FGCU25‐18736   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7070     2008   TOYOT   8FGCU25‐18738   8FGCU25   NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY7072     2008   TOYOT   8FGCU25‐18750   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7073     2008   TOYOT   8FGCU25‐18754   8FGCU25   CA      Ventura
 YRCF     FORKLIFT         FKL     RDWY7074     2008   TOYOT   8FGCU25‐18756   8FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY7075     2008   TOYOT   8FGCU25‐18759   8FGCU25   MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY7076     2008   TOYOT   8FGCU25‐18760   8FGCU25   CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY7077     2008   TOYOT   8FGCU25‐18761   8FGCU25   CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY7080     2008   TOYOT   8FGCU25‐18774   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7081     2008   TOYOT   8FGCU25‐18783   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7082     2008   TOYOT   8FGCU25‐18791   8FGCU25   AZ      Tucson
 YRCF     FORKLIFT         FKL     RDWY7086     2008   TOYOT   8FGCU25‐18800   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7093     2008   TOYOT   8FGCU25‐18601   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY7100     2008   TOYOT   8FGCU25‐21449   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY7102     2008   TOYOT   8FGCU25‐21484   8FGCU25   CA      Fontana
 YRCF     FORKLIFT         FKL     RDWY7111     2008   TOYOT   8FGCU25‐21797   8FGCU25   CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY7115     2008   TOYOT   8FGCU25‐22006   8FGCU25   CA      Calexico
 YRCF     FORKLIFT         FKL     RDWY7116     2008   TOYOT   8FGCU25‐22012   8FGCU25   CA      Calexico
 YRCF     FORKLIFT         FKL     RDWY7120     2008   TOYOT   8FGCU25‐22036   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY7124     2008   TOYOT   8FGCU25‐22121   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY7130     2008   TOYOT   8FGCU25‐22043   8FGCU25   NC      Durham
 YRCF     FORKLIFT         FKL     RDWY7134     2008   TOYOT   8FGCU25‐22284   8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY7135     2008   TOYOT   8FGCU25‐22287   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY7137     2008   TOYOT   8FGCU25‐22328   8FGCU25   MD      Landover
 YRCF     FORKLIFT         FKL     RDWY7139     2008   TOYOT   8FGCU25‐22356   8FGCU25   PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY7141     2008   TOYOT   8FGCU25‐22380   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7142     2008   TOYOT   8FGCU25‐22407   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY7143     2008   TOYOT   8FGCU25‐22410   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY7144     2008   TOYOT   8FGCU25‐22231   8FGCU25   PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY7146     2008   TOYOT   8FGCU25‐22289   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY7147     2008   TOYOT   8FGCU25‐22333   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY7149     2008   TOYOT   8FGCU25‐22384   8FGCU25   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY7150     2008   TOYOT   8FGCU25‐22419   8FGCU25   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY7151     2008   TOYOT   8FGCU25‐22357   8FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY7153     2008   TOYOT   8FGCU25‐22805   8FGCU25   NM      Albuquerque
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 581 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY7154     2008   TOYOT   8FGCU25‐22815   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY7155     2008   TOYOT   8FGCU25‐22817   8FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY7156     2008   TOYOT   8FGCU25‐22878   8FGCU25   TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY7157     2008   TOYOT   8FGCU25‐22880   8FGCU25   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY7158     2008   TOYOT   8FGCU25‐22882   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY7159     2008   TOYOT   8FGCU25‐22883   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY7162     2008   TOYOT   8FGCU25‐22907   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY7163     2008   TOYOT   8FGCU25‐22910   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY7164     2008   TOYOT   8FGCU25‐22911   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY7165     2008   TOYOT   8FGCU25‐22915   8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY7166     2008   TOYOT   8FGCU25‐22935   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY7167     2008   TOYOT   8FGCU25‐22939   8FGCU25   LA      Shreveport
 YRCF     FORKLIFT         FKL     RDWY7169     2008   TOYOT   8FGCU25‐22951   8FGCU25   OH      Toledo
 YRCF     FORKLIFT         FKL     RDWY7171     2008   TOYOT   8FGCU25‐22969   8FGCU25   MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY7172     2008   TOYOT   8FGCU25‐22971   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY7175     2008   TOYOT   8FGCU25‐22974   8FGCU25   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY7176     2008   TOYOT   8FGCU25‐22978   8FGCU25   AR      Springdale
 YRCF     FORKLIFT         FKL     RDWY7177     2008   TOYOT   8FGCU25‐22997   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY7178     2008   TOYOT   8FGCU25‐22956   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7179     2008   TOYOT   8FGCU25‐22999   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY7180     2008   TOYOT   8FGCU25‐23000   8FGCU25   FL      Boynton Beach
 YRCF     FORKLIFT         FKL     RDWY7181     2008   TOYOT   8FGCU25‐23001   8FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY7182     2008   TOYOT   8FGCU25‐22957   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY7183     2008   TOYOT   8FGCU25‐22979   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY7185     2008   TOYOT   8FGCU25‐23006   8FGCU25   CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY7186     2008   TOYOT   8FGCU25‐22982   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY7187     2008   TOYOT   8FGCU25‐22959   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY7188     2008   TOYOT   8FGCU25‐23009   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY7189     2008   TOYOT   8FGCU25‐22984   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7191     2008   TOYOT   8FGCU25‐22924   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7192     2008   TOYOT   8FGCU25‐22928   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7193     2008   TOYOT   8FGCU25‐22886   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7194     2008   TOYOT   8FGCU25‐22888   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY7195     2008   TOYOT   8FGCU25‐23012   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7196     2008   TOYOT   8FGCU25‐22988   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7197     2008   TOYOT   8FGCU25‐22960   8FGCU25   TN      Memphis
 YRCF     FORKLIFT         FKL     RDWY7198     2008   TOYOT   8FGCU25‐22929   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY7199     2008   TOYOT   8FGCU25‐22891   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7202     2008   TOYOT   8FGCU25‐23030   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7204     2008   TOYOT   8FGCU25‐23037   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7205     2008   TOYOT   8FGCU25‐23039   8FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY7207     2008   TOYOT   8FGCU25‐23254   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY7212     2008   TOYOT   8FGCU25‐23302   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY7213     2008   TOYOT   8FGCU25‐23304   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY7214     2008   TOYOT   8FGCU25‐23305   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7215     2008   TOYOT   8FGCU25‐23308   8FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY7216     2008   TOYOT   8FGCU25‐23309   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7217     2008   TOYOT   8FGCU25‐23044   8FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY7218     2008   TOYOT   8FGCU25‐23281   8FGCU25   UT      St. George
 YRCF     FORKLIFT         FKL     RDWY7219     2008   TOYOT   8FGCU25‐23311   8FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY7220     2008   TOYOT   8FGCU25‐23321   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7221     2008   TOYOT   8FGCU25‐23289   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY7222     2008   TOYOT   8FGCU25‐23046   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY7223     2008   TOYOT   8FGCU25‐23290   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY7224     2008   TOYOT   8FGCU25‐23326   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY7225     2008   TOYOT   8FGCU25‐23331   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY7226     2008   TOYOT   8FGCU25‐23332   8FGCU25   MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY7227     2008   TOYOT   8FGCU25‐23335   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY7228     2008   TOYOT   8FGCU25‐23291   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY7229     2008   TOYOT   8FGCU25‐23047   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY7230     2008   TOYOT   8FGCU25‐23336   8FGCU25   MN      Burnsville
 YRCF     FORKLIFT         FKL     RDWY7233     2002   TOYOT   7FGCU25‐78528   7FGCU25   NE      Kearney
 YRCF     FORKLIFT         FKL     RDWY7241     2002   TOYOT   7FGCU25‐78499   7FGCU25   KY      Bowling Green
 YRCF     FORKLIFT         FKL     RDWY7250     2002   TOYOT   7FGCU25‐78460   7FGCU25   IA      Sioux City
 YRCF     FORKLIFT         FKL     RDWY7257     2002   TOYOT   7FGCU25‐78415   7FGCU25   MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY7262     2002   TOYOT   7FGCU25‐78401   7FGCU25   MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY7277     2002   TOYOT   7FGCU25‐79646   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY7308     2002   TOYOT   7FGCU25‐79842   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY7318     2002   TOYOT   7FGCU25‐79698   7FGCU25   PA      Erie
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 582 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY7334     2002   TOYOT   7FGCU25‐79810   7FGCU25   TX      Sherman
 YRCF     FORKLIFT         FKL     RDWY7335     2002   TOYOT   7FGCU25‐79713   7FGCU25   TX      Sherman
 YRCF     FORKLIFT         FKL     RDWY7392     2002   TOYOT   7FGCU25‐79766   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY7399     2002   TOYOT   7FGCU25‐79806   7FGCU25   MS      Tupelo
 YRCF     FORKLIFT         FKL     RDWY7403     2002   TOYOT   7FGCU25‐79668   7FGCU25   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY7432     2002   TOYOT   7FGCU25‐79845   7FGCU25   MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY7453     2002   TOYOT   7FGCU25‐79873   7FGCU25   MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY7472     2002   TOYOT   7FGCU25‐79879   7FGCU25   MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY7477     2002   TOYOT   7FGCU25‐79148   7FGCU25   TX      Austin
 YRCF     FORKLIFT         FKL     RDWY7486     2002   TOYOT   7FGCU25‐79172   7FGCU25   LA      Shreveport
 YRCF     FORKLIFT         FKL     RDWY7492     2002   TOYOT   7FGCU25‐79219   7FGCU25   AL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY7494     2002   TOYOT   7FGCU25‐79221   7FGCU25   KS      Topeka
 YRCF     FORKLIFT         FKL     RDWY7497     2002   TOYOT   7FGCU25‐78600   7FGCU25   FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY7500     2002   TOYOT   7FGCU25‐79968   7FGCU25   SC      Columbia
 YRCF     FORKLIFT         FKL     RDWY7507     2002   TOYOT   7FGCU25‐79969   7FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY7511     2002   TOYOT   7FGCU25‐80004   7FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY7517     2002   TOYOT   7FGCU25‐79910   7FGCU25   CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY7518     2002   TOYOT   7FGCU25‐79904   7FGCU25   PA      Bensalem
 YRCF     FORKLIFT         FKL     RDWY7525     2002   TOYOT   7FGCU25‐79301   7FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY7529     2002   TOYOT   7FGCU25‐79918   7FGCU25   SC      Florence
 YRCF     FORKLIFT         FKL     RDWY7530     2002   TOYOT   7FGCU25‐80082   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY7531     2002   TOYOT   7FGCU25‐80088   7FGCU25   MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY7532     2002   TOYOT   7FGCU25‐79245   7FGCU25   KY      Paducah
 YRCF     FORKLIFT         FKL     RDWY7538     2003   TOYOT   7FGCU25‐80036   7FGCU25   VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY7539     2003   TOYOT   7FGCU25‐80066   7FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY7540     2003   TOYOT   7FGCU25‐80060   7FGCU25   NC      Wilmington
 YRCF     FORKLIFT         FKL     RDWY7548     2003   TOYOT   7FGCU25‐80141   7FGCU25   FL      Ocala
 YRCF     FORKLIFT         FKL     RDWY7583     2004   TOYOT   7FGCU25‐82769   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY7585     2004   TOYOT   7FGCU25‐82794   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY7586     2004   TOYOT   7FGCU25‐82796   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY7587     2004   TOYOT   7FGCU25‐82760   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY7588     2004   TOYOT   7FGCU25‐82763   7FGCU25   AL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY7591     2002   TOYOT   7FGCU25‐78683   7FGCU25   OH      Toledo
 YRCF     FORKLIFT         FKL     RDWY7592     2007   TOYOT   7FGCU25‐02920             FL      Fort Myers
 YRCF     FORKLIFT         FKL     RDWY7602     2004   TOYOT   7FGCU25‐82752   7FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY7603     2004   TOYOT   7FGCU25‐82946   7FGCU25   VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY7604     2004   TOYOT   7FGCU25‐82953   7FGCU25   VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY7606     2004   TOYOT   7FGCU25‐82961   7FGCU25   VA      Roanoke
 YRCF     FORKLIFT         FKL     RDWY7607     2004   TOYOT   7FGCU25‐82941   7FGCU25   VA      Roanoke
 YRCF     FORKLIFT         FKL     RDWY7608     2004   TOYOT   7FGCU25‐82926   7FGCU25   VA      Fishersville
 YRCF     FORKLIFT         FKL     RDWY7612     2004   TOYOT   7FGCU25‐82938   7FGCU25   SC      North Charleston
 YRCF     FORKLIFT         FKL     RDWY7613     2004   TOYOT   7FGCU25‐82940   7FGCU25   PA      Camp Hill
 YRCF     FORKLIFT         FKL     RDWY7617     2004   TOYOT   7FGCU25‐82963   7FGCU25   NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY7622     2004   TOYOT   7FGCU25‐82964   7FGCU25   FL      Orlando
 YRCF     FORKLIFT         FKL     RDWY7625     2004   TOYOT   7FGCU25‐82965   7FGCU25   TN      Kingsport
 YRCF     FORKLIFT         FKL     RDWY7634     2004   TOYOT   7FGCU25‐82967   7FGCU25   NC      Rocky Mount
 YRCF     FORKLIFT         FKL     RDWY7635     2004   TOYOT   7FGCU25‐82969   7FGCU25   NC      Rocky Mount
 YRCF     FORKLIFT         FKL     RDWY7636     2004   TOYOT   7FGCU25‐82975   7FGCU25   NC      Fayetteville
 YRCF     FORKLIFT         FKL     RDWY7637     2004   TOYOT   7FGCU25‐82973   7FGCU25   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY7638     2004   TOYOT   7FGCU25‐82644   7FGCU25   OH      Lima
 YRCF     FORKLIFT         FKL     RDWY7639     2004   TOYOT   7FGCU25‐82646   7FGCU25   OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY7640     2004   TOYOT   7FGCU25‐82696   7FGCU25   NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY7644     2004   TOYOT   7FGCU25‐82639   7FGCU25   PA      Erie
 YRCF     FORKLIFT         FKL     RDWY7645     2004   TOYOT   7FGCU25‐82687   7FGCU25   OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY7646     2004   TOYOT   7FGCU25‐82868   7FGCU25   OH      Toledo
 YRCF     FORKLIFT         FKL     RDWY7648     2004   TOYOT   7FGCU25‐82882   7FGCU25   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY7649     2004   TOYOT   7FGCU25‐82884   7FGCU25   FL      Boynton Beach
 YRCF     FORKLIFT         FKL     RDWY7653     2004   TOYOT   7FGCU25‐82893   7FGCU25   MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY7654     2004   TOYOT   7FGCU25‐82896   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY7655     2004   TOYOT   7FGCU25‐82900   7FGCU25   CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY7656     2004   TOYOT   7FGCU25‐82906   7FGCU25   ME      Westbrook
 YRCF     FORKLIFT         FKL     RDWY7658     2004   TOYOT   7FGCU25‐82919   7FGCU25   PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY7663     2004   TOYOT   7FGCU25‐82947   7FGCU25   DE      New Castle
 YRCF     FORKLIFT         FKL     RDWY7665     2004   TOYOT   7FGCU25‐82860   7FGCU25   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY7670     2004   TOYOT   7FGCU25‐82871   7FGCU25   NC      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY7673     2004   TOYOT   7FGCU25‐82996   7FGCU25   NY      Plainview
 YRCF     FORKLIFT         FKL     RDWY7675     2004   TOYOT   7FGCU25‐82912   7FGCU25   NY      Plainview
 YRCF     FORKLIFT         FKL     RDWY7681     2004   TOYOT   7FGCU25‐82993   7FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY7682     2004   TOYOT   7FGCU25‐82989   7FGCU25   TX      Irving
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 583 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY7691     2002   TOYOT   7FGCU25‐78322   7FGCU25   SC      Columbia
 YRCF     FORKLIFT         FKL     RDWY7692     2002   TOYOT   7FGCU25‐78271   7FGCU25   NC      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY7693     2004   TOYOT   7FGCU25‐83011   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY7695     2002   TOYOT   7FGCU25‐78253   7FGCU25   VA      Richmond
 YRCF     FORKLIFT         FKL     RDWY7703     2004   TOYOT   7FGCU25‐83026   7FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY7714     2004   TOYOT   7FGCU25‐83036   7FGCU25   MI      Norway
 YRCF     FORKLIFT         FKL     RDWY7736     2002   TOYOT   7FGCU25‐78341   7FGCU25   AL      Mobile
 YRCF     FORKLIFT         FKL     RDWY7742     2008   TOYOT   8FGCU25‐22954   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY7749     2004   TOYOT   7FGCU25‐83041   7FGCU25   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY7750     2004   TOYOT   7FGCU25‐82995   7FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY7766     2004   TOYOT   7FGCU25‐83082   7FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY7787     2004   TOYOT   7FGCU25‐83085   7FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY7788     2004   TOYOT   7FGCU25‐83045   7FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY7790     2004   TOYOT   7FGCU25‐83052   7FGCU25   TX      McAllen
 YRCF     FORKLIFT         FKL     RDWY7792     2004   TOYOT   7FGCU25‐83061   7FGCU25   TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY7795     2004   TOYOT   7FGCU25‐83065   7FGCU25   MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY7796     2004   TOYOT   7FGCU25‐83069   7FGCU25   LA      Shreveport
 YRCF     FORKLIFT         FKL     RDWY7798     2004   TOYOT   7FGCU25‐83073   7FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY7802     2007   TOYOT   8FGCU25‐13060   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY7812     2004   TOYOT   7FGCU25‐83078   7FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY7818     2004   TOYOT   7FGCU25‐83103   7FGCU25   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY7819     2004   TOYOT   7FGCU25‐83107   7FGCU25   IL      Decatur
 YRCF     FORKLIFT         FKL     RDWY7821     2004   TOYOT   7FGCU25‐83117   7FGCU25   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY7823     2004   TOYOT   7FGCU25‐83520   7FGCU25   NY      Glenmont
 YRCF     FORKLIFT         FKL     RDWY7825     2004   TOYOT   7FGCU25‐83498   7FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY7826     2004   TOYOT   7FGCU25‐86866   7FGCU25   IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY7829     2004   TOYOT   7FGCU25‐87079   7FGCU25   FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY7834     2004   TOYOT   7FGCU25‐86720   7FGCU25   NC      Durham
 YRCF     FORKLIFT         FKL     RDWY7835     2004   TOYOT   7FGCU25‐87120   7FGCU25   NC      Durham
 YRCF     FORKLIFT         FKL     RDWY7838     2004   TOYOT   7FGCU25‐87729   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY7840     2004   TOYOT   7FGCU25‐87751   7FGCU25   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY7841     2004   TOYOT   7FGCU25‐87752   7FGCU25   FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY7842     2004   TOYOT   7FGCU25‐87755   7FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY7843     2004   TOYOT   7FGCU25‐87757   7FGCU25   IL      Chicago Heights
 YRCF     FORKLIFT         FKL     RDWY7847     2005   TOYOT   7FGCU25‐88225   7FGCU25   GA      Conley
 YRCF     FORKLIFT         FKL     RDWY7848     2005   TOYOT   7FGCU25‐88137   7FGCU25   TX      Sherman
 YRCF     FORKLIFT         FKL     RDWY7849     2005   TOYOT   7FGCU25‐88295   7FGCU25   TX      Corpus Christi
 YRCF     FORKLIFT         FKL     RDWY7852     2005   TOYOT   7FGCU25‐88110   7FGCU25   TX      Waco
 YRCF     FORKLIFT         FKL     RDWY7861     2005   TOYOT   7FGCU25‐88273   7FGCU25   TX      El Paso
 YRCF     FORKLIFT         FKL     RDWY7863     2005   TOYOT   7FGCU25‐88140   7FGCU25   TX      Eagle Pass
 YRCF     FORKLIFT         FKL     RDWY7871     2005   TOYOT   7FGCU25‐88489   7FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY7878     2005   TOYOT   7FGCU25‐88402   7FGCU25   VA      Manassas
 YRCF     FORKLIFT         FKL     RDWY7897     2005   TOYOT   7FGCU25‐88211   7FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY7900     2005   TOYOT   7FGCU25‐88429   7FGCU25   GA      Marietta
 YRCF     FORKLIFT         FKL     RDWY7904     2005   TOYOT   7FGCU25‐89791   7FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY7913     2005   TOYOT   7FGCU25‐90115   7FGCU25   TX      Sherman
 YRCF     FORKLIFT         FKL     RDWY7914     2005   TOYOT   7FGCU25‐90000   7FGCU25   MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY7918     2005   TOYOT   7FGCU25‐89926   7FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY7919     2005   TOYOT   7FGCU25‐89941   7FGCU25   LA      New Orleans
 YRCF     FORKLIFT         FKL     RDWY7920     2005   TOYOT   7FGCU25‐90172   7FGCU25   VA      Manassas
 YRCF     FORKLIFT         FKL     RDWY7922     2005   TOYOT   7FGCU25‐91083   7FGCU25   CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY7923     2005   TOYOT   7FGCU25‐90193   7FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY7924     2005   TOYOT   7FGCU25‐90185   7FGCU25   ME      Westbrook
 YRCF     FORKLIFT         FKL     RDWY7925     2006   TOYOT   7FGCU25‐93947             VT      Bellows Falls
 YRCF     FORKLIFT         FKL     RDWY7926     2006   TOYOT   7FGCU25‐93945             TN      Knoxville
 YRCF     FORKLIFT         FKL     RDWY7927     2006   TOYOT   7FGCU25‐93943             KY      Bowling Green
 YRCF     FORKLIFT         FKL     RDWY7930     2006   TOYOT   7FGCU25‐93949             OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY7931     2006   TOYOT   7FGCU25‐93951             OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY7932     2006   TOYOT   7FGCU25‐94003             NE      Kearney
 YRCF     FORKLIFT         FKL     RDWY7933     2006   TOYOT   7FGCU25‐93999             NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY7935     2005   TOYOT   7FGCU25‐93873   7FGCU25   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY7936     2006   TOYOT   7FGCU25‐94059             PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY7939     2006   TOYOT   7FGCU25‐94019             NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY7940     2006   TOYOT   7FGCU25‐94033             OR      Portland
 YRCF     FORKLIFT         FKL     RDWY7942     2006   TOYOT   7FGCU25‐94022             PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY7944     2006   TOYOT   7FGCU25‐94067             MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY7946     2006   TOYOT   7FGCU25‐94063             MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY7947     2006   TOYOT   7FGCU25‐94062             MA      North Reading
 YRCF     FORKLIFT         FKL     RDWY7948     2006   TOYOT   7FGCU25‐94060             NY      Glenmont
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23    Page 584 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL      State   City
 YRCF     FORKLIFT         FKL     RDWY7949     2006   TOYOT   7FGCU25‐94105               NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY7951     2006   TOYOT   7FGCU25‐94097               NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY7953     2006   TOYOT   7FGCU25‐94103               PA      Erie
 YRCF     FORKLIFT         FKL     RDWY7954     2006   TOYOT   7FGCU25‐94102               NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY7956     2006   TOYOT   7FGCU25‐94070               NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY7957     2006   TOYOT   7FGCU25‐94108               MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY7958     2006   TOYOT   7FGCU25‐94132               TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY7959     2006   TOYOT   7FGCU25‐94110               TX      McAllen
 YRCF     FORKLIFT         FKL     RDWY7961     2006   TOYOT   7FGCU25‐93911               TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY7962     2006   TOYOT   7FGCU25‐94137               TX      Dallas
 YRCF     FORKLIFT         FKL     RDWY7963     2006   TOYOT   7FGCU25‐94148               NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY7964     2006   TOYOT   7FGCU25‐94170   7FGCU25     UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY7965     2006   TOYOT   7FGCU25‐84181               IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY7968     2006   TOYOT   7FGCU25‐94192               FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY7969     2006   TOYOT   7FGCU25‐94194               ND      Minot
 YRCF     FORKLIFT         FKL     RDWY7970     2006   TOYOT   7FGCU25‐94051               OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY7971     2006   TOYOT   7FGCU25‐94087               OH      Richfield
 YRCF     FORKLIFT         FKL     RDWY7972     2006   TOYOT   7FGCU25‐00772   7FGCU20     TN      Knoxville
 YRCF     FORKLIFT         FKL     RDWY7973     2006   TOYOT   7FGCU25‐00859   7FGCU20     OH      Bowling Green
 YRCF     FORKLIFT         FKL     RDWY7974     2006   TOYOT   7FGCU25‐00933   7FGCU20     CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY7976     2006   TOYOT   7FGCU25‐00937   7FGCU20     OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY7980     2006   TOYOT   7FGCU25‐00905               MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY7981     2006   TOYOT   7FGCU25‐00908   7FGCU25     UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY7982     2006   TOYOT   7FGCU25‐00909               PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY7983     2006   TOYOT   7FGCU25‐00861               NY      Plainview
 YRCF     FORKLIFT         FKL     RDWY7984     2006   TOYOT   7FGCU25‐00865               NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY7985     2006   TOYOT   7FGCU25‐00819               NY      Mount Vernon
 YRCF     FORKLIFT         FKL     RDWY7986     2006   TOYOT   7FGCU25‐00821               RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY7987     2006   TOYOT   7FGCU25‐00776               NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY7988     2006   TOYOT   7FGCU25‐00779               NY      Tonawanda
 YRCF     FORKLIFT         FKL     RDWY7989     2006   TOYOT   7FGCU25‐00825               NY      Rochester
 YRCF     FORKLIFT         FKL     RDWY7998     2006   TOYOT   7FGCU25‐00871               NY      Plainview
 YRCF     FORKLIFT         FKL     RDWY8003     2006   TOYOT   7FGCU25‐00737               AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY8004     2006   TOYOT   7FGCU25‐00683               TX      Lubbock
 YRCF     FORKLIFT         FKL     RDWY8006     2006   TOYOT   7FGCU25‐00739               TX      Irving
 YRCF     FORKLIFT         FKL     RDWY8007     2006   TOYOT   7FGCU25‐00686               MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY8008     2006   TOYOT   7FGCU25‐00687               PA      Bethlehem
 YRCF     FORKLIFT         FKL     RDWY8013     2006   TOYOT   7FGCU25‐02722               NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY8014     2006   TOYOT   7FGCU25‐03089               IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY8016     2006   TOYOT   7FGCU25‐03144               WI      Eau Claire
 YRCF     FORKLIFT         FKL     RDWY8018     2006   TOYOT   7FGCU25‐02886               IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY8020     2007   TOYOT   7FGCU25‐02985               NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY8021     2007   TOYOT   7FGCU25‐03016               IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY8022     2007   TOYOT   7FGCU25‐02901               IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY8029     2007   TOYOT   7FGCU25‐02902               OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY8030     2007   TOYOT   7FGCU25‐02992               MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY8031     2007   TOYOT   7FGCU25‐03043               OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY8034     2007   TOYOT   7FGCU25‐03097               CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY8035     2007   TOYOT   7FGCU25‐03064               OH      Copley
 YRCF     FORKLIFT         FKL     RDWY8036     2007   TOYOT   7FGCU25‐03093               OH      Dayton
 YRCF     FORKLIFT         FKL     RDWY8041     2007   TOYOT   7FGCU25‐03133               MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY8045     2007   TOYOT   7FGCU25‐03141               AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY8067     2007   TOYOT   7FGCU25‐03004               NY      Rochester
 YRCF     FORKLIFT         FKL     RDWY8072     2007   TOYOT   7FGCU25‐03032               MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY8076     2007   TOYOT   7FGCU25‐04073               WY      Evansville
 YRCF     FORKLIFT         FKL     RDWY8079     2007   TOYOT   7FGCU25‐04037               KS      Wichita
 YRCF     FORKLIFT         FKL     RDWY8085     2007   TOYOT   7FGCU25‐04040               FL      Miami
 YRCF     FORKLIFT         FKL     RDWY8262     2008   TOYOT   8FGCU25‐18763   8FGCU25     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY8263     2008   TOYOT   8FGCU25‐18768   8FGCU25     CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY8265     2008   TOYOT   8FGCU25‐18793   8FGCU25     CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY8471     2006   MTSBS   AF82F02578      FGC25N‐LP   NY      Glenmont
 YRCF     FORKLIFT         FKL     RDWY8494     2007   MTSBS   AF82F10678      FGN25‐LP    VA      Manassas
 YRCF     FORKLIFT         FKL     RDWY8824     2001   TOYOT   7FGCU25‐69639   7FGCU25     MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY8825     2001   TOYOT   7FGCU25‐69554   7FGCU25     MA      Shrewsbury
 YRCF     FORKLIFT         FKL     RDWY8836     2001   TOYOT   7FGCU25‐69829   7FGCU25     IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY8859     2001   TOYOT   7FGCU25‐69765   7FGCU25     RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY8867     2001   TOYOT   7FGCU25‐70176   7FGCU25     UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY8892     2001   TOYOT   7FGCU25‐70282   7FGCU25     VT      Bellows Falls
 YRCF     FORKLIFT         FKL     RDWY8894     2001   TOYOT   7FGCU25‐70285   7FGCU25     MA      Shrewsbury
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 585 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY8896     2001   TOYOT   7FGCU25‐70331   7FGCU25   VA      Roanoke
 YRCF     FORKLIFT         FKL     RDWY8962     2001   TOYOT   7FGCU25‐70528   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY8987     2001   TOYOT   7FGCU25‐70630   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY9032     2001   TOYOT   7FGCU25‐70806   7FGCU25   MD      Landover
 YRCF     FORKLIFT         FKL     RDWY9106     2002   TOYOT   7FGCU25‐73847   7FGCU25   NY      Plainview
 YRCF     FORKLIFT         FKL     RDWY9108     2002   TOYOT   7FGCU25‐73812   7FGCU25   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY9112     2002   TOYOT   7FGCU25‐73815   7FGCU25   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY9115     2002   TOYOT   7FGCU25‐73819   7FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY9116     2002   TOYOT   7FGCU25‐73827   7FGCU25   IN      Indianapolis
 YRCF     FORKLIFT         FKL     RDWY9117     2002   TOYOT   7FGCU25‐73870   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY9157     2002   TOYOT   7FGCU25‐73804   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY9188     2002   TOYOT   7FGCU25‐73952   7FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY9202     2002   TOYOT   7FGCU25‐73877   7FGCU25   IA      Sioux City
 YRCF     FORKLIFT         FKL     RDWY9203     2002   TOYOT   7FGCU25‐73767   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY9213     2002   TOYOT   7FGCU25‐73918   7FGCU25   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY9215     2002   TOYOT   7FGCU25‐73991   7FGCU25   TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY9221     2002   TOYOT   7FGCU25‐73854   7FGCU25   RI      Cumberland
 YRCF     FORKLIFT         FKL     RDWY9222     2002   TOYOT   7FGCU25‐74016   7FGCU25   NJ      South Plainfield
 YRCF     FORKLIFT         FKL     RDWY9230     2002   TOYOT   7FGCU25‐74131   7FGCU25   ME      Fairfield
 YRCF     FORKLIFT         FKL     RDWY9234     2002   TOYOT   7FGCU25‐74087   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY9236     2002   TOYOT   7FGCU25‐74106   7FGCU25   CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY9240     2002   TOYOT   7FGCU25‐74191   7FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY9241     2002   TOYOT   7FGCU25‐74174   7FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY9247     2002   TOYOT   7FGCU25‐74212   7FGCU25   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY9253     2002   TOYOT   7FGCU25‐74253   7FGCU25   PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY9254     2002   TOYOT   7FGCU25‐74250   7FGCU25   OH      Copley
 YRCF     FORKLIFT         FKL     RDWY9256     2002   TOYOT   7FGCU25‐74726   7FGCU25   CT      Cheshire
 YRCF     FORKLIFT         FKL     RDWY9262     2002   TOYOT   7FGCU25‐74740   7FGCU25   TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY9265     2002   TOYOT   7FGCU25‐74341   7FGCU25   TX      Austin
 YRCF     FORKLIFT         FKL     RDWY9279     2002   TOYOT   7FGCU25‐74312   7FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY9283     2002   TOYOT   7FGCU25‐74371   7FGCU25   TX      Laredo
 YRCF     FORKLIFT         FKL     RDWY9287     2002   TOYOT   7FGCU25‐74814   7FGCU25   MO      Kansas City
 YRCF     FORKLIFT         FKL     RDWY9290     2002   TOYOT   7FGCU25‐74759   7FGCU25   NM      Albuquerque
 YRCF     FORKLIFT         FKL     RDWY9292     2002   TOYOT   7FGCU25‐74677   7FGCU25   AZ      Flagstaff
 YRCF     FORKLIFT         FKL     RDWY9308     2002   TOYOT   7FGCU25‐75694   7FGCU25   NY      Mount Vernon
 YRCF     FORKLIFT         FKL     RDWY9311     2002   TOYOT   7FGCU25‐74801   7FGCU25   FL      Jacksonville
 YRCF     FORKLIFT         FKL     RDWY9313     2002   TOYOT   7FGCU25‐75712   7FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY9315     2002   TOYOT   7FGCU25‐75718   7FGCU25   WA      Pasco
 YRCF     FORKLIFT         FKL     RDWY9321     2002   TOYOT   7FGCU25‐75769   7FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY9322     2002   TOYOT   7FGCU25‐75964   7FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY9324     2002   TOYOT   7FGCU25‐75968   7FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY9327     2002   TOYOT   7FGCU25‐73835   7FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY9328     2002   TOYOT   7FGCU25‐75822   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY9332     2002   TOYOT   7FGCU25‐76208   7FGCU25   MD      Hagerstown
 YRCF     FORKLIFT         FKL     RDWY9396     2002   TOYOT   7FGCU25‐76280   7FGCU25   IL      Wheeling
 YRCF     FORKLIFT         FKL     RDWY9399     2002   TOYOT   7FGCU25‐76309   7FGCU25   TX      Waco
 YRCF     FORKLIFT         FKL     RDWY9403     2002   TOYOT   7FGCU25‐76220   7FGCU25   SD      Watertown
 YRCF     FORKLIFT         FKL     RDWY9405     2002   TOYOT   7FGCU25‐76330   7FGCU25   WV      Bridgeport
 YRCF     FORKLIFT         FKL     RDWY9410     2002   TOYOT   7FGCU25‐76353   7FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY9413     2002   TOYOT   7FGCU25‐76426   7FGCU25   LA      New Orleans
 YRCF     FORKLIFT         FKL     RDWY9414     2002   TOYOT   7FGCU25‐76397   7FGCU25   LA      Port Allen
 YRCF     FORKLIFT         FKL     RDWY9421     2002   TOYOT   7FGCU25‐76447   7FGCU25   PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY9431     2002   TOYOT   7FGCU25‐76759   7FGCU25   TX      Sherman
 YRCF     FORKLIFT         FKL     RDWY9433     2002   TOYOT   7FGCU25‐76821   7FGCU25   LA      Port Allen
 YRCF     FORKLIFT         FKL     RDWY9436     2002   TOYOT   7FGCU25‐76718   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY9437     2002   TOYOT   7FGCU25‐76754   7FGCU25   MT      Missoula
 YRCF     FORKLIFT         FKL     RDWY9444     2002   TOYOT   7FGCU25‐76831   7FGCU25   NJ      Hamilton
 YRCF     FORKLIFT         FKL     RDWY9450     2002   TOYOT   7FGCU25‐77515   7FGCU25   IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY9483     2002   TOYOT   7FGCU25‐78290   7FGCU25   IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY9488     2002   TOYOT   7FGCU25‐77913   7FGCU25   UT      Salt Lake City
 YRCF     FORKLIFT         FKL     RDWY9493     2002   TOYOT   7FGCU25‐78265   7FGCU25   MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY9496     2002   TOYOT   7FGCU25‐78010   7FGCU25   SD      Sioux Falls
 YRCF     FORKLIFT         FKL     RDWY9502     2002   TOYOT   7FGCU25‐78023   7FGCU25   AL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY9504     2002   TOYOT   7FGCU25‐78018   7FGCU25   TN      Nashville
 YRCF     FORKLIFT         FKL     RDWY9511     2002   TOYOT   7FGCU25‐77934   7FGCU25   GA      Jefferson
 YRCF     FORKLIFT         FKL     RDWY9512     2002   TOYOT   7FGCU25‐77949   7FGCU25   GA      Jefferson
 YRCF     FORKLIFT         FKL     RDWY9514     2002   TOYOT   7FGCU25‐77951   7FGCU25   TX      Fort Worth
 YRCF     FORKLIFT         FKL     RDWY9517     2002   TOYOT   7FGCU25‐77970   7FGCU25   FL      Tampa
 YRCF     FORKLIFT         FKL     RDWY9528     2002   TOYOT   7FGCU25‐78298   7FGCU25   TX      Fort Worth
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 586 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY9533     2002   TOYOT   7FGCU25‐78376   7FGCU25   AZ      Lake Havasu City
 YRCF     FORKLIFT         FKL     RDWY9541     2002   TOYOT   7FGCU25‐78336   7FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY9543     2002   TOYOT   7FGCU25‐78346   7FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY9555     2002   TOYOT   7FGCU25‐79709   7FGCU25   TX      San Antonio
 YRCF     FORKLIFT         FKL     RDWY9568     2002   TOYOT   7FGCU25‐79827   7FGCU25   AZ      Flagstaff
 YRCF     FORKLIFT         FKL     RDWY9588     2007   TOYOT   7FGCU25‐86888             SD      Sioux Falls
 YRCF     FORKLIFT         FKL     RDWY9589     2007   TOYOT   7FGCU25‐02964             ND      Fargo
 YRCF     FORKLIFT         FKL     RDWY9590     2007   TOYOT   7FGCU25‐03075             NY      East Syracuse
 YRCF     FORKLIFT         FKL     RDWY9592     2007   TOYOT   7FGCU25‐03077             NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY9593     2007   TOYOT   7FGCU25‐03003             NC      Charlotte
 YRCF     FORKLIFT         FKL     RDWY9594     2007   TOYOT   7FGCU25‐03793             AL      Mobile
 YRCF     FORKLIFT         FKL     RDWY9595     2007   TOYOT   7FGCU25‐04030             AL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY9596     2007   TOYOT   7FGCU25‐97784   7FGCU25   CO      Aurora
 YRCF     FORKLIFT         FKL     RDWY9598     2007   TOYOT   7FGCU25‐04132             VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY9600     2007   TOYOT   7FGCU25‐04106             OK      Tulsa
 YRCF     FORKLIFT         FKL     RDWY9601     2007   TOYOT   7FGCU25‐04137             MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY9605     2007   TOYOT   7FGCU25‐03935             FL      Miami
 YRCF     FORKLIFT         FKL     RDWY9606     2007   TOYOT   7FGCU25‐03866             AR      Little Rock
 YRCF     FORKLIFT         FKL     RDWY9607     2007   TOYOT   7FGCU25‐03891             MO      Saint Louis
 YRCF     FORKLIFT         FKL     RDWY9608     2007   TOYOT   8FGCU25‐13054   8FGCU25   CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY9609     2007   TOYOT   8FGCU25‐13058   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY9610     2007   TOYOT   8FGCU25‐13059   8FGCU25   CA      Bakersfield
 YRCF     FORKLIFT         FKL     RDWY9611     2007   TOYOT   8FGCU25‐13115   8FGCU25   MO      Columbia
 YRCF     FORKLIFT         FKL     RDWY9612     2007   TOYOT   8FGCU25‐13121   8FGCU25   IL      Quincy
 YRCF     FORKLIFT         FKL     RDWY9616     2007   TOYOT   8FGCU25‐13123   8FGCU25   IN      Fort Wayne
 YRCF     FORKLIFT         FKL     RDWY9617     2007   TOYOT   8FGCU25‐13152   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY9620     2007   TOYOT   8FGCU25‐13154   8FGCU25   WY      Cheyenne
 YRCF     FORKLIFT         FKL     RDWY9624     2007   TOYOT   8FGCU25‐13161   8FGCU25   DE      Seaford
 YRCF     FORKLIFT         FKL     RDWY9625     2007   TOYOT   8FGCU25‐13190   8FGCU25   TX      Austin
 YRCF     FORKLIFT         FKL     RDWY9626     2007   TOYOT   8FGCU25‐13193   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY9628     2007   TOYOT   8FGCU25‐13196   8FGCU25   MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY9631     2007   TOYOT   8FGCU25‐13198   8FGCU25   MD      Baltimore
 YRCF     FORKLIFT         FKL     RDWY9633     2007   TOYOT   8FGCU25‐13201   8FGCU25   CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY9636     2007   TOYOT   8FGCU25‐13204   8FGCU25   CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY9638     2007   TOYOT   8FGCU25‐13225   8FGCU25   CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY9640     2007   TOYOT   8FGCU25‐13228   8FGCU25   CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY9642     2007   TOYOT   8FGCU25‐13230   8FGCU25   CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY9644     2007   TOYOT   8FGCU25‐13232   8FGCU25   WA      Spokane
 YRCF     FORKLIFT         FKL     RDWY9646     2007   TOYOT   8FGCU25‐13239   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY9647     2007   TOYOT   8FGCU25‐13267   8FGCU25   MI      Wyoming
 YRCF     FORKLIFT         FKL     RDWY9649     2007   TOYOT   8FGCU25‐13271   8FGCU25   OK      Oklahoma City
 YRCF     FORKLIFT         FKL     RDWY9650     2007   TOYOT   8FGCU25‐13275   8FGCU25   NV      Sparks
 YRCF     FORKLIFT         FKL     RDWY9651     2007   TOYOT   8FGCU25‐13300   8FGCU25   CA      Pomona
 YRCF     FORKLIFT         FKL     RDWY9653     2007   TOYOT   8FGCU25‐13723   8FGCU25   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY9655     2007   TOYOT   8FGCU25‐13857   8FGCU25   IN      Terre Haute
 YRCF     FORKLIFT         FKL     RDWY9656     2007   TOYOT   8FGCU25‐13904   8FGCU25   CA      Adelanto
 YRCF     FORKLIFT         FKL     RDWY9657     2007   TOYOT   8FGCU25‐13907   8FGCU25   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY9658     2007   TOYOT   8FGCU25‐13909   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY9659     2007   TOYOT   8FGCU25‐13911   8FGCU25   DE      Seaford
 YRCF     FORKLIFT         FKL     RDWY9660     2007   TOYOT   8FGCU25‐13935   8FGCU25   NJ      Millville
 YRCF     FORKLIFT         FKL     RDWY9661     2007   TOYOT   8FGCU25‐13939   8FGCU25   OH      Lima
 YRCF     FORKLIFT         FKL     RDWY9663     2007   TOYOT   8FGCU25‐13969   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY9664     2007   TOYOT   8FGCU25‐13972   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY9666     2007   TOYOT   8FGCU25‐13976   8FGCU25   CA      Adelanto
 YRCF     FORKLIFT         FKL     RDWY9667     2007   TOYOT   8FGCU25‐13978   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY9668     2007   TOYOT   8FGCU25‐13980   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY9669     2007   TOYOT   8FGCU25‐13982   8FGCU25   PA      McKees Rocks
 YRCF     FORKLIFT         FKL     RDWY9675     2007   TOYOT   8FGCU25‐14017   8FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY9676     2007   TOYOT   8FGCU25‐13740   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY9677     2007   TOYOT   8FGCU25‐13781   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY9678     2007   TOYOT   8FGCU25‐13861   8FGCU25   PA      Mountain Top
 YRCF     FORKLIFT         FKL     RDWY9680     2007   TOYOT   8FGCU25‐14062   8FGCU25   CA      San Diego
 YRCF     FORKLIFT         FKL     RDWY9681     2007   TOYOT   8FGCU25‐14064   8FGCU25   FL      Miami
 YRCF     FORKLIFT         FKL     RDWY9682     2007   TOYOT   8FGCU25‐14066   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY9686     2007   TOYOT   8FGCU25‐14070   8FGCU25   NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY9687     2007   TOYOT   8FGCU25‐14072   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY9689     2007   TOYOT   8FGCU25‐14073   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY9690     2007   TOYOT   8FGCU25‐14076   8FGCU25   CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY9693     2007   TOYOT   8FGCU25‐14108   8FGCU25   WA      Tacoma
                     Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 587 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     FORKLIFT         FKL     RDWY9694     2007   TOYOT   8FGCU25‐14111   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY9695     2007   TOYOT   8FGCU25‐14119   8FGCU25   CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY9696     2007   TOYOT   8FGCU25‐14123   8FGCU25   MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY9697     2006   TOYOT   7FGCU25‐02582   7FGCU25   PA      Du Bois
 YRCF     FORKLIFT         FKL     RDWY9698     2006   TOYOT   7FGCU25‐02591   7FGCU25   PA      Du Bois
 YRCF     FORKLIFT         FKL     RDWY9699     2006   TOYOT   7FGCU25‐02592   7FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY9708     2006   TOYOT   7FGCU25‐02598   7FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY9711     2006   TOYOT   7FGCU25‐02623   7FGCU25   OR      Portland
 YRCF     FORKLIFT         FKL     RDWY9713     2006   TOYOT   7FGCU25‐02625   7FGCU25   AZ      Phoenix
 YRCF     FORKLIFT         FKL     RDWY9715     2007   TOYOT   8FGCU25‐14156   8FGCU25   NJ      Carlstadt
 YRCF     FORKLIFT         FKL     RDWY9719     2007   TOYOT   8FGCU25‐14205   8FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY9721     2007   TOYOT   8FGCU25‐14212   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY9727     2007   TOYOT   8FGCU25‐13863   8FGCU25   TX      Irving
 YRCF     FORKLIFT         FKL     RDWY9730     2007   TOYOT   8FGCU25‐14237   8FGCU25   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY9735     2007   TOYOT   8FGCU25‐14240   8FGCU25   OH      Cincinnati
 YRCF     FORKLIFT         FKL     RDWY9741     2007   TOYOT   8FGCU25‐14246   8FGCU25   MI      Taylor
 YRCF     FORKLIFT         FKL     RDWY9742     2007   TOYOT   8FGCU25‐14252   8FGCU25   MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY9743     2007   TOYOT   8FGCU25‐13865   8FGCU25   MI      Pontiac
 YRCF     FORKLIFT         FKL     RDWY9745     2007   TOYOT   8FGCU25‐13912   8FGCU25   VA      Chesapeake
 YRCF     FORKLIFT         FKL     RDWY9746     2007   TOYOT   8FGCU25‐13948   8FGCU25   NC      Durham
 YRCF     FORKLIFT         FKL     RDWY9749     2007   TOYOT   8FGCU25‐14174   8FGCU25   TN      Jackson
 YRCF     FORKLIFT         FKL     RDWY9754     2007   TOYOT   8FGCU25‐14253   8FGCU25   LA      Alexandria
 YRCF     FORKLIFT         FKL     RDWY9756     2007   TOYOT   8FGCU25‐14255   8FGCU25   NY      Mount Vernon
 YRCF     FORKLIFT         FKL     RDWY9757     2008   TOYOT   8FGCU25‐18667   8FGCU25   FL      Fort Myers
 YRCF     FORKLIFT         FKL     RDWY9759     2008   TOYOT   8FGCU25‐18577   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY9761     2008   TOYOT   8FGCU25‐18580   8FGCU25   IN      Terre Haute
 YRCF     FORKLIFT         FKL     RDWY9762     2008   TOYOT   8FGCU25‐18593   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9763     2008   TOYOT   8FGCU25‐18614   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY9764     2008   TOYOT   8FGCU25‐18620   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY9767     2008   TOYOT   8FGCU25‐18623   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9768     2008   TOYOT   8FGCU25‐18624   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9769     2008   TOYOT   8FGCU25‐18633   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9770     2008   TOYOT   8FGCU25‐18636   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY9771     2008   TOYOT   8FGCU25‐18638   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9773     2008   TOYOT   8FGCU25‐18649   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9774     2008   TOYOT   8FGCU25‐18669   8FGCU25   CA      Orange
 YRCF     FORKLIFT         FKL     RDWY9775     2008   TOYOT   8FGCU25‐18672   8FGCU25   NV      Las Vegas
 YRCF     FORKLIFT         FKL     RDWY9777     2008   TOYOT   8FGCU25‐18680   AFGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY9778     2008   TOYOT   8FGCU25‐18681   8FGCU25   CA      Bloomington
 YRCF     FORKLIFT         FKL     RDWY9780     2008   TOYOT   8FGCU25‐18686   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY9782     2008   TOYOT   8FGCU25‐18729   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY9784     2008   TOYOT   8FGCU25‐18741   8FGCU25   CA      Pico Rivera
 YRCF     FORKLIFT         FKL     RDWY9787     2008   TOYOT   8FGCU25‐18799   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9789     2008   TOYOT   8FGCU25‐18802   8FGCU25   CA      Orange
 YRCF     FORKLIFT         FKL     RDWY9791     2008   TOYOT   8FGCU25‐18805   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9792     2008   TOYOT   8FGCU25‐18809   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9794     2008   TOYOT   8FGCU25‐18570   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9796     2008   TOYOT   8FGCU25‐21277   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9797     2008   TOYOT   8FGCU25‐21368   8FGCU25   CA      Sun Valley
 YRCF     FORKLIFT         FKL     RDWY9799     2008   TOYOT   8FGCU25‐21448   8FGCU25   CA      Gardena
 YRCF     FORKLIFT         FKL     RDWY9801     2008   TOYOT   8FGCU25‐21396   8FGCU25   CA      Visalia
 YRCF     FORKLIFT         FKL     RDWY9807     2008   TOYOT   8FGCU25‐21488   8FGCU25   NV      Sparks
 YRCF     FORKLIFT         FKL     RDWY9809     2008   TOYOT   8FGCU25‐21492   8FGCU25   CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY9810     2008   TOYOT   8FGCU25‐21579   8FGCU25   CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY9811     2008   TOYOT   8FGCU25‐21614   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY9812     2008   TOYOT   8FGCU25‐21640   8FGCU25   CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY9813     2008   TOYOT   8FGCU25‐21712   8FGCU25   CA      Hayward
 YRCF     FORKLIFT         FKL     RDWY9814     2008   TOYOT   8FGCU25‐21734   8FGCU25   CA      Brisbane
 YRCF     FORKLIFT         FKL     RDWY9815     2008   TOYOT   8FGCU25‐21766   8FGCU25   CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY9816     2008   TOYOT   8FGCU25‐21804   8FGCU25   CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY9817     2008   TOYOT   8FGCU25‐21977   8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL     RDWY9818     2008   TOYOT   8FGCU25‐21981   8FGCU25   CA      Sacramento
 YRCF     FORKLIFT         FKL     RDWY9819     2008   TOYOT   8FGCU25‐21844   8FGCU25   IL      Montgomery
 YRCF     FORKLIFT         FKL     RDWY9822     2008   TOYOT   8FGCU25‐22068   8FGCU25   IL      Bolingbrook
 YRCF     FORKLIFT         FKL     RDWY9825     2008   TOYOT   8FGCU25‐22072   8FGCU25   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY9826     2008   TOYOT   8FGCU25‐22090   8FGCU25   WI      Oak Creek
 YRCF     FORKLIFT         FKL     RDWY9828     2008   TOYOT   8FGCU25‐22146   8FGCU25   NY      Brooklyn
 YRCF     FORKLIFT         FKL     RDWY9829     2008   TOYOT   8FGCU25‐22149   8FGCU25   PA      Line Lexington
 YRCF     FORKLIFT         FKL     RDWY9830     2008   TOYOT   8FGCU25‐22174   8FGCU25   CA      Tracy
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 588 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     FORKLIFT         FKL      RDWY9831     2008   TOYOT   8FGCU25‐22185       8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL      RDWY9832     2008   TOYOT   8FGCU25‐22097       8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL      RDWY9833     2008   TOYOT   8FGCU25‐22229       8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL      RDWY9838     2008   TOYOT   8FGCU25‐22265       8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL      RDWY9839     2008   TOYOT   8FGCU25‐22318       8FGCU25   NC      Charlotte
 YRCF     FORKLIFT         FKL      RDWY9840     2008   TOYOT   8FGCU25‐22352       8FGCU25   CA      Tracy
 YRCF     FORKLIFT         FKL      RDWY9843     2008   TOYOT   8FGCU25‐22379       8FGCU25   AR      Little Rock
 YRCF     FORKLIFT         FKL      RDWY9864     2005   TOYOT   7FGCU25‐90434       7FGCU25   WV      Charleston
 YRCF     FORKLIFT         FKL      RDWY9874     2006   TOYOT   7FGCU25‐94202                 GA      Conley
 YRCF     FORKLIFT         FKL      RDWY9990     2002   TOYOT   7FGCU25‐79666       7FGCU25   MA      Shrewsbury
 YRCF     FORKLIFT         FKL      RDWY9993     2002   TOYOT   7FGCU25‐79717       7FGCU25   AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY116962   1998   FRUHF   1JJV281F1WF456278             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY117194   1998   FRUHF   1JJV281F1WF456510             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY117337   1998   FRUHF   1JJV281F1WF456653             AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY117349   1998   FRUHF   1JJV281F8WF456665             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118024   1998   PINES   1PNK281B5WK210177             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118249   1999   FRUHF   1JJV281F4XF539947   DVDBFSA   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118339   1999   FRUHF   1JJV281F3XF540037   DVDBFSA   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118347   1999   FRUHF   1JJV281F2XF540045   DVDBFSA   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118359   1999   FRUHF   1JJV281F9XF540057   DVDBFSA   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118481   1999   FRUHF   1JJV281F1XF540179   DVDBFSA   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118550   1999   FRUHF   1JJV281F5XF540248   DVDBFSA   CA      Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118605   1999   FRUHF   1JJV281F9XF540303   DVDBFSA   CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118700   1999   FRUHF   1JJV281F2XF540398   DVDBFSA   OH      Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY118826   1999   FRUHF   1JJV281F3XF540524   DVDBFSA   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119099   1999   FRUHF   1JJV281F5XF540797   DVDBFSA   CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119147   1999   FRUHF   1JJV281F1XF540845   DVDBFSA   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119179   1999   FRUHF   1JJV281F3XF540877   DVDBFSA   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119312   1999   FRUHF   1JJV281FXXF541010   DVDBFSA   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119316   1999   FRUHF   1JJV281F7XF541014   DVDBFSA   SC      Florence
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119367   1999   FRUHF   1JJV281F2XF541065   DVDBFSA   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119394   1999   FRUHF   1JJV281F5XF541092   DVDBFSA   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119397   1999   FRUHF   1JJV281F0XF541095   DVDBFSA   MS      Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119405   1999   FRUHF   1JJV281F6XF541103   DVDBFSA   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119546   1999   FRUHF   1JJV281F2XF541244   DVDBFSA   GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119571   1999   FRUHF   1JJV281F7XF541269   DVDBFSA   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119627   1999   FRUHF   1JJV281W3XL556188   DVDBHPC   CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119664   1999   FRUHF   1JJV281W5XL556225   DVDBHPC   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119753   1999   FRUHF   1JJV281F8XF625469   DVDBFSA   MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119839   1999   FRUHF   1JJV281F1XF625555   DVDBFSA   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119848   1999   FRUHF   1JJV281F2XF625564   DVDBFSA   GA      La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119927   1999   FRUHF   1JJV281F9XF625643   DVDBFSA   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119934   1999   FRUHF   1JJV281F6XF625650   DVDBFSA   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY119976   2000   FRUHF   1JJV281F9YF625692   DVDBFSA   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121101   2000   FRUHF   1JJV281F0YF704247   DVDBFSA   VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121126   2000   FRUHF   1JJV281FXYF704272   DVDBFSA   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121134   2000   FRUHF   1JJV281F9YF704280   DVDBFSA   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121136   2000   FRUHF   1JJV281F2YF704282   DVDBFSA   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121142   2000   FRUHF   1JJV281F3YF704288   DVDBFSA   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121149   2000   FRUHF   1JJV281F0YF704295   DVDBFSA   OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121171   2000   FRUHF   1JJV281F6YF704317   DVDBFSA   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121180   2000   FRUHF   1JJV281F7YF704326   DVDBFSA   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121199   2000   FRUHF   1JJV281F0YF704345   DVDBFSA   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121212   2000   FRUHF   1JJV281F9YF704358   DVDBFSA   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121219   2000   FRUHF   1JJV281F6YF704365   DVDBFSA   WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121229   2000   FRUHF   1JJV281F9YF704375   DVDBFSA   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121235   2000   FRUHF   1JJV281F4YF704381   DVDBFSA   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121240   2000   FRUHF   1JJV281F3YF704386   DVDBFSA   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121254   2000   FRUHF   1JJV281F4YF704400   DVDBFSA   IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121286   2000   FRUHF   1JJV281F6YF704432   DVDBFSA   GA      Martinez
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121287   2000   FRUHF   1JJV281F8YF704433   DVDBFSA   CA      San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121291   2000   FRUHF   1JJV281F5YF704437   DVDBFSA   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121306   2000   FRUHF   1JJV281F1YF704452   DVDBFSA   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121317   2000   FRUHF   1JJV281F6YF704463   DVDBFSA   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121322   2000   FRUHF   1JJV281F5YF704468   DVDBFSA   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121323   2000   FRUHF   1JJV281F7YF704469   DVDBFSA   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121324   2000   FRUHF   1JJV281F3YF704470   DVDBFSA   IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121340   2000   FRUHF   1JJV281F7YF704486   DVDBFSA   CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121349   2000   FRUHF   1JJV281F8YF704495   DVDBFSA   CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 589 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121354   2000   FRUHF   1JJV281F8YF704500   DVDBFSA   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121355   2000   FRUHF   1JJV281FXYF704501   DVDBFSA   CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121373   2000   FRUHF   1JJV281F7YF704519   DVDBFSA   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121377   2000   FRUHF   1JJV281F9YF704523   DVDBFSA   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121395   2000   FRUHF   1JJV281F0YF704541   DVDBFSA   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121397   2000   FRUHF   1JJV281F4YF704543   DVDBFSA   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121406   2000   FRUHF   1JJV281F5YF704552   DVDBFSA   WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121410   2000   FRUHF   1JJV281F2YF704556   DVDBFSA   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121440   2000   FRUHF   1JJV281F0YF704586   DVDBFSA   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121444   2000   FRUHF   1JJV281F2YF704590   DVDBFSA   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121462   2000   FRUHF   1JJV281F6YF704608   DVDBFSA   MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121485   2000   FRUHF   1JJV281F1YF704631   DVDBFSA   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121489   2000   FRUHF   1JJV281F9YF704635   DVDBFSA   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121527   2000   FRUHF   1JJV281F6YF704673   DVDBFSA   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121536   2000   FRUHF   1JJV281F7YF704682   DVDBFSA   CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121569   2000   FRUHF   1JJV281F7YF704715   DVDBFSA   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121571   2000   FRUHF   1JJV281F0YF704717   DVDBFSA   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121572   2000   FRUHF   1JJV281F2YF704718   DVDBFSA   IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121584   2000   FRUHF   1JJV281F3YF704730   DVDBFSA   Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121591   2000   FRUHF   1JJV281F6YF704737   DVDBFSA   FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121605   2000   FRUHF   1JJV281F0YF704751   DVDBFSA   NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121610   2000   FRUHF   1JJV281FXYF704756   DVDBFSA   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121625   2000   FRUHF   1JJV281F6YF704771   DVDBFSA   TN        Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121630   2000   FRUHF   1JJV281F5YF704776   DVDBFSA   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121632   2000   FRUHF   1JJV281F9YF704778   DVDBFSA   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121639   2000   FRUHF   1JJV281F6YF704785   DVDBFSA   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121648   2000   FRUHF   1JJV281F7YF704794   DVDBFSA   GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121724   2000   FRUHF   1JJV281F8YF704870   DVDBFSA   GA        Martinez
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121743   2000   FRUHF   1JJV281F7YF704889   DVDBFSA   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121748   2000   FRUHF   1JJV281F0YF704894   DVDBFSA   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121754   2000   FRUHF   1JJV281F2YF704900   DVDBFSA   IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121778   2000   FRUHF   1JJV281F5YF704924   DVDBFSA   CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121799   2001   WABSH   1JJV281W71F730821   NONE      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121801   2001   WABSH   1JJV281W01F730823   NONE      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121809   2001   WABSH   1JJV281WX1F730831   NONE      CA        Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121810   2001   WABSH   1JJV281W11F730832   NONE      MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121816   2001   WABSH   1JJV281W21F730838   NONE      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121820   2001   WABSH   1JJV281W41F730842   NONE      TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121844   2001   WABSH   1JJV281W71F730866   NONE      OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121875   2001   WABSH   1JJV281W71F730897   NONE      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121879   2001   WABSH   1JJV281W51F730901   NONE      VA        Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121883   2001   WABSH   1JJV281W21F730905   NONE      CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121886   2001   WABSH   1JJV281W81F730908   NONE      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121887   2001   WABSH   1JJV281WX1F730909   NONE      IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121901   2001   WABSH   1JJV281W41F730923   NONE      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121923   2001   WABSH   1JJV281W31F730945   NONE      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121925   2001   WABSH   1JJV281W71F730947   NONE      NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121933   2001   WABSH   1JJV281W61F730955   NONE      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121937   2001   WABSH   1JJV281W31F730959   NONE      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121939   2001   WABSH   1JJV281W11F730961   NONE      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121942   2001   WABSH   1JJV281W71F730964   NONE      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121946   2001   WABSH   1JJV281W41F730968   NONE      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121962   2001   WABSH   1JJV281W21F730984   NONE      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121980   2001   WABSH   1JJV281W91F731002   NONE      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY121983   2001   WABSH   1JJV281W41F731005   NONE      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122017   2001   WABSH   1JJV281WX1F731039   NONE      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122036   2001   WABSH   1JJV281W31F731058   NONE      TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122040   2001   WABSH   1JJV281W51F731062   NONE      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122046   2001   WABSH   1JJV281W61F731068   NONE      OH        North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122062   2001   WABSH   1JJV281W41F731084   NONE      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122148   2001   WABSH   1JJV281W81F731170   NONE      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122314   2001   WABSH   1JJV281W51F731336   NONE      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122323   2001   WABSH   1JJV281W61F731345   NONE      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122330   2001   WABSH   1JJV281W31F731352   NONE      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122367   2001   WABSH   1JJV281W41F731389   NONE      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122381   2001   WABSH   1JJV281W51F731403   NONE      TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122393   2001   WABSH   1JJV281W11F731415   NONE      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122413   2001   WABSH   1JJV281W71F731435   NONE      PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122432   2001   WABSH   1JJV281W01F731454   NONE      NY        Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 590 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122434   2001   WABSH   1JJV281W41F731456   NONE      OR               Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122467   2001   WABSH   1JJV281W81F731489   NONE      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122580   2001   WABSH   1JJV281W81F739060   NONE      TX               Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122648   2001   WABSH   1JJV281W51F739128   NONE      IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122681   2001   WABSH   1JJV281W31F739161   NONE      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122692   2001   WABSH   1JJV281W81F739172   NONE      MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122705   2001   WABSH   1JJV281W61F739185   NONE      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122710   2001   WABSH   1JJV281WX1F739190   NONE      MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122713   2001   WABSH   1JJV281W51F739193   NONE      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122741   2001   WABSH   1JJV281W61F739221   NONE      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122752   2001   WABSH   1JJV281W01F739232   NONE      NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122779   2001   FRUHF   1JJV281F01F770125   NONE      UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122789   2001   FRUHF   1JJV281F31F770135   NONE      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122792   2001   FRUHF   1JJV281F91F770138   NONE      PA               Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122798   2001   FRUHF   1JJV281F41F770144   NONE      TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122802   2001   FRUHF   1JJV281F11F770148   NONE      IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122804   2001   FRUHF   1JJV281FX1F770150   NONE      NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122808   2001   FRUHF   1JJV281F71F770154   NONE      FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122809   2001   FRUHF   1JJV281F91F770155   NONE      British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122811   2001   FRUHF   1JJV281F21F770157   NONE      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122816   2001   FRUHF   1JJV281F61F770162   NONE      OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122824   2001   FRUHF   1JJV281F51F770170   NONE      NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122825   2001   FRUHF   1JJV281F71F770171   NONE      OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122826   2001   FRUHF   1JJV281F91F770172   NONE      MI               Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122827   2001   FRUHF   1JJV281F01F770173   NONE      AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122828   2001   FRUHF   1JJV281F21F770174   NONE      GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122830   2001   FRUHF   1JJV281F61F770176   NONE      OR               Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122832   2001   FRUHF   1JJV281FX1F770178   NONE      TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122835   2001   FRUHF   1JJV281FX1F770181   NONE      OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122836   2001   FRUHF   1JJV281F11F770182   NONE      DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122839   2001   FRUHF   1JJV281F71F770185   NONE      TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122848   2001   FRUHF   1JJV281F81F770194   NONE      OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122851   2001   FRUHF   1JJV281F31F770197   NONE      TX               Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122852   2001   FRUHF   1JJV281F51F770198   NONE      OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122853   2001   FRUHF   1JJV281F71F770199   NONE      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122854   2001   FRUHF   1JJV281FX1F770200   NONE      TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122856   2001   FRUHF   1JJV281F31F770202   NONE      IA               Sioux City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122858   2001   FRUHF   1JJV281F71F770204   NONE      TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122860   2001   FRUHF   1JJV281F01F770206   NONE      AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122861   2001   FRUHF   1JJV281F21F770207   NONE      IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122864   2001   FRUHF   1JJV281F21F770210   NONE      MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122866   2001   FRUHF   1JJV281F61F770212   NONE      OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122867   2001   FRUHF   1JJV281F81F770213   NONE      IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122870   2001   FRUHF   1JJV281F31F770216   NONE      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122871   2001   FRUHF   1JJV281F51F770217   NONE      NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122879   2001   FRUHF   1JJV281F41F770225   NONE      TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122885   2001   FRUHF   1JJV281FX1F770231   NONE      ID               Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122888   2001   FRUHF   1JJV281F51F770234   NONE      GA               Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122889   2001   FRUHF   1JJV281F71F770235   NONE      OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122891   2001   FRUHF   1JJV281F01F770237   NONE      PQ               Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122892   2001   FRUHF   1JJV281F21F770238   NONE      WA               Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122893   2001   FRUHF   1JJV281F41F770239   NONE      WI               Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122895   2001   FRUHF   1JJV281F21F770241   NONE      OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122897   2001   FRUHF   1JJV281F61F770243   NONE      NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122898   2001   FRUHF   1JJV281F81F770244   NONE      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122899   2001   FRUHF   1JJV281FX1F770245   NONE      CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122906   2001   FRUHF   1JJV281F71F770252   NONE      UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122910   2001   FRUHF   1JJV281F41F770256   NONE      TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122917   2001   FRUHF   1JJV281F11F770263   NONE      IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122923   2001   FRUHF   1JJV281F21F770269   NONE      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122925   2001   FRUHF   1JJV281F01F770271   NONE      TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122928   2001   FRUHF   1JJV281F61F770274   NONE      NY               Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122929   2001   FRUHF   1JJV281F81F770275   NONE      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122930   2001   FRUHF   1JJV281FX1F770276   NONE      MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122937   2001   FRUHF   1JJV281F71F770283   NONE      MI               Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122945   2001   FRUHF   1JJV281F61F770291   NONE      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122949   2001   FRUHF   1JJV281F31F770295   NONE      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122950   2001   FRUHF   1JJV281F51F770296   NONE      OH               Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122955   2001   FRUHF   1JJV281F51F770301   NONE      OH               Richfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 591 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122959   2001   FRUHF   1JJV281F21F770305   NONE      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122964   2001   FRUHF   1JJV281F61F770310   NONE      ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122969   2001   FRUHF   1JJV281F51F770315   NONE      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122972   2001   FRUHF   1JJV281F01F770318   NONE      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122974   2001   FRUHF   1JJV281F91F770320   NONE      IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122976   2001   FRUHF   1JJV281F21F770322   NONE      MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122982   2001   FRUHF   1JJV281F31F770328   NONE      IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122983   2001   FRUHF   1JJV281F51F770329   NONE      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122985   2001   FRUHF   1JJV281F31F770331   NONE      LA      Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122991   2001   FRUHF   1JJV281F41F770337   NONE      NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122996   2001   FRUHF   1JJV281F81F770342   NONE      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY122997   2001   FRUHF   1JJV281FX1F770343   NONE      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123000   2001   FRUHF   1JJV281F51F770346   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123004   2001   FRUHF   1JJV281F71F770350   NONE      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123007   2001   FRUHF   1JJV281F21F770353   NONE      MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123011   2001   FRUHF   1JJV281FX1F770357   NONE      MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123024   2001   FRUHF   1JJV281F21F770370   NONE      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123026   2001   FRUHF   1JJV281F61F770372   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123029   2001   FRUHF   1JJV281F11F770375   NONE      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123031   2001   FRUHF   1JJV281F51F770377   NONE      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123035   2001   FRUHF   1JJV281F71F770381   NONE      NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123036   2001   FRUHF   1JJV281F91F770382   NONE      MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123037   2001   FRUHF   1JJV281F01F770383   NONE      MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123038   2001   FRUHF   1JJV281F21F770384   NONE      PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123052   2001   FRUHF   1JJV281F21F770398   NONE      OH      North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123054   2001   FRUHF   1JJV281F71F770400   NONE      NJ      Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123061   2001   FRUHF   1JJV281FX1F770407   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123064   2001   FRUHF   1JJV281FX1F770410   NONE      IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123068   2001   FRUHF   1JJV281F71F770414   NONE      MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123073   2001   FRUHF   1JJV281F61F770419   NONE      CA      Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123077   2001   FRUHF   1JJV281F81F770423   NONE      KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123081   2001   FRUHF   1JJV281F51F770427   NONE      MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123084   2001   FRUHF   1JJV281F51F770430   NONE      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123085   2001   FRUHF   1JJV281F71F770431   NONE      WV      Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123086   2001   FRUHF   1JJV281F91F770432   NONE      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123088   2001   FRUHF   1JJV281F21F770434   NONE      IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123092   2001   FRUHF   1JJV281FX1F770438   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123095   2001   FRUHF   1JJV281FX1F770441   NONE      OH      North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123100   2001   FRUHF   1JJV281F91F770446   NONE      CO      Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123102   2001   FRUHF   1JJV281F21F770448   NONE      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123105   2001   FRUHF   1JJV281F21F770451   NONE      OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123115   2001   FRUHF   1JJV281F51F770461   NONE      AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123120   2001   FRUHF   1JJV281F41F770466   NONE      PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123122   2001   FRUHF   1JJV281F81F770468   NONE      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123123   2001   FRUHF   1JJV281FX1F770469   NONE      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123124   2001   FRUHF   1JJV281F61F770470   NONE      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123127   2001   FRUHF   1JJV281F11F770473   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123133   2001   FRUHF   1JJV281F21F770479   NONE      WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123135   2001   FRUHF   1JJV281F01F770481   NONE      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123136   2001   FRUHF   1JJV281F21F770482   NONE      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123138   2001   FRUHF   1JJV281F61F770484   NONE      MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123140   2001   FRUHF   1JJV281FX1F770486   NONE      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123142   2001   FRUHF   1JJV281F31F770488   NONE      TN      Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123143   2001   FRUHF   1JJV281F51F770489   NONE      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123147   2001   FRUHF   1JJV281F71F770493   NONE      MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123149   2001   FRUHF   1JJV281F01F770495   NONE      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123156   2001   FRUHF   1JJV281F41F770502   NONE      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123159   2001   FRUHF   1JJV281FX1F770505   NONE      OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123162   2001   FRUHF   1JJV281F51F770508   NONE      CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123164   2001   FRUHF   1JJV281F31F770510   NONE      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123167   2001   FRUHF   1JJV281F91F770513   NONE      OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123172   2001   FRUHF   1JJV281F81F770518   NONE      AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123179   2001   FRUHF   1JJV281F51F770525   NONE      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123182   2001   FRUHF   1JJV281F01F770528   NONE      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123187   2001   FRUHF   1JJV281F41F770533   NONE      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123191   2001   FRUHF   1JJV281F11F770537   NONE      OK      Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123193   2001   FRUHF   1JJV281F51F770539   NONE      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123194   2001   FRUHF   1JJV281F11F770540   NONE      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123196   2001   FRUHF   1JJV281F51F770542   NONE      NY      East Syracuse
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 592 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123200   2001   FRUHF   1JJV281F21F770546   NONE      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123202   2001   FRUHF   1JJV281F61F770548   NONE      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123204   2001   FRUHF   1JJV281F41F770550   NONE      FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123211   2001   FRUHF   1JJV281F71F770557   NONE      TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123212   2001   FRUHF   1JJV281F91F770558   NONE      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123213   2001   FRUHF   1JJV281F01F770559   NONE      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123215   2001   FRUHF   1JJV281F91F770561   NONE      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123220   2001   FRUHF   1JJV281F81F770566   NONE      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123221   2001   FRUHF   1JJV281FX1F770567   NONE      NC        Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123222   2001   FRUHF   1JJV281F11F770568   NONE      OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123223   2001   FRUHF   1JJV281F31F770569   NONE      WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123225   2001   FRUHF   1JJV281F11F770571   NONE      MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123226   2001   FRUHF   1JJV281F31F770572   NONE      MI        Gaylord
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123227   2001   FRUHF   1JJV281F51F770573   NONE      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123231   2001   FRUHF   1JJV281F21F770577   NONE      GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123234   2001   FRUHF   1JJV281F21F770580   NONE      MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123236   2001   FRUHF   1JJV281F61F770582   NONE      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123238   2001   FRUHF   1JJV281FX1F770584   NONE      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123241   2001   FRUHF   1JJV281F51F770587   NONE      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123246   2001   FRUHF   1JJV281F91F770592   NONE      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123254   2001   FRUHF   1JJV281F41F770600   NONE      OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123255   2001   FRUHF   1JJV281F61F770601   NONE      MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123256   2001   FRUHF   1JJV281F81F770602   NONE      Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123257   2001   FRUHF   1JJV281FX1F770603   NONE      AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123259   2001   FRUHF   1JJV281F31F770605   NONE      OH        Gallipolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123262   2001   FRUHF   1JJV281F91F770608   NONE      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123263   2001   FRUHF   1JJV281F01F770609   NONE      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123265   2001   FRUHF   1JJV281F91F770611   NONE      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123268   2001   FRUHF   1JJV281F41F770614   NONE      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123270   2001   FRUHF   1JJV281F81F770616   NONE      NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123272   2001   FRUHF   1JJV281F11F770618   NONE      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123275   2001   FRUHF   1JJV281F11F770621   NONE      VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123283   2001   FRUHF   1JJV281F32F778673   NONE      MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123285   2001   FRUHF   1JJV281F72F778675   NONE      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123288   2001   FRUHF   1JJV281F22F778678   NONE      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123290   2001   FRUHF   1JJV281F02F778680   NONE      MD        Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123297   2001   FRUHF   1JJV281F32F778687   NONE      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123300   2001   FRUHF   1JJV281F32F778690   NONE      CA        Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123302   2001   FRUHF   1JJV281F72F778692   NONE      OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123303   2001   FRUHF   1JJV281F92F778693   NONE      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123304   2001   FRUHF   1JJV281F02F778694   NONE      TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123305   2001   FRUHF   1JJV281F22F778695   NONE      NC        Fayetteville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123311   2001   FRUHF   1JJV281F42F778701   NONE      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123315   2001   FRUHF   1JJV281F12F778705   NONE      OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123325   2001   FRUHF   1JJV281F42F778715   NONE      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123326   2001   FRUHF   1JJV281F62F778716   NONE      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123328   2001   FRUHF   1JJV281FX2F778718   NONE      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123332   2001   FRUHF   1JJV281F12F778722   NONE      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123333   2001   FRUHF   1JJV281F32F778723   NONE      TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123334   2001   FRUHF   1JJV281F52F778724   NONE      PA        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123335   2001   FRUHF   1JJV281F72F778725   NONE      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123337   2001   FRUHF   1JJV281F02F778727   NONE      CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123338   2001   FRUHF   1JJV281F22F778728   NONE      NJ        Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123339   2001   FRUHF   1JJV281F42F778729   NONE      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123341   2001   FRUHF   1JJV281F22F778731   NONE      DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123342   2001   FRUHF   1JJV281F42F778732   NONE      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123344   2001   FRUHF   1JJV281F82F778734   NONE      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123345   2001   FRUHF   1JJV281FX2F778735   NONE      OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123350   2001   FRUHF   1JJV281F32F778740   NONE      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123351   2001   FRUHF   1JJV281F52F778741   NONE      OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123357   2001   FRUHF   1JJV281F62F778747   NONE      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123360   2001   FRUHF   1JJV281F62F778750   NONE      CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123367   2001   FRUHF   1JJV281F92F778757   NONE      GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123368   2001   FRUHF   1JJV281F02F778758   NONE      FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123369   2001   FRUHF   1JJV281F22F778759   NONE      CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123376   2001   FRUHF   1JJV281FX2F778766   NONE      NY        Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123381   2001   FRUHF   1JJV281F32F778771   NONE      MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123384   2001   FRUHF   1JJV281F92F778774   NONE      OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123385   2001   FRUHF   1JJV281F02F778775   NONE      TN        Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 593 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123386   2001   FRUHF   1JJV281F22F778776   NONE      NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123387   2001   FRUHF   1JJV281F42F778777   NONE      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123388   2001   FRUHF   1JJV281F62F778778   NONE      PQ               Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123390   2001   FRUHF   1JJV281F42F778780   NONE      IL               Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123391   2001   FRUHF   1JJV281F62F778781   NONE      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123392   2001   FRUHF   1JJV281F82F778782   NONE      TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123395   2001   FRUHF   1JJV281F32F778785   NONE      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123396   2001   FRUHF   1JJV281F52F778786   NONE      TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123398   2001   FRUHF   1JJV281F92F778788   NONE      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123400   2001   FRUHF   1JJV281F72F778790   NONE      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123404   2001   FRUHF   1JJV281F42F778794   NONE      IL               Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123406   2001   FRUHF   1JJV281F82F778796   NONE      OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123409   2001   FRUHF   1JJV281F32F778799   NONE      IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123410   2001   FRUHF   1JJV281F62F778800   NONE      CA               San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123411   2001   FRUHF   1JJV281F82F778801   NONE      CA               San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123413   2001   FRUHF   1JJV281F12F778803   NONE      NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123417   2001   FRUHF   1JJV281F92F778807   NONE      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123418   2001   FRUHF   1JJV281F02F778808   NONE      AZ               Nogales
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123419   2001   FRUHF   1JJV281F22F778809   NONE      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123426   2001   FRUHF   1JJV281FX2F778816   NONE      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123427   2001   FRUHF   1JJV281F12F778817   NONE      MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123429   2001   FRUHF   1JJV281F52F778819   NONE      IN               Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123430   2001   FRUHF   1JJV281F12F778820   NONE      IL               McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123431   2001   FRUHF   1JJV281F32F778821   NONE      British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123432   2001   FRUHF   1JJV281F52F778822   NONE      IN               Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123433   2001   FRUHF   1JJV281F72F778823   NONE      MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123435   2001   FRUHF   1JJV281F02F778825   NONE      UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123436   2001   FRUHF   1JJV281F22F778826   NONE      IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123437   2001   FRUHF   1JJV281F42F778827   NONE      NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123440   2001   FRUHF   1JJV281F42F778830   NONE      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123441   2001   FRUHF   1JJV281F62F778831   NONE      NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123444   2001   FRUHF   1JJV281F12F778834   NONE      NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123445   2001   FRUHF   1JJV281F32F778835   NONE      UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123449   2001   FRUHF   1JJV281F02F778839   NONE      SC               Florence
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123459   2001   FRUHF   1JJV281F32F778849   NONE      DE               Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123462   2001   FRUHF   1JJV281F32F778852   NONE      CA               Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123466   2001   FRUHF   1JJV281F02F778856   NONE      MI               Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123469   2001   FRUHF   1JJV281F62F778859   NONE      NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123472   2001   FRUHF   1JJV281F62F778862   NONE      TX               El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123474   2001   FRUHF   1JJV281FX2F778864   NONE      PA               Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123481   2001   FRUHF   1JJV281F72F778871   NONE      OH               Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123485   2001   FRUHF   1JJV281F42F778875   NONE      MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123492   2001   FRUHF   1JJV281F12F778882   NONE      NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123494   2001   FRUHF   1JJV281F52F778884   NONE      OH               Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123498   2001   FRUHF   1JJV281F22F778888   NONE      OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123502   2001   FRUHF   1JJV281F42F778892   NONE      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123505   2001   FRUHF   1JJV281FX2F778895   NONE      CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123509   2001   FRUHF   1JJV281F72F778899   NONE      TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123514   2001   FRUHF   1JJV281F72F778904   NONE      AL               Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123520   2001   FRUHF   1JJV281F22F778910   NONE      GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123522   2001   FRUHF   1JJV281F62F778912   NONE      MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123523   2001   FRUHF   1JJV281F82F778913   NONE      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123524   2001   FRUHF   1JJV281FX2F778914   NONE      MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123531   2001   FRUHF   1JJV281F72F778921   NONE      GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123532   2001   FRUHF   1JJV281F92F778922   NONE      AR               Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123540   2001   FRUHF   1JJV281F82F778930   NONE      OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123542   2001   FRUHF   1JJV281F12F778932   NONE      IA               Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123543   2001   FRUHF   1JJV281F32F778933   NONE      OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123544   2001   FRUHF   1JJV281F52F778934   NONE      TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123545   2001   FRUHF   1JJV281F72F778935   NONE      NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123546   2001   FRUHF   1JJV281F92F778936   NONE      NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123549   2001   FRUHF   1JJV281F42F778939   NONE      NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123554   2001   FRUHF   1JJV281F82F778944   NONE      CA               San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123556   2001   FRUHF   1JJV281F12F778946   NONE      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123558   2001   FRUHF   1JJV281F52F778948   NONE      NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123559   2001   FRUHF   1JJV281F72F778949   NONE      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123560   2001   FRUHF   1JJV281F32F778950   NONE      GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123562   2001   FRUHF   1JJV281F72F778952   NONE      TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123566   2001   FRUHF   1JJV281F42F778956   NONE      GA               Ellenwood
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 594 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123567   2001   FRUHF   1JJV281F62F778957   NONE      FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123572   2001   FRUHF   1JJV281FX2F778962   NONE      MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123573   2001   FRUHF   1JJV281F12F778963   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123574   2001   FRUHF   1JJV281F32F778964   NONE      TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123579   2001   FRUHF   1JJV281F22F778969   NONE      GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123580   2001   FRUHF   1JJV281F92F778970   NONE      PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123581   2001   FRUHF   1JJV281F02F778971   NONE      MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123585   2001   FRUHF   1JJV281F82F778975   NONE      OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123589   2001   FRUHF   1JJV281F52F778979   NONE      MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123591   2001   FRUHF   1JJV281F32F778981   NONE      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123592   2001   FRUHF   1JJV281F52F778982   NONE      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123596   2001   FRUHF   1JJV281F22F778986   NONE      IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123598   2001   FRUHF   1JJV281F62F778988   NONE      KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123599   2001   FRUHF   1JJV281F82F778989   NONE      CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123600   2001   FRUHF   1JJV281F42F778990   NONE      OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123601   2001   FRUHF   1JJV281F62F778991   NONE      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123602   2001   FRUHF   1JJV281F82F778992   NONE      CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123603   2001   FRUHF   1JJV281FX2F778993   NONE      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123604   2001   FRUHF   1JJV281F12F778994   NONE      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123606   2001   FRUHF   1JJV281F52F778996   NONE      MD      Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123609   2001   FRUHF   1JJV281F02F778999   NONE      SC      West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123613   2001   FRUHF   1JJV281F72F779003   NONE      NY      Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123626   2001   FRUHF   1JJV281F52F779016   NONE      CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123630   2001   FRUHF   1JJV281F72F779020   NONE      NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123632   2001   FRUHF   1JJV281F02F779022   NONE      MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123635   2001   FRUHF   1JJV281F62F779025   NONE      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123636   2001   FRUHF   1JJV281F82F779026   NONE      OR      Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123640   2001   FRUHF   1JJV281FX2F779030   NONE      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123648   2001   FRUHF   1JJV281F42F779038   NONE      GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123649   2001   FRUHF   1JJV281F62F779039   NONE      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123650   2001   FRUHF   1JJV281F22F779040   NONE      IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123652   2001   FRUHF   1JJV281F62F779042   NONE      WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123654   2001   FRUHF   1JJV281FX2F779044   NONE      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123655   2001   FRUHF   1JJV281F12F779045   NONE      OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123661   2001   FRUHF   1JJV281F72F779051   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123662   2001   FRUHF   1JJV281F92F779052   NONE      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123664   2001   FRUHF   1JJV281F22F779054   NONE      UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123666   2001   FRUHF   1JJV281F62F779056   NONE      PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123668   2001   FRUHF   1JJV281FX2F779058   NONE      UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123672   2001   FRUHF   1JJV281F12F779062   NONE      OK      Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123673   2001   FRUHF   1JJV281F32F779063   NONE      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123676   2001   FRUHF   1JJV281F92F779066   NONE      MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123686   2001   FRUHF   1JJV281F12F779076   NONE      OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123693   2001   FRUHF   1JJV281F92F779083   NONE      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123695   2001   FRUHF   1JJV281F22F779085   NONE      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123697   2001   FRUHF   1JJV281F62F779087   NONE      MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123698   2001   FRUHF   1JJV281F82F779088   NONE      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123699   2001   FRUHF   1JJV281FX2F779089   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123700   2001   FRUHF   1JJV281F62F779090   NONE      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123701   2001   FRUHF   1JJV281F82F779091   NONE      KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123702   2001   FRUHF   1JJV281FX2F779092   NONE      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123703   2001   FRUHF   1JJV281F12F779093   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123710   2001   FRUHF   1JJV281F52F779100   NONE      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123716   2001   FRUHF   1JJV281F62F779106   NONE      MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123719   2001   FRUHF   1JJV281F12F779109   NONE      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123720   2001   FRUHF   1JJV281F82F779110   NONE      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123724   2001   FRUHF   1JJV281F52F779114   NONE      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123730   2001   FRUHF   1JJV281F02F779120   NONE      KS      Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123736   2001   FRUHF   1JJV281F12F779126   NONE      TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123739   2001   FRUHF   1JJV281F72F779129   NONE      IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123740   2001   FRUHF   1JJV281F32F779130   NONE      PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123744   2001   FRUHF   1JJV281F02F779134   NONE      TN      Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123745   2001   FRUHF   1JJV281F22F779135   NONE      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123746   2001   FRUHF   1JJV281F42F779136   NONE      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123756   2001   FRUHF   1JJV281F72F779146   NONE      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123757   2001   FRUHF   1JJV281F92F779147   NONE      AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123758   2001   FRUHF   1JJV281F02F779148   NONE      MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123760   2001   FRUHF   1JJV281F92F779150   NONE      OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123765   2001   FRUHF   1JJV281F82F779155   NONE      UT      Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 595 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123768   2001   FRUHF   1JJV281F32F779158   NONE       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123769   2001   FRUHF   1JJV281F52F779159   NONE       NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123772   2001   FRUHF   1JJV281F52F779162   NONE       MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123775   2001   FRUHF   1JJV281F02F779165   NONE       MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123776   2001   FRUHF   1JJV281F22F779166   NONE       CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123777   2001   FRUHF   1JJV281F42F779167   NONE       NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123779   2003   GRTDN   1GRAA56193K246493   P‐SERIES   VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123780   2003   GRTDN   1GRAA56103K246494   P‐SERIES   CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123783   2003   GRTDN   1GRAA56163K246497   P‐SERIES   CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123784   2003   GRTDN   1GRAA56183K246498   P‐SERIES   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123786   2003   GRTDN   1GRAA56123K246500   P‐SERIES   VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123787   2003   GRTDN   1GRAA56143K246501   P‐SERIES   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123791   2003   GRTDN   1GRAA56113K246505   P‐SERIES   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123792   2003   GRTDN   1GRAA56133K246506   P‐SERIES   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123796   2003   GRTDN   1GRAA56153K246510   P‐SERIES   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123799   2003   GRTDN   1GRAA56103K246513   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123801   2003   GRTDN   1GRAA56143K246515   P‐SERIES   WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123802   2003   GRTDN   1GRAA56163K246516   P‐SERIES   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123804   2003   GRTDN   1GRAA561X3K246518   P‐SERIES   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123809   2003   GRTDN   1GRAA56133K246523   P‐SERIES   Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123810   2003   GRTDN   1GRAA56153K246524   P‐SERIES   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123811   2003   GRTDN   1GRAA56173K246525   P‐SERIES   FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123812   2003   GRTDN   1GRAA56193K246526   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123814   2003   GRTDN   1GRAA56123K246528   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123816   2003   GRTDN   1GRAA56103K246530   P‐SERIES   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123819   2003   GRTDN   1GRAA56163K246533   P‐SERIES   IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123822   2003   GRTDN   1GRAA56113K246536   P‐SERIES   ND        Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123823   2003   GRTDN   1GRAA56133K246537   P‐SERIES   MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123824   2003   GRTDN   1GRAA56153K246538   P‐SERIES   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123825   2003   GRTDN   1GRAA56173K246539   P‐SERIES   IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123829   2003   GRTDN   1GRAA56193K246543   P‐SERIES   WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123830   2003   GRTDN   1GRAA56103K246544   P‐SERIES   TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123832   2003   GRTDN   1GRAA56143K246546   P‐SERIES   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123834   2003   GRTDN   1GRAA56183K246548   P‐SERIES   IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123835   2003   GRTDN   1GRAA561X3K246549   P‐SERIES   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123836   2003   GRTDN   1GRAA56163K246550   P‐SERIES   IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123838   2003   GRTDN   1GRAA561X3K246552   P‐SERIES   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123839   2003   GRTDN   1GRAA56113K246553   P‐SERIES   GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123840   2003   GRTDN   1GRAA56133K246554   P‐SERIES   KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123842   2003   GRTDN   1GRAA56173K246556   P‐SERIES   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123843   2003   GRTDN   1GRAA56193K246557   P‐SERIES   VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123845   2003   GRTDN   1GRAA56123K246559   P‐SERIES   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123847   2003   GRTDN   1GRAA56103K246561   P‐SERIES   CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123849   2003   GRTDN   1GRAA56143K246563   P‐SERIES   IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123850   2003   GRTDN   1GRAA56163K246564   P‐SERIES   IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123851   2003   GRTDN   1GRAA56183K246565   P‐SERIES   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123852   2003   GRTDN   1GRAA561X3K246566   P‐SERIES   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123853   2003   GRTDN   1GRAA56113K246567   P‐SERIES   OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123854   2003   GRTDN   1GRAA56133K246568   P‐SERIES   CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123855   2003   GRTDN   1GRAA56153K246569   P‐SERIES   FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123857   2003   GRTDN   1GRAA56133K246571   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123861   2003   GRTDN   1GRAA56103K246575   P‐SERIES   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123862   2003   GRTDN   1GRAA56123K246576   P‐SERIES   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123864   2003   GRTDN   1GRAA56163K246578   P‐SERIES   FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123865   2003   GRTDN   1GRAA56183K246579   P‐SERIES   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123867   2003   GRTDN   1GRAA56163K246581   P‐SERIES   IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123868   2003   GRTDN   1GRAA56183K246582   P‐SERIES   GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123869   2003   GRTDN   1GRAA561X3K246583   P‐SERIES   OH        Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123872   2003   GRTDN   1GRAA56153K246586   P‐SERIES   GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123873   2003   GRTDN   1GRAA56173K246587   P‐SERIES   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123874   2003   GRTDN   1GRAA56193K246588   P‐SERIES   WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123878   2003   GRTDN   1GRAA56103K246592   P‐SERIES   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123879   2003   GRTDN   1GRAA56123K246593   P‐SERIES   OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123881   2003   GRTDN   1GRAA56163K246595   P‐SERIES   TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123883   2003   GRTDN   1GRAA561X3K246597   P‐SERIES   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123884   2003   GRTDN   1GRAA56113K246598   P‐SERIES   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123885   2003   GRTDN   1GRAA56133K246599   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123886   2003   GRTDN   1GRAA56163K246600   P‐SERIES   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123891   2003   GRTDN   1GRAA56153K246605   P‐SERIES   NY        Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 596 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123895   2003   GRTDN   1GRAA56123K246609   P‐SERIES   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123896   2003   GRTDN   1GRAA56193K246610   P‐SERIES   FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123897   2003   GRTDN   1GRAA56103K246611   P‐SERIES   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123898   2003   GRTDN   1GRAA56123K246612   P‐SERIES   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123901   2003   GRTDN   1GRAA56183K246615   P‐SERIES   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123904   2003   GRTDN   1GRAA56133K246618   P‐SERIES   WA      Bellingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123905   2003   GRTDN   1GRAA56153K246619   P‐SERIES   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123906   2003   GRTDN   1GRAA56113K246620   P‐SERIES   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123909   2003   GRTDN   1GRAA56173K246623   P‐SERIES   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123911   2003   GRTDN   1GRAA56103K246625   P‐SERIES   NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123913   2003   GRTDN   1GRAA56143K246627   P‐SERIES   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123915   2003   GRTDN   1GRAA56183K246629   P‐SERIES   NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123917   2003   GRTDN   1GRAA56163K246631   P‐SERIES   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123918   2003   GRTDN   1GRAA56183K246632   P‐SERIES   SC      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123919   2003   GRTDN   1GRAA561X3K246633   P‐SERIES   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123922   2003   GRTDN   1GRAA56153K246636   P‐SERIES   OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123923   2003   GRTDN   1GRAA56173K246637   P‐SERIES   FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123929   2003   GRTDN   1GRAA56123K246643   P‐SERIES   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123932   2003   GRTDN   1GRAA56183K246646   P‐SERIES   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123933   2003   GRTDN   1GRAA561X3K246647   P‐SERIES   AZ      Tucson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123935   2003   GRTDN   1GRAA56133K246649   P‐SERIES   CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123937   2003   GRTDN   1GRAA56113K246651   P‐SERIES   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123939   2003   GRTDN   1GRAA56153K246653   P‐SERIES   NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123940   2003   GRTDN   1GRAA56173K246654   P‐SERIES   MO      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123942   2003   GRTDN   1GRAA56103K246656   P‐SERIES   VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123943   2003   GRTDN   1GRAA56123K246657   P‐SERIES   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123945   2003   GRTDN   1GRAA56163K246659   P‐SERIES   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123946   2003   GRTDN   1GRAA56123K246660   P‐SERIES   MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123948   2003   GRTDN   1GRAA56163K246662   P‐SERIES   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123950   2003   GRTDN   1GRAA561X3K246664   P‐SERIES   GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123952   2003   GRTDN   1GRAA56133K246666   P‐SERIES   FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123955   2003   GRTDN   1GRAA56193K246669   P‐SERIES   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123957   2003   GRTDN   1GRAA56173K246671   P‐SERIES   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123959   2003   GRTDN   1GRAA56103K246673   P‐SERIES   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123961   2003   GRTDN   1GRAA56143K246675   P‐SERIES   NY      Williamsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123962   2003   GRTDN   1GRAA56163K246676   P‐SERIES   VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123964   2003   GRTDN   1GRAA561X3K246678   P‐SERIES   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123967   2003   GRTDN   1GRAA561X3K246681   P‐SERIES   AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123970   2003   GRTDN   1GRAA56153K246684   P‐SERIES   NJ      Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123974   2003   GRTDN   1GRAA56123K246688   P‐SERIES   CA      San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123975   2003   GRTDN   1GRAA56143K246689   P‐SERIES   AR      Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123978   2003   GRTDN   1GRAA56143K246692   P‐SERIES   IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123981   2003   GRTDN   1GRAA561X3K246695   P‐SERIES   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123983   2003   GRTDN   1GRAA56133K246697   P‐SERIES   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123985   2003   GRTDN   1GRAA56173K246699   P‐SERIES   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123988   2003   GRTDN   1GRAA56133K246702   P‐SERIES   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123989   2003   GRTDN   1GRAA56153K246703   P‐SERIES   IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123990   2003   GRTDN   1GRAA56173K246704   P‐SERIES   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123992   2003   GRTDN   1GRAA56103K246706   P‐SERIES   MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123996   2003   GRTDN   1GRAA56123K246710   P‐SERIES   IL      Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY123997   2003   GRTDN   1GRAA56143K246711   P‐SERIES   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124000   2003   GRTDN   1GRAA561X3K246714   P‐SERIES   CA      Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124001   2003   GRTDN   1GRAA56113K246715   P‐SERIES   OH      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124004   2003   GRTDN   1GRAA56173K246718   P‐SERIES   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124008   2003   GRTDN   1GRAA56193K246722   P‐SERIES   GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124010   2003   GRTDN   1GRAA56123K246724   P‐SERIES   WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124011   2003   GRTDN   1GRAA56143K246725   P‐SERIES   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124015   2003   GRTDN   1GRAA56113K246729   P‐SERIES   CA      Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124018   2003   GRTDN   1GRAA56113K246732   P‐SERIES   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124020   2003   GRTDN   1GRAA56153K246734   P‐SERIES   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124021   2003   GRTDN   1GRAA56173K246735   P‐SERIES   VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124024   2003   GRTDN   1GRAA56123K246738   P‐SERIES   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124027   2003   GRTDN   1GRAA56123K246741   P‐SERIES   LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124030   2003   GRTDN   1GRAA56183K246744   P‐SERIES   NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124031   2003   GRTDN   1GRAA561X3K246745   P‐SERIES   OR      Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124033   2003   GRTDN   1GRAA56133K246747   P‐SERIES   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124034   2003   GRTDN   1GRAA56153K246748   P‐SERIES   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124037   2003   GRTDN   1GRAA56153K246751   P‐SERIES   TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124039   2003   GRTDN   1GRAA56193K246753   P‐SERIES   NJ      South Plainfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 597 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124040   2003   GRTDN   1GRAA56103K246754   P‐SERIES   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124041   2003   GRTDN   1GRAA56123K246755   P‐SERIES   WV      Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124045   2003   GRTDN   1GRAA561X3K246759   P‐SERIES   KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124052   2003   GRTDN   1GRAA56173K246766   P‐SERIES   AZ      Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124054   2003   GRTDN   1GRAA56103K246768   P‐SERIES   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124055   2003   GRTDN   1GRAA56123K246769   P‐SERIES   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124057   2003   GRTDN   1GRAA56103K246771   P‐SERIES   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124058   2003   GRTDN   1GRAA56123K246772   P‐SERIES   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124059   2003   GRTDN   1GRAA56143K246773   P‐SERIES   TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124060   2003   GRTDN   1GRAA56163K246774   P‐SERIES   CA      Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124061   2003   GRTDN   1GRAA56183K246775   P‐SERIES   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124064   2003   GRTDN   1GRAA56133K246778   P‐SERIES   OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124065   2003   GRTDN   1GRAA56153K246779   P‐SERIES   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124069   2003   GRTDN   1GRAA56173K246783   P‐SERIES   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124072   2003   GRTDN   1GRAA56123K246786   P‐SERIES   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124073   2003   GRTDN   1GRAA56143K246787   P‐SERIES   NJ      Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124074   2003   GRTDN   1GRAA56163K246788   P‐SERIES   NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124075   2003   GRTDN   1GRAA56183K246789   P‐SERIES   GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124077   2003   GRTDN   1GRAA56163K246791   P‐SERIES   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124078   2003   GRTDN   1GRAA56183K246792   P‐SERIES   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124079   2003   GRTDN   1GRAA561X3K246793   P‐SERIES   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124080   2003   GRTDN   1GRAA56113K246794   P‐SERIES   WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124081   2003   GRTDN   1GRAA56133K246795   P‐SERIES   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124082   2003   GRTDN   1GRAA56153K246796   P‐SERIES   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124083   2003   GRTDN   1GRAA56173K246797   P‐SERIES   CO      Grand Junction
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124085   2003   GRTDN   1GRAA56103K246799   P‐SERIES   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124088   2003   GRTDN   1GRAA56173K246802   P‐SERIES   NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124089   2003   GRTDN   1GRAA56193K246803   P‐SERIES   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124090   2003   GRTDN   1GRAA56103K246804   P‐SERIES   ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124093   2003   GRTDN   1GRAA56163K246807   P‐SERIES   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124096   2003   GRTDN   1GRAA56163K246810   P‐SERIES   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124099   2003   GRTDN   1GRAA56113K246813   P‐SERIES   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124101   2003   GRTDN   1GRAA56153K246815   P‐SERIES   TX      Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124102   2003   GRTDN   1GRAA56173K246816   P‐SERIES   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124104   2003   GRTDN   1GRAA56103K246818   P‐SERIES   IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124105   2003   GRTDN   1GRAA56123K246819   P‐SERIES   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124106   2003   GRTDN   1GRAA56193K246820   P‐SERIES   TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124108   2003   GRTDN   1GRAA56123K246822   P‐SERIES   IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124109   2003   GRTDN   1GRAA56143K246823   P‐SERIES   IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124114   2003   GRTDN   1GRAA56133K246828   P‐SERIES   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124115   2003   GRTDN   1GRAA56153K246829   P‐SERIES   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124116   2003   GRTDN   1GRAA56113K246830   P‐SERIES   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124117   2003   GRTDN   1GRAA56133K246831   P‐SERIES   PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124118   2003   GRTDN   1GRAA56153K246832   P‐SERIES   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124121   2003   GRTDN   1GRAA56103K246835   P‐SERIES   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124122   2003   GRTDN   1GRAA56123K246836   P‐SERIES   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124123   2003   GRTDN   1GRAA56143K246837   P‐SERIES   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124124   2003   GRTDN   1GRAA56163K246838   P‐SERIES   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124129   2003   GRTDN   1GRAA561X3K246843   P‐SERIES   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124130   2003   GRTDN   1GRAA56113K246844   P‐SERIES   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124131   2003   GRTDN   1GRAA56133K246845   P‐SERIES   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124132   2003   GRTDN   1GRAA56153K246846   P‐SERIES   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124133   2003   GRTDN   1GRAA56173K246847   P‐SERIES   GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124134   2003   GRTDN   1GRAA56193K246848   P‐SERIES   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124135   2003   GRTDN   1GRAA56103K246849   P‐SERIES   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124136   2003   GRTDN   1GRAA56173K246850   P‐SERIES   IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124139   2003   GRTDN   1GRAA56123K246853   P‐SERIES   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124141   2003   GRTDN   1GRAA56163K246855   P‐SERIES   OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124142   2003   GRTDN   1GRAA56183K246856   P‐SERIES   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124144   2003   GRTDN   1GRAA56113K246858   P‐SERIES   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124145   2003   GRTDN   1GRAA56133K246859   P‐SERIES   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124147   2003   GRTDN   1GRAA56113K246861   P‐SERIES   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124150   2003   GRTDN   1GRAA56173K246864   P‐SERIES   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124151   2003   GRTDN   1GRAA56193K246865   P‐SERIES   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124152   2003   GRTDN   1GRAA56103K246866   P‐SERIES   GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124155   2003   GRTDN   1GRAA56163K246869   P‐SERIES   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124156   2003   GRTDN   1GRAA56123K246870   P‐SERIES   CA      San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124159   2003   GRTDN   1GRAA56183K246873   P‐SERIES   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124160   2003   GRTDN   1GRAA561X3K246874   P‐SERIES   IN      Jeffersonville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 598 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124165   2003   GRTDN   1GRAA56193K246879   P‐SERIES   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124168   2003   GRTDN   1GRAA56193K246882   P‐SERIES   VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124170   2003   GRTDN   1GRAA56123K246884   P‐SERIES   TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124171   2003   GRTDN   1GRAA56143K246885   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124172   2003   GRTDN   1GRAA56163K246886   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124173   2003   GRTDN   1GRAA56183K246887   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124175   2003   GRTDN   1GRAA56113K246889   P‐SERIES   PA        Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124178   2003   GRTDN   1GRAA56113K246892   P‐SERIES   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124180   2003   GRTDN   1GRAA56153K246894   P‐SERIES   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124183   2003   GRTDN   1GRAA56103K246897   P‐SERIES   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124184   2003   GRTDN   1GRAA56123K246898   P‐SERIES   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124185   2003   GRTDN   1GRAA56143K246899   P‐SERIES   TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124187   2003   GRTDN   1GRAA56193K246901   P‐SERIES   FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124188   2003   GRTDN   1GRAA56103K246902   P‐SERIES   GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124190   2003   GRTDN   1GRAA56143K246904   P‐SERIES   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124191   2003   GRTDN   1GRAA56163K246905   P‐SERIES   CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124192   2003   GRTDN   1GRAA56183K246906   P‐SERIES   ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124193   2003   GRTDN   1GRAA561X3K246907   P‐SERIES   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124194   2003   GRTDN   1GRAA56113K246908   P‐SERIES   CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124196   2003   GRTDN   1GRAA561X3K246910   P‐SERIES   NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124197   2003   GRTDN   1GRAA56113K246911   P‐SERIES   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124198   2003   GRTDN   1GRAA56133K246912   P‐SERIES   MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124200   2003   GRTDN   1GRAA56173K246914   P‐SERIES   CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124201   2003   GRTDN   1GRAA56193K246915   P‐SERIES   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124202   2003   GRTDN   1GRAA56103K246916   P‐SERIES   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124204   2003   GRTDN   1GRAA56143K246918   P‐SERIES   NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124208   2003   GRTDN   1GRAA56163K246922   P‐SERIES   NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124211   2003   GRTDN   1GRAA56113K246925   P‐SERIES   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124214   2003   GRTDN   1GRAA56173K246928   P‐SERIES   Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124215   2003   GRTDN   1GRAA56193K246929   P‐SERIES   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124216   2003   GRTDN   1GRAA56153K246930   P‐SERIES   FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124217   2003   GRTDN   1GRAA56173K246931   P‐SERIES   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124218   2003   GRTDN   1GRAA56193K246932   P‐SERIES   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124219   2003   GRTDN   1GRAA56103K246933   P‐SERIES   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124220   2003   GRTDN   1GRAA56123K246934   P‐SERIES   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124221   2003   GRTDN   1GRAA56143K246935   P‐SERIES   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124224   2003   GRTDN   1GRAA561X3K246938   P‐SERIES   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124225   2003   GRTDN   1GRAA56113K246939   P‐SERIES   IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124226   2003   GRTDN   1GRAA56183K246940   P‐SERIES   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124228   2003   GRTDN   1GRAA56113K246942   P‐SERIES   FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124233   2003   GRTDN   1GRAA56103K246947   P‐SERIES   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124234   2003   GRTDN   1GRAA56123K246948   P‐SERIES   TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124237   2003   GRTDN   1GRAA56123K246951   P‐SERIES   CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124238   2003   GRTDN   1GRAA56143K246952   P‐SERIES   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124241   2003   GRTDN   1GRAA561X3K246955   P‐SERIES   VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124242   2003   GRTDN   1GRAA56113K246956   P‐SERIES   FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124243   2003   GRTDN   1GRAA56133K246957   P‐SERIES   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124244   2003   GRTDN   1GRAA56153K246958   P‐SERIES   MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124246   2003   GRTDN   1GRAA56133K246960   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124247   2003   GRTDN   1GRAA56153K246961   P‐SERIES   FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124249   2003   GRTDN   1GRAA56193K246963   P‐SERIES   CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124250   2003   GRTDN   1GRAA56103K246964   P‐SERIES   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124251   2003   GRTDN   1GRAA56123K246965   P‐SERIES   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124253   2003   GRTDN   1GRAA56163K246967   P‐SERIES   IL        Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124254   2003   GRTDN   1GRAA56183K246968   P‐SERIES   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124257   2003   GRTDN   1GRAA56183K246971   P‐SERIES   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124258   2003   GRTDN   1GRAA561X3K246972   P‐SERIES   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124264   2003   GRTDN   1GRAA56103K246978   P‐SERIES   Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124265   2003   GRTDN   1GRAA56123K246979   P‐SERIES   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124267   2003   GRTDN   1GRAA56103K246981   P‐SERIES   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124269   2003   GRTDN   1GRAA56143K246983   P‐SERIES   CA        Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124273   2003   GRTDN   1GRAA56113K246987   P‐SERIES   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124274   2003   GRTDN   1GRAA56133K246988   P‐SERIES   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124276   2003   GRTDN   1GRAA56113K246990   P‐SERIES   MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124278   2003   GRTDN   1GRAA56153K246992   P‐SERIES   NY        Maspeth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124283   2003   GRTDN   1GRAA56103K248181   P‐SERIES   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124284   2003   GRTDN   1GRAA56123K248182   P‐SERIES   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124285   2003   GRTDN   1GRAA56143K248183   P‐SERIES   PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124287   2003   GRTDN   1GRAA56183K248185   P‐SERIES   MS        Richland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 599 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124288   2003   GRTDN   1GRAA561X3K248186   P‐SERIES   IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124289   2003   GRTDN   1GRAA56113K248187   P‐SERIES   VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124291   2003   GRTDN   1GRAA56153K248189   P‐SERIES   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124292   2003   GRTDN   1GRAA56113K248190   P‐SERIES   TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124294   2003   GRTDN   1GRAA56153K248192   P‐SERIES   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124296   2003   GRTDN   1GRAA56193K248194   P‐SERIES   GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124297   2003   GRTDN   1GRAA56103K248195   P‐SERIES   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124300   2003   GRTDN   1GRAA56163K248198   P‐SERIES   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124301   2003   GRTDN   1GRAA56183K248199   P‐SERIES   CA        Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124303   2003   GRTDN   1GRAA56123K248201   P‐SERIES   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124306   2003   GRTDN   1GRAA56183K248204   P‐SERIES   TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124307   2003   GRTDN   1GRAA561X3K248205   P‐SERIES   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124308   2003   GRTDN   1GRAA56113K248206   P‐SERIES   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124309   2003   GRTDN   1GRAA56133K248207   P‐SERIES   NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124311   2003   GRTDN   1GRAA56173K248209   P‐SERIES   CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124314   2003   GRTDN   1GRAA56173K248212   P‐SERIES   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124318   2003   GRTDN   1GRAA56143K248216   P‐SERIES   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124319   2003   GRTDN   1GRAA56163K248217   P‐SERIES   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124322   2003   GRTDN   1GRAA56163K248220   P‐SERIES   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124323   2003   GRTDN   1GRAA56183K248221   P‐SERIES   Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124324   2003   GRTDN   1GRAA561X3K248222   P‐SERIES   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124325   2003   GRTDN   1GRAA56113K248223   P‐SERIES   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124326   2003   GRTDN   1GRAA56133K248224   P‐SERIES   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124327   2003   GRTDN   1GRAA56153K248225   P‐SERIES   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124328   2003   GRTDN   1GRAA56173K248226   P‐SERIES   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124329   2003   WABSH   1JJV281W53L834275   DVDBHPC    IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124331   2003   WABSH   1JJV281W93L834277   DVDBHPC    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124332   2003   WABSH   1JJV281W03L834278   DVDBHPC    IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124336   2003   WABSH   1JJV281W23L834282   DVDBHPC    NY        Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124338   2003   WABSH   1JJV281W63L834284   DVDBHPC    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124339   2003   WABSH   1JJV281W83L834285   DVDBHPC    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124340   2003   WABSH   1JJV281WX3L834286   DVDBHPC    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124341   2003   WABSH   1JJV281W13L834287   DVDBHPC    FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124342   2003   WABSH   1JJV281W33L834288   DVDBHPC    WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124343   2003   WABSH   1JJV281W53L834289   DVDBHPC    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124344   2003   WABSH   1JJV281W13L834290   DVDBHPC    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124348   2003   WABSH   1JJV281W93L834294   DVDBHPC    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124349   2003   WABSH   1JJV281W03L834295   DVDBHPC    SC        North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124350   2003   WABSH   1JJV281W23L834296   DVDBHPC    ND        Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124353   2003   WABSH   1JJV281W83L834299   DVDBHPC    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124356   2003   WABSH   1JJV281W43L834302   DVDBHPC    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124361   2003   WABSH   1JJV281W33L834307   DVDBHPC    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124362   2003   WABSH   1JJV281W53L834308   DVDBHPC    PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124363   2003   WABSH   1JJV281W73L834309   DVDBHPC    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124364   2003   WABSH   1JJV281W33L834310   DVDBHPC    VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124365   2003   WABSH   1JJV281W53L834311   DVDBHPC    NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124367   2003   WABSH   1JJV281W93L834313   DVDBHPC    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124368   2003   WABSH   1JJV281W03L834314   DVDBHPC    NY        Plattsburgh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124369   2003   WABSH   1JJV281W23L834315   DVDBHPC    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124372   2003   WABSH   1JJV281W83L834318   DVDBHPC    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124373   2003   WABSH   1JJV281WX3L834319   DVDBHPC    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124375   2003   WABSH   1JJV281W83L834321   DVDBHPC    OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124376   2003   WABSH   1JJV281WX3L834322   DVDBHPC    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124377   2003   WABSH   1JJV281W13L834323   DVDBHPC    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124378   2003   WABSH   1JJV281W33L834324   DVDBHPC    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124380   2003   WABSH   1JJV281W73L834326   DVDBHPC    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124381   2003   WABSH   1JJV281W93L834327   DVDBHPC    WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124382   2003   WABSH   1JJV281W03L834328   DVDBHPC    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124383   2003   WABSH   1JJV281W23L834329   DVDBHPC    VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124390   2003   WABSH   1JJV281WX3L834336   DVDBHPC    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124391   2003   WABSH   1JJV281W13L834337   DVDBHPC    IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124392   2003   WABSH   1JJV281W33L834338   DVDBHPC    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124393   2003   WABSH   1JJV281W53L834339   DVDBHPC    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124395   2003   WABSH   1JJV281W33L834341   DVDBHPC    IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124396   2003   WABSH   1JJV281W53L834342   DVDBHPC    CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124397   2003   WABSH   1JJV281W73L834343   DVDBHPC    IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124398   2003   WABSH   1JJV281W93L834344   DVDBHPC    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124399   2003   WABSH   1JJV281W03L834345   DVDBHPC    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124409   2003   WABSH   1JJV281W33L834355   DVDBHPC    PA        Bensalem
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 600 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124459   2003   WABSH   1JJV281W33L834405   DVDBHPC   NJ         Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124463   2003   WABSH   1JJV281W03L834409   DVDBHPC   IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124468   2003   WABSH   1JJV281W43L834414   DVDBHPC   NY         Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124470   2003   WABSH   1JJV281W83L834416   DVDBHPC   IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124542   2003   WABSH   1JJV281W03L834488   DVDBHPC   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124546   2003   WABSH   1JJV281W23L834492   DVDBHPC   AL         Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124574   2003   WABSH   1JJV281W33L834520   DVDBHPC   CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124581   2003   WABSH   1JJV281W63L834527   DVDBHPC   LA         Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124582   2003   WABSH   1JJV281W83L834528   DVDBHPC   TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124589   2003   WABSH   1JJV281W53L834535   DVDBHPC   OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124611   2003   WABSH   1JJV281W43L834557   DVDBHPC   AR         Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY124631   2003   WABSH   1JJV281WX3L834577   DVDBHPC   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125000   2003   WABSH   1JJV281W73L860036             IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125002   2003   WABSH   1JJV281W03L860038             FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125004   2003   WABSH   1JJV281W93L860040             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125008   2003   WABSH   1JJV281W63L860044             NV         Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125009   2003   WABSH   1JJV281W83L860045             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125010   2003   WABSH   1JJV281WX3L860046             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125012   2003   WABSH   1JJV281W33L860048             IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125016   2003   WABSH   1JJV281W53L860052             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125018   2003   WABSH   1JJV281W93L860054             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125020   2003   WABSH   1JJV281W23L860056             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125022   2003   WABSH   1JJV281W63L860058             TX         Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125023   2003   WABSH   1JJV281W83L860059             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125024   2003   WABSH   1JJV281W43L860060             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125025   2003   WABSH   1JJV281W63L860061             MI         Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125026   2003   WABSH   1JJV281W83L860062             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125027   2003   WABSH   1JJV281WX3L860063             NY         Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125028   2003   WABSH   1JJV281W13L860064             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125029   2003   WABSH   1JJV281W33L860065             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125030   2003   WABSH   1JJV281W53L860066             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125031   2003   WABSH   1JJV281W73L860067             NJ         Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125032   2003   WABSH   1JJV281W93L860068             Ontario    Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125034   2003   WABSH   1JJV281W73L860070             OH         North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125036   2003   WABSH   1JJV281W03L860072             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125037   2003   WABSH   1JJV281W23L860073             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125038   2003   WABSH   1JJV281W43L860074             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125039   2003   WABSH   1JJV281W63L860075             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125041   2003   WABSH   1JJV281WX3L860077             NV         Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125043   2003   WABSH   1JJV281W33L860079             CA         Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125044   2003   WABSH   1JJV281WX3L860080             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125045   2003   WABSH   1JJV281W13L860081             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125046   2003   WABSH   1JJV281W33L860082             GA         Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125047   2003   WABSH   1JJV281W53L860083             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125048   2003   WABSH   1JJV281W73L860084             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125050   2003   WABSH   1JJV281W03L860086             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125051   2003   WABSH   1JJV281W23L860087             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125053   2003   WABSH   1JJV281W63L860089             NC         Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125056   2003   WABSH   1JJV281W63L860092             FL         Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125059   2003   WABSH   1JJV281W13L860095             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125060   2003   WABSH   1JJV281W33L860096             TX         McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125061   2003   WABSH   1JJV281W53L860097             IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125062   2003   WABSH   1JJV281W73L860098             TN         Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125065   2003   WABSH   1JJV281W33L860101             TX         San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125068   2003   WABSH   1JJV281W93L860104             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125069   2003   WABSH   1JJV281W03L860105             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125074   2003   WABSH   1JJV281W43L860110             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125075   2003   WABSH   1JJV281W63L860111             FL         Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125076   2003   WABSH   1JJV281W83L860112             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125078   2003   WABSH   1JJV281W13L860114             PA         Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125079   2003   WABSH   1JJV281W33L860115             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125080   2003   WABSH   1JJV281W53L860116             GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125082   2003   WABSH   1JJV281W93L860118             OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125086   2003   WABSH   1JJV281W03L860122             MI         Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125088   2003   WABSH   1JJV281W43L860124             TX         Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125090   2003   WABSH   1JJV281W83L860126             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125092   2003   WABSH   1JJV281W13L860128             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125094   2003   WABSH   1JJV281WX3L860130             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125095   2003   WABSH   1JJV281W13L860131             IL         Wheeling
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23         Page 601 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL      State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125096   2003   WABSH   1JJV281W33L860132               CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125100   2003   WABSH   1JJV281W03L860136               OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125101   2003   WABSH   1JJV281W23L860137               CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125102   2003   WABSH   1JJV281W43L860138               GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125103   2003   WABSH   1JJV281W63L860139               MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125104   2003   WABSH   1JJV281W23L860140               OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125106   2003   WABSH   1JJV281W63L860142               IA        Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125107   2003   WABSH   1JJV281W83L860143               TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125108   2003   WABSH   1JJV281WX3L860144               NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125109   2003   WABSH   1JJV281W13L860145               IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125110   2003   WABSH   1JJV281W33L860146               UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125113   2003   WABSH   1JJV281W93L860149               WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125115   2003   WABSH   1JJV281W73L860151               NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125116   2003   WABSH   1JJV281W93L860152               FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125118   2003   WABSH   1JJV281W23L860154               CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125120   2003   WABSH   1JJV281W63L860156               IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125121   2003   WABSH   1JJV281W83L860157               OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125127   2003   WABSH   1JJV281W33L860163               IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125129   2003   WABSH   1JJV281W73L860165               UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125130   2003   WABSH   1JJV281W93L860166               IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125135   2003   WABSH   1JJV281W23L860171               KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125136   2003   WABSH   1JJV281W43L860172               OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125137   2003   WABSH   1JJV281W63L860173               LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125140   2003   WABSH   1JJV281W13L860176               MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125143   2003   WABSH   1JJV281W73L860179               GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125146   2004   WABSH   1JJV281W54L860182   N/A         GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125147   2004   WABSH   1JJV281W74L860183   N/A         IA        Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125149   2004   WABSH   1JJV281W04L860185   N/A         IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125150   2004   WABSH   1JJV281W24L860186   N/A         IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125151   2004   WABSH   1JJV281W44L860187   N/A         NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125152   2004   WABSH   1JJV281W64L860188   N/A         TN        Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125153   2004   WABSH   1JJV281W84L860189   N/A         OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125155   2004   WABSH   1JJV281W64L860191   N/A         UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125156   2004   WABSH   1JJV281W84L860192   N/A         CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125157   2004   WABSH   1JJV281WX4L860193   N/A         MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125158   2004   WABSH   1JJV281W14L860194   N/A         NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125161   2004   WABSH   1JJV281W74L860197   N/A         CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125164   2004   WABSH   1JJV281W34L860200   N/A         PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125166   2004   WABSH   1JJV281W74L860202   N/A         OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125169   2004   WABSH   1JJV281W24L860205   N/A         MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125170   2004   WABSH   1JJV281W44L860206   N/A         IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125171   2004   WABSH   1JJV281W64L860207   N/A         GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125172   2004   WABSH   1JJV281W84L860208   N/A         TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125174   2004   WABSH   1JJV281W64L860210   N/A         Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125176   2004   WABSH   1JJV281WX4L860212   N/A         FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125179   2004   WABSH   1JJV281W54L860215   N/A         NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125180   2004   WABSH   1JJV281W74L860216   N/A         NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125181   2004   WABSH   1JJV281W94L860217   N/A         TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125182   2004   WABSH   1JJV281W04L860218   N/A         NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125183   2004   WABSH   1JJV281W24L860219   N/A         IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125184   2004   WABSH   1JJV281W94L860220   N/A         WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125185   2004   WABSH   1JJV281W04L860221   N/A         CA        Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125186   2004   WABSH   1JJV281W24L860222   N/A         IL        Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125187   2004   WABSH   1JJV281W44L860223   N/A         NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125188   2004   WABSH   1JJV281W64L860224   N/A         UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125191   2004   WABSH   1JJV281W14L860227   N/A         IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125195   2004   WABSH   1JJV281W34L860231   N/A         IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125196   2004   WABSH   1JJV281W54L860232   N/A         UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125197   2004   WABSH   1JJV281W74L860233   N/A         WI        Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125199   2004   WABSH   1JJV281W04L860235   N/A         OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125201   2004   WABSH   1JJV281W44L860237   N/A         OH        North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125202   2004   WABSH   1JJV281W64L860238   N/A         CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125203   2004   WABSH   1JJV281W84L860239   N/A         MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125204   2004   WABSH   1JJV281W44L860240   N/A         PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125205   2004   WABSH   1JJV281W64L860241   N/A         OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125207   2004   WABSH   1JJV281WX4L860243   N/A         PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125208   2004   WABSH   1JJV281W14L860244   N/A         GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125209   2004   WABSH   1JJV281W34L860245   N/A         OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125211   2004   WABSH   1JJV281W74L860247   N/A         WI        Madison
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 602 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125212   2004   WABSH   1JJV281W94L860248   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125213   2004   WABSH   1JJV281W04L860249   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125215   2004   WABSH   1JJV281W94L860251   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125216   2004   WABSH   1JJV281W04L860252   N/A       AL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125217   2004   WABSH   1JJV281W24L860253   N/A       MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125218   2004   WABSH   1JJV281W44L860254   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125222   2004   WABSH   1JJV281W14L860258   N/A       PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125224   2004   WABSH   1JJV281WX4L860260   N/A       GA      Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125225   2004   WABSH   1JJV281W14L860261   N/A       NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125227   2004   WABSH   1JJV281W54L860263   N/A       GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125232   2004   WABSH   1JJV281W44L860268   N/A       OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125236   2004   WABSH   1JJV281W64L860272   N/A       CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125237   2004   WABSH   1JJV281W84L860273   N/A       AL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125238   2004   WABSH   1JJV281WX4L860274   N/A       IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125240   2004   WABSH   1JJV281W34L860276   N/A       CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125241   2004   WABSH   1JJV281W54L860277   N/A       IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125243   2004   WABSH   1JJV281W94L860279   N/A       IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125245   2004   WABSH   1JJV281W74L860281   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125247   2004   WABSH   1JJV281W04L860283   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125248   2004   WABSH   1JJV281W24L860284   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125249   2004   WABSH   1JJV281W44L860285   N/A       TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125250   2004   WABSH   1JJV281W64L860286   N/A       CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125251   2004   WABSH   1JJV281W84L860287   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125252   2004   WABSH   1JJV281WX4L860288   N/A       CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125254   2004   WABSH   1JJV281W84L860290   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125255   2004   WABSH   1JJV281WX4L860291   N/A       MN      Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125257   2004   WABSH   1JJV281W34L860293   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125258   2004   WABSH   1JJV281W54L860294   N/A       MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125259   2004   WABSH   1JJV281W74L860295   N/A       TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125260   2004   WABSH   1JJV281W94L860296   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125262   2004   WABSH   1JJV281W24L860298   N/A       AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125263   2004   WABSH   1JJV281W44L860299   N/A       TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125265   2004   WABSH   1JJV281W94L860301   N/A       FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125266   2004   WABSH   1JJV281W04L860302   N/A       TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125267   2004   WABSH   1JJV281W24L860303   N/A       OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125268   2004   WABSH   1JJV281W44L860304   N/A       WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125270   2004   WABSH   1JJV281W84L860306   N/A       MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125271   2004   WABSH   1JJV281WX4L860307   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125273   2004   WABSH   1JJV281W34L860309   N/A       OK      Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125275   2004   WABSH   1JJV281W14L860311   N/A       AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125276   2004   WABSH   1JJV281W34L860312   N/A       OH      Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125277   2004   WABSH   1JJV281W54L860313   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125278   2004   WABSH   1JJV281W74L860314   N/A       PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125279   2004   WABSH   1JJV281W94L860315   N/A       GA      Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125281   2004   WABSH   1JJV281W24L860317   N/A       TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125282   2004   WABSH   1JJV281W44L860318   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125283   2004   WABSH   1JJV281W64L860319   N/A       AZ      Tucson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125286   2004   WABSH   1JJV281W64L860322   N/A       TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125287   2004   WABSH   1JJV281W84L860323   N/A       MA      Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125288   2004   WABSH   1JJV281WX4L860324   N/A       TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125292   2004   WABSH   1JJV281W74L860328   N/A       NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125296   2004   WABSH   1JJV281W94L860332   N/A       NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125297   2004   WABSH   1JJV281W04L860333   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125300   2004   WABSH   1JJV281W34L870659   N/A       OR      Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125302   2004   WABSH   1JJV281W14L870661   N/A       SC      North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125303   2004   WABSH   1JJV281W34L870662   N/A       MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125304   2004   WABSH   1JJV281W54L870663   N/A       NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125305   2004   WABSH   1JJV281W74L870664   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125306   2004   WABSH   1JJV281W94L870665   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125307   2004   WABSH   1JJV281W04L870666   N/A       OR      Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125308   2004   WABSH   1JJV281W24L870667   N/A       OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125309   2004   WABSH   1JJV281W44L870668   N/A       WV      Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125310   2004   WABSH   1JJV281W64L870669   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125311   2004   WABSH   1JJV281W24L870670   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125314   2004   WABSH   1JJV281W84L870673   N/A       OK      Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125315   2004   WABSH   1JJV281WX4L870674   N/A       VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125317   2004   WABSH   1JJV281W34L870676   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125318   2004   WABSH   1JJV281W54L870677   N/A       MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125319   2004   WABSH   1JJV281W74L870678   N/A       IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 603 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125320   2004   WABSH   1JJV281W94L870679   N/A       OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125322   2004   WABSH   1JJV281W74L870681   N/A       OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125324   2004   WABSH   1JJV281W04L870683   N/A       MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125325   2004   WABSH   1JJV281W24L870684   N/A       KS        Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125326   2004   WABSH   1JJV281W44L870685   N/A       OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125327   2004   WABSH   1JJV281W64L870686   N/A       NH        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125328   2004   WABSH   1JJV281W84L870687   N/A       NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125331   2004   WABSH   1JJV281W84L870690   N/A       CA        Santa Rosa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125332   2004   WABSH   1JJV281WX4L870691   N/A       NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125334   2004   WABSH   1JJV281W34L870693   N/A       OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125335   2004   WABSH   1JJV281W54L870694   N/A       IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125336   2004   WABSH   1JJV281W74L870695   N/A       MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125337   2004   WABSH   1JJV281W94L870696   N/A       OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125338   2004   WABSH   1JJV281W04L870697   N/A       GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125339   2004   WABSH   1JJV281W24L870698   N/A       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125340   2004   WABSH   1JJV281W44L870699   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125341   2004   WABSH   1JJV281W74L870700   N/A       TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125342   2004   WABSH   1JJV281W94L870701   N/A       IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125344   2004   WABSH   1JJV281W24L870703   N/A       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125345   2004   WABSH   1JJV281W44L870704   N/A       NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125346   2004   WABSH   1JJV281W64L870705   N/A       PA        Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125347   2004   WABSH   1JJV281W84L870706   N/A       AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125348   2004   WABSH   1JJV281WX4L870707   N/A       GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125349   2004   WABSH   1JJV281W14L870708   N/A       NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125350   2004   WABSH   1JJV281W34L870709   N/A       NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125351   2004   WABSH   1JJV281WX4L870710   N/A       KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125352   2004   WABSH   1JJV281W14L870711   N/A       FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125353   2004   WABSH   1JJV281W34L870712   N/A       SC        North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125354   2004   WABSH   1JJV281W54L870713   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125355   2004   WABSH   1JJV281W74L870714   N/A       MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125356   2004   WABSH   1JJV281W94L870715   N/A       GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125357   2004   WABSH   1JJV281W04L870716   N/A       TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125358   2004   WABSH   1JJV281W24L870717   N/A       IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125361   2004   WABSH   1JJV281W24L870720   N/A       IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125362   2004   WABSH   1JJV281W44L870721   N/A       PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125363   2004   WABSH   1JJV281W64L870722   N/A       OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125365   2004   WABSH   1JJV281WX4L870724   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125366   2004   WABSH   1JJV281W14L870725   N/A       MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125369   2004   WABSH   1JJV281W74L870728   N/A       GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125370   2004   WABSH   1JJV281W94L870729   N/A       AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125371   2004   WABSH   1JJV281W54L870730   N/A       GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125372   2004   WABSH   1JJV281W74L870731   N/A       GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125373   2004   WABSH   1JJV281W94L870732   N/A       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125375   2004   WABSH   1JJV281W24L870734   N/A       MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125376   2004   WABSH   1JJV281W44L870735   N/A       PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125377   2004   WABSH   1JJV281W64L870736   N/A       IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125378   2004   WABSH   1JJV281W84L870737   N/A       OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125379   2004   WABSH   1JJV281WX4L870738   N/A       TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125381   2004   WABSH   1JJV281W84L870740   N/A       PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125382   2004   WABSH   1JJV281WX4L870741   N/A       OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125383   2004   WABSH   1JJV281W14L870742   N/A       MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125384   2004   WABSH   1JJV281W34L870743   N/A       NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125385   2004   WABSH   1JJV281W54L870744   N/A       MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125386   2004   WABSH   1JJV281W74L870745   N/A       IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125387   2004   WABSH   1JJV281W94L870746   N/A       MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125389   2004   WABSH   1JJV281W24L870748   N/A       GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125390   2004   WABSH   1JJV281W44L870749   N/A       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125391   2004   WABSH   1JJV281W04L870750   N/A       FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125392   2004   WABSH   1JJV281W24L870751   N/A       NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125396   2004   WABSH   1JJV281WX4L870755   N/A       PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125397   2004   WABSH   1JJV281W14L870756   N/A       MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125398   2004   WABSH   1JJV281W34L870757   N/A       CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125402   2004   WABSH   1JJV281W54L870761   N/A       FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125404   2004   WABSH   1JJV281W94L870763   N/A       Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125405   2004   WABSH   1JJV281W04L870764   N/A       OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125406   2004   WABSH   1JJV281W24L870765   N/A       OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125407   2004   WABSH   1JJV281W44L870766   N/A       OH        Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125409   2004   WABSH   1JJV281W84L870768   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125411   2004   WABSH   1JJV281W64L870770   N/A       MD        Hagerstown
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 604 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125412   2004   WABSH   1JJV281W84L870771   N/A       MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125413   2004   WABSH   1JJV281WX4L870772   N/A       NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125414   2004   WABSH   1JJV281W14L870773   N/A       OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125415   2004   WABSH   1JJV281W34L870774   N/A       TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125416   2004   WABSH   1JJV281W54L870775   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125418   2004   WABSH   1JJV281W94L870777   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125419   2004   WABSH   1JJV281W04L870778   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125420   2004   WABSH   1JJV281W24L870779   N/A       FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125423   2004   WABSH   1JJV281W24L870782   N/A       WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125424   2004   WABSH   1JJV281W44L870783   N/A       WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125425   2004   WABSH   1JJV281W64L870784   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125426   2004   WABSH   1JJV281W84L870785   N/A       CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125428   2004   WABSH   1JJV281W14L870787   N/A       OH      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125429   2004   WABSH   1JJV281W34L870788   N/A       MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125430   2004   WABSH   1JJV281W54L870789   N/A       NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125431   2004   WABSH   1JJV281W14L870790   N/A       MN      Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125432   2004   WABSH   1JJV281W34L870791   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125433   2004   WABSH   1JJV281W54L870792   N/A       AR      Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125434   2004   WABSH   1JJV281W74L870793   N/A       GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125437   2004   WABSH   1JJV281W24L870796   N/A       GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125438   2004   WABSH   1JJV281W44L870797   N/A       NC      Fayetteville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125439   2004   WABSH   1JJV281W64L870798   N/A       MI      Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125440   2004   WABSH   1JJV281W84L870799   N/A       CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125442   2004   WABSH   1JJV281W24L870801   N/A       TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125444   2004   WABSH   1JJV281W64L870803   N/A       AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125446   2004   WABSH   1JJV281WX4L870805   N/A       AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125447   2004   WABSH   1JJV281W14L870806   N/A       AZ      Lake Havasu City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125449   2004   WABSH   1JJV281W54L870808   N/A       CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125450   2004   WABSH   1JJV281W74L870809   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125451   2004   WABSH   1JJV281W34L870810   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125452   2004   WABSH   1JJV281W54L870811   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125453   2004   WABSH   1JJV281W74L870812   N/A       MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125454   2004   WABSH   1JJV281W94L870813   N/A       AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125457   2004   WABSH   1JJV281W44L870816   N/A       IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125459   2004   WABSH   1JJV281W84L870818   N/A       IA      Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125460   2004   WABSH   1JJV281WX4L870819   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125461   2004   WABSH   1JJV281W64L870820   N/A       NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125462   2004   WABSH   1JJV281W84L870821   N/A       TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125463   2004   WABSH   1JJV281WX4L870822   N/A       CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125464   2004   WABSH   1JJV281W14L870823   N/A       OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125465   2004   WABSH   1JJV281W34L870824   N/A       IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125466   2004   WABSH   1JJV281W54L870825   N/A       CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125469   2004   WABSH   1JJV281W04L870828   N/A       KS      Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125475   2004   WABSH   1JJV281W64L870834   N/A       MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125477   2004   WABSH   1JJV281WX4L870836   N/A       CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125479   2004   WABSH   1JJV281W34L870838   N/A       CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125480   2004   WABSH   1JJV281W54L870839   N/A       FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125481   2004   WABSH   1JJV281W14L870840   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125485   2004   WABSH   1JJV281W94L870844   N/A       PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125486   2004   WABSH   1JJV281W04L870845   N/A       TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125487   2004   WABSH   1JJV281W24L870846   N/A       GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125488   2004   WABSH   1JJV281W44L870847   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125489   2004   WABSH   1JJV281W64L870848   N/A       TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125490   2004   WABSH   1JJV281W84L870849   N/A       NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125491   2004   WABSH   1JJV281W44L870850   N/A       OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125492   2004   WABSH   1JJV281W64L870851   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125496   2004   WABSH   1JJV281W34L870855   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125497   2004   WABSH   1JJV281W54L870856   N/A       TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125500   2004   WABSH   1JJV281W04L870859   N/A       CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125501   2004   WABSH   1JJV281W74L870860   N/A       AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125502   2004   WABSH   1JJV281W94L870861   N/A       OR      Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125503   2004   WABSH   1JJV281W04L870862   N/A       CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125505   2004   WABSH   1JJV281W44L870864   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125507   2004   WABSH   1JJV281W84L870866   N/A       DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125508   2004   WABSH   1JJV281WX4L870867   N/A       CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125509   2004   WABSH   1JJV281W14L870868   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125510   2004   WABSH   1JJV281W34L870869   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125511   2004   WABSH   1JJV281WX4L870870   N/A       TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125514   2004   WABSH   1JJV281W54L870873   N/A       FL      Ocala
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 605 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State    City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125515   2004   WABSH   1JJV281W74L870874   N/A       WI       Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125516   2004   WABSH   1JJV281W94L870875   N/A       GA       Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125517   2004   WABSH   1JJV281W04L870876   N/A       TX       San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125520   2004   WABSH   1JJV281W64L870879   N/A       NY       Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125521   2004   WABSH   1JJV281W24L870880   N/A       TX       Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125522   2004   WABSH   1JJV281W44L870881   N/A       FL       Fort Myers
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125523   2004   WABSH   1JJV281W64L870882   N/A       FL       Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125524   2004   WABSH   1JJV281W84L870883   N/A       PA       Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125525   2004   WABSH   1JJV281WX4L870884   N/A       IL       McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125527   2004   WABSH   1JJV281W34L870886   N/A       NC       Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125528   2004   WABSH   1JJV281W54L870887   N/A       FL       Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125529   2004   WABSH   1JJV281W74L870888   N/A       TN       Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125531   2004   WABSH   1JJV281W54L870890   N/A       FL       Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125534   2004   WABSH   1JJV281W04L870893   N/A       CO       Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125536   2004   WABSH   1JJV281W24L883242   N/A       OH       Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125537   2004   WABSH   1JJV281W44L883243   N/A       OK       Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125538   2004   WABSH   1JJV281W64L883244   N/A       AZ       Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125539   2004   WABSH   1JJV281W84L883245   N/A       OH       Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125540   2004   WABSH   1JJV281WX4L883246   N/A       NY       Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125543   2004   WABSH   1JJV281W54L883249   N/A       CA       Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125544   2004   WABSH   1JJV281W14L883250   N/A       GA       Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125545   2004   WABSH   1JJV281W34L883251   N/A       TX       Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125547   2004   WABSH   1JJV281W74L883253   N/A       NY       Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125548   2004   WABSH   1JJV281W94L883254   N/A       FL       Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125551   2004   WABSH   1JJV281W44L883257   N/A       OH       Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125552   2004   WABSH   1JJV281W64L883258   N/A       OH       Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125554   2004   WABSH   1JJV281W44L883260   N/A       NY       Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125555   2004   WABSH   1JJV281W64L883261   N/A       IL       Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125556   2004   WABSH   1JJV281W84L883262   N/A       IL       Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125557   2004   WABSH   1JJV281WX4L883263   N/A       TX       Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125559   2004   WABSH   1JJV281W34L883265   N/A       OH       Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125561   2004   WABSH   1JJV281W74L883267   N/A       IN       Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125562   2004   WABSH   1JJV281W94L883268   N/A       IL       Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125563   2004   WABSH   1JJV281W04L883269   N/A       MO       Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125564   2004   WABSH   1JJV281W74L883270   N/A       VA       Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125565   2004   WABSH   1JJV281W94L883271   N/A       VA       Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125567   2004   WABSH   1JJV281W24L883273   N/A       AZ       Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125568   2004   WABSH   1JJV281W44L883274   N/A       NY       Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125570   2004   WABSH   1JJV281W84L883276   N/A       MS       Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125574   2004   WABSH   1JJV281WX4L883280   N/A       IA       Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125575   2004   WABSH   1JJV281W14L883281   N/A       IL       Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125576   2004   WABSH   1JJV281W34L883282   N/A       WI       Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125577   2004   WABSH   1JJV281W54L883283   N/A       MN       Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125578   2004   WABSH   1JJV281W74L883284   N/A       VA       Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125579   2004   WABSH   1JJV281W94L883285   N/A       MO       Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125580   2004   WABSH   1JJV281W04L883286   N/A       GA       Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125581   2004   WABSH   1JJV281W24L883287   N/A       NC       Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125582   2004   WABSH   1JJV281W44L883288   N/A       FL       Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125583   2004   WABSH   1JJV281W64L883289   N/A       OK       Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125584   2004   WABSH   1JJV281W24L883290   N/A       MO       Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125585   2004   WABSH   1JJV281W44L883291   N/A       IL       Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125586   2004   WABSH   1JJV281W64L883292   N/A       IN       South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125590   2004   WABSH   1JJV281W34L883296   N/A       TX       Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125591   2004   WABSH   1JJV281W54L883297   N/A       MO       Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125592   2004   WABSH   1JJV281W74L883298   N/A       TX       Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125594   2004   WABSH   1JJV281W14L883300   N/A       MA       West Springfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125595   2004   WABSH   1JJV281W34L883301   N/A       AZ       Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125596   2004   WABSH   1JJV281W54L883302   N/A       IL       Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125597   2004   WABSH   1JJV281W74L883303   N/A       Quebec   Quebec City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125598   2004   WABSH   1JJV281W94L883304   N/A       TN       Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125599   2004   WABSH   1JJV281W04L883305   N/A       NY       Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125601   2004   WABSH   1JJV281W44L883307   N/A       TN       Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125602   2004   WABSH   1JJV281W64L883308   N/A       MS       Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125604   2004   WABSH   1JJV281W44L883310   N/A       KY       Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125606   2004   WABSH   1JJV281W84L883312   N/A       IN       Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125607   2004   WABSH   1JJV281WX4L883313   N/A       LA       New Orleans
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125608   2004   WABSH   1JJV281W14L883314   N/A       MS       Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125609   2004   WABSH   1JJV281W34L883315   N/A       UT       Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125615   2004   WABSH   1JJV281W94L883321   N/A       WA       Spokane
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 606 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125616   2004   WABSH   1JJV281W04L883322   N/A       GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125618   2004   WABSH   1JJV281W44L883324   N/A       TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125622   2004   WABSH   1JJV281W14L883328   N/A       TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125623   2004   WABSH   1JJV281W34L883329   N/A       NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125624   2004   WABSH   1JJV281WX4L883330   N/A       IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125625   2004   WABSH   1JJV281W14L883331   N/A       WV               Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125626   2004   WABSH   1JJV281W34L883332   N/A       OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125627   2004   WABSH   1JJV281W54L883333   N/A       AL               Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125628   2004   WABSH   1JJV281W74L883334   N/A       TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125630   2004   WABSH   1JJV281W04L883336   N/A       VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125631   2004   WABSH   1JJV281W24L883337   N/A       NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125632   2004   WABSH   1JJV281W44L883338   N/A       IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125633   2004   WABSH   1JJV281W64L883339   N/A       GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125637   2004   WABSH   1JJV281W84L883343   N/A       CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125638   2004   WABSH   1JJV281WX4L883344   N/A       NE               Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125639   2004   WABSH   1JJV281W14L883345   N/A       MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125640   2004   WABSH   1JJV281W34L883346   N/A       TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125641   2004   WABSH   1JJV281W54L883347   N/A       FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125642   2004   WABSH   1JJV281W74L883348   N/A       NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125643   2004   WABSH   1JJV281W94L883349   N/A       OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125644   2004   WABSH   1JJV281W54L883350   N/A       MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125648   2004   WABSH   1JJV281W24L883354   N/A       British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125650   2004   WABSH   1JJV281W64L883356   N/A       CT               Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125651   2004   WABSH   1JJV281W84L883357   N/A       CO               Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125652   2004   WABSH   1JJV281WX4L883358   N/A       Manitoba         Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125655   2004   WABSH   1JJV281WX4L883361   N/A       FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125660   2004   WABSH   1JJV281W94L883366   N/A       PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125665   2004   WABSH   1JJV281W24L883371   N/A       NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125666   2004   WABSH   1JJV281W44L883372   N/A       IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125667   2004   WABSH   1JJV281W64L883373   N/A       IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125668   2004   WABSH   1JJV281W84L883374   N/A       GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125669   2004   WABSH   1JJV281WX4L883375   N/A       GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125671   2004   WABSH   1JJV281W34L883377   N/A       AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125673   2004   WABSH   1JJV281W74L883379   N/A       KS               Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125674   2004   WABSH   1JJV281W34L883380   N/A       UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125677   2004   WABSH   1JJV281W94L883383   N/A       MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125679   2004   WABSH   1JJV281W24L883385   N/A       WA               Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125680   2004   WABSH   1JJV281W44L883386   N/A       Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125681   2004   WABSH   1JJV281W64L883387   N/A       OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125683   2004   WABSH   1JJV281WX4L883389   N/A       IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125684   2004   WABSH   1JJV281W64L883390   N/A       IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125685   2004   WABSH   1JJV281W84L883391   N/A       CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125686   2004   WABSH   1JJV281WX4L883392   N/A       NY               Williamsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125689   2004   WABSH   1JJV281W54L883395   N/A       OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125690   2004   WABSH   1JJV281W74L883396   N/A       GA               Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125691   2004   WABSH   1JJV281W94L883397   N/A       IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125692   2004   WABSH   1JJV281W04L883398   N/A       NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125695   2004   WABSH   1JJV281W74L883401   N/A       CA               Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125696   2004   WABSH   1JJV281W94L883402   N/A       TX               Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125697   2004   WABSH   1JJV281W04L883403   N/A       IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125698   2004   WABSH   1JJV281W24L883404   N/A       IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125699   2004   WABSH   1JJV281W44L883405   N/A       VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125700   2004   WABSH   1JJV281W64L883406   N/A       MD               Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125701   2004   WABSH   1JJV281W84L883407   N/A       TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125702   2004   WABSH   1JJV281WX4L883408   N/A       WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125704   2004   WABSH   1JJV281W84L883410   N/A       NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125705   2004   WABSH   1JJV281WX4L883411   N/A       TX               Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125706   2004   WABSH   1JJV281W14L883412   N/A       PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125707   2004   WABSH   1JJV281W34L883413   N/A       OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125708   2004   WABSH   1JJV281W54L883414   N/A       MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125709   2004   WABSH   1JJV281W74L883415   N/A       AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125711   2004   WABSH   1JJV281W04L883417   N/A       MO               Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125712   2004   WABSH   1JJV281W24L883418   N/A       WI               Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125713   2004   WABSH   1JJV281W44L883419   N/A       LA               Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125714   2004   WABSH   1JJV281W04L883420   N/A       MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125715   2004   WABSH   1JJV281W24L883421   N/A       TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125716   2004   WABSH   1JJV281W44L883422   N/A       CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125718   2004   WABSH   1JJV281W84L883424   N/A       MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125720   2004   WABSH   1JJV281W14L883426   N/A       NY               Tonawanda
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 607 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125721   2004   WABSH   1JJV281W34L883427   N/A       TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125722   2004   WABSH   1JJV281W54L883428   N/A       CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125726   2004   WABSH   1JJV281W74L883432   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125728   2004   WABSH   1JJV281W04L883434   N/A       MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125729   2004   WABSH   1JJV281W24L883435   N/A       CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125732   2004   WABSH   1JJV281W84L883438   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125733   2004   WABSH   1JJV281WX4L883439   N/A       TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125734   2004   WABSH   1JJV281W64L883440   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125735   2004   WABSH   1JJV281W84L883441   N/A       AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125736   2004   WABSH   1JJV281WX4L883442   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125738   2004   WABSH   1JJV281W34L883444   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125739   2004   WABSH   1JJV281W54L883445   N/A       CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125742   2004   WABSH   1JJV281W04L883448   N/A       NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125743   2004   WABSH   1JJV281W24L883449   N/A       CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125745   2004   WABSH   1JJV281W04L883451   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125747   2004   WABSH   1JJV281W44L883453   N/A       OH      Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125748   2004   WABSH   1JJV281W64L883454   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125750   2004   WABSH   1JJV281WX4L883456   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125751   2004   WABSH   1JJV281W14L883457   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125752   2004   WABSH   1JJV281W34L883458   N/A       MD      Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125753   2004   WABSH   1JJV281W54L883459   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125755   2004   WABSH   1JJV281W34L883461   N/A       NY      Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125756   2004   WABSH   1JJV281W54L883462   N/A       IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125757   2004   WABSH   1JJV281W74L883463   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125758   2004   WABSH   1JJV281W94L883464   N/A       TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125759   2004   WABSH   1JJV281W04L883465   N/A       TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125760   2004   WABSH   1JJV281W24L883466   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125762   2004   WABSH   1JJV281W64L883468   N/A       TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125763   2004   WABSH   1JJV281W84L883469   N/A       NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125764   2004   WABSH   1JJV281W44L883470   N/A       CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125767   2004   WABSH   1JJV281WX4L883473   N/A       GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125768   2004   WABSH   1JJV281W14L883474   N/A       NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125769   2004   WABSH   1JJV281W34L883475   N/A       GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125772   2004   WABSH   1JJV281W94L883478   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125774   2004   WABSH   1JJV281W74L883480   N/A       MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125775   2004   WABSH   1JJV281W94L883481   N/A       MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125776   2004   WABSH   1JJV281W04L883482   N/A       GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125777   2004   WABSH   1JJV281W24L883483   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125780   2004   WABSH   1JJV281W84L883486   N/A       NE      Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125781   2004   WABSH   1JJV281WX4L883487   N/A       FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125783   2004   WABSH   1JJV281W34L883489   N/A       PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125786   2004   WABSH   1JJV281W34L883492   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125787   2004   WABSH   1JJV281W54L883493   N/A       WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125790   2004   WABSH   1JJV281W04L883496   N/A       IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125792   2004   WABSH   1JJV281W44L883498   N/A       IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125796   2004   WABSH   1JJV281W24L883502   N/A       FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125797   2004   WABSH   1JJV281W44L883503   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125799   2004   WABSH   1JJV281W84L883505   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125800   2004   WABSH   1JJV281WX4L883506   N/A       AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125801   2004   WABSH   1JJV281W14L883507   N/A       WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125803   2004   WABSH   1JJV281W54L883509   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125805   2004   WABSH   1JJV281W34L883511   N/A       PA      Milton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125806   2004   WABSH   1JJV281W54L883512   N/A       MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125807   2004   WABSH   1JJV281W74L883513   N/A       TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125808   2004   WABSH   1JJV281W94L883514   N/A       OR      Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125809   2004   WABSH   1JJV281W04L883515   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125810   2004   WABSH   1JJV281W24L883516   N/A       ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125811   2004   WABSH   1JJV281W44L883517   N/A       MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125812   2004   WABSH   1JJV281W64L883518   N/A       MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125813   2004   WABSH   1JJV281W84L883519   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125816   2004   WABSH   1JJV281W84L883522   N/A       FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125818   2004   WABSH   1JJV281W14L883524   N/A       MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125819   2004   WABSH   1JJV281W34L883525   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125820   2004   WABSH   1JJV281W54L883526   N/A       WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125822   2004   WABSH   1JJV281W94L883528   N/A       NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125824   2004   WABSH   1JJV281W74L883530   N/A       CA      San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125825   2004   WABSH   1JJV281W94L883531   N/A       TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125826   2004   WABSH   1JJV281W04L883532   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125827   2004   WABSH   1JJV281W24L883533   N/A       PA      Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 608 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125828   2004   WABSH   1JJV281W44L883534   N/A       MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125829   2004   WABSH   1JJV281W64L883535   N/A       CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125830   2004   WABSH   1JJV281W84L883536   N/A       Ontario   Woodstock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125831   2004   WABSH   1JJV281WX4L883537   N/A       CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125832   2004   WABSH   1JJV281W14L883538   N/A       AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125833   2004   WABSH   1JJV281W34L883539   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125835   2004   WABSH   1JJV281W14L883541   N/A       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125836   2004   WABSH   1JJV281W34L883542   N/A       OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125837   2004   WABSH   1JJV281W54L883543   N/A       Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125838   2004   WABSH   1JJV281W74L883544   N/A       SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125839   2004   WABSH   1JJV281W94L883545   N/A       OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125840   2004   WABSH   1JJV281W04L883546   N/A       PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125841   2004   WABSH   1JJV281W24L883547   N/A       TX        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125842   2004   WABSH   1JJV281W44L883548   N/A       MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125843   2004   WABSH   1JJV281W64L883549   N/A       TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125844   2004   WABSH   1JJV281W24L883550   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125845   2004   WABSH   1JJV281W44L883551   N/A       MI        Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125846   2004   WABSH   1JJV281W64L883552   N/A       CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125847   2004   WABSH   1JJV281W84L883553   N/A       CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125848   2004   WABSH   1JJV281WX4L883554   N/A       OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125851   2004   WABSH   1JJV281W54L883557   N/A       NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125852   2004   WABSH   1JJV281W74L883558   N/A       AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125853   2004   WABSH   1JJV281W94L883559   N/A       TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125854   2004   WABSH   1JJV281W54L883560   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125855   2004   WABSH   1JJV281W74L883561   N/A       CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125856   2004   WABSH   1JJV281W94L883562   N/A       GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125857   2004   WABSH   1JJV281W04L883563   N/A       NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125858   2004   WABSH   1JJV281W24L883564   N/A       OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125860   2004   WABSH   1JJV281W64L883566   N/A       IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125861   2004   WABSH   1JJV281W84L883567   N/A       TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125862   2004   WABSH   1JJV281WX4L883568   N/A       PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125863   2004   WABSH   1JJV281W14L883569   N/A       CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125866   2004   WABSH   1JJV281W14L883572   N/A       NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125867   2004   WABSH   1JJV281W34L883573   N/A       OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125869   2004   WABSH   1JJV281W74L883575   N/A       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125871   2004   WABSH   1JJV281W04L883577   N/A       CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125874   2004   WABSH   1JJV281W04L883580   N/A       PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125875   2004   WABSH   1JJV281W24L883581   N/A       PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125876   2004   WABSH   1JJV281W44L883582   N/A       OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125877   2004   WABSH   1JJV281W64L883583   N/A       OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125879   2004   WABSH   1JJV281WX4L883585   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125880   2004   WABSH   1JJV281W14L883586   N/A       KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125881   2004   WABSH   1JJV281W34L883587   N/A       AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125882   2004   WABSH   1JJV281W54L883588   N/A       SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125884   2004   WABSH   1JJV281W34L883590   N/A       FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125885   2004   WABSH   1JJV281W54L883591   N/A       OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125887   2004   WABSH   1JJV281W94L883593   N/A       Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125889   2004   WABSH   1JJV281W24L883595   N/A       CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125891   2004   WABSH   1JJV281W64L883597   N/A       TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125892   2004   WABSH   1JJV281W84L883598   N/A       MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125893   2004   WABSH   1JJV281WX4L883599   N/A       RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125895   2004   WABSH   1JJV281W44L883601   N/A       IN        Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125896   2004   WABSH   1JJV281W64L883602   N/A       CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125897   2004   WABSH   1JJV281W84L883603   N/A       TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125898   2004   WABSH   1JJV281WX4L883604   N/A       TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125899   2004   WABSH   1JJV281W14L883605   N/A       CA        Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125900   2004   WABSH   1JJV281W34L883606   N/A       TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125902   2004   WABSH   1JJV281W74L883608   N/A       TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125903   2004   WABSH   1JJV281W94L883609   N/A       TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125905   2004   WABSH   1JJV281W74L883611   N/A       NY        Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125906   2004   WABSH   1JJV281W94L883612   N/A       NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125908   2004   WABSH   1JJV281W24L883614   N/A       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125909   2004   WABSH   1JJV281W44L883615   N/A       MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125911   2004   WABSH   1JJV281W84L883617   N/A       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125912   2004   WABSH   1JJV281WX4L883618   N/A       FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125914   2004   WABSH   1JJV281W84L883620   N/A       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125915   2004   WABSH   1JJV281WX4L883621   N/A       MD        Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125916   2004   WABSH   1JJV281W14L883622   N/A       IA        Sioux City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125918   2004   WABSH   1JJV281W54L883624   N/A       CO        Aurora
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 609 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125919   2004   WABSH   1JJV281W74L883625   N/A       MI      Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125920   2004   WABSH   1JJV281W94L883626   N/A       AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125922   2004   WABSH   1JJV281W24L883628   N/A       MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125923   2004   WABSH   1JJV281W44L883629   N/A       AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125924   2004   WABSH   1JJV281W04L883630   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125926   2004   WABSH   1JJV281W44L883632   N/A       IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125927   2004   WABSH   1JJV281W64L883633   N/A       NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125930   2004   WABSH   1JJV281W14L883636   N/A       MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125931   2004   WABSH   1JJV281W34L883637   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125934   2004   WABSH   1JJV281W34L883640   N/A       PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125940   2004   WABSH   1JJV281W44L883646   N/A       LA      Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125941   2004   WABSH   1JJV281W64L883647   N/A       NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125942   2004   WABSH   1JJV281W84L883648   N/A       TX      Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125943   2004   WABSH   1JJV281WX4L883649   N/A       MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125946   2004   WABSH   1JJV281WX4L883652   N/A       IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125947   2004   WABSH   1JJV281W14L883653   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125948   2004   WABSH   1JJV281W34L883654   N/A       MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125949   2004   WABSH   1JJV281W54L883655   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125951   2004   WABSH   1JJV281W94L883657   N/A       NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125952   2004   WABSH   1JJV281W04L883658   N/A       VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125953   2004   WABSH   1JJV281W24L883659   N/A       TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125954   2004   WABSH   1JJV281W94L883660   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125955   2004   WABSH   1JJV281W04L883661   N/A       CA      Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125957   2004   WABSH   1JJV281W44L883663   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125963   2004   WABSH   1JJV281W54L883669   N/A       WA      Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125965   2004   WABSH   1JJV281W34L883671   N/A       ID      Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125967   2004   WABSH   1JJV281W74L883673   N/A       CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125968   2004   WABSH   1JJV281W94L883674   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125972   2004   WABSH   1JJV281W64L883678   N/A       RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125973   2004   WABSH   1JJV281W84L883679   N/A       IA      Sioux City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125974   2004   WABSH   1JJV281W44L883680   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125975   2004   WABSH   1JJV281W64L883681   N/A       MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125976   2004   WABSH   1JJV281W84L883682   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125977   2004   WABSH   1JJV281WX4L883683   N/A       GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125979   2004   WABSH   1JJV281W34L883685   N/A       NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125980   2004   WABSH   1JJV281W54L883686   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125981   2004   WABSH   1JJV281W74L883687   N/A       FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125982   2004   WABSH   1JJV281W94L883688   N/A       NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125984   2004   WABSH   1JJV281W74L883690   N/A       CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125985   2004   WABSH   1JJV281W94L883691   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125986   2004   WABSH   1JJV281W04L883692   N/A       CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125987   2004   WABSH   1JJV281W24L883693   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125988   2004   WABSH   1JJV281W44L883694   N/A       WA      Union Gap
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125990   2004   WABSH   1JJV281W84L883696   N/A       GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125991   2004   WABSH   1JJV281WX4L883697   N/A       MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125992   2004   WABSH   1JJV281W14L883698   N/A       FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125993   2004   WABSH   1JJV281W34L883699   N/A       OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125995   2004   WABSH   1JJV281W84L883701   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125996   2004   WABSH   1JJV281WX4L883702   N/A       MT      Missoula
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125998   2004   WABSH   1JJV281W34L883704   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY125999   2004   WABSH   1JJV281W54L883705   N/A       NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126002   2004   WABSH   1JJV281W04L883708   N/A       OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126003   2004   WABSH   1JJV281W24L883709   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126005   2004   WABSH   1JJV281W04L883711   N/A       FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126010   2004   WABSH   1JJV281WX4L883716   N/A       GA      Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126011   2004   WABSH   1JJV281W14L883717   N/A       CA      Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126012   2004   WABSH   1JJV281W34L883718   N/A       IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126013   2004   WABSH   1JJV281W54L883719   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126014   2004   WABSH   1JJV281W14L883720   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126016   2004   WABSH   1JJV281W54L883722   N/A       IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126017   2004   WABSH   1JJV281W74L883723   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126018   2004   WABSH   1JJV281W94L883724   N/A       OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126019   2004   WABSH   1JJV281W04L883725   N/A       OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126020   2004   WABSH   1JJV281W24L883726   N/A       NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126021   2004   WABSH   1JJV281W44L883727   N/A       TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126022   2004   WABSH   1JJV281W64L883728   N/A       MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126026   2004   WABSH   1JJV281W84L883732   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126027   2004   WABSH   1JJV281WX4L883733   N/A       NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126029   2004   WABSH   1JJV281W34L883735   N/A       TX      El Paso
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 610 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126032   2004   WABSH   1JJV281W94L883738   N/A       CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126035   2004   WABSH   1JJV281W94L883741   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126036   2004   WABSH   1JJV281W04L883742   N/A       OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126040   2004   WABSH   1JJV281W84L883746   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126041   2004   WABSH   1JJV281WX4L883747   N/A       MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126043   2004   WABSH   1JJV281W34L883749   N/A       KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126044   2004   WABSH   1JJV281WX4L883750   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126045   2004   WABSH   1JJV281W14L883751   N/A       MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126046   2004   WABSH   1JJV281W34L883752   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126048   2004   WABSH   1JJV281W74L883754   N/A       CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126049   2004   WABSH   1JJV281W94L883755   N/A       OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126050   2004   WABSH   1JJV281W04L883756   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126051   2004   WABSH   1JJV281W24L883757   N/A       NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126053   2004   WABSH   1JJV281W64L883759   N/A       NY      Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126054   2004   WABSH   1JJV281W24L883760   N/A       FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126055   2004   WABSH   1JJV281W44L883761   N/A       IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126056   2004   WABSH   1JJV281W64L883762   N/A       LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126057   2004   WABSH   1JJV281W84L883763   N/A       CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126061   2004   WABSH   1JJV281W54L883767   N/A       AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126063   2004   WABSH   1JJV281W94L883769   N/A       NJ      Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126064   2004   WABSH   1JJV281W54L883770   N/A       DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126065   2004   WABSH   1JJV281W74L883771   N/A       IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126066   2004   WABSH   1JJV281W94L883772   N/A       NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126068   2004   WABSH   1JJV281W24L883774   N/A       NC      Winston‐Salem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126069   2004   WABSH   1JJV281W44L883775   N/A       WI      Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126071   2004   WABSH   1JJV281W84L883777   N/A       NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126072   2004   WABSH   1JJV281WX4L883778   N/A       MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126073   2004   WABSH   1JJV281W14L883779   N/A       WV      Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126074   2004   WABSH   1JJV281W84L883780   N/A       NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126075   2004   WABSH   1JJV281WX4L883781   N/A       PA      Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126076   2004   WABSH   1JJV281W14L883782   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126078   2004   WABSH   1JJV281W54L883784   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126081   2004   WABSH   1JJV281W04L883787   N/A       IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126083   2004   WABSH   1JJV281W44L883789   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126085   2004   WABSH   1JJV281W24L883791   N/A       VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126086   2004   WABSH   1JJV281W44L883792   N/A       CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126087   2004   WABSH   1JJV281W64L883793   N/A       AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126088   2004   WABSH   1JJV281W84L883794   N/A       AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126090   2004   WABSH   1JJV281W14L883796   N/A       FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126091   2004   WABSH   1JJV281W34L883797   N/A       NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126092   2004   WABSH   1JJV281W54L883798   N/A       TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126093   2004   WABSH   1JJV281W74L883799   N/A       OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126094   2004   WABSH   1JJV281WX4L883800   N/A       OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126096   2004   WABSH   1JJV281W34L883802   N/A       OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126097   2004   WABSH   1JJV281W54L883803   N/A       FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126098   2004   WABSH   1JJV281W74L883804   N/A       IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126100   2004   WABSH   1JJV281W04L883806   N/A       TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126103   2004   WABSH   1JJV281W64L883809   N/A       TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126105   2004   WABSH   1JJV281W44L883811   N/A       MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126106   2004   WABSH   1JJV281W64L883812   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126108   2004   WABSH   1JJV281WX4L883814   N/A       OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126109   2004   WABSH   1JJV281W14L883815   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126110   2004   WABSH   1JJV281W34L883816   N/A       OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126111   2004   WABSH   1JJV281W54L883817   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126112   2004   WABSH   1JJV281W74L883818   N/A       MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126113   2004   WABSH   1JJV281W94L883819   N/A       PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126116   2004   WABSH   1JJV281W94L883822   N/A       NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126117   2004   WABSH   1JJV281W04L883823   N/A       AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126118   2004   WABSH   1JJV281W24L883824   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126119   2004   WABSH   1JJV281W44L883825   N/A       CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126120   2004   WABSH   1JJV281W64L883826   N/A       IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126121   2004   WABSH   1JJV281W84L883827   N/A       CA      Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126122   2004   WABSH   1JJV281WX4L883828   N/A       NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126123   2004   WABSH   1JJV281W14L883829   N/A       TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126125   2004   WABSH   1JJV281WX4L883831   N/A       TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126126   2004   WABSH   1JJV281W14L883832   N/A       MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126127   2004   WABSH   1JJV281W34L883833   N/A       CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126128   2004   WABSH   1JJV281W54L883834   N/A       CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126130   2004   WABSH   1JJV281W94L883836   N/A       AZ      Phoenix
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 611 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126133   2004   WABSH   1JJV281W44L883839   N/A       FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126136   2004   GRTDN   1GRAA56104K257271             PA      Shippensburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126137   2004   GRTDN   1GRAA56124K257272             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126138   2004   GRTDN   1GRAA56144K257273             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126141   2004   GRTDN   1GRAA561X4K257276             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126142   2004   GRTDN   1GRAA56114K257277             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126145   2004   GRTDN   1GRAA56114K257280             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126146   2004   GRTDN   1GRAA56134K257281             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126150   2004   GRTDN   1GRAA56104K257285             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126152   2004   GRTDN   1GRAA56144K257287             GA      La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126153   2004   GRTDN   1GRAA56164K257288             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126154   2004   GRTDN   1GRAA56184K257289             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126156   2004   GRTDN   1GRAA56164K257291             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126162   2004   GRTDN   1GRAA56174K257297             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126166   2004   GRTDN   1GRAA56154K257301             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126168   2004   GRTDN   1GRAA56194K257303             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126170   2004   GRTDN   1GRAA56124K257305             CA      Willows
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126171   2004   GRTDN   1GRAA56144K257306             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126172   2004   GRTDN   1GRAA56164K257307             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126173   2004   GRTDN   1GRAA56184K257308             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126174   2004   GRTDN   1GRAA561X4K257309             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126176   2004   GRTDN   1GRAA56184K257311             IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126180   2004   GRTDN   1GRAA56154K257315             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126182   2004   GRTDN   1GRAA56194K257317             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126183   2004   GRTDN   1GRAA56104K257318             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126186   2004   GRTDN   1GRAA56104K257321             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126191   2004   GRTDN   1GRAA561X4K257326             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126194   2004   GRTDN   1GRAA56154K257329             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126198   2004   GRTDN   1GRAA56174K257333             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126202   2004   GRTDN   1GRAA56144K257337             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126203   2004   GRTDN   1GRAA56164K257338             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126204   2004   GRTDN   1GRAA56184K257339             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126206   2004   GRTDN   1GRAA56164K257341             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126208   2004   GRTDN   1GRAA561X4K257343             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126209   2004   GRTDN   1GRAA56114K257344             KS      Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126210   2004   GRTDN   1GRAA56134K257345             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126211   2004   GRTDN   1GRAA56154K257346             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126212   2004   GRTDN   1GRAA56174K257347             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126214   2004   GRTDN   1GRAA56104K257349             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126215   2004   GRTDN   1GRAA56174K257350             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126216   2004   GRTDN   1GRAA56194K257351             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126217   2004   GRTDN   1GRAA56104K257352             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126218   2004   GRTDN   1GRAA56124K257353             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126219   2004   GRTDN   1GRAA56144K257354             MN      Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126221   2004   GRTDN   1GRAA56184K257356             NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126222   2004   GRTDN   1GRAA561X4K257357             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126224   2004   GRTDN   1GRAA56134K257359             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126225   2004   GRTDN   1GRAA561X4K257360             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126227   2004   GRTDN   1GRAA56134K257362             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126228   2004   GRTDN   1GRAA56154K257363             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126232   2004   GRTDN   1GRAA56124K257367             KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126233   2004   GRTDN   1GRAA56144K257368             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126234   2004   GRTDN   1GRAA56164K257369             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126237   2004   GRTDN   1GRAA56164K257372             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126238   2004   GRTDN   1GRAA56184K257373             AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126239   2004   GRTDN   1GRAA561X4K257374             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126241   2004   GRTDN   1GRAA56134K257376             NY      Maspeth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126243   2004   GRTDN   1GRAA56174K257378             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126245   2004   GRTDN   1GRAA56154K257380             MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126246   2004   GRTDN   1GRAA56174K257381             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126247   2004   GRTDN   1GRAA56194K257382             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126248   2004   GRTDN   1GRAA56104K257383             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126249   2004   GRTDN   1GRAA56124K257384             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126251   2004   GRTDN   1GRAA56164K257386             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126253   2004   GRTDN   1GRAA561X4K257388             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126254   2004   GRTDN   1GRAA56114K257389             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126255   2004   GRTDN   1GRAA56184K257390             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126258   2004   GRTDN   1GRAA56134K257393             PA      Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126259   2004   GRTDN   1GRAA56154K257394             NC      Charlotte
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 612 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126262   2004   GRTDN   1GRAA56104K257397             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126265   2004   GRTDN   1GRAA56174K257400             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126266   2004   GRTDN   1GRAA56194K257401             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126271   2004   GRTDN   1GRAA56184K257406             NH        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126272   2004   GRTDN   1GRAA561X4K257407             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126273   2004   GRTDN   1GRAA56114K257408             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126274   2004   GRTDN   1GRAA56134K257409             MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126275   2004   GRTDN   1GRAA561X4K257410             WI        Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126278   2004   GRTDN   1GRAA56154K257413             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126279   2004   GRTDN   1GRAA56174K257414             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126281   2004   GRTDN   1GRAA56104K257416             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126282   2004   GRTDN   1GRAA56124K257417             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126285   2004   GRTDN   1GRAA56124K257420             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126288   2004   GRTDN   1GRAA56184K257423             VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126289   2004   GRTDN   1GRAA561X4K257424             WY        Evansville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126291   2004   GRTDN   1GRAA56134K257426             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126292   2004   GRTDN   1GRAA56154K257427             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126293   2004   GRTDN   1GRAA56174K257428             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126294   2004   GRTDN   1GRAA56194K257429             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126295   2004   GRTDN   1GRAA56154K257430             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126296   2004   GRTDN   1GRAA56174K257431             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126297   2004   GRTDN   1GRAA56194K257432             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126300   2004   GRTDN   1GRAA56144K257435             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126303   2004   GRTDN   1GRAA561X4K257438             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126304   2004   GRTDN   1GRAA56114K257439             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126305   2004   GRTDN   1GRAA56184K257440             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126306   2004   GRTDN   1GRAA561X4K257441             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126307   2004   GRTDN   1GRAA56114K257442             CA        Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126308   2004   GRTDN   1GRAA56134K257443             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126310   2004   GRTDN   1GRAA56174K257445             ND        Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126311   2004   GRTDN   1GRAA56194K257446             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126315   2004   GRTDN   1GRAA56104K257450             AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126316   2004   GRTDN   1GRAA56124K257451             CA        Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126317   2004   GRTDN   1GRAA56144K257452             WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126318   2004   GRTDN   1GRAA56164K257453             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126319   2004   GRTDN   1GRAA56184K257454             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126320   2004   GRTDN   1GRAA561X4K257455             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126322   2004   GRTDN   1GRAA56134K257457             NJ        Mercerville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126323   2004   GRTDN   1GRAA56154K257458             CA        Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126325   2004   GRTDN   1GRAA56134K257460             WI        Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126326   2004   GRTDN   1GRAA56154K257461             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126327   2004   GRTDN   1GRAA56174K257462             CA        Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126328   2004   GRTDN   1GRAA56194K257463             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126329   2004   GRTDN   1GRAA56104K257464             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126330   2004   GRTDN   1GRAA56124K257465             ID        Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126331   2004   GRTDN   1GRAA56144K257466             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126332   2004   GRTDN   1GRAA56164K257467             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126333   2004   GRTDN   1GRAA56184K257468             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126334   2004   GRTDN   1GRAA561X4K257469             NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126337   2004   GRTDN   1GRAA561X4K257472             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126340   2004   GRTDN   1GRAA56154K257475             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126341   2004   GRTDN   1GRAA56174K257476             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126342   2004   GRTDN   1GRAA56194K257477             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126343   2004   GRTDN   1GRAA56104K257478             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126344   2004   GRTDN   1GRAA56124K257479             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126345   2004   GRTDN   1GRAA56194K257480             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126346   2004   GRTDN   1GRAA56104K257481             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126347   2004   GRTDN   1GRAA56124K257482             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126349   2004   GRTDN   1GRAA56164K257484             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126350   2004   GRTDN   1GRAA56184K257485             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126351   2004   GRTDN   1GRAA561X4K257486             NH        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126352   2004   GRTDN   1GRAA56114K257487             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126353   2004   GRTDN   1GRAA56134K257488             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126354   2004   GRTDN   1GRAA56154K257489             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126356   2004   GRTDN   1GRAA56134K257491             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126357   2004   GRTDN   1GRAA56154K257492             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126358   2004   GRTDN   1GRAA56174K257493             VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126359   2004   GRTDN   1GRAA56194K257494             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126360   2004   GRTDN   1GRAA56104K257495             NY        Tonawanda
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 613 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126362   2004   GRTDN   1GRAA56144K257497             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126363   2004   GRTDN   1GRAA56164K257498             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126364   2004   GRTDN   1GRAA56184K257499             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126365   2004   GRTDN   1GRAA56104K257500             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126367   2004   GRTDN   1GRAA56144K257502             UT               St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126368   2004   GRTDN   1GRAA56164K257503             VA               Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126369   2004   GRTDN   1GRAA56184K257504             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126370   2004   GRTDN   1GRAA561X4K257505             TX               McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126371   2004   GRTDN   1GRAA56114K257506             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126372   2004   GRTDN   1GRAA56134K257507             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126373   2004   GRTDN   1GRAA56154K257508             OR               Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126374   2004   GRTDN   1GRAA56174K257509             VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126375   2004   GRTDN   1GRAA56134K257510             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126376   2004   GRTDN   1GRAA56154K257511             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126377   2004   GRTDN   1GRAA56174K257512             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126378   2004   GRTDN   1GRAA56194K257513             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126381   2004   GRTDN   1GRAA56144K257516             CA               Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126382   2004   GRTDN   1GRAA56164K257517             Manitoba         Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126384   2004   GRTDN   1GRAA561X4K257519             GA               Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126385   2004   GRTDN   1GRAA56164K257520             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126386   2004   GRTDN   1GRAA56184K257521             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126387   2004   GRTDN   1GRAA561X4K257522             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126388   2004   GRTDN   1GRAA56114K257523             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126389   2004   GRTDN   1GRAA56134K257524             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126391   2004   GRTDN   1GRAA56174K257526             GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126393   2004   GRTDN   1GRAA56104K257528             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126395   2004   GRTDN   1GRAA56194K257530             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126396   2004   GRTDN   1GRAA56104K257531             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126399   2004   GRTDN   1GRAA56164K257534             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126400   2004   GRTDN   1GRAA56184K257535             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126401   2004   GRTDN   1GRAA561X4K257536             PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126402   2004   GRTDN   1GRAA56114K257537             IA               Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126403   2004   GRTDN   1GRAA56134K257538             PQ               Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126404   2004   GRTDN   1GRAA56154K257539             CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126405   2004   GRTDN   1GRAA56114K257540             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126406   2004   GRTDN   1GRAA56134K257541             Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126408   2004   GRTDN   1GRAA56174K257543             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126411   2004   GRTDN   1GRAA56124K257546             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126413   2004   GRTDN   1GRAA56164K257548             TX               Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126415   2004   GRTDN   1GRAA56144K257550             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126416   2004   GRTDN   1GRAA56164K257551             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126418   2004   GRTDN   1GRAA561X4K257553             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126419   2004   GRTDN   1GRAA56114K257554             IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126420   2004   GRTDN   1GRAA56134K257555             WI               Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126421   2004   GRTDN   1GRAA56154K257556             GA               Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126422   2004   GRTDN   1GRAA56174K257557             NC               Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126423   2004   GRTDN   1GRAA56194K257558             IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126424   2004   GRTDN   1GRAA56104K257559             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126427   2004   GRTDN   1GRAA56104K257562             TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126428   2004   GRTDN   1GRAA56124K257563             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126431   2004   GRTDN   1GRAA56184K257566             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126432   2004   GRTDN   1GRAA561X4K257567             GA               Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126433   2004   GRTDN   1GRAA56114K257568             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126434   2004   GRTDN   1GRAA56134K257569             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126436   2004   GRTDN   1GRAA56114K257571             WA               Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126437   2004   GRTDN   1GRAA56134K257572             VA               Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126438   2004   GRTDN   1GRAA56154K257573             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126439   2004   GRTDN   1GRAA56174K257574             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126441   2004   GRTDN   1GRAA56104K257576             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126442   2004   GRTDN   1GRAA56124K257577             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126443   2004   GRTDN   1GRAA56144K257578             MA               North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126445   2004   GRTDN   1GRAA56124K257580             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126447   2004   GRTDN   1GRAA56164K257582             ME               Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126448   2004   GRTDN   1GRAA56184K257583             GA               Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126449   2004   GRTDN   1GRAA561X4K257584             DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126450   2004   GRTDN   1GRAA56114K257585             UT               St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126451   2004   GRTDN   1GRAA56134K257586             FL               Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126452   2004   GRTDN   1GRAA56154K257587             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126453   2004   GRTDN   1GRAA56174K257588             IN               Indianapolis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 614 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126454   2004   GRTDN   1GRAA56194K257589             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126456   2004   GRTDN   1GRAA56174K257591             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126457   2004   GRTDN   1GRAA56194K257592             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126458   2004   GRTDN   1GRAA56104K257593             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126459   2004   GRTDN   1GRAA56124K257594             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126460   2004   GRTDN   1GRAA56144K257595             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126461   2004   GRTDN   1GRAA56164K257596             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126463   2004   GRTDN   1GRAA561X4K257598             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126464   2004   GRTDN   1GRAA56114K257599             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126467   2004   GRTDN   1GRAA56184K257602             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126468   2004   GRTDN   1GRAA561X4K257603             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126469   2004   GRTDN   1GRAA56114K257604             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126470   2004   GRTDN   1GRAA56134K257605             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126471   2004   GRTDN   1GRAA56154K257606             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126472   2004   GRTDN   1GRAA56174K257607             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126474   2004   GRTDN   1GRAA56104K257609             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126475   2004   GRTDN   1GRAA56174K257610             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126477   2004   GRTDN   1GRAA56104K257612             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126479   2004   GRTDN   1GRAA56144K257614             MD        Elkridge
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126481   2004   GRTDN   1GRAA56184K257616             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126482   2004   GRTDN   1GRAA561X4K257617             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126483   2004   GRTDN   1GRAA56114K257618             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126486   2004   GRTDN   1GRAA56114K257621             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126487   2004   GRTDN   1GRAA56134K257622             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126488   2004   GRTDN   1GRAA56154K257623             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126489   2004   GRTDN   1GRAA56174K257624             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126493   2004   GRTDN   1GRAA56144K257628             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126496   2004   GRTDN   1GRAA56144K257631             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126497   2004   GRTDN   1GRAA56164K257632             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126498   2004   GRTDN   1GRAA56184K257633             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126500   2004   GRTDN   1GRAA56114K257635             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126502   2004   GRTDN   1GRAA56154K257637             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126503   2004   GRTDN   1GRAA56174K257638             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126504   2004   GRTDN   1GRAA56194K257639             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126505   2004   GRTDN   1GRAA56154K257640             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126506   2004   GRTDN   1GRAA56174K257641             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126508   2004   GRTDN   1GRAA56104K257643             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126509   2004   GRTDN   1GRAA56124K257644             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126511   2004   GRTDN   1GRAA56164K257646             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126512   2004   GRTDN   1GRAA56184K257647             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126513   2004   GRTDN   1GRAA561X4K257648             MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126514   2004   GRTDN   1GRAA56114K257649             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126515   2004   GRTDN   1GRAA56184K257650             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126518   2004   GRTDN   1GRAA56134K257653             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126520   2004   GRTDN   1GRAA56174K257655             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126521   2004   GRTDN   1GRAA56194K257656             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126522   2004   GRTDN   1GRAA56104K257657             CA        Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126527   2004   GRTDN   1GRAA56144K257662             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126528   2004   GRTDN   1GRAA56164K257663             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126529   2004   GRTDN   1GRAA56184K257664             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126530   2004   GRTDN   1GRAA561X4K257665             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126531   2004   GRTDN   1GRAA56114K257666             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126533   2004   GRTDN   1GRAA56154K257668             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126534   2004   GRTDN   1GRAA56174K257669             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126535   2004   GRTDN   1GRAA56134K257670             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126536   2004   GRTDN   1GRAA56154K257671             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126537   2004   GRTDN   1GRAA56174K257672             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126539   2004   GRTDN   1GRAA56104K257674             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126540   2004   GRTDN   1GRAA56124K257675             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126541   2004   GRTDN   1GRAA56144K257676             CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126542   2004   GRTDN   1GRAA56164K257677             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126545   2004   GRTDN   1GRAA56164K257680             WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126546   2004   GRTDN   1GRAA56184K257681             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126547   2004   GRTDN   1GRAA561X4K257682             OH        North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126549   2004   GRTDN   1GRAA56134K257684             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126551   2004   GRTDN   1GRAA56174K257686             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126552   2004   GRTDN   1GRAA56194K257687             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126553   2004   GRTDN   1GRAA56104K257688             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126554   2004   GRTDN   1GRAA56124K257689             TN        Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 615 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126555   2004   GRTDN   1GRAA56194K257690             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126558   2004   GRTDN   1GRAA56144K257693             OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126559   2004   GRTDN   1GRAA56164K257694             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126560   2004   GRTDN   1GRAA56184K257695             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126561   2004   GRTDN   1GRAA561X4K257696             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126562   2004   GRTDN   1GRAA56114K257697             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126563   2004   GRTDN   1GRAA56134K257698             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126567   2004   GRTDN   1GRAA56114K257702             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126570   2004   GRTDN   1GRAA56174K257705             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126571   2004   GRTDN   1GRAA56194K257706             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126572   2004   GRTDN   1GRAA56104K257707             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126573   2004   GRTDN   1GRAA56124K257708             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126575   2004   GRTDN   1GRAA56104K257710             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126576   2004   GRTDN   1GRAA56124K257711             RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126577   2004   GRTDN   1GRAA56144K257712             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126578   2004   GRTDN   1GRAA56164K257713             TA        Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126580   2004   GRTDN   1GRAA561X4K257715             CA        Eureka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126581   2004   GRTDN   1GRAA56114K257716             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126582   2004   GRTDN   1GRAA56134K257717             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126583   2004   GRTDN   1GRAA56154K257718             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126584   2004   GRTDN   1GRAA56174K257719             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126585   2004   GRTDN   1GRAA56134K257720             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126587   2004   GRTDN   1GRAA56174K257722             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126588   2004   GRTDN   1GRAA56194K257723             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126589   2004   GRTDN   1GRAA56104K257724             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126590   2004   GRTDN   1GRAA56124K257725             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126591   2004   GRTDN   1GRAA56144K257726             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126593   2004   GRTDN   1GRAA56184K257728             LA        Monroe
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126594   2004   GRTDN   1GRAA561X4K257729             WV        Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126595   2004   GRTDN   1GRAA56164K257730             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126596   2004   GRTDN   1GRAA56184K257731             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126598   2004   GRTDN   1GRAA56114K257733             MT        Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126599   2004   GRTDN   1GRAA56134K257734             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126600   2004   GRTDN   1GRAA56154K257735             OR        Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126601   2004   GRTDN   1GRAA56174K257736             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126602   2004   GRTDN   1GRAA56194K257737             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126605   2004   GRTDN   1GRAA56194K257740             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126606   2004   GRTDN   1GRAA56104K257741             GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126607   2004   GRTDN   1GRAA56124K257742             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126608   2004   GRTDN   1GRAA56144K257743             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126609   2004   GRTDN   1GRAA56164K257744             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126612   2004   GRTDN   1GRAA56114K257747             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126613   2004   GRTDN   1GRAA56134K257748             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126614   2004   GRTDN   1GRAA56154K257749             ID        Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126615   2004   GRTDN   1GRAA56114K257750             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126617   2004   GRTDN   1GRAA56154K257752             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126619   2004   GRTDN   1GRAA56194K257754             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126620   2004   GRTDN   1GRAA56104K257755             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126623   2004   GRTDN   1GRAA56164K257758             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126624   2004   GRTDN   1GRAA56184K257759             CA        Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126625   2004   GRTDN   1GRAA56144K257760             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126626   2004   GRTDN   1GRAA56164K257761             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126627   2004   GRTDN   1GRAA56184K257762             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126629   2004   GRTDN   1GRAA56114K257764             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126630   2004   GRTDN   1GRAA56134K257765             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126631   2004   GRTDN   1GRAA56154K257766             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126632   2004   GRTDN   1GRAA56174K257767             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126634   2004   GRTDN   1GRAA56104K257769             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126636   2004   GRTDN   1GRAA56194K257771             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126637   2004   GRTDN   1GRAA56104K257772             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126638   2004   GRTDN   1GRAA56124K257773             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126639   2004   GRTDN   1GRAA56144K257774             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126641   2004   GRTDN   1GRAA56184K257776             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126643   2004   GRTDN   1GRAA56114K257778             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126645   2004   GRTDN   1GRAA561X4K257780             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126646   2004   GRTDN   1GRAA56114K257781             PA        Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126648   2004   GRTDN   1GRAA56154K257783             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126649   2004   GRTDN   1GRAA56174K257784             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126650   2004   GRTDN   1GRAA56194K257785             NY        Glenmont
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 616 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126651   2004   GRTDN   1GRAA56104K257786             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126652   2004   GRTDN   1GRAA56124K257787             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126653   2004   GRTDN   1GRAA56144K257788             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126655   2004   GRTDN   1GRAA56124K257790             CA      San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126657   2004   GRTDN   1GRAA56164K257792             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126658   2004   GRTDN   1GRAA56184K257793             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126660   2004   GRTDN   1GRAA56114K257795             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126661   2004   GRTDN   1GRAA56134K257796             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126662   2004   GRTDN   1GRAA56154K257797             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126665   2004   GRTDN   1GRAA56114K257800             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126666   2004   GRTDN   1GRAA56134K257801             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126667   2004   GRTDN   1GRAA56154K257802             NC      Fayetteville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126668   2004   GRTDN   1GRAA56174K257803             CA      Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126671   2004   GRTDN   1GRAA56124K257806             WI      Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126672   2004   GRTDN   1GRAA56144K257807             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126673   2004   GRTDN   1GRAA56164K257808             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126674   2004   GRTDN   1GRAA56184K257809             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126676   2004   GRTDN   1GRAA56164K257811             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126677   2004   GRTDN   1GRAA56184K257812             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126678   2004   GRTDN   1GRAA561X4K257813             CA      Santa Rosa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126679   2004   GRTDN   1GRAA56114K257814             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126680   2004   GRTDN   1GRAA56134K257815             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126681   2004   GRTDN   1GRAA56154K257816             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126682   2004   GRTDN   1GRAA56174K257817             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126683   2004   GRTDN   1GRAA56194K257818             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126684   2004   GRTDN   1GRAA56104K257819             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126687   2004   GRTDN   1GRAA56104K257822             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126688   2004   GRTDN   1GRAA56124K257823             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126689   2004   GRTDN   1GRAA56144K257824             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126692   2004   GRTDN   1GRAA561X4K257827             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126693   2004   GRTDN   1GRAA56114K257828             OR      Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126694   2004   GRTDN   1GRAA56134K257829             CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126695   2004   GRTDN   1GRAA561X4K257830             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126696   2004   GRTDN   1GRAA56114K257831             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126699   2004   GRTDN   1GRAA56174K257834             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126700   2004   GRTDN   1GRAA56194K257835             PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126702   2004   GRTDN   1GRAA56124K257837             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126707   2004   GRTDN   1GRAA56164K257842             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126708   2004   GRTDN   1GRAA56184K257843             WI      Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126709   2004   GRTDN   1GRAA561X4K257844             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126711   2004   GRTDN   1GRAA56134K257846             IL      McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126712   2004   GRTDN   1GRAA56154K257847             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126713   2004   GRTDN   1GRAA56174K257848             AZ      Nogales
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126714   2004   GRTDN   1GRAA56194K257849             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126717   2004   GRTDN   1GRAA56194K257852             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126718   2004   GRTDN   1GRAA56104K257853             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126719   2004   GRTDN   1GRAA56124K257854             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126721   2004   GRTDN   1GRAA56164K257856             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126723   2004   GRTDN   1GRAA561X4K257858             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126724   2004   GRTDN   1GRAA56114K257859             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126725   2004   GRTDN   1GRAA56184K257860             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126727   2004   GRTDN   1GRAA56114K257862             CA      Calexico
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126728   2004   GRTDN   1GRAA56134K257863             NJ      Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126729   2004   GRTDN   1GRAA56154K257864             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126730   2004   GRTDN   1GRAA56174K257865             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126732   2004   GRTDN   1GRAA56104K257867             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126733   2004   GRTDN   1GRAA56124K257868             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126736   2004   STGHT   1DW1A28114S707901             MA      Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126743   2004   STGHT   1DW1A28144S707908             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126760   2004   STGHT   1DW1A28144S707925             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126776   2004   STGHT   1DW1A28124S707941             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126778   2004   STGHT   1DW1A28164S707943             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126785   2004   STGHT   1DW1A28134S707950             NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126786   2004   STGHT   1DW1A28154S707951             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126789   2004   STGHT   1DW1A28104S707954             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126791   2004   STGHT   1DW1A28144S707956             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126792   2004   STGHT   1DW1A28164S707957             CA      Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126796   2004   STGHT   1DW1A28184S707961             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126800   2004   STGHT   1DW1A28154S707965             TX      Dallas
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23         Page 617 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL      State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126805   2004   STGHT   1DW1A28194S707970               VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126813   2004   STGHT   1DW1A28134S707978               OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126814   2004   STGHT   1DW1A28154S707979               TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126815   2004   STGHT   1DW1A28114S707980               UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126819   2004   STGHT   1DW1A28194S707984               OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126821   2004   STGHT   1DW1A28124S707986               PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126830   2004   STGHT   1DW1A28134S707995               OK        Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126832   2004   STGHT   1DW1A28174S707997               OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126833   2004   STGHT   1DW1A28194S707998               GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126834   2004   STGHT   1DW1A28104S707999               CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126835   2004   WABSH   1JJV281W04L900281   N/A         OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126836   2004   WABSH   1JJV281W24L900282   N/A         CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126837   2004   WABSH   1JJV281W44L900283   N/A         CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126838   2004   WABSH   1JJV281W64L900284   N/A         CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126839   2004   WABSH   1JJV281W84L900285   N/A         NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126840   2004   WABSH   1JJV281WX4L900286   N/A         PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126841   2004   WABSH   1JJV281W14L900287   N/A         MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126842   2004   WABSH   1JJV281W34L900288   N/A         CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126843   2004   WABSH   1JJV281W54L900289   N/A         GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126844   2004   WABSH   1JJV281W14L900290   N/A         OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126845   2004   WABSH   1JJV281W34L900291   N/A         CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126846   2004   WABSH   1JJV281W54L900292   N/A         IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126847   2004   WABSH   1JJV281W74L900293   N/A         CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126849   2004   WABSH   1JJV281W04L900295   N/A         OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126851   2004   WABSH   1JJV281W44L900297   N/A         TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126852   2004   WABSH   1JJV281W64L900298   N/A         CA        Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126853   2004   WABSH   1JJV281W84L900299   N/A         IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126856   2004   WABSH   1JJV281W44L900302   N/A         GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126857   2004   WABSH   1JJV281W64L900303   N/A         TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126859   2004   WABSH   1JJV281WX4L900305   N/A         IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126860   2004   WABSH   1JJV281W14L900306   N/A         TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126862   2004   WABSH   1JJV281W54L900308   N/A         TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126863   2004   WABSH   1JJV281W74L900309   N/A         PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126865   2004   WABSH   1JJV281W54L900311   N/A         NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126867   2004   WABSH   1JJV281W94L900313   N/A         CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126868   2004   WABSH   1JJV281W04L900314   N/A         CA        Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126869   2004   WABSH   1JJV281W24L900315   N/A         GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126870   2004   WABSH   1JJV281W44L900316   N/A         MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126873   2004   WABSH   1JJV281WX4L900319   N/A         AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126874   2004   WABSH   1JJV281W64L900320   N/A         WI        Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126875   2004   WABSH   1JJV281W84L900321   N/A         NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126877   2004   WABSH   1JJV281W14L900323   N/A         OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126878   2004   WABSH   1JJV281W34L900324   N/A         VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126879   2004   WABSH   1JJV281W54L900325   N/A         NY        Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126880   2004   WABSH   1JJV281W74L900326   N/A         IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126882   2004   WABSH   1JJV281W04L900328   N/A         Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126885   2004   WABSH   1JJV281W04L900331   N/A         MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126888   2004   WABSH   1JJV281W64L900334   N/A         OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126889   2004   WABSH   1JJV281W84L900335   N/A         MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126890   2004   WABSH   1JJV281WX4L900336   N/A         CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126891   2004   WABSH   1JJV281W14L900337   N/A         CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126895   2004   WABSH   1JJV281W34L900341   N/A         PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126897   2004   WABSH   1JJV281W74L900343   N/A         CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126898   2004   WABSH   1JJV281W94L900344   N/A         MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126899   2004   WABSH   1JJV281W04L900345   N/A         GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126900   2004   WABSH   1JJV281W24L900346   N/A         IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126901   2004   WABSH   1JJV281W44L900347   N/A         NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126902   2004   WABSH   1JJV281W64L900348   N/A         IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126903   2004   WABSH   1JJV281W84L900349   N/A         GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126905   2004   WABSH   1JJV281W64L900351   N/A         OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126908   2004   WABSH   1JJV281W14L900354   N/A         GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126909   2004   WABSH   1JJV281W34L900355   N/A         IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126910   2004   WABSH   1JJV281W54L900356   N/A         OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126911   2004   WABSH   1JJV281W74L900357   N/A         NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126912   2004   WABSH   1JJV281W94L900358   N/A         AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126913   2004   WABSH   1JJV281W04L900359   N/A         VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126914   2004   WABSH   1JJV281W74L900360   N/A         NY        Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126915   2004   WABSH   1JJV281W94L900361   N/A         TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126916   2004   WABSH   1JJV281W04L900362   N/A         IL        Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 618 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126917   2004   WABSH   1JJV281W24L900363   N/A       IN      Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126918   2004   WABSH   1JJV281W44L900364   N/A       IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126919   2004   WABSH   1JJV281W64L900365   N/A       VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126920   2004   WABSH   1JJV281W84L900366   N/A       IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126921   2004   WABSH   1JJV281WX4L900367   N/A       WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126922   2004   WABSH   1JJV281W14L900368   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126923   2004   WABSH   1JJV281W34L900369   N/A       CA      San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126924   2004   WABSH   1JJV281WX4L900370   N/A       CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126925   2004   WABSH   1JJV281W14L900371   N/A       NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126926   2004   WABSH   1JJV281W34L900372   N/A       AR      Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126927   2004   WABSH   1JJV281W54L900373   N/A       MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126928   2004   WABSH   1JJV281W74L900374   N/A       NJ      Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126930   2004   WABSH   1JJV281W04L900376   N/A       MN      Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126931   2004   WABSH   1JJV281W24L900377   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126932   2004   WABSH   1JJV281W44L900378   N/A       SC      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126933   2004   WABSH   1JJV281W64L900379   N/A       TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126934   2004   WABSH   1JJV281W24L900380   N/A       MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126936   2004   WABSH   1JJV281W64L900382   N/A       MI      Norway
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126937   2004   WABSH   1JJV281W84L900383   N/A       NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126938   2004   WABSH   1JJV281WX4L900384   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126939   2004   WABSH   1JJV281W14L900385   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126940   2004   WABSH   1JJV281W34L900386   N/A       IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126941   2004   WABSH   1JJV281W54L900387   N/A       TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126943   2004   WABSH   1JJV281W94L900389   N/A       MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126944   2004   WABSH   1JJV281W54L900390   N/A       WI      Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126946   2004   WABSH   1JJV281W94L900392   N/A       AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126948   2004   WABSH   1JJV281W24L900394   N/A       CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126949   2004   WABSH   1JJV281W44L900395   N/A       FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126950   2004   WABSH   1JJV281W64L900396   N/A       WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126951   2004   WABSH   1JJV281W84L900397   N/A       FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126952   2004   WABSH   1JJV281WX4L900398   N/A       TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126955   2004   WABSH   1JJV281W64L900401   N/A       NY      Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126956   2004   WABSH   1JJV281W84L900402   N/A       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126958   2004   WABSH   1JJV281W14L900404   N/A       GA      Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126959   2004   WABSH   1JJV281W34L900405   N/A       OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126961   2004   WABSH   1JJV281W74L900407   N/A       CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126962   2004   WABSH   1JJV281W94L900408   N/A       NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126963   2004   WABSH   1JJV281W04L900409   N/A       AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126964   2004   WABSH   1JJV281W74L900410   N/A       NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126965   2004   WABSH   1JJV281W94L900411   N/A       CA      Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126966   2004   WABSH   1JJV281W04L900412   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126967   2004   WABSH   1JJV281W24L900413   N/A       MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126968   2004   WABSH   1JJV281W44L900414   N/A       MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126969   2004   WABSH   1JJV281W64L900415   N/A       IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126970   2004   WABSH   1JJV281W84L900416   N/A       IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126972   2004   WABSH   1JJV281W14L900418   N/A       TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126973   2004   WABSH   1JJV281W34L900419   N/A       TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126974   2004   WABSH   1JJV281WX4L900420   N/A       VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126975   2004   WABSH   1JJV281W14L900421   N/A       NH      Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126976   2004   WABSH   1JJV281W34L900422   N/A       VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126977   2004   WABSH   1JJV281W54L900423   N/A       IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126978   2004   WABSH   1JJV281W74L900424   N/A       OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126979   2004   WABSH   1JJV281W94L900425   N/A       MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126980   2004   WABSH   1JJV281W04L900426   N/A       FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126981   2004   WABSH   1JJV281W24L900427   N/A       AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126982   2004   WABSH   1JJV281W44L900428   N/A       MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126983   2004   WABSH   1JJV281W64L900429   N/A       GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126984   2004   WABSH   1JJV281W24L900430   N/A       MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126985   2004   WABSH   1JJV281W44L900431   N/A       OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126986   2004   WABSH   1JJV281W64L900432   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126988   2004   WABSH   1JJV281WX4L900434   N/A       MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126989   2004   WABSH   1JJV281W14L900435   N/A       CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126993   2004   WABSH   1JJV281W94L900439   N/A       MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126996   2004   WABSH   1JJV281W94L900442   N/A       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126998   2004   WABSH   1JJV281W24L900444   N/A       TX      McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY126999   2004   WABSH   1JJV281W44L900445   N/A       MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127000   2004   WABSH   1JJV281W64L900446   N/A       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127001   2004   WABSH   1JJV281W84L900447   N/A       NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127002   2004   WABSH   1JJV281WX4L900448   N/A       GA      Thomasville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 619 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127003   2004   WABSH   1JJV281W14L900449   N/A       GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127004   2004   WABSH   1JJV281W84L900450   N/A       OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127005   2004   WABSH   1JJV281WX4L900451   N/A       TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127006   2004   WABSH   1JJV281W14L900452   N/A       WI        Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127007   2004   WABSH   1JJV281W34L900453   N/A       CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127008   2004   WABSH   1JJV281W54L900454   N/A       KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127009   2004   WABSH   1JJV281W74L900455   N/A       TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127012   2004   WABSH   1JJV281W24L900458   N/A       MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127013   2004   WABSH   1JJV281W44L900459   N/A       FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127014   2004   WABSH   1JJV281W04L900460   N/A       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127015   2004   WABSH   1JJV281W24L900461   N/A       CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127016   2004   WABSH   1JJV281W44L900462   N/A       VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127019   2004   WABSH   1JJV281WX4L900465   N/A       TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127020   2004   WABSH   1JJV281W14L900466   N/A       CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127021   2004   WABSH   1JJV281W34L900467   N/A       NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127022   2004   WABSH   1JJV281W54L900468   N/A       MD        Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127023   2004   WABSH   1JJV281W74L900469   N/A       CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127024   2004   WABSH   1JJV281W34L900470   N/A       OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127025   2004   WABSH   1JJV281W54L900471   N/A       MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127026   2004   WABSH   1JJV281W74L900472   N/A       GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127027   2004   WABSH   1JJV281W94L900473   N/A       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127028   2004   WABSH   1JJV281W04L900474   N/A       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127029   2004   WABSH   1JJV281W24L900475   N/A       IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127030   2004   WABSH   1JJV281W44L900476   N/A       OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127031   2004   WABSH   1JJV281W64L900477   N/A       FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127032   2004   WABSH   1JJV281W84L900478   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127033   2004   WABSH   1JJV281WX4L900479   N/A       KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127034   2004   WABSH   1JJV281W64L900480   N/A       OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127035   2004   WABSH   1JJV281W84L900481   N/A       MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127036   2004   WABSH   1JJV281WX4L900482   N/A       TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127039   2004   WABSH   1JJV281W54L900485   N/A       NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127042   2004   WABSH   1JJV281W04L900488   N/A       CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127044   2004   WABSH   1JJV281W94L900490   N/A       TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127045   2004   WABSH   1JJV281W04L900491   N/A       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127046   2004   WABSH   1JJV281W24L900492   N/A       MI        Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127047   2004   WABSH   1JJV281W44L900493   N/A       OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127048   2004   WABSH   1JJV281W64L900494   N/A       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127049   2004   WABSH   1JJV281W84L900495   N/A       ND        Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127050   2004   WABSH   1JJV281WX4L900496   N/A       CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127052   2004   WABSH   1JJV281W34L900498   N/A       NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127056   2004   WABSH   1JJV281W14L900502   N/A       IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127057   2004   WABSH   1JJV281W34L900503   N/A       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127058   2004   WABSH   1JJV281W54L900504   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127059   2004   WABSH   1JJV281W74L900505   N/A       SC        North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127060   2004   WABSH   1JJV281W94L900506   N/A       FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127061   2004   WABSH   1JJV281W04L900507   N/A       PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127062   2004   WABSH   1JJV281W24L900508   N/A       KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127063   2004   WABSH   1JJV281W44L900509   N/A       IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127064   2004   WABSH   1JJV281W04L900510   N/A       OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127065   2004   WABSH   1JJV281W24L900511   N/A       AZ        Tucson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127068   2004   WABSH   1JJV281W84L900514   N/A       IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127070   2004   WABSH   1JJV281W14L900516   N/A       AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127072   2004   WABSH   1JJV281W54L900518   N/A       MN        Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127078   2004   WABSH   1JJV281W04L900524   N/A       OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127079   2004   WABSH   1JJV281W24L900525   N/A       CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127080   2004   WABSH   1JJV281W44L900526   N/A       IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127081   2004   WABSH   1JJV281W64L900527   N/A       MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127082   2004   WABSH   1JJV281W84L900528   N/A       CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127083   2004   WABSH   1JJV281WX4L900529   N/A       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127084   2004   WABSH   1JJV281W64L900530   N/A       CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127085   2005   WABSH   1JJV281W95L912883             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127087   2005   WABSH   1JJV281W25L912885             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127088   2005   WABSH   1JJV281W45L912886             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127090   2005   WABSH   1JJV281W85L912888             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127094   2005   WABSH   1JJV281WX5L912892             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127095   2005   WABSH   1JJV281W15L912893             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127096   2005   WABSH   1JJV281W35L912894             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127097   2005   WABSH   1JJV281W55L912895             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127098   2005   WABSH   1JJV281W75L912896             TN        Nashville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 620 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127101   2005   WABSH   1JJV281W25L912899             AZ      Tucson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127102   2005   WABSH   1JJV281W55L912900             CA      Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127103   2005   WABSH   1JJV281W75L912901             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127104   2005   WABSH   1JJV281W95L912902             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127105   2005   WABSH   1JJV281W05L912903             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127107   2005   WABSH   1JJV281W45L912905             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127108   2005   WABSH   1JJV281W65L912906             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127109   2005   WABSH   1JJV281W85L912907             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127110   2005   WABSH   1JJV281WX5L912908             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127111   2005   WABSH   1JJV281W15L912909             CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127113   2005   WABSH   1JJV281WX5L912911             GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127114   2005   WABSH   1JJV281W15L912912             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127116   2005   WABSH   1JJV281W55L912914             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127117   2005   WABSH   1JJV281W75L912915             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127119   2005   WABSH   1JJV281W05L912917             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127120   2005   WABSH   1JJV281W25L912918             CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127122   2005   WABSH   1JJV281W05L912920             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127124   2005   WABSH   1JJV281W45L912922             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127126   2005   WABSH   1JJV281W85L912924             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127127   2005   WABSH   1JJV281WX5L912925             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127128   2005   WABSH   1JJV281W15L912926             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127129   2005   WABSH   1JJV281W35L912927             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127130   2005   WABSH   1JJV281W55L912928             CA      Santa Rosa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127131   2005   WABSH   1JJV281W75L912929             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127132   2005   WABSH   1JJV281W35L912930             MI      Gaylord
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127133   2005   WABSH   1JJV281W55L912931             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127135   2005   WABSH   1JJV281W95L912933             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127136   2005   WABSH   1JJV281W05L912934             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127138   2005   WABSH   1JJV281W45L912936             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127139   2005   WABSH   1JJV281W65L912937             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127142   2005   WABSH   1JJV281W65L912940             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127143   2005   WABSH   1JJV281W85L912941             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127144   2005   WABSH   1JJV281WX5L912942             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127145   2005   WABSH   1JJV281W15L912943             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127146   2005   WABSH   1JJV281W35L912944             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127147   2005   WABSH   1JJV281W55L912945             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127148   2005   WABSH   1JJV281W75L912946             GA      La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127149   2005   WABSH   1JJV281W95L912947             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127150   2005   WABSH   1JJV281W05L912948             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127151   2005   WABSH   1JJV281W25L912949             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127153   2005   WABSH   1JJV281W05L912951             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127154   2005   WABSH   1JJV281W25L912952             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127156   2005   WABSH   1JJV281W65L912954             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127157   2005   WABSH   1JJV281W85L912955             AR      Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127159   2005   WABSH   1JJV281W15L912957             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127160   2005   WABSH   1JJV281W35L912958             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127161   2005   WABSH   1JJV281W55L912959             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127163   2005   WABSH   1JJV281W35L912961             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127164   2005   WABSH   1JJV281W55L912962             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127165   2005   WABSH   1JJV281W75L912963             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127167   2005   WABSH   1JJV281W05L912965             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127169   2005   WABSH   1JJV281W45L912967             CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127170   2005   WABSH   1JJV281W65L912968             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127171   2005   WABSH   1JJV281W85L912969             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127172   2005   WABSH   1JJV281W45L912970             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127173   2005   WABSH   1JJV281W65L912971             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127175   2005   WABSH   1JJV281WX5L912973             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127176   2005   WABSH   1JJV281W15L912974             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127177   2005   WABSH   1JJV281W35L912975             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127178   2005   WABSH   1JJV281W55L912976             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127180   2005   WABSH   1JJV281W95L912978             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127181   2005   WABSH   1JJV281W05L912979             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127183   2005   WABSH   1JJV281W95L912981             PA      Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127184   2005   WABSH   1JJV281W05L912982             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127186   2005   WABSH   1JJV281W45L912984             SC      North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127187   2005   WABSH   1JJV281W65L912985             ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127188   2005   WABSH   1JJV281W85L912986             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127189   2005   WABSH   1JJV281WX5L912987             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127190   2005   WABSH   1JJV281W15L912988             TX      Fort Worth
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 621 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127191   2005   WABSH   1JJV281W35L912989             PA      Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127192   2005   WABSH   1JJV281WX5L912990             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127193   2005   WABSH   1JJV281W15L912991             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127194   2005   WABSH   1JJV281W35L912992             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127195   2005   WABSH   1JJV281W55L912993             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127196   2005   WABSH   1JJV281W75L912994             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127197   2005   WABSH   1JJV281W95L912995             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127199   2005   WABSH   1JJV281W25L912997             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127200   2005   WABSH   1JJV281W45L912998             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127201   2005   WABSH   1JJV281W65L912999             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127202   2005   WABSH   1JJV281W75L913000             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127203   2005   WABSH   1JJV281W95L913001             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127204   2005   WABSH   1JJV281W05L913002             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127205   2005   WABSH   1JJV281W25L913003             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127207   2005   WABSH   1JJV281W65L913005             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127208   2005   WABSH   1JJV281W85L913006             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127209   2005   WABSH   1JJV281WX5L913007             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127210   2005   WABSH   1JJV281W15L913008             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127211   2005   WABSH   1JJV281W35L913009             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127212   2005   WABSH   1JJV281WX5L913010             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127213   2005   WABSH   1JJV281W15L913011             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127214   2005   WABSH   1JJV281W35L913012             NY      Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127215   2005   WABSH   1JJV281W55L913013             NY      Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127216   2005   WABSH   1JJV281W75L913014             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127217   2005   WABSH   1JJV281W95L913015             MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127218   2005   WABSH   1JJV281W05L913016             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127219   2005   WABSH   1JJV281W25L913017             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127220   2005   WABSH   1JJV281W45L913018             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127221   2005   WABSH   1JJV281W65L913019             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127222   2005   WABSH   1JJV281W25L913020             NY      Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127223   2005   WABSH   1JJV281W45L913021             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127228   2005   WABSH   1JJV281W35L913026             OK      Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127229   2005   WABSH   1JJV281W55L913027             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127230   2005   WABSH   1JJV281W75L913028             MN      Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127231   2005   WABSH   1JJV281W95L913029             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127232   2005   WABSH   1JJV281W55L913030             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127234   2005   WABSH   1JJV281W95L913032             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127235   2005   WABSH   1JJV281W05L913033             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127237   2005   WABSH   1JJV281W45L913035             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127238   2005   WABSH   1JJV281W65L913036             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127239   2005   WABSH   1JJV281W85L913037             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127240   2005   WABSH   1JJV281WX5L913038             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127241   2005   WABSH   1JJV281W15L913039             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127242   2005   WABSH   1JJV281W85L913040             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127243   2005   WABSH   1JJV281WX5L913041             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127244   2005   WABSH   1JJV281W15L913042             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127245   2005   WABSH   1JJV281W35L913043             VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127246   2005   WABSH   1JJV281W55L913044             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127247   2005   WABSH   1JJV281W75L913045             TX      Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127248   2005   WABSH   1JJV281W95L913046             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127249   2005   WABSH   1JJV281W05L913047             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127250   2005   WABSH   1JJV281W25L913048             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127251   2005   WABSH   1JJV281W45L913049             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127252   2005   WABSH   1JJV281W05L913050             VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127253   2005   WABSH   1JJV281W25L913051             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127254   2005   WABSH   1JJV281W45L913052             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127255   2005   WABSH   1JJV281W65L913053             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127256   2005   WABSH   1JJV281W85L913054             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127257   2005   WABSH   1JJV281WX5L913055             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127258   2005   WABSH   1JJV281W15L913056             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127259   2005   WABSH   1JJV281W35L913057             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127260   2005   WABSH   1JJV281W55L913058             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127261   2005   WABSH   1JJV281W75L913059             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127262   2005   WABSH   1JJV281W35L913060             SC      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127263   2005   WABSH   1JJV281W55L913061             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127264   2005   WABSH   1JJV281W75L913062             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127265   2005   WABSH   1JJV281W95L913063             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127267   2005   WABSH   1JJV281W25L913065             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127268   2005   WABSH   1JJV281W45L913066             IL      Hodgkins
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 622 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127269   2005   WABSH   1JJV281W65L913067             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127271   2005   WABSH   1JJV281WX5L913069             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127272   2005   WABSH   1JJV281W65L913070             CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127273   2005   WABSH   1JJV281W85L913071             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127274   2005   WABSH   1JJV281WX5L913072             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127275   2005   WABSH   1JJV281W15L913073             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127276   2005   WABSH   1JJV281W35L913074             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127277   2005   WABSH   1JJV281W55L913075             VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127278   2005   WABSH   1JJV281W75L913076             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127280   2005   WABSH   1JJV281W05L913078             CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127281   2005   WABSH   1JJV281W25L913079             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127282   2005   WABSH   1JJV281W95L913080             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127283   2005   WABSH   1JJV281W05L913081             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127284   2005   WABSH   1JJV281W25L913082             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127285   2005   WABSH   1JJV281W45L913083             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127287   2005   WABSH   1JJV281W85L913085             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127288   2005   WABSH   1JJV281WX5L913086             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127289   2005   WABSH   1JJV281W15L913087             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127291   2005   WABSH   1JJV281W55L913089             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127292   2005   WABSH   1JJV281W15L913090             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127293   2005   WABSH   1JJV281W35L913091             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127294   2005   WABSH   1JJV281W55L913092             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127297   2005   WABSH   1JJV281W05L913095             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127298   2005   WABSH   1JJV281W25L913096             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127299   2005   WABSH   1JJV281W45L913097             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127300   2005   WABSH   1JJV281W65L913098             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127301   2005   WABSH   1JJV281W85L913099             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127304   2005   WABSH   1JJV281W45L913102             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127306   2005   WABSH   1JJV281W85L913104             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127307   2005   WABSH   1JJV281WX5L913105             ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127308   2005   WABSH   1JJV281W15L913106             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127309   2005   WABSH   1JJV281W35L913107             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127310   2005   WABSH   1JJV281W55L913108             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127312   2005   WABSH   1JJV281W35L913110             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127313   2005   WABSH   1JJV281W55L913111             AL        Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127314   2005   WABSH   1JJV281W75L913112             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127315   2005   WABSH   1JJV281W95L913113             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127316   2005   WABSH   1JJV281W05L913114             WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127318   2005   WABSH   1JJV281W45L913116             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127319   2005   WABSH   1JJV281W65L913117             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127320   2005   WABSH   1JJV281W85L913118             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127321   2005   WABSH   1JJV281WX5L913119             ID        Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127323   2005   WABSH   1JJV281W85L913121             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127324   2005   WABSH   1JJV281WX5L913122             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127325   2005   WABSH   1JJV281W15L913123             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127326   2005   WABSH   1JJV281W35L913124             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127327   2005   WABSH   1JJV281W55L913125             WV        Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127328   2005   WABSH   1JJV281W75L913126             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127329   2005   WABSH   1JJV281W95L913127             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127330   2005   WABSH   1JJV281W05L913128             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127331   2005   WABSH   1JJV281W25L913129             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127333   2005   WABSH   1JJV281W05L913131             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127334   2005   WABSH   1JJV281W25L913132             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127335   2005   WABSH   1JJV281W45L913133             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127336   2005   WABSH   1JJV281W65L913134             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127338   2005   WABSH   1JJV281WX5L913136             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127339   2005   WABSH   1JJV281W15L913137             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127340   2005   WABSH   1JJV281W35L913138             WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127341   2005   WABSH   1JJV281W55L913139             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127342   2005   WABSH   1JJV281W15L913140             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127343   2005   WABSH   1JJV281W35L913141             SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127345   2005   WABSH   1JJV281W75L913143             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127348   2005   WABSH   1JJV281W25L913146             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127349   2005   WABSH   1JJV281W45L913147             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127350   2005   WABSH   1JJV281W65L913148             GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127351   2005   WABSH   1JJV281W85L913149             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127352   2005   WABSH   1JJV281W45L913150             KS        Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127354   2005   WABSH   1JJV281W85L913152             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127355   2005   WABSH   1JJV281WX5L913153             IL        Montgomery
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 623 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127358   2005   WABSH   1JJV281W55L913156             NY        Elmira
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127359   2005   WABSH   1JJV281W75L913157             TN        Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127360   2005   WABSH   1JJV281W95L913158             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127361   2005   WABSH   1JJV281W05L913159             KS        Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127362   2005   WABSH   1JJV281W75L913160             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127363   2005   WABSH   1JJV281W95L913161             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127364   2005   WABSH   1JJV281W05L913162             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127365   2005   WABSH   1JJV281W25L913163             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127367   2005   WABSH   1JJV281W65L913165             NH        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127368   2005   WABSH   1JJV281W85L913166             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127370   2005   WABSH   1JJV281W15L913168             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127371   2005   WABSH   1JJV281W35L913169             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127374   2005   WABSH   1JJV281W35L913172             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127375   2005   WABSH   1JJV281W55L913173             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127376   2005   WABSH   1JJV281W75L913174             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127378   2005   WABSH   1JJV281W05L913176             TX        Austin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127379   2005   WABSH   1JJV281W25L913177             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127380   2005   WABSH   1JJV281W45L913178             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127381   2005   WABSH   1JJV281W65L913179             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127382   2005   WABSH   1JJV281W25L913180             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127383   2005   WABSH   1JJV281W45L913181             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127384   2005   WABSH   1JJV281W65L913182             OR        Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127385   2005   WABSH   1JJV281W85L913183             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127389   2005   WABSH   1JJV281W55L913187             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127390   2005   WABSH   1JJV281W75L913188             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127391   2005   WABSH   1JJV281W95L913189             WA        Bellingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127392   2005   WABSH   1JJV281W55L913190             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127393   2005   WABSH   1JJV281W75L913191             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127394   2005   WABSH   1JJV281W95L913192             PQ        Sherbrooke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127395   2005   WABSH   1JJV281W05L913193             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127396   2005   WABSH   1JJV281W25L913194             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127397   2005   WABSH   1JJV281W45L913195             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127398   2005   WABSH   1JJV281W65L913196             AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127399   2005   WABSH   1JJV281W85L913197             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127400   2005   WABSH   1JJV281WX5L913198             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127401   2005   WABSH   1JJV281W15L913199             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127403   2005   WABSH   1JJV281W65L913201             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127404   2005   WABSH   1JJV281W85L913202             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127405   2005   WABSH   1JJV281WX5L913203             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127406   2005   WABSH   1JJV281W15L913204             OK        Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127408   2005   WABSH   1JJV281W55L913206             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127409   2005   WABSH   1JJV281W75L913207             NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127410   2005   WABSH   1JJV281W95L913208             CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127411   2005   WABSH   1JJV281W05L913209             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127412   2005   WABSH   1JJV281W75L913210             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127414   2005   WABSH   1JJV281W05L913212             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127415   2005   WABSH   1JJV281W25L913213             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127416   2005   WABSH   1JJV281W45L913214             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127417   2005   WABSH   1JJV281W65L913215             WA        Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127418   2005   WABSH   1JJV281W85L913216             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127419   2005   WABSH   1JJV281WX5L913217             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127422   2005   WABSH   1JJV281WX5L913220             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127423   2005   WABSH   1JJV281W15L913221             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127424   2005   WABSH   1JJV281W35L913222             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127425   2005   WABSH   1JJV281W55L913223             MI        Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127426   2005   WABSH   1JJV281W75L913224             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127430   2005   WABSH   1JJV281W45L913228             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127431   2005   WABSH   1JJV281W65L913229             MI        Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127433   2005   WABSH   1JJV281W45L913231             GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127434   2005   WABSH   1JJV281W65L913232             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127435   2005   WABSH   1JJV281W85L913233             NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127436   2005   WABSH   1JJV281WX5L913234             LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127437   2005   WABSH   1JJV281W15L913235             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127438   2005   WABSH   1JJV281W35L913236             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127439   2005   WABSH   1JJV281W55L913237             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127440   2005   WABSH   1JJV281W75L913238             OH        Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127442   2005   WABSH   1JJV281W55L913240             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127443   2005   WABSH   1JJV281W75L913241             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127444   2005   WABSH   1JJV281W95L913242             CA        Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 624 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127445   2005   WABSH   1JJV281W05L913243             IL        McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127447   2005   WABSH   1JJV281W45L913245             MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127448   2005   WABSH   1JJV281W65L913246             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127449   2005   WABSH   1JJV281W85L913247             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127450   2005   WABSH   1JJV281WX5L913248             ND        Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127451   2005   WABSH   1JJV281W15L913249             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127453   2005   WABSH   1JJV281WX5L913251             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127454   2005   WABSH   1JJV281W15L913252             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127455   2005   WABSH   1JJV281W35L913253             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127456   2005   WABSH   1JJV281W55L913254             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127457   2005   WABSH   1JJV281W75L913255             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127458   2005   WABSH   1JJV281W95L913256             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127459   2005   WABSH   1JJV281W05L913257             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127460   2005   WABSH   1JJV281W25L913258             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127461   2005   WABSH   1JJV281W45L913259             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127462   2005   WABSH   1JJV281W05L913260             CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127463   2005   WABSH   1JJV281W25L913261             OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127464   2005   WABSH   1JJV281W45L913262             PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127465   2005   WABSH   1JJV281W65L913263             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127466   2005   WABSH   1JJV281W85L913264             CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127467   2005   WABSH   1JJV281WX5L913265             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127468   2005   WABSH   1JJV281W15L913266             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127469   2005   WABSH   1JJV281W35L913267             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127470   2005   WABSH   1JJV281W55L913268             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127471   2005   WABSH   1JJV281W75L913269             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127473   2005   WABSH   1JJV281W55L913271             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127474   2005   WABSH   1JJV281W75L913272             NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127475   2005   WABSH   1JJV281W95L913273             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127476   2005   WABSH   1JJV281W05L913274             WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127477   2005   WABSH   1JJV281W25L913275             OH        North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127478   2005   WABSH   1JJV281W45L913276             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127479   2005   WABSH   1JJV281W65L913277             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127480   2005   WABSH   1JJV281W85L913278             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127481   2005   WABSH   1JJV281WX5L913279             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127482   2005   WABSH   1JJV281W65L913280             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127483   2005   WABSH   1JJV281W85L913281             MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127484   2005   WABSH   1JJV281WX5L913282             CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127486   2005   WABSH   1JJV281W35L913284             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127487   2005   WABSH   1JJV281W55L913285             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127488   2005   WABSH   1JJV281W75L913286             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127489   2005   WABSH   1JJV281W95L913287             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127490   2005   WABSH   1JJV281W05L913288             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127491   2005   WABSH   1JJV281W25L913289             NY        Buffalo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127492   2005   WABSH   1JJV281W95L913290             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127493   2005   WABSH   1JJV281W05L913291             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127494   2005   WABSH   1JJV281W25L913292             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127495   2005   WABSH   1JJV281W45L913293             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127496   2005   WABSH   1JJV281W65L913294             GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127497   2005   WABSH   1JJV281W85L913295             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127498   2005   WABSH   1JJV281WX5L913296             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127500   2005   WABSH   1JJV281W35L913298             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127501   2005   WABSH   1JJV281W55L913299             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127503   2005   WABSH   1JJV281WX5L913301             IL        Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127506   2005   WABSH   1JJV281W55L913304             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127509   2005   WABSH   1JJV281W05L913307             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127510   2005   WABSH   1JJV281W25L913308             SC        Florence
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127511   2005   WABSH   1JJV281W45L913309             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127512   2005   WABSH   1JJV281W05L913310             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127513   2005   WABSH   1JJV281W25L913311             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127515   2005   WABSH   1JJV281W65L913313             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127516   2005   WABSH   1JJV281W85L913314             AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127517   2005   WABSH   1JJV281WX5L913315             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127518   2005   WABSH   1JJV281W15L913316             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127519   2005   WABSH   1JJV281W35L913317             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127520   2005   WABSH   1JJV281W55L913318             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127521   2005   WABSH   1JJV281W75L913319             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127522   2005   WABSH   1JJV281W35L913320             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127523   2005   WABSH   1JJV281W55L913321             IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127524   2005   WABSH   1JJV281W75L913322             RI        Cumberland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 625 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127525   2005   WABSH   1JJV281W95L913323             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127526   2005   WABSH   1JJV281W05L913324             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127527   2005   WABSH   1JJV281W25L913325             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127528   2005   WABSH   1JJV281W45L913326             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127530   2005   WABSH   1JJV281W85L913328             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127531   2005   WABSH   1JJV281WX5L913329             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127532   2005   WABSH   1JJV281W65L913330             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127533   2005   WABSH   1JJV281W85L913331             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127534   2005   WABSH   1JJV281WX5L913332             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127535   2005   WABSH   1JJV281W15L913333             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127536   2005   WABSH   1JJV281W35L913334             NC      Fayetteville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127537   2005   WABSH   1JJV281W55L913335             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127539   2005   WABSH   1JJV281W95L913337             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127541   2005   WABSH   1JJV281W25L913339             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127542   2005   WABSH   1JJV281W95L913340             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127543   2005   WABSH   1JJV281W05L913341             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127544   2005   WABSH   1JJV281W25L913342             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127546   2005   WABSH   1JJV281W65L913344             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127547   2005   WABSH   1JJV281W85L913345             MS      Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127549   2005   WABSH   1JJV281W15L913347             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127550   2005   WABSH   1JJV281W35L913348             OH      Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127551   2005   WABSH   1JJV281W55L913349             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127552   2005   WABSH   1JJV281W15L913350             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127553   2005   WABSH   1JJV281W35L913351             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127554   2005   WABSH   1JJV281W55L913352             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127555   2005   WABSH   1JJV281W75L913353             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127557   2005   WABSH   1JJV281W05L913355             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127559   2005   WABSH   1JJV281W45L913357             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127560   2005   WABSH   1JJV281W65L913358             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127561   2005   WABSH   1JJV281W85L913359             NJ      Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127562   2005   WABSH   1JJV281W45L913360             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127563   2005   WABSH   1JJV281W65L913361             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127564   2005   WABSH   1JJV281W85L913362             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127567   2005   WABSH   1JJV281W35L913365             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127569   2005   WABSH   1JJV281W75L913367             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127570   2005   WABSH   1JJV281W95L913368             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127571   2005   WABSH   1JJV281W05L913369             ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127572   2005   WABSH   1JJV281W75L913370             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127575   2005   WABSH   1JJV281W25L913373             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127578   2005   WABSH   1JJV281W85L913376             AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127579   2005   WABSH   1JJV281WX5L913377             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127580   2005   WABSH   1JJV281W15L913378             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127581   2005   WABSH   1JJV281W35L913379             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127582   2005   WABSH   1JJV281WX5L913380             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127583   2005   WABSH   1JJV281W15L913381             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127584   2005   WABSH   1JJV281W35L913382             NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127588   2005   WABSH   1JJV281W05L913386             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127589   2005   WABSH   1JJV281W25L913387             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127590   2005   WABSH   1JJV281W45L913388             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127591   2005   WABSH   1JJV281W65L913389             TN      Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127592   2005   WABSH   1JJV281W25L913390             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127593   2005   WABSH   1JJV281W45L913391             GA      La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127596   2005   WABSH   1JJV281WX5L913394             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127599   2005   WABSH   1JJV281W55L913397             IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127600   2005   WABSH   1JJV281W75L913398             MO      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127601   2005   WABSH   1JJV281W95L913399             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127602   2005   WABSH   1JJV281W15L913400             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127604   2005   WABSH   1JJV281W55L913402             GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127605   2005   WABSH   1JJV281W75L913403             DE      Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127606   2005   WABSH   1JJV281W95L913404             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127608   2005   WABSH   1JJV281W25L913406             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127611   2005   WABSH   1JJV281W85L913409             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127612   2005   WABSH   1JJV281W45L913410             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127613   2005   WABSH   1JJV281W65L913411             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127615   2005   WABSH   1JJV281WX5L913413             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127616   2005   WABSH   1JJV281W15L913414             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127617   2005   WABSH   1JJV281W35L913415             CA      Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127619   2005   WABSH   1JJV281W75L913417             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127622   2005   WABSH   1JJV281W75L913420             OH      Akron
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 626 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127623   2005   WABSH   1JJV281W95L913421             OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127624   2005   WABSH   1JJV281W05L913422             IL             Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127625   2005   WABSH   1JJV281W25L913423             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127626   2005   WABSH   1JJV281W45L913424             MS             Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127627   2005   WABSH   1JJV281W65L913425             CA             Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127628   2005   WABSH   1JJV281W85L913426             WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127630   2005   WABSH   1JJV281W15L913428             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127631   2005   WABSH   1JJV281W35L913429             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127632   2005   WABSH   1JJV281WX5L913430             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127633   2005   WABSH   1JJV281W15L913431             UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127635   2005   WABSH   1JJV281W55L913433             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127637   2005   WABSH   1JJV281W95L913435             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127638   2005   WABSH   1JJV281W05L913436             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127639   2005   WABSH   1JJV281W25L913437             CA             Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127640   2005   WABSH   1JJV281W45L913438             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127641   2005   WABSH   1JJV281W65L913439             NJ             South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127642   2005   WABSH   1JJV281W25L913440             OH             Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127643   2005   WABSH   1JJV281W45L913441             NY             Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127644   2005   WABSH   1JJV281W65L913442             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127645   2005   WABSH   1JJV281W85L913443             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127646   2005   WABSH   1JJV281WX5L913444             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127647   2005   WABSH   1JJV281W15L913445             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127648   2005   WABSH   1JJV281W35L913446             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127650   2005   WABSH   1JJV281W75L913448             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127651   2005   WABSH   1JJV281W95L913449             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127652   2005   WABSH   1JJV281W55L913450             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127653   2005   WABSH   1JJV281W75L913451             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127654   2005   WABSH   1JJV281W95L913452             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127655   2005   WABSH   1JJV281W05L913453             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127657   2005   WABSH   1JJV281W45L913455             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127658   2005   WABSH   1JJV281W65L913456             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127659   2005   WABSH   1JJV281W85L913457             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127660   2005   WABSH   1JJV281WX5L913458             NE             Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127663   2005   WABSH   1JJV281WX5L913461             GA             Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127664   2005   WABSH   1JJV281W15L913462             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127665   2005   WABSH   1JJV281W35L913463             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127666   2005   WABSH   1JJV281W55L913464             OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127667   2005   WABSH   1JJV281W75L913465             IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127668   2005   WABSH   1JJV281W95L913466             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127670   2005   WABSH   1JJV281W25L913468             MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127673   2005   WABSH   1JJV281W25L913471             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127674   2005   WABSH   1JJV281W45L913472             Saskatchewan   Regina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127675   2005   WABSH   1JJV281W65L913473             CA             Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127676   2005   WABSH   1JJV281W85L913474             OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127677   2005   WABSH   1JJV281WX5L913475             CA             Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127678   2005   WABSH   1JJV281W15L913476             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127679   2005   WABSH   1JJV281W35L913477             CO             Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127680   2005   WABSH   1JJV281W55L913478             IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127681   2005   WABSH   1JJV281W75L913479             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127683   2005   WABSH   1JJV281W55L913481             Ontario        Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127684   2005   WABSH   1JJV281W75L913482             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127686   2005   WABSH   1JJV281W05L913484             CA             Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127687   2005   WABSH   1JJV281W25L913485             OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127688   2005   WABSH   1JJV281W45L913486             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127690   2005   WABSH   1JJV281W85L913488             UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127691   2005   WABSH   1JJV281WX5L913489             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127692   2005   WABSH   1JJV281W65L913490             PA             Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127693   2005   WABSH   1JJV281W85L913491             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127694   2005   WABSH   1JJV281WX5L913492             OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127695   2005   WABSH   1JJV281W15L913493             CO             Grand Junction
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127696   2005   WABSH   1JJV281W35L913494             OH             Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127698   2005   WABSH   1JJV281W75L913496             IL             Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127699   2005   WABSH   1JJV281W95L913497             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127700   2005   WABSH   1JJV281W05L913498             FL             Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127702   2005   WABSH   1JJV281W55L913500             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127703   2005   WABSH   1JJV281W75L913501             CA             Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127704   2005   WABSH   1JJV281W95L913502             WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127707   2005   WABSH   1JJV281W45L913505             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127708   2005   WABSH   1JJV281W65L913506             NV             Sparks
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 627 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127709   2005   WABSH   1JJV281W85L913507             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127710   2005   WABSH   1JJV281WX5L913508             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127711   2005   WABSH   1JJV281W15L913509             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127712   2005   WABSH   1JJV281W85L913510             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127714   2005   WABSH   1JJV281W15L913512             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127715   2005   WABSH   1JJV281W35L913513             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127716   2005   WABSH   1JJV281W55L913514             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127717   2005   WABSH   1JJV281W75L913515             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127719   2005   WABSH   1JJV281W05L913517             MA      North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127720   2005   WABSH   1JJV281W25L913518             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127721   2005   WABSH   1JJV281W45L913519             IL      Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127722   2005   WABSH   1JJV281W05L913520             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127723   2005   WABSH   1JJV281W25L913521             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127724   2005   WABSH   1JJV281W45L913522             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127725   2005   WABSH   1JJV281W65L913523             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127726   2005   WABSH   1JJV281W85L913524             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127727   2005   WABSH   1JJV281WX5L913525             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127728   2005   WABSH   1JJV281W15L913526             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127730   2005   WABSH   1JJV281W55L913528             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127731   2005   WABSH   1JJV281W75L913529             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127733   2005   WABSH   1JJV281W55L913531             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127734   2005   WABSH   1JJV281W75L913532             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127735   2005   WABSH   1JJV281W95L913533             TX      Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127736   2005   WABSH   1JJV281W05L913534             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127737   2005   WABSH   1JJV281W25L913535             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127738   2005   WABSH   1JJV281W45L913536             VA      Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127739   2005   WABSH   1JJV281W65L913537             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127740   2005   WABSH   1JJV281W85L913538             IL      McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127741   2005   WABSH   1JJV281WX5L913539             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127742   2005   WABSH   1JJV281W65L913540             IL      Danville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127743   2005   WABSH   1JJV281W85L913541             CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127744   2005   WABSH   1JJV281WX5L913542             CA      Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127745   2005   WABSH   1JJV281W15L913543             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127746   2005   WABSH   1JJV281W35L913544             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127748   2005   WABSH   1JJV281W75L913546             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127749   2005   WABSH   1JJV281W95L913547             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127750   2005   WABSH   1JJV281W05L913548             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127751   2005   WABSH   1JJV281W25L913549             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127752   2005   WABSH   1JJV281W95L913550             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127754   2005   WABSH   1JJV281W25L913552             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127756   2005   WABSH   1JJV281W65L913554             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127757   2005   WABSH   1JJV281W85L913555             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127758   2005   WABSH   1JJV281WX5L913556             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127759   2005   WABSH   1JJV281W15L913557             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127760   2005   WABSH   1JJV281W35L913558             IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127761   2005   WABSH   1JJV281W55L913559             SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127763   2005   WABSH   1JJV281W35L913561             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127764   2005   WABSH   1JJV281W55L913562             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127769   2005   WABSH   1JJV281W45L913567             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127770   2005   WABSH   1JJV281W65L913568             UT      Beaver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127771   2005   WABSH   1JJV281W85L913569             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127773   2005   WABSH   1JJV281W65L913571             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127774   2005   WABSH   1JJV281W85L913572             CA      Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127775   2005   WABSH   1JJV281WX5L913573             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127776   2005   WABSH   1JJV281W15L913574             DE      Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127777   2005   WABSH   1JJV281W35L913575             IA      Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127778   2005   WABSH   1JJV281W55L913576             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127779   2005   WABSH   1JJV281W75L913577             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127780   2005   WABSH   1JJV281W95L913578             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127781   2005   WABSH   1JJV281W05L913579             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127784   2005   WABSH   1JJV281W05L913582             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127785   2005   WABSH   1JJV281W25L913583             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127786   2005   WABSH   1JJV281W45L913584             OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127787   2005   WABSH   1JJV281W65L913585             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127788   2005   WABSH   1JJV281W85L913586             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127789   2005   WABSH   1JJV281WX5L913587             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127790   2005   WABSH   1JJV281W15L913588             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127791   2005   WABSH   1JJV281W35L913589             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127793   2005   WABSH   1JJV281W15L913591             NJ      South Plainfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 628 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127795   2005   WABSH   1JJV281W55L913593             NJ        Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127797   2005   WABSH   1JJV281W95L913595             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127799   2005   WABSH   1JJV281W25L913597             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127800   2005   WABSH   1JJV281W45L913598             NC        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127801   2005   WABSH   1JJV281W65L913599             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127803   2005   WABSH   1JJV281W05L913601             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127804   2005   WABSH   1JJV281W25L913602             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127806   2005   WABSH   1JJV281W65L913604             ND        Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127807   2005   WABSH   1JJV281W85L913605             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127808   2005   WABSH   1JJV281WX5L913606             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127809   2005   WABSH   1JJV281W15L913607             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127810   2005   WABSH   1JJV281W35L913608             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127811   2005   WABSH   1JJV281W55L913609             NY        Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127812   2005   WABSH   1JJV281W15L913610             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127813   2005   WABSH   1JJV281W35L913611             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127814   2005   WABSH   1JJV281W55L913612             WA        Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127815   2005   WABSH   1JJV281W75L913613             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127816   2005   WABSH   1JJV281W95L913614             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127817   2005   WABSH   1JJV281W05L913615             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127819   2005   WABSH   1JJV281W45L913617             ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127820   2005   WABSH   1JJV281W65L913618             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127821   2005   WABSH   1JJV281W85L913619             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127822   2005   WABSH   1JJV281W45L913620             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127823   2005   WABSH   1JJV281W65L913621             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127824   2005   WABSH   1JJV281W85L913622             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127825   2005   WABSH   1JJV281WX5L913623             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127827   2005   WABSH   1JJV281W35L913625             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127829   2005   WABSH   1JJV281W75L913627             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127830   2005   WABSH   1JJV281W95L913628             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127831   2005   WABSH   1JJV281W05L913629             Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127832   2005   WABSH   1JJV281W75L913630             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127834   2005   WABSH   1JJV281W05L913632             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127837   2005   WABSH   1JJV281W65L913635             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127841   2005   WABSH   1JJV281W35L913639             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127842   2005   WABSH   1JJV281WX5L913640             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127843   2005   WABSH   1JJV281W15L913641             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127844   2005   WABSH   1JJV281W35L913642             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127845   2005   WABSH   1JJV281W55L913643             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127847   2005   WABSH   1JJV281W95L913645             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127848   2005   WABSH   1JJV281W05L913646             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127849   2005   WABSH   1JJV281W25L913647             CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127850   2005   WABSH   1JJV281W45L913648             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127851   2005   WABSH   1JJV281W65L913649             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127852   2005   WABSH   1JJV281W25L913650             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127853   2005   WABSH   1JJV281W45L913651             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127854   2005   WABSH   1JJV281W65L913652             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127855   2005   WABSH   1JJV281W85L913653             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127856   2005   WABSH   1JJV281WX5L913654             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127857   2005   WABSH   1JJV281W15L913655             IL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127858   2005   WABSH   1JJV281W35L913656             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127859   2005   WABSH   1JJV281W55L913657             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127861   2005   WABSH   1JJV281W95L913659             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127862   2005   WABSH   1JJV281W55L913660             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127863   2005   WABSH   1JJV281W75L913661             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127865   2005   WABSH   1JJV281W05L913663             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127866   2005   WABSH   1JJV281W25L913664             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127867   2005   WABSH   1JJV281W45L913665             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127868   2005   WABSH   1JJV281W65L913666             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127869   2005   WABSH   1JJV281W85L913667             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127870   2005   WABSH   1JJV281WX5L913668             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127871   2005   WABSH   1JJV281W15L913669             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127872   2005   WABSH   1JJV281W85L913670             OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127873   2005   WABSH   1JJV281WX5L913671             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127874   2005   WABSH   1JJV281W15L913672             CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127875   2005   WABSH   1JJV281W35L913673             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127876   2005   WABSH   1JJV281W55L913674             MD        Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127877   2005   WABSH   1JJV281W75L913675             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127878   2005   WABSH   1JJV281W95L913676             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127879   2005   WABSH   1JJV281W05L913677             CA        Tracy
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 629 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127882   2005   WABSH   1JJV281W05L913680             VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127883   2005   WABSH   1JJV281W25L913681             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127884   2005   WABSH   1JJV281W45L913682             TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127885   2005   GRTDN   1GRAA56175K270603             OH               Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127887   2005   GRTDN   1GRAA56105K270605             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127888   2005   GRTDN   1GRAA56125K270606             NC               Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127889   2005   GRTDN   1GRAA56145K270607             NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127890   2005   GRTDN   1GRAA56165K270608             VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127891   2005   GRTDN   1GRAA56185K270609             MN               Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127892   2005   GRTDN   1GRAA56145K270610             NC               Rocky Mount
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127893   2005   GRTDN   1GRAA56165K270611             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127894   2005   GRTDN   1GRAA56185K270612             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127895   2005   GRTDN   1GRAA561X5K270613             NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127896   2005   GRTDN   1GRAA56115K270614             CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127897   2005   GRTDN   1GRAA56135K270615             NC               Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127899   2005   GRTDN   1GRAA56175K270617             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127900   2005   GRTDN   1GRAA56195K270618             AZ               Flagstaff
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127901   2005   GRTDN   1GRAA56105K270619             VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127903   2005   GRTDN   1GRAA56195K270621             PA               Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127905   2005   GRTDN   1GRAA56125K270623             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127906   2005   GRTDN   1GRAA56145K270624             VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127908   2005   GRTDN   1GRAA56185K270626             MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127909   2005   GRTDN   1GRAA561X5K270627             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127910   2005   GRTDN   1GRAA56115K270628             CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127911   2005   GRTDN   1GRAA56135K270629             IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127912   2005   GRTDN   1GRAA561X5K270630             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127913   2005   GRTDN   1GRAA56115K270631             PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127914   2005   GRTDN   1GRAA56135K270632             TN               Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127915   2005   GRTDN   1GRAA56155K270633             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127916   2005   GRTDN   1GRAA56175K270634             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127917   2005   GRTDN   1GRAA56195K270635             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127919   2005   GRTDN   1GRAA56125K270637             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127920   2005   GRTDN   1GRAA56145K270638             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127923   2005   GRTDN   1GRAA56145K270641             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127924   2005   GRTDN   1GRAA56165K270642             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127926   2005   GRTDN   1GRAA561X5K270644             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127928   2005   GRTDN   1GRAA56135K270646             MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127930   2005   GRTDN   1GRAA56175K270648             CA               Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127932   2005   GRTDN   1GRAA56155K270650             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127933   2005   GRTDN   1GRAA56175K270651             MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127935   2005   GRTDN   1GRAA56105K270653             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127936   2005   GRTDN   1GRAA56125K270654             GA               Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127937   2005   GRTDN   1GRAA56145K270655             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127938   2005   GRTDN   1GRAA56165K270656             SC               West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127939   2005   GRTDN   1GRAA56185K270657             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127940   2005   GRTDN   1GRAA561X5K270658             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127941   2005   GRTDN   1GRAA56115K270659             TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127942   2005   GRTDN   1GRAA56185K270660             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127947   2005   GRTDN   1GRAA56175K270665             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127954   2005   GRTDN   1GRAA56145K270672             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127956   2005   GRTDN   1GRAA56185K270674             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127958   2005   GRTDN   1GRAA56115K270676             MI               Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127960   2005   GRTDN   1GRAA56155K270678             UT               Beaver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127961   2005   GRTDN   1GRAA56175K270679             VA               Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127962   2005   GRTDN   1GRAA56135K270680             PQ               Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127963   2005   GRTDN   1GRAA56155K270681             NV               Elko
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127965   2005   GRTDN   1GRAA56195K270683             CA               San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127966   2005   GRTDN   1GRAA56105K270684             UT               St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127967   2005   GRTDN   1GRAA56125K270685             NY               Plattsburgh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127968   2005   GRTDN   1GRAA56145K270686             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127969   2005   GRTDN   1GRAA56165K270687             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127970   2005   GRTDN   1GRAA56185K270688             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127971   2005   GRTDN   1GRAA561X5K270689             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127972   2005   GRTDN   1GRAA56165K270690             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127973   2005   GRTDN   1GRAA56185K270691             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127974   2005   GRTDN   1GRAA561X5K270692             FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127975   2005   GRTDN   1GRAA56115K270693             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127977   2005   GRTDN   1GRAA56155K270695             CA               West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127978   2005   GRTDN   1GRAA56175K270696             NY               Deer Park
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 630 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127979   2005   GRTDN   1GRAA56195K270697             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127980   2005   GRTDN   1GRAA56105K270698             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127982   2005   GRTDN   1GRAA56155K270700             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127983   2005   GRTDN   1GRAA56175K270701             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127984   2005   GRTDN   1GRAA56195K270702             DE        Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127986   2005   GRTDN   1GRAA56115K271004             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127987   2005   GRTDN   1GRAA56135K271005             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127988   2005   GRTDN   1GRAA56155K271006             OH        Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127989   2005   GRTDN   1GRAA56175K271007             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127990   2005   GRTDN   1GRAA56195K271008             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127991   2005   GRTDN   1GRAA56105K271009             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127992   2005   GRTDN   1GRAA56175K271010             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127994   2005   GRTDN   1GRAA56105K271012             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127995   2005   GRTDN   1GRAA56125K271013             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127997   2005   GRTDN   1GRAA56165K271015             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127998   2005   GRTDN   1GRAA56185K271016             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY127999   2005   GRTDN   1GRAA561X5K271017             CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128000   2005   GRTDN   1GRAA56115K271018             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128002   2005   GRTDN   1GRAA561X5K271020             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128003   2005   GRTDN   1GRAA56115K271021             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128004   2005   GRTDN   1GRAA56135K271022             GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128005   2006   WABSH   1JJV281W56L958065             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128006   2006   WABSH   1JJV281W76L958066             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128007   2006   WABSH   1JJV281W96L958067             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128008   2006   WABSH   1JJV281W06L958068             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128009   2006   WABSH   1JJV281W26L958069             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128010   2006   WABSH   1JJV281W96L958070             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128011   2006   WABSH   1JJV281W06L958071             IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128012   2006   WABSH   1JJV281W26L958072             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128013   2006   WABSH   1JJV281W46L958073             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128014   2006   WABSH   1JJV281W66L958074             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128016   2006   WABSH   1JJV281WX6L958076             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128017   2006   WABSH   1JJV281W16L958077             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128018   2006   WABSH   1JJV281W36L958078             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128019   2006   WABSH   1JJV281W56L958079             SC        North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128020   2006   WABSH   1JJV281W16L958080             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128021   2006   WABSH   1JJV281W36L958081             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128022   2006   WABSH   1JJV281W56L958082             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128023   2006   WABSH   1JJV281W76L958083             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128024   2006   WABSH   1JJV281W96L958084             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128025   2006   WABSH   1JJV281W06L958085             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128026   2006   WABSH   1JJV281W26L958086             AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128027   2006   WABSH   1JJV281W46L958087             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128028   2006   WABSH   1JJV281W66L958088             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128029   2006   WABSH   1JJV281W86L958089             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128030   2006   WABSH   1JJV281W46L958090             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128031   2006   WABSH   1JJV281W66L958091             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128032   2006   WABSH   1JJV281W86L958092             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128033   2006   WABSH   1JJV281WX6L958093             CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128034   2006   WABSH   1JJV281W16L958094             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128035   2006   WABSH   1JJV281W36L958095             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128036   2006   WABSH   1JJV281W56L958096             CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128037   2006   WABSH   1JJV281W76L958097             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128038   2006   WABSH   1JJV281W96L958098             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128039   2006   WABSH   1JJV281W06L958099             NY        Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128040   2006   WABSH   1JJV281W36L958100             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128041   2006   WABSH   1JJV281W56L958101             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128044   2006   WABSH   1JJV281W06L958104             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128045   2006   WABSH   1JJV281W26L958105             GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128046   2006   WABSH   1JJV281W46L958106             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128047   2006   WABSH   1JJV281W66L958107             CO        Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128048   2006   WABSH   1JJV281W86L958108             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128049   2006   WABSH   1JJV281WX6L958109             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128051   2006   WABSH   1JJV281W86L958111             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128053   2006   WABSH   1JJV281W16L958113             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128054   2006   WABSH   1JJV281W36L958114             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128055   2006   WABSH   1JJV281W56L958115             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128056   2006   WABSH   1JJV281W76L958116             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128057   2006   WABSH   1JJV281W96L958117             OH        Copley
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 631 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128058   2006   WABSH   1JJV281W06L958118             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128059   2006   WABSH   1JJV281W26L958119             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128060   2006   WABSH   1JJV281W96L958120             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128061   2006   WABSH   1JJV281W06L958121             MD      Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128062   2006   WABSH   1JJV281W26L958122             NY      Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128063   2006   WABSH   1JJV281W46L958123             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128064   2006   WABSH   1JJV281W66L958124             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128065   2006   WABSH   1JJV281W86L958125             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128066   2006   WABSH   1JJV281WX6L958126             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128067   2006   WABSH   1JJV281W16L958127             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128068   2006   WABSH   1JJV281W36L958128             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128069   2006   WABSH   1JJV281W56L958129             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128070   2006   WABSH   1JJV281W16L958130             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128071   2006   WABSH   1JJV281W36L958131             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128072   2006   WABSH   1JJV281W56L958132             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128073   2006   WABSH   1JJV281W76L958133             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128074   2006   WABSH   1JJV281W96L958134             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128075   2006   WABSH   1JJV281W06L958135             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128076   2006   WABSH   1JJV281W26L958136             ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128077   2006   WABSH   1JJV281W46L958137             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128078   2006   WABSH   1JJV281W66L958138             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128079   2006   WABSH   1JJV281W86L958139             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128080   2006   WABSH   1JJV281W46L958140             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128081   2006   WABSH   1JJV281W66L958141             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128083   2006   WABSH   1JJV281WX6L958143             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128084   2006   WABSH   1JJV281W16L958144             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128085   2006   WABSH   1JJV281W36L958145             MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128087   2006   WABSH   1JJV281W76L958147             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128088   2006   WABSH   1JJV281W96L958148             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128089   2006   WABSH   1JJV281W06L958149             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128090   2006   WABSH   1JJV281W76L958150             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128091   2006   WABSH   1JJV281W96L958151             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128092   2006   WABSH   1JJV281W06L958152             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128093   2006   WABSH   1JJV281W26L958153             CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128094   2006   WABSH   1JJV281W46L958154             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128095   2006   WABSH   1JJV281W66L958155             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128097   2006   WABSH   1JJV281WX6L958157             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128098   2006   WABSH   1JJV281W16L958158             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128100   2006   WABSH   1JJV281WX6L958160             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128101   2006   WABSH   1JJV281W16L958161             TX      Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128103   2006   WABSH   1JJV281W56L958163             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128105   2006   WABSH   1JJV281W96L958165             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128106   2006   WABSH   1JJV281W06L958166             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128107   2006   WABSH   1JJV281W26L958167             AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128108   2006   WABSH   1JJV281W46L958168             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128110   2006   WABSH   1JJV281W26L958170             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128111   2006   WABSH   1JJV281W46L958171             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128112   2006   WABSH   1JJV281W66L958172             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128113   2006   WABSH   1JJV281W86L958173             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128114   2006   WABSH   1JJV281WX6L958174             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128115   2006   WABSH   1JJV281W16L958175             NY      Elmira
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128116   2006   WABSH   1JJV281W36L958176             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128117   2006   WABSH   1JJV281W56L958177             AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128118   2006   WABSH   1JJV281W76L958178             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128119   2006   WABSH   1JJV281W96L958179             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128120   2006   WABSH   1JJV281W56L958180             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128121   2006   WABSH   1JJV281W76L958181             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128122   2006   WABSH   1JJV281W96L958182             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128126   2006   WABSH   1JJV281W66L958186             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128127   2006   WABSH   1JJV281W86L958187             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128128   2006   WABSH   1JJV281WX6L958188             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128129   2006   WABSH   1JJV281W16L958189             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128130   2006   WABSH   1JJV281W86L958190             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128131   2006   WABSH   1JJV281WX6L958191             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128132   2006   WABSH   1JJV281W16L958192             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128133   2006   WABSH   1JJV281W36L958193             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128134   2006   WABSH   1JJV281W56L958194             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128135   2006   WABSH   1JJV281W76L958195             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128136   2006   WABSH   1JJV281W96L958196             IL      Wheeling
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 632 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128137   2006   WABSH   1JJV281W06L958197             KS      Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128138   2006   WABSH   1JJV281W26L958198             AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128139   2006   WABSH   1JJV281W46L958199             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128142   2006   WABSH   1JJV281W06L958202             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128143   2006   WABSH   1JJV281W26L958203             GA      Richmond Hill
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128144   2006   WABSH   1JJV281W46L958204             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128145   2006   WABSH   1JJV281W66L958205             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128146   2006   WABSH   1JJV281W86L958206             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128147   2006   WABSH   1JJV281WX6L958207             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128148   2006   WABSH   1JJV281W16L958208             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128149   2006   WABSH   1JJV281W36L958209             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128150   2006   WABSH   1JJV281WX6L958210             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128151   2006   WABSH   1JJV281W16L958211             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128152   2006   WABSH   1JJV281W36L958212             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128153   2006   WABSH   1JJV281W56L958213             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128154   2006   WABSH   1JJV281W76L958214             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128155   2006   WABSH   1JJV281W96L958215             GA      Jefferson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128157   2006   WABSH   1JJV281W26L958217             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128158   2006   WABSH   1JJV281W46L958218             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128159   2006   WABSH   1JJV281W66L958219             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128160   2006   WABSH   1JJV281W26L958220             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128161   2006   WABSH   1JJV281W46L958221             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128162   2006   WABSH   1JJV281W66L958222             MI      Gaylord
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128163   2006   WABSH   1JJV281W86L958223             VA      Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128164   2006   WABSH   1JJV281WX6L958224             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128165   2006   WABSH   1JJV281W16L958225             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128166   2006   WABSH   1JJV281W36L958226             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128167   2006   WABSH   1JJV281W56L958227             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128168   2006   WABSH   1JJV281W76L958228             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128169   2006   WABSH   1JJV281W96L958229             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128170   2006   WABSH   1JJV281W56L958230             MI      Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128171   2006   WABSH   1JJV281W76L958231             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128173   2006   WABSH   1JJV281W06L958233             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128174   2006   WABSH   1JJV281W26L958234             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128177   2006   WABSH   1JJV281W86L958237             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128178   2006   WABSH   1JJV281WX6L958238             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128179   2006   WABSH   1JJV281W16L958239             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128180   2006   WABSH   1JJV281W86L958240             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128181   2006   WABSH   1JJV281WX6L958241             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128182   2006   WABSH   1JJV281W16L958242             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128183   2006   WABSH   1JJV281W36L958243             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128184   2006   WABSH   1JJV281W56L958244             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128185   2006   WABSH   1JJV281W76L958245             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128186   2006   WABSH   1JJV281W96L958246             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128187   2006   WABSH   1JJV281W06L958247             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128188   2006   WABSH   1JJV281W26L958248             UT      St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128189   2006   WABSH   1JJV281W46L958249             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128190   2006   WABSH   1JJV281W06L958250             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128191   2006   WABSH   1JJV281W26L958251             NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128192   2006   WABSH   1JJV281W46L958252             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128195   2006   WABSH   1JJV281WX6L958255             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128196   2006   WABSH   1JJV281W16L958256             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128198   2006   WABSH   1JJV281W56L958258             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128199   2006   WABSH   1JJV281W76L958259             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128201   2006   WABSH   1JJV281W56L958261             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128202   2006   WABSH   1JJV281W76L958262             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128203   2006   WABSH   1JJV281W96L958263             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128204   2006   WABSH   1JJV281W06L958264             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128205   2006   WABSH   1JJV281W26L958265             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128206   2006   WABSH   1JJV281W46L958266             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128207   2006   WABSH   1JJV281W66L958267             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128209   2006   WABSH   1JJV281WX6L958269             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128210   2006   WABSH   1JJV281W66L958270             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128211   2006   WABSH   1JJV281W86L958271             OH      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128212   2006   WABSH   1JJV281WX6L958272             CA      Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128213   2006   WABSH   1JJV281W16L958273             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128214   2006   WABSH   1JJV281W36L958274             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128215   2006   WABSH   1JJV281W56L958275             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128216   2006   WABSH   1JJV281W76L958276             IL      Montgomery
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 633 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128217   2006   WABSH   1JJV281W96L958277             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128218   2006   WABSH   1JJV281W06L958278             FL         Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128219   2006   WABSH   1JJV281W26L958279             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128220   2006   WABSH   1JJV281W96L958280             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128222   2006   WABSH   1JJV281W26L958282             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128223   2006   WABSH   1JJV281W46L958283             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128224   2006   WABSH   1JJV281W66L958284             GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128225   2006   WABSH   1JJV281W86L958285             VA         Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128226   2006   WABSH   1JJV281WX6L958286             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128227   2006   WABSH   1JJV281W16L958287             ND         Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128228   2006   WABSH   1JJV281W36L958288             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128229   2006   WABSH   1JJV281W56L958289             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128230   2006   WABSH   1JJV281W16L958290             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128232   2006   WABSH   1JJV281W56L958292             VA         Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128233   2006   WABSH   1JJV281W76L958293             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128234   2006   WABSH   1JJV281W96L958294             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128235   2006   WABSH   1JJV281W06L958295             IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128236   2006   WABSH   1JJV281W26L958296             NE         Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128237   2006   WABSH   1JJV281W46L958297             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128238   2006   WABSH   1JJV281W66L958298             IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128240   2006   WABSH   1JJV281W06L958300             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128241   2006   WABSH   1JJV281W26L958301             TX         Abilene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128242   2006   WABSH   1JJV281W46L958302             OH         Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128243   2006   WABSH   1JJV281W66L958303             VA         Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128244   2006   WABSH   1JJV281W86L958304             OH         Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128246   2006   WABSH   1JJV281W16L958306             GA         Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128248   2006   WABSH   1JJV281W56L958308             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128249   2006   WABSH   1JJV281W76L958309             AL         Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128250   2006   WABSH   1JJV281W36L958310             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128251   2006   WABSH   1JJV281W56L958311             VA         Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128252   2006   WABSH   1JJV281W76L958312             NV         Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128253   2006   WABSH   1JJV281W96L958313             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128254   2006   WABSH   1JJV281W06L958314             WA         Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128255   2006   WABSH   1JJV281W26L958315             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128256   2006   WABSH   1JJV281W46L958316             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128257   2006   WABSH   1JJV281W66L958317             IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128259   2006   WABSH   1JJV281WX6L958319             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128260   2006   WABSH   1JJV281W66L958320             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128261   2006   WABSH   1JJV281W86L958321             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128262   2006   WABSH   1JJV281WX6L958322             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128263   2006   WABSH   1JJV281W16L958323             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128265   2006   WABSH   1JJV281W56L958325             IL         Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128266   2006   WABSH   1JJV281W76L958326             IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128267   2006   WABSH   1JJV281W96L958327             TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128268   2006   WABSH   1JJV281W06L958328             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128269   2006   WABSH   1JJV281W26L958329             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128270   2006   WABSH   1JJV281W96L958330             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128272   2006   WABSH   1JJV281W26L958332             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128273   2006   WABSH   1JJV281W46L958333             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128274   2006   WABSH   1JJV281W66L958334             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128275   2006   WABSH   1JJV281W86L958335             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128276   2006   WABSH   1JJV281WX6L958336             MO         Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128277   2006   WABSH   1JJV281W16L958337             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128278   2006   WABSH   1JJV281W36L958338             NV         Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128279   2006   WABSH   1JJV281W56L958339             Ontario    Woodstock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128280   2006   WABSH   1JJV281W16L958340             ME         Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128281   2006   WABSH   1JJV281W36L958341             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128282   2006   WABSH   1JJV281W56L958342             GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128283   2006   WABSH   1JJV281W76L958343             NE         Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128285   2006   WABSH   1JJV281W06L958345             IL         Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128286   2006   WABSH   1JJV281W26L958346             MI         Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128287   2006   WABSH   1JJV281W46L958347             PA         Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128288   2006   WABSH   1JJV281W66L958348             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128289   2006   WABSH   1JJV281W86L958349             CA         Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128291   2006   WABSH   1JJV281W66L958351             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128292   2006   WABSH   1JJV281W86L958352             PA         Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128293   2006   WABSH   1JJV281WX6L958353             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128296   2006   WABSH   1JJV281W56L958356             IL         Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128297   2006   WABSH   1JJV281W76L958357             GA         Marietta
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 634 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128298   2006   WABSH   1JJV281W96L958358             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128299   2006   WABSH   1JJV281W06L958359             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128301   2006   WABSH   1JJV281W96L958361             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128302   2006   WABSH   1JJV281W06L958362             KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128303   2006   WABSH   1JJV281W26L958363             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128304   2006   WABSH   1JJV281W46L958364             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128306   2006   WABSH   1JJV281W86L958366             PA      Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128307   2006   WABSH   1JJV281WX6L958367             FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128308   2006   WABSH   1JJV281W16L958368             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128309   2006   WABSH   1JJV281W36L958369             OR      Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128310   2006   WABSH   1JJV281WX6L958370             MN      Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128311   2006   WABSH   1JJV281W16L958371             MN      Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128312   2006   WABSH   1JJV281W36L958372             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128313   2006   WABSH   1JJV281W56L958373             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128314   2006   WABSH   1JJV281W76L958374             NC      Rocky Mount
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128316   2006   WABSH   1JJV281W06L958376             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128319   2006   WABSH   1JJV281W66L958379             NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128320   2006   WABSH   1JJV281W26L958380             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128321   2006   WABSH   1JJV281W46L958381             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128323   2006   WABSH   1JJV281W86L958383             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128325   2006   WABSH   1JJV281W56L974301             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128326   2006   WABSH   1JJV281W76L974302             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128327   2006   WABSH   1JJV281W96L974303             MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128328   2006   WABSH   1JJV281W06L974304             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128329   2006   WABSH   1JJV281W26L974305             CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128330   2006   WABSH   1JJV281W46L974306             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128331   2006   WABSH   1JJV281W66L974307             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128332   2006   WABSH   1JJV281W86L974308             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128333   2006   WABSH   1JJV281WX6L974309             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128334   2006   WABSH   1JJV281W66L974310             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128335   2006   WABSH   1JJV281W86L974311             OH      Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128336   2006   WABSH   1JJV281WX6L974312             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128337   2006   WABSH   1JJV281W36L987659             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128338   2006   WABSH   1JJV281WX6L987660             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128340   2006   WABSH   1JJV281W36L987662             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128341   2006   WABSH   1JJV281W56L987663             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128342   2006   WABSH   1JJV281W76L987664             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128343   2006   WABSH   1JJV281W96L987665             MI      Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128344   2006   WABSH   1JJV281W06L987666             ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128345   2006   WABSH   1JJV281W26L987667             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128346   2006   WABSH   1JJV281W46L987668             NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128347   2006   WABSH   1JJV281W66L987669             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128348   2006   WABSH   1JJV281W26L987670             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128350   2006   WABSH   1JJV281W66L987672             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128351   2006   WABSH   1JJV281W86L987673             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128352   2006   WABSH   1JJV281WX6L987674             AZ      Nogales
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128353   2006   WABSH   1JJV281W16L987675             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128354   2006   WABSH   1JJV281W36L987676             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128355   2006   WABSH   1JJV281W56L987677             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128356   2006   WABSH   1JJV281W76L987678             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128358   2006   WABSH   1JJV281W56L987680             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128359   2006   WABSH   1JJV281W76L987681             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128360   2006   WABSH   1JJV281W96L987682             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128362   2006   WABSH   1JJV281W26L987684             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128363   2006   WABSH   1JJV281W46L987685             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128364   2006   WABSH   1JJV281W66L987686             AR      Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128365   2006   WABSH   1JJV281W86L987687             WV      Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128366   2006   WABSH   1JJV281WX6L987688             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128367   2006   WABSH   1JJV281W16L987689             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128368   2006   WABSH   1JJV281W86L987690             VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128369   2006   WABSH   1JJV281WX6L987691             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128370   2006   WABSH   1JJV281W16L987692             AL      Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128371   2006   WABSH   1JJV281W36L987693             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128372   2006   WABSH   1JJV281W56L987694             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128373   2006   WABSH   1JJV281W76L987695             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128374   2006   WABSH   1JJV281W96L987696             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128375   2006   WABSH   1JJV281W06L987697             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128376   2006   WABSH   1JJV281W26L987698             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128377   2006   WABSH   1JJV281W46L987699             CA      Sun Valley
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 635 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128378   2006   WABSH   1JJV281W76L987700             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128379   2006   WABSH   1JJV281W96L987701             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128380   2006   WABSH   1JJV281W06L987702             WA      Bellingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128381   2006   WABSH   1JJV281W26L987703             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128382   2006   WABSH   1JJV281W46L987704             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128384   2006   WABSH   1JJV281W86L987706             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128385   2006   WABSH   1JJV281WX6L987707             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128386   2006   WABSH   1JJV281W16L987708             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128387   2006   WABSH   1JJV281W36L987709             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128388   2006   WABSH   1JJV281WX6L987710             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128389   2006   WABSH   1JJV281W16L987711             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128390   2006   WABSH   1JJV281W36L987712             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128391   2006   WABSH   1JJV281W56L987713             MT      Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128392   2006   WABSH   1JJV281W76L987714             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128394   2006   WABSH   1JJV281W06L987716             MT      Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128395   2006   WABSH   1JJV281W26L987717             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128396   2006   WABSH   1JJV281W46L987718             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128397   2006   WABSH   1JJV281W66L987719             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128398   2006   WABSH   1JJV281W26L987720             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128399   2006   WABSH   1JJV281W46L987721             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128400   2006   WABSH   1JJV281W66L987722             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128401   2006   WABSH   1JJV281W86L987723             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128402   2006   WABSH   1JJV281WX6L987724             PA      Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128403   2006   WABSH   1JJV281W16L987725             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128404   2006   WABSH   1JJV281W36L987726             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128405   2006   WABSH   1JJV281W56L987727             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128406   2006   WABSH   1JJV281W76L987728             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128407   2006   WABSH   1JJV281W96L987729             NJ      Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128408   2006   WABSH   1JJV281W56L987730             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128409   2006   WABSH   1JJV281W76L987731             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128410   2006   WABSH   1JJV281W96L987732             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128412   2006   WABSH   1JJV281W26L987734             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128413   2006   WABSH   1JJV281W46L987735             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128414   2006   WABSH   1JJV281W66L987736             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128415   2006   WABSH   1JJV281W86L987737             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128416   2006   WABSH   1JJV281WX6L987738             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128417   2006   WABSH   1JJV281W16L987739             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128419   2006   WABSH   1JJV281WX6L987741             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128420   2006   WABSH   1JJV281W16L987742             MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128421   2006   WABSH   1JJV281W36L987743             IN      Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128422   2006   WABSH   1JJV281W56L987744             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128423   2006   WABSH   1JJV281W76L987745             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128424   2006   WABSH   1JJV281W96L987746             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128426   2006   WABSH   1JJV281W26L987748             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128427   2006   WABSH   1JJV281W46L987749             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128428   2006   WABSH   1JJV281W06L987750             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128429   2006   WABSH   1JJV281W26L987751             LA      Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128430   2006   WABSH   1JJV281W46L987752             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128431   2006   WABSH   1JJV281W66L987753             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128432   2006   WABSH   1JJV281W86L987754             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128433   2006   WABSH   1JJV281WX6L987755             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128434   2006   WABSH   1JJV281W16L987756             NH      Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128435   2006   WABSH   1JJV281W36L987757             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128436   2006   WABSH   1JJV281W56L987758             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128437   2006   WABSH   1JJV281W76L987759             AZ      Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128438   2006   WABSH   1JJV281W36L987760             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128439   2006   WABSH   1JJV281W56L987761             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128440   2006   WABSH   1JJV281W76L987762             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128441   2006   WABSH   1JJV281W96L987763             OH      North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128443   2006   WABSH   1JJV281W26L987765             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128445   2006   WABSH   1JJV281W66L987767             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128446   2006   WABSH   1JJV281W86L987768             CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128448   2006   WABSH   1JJV281W66L987770             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128449   2006   WABSH   1JJV281W86L987771             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128450   2006   WABSH   1JJV281WX6L987772             CA      Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128451   2006   WABSH   1JJV281W16L987773             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128452   2006   WABSH   1JJV281W36L987774             IN      Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128453   2006   WABSH   1JJV281W56L987775             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128455   2006   WABSH   1JJV281W96L987777             TN      Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 636 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128456   2006   WABSH   1JJV281W06L987778             MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128457   2006   WABSH   1JJV281W26L987779             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128458   2006   WABSH   1JJV281W96L987780             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128460   2006   WABSH   1JJV281W26L987782             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128461   2006   WABSH   1JJV281W46L987783             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128462   2006   WABSH   1JJV281W66L987784             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128463   2006   WABSH   1JJV281W86L987785             TX        Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128464   2006   WABSH   1JJV281WX6L987786             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128465   2006   WABSH   1JJV281W16L987787             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128466   2006   WABSH   1JJV281W36L987788             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128467   2006   WABSH   1JJV281W56L987789             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128468   2006   WABSH   1JJV281W16L987790             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128469   2006   WABSH   1JJV281W36L987791             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128470   2006   WABSH   1JJV281W56L987792             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128471   2006   WABSH   1JJV281W76L987793             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128472   2006   WABSH   1JJV281W96L987794             NY        Maspeth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128473   2006   WABSH   1JJV281W06L987795             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128474   2006   WABSH   1JJV281W26L987796             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128475   2006   WABSH   1JJV281W46L987797             LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128476   2006   WABSH   1JJV281W66L987798             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128478   2006   WABSH   1JJV281W06L987800             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128479   2006   WABSH   1JJV281W26L987801             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128481   2006   WABSH   1JJV281W66L987803             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128482   2006   WABSH   1JJV281W86L987804             AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128483   2006   WABSH   1JJV281WX6L987805             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128484   2006   WABSH   1JJV281W16L987806             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128485   2006   WABSH   1JJV281W36L987807             AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128486   2006   WABSH   1JJV281W56L987808             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128487   2006   WABSH   1JJV281W76L987809             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128488   2006   WABSH   1JJV281W36L987810             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128489   2006   WABSH   1JJV281W56L987811             WV        Asbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128490   2006   WABSH   1JJV281W76L987812             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128491   2006   WABSH   1JJV281W96L987813             MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128492   2006   WABSH   1JJV281W06L987814             IA        Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128493   2006   WABSH   1JJV281W26L987815             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128494   2006   WABSH   1JJV281W46L987816             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128495   2006   WABSH   1JJV281W66L987817             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128496   2006   WABSH   1JJV281W86L987818             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128497   2006   WABSH   1JJV281WX6L987819             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128498   2006   WABSH   1JJV281W66L987820             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128500   2006   WABSH   1JJV281WX6L987822             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128501   2006   WABSH   1JJV281W16L987823             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128502   2006   WABSH   1JJV281W36L987824             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128503   2006   WABSH   1JJV281W56L987825             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128505   2006   WABSH   1JJV281W96L987827             MD        Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128506   2006   WABSH   1JJV281W06L987828             MD        Elkridge
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128507   2006   WABSH   1JJV281W26L987829             TN        Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128510   2006   WABSH   1JJV281W26L987832             IN        Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128511   2006   WABSH   1JJV281W46L987833             ID        Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128513   2006   WABSH   1JJV281W86L987835             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128514   2006   WABSH   1JJV281WX6L987836             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128515   2006   WABSH   1JJV281W16L987837             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128517   2006   WABSH   1JJV281W56L987839             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128518   2006   WABSH   1JJV281W16L987840             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128519   2006   WABSH   1JJV281W36L987841             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128520   2006   WABSH   1JJV281W56L987842             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128521   2006   WABSH   1JJV281W76L987843             KS        Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128522   2006   WABSH   1JJV281W96L987844             WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128523   2006   WABSH   1JJV281W06L987845             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128525   2006   WABSH   1JJV281W46L987847             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128526   2006   WABSH   1JJV281W66L987848             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128527   2006   WABSH   1JJV281W86L987849             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128528   2006   WABSH   1JJV281W46L987850             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128529   2006   WABSH   1JJV281W66L987851             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128530   2006   WABSH   1JJV281W86L987852             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128531   2006   WABSH   1JJV281WX6L987853             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128534   2006   WABSH   1JJV281W56L987856             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128535   2006   WABSH   1JJV281W76L987857             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128536   2006   WABSH   1JJV281W96L987858             ID        Pocatello
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 637 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128537   2006   WABSH   1JJV281W06L987859             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128539   2006   WABSH   1JJV281W96L987861             MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128541   2006   WABSH   1JJV281W26L987863             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128542   2006   WABSH   1JJV281W46L987864             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128544   2006   WABSH   1JJV281W86L987866             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128545   2006   WABSH   1JJV281WX6L987867             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128546   2006   WABSH   1JJV281W16L987868             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128547   2006   WABSH   1JJV281W36L987869             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128548   2006   WABSH   1JJV281WX6L987870             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128550   2006   WABSH   1JJV281W36L987872             IA        Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128551   2006   WABSH   1JJV281W56L987873             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128552   2006   WABSH   1JJV281W76L987874             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128553   2006   WABSH   1JJV281W96L987875             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128554   2006   WABSH   1JJV281W06L987876             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128555   2006   WABSH   1JJV281W26L987877             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128556   2006   WABSH   1JJV281W46L987878             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128557   2006   WABSH   1JJV281W66L987879             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128558   2006   WABSH   1JJV281W26L987880             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128560   2006   WABSH   1JJV281W66L987882             AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128561   2006   WABSH   1JJV281W86L987883             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128562   2006   WABSH   1JJV281WX6L987884             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128563   2006   WABSH   1JJV281W16L987885             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128564   2006   WABSH   1JJV281W36L987886             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128565   2006   WABSH   1JJV281W56L987887             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128566   2006   WABSH   1JJV281W76L987888             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128567   2006   WABSH   1JJV281W96L987889             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128568   2006   WABSH   1JJV281W56L987890             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128569   2006   WABSH   1JJV281W76L987891             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128570   2006   WABSH   1JJV281W96L987892             OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128571   2006   WABSH   1JJV281W06L987893             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128572   2006   WABSH   1JJV281W26L987894             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128573   2006   WABSH   1JJV281W46L987895             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128574   2006   WABSH   1JJV281W66L987896             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128575   2006   WABSH   1JJV281W86L987897             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128576   2006   WABSH   1JJV281WX6L987898             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128577   2006   WABSH   1JJV281W16L987899             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128578   2006   WABSH   1JJV281W46L987900             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128580   2006   WABSH   1JJV281W86L987902             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128581   2006   WABSH   1JJV281WX6L987903             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128582   2006   WABSH   1JJV281W16L987904             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128583   2006   WABSH   1JJV281W36L987905             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128585   2006   WABSH   1JJV281W76L987907             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128586   2006   WABSH   1JJV281W96L987908             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128587   2006   WABSH   1JJV281W06L987909             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128588   2006   WABSH   1JJV281W76L987910             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128590   2006   WABSH   1JJV281W06L987912             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128591   2006   WABSH   1JJV281W26L987913             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128592   2006   WABSH   1JJV281W46L987914             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128593   2006   WABSH   1JJV281W66L987915             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128594   2006   WABSH   1JJV281W86L987916             LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128595   2006   WABSH   1JJV281WX6L987917             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128596   2006   WABSH   1JJV281W16L987918             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128597   2006   WABSH   1JJV281W36L987919             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128598   2006   WABSH   1JJV281WX6L987920             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128599   2006   WABSH   1JJV281W16L987921             MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128600   2006   WABSH   1JJV281W36L987922             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128601   2006   WABSH   1JJV281W56L987923             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128603   2006   WABSH   1JJV281W96L987925             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128604   2006   WABSH   1JJV281W06L987926             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128605   2006   WABSH   1JJV281W26L987927             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128606   2006   WABSH   1JJV281W46L987928             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128607   2006   WABSH   1JJV281W66L987929             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128608   2006   WABSH   1JJV281W26L987930             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128609   2006   WABSH   1JJV281W46L987931             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128610   2006   WABSH   1JJV281W66L987932             CA        Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128611   2006   WABSH   1JJV281W86L987933             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128613   2006   WABSH   1JJV281W16L987935             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128614   2006   WABSH   1JJV281W36L987936             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128615   2006   WABSH   1JJV281W56L987937             CA        Santa Maria
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 638 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128616   2006   WABSH   1JJV281W76L987938             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128617   2006   WABSH   1JJV281W96L987939             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128618   2006   WABSH   1JJV281W56L987940             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128619   2006   WABSH   1JJV281W76L987941             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128620   2006   WABSH   1JJV281W96L987942             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128622   2006   WABSH   1JJV281W26L987944             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128623   2006   WABSH   1JJV281W46L987945             LA               Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128624   2006   WABSH   1JJV281W66L987946             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128625   2006   WABSH   1JJV281W86L987947             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128626   2006   WABSH   1JJV281WX6L987948             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128627   2006   WABSH   1JJV281W16L987949             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128628   2006   WABSH   1JJV281W86L987950             CA               Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128629   2006   WABSH   1JJV281WX6L987951             IN               Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128630   2006   WABSH   1JJV281W16L987952             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128631   2006   WABSH   1JJV281W36L987953             Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128632   2006   WABSH   1JJV281W56L987954             IL               Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128633   2006   WABSH   1JJV281W76L987955             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128634   2006   WABSH   1JJV281W96L987956             WV               Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128635   2006   WABSH   1JJV281W06L987957             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128636   2006   WABSH   1JJV281W26L987958             CO               Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128637   2006   WABSH   1JJV281W46L987959             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128638   2006   WABSH   1JJV281W06L987960             CA               Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128639   2006   WABSH   1JJV281W26L987961             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128640   2006   WABSH   1JJV281W46L987962             GA               Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128641   2006   WABSH   1JJV281W66L987963             OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128642   2006   WABSH   1JJV281W86L987964             MI               Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128643   2006   WABSH   1JJV281WX6L987965             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128644   2006   WABSH   1JJV281W16L987966             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128645   2006   WABSH   1JJV281W36L987967             MI               Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128646   2006   WABSH   1JJV281W56L987968             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128647   2006   WABSH   1JJV281W76L987969             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128648   2006   WABSH   1JJV281W36L987970             IN               Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128650   2006   WABSH   1JJV281W76L987972             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128652   2006   WABSH   1JJV281W06L987974             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128653   2006   WABSH   1JJV281W26L987975             NC               Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128654   2006   WABSH   1JJV281W46L987976             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128655   2006   WABSH   1JJV281W66L987977             AL               Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128656   2006   WABSH   1JJV281W86L987978             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128657   2006   WABSH   1JJV281WX6L987979             TA               Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128658   2006   WABSH   1JJV281W66L987980             PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128659   2006   WABSH   1JJV281W86L987981             KY               Paducah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128661   2006   WABSH   1JJV281W16L987983             VA               Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128663   2006   WABSH   1JJV281W56L987985             TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128664   2006   WABSH   1JJV281W76L987986             Ontario          Niagara on the Lake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128665   2006   WABSH   1JJV281W96L987987             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128666   2006   WABSH   1JJV281W06L987988             NC               Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128667   2006   WABSH   1JJV281W26L987989             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128668   2006   WABSH   1JJV281W96L987990             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128669   2006   WABSH   1JJV281W06L987991             KY               Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128670   2006   WABSH   1JJV281W26L987992             AL               Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128671   2006   WABSH   1JJV281W46L987993             VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128672   2006   WABSH   1JJV281W66L987994             LA               Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128673   2006   WABSH   1JJV281W86L987995             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128674   2006   WABSH   1JJV281WX6L987996             CO               Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128675   2006   WABSH   1JJV281W16L987997             AR               Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128676   2006   WABSH   1JJV281W36L987998             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128677   2006   WABSH   1JJV281W56L987999             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128678   2006   WABSH   1JJV281W66L988000             PA               Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128679   2006   WABSH   1JJV281W86L988001             VA               Christiansburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128680   2006   WABSH   1JJV281WX6L988002             Ontario          Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128681   2006   WABSH   1JJV281W16L988003             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128682   2006   WABSH   1JJV281W36L988004             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128683   2006   WABSH   1JJV281W56L988005             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128684   2006   WABSH   1JJV281W76L988006             IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128685   2006   WABSH   1JJV281W96L988007             MD               Elkridge
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128686   2006   WABSH   1JJV281W06L988008             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128687   2006   WABSH   1JJV281W26L988009             OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128688   2006   WABSH   1JJV281W96L988010             GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128690   2006   WABSH   1JJV281W26L988012             NY               Tonawanda
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 639 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128691   2006   WABSH   1JJV281W46L988013             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128692   2006   WABSH   1JJV281W66L988014             MI         Norway
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128693   2006   WABSH   1JJV281W86L988015             NY         Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128695   2006   WABSH   1JJV281W16L988017             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128696   2006   WABSH   1JJV281W36L988018             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128697   2006   WABSH   1JJV281W56L988019             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128698   2006   WABSH   1JJV281W16L988020             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128699   2006   WABSH   1JJV281W36L988021             OH         Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128701   2006   WABSH   1JJV281W76L988023             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128702   2006   WABSH   1JJV281W96L988024             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128704   2006   WABSH   1JJV281W26L988026             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128705   2006   WABSH   1JJV281W46L988027             IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128706   2006   WABSH   1JJV281W66L988028             MI         Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128708   2006   WABSH   1JJV281W46L988030             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128709   2006   WABSH   1JJV281W66L988031             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128710   2006   WABSH   1JJV281W86L988032             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128711   2006   WABSH   1JJV281WX6L988033             OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128712   2006   WABSH   1JJV281W16L988034             FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128713   2006   WABSH   1JJV281W36L988035             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128715   2006   WABSH   1JJV281W76L988037             NV         Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128716   2006   WABSH   1JJV281W96L988038             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128717   2006   WABSH   1JJV281W06L988039             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128718   2006   WABSH   1JJV281W76L988040             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128719   2006   WABSH   1JJV281W96L988041             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128720   2006   WABSH   1JJV281W06L988042             IL         Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128721   2006   WABSH   1JJV281W26L988043             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128722   2006   WABSH   1JJV281W46L988044             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128724   2006   WABSH   1JJV281W86L988046             IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128726   2006   WABSH   1JJV281W16L988048             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128727   2006   WABSH   1JJV281W36L988049             TX         Corpus Christi
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128728   2006   WABSH   1JJV281WX6L988050             IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128730   2006   WABSH   1JJV281W36L988052             PA         Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128731   2006   WABSH   1JJV281W56L988053             TX         McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128732   2006   WABSH   1JJV281W76L988054             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128733   2006   WABSH   1JJV281W96L988055             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128734   2006   WABSH   1JJV281W06L988056             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128735   2006   WABSH   1JJV281W26L988057             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128736   2006   WABSH   1JJV281W46L988058             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128737   2006   WABSH   1JJV281W66L988059             RI         Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128738   2006   WABSH   1JJV281W26L988060             OR         Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128739   2006   WABSH   1JJV281W46L988061             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128740   2006   WABSH   1JJV281W66L988062             WA         Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128741   2006   WABSH   1JJV281W86L988063             OH         Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128742   2006   WABSH   1JJV281WX6L988064             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128743   2006   WABSH   1JJV281W16L988065             UT         Beaver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128744   2006   WABSH   1JJV281W36L988066             NJ         Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128745   2006   WABSH   1JJV281W56L988067             IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128746   2006   WABSH   1JJV281W76L988068             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128747   2006   WABSH   1JJV281W96L988069             NY         East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128748   2006   WABSH   1JJV281W56L988070             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128749   2006   WABSH   1JJV281W76L988071             FL         Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128751   2006   WABSH   1JJV281W06L988073             PA         Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128752   2006   WABSH   1JJV281W26L988074             TX         Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128754   2006   WABSH   1JJV281W66L988076             TX         Abilene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128755   2006   WABSH   1JJV281W86L988077             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128756   2006   WABSH   1JJV281WX6L988078             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128757   2006   WABSH   1JJV281W16L988079             PQ         Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128758   2006   WABSH   1JJV281W86L988080             AZ         Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128759   2006   WABSH   1JJV281WX6L988081             GA         Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128760   2006   WABSH   1JJV281W16L988082             SC         Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128761   2006   WABSH   1JJV281W36L988083             TX         Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128762   2006   WABSH   1JJV281W56L988084             GA         Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128764   2006   WABSH   1JJV281W96L988086             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128766   2006   WABSH   1JJV281W26L988088             WI         Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128767   2006   WABSH   1JJV281W46L988089             IL         Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128768   2006   WABSH   1JJV281W06L988090             AR         Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128769   2006   WABSH   1JJV281W26L988091             IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128770   2006   WABSH   1JJV281W46L988092             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128771   2006   WABSH   1JJV281W66L988093             IL         Wheeling
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 640 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128772   2006   WABSH   1JJV281W86L988094             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128774   2006   WABSH   1JJV281W16L988096             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128775   2006   WABSH   1JJV281W36L988097             KS         Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128776   2006   WABSH   1JJV281W56L988098             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128777   2006   WABSH   1JJV281W76L988099             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128778   2006   WABSH   1JJV281WX6L988100             CA         Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128779   2006   WABSH   1JJV281W16L988101             FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128780   2006   WABSH   1JJV281W36L988102             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128781   2006   WABSH   1JJV281W56L988103             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128782   2006   WABSH   1JJV281W76L988104             IL         Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128783   2006   WABSH   1JJV281W96L988105             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128784   2006   WABSH   1JJV281W06L988106             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128785   2006   WABSH   1JJV281W26L988107             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128786   2006   WABSH   1JJV281W46L988108             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128787   2006   WABSH   1JJV281W66L988109             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128788   2006   WABSH   1JJV281W26L988110             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128789   2006   WABSH   1JJV281W46L988111             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128790   2006   WABSH   1JJV281W66L988112             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128791   2006   WABSH   1JJV281W86L988113             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128792   2006   WABSH   1JJV281WX6L988114             KY         Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128793   2006   WABSH   1JJV281W16L988115             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128794   2006   WABSH   1JJV281W36L988116             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128795   2006   WABSH   1JJV281W56L988117             GA         Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128796   2006   WABSH   1JJV281W76L988118             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128797   2006   WABSH   1JJV281W96L988119             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128798   2006   WABSH   1JJV281W56L988120             ME         Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128799   2006   WABSH   1JJV281W76L988121             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128800   2006   WABSH   1JJV281W96L988122             OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128802   2006   WABSH   1JJV281W26L988124             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128803   2006   WABSH   1JJV281W46L988125             FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128804   2006   WABSH   1JJV281W66L988126             ND         Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128806   2006   WABSH   1JJV281WX6L988128             PA         Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128807   2006   WABSH   1JJV281W16L988129             FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128808   2006   WABSH   1JJV281W86L988130             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128809   2006   WABSH   1JJV281WX6L988131             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128811   2006   WABSH   1JJV281W36L988133             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128812   2006   WABSH   1JJV281W56L988134             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128813   2006   WABSH   1JJV281W76L988135             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128814   2006   WABSH   1JJV281W96L988136             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128815   2006   WABSH   1JJV281W06L988137             ME         Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128816   2006   WABSH   1JJV281W26L988138             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128817   2006   WABSH   1JJV281W46L988139             NV         Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128818   2006   WABSH   1JJV281W06L988140             IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128819   2006   WABSH   1JJV281W26L988141             AL         Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128820   2006   WABSH   1JJV281W46L988142             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128821   2006   WABSH   1JJV281W66L988143             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128822   2006   WABSH   1JJV281W86L988144             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128823   2006   WABSH   1JJV281WX6L988145             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128825   2006   WABSH   1JJV281W36L988147             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128827   2006   WABSH   1JJV281W76L988149             OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128828   2006   WABSH   1JJV281W36L988150             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128829   2006   WABSH   1JJV281W56L988151             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128830   2006   WABSH   1JJV281W76L988152             OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128831   2006   WABSH   1JJV281W96L988153             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128833   2006   WABSH   1JJV281W26L988155             IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128834   2006   WABSH   1JJV281W46L988156             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128835   2006   WABSH   1JJV281W66L988157             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128836   2006   WABSH   1JJV281W86L988158             NJ         Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128837   2006   WABSH   1JJV281WX6L988159             CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128838   2006   WABSH   1JJV281W66L988160             GA         Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128839   2006   WABSH   1JJV281W86L988161             AL         Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128840   2006   WABSH   1JJV281WX6L988162             TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128841   2006   WABSH   1JJV281W16L988163             IN         Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128842   2006   WABSH   1JJV281W36L988164             GA         Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128843   2006   WABSH   1JJV281W56L988165             CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128844   2006   WABSH   1JJV281W76L988166             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128845   2006   WABSH   1JJV281W96L988167             KY         Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128846   2006   WABSH   1JJV281W06L988168             WA         Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128847   2006   WABSH   1JJV281W26L988169             OH         Copley
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 641 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128848   2006   WABSH   1JJV281W96L988170             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128849   2006   WABSH   1JJV281W06L988171             OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128850   2006   WABSH   1JJV281W26L988172             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128851   2006   WABSH   1JJV281W46L988173             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128852   2006   WABSH   1JJV281W66L988174             CA        Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128853   2006   WABSH   1JJV281W86L988175             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128855   2006   WABSH   1JJV281W16L988177             AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128857   2006   WABSH   1JJV281W56L988179             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128858   2006   WABSH   1JJV281W16L988180             PA        Erie
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128860   2006   WABSH   1JJV281W56L988182             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128861   2006   WABSH   1JJV281W76L988183             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128862   2006   WABSH   1JJV281W96L988184             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128863   2006   WABSH   1JJV281W06L988185             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128864   2006   WABSH   1JJV281W26L988186             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128865   2006   WABSH   1JJV281W46L988187             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128867   2006   WABSH   1JJV281W86L988189             AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128868   2006   WABSH   1JJV281W46L988190             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128869   2006   WABSH   1JJV281W66L988191             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128870   2006   WABSH   1JJV281W86L988192             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128871   2006   WABSH   1JJV281WX6L988193             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128872   2006   WABSH   1JJV281W16L988194             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128873   2006   WABSH   1JJV281W36L988195             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128874   2006   WABSH   1JJV281W56L988196             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128875   2006   WABSH   1JJV281W76L988197             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128876   2006   WABSH   1JJV281W96L988198             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128877   2006   WABSH   1JJV281W06L988199             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128878   2006   WABSH   1JJV281W36L988200             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128879   2006   WABSH   1JJV281W56L988201             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128880   2006   WABSH   1JJV281W76L988202             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128881   2006   WABSH   1JJV281W96L988203             LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128882   2006   WABSH   1JJV281W06L988204             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128883   2006   WABSH   1JJV281W26L988205             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128884   2006   WABSH   1JJV281W46L988206             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128887   2006   WABSH   1JJV281WX6L988209             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128888   2006   WABSH   1JJV281W66L988210             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128889   2006   WABSH   1JJV281W86L988211             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128890   2006   WABSH   1JJV281WX6L988212             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128891   2006   WABSH   1JJV281W16L988213             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128892   2006   WABSH   1JJV281W36L988214             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128893   2006   WABSH   1JJV281W56L988215             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128894   2006   WABSH   1JJV281W76L988216             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128895   2006   WABSH   1JJV281W96L988217             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128896   2006   WABSH   1JJV281W06L988218             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128897   2006   WABSH   1JJV281W26L988219             IN        Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128898   2006   WABSH   1JJV281W96L988220             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128899   2006   WABSH   1JJV281W06L988221             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128900   2006   WABSH   1JJV281W26L988222             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128901   2006   WABSH   1JJV281W46L988223             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128902   2006   WABSH   1JJV281W66L988224             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128903   2006   WABSH   1JJV281W86L988225             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128904   2006   WABSH   1JJV281WX6L988226             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128905   2006   WABSH   1JJV281W16L988227             LA        Monroe
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128906   2006   WABSH   1JJV281W36L988228             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128907   2006   WABSH   1JJV281W56L988229             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128908   2006   WABSH   1JJV281W16L988230             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128909   2006   WABSH   1JJV281W36L988231             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128910   2006   WABSH   1JJV281W56L988232             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128911   2006   WABSH   1JJV281W76L988233             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128912   2006   WABSH   1JJV281W96L988234             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128913   2006   WABSH   1JJV281W06L988235             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128914   2006   WABSH   1JJV281W26L988236             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128915   2006   WABSH   1JJV281W46L988237             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128916   2006   WABSH   1JJV281W66L988238             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128917   2006   WABSH   1JJV281W86L988239             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128918   2006   WABSH   1JJV281W46L988240             NC        Fayetteville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128919   2006   WABSH   1JJV281W66L988241             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128920   2006   WABSH   1JJV281W86L988242             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128921   2006   WABSH   1JJV281WX6L988243             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128922   2006   WABSH   1JJV281W16L988244             TN        Nashville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 642 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY128923   2006   WABSH   1JJV281W36L988245             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129100   2000   STRCK   1S11E8280YE452269             OR               Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129410   2005   GRTDN   1GRAA56125K264286             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129471   2007   WABSH   1JJV281W37L988246             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129472   2007   WABSH   1JJV281W57L988247             IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129473   2007   WABSH   1JJV281W77L988248             VT               Bellows Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129474   2007   WABSH   1JJV281W97L988249             NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129475   2007   WABSH   1JJV281W57L988250             DE               Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129477   2007   WABSH   1JJV281W97L988252             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129478   2007   WABSH   1JJV281W07L988253             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129479   2007   WABSH   1JJV281W27L988254             AL               Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129480   2007   WABSH   1JJV281W47L988255             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129481   2007   WABSH   1JJV281W67L988256             CA               Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129483   2007   WABSH   1JJV281WX7L988258             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129484   2007   WABSH   1JJV281W17L988259             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129485   2007   WABSH   1JJV281W87L988260             TA               Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129486   2007   WABSH   1JJV281WX7L988261             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129487   2007   WABSH   1JJV281W17L988262             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129488   2007   WABSH   1JJV281W37L988263             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129489   2007   WABSH   1JJV281W57L988264             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129490   2007   WABSH   1JJV281W77L988265             MI               Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129491   2007   WABSH   1JJV281W97L988266             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129492   2007   WABSH   1JJV281W07L988267             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129493   2007   WABSH   1JJV281W27L988268             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129494   2007   WABSH   1JJV281W47L988269             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129495   2007   WABSH   1JJV281W07L988270             TX               Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129496   2007   WABSH   1JJV281W27L988271             VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129497   2007   WABSH   1JJV281W47L988272             MI               Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129498   2007   WABSH   1JJV281W67L988273             VA               Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129499   2007   WABSH   1JJV281W87L988274             PQ               Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129500   2007   WABSH   1JJV281WX7L988275             NJ               Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129501   2007   WABSH   1JJV281W17L988276             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129502   2007   WABSH   1JJV281W37L988277             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129503   2007   WABSH   1JJV281W57L988278             VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129504   2007   WABSH   1JJV281W77L988279             MN               Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129505   2007   WABSH   1JJV281W37L988280             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129506   2007   WABSH   1JJV281W57L988281             IL               Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129507   2007   WABSH   1JJV281W77L988282             OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129508   2007   WABSH   1JJV281W97L988283             OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129509   2007   WABSH   1JJV281W07L988284             VA               Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129510   2007   WABSH   1JJV281W27L988285             WA               Bellingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129511   2007   WABSH   1JJV281W47L988286             CO               Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129512   2007   WABSH   1JJV281W67L988287             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129513   2007   WABSH   1JJV281W87L988288             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129514   2007   WABSH   1JJV281WX7L988289             IL               Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129515   2007   WABSH   1JJV281W67L988290             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129516   2007   WABSH   1JJV281W87L988291             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129517   2007   WABSH   1JJV281WX7L988292             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129518   2007   WABSH   1JJV281W17L988293             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129519   2007   WABSH   1JJV281W37L988294             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129520   2007   WABSH   1JJV281W57L988295             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129521   2007   WABSH   1JJV281W77L988296             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129522   2007   WABSH   1JJV281W97L988297             IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129523   2007   WABSH   1JJV281W07L988298             TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129524   2007   WABSH   1JJV281W27L988299             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129525   2007   WABSH   1JJV281W57L988300             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129526   2007   WABSH   1JJV281W77L988301             TX               El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129527   2007   WABSH   1JJV281W97L988302             MN               Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129528   2007   WABSH   1JJV281W07L988303             NY               Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129529   2007   WABSH   1JJV281W27L988304             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129530   2007   WABSH   1JJV281W47L988305             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129531   2007   WABSH   1JJV281W67L988306             FL               Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129532   2007   WABSH   1JJV281W87L988307             NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129533   2007   WABSH   1JJV281WX7L988308             PA               Erie
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129534   2007   WABSH   1JJV281W17L988309             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129535   2007   WABSH   1JJV281W87L988310             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129536   2007   WABSH   1JJV281WX7L988311             FL               Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129537   2007   WABSH   1JJV281W17L988312             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129538   2007   WABSH   1JJV281W37L988313             PA               Bethlehem
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 643 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129539   2007   WABSH   1JJV281W57L988314             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129542   2007   WABSH   1JJV281W07L988317             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129543   2007   WABSH   1JJV281W27L988318             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129544   2007   WABSH   1JJV281W47L988319             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129545   2007   WABSH   1JJV281W07L988320             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129546   2007   WABSH   1JJV281W27L988321             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129547   2007   WABSH   1JJV281W47L988322             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129548   2007   WABSH   1JJV281W67L988323             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129549   2007   WABSH   1JJV281W87L988324             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129550   2007   WABSH   1JJV281WX7L988325             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129551   2007   WABSH   1JJV281W17L988326             WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129552   2007   WABSH   1JJV281W37L988327             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129553   2007   WABSH   1JJV281W57L988328             IL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129554   2007   WABSH   1JJV281W77L988329             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129555   2007   WABSH   1JJV281W37L988330             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129556   2007   WABSH   1JJV281W57L988331             SC        North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129557   2007   WABSH   1JJV281W77L988332             NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129558   2007   WABSH   1JJV281W97L988333             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129559   2007   WABSH   1JJV281W07L988334             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129560   2007   WABSH   1JJV281W27L988335             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129561   2007   WABSH   1JJV281W47L988336             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129562   2007   WABSH   1JJV281W67L988337             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129563   2007   WABSH   1JJV281W87L988338             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129564   2007   WABSH   1JJV281WX7L988339             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129565   2007   WABSH   1JJV281W67L988340             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129566   2007   WABSH   1JJV281WX6L988341             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129567   2007   WABSH   1JJV281WX7L988342             CA        Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129568   2007   WABSH   1JJV281W17L988343             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129569   2007   WABSH   1JJV281W37L988344             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129570   2007   WABSH   1JJV281W57L988345             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129571   2007   WABSH   1JJV281W77L988346             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129572   2007   WABSH   1JJV281W97L988347             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129573   2007   WABSH   1JJV281W07L988348             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129574   2007   WABSH   1JJV281W27L988349             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129575   2007   WABSH   1JJV281W97L988350             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129576   2007   WABSH   1JJV281W07L988351             WV        Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129577   2007   WABSH   1JJV281W27L988352             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129578   2007   WABSH   1JJV281W47L988353             AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129579   2007   WABSH   1JJV281W67L988354             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129580   2007   WABSH   1JJV281W87L988355             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129581   2007   WABSH   1JJV281WX7L988356             NJ        Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129582   2007   WABSH   1JJV281W17L988357             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129584   2007   WABSH   1JJV281W57L988359             OH        Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129585   2007   WABSH   1JJV281W17L988360             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129586   2007   WABSH   1JJV281W37L988361             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129587   2007   WABSH   1JJV281W57L988362             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129588   2007   WABSH   1JJV281W77L988363             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129590   2007   WABSH   1JJV281W07L988365             WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129591   2007   WABSH   1JJV281W27L988366             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129593   2007   WABSH   1JJV281W67L988368             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129594   2007   WABSH   1JJV281W87L988369             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129595   2007   WABSH   1JJV281W47L988370             CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129596   2007   WABSH   1JJV281W67L988371             CA        Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129597   2007   WABSH   1JJV281W87L988372             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129598   2007   WABSH   1JJV281WX7L988373             MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129600   2007   WABSH   1JJV281W37L988375             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129601   2007   WABSH   1JJV281W57L988376             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129602   2007   WABSH   1JJV281W77L988377             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129603   2007   WABSH   1JJV281W97L988378             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129604   2007   WABSH   1JJV281W07L988379             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129605   2007   WABSH   1JJV281W77L988380             PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129606   2007   WABSH   1JJV281W97L988381             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129607   2007   WABSH   1JJV281W07L988382             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129608   2007   WABSH   1JJV281W27L988383             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129609   2007   WABSH   1JJV281W47L988384             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129610   2007   WABSH   1JJV281W67L988385             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129611   2007   WABSH   1JJV281W87L988386             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129612   2007   WABSH   1JJV281WX7L988387             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129614   2007   WABSH   1JJV281W37L988389             WI        Oak Creek
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 644 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129616   2007   WABSH   1JJV281W17L988391             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129617   2007   WABSH   1JJV281W37L988392             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129618   2007   WABSH   1JJV281W57L988393             LA      New Orleans
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129619   2007   WABSH   1JJV281W77L988394             CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129620   2007   WABSH   1JJV281W97L988395             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129621   2007   WABSH   1JJV281W07L988396             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129622   2007   WABSH   1JJV281W27L988397             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129623   2007   WABSH   1JJV281W47L988398             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129624   2007   WABSH   1JJV281W67L988399             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129626   2007   WABSH   1JJV281W07L988401             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129627   2007   WABSH   1JJV281W27L988402             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129628   2007   WABSH   1JJV281W47L988403             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129629   2007   WABSH   1JJV281W67L988404             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129630   2007   WABSH   1JJV281W87L988405             TX      Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129631   2007   WABSH   1JJV281WX7L988406             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129632   2007   WABSH   1JJV281W17L988407             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129633   2007   WABSH   1JJV281W37L988408             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129634   2007   WABSH   1JJV281W57L988409             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129635   2007   WABSH   1JJV281W17L988410             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129636   2007   WABSH   1JJV281W37L988411             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129638   2007   WABSH   1JJV281W77L988413             IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129639   2007   WABSH   1JJV281W97L988414             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129640   2007   WABSH   1JJV281W07L988415             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129641   2007   WABSH   1JJV281W27L988416             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129642   2007   WABSH   1JJV281W47L988417             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129643   2007   WABSH   1JJV281W67L988418             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129645   2007   WABSH   1JJV281W47L988420             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129646   2007   WABSH   1JJV281W67L988421             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129648   2007   WABSH   1JJV281WX7L988423             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129649   2007   WABSH   1JJV281W17L988424             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129650   2007   WABSH   1JJV281W37L988425             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129651   2007   WABSH   1JJV281W57L988426             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129652   2007   WABSH   1JJV281W77L988427             NJ      Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129653   2007   WABSH   1JJV281W97L988428             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129654   2007   WABSH   1JJV281W07L988429             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129655   2007   WABSH   1JJV281W77L988430             GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129656   2007   WABSH   1JJV281W97L988431             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129657   2007   WABSH   1JJV281W07L988432             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129658   2007   WABSH   1JJV281W27L988433             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129659   2007   WABSH   1JJV281W47L988434             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129660   2007   WABSH   1JJV281W67L988435             OR      Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129661   2007   WABSH   1JJV281W87L988436             VA      Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129663   2007   WABSH   1JJV281W17L988438             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129664   2007   WABSH   1JJV281W37L988439             DE      Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129665   2007   WABSH   1JJV281WX7L988440             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129666   2007   WABSH   1JJV281W17L988441             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129668   2007   WABSH   1JJV281W57L988443             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129669   2007   WABSH   1JJV281W77L988444             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129670   2007   WABSH   1JJV281W97L988445             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129671   2007   WABSH   1JJV281W07L988446             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129672   2007   WABSH   1JJV281W27L988447             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129673   2007   WABSH   1JJV281W47L988448             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129674   2007   WABSH   1JJV281W67L988449             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129675   2007   WABSH   1JJV281W27L988450             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129676   2007   WABSH   1JJV281W47L988451             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129677   2007   WABSH   1JJV281W67L988452             OR      Roseburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129678   2007   WABSH   1JJV281W87L988453             ME      Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129679   2007   WABSH   1JJV281WX7L988454             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129681   2007   WABSH   1JJV281W37L988456             ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129682   2007   WABSH   1JJV281W57L988457             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129683   2007   WABSH   1JJV281W77L988458             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129684   2007   WABSH   1JJV281W97L988459             NC      Wilmington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129685   2007   WABSH   1JJV281W57L988460             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129686   2007   WABSH   1JJV281W77L988461             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129687   2007   WABSH   1JJV281W97L988462             ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129689   2007   WABSH   1JJV281W27L988464             MO      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129690   2007   WABSH   1JJV281W47L988465             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129691   2007   WABSH   1JJV281W67L988466             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129692   2007   WABSH   1JJV281W87L988467             NC      Charlotte
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 645 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129693   2007   WABSH   1JJV281WX7L988468             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129694   2007   WABSH   1JJV281W17L988469             AR      Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129695   2007   WABSH   1JJV281W87L988470             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129696   2007   WABSH   1JJV281WX7L988471             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129697   2007   WABSH   1JJV281W17L988472             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129698   2007   WABSH   1JJV281W37L988473             CA      Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129700   2007   WABSH   1JJV281W77L988475             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129702   2007   WABSH   1JJV281W07L988477             VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129703   2007   WABSH   1JJV281W27L988478             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129704   2007   WABSH   1JJV281W47L988479             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129705   2007   WABSH   1JJV281W07L988480             LA      Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129706   2007   WABSH   1JJV281W27L988481             OR      Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129707   2007   WABSH   1JJV281W47L988482             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129708   2007   WABSH   1JJV281W67L988483             CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129709   2007   WABSH   1JJV281W87L988484             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129710   2007   WABSH   1JJV281WX7L988485             NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129711   2007   WABSH   1JJV281W17L988486             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129712   2007   WABSH   1JJV281W37L988487             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129713   2007   WABSH   1JJV281W57L988488             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129714   2007   WABSH   1JJV281W77L988489             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129715   2007   WABSH   1JJV281W37L988490             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129717   2007   WABSH   1JJV281W77L988492             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129718   2007   WABSH   1JJV281W97L988493             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129719   2007   WABSH   1JJV281W07L988494             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129720   2007   WABSH   1JJV281W27L988495             CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129721   2007   WABSH   1JJV281W47L988496             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129722   2007   WABSH   1JJV281W67L988497             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129723   2007   WABSH   1JJV281W87L988498             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129725   2007   WABSH   1JJV281W27L988500             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129726   2007   WABSH   1JJV281W47L988501             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129727   2007   WABSH   1JJV281W67L988502             NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129728   2007   WABSH   1JJV281W87L988503             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129729   2007   WABSH   1JJV281WX7L988504             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129730   2007   WABSH   1JJV281W17L988505             UT      St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129731   2007   WABSH   1JJV281W37L988506             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129732   2007   WABSH   1JJV281W57L988507             NY      Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129733   2007   WABSH   1JJV281W77L988508             WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129734   2007   WABSH   1JJV281W97L988509             WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129735   2007   WABSH   1JJV281W57L988510             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129736   2007   WABSH   1JJV281W77L988511             CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129737   2007   WABSH   1JJV281W97L988512             PA      Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129738   2007   WABSH   1JJV281W07L988513             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129739   2007   WABSH   1JJV281W27L988514             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129740   2007   WABSH   1JJV281W47L988515             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129741   2007   WABSH   1JJV281W67L988516             CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129742   2007   WABSH   1JJV281W87L988517             NH      Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129743   2007   WABSH   1JJV281WX7L988518             CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129744   2007   WABSH   1JJV281W17L988519             WA      Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129745   2007   WABSH   1JJV281W87L988520             NE      Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129746   2007   WABSH   1JJV281WX7L988521             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129747   2007   WABSH   1JJV281W17L988522             TX      Abilene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129748   2007   WABSH   1JJV281W37L988523             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129749   2007   WABSH   1JJV281W57L988524             CA      Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129750   2007   WABSH   1JJV281W77L988525             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129751   2007   WABSH   1JJV281W97L988526             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129752   2007   WABSH   1JJV281W07L988527             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129753   2007   WABSH   1JJV281W27L988528             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129754   2007   WABSH   1JJV281W47L988529             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129755   2007   WABSH   1JJV281W07L988530             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129756   2007   WABSH   1JJV281W27L988531             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129757   2007   WABSH   1JJV281W47L988532             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129758   2007   WABSH   1JJV281W67L988533             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129760   2007   WABSH   1JJV281WX7L988535             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129761   2007   WABSH   1JJV281W17L988536             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129762   2007   WABSH   1JJV281W37L988537             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129763   2007   WABSH   1JJV281W57L988538             OH      Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129764   2007   WABSH   1JJV281W77L988539             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129765   2007   WABSH   1JJV281W37L988540             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129766   2007   WABSH   1JJV281W57L988541             MS      Richland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 646 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129767   2007   WABSH   1JJV281W77L988542             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129768   2007   WABSH   1JJV281W97L988543             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129769   2007   WABSH   1JJV281W07L988544             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129770   2007   WABSH   1JJV281W27L988545             NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129771   2007   WABSH   1JJV281W47L988546             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129772   2007   WABSH   1JJV281W67L988547             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129773   2007   WABSH   1JJV281W87L988548             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129774   2007   WABSH   1JJV281WX7L988549             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129775   2007   WABSH   1JJV281W67L988550             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129776   2007   WABSH   1JJV281W87L988551             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129777   2007   WABSH   1JJV281WX7L988552             KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129778   2007   WABSH   1JJV281W17L988553             CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129779   2007   WABSH   1JJV281W37L988554             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129780   2007   WABSH   1JJV281W57L988555             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129781   2007   WABSH   1JJV281W77L988556             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129782   2007   WABSH   1JJV281W97L988557             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129783   2007   WABSH   1JJV281W07L988558             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129784   2007   WABSH   1JJV281W27L988559             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129785   2007   WABSH   1JJV281W97L988560             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129786   2007   WABSH   1JJV281W07L988561             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129787   2007   WABSH   1JJV281W27L988562             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129788   2007   WABSH   1JJV281W47L988563             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129789   2007   WABSH   1JJV281W67L988564             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129790   2007   WABSH   1JJV281W87L988565             CO        Grand Junction
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129791   2007   WABSH   1JJV281WX7L988566             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129792   2007   WABSH   1JJV281W17L988567             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129793   2007   WABSH   1JJV281W37L988568             OH        North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129794   2007   WABSH   1JJV281W57L988569             CA        Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129796   2007   WABSH   1JJV281W37L988571             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129798   2007   WABSH   1JJV281W77L988573             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129799   2007   WABSH   1JJV281W97L988574             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129800   2007   WABSH   1JJV281W07L988575             UT        Beaver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129801   2007   WABSH   1JJV281W27L988576             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129803   2007   WABSH   1JJV281W67L988578             NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129805   2007   WABSH   1JJV281W47L988580             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129806   2007   WABSH   1JJV281W67L988581             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129807   2007   WABSH   1JJV281W87L988582             NC        Rocky Mount
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129808   2007   WABSH   1JJV281WX7L988583             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129809   2007   WABSH   1JJV281W17L988584             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129810   2007   WABSH   1JJV281W37L988585             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129811   2007   WABSH   1JJV281W57L988586             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129812   2007   WABSH   1JJV281W77L988587             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129813   2007   WABSH   1JJV281W97L988588             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129814   2007   WABSH   1JJV281W07L988589             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129815   2007   WABSH   1JJV281W77L988590             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129816   2007   WABSH   1JJV281W97L988591             MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129817   2007   WABSH   1JJV281W07L988592             IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129818   2007   WABSH   1JJV281W27L988593             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129819   2007   WABSH   1JJV281W47L988594             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129820   2007   WABSH   1JJV281W67L988595             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129821   2007   WABSH   1JJV281W87L988596             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129823   2007   WABSH   1JJV281W17L988598             NY        Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129824   2007   WABSH   1JJV281W37L988599             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129825   2007   WABSH   1JJV281W67L988600             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129826   2007   WABSH   1JJV281W87L988601             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129827   2007   WABSH   1JJV281WX7L988602             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129828   2007   WABSH   1JJV281W17L988603             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129829   2007   WABSH   1JJV281W37L988604             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129830   2007   WABSH   1JJV281W57L988605             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129831   2007   WABSH   1JJV281W77L988606             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129832   2007   WABSH   1JJV281W97L988607             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129833   2007   WABSH   1JJV281W07L988608             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129834   2007   WABSH   1JJV281W27L988609             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129835   2007   WABSH   1JJV281W97L988610             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129836   2007   WABSH   1JJV281W07L988611             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129837   2007   WABSH   1JJV281W27L988612             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129838   2007   WABSH   1JJV281W47L988613             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129840   2007   WABSH   1JJV281W87L988615             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129841   2007   WABSH   1JJV281WX7L988616             MI        Birch Run
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 647 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129842   2007   WABSH   1JJV281W17L988617             IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129843   2007   WABSH   1JJV281W37L988618             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129844   2007   WABSH   1JJV281W57L988619             WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129845   2007   WABSH   1JJV281W17L988620             OH         North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129846   2007   WABSH   1JJV281W37L988621             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129847   2007   WABSH   1JJV281W57L988622             OH         Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129848   2007   WABSH   1JJV281W77L988623             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129849   2007   WABSH   1JJV281W97L988624             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129850   2007   WABSH   1JJV281W07L988625             CA         Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129851   2007   WABSH   1JJV281W27L988626             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129853   2007   WABSH   1JJV281W67L988628             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129854   2007   WABSH   1JJV281W87L988629             NE         Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129855   2007   WABSH   1JJV281W47L988630             SD         Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129857   2007   WABSH   1JJV281W87L988632             IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129858   2007   WABSH   1JJV281WX7L988633             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129859   2007   WABSH   1JJV281W17L988634             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129860   2007   WABSH   1JJV281W37L988635             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129861   2007   WABSH   1JJV281W57L988636             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129862   2007   WABSH   1JJV281W77L988637             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129863   2007   WABSH   1JJV281W97L988638             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129864   2007   WABSH   1JJV281W07L988639             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129865   2007   WABSH   1JJV281W77L988640             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129867   2007   WABSH   1JJV281W07L988642             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129868   2007   WABSH   1JJV281W27L988643             IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129869   2007   WABSH   1JJV281W47L988644             FL         Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129871   2007   WABSH   1JJV281W87L988646             NC         Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129872   2007   WABSH   1JJV281WX7L988647             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129873   2007   WABSH   1JJV281W17L988648             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129874   2007   WABSH   1JJV281W37L988649             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129875   2007   WABSH   1JJV281WX7L988650             IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129876   2007   WABSH   1JJV281W17L988651             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129877   2007   WABSH   1JJV281W37L988652             SC         North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129878   2007   WABSH   1JJV281W57L988653             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129879   2007   WABSH   1JJV281W77L988654             ND         Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129880   2007   WABSH   1JJV281W97L988655             NC         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129881   2007   WABSH   1JJV281W07L988656             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129882   2007   WABSH   1JJV281W27L988657             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129883   2007   WABSH   1JJV281W47L988658             FL         Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129884   2007   WABSH   1JJV281W67L988659             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129885   2007   WABSH   1JJV281W27L988660             LA         Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129886   2007   WABSH   1JJV281W66L988661             IA         Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129887   2007   WABSH   1JJV281W67L988662             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129888   2007   WABSH   1JJV281W87L988663             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129889   2007   WABSH   1JJV281WX7L988664             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129890   2007   WABSH   1JJV281W17L988665             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129891   2007   WABSH   1JJV281W37L988666             MT         Missoula
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129892   2007   WABSH   1JJV281W57L988667             GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129893   2007   WABSH   1JJV281W77L988668             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129894   2007   WABSH   1JJV281W97L988669             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129895   2007   WABSH   1JJV281W57L988670             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129896   2007   WABSH   1JJV281W77L988671             AL         Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129897   2007   WABSH   1JJV281W97L988672             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129898   2007   WABSH   1JJV281W07L988673             SC         West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129899   2007   WABSH   1JJV281W27L988674             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129900   2007   WABSH   1JJV281W47L988675             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129901   2007   WABSH   1JJV281W67L988676             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129903   2007   WABSH   1JJV281WX7L988678             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129904   2007   WABSH   1JJV281W17L988679             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129905   2007   WABSH   1JJV281W87L988680             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129907   2007   WABSH   1JJV281W17L988682             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129908   2007   WABSH   1JJV281W37L988683             CT         Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129909   2007   WABSH   1JJV281W57L988684             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129910   2007   WABSH   1JJV281W77L988685             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129911   2007   WABSH   1JJV281W97L988686             NE         Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129912   2007   WABSH   1JJV281W07L988687             CA         Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129913   2007   WABSH   1JJV281W27L988688             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129914   2007   WABSH   1JJV281W47L988689             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129915   2007   WABSH   1JJV281W07L988690             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129916   2007   WABSH   1JJV281W27L988691             OR         Portland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 648 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129917   2007   WABSH   1JJV281W47L988692             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129918   2007   WABSH   1JJV281W67L988693             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129919   2007   WABSH   1JJV281W87L988694             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129920   2007   WABSH   1JJV281WX7L988695             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129921   2007   WABSH   1JJV281W17L988696             CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129922   2007   WABSH   1JJV281W37L988697             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129924   2007   WABSH   1JJV281W77L988699             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129925   2007   WABSH   1JJV281WX7L988700             MO      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129926   2007   WABSH   1JJV281W17L988701             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129927   2007   WABSH   1JJV281W37L988702             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129928   2007   WABSH   1JJV281W57L988703             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129929   2007   WABSH   1JJV281W77L988704             NE      Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129930   2007   WABSH   1JJV281W97L988705             MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129931   2007   WABSH   1JJV281W07L988706             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129933   2007   WABSH   1JJV281W47L988708             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129934   2007   WABSH   1JJV281W67L988709             WI      Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129935   2007   WABSH   1JJV281W27L988710             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129936   2007   WABSH   1JJV281W47L988711             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129938   2007   WABSH   1JJV281W87L988713             AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129939   2007   WABSH   1JJV281WX7L988714             CA      Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129940   2007   WABSH   1JJV281W17L988715             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129941   2007   WABSH   1JJV281W37L988716             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129942   2007   WABSH   1JJV281W57L988717             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129943   2007   WABSH   1JJV281W77L988718             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129944   2007   WABSH   1JJV281W97L988719             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129946   2007   WABSH   1JJV281W77L988721             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129947   2007   WABSH   1JJV281W97L988722             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129948   2007   WABSH   1JJV281W07L988723             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129949   2007   WABSH   1JJV281W27L988724             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129950   2007   WABSH   1JJV281W47L988725             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129951   2007   WABSH   1JJV281W67L988726             PA      Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129952   2007   WABSH   1JJV281W87L988727             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129953   2007   WABSH   1JJV281WX7L988728             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129954   2007   WABSH   1JJV281W17L988729             NY      Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129955   2007   WABSH   1JJV281W87L988730             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129956   2007   WABSH   1JJV281WX7L988731             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129957   2007   WABSH   1JJV281W17L988732             CA      Willows
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129958   2007   WABSH   1JJV281W37L988733             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129959   2007   WABSH   1JJV281W57L988734             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129960   2007   WABSH   1JJV281W77L988735             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129961   2007   WABSH   1JJV281W97L988736             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129962   2007   WABSH   1JJV281W07L988737             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129965   2007   WABSH   1JJV281W07L988740             CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY129966   2007   WABSH   1JJV281W27L988741             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130184   2007   WABSH   1JJV281W07L046087             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130441   2007   WABSH   1JJV281W07L050852             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130442   2007   WABSH   1JJV281W27L050853             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130443   2007   WABSH   1JJV281W47L050854             MT      Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130444   2007   WABSH   1JJV281W67L050855             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130445   2007   WABSH   1JJV281W87L050856             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130446   2007   WABSH   1JJV281WX7L050857             AL      Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130448   2007   WABSH   1JJV281W37L050859             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130449   2007   WABSH   1JJV281WX7L050860             MN      Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130450   2007   WABSH   1JJV281W17L050861             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130452   2007   WABSH   1JJV281W57L050863             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130453   2007   WABSH   1JJV281W77L050864             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130454   2007   WABSH   1JJV281W97L050865             CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130455   2007   WABSH   1JJV281W07L050866             IL      Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130456   2007   WABSH   1JJV281W27L050867             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130458   2007   WABSH   1JJV281W67L050869             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130460   2007   WABSH   1JJV281W47L050871             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130461   2007   WABSH   1JJV281W67L050872             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130463   2007   WABSH   1JJV281WX7L050874             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130464   2007   WABSH   1JJV281W17L050875             CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130466   2007   WABSH   1JJV281W57L050877             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130467   2007   WABSH   1JJV281W77L050878             OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130468   2007   WABSH   1JJV281W97L050879             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130470   2007   WABSH   1JJV281W77L050881             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130473   2007   WABSH   1JJV281W27L050884             TN      Nashville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 649 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130475   2007   WABSH   1JJV281W67L050886             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130476   2007   WABSH   1JJV281W87L050887             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130477   2007   WABSH   1JJV281WX7L050888             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130479   2007   WABSH   1JJV281W87L050890             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130481   2007   WABSH   1JJV281W17L050892             MI         Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130482   2007   WABSH   1JJV281W37L050893             CT         Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130483   2007   WABSH   1JJV281W57L050894             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130484   2007   WABSH   1JJV281W77L050895             MT         Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130485   2007   WABSH   1JJV281W97L050896             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130491   2007   WABSH   1JJV281W07L050902             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130492   2007   WABSH   1JJV281W27L050903             FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130493   2007   WABSH   1JJV281W47L050904             FL         Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130494   2007   WABSH   1JJV281W67L050905             CA         San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130495   2007   WABSH   1JJV281W87L050906             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130496   2007   WABSH   1JJV281WX7L050907             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130500   2007   WABSH   1JJV281W17L050911             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130503   2007   WABSH   1JJV281W77L050914             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130504   2007   WABSH   1JJV281W97L050915             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130505   2007   WABSH   1JJV281W07L050916             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130506   2007   WABSH   1JJV281W27L050917             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130508   2007   WABSH   1JJV281W67L050919             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130509   2007   WABSH   1JJV281W27L050920             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130510   2007   WABSH   1JJV281W47L050921             NY         East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130512   2007   WABSH   1JJV281W87L050923             MI         Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130513   2007   WABSH   1JJV281WX7L050924             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130514   2007   WABSH   1JJV281W17L050925             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130515   2007   WABSH   1JJV281W37L050926             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130516   2007   WABSH   1JJV281W57L050927             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130517   2007   WABSH   1JJV281W77L050928             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130518   2007   WABSH   1JJV281W97L050929             CA         Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130520   2007   WABSH   1JJV281W77L050931             FL         Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130525   2007   WABSH   1JJV281W67L050936             IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130526   2007   WABSH   1JJV281W87L050937             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130528   2007   WABSH   1JJV281W17L050939             MN         Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130529   2007   WABSH   1JJV281W87L050940             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130530   2007   WABSH   1JJV281WX7L050941             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130535   2007   WABSH   1JJV281W97L050946             Ontario    Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130536   2007   WABSH   1JJV281W07L050947             CA         Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130537   2007   WABSH   1JJV281W27L050948             AZ         Flagstaff
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130538   2007   WABSH   1JJV281W47L050949             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130542   2007   WABSH   1JJV281W67L050953             GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130545   2007   WABSH   1JJV281W17L050956             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130546   2007   WABSH   1JJV281W37L050957             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130547   2007   WABSH   1JJV281W57L050958             TX         Austin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130548   2007   WABSH   1JJV281W77L050959             OH         Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130551   2007   WABSH   1JJV281W77L050962             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130552   2007   WABSH   1JJV281W97L050963             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130554   2007   WABSH   1JJV281W27L050965             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130556   2007   WABSH   1JJV281W67L050967             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130558   2007   WABSH   1JJV281WX7L050969             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130559   2007   WABSH   1JJV281W67L050970             OR         Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130560   2007   WABSH   1JJV281W87L050971             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130562   2007   WABSH   1JJV281W17L050973             TX         Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130564   2007   WABSH   1JJV281W57L050975             OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130565   2007   WABSH   1JJV281W77L050976             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130568   2007   WABSH   1JJV281W27L050979             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130571   2007   WABSH   1JJV281W27L050982             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130572   2007   WABSH   1JJV281W47L050983             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130573   2007   WABSH   1JJV281W67L050984             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130575   2007   WABSH   1JJV281WX7L050986             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130577   2007   WABSH   1JJV281W37L050988             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130580   2007   WABSH   1JJV281W37L050991             NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130581   2007   WABSH   1JJV281W57L050992             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130582   2007   WABSH   1JJV281W77L050993             CA         Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130583   2007   WABSH   1JJV281W97L050994             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130584   2007   WABSH   1JJV281W07L050995             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130585   2007   WABSH   1JJV281W27L050996             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130586   2007   WABSH   1JJV281W47L050997             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130587   2007   WABSH   1JJV281W67L050998             MS         Richland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 650 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130588   2007   WABSH   1JJV281W87L050999             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130589   2007   WABSH   1JJV281W97L051000             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130590   2007   WABSH   1JJV281W07L051001             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130591   2007   WABSH   1JJV281W27L051002             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130593   2007   WABSH   1JJV281W67L051004             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130597   2007   WABSH   1JJV281W37L051008             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130598   2007   WABSH   1JJV281W57L051009             NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130601   2007   WABSH   1JJV281W57L051012             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130602   2007   WABSH   1JJV281W77L051013             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130603   2007   WABSH   1JJV281W97L051014             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130605   2007   WABSH   1JJV281W27L051016             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130608   2008   WABSH   1JJV281WX8L108774             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130610   2008   WABSH   1JJV281W38L108776             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130611   2008   WABSH   1JJV281W58L108777             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130612   2008   WABSH   1JJV281W78L108778             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130613   2008   WABSH   1JJV281W98L108779             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130614   2008   WABSH   1JJV281W58L108780             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130615   2008   WABSH   1JJV281W78L108781             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130616   2008   WABSH   1JJV281W98L108782             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130617   2008   WABSH   1JJV281W08L108783             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130618   2008   WABSH   1JJV281W28L108784             MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130620   2008   WABSH   1JJV281W68L108786             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130621   2008   WABSH   1JJV281W88L108787             AZ      Flagstaff
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130622   2008   WABSH   1JJV281WX8L108788             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130624   2008   WABSH   1JJV281W88L108790             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130625   2008   WABSH   1JJV281WX8L108791             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130626   2008   WABSH   1JJV281W18L108792             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130627   2008   WABSH   1JJV281W38L108793             TX      Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130629   2008   WABSH   1JJV281W78L108795             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130630   2008   WABSH   1JJV281W98L108796             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130633   2008   WABSH   1JJV281W48L108799             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130634   2008   WABSH   1JJV281W78L108800             PQ      Sherbrooke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130635   2008   WABSH   1JJV281W98L108801             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130638   2008   WABSH   1JJV281W48L108804             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130640   2008   WABSH   1JJV281W88L108806             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130641   2008   WABSH   1JJV281WX8L108807             TA      Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130642   2008   WABSH   1JJV281W18L108808             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130644   2008   WABSH   1JJV281WX8L108810             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130646   2008   WABSH   1JJV281W38L108812             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130647   2008   WABSH   1JJV281W58L108813             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130649   2008   WABSH   1JJV281W98L108815             PA      Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130650   2008   WABSH   1JJV281W08L108816             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130654   2008   WABSH   1JJV281W28L108820             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130655   2008   WABSH   1JJV281W48L108821             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130656   2008   WABSH   1JJV281W68L108822             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130657   2008   WABSH   1JJV281W88L108823             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130660   2008   WABSH   1JJV281W38L108826             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130664   2008   WABSH   1JJV281W58L108830             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130667   2008   WABSH   1JJV281W08L108833             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130669   2008   WABSH   1JJV281W48L108835             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130670   2008   WABSH   1JJV281W68L108836             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130674   2008   WABSH   1JJV281W88L108840             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130675   2008   WABSH   1JJV281WX8L108841             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130681   2008   WABSH   1JJV281W08L108847             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130682   2008   WABSH   1JJV281W28L108848             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130683   2008   WABSH   1JJV281W48L108849             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130684   2008   WABSH   1JJV281W08L108850             PA      Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130687   2008   WABSH   1JJV281W68L108853             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130688   2008   WABSH   1JJV281W88L108854             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130690   2008   WABSH   1JJV281W18L108856             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130692   2008   WABSH   1JJV281W58L108858             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130693   2008   WABSH   1JJV281W78L108859             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130695   2008   WABSH   1JJV281W58L108861             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130698   2008   WABSH   1JJV281W08L108864             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130699   2008   WABSH   1JJV281W28L108865             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130701   2008   WABSH   1JJV281W68L108867             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130702   2008   WABSH   1JJV281W88L108868             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130703   2008   WABSH   1JJV281WX8L108869             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130705   2008   WABSH   1JJV281W88L108871             OR      Portland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 651 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130706   2008   WABSH   1JJV281WX8L108872             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130707   2008   WABSH   1JJV281W18L108873             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130708   2008   WABSH   1JJV281W38L108874             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130709   2008   WABSH   1JJV281W58L108875             OH      Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130710   2008   WABSH   1JJV281W78L108876             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130711   2008   WABSH   1JJV281W98L108877             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130712   2008   WABSH   1JJV281W08L108878             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130714   2008   WABSH   1JJV281W98L108880             OR      Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130715   2008   WABSH   1JJV281W08L108881             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130717   2008   WABSH   1JJV281W48L108883             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130718   2008   WABSH   1JJV281W68L108884             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130719   2008   WABSH   1JJV281W88L108885             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130720   2008   WABSH   1JJV281WX8L108886             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130722   2008   WABSH   1JJV281W38L108888             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130723   2008   WABSH   1JJV281W58L108889             TN      Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130725   2008   WABSH   1JJV281W38L108891             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130726   2008   WABSH   1JJV281W58L108892             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130727   2008   WABSH   1JJV281W78L108893             WV      Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130731   2008   WABSH   1JJV281W48L108897             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130732   2008   WABSH   1JJV281W68L108898             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130733   2008   WABSH   1JJV281W88L108899             OH      Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130734   2008   WABSH   1JJV281W08L108900             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130735   2008   WABSH   1JJV281W28L108901             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130737   2008   WABSH   1JJV281W68L108903             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130739   2008   WABSH   1JJV281WX8L108905             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130740   2008   WABSH   1JJV281W18L108906             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130741   2008   WABSH   1JJV281W38L108907             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130743   2008   WABSH   1JJV281W78L108909             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130744   2008   WABSH   1JJV281W38L108910             KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130745   2008   WABSH   1JJV281W58L108911             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130747   2008   WABSH   1JJV281W98L108913             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130748   2008   WABSH   1JJV281W08L108914             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130749   2008   WABSH   1JJV281W28L108915             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130750   2008   WABSH   1JJV281W48L108916             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130752   2008   WABSH   1JJV281W88L108918             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130754   2008   WABSH   1JJV281W68L108920             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130755   2008   WABSH   1JJV281W88L108921             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130757   2008   WABSH   1JJV281W18L108923             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130759   2008   WABSH   1JJV281W58L108925             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130760   2008   WABSH   1JJV281W78L108926             MA      Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130761   2008   WABSH   1JJV281W98L108927             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130762   2008   WABSH   1JJV281W08L108928             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130763   2008   WABSH   1JJV281W28L108929             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130764   2008   WABSH   1JJV281W98L108930             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130765   2008   WABSH   1JJV281W08L108931             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130767   2008   WABSH   1JJV281W48L108933             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130769   2008   WABSH   1JJV281W88L108935             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130770   2008   WABSH   1JJV281WX8L108936             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130772   2008   WABSH   1JJV281W38L108938             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130773   2008   WABSH   1JJV281W58L108939             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130774   2008   WABSH   1JJV281W18L108940             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130776   2008   WABSH   1JJV281W58L108942             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130777   2008   WABSH   1JJV281W78L108943             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130779   2008   WABSH   1JJV281W08L108945             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130780   2008   WABSH   1JJV281W28L108946             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130781   2008   WABSH   1JJV281W48L108947             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130783   2008   WABSH   1JJV281W88L108949             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130784   2008   WABSH   1JJV281W48L108950             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130785   2008   WABSH   1JJV281W68L108951             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130787   2008   WABSH   1JJV281WX8L108953             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130788   2008   WABSH   1JJV281W18L108954             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130789   2008   WABSH   1JJV281W38L108955             CA      Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130790   2008   WABSH   1JJV281W58L108956             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130791   2008   WABSH   1JJV281W78L108957             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130792   2008   WABSH   1JJV281W98L108958             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130793   2008   WABSH   1JJV281W08L108959             MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130794   2008   WABSH   1JJV281W78L108960             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130795   2008   WABSH   1JJV281W98L108961             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130796   2008   WABSH   1JJV281W08L108962             IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 652 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130797   2008   WABSH   1JJV281W28L108963             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130798   2008   WABSH   1JJV281W48L108964             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130799   2008   WABSH   1JJV281W68L108965             SC        North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130800   2008   WABSH   1JJV281W88L108966             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130801   2008   WABSH   1JJV281WX8L108967             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130802   2008   WABSH   1JJV281W18L108968             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130805   2008   WABSH   1JJV281W18L108971             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130807   2008   WABSH   1JJV281W58L108973             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130809   2008   WABSH   1JJV281W98L108975             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130811   2008   WABSH   1JJV281W28L108977             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130812   2008   WABSH   1JJV281W48L108978             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130814   2008   WABSH   1JJV281W28L108980             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130816   2008   WABSH   1JJV281W68L108982             RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130819   2008   WABSH   1JJV281W18L108985             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130820   2008   WABSH   1JJV281W38L108986             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130821   2008   WABSH   1JJV281W58L108987             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130822   2008   WABSH   1JJV281W78L108988             CA        Willows
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130824   2008   WABSH   1JJV281W58L108990             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130825   2008   WABSH   1JJV281W78L108991             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130827   2008   WABSH   1JJV281W08L108993             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130828   2008   WABSH   1JJV281W28L108994             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130830   2008   WABSH   1JJV281W68L108996             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130831   2008   WABSH   1JJV281W88L108997             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130833   2008   WABSH   1JJV281W18L108999             SC        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130834   2008   WABSH   1JJV281W28L109000             SC        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130835   2008   WABSH   1JJV281W48L109001             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130837   2008   WABSH   1JJV281W88L109003             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130839   2008   WABSH   1JJV281W18L109005             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130841   2008   WABSH   1JJV281W58L109007             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130845   2008   WABSH   1JJV281W78L109011             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130846   2008   WABSH   1JJV281W98L109012             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130847   2008   WABSH   1JJV281W08L109013             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130848   2008   WABSH   1JJV281W28L109014             NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130849   2008   WABSH   1JJV281W48L109015             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130851   2008   WABSH   1JJV281W88L109017             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130852   2008   WABSH   1JJV281WX8L109018             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130855   2008   WABSH   1JJV281WX8L109021             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130856   2008   WABSH   1JJV281W18L109022             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130858   2008   WABSH   1JJV281W58L109024             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130860   2008   WABSH   1JJV281W98L109026             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130861   2008   WABSH   1JJV281W08L109027             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130862   2008   WABSH   1JJV281W28L109028             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130863   2008   WABSH   1JJV281W48L109029             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130865   2008   WABSH   1JJV281W28L109031             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130868   2008   WABSH   1JJV281W88L109034             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130869   2008   WABSH   1JJV281WX8L109035             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130871   2008   WABSH   1JJV281W38L109037             PA        Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130873   2008   WABSH   1JJV281W78L109039             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130874   2008   WABSH   1JJV281W38L109040             NC        Fayetteville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130876   2008   WABSH   1JJV281W78L109042             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130877   2008   WABSH   1JJV281W98L109043             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130878   2008   WABSH   1JJV281W08L109044             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130879   2008   WABSH   1JJV281W28L109045             GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130881   2008   WABSH   1JJV281W68L109047             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130882   2008   WABSH   1JJV281W88L109048             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130883   2008   WABSH   1JJV281WX8L109049             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130884   2008   WABSH   1JJV281W68L109050             MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130885   2008   WABSH   1JJV281W88L109051             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130886   2008   WABSH   1JJV281WX8L109052             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130888   2008   WABSH   1JJV281W38L109054             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130890   2008   WABSH   1JJV281W78L109056             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130891   2008   WABSH   1JJV281W98L109057             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130892   2008   WABSH   1JJV281W08L109058             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130893   2008   WABSH   1JJV281W28L109059             VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130894   2008   WABSH   1JJV281W98L109060             MO        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130895   2008   WABSH   1JJV281W08L109061             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130897   2008   WABSH   1JJV281W48L109063             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130898   2008   WABSH   1JJV281W68L109064             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130899   2008   WABSH   1JJV281W88L109065             IL        Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 653 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130902   2008   WABSH   1JJV281W38L109068             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130904   2008   WABSH   1JJV281W18L109070             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130905   2008   WABSH   1JJV281W38L109071             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130907   2008   WABSH   1JJV281W78L109073             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130908   2008   WABSH   1JJV281W98L109074             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130909   2008   WABSH   1JJV281W08L109075             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130918   2008   WABSH   1JJV281W18L109084             MI      Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130919   2008   WABSH   1JJV281W38L109085             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130920   2008   WABSH   1JJV281W58L109086             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130922   2008   WABSH   1JJV281W98L109088             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130923   2008   WABSH   1JJV281W08L109089             LA      Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130924   2008   WABSH   1JJV281W78L109090             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130926   2008   WABSH   1JJV281W08L109092             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130927   2008   WABSH   1JJV281W28L109093             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130928   2008   WABSH   1JJV281W48L109094             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130929   2008   WABSH   1JJV281W68L109095             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130933   2008   WABSH   1JJV281W38L109099             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130934   2008   WABSH   1JJV281W68L109100             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130935   2008   WABSH   1JJV281W88L109101             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130937   2008   WABSH   1JJV281W18L109103             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130938   2008   WABSH   1JJV281W38L109104             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130939   2008   WABSH   1JJV281W58L109105             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130940   2008   WABSH   1JJV281W78L109106             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130941   2008   WABSH   1JJV281W98L109107             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130942   2008   WABSH   1JJV281W08L109108             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130943   2008   WABSH   1JJV281W28L109109             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130944   2008   WABSH   1JJV281W98L109110             CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130946   2008   WABSH   1JJV281W28L109112             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130947   2008   WABSH   1JJV281W48L109113             OR      Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130948   2008   WABSH   1JJV281W68L109114             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130949   2008   WABSH   1JJV281W88L109115             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130950   2008   WABSH   1JJV281WX8L109116             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130951   2008   WABSH   1JJV281W18L109117             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130954   2008   WABSH   1JJV281W18L109120             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130955   2008   WABSH   1JJV281W38L109121             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130956   2008   WABSH   1JJV281W58L109122             CA      Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130957   2008   WABSH   1JJV281W78L109123             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130958   2008   WABSH   1JJV281W98L109124             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130959   2008   WABSH   1JJV281W08L109125             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130960   2008   WABSH   1JJV281W28L109126             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130961   2008   WABSH   1JJV281W48L109127             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130962   2008   WABSH   1JJV281W68L109128             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130963   2008   WABSH   1JJV281W88L109129             CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130964   2008   WABSH   1JJV281W48L109130             IN      Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130965   2008   WABSH   1JJV281W68L109131             CA      Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130968   2008   WABSH   1JJV281W18L109134             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130969   2008   WABSH   1JJV281W38L109135             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130970   2008   WABSH   1JJV281W58L109136             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130971   2008   WABSH   1JJV281W78L109137             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130973   2008   WABSH   1JJV281W08L109139             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130974   2008   WABSH   1JJV281W78L109140             PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130975   2008   WABSH   1JJV281W98L109141             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130976   2008   WABSH   1JJV281W08L109142             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130977   2008   WABSH   1JJV281W28L109143             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130978   2008   WABSH   1JJV281W48L109144             IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130979   2008   WABSH   1JJV281W68L109145             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130980   2008   WABSH   1JJV281W88L109146             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130981   2008   WABSH   1JJV281WX8L109147             WY      Cheyenne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130982   2008   WABSH   1JJV281W18L109148             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130983   2008   WABSH   1JJV281W38L109149             CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130984   2008   WABSH   1JJV281WX8L109150             VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130985   2008   WABSH   1JJV281W18L109151             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130986   2008   WABSH   1JJV281W38L109152             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130987   2008   WABSH   1JJV281W58L109153             MA      West Springfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130988   2008   WABSH   1JJV281W78L109154             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130991   2008   WABSH   1JJV281W28L109157             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130993   2008   WABSH   1JJV281W68L109159             NY      Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130994   2008   WABSH   1JJV281W28L109160             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130995   2008   WABSH   1JJV281W48L109161             CO      Aurora
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 654 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130997   2008   WABSH   1JJV281W88L109163             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY130999   2008   WABSH   1JJV281W18L109165             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131001   2008   WABSH   1JJV281W58L109167             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131003   2008   WABSH   1JJV281W98L109169             WI        Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131004   2008   WABSH   1JJV281W58L109170             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131005   2008   WABSH   1JJV281W78L109171             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131006   2008   WABSH   1JJV281W98L109172             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131008   2008   WABSH   1JJV281W28L109174             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131009   2008   WABSH   1JJV281W48L109175             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131011   2008   WABSH   1JJV281W88L109177             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131013   2008   WABSH   1JJV281W18L109179             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131015   2008   WABSH   1JJV281WX8L109181             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131018   2008   WABSH   1JJV281W58L109184             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131019   2008   WABSH   1JJV281W78L109185             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131020   2008   WABSH   1JJV281W98L109186             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131022   2008   WABSH   1JJV281W28L109188             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131023   2008   WABSH   1JJV281W48L109189             GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131024   2008   WABSH   1JJV281W08L109190             MN        Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131025   2008   WABSH   1JJV281W28L109191             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131026   2008   WABSH   1JJV281W48L109192             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131027   2008   WABSH   1JJV281W68L109193             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131029   2008   WABSH   1JJV281WX8L109195             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131030   2008   WABSH   1JJV281W18L109196             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131032   2008   WABSH   1JJV281W58L109198             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131033   2008   WABSH   1JJV281W78L109199             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131035   2008   WABSH   1JJV281W18L109201             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131036   2008   WABSH   1JJV281W38L109202             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131038   2008   WABSH   1JJV281W78L109204             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131039   2008   WABSH   1JJV281W98L109205             LA        Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131040   2008   WABSH   1JJV281W08L109206             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131041   2008   WABSH   1JJV281W28L109207             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131042   2008   WABSH   1JJV281W48L109208             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131044   2008   WABSH   1JJV281W28L109210             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131045   2008   WABSH   1JJV281W48L109211             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131046   2008   WABSH   1JJV281W68L109212             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131048   2008   WABSH   1JJV281WX8L109214             ID        Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131049   2008   WABSH   1JJV281W18L109215             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131050   2008   WABSH   1JJV281W38L109216             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131051   2008   WABSH   1JJV281W58L109217             IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131052   2008   WABSH   1JJV281W78L109218             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131055   2008   WABSH   1JJV281W78L109221             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131057   2008   WABSH   1JJV281W08L109223             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131058   2008   WABSH   1JJV281W28L109224             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131060   2008   WABSH   1JJV281W68L109226             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131061   2008   WABSH   1JJV281W88L109227             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131062   2008   WABSH   1JJV281WX8L109228             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131063   2008   WABSH   1JJV281W18L109229             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131064   2008   WABSH   1JJV281W88L109230             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131066   2008   WABSH   1JJV281W18L109232             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131067   2008   WABSH   1JJV281W38L109233             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131068   2008   WABSH   1JJV281W58L109234             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131069   2008   WABSH   1JJV281W78L109235             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131071   2008   WABSH   1JJV281W08L109237             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131072   2008   WABSH   1JJV281W28L109238             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131073   2008   WABSH   1JJV281W48L109239             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131074   2008   WABSH   1JJV281W08L109240             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131077   2008   WABSH   1JJV281W68L109243             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131079   2008   WABSH   1JJV281WX8L109245             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131080   2008   WABSH   1JJV281W18L109246             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131081   2008   WABSH   1JJV281W38L109247             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131083   2008   WABSH   1JJV281W78L109249             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131087   2008   WABSH   1JJV281W98L109253             CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131089   2008   WABSH   1JJV281W28L109255             GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131090   2008   WABSH   1JJV281W48L109256             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131091   2008   WABSH   1JJV281W68L109257             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131093   2008   WABSH   1JJV281WX8L109259             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131095   2008   WABSH   1JJV281W88L109261             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131096   2008   WABSH   1JJV281WX8L109262             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131097   2008   WABSH   1JJV281W18L109263             TX        Corpus Christi
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 655 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131099   2008   WABSH   1JJV281W58L109265             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131100   2008   WABSH   1JJV281W78L109266             OR               Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131102   2008   WABSH   1JJV281W08L109268             AR               Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131103   2008   WABSH   1JJV281W28L109269             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131104   2008   WABSH   1JJV281W98L109270             NJ               Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131108   2008   WABSH   1JJV281W68L109274             WI               Portage
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131109   2008   WABSH   1JJV281W88L109275             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131110   2008   WABSH   1JJV281WX8L109276             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131111   2008   WABSH   1JJV281W18L109277             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131115   2008   WABSH   1JJV281W38L109281             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131116   2008   WABSH   1JJV281W58L109282             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131117   2008   WABSH   1JJV281W78L109283             IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131118   2008   WABSH   1JJV281W98L109284             FL               Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131119   2008   WABSH   1JJV281W08L109285             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131120   2008   WABSH   1JJV281W28L109286             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131121   2008   WABSH   1JJV281W48L109287             NY               Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131122   2008   WABSH   1JJV281W68L109288             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131124   2008   WABSH   1JJV281W48L109290             TX               Austin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131125   2008   WABSH   1JJV281W68L109291             VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131126   2008   WABSH   1JJV281W88L109292             IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131127   2008   WABSH   1JJV281WX8L109293             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131128   2008   WABSH   1JJV281W18L109294             DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131129   2008   WABSH   1JJV281W38L109295             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131130   2008   WABSH   1JJV281W58L109296             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131132   2008   WABSH   1JJV281W98L109298             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131133   2008   WABSH   1JJV281W08L109299             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131134   2008   WABSH   1JJV281W38L109300             OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131135   2008   WABSH   1JJV281W58L109301             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131140   2008   WABSH   1JJV281W48L109306             MA               Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131141   2008   WABSH   1JJV281W68L109307             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131144   2008   WABSH   1JJV281W68L109310             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131145   2008   WABSH   1JJV281W88L109311             FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131146   2008   WABSH   1JJV281WX8L109312             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131149   2008   WABSH   1JJV281W58L109315             ID               Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131150   2008   WABSH   1JJV281W78L109316             MD               Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131151   2008   WABSH   1JJV281W98L109317             VA               Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131153   2008   WABSH   1JJV281W28L109319             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131154   2008   WABSH   1JJV281W98L109320             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131158   2008   WABSH   1JJV281W68L109324             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131159   2008   WABSH   1JJV281W88L109325             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131160   2008   WABSH   1JJV281WX8L109326             AR               Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131161   2008   WABSH   1JJV281W18L109327             RI               Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131163   2008   WABSH   1JJV281W58L109329             IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131164   2008   WABSH   1JJV281W18L109330             IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131167   2008   WABSH   1JJV281W78L109333             PA               Dunmore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131168   2008   WABSH   1JJV281W98L109334             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131169   2008   WABSH   1JJV281W08L109335             OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131170   2008   WABSH   1JJV281W28L109336             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131171   2008   WABSH   1JJV281W48L109337             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131172   2008   WABSH   1JJV281W68L109338             AR               Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131173   2008   WABSH   1JJV281W88L109339             IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131174   2008   WABSH   1JJV281W48L109340             IN               Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131175   2008   WABSH   1JJV281W68L109341             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131177   2008   WABSH   1JJV281WX8L109343             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131178   2008   WABSH   1JJV281W18L109344             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131181   2008   WABSH   1JJV281W78L109347             IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131182   2008   WABSH   1JJV281W98L109348             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131183   2008   WABSH   1JJV281W08L109349             FL               Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131184   2008   WABSH   1JJV281W78L109350             IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131187   2008   WABSH   1JJV281W28L109353             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131189   2008   WABSH   1JJV281W68L109355             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131190   2008   WABSH   1JJV281W88L109356             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131191   2008   WABSH   1JJV281WX8L109357             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131192   2008   WABSH   1JJV281W18L109358             PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131194   2008   WABSH   1JJV281WX8L109360             KS               Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131195   2008   WABSH   1JJV281WX8L109374             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131196   2008   WABSH   1JJV281W18L109375             MA               Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131198   2008   WABSH   1JJV281W58L109377             TX               Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131200   2008   WABSH   1JJV281W98L109379             TN               Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 656 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131201   2008   WABSH   1JJV281W58L109380             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131202   2008   WABSH   1JJV281W78L109381             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131203   2008   WABSH   1JJV281W98L109382             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131204   2008   WABSH   1JJV281W08L109383             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131206   2008   WABSH   1JJV281W48L109385             NJ               Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131208   2008   WABSH   1JJV281W88L109387             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131210   2008   WABSH   1JJV281W18L109389             KS               Garden City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131211   2008   WABSH   1JJV281W88L109390             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131213   2008   WABSH   1JJV281W18L109392             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131214   2008   WABSH   1JJV281W38L109393             MS               Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131215   2008   WABSH   1JJV281W58L109394             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131216   2008   WABSH   1JJV281W78L109395             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131217   2008   WABSH   1JJV281W98L109396             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131218   2008   WABSH   1JJV281W08L109397             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131221   2008   WABSH   1JJV281W78L109400             IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131222   2008   WABSH   1JJV281W98L109401             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131225   2008   WABSH   1JJV281W48L109404             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131227   2008   WABSH   1JJV281W88L109406             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131230   2008   WABSH   1JJV281W38L109409             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131231   2008   WABSH   1JJV281WX8L109410             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131233   2008   WABSH   1JJV281W38L109412             DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131235   2008   WABSH   1JJV281W78L109414             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131236   2008   WABSH   1JJV281W98L109415             GA               Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131237   2008   WABSH   1JJV281W08L109416             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131240   2008   WABSH   1JJV281W68L109419             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131242   2008   WABSH   1JJV281W48L109421             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131243   2008   WABSH   1JJV281W68L109422             OH               Gallipolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131244   2008   WABSH   1JJV281W88L109423             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131248   2008   WABSH   1JJV281W58L109427             GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131249   2008   WABSH   1JJV281W78L109428             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131250   2008   WABSH   1JJV281W98L109429             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131252   2008   WABSH   1JJV281W78L109431             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131253   2008   WABSH   1JJV281W98L109432             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131254   2008   WABSH   1JJV281W08L109433             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131255   2008   WABSH   1JJV281W28L109434             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131258   2008   WABSH   1JJV281W88L109437             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131259   2008   WABSH   1JJV281WX8L109438             IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131260   2008   WABSH   1JJV281W18L109439             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131261   2008   WABSH   1JJV281W88L109440             NJ               Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131262   2008   WABSH   1JJV281WX8L109441             TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131263   2008   WABSH   1JJV281W18L109442             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131264   2008   WABSH   1JJV281W38L109443             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131265   2008   WABSH   1JJV281W58L109444             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131266   2008   WABSH   1JJV281W78L109445             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131268   2008   WABSH   1JJV281W08L109447             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131270   2008   WABSH   1JJV281W48L109449             PA               Erie
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131273   2008   WABSH   1JJV281W48L109452             Manitoba         Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131274   2008   WABSH   1JJV281W68L109453             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131275   2008   WABSH   1JJV281W88L109454             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131276   2008   WABSH   1JJV281WX8L109455             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131277   2008   WABSH   1JJV281W18L109456             IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131278   2008   WABSH   1JJV281W38L109457             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131279   2008   WABSH   1JJV281W58L109458             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131281   2008   WABSH   1JJV281W38L109460             GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131282   2008   WABSH   1JJV281W58L109461             TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131285   2008   WABSH   1JJV281W08L109464             CA               Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131287   2008   WABSH   1JJV281W48L109466             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131288   2008   WABSH   1JJV281W68L109467             PA               Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131289   2008   WABSH   1JJV281W88L109468             VA               Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131290   2008   WABSH   1JJV281WX8L109469             NM               Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131292   2008   WABSH   1JJV281W88L109471             MN               Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131293   2008   WABSH   1JJV281WX8L109472             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131295   2008   WABSH   1JJV281W38L109474             IA               Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131297   2008   WABSH   1JJV281W78L109476             CA               San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131299   2008   WABSH   1JJV281W08L109478             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131301   2008   WABSH   1JJV281W98L109480             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131304   2008   WABSH   1JJV281W48L109483             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131305   2008   WABSH   1JJV281W68L109484             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131306   2008   WABSH   1JJV281W88L109485             NY               Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 657 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131307   2008   WABSH   1JJV281WX8L109486             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131308   2008   WABSH   1JJV281W18L109487             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131310   2008   WABSH   1JJV281W58L109489             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131314   2008   WABSH   1JJV281W78L109493             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131315   2008   WABSH   1JJV281W98L109494             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131316   2008   WABSH   1JJV281W08L109495             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131317   2008   WABSH   1JJV281W28L109496             NY      Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131318   2008   WABSH   1JJV281W48L109497             GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131319   2008   WABSH   1JJV281W68L109498             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131320   2008   WABSH   1JJV281W88L109499             AR      Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131321   2008   WABSH   1JJV281W08L109500             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131322   2008   WABSH   1JJV281W28L109501             NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131323   2008   WABSH   1JJV281W48L109502             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131324   2008   WABSH   1JJV281W68L109503             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131326   2008   WABSH   1JJV281WX8L109505             CA      San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131327   2008   WABSH   1JJV281W18L109506             CA      Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131328   2008   WABSH   1JJV281W38L109507             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131329   2008   WABSH   1JJV281W58L109508             TX      Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131331   2008   WABSH   1JJV281W38L109510             GA      La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131332   2008   WABSH   1JJV281W58L109511             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131334   2008   WABSH   1JJV281W98L109513             TX      Austin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131335   2008   WABSH   1JJV281W08L109514             GA      Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131336   2008   WABSH   1JJV281W28L109515             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131337   2008   WABSH   1JJV281W48L109516             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131341   2008   WABSH   1JJV281W68L109520             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131342   2008   WABSH   1JJV281W88L109521             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131344   2008   WABSH   1JJV281W18L109523             GA      La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131345   2008   WABSH   1JJV281W38L109524             PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131346   2008   WABSH   1JJV281W58L109525             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131347   2008   WABSH   1JJV281W78L109526             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131348   2008   WABSH   1JJV281W98L109527             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131349   2008   WABSH   1JJV281W08L109528             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131350   2008   WABSH   1JJV281W28L109529             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131351   2008   WABSH   1JJV281W98L109530             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131353   2008   WABSH   1JJV281W28L109532             CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131354   2008   WABSH   1JJV281W48L109533             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131357   2008   WABSH   1JJV281WX8L109536             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131358   2008   WABSH   1JJV281W18L109537             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131359   2008   WABSH   1JJV281W38L109538             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131361   2008   WABSH   1JJV281W18L109540             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131362   2008   WABSH   1JJV281W38L109541             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131363   2008   WABSH   1JJV281W58L109542             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131364   2008   WABSH   1JJV281W78L109543             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131365   2008   WABSH   1JJV281W98L109544             MI      Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131366   2008   WABSH   1JJV281W08L109545             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131367   2008   WABSH   1JJV281W28L109546             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131370   2008   WABSH   1JJV281W88L109549             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131371   2008   WABSH   1JJV281W48L109550             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131372   2008   WABSH   1JJV281W68L109551             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131373   2008   WABSH   1JJV281W88L109552             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131374   2008   WABSH   1JJV281WX8L109553             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131376   2008   WABSH   1JJV281W38L109555             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131377   2008   WABSH   1JJV281W58L109556             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131379   2008   WABSH   1JJV281W98L109558             MD      Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131380   2008   WABSH   1JJV281W08L109559             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131381   2008   WABSH   1JJV281W78L109560             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131383   2008   WABSH   1JJV281W08L109562             NY      Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131384   2008   WABSH   1JJV281W28L109563             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131385   2008   WABSH   1JJV281W48L109564             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131388   2008   WABSH   1JJV281WX8L109567             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131389   2008   WABSH   1JJV281W18L109568             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131390   2008   WABSH   1JJV281W38L109569             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131391   2008   WABSH   1JJV281WX8L109570             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131392   2008   WABSH   1JJV281W18L109571             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131393   2008   WABSH   1JJV281W38L109572             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131395   2008   WABSH   1JJV281W78L109574             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131396   2008   WABSH   1JJV281W98L109575             OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131397   2008   WABSH   1JJV281W08L109576             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131398   2008   WABSH   1JJV281W28L109577             PA      Bethlehem
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 658 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131399   2008   WABSH   1JJV281W48L109578             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131400   2008   WABSH   1JJV281W68L109579             TN         Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131401   2008   WABSH   1JJV281W28L109580             NJ         Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131402   2008   WABSH   1JJV281W48L109581             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131403   2008   WABSH   1JJV281W68L109582             CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131404   2008   WABSH   1JJV281W88L109583             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131405   2008   WABSH   1JJV281WX8L109584             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131406   2008   WABSH   1JJV281W18L109585             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131408   2008   WABSH   1JJV281W58L109587             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131409   2008   WABSH   1JJV281W78L109588             KY         Waddy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131412   2008   WABSH   1JJV281W78L109591             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131413   2008   WABSH   1JJV281W98L109592             WA         Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131415   2008   WABSH   1JJV281W28L109594             FL         Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131417   2008   WABSH   1JJV281W68L109596             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131418   2008   WABSH   1JJV281W88L109597             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131419   2008   WABSH   1JJV281WX8L109598             OH         Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131421   2008   WABSH   1JJV281W48L109600             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131422   2008   WABSH   1JJV281W68L109601             LA         Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131423   2008   WABSH   1JJV281W88L109602             NV         Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131424   2008   WABSH   1JJV281WX8L109603             AL         Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131425   2008   WABSH   1JJV281W18L109604             PA         Shippensburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131426   2008   WABSH   1JJV281W38L109605             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131427   2008   WABSH   1JJV281W58L109606             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131428   2008   WABSH   1JJV281W78L109607             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131429   2008   WABSH   1JJV281W98L109608             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131431   2008   WABSH   1JJV281W78L109610             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131433   2008   WABSH   1JJV281W08L109612             NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131434   2008   WABSH   1JJV281W28L109613             CA         Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131435   2008   WABSH   1JJV281W48L109614             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131436   2008   WABSH   1JJV281W68L109615             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131437   2008   WABSH   1JJV281W88L109616             ME         Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131438   2008   WABSH   1JJV281WX8L109617             VT         Bellows Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131439   2008   WABSH   1JJV281W18L109618             NJ         Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131441   2008   WABSH   1JJV281WX8L109620             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131442   2008   WABSH   1JJV281W18L109621             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131445   2008   WABSH   1JJV281W78L109624             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131448   2008   WABSH   1JJV281W28L109627             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131449   2008   WABSH   1JJV281W48L109628             TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131452   2008   WABSH   1JJV281W48L109631             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131453   2008   WABSH   1JJV281W68L109632             VA         Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131454   2008   WABSH   1JJV281W88L109633             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131455   2008   WABSH   1JJV281WX8L109634             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131456   2008   WABSH   1JJV281W18L109635             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131458   2008   WABSH   1JJV281W58L109637             CA         Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131461   2008   WABSH   1JJV281W58L109640             VA         Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131463   2008   WABSH   1JJV281W98L109642             CA         San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131464   2008   WABSH   1JJV281W08L109643             OH         Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131465   2008   WABSH   1JJV281W28L109644             WV         Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131466   2008   WABSH   1JJV281W48L109645             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131467   2008   WABSH   1JJV281W68L109646             NY         Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131469   2008   WABSH   1JJV281WX8L109648             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131473   2008   WABSH   1JJV281W18L109652             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131475   2008   WABSH   1JJV281W58L109654             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131476   2008   WABSH   1JJV281W78L109655             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131477   2008   WABSH   1JJV281W98L109656             IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131478   2008   WABSH   1JJV281W08L109657             WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131480   2008   WABSH   1JJV281W48L109659             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131482   2008   WABSH   1JJV281W28L109661             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131483   2008   WABSH   1JJV281W48L109662             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131484   2008   WABSH   1JJV281W68L109663             IL         Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131487   2008   WABSH   1JJV281W18L109666             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131491   2008   WABSH   1JJV281W38L109670             FL         Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131493   2008   WABSH   1JJV281W78L109672             WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131494   2008   WABSH   1JJV281W98L109673             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131495   2008   WABSH   1JJV281W08L109674             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131496   2008   WABSH   1JJV281W28L109675             IL         Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131497   2008   WABSH   1JJV281W48L109676             Ontario    Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131498   2008   WABSH   1JJV281W68L109677             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131499   2008   WABSH   1JJV281W88L109678             CA         Tracy
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 659 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131500   2008   WABSH   1JJV281WX8L109679             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131501   2008   WABSH   1JJV281W68L109680             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131502   2008   WABSH   1JJV281W88L109681             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131503   2008   WABSH   1JJV281WX8L109682             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131504   2008   WABSH   1JJV281W18L109683             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131505   2008   WABSH   1JJV281W38L109684             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131506   2008   WABSH   1JJV281W58L109685             CA      Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131507   2008   WABSH   1JJV281W78L109686             CA      Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131508   2008   WABSH   1JJV281W98L109687             NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131509   2008   WABSH   1JJV281W08L109688             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131510   2008   WABSH   1JJV281W28L109689             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131514   2008   WABSH   1JJV281W48L109693             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131515   2008   WABSH   1JJV281W68L109694             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131516   2008   WABSH   1JJV281W88L109695             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131518   2008   WABSH   1JJV281W18L109697             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131519   2008   WABSH   1JJV281W38L109698             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131520   2008   WABSH   1JJV281W58L109699             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131521   2008   WABSH   1JJV281W88L109700             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131522   2008   WABSH   1JJV281WX8L109701             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131523   2008   WABSH   1JJV281W18L109702             ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131524   2008   WABSH   1JJV281W38L109703             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131525   2008   WABSH   1JJV281W58L109704             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131526   2008   WABSH   1JJV281W78L109705             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131529   2008   WABSH   1JJV281W28L109708             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131530   2008   WABSH   1JJV281W48L109709             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131535   2008   WABSH   1JJV281W88L109714             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131536   2008   WABSH   1JJV281WX8L109715             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131538   2008   WABSH   1JJV281W38L109717             CO      Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131541   2008   WABSH   1JJV281W38L109720             SC      West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131542   2008   WABSH   1JJV281W58L109721             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131544   2008   WABSH   1JJV281W98L109723             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131545   2008   WABSH   1JJV281W08L109724             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131546   2008   WABSH   1JJV281W28L109725             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131548   2008   WABSH   1JJV281W68L109727             MD      Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131550   2008   WABSH   1JJV281WX8L109729             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131551   2008   WABSH   1JJV281W68L109730             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131553   2008   WABSH   1JJV281WX8L109732             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131554   2008   WABSH   1JJV281W18L109733             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131555   2008   WABSH   1JJV281W38L109734             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131556   2008   WABSH   1JJV281W58L109735             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131557   2008   WABSH   1JJV281W78L109736             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131558   2008   WABSH   1JJV281W98L109737             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131560   2008   WABSH   1JJV281W28L109739             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131564   2008   WABSH   1JJV281W48L109743             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131565   2008   WABSH   1JJV281W68L109744             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131566   2008   WABSH   1JJV281W88L109745             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131567   2008   WABSH   1JJV281WX8L109746             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131568   2008   WABSH   1JJV281W18L109747             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131569   2008   WABSH   1JJV281W38L109748             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131570   2008   WABSH   1JJV281W58L109749             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131571   2008   WABSH   1JJV281W18L109750             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131572   2008   WABSH   1JJV281W38L109751             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131574   2008   WABSH   1JJV281W78L109753             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131576   2008   WABSH   1JJV281W08L109755             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131577   2008   WABSH   1JJV281W28L109756             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131578   2008   WABSH   1JJV281W48L109757             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131579   2008   WABSH   1JJV281W68L109758             FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131580   2008   WABSH   1JJV281W88L109759             OR      Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131581   2008   WABSH   1JJV281W48L109760             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131582   2008   WABSH   1JJV281W68L109761             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131583   2008   WABSH   1JJV281W88L109762             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131584   2008   WABSH   1JJV281WX8L109763             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131586   2008   WABSH   1JJV281W38L109765             CA      Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131587   2008   WABSH   1JJV281W58L109766             WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131588   2008   WABSH   1JJV281W78L109767             UT      Beaver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131589   2008   WABSH   1JJV281W98L109768             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131590   2008   WABSH   1JJV281W08L109769             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131591   2008   WABSH   1JJV281W78L109770             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131592   2008   WABSH   1JJV281W98L109771             IL      Hodgkins
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 660 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131595   2008   WABSH   1JJV281W48L109774             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131597   2008   WABSH   1JJV281W88L109776             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131598   2008   WABSH   1JJV281WX8L109777             GA         Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131599   2008   WABSH   1JJV281W18L109778             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131600   2008   WABSH   1JJV281W38L109779             WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131601   2008   WABSH   1JJV281WX8L109780             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131602   2008   WABSH   1JJV281W18L109781             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131604   2008   WABSH   1JJV281W58L109783             NY         Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131606   2008   WABSH   1JJV281W98L109785             MI         Gaylord
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131607   2008   WABSH   1JJV281W08L109786             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131609   2008   WABSH   1JJV281W48L109788             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131610   2008   WABSH   1JJV281W68L109789             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131611   2008   WABSH   1JJV281W28L109790             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131612   2008   WABSH   1JJV281W48L109791             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131613   2008   WABSH   1JJV281W68L109792             MI         Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131614   2008   WABSH   1JJV281W88L109793             IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131615   2008   WABSH   1JJV281WX8L109794             MD         Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131616   2008   WABSH   1JJV281W18L109795             WA         Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131618   2008   WABSH   1JJV281W58L109797             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131619   2008   WABSH   1JJV281W78L109798             IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131620   2008   WABSH   1JJV281W98L109799             CA         San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131621   2008   WABSH   1JJV281W18L109800             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131623   2008   WABSH   1JJV281W58L109802             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131624   2008   WABSH   1JJV281W78L109803             FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131628   2008   WABSH   1JJV281W48L109807             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131629   2008   WABSH   1JJV281W68L109808             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131630   2008   WABSH   1JJV281W88L109809             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131632   2008   WABSH   1JJV281W68L109811             Ontario    Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131633   2008   WABSH   1JJV281W88L109812             SD         Rapid City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131634   2008   WABSH   1JJV281WX8L109813             SC         North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131635   2008   WABSH   1JJV281W18L109814             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131636   2008   WABSH   1JJV281W38L109815             NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131638   2008   WABSH   1JJV281W78L109817             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131639   2008   WABSH   1JJV281W98L109818             WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131641   2008   WABSH   1JJV281W78L109820             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131642   2008   WABSH   1JJV281W98L109821             NY         Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131643   2008   WABSH   1JJV281W08L109822             IA         Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131644   2008   WABSH   1JJV281W28L109823             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131645   2008   WABSH   1JJV281W48L109824             NY         Plattsburgh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131646   2008   WABSH   1JJV281W68L109825             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131647   2008   WABSH   1JJV281W88L109826             CA         Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131650   2008   WABSH   1JJV281W38L109829             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131651   2008   WABSH   1JJV281WX8L109830             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131652   2008   WABSH   1JJV281W18L109831             NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131653   2008   WABSH   1JJV281W38L109832             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131654   2008   WABSH   1JJV281W58L109833             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131655   2008   WABSH   1JJV281W78L109834             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131656   2008   WABSH   1JJV281W98L109835             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131658   2008   WABSH   1JJV281W28L109837             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131659   2008   WABSH   1JJV281W48L109838             MI         Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131660   2008   WABSH   1JJV281W68L109839             WV         Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131661   2008   WABSH   1JJV281W28L109840             FL         Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131662   2008   WABSH   1JJV281W48L109841             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131663   2008   WABSH   1JJV281W68L109842             TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131664   2008   WABSH   1JJV281W88L109843             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131665   2008   WABSH   1JJV281WX8L109844             OK         Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131666   2008   WABSH   1JJV281W18L109845             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131667   2008   WABSH   1JJV281W38L109846             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131669   2008   WABSH   1JJV281W78L109848             IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131670   2008   WABSH   1JJV281W98L109849             VA         Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131672   2008   WABSH   1JJV281W78L109851             NV         Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131673   2008   WABSH   1JJV281W98L109852             NY         East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131675   2008   WABSH   1JJV281W28L109854             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131676   2008   WABSH   1JJV281W48L109855             IN         Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131679   2008   WABSH   1JJV281WX8L109858             ME         Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131680   2008   WABSH   1JJV281W18L109859             FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131681   2008   WABSH   1JJV281W88L109860             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131682   2008   WABSH   1JJV281WX8L109861             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131683   2008   WABSH   1JJV281W18L109862             TX         Houston
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 661 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131685   2008   WABSH   1JJV281W58L109864             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131686   2008   WABSH   1JJV281W78L109865             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131687   2008   WABSH   1JJV281W98L109866             CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131688   2008   WABSH   1JJV281W08L109867             Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131689   2008   WABSH   1JJV281W28L109868             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131690   2008   WABSH   1JJV281W48L109869             CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131691   2008   WABSH   1JJV281W08L109870             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131692   2008   WABSH   1JJV281W28L109871             MI        Norway
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131693   2008   WABSH   1JJV281W48L109872             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131696   2008   WABSH   1JJV281WX8L109875             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131697   2008   WABSH   1JJV281W18L109876             MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131698   2008   WABSH   1JJV281W38L109877             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131699   2008   WABSH   1JJV281W58L109878             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131700   2008   WABSH   1JJV281W78L109879             ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131701   2008   WABSH   1JJV281W38L109880             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131703   2008   WABSH   1JJV281W78L109882             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131704   2008   WABSH   1JJV281W98L109883             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131705   2008   WABSH   1JJV281W08L109884             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131706   2008   WABSH   1JJV281W28L109885             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131707   2008   WABSH   1JJV281W48L109886             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131708   2008   WABSH   1JJV281W68L109887             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131709   2008   WABSH   1JJV281W88L109888             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131711   2008   WABSH   1JJV281W68L109890             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131712   2008   WABSH   1JJV281W88L109891             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131713   2008   WABSH   1JJV281WX8L109892             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131715   2008   WABSH   1JJV281W38L109894             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131716   2008   WABSH   1JJV281W58L109895             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131717   2008   WABSH   1JJV281W78L109896             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131718   2008   WABSH   1JJV281W98L109897             CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131719   2008   WABSH   1JJV281W08L109898             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131721   2008   WABSH   1JJV281W58L109900             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131722   2008   WABSH   1JJV281W78L109901             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131723   2008   WABSH   1JJV281W98L109902             MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131724   2008   WABSH   1JJV281W08L109903             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131725   2008   WABSH   1JJV281W28L109904             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131726   2008   WABSH   1JJV281W48L109905             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131727   2008   WABSH   1JJV281W68L109906             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131728   2008   WABSH   1JJV281W88L109907             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131729   2008   WABSH   1JJV281WX8L109908             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131730   2008   WABSH   1JJV281W18L109909             VA        Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131732   2008   WABSH   1JJV281WX8L109911             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131733   2008   WABSH   1JJV281W18L109912             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131735   2008   WABSH   1JJV281W58L109914             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131738   2008   WABSH   1JJV281W08L109917             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131741   2008   WABSH   1JJV281W08L109920             ME        Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131742   2008   WABSH   1JJV281W28L109921             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131743   2008   WABSH   1JJV281W48L109922             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131744   2008   WABSH   1JJV281W68L109923             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131745   2008   WABSH   1JJV281W88L109924             TN        Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131746   2008   WABSH   1JJV281WX8L109925             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131749   2008   WABSH   1JJV281W58L109928             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131750   2008   WABSH   1JJV281W78L109929             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131752   2008   WABSH   1JJV281W58L109931             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131753   2008   WABSH   1JJV281W78L109932             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131755   2008   WABSH   1JJV281W08L109934             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131756   2008   WABSH   1JJV281W28L109935             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131761   2008   WABSH   1JJV281W68L109940             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131762   2008   WABSH   1JJV281W88L109941             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131765   2008   WABSH   1JJV281W38L109944             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131767   2009   WABSH   1JJV281W39L285832             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131768   2009   WABSH   1JJV281W59L285833             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131769   2009   WABSH   1JJV281W79L285834             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131770   2009   WABSH   1JJV281W99L285835             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131772   2009   WABSH   1JJV281W29L285837             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131774   2009   WABSH   1JJV281W69L285839             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131775   2009   WABSH   1JJV281W29L285840             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131777   2009   WABSH   1JJV281W69L285842             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131778   2009   WABSH   1JJV281W89L285843             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131779   2009   WABSH   1JJV281WX9L285844             IL        Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 662 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131780   2009   WABSH   1JJV281W19L285845             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131781   2009   WABSH   1JJV281W39L285846             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131782   2009   WABSH   1JJV281W59L285847             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131783   2009   WABSH   1JJV281W79L285848             WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131784   2009   WABSH   1JJV281W99L285849             CA      Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131785   2009   WABSH   1JJV281W59L285850             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131786   2009   WABSH   1JJV281W79L285851             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131787   2009   WABSH   1JJV281W99L285852             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131788   2009   WABSH   1JJV281W09L285853             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131790   2009   WABSH   1JJV281W49L285855             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131791   2009   WABSH   1JJV281W69L285856             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131792   2009   WABSH   1JJV281W89L285857             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131793   2009   WABSH   1JJV281WX9L285858             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131794   2009   WABSH   1JJV281W19L285859             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131795   2009   WABSH   1JJV281W89L285860             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131796   2009   WABSH   1JJV281WX9L285861             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131798   2009   WABSH   1JJV281W39L285863             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131801   2009   WABSH   1JJV281W99L285866             TX      Austin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131804   2009   WABSH   1JJV281W49L285869             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131805   2009   WABSH   1JJV281W09L285870             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131806   2009   WABSH   1JJV281W29L285871             CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131807   2009   WABSH   1JJV281W49L285872             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131808   2009   WABSH   1JJV281W69L285873             NV      Elko
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131809   2009   WABSH   1JJV281W89L285874             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131811   2009   WABSH   1JJV281W19L285876             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131812   2009   WABSH   1JJV281W39L285877             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131813   2009   WABSH   1JJV281W59L285878             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131815   2009   WABSH   1JJV281W39L285880             WA      Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131817   2009   WABSH   1JJV281W79L285882             IL      Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131819   2009   WABSH   1JJV281W09L285884             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131820   2009   WABSH   1JJV281W29L285885             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131822   2009   WABSH   1JJV281W69L285887             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131823   2009   WABSH   1JJV281W89L285888             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131824   2009   WABSH   1JJV281WX9L285889             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131825   2009   WABSH   1JJV281W69L285890             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131826   2009   WABSH   1JJV281W89L285891             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131829   2009   WABSH   1JJV281W39L285894             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131830   2009   WABSH   1JJV281W59L285895             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131831   2009   WABSH   1JJV281W79L285896             WI      Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131833   2009   WABSH   1JJV281W09L285898             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131835   2009   WABSH   1JJV281W59L285900             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131836   2009   WABSH   1JJV281W79L285901             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131837   2009   WABSH   1JJV281W99L285902             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131838   2009   WABSH   1JJV281W09L285903             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131839   2009   WABSH   1JJV281W29L285904             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131840   2009   WABSH   1JJV281W49L285905             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131841   2009   WABSH   1JJV281W69L285906             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131842   2009   WABSH   1JJV281W89L285907             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131843   2009   WABSH   1JJV281WX9L285908             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131844   2009   WABSH   1JJV281W19L285909             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131845   2009   WABSH   1JJV281W89L285910             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131846   2009   WABSH   1JJV281WX9L285911             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131847   2014   STGHT   1DW1A2810EB436301             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131848   2014   STGHT   1DW1A2811EB457500             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131849   2014   STGHT   1DW1A2813EB457501             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131850   2014   STGHT   1DW1A2815EB457502             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131851   2014   STGHT   1DW1A2817EB457503             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131852   2014   STGHT   1DW1A2819EB457504             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131853   2014   STGHT   1DW1A2810EB457505             MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131854   2014   STGHT   1DW1A2812EB457506             MA      Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131855   2014   STGHT   1DW1A2814EB457507             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131856   2014   STGHT   1DW1A2816EB457508             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131857   2014   STGHT   1DW1A2818EB457509             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131858   2014   STGHT   1DW1A2814EB457510             VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131859   2014   STGHT   1DW1A2816EB457511             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131860   2014   STGHT   1DW1A2818EB457512             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131861   2014   STGHT   1DW1A281XEB457513             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131862   2014   STGHT   1DW1A2811EB457514             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131863   2014   STGHT   1DW1A2813EB457515             OH      Richfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 663 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131864   2014   STGHT   1DW1A2815EB457516             UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131865   2014   STGHT   1DW1A2817EB457517             MN             Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131866   2014   STGHT   1DW1A2819EB457518             VA             Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131868   2014   STGHT   1DW1A2817EB457520             OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131869   2014   STGHT   1DW1A2819EB457521             PQ             Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131870   2014   STGHT   1DW1A2810EB457522             KS             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131871   2014   STGHT   1DW1A2812EB457523             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131872   2014   STGHT   1DW1A2814EB457524             Alberta        Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131873   2014   STGHT   1DW1A2816EB457525             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131874   2014   STGHT   1DW1A2818EB457526             TX             Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131875   2014   STGHT   1DW1A281XEB457527             IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131876   2014   STGHT   1DW1A2811EB457528             TX             McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131877   2014   STGHT   1DW1A2813EB457529             CA             Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131878   2014   STGHT   1DW1A281XEB457530             VA             Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131879   2014   STGHT   1DW1A2811EB457531             IN             Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131880   2014   STGHT   1DW1A2813EB457532             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131881   2014   STGHT   1DW1A2815EB457533             OR             Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131882   2014   STGHT   1DW1A2817EB457534             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131883   2014   STGHT   1DW1A2819EB457535             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131884   2014   STGHT   1DW1A2810EB457536             NY             Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131885   2014   STGHT   1DW1A2812EB457537             NY             Elmira
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131886   2014   STGHT   1DW1A2814EB457538             TX             McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131887   2014   STGHT   1DW1A2816EB457539             VA             Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131888   2014   STGHT   1DW1A2812EB457540             WI             Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131890   2014   STGHT   1DW1A2816EB457542             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131891   2014   STGHT   1DW1A2818EB457543             VA             Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131892   2014   STGHT   1DW1A281XEB457544             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131893   2014   STGHT   1DW1A2811EB457545             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131894   2014   STGHT   1DW1A2813EB457546             IN             South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131895   2014   STGHT   1DW1A2815EB457547             TX             McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131896   2014   STGHT   1DW1A2817EB457548             TX             Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131897   2014   STGHT   1DW1A2819EB457549             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131898   2014   STGHT   1DW1A2815EB457550             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131899   2014   STGHT   1DW1A2817EB457551             TX             Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131900   2014   STGHT   1DW1A2819EB457552             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131901   2014   STGHT   1DW1A2810EB457553             MI             Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131902   2014   STGHT   1DW1A2812EB457554             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131903   2014   STGHT   1DW1A2814EB457555             IL             Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131904   2014   STGHT   1DW1A2816EB457556             GA             Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131905   2014   STGHT   1DW1A2818EB457557             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131906   2014   STGHT   1DW1A281XEB457558             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131907   2014   STGHT   1DW1A2811EB457559             Alberta        Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131908   2014   STGHT   1DW1A2818EB457560             IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131909   2014   STGHT   1DW1A281XEB457561             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131910   2014   STGHT   1DW1A2811EB457562             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131911   2014   STGHT   1DW1A2813EB457563             NY             Plattsburgh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131912   2014   STGHT   1DW1A2815EB457564             DE             Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131913   2014   STGHT   1DW1A2817EB457565             MS             Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131914   2014   STGHT   1DW1A2819EB457566             IN             Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131915   2014   STGHT   1DW1A2810EB457567             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131916   2014   STGHT   1DW1A2812EB457568             FL             Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131917   2014   STGHT   1DW1A2814EB457569             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131918   2014   STGHT   1DW1A2810EB457570             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131919   2014   STGHT   1DW1A2812EB457571             VA             Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131920   2014   STGHT   1DW1A2814EB457572             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131921   2014   STGHT   1DW1A2816EB457573             CA             Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131922   2014   STGHT   1DW1A2818EB457574             NY             Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131923   2014   STGHT   1DW1A281XEB457575             Saskatchewan   Regina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131924   2014   STGHT   1DW1A2811EB457576             MS             Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131925   2014   STGHT   1DW1A2813EB457577             CO             Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131926   2014   STGHT   1DW1A2815EB457578             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131927   2014   STGHT   1DW1A2817EB457579             UT             St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131928   2014   STGHT   1DW1A2813EB457580             AL             Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131929   2014   STGHT   1DW1A2815EB457581             NE             Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131930   2014   STGHT   1DW1A2817EB457582             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131931   2014   STGHT   1DW1A2819EB457583             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131932   2014   STGHT   1DW1A2810EB457584             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131933   2014   STGHT   1DW1A2812EB457585             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131934   2014   STGHT   1DW1A2814EB457586             AL             Mobile
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 664 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131935   2014   STGHT   1DW1A2816EB457587             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131936   2014   STGHT   1DW1A2818EB457588             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131937   2014   STGHT   1DW1A281XEB457589             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131938   2014   STGHT   1DW1A2816EB457590             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131939   2014   STGHT   1DW1A2818EB457591             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131941   2014   STGHT   1DW1A2811EB457593             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131942   2014   STGHT   1DW1A2813EB457594             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131943   2014   STGHT   1DW1A2815EB457595             PA        Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131944   2014   STGHT   1DW1A2817EB457596             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131945   2014   STGHT   1DW1A2819EB457597             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131946   2014   STGHT   1DW1A2810EB457598             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131947   2014   STGHT   1DW1A2812EB457599             IL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131948   2014   STGHT   1DW1A2815EB457600             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131949   2014   STGHT   1DW1A2817EB457601             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131950   2014   STGHT   1DW1A2819EB457602             ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131951   2014   STGHT   1DW1A2810EB457603             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131952   2014   STGHT   1DW1A2812EB457604             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131953   2014   STGHT   1DW1A2814EB457605             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131954   2014   STGHT   1DW1A2816EB457606             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131955   2014   STGHT   1DW1A2818EB457607             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131956   2014   STGHT   1DW1A281XEB457608             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131957   2014   STGHT   1DW1A2811EB457609             DE        Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131958   2014   STGHT   1DW1A2818EB457610             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131959   2014   STGHT   1DW1A281XEB457611             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131960   2014   STGHT   1DW1A2811EB457612             CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131961   2014   STGHT   1DW1A2813EB457613             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131962   2014   STGHT   1DW1A2815EB457614             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131963   2014   STGHT   1DW1A2817EB457615             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131964   2014   STGHT   1DW1A2819EB457616             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131965   2014   STGHT   1DW1A2810EB457617             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131966   2014   STGHT   1DW1A2812EB457618             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131967   2014   STGHT   1DW1A2814EB457619             CA        Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131968   2014   STGHT   1DW1A2810EB457620             VA        Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131969   2014   STGHT   1DW1A2812EB457621             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131970   2014   STGHT   1DW1A2814EB457622             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131971   2014   STGHT   1DW1A2816EB457623             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131972   2014   STGHT   1DW1A2818EB457624             CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131973   2014   STGHT   1DW1A281XEB457625             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131974   2014   STGHT   1DW1A2811EB457626             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131975   2014   STGHT   1DW1A2813EB457627             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131976   2014   STGHT   1DW1A2815EB457628             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131978   2014   STGHT   1DW1A2813EB457630             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131979   2014   STGHT   1DW1A2815EB457631             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131980   2014   STGHT   1DW1A2817EB457632             WA        Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131981   2014   STGHT   1DW1A2819EB457633             NH        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131982   2014   STGHT   1DW1A2810EB457634             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131983   2014   STGHT   1DW1A2812EB457635             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131984   2014   STGHT   1DW1A2814EB457636             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131985   2014   STGHT   1DW1A2816EB457637             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131986   2014   STGHT   1DW1A2818EB457638             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131987   2014   STGHT   1DW1A281XEB457639             WI        Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131988   2014   STGHT   1DW1A2816EB457640             MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131989   2014   STGHT   1DW1A2818EB457641             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131990   2014   STGHT   1DW1A281XEB457642             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131991   2014   STGHT   1DW1A2811EB457643             KY        Corbin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131992   2014   STGHT   1DW1A2813EB457644             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131993   2014   STGHT   1DW1A2815EB457645             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131994   2014   STGHT   1DW1A2817EB457646             CA        Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131995   2014   STGHT   1DW1A2819EB457647             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131996   2014   STGHT   1DW1A2810EB457648             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131997   2014   STGHT   1DW1A2812EB457649             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131998   2014   STGHT   1DW1A2819EB457650             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY131999   2014   STGHT   1DW1A2810EB457651             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132000   2014   STGHT   1DW1A2812EB457652             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132001   2014   STGHT   1DW1A2814EB457653             NY        Elmira
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132002   2014   STGHT   1DW1A2816EB457654             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132003   2014   STGHT   1DW1A2818EB457655             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132004   2014   STGHT   1DW1A281XEB457656             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132005   2014   STGHT   1DW1A2811EB457657             IL        Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 665 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132006   2014   STGHT   1DW1A2813EB457658             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132007   2014   STGHT   1DW1A2815EB457659             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132008   2014   STGHT   1DW1A2811EB457660             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132009   2014   STGHT   1DW1A2813EB457661             IN      Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132010   2014   STGHT   1DW1A2815EB457662             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132011   2014   STGHT   1DW1A2817EB457663             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132012   2014   STGHT   1DW1A2819EB457664             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132013   2014   STGHT   1DW1A2810EB457665             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132014   2014   STGHT   1DW1A2812EB457666             KS      Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132015   2014   STGHT   1DW1A2814EB457667             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132016   2014   STGHT   1DW1A2816EB457668             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132017   2014   STGHT   1DW1A2818EB457669             MN      Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132018   2014   STGHT   1DW1A2814EB457670             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132019   2014   STGHT   1DW1A2816EB457671             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132020   2014   STGHT   1DW1A2818EB457672             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132021   2014   STGHT   1DW1A281XEB457673             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132022   2014   STGHT   1DW1A2811EB457674             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132023   2014   STGHT   1DW1A2813EB457675             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132024   2014   STGHT   1DW1A2815EB457676             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132025   2014   STGHT   1DW1A2817EB457677             ND      Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132026   2014   STGHT   1DW1A2819EB457678             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132027   2014   STGHT   1DW1A2810EB457679             TX      Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132028   2014   STGHT   1DW1A2817EB457680             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132029   2014   STGHT   1DW1A2819EB457681             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132030   2014   STGHT   1DW1A2810EB457682             WI      Milwaukee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132031   2014   STGHT   1DW1A2812EB457683             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132032   2014   STGHT   1DW1A2814EB457684             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132033   2014   STGHT   1DW1A2816EB457685             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132034   2014   STGHT   1DW1A2818EB457686             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132035   2014   STGHT   1DW1A281XEB457687             OH      Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132036   2014   STGHT   1DW1A2811EB457688             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132037   2014   STGHT   1DW1A2813EB457689             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132038   2014   STGHT   1DW1A281XEB457690             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132039   2014   STGHT   1DW1A2811EB457691             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132040   2014   STGHT   1DW1A2813EB457692             NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132041   2014   STGHT   1DW1A2815EB457693             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132042   2014   STGHT   1DW1A2817EB457694             NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132043   2014   STGHT   1DW1A2819EB457695             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132044   2014   STGHT   1DW1A2810EB457696             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132045   2014   STGHT   1DW1A2812EB457697             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132046   2014   STGHT   1DW1A2814EB457698             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132047   2014   STGHT   1DW1A2816EB457699             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132048   2014   STGHT   1DW1A2819EB457700             NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132049   2014   STGHT   1DW1A2810EB457701             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132050   2014   STGHT   1DW1A2812EB457702             OH      Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132051   2014   STGHT   1DW1A2814EB457703             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132052   2014   STGHT   1DW1A2816EB457704             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132053   2014   STGHT   1DW1A2818EB457705             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132054   2014   STGHT   1DW1A281XEB457706             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132055   2014   STGHT   1DW1A2811EB457707             ID      Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132056   2014   STGHT   1DW1A2813EB457708             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132057   2014   STGHT   1DW1A2815EB457709             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132058   2014   STGHT   1DW1A2811EB457710             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132059   2014   STGHT   1DW1A2813EB457711             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132060   2014   STGHT   1DW1A2815EB457712             CA      Eureka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132061   2014   STGHT   1DW1A2817EB457713             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132063   2014   STGHT   1DW1A2810EB457715             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132064   2014   STGHT   1DW1A2812EB457716             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132065   2014   STGHT   1DW1A2814EB457717             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132066   2014   STGHT   1DW1A2816EB457718             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132067   2014   STGHT   1DW1A2818EB457719             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132068   2014   STGHT   1DW1A2814EB457720             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132069   2014   STGHT   1DW1A2816EB457721             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132070   2014   STGHT   1DW1A2818EB457722             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132071   2014   STGHT   1DW1A281XEB457723             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132072   2014   STGHT   1DW1A2811EB457724             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132073   2014   STGHT   1DW1A2813EB457725             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132074   2014   STGHT   1DW1A2815EB457726             MS      Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132075   2014   STGHT   1DW1A2817EB457727             MO      Saint Louis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 666 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132076   2014   STGHT   1DW1A2819EB457728             FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132077   2014   STGHT   1DW1A2810EB457729             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132078   2014   STGHT   1DW1A2817EB457730             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132079   2014   STGHT   1DW1A2819EB457731             GA         Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132080   2014   STGHT   1DW1A2810EB457732             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132081   2014   STGHT   1DW1A2812EB457733             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132082   2014   STGHT   1DW1A2814EB457734             FL         Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132083   2014   STGHT   1DW1A2816EB457735             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132084   2014   STGHT   1DW1A2818EB457736             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132085   2014   STGHT   1DW1A281XEB457737             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132086   2014   STGHT   1DW1A2811EB457738             NV         Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132087   2014   STGHT   1DW1A2813EB457739             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132088   2014   STGHT   1DW1A281XEB457740             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132089   2014   STGHT   1DW1A2811EB457741             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132090   2014   STGHT   1DW1A2813EB457742             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132091   2014   STGHT   1DW1A2815EB457743             CA         Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132092   2014   STGHT   1DW1A2817EB457744             CO         Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132094   2014   STGHT   1DW1A2810EB457746             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132095   2014   STGHT   1DW1A2812EB457747             KY         Paducah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132096   2014   STGHT   1DW1A2814EB457748             NC         Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132097   2014   STGHT   1DW1A2816EB457749             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132098   2014   STGHT   1DW1A2812EB457750             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132099   2014   STGHT   1DW1A2814EB457751             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132100   2014   STGHT   1DW1A2816EB457752             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132101   2014   STGHT   1DW1A2818EB457753             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132102   2014   STGHT   1DW1A281XEB457754             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132103   2014   STGHT   1DW1A2811EB457755             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132104   2014   STGHT   1DW1A2813EB457756             NY         Plattsburgh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132105   2014   STGHT   1DW1A2815EB457757             WA         East Wenatchee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132106   2014   STGHT   1DW1A2817EB457758             CA         Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132107   2014   STGHT   1DW1A2819EB457759             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132108   2014   STGHT   1DW1A2815EB457760             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132109   2014   STGHT   1DW1A2817EB457761             WA         Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132110   2014   STGHT   1DW1A2819EB457762             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132111   2014   STGHT   1DW1A2810EB457763             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132112   2014   STGHT   1DW1A2812EB457764             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132113   2014   STGHT   1DW1A2814EB457765             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132114   2014   STGHT   1DW1A2816EB457766             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132115   2014   STGHT   1DW1A2818EB457767             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132116   2014   STGHT   1DW1A281XEB457768             PA         Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132117   2014   STGHT   1DW1A2811EB457769             KY         Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132118   2014   STGHT   1DW1A2818EB457770             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132119   2014   STGHT   1DW1A281XEB457771             NJ         South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132120   2014   STGHT   1DW1A2811EB457772             TN         Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132121   2014   STGHT   1DW1A2813EB457773             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132122   2014   STGHT   1DW1A2815EB457774             WI         Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132123   2014   STGHT   1DW1A2817EB457775             ND         Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132124   2014   STGHT   1DW1A2819EB457776             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132125   2014   STGHT   1DW1A2810EB457777             CA         Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132126   2014   STGHT   1DW1A2812EB457778             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132127   2014   STGHT   1DW1A2814EB457779             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132128   2014   STGHT   1DW1A2810EB457780             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132129   2014   STGHT   1DW1A2812EB457781             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132130   2014   STGHT   1DW1A2814EB457782             CA         Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132131   2014   STGHT   1DW1A2816EB457783             PA         Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132132   2014   STGHT   1DW1A2818EB457784             PQ         Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132133   2014   STGHT   1DW1A281XEB457785             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132134   2014   STGHT   1DW1A2811EB457786             NC         Raleigh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132135   2014   STGHT   1DW1A2813EB457787             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132136   2014   STGHT   1DW1A2815EB457788             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132137   2014   STGHT   1DW1A2817EB457789             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132138   2014   STGHT   1DW1A2813EB457790             IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132139   2014   STGHT   1DW1A2815EB457791             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132140   2014   STGHT   1DW1A2817EB457792             FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132141   2014   STGHT   1DW1A2819EB457793             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132142   2014   STGHT   1DW1A2810EB457794             IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132143   2014   STGHT   1DW1A2812EB457795             NY         East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132144   2014   STGHT   1DW1A2814EB457796             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132145   2014   STGHT   1DW1A2816EB457797             OK         Oklahoma City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 667 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132146   2014   STGHT   1DW1A2818EB457798             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132147   2014   STGHT   1DW1A281XEB457799             LA         Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132148   2014   STGHT   1DW1A2812EB457800             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132149   2014   STGHT   1DW1A2814EB457801             NJ         South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132150   2014   STGHT   1DW1A2816EB457802             MA         Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132151   2014   STGHT   1DW1A2818EB457803             CA         Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132152   2014   STGHT   1DW1A281XEB457804             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132153   2014   STGHT   1DW1A2811EB457805             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132154   2014   STGHT   1DW1A2813EB457806             GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132155   2014   STGHT   1DW1A2815EB457807             OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132156   2014   STGHT   1DW1A2817EB457808             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132157   2014   STGHT   1DW1A2819EB457809             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132158   2014   STGHT   1DW1A2815EB457810             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132159   2014   STGHT   1DW1A2817EB457811             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132160   2014   STGHT   1DW1A2819EB457812             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132161   2014   STGHT   1DW1A2810EB457813             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132162   2014   STGHT   1DW1A2812EB457814             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132163   2014   STGHT   1DW1A2814EB457815             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132164   2014   STGHT   1DW1A2816EB457816             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132165   2014   STGHT   1DW1A2818EB457817             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132166   2014   STGHT   1DW1A281XEB457818             OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132167   2014   STGHT   1DW1A2811EB457819             FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132168   2014   STGHT   1DW1A2818EB457820             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132169   2014   STGHT   1DW1A281XEB457821             OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132170   2014   STGHT   1DW1A2811EB457822             CA         Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132171   2014   STGHT   1DW1A2813EB457823             WI         Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132172   2014   STGHT   1DW1A2815EB457824             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132173   2014   STGHT   1DW1A2817EB457825             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132174   2014   STGHT   1DW1A2819EB457826             VA         Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132175   2014   STGHT   1DW1A2810EB457827             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132176   2014   STGHT   1DW1A2812EB457828             MA         Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132177   2014   STGHT   1DW1A2814EB457829             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132178   2014   STGHT   1DW1A2810EB457830             NC         Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132179   2014   STGHT   1DW1A2812EB457831             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132180   2014   STGHT   1DW1A2814EB457832             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132181   2014   STGHT   1DW1A2816EB457833             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132182   2014   STGHT   1DW1A2818EB457834             WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132183   2014   STGHT   1DW1A281XEB457835             IL         Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132184   2014   STGHT   1DW1A2811EB457836             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132185   2014   STGHT   1DW1A2813EB457837             CA         San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132186   2014   STGHT   1DW1A2815EB457838             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132187   2014   STGHT   1DW1A2817EB457839             PA         Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132188   2014   STGHT   1DW1A2813EB457840             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132189   2014   STGHT   1DW1A2815EB457841             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132190   2014   STGHT   1DW1A2817EB457842             Ontario    Woodstock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132192   2014   STGHT   1DW1A2810EB457844             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132193   2014   STGHT   1DW1A2812EB457845             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132194   2014   STGHT   1DW1A2814EB457846             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132195   2014   STGHT   1DW1A2816EB457847             GA         Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132196   2014   STGHT   1DW1A2818EB457848             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132197   2014   STGHT   1DW1A281XEB457849             CA         Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132198   2014   STGHT   1DW1A2816EB457850             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132199   2014   STGHT   1DW1A2818EB457851             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132200   2014   STGHT   1DW1A281XEB457852             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132201   2014   STGHT   1DW1A2811EB457853             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132203   2014   STGHT   1DW1A2815EB457855             CA         Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132204   2014   STGHT   1DW1A2817EB457856             MT         Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132205   2014   STGHT   1DW1A2819EB457857             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132206   2014   STGHT   1DW1A2810EB457858             VA         Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132207   2014   STGHT   1DW1A2812EB457859             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132209   2014   STGHT   1DW1A2810EB457861             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132210   2014   STGHT   1DW1A2812EB457862             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132211   2014   STGHT   1DW1A2814EB457863             ID         Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132212   2014   STGHT   1DW1A2816EB457864             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132213   2014   STGHT   1DW1A2818EB457865             TX         McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132214   2014   STGHT   1DW1A281XEB457866             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132215   2014   STGHT   1DW1A2811EB457867             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132216   2014   STGHT   1DW1A2813EB457868             PQ         Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132217   2014   STGHT   1DW1A2815EB457869             NM         Albuquerque
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 668 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132218   2014   STGHT   1DW1A2811EB457870             CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132219   2014   STGHT   1DW1A2813EB457871             CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132220   2014   STGHT   1DW1A2815EB457872             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132221   2014   STGHT   1DW1A2817EB457873             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132222   2014   STGHT   1DW1A2819EB457874             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132223   2014   STGHT   1DW1A2810EB457875             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132224   2014   STGHT   1DW1A2812EB457876             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132225   2014   STGHT   1DW1A2814EB457877             VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132226   2014   STGHT   1DW1A2816EB457878             GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132227   2014   STGHT   1DW1A2818EB457879             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132228   2014   STGHT   1DW1A2814EB457880             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132229   2014   STGHT   1DW1A2816EB457881             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132230   2014   STGHT   1DW1A2818EB457882             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132231   2014   STGHT   1DW1A281XEB457883             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132232   2014   STGHT   1DW1A2811EB457884             MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132233   2014   STGHT   1DW1A2813EB457885             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132234   2014   STGHT   1DW1A2815EB457886             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132235   2014   STGHT   1DW1A2817EB457887             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132236   2014   STGHT   1DW1A2819EB457888             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132237   2014   STGHT   1DW1A2810EB457889             ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132238   2014   STGHT   1DW1A2817EB457890             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132239   2014   STGHT   1DW1A2819EB457891             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132240   2014   STGHT   1DW1A2810EB457892             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132241   2014   STGHT   1DW1A2812EB457893             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132242   2014   STGHT   1DW1A2814EB457894             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132243   2014   STGHT   1DW1A2816EB457895             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132244   2014   STGHT   1DW1A2818EB457896             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132245   2014   STGHT   1DW1A281XEB457897             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132246   2014   STGHT   1DW1A2811EB457898             NC        Wilmington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132248   2014   STGHT   1DW1A2816EB457900             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132249   2014   STGHT   1DW1A2818EB457901             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132250   2014   STGHT   1DW1A281XEB457902             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132251   2014   STGHT   1DW1A2811EB457903             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132252   2014   STGHT   1DW1A2813EB457904             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132253   2014   STGHT   1DW1A2815EB457905             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132254   2014   STGHT   1DW1A2817EB457906             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132255   2014   STGHT   1DW1A2819EB457907             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132256   2014   STGHT   1DW1A2810EB457908             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132257   2014   STGHT   1DW1A2812EB457909             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132258   2014   STGHT   1DW1A2819EB457910             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132259   2014   STGHT   1DW1A2810EB457911             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132260   2014   STGHT   1DW1A2812EB457912             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132261   2014   STGHT   1DW1A2814EB457913             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132262   2014   STGHT   1DW1A2816EB457914             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132263   2014   STGHT   1DW1A2818EB457915             IA        Sioux City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132264   2014   STGHT   1DW1A281XEB457916             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132265   2014   STGHT   1DW1A2811EB457917             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132266   2014   STGHT   1DW1A2813EB457918             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132267   2014   STGHT   1DW1A2815EB457919             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132268   2014   STGHT   1DW1A2811EB457920             GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132269   2014   STGHT   1DW1A2813EB457921             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132270   2014   STGHT   1DW1A2815EB457922             KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132271   2014   STGHT   1DW1A2817EB457923             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132272   2014   STGHT   1DW1A2819EB457924             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132273   2014   STGHT   1DW1A2810EB457925             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132274   2014   STGHT   1DW1A2812EB457926             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132275   2014   STGHT   1DW1A2814EB457927             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132276   2014   STGHT   1DW1A2816EB457928             PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132277   2014   STGHT   1DW1A2818EB457929             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132278   2014   STGHT   1DW1A2814EB457930             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132279   2014   STGHT   1DW1A2816EB457931             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132280   2014   STGHT   1DW1A2818EB457932             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132281   2014   STGHT   1DW1A281XEB457933             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132282   2014   STGHT   1DW1A2811EB457934             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132283   2014   STGHT   1DW1A2813EB457935             NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132284   2014   STGHT   1DW1A2815EB457936             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132285   2014   STGHT   1DW1A2817EB457937             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132286   2014   STGHT   1DW1A2819EB457938             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132287   2014   STGHT   1DW1A2810EB457939             WI        Madison
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 669 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132288   2014   STGHT   1DW1A2817EB457940             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132289   2014   STGHT   1DW1A2819EB457941             WV        Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132290   2014   STGHT   1DW1A2810EB457942             ND        Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132291   2014   STGHT   1DW1A2812EB457943             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132292   2014   STGHT   1DW1A2814EB457944             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132293   2014   STGHT   1DW1A2816EB457945             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132294   2014   STGHT   1DW1A2818EB457946             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132295   2014   STGHT   1DW1A281XEB457947             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132297   2014   STGHT   1DW1A2813EB457949             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132298   2014   STGHT   1DW1A281XEB457950             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132299   2014   STGHT   1DW1A2811EB457951             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132300   2014   STGHT   1DW1A2813EB457952             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132301   2014   STGHT   1DW1A2815EB457953             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132302   2014   STGHT   1DW1A2817EB457954             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132303   2014   STGHT   1DW1A2819EB457955             TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132304   2014   STGHT   1DW1A2810EB457956             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132305   2014   STGHT   1DW1A2812EB457957             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132306   2014   STGHT   1DW1A2814EB457958             MD        Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132307   2014   STGHT   1DW1A2816EB457959             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132308   2014   STGHT   1DW1A2812EB457960             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132309   2014   STGHT   1DW1A2814EB457961             ME        Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132310   2014   STGHT   1DW1A2816EB457962             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132311   2014   STGHT   1DW1A2818EB457963             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132312   2014   STGHT   1DW1A281XEB457964             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132313   2014   STGHT   1DW1A2811EB457965             MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132314   2014   STGHT   1DW1A2813EB457966             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132315   2014   STGHT   1DW1A2815EB457967             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132316   2014   STGHT   1DW1A2817EB457968             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132317   2014   STGHT   1DW1A2819EB457969             IL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132318   2014   STGHT   1DW1A2815EB457970             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132319   2014   STGHT   1DW1A2817EB457971             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132320   2014   STGHT   1DW1A2819EB457972             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132321   2014   STGHT   1DW1A2810EB457973             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132322   2014   STGHT   1DW1A2812EB457974             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132323   2014   STGHT   1DW1A2814EB457975             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132324   2014   STGHT   1DW1A2816EB457976             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132325   2014   STGHT   1DW1A2818EB457977             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132326   2014   STGHT   1DW1A281XEB457978             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132327   2014   STGHT   1DW1A2811EB457979             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132328   2014   STGHT   1DW1A2818EB457980             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132329   2014   STGHT   1DW1A281XEB457981             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132330   2014   STGHT   1DW1A2811EB457982             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132331   2014   STGHT   1DW1A2813EB457983             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132332   2014   STGHT   1DW1A2815EB457984             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132333   2014   STGHT   1DW1A2817EB457985             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132334   2014   STGHT   1DW1A2819EB457986             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132335   2014   STGHT   1DW1A2810EB457987             CA        Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132336   2014   STGHT   1DW1A2812EB457988             AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132337   2014   STGHT   1DW1A2814EB457989             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132338   2014   STGHT   1DW1A2810EB457990             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132339   2014   STGHT   1DW1A2812EB457991             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132340   2014   STGHT   1DW1A2814EB457992             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132341   2014   STGHT   1DW1A2816EB457993             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132342   2014   STGHT   1DW1A2818EB457994             TN        Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132343   2014   STGHT   1DW1A281XEB457995             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132344   2014   STGHT   1DW1A2811EB457996             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132345   2014   STGHT   1DW1A2813EB457997             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132346   2014   STGHT   1DW1A2815EB457998             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132347   2014   STGHT   1DW1A2817EB457999             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132348   2014   STGHT   1DW1A2818EB458000             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132349   2014   STGHT   1DW1A281XEB458001             IN        Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132350   2014   STGHT   1DW1A2811EB458002             MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132351   2014   STGHT   1DW1A2813EB458003             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132352   2014   STGHT   1DW1A2815EB458004             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132353   2014   STGHT   1DW1A2817EB458005             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132354   2014   STGHT   1DW1A2819EB458006             CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132355   2014   STGHT   1DW1A2810EB458007             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132356   2014   STGHT   1DW1A2812EB458008             MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132357   2014   STGHT   1DW1A2814EB458009             NY        Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 670 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132358   2014   STGHT   1DW1A2810EB458010             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132359   2014   STGHT   1DW1A2812EB458011             MI               Gaylord
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132360   2014   STGHT   1DW1A2814EB458012             OH               Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132361   2014   STGHT   1DW1A2816EB458013             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132362   2014   STGHT   1DW1A2818EB458014             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132363   2014   STGHT   1DW1A281XEB458015             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132364   2014   STGHT   1DW1A2811EB458016             MI               Norway
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132365   2014   STGHT   1DW1A2813EB458017             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132366   2014   STGHT   1DW1A2815EB458018             VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132367   2014   STGHT   1DW1A2817EB458019             OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132368   2014   STGHT   1DW1A2813EB458020             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132369   2014   STGHT   1DW1A2815EB458021             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132370   2014   STGHT   1DW1A2817EB458022             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132371   2014   STGHT   1DW1A2819EB458023             VA               Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132372   2014   STGHT   1DW1A2810EB458024             PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132373   2014   STGHT   1DW1A2812EB458025             ID               Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132374   2014   STGHT   1DW1A2814EB458026             TN               Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132375   2014   STGHT   1DW1A2816EB458027             CA               Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132376   2014   STGHT   1DW1A2818EB458028             NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132377   2014   STGHT   1DW1A281XEB458029             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132378   2014   STGHT   1DW1A2816EB458030             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132379   2014   STGHT   1DW1A2818EB458031             Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132380   2014   STGHT   1DW1A281XEB458032             NY               Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132381   2014   STGHT   1DW1A2811EB458033             MO               Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132382   2014   STGHT   1DW1A2813EB458034             KS               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132383   2014   STGHT   1DW1A2815EB458035             NY               East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132384   2014   STGHT   1DW1A2817EB458036             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132385   2014   STGHT   1DW1A2819EB458037             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132386   2014   STGHT   1DW1A2810EB458038             CA               Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132387   2014   STGHT   1DW1A2812EB458039             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132388   2014   STGHT   1DW1A2819EB458040             MD               Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132389   2014   STGHT   1DW1A2810EB458041             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132390   2014   STGHT   1DW1A2812EB458042             ME               Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132392   2014   STGHT   1DW1A2816EB458044             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132393   2014   STGHT   1DW1A2818EB458045             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132394   2014   STGHT   1DW1A281XEB458046             GA               Martinez
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132395   2014   STGHT   1DW1A2811EB458047             NC               Wilmington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132396   2014   STGHT   1DW1A2813EB458048             WA               Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132397   2014   STGHT   1DW1A2815EB458049             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132398   2014   STGHT   1DW1A2811EB458050             AL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132399   2014   STGHT   1DW1A2813EB458051             TA               Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132400   2014   STGHT   1DW1A2815EB458052             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132401   2014   STGHT   1DW1A2817EB458053             DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132402   2014   STGHT   1DW1A2819EB458054             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132403   2014   STGHT   1DW1A2810EB458055             NV               Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132404   2014   STGHT   1DW1A2812EB458056             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132406   2014   STGHT   1DW1A2816EB458058             MT               Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132407   2014   STGHT   1DW1A2818EB458059             ND               Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132408   2014   STGHT   1DW1A2814EB458060             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132409   2014   STGHT   1DW1A2816EB458061             NV               Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132410   2014   STGHT   1DW1A2818EB458062             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132411   2014   STGHT   1DW1A281XEB458063             SC               Piedmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132412   2014   STGHT   1DW1A2811EB458064             MI               Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132413   2014   STGHT   1DW1A2813EB458065             CA               Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132414   2014   STGHT   1DW1A2815EB458066             OR               Roseburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132415   2014   STGHT   1DW1A2817EB458067             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132416   2014   STGHT   1DW1A2819EB458068             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132417   2014   STGHT   1DW1A2810EB458069             OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132418   2014   STGHT   1DW1A2817EB458070             OH               Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132419   2014   STGHT   1DW1A2819EB458071             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132420   2014   STGHT   1DW1A2810EB458072             Manitoba         Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132421   2014   STGHT   1DW1A2812EB458073             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132422   2014   STGHT   1DW1A2814EB458074             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132423   2014   STGHT   1DW1A2816EB458075             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132424   2014   STGHT   1DW1A2818EB458076             IA               Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132426   2014   STGHT   1DW1A2811EB458078             PQ               Sherbrooke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132427   2014   STGHT   1DW1A2813EB458079             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132428   2014   STGHT   1DW1A281XEB458080             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132429   2014   STGHT   1DW1A2811EB458081             MO               Kansas City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 671 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132430   2014   STGHT   1DW1A2813EB458082             ID               Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132431   2014   STGHT   1DW1A2815EB458083             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132432   2014   STGHT   1DW1A2817EB458084             TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132433   2014   STGHT   1DW1A2819EB458085             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132434   2014   STGHT   1DW1A2810EB458086             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132435   2014   STGHT   1DW1A2812EB458087             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132436   2014   STGHT   1DW1A2814EB458088             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132437   2014   STGHT   1DW1A2816EB458089             RI               Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132438   2014   STGHT   1DW1A2812EB458090             OR               Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132439   2014   STGHT   1DW1A2814EB458091             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132440   2014   STGHT   1DW1A2816EB458092             IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132441   2014   STGHT   1DW1A2818EB458093             KY               Waddy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132442   2014   STGHT   1DW1A281XEB458094             NV               Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132443   2014   STGHT   1DW1A2811EB458095             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132444   2014   STGHT   1DW1A2813EB458096             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132445   2014   STGHT   1DW1A2815EB458097             TA               Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132446   2014   STGHT   1DW1A2817EB458098             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132447   2014   STGHT   1DW1A2819EB458099             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132448   2014   STGHT   1DW1A2811EB458100             OH               Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132449   2014   STGHT   1DW1A2813EB458101             NY               East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132450   2014   STGHT   1DW1A2815EB458102             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132451   2014   STGHT   1DW1A2817EB458103             CA               San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132452   2014   STGHT   1DW1A2819EB458104             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132453   2014   STGHT   1DW1A2810EB458105             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132454   2014   STGHT   1DW1A2812EB458106             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132455   2014   STGHT   1DW1A2814EB458107             IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132456   2014   STGHT   1DW1A2816EB458108             NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132457   2014   STGHT   1DW1A2818EB458109             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132458   2014   STGHT   1DW1A2814EB458110             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132459   2014   STGHT   1DW1A2816EB458111             OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132461   2014   STGHT   1DW1A281XEB458113             MN               Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132462   2014   STGHT   1DW1A2811EB458114             IL               McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132463   2014   STGHT   1DW1A2813EB458115             CA               Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132464   2014   STGHT   1DW1A2815EB458116             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132465   2014   STGHT   1DW1A2817EB458117             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132466   2014   STGHT   1DW1A2819EB458118             TX               Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132467   2014   STGHT   1DW1A2810EB458119             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132468   2014   STGHT   1DW1A2817EB458120             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132469   2014   STGHT   1DW1A2819EB458121             PA               Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132470   2014   STGHT   1DW1A2810EB458122             GA               La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132471   2014   STGHT   1DW1A2812EB458123             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132472   2014   STGHT   1DW1A2814EB458124             IL               Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132473   2014   STGHT   1DW1A2816EB458125             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132474   2014   STGHT   1DW1A2818EB458126             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132476   2014   STGHT   1DW1A2811EB458128             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132477   2014   STGHT   1DW1A2813EB458129             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132478   2014   STGHT   1DW1A281XEB458130             GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132479   2014   STGHT   1DW1A2811EB458131             TX               Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132480   2014   STGHT   1DW1A2813EB458132             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132481   2014   STGHT   1DW1A2815EB458133             MO               Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132482   2014   STGHT   1DW1A2817EB458134             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132483   2014   STGHT   1DW1A2819EB458135             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132484   2014   STGHT   1DW1A2810EB458136             MN               Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132485   2014   STGHT   1DW1A2812EB458137             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132486   2014   STGHT   1DW1A2814EB458138             SC               North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132487   2014   STGHT   1DW1A2816EB458139             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132488   2014   STGHT   1DW1A2812EB458140             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132489   2014   STGHT   1DW1A2814EB458141             CA               Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132490   2014   STGHT   1DW1A2816EB458142             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132491   2014   STGHT   1DW1A2818EB458143             IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132492   2014   STGHT   1DW1A281XEB458144             MI               Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132493   2014   STGHT   1DW1A2811EB458145             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132494   2014   STGHT   1DW1A2813EB458146             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132495   2014   STGHT   1DW1A2815EB458147             AL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132496   2014   STGHT   1DW1A2817EB458148             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132497   2014   STGHT   1DW1A2819EB458149             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132498   2014   STGHT   1DW1A2815EB458150             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132499   2014   STGHT   1DW1A2817EB458151             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132500   2014   STGHT   1DW1A2819EB458152             MD               Hagerstown
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 672 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132501   2014   STGHT   1DW1A2810EB458153             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132502   2014   STGHT   1DW1A2812EB458154             GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132503   2014   STGHT   1DW1A2814EB458155             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132504   2014   STGHT   1DW1A2816EB458156             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132505   2014   STGHT   1DW1A2818EB458157             ME      Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132506   2014   STGHT   1DW1A281XEB458158             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132507   2014   STGHT   1DW1A2811EB458159             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132508   2014   STGHT   1DW1A2818EB458160             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132509   2014   STGHT   1DW1A281XEB458161             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132510   2014   STGHT   1DW1A2811EB458162             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132511   2014   STGHT   1DW1A2813EB458163             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132512   2014   STGHT   1DW1A2815EB458164             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132513   2014   STGHT   1DW1A2817EB458165             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132514   2014   STGHT   1DW1A2819EB458166             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132515   2014   STGHT   1DW1A2810EB458167             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132516   2014   STGHT   1DW1A2812EB458168             WA      Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132517   2014   STGHT   1DW1A2814EB458169             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132518   2014   STGHT   1DW1A2810EB458170             CO      Grand Junction
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132519   2014   STGHT   1DW1A2812EB458171             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132520   2014   STGHT   1DW1A2814EB458172             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132521   2014   STGHT   1DW1A2816EB458173             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132522   2014   STGHT   1DW1A2818EB458174             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132523   2014   STGHT   1DW1A281XEB458175             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132524   2014   STGHT   1DW1A2811EB458176             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132525   2014   STGHT   1DW1A2813EB458177             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132526   2014   STGHT   1DW1A2815EB458178             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132527   2014   STGHT   1DW1A2817EB458179             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132528   2014   STGHT   1DW1A2813EB458180             FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132529   2014   STGHT   1DW1A2815EB458181             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132530   2014   STGHT   1DW1A2817EB458182             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132531   2014   STGHT   1DW1A2819EB458183             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132532   2014   STGHT   1DW1A2810EB458184             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132534   2014   STGHT   1DW1A2814EB458186             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132535   2014   STGHT   1DW1A2816EB458187             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132536   2014   STGHT   1DW1A2818EB458188             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132537   2014   STGHT   1DW1A281XEB458189             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132538   2014   STGHT   1DW1A2816EB458190             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132539   2014   STGHT   1DW1A2818EB458191             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132540   2014   STGHT   1DW1A281XEB458192             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132541   2014   STGHT   1DW1A2811EB458193             ID      Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132542   2014   STGHT   1DW1A2813EB458194             PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132543   2014   STGHT   1DW1A2815EB458195             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132544   2014   STGHT   1DW1A2817EB458196             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132545   2014   STGHT   1DW1A2819EB458197             SC      North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132546   2014   STGHT   1DW1A2810EB458198             VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132547   2014   STGHT   1DW1A2812EB458199             VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132548   2014   STGHT   1DW1A2815EB458200             KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132549   2014   STGHT   1DW1A2817EB458201             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132550   2014   STGHT   1DW1A2819EB458202             IL      Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132551   2014   STGHT   1DW1A2810EB458203             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132552   2014   STGHT   1DW1A2812EB458204             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132553   2014   STGHT   1DW1A2814EB458205             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132554   2014   STGHT   1DW1A2816EB458206             IN      Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132555   2014   STGHT   1DW1A2818EB458207             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132557   2014   STGHT   1DW1A2811EB458209             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132558   2014   STGHT   1DW1A2818EB458210             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132559   2014   STGHT   1DW1A281XEB458211             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132560   2014   STGHT   1DW1A2811EB458212             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132561   2014   STGHT   1DW1A2813EB458213             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132562   2014   STGHT   1DW1A2815EB458214             IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132563   2014   STGHT   1DW1A2817EB458215             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132564   2014   STGHT   1DW1A2819EB458216             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132565   2014   STGHT   1DW1A2810EB458217             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132566   2014   STGHT   1DW1A2812EB458218             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132567   2014   STGHT   1DW1A2814EB458219             FL      Fort Myers
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132568   2014   STGHT   1DW1A2810EB458220             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132569   2014   STGHT   1DW1A2812EB458221             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132570   2014   STGHT   1DW1A2814EB458222             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132571   2014   STGHT   1DW1A2816EB458223             TX      Houston
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 673 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132572   2014   STGHT   1DW1A2818EB458224             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132573   2014   STGHT   1DW1A281XEB458225             IL      Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132574   2014   STGHT   1DW1A2811EB458226             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132575   2014   STGHT   1DW1A2813EB458227             NJ      Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132576   2014   STGHT   1DW1A2815EB458228             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132577   2014   STGHT   1DW1A2817EB458229             ID      Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132578   2014   STGHT   1DW1A2813EB458230             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132579   2014   STGHT   1DW1A2815EB458231             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132580   2014   STGHT   1DW1A2817EB458232             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132581   2014   STGHT   1DW1A2819EB458233             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132582   2014   STGHT   1DW1A2810EB458234             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132583   2014   STGHT   1DW1A2812EB458235             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132584   2014   STGHT   1DW1A2814EB458236             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132585   2014   STGHT   1DW1A2816EB458237             AL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132586   2014   STGHT   1DW1A2818EB458238             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132587   2014   STGHT   1DW1A281XEB458239             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132588   2014   STGHT   1DW1A2816EB458240             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132589   2014   STGHT   1DW1A2818EB458241             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132590   2014   STGHT   1DW1A281XEB458242             IL      Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132591   2014   STGHT   1DW1A2811EB458243             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132592   2014   STGHT   1DW1A2813EB458244             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132593   2014   STGHT   1DW1A2815EB458245             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132594   2014   STGHT   1DW1A2817EB458246             CA      San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132595   2014   STGHT   1DW1A2819EB458247             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132596   2014   STGHT   1DW1A2810EB458248             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132597   2014   STGHT   1DW1A2812EB458249             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132598   2014   STGHT   1DW1A2819EB458250             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132599   2014   STGHT   1DW1A2810EB458251             IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132600   2014   STGHT   1DW1A2812EB458252             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132601   2014   STGHT   1DW1A2814EB458253             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132602   2014   STGHT   1DW1A2816EB458254             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132603   2014   STGHT   1DW1A2818EB458255             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132604   2014   STGHT   1DW1A281XEB458256             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132605   2014   STGHT   1DW1A2811EB458257             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132606   2014   STGHT   1DW1A2813EB458258             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132607   2014   STGHT   1DW1A2815EB458259             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132608   2014   STGHT   1DW1A2811EB458260             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132609   2014   STGHT   1DW1A2813EB458261             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132610   2014   STGHT   1DW1A2815EB458262             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132611   2014   STGHT   1DW1A2817EB458263             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132612   2014   STGHT   1DW1A2819EB458264             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132613   2014   STGHT   1DW1A2810EB458265             VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132614   2014   STGHT   1DW1A2812EB458266             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132615   2014   STGHT   1DW1A2814EB458267             NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132616   2014   STGHT   1DW1A2816EB458268             IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132617   2014   STGHT   1DW1A2818EB458269             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132618   2014   STGHT   1DW1A2814EB458270             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132619   2014   STGHT   1DW1A2816EB458271             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132621   2014   STGHT   1DW1A281XEB458273             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132622   2014   STGHT   1DW1A2811EB458274             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132623   2014   STGHT   1DW1A2813EB458275             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132624   2014   STGHT   1DW1A2815EB458276             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132625   2014   STGHT   1DW1A2817EB458277             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132627   2014   STGHT   1DW1A2810EB458279             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132628   2014   STGHT   1DW1A2817EB458280             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132629   2014   STGHT   1DW1A2819EB458281             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132630   2014   STGHT   1DW1A2810EB458282             ME      Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132631   2014   STGHT   1DW1A2812EB458283             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132632   2014   STGHT   1DW1A2814EB458284             FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132633   2014   STGHT   1DW1A2816EB458285             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132634   2014   STGHT   1DW1A2818EB458286             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132635   2014   STGHT   1DW1A281XEB458287             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132636   2014   STGHT   1DW1A2811EB458288             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132637   2014   STGHT   1DW1A2813EB458289             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132638   2014   STGHT   1DW1A281XEB458290             WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132639   2014   STGHT   1DW1A2811EB458291             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132640   2014   STGHT   1DW1A2813EB458292             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132641   2014   STGHT   1DW1A2815EB458293             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132642   2014   STGHT   1DW1A2817EB458294             LA      New Orleans
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 674 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132643   2014   STGHT   1DW1A2819EB458295             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132644   2014   STGHT   1DW1A2810EB458296             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132645   2014   STGHT   1DW1A2812EB458297             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132646   2014   STGHT   1DW1A2814EB458298             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132647   2014   STGHT   1DW1A2816EB458299             CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132648   2014   STGHT   1DW1A2819EB458300             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132649   2014   STGHT   1DW1A2810EB458301             TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132650   2014   STGHT   1DW1A2812EB458302             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132651   2014   STGHT   1DW1A2814EB458303             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132652   2014   STGHT   1DW1A2816EB458304             OR         Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132654   2014   STGHT   1DW1A281XEB458306             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132655   2014   STGHT   1DW1A2811EB458307             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132656   2014   STGHT   1DW1A2813EB458308             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132657   2014   STGHT   1DW1A2815EB458309             MI         Norway
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132658   2014   STGHT   1DW1A2811EB458310             MO         Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132659   2014   STGHT   1DW1A2813EB458311             NY         Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132660   2014   STGHT   1DW1A2815EB458312             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132661   2014   STGHT   1DW1A2817EB458313             IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132662   2014   STGHT   1DW1A2819EB458314             MO         Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132663   2014   STGHT   1DW1A2810EB458315             IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132664   2014   STGHT   1DW1A2812EB458316             MN         Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132665   2014   STGHT   1DW1A2814EB458317             FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132666   2014   STGHT   1DW1A2816EB458318             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132667   2014   STGHT   1DW1A2818EB458319             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132668   2014   STGHT   1DW1A2814EB458320             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132670   2014   STGHT   1DW1A2818EB458322             GA         Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132671   2014   STGHT   1DW1A281XEB458323             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132672   2014   STGHT   1DW1A2811EB458324             CA         Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132673   2014   STGHT   1DW1A2813EB458325             NY         East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132674   2014   STGHT   1DW1A2815EB458326             AL         Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132675   2014   STGHT   1DW1A2817EB458327             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132676   2014   STGHT   1DW1A2819EB458328             DE         Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132677   2014   STGHT   1DW1A2810EB458329             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132678   2014   STGHT   1DW1A2817EB458330             PQ         Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132679   2014   STGHT   1DW1A2819EB458331             MD         Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132680   2014   STGHT   1DW1A2810EB458332             IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132681   2014   STGHT   1DW1A2812EB458333             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132682   2014   STGHT   1DW1A2814EB458334             NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132683   2014   STGHT   1DW1A2816EB458335             MO         Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132684   2014   STGHT   1DW1A2818EB458336             MI         Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132685   2014   STGHT   1DW1A281XEB458337             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132686   2014   STGHT   1DW1A2811EB458338             CA         Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132687   2014   STGHT   1DW1A2813EB458339             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132688   2014   STGHT   1DW1A281XEB458340             TX         Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132689   2014   STGHT   1DW1A2811EB458341             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132690   2014   STGHT   1DW1A2813EB458342             NV         Elko
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132691   2012   WABSH   1JJV281D0CL720215             IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132692   2015   STGHT   1DW1A2817FS620300             MD         Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132693   2015   STGHT   1DW1A2819FS620301             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132694   2015   STGHT   1DW1A2810FS620302             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132695   2015   STGHT   1DW1A2812FS620303             OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132696   2015   STGHT   1DW1A2814FS620304             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132697   2015   STGHT   1DW1A2816FS620305             FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132698   2015   STGHT   1DW1A2818FS620306             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132699   2015   STGHT   1DW1A281XFS620307             SC         Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132700   2015   STGHT   1DW1A2811FS620308             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132701   2015   STGHT   1DW1A2813FS620309             NV         Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132702   2015   STGHT   1DW1A281XFS620310             NV         Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132703   2015   STGHT   1DW1A2811FS620311             AL         Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132704   2015   STGHT   1DW1A2813FS620312             PA         Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132705   2015   STGHT   1DW1A2815FS620313             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132706   2015   STGHT   1DW1A2817FS620314             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132707   2015   STGHT   1DW1A2819FS620315             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132708   2015   STGHT   1DW1A2810FS620316             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132709   2015   STGHT   1DW1A2812FS620317             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132710   2015   STGHT   1DW1A2814FS620318             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132711   2015   STGHT   1DW1A2816FS620319             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132712   2015   STGHT   1DW1A2812FS620320             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132713   2015   STGHT   1DW1A2814FS620321             Ontario    Whitby
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 675 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132714   2015   STGHT   1DW1A2816FS620322             OH      North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132715   2015   STGHT   1DW1A2818FS620323             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132716   2015   STGHT   1DW1A281XFS620324             MN      Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132717   2015   STGHT   1DW1A2811FS620325             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132718   2015   STGHT   1DW1A2813FS620326             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132719   2015   STGHT   1DW1A2815FS620327             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132720   2015   STGHT   1DW1A2817FS620328             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132721   2015   STGHT   1DW1A2819FS620329             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132722   2015   STGHT   1DW1A2815FS620330             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132723   2015   STGHT   1DW1A2817FS620331             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132725   2015   STGHT   1DW1A2810FS620333             PA      Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132726   2015   STGHT   1DW1A2812FS620334             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132727   2015   STGHT   1DW1A2814FS620335             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132728   2015   STGHT   1DW1A2816FS620336             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132729   2015   STGHT   1DW1A2818FS620337             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132730   2015   STGHT   1DW1A281XFS620338             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132731   2015   STGHT   1DW1A2811FS620339             GA      Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132732   2015   STGHT   1DW1A2818FS620340             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132733   2015   STGHT   1DW1A281XFS620341             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132734   2015   STGHT   1DW1A2811FS620342             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132735   2015   STGHT   1DW1A2813FS620343             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132736   2015   STGHT   1DW1A2815FS620344             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132737   2015   STGHT   1DW1A2817FS620345             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132738   2015   STGHT   1DW1A2819FS620346             SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132739   2015   STGHT   1DW1A2810FS620347             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132740   2015   STGHT   1DW1A2812FS620348             MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132741   2015   STGHT   1DW1A2814FS620349             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132742   2015   STGHT   1DW1A2810FS620350             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132743   2015   STGHT   1DW1A2812FS620351             SC      West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132744   2015   STGHT   1DW1A2814FS620352             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132745   2015   STGHT   1DW1A2816FS620353             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132746   2015   STGHT   1DW1A2818FS620354             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132747   2015   STGHT   1DW1A281XFS620355             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132748   2015   STGHT   1DW1A2811FS620356             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132749   2015   STGHT   1DW1A2813FS620357             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132750   2015   STGHT   1DW1A2815FS620358             MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132751   2015   STGHT   1DW1A2817FS620359             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132752   2015   STGHT   1DW1A2813FS620360             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132753   2015   STGHT   1DW1A2815FS620361             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132754   2015   STGHT   1DW1A2817FS620362             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132755   2015   STGHT   1DW1A2819FS620363             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132756   2015   STGHT   1DW1A2810FS620364             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132757   2015   STGHT   1DW1A2812FS620365             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132758   2015   STGHT   1DW1A2814FS620366             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132759   2015   STGHT   1DW1A2816FS620367             NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132760   2015   STGHT   1DW1A2818FS620368             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132761   2015   STGHT   1DW1A281XFS620369             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132763   2015   STGHT   1DW1A2818FS620371             CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132764   2015   STGHT   1DW1A281XFS620372             PA      Milton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132765   2015   STGHT   1DW1A2811FS620373             KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132766   2015   STGHT   1DW1A2813FS620374             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132767   2015   STGHT   1DW1A2815FS620375             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132768   2015   STGHT   1DW1A2817FS620376             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132769   2015   STGHT   1DW1A2819FS620377             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132770   2015   STGHT   1DW1A2810FS620378             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132771   2015   STGHT   1DW1A2812FS620379             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132772   2015   STGHT   1DW1A2819FS620380             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132773   2015   STGHT   1DW1A2810FS620381             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132774   2015   STGHT   1DW1A2812FS620382             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132775   2015   STGHT   1DW1A2814FS620383             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132776   2015   STGHT   1DW1A2816FS620384             KS      Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132777   2015   STGHT   1DW1A2818FS620385             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132778   2015   STGHT   1DW1A281XFS620386             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132779   2015   STGHT   1DW1A2811FS620387             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132780   2015   STGHT   1DW1A2813FS620388             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132781   2015   STGHT   1DW1A2815FS620389             CA      Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132782   2015   STGHT   1DW1A2811FS620390             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132783   2015   STGHT   1DW1A2813FS620391             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132784   2015   STGHT   1DW1A2815FS620392             GA      Marietta
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 676 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132785   2015   STGHT   1DW1A2817FS620393             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132786   2015   STGHT   1DW1A2819FS620394             ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132787   2015   STGHT   1DW1A2810FS620395             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132788   2015   STGHT   1DW1A2812FS620396             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132789   2015   STGHT   1DW1A2814FS620397             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132790   2015   STGHT   1DW1A2816FS620398             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132791   2015   STGHT   1DW1A2818FS620399             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132792   2015   STGHT   1DW1A2810FS620400             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132793   2015   STGHT   1DW1A2812FS620401             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132794   2015   STGHT   1DW1A2814FS620402             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132795   2015   STGHT   1DW1A2816FS620403             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132796   2015   STGHT   1DW1A2818FS620404             AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132797   2015   STGHT   1DW1A281XFS620405             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132798   2015   STGHT   1DW1A2811FS620406             KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132799   2015   STGHT   1DW1A2813FS620407             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132801   2015   STGHT   1DW1A2817FS620409             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132802   2015   STGHT   1DW1A2813FS620410             TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132803   2015   STGHT   1DW1A2815FS620411             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132804   2015   STGHT   1DW1A2817FS620412             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132805   2015   STGHT   1DW1A2819FS620413             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132806   2015   STGHT   1DW1A2810FS620414             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132807   2015   STGHT   1DW1A2812FS620415             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132808   2015   STGHT   1DW1A2814FS620416             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132809   2015   STGHT   1DW1A2816FS620417             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132810   2015   STGHT   1DW1A2818FS620418             MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132811   2015   STGHT   1DW1A281XFS620419             PA        Erie
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132812   2015   STGHT   1DW1A2816FS620420             TN        Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132813   2015   STGHT   1DW1A2818FS620421             KS        Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132814   2015   STGHT   1DW1A281XFS620422             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132815   2015   STGHT   1DW1A2811FS620423             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132816   2015   STGHT   1DW1A2813FS620424             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132817   2015   STGHT   1DW1A2815FS620425             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132818   2015   STGHT   1DW1A2817FS620426             WY        Cheyenne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132819   2015   STGHT   1DW1A2819FS620427             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132820   2015   STGHT   1DW1A2810FS620428             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132821   2015   STGHT   1DW1A2812FS620429             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132822   2015   STGHT   1DW1A2819FS620430             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132823   2015   STGHT   1DW1A2810FS620431             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132824   2015   STGHT   1DW1A2812FS620432             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132825   2015   STGHT   1DW1A2814FS620433             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132826   2015   STGHT   1DW1A2816FS620434             ID        Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132827   2015   STGHT   1DW1A2818FS620435             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132828   2015   STGHT   1DW1A281XFS620436             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132829   2015   STGHT   1DW1A2811FS620437             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132830   2015   STGHT   1DW1A2813FS620438             SC        Florence
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132831   2015   STGHT   1DW1A2815FS620439             NH        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132833   2015   STGHT   1DW1A2813FS620441             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132834   2015   STGHT   1DW1A2815FS620442             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132835   2015   STGHT   1DW1A2817FS620443             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132836   2015   STGHT   1DW1A2819FS620444             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132837   2015   STGHT   1DW1A2810FS620445             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132838   2015   STGHT   1DW1A2812FS620446             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132840   2015   STGHT   1DW1A2816FS620448             AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132841   2015   STGHT   1DW1A2818FS620449             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132842   2015   STGHT   1DW1A2814FS620450             WA        Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132843   2015   STGHT   1DW1A2816FS620451             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132844   2015   STGHT   1DW1A2818FS620452             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132845   2015   STGHT   1DW1A281XFS620453             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132846   2015   STGHT   1DW1A2811FS620454             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132847   2015   STGHT   1DW1A2813FS620455             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132848   2015   STGHT   1DW1A2815FS620456             NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132849   2015   STGHT   1DW1A2817FS620457             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132850   2015   STGHT   1DW1A2819FS620458             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132851   2015   STGHT   1DW1A2810FS620459             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132852   2015   STGHT   1DW1A2817FS620460             IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132853   2015   STGHT   1DW1A2819FS620461             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132854   2015   STGHT   1DW1A2810FS620462             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132855   2015   STGHT   1DW1A2812FS620463             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132856   2015   STGHT   1DW1A2814FS620464             NY        Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 677 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132857   2015   STGHT   1DW1A2816FS620465             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132858   2015   STGHT   1DW1A2818FS620466             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132859   2015   STGHT   1DW1A281XFS620467             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132860   2015   STGHT   1DW1A2811FS620468             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132861   2015   STGHT   1DW1A2813FS620469             AL               Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132862   2015   STGHT   1DW1A281XFS620470             CA               Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132863   2015   STGHT   1DW1A2811FS620471             OH               Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132864   2015   STGHT   1DW1A2813FS620472             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132865   2015   STGHT   1DW1A2815FS620473             TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132866   2015   STGHT   1DW1A2817FS620474             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132867   2015   STGHT   1DW1A2819FS620475             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132868   2015   STGHT   1DW1A2810FS620476             TX               Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132869   2015   STGHT   1DW1A2812FS620477             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132870   2015   STGHT   1DW1A2814FS620478             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132871   2015   STGHT   1DW1A2816FS620479             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132872   2015   STGHT   1DW1A2812FS620480             VA               Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132873   2015   STGHT   1DW1A2814FS620481             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132874   2015   STGHT   1DW1A2816FS620482             GA               Jefferson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132875   2015   STGHT   1DW1A2818FS620483             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132876   2015   STGHT   1DW1A281XFS620484             IN               Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132877   2015   STGHT   1DW1A2811FS620485             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132878   2015   STGHT   1DW1A2813FS620486             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132879   2015   STGHT   1DW1A2815FS620487             OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132880   2015   STGHT   1DW1A2817FS620488             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132881   2015   STGHT   1DW1A2819FS620489             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132882   2015   STGHT   1DW1A2815FS620490             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132883   2015   STGHT   1DW1A2817FS620491             IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132884   2015   STGHT   1DW1A2819FS620492             Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132885   2015   STGHT   1DW1A2810FS620493             IL               Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132886   2015   STGHT   1DW1A2812FS620494             ID               Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132887   2015   STGHT   1DW1A2814FS620495             FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132888   2015   STGHT   1DW1A2816FS620496             IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132889   2015   STGHT   1DW1A2818FS620497             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132890   2015   STGHT   1DW1A281XFS620498             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132891   2015   STGHT   1DW1A2811FS620499             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132892   2015   STGHT   1DW1A2814FS620500             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132893   2015   STGHT   1DW1A2816FS620501             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132894   2015   STGHT   1DW1A2818FS620502             NJ               Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132895   2015   STGHT   1DW1A281XFS620503             MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132896   2015   STGHT   1DW1A2811FS620504             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132897   2015   STGHT   1DW1A2813FS620505             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132898   2015   STGHT   1DW1A2815FS620506             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132899   2015   STGHT   1DW1A2817FS620507             ND               Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132900   2015   STGHT   1DW1A2819FS620508             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132901   2015   STGHT   1DW1A2810FS620509             WA               Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132902   2015   STGHT   1DW1A2817FS620510             TX               McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132903   2015   STGHT   1DW1A2819FS620511             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132904   2015   STGHT   1DW1A2810FS620512             TN               Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132905   2015   STGHT   1DW1A2812FS620513             TN               Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132906   2015   STGHT   1DW1A2814FS620514             OK               Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132907   2015   STGHT   1DW1A2816FS620515             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132908   2015   STGHT   1DW1A2818FS620516             NY               East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132910   2015   STGHT   1DW1A2811FS620518             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132911   2015   STGHT   1DW1A2813FS620519             IA               Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132912   2015   STGHT   1DW1A281XFS620520             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132913   2015   STGHT   1DW1A2811FS620521             OH               Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132914   2015   STGHT   1DW1A2813FS620522             IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132915   2015   STGHT   1DW1A2815FS620523             CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132916   2015   STGHT   1DW1A2817FS620524             NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132917   2015   STGHT   1DW1A2819FS620525             LA               Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132918   2015   STGHT   1DW1A2810FS620526             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132919   2015   STGHT   1DW1A2812FS620527             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132920   2015   STGHT   1DW1A2814FS620528             OH               Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132921   2015   STGHT   1DW1A2816FS620529             FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132922   2015   STGHT   1DW1A2812FS620530             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132923   2015   STGHT   1DW1A2814FS620531             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132924   2015   STGHT   1DW1A2816FS620532             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132925   2015   STGHT   1DW1A2818FS620533             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132926   2015   STGHT   1DW1A281XFS620534             NY               Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 678 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132928   2015   STGHT   1DW1A2813FS620536             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132929   2015   STGHT   1DW1A2815FS620537             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132930   2015   STGHT   1DW1A2817FS620538             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132931   2015   STGHT   1DW1A2819FS620539             RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132932   2015   STGHT   1DW1A2815FS620540             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132933   2015   STGHT   1DW1A2817FS620541             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132934   2015   STGHT   1DW1A2819FS620542             CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132935   2015   STGHT   1DW1A2810FS620543             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132936   2015   STGHT   1DW1A2812FS620544             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132937   2015   STGHT   1DW1A2814FS620545             RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132938   2015   STGHT   1DW1A2816FS620546             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132939   2015   STGHT   1DW1A2818FS620547             CO        Denver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132940   2015   STGHT   1DW1A281XFS620548             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132941   2015   STGHT   1DW1A2811FS620549             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132942   2015   STGHT   1DW1A2818FS620550             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132943   2015   STGHT   1DW1A281XFS620551             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132944   2015   STGHT   1DW1A2811FS620552             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132945   2015   STGHT   1DW1A2813FS620553             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132947   2015   STGHT   1DW1A2817FS620555             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132948   2015   STGHT   1DW1A2819FS620556             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132949   2015   STGHT   1DW1A2810FS620557             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132950   2015   STGHT   1DW1A2812FS620558             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132951   2015   STGHT   1DW1A2814FS620559             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132952   2015   STGHT   1DW1A2810FS620560             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132953   2015   STGHT   1DW1A2812FS620561             IN        Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132954   2015   STGHT   1DW1A2814FS620562             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132955   2015   STGHT   1DW1A2816FS620563             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132956   2015   STGHT   1DW1A2818FS620564             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132957   2015   STGHT   1DW1A281XFS620565             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132958   2015   STGHT   1DW1A2811FS620566             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132959   2015   STGHT   1DW1A2813FS620567             MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132960   2015   STGHT   1DW1A2815FS620568             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132961   2015   STGHT   1DW1A2817FS620569             ID        Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132962   2015   STGHT   1DW1A2813FS620570             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132963   2015   STGHT   1DW1A2815FS620571             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132964   2015   STGHT   1DW1A2817FS620572             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132965   2015   STGHT   1DW1A2819FS620573             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132966   2015   STGHT   1DW1A2810FS620574             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132967   2015   STGHT   1DW1A2812FS620575             KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132968   2015   STGHT   1DW1A2814FS620576             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132969   2015   STGHT   1DW1A2816FS620577             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132970   2015   STGHT   1DW1A2818FS620578             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132971   2015   STGHT   1DW1A281XFS620579             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132972   2015   STGHT   1DW1A2816FS620580             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132973   2015   STGHT   1DW1A2818FS620581             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132974   2015   STGHT   1DW1A281XFS620582             OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132975   2015   STGHT   1DW1A2811FS620583             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132976   2015   STGHT   1DW1A2813FS620584             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132977   2015   STGHT   1DW1A2815FS620585             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132978   2015   STGHT   1DW1A2817FS620586             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132979   2015   STGHT   1DW1A2819FS620587             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132980   2015   STGHT   1DW1A2810FS620588             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132981   2015   STGHT   1DW1A2812FS620589             CO        Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132982   2015   STGHT   1DW1A2819FS620590             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132983   2015   STGHT   1DW1A2810FS620591             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132984   2015   STGHT   1DW1A2812FS620592             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132985   2015   STGHT   1DW1A2814FS620593             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132986   2015   STGHT   1DW1A2816FS620594             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132987   2015   STGHT   1DW1A2818FS620595             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132988   2015   STGHT   1DW1A281XFS620596             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132989   2015   STGHT   1DW1A2811FS620597             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132990   2015   STGHT   1DW1A2813FS620598             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132991   2015   STGHT   1DW1A2815FS620599             MN        Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132992   2015   STGHT   1DW1A2818FS620600             CA        Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132993   2015   STGHT   1DW1A281XFS620601             Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132994   2015   STGHT   1DW1A2811FS620602             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132995   2015   STGHT   1DW1A2813FS620603             ND        Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132997   2015   STGHT   1DW1A2817FS620605             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132998   2015   STGHT   1DW1A2819FS620606             CA        Sun Valley
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 679 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY132999   2015   STGHT   1DW1A2810FS620607             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133000   2015   STGHT   1DW1A2812FS620608             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133001   2015   STGHT   1DW1A2814FS620609             CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133002   2015   STGHT   1DW1A2810FS620610             WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133003   2015   STGHT   1DW1A2812FS620611             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133004   2015   STGHT   1DW1A2814FS620612             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133005   2015   STGHT   1DW1A2816FS620613             KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133006   2015   STGHT   1DW1A2818FS620614             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133007   2015   STGHT   1DW1A281XFS620615             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133008   2015   STGHT   1DW1A2811FS620616             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133009   2015   STGHT   1DW1A2813FS620617             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133010   2015   STGHT   1DW1A2815FS620618             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133011   2015   STGHT   1DW1A2817FS620619             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133012   2015   STGHT   1DW1A2813FS620620             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133013   2015   STGHT   1DW1A2815FS620621             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133014   2015   STGHT   1DW1A2817FS620622             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133015   2015   STGHT   1DW1A2819FS620623             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133016   2015   STGHT   1DW1A2810FS620624             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133017   2015   STGHT   1DW1A2812FS620625             PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133018   2015   STGHT   1DW1A2814FS620626             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133019   2015   STGHT   1DW1A2816FS620627             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133020   2015   STGHT   1DW1A2818FS620628             OH      Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133021   2015   STGHT   1DW1A281XFS620629             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133022   2015   STGHT   1DW1A2816FS620630             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133023   2015   STGHT   1DW1A2818FS620631             MN      Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133024   2015   STGHT   1DW1A281XFS620632             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133025   2015   STGHT   1DW1A2811FS620633             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133026   2015   STGHT   1DW1A2813FS620634             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133027   2015   STGHT   1DW1A2815FS620635             VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133028   2015   STGHT   1DW1A2817FS620636             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133029   2015   STGHT   1DW1A2819FS620637             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133030   2015   STGHT   1DW1A2810FS620638             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133031   2015   STGHT   1DW1A2812FS620639             WV      Asbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133032   2015   STGHT   1DW1A2819FS620640             KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133033   2015   STGHT   1DW1A2810FS620641             KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133034   2015   STGHT   1DW1A2812FS620642             NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133035   2015   STGHT   1DW1A2814FS620643             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133036   2015   STGHT   1DW1A2816FS620644             WI      Milwaukee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133037   2015   STGHT   1DW1A2818FS620645             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133038   2015   STGHT   1DW1A281XFS620646             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133039   2015   STGHT   1DW1A2811FS620647             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133040   2015   STGHT   1DW1A2813FS620648             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133041   2015   STGHT   1DW1A2815FS620649             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133042   2015   STGHT   1DW1A2811FS620650             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133043   2015   STGHT   1DW1A2813FS620651             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133044   2015   STGHT   1DW1A2815FS620652             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133045   2015   STGHT   1DW1A2817FS620653             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133046   2015   STGHT   1DW1A2819FS620654             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133047   2015   STGHT   1DW1A2810FS620655             ND      Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133048   2015   STGHT   1DW1A2812FS620656             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133050   2015   STGHT   1DW1A2816FS620658             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133051   2015   STGHT   1DW1A2818FS620659             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133052   2015   STGHT   1DW1A2814FS620660             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133053   2015   STGHT   1DW1A2816FS620661             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133054   2015   STGHT   1DW1A2818FS620662             CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133055   2015   STGHT   1DW1A281XFS620663             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133056   2015   STGHT   1DW1A2811FS620664             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133057   2015   STGHT   1DW1A2813FS620665             KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133058   2015   STGHT   1DW1A2815FS620666             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133059   2015   STGHT   1DW1A2817FS620667             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133060   2015   STGHT   1DW1A2819FS620668             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133061   2015   STGHT   1DW1A2810FS620669             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133062   2015   STGHT   1DW1A2817FS620670             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133063   2015   STGHT   1DW1A2819FS620671             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133064   2015   STGHT   1DW1A2810FS620672             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133065   2015   STGHT   1DW1A2812FS620673             CA      Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133066   2015   STGHT   1DW1A2814FS620674             ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133067   2015   STGHT   1DW1A2816FS620675             NH      Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133068   2015   STGHT   1DW1A2818FS620676             NC      Wilmington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 680 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133069   2015   STGHT   1DW1A281XFS620677             TN               Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133070   2015   STGHT   1DW1A2811FS620678             FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133071   2015   STGHT   1DW1A2813FS620679             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133072   2015   STGHT   1DW1A281XFS620680             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133073   2015   STGHT   1DW1A2811FS620681             CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133074   2015   STGHT   1DW1A2813FS620682             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133075   2015   STGHT   1DW1A2815FS620683             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133076   2015   STGHT   1DW1A2817FS620684             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133077   2015   STGHT   1DW1A2819FS620685             TX               Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133078   2015   STGHT   1DW1A2810FS620686             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133079   2015   STGHT   1DW1A2812FS620687             AL               Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133081   2015   STGHT   1DW1A2816FS620689             CA               San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133082   2015   STGHT   1DW1A2812FS620690             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133083   2015   STGHT   1DW1A2814FS620691             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133084   2015   STGHT   1DW1A2816FS620692             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133085   2015   STGHT   1DW1A2818FS620693             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133086   2015   STGHT   1DW1A281XFS620694             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133087   2015   STGHT   1DW1A2811FS620695             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133088   2015   STGHT   1DW1A2813FS620696             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133089   2015   STGHT   1DW1A2815FS620697             TX               McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133090   2015   STGHT   1DW1A2817FS620698             SD               Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133091   2015   STGHT   1DW1A2819FS620699             CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133092   2015   STGHT   1DW1A2811FS620700             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133093   2015   STGHT   1DW1A2813FS620701             AZ               Flagstaff
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133094   2015   STGHT   1DW1A2815FS620702             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133095   2015   STGHT   1DW1A2817FS620703             TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133096   2015   STGHT   1DW1A2819FS620704             ND               Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133097   2015   STGHT   1DW1A2810FS620705             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133098   2015   STGHT   1DW1A2812FS620706             CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133099   2015   STGHT   1DW1A2814FS620707             GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133100   2015   STGHT   1DW1A2816FS620708             ID               Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133101   2015   STGHT   1DW1A2818FS620709             GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133102   2015   STGHT   1DW1A2814FS620710             GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133103   2015   STGHT   1DW1A2816FS620711             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133104   2015   STGHT   1DW1A2818FS620712             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133105   2015   STGHT   1DW1A281XFS620713             PA               Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133106   2015   STGHT   1DW1A2811FS620714             FL               Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133107   2015   STGHT   1DW1A2813FS620715             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133108   2015   STGHT   1DW1A2815FS620716             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133109   2015   STGHT   1DW1A2817FS620717             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133110   2015   STGHT   1DW1A2819FS620718             CA               Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133111   2015   STGHT   1DW1A2810FS620719             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133112   2015   STGHT   1DW1A2817FS620720             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133113   2015   STGHT   1DW1A2819FS620721             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133114   2015   STGHT   1DW1A2810FS620722             AR               Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133115   2015   STGHT   1DW1A2812FS620723             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133116   2015   STGHT   1DW1A2814FS620724             Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133117   2015   STGHT   1DW1A2816FS620725             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133118   2015   STGHT   1DW1A2818FS620726             IA               Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133119   2015   STGHT   1DW1A281XFS620727             TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133120   2015   STGHT   1DW1A2811FS620728             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133121   2015   STGHT   1DW1A2813FS620729             IL               Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133122   2015   STGHT   1DW1A281XFS620730             CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133123   2015   STGHT   1DW1A2811FS620731             MA               North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133124   2015   STGHT   1DW1A2813FS620732             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133125   2015   STGHT   1DW1A2815FS620733             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133126   2015   STGHT   1DW1A2817FS620734             IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133127   2015   STGHT   1DW1A2819FS620735             OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133128   2015   STGHT   1DW1A2810FS620736             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133129   2015   STGHT   1DW1A2812FS620737             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133130   2015   STGHT   1DW1A2814FS620738             MO               Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133131   2015   STGHT   1DW1A2816FS620739             CO               Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133132   2015   STGHT   1DW1A2812FS620740             GA               Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133133   2015   STGHT   1DW1A2814FS620741             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133134   2015   STGHT   1DW1A2816FS620742             ME               Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133135   2015   STGHT   1DW1A2818FS620743             CA               San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133136   2015   STGHT   1DW1A281XFS620744             KS               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133137   2015   STGHT   1DW1A2811FS620745             MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133138   2015   STGHT   1DW1A2813FS620746             TX               Dallas
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 681 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133139   2015   STGHT   1DW1A2815FS620747             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133140   2015   STGHT   1DW1A2817FS620748             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133141   2015   STGHT   1DW1A2819FS620749             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133142   2015   STGHT   1DW1A2815FS620750             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133143   2015   STGHT   1DW1A2817FS620751             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133144   2015   STGHT   1DW1A2819FS620752             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133145   2015   STGHT   1DW1A2810FS620753             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133146   2015   STGHT   1DW1A2812FS620754             SC      Florence
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133147   2015   STGHT   1DW1A2814FS620755             KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133148   2015   STGHT   1DW1A2816FS620756             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133149   2015   STGHT   1DW1A2818FS620757             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133150   2015   STGHT   1DW1A281XFS620758             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133151   2015   STGHT   1DW1A2811FS620759             KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133152   2015   STGHT   1DW1A2818FS620760             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133153   2015   STGHT   1DW1A281XFS620761             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133154   2015   STGHT   1DW1A2811FS620762             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133155   2015   STGHT   1DW1A2813FS620763             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133156   2015   STGHT   1DW1A2815FS620764             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133157   2015   STGHT   1DW1A2817FS620765             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133158   2015   STGHT   1DW1A2819FS620766             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133159   2015   STGHT   1DW1A2810FS620767             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133160   2015   STGHT   1DW1A2812FS620768             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133161   2015   STGHT   1DW1A2814FS620769             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133162   2015   STGHT   1DW1A2810FS620770             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133163   2015   STGHT   1DW1A2812FS620771             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133165   2015   STGHT   1DW1A2816FS620773             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133166   2015   STGHT   1DW1A2818FS620774             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133167   2015   STGHT   1DW1A281XFS620775             NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133168   2015   STGHT   1DW1A2811FS620776             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133169   2015   STGHT   1DW1A2813FS620777             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133170   2015   STGHT   1DW1A2815FS620778             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133171   2015   STGHT   1DW1A2817FS620779             GA      Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133172   2015   STGHT   1DW1A2813FS620780             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133173   2015   STGHT   1DW1A2815FS620781             MN      Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133174   2015   STGHT   1DW1A2817FS620782             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133175   2015   STGHT   1DW1A2819FS620783             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133176   2015   STGHT   1DW1A2810FS620784             CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133177   2015   STGHT   1DW1A2812FS620785             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133178   2015   STGHT   1DW1A2814FS620786             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133179   2015   STGHT   1DW1A2816FS620787             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133180   2015   STGHT   1DW1A2818FS620788             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133181   2015   STGHT   1DW1A281XFS620789             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133182   2015   STGHT   1DW1A2816FS620790             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133184   2015   STGHT   1DW1A281XFS620792             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133185   2015   STGHT   1DW1A2811FS620793             TX      Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133186   2015   STGHT   1DW1A2813FS620794             MI      Gaylord
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133187   2015   STGHT   1DW1A2815FS620795             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133188   2015   STGHT   1DW1A2817FS620796             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133189   2015   STGHT   1DW1A2819FS620797             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133190   2015   STGHT   1DW1A2810FS620798             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133191   2015   STGHT   1DW1A2812FS620799             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133192   2015   STGHT   1DW1A2815FS620800             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133193   2015   STGHT   1DW1A2817FS620801             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133194   2015   STGHT   1DW1A2819FS620802             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133195   2015   STGHT   1DW1A2810FS620803             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133196   2015   STGHT   1DW1A2812FS620804             IN      Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133197   2015   STGHT   1DW1A2814FS620805             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133198   2015   STGHT   1DW1A2816FS620806             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133199   2015   STGHT   1DW1A2818FS620807             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133200   2015   STGHT   1DW1A281XFS620808             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133201   2015   STGHT   1DW1A2811FS620809             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133202   2015   STGHT   1DW1A2818FS620810             TX      McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133203   2015   STGHT   1DW1A281XFS620811             NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133204   2015   STGHT   1DW1A2811FS620812             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133205   2015   STGHT   1DW1A2813FS620813             ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133206   2015   STGHT   1DW1A2815FS620814             NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133207   2015   STGHT   1DW1A2817FS620815             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133208   2015   STGHT   1DW1A2819FS620816             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133209   2015   STGHT   1DW1A2810FS620817             PA      Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 682 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133210   2015   STGHT   1DW1A2812FS620818             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133211   2015   STGHT   1DW1A2814FS620819             CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133212   2015   STGHT   1DW1A2810FS620820             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133213   2015   STGHT   1DW1A2812FS620821             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133214   2015   STGHT   1DW1A2814FS620822             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133215   2015   STGHT   1DW1A2816FS620823             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133216   2015   STGHT   1DW1A2818FS620824             LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133217   2015   STGHT   1DW1A281XFS620825             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133218   2015   STGHT   1DW1A2811FS620826             WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133219   2015   STGHT   1DW1A2813FS620827             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133220   2015   STGHT   1DW1A2815FS620828             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133221   2015   STGHT   1DW1A2817FS620829             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133222   2015   STGHT   1DW1A2813FS620830             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133223   2015   STGHT   1DW1A2815FS620831             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133224   2015   STGHT   1DW1A2817FS620832             MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133225   2015   STGHT   1DW1A2819FS620833             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133226   2015   STGHT   1DW1A2810FS620834             CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133227   2015   STGHT   1DW1A2812FS620835             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133229   2015   STGHT   1DW1A2816FS620837             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133230   2015   STGHT   1DW1A2818FS620838             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133231   2015   STGHT   1DW1A281XFS620839             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133232   2015   STGHT   1DW1A2816FS620840             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133233   2015   STGHT   1DW1A2818FS620841             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133234   2015   STGHT   1DW1A281XFS620842             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133235   2015   STGHT   1DW1A2811FS620843             DE        Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133236   2015   STGHT   1DW1A2813FS620844             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133237   2015   STGHT   1DW1A2815FS620845             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133238   2015   STGHT   1DW1A2817FS620846             MT        Missoula
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133239   2015   STGHT   1DW1A2819FS620847             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133240   2015   STGHT   1DW1A2810FS620848             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133241   2015   STGHT   1DW1A2812FS620849             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133242   2015   STGHT   1DW1A2819FS620850             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133243   2015   STGHT   1DW1A2810FS620851             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133244   2015   STGHT   1DW1A2812FS620852             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133245   2015   STGHT   1DW1A2814FS620853             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133246   2015   STGHT   1DW1A2816FS620854             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133247   2015   STGHT   1DW1A2818FS620855             ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133248   2015   STGHT   1DW1A281XFS620856             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133249   2015   STGHT   1DW1A2811FS620857             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133250   2015   STGHT   1DW1A2813FS620858             CA        Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133251   2015   STGHT   1DW1A2815FS620859             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133252   2015   STGHT   1DW1A2811FS620860             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133253   2015   STGHT   1DW1A2813FS620861             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133254   2015   STGHT   1DW1A2815FS620862             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133255   2015   STGHT   1DW1A2817FS620863             AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133256   2015   STGHT   1DW1A2819FS620864             ME        Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133257   2015   STGHT   1DW1A2810FS620865             MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133258   2015   STGHT   1DW1A2812FS620866             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133259   2015   STGHT   1DW1A2814FS620867             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133260   2015   STGHT   1DW1A2816FS620868             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133261   2015   STGHT   1DW1A2818FS620869             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133262   2015   STGHT   1DW1A2814FS620870             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133263   2015   STGHT   1DW1A2816FS620871             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133265   2015   STGHT   1DW1A281XFS620873             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133266   2015   STGHT   1DW1A2811FS620874             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133267   2016   WABSH   1JJV281D1GL905900             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133269   2016   WABSH   1JJV281D5GL905902             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133270   2016   WABSH   1JJV281D7GL905903             LA        Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133271   2016   WABSH   1JJV281D9GL905904             LA        New Orleans
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133272   2016   WABSH   1JJV281D0GL905905             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133273   2016   WABSH   1JJV281D2GL905906             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133274   2016   WABSH   1JJV281D4GL905907             NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133275   2016   WABSH   1JJV281D6GL905908             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133276   2016   WABSH   1JJV281D8GL905909             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133277   2016   WABSH   1JJV281D4GL905910             CA        Lost Hills
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133278   2016   WABSH   1JJV281D6GL905911             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133279   2016   WABSH   1JJV281D8GL905912             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133280   2016   WABSH   1JJV281DXGL905913             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133281   2016   WABSH   1JJV281D1GL905914             NJ        Carlstadt
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 683 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133282   2016   WABSH   1JJV281D3GL905915             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133283   2016   WABSH   1JJV281D5GL905916             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133284   2016   WABSH   1JJV281D7GL905917             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133285   2016   WABSH   1JJV281D9GL905918             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133286   2016   WABSH   1JJV281D0GL905919             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133287   2016   WABSH   1JJV281D7GL905920             ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133288   2016   WABSH   1JJV281D9GL905921             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133289   2016   WABSH   1JJV281D0GL905922             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133290   2016   WABSH   1JJV281D2GL905923             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133291   2016   WABSH   1JJV281D4GL905924             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133292   2016   WABSH   1JJV281D6GL905925             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133293   2016   WABSH   1JJV281D8GL905926             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133294   2016   WABSH   1JJV281DXGL905927             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133295   2016   WABSH   1JJV281D1GL905928             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133296   2016   WABSH   1JJV281D3GL905929             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133297   2016   WABSH   1JJV281DXGL905930             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133298   2016   WABSH   1JJV281D1GL905931             OR      Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133299   2016   WABSH   1JJV281D3GL905932             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133300   2016   WABSH   1JJV281D5GL905933             KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133301   2016   WABSH   1JJV281D7GL905934             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133302   2016   WABSH   1JJV281D9GL905935             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133304   2016   WABSH   1JJV281D2GL905937             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133305   2016   WABSH   1JJV281D4GL905938             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133307   2016   WABSH   1JJV281D2GL905940             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133308   2016   WABSH   1JJV281D4GL905941             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133309   2016   WABSH   1JJV281D6GL905942             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133310   2016   WABSH   1JJV281D8GL905943             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133311   2016   WABSH   1JJV281DXGL905944             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133312   2016   WABSH   1JJV281D1GL905945             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133313   2016   WABSH   1JJV281D3GL905946             CA      Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133314   2016   WABSH   1JJV281D5GL905947             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133315   2016   WABSH   1JJV281D7GL905948             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133316   2016   WABSH   1JJV281D9GL905949             NY      Maspeth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133317   2016   WABSH   1JJV281D5GL905950             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133318   2016   WABSH   1JJV281D7GL905951             CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133319   2016   WABSH   1JJV281D9GL905952             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133320   2016   WABSH   1JJV281D0GL905953             MI      Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133321   2016   WABSH   1JJV281D2GL905954             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133322   2016   WABSH   1JJV281D4GL905955             UT      St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133323   2016   WABSH   1JJV281D6GL905956             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133324   2016   WABSH   1JJV281D8GL905957             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133325   2016   WABSH   1JJV281DXGL905958             LA      Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133326   2016   WABSH   1JJV281D1GL905959             WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133327   2016   WABSH   1JJV281D8GL905960             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133328   2016   WABSH   1JJV281DXGL905961             SC      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133329   2016   WABSH   1JJV281D1GL905962             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133330   2016   WABSH   1JJV281D3GL905963             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133331   2016   WABSH   1JJV281D5GL905964             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133332   2016   WABSH   1JJV281D7GL905965             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133333   2016   WABSH   1JJV281D9GL905966             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133334   2016   WABSH   1JJV281D0GL905967             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133335   2016   WABSH   1JJV281D2GL905968             MT      Great Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133336   2016   WABSH   1JJV281D4GL905969             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133337   2016   WABSH   1JJV281D0GL905970             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133338   2016   WABSH   1JJV281D2GL905971             AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133339   2016   WABSH   1JJV281D4GL905972             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133340   2016   WABSH   1JJV281D6GL905973             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133341   2016   WABSH   1JJV281D8GL905974             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133342   2016   WABSH   1JJV281DXGL905975             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133343   2016   WABSH   1JJV281D1GL905976             LA      Monroe
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133344   2016   WABSH   1JJV281D3GL905977             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133345   2016   WABSH   1JJV281D5GL905978             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133346   2016   WABSH   1JJV281D7GL905979             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133347   2016   WABSH   1JJV281D3GL905980             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133348   2016   WABSH   1JJV281D5GL905981             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133349   2016   WABSH   1JJV281D7GL905982             ID      Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133350   2016   WABSH   1JJV281D9GL905983             ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133351   2016   WABSH   1JJV281D0GL905984             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133352   2016   WABSH   1JJV281D2GL905985             MO      Kansas City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 684 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133353   2016   WABSH   1JJV281D4GL905986             MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133354   2016   WABSH   1JJV281D6GL905987             CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133355   2016   WABSH   1JJV281D8GL905988             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133356   2016   WABSH   1JJV281DXGL905989             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133357   2016   WABSH   1JJV281D6GL905990             TX        Abilene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133358   2016   WABSH   1JJV281D8GL905991             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133359   2016   WABSH   1JJV281DXGL905992             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133360   2016   WABSH   1JJV281D1GL905993             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133361   2016   WABSH   1JJV281D3GL905994             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133362   2016   WABSH   1JJV281D5GL905995             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133363   2016   WABSH   1JJV281D7GL905996             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133364   2016   WABSH   1JJV281D9GL905997             MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133365   2016   WABSH   1JJV281D0GL905998             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133366   2016   WABSH   1JJV281D2GL905999             Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133367   2016   WABSH   1JJV281D3GL906000             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133368   2016   WABSH   1JJV281D5GL906001             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133369   2016   WABSH   1JJV281D7GL906002             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133370   2016   WABSH   1JJV281D9GL906003             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133371   2016   WABSH   1JJV281D0GL906004             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133372   2016   WABSH   1JJV281D2GL906005             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133373   2016   WABSH   1JJV281D4GL906006             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133374   2016   WABSH   1JJV281D6GL906007             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133375   2016   WABSH   1JJV281D8GL906008             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133376   2016   WABSH   1JJV281DXGL906009             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133377   2016   WABSH   1JJV281D6GL906010             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133378   2016   WABSH   1JJV281D8GL906011             SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133379   2016   WABSH   1JJV281DXGL906012             OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133380   2016   WABSH   1JJV281D1GL906013             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133381   2016   WABSH   1JJV281D3GL906014             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133382   2016   WABSH   1JJV281D5GL906015             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133383   2016   WABSH   1JJV281D7GL906016             IA        Sioux City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133384   2016   WABSH   1JJV281D9GL906017             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133385   2016   WABSH   1JJV281D0GL906018             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133386   2016   WABSH   1JJV281D2GL906019             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133387   2016   WABSH   1JJV281D9GL906020             CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133388   2016   WABSH   1JJV281D0GL906021             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133389   2016   WABSH   1JJV281D2GL906022             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133390   2016   WABSH   1JJV281D4GL906023             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133391   2016   WABSH   1JJV281D6GL906024             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133392   2016   WABSH   1JJV281D8GL906025             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133393   2016   WABSH   1JJV281DXGL906026             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133394   2016   WABSH   1JJV281D1GL906027             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133395   2016   WABSH   1JJV281D3GL906028             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133397   2016   WABSH   1JJV281D1GL906030             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133398   2016   WABSH   1JJV281D3GL906031             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133399   2016   WABSH   1JJV281D5GL906032             MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133400   2016   WABSH   1JJV281D7GL906033             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133401   2016   WABSH   1JJV281D9GL906034             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133402   2016   WABSH   1JJV281D0GL906035             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133403   2016   WABSH   1JJV281D2GL906036             Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133404   2016   WABSH   1JJV281D4GL906037             KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133406   2016   WABSH   1JJV281D8GL906039             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133407   2016   WABSH   1JJV281D4GL906040             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133408   2016   WABSH   1JJV281D6GL906041             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133409   2016   WABSH   1JJV281D8GL906042             CA        Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133410   2016   WABSH   1JJV281DXGL906043             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133411   2016   WABSH   1JJV281D1GL906044             CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133412   2016   WABSH   1JJV281D3GL906045             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133413   2016   WABSH   1JJV281D5GL906046             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133414   2016   WABSH   1JJV281D7GL906047             MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133415   2016   WABSH   1JJV281D9GL906048             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133416   2016   WABSH   1JJV281D0GL906049             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133417   2016   WABSH   1JJV281D7GL906050             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133418   2016   WABSH   1JJV281D9GL906051             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133419   2016   WABSH   1JJV281D0GL906052             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133420   2016   WABSH   1JJV281D2GL906053             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133421   2016   WABSH   1JJV281D4GL906054             NY        Buffalo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133422   2016   WABSH   1JJV281D6GL906055             TX        Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133423   2016   WABSH   1JJV281D8GL906056             OH        Brooklyn
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 685 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133424   2016   WABSH   1JJV281DXGL906057             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133425   2016   WABSH   1JJV281D1GL906058             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133426   2016   WABSH   1JJV281D3GL906059             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133427   2016   WABSH   1JJV281DXGL906060             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133428   2016   WABSH   1JJV281D1GL906061             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133429   2016   WABSH   1JJV281D3GL906062             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133430   2016   WABSH   1JJV281D5GL906063             CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133431   2016   WABSH   1JJV281D7GL906064             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133432   2016   WABSH   1JJV281D9GL906065             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133433   2016   WABSH   1JJV281D0GL906066             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133434   2016   WABSH   1JJV281D2GL906067             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133435   2016   WABSH   1JJV281D4GL906068             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133436   2016   WABSH   1JJV281D6GL906069             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133437   2016   WABSH   1JJV281D2GL906070             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133438   2016   WABSH   1JJV281D4GL906071             CA        Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133439   2016   WABSH   1JJV281D6GL906072             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133440   2016   WABSH   1JJV281D8GL906073             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133441   2016   WABSH   1JJV281DXGL906074             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133442   2016   WABSH   1JJV281D1GL906075             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133443   2016   WABSH   1JJV281D3GL906076             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133444   2016   WABSH   1JJV281D5GL906077             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133445   2016   WABSH   1JJV281D7GL906078             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133446   2016   WABSH   1JJV281D9GL906079             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133447   2016   WABSH   1JJV281D5GL906080             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133448   2016   WABSH   1JJV281D7GL906081             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133449   2016   WABSH   1JJV281D9GL906082             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133451   2016   WABSH   1JJV281D2GL906084             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133452   2016   WABSH   1JJV281D4GL906085             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133453   2016   WABSH   1JJV281D6GL906086             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133454   2016   WABSH   1JJV281D8GL906087             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133455   2016   WABSH   1JJV281DXGL906088             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133456   2016   WABSH   1JJV281D1GL906089             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133457   2016   WABSH   1JJV281D8GL906090             PA        Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133458   2016   WABSH   1JJV281DXGL906091             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133459   2016   WABSH   1JJV281D1GL906092             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133460   2016   WABSH   1JJV281D3GL906093             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133461   2016   WABSH   1JJV281D5GL906094             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133462   2016   WABSH   1JJV281D7GL906095             AZ        Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133463   2016   WABSH   1JJV281D9GL906096             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133464   2016   WABSH   1JJV281D0GL906097             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133465   2016   WABSH   1JJV281D2GL906098             CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133466   2016   WABSH   1JJV281D4GL906099             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133467   2016   WABSH   1JJV281D7GL906100             NY        Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133468   2016   WABSH   1JJV281D9GL906101             AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133469   2016   WABSH   1JJV281D0GL906102             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133470   2016   WABSH   1JJV281D2GL906103             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133471   2016   WABSH   1JJV281D4GL906104             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133472   2016   WABSH   1JJV281D6GL906105             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133473   2016   WABSH   1JJV281D8GL906106             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133474   2016   WABSH   1JJV281DXGL906107             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133475   2016   WABSH   1JJV281D1GL906108             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133476   2016   WABSH   1JJV281D3GL906109             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133477   2016   WABSH   1JJV281DXGL906110             AZ        Lake Havasu City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133478   2016   WABSH   1JJV281D1GL906111             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133479   2016   WABSH   1JJV281D3GL906112             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133480   2016   WABSH   1JJV281D5GL906113             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133481   2016   WABSH   1JJV281D7GL906114             PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133482   2016   WABSH   1JJV281D9GL906115             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133483   2016   WABSH   1JJV281D0GL906116             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133484   2016   WABSH   1JJV281D2GL906117             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133485   2016   WABSH   1JJV281D4GL906118             VA        Christiansburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133486   2016   WABSH   1JJV281D6GL906119             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133487   2016   WABSH   1JJV281D2GL906120             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133489   2016   WABSH   1JJV281D6GL906122             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133490   2016   WABSH   1JJV281D8GL906123             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133491   2016   WABSH   1JJV281DXGL906124             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133492   2016   WABSH   1JJV281D1GL906125             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133493   2016   WABSH   1JJV281D3GL906126             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133494   2016   WABSH   1JJV281D5GL906127             NE        Omaha
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 686 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133495   2016   WABSH   1JJV281D7GL906128             CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133496   2016   WABSH   1JJV281D9GL906129             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133497   2016   WABSH   1JJV281D5GL906130             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133498   2016   WABSH   1JJV281D7GL906131             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133499   2016   WABSH   1JJV281D9GL906132             AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133500   2016   WABSH   1JJV281D0GL906133             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133501   2016   WABSH   1JJV281D2GL906134             LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133502   2016   WABSH   1JJV281D4GL906135             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133503   2016   WABSH   1JJV281D6GL906136             MT        Great Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133504   2016   WABSH   1JJV281D8GL906137             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133505   2016   WABSH   1JJV281DXGL906138             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133506   2016   WABSH   1JJV281D1GL906139             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133507   2016   WABSH   1JJV281D8GL906140             PA        Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133508   2016   WABSH   1JJV281DXGL906141             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133509   2016   WABSH   1JJV281D1GL906142             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133510   2016   WABSH   1JJV281D3GL906143             CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133511   2016   WABSH   1JJV281D5GL906144             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133512   2016   WABSH   1JJV281D7GL906145             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133513   2016   WABSH   1JJV281D9GL906146             WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133514   2016   WABSH   1JJV281D0GL906147             PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133515   2016   WABSH   1JJV281D2GL906148             MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133516   2016   WABSH   1JJV281D4GL906149             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133517   2016   WABSH   1JJV281D0GL906150             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133518   2016   WABSH   1JJV281D2GL906151             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133519   2016   WABSH   1JJV281D4GL906152             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133520   2016   WABSH   1JJV281D6GL906153             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133521   2016   WABSH   1JJV281D8GL906154             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133522   2016   WABSH   1JJV281DXGL906155             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133523   2016   WABSH   1JJV281D1GL906156             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133524   2016   WABSH   1JJV281D3GL906157             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133525   2016   WABSH   1JJV281D5GL906158             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133526   2016   WABSH   1JJV281D7GL906159             MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133527   2016   WABSH   1JJV281D3GL906160             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133528   2016   WABSH   1JJV281D5GL906161             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133529   2016   WABSH   1JJV281D7GL906162             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133530   2016   WABSH   1JJV281D9GL906163             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133531   2016   WABSH   1JJV281D0GL906164             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133532   2016   WABSH   1JJV281D2GL906165             MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133533   2016   WABSH   1JJV281D4GL906166             SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133534   2016   WABSH   1JJV281D6GL906167             OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133535   2016   WABSH   1JJV281D8GL906168             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133536   2016   WABSH   1JJV281DXGL906169             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133537   2016   WABSH   1JJV281D6GL906170             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133538   2016   WABSH   1JJV281D8GL906171             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133540   2016   WABSH   1JJV281D1GL906173             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133541   2016   WABSH   1JJV281D3GL906174             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133542   2016   WABSH   1JJV281D5GL906175             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133543   2016   WABSH   1JJV281D7GL906176             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133544   2016   WABSH   1JJV281D9GL906177             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133545   2016   WABSH   1JJV281D0GL906178             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133546   2016   WABSH   1JJV281D2GL906179             NC        Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133547   2016   WABSH   1JJV281D9GL906180             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133548   2016   WABSH   1JJV281D0GL906181             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133549   2016   WABSH   1JJV281D2GL906182             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133550   2016   WABSH   1JJV281D4GL906183             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133551   2016   WABSH   1JJV281D6GL906184             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133552   2016   WABSH   1JJV281D8GL906185             MO        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133553   2016   WABSH   1JJV281DXGL906186             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133554   2016   WABSH   1JJV281D1GL906187             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133555   2016   WABSH   1JJV281D3GL906188             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133557   2016   WABSH   1JJV281D1GL906190             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133558   2016   WABSH   1JJV281D3GL906191             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133559   2016   WABSH   1JJV281D5GL906192             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133560   2016   WABSH   1JJV281D7GL906193             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133561   2016   WABSH   1JJV281D9GL906194             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133562   2016   WABSH   1JJV281D0GL906195             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133564   2016   WABSH   1JJV281D4GL906197             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133565   2016   WABSH   1JJV281D6GL906198             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133566   2016   WABSH   1JJV281D8GL906199             NY        Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 687 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133567   2016   WABSH   1JJV281D0GL906200             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133568   2016   WABSH   1JJV281D2GL906201             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133569   2016   WABSH   1JJV281D4GL906202             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133570   2016   WABSH   1JJV281D6GL906203             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133571   2016   WABSH   1JJV281D8GL906204             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133572   2016   WABSH   1JJV281DXGL906205             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133573   2016   WABSH   1JJV281D1GL906206             SD        Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133574   2016   WABSH   1JJV281D3GL906207             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133575   2016   WABSH   1JJV281D5GL906208             OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133577   2016   WABSH   1JJV281D3GL906210             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133578   2016   WABSH   1JJV281D5GL906211             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133579   2016   WABSH   1JJV281D7GL906212             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133580   2016   WABSH   1JJV281D9GL906213             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133581   2016   WABSH   1JJV281D0GL906214             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133582   2016   WABSH   1JJV281D2GL906215             IL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133583   2016   WABSH   1JJV281D4GL906216             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133584   2016   WABSH   1JJV281D6GL906217             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133585   2016   WABSH   1JJV281D8GL906218             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133586   2016   WABSH   1JJV281DXGL906219             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133587   2016   WABSH   1JJV281D6GL906220             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133588   2016   WABSH   1JJV281D8GL906221             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133589   2016   WABSH   1JJV281DXGL906222             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133590   2016   WABSH   1JJV281D1GL906223             CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133591   2016   WABSH   1JJV281D3GL906224             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133592   2016   WABSH   1JJV281D5GL906225             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133593   2016   WABSH   1JJV281D7GL906226             IL        Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133594   2016   WABSH   1JJV281D9GL906227             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133595   2016   WABSH   1JJV281D0GL906228             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133596   2016   WABSH   1JJV281D2GL906229             CO        Grand Junction
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133597   2016   WABSH   1JJV281D9GL906230             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133598   2016   WABSH   1JJV281D0GL906231             CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133599   2016   WABSH   1JJV281D2GL906232             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133600   2016   WABSH   1JJV281D4GL906233             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133601   2016   WABSH   1JJV281D6GL906234             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133602   2016   WABSH   1JJV281D8GL906235             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133603   2016   WABSH   1JJV281DXGL906236             OR        Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133604   2016   WABSH   1JJV281D1GL906237             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133605   2016   WABSH   1JJV281D3GL906238             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133606   2016   WABSH   1JJV281D5GL906239             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133607   2016   WABSH   1JJV281D1GL906240             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133608   2016   WABSH   1JJV281D3GL906241             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133609   2016   WABSH   1JJV281D5GL906242             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133610   2016   WABSH   1JJV281D7GL906243             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133611   2016   WABSH   1JJV281D9GL906244             MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133612   2016   WABSH   1JJV281D0GL906245             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133613   2016   WABSH   1JJV281D2GL906246             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133614   2016   WABSH   1JJV281D4GL906247             TX        Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133615   2016   WABSH   1JJV281D6GL906248             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133617   2016   WABSH   1JJV281D4GL906250             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133618   2016   WABSH   1JJV281D6GL906251             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133619   2016   WABSH   1JJV281D8GL906252             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133620   2016   WABSH   1JJV281DXGL906253             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133621   2016   WABSH   1JJV281D1GL906254             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133622   2016   WABSH   1JJV281D3GL906255             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133623   2016   WABSH   1JJV281D5GL906256             RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133624   2016   WABSH   1JJV281D7GL906257             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133625   2016   WABSH   1JJV281D9GL906258             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133626   2016   WABSH   1JJV281D0GL906259             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133627   2016   WABSH   1JJV281D7GL906260             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133628   2016   WABSH   1JJV281D9GL906261             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133629   2016   WABSH   1JJV281D0GL906262             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133630   2016   WABSH   1JJV281D2GL906263             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133631   2016   WABSH   1JJV281D4GL906264             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133632   2016   WABSH   1JJV281D6GL906265             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133633   2016   WABSH   1JJV281D8GL906266             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133634   2016   WABSH   1JJV281DXGL906267             MI        Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133635   2016   WABSH   1JJV281D1GL906268             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133636   2016   WABSH   1JJV281D3GL906269             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133638   2016   WABSH   1JJV281D1GL906271             UT        Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 688 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133639   2016   WABSH   1JJV281D3GL906272             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133641   2016   WABSH   1JJV281D7GL906274             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133642   2016   WABSH   1JJV281D9GL906275             CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133643   2016   WABSH   1JJV281D0GL906276             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133644   2016   WABSH   1JJV281D2GL906277             PA         Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133645   2016   WABSH   1JJV281D4GL906278             KY         Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133646   2016   WABSH   1JJV281D6GL906279             AR         Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133647   2016   WABSH   1JJV281D2GL906280             NJ         Jersey City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133648   2016   WABSH   1JJV281D4GL906281             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133649   2016   WABSH   1JJV281D6GL906282             MT         Billings
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133650   2016   WABSH   1JJV281D8GL906283             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133651   2016   WABSH   1JJV281DXGL906284             OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133652   2016   WABSH   1JJV281D1GL906285             IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133653   2016   WABSH   1JJV281D3GL906286             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133654   2016   WABSH   1JJV281D5GL906287             NH         Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133655   2016   WABSH   1JJV281D7GL906288             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133656   2016   WABSH   1JJV281D9GL906289             NE         Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133657   2016   WABSH   1JJV281D5GL906290             SD         Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133658   2016   WABSH   1JJV281D7GL906291             CA         Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133660   2016   WABSH   1JJV281D0GL906293             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133662   2016   WABSH   1JJV281D4GL906295             OH         Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133663   2016   WABSH   1JJV281D6GL906296             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133664   2016   WABSH   1JJV281D8GL906297             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133665   2016   WABSH   1JJV281DXGL906298             AR         Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133666   2016   WABSH   1JJV281D1GL906299             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133667   2016   WABSH   1JJV281D4GL906300             TX         San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133668   2016   WABSH   1JJV281D6GL906301             OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133669   2016   WABSH   1JJV281D8GL906302             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133670   2016   WABSH   1JJV281DXGL906303             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133671   2016   WABSH   1JJV281D1GL906304             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133672   2016   WABSH   1JJV281D3GL906305             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133673   2016   WABSH   1JJV281D5GL906306             CO         Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133674   2016   WABSH   1JJV281D7GL906307             TN         Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133675   2016   WABSH   1JJV281D9GL906308             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133676   2016   WABSH   1JJV281D0GL906309             PA         Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133677   2016   WABSH   1JJV281D7GL906310             CA         Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133678   2016   WABSH   1JJV281D9GL906311             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133679   2016   WABSH   1JJV281D0GL906312             WA         Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133680   2016   WABSH   1JJV281D2GL906313             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133681   2016   WABSH   1JJV281D4GL906314             IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133682   2016   WABSH   1JJV281D6GL906315             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133683   2016   WABSH   1JJV281D8GL906316             WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133684   2016   WABSH   1JJV281DXGL906317             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133685   2016   WABSH   1JJV281D1GL906318             MI         Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133687   2016   WABSH   1JJV281DXGL906320             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133688   2016   WABSH   1JJV281D1GL906321             SC         North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133689   2016   WABSH   1JJV281D3GL906322             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133690   2016   WABSH   1JJV281D5GL906323             IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133691   2016   WABSH   1JJV281D7GL906324             OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133692   2016   WABSH   1JJV281D9GL906325             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133693   2016   WABSH   1JJV281D0GL906326             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133694   2016   WABSH   1JJV281D2GL906327             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133695   2016   WABSH   1JJV281D4GL906328             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133696   2016   WABSH   1JJV281D6GL906329             NC         Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133697   2016   WABSH   1JJV281D2GL906330             IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133698   2016   WABSH   1JJV281D4GL906331             RI         Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133699   2016   WABSH   1JJV281D6GL906332             TX         Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133700   2016   WABSH   1JJV281D8GL906333             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133701   2016   WABSH   1JJV281DXGL906334             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133702   2016   WABSH   1JJV281D1GL906335             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133703   2016   WABSH   1JJV281D3GL906336             Ontario    Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133704   2016   WABSH   1JJV281D5GL906337             CA         San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133705   2016   WABSH   1JJV281D7GL906338             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133706   2016   WABSH   1JJV281D9GL906339             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133707   2016   WABSH   1JJV281D5GL906340             CA         Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133708   2016   WABSH   1JJV281D7GL906341             VA         Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133709   2016   WABSH   1JJV281D9GL906342             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133710   2016   WABSH   1JJV281D0GL906343             TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133711   2016   WABSH   1JJV281D2GL906344             MT         Great Falls
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 689 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133712   2017   WABSH   1JJV281D6HL985843             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133713   2017   WABSH   1JJV281D8HL985844             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133714   2017   WABSH   1JJV281DXHL985845             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133715   2017   WABSH   1JJV281D1HL985846             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133716   2017   WABSH   1JJV281D3HL985847             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133717   2017   WABSH   1JJV281D5HL985848             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133718   2017   WABSH   1JJV281D7HL985849             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133719   2017   WABSH   1JJV281D3HL985850             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133720   2017   WABSH   1JJV281D5HL985851             IA      Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133721   2017   WABSH   1JJV281D7HL985852             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133722   2017   WABSH   1JJV281D9HL985853             NV      Elko
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133723   2017   WABSH   1JJV281D0HL985854             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133724   2017   WABSH   1JJV281D2HL985855             VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133725   2017   WABSH   1JJV281D4HL985856             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133726   2017   WABSH   1JJV281D6HL985857             CA      Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133727   2017   WABSH   1JJV281D8HL985858             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133728   2017   WABSH   1JJV281DXHL985859             WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133729   2017   WABSH   1JJV281D6HL985860             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133730   2017   WABSH   1JJV281D8HL985861             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133731   2017   WABSH   1JJV281DXHL985862             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133732   2017   WABSH   1JJV281D1HL985863             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133733   2017   WABSH   1JJV281D3HL985864             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133734   2017   WABSH   1JJV281D5HL985865             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133735   2017   WABSH   1JJV281D7HL985866             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133736   2017   WABSH   1JJV281D9HL985867             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133737   2017   WABSH   1JJV281D0HL985868             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133738   2017   WABSH   1JJV281D2HL985869             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133739   2017   WABSH   1JJV281D9HL985870             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133740   2017   WABSH   1JJV281D0HL985871             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133741   2017   WABSH   1JJV281D2HL985872             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133742   2017   WABSH   1JJV281D4HL985873             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133743   2017   WABSH   1JJV281D6HL985874             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133744   2017   WABSH   1JJV281D8HL985875             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133745   2017   WABSH   1JJV281DXHL985876             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133746   2017   WABSH   1JJV281D1HL985877             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133747   2017   WABSH   1JJV281D3HL985878             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133748   2017   WABSH   1JJV281D5HL985879             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133750   2017   WABSH   1JJV281D3HL985881             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133751   2017   WABSH   1JJV281D5HL985882             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133752   2017   WABSH   1JJV281D7HL985883             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133753   2017   WABSH   1JJV281D9HL985884             MA      North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133754   2017   WABSH   1JJV281D0HL985885             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133755   2017   WABSH   1JJV281D2HL985886             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133756   2017   WABSH   1JJV281D4HL985887             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133757   2017   WABSH   1JJV281D6HL985888             WV      Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133758   2017   WABSH   1JJV281D8HL985889             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133759   2017   WABSH   1JJV281D4HL985890             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133760   2017   WABSH   1JJV281D6HL985891             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133761   2017   WABSH   1JJV281D8HL985892             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133762   2017   WABSH   1JJV281DXHL985893             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133763   2017   WABSH   1JJV281D1HL985894             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133764   2017   WABSH   1JJV281D3HL985895             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133765   2017   WABSH   1JJV281D5HL985896             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133766   2017   WABSH   1JJV281D7HL985897             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133767   2017   WABSH   1JJV281D9HL985898             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133768   2017   WABSH   1JJV281D0HL985899             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133769   2017   WABSH   1JJV281D3HL985900             TX      Austin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133770   2017   WABSH   1JJV281D5HL985901             MN      Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133771   2017   WABSH   1JJV281D7HL985902             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133772   2017   WABSH   1JJV281D9HL985903             NY      Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133773   2017   WABSH   1JJV281D0HL985904             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133774   2017   WABSH   1JJV281D2HL985905             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133775   2017   WABSH   1JJV281D4HL985906             VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133776   2017   WABSH   1JJV281D6HL985907             MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133777   2017   WABSH   1JJV281D8HL985908             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133778   2017   WABSH   1JJV281DXHL985909             GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133779   2017   WABSH   1JJV281D6HL985910             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133780   2017   WABSH   1JJV281D8HL985911             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133781   2017   WABSH   1JJV281DXHL985912             NY      Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 690 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133782   2017   WABSH   1JJV281D1HL985913             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133783   2017   WABSH   1JJV281D3HL985914             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133784   2017   WABSH   1JJV281D5HL985915             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133785   2017   WABSH   1JJV281D7HL985916             Ontario   Woodstock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133786   2017   WABSH   1JJV281D9HL985917             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133787   2017   WABSH   1JJV281D0HL985918             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133788   2017   WABSH   1JJV281D2HL985919             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133789   2017   WABSH   1JJV281D9HL985920             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133790   2017   WABSH   1JJV281D0HL985921             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133791   2017   WABSH   1JJV281D2HL985922             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133792   2017   WABSH   1JJV281D4HL985923             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133793   2017   WABSH   1JJV281D6HL985924             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133794   2017   WABSH   1JJV281D8HL985925             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133795   2017   WABSH   1JJV281DXHL985926             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133796   2017   WABSH   1JJV281D1HL985927             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133797   2017   WABSH   1JJV281D3HL985928             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133798   2017   WABSH   1JJV281D5HL985929             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133799   2017   WABSH   1JJV281D1HL985930             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133800   2017   WABSH   1JJV281D3HL985931             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133801   2017   WABSH   1JJV281D5HL985932             AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133802   2017   WABSH   1JJV281D7HL985933             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133803   2017   WABSH   1JJV281D9HL985934             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133804   2017   WABSH   1JJV281D0HL985935             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133805   2017   WABSH   1JJV281D2HL985936             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133806   2017   WABSH   1JJV281D4HL985937             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133808   2017   WABSH   1JJV281D8HL985939             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133809   2017   WABSH   1JJV281D4HL985940             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133810   2017   WABSH   1JJV281D6HL985941             CA        Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133811   2017   WABSH   1JJV281D8HL985942             LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133812   2017   WABSH   1JJV281DXHL985943             ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133813   2017   WABSH   1JJV281D1HL985944             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133814   2017   WABSH   1JJV281D3HL985945             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133815   2017   WABSH   1JJV281D5HL985946             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133817   2017   WABSH   1JJV281D9HL985948             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133818   2017   WABSH   1JJV281D0HL985949             WA        Union Gap
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133819   2017   WABSH   1JJV281D7HL985950             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133820   2017   WABSH   1JJV281D9HL985951             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133821   2017   WABSH   1JJV281D0HL985952             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133822   2017   WABSH   1JJV281D2HL985953             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133823   2017   WABSH   1JJV281D4HL985954             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133824   2017   WABSH   1JJV281D6HL985955             MT        Missoula
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133825   2017   WABSH   1JJV281D8HL985956             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133826   2017   WABSH   1JJV281DXHL985957             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133827   2017   WABSH   1JJV281D1HL985958             GA        Richmond Hill
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133828   2017   WABSH   1JJV281D3HL985959             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133829   2017   WABSH   1JJV281DXHL985960             IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133830   2017   WABSH   1JJV281D1HL985961             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133831   2017   WABSH   1JJV281D3HL985962             KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133832   2017   WABSH   1JJV281D5HL985963             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133833   2017   WABSH   1JJV281D7HL985964             CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133834   2017   WABSH   1JJV281D9HL985965             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133835   2017   WABSH   1JJV281D0HL985966             ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133836   2017   WABSH   1JJV281D2HL985967             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133837   2017   WABSH   1JJV281D4HL985968             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133838   2017   WABSH   1JJV281D6HL985969             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133839   2017   WABSH   1JJV281D2HL985970             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133840   2017   WABSH   1JJV281D4HL985971             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133841   2017   WABSH   1JJV281D6HL985972             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133842   2017   WABSH   1JJV281D8HL985973             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133844   2017   WABSH   1JJV281D1HL985975             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133845   2017   WABSH   1JJV281D3HL985976             LA        New Orleans
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133846   2017   WABSH   1JJV281D5HL985977             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133847   2017   WABSH   1JJV281D7HL985978             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133848   2017   WABSH   1JJV281D9HL985979             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133849   2017   WABSH   1JJV281D5HL985980             CA        Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133850   2017   WABSH   1JJV281D7HL985981             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133851   2017   WABSH   1JJV281D9HL985982             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133852   2017   WABSH   1JJV281D0HL985983             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133853   2017   WABSH   1JJV281D2HL985984             PA        Mountain Top
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 691 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133854   2017   WABSH   1JJV281D4HL985985             UT        St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133855   2017   WABSH   1JJV281D6HL985986             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133856   2017   WABSH   1JJV281D8HL985987             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133857   2017   WABSH   1JJV281DXHL985988             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133858   2017   WABSH   1JJV281D1HL985989             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133860   2017   WABSH   1JJV281DXHL985991             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133861   2017   WABSH   1JJV281D1HL985992             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133862   2017   WABSH   1JJV281D3HL985993             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133863   2017   WABSH   1JJV281D5HL985994             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133864   2017   WABSH   1JJV281D7HL985995             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133865   2017   WABSH   1JJV281D9HL985996             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133866   2017   WABSH   1JJV281D0HL985997             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133867   2017   WABSH   1JJV281D2HL985998             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133868   2017   WABSH   1JJV281D4HL985999             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133870   2017   WABSH   1JJV281D7HL986001             IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133871   2017   WABSH   1JJV281D9HL986002             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133872   2017   WABSH   1JJV281D0HL986003             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133873   2017   WABSH   1JJV281D2HL986004             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133874   2017   WABSH   1JJV281D4HL986005             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133876   2017   WABSH   1JJV281D8HL986007             IL        McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133877   2017   WABSH   1JJV281DXHL986008             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133878   2017   WABSH   1JJV281D1HL986009             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133879   2017   WABSH   1JJV281D8HL986010             KS        Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133880   2017   WABSH   1JJV281DXHL986011             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133881   2017   WABSH   1JJV281D1HL986012             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133882   2017   WABSH   1JJV281D3HL986013             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133883   2017   WABSH   1JJV281D5HL986014             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133884   2017   WABSH   1JJV281D7HL986015             WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133885   2017   WABSH   1JJV281D9HL986016             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133886   2017   WABSH   1JJV281D0HL986017             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133887   2017   WABSH   1JJV281D2HL986018             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133888   2017   WABSH   1JJV281D4HL986019             OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133889   2017   WABSH   1JJV281D0HL986020             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133890   2017   WABSH   1JJV281D2HL986021             TN        Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133891   2017   WABSH   1JJV281D4HL986022             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133892   2017   WABSH   1JJV281D6HL986023             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133893   2017   WABSH   1JJV281D8HL986024             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133894   2017   WABSH   1JJV281DXHL986025             Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133895   2017   WABSH   1JJV281D1HL986026             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133896   2017   WABSH   1JJV281D3HL986027             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133897   2017   WABSH   1JJV281D5HL986028             ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133898   2017   WABSH   1JJV281D7HL986029             IL        McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133899   2017   WABSH   1JJV281D3HL986030             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133900   2017   WABSH   1JJV281D5HL986031             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133901   2017   WABSH   1JJV281D7HL986032             MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133902   2017   WABSH   1JJV281D9HL986033             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133903   2017   WABSH   1JJV281D0HL986034             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133904   2017   WABSH   1JJV281D2HL986035             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133905   2017   WABSH   1JJV281D4HL986036             MT        Billings
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133906   2017   WABSH   1JJV281D6HL986037             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133907   2017   WABSH   1JJV281D8HL986038             GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133908   2017   WABSH   1JJV281DXHL986039             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133909   2017   WABSH   1JJV281D6HL986040             VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133910   2017   WABSH   1JJV281D8HL986041             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133911   2017   WABSH   1JJV281DXHL986042             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133912   2017   WABSH   1JJV281D1HL986043             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133913   2017   WABSH   1JJV281D3HL986044             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133914   2017   WABSH   1JJV281D5HL986045             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133915   2017   WABSH   1JJV281D7HL986046             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133916   2017   WABSH   1JJV281D9HL986047             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133917   2017   WABSH   1JJV281D0HL986048             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133918   2017   WABSH   1JJV281D2HL986049             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133919   2017   WABSH   1JJV281D9HL986050             PA        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133920   2017   WABSH   1JJV281D0HL986051             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133921   2017   WABSH   1JJV281D2HL986052             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133922   2017   WABSH   1JJV281D4HL986053             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133923   2017   WABSH   1JJV281D6HL986054             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133924   2017   WABSH   1JJV281D8HL986055             IL        Atlanta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133925   2017   WABSH   1JJV281DXHL986056             CA        Tracy
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 692 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133926   2017   WABSH   1JJV281D1HL986057             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133927   2017   WABSH   1JJV281D3HL986058             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133928   2017   WABSH   1JJV281D5HL986059             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133929   2017   WABSH   1JJV281D1HL986060             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133930   2017   WABSH   1JJV281D3HL986061             PA        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133931   2017   WABSH   1JJV281D5HL986062             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133932   2017   WABSH   1JJV281D7HL986063             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133933   2017   WABSH   1JJV281D9HL986064             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133934   2017   WABSH   1JJV281D0HL986065             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133935   2017   WABSH   1JJV281D2HL986066             NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133936   2017   WABSH   1JJV281D4HL986067             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133937   2017   WABSH   1JJV281D6HL986068             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133938   2017   WABSH   1JJV281D8HL986069             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133939   2017   WABSH   1JJV281D4HL986070             GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133940   2017   WABSH   1JJV281D6HL986071             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133941   2017   WABSH   1JJV281D8HL986072             VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133942   2017   WABSH   1JJV281DXHL986073             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133943   2017   WABSH   1JJV281D1HL986074             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133944   2017   WABSH   1JJV281D3HL986075             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133945   2017   WABSH   1JJV281D5HL986076             MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133946   2017   WABSH   1JJV281D7HL986077             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133947   2017   WABSH   1JJV281D9HL986078             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133948   2017   WABSH   1JJV281D0HL986079             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133949   2017   WABSH   1JJV281D7HL986080             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133950   2017   WABSH   1JJV281D9HL986081             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133951   2017   WABSH   1JJV281D0HL986082             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133952   2017   WABSH   1JJV281D2HL986083             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133953   2017   WABSH   1JJV281D4HL986084             PA        Erie
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133954   2017   WABSH   1JJV281D6HL986085             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133955   2017   WABSH   1JJV281D8HL986086             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133956   2017   WABSH   1JJV281DXHL986087             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133957   2017   WABSH   1JJV281D1HL986088             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133958   2017   WABSH   1JJV281D3HL986089             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133959   2017   WABSH   1JJV281DXHL986090             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133960   2017   WABSH   1JJV281D1HL986091             KS        Garden City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133961   2017   WABSH   1JJV281D3HL986092             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133962   2017   WABSH   1JJV281D5HL986093             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133963   2017   WABSH   1JJV281D7HL986094             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133964   2017   WABSH   1JJV281D9HL986095             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133965   2017   WABSH   1JJV281D0HL986096             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133967   2017   WABSH   1JJV281D4HL986098             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133968   2017   WABSH   1JJV281D6HL986099             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133969   2017   WABSH   1JJV281D9HL986100             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133970   2017   WABSH   1JJV281D0HL986101             CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133971   2017   WABSH   1JJV281D2HL986102             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133972   2017   WABSH   1JJV281D4HL986103             CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133973   2017   WABSH   1JJV281D6HL986104             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133974   2017   WABSH   1JJV281D8HL986105             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133975   2017   WABSH   1JJV281DXHL986106             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133976   2017   WABSH   1JJV281D1HL986107             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133977   2017   WABSH   1JJV281D3HL986108             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133978   2017   WABSH   1JJV281D5HL986109             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133979   2017   WABSH   1JJV281D1HL986110             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133980   2017   WABSH   1JJV281D3HL986111             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133981   2017   WABSH   1JJV281D5HL986112             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133982   2017   WABSH   1JJV281D7HL986113             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133983   2017   WABSH   1JJV281D9HL986114             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133984   2017   WABSH   1JJV281D0HL986115             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133985   2017   WABSH   1JJV281D2HL986116             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133986   2017   WABSH   1JJV281D4HL986117             OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133987   2017   WABSH   1JJV281D6HL986118             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133988   2017   WABSH   1JJV281D8HL986119             PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133989   2017   WABSH   1JJV281D4HL986120             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133990   2017   WABSH   1JJV281D6HL986121             NJ        Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133991   2017   WABSH   1JJV281D8HL986122             NJ        Jersey City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133992   2017   WABSH   1JJV281DXHL986123             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133993   2017   WABSH   1JJV281D1HL986124             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133994   2017   WABSH   1JJV281D3HL986125             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133995   2017   WABSH   1JJV281D5HL986126             FL        Jacksonville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 693 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133996   2017   WABSH   1JJV281D7HL986127             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133997   2017   WABSH   1JJV281D9HL986128             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133998   2017   WABSH   1JJV281D0HL986129             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY133999   2017   WABSH   1JJV281D7HL986130             IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134000   2017   WABSH   1JJV281D9HL986131             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134001   2017   WABSH   1JJV281D0HL986132             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134002   2017   WABSH   1JJV281D2HL986133             ND      Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134003   2017   WABSH   1JJV281D4HL986134             IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134004   2017   WABSH   1JJV281D6HL986135             GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134005   2017   WABSH   1JJV281D8HL986136             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134006   2017   WABSH   1JJV281DXHL986137             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134007   2017   WABSH   1JJV281D1HL986138             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134008   2017   WABSH   1JJV281D3HL986139             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134009   2017   WABSH   1JJV281DXHL986140             MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134010   2017   WABSH   1JJV281D1HL986141             CA      Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134011   2017   WABSH   1JJV281D3HL986142             CA      Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134012   2017   WABSH   1JJV281D5HL986143             NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134013   2017   WABSH   1JJV281D7HL986144             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134014   2017   WABSH   1JJV281D9HL986145             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134015   2017   WABSH   1JJV281D0HL986146             PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134016   2017   WABSH   1JJV281D2HL986147             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134017   2017   WABSH   1JJV281D4HL986148             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134018   2017   WABSH   1JJV281D6HL986149             WV      Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134019   2017   WABSH   1JJV281D2HL986150             ND      Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134020   2017   WABSH   1JJV281D4HL986151             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134021   2017   WABSH   1JJV281D6HL986152             WA      Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134022   2017   WABSH   1JJV281D8HL986153             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134023   2017   WABSH   1JJV281DXHL986154             NY      Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134024   2017   WABSH   1JJV281D1HL986155             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134025   2017   WABSH   1JJV281D3HL986156             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134026   2017   WABSH   1JJV281D5HL986157             SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134027   2017   WABSH   1JJV281D7HL986158             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134028   2017   WABSH   1JJV281D9HL986159             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134029   2017   WABSH   1JJV281D5HL986160             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134030   2017   WABSH   1JJV281D7HL986161             OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134031   2017   WABSH   1JJV281D9HL986162             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134032   2017   WABSH   1JJV281D0HL986163             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134033   2017   WABSH   1JJV281D2HL986164             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134034   2017   WABSH   1JJV281D4HL986165             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134035   2017   WABSH   1JJV281D6HL986166             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134036   2017   WABSH   1JJV281D8HL986167             NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134037   2017   WABSH   1JJV281DXHL986168             OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134038   2017   WABSH   1JJV281D1HL986169             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134039   2017   WABSH   1JJV281D8HL986170             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134040   2017   WABSH   1JJV281DXHL986171             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134041   2017   WABSH   1JJV281D1HL986172             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134042   2017   WABSH   1JJV281D3HL986173             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134043   2017   WABSH   1JJV281D5HL986174             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134044   2017   WABSH   1JJV281D7HL986175             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134045   2017   WABSH   1JJV281D9HL986176             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134046   2017   WABSH   1JJV281D0HL986177             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134047   2017   WABSH   1JJV281D2HL986178             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134048   2017   WABSH   1JJV281D4HL986179             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134049   2017   WABSH   1JJV281D0HL986180             IL      McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134050   2017   WABSH   1JJV281D2HL986181             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134051   2017   WABSH   1JJV281D4HL986182             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134052   2017   WABSH   1JJV281D6HL986183             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134053   2017   WABSH   1JJV281D8HL986184             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134054   2017   WABSH   1JJV281DXHL986185             OH      Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134055   2017   WABSH   1JJV281D1HL986186             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134056   2017   WABSH   1JJV281D3HL986187             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134057   2017   WABSH   1JJV281D5HL986188             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134058   2017   WABSH   1JJV281D7HL986189             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134059   2017   WABSH   1JJV281D3HL986190             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134060   2017   WABSH   1JJV281D5HL986191             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134061   2017   WABSH   1JJV281D7HL986192             CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134062   2017   WABSH   1JJV281D9HL986193             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134063   2017   WABSH   1JJV281D0HL986194             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134064   2017   WABSH   1JJV281D2HL986195             NC      Charlotte
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 694 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134065   2017   WABSH   1JJV281D4HL986196             AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134066   2017   WABSH   1JJV281D6HL986197             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134067   2017   WABSH   1JJV281D8HL986198             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134068   2017   WABSH   1JJV281DXHL986199             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134069   2017   WABSH   1JJV281D2HL986200             NC        Fayetteville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134070   2017   WABSH   1JJV281D4HL986201             LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134071   2017   WABSH   1JJV281D6HL986202             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134072   2017   WABSH   1JJV281D8HL986203             CO        Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134073   2017   WABSH   1JJV281DXHL986204             CA        Santa Rosa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134074   2017   WABSH   1JJV281D1HL986205             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134075   2017   WABSH   1JJV281D3HL986206             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134076   2017   WABSH   1JJV281D5HL986207             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134077   2017   WABSH   1JJV281D7HL986208             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134078   2017   WABSH   1JJV281D9HL986209             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134079   2017   WABSH   1JJV281D5HL986210             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134080   2017   WABSH   1JJV281D7HL986211             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134081   2017   WABSH   1JJV281D9HL986212             VA        Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134082   2017   WABSH   1JJV281D0HL986213             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134083   2017   WABSH   1JJV281D2HL986214             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134084   2017   WABSH   1JJV281D4HL986215             WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134085   2017   WABSH   1JJV281D6HL986216             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134086   2017   WABSH   1JJV281D8HL986217             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134087   2017   WABSH   1JJV281DXHL986218             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134088   2017   WABSH   1JJV281D1HL986219             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134089   2017   WABSH   1JJV281D8HL986220             UT        St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134090   2017   WABSH   1JJV281DXHL986221             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134091   2017   WABSH   1JJV281D1HL986222             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134093   2017   WABSH   1JJV281D5HL986224             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134094   2017   WABSH   1JJV281D7HL986225             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134095   2017   WABSH   1JJV281D9HL986226             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134096   2017   WABSH   1JJV281D0HL986227             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134097   2017   WABSH   1JJV281D2HL986228             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134098   2017   WABSH   1JJV281D4HL986229             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134099   2017   WABSH   1JJV281D0HL986230             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134100   2017   WABSH   1JJV281D2HL986231             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134101   2017   WABSH   1JJV281D4HL986232             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134102   2017   WABSH   1JJV281D6HL986233             CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134103   2017   WABSH   1JJV281D8HL986234             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134104   2017   WABSH   1JJV281DXHL986235             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134105   2017   WABSH   1JJV281D1HL986236             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134106   2017   WABSH   1JJV281D3HL986237             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134107   2017   WABSH   1JJV281D5HL986238             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134108   2017   WABSH   1JJV281D7HL986239             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134109   2017   WABSH   1JJV281D3HL986240             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134110   2017   WABSH   1JJV281D5HL986241             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134111   2017   WABSH   1JJV281D7HL986242             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134112   2017   WABSH   1JJV281D9HL986243             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134113   2017   WABSH   1JJV281D0HL986244             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134114   2017   WABSH   1JJV281D2HL986245             NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134115   2017   WABSH   1JJV281D4HL986246             MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134116   2017   WABSH   1JJV281D6HL986247             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134117   2017   WABSH   1JJV281D8HL986248             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134118   2017   WABSH   1JJV281DXHL986249             CO        Denver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134119   2017   WABSH   1JJV281D6HL986250             OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134120   2017   WABSH   1JJV281D8HL986251             GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134121   2017   WABSH   1JJV281DXHL986252             PA        Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134122   2017   WABSH   1JJV281D1HL986253             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134123   2017   WABSH   1JJV281D3HL986254             ND        Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134124   2017   WABSH   1JJV281D5HL986255             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134125   2017   WABSH   1JJV281D7HL986256             NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134126   2017   WABSH   1JJV281D9HL986257             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134127   2017   WABSH   1JJV281D0HL986258             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134128   2017   WABSH   1JJV281D2HL986259             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134129   2017   WABSH   1JJV281D9HL986260             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134130   2017   WABSH   1JJV281D0HL986261             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134131   2017   WABSH   1JJV281D2HL986262             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134132   2017   WABSH   1JJV281D4HL986263             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134133   2017   WABSH   1JJV281D6HL986264             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134134   2017   WABSH   1JJV281D8HL986265             NJ        Kearny
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 695 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134135   2017   WABSH   1JJV281DXHL986266             TX      Abilene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134136   2017   WABSH   1JJV281D1HL986267             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134137   2017   WABSH   1JJV281D3HL986268             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134138   2017   WABSH   1JJV281D5HL986269             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134139   2017   WABSH   1JJV281D1HL986270             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134140   2017   WABSH   1JJV281D3HL986271             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134141   2017   WABSH   1JJV281D5HL986272             CA      Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134142   2017   WABSH   1JJV281D7HL986273             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134143   2017   WABSH   1JJV281D9HL986274             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134144   2017   WABSH   1JJV281D0HL986275             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134145   2017   WABSH   1JJV281D2HL986276             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134146   2017   WABSH   1JJV281D4HL986277             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134147   2017   WABSH   1JJV281D6HL986278             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134148   2017   WABSH   1JJV281D8HL986279             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134149   2017   WABSH   1JJV281D4HL986280             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134150   2017   WABSH   1JJV281D6HL986281             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134151   2017   WABSH   1JJV281D8HL986282             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134152   2017   WABSH   1JJV281DXHL986283             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134153   2017   WABSH   1JJV281D1HL986284             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134154   2017   WABSH   1JJV281D3HL986285             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134155   2017   WABSH   1JJV281D5HL986286             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134156   2017   WABSH   1JJV281D7HL986287             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134157   2017   WABSH   1JJV281D9HL986288             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134158   2017   WABSH   1JJV281D0HL986289             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134159   2017   WABSH   1JJV281D7HL986290             CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134160   2017   WABSH   1JJV281D9HL986291             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134161   2017   WABSH   1JJV281D0HL986292             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134162   2017   WABSH   1JJV281D2HL986293             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134163   2017   WABSH   1JJV281D4HL986294             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134164   2017   WABSH   1JJV281D6HL986295             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134165   2017   WABSH   1JJV281D8HL986296             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134167   2017   WABSH   1JJV281D1HL986298             CA      Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134168   2017   WABSH   1JJV281D3HL986299             VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134169   2017   WABSH   1JJV281D6HL986300             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134170   2017   WABSH   1JJV281D8HL986301             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134171   2017   WABSH   1JJV281DXHL986302             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134172   2017   WABSH   1JJV281D1HL986303             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134173   2017   WABSH   1JJV281D3HL986304             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134174   2017   WABSH   1JJV281D5HL986305             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134175   2017   WABSH   1JJV281D7HL986306             NJ      Jersey City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134176   2017   WABSH   1JJV281D9HL986307             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134177   2017   WABSH   1JJV281D0HL986308             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134178   2017   WABSH   1JJV281D2HL986309             TX      McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134179   2017   WABSH   1JJV281D9HL986310             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134180   2017   WABSH   1JJV281D0HL986311             KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134181   2017   WABSH   1JJV281D2HL986312             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134182   2017   WABSH   1JJV281D4HL986313             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134183   2017   WABSH   1JJV281D6HL986314             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134184   2017   WABSH   1JJV281D8HL986315             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134185   2017   WABSH   1JJV281DXHL986316             TX      Austin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134186   2017   WABSH   1JJV281D1HL986317             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134187   2017   WABSH   1JJV281D3HL986318             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134188   2017   WABSH   1JJV281D5HL986319             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134189   2017   WABSH   1JJV281D1HL986320             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134190   2017   WABSH   1JJV281D3HL986321             VT      Bellows Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134191   2017   WABSH   1JJV281D5HL986322             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134192   2017   WABSH   1JJV281D7HL986323             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134193   2017   WABSH   1JJV281D9HL986324             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134194   2017   WABSH   1JJV281D0HL986325             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134195   2017   WABSH   1JJV281D2HL986326             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134196   2017   WABSH   1JJV281D4HL986327             NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134197   2017   WABSH   1JJV281D6HL986328             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134198   2017   WABSH   1JJV281D8HL986329             ND      Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134199   2017   WABSH   1JJV281D4HL986330             KS      Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134200   2017   WABSH   1JJV281D6HL986331             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134201   2017   WABSH   1JJV281D8HL986332             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134202   2017   WABSH   1JJV281DXHL986333             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134203   2017   WABSH   1JJV281D1HL986334             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134204   2017   WABSH   1JJV281D3HL986335             NV      Sparks
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 696 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134205   2017   WABSH   1JJV281D5HL986336             CA             Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134206   2017   WABSH   1JJV281D7HL986337             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134207   2017   WABSH   1JJV281D9HL986338             Saskatchewan   Saskatoon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134208   2017   WABSH   1JJV281D0HL986339             DE             New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134209   2017   WABSH   1JJV281D7HL986340             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134210   2017   WABSH   1JJV281D9HL986341             MD             Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134211   2017   WABSH   1JJV281D0HL986342             NJ             South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134212   2017   WABSH   1JJV281D2HL986343             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134213   2017   WABSH   1JJV281D4HL986344             CA             Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134214   2017   WABSH   1JJV281D6HL986345             TX             Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134215   2017   WABSH   1JJV281D8HL986346             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134216   2017   WABSH   1JJV281DXHL986347             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134217   2017   WABSH   1JJV281D1HL986348             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134218   2017   WABSH   1JJV281D3HL986349             ND             Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134219   2017   WABSH   1JJV281DXHL986350             NY             East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134220   2017   WABSH   1JJV281D1HL986351             IL             Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134221   2017   WABSH   1JJV281D3HL986352             MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134222   2017   WABSH   1JJV281D5HL986353             NJ             South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134223   2017   WABSH   1JJV281D7HL986354             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134224   2017   WABSH   1JJV281D9HL986355             OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134225   2017   WABSH   1JJV281D0HL986356             VA             Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134226   2017   WABSH   1JJV281D2HL986357             NY             Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134227   2017   WABSH   1JJV281D4HL986358             NY             Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134228   2017   WABSH   1JJV281D6HL986359             MI             Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134229   2017   WABSH   1JJV281D2HL986360             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134230   2017   WABSH   1JJV281D4HL986361             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134231   2017   WABSH   1JJV281D6HL986362             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134232   2017   WABSH   1JJV281D8HL986363             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134233   2017   WABSH   1JJV281DXHL986364             KY             Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134234   2017   WABSH   1JJV281D1HL986365             MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134235   2017   WABSH   1JJV281D3HL986366             NY             East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134236   2017   WABSH   1JJV281D5HL986367             FL             Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134237   2017   WABSH   1JJV281D7HL986368             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134238   2017   WABSH   1JJV281D9HL986369             MD             Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134239   2017   WABSH   1JJV281D5HL986370             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134240   2017   WABSH   1JJV281D7HL986371             WA             Bellingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134241   2017   WABSH   1JJV281D9HL986372             TX             Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134242   2017   WABSH   1JJV281D0HL986373             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134243   2017   WABSH   1JJV281D2HL986374             PA             Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134244   2017   WABSH   1JJV281D4HL986375             TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134245   2017   WABSH   1JJV281D6HL986376             FL             Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134246   2017   WABSH   1JJV281D8HL986377             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134247   2017   WABSH   1JJV281DXHL986378             OR             Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134248   2017   WABSH   1JJV281D1HL986379             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134249   2017   WABSH   1JJV281D8HL986380             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134250   2017   WABSH   1JJV281DXHL986381             TX             Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134251   2017   WABSH   1JJV281D1HL986382             Alberta        Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134252   2017   WABSH   1JJV281D3HL986383             GA             Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134253   2017   WABSH   1JJV281D5HL986384             OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134254   2017   WABSH   1JJV281D7HL986385             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134255   2017   WABSH   1JJV281D9HL986386             TX             San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134256   2017   WABSH   1JJV281D0HL986387             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134257   2017   WABSH   1JJV281D2HL986388             CA             Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134258   2017   WABSH   1JJV281D4HL986389             WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134259   2017   WABSH   1JJV281D0HL986390             OH             Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134260   2017   WABSH   1JJV281D2HL986391             CA             Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134261   2017   WABSH   1JJV281D4HL986392             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134262   2017   WABSH   1JJV281D6HL986393             UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134263   2017   WABSH   1JJV281D8HL986394             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134264   2017   WABSH   1JJV281DXHL986395             MS             Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134265   2017   WABSH   1JJV281D1HL986396             MS             Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134266   2017   WABSH   1JJV281D3HL986397             FL             Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134267   2017   WABSH   1JJV281D5HL986398             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134268   2017   WABSH   1JJV281D7HL986399             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134269   2017   WABSH   1JJV281DXHL986400             FL             Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134270   2017   WABSH   1JJV281D1HL986401             SC             Florence
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134271   2017   WABSH   1JJV281D3HL986402             NC             Fayetteville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134272   2017   WABSH   1JJV281D5HL986403             MS             Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134273   2017   WABSH   1JJV281D7HL986404             OK             Oklahoma City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 697 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134274   2017   WABSH   1JJV281D9HL986405             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134275   2017   WABSH   1JJV281D0HL986406             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134276   2017   WABSH   1JJV281D2HL986407             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134277   2017   WABSH   1JJV281D4HL986408             GA               Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134278   2017   WABSH   1JJV281D6HL986409             TN               Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134279   2017   WABSH   1JJV281D2HL986410             CA               Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134281   2017   WABSH   1JJV281D6HL986412             ID               Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134282   2017   WABSH   1JJV281D8HL986413             ND               Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134283   2017   WABSH   1JJV281DXHL986414             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134284   2017   WABSH   1JJV281D1HL986415             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134285   2017   WABSH   1JJV281D3HL986416             CA               Willows
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134286   2017   WABSH   1JJV281D5HL986417             DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134287   2017   WABSH   1JJV281D1HL986818             OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134288   2017   WABSH   1JJV281D3HL986819             NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134289   2017   WABSH   1JJV281DXHL986820             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134290   2017   WABSH   1JJV281D1HL986821             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134291   2017   WABSH   1JJV281D3HL986822             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134292   2017   WABSH   1JJV281D5HL986823             NY               Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134293   2017   WABSH   1JJV281D7HL986824             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134294   2017   WABSH   1JJV281D9HL986825             OK               Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134295   2017   WABSH   1JJV281D0HL986826             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134296   2017   WABSH   1JJV281D2HL986827             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134297   2017   WABSH   1JJV281D4HL986828             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134298   2017   WABSH   1JJV281D6HL986829             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134299   2017   WABSH   1JJV281D2HL986830             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134300   2017   WABSH   1JJV281D4HL986831             OH               Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134301   2017   WABSH   1JJV281D6HL986832             PA               Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134302   2017   WABSH   1JJV281D8HL986833             FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134303   2017   WABSH   1JJV281DXHL986834             TX               Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134304   2017   WABSH   1JJV281D1HL986835             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134305   2017   WABSH   1JJV281D3HL986836             WY               Evansville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134306   2017   WABSH   1JJV281D5HL986837             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134307   2017   WABSH   1JJV281D7HL986838             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134308   2017   WABSH   1JJV281D9HL986839             TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134309   2017   WABSH   1JJV281D5HL986840             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134310   2017   WABSH   1JJV281D7HL986841             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134311   2017   WABSH   1JJV281D9HL986842             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134312   2017   WABSH   1JJV281D0HL986843             CT               Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134313   2017   WABSH   1JJV281D2HL986844             OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134314   2017   WABSH   1JJV281D4HL986845             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134315   2017   WABSH   1JJV281D6HL986846             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134316   2017   WABSH   1JJV281D8HL986847             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134317   2017   WABSH   1JJV281DXHL986848             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134318   2017   WABSH   1JJV281D1HL986849             CT               Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134319   2017   WABSH   1JJV281D8HL986850             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134320   2017   WABSH   1JJV281DXHL986851             TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134321   2017   WABSH   1JJV281D1HL986852             IA               Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134322   2017   WABSH   1JJV281D3HL986853             OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134323   2017   WABSH   1JJV281D5HL986854             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134324   2017   WABSH   1JJV281D7HL986855             IA               Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134325   2017   WABSH   1JJV281D9HL986856             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134326   2017   WABSH   1JJV281D0HL986857             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134327   2017   WABSH   1JJV281D2HL986858             SD               Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134328   2017   WABSH   1JJV281D4HL986859             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134329   2017   WABSH   1JJV281D0HL986860             KS               Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134330   2017   WABSH   1JJV281D2HL986861             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134331   2017   WABSH   1JJV281D4HL986862             MA               North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134332   2017   WABSH   1JJV281D6HL986863             OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134333   2017   WABSH   1JJV281D8HL986864             TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134334   2017   WABSH   1JJV281DXHL986865             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134335   2017   WABSH   1JJV281D1HL986866             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134336   2017   WABSH   1JJV281D3HL986867             CA               Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134337   2017   WABSH   1JJV281D5HL986868             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134338   2017   WABSH   1JJV281D7HL986869             MT               Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134339   2017   WABSH   1JJV281D3HL986870             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134340   2017   WABSH   1JJV281D5HL986871             TX               El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134342   2017   WABSH   1JJV281D9HL986873             TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134343   2017   WABSH   1JJV281D0HL986874             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134344   2017   WABSH   1JJV281D2HL986875             British Columbia Burnaby
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 698 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134345   2017   WABSH   1JJV281D4HL986876             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134346   2017   WABSH   1JJV281D6HL986877             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134347   2017   WABSH   1JJV281D8HL986878             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134348   2017   WABSH   1JJV281DXHL986879             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134349   2017   WABSH   1JJV281D6HL986880             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134350   2017   WABSH   1JJV281D8HL986881             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134351   2017   WABSH   1JJV281DXHL986882             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134352   2017   WABSH   1JJV281D1HL986883             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134353   2017   WABSH   1JJV281D3HL986884             PA      Milton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134354   2017   WABSH   1JJV281D5HL986885             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134355   2017   WABSH   1JJV281D7HL986886             OH      North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134356   2017   WABSH   1JJV281D9HL986887             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134357   2017   WABSH   1JJV281D0HL986888             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134358   2017   WABSH   1JJV281D2HL986889             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134359   2017   WABSH   1JJV281D9HL986890             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134360   2017   WABSH   1JJV281D0HL986891             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134361   2017   WABSH   1JJV281D2HL986892             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134362   2017   WABSH   1JJV281D4HL986893             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134363   2017   WABSH   1JJV281D6HL986894             WA      Bellingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134364   2017   WABSH   1JJV281D8HL986895             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134365   2017   WABSH   1JJV281DXHL986896             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134366   2017   WABSH   1JJV281D1HL986897             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134367   2017   WABSH   1JJV281D3HL986898             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134368   2017   WABSH   1JJV281D5HL986899             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134370   2017   WABSH   1JJV281DXHL986901             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134371   2017   WABSH   1JJV281D1HL986902             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134372   2017   WABSH   1JJV281D3HL986903             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134373   2017   WABSH   1JJV281D5HL986904             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134374   2017   WABSH   1JJV281D7HL986905             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134375   2017   WABSH   1JJV281D9HL986906             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134376   2017   WABSH   1JJV281D0HL986907             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134377   2017   WABSH   1JJV281D2HL986908             ND      Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134378   2017   WABSH   1JJV281D4HL986909             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134379   2017   WABSH   1JJV281D0HL986910             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134380   2017   WABSH   1JJV281D2HL986911             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134381   2017   WABSH   1JJV281D4HL986912             IL      Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134382   2017   WABSH   1JJV281D6HL986913             ME      Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134383   2017   WABSH   1JJV281D8HL986914             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134384   2017   WABSH   1JJV281DXHL986915             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134385   2017   WABSH   1JJV281D1HL986916             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134386   2017   WABSH   1JJV281D3HL986917             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134387   2017   WABSH   1JJV281D5HL986918             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134388   2017   WABSH   1JJV281D7HL986919             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134389   2017   WABSH   1JJV281D3HL986920             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134390   2017   WABSH   1JJV281D5HL986921             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134391   2017   WABSH   1JJV281D7HL986922             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134392   2017   WABSH   1JJV281D9HL986923             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134393   2017   WABSH   1JJV281D0HL986924             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134394   2017   WABSH   1JJV281D2HL986925             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134395   2017   WABSH   1JJV281D4HL986926             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134396   2017   WABSH   1JJV281D6HL986927             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134397   2017   WABSH   1JJV281D8HL986928             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134398   2017   WABSH   1JJV281DXHL986929             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134399   2017   WABSH   1JJV281D6HL986930             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134400   2017   WABSH   1JJV281D8HL986931             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134401   2017   WABSH   1JJV281DXHL986932             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134402   2017   WABSH   1JJV281D1HL986933             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134403   2017   WABSH   1JJV281D3HL986934             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134404   2017   WABSH   1JJV281D5HL986935             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134405   2017   WABSH   1JJV281D7HL986936             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134406   2017   WABSH   1JJV281D9HL986937             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134407   2017   WABSH   1JJV281D0HL986938             TX      McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134408   2017   WABSH   1JJV281D2HL986939             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134409   2017   WABSH   1JJV281D9HL986940             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134410   2017   WABSH   1JJV281D0HL986941             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134411   2017   WABSH   1JJV281D2HL986942             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134412   2017   WABSH   1JJV281D4HL986943             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134413   2017   WABSH   1JJV281D6HL986944             NY      Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134414   2017   WABSH   1JJV281D8HL986945             UT      Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 699 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134415   2017   WABSH   1JJV281DXHL986946             MI               Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134416   2017   WABSH   1JJV281D1HL986947             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134417   2017   WABSH   1JJV281D3HL986948             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134418   2017   WABSH   1JJV281D5HL986949             NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134419   2017   WABSH   1JJV281D1HL986950             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134420   2017   WABSH   1JJV281D3HL986951             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134421   2017   WABSH   1JJV281D5HL986952             GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134422   2017   WABSH   1JJV281D7HL986953             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134423   2017   WABSH   1JJV281D9HL986954             GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134424   2017   WABSH   1JJV281D0HL986955             GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134425   2017   WABSH   1JJV281D2HL986956             PA               Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134426   2017   WABSH   1JJV281D4HL986957             TX               Eagle Pass
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134427   2017   WABSH   1JJV281D6HL986958             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134428   2017   WABSH   1JJV281D8HL986959             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134429   2017   WABSH   1JJV281D4HL986960             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134430   2017   WABSH   1JJV281D6HL986961             NY               East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134431   2017   WABSH   1JJV281D8HL986962             GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134432   2017   WABSH   1JJV281DXHL986963             NM               Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134433   2017   WABSH   1JJV281D1HL986964             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134434   2017   WABSH   1JJV281D3HL986965             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134435   2017   WABSH   1JJV281D5HL986966             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134436   2017   WABSH   1JJV281D7HL986967             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134437   2017   WABSH   1JJV281D9HL986968             CO               Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134438   2017   WABSH   1JJV281D0HL986969             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134439   2017   WABSH   1JJV281D7HL986970             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134440   2017   WABSH   1JJV281D9HL986971             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134441   2017   WABSH   1JJV281DXHL987028             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134442   2017   WABSH   1JJV281D1HL987029             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134443   2017   WABSH   1JJV281D8HL987030             VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134444   2017   WABSH   1JJV281DXHL987031             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134445   2017   WABSH   1JJV281D1HL987032             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134446   2017   WABSH   1JJV281D3HL987033             MD               Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134447   2017   WABSH   1JJV281D5HL987034             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134448   2017   WABSH   1JJV281D7HL987035             NY               East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134449   2017   WABSH   1JJV281D9HL987036             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134450   2017   WABSH   1JJV281D0HL987037             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134451   2017   WABSH   1JJV281D2HL987038             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134452   2017   WABSH   1JJV281D4HL987039             FL               Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134453   2017   WABSH   1JJV281D0HL987040             CA               West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134454   2017   WABSH   1JJV281D2HL987041             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134455   2017   WABSH   1JJV281D4HL987042             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134456   2017   WABSH   1JJV281D6HL987043             NY               Williamsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134457   2017   WABSH   1JJV281D8HL987044             CA               Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134458   2017   WABSH   1JJV281DXHL987045             WI               Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134459   2017   WABSH   1JJV281D1HL987046             MI               Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134460   2017   WABSH   1JJV281D3HL987047             CA               Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134461   2017   WABSH   1JJV281D5HL987048             MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134462   2017   WABSH   1JJV281D7HL987049             NJ               Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134463   2017   WABSH   1JJV281D3HL987050             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134464   2017   WABSH   1JJV281D5HL987051             NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134465   2017   WABSH   1JJV281D7HL987052             IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134466   2017   WABSH   1JJV281D9HL987053             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134467   2017   WABSH   1JJV281D0HL986972             MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134468   2017   WABSH   1JJV281D0HL987054             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134470   2017   WABSH   1JJV281D2HL987055             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134471   2017   WABSH   1JJV281D4HL986974             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134472   2017   WABSH   1JJV281D4HL987056             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134473   2017   WABSH   1JJV281D6HL986975             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134474   2017   WABSH   1JJV281D6HL987057             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134475   2017   WABSH   1JJV281D8HL986976             IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134476   2017   WABSH   1JJV281D8HL987058             TX               Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134477   2017   WABSH   1JJV281DXHL986977             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134478   2017   WABSH   1JJV281DXHL987059             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134479   2017   WABSH   1JJV281D1HL986978             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134480   2017   WABSH   1JJV281D6HL987060             TX               El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134481   2017   WABSH   1JJV281D3HL986979             OK               Checotah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134482   2017   WABSH   1JJV281D8HL987061             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134483   2017   WABSH   1JJV281DXHL986980             OH               Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134484   2017   WABSH   1JJV281DXHL987062             British Columbia Burnaby
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 700 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134485   2017   WABSH   1JJV281D1HL986981             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134486   2017   WABSH   1JJV281D1HL987063             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134487   2017   WABSH   1JJV281D3HL986982             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134488   2017   WABSH   1JJV281D3HL987064             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134489   2017   WABSH   1JJV281D5HL986983             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134490   2017   WABSH   1JJV281D5HL987065             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134491   2017   WABSH   1JJV281D7HL986984             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134492   2017   WABSH   1JJV281D7HL987066             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134493   2017   WABSH   1JJV281D9HL986985             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134494   2017   WABSH   1JJV281D9HL987067             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134495   2017   WABSH   1JJV281D0HL986986             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134496   2017   WABSH   1JJV281D0HL987068             CA      Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134497   2017   WABSH   1JJV281D2HL986987             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134498   2017   WABSH   1JJV281D2HL987069             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134499   2017   WABSH   1JJV281D9HL987070             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134500   2017   WABSH   1JJV281D0HL987071             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134501   2017   WABSH   1JJV281D2HL987072             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134502   2017   WABSH   1JJV281D4HL987073             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134503   2017   WABSH   1JJV281D6HL987074             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134504   2017   WABSH   1JJV281D8HL987075             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134505   2017   WABSH   1JJV281DXHL987076             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134506   2017   WABSH   1JJV281D1HL987077             LA      Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134507   2017   WABSH   1JJV281D3HL987078             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134508   2017   WABSH   1JJV281D5HL987079             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134509   2017   WABSH   1JJV281D1HL987080             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134510   2017   WABSH   1JJV281D3HL987081             VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134511   2017   WABSH   1JJV281D5HL987082             OR      Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134512   2017   WABSH   1JJV281D7HL987083             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134513   2017   WABSH   1JJV281D9HL987084             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134515   2017   WABSH   1JJV281D2HL987086             TA      Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134516   2017   WABSH   1JJV281D4HL987087             NC      Rocky Mount
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134517   2017   WABSH   1JJV281D6HL987088             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134518   2017   WABSH   1JJV281D8HL987089             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134519   2017   WABSH   1JJV281D4HL987090             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134520   2017   WABSH   1JJV281D6HL987091             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134521   2017   WABSH   1JJV281D8HL987092             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134522   2017   WABSH   1JJV281DXHL987093             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134523   2017   WABSH   1JJV281D1HL987094             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134524   2017   WABSH   1JJV281D3HL987095             ND      Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134525   2017   WABSH   1JJV281D5HL987096             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134526   2017   WABSH   1JJV281D7HL987097             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134527   2017   WABSH   1JJV281D9HL987098             MO      Sikeston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134528   2017   WABSH   1JJV281D0HL987099             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134529   2017   WABSH   1JJV281D3HL987100             IL      McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134530   2017   WABSH   1JJV281D5HL987101             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134531   2017   WABSH   1JJV281D7HL987102             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134532   2017   WABSH   1JJV281D9HL987103             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134533   2017   WABSH   1JJV281D0HL987104             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134534   2017   WABSH   1JJV281D2HL987105             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134535   2017   WABSH   1JJV281D4HL987106             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134536   2017   WABSH   1JJV281D6HL987107             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134537   2017   WABSH   1JJV281D8HL987108             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134538   2017   WABSH   1JJV281DXHL987109             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134539   2017   WABSH   1JJV281D6HL987110             NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134540   2017   WABSH   1JJV281D4HL986988             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134541   2017   WABSH   1JJV281D8HL987111             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134542   2017   WABSH   1JJV281D6HL986989             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134543   2017   WABSH   1JJV281DXHL987112             WV      Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134544   2017   WABSH   1JJV281D2HL986990             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134545   2017   WABSH   1JJV281D1HL987113             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134546   2017   WABSH   1JJV281D4HL986991             TN      Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134547   2017   WABSH   1JJV281D3HL987114             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134548   2017   WABSH   1JJV281D6HL986992             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134549   2017   WABSH   1JJV281D5HL987115             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134550   2017   WABSH   1JJV281D8HL986993             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134551   2017   WABSH   1JJV281D7HL987116             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134552   2017   WABSH   1JJV281DXHL986994             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134553   2017   WABSH   1JJV281D9HL987117             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134554   2017   WABSH   1JJV281D1HL986995             MO      Kansas City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 701 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134555   2017   WABSH   1JJV281D0HL987118             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134556   2017   WABSH   1JJV281D3HL986996             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134557   2017   WABSH   1JJV281D2HL987119             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134558   2017   WABSH   1JJV281D5HL986997             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134559   2017   WABSH   1JJV281D9HL987120             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134560   2017   WABSH   1JJV281D7HL986998             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134561   2017   WABSH   1JJV281D0HL987121             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134562   2017   WABSH   1JJV281D9HL986999             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134563   2017   WABSH   1JJV281D2HL987122             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134564   2017   WABSH   1JJV281DXHL987000             CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134565   2017   WABSH   1JJV281D4HL987123             CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134566   2017   WABSH   1JJV281D1HL987001             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134567   2017   WABSH   1JJV281D6HL987124             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134568   2017   WABSH   1JJV281D3HL987002             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134569   2017   WABSH   1JJV281D8HL987125             MI      Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134570   2017   WABSH   1JJV281D5HL987003             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134571   2017   WABSH   1JJV281DXHL987126             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134572   2017   WABSH   1JJV281D1HL987127             IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134573   2017   WABSH   1JJV281D3HL987128             WA      Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134574   2017   WABSH   1JJV281D5HL987129             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134575   2017   WABSH   1JJV281D1HL987130             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134576   2017   WABSH   1JJV281D3HL987131             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134577   2017   WABSH   1JJV281D5HL987132             SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134578   2017   WABSH   1JJV281D7HL987133             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134579   2017   WABSH   1JJV281D9HL987134             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134580   2017   WABSH   1JJV281D0HL987135             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134581   2017   WABSH   1JJV281D2HL987136             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134582   2017   WABSH   1JJV281D4HL987137             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134583   2017   WABSH   1JJV281D6HL987138             OH      North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134584   2017   WABSH   1JJV281D8HL987139             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134585   2017   WABSH   1JJV281D4HL987140             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134586   2017   WABSH   1JJV281D6HL987141             TN      Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134587   2017   WABSH   1JJV281D8HL987142             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134588   2017   WABSH   1JJV281DXHL987143             CA      Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134589   2017   WABSH   1JJV281D1HL987144             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134590   2017   WABSH   1JJV281D3HL987145             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134591   2017   WABSH   1JJV281D5HL987146             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134592   2017   WABSH   1JJV281D7HL987147             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134593   2017   WABSH   1JJV281D9HL987148             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134595   2017   WABSH   1JJV281D7HL987150             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134596   2017   WABSH   1JJV281D9HL987151             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134597   2017   WABSH   1JJV281D0HL987152             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134598   2017   WABSH   1JJV281D2HL987153             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134599   2017   WABSH   1JJV281D4HL987154             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134600   2017   WABSH   1JJV281D6HL987155             IA      Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134601   2017   WABSH   1JJV281D8HL987156             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134602   2017   WABSH   1JJV281DXHL987157             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134603   2017   WABSH   1JJV281D1HL987158             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134604   2017   WABSH   1JJV281D3HL987159             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134605   2017   WABSH   1JJV281DXHL987160             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134606   2017   WABSH   1JJV281D1HL987161             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134607   2017   WABSH   1JJV281D3HL987162             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134608   2017   WABSH   1JJV281D5HL987163             MD      Elkridge
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134609   2017   WABSH   1JJV281D7HL987164             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134610   2017   WABSH   1JJV281D9HL987165             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134611   2017   WABSH   1JJV281D0HL987166             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134612   2017   WABSH   1JJV281D2HL987167             GA      La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134613   2017   WABSH   1JJV281D4HL987168             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134614   2017   WABSH   1JJV281D6HL987169             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134615   2017   WABSH   1JJV281D2HL987170             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134616   2017   WABSH   1JJV281D4HL987171             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134617   2017   WABSH   1JJV281D6HL987172             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134618   2017   WABSH   1JJV281D8HL987173             ID      Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134619   2017   WABSH   1JJV281DXHL987174             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134620   2017   WABSH   1JJV281D1HL987175             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134621   2017   WABSH   1JJV281D3HL987176             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134622   2017   WABSH   1JJV281D5HL987177             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134623   2017   WABSH   1JJV281D7HL987178             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134624   2017   WABSH   1JJV281D9HL987179             OK      Oklahoma City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 702 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134625   2017   WABSH   1JJV281D5HL987180             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134626   2017   WABSH   1JJV281D7HL987181             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134627   2017   WABSH   1JJV281D9HL987182             WI               Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134628   2017   WABSH   1JJV281D0HL987183             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134629   2017   WABSH   1JJV281D2HL987184             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134630   2017   WABSH   1JJV281D4HL987185             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134631   2017   WABSH   1JJV281D7HL987004             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134632   2017   WABSH   1JJV281D6HL987186             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134633   2017   WABSH   1JJV281D9HL987005             WI               Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134634   2017   WABSH   1JJV281D8HL987187             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134635   2017   WABSH   1JJV281D0HL987006             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134636   2017   WABSH   1JJV281DXHL987188             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134637   2017   WABSH   1JJV281D2HL987007             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134638   2017   WABSH   1JJV281D1HL987189             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134639   2017   WABSH   1JJV281D4HL987008             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134640   2017   WABSH   1JJV281D8HL987190             WV               Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134641   2017   WABSH   1JJV281D6HL987009             CA               Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134642   2017   WABSH   1JJV281DXHL987191             IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134643   2017   WABSH   1JJV281D2HL987010             AL               Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134644   2017   WABSH   1JJV281D1HL987192             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134645   2017   WABSH   1JJV281D4HL987011             CA               Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134646   2017   WABSH   1JJV281D3HL987193             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134647   2017   WABSH   1JJV281D6HL987012             TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134648   2017   WABSH   1JJV281D5HL987194             CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134649   2017   WABSH   1JJV281D8HL987013             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134650   2017   WABSH   1JJV281D7HL987195             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134651   2017   WABSH   1JJV281DXHL987014             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134652   2017   WABSH   1JJV281D9HL987196             TX               Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134653   2017   WABSH   1JJV281D1HL987015             TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134654   2017   WABSH   1JJV281D0HL987197             PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134655   2017   WABSH   1JJV281D3HL987016             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134656   2017   WABSH   1JJV281D2HL987198             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134657   2017   WABSH   1JJV281D5HL987017             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134658   2017   WABSH   1JJV281D4HL987199             CA               Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134659   2017   WABSH   1JJV281D7HL987018             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134660   2017   WABSH   1JJV281D7HL987200             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134661   2017   WABSH   1JJV281D9HL987019             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134662   2017   WABSH   1JJV281D9HL987201             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134663   2017   WABSH   1JJV281D0HL987202             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134664   2017   WABSH   1JJV281D2HL987203             IL               Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134665   2017   WABSH   1JJV281D4HL987204             TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134666   2017   WABSH   1JJV281D6HL987205             OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134667   2017   WABSH   1JJV281D8HL987206             IL               Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134668   2017   WABSH   1JJV281DXHL987207             PA               Shippensburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134669   2017   WABSH   1JJV281D1HL987208             WI               Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134670   2017   WABSH   1JJV281D3HL987209             WV               Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134671   2017   WABSH   1JJV281DXHL987210             TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134672   2017   WABSH   1JJV281D1HL987211             CA               Santa Maria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134673   2017   WABSH   1JJV281D3HL987212             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134674   2017   WABSH   1JJV281D5HL987213             PA               McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134675   2017   WABSH   1JJV281D7HL987214             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134676   2017   WABSH   1JJV281D9HL987215             DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134677   2017   WABSH   1JJV281D0HL987216             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134678   2017   WABSH   1JJV281D2HL987217             TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134679   2017   WABSH   1JJV281D4HL987218             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134680   2017   WABSH   1JJV281D6HL987219             IN               Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134681   2017   WABSH   1JJV281D2HL987220             OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134682   2017   WABSH   1JJV281D4HL987221             PA               Milton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134683   2017   WABSH   1JJV281D6HL987222             WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134684   2017   WABSH   1JJV281D8HL987223             PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134685   2017   WABSH   1JJV281DXHL987224             MO               Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134686   2017   WABSH   1JJV281D1HL987225             CA               Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134687   2017   WABSH   1JJV281D3HL987226             IL               Atlanta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134688   2017   WABSH   1JJV281D5HL987227             TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134690   2017   WABSH   1JJV281D9HL987229             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134691   2017   WABSH   1JJV281D5HL987230             CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134692   2017   WABSH   1JJV281D7HL987231             VA               Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134693   2017   WABSH   1JJV281D9HL987232             CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134694   2017   WABSH   1JJV281D0HL987233             CA               Downey
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 703 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134695   2017   WABSH   1JJV281D2HL987234             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134696   2017   WABSH   1JJV281D4HL987235             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134697   2017   WABSH   1JJV281D6HL987236             CA         Santa Rosa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134698   2017   WABSH   1JJV281D8HL987237             MI         Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134699   2017   WABSH   1JJV281DXHL987238             VA         Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134700   2017   WABSH   1JJV281D1HL987239             TN         Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134701   2017   WABSH   1JJV281D8HL987240             IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134702   2017   WABSH   1JJV281DXHL987241             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134703   2017   WABSH   1JJV281D1HL987242             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134704   2017   WABSH   1JJV281D3HL987243             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134705   2017   WABSH   1JJV281D5HL987244             TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134706   2017   WABSH   1JJV281D7HL987245             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134707   2017   WABSH   1JJV281D9HL987246             MI         Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134708   2017   WABSH   1JJV281D0HL987247             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134709   2017   WABSH   1JJV281D2HL987248             TX         Corpus Christi
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134710   2017   WABSH   1JJV281D4HL987249             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134711   2017   WABSH   1JJV281D0HL987250             OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134712   2017   WABSH   1JJV281D2HL987251             MI         Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134713   2017   WABSH   1JJV281D4HL987252             WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134714   2017   WABSH   1JJV281D6HL987253             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134715   2017   WABSH   1JJV281D8HL987254             PA         Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134716   2017   WABSH   1JJV281DXHL987255             CA         San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134717   2017   WABSH   1JJV281D1HL987256             AL         Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134718   2017   WABSH   1JJV281D3HL987257             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134719   2017   WABSH   1JJV281D5HL987258             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134720   2017   WABSH   1JJV281D7HL987259             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134721   2017   WABSH   1JJV281D3HL987260             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134722   2017   WABSH   1JJV281D5HL987020             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134723   2017   WABSH   1JJV281D5HL987261             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134724   2017   WABSH   1JJV281D7HL987021             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134725   2017   WABSH   1JJV281D7HL987262             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134726   2017   WABSH   1JJV281D9HL987022             AL         Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134727   2017   WABSH   1JJV281D9HL987263             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134728   2017   WABSH   1JJV281D0HL987023             PA         Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134729   2017   WABSH   1JJV281D0HL987264             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134730   2017   WABSH   1JJV281D2HL987024             PQ         Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134731   2017   WABSH   1JJV281D2HL987265             TX         San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134732   2017   WABSH   1JJV281D4HL987025             OH         Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134733   2017   WABSH   1JJV281D4HL987266             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134734   2017   WABSH   1JJV281D6HL987026             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134735   2017   WABSH   1JJV281D6HL987267             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134736   2017   WABSH   1JJV281D8HL987027             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134737   2017   WABSH   1JJV281D8HL987268             OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134738   2017   WABSH   1JJV281DXHL987269             WI         Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134739   2017   WABSH   1JJV281D6HL987270             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134740   2017   WABSH   1JJV281D8HL987271             NY         Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134741   2017   WABSH   1JJV281DXHL987272             NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134742   2017   WABSH   1JJV281D1HL987273             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134743   2017   WABSH   1JJV281D3HL987274             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134744   2017   WABSH   1JJV281D5HL987275             CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134745   2017   WABSH   1JJV281D7HL987276             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134746   2017   WABSH   1JJV281D9HL987277             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134747   2017   WABSH   1JJV281D0HL987278             LA         Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134748   2017   WABSH   1JJV281D2HL987279             NJ         South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134749   2017   WABSH   1JJV281D9HL987280             TX         McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134750   2017   WABSH   1JJV281D0HL987281             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134751   2017   WABSH   1JJV281D2HL987282             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134752   2017   WABSH   1JJV281D4HL987283             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134753   2017   WABSH   1JJV281D6HL987284             VA         Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134754   2017   WABSH   1JJV281D8HL987285             NJ         Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134755   2017   WABSH   1JJV281DXHL987286             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134756   2017   WABSH   1JJV281D1HL987287             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134757   2017   WABSH   1JJV281D3HL987288             RI         Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134758   2017   WABSH   1JJV281D5HL987289             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134759   2017   WABSH   1JJV281D1HL987290             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134760   2017   WABSH   1JJV281D3HL987291             VA         Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134761   2017   WABSH   1JJV281D5HL987292             ND         Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134762   2017   WABSH   1JJV281D7HL987293             CA         Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134764   2017   WABSH   1JJV281D0HL987295             TN         Nashville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 704 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134765   2017   WABSH   1JJV281D2HL987296             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134766   2017   WABSH   1JJV281D4HL987297             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134767   2017   WABSH   1JJV281D6HL987298             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134768   2017   WABSH   1JJV281D8HL987299             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134769   2017   WABSH   1JJV281D0HL987300             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134770   2017   WABSH   1JJV281D2HL987301             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134771   2017   WABSH   1JJV281D4HL987302             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134772   2017   WABSH   1JJV281D6HL987303             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134773   2017   WABSH   1JJV281D8HL987304             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134775   2017   WABSH   1JJV281D1HL987306             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134776   2017   WABSH   1JJV281D3HL987307             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134777   2017   WABSH   1JJV281D5HL987308             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134778   2017   WABSH   1JJV281D7HL987309             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134779   2017   WABSH   1JJV281D3HL987310             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134780   2017   WABSH   1JJV281D5HL987311             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134781   2017   WABSH   1JJV281D7HL987312             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134782   2017   WABSH   1JJV281D9HL987313             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134783   2017   WABSH   1JJV281D0HL987314             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134784   2017   WABSH   1JJV281D2HL987315             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134785   2017   WABSH   1JJV281D4HL987316             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134786   2017   WABSH   1JJV281D6HL987317             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134787   2017   WABSH   1JJV281D8HL987318             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134788   2017   WABSH   1JJV281DXHL987319             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134789   2017   WABSH   1JJV281D6HL987320             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134790   2017   WABSH   1JJV281D8HL987321             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134791   2017   WABSH   1JJV281DXHL987322             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134792   2017   WABSH   1JJV281D1HL987323             IL        Danville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134793   2017   WABSH   1JJV281D3HL987324             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134794   2017   WABSH   1JJV281D5HL987325             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134795   2017   WABSH   1JJV281D7HL987326             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134796   2017   WABSH   1JJV281D9HL987327             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134797   2017   WABSH   1JJV281D0HL987328             AL        Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134798   2017   WABSH   1JJV281D2HL987329             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134799   2017   WABSH   1JJV281D9HL987330             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134800   2017   WABSH   1JJV281D0HL987331             NY        Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134801   2017   WABSH   1JJV281D2HL987332             WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134802   2017   WABSH   1JJV281D4HL987333             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134803   2017   WABSH   1JJV281D6HL987334             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134804   2017   WABSH   1JJV281D8HL987335             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134805   2017   WABSH   1JJV281DXHL987336             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134806   2017   WABSH   1JJV281D1HL987337             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134807   2017   WABSH   1JJV281D3HL987338             CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134808   2017   WABSH   1JJV281D5HL987339             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134809   2017   WABSH   1JJV281D1HL987340             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134810   2017   WABSH   1JJV281D3HL987341             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134811   2017   WABSH   1JJV281D5HL987342             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134812   2017   WABSH   1JJV281D7HL987343             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134813   2017   WABSH   1JJV281D9HL987344             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134814   2017   WABSH   1JJV281D0HL987345             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134815   2017   WABSH   1JJV281D2HL987346             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134816   2017   WABSH   1JJV281D4HL987347             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134817   2017   WABSH   1JJV281D6HL987348             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134818   2017   WABSH   1JJV281D8HL987349             NY        Elmira
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134819   2017   WABSH   1JJV281D4HL987350             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134820   2017   WABSH   1JJV281D6HL987351             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134821   2017   WABSH   1JJV281D8HL987352             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134822   2017   WABSH   1JJV281DXHL987353             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134823   2017   WABSH   1JJV281D1HL987354             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134824   2017   WABSH   1JJV281D3HL987355             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134825   2017   WABSH   1JJV281D5HL987356             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134826   2017   WABSH   1JJV281D7HL987357             CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134827   2017   WABSH   1JJV281D9HL987358             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134828   2017   WABSH   1JJV281D0HL987359             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134829   2017   WABSH   1JJV281D7HL987360             CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134830   2017   WABSH   1JJV281D9HL987361             KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134831   2017   WABSH   1JJV281D0HL987362             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134832   2017   WABSH   1JJV281D2HL987363             SC        North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134833   2017   WABSH   1JJV281D4HL987364             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134834   2017   WABSH   1JJV281D6HL987365             WA        Tacoma
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 705 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134835   2017   WABSH   1JJV281D8HL987366             AL               Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134836   2017   WABSH   1JJV281DXHL987367             NV               Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134837   2017   WABSH   1JJV281D1HL987368             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134838   2017   WABSH   1JJV281D3HL987369             FL               Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134839   2017   WABSH   1JJV281DXHL987370             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134840   2017   WABSH   1JJV281D1HL987371             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134841   2017   WABSH   1JJV281D3HL987372             TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134842   2017   WABSH   1JJV281D5HL987373             CT               Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134843   2017   WABSH   1JJV281D7HL987374             IL               Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134844   2017   WABSH   1JJV281D9HL987375             FL               Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134845   2017   WABSH   1JJV281D0HL987376             CO               Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134846   2017   WABSH   1JJV281D2HL987377             IL               Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134847   2017   WABSH   1JJV281D4HL987378             MD               Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134848   2017   WABSH   1JJV281D6HL987379             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134849   2017   WABSH   1JJV281D2HL987380             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134850   2017   WABSH   1JJV281D4HL987381             GA               Jefferson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134851   2017   WABSH   1JJV281D6HL987382             WY               Evansville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134852   2017   WABSH   1JJV281D8HL987383             CA               West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134853   2017   WABSH   1JJV281DXHL987384             TX               Corpus Christi
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134854   2017   WABSH   1JJV281D1HL987385             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134855   2017   WABSH   1JJV281D3HL987386             IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134856   2017   WABSH   1JJV281D5HL987387             FL               Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134857   2017   WABSH   1JJV281D7HL987388             NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134858   2017   WABSH   1JJV281D9HL987389             NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134859   2017   WABSH   1JJV281D5HL987390             CT               Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134860   2017   WABSH   1JJV281D7HL987391             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134861   2017   WABSH   1JJV281D9HL987392             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134862   2017   WABSH   1JJV281D2HL987394             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134863   2017   WABSH   1JJV281D4HL987395             NC               Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134864   2017   WABSH   1JJV281D6HL987396             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134865   2017   WABSH   1JJV281D8HL987397             PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134866   2017   WABSH   1JJV281DXHL987398             FL               Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134867   2017   WABSH   1JJV281D1HL987399             NY               Plattsburgh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134868   2017   WABSH   1JJV281D4HL987400             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134869   2017   WABSH   1JJV281D6HL987401             Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134870   2017   WABSH   1JJV281D8HL987402             TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134871   2017   WABSH   1JJV281DXHL987403             TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134872   2017   WABSH   1JJV281D1HL987404             CA               West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134873   2017   WABSH   1JJV281D3HL987405             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134874   2017   WABSH   1JJV281D5HL987406             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134875   2017   WABSH   1JJV281D7HL987407             SC               Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134876   2017   WABSH   1JJV281D9HL987408             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134877   2017   WABSH   1JJV281D0HL987409             KY               Waddy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134878   2017   WABSH   1JJV281D7HL987410             PA               Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134879   2017   WABSH   1JJV281D9HL987411             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134880   2017   WABSH   1JJV281D0HL987412             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134881   2017   WABSH   1JJV281D2HL987413             OR               Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134882   2017   WABSH   1JJV281D4HL987414             CO               Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134883   2017   WABSH   1JJV281D6HL987415             WI               Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134884   2017   WABSH   1JJV281D8HL987416             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134885   2017   WABSH   1JJV281DXHL987417             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134886   2017   WABSH   1JJV281D1HL987418             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134887   2017   WABSH   1JJV281D3HL987419             TX               Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134888   2017   WABSH   1JJV281DXHL987420             IL               Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134889   2017   WABSH   1JJV281D1HL987421             TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134890   2017   WABSH   1JJV281D3HL987422             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134891   2017   WABSH   1JJV281D5HL987423             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134892   2017   WABSH   1JJV281D7HL987424             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134893   2017   WABSH   1JJV281D9HL987425             IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134894   2017   WABSH   1JJV281D0HL987426             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134895   2017   WABSH   1JJV281D2HL987427             IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134896   2017   WABSH   1JJV281D4HL987428             Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134897   2017   WABSH   1JJV281D6HL987429             MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134898   2017   WABSH   1JJV281D2HL987430             GA               Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134899   2017   WABSH   1JJV281D4HL987431             ID               Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134900   2017   WABSH   1JJV281D6HL987432             NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134901   2017   WABSH   1JJV281D8HL987433             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134902   2017   WABSH   1JJV281DXHL987434             ID               Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134903   2017   WABSH   1JJV281D1HL987435             WI               Neenah
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 706 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134904   2017   WABSH   1JJV281D3HL987436             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134905   2017   WABSH   1JJV281D5HL987437             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134906   2017   WABSH   1JJV281D7HL987438             MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134907   2017   WABSH   1JJV281D9HL987439             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134908   2017   WABSH   1JJV281D5HL987440             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134909   2017   WABSH   1JJV281D7HL987441             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134910   2017   WABSH   1JJV281D9HL987442             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134911   2017   WABSH   1JJV281D0HL987443             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134912   2017   WABSH   1JJV281D2HL987444             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134913   2017   WABSH   1JJV281D4HL987445             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134914   2017   WABSH   1JJV281D6HL987446             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134915   2017   WABSH   1JJV281D8HL987447             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134916   2017   WABSH   1JJV281DXHL987448             CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134917   2017   WABSH   1JJV281D1HL987449             NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134918   2017   WABSH   1JJV281D8HL987450             GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134919   2017   WABSH   1JJV281DXHL987451             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134920   2017   WABSH   1JJV281D1HL987452             MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134921   2017   WABSH   1JJV281D3HL987453             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134922   2017   WABSH   1JJV281D5HL987454             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134923   2017   WABSH   1JJV281D7HL987455             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134924   2017   WABSH   1JJV281D9HL987456             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134925   2017   WABSH   1JJV281D0HL987457             MT        Great Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134926   2017   WABSH   1JJV281D2HL987458             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134927   2017   WABSH   1JJV281D4HL987459             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134928   2017   WABSH   1JJV281D0HL987460             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134929   2017   WABSH   1JJV281D2HL987461             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134930   2017   WABSH   1JJV281D4HL987462             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134931   2017   WABSH   1JJV281D6HL987463             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134932   2017   WABSH   1JJV281D8HL987464             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134933   2017   WABSH   1JJV281DXHL987465             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134934   2017   WABSH   1JJV281D1HL987466             PA        Erie
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134935   2017   WABSH   1JJV281D3HL987467             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134936   2017   WABSH   1JJV281D5HL987468             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134937   2017   WABSH   1JJV281D7HL987469             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134938   2017   WABSH   1JJV281D3HL987470             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134939   2017   WABSH   1JJV281D5HL987471             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134940   2017   WABSH   1JJV281D7HL987472             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134941   2017   WABSH   1JJV281D9HL987473             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134942   2017   WABSH   1JJV281D0HL987474             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134943   2017   WABSH   1JJV281D2HL987475             Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134944   2017   WABSH   1JJV281D4HL987476             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134945   2017   WABSH   1JJV281D6HL987477             MN        Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134947   2017   WABSH   1JJV281DXHL987479             TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134948   2017   WABSH   1JJV281D6HL987480             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134949   2017   WABSH   1JJV281D8HL987481             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134950   2017   WABSH   1JJV281DXHL987482             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134952   2017   WABSH   1JJV281D3HL987484             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134953   2017   WABSH   1JJV281D5HL987485             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134954   2017   WABSH   1JJV281D7HL987486             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134955   2017   WABSH   1JJV281D9HL987487             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134956   2017   WABSH   1JJV281D0HL987488             ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134957   2017   WABSH   1JJV281D2HL987489             AL        Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134958   2017   WABSH   1JJV281D9HL987490             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134959   2017   WABSH   1JJV281D0HL987491             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134960   2017   WABSH   1JJV281D2HL987492             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134961   2017   WABSH   1JJV281D4HL987493             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134962   2017   WABSH   1JJV281D6HL987494             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134963   2017   WABSH   1JJV281D8HL987495             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134964   2017   WABSH   1JJV281DXHL987496             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134965   2017   WABSH   1JJV281D1HL987497             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134966   2017   WABSH   1JJV281D3HL987498             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134967   2017   WABSH   1JJV281D5HL987499             GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134968   2017   WABSH   1JJV281D8HL987500             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134969   2017   WABSH   1JJV281DXHL987501             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134970   2017   WABSH   1JJV281D1HL987502             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134971   2017   WABSH   1JJV281D3HL987503             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134972   2017   WABSH   1JJV281D5HL987504             AZ        Tucson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134973   2017   WABSH   1JJV281D7HL987505             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134974   2017   WABSH   1JJV281D9HL987506             CA        Fontana
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 707 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134975   2017   WABSH   1JJV281D0HL987507             MO      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134976   2017   WABSH   1JJV281D2HL987508             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134977   2017   WABSH   1JJV281D4HL987509             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134978   2017   WABSH   1JJV281D0HL987510             NJ      Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134979   2017   WABSH   1JJV281D2HL987511             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134980   2017   WABSH   1JJV281D4HL987512             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134981   2017   WABSH   1JJV281D6HL987513             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134982   2017   WABSH   1JJV281D8HL987514             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134983   2017   WABSH   1JJV281DXHL987515             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134984   2017   WABSH   1JJV281D1HL987516             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134985   2017   WABSH   1JJV281D3HL987517             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134986   2017   WABSH   1JJV281D5HL987518             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134987   2017   WABSH   1JJV281D7HL987519             DE      Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134988   2017   WABSH   1JJV281D3HL987520             MA      North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134989   2017   WABSH   1JJV281D5HL987521             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134990   2017   WABSH   1JJV281D7HL987522             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134991   2017   WABSH   1JJV281D9HL987523             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134992   2017   WABSH   1JJV281D0HL987524             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134993   2017   WABSH   1JJV281D2HL987525             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134994   2017   WABSH   1JJV281D4HL987526             NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134995   2017   WABSH   1JJV281D6HL987527             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134996   2017   WABSH   1JJV281D8HL987528             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134997   2017   WABSH   1JJV281DXHL987529             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134998   2017   WABSH   1JJV281D6HL987530             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY134999   2017   WABSH   1JJV281D8HL987531             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135000   2017   WABSH   1JJV281DXHL987532             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135001   2017   WABSH   1JJV281D1HL987533             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135002   2017   WABSH   1JJV281D3HL987534             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135003   2017   WABSH   1JJV281D5HL987535             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135004   2017   WABSH   1JJV281D7HL987536             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135005   2017   WABSH   1JJV281D9HL987537             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135006   2017   WABSH   1JJV281D0HL987538             WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135007   2017   WABSH   1JJV281D2HL987539             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135008   2017   WABSH   1JJV281D9HL987540             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135009   2017   WABSH   1JJV281D0HL987541             WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135010   2017   WABSH   1JJV281D2HL987542             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135011   2017   WABSH   1JJV281D4HL987543             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135012   2017   WABSH   1JJV281D6HL987544             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135013   2017   WABSH   1JJV281D8HL987545             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135014   2017   WABSH   1JJV281DXHL987546             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135015   2017   WABSH   1JJV281D1HL987547             PA      Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135016   2017   WABSH   1JJV281D3HL987548             SD      Watertown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135017   2017   WABSH   1JJV281D5HL987549             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135018   2017   WABSH   1JJV281D1HL987550             NY      Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135019   2017   WABSH   1JJV281D3HL987551             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135020   2017   WABSH   1JJV281D5HL987552             PA      Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135021   2017   WABSH   1JJV281D7HL987553             IA      Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135022   2017   WABSH   1JJV281D9HL987554             TX      Corpus Christi
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135023   2017   WABSH   1JJV281D0HL987555             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135024   2017   WABSH   1JJV281D2HL987556             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135025   2017   WABSH   1JJV281D4HL987557             WI      Portage
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135026   2017   WABSH   1JJV281D6HL987558             ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135027   2017   WABSH   1JJV281D8HL987559             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135028   2017   WABSH   1JJV281D4HL987560             PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135029   2017   WABSH   1JJV281D6HL987561             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135030   2017   WABSH   1JJV281D8HL987562             WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135031   2017   WABSH   1JJV281DXHL987563             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135032   2017   WABSH   1JJV281D1HL987564             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135033   2017   WABSH   1JJV281D3HL987565             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135034   2017   WABSH   1JJV281D5HL987566             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135035   2017   WABSH   1JJV281D7HL987567             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135036   2017   WABSH   1JJV281D9HL987568             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135037   2017   WABSH   1JJV281D0HL987569             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135038   2017   WABSH   1JJV281D7HL987570             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135039   2017   WABSH   1JJV281D9HL987571             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135040   2017   WABSH   1JJV281D0HL987572             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135041   2017   WABSH   1JJV281D2HL987573             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135042   2017   WABSH   1JJV281D4HL987574             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135043   2017   WABSH   1JJV281D6HL987575             TN      Nashville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 708 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135044   2017   WABSH   1JJV281D8HL987576             KS      Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135045   2017   WABSH   1JJV281DXHL987577             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135046   2017   WABSH   1JJV281D1HL987578             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135047   2017   WABSH   1JJV281D3HL987579             NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135048   2017   WABSH   1JJV281DXHL987580             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135049   2017   WABSH   1JJV281D1HL987581             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135050   2017   WABSH   1JJV281D3HL987582             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135051   2017   WABSH   1JJV281D5HL987583             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135052   2017   WABSH   1JJV281D7HL987584             AZ      Lake Havasu City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135053   2017   WABSH   1JJV281D9HL987585             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135054   2017   WABSH   1JJV281D0HL987586             NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135055   2017   WABSH   1JJV281D2HL987587             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135056   2017   WABSH   1JJV281D4HL987588             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135057   2017   WABSH   1JJV281D6HL987589             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135058   2017   WABSH   1JJV281D2HL987590             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135059   2017   WABSH   1JJV281D4HL987591             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135060   2017   WABSH   1JJV281D6HL987592             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135061   2017   WABSH   1JJV281D8HL987593             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135062   2017   WABSH   1JJV281DXHL987594             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135063   2017   WABSH   1JJV281D1HL987595             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135064   2017   WABSH   1JJV281D3HL987596             LA      Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135065   2017   WABSH   1JJV281D5HL987597             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135066   2017   WABSH   1JJV281D7HL987598             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135067   2017   WABSH   1JJV281D9HL987599             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135068   2017   WABSH   1JJV281D1HL987600             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135069   2017   WABSH   1JJV281D3HL987601             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135070   2017   WABSH   1JJV281D5HL987602             KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135071   2017   WABSH   1JJV281D7HL987603             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135072   2017   WABSH   1JJV281D9HL987604             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135073   2017   WABSH   1JJV281D0HL987605             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135074   2017   WABSH   1JJV281D2HL987606             CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135075   2017   WABSH   1JJV281D4HL987607             MI      Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135076   2017   WABSH   1JJV281D6HL987608             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135077   2017   WABSH   1JJV281D8HL987609             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135078   2017   WABSH   1JJV281D4HL987610             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135079   2017   WABSH   1JJV281D6HL987611             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135080   2017   WABSH   1JJV281D8HL987612             VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135081   2017   WABSH   1JJV281DXHL987613             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135082   2017   WABSH   1JJV281D1HL987614             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135083   2017   WABSH   1JJV281D3HL987615             GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135084   2017   WABSH   1JJV281D5HL987616             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135085   2017   WABSH   1JJV281D7HL987617             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135086   2017   WABSH   1JJV281D9HL987618             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135087   2017   WABSH   1JJV281D0HL987619             CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135088   2017   WABSH   1JJV281D7HL987620             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135089   2017   WABSH   1JJV281D9HL987621             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135090   2017   WABSH   1JJV281D0HL987622             NY      Williamsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135091   2017   WABSH   1JJV281D2HL987623             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135092   2017   WABSH   1JJV281D4HL987624             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135093   2017   WABSH   1JJV281D6HL987625             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135094   2017   WABSH   1JJV281D8HL987626             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135095   2017   WABSH   1JJV281DXHL987627             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135096   2017   WABSH   1JJV281D1HL987628             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135097   2017   WABSH   1JJV281D3HL987629             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135098   2017   WABSH   1JJV281DXHL987630             PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135099   2017   WABSH   1JJV281D1HL987631             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135100   2017   WABSH   1JJV281D3HL987632             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135101   2017   WABSH   1JJV281D5HL987633             WI      Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135102   2017   WABSH   1JJV281D7HL987634             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135103   2017   WABSH   1JJV281D9HL987635             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135104   2017   WABSH   1JJV281D0HL987636             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135105   2017   WABSH   1JJV281D2HL987637             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135106   2017   WABSH   1JJV281D4HL987638             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135107   2017   WABSH   1JJV281D6HL987639             ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135108   2017   WABSH   1JJV281D2HL987640             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135109   2017   WABSH   1JJV281D4HL987641             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135110   2017   WABSH   1JJV281D6HL987642             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135111   2017   WABSH   1JJV281D8HL987643             CO      Grand Junction
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135112   2017   WABSH   1JJV281DXHL987644             VA      Chesapeake
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 709 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135113   2017   WABSH   1JJV281D1HL987645             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135114   2017   WABSH   1JJV281D3HL987646             IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135115   2017   WABSH   1JJV281D5HL987647             AR         Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135116   2017   WABSH   1JJV281D7HL987648             FL         Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135117   2017   WABSH   1JJV281D9HL987649             FL         Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135118   2017   WABSH   1JJV281D5HL987650             OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135119   2017   WABSH   1JJV281D7HL987651             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135120   2017   WABSH   1JJV281D9HL987652             IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135121   2017   WABSH   1JJV281D0HL987653             CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135122   2017   WABSH   1JJV281D2HL987654             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135123   2017   WABSH   1JJV281D4HL987655             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135125   2017   WABSH   1JJV281D8HL987657             TN         Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135126   2017   WABSH   1JJV281DXHL987658             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135127   2017   WABSH   1JJV281D1HL987659             LA         Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135128   2017   WABSH   1JJV281D8HL987660             MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135129   2017   WABSH   1JJV281DXHL987661             IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135130   2017   WABSH   1JJV281D1HL987662             IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135131   2017   WABSH   1JJV281D3HL987663             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135132   2017   WABSH   1JJV281D5HL987664             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135133   2017   WABSH   1JJV281D7HL987665             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135134   2017   WABSH   1JJV281D9HL987666             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135135   2017   WABSH   1JJV281D0HL987667             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135136   2017   WABSH   1JJV281D2HL987668             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135137   2017   WABSH   1JJV281D4HL987669             ND         Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135138   2017   WABSH   1JJV281D0HL987670             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135139   2017   WABSH   1JJV281D2HL987671             NY         East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135140   2017   WABSH   1JJV281D4HL987672             CA         Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135141   2017   WABSH   1JJV281D6HL987673             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135142   2017   WABSH   1JJV281D8HL987674             FL         Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135143   2017   WABSH   1JJV281DXHL987675             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135144   2017   WABSH   1JJV281D1HL987676             FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135145   2017   WABSH   1JJV281D3HL987677             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135146   2017   WABSH   1JJV281D5HL987678             IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135147   2017   WABSH   1JJV281D7HL987679             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135148   2017   WABSH   1JJV281D3HL987680             MO         Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135149   2017   WABSH   1JJV281D5HL987681             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135150   2017   WABSH   1JJV281D7HL987682             KY         Paducah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135151   2017   WABSH   1JJV281D9HL987683             DE         New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135152   2017   WABSH   1JJV281D0HL987684             OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135153   2017   WABSH   1JJV281D2HL987685             DE         New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135154   2017   WABSH   1JJV281D4HL987686             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135155   2017   WABSH   1JJV281D6HL987687             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135156   2017   WABSH   1JJV281D8HL987688             MN         Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135157   2017   WABSH   1JJV281DXHL987689             IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135158   2017   WABSH   1JJV281D6HL987690             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135159   2017   WABSH   1JJV281D8HL987691             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135160   2017   WABSH   1JJV281DXHL987692             NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135161   2017   WABSH   1JJV281D1HL987693             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135162   2017   WABSH   1JJV281D3HL987694             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135163   2017   WABSH   1JJV281D5HL987695             OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135164   2017   WABSH   1JJV281D7HL987696             NE         North Platte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135165   2017   WABSH   1JJV281D9HL987697             TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135166   2017   WABSH   1JJV281D0HL987698             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135167   2017   WABSH   1JJV281D2HL987699             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135168   2017   WABSH   1JJV281D5HL987700             MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135170   2017   WABSH   1JJV281D9HL987702             CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135171   2017   WABSH   1JJV281D0HL987703             FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135172   2017   WABSH   1JJV281D2HL987704             PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135173   2017   WABSH   1JJV281D4HL987705             UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135174   2017   WABSH   1JJV281D6HL987706             NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135175   2017   WABSH   1JJV281D8HL987707             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135177   2017   WABSH   1JJV281D1HL987709             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135178   2017   WABSH   1JJV281D8HL987710             WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135179   2017   WABSH   1JJV281DXHL987711             KS         Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135181   2017   WABSH   1JJV281D3HL987713             LA         Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135182   2017   WABSH   1JJV281D5HL987714             IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135183   2017   WABSH   1JJV281D7HL987715             TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135184   2017   WABSH   1JJV281D9HL987716             NY         Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135185   2017   WABSH   1JJV281D0HL987717             IL         Rock Island
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 710 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135186   2017   WABSH   1JJV281D2HL987718             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135187   2017   WABSH   1JJV281D4HL987719             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135188   2017   WABSH   1JJV281D0HL987720             FL             Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135189   2017   WABSH   1JJV281D2HL987721             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135190   2017   WABSH   1JJV281D4HL987722             IN             South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135191   2017   WABSH   1JJV281D6HL987723             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135192   2017   WABSH   1JJV281D8HL987724             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135193   2017   WABSH   1JJV281DXHL987725             WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135194   2017   WABSH   1JJV281D1HL987726             TX             Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135195   2017   WABSH   1JJV281D3HL987727             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135196   2017   WABSH   1JJV281D5HL987728             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135197   2017   WABSH   1JJV281D7HL987729             TX             Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135198   2017   WABSH   1JJV281D3HL987730             TX             Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135199   2017   WABSH   1JJV281D5HL987731             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135200   2017   WABSH   1JJV281D7HL987732             PQ             Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135201   2017   WABSH   1JJV281D9HL987733             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135202   2017   WABSH   1JJV281D0HL987734             IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135203   2017   WABSH   1JJV281D2HL987735             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135204   2017   WABSH   1JJV281D4HL987736             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135205   2017   WABSH   1JJV281D6HL987737             CA             Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135206   2017   WABSH   1JJV281D8HL987738             CA             Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135207   2017   WABSH   1JJV281DXHL987739             AL             Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135208   2017   WABSH   1JJV281D6HL987740             MI             Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135209   2017   WABSH   1JJV281D8HL987741             OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135210   2017   WABSH   1JJV281DXHL987742             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135211   2017   WABSH   1JJV281D1HL987743             OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135212   2017   WABSH   1JJV281D3HL987744             WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135213   2017   WABSH   1JJV281D5HL987745             RI             Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135214   2017   WABSH   1JJV281D7HL987746             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135215   2017   WABSH   1JJV281D9HL987747             MD             Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135216   2017   WABSH   1JJV281D0HL987748             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135217   2017   WABSH   1JJV281D2HL987749             GA             Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135218   2017   WABSH   1JJV281D9HL987750             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135219   2017   WABSH   1JJV281D0HL987751             FL             Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135220   2017   WABSH   1JJV281D2HL987752             Alberta        Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135221   2017   WABSH   1JJV281D4HL987753             OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135222   2017   WABSH   1JJV281D6HL987754             OH             North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135223   2017   WABSH   1JJV281D8HL987755             MD             Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135224   2017   WABSH   1JJV281DXHL987756             CA             Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135225   2017   WABSH   1JJV281D1HL987757             Saskatchewan   Saskatoon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135226   2017   WABSH   1JJV281D3HL987758             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135227   2017   WABSH   1JJV281D5HL987759             ND             Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135228   2017   WABSH   1JJV281D1HL987760             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135229   2017   WABSH   1JJV281D3HL987761             WA             Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135230   2017   WABSH   1JJV281D5HL987762             UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135231   2017   WABSH   1JJV281D7HL987763             AL             Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135232   2017   WABSH   1JJV281D9HL987764             MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135233   2017   WABSH   1JJV281D0HL987765             OH             North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135234   2017   WABSH   1JJV281D2HL987766             OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135235   2017   WABSH   1JJV281D4HL987767             WV             Asbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135236   2017   WABSH   1JJV281D6HL987768             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135237   2017   WABSH   1JJV281D8HL987769             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135238   2017   WABSH   1JJV281D4HL987770             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135239   2017   WABSH   1JJV281D6HL987771             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135240   2017   WABSH   1JJV281D8HL987772             Ontario        Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135241   2017   WABSH   1JJV281DXHL987773             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135242   2017   WABSH   1JJV281D1HL987774             NY             Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135243   2017   WABSH   1JJV281D3HL987775             IN             South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135244   2017   WABSH   1JJV281D5HL987776             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135245   2017   WABSH   1JJV281D7HL987777             GA             Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135246   2017   WABSH   1JJV281D9HL987778             MT             Missoula
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135247   2017   WABSH   1JJV281D0HL987779             MO             Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135248   2017   WABSH   1JJV281D7HL987780             Ontario        Niagara on the Lake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135249   2017   WABSH   1JJV281D9HL987781             MS             Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135250   2017   WABSH   1JJV281D0HL987782             MI             Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135251   2017   WABSH   1JJV281D2HL987783             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135252   2017   WABSH   1JJV281D4HL987784             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135253   2017   WABSH   1JJV281D6HL987785             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135254   2017   WABSH   1JJV281D8HL987786             UT             Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 711 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135255   2017   WABSH   1JJV281DXHL987787             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135256   2017   WABSH   1JJV281D1HL987788             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135257   2017   WABSH   1JJV281D3HL987789             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135258   2017   WABSH   1JJV281DXHL987790             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135259   2017   WABSH   1JJV281D1HL987791             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135260   2017   WABSH   1JJV281D3HL987792             OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135261   2017   WABSH   1JJV281D5HL987793             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135262   2017   WABSH   1JJV281D7HL987794             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135263   2017   WABSH   1JJV281D9HL987795             CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135264   2017   WABSH   1JJV281D0HL987796             KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135265   2017   WABSH   1JJV281D2HL987797             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135266   2017   WABSH   1JJV281D4HL987798             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135267   2017   WABSH   1JJV281D6HL987799             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135268   2017   WABSH   1JJV281D9HL987800             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135269   2017   WABSH   1JJV281D0HL987801             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135270   2017   WABSH   1JJV281D2HL987802             MI        Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135271   2017   WABSH   1JJV281D4HL987803             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135272   2017   WABSH   1JJV281D6HL987804             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135273   2017   WABSH   1JJV281D8HL987805             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135274   2017   WABSH   1JJV281DXHL987806             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135275   2017   WABSH   1JJV281D1HL987807             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135276   2017   WABSH   1JJV281D3HL987808             OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135277   2017   WABSH   1JJV281D5HL987809             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135278   2017   WABSH   1JJV281D1HL987810             FL        Fort Myers
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135279   2017   WABSH   1JJV281D3HL987811             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135280   2017   WABSH   1JJV281D5HL987812             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135281   2017   WABSH   1JJV281D7HL987813             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135282   2017   WABSH   1JJV281D9HL987814             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135283   2017   WABSH   1JJV281D0HL987815             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135284   2017   WABSH   1JJV281D2HL987816             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135285   2017   WABSH   1JJV281D4HL987817             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135286   2017   WABSH   1JJV281D6HL987818             ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135287   2017   WABSH   1JJV281D8HL987819             TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135288   2017   WABSH   1JJV281D4HL987820             AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135289   2017   WABSH   1JJV281D6HL987821             GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135290   2017   WABSH   1JJV281D8HL987822             NE        North Platte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135291   2017   WABSH   1JJV281DXHL987823             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135292   2017   WABSH   1JJV281D1HL987824             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135293   2017   WABSH   1JJV281D3HL987825             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135294   2017   WABSH   1JJV281D5HL987826             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135295   2017   WABSH   1JJV281D7HL987827             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135296   2017   WABSH   1JJV281D9HL987828             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135297   2017   WABSH   1JJV281D0HL987829             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135298   2017   WABSH   1JJV281D7HL987830             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135299   2017   WABSH   1JJV281D9HL987831             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135300   2017   WABSH   1JJV281D0HL987832             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135301   2017   WABSH   1JJV281D2HL987833             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135302   2017   WABSH   1JJV281D4HL987834             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135303   2017   WABSH   1JJV281D6HL987835             LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135304   2017   WABSH   1JJV281D8HL987836             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135305   2017   WABSH   1JJV281DXHL987837             CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135306   2017   WABSH   1JJV281D1HL987838             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135307   2017   WABSH   1JJV281D3HL987839             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135308   2017   WABSH   1JJV281DXHL987840             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135309   2017   WABSH   1JJV281D1HL987841             IA        Sioux City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135310   2017   WABSH   1JJV281D3HL987842             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135311   2017   WABSH   1JJV281D5HL987843             OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135312   2017   WABSH   1JJV281D7HL987844             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135313   2017   WABSH   1JJV281D9HL987845             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135314   2017   WABSH   1JJV281D0HL987846             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135316   2017   WABSH   1JJV281D4HL987848             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135317   2017   WABSH   1JJV281D6HL987849             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135318   2017   WABSH   1JJV281D2HL987850             WA        Bellingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135319   2017   WABSH   1JJV281D4HL987851             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135320   2017   WABSH   1JJV281D6HL987852             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135321   2017   WABSH   1JJV281D8HL987853             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135322   2017   WABSH   1JJV281DXHL987854             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135323   2017   WABSH   1JJV281D1HL987855             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135324   2017   WABSH   1JJV281D3HL987856             FL        Ocala
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 712 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135325   2017   WABSH   1JJV281D5HL987857             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135326   2017   WABSH   1JJV281D7HL987858             WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135327   2017   WABSH   1JJV281D9HL987859             RI             Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135328   2017   WABSH   1JJV281D5HL987860             OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135329   2017   WABSH   1JJV281D7HL987861             IL             Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135330   2017   WABSH   1JJV281D9HL987862             NJ             Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135331   2017   WABSH   1JJV281D0HL987863             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135332   2017   WABSH   1JJV281D2HL987864             TX             Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135333   2017   WABSH   1JJV281D4HL987865             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135334   2017   WABSH   1JJV281D6HL987866             CO             Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135335   2017   WABSH   1JJV281D8HL987867             GA             Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135336   2017   WABSH   1JJV281DXHL987868             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135337   2017   WABSH   1JJV281D1HL987869             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135338   2017   WABSH   1JJV281D8HL987870             VA             Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135339   2017   WABSH   1JJV281DXHL987871             Ontario        Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135340   2017   WABSH   1JJV281D1HL987872             PA             Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135341   2017   WABSH   1JJV281D7HL987875             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135342   2017   WABSH   1JJV281D9HL987876             FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135343   2017   WABSH   1JJV281D0HL987877             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135344   2017   WABSH   1JJV281D2HL987878             WI             Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135345   2017   WABSH   1JJV281D4HL987879             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135346   2017   WABSH   1JJV281D0HL987880             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135347   2017   WABSH   1JJV281D2HL987881             CO             Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135348   2017   WABSH   1JJV281D4HL987882             MI             Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135349   2017   WABSH   1JJV281D6HL987883             OH             Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135350   2017   WABSH   1JJV281D8HL987884             OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135351   2017   WABSH   1JJV281DXHL987885             NY             Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135352   2017   WABSH   1JJV281D1HL987886             TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135353   2017   WABSH   1JJV281D3HL987887             OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135354   2017   WABSH   1JJV281D5HL987888             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135355   2017   WABSH   1JJV281D7HL987889             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135356   2017   WABSH   1JJV281D3HL987890             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135357   2017   WABSH   1JJV281D5HL987891             MT             Billings
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135358   2017   WABSH   1JJV281D7HL987892             VA             Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135359   2017   WABSH   1JJV281D9HL987893             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135360   2017   WABSH   1JJV281D0HL987894             SC             Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135361   2017   WABSH   1JJV281D2HL987895             VA             Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135362   2017   WABSH   1JJV281D4HL987896             MD             Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135363   2017   WABSH   1JJV281D6HL987897             IL             Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135364   2017   WABSH   1JJV281D8HL987898             NJ             Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135365   2017   WABSH   1JJV281DXHL987899             GA             Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135366   2017   WABSH   1JJV281D2HL987900             ND             Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135367   2017   WABSH   1JJV281D4HL987901             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135368   2017   WABSH   1JJV281D8HL987903             TX             San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135369   2017   WABSH   1JJV281D3HL987906             WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135370   2017   WABSH   1JJV281D5HL987907             GA             Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135371   2017   WABSH   1JJV281D7HL987908             GA             Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135372   2017   WABSH   1JJV281D9HL987909             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135373   2017   WABSH   1JJV281D7HL987911             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135374   2017   WABSH   1JJV281D9HL987912             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135375   2017   WABSH   1JJV281D0HL987913             WA             Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135376   2017   WABSH   1JJV281D2HL987914             Saskatchewan   Regina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135377   2017   WABSH   1JJV281D4HL987915             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135378   2017   WABSH   1JJV281D6HL987916             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135379   2017   WABSH   1JJV281D8HL987917             UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135380   2017   WABSH   1JJV281D1HL987919             ND             Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135381   2017   WABSH   1JJV281D8HL987920             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135382   2017   WABSH   1JJV281DXHL987921             CA             Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135383   2017   WABSH   1JJV281D1HL987922             NE             Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135384   2017   WABSH   1JJV281D3HL987923             TN             Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135385   2017   WABSH   1JJV281D5HL987924             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135386   2017   WABSH   1JJV281D7HL987925             MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135387   2017   WABSH   1JJV281D9HL987926             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135388   2017   WABSH   1JJV281D4HL987929             TX             Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135389   2017   WABSH   1JJV281D0HL987930             CA             San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135390   2017   WABSH   1JJV281D2HL987931             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135391   2017   WABSH   1JJV281DXHL987935             TX             Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135392   2017   WABSH   1JJV281D9HL987943             GA             Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135393   2017   WABSH   1JJV281D0HL987944             IL             Edwardsville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 713 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135394   2017   WABSH   1JJV281D2HL987945             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135395   2017   WABSH   1JJV281D4HL987946             DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135396   2017   WABSH   1JJV281DXHL987949             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135397   2017   WABSH   1JJV281D6HL987950             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135398   2017   WABSH   1JJV281D8HL987951             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135399   2017   WABSH   1JJV281DXHL987952             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135400   2017   WABSH   1JJV281D1HL987953             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135401   2017   WABSH   1JJV281D3HL987954             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135402   2017   WABSH   1JJV281D5HL987955             WI        Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135403   2017   WABSH   1JJV281D7HL987956             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135404   2017   WABSH   1JJV281D9HL987957             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135405   2017   WABSH   1JJV281D0HL987958             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135406   2017   WABSH   1JJV281D2HL987959             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135407   2017   WABSH   1JJV281D9HL987960             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135408   2017   WABSH   1JJV281D0HL987961             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135409   2017   WABSH   1JJV281D2HL987962             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135410   2017   WABSH   1JJV281D4HL987963             WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135411   2017   WABSH   1JJV281D6HL987964             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135412   2017   WABSH   1JJV281D8HL987965             CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135413   2017   WABSH   1JJV281DXHL987966             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135414   2017   WABSH   1JJV281D1HL987967             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135415   2017   WABSH   1JJV281D3HL987968             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135416   2017   WABSH   1JJV281D5HL987969             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135417   2017   WABSH   1JJV281D1HL987970             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135419   2017   WABSH   1JJV281D5HL987972             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135420   2017   WABSH   1JJV281D7HL987973             MN        Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135421   2017   WABSH   1JJV281D9HL987974             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135422   2017   WABSH   1JJV281D0HL987975             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135423   2017   WABSH   1JJV281D2HL987976             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135424   2017   WABSH   1JJV281D4HL987977             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135425   2017   WABSH   1JJV281D6HL987978             MN        Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135426   2017   WABSH   1JJV281D8HL987979             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135427   2017   WABSH   1JJV281D4HL987980             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135428   2017   WABSH   1JJV281D6HL987981             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135429   2017   WABSH   1JJV281D8HL987982             MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135430   2017   WABSH   1JJV281DXHL987983             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135431   2017   WABSH   1JJV281D1HL987984             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135432   2017   WABSH   1JJV281D3HL987985             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135433   2017   WABSH   1JJV281D5HL987986             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135434   2017   WABSH   1JJV281D7HL987987             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135435   2017   WABSH   1JJV281D9HL987988             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135436   2017   WABSH   1JJV281D0HL987989             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135438   2017   WABSH   1JJV281D3HL021233             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135439   2017   WABSH   1JJV281D5HL021234             GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135440   2017   WABSH   1JJV281D7HL021235             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135441   2017   WABSH   1JJV281D9HL021236             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135442   2017   WABSH   1JJV281D0HL021237             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135443   2017   WABSH   1JJV281D2HL021238             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135444   2017   WABSH   1JJV281D4HL021239             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135445   2017   WABSH   1JJV281D0HL021240             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135446   2017   WABSH   1JJV281D2HL021241             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135447   2017   WABSH   1JJV281D4HL021242             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135448   2017   WABSH   1JJV281D6HL021243             FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135449   2017   WABSH   1JJV281D8HL021244             PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135450   2017   WABSH   1JJV281DXHL021245             ND        Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135451   2017   WABSH   1JJV281D1HL021246             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135452   2017   WABSH   1JJV281D3HL021247             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135453   2017   WABSH   1JJV281D5HL021248             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135454   2017   WABSH   1JJV281D7HL021249             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135455   2017   WABSH   1JJV281D3HL021250             Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135456   2017   WABSH   1JJV281D5HL021251             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135457   2017   WABSH   1JJV281D7HL021252             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135458   2017   WABSH   1JJV281D9HL021253             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135459   2017   WABSH   1JJV281D0HL021254             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135460   2017   WABSH   1JJV281D2HL021255             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135461   2017   WABSH   1JJV281D4HL021256             CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135462   2017   WABSH   1JJV281D6HL021257             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135463   2017   WABSH   1JJV281D8HL021258             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135464   2017   WABSH   1JJV281DXHL021259             MN        Burnsville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 714 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135465   2017   WABSH   1JJV281D6HL021260             IL               Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135466   2017   WABSH   1JJV281D8HL021261             KY               Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135467   2017   WABSH   1JJV281DXHL021262             FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135469   2017   WABSH   1JJV281D3HL021264             WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135470   2017   WABSH   1JJV281D5HL021265             AL               Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135471   2017   WABSH   1JJV281D7HL021266             NY               Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135472   2017   WABSH   1JJV281D9HL021267             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135473   2017   WABSH   1JJV281D0HL021268             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135474   2017   WABSH   1JJV281D2HL021269             OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135475   2017   WABSH   1JJV281D9HL021270             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135476   2017   WABSH   1JJV281D0HL021271             CA               Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135477   2017   WABSH   1JJV281D2HL021272             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135478   2017   WABSH   1JJV281D4HL021273             TX               Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135479   2017   WABSH   1JJV281D6HL021274             NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135480   2017   WABSH   1JJV281D8HL021275             NY               Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135481   2017   WABSH   1JJV281DXHL021276             IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135482   2017   WABSH   1JJV281D1HL021277             DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135483   2017   WABSH   1JJV281D3HL021278             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135484   2017   WABSH   1JJV281D5HL021279             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135485   2017   WABSH   1JJV281D1HL021280             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135486   2017   WABSH   1JJV281D3HL021281             TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135487   2017   WABSH   1JJV281D5HL021282             TX               El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135488   2017   WABSH   1JJV281D7HL021283             NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135489   2017   WABSH   1JJV281D9HL021284             TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135490   2017   WABSH   1JJV281D0HL021285             TN               Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135491   2017   WABSH   1JJV281D2HL021286             FL               Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135492   2017   WABSH   1JJV281D4HL021287             TX               Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135493   2017   WABSH   1JJV281D6HL021288             GA               Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135494   2017   WABSH   1JJV281D8HL021289             IN               Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135495   2017   WABSH   1JJV281D4HL021290             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135496   2017   WABSH   1JJV281D6HL021291             Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135497   2017   WABSH   1JJV281D8HL021292             NY               East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135498   2017   WABSH   1JJV281DXHL021293             NY               Elmira
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135499   2017   WABSH   1JJV281D1HL021294             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135500   2017   WABSH   1JJV281D3HL021295             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135501   2017   WABSH   1JJV281D5HL021296             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135502   2017   WABSH   1JJV281D7HL021297             CA               Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135503   2017   WABSH   1JJV281D9HL021298             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135504   2017   WABSH   1JJV281D0HL021299             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135505   2017   WABSH   1JJV281D3HL021300             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135506   2017   WABSH   1JJV281D5HL021301             ND               Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135507   2017   WABSH   1JJV281D7HL021302             OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135508   2017   WABSH   1JJV281D9HL021303             TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135509   2017   WABSH   1JJV281D0HL021304             OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135510   2017   WABSH   1JJV281D2HL021305             TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135511   2017   WABSH   1JJV281D4HL021306             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135512   2017   WABSH   1JJV281D6HL021307             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135513   2017   WABSH   1JJV281D8HL021308             TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135514   2017   WABSH   1JJV281DXHL021309             MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135515   2017   WABSH   1JJV281D6HL021310             GA               Jefferson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135516   2017   WABSH   1JJV281D8HL021311             FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135517   2017   WABSH   1JJV281DXHL021312             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135518   2017   WABSH   1JJV281D1HL021313             PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135519   2017   WABSH   1JJV281D3HL021314             OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135520   2017   WABSH   1JJV281D5HL021315             TX               McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135521   2017   WABSH   1JJV281D7HL021316             IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135522   2017   WABSH   1JJV281D9HL021317             AR               Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135523   2017   WABSH   1JJV281D0HL021318             OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135524   2017   WABSH   1JJV281D2HL021319             AR               Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135525   2017   WABSH   1JJV281D9HL021320             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135526   2017   WABSH   1JJV281D0HL021321             MS               Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135527   2017   WABSH   1JJV281D2HL021322             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135529   2017   WABSH   1JJV281D6HL021324             IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135530   2017   WABSH   1JJV281D8HL021325             WA               Union Gap
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135531   2017   WABSH   1JJV281DXHL021326             NY               Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135532   2017   WABSH   1JJV281D1HL021327             MO               Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135533   2017   WABSH   1JJV281D3HL021328             MO               Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135534   2017   WABSH   1JJV281D5HL021329             TN               Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135535   2017   WABSH   1JJV281D1HL021330             VA               Richmond
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 715 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135536   2017   WABSH   1JJV281D3HL021331             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135537   2017   WABSH   1JJV281D5HL021332             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135539   2017   WABSH   1JJV281D9HL021334             WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135540   2017   WABSH   1JJV281D0HL021335             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135541   2017   WABSH   1JJV281D2HL021336             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135542   2017   WABSH   1JJV281D4HL021337             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135543   2017   WABSH   1JJV281D6HL021338             VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135544   2017   WABSH   1JJV281D8HL021339             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135545   2017   WABSH   1JJV281D4HL021340             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135546   2017   WABSH   1JJV281D6HL021341             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135547   2017   WABSH   1JJV281D8HL021342             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135548   2017   WABSH   1JJV281DXHL021343             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135549   2017   WABSH   1JJV281D1HL021344             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135550   2017   WABSH   1JJV281D3HL021345             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135551   2017   WABSH   1JJV281D5HL021346             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135552   2017   WABSH   1JJV281D7HL021347             LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135553   2017   WABSH   1JJV281D9HL021348             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135554   2017   WABSH   1JJV281D0HL021349             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135555   2017   WABSH   1JJV281D7HL021350             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135556   2017   WABSH   1JJV281D9HL021351             GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135557   2017   WABSH   1JJV281D0HL021352             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135558   2017   WABSH   1JJV281D2HL021353             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135559   2017   WABSH   1JJV281D4HL021354             OH      Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135560   2017   WABSH   1JJV281D6HL021355             PA      Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135561   2017   WABSH   1JJV281D8HL021356             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135562   2017   WABSH   1JJV281DXHL021357             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135563   2017   WABSH   1JJV281D1HL021358             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135564   2017   WABSH   1JJV281D3HL021359             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135565   2017   WABSH   1JJV281DXHL021360             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135566   2017   WABSH   1JJV281D1HL021361             AZ      Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135567   2017   WABSH   1JJV281D3HL021362             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135568   2017   WABSH   1JJV281D5HL021363             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135569   2017   WABSH   1JJV281D7HL021364             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135570   2017   WABSH   1JJV281D9HL021365             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135571   2017   WABSH   1JJV281D0HL021366             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135572   2017   WABSH   1JJV281D2HL021367             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135573   2017   WABSH   1JJV281D4HL021368             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135574   2017   WABSH   1JJV281D6HL021369             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135575   2017   WABSH   1JJV281D2HL021370             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135576   2017   WABSH   1JJV281D4HL021371             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135577   2017   WABSH   1JJV281D6HL021372             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135578   2017   WABSH   1JJV281D8HL021373             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135579   2017   WABSH   1JJV281DXHL021374             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135580   2017   WABSH   1JJV281D1HL021375             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135581   2017   WABSH   1JJV281D3HL021376             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135582   2017   WABSH   1JJV281D5HL021377             TX      McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135583   2017   WABSH   1JJV281D7HL021378             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135584   2017   WABSH   1JJV281D9HL021379             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135585   2017   WABSH   1JJV281D5HL021380             WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135586   2017   WABSH   1JJV281D7HL021381             CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135587   2017   WABSH   1JJV281D9HL021382             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135588   2017   WABSH   1JJV281D0HL021383             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135589   2017   WABSH   1JJV281D2HL021384             VA      Christiansburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135590   2017   WABSH   1JJV281D4HL021385             VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135591   2017   WABSH   1JJV281D6HL021386             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135592   2017   WABSH   1JJV281D8HL021387             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135593   2017   WABSH   1JJV281DXHL021388             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135594   2017   WABSH   1JJV281D1HL021389             IA      Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135595   2017   WABSH   1JJV281D8HL021390             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135596   2017   WABSH   1JJV281DXHL021391             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135597   2017   WABSH   1JJV281D1HL021392             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135598   2017   WABSH   1JJV281D3HL021393             GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135599   2017   WABSH   1JJV281D5HL021394             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135600   2017   WABSH   1JJV281D7HL021395             MS      Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135601   2017   WABSH   1JJV281D9HL021396             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135602   2017   WABSH   1JJV281D0HL021397             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135603   2017   WABSH   1JJV281D2HL021398             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135604   2017   WABSH   1JJV281D4HL021399             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135605   2017   WABSH   1JJV281D7HL021400             NE      Omaha
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 716 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135606   2017   WABSH   1JJV281D9HL021401             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135607   2017   WABSH   1JJV281D0HL021402             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135608   2017   WABSH   1JJV281D2HL021403             WI        Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135609   2017   WABSH   1JJV281D4HL021404             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135610   2017   WABSH   1JJV281D6HL021405             MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135611   2017   WABSH   1JJV281D8HL021406             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135612   2017   WABSH   1JJV281DXHL021407             PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135613   2017   WABSH   1JJV281D1HL021408             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135614   2017   WABSH   1JJV281D3HL021409             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135615   2017   WABSH   1JJV281DXHL021410             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135616   2017   WABSH   1JJV281D1HL021411             WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135617   2017   WABSH   1JJV281D3HL021412             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135618   2017   WABSH   1JJV281D5HL021413             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135619   2017   WABSH   1JJV281D7HL021414             TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135620   2017   WABSH   1JJV281D9HL021415             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135621   2017   WABSH   1JJV281D0HL021416             MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135622   2017   WABSH   1JJV281D2HL021417             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135623   2017   WABSH   1JJV281D4HL021418             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135624   2017   WABSH   1JJV281D6HL021419             SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135625   2017   WABSH   1JJV281D2HL021420             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135626   2017   WABSH   1JJV281D4HL021421             WI        Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135627   2017   WABSH   1JJV281D6HL021422             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135628   2017   WABSH   1JJV281D8HL021423             SD        Watertown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135629   2017   WABSH   1JJV281DXHL021424             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135630   2017   WABSH   1JJV281D1HL021425             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135631   2017   WABSH   1JJV281D3HL021426             WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135632   2017   WABSH   1JJV281D5HL021427             MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135633   2017   WABSH   1JJV281D7HL021428             CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135634   2017   WABSH   1JJV281D9HL021429             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135635   2017   WABSH   1JJV281D5HL021430             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135636   2017   WABSH   1JJV281D7HL021431             AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135637   2017   WABSH   1JJV281D0HL028141             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY135638   2017   WABSH   1JJV281D2HL028142             MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136070   2018   WABSH   1JJV281D4JL081298   DVDBHPC   DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136071   2018   WABSH   1JJV281D6JL081299   DVDBHPC   GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136072   2018   WABSH   1JJV281D9JL081300   DVDBHPC   IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136073   2018   WABSH   1JJV281D0JL081301   DVDBHPC   CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136074   2018   WABSH   1JJV281D2JL081302   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136075   2018   WABSH   1JJV281D4JL081303   DVDBHPC   CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136076   2018   WABSH   1JJV281D6JL081304   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136077   2018   WABSH   1JJV281D8JL081305   DVDBHPC   PA        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136078   2018   WABSH   1JJV281DXJL081306   DVDBHPC   IN        Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136079   2018   WABSH   1JJV281D1JL081307   DVDBHPC   MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136080   2018   WABSH   1JJV281D3JL081308   DVDBHPC   OR        Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136081   2018   WABSH   1JJV281D5JL081309   DVDBHPC   TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136082   2018   WABSH   1JJV281D1JL081310   DVDBHPC   TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136083   2018   WABSH   1JJV281D3JL081311   DVDBHPC   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136084   2018   WABSH   1JJV281D5JL081312   DVDBHPC   Ontario   Woodstock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136085   2018   WABSH   1JJV281D7JL081313   DVDBHPC   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136086   2018   WABSH   1JJV281D9JL081314   DVDBHPC   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136087   2018   WABSH   1JJV281D0JL081315   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136088   2018   WABSH   1JJV281D2JL081316   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY136089   2018   WABSH   1JJV281D4JL081317   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137578   2019   WABSH   1JJV281DXKL091920   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137631   2019   WABSH   1JJV281D9KL091973   DVDBHPC   IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137632   2019   WABSH   1JJV281D0KL091974   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137633   2019   WABSH   1JJV281D2KL091975   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137634   2019   WABSH   1JJV281D4KL091976   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137635   2019   WABSH   1JJV281D6KL091977   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137636   2019   WABSH   1JJV281D8KL091978   DVDBHPC   CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137637   2019   WABSH   1JJV281DXKL091979   DVDBHPC   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137638   2019   WABSH   1JJV281D6KL091980   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137639   2019   WABSH   1JJV281D8KL091981   DVDBHPC   KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137640   2019   WABSH   1JJV281DXKL091982   DVDBHPC   LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137641   2019   WABSH   1JJV281D1KL091983   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137642   2019   WABSH   1JJV281D3KL091984   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137643   2019   WABSH   1JJV281D5KL091985   DVDBHPC   TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137644   2019   WABSH   1JJV281D7KL091986   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137645   2019   WABSH   1JJV281D9KL091987   DVDBHPC   OH        Copley
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 717 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137646   2019   WABSH   1JJV281D0KL091988   DVDBHPC      FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137647   2019   WABSH   1JJV281D2KL091989   DVDBHPC      UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137649   2019   WABSH   1JJV281D0KL091991   DVDBHPC      MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137652   2019   WABSH   1JJV281D6KL091994   DVDBHPC      TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137653   2019   WABSH   1JJV281D8KL091995   DVDBHPC      IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137654   2019   WABSH   1JJV281DXKL091996   DVDBHPC      NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137655   2019   WABSH   1JJV281D1KL091997   DVDBHPC      IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137656   2019   WABSH   1JJV281D3KL091998   DVDBHPC      OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137657   2019   WABSH   1JJV281D5KL091999   DVDBHPC      CO      Grand Junction
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137658   2019   WABSH   1JJV281D6KL092000   DVDBHPC      MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137659   2019   WABSH   1JJV281D8KL092001   DVDBHPC      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY137660   2019   WABSH   1JJV281DXKL092002   DVDBHPC      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139194   2019   WABSH   1JJV281D3KL140326   DVDBHPC      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139439   2019   VANGU   5V8VC281XKM904274   VXP          PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139440   2019   VANGU   5V8VC2811KM904275                CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139441   2017   STGHT   1DW1A281XHS716800   DVW‐285S‐C   MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139442   2017   STGHT   1DW1A2813HS716802   DVW‐285S‐C   TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139443   2017   STGHT   1DW1A2815HS716803   DVW‐285S‐C   ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139445   2017   STGHT   1DW1A2810HS716806   DVW‐285S‐C   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139446   2017   STGHT   1DW1A2814HS716808   DVW‐285S‐C   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139447   2017   STGHT   1DW1A2816HS716809   DVW‐285S‐C   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139448   2017   STGHT   1DW1A2812HS716810   DVW‐285S‐C   AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139450   2017   STGHT   1DW1A281XHS716814   DVW‐285S‐C   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139452   2017   STGHT   1DW1A2813HS716816   DVW‐285S‐C   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139453   2017   STGHT   1DW1A2815HS716817   DVW‐285S‐C   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139454   2017   STGHT   1DW1A2817HS716818   DVW‐285S‐C   CA      Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139456   2017   STGHT   1DW1A2810HS716823   DVW‐285S‐C   NC      Raleigh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139458   2017   STGHT   1DW1A2818HS716827   DVW‐285S‐C   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139459   2017   STGHT   1DW1A2811HS716829   DVW‐285S‐C   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139460   2017   STGHT   1DW1A281XHS716831   DVW‐285S‐C   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139461   2017   STGHT   1DW1A2813HS716833   DVW‐285S‐C   FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139462   2017   STGHT   1DW1A2815HS716834   DVW‐285S‐C   PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139463   2017   STGHT   1DW1A2812HB719075   DVW‐285S‐C   OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139464   2017   STGHT   1DW1A2819HS716836   DVW‐285S‐C   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139466   2017   STGHT   1DW1A2814HS716839   DVW‐285S‐C   VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139467   2017   STGHT   1DW1A2810HS716840   DVW‐285S‐C   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139468   2017   STGHT   1DW1A2816HS716843   DVW‐285S‐C   CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139469   2017   STGHT   1DW1A2818HS716844   DVW‐285S‐C   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139473   2017   STGHT   1DW1A2813HS716850   DVW‐285S‐C   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139475   2017   STGHT   1DW1A2817HS716852   DVW‐285S‐C   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139476   2017   STGHT   1DW1A2819HS716853   DVW‐285S‐C   NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139477   2017   STGHT   1DW1A2810HS716854   DVW‐285S‐C   TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139481   2017   STGHT   1DW1A2818HS716861   DVW‐285S‐C   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139483   2017   STGHT   1DW1A2817HS716866   DVW‐285S‐C   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139484   2017   STGHT   1DW1A2810HS716868   DVW‐285S‐C   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139485   2017   STGHT   1DW1A2812HS716869   DVW‐285S‐C   SC      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139486   2017   STGHT   1DW1A2810HS716871   DVW‐285S‐C   WV      Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139487   2017   STGHT   1DW1A2812HS716872   DVW‐285S‐C   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139488   2017   STGHT   1DW1A2814HS716873   DVW‐285S‐C   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139490   2017   STGHT   1DW1A2818HS716875   DVW‐285S‐C   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139492   2017   STGHT   1DW1A2815HS716879   DVW‐285S‐C   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139493   2017   STGHT   1DW1A2811HS716880   DVW‐285S‐C   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139494   2017   STGHT   1DW1A2813HS716881   DVW‐285S‐C   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139495   2017   STGHT   1DW1A2815HS716882   DVW‐285S‐C   FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139497   2017   STGHT   1DW1A2812HS716886   DVW‐285S‐C   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139498   2017   STGHT   1DW1A2814HS716887   DVW‐285S‐C   WA      Union Gap
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139499   2017   STGHT   1DW1A2816HS716888   DVW‐285S‐C   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139500   2017   STGHT   1DW1A2818HS716889   DVW‐285S‐C   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139501   2017   STGHT   1DW1A2818HS716892   DVW‐285S‐C   CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139502   2017   STGHT   1DW1A2813HS716895   DVW‐285S‐C   TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139504   2017   STGHT   1DW1A2819HS716898   DVW‐285S‐C   FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139506   2017   STGHT   1DW1A2815HS716901   DVW‐285S‐C   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139507   2017   STGHT   1DW1A2817HS716902   DVW‐285S‐C   FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139508   2017   STGHT   1DW1A2810HS716904   DVW‐285S‐C   IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139509   2017   STGHT   1DW1A2814HS716906   DVW‐285S‐C   NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139510   2017   STGHT   1DW1A2816HS716907   DVW‐285S‐C   PA      Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139511   2017   STGHT   1DW1A2818HS716908   DVW‐285S‐C   TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139514   2017   STGHT   1DW1A281XHS716912   DVW‐285S‐C   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139515   2017   STGHT   1DW1A2811HS716913   DVW‐285S‐C   NY      East Syracuse
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 718 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139517   2017   STGHT   1DW1A2819HS716920   DVW‐285S‐C   MI      Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139518   2017   STGHT   1DW1A2816HS716924   DVW‐285S‐C   GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139519   2017   STGHT   1DW1A2818HS716925   DVW‐285S‐C   CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139520   2017   STGHT   1DW1A281XHS716926   DVW‐285S‐C   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139521   2017   STGHT   1DW1A2811HS716927   DVW‐285S‐C   IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139524   2017   STGHT   1DW1A2811HS716930   DVW‐285S‐C   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139525   2017   STGHT   1DW1A2813HS716931   DVW‐285S‐C   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139526   2017   STGHT   1DW1A2815HS716932   DVW‐285S‐C   PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139527   2017   STGHT   1DW1A2817HS716933   DVW‐285S‐C   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139528   2017   STGHT   1DW1A2810HS716935   DVW‐285S‐C   PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139529   2017   STGHT   1DW1A2812HS716936   DVW‐285S‐C   FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139531   2017   STGHT   1DW1A2818HS716939   DVW‐285S‐C   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139532   2017   STGHT   1DW1A2814HS716940   DVW‐285S‐C   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139533   2017   STGHT   1DW1A2811HS716944   DVW‐285S‐C   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139536   2017   STGHT   1DW1A2819HS716948   DVW‐285S‐C   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139537   2017   STGHT   1DW1A2810HS716949   DVW‐285S‐C   IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139538   2017   STGHT   1DW1A2814HB719000   DVW‐285S‐C   CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139539   2017   STGHT   1DW1A2818HB719002   DVW‐285S‐C   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139540   2017   STGHT   1DW1A2817HB719007   DVW‐285S‐C   GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139541   2017   STGHT   1DW1A2810HB719009   DVW‐285S‐C   CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139542   2017   STGHT   1DW1A2819HB719011   DVW‐285S‐C   CA      Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139545   2017   STGHT   1DW1A2816HB719015   DVW‐285S‐C   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139546   2017   STGHT   1DW1A281XHB719017   DVW‐285S‐C   CA      Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139547   2017   STGHT   1DW1A2811HB719018   DVW‐285S‐C   AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139548   2017   STGHT   1DW1A2813HB719019   DVW‐285S‐C   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139550   2017   STGHT   1DW1A2811HB719021   DVW‐285S‐C   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139551   2017   STGHT   1DW1A2813HB719022   DVW‐285S‐C   CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139552   2017   STGHT   1DW1A2815HB719023   DVW‐285S‐C   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139553   2017   STGHT   1DW1A2816HB719029   DVW‐285S‐C   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139554   2017   STGHT   1DW1A2812HB719030   DVW‐285S‐C   GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139555   2017   STGHT   1DW1A2814HB719031   DVW‐285S‐C   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139556   2017   STGHT   1DW1A2816HB719032   DVW‐285S‐C   GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139557   2017   STGHT   1DW1A2818HB719033   DVW‐285S‐C   IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139558   2017   STGHT   1DW1A281XHB719034   DVW‐285S‐C   VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139559   2017   STGHT   1DW1A2811HB719035   DVW‐285S‐C   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139560   2017   STGHT   1DW1A2813HB719036   DVW‐285S‐C   NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139561   2017   STGHT   1DW1A2815HB719037   DVW‐285S‐C   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139562   2017   STGHT   1DW1A2819HB719039   DVW‐285S‐C   IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139563   2017   STGHT   1DW1A2815HB719040   DVW‐285S‐C   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139564   2017   STGHT   1DW1A2817HB719041   DVW‐285S‐C   IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139565   2017   STGHT   1DW1A2819HB719042   DVW‐285S‐C   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139566   2017   STGHT   1DW1A2812HB719044   DVW‐285S‐C   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139567   2017   STGHT   1DW1A281XHB719048   DVW‐285S‐C   MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139568   2017   STGHT   1DW1A2811HB719049   DVW‐285S‐C   MI      Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139572   2017   STGHT   1DW1A2814HB719059   DVW‐285S‐C   MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139573   2017   STGHT   1DW1A2810HB719060   DVW‐285S‐C   TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139574   2017   STGHT   1DW1A2812HB719061   DVW‐285S‐C   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139576   2017   STGHT   1DW1A2811HB719066   DVW‐285S‐C   KY      Waddy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139578   2017   STGHT   1DW1A2815HB719068   DVW‐285S‐C   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139579   2017   STGHT   1DW1A2813HB719070   DVW‐285S‐C   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139580   2017   STGHT   1DW1A2815HB719071   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139581   2017   STGHT   1DW1A2814HB719076   DVW‐285S‐C   CA      Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139582   2017   STGHT   1DW1A2816HB719077   DVW‐285S‐C   VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139584   2017   STGHT   1DW1A2816HB719080   DVW‐285S‐C   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139585   2017   STGHT   1DW1A281XHB719082   DVW‐285S‐C   IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139587   2017   STGHT   1DW1A2817HB719086   DVW‐285S‐C   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139588   2017   STGHT   1DW1A2819HB719087   DVW‐285S‐C   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139589   2017   STGHT   1DW1A2812HB719089   DVW‐285S‐C   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139590   2017   STGHT   1DW1A2814HB719093   DVW‐285S‐C   PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139591   2017   STGHT   1DW1A2818HB719095   DVW‐285S‐C   AR      Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139592   2017   STGHT   1DW1A281XHB719096   DVW‐285S‐C   MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139593   2017   STGHT   1DW1A2813HB719098   DVW‐285S‐C   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139594   2017   STGHT   1DW1A2815HB719099   DVW‐285S‐C   PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139595   2017   STGHT   1DW1A2818HB719100   DVW‐285S‐C   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139596   2017   STGHT   1DW1A281XHB719101   DVW‐285S‐C   FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139598   2017   STGHT   1DW1A2815HB719104   DVW‐285S‐C   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139599   2017   STGHT   1DW1A2817HB719105   DVW‐285S‐C   MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139600   2017   STGHT   1DW1A2819HB719106   DVW‐285S‐C   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139601   2017   STGHT   1DW1A2812HB719108   DVW‐285S‐C   TN      Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 719 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139603   2017   STGHT   1DW1A2812HB719111   DVW‐285S‐C   MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139604   2017   STGHT   1DW1A2814HB719112   DVW‐285S‐C   OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139606   2017   STGHT   1DW1A281XHB719115   DVW‐285S‐C   NY               Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139607   2017   STGHT   1DW1A2813HB719117   DVW‐285S‐C   WI               Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139608   2017   STGHT   1DW1A2815HB719118   DVW‐285S‐C   NH               Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139609   2017   STGHT   1DW1A2813HB719120   DVW‐285S‐C   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139610   2017   STGHT   1DW1A2815HB719121   DVW‐285S‐C   WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139612   2017   STGHT   1DW1A2810HB719124   DVW‐285S‐C   CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139613   2017   STGHT   1DW1A2816HB719127   DVW‐285S‐C   TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139614   2017   STGHT   1DW1A2818HB719128   DVW‐285S‐C   TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139615   2017   STGHT   1DW1A281XHB719129   DVW‐285S‐C   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139616   2017   STGHT   1DW1A2818HB719131   DVW‐285S‐C   CA               San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139617   2017   STGHT   1DW1A281XHB719132   DVW‐285S‐C   MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139620   2017   STGHT   1DW1A2810HB719138   DVW‐285S‐C   MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139621   2017   STGHT   1DW1A2812HB719139   DVW‐285S‐C   ND               Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139622   2017   STGHT   1DW1A2812HB719142   DVW‐285S‐C   MO               Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139623   2017   STGHT   1DW1A2816HB719144   DVW‐285S‐C   NY               Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139625   2017   STGHT   1DW1A2811HB719147   DVW‐285S‐C   IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139626   2017   STGHT   1DW1A2813HB719148   DVW‐285S‐C   FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139628   2017   STGHT   1DW1A2811HB719150   DVW‐285S‐C   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139629   2017   STGHT   1DW1A2815HB719152   DVW‐285S‐C   OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139630   2017   STGHT   1DW1A2817HB719153   DVW‐285S‐C   CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139631   2017   STGHT   1DW1A2819HB719154   DVW‐285S‐C   TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139632   2017   STGHT   1DW1A2812HB719156   DVW‐285S‐C   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139634   2017   STGHT   1DW1A2816HB719158   DVW‐285S‐C   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139635   2017   STGHT   1DW1A2816HB719161   DVW‐285S‐C   SD               Watertown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139637   2017   STGHT   1DW1A2819HB719168   DVW‐285S‐C   TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139638   2017   STGHT   1DW1A2817HB719170   DVW‐285S‐C   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139639   2017   STGHT   1DW1A2819HB719171   DVW‐285S‐C   CA               Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139640   2017   STGHT   1DW1A2812HB719173   DVW‐285S‐C   CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139641   2017   STGHT   1DW1A2818HB719176   DVW‐285S‐C   OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139644   2017   STGHT   1DW1A2813HB719179   DVW‐285S‐C   TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139645   2017   STGHT   1DW1A281XHB719180   DVW‐285S‐C   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139646   2017   STGHT   1DW1A2811HB719181   DVW‐285S‐C   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139647   2017   STGHT   1DW1A2815HB719183   DVW‐285S‐C   WI               Portage
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139648   2017   STGHT   1DW1A2817HB719184   DVW‐285S‐C   MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139649   2017   STGHT   1DW1A2812HB719187   DVW‐285S‐C   NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139650   2017   STGHT   1DW1A2814HB719188   DVW‐285S‐C   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139651   2017   STGHT   1DW1A2812HB719190   DVW‐285S‐C   MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139652   2017   STGHT   1DW1A2814HB719191   DVW‐285S‐C   MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139653   2017   STGHT   1DW1A2818HB719193   DVW‐285S‐C   Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139654   2017   STGHT   1DW1A281XHB719194   DVW‐285S‐C   British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139655   2017   STGHT   1DW1A2811HB719195   DVW‐285S‐C   TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139656   2017   STGHT   1DW1A2813HB719196   DVW‐285S‐C   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139657   2017   STGHT   1DW1A2815HB719197   DVW‐285S‐C   British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139658   2017   STGHT   1DW1A2817HB719198   DVW‐285S‐C   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139659   2017   STGHT   1DW1A2819HB719199   DVW‐285S‐C   FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139660   2017   STGHT   1DW1A2811HB719200   DVW‐285S‐C   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139662   2017   STGHT   1DW1A2815HB719202   DVW‐285S‐C   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139664   2017   STGHT   1DW1A2819HB719204   DVW‐285S‐C   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139666   2017   STGHT   1DW1A2814HB719207   DVW‐285S‐C   FL               Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139667   2017   STGHT   1DW1A2818HB719209   DVW‐285S‐C   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139668   2017   STGHT   1DW1A2814HB719210   DVW‐285S‐C   GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139669   2017   STGHT   1DW1A281XHB719213   DVW‐285S‐C   MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139671   2017   STGHT   1DW1A2815HB719216   DVW‐285S‐C   IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139672   2017   STGHT   1DW1A2817HB719217   DVW‐285S‐C   IL               Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139673   2017   STGHT   1DW1A2819HB719218   DVW‐285S‐C   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139674   2017   STGHT   1DW1A2810HB719219   DVW‐285S‐C   MI               Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139675   2017   STGHT   1DW1A2817HB719220   DVW‐285S‐C   IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139676   2017   STGHT   1DW1A2819HB719221   DVW‐285S‐C   TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139677   2017   STGHT   1DW1A2810HB719222   DVW‐285S‐C   Quebec           Quebec City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139678   2017   STGHT   1DW1A2812HB719223   DVW‐285S‐C   NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139680   2017   STGHT   1DW1A2818HB719226   DVW‐285S‐C   NV               Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139683   2017   STGHT   1DW1A2813HB719229   DVW‐285S‐C   DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139684   2017   STGHT   1DW1A281XHB719230   DVW‐285S‐C   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139685   2017   STGHT   1DW1A2811HB719231   DVW‐285S‐C   Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139689   2017   STGHT   1DW1A2819HB719235   DVW‐285S‐C   NJ               Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139690   2017   STGHT   1DW1A2810HB719236   DVW‐285S‐C   NY               Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139691   2017   STGHT   1DW1A2812HB719237   DVW‐285S‐C   NJ               South Plainfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 720 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139692   2017   STGHT   1DW1A2816HB719239   DVW‐285S‐C   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139693   2017   STGHT   1DW1A2812HB719240   DVW‐285S‐C   IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139694   2017   STGHT   1DW1A2816HB719242   DVW‐285S‐C   FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139695   2017   STGHT   1DW1A2818HB719243   DVW‐285S‐C   CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139698   2017   STGHT   1DW1A2813HB719246   DVW‐285S‐C   VA         Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139699   2017   STGHT   1DW1A2817HB719248   DVW‐285S‐C   IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139700   2017   STGHT   1DW1A2819HB719249   DVW‐285S‐C   Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139701   2017   STGHT   1DW1A2815HB719250   DVW‐285S‐C   PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139702   2017   STGHT   1DW1A2817HB719251   DVW‐285S‐C   MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139703   2017   STGHT   1DW1A2810HB719253   DVW‐285S‐C   Ontario    Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139704   2017   STGHT   1DW1A2816HB719256   DVW‐285S‐C   NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139705   2017   STGHT   1DW1A2818HB719257   DVW‐285S‐C   IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139706   2017   STGHT   1DW1A281XHB719261   DVW‐285S‐C   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139707   2017   STGHT   1DW1A2817HB719265   DVW‐285S‐C   IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139709   2017   STGHT   1DW1A2814HB719269   DVW‐285S‐C   MO         Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139710   2017   STGHT   1DW1A2810HB719270   DVW‐285S‐C   IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139711   2017   STGHT   1DW1A2812HB719271   DVW‐285S‐C   FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139712   2017   STGHT   1DW1A2814HB719272   DVW‐285S‐C   IA         Sioux City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139713   2017   STGHT   1DW1A2816HB719273   DVW‐285S‐C   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139715   2017   STGHT   1DW1A2813HB719277   DVW‐285S‐C   MO         Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139716   2017   STGHT   1DW1A2815HB719281   DVW‐285S‐C   ID         Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139717   2017   STGHT   1DW1A2810HB719284   DVW‐285S‐C   AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139719   2017   STGHT   1DW1A2814HB719286   DVW‐285S‐C   TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139720   2017   STGHT   1DW1A2818HB719288   DVW‐285S‐C   UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139721   2017   STGHT   1DW1A2816HB719290   DVW‐285S‐C   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139722   2017   STGHT   1DW1A2818HB719291   DVW‐285S‐C   TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139723   2017   STGHT   1DW1A281XHB719292   DVW‐285S‐C   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139724   2017   STGHT   1DW1A2811HB719293   DVW‐285S‐C   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139725   2017   STGHT   1DW1A2813HB719294   DVW‐285S‐C   NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139726   2017   STGHT   1DW1A2815HB719295   DVW‐285S‐C   AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139727   2017   STGHT   1DW1A2817HB719296   DVW‐285S‐C   FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139728   2017   STGHT   1DW1A2815HB719300   DVW‐285S‐C   TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139729   2017   STGHT   1DW1A2817HB719301   DVW‐285S‐C   MT         Billings
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139730   2017   STGHT   1DW1A2819HB719302   DVW‐285S‐C   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139731   2017   STGHT   1DW1A281XHB719308   DVW‐285S‐C   IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139734   2017   STGHT   1DW1A281XHB719311   DVW‐285S‐C   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139735   2017   STGHT   1DW1A2811HB719312   DVW‐285S‐C   UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139736   2017   STGHT   1DW1A2813HB719313   DVW‐285S‐C   SC         Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139739   2017   STGHT   1DW1A2810HB719317   DVW‐285S‐C   FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139741   2017   STGHT   1DW1A2812HB719321   DVW‐285S‐C   GA         Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139742   2017   STGHT   1DW1A2814HB719322   DVW‐285S‐C   GA         Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139743   2017   STGHT   1DW1A2818HB719324   DVW‐285S‐C   CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139744   2017   STGHT   1DW1A281XHB719325   DVW‐285S‐C   IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139745   2017   STGHT   1DW1A2813HB719330   DVW‐285S‐C   NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139746   2017   STGHT   1DW1A2819HB719333   DVW‐285S‐C   OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139748   2017   STGHT   1DW1A2814HB719336   DVW‐285S‐C   UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139749   2017   STGHT   1DW1A2818HB719338   DVW‐285S‐C   NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139751   2017   STGHT   1DW1A2816HB719340   DVW‐285S‐C   TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139752   2017   STGHT   1DW1A281XHB719342   DVW‐285S‐C   WV         Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139754   2017   STGHT   1DW1A2812HB719349   DVW‐285S‐C   MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139755   2017   STGHT   1DW1A2810HB719351   DVW‐285S‐C   IL         Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139756   2017   STGHT   1DW1A2814HB719353   DVW‐285S‐C   CA         Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139758   2017   STGHT   1DW1A2815HB719359   DVW‐285S‐C   NY         East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139759   2017   STGHT   1DW1A2811HB719360   DVW‐285S‐C   IN         Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139760   2017   STGHT   1DW1A2813HB719361   DVW‐285S‐C   OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139762   2017   STGHT   1DW1A2817HB719363   DVW‐285S‐C   IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139763   2017   STGHT   1DW1A2819HB719364   DVW‐285S‐C   TX         Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139764   2017   STGHT   1DW1A2810HB719365   DVW‐285S‐C   GA         Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139765   2017   STGHT   1DW1A2814HB719367   DVW‐285S‐C   GA         Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139766   2017   STGHT   1DW1A2816HB719368   DVW‐285S‐C   VA         Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139767   2017   STGHT   1DW1A2818HB719369   DVW‐285S‐C   PA         Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139768   2017   STGHT   1DW1A2816HB719371   DVW‐285S‐C   FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139769   2017   STGHT   1DW1A2818HB719372   DVW‐285S‐C   OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139770   2017   STGHT   1DW1A281XHB719373   DVW‐285S‐C   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139771   2017   STGHT   1DW1A2811HB719374   DVW‐285S‐C   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139773   2017   STGHT   1DW1A2817HB719377   DVW‐285S‐C   AZ         Tucson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139774   2017   STGHT   1DW1A2819HB719378   DVW‐285S‐C   NE         Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139775   2017   STGHT   1DW1A2810HB719379   DVW‐285S‐C   OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139777   2017   STGHT   1DW1A2812HB719383   DVW‐285S‐C   TX         Dallas
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 721 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139778   2017   STGHT   1DW1A2814HB719384   DVW‐285S‐C   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139780   2017   STGHT   1DW1A281XHB719387   DVW‐285S‐C   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139781   2017   STGHT   1DW1A2813HB719389   DVW‐285S‐C   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139783   2017   STGHT   1DW1A2811HB719391   DVW‐285S‐C   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139784   2017   STGHT   1DW1A2813HB719392   DVW‐285S‐C   GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139786   2017   STGHT   1DW1A2810HB719396   DVW‐285S‐C   OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139787   2017   STGHT   1DW1A2810HB719401   DVW‐285S‐C   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139790   2017   STGHT   1DW1A2816HB719404   DVW‐285S‐C   RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139791   2017   STGHT   1DW1A2818HB719405   DVW‐285S‐C   ND      Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139792   2017   STGHT   1DW1A2811HB719407   DVW‐285S‐C   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139793   2017   STGHT   1DW1A2813HB719408   DVW‐285S‐C   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139794   2017   STGHT   1DW1A2813HB719411   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139795   2017   STGHT   1DW1A2819HB719414   DVW‐285S‐C   CA      Willows
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139798   2017   STGHT   1DW1A2818HB719422   DVW‐285S‐C   NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139799   2017   STGHT   1DW1A2811HB719424   DVW‐285S‐C   CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139800   2017   STGHT   1DW1A2817HB719427   DVW‐285S‐C   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139801   2017   STGHT   1DW1A2819HB719428   DVW‐285S‐C   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139802   2017   STGHT   1DW1A2817HB719430   DVW‐285S‐C   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139803   2017   STGHT   1DW1A2810HB719432   DVW‐285S‐C   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139804   2017   STGHT   1DW1A2812HB719433   DVW‐285S‐C   CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139805   2017   STGHT   1DW1A2814HB719434   DVW‐285S‐C   OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139806   2017   STGHT   1DW1A2816HB719435   DVW‐285S‐C   WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139807   2017   STGHT   1DW1A2818HB719436   DVW‐285S‐C   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139809   2017   STGHT   1DW1A281XHB719440   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139810   2017   STGHT   1DW1A2811HB719441   DVW‐285S‐C   CA      Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139811   2017   STGHT   1DW1A2813HB719442   DVW‐285S‐C   NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139814   2017   STGHT   1DW1A2810HB719446   DVW‐285S‐C   TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139815   2017   STGHT   1DW1A2814HB719448   DVW‐285S‐C   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139816   2017   STGHT   1DW1A2816HB719449   DVW‐285S‐C   NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139817   2017   STGHT   1DW1A2812HB719450   DVW‐285S‐C   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139818   2017   STGHT   1DW1A2814HB719451   DVW‐285S‐C   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139821   2017   STGHT   1DW1A2815HB719457   DVW‐285S‐C   IL      Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139822   2017   STGHT   1DW1A2819HB719459   DVW‐285S‐C   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139825   2017   STGHT   1DW1A2819HB719462   DVW‐285S‐C   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139826   2017   STGHT   1DW1A2810HB719463   DVW‐285S‐C   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139827   2017   STGHT   1DW1A2812HB719464   DVW‐285S‐C   TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139828   2017   STGHT   1DW1A2814HB719465   DVW‐285S‐C   TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139829   2017   STGHT   1DW1A2818HB719467   DVW‐285S‐C   IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139830   2017   STGHT   1DW1A281XHB719468   DVW‐285S‐C   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139831   2017   STGHT   1DW1A2811HB719469   DVW‐285S‐C   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139832   2017   STGHT   1DW1A2811HB719472   DVW‐285S‐C   CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139833   2017   STGHT   1DW1A2813HB719473   DVW‐285S‐C   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139834   2017   STGHT   1DW1A2817HB719475   DVW‐285S‐C   KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139836   2017   STGHT   1DW1A2812HB719478   DVW‐285S‐C   MO      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139837   2017   STGHT   1DW1A2810HB719480   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139838   2017   STGHT   1DW1A2814HB719482   DVW‐285S‐C   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139839   2017   STGHT   1DW1A2816HB719483   DVW‐285S‐C   CO      Grand Junction
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139841   2017   STGHT   1DW1A2811HB719486   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139843   2017   STGHT   1DW1A2813HB719490   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139844   2017   STGHT   1DW1A2815HB719748   DVW‐285S‐C   LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139847   2017   STGHT   1DW1A2810HB719494   DVW‐285S‐C   TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139850   2017   STGHT   1DW1A2814HB719501   DVW‐285S‐C   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139851   2017   STGHT   1DW1A2816HB719502   DVW‐285S‐C   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139852   2017   STGHT   1DW1A2818HB719503   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139853   2017   STGHT   1DW1A281XHB719504   DVW‐285S‐C   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139854   2017   STGHT   1DW1A2811HB719505   DVW‐285S‐C   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139855   2017   STGHT   1DW1A2813HB719506   DVW‐285S‐C   KS      Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139856   2017   STGHT   1DW1A2815HB719507   DVW‐285S‐C   GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139857   2017   STGHT   1DW1A2819HB719509   DVW‐285S‐C   IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139858   2017   STGHT   1DW1A2815HB719510   DVW‐285S‐C   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139859   2017   STGHT   1DW1A2817HB719511   DVW‐285S‐C   FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139860   2017   STGHT   1DW1A2812HB719514   DVW‐285S‐C   FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139861   2017   STGHT   1DW1A2814HB719515   DVW‐285S‐C   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139862   2017   STGHT   1DW1A2816HB719516   DVW‐285S‐C   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139863   2017   STGHT   1DW1A2818HB719517   DVW‐285S‐C   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139865   2017   STGHT   1DW1A2811HB719519   DVW‐285S‐C   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139866   2017   STGHT   1DW1A2818HB719520   DVW‐285S‐C   PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139868   2017   STGHT   1DW1A2811HB719522   DVW‐285S‐C   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139869   2017   STGHT   1DW1A2815HB719524   DVW‐285S‐C   IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 722 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139871   2017   STGHT   1DW1A2810HB719527   DVW‐285S‐C   CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139873   2017   STGHT   1DW1A2814HB719529   DVW‐285S‐C   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139874   2017   STGHT   1DW1A2810HB719530   DVW‐285S‐C   NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139875   2017   STGHT   1DW1A2814HB719532   DVW‐285S‐C   NY        Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139877   2017   STGHT   1DW1A281XHB719535   DVW‐285S‐C   MI        Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139878   2017   STGHT   1DW1A2811HB719536   DVW‐285S‐C   CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139879   2017   STGHT   1DW1A2817HB719539   DVW‐285S‐C   RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139880   2017   STGHT   1DW1A2815HB719541   DVW‐285S‐C   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139882   2017   STGHT   1DW1A2819HB719543   DVW‐285S‐C   IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139883   2017   STGHT   1DW1A2810HB719544   DVW‐285S‐C   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139885   2017   STGHT   1DW1A2816HB719547   DVW‐285S‐C   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139886   2017   STGHT   1DW1A2818HB719548   DVW‐285S‐C   PA        Milton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139887   2017   STGHT   1DW1A281XHB719549   DVW‐285S‐C   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139888   2017   STGHT   1DW1A2816HB719550   DVW‐285S‐C   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139889   2017   STGHT   1DW1A2818HB719551   DVW‐285S‐C   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139891   2017   STGHT   1DW1A2813HB719554   DVW‐285S‐C   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139892   2017   STGHT   1DW1A2815HB719555   DVW‐285S‐C   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139893   2017   STGHT   1DW1A2817HB719556   DVW‐285S‐C   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139894   2017   STGHT   1DW1A2819HB719557   DVW‐285S‐C   MO        Sikeston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139895   2017   STGHT   1DW1A2810HB719558   DVW‐285S‐C   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139896   2017   STGHT   1DW1A2812HB719559   DVW‐285S‐C   ND        Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139897   2017   STGHT   1DW1A2810HB719561   DVW‐285S‐C   MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139898   2017   STGHT   1DW1A2814HB719563   DVW‐285S‐C   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139899   2017   STGHT   1DW1A2816HB719564   DVW‐285S‐C   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139900   2017   STGHT   1DW1A2811HB719567   DVW‐285S‐C   VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139901   2017   STGHT   1DW1A2813HB719568   DVW‐285S‐C   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139903   2017   STGHT   1DW1A2813HB719571   DVW‐285S‐C   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139904   2017   STGHT   1DW1A2815HB719572   DVW‐285S‐C   VA        Christiansburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139910   2017   STGHT   1DW1A2816HB719578   DVW‐285S‐C   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139911   2017   STGHT   1DW1A2816HB719581   DVW‐285S‐C   MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139912   2017   STGHT   1DW1A281XHB719583   DVW‐285S‐C   GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139913   2017   STGHT   1DW1A2811HB719584   DVW‐285S‐C   NY        Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139914   2017   STGHT   1DW1A2813HB719585   DVW‐285S‐C   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139916   2017   STGHT   1DW1A2817HB719587   DVW‐285S‐C   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139918   2017   STGHT   1DW1A2812HB719593   DVW‐285S‐C   CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139919   2017   STGHT   1DW1A2814HB719594   DVW‐285S‐C   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139922   2017   STGHT   1DW1A2813HB719599   DVW‐285S‐C   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139923   2017   STGHT   1DW1A2816HB719600   DVW‐285S‐C   MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139924   2017   STGHT   1DW1A281XHB719602   DVW‐285S‐C   MN        Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139925   2017   STGHT   1DW1A2811HB719603   DVW‐285S‐C   TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139926   2017   STGHT   1DW1A2813HB719604   DVW‐285S‐C   CO        Denver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139928   2017   STGHT   1DW1A2817HB719606   DVW‐285S‐C   MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139929   2017   STGHT   1DW1A2812HB719609   DVW‐285S‐C   IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139931   2017   STGHT   1DW1A2816HB719614   DVW‐285S‐C   NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139932   2017   STGHT   1DW1A281XHB719616   DVW‐285S‐C   OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139933   2017   STGHT   1DW1A2811HB719617   DVW‐285S‐C   VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139934   2017   STGHT   1DW1A2815HB719619   DVW‐285S‐C   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139935   2017   STGHT   1DW1A2811HB719620   DVW‐285S‐C   CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139936   2017   STGHT   1DW1A2817HB719623   DVW‐285S‐C   IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139937   2017   STGHT   1DW1A2819HB719624   DVW‐285S‐C   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139938   2017   STGHT   1DW1A2810HB719625   DVW‐285S‐C   MT        Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139942   2017   STGHT   1DW1A2814HB719630   DVW‐285S‐C   NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139944   2017   STGHT   1DW1A2818HB719632   DVW‐285S‐C   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139948   2017   STGHT   1DW1A2815HB719636   DVW‐285S‐C   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139949   2017   STGHT   1DW1A2819HB719638   DVW‐285S‐C   IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139950   2017   STGHT   1DW1A2819HB719641   DVW‐285S‐C   MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139951   2017   STGHT   1DW1A2810HB719642   DVW‐285S‐C   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139952   2017   STGHT   1DW1A2812HB719643   DVW‐285S‐C   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139954   2017   STGHT   1DW1A2816HB719645   DVW‐285S‐C   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139955   2017   STGHT   1DW1A2818HB719646   DVW‐285S‐C   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139957   2017   STGHT   1DW1A2811HB719648   DVW‐285S‐C   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139958   2017   STGHT   1DW1A2813HB719649   DVW‐285S‐C   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139959   2017   STGHT   1DW1A281XHB719650   DVW‐285S‐C   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139964   2017   STGHT   1DW1A2810HB719656   DVW‐285S‐C   FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139965   2017   STGHT   1DW1A2814HB719658   DVW‐285S‐C   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139966   2017   STGHT   1DW1A2816HB719659   DVW‐285S‐C   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139968   2017   STGHT   1DW1A281XHB719664   DVW‐285S‐C   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139969   2017   STGHT   1DW1A2811HB719665   DVW‐285S‐C   CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139972   2017   STGHT   1DW1A2819HB719672   DVW‐285S‐C   Alberta   Edmonton
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 723 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139973   2017   STGHT   1DW1A2810HB719673   DVW‐285S‐C   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139974   2017   STGHT   1DW1A2812HB719674   DVW‐285S‐C   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139977   2017   STGHT   1DW1A2811HB719679   DVW‐285S‐C   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139978   2017   STGHT   1DW1A2818HB719680   DVW‐285S‐C   FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139980   2017   STGHT   1DW1A2815HB719684   DVW‐285S‐C   CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139981   2017   STGHT   1DW1A2810HB719687   DVW‐285S‐C   KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139982   2017   STGHT   1DW1A2814HB719689   DVW‐285S‐C   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139983   2017   STGHT   1DW1A2810HB719690   DVW‐285S‐C   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139984   2017   STGHT   1DW1A2812HB719691   DVW‐285S‐C   OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139986   2017   STGHT   1DW1A2818HB719694   DVW‐285S‐C   TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139988   2017   STGHT   1DW1A2811HB719696   DVW‐285S‐C   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139989   2017   STGHT   1DW1A2815HB719698   DVW‐285S‐C   SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139991   2017   STGHT   1DW1A281XHB719700   DVW‐285S‐C   CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139994   2017   STGHT   1DW1A2815HB719703   DVW‐285S‐C   FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139995   2017   STGHT   1DW1A2817HB719704   DVW‐285S‐C   NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139997   2017   STGHT   1DW1A2816HB719709   DVW‐285S‐C   Ontario   Woodstock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY139998   2017   STGHT   1DW1A2812HB719710   DVW‐285S‐C   OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140000   2017   STGHT   1DW1A2818HB719713   DVW‐285S‐C   CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140001   2017   STGHT   1DW1A281XHB719714   DVW‐285S‐C   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140002   2017   STGHT   1DW1A2811HB719715   DVW‐285S‐C   FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140003   2017   STGHT   1DW1A2813HB719716   DVW‐285S‐C   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140007   2017   STGHT   1DW1A2815HB719720   DVW‐285S‐C   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140010   2017   STGHT   1DW1A2816HB719726   DVW‐285S‐C   PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140012   2017   STGHT   1DW1A281XHB719728   DVW‐285S‐C   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140013   2017   STGHT   1DW1A2811HB719729   DVW‐285S‐C   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140014   2017   STGHT   1DW1A2818HB719730   DVW‐285S‐C   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140015   2017   STGHT   1DW1A281XHB719731   DVW‐285S‐C   ID        Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140017   2017   STGHT   1DW1A2813HB719733   DVW‐285S‐C   NY        Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140018   2017   STGHT   1DW1A2815HB719734   DVW‐285S‐C   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140020   2017   STGHT   1DW1A2819HB719736   DVW‐285S‐C   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140023   2017   STGHT   1DW1A2810HB719740   DVW‐285S‐C   CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140024   2017   STGHT   1DW1A2812HB719741   DVW‐285S‐C   NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140026   2017   STGHT   1DW1A2818HB719744   DVW‐285S‐C   MO        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140029   2017   STGHT   1DW1A2817HB719749   DVW‐285S‐C   MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140032   2017   STGHT   1DW1A2819HB719753   DVW‐285S‐C   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140034   2017   STGHT   1DW1A2812HB719755   DVW‐285S‐C   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140035   2017   STGHT   1DW1A2814HB719756   DVW‐285S‐C   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140038   2017   STGHT   1DW1A2816HB719760   DVW‐285S‐C   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140039   2017   STGHT   1DW1A281XHB719762   DVW‐285S‐C   LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140040   2017   STGHT   1DW1A2811HB719763   DVW‐285S‐C   TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140041   2017   STGHT   1DW1A2813HB719764   DVW‐285S‐C   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140042   2017   STGHT   1DW1A2815HB719765   DVW‐285S‐C   IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140043   2017   STGHT   1DW1A2817HB719766   DVW‐285S‐C   RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140044   2017   STGHT   1DW1A2819HB719767   DVW‐285S‐C   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140047   2017   STGHT   1DW1A281XHB719776   DVW‐285S‐C   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140048   2017   STGHT   1DW1A2811HB719777   DVW‐285S‐C   Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140049   2017   STGHT   1DW1A2813HB719778   DVW‐285S‐C   NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140050   2017   STGHT   1DW1A2815HB719779   DVW‐285S‐C   ID        Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140051   2017   STGHT   1DW1A2811HB719780   DVW‐285S‐C   GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140052   2017   STGHT   1DW1A2813HB719781   DVW‐285S‐C   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140053   2017   STGHT   1DW1A2817HB719783   DVW‐285S‐C   CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140054   2017   STGHT   1DW1A2819HB719784   DVW‐285S‐C   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140055   2017   STGHT   1DW1A2810HB719785   DVW‐285S‐C   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140056   2017   STGHT   1DW1A2814HB719787   DVW‐285S‐C   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140058   2017   STGHT   1DW1A2818HB719789   DVW‐285S‐C   IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140059   2017   STGHT   1DW1A2814HB719790   DVW‐285S‐C   FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140060   2017   STGHT   1DW1A2816HB719791   DVW‐285S‐C   NC        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140061   2017   STGHT   1DW1A2818HB719792   DVW‐285S‐C   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140063   2017   STGHT   1DW1A2815HB719796   DVW‐285S‐C   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140064   2017   STGHT   1DW1A2819HB719798   DVW‐285S‐C   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140065   2017   STGHT   1DW1A2810HB719799   DVW‐285S‐C   OH        Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140069   2017   STGHT   1DW1A2810HB719804   DVW‐285S‐C   IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140070   2017   STGHT   1DW1A2814HB719806   DVW‐285S‐C   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140071   2017   STGHT   1DW1A2818HB719808   DVW‐285S‐C   TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140072   2017   STGHT   1DW1A281XHB719809   DVW‐285S‐C   KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140073   2017   STGHT   1DW1A2816HB719810   DVW‐285S‐C   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140074   2017   STGHT   1DW1A2818HB719811   DVW‐285S‐C   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140075   2017   STGHT   1DW1A281XHB719812   DVW‐285S‐C   MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140076   2017   STGHT   1DW1A2811HB719813   DVW‐285S‐C   AZ        Phoenix
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 724 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140077   2017   STGHT   1DW1A2813HB719814   DVW‐285S‐C   UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140078   2017   STGHT   1DW1A2815HB719815   DVW‐285S‐C   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140079   2017   STGHT   1DW1A2819HB719817   DVW‐285S‐C   NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140082   2017   STGHT   1DW1A2810HB719821   DVW‐285S‐C   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140083   2017   STGHT   1DW1A2818HB719825   DVW‐285S‐C   FL         Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140084   2017   STGHT   1DW1A2811HB719827   DVW‐285S‐C   NJ         South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140085   2017   STGHT   1DW1A2813HB719828   DVW‐285S‐C   LA         Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140086   2017   STGHT   1DW1A2815HB719829   DVW‐285S‐C   NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140087   2017   STGHT   1DW1A2811HB719830   DVW‐285S‐C   VA         Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140088   2017   STGHT   1DW1A2813HB719831   DVW‐285S‐C   TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140090   2017   STGHT   1DW1A2819HB719834   DVW‐285S‐C   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140091   2017   STGHT   1DW1A2812HB719836   DVW‐285S‐C   DE         New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140092   2017   STGHT   1DW1A2814HB719837   DVW‐285S‐C   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140093   2017   STGHT   1DW1A2816HB719838   DVW‐285S‐C   AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140095   2017   STGHT   1DW1A2814HB719840   DVW‐285S‐C   IN         Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140098   2017   STGHT   1DW1A281XHB719843   DVW‐285S‐C   NV         Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140099   2017   STGHT   1DW1A2811HB719844   DVW‐285S‐C   TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140100   2017   STGHT   1DW1A2813HB719845   DVW‐285S‐C   FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140101   2017   STGHT   1DW1A2815HB719846   DVW‐285S‐C   MD         Elkridge
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140102   2017   STGHT   1DW1A2817HB719847   DVW‐285S‐C   AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140103   2017   STGHT   1DW1A2810HB719849   DVW‐285S‐C   OK         Checotah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140104   2017   STGHT   1DW1A2817HB719850   DVW‐285S‐C   CA         Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140105   2017   STGHT   1DW1A2812HB719853   DVW‐285S‐C   AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140107   2017   STGHT   1DW1A2816HB719855   DVW‐285S‐C   PA         Milton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140108   2017   STGHT   1DW1A281XHB719857   DVW‐285S‐C   VA         Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140110   2017   STGHT   1DW1A2813HB719859   DVW‐285S‐C   Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140111   2017   STGHT   1DW1A281XHB719860   DVW‐285S‐C   CA         Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140112   2017   STGHT   1DW1A2811HB719861   DVW‐285S‐C   PQ         Sherbrooke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140113   2017   STGHT   1DW1A2815HB719863   DVW‐285S‐C   FL         Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140114   2017   STGHT   1DW1A2819HB719865   DVW‐285S‐C   MS         Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140116   2017   STGHT   1DW1A2814HB719868   DVW‐285S‐C   MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140117   2017   STGHT   1DW1A281XHB719874   DVW‐285S‐C   OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140118   2017   STGHT   1DW1A2811HB719875   DVW‐285S‐C   TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140119   2017   STGHT   1DW1A2815HB719877   DVW‐285S‐C   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140120   2017   STGHT   1DW1A2817HB719878   DVW‐285S‐C   PA         Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140121   2017   STGHT   1DW1A2819HB719879   DVW‐285S‐C   VA         Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140122   2017   STGHT   1DW1A2815HB719880   DVW‐285S‐C   UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140125   2017   STGHT   1DW1A2812HB719884   DVW‐285S‐C   WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140126   2017   STGHT   1DW1A2814HB719885   DVW‐285S‐C   TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140131   2017   STGHT   1DW1A2815HB719894   DVW‐285S‐C   MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140134   2017   STGHT   1DW1A2812HB719898   DVW‐285S‐C   OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140135   2017   STGHT   1DW1A2814HB719899   DVW‐285S‐C   OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140136   2017   STGHT   1DW1A2810HB719902   DVW‐285S‐C   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140137   2017   STGHT   1DW1A2812HB719903   DVW‐285S‐C   NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140138   2017   STGHT   1DW1A2814HB719904   DVW‐285S‐C   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140141   2017   STGHT   1DW1A281XHB719907   DVW‐285S‐C   NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140142   2017   STGHT   1DW1A2811HB719908   DVW‐285S‐C   OH         Gallipolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140143   2017   STGHT   1DW1A2813HB719909   DVW‐285S‐C   KS         Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140144   2017   STGHT   1DW1A281XHB719910   DVW‐285S‐C   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140146   2017   STGHT   1DW1A2813HB719912   DVW‐285S‐C   FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140147   2017   STGHT   1DW1A2817HB719914   DVW‐285S‐C   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140148   2017   STGHT   1DW1A2819HB719915   DVW‐285S‐C   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140150   2017   STGHT   1DW1A2814HB719918   DVW‐285S‐C   DE         New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140151   2017   STGHT   1DW1A2816HB719919   DVW‐285S‐C   CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140154   2017   STGHT   1DW1A281XHB719924   DVW‐285S‐C   Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140155   2017   STGHT   1DW1A2815HB719927   DVW‐285S‐C   AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140156   2017   STGHT   1DW1A2819HB719929   DVW‐285S‐C   GA         Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140157   2017   STGHT   1DW1A2815HB719930   DVW‐285S‐C   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140158   2017   STGHT   1DW1A2810HB719933   DVW‐285S‐C   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140159   2017   STGHT   1DW1A2812HB719934   DVW‐285S‐C   CA         Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140160   2017   STGHT   1DW1A2816HB719936   DVW‐285S‐C   CO         Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140161   2017   STGHT   1DW1A2818HB719937   DVW‐285S‐C   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140162   2017   STGHT   1DW1A281XHB719938   DVW‐285S‐C   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140163   2017   STGHT   1DW1A2818HB719940   DVW‐285S‐C   VA         Christiansburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140164   2017   STGHT   1DW1A281XHB719941   DVW‐285S‐C   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140165   2017   STGHT   1DW1A2813HB719943   DVW‐285S‐C   TX         Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140166   2017   STGHT   1DW1A2817HB719945   DVW‐285S‐C   MI         Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140167   2017   STGHT   1DW1A2810HB719947   DVW‐285S‐C   OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140168   2017   STGHT   1DW1A2814HB719949   DVW‐285S‐C   FL         Orlando
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 725 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140169   2017   STGHT   1DW1A2810HB719950   DVW‐285S‐C   NH        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140170   2017   STGHT   1DW1A2814HB719952   DVW‐285S‐C   KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140171   2017   STGHT   1DW1A2818HB719954   DVW‐285S‐C   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140172   2017   STGHT   1DW1A2815HB719958   DVW‐285S‐C   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140173   2017   STGHT   1DW1A2813HB719960   DVW‐285S‐C   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140176   2017   STGHT   1DW1A2812HB719965   DVW‐285S‐C   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140177   2017   STGHT   1DW1A2816HB719967   DVW‐285S‐C   NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140178   2017   STGHT   1DW1A2818HB719968   DVW‐285S‐C   NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140179   2017   STGHT   1DW1A281XHB719969   DVW‐285S‐C   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140181   2017   STGHT   1DW1A2818HB719971   DVW‐285S‐C   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140182   2017   STGHT   1DW1A281XHB719972   DVW‐285S‐C   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140183   2017   STGHT   1DW1A2811HB719973   DVW‐285S‐C   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140185   2017   STGHT   1DW1A2815HB719975   DVW‐285S‐C   FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140186   2017   STGHT   1DW1A2817HB719976   DVW‐285S‐C   FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140187   2017   STGHT   1DW1A2810HB719978   DVW‐285S‐C   TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140188   2017   STGHT   1DW1A2812HB719979   DVW‐285S‐C   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140190   2017   STGHT   1DW1A2814HB719983   DVW‐285S‐C   Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140191   2017   STGHT   1DW1A281XHB719986   DVW‐285S‐C   PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140192   2017   STGHT   1DW1A2813HB719988   DVW‐285S‐C   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140193   2017   STGHT   1DW1A2815HB719989   DVW‐285S‐C   CA        Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140194   2017   STGHT   1DW1A2813HB719991   DVW‐285S‐C   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140196   2017   STGHT   1DW1A2817HB719993   DVW‐285S‐C   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140197   2017   STGHT   1DW1A2814HB719997   DVW‐285S‐C   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140198   2017   STGHT   1DW1A2816HB719998   DVW‐285S‐C   MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140199   2017   STGHT   1DW1A2818HB719999   DVW‐285S‐C   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140201   2017   STGHT   1DW1A2818HB720005   DVW‐285S‐C   CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140202   2017   STGHT   1DW1A2811HB720010   DVW‐285S‐C   CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140203   2017   STGHT   1DW1A2815HB720012   DVW‐285S‐C   NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140204   2017   STGHT   1DW1A2819HB720014   DVW‐285S‐C   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140205   2017   STGHT   1DW1A2812HB720016   DVW‐285S‐C   NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140206   2017   STGHT   1DW1A2814HB720017   DVW‐285S‐C   IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140209   2017   STGHT   1DW1A2819HB720028   DVW‐285S‐C   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140210   2017   STGHT   1DW1A2810HB720029   DVW‐285S‐C   NY        Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140211   2017   STGHT   1DW1A2817HB720030   DVW‐285S‐C   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140213   2017   STGHT   1DW1A2810HB720032   DVW‐285S‐C   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140218   2017   STGHT   1DW1A2813HB720039   DVW‐285S‐C   NY        Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140219   2017   STGHT   1DW1A2815HB720043   DVW‐285S‐C   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140220   2017   STGHT   1DW1A2817HB720044   DVW‐285S‐C   NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140221   2017   STGHT   1DW1A2819HB720045   DVW‐285S‐C   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140222   2017   STGHT   1DW1A2816HB720049   DVW‐285S‐C   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140223   2017   STGHT   1DW1A2816HB720052   DVW‐285S‐C   Ontario   Woodstock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140224   2017   STGHT   1DW1A2818HB720053   DVW‐285S‐C   VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140225   2017   STGHT   1DW1A281XHB720054   DVW‐285S‐C   NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140226   2017   STGHT   1DW1A2811HB720055   DVW‐285S‐C   MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140227   2017   STGHT   1DW1A2819HB720059   DVW‐285S‐C   MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140228   2017   STGHT   1DW1A2815HB720060   DVW‐285S‐C   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140229   2017   STGHT   1DW1A2817HB720061   DVW‐285S‐C   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140232   2017   STGHT   1DW1A281XHB720068   DVW‐285S‐C   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140233   2017   STGHT   1DW1A2811HB720069   DVW‐285S‐C   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140234   2017   STGHT   1DW1A2818HB720070   DVW‐285S‐C   CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140235   2017   STGHT   1DW1A281XHB720071   DVW‐285S‐C   MO        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140236   2017   STGHT   1DW1A2811HB720072   DVW‐285S‐C   IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140238   2017   STGHT   1DW1A2817HB720075   DVW‐285S‐C   FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140239   2017   STGHT   1DW1A2819HB720076   DVW‐285S‐C   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140240   2017   STGHT   1DW1A2812HB720078   DVW‐285S‐C   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140241   2017   STGHT   1DW1A281XHB720085   DVW‐285S‐C   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140242   2017   STGHT   1DW1A2811HB720086   DVW‐285S‐C   WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140243   2017   STGHT   1DW1A2815HB720088   DVW‐285S‐C   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140244   2017   STGHT   1DW1A2817HB720089   DVW‐285S‐C   LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140246   2017   STGHT   1DW1A2819HB720093   DVW‐285S‐C   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140247   2017   STGHT   1DW1A2814HB720096   DVW‐285S‐C   Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140251   2017   STGHT   1DW1A2814HB720101   DVW‐285S‐C   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140252   2017   STGHT   1DW1A2816HB720102   DVW‐285S‐C   FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140256   2017   STGHT   1DW1A2813HB720106   DVW‐285S‐C   GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140257   2017   STGHT   1DW1A2817HB720108   DVW‐285S‐C   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140258   2017   STGHT   1DW1A2819HB720109   DVW‐285S‐C   CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140259   2017   STGHT   1DW1A2815HB720110   DVW‐285S‐C   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140260   2017   STGHT   1DW1A2817HB720111   DVW‐285S‐C   VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140262   2017   STGHT   1DW1A2810HB720113   DVW‐285S‐C   SC        Columbia
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 726 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140264   2017   STGHT   1DW1A2814HB720115   DVW‐285S‐C   PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140265   2017   STGHT   1DW1A2811HB720119   DVW‐285S‐C   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140266   2017   STGHT   1DW1A2811HB720122   DVW‐285S‐C   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140267   2017   STGHT   1DW1A2815HB720124   DVW‐285S‐C   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140268   2017   STGHT   1DW1A2817HB720125   DVW‐285S‐C   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140269   2017   STGHT   1DW1A2819HB720126   DVW‐285S‐C   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140270   2017   STGHT   1DW1A2810HB720127   DVW‐285S‐C   CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140271   2017   STGHT   1DW1A2812HB720131   DVW‐285S‐C   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140273   2017   STGHT   1DW1A2816HB720133   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140274   2017   STGHT   1DW1A281XHB720135   DVW‐285S‐C   NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140275   2017   STGHT   1DW1A2811HB720136   DVW‐285S‐C   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140276   2017   STGHT   1DW1A2815HB720138   DVW‐285S‐C   IL      Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140277   2017   STGHT   1DW1A2813HB720140   DVW‐285S‐C   KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140279   2017   STGHT   1DW1A2819HB720143   DVW‐285S‐C   NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140281   2017   STGHT   1DW1A2816HB720147   DVW‐285S‐C   NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140283   2017   STGHT   1DW1A2818HB720151   DVW‐285S‐C   WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140284   2017   STGHT   1DW1A2813HB720154   DVW‐285S‐C   CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140285   2017   STGHT   1DW1A2815HB720155   DVW‐285S‐C   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140287   2017   STGHT   1DW1A2810HB720161   DVW‐285S‐C   WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140288   2017   STGHT   1DW1A2812HB720162   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140289   2017   STGHT   1DW1A2814HB720163   DVW‐285S‐C   KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140290   2017   STGHT   1DW1A2816HB720164   DVW‐285S‐C   CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140291   2017   STGHT   1DW1A2818HB720165   DVW‐285S‐C   IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140292   2017   STGHT   1DW1A2811HB720167   DVW‐285S‐C   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140293   2017   STGHT   1DW1A2818HB720280   DVW‐285S‐C   VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140294   2017   STGHT   1DW1A2815HB720172   DVW‐285S‐C   WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140297   2017   STGHT   1DW1A2810HB720175   DVW‐285S‐C   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140298   2017   STGHT   1DW1A2812HB720176   DVW‐285S‐C   OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140299   2017   STGHT   1DW1A2814HB720177   DVW‐285S‐C   CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140300   2017   STGHT   1DW1A2818HB720179   DVW‐285S‐C   MA      North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140301   2017   STGHT   1DW1A281XHB720183   DVW‐285S‐C   CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140302   2017   STGHT   1DW1A2811HB720184   DVW‐285S‐C   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140303   2017   STGHT   1DW1A2813HB720185   DVW‐285S‐C   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140304   2017   STGHT   1DW1A2810HB720189   DVW‐285S‐C   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140305   2017   STGHT   1DW1A2817HB720190   DVW‐285S‐C   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140306   2017   STGHT   1DW1A2819HB720191   DVW‐285S‐C   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140307   2017   STGHT   1DW1A2810HB720192   DVW‐285S‐C   NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140308   2017   STGHT   1DW1A2812HB720193   DVW‐285S‐C   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140309   2017   STGHT   1DW1A2814HB720194   DVW‐285S‐C   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140310   2017   STGHT   1DW1A2818HB720196   DVW‐285S‐C   IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140311   2017   STGHT   1DW1A281XHB720197   DVW‐285S‐C   MD      Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140312   2017   STGHT   1DW1A2811HB720198   DVW‐285S‐C   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140313   2017   STGHT   1DW1A2813HB720199   DVW‐285S‐C   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140314   2017   STGHT   1DW1A2818HB720201   DVW‐285S‐C   NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140315   2017   STGHT   1DW1A2813HB720204   DVW‐285S‐C   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140316   2017   STGHT   1DW1A2817HB720206   DVW‐285S‐C   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140317   2017   STGHT   1DW1A2819HB720207   DVW‐285S‐C   ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140318   2017   STGHT   1DW1A2810HB720208   DVW‐285S‐C   PA      Dunmore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140320   2017   STGHT   1DW1A2812HB720212   DVW‐285S‐C   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140321   2017   STGHT   1DW1A2814HB720213   DVW‐285S‐C   CA      Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140322   2017   STGHT   1DW1A2818HB720215   DVW‐285S‐C   MS      Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140324   2017   STGHT   1DW1A2811HB720217   DVW‐285S‐C   FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140325   2017   STGHT   1DW1A2813HB720218   DVW‐285S‐C   OH      Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140326   2017   STGHT   1DW1A2811HB720220   DVW‐285S‐C   OH      Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140327   2017   STGHT   1DW1A2813HB720221   DVW‐285S‐C   TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140328   2017   STGHT   1DW1A2817HB720223   DVW‐285S‐C   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140329   2017   STGHT   1DW1A2819HB720224   DVW‐285S‐C   NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140330   2017   STGHT   1DW1A2810HB720225   DVW‐285S‐C   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140331   2017   STGHT   1DW1A2812HB720226   DVW‐285S‐C   ID      Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140332   2017   STGHT   1DW1A2814HB720227   DVW‐285S‐C   IL      Quincy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140333   2017   STGHT   1DW1A2816HB720228   DVW‐285S‐C   FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140334   2017   STGHT   1DW1A2818HB720229   DVW‐285S‐C   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140335   2017   STGHT   1DW1A2816HB720231   DVW‐285S‐C   NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140336   2017   STGHT   1DW1A2811HB720234   DVW‐285S‐C   NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140337   2017   STGHT   1DW1A2817HB720237   DVW‐285S‐C   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140338   2017   STGHT   1DW1A2810HB720239   DVW‐285S‐C   OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140339   2017   STGHT   1DW1A2817HB720240   DVW‐285S‐C   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140340   2017   STGHT   1DW1A2819HB720241   DVW‐285S‐C   NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140342   2017   STGHT   1DW1A2812HB720243   DVW‐285S‐C   IN      Indianapolis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 727 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State          City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140343   2017   STGHT   1DW1A2814HB720244   DVW‐285S‐C   CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140344   2017   STGHT   1DW1A2816HB720245   DVW‐285S‐C   DE             New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140346   2017   STGHT   1DW1A2813HB720249   DVW‐285S‐C   NE             Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140347   2017   STGHT   1DW1A281XHB720250   DVW‐285S‐C   CA             Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140349   2017   STGHT   1DW1A2813HB720252   DVW‐285S‐C   TX             McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140351   2017   STGHT   1DW1A2817HB720254   DVW‐285S‐C   TX             Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140352   2017   STGHT   1DW1A2819HB720255   DVW‐285S‐C   FL             Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140353   2017   STGHT   1DW1A2810HB720256   DVW‐285S‐C   UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140354   2017   STGHT   1DW1A2812HB720257   DVW‐285S‐C   CA             Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140355   2017   STGHT   1DW1A2814HB720258   DVW‐285S‐C   KS             Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140356   2017   STGHT   1DW1A2812HB720260   DVW‐285S‐C   TN             Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140357   2017   STGHT   1DW1A2814HB720261   DVW‐285S‐C   NV             Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140359   2017   STGHT   1DW1A2817HB720268   DVW‐285S‐C   IN             Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140362   2017   STGHT   1DW1A2819HB720272   DVW‐285S‐C   WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140363   2017   STGHT   1DW1A2810HB720273   DVW‐285S‐C   Alberta        Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140365   2017   STGHT   1DW1A2818HB720277   DVW‐285S‐C   LA             Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140366   2017   STGHT   1DW1A2811HB720279   DVW‐285S‐C   LA             Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140368   2017   STGHT   1DW1A2811HB720282   DVW‐285S‐C   UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140370   2017   STGHT   1DW1A2815HB720284   DVW‐285S‐C   MO             Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140371   2017   STGHT   1DW1A2819HB720286   DVW‐285S‐C   OH             Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140372   2017   STGHT   1DW1A2810HB720287   DVW‐285S‐C   PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140373   2017   STGHT   1DW1A2814HB720289   DVW‐285S‐C   TX             Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140375   2017   STGHT   1DW1A2812HB720291   DVW‐285S‐C   UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140377   2017   STGHT   1DW1A2813HB720297   DVW‐285S‐C   LA             Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140378   2017   STGHT   1DW1A2817HB720299   DVW‐285S‐C   OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140379   2017   STGHT   1DW1A281XHB720300   DVW‐285S‐C   NJ             Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140380   2017   STGHT   1DW1A2811HB720301   DVW‐285S‐C   CA             Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140381   2017   STGHT   1DW1A2813HB720302   DVW‐285S‐C   OH             Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140382   2017   STGHT   1DW1A2815HB720303   DVW‐285S‐C   MS             Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140383   2017   STGHT   1DW1A2817HB720304   DVW‐285S‐C   IL             Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140384   2017   STGHT   1DW1A2819HB720305   DVW‐285S‐C   AL             Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140386   2017   STGHT   1DW1A2816HB720309   DVW‐285S‐C   IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140388   2017   STGHT   1DW1A2816HB720312   DVW‐285S‐C   NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140390   2017   STGHT   1DW1A2811HB720315   DVW‐285S‐C   IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140394   2017   STGHT   1DW1A2819HB720319   DVW‐285S‐C   NV             Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140395   2017   STGHT   1DW1A2819HB720322   DVW‐285S‐C   NV             Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140396   2017   STGHT   1DW1A2810HB720323   DVW‐285S‐C   CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140397   2017   STGHT   1DW1A2812HB720324   DVW‐285S‐C   TX             El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140398   2017   STGHT   1DW1A2816HB720326   DVW‐285S‐C   CA             Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140399   2017   STGHT   1DW1A2818HB720327   DVW‐285S‐C   OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140402   2017   STGHT   1DW1A281XHB720331   DVW‐285S‐C   VA             Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140403   2017   STGHT   1DW1A2813HB720333   DVW‐285S‐C   NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140404   2017   STGHT   1DW1A2817HB720335   DVW‐285S‐C   NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140405   2017   STGHT   1DW1A2819HB720336   DVW‐285S‐C   OH             Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140406   2017   STGHT   1DW1A2812HB720338   DVW‐285S‐C   CA             Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140409   2017   STGHT   1DW1A2812HB720341   DVW‐285S‐C   WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140410   2017   STGHT   1DW1A2814HB720342   DVW‐285S‐C   TX             Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140412   2017   STGHT   1DW1A2818HB720344   DVW‐285S‐C   IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140413   2017   STGHT   1DW1A281XHB720345   DVW‐285S‐C   VA             Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140415   2017   STGHT   1DW1A2815HB720348   DVW‐285S‐C   FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140416   2017   STGHT   1DW1A2813HB720350   DVW‐285S‐C   IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140417   2017   STGHT   1DW1A2819HB720353   DVW‐285S‐C   Saskatchewan   Regina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140418   2017   STGHT   1DW1A2816HB720357   DVW‐285S‐C   CA             San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140419   2017   STGHT   1DW1A281XHB720359   DVW‐285S‐C   KS             Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140420   2017   STGHT   1DW1A2818HB720361   DVW‐285S‐C   CO             Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140421   2017   STGHT   1DW1A2813HB720364   DVW‐285S‐C   OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140422   2017   STGHT   1DW1A2815HB720365   DVW‐285S‐C   MI             Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140423   2017   STGHT   1DW1A2819HB720188   DVW‐285S‐C   MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140424   2017   STGHT   1DW1A2819HB720367   DVW‐285S‐C   NE             Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140425   2017   STGHT   1DW1A2819HB720370   DVW‐285S‐C   UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140426   2017   STGHT   1DW1A2810HB720371   DVW‐285S‐C   ID             Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140427   2017   STGHT   1DW1A2814HB720373   DVW‐285S‐C   CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140429   2017   STGHT   1DW1A2818HB720375   DVW‐285S‐C   TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140430   2017   STGHT   1DW1A281XHB720376   DVW‐285S‐C   NJ             Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140431   2017   STGHT   1DW1A2813HB720378   DVW‐285S‐C   CA             Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140434   2017   STGHT   1DW1A2815HB720382   DVW‐285S‐C   NV             Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140435   2017   STGHT   1DW1A2810HB720385   DVW‐285S‐C   OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140437   2017   STGHT   1DW1A2814HB720387   DVW‐285S‐C   RI             Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140438   2017   STGHT   1DW1A2818HB720389   DVW‐285S‐C   IA             Council Bluffs
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 728 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140439   2017   STGHT   1DW1A2816HB720391   DVW‐285S‐C   FL               Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY140789   2020   WABSH   1JJV281D0LL203450   DVDBHPC      OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141691   2021   VANGU   5V8VC2812MM108816   VXP 28       CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141692   2021   VANGU   5V8VC2814MM108817   VXP 28       GA               Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141693   2021   VANGU   5V8VC2816MM108818   VXP 28       UT               Beaver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141694   2021   VANGU   5V8VC2818MM108819   VXP 28       WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141695   2021   VANGU   5V8VC2814MM108820   VXP 28       OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141696   2021   VANGU   5V8VC2816MM108821   VXP 28       MI               Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141697   2021   VANGU   5V8VC2818MM108822   VXP 28       OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141698   2021   VANGU   5V8VC281XMM108823   VXP 28       GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141699   2021   VANGU   5V8VC2811MM108824   VXP 28       GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141700   2021   VANGU   5V8VC2813MM108825   VXP 28       LA               Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141701   2021   VANGU   5V8VC2815MM108826   VXP 28       ND               Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141702   2021   VANGU   5V8VC2817MM108827   VXP 28       OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141703   2021   VANGU   5V8VC2819MM108828   VXP 28       IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141704   2021   VANGU   5V8VC2810MM108829   VXP 28       CA               Calexico
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141705   2021   VANGU   5V8VC2817MM108830   VXP 28       TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141706   2021   VANGU   5V8VC2819MM108831   VXP 28       CA               San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141707   2021   VANGU   5V8VC2810MM108832   VXP 28       TX               Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141708   2021   VANGU   5V8VC2812MM108833   VXP 28       MD               Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141709   2021   VANGU   5V8VC2814MM108834   VXP 28       British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141710   2021   VANGU   5V8VC2816MM108835   VXP 28       OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141711   2021   VANGU   5V8VC2818MM108836   VXP 28       CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141712   2021   VANGU   5V8VC281XMM108837   VXP 28       CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141713   2021   VANGU   5V8VC2811MM108838   VXP 28       OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141714   2021   VANGU   5V8VC2813MM108839   VXP 28       FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141715   2021   VANGU   5V8VC281XMM108840   VXP 28       MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141716   2021   VANGU   5V8VC2811MM108841   VXP 28       GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141717   2021   VANGU   5V8VC2813MM108842   VXP 28       SC               Florence
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141718   2021   VANGU   5V8VC2815MM108843   VXP 28       MN               Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141719   2021   VANGU   5V8VC2817MM108844   VXP 28       CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141720   2021   VANGU   5V8VC2819MM108845   VXP 28       NV               Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141721   2021   VANGU   5V8VC2810MM108846   VXP 28       TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141722   2021   VANGU   5V8VC2812MM108847   VXP 28       NV               Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141723   2021   VANGU   5V8VC2814MM108848   VXP 28       IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141724   2021   VANGU   5V8VC2816MM108849   VXP 28       ME               Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141725   2021   VANGU   5V8VC2812MM108850   VXP 28       IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141726   2021   VANGU   5V8VC2814MM108851   VXP 28       VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141727   2021   VANGU   5V8VC2816MM108852   VXP 28       TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141728   2021   VANGU   5V8VC2818MM108853   VXP 28       TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141729   2021   VANGU   5V8VC281XMM108854   VXP 28       TN               Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141730   2021   VANGU   5V8VC2811MM108855   VXP 28       CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141731   2021   VANGU   5V8VC2813MM108856   VXP 28       AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141732   2021   VANGU   5V8VC2815MM108857   VXP 28       VA               Christiansburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141733   2021   VANGU   5V8VC2817MM108858   VXP 28       OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141734   2021   VANGU   5V8VC2819MM108859   VXP 28       KS               Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141735   2021   VANGU   5V8VC2815MM108860   VXP 28       WI               Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141736   2021   VANGU   5V8VC2817MM108861   VXP 28       IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141737   2021   VANGU   5V8VC2819MM108862   VXP 28       TX               Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141738   2021   VANGU   5V8VC2810MM108863   VXP 28       TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141739   2021   VANGU   5V8VC2812MM108864   VXP 28       IL               Danville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141740   2021   VANGU   5V8VC2814MM108865   VXP 28       KS               Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141741   2021   VANGU   5V8VC2816MM108866   VXP 28       OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141742   2021   VANGU   5V8VC2818MM108867   VXP 28       WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141743   2021   VANGU   5V8VC281XMM108868   VXP 28       NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141744   2021   VANGU   5V8VC2811MM108869   VXP 28       CA               Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141745   2021   VANGU   5V8VC2818MM108870   VXP 28       TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141746   2021   VANGU   5V8VC281XMM108871   VXP 28       GA               Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141747   2021   VANGU   5V8VC2811MM108872   VXP 28       TX               Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141748   2021   VANGU   5V8VC2813MM108873   VXP 28       PA               Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141749   2021   VANGU   5V8VC2815MM108874   VXP 28       NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141750   2021   VANGU   5V8VC2817MM108875   VXP 28       CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141751   2021   VANGU   5V8VC2819MM108876   VXP 28       PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141752   2021   VANGU   5V8VC2810MM108877   VXP 28       CA               Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141753   2021   VANGU   5V8VC2812MM108878   VXP 28       CA               Willows
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141754   2021   VANGU   5V8VC2814MM108879   VXP 28       IA               Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141755   2021   VANGU   5V8VC2810MM108880   VXP 28       GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141756   2021   VANGU   5V8VC2812MM108881   VXP 28       MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141757   2021   VANGU   5V8VC2814MM108882   VXP 28       CA               Stockton
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 729 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141758   2021   VANGU   5V8VC2816MM108883   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141759   2021   VANGU   5V8VC2818MM108884   VXP 28    IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141760   2021   VANGU   5V8VC281XMM108885   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141761   2021   VANGU   5V8VC2811MM108886   VXP 28    NY         East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141762   2021   VANGU   5V8VC2813MM108887   VXP 28    Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141763   2021   VANGU   5V8VC2815MM108888   VXP 28    CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141764   2021   VANGU   5V8VC2817MM108889   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141765   2021   VANGU   5V8VC2813MM108890   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141766   2021   VANGU   5V8VC2815MM108891   VXP 28    GA         Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141767   2021   VANGU   5V8VC2817MM108892   VXP 28    NE         Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141768   2021   VANGU   5V8VC2819MM108893   VXP 28    NJ         Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141769   2021   VANGU   5V8VC2810MM108894   VXP 28    Quebec     Quebec City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141770   2021   VANGU   5V8VC2812MM108895   VXP 28    CM         Ciudad De Mexico
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141771   2021   VANGU   5V8VC2814MM108896   VXP 28    Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141772   2021   VANGU   5V8VC2816MM108897   VXP 28    NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141773   2021   VANGU   5V8VC2818MM108898   VXP 28    WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141774   2021   VANGU   5V8VC281XMM108899   VXP 28    FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141775   2021   VANGU   5V8VC2812MM108900   VXP 28    CA         Needles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141776   2021   VANGU   5V8VC2814MM108901   VXP 28    UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141777   2021   VANGU   5V8VC2816MM108902   VXP 28    AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141778   2021   VANGU   5V8VC2818MM108903   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141779   2021   VANGU   5V8VC281XMM108904   VXP 28    OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141780   2021   VANGU   5V8VC2811MM108905   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141781   2021   VANGU   5V8VC2813MM108906   VXP 28    TX         Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141782   2021   VANGU   5V8VC2815MM108907   VXP 28    FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141783   2021   VANGU   5V8VC2817MM108908   VXP 28    IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141784   2021   VANGU   5V8VC2819MM108909   VXP 28    TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141785   2021   VANGU   5V8VC2815MM108910   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141786   2021   VANGU   5V8VC2817MM108911   VXP 28    IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141787   2021   VANGU   5V8VC2819MM108912   VXP 28    Ontario    Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141788   2021   VANGU   5V8VC2810MM108913   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141789   2021   VANGU   5V8VC2812MM108914   VXP 28    MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141790   2021   VANGU   5V8VC2814MM108915   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141791   2021   VANGU   5V8VC2816MM108916   VXP 28    NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141792   2021   VANGU   5V8VC2818MM108917   VXP 28    WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141793   2021   VANGU   5V8VC281XMM108918   VXP 28    MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141794   2021   VANGU   5V8VC2811MM108919   VXP 28    IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141795   2021   VANGU   5V8VC2818MM108920   VXP 28    TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141796   2021   VANGU   5V8VC281XMM108921   VXP 28    CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141797   2021   VANGU   5V8VC2811MM108922   VXP 28    NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141798   2021   VANGU   5V8VC2813MM108923   VXP 28    NJ         Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141799   2021   VANGU   5V8VC2815MM108924   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141800   2021   VANGU   5V8VC2817MM108925   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141801   2021   VANGU   5V8VC2819MM108926   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141802   2021   VANGU   5V8VC2810MM108927   VXP 28    NJ         Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141803   2021   VANGU   5V8VC2812MM108928   VXP 28    VA         Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141804   2021   VANGU   5V8VC2814MM108929   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141805   2021   VANGU   5V8VC2810MM108930   VXP 28    PA         Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141806   2021   VANGU   5V8VC2812MM108931   VXP 28    NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141807   2021   VANGU   5V8VC2814MM108932   VXP 28    MO         Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141808   2021   VANGU   5V8VC2816MM108933   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141809   2021   VANGU   5V8VC2818MM108934   VXP 28    VA         Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141810   2021   VANGU   5V8VC281XMM108935   VXP 28    WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141811   2021   VANGU   5V8VC2811MM108936   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141812   2021   VANGU   5V8VC2813MM108937   VXP 28    TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141813   2021   VANGU   5V8VC2815MM108938   VXP 28    GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141814   2021   VANGU   5V8VC2817MM108939   VXP 28    CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141815   2021   VANGU   5V8VC2813MM108940   VXP 28    IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141816   2021   VANGU   5V8VC2815MM108941   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141817   2021   VANGU   5V8VC2817MM108942   VXP 28    FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141818   2021   VANGU   5V8VC2819MM108943   VXP 28    PA         Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141819   2021   VANGU   5V8VC2810MM108944   VXP 28    CA         Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141820   2021   VANGU   5V8VC2812MM108945   VXP 28    RI         Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141821   2021   VANGU   5V8VC2814MM108946   VXP 28    IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141822   2021   VANGU   5V8VC2816MM108947   VXP 28    IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141823   2021   VANGU   5V8VC2818MM108948   VXP 28    FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141824   2021   VANGU   5V8VC281XMM108949   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141825   2021   VANGU   5V8VC2816MM108950   VXP 28    OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141826   2021   VANGU   5V8VC2818MM108951   VXP 28    CA         Fontana
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 730 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141827   2021   VANGU   5V8VC281XMM108952   VXP 28    TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141828   2021   VANGU   5V8VC2811MM108953   VXP 28    MT        Missoula
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141829   2021   VANGU   5V8VC2813MM108954   VXP 28    MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141830   2021   VANGU   5V8VC2815MM108955   VXP 28    OH        Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141831   2021   VANGU   5V8VC2817MM108956   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141832   2021   VANGU   5V8VC2819MM108957   VXP 28    CO        Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141833   2021   VANGU   5V8VC2810MM108958   VXP 28    PA        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141834   2021   VANGU   5V8VC2812MM108959   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141835   2021   VANGU   5V8VC2819MM108960   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141836   2021   VANGU   5V8VC2810MM108961   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141837   2021   VANGU   5V8VC2812MM108962   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141838   2021   VANGU   5V8VC2814MM108963   VXP 28    MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141839   2021   VANGU   5V8VC2816MM108964   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141840   2021   VANGU   5V8VC2818MM108965   VXP 28    PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141841   2021   VANGU   5V8VC281XMM108966   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141842   2021   VANGU   5V8VC2811MM108967   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141843   2021   VANGU   5V8VC2813MM108968   VXP 28    OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141844   2021   VANGU   5V8VC2815MM108969   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141845   2021   VANGU   5V8VC2811MM108970   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141846   2021   VANGU   5V8VC2813MM108971   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141847   2021   VANGU   5V8VC2815MM108972   VXP 28    VT        Bellows Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141848   2021   VANGU   5V8VC2817MM108973   VXP 28    ME        Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141849   2021   VANGU   5V8VC2819MM108974   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141850   2021   VANGU   5V8VC2810MM108975   VXP 28    Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141851   2021   VANGU   5V8VC2812MM108976   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141852   2021   VANGU   5V8VC2814MM108977   VXP 28    CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141853   2021   VANGU   5V8VC2816MM108978   VXP 28    GA        Martinez
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141854   2021   VANGU   5V8VC2818MM108979   VXP 28    PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141855   2021   VANGU   5V8VC2814MM108980   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141856   2021   VANGU   5V8VC2816MM108981   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141857   2021   VANGU   5V8VC2818MM108982   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141858   2021   VANGU   5V8VC281XMM108983   VXP 28    TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141859   2021   VANGU   5V8VC2811MM108984   VXP 28    FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141860   2021   VANGU   5V8VC2813MM108985   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141862   2021   VANGU   5V8VC2817MM108987   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141863   2021   VANGU   5V8VC2819MM108988   VXP 28    CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141864   2021   VANGU   5V8VC2810MM108989   VXP 28    CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141865   2021   VANGU   5V8VC2817MM108990   VXP 28    TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141866   2021   VANGU   5V8VC2819MM108991   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141867   2021   VANGU   5V8VC2810MM108992   VXP 28    NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141868   2021   VANGU   5V8VC2812MM108993   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141869   2021   VANGU   5V8VC2814MM108994   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141870   2021   VANGU   5V8VC2816MM108995   VXP 28    CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141871   2021   VANGU   5V8VC2818MM108996   VXP 28    LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141872   2021   VANGU   5V8VC281XMM108997   VXP 28    MN        Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141873   2021   VANGU   5V8VC2811MM108998   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141874   2021   VANGU   5V8VC2813MM108999   VXP 28    KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141875   2021   VANGU   5V8VC2814MM109000   VXP 28    TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141876   2021   VANGU   5V8VC2816MM109001   VXP 28    MN        Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141877   2021   VANGU   5V8VC2818MM109002   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141878   2021   VANGU   5V8VC281XMM109003   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141879   2021   VANGU   5V8VC2811MM109004   VXP 28    IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141880   2021   VANGU   5V8VC2813MM109005   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141881   2021   VANGU   5V8VC2815MM109006   VXP 28    FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141882   2021   VANGU   5V8VC2817MM109007   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141883   2021   VANGU   5V8VC2819MM109008   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141884   2021   VANGU   5V8VC2810MM109009   VXP 28    NE        Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141885   2021   VANGU   5V8VC2817MM109010   VXP 28    WV        Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141886   2021   VANGU   5V8VC2819MM109011   VXP 28    ME        Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141887   2021   VANGU   5V8VC2810MM109012   VXP 28    GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141888   2021   VANGU   5V8VC2812MM109013   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141889   2021   VANGU   5V8VC2814MM109014   VXP 28    GA        Martinez
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141890   2021   VANGU   5V8VC2816MM109015   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141891   2021   VANGU   5V8VC2818MM109016   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141892   2021   VANGU   5V8VC281XMM109017   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141893   2021   VANGU   5V8VC2811MM109018   VXP 28    PA        Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141894   2021   VANGU   5V8VC2813MM109019   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141895   2021   VANGU   5V8VC281XMM109020   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141896   2021   VANGU   5V8VC2811MM109021   VXP 28    IL        Hodgkins
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 731 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141897   2021   VANGU   5V8VC2813MM109022   VXP 28    IL             Quincy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141898   2021   VANGU   5V8VC2815MM109023   VXP 28    IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141899   2021   VANGU   5V8VC2817MM109024   VXP 28    OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141900   2021   VANGU   5V8VC2819MM109025   VXP 28    PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141901   2021   VANGU   5V8VC2810MM109026   VXP 28    WI             Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141902   2021   VANGU   5V8VC2812MM109027   VXP 28    UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141903   2021   VANGU   5V8VC2814MM109028   VXP 28    OH             Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141904   2021   VANGU   5V8VC2816MM109029   VXP 28    TX             Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141905   2021   VANGU   5V8VC2812MM109030   VXP 28    KS             Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141906   2021   VANGU   5V8VC2814MM109031   VXP 28    NJ             South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141907   2021   VANGU   5V8VC2816MM109032   VXP 28    TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141908   2021   VANGU   5V8VC2818MM109033   VXP 28    PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141909   2021   VANGU   5V8VC281XMM109034   VXP 28    GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141910   2021   VANGU   5V8VC2811MM109035   VXP 28    OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141911   2021   VANGU   5V8VC2813MM109036   VXP 28    NY             East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141912   2021   VANGU   5V8VC2815MM109037   VXP 28    NJ             Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141913   2021   VANGU   5V8VC2817MM109038   VXP 28    IN             South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141914   2021   VANGU   5V8VC2819MM109039   VXP 28    NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141915   2021   VANGU   5V8VC2815MM109040   VXP 28    TX             McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141916   2021   VANGU   5V8VC2817MM109041   VXP 28    NE             Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141917   2021   VANGU   5V8VC2819MM109042   VXP 28    NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141918   2021   VANGU   5V8VC2810MM109043   VXP 28    TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141919   2021   VANGU   5V8VC2812MM109044   VXP 28    Saskatchewan   Saskatoon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141920   2021   VANGU   5V8VC2814MM109045   VXP 28    UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141921   2021   VANGU   5V8VC2816MM109046   VXP 28    OH             Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141922   2021   VANGU   5V8VC2818MM109047   VXP 28    MI             Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141923   2021   VANGU   5V8VC281XMM109048   VXP 28    PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141924   2021   VANGU   5V8VC2811MM109049   VXP 28    RI             Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141925   2021   VANGU   5V8VC2818MM109050   VXP 28    UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141926   2021   VANGU   5V8VC281XMM109051   VXP 28    TX             Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141927   2021   VANGU   5V8VC2811MM109052   VXP 28    NV             Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141928   2021   VANGU   5V8VC2813MM109053   VXP 28    CA             Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141929   2021   VANGU   5V8VC2815MM109054   VXP 28    OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141930   2021   VANGU   5V8VC2817MM109055   VXP 28    PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141931   2021   VANGU   5V8VC2819MM109056   VXP 28    GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141932   2021   VANGU   5V8VC2810MM109057   VXP 28    OK             Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141933   2021   VANGU   5V8VC2812MM109058   VXP 28    PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141934   2021   VANGU   5V8VC2814MM109059   VXP 28    TX             Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141935   2021   VANGU   5V8VC2810MM109060   VXP 28    TX             Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141936   2021   VANGU   5V8VC2812MM109061   VXP 28    IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141937   2021   VANGU   5V8VC2814MM109062   VXP 28    MI             Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141938   2021   VANGU   5V8VC2816MM109063   VXP 28    TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141939   2021   VANGU   5V8VC2818MM109064   VXP 28    TX             El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141940   2021   VANGU   5V8VC281XMM109065   VXP 28    TX             McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141941   2021   VANGU   5V8VC2811MM109066   VXP 28    OH             Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141942   2021   VANGU   5V8VC2813MM109067   VXP 28    OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141943   2021   VANGU   5V8VC2815MM109068   VXP 28    VA             Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141944   2021   VANGU   5V8VC2817MM109069   VXP 28    IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141945   2021   VANGU   5V8VC2813MM109070   VXP 28    MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141946   2021   VANGU   5V8VC2815MM109071   VXP 28    MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141947   2021   VANGU   5V8VC2817MM109072   VXP 28    CA             Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141948   2021   VANGU   5V8VC2819MM109073   VXP 28    VA             Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141949   2021   VANGU   5V8VC2810MM109074   VXP 28    NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141950   2021   VANGU   5V8VC2812MM109075   VXP 28    WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141951   2021   VANGU   5V8VC2814MM109076   VXP 28    GA             Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141952   2021   VANGU   5V8VC2816MM109077   VXP 28    TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141953   2021   VANGU   5V8VC2818MM109078   VXP 28    NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141954   2021   VANGU   5V8VC281XMM109079   VXP 28    MD             Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141955   2021   VANGU   5V8VC2816MM109080   VXP 28    FL             Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141956   2021   VANGU   5V8VC2818MM109081   VXP 28    TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141957   2021   VANGU   5V8VC281XMM109082   VXP 28    OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141958   2021   VANGU   5V8VC2811MM109083   VXP 28    GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141959   2021   VANGU   5V8VC2813MM109084   VXP 28    MI             Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141960   2021   VANGU   5V8VC2815MM109085   VXP 28    TX             Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141961   2021   VANGU   5V8VC2817MM109086   VXP 28    TX             McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141962   2021   VANGU   5V8VC2819MM109087   VXP 28    OH             Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141963   2021   VANGU   5V8VC2810MM109088   VXP 28    KY             Waddy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141964   2021   VANGU   5V8VC2812MM109089   VXP 28    GA             Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141965   2021   VANGU   5V8VC2819MM109090   VXP 28    CA             Tracy
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 732 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141966   2022   WABSH   1JJV281D3NL300712   DVDBHPC   NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141967   2022   WABSH   1JJV281D5NL300713   DVDBHPC   UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141968   2022   WABSH   1JJV281D7NL300714   DVDBHPC   CA             Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141969   2022   WABSH   1JJV281D9NL300715   DVDBHPC   CA             Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141970   2022   WABSH   1JJV281D0NL300716   DVDBHPC   MS             Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141971   2022   WABSH   1JJV281D2NL300717   DVDBHPC   MD             Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141972   2022   WABSH   1JJV281D4NL300718   DVDBHPC   KS             Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141973   2022   WABSH   1JJV281D6NL300719   DVDBHPC   GA             Richmond Hill
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141974   2022   WABSH   1JJV281D2NL300720   DVDBHPC   FL             Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141975   2022   WABSH   1JJV281D4NL300721   DVDBHPC   VA             Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141976   2022   WABSH   1JJV281D6NL300722   DVDBHPC   OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141977   2022   WABSH   1JJV281D8NL300723   DVDBHPC   GA             Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141978   2022   WABSH   1JJV281DXNL300724   DVDBHPC   OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141979   2022   WABSH   1JJV281D1NL300725   DVDBHPC   MT             Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141980   2022   WABSH   1JJV281D3NL300726   DVDBHPC   CA             Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141981   2022   WABSH   1JJV281D5NL300727   DVDBHPC   NJ             South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141982   2022   WABSH   1JJV281D7NL300728   DVDBHPC   PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141983   2022   WABSH   1JJV281D9NL300729   DVDBHPC   TX             Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141984   2022   WABSH   1JJV281D5NL300730   DVDBHPC   CA             Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141985   2022   WABSH   1JJV281D7NL300731   DVDBHPC   IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141986   2022   WABSH   1JJV281D9NL300732   DVDBHPC   NJ             South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141987   2022   WABSH   1JJV281D0NL300733   DVDBHPC   OH             Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141988   2022   WABSH   1JJV281D2NL300734   DVDBHPC   FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141989   2022   WABSH   1JJV281D4NL300735   DVDBHPC   MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141990   2022   WABSH   1JJV281D6NL300736   DVDBHPC   OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141991   2022   WABSH   1JJV281D8NL300737   DVDBHPC   Alberta        Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141992   2022   WABSH   1JJV281DXNL300738   DVDBHPC   OH             Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141993   2022   WABSH   1JJV281D1NL300739   DVDBHPC   PA             Erie
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141994   2022   WABSH   1JJV281D8NL300740   DVDBHPC   OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141995   2022   WABSH   1JJV281DXNL300741   DVDBHPC   GA             Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141996   2022   WABSH   1JJV281D1NL300742   DVDBHPC   CO             Denver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141997   2022   WABSH   1JJV281D3NL300743   DVDBHPC   NV             Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141998   2022   WABSH   1JJV281D5NL300744   DVDBHPC   TX             Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY141999   2022   WABSH   1JJV281D7NL300745   DVDBHPC   CA             Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142000   2022   WABSH   1JJV281D9NL300746   DVDBHPC   WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142001   2022   WABSH   1JJV281D0NL300747   DVDBHPC   SC             Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142002   2022   WABSH   1JJV281D2NL300748   DVDBHPC   OH             Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142003   2022   WABSH   1JJV281D4NL300749   DVDBHPC   CA             Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142004   2022   WABSH   1JJV281D0NL300750   DVDBHPC   NC             Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142005   2022   WABSH   1JJV281D2NL300751   DVDBHPC   VT             Bellows Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142006   2022   WABSH   1JJV281D4NL300752   DVDBHPC   IL             Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142007   2022   WABSH   1JJV281D6NL300753   DVDBHPC   FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142008   2022   WABSH   1JJV281D8NL300754   DVDBHPC   CA             Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142009   2022   WABSH   1JJV281DXNL300755   DVDBHPC   TX             Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142010   2022   WABSH   1JJV281D1NL300756   DVDBHPC   NE             Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142011   2022   WABSH   1JJV281D3NL300757   DVDBHPC   IL             Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142012   2022   WABSH   1JJV281D5NL300758   DVDBHPC   TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142013   2022   WABSH   1JJV281D7NL300759   DVDBHPC   OH             Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142014   2022   WABSH   1JJV281D3NL300760   DVDBHPC   TX             San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142015   2022   WABSH   1JJV281D5NL300761   DVDBHPC   MS             Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142016   2022   WABSH   1JJV281D7NL300762   DVDBHPC   TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142017   2022   WABSH   1JJV281D9NL300763   DVDBHPC   CA             San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142018   2022   WABSH   1JJV281D0NL300764   DVDBHPC   WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142019   2022   WABSH   1JJV281D2NL300765   DVDBHPC   IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142020   2022   WABSH   1JJV281D4NL300766   DVDBHPC   VA             Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142021   2022   WABSH   1JJV281D6NL300767   DVDBHPC   PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142022   2022   WABSH   1JJV281D8NL300768   DVDBHPC   NE             Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142023   2022   WABSH   1JJV281DXNL300769   DVDBHPC   MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142024   2022   WABSH   1JJV281D6NL300770   DVDBHPC   KS             Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142025   2022   WABSH   1JJV281D8NL300771   DVDBHPC   Saskatchewan   Regina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142026   2022   WABSH   1JJV281DXNL300772   DVDBHPC   GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142027   2022   WABSH   1JJV281D1NL300773   DVDBHPC   WI             Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142028   2022   WABSH   1JJV281D3NL300774   DVDBHPC   GA             Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142029   2022   WABSH   1JJV281D5NL300775   DVDBHPC   NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142030   2022   WABSH   1JJV281D7NL300776   DVDBHPC   TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142031   2022   WABSH   1JJV281D9NL300777   DVDBHPC   TN             Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142032   2022   WABSH   1JJV281D0NL300778   DVDBHPC   IA             Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142033   2022   WABSH   1JJV281D2NL300779   DVDBHPC   TX             Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142034   2022   WABSH   1JJV281D9NL300780   DVDBHPC   IL             Wheeling
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 733 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142035   2022   WABSH   1JJV281D0NL300781   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142036   2022   WABSH   1JJV281D2NL300782   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142037   2022   WABSH   1JJV281D4NL300783   DVDBHPC   TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142038   2022   WABSH   1JJV281D6NL300784   DVDBHPC   MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142039   2022   WABSH   1JJV281D8NL300785   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142040   2022   WABSH   1JJV281DXNL300786   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142041   2022   WABSH   1JJV281D1NL300787   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142042   2022   WABSH   1JJV281D3NL300788   DVDBHPC   IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142043   2022   WABSH   1JJV281D5NL300789   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142044   2022   WABSH   1JJV281D1NL300790   DVDBHPC   AZ        Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142045   2022   WABSH   1JJV281D3NL300791   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142046   2022   WABSH   1JJV281D5NL300792   DVDBHPC   VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142047   2022   WABSH   1JJV281D7NL300793   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142048   2022   WABSH   1JJV281D9NL300794   DVDBHPC   IL        Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142049   2022   WABSH   1JJV281D0NL300795   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142050   2022   WABSH   1JJV281D2NL300796   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142051   2022   WABSH   1JJV281D4NL300797   DVDBHPC   Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142052   2022   WABSH   1JJV281D6NL300798   DVDBHPC   CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142053   2022   WABSH   1JJV281D8NL300799   DVDBHPC   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142054   2022   WABSH   1JJV281D0NL300800   DVDBHPC   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142055   2022   WABSH   1JJV281D2NL300801   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142056   2022   WABSH   1JJV281D4NL300802   DVDBHPC   Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142057   2022   WABSH   1JJV281D6NL300803   DVDBHPC   GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142058   2022   WABSH   1JJV281D8NL300804   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142059   2022   WABSH   1JJV281DXNL300805   DVDBHPC   IL        Quincy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142060   2022   WABSH   1JJV281D1NL300806   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142061   2022   WABSH   1JJV281D3NL300807   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142062   2022   WABSH   1JJV281D5NL300808   DVDBHPC   NY        Williamsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142063   2022   WABSH   1JJV281D7NL300809   DVDBHPC   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142064   2022   WABSH   1JJV281D3NL300810   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142065   2022   WABSH   1JJV281D5NL300811   DVDBHPC   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142066   2022   WABSH   1JJV281D7NL300812   DVDBHPC   FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142067   2022   WABSH   1JJV281D9NL300813   DVDBHPC   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142068   2022   WABSH   1JJV281D0NL300814   DVDBHPC   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142069   2022   WABSH   1JJV281D2NL300815   DVDBHPC   TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142070   2022   WABSH   1JJV281D4NL300816   DVDBHPC   TX        Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142071   2022   WABSH   1JJV281D6NL300817   DVDBHPC   NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142072   2022   WABSH   1JJV281D8NL300818   DVDBHPC   IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142073   2022   WABSH   1JJV281DXNL300819   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142074   2022   WABSH   1JJV281D6NL300820   DVDBHPC   CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142075   2022   WABSH   1JJV281D8NL300821   DVDBHPC   NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142076   2022   WABSH   1JJV281DXNL300822   DVDBHPC   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142077   2022   WABSH   1JJV281D1NL300823   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142078   2022   WABSH   1JJV281D3NL300824   DVDBHPC   MO        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142079   2022   WABSH   1JJV281D5NL300825   DVDBHPC   CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142080   2022   WABSH   1JJV281D7NL300826   DVDBHPC   PA        Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142081   2022   WABSH   1JJV281D9NL300827   DVDBHPC   FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142082   2022   WABSH   1JJV281D0NL300828   DVDBHPC   Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142083   2022   WABSH   1JJV281D2NL300829   DVDBHPC   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142084   2022   WABSH   1JJV281D9NL300830   DVDBHPC   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142085   2022   WABSH   1JJV281D0NL300831   DVDBHPC   WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142086   2022   WABSH   1JJV281D1NL300837   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142087   2022   WABSH   1JJV281D3NL300838   DVDBHPC   OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142088   2022   WABSH   1JJV281D5NL300839   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142089   2022   WABSH   1JJV281D1NL300840   DVDBHPC   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142090   2022   WABSH   1JJV281D3NL300841   DVDBHPC   IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142091   2022   WABSH   1JJV281D5NL300842   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142092   2022   WABSH   1JJV281D7NL300843   DVDBHPC   IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142093   2022   WABSH   1JJV281D9NL300844   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142094   2022   WABSH   1JJV281D0NL300845   DVDBHPC   AZ        Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142095   2022   WABSH   1JJV281D2NL300846   DVDBHPC   TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142096   2022   WABSH   1JJV281D4NL300847   DVDBHPC   IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142097   2022   WABSH   1JJV281D6NL300848   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142098   2022   WABSH   1JJV281D8NL300849   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142099   2022   WABSH   1JJV281D4NL300850   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142100   2022   WABSH   1JJV281D6NL300851   DVDBHPC   IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142101   2022   WABSH   1JJV281D8NL300852   DVDBHPC   OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142102   2022   WABSH   1JJV281DXNL300853   DVDBHPC   PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142103   2022   WABSH   1JJV281D1NL300854   DVDBHPC   OR        Central Point
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 734 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142104   2022   WABSH   1JJV281D3NL300855   DVDBHPC   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142105   2022   WABSH   1JJV281D5NL300856   DVDBHPC   MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142106   2022   WABSH   1JJV281D7NL300857   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142107   2022   WABSH   1JJV281D9NL300858   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142108   2022   WABSH   1JJV281D0NL300859   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142109   2022   WABSH   1JJV281D7NL300860   DVDBHPC   CO        Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142110   2022   WABSH   1JJV281D9NL300861   DVDBHPC   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142111   2022   WABSH   1JJV281D0NL300862   DVDBHPC   CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142112   2022   WABSH   1JJV281D2NL300863   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142113   2022   WABSH   1JJV281D4NL300864   DVDBHPC   NY        Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142114   2022   WABSH   1JJV281D6NL300865   DVDBHPC   MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142115   2022   WABSH   1JJV281D8NL300866   DVDBHPC   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142116   2022   WABSH   1JJV281DXNL300867   DVDBHPC   CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142117   2022   WABSH   1JJV281D1NL300868   DVDBHPC   TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142118   2022   WABSH   1JJV281D3NL300869   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142119   2022   WABSH   1JJV281DXNL300870   DVDBHPC   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142120   2022   WABSH   1JJV281D1NL300871   DVDBHPC   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142122   2022   WABSH   1JJV281D5NL300873   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142123   2022   WABSH   1JJV281D7NL300874   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142124   2022   WABSH   1JJV281D9NL300875   DVDBHPC   Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142125   2022   WABSH   1JJV281D0NL300876   DVDBHPC   FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142126   2022   WABSH   1JJV281D2NL300877   DVDBHPC   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142127   2022   WABSH   1JJV281D4NL300878   DVDBHPC   GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142128   2022   WABSH   1JJV281D6NL300879   DVDBHPC   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142129   2022   WABSH   1JJV281D2NL300880   DVDBHPC   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142130   2022   WABSH   1JJV281D4NL300881   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142131   2022   WABSH   1JJV281D6NL300882   DVDBHPC   TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142132   2022   WABSH   1JJV281D8NL300883   DVDBHPC   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142133   2022   WABSH   1JJV281DXNL300884   DVDBHPC   TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142134   2022   WABSH   1JJV281D1NL300885   DVDBHPC   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142135   2022   WABSH   1JJV281D3NL300886   DVDBHPC   TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142136   2022   WABSH   1JJV281D5NL300887   DVDBHPC   NY        Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142137   2022   WABSH   1JJV281D7NL300888   DVDBHPC   NC        Rocky Mount
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142138   2022   WABSH   1JJV281D9NL300889   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142139   2022   WABSH   1JJV281D5NL300890   DVDBHPC   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142140   2022   WABSH   1JJV281D7NL300891   DVDBHPC   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142141   2022   WABSH   1JJV281D9NL300892   DVDBHPC   TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142142   2022   WABSH   1JJV281D0NL300893   DVDBHPC   MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142143   2022   WABSH   1JJV281D2NL300894   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142144   2022   WABSH   1JJV281D4NL300895   DVDBHPC   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142145   2022   WABSH   1JJV281D6NL300896   DVDBHPC   CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142146   2022   WABSH   1JJV281D8NL300897   DVDBHPC   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142147   2022   WABSH   1JJV281DXNL300898   DVDBHPC   MT        Billings
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142148   2022   WABSH   1JJV281D1NL300899   DVDBHPC   FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142149   2022   WABSH   1JJV281D4NL300900   DVDBHPC   DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142150   2022   WABSH   1JJV281D6NL300901   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142151   2022   WABSH   1JJV281D8NL300902   DVDBHPC   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142152   2022   WABSH   1JJV281DXNL300903   DVDBHPC   NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142153   2022   WABSH   1JJV281D1NL300904   DVDBHPC   WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142154   2022   WABSH   1JJV281D3NL300905   DVDBHPC   MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142155   2022   WABSH   1JJV281D5NL300906   DVDBHPC   FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142156   2022   WABSH   1JJV281D7NL300907   DVDBHPC   OK        Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142157   2022   WABSH   1JJV281D9NL300908   DVDBHPC   ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142158   2022   WABSH   1JJV281D0NL300909   DVDBHPC   RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142159   2022   WABSH   1JJV281D7NL300910   DVDBHPC   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142160   2022   WABSH   1JJV281D9NL300911   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142161   2022   WABSH   1JJV281D0NL300912   DVDBHPC   VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142162   2022   WABSH   1JJV281D2NL300913   DVDBHPC   LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142163   2022   WABSH   1JJV281D4NL300914   DVDBHPC   SC        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142164   2022   WABSH   1JJV281D6NL300915   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142165   2022   WABSH   1JJV281D8NL300916   DVDBHPC   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142166   2022   WABSH   1JJV281DXNL300917   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142167   2022   WABSH   1JJV281D1NL300918   DVDBHPC   DE        Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142168   2022   WABSH   1JJV281D3NL300919   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142169   2022   WABSH   1JJV281DXNL300920   DVDBHPC   OR        Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142170   2022   WABSH   1JJV281D1NL300921   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142171   2022   WABSH   1JJV281D3NL300922   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142172   2022   WABSH   1JJV281D5NL300923   DVDBHPC   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142173   2022   WABSH   1JJV281D7NL300924   DVDBHPC   NC        Charlotte
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 735 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142174   2022   WABSH   1JJV281D9NL300925   DVDBHPC   FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142175   2022   WABSH   1JJV281D0NL300926   DVDBHPC   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142176   2022   WABSH   1JJV281D2NL300832   DVDBHPC   NC         Raleigh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142177   2022   WABSH   1JJV281D4NL300833   DVDBHPC   OH         Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142178   2022   WABSH   1JJV281D6NL300834   DVDBHPC   PA         Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142179   2022   WABSH   1JJV281D8NL300835   DVDBHPC   OH         Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142180   2022   WABSH   1JJV281DXNL300836   DVDBHPC   MD         Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142181   2022   WABSH   1JJV281D2NL300927   DVDBHPC   UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142182   2022   WABSH   1JJV281D4NL300928   DVDBHPC   CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142183   2022   WABSH   1JJV281D6NL300929   DVDBHPC   CO         Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142184   2022   WABSH   1JJV281D2NL300930   DVDBHPC   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142185   2022   WABSH   1JJV281D4NL300931   DVDBHPC   CA         Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142186   2022   WABSH   1JJV281D6NL300932   DVDBHPC   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142187   2022   WABSH   1JJV281D8NL300933   DVDBHPC   OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142188   2022   WABSH   1JJV281DXNL300934   DVDBHPC   TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142189   2022   WABSH   1JJV281D1NL300935   DVDBHPC   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142190   2022   WABSH   1JJV281D3NL300936   DVDBHPC   TN         Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142191   2022   WABSH   1JJV281D5NL300937   DVDBHPC   IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142192   2022   WABSH   1JJV281D7NL300938   DVDBHPC   NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142193   2022   WABSH   1JJV281D9NL300939   DVDBHPC   GA         Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142194   2022   WABSH   1JJV281D5NL300940   DVDBHPC   OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142195   2022   WABSH   1JJV281D7NL300941   DVDBHPC   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142196   2022   WABSH   1JJV281D9NL300942   DVDBHPC   CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142197   2022   WABSH   1JJV281D0NL300943   DVDBHPC   MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142198   2022   WABSH   1JJV281D2NL300944   DVDBHPC   CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142199   2022   WABSH   1JJV281D4NL300945   DVDBHPC   OH         Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142200   2022   WABSH   1JJV281D6NL300946   DVDBHPC   IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142201   2022   WABSH   1JJV281D8NL300947   DVDBHPC   PA         McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142202   2022   WABSH   1JJV281DXNL300948   DVDBHPC   OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142204   2022   WABSH   1JJV281D8NL300950   DVDBHPC   DE         New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142205   2022   WABSH   1JJV281DXNL300951   DVDBHPC   AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142206   2022   WABSH   1JJV281D1NL300952   DVDBHPC   PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142207   2022   WABSH   1JJV281D3NL300953   DVDBHPC   AL         Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142208   2022   WABSH   1JJV281D5NL300954   DVDBHPC   CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142209   2022   WABSH   1JJV281D7NL300955   DVDBHPC   TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142210   2022   WABSH   1JJV281D9NL300956   DVDBHPC   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142211   2022   WABSH   1JJV281D0NL300957   DVDBHPC   CO         Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142212   2022   WABSH   1JJV281D2NL300958   DVDBHPC   FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142213   2022   WABSH   1JJV281D4NL300959   DVDBHPC   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142214   2022   WABSH   1JJV281D0NL300960   DVDBHPC   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142215   2022   WABSH   1JJV281D2NL300961   DVDBHPC   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142216   2022   WABSH   1JJV281D4NL300962   DVDBHPC   FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142217   2022   WABSH   1JJV281D6NL300963   DVDBHPC   CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142218   2022   WABSH   1JJV281D8NL300964   DVDBHPC   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142219   2022   WABSH   1JJV281DXNL300965   DVDBHPC   Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142220   2022   WABSH   1JJV281D1NL300966   DVDBHPC   AR         Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142221   2022   WABSH   1JJV281D3NL300967   DVDBHPC   UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142222   2022   WABSH   1JJV281D5NL300968   DVDBHPC   TX         San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142223   2022   WABSH   1JJV281D7NL300969   DVDBHPC   CA         Santa Rosa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142224   2022   WABSH   1JJV281D3NL300970   DVDBHPC   TX         Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142225   2022   WABSH   1JJV281D5NL300971   DVDBHPC   IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142226   2022   WABSH   1JJV281D7NL300972   DVDBHPC   OH         Gallipolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142227   2022   WABSH   1JJV281D9NL300973   DVDBHPC   IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142228   2022   WABSH   1JJV281D0NL300974   DVDBHPC   TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142229   2022   WABSH   1JJV281D2NL300975   DVDBHPC   OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142230   2022   WABSH   1JJV281D4NL300976   DVDBHPC   WI         Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142231   2022   WABSH   1JJV281D6NL300977   DVDBHPC   IL         Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142232   2022   WABSH   1JJV281D8NL300978   DVDBHPC   WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142233   2022   WABSH   1JJV281DXNL300979   DVDBHPC   PA         McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142234   2022   WABSH   1JJV281D6NL300980   DVDBHPC   TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142235   2022   WABSH   1JJV281D8NL300981   DVDBHPC   FL         Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142236   2022   WABSH   1JJV281DXNL300982   DVDBHPC   IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142237   2022   WABSH   1JJV281D1NL300983   DVDBHPC   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142238   2022   WABSH   1JJV281D3NL300984   DVDBHPC   Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142239   2022   WABSH   1JJV281D5NL300985   DVDBHPC   NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142240   2022   WABSH   1JJV281D7NL300986   DVDBHPC   AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142241   2022   WABSH   1JJV281D9NL300987   DVDBHPC   GA         Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142242   2022   WABSH   1JJV281D0NL300988   DVDBHPC   MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142243   2022   WABSH   1JJV281D2NL300989   DVDBHPC   CA         Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 736 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142244   2022   WABSH   1JJV281D9NL300990   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142245   2022   WABSH   1JJV281D0NL300991   DVDBHPC   WI               Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142246   2022   WABSH   1JJV281D2NL300992   DVDBHPC   NY               East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142247   2022   WABSH   1JJV281D4NL300993   DVDBHPC   NY               East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142248   2022   WABSH   1JJV281D6NL300994   DVDBHPC   MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142249   2022   WABSH   1JJV281D8NL300995   DVDBHPC   PA               McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142250   2022   WABSH   1JJV281DXNL300996   DVDBHPC   OK               Checotah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142251   2022   WABSH   1JJV281D1NL300997   DVDBHPC   VA               Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142252   2022   WABSH   1JJV281D3NL300998   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142253   2022   WABSH   1JJV281D5NL300999   DVDBHPC   TX               Abilene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142254   2022   WABSH   1JJV281D6NL301000   DVDBHPC   OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142255   2022   WABSH   1JJV281D8NL301001   DVDBHPC   NC               Rocky Mount
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142256   2022   WABSH   1JJV281DXNL301002   DVDBHPC   MI               Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142257   2022   WABSH   1JJV281D1NL301003   DVDBHPC   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142258   2022   WABSH   1JJV281D3NL301004   DVDBHPC   IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142259   2022   WABSH   1JJV281D5NL301005   DVDBHPC   CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142260   2022   WABSH   1JJV281D7NL301006   DVDBHPC   British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142261   2022   WABSH   1JJV281D9NL301007   DVDBHPC   CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142262   2022   WABSH   1JJV281D0NL301008   DVDBHPC   IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142263   2022   WABSH   1JJV281D2NL301009   DVDBHPC   MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142264   2022   WABSH   1JJV281D9NL301010   DVDBHPC   TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142265   2022   WABSH   1JJV281D0NL301011   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142266   2022   WABSH   1JJV281D2NL301012   DVDBHPC   MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142267   2022   WABSH   1JJV281D4NL301013   DVDBHPC   TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142268   2022   WABSH   1JJV281D6NL301014   DVDBHPC   MI               Norway
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142269   2022   WABSH   1JJV281D8NL301015   DVDBHPC   TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142270   2022   WABSH   1JJV281DXNL301016   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142271   2022   WABSH   1JJV281D3NL301018   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142272   2022   WABSH   1JJV281D5NL301019   DVDBHPC   MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142273   2022   WABSH   1JJV281D1NL301020   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142274   2022   WABSH   1JJV281D3NL301021   DVDBHPC   CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142275   2022   WABSH   1JJV281D5NL301022   DVDBHPC   FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142276   2022   WABSH   1JJV281D7NL301023   DVDBHPC   GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142277   2022   WABSH   1JJV281D9NL301024   DVDBHPC   OH               Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142278   2022   WABSH   1JJV281D0NL301025   DVDBHPC   GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142279   2022   WABSH   1JJV281D2NL301026   DVDBHPC   AZ               Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142280   2022   WABSH   1JJV281D4NL301027   DVDBHPC   NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142281   2022   WABSH   1JJV281D6NL301028   DVDBHPC   IL               Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142282   2022   WABSH   1JJV281D8NL301029   DVDBHPC   FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142283   2022   WABSH   1JJV281D4NL301030   DVDBHPC   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142284   2022   WABSH   1JJV281D6NL301031   DVDBHPC   WA               Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142285   2022   WABSH   1JJV281D8NL301032   DVDBHPC   MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142286   2022   WABSH   1JJV281DXNL301033   DVDBHPC   MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142287   2022   WABSH   1JJV281D1NL301034   DVDBHPC   MO               Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142288   2022   WABSH   1JJV281D3NL301035   DVDBHPC   KS               Garden City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142289   2022   WABSH   1JJV281D5NL301036   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142290   2022   WABSH   1JJV281D7NL301037   DVDBHPC   AR               Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142291   2022   WABSH   1JJV281D9NL301038   DVDBHPC   CA               Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142292   2022   WABSH   1JJV281D0NL301039   DVDBHPC   KS               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142293   2022   WABSH   1JJV281D7NL301040   DVDBHPC   IL               Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142294   2022   WABSH   1JJV281D9NL301041   DVDBHPC   MS               Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142295   2022   WABSH   1JJV281D0NL301042   DVDBHPC   IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142296   2022   WABSH   1JJV281D2NL301043   DVDBHPC   NM               Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142297   2022   WABSH   1JJV281D4NL301044   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142298   2022   WABSH   1JJV281D6NL301045   DVDBHPC   WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142299   2022   WABSH   1JJV281D8NL301046   DVDBHPC   NC               Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142300   2022   WABSH   1JJV281DXNL301047   DVDBHPC   IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142301   2022   WABSH   1JJV281D1NL301048   DVDBHPC   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142302   2022   WABSH   1JJV281D3NL301049   DVDBHPC   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142303   2022   WABSH   1JJV281DXNL301050   DVDBHPC   WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142304   2022   WABSH   1JJV281D1NL301051   DVDBHPC   CO               Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142305   2022   WABSH   1JJV281D3NL301052   DVDBHPC   NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142307   2022   WABSH   1JJV281D7NL301054   DVDBHPC   TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142308   2022   WABSH   1JJV281D9NL301055   DVDBHPC   UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142309   2022   WABSH   1JJV281D0NL301056   DVDBHPC   CO               Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142310   2022   WABSH   1JJV281D2NL301057   DVDBHPC   TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142311   2022   WABSH   1JJV281D4NL301058   DVDBHPC   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142312   2022   WABSH   1JJV281D6NL301059   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142313   2022   WABSH   1JJV281D2NL301060   DVDBHPC   TX               McAllen
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 737 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142314   2022   WABSH   1JJV281D4NL301061   DVDBHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142315   2022   WABSH   1JJV281D6NL301062   DVDBHPC   NC      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142316   2022   WABSH   1JJV281D8NL301063   DVDBHPC   NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142317   2022   WABSH   1JJV281DXNL301064   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142318   2022   WABSH   1JJV281D1NL301065   DVDBHPC   IA      Council Bluffs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142319   2022   WABSH   1JJV281D3NL301066   DVDBHPC   KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142320   2022   WABSH   1JJV281D5NL301067   DVDBHPC   TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142321   2022   WABSH   1JJV281D7NL301068   DVDBHPC   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142322   2022   WABSH   1JJV281D9NL301069   DVDBHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142323   2022   WABSH   1JJV281D5NL301070   DVDBHPC   VA      Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142324   2022   WABSH   1JJV281D7NL301071   DVDBHPC   IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142325   2022   WABSH   1JJV281D9NL301072   DVDBHPC   DE      Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142326   2022   WABSH   1JJV281D0NL301073   DVDBHPC   PA      Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142327   2022   WABSH   1JJV281D2NL301074   DVDBHPC   NJ      Mercerville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142328   2022   WABSH   1JJV281D4NL301075   DVDBHPC   IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142329   2022   WABSH   1JJV281D6NL301076   DVDBHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142330   2022   WABSH   1JJV281D8NL301077   DVDBHPC   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142331   2022   WABSH   1JJV281DXNL301078   DVDBHPC   LA      New Orleans
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142332   2022   WABSH   1JJV281D1NL301079   DVDBHPC   NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142333   2022   WABSH   1JJV281D8NL301080   DVDBHPC   NY      Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142334   2022   WABSH   1JJV281DXNL301081   DVDBHPC   MN      Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142335   2022   WABSH   1JJV281D1NL301082   DVDBHPC   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142336   2022   WABSH   1JJV281D3NL301083   DVDBHPC   ND      Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142337   2022   WABSH   1JJV281D5NL301084   DVDBHPC   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142338   2022   WABSH   1JJV281D7NL301085   DVDBHPC   ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142339   2022   WABSH   1JJV281D9NL301086   DVDBHPC   OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142340   2022   WABSH   1JJV281D0NL301087   DVDBHPC   WA      Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142341   2022   WABSH   1JJV281D2NL301088   DVDBHPC   FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142342   2022   WABSH   1JJV281D4NL301089   DVDBHPC   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142343   2022   WABSH   1JJV281D0NL301090   DVDBHPC   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142344   2022   WABSH   1JJV281D2NL301091   DVDBHPC   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142345   2022   WABSH   1JJV281D4NL301092   DVDBHPC   KS      Garden City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142346   2022   WABSH   1JJV281D6NL301093   DVDBHPC   NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142347   2022   WABSH   1JJV281D8NL301094   DVDBHPC   MT      Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142348   2022   WABSH   1JJV281DXNL301095   DVDBHPC   PA      Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142349   2022   WABSH   1JJV281D1NL301096   DVDBHPC   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142350   2022   WABSH   1JJV281D3NL301097   DVDBHPC   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142351   2022   WABSH   1JJV281D5NL301098   DVDBHPC   CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142352   2022   WABSH   1JJV281D7NL301099   DVDBHPC   CA      Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142353   2022   WABSH   1JJV281DXNL301100   DVDBHPC   TX      Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142354   2022   WABSH   1JJV281D1NL301101   DVDBHPC   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142355   2022   WABSH   1JJV281D3NL301102   DVDBHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142356   2022   WABSH   1JJV281D5NL301103   DVDBHPC   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142357   2022   WABSH   1JJV281D7NL301104   DVDBHPC   WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142358   2022   WABSH   1JJV281D9NL301105   DVDBHPC   MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142359   2022   WABSH   1JJV281D0NL301106   DVDBHPC   NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142360   2022   WABSH   1JJV281D2NL301107   DVDBHPC   FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142361   2022   WABSH   1JJV281D4NL301108   DVDBHPC   MS      Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142362   2022   WABSH   1JJV281D6NL301109   DVDBHPC   FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142363   2022   WABSH   1JJV281D2NL301110   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142364   2022   WABSH   1JJV281D4NL301111   DVDBHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142365   2022   WABSH   1JJV281D6NL301112   DVDBHPC   MN      Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142366   2022   WABSH   1JJV281D8NL301113   DVDBHPC   OK      Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142367   2022   WABSH   1JJV281DXNL301114   DVDBHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142368   2022   WABSH   1JJV281D1NL301115   DVDBHPC   IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142369   2022   WABSH   1JJV281D3NL301116   DVDBHPC   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142370   2022   WABSH   1JJV281D5NL301117   DVDBHPC   CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142371   2022   WABSH   1JJV281D7NL301118   DVDBHPC   WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142372   2022   WABSH   1JJV281D9NL301119   DVDBHPC   WA      Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142373   2022   WABSH   1JJV281D5NL301120   DVDBHPC   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142374   2022   WABSH   1JJV281D7NL301121   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142375   2022   WABSH   1JJV281D9NL301122   DVDBHPC   VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142376   2022   WABSH   1JJV281D0NL301123   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142377   2022   WABSH   1JJV281D2NL301124   DVDBHPC   OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142378   2022   WABSH   1JJV281D4NL301125   DVDBHPC   PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142379   2022   WABSH   1JJV281D6NL301126   DVDBHPC   TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142380   2022   WABSH   1JJV281D8NL301127   DVDBHPC   PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142381   2022   WABSH   1JJV281DXNL301128   DVDBHPC   CA      Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142382   2022   WABSH   1JJV281D1NL301129   DVDBHPC   MO      Kansas City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 738 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142383   2022   WABSH   1JJV281D8NL301130   DVDBHPC   CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142384   2022   WABSH   1JJV281DXNL301131   DVDBHPC   ME               Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142385   2022   WABSH   1JJV281D1NL301132   DVDBHPC   OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142386   2022   WABSH   1JJV281D3NL301133   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142387   2022   WABSH   1JJV281D5NL301134   DVDBHPC   MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142388   2022   WABSH   1JJV281D7NL301135   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142389   2022   WABSH   1JJV281D9NL301136   DVDBHPC   Ontario          Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142390   2022   WABSH   1JJV281D0NL301137   DVDBHPC   CA               Willows
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142391   2022   WABSH   1JJV281D2NL301138   DVDBHPC   Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142392   2022   WABSH   1JJV281D4NL301139   DVDBHPC   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142393   2022   WABSH   1JJV281D0NL301140   DVDBHPC   TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142394   2022   WABSH   1JJV281D2NL301141   DVDBHPC   NY               Plattsburgh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142395   2022   WABSH   1JJV281D4NL301142   DVDBHPC   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142396   2022   WABSH   1JJV281D6NL301143   DVDBHPC   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142397   2022   WABSH   1JJV281D8NL301144   DVDBHPC   ME               Fairfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142398   2022   WABSH   1JJV281DXNL301145   DVDBHPC   Ontario          Niagara on the Lake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142399   2022   WABSH   1JJV281D1NL301146   DVDBHPC   PA               Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142400   2022   WABSH   1JJV281D3NL301147   DVDBHPC   IN               Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142401   2022   WABSH   1JJV281D5NL301148   DVDBHPC   OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142402   2022   WABSH   1JJV281D7NL301149   DVDBHPC   OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142403   2022   WABSH   1JJV281D3NL301150   DVDBHPC   ND               Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142404   2022   WABSH   1JJV281D5NL301151   DVDBHPC   IL               Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142405   2022   WABSH   1JJV281D7NL301152   DVDBHPC   MN               Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142406   2022   WABSH   1JJV281D9NL301153   DVDBHPC   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142407   2022   WABSH   1JJV281D0NL301154   DVDBHPC   TX               El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142408   2022   WABSH   1JJV281D2NL301155   DVDBHPC   KS               Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142409   2022   WABSH   1JJV281D4NL301156   DVDBHPC   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142410   2022   WABSH   1JJV281D6NL301157   DVDBHPC   TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142411   2022   WABSH   1JJV281D8NL301158   DVDBHPC   PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142412   2022   WABSH   1JJV281DXNL301159   DVDBHPC   British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142413   2022   WABSH   1JJV281D6NL301160   DVDBHPC   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142414   2022   WABSH   1JJV281D8NL301161   DVDBHPC   UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142415   2022   WABSH   1JJV281DXNL301162   DVDBHPC   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142416   2022   WABSH   1JJV281D1NL301163   DVDBHPC   TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142418   2022   WABSH   1JJV281D5NL301165   DVDBHPC   MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142419   2022   WABSH   1JJV281D7NL301166   DVDBHPC   MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142420   2022   WABSH   1JJV281D9NL301167   DVDBHPC   CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142421   2022   WABSH   1JJV281D0NL301168   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142422   2022   WABSH   1JJV281D2NL301169   DVDBHPC   VA               Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142423   2022   WABSH   1JJV281D9NL301170   DVDBHPC   AR               Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142424   2022   WABSH   1JJV281D0NL301171   DVDBHPC   PA               Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142425   2022   WABSH   1JJV281D2NL301172   DVDBHPC   GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142426   2022   WABSH   1JJV281D4NL301173   DVDBHPC   WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142427   2022   WABSH   1JJV281D6NL301174   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142428   2022   WABSH   1JJV281D8NL301175   DVDBHPC   PA               Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142429   2022   WABSH   1JJV281DXNL301176   DVDBHPC   Alberta          Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142430   2022   WABSH   1JJV281D1NL301177   DVDBHPC   MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142431   2022   WABSH   1JJV281D3NL301178   DVDBHPC   NY               Plattsburgh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142432   2022   WABSH   1JJV281D5NL301179   DVDBHPC   FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142433   2022   WABSH   1JJV281D1NL301180   DVDBHPC   IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142434   2022   WABSH   1JJV281D3NL301181   DVDBHPC   OH               Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142435   2022   WABSH   1JJV281D5NL301182   DVDBHPC   CO               Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142436   2022   WABSH   1JJV281D7NL301183   DVDBHPC   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142437   2022   WABSH   1JJV281D9NL301184   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142438   2022   WABSH   1JJV281D0NL301185   DVDBHPC   CA               Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142439   2022   WABSH   1JJV281D2NL301186   DVDBHPC   WV               Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142440   2022   WABSH   1JJV281D4NL301187   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142441   2022   WABSH   1JJV281D6NL301188   DVDBHPC   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142442   2022   WABSH   1JJV281D8NL301189   DVDBHPC   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142443   2022   WABSH   1JJV281D4NL301190   DVDBHPC   MN               Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142444   2022   WABSH   1JJV281D6NL301191   DVDBHPC   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142445   2022   WABSH   1JJV281D8NL301192   DVDBHPC   IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142446   2022   WABSH   1JJV281DXNL301193   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142447   2022   WABSH   1JJV281D1NL301194   DVDBHPC   CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142448   2022   WABSH   1JJV281D3NL301195   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142449   2022   WABSH   1JJV281D5NL301196   DVDBHPC   VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142450   2022   WABSH   1JJV281D7NL301197   DVDBHPC   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142451   2022   WABSH   1JJV281D9NL301198   DVDBHPC   MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142452   2022   WABSH   1JJV281D0NL301199   DVDBHPC   PA               Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 739 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142453   2022   WABSH   1JJV281D3NL301200   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142454   2022   WABSH   1JJV281D5NL301201   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142455   2022   WABSH   1JJV281D7NL301202   DVDBHPC   CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142456   2022   WABSH   1JJV281D9NL301203   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142457   2022   WABSH   1JJV281D0NL301204   DVDBHPC   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142458   2022   WABSH   1JJV281D2NL301205   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142459   2022   WABSH   1JJV281D4NL301206   DVDBHPC   AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142460   2022   WABSH   1JJV281D6NL301207   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142461   2022   WABSH   1JJV281D8NL301208   DVDBHPC   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142462   2022   WABSH   1JJV281DXNL301209   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142463   2022   WABSH   1JJV281D6NL301210   DVDBHPC   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142464   2022   WABSH   1JJV281D8NL301211   DVDBHPC   NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142465   2022   WABSH   1JJV281DXNL301212   DVDBHPC   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142466   2022   WABSH   1JJV281D1NL301213   DVDBHPC   CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142467   2022   WABSH   1JJV281D3NL301214   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142468   2022   WABSH   1JJV281D5NL301215   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142469   2022   WABSH   1JJV281D7NL301216   DVDBHPC   MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142470   2022   WABSH   1JJV281D9NL301217   DVDBHPC   NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142471   2022   WABSH   1JJV281D0NL301218   DVDBHPC   NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142472   2022   WABSH   1JJV281D2NL301219   DVDBHPC   PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142473   2022   WABSH   1JJV281D9NL301220   DVDBHPC   NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142474   2022   WABSH   1JJV281D0NL301221   DVDBHPC   CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142475   2022   WABSH   1JJV281D2NL301222   DVDBHPC   TX        Abilene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142476   2022   WABSH   1JJV281D4NL301223   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142477   2022   WABSH   1JJV281D6NL301224   DVDBHPC   VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142478   2022   WABSH   1JJV281D8NL301225   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142479   2022   WABSH   1JJV281DXNL301226   DVDBHPC   MI        Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142480   2022   WABSH   1JJV281D1NL301227   DVDBHPC   ND        Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142481   2022   WABSH   1JJV281D3NL301228   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142482   2022   WABSH   1JJV281D5NL301229   DVDBHPC   MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142483   2022   WABSH   1JJV281D1NL301230   DVDBHPC   GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142484   2022   WABSH   1JJV281D3NL301231   DVDBHPC   GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142485   2022   WABSH   1JJV281D5NL301232   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142486   2022   WABSH   1JJV281D7NL301233   DVDBHPC   NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142487   2022   WABSH   1JJV281D9NL301234   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142488   2022   WABSH   1JJV281D0NL301235   DVDBHPC   CA        Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142489   2022   WABSH   1JJV281D2NL301236   DVDBHPC   TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142490   2022   WABSH   1JJV281D4NL301237   DVDBHPC   VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142491   2022   VANGU   5V8VC2810NM203313   VXP 28    OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142492   2022   VANGU   5V8VC2812NM203314   VXP 28    LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142493   2022   VANGU   5V8VC2814NM203315   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142494   2022   VANGU   5V8VC2816NM203316   VXP 28    TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142495   2022   VANGU   5V8VC2818NM203317   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142496   2022   VANGU   5V8VC281XNM203318   VXP 28    NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142497   2022   VANGU   5V8VC2811NM203319   VXP 28    PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142498   2022   VANGU   5V8VC2818NM203320   VXP 28    RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142499   2022   VANGU   5V8VC281XNM203321   VXP 28    GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142500   2022   VANGU   5V8VC2811NM203322   VXP 28    KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142501   2022   VANGU   5V8VC2813NM203323   VXP 28    NY        Williamsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142502   2022   VANGU   5V8VC2815NM203324   VXP 28    CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142503   2022   VANGU   5V8VC2817NM203325   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142504   2022   VANGU   5V8VC2819NM203326   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142505   2022   VANGU   5V8VC2810NM203327   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142506   2022   VANGU   5V8VC2812NM203328   VXP 28    VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142507   2022   VANGU   5V8VC2814NM203329   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142508   2022   VANGU   5V8VC2810NM203330   VXP 28    PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142509   2022   VANGU   5V8VC2812NM203331   VXP 28    PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142510   2022   VANGU   5V8VC2814NM203332   VXP 28    NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142511   2022   VANGU   5V8VC2816NM203333   VXP 28    IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142512   2022   VANGU   5V8VC2818NM203334   VXP 28    TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142513   2022   VANGU   5V8VC281XNM203335   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142514   2022   VANGU   5V8VC2811NM203336   VXP 28    IN        Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142515   2022   VANGU   5V8VC2813NM203337   VXP 28    WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142516   2022   VANGU   5V8VC2815NM203338   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142517   2022   VANGU   5V8VC2817NM203339   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142518   2022   VANGU   5V8VC2813NM203340   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142519   2022   VANGU   5V8VC2815NM203341   VXP 28    FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142520   2022   VANGU   5V8VC2817NM203342   VXP 28    NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142521   2022   VANGU   5V8VC2819NM203343   VXP 28    TN        Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 740 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142522   2022   VANGU   5V8VC2810NM203344   VXP 28    CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142523   2022   VANGU   5V8VC2812NM203345   VXP 28    TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142524   2022   VANGU   5V8VC2814NM203346   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142525   2022   VANGU   5V8VC2816NM203347   VXP 28    FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142526   2022   VANGU   5V8VC2818NM203348   VXP 28    NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142527   2022   VANGU   5V8VC281XNM203349   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142528   2022   VANGU   5V8VC2816NM203350   VXP 28    VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142529   2022   VANGU   5V8VC2818NM203351   VXP 28    CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142530   2022   VANGU   5V8VC281XNM203352   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142531   2022   VANGU   5V8VC2811NM203353   VXP 28    CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142532   2022   VANGU   5V8VC2813NM203354   VXP 28    AL        Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142533   2022   VANGU   5V8VC2815NM203355   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142534   2022   VANGU   5V8VC2817NM203356   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142535   2022   VANGU   5V8VC2819NM203357   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142536   2022   VANGU   5V8VC2810NM203358   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142537   2022   VANGU   5V8VC2812NM203359   VXP 28    NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142538   2022   VANGU   5V8VC2819NM203360   VXP 28    DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142539   2022   VANGU   5V8VC2810NM203361   VXP 28    MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142540   2022   VANGU   5V8VC2812NM203362   VXP 28    AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142541   2022   VANGU   5V8VC2814NM203363   VXP 28    PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142542   2022   VANGU   5V8VC2816NM203364   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142543   2022   VANGU   5V8VC2818NM203365   VXP 28    Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142544   2022   VANGU   5V8VC281XNM203366   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142545   2022   VANGU   5V8VC2811NM203367   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142546   2022   VANGU   5V8VC2813NM203368   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142547   2022   VANGU   5V8VC2815NM203369   VXP 28    CA        Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142548   2022   VANGU   5V8VC2811NM203370   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142549   2022   VANGU   5V8VC2813NM203371   VXP 28    VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142550   2022   VANGU   5V8VC2815NM203372   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142551   2022   VANGU   5V8VC2817NM203373   VXP 28    CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142552   2022   VANGU   5V8VC2819NM203374   VXP 28    IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142553   2022   VANGU   5V8VC2810NM203375   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142554   2022   VANGU   5V8VC2812NM203376   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142555   2022   VANGU   5V8VC2814NM203377   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142556   2022   VANGU   5V8VC2816NM203378   VXP 28    CA        Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142557   2022   VANGU   5V8VC2818NM203379   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142558   2022   VANGU   5V8VC2814NM203380   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142559   2022   VANGU   5V8VC2816NM203381   VXP 28    PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142560   2022   VANGU   5V8VC2818NM203382   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142561   2022   VANGU   5V8VC281XNM203383   VXP 28    TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142562   2022   VANGU   5V8VC2811NM203384   VXP 28    VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142563   2022   VANGU   5V8VC2813NM203385   VXP 28    NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142564   2022   VANGU   5V8VC2815NM203386   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142565   2022   VANGU   5V8VC2817NM203387   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142566   2022   VANGU   5V8VC2819NM203388   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142567   2022   VANGU   5V8VC2810NM203389   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142568   2022   VANGU   5V8VC2817NM203390   VXP 28    IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142569   2022   VANGU   5V8VC2819NM203391   VXP 28    TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142570   2022   VANGU   5V8VC2810NM203392   VXP 28    KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142571   2022   VANGU   5V8VC2812NM203393   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142572   2022   VANGU   5V8VC2814NM203394   VXP 28    PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142573   2022   VANGU   5V8VC2816NM203395   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142574   2022   VANGU   5V8VC2818NM203396   VXP 28    LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142575   2022   VANGU   5V8VC281XNM203397   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142576   2022   VANGU   5V8VC2811NM203398   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142577   2022   VANGU   5V8VC2813NM203399   VXP 28    IL        McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142578   2022   VANGU   5V8VC2816NM203400   VXP 28    NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142579   2022   VANGU   5V8VC2818NM203401   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142580   2022   VANGU   5V8VC281XNM203402   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142581   2022   VANGU   5V8VC2811NM203403   VXP 28    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142582   2022   VANGU   5V8VC2813NM203404   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142583   2022   VANGU   5V8VC2815NM203405   VXP 28    CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142584   2022   VANGU   5V8VC2817NM203406   VXP 28    IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142585   2022   VANGU   5V8VC2819NM203407   VXP 28    IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142586   2022   VANGU   5V8VC2810NM203408   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142587   2022   VANGU   5V8VC2812NM203409   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142588   2022   VANGU   5V8VC2819NM203410   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142589   2022   VANGU   5V8VC2810NM203411   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142590   2022   VANGU   5V8VC2812NM203412   VXP 28    OR        Portland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 741 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142591   2022   VANGU   5V8VC2814NM203413   VXP 28    IL               Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142592   2022   VANGU   5V8VC2816NM203414   VXP 28    OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142593   2022   VANGU   5V8VC2818NM203415   VXP 28    TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142594   2022   VANGU   5V8VC281XNM203416   VXP 28    VA               Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142595   2022   VANGU   5V8VC2811NM203417   VXP 28    OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142596   2022   VANGU   5V8VC2813NM203418   VXP 28    IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142597   2022   VANGU   5V8VC2815NM203419   VXP 28    MO               Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142598   2022   VANGU   5V8VC2811NM203420   VXP 28    OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142599   2022   VANGU   5V8VC2813NM203421   VXP 28    TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142600   2022   VANGU   5V8VC2815NM203422   VXP 28    AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142601   2022   VANGU   5V8VC2817NM203423   VXP 28    MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142602   2022   VANGU   5V8VC2819NM203424   VXP 28    CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142603   2022   VANGU   5V8VC2810NM203425   VXP 28    GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142604   2022   VANGU   5V8VC2812NM203426   VXP 28    NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142605   2022   VANGU   5V8VC2814NM203427   VXP 28    MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142606   2022   VANGU   5V8VC2816NM203428   VXP 28    MI               Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142607   2022   VANGU   5V8VC2818NM203429   VXP 28    IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142608   2022   VANGU   5V8VC2814NM203430   VXP 28    GA               Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142609   2022   VANGU   5V8VC2816NM203431   VXP 28    NJ               Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142610   2022   VANGU   5V8VC2818NM203432   VXP 28    IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142611   2022   VANGU   5V8VC281XNM203433   VXP 28    TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142612   2022   VANGU   5V8VC2811NM203434   VXP 28    KY               Waddy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142613   2022   VANGU   5V8VC2813NM203435   VXP 28    CA               San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142614   2022   VANGU   5V8VC2815NM203436   VXP 28    IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142615   2022   VANGU   5V8VC2817NM203437   VXP 28    MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142616   2022   VANGU   5V8VC2819NM203438   VXP 28    CA               West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142617   2022   VANGU   5V8VC2810NM203439   VXP 28    TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142618   2022   VANGU   5V8VC2817NM203440   VXP 28    Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142619   2022   VANGU   5V8VC2819NM203441   VXP 28    NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142620   2022   VANGU   5V8VC2810NM203442   VXP 28    TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142621   2022   VANGU   5V8VC2812NM203443   VXP 28    IN               Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142622   2022   VANGU   5V8VC2814NM203444   VXP 28    PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142623   2022   VANGU   5V8VC2816NM203445   VXP 28    RI               Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142624   2022   VANGU   5V8VC2818NM203446   VXP 28    PA               Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142625   2022   VANGU   5V8VC281XNM203447   VXP 28    British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142626   2022   VANGU   5V8VC2811NM203448   VXP 28    Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142627   2022   VANGU   5V8VC2813NM203449   VXP 28    NJ               Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142628   2022   VANGU   5V8VC281XNM203450   VXP 28    NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142629   2022   VANGU   5V8VC2811NM203451   VXP 28    OH               Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142630   2022   VANGU   5V8VC2813NM203452   VXP 28    TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142631   2022   VANGU   5V8VC2815NM203453   VXP 28    CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142632   2022   VANGU   5V8VC2817NM203454   VXP 28    CO               Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142633   2022   VANGU   5V8VC2819NM203455   VXP 28    NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142634   2022   VANGU   5V8VC2810NM203456   VXP 28    CA               Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142635   2022   VANGU   5V8VC2812NM203457   VXP 28    NY               Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142636   2022   VANGU   5V8VC2814NM203458   VXP 28    CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142637   2022   VANGU   5V8VC2816NM203459   VXP 28    NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142638   2022   VANGU   5V8VC2812NM203460   VXP 28    FL               Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142639   2022   VANGU   5V8VC2814NM203461   VXP 28    NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142640   2022   VANGU   5V8VC2816NM203462   VXP 28    TX               El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142641   2022   VANGU   5V8VC2818NM203463   VXP 28    MI               Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142642   2022   VANGU   5V8VC281XNM203464   VXP 28    MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142643   2022   VANGU   5V8VC2811NM203465   VXP 28    OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142644   2022   VANGU   5V8VC2813NM203466   VXP 28    PA               Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142645   2022   VANGU   5V8VC2815NM203467   VXP 28    IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142646   2022   VANGU   5V8VC2817NM203468   VXP 28    OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142647   2022   VANGU   5V8VC2819NM203469   VXP 28    CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142648   2022   VANGU   5V8VC2815NM203470   VXP 28    NV               Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142649   2022   VANGU   5V8VC2817NM203471   VXP 28    MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142650   2022   VANGU   5V8VC2819NM203472   VXP 28    MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142651   2022   VANGU   5V8VC2810NM203473   VXP 28    IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142652   2022   VANGU   5V8VC2812NM203474   VXP 28    OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142653   2022   VANGU   5V8VC2814NM203475   VXP 28    OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142654   2022   VANGU   5V8VC2816NM203476   VXP 28    OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142655   2022   VANGU   5V8VC2818NM203477   VXP 28    TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142656   2022   VANGU   5V8VC281XNM203478   VXP 28    MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142657   2022   VANGU   5V8VC2811NM203479   VXP 28    TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142658   2022   VANGU   5V8VC2818NM203480   VXP 28    CO               Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142659   2022   VANGU   5V8VC281XNM203481   VXP 28    FL               Jacksonville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 742 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142660   2022   VANGU   5V8VC2811NM203482   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142661   2022   VANGU   5V8VC2813NM203483   VXP 28    CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142662   2022   VANGU   5V8VC2815NM203484   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142663   2022   VANGU   5V8VC2817NM203485   VXP 28    KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142664   2022   VANGU   5V8VC2819NM203486   VXP 28    WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142665   2022   VANGU   5V8VC2810NM203487   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142666   2022   VANGU   5V8VC2812NM203488   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142667   2022   VANGU   5V8VC2814NM203489   VXP 28    NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142668   2022   VANGU   5V8VC2810NM203490   VXP 28    SC        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142669   2022   VANGU   5V8VC2812NM203491   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142670   2022   VANGU   5V8VC2814NM203492   VXP 28    NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142671   2022   VANGU   5V8VC2816NM203493   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142672   2022   VANGU   5V8VC2818NM203494   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142673   2022   VANGU   5V8VC281XNM203495   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142674   2022   VANGU   5V8VC2811NM203496   VXP 28    MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142675   2022   VANGU   5V8VC2813NM203497   VXP 28    WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142676   2022   VANGU   5V8VC2815NM203498   VXP 28    OH        Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142677   2022   VANGU   5V8VC2817NM203499   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142678   2022   VANGU   5V8VC281XNM203500   VXP 28    Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142679   2022   VANGU   5V8VC2811NM203501   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142680   2022   VANGU   5V8VC2813NM203502   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142681   2022   VANGU   5V8VC2815NM203503   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142682   2022   VANGU   5V8VC2817NM203504   VXP 28    LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142683   2022   VANGU   5V8VC2819NM203505   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142684   2022   VANGU   5V8VC2810NM203506   VXP 28    AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142685   2022   VANGU   5V8VC2812NM203507   VXP 28    RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142686   2022   VANGU   5V8VC2814NM203508   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142687   2022   VANGU   5V8VC2816NM203509   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142688   2022   VANGU   5V8VC2812NM203510   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142689   2022   VANGU   5V8VC2814NM203511   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142690   2022   VANGU   5V8VC2816NM203512   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142691   2022   VANGU   5V8VC2818NM203513   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142692   2022   VANGU   5V8VC281XNM203514   VXP 28    MD        Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142693   2022   VANGU   5V8VC2811NM203515   VXP 28    LA        Monroe
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142694   2022   VANGU   5V8VC2813NM203516   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142695   2022   VANGU   5V8VC2815NM203517   VXP 28    MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142696   2022   VANGU   5V8VC2817NM203518   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142697   2022   VANGU   5V8VC2819NM203519   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142698   2022   VANGU   5V8VC2815NM203520   VXP 28    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142699   2022   VANGU   5V8VC2817NM203521   VXP 28    LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142700   2022   VANGU   5V8VC2819NM203522   VXP 28    TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142701   2022   VANGU   5V8VC2810NM203523   VXP 28    DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142702   2022   VANGU   5V8VC2812NM203524   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142703   2022   VANGU   5V8VC2814NM203525   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142704   2022   VANGU   5V8VC2816NM203526   VXP 28    NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142705   2022   VANGU   5V8VC2818NM203527   VXP 28    MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142706   2022   VANGU   5V8VC281XNM203528   VXP 28    IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142707   2022   VANGU   5V8VC2811NM203529   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142708   2022   VANGU   5V8VC2818NM203530   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142709   2022   VANGU   5V8VC281XNM203531   VXP 28    IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142710   2022   VANGU   5V8VC2811NM203532   VXP 28    TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142711   2022   VANGU   5V8VC2813NM203533   VXP 28    MT        Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142712   2022   VANGU   5V8VC2815NM203534   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142713   2022   VANGU   5V8VC2817NM203535   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142714   2022   VANGU   5V8VC2819NM203536   VXP 28    GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142715   2022   VANGU   5V8VC2810NM203537   VXP 28    MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142716   2022   VANGU   5V8VC2812NM203538   VXP 28    CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142717   2022   VANGU   5V8VC2814NM203539   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142718   2022   VANGU   5V8VC2810NM203540   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142719   2022   VANGU   5V8VC2812NM203541   VXP 28    MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142720   2022   VANGU   5V8VC2814NM203542   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142721   2022   VANGU   5V8VC2816NM203543   VXP 28    TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142722   2022   VANGU   5V8VC2818NM203544   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142723   2022   VANGU   5V8VC281XNM203545   VXP 28    WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142724   2022   VANGU   5V8VC2811NM203546   VXP 28    GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142725   2022   VANGU   5V8VC2813NM203547   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142726   2022   VANGU   5V8VC2815NM203548   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142727   2022   VANGU   5V8VC2817NM203549   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142728   2022   VANGU   5V8VC2813NM203550   VXP 28    NY        Maybrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 743 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142729   2022   VANGU   5V8VC2815NM203551   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142730   2022   VANGU   5V8VC2817NM203552   VXP 28    OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142731   2022   VANGU   5V8VC2819NM203553   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142732   2022   VANGU   5V8VC2810NM203554   VXP 28    FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142733   2022   VANGU   5V8VC2812NM203555   VXP 28    NY        Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142734   2022   VANGU   5V8VC2814NM203556   VXP 28    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142735   2022   VANGU   5V8VC2816NM203557   VXP 28    TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142736   2022   VANGU   5V8VC2818NM203558   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142737   2022   VANGU   5V8VC281XNM203559   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142738   2022   VANGU   5V8VC2816NM203560   VXP 28    OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142739   2022   VANGU   5V8VC2818NM203561   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142740   2022   VANGU   5V8VC281XNM203562   VXP 28    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142741   2022   VANGU   5V8VC2811NM203563   VXP 28    FL        Fort Myers
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142742   2022   VANGU   5V8VC2813NM203564   VXP 28    IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142743   2022   VANGU   5V8VC2815NM203565   VXP 28    FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142744   2022   VANGU   5V8VC2817NM203566   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142745   2022   VANGU   5V8VC2819NM203567   VXP 28    MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142746   2022   VANGU   5V8VC2810NM203568   VXP 28    OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142747   2022   VANGU   5V8VC2812NM203569   VXP 28    MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142748   2022   VANGU   5V8VC2819NM203570   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142749   2022   VANGU   5V8VC2810NM203571   VXP 28    FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142750   2022   VANGU   5V8VC2812NM203572   VXP 28    ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142751   2022   VANGU   5V8VC2814NM203573   VXP 28    GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142752   2022   VANGU   5V8VC2816NM203574   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142753   2022   VANGU   5V8VC2818NM203575   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142754   2022   VANGU   5V8VC281XNM203576   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142755   2022   VANGU   5V8VC2811NM203577   VXP 28    FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142756   2022   VANGU   5V8VC2813NM203578   VXP 28    OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142757   2022   VANGU   5V8VC2815NM203579   VXP 28    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142758   2022   VANGU   5V8VC2811NM203580   VXP 28    TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142759   2022   VANGU   5V8VC2813NM203581   VXP 28    OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142760   2022   VANGU   5V8VC2815NM203582   VXP 28    CA        Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142761   2022   VANGU   5V8VC2817NM203583   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142762   2022   VANGU   5V8VC2819NM203584   VXP 28    CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142763   2022   VANGU   5V8VC2810NM203585   VXP 28    FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142764   2022   VANGU   5V8VC2812NM203586   VXP 28    AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142765   2022   VANGU   5V8VC2814NM203587   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142766   2022   VANGU   5V8VC2816NM203588   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142767   2022   VANGU   5V8VC2818NM203589   VXP 28    MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142768   2022   VANGU   5V8VC2814NM203590   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142769   2022   VANGU   5V8VC2816NM203591   VXP 28    PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142770   2022   VANGU   5V8VC2818NM203592   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142771   2022   VANGU   5V8VC281XNM203593   VXP 28    WA        Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142772   2022   VANGU   5V8VC2811NM203594   VXP 28    CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142773   2022   VANGU   5V8VC2813NM203595   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142774   2022   VANGU   5V8VC2815NM203596   VXP 28    AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142775   2022   VANGU   5V8VC2817NM203597   VXP 28    FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142776   2022   VANGU   5V8VC2819NM203598   VXP 28    TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142777   2022   VANGU   5V8VC2810NM203599   VXP 28    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142778   2022   VANGU   5V8VC2813NM203600   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142779   2022   VANGU   5V8VC2815NM203601   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142780   2022   VANGU   5V8VC2817NM203602   VXP 28    IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142781   2022   VANGU   5V8VC2819NM203603   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142782   2022   VANGU   5V8VC2810NM203604   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142783   2022   VANGU   5V8VC2812NM203605   VXP 28    VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142784   2022   VANGU   5V8VC2814NM203606   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142785   2022   VANGU   5V8VC2816NM203607   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142786   2022   VANGU   5V8VC2818NM203608   VXP 28    OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142787   2022   VANGU   5V8VC281XNM203609   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142788   2022   VANGU   5V8VC2816NM203610   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142789   2022   VANGU   5V8VC2818NM203611   VXP 28    NY        Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142790   2022   VANGU   5V8VC281XNM203612   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142791   2022   VANGU   5V8VC2811NM203613   VXP 28    UT        St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142792   2022   VANGU   5V8VC2813NM203614   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142793   2022   VANGU   5V8VC2815NM203615   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142794   2022   VANGU   5V8VC2817NM203616   VXP 28    CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142795   2022   VANGU   5V8VC2819NM203617   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142796   2022   VANGU   5V8VC2810NM203618   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142797   2022   VANGU   5V8VC2812NM203619   VXP 28    TX        El Paso
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 744 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142798   2022   VANGU   5V8VC2819NM203620   VXP 28    MD             Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142799   2022   VANGU   5V8VC2810NM203621   VXP 28    AR             Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142800   2022   VANGU   5V8VC2812NM203622   VXP 28    AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142801   2022   VANGU   5V8VC2814NM203623   VXP 28    NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142802   2022   VANGU   5V8VC2816NM203624   VXP 28    ID             Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142803   2022   VANGU   5V8VC2818NM203625   VXP 28    CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142804   2022   VANGU   5V8VC281XNM203626   VXP 28    TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142805   2022   VANGU   5V8VC2811NM203627   VXP 28    WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142806   2022   VANGU   5V8VC2813NM203628   VXP 28    UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142807   2022   VANGU   5V8VC2815NM203629   VXP 28    CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142808   2022   VANGU   5V8VC2811NM203630   VXP 28    RI             Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142809   2022   VANGU   5V8VC2813NM203631   VXP 28    NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142810   2022   VANGU   5V8VC2815NM203632   VXP 28    TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142811   2022   VANGU   5V8VC2817NM203633   VXP 28    CA             Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142812   2022   VANGU   5V8VC2819NM203634   VXP 28    CA             Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142813   2022   VANGU   5V8VC2810NM203635   VXP 28    PQ             Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142814   2022   VANGU   5V8VC2812NM203636   VXP 28    FL             Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142815   2022   VANGU   5V8VC2814NM203637   VXP 28    WV             Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142816   2022   VANGU   5V8VC2816NM203638   VXP 28    MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142817   2022   VANGU   5V8VC2818NM203639   VXP 28    MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142818   2022   VANGU   5V8VC2814NM203640   VXP 28    TX             Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142819   2022   VANGU   5V8VC2816NM203641   VXP 28    IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142820   2022   VANGU   5V8VC2818NM203642   VXP 28    TX             Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142821   2022   VANGU   5V8VC281XNM203643   VXP 28    TX             Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142822   2022   VANGU   5V8VC2811NM203644   VXP 28    WI             Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142823   2022   VANGU   5V8VC2813NM203645   VXP 28    UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142824   2022   VANGU   5V8VC2815NM203646   VXP 28    OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142825   2022   VANGU   5V8VC2817NM203647   VXP 28    WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142826   2022   VANGU   5V8VC2819NM203648   VXP 28    CO             Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142827   2022   VANGU   5V8VC2810NM203649   VXP 28    NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142828   2022   VANGU   5V8VC2817NM203650   VXP 28    GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142829   2022   VANGU   5V8VC2819NM203651   VXP 28    TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142830   2022   VANGU   5V8VC2810NM203652   VXP 28    WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142831   2022   VANGU   5V8VC2812NM203653   VXP 28    GA             Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142832   2022   VANGU   5V8VC2814NM203654   VXP 28    NC             Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142833   2022   VANGU   5V8VC2816NM203655   VXP 28    CA             Calexico
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142834   2022   VANGU   5V8VC2818NM203656   VXP 28    NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142835   2022   VANGU   5V8VC281XNM203657   VXP 28    GA             Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142836   2022   VANGU   5V8VC2811NM203658   VXP 28    OR             Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142837   2022   VANGU   5V8VC2813NM203659   VXP 28    GA             Martinez
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142838   2022   VANGU   5V8VC281XNM203660   VXP 28    VA             Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142839   2022   VANGU   5V8VC2811NM203661   VXP 28    AR             Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142840   2022   VANGU   5V8VC2813NM203662   VXP 28    WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142841   2022   VANGU   5V8VC2815NM203663   VXP 28    NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142842   2022   VANGU   5V8VC2817NM203664   VXP 28    GA             Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142843   2022   VANGU   5V8VC2819NM203665   VXP 28    CA             San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142844   2022   VANGU   5V8VC2810NM203666   VXP 28    WA             Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142845   2022   VANGU   5V8VC2812NM203667   VXP 28    IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142846   2022   VANGU   5V8VC2814NM203668   VXP 28    IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142847   2022   VANGU   5V8VC2816NM203669   VXP 28    TX             Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142848   2022   VANGU   5V8VC2812NM203670   VXP 28    CA             Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142849   2022   VANGU   5V8VC2814NM203671   VXP 28    AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142850   2022   VANGU   5V8VC2816NM203672   VXP 28    FL             Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142851   2022   VANGU   5V8VC2818NM203673   VXP 28    Ontario        Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142852   2022   VANGU   5V8VC281XNM203674   VXP 28    TN             Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142853   2022   VANGU   5V8VC2811NM203675   VXP 28    MS             Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142854   2022   VANGU   5V8VC2813NM203676   VXP 28    AR             Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142855   2022   VANGU   5V8VC2815NM203677   VXP 28    AR             Springdale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142856   2022   VANGU   5V8VC2817NM203678   VXP 28    IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142857   2022   VANGU   5V8VC2819NM203679   VXP 28    Saskatchewan   Saskatoon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142858   2022   VANGU   5V8VC2815NM203680   VXP 28    IN             Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142859   2022   VANGU   5V8VC2817NM203681   VXP 28    GA             Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142860   2022   VANGU   5V8VC2819NM203682   VXP 28    TX             Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142861   2022   VANGU   5V8VC2810NM203683   VXP 28    CA             San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142862   2022   VANGU   5V8VC2812NM203684   VXP 28    Manitoba       Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142863   2022   VANGU   5V8VC2814NM203685   VXP 28    DE             Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142864   2022   VANGU   5V8VC2816NM203686   VXP 28    IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142865   2022   VANGU   5V8VC2818NM203687   VXP 28    PA             Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142866   2022   VANGU   5V8VC281XNM203688   VXP 28    CA             Los Angeles
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 745 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142867   2022   VANGU   5V8VC2811NM203689   VXP 28    AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142868   2022   VANGU   5V8VC2818NM203690   VXP 28    TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142869   2022   VANGU   5V8VC281XNM203691   VXP 28    OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142870   2022   VANGU   5V8VC2811NM203692   VXP 28    IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142871   2022   VANGU   5V8VC2813NM203693   VXP 28    LA         Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142872   2022   VANGU   5V8VC2815NM203694   VXP 28    OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142873   2022   VANGU   5V8VC2817NM203695   VXP 28    NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142874   2022   VANGU   5V8VC2819NM203696   VXP 28    KS         Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142875   2022   VANGU   5V8VC2810NM203697   VXP 28    TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142876   2022   VANGU   5V8VC2812NM203698   VXP 28    OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142877   2022   VANGU   5V8VC2814NM203699   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142878   2022   VANGU   5V8VC2817NM203700   VXP 28    MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142879   2022   VANGU   5V8VC2819NM203701   VXP 28    UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142880   2022   VANGU   5V8VC2810NM203702   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142881   2022   VANGU   5V8VC2812NM203703   VXP 28    CA         Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142882   2022   VANGU   5V8VC2814NM203704   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142883   2022   VANGU   5V8VC2816NM203705   VXP 28    NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142884   2022   VANGU   5V8VC2818NM203706   VXP 28    TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142885   2022   VANGU   5V8VC281XNM203707   VXP 28    PQ         Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142886   2022   VANGU   5V8VC2811NM203708   VXP 28    VA         Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142887   2022   VANGU   5V8VC2813NM203709   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142888   2022   VANGU   5V8VC281XNM203710   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142889   2022   VANGU   5V8VC2811NM203711   VXP 28    CA         Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142890   2022   VANGU   5V8VC2813NM203712   VXP 28    IN         Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142891   2022   VANGU   5V8VC2815NM203713   VXP 28    NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142892   2022   VANGU   5V8VC2817NM203714   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142893   2022   VANGU   5V8VC2819NM203715   VXP 28    MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142894   2022   VANGU   5V8VC2810NM203716   VXP 28    MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142895   2022   VANGU   5V8VC2812NM203717   VXP 28    NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142896   2022   VANGU   5V8VC2814NM203718   VXP 28    IL         Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142897   2022   VANGU   5V8VC2816NM203719   VXP 28    MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142898   2022   VANGU   5V8VC2812NM203720   VXP 28    IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142899   2022   VANGU   5V8VC2814NM203721   VXP 28    Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142900   2022   VANGU   5V8VC2816NM203722   VXP 28    UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142901   2022   VANGU   5V8VC2818NM203723   VXP 28    MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142902   2022   VANGU   5V8VC281XNM203724   VXP 28    OR         Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142903   2022   VANGU   5V8VC2811NM203725   VXP 28    PQ         Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142904   2022   VANGU   5V8VC2813NM203726   VXP 28    CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142905   2022   VANGU   5V8VC2815NM203727   VXP 28    MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142906   2022   VANGU   5V8VC2817NM203728   VXP 28    VA         Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142907   2022   VANGU   5V8VC2819NM203729   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142908   2022   VANGU   5V8VC2815NM203730   VXP 28    IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142909   2022   VANGU   5V8VC2817NM203731   VXP 28    CA         San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142910   2022   VANGU   5V8VC2819NM203732   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142911   2022   VANGU   5V8VC2810NM203733   VXP 28    IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142912   2022   VANGU   5V8VC2812NM203734   VXP 28    TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142913   2022   VANGU   5V8VC2814NM203735   VXP 28    ME         Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142914   2022   VANGU   5V8VC2816NM203736   VXP 28    MA         Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142915   2022   VANGU   5V8VC2818NM203737   VXP 28    NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142916   2022   VANGU   5V8VC281XNM203738   VXP 28    IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142917   2022   VANGU   5V8VC2811NM203739   VXP 28    TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142918   2022   VANGU   5V8VC2818NM203740   VXP 28    CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142919   2022   VANGU   5V8VC281XNM203741   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142920   2022   VANGU   5V8VC2811NM203742   VXP 28    UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142921   2022   VANGU   5V8VC2813NM203743   VXP 28    IN         Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142922   2022   VANGU   5V8VC2815NM203744   VXP 28    CA         Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142923   2022   VANGU   5V8VC2817NM203745   VXP 28    MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142924   2022   VANGU   5V8VC2819NM203746   VXP 28    IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142925   2022   VANGU   5V8VC2810NM203747   VXP 28    TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142926   2022   VANGU   5V8VC2812NM203748   VXP 28    VA         Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142927   2022   VANGU   5V8VC2814NM203749   VXP 28    NE         Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142928   2022   VANGU   5V8VC2810NM203750   VXP 28    GA         Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142929   2022   VANGU   5V8VC2812NM203751   VXP 28    FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142930   2022   VANGU   5V8VC2814NM203752   VXP 28    OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142931   2022   VANGU   5V8VC2816NM203753   VXP 28    NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142932   2022   VANGU   5V8VC2818NM203754   VXP 28    NJ         Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142933   2022   VANGU   5V8VC281XNM203755   VXP 28    UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142934   2022   VANGU   5V8VC2811NM203756   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142935   2022   VANGU   5V8VC2813NM203757   VXP 28    FL         Miami
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 746 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142936   2022   VANGU   5V8VC2815NM203758   VXP 28    OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142937   2022   VANGU   5V8VC2817NM203759   VXP 28    IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142938   2022   VANGU   5V8VC2813NM203760   VXP 28    DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142939   2022   VANGU   5V8VC2815NM203761   VXP 28    British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142940   2022   VANGU   5V8VC2817NM203762   VXP 28    CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142941   2022   VANGU   5V8VC2819NM203763   VXP 28    IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142942   2022   VANGU   5V8VC2810NM203764   VXP 28    OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142943   2022   VANGU   5V8VC2812NM203765   VXP 28    TX               McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142944   2022   VANGU   5V8VC2814NM203766   VXP 28    OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142945   2022   VANGU   5V8VC2816NM203767   VXP 28    CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142946   2022   VANGU   5V8VC2818NM203768   VXP 28    NM               Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142947   2022   VANGU   5V8VC281XNM203769   VXP 28    NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142948   2022   VANGU   5V8VC2816NM203770   VXP 28    CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142949   2022   VANGU   5V8VC2818NM203771   VXP 28    MN               Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142950   2022   VANGU   5V8VC281XNM203772   VXP 28    NJ               Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142951   2022   VANGU   5V8VC2811NM203773   VXP 28    MD               Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142952   2022   VANGU   5V8VC2813NM203774   VXP 28    AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142953   2022   VANGU   5V8VC2815NM203775   VXP 28    IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142954   2022   VANGU   5V8VC2817NM203776   VXP 28    FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142955   2022   VANGU   5V8VC2819NM203777   VXP 28    NV               Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142956   2022   VANGU   5V8VC2810NM203778   VXP 28    FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142957   2022   VANGU   5V8VC2812NM203779   VXP 28    MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142958   2022   VANGU   5V8VC2819NM203780   VXP 28    OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142959   2022   VANGU   5V8VC2810NM203781   VXP 28    VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142960   2022   VANGU   5V8VC2812NM203782   VXP 28    DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142961   2022   VANGU   5V8VC2814NM203783   VXP 28    GA               Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142962   2022   VANGU   5V8VC2816NM203784   VXP 28    GA               Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142963   2022   VANGU   5V8VC2818NM203785   VXP 28    MD               Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142964   2022   VANGU   5V8VC281XNM203786   VXP 28    TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142965   2022   VANGU   5V8VC2811NM203787   VXP 28    TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142966   2022   VANGU   5V8VC2813NM203788   VXP 28    NV               Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142967   2022   VANGU   5V8VC2815NM203789   VXP 28    OH               Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142968   2022   VANGU   5V8VC2811NM203790   VXP 28    TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142969   2022   VANGU   5V8VC2813NM203791   VXP 28    PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142970   2022   VANGU   5V8VC2815NM203792   VXP 28    SC               Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142971   2022   VANGU   5V8VC2817NM203793   VXP 28    OH               Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142972   2022   VANGU   5V8VC2819NM203794   VXP 28    OH               Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142973   2022   VANGU   5V8VC2810NM203795   VXP 28    VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142974   2022   VANGU   5V8VC2812NM203796   VXP 28    MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142975   2022   VANGU   5V8VC2814NM203797   VXP 28    OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142976   2022   VANGU   5V8VC2816NM203798   VXP 28    NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142977   2022   VANGU   5V8VC2818NM203799   VXP 28    CA               Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142978   2022   VANGU   5V8VC2810NM203800   VXP 28    Manitoba         Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142979   2022   VANGU   5V8VC2812NM203801   VXP 28    GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142980   2022   VANGU   5V8VC2814NM203802   VXP 28    WI               Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142981   2022   VANGU   5V8VC2816NM203803   VXP 28    CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142982   2022   VANGU   5V8VC2818NM203804   VXP 28    CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142983   2022   VANGU   5V8VC281XNM203805   VXP 28    GA               Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142984   2022   VANGU   5V8VC2811NM203806   VXP 28    RI               Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142985   2022   VANGU   5V8VC2813NM203807   VXP 28    NJ               Jersey City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142986   2022   VANGU   5V8VC2815NM203808   VXP 28    CA               West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142987   2022   VANGU   5V8VC2817NM203809   VXP 28    NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142988   2022   VANGU   5V8VC2813NM203810   VXP 28    UT               St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142989   2022   VANGU   5V8VC2815NM203811   VXP 28    MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142990   2022   VANGU   5V8VC2817NM203812   VXP 28    OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142991   2022   VANGU   5V8VC2819NM203813   VXP 28    AL               Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142992   2022   VANGU   5V8VC2810NM203814   VXP 28    GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142993   2022   VANGU   5V8VC2812NM203815   VXP 28    OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142994   2022   VANGU   5V8VC2814NM203816   VXP 28    TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142995   2022   VANGU   5V8VC2816NM203817   VXP 28    TX               McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142996   2022   VANGU   5V8VC2818NM203818   VXP 28    NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142997   2022   VANGU   5V8VC281XNM203819   VXP 28    IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142998   2022   VANGU   5V8VC2816NM203820   VXP 28    NJ               Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY142999   2022   VANGU   5V8VC2818NM203821   VXP 28    NC               Raleigh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143000   2022   VANGU   5V8VC281XNM203822   VXP 28    WI               Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143001   2022   VANGU   5V8VC2811NM203823   VXP 28    SD               Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143002   2022   VANGU   5V8VC2813NM203824   VXP 28    IL               McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143003   2022   VANGU   5V8VC2815NM203825   VXP 28    Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143004   2022   VANGU   5V8VC2817NM203826   VXP 28    OK               Oklahoma City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 747 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143005   2022   VANGU   5V8VC2819NM203827   VXP 28    OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143006   2022   VANGU   5V8VC2810NM203828   VXP 28    MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143007   2022   VANGU   5V8VC2812NM203829   VXP 28    IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143008   2022   VANGU   5V8VC2819NM203830   VXP 28    NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143009   2022   VANGU   5V8VC2810NM203831   VXP 28    IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143010   2022   VANGU   5V8VC2812NM203832   VXP 28    OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143011   2022   VANGU   5V8VC2814NM203833   VXP 28    OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143012   2022   VANGU   5V8VC2816NM203834   VXP 28    NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143013   2022   VANGU   5V8VC2818NM203835   VXP 28    FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143014   2022   VANGU   5V8VC281XNM203836   VXP 28    MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143015   2022   VANGU   5V8VC2811NM203837   VXP 28    NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143016   2022   VANGU   5V8VC2813NM203838   VXP 28    UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143017   2022   VANGU   5V8VC2815NM203839   VXP 28    TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143018   2022   VANGU   5V8VC2811NM203840   VXP 28    NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143019   2022   VANGU   5V8VC2813NM203841   VXP 28    OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143020   2022   VANGU   5V8VC2815NM203842   VXP 28    PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143021   2022   VANGU   5V8VC2817NM203843   VXP 28    PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143022   2022   VANGU   5V8VC2819NM203844   VXP 28    TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143023   2022   VANGU   5V8VC2810NM203845   VXP 28    SC      North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143024   2022   VANGU   5V8VC2812NM203846   VXP 28    TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143025   2022   VANGU   5V8VC2814NM203847   VXP 28    KS      Salina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143026   2022   VANGU   5V8VC2816NM203848   VXP 28    IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143027   2022   VANGU   5V8VC2818NM203849   VXP 28    OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143028   2022   VANGU   5V8VC2814NM203850   VXP 28    IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143029   2022   VANGU   5V8VC2816NM203851   VXP 28    CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143030   2022   VANGU   5V8VC2818NM203852   VXP 28    WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143031   2022   VANGU   5V8VC281XNM203853   VXP 28    MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143032   2022   VANGU   5V8VC2811NM203854   VXP 28    WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143033   2022   VANGU   5V8VC2813NM203855   VXP 28    CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143034   2022   VANGU   5V8VC2815NM203856   VXP 28    CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143035   2022   VANGU   5V8VC2817NM203857   VXP 28    GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143036   2022   VANGU   5V8VC2819NM203858   VXP 28    VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143037   2022   VANGU   5V8VC2810NM203859   VXP 28    NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143038   2022   VANGU   5V8VC2817NM203860   VXP 28    CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143039   2022   VANGU   5V8VC2819NM203861   VXP 28    UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143040   2022   VANGU   5V8VC2810NM203862   VXP 28    NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143041   2022   VANGU   5V8VC2812NM203863   VXP 28    TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143042   2022   VANGU   5V8VC2814NM203864   VXP 28    MA      Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143043   2022   VANGU   5V8VC2816NM203865   VXP 28    CA      Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143044   2022   VANGU   5V8VC2818NM203866   VXP 28    TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143045   2022   VANGU   5V8VC281XNM203867   VXP 28    CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143046   2022   VANGU   5V8VC2811NM203868   VXP 28    FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143047   2022   VANGU   5V8VC2813NM203869   VXP 28    MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143048   2022   VANGU   5V8VC281XNM203870   VXP 28    CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143049   2022   VANGU   5V8VC2811NM203871   VXP 28    GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143050   2022   VANGU   5V8VC2813NM203872   VXP 28    AL      Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143051   2022   VANGU   5V8VC2815NM203873   VXP 28    MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143052   2022   VANGU   5V8VC2817NM203874   VXP 28    OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143053   2022   VANGU   5V8VC2819NM203875   VXP 28    OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143054   2022   VANGU   5V8VC2810NM203876   VXP 28    PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143055   2022   VANGU   5V8VC2812NM203877   VXP 28    MD      Elkridge
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143056   2022   VANGU   5V8VC2814NM203878   VXP 28    IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143057   2022   VANGU   5V8VC2816NM203879   VXP 28    NC      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143058   2022   VANGU   5V8VC2812NM203880   VXP 28    ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143059   2022   VANGU   5V8VC2814NM203881   VXP 28    TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143060   2022   VANGU   5V8VC2816NM203882   VXP 28    AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143061   2022   VANGU   5V8VC2818NM203883   VXP 28    TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143062   2022   VANGU   5V8VC281XNM203884   VXP 28    VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143063   2022   VANGU   5V8VC2811NM203885   VXP 28    FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143064   2022   VANGU   5V8VC2813NM203886   VXP 28    TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143065   2022   VANGU   5V8VC2815NM203887   VXP 28    CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143066   2022   VANGU   5V8VC2817NM203888   VXP 28    MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143067   2022   VANGU   5V8VC2819NM203889   VXP 28    MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143068   2022   VANGU   5V8VC2815NM203890   VXP 28    PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143069   2022   VANGU   5V8VC2817NM203891   VXP 28    NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143070   2022   VANGU   5V8VC2819NM203892   VXP 28    NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143071   2022   VANGU   5V8VC2810NM203893   VXP 28    GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143072   2022   VANGU   5V8VC2812NM203894   VXP 28    MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143073   2022   VANGU   5V8VC2814NM203895   VXP 28    OR      Portland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 748 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143074   2022   VANGU   5V8VC2816NM203896   VXP 28    ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143075   2022   VANGU   5V8VC2818NM203897   VXP 28    IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143076   2022   VANGU   5V8VC281XNM203898   VXP 28    KY      Waddy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143077   2022   VANGU   5V8VC2811NM203899   VXP 28    GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143078   2022   VANGU   5V8VC2814NM203900   VXP 28    TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143079   2022   VANGU   5V8VC2816NM203901   VXP 28    NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143080   2022   VANGU   5V8VC2818NM203902   VXP 28    LA      Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143081   2022   VANGU   5V8VC281XNM203903   VXP 28    ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143082   2022   VANGU   5V8VC2811NM203904   VXP 28    MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143083   2022   VANGU   5V8VC2813NM203905   VXP 28    PA      Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143084   2022   VANGU   5V8VC2815NM203906   VXP 28    MO      Sikeston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143085   2022   VANGU   5V8VC2817NM203907   VXP 28    AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143086   2022   VANGU   5V8VC2819NM203908   VXP 28    PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143087   2022   VANGU   5V8VC2810NM203909   VXP 28    TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143088   2022   VANGU   5V8VC2817NM203910   VXP 28    NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143089   2022   VANGU   5V8VC2819NM203911   VXP 28    MO      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143090   2022   VANGU   5V8VC2810NM203912   VXP 28    IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143091   2022   VANGU   5V8VC2812NM203913   VXP 28    MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143092   2022   VANGU   5V8VC2814NM203914   VXP 28    TX      El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143093   2022   VANGU   5V8VC2816NM203915   VXP 28    CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143094   2022   VANGU   5V8VC2818NM203916   VXP 28    OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143095   2022   VANGU   5V8VC281XNM203917   VXP 28    MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143096   2022   VANGU   5V8VC2811NM203918   VXP 28    IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143097   2022   VANGU   5V8VC2813NM203919   VXP 28    TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143098   2022   VANGU   5V8VC281XNM203920   VXP 28    UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143099   2022   VANGU   5V8VC2811NM203921   VXP 28    AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143100   2022   VANGU   5V8VC2813NM203922   VXP 28    CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143101   2022   VANGU   5V8VC2815NM203923   VXP 28    IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143102   2022   VANGU   5V8VC2817NM203924   VXP 28    RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143103   2022   VANGU   5V8VC2819NM203925   VXP 28    UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143104   2022   VANGU   5V8VC2810NM203926   VXP 28    OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143105   2022   VANGU   5V8VC2812NM203927   VXP 28    TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143106   2022   VANGU   5V8VC2814NM203928   VXP 28    NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143107   2022   VANGU   5V8VC2816NM203929   VXP 28    NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143108   2022   VANGU   5V8VC2812NM203930   VXP 28    IA      Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143109   2022   VANGU   5V8VC2814NM203931   VXP 28    IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143110   2022   VANGU   5V8VC2816NM203932   VXP 28    NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143111   2022   VANGU   5V8VC2818NM203933   VXP 28    MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143112   2022   VANGU   5V8VC281XNM203934   VXP 28    CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143113   2022   VANGU   5V8VC2811NM203935   VXP 28    TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143114   2022   VANGU   5V8VC2813NM203936   VXP 28    PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143115   2022   VANGU   5V8VC2815NM203937   VXP 28    FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143116   2022   VANGU   5V8VC2817NM203938   VXP 28    OR      Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143117   2022   VANGU   5V8VC2819NM203939   VXP 28    AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143118   2022   VANGU   5V8VC2815NM203940   VXP 28    CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143119   2022   VANGU   5V8VC2817NM203941   VXP 28    NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143120   2022   VANGU   5V8VC2819NM203942   VXP 28    FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143121   2022   VANGU   5V8VC2810NM203943   VXP 28    CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143122   2022   VANGU   5V8VC2812NM203944   VXP 28    WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143123   2022   VANGU   5V8VC2814NM203945   VXP 28    TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143124   2022   VANGU   5V8VC2816NM203946   VXP 28    FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143125   2022   VANGU   5V8VC2818NM203947   VXP 28    SC      North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143126   2022   VANGU   5V8VC281XNM203948   VXP 28    WY      Cheyenne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143127   2022   VANGU   5V8VC2811NM203949   VXP 28    LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143128   2022   VANGU   5V8VC2818NM203950   VXP 28    WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143129   2022   VANGU   5V8VC281XNM203951   VXP 28    FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143130   2022   VANGU   5V8VC2811NM203952   VXP 28    OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143131   2022   VANGU   5V8VC2813NM203953   VXP 28    VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143132   2022   VANGU   5V8VC2815NM203954   VXP 28    CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143133   2022   VANGU   5V8VC2817NM203955   VXP 28    NY      Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143134   2022   VANGU   5V8VC2819NM203956   VXP 28    MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143135   2022   VANGU   5V8VC2810NM203957   VXP 28    NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143136   2022   VANGU   5V8VC2812NM203958   VXP 28    NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143137   2022   VANGU   5V8VC2814NM203959   VXP 28    OH      Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143138   2022   VANGU   5V8VC2810NM203960   VXP 28    CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143139   2022   VANGU   5V8VC2812NM203961   VXP 28    CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143140   2022   VANGU   5V8VC2814NM203962   VXP 28    CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143141   2022   VANGU   5V8VC2816NM203963   VXP 28    OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143142   2022   VANGU   5V8VC2818NM203964   VXP 28    FL      Tampa
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 749 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143143   2022   VANGU   5V8VC281XNM203965   VXP 28    CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143144   2022   VANGU   5V8VC2811NM203966   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143145   2022   VANGU   5V8VC2813NM203967   VXP 28    CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143146   2022   VANGU   5V8VC2815NM203968   VXP 28    ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143147   2022   VANGU   5V8VC2817NM203969   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143148   2022   VANGU   5V8VC2813NM203970   VXP 28    IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143149   2022   VANGU   5V8VC2815NM203971   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143150   2022   VANGU   5V8VC2817NM203972   VXP 28    FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143151   2022   VANGU   5V8VC2819NM203973   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143152   2022   VANGU   5V8VC2810NM203974   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143153   2022   VANGU   5V8VC2812NM203975   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143154   2022   VANGU   5V8VC2814NM203976   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143155   2022   VANGU   5V8VC2816NM203977   VXP 28    PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143156   2022   VANGU   5V8VC2818NM203978   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143157   2022   VANGU   5V8VC281XNM203979   VXP 28    FL        Fort Myers
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143158   2022   VANGU   5V8VC2816NM203980   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143159   2022   VANGU   5V8VC2818NM203981   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143160   2022   VANGU   5V8VC281XNM203982   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143161   2022   VANGU   5V8VC2811NM203983   VXP 28    MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143162   2022   VANGU   5V8VC2813NM203984   VXP 28    RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143163   2022   VANGU   5V8VC2815NM203985   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143164   2022   VANGU   5V8VC2817NM203986   VXP 28    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143165   2022   VANGU   5V8VC2819NM203987   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143166   2022   VANGU   5V8VC2810NM203988   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143167   2022   VANGU   5V8VC2812NM203989   VXP 28    IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143168   2022   VANGU   5V8VC2819NM203990   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143169   2022   VANGU   5V8VC2810NM203991   VXP 28    OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143170   2022   VANGU   5V8VC2812NM203992   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143171   2022   VANGU   5V8VC2814NM203993   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143172   2022   VANGU   5V8VC2816NM203994   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143173   2022   VANGU   5V8VC2818NM203995   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143174   2022   VANGU   5V8VC281XNM203996   VXP 28    PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143175   2022   VANGU   5V8VC2811NM203997   VXP 28    TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143176   2022   VANGU   5V8VC2813NM203998   VXP 28    PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143177   2022   VANGU   5V8VC2815NM203999   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143178   2022   VANGU   5V8VC2816NM204000   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143179   2022   VANGU   5V8VC2818NM204001   VXP 28    PA        Erie
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143180   2022   VANGU   5V8VC281XNM204002   VXP 28    NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143181   2022   VANGU   5V8VC2811NM204003   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143182   2022   VANGU   5V8VC2813NM204004   VXP 28    KS        Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143183   2022   VANGU   5V8VC2815NM204005   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143184   2022   VANGU   5V8VC2817NM204006   VXP 28    TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143185   2022   VANGU   5V8VC2819NM204007   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143186   2022   VANGU   5V8VC2810NM204008   VXP 28    TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143187   2022   VANGU   5V8VC2812NM204009   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143188   2022   VANGU   5V8VC2819NM204010   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143189   2022   VANGU   5V8VC2810NM204011   VXP 28    Quebec    Quebec City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143190   2022   VANGU   5V8VC2812NM204012   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143191   2022   VANGU   5V8VC2814NM204013   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143192   2022   VANGU   5V8VC2816NM204014   VXP 28    CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143193   2022   VANGU   5V8VC2818NM204015   VXP 28    NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143194   2022   VANGU   5V8VC281XNM204016   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143195   2022   VANGU   5V8VC2811NM204017   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143196   2022   VANGU   5V8VC2813NM204018   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143197   2022   VANGU   5V8VC2815NM204019   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143198   2022   VANGU   5V8VC2811NM204020   VXP 28    VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143199   2022   VANGU   5V8VC2813NM204021   VXP 28    CA        Santa Maria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143200   2022   VANGU   5V8VC2815NM204022   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143201   2022   VANGU   5V8VC2817NM204023   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143202   2022   VANGU   5V8VC2819NM204024   VXP 28    IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143203   2022   VANGU   5V8VC2810NM204025   VXP 28    PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143204   2022   VANGU   5V8VC2812NM204026   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143205   2022   VANGU   5V8VC2814NM204027   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143206   2022   VANGU   5V8VC2816NM204028   VXP 28    WA        Union Gap
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143207   2022   VANGU   5V8VC2818NM204029   VXP 28    Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143208   2022   VANGU   5V8VC2814NM204030   VXP 28    CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143209   2022   VANGU   5V8VC2816NM204031   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143210   2022   VANGU   5V8VC2818NM204032   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143211   2022   VANGU   5V8VC281XNM204033   VXP 28    TX        San Antonio
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 750 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143212   2022   VANGU   5V8VC2811NM204034   VXP 28    TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143213   2022   VANGU   5V8VC2813NM204035   VXP 28    CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143214   2022   VANGU   5V8VC2815NM204036   VXP 28    NJ         South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143215   2022   VANGU   5V8VC2817NM204037   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143216   2022   VANGU   5V8VC2819NM204038   VXP 28    TX         Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143217   2022   VANGU   5V8VC2810NM204039   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143218   2022   VANGU   5V8VC2817NM204040   VXP 28    Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143219   2022   VANGU   5V8VC2819NM204041   VXP 28    ND         Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143220   2022   VANGU   5V8VC2810NM204042   VXP 28    WV         Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143221   2022   VANGU   5V8VC2812NM204043   VXP 28    TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143222   2022   VANGU   5V8VC2814NM204044   VXP 28    NV         Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143223   2022   VANGU   5V8VC2816NM204045   VXP 28    NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143224   2022   VANGU   5V8VC2818NM204046   VXP 28    IN         Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143225   2022   VANGU   5V8VC281XNM204047   VXP 28    RI         Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143226   2022   VANGU   5V8VC2811NM204048   VXP 28    OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143227   2022   VANGU   5V8VC2813NM204049   VXP 28    TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143228   2022   VANGU   5V8VC281XNM204050   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143229   2022   VANGU   5V8VC2811NM204051   VXP 28    LA         Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143230   2022   VANGU   5V8VC2813NM204052   VXP 28    CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143231   2022   VANGU   5V8VC2815NM204053   VXP 28    NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143232   2022   VANGU   5V8VC2817NM204054   VXP 28    AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143233   2022   VANGU   5V8VC2819NM204055   VXP 28    MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143234   2022   VANGU   5V8VC2810NM204056   VXP 28    MD         Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143235   2022   VANGU   5V8VC2812NM204057   VXP 28    FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143237   2022   VANGU   5V8VC2816NM204059   VXP 28    NJ         South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143238   2022   VANGU   5V8VC2812NM204060   VXP 28    AR         Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143239   2022   VANGU   5V8VC2814NM204061   VXP 28    NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143240   2022   VANGU   5V8VC2816NM204062   VXP 28    Alberta    Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143241   2022   VANGU   5V8VC2818NM204063   VXP 28    NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143242   2022   VANGU   5V8VC281XNM204064   VXP 28    CA         Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143243   2022   VANGU   5V8VC2811NM204065   VXP 28    CA         Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143244   2022   VANGU   5V8VC2813NM204066   VXP 28    AR         Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143245   2022   VANGU   5V8VC2815NM204067   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143246   2022   VANGU   5V8VC2817NM204068   VXP 28    DE         Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143247   2022   VANGU   5V8VC2819NM204069   VXP 28    KS         Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143248   2022   VANGU   5V8VC2815NM204070   VXP 28    CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143249   2022   VANGU   5V8VC2817NM204071   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143250   2022   VANGU   5V8VC2819NM204072   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143251   2022   VANGU   5V8VC2810NM204073   VXP 28    OR         Roseburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143252   2022   VANGU   5V8VC2812NM204074   VXP 28    NY         Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143253   2022   VANGU   5V8VC2814NM204075   VXP 28    MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143254   2022   VANGU   5V8VC2816NM204076   VXP 28    AR         Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143255   2022   VANGU   5V8VC2818NM204077   VXP 28    GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143256   2022   VANGU   5V8VC281XNM204078   VXP 28    NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143257   2022   VANGU   5V8VC2811NM204079   VXP 28    NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143258   2022   VANGU   5V8VC2818NM204080   VXP 28    IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143259   2022   VANGU   5V8VC281XNM204081   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143260   2022   VANGU   5V8VC2811NM204082   VXP 28    MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143261   2022   VANGU   5V8VC2813NM204083   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143262   2022   VANGU   5V8VC2815NM204084   VXP 28    IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143263   2022   VANGU   5V8VC2817NM204085   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143264   2022   VANGU   5V8VC2819NM204086   VXP 28    CA         Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143265   2022   VANGU   5V8VC2810NM204087   VXP 28    OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143266   2022   VANGU   5V8VC2812NM204088   VXP 28    MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143267   2022   VANGU   5V8VC2814NM204089   VXP 28    FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143268   2022   VANGU   5V8VC2810NM204090   VXP 28    Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143269   2022   VANGU   5V8VC2812NM204091   VXP 28    ND         Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143270   2022   VANGU   5V8VC2814NM204092   VXP 28    CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143271   2022   VANGU   5V8VC2816NM204093   VXP 28    NM         Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143272   2022   VANGU   5V8VC2818NM204094   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143273   2022   VANGU   5V8VC281XNM204095   VXP 28    TX         Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143274   2022   VANGU   5V8VC2811NM204096   VXP 28    PA         Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143275   2022   VANGU   5V8VC2813NM204097   VXP 28    AL         Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143276   2022   VANGU   5V8VC2815NM204098   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143277   2022   VANGU   5V8VC2817NM204099   VXP 28    CA         Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143278   2022   VANGU   5V8VC281XNM204100   VXP 28    TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143279   2022   VANGU   5V8VC2811NM204101   VXP 28    MI         Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143280   2022   VANGU   5V8VC2813NM204102   VXP 28    IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143281   2022   VANGU   5V8VC2815NM204103   VXP 28    OK         Oklahoma City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 751 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143282   2022   VANGU   5V8VC2817NM204104   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143283   2022   VANGU   5V8VC2819NM204105   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143284   2022   VANGU   5V8VC2810NM204106   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143285   2022   VANGU   5V8VC2812NM204107   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143286   2022   VANGU   5V8VC2814NM204108   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143287   2022   VANGU   5V8VC2816NM204109   VXP 28    NY        Williamsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143288   2022   VANGU   5V8VC2812NM204110   VXP 28    TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143289   2022   VANGU   5V8VC2814NM204111   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143290   2022   VANGU   5V8VC2816NM204112   VXP 28    LA        Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143291   2022   VANGU   5V8VC2818NM204113   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143292   2022   VANGU   5V8VC281XNM204114   VXP 28    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143293   2022   VANGU   5V8VC2811NM204115   VXP 28    RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143294   2022   VANGU   5V8VC2813NM204116   VXP 28    RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143295   2022   VANGU   5V8VC2815NM204117   VXP 28    TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143296   2022   VANGU   5V8VC2817NM204118   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143297   2022   VANGU   5V8VC2819NM204119   VXP 28    IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143298   2022   VANGU   5V8VC2815NM204120   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143299   2022   VANGU   5V8VC2817NM204121   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143300   2022   VANGU   5V8VC2819NM204122   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143301   2022   VANGU   5V8VC2810NM204123   VXP 28    SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143302   2022   VANGU   5V8VC2812NM204124   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143303   2022   VANGU   5V8VC2814NM204125   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143304   2022   VANGU   5V8VC2816NM204126   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143305   2022   VANGU   5V8VC2818NM204127   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143306   2022   VANGU   5V8VC281XNM204128   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143307   2022   VANGU   5V8VC2811NM204129   VXP 28    PA        Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143308   2022   VANGU   5V8VC2818NM204130   VXP 28    AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143309   2022   VANGU   5V8VC281XNM204131   VXP 28    NC        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143310   2022   VANGU   5V8VC2811NM204132   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143311   2022   VANGU   5V8VC2813NM204133   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143312   2022   VANGU   5V8VC2815NM204134   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143313   2022   VANGU   5V8VC2817NM204135   VXP 28    IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143314   2022   VANGU   5V8VC2819NM204136   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143315   2022   VANGU   5V8VC2810NM204137   VXP 28    IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143316   2022   VANGU   5V8VC2812NM204138   VXP 28    AZ        Tucson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143317   2022   VANGU   5V8VC2814NM204139   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143318   2022   VANGU   5V8VC2810NM204140   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143319   2022   VANGU   5V8VC2812NM204141   VXP 28    NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143320   2022   VANGU   5V8VC2814NM204142   VXP 28    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143321   2022   VANGU   5V8VC2816NM204143   VXP 28    MI        Norway
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143322   2022   VANGU   5V8VC2818NM204144   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143323   2022   VANGU   5V8VC281XNM204145   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143324   2022   VANGU   5V8VC2811NM204146   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143325   2022   VANGU   5V8VC2813NM204147   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143326   2022   VANGU   5V8VC2815NM204148   VXP 28    CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143327   2022   VANGU   5V8VC2817NM204149   VXP 28    NY        Williamsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143328   2022   VANGU   5V8VC2813NM204150   VXP 28    IL        Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143329   2022   VANGU   5V8VC2815NM204151   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143330   2022   VANGU   5V8VC2817NM204152   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143331   2022   VANGU   5V8VC2819NM204153   VXP 28    GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143332   2022   VANGU   5V8VC2810NM204154   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143333   2022   VANGU   5V8VC2812NM204155   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143334   2022   VANGU   5V8VC2814NM204156   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143335   2022   VANGU   5V8VC2816NM204157   VXP 28    IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143336   2022   VANGU   5V8VC2818NM204158   VXP 28    VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143337   2022   VANGU   5V8VC281XNM204159   VXP 28    FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143338   2022   VANGU   5V8VC2816NM204160   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143339   2022   VANGU   5V8VC2818NM204161   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143340   2022   VANGU   5V8VC281XNM204162   VXP 28    FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143341   2022   VANGU   5V8VC2811NM204163   VXP 28    UT        St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143342   2022   VANGU   5V8VC2813NM204164   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143343   2022   VANGU   5V8VC2815NM204165   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143344   2022   VANGU   5V8VC2817NM204166   VXP 28    NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143345   2022   VANGU   5V8VC2819NM204167   VXP 28    SC        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143346   2022   VANGU   5V8VC2810NM204168   VXP 28    AL        Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143347   2022   VANGU   5V8VC2812NM204169   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143348   2022   VANGU   5V8VC2819NM204170   VXP 28    MD        Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143349   2022   VANGU   5V8VC2810NM204171   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143350   2022   VANGU   5V8VC2812NM204172   VXP 28    PA        Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 752 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143351   2022   VANGU   5V8VC2814NM204173   VXP 28    VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143352   2022   VANGU   5V8VC2816NM204174   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143353   2022   VANGU   5V8VC2818NM204175   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143354   2022   VANGU   5V8VC281XNM204176   VXP 28    TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143355   2022   VANGU   5V8VC2811NM204177   VXP 28    NY        Plattsburgh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143356   2022   VANGU   5V8VC2813NM204178   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143357   2022   VANGU   5V8VC2815NM204179   VXP 28    MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143358   2022   VANGU   5V8VC2811NM204180   VXP 28    TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143359   2022   VANGU   5V8VC2813NM204181   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143360   2022   VANGU   5V8VC2815NM204182   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143361   2022   VANGU   5V8VC2817NM204183   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143362   2022   VANGU   5V8VC2819NM204184   VXP 28    MN        Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143363   2022   VANGU   5V8VC2810NM204185   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143364   2022   VANGU   5V8VC2812NM204186   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143365   2022   VANGU   5V8VC2814NM204187   VXP 28    FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143366   2022   VANGU   5V8VC2816NM204188   VXP 28    MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143367   2022   VANGU   5V8VC2818NM204189   VXP 28    FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143368   2022   VANGU   5V8VC2814NM204190   VXP 28    SC        North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143369   2022   VANGU   5V8VC2816NM204191   VXP 28    LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143370   2022   VANGU   5V8VC2818NM204192   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143371   2022   VANGU   5V8VC281XNM204193   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143372   2022   VANGU   5V8VC2811NM204194   VXP 28    SC        North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143373   2022   VANGU   5V8VC2813NM204195   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143374   2022   VANGU   5V8VC2815NM204196   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143375   2022   VANGU   5V8VC2817NM204197   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143376   2022   VANGU   5V8VC2819NM204198   VXP 28    SD        Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143377   2022   VANGU   5V8VC2810NM204199   VXP 28    OH        North Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143378   2022   VANGU   5V8VC2813NM204200   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143379   2022   VANGU   5V8VC2815NM204201   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143380   2022   VANGU   5V8VC2817NM204202   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143381   2022   VANGU   5V8VC2819NM204203   VXP 28    MI        Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143382   2022   VANGU   5V8VC2810NM204204   VXP 28    GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143383   2022   VANGU   5V8VC2812NM204205   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143384   2022   VANGU   5V8VC2814NM204206   VXP 28    NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143385   2022   VANGU   5V8VC2816NM204207   VXP 28    CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143386   2022   VANGU   5V8VC2818NM204208   VXP 28    ND        Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143387   2022   VANGU   5V8VC281XNM204209   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143388   2022   VANGU   5V8VC2816NM204210   VXP 28    TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143389   2022   VANGU   5V8VC2818NM204211   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143390   2022   VANGU   5V8VC281XNM204212   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143391   2022   VANGU   5V8VC2811NM204213   VXP 28    RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143392   2022   VANGU   5V8VC2813NM204214   VXP 28    NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143393   2022   VANGU   5V8VC2815NM204215   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143394   2022   VANGU   5V8VC2817NM204216   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143395   2022   VANGU   5V8VC2819NM204217   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143396   2022   VANGU   5V8VC2810NM204218   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143397   2022   VANGU   5V8VC2812NM204219   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143398   2022   VANGU   5V8VC2819NM204220   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143399   2022   VANGU   5V8VC2810NM204221   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143400   2022   VANGU   5V8VC2812NM204222   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143401   2022   VANGU   5V8VC2814NM204223   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143402   2022   VANGU   5V8VC2816NM204224   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143403   2022   VANGU   5V8VC2818NM204225   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143404   2022   VANGU   5V8VC281XNM204226   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143405   2022   VANGU   5V8VC2811NM204227   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143406   2022   VANGU   5V8VC2813NM204228   VXP 28    GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143407   2022   VANGU   5V8VC2815NM204229   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143408   2022   VANGU   5V8VC2811NM204230   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143409   2022   VANGU   5V8VC2813NM204231   VXP 28    TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143410   2022   VANGU   5V8VC2815NM204232   VXP 28    IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143411   2022   VANGU   5V8VC2817NM204233   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143412   2022   VANGU   5V8VC2819NM204234   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143413   2022   VANGU   5V8VC2810NM204235   VXP 28    TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143414   2022   VANGU   5V8VC2812NM204236   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143415   2022   VANGU   5V8VC2814NM204237   VXP 28    IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143416   2022   VANGU   5V8VC2816NM204238   VXP 28    TX        Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143417   2022   VANGU   5V8VC2818NM204239   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143418   2022   VANGU   5V8VC2814NM204240   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143419   2022   VANGU   5V8VC2816NM204241   VXP 28    WI        Eau Claire
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 753 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143420   2022   VANGU   5V8VC2818NM204242   VXP 28    PA         Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143421   2022   VANGU   5V8VC281XNM204243   VXP 28    MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143422   2022   VANGU   5V8VC2811NM204244   VXP 28    IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143423   2022   VANGU   5V8VC2813NM204245   VXP 28    IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143424   2022   VANGU   5V8VC2815NM204246   VXP 28    TX         Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143425   2022   VANGU   5V8VC2817NM204247   VXP 28    MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143426   2022   VANGU   5V8VC2819NM204248   VXP 28    ME         Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143427   2022   VANGU   5V8VC2810NM204249   VXP 28    AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143428   2022   VANGU   5V8VC2817NM204250   VXP 28    ND         Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143429   2022   VANGU   5V8VC2819NM204251   VXP 28    MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143430   2022   VANGU   5V8VC2810NM204252   VXP 28    MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143431   2022   VANGU   5V8VC2812NM204253   VXP 28    LA         Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143432   2022   VANGU   5V8VC2814NM204254   VXP 28    IL         Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143433   2022   VANGU   5V8VC2816NM204255   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143434   2022   VANGU   5V8VC2818NM204256   VXP 28    FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143435   2022   VANGU   5V8VC281XNM204257   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143436   2022   VANGU   5V8VC2811NM204258   VXP 28    NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143437   2022   VANGU   5V8VC2813NM204259   VXP 28    NC         Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143438   2022   VANGU   5V8VC281XNM204260   VXP 28    CA         Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143439   2022   VANGU   5V8VC2811NM204261   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143440   2022   VANGU   5V8VC2813NM204262   VXP 28    OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143441   2022   VANGU   5V8VC2815NM204263   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143442   2022   VANGU   5V8VC2817NM204264   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143443   2022   VANGU   5V8VC2819NM204265   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143444   2022   VANGU   5V8VC2810NM204266   VXP 28    OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143445   2022   VANGU   5V8VC2812NM204267   VXP 28    Alberta    Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143446   2022   VANGU   5V8VC2814NM204268   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143447   2022   VANGU   5V8VC2816NM204269   VXP 28    GA         Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143448   2022   VANGU   5V8VC2812NM204270   VXP 28    WI         Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143449   2022   VANGU   5V8VC2814NM204271   VXP 28    WI         Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143464   2022   WABSH   1JJV281D6NL301238   DVDBHPC   NE         Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143465   2022   WABSH   1JJV281D8NL301239   DVDBHPC   OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143466   2022   WABSH   1JJV281D4NL301240   DVDBHPC   WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143467   2022   WABSH   1JJV281D6NL301241   DVDBHPC   ID         Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143468   2022   WABSH   1JJV281D8NL301242   DVDBHPC   GA         Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143469   2022   WABSH   1JJV281DXNL301243   DVDBHPC   MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143470   2022   WABSH   1JJV281D1NL301244   DVDBHPC   MI         Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143471   2022   WABSH   1JJV281D3NL301245   DVDBHPC   MS         Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143472   2022   WABSH   1JJV281D5NL301246   DVDBHPC   MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143473   2022   WABSH   1JJV281D7NL301247   DVDBHPC   ID         Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143474   2022   WABSH   1JJV281D9NL301248   DVDBHPC   GA         Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143475   2022   WABSH   1JJV281D0NL301249   DVDBHPC   OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143476   2022   WABSH   1JJV281D7NL301250   DVDBHPC   MI         Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143477   2022   WABSH   1JJV281D9NL301251   DVDBHPC   NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143478   2022   WABSH   1JJV281D0NL301252   DVDBHPC   GA         Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143479   2022   WABSH   1JJV281D2NL301253   DVDBHPC   PA         Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143480   2022   WABSH   1JJV281D4NL301254   DVDBHPC   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143481   2022   WABSH   1JJV281D6NL301255   DVDBHPC   TX         Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143482   2022   WABSH   1JJV281D8NL301256   DVDBHPC   PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143483   2022   WABSH   1JJV281DXNL301257   DVDBHPC   VA         Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143484   2022   WABSH   1JJV281D1NL301258   DVDBHPC   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143485   2022   WABSH   1JJV281D3NL301259   DVDBHPC   NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143486   2022   WABSH   1JJV281DXNL301260   DVDBHPC   Alberta    Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143487   2022   WABSH   1JJV281D1NL301261   DVDBHPC   IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143488   2022   WABSH   1JJV281D3NL301262   DVDBHPC   MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143489   2022   WABSH   1JJV281D5NL301263   DVDBHPC   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143490   2022   WABSH   1JJV281D7NL301264   DVDBHPC   WV         Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143491   2022   WABSH   1JJV281D9NL301265   DVDBHPC   DE         New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143492   2022   WABSH   1JJV281D0NL301266   DVDBHPC   FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143493   2022   WABSH   1JJV281D2NL301267   DVDBHPC   Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143494   2022   WABSH   1JJV281D4NL301268   DVDBHPC   MI         Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143495   2022   WABSH   1JJV281D6NL301269   DVDBHPC   MD         Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143496   2022   WABSH   1JJV281D2NL301270   DVDBHPC   NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143497   2022   WABSH   1JJV281D4NL301271   DVDBHPC   TX         McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143498   2022   WABSH   1JJV281D6NL301272   DVDBHPC   MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143499   2022   WABSH   1JJV281D8NL301273   DVDBHPC   MA         North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143500   2022   WABSH   1JJV281DXNL301274   DVDBHPC   VA         Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143501   2022   WABSH   1JJV281D1NL301275   DVDBHPC   NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143502   2022   WABSH   1JJV281D3NL301276   DVDBHPC   ID         Twin Falls
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 754 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143503   2022   WABSH   1JJV281D5NL301277   DVDBHPC   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143504   2022   WABSH   1JJV281D7NL301278   DVDBHPC   IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143505   2022   WABSH   1JJV281D9NL301279   DVDBHPC   KS      Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143506   2022   WABSH   1JJV281D5NL301280   DVDBHPC   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143507   2022   WABSH   1JJV281D7NL301281   DVDBHPC   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143508   2022   WABSH   1JJV281D9NL301282   DVDBHPC   WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143509   2022   WABSH   1JJV281D0NL301283   DVDBHPC   MA      Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143510   2022   WABSH   1JJV281D2NL301284   DVDBHPC   WV      Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143511   2022   WABSH   1JJV281D4NL301285   DVDBHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143512   2022   WABSH   1JJV281D6NL301286   DVDBHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143513   2022   WABSH   1JJV281D8NL301287   DVDBHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143514   2022   WABSH   1JJV281DXNL301288   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143515   2022   WABSH   1JJV281D1NL301289   DVDBHPC   FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143516   2022   WABSH   1JJV281D8NL301290   DVDBHPC   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143517   2022   WABSH   1JJV281DXNL301291   DVDBHPC   TX      McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143518   2022   WABSH   1JJV281D1NL301292   DVDBHPC   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143519   2022   WABSH   1JJV281D3NL301293   DVDBHPC   OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143520   2022   WABSH   1JJV281D5NL301294   DVDBHPC   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143521   2022   WABSH   1JJV281D7NL301295   DVDBHPC   TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143522   2022   WABSH   1JJV281D9NL301296   DVDBHPC   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143523   2022   WABSH   1JJV281D0NL301297   DVDBHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143524   2022   WABSH   1JJV281D2NL301298   DVDBHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143525   2022   WABSH   1JJV281D4NL301299   DVDBHPC   CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143526   2022   WABSH   1JJV281D7NL301300   DVDBHPC   TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143527   2022   WABSH   1JJV281D9NL301301   DVDBHPC   VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143528   2022   WABSH   1JJV281D0NL301302   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143529   2022   WABSH   1JJV281D2NL301303   DVDBHPC   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143530   2022   WABSH   1JJV281D4NL301304   DVDBHPC   IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143531   2022   WABSH   1JJV281D6NL301305   DVDBHPC   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143532   2022   WABSH   1JJV281D8NL301306   DVDBHPC   NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143533   2022   WABSH   1JJV281DXNL301307   DVDBHPC   NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143534   2022   WABSH   1JJV281D1NL301308   DVDBHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143535   2022   WABSH   1JJV281D3NL301309   DVDBHPC   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143536   2022   WABSH   1JJV281DXNL301310   DVDBHPC   OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143537   2022   WABSH   1JJV281D1NL301311   DVDBHPC   FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143538   2022   WABSH   1JJV281D3NL301312   DVDBHPC   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143539   2022   WABSH   1JJV281D5NL301313   DVDBHPC   FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143540   2022   WABSH   1JJV281D7NL301314   DVDBHPC   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143541   2022   WABSH   1JJV281D9NL301315   DVDBHPC   PA      Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143542   2022   WABSH   1JJV281D0NL301316   DVDBHPC   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143543   2022   WABSH   1JJV281D2NL301317   DVDBHPC   IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143544   2022   WABSH   1JJV281D4NL301318   DVDBHPC   AZ      Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143545   2022   WABSH   1JJV281D6NL301319   DVDBHPC   MN      Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143546   2022   WABSH   1JJV281D2NL301320   DVDBHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143547   2022   WABSH   1JJV281D4NL301321   DVDBHPC   SD      Watertown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143548   2022   WABSH   1JJV281D6NL301322   DVDBHPC   MN      Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143549   2022   WABSH   1JJV281D8NL301323   DVDBHPC   TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143550   2022   WABSH   1JJV281DXNL301324   DVDBHPC   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143551   2022   WABSH   1JJV281D1NL301325   DVDBHPC   IN      Hammond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143552   2022   WABSH   1JJV281D3NL301326   DVDBHPC   IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143553   2022   WABSH   1JJV281D5NL301327   DVDBHPC   WY      Cheyenne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143554   2022   WABSH   1JJV281D7NL301328   DVDBHPC   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143555   2022   WABSH   1JJV281D9NL301329   DVDBHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143556   2022   WABSH   1JJV281D5NL301330   DVDBHPC   FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143557   2022   WABSH   1JJV281D7NL301331   DVDBHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143558   2022   WABSH   1JJV281D9NL301332   DVDBHPC   AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143559   2022   WABSH   1JJV281D0NL301333   DVDBHPC   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143560   2022   WABSH   1JJV281D2NL301334   DVDBHPC   CA      Santa Maria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143561   2022   WABSH   1JJV281D4NL301335   DVDBHPC   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143562   2022   WABSH   1JJV281D6NL301336   DVDBHPC   CO      Denver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143563   2022   WABSH   1JJV281D8NL301337   DVDBHPC   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143564   2022   WABSH   1JJV281DXNL301338   DVDBHPC   FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143565   2022   WABSH   1JJV281D1NL301339   DVDBHPC   MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143566   2022   WABSH   1JJV281D8NL301340   DVDBHPC   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143567   2022   WABSH   1JJV281DXNL301341   DVDBHPC   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143568   2022   WABSH   1JJV281D1NL301342   DVDBHPC   IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143569   2022   WABSH   1JJV281D3NL301343   DVDBHPC   CA      Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143570   2022   WABSH   1JJV281D5NL301344   DVDBHPC   NY      Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143571   2022   WABSH   1JJV281D7NL301345   DVDBHPC   MN      Burnsville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 755 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143572   2022   WABSH   1JJV281D9NL301346   DVDBHPC   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143573   2022   WABSH   1JJV281D0NL301347   DVDBHPC   MI         Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143574   2022   WABSH   1JJV281D2NL301348   DVDBHPC   MN         Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143575   2022   WABSH   1JJV281D4NL301349   DVDBHPC   WI         Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143576   2022   WABSH   1JJV281D0NL301350   DVDBHPC   TX         Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143577   2022   WABSH   1JJV281D2NL301351   DVDBHPC   NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143578   2022   WABSH   1JJV281D4NL301352   DVDBHPC   PQ         Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143579   2022   WABSH   1JJV281D6NL301353   DVDBHPC   IL         Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143580   2022   WABSH   1JJV281D8NL301354   DVDBHPC   CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143581   2022   WABSH   1JJV281DXNL301355   DVDBHPC   RI         Cranston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143582   2022   WABSH   1JJV281D1NL301356   DVDBHPC   CT         Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143583   2022   WABSH   1JJV281D3NL301357   DVDBHPC   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143584   2022   WABSH   1JJV281D5NL301358   DVDBHPC   CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143585   2022   WABSH   1JJV281D7NL301359   DVDBHPC   OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143586   2022   WABSH   1JJV281D3NL301360   DVDBHPC   ID         Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143587   2022   WABSH   1JJV281D5NL301361   DVDBHPC   WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143588   2022   WABSH   1JJV281D7NL301362   DVDBHPC   TX         Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143589   2022   WABSH   1JJV281D9NL301363   DVDBHPC   OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143590   2022   WABSH   1JJV281D0NL301364   DVDBHPC   UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143591   2022   WABSH   1JJV281D2NL301365   DVDBHPC   TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143592   2022   WABSH   1JJV281D4NL301366   DVDBHPC   TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143593   2022   WABSH   1JJV281D6NL301367   DVDBHPC   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143594   2022   WABSH   1JJV281D8NL301368   DVDBHPC   FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143595   2022   WABSH   1JJV281DXNL301369   DVDBHPC   MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143596   2022   WABSH   1JJV281D6NL301370   DVDBHPC   ID         Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143597   2022   WABSH   1JJV281D8NL301371   DVDBHPC   MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143598   2022   WABSH   1JJV281DXNL301372   DVDBHPC   KS         Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143599   2022   WABSH   1JJV281D1NL301373   DVDBHPC   IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143600   2022   WABSH   1JJV281D3NL301374   DVDBHPC   MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143601   2022   WABSH   1JJV281D5NL301375   DVDBHPC   NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143602   2022   WABSH   1JJV281D7NL301376   DVDBHPC   WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143603   2022   WABSH   1JJV281D9NL301377   DVDBHPC   Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143604   2022   WABSH   1JJV281D0NL301378   DVDBHPC   IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143605   2022   WABSH   1JJV281D2NL301379   DVDBHPC   CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143606   2022   WABSH   1JJV281D9NL301380   DVDBHPC   NV         Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143607   2022   WABSH   1JJV281D0NL301381   DVDBHPC   PA         Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143608   2022   WABSH   1JJV281D2NL301382   DVDBHPC   NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143609   2022   WABSH   1JJV281D4NL301383   DVDBHPC   NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143610   2022   WABSH   1JJV281D6NL301384   DVDBHPC   OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143611   2022   WABSH   1JJV281D8NL301385   DVDBHPC   NY         Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143612   2022   WABSH   1JJV281DXNL301386   DVDBHPC   MT         Billings
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143613   2022   WABSH   1JJV281D1NL301387   DVDBHPC   WI         Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143614   2022   WABSH   1JJV281D3NL301388   DVDBHPC   OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143615   2022   WABSH   1JJV281D5NL301389   DVDBHPC   AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143616   2022   WABSH   1JJV281D1NL301390   DVDBHPC   AZ         Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143617   2022   WABSH   1JJV281D3NL301391   DVDBHPC   NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143618   2022   WABSH   1JJV281D5NL301392   DVDBHPC   IL         Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143619   2022   WABSH   1JJV281D7NL301393   DVDBHPC   OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143620   2022   WABSH   1JJV281D9NL301394   DVDBHPC   IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143621   2022   WABSH   1JJV281D0NL301395   DVDBHPC   NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143622   2022   WABSH   1JJV281D2NL301396   DVDBHPC   ID         Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143623   2022   WABSH   1JJV281D4NL301397   DVDBHPC   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143624   2022   WABSH   1JJV281D6NL301398   DVDBHPC   TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143625   2022   WABSH   1JJV281D8NL301399   DVDBHPC   TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143626   2022   WABSH   1JJV281D0NL301400   DVDBHPC   PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143627   2022   WABSH   1JJV281D2NL301401   DVDBHPC   NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143628   2022   WABSH   1JJV281D4NL301402   DVDBHPC   TX         San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143629   2022   WABSH   1JJV281D6NL301403   DVDBHPC   OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143630   2022   WABSH   1JJV281D8NL301404   DVDBHPC   IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143631   2022   WABSH   1JJV281DXNL301405   DVDBHPC   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143632   2022   WABSH   1JJV281D1NL301406   DVDBHPC   TX         McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143633   2022   WABSH   1JJV281D3NL301407   DVDBHPC   CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143634   2022   WABSH   1JJV281D5NL301408   DVDBHPC   PQ         Sherbrooke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143635   2022   WABSH   1JJV281D7NL301409   DVDBHPC   PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143636   2022   WABSH   1JJV281D3NL301410   DVDBHPC   IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143637   2022   WABSH   1JJV281D5NL301411   DVDBHPC   NC         Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143638   2022   WABSH   1JJV281D7NL301412   DVDBHPC   GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143639   2022   WABSH   1JJV281D9NL301413   DVDBHPC   RI         Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143640   2022   WABSH   1JJV281D0NL301414   DVDBHPC   RI         Cumberland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 756 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143641   2022   WABSH   1JJV281D2NL301415   DVDBHPC   FL               Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143642   2022   WABSH   1JJV281D4NL301416   DVDBHPC   TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143643   2022   WABSH   1JJV281D6NL301417   DVDBHPC   NJ               Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143644   2022   WABSH   1JJV281D8NL301418   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143645   2022   WABSH   1JJV281DXNL301419   DVDBHPC   MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143646   2022   WABSH   1JJV281D6NL301420   DVDBHPC   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143647   2022   WABSH   1JJV281D8NL301421   DVDBHPC   MT               Billings
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143648   2022   WABSH   1JJV281DXNL301422   DVDBHPC   NY               Plainview
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143649   2022   WABSH   1JJV281D1NL301423   DVDBHPC   IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143650   2022   WABSH   1JJV281D3NL301424   DVDBHPC   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143651   2022   WABSH   1JJV281D5NL301425   DVDBHPC   VA               Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143652   2022   WABSH   1JJV281D7NL301426   DVDBHPC   SD               Watertown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143653   2022   WABSH   1JJV281D9NL301427   DVDBHPC   LA               Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143654   2022   WABSH   1JJV281D0NL301428   DVDBHPC   CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143655   2022   WABSH   1JJV281D2NL301429   DVDBHPC   WA               Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143656   2022   WABSH   1JJV281D9NL301430   DVDBHPC   IL               Quincy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143657   2022   WABSH   1JJV281D0NL301431   DVDBHPC   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143658   2022   WABSH   1JJV281D2NL301432   DVDBHPC   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143659   2022   WABSH   1JJV281D4NL301433   DVDBHPC   IN               Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143660   2022   WABSH   1JJV281D6NL301434   DVDBHPC   TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143661   2022   WABSH   1JJV281D8NL301435   DVDBHPC   RI               Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143662   2022   WABSH   1JJV281DXNL301436   DVDBHPC   NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143663   2022   WABSH   1JJV281D1NL301437   DVDBHPC   PA               Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143664   2022   WABSH   1JJV281D3NL301438   DVDBHPC   VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143665   2022   WABSH   1JJV281D5NL301439   DVDBHPC   PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143666   2022   WABSH   1JJV281D1NL301440   DVDBHPC   MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143667   2022   WABSH   1JJV281D3NL301441   DVDBHPC   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143668   2022   WABSH   1JJV281D5NL301442   DVDBHPC   PA               Milton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143669   2022   WABSH   1JJV281D7NL301443   DVDBHPC   NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143670   2022   WABSH   1JJV281D9NL301444   DVDBHPC   GA               Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143671   2022   WABSH   1JJV281D0NL301445   DVDBHPC   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143672   2022   WABSH   1JJV281D2NL301446   DVDBHPC   MI               Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143673   2022   WABSH   1JJV281D4NL301447   DVDBHPC   MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143674   2022   WABSH   1JJV281D6NL301448   DVDBHPC   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143675   2022   WABSH   1JJV281D8NL301449   DVDBHPC   NV               Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143676   2022   WABSH   1JJV281D4NL301450   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143677   2022   WABSH   1JJV281D6NL301451   DVDBHPC   IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143678   2022   WABSH   1JJV281D8NL301452   DVDBHPC   TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143679   2022   WABSH   1JJV281DXNL301453   DVDBHPC   CO               Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143680   2022   WABSH   1JJV281D1NL301454   DVDBHPC   FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143681   2022   WABSH   1JJV281D3NL301455   DVDBHPC   CA               Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143682   2022   WABSH   1JJV281D5NL301456   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143683   2022   WABSH   1JJV281D7NL301457   DVDBHPC   TN               Jackson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143684   2022   WABSH   1JJV281D9NL301458   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143685   2022   WABSH   1JJV281D0NL301459   DVDBHPC   WA               Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143686   2022   WABSH   1JJV281D7NL301460   DVDBHPC   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143687   2022   WABSH   1JJV281D9NL301461   DVDBHPC   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143688   2022   WABSH   1JJV281D0NL301462   DVDBHPC   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143689   2022   WABSH   1JJV281D2NL301463   DVDBHPC   CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143690   2022   WABSH   1JJV281D4NL301464   DVDBHPC   British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143691   2022   WABSH   1JJV281D6NL301465   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143692   2022   WABSH   1JJV281D8NL301466   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143693   2022   WABSH   1JJV281DXNL301467   DVDBHPC   LA               Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143694   2022   WABSH   1JJV281D1NL301468   DVDBHPC   NV               Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143695   2022   WABSH   1JJV281D3NL301469   DVDBHPC   VA               Elliston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143696   2022   WABSH   1JJV281DXNL301470   DVDBHPC   NH               Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143697   2022   WABSH   1JJV281D1NL301471   DVDBHPC   MI               Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143698   2022   WABSH   1JJV281D3NL301472   DVDBHPC   OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143699   2022   WABSH   1JJV281D5NL301473   DVDBHPC   Saskatchewan     Regina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143700   2022   WABSH   1JJV281D7NL301474   DVDBHPC   TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143701   2022   WABSH   1JJV281D9NL301475   DVDBHPC   NE               Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143702   2022   WABSH   1JJV281D0NL301476   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143703   2022   WABSH   1JJV281D2NL301477   DVDBHPC   Saskatchewan     Regina
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143704   2022   WABSH   1JJV281D4NL301478   DVDBHPC   KS               Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143705   2022   WABSH   1JJV281D6NL301479   DVDBHPC   MI               Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143706   2022   WABSH   1JJV281D2NL301480   DVDBHPC   IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143708   2022   WABSH   1JJV281D6NL301482   DVDBHPC   MO               Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143709   2022   WABSH   1JJV281D8NL301483   DVDBHPC   CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143710   2022   WABSH   1JJV281DXNL301484   DVDBHPC   UT               Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 757 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143711   2022   WABSH   1JJV281D1NL301485   DVDBHPC   PA        Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143712   2022   WABSH   1JJV281D3NL301486   DVDBHPC   TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143713   2022   WABSH   1JJV281D5NL301487   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143714   2022   WABSH   1JJV281D7NL301488   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143715   2022   WABSH   1JJV281D9NL301489   DVDBHPC   TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143716   2022   WABSH   1JJV281D5NL301490   DVDBHPC   MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143717   2022   WABSH   1JJV281D7NL301491   DVDBHPC   NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143718   2022   WABSH   1JJV281D9NL301492   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143719   2022   WABSH   1JJV281D0NL301493   DVDBHPC   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143720   2022   WABSH   1JJV281D2NL301494   DVDBHPC   MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143721   2022   WABSH   1JJV281D4NL301495   DVDBHPC   IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143722   2022   WABSH   1JJV281D6NL301496   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143723   2022   WABSH   1JJV281D8NL301497   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143724   2022   WABSH   1JJV281DXNL301498   DVDBHPC   DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143725   2022   WABSH   1JJV281D1NL301499   DVDBHPC   Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143726   2022   WABSH   1JJV281D4NL301500   DVDBHPC   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143727   2022   WABSH   1JJV281D6NL301501   DVDBHPC   VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143728   2022   WABSH   1JJV281D8NL301502   DVDBHPC   WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143729   2022   WABSH   1JJV281DXNL301503   DVDBHPC   AL        Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143730   2022   WABSH   1JJV281D1NL301504   DVDBHPC   CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143731   2022   WABSH   1JJV281D3NL301505   DVDBHPC   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143732   2022   WABSH   1JJV281D5NL301506   DVDBHPC   MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143733   2022   WABSH   1JJV281D7NL301507   DVDBHPC   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143734   2022   WABSH   1JJV281D9NL301508   DVDBHPC   IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143735   2022   WABSH   1JJV281D0NL301509   DVDBHPC   NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143736   2022   WABSH   1JJV281D7NL301510   DVDBHPC   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143737   2022   WABSH   1JJV281D9NL301511   DVDBHPC   CA        Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143738   2022   WABSH   1JJV281D0NL301512   DVDBHPC   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143739   2022   WABSH   1JJV281D2NL301513   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143740   2022   WABSH   1JJV281D4NL301514   DVDBHPC   SD        Watertown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143741   2022   WABSH   1JJV281D6NL301515   DVDBHPC   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143742   2022   WABSH   1JJV281D8NL301516   DVDBHPC   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143743   2022   WABSH   1JJV281DXNL301517   DVDBHPC   IL        Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143744   2022   WABSH   1JJV281D1NL301518   DVDBHPC   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143745   2022   WABSH   1JJV281D3NL301519   DVDBHPC   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143746   2022   WABSH   1JJV281DXNL301520   DVDBHPC   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143747   2022   WABSH   1JJV281D1NL301521   DVDBHPC   FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143748   2022   WABSH   1JJV281D3NL301522   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143749   2022   WABSH   1JJV281D5NL301523   DVDBHPC   CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143750   2022   WABSH   1JJV281D7NL301524   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143751   2022   WABSH   1JJV281D9NL301525   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143752   2022   WABSH   1JJV281D0NL301526   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143753   2022   WABSH   1JJV281D2NL301527   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143754   2022   WABSH   1JJV281D4NL301528   DVDBHPC   MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143755   2022   WABSH   1JJV281D6NL301529   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143756   2022   WABSH   1JJV281D2NL301530   DVDBHPC   Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143757   2022   WABSH   1JJV281D4NL301531   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143758   2022   WABSH   1JJV281D6NL301532   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143759   2022   WABSH   1JJV281D8NL301533   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143760   2022   WABSH   1JJV281DXNL301534   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143761   2022   WABSH   1JJV281D1NL301535   DVDBHPC   PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143762   2022   WABSH   1JJV281D3NL301536   DVDBHPC   GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143763   2022   WABSH   1JJV281D5NL301537   DVDBHPC   TX        Abilene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143764   2022   WABSH   1JJV281D7NL301538   DVDBHPC   KS        Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143765   2022   WABSH   1JJV281D9NL301539   DVDBHPC   TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143766   2022   WABSH   1JJV281D5NL301540   DVDBHPC   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143767   2022   WABSH   1JJV281D7NL301541   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143768   2022   WABSH   1JJV281D9NL301542   DVDBHPC   ND        Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143769   2022   WABSH   1JJV281D9NL301587   DVDBHPC   MI        Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143770   2022   WABSH   1JJV281D0NL301588   DVDBHPC   OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143771   2022   WABSH   1JJV281D2NL301589   DVDBHPC   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY143772   2022   WABSH   1JJV281D9NL301590   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144441   2017   HYUND   3H3V281CXHT286013             CA        Santa Rosa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144442   2017   HYUND   3H3V281C3HT286015             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144443   2017   HYUND   3H3V281C6HT286025             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144444   2017   HYUND   3H3V281CXHT286027             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144449   2017   HYUND   3H3V281C9HT286150             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144450   2017   HYUND   3H3V281C9HT286181             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144451   2017   HYUND   3H3V281C9HT286200             MD        Landover
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 758 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144452   2017   HYUND   3H3V281C9HT286231             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144454   2017   HYUND   3H3V281C4HT286234             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144455   2017   HYUND   3H3V281C7HT286258             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144456   2017   HYUND   3H3V281C0HT286277             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144457   2017   HYUND   3H3V281C4HT286315             ND      Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144458   2017   HYUND   3H3V281CXHT286352             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144464   2017   HYUND   3H3V281C8HT286401             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144465   2017   HYUND   3H3V281C2HT286409             NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144466   2017   HYUND   3H3V281C3HT286435             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144467   2017   HYUND   3H3V281CXHT286447             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144469   2017   HYUND   3H3V281C9HT286455             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144470   2017   HYUND   3H3V281C0HT286456             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144471   2017   HYUND   3H3V281C9HT286472             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144472   2017   HYUND   3H3V281C8HT286477             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144473   2017   HYUND   3H3V281C0HT286490             WV      Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144474   2017   HYUND   3H3V281C1HT286496             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144476   2017   HYUND   3H3V281C2HT286510             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144477   2017   HYUND   3H3V281C5HT286520             TX      Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144479   2017   HYUND   3H3V281C0HT286571             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144482   2017   HYUND   3H3V281C0HT286599             NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144483   2017   HYUND   3H3V281C3HT286600             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144485   2017   HYUND   3H3V281C7HT286664             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144486   2017   HYUND   3H3V281C4HT286668             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144490   2017   HYUND   3H3V281C7HT286759             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144491   2017   HYUND   3H3V281C5HT286761             SC      Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144493   2017   HYUND   3H3V281C7HT286776             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144494   2017   HYUND   3H3V281C8HT286818             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144496   2017   HYUND   3H3V281C8HT286821             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144497   2017   HYUND   3H3V281C3HT286905             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144498   2017   HYUND   3H3V281CXHT286917             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144499   2017   HYUND   3H3V281C1HT286949             OR      La Grande
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144500   2017   HYUND   3H3V281C5HT286954             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144501   2017   HYUND   3H3V281C0HT286957             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144503   2017   HYUND   3H3V281C1HT286997             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144505   2017   HYUND   3H3V281C5HT287019             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144509   2017   HYUND   3H3V281C1HT287079             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144510   2017   HYUND   3H3V281C5HT287098             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144512   2017   HYUND   3H3V281C8HT287113             CA      Eureka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144513   2017   HYUND   3H3V281C2HT287141             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144516   2017   HYUND   3H3V281C8HT287225             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144519   2017   STGHT   1DW1A2817HS716804             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144520   2017   STGHT   1DW1A2819HS716819             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144521   2017   STGHT   1DW1A2815HS716820             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144522   2017   STGHT   1DW1A2814HS716825             MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144525   2017   STGHT   1DW1A281XHS716862             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144527   2017   STGHT   1DW1A2815HS716865             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144529   2017   STGHT   1DW1A2811HS716877             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144530   2017   STGHT   1DW1A2813HS716900             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144531   2017   STGHT   1DW1A2813HS716914             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144533   2017   STGHT   1DW1A2818HS716942             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144534   2017   STGHT   1DW1A2816HB719001             NH      Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144535   2017   STGHT   1DW1A2813HB719005             CA      Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144536   2017   STGHT   1DW1A2815HB719006             MO      Sikeston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144538   2017   STGHT   1DW1A2814HB719028             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144541   2017   STGHT   1DW1A2818HB719047             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144542   2017   STGHT   1DW1A2811HB719052             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144544   2017   STGHT   1DW1A2817HB719072             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144546   2017   STGHT   1DW1A2811HB719133             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144547   2017   STGHT   1DW1A2810HB719141             NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144549   2017   STGHT   1DW1A2818HB719145             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144551   2017   STGHT   1DW1A2817HB719167             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144552   2017   STGHT   1DW1A2814HB719174             CA      Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144553   2017   STGHT   1DW1A2816HB719208             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144554   2017   STGHT   1DW1A2818HB719212             PA      Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144555   2017   STGHT   1DW1A281XHB719258             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144558   2017   STGHT   1DW1A2815HB719278             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144559   2017   STGHT   1DW1A2817HB719279             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144560   2017   STGHT   1DW1A2817HB719282             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144561   2017   STGHT   1DW1A2815HB719314             KY      Paducah
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 759 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144562   2017   STGHT   1DW1A2818HB719341              GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144563   2017   STGHT   1DW1A2817HB719346              TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144564   2017   STGHT   1DW1A281XHB719356              OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144565   2017   STGHT   1DW1A2816HB719385              UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144567   2017   STGHT   1DW1A2819HB719400              IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144569   2017   STGHT   1DW1A2818HB719419              OR        Redmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144571   2017   STGHT   1DW1A2812HB719447              ND        Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144572   2017   STGHT   1DW1A2816HB719452              IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144573   2017   STGHT   1DW1A2813HB719456              NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144574   2017   STGHT   1DW1A2818HB719470              VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144575   2017   STGHT   1DW1A2812HB719481              WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144576   2017   STGHT   1DW1A2818HB719498              OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144578   2017   STGHT   1DW1A281XHB719566              CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144579   2017   STGHT   1DW1A2811HB719598              IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144580   2017   STGHT   1DW1A2818HB719601              IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144582   2017   STGHT   1DW1A2810HB719639              VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144584   2017   STGHT   1DW1A2819HB719686              GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144585   2017   STGHT   1DW1A2812HB719688              Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144586   2017   STGHT   1DW1A2813HB719697              OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144587   2017   STGHT   1DW1A2813HB719702              IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144588   2017   STGHT   1DW1A2810HB719706              NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144590   2017   STGHT   1DW1A2818HB719761              NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144591   2017   STGHT   1DW1A2817HB719797              NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144592   2017   STGHT   1DW1A2813HB719800              Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144593   2017   STGHT   1DW1A2812HB719822              WA        Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144594   2017   STGHT   1DW1A2816HB719824              CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144596   2017   STGHT   1DW1A2811HB719889              OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144597   2017   STGHT   1DW1A2819HB719901              PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144598   2017   STGHT   1DW1A2812HB719917              CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144599   2017   STGHT   1DW1A2811HB719942              FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144600   2017   STGHT   1DW1A2812HB719948              CO        Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144601   2017   STGHT   1DW1A2812HB719951              IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144602   2017   STGHT   1DW1A2813HB719957              OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144604   2017   STGHT   1DW1A2810HB719981              WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144606   2017   STGHT   1DW1A281XHB720006              TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144609   2017   STGHT   1DW1A2813HB720042              IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144610   2017   STGHT   1DW1A2814HB720051              IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144611   2017   STGHT   1DW1A2817HB720058              OH        Lima
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144612   2017   STGHT   1DW1A2814HB720065              FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144613   2017   STGHT   1DW1A2810HB720077              IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144615   2017   STGHT   1DW1A2818HB720098              WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144617   2017   STGHT   1DW1A281XHB720118              MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144619   2017   STGHT   1DW1A2813HB720137              MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144620   2017   STGHT   1DW1A2814HB720146              MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144621   2017   STGHT   1DW1A2816HB720150              MI        Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144622   2017   STGHT   1DW1A2811HB720170              TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144623   2017   STGHT   1DW1A2816HB720200              OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144624   2017   STGHT   1DW1A2814HB720230              IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144625   2017   STGHT   1DW1A2818HB720232              NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144626   2017   STGHT   1DW1A2819HB720238              MO        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144628   2017   STGHT   1DW1A2816HB720262              MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144629   2017   STGHT   1DW1A2813HB720266              PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144631   2017   STGHT   1DW1A2811HB720296              MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144632   2017   STGHT   1DW1A2815HB720298              WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144634   2017   STGHT   1DW1A2814HB720325              MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144635   2017   STGHT   1DW1A2811HB720332              LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144636   2017   STGHT   1DW1A2813HB720347              AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144638   2017   STGHT   1DW1A2812HB720355              NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144641   2017   STGHT   1DW1A2814HB720390              MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144643   2017   HYUND   1DW1A2819HB719848              MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144645   2017   HYUND   3H3V281C1HT287082              TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144646   2017   HYUND   3H3V281C1HT286790              CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144648   2017   HYUND   3H3V281C7HT287068              IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144649   2023   VANGU   5V8VC2813PM309421   VXP 28     PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144650   2023   VANGU   5V8VC2815PM309422   VXP 28     PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144651   2023   VANGU   5V8VC2817PM309423   VXP 28     OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144652   2023   VANGU   5V8VC2819PM309424   VXP 28     NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144653   2023   VANGU   5V8VC2810PM309425   VXP 28     CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144654   2023   VANGU   5V8VC2812PM309426   VXP 28     AZ        Phoenix
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 760 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144655   2023   VANGU   5V8VC2814PM309427   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144656   2023   VANGU   5V8VC2816PM309428   VXP 28    NY        Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144657   2023   VANGU   5V8VC2818PM309429   VXP 28    CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144658   2023   VANGU   5V8VC2814PM309430   VXP 28    FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144659   2023   VANGU   5V8VC2816PM309431   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144660   2023   VANGU   5V8VC2818PM309432   VXP 28    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144661   2023   VANGU   5V8VC281XPM309433   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144662   2023   VANGU   5V8VC2811PM309434   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144663   2023   VANGU   5V8VC2813PM309435   VXP 28    FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144664   2023   VANGU   5V8VC2815PM309436   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144665   2023   VANGU   5V8VC2817PM309437   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144666   2023   VANGU   5V8VC2819PM309438   VXP 28    ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144667   2023   VANGU   5V8VC2810PM309439   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144668   2023   VANGU   5V8VC2817PM309440   VXP 28    IL        Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144669   2023   VANGU   5V8VC2819PM309441   VXP 28    TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144670   2023   VANGU   5V8VC2810PM309442   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144671   2023   VANGU   5V8VC2812PM309443   VXP 28    WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144672   2023   VANGU   5V8VC2814PM309444   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144673   2023   VANGU   5V8VC2816PM309445   VXP 28    PA        Milton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144674   2023   VANGU   5V8VC2818PM309446   VXP 28    TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144675   2023   VANGU   5V8VC281XPM309447   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144676   2023   VANGU   5V8VC2811PM309448   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144677   2023   VANGU   5V8VC2813PM309449   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144678   2023   VANGU   5V8VC281XPM309450   VXP 28    UT        St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144679   2023   VANGU   5V8VC2811PM309451   VXP 28    GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144680   2023   VANGU   5V8VC2813PM309452   VXP 28    IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144681   2023   VANGU   5V8VC2815PM309453   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144682   2023   VANGU   5V8VC2817PM309454   VXP 28    MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144683   2023   VANGU   5V8VC2819PM309455   VXP 28    NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144684   2023   VANGU   5V8VC2810PM309456   VXP 28    MN        Saint Paul
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144685   2023   VANGU   5V8VC2812PM309457   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144686   2023   VANGU   5V8VC2814PM309458   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144687   2023   VANGU   5V8VC2816PM309459   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144688   2023   VANGU   5V8VC2812PM309460   VXP 28    Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144689   2023   VANGU   5V8VC2814PM309461   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144690   2023   VANGU   5V8VC2816PM309462   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144691   2023   VANGU   5V8VC2818PM309463   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144692   2023   VANGU   5V8VC281XPM309464   VXP 28    IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144693   2023   VANGU   5V8VC2811PM309465   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144694   2023   VANGU   5V8VC2813PM309466   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144695   2023   VANGU   5V8VC2815PM309467   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144696   2023   VANGU   5V8VC2817PM309468   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144697   2023   VANGU   5V8VC2819PM309469   VXP 28    GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144698   2023   VANGU   5V8VC2815PM309470   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144699   2023   VANGU   5V8VC2817PM309471   VXP 28    FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144700   2023   VANGU   5V8VC2819PM309472   VXP 28    DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144701   2023   VANGU   5V8VC2810PM309473   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144702   2023   VANGU   5V8VC2812PM309474   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144703   2023   VANGU   5V8VC2814PM309475   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144704   2023   VANGU   5V8VC2816PM309476   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144705   2023   VANGU   5V8VC2818PM309477   VXP 28    OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144706   2023   VANGU   5V8VC281XPM309478   VXP 28    NH        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144707   2023   VANGU   5V8VC2811PM309479   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144708   2023   VANGU   5V8VC2818PM309480   VXP 28    TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144709   2023   VANGU   5V8VC281XPM309481   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144710   2023   VANGU   5V8VC2811PM309482   VXP 28    NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144711   2023   VANGU   5V8VC2813PM309483   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144712   2023   VANGU   5V8VC2815PM309484   VXP 28    TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144713   2023   VANGU   5V8VC2817PM309485   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144714   2023   VANGU   5V8VC2819PM309486   VXP 28    GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144715   2023   VANGU   5V8VC2810PM309487   VXP 28    NY        Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144716   2023   VANGU   5V8VC2812PM309488   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144717   2023   VANGU   5V8VC2814PM309489   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144718   2023   VANGU   5V8VC2810PM309490   VXP 28    CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144719   2023   VANGU   5V8VC2812PM309491   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144720   2023   VANGU   5V8VC2814PM309492   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144721   2023   VANGU   5V8VC2816PM309493   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144722   2023   VANGU   5V8VC2818PM309494   VXP 28    TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144723   2023   VANGU   5V8VC281XPM309495   VXP 28    Alberta   Edmonton
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 761 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144724   2023   VANGU   5V8VC2811PM309496   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144725   2023   VANGU   5V8VC2813PM309497   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144726   2023   VANGU   5V8VC2815PM309498   VXP 28    CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144727   2023   VANGU   5V8VC2817PM309499   VXP 28    ID        Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144728   2023   VANGU   5V8VC281XPM309500   VXP 28    WV        Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144729   2023   VANGU   5V8VC2811PM309501   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144730   2023   VANGU   5V8VC2813PM309502   VXP 28    AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144731   2023   VANGU   5V8VC2815PM309503   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144732   2023   VANGU   5V8VC2817PM309504   VXP 28    CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144733   2023   VANGU   5V8VC2819PM309505   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144734   2023   VANGU   5V8VC2810PM309506   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144735   2023   VANGU   5V8VC2812PM309507   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144736   2023   VANGU   5V8VC2814PM309508   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144737   2023   VANGU   5V8VC2816PM309509   VXP 28    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144738   2023   VANGU   5V8VC2812PM309510   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144739   2023   VANGU   5V8VC2814PM309511   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144740   2023   VANGU   5V8VC2816PM309512   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144741   2023   VANGU   5V8VC2818PM309513   VXP 28    KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144742   2023   VANGU   5V8VC281XPM309514   VXP 28    FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144743   2023   VANGU   5V8VC2811PM309515   VXP 28    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144744   2023   VANGU   5V8VC2813PM309516   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144745   2023   VANGU   5V8VC2815PM309517   VXP 28    TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144746   2023   VANGU   5V8VC2817PM309518   VXP 28    Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144747   2023   VANGU   5V8VC2819PM309519   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144748   2023   VANGU   5V8VC2815PM309520   VXP 28    CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144749   2023   VANGU   5V8VC2817PM309521   VXP 28    VA        Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144750   2023   VANGU   5V8VC2819PM309522   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144751   2023   VANGU   5V8VC2810PM309523   VXP 28    OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144752   2023   VANGU   5V8VC2812PM309524   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144753   2023   VANGU   5V8VC2814PM309525   VXP 28    PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144754   2023   VANGU   5V8VC2816PM309526   VXP 28    ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144755   2023   VANGU   5V8VC2818PM309527   VXP 28    VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144756   2023   VANGU   5V8VC281XPM309528   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144757   2023   VANGU   5V8VC2811PM309529   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144758   2023   VANGU   5V8VC2818PM309530   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144759   2023   VANGU   5V8VC281XPM309531   VXP 28    IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144760   2023   VANGU   5V8VC2811PM309532   VXP 28    CA        Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144761   2023   VANGU   5V8VC2813PM309533   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144762   2023   VANGU   5V8VC2815PM309534   VXP 28    WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144763   2023   VANGU   5V8VC2817PM309535   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144764   2023   VANGU   5V8VC2819PM309536   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144765   2023   VANGU   5V8VC2810PM309537   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144766   2023   VANGU   5V8VC2812PM309538   VXP 28    MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144767   2023   VANGU   5V8VC2814PM309539   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144768   2023   VANGU   5V8VC2810PM309540   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144769   2023   VANGU   5V8VC2812PM309541   VXP 28    TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144770   2023   VANGU   5V8VC2814PM309542   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144771   2023   VANGU   5V8VC2816PM309543   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144772   2023   VANGU   5V8VC2818PM309544   VXP 28    CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144773   2023   VANGU   5V8VC281XPM309545   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144774   2023   VANGU   5V8VC2811PM309546   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144775   2023   VANGU   5V8VC2813PM309547   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144776   2023   VANGU   5V8VC2815PM309548   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144777   2023   VANGU   5V8VC2817PM309549   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144778   2023   VANGU   5V8VC2813PM309550   VXP 28    CA        Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144779   2023   VANGU   5V8VC2815PM309551   VXP 28    VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144780   2023   VANGU   5V8VC2817PM309552   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144781   2023   VANGU   5V8VC2819PM309553   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144782   2023   VANGU   5V8VC2810PM309554   VXP 28    IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144783   2023   VANGU   5V8VC2812PM309555   VXP 28    IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144784   2023   VANGU   5V8VC2814PM309556   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144785   2023   VANGU   5V8VC2816PM309557   VXP 28    CA        Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144786   2023   VANGU   5V8VC2818PM309558   VXP 28    TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144787   2023   VANGU   5V8VC281XPM309559   VXP 28    NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144788   2023   VANGU   5V8VC2816PM309560   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144789   2023   VANGU   5V8VC2818PM309561   VXP 28    CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144790   2023   VANGU   5V8VC281XPM309562   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144791   2023   VANGU   5V8VC2811PM309563   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144792   2023   VANGU   5V8VC2813PM309564   VXP 28    UT        Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 762 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144793   2023   VANGU   5V8VC2815PM309565   VXP 28    ND        Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144794   2023   VANGU   5V8VC2817PM309566   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144795   2023   VANGU   5V8VC2819PM309567   VXP 28    VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144796   2023   VANGU   5V8VC2810PM309568   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144797   2023   VANGU   5V8VC2812PM309569   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144798   2023   VANGU   5V8VC2819PM309570   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144799   2023   VANGU   5V8VC2810PM309571   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144800   2023   VANGU   5V8VC2812PM309572   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144801   2023   VANGU   5V8VC2814PM309573   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144802   2023   VANGU   5V8VC2816PM309574   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144803   2023   VANGU   5V8VC2818PM309575   VXP 28    DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144804   2023   VANGU   5V8VC281XPM309576   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144805   2023   VANGU   5V8VC2811PM309577   VXP 28    NY        Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144806   2023   VANGU   5V8VC2813PM309578   VXP 28    IN        Evansville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144807   2023   VANGU   5V8VC2815PM309579   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144808   2023   VANGU   5V8VC2811PM309580   VXP 28    IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144809   2023   VANGU   5V8VC2813PM309581   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144810   2023   VANGU   5V8VC2815PM309582   VXP 28    TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144811   2023   VANGU   5V8VC2817PM309583   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144812   2023   VANGU   5V8VC2819PM309584   VXP 28    NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144813   2023   VANGU   5V8VC2810PM309585   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144814   2023   VANGU   5V8VC2812PM309586   VXP 28    CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144815   2023   VANGU   5V8VC2814PM309587   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144816   2023   VANGU   5V8VC2816PM309588   VXP 28    RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144817   2023   VANGU   5V8VC2818PM309589   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144818   2023   VANGU   5V8VC2814PM309590   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144819   2023   VANGU   5V8VC2816PM309591   VXP 28    CA        Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144820   2023   VANGU   5V8VC2818PM309592   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144821   2023   VANGU   5V8VC281XPM309593   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144822   2023   VANGU   5V8VC2811PM309594   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144823   2023   VANGU   5V8VC2813PM309595   VXP 28    CA        Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144824   2023   VANGU   5V8VC2815PM309596   VXP 28    NC        Rocky Mount
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144825   2023   VANGU   5V8VC2817PM309597   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144826   2023   VANGU   5V8VC2819PM309598   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144827   2023   VANGU   5V8VC2810PM309599   VXP 28    CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144828   2023   VANGU   5V8VC2813PM309600   VXP 28    CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144829   2023   VANGU   5V8VC2815PM309601   VXP 28    VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144830   2023   VANGU   5V8VC2817PM309602   VXP 28    MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144831   2023   VANGU   5V8VC2819PM309603   VXP 28    PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144832   2023   VANGU   5V8VC2810PM309604   VXP 28    FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144833   2023   VANGU   5V8VC2812PM309605   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144834   2023   VANGU   5V8VC2814PM309606   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144835   2023   VANGU   5V8VC2816PM309607   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144836   2023   VANGU   5V8VC2818PM309608   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144837   2023   VANGU   5V8VC281XPM309609   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144838   2023   VANGU   5V8VC2816PM309610   VXP 28    CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144839   2023   VANGU   5V8VC2818PM309611   VXP 28    TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144840   2023   VANGU   5V8VC281XPM309612   VXP 28    MI        Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144841   2023   VANGU   5V8VC2811PM309613   VXP 28    NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144842   2023   VANGU   5V8VC2813PM309614   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144843   2023   VANGU   5V8VC2815PM309615   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144844   2023   VANGU   5V8VC2817PM309616   VXP 28    FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144845   2023   VANGU   5V8VC2819PM309617   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144846   2023   VANGU   5V8VC2810PM309618   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144847   2023   VANGU   5V8VC2812PM309619   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144848   2023   VANGU   5V8VC2819PM309620   VXP 28    FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144849   2023   VANGU   5V8VC2810PM309621   VXP 28    SD        Rapid City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144850   2023   VANGU   5V8VC2812PM309622   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144851   2023   VANGU   5V8VC2814PM309623   VXP 28    MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144852   2023   VANGU   5V8VC2816PM309624   VXP 28    CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144853   2023   VANGU   5V8VC2818PM309625   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144854   2023   VANGU   5V8VC281XPM309626   VXP 28    NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144855   2023   VANGU   5V8VC2811PM309627   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144856   2023   VANGU   5V8VC2813PM309628   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144857   2023   VANGU   5V8VC2815PM309629   VXP 28    GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144858   2023   VANGU   5V8VC2811PM309630   VXP 28    CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144859   2023   VANGU   5V8VC2813PM309631   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144860   2023   VANGU   5V8VC2815PM309632   VXP 28    NE        Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144861   2023   VANGU   5V8VC2817PM309633   VXP 28    NE        Bridgeport
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 763 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144862   2023   VANGU   5V8VC2819PM309634   VXP 28    OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144863   2023   VANGU   5V8VC2810PM309635   VXP 28    AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144864   2023   VANGU   5V8VC2812PM309636   VXP 28    CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144865   2023   VANGU   5V8VC2814PM309637   VXP 28    OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144866   2023   VANGU   5V8VC2816PM309638   VXP 28    MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144867   2023   VANGU   5V8VC2818PM309639   VXP 28    FL               Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144868   2023   VANGU   5V8VC2814PM309640   VXP 28    TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144869   2023   VANGU   5V8VC2816PM309641   VXP 28    CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144870   2023   VANGU   5V8VC2818PM309642   VXP 28    DE               Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144871   2023   VANGU   5V8VC281XPM309643   VXP 28    TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144872   2023   VANGU   5V8VC2811PM309644   VXP 28    KS               Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144873   2023   VANGU   5V8VC2813PM309645   VXP 28    MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144874   2023   VANGU   5V8VC2815PM309646   VXP 28    FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144875   2023   VANGU   5V8VC2817PM309647   VXP 28    TX               Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144876   2023   VANGU   5V8VC2819PM309648   VXP 28    WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144877   2023   VANGU   5V8VC2810PM309649   VXP 28    NE               Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144878   2023   VANGU   5V8VC2817PM309650   VXP 28    UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144879   2023   VANGU   5V8VC2819PM309651   VXP 28    AR               Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144880   2023   VANGU   5V8VC2810PM309652   VXP 28    TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144881   2023   VANGU   5V8VC2812PM309653   VXP 28    FL               Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144882   2023   VANGU   5V8VC2814PM309654   VXP 28    NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144883   2023   VANGU   5V8VC2816PM309655   VXP 28    AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144884   2023   VANGU   5V8VC2818PM309656   VXP 28    MD               Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144885   2023   VANGU   5V8VC281XPM309657   VXP 28    SC               West Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144886   2023   VANGU   5V8VC2811PM309658   VXP 28    AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144887   2023   VANGU   5V8VC2813PM309659   VXP 28    WI               Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144888   2023   VANGU   5V8VC281XPM309660   VXP 28    British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144889   2023   VANGU   5V8VC2811PM309661   VXP 28    GA               Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144890   2023   VANGU   5V8VC2813PM309662   VXP 28    GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144891   2023   VANGU   5V8VC2815PM309663   VXP 28    OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144892   2023   VANGU   5V8VC2817PM309664   VXP 28    Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144893   2023   VANGU   5V8VC2819PM309665   VXP 28    Alberta          Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144894   2023   VANGU   5V8VC2810PM309666   VXP 28    WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144895   2023   VANGU   5V8VC2812PM309667   VXP 28    TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144896   2023   VANGU   5V8VC2814PM309668   VXP 28    PQ               Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144897   2023   VANGU   5V8VC2816PM309669   VXP 28    AR               Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144898   2023   VANGU   5V8VC2812PM309670   VXP 28    CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144899   2023   VANGU   5V8VC2814PM309671   VXP 28    AL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144900   2023   VANGU   5V8VC2816PM309672   VXP 28    VA               Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144901   2023   VANGU   5V8VC2818PM309673   VXP 28    IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144902   2023   VANGU   5V8VC281XPM309674   VXP 28    CA               Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144903   2023   VANGU   5V8VC2811PM309675   VXP 28    WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144904   2023   VANGU   5V8VC2813PM309676   VXP 28    OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144905   2023   VANGU   5V8VC2815PM309677   VXP 28    NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144906   2023   VANGU   5V8VC2817PM309678   VXP 28    NE               Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144907   2023   VANGU   5V8VC2819PM309679   VXP 28    TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144908   2023   VANGU   5V8VC2815PM309680   VXP 28    MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144909   2023   VANGU   5V8VC2817PM309681   VXP 28    TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144910   2023   VANGU   5V8VC2819PM309682   VXP 28    AR               Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144911   2023   VANGU   5V8VC2810PM309683   VXP 28    MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144912   2023   VANGU   5V8VC2812PM309684   VXP 28    TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144913   2023   VANGU   5V8VC2814PM309685   VXP 28    Manitoba         Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144914   2023   VANGU   5V8VC2816PM309686   VXP 28    IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144915   2023   VANGU   5V8VC2818PM309687   VXP 28    CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144916   2023   VANGU   5V8VC281XPM309688   VXP 28    IL               McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144917   2023   VANGU   5V8VC2811PM309689   VXP 28    PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144918   2023   VANGU   5V8VC2818PM309690   VXP 28    AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144919   2023   VANGU   5V8VC281XPM309691   VXP 28    IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144920   2023   VANGU   5V8VC2811PM309692   VXP 28    NV               Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144921   2023   VANGU   5V8VC2813PM309693   VXP 28    IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144922   2023   VANGU   5V8VC2815PM309694   VXP 28    CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144923   2023   VANGU   5V8VC2817PM309695   VXP 28    NY               Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144924   2023   VANGU   5V8VC2819PM309696   VXP 28    IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144925   2023   VANGU   5V8VC2810PM309697   VXP 28    NM               Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144926   2023   VANGU   5V8VC2812PM309698   VXP 28    CA               Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144927   2023   VANGU   5V8VC2814PM309699   VXP 28    UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144928   2023   VANGU   5V8VC2817PM309700   VXP 28    NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144929   2023   VANGU   5V8VC2819PM309701   VXP 28    OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144930   2023   VANGU   5V8VC2810PM309702   VXP 28    CO               Aurora
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 764 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144931   2023   VANGU   5V8VC2812PM309703   VXP 28    FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144932   2023   VANGU   5V8VC2814PM309704   VXP 28    IL         Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144933   2023   VANGU   5V8VC2816PM309705   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144934   2023   VANGU   5V8VC2818PM309706   VXP 28    IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144935   2023   VANGU   5V8VC281XPM309707   VXP 28    LA         Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144936   2023   VANGU   5V8VC2811PM309708   VXP 28    WI         Milwaukee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144937   2023   VANGU   5V8VC2813PM309709   VXP 28    UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144938   2023   VANGU   5V8VC281XPM309710   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144939   2023   VANGU   5V8VC2811PM309711   VXP 28    WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144940   2023   VANGU   5V8VC2813PM309712   VXP 28    VA         Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144941   2023   VANGU   5V8VC2815PM309713   VXP 28    CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144942   2023   VANGU   5V8VC2817PM309714   VXP 28    PA         Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144943   2023   VANGU   5V8VC2819PM309715   VXP 28    ID         Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144944   2023   VANGU   5V8VC2810PM309716   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144945   2023   VANGU   5V8VC2812PM309717   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144946   2023   VANGU   5V8VC2814PM309718   VXP 28    CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144947   2023   VANGU   5V8VC2816PM309719   VXP 28    TX         Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144948   2023   VANGU   5V8VC2812PM309720   VXP 28    CA         San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144949   2023   VANGU   5V8VC2814PM309721   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144950   2023   VANGU   5V8VC2816PM309722   VXP 28    NE         Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144951   2023   VANGU   5V8VC2818PM309723   VXP 28    CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144952   2023   VANGU   5V8VC281XPM309724   VXP 28    ND         Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144953   2023   VANGU   5V8VC2811PM309725   VXP 28    Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144954   2023   VANGU   5V8VC2813PM309726   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144955   2023   VANGU   5V8VC2815PM309727   VXP 28    WI         Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144956   2023   VANGU   5V8VC2817PM309728   VXP 28    FL         Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144957   2023   VANGU   5V8VC2819PM309729   VXP 28    NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144958   2023   VANGU   5V8VC2815PM309730   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144959   2023   VANGU   5V8VC2817PM309731   VXP 28    Alberta    Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144960   2023   VANGU   5V8VC2819PM309732   VXP 28    IL         McCook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144961   2023   VANGU   5V8VC2810PM309733   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144962   2023   VANGU   5V8VC2812PM309734   VXP 28    OH         Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144963   2023   VANGU   5V8VC2814PM309735   VXP 28    AL         Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144964   2023   VANGU   5V8VC2816PM309736   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144965   2023   VANGU   5V8VC2818PM309737   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144966   2023   VANGU   5V8VC281XPM309738   VXP 28    CA         Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144967   2023   VANGU   5V8VC2811PM309739   VXP 28    TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144968   2023   VANGU   5V8VC2818PM309740   VXP 28    NE         Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144969   2023   VANGU   5V8VC281XPM309741   VXP 28    CA         Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144970   2023   VANGU   5V8VC2811PM309742   VXP 28    MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144971   2023   VANGU   5V8VC2813PM309743   VXP 28    MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144972   2023   VANGU   5V8VC2815PM309744   VXP 28    CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144973   2023   VANGU   5V8VC2817PM309745   VXP 28    IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144974   2023   VANGU   5V8VC2819PM309746   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144975   2023   VANGU   5V8VC2810PM309747   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144976   2023   VANGU   5V8VC2812PM309748   VXP 28    GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144977   2023   VANGU   5V8VC2814PM309749   VXP 28    MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144978   2023   VANGU   5V8VC2810PM309750   VXP 28    MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144979   2023   VANGU   5V8VC2812PM309751   VXP 28    CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144980   2023   VANGU   5V8VC2814PM309752   VXP 28    CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144981   2023   VANGU   5V8VC2816PM309753   VXP 28    NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144982   2023   VANGU   5V8VC2818PM309754   VXP 28    OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144983   2023   VANGU   5V8VC281XPM309755   VXP 28    MO         Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144984   2023   VANGU   5V8VC2811PM309756   VXP 28    WV         Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144985   2023   VANGU   5V8VC2813PM309757   VXP 28    TX         Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144986   2023   VANGU   5V8VC2815PM309758   VXP 28    NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144987   2023   VANGU   5V8VC2817PM309759   VXP 28    TX         El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144988   2023   VANGU   5V8VC2813PM309760   VXP 28    MI         Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144989   2023   VANGU   5V8VC2815PM309761   VXP 28    MN         Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144990   2023   VANGU   5V8VC2817PM309762   VXP 28    UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144991   2023   VANGU   5V8VC2819PM309763   VXP 28    MI         Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144992   2023   VANGU   5V8VC2810PM309764   VXP 28    CA         Lost Hills
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144993   2023   VANGU   5V8VC2812PM309765   VXP 28    IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144994   2023   VANGU   5V8VC2814PM309766   VXP 28    AL         Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144995   2023   VANGU   5V8VC2816PM309767   VXP 28    TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144996   2023   VANGU   5V8VC2818PM309768   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144997   2023   VANGU   5V8VC281XPM309769   VXP 28    WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144998   2023   VANGU   5V8VC2816PM309770   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY144999   2023   VANGU   5V8VC2818PM309771   VXP 28    RI         Cumberland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 765 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145000   2023   VANGU   5V8VC281XPM309772   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145001   2023   VANGU   5V8VC2811PM309773   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145002   2023   VANGU   5V8VC2813PM309774   VXP 28    CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145003   2023   VANGU   5V8VC2815PM309775   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145004   2023   VANGU   5V8VC2817PM309776   VXP 28    IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145005   2023   VANGU   5V8VC2819PM309777   VXP 28    TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145006   2023   VANGU   5V8VC2810PM309778   VXP 28    MN        Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145007   2023   VANGU   5V8VC2812PM309779   VXP 28    MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145008   2023   VANGU   5V8VC2819PM309780   VXP 28    TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145009   2023   VANGU   5V8VC2810PM309781   VXP 28    VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145010   2023   VANGU   5V8VC2812PM309782   VXP 28    CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145011   2023   VANGU   5V8VC2814PM309783   VXP 28    FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145012   2023   VANGU   5V8VC2816PM309784   VXP 28    TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145013   2023   VANGU   5V8VC2818PM309785   VXP 28    IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145014   2023   VANGU   5V8VC281XPM309786   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145015   2023   VANGU   5V8VC2811PM309787   VXP 28    VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145016   2023   VANGU   5V8VC2813PM309788   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145017   2023   VANGU   5V8VC2815PM309789   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145018   2023   VANGU   5V8VC2811PM309790   VXP 28    IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145019   2023   VANGU   5V8VC2813PM309791   VXP 28    FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145020   2023   VANGU   5V8VC2815PM309792   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145021   2023   VANGU   5V8VC2817PM309793   VXP 28    SD        Rapid City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145022   2023   VANGU   5V8VC2819PM309794   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145023   2023   VANGU   5V8VC2810PM309795   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145024   2023   VANGU   5V8VC2812PM309796   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145025   2023   VANGU   5V8VC2814PM309797   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145026   2023   VANGU   5V8VC2816PM309798   VXP 28    VA        Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145027   2023   VANGU   5V8VC2818PM309799   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145028   2023   VANGU   5V8VC2810PM309800   VXP 28    TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145029   2023   VANGU   5V8VC2812PM309801   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145030   2023   VANGU   5V8VC2814PM309802   VXP 28    NY        Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145031   2023   VANGU   5V8VC2816PM309803   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145032   2023   VANGU   5V8VC2818PM309804   VXP 28    TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145033   2023   VANGU   5V8VC281XPM309805   VXP 28    FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145034   2023   VANGU   5V8VC2811PM309806   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145035   2023   VANGU   5V8VC2813PM309807   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145036   2023   VANGU   5V8VC2815PM309808   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145037   2023   VANGU   5V8VC2817PM309809   VXP 28    WA        Bellingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145038   2023   VANGU   5V8VC2813PM309810   VXP 28    CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145039   2023   VANGU   5V8VC2815PM309811   VXP 28    PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145040   2023   VANGU   5V8VC2817PM309812   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145041   2023   VANGU   5V8VC2819PM309813   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145042   2023   VANGU   5V8VC2810PM309814   VXP 28    TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145043   2023   VANGU   5V8VC2812PM309815   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145044   2023   VANGU   5V8VC2814PM309816   VXP 28    IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145045   2023   VANGU   5V8VC2816PM309817   VXP 28    MN        Owatonna
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145046   2023   VANGU   5V8VC2818PM309818   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145047   2023   VANGU   5V8VC281XPM309819   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145048   2023   VANGU   5V8VC2816PM309820   VXP 28    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145049   2023   VANGU   5V8VC2818PM309821   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145050   2023   VANGU   5V8VC281XPM309822   VXP 28    CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145051   2023   VANGU   5V8VC2811PM309823   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145052   2023   VANGU   5V8VC2813PM309824   VXP 28    CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145053   2023   VANGU   5V8VC2815PM309825   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145054   2023   VANGU   5V8VC2817PM309826   VXP 28    TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145055   2023   VANGU   5V8VC2819PM309827   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145056   2023   VANGU   5V8VC2810PM309828   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145057   2023   VANGU   5V8VC2812PM309829   VXP 28    SC        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145058   2023   VANGU   5V8VC2819PM309830   VXP 28    WI        Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145059   2023   VANGU   5V8VC2810PM309831   VXP 28    IA        Council Bluffs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145060   2023   VANGU   5V8VC2812PM309832   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145061   2023   VANGU   5V8VC2814PM309833   VXP 28    NY        Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145062   2023   VANGU   5V8VC2816PM309834   VXP 28    RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145063   2023   VANGU   5V8VC2818PM309835   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145064   2023   VANGU   5V8VC281XPM309836   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145065   2023   VANGU   5V8VC2811PM309837   VXP 28    CA        Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145066   2023   VANGU   5V8VC2813PM309838   VXP 28    GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145067   2023   VANGU   5V8VC2815PM309839   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145068   2023   VANGU   5V8VC2811PM309840   VXP 28    IN        South Bend
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 766 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145069   2023   VANGU   5V8VC2813PM309841   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145070   2023   VANGU   5V8VC2815PM309842   VXP 28    IL        Quincy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145071   2023   VANGU   5V8VC2817PM309843   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145072   2023   VANGU   5V8VC2819PM309844   VXP 28    VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145073   2023   VANGU   5V8VC2810PM309845   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145074   2023   VANGU   5V8VC2812PM309846   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145075   2023   VANGU   5V8VC2814PM309847   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145076   2023   VANGU   5V8VC2816PM309848   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145077   2023   VANGU   5V8VC2818PM309849   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145078   2023   VANGU   5V8VC2814PM309850   VXP 28    GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145079   2023   VANGU   5V8VC2816PM309851   VXP 28    VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145080   2023   VANGU   5V8VC2818PM309852   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145081   2023   VANGU   5V8VC281XPM309853   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145082   2023   VANGU   5V8VC2811PM309854   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145083   2023   VANGU   5V8VC2813PM309855   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145084   2023   VANGU   5V8VC2815PM309856   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145085   2023   VANGU   5V8VC2817PM309857   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145086   2023   VANGU   5V8VC2819PM309858   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145087   2023   VANGU   5V8VC2810PM309859   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145088   2023   VANGU   5V8VC2817PM309860   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145089   2023   VANGU   5V8VC2819PM309861   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145090   2023   VANGU   5V8VC2810PM309862   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145091   2023   VANGU   5V8VC2812PM309863   VXP 28    FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145092   2023   VANGU   5V8VC2814PM309864   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145093   2023   VANGU   5V8VC2816PM309865   VXP 28    TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145094   2023   VANGU   5V8VC2818PM309866   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145095   2023   VANGU   5V8VC281XPM309867   VXP 28    GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145096   2023   VANGU   5V8VC2811PM309868   VXP 28    IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145097   2023   VANGU   5V8VC2813PM309869   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145098   2023   VANGU   5V8VC281XPM309870   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145099   2023   VANGU   5V8VC2811PM309871   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145100   2023   VANGU   5V8VC2813PM309872   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145101   2023   VANGU   5V8VC2815PM309873   VXP 28    AZ        Nogales
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145102   2023   VANGU   5V8VC2817PM309874   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145103   2023   VANGU   5V8VC2819PM309875   VXP 28    NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145104   2023   VANGU   5V8VC2810PM309876   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145105   2023   VANGU   5V8VC2812PM309877   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145106   2023   VANGU   5V8VC2814PM309878   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145107   2023   VANGU   5V8VC2816PM309879   VXP 28    OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145108   2023   VANGU   5V8VC2812PM309880   VXP 28    WI        Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145109   2023   VANGU   5V8VC2814PM309881   VXP 28    TX        Austin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145110   2023   VANGU   5V8VC2816PM309882   VXP 28    MT        Billings
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145111   2023   VANGU   5V8VC2818PM309883   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145112   2023   VANGU   5V8VC281XPM309884   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145113   2023   VANGU   5V8VC2811PM309885   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145114   2023   VANGU   5V8VC2813PM309886   VXP 28    WI        Tomah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145115   2023   VANGU   5V8VC2815PM309887   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145116   2023   VANGU   5V8VC2817PM309888   VXP 28    GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145117   2023   VANGU   5V8VC2819PM309889   VXP 28    IA        Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145118   2023   VANGU   5V8VC2815PM309890   VXP 28    CA        Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145119   2023   VANGU   5V8VC2817PM309891   VXP 28    GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145120   2023   VANGU   5V8VC2819PM309892   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145121   2023   VANGU   5V8VC2810PM309893   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145122   2023   VANGU   5V8VC2812PM309894   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145123   2023   VANGU   5V8VC2814PM309895   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145124   2023   VANGU   5V8VC2816PM309896   VXP 28    PA        Harrisburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145125   2023   VANGU   5V8VC2818PM309897   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145126   2023   VANGU   5V8VC281XPM309898   VXP 28    MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145127   2023   VANGU   5V8VC2811PM309899   VXP 28    GA        Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145128   2023   VANGU   5V8VC2814PM309900   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145129   2023   VANGU   5V8VC2816PM309901   VXP 28    WY        Cheyenne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145130   2023   VANGU   5V8VC2818PM309902   VXP 28    TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145131   2023   VANGU   5V8VC281XPM309903   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145132   2023   VANGU   5V8VC2811PM309904   VXP 28    MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145133   2023   VANGU   5V8VC2813PM309905   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145134   2023   VANGU   5V8VC2815PM309906   VXP 28    FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145135   2023   VANGU   5V8VC2817PM309907   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145136   2023   VANGU   5V8VC2819PM309908   VXP 28    TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145137   2023   VANGU   5V8VC2810PM309909   VXP 28    MS        Richland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 767 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145138   2023   VANGU   5V8VC2817PM309910   VXP 28    CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145139   2023   VANGU   5V8VC2819PM309911   VXP 28    Alberta    Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145140   2023   VANGU   5V8VC2810PM309912   VXP 28    IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145141   2023   VANGU   5V8VC2812PM309913   VXP 28    OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145142   2023   VANGU   5V8VC2814PM309914   VXP 28    MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145143   2023   VANGU   5V8VC2816PM309915   VXP 28    Ontario    Niagara on the Lake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145144   2023   VANGU   5V8VC2818PM309916   VXP 28    VA         Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145145   2023   VANGU   5V8VC281XPM309917   VXP 28    WA         Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145146   2023   VANGU   5V8VC2811PM309918   VXP 28    CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145147   2023   VANGU   5V8VC2813PM309919   VXP 28    UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145148   2023   VANGU   5V8VC281XPM309920   VXP 28    IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145149   2023   VANGU   5V8VC2811PM309921   VXP 28    MN         Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145150   2023   VANGU   5V8VC2813PM309922   VXP 28    MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145151   2023   VANGU   5V8VC2815PM309923   VXP 28    NY         Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145152   2023   VANGU   5V8VC2817PM309924   VXP 28    CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145153   2023   VANGU   5V8VC2819PM309925   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145154   2023   VANGU   5V8VC2810PM309926   VXP 28    OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145155   2023   VANGU   5V8VC2812PM309927   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145156   2023   VANGU   5V8VC2814PM309928   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145157   2023   VANGU   5V8VC2816PM309929   VXP 28    MI         Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145158   2023   VANGU   5V8VC2812PM309930   VXP 28    NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145159   2023   VANGU   5V8VC2814PM309931   VXP 28    NE         Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145160   2023   VANGU   5V8VC2816PM309932   VXP 28    IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145161   2023   VANGU   5V8VC2818PM309933   VXP 28    MN         Saint Cloud
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145162   2023   VANGU   5V8VC281XPM309934   VXP 28    OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145163   2023   VANGU   5V8VC2811PM309935   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145164   2023   VANGU   5V8VC2813PM309936   VXP 28    CA         Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145165   2023   VANGU   5V8VC2815PM309937   VXP 28    MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145166   2023   VANGU   5V8VC2817PM309938   VXP 28    MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145167   2023   VANGU   5V8VC2819PM309939   VXP 28    PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145168   2023   VANGU   5V8VC2815PM309940   VXP 28    CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145169   2023   VANGU   5V8VC2817PM309941   VXP 28    IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145170   2023   VANGU   5V8VC2819PM309942   VXP 28    WA         Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145171   2023   VANGU   5V8VC2810PM309943   VXP 28    FL         Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145172   2023   VANGU   5V8VC2812PM309944   VXP 28    PA         Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145173   2023   VANGU   5V8VC2814PM309945   VXP 28    CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145174   2023   VANGU   5V8VC2816PM309946   VXP 28    FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145175   2023   VANGU   5V8VC2818PM309947   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145176   2023   VANGU   5V8VC281XPM309948   VXP 28    Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145177   2023   VANGU   5V8VC2811PM309949   VXP 28    CA         Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145178   2023   VANGU   5V8VC2818PM309950   VXP 28    TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145179   2023   VANGU   5V8VC281XPM309951   VXP 28    GA         Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145180   2023   VANGU   5V8VC2811PM309952   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145181   2023   VANGU   5V8VC2813PM309953   VXP 28    CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145182   2023   VANGU   5V8VC2815PM309954   VXP 28    OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145183   2023   VANGU   5V8VC2817PM309955   VXP 28    OR         Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145184   2023   VANGU   5V8VC2819PM309956   VXP 28    NY         East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145185   2023   VANGU   5V8VC2810PM309957   VXP 28    MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145186   2023   VANGU   5V8VC2812PM309958   VXP 28    UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145187   2023   VANGU   5V8VC2814PM309959   VXP 28    IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145188   2023   VANGU   5V8VC2810PM309960   VXP 28    WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145189   2023   VANGU   5V8VC2812PM309961   VXP 28    IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145190   2023   VANGU   5V8VC2814PM309962   VXP 28    CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145191   2023   VANGU   5V8VC2816PM309963   VXP 28    NC         Winston‐Salem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145192   2023   VANGU   5V8VC2818PM309964   VXP 28    TX         Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145193   2023   VANGU   5V8VC281XPM309965   VXP 28    OR         Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145194   2023   VANGU   5V8VC2811PM309966   VXP 28    WY         Cheyenne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145195   2023   VANGU   5V8VC2813PM309967   VXP 28    WV         Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145196   2023   VANGU   5V8VC2815PM309968   VXP 28    AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145197   2023   VANGU   5V8VC2817PM309969   VXP 28    OH         Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145198   2023   VANGU   5V8VC2813PM309970   VXP 28    WA         Everett
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145199   2023   VANGU   5V8VC2815PM309971   VXP 28    WI         Oak Creek
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145200   2023   VANGU   5V8VC2817PM309972   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145201   2023   VANGU   5V8VC2819PM309973   VXP 28    CA         Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145202   2023   VANGU   5V8VC2810PM309974   VXP 28    TX         Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145203   2023   VANGU   5V8VC2812PM309975   VXP 28    IL         Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145204   2023   VANGU   5V8VC2814PM309976   VXP 28    CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145205   2023   VANGU   5V8VC2816PM309977   VXP 28    CT         Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145206   2023   VANGU   5V8VC2818PM309978   VXP 28    WA         Pasco
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 768 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145207   2023   VANGU   5V8VC281XPM309979   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145208   2023   VANGU   5V8VC2816PM309980   VXP 28    TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145209   2023   VANGU   5V8VC2818PM309981   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145210   2023   VANGU   5V8VC281XPM309982   VXP 28    NY        Williamsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145211   2023   VANGU   5V8VC2811PM309983   VXP 28    KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145212   2023   VANGU   5V8VC2813PM309984   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145213   2023   VANGU   5V8VC2815PM309985   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145214   2023   VANGU   5V8VC2817PM309986   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145215   2023   VANGU   5V8VC2819PM309987   VXP 28    SD        Rapid City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145216   2023   VANGU   5V8VC2810PM309988   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145217   2023   VANGU   5V8VC2812PM309989   VXP 28    TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145218   2023   VANGU   5V8VC2819PM309990   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145219   2023   VANGU   5V8VC2810PM309991   VXP 28    MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145220   2023   VANGU   5V8VC2812PM309992   VXP 28    MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145221   2023   VANGU   5V8VC2814PM309993   VXP 28    GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145222   2023   VANGU   5V8VC2816PM309994   VXP 28    FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145223   2023   VANGU   5V8VC2818PM309995   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145224   2023   VANGU   5V8VC281XPM309996   VXP 28    IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145225   2023   VANGU   5V8VC2811PM309997   VXP 28    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145226   2023   VANGU   5V8VC2813PM309998   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145227   2023   VANGU   5V8VC2815PM309999   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145228   2023   VANGU   5V8VC2816PM310000   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145229   2023   VANGU   5V8VC2818PM310001   VXP 28    PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145230   2023   VANGU   5V8VC281XPM310002   VXP 28    WV        Beckley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145231   2023   VANGU   5V8VC2811PM310003   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145232   2023   VANGU   5V8VC2813PM310004   VXP 28    PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145233   2023   VANGU   5V8VC2815PM310005   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145234   2023   VANGU   5V8VC2817PM310006   VXP 28    CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145235   2023   VANGU   5V8VC2819PM310007   VXP 28    FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145236   2023   VANGU   5V8VC2810PM310008   VXP 28    GA        Martinez
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145237   2023   VANGU   5V8VC2812PM310009   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145238   2023   VANGU   5V8VC2819PM310010   VXP 28    NV        Carlin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145239   2023   VANGU   5V8VC2810PM310011   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145240   2023   VANGU   5V8VC2812PM310012   VXP 28    NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145241   2023   VANGU   5V8VC2814PM310013   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145242   2023   VANGU   5V8VC2816PM310014   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145243   2023   VANGU   5V8VC2818PM310015   VXP 28    CA        Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145244   2023   VANGU   5V8VC281XPM310016   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145245   2023   VANGU   5V8VC2811PM310017   VXP 28    FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145246   2023   VANGU   5V8VC2813PM310018   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145247   2023   VANGU   5V8VC2815PM310019   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145248   2023   VANGU   5V8VC2811PM310020   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145249   2023   VANGU   5V8VC2813PM310021   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145250   2023   VANGU   5V8VC2815PM310022   VXP 28    CT        Plantsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145251   2023   VANGU   5V8VC2817PM310023   VXP 28    FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145252   2023   VANGU   5V8VC2819PM310024   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145253   2023   VANGU   5V8VC2810PM310025   VXP 28    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145254   2023   VANGU   5V8VC2812PM310026   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145255   2023   VANGU   5V8VC2814PM310027   VXP 28    LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145256   2023   VANGU   5V8VC2816PM310028   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145257   2023   VANGU   5V8VC2818PM310029   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145258   2023   VANGU   5V8VC2814PM310030   VXP 28    VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145259   2023   VANGU   5V8VC2816PM310031   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145260   2023   VANGU   5V8VC2818PM310032   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145261   2023   VANGU   5V8VC281XPM310033   VXP 28    TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145262   2023   VANGU   5V8VC2811PM310034   VXP 28    CA        San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145263   2023   VANGU   5V8VC2813PM310035   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145264   2023   VANGU   5V8VC2815PM310036   VXP 28    TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145265   2023   VANGU   5V8VC2817PM310037   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145266   2023   VANGU   5V8VC2819PM310038   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145267   2023   VANGU   5V8VC2810PM310039   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145268   2023   VANGU   5V8VC2817PM310040   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145269   2023   VANGU   5V8VC2819PM310041   VXP 28    CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145270   2023   VANGU   5V8VC2810PM310042   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145271   2023   VANGU   5V8VC2812PM310043   VXP 28    OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145272   2023   VANGU   5V8VC2814PM310044   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145273   2023   VANGU   5V8VC2816PM310045   VXP 28    MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145274   2023   VANGU   5V8VC2818PM310046   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145275   2023   VANGU   5V8VC281XPM310047   VXP 28    NY        East Syracuse
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 769 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145276   2023   VANGU   5V8VC2811PM310048   VXP 28    FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145277   2023   VANGU   5V8VC2813PM310049   VXP 28    NC               Fayetteville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145278   2023   VANGU   5V8VC281XPM310050   VXP 28    KY               Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145279   2023   VANGU   5V8VC2811PM310051   VXP 28    TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145280   2023   VANGU   5V8VC2813PM310052   VXP 28    OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145281   2023   VANGU   5V8VC2815PM310053   VXP 28    OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145282   2023   VANGU   5V8VC2817PM310054   VXP 28    MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145283   2023   VANGU   5V8VC2819PM310055   VXP 28    MS               Tupelo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145284   2023   VANGU   5V8VC2810PM310056   VXP 28    OH               Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145285   2023   VANGU   5V8VC2812PM310057   VXP 28    NY               Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145286   2023   VANGU   5V8VC2814PM310058   VXP 28    WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145287   2023   VANGU   5V8VC2816PM310059   VXP 28    NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145288   2023   VANGU   5V8VC2812PM310060   VXP 28    TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145289   2023   VANGU   5V8VC2814PM310061   VXP 28    ID               Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145290   2023   VANGU   5V8VC2816PM310062   VXP 28    CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145291   2023   VANGU   5V8VC2818PM310063   VXP 28    MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145292   2023   VANGU   5V8VC281XPM310064   VXP 28    TX               Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145293   2023   VANGU   5V8VC2811PM310065   VXP 28    CA               Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145294   2023   VANGU   5V8VC2813PM310066   VXP 28    NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145295   2023   VANGU   5V8VC2815PM310067   VXP 28    IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145296   2023   VANGU   5V8VC2817PM310068   VXP 28    MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145297   2023   VANGU   5V8VC2819PM310069   VXP 28    AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145298   2023   VANGU   5V8VC2815PM310070   VXP 28    British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145299   2023   VANGU   5V8VC2817PM310071   VXP 28    OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145300   2023   VANGU   5V8VC2819PM310072   VXP 28    OH               Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145301   2023   VANGU   5V8VC2810PM310073   VXP 28    GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145302   2023   VANGU   5V8VC2812PM310074   VXP 28    CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145303   2023   VANGU   5V8VC2814PM310075   VXP 28    IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145304   2023   VANGU   5V8VC2816PM310076   VXP 28    NM               Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145305   2023   VANGU   5V8VC2818PM310077   VXP 28    Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145306   2023   VANGU   5V8VC281XPM310078   VXP 28    MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145307   2023   VANGU   5V8VC2811PM310079   VXP 28    NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145308   2023   VANGU   5V8VC2818PM310080   VXP 28    DE               Seaford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145309   2023   VANGU   5V8VC281XPM310081   VXP 28    PQ               Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145310   2023   VANGU   5V8VC2811PM310082   VXP 28    MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145311   2023   VANGU   5V8VC2813PM310083   VXP 28    SC               Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145312   2023   VANGU   5V8VC2815PM310084   VXP 28    VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145313   2023   VANGU   5V8VC2817PM310085   VXP 28    OR               Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145314   2023   VANGU   5V8VC2819PM310086   VXP 28    GA               Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145315   2023   VANGU   5V8VC2810PM310087   VXP 28    CA               Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145316   2023   VANGU   5V8VC2812PM310088   VXP 28    IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145317   2023   VANGU   5V8VC2814PM310089   VXP 28    IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145318   2023   VANGU   5V8VC2810PM310090   VXP 28    IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145319   2023   VANGU   5V8VC2812PM310091   VXP 28    GA               Martinez
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145320   2023   VANGU   5V8VC2814PM310092   VXP 28    IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145321   2023   VANGU   5V8VC2816PM310093   VXP 28    MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145322   2023   VANGU   5V8VC2818PM310094   VXP 28    Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145323   2023   VANGU   5V8VC281XPM310095   VXP 28    CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145324   2023   VANGU   5V8VC2811PM310096   VXP 28    OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145325   2023   VANGU   5V8VC2813PM310097   VXP 28    TN               Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145326   2023   VANGU   5V8VC2815PM310098   VXP 28    ME               Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145327   2023   VANGU   5V8VC2817PM310099   VXP 28    TX               Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145328   2023   VANGU   5V8VC281XPM310100   VXP 28    UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145329   2023   VANGU   5V8VC2811PM310101   VXP 28    GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145330   2023   VANGU   5V8VC2813PM310102   VXP 28    TN               Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145331   2023   VANGU   5V8VC2815PM310103   VXP 28    GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145332   2023   VANGU   5V8VC2817PM310104   VXP 28    IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145333   2023   VANGU   5V8VC2819PM310105   VXP 28    NJ               Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145334   2023   VANGU   5V8VC2810PM310106   VXP 28    MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145335   2023   VANGU   5V8VC2812PM310107   VXP 28    British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145336   2023   VANGU   5V8VC2814PM310108   VXP 28    TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145337   2023   VANGU   5V8VC2816PM310109   VXP 28    TN               Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145338   2023   VANGU   5V8VC2812PM310110   VXP 28    Alberta          Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145339   2023   VANGU   5V8VC2814PM310111   VXP 28    TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145340   2023   VANGU   5V8VC2816PM310112   VXP 28    NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145341   2023   VANGU   5V8VC2818PM310113   VXP 28    Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145342   2023   VANGU   5V8VC281XPM310114   VXP 28    NC               Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145343   2023   VANGU   5V8VC2811PM310115   VXP 28    IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145344   2023   VANGU   5V8VC2813PM310116   VXP 28    CA               Fontana
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 770 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145345   2023   VANGU   5V8VC2815PM310117   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145346   2023   VANGU   5V8VC2817PM310118   VXP 28    NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145347   2023   VANGU   5V8VC2819PM310119   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145348   2023   VANGU   5V8VC2815PM310120   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145349   2023   VANGU   5V8VC2817PM310121   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145350   2023   VANGU   5V8VC2819PM310122   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145351   2023   VANGU   5V8VC2810PM310123   VXP 28    PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145352   2023   VANGU   5V8VC2812PM310124   VXP 28    CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145353   2023   VANGU   5V8VC2814PM310125   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145354   2023   VANGU   5V8VC2816PM310126   VXP 28    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145355   2023   VANGU   5V8VC2818PM310127   VXP 28    OH        Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145356   2023   VANGU   5V8VC281XPM310128   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145357   2023   VANGU   5V8VC2811PM310129   VXP 28    PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145358   2023   VANGU   5V8VC2818PM310130   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145359   2023   VANGU   5V8VC281XPM310131   VXP 28    Ontario   Woodstock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145360   2023   VANGU   5V8VC2811PM310132   VXP 28    PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145361   2023   VANGU   5V8VC2813PM310133   VXP 28    CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145362   2023   VANGU   5V8VC2815PM310134   VXP 28    TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145363   2023   VANGU   5V8VC2817PM310135   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145364   2023   VANGU   5V8VC2819PM310136   VXP 28    CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145365   2023   VANGU   5V8VC2810PM310137   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145366   2023   VANGU   5V8VC2812PM310138   VXP 28    KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145367   2023   VANGU   5V8VC2814PM310139   VXP 28    FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145368   2023   VANGU   5V8VC2810PM310140   VXP 28    GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145369   2023   VANGU   5V8VC2812PM310141   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145370   2023   VANGU   5V8VC2814PM310142   VXP 28    IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145371   2023   VANGU   5V8VC2816PM310143   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145372   2023   VANGU   5V8VC2818PM310144   VXP 28    GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145373   2023   VANGU   5V8VC281XPM310145   VXP 28    IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145374   2023   VANGU   5V8VC2811PM310146   VXP 28    NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145375   2023   VANGU   5V8VC2813PM310147   VXP 28    NJ        Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145376   2023   VANGU   5V8VC2815PM310148   VXP 28    TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145377   2023   VANGU   5V8VC2817PM310149   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145378   2023   VANGU   5V8VC2813PM310150   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145379   2023   VANGU   5V8VC2815PM310151   VXP 28    PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145380   2023   VANGU   5V8VC2817PM310152   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145381   2023   VANGU   5V8VC2819PM310153   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145382   2023   VANGU   5V8VC2810PM310154   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145383   2023   VANGU   5V8VC2812PM310155   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145384   2023   VANGU   5V8VC2814PM310156   VXP 28    TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145385   2023   VANGU   5V8VC2816PM310157   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145386   2023   VANGU   5V8VC2818PM310158   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145387   2023   VANGU   5V8VC281XPM310159   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145388   2023   VANGU   5V8VC2816PM310160   VXP 28    NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145389   2023   VANGU   5V8VC2818PM310161   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145390   2023   VANGU   5V8VC281XPM310162   VXP 28    GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145391   2023   VANGU   5V8VC2811PM310163   VXP 28    MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145392   2023   VANGU   5V8VC2813PM310164   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145393   2023   VANGU   5V8VC2815PM310165   VXP 28    CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145394   2023   VANGU   5V8VC2817PM310166   VXP 28    MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145395   2023   VANGU   5V8VC2819PM310167   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145396   2023   VANGU   5V8VC2810PM310168   VXP 28    MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145397   2023   VANGU   5V8VC2812PM310169   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145398   2023   VANGU   5V8VC2819PM310170   VXP 28    PA        Du Bois
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145399   2023   VANGU   5V8VC2810PM310171   VXP 28    CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145400   2023   VANGU   5V8VC2812PM310172   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145401   2023   VANGU   5V8VC2814PM310173   VXP 28    CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145402   2023   VANGU   5V8VC2816PM310174   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145403   2023   VANGU   5V8VC2818PM310175   VXP 28    TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145404   2023   VANGU   5V8VC281XPM310176   VXP 28    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145405   2023   VANGU   5V8VC2811PM310177   VXP 28    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145406   2023   VANGU   5V8VC2813PM310178   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145407   2023   VANGU   5V8VC2815PM310179   VXP 28    OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145408   2023   VANGU   5V8VC2811PM310180   VXP 28    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145409   2023   VANGU   5V8VC2813PM310181   VXP 28    CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145410   2023   VANGU   5V8VC2815PM310182   VXP 28    Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145411   2023   VANGU   5V8VC2817PM310183   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145412   2023   VANGU   5V8VC2819PM310184   VXP 28    FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145413   2023   VANGU   5V8VC2810PM310185   VXP 28    CA        Brisbane
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 771 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145414   2023   VANGU   5V8VC2812PM310186   VXP 28    MO         Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145415   2023   VANGU   5V8VC2814PM310187   VXP 28    CA         West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145416   2023   VANGU   5V8VC2816PM310188   VXP 28    MA         Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145417   2023   VANGU   5V8VC2818PM310189   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145418   2023   VANGU   5V8VC2814PM310190   VXP 28    Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145419   2023   VANGU   5V8VC2816PM310191   VXP 28    IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145420   2023   VANGU   5V8VC2818PM310192   VXP 28    CA         Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145421   2023   VANGU   5V8VC281XPM310193   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145422   2023   VANGU   5V8VC2811PM310194   VXP 28    LA         Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145423   2023   VANGU   5V8VC2813PM310195   VXP 28    MT         Missoula
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145424   2023   VANGU   5V8VC2815PM310196   VXP 28    OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145425   2023   VANGU   5V8VC2817PM310197   VXP 28    OH         Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145426   2023   VANGU   5V8VC2819PM310198   VXP 28    OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145427   2023   VANGU   5V8VC2810PM310199   VXP 28    FL         Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145428   2023   VANGU   5V8VC2813PM310200   VXP 28    TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145429   2023   VANGU   5V8VC2815PM310201   VXP 28    CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145430   2023   VANGU   5V8VC2817PM310202   VXP 28    IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145431   2023   VANGU   5V8VC2819PM310203   VXP 28    VA         Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145432   2023   VANGU   5V8VC2810PM310204   VXP 28    TN         Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145433   2023   VANGU   5V8VC2812PM310205   VXP 28    KS         Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145434   2023   VANGU   5V8VC2814PM310206   VXP 28    TX         Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145435   2023   VANGU   5V8VC2816PM310207   VXP 28    NE         Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145436   2023   VANGU   5V8VC2818PM310208   VXP 28    SC         Piedmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145437   2023   VANGU   5V8VC281XPM310209   VXP 28    IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145438   2023   VANGU   5V8VC2816PM310210   VXP 28    TN         Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145439   2023   VANGU   5V8VC2818PM310211   VXP 28    WA         Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145440   2023   VANGU   5V8VC281XPM310212   VXP 28    PQ         Sherbrooke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145441   2023   VANGU   5V8VC2811PM310213   VXP 28    OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145442   2023   VANGU   5V8VC2813PM310214   VXP 28    WI         Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145443   2023   VANGU   5V8VC2815PM310215   VXP 28    TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145444   2023   VANGU   5V8VC2817PM310216   VXP 28    CO         Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145445   2023   VANGU   5V8VC2819PM310217   VXP 28    FL         Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145446   2023   VANGU   5V8VC2810PM310218   VXP 28    GA         Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145447   2023   VANGU   5V8VC2812PM310219   VXP 28    MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145448   2023   VANGU   5V8VC2819PM310220   VXP 28    WA         Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145449   2023   VANGU   5V8VC2810PM310221   VXP 28    TX         Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145450   2023   VANGU   5V8VC2812PM310222   VXP 28    Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145451   2023   VANGU   5V8VC2814PM310223   VXP 28    Ontario    Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145452   2023   VANGU   5V8VC2816PM310224   VXP 28    TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145453   2023   VANGU   5V8VC2818PM310225   VXP 28    Alberta    Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145454   2023   VANGU   5V8VC281XPM310226   VXP 28    CO         Clifton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145455   2023   VANGU   5V8VC2811PM310227   VXP 28    OH         Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145456   2023   VANGU   5V8VC2813PM310228   VXP 28    IL         Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145457   2023   VANGU   5V8VC2815PM310229   VXP 28    WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145458   2023   VANGU   5V8VC2811PM310230   VXP 28    RI         Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145459   2023   VANGU   5V8VC2813PM310231   VXP 28    TX         San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145460   2023   VANGU   5V8VC2815PM310232   VXP 28    NY         Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145461   2023   VANGU   5V8VC2817PM310233   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145462   2023   VANGU   5V8VC2819PM310234   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145463   2023   VANGU   5V8VC2810PM310235   VXP 28    TN         Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145464   2023   VANGU   5V8VC2812PM310236   VXP 28    TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145465   2023   VANGU   5V8VC2814PM310237   VXP 28    ID         Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145466   2023   VANGU   5V8VC2816PM310238   VXP 28    CA         Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145467   2023   VANGU   5V8VC2818PM310239   VXP 28    CA         Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145468   2023   VANGU   5V8VC2814PM310240   VXP 28    MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145469   2023   VANGU   5V8VC2816PM310241   VXP 28    VA         Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145470   2023   VANGU   5V8VC2818PM310242   VXP 28    MS         Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145471   2023   VANGU   5V8VC281XPM310243   VXP 28    CA         Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145472   2023   VANGU   5V8VC2811PM310244   VXP 28    OK         Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145473   2023   VANGU   5V8VC2813PM310245   VXP 28    OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145474   2023   VANGU   5V8VC2815PM310246   VXP 28    NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145475   2023   VANGU   5V8VC2817PM310247   VXP 28    OH         Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145476   2023   VANGU   5V8VC2819PM310248   VXP 28    LA         Monroe
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145477   2023   VANGU   5V8VC2810PM310249   VXP 28    GA         Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145478   2023   VANGU   5V8VC2817PM310250   VXP 28    IN         South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145479   2023   VANGU   5V8VC2819PM310251   VXP 28    IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145480   2023   VANGU   5V8VC2810PM310252   VXP 28    IL         Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145481   2023   VANGU   5V8VC2812PM310253   VXP 28    AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145482   2023   VANGU   5V8VC2814PM310254   VXP 28    TN         Knoxville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 772 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145483   2023   VANGU   5V8VC2816PM310255   VXP 28    MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145484   2023   VANGU   5V8VC2818PM310256   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145485   2023   VANGU   5V8VC281XPM310257   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145486   2023   VANGU   5V8VC2811PM310258   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145487   2023   VANGU   5V8VC2813PM310259   VXP 28    CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145488   2023   VANGU   5V8VC281XPM310260   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145489   2023   VANGU   5V8VC2811PM310261   VXP 28    UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145490   2023   VANGU   5V8VC2813PM310262   VXP 28    Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145491   2023   VANGU   5V8VC2815PM310263   VXP 28    MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145492   2023   VANGU   5V8VC2817PM310264   VXP 28    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145493   2023   VANGU   5V8VC2819PM310265   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145494   2023   VANGU   5V8VC2810PM310266   VXP 28    FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145495   2023   VANGU   5V8VC2812PM310267   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145496   2023   VANGU   5V8VC2814PM310268   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145497   2023   VANGU   5V8VC2816PM310269   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145498   2023   VANGU   5V8VC2812PM310270   VXP 28    PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145499   2023   VANGU   5V8VC2814PM310271   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145500   2023   VANGU   5V8VC2816PM310272   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145501   2023   VANGU   5V8VC2818PM310273   VXP 28    OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145502   2023   VANGU   5V8VC281XPM310274   VXP 28    WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145503   2023   VANGU   5V8VC2811PM310275   VXP 28    WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145504   2023   VANGU   5V8VC2813PM310276   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145505   2023   VANGU   5V8VC2815PM310277   VXP 28    OH        Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145506   2023   VANGU   5V8VC2817PM310278   VXP 28    TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145507   2023   VANGU   5V8VC2819PM310279   VXP 28    TX        Eagle Pass
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145508   2023   VANGU   5V8VC2815PM310280   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145509   2023   VANGU   5V8VC2817PM310281   VXP 28    NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145510   2023   VANGU   5V8VC2819PM310282   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145511   2023   VANGU   5V8VC2810PM310283   VXP 28    DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145512   2023   VANGU   5V8VC2812PM310284   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145513   2023   VANGU   5V8VC2814PM310285   VXP 28    CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145514   2023   VANGU   5V8VC2816PM310286   VXP 28    IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145515   2023   VANGU   5V8VC2818PM310287   VXP 28    FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145516   2023   VANGU   5V8VC281XPM310288   VXP 28    GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145517   2023   VANGU   5V8VC2811PM310289   VXP 28    IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145518   2023   VANGU   5V8VC2818PM310290   VXP 28    IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145519   2023   VANGU   5V8VC281XPM310291   VXP 28    MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145520   2023   VANGU   5V8VC2811PM310292   VXP 28    GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145521   2023   VANGU   5V8VC2813PM310293   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145522   2023   VANGU   5V8VC2815PM310294   VXP 28    OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145523   2023   VANGU   5V8VC2817PM310295   VXP 28    OR        Roseburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145524   2023   VANGU   5V8VC2819PM310296   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145525   2023   VANGU   5V8VC2810PM310297   VXP 28    OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145526   2023   VANGU   5V8VC2812PM310298   VXP 28    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145527   2023   VANGU   5V8VC2814PM310299   VXP 28    PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145528   2023   VANGU   5V8VC2817PM310300   VXP 28    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145529   2023   VANGU   5V8VC2819PM310301   VXP 28    CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145530   2023   VANGU   5V8VC2810PM310302   VXP 28    TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145531   2023   VANGU   5V8VC2812PM310303   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145532   2023   VANGU   5V8VC2814PM310304   VXP 28    TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145533   2023   VANGU   5V8VC2816PM310305   VXP 28    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145534   2023   VANGU   5V8VC2818PM310306   VXP 28    OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145535   2023   VANGU   5V8VC281XPM310307   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145536   2023   VANGU   5V8VC2811PM310308   VXP 28    AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145537   2023   VANGU   5V8VC2813PM310309   VXP 28    WA        Union Gap
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145538   2023   VANGU   5V8VC281XPM310310   VXP 28    MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145539   2023   VANGU   5V8VC2811PM310311   VXP 28    MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145540   2023   VANGU   5V8VC2813PM310312   VXP 28    CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145541   2023   VANGU   5V8VC2815PM310313   VXP 28    PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145542   2023   VANGU   5V8VC2817PM310314   VXP 28    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145543   2023   VANGU   5V8VC2819PM310315   VXP 28    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145544   2023   VANGU   5V8VC2810PM310316   VXP 28    WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145545   2023   VANGU   5V8VC2812PM310317   VXP 28    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145546   2023   VANGU   5V8VC2814PM310318   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145547   2023   VANGU   5V8VC2816PM310319   VXP 28    MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145548   2023   VANGU   5V8VC2812PM310320   VXP 28    MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145549   2023   VANGU   5V8VC2814PM310321   VXP 28    MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145550   2023   VANGU   5V8VC2816PM310322   VXP 28    PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145551   2023   VANGU   5V8VC2818PM310323   VXP 28    MS        Richland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 773 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145552   2023   VANGU   5V8VC281XPM310324   VXP 28         NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145553   2023   VANGU   5V8VC2811PM310325   VXP 28         IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145554   2023   VANGU   5V8VC2813PM310326   VXP 28         AL               Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145555   2023   VANGU   5V8VC2815PM310327   VXP 28         ME               Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145556   2023   VANGU   5V8VC2817PM310328   VXP 28         IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145557   2023   VANGU   5V8VC2819PM310329   VXP 28         OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145558   2023   VANGU   5V8VC2815PM310330   VXP 28         AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145559   2023   VANGU   5V8VC2817PM310331   VXP 28         FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145560   2023   VANGU   5V8VC2819PM310332   VXP 28         FL               Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145561   2023   VANGU   5V8VC2810PM310333   VXP 28         Alberta          Edmonton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145562   2023   VANGU   5V8VC2812PM310334   VXP 28         GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145563   2023   VANGU   5V8VC2814PM310335   VXP 28         WY               Wamsutter
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145564   2023   VANGU   5V8VC2816PM310336   VXP 28         TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145565   2023   VANGU   5V8VC2818PM310337   VXP 28         CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145566   2023   VANGU   5V8VC281XPM310338   VXP 28         WV               Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145567   2023   VANGU   5V8VC2811PM310339   VXP 28         MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145568   2023   VANGU   5V8VC2818PM310340   VXP 28         NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145569   2023   VANGU   5V8VC281XPM310341   VXP 28         TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145570   2023   VANGU   5V8VC2811PM310342   VXP 28         MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145571   2023   VANGU   5V8VC2813PM310343   VXP 28         NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145572   2023   VANGU   5V8VC2815PM310344   VXP 28         VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145573   2023   VANGU   5V8VC2817PM310345   VXP 28         UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145574   2023   VANGU   5V8VC2819PM310346   VXP 28         MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145575   2023   VANGU   5V8VC2810PM310347   VXP 28         SD               Rapid City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145576   2023   VANGU   5V8VC2812PM310348   VXP 28         DE               New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145577   2023   VANGU   5V8VC2814PM310349   VXP 28         MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145578   2023   VANGU   5V8VC2810PM310350   VXP 28         FL               Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145579   2023   VANGU   5V8VC2812PM310351   VXP 28         OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145580   2023   VANGU   5V8VC2814PM310352   VXP 28         WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145581   2023   VANGU   5V8VC2816PM310353   VXP 28         IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145582   2023   VANGU   5V8VC2818PM310354   VXP 28         FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145583   2023   VANGU   5V8VC281XPM310355   VXP 28         OK               Tulsa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145584   2023   VANGU   5V8VC2811PM310356   VXP 28         OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145585   2023   VANGU   5V8VC2813PM310357   VXP 28         PQ               Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145586   2023   VANGU   5V8VC2815PM310358   VXP 28         MT               Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145587   2023   VANGU   5V8VC2817PM310359   VXP 28         RI               Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145588   2023   VANGU   5V8VC2813PM310360   VXP 28         AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145589   2023   VANGU   5V8VC2815PM310361   VXP 28         MI               Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145590   2023   VANGU   5V8VC2817PM310362   VXP 28         TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145591   2023   VANGU   5V8VC2819PM310363   VXP 28         UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145592   2023   VANGU   5V8VC2810PM310364   VXP 28         CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145593   2023   VANGU   5V8VC2812PM310365   VXP 28         OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145594   2023   VANGU   5V8VC2814PM310366   VXP 28         MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145595   2023   VANGU   5V8VC2816PM310367   VXP 28         OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145597   2023   VANGU   5V8VC281XPM310369   VXP 28         UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145598   2023   VANGU   5V8VC2816PM310370   VXP 28         British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145599   2023   VANGU   5V8VC2818PM310371   VXP 28         TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145600   2023   VANGU   5V8VC281XPM310372   VXP 28         IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145601   2023   VANGU   5V8VC2811PM310373   VXP 28         CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145602   2023   VANGU   5V8VC2813PM310374   VXP 28         FL               Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145603   2023   VANGU   5V8VC2815PM310375   VXP 28         TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145604   2023   VANGU   5V8VC2817PM310376   VXP 28         OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145605   2023   VANGU   5V8VC2819PM310377   VXP 28         CA               Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145606   2023   VANGU   5V8VC2810PM310378   VXP 28         NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY145607   2023   HYUND   3H3V281K7PJ116001   VC2280151‐FJ   MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY200975   1987   PINES   1PND281S6HKA29233   2815ADXP       UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202046   2000   WABSH   1JJV281W0YL716075   DVDBHPC        IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202175   2000   WABSH   1JJV281W7YL716204   DVDBHPC        NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202196   2000   WABSH   1JJV281W4YL716225   DVDBHPC        TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202272   2000   WABSH   1JJV281W5YL716301   DVDBHPC        NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202371   2000   WABSH   1JJV281W7YL716400   DVDBHPC        IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202375   2000   WABSH   1JJV281W4YL716404   DVDBHPC        IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202418   2000   WABSH   1JJV281W0YL716447   DVDBHPC        NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202459   2000   WABSH   1JJV281W3YL716488   DVDBHPC        TX               McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202587   2000   WABSH   1JJV281W8YL716616   DVDBHPC        IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY202601   2000   WABSH   1JJV281W2YL716630   DVDBHPC        MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211063   2001   WABSH   1JJV281W91L745127   DVDBHPC        OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211171   2001   WABSH   1JJV281W11L745235   DVDBHPC        NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211204   2001   WABSH   1JJV281W51L745268   DVDBHPC        CO               Aurora
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 774 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211246   2001   WABSH   1JJV281W01L745310   DVDBHPC   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211277   2001   WABSH   1JJV281W01L745341   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211355   2001   WABSH   1JJV281W01L745419   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211376   2001   WABSH   1JJV281W21L745440   DVDBHPC   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211380   2001   WABSH   1JJV281WX1L745444   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211399   2001   WABSH   1JJV281W31L745463   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211488   2001   WABSH   1JJV281W21L745552   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211519   2001   WABSH   1JJV281W21L745583   DVDBHPC   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211520   2001   WABSH   1JJV281W41L745584   DVDBHPC   Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211525   2001   WABSH   1JJV281W31L745589   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211550   2001   WABSH   1JJV281W91L745614   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211616   2001   WABSH   1JJV281W01L745680   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211654   2001   WABSH   1JJV281WX1L745718   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY211747   2001   WABSH   1JJV281W01L745811   DVDBHPC   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249000   2004   WABSH   1JJV281W54L886992   DVDBHPC   Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249003   2004   WABSH   1JJV281W04L886995   DVDBHPC   Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249005   2004   WABSH   1JJV281W44L886997   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249008   2004   WABSH   1JJV281W94L887000   DVDBHPC   VT        Williston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249009   2004   WABSH   1JJV281W04L887001   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249011   2004   WABSH   1JJV281W44L887003   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249014   2004   WABSH   1JJV281WX4L887006   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249019   2004   WABSH   1JJV281W34L887011   DVDBHPC   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249020   2004   WABSH   1JJV281W54L887012   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249021   2004   WABSH   1JJV281W74L887013   DVDBHPC   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249024   2004   WABSH   1JJV281W24L887016   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249025   2004   WABSH   1JJV281W44L887017   DVDBHPC   IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249026   2004   WABSH   1JJV281W64L887018   DVDBHPC   FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249027   2004   WABSH   1JJV281W84L887019   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249031   2004   WABSH   1JJV281WX4L887023   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249032   2004   WABSH   1JJV281W14L887024   DVDBHPC   KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249033   2004   WABSH   1JJV281W34L887025   DVDBHPC   CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249035   2004   WABSH   1JJV281W74L887027   DVDBHPC   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249038   2004   WABSH   1JJV281W74L887030   DVDBHPC   LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249040   2004   WABSH   1JJV281W04L887032   DVDBHPC   AL        Mobile
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249041   2004   WABSH   1JJV281W24L887033   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249042   2004   WABSH   1JJV281W44L887034   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249043   2004   WABSH   1JJV281W64L887035   DVDBHPC   IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249046   2004   WABSH   1JJV281W14L887038   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249049   2004   WABSH   1JJV281W14L887041   DVDBHPC   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249051   2004   WABSH   1JJV281W54L887043   DVDBHPC   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249055   2004   WABSH   1JJV281W24L887047   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249057   2004   WABSH   1JJV281W64L887049   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249062   2004   WABSH   1JJV281WX4L887054   DVDBHPC   CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249063   2004   WABSH   1JJV281W14L887055   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249064   2004   WABSH   1JJV281W34L887056   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249067   2004   WABSH   1JJV281W94L887059   DVDBHPC   TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249068   2004   WABSH   1JJV281W54L887060   DVDBHPC   CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249069   2004   WABSH   1JJV281W74L887061   DVDBHPC   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249073   2004   WABSH   1JJV281W44L887065   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249075   2004   WABSH   1JJV281W84L887067   DVDBHPC   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249077   2004   WABSH   1JJV281W14L887069   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249078   2004   WABSH   1JJV281W84L887070   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249080   2004   WABSH   1JJV281W14L887072   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249081   2004   WABSH   1JJV281W34L887073   DVDBHPC   LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249084   2004   WABSH   1JJV281W94L887076   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249085   2004   WABSH   1JJV281W04L887077   DVDBHPC   CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249088   2004   WABSH   1JJV281W04L887080   DVDBHPC   VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249089   2004   WABSH   1JJV281W24L887081   DVDBHPC   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249091   2004   WABSH   1JJV281W64L887083   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249092   2004   WABSH   1JJV281W84L887084   DVDBHPC   KS        Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249094   2004   WABSH   1JJV281W14L887086   DVDBHPC   IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249095   2004   WABSH   1JJV281W34L887087   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249097   2004   WABSH   1JJV281W74L887089   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249100   2004   WABSH   1JJV281W74L887092   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249101   2004   WABSH   1JJV281W94L887093   DVDBHPC   NC        Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249102   2004   WABSH   1JJV281W04L887094   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249103   2004   WABSH   1JJV281W24L887095   DVDBHPC   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249107   2004   WABSH   1JJV281WX4L887099   DVDBHPC   ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249109   2004   WABSH   1JJV281W44L887101   DVDBHPC   IN        Fort Wayne
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 775 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249111   2004   WABSH   1JJV281W84L887103   DVDBHPC   CA      Hayward
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249114   2004   WABSH   1JJV281W34L887106   DVDBHPC   TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249115   2004   WABSH   1JJV281W54L887107   DVDBHPC   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249117   2004   WABSH   1JJV281W94L887109   DVDBHPC   CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249118   2004   WABSH   1JJV281W54L887110   DVDBHPC   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249120   2004   WABSH   1JJV281W94L887112   DVDBHPC   WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249122   2004   WABSH   1JJV281W24L887114   DVDBHPC   CA      Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249123   2004   WABSH   1JJV281W44L887115   DVDBHPC   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249128   2004   WABSH   1JJV281W84L887120   DVDBHPC   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249130   2004   WABSH   1JJV281W14L887122   DVDBHPC   WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249132   2004   WABSH   1JJV281W54L887124   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249133   2004   WABSH   1JJV281W74L887125   DVDBHPC   WI      Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249135   2004   WABSH   1JJV281W04L887127   DVDBHPC   MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249137   2004   WABSH   1JJV281W44L887129   DVDBHPC   IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249138   2004   WABSH   1JJV281W04L887130   DVDBHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249139   2004   WABSH   1JJV281W24L887131   DVDBHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249140   2004   WABSH   1JJV281W44L887132   DVDBHPC   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249146   2004   WABSH   1JJV281W54L887138   DVDBHPC   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249147   2004   WABSH   1JJV281W74L887139   DVDBHPC   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249150   2004   WABSH   1JJV281W74L887142   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249154   2004   WABSH   1JJV281W44L887146   DVDBHPC   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249155   2004   WABSH   1JJV281W64L887147   DVDBHPC   OR      Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249158   2004   WABSH   1JJV281W64L887150   DVDBHPC   CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249159   2004   WABSH   1JJV281W84L887151   DVDBHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249160   2004   WABSH   1JJV281WX4L887152   DVDBHPC   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249164   2004   WABSH   1JJV281W74L887156   DVDBHPC   OH      Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249165   2004   WABSH   1JJV281W94L887157   DVDBHPC   MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249166   2004   WABSH   1JJV281W04L887158   DVDBHPC   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249167   2004   WABSH   1JJV281W24L887159   DVDBHPC   FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249168   2004   WABSH   1JJV281W94L887160   DVDBHPC   GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249169   2004   WABSH   1JJV281W04L887161   DVDBHPC   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249171   2004   WABSH   1JJV281W44L887163   DVDBHPC   SC      Piedmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249173   2004   WABSH   1JJV281W84L887165   DVDBHPC   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249176   2004   WABSH   1JJV281W34L887168   DVDBHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249177   2004   WABSH   1JJV281W54L887169   DVDBHPC   SC      North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249178   2004   WABSH   1JJV281W14L887170   DVDBHPC   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249179   2004   WABSH   1JJV281W34L887171   DVDBHPC   CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249180   2004   WABSH   1JJV281W54L887172   DVDBHPC   FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249183   2004   WABSH   1JJV281W04L887175   DVDBHPC   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249184   2004   WABSH   1JJV281W24L887176   DVDBHPC   IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249185   2004   WABSH   1JJV281W44L887177   DVDBHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249186   2004   WABSH   1JJV281W64L887178   DVDBHPC   FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249187   2004   WABSH   1JJV281W84L887179   DVDBHPC   FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249188   2004   WABSH   1JJV281W44L887180   DVDBHPC   PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249192   2004   WABSH   1JJV281W14L887184   DVDBHPC   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249193   2004   WABSH   1JJV281W34L887185   DVDBHPC   FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249194   2004   WABSH   1JJV281W54L887186   DVDBHPC   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249195   2004   WABSH   1JJV281W74L887187   DVDBHPC   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249200   2004   WABSH   1JJV281W04L887192   DVDBHPC   IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249201   2004   WABSH   1JJV281W24L887193   DVDBHPC   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249203   2004   WABSH   1JJV281W64L887195   DVDBHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249206   2004   WABSH   1JJV281W14L887198   DVDBHPC   NC      Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249212   2004   WABSH   1JJV281W34L887204   DVDBHPC   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249213   2004   WABSH   1JJV281W54L887205   DVDBHPC   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249214   2004   WABSH   1JJV281W74L887206   DVDBHPC   WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249215   2004   WABSH   1JJV281W94L887207   DVDBHPC   MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249218   2004   WABSH   1JJV281W94L887210   DVDBHPC   MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249220   2004   WABSH   1JJV281W24L887212   DVDBHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249222   2004   WABSH   1JJV281W64L887214   DVDBHPC   CA      Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249225   2004   WABSH   1JJV281W14L887217   DVDBHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249226   2004   WABSH   1JJV281W34L887218   DVDBHPC   CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249227   2004   WABSH   1JJV281W54L887219   DVDBHPC   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249237   2004   WABSH   1JJV281W84L887229   DVDBHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249239   2004   WABSH   1JJV281W64L887231   DVDBHPC   MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249241   2004   WABSH   1JJV281WX4L887233   DVDBHPC   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249243   2004   WABSH   1JJV281W34L887235   DVDBHPC   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249244   2004   WABSH   1JJV281W54L887236   DVDBHPC   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249245   2004   WABSH   1JJV281W74L887237   DVDBHPC   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249247   2004   WABSH   1JJV281W04L887239   DVDBHPC   IL      Hodgkins
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 776 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249248   2004   WABSH   1JJV281W74L887240   DVDBHPC   FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249249   2004   WABSH   1JJV281W94L887241   DVDBHPC   CA               Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249250   2004   WABSH   1JJV281W04L887242   DVDBHPC   FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249254   2004   WABSH   1JJV281W84L887246   DVDBHPC   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249256   2004   WABSH   1JJV281W14L887248   DVDBHPC   TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249258   2004   WABSH   1JJV281WX4L887250   DVDBHPC   UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249261   2004   WABSH   1JJV281W54L887253   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249263   2004   WABSH   1JJV281W94L887255   DVDBHPC   MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249264   2004   WABSH   1JJV281W04L887256   DVDBHPC   CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249265   2004   WABSH   1JJV281W24L887257   DVDBHPC   GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249267   2004   WABSH   1JJV281W64L887259   DVDBHPC   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249272   2004   WABSH   1JJV281WX4L887264   DVDBHPC   TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249277   2004   WABSH   1JJV281W94L887269   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249280   2004   WABSH   1JJV281W94L887272   DVDBHPC   WY               Buffalo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249281   2004   WABSH   1JJV281W04L887273   DVDBHPC   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249288   2004   WABSH   1JJV281W84L887280   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249289   2004   WABSH   1JJV281WX4L887281   DVDBHPC   OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249290   2004   WABSH   1JJV281W14L887282   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249291   2004   WABSH   1JJV281W34L887283   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249293   2004   WABSH   1JJV281W74L887285   DVDBHPC   Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249295   2004   WABSH   1JJV281W04L887287   DVDBHPC   NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249297   2004   WABSH   1JJV281W44L887289   DVDBHPC   Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249303   2004   WABSH   1JJV281WX4L887295   DVDBHPC   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249305   2004   WABSH   1JJV281W34L887297   DVDBHPC   OH               Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249307   2004   WABSH   1JJV281W74L887299   DVDBHPC   CA               Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249310   2004   WABSH   1JJV281W34L887302   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249311   2004   WABSH   1JJV281W54L887303   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249313   2004   WABSH   1JJV281W94L887305   DVDBHPC   OR               Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249314   2004   WABSH   1JJV281W04L887306   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249315   2004   WABSH   1JJV281W24L887307   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249316   2004   WABSH   1JJV281W44L887308   DVDBHPC   CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249317   2004   WABSH   1JJV281W64L887309   DVDBHPC   CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249320   2004   WABSH   1JJV281W64L887312   DVDBHPC   TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249322   2004   WABSH   1JJV281WX4L887314   DVDBHPC   CO               Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249323   2004   WABSH   1JJV281W14L887315   DVDBHPC   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249325   2004   WABSH   1JJV281W54L887317   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249327   2004   WABSH   1JJV281W94L887319   DVDBHPC   IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249329   2004   WABSH   1JJV281W74L887321   DVDBHPC   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249330   2004   WABSH   1JJV281W94L887322   DVDBHPC   TN               Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249332   2004   WABSH   1JJV281W24L887324   DVDBHPC   MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249333   2004   WABSH   1JJV281W44L887325   DVDBHPC   CA               Santa Rosa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249334   2004   WABSH   1JJV281W64L887326   DVDBHPC   MO               Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249336   2004   WABSH   1JJV281WX4L887328   DVDBHPC   IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249345   2004   WABSH   1JJV281W04L887337   DVDBHPC   Manitoba         Winnipeg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249347   2004   WABSH   1JJV281W44L887339   DVDBHPC   MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249349   2004   WABSH   1JJV281W24L887341   DVDBHPC   MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249351   2004   WABSH   1JJV281W64L887343   DVDBHPC   NY               East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249352   2004   WABSH   1JJV281W84L887344   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249353   2004   WABSH   1JJV281WX4L887345   DVDBHPC   British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249354   2004   WABSH   1JJV281W14L887346   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249356   2004   WABSH   1JJV281W54L887348   DVDBHPC   CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249360   2004   WABSH   1JJV281W74L887352   DVDBHPC   CA               Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249362   2004   WABSH   1JJV281W04L887354   DVDBHPC   TX               Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249363   2004   WABSH   1JJV281W24L887355   DVDBHPC   MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249366   2004   WABSH   1JJV281W84L887358   DVDBHPC   MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249367   2004   WABSH   1JJV281WX4L887359   DVDBHPC   ND               Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249368   2004   WABSH   1JJV281W64L887360   DVDBHPC   SC               North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249369   2004   WABSH   1JJV281W84L887361   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249372   2004   WABSH   1JJV281W34L887364   DVDBHPC   OH               Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249374   2004   WABSH   1JJV281W74L887366   DVDBHPC   WA               Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249380   2004   WABSH   1JJV281W24L887372   DVDBHPC   CA               San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249381   2004   WABSH   1JJV281W44L887373   DVDBHPC   TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249383   2004   WABSH   1JJV281W84L887375   DVDBHPC   MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249386   2004   WABSH   1JJV281W34L887378   DVDBHPC   GA               Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249388   2004   WABSH   1JJV281W14L887380   DVDBHPC   NY               Mount Vernon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249390   2004   WABSH   1JJV281W54L887382   DVDBHPC   MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249391   2004   WABSH   1JJV281W74L887383   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249392   2004   WABSH   1JJV281W94L887384   DVDBHPC   GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249393   2004   WABSH   1JJV281W04L887385   DVDBHPC   TX               El Paso
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 777 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY249397   2004   WABSH   1JJV281W84L887389   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261000   2006   WABSH   1JJV281W16L965207   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261002   2006   WABSH   1JJV281W56L965209   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261003   2006   WABSH   1JJV281W16L965210   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261004   2006   WABSH   1JJV281W36L965211   DVDBHPC   OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261005   2006   WABSH   1JJV281W56L965212   DVDBHPC   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261006   2006   WABSH   1JJV281W76L965213   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261007   2006   WABSH   1JJV281W96L965214   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261008   2006   WABSH   1JJV281W06L965215   DVDBHPC   TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261009   2006   WABSH   1JJV281W26L965216   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261010   2006   WABSH   1JJV281W46L965217   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261011   2006   WABSH   1JJV281W66L965218   DVDBHPC   TX        Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261012   2006   WABSH   1JJV281W86L965219   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261013   2006   WABSH   1JJV281W46L965220   DVDBHPC   NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261014   2006   WABSH   1JJV281W66L965221   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261015   2006   WABSH   1JJV281W86L965222   DVDBHPC   VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261016   2006   WABSH   1JJV281WX6L965223   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261017   2006   WABSH   1JJV281W16L965224   DVDBHPC   IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261018   2006   WABSH   1JJV281W36L965225   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261019   2006   WABSH   1JJV281W56L965226   DVDBHPC   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261021   2006   WABSH   1JJV281W96L965228   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261022   2006   WABSH   1JJV281W06L965229   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261023   2006   WABSH   1JJV281W76L965230   DVDBHPC   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261024   2006   WABSH   1JJV281W96L965231   DVDBHPC   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261025   2006   WABSH   1JJV281W06L965232   DVDBHPC   MO        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261026   2006   WABSH   1JJV281W26L965233   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261027   2006   WABSH   1JJV281W46L965234   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261028   2006   WABSH   1JJV281W66L965235   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261029   2006   WABSH   1JJV281W86L965236   DVDBHPC   NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261030   2006   WABSH   1JJV281WX6L965237   DVDBHPC   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261032   2006   WABSH   1JJV281W36L965239   DVDBHPC   MI        Gaylord
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261033   2006   WABSH   1JJV281WX6L965240   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261034   2006   WABSH   1JJV281W16L965241   DVDBHPC   TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261036   2006   WABSH   1JJV281W56L965243   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261037   2006   WABSH   1JJV281W76L965244   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261038   2006   WABSH   1JJV281W96L965245   DVDBHPC   GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261039   2006   WABSH   1JJV281W06L965246   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261040   2006   WABSH   1JJV281W26L965247   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261041   2006   WABSH   1JJV281W46L965248   DVDBHPC   IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261042   2006   WABSH   1JJV281W66L965249   DVDBHPC   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261045   2006   WABSH   1JJV281W66L965252   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261046   2006   WABSH   1JJV281W86L965253   DVDBHPC   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261047   2006   WABSH   1JJV281WX6L965254   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261048   2006   WABSH   1JJV281W16L965255   DVDBHPC   KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261049   2006   WABSH   1JJV281W36L965256   DVDBHPC   NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261050   2006   WABSH   1JJV281W56L965257   DVDBHPC   NC        Raleigh
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261051   2006   WABSH   1JJV281W76L965258   DVDBHPC   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261052   2006   WABSH   1JJV281W96L965259   DVDBHPC   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261053   2006   WABSH   1JJV281W56L965260   DVDBHPC   AZ        Flagstaff
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261055   2006   WABSH   1JJV281W96L965262   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261056   2006   WABSH   1JJV281W06L965263   DVDBHPC   VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261057   2006   WABSH   1JJV281W26L965264   DVDBHPC   NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261058   2006   WABSH   1JJV281W46L965265   DVDBHPC   FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261059   2006   WABSH   1JJV281W66L965266   DVDBHPC   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261060   2006   WABSH   1JJV281W86L965267   DVDBHPC   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261061   2006   WABSH   1JJV281WX6L965268   DVDBHPC   IL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261062   2006   WABSH   1JJV281W16L965269   DVDBHPC   WI        Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261064   2006   WABSH   1JJV281WX6L965271   DVDBHPC   FL        Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261065   2006   WABSH   1JJV281W16L965272   DVDBHPC   IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261066   2006   WABSH   1JJV281W36L965273   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261067   2006   WABSH   1JJV281W56L965274   DVDBHPC   MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261068   2006   WABSH   1JJV281W76L965275   DVDBHPC   CA        Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261069   2006   WABSH   1JJV281W96L965276   DVDBHPC   KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261070   2006   WABSH   1JJV281W06L965277   DVDBHPC   PA        Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261071   2006   WABSH   1JJV281W26L965278   DVDBHPC   GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261073   2006   WABSH   1JJV281W06L965280   DVDBHPC   Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261074   2006   WABSH   1JJV281W26L965281   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261076   2006   WABSH   1JJV281W66L965283   DVDBHPC   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261077   2006   WABSH   1JJV281W86L965284   DVDBHPC   CA        Adelanto
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 778 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261079   2006   WABSH   1JJV281W16L965286   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261080   2006   WABSH   1JJV281W36L965287   DVDBHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261082   2006   WABSH   1JJV281W76L965289   DVDBHPC   AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261084   2006   WABSH   1JJV281W56L965291   DVDBHPC   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261085   2006   WABSH   1JJV281W76L965292   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261086   2006   WABSH   1JJV281W96L965293   DVDBHPC   CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261087   2006   WABSH   1JJV281W06L965294   DVDBHPC   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261088   2006   WABSH   1JJV281W26L965295   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261089   2006   WABSH   1JJV281W46L965296   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261090   2006   WABSH   1JJV281W66L965297   DVDBHPC   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261091   2006   WABSH   1JJV281W86L965298   DVDBHPC   GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261092   2006   WABSH   1JJV281WX6L965299   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261093   2006   WABSH   1JJV281W26L965300   DVDBHPC   Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261094   2006   WABSH   1JJV281W46L965301   DVDBHPC   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261095   2006   WABSH   1JJV281W66L965302   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261096   2006   WABSH   1JJV281W86L965303   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261097   2006   WABSH   1JJV281WX6L965304   DVDBHPC   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261098   2006   WABSH   1JJV281W16L965305   DVDBHPC   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261099   2006   WABSH   1JJV281W36L965306   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261101   2006   WABSH   1JJV281W76L965308   DVDBHPC   CA        Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261102   2006   WABSH   1JJV281W96L965309   DVDBHPC   SD        Rapid City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261103   2006   WABSH   1JJV281W56L965310   DVDBHPC   MI        Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261104   2006   WABSH   1JJV281W76L965311   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261105   2006   WABSH   1JJV281W96L965312   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261106   2006   WABSH   1JJV281W06L965313   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261107   2006   WABSH   1JJV281W26L965314   DVDBHPC   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261108   2006   WABSH   1JJV281W46L965315   DVDBHPC   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261109   2006   WABSH   1JJV281W66L965316   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261110   2006   WABSH   1JJV281W86L965317   DVDBHPC   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261111   2006   WABSH   1JJV281WX6L965318   DVDBHPC   IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261112   2006   WABSH   1JJV281W16L965319   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261113   2006   WABSH   1JJV281W86L965320   DVDBHPC   MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261114   2006   WABSH   1JJV281WX6L965321   DVDBHPC   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261115   2006   WABSH   1JJV281W16L965322   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261117   2006   WABSH   1JJV281W56L965324   DVDBHPC   Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261118   2006   WABSH   1JJV281W76L965325   DVDBHPC   CA        Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261119   2006   WABSH   1JJV281W96L965326   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261120   2006   WABSH   1JJV281W06L965327   DVDBHPC   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261121   2006   WABSH   1JJV281W26L965328   DVDBHPC   LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261122   2006   WABSH   1JJV281W46L965329   DVDBHPC   Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261123   2006   WABSH   1JJV281W06L965330   DVDBHPC   IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261124   2006   WABSH   1JJV281W26L965331   DVDBHPC   MA        West Springfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261125   2006   WABSH   1JJV281W46L965332   DVDBHPC   ID        Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261126   2006   WABSH   1JJV281W66L965333   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261127   2006   WABSH   1JJV281W86L965334   DVDBHPC   GA        Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261129   2006   WABSH   1JJV281W16L965336   DVDBHPC   CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261130   2006   WABSH   1JJV281W36L965337   DVDBHPC   ID        Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261131   2006   WABSH   1JJV281W56L965338   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261132   2006   WABSH   1JJV281W76L965339   DVDBHPC   IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261134   2006   WABSH   1JJV281W56L965341   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261135   2006   WABSH   1JJV281W76L965342   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261136   2006   WABSH   1JJV281W96L965343   DVDBHPC   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261137   2006   WABSH   1JJV281W06L965344   DVDBHPC   WI        Portage
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261138   2006   WABSH   1JJV281W26L965345   DVDBHPC   MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261139   2006   WABSH   1JJV281W46L965346   DVDBHPC   OH        Dayton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261140   2006   WABSH   1JJV281W66L965347   DVDBHPC   VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261142   2006   WABSH   1JJV281WX6L965349   DVDBHPC   TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261143   2006   WABSH   1JJV281W66L965350   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261144   2006   WABSH   1JJV281W86L965351   DVDBHPC   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261146   2006   WABSH   1JJV281W16L965353   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261147   2006   WABSH   1JJV281W36L965354   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261148   2006   WABSH   1JJV281W56L965355   DVDBHPC   TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261149   2006   WABSH   1JJV281W76L965356   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261151   2006   WABSH   1JJV281W06L965358   DVDBHPC   MA        North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261152   2006   WABSH   1JJV281W26L965359   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261153   2006   WABSH   1JJV281W96L965360   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261154   2006   WABSH   1JJV281W06L965361   DVDBHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261155   2006   WABSH   1JJV281W26L965362   DVDBHPC   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261156   2006   WABSH   1JJV281W46L965363   DVDBHPC   OH        Cincinnati
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 779 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261157   2006   WABSH   1JJV281W66L965364   DVDBHPC   MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261158   2006   WABSH   1JJV281W86L965365   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261159   2006   WABSH   1JJV281WX6L965366   DVDBHPC   NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261160   2006   WABSH   1JJV281W16L965367   DVDBHPC   MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261161   2006   WABSH   1JJV281W36L965368   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261162   2006   WABSH   1JJV281W56L965369   DVDBHPC   MN        Saint Paul
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261163   2006   WABSH   1JJV281W16L965370   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261164   2006   WABSH   1JJV281W36L965371   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261165   2006   WABSH   1JJV281W56L965372   DVDBHPC   OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261167   2006   WABSH   1JJV281W96L965374   DVDBHPC   AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261168   2006   WABSH   1JJV281W06L965375   DVDBHPC   NJ        Millville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261169   2006   WABSH   1JJV281W26L965376   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261170   2006   WABSH   1JJV281W46L965377   DVDBHPC   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261171   2006   WABSH   1JJV281W66L965378   DVDBHPC   NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261172   2006   WABSH   1JJV281W86L965379   DVDBHPC   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261173   2006   WABSH   1JJV281W46L965380   DVDBHPC   NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261174   2006   WABSH   1JJV281W66L965381   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261177   2006   WABSH   1JJV281W16L965384   DVDBHPC   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261178   2006   WABSH   1JJV281W36L965385   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261179   2006   WABSH   1JJV281W56L965386   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261180   2006   WABSH   1JJV281W76L965387   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261182   2006   WABSH   1JJV281W06L965389   DVDBHPC   CA        West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261183   2006   WABSH   1JJV281W76L965390   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261185   2006   WABSH   1JJV281W06L965392   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261186   2006   WABSH   1JJV281W26L965393   DVDBHPC   CA        Adelanto
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261187   2006   WABSH   1JJV281W46L965394   DVDBHPC   ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261188   2006   WABSH   1JJV281W66L965395   DVDBHPC   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261189   2006   WABSH   1JJV281W86L965396   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261190   2006   WABSH   1JJV281WX6L965397   DVDBHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261192   2006   WABSH   1JJV281W36L965399   DVDBHPC   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261193   2006   WABSH   1JJV281W66L965400   DVDBHPC   TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261194   2006   WABSH   1JJV281W86L965401   DVDBHPC   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261195   2006   WABSH   1JJV281W96L986760   1JJV      DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261196   2006   WABSH   1JJV281W06L986761   1JJV      OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261198   2006   WABSH   1JJV281W46L986763   1JJV      Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261199   2006   WABSH   1JJV281W66L986764   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261200   2006   WABSH   1JJV281W86L986765   1JJV      NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261202   2006   WABSH   1JJV281W16L986767   1JJV      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261203   2006   WABSH   1JJV281W36L986768   1JJV      TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261204   2006   WABSH   1JJV281W56L986769   1JJV      MI        Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261205   2006   WABSH   1JJV281W16L986770   1JJV      CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261206   2006   WABSH   1JJV281W36L986771   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261207   2006   WABSH   1JJV281W56L986772   1JJV      VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261208   2006   WABSH   1JJV281W76L986773   1JJV      TN        Kingsport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261209   2006   WABSH   1JJV281W96L986774   1JJV      WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261212   2006   WABSH   1JJV281W46L986777   1JJV      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261213   2006   WABSH   1JJV281W66L986778   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261214   2006   WABSH   1JJV281W86L986779   1JJV      FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261215   2006   WABSH   1JJV281W46L986780   1JJV      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261216   2006   WABSH   1JJV281W66L986781   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261217   2006   WABSH   1JJV281W86L986782   1JJV      VT        Bellows Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261218   2006   WABSH   1JJV281WX6L986783   1JJV      CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261219   2006   WABSH   1JJV281W16L986784   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261220   2006   WABSH   1JJV281W36L986785   1JJV      KS        Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261221   2006   WABSH   1JJV281W56L986786   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261222   2006   WABSH   1JJV281W76L986787   1JJV      VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261223   2006   WABSH   1JJV281W96L986788   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261224   2006   WABSH   1JJV281W06L986789   1JJV      IL        Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261225   2006   WABSH   1JJV281W76L986790   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261226   2006   WABSH   1JJV281W96L986791   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261227   2006   WABSH   1JJV281W06L986792   1JJV      CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261228   2006   WABSH   1JJV281W26L986793   1JJV      CO        Grand Junction
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261229   2006   WABSH   1JJV281W46L986794   1JJV      UT        St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261230   2006   WABSH   1JJV281W66L986795   1JJV      CA        Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261231   2006   WABSH   1JJV281W86L986796   1JJV      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261232   2006   WABSH   1JJV281WX6L986797   1JJV      OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261233   2006   WABSH   1JJV281W16L986798   1JJV      NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261234   2006   WABSH   1JJV281W36L986799   1JJV      ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261235   2006   WABSH   1JJV281W66L986800   1JJV      UT        Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 780 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261236   2006   WABSH   1JJV281W86L986801   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261238   2006   WABSH   1JJV281W16L986803   1JJV      NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261239   2006   WABSH   1JJV281W36L986804   1JJV      VA        Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261240   2006   WABSH   1JJV281W56L986805   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261241   2006   WABSH   1JJV281W76L986806   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261242   2006   WABSH   1JJV281W96L986807   1JJV      AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261243   2006   WABSH   1JJV281W06L986808   1JJV      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261244   2006   WABSH   1JJV281W26L986809   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261245   2006   WABSH   1JJV281W96L986810   1JJV      NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261246   2006   WABSH   1JJV281W06L986811   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261247   2006   WABSH   1JJV281W26L986812   1JJV      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261249   2006   WABSH   1JJV281W66L986814   1JJV      NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261250   2006   WABSH   1JJV281W86L986815   1JJV      GA        Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261251   2006   WABSH   1JJV281WX6L986816   1JJV      OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261252   2006   WABSH   1JJV281W16L986817   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261253   2006   WABSH   1JJV281W36L986818   1JJV      CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261255   2006   WABSH   1JJV281W16L986820   1JJV      ND        Minot
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261256   2006   WABSH   1JJV281W36L986821   1JJV      CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261257   2006   WABSH   1JJV281W56L986822   1JJV      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261258   2006   WABSH   1JJV281W76L986823   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261259   2006   WABSH   1JJV281W96L986824   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261260   2006   WABSH   1JJV281W06L986825   1JJV      AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261261   2006   WABSH   1JJV281W26L986826   1JJV      TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261262   2006   WABSH   1JJV281W46L986827   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261263   2006   WABSH   1JJV281W66L986828   1JJV      CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261264   2006   WABSH   1JJV281W86L986829   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261265   2006   WABSH   1JJV281W46L986830   1JJV      PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261266   2006   WABSH   1JJV281W66L986831   1JJV      CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261267   2006   WABSH   1JJV281W86L986832   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261268   2006   WABSH   1JJV281WX6L986833   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261269   2006   WABSH   1JJV281W16L986834   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261271   2006   WABSH   1JJV281W56L986836   1JJV      MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261272   2006   WABSH   1JJV281W76L986837   1JJV      VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261274   2006   WABSH   1JJV281W06L986839   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261275   2006   WABSH   1JJV281W76L986840   1JJV      AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261276   2006   WABSH   1JJV281W96L986841   1JJV      CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261277   2006   WABSH   1JJV281W06L986842   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261278   2006   WABSH   1JJV281W26L986843   1JJV      NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261280   2006   WABSH   1JJV281W66L986845   1JJV      WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261281   2006   WABSH   1JJV281W86L986846   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261282   2006   WABSH   1JJV281WX6L986847   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261283   2006   WABSH   1JJV281W16L986848   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261284   2006   WABSH   1JJV281W36L986849   1JJV      OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261285   2006   WABSH   1JJV281WX6L986850   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261286   2006   WABSH   1JJV281W16L986851   1JJV      GA        La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261287   2006   WABSH   1JJV281W36L986852   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261289   2006   WABSH   1JJV281W76L986854   1JJV      LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261290   2006   WABSH   1JJV281W96L986855   1JJV      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261292   2006   WABSH   1JJV281W26L986857   1JJV      Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261293   2006   WABSH   1JJV281W46L986858   1JJV      SC        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261294   2006   WABSH   1JJV281W66L986859   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261295   2006   WABSH   1JJV281W26L986860   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261297   2006   WABSH   1JJV281W66L986862   1JJV      CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261298   2006   WABSH   1JJV281W86L986863   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261299   2006   WABSH   1JJV281WX6L986864   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261300   2006   WABSH   1JJV281W16L986865   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261301   2006   WABSH   1JJV281W36L986866   1JJV      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261302   2006   WABSH   1JJV281W56L986867   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261303   2006   WABSH   1JJV281W76L986868   1JJV      IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261304   2006   WABSH   1JJV281W96L986869   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261306   2006   WABSH   1JJV281W76L986871   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261307   2006   WABSH   1JJV281W96L986872   1JJV      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261308   2006   WABSH   1JJV281W06L986873   1JJV      AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261309   2006   WABSH   1JJV281W26L986874   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261310   2006   WABSH   1JJV281W46L986875   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261311   2006   WABSH   1JJV281W66L986876   1JJV      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261312   2006   WABSH   1JJV281W86L986877   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261313   2006   WABSH   1JJV281WX6L986878   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261314   2006   WABSH   1JJV281W16L986879   1JJV      PA        Erie
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 781 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261315   2006   WABSH   1JJV281W86L986880   1JJV      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261316   2006   WABSH   1JJV281WX6L986881   1JJV      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261318   2006   WABSH   1JJV281W36L986883   1JJV      MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261319   2006   WABSH   1JJV281W56L986884   1JJV      MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261321   2006   WABSH   1JJV281W96L986886   1JJV      CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261322   2006   WABSH   1JJV281W06L986887   1JJV      MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261324   2006   WABSH   1JJV281W46L986889   1JJV      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261325   2006   WABSH   1JJV281W06L986890   1JJV      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261326   2006   WABSH   1JJV281W26L986891   1JJV      WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261327   2006   WABSH   1JJV281W46L986892   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261328   2006   WABSH   1JJV281W66L986893   1JJV      IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261329   2006   WABSH   1JJV281W86L986894   1JJV      MI      Gaylord
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261331   2006   WABSH   1JJV281W16L986896   1JJV      FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261332   2006   WABSH   1JJV281W36L986897   1JJV      NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261333   2006   WABSH   1JJV281W56L986898   1JJV      CA      Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261334   2006   WABSH   1JJV281W76L986899   1JJV      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261335   2006   WABSH   1JJV281WX6L986900   1JJV      GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261336   2006   WABSH   1JJV281W16L986901   1JJV      CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261337   2006   WABSH   1JJV281W36L986902   1JJV      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261339   2006   WABSH   1JJV281W76L986904   1JJV      CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261340   2006   WABSH   1JJV281W96L986905   1JJV      KS      Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261341   2006   WABSH   1JJV281W06L986906   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261343   2006   WABSH   1JJV281W46L986908   1JJV      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261344   2006   WABSH   1JJV281W66L986909   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261345   2006   WABSH   1JJV281W26L986910   1JJV      CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261346   2006   WABSH   1JJV281W46L986911   1JJV      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261347   2006   WABSH   1JJV281W66L986912   1JJV      TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261348   2006   WABSH   1JJV281W86L986913   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261350   2006   WABSH   1JJV281W16L986915   1JJV      CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261351   2006   WABSH   1JJV281W36L986916   1JJV      CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261352   2006   WABSH   1JJV281W56L986917   1JJV      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261353   2006   WABSH   1JJV281W76L986918   1JJV      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261354   2006   WABSH   1JJV281W96L986919   1JJV      PA      Bedford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261355   2006   WABSH   1JJV281W56L986920   1JJV      IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261356   2006   WABSH   1JJV281W76L986921   1JJV      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261357   2006   WABSH   1JJV281W96L986922   1JJV      CA      Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261358   2006   WABSH   1JJV281W06L986923   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261359   2006   WABSH   1JJV281W26L986924   1JJV      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261360   2006   WABSH   1JJV281W46L986925   1JJV      OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261361   2006   WABSH   1JJV281W66L986926   1JJV      MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261362   2006   WABSH   1JJV281W86L986927   1JJV      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261363   2006   WABSH   1JJV281WX6L986928   1JJV      NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261364   2006   WABSH   1JJV281W16L986929   1JJV      TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261365   2006   WABSH   1JJV281W86L986930   1JJV      OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261366   2006   WABSH   1JJV281WX6L986931   1JJV      MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261367   2006   WABSH   1JJV281W16L986932   1JJV      WI      Madison
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261369   2006   WABSH   1JJV281W56L986934   1JJV      IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261370   2006   WABSH   1JJV281W76L986935   1JJV      FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261371   2006   WABSH   1JJV281W96L986936   1JJV      FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261372   2006   WABSH   1JJV281W06L986937   1JJV      MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261373   2006   WABSH   1JJV281W26L986938   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261375   2006   WABSH   1JJV281W06L986940   1JJV      TX      McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261377   2006   WABSH   1JJV281W46L986942   1JJV      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261378   2006   WABSH   1JJV281W66L986943   1JJV      NY      Rochester
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261379   2006   WABSH   1JJV281W86L986944   1JJV      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261381   2006   WABSH   1JJV281W16L986946   1JJV      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261382   2006   WABSH   1JJV281W36L986947   1JJV      IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261383   2006   WABSH   1JJV281W56L986948   1JJV      CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261384   2006   WABSH   1JJV281W76L986949   1JJV      CA      San Diego
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261385   2006   WABSH   1JJV281W36L986950   1JJV      NC      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261386   2006   WABSH   1JJV281W56L986951   1JJV      TX      Waco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261387   2006   WABSH   1JJV281W76L986952   1JJV      MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261388   2006   WABSH   1JJV281W96L986953   1JJV      TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261389   2006   WABSH   1JJV281W06L986954   1JJV      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261390   2006   WABSH   1JJV281W26L986955   1JJV      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261391   2006   WABSH   1JJV281W46L986956   1JJV      NV      Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261392   2006   WABSH   1JJV281W66L986957   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261393   2006   WABSH   1JJV281W86L986958   1JJV      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261394   2006   WABSH   1JJV281WX6L986959   1JJV      PA      Line Lexington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 782 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261395   2006   WABSH   1JJV281W66L986960   1JJV       CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261396   2006   WABSH   1JJV281W86L986961   1JJV       NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261397   2006   WABSH   1JJV281WX6L986962   1JJV       MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261398   2006   WABSH   1JJV281W16L986963   1JJV       CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261399   2006   WABSH   1JJV281W36L986964   1JJV       UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261400   2006   WABSH   1JJV281W56L986965   1JJV       IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261401   2006   WABSH   1JJV281W76L986966   1JJV       NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261402   2006   WABSH   1JJV281W96L986967   1JJV       TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261403   2006   WABSH   1JJV281W06L986968   1JJV       NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261405   2006   WABSH   1JJV281W96L986970   1JJV       PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY261406   2006   WABSH   1JJV281W06L986971   1JJV       IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY267391   1984   FRUHF   1H5V02813EM016234   GWF128     OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY268722   1985   FRUHF   1H2V02814FH052134   8W5102     PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY276537   1987   PINES   1PND281S7HKA29371   2815ADXP   TX      McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY277525   1984   STRCK   1S11S8289EE259400   S4280      OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY277769   1984   STRCK   1S11S8280EE259026   S4280      KS      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY278078   1988   PINES   1PND281S1JKB32078   2815BDXP   NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY278939   1988   FRUHF   1H2V02814JH054457   FGGL28W5   KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY278986   1985   FRUHF   1H5V02814FM001453   8W6102     OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY279077   1988   FRUHF   1H2V02816JH054489   FGGL28W5   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY279168   1987   PINES   1PND281S6HKA29278   2815ADXP   MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY279237   1988   FRUHF   1H2V02812JH012434   FGGL28W    IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY280267   1987   PINES   1PND281S1HKA27227   2815ADXP   CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY280629   1986   PINES   1PND281S8GKA22685   2815ADX    NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY280826   1988   FRUHF   1H2V02813JH053123   FGGL28W5   CA      Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY280924   1987   PINES   1PND281S1HKA29334   2815ADXP   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY281146   1984   MONON   1NNVF2812EM083865   DFA80      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY281371   1988   FRUHF   1H2V02816JH052953   FGGL28W5   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY288003   1998   WABSH   1JJV281W5WL529492   DVDBHFR    OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY288013   1998   WABSH   1JJV281W4WL529502   DVDBHFR    GA      La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290000   2009   WABSH   1JJV281W19L285912              TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290001   2009   WABSH   1JJV281W39L285913              VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290003   2009   WABSH   1JJV281W79L285915              OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290004   2009   WABSH   1JJV281W99L285916              GA      Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290005   2009   WABSH   1JJV281W09L285917              MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290006   2009   WABSH   1JJV281W29L285918              NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290007   2009   WABSH   1JJV281W49L285919              NC      Rocky Mount
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290008   2009   WABSH   1JJV281W09L285920              MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290009   2009   WABSH   1JJV281W29L285921              UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290010   2009   WABSH   1JJV281W49L285922              IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290013   2009   WABSH   1JJV281WX9L285925              GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290014   2009   WABSH   1JJV281W19L285926              NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290015   2009   WABSH   1JJV281W39L285927              MN      Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290017   2009   WABSH   1JJV281W79L285929              IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290018   2009   WABSH   1JJV281W39L285930              NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290020   2009   WABSH   1JJV281W79L285932              WA      Pasco
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290021   2009   WABSH   1JJV281W99L285933              IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290022   2009   WABSH   1JJV281W09L285934              NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290023   2009   WABSH   1JJV281W29L285935              SC      Florence
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290024   2009   WABSH   1JJV281W49L285936              CA      Bakersfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290025   2009   WABSH   1JJV281W69L285937              IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290026   2009   WABSH   1JJV281W89L285938              ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290027   2009   WABSH   1JJV281WX9L285939              IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290028   2009   WABSH   1JJV281W69L285940              NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290029   2009   WABSH   1JJV281W89L285941              NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290030   2009   WABSH   1JJV281WX9L285942              LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290031   2009   WABSH   1JJV281W19L285943              IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290032   2009   WABSH   1JJV281W39L285944              PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290033   2009   WABSH   1JJV281W59L285945              PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290035   2009   WABSH   1JJV281W99L285947              FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290036   2009   WABSH   1JJV281W09L285948              NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290037   2009   WABSH   1JJV281W29L285949              PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290039   2009   WABSH   1JJV281W09L285951              OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290041   2009   WABSH   1JJV281W49L285953              NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290042   2009   WABSH   1JJV281W69L285954              MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290043   2009   WABSH   1JJV281W89L285955              RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290044   2009   WABSH   1JJV281WX9L285956              MI      Norway
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290045   2009   WABSH   1JJV281W19L285957              IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290046   2009   WABSH   1JJV281W39L285958              MA      Shrewsbury
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 783 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290047   2009   WABSH   1JJV281W59L285959             CA        Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290049   2009   WABSH   1JJV281W39L285961             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290050   2009   WABSH   1JJV281W59L285962             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290051   2009   WABSH   1JJV281W79L285963             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290053   2009   WABSH   1JJV281W09L285965             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290054   2009   WABSH   1JJV281W29L285966             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290055   2009   WABSH   1JJV281W49L285967             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290056   2009   WABSH   1JJV281W69L285968             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290057   2009   WABSH   1JJV281W89L285969             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290058   2009   WABSH   1JJV281W49L285970             NE        Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290059   2009   WABSH   1JJV281W69L285971             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290060   2009   WABSH   1JJV281W89L285972             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290061   2009   WABSH   1JJV281WX9L285973             CA        Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290062   2009   WABSH   1JJV281W19L285974             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290063   2009   WABSH   1JJV281W39L285975             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290064   2009   WABSH   1JJV281W59L285976             NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290065   2009   WABSH   1JJV281W79L285977             OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290066   2009   WABSH   1JJV281W99L285978             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290067   2009   WABSH   1JJV281W09L285979             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290068   2009   WABSH   1JJV281W79L285980             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290069   2009   WABSH   1JJV281W99L285981             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290070   2009   WABSH   1JJV281W09L285982             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290071   2009   WABSH   1JJV281W29L285983             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290072   2009   WABSH   1JJV281W49L285984             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290073   2009   WABSH   1JJV281W69L285985             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290074   2009   WABSH   1JJV281W89L285986             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290076   2009   WABSH   1JJV281W19L285988             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290078   2009   WABSH   1JJV281WX9L285990             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290079   2009   WABSH   1JJV281W19L285991             CO        Denver
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290080   2009   WABSH   1JJV281W39L285992             LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290081   2009   WABSH   1JJV281W59L285993             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290082   2009   WABSH   1JJV281W79L285994             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290083   2009   WABSH   1JJV281W99L285995             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290084   2009   WABSH   1JJV281W09L285996             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290085   2009   WABSH   1JJV281W29L285997             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290086   2009   WABSH   1JJV281W49L285998             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290087   2009   WABSH   1JJV281W69L285999             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290088   2009   WABSH   1JJV281W79L286000             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290089   2009   WABSH   1JJV281W99L286001             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290090   2009   WABSH   1JJV281W09L286002             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290092   2009   WABSH   1JJV281W49L286004             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290093   2009   WABSH   1JJV281W69L286005             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290095   2009   WABSH   1JJV281WX9L286007             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290096   2009   WABSH   1JJV281W19L286008             CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290097   2009   WABSH   1JJV281W39L286009             LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290098   2009   WABSH   1JJV281WX9L286010             NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290100   2009   WABSH   1JJV281W39L286012             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290101   2009   WABSH   1JJV281W59L286013             CA        Santa Maria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290102   2009   WABSH   1JJV281W79L286014             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290103   2009   WABSH   1JJV281W99L286015             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290105   2009   WABSH   1JJV281W29L286017             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290106   2009   WABSH   1JJV281W49L286018             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290107   2009   WABSH   1JJV281W69L286019             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290110   2009   WABSH   1JJV281W69L286022             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290112   2009   WABSH   1JJV281WX9L286024             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290113   2009   WABSH   1JJV281W19L286025             ND        Fargo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290114   2009   WABSH   1JJV281W39L286026             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290115   2009   WABSH   1JJV281W59L286027             OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290116   2009   WABSH   1JJV281W79L286028             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290117   2009   WABSH   1JJV281W99L286029             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290118   2009   WABSH   1JJV281W59L286030             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290120   2009   WABSH   1JJV281W99L286032             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290121   2009   WABSH   1JJV281W09L286033             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290122   2009   WABSH   1JJV281W29L286034             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290124   2009   WABSH   1JJV281W69L286036             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290125   2009   WABSH   1JJV281W89L286037             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290126   2009   WABSH   1JJV281WX9L286038             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290127   2009   WABSH   1JJV281W19L286039             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290128   2009   WABSH   1JJV281W89L286040             IL        Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 784 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290129   2009   WABSH   1JJV281WX9L286041             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290130   2009   WABSH   1JJV281W19L286042             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290132   2009   WABSH   1JJV281W59L286044             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290133   2009   WABSH   1JJV281W79L286045             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290134   2009   WABSH   1JJV281W99L286046             CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290135   2009   WABSH   1JJV281W09L286047             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290136   2009   WABSH   1JJV281W29L286048             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290137   2009   WABSH   1JJV281W49L286049             GA        Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290138   2009   WABSH   1JJV281W09L286050             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290139   2009   WABSH   1JJV281W29L286051             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290140   2009   WABSH   1JJV281W49L286052             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290141   2009   WABSH   1JJV281W69L286053             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290143   2009   WABSH   1JJV281WX9L286055             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290144   2009   WABSH   1JJV281W19L286056             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290145   2009   WABSH   1JJV281W39L286057             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290146   2009   WABSH   1JJV281W59L286058             ND        Bismarck
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290147   2009   WABSH   1JJV281W79L286059             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290148   2009   WABSH   1JJV281W39L286060             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290149   2009   WABSH   1JJV281W59L286061             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290150   2009   WABSH   1JJV281W79L286062             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290152   2009   WABSH   1JJV281W09L286064             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290153   2009   WABSH   1JJV281W29L286065             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290154   2009   WABSH   1JJV281W49L286066             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290155   2009   WABSH   1JJV281W69L286067             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290156   2009   WABSH   1JJV281W89L286068             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290157   2009   WABSH   1JJV281WX9L286069             CA        Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290158   2009   WABSH   1JJV281W69L286070             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290159   2009   WABSH   1JJV281W89L286071             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290160   2009   WABSH   1JJV281WX9L286072             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290161   2009   WABSH   1JJV281W19L286073             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290162   2009   WABSH   1JJV281W39L286074             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290163   2009   WABSH   1JJV281W59L286075             IL        Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290164   2009   WABSH   1JJV281W79L286076             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290165   2009   WABSH   1JJV281W99L286077             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290168   2009   WABSH   1JJV281W99L286080             LA        New Orleans
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290170   2009   WABSH   1JJV281W29L286082             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290171   2009   WABSH   1JJV281W49L286083             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290172   2009   WABSH   1JJV281W69L286084             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290175   2009   WABSH   1JJV281W19L286087             IL        Morton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290176   2009   WABSH   1JJV281W39L286088             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290177   2009   WABSH   1JJV281W59L286089             NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290178   2009   WABSH   1JJV281W19L286090             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290179   2009   WABSH   1JJV281W39L286091             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290180   2009   WABSH   1JJV281W59L286092             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290181   2009   WABSH   1JJV281W79L286093             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290182   2009   WABSH   1JJV281W99L286094             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290183   2009   WABSH   1JJV281W09L286095             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290184   2009   WABSH   1JJV281W29L286096             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290185   2009   WABSH   1JJV281W49L286097             MO        Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290187   2009   WABSH   1JJV281W89L286099             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290188   2009   WABSH   1JJV281W09L286100             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290190   2009   WABSH   1JJV281W49L286102             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290191   2009   WABSH   1JJV281W69L286103             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290192   2009   WABSH   1JJV281W89L286104             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290193   2009   WABSH   1JJV281WX9L286105             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290194   2009   WABSH   1JJV281W19L286106             AL        Decatur
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290195   2009   WABSH   1JJV281W39L286107             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290196   2009   WABSH   1JJV281W59L286108             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290197   2009   WABSH   1JJV281W79L286109             TX        Austin
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290198   2009   WABSH   1JJV281W39L286110             FL        Fort Myers
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290199   2009   WABSH   1JJV281W59L286111             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290200   2009   GRTDN   1GRAP56169K208940             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290201   2009   GRTDN   1GRAP56189K208941             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290202   2009   GRTDN   1GRAP561X9K208942             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290203   2009   GRTDN   1GRAP56119K208943             IL        Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290204   2009   GRTDN   1GRAP56139K208944             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290205   2009   GRTDN   1GRAP56159K208945             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290207   2009   GRTDN   1GRAP56199K208947             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290208   2009   GRTDN   1GRAP56109K208948             UT        Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 785 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290210   2009   GRTDN   1GRAP56199K208950             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290211   2009   GRTDN   1GRAP56109K208951             MD      Landover
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290212   2009   GRTDN   1GRAP56129K208952             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290213   2009   GRTDN   1GRAP56149K208953             TX      McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290214   2009   GRTDN   1GRAP56169K208954             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290215   2009   GRTDN   1GRAP56189K208955             GA      Thomasville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290217   2009   GRTDN   1GRAP56119K208957             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290218   2009   GRTDN   1GRAP56139K208958             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290219   2009   GRTDN   1GRAP56159K208959             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290240   2009   WABSH   1JJV281W99L286192             CA      Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290241   2009   WABSH   1JJV281W09L286193             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290242   2009   WABSH   1JJV281W29L286194             CA      Visalia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290243   2009   WABSH   1JJV281W49L286195             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290244   2009   WABSH   1JJV281W69L286196             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290245   2009   WABSH   1JJV281W89L286197             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290246   2009   WABSH   1JJV281WX9L286198             CA      Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290248   2009   WABSH   1JJV281W49L286200             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290249   2009   WABSH   1JJV281W69L286201             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290250   2009   WABSH   1JJV281W89L286202             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290251   2009   WABSH   1JJV281WX9L286203             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290253   2009   WABSH   1JJV281W39L286205             VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290254   2009   WABSH   1JJV281W59L286206             CA      Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290255   2009   WABSH   1JJV281W79L286207             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290256   2009   WABSH   1JJV281W99L286208             PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290257   2009   WABSH   1JJV281W09L286209             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290258   2009   WABSH   1JJV281W79L286210             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290259   2009   WABSH   1JJV281W99L286211             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290260   2009   WABSH   1JJV281W09L286212             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290261   2009   WABSH   1JJV281W29L286213             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290262   2009   WABSH   1JJV281W49L286214             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290263   2009   WABSH   1JJV281W69L286215             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290264   2009   WABSH   1JJV281W89L286216             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290265   2009   WABSH   1JJV281WX9L286217             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290267   2009   WABSH   1JJV281W39L286219             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290268   2009   WABSH   1JJV281WX9L286220             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290269   2009   WABSH   1JJV281W19L286221             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290270   2009   WABSH   1JJV281W39L286222             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290271   2009   WABSH   1JJV281W59L286223             NM      Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290273   2009   WABSH   1JJV281W99L286225             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290274   2009   WABSH   1JJV281W09L286226             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290275   2009   WABSH   1JJV281W29L286227             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290276   2009   WABSH   1JJV281W49L286228             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290277   2009   WABSH   1JJV281W69L286229             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290278   2009   WABSH   1JJV281W29L286230             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290279   2009   WABSH   1JJV281W49L286231             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290280   2009   WABSH   1JJV281W69L286232             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290281   2009   WABSH   1JJV281W89L286233             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290285   2009   WABSH   1JJV281W59L286237             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290288   2009   WABSH   1JJV281W59L286240             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290289   2009   WABSH   1JJV281W79L286241             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290290   2009   WABSH   1JJV281W99L286242             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290292   2009   WABSH   1JJV281W29L286244             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290293   2009   WABSH   1JJV281W49L286245             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290294   2009   WABSH   1JJV281W69L286246             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290295   2009   WABSH   1JJV281W89L286247             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290296   2009   WABSH   1JJV281WX9L286248             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290297   2009   WABSH   1JJV281W19L286249             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290298   2009   WABSH   1JJV281W89L286250             GA      Jefferson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290299   2009   WABSH   1JJV281WX9L286251             AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290300   2009   WABSH   1JJV281W19L286252             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290301   2009   WABSH   1JJV281W39L286253             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290302   2009   WABSH   1JJV281W59L286254             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290303   2009   WABSH   1JJV281W79L286255             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290304   2009   WABSH   1JJV281W99L286256             CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290305   2009   WABSH   1JJV281W09L286257             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290306   2009   WABSH   1JJV281W29L286258             DE      New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290307   2009   WABSH   1JJV281W49L286259             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290308   2009   WABSH   1JJV281W09L286260             TX      Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290309   2009   WABSH   1JJV281W29L286261             OK      Oklahoma City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 786 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290310   2009   WABSH   1JJV281W49L286262             ID        Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290311   2009   WABSH   1JJV281W69L286263             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290313   2009   WABSH   1JJV281WX9L286265             PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290314   2009   WABSH   1JJV281W19L286266             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290315   2009   WABSH   1JJV281W39L286267             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290316   2009   WABSH   1JJV281W59L286268             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290317   2009   WABSH   1JJV281W79L286269             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290319   2009   WABSH   1JJV281W59L286271             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290320   2009   WABSH   1JJV281W79L286272             OR        Roseburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290321   2009   WABSH   1JJV281W99L286273             PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290323   2009   WABSH   1JJV281W29L286275             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290324   2009   WABSH   1JJV281W49L286276             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290325   2009   WABSH   1JJV281W69L286277             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290327   2009   WABSH   1JJV281WX9L286279             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290328   2009   WABSH   1JJV281W69L286280             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290329   2009   WABSH   1JJV281W89L286281             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290330   2009   WABSH   1JJV281WX9L286282             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290331   2009   WABSH   1JJV281W19L286283             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290332   2009   WABSH   1JJV281W39L286284             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290333   2009   WABSH   1JJV281W59L286285             WI        Neenah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290334   2009   WABSH   1JJV281W79L286286             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290335   2009   WABSH   1JJV281W99L286287             WV        Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290336   2009   WABSH   1JJV281W09L286288             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290337   2009   WABSH   1JJV281W29L286289             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290338   2009   WABSH   1JJV281W99L286290             TX        Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290339   2009   WABSH   1JJV281W09L286291             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290340   2009   WABSH   1JJV281W79L286112             IA        Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290341   2009   WABSH   1JJV281W99L286113             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290342   2009   WABSH   1JJV281W09L286114             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290344   2009   WABSH   1JJV281W49L286116             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290345   2009   WABSH   1JJV281W69L286117             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290346   2009   WABSH   1JJV281W89L286118             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290347   2009   WABSH   1JJV281WX9L286119             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290348   2009   WABSH   1JJV281W69L286120             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290349   2009   WABSH   1JJV281W89L286121             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290352   2009   WABSH   1JJV281W39L286124             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290353   2009   WABSH   1JJV281W59L286125             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290354   2009   WABSH   1JJV281W79L286126             ME        Westbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290355   2009   WABSH   1JJV281W99L286127             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290356   2009   WABSH   1JJV281W09L286128             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290357   2009   WABSH   1JJV281W29L286129             CA        Santa Maria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290358   2009   WABSH   1JJV281W99L286130             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290359   2009   WABSH   1JJV281W09L286131             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290361   2009   WABSH   1JJV281W49L286133             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290364   2009   WABSH   1JJV281WX9L286136             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290365   2009   WABSH   1JJV281W19L286137             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290366   2009   WABSH   1JJV281W39L286138             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290367   2009   WABSH   1JJV281W59L286139             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290368   2009   WABSH   1JJV281W19L286140             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290369   2009   WABSH   1JJV281W39L286141             CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290370   2009   WABSH   1JJV281W59L286142             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290371   2009   WABSH   1JJV281W79L286143             NV        Elko
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290372   2009   WABSH   1JJV281W99L286144             RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290373   2009   WABSH   1JJV281W09L286145             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290375   2009   WABSH   1JJV281W49L286147             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290377   2009   WABSH   1JJV281W89L286149             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290378   2009   WABSH   1JJV281W49L286150             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290379   2009   WABSH   1JJV281W69L286151             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290381   2009   WABSH   1JJV281WX9L286153             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290382   2009   WABSH   1JJV281W19L286154             SD        Watertown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290384   2009   WABSH   1JJV281W59L286156             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290385   2009   WABSH   1JJV281W79L286157             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290386   2009   WABSH   1JJV281W99L286158             MI        Romulus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290387   2009   WABSH   1JJV281W09L286159             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290388   2009   WABSH   1JJV281W79L286160             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290390   2009   WABSH   1JJV281W09L286162             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290392   2009   WABSH   1JJV281W49L286164             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290393   2009   WABSH   1JJV281W69L286165             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290394   2009   WABSH   1JJV281W89L286166             UT        Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 787 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290395   2009   WABSH   1JJV281WX9L286167             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290396   2009   WABSH   1JJV281W19L286168             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290397   2009   WABSH   1JJV281W39L286169             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290398   2009   WABSH   1JJV281WX9L286170             KS        Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290399   2009   WABSH   1JJV281W19L286171             SD        Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290401   2009   WABSH   1JJV281W59L286173             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290402   2009   WABSH   1JJV281W79L286174             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290404   2009   WABSH   1JJV281W09L286176             CA        Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290406   2009   WABSH   1JJV281W49L286178             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290407   2009   WABSH   1JJV281W69L286179             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290408   2009   WABSH   1JJV281W29L286180             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290409   2009   WABSH   1JJV281W49L286181             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290410   2009   WABSH   1JJV281W69L286182             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290411   2009   WABSH   1JJV281W89L286183             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290412   2009   WABSH   1JJV281WX9L286184             WV        Bridgeport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290413   2009   WABSH   1JJV281W19L286185             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290414   2009   WABSH   1JJV281W39L286186             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290415   2009   WABSH   1JJV281W59L286187             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290416   2009   WABSH   1JJV281W79L286188             OH        Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290417   2009   WABSH   1JJV281W99L286189             IA        Mason City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290418   2009   WABSH   1JJV281W59L286190             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290419   2009   WABSH   1JJV281W79L286191             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290552   2000   FRUHF   1JJV281F4YF625745   DVDBFSA   MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290575   2000   FRUHF   1JJV281F5YF625768   DVDBFSA   SC        Columbia
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290586   2000   FRUHF   1JJV281FXYF625779   DVDBFSA   NM        Albuquerque
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290589   2000   FRUHF   1JJV281FXYF625782   DVDBFSA   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290602   2000   FRUHF   1JJV281FXYF625796   DVDBFSA   TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290607   2000   FRUHF   1JJV281F1YF625802   DVDBFSA   OR        Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290608   2000   FRUHF   1JJV281F3YF625803   DVDBFSA   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290617   2000   FRUHF   1JJV281F4YF625812   DVDBFSA   CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290631   2000   WABSH   1JJV281W8YL632280   DVDBHPC   NC        Durham
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290643   2000   WABSH   1JJV281W4YL632292   DVDBHPC   KY        Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290652   2000   WABSH   1JJV281W3YL632302   DVDBHPC   TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290657   2000   WABSH   1JJV281W2YL632307   DVDBHPC   GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290672   2000   WABSH   1JJV281W9YL632322   DVDBHPC   DE        New Castle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290677   2000   WABSH   1JJV281W8YL632327   DVDBHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290725   2003   WABSH   1JJV281W23L834346   DVDBHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290726   2003   WABSH   1JJV281W43L834347   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290730   2003   WABSH   1JJV281W63L834351   DVDBHPC   WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290732   2003   WABSH   1JJV281W13L834354   DVDBHPC   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290733   2003   WABSH   1JJV281W53L834356   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290737   2003   WABSH   1JJV281W73L834360   DVDBHPC   UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290738   2003   WABSH   1JJV281W93L834361   DVDBHPC   SD        Sioux Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290741   2003   WABSH   1JJV281W43L834364   DVDBHPC   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290742   2003   WABSH   1JJV281WX3L834367   DVDBHPC   MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290743   2003   WABSH   1JJV281W13L834368   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290744   2003   WABSH   1JJV281WX3L834370   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290745   2003   WABSH   1JJV281W13L834371   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290747   2003   WABSH   1JJV281W53L834373   DVDBHPC   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290748   2003   WABSH   1JJV281W73L834374   DVDBHPC   CA        Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290750   2003   WABSH   1JJV281W03L834376   DVDBHPC   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290754   2003   WABSH   1JJV281W23L834380   DVDBHPC   IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290758   2003   WABSH   1JJV281W13L834385   DVDBHPC   TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290759   2003   WABSH   1JJV281W33L834386   DVDBHPC   IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290760   2003   WABSH   1JJV281W53L834387   DVDBHPC   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290766   2003   WABSH   1JJV281W23L834394   DVDBHPC   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290767   2003   WABSH   1JJV281W43L834395   DVDBHPC   NV        Sparks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290768   2003   WABSH   1JJV281W63L834396   DVDBHPC   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290770   2003   WABSH   1JJV281WX3L834398   DVDBHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290771   2003   WABSH   1JJV281W13L834399   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290772   2003   WABSH   1JJV281W43L834400   DVDBHPC   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290773   2003   WABSH   1JJV281W63L834401   DVDBHPC   OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290774   2003   WABSH   1JJV281W83L834402   DVDBHPC   NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290776   2003   WABSH   1JJV281W13L834404   DVDBHPC   MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290778   2003   WABSH   1JJV281W73L834407   DVDBHPC   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290781   2003   WABSH   1JJV281W93L834411   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290783   2003   WABSH   1JJV281W23L834413   DVDBHPC   WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290784   2003   WABSH   1JJV281W63L834415   DVDBHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290785   2003   WABSH   1JJV281WX3L834417   DVDBHPC   ND        Bismarck
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 788 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290787   2003   WABSH   1JJV281WX3L834420   DVDBHPC   GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290789   2003   WABSH   1JJV281W33L834422   DVDBHPC   IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290791   2003   WABSH   1JJV281W73L834424   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290792   2003   WABSH   1JJV281W93L834425   DVDBHPC   UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290793   2003   WABSH   1JJV281W03L834426   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290794   2003   WABSH   1JJV281W23L834427   DVDBHPC   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290796   2003   WABSH   1JJV281W63L834429   DVDBHPC   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290798   2003   WABSH   1JJV281W43L834431   DVDBHPC   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290799   2003   WABSH   1JJV281W63L834432   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290800   2003   WABSH   1JJV281W83L834433   DVDBHPC   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290801   2003   WABSH   1JJV281WX3L834434   DVDBHPC   TX               Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290805   2003   WABSH   1JJV281W73L834438   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290806   2003   WABSH   1JJV281W93L834439   DVDBHPC   SC               Florence
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290808   2003   WABSH   1JJV281W73L834441   DVDBHPC   MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290809   2003   WABSH   1JJV281W93L834442   DVDBHPC   FL               Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290810   2003   WABSH   1JJV281W03L834443   DVDBHPC   IN               South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290811   2003   WABSH   1JJV281W23L834444   DVDBHPC   CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290813   2003   WABSH   1JJV281W63L834446   DVDBHPC   TN               Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290815   2003   WABSH   1JJV281WX3L834448   DVDBHPC   KS               Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290819   2003   WABSH   1JJV281W13L834452   DVDBHPC   IL               Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290820   2003   WABSH   1JJV281W33L834453   DVDBHPC   OR               Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290823   2003   WABSH   1JJV281W93L834456   DVDBHPC   GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290824   2003   WABSH   1JJV281W03L834457   DVDBHPC   OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290825   2003   WABSH   1JJV281W23L834458   DVDBHPC   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290829   2003   WABSH   1JJV281W43L834462   DVDBHPC   MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290830   2003   WABSH   1JJV281W63L834463   DVDBHPC   TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290832   2003   WABSH   1JJV281WX3L834465   DVDBHPC   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290833   2003   WABSH   1JJV281W13L834466   DVDBHPC   NY               Glenmont
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290835   2003   WABSH   1JJV281W73L834469   DVDBHPC   GA               Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290839   2003   WABSH   1JJV281W93L834473   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290840   2003   WABSH   1JJV281W03L834474   DVDBHPC   MA               Shrewsbury
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290841   2003   WABSH   1JJV281W23L834475   DVDBHPC   OH               Bowling Green
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290843   2003   WABSH   1JJV281W63L834477   DVDBHPC   IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290844   2003   WABSH   1JJV281W83L834478   DVDBHPC   VA               Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290845   2003   WABSH   1JJV281WX3L834479   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290846   2003   WABSH   1JJV281W63L834480   DVDBHPC   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290849   2003   WABSH   1JJV281W13L834483   DVDBHPC   OH               Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290850   2003   WABSH   1JJV281W33L834484   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290851   2003   WABSH   1JJV281W53L834485   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290852   2003   WABSH   1JJV281W73L834486   DVDBHPC   British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290853   2003   WABSH   1JJV281W23L834489   DVDBHPC   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290854   2003   WABSH   1JJV281W93L834490   DVDBHPC   CA               Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290855   2003   WABSH   1JJV281W03L834491   DVDBHPC   MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290857   2003   WABSH   1JJV281W63L834494   DVDBHPC   TN               Knoxville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290858   2003   WABSH   1JJV281W83L834495   DVDBHPC   VA               Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290859   2003   WABSH   1JJV281WX3L834496   DVDBHPC   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290860   2003   WABSH   1JJV281W13L834497   DVDBHPC   CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290861   2003   WABSH   1JJV281W33L834498   DVDBHPC   KS               Wichita
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290862   2003   WABSH   1JJV281W53L834499   DVDBHPC   MS               Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290863   2003   WABSH   1JJV281W83L834500   DVDBHPC   IL               Rockford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290864   2003   WABSH   1JJV281WX3L834501   DVDBHPC   CA               Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290865   2003   WABSH   1JJV281W13L834502   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290868   2003   WABSH   1JJV281W73L834505   DVDBHPC   OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290870   2003   WABSH   1JJV281W03L834507   DVDBHPC   OR               Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290871   2003   WABSH   1JJV281W23L834508   DVDBHPC   TX               Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290872   2003   WABSH   1JJV281W43L834509   DVDBHPC   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290873   2003   WABSH   1JJV281W03L834510   DVDBHPC   NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290874   2003   WABSH   1JJV281W23L834511   DVDBHPC   VA               Roanoke
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290875   2003   WABSH   1JJV281W43L834512   DVDBHPC   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290876   2003   WABSH   1JJV281W63L834513   DVDBHPC   CO               Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290877   2003   WABSH   1JJV281W83L834514   DVDBHPC   OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290878   2003   WABSH   1JJV281W13L834516   DVDBHPC   CA               Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290880   2003   WABSH   1JJV281W53L834518   DVDBHPC   NY               Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290881   2003   WABSH   1JJV281W73L834519   DVDBHPC   IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290884   2003   WABSH   1JJV281W03L834524   DVDBHPC   WI               Milwaukee
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290885   2003   WABSH   1JJV281W23L834525   DVDBHPC   TX               Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290887   2003   WABSH   1JJV281WX3L834529   DVDBHPC   NY               Deer Park
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290888   2003   WABSH   1JJV281W63L834530   DVDBHPC   NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290890   2003   WABSH   1JJV281WX3L834532   DVDBHPC   WV               Beckley
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 789 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290892   2003   WABSH   1JJV281W33L834534   DVDBHPC   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290893   2003   WABSH   1JJV281W73L834536   DVDBHPC   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290894   2003   WABSH   1JJV281W93L834537   DVDBHPC   GA      Savannah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290895   2003   WABSH   1JJV281W03L834538   DVDBHPC   OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290896   2003   WABSH   1JJV281W23L834539   DVDBHPC   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290900   2003   WABSH   1JJV281W43L834543   DVDBHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290902   2003   WABSH   1JJV281W83L834545   DVDBHPC   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290903   2003   WABSH   1JJV281WX3L834546   DVDBHPC   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290904   2003   WABSH   1JJV281W13L834547   DVDBHPC   NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290905   2003   WABSH   1JJV281W33L834548   DVDBHPC   CA      Brisbane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290908   2003   WABSH   1JJV281W33L834551   DVDBHPC   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290909   2003   WABSH   1JJV281W53L834552   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290910   2003   WABSH   1JJV281W73L834553   DVDBHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290911   2003   WABSH   1JJV281W93L834554   DVDBHPC   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290912   2003   WABSH   1JJV281W03L834555   DVDBHPC   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290914   2003   WABSH   1JJV281W63L834558   DVDBHPC   UT      St. George
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290916   2003   WABSH   1JJV281W43L834560   DVDBHPC   TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290917   2003   WABSH   1JJV281W63L834561   DVDBHPC   OR      Central Point
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290918   2003   WABSH   1JJV281WX3L834563   DVDBHPC   TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290919   2003   WABSH   1JJV281W13L834564   DVDBHPC   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290920   2003   WABSH   1JJV281W33L834565   DVDBHPC   GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290922   2003   WABSH   1JJV281W73L834567   DVDBHPC   TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290924   2003   WABSH   1JJV281W03L834569   DVDBHPC   OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290926   2003   WABSH   1JJV281W93L834571   DVDBHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290929   2003   WABSH   1JJV281W43L834574   DVDBHPC   OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290931   2003   WABSH   1JJV281W83L834576   DVDBHPC   PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290933   2003   WABSH   1JJV281W33L834579   DVDBHPC   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290934   2003   WABSH   1JJV281WX3L834580   DVDBHPC   UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290936   2003   WABSH   1JJV281W33L834582   DVDBHPC   TX      Sherman
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290937   2003   WABSH   1JJV281W53L834583   DVDBHPC   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290938   2003   WABSH   1JJV281W73L834584   DVDBHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290941   2003   WABSH   1JJV281W23L834587   DVDBHPC   PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290942   2003   WABSH   1JJV281W43L834588   DVDBHPC   CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290944   2003   WABSH   1JJV281W23L834590   DVDBHPC   IN      South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290946   2003   WABSH   1JJV281W63L834592   DVDBHPC   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290950   2003   WABSH   1JJV281W53L834597   DVDBHPC   OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290951   2003   WABSH   1JJV281W73L834598   DVDBHPC   CA      Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290953   2003   WABSH   1JJV281W13L834600   DVDBHPC   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290963   2007   WABSH   1JJV281WX7L045996             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290964   2007   WABSH   1JJV281W17L045997             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290965   2007   WABSH   1JJV281W37L045998             MO      Strafford
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290970   2007   WABSH   1JJV281W17L046003             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290974   2007   WABSH   1JJV281W07L046008             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290975   2007   WABSH   1JJV281W27L046009             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290976   2007   WABSH   1JJV281W97L046010             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290977   2007   WABSH   1JJV281W07L046011             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290978   2007   WABSH   1JJV281W27L046012             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290980   2007   WABSH   1JJV281W67L046014             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290981   2007   WABSH   1JJV281W87L046015             KY      Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290982   2007   WABSH   1JJV281WX7L046016             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290983   2007   WABSH   1JJV281W17L046017             CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290984   2007   WABSH   1JJV281W37L046018             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290985   2007   WABSH   1JJV281W57L046019             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290987   2007   WABSH   1JJV281W37L046021             WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290988   2007   WABSH   1JJV281W57L046022             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290989   2007   WABSH   1JJV281W77L046023             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290990   2007   WABSH   1JJV281W97L046024             CA      Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290991   2007   WABSH   1JJV281W07L046025             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290992   2007   WABSH   1JJV281W27L046026             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290993   2007   WABSH   1JJV281W47L046027             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290994   2007   WABSH   1JJV281W67L046028             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290995   2007   WABSH   1JJV281W87L046029             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290996   2007   WABSH   1JJV281W47L046030             IL      Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY290997   2007   WABSH   1JJV281W67L046031             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291000   2007   WABSH   1JJV281W17L046034             MA      North Reading
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291001   2007   WABSH   1JJV281W37L046035             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291002   2007   WABSH   1JJV281W57L046036             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291003   2007   WABSH   1JJV281W77L046037             IL      Joliet
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291004   2007   WABSH   1JJV281W97L046038             NY      Tonawanda
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 790 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291005   2007   WABSH   1JJV281W07L046039             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291006   2007   WABSH   1JJV281W77L046040             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291007   2007   WABSH   1JJV281W97L046041             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291008   2007   WABSH   1JJV281W07L046042             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291009   2007   WABSH   1JJV281W27L046043             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291010   2007   WABSH   1JJV281W47L046044             WV      Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291011   2007   WABSH   1JJV281W67L046045             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291012   2007   WABSH   1JJV281W87L046046             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291013   2007   WABSH   1JJV281WX7L046047             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291015   2007   WABSH   1JJV281W37L046049             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291016   2007   WABSH   1JJV281WX7L046050             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291017   2007   WABSH   1JJV281W17L046051             CA      Ventura
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291018   2007   WABSH   1JJV281W37L046052             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291019   2007   WABSH   1JJV281W57L046053             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291020   2007   WABSH   1JJV281W77L046054             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291021   2007   WABSH   1JJV281W97L046055             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291022   2007   WABSH   1JJV281W07L046056             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291023   2007   WABSH   1JJV281W27L046057             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291024   2007   WABSH   1JJV281W47L046058             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291025   2007   WABSH   1JJV281W67L046059             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291026   2007   WABSH   1JJV281W27L046060             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291027   2007   WABSH   1JJV281W47L046061             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291028   2007   WABSH   1JJV281W67L046062             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291029   2007   WABSH   1JJV281W87L046063             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291030   2007   WABSH   1JJV281WX7L046064             ID      Pocatello
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291031   2007   WABSH   1JJV281W17L046065             SC      North Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291032   2007   WABSH   1JJV281W37L046066             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291033   2007   WABSH   1JJV281W57L046067             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291034   2007   WABSH   1JJV281W77L046068             CA      Los Angeles
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291036   2007   WABSH   1JJV281W57L046070             CA      Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291038   2007   WABSH   1JJV281W97L046072             GA      Conley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291039   2007   WABSH   1JJV281W07L046073             IL      Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291040   2007   WABSH   1JJV281W27L046074             CA      Pomona
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291041   2007   WABSH   1JJV281W47L046075             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291042   2007   WABSH   1JJV281W67L046076             KS      Topeka
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291043   2007   WABSH   1JJV281W87L046077             CA      Downey
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291044   2007   WABSH   1JJV281WX7L046078             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291045   2007   WABSH   1JJV281W17L046079             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291046   2007   WABSH   1JJV281W87L046080             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291047   2007   WABSH   1JJV281WX7L046081             OR      Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291048   2007   WABSH   1JJV281W17L046082             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291049   2007   WABSH   1JJV281W37L046083             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291050   2007   WABSH   1JJV281W57L046084             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291051   2007   WABSH   1JJV281W77L046085             CO      Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291052   2007   WABSH   1JJV281W97L046086             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291053   2007   WABSH   1JJV281W27L046088             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291054   2007   WABSH   1JJV281W47L046089             MI      Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291055   2007   WABSH   1JJV281W07L046090             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291056   2007   WABSH   1JJV281W27L046091             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291057   2007   WABSH   1JJV281W47L046092             ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291058   2007   WABSH   1JJV281W67L046093             TX      Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291059   2007   WABSH   1JJV281W87L046094             CA      Anderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291060   2007   WABSH   1JJV281WX7L046095             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291061   2007   WABSH   1JJV281W17L046096             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291062   2007   WABSH   1JJV281W37L046097             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291064   2007   WABSH   1JJV281W77L046099             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291065   2007   WABSH   1JJV281WX7L046100             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291066   2007   WABSH   1JJV281W17L046101             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291068   2007   WABSH   1JJV281W57L046103             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291069   2007   WABSH   1JJV281W77L046104             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291070   2007   WABSH   1JJV281W97L046105             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291071   2007   WABSH   1JJV281W07L046106             VA      Manassas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291072   2007   WABSH   1JJV281W27L046107             CA      Stockton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291073   2007   WABSH   1JJV281W47L046108             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291074   2007   WABSH   1JJV281W67L046109             TX      Texarkana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291075   2007   WABSH   1JJV281W27L046110             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291076   2007   WABSH   1JJV281W47L046111             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291077   2007   WABSH   1JJV281W67L046112             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291078   2007   WABSH   1JJV281W87L046113             OR      Portland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 791 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291079   2007   WABSH   1JJV281WX7L046114             MN      Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291080   2007   WABSH   1JJV281W17L046115             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291081   2007   WABSH   1JJV281W37L046116             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291083   2007   WABSH   1JJV281W77L046118             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291084   2007   WABSH   1JJV281W97L046119             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291085   2007   WABSH   1JJV281W57L046120             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291086   2007   WABSH   1JJV281W77L046121             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291087   2007   WABSH   1JJV281W97L046122             NE      Kearney
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291088   2007   WABSH   1JJV281W07L046123             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291089   2007   WABSH   1JJV281W27L046124             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291090   2007   WABSH   1JJV281W47L046125             MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291091   2007   WABSH   1JJV281W67L046126             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291092   2007   WABSH   1JJV281W87L046127             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291093   2007   WABSH   1JJV281WX7L046128             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291094   2007   WABSH   1JJV281W17L046129             CA      Santa Clara
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291095   2007   WABSH   1JJV281W87L046130             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291096   2007   WABSH   1JJV281WX7L046131             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291097   2007   WABSH   1JJV281W17L046132             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291098   2007   WABSH   1JJV281W37L046133             GA      Macon
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291100   2007   WABSH   1JJV281W77L046135             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291103   2007   WABSH   1JJV281W27L046138             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291104   2007   WABSH   1JJV281W47L046139             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291105   2007   WABSH   1JJV281W07L046140             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291106   2007   WABSH   1JJV281W27L046141             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291108   2007   WABSH   1JJV281W67L046143             ID      Meridian
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291109   2007   WABSH   1JJV281W87L046144             CO      Henderson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291110   2007   WABSH   1JJV281WX7L046145             IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291111   2007   WABSH   1JJV281W17L046146             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291112   2007   WABSH   1JJV281W37L046147             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291113   2007   WABSH   1JJV281W57L046148             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291114   2007   WABSH   1JJV281W77L046149             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291115   2007   WABSH   1JJV281W37L046150             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291117   2007   WABSH   1JJV281W77L046152             NJ      Kearny
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291118   2007   WABSH   1JJV281W97L046153             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291119   2007   WABSH   1JJV281W07L046154             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291121   2007   WABSH   1JJV281W47L046156             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291122   2007   WABSH   1JJV281W67L046157             FL      Miami
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291123   2007   WABSH   1JJV281W87L046158             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291124   2007   WABSH   1JJV281WX7L046159             NE      Omaha
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291125   2007   WABSH   1JJV281W67L046160             VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291126   2007   WABSH   1JJV281W87L046161             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291127   2007   WABSH   1JJV281WX7L046162             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291128   2007   WABSH   1JJV281W17L046163             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291129   2007   WABSH   1JJV281W37L046164             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291130   2007   WABSH   1JJV281W57L046165             MN      Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291131   2007   WABSH   1JJV281W77L046166             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291132   2007   WABSH   1JJV281W97L046167             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291133   2007   WABSH   1JJV281W07L046168             GA      La Grange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291135   2007   WABSH   1JJV281W97L046170             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291136   2007   WABSH   1JJV281W07L046171             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291137   2007   WABSH   1JJV281W27L046172             OH      Copley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291138   2007   WABSH   1JJV281W47L046173             AZ      Tucson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291139   2007   WABSH   1JJV281W67L046174             OH      Toledo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291140   2007   WABSH   1JJV281W87L046175             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291141   2007   WABSH   1JJV281WX7L046176             OR      Roseburg
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291142   2007   WABSH   1JJV281W17L046177             KY      Paducah
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291144   2007   WABSH   1JJV281W57L046179             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291145   2007   WABSH   1JJV281W17L046180             MS      Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291146   2007   WABSH   1JJV281W37L046181             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291147   2007   WABSH   1JJV281W57L046182             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291148   2007   WABSH   1JJV281W37L050702             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291149   2007   WABSH   1JJV281W57L050703             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291150   2007   WABSH   1JJV281W77L050704             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291151   2007   WABSH   1JJV281W97L050705             TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291152   2007   WABSH   1JJV281W07L050706             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291153   2007   WABSH   1JJV281W27L050707             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291154   2007   WABSH   1JJV281W47L050708             FL      Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291155   2007   WABSH   1JJV281W67L050709             TX      Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291156   2007   WABSH   1JJV281W27L050710             TX      Irving
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 792 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291157   2007   WABSH   1JJV281W47L050711             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291158   2007   WABSH   1JJV281W67L050712             OR        Eugene
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291159   2007   WABSH   1JJV281W87L050713             LA        Shreveport
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291160   2007   WABSH   1JJV281WX7L050714             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291161   2007   WABSH   1JJV281W17L050715             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291162   2007   WABSH   1JJV281W37L050716             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291163   2007   WABSH   1JJV281W57L050717             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291164   2007   WABSH   1JJV281W77L050718             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291165   2007   WABSH   1JJV281W97L050719             NJ        Cinnaminson
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291166   2007   WABSH   1JJV281W57L050720             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291167   2007   WABSH   1JJV281W77L050721             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291168   2007   WABSH   1JJV281W97L050722             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291169   2007   WABSH   1JJV281W07L050723             AZ        Glendale
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291170   2007   WABSH   1JJV281W27L050724             MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291171   2007   WABSH   1JJV281W47L050725             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291172   2007   WABSH   1JJV281W67L050726             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291174   2007   WABSH   1JJV281WX7L050728             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291175   2007   WABSH   1JJV281W17L050729             MN        Duluth
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291176   2007   WABSH   1JJV281W87L050730             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291177   2007   WABSH   1JJV281WX7L050731             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291178   2007   WABSH   1JJV281W17L050732             CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291179   2007   WABSH   1JJV281W37L050733             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291180   2007   WABSH   1JJV281W57L050734             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291182   2007   WABSH   1JJV281W97L050736             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291185   2007   WABSH   1JJV281W47L050739             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291186   2007   WABSH   1JJV281W07L050740             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291187   2007   WABSH   1JJV281W27L050741             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291188   2007   WABSH   1JJV281W47L050742             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291189   2007   WABSH   1JJV281W67L050743             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291190   2007   WABSH   1JJV281W87L050744             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291191   2007   WABSH   1JJV281WX7L050745             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291193   2007   WABSH   1JJV281W37L050747             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291194   2007   WABSH   1JJV281W57L050748             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291196   2007   WABSH   1JJV281W37L050750             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291197   2007   WABSH   1JJV281W57L050751             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291198   2007   WABSH   1JJV281W77L050752             TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291199   2007   WABSH   1JJV281W97L050753             TX        Houston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291200   2007   WABSH   1JJV281W07L050754             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291201   2007   WABSH   1JJV281W27L050755             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291202   2007   WABSH   1JJV281W47L050756             OR        Portland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291203   2007   WABSH   1JJV281W67L050757             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291204   2007   WABSH   1JJV281W87L050758             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291205   2007   WABSH   1JJV281WX7L050759             NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291206   2007   WABSH   1JJV281W67L050760             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291209   2007   WABSH   1JJV281W17L050763             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291210   2007   WABSH   1JJV281W37L050764             LA        Alexandria
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291211   2007   WABSH   1JJV281W57L050765             PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291212   2007   WABSH   1JJV281W77L050766             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291213   2007   WABSH   1JJV281W97L050767             WV        Charleston
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291214   2007   WABSH   1JJV281W07L050768             ID        Twin Falls
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291215   2007   WABSH   1JJV281W27L050769             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291216   2007   WABSH   1JJV281W97L050770             MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291217   2007   WABSH   1JJV281W07L050771             IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291218   2007   WABSH   1JJV281W27L050772             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291219   2007   WABSH   1JJV281W47L050773             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291220   2007   WABSH   1JJV281W67L050774             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291221   2007   WABSH   1JJV281W87L050775             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291222   2007   WABSH   1JJV281WX7L050776             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291223   2007   WABSH   1JJV281W17L050777             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291224   2007   WABSH   1JJV281W37L050778             MI        Wayland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291225   2007   WABSH   1JJV281W57L050779             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291226   2007   WABSH   1JJV281W17L050780             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291227   2007   WABSH   1JJV281W37L050781             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291228   2007   WABSH   1JJV281W57L050782             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291229   2007   WABSH   1JJV281W77L050783             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291230   2007   WABSH   1JJV281W97L050784             RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291231   2007   WABSH   1JJV281W07L050785             NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291232   2007   WABSH   1JJV281W27L050786             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291233   2007   WABSH   1JJV281W47L050787             MD        Hagerstown
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 793 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State     City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291234   2007   WABSH   1JJV281W67L050788                TN        Memphis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291235   2007   WABSH   1JJV281W87L050789                Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291236   2007   WABSH   1JJV281W47L050790                MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291237   2007   WABSH   1JJV281W67L050791                CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291238   2007   WABSH   1JJV281W87L050792                TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291239   2007   WABSH   1JJV281WX7L050793                NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291241   2007   WABSH   1JJV281W37L050795                MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291243   2007   WABSH   1JJV281W77L050797                IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291244   2007   WABSH   1JJV281W97L050798                MI        Taylor
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291245   2007   WABSH   1JJV281W07L050799                NY        Buffalo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291246   2007   WABSH   1JJV281W37L050800                NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291247   2007   WABSH   1JJV281W57L050801                IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291248   2007   WABSH   1JJV281W77L050802                MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291249   2007   WABSH   1JJV281W97L050803                NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291250   2007   WABSH   1JJV281W07L050804                IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291251   2007   WABSH   1JJV281W27L050805                TX        Laredo
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291252   2007   WABSH   1JJV281W47L050806                WA        Seattle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291253   2007   WABSH   1JJV281W67L050807                TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291254   2007   WABSH   1JJV281W87L050808                IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291255   2007   WABSH   1JJV281WX7L050809                MS        Richland
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291256   2007   WABSH   1JJV281W67L050810                MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291257   2007   WABSH   1JJV281W87L050811                MT        Butte
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291258   2007   WABSH   1JJV281WX7L050812                CA        Orange
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291259   2007   WABSH   1JJV281W17L050813                IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291261   2007   WABSH   1JJV281W57L050815                MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291263   2007   WABSH   1JJV281W97L050817                IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291265   2007   WABSH   1JJV281W27L050819                TX        Irving
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291266   2007   WABSH   1JJV281W97L050820                IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291267   2007   WABSH   1JJV281W07L050821                TX        McAllen
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291269   2007   WABSH   1JJV281W47L050823                OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291270   2007   WABSH   1JJV281W67L050824                CA        Fresno
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291272   2007   WABSH   1JJV281WX7L050826                NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291273   2007   WABSH   1JJV281W17L050827                CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291274   2007   WABSH   1JJV281W37L050828                NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291275   2007   WABSH   1JJV281W57L050829                IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291276   2007   WABSH   1JJV281W17L050830                FL        Orlando
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291277   2007   WABSH   1JJV281W37L050831                NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291278   2007   WABSH   1JJV281W57L050832                IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291279   2007   WABSH   1JJV281W77L050833                UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291280   2007   WABSH   1JJV281W97L050834                NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291281   2007   WABSH   1JJV281W07L050835                CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291282   2007   WABSH   1JJV281W27L050836                IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291283   2007   WABSH   1JJV281W47L050837                MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291285   2007   WABSH   1JJV281W87L050839                MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291287   2007   WABSH   1JJV281W67L050841                IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291288   2007   WABSH   1JJV281W87L050842                TN        Nashville
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291289   2007   WABSH   1JJV281WX7L050843                MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291290   2007   WABSH   1JJV281W17L050844                IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291291   2007   WABSH   1JJV281W37L050845                MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291292   2007   WABSH   1JJV281W57L050846                PQ        Dorval
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291293   2007   WABSH   1JJV281W77L050847                NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291294   2007   WABSH   1JJV281W97L050848                FL        Tampa
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291295   2007   WABSH   1JJV281W07L050849                IL        Hodgkins
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291296   2007   WABSH   1JJV281W77L050850                PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐SA   RDWY291297   2007   WABSH   1JJV281W97L050851                NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY38274    1988   FRUHF   1H2V02810JH061664   FBB9FL128W   NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY41380    1989   PINES   1PNK281S1KKB33479   286BDRSWV    IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐SA   RDWY45425    1990   PINES   1PNK281SXLKB38875   286BDRSWV    CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐SA   RDWY45576    1990   PINES   1PNK281S3LKB39026   286BDRSWV    IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐SA   RDWY45631    1990   PINES   1PNK281S0LKB39081   286BDRSWV    CA        Tracy
 YRCF     ROAD TRAILER     RTL‐SA   RDWY45703    1990   PINES   1PNK281SXLKB39153   286BDRSWV    OH        Akron
 YRCF     ROAD TRAILER     RTL‐SA   RDWY45710    1990   PINES   1PNK281S7LKB39160   286BDRSWV    CA        Gardena
 YRCF     ROAD TRAILER     RTL‐SA   RDWY899538   2004   GRTDN   1GRAA56154K257654                IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251111   2001   WABSH   1JJV532W01L738009   1JJV         MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251135   2001   WABSH   1JJV532W01L738138   1JJV         MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251160   2001   WABSH   1JJV532WX1L669667   1JJV         UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251168   2001   WABSH   1JJV532W81L738050   1JJV         UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251178   2001   WABSH   1JJV532W31L669283   1JJV         PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251190   2001   WABSH   1JJV532W91L669546   1JJV         IL        Bolingbrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 794 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251193   2001   WABSH   1JJV532W61L737978   1JJV      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251199   2001   WABSH   1JJV532W71L738069   1JJV      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251206   2001   WABSH   1JJV532W51L738250   1JJV      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251222   2001   WABSH   1JJV532W71L738332   1JJV      IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251231   2001   WABSH   1JJV532W61L738452   1JJV      SC      Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251245   2001   WABSH   1JJV532W61L669536   1JJV      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251277   2001   WABSH   1JJV532W81L669702   1JJV      TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251294   2001   WABSH   1JJV532W51L738328   1JJV      GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251304   2001   WABSH   1JJV532WX1L738597   1JJV      NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251317   2001   WABSH   1JJV532W91L669787   1JJV      IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251322   2001   WABSH   1JJV532W81L738355   1JJV      PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251340   2001   WABSH   1JJV532W61L738418   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251403   2001   WABSH   1JJV532W31L738022   1JJV      OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251426   2001   WABSH   1JJV532W21L737976   1JJV      CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251433   2001   WABSH   1JJV532W61L669732   1JJV      TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251464   2001   WABSH   1JJV532W61L738645   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251487   2001   WABSH   1JJV532W81L669876   1JJV      MS      Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251500   2001   WABSH   1JJV532W41L738160   1JJV      IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251501   2001   WABSH   1JJV532W11L669878   1JJV      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251508   2001   WABSH   1JJV532WX1L669846   1JJV      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251511   2001   WABSH   1JJV532W11L669864   1JJV      IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251527   2001   WABSH   1JJV532W81L738484   1JJV      TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251553   2001   WABSH   1JJV532W81L669179   1JJV      OH      Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251566   2001   WABSH   1JJV532W11L738472   1JJV      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251569   2001   WABSH   1JJV532W41L738496   1JJV      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251570   2001   WABSH   1JJV532W41L669602   1JJV      GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251572   2001   WABSH   1JJV532W51L669608   1JJV      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251605   2001   WABSH   1JJV532W91L669689   1JJV      RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251606   2001   WABSH   1JJV532W51L669690   1JJV      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251607   2001   WABSH   1JJV532W01L738169   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251624   2001   WABSH   1JJV532W51L669656   1JJV      CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251628   2001   WABSH   1JJV532W61L669486   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251636   2001   WABSH   1JJV532W31L738229   1JJV      NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251647   2001   WABSH   1JJV532W71L738427   1JJV      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251651   2001   WABSH   1JJV532W11L738648   1JJV      NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251652   2001   WABSH   1JJV532W51L738264   1JJV      IA      Des Moines
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251655   2001   WABSH   1JJV532W11L669704   1JJV      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251660   2001   WABSH   1JJV532W81L738503   1JJV      PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251666   2001   WABSH   1JJV532W81L738436   1JJV      KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251667   2001   WABSH   1JJV532W61L669696   1JJV      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251689   2001   WABSH   1JJV532W91L738347   1JJV      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251707   2001   WABSH   1JJV532W01L738186   1JJV      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251716   2001   WABSH   1JJV532W51L738572   1JJV      CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251724   2001   WABSH   1JJV532W91L738011   1JJV      MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251725   2001   WABSH   1JJV532W61L669665   1JJV      NC      Fayetteville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251726   2001   WABSH   1JJV532W41L738143   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251730   2001   WABSH   1JJV532W41L669454   1JJV      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251737   2001   WABSH   1JJV532W61L669794   1JJV      GA      Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251738   2001   WABSH   1JJV532WX1L669815   1JJV      IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251745   2001   WABSH   1JJV532W31L738537   1JJV      IN      Evansville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251820   1999   LFKTR   1L01A5325X1140255   1L01      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY251978   1999   LFKTR   1L01A5326X1138076   1L01      OR      Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252005   2001   WABSH   1JJV532W81L669425   1JJV      IL      McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252006   2001   WABSH   1JJV532WX1L669426   1JJV      TX      Texarkana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252007   2001   WABSH   1JJV532W51L669432   1JJV      MS      Tupelo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252045   2001   WABSH   1JJV532W61L669102   1JJV      PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252052   2001   WABSH   1JJV532W21L669419   1JJV      TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252067   2001   WABSH   1JJV532W61L668919   1JJV      MI      Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252070   2001   WABSH   1JJV532W11L669220   1JJV      MS      Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252073   2001   WABSH   1JJV532W81L669232   1JJV      SC      Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252112   2001   WABSH   1JJV532W21L669114   1JJV      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252116   2001   WABSH   1JJV532W81L669280   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252124   2001   WABSH   1JJV532W91L669241   1JJV      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252135   2001   WABSH   1JJV532W31L669123   1JJV      TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252241   2000   WABSH   1JJV532W8YF643707   1JJV      CA      Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252252   2000   UTLTY   1UYVS2530YP395249   1UYV      GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252293   1999   MONON   1NNVX5327XM313160   1NNV      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252412   2001   TRLMB   1PT01JAH416002436   1PT       IL      McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252416   2001   TRLMB   1PT01JAH816002441   1PT       PA      Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 795 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252421   2002   TRLMB   1PT01JAH526000485   1PT          UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252424   2002   TRLMB   1PT01JAH026000488   1PT          CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252427   2002   HYUND   3H3V532C42T005064   3H3V         IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252430   2002   HYUND   3H3V532C72T005118   3H3V         OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252673   1999   GRTDN   1GRAA0620XB077501   GLEN MOORE   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY252842   2007   WABSH   1JJV532W37L092571                MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310175   2001   FRUHF   1JJV482F91F728660   NONE         CT      Plantsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310235   2001   FRUHF   1JJV482F11F728720   NONE         PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310257   2001   FRUHF   1JJV482F01F728742   NONE         KS      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310268   2003   WABSH   1JJV482W93L834613   DVCVHPC      NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310277   2003   WABSH   1JJV482WX3L834622   DVCVHPC      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310285   2003   WABSH   1JJV482W93L834630   DVCVHPC      PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310289   2003   WABSH   1JJV482W63L834634   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310296   2003   WABSH   1JJV482W33L834641   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310299   2003   WABSH   1JJV482W93L834644   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310316   2003   WABSH   1JJV482W93L834661   DVCVHPC      TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310325   2003   WABSH   1JJV482WX3L834670   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310332   2003   WABSH   1JJV482W23L834677   DVCVHPC      TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310337   2003   WABSH   1JJV482W63L834682   DVCVHPC      TX      Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310341   2003   WABSH   1JJV482W33L834686   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310347   2003   WABSH   1JJV482W93L834692   DVCVHPC      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310355   2003   WABSH   1JJV482W43L834700   DVCVHPC      FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310366   2003   WABSH   1JJV482W93L834711   DVCVHPC      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310370   2003   WABSH   1JJV482W63L834715   DVCVHPC      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310375   2003   WABSH   1JJV482WX3L834720   DVCVHPC      KY      Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310376   2003   WABSH   1JJV482W13L834721   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310377   2003   WABSH   1JJV482W33L834722   DVCVHPC      VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310379   2003   WABSH   1JJV482W73L834724   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310382   2003   WABSH   1JJV482W23L834727   DVCVHPC      MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310386   2003   WABSH   1JJV482W43L834731   DVCVHPC      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310393   2003   WABSH   1JJV482W73L834738   DVCVHPC      TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310415   2003   WABSH   1JJV482W03L834760   DVCVHPC      VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310418   2003   WABSH   1JJV482W63L834763   DVCVHPC      PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310427   2003   WABSH   1JJV482W73L834772   DVCVHPC      MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310429   2003   WABSH   1JJV482W03L834774   DVCVHPC      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310431   2003   WABSH   1JJV482W43L834776   DVCVHPC      RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310435   2003   WABSH   1JJV482W63L834780   DVCVHPC      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310448   2003   WABSH   1JJV482W43L834793   DVCVHPC      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310450   2003   WABSH   1JJV482W83L834795   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310454   2003   WABSH   1JJV482W53L834799   DVCVHPC      IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310470   2003   WABSH   1JJV482W43L849245   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310486   2003   WABSH   1JJV482W23L849261   DVCVHPC      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310490   2003   WABSH   1JJV482WX3L849265   DVCVHPC      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310492   2003   WABSH   1JJV482W33L849267   DVCVHPC      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310515   2003   WABSH   1JJV482W93L849290   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310519   2003   WABSH   1JJV482W63L849294   DVCVHPC      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310523   2003   WABSH   1JJV482W33L849298   DVCVHPC      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310526   2003   WABSH   1JJV482WX3L849301   DVCVHPC      PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310531   2003   WABSH   1JJV482W93L849306   DVCVHPC      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310533   2003   WABSH   1JJV482W23L849308   DVCVHPC      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310534   2003   WABSH   1JJV482W43L849309   DVCVHPC      NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310538   2003   WABSH   1JJV482W63L849313   DVCVHPC      FL      Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310542   2003   WABSH   1JJV482W33L849317   DVCVHPC      OH      Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310543   2003   WABSH   1JJV482W53L849318   DVCVHPC      IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310563   2003   WABSH   1JJV482W03L849338   DVCVHPC      SC      North Charleston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310565   2003   WABSH   1JJV482W93L849340   DVCVHPC      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310582   2003   WABSH   1JJV482W43L849357   DVCVHPC      MA      Shrewsbury
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310585   2003   WABSH   1JJV482W43L849360   DVCVHPC      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310609   2003   WABSH   1JJV482W73L849384   DVCVHPC      TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310619   2003   WABSH   1JJV482WX3L849394   DVCVHPC      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310623   2003   WABSH   1JJV482W73L849398   DVCVHPC      RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310625   2003   WABSH   1JJV482W13L849400   DVCVHPC      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310628   2003   WABSH   1JJV482W73L849403   DVCVHPC      TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310636   2003   WABSH   1JJV482W63L849411   DVCVHPC      VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310640   2003   WABSH   1JJV482W33L849415   DVCVHPC      PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310642   2003   WABSH   1JJV482W73L849417   DVCVHPC      IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310662   2003   WABSH   1JJV482W23L849437   DVCVHPC      CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310669   2003   WABSH   1JJV482WX3L849444   DVCVHPC      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310680   2003   WABSH   1JJV482W43L849455   DVCVHPC      SD      Watertown
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 796 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310687   2003   WABSH   1JJV482W13L849462   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310688   2003   WABSH   1JJV482W33L849463   DVCVHPC   CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310694   2003   WABSH   1JJV482W43L849469   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310695   2003   WABSH   1JJV482W03L849470   DVCVHPC   WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310696   2003   WABSH   1JJV482W23L849471   DVCVHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310702   2003   WABSH   1JJV482W33L849477   DVCVHPC   NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310709   2003   WABSH   1JJV482W03L849484   DVCVHPC   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310714   2003   WABSH   1JJV482WX3L849489   DVCVHPC   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310718   2003   WABSH   1JJV482W13L849493   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310721   2003   WABSH   1JJV482W73L849496   DVCVHPC   VT      Bellows Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310722   2003   WABSH   1JJV482W93L849497   DVCVHPC   CO      Henderson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310729   2003   WABSH   1JJV482W23L849504   DVCVHPC   PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310738   2003   WABSH   1JJV482W33L849513   DVCVHPC   IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310741   2003   WABSH   1JJV482W93L849516   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310752   2003   WABSH   1JJV482W33L849527   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310755   2003   WABSH   1JJV482W33L849530   DVCVHPC   RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310770   2003   WABSH   1JJV482W53L849545   DVCVHPC   IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310772   2003   WABSH   1JJV482W93L849547   DVCVHPC   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310774   2003   WABSH   1JJV482W23L849549   DVCVHPC   NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310786   2003   WABSH   1JJV482W33L849561   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310792   2003   WABSH   1JJV482W43L849567   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310807   2003   WABSH   1JJV482W03L849582   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310809   2003   WABSH   1JJV482W43L849584   DVCVHPC   NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310816   2003   WABSH   1JJV482W13L849591   DVCVHPC   GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310819   2003   WABSH   1JJV482W73L849594   DVCVHPC   NY      Glenmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310820   2003   WABSH   1JJV482W93L849595   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310829   2003   WABSH   1JJV482W63L849604   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310831   2003   WABSH   1JJV482WX3L849606   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310835   2003   WABSH   1JJV482W13L849610   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310847   2003   WABSH   1JJV482W83L849622   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310859   2003   WABSH   1JJV482W43L849634   DVCVHPC   MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310863   2003   WABSH   1JJV482W13L849638   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310868   2003   WABSH   1JJV482W53L849643   DVCVHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310879   2003   WABSH   1JJV482WX3L849654   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310889   2003   WABSH   1JJV482W23L849664   DVCVHPC   OR      Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310895   2003   WABSH   1JJV482W83L849670   DVCVHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310896   2003   WABSH   1JJV482WX3L849671   DVCVHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310915   2003   WABSH   1JJV482W33L849690   DVCVHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310919   2003   WABSH   1JJV482W03L849694   DVCVHPC   PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310922   2003   WABSH   1JJV482W63L849697   DVCVHPC   PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310924   2003   WABSH   1JJV482WX3L849699   DVCVHPC   OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310927   2003   WABSH   1JJV482W63L849702   DVCVHPC   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310928   2003   WABSH   1JJV482W83L849703   DVCVHPC   IL      Quincy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310936   2003   WABSH   1JJV482W73L849711   DVCVHPC   VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310940   2003   WABSH   1JJV482W43L849715   DVCVHPC   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310944   2003   WABSH   1JJV482W13L849719   DVCVHPC   CA      Bakersfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310951   2003   WABSH   1JJV482W93L849726   DVCVHPC   VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310956   2003   WABSH   1JJV482W23L849731   DVCVHPC   MI      Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310960   2003   WABSH   1JJV482WX3L849735   DVCVHPC   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310963   2003   WABSH   1JJV482W53L849738   DVCVHPC   TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310968   2003   WABSH   1JJV482W93L849743   DVCVHPC   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310969   2003   WABSH   1JJV482W03L849744   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310977   2003   WABSH   1JJV482WX3L849752   DVCVHPC   FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310980   2003   WABSH   1JJV482W53L849755   DVCVHPC   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310982   2003   WABSH   1JJV482W93L849757   DVCVHPC   TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY310991   2003   WABSH   1JJV482WX3L849766   DVCVHPC   IL      McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311003   2003   WABSH   1JJV482W63L849778   DVCVHPC   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311004   2003   WABSH   1JJV482W83L849779   DVCVHPC   FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311011   2003   WABSH   1JJV482W53L849786   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311015   2003   WABSH   1JJV482W73L849790   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311023   2003   WABSH   1JJV482W13L849798   DVCVHPC   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311027   2003   WABSH   1JJV482WX3L849802   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311028   2003   WABSH   1JJV482W13L849803   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311033   2003   WABSH   1JJV482W03L849808   DVCVHPC   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311035   2003   WABSH   1JJV482W93L849810   DVCVHPC   VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311052   2003   WABSH   1JJV482W43L849827   DVCVHPC   WI      Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311053   2003   WABSH   1JJV482W63L849828   DVCVHPC   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311068   2000   TRLMB   1PT01JAHXY9016804             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311103   2005   WABSH   1JJV482WX5L905224             TN      Nashville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 797 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311105   2005   WABSH   1JJV482W35L905226             OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311106   2005   WABSH   1JJV482W55L905227             MS      Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311116   2005   WABSH   1JJV482W85L905237             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311119   2005   WABSH   1JJV482W85L905240             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311127   2005   WABSH   1JJV482W25L905248             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311128   2005   WABSH   1JJV482W45L905249             MN      Coon Rapids
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311145   2005   WABSH   1JJV482W45L905266             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311148   2005   WABSH   1JJV482WX5L905269             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311153   2005   WABSH   1JJV482W35L905274             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311160   2005   WABSH   1JJV482W05L905281             WY      Cheyenne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311167   2005   WABSH   1JJV482W35L905288             TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311168   2005   WABSH   1JJV482W55L905289             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311175   2005   WABSH   1JJV482W25L905296             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311182   2005   WABSH   1JJV482W65L905303             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311189   2005   WABSH   1JJV482W35L905310             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311196   2005   WABSH   1JJV482W65L905317             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311210   2005   WABSH   1JJV482W05L905331             WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311238   2005   WABSH   1JJV482W05L905359             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311239   2005   WABSH   1JJV482W75L905360             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311244   2005   WABSH   1JJV482W65L905365             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311248   2005   WABSH   1JJV482W35L905369             MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311250   2004   GRTDN   1GRAA96244K262201             TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311255   2004   GRTDN   1GRAA96234K262206             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311257   2004   GRTDN   1GRAA96274K262208             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311274   2004   GRTDN   1GRAA96274K262225             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311285   2004   GRTDN   1GRAA96214K262236             CA      San Diego
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311291   2004   GRTDN   1GRAA96274K262242             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311295   2004   GRTDN   1GRAA96244K262246             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311300   2004   GRTDN   1GRAA96284K262251             NY      Glenmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311309   2004   GRTDN   1GRAA96294K262260             FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311314   2004   GRTDN   1GRAA96284K262265             VA      Richmond
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311324   2004   GRTDN   1GRAA96204K262275             CA      San Diego
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311327   2004   GRTDN   1GRAA96264K262278             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311335   2004   GRTDN   1GRAA96254K262286             WV      Charleston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311340   2004   GRTDN   1GRAA96294K262291             FL      Fort Myers
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311341   2004   GRTDN   1GRAA96204K262292             MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311346   2004   GRTDN   1GRAA962X4K262297             CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311351   2004   GRTDN   1GRAA962X4K262302             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311352   2004   GRTDN   1GRAA96214K262303             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311369   2004   GRTDN   1GRAA96214K262320             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311375   2004   GRTDN   1GRAA96224K262326             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311384   2004   GRTDN   1GRAA96234K262335             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311393   2004   GRTDN   1GRAA96244K262344             OH      North Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311399   2004   GRTDN   1GRAA962X4K262350             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311401   2005   WABSH   1JJV482W75L913684             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311408   2005   WABSH   1JJV482W45L913691             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311441   2005   WABSH   1JJV482W45L913724             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311444   2005   WABSH   1JJV482WX5L913727             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311461   2005   WABSH   1JJV482WX5L913744             OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311471   2005   WABSH   1JJV482W25L913754             FL      Fort Myers
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311483   2005   WABSH   1JJV482W95L913766             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311485   2005   WABSH   1JJV482W25L913768             OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311489   2005   WABSH   1JJV482W45L913772             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311491   2005   WABSH   1JJV482W85L913774             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311496   2005   WABSH   1JJV482W75L913779             CA      Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311503   2005   WABSH   1JJV482W45L913786             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311505   2005   WABSH   1JJV482W85L913788             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311511   2005   WABSH   1JJV482W35L913794             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311518   2005   WABSH   1JJV482W75L913801             VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311522   2005   WABSH   1JJV482W45L913805             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311525   2005   WABSH   1JJV482WX5L913808             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311526   2005   WABSH   1JJV482W15L913809             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311527   2005   WABSH   1JJV482W85L913810             PA      Erie
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311540   2005   WABSH   1JJV482W65L913823             VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311546   2005   WABSH   1JJV482W75L913829             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311554   2005   WABSH   1JJV482W65L913837             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311561   2005   WABSH   1JJV482W35L913844             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311570   2005   WABSH   1JJV482W45L913853             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311572   2005   WABSH   1JJV482W85L913855             IL      Wheeling
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 798 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311573   2005   WABSH   1JJV482WX5L913856                  IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311575   2005   GRTDN   1GRAA96215K263081                  WV        Charleston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311576   2005   GRTDN   1GRAA96235K263082                  NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311578   2005   GRTDN   1GRAA96275K263084                  VA        Richmond
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311586   2005   GRTDN   1GRAA96265K263092                  MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311596   2005   GRTDN   1GRAA96255K263102                  ND        Bismarck
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311607   2005   GRTDN   1GRAA962X5K263113                  PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311617   2005   GRTDN   1GRAA96225K263123                  TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311622   2005   GRTDN   1GRAA96215K263128                  OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311628   2005   GRTDN   1GRAA96275K263134                  VA        Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311629   2005   GRTDN   1GRAA96295K263135                  CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311648   2005   GRTDN   1GRAA96225K263154                  MI        Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311650   2005   GRTDN   1GRAA96265K263156                  TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311653   2005   GRTDN   1GRAA96215K263159                  GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311655   2005   GRTDN   1GRAA962X5K263161                  FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311674   2005   GRTDN   1GRAA96235K263180                  TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311680   2005   GRTDN   1GRAA96245K263186                  PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311692   2005   GRTDN   1GRAA96205K263198                  TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311693   2005   GRTDN   1GRAA96225K263199                  PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311695   2005   GRTDN   1GRAA96275K263201                  IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311704   2005   GRTDN   1GRAA96285K263210                  TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311708   2005   GRTDN   1GRAA96255K263214                  OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311723   2005   GRTDN   1GRAA96275K263229                  OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311725   2005   GRTDN   1GRAA96255K263231                  VA        Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311727   2005   GRTDN   1GRAA96295K263233                  CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311735   2005   GRTDN   1GRAA96285K263241                  MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311736   2005   GRTDN   1GRAA962X5K263242                  PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311742   2005   GRTDN   1GRAA96205K263248                  CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311747   2005   GRTDN   1GRAA96245K263253                  OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311757   2006   WABSH   1JJV482W36L975715                  MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311765   2006   WABSH   1JJV482W16L988916                  PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311768   2006   WABSH   1JJV482W76L988919                  NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311784   2006   WABSH   1JJV482W56L988935                  OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311791   2006   WABSH   1JJV482W26L988942                  PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311792   2006   WABSH   1JJV482W46L988943                  CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311797   2006   WABSH   1JJV482W36L988948                  PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311805   2006   WABSH   1JJV482W26L988956                  PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311831   2006   WABSH   1JJV482W36L988982                  Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311843   2006   WABSH   1JJV482WX6L988994                  TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311850   2006   WABSH   1JJV482W16L989001                  CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311852   2006   WABSH   1JJV482W56L989003                  NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311857   2006   WABSH   1JJV482W46L989008                  MD        Baltimore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311863   2006   WABSH   1JJV482WX6L989014                  NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311879   2006   WABSH   1JJV482W86L989030                  MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311885   2006   WABSH   1JJV482W96L989036                  OR        Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311889   2006   WABSH   1JJV482W06L989040                  WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311893   2006   WABSH   1JJV482W86L989044                  MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311894   2006   WABSH   1JJV482WX6L989045                  PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311896   2006   WABSH   1JJV482W36L989047                  IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311909   2006   WABSH   1JJV482W66L989060                  PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311910   2006   WABSH   1JJV482W86L989061                  PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY311915   2006   WABSH   1JJV482W76L989066                  PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY31900    2006   WABSH   1JJV532W37L026022   ************   AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY31907    2002   STRCK   1S12E95342E491383   53' W/ GATE    TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353200   2008   STGHT   1DW1A53218E047400   SEVW‐53T       IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353201   2008   STGHT   1DW1A53238E047401   SEVW‐53T       NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353202   2008   STGHT   1DW1A53258E047402   SEVW‐53T       TX        Waco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353203   2008   STGHT   1DW1A53278E047403   SEVW‐53T       CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353204   2008   STGHT   1DW1A53298E047404   SEVW‐53T       VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353205   2008   STGHT   1DW1A53208E047405   SEVW‐53T       IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353206   2008   STGHT   1DW1A53228E047406   SEVW‐53T       OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353207   2008   STGHT   1DW1A53248E047407   SEVW‐53T       CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353209   2008   STGHT   1DW1A53288E047409   SEVW‐53T       IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353210   2008   STGHT   1DW1A53248E047410   SEVW‐53T       MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353211   2008   STGHT   1DW1A53268E047411   SEVW‐53T       WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353214   2008   STGHT   1DW1A53218E047414   SEVW‐53T       CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353215   2008   STGHT   1DW1A53238E047415   SEVW‐53T       VA        Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353216   2008   STGHT   1DW1A53258E047416   SEVW‐53T       MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353217   2008   STGHT   1DW1A53278E047417   SEVW‐53T       PA        Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 799 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353218   2008   STGHT   1DW1A53298E047418   SEVW‐53T   TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353219   2008   STGHT   1DW1A53208E047419   SEVW‐53T   WI             Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353220   2008   STGHT   1DW1A53278E047420   SEVW‐53T   PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353223   2008   STGHT   1DW1A53228E047423   SEVW‐53T   IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353224   2008   STGHT   1DW1A53248E047424   SEVW‐53T   ND             Minot
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353225   2008   STGHT   1DW1A53268E047425   SEVW‐53T   OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353226   2008   STGHT   1DW1A53288E047426   SEVW‐53T   MI             Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353227   2008   STGHT   1DW1A532X8E047427   SEVW‐53T   GA             Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353228   2008   STGHT   1DW1A53218E047428   SEVW‐53T   FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353229   2008   STGHT   1DW1A53238E047429   SEVW‐53T   NE             Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353230   2008   STGHT   1DW1A532X8E047430   SEVW‐53T   IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353232   2008   STGHT   1DW1A53238E047432   SEVW‐53T   IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353233   2008   STGHT   1DW1A53258E047433   SEVW‐53T   IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353234   2008   STGHT   1DW1A53278E047434   SEVW‐53T   TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353237   2008   STGHT   1DW1A53228E047437   SEVW‐53T   PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353239   2008   STGHT   1DW1A53268E047439   SEVW‐53T   TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353244   2008   STGHT   1DW1A532X8E047444   SEVW‐53T   IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353246   2008   STGHT   1DW1A53238E047446   SEVW‐53T   SC             Florence
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353248   2008   STGHT   1DW1A53278E047448   SEVW‐53T   OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353249   2008   STGHT   1DW1A53298E047449   SEVW‐53T   IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353250   2008   STGHT   1DW1A53258E047450   SEVW‐53T   PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353251   2008   STGHT   1DW1A53278E047451   SEVW‐53T   TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353252   2008   STGHT   1DW1A53298E047452   SEVW‐53T   OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353253   2008   STGHT   1DW1A53208E047453   SEVW‐53T   MI             Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353254   2008   STGHT   1DW1A53228E047454   SEVW‐53T   NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353257   2008   STGHT   1DW1A53288E047457   SEVW‐53T   CA             Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353258   2008   STGHT   1DW1A532X8E047458   SEVW‐53T   DE             Seaford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353260   2008   STGHT   1DW1A53288E047460   SEVW‐53T   GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353261   2008   STGHT   1DW1A532X8E047461   SEVW‐53T   TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353262   2008   STGHT   1DW1A53218E047462   SEVW‐53T   OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353263   2008   STGHT   1DW1A53238E047463   SEVW‐53T   PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353264   2008   STGHT   1DW1A53258E047464   SEVW‐53T   CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353266   2008   STGHT   1DW1A53298E047466   SEVW‐53T   OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353267   2008   STGHT   1DW1A53208E047467   SEVW‐53T   CA             Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353268   2008   STGHT   1DW1A53228E047468   SEVW‐53T   CT             Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353269   2008   STGHT   1DW1A53248E047469   SEVW‐53T   GA             Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353270   2008   STGHT   1DW1A53208E047470   SEVW‐53T   AL             Decatur
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353271   2008   STGHT   1DW1A53228E047471   SEVW‐53T   IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353272   2008   STGHT   1DW1A53248E047472   SEVW‐53T   NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353273   2008   STGHT   1DW1A53268E047473   SEVW‐53T   GA             Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353276   2008   STGHT   1DW1A53218E047476   SEVW‐53T   WY             Cheyenne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353277   2008   STGHT   1DW1A53238E047477   SEVW‐53T   PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353278   2008   STGHT   1DW1A53258E047478   SEVW‐53T   NV             Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353281   2008   STGHT   1DW1A53258E047481   SEVW‐53T   CA             Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353284   2008   STGHT   1DW1A53208E047484   SEVW‐53T   CA             Calexico
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353286   2008   STGHT   1DW1A53248E047486   SEVW‐53T   IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353287   2008   STGHT   1DW1A53268E047487   SEVW‐53T   PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353289   2008   STGHT   1DW1A532X8E047489   SEVW‐53T   FL             Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353290   2008   STGHT   1DW1A53268E047490   SEVW‐53T   IL             Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353291   2008   STGHT   1DW1A53288E047491   SEVW‐53T   MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353292   2008   STGHT   1DW1A532X8E047492   SEVW‐53T   TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353293   2008   STGHT   1DW1A53218E047493   SEVW‐53T   FL             Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353294   2008   STGHT   1DW1A53238E047494   SEVW‐53T   GA             Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353295   2008   STGHT   1DW1A53258E047495   SEVW‐53T   TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353296   2008   STGHT   1DW1A53278E047496   SEVW‐53T   TX             Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353297   2008   STGHT   1DW1A53298E047497   SEVW‐53T   TX             Texarkana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353298   2008   STGHT   1DW1A53208E047498   SEVW‐53T   TX             Texarkana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY353299   2008   STGHT   1DW1A53228E047499   SEVW‐53T   TN             Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390000   2009   GRTDN   1GRAP06239T551792   CPL‐3313   Ontario        Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390001   2009   GRTDN   1GRAP06259T551793   CPL‐3313   MD             Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390004   2009   GRTDN   1GRAP06209T551796   CPL‐3313   NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390005   2009   GRTDN   1GRAP06229T551797   CPL‐3313   IL             Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390006   2009   GRTDN   1GRAP06249T551798   CPL‐3313   OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390007   2009   GRTDN   1GRAP06269T551799   CPL‐3313   AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390008   2009   GRTDN   1GRAP06299T551800   CPL‐3313   MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390009   2009   GRTDN   1GRAP06209T551801   CPL‐3313   Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390010   2009   GRTDN   1GRAP06229T551802   CPL‐3313   WA             Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390011   2009   GRTDN   1GRAP06249T551803   CPL‐3313   Alberta        Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390012   2009   GRTDN   1GRAP06269T551804   CPL‐3313   NY             Elmira
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 800 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State            City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390013   2009   GRTDN   1GRAP06289T551805   CPL‐3313   TX               Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390014   2009   GRTDN   1GRAP062X9T551806   CPL‐3313   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390015   2009   GRTDN   1GRAP06219T551807   CPL‐3313   PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390016   2009   GRTDN   1GRAP06239T551808   CPL‐3313   OH               Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390017   2009   GRTDN   1GRAP06259T551809   CPL‐3313   OH               Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390018   2009   GRTDN   1GRAP06219T551810   CPL‐3313   Manitoba         Winnipeg
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390019   2009   GRTDN   1GRAP06239T551811   CPL‐3313   WI               Madison
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390020   2009   GRTDN   1GRAP06259T551812   CPL‐3313   LA               New Orleans
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390021   2009   GRTDN   1GRAP06279T551813   CPL‐3313   TX               Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390022   2009   GRTDN   1GRAP06299T551814   CPL‐3313   NV               Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390023   2009   GRTDN   1GRAP06209T551815   CPL‐3313   IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390024   2009   GRTDN   1GRAP06229T551816   CPL‐3313   GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390025   2009   GRTDN   1GRAP06249T551817   CPL‐3313   IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390026   2009   GRTDN   1GRAP06269T551818   CPL‐3313   CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390027   2009   GRTDN   1GRAP06289T551819   CPL‐3313   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390029   2009   GRTDN   1GRAP06269T551821   CPL‐3313   NE               Kearney
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390030   2009   GRTDN   1GRAP06289T551822   CPL‐3313   MI               Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390031   2009   GRTDN   1GRAP062X9T551823   CPL‐3313   TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390032   2009   GRTDN   1GRAP06219T551824   CPL‐3313   MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390033   2009   GRTDN   1GRAP06239T551825   CPL‐3313   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390034   2009   GRTDN   1GRAP06259T551826   CPL‐3313   TX               Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390035   2009   GRTDN   1GRAP06279T551827   CPL‐3313   IL               Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390036   2009   GRTDN   1GRAP06299T551828   CPL‐3313   AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390037   2009   GRTDN   1GRAP06209T551829   CPL‐3313   OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390038   2009   GRTDN   1GRAP06279T551830   CPL‐3313   IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390039   2009   GRTDN   1GRAP06299T551831   CPL‐3313   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390040   2009   GRTDN   1GRAP06209T551832   CPL‐3313   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390041   2009   GRTDN   1GRAP06229T551833   CPL‐3313   IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390042   2009   GRTDN   1GRAP06249T551834   CPL‐3313   NJ               Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390043   2009   GRTDN   1GRAP06269T551835   CPL‐3313   MS               Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390044   2009   GRTDN   1GRAP06289T551836   CPL‐3313   GA               Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390045   2009   GRTDN   1GRAP062X9T551837   CPL‐3313   OK               Tulsa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390046   2009   GRTDN   1GRAP06219T551838   CPL‐3313   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390047   2009   GRTDN   1GRAP06239T551839   CPL‐3313   NY               Williamsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390048   2009   GRTDN   1GRAP062X9T551840   CPL‐3313   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390049   2009   GRTDN   1GRAP06219T551841   CPL‐3313   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390051   2009   GRTDN   1GRAP06259T551843   CPL‐3313   KY               Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390052   2009   GRTDN   1GRAP06279T551844   CPL‐3313   CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390053   2009   GRTDN   1GRAP06299T551845   CPL‐3313   AZ               Tucson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390054   2009   GRTDN   1GRAP06209T551846   CPL‐3313   TX               Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390055   2009   GRTDN   1GRAP06229T551847   CPL‐3313   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390058   2009   GRTDN   1GRAP06229T551850   CPL‐3313   MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390059   2009   GRTDN   1GRAP06249T551851   CPL‐3313   PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390061   2009   GRTDN   1GRAP06289T551853   CPL‐3313   OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390063   2009   GRTDN   1GRAP06219T551855   CPL‐3313   British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390064   2009   GRTDN   1GRAP06239T551856   CPL‐3313   AZ               Tucson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390065   2009   GRTDN   1GRAP06259T551857   CPL‐3313   KS               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390066   2009   GRTDN   1GRAP06279T551858   CPL‐3313   IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390068   2009   GRTDN   1GRAP06259T551860   CPL‐3313   TX               Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390069   2009   GRTDN   1GRAP06279T551861   CPL‐3313   FL               Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390070   2009   GRTDN   1GRAP06299T551862   CPL‐3313   OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390071   2009   GRTDN   1GRAP06209T551863   CPL‐3313   Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390073   2009   GRTDN   1GRAP06249T551865   CPL‐3313   AL               Birmingham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390074   2009   GRTDN   1GRAP06269T551866   CPL‐3313   CT               Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390075   2009   GRTDN   1GRAP06289T551867   CPL‐3313   CA               Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390076   2009   GRTDN   1GRAP062X9T551868   CPL‐3313   TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390077   2009   GRTDN   1GRAP06219T551869   CPL‐3313   IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390079   2009   GRTDN   1GRAP062X9T551871   CPL‐3313   OH               Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390080   2009   GRTDN   1GRAP06219T551872   CPL‐3313   CA               Santa Maria
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390081   2009   GRTDN   1GRAP06239T551873   CPL‐3313   OH               Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390082   2009   GRTDN   1GRAP06259T551874   CPL‐3313   MI               Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390083   2009   GRTDN   1GRAP06279T551875   CPL‐3313   TX               McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390084   2009   GRTDN   1GRAP06299T551876   CPL‐3313   PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390086   2009   GRTDN   1GRAP96279T551878   CPL‐3313   OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390087   2009   GRTDN   1GRAP96299T551879   CPL‐3313   KY               Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390088   2009   GRTDN   1GRAP96259T551880   CPL‐3313   OH               Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390090   2009   GRTDN   1GRAP96299T551882   CPL‐3313   OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390092   2009   GRTDN   1GRAP96229T551884   CPL‐3313   CT               Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390093   2009   GRTDN   1GRAP96249T551885   CPL‐3313   OH               Richfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 801 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390094   2009   GRTDN   1GRAP96269T551886   CPL‐3313   VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390096   2009   GRTDN   1GRAP962X9T551888   CPL‐3313   SD      Watertown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390097   2009   GRTDN   1GRAP96219T551889   CPL‐3313   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390104   2009   GRTDN   1GRAP96299T551896   CPL‐3313   TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390108   2009   GRTDN   1GRAP96279T551900   CPL‐3313   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390109   2009   GRTDN   1GRAP96299T551901   CPL‐3313   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390110   2009   GRTDN   1GRAP96209T551902   CPL‐3313   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390112   2009   GRTDN   1GRAP96249T551904   CPL‐3313   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390115   2009   GRTDN   1GRAP962X9T551907   CPL‐3313   TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390116   2009   GRTDN   1GRAP96219T551908   CPL‐3313   PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390118   2009   GRTDN   1GRAP962X9T551910   CPL‐3313   TX      Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390122   2009   GRTDN   1GRAP96279T551914   CPL‐3313   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390124   2009   GRTDN   1GRAP96209T551916   CPL‐3313   NC      Raleigh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390126   2009   GRTDN   1GRAP96249T551918   CPL‐3313   OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390127   2009   GRTDN   1GRAP96269T551919   CPL‐3313   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390129   2009   GRTDN   1GRAP96249T551921   CPL‐3313   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390134   2009   GRTDN   1GRAP96239T551926   CPL‐3313   WI      Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390136   2009   GRTDN   1GRAP96279T551928   CPL‐3313   WI      Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390137   2009   GRTDN   1GRAP96299T551929   CPL‐3313   PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390141   2009   GRTDN   1GRAP96209T551933   CPL‐3313   TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390145   2009   GRTDN   1GRAP06209T553662   CPL‐3313   IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390146   2009   GRTDN   1GRAP06229T553663   CPL‐3313   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390148   2009   GRTDN   1GRAP06269T553665   CPL‐3313   KS      Salina
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390149   2009   GRTDN   1GRAP06289T553666   CPL‐3313   GA      Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390150   2009   GRTDN   1GRAP062X9T553667   CPL‐3313   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390151   2009   GRTDN   1GRAP06219T553668   CPL‐3313   MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390155   2009   GRTDN   1GRAP06239T553672   CPL‐3313   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390156   2009   GRTDN   1GRAP06259T553673   CPL‐3313   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390157   2009   GRTDN   1GRAP06279T553674   CPL‐3313   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390158   2009   GRTDN   1GRAP06299T553675   CPL‐3313   NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390159   2009   GRTDN   1GRAP06209T553676   CPL‐3313   WI      Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390160   2009   GRTDN   1GRAP06229T553677   CPL‐3313   PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390161   2009   GRTDN   1GRAP06249T553678   CPL‐3313   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390162   2009   GRTDN   1GRAP06269T553679   CPL‐3313   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390164   2009   GRTDN   1GRAP06249T553681   CPL‐3313   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390165   2009   GRTDN   1GRAP06269T553682   CPL‐3313   RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390166   2009   GRTDN   1GRAP06289T553683   CPL‐3313   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390167   2009   GRTDN   1GRAP062X9T553684   CPL‐3313   IL      McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390169   2009   GRTDN   1GRAP06239T553686   CPL‐3313   NY      Glenmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390171   2009   GRTDN   1GRAP06279T553688   CPL‐3313   KY      Paducah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390172   2009   GRTDN   1GRAP06299T553689   CPL‐3313   IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390174   2009   GRTDN   1GRAP06279T553691   CPL‐3313   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390175   2009   GRTDN   1GRAP06299T553692   CPL‐3313   TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390176   2009   GRTDN   1GRAP06209T553693   CPL‐3313   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390177   2009   GRTDN   1GRAP06229T553694   CPL‐3313   GA      Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390179   2009   GRTDN   1GRAP06269T553696   CPL‐3313   NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390182   2009   GRTDN   1GRAP06219T553699   CPL‐3313   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390183   2009   GRTDN   1GRAP06249T553700   CPL‐3313   PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390184   2009   GRTDN   1GRAP06269T553701   CPL‐3313   CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390185   2009   GRTDN   1GRAP06289T553702   CPL‐3313   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390190   2009   GRTDN   1GRAP06279T553707   CPL‐3313   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390191   2009   GRTDN   1GRAP06299T553708   CPL‐3313   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390192   2009   GRTDN   1GRAP06209T553709   CPL‐3313   CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390193   2009   GRTDN   1GRAP06279T553710   CPL‐3313   OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390195   2009   GRTDN   1GRAP06209T553712   CPL‐3313   NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390196   2009   GRTDN   1GRAP06229T553713   CPL‐3313   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390199   2009   GRTDN   1GRAP06289T553716   CPL‐3313   GA      Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390200   2009   GRTDN   1GRAP062X9T553717   CPL‐3313   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390201   2009   GRTDN   1GRAP06219T553718   CPL‐3313   MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390202   2009   GRTDN   1GRAP06239T553719   CPL‐3313   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390203   2009   GRTDN   1GRAP062X9T553720   CPL‐3313   TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390204   2009   GRTDN   1GRAP06219T553721   CPL‐3313   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390205   2009   GRTDN   1GRAP06239T553722   CPL‐3313   OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390206   2009   GRTDN   1GRAP06259T553723   CPL‐3313   WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390208   2009   GRTDN   1GRAP06299T553725   CPL‐3313   PA      Reading
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390211   2009   GRTDN   1GRAP06249T553728   CPL‐3313   GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390212   2009   GRTDN   1GRAP06269T553729   CPL‐3313   CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390213   2009   GRTDN   1GRAP06229T553730   CPL‐3313   OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390215   2009   GRTDN   1GRAP06269T553732   CPL‐3313   OR      Portland
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 802 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390216   2009   GRTDN   1GRAP06289T553733   CPL‐3313   OR        Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390217   2009   GRTDN   1GRAP062X9T553734   CPL‐3313   PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390219   2009   GRTDN   1GRAP06239T553736   CPL‐3313   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390222   2009   GRTDN   1GRAP06299T553739   CPL‐3313   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390223   2009   GRTDN   1GRAP06259T553740   CPL‐3313   Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390226   2009   GRTDN   1GRAP06209T553743   CPL‐3313   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390227   2009   GRTDN   1GRAP06229T553744   CPL‐3313   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390229   2009   GRTDN   1GRAP06269T553746   CPL‐3313   CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390230   2009   GRTDN   1GRAP06289T553747   CPL‐3313   IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390231   2009   GRTDN   1GRAP062X9T553748   CPL‐3313   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390232   2009   GRTDN   1GRAP06219T553749   CPL‐3313   OH        Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390233   2009   GRTDN   1GRAP06289T553750   CPL‐3313   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390234   2009   GRTDN   1GRAP062X9T553751   CPL‐3313   TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390236   2009   GRTDN   1GRAP06239T553753   CPL‐3313   IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390239   2009   GRTDN   1GRAP06299T553756   CPL‐3313   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390243   2009   WABSH   1JJV532W39L313086              PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390244   2009   WABSH   1JJV532W59L313087              UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390245   2009   WABSH   1JJV532W79L313088              GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390246   2009   WABSH   1JJV532W99L313089              WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390247   2009   WABSH   1JJV532W59L313090              IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390248   2009   WABSH   1JJV532W79L313091              MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390249   2009   WABSH   1JJV532W99L313092              TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390251   2009   WABSH   1JJV532W29L313094              NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390252   2009   WABSH   1JJV532W49L313095              MD        Elkridge
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390254   2009   WABSH   1JJV532W89L313097              PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390255   2009   WABSH   1JJV532WX9L313098              PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390257   2009   WABSH   1JJV532W49L313100              NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390258   2009   WABSH   1JJV532W69L313101              WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390262   2009   WABSH   1JJV532W39L313105              AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390267   2009   WABSH   1JJV532W79L313110              CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390268   2009   WABSH   1JJV532W99L313111              NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390271   2009   WABSH   1JJV532W49L313114              GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390272   2009   WABSH   1JJV532W69L313115              PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390273   2009   WABSH   1JJV532W89L313116              NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390275   2009   WABSH   1JJV532W19L313118              PA        Erie
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390277   2009   WABSH   1JJV532WX9L313120              TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390279   2009   WABSH   1JJV532W39L313122              TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390285   2009   WABSH   1JJV532W49L313128              PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390286   2009   WABSH   1JJV532W69L313129              MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390290   2009   WABSH   1JJV532W89L313133              OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390292   2009   WABSH   1JJV532W19L313135              ND        Bismarck
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390294   2009   WABSH   1JJV532W59L313137              CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390295   2009   WABSH   1JJV532W79L313138              OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390296   2009   WABSH   1JJV532W99L313139              OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390298   2009   WABSH   1JJV532W79L313141              TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390299   2009   WABSH   1JJV532W99L313142              NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390301   2009   WABSH   1JJV532W29L313144              NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390302   2009   WABSH   1JJV532W49L313145              NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390304   2009   WABSH   1JJV532W89L313147              TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390305   2009   WABSH   1JJV532WX9L313148              OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390306   2009   WABSH   1JJV532W19L313149              CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390307   2009   WABSH   1JJV532W89L313150              TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390308   2009   WABSH   1JJV532WX9L313151              PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390309   2009   WABSH   1JJV532W19L313152              MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390310   2009   WABSH   1JJV532W39L313153              CA        Calexico
 YRCF     ROAD TRAILER     RTL‐TA   RDWY390311   2009   WABSH   1JJV532W59L313154              KS        Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410204   1998   UTLTY   1UYVS2483WP676908              TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410223   2000   STGHT   1DW1A4822YS376109              MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410251   2001   STGHT   1DW1A48251S443209              IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410256   2001   STGHT   1DW1A48261S427813              PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410267   2001   STGHT   1DW1A48231S501740              CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410319   2001   STRCK   1S12E94861D466941              GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410338   2001   STRCK   1S12E948X1D466960              NJ        Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410342   2001   STRCK   1S12E94871D466964              CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410345   2001   STRCK   1S12E94821D466967              IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410349   2001   STRCK   1S12E94841D466971              PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410359   2001   STRCK   1S12E94871D466981              OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY410366   2004   WABSH   1JJV532WX4L887712              OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430039   1999   LFKTR   1L01A5324X1140389              GA        Ellenwood
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 803 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430059   2001   WABSH   1JJV532W01L669662             CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430060   2001   WABSH   1JJV532W81L738162             TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430062   2001   WABSH   1JJV532W91L737974             TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430064   2001   WABSH   1JJV532W01L738317             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430065   2001   WABSH   1JJV532WX1L738583             IN             Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430067   2001   WABSH   1JJV532W21L669405             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430073   2001   WABSH   1JJV532W01L738446             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430084   2001   WABSH   1JJV532W51L738118             OH             North Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430085   2001   WABSH   1JJV532WX1L738535             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430087   2001   WABSH   1JJV532W61L738001             IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430088   2001   WABSH   1JJV532W01L738012             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430090   2001   WABSH   1JJV532W01L738561             IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430092   2001   WABSH   1JJV532W91L669532             FL             Tampa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430096   2001   WABSH   1JJV532W11L738066             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430098   2001   WABSH   1JJV532W31L738232             IL             Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430105   2001   WABSH   1JJV532W91L669448             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430111   2001   WABSH   1JJV532W41L738577             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430112   2001   WABSH   1JJV532W21L738528             OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430116   2001   WABSH   1JJV532W21L738156             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430117   2001   WABSH   1JJV532W61L738368             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430131   2001   WABSH   1JJV532W21L738142             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430142   2001   WABSH   1JJV532W71L738184             CA             Hayward
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430146   2001   WABSH   1JJV532W81L738386             TX             Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430147   2001   WABSH   1JJV532W61L738662             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430156   2001   WABSH   1JJV532W91L738445             FL             Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430161   2001   WABSH   1JJV532W81L669733             NJ             Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430163   2001   WABSH   1JJV532W31L738084             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430168   2001   WABSH   1JJV532W01L669645             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430179   2001   WABSH   1JJV532W71L738220             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430181   2001   WABSH   1JJV532W31L669302             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430190   2001   WABSH   1JJV532W31L669719             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430195   2001   WABSH   1JJV532W21L738416             IL             Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430199   2001   WABSH   1JJV532W21L669839             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430204   2001   WABSH   1JJV532W31L669879             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430205   2001   WABSH   1JJV532W61L738029             OH             Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430207   2001   WABSH   1JJV532W01L669502             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430209   2001   WABSH   1JJV532W11L669783             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430246   2001   WABSH   1JJV532WX1L669572             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430248   2001   WABSH   1JJV532W51L738524             NV             Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430257   2001   WABSH   1JJV532W01L669855             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430261   2001   WABSH   1JJV532W91L738509             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430262   2001   WABSH   1JJV532WX1L738521             TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430265   2001   WABSH   1JJV532WX1L738356             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430267   2001   WABSH   1JJV532W91L738364             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430273   2001   WABSH   1JJV532W11L738049             PA             Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430280   2001   WABSH   1JJV532W81L738646             PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430284   2001   WABSH   1JJV532W61L738225             CT             Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430286   2001   WABSH   1JJV532W51L738104             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430287   2001   WABSH   1JJV532W41L738109             Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430291   2001   WABSH   1JJV532WX1L737997             TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430292   2001   WABSH   1JJV532W51L738247             WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430295   2001   WABSH   1JJV532W31L738442             CA             West Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430310   2001   WABSH   1JJV532W71L738590             IL             McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430319   2001   WABSH   1JJV532W31L738649             TX             Waco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430320   2001   WABSH   1JJV532W71L669867             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430321   2001   WABSH   1JJV532W11L669671             OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430322   2001   WABSH   1JJV532W01L669869             WI             Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430324   2001   WABSH   1JJV532WX1L738602             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430326   2001   WABSH   1JJV532W11L738603             IL             McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430327   2001   WABSH   1JJV532W61L738175             MN             Coon Rapids
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430338   2001   WABSH   1JJV532W81L738498             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430350   2001   WABSH   1JJV532W21L738111             MS             Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430355   2001   WABSH   1JJV532W11L738326             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430356   2001   WABSH   1JJV532W71L669819             OH             Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430362   2001   WABSH   1JJV532W01L669160             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430365   2001   WABSH   1JJV532WX1L738342             VA             Chesapeake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430374   2001   WABSH   1JJV532W11L738178             IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430376   2001   WABSH   1JJV532WX1L738468             NY             Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430380   2001   WABSH   1JJV532W71L737973             Ontario        Mississauga
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 804 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430381   2001   WABSH   1JJV532W81L669778             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430382   2001   WABSH   1JJV532W91L738557             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430387   2001   WABSH   1JJV532W51L738121             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430389   2001   WABSH   1JJV532W01L738365             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430395   2001   WABSH   1JJV532W11L669749             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430399   2001   WABSH   1JJV532W41L738403             MI        Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430404   2001   WABSH   1JJV532W61L669729             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430411   2001   WABSH   1JJV532W71L738251             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430412   2001   WABSH   1JJV532W41L669339             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430416   2001   WABSH   1JJV532W61L669830             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430417   2001   WABSH   1JJV532W41L738126             PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430423   2001   WABSH   1JJV532W01L738351             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430424   2001   WABSH   1JJV532W31L738182             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430435   2001   WABSH   1JJV532W41L669891             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430440   2001   WABSH   1JJV532W61L738242             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430443   2001   WABSH   1JJV532W21L669890             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430444   2001   WABSH   1JJV532W81L669554             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430450   2001   WABSH   1JJV532W21L669520             KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430468   2001   WABSH   1JJV532W91L738042             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430470   2001   WABSH   1JJV532W21L669792             OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430475   2001   WABSH   1JJV532W91L669515             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430478   2001   WABSH   1JJV532W41L738319             OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430484   2001   WABSH   1JJV532W51L738152             MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430486   2001   WABSH   1JJV532W71L738489             NY        Williamsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430494   2001   WABSH   1JJV532W81L669814             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430498   2001   WABSH   1JJV532W21L738531             NE        Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430502   2001   WABSH   1JJV532W21L738562             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430503   2001   WABSH   1JJV532W51L669723             SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430504   2001   WABSH   1JJV532W21L669727             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430512   2001   WABSH   1JJV532W41L669888             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430513   2001   WABSH   1JJV532W41L738191             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430521   2001   WABSH   1JJV532W31L738053             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430527   2001   WABSH   1JJV532W01L738401             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430537   2001   WABSH   1JJV532W71L738217             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430542   2001   WABSH   1JJV532WX1L738552             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430543   2001   WABSH   1JJV532W61L738371             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430545   2001   WABSH   1JJV532W51L669480             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430549   2001   WABSH   1JJV532W01L738043             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430551   2001   WABSH   1JJV532WX1L738518             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430552   2001   WABSH   1JJV532W51L738443             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430554   2001   WABSH   1JJV532W71L669707             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430561   2001   WABSH   1JJV532W61L738600             MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430569   2001   WABSH   1JJV532W71L738119             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430570   2001   WABSH   1JJV532W51L669835             WA        Pasco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430572   2001   WABSH   1JJV532W41L669857             MI        Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430574   2001   WABSH   1JJV532W21L738478             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430575   2001   WABSH   1JJV532WX1L669894             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430576   2001   WABSH   1JJV532W61L738032             NY        Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430577   2001   WABSH   1JJV532W51L738300             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430586   2001   WABSH   1JJV532W31L669588             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430591   2001   WABSH   1JJV532W41L737994             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430601   2001   WABSH   1JJV532W61L738015             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430602   2001   WABSH   1JJV532W11L738035             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430604   2001   WABSH   1JJV532W41L738059             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430607   2001   WABSH   1JJV532W11L738245             NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430609   2001   WABSH   1JJV532W71L669710             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430610   2001   WABSH   1JJV532W41L669745             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430614   2001   WABSH   1JJV532W21L669159             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430624   2001   WABSH   1JJV532W61L669701             CA        Gardena
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430625   2001   WABSH   1JJV532W41L738272             Ontario   Brampton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430626   2001   WABSH   1JJV532W41L669714             MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430627   2001   WABSH   1JJV532W21L669551             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430634   2001   WABSH   1JJV532W71L669870             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430641   2001   WABSH   1JJV532W11L738469             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430647   2001   WABSH   1JJV532W11L738634             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430648   2001   WABSH   1JJV532W01L738396             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430651   2001   WABSH   1JJV532W11L669895             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430653   2001   WABSH   1JJV532WX1L738339             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430655   2001   WABSH   1JJV532W11L738455             IL        Bolingbrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 805 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430656   2001   WABSH   1JJV532W91L738610             PA      Reading
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430658   2001   WABSH   1JJV532W01L738298             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430660   2001   WABSH   1JJV532W31L738313             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430661   2001   WABSH   1JJV532W91L669224             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430670   2001   WABSH   1JJV532W51L669513             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430671   2001   WABSH   1JJV532W01L669841             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430673   2001   WABSH   1JJV532W41L669812             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430676   2001   WABSH   1JJV532WX1L738406             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430682   2001   WABSH   1JJV532W11L669640             TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430684   2001   WABSH   1JJV532W01L669158             NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430686   2001   WABSH   1JJV532W91L668865             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430688   2001   WABSH   1JJV532W71L669822             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430690   2001   WABSH   1JJV532W01L669709             OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430695   2001   WABSH   1JJV532W81L669053             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430696   2001   WABSH   1JJV532W61L669620             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430697   2001   WABSH   1JJV532W41L669146             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430702   2001   WABSH   1JJV532W21L669386             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430705   2001   WABSH   1JJV532W41L669535             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430707   2001   WABSH   1JJV532W71L738105             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430712   2001   WABSH   1JJV532W91L738025             IL      Rockford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430713   2001   WABSH   1JJV532W41L669583             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430715   2001   WABSH   1JJV532W91L738218             IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430720   2001   WABSH   1JJV532W81L669859             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430726   2001   WABSH   1JJV532W71L669142             KS      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430730   2001   WABSH   1JJV532W31L738375             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430738   2003   WABSH   1JJV532W73L835131             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430743   2003   WABSH   1JJV532WX3L835172             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430745   2003   WABSH   1JJV532W93L835051             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430747   2003   WABSH   1JJV532W33L835093             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430751   2003   WABSH   1JJV532W23L834999             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430752   2003   WABSH   1JJV532W33L835000             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430759   2003   WABSH   1JJV532W83L835008             IL      McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430760   2003   WABSH   1JJV532WX3L835009             OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430768   2003   WABSH   1JJV532W23L835019             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430769   2003   WABSH   1JJV532W93L835020             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430773   2003   WABSH   1JJV532W83L835025             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430775   2003   WABSH   1JJV532W53L835029             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430776   2003   WABSH   1JJV532W13L835030             AR      Little Rock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430782   2003   WABSH   1JJV532W43L835037             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430783   2003   WABSH   1JJV532W63L835038             OR      Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430784   2003   WABSH   1JJV532W83L835039             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430785   2003   WABSH   1JJV532W43L835040             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430787   2003   WABSH   1JJV532WX3L835043             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430789   2003   WABSH   1JJV532W33L835045             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430790   2003   WABSH   1JJV532W53L835046             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430792   2003   WABSH   1JJV532W23L835053             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430793   2003   WABSH   1JJV532W43L835054             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430795   2003   WABSH   1JJV532W83L835056             FL      Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430797   2003   WABSH   1JJV532W13L835058             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430798   2003   WABSH   1JJV532W33L835059             NJ      Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430800   2003   WABSH   1JJV532W13L835061             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430803   2003   WABSH   1JJV532W03L835066             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430805   2003   WABSH   1JJV532W43L835068             GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430806   2003   WABSH   1JJV532W43L835071             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430807   2003   WABSH   1JJV532W63L835072             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430810   2003   WABSH   1JJV532W53L835077             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430813   2003   WABSH   1JJV532W53L835080             MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430814   2003   WABSH   1JJV532W93L835082             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430819   2003   WABSH   1JJV532W13L835089             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430820   2003   WABSH   1JJV532WX3L835091             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430821   2003   WABSH   1JJV532W13L835092             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430823   2003   WABSH   1JJV532W73L835095             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430827   2003   WABSH   1JJV532W73L835100             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430831   2003   WABSH   1JJV532W33L835109             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430833   2003   WABSH   1JJV532W13L835111             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430834   2003   WABSH   1JJV532W53L835113             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430835   2003   WABSH   1JJV532W73L835114             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430836   2003   WABSH   1JJV532W03L835116             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430838   2003   WABSH   1JJV532W43L835118             OH      Richfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 806 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430843   2003   WABSH   1JJV532W83L835123             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430845   2003   WABSH   1JJV532W13L835125             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430847   2003   WABSH   1JJV532W53L835127             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430848   2003   WABSH   1JJV532W93L835129             NY        Williamsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430853   2003   WABSH   1JJV532W43L835135             TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430854   2003   WABSH   1JJV532W63L835136             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430855   2003   WABSH   1JJV532W83L835137             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430858   2003   WABSH   1JJV532W83L835140             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430859   2003   WABSH   1JJV532W13L835142             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430861   2003   WABSH   1JJV532W73L835145             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430862   2003   WABSH   1JJV532W93L835146             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430866   2003   WABSH   1JJV532W23L835151             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430867   2003   WABSH   1JJV532W43L835152             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430871   2003   WABSH   1JJV532W33L835157             KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430874   2002   WABSH   1JJV532W92L815347             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430875   2002   WABSH   1JJV532W22L815349             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430880   2002   WABSH   1JJV532W52L815362             MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430882   2002   WABSH   1JJV532W62L815368             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430883   2002   WABSH   1JJV532W82L815369             MO        Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430886   2002   WABSH   1JJV532W72L815377             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430887   2002   WABSH   1JJV532W02L815379             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430888   2002   WABSH   1JJV532W02L815382             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430889   2002   WABSH   1JJV532WX2L815390             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430890   2002   WABSH   1JJV532W52L815409             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430891   2002   WABSH   1JJV532WX2L815423             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430897   2002   WABSH   1JJV532W82L815355             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430898   2002   WABSH   1JJV532W52L815359             TX        Waco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430901   2002   WABSH   1JJV532W92L815378             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430903   2002   WABSH   1JJV532W82L815386             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430904   2002   WABSH   1JJV532WX2L815387             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430905   2002   WABSH   1JJV532W12L815388             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430906   2002   WABSH   1JJV532W32L815389             TX        Waco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430909   2002   WABSH   1JJV532W02L815396             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430910   2002   WABSH   1JJV532W62L815399             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430913   2002   WABSH   1JJV532W82L815405             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430915   2002   WABSH   1JJV532W32L815408             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430917   2003   WABSH   1JJV532W43L815452             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430918   2003   WABSH   1JJV532W13L815456             OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430919   2002   WABSH   1JJV532W82L815419             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430924   2002   WABSH   1JJV532WX2L815437             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430929   2003   WABSH   1JJV532W43L815466             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430930   2003   WABSH   1JJV532W63L815467             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430932   2002   WABSH   1JJV532W92L815350             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430933   2002   WABSH   1JJV532W42L815367             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430934   2002   WABSH   1JJV532W62L815371             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430935   2002   WABSH   1JJV532W52L815376             CT        Plantsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430936   2002   WABSH   1JJV532W22L815383             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430937   2002   WABSH   1JJV532W42L815384             IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430939   2002   WABSH   1JJV532W62L815404             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430941   2002   WABSH   1JJV532W52L815412             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430944   2002   WABSH   1JJV532WX2L815373             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430945   2002   WABSH   1JJV532W92L815381             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430946   2002   WABSH   1JJV532W22L815397             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430948   2002   WABSH   1JJV532W42L815403             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430951   2002   WABSH   1JJV532W02L815432             GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430953   2003   WABSH   1JJV532W93L815477             GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430954   2003   WABSH   1JJV532WX3L815455             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430955   2003   WABSH   1JJV532W23L815529             TX        Texarkana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430957   2002   WABSH   1JJV532W22L815416             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430958   2002   WABSH   1JJV532W12L815424             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430962   2003   WABSH   1JJV532W83L815485             NJ        Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430964   2002   WABSH   1JJV532W42L815380             TA        Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430965   2002   WABSH   1JJV532W42L815398             KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430966   2002   WABSH   1JJV532W03L815500             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430967   2002   WABSH   1JJV532W72L815413             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430969   2002   WABSH   1JJV532W62L815421             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430970   2002   WABSH   1JJV532W82L815422             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430973   2002   WABSH   1JJV532WX2L815440             OH        Gallipolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430974   2002   WABSH   1JJV532W12L815441             CA        Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 807 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430975   2002   WABSH   1JJV532W32L815442             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430977   2002   WABSH   1JJV532W22L815447             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430978   2002   WABSH   1JJV532W22L815450             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430980   2003   WABSH   1JJV532W73L815462             AL      Decatur
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430985   2003   WABSH   1JJV532WX3L815486             SC      Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430990   2003   WABSH   1JJV532W33L815538             PA      Line Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430991   2003   WABSH   1JJV532W83L815552             MS      Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY430993   2003   WABSH   1JJV532W73L815560             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431001   2003   WABSH   1JJV532WX3L815536             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431002   2003   WABSH   1JJV532W03L815545             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431004   2003   WABSH   1JJV532W83L815566             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431006   2003   WABSH   1JJV532W43L815578             SC      Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431007   2003   WABSH   1JJV532W23L815580             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431009   2003   WABSH   1JJV532WX3L815603             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431012   2003   WABSH   1JJV532W83L815504             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431013   2003   WABSH   1JJV532WX3L815620             GA      Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431015   2003   WABSH   1JJV532W93L815639             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431016   2003   WABSH   1JJV532W53L815640             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431017   2003   WABSH   1JJV532W83L815647             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431019   2003   WABSH   1JJV532W03L815657             WI      Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431020   2003   WABSH   1JJV532W23L815658             TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431021   2003   WABSH   1JJV532W73L815669             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431023   2003   WABSH   1JJV532W53L815671             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431025   2003   WABSH   1JJV532W43L815676             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431029   2003   WABSH   1JJV532W13L815490             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431031   2003   WABSH   1JJV532W33L815555             TA      Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431032   2003   WABSH   1JJV532W83L815583             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431038   2003   WABSH   1JJV532W53L815587             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431039   2003   WABSH   1JJV532W13L815599             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431040   2003   WABSH   1JJV532W63L815601             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431041   2003   WABSH   1JJV532W73L815607             FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431043   2003   WABSH   1JJV532WX3L815648             NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431045   2003   WABSH   1JJV532WX3L815696             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431047   2003   WABSH   1JJV532W03L815531             GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431049   2004   MANAC   2M592161X47093011             CT      Plantsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431050   2004   MANAC   2M592161947093033             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431052   2004   MANAC   2M592161847093038             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431054   2004   MANAC   2M592161347093044             TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431055   2004   MANAC   2M592161847093055             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431056   2004   MANAC   2M592161547093059             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431058   2004   MANAC   2M592161747093015             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431060   2004   MANAC   2M592161047093020             TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431061   2004   MANAC   2M592161247093021             NY      Maspeth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431063   2004   MANAC   2M592161247093035             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431068   2003   STGHT   1DW1A53293S644420             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431071   2003   STGHT   1DW1A53293S644515             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431073   2003   STGHT   1DW1A53243S644521             TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431080   2003   STGHT   1DW1A53273S644514             TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431082   2003   STGHT   1DW1A53223S644517             OH      Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431083   2003   STGHT   1DW1A53223S644520             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431084   2003   STGHT   1DW1A53203S644421             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431085   2003   STGHT   1DW1A53243S644423             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431086   2003   STGHT   1DW1A53213S644511             SC      Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431087   2003   STGHT   1DW1A53283S644523             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431090   2002   MANAC   2M592146127083320             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431093   2002   MANAC   2M592146427083344             CA      Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431094   2002   MANAC   2M592146X27083347             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431097   2002   MANAC   2M592146827083394             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431099   2002   MANAC   2M592146527083305             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431102   2002   MANAC   2M592146027083308             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431105   2002   MANAC   2M592146427083361             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431108   2002   MANAC   2M592146127083379             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431110   2002   MANAC   2M592146427083442             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431117   2002   MANAC   2M592146X27083414             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431123   2002   MANAC   2M592146927083369             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431127   2003   MANAC   2M592161837092938             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431128   2002   MANAC   2M592146027083311             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431129   2002   MANAC   2M592146527083353             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431130   2002   MANAC   2M592146X27083381             OH      Richfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 808 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431134   2002   MANAC   2M592161421085048             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431135   2003   MANAC   2M592161337092927             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431136   2003   MANAC   2M592161837092941             IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431137   2003   MANAC   2M592161537092945             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431138   2002   MANAC   2M592146427083411             TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431143   2002   MANAC   2M592146X27083316             SC      Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431144   2002   MANAC   2M592146927083386             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431146   2002   MANAC   2M592146127083432             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431150   2002   MANAC   2M592161521085012             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431155   2002   MANAC   2M592161X21085040             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431157   2002   MANAC   2M592161721085044             MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431158   2002   MANAC   2M592161221085047             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431161   2004   MANAC   2M592161X47093042             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431162   2002   MANAC   2M592161721085027             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431167   2002   MANAC   2M592161621085052             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431171   2003   MANAC   2M592161637092968             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431173   2004   MANAC   2M592161747093032             OR      Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431175   2004   MANAC   2M592161947093064             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431178   2003   MANAC   2M592161637092985             KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431179   2002   MANAC   2M592146727083323             FL      Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431180   2002   MANAC   2M592146227083326             WI      Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431183   2002   MANAC   2M592146827083377             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431184   2002   MANAC   2M592146027083387             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431185   2002   MANAC   2M592161X21085006             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431192   2002   MANAC   2M592161437092936             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431197   2002   MANAC   2M592161821085036             TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431199   2002   MANAC   2M592146227083312             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431202   2002   MANAC   2M592146627083376             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431203   2002   MANAC   2M592146227083357             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431204   2002   MANAC   2M592146527083336             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431208   2002   MANAC   2M592146227083374             TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431209   2002   MANAC   2M592146X27083364             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431210   2002   MANAC   2M592146627083328             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431211   2002   MANAC   2M592146927083341             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431212   2002   MANAC   2M592146527083319             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431214   2002   MANAC   2M592161X21085023             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431220   2003   MANAC   2M592161137092974             NY      Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431221   2003   MANAC   2M592161737092977             MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431222   2003   MANAC   2M592161237092983             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431223   2003   MANAC   2M592161337092992             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431224   2004   MANAC   2M592161747092995             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431225   2004   MANAC   2M592161347093013             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431228   2003   MANAC   2M592161237092966             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431230   2003   MANAC   2M592161437092984             MS      Olive Branch
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431232   2002   MANAC   2M592146027083373             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY431235   2003   MANAC   2M592161037092920             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530000   2007   GRTDN   1GRAA06207K286124             OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530001   2007   GRTDN   1GRAA06227K286125             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530002   2007   GRTDN   1GRAA06247K286126             PA      Bedford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530003   2007   GRTDN   1GRAA06267K286127             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530004   2007   GRTDN   1GRAA06287K286128             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530005   2007   GRTDN   1GRAA062X7K286129             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530006   2007   GRTDN   1GRAA06267K286130             OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530007   2007   GRTDN   1GRAA06287K286131             GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530009   2007   GRTDN   1GRAA06217K286133             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530010   2007   GRTDN   1GRAA06237K286134             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530011   2007   GRTDN   1GRAA06257K286135             WI      Madison
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530012   2007   GRTDN   1GRAA06277K286136             VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530013   2007   GRTDN   1GRAA06297K286137             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530014   2007   GRTDN   1GRAA06207K286138             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530015   2007   GRTDN   1GRAA06227K286139             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530016   2007   GRTDN   1GRAA06297K286140             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530017   2007   GRTDN   1GRAA06207K286141             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530019   2007   GRTDN   1GRAA06247K286143             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530020   2007   GRTDN   1GRAA06267K286144             CA      Gardena
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530021   2007   GRTDN   1GRAA06287K286145             SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530024   2007   GRTDN   1GRAA06237K286148             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530025   2007   GRTDN   1GRAA06257K286149             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530026   2007   GRTDN   1GRAA06217K286150             IN      Indianapolis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 809 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530027   2007   GRTDN   1GRAA06237K286151             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530028   2007   GRTDN   1GRAA06257K286152             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530029   2007   GRTDN   1GRAA06277K286153             AL        Decatur
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530030   2007   GRTDN   1GRAA06297K286154             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530031   2007   GRTDN   1GRAA06207K286155             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530032   2007   GRTDN   1GRAA06227K286156             GA        Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530033   2007   GRTDN   1GRAA06247K286157             CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530036   2007   GRTDN   1GRAA06247K286160             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530037   2007   GRTDN   1GRAA06267K286161             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530038   2007   GRTDN   1GRAA06287K286162             MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530039   2007   GRTDN   1GRAA062X7K286163             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530041   2007   GRTDN   1GRAA06237K286165             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530042   2007   GRTDN   1GRAA06257K286166             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530043   2007   GRTDN   1GRAA06277K286167             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530044   2007   GRTDN   1GRAA06297K286168             OH        Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530045   2007   GRTDN   1GRAA06207K286169             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530046   2007   GRTDN   1GRAA06277K286170             KS        Topeka
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530047   2007   GRTDN   1GRAA06297K286171             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530048   2007   GRTDN   1GRAA06207K286172             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530049   2007   GRTDN   1GRAA06227K286173             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530050   2007   GRTDN   1GRAA06247K286174             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530051   2007   GRTDN   1GRAA06267K286175             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530052   2007   GRTDN   1GRAA06287K286176             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530053   2007   GRTDN   1GRAA062X7K286177             IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530054   2007   GRTDN   1GRAA06217K286178             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530055   2007   GRTDN   1GRAA06237K286179             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530056   2007   GRTDN   1GRAA062X7K286180             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530057   2007   GRTDN   1GRAA06217K286181             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530058   2007   GRTDN   1GRAA06237K286182             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530059   2007   GRTDN   1GRAA06257K286183             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530060   2007   GRTDN   1GRAA06277K286184             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530061   2007   GRTDN   1GRAA06297K286185             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530062   2007   GRTDN   1GRAA06207K286186             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530063   2007   GRTDN   1GRAA06227K286187             MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530064   2007   GRTDN   1GRAA06247K286188             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530065   2007   GRTDN   1GRAA06267K286189             OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530066   2007   GRTDN   1GRAA06227K286190             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530067   2007   GRTDN   1GRAA06247K286191             MO        Sikeston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530068   2007   GRTDN   1GRAA06267K286192             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530069   2007   GRTDN   1GRAA06287K286193             SD        Rapid City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530070   2007   GRTDN   1GRAA06277G341896             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530071   2007   GRTDN   1GRAA06297G341897             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530072   2007   GRTDN   1GRAA06207G341898             CA        Bakersfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530073   2007   GRTDN   1GRAA06227G341899             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530074   2007   GRTDN   1GRAA06257G341900             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530075   2007   GRTDN   1GRAA06277G341901             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530076   2007   GRTDN   1GRAA06297G341902             NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530077   2007   GRTDN   1GRAA06207G341903             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530078   2007   GRTDN   1GRAA06227G341904             CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530079   2007   GRTDN   1GRAA06247G341905             MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530080   2007   GRTDN   1GRAA06267G341906             Ontario   Ottawa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530081   2007   GRTDN   1GRAA06287G341907             WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530082   2007   GRTDN   1GRAA062X7G341908             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530083   2007   GRTDN   1GRAA06217G341909             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530084   2007   GRTDN   1GRAA06287G341910             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530085   2007   GRTDN   1GRAA062X7G341911             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530087   2007   GRTDN   1GRAA06237G341913             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530088   2007   GRTDN   1GRAA06257G341914             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530090   2007   GRTDN   1GRAA06297G341916             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530091   2007   GRTDN   1GRAA06207G341917             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530092   2007   GRTDN   1GRAA06227G341918             OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530093   2007   GRTDN   1GRAA06247G341919             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530094   2007   GRTDN   1GRAA06207G341920             SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530095   2007   GRTDN   1GRAA06227G341921             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530096   2007   GRTDN   1GRAA06247G341922             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530097   2007   GRTDN   1GRAA06267G341923             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530098   2007   GRTDN   1GRAA06287G341924             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530099   2007   GRTDN   1GRAA062X7G341925             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530101   2007   GRTDN   1GRAA06237G341927             PA        Mountain Top
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 810 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530102   2007   GRTDN   1GRAA06257G341928             OH             Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530103   2007   GRTDN   1GRAA06277G341929             CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530105   2007   GRTDN   1GRAA06257G341931             IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530106   2007   GRTDN   1GRAA06277G341932             IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530107   2007   GRTDN   1GRAA06297G341933             TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530108   2007   GRTDN   1GRAA06207G341934             CA             Bakersfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530109   2007   GRTDN   1GRAA06227G341935             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530110   2007   GRTDN   1GRAA06247G341936             GA             Thomasville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530111   2007   GRTDN   1GRAA06267G341937             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530112   2007   GRTDN   1GRAA06287G341938             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530113   2007   GRTDN   1GRAA062X7G341939             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530114   2007   GRTDN   1GRAA06267G341940             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530115   2007   GRTDN   1GRAA06287G341941             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530116   2007   GRTDN   1GRAA062X7G341942             TN             Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530117   2007   GRTDN   1GRAA06217G341943             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530118   2007   GRTDN   1GRAA06237G341944             AZ             Nogales
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530119   2007   GRTDN   1GRAA06257G341945             UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530120   2007   GRTDN   1GRAA06277G341946             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530121   2007   GRTDN   1GRAA06297G341947             Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530122   2007   GRTDN   1GRAA06207G341948             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530123   2007   GRTDN   1GRAA06227G341949             TX             Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530124   2007   GRTDN   1GRAA06297G341950             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530125   2007   GRTDN   1GRAA06207G341951             NC             Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530126   2007   GRTDN   1GRAA06227G341952             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530128   2007   GRTDN   1GRAA06267G341954             IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530129   2007   GRTDN   1GRAA06287G341955             OH             Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530130   2007   GRTDN   1GRAA062X7G341956             UT             St. George
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530131   2007   GRTDN   1GRAA06217G341957             FL             Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530132   2007   GRTDN   1GRAA06237G341958             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530133   2007   GRTDN   1GRAA06257G341959             TX             Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530137   2007   GRTDN   1GRAA06277G341963             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530138   2007   GRTDN   1GRAA06297G341964             CA             Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530139   2007   GRTDN   1GRAA06207G341965             CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530140   2007   GRTDN   1GRAA06227G341966             OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530141   2007   GRTDN   1GRAA06247G341967             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530142   2007   GRTDN   1GRAA06267G341968             WI             Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530143   2007   GRTDN   1GRAA06287G341969             PQ             Sherbrooke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530145   2007   GRTDN   1GRAA06267G341971             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530146   2007   GRTDN   1GRAA06287G341972             IN             Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530147   2007   GRTDN   1GRAA062X7G341973             CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530148   2007   GRTDN   1GRAA06217G341974             IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530149   2007   GRTDN   1GRAA06237G341975             MD             Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530150   2007   GRTDN   1GRAA06257G341976             TX             Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530151   2007   GRTDN   1GRAA06277G341977             NJ             South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530152   2007   GRTDN   1GRAA06297G341978             MI             Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530153   2007   GRTDN   1GRAA06207G341979             TN             Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530154   2007   GRTDN   1GRAA06277G341980             WA             Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530155   2007   GRTDN   1GRAA06297G341981             CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530156   2007   GRTDN   1GRAA06207G341982             PA             Erie
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530157   2007   GRTDN   1GRAA06227G341983             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530158   2007   GRTDN   1GRAA06247G341984             PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530159   2007   GRTDN   1GRAA06267G341985             WA             Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530160   2007   GRTDN   1GRAA06287G341986             FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530161   2007   GRTDN   1GRAA062X7G341987             GA             Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530163   2007   GRTDN   1GRAA06237G341989             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530164   2007   GRTDN   1GRAA062X7G341990             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530165   2007   GRTDN   1GRAA06217G341991             CA             Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530166   2007   GRTDN   1GRAA06237G341992             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530167   2007   GRTDN   1GRAA06257G341993             TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530168   2007   GRTDN   1GRAA06277G341994             MI             Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530169   2007   GRTDN   1GRAA06297G341995             NC             Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530170   2004   STGHT   1DW1A53274S704101             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530171   2004   STGHT   1DW1A53294S704102             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530172   2004   STGHT   1DW1A53204S704103             OH             Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530173   2004   STGHT   1DW1A53224S704104             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530175   2004   STGHT   1DW1A53264S704106             TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530178   2004   STGHT   1DW1A53214S704109             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530181   2004   STGHT   1DW1A53214S704112             TN             Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530182   2004   STGHT   1DW1A53234S704113             TX             Irving
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 811 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530183   2004   STGHT   1DW1A53254S704114             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530184   2004   STGHT   1DW1A53274S704115             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530186   2004   STGHT   1DW1A53204S704117             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530189   2004   STGHT   1DW1A53204S704120             LA      Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530193   2004   STGHT   1DW1A532X4S704304             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530195   2004   STGHT   1DW1A53234S704306             UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530196   2004   STGHT   1DW1A53254S704307             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530199   2004   STGHT   1DW1A53254S704310             CA      Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530200   2004   STGHT   1DW1A53274S704311             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530206   2004   STGHT   1DW1A53284S704317             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530207   2004   STGHT   1DW1A532X4S704318             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530211   2004   STGHT   1DW1A53214S704322             GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530212   2004   STGHT   1DW1A53234S704323             OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530214   2004   STGHT   1DW1A53274S704325             GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530215   2004   STGHT   1DW1A53294S704326             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530216   2004   STGHT   1DW1A53204S704327             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530220   2004   STGHT   1DW1A53254S713301             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530222   2004   STGHT   1DW1A53294S713303             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530224   2004   STGHT   1DW1A53224S713305             RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530226   2004   STGHT   1DW1A53264S713307             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530227   2004   STGHT   1DW1A532X4S713309             IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530231   2004   STGHT   1DW1A53234S713314             OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530233   2004   STGHT   1DW1A53274S713316             KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530237   2004   STGHT   1DW1A53294S713320             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530248   2004   STGHT   1DW1A53234S713331             MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530256   2004   STGHT   1DW1A53284S713339             PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530262   2004   STGHT   1DW1A53234S713345             FL      Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530264   2004   STGHT   1DW1A53274S713347             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530268   2007   WABSH   1JJV532W57L050306             MI      Gaylord
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530269   2007   WABSH   1JJV532W77L050307             SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530270   2007   WABSH   1JJV532W97L050308             PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530271   2007   WABSH   1JJV532W07L050309             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530273   2007   WABSH   1JJV532W97L050311             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530274   2007   WABSH   1JJV532W07L050312             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530275   2007   WABSH   1JJV532W27L050313             GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530276   2007   WABSH   1JJV532W47L050314             OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530277   2007   WABSH   1JJV532W67L050315             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530279   2007   WABSH   1JJV532WX7L050317             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530280   2007   WABSH   1JJV532W17L050318             OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530281   2007   WABSH   1JJV532W37L050319             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530282   2007   WABSH   1JJV532WX7L050320             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530283   2007   WABSH   1JJV532W17L050321             OH      Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530284   2007   WABSH   1JJV532W37L050322             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530285   2007   WABSH   1JJV532W57L050323             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530288   2007   WABSH   1JJV532W07L050326             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530289   2007   WABSH   1JJV532W27L050327             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530290   2007   WABSH   1JJV532W47L050328             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530291   2007   WABSH   1JJV532W67L050329             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530292   2007   WABSH   1JJV532W27L050330             IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530293   2007   WABSH   1JJV532W47L050331             NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530294   2007   WABSH   1JJV532W67L050332             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530296   2007   WABSH   1JJV532WX7L050334             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530297   2007   WABSH   1JJV532W17L050335             NV      Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530299   2007   WABSH   1JJV532W57L050337             TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530300   2007   WABSH   1JJV532W77L050338             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530301   2007   WABSH   1JJV532W97L050339             CA      Fresno
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530302   2007   WABSH   1JJV532W57L050340             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530303   2007   WABSH   1JJV532W77L050341             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530304   2007   WABSH   1JJV532W97L050342             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530305   2007   WABSH   1JJV532W07L050343             WI      Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530306   2007   WABSH   1JJV532W27L050344             MI      Birch Run
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530307   2007   WABSH   1JJV532W47L050345             DE      Seaford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530308   2007   WABSH   1JJV532W67L050346             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530309   2007   WABSH   1JJV532W87L050347             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530310   2007   WABSH   1JJV532WX7L050348             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530311   2007   WABSH   1JJV532W17L050349             GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530312   2007   WABSH   1JJV532W87L050350             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530313   2007   WABSH   1JJV532WX7L050351             WI      Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530314   2007   WABSH   1JJV532W17L050352             GA      Marietta
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 812 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530315   2007   WABSH   1JJV532W37L050353             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530316   2007   WABSH   1JJV532W57L050354             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530317   2007   WABSH   1JJV532W77L050355             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530318   2007   WABSH   1JJV532W97L050356             GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530319   2007   WABSH   1JJV532W07L050357             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530320   2007   WABSH   1JJV532W27L050358             PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530321   2007   WABSH   1JJV532W47L050359             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530322   2007   WABSH   1JJV532W07L050360             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530323   2007   WABSH   1JJV532W27L050361             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530324   2007   WABSH   1JJV532W47L050362             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530325   2007   WABSH   1JJV532W67L050363             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530326   2007   WABSH   1JJV532W87L050364             PA        Neville Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530327   2007   WABSH   1JJV532WX7L050365             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530328   2007   WABSH   1JJV532W17L050366             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530329   2007   WABSH   1JJV532W37L050367             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530330   2007   WABSH   1JJV532W57L050368             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530331   2007   WABSH   1JJV532W77L050369             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530332   2007   WABSH   1JJV532W37L050370             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530333   2007   WABSH   1JJV532W57L050371             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530334   2007   WABSH   1JJV532W77L050372             NC        Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530335   2007   WABSH   1JJV532W97L050373             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530336   2007   WABSH   1JJV532W07L050374             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530338   2007   WABSH   1JJV532W47L050376             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530339   2007   WABSH   1JJV532W67L050377             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530340   2007   WABSH   1JJV532W87L050378             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530341   2007   WABSH   1JJV532WX7L050379             DE        Seaford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530343   2007   WABSH   1JJV532W87L050381             IN        Evansville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530344   2007   WABSH   1JJV532WX7L050382             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530345   2007   WABSH   1JJV532W17L050383             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530346   2007   WABSH   1JJV532W37L050384             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530347   2007   WABSH   1JJV532W57L050385             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530349   2007   WABSH   1JJV532W97L050387             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530350   2007   WABSH   1JJV532W07L050388             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530351   2007   WABSH   1JJV532W27L050389             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530352   2007   WABSH   1JJV532W97L050390             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530353   2007   WABSH   1JJV532W07L050391             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530354   2007   WABSH   1JJV532W27L050392             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530356   2007   WABSH   1JJV532W67L050394             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530357   2007   WABSH   1JJV532W87L050395             MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530358   2007   WABSH   1JJV532WX7L050396             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530359   2007   WABSH   1JJV532W17L050397             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530360   2007   WABSH   1JJV532W37L050398             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530361   2007   WABSH   1JJV532W57L050399             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530362   2007   WABSH   1JJV532W87L050400             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530363   2007   WABSH   1JJV532WX7L050401             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530364   2007   WABSH   1JJV532W17L050402             MI        Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530365   2007   WABSH   1JJV532W37L050403             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530366   2007   WABSH   1JJV532W57L050404             NJ        Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530367   2007   WABSH   1JJV532W77L050405             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530368   2007   WABSH   1JJV532W97L050406             AL        Mobile
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530369   2007   WABSH   1JJV532W07L050407             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530370   2007   WABSH   1JJV532W27L050408             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530371   2007   WABSH   1JJV532W47L050409             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530372   2007   WABSH   1JJV532W07L050410             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530374   2007   WABSH   1JJV532W47L050412             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530376   2007   WABSH   1JJV532W87L050414             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530377   2007   WABSH   1JJV532WX7L050415             OH        Gallipolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530378   2007   WABSH   1JJV532W17L050416             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530379   2007   WABSH   1JJV532W37L050417             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530380   2007   WABSH   1JJV532W57L050418             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530382   2007   WABSH   1JJV532W37L050420             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530383   2007   WABSH   1JJV532W57L050421             GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530384   2007   WABSH   1JJV532W77L050422             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530385   2007   WABSH   1JJV532W97L050423             KY        Paducah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530387   2007   WABSH   1JJV532W27L050425             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530388   2007   WABSH   1JJV532W47L050426             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530389   2007   WABSH   1JJV532W67L050427             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530390   2007   WABSH   1JJV532W87L050428             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530391   2007   WABSH   1JJV532WX7L050429             PA        Bethlehem
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 813 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530392   2007   WABSH   1JJV532W67L050430             GA             Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530394   2007   WABSH   1JJV532WX7L050432             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530395   2007   WABSH   1JJV532W17L050433             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530396   2007   WABSH   1JJV532W37L050434             TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530397   2007   WABSH   1JJV532W57L050435             TX             Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530399   2007   WABSH   1JJV532W97L050437             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530400   2007   WABSH   1JJV532W07L050438             NJ             Kearny
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530401   2007   WABSH   1JJV532W27L050439             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530402   2007   WABSH   1JJV532W97L050440             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530403   2007   WABSH   1JJV532W07L050441             PA             Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530404   2007   WABSH   1JJV532W27L050442             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530405   2007   WABSH   1JJV532W47L050443             SC             Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530406   2007   WABSH   1JJV532W67L050444             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530407   2007   WABSH   1JJV532W87L050445             NJ             Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530408   2007   WABSH   1JJV532WX7L050446             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530411   2007   WABSH   1JJV532W57L050449             WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530412   2007   WABSH   1JJV532W17L050450             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530413   2007   WABSH   1JJV532W37L050451             NV             Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530415   2007   WABSH   1JJV532W77L050453             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530416   2007   WABSH   1JJV532W97L050454             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530417   2007   WABSH   1JJV532W07L050455             TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530418   2007   WABSH   1JJV532W27L050456             MI             Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530420   2007   WABSH   1JJV532W67L050458             MS             Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530421   2007   WABSH   1JJV532W87L050459             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530422   2007   WABSH   1JJV532W47L050460             MD             Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530423   2007   WABSH   1JJV532W67L050461             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530424   2007   WABSH   1JJV532W87L050462             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530426   2007   WABSH   1JJV532W17L050464             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530427   2007   WABSH   1JJV532W37L050465             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530429   2007   WABSH   1JJV532W77L050467             Ontario        Ottawa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530431   2007   WABSH   1JJV532W07L050469             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530432   2007   WABSH   1JJV532W77L050470             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530433   2007   WABSH   1JJV532W97L050471             PA             Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530434   2007   WABSH   1JJV532W07L050472             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530435   2007   WABSH   1JJV532W27L050473             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530436   2007   WABSH   1JJV532W47L050474             WI             Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530437   2007   WABSH   1JJV532W67L050475             SC             Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530438   2007   WABSH   1JJV532W87L050476             WI             Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530439   2007   WABSH   1JJV532WX7L050477             UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530441   2007   WABSH   1JJV532W37L050479             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530443   2007   WABSH   1JJV532W17L050481             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530444   2007   WABSH   1JJV532W37L050482             Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530445   2007   WABSH   1JJV532W57L050483             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530446   2007   WABSH   1JJV532W77L050484             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530447   2007   WABSH   1JJV532W97L050485             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530448   2007   WABSH   1JJV532W07L050486             IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530449   2007   WABSH   1JJV532W27L050487             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530450   2007   WABSH   1JJV532W47L050488             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530451   2007   WABSH   1JJV532W67L050489             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530452   2007   WABSH   1JJV532W27L050490             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530453   2007   WABSH   1JJV532W47L050491             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530454   2007   WABSH   1JJV532W67L050492             AZ             Tucson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530455   2007   WABSH   1JJV532W87L050493             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530456   2007   WABSH   1JJV532WX7L050494             CA             Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530457   2007   WABSH   1JJV532W17L050495             IN             Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530458   2007   WABSH   1JJV532W37L050496             TX             Texarkana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530460   2007   WABSH   1JJV532W77L050498             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530461   2007   WABSH   1JJV532W97L050499             OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530462   2007   WABSH   1JJV532W17L050500             PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530463   2007   WABSH   1JJV532W37L050501             NJ             Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530464   2007   WABSH   1JJV532W57L050502             OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530465   2007   WABSH   1JJV532W77L050503             MI             Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530466   2007   WABSH   1JJV532W97L050504             TX             Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530467   2007   WABSH   1JJV532W07L050505             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530468   2007   WABSH   1JJV532W27L050506             CA             Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530469   2007   WABSH   1JJV532W47L050507             TX             Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530470   2007   WABSH   1JJV532W67L050508             MI             Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530471   2007   WABSH   1JJV532W87L050509             MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530472   2007   WABSH   1JJV532W47L050510             IN             Jeffersonville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 814 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530473   2007   WABSH   1JJV532W67L050511             PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530474   2007   WABSH   1JJV532W87L050512             IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530475   2007   WABSH   1JJV532WX7L050513             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530476   2007   WABSH   1JJV532W17L050514             WI               Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530477   2007   WABSH   1JJV532W37L050515             OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530478   2007   WABSH   1JJV532W57L050516             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530479   2007   WABSH   1JJV532W77L050517             PA               Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530480   2007   WABSH   1JJV532W97L050518             TX               Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530481   2007   WABSH   1JJV532W07L050519             Ontario          Niagara on the Lake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530482   2007   WABSH   1JJV532W77L050520             NJ               Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530483   2007   WABSH   1JJV532W97L050521             British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530485   2007   WABSH   1JJV532W27L050523             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530486   2007   WABSH   1JJV532W47L050524             VA               Richmond
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530487   2007   WABSH   1JJV532W67L050525             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530488   2007   WABSH   1JJV532W87L050526             TX               Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530490   2007   WABSH   1JJV532W17L050528             Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530491   2007   WABSH   1JJV532W37L050529             CA               Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530492   2007   WABSH   1JJV532WX7L050530             DE               New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530493   2007   WABSH   1JJV532W17L050531             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530495   2007   WABSH   1JJV532W57L050533             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530496   2007   WABSH   1JJV532W77L050534             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530497   2007   WABSH   1JJV532W97L050535             OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530498   2007   WABSH   1JJV532W07L050536             OH               Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530499   2007   WABSH   1JJV532W27L050537             IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530501   2007   WABSH   1JJV532W67L050539             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530503   2007   WABSH   1JJV532W47L050541             Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530504   2007   WABSH   1JJV532W67L050542             NJ               Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530505   2007   WABSH   1JJV532W87L050543             FL               Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530506   2007   WABSH   1JJV532WX7L050544             KY               Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530507   2007   WABSH   1JJV532W17L050545             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530508   2007   WABSH   1JJV532W37L050546             Alberta          Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530509   2007   WABSH   1JJV532W57L050547             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530510   2007   WABSH   1JJV532W77L050548             MN               Owatonna
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530511   2007   WABSH   1JJV532W97L050549             NC               Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530512   2007   WABSH   1JJV532W57L050550             NV               Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530513   2007   WABSH   1JJV532W77L050551             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530514   2007   WABSH   1JJV532W97L050552             GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530515   2007   WABSH   1JJV532W07L050553             NJ               Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530516   2007   WABSH   1JJV532W27L050554             MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530517   2007   WABSH   1JJV532W47L050555             NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530518   2007   WABSH   1JJV532W67L050556             MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530519   2007   WABSH   1JJV532W87L050557             CA               Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530520   2007   WABSH   1JJV532WX7L050558             CA               Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530521   2007   WABSH   1JJV532W17L050559             PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530522   2007   WABSH   1JJV532W87L050560             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530523   2007   WABSH   1JJV532WX7L050561             OH               Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530524   2007   WABSH   1JJV532W17L050562             TN               Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530525   2007   WABSH   1JJV532W37L050563             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530526   2007   WABSH   1JJV532W57L050564             OH               Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530529   2007   WABSH   1JJV532W07L050567             OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530530   2007   WABSH   1JJV532W27L050568             IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530531   2007   WABSH   1JJV532W47L050569             NM               Albuquerque
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530532   2007   WABSH   1JJV532W07L050570             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530533   2007   WABSH   1JJV532W27L050571             TX               McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530534   2007   WABSH   1JJV532W47L050572             WI               Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530535   2007   WABSH   1JJV532W67L050573             IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530536   2007   WABSH   1JJV532W87L050574             AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530537   2007   WABSH   1JJV532WX7L050575             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530538   2007   WABSH   1JJV532W17L050576             IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530539   2007   WABSH   1JJV532W37L050577             TX               Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530540   2007   WABSH   1JJV532W57L050578             MO               Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530541   2007   WABSH   1JJV532W77L050579             TX               Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530543   2007   WABSH   1JJV532W57L050581             OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530544   2007   WABSH   1JJV532W77L050582             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530545   2007   WABSH   1JJV532W97L050583             GA               Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530546   2007   WABSH   1JJV532W07L050584             MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530547   2007   WABSH   1JJV532W27L050585             CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530548   2007   WABSH   1JJV532W47L050586             UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530549   2007   WABSH   1JJV532W67L050587             TX               Fort Worth
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 815 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530550   2007   WABSH   1JJV532W87L050588             OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530551   2007   WABSH   1JJV532WX7L050589             OH             Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530553   2007   WABSH   1JJV532W87L050591             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530554   2007   WABSH   1JJV532WX7L050592             WI             Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530555   2007   WABSH   1JJV532W17L050593             CA             Bakersfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530556   2007   WABSH   1JJV532W37L050594             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530557   2007   WABSH   1JJV532W57L050595             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530559   2007   WABSH   1JJV532W97L050597             NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530560   2007   WABSH   1JJV532W07L050598             MI             Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530561   2007   WABSH   1JJV532W27L050599             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530562   2007   WABSH   1JJV532W57L050600             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530563   2007   WABSH   1JJV532W77L050601             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530565   2007   WABSH   1JJV532W07L050603             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530566   2007   WABSH   1JJV532W27L050604             TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530568   2007   WABSH   1JJV532W67L050606             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530569   2007   WABSH   1JJV532W87L050607             MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530570   2007   WABSH   1JJV532WX7L050608             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530571   2007   WABSH   1JJV532W17L050609             PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530572   2007   WABSH   1JJV532W87L050610             Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530573   2007   WABSH   1JJV532WX7L050611             OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530574   2007   WABSH   1JJV532W17L050612             AL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530575   2007   WABSH   1JJV532W37L050613             CA             San Diego
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530576   2007   WABSH   1JJV532W57L050614             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530579   2007   WABSH   1JJV532W07L050617             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530580   2007   WABSH   1JJV532W27L050618             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530581   2007   WABSH   1JJV532W47L050619             FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530582   2007   WABSH   1JJV532W07L050620             FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530584   2007   WABSH   1JJV532W47L050622             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530585   2007   WABSH   1JJV532W67L050623             MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530587   2007   WABSH   1JJV532WX7L050625             FL             Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530588   2007   WABSH   1JJV532W17L050626             WI             Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530589   2007   WABSH   1JJV532W37L050627             CO             Grand Junction
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530590   2007   WABSH   1JJV532W57L050628             TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530591   2007   WABSH   1JJV532W77L050629             NV             Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530592   2007   WABSH   1JJV532W37L050630             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530593   2007   WABSH   1JJV532W57L050631             IL             Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530594   2007   WABSH   1JJV532W77L050632             MN             Saint Cloud
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530596   2007   WABSH   1JJV532W07L050634             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530597   2007   WABSH   1JJV532W27L050635             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530598   2007   WABSH   1JJV532W47L050636             MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530600   2007   WABSH   1JJV532W87L050638             CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530601   2007   WABSH   1JJV532WX7L050639             IA             Council Bluffs
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530602   2007   WABSH   1JJV532W67L050640             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530603   2007   WABSH   1JJV532W87L050641             CO             Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530604   2007   WABSH   1JJV532WX7L050642             FL             Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530605   2007   WABSH   1JJV532W17L050643             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530606   2007   WABSH   1JJV532W37L050644             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530607   2007   WABSH   1JJV532W57L050645             OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530608   2007   WABSH   1JJV532W77L050646             IL             Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530609   2007   WABSH   1JJV532W97L050647             TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530610   2007   WABSH   1JJV532W07L050648             RI             Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530611   2007   WABSH   1JJV532W27L050649             TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530612   2007   WABSH   1JJV532W97L050650             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530613   2007   WABSH   1JJV532W07L050651             FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530615   2007   WABSH   1JJV532W47L050653             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530616   2007   WABSH   1JJV532W67L050654             TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530617   2007   WABSH   1JJV532W87L050655             MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530619   2007   WABSH   1JJV532W17L050657             PA             Du Bois
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530620   2007   WABSH   1JJV532W37L050658             PA             Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530621   2007   WABSH   1JJV532W57L050659             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530622   2007   WABSH   1JJV532W17L050660             TN             Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530623   2007   WABSH   1JJV532W37L050661             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530624   2007   WABSH   1JJV532W57L050662             CA             Gardena
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530625   2007   WABSH   1JJV532W77L050663             MI             Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530627   2007   WABSH   1JJV532W07L050665             MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530628   2007   WABSH   1JJV532W27L050666             IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530629   2007   WABSH   1JJV532W47L050667             GA             Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530630   2007   WABSH   1JJV532W67L050668             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530632   2007   WABSH   1JJV532W47L050670             NV             Sparks
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 816 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530635   2007   WABSH   1JJV532WX7L050673             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530636   2007   WABSH   1JJV532W17L050674             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530637   2007   WABSH   1JJV532W37L050675             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530638   2007   WABSH   1JJV532W57L050676             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530639   2007   WABSH   1JJV532W77L050677             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530640   2007   WABSH   1JJV532W97L050678             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530641   2007   WABSH   1JJV532W07L050679             MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530642   2007   WABSH   1JJV532W77L050680             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530643   2007   WABSH   1JJV532W97L050681             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530644   2007   WABSH   1JJV532W07L050682             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530645   2007   WABSH   1JJV532W27L050683             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530646   2007   WABSH   1JJV532W47L050684             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530647   2007   WABSH   1JJV532W67L050685             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530648   2007   WABSH   1JJV532W87L050686             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530649   2007   WABSH   1JJV532WX7L050687             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530650   2007   WABSH   1JJV532W17L050688             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530651   2007   WABSH   1JJV532W37L050689             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530652   2007   WABSH   1JJV532WX7L050690             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530653   2007   WABSH   1JJV532W17L050691             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530654   2007   WABSH   1JJV532W37L050692             KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530657   2007   WABSH   1JJV532W97L050695             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530658   2007   WABSH   1JJV532W07L050696             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530659   2007   WABSH   1JJV532W27L050697             AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530660   2007   WABSH   1JJV532W47L050698             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530661   2007   WABSH   1JJV532W67L050699             KS        Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530662   2007   WABSH   1JJV532W97L050700             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530664   2007   GRTDN   1GRAP06278T540602             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530665   2007   GRTDN   1GRAP06298T540603             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530666   2007   GRTDN   1GRAP06208T540604             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530667   2007   GRTDN   1GRAP06228T540605             TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530668   2007   GRTDN   1GRAP06248T540606             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530669   2007   GRTDN   1GRAP06268T540607             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530670   2007   GRTDN   1GRAP06288T540608             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530671   2007   GRTDN   1GRAP062X8T540609             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530673   2007   GRTDN   1GRAP06288T540611             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530674   2007   GRTDN   1GRAP062X8T540612             CA        Calexico
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530675   2007   GRTDN   1GRAP06218T540613             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530676   2007   GRTDN   1GRAP06238T540614             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530677   2007   GRTDN   1GRAP06258T540615             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530678   2007   GRTDN   1GRAP06278T540616             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530679   2007   GRTDN   1GRAP06298T540617             WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530680   2007   GRTDN   1GRAP06208T540618             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530681   2007   GRTDN   1GRAP06228T540619             AL        Decatur
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530682   2007   GRTDN   1GRAP06298T540620             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530683   2007   GRTDN   1GRAP06208T540621             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530684   2007   GRTDN   1GRAP06228T540622             GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530685   2007   GRTDN   1GRAP06248T540623             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530686   2007   GRTDN   1GRAP06268T540624             Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530687   2007   GRTDN   1GRAP06288T540625             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530688   2007   GRTDN   1GRAP062X8T540626             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530689   2007   GRTDN   1GRAP06218T540627             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530690   2007   GRTDN   1GRAP06238T540628             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530691   2007   GRTDN   1GRAP06258T540629             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530692   2007   GRTDN   1GRAP06218T540630             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530693   2007   GRTDN   1GRAP06238T540631             MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530694   2007   GRTDN   1GRAP06258T540632             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530695   2007   GRTDN   1GRAP06278T540633             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530696   2007   GRTDN   1GRAP06298T540634             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530697   2007   GRTDN   1GRAP06208T540635             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530698   2007   GRTDN   1GRAP06228T540636             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530699   2007   GRTDN   1GRAP06248T540637             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530700   2007   GRTDN   1GRAP06268T540638             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530701   2007   GRTDN   1GRAP06288T540639             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530702   2007   GRTDN   1GRAP06248T540640             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530703   2007   GRTDN   1GRAP06268T540641             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530704   2007   GRTDN   1GRAP06288T540642             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530705   2007   GRTDN   1GRAP062X8T540643             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530706   2007   GRTDN   1GRAP06218T540644             AL        Mobile
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530707   2007   GRTDN   1GRAP06238T540645             NM        Albuquerque
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 817 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530708   2007   GRTDN   1GRAP06258T540646             TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530709   2007   GRTDN   1GRAP06278T540647             WI        Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530710   2007   GRTDN   1GRAP06298T540648             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530711   2007   GRTDN   1GRAP06208T540649             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530712   2007   GRTDN   1GRAP06278T540650             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530713   2007   GRTDN   1GRAP06298T540651             Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530714   2008   WABSH   1JJV532W48L112408             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530716   2008   WABSH   1JJV532W28L112410             FL        Tampa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530717   2008   WABSH   1JJV532W48L112411             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530721   2008   WABSH   1JJV532W18L112415             PA        Dunmore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530722   2008   WABSH   1JJV532W38L112416             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530726   2008   WABSH   1JJV532W58L112420             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530727   2008   WABSH   1JJV532W78L112421             OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530729   2008   WABSH   1JJV532W08L112423             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530730   2008   WABSH   1JJV532W28L112424             MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530731   2008   WABSH   1JJV532W48L112425             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530732   2008   WABSH   1JJV532W68L112426             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530733   2008   WABSH   1JJV532W88L112427             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530736   2008   WABSH   1JJV532W88L112430             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530737   2008   WABSH   1JJV532WX8L112431             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530739   2008   WABSH   1JJV532W38L112433             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530741   2008   WABSH   1JJV532W78L112435             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530744   2008   WABSH   1JJV532W28L112438             TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530745   2008   WABSH   1JJV532W48L112439             NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530746   2008   WABSH   1JJV532W08L112440             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530747   2008   WABSH   1JJV532W28L112441             VA        Richmond
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530748   2008   WABSH   1JJV532W48L112442             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530750   2008   WABSH   1JJV532W88L112444             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530751   2008   WABSH   1JJV532WX8L112445             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530752   2008   WABSH   1JJV532W18L112446             AL        Mobile
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530753   2008   WABSH   1JJV532W38L112447             CA        Sun Valley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530757   2008   WABSH   1JJV532W58L112451             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530760   2008   WABSH   1JJV532W08L112454             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530765   2008   WABSH   1JJV532WX8L112459             GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530766   2008   WABSH   1JJV532W68L112460             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530767   2008   WABSH   1JJV532W88L112461             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530770   2008   WABSH   1JJV532W38L112464             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530771   2008   WABSH   1JJV532W58L112465             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530772   2008   WABSH   1JJV532W78L112466             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530773   2008   WABSH   1JJV532W98L112467             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530774   2008   WABSH   1JJV532W08L112468             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530775   2008   WABSH   1JJV532W28L112469             AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530776   2008   WABSH   1JJV532W98L112470             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530777   2008   WABSH   1JJV532W08L112471             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530778   2008   WABSH   1JJV532W28L112472             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530782   2008   WABSH   1JJV532WX8L112476             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530787   2008   WABSH   1JJV532W38L112481             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530788   2008   WABSH   1JJV532W58L112482             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530789   2008   WABSH   1JJV532W78L112483             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530790   2008   WABSH   1JJV532W98L112484             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530792   2008   WABSH   1JJV532W28L112486             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530793   2008   WABSH   1JJV532W48L112487             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530794   2008   WABSH   1JJV532W68L112488             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530796   2008   WABSH   1JJV532W48L112490             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530797   2008   WABSH   1JJV532W68L112491             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530801   2008   WABSH   1JJV532W38L112495             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530802   2008   WABSH   1JJV532W58L112496             SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530806   2008   WABSH   1JJV532W38L112500             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530810   2008   WABSH   1JJV532W08L112504             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530811   2008   WABSH   1JJV532W28L112505             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530812   2008   WABSH   1JJV532W48L112506             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530813   2008   WABSH   1JJV532W68L112507             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530814   2008   WABSH   1JJV532W88L112508             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530815   2008   WABSH   1JJV532WX8L112509             GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530817   2008   WABSH   1JJV532W88L112511             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530818   2008   WABSH   1JJV532WX8L112512             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530820   2008   WABSH   1JJV532W38L112514             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530821   2008   WABSH   1JJV532W58L112515             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530823   2008   WABSH   1JJV532W98L112517             MN        Saint Cloud
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 818 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530827   2008   WABSH   1JJV532W08L112521             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530828   2008   WABSH   1JJV532W28L112522             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530834   2008   WABSH   1JJV532W38L112528             TA        Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530835   2008   WABSH   1JJV532W58L112529             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530836   2008   WABSH   1JJV532W18L112530             MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530838   2008   WABSH   1JJV532W58L112532             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530839   2008   WABSH   1JJV532W78L112533             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530840   2008   WABSH   1JJV532W98L112534             IL        Rockford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530841   2008   WABSH   1JJV532W08L112535             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530843   2008   WABSH   1JJV532W48L112537             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530847   2008   WABSH   1JJV532W68L112541             IL        Atlanta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530848   2008   WABSH   1JJV532W88L112542             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530849   2008   WABSH   1JJV532WX8L112543             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530850   2008   WABSH   1JJV532W18L112544             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530851   2008   WABSH   1JJV532W38L112545             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530852   2008   WABSH   1JJV532W58L112546             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530855   2008   WABSH   1JJV532W08L112549             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530856   2008   WABSH   1JJV532W78L112550             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530857   2008   WABSH   1JJV532W98L112551             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530858   2008   WABSH   1JJV532W08L112552             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530859   2008   WABSH   1JJV532W28L112553             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530860   2008   WABSH   1JJV532W48L112554             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530861   2008   WABSH   1JJV532W68L112555             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530865   2008   WABSH   1JJV532W38L112559             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530866   2008   WABSH   1JJV532WX8L112560             CA        San Diego
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530867   2008   WABSH   1JJV532W18L112561             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530870   2008   WABSH   1JJV532W78L112564             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530871   2008   WABSH   1JJV532W98L112565             SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530872   2008   WABSH   1JJV532W08L112566             NY        Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530873   2008   WABSH   1JJV532W28L112567             IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530874   2008   WABSH   1JJV532W48L112568             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530877   2008   WABSH   1JJV532W48L112571             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530879   2008   WABSH   1JJV532W88L112573             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530881   2008   WABSH   1JJV532W18L112575             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530882   2008   WABSH   1JJV532W38L112576             TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530883   2008   WABSH   1JJV532W58L112577             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530889   2008   WABSH   1JJV532W08L112583             CA        Bakersfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530890   2008   WABSH   1JJV532W28L112584             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530895   2008   WABSH   1JJV532W18L112589             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530896   2008   WABSH   1JJV532W88L112590             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530897   2008   WABSH   1JJV532WX8L112591             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530898   2008   WABSH   1JJV532W18L112592             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530899   2008   WABSH   1JJV532W38L112593             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530900   2008   WABSH   1JJV532W58L112594             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530902   2008   WABSH   1JJV532W98L112596             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530903   2008   WABSH   1JJV532W08L112597             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530904   2008   WABSH   1JJV532W28L112598             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530905   2008   WABSH   1JJV532W48L112599             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530906   2008   WABSH   1JJV532W78L112600             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530907   2008   WABSH   1JJV532W98L112601             NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530910   2008   WABSH   1JJV532W48L112604             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530911   2008   WABSH   1JJV532W68L112605             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530912   2008   WABSH   1JJV532W88L112606             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530915   2008   WABSH   1JJV532W38L141821             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530916   2008   WABSH   1JJV532W58L141822             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530917   2008   WABSH   1JJV532W78L141823             GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530918   2008   WABSH   1JJV532W98L141824             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530919   2008   WABSH   1JJV532W08L141825             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530922   2008   WABSH   1JJV532W68L141828             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530923   2008   WABSH   1JJV532W88L141829             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530924   2008   WABSH   1JJV532W48L141830             TA        Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530925   2008   WABSH   1JJV532W68L141831             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530929   2008   WABSH   1JJV532W38L141835             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530930   2008   WABSH   1JJV532W58L141836             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530932   2008   WABSH   1JJV532W98L141838             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530933   2008   WABSH   1JJV532W08L141839             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530935   2008   WABSH   1JJV532W98L141841             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530938   2008   WABSH   1JJV532W48L141844             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530941   2008   WABSH   1JJV532WX8L141847             IN        Indianapolis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 819 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530943   2008   WABSH   1JJV532W38L141849             UT             St. George
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530945   2008   WABSH   1JJV532W18L141851             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530947   2008   WABSH   1JJV532W58L141853             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530948   2008   WABSH   1JJV532W78L141854             CA             Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530949   2008   WABSH   1JJV532W98L141855             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530950   2008   WABSH   1JJV532W08L141856             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530952   2008   WABSH   1JJV532W48L141858             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530953   2008   WABSH   1JJV532W68L141859             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530954   2009   WABSH   1JJV532W09L312641             MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530955   2009   WABSH   1JJV532W29L312642             WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530956   2009   WABSH   1JJV532W49L312643             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530957   2009   WABSH   1JJV532W69L312644             OH             Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530958   2009   WABSH   1JJV532W89L312645             Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530959   2009   WABSH   1JJV532WX9L312646             WA             Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530960   2009   WABSH   1JJV532W19L312647             MN             Saint Cloud
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530962   2009   WABSH   1JJV532W59L312649             IA             Sioux City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530963   2009   WABSH   1JJV532W19L312650             OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530964   2009   WABSH   1JJV532W39L312651             OH             Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530965   2009   WABSH   1JJV532W59L312652             IN             South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530966   2009   WABSH   1JJV532W79L312653             OR             Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530967   2009   WABSH   1JJV532W99L312654             PA             Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530968   2009   WABSH   1JJV532W09L312655             KS             Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530970   2009   WABSH   1JJV532W49L312657             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530971   2009   WABSH   1JJV532W69L312658             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530972   2009   WABSH   1JJV532W89L312659             TX             El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530973   2009   WABSH   1JJV532W49L312660             OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530974   2009   WABSH   1JJV532W69L312661             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530975   2009   WABSH   1JJV532W89L312662             CA             Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530976   2009   WABSH   1JJV532WX9L312663             MI             Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530977   2009   WABSH   1JJV532W19L312664             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530978   2009   WABSH   1JJV532W39L312665             PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530979   2009   WABSH   1JJV532W59L312666             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530980   2009   WABSH   1JJV532W79L312667             OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530981   2009   WABSH   1JJV532W99L312668             IN             South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530982   2009   WABSH   1JJV532W09L312669             TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530983   2009   WABSH   1JJV532W79L312670             TX             McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530984   2009   WABSH   1JJV532W99L312671             TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530985   2009   WABSH   1JJV532W09L312672             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530986   2009   WABSH   1JJV532W29L312673             MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530987   2009   WABSH   1JJV532W49L312674             WA             Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530988   2009   WABSH   1JJV532W69L312675             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530989   2009   WABSH   1JJV532W89L312676             OH             Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530990   2009   WABSH   1JJV532WX9L312677             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530991   2009   WABSH   1JJV532W19L312678             MS             Tupelo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530992   2009   WABSH   1JJV532W39L312679             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530993   2009   WABSH   1JJV532WX9L312680             NJ             Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530994   2009   WABSH   1JJV532W19L312681             CA             San Diego
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530995   2009   WABSH   1JJV532W39L312682             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530996   2009   WABSH   1JJV532W59L312683             UT             St. George
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530997   2009   WABSH   1JJV532W79L312684             IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY530998   2009   WABSH   1JJV532W99L312685             TX             Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531000   2009   WABSH   1JJV532W29L312687             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531001   2009   WABSH   1JJV532W49L312688             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531002   2009   WABSH   1JJV532W69L312689             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531003   2009   WABSH   1JJV532W29L312690             MI             Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531004   2009   WABSH   1JJV532W49L312691             WA             Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531005   2009   WABSH   1JJV532W69L312692             TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531006   2009   WABSH   1JJV532W89L312693             TN             Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531007   2009   WABSH   1JJV532WX9L312694             TX             McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531008   2009   WABSH   1JJV532W19L312695             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531009   2009   WABSH   1JJV532W39L312696             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531010   2009   WABSH   1JJV532W59L312697             PA             Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531011   2009   WABSH   1JJV532W79L312698             TX             Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531012   2009   WABSH   1JJV532W99L312699             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531013   2009   WABSH   1JJV532W19L312700             IL             Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531014   2009   WABSH   1JJV532W39L312701             GA             Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531015   2009   WABSH   1JJV532W59L312702             CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531016   2009   WABSH   1JJV532W79L312703             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531017   2009   WABSH   1JJV532W99L312704             GA             Conley
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 820 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531018   2009   WABSH   1JJV532W09L312705             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531019   2009   WABSH   1JJV532W29L312706             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531020   2009   WABSH   1JJV532W49L312707             OR        Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531021   2009   WABSH   1JJV532W69L312708             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531022   2009   WABSH   1JJV532W89L312709             CA        Ventura
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531023   2009   WABSH   1JJV532W49L312710             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531024   2009   WABSH   1JJV532W69L312711             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531025   2009   WABSH   1JJV532W89L312712             AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531026   2009   WABSH   1JJV532WX9L312713             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531027   2009   WABSH   1JJV532W19L312714             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531029   2009   WABSH   1JJV532W59L312716             CO        Colorado Springs
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531030   2009   WABSH   1JJV532W79L312717             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531031   2009   WABSH   1JJV532W99L312718             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531032   2009   WABSH   1JJV532W09L312719             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531033   2009   WABSH   1JJV532W79L312720             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531034   2009   WABSH   1JJV532W99L312721             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531035   2009   WABSH   1JJV532W09L312722             SD        Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531036   2009   WABSH   1JJV532W29L312723             MI        Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531037   2009   WABSH   1JJV532W49L312724             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531039   2009   WABSH   1JJV532W89L312726             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531040   2009   WABSH   1JJV532WX9L312727             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531041   2009   WABSH   1JJV532W19L312728             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531042   2009   WABSH   1JJV532W39L312729             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531043   2009   WABSH   1JJV532WX9L312730             GA        Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531044   2009   WABSH   1JJV532W19L312731             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531045   2009   WABSH   1JJV532W39L312732             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531046   2009   WABSH   1JJV532W59L312733             OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531047   2009   WABSH   1JJV532W79L312734             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531048   2009   WABSH   1JJV532W99L312735             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531049   2009   WABSH   1JJV532W09L312736             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531050   2009   WABSH   1JJV532W29L312737             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531051   2009   WABSH   1JJV532W49L312738             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531052   2009   WABSH   1JJV532W69L312739             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531053   2009   WABSH   1JJV532W29L312740             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531054   2009   WABSH   1JJV532W49L312741             IL        Atlanta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531055   2009   WABSH   1JJV532W69L312742             NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531056   2009   WABSH   1JJV532W89L312743             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531057   2009   WABSH   1JJV532WX9L312744             WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531058   2009   WABSH   1JJV532W19L312745             OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531059   2009   WABSH   1JJV532W39L312746             WI        Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531060   2009   WABSH   1JJV532W59L312747             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531061   2009   WABSH   1JJV532W79L312748             IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531063   2009   WABSH   1JJV532W59L312750             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531064   2009   WABSH   1JJV532W79L312751             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531065   2009   WABSH   1JJV532W99L312752             MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531066   2009   WABSH   1JJV532W09L312753             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531067   2009   WABSH   1JJV532W29L312754             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531068   2009   WABSH   1JJV532W49L312755             SD        Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531069   2009   WABSH   1JJV532W69L312756             NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531070   2009   WABSH   1JJV532W89L312757             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531071   2009   WABSH   1JJV532WX9L312758             NC        Raleigh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531072   2009   WABSH   1JJV532W19L312759             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531073   2009   WABSH   1JJV532W89L312760             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531074   2009   WABSH   1JJV532WX9L312761             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531076   2009   WABSH   1JJV532W39L312763             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531077   2009   WABSH   1JJV532W59L312764             TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531078   2009   WABSH   1JJV532W79L312765             LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531079   2009   WABSH   1JJV532W99L312766             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531080   2009   WABSH   1JJV532W09L312767             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531081   2009   WABSH   1JJV532W29L312768             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531083   2009   WABSH   1JJV532W09L312770             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531085   2009   WABSH   1JJV532W49L312772             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531086   2009   WABSH   1JJV532W69L312773             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531087   2009   WABSH   1JJV532W89L312774             CA        San Diego
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531088   2009   WABSH   1JJV532WX9L312775             VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531089   2009   WABSH   1JJV532W19L312776             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531090   2009   WABSH   1JJV532W39L312777             IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531091   2009   WABSH   1JJV532W59L312778             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531092   2009   WABSH   1JJV532W79L312779             IN        Indianapolis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 821 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531094   2009   WABSH   1JJV532W59L312781             MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531095   2009   WABSH   1JJV532W79L312782             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531096   2009   WABSH   1JJV532W99L312783             OH        Gallipolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531097   2009   WABSH   1JJV532W09L312784             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531098   2009   WABSH   1JJV532W29L312785             MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531099   2009   WABSH   1JJV532W49L312786             MA        Shrewsbury
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531100   2009   WABSH   1JJV532W69L312787             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531101   2009   WABSH   1JJV532W89L312788             IA        Mason City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531102   2009   WABSH   1JJV532WX9L312789             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531103   2009   WABSH   1JJV532W69L312790             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531104   2009   WABSH   1JJV532W89L312791             Ontario   Brampton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531105   2009   WABSH   1JJV532WX9L312792             NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531106   2009   WABSH   1JJV532W19L312793             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531107   2009   WABSH   1JJV532W39L312794             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531108   2009   WABSH   1JJV532W59L312795             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531109   2009   WABSH   1JJV532W79L312796             Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531110   2009   WABSH   1JJV532W99L312797             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531111   2009   WABSH   1JJV532W09L312798             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531112   2009   WABSH   1JJV532W29L312799             ND        Minot
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531113   2009   WABSH   1JJV532W59L312800             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531114   2009   WABSH   1JJV532W79L312801             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531115   2009   WABSH   1JJV532W99L312802             TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531116   2009   WABSH   1JJV532W09L312803             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531117   2009   WABSH   1JJV532W29L312804             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531118   2009   WABSH   1JJV532W49L312805             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531119   2009   WABSH   1JJV532W69L312806             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531120   2009   WABSH   1JJV532W89L312807             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531121   2009   WABSH   1JJV532WX9L312808             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531122   2009   WABSH   1JJV532W19L312809             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531123   2009   WABSH   1JJV532W89L312810             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531124   2009   WABSH   1JJV532WX9L312811             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531125   2009   WABSH   1JJV532W19L312812             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531126   2009   WABSH   1JJV532W39L312813             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531127   2009   WABSH   1JJV532W59L312814             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531128   2009   WABSH   1JJV532W79L312815             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531129   2009   WABSH   1JJV532W99L312816             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531130   2009   WABSH   1JJV532W09L312817             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531131   2009   WABSH   1JJV532W29L312818             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531132   2009   WABSH   1JJV532W49L312819             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531133   2009   WABSH   1JJV532W09L312820             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531134   2009   WABSH   1JJV532W29L312821             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531135   2009   WABSH   1JJV532W49L312822             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531136   2009   WABSH   1JJV532W69L312823             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531137   2009   WABSH   1JJV532W89L312824             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531138   2009   WABSH   1JJV532WX9L312825             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531139   2009   WABSH   1JJV532W19L312826             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531140   2009   WABSH   1JJV532W39L312827             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531141   2009   WABSH   1JJV532W59L312828             SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531142   2009   WABSH   1JJV532W79L312829             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531143   2009   WABSH   1JJV532W39L312830             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531144   2009   WABSH   1JJV532W59L312831             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531145   2009   WABSH   1JJV532W79L312832             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531146   2009   WABSH   1JJV532W99L312833             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531147   2009   WABSH   1JJV532W09L312834             KY        Paducah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531148   2009   WABSH   1JJV532W29L312835             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531149   2009   WABSH   1JJV532W49L312836             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531151   2009   WABSH   1JJV532W89L312838             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531152   2009   WABSH   1JJV532WX9L312839             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531153   2009   WABSH   1JJV532W69L312840             MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531154   2009   WABSH   1JJV532W89L312841             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531155   2009   WABSH   1JJV532WX9L312842             MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531156   2009   WABSH   1JJV532W19L312843             SD        Watertown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531158   2009   WABSH   1JJV532W59L312845             MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531159   2009   WABSH   1JJV532W79L312846             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531160   2009   WABSH   1JJV532W99L312847             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531161   2009   WABSH   1JJV532W09L312848             WA        Pasco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531162   2009   WABSH   1JJV532W29L312849             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531163   2009   WABSH   1JJV532W99L312850             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531164   2009   WABSH   1JJV532W09L312851             WA        Spokane
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 822 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531165   2009   WABSH   1JJV532W29L312852             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531166   2009   WABSH   1JJV532W49L312853             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531167   2009   WABSH   1JJV532W69L312854             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531168   2009   WABSH   1JJV532W89L312855             FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531169   2009   WABSH   1JJV532WX9L312856             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531170   2009   WABSH   1JJV532W19L312857             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531171   2009   WABSH   1JJV532W39L312858             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531172   2009   WABSH   1JJV532W59L312859             MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531175   2009   WABSH   1JJV532W59L312862             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531176   2009   WABSH   1JJV532W79L312863             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531177   2009   WABSH   1JJV532W99L312864             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531178   2009   WABSH   1JJV532W09L312865             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531179   2009   WABSH   1JJV532W29L312866             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531180   2009   WABSH   1JJV532W49L312867             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531181   2009   WABSH   1JJV532W69L312868             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531182   2009   WABSH   1JJV532W89L312869             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531183   2009   WABSH   1JJV532W49L312870             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531184   2009   WABSH   1JJV532W69L312871             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531185   2009   WABSH   1JJV532W89L312872             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531187   2009   WABSH   1JJV532W19L312874             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531188   2009   WABSH   1JJV532W39L312875             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531191   2009   WABSH   1JJV532W99L312878             GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531193   2009   WABSH   1JJV532W79L312880             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531194   2009   WABSH   1JJV532W99L312881             MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531196   2009   WABSH   1JJV532W29L312883             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531197   2009   WABSH   1JJV532W49L312884             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531198   2009   WABSH   1JJV532W69L312885             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531200   2009   WABSH   1JJV532WX9L312887             FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531203   2009   WABSH   1JJV532WX9L312890             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531204   2009   WABSH   1JJV532W19L312891             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531205   2009   WABSH   1JJV532W39L312892             GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531207   2009   WABSH   1JJV532W79L312894             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531209   2009   WABSH   1JJV532W09L312896             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531210   2009   WABSH   1JJV532W29L312897             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531212   2009   WABSH   1JJV532W69L312899             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531217   2009   WABSH   1JJV532W69L312904             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531218   2009   WABSH   1JJV532W89L312905             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531219   2009   WABSH   1JJV532WX9L312906             FL        Fort Myers
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531220   2009   WABSH   1JJV532W19L312907             OH        North Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531221   2009   WABSH   1JJV532W39L312908             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531222   2009   WABSH   1JJV532W59L312909             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531225   2009   WABSH   1JJV532W59L312912             MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531226   2009   WABSH   1JJV532W79L312913             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531227   2009   WABSH   1JJV532W99L312914             OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531228   2009   WABSH   1JJV532W09L312915             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531229   2009   WABSH   1JJV532W29L312916             GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531230   2009   WABSH   1JJV532W49L312917             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531232   2009   WABSH   1JJV532W89L312919             IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531233   2009   WABSH   1JJV532W49L312920             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531234   2009   WABSH   1JJV532W69L312921             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531235   2009   WABSH   1JJV532W89L312922             NY        Plainview
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531236   2009   WABSH   1JJV532WX9L312923             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531238   2009   WABSH   1JJV532W39L312925             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531239   2009   WABSH   1JJV532W59L312926             OH        Gallipolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531240   2009   WABSH   1JJV532W79L312927             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531242   2009   WABSH   1JJV532W09L312929             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531243   2009   WABSH   1JJV532W79L312930             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531245   2009   WABSH   1JJV532W09L312932             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531246   2009   WABSH   1JJV532W29L312933             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531247   2009   WABSH   1JJV532W49L312934             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531248   2009   WABSH   1JJV532W69L312935             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531249   2009   WABSH   1JJV532W89L312936             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531250   2009   WABSH   1JJV532WX9L312937             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531251   2009   WABSH   1JJV532W19L312938             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531252   2009   WABSH   1JJV532W39L312939             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531253   2009   WABSH   1JJV532WX9L312940             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531254   2009   WABSH   1JJV532W19L312941             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531256   2009   WABSH   1JJV532W59L312943             UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531258   2009   WABSH   1JJV532W99L312945             NC        Charlotte
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 823 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531259   2009   WABSH   1JJV532W09L312946             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531261   2009   WABSH   1JJV532W49L312948             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531263   2009   WABSH   1JJV532W29L312950             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531264   2009   WABSH   1JJV532W49L312951             WI        Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531266   2009   WABSH   1JJV532W89L312953             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531268   2009   WABSH   1JJV532W19L312955             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531270   2009   WABSH   1JJV532W59L312957             FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531271   2009   WABSH   1JJV532W79L312958             FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531272   2009   WABSH   1JJV532W99L312959             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531274   2009   WABSH   1JJV532W79L312961             NJ        Kearny
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531276   2009   WABSH   1JJV532W09L312963             WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531277   2009   WABSH   1JJV532W29L312964             KS        Salina
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531278   2009   WABSH   1JJV532W49L312965             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531279   2009   WABSH   1JJV532W69L312966             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531280   2009   WABSH   1JJV532W89L312967             TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531281   2009   WABSH   1JJV532WX9L312968             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531282   2009   WABSH   1JJV532W19L312969             CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531283   2009   WABSH   1JJV532W89L312970             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531284   2009   WABSH   1JJV532WX9L312971             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531285   2009   WABSH   1JJV532W19L312972             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531286   2009   WABSH   1JJV532W39L312973             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531288   2009   WABSH   1JJV532W79L312975             NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531289   2009   WABSH   1JJV532W99L312976             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531290   2009   WABSH   1JJV532W09L312977             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531291   2009   WABSH   1JJV532W29L312978             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531292   2009   WABSH   1JJV532W49L312979             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531293   2009   WABSH   1JJV532W09L312980             WI        Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531295   2009   WABSH   1JJV532W49L312982             SD        Watertown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531296   2009   WABSH   1JJV532W69L312983             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531297   2009   WABSH   1JJV532W89L312984             OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531298   2009   WABSH   1JJV532WX9L312985             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531299   2009   WABSH   1JJV532W19L312986             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531300   2009   WABSH   1JJV532W39L312987             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531302   2009   WABSH   1JJV532W79L312989             CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531303   2009   WABSH   1JJV532W39L312990             AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531306   2009   WABSH   1JJV532W99L312993             Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531307   2009   WABSH   1JJV532W09L312994             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531309   2009   WABSH   1JJV532W49L312996             TX        Eagle Pass
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531312   2009   WABSH   1JJV532WX9L312999             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531313   2009   WABSH   1JJV532W09L313000             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531315   2009   WABSH   1JJV532W49L313002             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531318   2009   WABSH   1JJV532WX9L313005             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531319   2009   WABSH   1JJV532W19L313006             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531320   2009   WABSH   1JJV532W39L313007             PA        Erie
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531321   2009   WABSH   1JJV532W59L313008             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531322   2009   WABSH   1JJV532W79L313009             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531324   2009   WABSH   1JJV532W59L313011             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531325   2009   WABSH   1JJV532W79L313012             PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531326   2009   WABSH   1JJV532W99L313013             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531327   2009   WABSH   1JJV532W09L313014             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531329   2009   WABSH   1JJV532W49L313016             SD        Watertown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531330   2009   WABSH   1JJV532W69L313017             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531331   2009   WABSH   1JJV532W89L313018             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531332   2009   WABSH   1JJV532WX9L313019             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531333   2009   WABSH   1JJV532W69L313020             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531334   2009   WABSH   1JJV532W89L313021             NY        Plattsburgh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531335   2009   WABSH   1JJV532WX9L313022             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531336   2009   WABSH   1JJV532W19L313023             IL        Rockford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531337   2009   WABSH   1JJV532W39L313024             CA        Fresno
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531343   2009   WABSH   1JJV532W99L313030             MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531344   2009   WABSH   1JJV532W09L313031             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531345   2009   WABSH   1JJV532W29L313032             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531346   2009   WABSH   1JJV532W49L313033             WI        Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531347   2009   WABSH   1JJV532W69L313034             MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531348   2009   WABSH   1JJV532W89L313035             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531349   2009   WABSH   1JJV532WX9L313036             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531353   2009   WABSH   1JJV532W19L313040             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531354   2009   WABSH   1JJV532W39L313041             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531355   2009   WABSH   1JJV532W59L313042             MS        Olive Branch
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 824 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531356   2009   WABSH   1JJV532W79L313043             WI             Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531357   2009   WABSH   1JJV532W99L313044             TX             Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531358   2009   WABSH   1JJV532W09L313045             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531360   2009   WABSH   1JJV532W49L313047             IL             Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531361   2009   WABSH   1JJV532W69L313048             Ontario        Woodstock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531362   2009   WABSH   1JJV532W89L313049             NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531363   2009   WABSH   1JJV532W49L313050             IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531364   2009   WABSH   1JJV532W69L313051             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531367   2009   WABSH   1JJV532W19L313054             AZ             Tucson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531368   2009   WABSH   1JJV532W39L313055             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531369   2009   WABSH   1JJV532W59L313056             OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531370   2009   WABSH   1JJV532W79L313057             GA             Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531372   2009   WABSH   1JJV532W09L313059             IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531373   2009   WABSH   1JJV532W79L313060             NY             Glenmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531374   2009   WABSH   1JJV532W99L313061             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531375   2009   WABSH   1JJV532W09L313062             TN             Kingsport
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531376   2009   WABSH   1JJV532W29L313063             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531377   2009   WABSH   1JJV532W49L313064             Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531379   2009   WABSH   1JJV532W89L313066             CA             Santa Clara
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531380   2009   WABSH   1JJV532WX9L313067             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531382   2009   WABSH   1JJV532W39L313069             PA             Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531383   2009   WABSH   1JJV532WX9L313070             OH             Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531385   2009   WABSH   1JJV532W39L313072             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531386   2009   WABSH   1JJV532W59L313073             DE             Seaford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531388   2009   WABSH   1JJV532W99L313075             CA             San Diego
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531389   2009   WABSH   1JJV532W09L313076             WA             Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531391   2009   WABSH   1JJV532W49L313078             TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531393   2009   WABSH   1JJV532W29L313080             IN             Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531395   2009   WABSH   1JJV532W69L313082             Alberta        Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531396   2009   WABSH   1JJV532W89L313083             Ontario        Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531398   2009   WABSH   1JJV532W19L313085             MO             Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531492   2012   WABSH   1JJV532D1CL720216   DVCVHPC   OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531518   2021   VANGU   5V8VC5326MM109291   VXP 53    IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531519   2021   VANGU   5V8VC5328MM109292   VXP 53    TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531520   2021   VANGU   5V8VC532XMM109293   VXP 53    MI             Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531521   2021   VANGU   5V8VC5321MM109294   VXP 53    IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531522   2021   VANGU   5V8VC5323MM109295   VXP 53    OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531523   2021   VANGU   5V8VC5325MM109296   VXP 53    WI             Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531524   2021   VANGU   5V8VC5327MM109297   VXP 53    NC             Raleigh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531525   2021   VANGU   5V8VC5329MM109298   VXP 53    OK             Tulsa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531526   2021   VANGU   5V8VC5320MM109299   VXP 53    IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531527   2021   VANGU   5V8VC5323MM109300   VXP 53    CT             Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531528   2021   VANGU   5V8VC5325MM109301   VXP 53    PA             McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531529   2021   VANGU   5V8VC5327MM109302   VXP 53    TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531530   2021   VANGU   5V8VC5329MM109303   VXP 53    GA             Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531531   2021   VANGU   5V8VC5320MM109304   VXP 53    TX             Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531532   2021   VANGU   5V8VC5322MM109305   VXP 53    OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531533   2021   VANGU   5V8VC5324MM109306   VXP 53    TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531534   2021   VANGU   5V8VC5326MM109307   VXP 53    NY             Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531535   2021   VANGU   5V8VC5328MM109308   VXP 53    IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531536   2021   VANGU   5V8VC532XMM109309   VXP 53    NY             Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531537   2021   VANGU   5V8VC5326MM109310   VXP 53    GA             Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531538   2021   VANGU   5V8VC5328MM109311   VXP 53    GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531539   2021   VANGU   5V8VC532XMM109312   VXP 53    OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531540   2021   VANGU   5V8VC5321MM109313   VXP 53    MI             Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531541   2021   VANGU   5V8VC5323MM109314   VXP 53    OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531542   2021   VANGU   5V8VC5325MM109315   VXP 53    IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531543   2021   VANGU   5V8VC5327MM109316   VXP 53    OH             Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531544   2021   VANGU   5V8VC5329MM109317   VXP 53    TN             Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531545   2021   VANGU   5V8VC5320MM109318   VXP 53    TN             Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531546   2021   VANGU   5V8VC5322MM109319   VXP 53    KS             Topeka
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531547   2021   VANGU   5V8VC5329MM109320   VXP 53    OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531548   2021   VANGU   5V8VC5320MM109321   VXP 53    TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531549   2021   VANGU   5V8VC5322MM109322   VXP 53    WA             Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531550   2021   VANGU   5V8VC5324MM109323   VXP 53    IL             Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531551   2021   VANGU   5V8VC5326MM109324   VXP 53    OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531552   2021   VANGU   5V8VC5328MM109325   VXP 53    WA             Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531553   2021   VANGU   5V8VC532XMM109326   VXP 53    IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531554   2021   VANGU   5V8VC5321MM109327   VXP 53    MI             Jackson
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 825 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531555   2021   VANGU   5V8VC5323MM109328   VXP 53    GA      Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531556   2021   VANGU   5V8VC5325MM109329   VXP 53    KS      Topeka
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531557   2021   VANGU   5V8VC5321MM109330   VXP 53    NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531558   2021   VANGU   5V8VC5323MM109331   VXP 53    NJ      Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531559   2021   VANGU   5V8VC5325MM109332   VXP 53    NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531560   2021   VANGU   5V8VC5327MM109333   VXP 53    TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531561   2021   VANGU   5V8VC5329MM109334   VXP 53    NY      Mount Vernon
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531562   2021   VANGU   5V8VC5320MM109335   VXP 53    TX      Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531563   2021   VANGU   5V8VC5322MM109336   VXP 53    MO      Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531564   2021   VANGU   5V8VC5324MM109337   VXP 53    MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531565   2021   VANGU   5V8VC5326MM109338   VXP 53    OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531566   2022   VANGU   5V8VC5322NM204609   VXP 53    NV      Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531567   2022   VANGU   5V8VC5329NM204610   VXP 53    IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531568   2022   VANGU   5V8VC5320NM204611   VXP 53    IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531569   2022   VANGU   5V8VC5322NM204612   VXP 53    MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531571   2022   VANGU   5V8VC5326NM204614   VXP 53    TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531572   2022   VANGU   5V8VC5328NM204615   VXP 53    IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531573   2022   VANGU   5V8VC532XNM204616   VXP 53    MI      Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531574   2022   VANGU   5V8VC5321NM204617   VXP 53    CA      Ventura
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531575   2022   VANGU   5V8VC5323NM204618   VXP 53    PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531576   2022   VANGU   5V8VC5325NM204619   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531578   2022   VANGU   5V8VC5323NM204621   VXP 53    OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531579   2022   VANGU   5V8VC5325NM204622   VXP 53    IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531580   2022   VANGU   5V8VC5327NM204623   VXP 53    TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531581   2022   VANGU   5V8VC5329NM204624   VXP 53    OH      Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531582   2022   VANGU   5V8VC5320NM204625   VXP 53    PA      Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531583   2022   VANGU   5V8VC5322NM204626   VXP 53    FL      Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531584   2022   VANGU   5V8VC5324NM204627   VXP 53    WI      Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531585   2022   VANGU   5V8VC5326NM204628   VXP 53    NE      Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531586   2022   VANGU   5V8VC5328NM204629   VXP 53    TN      Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531587   2022   VANGU   5V8VC5324NM204630   VXP 53    AZ      Nogales
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531588   2022   VANGU   5V8VC5326NM204631   VXP 53    IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531589   2022   VANGU   5V8VC5328NM204632   VXP 53    IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531590   2022   VANGU   5V8VC532XNM204633   VXP 53    NC      Rocky Mount
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531591   2022   VANGU   5V8VC5321NM204634   VXP 53    OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531592   2022   VANGU   5V8VC5323NM204635   VXP 53    IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531593   2022   VANGU   5V8VC5325NM204636   VXP 53    OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531594   2022   VANGU   5V8VC5327NM204637   VXP 53    OH      Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531595   2022   VANGU   5V8VC5329NM204638   VXP 53    KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531596   2022   VANGU   5V8VC5320NM204639   VXP 53    PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531597   2022   VANGU   5V8VC5327NM204640   VXP 53    TX      Eagle Pass
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531598   2022   VANGU   5V8VC5329NM204641   VXP 53    KS      Topeka
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531599   2022   VANGU   5V8VC5320NM204642   VXP 53    NY      Rochester
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531600   2022   VANGU   5V8VC5322NM204643   VXP 53    IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531601   2022   VANGU   5V8VC5324NM204644   VXP 53    KS      Salina
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531602   2022   VANGU   5V8VC5326NM204645   VXP 53    IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531603   2022   VANGU   5V8VC5328NM204646   VXP 53    KY      Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531604   2022   VANGU   5V8VC532XNM204647   VXP 53    PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531605   2022   VANGU   5V8VC5321NM204648   VXP 53    IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531606   2022   VANGU   5V8VC5323NM204649   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531607   2022   VANGU   5V8VC532XNM204650   VXP 53    MS      Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531608   2022   VANGU   5V8VC5321NM204651   VXP 53    SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531609   2022   VANGU   5V8VC5323NM204652   VXP 53    IA      Mason City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531611   2022   VANGU   5V8VC5327NM204654   VXP 53    TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531612   2022   VANGU   5V8VC5329NM204655   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531613   2022   VANGU   5V8VC5320NM204656   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531614   2022   VANGU   5V8VC5322NM204657   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531615   2022   VANGU   5V8VC5324NM204658   VXP 53    IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531616   2022   VANGU   5V8VC5326NM204659   VXP 53    IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531617   2022   VANGU   5V8VC5322NM204660   VXP 53    WI      Madison
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531618   2022   VANGU   5V8VC5324NM204661   VXP 53    FL      Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531619   2022   VANGU   5V8VC5326NM204662   VXP 53    NV      Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531620   2022   VANGU   5V8VC5328NM204663   VXP 53    MI      Norway
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531621   2022   VANGU   5V8VC532XNM204664   VXP 53    MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531622   2022   VANGU   5V8VC5321NM204665   VXP 53    VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531623   2022   VANGU   5V8VC5323NM204666   VXP 53    OH      Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531624   2022   VANGU   5V8VC5325NM204667   VXP 53    WI      Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531625   2022   VANGU   5V8VC5327NM204668   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531626   2022   VANGU   5V8VC5329NM204669   VXP 53    IL      McCook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 826 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531627   2022   VANGU   5V8VC5325NM204670   VXP 53    OH      Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531629   2022   VANGU   5V8VC5329NM204672   VXP 53    OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531630   2022   VANGU   5V8VC5320NM204673   VXP 53    NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531631   2022   VANGU   5V8VC5322NM204674   VXP 53    TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531632   2022   VANGU   5V8VC5324NM204675   VXP 53    IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531633   2022   VANGU   5V8VC5326NM204676   VXP 53    NY      Rochester
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531634   2022   VANGU   5V8VC5328NM204677   VXP 53    OH      Gallipolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531635   2022   VANGU   5V8VC532XNM204678   VXP 53    WI      Madison
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531636   2022   VANGU   5V8VC5321NM204679   VXP 53    MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531637   2022   VANGU   5V8VC5328NM204680   VXP 53    OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531638   2022   VANGU   5V8VA5325NM211026   VXP 53    IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531639   2022   VANGU   5V8VA5327NM211027   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531640   2022   VANGU   5V8VA5329NM211028   VXP 53    OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531641   2022   VANGU   5V8VA5320NM211029   VXP 53    SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531642   2022   VANGU   5V8VA5327NM211030   VXP 53    TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531643   2022   VANGU   5V8VA5329NM211031   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531644   2022   VANGU   5V8VA5320NM211032   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531645   2022   VANGU   5V8VA5322NM211033   VXP 53    IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531646   2022   VANGU   5V8VA5324NM211034   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531647   2022   VANGU   5V8VA5326NM211035   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531648   2022   VANGU   5V8VA5328NM211036   VXP 53    IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531649   2022   VANGU   5V8VA532XNM211037   VXP 53    TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531650   2022   VANGU   5V8VA5321NM211038   VXP 53    NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531651   2022   VANGU   5V8VA5323NM211039   VXP 53    NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531652   2022   VANGU   5V8VA532XNM211040   VXP 53    WI      Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531654   2022   VANGU   5V8VA5323NM211042   VXP 53    WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531655   2022   VANGU   5V8VA5325NM211043   VXP 53    MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531656   2022   VANGU   5V8VA5327NM211044   VXP 53    WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531657   2022   VANGU   5V8VA5329NM211045   VXP 53    NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531658   2022   VANGU   5V8VA5320NM211046   VXP 53    IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531659   2022   VANGU   5V8VA5322NM211047   VXP 53    TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531660   2022   VANGU   5V8VA5324NM211048   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531661   2022   VANGU   5V8VA5326NM211049   VXP 53    WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531662   2022   VANGU   5V8VA5322NM211050   VXP 53    SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531663   2022   VANGU   5V8VA5324NM211051   VXP 53    NC      Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531664   2022   VANGU   5V8VA5326NM211052   VXP 53    IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531665   2022   VANGU   5V8VA5328NM211053   VXP 53    OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531666   2022   VANGU   5V8VA532XNM211054   VXP 53    NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531667   2022   VANGU   5V8VA5321NM211055   VXP 53    CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531668   2022   VANGU   5V8VA5323NM211056   VXP 53    OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531669   2022   VANGU   5V8VA5325NM211057   VXP 53    IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531670   2022   VANGU   5V8VA5327NM211058   VXP 53    MN      Owatonna
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531671   2022   VANGU   5V8VA5329NM211059   VXP 53    NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531672   2022   VANGU   5V8VA5325NM211060   VXP 53    MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531673   2022   VANGU   5V8VA5327NM211061   VXP 53    IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531674   2022   VANGU   5V8VA5329NM211062   VXP 53    VA      Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531675   2022   VANGU   5V8VA5320NM211063   VXP 53    NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531676   2022   VANGU   5V8VA5322NM211064   VXP 53    SC      Florence
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531677   2022   VANGU   5V8VA5324NM211065   VXP 53    OH      Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531678   2022   VANGU   5V8VA5326NM211066   VXP 53    WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531679   2022   VANGU   5V8VA5328NM211067   VXP 53    IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531680   2022   VANGU   5V8VA532XNM211068   VXP 53    OH      Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531681   2022   VANGU   5V8VA5321NM211069   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531682   2022   VANGU   5V8VA5328NM211070   VXP 53    IN      Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531683   2022   VANGU   5V8VA532XNM211071   VXP 53    MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531684   2022   VANGU   5V8VA5321NM211072   VXP 53    GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531685   2022   VANGU   5V8VA5323NM211073   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531686   2022   VANGU   5V8VA5325NM211074   VXP 53    NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531687   2022   VANGU   5V8VA5327NM211075   VXP 53    TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531688   2022   VANGU   5V8VA5329NM211076   VXP 53    NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531689   2022   VANGU   5V8VA5320NM211077   VXP 53    IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531690   2022   VANGU   5V8VA5322NM211078   VXP 53    OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531691   2022   VANGU   5V8VA5324NM211079   VXP 53    NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531692   2022   VANGU   5V8VA5320NM211080   VXP 53    OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531693   2022   VANGU   5V8VA5322NM211081   VXP 53    NY      Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531694   2022   VANGU   5V8VA5324NM211082   VXP 53    TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531695   2022   VANGU   5V8VA5326NM211083   VXP 53    CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531696   2022   VANGU   5V8VA5328NM211084   VXP 53    TX      Corpus Christi
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531697   2022   VANGU   5V8VA532XNM211085   VXP 53    FL      Orlando
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 827 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531698   2022   VANGU   5V8VA5321NM211086   VXP 53    DE        New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531699   2022   VANGU   5V8VA5323NM211087   VXP 53    Ontario   Brampton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531700   2022   VANGU   5V8VA5325NM211088   VXP 53    TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531701   2022   VANGU   5V8VA5327NM211089   VXP 53    MN        Saint Cloud
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531702   2022   VANGU   5V8VA5323NM211090   VXP 53    MO        Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531703   2022   VANGU   5V8VA5325NM211091   VXP 53    TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531704   2022   VANGU   5V8VA5327NM211092   VXP 53    FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531705   2022   VANGU   5V8VA5329NM211093   VXP 53    MN        Saint Cloud
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531706   2022   VANGU   5V8VA5320NM211094   VXP 53    OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531707   2022   VANGU   5V8VA5322NM211095   VXP 53    NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531708   2022   VANGU   5V8VA5324NM211096   VXP 53    IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531709   2022   VANGU   5V8VA5326NM211097   VXP 53    TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531710   2022   VANGU   5V8VA5328NM211098   VXP 53    NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531711   2022   VANGU   5V8VA532XNM211099   VXP 53    MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531712   2022   VANGU   5V8VA5322NM211100   VXP 53    NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531713   2022   VANGU   5V8VA5324NM211101   VXP 53    NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531714   2022   VANGU   5V8VA5326NM211102   VXP 53    NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531715   2022   VANGU   5V8VA5328NM211103   VXP 53    WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531716   2022   VANGU   5V8VA532XNM211104   VXP 53    MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531717   2022   VANGU   5V8VA5321NM211105   VXP 53    SD        Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531718   2022   VANGU   5V8VA5323NM211106   VXP 53    TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531719   2022   VANGU   5V8VA5325NM211107   VXP 53    PA        Erie
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531720   2022   VANGU   5V8VA5327NM211108   VXP 53    OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531721   2022   VANGU   5V8VA5329NM211109   VXP 53    WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531722   2022   VANGU   5V8VA5325NM211110   VXP 53    PA        Line Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531723   2022   VANGU   5V8VA5327NM211111   VXP 53    IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531724   2022   VANGU   5V8VA5329NM211112   VXP 53    OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531725   2022   VANGU   5V8VA5320NM211113   VXP 53    TX        Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531726   2022   VANGU   5V8VA5322NM211114   VXP 53    Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531727   2022   VANGU   5V8VA5324NM211115   VXP 53    OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531728   2022   VANGU   5V8VA5326NM211116   VXP 53    TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531729   2022   VANGU   5V8VA5328NM211117   VXP 53    NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531730   2022   VANGU   5V8VA532XNM211118   VXP 53    IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531731   2022   VANGU   5V8VA5321NM211119   VXP 53    IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531732   2022   VANGU   5V8VA5328NM211120   VXP 53    PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531733   2022   VANGU   5V8VA532XNM211121   VXP 53    OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531734   2022   VANGU   5V8VA5321NM211122   VXP 53    WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531735   2022   VANGU   5V8VA5323NM211123   VXP 53    NE        Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531736   2022   VANGU   5V8VA5325NM211124   VXP 53    IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531737   2022   VANGU   5V8VA5327NM211125   VXP 53    MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531738   2020   HYUND   3H3V532C9LT557001             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531739   2020   HYUND   3H3V532C0LT557002             WI        Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531740   2020   HYUND   3H3V532C2LT557003             KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531741   2020   HYUND   3H3V532C4LT557004             SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531742   2020   HYUND   3H3V532C6LT557005             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531743   2020   HYUND   3H3V532C8LT557006             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531744   2020   HYUND   3H3V532CXLT557007             CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531745   2020   HYUND   3H3V532C1LT557008             KY        Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531746   2020   HYUND   3H3V532C3LT557009             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531747   2020   HYUND   3H3V532CXLT557010             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531748   2017   WABSH   1JJV532D1EL755311             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531750   2017   WABSH   1JJV532D3EL793980             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531751   2017   WABSH   1JJV532D4EL793986             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531752   2017   WABSH   1JJV532D0EL794004             GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531800   2014   WABSH   1JJV532D0EL793984   VAN       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531801   2014   WABSH   1JJV532D1EL794996   VAN       CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531802   2014   WABSH   1JJV532D2EL795008   VAN       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531803   2014   WABSH   1JJV532D1EL795324   NA        UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531804   2014   WABSH   1JJV532D8EL795398   NA        CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531805   2014   WABSH   1JJV532D0EL795685   NA        CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531806   2014   WABSH   1JJV532D2EL795753   NA        CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531807   2014   WABSH   1JJV532D9EL795894   NA        CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531808   2014   WABSH   1JJV532D9EL795927   NA        CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531809   2014   WABSH   1JJV532D2EL795963   NA        UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531810   2014   WABSH   1JJV532D9EL794454   VAN       AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY531811   2014   WABSH   1JJV532D2EL794506   VAN       UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558000   2006   WABSH   1JJV532W76L965947   DVCVHPC   CA        San Bernardino
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558001   2006   WABSH   1JJV532W96L965948   DVCVHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558002   2006   WABSH   1JJV532W06L965949   DVCVHPC   GA        Conley
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 828 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558003   2006   WABSH   1JJV532W76L965950   DVCVHPC   NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558004   2006   WABSH   1JJV532W96L965951   DVCVHPC   OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558005   2006   WABSH   1JJV532W06L965952   DVCVHPC   OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558006   2006   WABSH   1JJV532W26L965953   DVCVHPC   TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558007   2006   WABSH   1JJV532W46L965954   DVCVHPC   Ontario   Woodstock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558009   2006   WABSH   1JJV532W86L965956   DVCVHPC   TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558010   2006   WABSH   1JJV532WX6L965957   DVCVHPC   OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558011   2006   WABSH   1JJV532W16L965958   DVCVHPC   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558012   2006   WABSH   1JJV532W36L965959   DVCVHPC   OK        Tulsa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558013   2006   WABSH   1JJV532WX6L965960   DVCVHPC   OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558014   2006   WABSH   1JJV532W16L965961   DVCVHPC   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558015   2006   WABSH   1JJV532W36L965962   DVCVHPC   TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558016   2006   WABSH   1JJV532W56L965963   DVCVHPC   TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558017   2006   WABSH   1JJV532W76L965964   DVCVHPC   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558018   2006   WABSH   1JJV532W96L965965   DVCVHPC   CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558020   2006   WABSH   1JJV532W26L965967   DVCVHPC   NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558021   2006   WABSH   1JJV532W46L965968   DVCVHPC   TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558022   2006   WABSH   1JJV532W66L965969   DVCVHPC   TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558023   2006   WABSH   1JJV532W26L965970   DVCVHPC   MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558024   2006   WABSH   1JJV532W46L965971   DVCVHPC   FL        Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558025   2006   WABSH   1JJV532W66L965972   DVCVHPC   IL        Rockford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558026   2006   WABSH   1JJV532W86L965973   DVCVHPC   GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558027   2006   WABSH   1JJV532WX6L965974   DVCVHPC   IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558028   2006   WABSH   1JJV532W16L965975   DVCVHPC   PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558029   2006   WABSH   1JJV532W36L965976   DVCVHPC   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558030   2006   WABSH   1JJV532W56L965977   DVCVHPC   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558031   2006   WABSH   1JJV532W76L965978   DVCVHPC   GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558032   2006   WABSH   1JJV532W96L965979   DVCVHPC   GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558033   2006   WABSH   1JJV532W56L965980   DVCVHPC   FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558034   2006   WABSH   1JJV532W76L965981   DVCVHPC   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558035   2006   WABSH   1JJV532W96L965982   DVCVHPC   OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558036   2006   WABSH   1JJV532W06L965983   DVCVHPC   IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558037   2006   WABSH   1JJV532W26L965984   DVCVHPC   OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558038   2006   WABSH   1JJV532W46L965985   DVCVHPC   IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558039   2006   WABSH   1JJV532W66L965986   DVCVHPC   PA        Dunmore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558040   2006   WABSH   1JJV532W86L965987   DVCVHPC   MS        Olive Branch
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558041   2006   WABSH   1JJV532WX6L965988   DVCVHPC   SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558042   2006   WABSH   1JJV532W16L965989   DVCVHPC   TN        Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558043   2006   WABSH   1JJV532W86L965990   DVCVHPC   FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558044   2006   WABSH   1JJV532WX6L965991   DVCVHPC   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558045   2006   WABSH   1JJV532W16L965992   DVCVHPC   MO        Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558046   2006   WABSH   1JJV532W36L965993   DVCVHPC   OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558047   2006   WABSH   1JJV532W56L965994   DVCVHPC   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558048   2006   WABSH   1JJV532W76L965995   DVCVHPC   MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558049   2006   WABSH   1JJV532W96L965996   DVCVHPC   NY        Williamsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558050   2006   WABSH   1JJV532W06L965997   DVCVHPC   IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558051   2006   WABSH   1JJV532W26L965998   DVCVHPC   OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558052   2006   WABSH   1JJV532W06L987479   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558053   2006   WABSH   1JJV532W76L987480   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558054   2006   WABSH   1JJV532W96L987481   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558055   2006   WABSH   1JJV532W06L987482   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558056   2006   WABSH   1JJV532W26L987483   1JJV      DE        New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558057   2006   WABSH   1JJV532W46L987484   1JJV      NY        Glenmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558058   2006   WABSH   1JJV532W66L987485   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558059   2006   WABSH   1JJV532W86L987486   1JJV      MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558060   2006   WABSH   1JJV532WX6L987487   1JJV      TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558061   2006   WABSH   1JJV532W16L987488   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558062   2006   WABSH   1JJV532W36L987489   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558063   2006   WABSH   1JJV532WX6L987490   1JJV      IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558064   2006   WABSH   1JJV532W16L987491   1JJV      MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558065   2006   WABSH   1JJV532W36L987492   1JJV      Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558066   2006   WABSH   1JJV532W56L987493   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558067   2006   WABSH   1JJV532W76L987494   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558068   2006   WABSH   1JJV532W96L987495   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558069   2006   WABSH   1JJV532W06L987496   1JJV      PA        Dunmore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558070   2006   WABSH   1JJV532W26L987497   1JJV      KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558071   2006   WABSH   1JJV532W46L987498   1JJV      DE        Seaford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558073   2006   WABSH   1JJV532W96L987500   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558074   2006   WABSH   1JJV532W06L987501   1JJV      TN        Nashville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 829 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558075   2006   WABSH   1JJV532W26L987502   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558076   2006   WABSH   1JJV532W46L987503   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558077   2006   WABSH   1JJV532W66L987504   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558078   2006   WABSH   1JJV532W86L987505   1JJV      MN        Saint Cloud
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558080   2006   WABSH   1JJV532W16L987507   1JJV      OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558081   2006   WABSH   1JJV532W36L987508   1JJV      CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558082   2006   WABSH   1JJV532W56L987509   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558083   2006   WABSH   1JJV532W16L987510   1JJV      CO        Henderson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558084   2006   WABSH   1JJV532W36L987511   1JJV      IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558085   2006   WABSH   1JJV532W56L987512   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558086   2006   WABSH   1JJV532W76L987513   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558087   2006   WABSH   1JJV532W96L987514   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558088   2006   WABSH   1JJV532W06L987515   1JJV      WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558089   2006   WABSH   1JJV532W26L987516   1JJV      NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558090   2006   WABSH   1JJV532W46L987517   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558091   2006   WABSH   1JJV532W66L987518   1JJV      MD        Landover
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558092   2006   WABSH   1JJV532W86L987519   1JJV      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558093   2006   WABSH   1JJV532W46L987520   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558094   2006   WABSH   1JJV532W66L987521   1JJV      NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558095   2006   WABSH   1JJV532W86L987522   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558096   2006   WABSH   1JJV532WX6L987523   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558097   2006   WABSH   1JJV532W16L987524   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558098   2006   WABSH   1JJV532W36L987525   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558099   2006   WABSH   1JJV532W56L987526   1JJV      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558100   2006   WABSH   1JJV532W76L987527   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558101   2006   WABSH   1JJV532W96L987528   1JJV      NY        Glenmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558102   2006   WABSH   1JJV532W06L987529   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558103   2006   WABSH   1JJV532W76L987530   1JJV      FL        Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558104   2006   WABSH   1JJV532W96L987531   1JJV      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558105   2006   WABSH   1JJV532W06L987532   1JJV      NY        Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558106   2006   WABSH   1JJV532W26L987533   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558107   2006   WABSH   1JJV532W46L987534   1JJV      GA        Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558108   2006   WABSH   1JJV532W66L987535   1JJV      GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558109   2006   WABSH   1JJV532W86L987536   1JJV      MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558110   2006   WABSH   1JJV532WX6L987537   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558111   2006   WABSH   1JJV532W16L987538   1JJV      TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558112   2006   WABSH   1JJV532W36L987539   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558113   2006   WABSH   1JJV532WX6L987540   1JJV      Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558114   2006   WABSH   1JJV532W16L987541   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558115   2006   WABSH   1JJV532W36L987542   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558116   2006   WABSH   1JJV532W56L987543   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558117   2006   WABSH   1JJV532W76L987544   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558118   2006   WABSH   1JJV532W96L987545   1JJV      NC        Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558119   2006   WABSH   1JJV532W06L987546   1JJV      OH        Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558120   2006   WABSH   1JJV532W26L987547   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558121   2006   WABSH   1JJV532W46L987548   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558122   2006   WABSH   1JJV532W66L987549   1JJV      NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558123   2006   WABSH   1JJV532W26L987550   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558124   2006   WABSH   1JJV532W46L987551   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558125   2006   WABSH   1JJV532W66L987552   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558126   2006   WABSH   1JJV532W86L987553   1JJV      GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558127   2006   WABSH   1JJV532WX6L987554   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558128   2006   WABSH   1JJV532W16L987555   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558129   2006   WABSH   1JJV532W36L987556   1JJV      GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558130   2006   WABSH   1JJV532W56L987557   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558131   2006   WABSH   1JJV532W76L987558   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558132   2006   WABSH   1JJV532W96L987559   1JJV      CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558134   2006   WABSH   1JJV532W76L987561   1JJV      OK        Tulsa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558135   2006   WABSH   1JJV532W96L987562   1JJV      IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558136   2006   WABSH   1JJV532W06L987563   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558137   2006   WABSH   1JJV532W26L987564   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558138   2006   WABSH   1JJV532W46L987565   1JJV      TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558139   2006   WABSH   1JJV532W66L987566   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558140   2006   WABSH   1JJV532W86L987567   1JJV      WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558141   2006   WABSH   1JJV532WX6L987568   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558142   2006   WABSH   1JJV532W16L987569   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558143   2006   WABSH   1JJV532W86L987570   1JJV      OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558144   2006   WABSH   1JJV532WX6L987571   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558145   2006   WABSH   1JJV532W16L987572   1JJV      CA        Fontana
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 830 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558146   2006   WABSH   1JJV532W36L987573   1JJV      IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558147   2006   WABSH   1JJV532W56L987574   1JJV      TX               Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558148   2006   WABSH   1JJV532W76L987575   1JJV      OH               Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558149   2006   WABSH   1JJV532W96L987576   1JJV      GA               Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558150   2006   WABSH   1JJV532W06L987577   1JJV      OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558151   2006   WABSH   1JJV532W26L987578   1JJV      MS               Olive Branch
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558152   2006   WABSH   1JJV532W46L987579   1JJV      FL               Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558153   2006   WABSH   1JJV532W06L987580   1JJV      MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558154   2006   WABSH   1JJV532W26L987581   1JJV      NJ               South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558156   2006   WABSH   1JJV532W66L987583   1JJV      WA               Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558158   2006   WABSH   1JJV532WX6L987585   1JJV      SC               Florence
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558159   2006   WABSH   1JJV532W16L987586   1JJV      OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558160   2006   WABSH   1JJV532W36L987587   1JJV      IN               South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558161   2006   WABSH   1JJV532W56L987588   1JJV      WA               Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558162   2006   WABSH   1JJV532W76L987589   1JJV      OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558163   2006   WABSH   1JJV532W36L987590   1JJV      TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558164   2006   WABSH   1JJV532W56L987591   1JJV      GA               Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558165   2006   WABSH   1JJV532W76L987592   1JJV      NY               Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558166   2006   WABSH   1JJV532W96L987593   1JJV      TX               San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558167   2006   WABSH   1JJV532W06L987594   1JJV      TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558168   2006   WABSH   1JJV532W26L987595   1JJV      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558169   2006   WABSH   1JJV532W46L987596   1JJV      TX               Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558170   2006   WABSH   1JJV532W66L987597   1JJV      MN               Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558171   2006   WABSH   1JJV532W86L987598   1JJV      WA               Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558172   2006   WABSH   1JJV532WX6L987599   1JJV      CA               Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558173   2006   WABSH   1JJV532W26L987600   1JJV      Ontario          Niagara on the Lake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558174   2006   WABSH   1JJV532W46L987601   1JJV      IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558175   2006   WABSH   1JJV532W66L987602   1JJV      AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558176   2006   WABSH   1JJV532W86L987603   1JJV      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558177   2006   WABSH   1JJV532WX6L987604   1JJV      GA               Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558178   2006   WABSH   1JJV532W16L987605   1JJV      GA               Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558179   2006   WABSH   1JJV532W36L987606   1JJV      OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558180   2006   WABSH   1JJV532W56L987607   1JJV      British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558181   2006   WABSH   1JJV532W76L987608   1JJV      OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558182   2006   WABSH   1JJV532W96L987609   1JJV      OH               Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558183   2006   WABSH   1JJV532W56L987610   1JJV      NJ               Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558184   2006   WABSH   1JJV532W76L987611   1JJV      IN               Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558185   2006   WABSH   1JJV532W96L987612   1JJV      NV               Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558186   2006   WABSH   1JJV532W06L987613   1JJV      TN               Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558187   2006   WABSH   1JJV532W26L987614   1JJV      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558188   2006   WABSH   1JJV532W46L987615   1JJV      OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558189   2006   WABSH   1JJV532W66L987616   1JJV      MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558190   2006   WABSH   1JJV532W86L987617   1JJV      MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558191   2006   WABSH   1JJV532WX6L987618   1JJV      OH               Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558192   2006   WABSH   1JJV532W16L987619   1JJV      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558193   2006   WABSH   1JJV532W86L987620   1JJV      GA               Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558194   2006   WABSH   1JJV532WX6L987621   1JJV      MN               Duluth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558195   2006   WABSH   1JJV532W16L987622   1JJV      WI               Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558196   2006   WABSH   1JJV532W36L987623   1JJV      OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558197   2006   WABSH   1JJV532W56L987624   1JJV      NM               Albuquerque
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558198   2006   WABSH   1JJV532W76L987625   1JJV      FL               Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558200   2006   WABSH   1JJV532W06L987627   1JJV      KS               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558201   2006   WABSH   1JJV532W26L987628   1JJV      AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558202   2006   WABSH   1JJV532W46L987629   1JJV      IL               Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558203   2006   WABSH   1JJV532W06L987630   1JJV      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558205   2006   WABSH   1JJV532W46L987632   1JJV      AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558206   2006   WABSH   1JJV532W66L987633   1JJV      TX               Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558207   2006   WABSH   1JJV532W86L987634   1JJV      TN               Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558208   2006   WABSH   1JJV532WX6L987635   1JJV      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558209   2006   WABSH   1JJV532W16L987636   1JJV      TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558210   2006   WABSH   1JJV532W36L987637   1JJV      MD               Landover
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558211   2006   WABSH   1JJV532W56L987638   1JJV      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558212   2006   WABSH   1JJV532W76L987639   1JJV      IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558213   2006   WABSH   1JJV532W36L987640   1JJV      OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558214   2006   WABSH   1JJV532W56L987641   1JJV      TX               Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558215   2006   WABSH   1JJV532W76L987642   1JJV      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558216   2006   WABSH   1JJV532W96L987643   1JJV      TN               Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558217   2006   WABSH   1JJV532W06L987644   1JJV      IN               South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558218   2006   WABSH   1JJV532W26L987645   1JJV      TN               Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 831 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558219   2006   WABSH   1JJV532W46L987646   1JJV      NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558220   2006   WABSH   1JJV532W66L987647   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558222   2006   WABSH   1JJV532WX6L987649   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558223   2006   WABSH   1JJV532W66L987650   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558224   2006   WABSH   1JJV532W86L987651   1JJV      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558225   2006   WABSH   1JJV532WX6L987652   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558226   2006   WABSH   1JJV532W16L987653   1JJV      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558227   2006   WABSH   1JJV532W36L987654   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558228   2006   WABSH   1JJV532W56L987655   1JJV      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558229   2006   WABSH   1JJV532W76L987656   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558230   2006   WABSH   1JJV532W96L987657   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558232   2006   WABSH   1JJV532W56L000293   1JJV      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558233   2006   WABSH   1JJV532W76L000294   1JJV      PA        Reading
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558234   2006   WABSH   1JJV532W96L000295   1JJV      Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558235   2006   WABSH   1JJV532W06L000296   1JJV      IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558236   2006   WABSH   1JJV532W26L000297   1JJV      Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558237   2006   WABSH   1JJV532W46L000298   1JJV      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558238   2006   WABSH   1JJV532W66L000299   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558239   2006   WABSH   1JJV532W96L000300   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558240   2006   WABSH   1JJV532W06L000301   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558241   2006   WABSH   1JJV532W26L000302   1JJV      NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558242   2006   WABSH   1JJV532W46L000303   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558243   2006   WABSH   1JJV532W66L000304   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558244   2006   WABSH   1JJV532W86L000305   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558245   2006   WABSH   1JJV532WX6L000306   1JJV      Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558248   2006   WABSH   1JJV532W56L000309   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558249   2006   WABSH   1JJV532W16L000310   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558250   2006   WABSH   1JJV532W36L000311   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558251   2006   WABSH   1JJV532W56L000312   1JJV      MO        Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558252   2006   WABSH   1JJV532W76L000313   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558253   2006   WABSH   1JJV532W96L000314   1JJV      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558254   2006   WABSH   1JJV532W06L000315   1JJV      NC        Raleigh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558255   2006   WABSH   1JJV532W26L000316   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558256   2006   WABSH   1JJV532W46L000317   1JJV      IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558257   2006   WABSH   1JJV532W66L000318   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558258   2006   WABSH   1JJV532W86L000319   1JJV      OH        Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558259   2006   WABSH   1JJV532W46L000320   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558261   2006   WABSH   1JJV532W86L000322   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558262   2006   WABSH   1JJV532WX6L000323   1JJV      GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558263   2006   WABSH   1JJV532W16L000324   1JJV      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558264   2006   WABSH   1JJV532W36L000325   1JJV      AL        Decatur
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558265   2006   WABSH   1JJV532W56L000326   1JJV      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558266   2006   WABSH   1JJV532W76L000327   1JJV      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558267   2006   WABSH   1JJV532W96L000328   1JJV      OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558268   2006   WABSH   1JJV532W06L000329   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558269   2006   WABSH   1JJV532W76L000330   1JJV      PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558270   2006   WABSH   1JJV532W96L000331   1JJV      LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558271   2006   WABSH   1JJV532W06L000332   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558272   2006   WABSH   1JJV532W26L000333   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558273   2006   WABSH   1JJV532W46L000334   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558274   2006   WABSH   1JJV532W66L000335   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558275   2006   WABSH   1JJV532W86L000336   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558276   2006   WABSH   1JJV532WX6L000337   1JJV      DE        New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558277   2006   WABSH   1JJV532W16L000338   1JJV      DE        New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558278   2006   WABSH   1JJV532W36L000339   1JJV      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558279   2006   WABSH   1JJV532WX6L000340   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558280   2006   WABSH   1JJV532W16L000341   1JJV      PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558281   2006   WABSH   1JJV532W36L000342   1JJV      SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558282   2006   WABSH   1JJV532W56L000343   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558283   2006   WABSH   1JJV532W76L000344   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558284   2006   WABSH   1JJV532W96L000345   1JJV      WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558285   2006   WABSH   1JJV532W06L000346   1JJV      OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558286   2006   WABSH   1JJV532W26L000347   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558287   2006   WABSH   1JJV532W46L000348   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558288   2006   WABSH   1JJV532W66L000349   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558289   2006   WABSH   1JJV532W26L000350   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558290   2006   WABSH   1JJV532W46L000351   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558292   2006   WABSH   1JJV532W86L000353   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558293   2006   WABSH   1JJV532WX6L000354   1JJV      OK        Oklahoma City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 832 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558294   2006   WABSH   1JJV532W16L000355   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558296   2006   WABSH   1JJV532W56L000357   1JJV      MO        Baxter Springs
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558297   2006   WABSH   1JJV532W76L000358   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558298   2006   WABSH   1JJV532W96L000359   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558299   2006   WABSH   1JJV532W56L000360   1JJV      KS        Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558300   2006   WABSH   1JJV532W76L000361   1JJV      OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558301   2006   WABSH   1JJV532W96L000362   1JJV      FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558302   2006   WABSH   1JJV532W06L000363   1JJV      MO        Baxter Springs
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558303   2006   WABSH   1JJV532W26L000364   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558304   2006   WABSH   1JJV532W46L000365   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558306   2006   WABSH   1JJV532W86L000367   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558307   2006   WABSH   1JJV532WX6L000368   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558308   2006   WABSH   1JJV532W16L000369   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558309   2006   WABSH   1JJV532W86L000370   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558310   2006   WABSH   1JJV532WX6L000371   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558311   2006   WABSH   1JJV532W16L000372   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558312   2006   WABSH   1JJV532W36L000373   1JJV      NE        Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558313   2006   WABSH   1JJV532W56L000374   1JJV      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558314   2006   WABSH   1JJV532W76L000375   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558315   2006   WABSH   1JJV532W96L000376   1JJV      MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558316   2006   WABSH   1JJV532W06L000377   1JJV      IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558317   2006   WABSH   1JJV532W26L000378   1JJV      TX        El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558318   2006   WABSH   1JJV532W46L000379   1JJV      NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558319   2006   WABSH   1JJV532W06L000380   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558320   2006   WABSH   1JJV532W26L000381   1JJV      IL        Decatur
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558321   2006   WABSH   1JJV532W46L000382   1JJV      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558322   2006   WABSH   1JJV532W66L000383   1JJV      Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558324   2006   WABSH   1JJV532WX6L000385   1JJV      IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558325   2006   WABSH   1JJV532W16L000386   1JJV      MI        Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558326   2006   WABSH   1JJV532W36L000387   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558327   2006   WABSH   1JJV532W56L000388   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558328   2006   WABSH   1JJV532W76L000389   1JJV      TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558329   2006   WABSH   1JJV532W36L000390   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558330   2006   WABSH   1JJV532W56L000391   1JJV      TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558331   2006   WABSH   1JJV532W76L000392   1JJV      IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558332   2006   WABSH   1JJV532W96L000393   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558333   2006   WABSH   1JJV532W06L000394   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558334   2006   WABSH   1JJV532W26L000395   1JJV      GA        Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558335   2006   WABSH   1JJV532W46L000396   1JJV      Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558336   2006   WABSH   1JJV532W66L000397   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558337   2006   WABSH   1JJV532W86L000398   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558338   2006   WABSH   1JJV532WX6L000399   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558339   2006   WABSH   1JJV532W26L000400   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558340   2006   WABSH   1JJV532W46L000401   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558341   2006   WABSH   1JJV532W66L000402   1JJV      NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558342   2006   WABSH   1JJV532W86L000403   1JJV      AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558343   2006   WABSH   1JJV532WX6L000404   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558344   2006   WABSH   1JJV532W16L000405   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558345   2006   WABSH   1JJV532W36L000406   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558346   2006   WABSH   1JJV532W56L000407   1JJV      MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558347   2006   WABSH   1JJV532W76L000408   1JJV      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558348   2006   WABSH   1JJV532W96L000409   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558349   2006   WABSH   1JJV532W56L000410   1JJV      FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558350   2006   WABSH   1JJV532W76L000411   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558351   2006   WABSH   1JJV532W96L000412   1JJV      PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558352   2006   WABSH   1JJV532W06L000413   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558353   2006   WABSH   1JJV532W26L000414   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558354   2006   WABSH   1JJV532W46L000415   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558355   2006   WABSH   1JJV532W66L000416   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558356   2006   WABSH   1JJV532W86L000417   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558357   2006   WABSH   1JJV532WX6L000418   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558358   2006   WABSH   1JJV532W16L000419   1JJV      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558359   2006   WABSH   1JJV532W86L000420   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558360   2006   WABSH   1JJV532WX6L000421   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558361   2006   WABSH   1JJV532W16L000422   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558362   2006   WABSH   1JJV532W36L000423   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558363   2006   WABSH   1JJV532W56L000424   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558364   2006   WABSH   1JJV532W76L000425   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558365   2006   WABSH   1JJV532W96L000426   1JJV      OK        Oklahoma City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 833 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558366   2006   WABSH   1JJV532W06L000427   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558367   2006   WABSH   1JJV532W26L000428   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558368   2006   WABSH   1JJV532W46L000429   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558369   2006   WABSH   1JJV532W06L000430   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558370   2006   WABSH   1JJV532W26L000431   1JJV      OH        Gallipolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558371   2006   WABSH   1JJV532W46L000432   1JJV      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558372   2006   WABSH   1JJV532W66L000433   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558373   2006   WABSH   1JJV532W86L000434   1JJV      AL        Decatur
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558374   2006   WABSH   1JJV532WX6L000435   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558375   2006   WABSH   1JJV532W16L000436   1JJV      SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558376   2006   WABSH   1JJV532W36L000437   1JJV      OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558377   2006   WABSH   1JJV532W56L000438   1JJV      Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558378   2006   WABSH   1JJV532W76L000439   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558379   2006   WABSH   1JJV532W36L000440   1JJV      TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558380   2006   WABSH   1JJV532W56L000441   1JJV      PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558381   2006   WABSH   1JJV532W76L000442   1JJV      PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558382   2006   WABSH   1JJV532W96L000443   1JJV      SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558383   2006   WABSH   1JJV532W06L000444   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558384   2006   WABSH   1JJV532W26L000445   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558385   2006   WABSH   1JJV532W46L000446   1JJV      CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558386   2006   WABSH   1JJV532W66L000447   1JJV      TN        Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558387   2006   WABSH   1JJV532W86L000448   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558388   2006   WABSH   1JJV532WX6L000449   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558389   2006   WABSH   1JJV532W66L000450   1JJV      NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558391   2006   WABSH   1JJV532WX6L000452   1JJV      IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558392   2006   WABSH   1JJV532W16L000453   1JJV      SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558393   2006   WABSH   1JJV532W36L000454   1JJV      TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558394   2006   WABSH   1JJV532W56L000455   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558395   2006   WABSH   1JJV532W76L000456   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558396   2006   WABSH   1JJV532W96L000457   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558397   2006   WABSH   1JJV532W06L000458   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558398   2006   WABSH   1JJV532W26L000459   1JJV      TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558399   2006   WABSH   1JJV532W96L000460   1JJV      IL        Atlanta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558400   2006   WABSH   1JJV532W06L000461   1JJV      Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558401   2006   WABSH   1JJV532W26L000462   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558402   2006   WABSH   1JJV532W46L000463   1JJV      WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558403   2006   WABSH   1JJV532W66L000464   1JJV      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558404   2006   WABSH   1JJV532W86L000465   1JJV      TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558406   2006   WABSH   1JJV532W16L000467   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558407   2006   WABSH   1JJV532W36L000468   1JJV      WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558408   2006   WABSH   1JJV532W56L000469   1JJV      NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558409   2006   WABSH   1JJV532W16L000470   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558410   2006   WABSH   1JJV532W36L000471   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558411   2006   WABSH   1JJV532W56L000472   1JJV      MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558413   2006   WABSH   1JJV532W96L000474   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558414   2006   WABSH   1JJV532W06L000475   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558415   2006   WABSH   1JJV532W26L000476   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558416   2006   WABSH   1JJV532W46L000477   1JJV      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558418   2006   WABSH   1JJV532W86L000479   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558419   2006   WABSH   1JJV532W46L000480   1JJV      IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558420   2006   WABSH   1JJV532W66L000481   1JJV      MA        West Springfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558421   2006   WABSH   1JJV532W86L000482   1JJV      CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558422   2006   WABSH   1JJV532WX6L000483   1JJV      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558423   2006   WABSH   1JJV532W16L000484   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558424   2006   WABSH   1JJV532W36L000485   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558425   2006   WABSH   1JJV532W56L000486   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558426   2006   WABSH   1JJV532W76L000487   1JJV      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558427   2006   WABSH   1JJV532W96L000488   1JJV      MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558428   2006   WABSH   1JJV532W06L000489   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558429   2006   WABSH   1JJV532W76L000490   1JJV      CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558430   2006   WABSH   1JJV532W96L000491   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558431   2006   WABSH   1JJV532W06L000492   1JJV      CA        Santa Rosa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558432   2006   WABSH   1JJV532W26L000493   1JJV      ID        Meridian
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558433   2006   WABSH   1JJV532W46L000494   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558434   2006   WABSH   1JJV532W66L000495   1JJV      AR        Springdale
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558435   2006   WABSH   1JJV532W86L000496   1JJV      IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558436   2006   WABSH   1JJV532WX6L000497   1JJV      CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558437   2006   WABSH   1JJV532W16L000498   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558438   2006   WABSH   1JJV532W36L000499   1JJV      OH        Richfield
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 834 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558439   2006   WABSH   1JJV532W66L000500   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558440   2006   WABSH   1JJV532W86L000501   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558441   2006   WABSH   1JJV532WX6L000502   1JJV      NC        Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558442   2006   WABSH   1JJV532W16L000503   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558444   2006   WABSH   1JJV532W56L000505   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558445   2006   WABSH   1JJV532W76L000506   1JJV      MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558446   2006   WABSH   1JJV532W96L000507   1JJV      PA        Bedford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558447   2006   WABSH   1JJV532W06L000508   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558448   2006   WABSH   1JJV532W26L000509   1JJV      GA        Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558449   2006   WABSH   1JJV532W96L000510   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558450   2006   WABSH   1JJV532W06L000511   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558451   2006   WABSH   1JJV532W26L000512   1JJV      GA        Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558452   2006   WABSH   1JJV532W46L000513   1JJV      KY        Paducah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558453   2006   WABSH   1JJV532W66L000514   1JJV      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558454   2006   WABSH   1JJV532W86L000515   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558455   2006   WABSH   1JJV532WX6L000516   1JJV      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558456   2006   WABSH   1JJV532W16L000517   1JJV      IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558457   2006   WABSH   1JJV532W36L000518   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558458   2006   WABSH   1JJV532W56L000519   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558459   2006   WABSH   1JJV532W16L000520   1JJV      MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558460   2006   WABSH   1JJV532W36L000521   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558461   2006   WABSH   1JJV532W56L000522   1JJV      GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558462   2006   WABSH   1JJV532W76L000523   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558463   2006   WABSH   1JJV532W96L000524   1JJV      TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558465   2006   WABSH   1JJV532W26L000526   1JJV      CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558466   2006   WABSH   1JJV532W46L000527   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558467   2006   WABSH   1JJV532W66L000528   1JJV      NY        Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558469   2006   WABSH   1JJV532W46L000530   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558470   2006   WABSH   1JJV532W66L000531   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558471   2006   WABSH   1JJV532W86L000532   1JJV      IL        Atlanta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558473   2006   WABSH   1JJV532W16L000534   1JJV      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558474   2006   WABSH   1JJV532W36L000535   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558475   2006   WABSH   1JJV532W56L000536   1JJV      OH        North Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558476   2006   WABSH   1JJV532W76L000537   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558477   2006   WABSH   1JJV532W96L000538   1JJV      NE        Kearney
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558478   2006   WABSH   1JJV532W06L000539   1JJV      KS        Salina
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558479   2006   WABSH   1JJV532W76L000540   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558480   2006   WABSH   1JJV532W96L000541   1JJV      IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558481   2006   WABSH   1JJV532W06L000542   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558482   2006   WABSH   1JJV532W26L000543   1JJV      OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558483   2006   WABSH   1JJV532W46L000544   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558484   2006   WABSH   1JJV532W66L000545   1JJV      TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558485   2006   WABSH   1JJV532W86L000546   1JJV      WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558486   2006   WABSH   1JJV532WX6L000547   1JJV      MN        Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558487   2006   WABSH   1JJV532W16L000548   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558488   2006   WABSH   1JJV532W36L000549   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558489   2006   WABSH   1JJV532WX6L000550   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558490   2006   WABSH   1JJV532W16L000551   1JJV      NY        Rochester
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558491   2006   WABSH   1JJV532W36L000552   1JJV      ME        Fairfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558492   2006   WABSH   1JJV532W56L000553   1JJV      CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558493   2006   WABSH   1JJV532W76L000554   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558494   2006   WABSH   1JJV532W96L000555   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558495   2006   WABSH   1JJV532W06L000556   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558496   2006   WABSH   1JJV532W26L000557   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558497   2006   WABSH   1JJV532W46L000558   1JJV      MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558498   2006   WABSH   1JJV532W66L000559   1JJV      NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558499   2006   WABSH   1JJV532W26L000560   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558500   2006   WABSH   1JJV532W46L000561   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558501   2006   WABSH   1JJV532W66L000562   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558502   2006   WABSH   1JJV532W86L000563   1JJV      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558503   2006   WABSH   1JJV532WX6L000564   1JJV      MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558504   2006   WABSH   1JJV532W16L000565   1JJV      OH        Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558505   2006   WABSH   1JJV532W36L000566   1JJV      IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558506   2006   WABSH   1JJV532W56L000567   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558507   2006   WABSH   1JJV532W76L000568   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558508   2006   WABSH   1JJV532W96L000569   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558509   2006   WABSH   1JJV532W56L000570   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558510   2006   WABSH   1JJV532W76L000571   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558511   2006   WABSH   1JJV532W96L000572   1JJV      Alberta   Calgary
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 835 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558512   2006   WABSH   1JJV532W06L000573   1JJV      GA         Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558513   2006   WABSH   1JJV532W26L000574   1JJV      MO         Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558514   2006   WABSH   1JJV532W46L000575   1JJV      TN         Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558515   2006   WABSH   1JJV532W66L000576   1JJV      IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558516   2006   WABSH   1JJV532W86L000577   1JJV      TX         Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558517   2006   WABSH   1JJV532WX6L000578   1JJV      TN         Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558518   2006   WABSH   1JJV532W16L000579   1JJV      SC         Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558519   2006   WABSH   1JJV532W86L000580   1JJV      TX         Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558520   2006   WABSH   1JJV532WX6L000581   1JJV      IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558521   2006   WABSH   1JJV532W16L000582   1JJV      NY         Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558522   2006   WABSH   1JJV532W36L000583   1JJV      IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558523   2006   WABSH   1JJV532W56L000584   1JJV      GA         Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558524   2006   WABSH   1JJV532W76L000585   1JJV      OH         Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558525   2006   WABSH   1JJV532W96L000586   1JJV      NC         Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558526   2006   WABSH   1JJV532W06L000587   1JJV      TN         Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558527   2006   WABSH   1JJV532W26L000588   1JJV      TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558528   2006   WABSH   1JJV532W46L000589   1JJV      TN         Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558529   2006   WABSH   1JJV532W06L000590   1JJV      PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558530   2006   WABSH   1JJV532W26L000591   1JJV      MI         Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558531   2006   WABSH   1JJV532W46L000592   1JJV      OH         Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558532   2006   WABSH   1JJV532W66L000593   1JJV      FL         Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558533   2006   WABSH   1JJV532W86L000594   1JJV      IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558534   2006   WABSH   1JJV532WX6L000595   1JJV      TN         Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558535   2006   WABSH   1JJV532W16L000596   1JJV      GA         Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558536   2006   WABSH   1JJV532W36L000597   1JJV      IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558538   2006   WABSH   1JJV532W76L000599   1JJV      CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558539   2006   WABSH   1JJV532WX6L000600   1JJV      FL         Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558540   2006   WABSH   1JJV532W16L000601   1JJV      TN         Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558541   2006   WABSH   1JJV532W36L000602   1JJV      SC         Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558542   2006   WABSH   1JJV532W56L000603   1JJV      WA         Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558543   2006   WABSH   1JJV532W76L000604   1JJV      NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558544   2006   WABSH   1JJV532W96L000605   1JJV      IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558545   2006   WABSH   1JJV532W06L000606   1JJV      MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558546   2006   WABSH   1JJV532W26L000607   1JJV      IN         South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558548   2006   WABSH   1JJV532W66L000609   1JJV      SC         West Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558549   2006   WABSH   1JJV532W26L000610   1JJV      TX         Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558550   2006   WABSH   1JJV532W46L000611   1JJV      FL         Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558551   2006   WABSH   1JJV532W66L000612   1JJV      TX         Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558552   2006   WABSH   1JJV532W86L000613   1JJV      IL         Atlanta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558553   2006   WABSH   1JJV532WX6L000614   1JJV      OH         Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558554   2006   WABSH   1JJV532W16L000615   1JJV      CA         Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558555   2006   WABSH   1JJV532W36L000616   1JJV      IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558556   2006   WABSH   1JJV532W56L000617   1JJV      NC         Rocky Mount
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558557   2006   WABSH   1JJV532W76L000618   1JJV      NC         Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558558   2006   WABSH   1JJV532W96L000619   1JJV      IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558559   2006   WABSH   1JJV532W56L000620   1JJV      RI         Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558560   2006   WABSH   1JJV532W76L000621   1JJV      AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558561   2006   WABSH   1JJV532W96L000622   1JJV      VA         Chesapeake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558562   2006   WABSH   1JJV532W06L000623   1JJV      WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558563   2006   WABSH   1JJV532W26L000624   1JJV      NJ         Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558564   2006   WABSH   1JJV532W46L000625   1JJV      GA         Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558565   2006   WABSH   1JJV532W66L000626   1JJV      NJ         Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558566   2006   WABSH   1JJV532W86L000627   1JJV      OH         Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558567   2006   WABSH   1JJV532WX6L000628   1JJV      GA         Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558568   2006   WABSH   1JJV532W16L000629   1JJV      SC         Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558569   2006   WABSH   1JJV532W86L000630   1JJV      CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558570   2006   WABSH   1JJV532WX6L000631   1JJV      TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558571   2006   WABSH   1JJV532W16L000632   1JJV      CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558573   2006   WABSH   1JJV532W56L000634   1JJV      TX         Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558574   2006   WABSH   1JJV532W76L000635   1JJV      TN         Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558575   2006   WABSH   1JJV532W96L000636   1JJV      CA         Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558576   2006   WABSH   1JJV532W06L000637   1JJV      UT         Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558577   2006   WABSH   1JJV532W26L000638   1JJV      NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558578   2006   WABSH   1JJV532W46L000639   1JJV      Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558579   2006   WABSH   1JJV532W06L000640   1JJV      KS         Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558581   2006   WABSH   1JJV532W46L000642   1JJV      SC         North Charleston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558582   2006   WABSH   1JJV532W66L000643   1JJV      NJ         Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558583   2006   WABSH   1JJV532W86L000644   1JJV      NC         Rocky Mount
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558584   2006   WABSH   1JJV532WX6L000645   1JJV      MO         Saint Louis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 836 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558586   2006   WABSH   1JJV532W36L000647   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558587   2006   WABSH   1JJV532W56L000648   1JJV      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558589   2006   WABSH   1JJV532W36L000650   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558590   2006   WABSH   1JJV532W56L000651   1JJV      NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558591   2006   WABSH   1JJV532W76L000652   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558592   2006   WABSH   1JJV532W96L000653   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558593   2006   WABSH   1JJV532W06L000654   1JJV      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558594   2006   WABSH   1JJV532W26L000655   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558595   2006   WABSH   1JJV532W46L000656   1JJV      NE        Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558596   2006   WABSH   1JJV532W66L000657   1JJV      NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558597   2006   WABSH   1JJV532W86L000658   1JJV      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558598   2006   WABSH   1JJV532WX6L000659   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558599   2006   WABSH   1JJV532W66L000660   1JJV      KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558600   2006   WABSH   1JJV532W86L000661   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558601   2006   WABSH   1JJV532WX6L000662   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558602   2006   WABSH   1JJV532W16L000663   1JJV      GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558603   2006   WABSH   1JJV532W36L000664   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558604   2006   WABSH   1JJV532W56L000665   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558605   2006   WABSH   1JJV532W76L000666   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558606   2006   WABSH   1JJV532W96L000667   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558607   2006   WABSH   1JJV532W06L000668   1JJV      GA        Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558608   2006   WABSH   1JJV532W26L000669   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558609   2006   WABSH   1JJV532W96L000670   1JJV      KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558610   2006   WABSH   1JJV532W06L000671   1JJV      KS        Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558611   2006   WABSH   1JJV532W26L000672   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558612   2006   WABSH   1JJV532W46L000673   1JJV      CA        San Diego
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558613   2006   WABSH   1JJV532W66L000674   1JJV      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558614   2006   WABSH   1JJV532W86L000675   1JJV      OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558615   2006   WABSH   1JJV532WX6L000676   1JJV      IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558616   2006   WABSH   1JJV532W16L000677   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558617   2006   WABSH   1JJV532W36L000678   1JJV      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558618   2006   WABSH   1JJV532W56L000679   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558619   2006   WABSH   1JJV532W16L000680   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558620   2006   WABSH   1JJV532W36L000681   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558621   2006   WABSH   1JJV532W56L000682   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558622   2006   WABSH   1JJV532W76L000683   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558623   2006   WABSH   1JJV532W96L000684   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558624   2006   WABSH   1JJV532W06L000685   1JJV      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558625   2006   WABSH   1JJV532W26L000686   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558626   2006   WABSH   1JJV532W46L000687   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558627   2006   WABSH   1JJV532W66L000688   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558628   2006   WABSH   1JJV532W86L000689   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558629   2006   WABSH   1JJV532W46L000690   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558630   2006   WABSH   1JJV532W66L000691   1JJV      OR        Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558631   2006   WABSH   1JJV532W86L000692   1JJV      MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558632   2006   WABSH   1JJV532WX6L000693   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558633   2006   WABSH   1JJV532W16L000694   1JJV      CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558634   2006   WABSH   1JJV532W36L000695   1JJV      DE        Seaford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558635   2006   WABSH   1JJV532W56L000696   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558636   2006   WABSH   1JJV532W76L000697   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558637   2006   WABSH   1JJV532W96L000698   1JJV      MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558638   2006   WABSH   1JJV532W06L000699   1JJV      MI        Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558639   2006   WABSH   1JJV532W36L000700   1JJV      SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558640   2006   WABSH   1JJV532W56L000701   1JJV      NC        Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558641   2006   WABSH   1JJV532W76L000702   1JJV      CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558642   2006   WABSH   1JJV532W96L000703   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558643   2006   WABSH   1JJV532W06L000704   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558644   2006   WABSH   1JJV532W26L000705   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558645   2006   WABSH   1JJV532W46L000706   1JJV      IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558646   2006   WABSH   1JJV532W66L000707   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558647   2006   WABSH   1JJV532W86L000708   1JJV      Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558648   2006   WABSH   1JJV532WX6L000709   1JJV      IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558649   2006   WABSH   1JJV532W66L000710   1JJV      CO        Henderson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558650   2006   WABSH   1JJV532W86L000711   1JJV      NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558651   2006   WABSH   1JJV532WX6L000712   1JJV      WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558652   2006   WABSH   1JJV532W16L000713   1JJV      TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558653   2006   WABSH   1JJV532W36L000714   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558654   2006   WABSH   1JJV532W56L000715   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558655   2006   WABSH   1JJV532W76L000716   1JJV      TN        Nashville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 837 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558656   2006   WABSH   1JJV532W96L000717   1JJV      MI        Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558657   2006   WABSH   1JJV532W06L000718   1JJV      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558658   2006   WABSH   1JJV532W26L000719   1JJV      NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558659   2006   WABSH   1JJV532W96L000720   1JJV      OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558660   2006   WABSH   1JJV532W06L000721   1JJV      KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558661   2006   WABSH   1JJV532W26L000722   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558662   2006   WABSH   1JJV532W46L000723   1JJV      SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558663   2006   WABSH   1JJV532W66L000724   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558664   2006   WABSH   1JJV532W86L000725   1JJV      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558665   2006   WABSH   1JJV532WX6L000726   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558666   2006   WABSH   1JJV532W16L000727   1JJV      Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558667   2006   WABSH   1JJV532W36L000728   1JJV      IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558668   2006   WABSH   1JJV532W56L000729   1JJV      TX        Lubbock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558669   2006   WABSH   1JJV532W16L000730   1JJV      Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558670   2006   WABSH   1JJV532W36L000731   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558671   2006   WABSH   1JJV532W56L000732   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558672   2006   WABSH   1JJV532W76L000733   1JJV      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558673   2006   WABSH   1JJV532W96L000734   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558674   2006   WABSH   1JJV532W06L000735   1JJV      TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558675   2006   WABSH   1JJV532W26L000736   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558676   2006   WABSH   1JJV532W46L000737   1JJV      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558677   2006   WABSH   1JJV532W66L000738   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558678   2006   WABSH   1JJV532W86L000739   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558679   2006   WABSH   1JJV532W46L000740   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558680   2006   WABSH   1JJV532W66L000741   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558681   2006   WABSH   1JJV532W86L000742   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558682   2006   WABSH   1JJV532WX6L000743   1JJV      OH        Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558683   2006   WABSH   1JJV532W16L000744   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558684   2006   WABSH   1JJV532W36L000745   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558685   2006   WABSH   1JJV532W56L000746   1JJV      TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558686   2006   WABSH   1JJV532W76L000747   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558687   2006   WABSH   1JJV532W96L000748   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558688   2006   WABSH   1JJV532W06L000749   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558689   2006   WABSH   1JJV532W76L000750   1JJV      KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558690   2006   WABSH   1JJV532W96L000751   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558691   2006   WABSH   1JJV532W06L000752   1JJV      SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558692   2006   WABSH   1JJV532W26L000753   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558693   2006   WABSH   1JJV532W46L000754   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558694   2006   WABSH   1JJV532W66L000755   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558695   2006   WABSH   1JJV532W86L000756   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558696   2006   WABSH   1JJV532WX6L000757   1JJV      NC        Raleigh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558697   2006   WABSH   1JJV532W16L000758   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558698   2006   WABSH   1JJV532W36L000759   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558699   2006   WABSH   1JJV532WX6L000760   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558700   2006   WABSH   1JJV532W16L000761   1JJV      MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558701   2006   WABSH   1JJV532W36L000762   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558702   2006   WABSH   1JJV532W56L000763   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558703   2006   WABSH   1JJV532W76L000764   1JJV      IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558704   2006   WABSH   1JJV532W96L000765   1JJV      AL        Birmingham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558705   2006   WABSH   1JJV532W06L000766   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558706   2006   WABSH   1JJV532W26L000767   1JJV      TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558707   2006   WABSH   1JJV532W46L000768   1JJV      TA        Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558708   2006   WABSH   1JJV532W66L000769   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558709   2006   WABSH   1JJV532W26L000770   1JJV      FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558710   2006   WABSH   1JJV532W46L000771   1JJV      PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558711   2006   WABSH   1JJV532W66L000772   1JJV      FL        Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558712   2006   WABSH   1JJV532W86L000773   1JJV      IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558713   2006   WABSH   1JJV532WX6L000774   1JJV      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558714   2006   WABSH   1JJV532W16L000775   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558715   2006   WABSH   1JJV532W36L000776   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558717   2006   WABSH   1JJV532W76L000778   1JJV      KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558718   2006   WABSH   1JJV532W96L000779   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558719   2006   WABSH   1JJV532W56L000780   1JJV      FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558720   2006   WABSH   1JJV532W76L000781   1JJV      IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558721   2006   WABSH   1JJV532W96L000782   1JJV      IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558722   2006   WABSH   1JJV532W06L000783   1JJV      Ontario   Woodstock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558723   2006   WABSH   1JJV532W26L000784   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558724   2006   WABSH   1JJV532W46L000785   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558725   2006   WABSH   1JJV532W66L000786   1JJV      TN        Memphis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 838 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558727   2006   WABSH   1JJV532WX6L000788   1JJV      WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558728   2006   WABSH   1JJV532W16L000789   1JJV      NJ             Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558729   2006   WABSH   1JJV532W86L000790   1JJV      Alberta        Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558730   2006   WABSH   1JJV532WX6L000791   1JJV      DE             New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558731   2006   WABSH   1JJV532W16L000792   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558732   2006   WABSH   1JJV532W36L000793   1JJV      OH             Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558733   2006   WABSH   1JJV532W56L000794   1JJV      OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558734   2006   WABSH   1JJV532W76L000795   1JJV      AZ             Tucson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558735   2006   WABSH   1JJV532W96L000796   1JJV      GA             Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558736   2006   WABSH   1JJV532W06L000797   1JJV      TX             Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558737   2006   WABSH   1JJV532W26L000798   1JJV      SC             West Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558738   2006   WABSH   1JJV532W46L000799   1JJV      KS             Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558739   2006   WABSH   1JJV532W76L000800   1JJV      AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558740   2006   WABSH   1JJV532W96L000801   1JJV      CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558741   2006   WABSH   1JJV532W06L000802   1JJV      IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558742   2006   WABSH   1JJV532W26L000803   1JJV      TX             El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558743   2006   WABSH   1JJV532W46L000804   1JJV      OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558744   2006   WABSH   1JJV532W66L000805   1JJV      OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558745   2006   WABSH   1JJV532W86L000806   1JJV      GA             Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558746   2006   WABSH   1JJV532WX6L000807   1JJV      Ontario        Woodstock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558747   2006   WABSH   1JJV532W16L000808   1JJV      CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558748   2006   WABSH   1JJV532W36L000809   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558749   2006   WABSH   1JJV532WX6L000810   1JJV      NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558750   2006   WABSH   1JJV532W16L000811   1JJV      TX             Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558751   2006   WABSH   1JJV532W36L000812   1JJV      MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558752   2006   WABSH   1JJV532W56L000813   1JJV      TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558753   2006   WABSH   1JJV532W76L000814   1JJV      TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558754   2006   WABSH   1JJV532W96L000815   1JJV      WI             Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558756   2006   WABSH   1JJV532W26L000817   1JJV      AR             Springdale
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558757   2006   WABSH   1JJV532W46L000818   1JJV      CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558760   2007   WABSH   1JJV532W87L043138   1JJV      WI             Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558761   2007   WABSH   1JJV532WX7L043139   1JJV      GA             Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558762   2007   WABSH   1JJV532W67L043140   1JJV      SC             Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558763   2007   WABSH   1JJV532W87L043141   1JJV      WA             Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558764   2007   WABSH   1JJV532WX7L043142   1JJV      KS             Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558765   2007   WABSH   1JJV532W17L043143   1JJV      KY             Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558766   2007   WABSH   1JJV532W37L043144   1JJV      IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558767   2007   WABSH   1JJV532W57L043145   1JJV      AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558768   2007   WABSH   1JJV532W77L043146   1JJV      OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558769   2007   WABSH   1JJV532W97L043147   1JJV      NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558770   2007   WABSH   1JJV532W07L043148   1JJV      NC             Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558771   2007   WABSH   1JJV532W27L043149   1JJV      TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558772   2007   WABSH   1JJV532W97L043150   1JJV      TA             Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558773   2007   WABSH   1JJV532W07L043151   1JJV      IA             Sioux City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558774   2007   WABSH   1JJV532W27L043152   1JJV      IL             Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558775   2007   WABSH   1JJV532W47L043153   1JJV      WI             Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558776   2007   WABSH   1JJV532W67L043154   1JJV      IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558777   2007   WABSH   1JJV532W87L043155   1JJV      CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558778   2007   WABSH   1JJV532WX7L043156   1JJV      CO             Henderson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558779   2007   WABSH   1JJV532W17L043157   1JJV      TX             El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558780   2007   WABSH   1JJV532W37L043158   1JJV      OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558781   2007   WABSH   1JJV532W57L043159   1JJV      CT             Plantsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558782   2007   WABSH   1JJV532W17L043160   1JJV      MI             Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558783   2007   WABSH   1JJV532W37L043161   1JJV      OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558784   2007   WABSH   1JJV532W57L043162   1JJV      TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558785   2007   WABSH   1JJV532W77L043163   1JJV      NC             Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558786   2007   WABSH   1JJV532W97L043164   1JJV      Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558787   2007   WABSH   1JJV532W07L043165   1JJV      KY             Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558788   2007   WABSH   1JJV532W27L043166   1JJV      MN             Coon Rapids
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558789   2007   WABSH   1JJV532W47L043167   1JJV      PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558790   2007   WABSH   1JJV532W67L043168   1JJV      CA             Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558791   2007   WABSH   1JJV532W87L043169   1JJV      NV             Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558792   2007   WABSH   1JJV532W47L043170   1JJV      MO             Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558793   2007   WABSH   1JJV532W67L043171   1JJV      OH             Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558794   2007   WABSH   1JJV532W87L043172   1JJV      IL             Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558795   2007   WABSH   1JJV532WX7L043173   1JJV      TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558796   2007   WABSH   1JJV532W17L043174   1JJV      AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558797   2007   WABSH   1JJV532W37L043175   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558798   2007   WABSH   1JJV532W57L043176   1JJV      PA             Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 839 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558799   2007   WABSH   1JJV532W77L043177   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558800   2007   WABSH   1JJV532W97L043178   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558801   2007   WABSH   1JJV532W07L043179   1JJV      PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558803   2007   WABSH   1JJV532W97L043181   1JJV      CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558804   2007   WABSH   1JJV532W07L043182   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558805   2007   WABSH   1JJV532W27L043183   1JJV      WA        Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558806   2007   WABSH   1JJV532W47L043184   1JJV      KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558807   2007   WABSH   1JJV532W67L043185   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558808   2007   WABSH   1JJV532W87L043186   1JJV      CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558809   2007   WABSH   1JJV532WX7L043187   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558812   2007   WABSH   1JJV532WX7L043190   1JJV      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558813   2007   WABSH   1JJV532W17L043191   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558814   2007   WABSH   1JJV532W37L043192   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558815   2007   WABSH   1JJV532W57L043193   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558816   2007   WABSH   1JJV532W77L043194   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558819   2007   WABSH   1JJV532W27L043197   1JJV      PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558820   2007   WABSH   1JJV532W47L043198   1JJV      SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558821   2007   WABSH   1JJV532W67L043199   1JJV      FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558822   2007   WABSH   1JJV532W97L043200   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558823   2007   WABSH   1JJV532W07L043201   1JJV      IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558825   2007   WABSH   1JJV532W47L043203   1JJV      MN        Saint Cloud
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558826   2007   WABSH   1JJV532W67L043204   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558827   2007   WABSH   1JJV532W87L043205   1JJV      IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558829   2007   WABSH   1JJV532W17L043207   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558830   2007   WABSH   1JJV532W37L043208   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558831   2007   WABSH   1JJV532W57L043209   1JJV      CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558832   2007   WABSH   1JJV532W17L043210   1JJV      FL        Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558833   2007   WABSH   1JJV532W37L043211   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558834   2007   WABSH   1JJV532W57L043212   1JJV      OH        Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558835   2007   WABSH   1JJV532W77L043213   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558836   2007   WABSH   1JJV532W97L043214   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558837   2007   WABSH   1JJV532W07L043215   1JJV      MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558838   2007   WABSH   1JJV532W27L043216   1JJV      VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558839   2007   WABSH   1JJV532W47L043217   1JJV      VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558840   2007   WABSH   1JJV532W67L043218   1JJV      IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558841   2007   WABSH   1JJV532W87L043219   1JJV      AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558842   2007   WABSH   1JJV532W47L043220   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558844   2007   WABSH   1JJV532W87L043222   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558845   2007   WABSH   1JJV532WX7L043223   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558846   2007   WABSH   1JJV532W17L043224   1JJV      MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558847   2007   WABSH   1JJV532W37L043225   1JJV      OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558848   2007   WABSH   1JJV532W57L043226   1JJV      WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558849   2007   WABSH   1JJV532W77L043227   1JJV      Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558851   2007   WABSH   1JJV532W07L043229   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558852   2007   WABSH   1JJV532W77L043230   1JJV      IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558853   2007   WABSH   1JJV532W97L043231   1JJV      IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558854   2007   WABSH   1JJV532W07L043232   1JJV      WI        Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558855   2007   WABSH   1JJV532W27L043233   1JJV      WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558856   2007   WABSH   1JJV532W47L043234   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558857   2007   WABSH   1JJV532W67L043235   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558858   2007   WABSH   1JJV532W87L043236   1JJV      NC        Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558860   2007   WABSH   1JJV532W17L043238   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558861   2007   WABSH   1JJV532W37L043239   1JJV      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558862   2007   WABSH   1JJV532WX7L043240   1JJV      PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558863   2007   WABSH   1JJV532W17L043241   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558864   2007   WABSH   1JJV532W37L043242   1JJV      CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558865   2007   WABSH   1JJV532W57L043243   1JJV      WI        Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558866   2007   WABSH   1JJV532W77L043244   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558867   2007   WABSH   1JJV532W97L043245   1JJV      NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558868   2007   WABSH   1JJV532W07L043246   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558869   2007   WABSH   1JJV532W27L043247   1JJV      PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558870   2007   WABSH   1JJV532W47L043248   1JJV      Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558871   2007   WABSH   1JJV532W67L043249   1JJV      CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558872   2007   WABSH   1JJV532W27L043250   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558873   2007   WABSH   1JJV532W47L043251   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558875   2007   WABSH   1JJV532W87L043253   1JJV      IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558876   2007   WABSH   1JJV532WX7L043254   1JJV      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558877   2007   WABSH   1JJV532W17L043255   1JJV      SD        Watertown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558878   2007   WABSH   1JJV532W37L043256   1JJV      VA        Fishersville
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 840 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558879   2007   WABSH   1JJV532W57L043257   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558880   2007   WABSH   1JJV532W77L043258   1JJV      PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558881   2007   WABSH   1JJV532W97L043259   1JJV      NV             Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558882   2007   WABSH   1JJV532W57L043260   1JJV      AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558883   2007   WABSH   1JJV532W77L043261   1JJV      PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558884   2007   WABSH   1JJV532W97L043262   1JJV      NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558885   2007   WABSH   1JJV532W07L043263   1JJV      UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558886   2007   WABSH   1JJV532W27L043264   1JJV      IL             Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558887   2007   WABSH   1JJV532W47L043265   1JJV      MI             Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558888   2007   WABSH   1JJV532W67L043266   1JJV      WA             Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558889   2007   WABSH   1JJV532W87L043267   1JJV      CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558890   2007   WABSH   1JJV532WX7L043268   1JJV      MI             Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558891   2007   WABSH   1JJV532W17L043269   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558892   2007   WABSH   1JJV532W87L043270   1JJV      OH             Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558893   2007   WABSH   1JJV532WX7L043271   1JJV      MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558894   2007   WABSH   1JJV532W17L043272   1JJV      TN             Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558895   2007   WABSH   1JJV532W37L043273   1JJV      TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558896   2007   WABSH   1JJV532W57L043274   1JJV      PA             Line Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558897   2007   WABSH   1JJV532W77L043275   1JJV      PA             Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558898   2007   WABSH   1JJV532W97L043276   1JJV      CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558899   2007   WABSH   1JJV532W07L043277   1JJV      NV             Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558900   2007   WABSH   1JJV532W27L043278   1JJV      OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558901   2007   WABSH   1JJV532W47L043279   1JJV      PA             Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558902   2007   WABSH   1JJV532W07L043280   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558903   2007   WABSH   1JJV532W27L043281   1JJV      NJ             Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558906   2007   WABSH   1JJV532W87L043284   1JJV      FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558907   2007   WABSH   1JJV532WX7L043285   1JJV      IL             Rockford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558908   2007   WABSH   1JJV532W17L043286   1JJV      VT             Bellows Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558909   2007   WABSH   1JJV532W37L043287   1JJV      GA             Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558910   2007   WABSH   1JJV532W57L043288   1JJV      OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558911   2007   WABSH   1JJV532W77L043289   1JJV      TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558912   2007   WABSH   1JJV532W37L043290   1JJV      AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558913   2007   WABSH   1JJV532W57L043291   1JJV      PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558914   2007   WABSH   1JJV532W77L043292   1JJV      IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558915   2007   WABSH   1JJV532W97L043293   1JJV      TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558916   2007   WABSH   1JJV532W07L043294   1JJV      PA             Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558917   2007   WABSH   1JJV532W27L043295   1JJV      NJ             Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558918   2007   WABSH   1JJV532W47L043296   1JJV      TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558920   2007   WABSH   1JJV532W87L043298   1JJV      MD             Baltimore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558921   2007   WABSH   1JJV532WX7L043299   1JJV      TX             McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558922   2007   WABSH   1JJV532W27L043300   1JJV      TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558923   2007   WABSH   1JJV532W47L043301   1JJV      IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558924   2007   WABSH   1JJV532W67L043302   1JJV      PA             Dunmore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558925   2007   WABSH   1JJV532W87L043303   1JJV      WI             Mosinee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558926   2007   WABSH   1JJV532WX7L043304   1JJV      NJ             Kearny
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558927   2007   WABSH   1JJV532W17L043305   1JJV      GA             Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558928   2007   WABSH   1JJV532W37L043306   1JJV      TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558929   2007   WABSH   1JJV532W57L043307   1JJV      CO             Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558930   2007   WABSH   1JJV532W77L043308   1JJV      Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558931   2007   WABSH   1JJV532W97L043309   1JJV      TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558932   2007   WABSH   1JJV532W57L043310   1JJV      IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558933   2007   WABSH   1JJV532W77L043311   1JJV      PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558934   2007   WABSH   1JJV532W97L043312   1JJV      FL             Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558935   2007   WABSH   1JJV532W07L043313   1JJV      OH             Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558936   2007   WABSH   1JJV532W27L043314   1JJV      Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558937   2007   WABSH   1JJV532W47L043315   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558938   2007   WABSH   1JJV532W67L043316   1JJV      Ontario        Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558939   2007   WABSH   1JJV532W87L043317   1JJV      OH             Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558940   2007   WABSH   1JJV532WX7L043318   1JJV      OH             North Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558941   2007   WABSH   1JJV532W17L043319   1JJV      FL             Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558942   2007   WABSH   1JJV532W87L043320   1JJV      CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558943   2007   WABSH   1JJV532WX7L043321   1JJV      AL             Mobile
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558944   2007   WABSH   1JJV532W17L043322   1JJV      VA             Richmond
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558945   2007   WABSH   1JJV532W37L043323   1JJV      TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558946   2007   WABSH   1JJV532W57L043324   1JJV      SD             Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558947   2007   WABSH   1JJV532W77L043325   1JJV      MI             Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558948   2007   WABSH   1JJV532W97L043326   1JJV      SC             West Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558949   2007   WABSH   1JJV532W07L043327   1JJV      WI             Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558951   2007   WABSH   1JJV532W47L043329   1JJV      PA             Erie
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 841 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558952   2007   WABSH   1JJV532W07L043330   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558953   2007   WABSH   1JJV532W27L043331   1JJV      AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558954   2007   WABSH   1JJV532W47L043332   1JJV      Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558955   2007   WABSH   1JJV532W67L043333   1JJV      KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558956   2007   WABSH   1JJV532W87L043334   1JJV      OH        Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558957   2007   WABSH   1JJV532WX7L043335   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558958   2007   WABSH   1JJV532W17L043336   1JJV      IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558959   2007   WABSH   1JJV532W37L043337   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558960   2007   WABSH   1JJV532W57L043338   1JJV      TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558961   2007   WABSH   1JJV532W77L043339   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558962   2007   WABSH   1JJV532W37L043340   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558963   2007   WABSH   1JJV532W57L043341   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558964   2007   WABSH   1JJV532W77L043342   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558965   2007   WABSH   1JJV532W97L043343   1JJV      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558966   2007   WABSH   1JJV532W07L043344   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558967   2007   WABSH   1JJV532W27L043345   1JJV      IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558968   2007   WABSH   1JJV532W47L043346   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558969   2007   WABSH   1JJV532W67L043347   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558970   2007   WABSH   1JJV532W87L043348   1JJV      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558971   2007   WABSH   1JJV532WX7L043349   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558972   2007   WABSH   1JJV532W67L043350   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558973   2007   WABSH   1JJV532W87L043351   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558974   2007   WABSH   1JJV532WX7L043352   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558975   2007   WABSH   1JJV532W17L043353   1JJV      WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558976   2007   WABSH   1JJV532W37L043354   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558977   2007   WABSH   1JJV532W57L043355   1JJV      GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558978   2007   WABSH   1JJV532W77L043356   1JJV      AR        Springdale
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558979   2007   WABSH   1JJV532W97L043357   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558980   2007   WABSH   1JJV532W07L043358   1JJV      AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558981   2007   WABSH   1JJV532W27L043359   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558982   2007   WABSH   1JJV532W97L043360   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558983   2007   WABSH   1JJV532W07L043361   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558984   2007   WABSH   1JJV532W27L043362   1JJV      GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558985   2007   WABSH   1JJV532W47L043363   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558986   2007   WABSH   1JJV532W67L043364   1JJV      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558987   2007   WABSH   1JJV532W87L043365   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558988   2007   WABSH   1JJV532WX7L043366   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558989   2007   WABSH   1JJV532W17L043367   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558990   2007   WABSH   1JJV532W37L043368   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558991   2007   WABSH   1JJV532W57L043369   1JJV      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558992   2007   WABSH   1JJV532W17L043370   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558993   2007   WABSH   1JJV532W37L043371   1JJV      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558994   2007   WABSH   1JJV532W57L043372   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558996   2007   WABSH   1JJV532W97L043374   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558997   2007   WABSH   1JJV532W07L043375   1JJV      NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558998   2007   WABSH   1JJV532W27L043376   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY558999   2007   WABSH   1JJV532W47L043377   1JJV      MO        Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559000   2007   WABSH   1JJV532W67L043378   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559001   2007   WABSH   1JJV532W87L043379   1JJV      NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559003   2007   WABSH   1JJV532W67L043381   1JJV      MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559004   2007   WABSH   1JJV532W87L043382   1JJV      OR        Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559006   2007   WABSH   1JJV532W17L043384   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559007   2007   WABSH   1JJV532W37L043385   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559008   2007   WABSH   1JJV532W57L043386   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559009   2007   WABSH   1JJV532W77L043387   1JJV      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559010   2007   WABSH   1JJV532W97L043388   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559011   2007   WABSH   1JJV532W07L043389   1JJV      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559012   2007   WABSH   1JJV532W77L043390   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559013   2007   WABSH   1JJV532W97L043391   1JJV      FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559015   2007   WABSH   1JJV532W27L043393   1JJV      TX        Waco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559016   2007   WABSH   1JJV532W47L043394   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559017   2007   WABSH   1JJV532W67L043395   1JJV      GA        Macon
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559018   2007   WABSH   1JJV532W87L043396   1JJV      PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559019   2007   WABSH   1JJV532WX7L043397   1JJV      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559021   2007   WABSH   1JJV532W37L043399   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559022   2007   WABSH   1JJV532W67L043400   1JJV      OH        Gallipolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559023   2007   WABSH   1JJV532W87L043401   1JJV      FL        Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559024   2007   WABSH   1JJV532WX7L043402   1JJV      IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559025   2007   WABSH   1JJV532W17L043403   1JJV      UT        Salt Lake City
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 842 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559026   2007   WABSH   1JJV532W37L043404   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559027   2007   WABSH   1JJV532W57L043405   1JJV      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559028   2007   WABSH   1JJV532W77L043406   1JJV      WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559029   2007   WABSH   1JJV532W97L043407   1JJV      FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559030   2007   WABSH   1JJV532W07L043408   1JJV      TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559031   2007   WABSH   1JJV532W27L043409   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559034   2007   WABSH   1JJV532W27L043412   1JJV      PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559035   2007   WABSH   1JJV532W47L043413   1JJV      NY        Mount Vernon
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559036   2007   WABSH   1JJV532W67L043414   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559038   2007   WABSH   1JJV532WX7L043416   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559039   2007   WABSH   1JJV532W17L043417   1JJV      WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559040   2007   WABSH   1JJV532W37L043418   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559042   2007   WABSH   1JJV532W17L043420   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559043   2007   WABSH   1JJV532W37L043421   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559044   2007   WABSH   1JJV532W57L043422   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559045   2007   WABSH   1JJV532W77L043423   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559047   2007   WABSH   1JJV532W07L043425   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559048   2007   WABSH   1JJV532W27L043426   1JJV      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559049   2007   WABSH   1JJV532W47L043427   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559050   2007   WABSH   1JJV532W67L043428   1JJV      NC        Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559051   2007   WABSH   1JJV532W87L043429   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559052   2007   WABSH   1JJV532W47L043430   1JJV      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559053   2007   WABSH   1JJV532W67L043431   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559054   2007   WABSH   1JJV532W87L043432   1JJV      Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559055   2007   WABSH   1JJV532WX7L043433   1JJV      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559056   2007   WABSH   1JJV532W17L043434   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559057   2007   WABSH   1JJV532W37L043435   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559059   2007   WABSH   1JJV532W77L043437   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559060   2007   WABSH   1JJV532W67L046183   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559061   2007   WABSH   1JJV532W87L046184   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559062   2007   WABSH   1JJV532WX7L046185   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559063   2007   WABSH   1JJV532W17L046186   1JJV      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559064   2007   WABSH   1JJV532W37L046187   1JJV      CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559065   2007   WABSH   1JJV532W57L046188   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559066   2007   WABSH   1JJV532W77L046189   1JJV      UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559067   2007   WABSH   1JJV532W37L046190   1JJV      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559068   2007   WABSH   1JJV532W57L046191   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559069   2007   WABSH   1JJV532W77L046192   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559070   2007   WABSH   1JJV532W97L046193   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559071   2007   WABSH   1JJV532W07L046194   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559072   2007   WABSH   1JJV532W27L046195   1JJV      TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559073   2007   WABSH   1JJV532W47L046196   1JJV      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559074   2007   WABSH   1JJV532W67L046197   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559075   2007   WABSH   1JJV532W87L046198   1JJV      IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559077   2007   WABSH   1JJV532W27L046200   1JJV      TX        Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559078   2007   WABSH   1JJV532W47L046201   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559079   2007   WABSH   1JJV532W67L046202   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559080   2007   WABSH   1JJV532W87L046203   1JJV      WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559081   2007   WABSH   1JJV532WX7L046204   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559082   2007   WABSH   1JJV532W17L046205   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559083   2007   WABSH   1JJV532W37L046206   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559085   2007   WABSH   1JJV532W77L046208   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559086   2007   WABSH   1JJV532W97L046209   1JJV      WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559087   2007   WABSH   1JJV532W57L046210   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559088   2007   WABSH   1JJV532W77L046211   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559089   2007   WABSH   1JJV532W97L046212   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559090   2007   WABSH   1JJV532W07L046213   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559091   2007   WABSH   1JJV532W27L046214   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559093   2007   WABSH   1JJV532W67L046216   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559094   2007   WABSH   1JJV532W87L046217   1JJV      MI        Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559095   2007   WABSH   1JJV532WX7L046218   1JJV      SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559096   2007   WABSH   1JJV532W17L046219   1JJV      IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559097   2007   GRTDN   1GRAA06227D422421   1GRA      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559099   2007   GRTDN   1GRAA06267D422423   1GRA      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559100   2007   GRTDN   1GRAA06287D422424   1GRA      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559101   2007   GRTDN   1GRAA062X7D422425   1GRA      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559102   2007   GRTDN   1GRAA06217D422426   1GRA      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559103   2007   GRTDN   1GRAA06237D422427   1GRA      KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559104   2007   GRTDN   1GRAA06257D422428   1GRA      CA        Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 843 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559105   2007   GRTDN   1GRAA06277D422429   1GRA      DE        New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559107   2007   GRTDN   1GRAA06257D422431   1GRA      Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559108   2007   GRTDN   1GRAA06277D422432   1GRA      NE        Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559109   2007   GRTDN   1GRAA06297D422433   1GRA      NC        Raleigh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559110   2007   GRTDN   1GRAA06207D422434   1GRA      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559111   2007   GRTDN   1GRAA06227D422435   1GRA      MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559112   2007   GRTDN   1GRAA06247D422436   1GRA      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559113   2007   GRTDN   1GRAA06267D422437   1GRA      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559114   2007   GRTDN   1GRAA06287D422438   1GRA      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559115   2007   GRTDN   1GRAA062X7D422439   1GRA      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559116   2007   GRTDN   1GRAA06267D422440   1GRA      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559117   2007   GRTDN   1GRAA06287D422441   1GRA      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559118   2007   GRTDN   1GRAA062X7D422442   1GRA      NC        Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559119   2007   GRTDN   1GRAA06217D422443   1GRA      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559120   2007   GRTDN   1GRAA06237D422444   1GRA      TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559121   2007   GRTDN   1GRAA06257D422445   1GRA      OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559122   2007   GRTDN   1GRAA06277D422446   1GRA      FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559123   2007   GRTDN   1GRAA06297D422447   1GRA      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559125   2007   GRTDN   1GRAA06227D422449   1GRA      MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559127   2007   GRTDN   1GRAA06207D422451   1GRA      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559128   2007   GRTDN   1GRAA06227D422452   1GRA      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559129   2007   GRTDN   1GRAA06247D422453   1GRA      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559130   2007   GRTDN   1GRAA06267D422454   1GRA      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559131   2007   GRTDN   1GRAA06287D422455   1GRA      PA        Erie
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559132   2007   GRTDN   1GRAA062X7D422456   1GRA      IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559133   2007   GRTDN   1GRAA06217D422457   1GRA      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559134   2007   GRTDN   1GRAA06237D422458   1GRA      IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559135   2007   GRTDN   1GRAA06257D422459   1GRA      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559136   2007   GRTDN   1GRAA06217D422460   1GRA      IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559137   2007   GRTDN   1GRAA06237D422461   1GRA      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559138   2007   GRTDN   1GRAA06257D422462   1GRA      NY        Rochester
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559139   2007   GRTDN   1GRAA06277D422463   1GRA      WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559140   2007   GRTDN   1GRAA06297D422464   1GRA      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559141   2007   GRTDN   1GRAA06207D422465   1GRA      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559142   2007   GRTDN   1GRAA06227D422466   1GRA      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559143   2007   GRTDN   1GRAA06247D422467   1GRA      NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559145   2007   GRTDN   1GRAA06287D422469   1GRA      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559146   2007   GRTDN   1GRAA06247D422470   1GRA      IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559147   2007   GRTDN   1GRAA06267D422471   1GRA      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559148   2007   GRTDN   1GRAA06287D422472   1GRA      IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559149   2007   GRTDN   1GRAA062X7D422473   1GRA      CO        Henderson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559150   2007   GRTDN   1GRAA06217D422474   1GRA      TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559151   2007   GRTDN   1GRAA06237D422475   1GRA      CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559152   2007   GRTDN   1GRAA06257D422476   1GRA      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559153   2007   GRTDN   1GRAA06277D422477   1GRA      NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559154   2007   GRTDN   1GRAA06297D422478   1GRA      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559155   2007   GRTDN   1GRAA06207D422479   1GRA      GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559156   2007   GRTDN   1GRAA06277D422480   1GRA      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559157   2007   GRTDN   1GRAA06297D422481   1GRA      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559159   2007   GRTDN   1GRAA06227D422483   1GRA      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559160   2007   GRTDN   1GRAA06247D422484   1GRA      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559161   2007   GRTDN   1GRAA06267D422485   1GRA      CA        Calexico
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559162   2007   GRTDN   1GRAA06287D422486   1GRA      MN        Coon Rapids
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559163   2007   GRTDN   1GRAA062X7D422487   1GRA      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559164   2007   GRTDN   1GRAA06217D422488   1GRA      TX        Waco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559165   2007   GRTDN   1GRAA06237D422489   1GRA      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559166   2007   GRTDN   1GRAA062X7D422490   1GRA      MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559167   2007   GRTDN   1GRAA06217D422491   1GRA      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559168   2007   GRTDN   1GRAA06237D422492   1GRA      VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559169   2007   GRTDN   1GRAA06257D422493   1GRA      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559170   2007   GRTDN   1GRAA06277D422494   1GRA      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559171   2007   GRTDN   1GRAA06297D422495   1GRA      WI        Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559172   2007   GRTDN   1GRAA06207D422496   1GRA      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559173   2007   GRTDN   1GRAA06227D422497   1GRA      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559174   2007   GRTDN   1GRAA06247D422498   1GRA      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559175   2007   GRTDN   1GRAA06267D422499   1GRA      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559176   2007   GRTDN   1GRAA06297D422500   1GRA      KY        Paducah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559177   2007   GRTDN   1GRAA06207D422501   1GRA      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559178   2007   GRTDN   1GRAA06227D422502   1GRA      CA        Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 844 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State            City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559179   2007   GRTDN   1GRAA06247D422503   1GRA      IL               Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559180   2007   GRTDN   1GRAA06267D422504   1GRA      British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559181   2007   GRTDN   1GRAA06287D422505   1GRA      TN               Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559183   2007   GRTDN   1GRAA06217D422507   1GRA      LA               Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559184   2007   GRTDN   1GRAA06237D422508   1GRA      VA               Roanoke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559185   2007   GRTDN   1GRAA06257D422509   1GRA      IL               Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559186   2007   GRTDN   1GRAA06217D422510   1GRA      TN               Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559187   2007   GRTDN   1GRAA06237D422511   1GRA      PA               Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559188   2007   GRTDN   1GRAA06257D422512   1GRA      NV               Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559189   2007   GRTDN   1GRAA06277D422513   1GRA      TX               Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559190   2007   GRTDN   1GRAA06297D422514   1GRA      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559191   2007   GRTDN   1GRAA06207D422515   1GRA      NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559192   2007   GRTDN   1GRAA06227D422516   1GRA      TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559193   2007   GRTDN   1GRAA06247D422517   1GRA      GA               Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559194   2007   GRTDN   1GRAA06267D422518   1GRA      OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559195   2007   GRTDN   1GRAA06287D422519   1GRA      IN               South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559196   2007   GRTDN   1GRAA06247D422520   1GRA      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559198   2007   GRTDN   1GRAA06217K286195   1GRA      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559199   2007   GRTDN   1GRAA06237K286196   1GRA      NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559200   2007   GRTDN   1GRAA06257K286197   1GRA      WI               Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559201   2007   GRTDN   1GRAA06277K286198   1GRA      PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559202   2007   GRTDN   1GRAA06297K286199   1GRA      IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559204   2007   GRTDN   1GRAA06237K286201   1GRA      WA               Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559205   2007   GRTDN   1GRAA06257K286202   1GRA      OH               Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559206   2007   GRTDN   1GRAA06277K286203   1GRA      NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559207   2007   GRTDN   1GRAA06297K286204   1GRA      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559208   2007   GRTDN   1GRAA06207K286205   1GRA      OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559209   2007   GRTDN   1GRAA06227K286206   1GRA      PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559210   2007   GRTDN   1GRAA06247K286207   1GRA      FL               Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559211   2007   GRTDN   1GRAA06267K286208   1GRA      IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559212   2007   GRTDN   1GRAA06287K286209   1GRA      CA               Ventura
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559213   2007   GRTDN   1GRAA06247K286210   1GRA      IN               South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559214   2007   GRTDN   1GRAA06267K286211   1GRA      IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559215   2007   GRTDN   1GRAA06287K286212   1GRA      IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559216   2007   GRTDN   1GRAA062X7K286213   1GRA      OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559217   2007   GRTDN   1GRAA06217K286214   1GRA      CO               Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559218   2007   GRTDN   1GRAA06237K286215   1GRA      IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559219   2007   GRTDN   1GRAA06257K286216   1GRA      NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559220   2007   GRTDN   1GRAA06277K286217   1GRA      FL               Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559221   2007   GRTDN   1GRAA06297K286218   1GRA      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559223   2007   GRTDN   1GRAA06277K286220   1GRA      IN               South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559225   2007   GRTDN   1GRAA06207K286222   1GRA      OH               Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559226   2007   GRTDN   1GRAA06227K286223   1GRA      TX               Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559227   2007   GRTDN   1GRAA06247K286224   1GRA      FL               Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559228   2007   GRTDN   1GRAA06267K286225   1GRA      TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559229   2007   GRTDN   1GRAA06287K286226   1GRA      IL               Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559230   2007   GRTDN   1GRAA062X7K286227   1GRA      LA               Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559231   2007   GRTDN   1GRAA06217K286228   1GRA      TN               Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559232   2007   GRTDN   1GRAA06237K286229   1GRA      NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559233   2007   GRTDN   1GRAA062X7K286230   1GRA      OH               Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559234   2007   GRTDN   1GRAA06217K286231   1GRA      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559235   2007   GRTDN   1GRAA06237K286232   1GRA      TX               Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559236   2007   GRTDN   1GRAA06257K286233   1GRA      NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559237   2007   GRTDN   1GRAA06277K286234   1GRA      MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559240   2007   GRTDN   1GRAA06227K286237   1GRA      TX               Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559241   2007   GRTDN   1GRAA06247K286238   1GRA      OH               Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559242   2007   GRTDN   1GRAA06267K286239   1GRA      NY               Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559243   2007   GRTDN   1GRAA06227K286240   1GRA      UT               Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559244   2007   GRTDN   1GRAA06247K286241   1GRA      OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559246   2007   GRTDN   1GRAA06287K286243   1GRA      TN               Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559247   2007   GRTDN   1GRAA062X7K286244   1GRA      IN               Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559248   2007   GRTDN   1GRAA06217K286245   1GRA      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559249   2007   GRTDN   1GRAA06237K286246   1GRA      CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559250   2007   GRTDN   1GRAA06257K286247   1GRA      CA               Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559251   2007   GRTDN   1GRAA06277K286248   1GRA      TN               Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559252   2007   GRTDN   1GRAA06297K286249   1GRA      FL               Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559256   2007   GRTDN   1GRAA06207K286253   1GRA      CA               Gardena
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559257   2007   GRTDN   1GRAA06227K286254   1GRA      IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559258   2007   GRTDN   1GRAA06247K286255   1GRA      WA               Seattle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 845 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559259   2007   GRTDN   1GRAA06267K286256   1GRA      KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559260   2007   GRTDN   1GRAA06287K286257   1GRA      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559261   2007   GRTDN   1GRAA062X7K286258   1GRA      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559265   2007   GRTDN   1GRAA06217K286262   1GRA      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559266   2007   GRTDN   1GRAA06237K286263   1GRA      NJ        South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559267   2007   GRTDN   1GRAA06257K286264   1GRA      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559269   2007   GRTDN   1GRAA06297K286266   1GRA      NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559270   2007   GRTDN   1GRAA06207K286267   1GRA      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559271   2007   GRTDN   1GRAA06227K286268   1GRA      PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559272   2007   GRTDN   1GRAA06247K286269   1GRA      CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559273   2007   GRTDN   1GRAA06207K286270   1GRA      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559274   2007   GRTDN   1GRAA06227K286271   1GRA      WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559275   2007   GRTDN   1GRAA06247K286272   1GRA      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559276   2007   GRTDN   1GRAA06267K286273   1GRA      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559277   2007   GRTDN   1GRAA06287K286274   1GRA      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559279   2007   GRTDN   1GRAA06217K286276   1GRA      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559280   2007   GRTDN   1GRAA06237K286277   1GRA      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559281   2007   GRTDN   1GRAA06257K286278   1GRA      WI        Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559282   2007   GRTDN   1GRAA06277K286279   1GRA      TX        Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559283   2007   GRTDN   1GRAA06237K286280   1GRA      WI        Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559284   2007   GRTDN   1GRAA06257K286281   1GRA      CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559285   2007   GRTDN   1GRAA06277K286282   1GRA      FL        Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559287   2007   GRTDN   1GRAA06207K286284   1GRA      NC        Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559288   2007   GRTDN   1GRAA06227K286285   1GRA      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559289   2007   GRTDN   1GRAA06247K286286   1GRA      NE        Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559290   2007   GRTDN   1GRAA06267K286287   1GRA      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559291   2007   GRTDN   1GRAA06287K286288   1GRA      TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559292   2007   GRTDN   1GRAA062X7K286289   1GRA      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559294   2007   GRTDN   1GRAA06287K286291   1GRA      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559295   2007   GRTDN   1GRAA062X7K286292   1GRA      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559296   2007   GRTDN   1GRAA06217K286293   1GRA      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559297   2007   GRTDN   1GRAA06237K286294   1GRA      TX        Eagle Pass
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559298   2007   GRTDN   1GRAA06257K286295   1GRA      NY        Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559300   2007   GRTDN   1GRAA06297K286297   1GRA      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559301   2007   GRTDN   1GRAA06207K286298   1GRA      OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559302   2007   GRTDN   1GRAA06227K286299   1GRA      PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559303   2007   GRTDN   1GRAA06257K286300   1GRA      IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559304   2007   GRTDN   1GRAA06277K286301   1GRA      TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559305   2007   GRTDN   1GRAA06297K286302   1GRA      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559306   2007   GRTDN   1GRAA06207K286303   1GRA      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559307   2007   GRTDN   1GRAA06227K286304   1GRA      IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559308   2007   GRTDN   1GRAA06247K286305   1GRA      FL        Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559309   2007   GRTDN   1GRAA06267K286306   1GRA      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559310   2007   GRTDN   1GRAA06287K286307   1GRA      NE        Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559311   2007   GRTDN   1GRAA062X7K286308   1GRA      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559312   2007   GRTDN   1GRAA06217K286309   1GRA      CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559313   2007   GRTDN   1GRAA06287K286310   1GRA      WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559314   2007   GRTDN   1GRAA062X7K286311   1GRA      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559315   2007   GRTDN   1GRAA06217K286312   1GRA      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559316   2007   GRTDN   1GRAA06237K286313   1GRA      KY        Paducah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559317   2007   GRTDN   1GRAA06257K286314   1GRA      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559318   2007   GRTDN   1GRAA06277K286315   1GRA      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559319   2007   GRTDN   1GRAA06297K286316   1GRA      GA        Savannah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559320   2007   GRTDN   1GRAA06207K286317   1GRA      PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559321   2007   GRTDN   1GRAA06227K286318   1GRA      AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559322   2007   GRTDN   1GRAA06247K286319   1GRA      MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559323   2007   GRTDN   1GRAA06207K286320   1GRA      IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559324   2007   GRTDN   1GRAA06227K286321   1GRA      IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559325   2007   GRTDN   1GRAA06247K286322   1GRA      WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559326   2007   GRTDN   1GRAA06267K286323   1GRA      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559327   2007   GRTDN   1GRAA06287K286324   1GRA      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559328   2007   GRTDN   1GRAA062X7K286325   1GRA      Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559330   2007   GRTDN   1GRAA06237K286327   1GRA      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559331   2007   GRTDN   1GRAA06257K286328   1GRA      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559332   2007   GRTDN   1GRAA06277K286329   1GRA      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559333   2007   GRTDN   1GRAA06237K286330   1GRA      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559334   2007   GRTDN   1GRAA06257K286331   1GRA      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559335   2007   GRTDN   1GRAA06277K286332   1GRA      IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559336   2007   GRTDN   1GRAA06297K286333   1GRA      OH        Dayton
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 846 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559337   2007   GRTDN   1GRAA06207K286334   1GRA      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559338   2007   GRTDN   1GRAA06227K286335   1GRA      PA      Line Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559339   2007   GRTDN   1GRAA06247K286336   1GRA      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559340   2007   GRTDN   1GRAA06267K286337   1GRA      OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559341   2007   GRTDN   1GRAA06287K286338   1GRA      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559342   2007   GRTDN   1GRAA062X7K286339   1GRA      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559343   2007   GRTDN   1GRAA06267K286340   1GRA      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559344   2007   GRTDN   1GRAA06287K286341   1GRA      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559346   2007   GRTDN   1GRAA06217K286343   1GRA      PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559347   2007   GRTDN   1GRAA06237K286344   1GRA      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559349   2007   GRTDN   1GRAA06277K286346   1GRA      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559350   2007   GRTDN   1GRAA06297K286347   1GRA      MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559351   2007   GRTDN   1GRAA06207K286348   1GRA      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559352   2007   GRTDN   1GRAA06227K286349   1GRA      MI      Birch Run
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559353   2007   GRTDN   1GRAA06297K286350   1GRA      AZ      Nogales
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559354   2007   GRTDN   1GRAA06207K286351   1GRA      MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559355   2007   GRTDN   1GRAA06227K286352   1GRA      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559356   2007   GRTDN   1GRAA06247K286353   1GRA      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559358   2007   GRTDN   1GRAA06287K286355   1GRA      CA      Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559359   2007   GRTDN   1GRAA062X7K286356   1GRA      CO      Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559360   2007   GRTDN   1GRAA06217K286357   1GRA      FL      Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559361   2007   GRTDN   1GRAA06237K286358   1GRA      NY      Williamsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559362   2007   GRTDN   1GRAA06257K286359   1GRA      NY      Elmira
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559363   2007   GRTDN   1GRAA06217K286360   1GRA      MS      Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559364   2007   GRTDN   1GRAA06237K286361   1GRA      GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559365   2007   GRTDN   1GRAA06257K286362   1GRA      OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559366   2007   GRTDN   1GRAA06277K286363   1GRA      DE      New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559367   2007   GRTDN   1GRAA06297K286364   1GRA      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559368   2007   GRTDN   1GRAA06207K286365   1GRA      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559369   2007   GRTDN   1GRAA06227K286366   1GRA      TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559371   2007   GRTDN   1GRAA06267K286368   1GRA      TX      Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559372   2007   GRTDN   1GRAA06287K286369   1GRA      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559373   2007   GRTDN   1GRAA06247K286370   1GRA      AL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559374   2007   GRTDN   1GRAA06267K286371   1GRA      PA      Camp Hill
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559375   2007   GRTDN   1GRAA06287K286372   1GRA      IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559376   2007   GRTDN   1GRAA062X7K286373   1GRA      OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559377   2007   GRTDN   1GRAA06217K286374   1GRA      TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559378   2007   GRTDN   1GRAA06237K286375   1GRA      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559379   2007   GRTDN   1GRAA06257K286376   1GRA      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559380   2007   GRTDN   1GRAA06277K286377   1GRA      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559381   2007   GRTDN   1GRAA06297K286378   1GRA      OH      Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559382   2007   GRTDN   1GRAA06207K286379   1GRA      WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559383   2007   GRTDN   1GRAA06277K286380   1GRA      CT      Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559384   2007   GRTDN   1GRAA06297K286381   1GRA      NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559385   2007   GRTDN   1GRAA06207K286382   1GRA      IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559386   2007   GRTDN   1GRAA06227K286383   1GRA      PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559387   2007   GRTDN   1GRAA06247K286384   1GRA      MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559388   2007   GRTDN   1GRAA06267K286385   1GRA      CA      Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559389   2007   GRTDN   1GRAA06287K286386   1GRA      TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559390   2007   GRTDN   1GRAA062X7K286387   1GRA      TX      McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559391   2007   GRTDN   1GRAA06217K286388   1GRA      CA      Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559392   2007   GRTDN   1GRAA06237K286389   1GRA      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559393   2007   GRTDN   1GRAA062X7K286390   1GRA      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559395   2007   GRTDN   1GRAA06237K286392   1GRA      GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559396   2007   GRTDN   1GRAA06257K286393   1GRA      NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559397   2007   GRTDN   1GRAA06277K286394   1GRA      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559398   2007   GRTDN   1GRAA06297K286395   1GRA      FL      Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559399   2007   GRTDN   1GRAA06207K286396   1GRA      CA      Santa Rosa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559400   2007   GRTDN   1GRAA06227K286397   1GRA      GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559401   2007   GRTDN   1GRAA06247K286398   1GRA      TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559402   2007   GRTDN   1GRAA06267K286399   1GRA      TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559403   2007   GRTDN   1GRAA06297K286400   1GRA      NJ      Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559405   2007   GRTDN   1GRAA06227K286402   1GRA      TX      McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559406   2007   GRTDN   1GRAA06247K286403   1GRA      NC      Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559408   2007   GRTDN   1GRAA06287K286405   1GRA      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559409   2007   GRTDN   1GRAA062X7K286406   1GRA      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559410   2007   GRTDN   1GRAA06217K286407   1GRA      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559411   2007   GRTDN   1GRAA06237K286408   1GRA      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559412   2007   GRTDN   1GRAA06257K286409   1GRA      IA      Council Bluffs
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 847 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559413   2007   GRTDN   1GRAA06217K286410   1GRA      OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559414   2007   GRTDN   1GRAA06237K286411   1GRA      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559415   2007   GRTDN   1GRAA06257K286412   1GRA      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559416   2007   GRTDN   1GRAA06277K286413   1GRA      PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559417   2007   GRTDN   1GRAA06297K286414   1GRA      WI      Madison
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559418   2007   GRTDN   1GRAA06207K286415   1GRA      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559419   2007   GRTDN   1GRAA06227K286416   1GRA      OH      Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559420   2007   GRTDN   1GRAA06247K286417   1GRA      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559421   2007   GRTDN   1GRAA06267K286418   1GRA      NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559422   2007   GRTDN   1GRAA06287K286419   1GRA      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559423   2007   GRTDN   1GRAA06247K286420   1GRA      TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559424   2007   GRTDN   1GRAA06267K286421   1GRA      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559425   2007   GRTDN   1GRAA06287K286422   1GRA      IA      Mason City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559426   2007   GRTDN   1GRAA062X7K286423   1GRA      OH      Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559427   2007   GRTDN   1GRAA06217K286424   1GRA      UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559428   2007   GRTDN   1GRAA06237K286425   1GRA      NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559429   2007   GRTDN   1GRAA06257K286426   1GRA      WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559430   2007   GRTDN   1GRAA06277K286427   1GRA      IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559431   2007   GRTDN   1GRAA06297K286428   1GRA      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559432   2007   GRTDN   1GRAA06207K286429   1GRA      KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559433   2007   WABSH   1JJV532W57L051018   1JJV      MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559434   2007   WABSH   1JJV532W77L051019   1JJV      NY      Glenmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559435   2007   WABSH   1JJV532W37L051020   1JJV      TX      Lubbock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559436   2007   WABSH   1JJV532W57L051021   1JJV      OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559437   2007   WABSH   1JJV532W77L051022   1JJV      NV      Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559438   2007   WABSH   1JJV532W97L051023   1JJV      SC      North Charleston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559439   2007   WABSH   1JJV532W07L051024   1JJV      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559441   2007   WABSH   1JJV532W47L051026   1JJV      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559442   2007   WABSH   1JJV532W67L051027   1JJV      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559443   2007   WABSH   1JJV532W87L051028   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559444   2007   WABSH   1JJV532WX7L051029   1JJV      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559446   2007   WABSH   1JJV532W87L051031   1JJV      MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559447   2007   WABSH   1JJV532WX7L051032   1JJV      PA      Reading
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559448   2007   WABSH   1JJV532W17L051033   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559449   2007   WABSH   1JJV532W37L051034   1JJV      TX      Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559451   2007   WABSH   1JJV532W77L051036   1JJV      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559452   2007   WABSH   1JJV532W97L051037   1JJV      TX      San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559453   2007   WABSH   1JJV532W07L051038   1JJV      IL      McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559454   2007   WABSH   1JJV532W27L051039   1JJV      TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559455   2007   WABSH   1JJV532W97L051040   1JJV      GA      Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559456   2007   WABSH   1JJV532W07L051041   1JJV      NC      Raleigh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559457   2007   WABSH   1JJV532W27L051042   1JJV      IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559458   2007   WABSH   1JJV532W47L051043   1JJV      IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559460   2007   WABSH   1JJV532W87L051045   1JJV      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559461   2007   WABSH   1JJV532WX7L051046   1JJV      CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559463   2007   WABSH   1JJV532W37L051048   1JJV      PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559464   2007   WABSH   1JJV532W57L051049   1JJV      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559465   2007   WABSH   1JJV532W17L051050   1JJV      NY      Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559466   2007   WABSH   1JJV532W37L051051   1JJV      IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559467   2007   WABSH   1JJV532W57L051052   1JJV      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559468   2007   WABSH   1JJV532W77L051053   1JJV      PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559469   2007   WABSH   1JJV532W97L051054   1JJV      CA      Visalia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559470   2007   WABSH   1JJV532W07L051055   1JJV      NV      Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559471   2007   WABSH   1JJV532W27L051056   1JJV      IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559472   2007   WABSH   1JJV532W47L051057   1JJV      LA      Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559473   2007   WABSH   1JJV532W67L051058   1JJV      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559474   2007   WABSH   1JJV532W87L051059   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559475   2007   WABSH   1JJV532W47L051060   1JJV      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559476   2007   WABSH   1JJV532W67L051061   1JJV      PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559477   2007   WABSH   1JJV532W87L051062   1JJV      OH      Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559478   2007   WABSH   1JJV532WX7L051063   1JJV      TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559479   2007   WABSH   1JJV532W17L051064   1JJV      IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559480   2007   WABSH   1JJV532W37L051065   1JJV      GA      Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559481   2007   WABSH   1JJV532W57L051066   1JJV      PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559482   2007   WABSH   1JJV532W77L051067   1JJV      NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559483   2007   WABSH   1JJV532W97L051068   1JJV      IL      Atlanta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559484   2007   WABSH   1JJV532W07L051069   1JJV      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559485   2007   WABSH   1JJV532W77L051070   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559486   2007   WABSH   1JJV532W97L051071   1JJV      MD      Hagerstown
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 848 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559487   2007   WABSH   1JJV532W07L051072   1JJV      NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559488   2007   WABSH   1JJV532W27L051073   1JJV      Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559489   2007   WABSH   1JJV532W47L051074   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559490   2007   WABSH   1JJV532W67L051075   1JJV      OH        Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559491   2007   WABSH   1JJV532W87L051076   1JJV      RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559492   2007   WABSH   1JJV532WX7L051077   1JJV      TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559493   2007   WABSH   1JJV532W17L051078   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559494   2007   WABSH   1JJV532W37L051079   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559495   2007   WABSH   1JJV532WX7L051080   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559496   2007   WABSH   1JJV532W17L051081   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559498   2007   WABSH   1JJV532W57L051083   1JJV      MO        Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559500   2007   WABSH   1JJV532W97L051085   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559501   2007   WABSH   1JJV532W07L051086   1JJV      NE        Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559502   2007   WABSH   1JJV532W27L051087   1JJV      AZ        Tucson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559503   2007   WABSH   1JJV532W47L051088   1JJV      MO        Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559504   2007   WABSH   1JJV532W67L051089   1JJV      TA        Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559505   2007   WABSH   1JJV532W27L051090   1JJV      CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559506   2007   WABSH   1JJV532W47L051091   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559507   2007   WABSH   1JJV532W67L051092   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559508   2007   WABSH   1JJV532W87L051093   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559509   2007   WABSH   1JJV532WX7L051094   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559510   2007   WABSH   1JJV532W17L051095   1JJV      TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559511   2007   WABSH   1JJV532W37L051096   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559512   2007   WABSH   1JJV532W57L051097   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559513   2007   WABSH   1JJV532W77L051098   1JJV      OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559514   2007   WABSH   1JJV532W97L051099   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559515   2007   WABSH   1JJV532W17L051100   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559516   2007   WABSH   1JJV532W37L051101   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559517   2007   WABSH   1JJV532W57L051102   1JJV      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559518   2007   WABSH   1JJV532W77L051103   1JJV      NJ        Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559519   2007   WABSH   1JJV532W97L051104   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559520   2007   WABSH   1JJV532W07L051105   1JJV      IA        Des Moines
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559522   2007   WABSH   1JJV532W47L051107   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559523   2007   WABSH   1JJV532W67L051108   1JJV      FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559524   2007   WABSH   1JJV532W87L051109   1JJV      NJ        Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559525   2007   WABSH   1JJV532W47L051110   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559527   2007   WABSH   1JJV532W87L051112   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559529   2007   WABSH   1JJV532W17L051114   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559530   2007   WABSH   1JJV532W37L051115   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559531   2007   WABSH   1JJV532W57L051116   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559532   2007   WABSH   1JJV532W77L051117   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559534   2007   WABSH   1JJV532W07L051119   1JJV      TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559535   2007   WABSH   1JJV532W77L051120   1JJV      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559536   2007   WABSH   1JJV532W97L051121   1JJV      MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559537   2007   WABSH   1JJV532W07L051122   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559538   2007   WABSH   1JJV532W27L051123   1JJV      NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559539   2007   WABSH   1JJV532W47L051124   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559540   2007   WABSH   1JJV532W67L051125   1JJV      AR        Little Rock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559541   2007   WABSH   1JJV532W87L051126   1JJV      IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559542   2007   WABSH   1JJV532WX7L051127   1JJV      CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559544   2007   WABSH   1JJV532W37L051129   1JJV      MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559545   2007   WABSH   1JJV532WX7L051130   1JJV      GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559546   2007   WABSH   1JJV532W17L051131   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559548   2007   WABSH   1JJV532W57L051133   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559549   2007   WABSH   1JJV532W77L051134   1JJV      IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559550   2007   WABSH   1JJV532W97L051135   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559551   2007   WABSH   1JJV532W07L051136   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559553   2007   WABSH   1JJV532W47L051138   1JJV      OH        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559554   2007   WABSH   1JJV532W67L051139   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559555   2007   WABSH   1JJV532W27L051140   1JJV      PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559556   2007   WABSH   1JJV532W47L051141   1JJV      SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559557   2007   WABSH   1JJV532W67L051142   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559558   2007   WABSH   1JJV532W87L051143   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559560   2007   WABSH   1JJV532W17L051145   1JJV      TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559561   2007   WABSH   1JJV532W37L051146   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559562   2007   WABSH   1JJV532W57L051147   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559563   2007   WABSH   1JJV532W77L051148   1JJV      GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559567   2007   WABSH   1JJV532W97L051152   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559568   2007   WABSH   1JJV532W07L051153   1JJV      NC        Charlotte
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 849 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559569   2007   WABSH   1JJV532W27L051154   1JJV      CA      Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559570   2007   WABSH   1JJV532W47L051155   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559571   2007   WABSH   1JJV532W67L051156   1JJV      NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559574   2007   WABSH   1JJV532W17L051159   1JJV      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559575   2007   WABSH   1JJV532W87L051160   1JJV      CA      Downey
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559576   2007   WABSH   1JJV532WX7L051161   1JJV      TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559577   2007   WABSH   1JJV532W17L051162   1JJV      OH      Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559578   2007   WABSH   1JJV532W37L051163   1JJV      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559579   2007   WABSH   1JJV532W57L051164   1JJV      GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559580   2007   WABSH   1JJV532W77L051165   1JJV      WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559581   2007   WABSH   1JJV532W97L051166   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559582   2007   WABSH   1JJV532W07L051167   1JJV      OH      Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559583   2007   WABSH   1JJV532W27L051168   1JJV      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559584   2007   WABSH   1JJV532W47L051169   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559585   2007   WABSH   1JJV532W07L051170   1JJV      NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559586   2007   WABSH   1JJV532W27L051171   1JJV      CO      Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559587   2007   WABSH   1JJV532W47L051172   1JJV      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559588   2007   WABSH   1JJV532W67L051173   1JJV      NV      Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559589   2007   WABSH   1JJV532W87L051174   1JJV      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559591   2007   WABSH   1JJV532W17L051176   1JJV      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559592   2007   WABSH   1JJV532W37L051177   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559593   2007   WABSH   1JJV532W57L051178   1JJV      IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559594   2007   WABSH   1JJV532W77L051179   1JJV      IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559595   2007   WABSH   1JJV532W37L051180   1JJV      SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559596   2007   WABSH   1JJV532W57L051181   1JJV      OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559597   2007   WABSH   1JJV532W77L051182   1JJV      MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559598   2007   WABSH   1JJV532W97L051183   1JJV      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559599   2007   WABSH   1JJV532W07L051184   1JJV      MA      Shrewsbury
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559600   2007   WABSH   1JJV532W27L051185   1JJV      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559601   2007   WABSH   1JJV532W47L051186   1JJV      TX      El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559602   2007   WABSH   1JJV532W67L051187   1JJV      MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559603   2007   WABSH   1JJV532W87L051188   1JJV      VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559604   2007   WABSH   1JJV532WX7L051189   1JJV      MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559605   2007   WABSH   1JJV532W67L051190   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559606   2007   WABSH   1JJV532W87L051191   1JJV      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559607   2007   WABSH   1JJV532WX7L051192   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559608   2007   WABSH   1JJV532W17L051193   1JJV      NJ      Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559609   2007   WABSH   1JJV532W37L051194   1JJV      FL      Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559610   2007   WABSH   1JJV532W57L051195   1JJV      WI      Madison
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559612   2007   WABSH   1JJV532W97L051197   1JJV      AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559613   2007   WABSH   1JJV532W07L051198   1JJV      NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559616   2007   WABSH   1JJV532W77L051201   1JJV      IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559617   2007   WABSH   1JJV532W97L051202   1JJV      CA      Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559619   2007   WABSH   1JJV532W27L051204   1JJV      ND      Fargo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559620   2007   WABSH   1JJV532W47L051205   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559621   2007   WABSH   1JJV532W67L051206   1JJV      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559622   2007   WABSH   1JJV532W87L051207   1JJV      MI      Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559623   2007   WABSH   1JJV532WX7L051208   1JJV      FL      Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559624   2007   WABSH   1JJV532W17L051209   1JJV      TX      Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559625   2007   WABSH   1JJV532W87L051210   1JJV      FL      Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559626   2007   WABSH   1JJV532WX7L051211   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559627   2007   WABSH   1JJV532W17L051212   1JJV      NC      Wilmington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559628   2007   WABSH   1JJV532W37L051213   1JJV      MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559629   2007   WABSH   1JJV532W57L051214   1JJV      FL      Tampa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559630   2007   WABSH   1JJV532W77L051215   1JJV      CA      Hayward
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559632   2007   WABSH   1JJV532W07L051217   1JJV      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559633   2007   WABSH   1JJV532W27L051218   1JJV      IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559634   2007   WABSH   1JJV532W47L051219   1JJV      VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559635   2007   WABSH   1JJV532W07L051220   1JJV      TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559636   2007   WABSH   1JJV532W27L051221   1JJV      KY      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559637   2007   WABSH   1JJV532W47L051222   1JJV      TA      Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559638   2007   WABSH   1JJV532W67L051223   1JJV      OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559639   2007   WABSH   1JJV532W87L051224   1JJV      GA      Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559640   2007   WABSH   1JJV532WX7L051225   1JJV      IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559641   2007   WABSH   1JJV532W17L051226   1JJV      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559642   2007   WABSH   1JJV532W37L051227   1JJV      CA      Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559644   2007   WABSH   1JJV532W77L051229   1JJV      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559645   2007   WABSH   1JJV532W37L051230   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559646   2007   WABSH   1JJV532W57L051231   1JJV      IL      Bolingbrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 850 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559647   2007   WABSH   1JJV532W77L051232   1JJV      WI      Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559648   2007   WABSH   1JJV532W97L051233   1JJV      OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559649   2007   WABSH   1JJV532W07L051234   1JJV      GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559650   2007   WABSH   1JJV532W27L051235   1JJV      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559651   2007   WABSH   1JJV532W47L051236   1JJV      MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559652   2007   WABSH   1JJV532W67L051237   1JJV      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559653   2007   WABSH   1JJV532W87L051238   1JJV      NV      Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559654   2007   WABSH   1JJV532WX7L051239   1JJV      TX      McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559655   2007   WABSH   1JJV532W67L051240   1JJV      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559656   2007   WABSH   1JJV532W87L051241   1JJV      SC      West Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559657   2007   WABSH   1JJV532WX7L051242   1JJV      SD      Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559658   2007   WABSH   1JJV532W17L051243   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559659   2007   WABSH   1JJV532W37L051244   1JJV      WI      Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559660   2007   WABSH   1JJV532W57L051245   1JJV      TX      McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559661   2007   WABSH   1JJV532W77L051246   1JJV      MI      Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559662   2007   WABSH   1JJV532W97L051247   1JJV      IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559663   2007   WABSH   1JJV532W07L051248   1JJV      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559664   2007   WABSH   1JJV532W27L051249   1JJV      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559665   2007   WABSH   1JJV532W97L051250   1JJV      IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559666   2007   WABSH   1JJV532W07L051251   1JJV      PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559667   2007   WABSH   1JJV532W27L051252   1JJV      NY      Glenmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559669   2007   WABSH   1JJV532W67L051254   1JJV      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559671   2007   WABSH   1JJV532WX7L051256   1JJV      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559673   2007   WABSH   1JJV532W37L051258   1JJV      GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559674   2007   WABSH   1JJV532W57L051259   1JJV      RI      Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559675   2007   WABSH   1JJV532W17L051260   1JJV      WI      Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559676   2007   WABSH   1JJV532W37L051261   1JJV      VA      Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559677   2007   WABSH   1JJV532W57L051262   1JJV      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559678   2007   WABSH   1JJV532W77L051263   1JJV      MS      Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559679   2007   WABSH   1JJV532W97L051264   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559680   2007   WABSH   1JJV532W07L051265   1JJV      TN      Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559681   2007   WABSH   1JJV532W27L051266   1JJV      WI      Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559682   2007   WABSH   1JJV532W47L051267   1JJV      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559684   2007   WABSH   1JJV532W87L051269   1JJV      IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559686   2007   WABSH   1JJV532W67L051271   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559687   2007   WABSH   1JJV532W87L051272   1JJV      CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559688   2007   WABSH   1JJV532WX7L051273   1JJV      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559689   2007   WABSH   1JJV532W17L051274   1JJV      IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559691   2007   WABSH   1JJV532W57L051276   1JJV      NE      Kearney
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559692   2007   WABSH   1JJV532W77L051277   1JJV      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559693   2007   WABSH   1JJV532W97L051278   1JJV      AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559695   2007   WABSH   1JJV532W77L051280   1JJV      MD      Baltimore
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559696   2007   WABSH   1JJV532W97L051281   1JJV      TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559697   2007   WABSH   1JJV532W07L051282   1JJV      NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559698   2007   WABSH   1JJV532W27L051283   1JJV      IN      Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559699   2007   WABSH   1JJV532W47L051284   1JJV      OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559700   2007   WABSH   1JJV532W67L051285   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559701   2007   WABSH   1JJV532W87L051286   1JJV      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559702   2007   WABSH   1JJV532WX7L051287   1JJV      OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559703   2007   WABSH   1JJV532W17L051288   1JJV      CA      San Bernardino
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559704   2007   WABSH   1JJV532W37L051289   1JJV      MI      Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559705   2007   WABSH   1JJV532WX7L051290   1JJV      IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559707   2007   WABSH   1JJV532W37L051292   1JJV      MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559708   2007   WABSH   1JJV532W57L051293   1JJV      TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559709   2007   WABSH   1JJV532W77L051294   1JJV      TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559710   2007   WABSH   1JJV532W97L051295   1JJV      AL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559711   2007   WABSH   1JJV532W07L051296   1JJV      CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559713   2007   WABSH   1JJV532W47L051298   1JJV      UT      Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559715   2007   WABSH   1JJV532W97L051300   1JJV      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559716   2007   WABSH   1JJV532W07L051301   1JJV      NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559717   2007   WABSH   1JJV532W27L051302   1JJV      TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559718   2007   WABSH   1JJV532W47L051303   1JJV      CO      Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559719   2007   WABSH   1JJV532W67L051304   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559720   2007   WABSH   1JJV532W87L051305   1JJV      OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559721   2007   WABSH   1JJV532WX7L051306   1JJV      CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559722   2007   WABSH   1JJV532W17L051307   1JJV      GA      Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559723   2007   WABSH   1JJV532W37L051308   1JJV      IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559724   2007   WABSH   1JJV532W57L051309   1JJV      AL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559726   2007   WABSH   1JJV532W37L051311   1JJV      ND      Fargo
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 851 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559727   2007   WABSH   1JJV532W57L051312   1JJV      KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559729   2007   WABSH   1JJV532W97L051314   1JJV      RI        Cumberland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559730   2007   WABSH   1JJV532W07L051315   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559732   2007   WABSH   1JJV532W47L051317   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559733   2007   WABSH   1JJV532W67L051318   1JJV      GA        Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559734   2007   WABSH   1JJV532W87L051319   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559735   2007   WABSH   1JJV532W47L051320   1JJV      KS        Salina
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559736   2007   WABSH   1JJV532W67L051321   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559737   2007   WABSH   1JJV532W87L051322   1JJV      ID        Pocatello
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559738   2007   WABSH   1JJV532WX7L051323   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559739   2007   WABSH   1JJV532W17L051324   1JJV      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559740   2007   WABSH   1JJV532W37L051325   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559741   2007   WABSH   1JJV532W57L051326   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559742   2007   WABSH   1JJV532W77L051327   1JJV      MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559743   2007   WABSH   1JJV532W97L051328   1JJV      AL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559744   2007   WABSH   1JJV532W07L051329   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559745   2007   WABSH   1JJV532W77L051330   1JJV      MN        Duluth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559746   2007   WABSH   1JJV532W97L051331   1JJV      IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559747   2007   WABSH   1JJV532W07L051332   1JJV      TX        Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559748   2007   WABSH   1JJV532W27L051333   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559749   2007   WABSH   1JJV532W47L051334   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559750   2007   WABSH   1JJV532W67L051335   1JJV      SC        Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559751   2007   WABSH   1JJV532W87L051336   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559752   2007   WABSH   1JJV532WX7L051337   1JJV      PA        Bedford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559753   2007   WABSH   1JJV532W17L051338   1JJV      KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559755   2007   WABSH   1JJV532WX7L051340   1JJV      MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559756   2007   WABSH   1JJV532W17L051341   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559757   2007   WABSH   1JJV532W37L051342   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559758   2007   WABSH   1JJV532W57L051343   1JJV      IN        South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559759   2007   WABSH   1JJV532W77L051344   1JJV      OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559760   2007   WABSH   1JJV532W97L051345   1JJV      IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559762   2007   WABSH   1JJV532W27L051347   1JJV      UT        St. George
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559763   2007   WABSH   1JJV532W47L051348   1JJV      NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559764   2007   WABSH   1JJV532W67L051349   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559765   2007   WABSH   1JJV532W27L051350   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559766   2007   WABSH   1JJV532W47L051351   1JJV      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559767   2007   WABSH   1JJV532W67L051352   1JJV      NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559768   2007   WABSH   1JJV532W87L051353   1JJV      NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559769   2007   WABSH   1JJV532WX7L051354   1JJV      KY        Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559770   2007   WABSH   1JJV532W17L051355   1JJV      PA        Bedford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559771   2007   WABSH   1JJV532W37L051356   1JJV      MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559772   2007   WABSH   1JJV532W57L051357   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559773   2007   WABSH   1JJV532W77L051358   1JJV      MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559774   2007   WABSH   1JJV532W97L051359   1JJV      Ontario   Brampton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559775   2007   WABSH   1JJV532W57L051360   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559776   2007   WABSH   1JJV532W77L051361   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559777   2007   WABSH   1JJV532W97L051362   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559778   2007   WABSH   1JJV532W07L051363   1JJV      IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559779   2007   WABSH   1JJV532W27L051364   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559780   2007   WABSH   1JJV532W47L051365   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559781   2007   WABSH   1JJV532W67L051366   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559783   2007   WABSH   1JJV532WX7L051368   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559785   2007   WABSH   1JJV532W87L051370   1JJV      TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559786   2007   WABSH   1JJV532WX7L051371   1JJV      OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559788   2007   WABSH   1JJV532W37L051373   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559789   2007   WABSH   1JJV532W57L051374   1JJV      OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559790   2007   WABSH   1JJV532W77L051375   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559791   2007   WABSH   1JJV532W97L051376   1JJV      WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559792   2007   WABSH   1JJV532W07L051377   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559793   2007   WABSH   1JJV532W27L051378   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559794   2007   WABSH   1JJV532W47L051379   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559795   2007   WABSH   1JJV532W07L051380   1JJV      MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559796   2007   WABSH   1JJV532W27L051381   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559797   2007   WABSH   1JJV532W47L051382   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559798   2007   WABSH   1JJV532W67L051383   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559799   2007   WABSH   1JJV532W87L051384   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559800   2007   WABSH   1JJV532WX7L051385   1JJV      GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559801   2007   WABSH   1JJV532W17L051386   1JJV      GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559803   2007   WABSH   1JJV532W57L051388   1JJV      IL        Bolingbrook
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 852 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559805   2007   WABSH   1JJV532W37L051390   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559806   2007   WABSH   1JJV532W57L051391   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559807   2007   WABSH   1JJV532W77L051392   1JJV      KY        Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559808   2007   WABSH   1JJV532W97L051393   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559809   2007   WABSH   1JJV532W07L051394   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559810   2007   WABSH   1JJV532W27L051395   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559811   2007   WABSH   1JJV532W47L051396   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559812   2007   WABSH   1JJV532W67L051397   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559813   2007   WABSH   1JJV532W87L051398   1JJV      SD        Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559814   2007   WABSH   1JJV532WX7L051399   1JJV      MO        Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559815   2007   WABSH   1JJV532W27L051400   1JJV      AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559816   2007   WABSH   1JJV532W47L051401   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559817   2007   WABSH   1JJV532W67L051402   1JJV      WI        Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559819   2007   WABSH   1JJV532WX7L051404   1JJV      NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559820   2007   WABSH   1JJV532W17L051405   1JJV      TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559821   2007   WABSH   1JJV532W37L051406   1JJV      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559822   2007   WABSH   1JJV532W57L051407   1JJV      TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559825   2007   WABSH   1JJV532W57L051410   1JJV      IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559826   2007   WABSH   1JJV532W77L051411   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559828   2007   WABSH   1JJV532W07L051413   1JJV      MI        Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559829   2007   WABSH   1JJV532W27L051414   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559830   2007   WABSH   1JJV532W47L051415   1JJV      NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559831   2007   WABSH   1JJV532W67L051416   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559832   2007   WABSH   1JJV532W87L051417   1JJV      TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559833   2007   WABSH   1JJV532WX7L051418   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559834   2007   WABSH   1JJV532W17L051419   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559835   2007   WABSH   1JJV532W87L051420   1JJV      NC        Rocky Mount
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559836   2007   WABSH   1JJV532WX7L051421   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559837   2007   WABSH   1JJV532W17L051422   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559838   2007   WABSH   1JJV532W37L051423   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559839   2007   WABSH   1JJV532W57L051424   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559840   2007   WABSH   1JJV532W77L051425   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559841   2007   WABSH   1JJV532W97L051426   1JJV      MO        Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559842   2007   WABSH   1JJV532W07L051427   1JJV      Alberta   Edmonton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559843   2007   WABSH   1JJV532W27L051428   1JJV      TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559844   2007   WABSH   1JJV532W47L051429   1JJV      TN        Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559845   2007   WABSH   1JJV532W07L051430   1JJV      FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559846   2007   WABSH   1JJV532W27L051431   1JJV      MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559847   2007   WABSH   1JJV532W47L051432   1JJV      OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559848   2007   WABSH   1JJV532W67L051433   1JJV      TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559849   2007   WABSH   1JJV532W87L051434   1JJV      NJ        Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559850   2007   WABSH   1JJV532WX7L051435   1JJV      DE        New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559851   2007   WABSH   1JJV532W17L051436   1JJV      IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559852   2007   WABSH   1JJV532W37L051437   1JJV      IA        Sioux City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559853   2007   WABSH   1JJV532W57L051438   1JJV      OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559854   2007   WABSH   1JJV532W77L051439   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559855   2007   WABSH   1JJV532W37L051440   1JJV      TX        Waco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559856   2007   WABSH   1JJV532W57L051441   1JJV      TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559858   2007   WABSH   1JJV532W97L051443   1JJV      NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559859   2007   WABSH   1JJV532W07L051444   1JJV      NY        Williamsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559861   2007   WABSH   1JJV532W47L051446   1JJV      MI        Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559862   2007   WABSH   1JJV532W67L051447   1JJV      IL        Atlanta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559863   2007   WABSH   1JJV532W87L051448   1JJV      MD        Elkridge
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559864   2007   WABSH   1JJV532WX7L051449   1JJV      MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559866   2007   WABSH   1JJV532W87L051451   1JJV      CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559867   2007   WABSH   1JJV532WX7L051452   1JJV      IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559868   2007   WABSH   1JJV532W17L051453   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559869   2007   WABSH   1JJV532W37L051454   1JJV      GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559870   2007   WABSH   1JJV532W57L051455   1JJV      OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559871   2007   WABSH   1JJV532W77L051456   1JJV      CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559872   2007   WABSH   1JJV532W97L051457   1JJV      Ontario   Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559873   2007   WABSH   1JJV532W07L051458   1JJV      WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559874   2007   WABSH   1JJV532W27L051459   1JJV      NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559875   2007   WABSH   1JJV532W97L051460   1JJV      PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559876   2007   WABSH   1JJV532W07L051461   1JJV      PA        Milton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559877   2007   WABSH   1JJV532W27L051462   1JJV      TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559878   2007   WABSH   1JJV532W47L051463   1JJV      IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559879   2007   WABSH   1JJV532W67L051464   1JJV      TN        Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559880   2007   WABSH   1JJV532W87L051465   1JJV      NC        Charlotte
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 853 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559881   2007   WABSH   1JJV532WX7L051466   1JJV      OH         Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559882   2007   WABSH   1JJV532W17L051467   1JJV      PQ         Sherbrooke
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559883   2007   WABSH   1JJV532W37L051468   1JJV      IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559884   2007   WABSH   1JJV532W57L051469   1JJV      WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559885   2007   WABSH   1JJV532W17L051470   1JJV      MI         Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559886   2007   WABSH   1JJV532W37L051471   1JJV      NE         Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559887   2007   WABSH   1JJV532W57L051472   1JJV      AZ         Nogales
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559888   2007   WABSH   1JJV532W77L051473   1JJV      IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559889   2007   WABSH   1JJV532W97L051474   1JJV      TX         Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559890   2007   WABSH   1JJV532W07L051475   1JJV      OH         Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559891   2007   WABSH   1JJV532W27L051476   1JJV      OH         North Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559892   2007   WABSH   1JJV532W47L051477   1JJV      OH         Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559893   2007   WABSH   1JJV532W67L051478   1JJV      IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559894   2007   WABSH   1JJV532W87L051479   1JJV      IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559895   2007   WABSH   1JJV532W47L051480   1JJV      SD         Sioux Falls
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559896   2007   WABSH   1JJV532W67L051481   1JJV      MI         Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559898   2007   WABSH   1JJV532WX7L051483   1JJV      NV         Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559899   2007   WABSH   1JJV532W17L051484   1JJV      IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559900   2007   WABSH   1JJV532W37L051485   1JJV      CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559901   2007   WABSH   1JJV532W57L051486   1JJV      TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559902   2007   WABSH   1JJV532W77L051487   1JJV      TN         Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559903   2007   WABSH   1JJV532W97L051488   1JJV      TN         Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559904   2007   WABSH   1JJV532W07L051489   1JJV      IL         Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559905   2007   WABSH   1JJV532W77L051490   1JJV      IA         Council Bluffs
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559906   2007   WABSH   1JJV532W97L051491   1JJV      IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559907   2007   WABSH   1JJV532W07L051492   1JJV      OH         Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559908   2007   WABSH   1JJV532W27L051493   1JJV      TX         Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559909   2007   WABSH   1JJV532W47L051494   1JJV      IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559910   2007   WABSH   1JJV532W67L051495   1JJV      IL         Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559911   2007   WABSH   1JJV532W87L051496   1JJV      NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559912   2007   WABSH   1JJV532WX7L051497   1JJV      Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559914   2007   WABSH   1JJV532W37L051499   1JJV      IN         Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559915   2007   WABSH   1JJV532W67L051500   1JJV      FL         Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559917   2007   WABSH   1JJV532WX7L051502   1JJV      CA         Sun Valley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559918   2007   WABSH   1JJV532W17L051503   1JJV      GA         Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559919   2007   WABSH   1JJV532W37L051504   1JJV      IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559920   2007   WABSH   1JJV532W57L051505   1JJV      NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559921   2007   WABSH   1JJV532W77L051506   1JJV      IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559922   2007   WABSH   1JJV532W97L051507   1JJV      MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559924   2007   WABSH   1JJV532W27L051509   1JJV      CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559925   2007   WABSH   1JJV532W97L051510   1JJV      MS         Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559926   2007   WABSH   1JJV532W07L051511   1JJV      PA         Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559927   2007   WABSH   1JJV532W27L051512   1JJV      MS         Tupelo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559928   2007   WABSH   1JJV532W47L051513   1JJV      TN         Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559929   2007   WABSH   1JJV532W67L051514   1JJV      MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559930   2007   WABSH   1JJV532W87L051515   1JJV      OH         Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559932   2007   WABSH   1JJV532W17L051517   1JJV      PA         Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559933   2007   WABSH   1JJV532W37L051518   1JJV      MO         Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559934   2007   WABSH   1JJV532W57L051519   1JJV      MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559935   2007   WABSH   1JJV532W17L051520   1JJV      OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559936   2007   WABSH   1JJV532W37L051521   1JJV      IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559937   2007   WABSH   1JJV532W57L051522   1JJV      FL         Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559938   2007   WABSH   1JJV532W77L051523   1JJV      CA         Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559939   2007   WABSH   1JJV532W97L051524   1JJV      NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559940   2007   WABSH   1JJV532W07L051525   1JJV      PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559941   2007   WABSH   1JJV532W27L051526   1JJV      PA         Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559942   2007   WABSH   1JJV532W47L051527   1JJV      NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559943   2007   WABSH   1JJV532W67L051528   1JJV      OH         Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559944   2007   WABSH   1JJV532W87L051529   1JJV      IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559945   2007   WABSH   1JJV532W47L051530   1JJV      DE         New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559946   2007   WABSH   1JJV532W67L051531   1JJV      IL         Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559947   2007   WABSH   1JJV532W87L051532   1JJV      OH         Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559949   2007   WABSH   1JJV532W17L051534   1JJV      NV         Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559950   2007   WABSH   1JJV532W37L051535   1JJV      MO         Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559951   2007   WABSH   1JJV532W57L051536   1JJV      OH         Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559952   2007   WABSH   1JJV532W77L051537   1JJV      TX         El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559953   2007   WABSH   1JJV532W97L051538   1JJV      AL         Birmingham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559954   2007   WABSH   1JJV532W07L051539   1JJV      MI         Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559955   2007   WABSH   1JJV532W77L051540   1JJV      MN         Jackson
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 854 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559956   2007   WABSH   1JJV532W97L051541   1JJV      IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559957   2007   WABSH   1JJV532W07L051542   1JJV      TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559958   2007   WABSH   1JJV532W27L051543   1JJV      WI             Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559959   2007   WABSH   1JJV532W47L051544   1JJV      CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559960   2007   WABSH   1JJV532W67L051545   1JJV      CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559961   2007   WABSH   1JJV532W87L051546   1JJV      TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559962   2007   WABSH   1JJV532WX7L051547   1JJV      SC             Piedmont
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559963   2007   WABSH   1JJV532W17L051548   1JJV      OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559964   2007   WABSH   1JJV532W37L051549   1JJV      TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559965   2007   WABSH   1JJV532WX7L051550   1JJV      OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559966   2007   WABSH   1JJV532W17L051551   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559968   2007   WABSH   1JJV532W57L051553   1JJV      Alberta        Edmonton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559969   2007   WABSH   1JJV532W77L051554   1JJV      NV             Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559970   2007   WABSH   1JJV532W97L051555   1JJV      Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559971   2007   WABSH   1JJV532W07L051556   1JJV      PA             Erie
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559972   2007   WABSH   1JJV532W27L051557   1JJV      IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559973   2007   WABSH   1JJV532W47L051558   1JJV      MS             Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559974   2007   WABSH   1JJV532W67L051559   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559975   2007   WABSH   1JJV532W27L051560   1JJV      LA             Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559976   2007   WABSH   1JJV532W47L051561   1JJV      PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559978   2007   WABSH   1JJV532W87L051563   1JJV      NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559979   2007   WABSH   1JJV532WX7L051564   1JJV      CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559980   2007   WABSH   1JJV532W17L051565   1JJV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559981   2007   WABSH   1JJV532W37L051566   1JJV      OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559982   2007   WABSH   1JJV532W57L051567   1JJV      AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559983   2008   WABSH   1JJV532W28L098492   1JJV      NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559984   2008   WABSH   1JJV532W48L098493   1JJV      NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559987   2008   WABSH   1JJV532W48L111260             OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559989   2008   WABSH   1JJV532W88L111262             PU             Puebla
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559991   2008   WABSH   1JJV532W18L111264             PA             Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559992   2008   WABSH   1JJV532W38L111265             TN             Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559993   2008   WABSH   1JJV532W58L111266             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY559997   2008   WABSH   1JJV532W78L111270             MO             Strafford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560000   2008   WABSH   1JJV532W28L111273             NC             Raleigh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560003   2008   WABSH   1JJV532W88L111276             MI             Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560004   2008   WABSH   1JJV532WX8L111277             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560006   2008   WABSH   1JJV532W38L111279             NJ             South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560007   2008   WABSH   1JJV532WX8L111280             MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560008   2008   WABSH   1JJV532W18L111281             MD             Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560009   2008   WABSH   1JJV532W38L111282             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560010   2008   WABSH   1JJV532W58L111283             TX             El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560011   2008   WABSH   1JJV532W78L111284             OH             Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560013   2008   WABSH   1JJV532W08L111286             CA             Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560015   2008   WABSH   1JJV532W48L111288             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560018   2008   WABSH   1JJV532W48L111291             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560020   2008   WABSH   1JJV532W88L111293             IN             Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560021   2008   WABSH   1JJV532WX8L111294             WA             Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560022   2008   WABSH   1JJV532W18L111295             WI             Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560025   2008   WABSH   1JJV532W78L111298             OH             Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560027   2008   WABSH   1JJV532W18L111300             IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560028   2008   WABSH   1JJV532W38L111301             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560029   2008   WABSH   1JJV532W58L111302             MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560030   2008   WABSH   1JJV532W78L111303             IL             Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560031   2008   WABSH   1JJV532W98L111304             Ontario        Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560032   2008   WABSH   1JJV532W08L111305             MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560033   2008   WABSH   1JJV532W28L111306             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560035   2008   WABSH   1JJV532W68L111308             IN             Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560036   2008   WABSH   1JJV532W88L111309             TX             Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560037   2008   WABSH   1JJV532W48L111310             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560039   2008   WABSH   1JJV532W88L111312             CA             Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560040   2008   WABSH   1JJV532WX8L111313             IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560041   2008   WABSH   1JJV532W18L111314             WI             Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560043   2008   WABSH   1JJV532W58L111316             MN             Saint Cloud
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560046   2008   WABSH   1JJV532W08L111319             OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560047   2008   WABSH   1JJV532W78L111320             OH             Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560048   2008   WABSH   1JJV532W98L111321             NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560049   2008   WABSH   1JJV532W08L111322             OH             Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560051   2008   WABSH   1JJV532W48L111324             IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560053   2008   WABSH   1JJV532W88L111326             Ontario        Mississauga
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 855 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560055   2008   WABSH   1JJV532W18L111328             WA        Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560057   2008   WABSH   1JJV532WX8L111330             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560059   2008   WABSH   1JJV532W38L111332             VA        Chesapeake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560060   2008   WABSH   1JJV532W58L111333             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560061   2008   WABSH   1JJV532W78L111334             SC        Florence
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560062   2008   WABSH   1JJV532W98L111335             FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560063   2008   WABSH   1JJV532W08L111336             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560064   2008   WABSH   1JJV532W28L111337             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560065   2008   WABSH   1JJV532W48L111338             GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560066   2008   WABSH   1JJV532W68L111339             FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560067   2008   WABSH   1JJV532W28L111340             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560068   2008   WABSH   1JJV532W48L111341             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560070   2008   WABSH   1JJV532W88L111343             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560071   2008   WABSH   1JJV532WX8L111344             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560072   2008   WABSH   1JJV532W18L111345             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560073   2008   WABSH   1JJV532W38L111346             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560074   2008   WABSH   1JJV532W58L111347             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560075   2008   WABSH   1JJV532W78L111348             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560077   2008   WABSH   1JJV532W58L111350             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560078   2008   WABSH   1JJV532W78L111351             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560081   2008   WABSH   1JJV532W28L111354             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560083   2008   WABSH   1JJV532W68L111356             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560084   2008   WABSH   1JJV532W88L111357             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560086   2008   WABSH   1JJV532W18L111359             WI        Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560088   2008   WABSH   1JJV532WX8L111361             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560090   2008   WABSH   1JJV532W38L111363             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560091   2008   WABSH   1JJV532W58L111364             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560092   2008   WABSH   1JJV532W78L111365             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560093   2008   WABSH   1JJV532W98L111366             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560095   2008   WABSH   1JJV532W28L111368             PA        Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560096   2008   WABSH   1JJV532W48L111369             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560098   2008   WABSH   1JJV532W28L111371             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560100   2008   WABSH   1JJV532W68L111373             IL        Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560102   2008   WABSH   1JJV532WX8L111375             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560103   2008   WABSH   1JJV532W18L111376             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560104   2008   WABSH   1JJV532W38L111377             DE        Seaford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560105   2008   WABSH   1JJV532W58L111378             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560107   2008   WABSH   1JJV532W38L111380             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560109   2008   WABSH   1JJV532W78L111382             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560110   2008   WABSH   1JJV532W98L111383             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560113   2008   WABSH   1JJV532W48L111386             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560116   2008   WABSH   1JJV532WX8L111389             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560117   2008   WABSH   1JJV532W68L111390             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560120   2008   WABSH   1JJV532W18L111393             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560121   2008   WABSH   1JJV532W38L111394             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560122   2008   WABSH   1JJV532W58L111395             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560123   2008   WABSH   1JJV532W78L111396             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560124   2008   WABSH   1JJV532W98L111397             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560125   2008   WABSH   1JJV532W08L111398             AZ        Tucson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560126   2008   WABSH   1JJV532W28L111399             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560127   2008   WABSH   1JJV532W58L111400             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560128   2008   WABSH   1JJV532W78L111401             TN        Kingsport
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560131   2008   WABSH   1JJV532W28L111404             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560132   2008   WABSH   1JJV532W48L111405             KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560133   2008   WABSH   1JJV532W68L111406             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560134   2008   WABSH   1JJV532W88L111407             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560135   2008   WABSH   1JJV532WX8L111408             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560138   2008   WABSH   1JJV532WX8L111411             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560139   2008   WABSH   1JJV532W18L111412             TN        Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560140   2008   WABSH   1JJV532W38L111413             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560141   2008   WABSH   1JJV532W58L111414             TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560142   2008   WABSH   1JJV532W78L111415             Ontario   Woodstock
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560143   2008   WABSH   1JJV532W98L111416             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560147   2008   WABSH   1JJV532W08L111420             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560149   2008   WABSH   1JJV532W48L111422             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560150   2008   WABSH   1JJV532W68L111423             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560151   2008   WABSH   1JJV532W88L111424             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560153   2008   WABSH   1JJV532W18L111426             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560154   2008   WABSH   1JJV532W38L111427             IL        Wheeling
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 856 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560155   2008   WABSH   1JJV532W58L111428             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560156   2008   WABSH   1JJV532W78L111429             MI        Birch Run
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560157   2008   WABSH   1JJV532W38L111430             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560158   2008   WABSH   1JJV532W58L111431             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560160   2008   WABSH   1JJV532W98L111433             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560161   2008   WABSH   1JJV532W08L111434             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560162   2008   WABSH   1JJV532W28L111435             OR        Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560164   2008   WABSH   1JJV532W68L111437             IL        Danville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560167   2008   WABSH   1JJV532W68L111440             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560169   2008   WABSH   1JJV532WX8L111442             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560171   2008   WABSH   1JJV532W38L111444             TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560172   2008   WABSH   1JJV532W58L111445             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560173   2008   WABSH   1JJV532W78L111446             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560174   2008   WABSH   1JJV532W98L111447             AL        Mobile
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560176   2008   WABSH   1JJV532W28L111449             NC        Fayetteville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560177   2008   WABSH   1JJV532W98L111450             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560178   2008   WABSH   1JJV532W08L111451             MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560181   2008   WABSH   1JJV532W68L111454             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560182   2008   WABSH   1JJV532W88L111455             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560183   2008   WABSH   1JJV532WX8L111456             CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560186   2008   WABSH   1JJV532W58L111459             KS        Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560187   2008   WABSH   1JJV532W18L111460             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560188   2008   WABSH   1JJV532W38L111461             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560190   2008   WABSH   1JJV532W78L111463             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560192   2008   WABSH   1JJV532W08L111465             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560193   2008   WABSH   1JJV532W28L111466             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560194   2008   WABSH   1JJV532W48L111467             GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560195   2008   WABSH   1JJV532W68L111468             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560197   2008   WABSH   1JJV532W48L111470             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560198   2008   WABSH   1JJV532W68L111471             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560200   2008   WABSH   1JJV532WX8L111473             PA        McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560201   2008   WABSH   1JJV532W18L111474             TX        San Antonio
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560203   2008   WABSH   1JJV532W58L111476             IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560204   2008   WABSH   1JJV532W78L111477             CO        Henderson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560206   2008   WABSH   1JJV532W08L111479             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560213   2008   WABSH   1JJV532W88L111486             GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560217   2008   WABSH   1JJV532WX8L111490             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560218   2008   WABSH   1JJV532W18L111491             NY        Tonawanda
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560221   2008   WABSH   1JJV532W78L111494             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560223   2008   WABSH   1JJV532W08L111496             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560224   2008   WABSH   1JJV532W28L111497             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560225   2008   WABSH   1JJV532W48L111498             IL        McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560231   2008   WABSH   1JJV532W68L111504             KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560233   2008   WABSH   1JJV532WX8L111506             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560234   2008   WABSH   1JJV532W18L111507             CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560236   2008   WABSH   1JJV532W58L111509             OH        Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560237   2008   WABSH   1JJV532W18L111510             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560238   2008   WABSH   1JJV532W38L111511             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560239   2008   WABSH   1JJV532W58L111512             IL        Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560240   2008   WABSH   1JJV532W78L111513             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560243   2008   WABSH   1JJV532W28L111516             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560244   2008   WABSH   1JJV532W48L111517             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560246   2008   WABSH   1JJV532W88L111519             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560248   2008   WABSH   1JJV532W68L111521             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560249   2008   WABSH   1JJV532W88L111522             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560250   2008   WABSH   1JJV532WX8L111523             LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560251   2008   WABSH   1JJV532W18L111524             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560253   2008   WABSH   1JJV532W58L111526             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560254   2008   WABSH   1JJV532W78L111527             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560255   2008   WABSH   1JJV532W98L111528             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560257   2008   WABSH   1JJV532W78L111530             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560258   2008   WABSH   1JJV532W98L111531             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560261   2008   WABSH   1JJV532W48L111534             FL        Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560262   2008   WABSH   1JJV532W68L111535             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560263   2008   WABSH   1JJV532W88L111536             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560264   2008   WABSH   1JJV532WX8L111537             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560265   2008   WABSH   1JJV532W18L111538             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560267   2008   WABSH   1JJV532WX8L111540             IN        Terre Haute
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560269   2008   WABSH   1JJV532W38L111542             MO        Saint Louis
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 857 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560270   2008   WABSH   1JJV532W58L111543             IL             Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560271   2008   WABSH   1JJV532W78L111544             TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560274   2008   WABSH   1JJV532W28L111547             MI             Birch Run
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560276   2008   WABSH   1JJV532W68L111549             MI             Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560278   2008   WABSH   1JJV532W48L111551             NM             Albuquerque
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560279   2008   WABSH   1JJV532W68L111552             OH             Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560280   2008   WABSH   1JJV532W88L111553             OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560282   2008   WABSH   1JJV532W18L111555             MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560283   2008   WABSH   1JJV532W38L111556             DE             New Castle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560287   2008   WABSH   1JJV532W58L111560             TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560289   2008   WABSH   1JJV532W98L111562             NC             Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560290   2008   WABSH   1JJV532W08L111563             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560291   2008   WABSH   1JJV532W28L111564             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560292   2008   WABSH   1JJV532W48L111565             AZ             Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560293   2008   WABSH   1JJV532W68L111566             CA             Ventura
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560294   2008   WABSH   1JJV532W88L111567             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560295   2008   WABSH   1JJV532WX8L111568             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560296   2008   WABSH   1JJV532W18L111569             Ontario        Ottawa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560297   2008   WABSH   1JJV532W88L111570             MI             Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560298   2008   WABSH   1JJV532WX8L111571             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560299   2008   WABSH   1JJV532W18L111572             NE             Kearney
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560300   2008   WABSH   1JJV532W38L111573             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560301   2008   WABSH   1JJV532W58L111574             TX             Waco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560303   2008   WABSH   1JJV532W98L111576             TA             Nuevo Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560304   2008   WABSH   1JJV532W08L111577             IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560305   2008   WABSH   1JJV532W28L111578             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560306   2008   WABSH   1JJV532W48L111579             NE             Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560307   2008   WABSH   1JJV532W08L111580             TX             El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560311   2008   WABSH   1JJV532W88L111584             Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560312   2008   WABSH   1JJV532WX8L111585             TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560313   2008   WABSH   1JJV532W18L111586             CA             Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560314   2008   WABSH   1JJV532W38L111587             TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560315   2008   WABSH   1JJV532W58L111588             WA             Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560316   2008   WABSH   1JJV532W78L111589             TX             Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560318   2008   WABSH   1JJV532W58L111591             GA             Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560319   2008   WABSH   1JJV532W78L111592             TX             El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560322   2008   WABSH   1JJV532W28L111595             IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560325   2008   WABSH   1JJV532W88L111598             TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560326   2008   WABSH   1JJV532WX8L111599             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560327   2008   WABSH   1JJV532W28L111600             TX             Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560328   2008   WABSH   1JJV532W48L111601             IL             McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560331   2008   WABSH   1JJV532WX8L111604             MN             Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560332   2008   WABSH   1JJV532W18L111605             PA             Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560333   2008   WABSH   1JJV532W38L111606             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560334   2008   WABSH   1JJV532W58L111607             PA             Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560336   2008   WABSH   1JJV532W98L111609             NJ             Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560339   2008   WABSH   1JJV532W98L111612             OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560340   2008   WABSH   1JJV532W08L111613             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560341   2008   WABSH   1JJV532W28L111614             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560343   2008   WABSH   1JJV532W68L111616             IL             Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560345   2008   WABSH   1JJV532WX8L111618             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560349   2008   WABSH   1JJV532W18L111622             UT             Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560353   2008   WABSH   1JJV532W98L111626             WI             Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560355   2008   WABSH   1JJV532W28L111628             IL             Rockford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560356   2008   WABSH   1JJV532W48L111629             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560358   2008   WABSH   1JJV532W28L111631             OH             Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560361   2008   WABSH   1JJV532W88L111634             NY             Rochester
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560362   2008   WABSH   1JJV532WX8L111635             PQ             Dorval
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560363   2008   WABSH   1JJV532W18L111636             CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560364   2008   WABSH   1JJV532W38L111637             TX             Texarkana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560366   2008   WABSH   1JJV532W78L111639             MD             Elkridge
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560367   2008   WABSH   1JJV532W38L111640             PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560369   2008   WABSH   1JJV532W78L111642             OH             Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560370   2008   WABSH   1JJV532W98L111643             MI             Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560371   2008   WABSH   1JJV532W08L111644             IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560374   2008   WABSH   1JJV532W68L111647             NJ             Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560375   2008   WABSH   1JJV532W88L111648             IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560376   2008   WABSH   1JJV532WX8L111649             IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560377   2008   WABSH   1JJV532W68L111650             NY             Tonawanda
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 858 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560378   2008   WABSH   1JJV532W88L111651             CA      Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560380   2008   WABSH   1JJV532W18L111653             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560382   2008   WABSH   1JJV532W58L111655             MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560384   2008   WABSH   1JJV532W98L111657             TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560385   2008   WABSH   1JJV532W08L111658             TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560386   2008   WABSH   1JJV532W28L111659             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560388   2008   WABSH   1JJV532W08L111661             TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560389   2008   WABSH   1JJV532W28L111662             CA      West Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560390   2008   WABSH   1JJV532W48L111663             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560391   2008   WABSH   1JJV532W68L111664             IA      Des Moines
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560393   2008   WABSH   1JJV532WX8L111666             MI      Romulus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560394   2008   WABSH   1JJV532W18L111667             CA      Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560395   2008   WABSH   1JJV532W38L111668             MS      Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560396   2008   WABSH   1JJV532W58L111669             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560397   2008   WABSH   1JJV532W18L111670             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560399   2008   WABSH   1JJV532W58L111672             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560400   2008   WABSH   1JJV532W78L111673             CA      Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560402   2008   WABSH   1JJV532W08L111675             KS      Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560405   2008   WABSH   1JJV532W68L111678             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560406   2008   WABSH   1JJV532W88L111679             PA      Bedford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560408   2008   WABSH   1JJV532W68L111681             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560409   2008   WABSH   1JJV532W88L111682             AZ      Tucson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560410   2008   WABSH   1JJV532WX8L111683             NY      East Syracuse
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560411   2008   WABSH   1JJV532W18L111684             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560413   2008   WABSH   1JJV532W58L111686             FL      Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560414   2008   WABSH   1JJV532W78L111687             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560415   2008   WABSH   1JJV532W98L111688             TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560416   2008   WABSH   1JJV532W08L111689             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560419   2008   WABSH   1JJV532W08L111692             PU      Puebla
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560420   2008   WABSH   1JJV532W28L111693             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560422   2008   WABSH   1JJV532W68L111695             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560424   2008   WABSH   1JJV532WX8L111697             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560425   2008   WABSH   1JJV532W18L111698             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560426   2008   WABSH   1JJV532W38L111699             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560427   2008   WABSH   1JJV532W68L111700             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560428   2008   WABSH   1JJV532W88L111701             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560429   2008   WABSH   1JJV532WX8L111702             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560430   2008   WABSH   1JJV532W18L111703             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560431   2008   WABSH   1JJV532W38L111704             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560432   2008   WABSH   1JJV532W58L111705             IA      Des Moines
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560434   2008   WABSH   1JJV532W98L111707             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560435   2008   WABSH   1JJV532W08L111708             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560438   2008   WABSH   1JJV532W08L111711             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560440   2008   WABSH   1JJV532W48L111713             TX      Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560441   2008   WABSH   1JJV532W68L111714             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560442   2008   WABSH   1JJV532W88L111715             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560445   2008   WABSH   1JJV532W38L111718             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560446   2008   WABSH   1JJV532W58L111719             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560447   2008   WABSH   1JJV532W18L111720             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560448   2008   WABSH   1JJV532W38L111721             MO      Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560449   2008   WABSH   1JJV532W58L111722             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560450   2008   WABSH   1JJV532W78L111723             CA      Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560452   2008   WABSH   1JJV532W08L111725             FL      Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560454   2008   WABSH   1JJV532W48L111727             WI      Neenah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560455   2008   WABSH   1JJV532W68L111728             NC      Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560456   2008   WABSH   1JJV532W88L111729             CO      Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560457   2008   WABSH   1JJV532W48L111730             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560460   2008   WABSH   1JJV532WX8L111733             TX      Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560462   2008   WABSH   1JJV532W38L111735             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560463   2008   WABSH   1JJV532W58L111736             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560464   2008   WABSH   1JJV532W78L111737             OH      Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560468   2008   WABSH   1JJV532W98L111741             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560470   2008   WABSH   1JJV532W28L111743             TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560473   2008   WABSH   1JJV532W88L111746             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560474   2008   WABSH   1JJV532WX8L111747             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560475   2008   WABSH   1JJV532W18L111748             IL      Danville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560476   2008   WABSH   1JJV532W38L111749             MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560481   2008   WABSH   1JJV532W78L111754             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560482   2008   WABSH   1JJV532W98L111755             PA      Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 859 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560483   2008   WABSH   1JJV532W08L111756             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560484   2008   WABSH   1JJV532W28L111757             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560485   2008   WABSH   1JJV532W48L111758             KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560486   2008   WABSH   1JJV532W68L111759             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560487   2008   WABSH   1JJV532W28L111760             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560489   2008   WABSH   1JJV532W68L111762             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560491   2008   WABSH   1JJV532WX8L111764             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560494   2008   WABSH   1JJV532W58L111767             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560495   2008   WABSH   1JJV532W78L111768             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560496   2008   WABSH   1JJV532W98L111769             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560501   2008   WABSH   1JJV532W28L111774             CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560502   2008   WABSH   1JJV532W48L111775             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560503   2008   WABSH   1JJV532W68L111776             AR        Springdale
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560505   2008   WABSH   1JJV532WX8L111778             WI        Tomah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560508   2008   WABSH   1JJV532WX8L111781             IN        Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560509   2008   WABSH   1JJV532W18L111782             FL        Boynton Beach
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560510   2008   WABSH   1JJV532W38L111783             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560511   2008   WABSH   1JJV532W58L111784             IL        Decatur
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560512   2008   WABSH   1JJV532W78L111785             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560514   2008   WABSH   1JJV532W08L111787             CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560515   2008   WABSH   1JJV532W28L111788             GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560516   2008   WABSH   1JJV532W48L111789             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560517   2008   WABSH   1JJV532W08L111790             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560518   2008   WABSH   1JJV532W28L111791             CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560519   2008   WABSH   1JJV532W48L111792             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560521   2008   WABSH   1JJV532W88L111794             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560524   2008   WABSH   1JJV532W38L111797             TX        Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560525   2008   WABSH   1JJV532W58L111798             OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560527   2008   WABSH   1JJV532WX8L111800             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560528   2008   WABSH   1JJV532W18L111801             FL        Jacksonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560529   2008   WABSH   1JJV532W38L111802             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560530   2008   WABSH   1JJV532W58L111803             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560531   2008   WABSH   1JJV532W78L111804             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560535   2008   WABSH   1JJV532W48L111808             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560536   2008   WABSH   1JJV532W68L111809             KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560537   2008   WABSH   1JJV532W28L111810             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560539   2008   WABSH   1JJV532W68L111812             Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560541   2008   WABSH   1JJV532WX8L111814             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560542   2008   WABSH   1JJV532W18L111815             TX        Austin
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560543   2008   WABSH   1JJV532W38L111816             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560545   2008   WABSH   1JJV532W78L111818             GA        Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560546   2008   WABSH   1JJV532W98L111819             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560547   2008   WABSH   1JJV532W58L111820             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560549   2008   WABSH   1JJV532W98L111822             MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560552   2008   WABSH   1JJV532W48L111825             MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560553   2008   WABSH   1JJV532W68L111826             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560555   2008   WABSH   1JJV532WX8L111828             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560556   2008   WABSH   1JJV532W18L111829             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560558   2008   WABSH   1JJV532WX8L111831             PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560560   2008   WABSH   1JJV532W38L111833             CA        Sacramento
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560562   2008   WABSH   1JJV532W78L111835             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560564   2008   WABSH   1JJV532W08L111837             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560565   2008   WABSH   1JJV532W28L111838             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560566   2008   WABSH   1JJV532W48L111839             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560567   2008   WABSH   1JJV532W08L111840             MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560568   2008   WABSH   1JJV532W28L111841             CA        Orange
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560569   2008   WABSH   1JJV532W48L111842             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560570   2008   WABSH   1JJV532W68L111843             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560572   2008   WABSH   1JJV532WX8L111845             TX        Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560573   2008   WABSH   1JJV532W18L111846             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560574   2008   WABSH   1JJV532W38L111847             LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560575   2008   WABSH   1JJV532W58L111848             NY        East Syracuse
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560577   2008   WABSH   1JJV532W38L111850             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560581   2008   WABSH   1JJV532W08L111854             OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560582   2008   WABSH   1JJV532W28L111855             IL        Atlanta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560584   2008   WABSH   1JJV532W68L111857             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560585   2008   WABSH   1JJV532W88L111858             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560588   2008   WABSH   1JJV532W88L111861             MI        Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560589   2008   WABSH   1JJV532WX8L111862             MS        Olive Branch
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 860 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560590   2008   WABSH   1JJV532W18L111863             TN        Goodlettsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560591   2008   WABSH   1JJV532W38L111864             SC        West Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560592   2008   WABSH   1JJV532W58L111865             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560594   2008   WABSH   1JJV532W98L111867             KY        Paducah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560595   2008   WABSH   1JJV532W08L111868             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560596   2008   WABSH   1JJV532W28L111869             NJ        Millville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560598   2008   WABSH   1JJV532W08L111871             CA        Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560599   2008   WABSH   1JJV532W28L111872             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560600   2008   WABSH   1JJV532W48L111873             NC        Kernersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560601   2008   WABSH   1JJV532W68L111874             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560602   2008   WABSH   1JJV532W88L111875             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560603   2008   WABSH   1JJV532WX8L111876             IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560604   2008   WABSH   1JJV532W18L111877             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560608   2008   WABSH   1JJV532W38L111881             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560610   2008   WABSH   1JJV532W78L111883             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560611   2008   WABSH   1JJV532W98L111884             TX        El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560614   2008   WABSH   1JJV532W48L111887             OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560616   2008   WABSH   1JJV532W88L111889             NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560617   2008   WABSH   1JJV532W48L111890             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560622   2008   WABSH   1JJV532W38L111895             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560623   2008   WABSH   1JJV532W58L111896             KY        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560624   2008   WABSH   1JJV532W78L111897             WI        Milwaukee
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560626   2008   WABSH   1JJV532W08L111899             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560627   2008   WABSH   1JJV532W38L111900             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560628   2008   WABSH   1JJV532W58L111901             WA        Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560629   2008   WABSH   1JJV532W78L111902             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560630   2008   WABSH   1JJV532W98L111903             TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560631   2008   WABSH   1JJV532W08L111904             IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560632   2008   WABSH   1JJV532W28L111905             WI        Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560634   2008   WABSH   1JJV532W68L111907             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560635   2008   WABSH   1JJV532W88L111908             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560636   2008   WABSH   1JJV532WX8L111909             AL        Mobile
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560637   2008   WABSH   1JJV532W68L111910             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560638   2008   WABSH   1JJV532W88L111911             CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560639   2008   WABSH   1JJV532WX8L111912             IN        Evansville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560641   2008   WABSH   1JJV532W38L111914             IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560642   2008   WABSH   1JJV532W58L111915             NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560644   2008   WABSH   1JJV532W98L111917             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560645   2008   WABSH   1JJV532W08L111918             MO        Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560646   2008   WABSH   1JJV532W28L111919             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560647   2008   WABSH   1JJV532W98L111920             MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560648   2008   WABSH   1JJV532W08L111921             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560649   2008   WABSH   1JJV532W28L111922             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560651   2008   WABSH   1JJV532W68L111924             TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560652   2008   WABSH   1JJV532W88L111925             GA        Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560653   2008   WABSH   1JJV532WX8L111926             KS        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560654   2008   WABSH   1JJV532W18L111927             NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560655   2008   WABSH   1JJV532W38L111928             PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560657   2008   WABSH   1JJV532W18L111930             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560659   2008   WABSH   1JJV532W58L111932             NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560660   2008   WABSH   1JJV532W78L111933             OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560661   2008   WABSH   1JJV532W98L111934             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560663   2008   WABSH   1JJV532W28L111936             AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560665   2008   WABSH   1JJV532W68L111938             FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560666   2008   WABSH   1JJV532W88L111939             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560668   2008   WABSH   1JJV532W68L111941             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560669   2008   WABSH   1JJV532W88L111942             IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560671   2008   WABSH   1JJV532W18L111944             IL        Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560672   2008   WABSH   1JJV532W38L111945             Ontario   Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560673   2008   WABSH   1JJV532W58L111946             MS        Tupelo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560674   2008   WABSH   1JJV532W78L111947             TX        Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560675   2008   WABSH   1JJV532W98L111948             IL        Decatur
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560678   2008   WABSH   1JJV532W98L111951             IL        Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560679   2008   WABSH   1JJV532W08L111952             OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560683   2008   WABSH   1JJV532W88L111956             TX        Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560685   2008   WABSH   1JJV532W18L111958             TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560687   2008   WABSH   1JJV532WX8L111960             IL        Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560689   2008   WABSH   1JJV532W38L111962             OK        Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560690   2008   WABSH   1JJV532W58L111963             IN        Terre Haute
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 861 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State      City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560694   2008   WABSH   1JJV532W28L111967             IA         Des Moines
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560695   2008   WABSH   1JJV532W48L111968             Ontario    Brampton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560696   2008   WABSH   1JJV532W68L111969             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560699   2008   WABSH   1JJV532W68L111972             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560701   2008   WABSH   1JJV532WX8L111974             WI         Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560702   2008   WABSH   1JJV532W18L111975             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560703   2008   WABSH   1JJV532W38L111976             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560704   2008   WABSH   1JJV532W58L111977             CA         Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560705   2008   WABSH   1JJV532W78L111978             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560706   2008   WABSH   1JJV532W98L111979             OK         Tulsa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560707   2008   WABSH   1JJV532W58L111980             FL         Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560708   2008   WABSH   1JJV532W78L111981             Alberta    Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560711   2008   WABSH   1JJV532W28L111984             KY         Paducah
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560712   2008   WABSH   1JJV532W48L111985             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560714   2008   WABSH   1JJV532W88L111987             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560715   2008   WABSH   1JJV532WX8L111988             TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560716   2008   WABSH   1JJV532W18L111989             NV         Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560718   2008   WABSH   1JJV532WX8L111991             WA         Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560719   2008   WABSH   1JJV532W18L111992             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560720   2008   WABSH   1JJV532W38L111993             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560721   2008   WABSH   1JJV532W58L111994             SC         Florence
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560723   2008   WABSH   1JJV532W98L111996             NV         Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560724   2008   WABSH   1JJV532W08L111997             OH         Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560725   2008   WABSH   1JJV532W28L111998             IL         Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560726   2008   WABSH   1JJV532W48L111999             Manitoba   Winnipeg
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560728   2008   WABSH   1JJV532W78L112001             IN         Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560733   2008   WABSH   1JJV532W68L112006             TN         Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560734   2008   WABSH   1JJV532W88L112007             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560736   2008   WABSH   1JJV532W18L112009             MI         Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560737   2008   WABSH   1JJV532W88L112010             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560740   2008   WABSH   1JJV532W38L112013             CO         Henderson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560742   2008   WABSH   1JJV532W78L112015             GA         Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560743   2008   WABSH   1JJV532W98L112016             AZ         Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560745   2008   WABSH   1JJV532W28L112018             OH         Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560746   2008   WABSH   1JJV532W48L112019             FL         Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560750   2008   WABSH   1JJV532W68L112023             IL         Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560751   2008   WABSH   1JJV532W88L112024             OH         Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560752   2008   WABSH   1JJV532WX8L112025             IN         Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560755   2008   WABSH   1JJV532W58L112028             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560758   2008   WABSH   1JJV532W58L112031             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560759   2008   WABSH   1JJV532W78L112032             NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560760   2008   WABSH   1JJV532W98L112033             IL         Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560761   2008   WABSH   1JJV532W08L112034             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560762   2008   WABSH   1JJV532W28L112035             GA         Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560763   2008   WABSH   1JJV532W48L112036             CO         Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560765   2008   WABSH   1JJV532W88L112038             NE         Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560766   2008   WABSH   1JJV532WX8L112039             MO         Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560767   2008   WABSH   1JJV532W68L112040             MN         Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560768   2008   WABSH   1JJV532W88L112041             TN         Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560769   2008   WABSH   1JJV532WX8L112042             TX         Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560771   2008   WABSH   1JJV532W38L112044             MD         Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560772   2008   WABSH   1JJV532W58L112045             NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560773   2008   WABSH   1JJV532W78L112046             OH         Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560775   2008   WABSH   1JJV532W08L112048             CA         Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560776   2008   WABSH   1JJV532W28L112049             OH         Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560777   2008   WABSH   1JJV532W98L112050             NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560778   2008   WABSH   1JJV532W08L112051             OH         Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560780   2008   WABSH   1JJV532W48L112053             OH         Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560782   2008   WABSH   1JJV532W88L112055             NC         Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560783   2008   WABSH   1JJV532WX8L112056             TN         Jackson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560784   2008   WABSH   1JJV532W18L112057             MI         Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560786   2008   WABSH   1JJV532W58L112059             NJ         Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560787   2008   WABSH   1JJV532W18L112060             TN         Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560788   2008   WABSH   1JJV532W38L112061             IL         Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560789   2008   WABSH   1JJV532W58L112062             IL         Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560790   2008   WABSH   1JJV532W78L112063             OH         North Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560791   2008   WABSH   1JJV532W98L112064             TX         Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560794   2008   WABSH   1JJV532W48L112067             IL         Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560796   2008   WABSH   1JJV532W88L112069             AZ         Phoenix
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 862 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560798   2008   WABSH   1JJV532W68L112071             NY      Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560799   2008   WABSH   1JJV532W88L112072             WA      Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560800   2008   WABSH   1JJV532WX8L112073             TX      El Paso
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560801   2008   WABSH   1JJV532W18L112074             NC      Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560802   2008   WABSH   1JJV532W38L112075             TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560803   2008   WABSH   1JJV532W58L112076             TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560804   2008   WABSH   1JJV532W78L112077             ME      Westbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560805   2008   WABSH   1JJV532W98L112078             IA      Sioux City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560806   2008   WABSH   1JJV532W08L112079             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560807   2008   WABSH   1JJV532W78L112080             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560810   2008   WABSH   1JJV532W28L112083             AL      Mobile
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560811   2008   WABSH   1JJV532W48L112084             IL      Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560812   2008   WABSH   1JJV532W68L112085             PA      McKees Rocks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560813   2008   WABSH   1JJV532W88L112086             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560814   2008   WABSH   1JJV532WX8L112087             FL      Ocala
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560815   2008   WABSH   1JJV532W18L112088             MN      Saint Cloud
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560817   2008   WABSH   1JJV532WX8L112090             OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560819   2008   WABSH   1JJV532W38L112092             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560821   2008   WABSH   1JJV532W78L112094             TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560823   2008   WABSH   1JJV532W08L112096             AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560824   2008   WABSH   1JJV532W28L112097             KS      Wichita
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560826   2008   WABSH   1JJV532W68L112099             PA      Camp Hill
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560828   2008   WABSH   1JJV532W08L112101             OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560829   2008   WABSH   1JJV532W28L112102             OH      Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560830   2008   WABSH   1JJV532W48L112103             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560832   2008   WABSH   1JJV532W88L112105             TX      Dallas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560834   2008   WABSH   1JJV532W18L112107             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560835   2008   WABSH   1JJV532W38L112108             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560836   2008   WABSH   1JJV532W58L112109             OH      Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560839   2008   WABSH   1JJV532W58L112112             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560840   2008   WABSH   1JJV532W78L112113             GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560841   2008   WABSH   1JJV532W98L112114             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560844   2008   WABSH   1JJV532W48L112117             MS      Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560848   2008   WABSH   1JJV532W68L112121             NC      Raleigh
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560849   2008   WABSH   1JJV532W88L112122             OH      Akron
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560851   2008   WABSH   1JJV532W18L112124             NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560853   2008   WABSH   1JJV532W58L112126             IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560854   2008   WABSH   1JJV532W78L112127             OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560855   2008   WABSH   1JJV532W98L112128             WA      Seattle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560856   2008   WABSH   1JJV532W08L112129             CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560857   2008   WABSH   1JJV532W78L112130             IL      Atlanta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560858   2008   WABSH   1JJV532W98L112131             IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560860   2008   WABSH   1JJV532W28L112133             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560861   2008   WABSH   1JJV532W48L112134             PA      Mountain Top
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560865   2008   WABSH   1JJV532W18L112138             OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560866   2008   WABSH   1JJV532W38L112139             NJ      Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560868   2008   WABSH   1JJV532W18L112141             PQ      Dorval
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560870   2008   WABSH   1JJV532W58L112143             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560874   2008   WABSH   1JJV532W28L112147             NJ      South Plainfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560876   2008   WABSH   1JJV532W68L112149             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560877   2008   WABSH   1JJV532W28L112150             IL      Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560878   2008   WABSH   1JJV532W48L112151             GA      Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560879   2008   WABSH   1JJV532W68L112152             OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560881   2008   WABSH   1JJV532WX8L112154             MI      Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560884   2008   WABSH   1JJV532W58L112157             IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560885   2008   WABSH   1JJV532W78L112158             MO      Saint Louis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560886   2008   WABSH   1JJV532W98L112159             OK      Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560888   2008   WABSH   1JJV532W78L112161             OR      Portland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560889   2008   WABSH   1JJV532W98L112162             IL      Edwardsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560890   2008   WABSH   1JJV532W08L112163             PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560892   2008   WABSH   1JJV532W48L112165             TN      Knoxville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560893   2008   WABSH   1JJV532W68L112166             TX      McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560894   2008   WABSH   1JJV532W88L112167             IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560896   2008   WABSH   1JJV532W18L112169             IL      Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560897   2008   WABSH   1JJV532W88L112170             WA      Spokane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560898   2008   WABSH   1JJV532WX8L112171             NY      Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560900   2008   WABSH   1JJV532W38L112173             PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560901   2008   WABSH   1JJV532W58L112174             NJ      Carlstadt
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560902   2008   WABSH   1JJV532W78L112175             IL      Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 863 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560906   2008   WABSH   1JJV532W48L112179              Ontario   Niagara on the Lake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560907   2008   WABSH   1JJV532W08L112180              GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560910   2008   WABSH   1JJV532W68L112183              OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560911   2008   WABSH   1JJV532W88L112184              CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560912   2008   WABSH   1JJV532WX8L112185              MI        Wyoming
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560914   2008   WABSH   1JJV532W38L112187              TX        McAllen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560915   2008   WABSH   1JJV532W58L112188              NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560916   2008   WABSH   1JJV532W78L112189              OH        Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560918   2008   WABSH   1JJV532W58L112191              MO        Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560923   2008   WABSH   1JJV532W48L112196              OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560925   2008   WABSH   1JJV532W88L112198              FL        Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560926   2008   WABSH   1JJV532WX8L112199              UT        Salt Lake City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560929   2008   WABSH   1JJV532W68L112202              CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560930   2008   WABSH   1JJV532W88L112203              GA        Martinez
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560932   2008   WABSH   1JJV532W18L112205              NY        Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560934   2008   WABSH   1JJV532W58L112207              NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560935   2008   WABSH   1JJV532W78L112208              WA        Tacoma
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560939   2008   WABSH   1JJV532W98L112212              FL        Tampa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560942   2008   WABSH   1JJV532W48L112215              IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560943   2008   WABSH   1JJV532W68L112216              WA        Pasco
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560944   2008   WABSH   1JJV532W88L112217              NV        Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560945   2008   WABSH   1JJV532WX8L112218              IN        Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560948   2008   WABSH   1JJV532WX8L112221              WI        Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560949   2008   WABSH   1JJV532W18L112222              NY        Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560950   2008   WABSH   1JJV532W38L112223              PA        Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560952   2008   WABSH   1JJV532W78L112225              OH        Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560954   2008   WABSH   1JJV532W08L112227              IL        Rockford
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560955   2008   WABSH   1JJV532W28L112228              OH        Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560956   2008   WABSH   1JJV532W48L112229              CA        Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560957   2008   WABSH   1JJV532W08L112230              IL        Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560958   2008   WABSH   1JJV532W28L112231              AZ        Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560960   2008   WABSH   1JJV532W68L112233              PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560961   2008   WABSH   1JJV532W88L112234              GA        Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560963   2008   WABSH   1JJV532W18L112236              NJ        Hamilton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560965   2008   WABSH   1JJV532W58L112238              CO        Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560966   2008   WABSH   1JJV532W78L112239              IN        Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560967   2008   WABSH   1JJV532W38L112240              CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560969   2008   WABSH   1JJV532W78L112242              MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560971   2008   WABSH   1JJV532W08L112244              Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560973   2008   WABSH   1JJV532W48L112246              PA        Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560975   2008   WABSH   1JJV532W88L112248              CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560976   2008   WABSH   1JJV532WX8L112249              VA        Fishersville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560978   2008   WABSH   1JJV532W88L112251              CA        Pico Rivera
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560979   2008   WABSH   1JJV532WX8L112252              GA        Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560983   2008   WABSH   1JJV532W78L112256              LA        Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY560984   2008   WABSH   1JJV532W98L112257              OH        Lima
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561002   2008   GRTDN   1GRAP06258T542882   CPL‐1312   PA        Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561003   2008   GRTDN   1GRAP06278T542883   CPL‐1312   CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561004   2008   GRTDN   1GRAP06298T542884   CPL‐1312   NV        Sparks
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561006   2008   GRTDN   1GRAP06228T542886   CPL‐1312   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561007   2008   GRTDN   1GRAP06248T542887   CPL‐1312   CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561009   2008   GRTDN   1GRAP06288T542889   CPL‐1312   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561010   2008   GRTDN   1GRAP06248T542890   CPL‐1312   AZ        Tucson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561011   2008   GRTDN   1GRAP06268T542891   CPL‐1312   OH        Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561013   2008   GRTDN   1GRAP062X8T542893   CPL‐1312   OH        Toledo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561015   2008   GRTDN   1GRAP06238T542895   CPL‐1312   MS        Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561016   2008   GRTDN   1GRAP06258T542896   CPL‐1312   TN        Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561017   2008   GRTDN   1GRAP06278T542897   CPL‐1312   TN        Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561018   2008   GRTDN   1GRAP06298T542898   CPL‐1312   OH        Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561019   2008   GRTDN   1GRAP06208T542899   CPL‐1312   NC        Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561020   2008   GRTDN   1GRAP06238T542900   CPL‐1312   MN        Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561021   2008   GRTDN   1GRAP06258T542901   CPL‐1312   IL        Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561024   2008   GRTDN   1GRAP06208T542904   CPL‐1312   OH        Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561025   2008   GRTDN   1GRAP06228T542905   CPL‐1312   CT        Cheshire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561027   2008   GRTDN   1GRAP06268T542907   CPL‐1312   CA        Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561030   2008   GRTDN   1GRAP06268T542910   CPL‐1312   MD        Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561033   2008   GRTDN   1GRAP06218T542913   CPL‐1312   CA        Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561034   2008   GRTDN   1GRAP06238T542914   CPL‐1312   Alberta   Calgary
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561035   2008   GRTDN   1GRAP06258T542915   CPL‐1312   AZ        Phoenix
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 864 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561037   2008   GRTDN   1GRAP06298T542917   CPL‐1312   GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561038   2008   GRTDN   1GRAP06208T542918   CPL‐1312   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561039   2008   GRTDN   1GRAP06228T542919   CPL‐1312   IL      McCook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561041   2008   GRTDN   1GRAP06208T542921   CPL‐1312   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561042   2008   GRTDN   1GRAP06228T542922   CPL‐1312   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561043   2008   GRTDN   1GRAP06248T542923   CPL‐1312   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561046   2008   GRTDN   1GRAP062X8T542926   CPL‐1312   MN      Owatonna
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561047   2008   GRTDN   1GRAP06218T542927   CPL‐1312   PA      Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561048   2008   GRTDN   1GRAP06238T542928   CPL‐1312   LA      Shreveport
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561049   2008   GRTDN   1GRAP06258T542929   CPL‐1312   OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561050   2008   GRTDN   1GRAP06218T542930   CPL‐1312   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561051   2008   GRTDN   1GRAP06238T542931   CPL‐1312   IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561053   2008   GRTDN   1GRAP06278T542933   CPL‐1312   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561055   2008   GRTDN   1GRAP06208T542935   CPL‐1312   GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561057   2008   GRTDN   1GRAP06248T542937   CPL‐1312   CA      Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561058   2008   GRTDN   1GRAP06268T542938   CPL‐1312   TN      Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561059   2008   GRTDN   1GRAP06288T542939   CPL‐1312   MI      Wayland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561060   2008   GRTDN   1GRAP06248T542940   CPL‐1312   NY      Rochester
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561061   2008   GRTDN   1GRAP06268T542941   CPL‐1312   OH      Columbus
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561062   2008   GRTDN   1GRAP06288T542942   CPL‐1312   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561064   2008   GRTDN   1GRAP06218T542944   CPL‐1312   IL      Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561065   2008   GRTDN   1GRAP06238T542945   CPL‐1312   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561067   2008   GRTDN   1GRAP06278T542947   CPL‐1312   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561068   2008   GRTDN   1GRAP06298T542948   CPL‐1312   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561069   2008   GRTDN   1GRAP06208T542949   CPL‐1312   IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561071   2008   GRTDN   1GRAP06298T542951   CPL‐1312   AL      Birmingham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561072   2008   GRTDN   1GRAP06208T542952   CPL‐1312   OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561073   2008   GRTDN   1GRAP06228T542953   CPL‐1312   OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561074   2008   GRTDN   1GRAP06248T542954   CPL‐1312   OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561075   2008   GRTDN   1GRAP06268T542955   CPL‐1312   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561076   2008   GRTDN   1GRAP06288T542956   CPL‐1312   FL      Miami
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561082   2008   GRTDN   1GRAP06238T542962   CPL‐1312   GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561083   2008   GRTDN   1GRAP06258T542963   CPL‐1312   NC      Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561085   2008   GRTDN   1GRAP06298T542965   CPL‐1312   MI      Taylor
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561087   2008   GRTDN   1GRAP06228T542967   CPL‐1312   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561088   2008   GRTDN   1GRAP06248T542968   CPL‐1312   MI      Pontiac
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561089   2008   GRTDN   1GRAP06268T542969   CPL‐1312   GA      Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561091   2008   GRTDN   1GRAP06248T542971   CPL‐1312   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561092   2008   GRTDN   1GRAP06268T542972   CPL‐1312   FL      Tampa
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561093   2008   GRTDN   1GRAP06288T542973   CPL‐1312   PA      Bensalem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561094   2008   GRTDN   1GRAP062X8T542974   CPL‐1312   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561095   2008   GRTDN   1GRAP06218T542975   CPL‐1312   AZ      Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561097   2008   GRTDN   1GRAP06258T542977   CPL‐1312   CA      Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561098   2008   GRTDN   1GRAP06278T542978   CPL‐1312   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561099   2008   GRTDN   1GRAP06298T542979   CPL‐1312   OH      Copley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561100   2008   GRTDN   1GRAP06258T542980   CPL‐1312   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561101   2008   GRTDN   1GRAP06278T542981   CPL‐1312   TN      Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561102   2008   GRTDN   1GRAP06298T542982   CPL‐1312   GA      Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561103   2008   GRTDN   1GRAP06208T542983   CPL‐1312   MD      Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561105   2008   GRTDN   1GRAP06248T542985   CPL‐1312   WI      Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561106   2008   GRTDN   1GRAP06268T542986   CPL‐1312   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561108   2008   GRTDN   1GRAP062X8T542988   CPL‐1312   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561109   2008   GRTDN   1GRAP06218T542989   CPL‐1312   CA      Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561110   2008   GRTDN   1GRAP06288T542990   CPL‐1312   TX      Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561112   2008   GRTDN   1GRAP06218T542992   CPL‐1312   MN      Burnsville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561113   2008   GRTDN   1GRAP06238T542993   CPL‐1312   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561115   2008   GRTDN   1GRAP06278T542995   CPL‐1312   OH      Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561116   2008   GRTDN   1GRAP06298T542996   CPL‐1312   NE      Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561119   2008   GRTDN   1GRAP06248T542999   CPL‐1312   IN      Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561120   2008   GRTDN   1GRAP06258T543000   CPL‐1312   IL      Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561121   2008   GRTDN   1GRAP06278T543001   CPL‐1312   GA      Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561122   2008   GRTDN   1GRAP06298T543002   CPL‐1312   IN      Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561123   2008   GRTDN   1GRAP06208T543003   CPL‐1312   TX      Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY561124   2008   GRTDN   1GRAP06228T543004   CPL‐1312   OH      Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568000   2008   WABSH   1JJV532W78L141594              IL      Joliet
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568001   2008   WABSH   1JJV532W98L141595              IN      South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568002   2008   WABSH   1JJV532W08L141596              TX      Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568003   2008   WABSH   1JJV532W28L141597              OH      Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568008   2008   WABSH   1JJV532W28L141602              OH      Dayton
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23          Page 865 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State            City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568010   2008   WABSH   1JJV532W68L141604                OH               Dayton
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568012   2008   WABSH   1JJV532WX8L141606                OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568013   2008   WABSH   1JJV532W18L141607                PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568014   2008   WABSH   1JJV532W38L141608                GA               Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568015   2008   WABSH   1JJV532W58L141609                TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568016   2008   WABSH   1JJV532W18L141610                CA               Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568017   2008   WABSH   1JJV532W38L141611                IN               Fort Wayne
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568019   2008   WABSH   1JJV532W78L141613                IN               Jeffersonville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568020   2008   WABSH   1JJV532W98L141614                NY               Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568022   2008   WABSH   1JJV532W28L141616                IN               South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568023   2008   WABSH   1JJV532W48L141617                Ontario          Mississauga
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568025   2008   WABSH   1JJV532W88L141619                OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568026   2008   WABSH   1JJV532W48L141620                FL               Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568028   2008   WABSH   1JJV532W88L141622                UT               St. George
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568029   2008   WABSH   1JJV532WX8L141623                SC               Columbia
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568031   2008   WABSH   1JJV532W38L141625                TX               Laredo
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568033   2008   WABSH   1JJV532W78L141627                OK               Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568034   2008   WABSH   1JJV532W98L141628                CA               Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568035   2008   WABSH   1JJV532W08L141629                GA               Jefferson
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568036   2008   WABSH   1JJV532W78L141630                MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568038   2008   WABSH   1JJV532W08L141632                British Columbia Burnaby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568039   2008   WABSH   1JJV532W28L141633                MD               Hagerstown
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568040   2008   WABSH   1JJV532W48L141634                TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568041   2008   WABSH   1JJV532W68L141635                IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568042   2008   WABSH   1JJV532W88L141636                IL               Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568043   2008   WABSH   1JJV532WX8L141637                GA               Conley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568044   2008   WABSH   1JJV532W18L141638                MN               Saint Cloud
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568046   2008   WABSH   1JJV532WX8L141640                PA               Bethlehem
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568048   2008   WABSH   1JJV532W38L141642                CA               Sun Valley
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568050   2008   WABSH   1JJV532W78L141644                GA               Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568052   2008   WABSH   1JJV532W08L141646                OH               Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568053   2008   WABSH   1JJV532W28L141647                OH               Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568054   2008   WABSH   1JJV532W48L141648                IN               Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568055   2008   WABSH   1JJV532W68L141649                NC               Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568056   2008   WABSH   1JJV532W28L141650                PA               Erie
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568057   2008   WABSH   1JJV532W48L141651                OH               Bowling Green
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568059   2008   WABSH   1JJV532W88L141653                WI               Eau Claire
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568064   2008   WABSH   1JJV532W78L141658                CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568065   2008   WABSH   1JJV532W98L141659                AZ               Phoenix
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568066   2008   WABSH   1JJV532W58L141660                OH               Brooklyn
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568067   2008   WABSH   1JJV532W78L141661                LA               Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY568069   2008   WABSH   1JJV532W08L141663                Ontario          Whitby
 YRCF     ROAD TRAILER     RTL‐TA   RDWY850922   2014   STGHT   1DW1A5324EB495076   ZGPVW        MS               Richland
 YRCF     ROAD TRAILER     RTL‐TA   RDWY89970    2014   GRTDN   1GRAP962XED452797                NC               Durham
 YRCF     ROAD TRAILER     RTL‐TA   RDWY902538   1995   WABSH   1JJV482U8SL227583   1JJV         GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY902596   1996   PINES   1PNV482B8TG301061   1PNV         PA               Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY902607   1996   WABSH   1JJV482U1TL266808   1JJV         TX               Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY902826   1996   WABSH   1JJV482U6TL267291   1JJV         OH               Cincinnati
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903052   1997   STGHT   1DW1A4825VS067617   1DW          TN               Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903295   2000   PINES   1PNV532B2YG313729   1PNV         VA               Chesapeake
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903297   2000   GRTDN   1PNV532B5YG313725   1PNV         GA               Ringgold
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903312   2000   TRLMB   1PT01AAH0Y9009148   1PT          FL               Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903313   2000   GRTDN   1PNV532B9YG316272   1PNV         NY               Mount Vernon
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903315   2000   TRLMB   1PT01AAH1Y6006339   1PT          TN               Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903335   2000   GRTDN   1PNV532B5YG316267   1PNV         CA               San Diego
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903342   2001   GRTDN   1GRAA06211G318251   1GRA         IL               Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903346   2001   GRTDN   1GRAA062X1G318250   1GRA         IN               South Bend
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903392   1999   STGHT   1DW1A5328XS300132   1DW          CA               Pomona
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903524   1998   FRUHF   1JJV482F9WF530474   1JJV         LA               Port Allen
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903564   1998   FRUHF   1JJV482F2WF530557   1JJV         GA               Ellenwood
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903645   2000   TRLMB   1PT01JAH4Y6007386   1PT          MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903735   1999   STGHT   1DW1A5326XS257278   1DW          NE               Omaha
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903748   1999   STGHT   1DW1A5327XS257418   1DW          MN               Owatonna
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903760   1999   STGHT   1DW1A5323XS257450   1DW          IL               Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903784   1999   STGHT   1DW1A5322XS257245   1DW          CA               Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903792   1999   STGHT   1DW1A5325XS257272   1DW          MO               Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903811   2001   TRLMB   1PT01JPH018001294   1PT          FL               Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903814   2001   TRLMB   1PT01JPH618001297   1PT          IL               Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903816   2001   TRLMB   1PT01JPH218001300   1PT          IL               Chicago Heights
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 866 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL    State          City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903817   2001   TRLMB   1PT01JPH418001301   1PT       CA             Bloomington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903818   2001   TRLMB   1PT01JPH618001302   1PT       TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903821   2001   TRLMB   1PT01JPH118001305   1PT       WV             Bridgeport
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903823   2001   TRLMB   1PT01JPH718001311   1PT       OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903828   2001   TRLMB   1PT01JPH818001317   1PT       KY             Lexington
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903843   2000   TRLMB   1PT01JPH6Y8002346   1PT       PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903848   2000   TRLMB   1PT01JPH5Y8002371   1PT       IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903851   2001   TRLMB   1PT01JPH318001306   1PT       CA             Brisbane
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903853   2001   TRLMB   1PT01JPH718001308   1PT       IL             Bolingbrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903855   2001   TRLMB   1PT01JPH018001313   1PT       IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903873   2000   TRLMB   1PT01JPH2Y8002358   1PT       IL             Wheeling
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903914   2000   WABSH   1JJV532W0YL730485   1JJV      TX             Houston
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903916   2000   WABSH   1JJV532W4YL730487   1JJV      NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903917   2000   WABSH   1JJV532W6YL730488   1JJV      PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903918   2000   WABSH   1JJV532W8YL730489   1JJV      NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903928   2000   WABSH   1JJV532W0YL730499   1JJV      OH             Richfield
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903934   2002   WABSH   1JJV532W32L784208   1JJV      NC             Charlotte
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903936   2002   WABSH   1JJV532W12L784210   1JJV      TX             Fort Worth
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903942   2002   WABSH   1JJV532W22L784216   1JJV      NV             Las Vegas
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903947   2003   WABSH   1JJV532W23L816910   1JJV      IL             Chicago Heights
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903948   2003   WABSH   1JJV532W43L816911   1JJV      FL             Orlando
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903950   2003   WABSH   1JJV532W83L816913   1JJV      IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903951   2003   WABSH   1JJV532WX3L816914   1JJV      WI             Oak Creek
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903953   2003   WABSH   1JJV532W33L816916   1JJV      TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903955   2003   WABSH   1JJV532W73L816918   1JJV      TX             Irving
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903956   2003   WABSH   1JJV532W53L816920   1JJV      CA             Tracy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903957   2003   WABSH   1JJV532W73L816921   1JJV      IL             Quincy
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903958   2003   WABSH   1JJV532W93L816922   1JJV      IL             Montgomery
 YRCF     ROAD TRAILER     RTL‐TA   RDWY903959   2003   WABSH   1JJV532W03L816923   1JJV      CA             Fontana
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904024   1999   STRCK   1S12E9482XD440443   1S1       MO             Kansas City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904115   2000   PINES   1PNV532B6YG316942   1PNV      IN             Indianapolis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904132   2000   PINES   1PNV532B7YG316285   1PNV      TN             Memphis
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904170   2001   GRTDN   1GRAA06231G318929   1GRAA     CO             Aurora
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904186   2002   GRTDN   1GRAA06292G321285   1GRAA     PA             Carlisle
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904212   2000   LFKTR   1L01A5323Y1141146   1L01      IL             Rock Island
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904254   2000   LFKTR   1L01A5327Y1141148   1L0       NY             Maybrook
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904259   2000   LFKTR   1L01A5325Y1141407   1L0       TN             Nashville
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904276   2000   TRLMB   1PT01JAH2Y6002705   1PT       GA             Marietta
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904301   2000   TRLMB   1PT01JAH8Y6001056   1PT       Newfoundland   Ciudad Apodaca
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904313   2000   LFKTR   1L01A5326Y1141478   1L01      OK             Oklahoma City
 YRCF     ROAD TRAILER     RTL‐TA   RDWY904325   2000   LFKTR   1L01A5321Y1141209   1L01      CA             Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10102    2021   PTRBL   1XPBAP8X4MD758579   579       VA             Roanoke
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10105    2022   VOLVO   4V4W19EG5NN308510   VNR42T    NY             Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10106    2022   PTRBL   1XPBAP8X8ND758585   579       IN             Terre Haute
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10107    2022   PTRBL   1XPBAP8X4ND758583   579       TN             Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10108    2021   PTRBL   1XPBAP8X1MD758572   579       PA             Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10109    2022   VOLVO   4V4W19EG3NN308473   VNR42T    MN             Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10110    2022   PTRBL   1XPBAP8X2ND758632   579       VA             Elliston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10111    2022   PTRBL   1XPBAP8X3ND758624   579       OK             Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10112    2022   VOLVO   4V4W19EG3NN285969   VNR42T    OH             Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10113    2022   VOLVO   4V4W19EG8NN285918   VNR42T    PA             Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10114    2015   VOLVO   4V4M19EH5FN918229   VNM42     OR             Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10115    2021   PTRBL   1XPBAP8X9MD758576   579       NY             Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10116    2022   VOLVO   4V4W19EG3NN286023   VNR42T    MI             Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10117    2022   VOLVO   4V4W19EG0NN308463   VNR42T    PA             Shippensburg
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10118    2022   VOLVO   4V4W19EG9NN285927   VNR42T    GA             Martinez
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10119    2022   VOLVO   4V4W19EG5NN285925   VNR42T    TX             Fort Worth
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10120    2022   VOLVO   4V4W19EG6NN285996   VNR42T    UT             Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10121    2022   VOLVO   4V4W19EG0NN285993   VNR42T    NC             Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10122    2022   VOLVO   4V4W19EG5NN285908   VNR42T    NY             Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10123    2022   PTRBL   1XPBAP8X6ND758598   579       NJ             South Plainfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10124    2022   PTRBL   1XPBAP8X6ND758584   579       MO             Strafford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10125    2021   PTRBL   1XPBAP8X4MD758565   579       MO             Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10126    2022   PTRBL   1XPBAP8X8ND758599   579       IL             Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10127    2022   PTRBL   1XPBAP8X2ND758677   579       IL             Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10128    2022   VOLVO   4V4W19EG5NN285956   VNR42T    VA             Manassas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10129    2022   PTRBL   1XPBAP8X6ND758648   579       MA             North Reading
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10130    2022   PTRBL   1XPBAP8X4ND758633   579       WV             Charleston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10131    2021   PTRBL   1XPBAP8X7MD758558   579       PA             Carlisle
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 867 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10132     2021   PTRBL   1XPBAP8X5MD758557   579       MA      North Reading
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10133     2022   PTRBL   1XPBAP8X1ND758637   579       VA      Manassas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10134     2022   PTRBL   1XPBAP8X6ND758603   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10135     2022   PTRBL   1XPBAP8X4ND758602   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10136     2022   PTRBL   1XPBAP8X3ND758607   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10137     2021   PTRBL   1XPBAP8X5MD758574   579       PA      McKees Rocks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10138     2021   PTRBL   1XPBAP8X3MD758573   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10139     2022   PTRBL   1XPBAP8X0ND758631   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10140     2022   PTRBL   1XPBAP8X8ND758649   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10141     2022   VOLVO   4V4W19EG2NN285929   VNR42T    PA      Line Lexington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10142     2022   VOLVO   4V4W19EG3NN285986   VNR42T    GA      Ellenwood
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10143     2022   VOLVO   4V4W19EG8NN308503   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10144     2022   VOLVO   4V4W19EG9NN285961   VNR42T    PA      Mountain Top
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10145     2022   VOLVO   4V4W19EG0NN285959   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10146     2022   PTRBL   1XPBAP8X3ND758591   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10147     2022   VOLVO   4V4W19EG1NN308519   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10148     2022   VOLVO   4V4W19EH8NN286236   VNR42     WA      Pasco
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10149     2022   VOLVO   4V4W19EGXNN285984   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10150     2022   PTRBL   1XPBAP8X3ND758641   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10151     2021   PTRBL   1XPBAP8X0MD758580   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10152     2022   VOLVO   4V4W19EG9NN285930   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10153     2022   VOLVO   4V4W19EG7NN285960   VNR42T    VA      Roanoke
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10154     2022   PTRBL   1XPBAP8X5ND758589   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10155     2022   PTRBL   1XPBAP8X4ND758616   579       NJ      Hamilton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10156     2022   VOLVO   4V4W19EG0NN308480   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10157     2022   VOLVO   4V4W19EGXNN308471   VNR42T    VA      Chesapeake
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10158     2022   VOLVO   4V4W19EG9NN308476   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10159     2022   VOLVO   4V4W19EG4NN308479   VNR42T    ME      Westbrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10160     2021   PTRBL   1XPBAP8XXMD758571   579       TX      Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10161     2022   PTRBL   1XPBAP8X5ND758592   579       NJ      Hamilton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10162     2022   PTRBL   1XPBAP8X7ND758593   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10163     2022   PTRBL   1XPBAP8X0ND758600   579       MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10164     2022   PTRBL   1XPBAP8X5ND758611   579       VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10165     2022   PTRBL   1XPBAP8X9ND758627   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10166     2022   PTRBL   1XPBAP8XXND758653   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10167     2022   PTRBL   1XPBAP8X4ND758664   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10168     2022   PTRBL   1XPBAP8X8ND758666   579       WV      Beckley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10169     2022   PTRBL   1XPBAP8X9ND758675   579       PA      Camp Hill
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10170     2022   PTRBL   1XPBAP8X4ND758678   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10171     2022   VOLVO   4V4W19EG2NN308478   VNR42T    VA      Elliston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10172     2022   VOLVO   4V4W19EG6NN308516   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10173     2022   VOLVO   4V4W19EG4NN285981   VNR42T    TX      San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10174     2022   PTRBL   1XPBAP8X3ND758638   579       MO      Strafford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10175     2021   VOLVO   4V4W19EH4MN286183   VNR42     OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10176     2021   PTRBL   1XPBAP8X6MD758552   579       RI      Cranston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10177     2022   VOLVO   4V4W19EHXNN286237   VNR42     OH      Akron
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10178     2020   VOLVO   4V4W39EH6LN262282   VNR42     OH      Akron
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10307     2023   VOLVO   4V4W19EG3PN616813   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10310     2023   VOLVO   4V4W19EG9PN616816   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10535     2022   VOLVO   4V4W19EH0NN285808   VNR       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY10926     2006   VOLVO   4V4M19GF06N406051   VNM42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY11122     2007   VOLVO   4V4M19GF67N451738   VNM42T    IN      South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY11557     2016   VOLVO   4V4M19EGXGN944656   VNM42T    IN      South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY11656     2016   FRGHT   1FUBGADV9GLHB3527   CAS113    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY11694     2016   FRGHT   3AKBGADV6GDHC3473   CAS113    OH      Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12380     2018   VOLVO   4V4M19EG6JN886973   VNM42T    FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12383     2018   VOLVO   4V4M19EG1JN886976   VNM42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12388     2018   VOLVO   4V4M19EG5JN886981   VNM42T    OH      Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12390     2018   VOLVO   4V4M19EG9JN886983   VNM42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12392     2018   VOLVO   4V4M19EG2JN886985   VNM42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12393     2018   VOLVO   4V4M19EG4JN886986   VNM42T    MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12394     2018   VOLVO   4V4M19EG6JN886987   VNM42T    LA      Alexandria
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12399     2018   VOLVO   4V4M19EGXJN886992   VNM42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12401     2018   VOLVO   4V4M19EG3JN886994   VNM42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12403     2018   VOLVO   4V4M19EG7JN886996   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12405     2018   VOLVO   4V4M19EG0JN886998   VNM42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12406     2018   VOLVO   4V4M19EG2JN886999   VNM42T    VA      Richmond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12407     2018   VOLVO   4V4M19EG3JN887000   VNM42T    OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12408     2018   VOLVO   4V4M19EG5JN887001   VNM42T    OH      Richfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 868 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State     City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12414     2018   VOLVO   4V4M19EG6JN887007   VNM42T     NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12415     2018   VOLVO   4V4M19EG8JN887008   VNM42T     UT        Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12416     2018   VOLVO   4V4M19EGXJN887009   VNM42T     GA        Thomasville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12419     2018   VOLVO   4V4M19EGXJN887012   VNM42T     ND        Minot
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12420     2018   VOLVO   4V4M19EG1JN887013   VNM42T     OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12423     2018   VOLVO   4V4M19EG7JN887016   VNM42T     OH        Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12426     2018   VOLVO   4V4M19EG2JN887019   VNM42T     GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12429     2018   VOLVO   4V4M19EG2JN887022   VNM42T     UT        Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12431     2018   VOLVO   4V4M19EG6JN887024   VNM42T     MD        Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12439     2018   VOLVO   4V4M19EG5JN887032   VNM42T     OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12447     2018   VOLVO   4V4M19EG4JN887040   VNM42T     TX        Dallas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12449     2018   VOLVO   4V4M19EG8JN887042   VNM42T     CA        Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12450     2018   VOLVO   4V4M19EGXJN887043   VNM42T     TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12451     2018   VOLVO   4V4M19EG1JN887044   VNM42T     NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12454     2018   VOLVO   4V4M19EG7JN887047   VNM42T     OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12456     2018   VOLVO   4V4M19EG0JN887049   VNM42T     TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12458     2018   VOLVO   4V4M19EG9JN887051   VNM42T     OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12459     2018   VOLVO   4V4M19EG0JN887052   VNM42T     OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12460     2018   VOLVO   4V4M19EG2JN887053   VNM42T     OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12462     2018   VOLVO   4V4M19EG6JN887055   VNM42T     MA        West Springfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12463     2018   VOLVO   4V4M19EG8JN887056   VNM42T     FL        Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12465     2018   VOLVO   4V4M19EG1JN887058   VNM42T     TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12466     2018   VOLVO   4V4M19EG3JN887059   VNM42T     CA        Avenal
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12467     2018   VOLVO   4V4M19EGXJN887060   VNM42T     PA        Bensalem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12472     2018   VOLVO   4V4M19EG9JN887065   VNM42T     VA        Elliston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12477     2018   VOLVO   4V4M19EG2JN887070   VNM42T     OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12478     2018   KNWRT   1XKYAP8X1JJ203165   T680       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12479     2018   KNWRT   1XKYAP8X3JJ203166   T680       CA        Pico Rivera
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12480     2018   KNWRT   1XKYAP8X8JJ207617   T680       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12481     2018   KNWRT   1XKYAP8XXJJ207618   T680       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12482     2018   KNWRT   1XKYAP8X1JJ207619   T680       PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12483     2018   KNWRT   1XKYAP8X8JJ207620   T680       IN        Jeffersonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12484     2018   KNWRT   1XKYAP8XXJJ207621   T680       Ontario   Mississauga
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12486     2018   KNWRT   1XKYAP8X3JJ207623   T680       PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12487     2018   KNWRT   1XKYAP8X5JJ207624   T680       TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12488     2018   KNWRT   1XKYAP8X7JJ207625   T680       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12489     2018   KNWRT   1XKYAP8X9JJ207626   T680       IN        South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12490     2018   KNWRT   1XKYAP8X0JJ207627   T680       TX        San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12491     2018   KNWRT   1XKYAP8X2JJ207628   T680       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12492     2018   KNWRT   1XKYAP8X4JJ207629   T680       OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12494     2018   KNWRT   1XKYAP8X2JJ207631   T680       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12495     2018   KNWRT   1XKYAP8X4JJ207632   T680       PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12496     2018   KNWRT   1XKYAP8X6JJ207633   T680       IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12498     2018   KNWRT   1XKYAP8XXJJ207635   T680       IN        Fort Wayne
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12500     2018   KNWRT   1XKYAP8X3JJ207637   T680       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12502     2018   KNWRT   1XKYAP8X7JJ207639   T680       PA        Dunmore
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12503     2018   KNWRT   1XKYAP8X3JJ207640   T680       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12504     2018   KNWRT   1XKYAP8X5JJ207641   T680       MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12508     2018   PTRBL   1XPBAP8X1JD481627   579        MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12512     2018   PTRBL   1XPBAP8X3JD481631   579        WV        Asbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12515     2018   PTRBL   1XPBAP8X9JD481634   579        CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12516     2018   PTRBL   1XPBAP8X0JD481635   579        OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12518     2018   PTRBL   1XPBAP8X4JD481637   579        NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12520     2018   PTRBL   1XPBAP8X8JD481639   579        GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12524     2018   PTRBL   1XPBAP8XXJD481643   579        TX        Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12525     2018   PTRBL   1XPBAP8X1JD481644   579        VA        Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12526     2018   PTRBL   1XPBAP8X3JD481645   579        AZ        Flagstaff
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12527     2018   PTRBL   1XPBAP8X5JD481646   579        OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12528     2018   PTRBL   1XPBAP8X7JD481647   579        CA        West Sacramento
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12530     2018   PTRBL   1XPBAP8X0JD481649   579        WV        Beckley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12539     2012   VOLVO   4V4N39DF3CN538607   VNL42300   OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12581     2018   VOLVO   4V4M19EG9JN895084   VNM42T     TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12584     2018   VOLVO   4V4M19EG4JN895087   VNM42T     MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12587     2018   VOLVO   4V4M19EG4JN895090   VNM42T     NM        Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12588     2018   VOLVO   4V4M19EG6JN895091   VNM42T     TX        Laredo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12589     2018   VOLVO   4V4M19EG8JN895092   VNM42T     MA        Shrewsbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12590     2018   VOLVO   4V4M19EGXJN895093   VNM42T     NJ        Carlstadt
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12598     2018   VOLVO   4V4M19EG5JN895101   VNM42T     CA        Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12599     2018   VOLVO   4V4M19EG7JN895102   VNM42T     OH        Richfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 869 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12601     2018   VOLVO   4V4M19EG0JN895104   VNM42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12602     2018   VOLVO   4V4M19EG2JN895105   VNM42T    PA      McKees Rocks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12603     2018   VOLVO   4V4M19EG4JN895106   VNM42T    VA      Richmond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12604     2018   VOLVO   4V4M19EG6JN895107   VNM42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12605     2018   VOLVO   4V4M19EG8JN895108   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12608     2018   VOLVO   4V4M19EG8JN895111   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12630     2018   KNWRT   1XKYAP8X5JJ209857   T680      PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12631     2018   KNWRT   1XKYAP8X7JJ209858   T680      PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12632     2018   KNWRT   1XKYAP8X9JJ209859   T680      VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12633     2018   KNWRT   1XKYAP8X5JJ209860   T680      IL      Morton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12634     2018   KNWRT   1XKYAP8X7JJ209861   T680      GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12635     2018   KNWRT   1XKYAP8X9JJ209862   T680      OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12636     2018   KNWRT   1XKYAP8X0JJ209863   T680      AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12637     2018   KNWRT   1XKYAP8X2JJ209864   T680      NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12638     2018   KNWRT   1XKYAP8X4JJ209865   T680      TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12639     2018   KNWRT   1XKYAP8X6JJ209866   T680      OH      Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12640     2018   KNWRT   1XKYAP8X8JJ209867   T680      MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12641     2018   KNWRT   1XKYAP8XXJJ209868   T680      MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12642     2018   KNWRT   1XKYAP8X1JJ209869   T680      AR      Little Rock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12643     2018   KNWRT   1XKYAP8X8JJ209870   T680      VA      Richmond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12644     2018   KNWRT   1XKYAP8XXJJ209871   T680      PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12645     2018   KNWRT   1XKYAP8X1JJ209872   T680      IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12646     2018   KNWRT   1XKYAP8X3JJ209873   T680      NY      Brooklyn
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12649     2018   KNWRT   1XKYAP8X9JJ209876   T680      AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12651     2018   KNWRT   1XKYAP8X2JJ209878   T680      PA      Erie
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12653     2018   KNWRT   1XKYAP8X0JJ209880   T680      GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12654     2018   KNWRT   1XKYAP8X2JJ209881   T680      FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12655     2018   PTRBL   1XPBAP8X0JD484521   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12657     2018   PTRBL   1XPBAP8X4JD484523   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12658     2018   PTRBL   1XPBAP8X6JD484524   579       TX      San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12659     2018   PTRBL   1XPBAP8X8JD484525   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12660     2018   PTRBL   1XPBAP8XXJD484526   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12662     2018   PTRBL   1XPBAP8X3JD484528   579       AR      Little Rock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12666     2018   PTRBL   1XPBAP8X5JD484532   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12667     2018   PTRBL   1XPBAP8X7JD484533   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12668     2018   PTRBL   1XPBAP8X9JD484534   579       NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12670     2018   PTRBL   1XPBAP8X2JD484536   579       NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12671     2018   PTRBL   1XPBAP8X4JD484537   579       OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12672     2018   PTRBL   1XPBAP8X6JD484538   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12673     2018   PTRBL   1XPBAP8X8JD484539   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12674     2018   PTRBL   1XPBAP8X4JD484540   579       MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12675     2018   PTRBL   1XPBAP8X6JD484541   579       PA      McKees Rocks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12676     2018   PTRBL   1XPBAP8X8JD484542   579       IL      Montgomery
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12678     2018   PTRBL   1XPBAP8X1JD484544   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12679     2018   PTRBL   1XPBAP8X3JD484545   579       VA      Richmond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12681     2018   VOLVO   4V4W19EG3JN899351   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12685     2018   VOLVO   4V4W19EG0JN899355   VNR42T    AZ      Flagstaff
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12686     2018   VOLVO   4V4W19EG2JN899356   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12687     2018   VOLVO   4V4W19EG4JN899357   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12688     2018   VOLVO   4V4W19EG6JN899358   VNR42T    WV      Beckley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12690     2018   KNWRT   1XKYAP8X3JJ214295   T680      TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12691     2018   KNWRT   1XKYAP8X5JJ214296   T680      OH      Lima
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12692     2018   KNWRT   1XKYAP8X7JJ214297   T680      NE      Omaha
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12693     2018   KNWRT   1XKYAP8X9JJ214298   T680      VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12695     2018   KNWRT   1XKYAP8X3JJ214300   T680      NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12696     2018   KNWRT   1XKYAP8X5JJ214301   T680      IN      South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12697     2018   KNWRT   1XKYAP8X7JJ214302   T680      NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12698     2018   KNWRT   1XKYAP8X9JJ214303   T680      NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12699     2018   KNWRT   1XKYAP8X0JJ214304   T680      IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12701     2018   KNWRT   1XKYAP8X4JJ214306   T680      OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12703     2018   KNWRT   1XKYAP8X8JJ214308   T680      OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12705     2018   KNWRT   1XKYAP8X6JJ214310   T680      IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12706     2018   KNWRT   1XKYAP8X8JJ214311   T680      OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12709     2018   KNWRT   1XKYAP8X3JJ214314   T680      MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12710     2018   KNWRT   1XKYAP8X5JJ214315   T680      TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12711     2018   KNWRT   1XKYAP8X7JJ214316   T680      PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12712     2018   KNWRT   1XKYAP8X9JJ214317   T680      IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12713     2018   KNWRT   1XKYAP8X0JJ214318   T680      OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12714     2018   KNWRT   1XKYAP8X2JJ214319   T680      RI      Cumberland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 870 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12715     2018   KNWRT   1XKYAP8X9JJ214320   T680      NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12716     2018   KNWRT   1XKYAP8X0JJ214321   T680      NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12718     2018   KNWRT   1XKYAP8X4JJ214323   T680      MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12719     2018   KNWRT   1XKYAP8X6JJ214324   T680      UT        Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12720     2018   KNWRT   1XKYAP8X8JJ214325   T680      TX        Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12721     2018   KNWRT   1XKYAP8XXJJ214326   T680      TX        McAllen
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12722     2018   KNWRT   1XKYAP8X1JJ214327   T680      IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12723     2018   KNWRT   1XKYAP8X3JJ214328   T680      FL        Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12724     2018   KNWRT   1XKYAP8X5JJ214329   T680      UT        Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12725     2018   KNWRT   1XKYAP8X1JJ214330   T680      TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12727     2018   KNWRT   1XKYAP8X5JJ214332   T680      NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12728     2018   KNWRT   1XKYAP8X7JJ214333   T680      NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12729     2018   KNWRT   1XKYAP8X9JJ214334   T680      OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12731     2018   KNWRT   1XKYAP8X2JJ214336   T680      IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12734     2018   KNWRT   1XKYAP8X8JJ214339   T680      MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12735     2018   KNWRT   1XKYAP8X4JJ214340   T680      NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12737     2018   KNWRT   1XKYAP8X8JJ214342   T680      IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12738     2018   KNWRT   1XKYAP8XXJJ214343   T680      Ontario   Mississauga
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12740     2018   PTRBL   1XPBAP8XXJD486969   579       IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12741     2018   PTRBL   1XPBAP8X6JD486970   579       MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12743     2018   PTRBL   1XPBAP8XXJD486972   579       PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12744     2018   PTRBL   1XPBAP8X1JD486973   579       MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12745     2018   PTRBL   1XPBAP8X3JD486974   579       OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12746     2018   PTRBL   1XPBAP8X5JD486975   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12748     2018   PTRBL   1XPBAP8X9JD486977   579       GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12750     2018   PTRBL   1XPBAP8X2JD486979   579       GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12754     2018   PTRBL   1XPBAP8X4JD486983   579       MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12755     2018   PTRBL   1XPBAP8X6JD486984   579       OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12756     2018   PTRBL   1XPBAP8X8JD486985   579       PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12758     2018   PTRBL   1XPBAP8X1JD486987   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12760     2018   PTRBL   1XPBAP8X5JD486989   579       TX        Dallas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12761     2018   PTRBL   1XPBAP8X1JD486990   579       MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12762     2018   PTRBL   1XPBAP8X3JD486991   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12764     2018   PTRBL   1XPBAP8X7JD486993   579       PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12765     2018   PTRBL   1XPBAP8X9JD486994   579       TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12766     2018   PTRBL   1XPBAP8X0JD486995   579       MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12767     2018   PTRBL   1XPBAP8X2JD486996   579       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12768     2018   PTRBL   1XPBAP8X4JD486997   579       OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12769     2018   PTRBL   1XPBAP8X6JD486998   579       IA        Mason City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12771     2018   PTRBL   1XPBAP8X9JD487000   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12772     2018   PTRBL   1XPBAP8X0JD487001   579       IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12773     2018   PTRBL   1XPBAP8X2JD487002   579       MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12775     2018   PTRBL   1XPBAP8X6JD487004   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12777     2018   PTRBL   1XPBAP8XXJD487006   579       IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12779     2018   PTRBL   1XPBAP8X3JD487008   579       TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12780     2018   PTRBL   1XPBAP8X5JD487009   579       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12782     2018   PTRBL   1XPBAP8X3JD487011   579       WI        Oak Creek
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12783     2018   PTRBL   1XPBAP8X5JD487012   579       GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12784     2018   PTRBL   1XPBAP8X7JD487013   579       OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12786     2018   PTRBL   1XPBAP8X0JD487015   579       MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12787     2018   PTRBL   1XPBAP8X2JD487016   579       CO        Clifton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12789     2018   PTRBL   1XPBAP8X6JD487018   579       WV        Beckley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12791     2018   VOLVO   4V4W19EG9JN901698   VNR42T    IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12796     2018   VOLVO   4V4W19EG9JN901703   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12797     2018   VOLVO   4V4W19EG0JN901704   VNR42T    TN        Jackson
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12801     2018   VOLVO   4V4W19EG8JN901708   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12805     2018   VOLVO   4V4W19EGXJN901712   VNR42T    OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12809     2018   VOLVO   4V4W19EG7JN901716   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12811     2018   VOLVO   4V4W19EG0JN901718   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12818     2018   VOLVO   4V4W19EG8JN901725   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12819     2018   VOLVO   4V4W19EGXJN901726   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12822     2018   VOLVO   4V4W19EG5JN901729   VNR42T    TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12826     2018   VOLVO   4V4W19EG7JN901733   VNR42T    OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12827     2018   VOLVO   4V4W19EG9JN901734   VNR42T    ME        Fairfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12830     2018   VOLVO   4V4W19EG4JN901737   VNR42T    OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12832     2018   VOLVO   4V4W19EG8JN901739   VNR42T    OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12833     2018   VOLVO   4V4W19EG4JN901740   VNR42T    CA        Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12834     2018   VOLVO   4V4W19EG6JN901741   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12837     2018   VOLVO   4V4W19EG1JN901744   VNR42T    KS        Topeka
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 871 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12842     2018   VOLVO   4V4W19EG0JN901749   VNR42T    TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12843     2018   VOLVO   4V4W19EG7JN901750   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12844     2018   VOLVO   4V4W19EG9JN901751   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12851     2018   VOLVO   4V4W19EG1JN901758   VNR42T    AR        Little Rock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12853     2018   VOLVO   4V4W19EGXJN901760   VNR42T    TX        Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12855     2018   VOLVO   4V4W19EG3JN901762   VNR42T    FL        Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12856     2018   VOLVO   4V4W19EG5JN901763   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12862     2018   VOLVO   4V4W19EG6JN901769   VNR42T    TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12863     2018   VOLVO   4V4W19EG2JN901770   VNR42T    TX        Corpus Christi
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12865     2018   VOLVO   4V4W19EG6JN901772   VNR42T    TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12867     2018   VOLVO   4V4W19EGXJN901774   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12868     2018   VOLVO   4V4W19EG1JN901775   VNR42T    NM        Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12871     2018   VOLVO   4V4W19EG7JN901778   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12872     2018   VOLVO   4V4W19EG9JN901779   VNR42T    NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12873     2018   VOLVO   4V4W19EG5JN901780   VNR42T    CA        Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12875     2018   VOLVO   4V4W19EG9JN901782   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12876     2018   VOLVO   4V4W19EG0JN901783   VNR42T    NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12877     2018   VOLVO   4V4W19EG2JN901784   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12878     2018   VOLVO   4V4W19EG4JN901785   VNR42T    Ontario   Ottawa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12886     2018   VOLVO   4V4W19EG3JN901793   VNR42T    VA        Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12888     2018   VOLVO   4V4W19EG7JN901795   VNR42T    KY        Lexington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12889     2018   VOLVO   4V4W19EG9JN901796   VNR42T    PA        Dunmore
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12890     2018   VOLVO   4V4W19EG0JN901797   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12891     2018   VOLVO   4V4W19EG2JN901798   VNR42T    IL        Hodgkins
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12892     2018   VOLVO   4V4W19EG4JN901799   VNR42T    TN        Knoxville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12893     2018   VOLVO   4V4W19EG7JN901800   VNR42T    VA        Christiansburg
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12894     2018   VOLVO   4V4W19EG9JN901801   VNR42T    OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12895     2018   VOLVO   4V4W19EG0JN901802   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12896     2018   VOLVO   4V4W19EG2JN901803   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12901     2018   VOLVO   4V4W19EG1JN901808   VNR42T    TN        Knoxville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12906     2018   VOLVO   4V4W19EG5JN901813   VNR42T    TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12909     2018   VOLVO   4V4W19EG0JN901816   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12911     2018   VOLVO   4V4W19EG4JN901818   VNR42T    VA        Elliston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12912     2018   VOLVO   4V4W19EG6JN901819   VNR42T    MN        Saint Cloud
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12916     2018   VOLVO   4V4W19EG8JN901823   VNR42T    WA        Tacoma
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12918     2018   VOLVO   4V4W19EG1JN901825   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12919     2018   VOLVO   4V4W19EG3JN901826   VNR42T    IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12923     2018   VOLVO   4V4W19EG5JN901830   VNR42T    TX        Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12924     2018   VOLVO   4V4W19EG7JN901831   VNR42T    MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12925     2019   VOLVO   4V4W19EG7KN901832   VNR42T    OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12926     2019   VOLVO   4V4W19EG9KN901833   VNR42T    TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12928     2019   VOLVO   4V4W19EG2KN901835   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12929     2019   VOLVO   4V4W19EG4KN901836   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12930     2019   VOLVO   4V4W19EG6KN901837   VNR42T    OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12931     2019   VOLVO   4V4W19EG8KN901838   VNR42T    MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12932     2019   VOLVO   4V4W19EGXKN901839   VNR42T    MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12935     2019   VOLVO   4V4W19EGXKN901842   VNR42T    TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12936     2019   VOLVO   4V4W19EG1KN901843   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12937     2019   VOLVO   4V4W19EG3KN901844   VNR42T    NY        Deer Park
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12938     2019   VOLVO   4V4W19EG5KN901845   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12939     2019   VOLVO   4V4W19EG7KN901846   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12940     2019   VOLVO   4V4W19EG9KN901847   VNR42T    LA        Alexandria
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12941     2019   VOLVO   4V4W19EG0KN901848   VNR42T    WY        Evansville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12942     2019   VOLVO   4V4W19EG2KN901849   VNR42T    NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12943     2019   VOLVO   4V4W19EG9KN901850   VNR42T    VA        Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12944     2019   VOLVO   4V4W19EG0KN901851   VNR42T    UT        Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12945     2019   VOLVO   4V4W19EG2KN901852   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12946     2019   VOLVO   4V4W19EG4KN901853   VNR42T    MO        Columbia
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12947     2019   VOLVO   4V4W19EG6KN901854   VNR42T    OK        Checotah
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12948     2019   VOLVO   4V4W19EG8KN901855   VNR42T    PA        Dunmore
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12949     2019   VOLVO   4V4W19EGXKN901856   VNR42T    OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12950     2019   VOLVO   4V4W19EG1KN901857   VNR42T    OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12951     2019   VOLVO   4V4W19EG3KN901858   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12952     2019   VOLVO   4V4W19EG5KN901859   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12953     2019   VOLVO   4V4W19EG1KN901860   VNR42T    NJ        Hamilton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12954     2019   VOLVO   4V4W19EG3KN901861   VNR42T    MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12955     2019   VOLVO   4V4W19EG5KN901862   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12956     2019   VOLVO   4V4W19EG7KN901863   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12957     2019   VOLVO   4V4W19EG9KN901864   VNR42T    NE        Omaha
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 872 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12958     2019   VOLVO   4V4W19EG0KN901865   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12959     2019   VOLVO   4V4W19EG2KN901866   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12960     2019   VOLVO   4V4W19EG4KN901867   VNR42T    TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12961     2019   VOLVO   4V4W19EG6KN901868   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12962     2019   VOLVO   4V4W19EG8KN901869   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12963     2019   VOLVO   4V4W19EG4KN901870   VNR42T    Ontario   Whitby
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12964     2019   VOLVO   4V4W19EG6KN901871   VNR42T    OR        Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12965     2019   VOLVO   4V4W19EG8KN901872   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12966     2019   VOLVO   4V4W19EGXKN901873   VNR42T    OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12967     2019   VOLVO   4V4W19EG1KN901874   VNR42T    RI        Cumberland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12969     2019   VOLVO   4V4W19EG5KN901876   VNR42T    IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12970     2019   VOLVO   4V4W19EG7KN901877   VNR42T    UT        Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12971     2019   VOLVO   4V4W19EG9KN901878   VNR42T    VA        Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12972     2019   VOLVO   4V4W19EG0KN901879   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12973     2019   VOLVO   4V4W19EG7KN901880   VNR42T    IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12974     2019   VOLVO   4V4W19EG9KN901881   VNR42T    MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12975     2019   VOLVO   4V4W19EG0KN901882   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12976     2019   VOLVO   4V4W19EG2KN901883   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12977     2019   VOLVO   4V4W19EG4KN901884   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12978     2019   VOLVO   4V4W19EG6KN901885   VNR42T    OH        Dayton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12979     2019   VOLVO   4V4W19EG8KN901886   VNR42T    OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12980     2019   VOLVO   4V4W19EGXKN901887   VNR42T    OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12981     2019   VOLVO   4V4W19EG1KN901888   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12982     2019   VOLVO   4V4W19EG3KN901889   VNR42T    TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12983     2019   VOLVO   4V4W19EGXKN901890   VNR42T    OK        Tulsa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12984     2019   VOLVO   4V4W19EG1KN901891   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12985     2019   VOLVO   4V4W19EG3KN901892   VNR42T    TX        San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12986     2019   VOLVO   4V4W19EG5KN901893   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12987     2019   VOLVO   4V4W19EG7KN901894   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12988     2019   VOLVO   4V4W19EG9KN901895   VNR42T    MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12989     2019   VOLVO   4V4W19EG0KN901896   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12990     2019   VOLVO   4V4W19EG2KN901897   VNR42T    IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12991     2019   VOLVO   4V4W19EG4KN901898   VNR42T    VA        Manassas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12992     2019   VOLVO   4V4W19EG6KN901899   VNR42T    IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12993     2019   VOLVO   4V4W19EG9KN901900   VNR42T    NJ        South Plainfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12994     2019   VOLVO   4V4W19EG0KN901901   VNR42T    MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12995     2019   VOLVO   4V4W19EG2KN901902   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12997     2019   VOLVO   4V4W19EG6KN901904   VNR42T    FL        Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12998     2019   VOLVO   4V4W19EG8KN901905   VNR42T    PA        Shippensburg
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY12999     2019   VOLVO   4V4W19EGXKN901906   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14000     2019   VOLVO   4V4W19EG1KN901907   VNR42T    MD        Baltimore
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14001     2019   VOLVO   4V4W19EG3KN901908   VNR42T    MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14002     2019   VOLVO   4V4W19EG5KN901909   VNR42T    NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14003     2019   VOLVO   4V4W19EG1KN901910   VNR42T    OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14004     2019   VOLVO   4V4W19EG3KN901911   VNR42T    TX        Waco
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14005     2019   VOLVO   4V4W19EG5KN901912   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14006     2019   VOLVO   4V4W19EG7KN901913   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14007     2019   VOLVO   4V4W19EG9KN901914   VNR42T    OH        Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14008     2019   VOLVO   4V4W19EG0KN901915   VNR42T    TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14009     2019   VOLVO   4V4W19EG2KN901916   VNR42T    GA        Ellenwood
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14012     2019   VOLVO   4V4W19EG8KN901919   VNR42T    WA        East Wenatchee
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14013     2019   VOLVO   4V4W19EG4KN901920   VNR42T    MA        North Reading
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14014     2019   VOLVO   4V4W19EG6KN901921   VNR42T    MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14015     2019   VOLVO   4V4W19EG8KN901922   VNR42T    TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14016     2019   VOLVO   4V4W19EGXKN901923   VNR42T    NJ        South Plainfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14017     2019   VOLVO   4V4W19EG1KN901924   VNR42T    PA        Bensalem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14018     2019   VOLVO   4V4W19EG3KN901925   VNR42T    NM        Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14020     2019   VOLVO   4V4W19EG7KN901927   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14021     2019   VOLVO   4V4W19EG9KN901928   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14022     2019   VOLVO   4V4W19EG0KN901929   VNR42T    FL        Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14024     2019   VOLVO   4V4W19EG9KN901931   VNR42T    IL        Wheeling
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14025     2019   VOLVO   4V4W19EG0KN901932   VNR42T    NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14026     2019   VOLVO   4V4W19EG2KN901933   VNR42T    MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14027     2019   VOLVO   4V4W19EG4KN901934   VNR42T    TN        Knoxville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14028     2019   VOLVO   4V4W19EG6KN901935   VNR42T    IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14029     2019   VOLVO   4V4W19EG8KN901936   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14030     2019   VOLVO   4V4W19EGXKN901937   VNR42T    OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14031     2019   VOLVO   4V4W19EG1KN901938   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14032     2019   VOLVO   4V4W19EG3KN901939   VNR42T    PA        Carlisle
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 873 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14033     2019   VOLVO   4V4W19EGXKN901940   VNR42T    MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14034     2019   VOLVO   4V4W19EG1KN901941   VNR42T    GA        Thomasville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14035     2019   VOLVO   4V4W19EG3KN901942   VNR42T    NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14036     2019   VOLVO   4V4W19EG5KN901943   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14037     2019   VOLVO   4V4W19EG7KN901944   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14038     2019   VOLVO   4V4W19EG9KN901945   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14039     2019   VOLVO   4V4W19EG0KN901946   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14040     2019   VOLVO   4V4W19EG2KN901947   VNR42T    TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14041     2019   VOLVO   4V4W19EG4KN901948   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14042     2019   VOLVO   4V4W19EG6KN901949   VNR42T    NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14043     2019   VOLVO   4V4W19EG2KN901950   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14044     2019   VOLVO   4V4W19EG4KN901951   VNR42T    NM        Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14045     2019   VOLVO   4V4W19EG6KN901952   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14046     2019   VOLVO   4V4W19EG8KN901953   VNR42T    MI        Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14047     2019   VOLVO   4V4W19EGXKN901954   VNR42T    MI        Wyoming
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14048     2019   VOLVO   4V4W19EG1KN901955   VNR42T    IN        Jeffersonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14049     2019   VOLVO   4V4W19EG3KN901956   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14050     2019   VOLVO   4V4W19EG5KN901957   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14051     2019   VOLVO   4V4W19EG7KN901958   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14052     2019   VOLVO   4V4W19EG9KN901959   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14053     2019   VOLVO   4V4W19EG5KN901960   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14054     2019   VOLVO   4V4W19EG7KN901961   VNR42T    NJ        Hamilton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14055     2019   VOLVO   4V4W19EG9KN901962   VNR42T    OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14056     2019   VOLVO   4V4W19EG0KN901963   VNR42T    AZ        Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14057     2019   VOLVO   4V4W19EG2KN901964   VNR42T    OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14058     2019   VOLVO   4V4W19EG4KN901965   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14059     2019   VOLVO   4V4W19EG6KN901966   VNR42T    OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14060     2019   VOLVO   4V4W19EG8KN901967   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14061     2019   VOLVO   4V4W19EGXKN901968   VNR42T    TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14062     2019   VOLVO   4V4W19EG1KN901969   VNR42T    KY        Waddy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14063     2019   VOLVO   4V4W19EG8KN901970   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14064     2019   VOLVO   4V4W19EGXKN901971   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14065     2019   VOLVO   4V4W19EG1KN901972   VNR42T    IL        Wheeling
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14066     2019   VOLVO   4V4W19EG3KN901973   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14067     2019   VOLVO   4V4W19EG5KN901974   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14068     2019   VOLVO   4V4W19EG7KN901975   VNR42T    Ontario   Woodstock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14069     2019   VOLVO   4V4W19EG9KN901976   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14070     2019   VOLVO   4V4W19EG0KN901977   VNR42T    IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14071     2019   VOLVO   4V4W19EG2KN901978   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14072     2019   VOLVO   4V4W19EG4KN901979   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14073     2019   VOLVO   4V4W19EG0KN901980   VNR42T    VA        Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14074     2019   VOLVO   4V4W19EG2KN901981   VNR42T    NM        Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14075     2019   VOLVO   4V4W19EG4KN901982   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14076     2019   VOLVO   4V4W19EG6KN901983   VNR42T    TX        El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14077     2019   VOLVO   4V4W19EG8KN901984   VNR42T    MD        Baltimore
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14078     2019   VOLVO   4V4W19EGXKN901985   VNR42T    TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14079     2019   VOLVO   4V4W19EG1KN901986   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14080     2019   VOLVO   4V4W19EG3KN901987   VNR42T    IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14081     2019   VOLVO   4V4W19EG5KN901988   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14082     2019   VOLVO   4V4W19EG7KN901989   VNR42T    NY        East Syracuse
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14083     2019   VOLVO   4V4W19EG3KN901990   VNR42T    Ontario   Whitby
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14085     2019   VOLVO   4V4W19EG7KN901992   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14086     2019   VOLVO   4V4W19EG9KN901993   VNR42T    NH        Bedford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14087     2019   VOLVO   4V4W19EG0KN901994   VNR42T    FL        Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14089     2019   VOLVO   4V4W19EG4KN901996   VNR42T    PA        Shippensburg
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14090     2019   VOLVO   4V4W19EG6KN901997   VNR42T    NY        Plainview
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14091     2019   VOLVO   4V4W19EG8KN901998   VNR42T    VA        Manassas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14092     2019   VOLVO   4V4W19EGXKN901999   VNR42T    WV        Bridgeport
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14093     2019   VOLVO   4V4W19EG0KN902000   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14094     2019   VOLVO   4V4W19EG2KN902001   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14095     2019   VOLVO   4V4W19EG4KN902002   VNR42T    IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14097     2019   VOLVO   4V4W19EG8KN902004   VNR42T    IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14098     2019   VOLVO   4V4W19EGXKN902005   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14099     2019   VOLVO   4V4W19EG1KN902006   VNR42T    UT        Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14100     2019   VOLVO   4V4W19EG3KN902007   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14102     2019   VOLVO   4V4W19EG7KN902009   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14103     2019   VOLVO   4V4W19EG3KN902010   VNR42T    IL        Montgomery
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14104     2019   VOLVO   4V4W19EG5KN902011   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14105     2019   VOLVO   4V4W19EG7KN902012   VNR42T    OH        Richfield
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 874 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14106     2019   VOLVO   4V4W19EG9KN902013   VNR42T    TX      San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14109     2019   VOLVO   4V4W19EG4KN902016   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14110     2019   VOLVO   4V4W19EG6KN902017   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14111     2019   VOLVO   4V4W19EG8KN902018   VNR42T    IA      Council Bluffs
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14112     2019   VOLVO   4V4W19EGXKN902019   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14113     2019   VOLVO   4V4W19EG6KN902020   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14114     2019   VOLVO   4V4W19EG8KN902021   VNR42T    OH      Dayton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14115     2019   VOLVO   4V4W19EGXKN902022   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14116     2019   VOLVO   4V4W19EG1KN902023   VNR42T    TX      Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14117     2019   VOLVO   4V4W19EG3KN902024   VNR42T    PA      Mountain Top
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14118     2019   VOLVO   4V4W19EG5KN902025   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14119     2019   VOLVO   4V4W19EG7KN902026   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14120     2019   VOLVO   4V4W19EG9KN902027   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14121     2019   VOLVO   4V4W19EG0KN902028   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14122     2019   VOLVO   4V4W19EG2KN902029   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14123     2019   VOLVO   4V4W19EG9KN902030   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14124     2019   VOLVO   4V4W19EG0KN902031   VNR42T    TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14125     2019   VOLVO   4V4W19EG2KN902032   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14126     2019   VOLVO   4V4W19EG4KN902033   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14127     2019   VOLVO   4V4W19EG6KN902034   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14128     2019   VOLVO   4V4W19EG8KN902035   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14129     2019   VOLVO   4V4W19EGXKN902036   VNR42T    WV      Charleston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14130     2019   VOLVO   4V4W19EG1KN902037   VNR42T    VA      Christiansburg
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14131     2019   VOLVO   4V4W19EG3KN902038   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14132     2019   VOLVO   4V4W19EG8KN907381   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14133     2019   VOLVO   4V4W19EGXKN907382   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14134     2019   VOLVO   4V4W19EG1KN907383   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14135     2019   VOLVO   4V4W19EG3KN907384   VNR42T    CO      Colorado Springs
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14136     2019   VOLVO   4V4W19EG5KN907385   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14137     2019   VOLVO   4V4W19EG7KN907386   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14138     2019   VOLVO   4V4W19EG9KN907387   VNR42T    MT      Billings
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14139     2019   VOLVO   4V4W19EG0KN907388   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14140     2019   VOLVO   4V4W19EG2KN907389   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14141     2019   VOLVO   4V4W19EG9KN907390   VNR42T    MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14142     2019   VOLVO   4V4W19EG0KN907391   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14143     2019   VOLVO   4V4W19EG2KN907392   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14144     2019   VOLVO   4V4W19EG4KN907393   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14145     2019   VOLVO   4V4W19EG6KN907394   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14146     2019   VOLVO   4V4W19EG8KN907395   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14147     2019   VOLVO   4V4W19EGXKN907396   VNR42T    TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14148     2019   VOLVO   4V4W19EG1KN907397   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14149     2019   VOLVO   4V4W19EG3KN907398   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14150     2019   VOLVO   4V4W19EG5KN907399   VNR42T    TX      Dallas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14151     2019   VOLVO   4V4W19EG8KN907400   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14152     2019   VOLVO   4V4W19EGXKN907401   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14153     2019   VOLVO   4V4W19EG1KN907402   VNR42T    PA      Bethlehem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14154     2019   VOLVO   4V4W19EG3KN907403   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14155     2019   VOLVO   4V4W19EG5KN907404   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14156     2019   VOLVO   4V4W19EG7KN907405   VNR42T    IL      Morton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14157     2019   VOLVO   4V4W19EG9KN907406   VNR42T    MA      Shrewsbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14158     2019   VOLVO   4V4W19EG0KN907407   VNR42T    TX      San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14159     2019   VOLVO   4V4W19EG2KN907408   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14162     2019   VOLVO   4V4W19EG2KN907411   VNR42T    DE      Seaford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14163     2019   VOLVO   4V4W19EG4KN907412   VNR42T    MO      Strafford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14165     2019   VOLVO   4V4W19EG8KN907414   VNR42T    FL      Tampa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14166     2019   VOLVO   4V4W19EGXKN907415   VNR42T    IL      Bolingbrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14167     2019   VOLVO   4V4W19EG1KN907416   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14168     2019   VOLVO   4V4W19EG3KN907417   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14169     2019   VOLVO   4V4W19EG5KN907418   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14170     2019   VOLVO   4V4W19EG7KN907419   VNR42T    FL      Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14171     2019   VOLVO   4V4W19EG3KN907420   VNR42T    TX      San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14172     2019   VOLVO   4V4W19EG5KN907421   VNR42T    AZ      Flagstaff
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14173     2019   VOLVO   4V4W19EG7KN907422   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14174     2019   VOLVO   4V4W19EG9KN907423   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14175     2019   VOLVO   4V4W19EG0KN907424   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14176     2019   VOLVO   4V4W19EG2KN907425   VNR42T    WV      Charleston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14177     2019   VOLVO   4V4W19EG4KN907426   VNR42T    MO      Strafford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14178     2019   VOLVO   4V4W19EG6KN907427   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14179     2019   VOLVO   4V4W19EG8KN907428   VNR42T    MO      Saint Louis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 875 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14180     2019   VOLVO   4V4W19EGXKN907429   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14181     2019   VOLVO   4V4W19EG6KN907430   VNR42T    SD      Watertown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14182     2019   VOLVO   4V4W19EG8KN907431   VNR42T    IL      Bolingbrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14183     2019   VOLVO   4V4W19EGXKN907432   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14184     2019   VOLVO   4V4W19EG1KN907433   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14185     2019   VOLVO   4V4W19EG3KN907434   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14186     2019   VOLVO   4V4W19EG5KN907435   VNR42T    NJ      Kearny
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14187     2019   VOLVO   4V4W19EG7KN907436   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14188     2019   VOLVO   4V4W19EG9KN907437   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14189     2019   VOLVO   4V4W19EG0KN907438   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14190     2019   VOLVO   4V4W19EG2KN907439   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14191     2019   VOLVO   4V4W19EG9KN907440   VNR42T    SD      Sioux Falls
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14192     2019   VOLVO   4V4W19EG0KN907441   VNR42T    TX      San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14193     2019   VOLVO   4V4W19EG2KN907442   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14194     2019   VOLVO   4V4W19EG4KN907443   VNR42T    WV      Beckley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14195     2019   VOLVO   4V4W19EG6KN907444   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14196     2019   VOLVO   4V4W19EG8KN907445   VNR42T    VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14197     2019   VOLVO   4V4W19EGXKN907446   VNR42T    VA      Manassas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14198     2019   VOLVO   4V4W19EG1KN907447   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14199     2019   VOLVO   4V4W19EG3KN907448   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14200     2019   VOLVO   4V4W19EG5KN907449   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14201     2019   VOLVO   4V4W19EG1KN907450   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14202     2019   VOLVO   4V4W19EG3KN907451   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14203     2019   VOLVO   4V4W19EG5KN907452   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14204     2019   VOLVO   4V4W19EG7KN907453   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14205     2019   VOLVO   4V4W19EG9KN907454   VNR42T    FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14206     2019   VOLVO   4V4W19EG0KN907455   VNR42T    OH      Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14207     2019   VOLVO   4V4W19EG2KN907456   VNR42T    GA      Thomasville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14208     2019   VOLVO   4V4W19EG4KN907457   VNR42T    OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14209     2019   VOLVO   4V4W19EG6KN907458   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14210     2019   VOLVO   4V4W19EG8KN907459   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14212     2019   VOLVO   4V4W19EG6KN907461   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14213     2019   VOLVO   4V4W19EG8KN907462   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14214     2019   VOLVO   4V4W19EGXKN907463   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14215     2019   VOLVO   4V4W19EG1KN907464   VNR42T    NH      Bedford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14216     2019   VOLVO   4V4W19EG3KN907465   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14217     2019   VOLVO   4V4W19EG5KN907466   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14218     2019   VOLVO   4V4W19EG7KN907467   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14219     2019   VOLVO   4V4W19EG9KN907468   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14220     2019   VOLVO   4V4W19EG0KN907469   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14221     2019   VOLVO   4V4W19EG7KN907470   VNR42T    WV      Bridgeport
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14222     2019   VOLVO   4V4W19EG9KN907471   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14223     2019   VOLVO   4V4W19EG0KN907472   VNR42T    OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14224     2019   VOLVO   4V4W19EG2KN907473   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14225     2019   VOLVO   4V4W19EG4KN907474   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14226     2019   VOLVO   4V4W19EG6KN907475   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14227     2019   VOLVO   4V4W19EG8KN907476   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14228     2019   VOLVO   4V4W19EGXKN907477   VNR42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14229     2019   VOLVO   4V4W19EG1KN907478   VNR42T    NY      Elmira
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14230     2019   VOLVO   4V4W19EG3KN907479   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14232     2019   VOLVO   4V4W19EG1KN907481   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14233     2019   VOLVO   4V4W19EG3KN907482   VNR42T    OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14234     2019   VOLVO   4V4W19EG5KN907483   VNR42T    TX      Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14235     2019   VOLVO   4V4W19EG7KN907484   VNR42T    NJ      Hamilton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14236     2019   VOLVO   4V4W19EG9KN907485   VNR42T    WV      Charleston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14237     2019   VOLVO   4V4W19EG0KN907486   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14238     2019   VOLVO   4V4W19EG2KN907487   VNR42T    MI      Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14239     2019   VOLVO   4V4W19EG4KN907488   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14240     2019   VOLVO   4V4W19EG6KN907489   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14241     2019   VOLVO   4V4W19EG2KN907490   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14242     2019   VOLVO   4V4W19EG4KN907491   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14243     2019   VOLVO   4V4W19EG6KN907492   VNR42T    NY      Brooklyn
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14244     2019   VOLVO   4V4W19EG8KN907493   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14245     2019   VOLVO   4V4W19EGXKN907494   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14246     2019   VOLVO   4V4W19EG1KN907495   VNR42T    TX      Dallas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14247     2019   VOLVO   4V4W19EG3KN907496   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14248     2019   VOLVO   4V4W19EG5KN907497   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14249     2019   VOLVO   4V4W19EG7KN907498   VNR42T    TX      Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14250     2019   VOLVO   4V4W19EG9KN907499   VNR42T    NC      Charlotte
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 876 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14251     2019   VOLVO   4V4W19EG1KN907500   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14252     2019   VOLVO   4V4W19EG3KN907501   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14253     2019   VOLVO   4V4W19EG5KN907502   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14254     2019   VOLVO   4V4W19EG7KN907503   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14255     2019   VOLVO   4V4W19EG9KN907504   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14256     2019   VOLVO   4V4W19EG0KN907505   VNR42T    NY      Plattsburgh
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14257     2019   VOLVO   4V4W19EG2KN907506   VNR42T    WV      Bridgeport
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14258     2019   VOLVO   4V4W19EG4KN907507   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14259     2019   VOLVO   4V4W19EG6KN907508   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14260     2019   VOLVO   4V4W19EG8KN907509   VNR42T    NY      Buffalo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14261     2019   VOLVO   4V4W19EG4KN907510   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14262     2019   VOLVO   4V4W19EG6KN907511   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14263     2019   VOLVO   4V4W19EG8KN907512   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14264     2019   VOLVO   4V4W19EGXKN907513   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14265     2019   VOLVO   4V4W19EG1KN907514   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14266     2019   VOLVO   4V4W19EG3KN907515   VNR42T    CA      San Diego
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14267     2019   VOLVO   4V4W19EG5KN907516   VNR42T    FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14268     2019   VOLVO   4V4W19EG7KN907517   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14269     2019   VOLVO   4V4W19EG9KN907518   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14270     2019   VOLVO   4V4W19EG0KN907519   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14271     2019   VOLVO   4V4W19EG7KN907520   VNR42T    OK      Checotah
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14272     2019   VOLVO   4V4W19EG9KN907521   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14274     2019   VOLVO   4V4W19EG2KN907523   VNR42T    IL      Bolingbrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14275     2019   VOLVO   4V4W19EG4KN907524   VNR42T    WA      Union Gap
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14276     2019   VOLVO   4V4W19EG6KN907525   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14277     2019   VOLVO   4V4W19EG8KN907526   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14278     2019   VOLVO   4V4W19EGXKN907527   VNR42T    OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14279     2019   VOLVO   4V4W19EG1KN907528   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14280     2019   VOLVO   4V4W19EG3KN907529   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14281     2019   VOLVO   4V4W19EGXKN907530   VNR42T    WI      Oak Creek
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14282     2019   VOLVO   4V4W19EG1KN907531   VNR42T    TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14283     2019   VOLVO   4V4W19EG3KN907532   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14284     2019   VOLVO   4V4W19EG5KN907533   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14285     2019   VOLVO   4V4W19EG7KN907534   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14286     2019   VOLVO   4V4W19EG9KN907535   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14287     2019   VOLVO   4V4W19EG0KN907536   VNR42T    OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14288     2019   VOLVO   4V4W19EG2KN907537   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14289     2019   VOLVO   4V4W19EG4KN907538   VNR42T    OH      Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14290     2019   VOLVO   4V4W19EG6KN907539   VNR42T    KY      Waddy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14291     2019   VOLVO   4V4W19EG2KN907540   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14292     2019   VOLVO   4V4W19EG4KN907541   VNR42T    SD      Sioux Falls
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14293     2019   VOLVO   4V4W19EG6KN907542   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14294     2019   VOLVO   4V4W19EG8KN907543   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14295     2019   VOLVO   4V4W19EGXKN907544   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14296     2019   VOLVO   4V4W19EG1KN907545   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14297     2019   VOLVO   4V4W19EG3KN907546   VNR42T    NY      Brooklyn
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14298     2019   VOLVO   4V4W19EG5KN907547   VNR42T    TX      Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14299     2019   VOLVO   4V4W19EG7KN907548   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14300     2019   VOLVO   4V4W19EG9KN907549   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14301     2019   VOLVO   4V4W19EG5KN907550   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14302     2019   VOLVO   4V4W19EG7KN907551   VNR42T    NJ      South Plainfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14303     2019   VOLVO   4V4W19EG9KN907552   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14304     2019   VOLVO   4V4W19EG0KN907553   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14305     2019   VOLVO   4V4W19EG2KN907554   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14306     2019   VOLVO   4V4W19EG4KN907555   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14307     2019   VOLVO   4V4W19EG6KN907556   VNR42T    KY      Corbin
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14308     2019   VOLVO   4V4W19EG8KN907557   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14309     2019   VOLVO   4V4W19EGXKN907558   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14310     2019   VOLVO   4V4W19EG1KN907559   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14311     2019   VOLVO   4V4W19EG8KN907560   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14312     2019   VOLVO   4V4W19EGXKN907561   VNR42T    NJ      Hamilton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14313     2019   VOLVO   4V4W19EG1KN907562   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14315     2019   VOLVO   4V4W19EG5KN907564   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14316     2019   VOLVO   4V4W19EG7KN907565   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14317     2019   VOLVO   4V4W19EG9KN907566   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14318     2019   VOLVO   4V4W19EG0KN907567   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14319     2019   VOLVO   4V4W19EG2KN907568   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14320     2019   VOLVO   4V4W19EG4KN907569   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14321     2019   VOLVO   4V4W19EG0KN907570   VNR42T    NY      Tonawanda
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 877 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14324     2019   VOLVO   4V4W19EG6KN907573   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14325     2019   VOLVO   4V4W19EG8KN907574   VNR42T    TX      Fort Worth
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14326     2019   VOLVO   4V4W19EGXKN907575   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14327     2019   VOLVO   4V4W19EG1KN907576   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14328     2019   VOLVO   4V4W19EG3KN907577   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14329     2019   VOLVO   4V4W19EG5KN907578   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14330     2019   VOLVO   4V4W19EG7KN907579   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14331     2019   VOLVO   4V4W19EG3KN907580   VNR42T    TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14332     2019   VOLVO   4V4W19EG5KN907581   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14333     2019   VOLVO   4V4W19EG7KN907582   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14334     2019   VOLVO   4V4W19EG9KN907583   VNR42T    IA      Sioux City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14335     2019   VOLVO   4V4W19EG0KN907584   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14336     2019   VOLVO   4V4W19EG2KN907585   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14337     2019   VOLVO   4V4W19EG4KN907586   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14338     2019   VOLVO   4V4W19EG6KN907587   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14339     2019   VOLVO   4V4W19EG8KN907588   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14340     2019   VOLVO   4V4W19EGXKN907589   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14341     2019   VOLVO   4V4W19EG6KN907590   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14342     2019   VOLVO   4V4W19EG8KN907591   VNR42T    MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14344     2019   VOLVO   4V4W19EG1KN907593   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14346     2019   VOLVO   4V4W19EG5KN907595   VNR42T    CT      Cheshire
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14347     2019   VOLVO   4V4W19EG7KN907596   VNR42T    FL      Tampa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14348     2019   VOLVO   4V4W19EG9KN907597   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14349     2019   VOLVO   4V4W19EG0KN907598   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14350     2019   VOLVO   4V4W19EG2KN907599   VNR42T    TX      Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14351     2019   VOLVO   4V4W19EG5KN907600   VNR42T    TX      McAllen
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14352     2019   VOLVO   4V4W19EG7KN907601   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14353     2019   VOLVO   4V4W19EG9KN907602   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14354     2019   VOLVO   4V4W19EG0KN907603   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14355     2019   VOLVO   4V4W19EG2KN907604   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14356     2019   VOLVO   4V4W19EG4KN907605   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14357     2019   VOLVO   4V4W19EG6KN907606   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14358     2019   VOLVO   4V4W19EG8KN907607   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14360     2019   VOLVO   4V4W19EG1KN907609   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14361     2019   VOLVO   4V4W19EG8KN907610   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14362     2019   VOLVO   4V4W19EGXKN907611   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14363     2019   VOLVO   4V4W19EG1KN907612   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14364     2019   VOLVO   4V4W19EG3KN907613   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14365     2019   VOLVO   4V4W19EG5KN907614   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14366     2019   VOLVO   4V4W19EG7KN907615   VNR42T    VA      Chesapeake
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14367     2019   VOLVO   4V4W19EG9KN907616   VNR42T    TX      McAllen
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14368     2019   VOLVO   4V4W19EG0KN907617   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14369     2019   VOLVO   4V4W19EG2KN907618   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14370     2019   VOLVO   4V4W19EG4KN907619   VNR42T    TX      Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14371     2019   VOLVO   4V4W19EG0KN907620   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14372     2019   VOLVO   4V4W19EG2KN907621   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14373     2019   VOLVO   4V4W19EG4KN907622   VNR42T    IL      Montgomery
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14374     2019   VOLVO   4V4W19EG6KN907623   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14375     2019   VOLVO   4V4W19EG8KN907624   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14376     2019   VOLVO   4V4W19EGXKN907625   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14377     2019   VOLVO   4V4W19EG1KN907626   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14378     2019   VOLVO   4V4W19EG3KN907627   VNR42T    NC      Durham
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14379     2019   VOLVO   4V4W19EG5KN907628   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14380     2019   VOLVO   4V4W19EG7KN907629   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14381     2019   VOLVO   4V4W19EG3KN907630   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14382     2019   VOLVO   4V4W19EG5KN907631   VNR42T    IL      Hodgkins
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14383     2019   VOLVO   4V4W19EG7KN907632   VNR42T    IL      Hodgkins
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14384     2019   VOLVO   4V4W19EG9KN907633   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14385     2019   VOLVO   4V4W19EG0KN907634   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14386     2019   VOLVO   4V4W19EG2KN907635   VNR42T    FL      Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14387     2019   VOLVO   4V4W19EG4KN907636   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14388     2019   VOLVO   4V4W19EG6KN907637   VNR42T    FL      Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14389     2019   VOLVO   4V4W19EG8KN907638   VNR42T    TN      Knoxville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14390     2019   VOLVO   4V4W19EGXKN907639   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14391     2019   VOLVO   4V4W19EG6KN907640   VNR42T    TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14392     2019   VOLVO   4V4W19EG8KN907641   VNR42T    VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14393     2019   VOLVO   4V4W19EGXKN907642   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14394     2019   VOLVO   4V4W19EG1KN907643   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14395     2019   VOLVO   4V4W19EG3KN907644   VNR42T    NC      Charlotte
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 878 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14396     2019   VOLVO   4V4W19EG5KN907645   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14397     2019   VOLVO   4V4W19EG7KN907646   VNR42T    MD      Baltimore
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14398     2019   VOLVO   4V4W19EG9KN907647   VNR42T    NY      Brooklyn
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14399     2019   VOLVO   4V4W19EG0KN907648   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14400     2019   VOLVO   4V4W19EG2KN907649   VNR42T    MI      Wyoming
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14401     2019   VOLVO   4V4W19EG9KN907650   VNR42T    PA      Bethlehem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14403     2019   VOLVO   4V4W19EG2KN907652   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14404     2019   VOLVO   4V4W19EG4KN907653   VNR42T    KS      Wichita
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14405     2019   VOLVO   4V4W19EG6KN907654   VNR42T    MO      Strafford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14406     2019   VOLVO   4V4W19EG8KN907655   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14407     2019   VOLVO   4V4W19EGXKN907656   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14408     2019   VOLVO   4V4W19EG1KN907657   VNR42T    FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14409     2019   VOLVO   4V4W19EG3KN907658   VNR42T    TN      Knoxville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14410     2019   VOLVO   4V4W19EG5KN907659   VNR42T    RI      Cumberland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14411     2019   VOLVO   4V4W19EG1KN907660   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14413     2019   VOLVO   4V4W19EG5KN907662   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14414     2019   VOLVO   4V4W19EG7KN907663   VNR42T    MI      Wyoming
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14415     2019   VOLVO   4V4W19EG9KN907664   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14416     2019   VOLVO   4V4W19EG0KN907665   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14417     2019   VOLVO   4V4W19EG2KN907666   VNR42T    WI      Madison
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14418     2019   VOLVO   4V4W19EG4KN907667   VNR42T    RI      Cumberland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14419     2019   VOLVO   4V4W19EG6KN907668   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14420     2019   VOLVO   4V4W19EG8KN907669   VNR42T    AZ      Flagstaff
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14421     2019   VOLVO   4V4W19EG4KN907670   VNR42T    PA      Camp Hill
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14422     2019   VOLVO   4V4W19EG6KN907671   VNR42T    PA      Bethlehem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14423     2019   VOLVO   4V4W19EG8KN907672   VNR42T    PA      Bensalem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14424     2019   VOLVO   4V4W19EGXKN907673   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14425     2019   VOLVO   4V4W19EG1KN907674   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14426     2019   VOLVO   4V4W19EG3KN907675   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14427     2019   VOLVO   4V4W19EG5KN907676   VNR42T    VA      Richmond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14428     2019   VOLVO   4V4W19EG7KN907677   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14429     2019   VOLVO   4V4W19EG9KN907678   VNR42T    AZ      Flagstaff
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14430     2019   VOLVO   4V4W19EG0KN907679   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14431     2019   VOLVO   4V4W19EG7KN907680   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14432     2019   VOLVO   4V4W19EG9KN907681   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14433     2019   VOLVO   4V4W19EG0KN907682   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14434     2019   VOLVO   4V4W19EG2KN907683   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14435     2019   VOLVO   4V4W19EG4KN907684   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14436     2019   VOLVO   4V4W19EG6KN907685   VNR42T    AR      Springdale
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14437     2019   VOLVO   4V4W19EG8KN907686   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14438     2019   VOLVO   4V4W19EGXKN907687   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14439     2019   VOLVO   4V4W19EG1KN907688   VNR42T    NV      Las Vegas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14440     2019   VOLVO   4V4W19EG3KN907689   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14441     2019   VOLVO   4V4W19EGXKN907690   VNR42T    NJ      Kearny
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14443     2019   VOLVO   4V4W19EG3KN907692   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14444     2019   VOLVO   4V4W19EG5KN907693   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14445     2019   VOLVO   4V4W19EG7KN907694   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14446     2019   VOLVO   4V4W19EG9KN907695   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14447     2019   VOLVO   4V4W19EG0KN907696   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14448     2019   VOLVO   4V4W19EG2KN907697   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14449     2019   VOLVO   4V4W19EG4KN907698   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14450     2019   VOLVO   4V4W19EG6KN907699   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14451     2019   VOLVO   4V4W19EG9KN907700   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14452     2019   VOLVO   4V4W19EG0KN907701   VNR42T    OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14453     2019   VOLVO   4V4W19EG2KN907702   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14454     2019   VOLVO   4V4W19EG4KN907703   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14455     2019   VOLVO   4V4W19EG6KN907704   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14456     2019   VOLVO   4V4W19EG8KN907705   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14457     2019   VOLVO   4V4W19EGXKN907706   VNR42T    WA      Tacoma
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14458     2019   VOLVO   4V4W19EG1KN907707   VNR42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14459     2019   VOLVO   4V4W19EG3KN907708   VNR42T    CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14460     2019   VOLVO   4V4W19EG5KN907709   VNR42T    WA      East Wenatchee
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14461     2019   VOLVO   4V4W19EG1KN907710   VNR42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14462     2019   VOLVO   4V4W19EG3KN907711   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14463     2019   VOLVO   4V4W19EG5KN907712   VNR42T    KS      Garden City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14464     2019   VOLVO   4V4W19EG7KN907713   VNR42T    CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14465     2019   VOLVO   4V4W19EG9KN907714   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14466     2019   VOLVO   4V4W19EG0KN907715   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14467     2019   VOLVO   4V4W19EG2KN907716   VNR42T    PA      Carlisle
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 879 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14468     2019   VOLVO   4V4W19EG4KN907717   VNR42T    RI        Cumberland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14469     2019   VOLVO   4V4W19EG6KN907718   VNR42T    Ontario   Mississauga
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14470     2019   VOLVO   4V4W19EG8KN907719   VNR42T    TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14471     2019   VOLVO   4V4W19EG4KN907720   VNR42T    WI        Portage
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14472     2019   VOLVO   4V4W19EG6KN907721   VNR42T    NV        Sparks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14474     2019   VOLVO   4V4W19EGXKN907723   VNR42T    WV        Charleston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14475     2019   VOLVO   4V4W19EG1KN907724   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14476     2019   VOLVO   4V4W19EG3KN907725   VNR42T    MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14477     2019   VOLVO   4V4W19EG5KN907726   VNR42T    NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14478     2019   VOLVO   4V4W19EG7KN907727   VNR42T    TX        Laredo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14479     2019   VOLVO   4V4W19EG9KN907728   VNR42T    IL        Montgomery
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14480     2019   VOLVO   4V4W19EG0KN907729   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14481     2019   VOLVO   4V4W19EG7KN907730   VNR42T    MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14482     2019   VOLVO   4V4W19EG9KN907731   VNR42T    UT        Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14483     2019   VOLVO   4V4W19EG0KN907732   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14484     2019   VOLVO   4V4W19EG2KN907733   VNR42T    TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14485     2019   VOLVO   4V4W19EG4KN907734   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14486     2019   VOLVO   4V4W19EG6KN907735   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14487     2019   VOLVO   4V4W19EG8KN907736   VNR42T    MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14488     2019   VOLVO   4V4W19EGXKN907737   VNR42T    NJ        South Plainfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14489     2019   VOLVO   4V4W19EG1KN907738   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14490     2019   VOLVO   4V4W19EG3KN907739   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14491     2019   VOLVO   4V4W19EGXKN907740   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14492     2019   VOLVO   4V4W19EG1KN907741   VNR42T    CO        Colorado Springs
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14493     2019   VOLVO   4V4W19EG3KN907742   VNR42T    MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14494     2019   VOLVO   4V4W19EG5KN907743   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14495     2019   VOLVO   4V4W19EG7KN907744   VNR42T    NE        Omaha
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14496     2019   VOLVO   4V4W19EG9KN907745   VNR42T    CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14497     2019   VOLVO   4V4W19EG0KN907746   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14498     2019   VOLVO   4V4W19EG2KN907747   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14499     2019   VOLVO   4V4W19EG4KN907748   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14500     2019   VOLVO   4V4W19EG6KN907749   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14501     2019   VOLVO   4V4W19EG2KN907750   VNR42T    MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14502     2019   VOLVO   4V4W19EG4KN907751   VNR42T    MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14503     2019   VOLVO   4V4W19EG6KN907752   VNR42T    MI        Pontiac
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14504     2019   VOLVO   4V4W19EG8KN907753   VNR42T    NY        Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14506     2019   VOLVO   4V4W19EG1KN907755   VNR42T    OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14507     2019   VOLVO   4V4W19EG3KN907756   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14508     2019   VOLVO   4V4W19EG5KN907757   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14509     2019   VOLVO   4V4W19EG7KN907758   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14510     2019   VOLVO   4V4W19EG9KN907759   VNR42T    OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14511     2019   VOLVO   4V4W19EG5KN907760   VNR42T    OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14512     2019   VOLVO   4V4W19EG7KN907761   VNR42T    VA        Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14513     2019   VOLVO   4V4W19EG9KN907762   VNR42T    NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14514     2019   VOLVO   4V4W19EG0KN907763   VNR42T    TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14515     2019   VOLVO   4V4W19EG2KN907764   VNR42T    TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14516     2019   VOLVO   4V4W19EG4KN907765   VNR42T    MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14517     2019   VOLVO   4V4W19EG6KN907766   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14518     2019   VOLVO   4V4W19EG8KN907767   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14519     2019   VOLVO   4V4W19EGXKN907768   VNR42T    DE        New Castle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14520     2019   VOLVO   4V4W19EG1KN907769   VNR42T    IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14521     2019   VOLVO   4V4W19EG8KN907770   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14522     2019   VOLVO   4V4W19EGXKN907771   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14523     2019   VOLVO   4V4W19EG1KN907772   VNR42T    GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14524     2019   VOLVO   4V4W19EG3KN907773   VNR42T    IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14525     2019   VOLVO   4V4W19EG5KN907774   VNR42T    TX        Laredo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14526     2019   VOLVO   4V4W19EG7KN907775   VNR42T    MA        Shrewsbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14527     2019   VOLVO   4V4W19EG9KN907776   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14528     2019   VOLVO   4V4W19EG0KN907777   VNR42T    OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14529     2019   VOLVO   4V4W19EG2KN907778   VNR42T    PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14530     2019   VOLVO   4V4W19EG4KN907779   VNR42T    NM        Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14531     2019   VOLVO   4V4W19EG0KN907780   VNR42T    MA        Shrewsbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14532     2019   VOLVO   4V4W19EG2KN907781   VNR42T    NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14533     2019   VOLVO   4V4W19EG4KN907782   VNR42T    TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14534     2019   VOLVO   4V4W19EG6KN907783   VNR42T    CA        Orange
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14536     2019   VOLVO   4V4W19EGXKN907785   VNR42T    RI        Cumberland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14537     2019   VOLVO   4V4W19EG1KN907786   VNR42T    TX        Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14538     2019   VOLVO   4V4W19EG3KN907787   VNR42T    OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14539     2019   VOLVO   4V4W19EG5KN907788   VNR42T    TN        Nashville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 880 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14540     2019   VOLVO   4V4W19EG7KN907789   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14541     2019   VOLVO   4V4W19EG3KN907790   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14542     2019   VOLVO   4V4W19EG5KN907791   VNR42T    TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14543     2019   VOLVO   4V4W19EG7KN907792   VNR42T    PA      McKees Rocks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14544     2019   VOLVO   4V4W19EG9KN907793   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14545     2019   VOLVO   4V4W19EG0KN907794   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14546     2019   VOLVO   4V4W19EG2KN907795   VNR42T    MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14547     2019   VOLVO   4V4W19EG4KN907796   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14548     2019   VOLVO   4V4W19EG6KN907797   VNR42T    CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14549     2019   VOLVO   4V4W19EG8KN907798   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14550     2019   VOLVO   4V4W19EGXKN907799   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14551     2019   VOLVO   4V4W19EG2KN907800   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14552     2019   VOLVO   4V4W19EG4KN907801   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14553     2019   VOLVO   4V4W19EG6KN907802   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14554     2019   VOLVO   4V4W19EG8KN907803   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14555     2019   VOLVO   4V4W19EGXKN907804   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14732     2020   VOLVO   4V4W19EG8LN245464   VNR42T    IL      Wheeling
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14809     2021   PTRBL   1XPBAP8X8MD758973   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14810     2021   PTRBL   1XPBAP8XXMD758974   579       CA      San Diego
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14811     2021   PTRBL   1XPBAP8X1MD758975   579       CA      Fresno
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14812     2021   PTRBL   1XPBAP8X3MD758976   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14813     2021   PTRBL   1XPBAP8X5MD758977   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14814     2021   PTRBL   1XPBAP8X7MD758978   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14815     2021   PTRBL   1XPBAP8X9MD758979   579       MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14816     2021   PTRBL   1XPBAP8X5MD758980   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14817     2021   PTRBL   1XPBAP8X7MD758981   579       CA      Lost Hills
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14818     2021   PTRBL   1XPBAP8X9MD758982   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14819     2021   PTRBL   1XPBAP8X0MD758983   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14820     2021   PTRBL   1XPBAP8X2MD758984   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14821     2021   PTRBL   1XPBAP8X4MD758985   579       AZ      Lake Havasu City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14822     2021   PTRBL   1XPBAP8X6MD758986   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14823     2021   PTRBL   1XPBAP8X8MD758987   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14824     2021   PTRBL   1XPBAP8XXMD758988   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14825     2021   PTRBL   1XPBAP8X1MD758989   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14826     2021   PTRBL   1XPBAP8X8MD758990   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14827     2021   PTRBL   1XPBAP8XXMD758991   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14828     2021   PTRBL   1XPBAP8X1MD758992   579       NJ      Kearny
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14829     2021   PTRBL   1XPBAP8X3MD758993   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14830     2021   PTRBL   1XPBAP8X5MD758994   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14831     2021   PTRBL   1XPBAP8X7MD758995   579       FL      Tampa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14832     2021   PTRBL   1XPBAP8X9MD758996   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14833     2021   PTRBL   1XPBAP8X0MD758997   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14834     2021   PTRBL   1XPBAP8X2MD758998   579       MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14835     2021   PTRBL   1XPBAP8X4MD758999   579       OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14836     2021   PTRBL   1XPBAP8X5MD759000   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14837     2021   PTRBL   1XPBAP8X7MD759001   579       CA      Downey
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14838     2021   PTRBL   1XPBAP8X9MD759002   579       MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14839     2021   PTRBL   1XPBAP8X0MD759003   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14840     2021   PTRBL   1XPBAP8X2MD759004   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14841     2021   PTRBL   1XPBAP8X4MD759005   579       CA      Adelanto
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14842     2021   PTRBL   1XPBAP8X6MD759006   579       CA      Pico Rivera
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14843     2021   PTRBL   1XPBAP8X8MD759007   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14844     2021   PTRBL   1XPBAP8XXMD759008   579       NJ      Kearny
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14845     2021   PTRBL   1XPBAP8X1MD759009   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14846     2021   PTRBL   1XPBAP8X8MD759010   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14847     2021   PTRBL   1XPBAP8XXMD759011   579       CA      Pico Rivera
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14848     2021   PTRBL   1XPBAP8X1MD759012   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14849     2021   PTRBL   1XPBAP8X3MD759013   579       CA      Orange
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14850     2021   PTRBL   1XPBAP8X5MD759014   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14851     2021   PTRBL   1XPBAP8X7MD759015   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14852     2021   PTRBL   1XPBAP8X9MD759016   579       VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14853     2021   PTRBL   1XPBAP8X0MD759017   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14854     2021   PTRBL   1XPBAP8X2MD759018   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14855     2021   PTRBL   1XPBAP8X4MD759019   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14856     2021   PTRBL   1XPBAP8X0MD759020   579       FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14857     2021   PTRBL   1XPBAP8X2MD759021   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14858     2021   PTRBL   1XPBAP8X4MD759022   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14859     2021   PTRBL   1XPBAP8X6MD759023   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14860     2021   PTRBL   1XPBAP8X8MD759024   579       PA      Carlisle
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 881 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14861     2021   PTRBL   1XPBAP8XXMD759025   579       CA      Hayward
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14862     2021   PTRBL   1XPBAP8X1MD759026   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14863     2021   PTRBL   1XPBAP8X3MD759027   579       CA      Pico Rivera
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14864     2021   PTRBL   1XPBAP8X5MD759028   579       CA      Orange
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14865     2021   PTRBL   1XPBAP8X7MD759029   579       CA      San Bernardino
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14866     2021   PTRBL   1XPBAP8X3MD759030   579       CA      San Diego
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14867     2021   PTRBL   1XPBAP8X5MD759031   579       CA      Visalia
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14868     2021   PTRBL   1XPBAP8X7MD759032   579       CA      Los Angeles
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14869     2021   PTRBL   1XPBAP8X9MD759033   579       VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14870     2021   PTRBL   1XPBAP8X0MD759034   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14871     2021   PTRBL   1XPBAP8X2MD759035   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14872     2021   PTRBL   1XPBAP8X4MD759036   579       VA      Richmond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14873     2021   PTRBL   1XPBAP8X6MD759037   579       CA      Sacramento
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14874     2021   PTRBL   1XPBAP8X8MD759038   579       CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14875     2021   PTRBL   1XPBAP8XXMD759039   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14876     2021   PTRBL   1XPBAP8X6MD759040   579       WA      Union Gap
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14877     2021   PTRBL   1XPBAP8X8MD759041   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14878     2021   PTRBL   1XPBAP8XXMD759042   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14879     2021   PTRBL   1XPBAP8X1MD759043   579       CA      Adelanto
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14880     2021   PTRBL   1XPBAP8X3MD759044   579       DE      New Castle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14881     2021   PTRBL   1XPBAP8X5MD759045   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14882     2021   PTRBL   1XPBAP8X7MD759046   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14883     2021   PTRBL   1XPBAP8X9MD759047   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14884     2021   PTRBL   1XPBAP8X0MD759048   579       FL      Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14885     2021   PTRBL   1XPBAP8X2MD759049   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14886     2021   PTRBL   1XPBAP8X9MD759050   579       CA      San Diego
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14887     2021   PTRBL   1XPBAP8X0MD759051   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14888     2021   PTRBL   1XPBAP8X2MD759052   579       CA      Hayward
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14889     2021   PTRBL   1XPBAP8X4MD759053   579       CA      Los Angeles
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14890     2021   PTRBL   1XPBAP8X6MD759054   579       MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14891     2021   PTRBL   1XPBAP8X8MD759055   579       AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14892     2021   PTRBL   1XPBAP8XXMD759056   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14893     2021   PTRBL   1XPBAP8X1MD759057   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14894     2021   PTRBL   1XPBAP8X3MD759058   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14895     2021   PTRBL   1XPBAP8X5MD759059   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14896     2021   PTRBL   1XPBAP8X1MD759060   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14897     2021   PTRBL   1XPBAP8X3MD759061   579       CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14898     2021   PTRBL   1XPBAP8X5MD759062   579       CA      San Bernardino
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14899     2021   PTRBL   1XPBAP8X7MD759063   579       NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14900     2021   PTRBL   1XPBAP8X9MD759064   579       NV      Sparks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14901     2021   PTRBL   1XPBAP8X0MD759065   579       CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14902     2021   PTRBL   1XPBAP8X2MD759066   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14903     2021   PTRBL   1XPBAP8X4MD759067   579       NC      Durham
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14904     2021   PTRBL   1XPBAP8X6MD759068   579       OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14905     2021   PTRBL   1XPBAP8X8MD759069   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14906     2021   PTRBL   1XPBAP8X4MD759070   579       NV      Sparks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14907     2021   PTRBL   1XPBAP8X6MD759071   579       MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14908     2021   PTRBL   1XPBAP8X8MD759072   579       CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14909     2021   PTRBL   1XPBAP8XXMD759073   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14910     2021   PTRBL   1XPBAP8X1MD759074   579       OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14911     2021   PTRBL   1XPBAP8X3MD759075   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14912     2021   PTRBL   1XPBAP8X5MD759076   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14913     2021   PTRBL   1XPBAP8X7MD759077   579       IL      Bolingbrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14914     2021   PTRBL   1XPBAP8X9MD759078   579       TX      McAllen
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14915     2021   PTRBL   1XPBAP8X0MD759079   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14916     2021   PTRBL   1XPBAP8X7MD759080   579       IL      Wheeling
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14917     2021   PTRBL   1XPBAP8X9MD759081   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14918     2021   PTRBL   1XPBAP8X0MD759082   579       MA      Shrewsbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14919     2021   PTRBL   1XPBAP8X2MD759083   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14920     2021   PTRBL   1XPBAP8X4MD759084   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14921     2021   PTRBL   1XPBAP8X6MD759085   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14922     2021   PTRBL   1XPBAP8X8MD759086   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14923     2021   PTRBL   1XPBAP8XXMD759087   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14924     2021   PTRBL   1XPBAP8X1MD759088   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14925     2021   PTRBL   1XPBAP8X3MD759089   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14926     2021   PTRBL   1XPBAP8XXMD759090   579       MI      Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14927     2021   PTRBL   1XPBAP8X1MD759091   579       TN      Knoxville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14928     2021   PTRBL   1XPBAP8X3MD759092   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14929     2021   VOLVO   4V4W19EG0MN285264   VNR42T    CA      Pico Rivera
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 882 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14930     2021   VOLVO   4V4W19EG2MN285265   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14932     2021   VOLVO   4V4W19EG6MN285267   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14933     2021   VOLVO   4V4W19EG8MN285268   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14934     2021   VOLVO   4V4W19EGXMN285269   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14935     2021   VOLVO   4V4W19EG6MN285270   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14936     2021   VOLVO   4V4W19EG8MN285271   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14937     2021   VOLVO   4V4W19EGXMN285272   VNR42T    CA      Fontana
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14938     2021   VOLVO   4V4W19EG1MN285273   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14939     2021   VOLVO   4V4W19EG3MN285274   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14940     2021   VOLVO   4V4W19EG5MN285275   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14941     2021   VOLVO   4V4W19EG7MN285276   VNR42T    CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14942     2021   VOLVO   4V4W19EG9MN285277   VNR42T    CA      Sun Valley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14943     2021   VOLVO   4V4W19EG0MN285278   VNR42T    CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14944     2021   VOLVO   4V4W19EG2MN285279   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14945     2021   VOLVO   4V4W19EG9MN285280   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14946     2021   VOLVO   4V4W19EG0MN285281   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14947     2021   VOLVO   4V4W19EG2MN285282   VNR42T    NV      Las Vegas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14948     2021   VOLVO   4V4W19EG4MN285283   VNR42T    CA      Fontana
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14949     2021   VOLVO   4V4W19EG6MN285284   VNR42T    CA      Fontana
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14950     2021   VOLVO   4V4W19EG8MN285285   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14951     2021   VOLVO   4V4W19EGXMN285286   VNR42T    CA      Avenal
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14952     2021   VOLVO   4V4W19EG1MN285287   VNR42T    RI      Cumberland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14953     2021   VOLVO   4V4W19EG3MN285288   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14954     2021   VOLVO   4V4W19EG5MN285289   VNR42T    CA      Visalia
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14955     2021   VOLVO   4V4W19EG1MN285290   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14956     2021   VOLVO   4V4W19EG3MN285291   VNR42T    CA      Orange
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14957     2021   VOLVO   4V4W19EG5MN285292   VNR42T    CA      Fontana
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14958     2021   VOLVO   4V4W19EG7MN285293   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14959     2021   VOLVO   4V4W19EG9MN285294   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14960     2021   VOLVO   4V4W19EG0MN285295   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14961     2021   VOLVO   4V4W19EG2MN285296   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14962     2021   VOLVO   4V4W19EG4MN285297   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14963     2021   VOLVO   4V4W19EG6MN285298   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14964     2021   VOLVO   4V4W19EG8MN285299   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14965     2021   VOLVO   4V4W19EG0MN285300   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14966     2021   VOLVO   4V4W19EG2MN285301   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14967     2021   VOLVO   4V4W19EG4MN285302   VNR42T    CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14968     2021   VOLVO   4V4W19EG6MN285303   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14969     2021   VOLVO   4V4W19EG8MN285304   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14970     2021   VOLVO   4V4W19EGXMN285305   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14971     2021   VOLVO   4V4W19EG1MN285306   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14972     2021   VOLVO   4V4W19EG3MN285307   VNR42T    CA      Fontana
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14973     2021   VOLVO   4V4W19EG5MN285308   VNR42T    CA      Pico Rivera
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14974     2021   VOLVO   4V4W19EG7MN285309   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14975     2021   VOLVO   4V4W19EG3MN285310   VNR42T    MI      Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14976     2021   VOLVO   4V4W19EG5MN285311   VNR42T    CA      Hayward
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14977     2021   VOLVO   4V4W19EG7MN285312   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14978     2021   VOLVO   4V4W19EG9MN285313   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14979     2021   VOLVO   4V4W19EG0MN285314   VNR42T    CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14980     2021   VOLVO   4V4W19EG2MN285315   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14981     2021   VOLVO   4V4W19EG4MN285316   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14982     2021   VOLVO   4V4W19EG6MN285317   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14983     2021   VOLVO   4V4W19EG8MN285318   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14984     2021   VOLVO   4V4W19EGXMN285319   VNR42T    CA      Pico Rivera
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14985     2021   VOLVO   4V4W19EG6MN285320   VNR42T    CA      Los Angeles
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14986     2021   VOLVO   4V4W19EG8MN285321   VNR42T    CA      Sun Valley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14987     2021   VOLVO   4V4W19EGXMN285322   VNR42T    PA      Bensalem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14988     2021   VOLVO   4V4W19EG1MN285323   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14989     2021   VOLVO   4V4W19EG3MN285324   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14990     2021   VOLVO   4V4W19EG5MN285325   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14991     2021   VOLVO   4V4W19EG7MN285326   VNR42T    TX      McAllen
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14992     2021   VOLVO   4V4W19EG9MN285327   VNR42T    IN      South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14993     2021   VOLVO   4V4W19EG0MN285328   VNR42T    WV      Beckley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14994     2021   VOLVO   4V4W19EG2MN285329   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14996     2021   VOLVO   4V4W19EG0MN285331   VNR42T    IL      Hodgkins
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14997     2021   VOLVO   4V4W19EG2MN285332   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14998     2021   VOLVO   4V4W19EG4MN285333   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY14999     2021   VOLVO   4V4W19EG6MN285334   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15460     2022   VOLVO   4V4W19EG5NN285391   VNR42T    RI      Cumberland
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 883 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15461     2022   VOLVO   4V4W19EG7NN285392   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15462     2022   VOLVO   4V4W19EG9NN285393   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15463     2022   VOLVO   4V4W19EG0NN285394   VNR42T    GA      Thomasville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15464     2022   VOLVO   4V4W19EG2NN285395   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15465     2022   VOLVO   4V4W19EG4NN285396   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15466     2022   VOLVO   4V4W19EG6NN285397   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15467     2022   VOLVO   4V4W19EG8NN285398   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15468     2022   VOLVO   4V4W19EGXNN285399   VNR42T    MI      Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15469     2022   VOLVO   4V4W19EG2NN285400   VNR42T    TX      Fort Worth
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15470     2022   VOLVO   4V4W19EG4NN285401   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15471     2022   VOLVO   4V4W19EG6NN285402   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15472     2022   VOLVO   4V4W19EG8NN285403   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15473     2022   VOLVO   4V4W19EGXNN285404   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15474     2022   VOLVO   4V4W19EG1NN285405   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15475     2022   VOLVO   4V4W19EG3NN285406   VNR42T    WI      Portage
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15476     2022   VOLVO   4V4W19EG5NN285407   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15477     2022   VOLVO   4V4W19EG7NN285408   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15478     2022   VOLVO   4V4W19EG9NN285409   VNR42T    IL      Wheeling
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15479     2022   VOLVO   4V4W19EG5NN285410   VNR42T    NE      Omaha
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15480     2022   VOLVO   4V4W19EG7NN285411   VNR42T    TN      Knoxville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15481     2022   VOLVO   4V4W19EG9NN285412   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15482     2022   VOLVO   4V4W19EG0NN285413   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15483     2022   VOLVO   4V4W19EG2NN285414   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15484     2022   VOLVO   4V4W19EG4NN285415   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15485     2022   VOLVO   4V4W19EG6NN285416   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15486     2022   VOLVO   4V4W19EG8NN285417   VNR42T    NY      Mount Vernon
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15487     2022   VOLVO   4V4W19EGXNN285418   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15488     2022   VOLVO   4V4W19EG1NN285419   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15489     2022   VOLVO   4V4W19EG8NN285420   VNR42T    FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15490     2022   VOLVO   4V4W19EGXNN285421   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15491     2022   VOLVO   4V4W19EG1NN285422   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15492     2022   VOLVO   4V4W19EG3NN285423   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15493     2022   VOLVO   4V4W19EG5NN285424   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15494     2022   VOLVO   4V4W19EG7NN285425   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15495     2022   VOLVO   4V4W19EG9NN285426   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15496     2022   VOLVO   4V4W19EG0NN285427   VNR42T    OH      Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15497     2022   VOLVO   4V4W19EG2NN285428   VNR42T    OH      Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15498     2022   VOLVO   4V4W19EG4NN285429   VNR42T    AR      Little Rock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15499     2022   VOLVO   4V4W19EG0NN285430   VNR42T    MA      North Reading
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15500     2022   VOLVO   4V4W19EG2NN285431   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15501     2022   VOLVO   4V4W19EG4NN285432   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15502     2022   VOLVO   4V4W19EG6NN285433   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15503     2022   VOLVO   4V4W19EG8NN285434   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15504     2022   VOLVO   4V4W19EGXNN285435   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15505     2022   VOLVO   4V4W19EG1NN285436   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15506     2022   VOLVO   4V4W19EG3NN285437   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15507     2022   VOLVO   4V4W19EG5NN285438   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15508     2022   VOLVO   4V4W19EG7NN285439   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15509     2022   VOLVO   4V4W19EG3NN285440   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15510     2022   VOLVO   4V4W19EG5NN285441   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15511     2022   VOLVO   4V4W19EG7NN285442   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15512     2022   VOLVO   4V4W19EG9NN285443   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15513     2022   VOLVO   4V4W19EG0NN285444   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15514     2022   VOLVO   4V4W19EG2NN285445   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15515     2022   VOLVO   4V4W19EG4NN285446   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15516     2022   VOLVO   4V4W19EG6NN285447   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15517     2022   VOLVO   4V4W19EG8NN285448   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15518     2022   VOLVO   4V4W19EGXNN285449   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15519     2022   VOLVO   4V4W19EG6NN285450   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15520     2022   VOLVO   4V4W19EG8NN285451   VNR42T    MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15521     2022   VOLVO   4V4W19EGXNN285452   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15522     2022   VOLVO   4V4W19EG1NN285453   VNR42T    OH      Toledo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15523     2022   VOLVO   4V4W19EG3NN285454   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15524     2022   VOLVO   4V4W19EG5NN285455   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15525     2022   VOLVO   4V4W19EG7NN285456   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15526     2022   VOLVO   4V4W19EG9NN285457   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15527     2022   VOLVO   4V4W19EG0NN285458   VNR42T    TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15528     2022   VOLVO   4V4W19EG2NN285459   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15529     2022   VOLVO   4V4W19EG9NN285460   VNR42T    OH      Gallipolis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 884 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15530     2022   VOLVO   4V4W19EG0NN285461   VNR42T    ME      Westbrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15531     2022   VOLVO   4V4W19EG2NN285462   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15532     2022   VOLVO   4V4W19EG4NN285463   VNR42T    GA      Savannah
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15533     2022   VOLVO   4V4W19EG6NN285464   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15534     2022   VOLVO   4V4W19EG8NN285465   VNR42T    VA      Elliston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15535     2022   VOLVO   4V4W19EGXNN285466   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15536     2022   VOLVO   4V4W19EG1NN285467   VNR42T    OH      Dayton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15537     2022   VOLVO   4V4W19EG3NN285468   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15538     2022   VOLVO   4V4W19EG5NN285469   VNR42T    OH      Toledo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15539     2022   VOLVO   4V4W19EG1NN285470   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15540     2022   VOLVO   4V4W19EG3NN285471   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15541     2022   VOLVO   4V4W19EG5NN285472   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15542     2022   VOLVO   4V4W19EG7NN285473   VNR42T    MT      Great Falls
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15543     2022   VOLVO   4V4W19EG9NN285474   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15544     2022   VOLVO   4V4W19EG0NN285475   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15545     2022   VOLVO   4V4W19EG2NN285476   VNR42T    CA      Orange
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15546     2022   VOLVO   4V4W19EG4NN285477   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15547     2022   VOLVO   4V4W19EG6NN285478   VNR42T    MO      Strafford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15548     2022   VOLVO   4V4W19EG2NN285509   VNR42T    WV      Asbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15549     2022   VOLVO   4V4W19EG9NN285510   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15550     2022   VOLVO   4V4W19EG0NN285511   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15551     2022   VOLVO   4V4W19EG2NN285512   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15552     2022   VOLVO   4V4W19EG4NN285513   VNR42T    NC      Fayetteville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15553     2022   VOLVO   4V4W19EG6NN285514   VNR42T    MA      Shrewsbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15554     2022   VOLVO   4V4W19EG8NN285515   VNR42T    MO      Strafford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15555     2022   VOLVO   4V4W19EGXNN285516   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15556     2022   VOLVO   4V4W19EG1NN285517   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15557     2022   VOLVO   4V4W19EG3NN285518   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15558     2022   VOLVO   4V4W19EG5NN285519   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15559     2022   VOLVO   4V4W19EG1NN285520   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15560     2022   VOLVO   4V4W19EG3NN285521   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15561     2022   VOLVO   4V4W19EG5NN285522   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15562     2022   VOLVO   4V4W19EG7NN285523   VNR42T    MI      Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15563     2022   VOLVO   4V4W19EG9NN285524   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15564     2022   VOLVO   4V4W19EG0NN285525   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15565     2022   VOLVO   4V4W19EG2NN285526   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15566     2022   VOLVO   4V4W19EG4NN285527   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15567     2022   VOLVO   4V4W19EG6NN285528   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15568     2022   VOLVO   4V4W19EG8NN285529   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15569     2022   VOLVO   4V4W19EG4NN285530   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15570     2022   VOLVO   4V4W19EG6NN285531   VNR42T    AR      Little Rock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15571     2022   VOLVO   4V4W19EG8NN285532   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15572     2022   VOLVO   4V4W19EGXNN285533   VNR42T    WA      Seattle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15573     2022   VOLVO   4V4W19EG1NN285534   VNR42T    MT      Missoula
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15574     2022   VOLVO   4V4W19EG3NN285535   VNR42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15575     2022   VOLVO   4V4W19EG5NN285536   VNR42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15576     2022   VOLVO   4V4W19EG7NN285537   VNR42T    MO      Strafford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15577     2022   VOLVO   4V4W19EG9NN285538   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15578     2022   VOLVO   4V4W19EG0NN285539   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15579     2022   VOLVO   4V4W19EG7NN285540   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15580     2022   VOLVO   4V4W19EG9NN285541   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15581     2022   VOLVO   4V4W19EG0NN285542   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15582     2022   VOLVO   4V4W19EG2NN285543   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15583     2022   VOLVO   4V4W19EG4NN285544   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15584     2022   VOLVO   4V4W19EG6NN285545   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15585     2022   VOLVO   4V4W19EG8NN285546   VNR42T    ID      Meridian
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15586     2022   VOLVO   4V4W19EGXNN285547   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15587     2022   VOLVO   4V4W19EG1NN285548   VNR42T    IN      Fort Wayne
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15588     2022   VOLVO   4V4W19EG3NN285549   VNR42T    IL      Montgomery
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15589     2022   VOLVO   4V4W19EGXNN285550   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15590     2022   VOLVO   4V4W19EG1NN285551   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15591     2022   VOLVO   4V4W19EG3NN285552   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15592     2022   VOLVO   4V4W19EG5NN285553   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15593     2022   VOLVO   4V4W19EG7NN285554   VNR42T    IL      Wheeling
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15594     2022   VOLVO   4V4W19EG9NN285555   VNR42T    IL      Montgomery
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15595     2022   VOLVO   4V4W19EG0NN285556   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15596     2022   VOLVO   4V4W19EG2NN285557   VNR42T    AZ      Tucson
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15597     2022   VOLVO   4V4W19EG4NN285558   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15598     2022   VOLVO   4V4W19EG6NN285559   VNR42T    TN      Memphis
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 885 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15599     2022   VOLVO   4V4W19EG2NN285560   VNR42T    VT      Bellows Falls
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15600     2022   VOLVO   4V4W19EG4NN285561   VNR42T    MA      Shrewsbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15601     2022   VOLVO   4V4W19EG6NN285562   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15602     2022   VOLVO   4V4W19EG8NN285563   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15603     2022   VOLVO   4V4W19EGXNN285564   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15604     2022   VOLVO   4V4W19EG1NN285565   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15605     2022   VOLVO   4V4W19EG3NN285566   VNR42T    NY      East Syracuse
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15606     2022   VOLVO   4V4W19EG5NN285567   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15607     2022   VOLVO   4V4W19EG7NN285568   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15608     2022   VOLVO   4V4W19EG9NN285569   VNR42T    FL      Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15609     2022   VOLVO   4V4W19EG5NN285570   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15610     2022   VOLVO   4V4W19EG7NN285571   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15611     2022   VOLVO   4V4W19EG9NN285572   VNR42T    TX      Laredo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15612     2022   VOLVO   4V4W19EG0NN285573   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15613     2022   VOLVO   4V4W19EG2NN285574   VNR42T    TX      Dallas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15614     2022   VOLVO   4V4W19EG4NN285575   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15615     2022   VOLVO   4V4W19EG6NN285576   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15616     2022   VOLVO   4V4W19EG8NN285577   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15617     2022   VOLVO   4V4W19EGXNN285578   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15618     2022   VOLVO   4V4W19EG1NN285579   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15619     2022   VOLVO   4V4W19EG8NN285580   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15620     2022   VOLVO   4V4W19EGXNN285581   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15621     2022   VOLVO   4V4W19EG1NN285582   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15622     2022   VOLVO   4V4W19EG3NN285583   VNR42T    GA      Thomasville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15623     2022   VOLVO   4V4W19EG5NN285584   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15624     2022   VOLVO   4V4W19EG7NN285585   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15625     2022   VOLVO   4V4W19EG9NN285586   VNR42T    KS      Garden City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15626     2022   VOLVO   4V4W19EG0NN285587   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15627     2022   VOLVO   4V4W19EG2NN285588   VNR42T    FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15628     2022   VOLVO   4V4W19EG4NN285589   VNR42T    FL      Tampa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15629     2022   VOLVO   4V4W19EG0NN285590   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15630     2022   VOLVO   4V4W19EG2NN285591   VNR42T    MI      Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15631     2022   VOLVO   4V4W19EG4NN285592   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15632     2022   VOLVO   4V4W19EG6NN285593   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15633     2022   VOLVO   4V4W19EG8NN285594   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15634     2022   VOLVO   4V4W19EGXNN285595   VNR42T    TX      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15635     2022   VOLVO   4V4W19EG1NN285596   VNR42T    WI      Madison
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15636     2022   VOLVO   4V4W19EG3NN285597   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15637     2022   VOLVO   4V4W19EG5NN285598   VNR42T    UT      Beaver
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15638     2022   VOLVO   4V4W19EG7NN285599   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15639     2022   VOLVO   4V4W19EGXNN285600   VNR42T    IL      Wheeling
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15640     2022   VOLVO   4V4W19EG1NN285601   VNR42T    GA      Thomasville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15641     2022   VOLVO   4V4W19EG3NN285602   VNR42T    LA      Shreveport
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15642     2022   VOLVO   4V4W19EG5NN285603   VNR42T    TX      Laredo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15643     2022   VOLVO   4V4W19EG7NN285604   VNR42T    MA      Shrewsbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15644     2022   VOLVO   4V4W19EG9NN285605   VNR42T    TX      Laredo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15645     2022   VOLVO   4V4W19EG0NN285606   VNR42T    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15646     2022   VOLVO   4V4W19EG2NN285607   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15647     2022   VOLVO   4V4W19EG4NN285608   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15648     2022   VOLVO   4V4W19EG6NN285609   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15649     2022   VOLVO   4V4W19EG2NN285610   VNR42T    PA      Line Lexington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15650     2022   VOLVO   4V4W19EG4NN285611   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15651     2022   VOLVO   4V4W19EG6NN285612   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15652     2022   VOLVO   4V4W19EG8NN285613   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15653     2022   VOLVO   4V4W19EGXNN285614   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15654     2022   VOLVO   4V4W19EG1NN285615   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15655     2022   VOLVO   4V4W19EG3NN285616   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15656     2022   VOLVO   4V4W19EG5NN285617   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15657     2022   VOLVO   4V4W19EG7NN285618   VNR42T    TX      McAllen
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15658     2022   VOLVO   4V4W19EG9NN285619   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15659     2022   VOLVO   4V4W19EG5NN285620   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15660     2022   VOLVO   4V4W19EG7NN285621   VNR42T    PA      Harrisburg
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15661     2022   VOLVO   4V4W19EG9NN285622   VNR42T    VA      Richmond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15662     2022   VOLVO   4V4W19EG0NN285623   VNR42T    MI      Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15664     2022   VOLVO   4V4W19EG2NN285624   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15665     2022   VOLVO   4V4W19EG4NN285625   VNR42T    WI      Oak Creek
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15666     2022   VOLVO   4V4W19EG6NN285626   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15669     2022   VOLVO   4V4W19EG8NN285627   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15670     2022   VOLVO   4V4W19EGXNN285628   VNR42T    IN      Fort Wayne
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 886 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15671     2022   VOLVO   4V4W19EG1NN285629   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15672     2022   VOLVO   4V4W19EG8NN285630   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15673     2022   VOLVO   4V4W19EGXNN285631   VNR42T    LA      Shreveport
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15674     2022   VOLVO   4V4W19EG1NN285632   VNR42T    WY      Wamsutter
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15675     2022   VOLVO   4V4W19EG3NN285633   VNR42T    NJ      Kearny
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15676     2022   VOLVO   4V4W19EG5NN285634   VNR42T    CO      Grand Junction
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15677     2022   VOLVO   4V4W19EG7NN285635   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15678     2022   VOLVO   4V4W19EG9NN285636   VNR42T    NV      Sparks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15679     2022   VOLVO   4V4W19EG0NN285637   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15680     2022   VOLVO   4V4W19EG2NN285638   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15681     2022   VOLVO   4V4W19EG4NN285639   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15682     2022   VOLVO   4V4W19EG0NN285640   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15683     2022   VOLVO   4V4W19EG2NN285641   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15684     2022   VOLVO   4V4W19EG4NN285642   VNR42T    VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15685     2022   VOLVO   4V4W19EG6NN285643   VNR42T    PA      Line Lexington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15686     2022   VOLVO   4V4W19EG8NN285644   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15688     2022   VOLVO   4V4W19EGXNN285645   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15690     2022   VOLVO   4V4W19EG1NN285646   VNR42T    TX      Dallas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15691     2022   VOLVO   4V4W19EG3NN285647   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15692     2022   VOLVO   4V4W19EG5NN285648   VNR42T    GA      Savannah
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15693     2022   VOLVO   4V4W19EG7NN285649   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15694     2022   VOLVO   4V4W19EG3NN285650   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15695     2022   VOLVO   4V4W19EG5NN285651   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15696     2022   VOLVO   4V4W19EG7NN285652   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15697     2022   VOLVO   4V4W19EG9NN285653   VNR42T    TN      Kingsport
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15699     2022   VOLVO   4V4W19EG0NN285654   VNR42T    NE      North Platte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15700     2022   VOLVO   4V4W19EG2NN285655   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15701     2022   VOLVO   4V4W19EG4NN285656   VNR42T    TX      Sherman
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15702     2022   VOLVO   4V4W19EG6NN285657   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15703     2022   VOLVO   4V4W19EG8NN285658   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15704     2022   VOLVO   4V4W19EGXNN285659   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15705     2022   VOLVO   4V4W19EG6NN285660   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15706     2022   VOLVO   4V4W19EG8NN285661   VNR42T    TX      San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15707     2022   VOLVO   4V4W19EGXNN285662   VNR42T    WY      Cheyenne
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15708     2022   VOLVO   4V4W19EG1NN285663   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15709     2022   VOLVO   4V4W19EG3NN285664   VNR42T    VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15710     2022   VOLVO   4V4W19EG5NN285665   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15711     2022   VOLVO   4V4W19EG7NN285666   VNR42T    GA      Richmond Hill
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15712     2022   VOLVO   4V4W19EG9NN285667   VNR42T    MO      Columbia
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15713     2022   VOLVO   4V4W19EG0NN285668   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15714     2022   VOLVO   4V4W19EG2NN285669   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15715     2022   VOLVO   4V4W19EG9NN285670   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15716     2022   VOLVO   4V4W19EG0NN285671   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15717     2022   VOLVO   4V4W19EG2NN285672   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15718     2022   VOLVO   4V4W19EG4NN285673   VNR42T    MA      North Reading
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15719     2022   VOLVO   4V4W19EG6NN285674   VNR42T    SD      Rapid City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15720     2022   VOLVO   4V4W19EG8NN285675   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15721     2022   VOLVO   4V4W19EGXNN285676   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15722     2022   VOLVO   4V4W19EG1NN285677   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15723     2022   VOLVO   4V4W19EG3NN285678   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15724     2022   VOLVO   4V4W19EG5NN285679   VNR42T    PA      Bensalem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15725     2022   VOLVO   4V4W19EG1NN285680   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15726     2022   VOLVO   4V4W19EG3NN285681   VNR42T    VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15727     2022   VOLVO   4V4W19EG5NN285682   VNR42T    AZ      Flagstaff
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15728     2022   VOLVO   4V4W19EG7NN285683   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15729     2022   VOLVO   4V4W19EG9NN285684   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15730     2022   VOLVO   4V4W19EG0NN285685   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15731     2022   VOLVO   4V4W19EG2NN285686   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15732     2022   VOLVO   4V4W19EG4NN285687   VNR42T    VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15733     2022   VOLVO   4V4W19EG6NN285688   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15734     2022   VOLVO   4V4W19EG8NN285689   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15735     2022   VOLVO   4V4W19EG4NN285690   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15736     2022   VOLVO   4V4W19EG6NN285691   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15737     2022   VOLVO   4V4W19EG8NN285692   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15738     2022   VOLVO   4V4W19EGXNN285693   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15739     2022   VOLVO   4V4W19EG1NN285694   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15740     2022   VOLVO   4V4W19EG3NN285695   VNR42T    FL      Fort Myers
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15741     2022   VOLVO   4V4W19EG5NN285696   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15742     2022   VOLVO   4V4W19EG7NN285697   VNR42T    NC      Wilmington
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 887 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15743     2022   VOLVO   4V4W19EG9NN285698   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15744     2022   VOLVO   4V4W19EG0NN285699   VNR42T    PA      Bensalem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15745     2022   VOLVO   4V4W19EG3NN285700   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15746     2022   VOLVO   4V4W19EG5NN285701   VNR42T    CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15747     2022   VOLVO   4V4W19EG7NN285702   VNR42T    TX      Waco
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15748     2022   VOLVO   4V4W19EG9NN285703   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15749     2022   VOLVO   4V4W19EG0NN285704   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15750     2022   VOLVO   4V4W19EG2NN285705   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15751     2022   VOLVO   4V4W19EG4NN285706   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15752     2022   VOLVO   4V4W19EG6NN285707   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15753     2022   VOLVO   4V4W19EG8NN285708   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15754     2022   VOLVO   4V4W19EGXNN285709   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15755     2022   VOLVO   4V4W19EG6NN285710   VNR42T    NY      Mount Vernon
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15756     2022   VOLVO   4V4W19EG8NN285711   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15757     2022   VOLVO   4V4W19EGXNN285712   VNR42T    GA      Conley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15758     2022   VOLVO   4V4W19EG1NN285713   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15759     2022   VOLVO   4V4W19EG3NN285714   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15760     2022   VOLVO   4V4W19EG5NN285715   VNR42T    OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15761     2022   VOLVO   4V4W19EG7NN285716   VNR42T    IN      Hammond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15762     2022   VOLVO   4V4W19EG9NN285717   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15763     2022   VOLVO   4V4W19EG0NN285718   VNR42T    PA      Line Lexington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15764     2022   VOLVO   4V4W19EG2NN285719   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15765     2022   VOLVO   4V4W19EG9NN285720   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15766     2022   VOLVO   4V4W19EG0NN285721   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15767     2022   VOLVO   4V4W19EG2NN285722   VNR42T    TX      Laredo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15768     2022   VOLVO   4V4W19EG4NN285723   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15769     2022   VOLVO   4V4W19EG6NN285724   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15770     2022   VOLVO   4V4W19EG8NN285725   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15771     2022   VOLVO   4V4W19EGXNN285726   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15772     2022   VOLVO   4V4W19EG1NN285727   VNR42T    PA      Mountain Top
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15773     2022   VOLVO   4V4W19EG3NN285728   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15774     2022   VOLVO   4V4W19EG5NN285729   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15775     2022   VOLVO   4V4W19EG1NN285730   VNR42T    VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15776     2022   VOLVO   4V4W19EG3NN285731   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15777     2022   VOLVO   4V4W19EG5NN285732   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15778     2022   VOLVO   4V4W19EG7NN285733   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15779     2022   VOLVO   4V4W19EG9NN285734   VNR42T    AR      Little Rock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15780     2022   VOLVO   4V4W19EG0NN285735   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15781     2022   VOLVO   4V4W19EG2NN285736   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15782     2022   VOLVO   4V4W19EG4NN285737   VNR42T    FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15783     2022   VOLVO   4V4W19EG6NN285738   VNR42T    MD      Baltimore
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15784     2022   VOLVO   4V4W19EG8NN285739   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15785     2022   VOLVO   4V4W19EG4NN285740   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15786     2022   VOLVO   4V4W19EG6NN285741   VNR42T    KY      Waddy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15787     2022   VOLVO   4V4W19EG8NN285742   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15788     2022   VOLVO   4V4W19EGXNN285743   VNR42T    VT      Bellows Falls
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15789     2022   VOLVO   4V4W19EG1NN285744   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15790     2022   VOLVO   4V4W19EG3NN285745   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15791     2022   VOLVO   4V4W19EG5NN285746   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15792     2022   VOLVO   4V4W19EG7NN285747   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15793     2022   VOLVO   4V4W19EG9NN285748   VNR42T    MI      Wyoming
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15794     2022   VOLVO   4V4W19EG0NN285749   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15795     2022   VOLVO   4V4W19EG7NN285750   VNR42T    IL      Montgomery
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15796     2022   VOLVO   4V4W19EG9NN285751   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15797     2022   VOLVO   4V4W19EG0NN285752   VNR42T    MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15798     2022   VOLVO   4V4W19EG2NN285753   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15799     2022   VOLVO   4V4W19EG4NN285754   VNR42T    AZ      Nogales
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15800     2022   VOLVO   4V4W19EG6NN285755   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15801     2022   VOLVO   4V4W19EG8NN285756   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15802     2022   VOLVO   4V4W19EGXNN285757   VNR42T    PA      Mountain Top
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15803     2022   VOLVO   4V4W19EG1NN285758   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15804     2022   VOLVO   4V4W19EG3NN285759   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15805     2022   VOLVO   4V4W19EGXNN285760   VNR42T    TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15806     2022   VOLVO   4V4W19EG1NN285761   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15807     2022   VOLVO   4V4W19EG3NN285762   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15808     2022   VOLVO   4V4W19EG5NN285763   VNR42T    MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15809     2022   VOLVO   4V4W19EG7NN285764   VNR42T    WI      Oak Creek
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15810     2022   VOLVO   4V4W19EG9NN285765   VNR42T    GA      Richmond Hill
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15811     2022   VOLVO   4V4W19EG0NN285766   VNR42T    AZ      Phoenix
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 888 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15812     2022   VOLVO   4V4W19EG2NN285767   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15813     2022   VOLVO   4V4W19EG4NN285768   VNR42T    TX      San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15814     2022   VOLVO   4V4W19EG6NN285769   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15815     2022   VOLVO   4V4W19EG2NN285770   VNR42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15816     2022   VOLVO   4V4W19EG4NN285771   VNR42T    IL      Quincy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15817     2022   VOLVO   4V4W19EG6NN285772   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15818     2022   VOLVO   4V4W19EG8NN285773   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15819     2022   VOLVO   4V4W19EGXNN285774   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15820     2022   VOLVO   4V4W19EG1NN285775   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15821     2022   VOLVO   4V4W19EG3NN285776   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15822     2022   VOLVO   4V4W19EG5NN285777   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15823     2022   VOLVO   4V4W19EG7NN285778   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15824     2022   VOLVO   4V4W19EG9NN285779   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15825     2022   VOLVO   4V4W19EG5NN285780   VNR42T    SD      Sioux Falls
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15826     2022   VOLVO   4V4W19EG7NN285781   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15827     2022   VOLVO   4V4W19EG9NN285782   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15828     2022   VOLVO   4V4W19EG0NN285783   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15829     2022   VOLVO   4V4W19EG2NN285784   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15830     2022   VOLVO   4V4W19EG4NN285785   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15831     2022   VOLVO   4V4W19EG6NN285786   VNR42T    OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15832     2022   VOLVO   4V4W19EG8NN285787   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15833     2022   VOLVO   4V4W19EGXNN285788   VNR42T    NE      Bridgeport
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15834     2022   VOLVO   4V4W19EG1NN285789   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15835     2022   VOLVO   4V4W19EG8NN285790   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15836     2022   VOLVO   4V4W19EGXNN285791   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15837     2022   VOLVO   4V4W19EG1NN285792   VNR42T    RI      Cumberland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15838     2022   VOLVO   4V4W19EG3NN285793   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15839     2022   VOLVO   4V4W19EG5NN285794   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15840     2022   VOLVO   4V4W19EG7NN285795   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15841     2022   VOLVO   4V4W19EG9NN285796   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15843     2022   VOLVO   4V4W19EG2NN285798   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15844     2022   VOLVO   4V4W19EG4NN285799   VNR42T    RI      Cumberland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15845     2022   VOLVO   4V4W19EG7NN285800   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15846     2022   VOLVO   4V4W19EG9NN285801   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15850     2021   VOLVO   4V4W19EG8MN285335   VNR42T    ID      Twin Falls
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15851     2021   VOLVO   4V4W19EGXMN285336   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15852     2021   VOLVO   4V4W19EG1MN285337   VNR42T    MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15853     2021   VOLVO   4V4W19EG3MN285338   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15854     2021   VOLVO   4V4W19EG5MN285339   VNR42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15855     2021   VOLVO   4V4W19EG1MN285340   VNR42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15856     2021   VOLVO   4V4W19EG3MN285341   VNR42T    PA      Harrisburg
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15857     2021   VOLVO   4V4W19EG5MN285342   VNR42T    MN      Saint Cloud
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15858     2021   VOLVO   4V4W19EG7MN285343   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15859     2021   VOLVO   4V4W19EG9MN285344   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15860     2021   VOLVO   4V4W19EG0MN285345   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15861     2021   VOLVO   4V4W19EG2MN285346   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15862     2021   VOLVO   4V4W19EG4MN285347   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15863     2021   VOLVO   4V4W19EG6MN285348   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15864     2021   VOLVO   4V4W19EG8MN285349   VNR42T    MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15865     2021   VOLVO   4V4W19EG4MN285350   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15866     2021   VOLVO   4V4W19EG6MN285351   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15867     2021   VOLVO   4V4W19EG8MN285352   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15868     2021   VOLVO   4V4W19EGXMN285353   VNR42T    FL      Tampa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15869     2021   VOLVO   4V4W19EG1MN285354   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15870     2021   VOLVO   4V4W19EG3MN285355   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15871     2021   VOLVO   4V4W19EG5MN285356   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15872     2021   VOLVO   4V4W19EG7MN285357   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15873     2021   VOLVO   4V4W19EG9MN285358   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15874     2021   VOLVO   4V4W19EG0MN285359   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15875     2021   VOLVO   4V4W19EG7MN285360   VNR42T    VA      Elliston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15876     2021   VOLVO   4V4W19EG9MN285361   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15877     2021   VOLVO   4V4W19EG0MN285362   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15878     2021   VOLVO   4V4W19EG2MN285363   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15879     2021   VOLVO   4V4W19EG4MN285364   VNR42T    TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15880     2021   VOLVO   4V4W19EG6MN285365   VNR42T    ID      Twin Falls
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15881     2021   VOLVO   4V4W19EG8MN285366   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15882     2021   VOLVO   4V4W19EGXMN285367   VNR42T    NY      Deer Park
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15883     2021   VOLVO   4V4W19EG1MN285368   VNR42T    NV      Sparks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15884     2021   VOLVO   4V4W19EG3MN285369   VNR42T    UT      Salt Lake City
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 889 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15885     2021   VOLVO   4V4W19EGXMN285370   VNR42T    MA      North Reading
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15886     2021   VOLVO   4V4W19EG1MN285371   VNR42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15887     2021   VOLVO   4V4W19EG3MN285372   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15888     2021   VOLVO   4V4W19EG5MN285373   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15889     2021   VOLVO   4V4W19EG7MN285374   VNR42T    OH      Toledo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15890     2021   VOLVO   4V4W19EG9MN285375   VNR42T    AZ      Glendale
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15891     2021   VOLVO   4V4W19EG0MN285376   VNR42T    FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15892     2021   VOLVO   4V4W19EG2MN285377   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15893     2021   VOLVO   4V4W19EG4MN285378   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15894     2021   VOLVO   4V4W19EG6MN285379   VNR42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15895     2021   VOLVO   4V4W19EG2MN285380   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15896     2021   VOLVO   4V4W19EG4MN285381   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15897     2021   VOLVO   4V4W19EG6MN285382   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15898     2021   VOLVO   4V4W19EG8MN285383   VNR42T    AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15899     2021   VOLVO   4V4W19EGXMN285384   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15900     2021   VOLVO   4V4W19EG1MN285385   VNR42T    TX      Dallas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15901     2021   VOLVO   4V4W19EG3MN285386   VNR42T    PA      Bethlehem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15902     2021   VOLVO   4V4W19EG5MN285387   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15903     2021   VOLVO   4V4W19EG7MN285388   VNR42T    PA      Shippensburg
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15904     2021   VOLVO   4V4W19EG9MN285389   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15905     2021   VOLVO   4V4W19EG5MN285390   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15906     2022   PTRBL   1XPBAP8X3ND759093   579       VA      Chesapeake
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15907     2022   PTRBL   1XPBAP8X5ND759094   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15908     2022   PTRBL   1XPBAP8X7ND759095   579       NE      Kearney
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15909     2022   PTRBL   1XPBAP8X9ND759096   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15910     2022   PTRBL   1XPBAP8X0ND759097   579       MO      Baxter Springs
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15911     2022   PTRBL   1XPBAP8X2ND759098   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15912     2022   PTRBL   1XPBAP8X4ND759099   579       MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15913     2022   PTRBL   1XPBAP8X7ND759100   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15914     2022   PTRBL   1XPBAP8X9ND759101   579       NC      Kernersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15915     2022   PTRBL   1XPBAP8X0ND759102   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15916     2022   PTRBL   1XPBAP8X2ND759103   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15917     2022   PTRBL   1XPBAP8X4ND759104   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15918     2022   PTRBL   1XPBAP8X6ND759105   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15919     2022   PTRBL   1XPBAP8X8ND759106   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15921     2022   PTRBL   1XPBAP8X1ND759108   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15922     2022   PTRBL   1XPBAP8X3ND759109   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15923     2022   PTRBL   1XPBAP8XXND759110   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15924     2022   PTRBL   1XPBAP8X1ND759111   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15925     2022   PTRBL   1XPBAP8X3ND759112   579       UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15926     2022   PTRBL   1XPBAP8X5ND759113   579       TN      Knoxville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15927     2022   PTRBL   1XPBAP8X7ND759114   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15928     2022   PTRBL   1XPBAP8X9ND759115   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15929     2022   PTRBL   1XPBAP8X0ND759116   579       CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15930     2022   PTRBL   1XPBAP8X2ND759117   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15931     2022   PTRBL   1XPBAP8X4ND759118   579       NY      Brooklyn
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15932     2022   PTRBL   1XPBAP8X6ND759119   579       NY      Elmira
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15933     2022   PTRBL   1XPBAP8X2ND759120   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15934     2022   PTRBL   1XPBAP8X4ND759121   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15935     2022   PTRBL   1XPBAP8X6ND759122   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15936     2022   PTRBL   1XPBAP8X8ND759123   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15937     2022   PTRBL   1XPBAP8XXND759124   579       AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15938     2022   PTRBL   1XPBAP8X1ND759125   579       NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15939     2022   PTRBL   1XPBAP8X3ND759126   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15940     2022   PTRBL   1XPBAP8X5ND759127   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15941     2022   PTRBL   1XPBAP8X7ND759128   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15942     2022   PTRBL   1XPBAP8X9ND759129   579       MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15943     2022   PTRBL   1XPBAP8X5ND759130   579       OH      Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15944     2022   PTRBL   1XPBAP8X7ND759131   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15945     2022   PTRBL   1XPBAP8X9ND759132   579       NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15946     2022   PTRBL   1XPBAP8X0ND759133   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15947     2022   PTRBL   1XPBAP8X2ND759134   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15948     2022   PTRBL   1XPBAP8X4ND759135   579       DE      New Castle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15949     2022   PTRBL   1XPBAP8X6ND759136   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15950     2022   PTRBL   1XPBAP8X8ND759137   579       CA      Calexico
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15951     2022   PTRBL   1XPBAP8XXND759138   579       FL      Ocala
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15952     2022   PTRBL   1XPBAP8X1ND759139   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15953     2022   PTRBL   1XPBAP8X8ND759140   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15954     2022   PTRBL   1XPBAP8XXND759141   579       CO      Aurora
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 890 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15955     2022   PTRBL   1XPBAP8X1ND759142   579       CO      Colorado Springs
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15956     2022   PTRBL   1XPBAP8X3ND759143   579       MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15957     2022   PTRBL   1XPBAP8X5ND759144   579       RI      Cumberland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15958     2022   PTRBL   1XPBAP8X7ND759145   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15959     2022   PTRBL   1XPBAP8X9ND759146   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15960     2022   PTRBL   1XPBAP8X0ND759147   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15961     2022   PTRBL   1XPBAP8X2ND759148   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15962     2022   PTRBL   1XPBAP8X4ND759149   579       OH      Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15963     2022   PTRBL   1XPBAP8X0ND759150   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15964     2022   PTRBL   1XPBAP8X2ND759151   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15965     2022   PTRBL   1XPBAP8X4ND759152   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15966     2022   PTRBL   1XPBAP8X6ND759153   579       PA      Bethlehem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15967     2022   PTRBL   1XPBAP8X8ND759154   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15968     2022   PTRBL   1XPBAP8XXND759155   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15969     2022   PTRBL   1XPBAP8X1ND759156   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15970     2022   PTRBL   1XPBAP8X3ND759157   579       NY      Mount Vernon
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15971     2022   PTRBL   1XPBAP8X5ND759158   579       FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15972     2022   PTRBL   1XPBAP8X7ND759159   579       IL      Wheeling
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15973     2022   PTRBL   1XPBAP8X3ND759160   579       MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15974     2022   PTRBL   1XPBAP8X5ND759161   579       NJ      Carlstadt
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15975     2022   PTRBL   1XPBAP8X7ND759162   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15976     2022   PTRBL   1XPBAP8X9ND759163   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15977     2022   PTRBL   1XPBAP8X0ND759164   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15978     2022   PTRBL   1XPBAP8X2ND759165   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15980     2022   PTRBL   1XPBAP8X6ND759167   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15981     2022   PTRBL   1XPBAP8X8ND759168   579       MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15982     2022   PTRBL   1XPBAP8XXND759169   579       FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15983     2022   PTRBL   1XPBAP8X6ND759170   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15984     2022   PTRBL   1XPBAP8X8ND759171   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15985     2022   PTRBL   1XPBAP8XXND759172   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15986     2022   PTRBL   1XPBAP8X1ND759173   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15987     2022   PTRBL   1XPBAP8X3ND759174   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15988     2022   PTRBL   1XPBAP8X5ND759175   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15990     2022   PTRBL   1XPBAP8X9ND759177   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15992     2022   PTRBL   1XPBAP8XXND759107   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY15993     2022   PTRBL   1XPBAP8X4ND759166   579       VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16701     2022   PTRBL   1XPBAP8X0ND759178   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16702     2022   PTRBL   1XPBAP8X2ND759179   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16703     2022   PTRBL   1XPBAP8X9ND759180   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16704     2022   PTRBL   1XPBAP8X0ND759181   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16705     2022   PTRBL   1XPBAP8X2ND759182   579       MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16706     2022   PTRBL   1XPBAP8X4ND759183   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16707     2022   PTRBL   1XPBAP8X6ND759184   579       NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16708     2022   PTRBL   1XPBAP8X8ND759185   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16709     2022   PTRBL   1XPBAP8XXND759186   579       NJ      Hamilton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16710     2022   PTRBL   1XPBAP8X1ND759187   579       AR      Little Rock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16711     2022   PTRBL   1XPBAP8X3ND759188   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16712     2022   PTRBL   1XPBAP8X5ND759189   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16713     2022   PTRBL   1XPBAP8X1ND759190   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16714     2022   PTRBL   1XPBAP8X3ND759191   579       TX      Abilene
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16715     2022   PTRBL   1XPBAP8X5ND759192   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16716     2022   PTRBL   1XPBAP8X7ND759193   579       MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16717     2022   PTRBL   1XPBAP8X9ND759194   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16718     2022   PTRBL   1XPBAP8X0ND759195   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16719     2022   PTRBL   1XPBAP8X2ND759196   579       IN      Jeffersonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16720     2022   PTRBL   1XPBAP8X4ND759197   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16721     2022   PTRBL   1XPBAP8X6ND759198   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16722     2022   PTRBL   1XPBAP8X8ND759199   579       PA      Mountain Top
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16723     2022   PTRBL   1XPBAP8X0ND759200   579       VA      Richmond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16724     2022   PTRBL   1XPBAP8X2ND759201   579       MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16725     2022   PTRBL   1XPBAP8X4ND759202   579       GA      Conley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16726     2022   PTRBL   1XPBAP8X6ND759203   579       NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16727     2022   PTRBL   1XPBAP8X8ND759204   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16728     2022   PTRBL   1XPBAP8XXND759205   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16729     2022   PTRBL   1XPBAP8X1ND759206   579       OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16730     2022   PTRBL   1XPBAP8X3ND759207   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16731     2022   PTRBL   1XPBAP8X5ND759208   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16732     2022   PTRBL   1XPBAP8X7ND759209   579       CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16733     2022   PTRBL   1XPBAP8X3ND759210   579       CO      Aurora
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 891 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16734     2022   PTRBL   1XPBAP8X5ND759211   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16735     2022   PTRBL   1XPBAP8X7ND759212   579       OH      Toledo
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16736     2022   PTRBL   1XPBAP8X9ND759213   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16737     2022   PTRBL   1XPBAP8X0ND759214   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16738     2022   PTRBL   1XPBAP8X2ND759215   579       WV      Charleston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16739     2022   PTRBL   1XPBAP8X4ND759216   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16740     2022   PTRBL   1XPBAP8X6ND759217   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16741     2022   PTRBL   1XPBAP8X8ND759218   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16742     2022   PTRBL   1XPBAP8XXND759219   579       AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16743     2022   PTRBL   1XPBAP8X6ND759220   579       NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16744     2022   PTRBL   1XPBAP8X8ND759221   579       NV      Sparks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16745     2022   PTRBL   1XPBAP8XXND759222   579       MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16746     2022   PTRBL   1XPBAP8X1ND759223   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16747     2022   PTRBL   1XPBAP8X3ND759224   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16748     2022   PTRBL   1XPBAP8X5ND759225   579       FL      Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16749     2022   PTRBL   1XPBAP8X7ND759226   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16750     2022   PTRBL   1XPBAP8X9ND759227   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16751     2022   PTRBL   1XPBAP8X0ND759228   579       TX      Corpus Christi
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16752     2022   PTRBL   1XPBAP8X2ND759229   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16753     2022   PTRBL   1XPBAP8X9ND759230   579       MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16754     2022   PTRBL   1XPBAP8X0ND759231   579       NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16755     2022   PTRBL   1XPBAP8X2ND759232   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16756     2022   PTRBL   1XPBAP8X4ND759233   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16757     2022   PTRBL   1XPBAP8X6ND759234   579       AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16758     2022   PTRBL   1XPBAP8X8ND759235   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16759     2022   PTRBL   1XPBAP8XXND759236   579       KY      Waddy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16760     2022   PTRBL   1XPBAP8X1ND759237   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16761     2022   PTRBL   1XPBAP8X3ND759238   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16762     2022   PTRBL   1XPBAP8X5ND759239   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16763     2022   PTRBL   1XPBAP8X1ND759240   579       VA      Richmond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16764     2022   PTRBL   1XPBAP8X3ND759241   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16765     2022   PTRBL   1XPBAP8X5ND759242   579       NY      East Syracuse
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16766     2022   PTRBL   1XPBAP8X7ND759243   579       IL      Bolingbrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16767     2022   PTRBL   1XPBAP8X9ND759244   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16768     2022   PTRBL   1XPBAP8X0ND759245   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16769     2022   PTRBL   1XPBAP8X2ND759246   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16770     2022   PTRBL   1XPBAP8X4ND759247   579       TX      Houston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16771     2022   PTRBL   1XPBAP8X6ND759248   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16772     2022   PTRBL   1XPBAP8X8ND759249   579       MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16773     2022   PTRBL   1XPBAP8X4ND759250   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16774     2022   PTRBL   1XPBAP8X6ND759251   579       FL      Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16775     2022   PTRBL   1XPBAP8X8ND759252   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16776     2022   PTRBL   1XPBAP8XXND759253   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16777     2022   PTRBL   1XPBAP8X1ND759254   579       WV      Beckley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16778     2022   PTRBL   1XPBAP8X3ND759255   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16779     2022   PTRBL   1XPBAP8X5ND759256   579       NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16780     2022   PTRBL   1XPBAP8X7ND759257   579       MA      North Reading
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16781     2022   PTRBL   1XPBAP8X9ND759258   579       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16782     2022   PTRBL   1XPBAP8X0ND759259   579       MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16783     2022   PTRBL   1XPBAP8X7ND759260   579       TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16784     2022   PTRBL   1XPBAP8X9ND759261   579       TX      McAllen
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16785     2022   PTRBL   1XPBAP8X0ND759262   579       MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16786     2022   PTRBL   1XPBAP8X2ND759263   579       MI      Pontiac
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16787     2022   PTRBL   1XPBAP8X4ND759264   579       FL      Tampa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16788     2022   PTRBL   1XPBAP8X6ND759265   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16789     2022   PTRBL   1XPBAP8X8ND759266   579       OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16790     2022   PTRBL   1XPBAP8XXND759267   579       MO      Baxter Springs
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16791     2022   PTRBL   1XPBAP8X1ND759268   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16792     2022   PTRBL   1XPBAP8X3ND759269   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16793     2022   PTRBL   1XPBAP8XXND759270   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16794     2022   PTRBL   1XPBAP8X1ND759271   579       TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16795     2022   PTRBL   1XPBAP8X3ND759272   579       OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16796     2022   PTRBL   1XPBAP8X5ND759273   579       IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16797     2022   PTRBL   1XPBAP8X7ND759274   579       NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16798     2022   PTRBL   1XPBAP8X9ND759275   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16799     2022   PTRBL   1XPBAP8X0ND759276   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16800     2022   PTRBL   1XPBAP8X2ND759277   579       MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16801     2022   PTRBL   1XPBAP8X4ND759278   579       GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16802     2022   PTRBL   1XPBAP8X6ND759279   579       OH      Copley
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 892 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16803     2022   PTRBL   1XPBAP8X2ND759280   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16804     2022   PTRBL   1XPBAP8X4ND759281   579       IN        South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16805     2022   PTRBL   1XPBAP8X6ND759282   579       AZ        Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16806     2022   PTRBL   1XPBAP8X8ND759283   579       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16807     2022   PTRBL   1XPBAP8XXND759284   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16808     2022   PTRBL   1XPBAP8X1ND759285   579       OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16809     2022   PTRBL   1XPBAP8X3ND759286   579       TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16810     2022   PTRBL   1XPBAP8X5ND759287   579       AZ        Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16811     2022   PTRBL   1XPBAP8X7ND759288   579       TN        Jackson
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16812     2022   PTRBL   1XPBAP8X9ND759289   579       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16813     2022   PTRBL   1XPBAP8X5ND759290   579       NJ        Hamilton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16814     2022   PTRBL   1XPBAP8X7ND759291   579       OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16815     2022   PTRBL   1XPBAP8X9ND759292   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16816     2022   PTRBL   1XPBAP8X0ND759293   579       TX        San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16817     2022   PTRBL   1XPBAP8X2ND759294   579       OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16818     2022   PTRBL   1XPBAP8X4ND759295   579       PA        Bethlehem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16819     2022   PTRBL   1XPBAP8X6ND759296   579       PA        Mountain Top
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16820     2022   PTRBL   1XPBAP8X8ND759297   579       NJ        Millville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16821     2022   PTRBL   1XPBAP8XXND759298   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16822     2022   PTRBL   1XPBAP8X1ND759299   579       Ontario   Niagara on the Lake
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16823     2022   PTRBL   1XPBAP8X4ND759300   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16824     2022   PTRBL   1XPBAP8X6ND759301   579       Ontario   Mississauga
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16825     2022   PTRBL   1XPBAP8X8ND759302   579       OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16826     2022   PTRBL   1XPBAP8XXND759303   579       MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16827     2022   PTRBL   1XPBAP8X1ND759304   579       MA        North Reading
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16828     2022   PTRBL   1XPBAP8X3ND759305   579       OK        Tulsa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16829     2022   PTRBL   1XPBAP8X5ND759306   579       VA        Christiansburg
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16830     2022   PTRBL   1XPBAP8X7ND759307   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16831     2022   PTRBL   1XPBAP8X9ND759308   579       IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16832     2022   PTRBL   1XPBAP8X0ND759309   579       MI        Wyoming
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16833     2022   PTRBL   1XPBAP8X7ND759310   579       IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16834     2022   PTRBL   1XPBAP8X9ND759311   579       GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16835     2022   PTRBL   1XPBAP8X0ND759312   579       TN        Knoxville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16836     2022   PTRBL   1XPBAP8X2ND759313   579       IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16837     2022   PTRBL   1XPBAP8X4ND759314   579       NY        Plainview
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16838     2022   PTRBL   1XPBAP8X6ND759315   579       MN        Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16839     2022   PTRBL   1XPBAP8X8ND759316   579       PA        McKees Rocks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16840     2022   PTRBL   1XPBAP8XXND759317   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16841     2022   PTRBL   1XPBAP8X1ND759318   579       TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16842     2022   PTRBL   1XPBAP8X3ND759319   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16843     2022   PTRBL   1XPBAP8XXND759320   579       MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16844     2022   PTRBL   1XPBAP8X1ND759321   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16845     2022   PTRBL   1XPBAP8X3ND759322   579       IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16846     2022   PTRBL   1XPBAP8X5ND759323   579       FL        Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16847     2022   PTRBL   1XPBAP8X7ND759324   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16848     2022   PTRBL   1XPBAP8X9ND759325   579       IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16849     2022   PTRBL   1XPBAP8X0ND759326   579       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16850     2022   PTRBL   1XPBAP8X2ND759327   579       PA        Line Lexington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16851     2022   PTRBL   1XPBAP8X4ND759328   579       GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16852     2022   PTRBL   1XPBAP8X6ND759329   579       TX        Lubbock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16853     2022   PTRBL   1XPBAP8X2ND759330   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16854     2022   PTRBL   1XPBAP8X4ND759331   579       NH        Bedford
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16855     2022   PTRBL   1XPBAP8X6ND759332   579       IL        Morton
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16856     2022   PTRBL   1XPBAP8X8ND759333   579       MI        Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16857     2022   PTRBL   1XPBAP8XXND759334   579       OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16858     2022   PTRBL   1XPBAP8X1ND759335   579       AL        Mobile
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16859     2022   PTRBL   1XPBAP8X3ND759336   579       GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16860     2022   PTRBL   1XPBAP8X5ND759337   579       TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16861     2022   PTRBL   1XPBAP8X7ND759338   579       MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16862     2022   PTRBL   1XPBAP8X9ND759339   579       PA        Mountain Top
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16863     2022   PTRBL   1XPBAP8X5ND759340   579       CO        Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16864     2022   PTRBL   1XPBAP8X7ND759341   579       MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16865     2022   PTRBL   1XPBAP8X9ND759342   579       AZ        Tucson
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16866     2022   PTRBL   1XPBAP8X0ND759343   579       MS        Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16867     2022   PTRBL   1XPBAP8X2ND759344   579       IN        South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16868     2022   PTRBL   1XPBAP8X4ND759345   579       FL        Tampa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16869     2022   PTRBL   1XPBAP8X6ND759346   579       MO        Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16870     2022   PTRBL   1XPBAP8X8ND759347   579       GA        Conley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16871     2022   PTRBL   1XPBAP8XXND759348   579       FL        Jacksonville
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 893 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State     City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16872     2022   PTRBL   1XPBAP8X1ND759349   579       AZ        Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16873     2022   PTRBL   1XPBAP8X8ND759350   579       AL        Decatur
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16874     2022   PTRBL   1XPBAP8XXND759351   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16875     2022   PTRBL   1XPBAP8X1ND759352   579       OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16876     2022   PTRBL   1XPBAP8X3ND759353   579       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16877     2022   PTRBL   1XPBAP8X5ND759354   579       MI        Pontiac
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16878     2022   PTRBL   1XPBAP8X7ND759355   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16879     2022   PTRBL   1XPBAP8X9ND759356   579       PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16880     2022   PTRBL   1XPBAP8X0ND759357   579       NY        East Syracuse
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16881     2022   PTRBL   1XPBAP8X2ND759358   579       MD        Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16882     2022   PTRBL   1XPBAP8X4ND759359   579       NY        Mount Vernon
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16883     2022   PTRBL   1XPBAP8X0ND759360   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16884     2022   PTRBL   1XPBAP8X2ND759361   579       IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16885     2022   PTRBL   1XPBAP8X4ND759362   579       NC        Durham
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16886     2022   PTRBL   1XPBAP8X6ND759363   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16887     2022   PTRBL   1XPBAP8X8ND759364   579       CA        Needles
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16888     2022   PTRBL   1XPBAP8XXND759365   579       FL        Boynton Beach
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16889     2022   PTRBL   1XPBAP8X1ND759366   579       FL        Tampa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16890     2022   PTRBL   1XPBAP8X3ND759367   579       PA        Line Lexington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16891     2022   PTRBL   1XPBAP8X5ND759368   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16892     2022   PTRBL   1XPBAP8X7ND759369   579       NM        Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16893     2022   PTRBL   1XPBAP8X3ND759370   579       MI        Taylor
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16894     2022   PTRBL   1XPBAP8X5ND759371   579       TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16895     2022   PTRBL   1XPBAP8X7ND759372   579       TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16896     2022   PTRBL   1XPBAP8X9ND759373   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16897     2022   PTRBL   1XPBAP8X0ND759374   579       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16898     2022   PTRBL   1XPBAP8X2ND759375   579       WI        Eau Claire
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16899     2022   PTRBL   1XPBAP8X4ND759376   579       TX        San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16900     2022   PTRBL   1XPBAP8X6ND759377   579       AZ        Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16901     2022   PTRBL   1XPBAP8X8ND759378   579       OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16902     2022   PTRBL   1XPBAP8XXND759379   579       FL        Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16903     2022   PTRBL   1XPBAP8X6ND759380   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16904     2022   PTRBL   1XPBAP8X8ND759381   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16905     2022   PTRBL   1XPBAP8XXND759382   579       PA        Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16906     2022   PTRBL   1XPBAP8X1ND759383   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16907     2022   PTRBL   1XPBAP8X3ND759384   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16908     2022   PTRBL   1XPBAP8X5ND759385   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16909     2022   PTRBL   1XPBAP8X7ND759386   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16910     2022   PTRBL   1XPBAP8X9ND759387   579       IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16911     2022   PTRBL   1XPBAP8X0ND759388   579       PA        Bethlehem
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16912     2022   PTRBL   1XPBAP8X2ND759389   579       OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16913     2022   PTRBL   1XPBAP8X9ND759390   579       GA        Conley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16914     2022   PTRBL   1XPBAP8X0ND759391   579       GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16915     2022   PTRBL   1XPBAP8X2ND759392   579       IN        Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16916     2022   PTRBL   1XPBAP8X4ND759393   579       Ontario   Whitby
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16917     2022   PTRBL   1XPBAP8X6ND759394   579       FL        Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16918     2022   PTRBL   1XPBAP8X8ND759395   579       TX        Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16919     2022   PTRBL   1XPBAP8XXND759396   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16920     2022   PTRBL   1XPBAP8X1ND759397   579       OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16921     2022   PTRBL   1XPBAP8X3ND759398   579       OH        Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16922     2022   PTRBL   1XPBAP8X5ND759399   579       TN        Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16923     2022   PTRBL   1XPBAP8X8ND759400   579       MA        North Reading
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16924     2022   PTRBL   1XPBAP8XXND759401   579       TN        Nashville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16925     2022   PTRBL   1XPBAP8X1ND759402   579       MI        Norway
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16926     2022   PTRBL   1XPBAP8X3ND759403   579       NY        Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16927     2022   PTRBL   1XPBAP8X5ND759404   579       OH        Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16928     2022   PTRBL   1XPBAP8X7ND759405   579       OK        Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16929     2022   PTRBL   1XPBAP8X9ND759406   579       NY        East Syracuse
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16930     2022   PTRBL   1XPBAP8X0ND759407   579       WI        Eau Claire
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16931     2022   PTRBL   1XPBAP8X2ND759408   579       FL        Miami
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16932     2022   PTRBL   1XPBAP8X4ND759409   579       OH        Cincinnati
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16933     2022   PTRBL   1XPBAP8X0ND759410   579       MA        Shrewsbury
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16934     2022   PTRBL   1XPBAP8X2ND759411   579       OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16935     2022   PTRBL   1XPBAP8X4ND759412   579       OH        Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16936     2022   PTRBL   1XPBAP8X6ND759413   579       GA        Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16937     2022   PTRBL   1XPBAP8X8ND759414   579       NC        Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16938     2022   PTRBL   1XPBAP8XXND759415   579       MO        Saint Louis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16939     2022   PTRBL   1XPBAP8X1ND759416   579       IL        Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16940     2022   PTRBL   1XPBAP8X3ND759417   579       MD        Hagerstown
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 894 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16941     2022   PTRBL   1XPBAP8X5ND759418   579       VA      Fishersville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16942     2022   PTRBL   1XPBAP8X7ND759419   579       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16943     2022   PTRBL   1XPBAP8X3ND759420   579       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16944     2022   PTRBL   1XPBAP8X5ND759421   579       MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16945     2022   PTRBL   1XPBAP8X7ND759422   579       NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16946     2022   PTRBL   1XPBAP8X9ND759423   579       FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16947     2022   PTRBL   1XPBAP8X0ND759424   579       PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16948     2022   VOLVO   4V4W19EG9NN607675   VNR42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16949     2022   VOLVO   4V4W19EG0NN607676   VNR42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16950     2022   VOLVO   4V4W19EG2NN607677   VNR42T    TX      San Antonio
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16951     2022   VOLVO   4V4W19EG4NN607678   VNR42T    FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16952     2022   VOLVO   4V4W19EG6NN607679   VNR42T    MD      Hagerstown
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16953     2022   VOLVO   4V4W19EG2NN607680   VNR42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16954     2022   VOLVO   4V4W19EG4NN607681   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16955     2022   VOLVO   4V4W19EG6NN607682   VNR42T    GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16956     2022   VOLVO   4V4W19EG8NN607683   VNR42T    KY      Waddy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16957     2022   VOLVO   4V4W19EGXNN607684   VNR42T    NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16958     2022   VOLVO   4V4W19EG1NN607685   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16959     2022   VOLVO   4V4W19EG3NN607686   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16960     2022   VOLVO   4V4W19EG5NN607687   VNR42T    CO      Grand Junction
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16961     2022   VOLVO   4V4W19EG7NN607688   VNR42T    IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16962     2022   VOLVO   4V4W19EG9NN607689   VNR42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16963     2022   VOLVO   4V4W19EG5NN607690   VNR42T    TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16964     2022   VOLVO   4V4W19EG7NN607691   VNR42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16965     2022   VOLVO   4V4W19EG9NN607692   VNR42T    VA      Elliston
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16966     2022   VOLVO   4V4W19EG0NN607693   VNR42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16967     2022   VOLVO   4V4W19EG2NN607694   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16968     2022   VOLVO   4V4W19EG4NN607695   VNR42T    NC      Charlotte
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16969     2022   VOLVO   4V4W19EG6NN607696   VNR42T    FL      Orlando
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16970     2022   VOLVO   4V4W19EG8NN607697   VNR42T    OH      Lima
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY16971     2022   VOLVO   4V4W19EGXNN607698   VNR42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY47487     2008   VOLVO   4V4M19EH28N498237   VNM42T    NM      Albuquerque
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY47554     2016   VOLVO   4V4M19EGXGN962784   VNM42T    KS      Wichita
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY47576     2016   VOLVO   4V4M19EG3GN944739   VNM42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY47577     2016   VOLVO   4V4M19EG4GN962795   VNM42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY47578     2017   VOLVO   4V4M19EG1HN962898   VNM42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY47579     2017   VOLVO   4V4M19EG1HN962920   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48000     2017   VOLVO   4V4M19EG1HN985162   VNM42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48001     2017   VOLVO   4V4M19EG3HN985163   VNM42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48003     2017   VOLVO   4V4M19EG7HN985165   VNM42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48004     2017   VOLVO   4V4M19EG9HN985166   VNM42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48005     2017   VOLVO   4V4M19EG4HN985172   VNM42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48007     2017   VOLVO   4V4M19EG8HN985174   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48008     2017   VOLVO   4V4M19EGXHN985175   VNM42T    TX      Irving
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48009     2017   VOLVO   4V4M19EG1HN985176   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48010     2018   VOLVO   4V4M19EG1JN895113   VNM42T    MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48011     2018   VOLVO   4V4M19EG3JN895114   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48012     2018   VOLVO   4V4M19EG5JN895115   VNM42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48013     2018   VOLVO   4V4M19EG7JN895116   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48014     2018   VOLVO   4V4M19EG9JN895117   VNM42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48015     2018   VOLVO   4V4M19EG0JN895118   VNM42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48016     2018   VOLVO   4V4M19EG2JN895119   VNM42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48017     2018   VOLVO   4V4M19EG9JN895120   VNM42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48018     2018   VOLVO   4V4M19EG0JN895121   VNM42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48019     2018   VOLVO   4V4M19EG2JN895122   VNM42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48020     2018   VOLVO   4V4M19EG4JN895123   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48021     2018   VOLVO   4V4M19EG6JN895124   VNM42T    PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48022     2018   VOLVO   4V4M19EG8JN895125   VNM42T    IN      South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48023     2018   VOLVO   4V4M19EGXJN895126   VNM42T    IL      Hodgkins
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48024     2018   VOLVO   4V4M19EG1JN895127   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48025     2019   VOLVO   4V4W19EG5KN902039   VNM42T    OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48026     2019   VOLVO   4V4W19EG1KN902040   VNM42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48027     2019   VOLVO   4V4W19EG3KN902041   VNM42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48028     2019   VOLVO   4V4W19EG5KN902042   VNM42T    IN      Hammond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48029     2019   VOLVO   4V4W19EG7KN902043   VNM42T    IN      South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48030     2019   VOLVO   4V4W19EG9KN902044   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48031     2019   VOLVO   4V4W19EG0KN902045   VNM42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48032     2019   VOLVO   4V4W19EG2KN902046   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48033     2019   VOLVO   4V4W19EG4KN902047   VNM42T    IN      Hammond
                    Case 23-11069-CTG            Doc 969-1          Filed 10/26/23       Page 895 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL    State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48034     2019   VOLVO   4V4W19EG6KN902048   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48035     2019   VOLVO   4V4W19EG8KN902049   VNM42T    IN      Hammond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48036     2022   VOLVO   4V4W19EG8NN285479   VNM42T    IN      Hammond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48037     2022   VOLVO   4V4W19EG4NN285480   VNM42T    IN      Hammond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48038     2022   VOLVO   4V4W19EG6NN285481   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48039     2022   VOLVO   4V4W19EG8NN285482   VNM42T    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48040     2022   VOLVO   4V4W19EGXNN285483   VNM42T    IN      Hammond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48041     2022   VOLVO   4V4W19EG1NN285484   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48042     2022   VOLVO   4V4W19EG3NN285485   VNM42T    IN      Hammond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48043     2022   VOLVO   4V4W19EG5NN285486   VNM42T    OH      Richfield
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48044     2022   VOLVO   4V4W19EG7NN285487   VNM42T    IN      Hammond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY48045     2022   VOLVO   4V4W19EG9NN285488   VNM42T    IN      Hammond
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49000     2017   VOLVO   4V4M19EG0HN985167   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49001     2017   VOLVO   4V4M19EG2HN985168   VNM42T    UT      Beaver
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49002     2017   VOLVO   4V4M19EG4HN985169   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49003     2017   VOLVO   4V4M19EG0HN985170   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49004     2017   VOLVO   4V4M19EG2HN985171   VNM42T    WA      Everett
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49005     2017   VOLVO   4V4M19EG3HN985177   VNM42T    NV      Sparks
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49006     2017   VOLVO   4V4M19EG5HN985178   VNM42T    NV      Las Vegas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49007     2017   VOLVO   4V4M19EG7HN985179   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49008     2017   VOLVO   4V4M19EG3HN985180   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49009     2017   VOLVO   4V4M19EG5HN985181   VNM42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49010     2018   VOLVO   4V4M19EG3JN895128   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49011     2018   VOLVO   4V4M19EG5JN895129   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49012     2018   VOLVO   4V4M19EG1JN895130   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49013     2018   VOLVO   4V4M19EG3JN895131   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49014     2018   VOLVO   4V4M19EG5JN895132   VNM42T    NV      Elko
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49015     2019   VOLVO   4V4W19EG4KN902050   VNM42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49016     2019   VOLVO   4V4W19EG6KN902051   VNM42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49017     2019   VOLVO   4V4W19EG8KN902052   VNM42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49018     2019   VOLVO   4V4W19EGXKN902053   VNM42T    MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49019     2019   VOLVO   4V4W19EG1KN902054   VNM42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49020     2019   VOLVO   4V4W19EG3KN902055   VNM42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49021     2019   VOLVO   4V4W19EG5KN902056   VNM42T    WA      Seattle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49022     2019   VOLVO   4V4W19EG7KN902057   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49023     2019   VOLVO   4V4W19EG9KN902058   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49024     2022   VOLVO   4V4W19EG7NN285490   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49025     2022   VOLVO   4V4W19EG9NN285491   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49026     2022   VOLVO   4V4W19EG0NN285492   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49027     2022   VOLVO   4V4W19EG2NN285493   VNM42T    OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49028     2022   VOLVO   4V4W19EG4NN285494   VNM42T    OK      Tulsa
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49029     2022   VOLVO   4V4W19EG6NN285495   VNM42T    TX      Lubbock
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49030     2022   VOLVO   4V4W19EG8NN285496   VNM42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49031     2022   VOLVO   4V4W19EGXNN285497   VNM42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49032     2022   VOLVO   4V4W19EG1NN285498   VNM42T    OR      Eugene
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49033     2022   VOLVO   4V4W19EG3NN285499   VNM42T    OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49034     2022   VOLVO   4V4W19EG6NN285500   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49035     2022   VOLVO   4V4W19EG8NN285501   VNM42T    UT      St. George
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49036     2022   VOLVO   4V4W19EGXNN285502   VNM42T    CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49037     2022   VOLVO   4V4W19EG1NN285503   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49038     2022   VOLVO   4V4W19EG3NN285504   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49039     2022   VOLVO   4V4W19EG5NN285505   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49040     2022   VOLVO   4V4W19EG7NN285506   VNM42T    NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49041     2022   VOLVO   4V4W19EG9NN285507   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49042     2022   VOLVO   4V4W19EG0NN285508   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY49043     2022   VOLVO   4V4W19EG0NN285489   VNM42T    UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY81689     2009   VOLVO   4V4M19EHX9N283917   VNM42     UT      St. George
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY81824     2014   VOLVO   4V4M19EH0EN161397   VNM42     CA      San Diego
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY81832     2014   VOLVO   4V4M19EH6EN161405   VNM42     OR      Central Point
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY81971     2016   NVSTR   3HSDGAPN2GN214596   PRO S     CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY81972     2016   NVSTR   3HSDGAPN4GN214597   PRO S     CA      Orange
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82042     2017   PTRBL   1XPBA48X7HD441884   579       CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82046     2017   PTRBL   1XPBA48X4HD441888   579       CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82078     2018   PTRBL   1XPBA48X2JD478931   579       CA      Fontana
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82083     2018   PTRBL   1XPBA48X1JD478936   579       CA      Sacramento
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82087     2018   PTRBL   1XPBA48X3JD478940   579       WA      Pasco
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82108     2018   PTRBL   1XPBA48X0JD478961   579       WA      Seattle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82111     2018   PTRBL   1XPBA48X6JD478964   579       CA      Downey
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82112     2018   PTRBL   1XPBA48X8JD478965   579       CA      Bloomington
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 896 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82125    2019   PTRBL   1XPBAP8X8KD613378   579         IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82157    2019   PTRBL   1XPBA48X2KD613410   579         WA      Seattle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82162    2019   PTRBL   1XPBA48X1KD613415   579         MT      Missoula
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82165    2019   PTRBL   1XPBA48X7KD613418   579         WA      Seattle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82242    2021   PTRBL   1XPBAP8X1MD758314   579         CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82252    2021   PTRBL   1XPBAP8X4MD758324   579         WA      Union Gap
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82272    2021   PTRBL   1XPBAP8XXMD758344   579         CA      Brisbane
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82273    2021   PTRBL   1XPBAP8X1MD758345   579         NV      Las Vegas
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82274    2021   PTRBL   1XPBAP8X3MD758346   579         CA      Fontana
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82276    2021   PTRBL   1XPBAP8X7MD758348   579         WA      Seattle
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82312    2022   PTRBL   1XPBAP8X9ND758384   579         CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82319    2022   PTRBL   1XPBAP8X6ND758391   579         CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82335    2022   PTRBL   1XPBAP8X6ND758407   579         AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82336    2022   PTRBL   1XPBAP8X8ND758408   579         OH      Columbus
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82337    2022   PTRBL   1XPBAP8XXND758409   579         IN      South Bend
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82366    2022   PTRBL   1XPBAP8X6ND758438   579         CA      Gardena
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82371    2022   PTRBL   1XPBAP8XXND758443   579         CA      Orange
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82373    2022   PTRBL   1XPBAP8X3ND758445   579         CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82382    2022   PTRBL   1XPBAP8X4ND758454   579         CA      Pico Rivera
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82399    2022   PTRBL   1XPBAP8X4ND758471   579         CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82432    2022   PTRBL   1XPBAP8X4ND758504   579         CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82433    2022   PTRBL   1XPBAP8X6ND758505   579         CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82459    2022   VOLVO   4V4W19EH3NN286192   VNR42       IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82460    2022   VOLVO   4V4W19EH5NN286193   VNR42       ID      Twin Falls
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82461    2022   VOLVO   4V4W19EH7NN286194   VNR42       UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82462    2022   VOLVO   4V4W19EH9NN286195   VNR42       UT      Beaver
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82464    2022   VOLVO   4V4W19EH2NN286197   VNR42       TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82496    2022   VOLVO   4V4W19EH0NN286229   VNR42       OR      Portland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82505    2022   VOLVO   4V4W19EH1NN286238   VNR42       WA      Pasco
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82522    2022   VOLVO   4V4W19EH1NN286255   VNR42       WA      Pasco
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82789    2022   VOLVO   4V4W19EH2NN286300   VNR         CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82820    2022   VOLVO   4V4W19EH8NN285832   VNR         CA      Tracy
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY82837    2022   VOLVO   4V4W19EH3NN285849   VNR         WA      Pasco
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY875193   2007   VOLVO   4V4M19GF27N446729   VNM42T      TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY885008   2008   VOLVO   4V4M19GFX8N462548   VNM42T      GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY885064   2008   VOLVO   4V4M19EG88N262814   VNM42T      OH      Copley
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY885109   2009   VOLVO   4V4M19EG49N263895   VNM42T      MS      Richland
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY885121   2009   VOLVO   4V4M19EG79N263907   VNM42T      TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY885159   2009   VOLVO   4V4M19EG49N263945   VNM42T      MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY885186   2009   VOLVO   4V4M19EG79N263972   VNM42T      IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY885195   2009   VOLVO   4V4M19EG89N263981   VNM42T      TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐SA   RDWY9331     2019   PTRBL   1XPBD49X1KD617826   579         CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY50973    2007   VOLVO   4V4MC9GF47N446743   VNM64T      TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY51053    2008   VOLVO   4V4MC9GG98N461992   VNM64T      GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY51103    2008   VOLVO   4V4MC9EG18N498280   VNM64T      TX      Irving
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY51108    2008   VOLVO   4V4MC9EG08N498285   VNM64T      OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY51122    2008   VOLVO   4V4MC9EG08N498299   VNM64T      TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY51200    2009   VOLVO   4V4MC9EG99N263790   VNM64T      TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70012    2012   VOLVO   4V4MC9EGXCN555634   VNM64T      CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70140    2012   VOLVO   4V4NC9EG4CN556394   VNL64300    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70141    2012   VOLVO   4V4NC9EGXCN556397   VNL64300    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70144    2013   VOLVO   4V4NC9EG5DN144292   VNL64300    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70145    2013   VOLVO   4V4NC9EH8DN148846   VNL64300    CA      Sun Valley
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70147    2014   VOLVO   4V4NC9EJ1EN160311   VNL64300    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70148    2014   VOLVO   4V4NC9EJ3EN160312   VNL64300    IL      Bolingbrook
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70149    2014   VOLVO   4V4NC9EJ5EN160313   VNL64300    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70150    2014   VOLVO   4V4NC9EJ2EN160317   VNL64300    IL      Hodgkins
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70151    2014   VOLVO   4V4NC9EJ4EN160318   VNL64300    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70152    2014   VOLVO   4V4NC9EHXEN172325   VNL64300    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70153    2014   VOLVO   4V4NC9EH1EN172326   VNL64300    IL      Montgomery
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70154    2014   VOLVO   4V4NC9EH7EN172329   VNL64300    IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70155    2014   VOLVO   4V4NC9EH3EN172330   VNL64300    IL      Wheeling
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70156    2015   VOLVO   4V4NC9EHXFN186176   VNL64300    CA      San Bernardino
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70157    2015   VOLVO   4V4NC9EH0FN186185   VNL64300    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70159    2015   VOLVO   4V4NC9EG7FN909120   VNL64300    CA      Bloomington
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70212    2019   PTRBL   1XPBAK9X7KD624602   579 D       TX      Irving
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70220    2021   VOLVO   4V4WC9EGXMN286030   VNR64T300   TX      Irving
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70221    2021   VOLVO   4V4WC9EG1MN286031   VNR64T300   TX      El Paso
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70222    2021   VOLVO   4V4WC9EG3MN286032   VNR64T300   PA      Carlisle
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23       Page 897 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70223    2021   VOLVO   4V4WC9EG5MN286033   VNR64T300   FL      Tampa
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70224    2021   VOLVO   4V4WC9EG7MN286034   VNR64T300   NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70225    2021   VOLVO   4V4WC9EG9MN286035   VNR64T300   MO      Strafford
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70227    2021   VOLVO   4V4WC9EG2MN286037   VNR64T300   OH      Copley
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70228    2021   VOLVO   4V4WC9EG4MN286038   VNR64T300   TX      Irving
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70229    2021   VOLVO   4V4WC9EG6MN286039   VNR64T300   IL      Bolingbrook
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70230    2021   VOLVO   4V4WC9EG2MN286040   VNR64T300   IL      Montgomery
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70231    2021   VOLVO   4V4WC9EG4MN286041   VNR64T300   OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70232    2021   VOLVO   4V4WC9EG6MN286042   VNR64T300   PA      Carlisle
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70233    2021   VOLVO   4V4WC9EG8MN286043   VNR64T300   NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70234    2021   VOLVO   4V4WC9EGXMN286044   VNR64T300   OK      Oklahoma City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70235    2021   VOLVO   4V4WC9EG1MN286045   VNR64T300   IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70236    2021   VOLVO   4V4WC9EG3MN286046   VNR64T300   TX      Irving
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70237    2021   VOLVO   4V4WC9EG5MN286047   VNR64T300   CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70238    2021   VOLVO   4V4WC9EG7MN286048   VNR64T300   IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70239    2021   VOLVO   4V4WC9EG9MN286049   VNR64T300   PA      Bensalem
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70240    2022   VOLVO   4V4WC9EG3NN286050   VNR64T300   MO      Kansas City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70241    2022   VOLVO   4V4WC9EG5NN286051   VNR64T300   VT      Bellows Falls
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70242    2022   VOLVO   4V4WC9EG7NN286052   VNR64T300   TX      Irving
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70243    2022   VOLVO   4V4WC9EG9NN286053   VNR64T300   CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70244    2022   VOLVO   4V4WC9EG0NN286054   VNR64T300   CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70245    2022   VOLVO   4V4WC9EG2NN286055   VNR64T300   TX      McAllen
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70246    2022   VOLVO   4V4WC9EG4NN286056   VNR64T300   OH      Copley
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70247    2022   VOLVO   4V4WC9EG6NN286057   VNR64T300   MN      Duluth
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70248    2022   VOLVO   4V4WC9EG8NN286058   VNR64T300   CO      Aurora
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70249    2022   VOLVO   4V4WC9EGXNN286059   VNR64T300   MN      Burnsville
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70250    2022   VOLVO   4V4WC9EG6NN286060   VNR64T300   TX      Houston
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70251    2022   VOLVO   4V4WC9EG8NN286061   VNR64T300   MI      Taylor
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70252    2022   VOLVO   4V4WC9EGXNN286062   VNR64T300   TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70253    2022   VOLVO   4V4WC9EG1NN286063   VNR64T300   NJ      Jersey City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70254    2022   VOLVO   4V4WC9EG3NN286064   VNR64T300   TX      Dallas
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70255    2022   VOLVO   4V4WC9EG5NN286065   VNR64T300   TX      Irving
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70256    2022   VOLVO   4V4WC9EG7NN286066   VNR64T300   IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70257    2022   VOLVO   4V4WC9EG9NN286067   VNR64T300   TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70258    2022   VOLVO   4V4WC9EG0NN286068   VNR64T300   TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70259    2022   VOLVO   4V4WC9EG2NN286069   VNR64T300   IL      Bolingbrook
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70260    2022   VOLVO   4V4WC9EG9NN286070   VNR64T300   NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70261    2022   VOLVO   4V4WC9EG0NN286071   VNR64T300   TN      Knoxville
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70262    2022   VOLVO   4V4WC9EG2NN286072   VNR64T300   NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70263    2022   VOLVO   4V4WC9EG4NN286073   VNR64T300   MN      Saint Cloud
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70264    2022   VOLVO   4V4WC9EG6NN286074   VNR64T300   NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70265    2022   VOLVO   4V4WC9EG8NN286075   VNR64T300   TX      Houston
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70266    2022   VOLVO   4V4WC9EGXNN286076   VNR64T300   TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70267    2022   VOLVO   4V4WC9EG1NN286077   VNR64T300   IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70268    2022   VOLVO   4V4WC9EG3NN286078   VNR64T300   FL      Tampa
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70269    2022   VOLVO   4V4WC9EG5NN286079   VNR64T300   UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70270    2022   VOLVO   4V4WC9EG1NN286080   VNR64T300   IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70271    2022   VOLVO   4V4WC9EG3NN286081   VNR64T300   GA      Marietta
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70272    2022   VOLVO   4V4WC9EG5NN286082   VNR64T300   FL      Fort Myers
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70273    2022   VOLVO   4V4WC9EG7NN286083   VNR64T300   IL      Chicago Heights
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70274    2022   VOLVO   4V4WC9EG9NN286084   VNR64T300   IL      Montgomery
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY70275    2022   VOLVO   4V4WC9EG0NN286085   VNR64T300   TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY775089   2007   VOLVO   4V4MC9GF87N449497   VNM64T      OH      Copley
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY775124   2007   VOLVO   4V4MC9GF07N449512   VNM64T      MO      Saint Louis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY775166   2007   VOLVO   4V4MC9GFX7N449355   VNM64T      IN      Indianapolis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY775187   2007   VOLVO   4V4MC9GF67N449532   VNM64T      OR      Portland
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY775216   2007   VOLVO   4V4MC9GF07N461918   VNM64T      NY      Tonawanda
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785116   2009   VOLVO   4V4MC9EG39N263767   VNM64T      IL      Montgomery
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785118   2009   VOLVO   4V4MC9EG79N263769   VNM64T      FL      Jacksonville
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785128   2009   VOLVO   4V4MC9EG39N283601   VNM64T      TX      Irving
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785129   2009   VOLVO   4V4MC9EG59N283602   VNM64T      TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785161   2009   VOLVO   4V4MC9EG79N283634   VNM64T      UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785169   2009   VOLVO   4V4MC9EG69N283642   VNM64T      OH      Copley
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785173   2009   VOLVO   4V4MC9EG39N283646   VNM64T      CO      Henderson
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785215   2009   VOLVO   4V4MC9EG89N283819   VNM64T      NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785225   2009   VOLVO   4V4MC9EG09N283829   VNM64T      CT      Cheshire
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785238   2009   VOLVO   4V4MC9EG39N283842   VNM64T      TN      Memphis
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785248   2009   VOLVO   4V4MC9EG69N283852   VNM64T      TN      Nashville
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785249   2009   VOLVO   4V4MC9EG89N283853   VNM64T      OH      Copley
                    Case 23-11069-CTG            Doc 969-1         Filed 10/26/23        Page 898 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2    EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY785257   2009   VOLVO   4V4MC9EG79N283861   VNM64T         NY      Maybrook
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY9250     2014   VOLVO   4V4MC9EH7EN161438   VNM42          UT      Salt Lake City
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY9258     2014   VOLVO   4V4MC9EH6EN161446   VNM42          WA      Pasco
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY9310     2016   NVSTR   3HSDJAPR5GN214614   PRO S          AZ      Phoenix
 YRCF     ROAD TRACTOR     RTR‐TA   RDWY9334     2019   PTRBL   1XPBD49X7KD617829   579            CO      Aurora
 YRCF     SHOW TRAILER     SHOW     RDWY393009   1978   PINES   323CDV7814          UNKNOWN        CA      Bloomington
 YRCF     SHOW TRAILER     SHOW     RDWY393024   1981   HOBBS   1H5V04529BM018817   UNKNOWN        MD      Landover
 YRCF     SHOW TRAILER     SHOW     RDWY393032   1981   HOBBS   1H5V04529BM018851   UNKNOWN        TX      San Antonio
 YRCF     SHOW TRAILER     SHOW     RDWY393041   1984   STRCK   1S12E948XED261516   UNKNOWN        IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW     RDWY393045   1984   STRCK   1S12E9480ED261539   UNKNOWN        NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW     RDWY393051   1984   STRCK   1S12E9481ED261565   UNKNOWN        UT      St. George
 YRCF     SHOW TRAILER     SHOW     RDWY393101   1984   STRCK   1S12E9483ED261518   UNKNOWN        NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW     RDWY393140   1986   FRUHF   1H2V04824GH052365   UNKNOWN        CA      Bloomington
 YRCF     SHOW TRAILER     SHOW     RDWY6073     1986   PINES   1PNX482S6GKA23162   4814AXP        NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW     RDWY861602   2005   GRTDN   1GRAA96265K263108                  CO      Aurora
 YRCF     SHOW TRAILER     SHOW     RDWY890043   1999   STGHT   1DW1A5322XS300286   ************   NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW     RDWY890067   2001   WABSH   1JJV532W21L763638   ************   FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890219   2000   STGHT   1DW1A4822YS323717   VARIOUS        VA      Chesapeake
 YRCF     SHOW TRAILER     SHOW     RDWY890257   2001   STGHT   1DW1A482X1S443206                  TN      Memphis
 YRCF     SHOW TRAILER     SHOW     RDWY890262   2001   STGHT   1DW1A48291S443214                  FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890266   2001   STGHT   1DW1A48271S443230                  MD      Landover
 YRCF     SHOW TRAILER     SHOW     RDWY890269   2001   STGHT   1DW1A48291S427806                  AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW     RDWY890275   2001   STGHT   1DW1A48291S443228                  IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW     RDWY890277   2001   GRTDN   1GRAA96231T008517                  MI      Taylor
 YRCF     SHOW TRAILER     SHOW     RDWY890285   2001   GRTDN   1GRAA96271T008519                  CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW     RDWY890289   2001   GRTDN   1GRAA96201T008507                  CO      Henderson
 YRCF     SHOW TRAILER     SHOW     RDWY890290   2001   GRTDN   1GRAA96221T008508                  NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW     RDWY890291   2001   GRTDN   1GRAA96241T008509                  TX      Irving
 YRCF     SHOW TRAILER     SHOW     RDWY890298   2001   STRCK   1S12E94861D466910                  CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW     RDWY890318   2001   STRCK   1S12E94811D466930                  FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890323   2001   STRCK   1S12E94831D466945                  OH      Columbus
 YRCF     SHOW TRAILER     SHOW     RDWY890331   2001   STRCK   1S12E94821D466953                  TX      Austin
 YRCF     SHOW TRAILER     SHOW     RDWY890335   2001   STRCK   1S12E948X1D466957                  FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890341   2001   STRCK   1S12E94851D466963                  NY      Brooklyn
 YRCF     SHOW TRAILER     SHOW     RDWY890343   2001   STRCK   1S12E94891D466965   VARIOUS        GA      Marietta
 YRCF     SHOW TRAILER     SHOW     RDWY890351   2001   STRCK   1S12E94881D466973                  IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW     RDWY890353   2001   STRCK   1S12E94811D466975                  FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890354   2001   STRCK   1S12E94831D466976                  FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890357   2001   STRCK   1S12E94891D466979   VARIOUS        TX      Houston
 YRCF     SHOW TRAILER     SHOW     RDWY890415   1997   WABSH   1JJV452T3VL429550   SA 102 MC      OH      Columbus
 YRCF     SHOW TRAILER     SHOW     RDWY890433   2001   WABSH   1JJV532W11L669752                  CA      Brisbane
 YRCF     SHOW TRAILER     SHOW     RDWY890445   2001   WABSH   1JJV532WX1L738423                  PA      Bensalem
 YRCF     SHOW TRAILER     SHOW     RDWY890513   1999   WABSH   1JJV482F5YF626069   FBHLPI‐48      FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890548   2000   TRLMB   1PT01JAH1Y6007328   USED           MN      Burnsville
 YRCF     SHOW TRAILER     SHOW     RDWY890609   2000   DORSY   1DTV41Z28YA278923   ************   CA      Gardena
 YRCF     SHOW TRAILER     SHOW     RDWY890672   1999   FRUHF   1JJV452F9XF543029   FBHLP9‐45      MN      Burnsville
 YRCF     SHOW TRAILER     SHOW     RDWY890677   1999   FRUHF   1JJV452F2XF543034   FBHLP9‐45      CA      Orange
 YRCF     SHOW TRAILER     SHOW     RDWY890695   1999   FRUHF   1JJV452F4XF543052   FBHLP9‐45      FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890708   2003   WABSH   1JJV482W93L849483   DVCVHPC        CO      Aurora
 YRCF     SHOW TRAILER     SHOW     RDWY890715   1999   FRUHF   1JJV452FXXF543072   FBHLP9‐45      IL      Rockford
 YRCF     SHOW TRAILER     SHOW     RDWY890728   1999   FRUHF   1JJV452F8XF543085   FBHLP9‐45      NJ      Millville
 YRCF     SHOW TRAILER     SHOW     RDWY890772   1999   FRUHF   1JJV452F2XF543129   FBHLP9‐45      CA      Brisbane
 YRCF     SHOW TRAILER     SHOW     RDWY890783   1999   FRUHF   1JJV452F1XF543140   FBHLP9‐45      FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890794   1999   FRUHF   1JJV452F6XF543151   FBHLP9‐45      CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW     RDWY890795   1999   FRUHF   1JJV452F8XF543152   FBHLP9‐45      IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW     RDWY890825   1999   FRUHF   1JJV452F6XF543182   FBHLP9‐45      IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW     RDWY890827   1999   FRUHF   1JJV452FXXF543184   FBHLP9‐45      NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW     RDWY890830   1999   FRUHF   1JJV452F5XF543187   FBHLP9‐45      MD      Landover
 YRCF     SHOW TRAILER     SHOW     RDWY890831   1999   FRUHF   1JJV452F7XF543188   FBHLP9‐45      CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW     RDWY890878   1999   FRUHF   1JJV452F1XF543235   FBHLP9‐45      NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW     RDWY890923   1999   WABSH   1JJV452F3XF625970   FBHLP8‐45      IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW     RDWY890932   1999   WABSH   1JJV452FXXF625979   FBHLP8‐45      CA      Gardena
 YRCF     SHOW TRAILER     SHOW     RDWY890949   1999   WABSH   1JJV452FXXF625996   FBHLP8‐45      TX      Houston
 YRCF     SHOW TRAILER     SHOW     RDWY890950   1999   WABSH   1JJV452F1XF625997   FBHLP8‐45      IL      Wheeling
 YRCF     SHOW TRAILER     SHOW     RDWY890958   1999   WABSH   1JJV452F5XF626005   FBHLP8‐45      FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY890963   1999   WABSH   1JJV452F9XF626010   FBHLP8‐45      IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW     RDWY890969   1999   WABSH   1JJV452FXXF626016   FBHLP8‐45      CA      Tracy
 YRCF     SHOW TRAILER     SHOW     RDWY890995   1999   WABSH   1JJV452F0XF626042   FBHLP8‐45      FL      Orlando
 YRCF     SHOW TRAILER     SHOW     RDWY891017   1999   WABSH   1JJV452FXXF626064   FBHLP8‐45      CA      Bloomington
                    Case 23-11069-CTG           Doc 969-1         Filed 10/26/23          Page 899 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     SHOW TRAILER     SHOW    RDWY891035   1999   TRLMB   1PNV452B9YK226700   ************   CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY891044   1999   PINES   1PNV452BXYK226690   ************   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891066   2000   TRLMB   1PT01JAH4Y9016801                  WI      Oak Creek
 YRCF     SHOW TRAILER     SHOW    RDWY891070   2000   TRLMB   1PT01JAH3Y9016806                  IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY891071   2000   TRLMB   1PT01JAH5Y9016807   VARIOUS        CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY891074   2000   TRLMB   1PT01JAH5Y9016810                  NY      Maybrook
 YRCF     SHOW TRAILER     SHOW    RDWY891100   2001   WABSH   1JJV532W51L669740   1JJV           MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY891101   2001   WABSH   1JJV532W81L737982   1JJV           FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY891120   2001   WABSH   1JJV532W81L738274   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891134   2001   WABSH   1JJV532W81L738257   1JJV           AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY891137   2001   WABSH   1JJV532WX1L738275   1JJV           FL      Jacksonville
 YRCF     SHOW TRAILER     SHOW    RDWY891143   2001   WABSH   1JJV532W11L668908   1JJV           PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY891147   2001   WABSH   1JJV532W01L669628   1JJV           NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY891155   2001   WABSH   1JJV532W51L738393   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891161   2001   WABSH   1JJV532W41L738157   1JJV           MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY891167   2001   WABSH   1JJV532WX1L669555   1JJV           MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY891183   2001   WABSH   1JJV532W31L669381   1JJV           PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY891187   2001   WABSH   1JJV532W21L738190   1JJV           VA      Chesapeake
 YRCF     SHOW TRAILER     SHOW    RDWY891205   2001   WABSH   1JJV532W31L669834   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891214   2001   WABSH   1JJV532W41L738207   1JJV           CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY891221   2001   WABSH   1JJV532W21L669078   1JJV           MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY891243   2001   WABSH   1JJV532WX1L669510   1JJV           FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY891253   2001   WABSH   1JJV532W61L738404   1JJV           CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY891282   2001   WABSH   1JJV532WX1L738390   1JJV           CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY891284   2001   WABSH   1JJV532W71L669576   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891286   2001   WABSH   1JJV532W11L738214   1JJV           LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY891297   2001   WABSH   1JJV532W71L669237   1JJV           TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY891301   2001   WABSH   1JJV532W91L669871   1JJV           NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY891309   2001   WABSH   1JJV532W91L738607   1JJV           MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY891311   2001   WABSH   1JJV532W71L738279   1JJV           MD      Baltimore
 YRCF     SHOW TRAILER     SHOW    RDWY891315   2001   WABSH   1JJV532W61L669780   1JJV           OH      Columbus
 YRCF     SHOW TRAILER     SHOW    RDWY891335   2001   WABSH   1JJV532W51L669673   1JJV           PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY891337   2001   WABSH   1JJV532W81L738470   1JJV           OH      Columbus
 YRCF     SHOW TRAILER     SHOW    RDWY891350   2001   WABSH   1JJV532W21L738609   1JJV           TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY891355   2001   WABSH   1JJV532W81L669585   1JJV           CO      Aurora
 YRCF     SHOW TRAILER     SHOW    RDWY891378   2001   WABSH   1JJV532WX1L669748   1JJV           CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW    RDWY891385   2001   WABSH   1JJV532WX1L738051   1JJV           CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY891405   2001   WABSH   1JJV532W01L738513   1JJV           FL      Tampa
 YRCF     SHOW TRAILER     SHOW    RDWY891411   2001   WABSH   1JJV532W31L669171   1JJV           FL      Tampa
 YRCF     SHOW TRAILER     SHOW    RDWY891417   2001   WABSH   1JJV532W11L669735   1JJV           CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY891434   2001   WABSH   1JJV532W81L738095   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891444   2001   WABSH   1JJV532W01L738088   1JJV           AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY891453   2001   WABSH   1JJV532W41L669860   1JJV           CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY891466   2001   WABSH   1JJV532W11L669766   1JJV           FL      Fort Myers
 YRCF     SHOW TRAILER     SHOW    RDWY891469   2001   WABSH   1JJV532W31L669722   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891470   2001   WABSH   1JJV532W71L669531   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891471   2001   WABSH   1JJV532W11L669590   1JJV           FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY891473   2001   WABSH   1JJV532W61L738578   1JJV           CO      Aurora
 YRCF     SHOW TRAILER     SHOW    RDWY891484   2001   WABSH   1JJV532W21L738321   1JJV           FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY891499   2001   WABSH   1JJV532W51L669849   1JJV           CO      Henderson
 YRCF     SHOW TRAILER     SHOW    RDWY891506   2001   WABSH   1JJV532W91L738543   1JJV           NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY891509   2001   WABSH   1JJV532W71L669318   1JJV           FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY891510   2001   WABSH   1JJV532W61L738385   1JJV           PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY891519   2001   WABSH   1JJV532W11L738407   1JJV           MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY891521   2001   WABSH   1JJV532W11L669833   1JJV           TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY891526   2001   WABSH   1JJV532W51L738183   1JJV           FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY891531   2001   WABSH   1JJV532W61L669763   1JJV           FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY891542   2001   WABSH   1JJV532WX1L669006   1JJV           CA      West Sacramento
 YRCF     SHOW TRAILER     SHOW    RDWY891568   2001   WABSH   1JJV532W21L738285   1JJV           NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY891585   2001   WABSH   1JJV532W01L669614   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891588   2001   WABSH   1JJV532W41L738465   1JJV           NC      Charlotte
 YRCF     SHOW TRAILER     SHOW    RDWY891603   2001   WABSH   1JJV532W21L738352   1JJV           CO      Aurora
 YRCF     SHOW TRAILER     SHOW    RDWY891609   2001   WABSH   1JJV532W41L669521   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891629   2001   WABSH   1JJV532W61L738564   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891634   2001   WABSH   1JJV532W71L738525   1JJV           OH      Cincinnati
 YRCF     SHOW TRAILER     SHOW    RDWY891639   2001   WABSH   1JJV532W51L738197   1JJV           IL      Wheeling
 YRCF     SHOW TRAILER     SHOW    RDWY891648   2001   WABSH   1JJV532W01L669175   1JJV           TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY891649   2001   WABSH   1JJV532W51L669625   1JJV           VA      Chesapeake
 YRCF     SHOW TRAILER     SHOW    RDWY891654   2001   WABSH   1JJV532W11L669699   1JJV           CO      Aurora
                    Case 23-11069-CTG           Doc 969-1         Filed 10/26/23          Page 900 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     SHOW TRAILER     SHOW    RDWY891670   2001   WABSH   1JJV532WX1L738096   1JJV           CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY891673   2001   WABSH   1JJV532W81L669344   1JJV           CO      Aurora
 YRCF     SHOW TRAILER     SHOW    RDWY891678   2001   WABSH   1JJV532W31L669798   1JJV           FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY891680   2001   WABSH   1JJV532W21L738108   1JJV           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY891696   2001   WABSH   1JJV532W51L669611   1JJV           TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY891704   2001   WABSH   1JJV532W31L669770   1JJV           NY      Maspeth
 YRCF     SHOW TRAILER     SHOW    RDWY891779   1997   STGHT   1DW1A482XVS101566   USED           IL      Wheeling
 YRCF     SHOW TRAILER     SHOW    RDWY891799   1999   LFKTR   1L01A5321X1140639   1L01           VA      Chesapeake
 YRCF     SHOW TRAILER     SHOW    RDWY891821   1999   TRLMB   1PT01JAH2X6009748   1PT            MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY891826   1998   TRLMB   1PT01JAH5X6003071   1PT            MD      Baltimore
 YRCF     SHOW TRAILER     SHOW    RDWY891834   1999   TRLMB   1PT01JAH2X6003349   1PT            IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY891850   1999   LFKTR   1L01A5328X1141224   1L01           CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY891890   1999   TRLMB   1PT01JAH5X6011414   1PT            MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY891895   1999   LFKTR   1L01A5322X1136695   1L01           CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY891951   1999   LFKTR   1L01A532XX1140526   1L01           MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY891982   1999   TRLMB   1PT01JAH3X6003490   1PT            FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY892159   2000   UTLTY   1UYVS2539YP395816   1UYVS          TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY892161   2000   UTLTY   1UYVS2533YP395813   1UYVS          NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY892167   2000   UTLTY   1UYVS2539YP395802   1UYV           TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY892170   2000   UTLTY   1UYVS2537YP393224   1UYVS          PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY892184   2000   WABSH   1JJV532W7YF643505   1JJV           NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY892190   1999   UTLTY   1UYVS2530XP814070   1UYV           NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY892200   1999   WABSH   1JJV532W9XF563024   1JJV           TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY892253   2000   UTLTY   1UYVS2531YP395261   1UYV           CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY892270   2000   UTLTY   1UYVS253XYP393119   1UYV           FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY892281   1999   MONON   1NNVX5324XM313133   1NNV           CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY892282   1997   STRCK   1S12E953XVD412521                  TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY892284   1999   MONON   1NNVX5321XM313140   1NNV           CA      Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY892290   2001   WABSH   1JJV532W61L738533                  IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY892357   2000   UTLTY   1UYVS2538YP395161   1UYV           IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY892370   1999   PINES   1GRAA062XXS001221   1GRAA          PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY892379   1999   MONON   1NNVX5329XM313435   1NNV           CO      Aurora
 YRCF     SHOW TRAILER     SHOW    RDWY892388   2001   GRTDN   1GRAA96291K237502   ************   CO      Henderson
 YRCF     SHOW TRAILER     SHOW    RDWY892418   1997   UTLTY   1UYVS2488VP064119   USED           MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY892420   2000   TRLMB   1PT01JAHXY8003718   1PT            TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY892443   2000   STGHT   1DW1A4825YS345825   USED           MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY892497   1998   FRUHF   1JJV482F4WF523674   USED           MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY892512   1998   FRUHF   1JJV482F1WF523681   USED           FL      Tampa
 YRCF     SHOW TRAILER     SHOW    RDWY892519   1997   STRCK   1S12E9535VD412538   GLEN MOORE     NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY892525   2000   TRLMB   1PT01JAH616002891   USED           CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW    RDWY892554   1998   FRUHF   1JJV482F1WF530467   1JJV           GA      Marietta
 YRCF     SHOW TRAILER     SHOW    RDWY892556   2000   TRLMB   1PT01JAH4Y6007338   USED           IL      Wheeling
 YRCF     SHOW TRAILER     SHOW    RDWY892580   2000   DORSY   1DTV41Z25YA278894   ************   PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY892590   2000   DORSY   1DTV41Z24YA278904   ************   NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY892596   2000   DORSY   1DTV41Z2XYA278910   ************   NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY892598   2000   DORSY   1DTV41Z23YA278912   ************   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY892610   2000   DORSY   1DTV41Z2XYA278924   ************   NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY892611   2000   DORSY   1DTV41Z21YA278925   ************   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY892638   2000   DORSY   1DTV41Z24YA278952   ************   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY892641   2000   DORSY   1DTV41Z2XYA278955   ************   UT      Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY892668   2000   DORSY   1DTV41Z22YA278982   ************   NY      Brooklyn
 YRCF     SHOW TRAILER     SHOW    RDWY892671   2000   DORSY   1DTV41Z28YA278985   ************   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY892675   2000   DORSY   1DTV41Z25YA278989   ************   CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW    RDWY892682   2000   DORSY   1DTV41Z22YA278996   ************   MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY892687   2000   DORSY   1DTV41Z22YA279002   ************   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY892691   2000   DORSY   1DTV41Z2XYA279006   ************   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY892696   2000   DORSY   1DTV41Z23YA279011   ************   CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY892697   1999   GRTDN   1GRAA0629XB102802   GLEN MOORE     MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY892720   2000   DORSY   1DTV41Z26YA279035   ************   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY892722   2000   DORSY   1DTV41Z2XYA279037   ************   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY892728   1999   GRTDN   1GRAA0623XB001304   GLEN MOORE     CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY892729   2000   DORSY   1DTV41Z27YA279044   ************   TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY892733   2000   DORSY   1DTV41Z24YA279048   ************   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY892735   1999   GRTDN   1GRAA0621XB001317   GLEN MOORE     NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY892746   2000   DORSY   1DTV41Z27YA279061   ************   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY892776   2000   DORSY   1DTV41Z25YA279091   ************   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY892864   1999   TRLMB   1PT01AAH1X9013594   48 FOOT        MI      Taylor
 YRCF     SHOW TRAILER     SHOW    RDWY892875   1999   TRLMB   1PT01AAH6X9013610   48 FOOT        NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY892879   1999   TRLMB   1PT01AAH2X9013619   48 FOOT        TX      Irving
                    Case 23-11069-CTG           Doc 969-1         Filed 10/26/23       Page 901 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     SHOW TRAILER     SHOW    RDWY892974   1995   STRCK   1S12E9489SD389063   1S1            NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY893047   1997   STGHT   1DW1A4823VS098820   1DW            FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY893201   1987   FRUHF   1H2V04825HH031154   FB9F248W       MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY893219   1985   FRUHF   1H2V04823HH030911   FB9F248W       CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY893262   1995   WABSH   1JJV482U5SL237939   1JJV           MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY893267   1985   FRUHF   1H2V04822FH043100   FB9F248W       MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY893288   1985   FRUHF   1H2V04824FH043244   FB9F248W       MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY893329   1981   HOBBS   1H5V04526BM018838   AX9800145      LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY893378   1985   FRUHF   1H2V04826FH043214   FB9F248W       MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY893387   1987   FRUHF   1H2V04824HH030691   FB9F248W       FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY893415   1986   FRUHF   1H2V0482XGH051639   FB9F248W       MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY893446   2000   STGHT   1DW1A4824YS403603   USED           IL      Montgomery
 YRCF     SHOW TRAILER     SHOW    RDWY893461   1987   FRUHF   1H2V04825GH051662   FB9F248W       MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY893492   1999   STGHT   1DW1A5323XS300068   1DW            CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY893615   2000   TRLMB   1PT01JAH6Y6007356   1PT            FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY893618   2000   TRLMB   1PT01JAH1Y6007359   1PT            IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY893620   2000   TRLMB   1PT01JAHXY6007361   1PT            IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY893633   2000   TRLMB   1PT01JAH8Y6007374   1PT            IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY893639   2000   TRLMB   1PT01JAH3Y6007380   1PT            FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY893695   1998   TRLMB   1PT01JAH1W9012122   1PT            FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY893696   1979   FRUHF   MEZ597933           FB97245        IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY893702   1986   FRUHF   1H2V04829GH051972   FB9F248W       TX      Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY893771   1987   FRUHF   1H2V04827HH031124   FB9F248W       MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY893772   1999   STGHT   1DW1A532XXS257378   1DW            PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY893834   2000   TRLMB   1PT01JPH4Y8003141   1PT            MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY893835   2000   TRLMB   1PT01JPH6Y8003142   1PT            MD      Baltimore
 YRCF     SHOW TRAILER     SHOW    RDWY893842   2000   TRLMB   1PT01JPH0Y8002343   1PT            TX      Austin
 YRCF     SHOW TRAILER     SHOW    RDWY893847   2000   TRLMB   1PT01JPH5Y8002368   1PT            TN      Memphis
 YRCF     SHOW TRAILER     SHOW    RDWY893865   2000   TRLMB   1PT01JPH5Y8002337   1PT            LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY893872   2000   TRLMB   1PT01JPH9Y8002356   1PT            MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY893878   2000   TRLMB   1PT01JPH8Y8002364   1PT            CO      Aurora
 YRCF     SHOW TRAILER     SHOW    RDWY893992   1999   STRCK   1S12E948XXD440481   1S1            FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY894000   1999   STRCK   1S12E9482XD440510   1S1            FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY894008   1999   STRCK   1S12E9488XD440480   1S1            NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY894016   1999   STRCK   1S12E9482XD440460   1S1            CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY894037   1999   STRCK   1S12E9486XD440512   1S1            IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY894050   2001   WABSH   1JJV532W61L669861   1JJV           CA      Tracy
 YRCF     SHOW TRAILER     SHOW    RDWY894051   1999   WABSH   1JJV402F4YF632382   FBHLP8‐40      CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY894053   2001   TRLMB   1PT01JPH918001326   1PT            MI      Romulus
 YRCF     SHOW TRAILER     SHOW    RDWY894069   1980   FRUHF   593784              CONSOLIDATED   NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY894193   2000   TRLMB   1PT01JAH1Y6001044   1PT            GA      Marietta
 YRCF     SHOW TRAILER     SHOW    RDWY894208   1987   FRUHF   1H2V04823HH030973   FB9F248W       CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY894225   2000   LFKTR   1L01A5325Y1140726   1L01           IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY894256   1981   HOBBS   1H5V04526BM016975   AX9800145      NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY894260   1981   FRUHF   1H2V04526BH041977   FB97245        CA      San Diego
 YRCF     SHOW TRAILER     SHOW    RDWY894307   1981   FRUHF   1H2V04525BH042040   FB97245        CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY894311   1981   FRUHF   1H5V04520BM016938   AX9800145      CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY894328   1987   FRUHF   1H2V04829HH030718   FB9F248W       CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW    RDWY894424   1987   FRUHF   1H2V04829HH030721   FB9F248W       NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY894460   1987   FRUHF   1H2V0482XHH030954   FB9F248W       MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY894461   1987   FRUHF   1H2V04820HH030736   FB9F248W       NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY894491   1987   FRUHF   1H2V0482XHH030825   FB9F248W       FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY894544   2000   TRLMB   1PT01JAH616002910   USED           CA      San Diego
 YRCF     SHOW TRAILER     SHOW    RDWY894558   1986   FRUHF   1H2V0482XGH052256   FB9F248W       MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY894595   1981   HOBBS   1H5V04527BM008514   AX9800145      TN      Nashville
 YRCF     SHOW TRAILER     SHOW    RDWY894631   1986   FRUHF   1H2V04820GH052024   FB9F248W       CA      Gardena
 YRCF     SHOW TRAILER     SHOW    RDWY894659   1986   FRUHF   1H2V04825GH051645   FB9F248W       CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY894709   1988   FRUHF   1H2V04829JH035715   FB9F248W       NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY894710   2000   DORSY   1DTV41Z23YA279025   ************   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY894754   1987   FRUHF   1H2V04824HH030707   FB9F248W       NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY894760   1986   FRUHF   1H2V04826GH052173   FB9F248W       PA      Line Lexington
 YRCF     SHOW TRAILER     SHOW    RDWY894844   1988   FRUHF   1H2V04827JH035602   FB9F248W       NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY894892   1982   FRUHF   4241                FB97245        NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY894921   1987   FRUHF   1H2V04823HH031217   FB9F248W       MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY894955   1993   FRUHF   1H2V04829PB031501   USFDUGAN       FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896054   1995   WABSH   1JJV482M0SL247889   UNKNOWN        CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY896093   1994   WABSH   1JJV482M6RL209769   UNKNOWN        CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY896140   1995   WABSH   1JJV482M2SL247814   UNKNOWN        CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW    RDWY896157   1995   WABSH   1JJV482M4SL247569   UNKNOWN        MO      Kansas City
                    Case 23-11069-CTG           Doc 969-1         Filed 10/26/23       Page 902 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SHOW TRAILER     SHOW    RDWY896193   1995   WABSH   1JJV482M3SL247806   UNKNOWN      CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY896207   1988   FRUHF   1H2V04824JH035573   FB9F248W     NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896230   1995   STRCK   1S12E9536SD390416   FB9F248W     TN      Knoxville
 YRCF     SHOW TRAILER     SHOW    RDWY896244   1996   GRTDN   1GRAA0621TS039009   FB9F248W     MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896256   1994   LFKTR   1L01A5328R1113022   FB9F248W     FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896264   1992   FRUHF   1H2V05323NE018476   USF GM       MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896271   1992   GRTDN   1GRAA0627NB023416   FB9F248W     FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896272   1996   GRTDN   1GRAA0623TB129150   FB9F248W     TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896275   1996   GRTDN   1GRAA0626TS006801   FB9F248W     CA      West Sacramento
 YRCF     SHOW TRAILER     SHOW    RDWY896381   1995   WABSH   1JJV482M5SL247404   HOLLAND      TN      Knoxville
 YRCF     SHOW TRAILER     SHOW    RDWY896394   1993   STRCK   1S12S8484PD355400   REDDAWAY     TX      Austin
 YRCF     SHOW TRAILER     SHOW    RDWY896397   1993   STRCK   1S12S8486PD355415   REDDAWAY     LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY896399   1993   STRCK   1S12S8489PD355408   REDDAWAY     TN      Memphis
 YRCF     SHOW TRAILER     SHOW    RDWY896427   2000   TRANS   1TTF45203Y1063077                NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896428   2000   TRANS   1TTF45205Y1063078                NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896432   2001   TRANS   1TTF4520811065901                NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896444   1988   DORSY   1DTV12W2XJW030569                CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW    RDWY896446   2000   STRCK   1S12E9538YD447269   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896447   2000   STRCK   1S12E9533YD455215   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896449   2000   STRCK   1S12E9538YD455257   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896450   2000   STRCK   1S12E9532YD455268   GLEN MOORE   MI      Taylor
 YRCF     SHOW TRAILER     SHOW    RDWY896452   2000   STRCK   1S12E9534YD455305   GLEN MOORE   NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896453   2000   STRCK   1S12E953XYD455308   GLEN MOORE   IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY896455   2001   GRTDN   1GRAA06281B053440   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896456   2001   GRTDN   1GRAA06241B053466   GLEN MOORE   TX      Fort Worth
 YRCF     SHOW TRAILER     SHOW    RDWY896458   2001   GRTDN   1GRAA06271G319405   GLEN MOORE   IL      Rockford
 YRCF     SHOW TRAILER     SHOW    RDWY896460   2001   GRTDN   1GRAA06231K239483   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896461   2001   GRTDN   1GRAA06201K239490   GLEN MOORE   OH      Columbus
 YRCF     SHOW TRAILER     SHOW    RDWY896467   2003   WABSH   1JJV532W83L846039   GLEN MOORE   IL      Rockford
 YRCF     SHOW TRAILER     SHOW    RDWY896468   2003   WABSH   1JJV532W33L846143   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896469   2003   WABSH   1JJV532WX3L846155   GLEN MOORE   IL      Wheeling
 YRCF     SHOW TRAILER     SHOW    RDWY896471   2000   STRCK   1S12E9535YD455233   GLEN MOORE   IN      South Bend
 YRCF     SHOW TRAILER     SHOW    RDWY896472   2000   STRCK   1S12E9532YD455237   GLEN MOORE   CA      Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY896476   2001   STRCK   1S12E95391D455368   GLEN MOORE   MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY896477   2002   HYUND   3H3V532C72T028211   3H3V         UT      Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY896478   2000   GRTDN   1GRAA0628YB016107   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896479   2000   GRTDN   1GRAA0628YB016124   GLEN MOORE   CA      Tracy
 YRCF     SHOW TRAILER     SHOW    RDWY896483   2000   STRCK   1S12E9536YD447271   GLEN MOORE   TX      Fort Worth
 YRCF     SHOW TRAILER     SHOW    RDWY896485   2000   STRCK   1S12E9536YD455225   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896486   2001   GRTDN   1GRAA062X1G319396   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896490   2001   GRTDN   1GRAA06241K239511   GLEN MOORE   TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896497   2001   GRTDN   1GRAA06271G319422   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896498   2003   WABSH   1JJV532W93L846034   GLEN MOORE   MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY896500   2000   STRCK   1S12E9534YD465994   GLEN MOORE   NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896503   2001   GRTDN   1GRAA06251G319385   GLEN MOORE   FL      Miami
 YRCF     SHOW TRAILER     SHOW    RDWY896507   2001   GRTDN   1GRAA06261G319394   GLEN MOORE   CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY896511   2001   GRTDN   1GRAA06201K239473   GLEN MOORE   CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY896513   2003   WABSH   1JJV532W73L846033   GLEN MOORE   WI      Oak Creek
 YRCF     SHOW TRAILER     SHOW    RDWY896514   2003   WABSH   1JJV532W73L846128   GLEN MOORE   CA      Tracy
 YRCF     SHOW TRAILER     SHOW    RDWY896518   2001   GRTDN   1GRAA06261B078403   GLEN MOORE   CA      West Sacramento
 YRCF     SHOW TRAILER     SHOW    RDWY896520   2000   STRCK   1S12E9539YD455221   GLEN MOORE   MI      Taylor
 YRCF     SHOW TRAILER     SHOW    RDWY896524   2000   STRCK   1S12E9536YD455290   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896533   2001   STRCK   1S12E95331D455351   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896536   2003   WABSH   1JJV532W43L846149   GLEN MOORE   AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY896539   2000   GRTDN   1GRAA0620YB016005   GLEN MOORE   NY      Brooklyn
 YRCF     SHOW TRAILER     SHOW    RDWY896541   2000   STRCK   1S12E953XYD465997   GLEN MOORE   IL      Wheeling
 YRCF     SHOW TRAILER     SHOW    RDWY896542   2001   GRTDN   1GRAA06271B053462   GLEN MOORE   IL      Rockford
 YRCF     SHOW TRAILER     SHOW    RDWY896543   2001   STRCK   1S12E953X1D455363   GLEN MOORE   IL      Wheeling
 YRCF     SHOW TRAILER     SHOW    RDWY896545   2000   STRCK   1S12E9536YD455211   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896550   2001   GRTDN   1GRAA0624YB011941   GLEN MOORE   NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896551   2000   STRCK   1S12E9539YD447264   GLEN MOORE   PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY896552   2000   STRCK   1S12E9538YD447286   GLEN MOORE   TX      Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896557   2000   STRCK   1S12E9535YD455331   GLEN MOORE   AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY896558   2001   GRTDN   1GRAA06231G319448   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896563   2003   WABSH   1JJV532W33L846062   GLEN MOORE   TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY896564   2000   GRTDN   1GRAA0622YB009704   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896565   2001   GRTDN   1GRAA06251B078411   GLEN MOORE   MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY896569   2000   STRCK   1S12E9530YD465989   GLEN MOORE   TX      Fort Worth
 YRCF     SHOW TRAILER     SHOW    RDWY896570   2000   STRCK   1S12E9538YD466002   GLEN MOORE   TX      Irving
                    Case 23-11069-CTG           Doc 969-1         Filed 10/26/23       Page 903 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SHOW TRAILER     SHOW    RDWY896571   2000   STRCK   1S12E953XYD455258   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896575   2001   GRTDN   1GRAA06281B053454   GLEN MOORE   TN      Knoxville
 YRCF     SHOW TRAILER     SHOW    RDWY896577   2001   GRTDN   1GRAA06221B053465   GLEN MOORE   PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY896582   2001   GRTDN   1GRAA06211K239529   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896584   2001   GRTDN   1GRAA06251K239534   GLEN MOORE   FL      Miami
 YRCF     SHOW TRAILER     SHOW    RDWY896586   2001   STRCK   1S12E953X1D455346   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896587   2003   WABSH   1JJV532W53L846144   GLEN MOORE   IL      Danville
 YRCF     SHOW TRAILER     SHOW    RDWY896588   2003   GRTDN   1GRAA06274D404430   GLEN MOORE   NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896590   2000   GRTDN   1GRAA062XYB016013   GLEN MOORE   NY      Brooklyn
 YRCF     SHOW TRAILER     SHOW    RDWY896593   2000   GRTDN   1GRAA0621YB016028   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896594   2000   GRTDN   1GRAA0622YB016040   GLEN MOORE   MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY896595   2000   GRTDN   1GRAA0621YB016143   GLEN MOORE   TX      Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896598   2000   STRCK   1S12E9533YD447292   GLEN MOORE   MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY896601   2000   STRCK   1S12E9532YD455254   GLEN MOORE   FL      Miami
 YRCF     SHOW TRAILER     SHOW    RDWY896605   2001   GRTDN   1GRAA06221B053451   GLEN MOORE   CA      Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY896611   2001   GRTDN   1GRAA06291K239522   GLEN MOORE   PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY896613   2003   WABSH   1JJV532W03L846066   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896618   2000   GRTDN   1GRAA0623YB016029   GLEN MOORE   PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY896619   2000   GRTDN   1GRAA0627YB015048   GLEN MOORE   PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY896623   2001   GRTDN   1GRAA062X1B053441   GLEN MOORE   FL      Miami
 YRCF     SHOW TRAILER     SHOW    RDWY896624   2001   GRTDN   1GRAA06291K239472   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896625   2001   GRTDN   1GRAA06221K239488   GLEN MOORE   TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896629   2000   GRTDN   1GRAA0620YB008602   GLEN MOORE   CA      Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY896631   2000   STRCK   1S12E9533YD455327   GLEN MOORE   TN      Knoxville
 YRCF     SHOW TRAILER     SHOW    RDWY896632   2003   WABSH   1JJV532W93L846163   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896633   2003   GRTDN   1GRAA06234D404487   GLEN MOORE   IN      Evansville
 YRCF     SHOW TRAILER     SHOW    RDWY896634   2000   GRTDN   1GRAA0629YB016150   GLEN MOORE   FL      Miami
 YRCF     SHOW TRAILER     SHOW    RDWY896636   2003   WABSH   1JJV532W63L846038   GLEN MOORE   TN      Memphis
 YRCF     SHOW TRAILER     SHOW    RDWY896640   2001   STRCK   1S12E95361D455375   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896643   2001   STRCK   1S12E953X1D455377   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896644   2000   STRCK   1S12E9530YD455298   GLEN MOORE   TX      Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896645   2001   GRTDN   1GRAA06231B053412   GLEN MOORE   IN      Jeffersonville
 YRCF     SHOW TRAILER     SHOW    RDWY896646   2001   GRTDN   1GRAA06281BD53468   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896647   2001   GRTDN   1GRAA06231G319384   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896648   2001   GRTDN   1GRAA06211G319402   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896649   2001   GRTDN   1GRAA06231K239452   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896650   2001   GRTDN   1GRAA06291K239455   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896651   2001   GRTDN   1GRAA06241K239492   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896652   2001   GRTDN   1GRAA06261G319427   GLEN MOORE   MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY896657   2000   STRCK   1S12E9533YD455277   GLEN MOORE   NY      Brooklyn
 YRCF     SHOW TRAILER     SHOW    RDWY896664   2000   GRTDN   1GRAA062X1B078405   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896671   2000   GRTDN   1GRAA0625YB016016   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896672   2000   GRTDN   1GRAA0624YB016024   GLEN MOORE   OH      Columbus
 YRCF     SHOW TRAILER     SHOW    RDWY896682   2000   STRCK   1S12E9533YD447289   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896685   2000   STRCK   1S12E9531YD455214   GLEN MOORE   MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY896686   2000   STRCK   1S12E953XYD455227   GLEN MOORE   IL      Wheeling
 YRCF     SHOW TRAILER     SHOW    RDWY896688   2000   STRCK   1S12E9535YD455250   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896690   2000   STRCK   1S12E9534YD466000   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896691   2000   STRCK   1S12E953XYD455261   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896696   2000   STRCK   1S12E9537YD455301   GLEN MOORE   CA      San Diego
 YRCF     SHOW TRAILER     SHOW    RDWY896699   2001   GRTDN   1GRAA06231B053426   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896700   2001   GRTDN   1GRAA06271B053431   GLEN MOORE   IL      McCook
 YRCF     SHOW TRAILER     SHOW    RDWY896702   2001   GRTDN   1GRAA06251B053461   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896704   2001   GRTDN   1GRAA06231G319398   GLEN MOORE   PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY896708   2001   GRTDN   1GRAA06281K239446   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896709   2001   GRTDN   1GRAA06251K239453   GLEN MOORE   MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY896711   2001   GRTDN   1GRAA06271K239471   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896712   2001   GRTDN   1GRAA06271K239485   GLEN MOORE   IL      Rock Island
 YRCF     SHOW TRAILER     SHOW    RDWY896713   2001   GRTDN   1GRAA06271K239499   GLEN MOORE   GA      Marietta
 YRCF     SHOW TRAILER     SHOW    RDWY896714   2001   GRTDN   1GRAA06211K239501   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896716   2001   GRTDN   1GRAA06291K239536   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896718   2001   STRCK   1S12E95371D455336   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896721   2003   WABSH   1JJV532W33L846045   GLEN MOORE   MA      Shrewsbury
 YRCF     SHOW TRAILER     SHOW    RDWY896722   2003   WABSH   1JJV532W43L846135   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896723   2003   WABSH   1JJV532W73L846159   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896724   2003   GRTDN   1GRAA06274D404492   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896728   2000   STRCK   1S12E9538YD455274   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896730   2000   GRTDN   1GRAA0629YB009716   GLEN MOORE   MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY896731   2000   GRTDN   1GRAA0624YB008506   GLEN MOORE   MN      Burnsville
                    Case 23-11069-CTG           Doc 969-1         Filed 10/26/23       Page 904 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State     City
 YRCF     SHOW TRAILER     SHOW    RDWY896732   2000   GRTDN   1GRAA062XYB008509   GLEN MOORE   MN        Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896736   2000   STRCK   1S12E9530YD447296   GLEN MOORE   MD        Landover
 YRCF     SHOW TRAILER     SHOW    RDWY896737   2000   STRCK   1S12E9530YD447301   GLEN MOORE   TX        Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896740   2000   STRCK   1S12E9534YD455272   GLEN MOORE   TX        Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896741   2000   STRCK   1S12E9530YD455284   GLEN MOORE   TX        Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896743   2000   STRCK   1S12E9538YD455324   GLEN MOORE   MO        Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896744   2001   GRTDN   1GRAA06281G319431   GLEN MOORE   IL        Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896746   2003   GRTDN   1GRAA06274D404489   GLEN MOORE   TX        Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896747   2000   GRTDN   1GRAA0629YB016049   GLEN MOORE   MO        Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896748   2000   GRTDN   1GRAA0622YB016104   GLEN MOORE   TX        Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896749   2000   GRTDN   1GRAA0628YB016110   GLEN MOORE   MO        Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896750   2000   GRTDN   1GRAA0622YB016118   GLEN MOORE   CO        Aurora
 YRCF     SHOW TRAILER     SHOW    RDWY896751   2000   GRTDN   1GRAA0624YB016136   GLEN MOORE   MO        Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896752   2000   GRTDN   1GRAA0627YB016146   GLEN MOORE   MO        Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896754   2000   STRCK   1S12E9538YD455291   GLEN MOORE   TX        Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896756   2001   STRCK   1S12E95311D455347   GLEN MOORE   TX        Fort Worth
 YRCF     SHOW TRAILER     SHOW    RDWY896757   2003   WABSH   1JJV532W03L846052   GLEN MOORE   IL        Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896759   2000   GRTDN   1GRAA062XYB008610   GLEN MOORE   TX        Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896760   2003   WABSH   1JJV532W53L846161   GLEN MOORE   FL        Miami
 YRCF     SHOW TRAILER     SHOW    RDWY896762   2000   STRCK   1S12E9535YD455295   GLEN MOORE   IL        Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896765   2003   WABSH   1JJV532W83L846042   GLEN MOORE   MA        North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY896767   2000   STRCK   1S12E9531YD455312   GLEN MOORE   TX        Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896768   2001   GRTDN   1GRAA06201G319391   GLEN MOORE   PA        Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY896769   2000   GRTDN   1GRAA0626YB016039   GLEN MOORE   IL        Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896775   2001   GRTDN   1GRAA06271G319436   GLEN MOORE   MN        Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896776   2001   GRTDN   1GRAA06221G319442   GLEN MOORE   MN        Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896777   2003   WABSH   1JJV532W23L846151   GLEN MOORE   MN        Saint Cloud
 YRCF     SHOW TRAILER     SHOW    RDWY896778   2000   GRTDN   1GRAA0626YB016123   GLEN MOORE   PA        Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY896780   2000   STRCK   1S12E9530YD447279   GLEN MOORE   TX        Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896781   2000   STRCK   1S12E9532YD455321   GLEN MOORE   TX        San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY896782   2003   GRTDN   1GRAA06284D404484   GLEN MOORE   NV        Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896783   2003   GRTDN   1GRAA06214D404486   GLEN MOORE   TX        Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896786   2000   STRCK   1S12E9538YD455209   GLEN MOORE   TX        Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896787   2000   GRTDN   1GRAA0628YB008503   GLEN MOORE   TX        Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896793   2001   GRTDN   1GRAA06251G319404   GLEN MOORE   TN        Knoxville
 YRCF     SHOW TRAILER     SHOW    RDWY896797   2003   WABSH   1JJV532W93L846051   GLEN MOORE   MO        Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896798   2003   WABSH   1JJV532W33L846157   GLEN MOORE   UT        Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY896801   2000   GRTDN   1GRAA0629YB008517   GLEN MOORE   MO        Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896803   2000   GRTDN   1GRAA0625YB008613   GLEN MOORE   MD        Landover
 YRCF     SHOW TRAILER     SHOW    RDWY896804   2000   GRTDN   1GRAA0621YB008625   GLEN MOORE   PA        Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY896805   2001   STRCK   1S12E95381D455345   GLEN MOORE   IL        Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896807   2003   WABSH   1JJV532W63L846153   GLEN MOORE   NJ        Millville
 YRCF     SHOW TRAILER     SHOW    RDWY896809   2000   STRCK   1S12E9538YD447336   GLEN MOORE   TX        Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896811   2003   WABSH   1JJV532W63L846136   GLEN MOORE   TX        Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896814   2003   WABSH   1JJV532W93L846132   GLEN MOORE   TX        San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY896817   2000   STRCK   1S12E9534YD455241   GLEN MOORE   MN        Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896818   2000   STRCK   1S12E9534YD465980   GLEN MOORE   Ontario   Mississauga
 YRCF     SHOW TRAILER     SHOW    RDWY896820   2001   GRTDN   1GRAA06231K239516   GLEN MOORE   IL        Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896828   2000   STRCK   1S12E9532YD447266   GLEN MOORE   WI        Oak Creek
 YRCF     SHOW TRAILER     SHOW    RDWY896830   2000   STRCK   1S12E95351D455366   GLEN MOORE   MN        Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896831   2000   STRCK   1S12E953XYD447337   GLEN MOORE   OH        Columbus
 YRCF     SHOW TRAILER     SHOW    RDWY896840   2003   WABSH   1JJV532W53L846158   GLEN MOORE   NY        Brooklyn
 YRCF     SHOW TRAILER     SHOW    RDWY896843   2001   GRTDN   1GRAA06221B053434   GLEN MOORE   CA        West Sacramento
 YRCF     SHOW TRAILER     SHOW    RDWY896847   2000   STRCK   1S12E9534YD447334   GLEN MOORE   CA        Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY896850   2000   STRCK   1S12E9534YD447317   GLEN MOORE   MO        Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896851   2000   STRCK   1S12E9539YD447314   GLEN MOORE   OH        Columbus
 YRCF     SHOW TRAILER     SHOW    RDWY896852   2001   GRTDN   1GRAA06241B053404   GLEN MOORE   CA        West Sacramento
 YRCF     SHOW TRAILER     SHOW    RDWY896853   2001   GRTDN   1GRAA06221B053417   GLEN MOORE   MN        Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896855   2000   GRTDN   1GRAA0622YB009718   GLEN MOORE   CA        Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY896860   2001   GRTDN   1GRAA06231B053409   GLEN MOORE   TX        San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY896864   2001   GRTDN   1GRAA06291G319390   GLEN MOORE   TX        Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896865   2001   GRTDN   1GRAA06241G319443   GLEN MOORE   TX        Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896867   2001   GRTDN   1GRAA06241K239489   GLEN MOORE   TX        Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896868   2003   WABSH   1JJV532W53L846130   GLEN MOORE   NY        Brooklyn
 YRCF     SHOW TRAILER     SHOW    RDWY896870   2000   GRTDN   1GRAA0626YB011942   GLEN MOORE   TX        San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY896872   2000   GRTDN   1GRAA0626YB016137   GLEN MOORE   TX        San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY896873   2000   GRTDN   1GRAA0622YB008519   GLEN MOORE   TX        Fort Worth
 YRCF     SHOW TRAILER     SHOW    RDWY896875   2001   GRTDN   1GRAA06291B078413   GLEN MOORE   TX        Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896876   2000   GRTDN   1GRAA0628YB016141   GLEN MOORE   MO        Kansas City
                    Case 23-11069-CTG           Doc 969-1         Filed 10/26/23         Page 905 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SHOW TRAILER     SHOW    RDWY896877   2000   GRTDN   1GRAA062XYB016027   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896878   2001   GRTDN   1GRAA06271B053445   GLEN MOORE   CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY896879   2001   GRTDN   1GRAA06241K239539   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896880   2000   STRCK   1JJV532W73L846064   GLEN MOORE   TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY896881   2003   WABSH   1JJV532W53L846046   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896882   2000   GRTDN   1GRAA0625YB016145   GLEN MOORE   CA      Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY896887   2003   WABSH   1JJV532W23L846053   GLEN MOORE   CA      San Diego
 YRCF     SHOW TRAILER     SHOW    RDWY896891   2003   GRTDN   1GRAA06284D404503   GLEN MOORE   CA      Fontana
 YRCF     SHOW TRAILER     SHOW    RDWY896893   2001   GRTDN   1GRAA06251B053413   GLEN MOORE   TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896897   2000   GRTDN   1GRAA0622YB009721   GLEN MOORE   CA      West Sacramento
 YRCF     SHOW TRAILER     SHOW    RDWY896898   2000   STRCK   1S12E9533YD447275   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896899   2000   STRCK   1S12E953XYD447323   GLEN MOORE   CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY896900   2000   STRCK   1S12E953XYD455230   GLEN MOORE   TX      Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896901   2000   STRCK   1S12E9531YD455231   GLEN MOORE   TX      Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896903   2001   GRTDN   1GRAA06261B053470   GLEN MOORE   TX      Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896904   2001   STRCK   1S12E95311D455364   GLEN MOORE   TX      Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896908   2000   STRCK   1S12E9534YD447267   GLEN MOORE   TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY896910   2001   GRTDN   1GRAA06271G319419   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896912   2003   WABSH   1JJV532W03L846150   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896915   2001   GRTDN   1GRAA0620YB008518   GLEN MOORE   TX      Austin
 YRCF     SHOW TRAILER     SHOW    RDWY896916   2001   GRTDN   1GRAA0624YB008621   GLEN MOORE   TX      Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896917   2001   GRTDN   1GRAA06261B053419   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896919   2001   GRTDN   1GRAA06241B053421   GLEN MOORE   CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY896923   2000   GRTDN   1GRAA0625YB011950   GLEN MOORE   CA      Tracy
 YRCF     SHOW TRAILER     SHOW    RDWY896925   2001   GRTDN   1GRAA06261B053405   GLEN MOORE   TX      Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896926   2001   GRTDN   1GRAA06201B053450   GLEN MOORE   TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY896927   2003   GRTDN   1GRAA062X4D404485   GLEN MOORE   TX      Irving
 YRCF     SHOW TRAILER     SHOW    RDWY896930   2001   STRCK   1S12E95391D455337   GLEN MOORE   CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY896932   2001   GRTDN   1GRAA062A1K239451   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896934   2000   STRCK   1S12E9536YD465995   GLEN MOORE   NV      Sparks
 YRCF     SHOW TRAILER     SHOW    RDWY896940   2001   GRTDN   1GRAA06251B078408   GLEN MOORE   NV      Sparks
 YRCF     SHOW TRAILER     SHOW    RDWY896941   2000   GRTDN   1GRAA0627YB016132   GLEN MOORE   NV      Sparks
 YRCF     SHOW TRAILER     SHOW    RDWY896942   2000   STRCK   1S12E9537YD447280   GLEN MOORE   NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896943   2003   WABSH   1JJV532W13L846156   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896944   2003   GRTDN   1GRAA06234D404490   GLEN MOORE   CA      Orange
 YRCF     SHOW TRAILER     SHOW    RDWY896945   2003   GRTDN   1GRAA0620YB016134   GLEN MOORE   CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY896953   2001   STRCK   1S12E95321D455356   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY896956   2000   GRTDN   1GRAA0620YB009703   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896959   2001   GRTDN   1GRAA06211B053442   GLEN MOORE   MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY896961   2000   STRCK   1S12E9537YD455332   GLEN MOORE   CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY896962   2001   GRTDN   1GRAA06261K239459   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY896965   2000   STRCK   1S12E9532YD447297   GLEN MOORE   CA      West Sacramento
 YRCF     SHOW TRAILER     SHOW    RDWY896966   2000   STRCK   1S12E953XYD447287   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896968   2000   GRTDN   1GRAA0626YB016106   GLEN MOORE   TX      Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY896972   2000   GRTDN   1GRAA0622YB016135   GLEN MOORE   CA      Fontana
 YRCF     SHOW TRAILER     SHOW    RDWY896973   2000   STRCK   1S12E9530YD455317   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896974   2000   STRCK   1S12E953XYD447290   GLEN MOORE   NV      Sparks
 YRCF     SHOW TRAILER     SHOW    RDWY896975   2000   GRTDN   1GRAA0625YB008501   GLEN MOORE   NV      Sparks
 YRCF     SHOW TRAILER     SHOW    RDWY896976   2000   STRCK   1S12E9531YD447307   GLEN MOORE   CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW    RDWY896983   2000   STRCK   1S12E9533YD455229   GLEN MOORE   CA      Tracy
 YRCF     SHOW TRAILER     SHOW    RDWY896984   2001   GRTDN   1GRAA06231G319434   GLEN MOORE   MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY896986   2001   GRTDN   1GRAA06291G319423   GLEN MOORE   CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY896988   2001   GRTDN   1GRAA06291K239486   GLEN MOORE   NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY896989   2001   STRCK   1S12E95331D455379   GLEN MOORE   CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY896990   2000   GRTDN   1GRAA0622YB008620   GLEN MOORE   UT      Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY896992   2000   STRCK   1S12E9537YD455220   GLEN MOORE   CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY896997   1998   PINES   1PNV482BXWK214120                IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897003   1990   PINES   1PNF482F2LKB40648   4097RSV      NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY897009   1998   GRTDN   1GRAA0624WS067763   1GRA         MA      North Reading
 YRCF     SHOW TRAILER     SHOW    RDWY897010   2005   WABSH   1JJV482WX5L913842                CO      Aurora
 YRCF     SHOW TRAILER     SHOW    RDWY897026   2003   WABSH   1JJV532W43L815502                FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY897046   2005   WABSH   1JJV482W65L905253                MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY897047   1988   FRUHF   1H2V04824JH035511   FB9F248W     MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY897048   1999   TRLMB   1PT01JAH7X6003332   1PT          CA      Gardena
 YRCF     SHOW TRAILER     SHOW    RDWY897050   2003   WABSH   1JJV532W93L835065                TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897059   2001   WABSH   1JJV532W61L738614                LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY897062   2001   TRLMB   1PT01JPH218001295   1PT          IN      Jeffersonville
 YRCF     SHOW TRAILER     SHOW    RDWY897070   2000   STGHT   1DW1A4820YS376108                CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW    RDWY897075   2000   TRLMB   1PT01JAH7Y6001338   1PT          LA      New Orleans
                    Case 23-11069-CTG           Doc 969-1         Filed 10/26/23          Page 906 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SHOW TRAILER     SHOW    RDWY897076   2001   WABSH   1JJV532W11L738228   1JJV         UT      Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY897077   2000   STGHT   1DW1A4825YS376119                IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY897078   2001   WABSH   1JJV532W21L738626                MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY897084   2003   WABSH   1JJV532W13L835139                UT      Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY897085   2003   WABSH   1JJV532W53L815590                ID      Meridian
 YRCF     SHOW TRAILER     SHOW    RDWY897086   2003   STGHT   1DW1A53253S644513                NV      Sparks
 YRCF     SHOW TRAILER     SHOW    RDWY897087   2001   WABSH   1JJV532W51L738555                CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY897088   2002   MANAC   2M592161121085010                CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY897089   2001   WABSH   1JJV532W81L669098   1JJV         PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY897090   2001   WABSH   1JJV532W01L738575                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897091   2002   WABSH   1JJV532W22L815402                PA      Carlisle
 YRCF     SHOW TRAILER     SHOW    RDWY897093   2001   WABSH   1JJV532W11L738438                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897096   2002   MANAC   2M592146327083299                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897097   2001   WABSH   1JJV532W71L669755                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897102   2001   WABSH   1JJV532W61L738211                MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY897103   2003   WABSH   1JJV532WX3L835088                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897107   2001   WABSH   1JJV532W21L738660   1JJV         UT      Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY897110   2003   GRTDN   1GRAA06273T502037                OH      Richfield
 YRCF     SHOW TRAILER     SHOW    RDWY897113   2001   WABSH   1JJV532W01L669760                MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY897116   1999   STGHT   1DW1A5320XS257373   1DW          UT      Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY897120   2002   MANAC   2M592146527083322                MO      Saint Louis
 YRCF     SHOW TRAILER     SHOW    RDWY897121   2003   WABSH   1JJV532W83L815616                MI      Taylor
 YRCF     SHOW TRAILER     SHOW    RDWY897122   2003   WABSH   1JJV532W13L835013                IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897123   2001   WABSH   1JJV532W51L738426                MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY897125   2001   WABSH   1JJV532W81L738534                MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY897126   2001   WABSH   1JJV532W51L738006                MN      Burnsville
 YRCF     SHOW TRAILER     SHOW    RDWY897127   2003   WABSH   1JJV532W33L815491                PA      Carlisle
 YRCF     SHOW TRAILER     SHOW    RDWY897130   2001   WABSH   1JJV532WX1L669717                LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY897135   2001   WABSH   1JJV532W31L738215   1JJV         CA      Pico Rivera
 YRCF     SHOW TRAILER     SHOW    RDWY897137   2001   WABSH   1JJV532W11L669332   1JJV         IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY897138   2003   WABSH   1JJV532W13L835044                IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897139   2001   WABSH   1JJV532W11L669542                IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY897140   1995   STRCK   1S12E9484SD388872   1S1          MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY897141   2004   MANAC   2M592161047093017                PA      Carlisle
 YRCF     SHOW TRAILER     SHOW    RDWY897142   2002   MANAC   2M592146327083352                MD      Baltimore
 YRCF     SHOW TRAILER     SHOW    RDWY897143   2001   WABSH   1JJV532W51L738460                MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY897146   2001   WABSH   1JJV532W91L669613                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897147   2003   WABSH   1JJV532WX3L815472                MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY897148   2003   WABSH   1JJV532W93L835096                FL      Miami
 YRCF     SHOW TRAILER     SHOW    RDWY897150   2003   WABSH   1JJV532W03L835035                CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY897152   2002   WABSH   1JJV532W62L815385                AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY897156   2001   WABSH   1JJV532W11L669816                WA      Seattle
 YRCF     SHOW TRAILER     SHOW    RDWY897157   2001   WABSH   1JJV532W51L738457                WA      Seattle
 YRCF     SHOW TRAILER     SHOW    RDWY897158   2001   GRTDN   1GRAA06291K235891   1GRAA        IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY897161   2002   WABSH   1JJV532W82L815436                LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY897163   2003   WABSH   1JJV532W93L835034                TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897164   2001   WABSH   1JJV532W21L738268                TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897165   1999   TRLMB   1PT01JAHXX6003180   1PT          NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY897167   2001   TRLMB   1PT01JPH518001324   1PT          CA      Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY897169   2001   WABSH   1JJV532WX1L669622                CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY897174   2003   WABSH   1JJV532W53L815461                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897175   2001   WABSH   1JJV532W91L669711                NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY897176   2001   WABSH   1JJV532WX1L669278   1JJV         NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897177   2001   WABSH   1JJV532W11L738164   1JJV         CA      Santa Clara
 YRCF     SHOW TRAILER     SHOW    RDWY897178   2004   MANAC   2M592161547092994                CA      Santa Clara
 YRCF     SHOW TRAILER     SHOW    RDWY897185   2001   WABSH   1JJV532W81L738159                PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY897187   2001   WABSH   1JJV532W41L669552   1JJV         NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897188   2001   WABSH   1JJV532WX1L738163                NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY897189   2002   MANAC   2M592146027083339                IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897190   2001   WABSH   1JJV532W81L738310                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897191   2001   WABSH   1JJV532W71L669741   1JJV         IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY897192   2003   STGHT   1DW1A53213S644525                CA      Bloomington
 YRCF     SHOW TRAILER     SHOW    RDWY897193   2000   STRCK   1S12E9533YD447258                CA      Tracy
 YRCF     SHOW TRAILER     SHOW    RDWY897197   2001   STRCK   1S12E94831D466962                CA      Tracy
 YRCF     SHOW TRAILER     SHOW    RDWY897199   2003   STGHT   1DW1A53283S644425                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897206   2002   MANAC   2M592146227083343                CA      Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY897210   2002   WABSH   1JJV532W32L815425                CA      Brisbane
 YRCF     SHOW TRAILER     SHOW    RDWY897214   2003   MANAC   2M592161537092928                FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY897215   2004   MANAC   2M592161247093018                FL      Orlando
                    Case 23-11069-CTG           Doc 969-1         Filed 10/26/23          Page 907 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SHOW TRAILER     SHOW    RDWY897216   2001   WABSH   1JJV532W91L738154                FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY897217   2001   WABSH   1JJV532W51L669530   1JJV         FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY897219   2001   WABSH   1JJV532W01L738429                GA      Conley
 YRCF     SHOW TRAILER     SHOW    RDWY897222   2001   WABSH   1JJV532W01L669676   1JJV         TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897224   2003   WABSH   1JJV532W43L835149                TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897226   1999   UTLTY   1UYVS253XXP814108   1UYV         LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY897229   2001   WABSH   1JJV532W71L669240                OH      Richfield
 YRCF     SHOW TRAILER     SHOW    RDWY897230   2008   UTLTY   1UYVS25388P479903   1UYV         IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897232   2003   WABSH   1JJV532W33L834994                NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY897234   2002   WABSH   1JJV532W42L815417                TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897235   2001   WABSH   1JJV532W31L669607   1JJV         TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897236   2001   WABSH   1JJV532W41L738367   1JJV         LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY897237   2002   MANAC   2M592146127083303                TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897238   2001   WABSH   1JJV532W01L737992                TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY897239   2001   WABSH   1JJV532W31L669638                MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY897241   2001   TRLMB   1PT01JPHX18001299   1PT          IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897243   1998   FRUHF   1JJV482F7WF530490   1JJV         MD      Landover
 YRCF     SHOW TRAILER     SHOW    RDWY897245   2002   WABSH   1JJV532W42L815370                NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY897246   2001   WABSH   1JJV532W11L669475                NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY897249   2001   WABSH   1JJV532WX1L738180                PA      Carlisle
 YRCF     SHOW TRAILER     SHOW    RDWY897252   2001   WABSH   1JJV532WX1L738146   1JJV         NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897253   2003   WABSH   1JJV532W23L835148                TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY897254   2003   WABSH   1JJV532W23L835134                TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY897255   2001   WABSH   1JJV532W31L738408   1JJV         TX      San Antonio
 YRCF     SHOW TRAILER     SHOW    RDWY897256   2002   MANAC   2M592161421085017                IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897259   2004   MANAC   2M592161747093063                OH      Cincinnati
 YRCF     SHOW TRAILER     SHOW    RDWY897260   2002   MANAC   2M592161X37092942                IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897261   2003   WABSH   1JJV532WX3L835110                NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897262   2001   WABSH   1JJV532W81L669327   1JJV         NY      Brooklyn
 YRCF     SHOW TRAILER     SHOW    RDWY897263   2003   WABSH   1JJV532W43L835121                PA      Bensalem
 YRCF     SHOW TRAILER     SHOW    RDWY897264   2003   WABSH   1JJV532W43L815533                NV      Sparks
 YRCF     SHOW TRAILER     SHOW    RDWY897265   2000   TRLMB   1PT01JPH2Y8003140   1PT          NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY897266   2001   WABSH   1JJV532W51L669494   1JJV         NJ      Millville
 YRCF     SHOW TRAILER     SHOW    RDWY897269   2001   WABSH   1JJV532W31L738280                UT      Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY897270   2001   WABSH   1JJV532W21L669601                CA      Fontana
 YRCF     SHOW TRAILER     SHOW    RDWY897271   2001   WABSH   1JJV532WX1L738213                AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY897275   2001   WABSH   1JJV532W71L738394                CA      Tracy
 YRCF     SHOW TRAILER     SHOW    RDWY897278   2003   WABSH   1JJV532W63L835122                AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY897279   2001   WABSH   1JJV532W51L738667                AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY897280   2002   WABSH   1JJV532W82L815372                AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY897281   2002   MANAC   2M592161321085042                TN      Kingsport
 YRCF     SHOW TRAILER     SHOW    RDWY897282   2002   MANAC   2M592161921085031                TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897283   2003   WABSH   1JJV532W73L815574                AZ      Phoenix
 YRCF     SHOW TRAILER     SHOW    RDWY897284   2001   WABSH   1JJV532W61L669875   1JJV         NJ      Carlstadt
 YRCF     SHOW TRAILER     SHOW    RDWY897285   2001   WABSH   1JJV532W41L669664                MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY897288   1998   WABSH   1JJV532W1WL504243   GLEN MOORE   WA      Seattle
 YRCF     SHOW TRAILER     SHOW    RDWY897289   2000   WABSH   1JJV532W5YL730496   1JJV         TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897290   2002   WABSH   1JJV532W22L815366                TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897291   2001   WABSH   1JJV532W91L669322                TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897292   2001   WABSH   1JJV532W71L669447   1JJV         TX      Dallas
 YRCF     SHOW TRAILER     SHOW    RDWY897293   2001   WABSH   1JJV532W81L738372   1JJV         TX      Houston
 YRCF     SHOW TRAILER     SHOW    RDWY897294   1999   STRCK   1S12E9483XD440466   1S1          FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY897295   2000   TRLMB   1PT01JPH2Y8002361   1PT          TN      Nashville
 YRCF     SHOW TRAILER     SHOW    RDWY897296   2002   MANAC   2M592146327083402                MO      Saint Louis
 YRCF     SHOW TRAILER     SHOW    RDWY897297   2001   WABSH   1JJV532W61L669553   1JJV         UT      Salt Lake City
 YRCF     SHOW TRAILER     SHOW    RDWY897298   1999   LFKTR   1L01A5323X1140447                IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897299   2003   WABSH   1JJV532W33L835014                IL      Chicago Heights
 YRCF     SHOW TRAILER     SHOW    RDWY897301   2001   WABSH   1JJV532WX1L738504                FL      Orlando
 YRCF     SHOW TRAILER     SHOW    RDWY897302   2003   WABSH   1JJV532W73L835033                MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY897305   1999   STGHT   1DW1A5323XS300183   1DW          LA      New Orleans
 YRCF     SHOW TRAILER     SHOW    RDWY897306   2002   WABSH   1JJV532W02L815415                IN      Indianapolis
 YRCF     SHOW TRAILER     SHOW    RDWY897307   2001   WABSH   1JJV532W61L738239                WA      Tacoma
 YRCF     SHOW TRAILER     SHOW    RDWY897310   2001   WABSH   1JJV532W61L738113   1JJV         MO      Kansas City
 YRCF     SHOW TRAILER     SHOW    RDWY897311   2003   WABSH   1JJV532W63L815470                NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY897312   2002   WABSH   1JJV532W12L815360                NV      Las Vegas
 YRCF     SHOW TRAILER     SHOW    RDWY897313   2003   WABSH   1JJV532W13L815618                GA      Marietta
 YRCF     SHOW TRAILER     SHOW    RDWY897314   2002   WABSH   1JJV532W02L815351                MI      Taylor
 YRCF     SHOW TRAILER     SHOW    RDWY897316   2003   WABSH   1JJV532W33L835076                OH      Cincinnati
 YRCF     SHOW TRAILER     SHOW    RDWY897317   2000   WABSH   1JJV532W3YL730464   1JJV         FL      Orlando
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 908 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SHOW TRAILER        SHOW    RDWY897319   2001   TRLMB   1PT01JAH018000994   1PT          NC      Charlotte
 YRCF     SHOW TRAILER        SHOW    RDWY897320   2001   WABSH   1JJV532W31L669493                FL      Miami
 YRCF     SHOW TRAILER        SHOW    RDWY897325   1998   GRTDN   1GRAA9620PB089930   1GRAA        CA      Tracy
 YRCF     SHOW TRAILER        SHOW    RDWY897326   2004   GRTDN   1GRAA96214K262270                CO      Henderson
 YRCF     SHOW TRAILER        SHOW    RDWY897329   2001   WABSH   1JJV532W01L669211                CA      Bloomington
 YRCF     SHOW TRAILER        SHOW    RDWY897330   2001   WABSH   1JJV532W61L669827                CA      Bloomington
 YRCF     SHOW TRAILER        SHOW    RDWY897331   2001   WABSH   1JJV532W61L669889                NV      Las Vegas
 YRCF     SHOW TRAILER        SHOW    RDWY897332   2001   WABSH   1JJV532W11L738424                CA      Pico Rivera
 YRCF     SHOW TRAILER        SHOW    RDWY897334   2008   STGHT   1DW1A53238B038182   SEVW‐53T     NV      Las Vegas
 YRCF     SHOW TRAILER        SHOW    RDWY897335   2006   WABSH   1JJV482W56L989079   VAN          TN      Nashville
 YRCF     SHOW TRAILER        SHOW    RDWY897336   2005   GRTDN   1GRAA06225J610516   SSL          TN      Nashville
 YRCF     SHOW TRAILER        SHOW    RDWY897337   2006   GRTDN   1GRAA06296J610370   SSL          TN      Nashville
 YRCF     SHOW TRAILER        SHOW    RDWY897338   2006   GRTDN   1GRAA06226T521292   SSL          TN      Nashville
 YRCF     SHOW TRAILER        SHOW    RDWY897339   2006   GRTDN   1GRAA06296T521385   SSL          TN      Nashville
 YRCF     SHOW TRAILER        SHOW    RDWY897340   2006   GRTDN   1GRAA06266T521456   SSL          TN      Nashville
 YRCF     SHOW TRAILER        SHOW    RDWY897341   2006   GRTDN   1GRAA06276T521532   SSL          TN      Nashville
 YRCF     SHOW TRAILER        SHOW    RDWY897342   2006   GRTDN   1GRAA062X6T521539   SSL          TN      Nashville
 YRCF     SHOW TRAILER        SHOW    RDWY897343   2006   GRTDN   1GRAA06216T521204   SSL          UT      Salt Lake City
 YRCF     SHOW TRAILER        SHOW    RDWY899463   1993   STRCK   1S12S8489PD355439   REDDAWAY     LA      New Orleans
 YRCF     SHOW TRAILER        SHOW    RDWY899464   1993   STRCK   1S12S848XPD355417   REDDAWAY     LA      New Orleans
 YRCF     SHOW TRAILER        SHOW    RDWY9038     1979   MONON   40839               XP65         CA      Orange
 YRCF     SHOW TRAILER        SHOW    RDWY91095    1989   GRTDN   1GRAA9621KB069405   TIP          NV      Las Vegas
 YRCF     SHOW TRAILER        SHOW    RDWY91136    1987   FRUHF   1H5V04829HM035265   FG45W48      MD      Landover
 YRCF     SHOW TRAILER        SHOW    RDWY91145    1988   FRUHF   1H2V04823JH013659   FG45W948     MD      Landover
 YRCF     SHOW TRAILER        SHOW    RDWY91194    1993   WABSH   1JJV482X1PL184576   DUGAN        TX      San Antonio
 YRCF     SHOW TRAILER        SHOW    RDWY91217    1993   STRCK   1S12S8480SD395773   DUGAN        IL      Chicago Heights
 YRCF     SHOW TRAILER        SHOW    RDWY91326    1994   WABSH   1JJV482M4RL209723   HOLLAND      MO      Strafford
 YRCF     SHOW TRAILER        SHOW    RDWY91338    1995   STRCK   1S12E8486SD403060   HOLLAND      FL      Orlando
 YRCF     SHOW TRAILER        SHOW    RDWY91396    1993   STRCK   1S12S8487PD355374   HOLLAND      FL      Orlando
 YRCF     SHOW TRAILER        SHOW    RDWY91454    1996   WABSH   1JJV482M0TL358637   REDDAWAY     IL      Chicago Heights
 YRCF     SHOW TRAILER        SHOW    RDWY91474    1990   FRUHF   1H2V04829LB002998   USED         UT      St. George
 YRCF     SHOW TRAILER        SHOW    RDWY91492    1994   PINES   1PNV482N3RKB56515   HOLLAND      NV      Las Vegas
 YRCF     SHOW TRAILER        SHOW    RDWY91494    1994   STRCK   1S12E8487RD371276   S7480E98NF   PA      Bensalem
 YRCF     SHOW TRAILER        SHOW    RDWY91508    1996   GRTDN   1GRAA0623TS039013   GLEN MOORE   OH      Columbus
 YRCF     SHOW TRAILER        SHOW    RDWY91531    1995   STRCK   1S12E9531SD390436   GLEN MOORE   UT      Salt Lake City
 YRCF     SHOW TRAILER        SHOW    RDWY91532    1995   TRLMB   1PTG1JAH8S6005937   GLEN MOORE   CA      Orange
 YRCF     SHOW TRAILER        SHOW    RDWY91551    1995   FRUHF   1H2V05325SE004803   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER        SHOW    RDWY91586    1996   WABSH   1JJV532Y8TL272382   GLEN MOORE   FL      Orlando
 YRCF     SHOW TRAILER        SHOW    RDWY91629    1994   LFKTR   1L01A5324R1115074   GLEN MOORE   IL      Chicago Heights
 YRCF     SHOW TRAILER        SHOW    RDWY91668    1993   WABSH   1JJV532Y5PL189594   1JJV         IL      Chicago Heights
 YRCF     SHOW TRAILER        SHOW    RDWY91682    1996   PINES   1PNV482B2TH203508   1PNV         NV      Las Vegas
 YRCF     SHOW TRAILER        SHOW    RDWY91683    1995   PINES   1PNV482N9SGB80648   HOLLAND      IL      Wheeling
 YRCF     SHOW TRAILER        SHOW    RDWY91684    1998   WABSH   1JJV452W7WL447156   SA 102 MC    IN      Indianapolis
 YRCF     SHOW TRAILER        SHOW    RDWY91730    1997   WABSH   1JJV452T4VL429444   SA 102 MC    IN      Jeffersonville
 YRCF     SHOW TRAILER        SHOW    RDWY91744    1998   WABSH   1JJV452W9WL447160   SA 102 MC    NY      Brooklyn
 YRCF     SHOW TRAILER        SHOW    RDWY91785    1996   PINES   1PNV482B0TG301958   1PNV         UT      Salt Lake City
 YRCF     SHOW TRAILER        SHOW    RDWY91787    1997   STGHT   1DW1A5326VS131631   GLEN MOORE   OH      Cincinnati
 YRCF     SHOW TRAILER        SHOW    RDWY91822    1996   PINES   1PNV482B0TH203460   1PNV         NV      Las Vegas
 YRCF     SHOW TRAILER        SHOW    RDWY91826    1997   WABSH   1JJV452T6VL429560   SA 102 MC    WI      Oak Creek
 YRCF     SHOW TRAILER        SHOW    RDWY91850    1997   STGHT   1DW1A4827VS082359   USED         IL      Bolingbrook
 YRCF     SHOW TRAILER        SHOW    RDWY91878    1994   DORSY   1DTV11Z2XRA224744   1DT          AZ      Phoenix
 YRCF     SHOW TRAILER        SHOW    RDWY91887    1998   WABSH   1JJV452W0WL447175   SA 102 MC    IL      Chicago Heights
 YRCF     SHOW TRAILER        SHOW    RDWY91931    1994   WABSH   1JJV482U3RL200138   1JJV         OH      Bowling Green
 YRCF     SHOW TRAILER        SHOW    RDWY94082    1979   FRUHF   HPV672966           FB97245      MN      Burnsville
 YRCF     SHOW TRAILER        SHOW    RDWY95275    1982   FRUHF   1H2V04521CH004210   FB97245      CA      Orange
 YRCF     SHOW TRAILER        SHOW    RDWY96372    1985   FRUHF   1H2V04828FH043134   FB9F248W     MD      Landover
 YRCF     SERVICE EQUIPMENT   STG     RDWY12110    1973   TRLMB   K61858              A31D         IL      Rockford
 YRCF     SERVICE EQUIPMENT   STG     RDWY12116    1973   TRLMB   K61864              A31D         TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY12120    1973   TRLMB   K61868              A31D         TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY12196    1973   TRLMB   K61944              A31D         IN      South Bend
 YRCF     SERVICE EQUIPMENT   STG     RDWY12232    1973   TRLMB   K61948              A31D         IL      Wheeling
 YRCF     SERVICE EQUIPMENT   STG     RDWY178      1968   STRCK   C99651              7400S33N     UT      Salt Lake City
 YRCF     SERVICE EQUIPMENT   STG     RDWY184      1967   STRCK   79057               740S33       UT      Salt Lake City
 YRCF     SERVICE EQUIPMENT   STG     RDWY194      1983   STHTR   83111111            VARIOUS      IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY19453    1983   FRUHF   1H5V0281XDM018125   FBB9F128     NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY2030     1965   FRUHF   AVF333847           ZJ2F1        OH      Akron
 YRCF     SERVICE EQUIPMENT   STG     RDWY2065     1966   FRUHF   AVG495215           ZJ2F1        TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY23780    1984   FRUHF   1H2V0281XEE008011   FBB9F128     MO      Baxter Springs
 YRCF     SERVICE EQUIPMENT   STG     RDWY24101    1984   FRUHF   1H2V02818EE023607   FBB9FL128W   PA      Bedford
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 909 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     SERVICE EQUIPMENT   STG     RDWY263      1974   TRLMB   K65277              A31A       TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY268      1973   TRLMB   J93851              A31A       TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY274      1966   FRUHF   AVG552106           VG9F240    TN      Knoxville
 YRCF     SERVICE EQUIPMENT   STG     RDWY275      1972   LFKTR   34280               TFV24104   GA      Thomasville
 YRCF     SERVICE EQUIPMENT   STG     RDWY28119    1973   FRUHF   125424              FBB9W127   PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY29506    1986   FRUHF   1H2V02810GH028365   FBB9F128   NJ      Carlstadt
 YRCF     SERVICE EQUIPMENT   STG     RDWY3089     1967   FRUHF   AVH691906           ZJ2F1      OH      Akron
 YRCF     SERVICE EQUIPMENT   STG     RDWY311      1973   LFKTR   40257               TFV24104   MS      Richland
 YRCF     SERVICE EQUIPMENT   STG     RDWY32011    1986   FRUHF   1H2V02814GH031270   VARIOUS    IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY337      1977   FRUHF   135651E             ES2F45     TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY338      1977   BUDD    135033E             ES2F45     TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY348      1977   BUDD    135087E             ES2F45     TX      Texarkana
 YRCF     SERVICE EQUIPMENT   STG     RDWY34824    1986   FRUHF   1H2V02819GH052857   VARIOUS    NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY353      1970   COPCO   6530                CD32       IL      Decatur
 YRCF     SERVICE EQUIPMENT   STG     RDWY365      1965   UTLTY   E12881              SWW5       GA      Marietta
 YRCF     SERVICE EQUIPMENT   STG     RDWY36929    1988   STRCK   1S11E8288JE299369   VARIOUS    IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY37015    1988   STRCK   1S11E8281JE299455   VARIOUS    CA      Tracy
 YRCF     SERVICE EQUIPMENT   STG     RDWY375      1968   TRLMB   D64819              S32D5AAE   IA      Des Moines
 YRCF     SERVICE EQUIPMENT   STG     RDWY377      1967   FRUHF   AVG577965           ZJ2F1      MN      Burnsville
 YRCF     SERVICE EQUIPMENT   STG     RDWY380      1969   FRUHF   MEK782286           FGGXW127   OK      Tulsa
 YRCF     SERVICE EQUIPMENT   STG     RDWY39032    1989   FRUHF   1H2V02813KH004862   VARIOUS    TN      Shelbyville
 YRCF     SERVICE EQUIPMENT   STG     RDWY4166     1964   FRUHF   AVE120901           2JS1       MD      Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY4448     1964   TRLMB   175075              S72181     IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY455      1978   BUDD    152777M             ES2F450C   MS      Richland
 YRCF     SERVICE EQUIPMENT   STG     RDWY4562     1967   FRUHF   AVG578402           ZJ2F1      SL      San Luis Potosi
 YRCF     SERVICE EQUIPMENT   STG     RDWY460      1977   BUDD    136187M             ES2F45     CO      Aurora
 YRCF     SERVICE EQUIPMENT   STG     RDWY461      1979   MONON   41654               XP65       CO      Aurora
 YRCF     SERVICE EQUIPMENT   STG     RDWY466      1980   MONON   41893               XP65       PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY471      1983   STRCK   1S11E8284DE250559   4280000    SC      Columbia
 YRCF     SERVICE EQUIPMENT   STG     RDWY497      1977   BUDD    135813M             ES2F45     IL      Bolingbrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY500001   1980   MONON   45106               FA70       RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500003   1984   MONON   1NNVF2817EM084087   DFA80      TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY500020   1984   MONON   1NNVF2813EM083356   DFA80      NC      Kernersville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500024   1983   FRUHF   1H5V02811CM018707   GWF128     NY      Deer Park
 YRCF     SERVICE EQUIPMENT   STG     RDWY500033   1986   PINES   1PNX482S9GKA23334   4814AXP    PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500042   1984   MONON   1NNVF2813EM083888   DFA80      MO      Strafford
 YRCF     SERVICE EQUIPMENT   STG     RDWY500050   1984   MONON   1NNVF2815EM083925   DFA80      OK      Tulsa
 YRCF     SERVICE EQUIPMENT   STG     RDWY500051   1984   MONON   1NNVF281XEM084004   DFA80      OK      Tulsa
 YRCF     SERVICE EQUIPMENT   STG     RDWY500060   1984   MONON   1NNVF281XEM083841   DFA80      NC      Kernersville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500062   1986   PINES   1PNX482S4GKA23371   4814AXP    NC      Kernersville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500063   1980   MONON   41762               XP65       TN      Kingsport
 YRCF     SERVICE EQUIPMENT   STG     RDWY500073   1977   MONON   31717               XP65       VA      Richmond
 YRCF     SERVICE EQUIPMENT   STG     RDWY500076   1984   MONON   1NNVF2816EM083514   DFA80      IL      Rockford
 YRCF     SERVICE EQUIPMENT   STG     RDWY500077   1984   MONON   1NNVF2810EM083671   DFA80      IL      Rockford
 YRCF     SERVICE EQUIPMENT   STG     RDWY500085   1986   PINES   1PNX482S3GKA23054   4814AXP    PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500093   1986   PINES   1PNX482S9GKA23222   4814AXP    TX      El Paso
 YRCF     SERVICE EQUIPMENT   STG     RDWY500098   1979   MONON   41173               XP65       DE      Seaford
 YRCF     SERVICE EQUIPMENT   STG     RDWY500099   1980   MONON   41733               XP65       DE      Seaford
 YRCF     SERVICE EQUIPMENT   STG     RDWY500123   1978   MONON   34785               XP65       IL      Decatur
 YRCF     SERVICE EQUIPMENT   STG     RDWY500133   1984   MONON   1NNVF2810EM083430   DFA80      IL      Montgomery
 YRCF     SERVICE EQUIPMENT   STG     RDWY500141   1973   TRLMB   K63107              A31A       OH      Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY500144   1984   MONON   1NNVF2814EM083690   DFA80      IL      Montgomery
 YRCF     SERVICE EQUIPMENT   STG     RDWY500150   1977   BUDD    135146E             ES2F45     PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500153   1979   MONON   41608               XP65       PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500166   1977   TRLMB   S62626              D31A       MN      Burnsville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500168   1984   MONON   1NNVF2816EM083500   DFA80      OH      Toledo
 YRCF     SERVICE EQUIPMENT   STG     RDWY500175   1988   PINES   1PNX482S0JKA30194   4814AXPW   AL      Decatur
 YRCF     SERVICE EQUIPMENT   STG     RDWY500182   1988   PINES   1PNX482SXJKA30235   4814AXPW   IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500187   1984   MONON   1NNVF2812EM083297   DFA80      CA      Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500191   1986   PINES   1PNX482SXGKA23133   4814AXP    PA      Line Lexington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500200   1987   PINES   1PNX482S8HKA28493   4814AXPW   TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY500212   1987   PINES   1PNX482S2HKA28151   4814AXPW   OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500215   1984   MONON   1NNVF2817EM083151   DFA80      NC      Fayetteville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500237   1984   MONON   1NNVF2812EM083137   DFA80      CA      Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500239   1986   PINES   1PNX482S4GKA22978   4814AXP    PA      Bethlehem
 YRCF     SERVICE EQUIPMENT   STG     RDWY500242   1984   MONON   1NNVF2817EM083148   DFA80      CA      Gardena
 YRCF     SERVICE EQUIPMENT   STG     RDWY500252   1977   BUDD    140763M             ES2F45     OH      Cincinnati
 YRCF     SERVICE EQUIPMENT   STG     RDWY500253   1988   PINES   1PNX482S8JKA29939   4814AXPW   PA      Bethlehem
 YRCF     SERVICE EQUIPMENT   STG     RDWY500254   1986   PINES   1PNX482S9GKA23267   4814AXP    PA      Line Lexington
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 910 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State          City
 YRCF     SERVICE EQUIPMENT   STG     RDWY500255   1984   MONON   1NNVF2810EM083556   DFA80      CA             Santa Maria
 YRCF     SERVICE EQUIPMENT   STG     RDWY500256   1984   MONON   1NNVF2816EM083769   DFA80              #N/A            #N/A
 YRCF     SERVICE EQUIPMENT   STG     RDWY500265   1986   PINES   1PNX482S2GKA23188   4814AXP    PA             Milton
 YRCF     SERVICE EQUIPMENT   STG     RDWY500279   1977   BUDD    136195M             ES2F45     TN             Kingsport
 YRCF     SERVICE EQUIPMENT   STG     RDWY500282   1984   MONON   1NNVF2818EM083577   DFA80      CA             San Diego
 YRCF     SERVICE EQUIPMENT   STG     RDWY500284   1984   MONON   1NNVF2819EM084124   DFA80      CA             Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500291   1973   TRLMB   K61943              A31D       IL             Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500298   1983   FRUHF   1H5V02810CM019069   GWF128     WV             Charleston
 YRCF     SERVICE EQUIPMENT   STG     RDWY500301   1984   MONON   1NNVF2818EM083837   DFA80      CA             Pomona
 YRCF     SERVICE EQUIPMENT   STG     RDWY500314   1977   BUDD    135191E             ES2F45     MD             Hagerstown
 YRCF     SERVICE EQUIPMENT   STG     RDWY500316   1980   MONON   60249               XP65       MD             Hagerstown
 YRCF     SERVICE EQUIPMENT   STG     RDWY500318   1980   BUDD    191077E             ES2F45     MD             Hagerstown
 YRCF     SERVICE EQUIPMENT   STG     RDWY500322   1980   MONON   41861               XP65       LA             New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY500323   1980   MONON   60224               XP65       LA             New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY500324   1977   TRLMB   S62389              D31A       LA             New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY500335   1977   BUDD    140505M             ES2F45     NY             Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY500338   1983   MONON   R66455347001        FA70       CO             Aurora
 YRCF     SERVICE EQUIPMENT   STG     RDWY500352   1987   PINES   1PNX482S4HKA28202   4814AXPW   NJ             Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY500356   1984   MONON   1NNVF2814EM083236   DFA80      OH             Cincinnati
 YRCF     SERVICE EQUIPMENT   STG     RDWY500361   1967   STRCK   C88530              270S43NF   CA             Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500362   1977   TRLMB   S62444              D31A       TX             Austin
 YRCF     SERVICE EQUIPMENT   STG     RDWY500363   1983   FRUHF   1H5V02814CM018510   GWF128     WI             Oak Creek
 YRCF     SERVICE EQUIPMENT   STG     RDWY500368   1977   TRLMB   S62404              D31A       CO             Aurora
 YRCF     SERVICE EQUIPMENT   STG     RDWY500377   1984   MONON   1NNVF2819EM083149   DFA80      CA             Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500382   1978   BUDD    152616E             ES2F45     WI             Oak Creek
 YRCF     SERVICE EQUIPMENT   STG     RDWY500383   1986   PINES   1PNX482S9GKA22961   4814AXP    PA             Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500396   1988   PINES   1PNE281F7JKB32688   2814BDFR   IL             Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500397   1973   TRLMB   K61878              A31D       PA             Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY500406   1986   PINES   1PNX482S1GKA23229   4814AXP    MO             Strafford
 YRCF     SERVICE EQUIPMENT   STG     RDWY500423   1980   BUDD    191110M             ES2F45     IL             Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500426   1986   PINES   1PNX482S0GKA23528   4814AXP    IL             Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500428   1979   MONON   40859               XP65       KY             Lexington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500432   1988   PINES   1PNX482S4JKA30070   4814AXPW   IL             Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500436   1973   TRLMB   K61892              A31D       MD             Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY500439   1987   PINES   1PNX482S0HKA28164   4814AXPW   OH             Akron
 YRCF     SERVICE EQUIPMENT   STG     RDWY500440   1986   FRUHF   1H2V02812GC025772   FBB        OH             Toledo
 YRCF     SERVICE EQUIPMENT   STG     RDWY500441   1988   PINES   1PNE281F1JKB32928   2814BDFR   OH             Cincinnati
 YRCF     SERVICE EQUIPMENT   STG     RDWY500450   1988   PINES   1PNX482S4JKA29968   4814AXPW   CA             Sacramento
 YRCF     SERVICE EQUIPMENT   STG     RDWY500453   1986   PINES   1PNX482S0GKA22976   4814AXP    IL             Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500454   1987   PINES   1PNX482S4HKA28393   4814AXPW   IL             Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500456   1986   PINES   1PNX482S5GKA22987   4814AXP    IL             Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500458   1977   TRLMB   S62313              D31A       GA             Marietta
 YRCF     SERVICE EQUIPMENT   STG     RDWY500460   1980   MONON   60238               XP65       OH             Cincinnati
 YRCF     SERVICE EQUIPMENT   STG     RDWY500477   1986   PINES   1PNX482S4GKA23550   4814AXP    IL             Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500481   1995   WABSH   1JJV532Y8SL238103   1JJV       MO             Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY500490   1980   MONON   60258               XP65       PA             Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY500495   1977   BUDD    135552E             ES2F45     IL             Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500498   1987   PINES   1PNX482SXHKA28298   4814AXPW   KY             Paducah
 YRCF     SERVICE EQUIPMENT   STG     RDWY500499   1990   WABSH   1JJV281N2LL144717   102MCW     CA             Adelanto
 YRCF     SERVICE EQUIPMENT   STG     RDWY500511   1993   PINES   1PNE281F8PKB49802   2810BDFR   IL             Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500512   1988   PINES   1PNE281F1JKB33139   2814BDFR   IL             Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500514   1987   PINES   1PNX482S7HKA28517   4814AXPW   CA             Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500524   1983   STRCK   1S11E8283DE250357   4280000    KS             Goodland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500529   1985   FRUHF   1H2V04823FH043008   FB9F248W   OH             Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY500538   1977   BUDD    135038E             ES2F45     IA             Sioux City
 YRCF     SERVICE EQUIPMENT   STG     RDWY500539   1977   TRLMB   S62624              D31A       OK             Tulsa
 YRCF     SERVICE EQUIPMENT   STG     RDWY500544   1985   FRUHF   1H2V04827FH043321   FB9F248W   OH             Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY500546   1989   FRUHF   1H2V04827KB033935   USED       OH             Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY500556   1987   FRUHF   1H5V04829HM035475   FG45W48    MI             Taylor
 YRCF     SERVICE EQUIPMENT   STG     RDWY500560   1987   PINES   1PNX482SXHKA28169   4814AXPW   MO             Strafford
 YRCF     SERVICE EQUIPMENT   STG     RDWY500565   1983   FRUHF   1H5V0281XCM018804   GWF128     CA             Fresno
 YRCF     SERVICE EQUIPMENT   STG     RDWY500577   1985   FRUHF   1H5V02817FM028243   8W5102     MO             Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY500586   1990   WABSH   1JJV532Y6LL134923   1JJV       PA             Mountain Top
 YRCF     SERVICE EQUIPMENT   STG     RDWY500592   1987   PINES   1PNX482S0HKA28178   4814AXPW   AZ             Phoenix
 YRCF     SERVICE EQUIPMENT   STG     RDWY500595   1988   PINES   1PNE281F5JKB32799   2814BDFR   IL             Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500598   1986   PINES   1PNX482S8GKA22997   4814AXP    OR             Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500610   1986   PINES   1PNX482S1GKA23246   4814AXP    TN             Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500611   1987   FRUHF   1H5V04826HM035370   FG45W48    PA             Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500613   1973   TRLMB   K61932              A31D       IN             Fort Wayne
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 911 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SERVICE EQUIPMENT   STG     RDWY500614   1993   PINES   1PNE281F6PKB49541   2810BDFR     TN      Memphis
 YRCF     SERVICE EQUIPMENT   STG     RDWY500617   1983   STRCK   1S11E8289DE250332   4280000      MD      Hagerstown
 YRCF     SERVICE EQUIPMENT   STG     RDWY500621   1993   WABSH   1JJV482X4PL183017   DUGAN RAIL   PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500627   1993   WABSH   1JJV482X9PL182462   DUGAN        PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500629   1990   STRCK   1S12F8489LD330202   S7480F98     SC      Piedmont
 YRCF     SERVICE EQUIPMENT   STG     RDWY500630   1993   GRTDN   1GRAA0622PB136077   1GRAA        PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500631   1990   WABSH   1JJV281N5LL144503   102MCW       CA      Sacramento
 YRCF     SERVICE EQUIPMENT   STG     RDWY500632   1977   TRLMB   S62407              D31A         IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500633   1977   TRLMB   S62356              D31A         IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500635   1987   PINES   1PNX482S1HKA28352   4814AXPW     IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500641   1987   FRUHF   1H5V04823HM035312   FG45W48      OH      Dayton
 YRCF     SERVICE EQUIPMENT   STG     RDWY500655   1993   FRUHF   1H2V04824PB018106   DUGAN RAIL   MD      Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY500656   1986   FRUHF   1H2V04820GA001616   DUGAN RAIL   MD      Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY500658   1987   FRUHF   1H2V04825HA012628   DUGAN        MD      Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY500659   1986   FRUHF   1H2V04823GA001626   DUGAN RAIL   MD      Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY500662   1990   STRCK   1S12F8485LD329810   S7480F98     PA      Milton
 YRCF     SERVICE EQUIPMENT   STG     RDWY500664   1982   STRCK   1S11E8285CE250178   4280000      FL      Boynton Beach
 YRCF     SERVICE EQUIPMENT   STG     RDWY500671   1990   PINES   1PNF482F3LKB39637   4813BFRP     TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY500673   1987   FRUHF   1H5V04827HM035605   FG45W48      VT      Williston
 YRCF     SERVICE EQUIPMENT   STG     RDWY500674   1990   PINES   1PNF482F4LKB40621   4813BFRP     OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500678   1986   PINES   1PNX482S6GKA23548   4814AXP      CA      Brisbane
 YRCF     SERVICE EQUIPMENT   STG     RDWY500681   1984   FRUHF   1H2V02813EH047036   8W6102       MT      Great Falls
 YRCF     SERVICE EQUIPMENT   STG     RDWY500682   1990   STRCK   1S12F848XLD330161   S7480F98     VT      Bellows Falls
 YRCF     SERVICE EQUIPMENT   STG     RDWY500686   1993   WABSH   1JJV482Y2PL194316   WNCR         CA      Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500687   1984   FRUHF   1H2V0281XEH046546   8W6102       IL      Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500688   1982   STRCK   1S11E8283CE250180   4280000      TX      Dallas
 YRCF     SERVICE EQUIPMENT   STG     RDWY500689   1988   PINES   1PNX482S2JKA30214   4814AXPW     TN      Knoxville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500692   1988   FRUHF   1H2V04826JH013543   FG45W948     NJ      Carlstadt
 YRCF     SERVICE EQUIPMENT   STG     RDWY500694   1985   FRUHF   1H2V02816FH047890   8W6102       MO      Strafford
 YRCF     SERVICE EQUIPMENT   STG     RDWY500698   1982   STRCK   1S11E8286CE250187   4280000      FL      Fort Myers
 YRCF     SERVICE EQUIPMENT   STG     RDWY500700   1986   PINES   1PNX482S4GKA23340   4814AXP      TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY500706   1990   STRCK   1S12F8483LD329739   S7480F98     NJ      Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY500713   1992   WABSH   1JJV532Y4NL162948   1JJV         OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500715   1981   HOBBS   1H5V04527BM016922   AX9800145    VT      Bellows Falls
 YRCF     SERVICE EQUIPMENT   STG     RDWY500716   1991   WABSH   1JJV532Y2ML155298   1JJV         OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500717   1990   STRCK   1S12F8480LD330010   S7480F98     OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500719   1988   PINES   1PNX482S9JKA30212   4814AXPW     RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500730   1984   FRUHF   1H2V02811EH023804   FBB9F128     MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   STG     RDWY500738   1984   FRUHF   1H2V02817EE006636   FBB9FL128W   TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500739   1984   FRUHF   1H2V02811EE006695   FBB9F128     SD      Watertown
 YRCF     SERVICE EQUIPMENT   STG     RDWY500743   1984   FRUHF   1H2V02812EE007077   FBB9F128     NJ      Carlstadt
 YRCF     SERVICE EQUIPMENT   STG     RDWY500744   1984   FRUHF   1H2V02817EE007513   FBB9F128     IN      Jeffersonville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500747   1984   FRUHF   1H2V02819EE023678   FBB9F128     NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY500748   1984   FRUHF   1H20V2817EE023694   FBB9FL128W   NJ      Carlstadt
 YRCF     SERVICE EQUIPMENT   STG     RDWY500749   1984   FRUHF   1H5V02816EM004109   FBB9F128     NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY500752   1984   FRUHF   1H5V02816EM004837   FBB9F128     IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY500758   1984   FRUHF   1H5V02814EM006053   FBB9F128     MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   STG     RDWY500759   1984   FRUHF   1H5V02810EM006180   FBB9F128     MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   STG     RDWY500764   1984   FRUHF   1H5V02815EM007227   FBB9F128     MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY500773   1984   FRUHF   1H2V02815EE024276   FBB9F128     CA      Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY500776   1986   FRUHF   1H2V02811GH028021   FBB9F128     NJ      Carlstadt
 YRCF     SERVICE EQUIPMENT   STG     RDWY500782   1987   FRUHF   1H2V04829HH031125   VARIOUS      DE      New Castle
 YRCF     SERVICE EQUIPMENT   STG     RDWY500789   1986   FRUHF   1H2V04823GH052115   VARIOUS      NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY500790   1988   FRUHF   1H2V0482XJH035657   VARIOUS      OH      Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY500801   1987   FRUHF   1H2V04826JH035669   VARIOUS      NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   STG     RDWY500808   1987   FRUHF   1H2V04825JH035467   VARIOUS      NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   STG     RDWY500823   1988   FRUHF   1H2V04828JH035690   VARIOUS      NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   STG     RDWY500824   1988   FRUHF   1H2V04820JH035439   VARIOUS      NV      Sparks
 YRCF     SERVICE EQUIPMENT   STG     RDWY500825   1988   FRUHF   1H2V04821JH035577   VARIOUS      NV      Sparks
 YRCF     SERVICE EQUIPMENT   STG     RDWY500826   1988   FRUHF   1H2V04829JH035794   VARIOUS      NV      Sparks
 YRCF     SERVICE EQUIPMENT   STG     RDWY500850   1976   PINES   320CDV4749          VARIOUS      MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   STG     RDWY500855   1976   PINES   320CDV4777          VARIOUS      AL      Mobile
 YRCF     SERVICE EQUIPMENT   STG     RDWY500857   1977   FRUHF   HPX560313           FG6F240      NY      Tonawanda
 YRCF     SERVICE EQUIPMENT   STG     RDWY500867   1977   TRLMB   S30716              031A         CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY500869   1977   TRLMB   S30738              031A         RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500876   1977   TRLMB   S61339              A31D         CA      Pomona
 YRCF     SERVICE EQUIPMENT   STG     RDWY500879   1977   TRLMB   S61343              A31D         CA      San Diego
 YRCF     SERVICE EQUIPMENT   STG     RDWY500882   1971   STRCK   138878              VARIOUS      VA      Chesapeake
 YRCF     SERVICE EQUIPMENT   STG     RDWY500883   1977   PINES   320CDV6056          320CDV       NE      Bridgeport
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 912 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SERVICE EQUIPMENT   STG     RDWY500887   1965   STRCK   60451               VARIOUS      VA      Richmond
 YRCF     SERVICE EQUIPMENT   STG     RDWY500892   1963   FRUHF   MED289407           VARIOUS      NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   STG     RDWY500896   1979   FRUHF   MEV633646           FBB8W13210   TX      Lubbock
 YRCF     SERVICE EQUIPMENT   STG     RDWY500898   1979   FRUHF   MEV633649           FBB8W13210   TX      Lubbock
 YRCF     SERVICE EQUIPMENT   STG     RDWY500900   1977   TRLMB   S94100              011A         CA      Orange
 YRCF     SERVICE EQUIPMENT   STG     RDWY500906   1979   FRUHF   HPV668950           FB97245      OH      Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY500908   1979   BUDD    168867E             NF2E450C62   RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500914   1979   HOBBS   BLV964546           AX9800145    MI      Wyoming
 YRCF     SERVICE EQUIPMENT   STG     RDWY500916   1979   FRUHF   MEV599759           FB97245      SD      Sioux Falls
 YRCF     SERVICE EQUIPMENT   STG     RDWY500922   1979   FRUHF   MEZ597987           FB97245      OH      Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY500930   1980   TRLMB   V36179              014A         MD      Hagerstown
 YRCF     SERVICE EQUIPMENT   STG     RDWY500931   1980   TRLMB   V36023              014A         MO      Baxter Springs
 YRCF     SERVICE EQUIPMENT   STG     RDWY500932   1981   HOBBS   1H5V04528BM008442   AX9800145    NE      Kearney
 YRCF     SERVICE EQUIPMENT   STG     RDWY500940   1981   HOBBS   1H5V04525BM008530   AX9800145    NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY500943   1981   HOBBS   1H5V04528BM016945   AX9800145    FL      Ocala
 YRCF     SERVICE EQUIPMENT   STG     RDWY500952   1982   FRUHF   1H2V04527CH004258   FB97245      MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   STG     RDWY500959   1982   FRUHF   1H2V04528CH003765   FB97245      SC      Florence
 YRCF     SERVICE EQUIPMENT   STG     RDWY500965   1981   HOBBS   1H5V04525BM016868   AX9800145    DE      Seaford
 YRCF     SERVICE EQUIPMENT   STG     RDWY500968   1982   FRUHF   1H2V04526CH003747   FB97245      IN      South Bend
 YRCF     SERVICE EQUIPMENT   STG     RDWY500969   1981   HOBBS   1H5V04522BM018853   AX9800145    MI      Wyoming
 YRCF     SERVICE EQUIPMENT   STG     RDWY500970   1981   HOBBS   1H5V04524BM016831   AX9800145    WI      Neenah
 YRCF     SERVICE EQUIPMENT   STG     RDWY500971   1992   FRUHF   1H2V02810NB033209   NF128W5W     TN      Knoxville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500972   1992   WABSH   1JJV532Y4NL172220   1JJV         OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500973   1992   WABSH   1JJV532Y0NL176992   1JJV         OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500974   1990   STRCK   1S12F8484LD329913   S7480F98     OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500975   1991   WABSH   1JJV532YXML154352   1JJV         OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500979   1977   BUDD    136101M             ES2F45       MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   STG     RDWY500981   1988   PINES   1PNM402S7JK031182   4096CDRSV    NC      Durham
 YRCF     SERVICE EQUIPMENT   STG     RDWY500983   1985   PINES   1PND281S8FKA18327   2815ADX      OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY500984   1984   FRUHF   1H5V02819EM021471   8W6102       IL      Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500985   1984   FRUHF   1H5V02813EM021787   8W6102       IL      Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500986   1984   FRUHF   1H5V02815EM015716   GWF128       IL      Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500987   1985   PINES   1PND281SXFKA19561   2815ADX      IL      Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500988   1984   FRUHF   1H5V02815EM022259   8W6102       IL      Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500989   1984   FRUHF   1H2V02815EH037351   GWF128       IL      Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500990   1984   FRUHF   1H2V02812EH037307   GWF128       IL      Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY500992   1988   FRUHF   1H2V04826JH035543   FB9F248W     NY      Rochester
 YRCF     SERVICE EQUIPMENT   STG     RDWY500993   1986   PINES   1PNX482S0GKA23416   4814AXP      TN      Knoxville
 YRCF     SERVICE EQUIPMENT   STG     RDWY500994   1992   STRCK   1S11E8280ND342310   S4280E98NF   MO      Columbia
 YRCF     SERVICE EQUIPMENT   STG     RDWY500996   1986   THEUR   1TA114825G2208692   USED         TX      Laredo
 YRCF     SERVICE EQUIPMENT   STG     RDWY500999   1994   STRCK   1S11E8281RE368141   MA300SA28W   NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY501000   1992   PINES   1PNK281S7NGB72634   286BDRSWV    NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY501001   1994   PINES   1PNK281S8RKB56137   286BDRSWV    NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY501002   1988   PINES   1PNM331S8JK031410   3396CDRSV    WI      Oak Creek
 YRCF     SERVICE EQUIPMENT   STG     RDWY501003   1988   PINES   1PNM402S3JK031230   4096CDRSV    WI      Oak Creek
 YRCF     SERVICE EQUIPMENT   STG     RDWY501004   1990   FRUHF   1H2V04825LB002944   USED         OH      Copley
 YRCF     SERVICE EQUIPMENT   STG     RDWY501007   1990   STRCK   1S12F8488LD330126   S7480F98     PA      Mountain Top
 YRCF     SERVICE EQUIPMENT   STG     RDWY501009   1990   STRCK   1S12F8484LD329975   S7480F98     PA      Mountain Top
 YRCF     SERVICE EQUIPMENT   STG     RDWY501017   1984   FRUHF   1H2V02818EH046402   8W6102       OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY501018   1985   FRUHF   1H2V02819FH053912   8W5102       WA      Tacoma
 YRCF     SERVICE EQUIPMENT   STG     RDWY501021   1995   WABSH   1JJV482TXSL324310   VARIOUS      OH      Copley
 YRCF     SERVICE EQUIPMENT   STG     RDWY501023   1976   FRUHF   FWX775019           UNKNOWN      CA      Orange
 YRCF     SERVICE EQUIPMENT   STG     RDWY501027   1985   FRUHF   1H2V04820FH043032   FB9F248W     VA      Chesapeake
 YRCF     SERVICE EQUIPMENT   STG     RDWY501028   1984   FRUHF   1H2V02815EH020162   FBB9FL128W   ND      Fargo
 YRCF     SERVICE EQUIPMENT   STG     RDWY501031   1989   STRCK   1S12E840XKD322086   M7400E38NSOW MN      Owatonna
 YRCF     SERVICE EQUIPMENT   STG     RDWY501033   1995   STRCK   1S12E9481SD298677   1S1          NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY501034   1996   TRLMB   1PTG1JAH4T6001143   1PT          NY      Brooklyn
 YRCF     SERVICE EQUIPMENT   STG     RDWY501035   1995   WABSH   1JJV482Y3SL300538   1JJV         MA      North Reading
 YRCF     SERVICE EQUIPMENT   STG     RDWY501036   1990   TRLMB   1PT01JAH1L9008079   TL           MS      Tupelo
 YRCF     SERVICE EQUIPMENT   STG     RDWY501038   1994   PINES   1PNK281S6RKB55908   286BDRSWV    OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY501041   1994   PINES   1PNM452S6RKB56279   4596CDRSV    MA      North Reading
 YRCF     SERVICE EQUIPMENT   STG     RDWY501042   1985   FRUHF   1H2V04828FH043117   FB9F248W     MA      North Reading
 YRCF     SERVICE EQUIPMENT   STG     RDWY501045   1995   PINES   1PNM452S7SK069610   45CDBRSV     PA      Erie
 YRCF     SERVICE EQUIPMENT   STG     RDWY501046   1986   FRUHF   1H2V04828GH052028   FB9F248W     MA      North Reading
 YRCF     SERVICE EQUIPMENT   STG     RDWY501050   1988   FRUHF   1H2V02813JH054434   FGGL28W5     MS      Tupelo
 YRCF     SERVICE EQUIPMENT   STG     RDWY501051   1997   WABSH   1JJV452T3VL429404   SA 102 MC    NC      Durham
 YRCF     SERVICE EQUIPMENT   STG     RDWY501053   1996   PINES   1PNV482B5TG301888   1PNV         FL      Miami
 YRCF     SERVICE EQUIPMENT   STG     RDWY501054   1996   PINES   1PNV482BXTG301935   1PNV         NC      Durham
 YRCF     SERVICE EQUIPMENT   STG     RDWY501055   1993   WABSH   1JJV532YXPL169440   WNCR         TX      Dallas
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 913 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State        City
 YRCF     SERVICE EQUIPMENT   STG     RDWY501056   1996   PINES   1PNV482B0TH203488   1PNV         MI           Taylor
 YRCF     SERVICE EQUIPMENT   STG     RDWY501058   1994   STRCK   1S11E8289RE368176   MA300SA28W   GA           La Grange
 YRCF     SERVICE EQUIPMENT   STG     RDWY501060   1995   PINES   1PNM402S5SK069804   4096CDBRSV   PA           Line Lexington
 YRCF     SERVICE EQUIPMENT   STG     RDWY501061   1997   WABSH   1JJV452T5VL429498   SA 102 MC    TX           Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY501064   1995   PINES   1PNM452S5SK069640   45CDBRSV     NJ           Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY501067   1993   WABSH   1JJV532Y0PL169043   WNCR         NJ           Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY501069   1994   STRCK   1S12E9481RE374027   VARIOUS      OH           Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY501072   1987   DORSY   1DTV11X20FA169929   4814AXPW     NJ           Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY501073   1996   PINES   1PNV482B3TH203372   1PNV         OR           Redmond
 YRCF     SERVICE EQUIPMENT   STG     RDWY501077   1988   PINES   1PNM402S5JK031178   4096CDRSV    VA           Chesapeake
 YRCF     SERVICE EQUIPMENT   STG     RDWY501078   1985   FRUHF   1H2V04825FH043155   FB9F248W     LA           Port Allen
 YRCF     SERVICE EQUIPMENT   STG     RDWY501081   1985   FRUHF   1H5V02816FM027567   8W5102       UT           St. George
 YRCF     SERVICE EQUIPMENT   STG     RDWY501083   1992   PINES   KB40575             286BDRSWV    AZ           Phoenix
 YRCF     SERVICE EQUIPMENT   STG     RDWY521      2000   FRUHF   1NLT14529JB186016   VARIOUS      MO           Strafford
 YRCF     SERVICE EQUIPMENT   STG     RDWY537      1984   MONON   1NNVF2818EM083613   DFA80        IL           Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY54       1964   TRLMB   175079              S72181       MN           Owatonna
 YRCF     SERVICE EQUIPMENT   STG     RDWY544      1983   MONON   R66482412802        FA70         IL           Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY559197   2007   GRTDN   1GRAA062X7K286194   1GRA         NY           Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY57079    1986   FRUHF   1H2V04825GH052228   VARIOUS      NM           Albuquerque
 YRCF     SERVICE EQUIPMENT   STG     RDWY57490    1987   FRUHF   1H2V04829HH030637   VARIOUS      IL           Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY57615    1987   FRUHF   1H2V04821HH030762   VARIOUS      IL           Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY57927    1987   FRUHF   1H2V04827HH031074   VARIOUS      TN           Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY58383    1987   FRUHF   1H2V04821JH035580   VARIOUS      NY           Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY598      1978   MONON   34921               XP65         IL           Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY601      1973   TRLMB   K61939              A31D         WI           Oak Creek
 YRCF     SERVICE EQUIPMENT   STG     RDWY624      1977   BUDD    140934M             ES2F45       NJ           Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY627      1978   MONON   34794               XP65         Alberta      Edmonton
 YRCF     SERVICE EQUIPMENT   STG     RDWY62766    1967   FRUHF   AVG581901           ZJ2F1        NY           Deer Park
 YRCF     SERVICE EQUIPMENT   STG     RDWY628      1978   MONON   34581               XP65         MO           Saint Louis
 YRCF     SERVICE EQUIPMENT   STG     RDWY62872    1968   TRLMB   D64809              S32D5AE      TX           Abilene
 YRCF     SERVICE EQUIPMENT   STG     RDWY636      1977   BUDD    136006M             ES2F45       MD           Hagerstown
 YRCF     SERVICE EQUIPMENT   STG     RDWY640      1983   STRCK   1S11E8281DE250650   4280000      AR           Springdale
 YRCF     SERVICE EQUIPMENT   STG     RDWY643      1983   STRCK   1S11E8289DE250539   4.28E+06     TN           Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY655      1993   PINES   1PNE281F5PKB50681   2810BDFR     SC           Piedmont
 YRCF     SERVICE EQUIPMENT   STG     RDWY671      1983   STRCK   1S11E8285DE250571   4280000      IL           Rock Island
 YRCF     SERVICE EQUIPMENT   STG     RDWY683      1983   MONON   R66473409881        FA70         GA           Thomasville
 YRCF     SERVICE EQUIPMENT   STG     RDWY685      1980   BUDD    191127M             ES2F45       PA           Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY686      1977   BUDD    140555M             ES2F45             #N/A            #N/A
 YRCF     SERVICE EQUIPMENT   STG     RDWY6875     1982   STRCK   1S11E8287CE250263   4280000      TX           Austin
 YRCF     SERVICE EQUIPMENT   STG     RDWY6946     1982   STRCK   1S11E8283CE250194   4280000      WV           Charleston
 YRCF     SERVICE EQUIPMENT   STG     RDWY697      1977   BUDD    138054E             ES2F45       TN           Kingsport
 YRCF     SERVICE EQUIPMENT   STG     RDWY6978     1982   STRCK   1S11E8283CE250244   4280000      TX           Austin
 YRCF     SERVICE EQUIPMENT   STG     RDWY704      1988   PINES   1PNE281FXJKB32894   2814BDFR     PA           Mountain Top
 YRCF     SERVICE EQUIPMENT   STG     RDWY7053     1982   STRCK   1S11E8286CE250075   4280000      IL           Quincy
 YRCF     SERVICE EQUIPMENT   STG     RDWY7095     1983   FRUHF   1H5V02811CM018643   GWF128       CA           Sacramento
 YRCF     SERVICE EQUIPMENT   STG     RDWY7118     1987   PINES   1PNX482S5HKA28340   4814AXPW     OK           Oklahoma City
 YRCF     SERVICE EQUIPMENT   STG     RDWY7300     1967   STRCK   C88510              270S43NF     MO           Strafford
 YRCF     SERVICE EQUIPMENT   STG     RDWY730001   1984   FRUHF   1H2V02815FC005191   VARIOUS      TN           Knoxville
 YRCF     SERVICE EQUIPMENT   STG     RDWY7302     1967   STRCK   C88656              270S43NF     MO           Strafford
 YRCF     SERVICE EQUIPMENT   STG     RDWY74       1968   STRCK   C99639              7400533N     NV           Las Vegas
 YRCF     SERVICE EQUIPMENT   STG     RDWY7436     1969   FRUHF   MEK782182           FGGXW127     TN           Memphis
 YRCF     SERVICE EQUIPMENT   STG     RDWY8110     1973   TRLMB   J93807              A31A         AZ           Phoenix
 YRCF     SERVICE EQUIPMENT   STG     RDWY8112     1976   MONON   28040               XP65         AZ           Phoenix
 YRCF     SERVICE EQUIPMENT   STG     RDWY8143     1976   MONON   28164               XP65         PA           McKees Rocks
 YRCF     SERVICE EQUIPMENT   STG     RDWY8162     1972   GINDY   91694               ES2E42       MA           North Reading
 YRCF     SERVICE EQUIPMENT   STG     RDWY8163     1973   GINDY   102754E             ES2E42       WA           Seattle
 YRCF     SERVICE EQUIPMENT   STG     RDWY8191     1976   MONON   28155               XP65         TX           Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY840009   1986   FRUHF   1H2V0482XGH051771   FB9F248W     CA           Gardena
 YRCF     SERVICE EQUIPMENT   STG     RDWY840196   1987   FRUHF   1H2V04820HE014571   USED         VA           Roanoke
 YRCF     SERVICE EQUIPMENT   STG     RDWY8558     1977   BUDD    136083M             ES2F45       OH           Toledo
 YRCF     SERVICE EQUIPMENT   STG     RDWY86       1968   COPCO   4764                CD432        NY           Tonawanda
 YRCF     SERVICE EQUIPMENT   STG     RDWY8861     1980   MONON   60290               XP65         OH           Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY89       2007   WABSH   1JJV281W17L050908   VARIOUS      NY           Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY893111   1983   FRUHF   1H2V04524DF009792   XTRA         LA           New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY893442   1986   FRUHF   1H2V0482XHH031022   FB9F248W     DE           New Castle
 YRCF     SERVICE EQUIPMENT   STG     RDWY895005   1985   FRUHF   1H2V04821FH043024   FB9F248W     OH           Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY895006   1985   FRUHF   1H2V04823FH043025   FB9F248W     OH           Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY895008   1985   FRUHF   1H2V04827FH043027   FB9F248W     OH           Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY895021   1985   FRUHF   1H2V0482XFH043054   FB9F248W     NY           Brooklyn
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 914 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SERVICE EQUIPMENT   STG     RDWY895038   1985   FRUHF   1H2V04829FH043076   FB9F248W     MI      Wyoming
 YRCF     SERVICE EQUIPMENT   STG     RDWY895068   1985   FRUHF   1H2V0482XFH043295   FB9F248W     GA      Ringgold
 YRCF     SERVICE EQUIPMENT   STG     RDWY895535   2000   WABSH   1JJV532W4YL730490   1JJV         IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY895536   2008   WABSH   1JJV532WX8L141833   VARIOUS      IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY895537   2006   WABSH   1JJV482WX6L988946   VARIOUS      SC      Piedmont
 YRCF     SERVICE EQUIPMENT   STG     RDWY895538   1999   FRUHF   1JJV452F4XF543018   FBHLP9‐45    OH      Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899072   1988   FRUHF   1H2V04829JH035813   VARIOUS      CO      Aurora
 YRCF     SERVICE EQUIPMENT   STG     RDWY899077   1982   FRUHF   1H2V04527CH004020   VARIOUS      TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY899083   1987   FRUHF   1H2V04827HH030426   VARIOUS      NJ      Carlstadt
 YRCF     SERVICE EQUIPMENT   STG     RDWY899086   1988   FRUHF   1H2V04825JH035372   VARIOUS      NY      Rochester
 YRCF     SERVICE EQUIPMENT   STG     RDWY899088   1988   FRUHF   1H2V04822JH035409   VARIOUS      PA      Mountain Top
 YRCF     SERVICE EQUIPMENT   STG     RDWY899090   1988   FRUHF   1H2V04826JH035462   VARIOUS      ME      Westbrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899096   1985   FRUHF   1H2V0482XFH043040   VARIOUS      NY      Deer Park
 YRCF     SERVICE EQUIPMENT   STG     RDWY899101   1979   MONON   40563               VARIOUS      IA      Sioux City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899104   1987   STRCK   1S12E9487HE291586   VARIOUS      PA      Bedford
 YRCF     SERVICE EQUIPMENT   STG     RDWY899105   1988   FRUHF   1H2V04826JH035820   VARIOUS      CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY899107   1988   FRUHF   1H2V04825JH035629   FB9F248W     RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899116   1986   FRUHF   1H2V04825GH051709   FB9F248W     OH      Lima
 YRCF     SERVICE EQUIPMENT   STG     RDWY899120   1988   PINES   1PNM402S4JK031382   4090CDRSV    IN      South Bend
 YRCF     SERVICE EQUIPMENT   STG     RDWY899121   1988   PINES   1PNM402S4JK031379   4090CDRSV    TX      Dallas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899124   1989   STRCK   1S11E8287KE312565   S4280E98NF   NE      Kearney
 YRCF     SERVICE EQUIPMENT   STG     RDWY899125   1989   FRUHF   1H2V02815KH032064   FBB9FL128W   NE      Kearney
 YRCF     SERVICE EQUIPMENT   STG     RDWY899127   1986   FRUHF   1H2V04825GH052343   FB9F248W     OH      Dayton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899132   1986   FRUHF   1H2V04827GH051565   FB9F248W     WI      Madison
 YRCF     SERVICE EQUIPMENT   STG     RDWY899134   1985   FRUHF   1H2V04829FH043160   FB9F248W     PA      Bedford
 YRCF     SERVICE EQUIPMENT   STG     RDWY899139   1986   FRUHF   1H2V0482XGH052239   FB9F248W     NJ      Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899140   1993   WABSH   1JJV482Y0PL212683   WNCR         NY      Deer Park
 YRCF     SERVICE EQUIPMENT   STG     RDWY899141   1993   WABSH   1JJV482Y1PL211199   WNCR         NY      Plainview
 YRCF     SERVICE EQUIPMENT   STG     RDWY899142   1982   PINES   1PNX452N7CK011442   CONSOLIDATED MD      Landover
 YRCF     SERVICE EQUIPMENT   STG     RDWY899144   1995   STRCK   1S12E8403SD388513   M7400E98NSOW WV      Charleston
 YRCF     SERVICE EQUIPMENT   STG     RDWY899147   1988   PINES   1PNM331SXJK031392   3396CDRSV    HI      Waipahu
 YRCF     SERVICE EQUIPMENT   STG     RDWY899148   1988   PINES   1PNM402S0JK031380   4090CDRSV    NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY899149   2001   STRCK   1S12E95381D455376   M7400E98NSOW TN      Knoxville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899150   1985   FRUHF   1H2V04826FH043049   FB9F248W     PA      McKees Rocks
 YRCF     SERVICE EQUIPMENT   STG     RDWY899151   1999   FRUHF   1JJV452F2XF543082   FBHLP9‐45    MD      Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY899153   1986   FRUHF   1H2V04829HH030749   FB9F248W     VA      Manassas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899154   1987   FRUHF   1H2V04824HH030464   FB9F248W     NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY899155   1995   STRCK   1S12E848XSD403059   UNKNOWN      TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899157   1999   GRTDN   1GRAA0628XS001623   1GRA         IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY899158   1995   WABSH   247820              UNKNOWN      TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899160   1985   FRUHF   1H5V02810FM001711   8W6102       PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899161   2000   TRLMB   1PT01JAHXY6002693   1PT          PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899165   1979   FRUHF   HPZ650556           FB97245      NJ      Carlstadt
 YRCF     SERVICE EQUIPMENT   STG     RDWY899166   1985   FRUHF   1H2V04829FH043255   FB9F248W     PA      Mountain Top
 YRCF     SERVICE EQUIPMENT   STG     RDWY899167   1993   FRUHF   1H2V04523PB030901   1H2V         PA      Line Lexington
 YRCF     SERVICE EQUIPMENT   STG     RDWY899169   1997   WABSH   1JJV402T4VL429186   SA 102 MC    DE      Seaford
 YRCF     SERVICE EQUIPMENT   STG     RDWY899170   1994   LFKTR   1L01A5320R1112995   GLEN MOORE   VA      Richmond
 YRCF     SERVICE EQUIPMENT   STG     RDWY899171   1995   PINES   1PNM402S6SK069780   4096CDBRSV   PA      McKees Rocks
 YRCF     SERVICE EQUIPMENT   STG     RDWY899172   1995   PINES   1PNM402S3SK069770   4096CDBRSV   PA      McKees Rocks
 YRCF     SERVICE EQUIPMENT   STG     RDWY899174   1999   FRUHF   1JJV452F6XF543120   FBHLP9‐45    SC      North Charleston
 YRCF     SERVICE EQUIPMENT   STG     RDWY899175   1998   TRLMB   1PT01JAH6W9012200   1PT          VA      Richmond
 YRCF     SERVICE EQUIPMENT   STG     RDWY899176   1985   FRUHF   1H2V04826FH043276   FB9F248W     PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899177   1985   FRUHF   1H2V04829FH043191   FB9F248W     NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY899178   1985   FRUHF   1H2V04826FH043147   FB9F248W     MA      Shrewsbury
 YRCF     SERVICE EQUIPMENT   STG     RDWY899180   1997   WABSH   1JJV452T8VL429415   SA 102 MC    PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899181   1988   PINES   1PNX482S7JKA30063   4814AXPW     SC      Columbia
 YRCF     SERVICE EQUIPMENT   STG     RDWY899183   1997   WABSH   1JJV402TXVL429130   SA 102 MC    PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899184   1995   STRCK   1S12E8481SD403094   UNKNOWN      VA      Manassas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899185   1995   WABSH   1JJV482M3SL247398   UNKNOWN      TX      Laredo
 YRCF     SERVICE EQUIPMENT   STG     RDWY899186   1988   PINES   1PNM402S4JK031351   4090CDRSV    MA      North Reading
 YRCF     SERVICE EQUIPMENT   STG     RDWY899187   1977   BUDD    140759M             ES2F45       AZ      Phoenix
 YRCF     SERVICE EQUIPMENT   STG     RDWY899189   1986   FRUHF   1H2V04820GH051679   FB9F248W     NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899190   1985   FRUHF   1H2V04827FH043044   FB9F248W     NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899191   1985   FRUHF   1H2V04824FH043339   FB9F248W     RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899192   1985   FRUHF   1H2V04824FH043146   FB9F248W     IN      South Bend
 YRCF     SERVICE EQUIPMENT   STG     RDWY899193   1985   FRUHF   1H2V04824GH051720   FB9F248W     IL      Wheeling
 YRCF     SERVICE EQUIPMENT   STG     RDWY899195   1998   TRLMB   1PT01JAH1W9012153   1PT          AZ      Phoenix
 YRCF     SERVICE EQUIPMENT   STG     RDWY899197   1988   FRUHF   1H2V04826JH013767   FG45W948     MD      Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY899198   1995   STRCK   1S12E8402SD388499   M7400E98NSOW ME      Fairfield
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 915 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899200   1978   PINES   323CDV7757          UNKNOWN      CA      Orange
 YRCF     SERVICE EQUIPMENT   STG     RDWY899201   1978   PINES   323CDV7695          UNKNOWN      CA      Orange
 YRCF     SERVICE EQUIPMENT   STG     RDWY899202   1996   PINES   1PNV482B7TH203505   1PNV         OK      Oklahoma City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899203   1986   FRUHF   1H2V04828GH052210   FB9F248W     WA      Seattle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899205   1985   FRUHF   1H2V04822FH043307   FB9F248W     IL      Montgomery
 YRCF     SERVICE EQUIPMENT   STG     RDWY899206   1988   PINES   1PNM402S7JK031280   4096CDRSV    VA      Manassas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899207   1988   PINES   1PNM402S0JK031282   4096CDRSV    VA      Manassas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899208   1988   PINES   1PNM402S9JK031281   4096CDRSV    VA      Manassas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899210   1990   PINES   1PNV402S1MK036547   4097RSV      IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899211   2000   WABSH   1JJV281W1YL716750   DVDBHPC      TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY899214   1984   STRCK   1S11S8283EE259117   S4280        NJ      Millville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899215   1998   PINES   1PNK281B6WK209930   VARIOUS      IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY899216   1982   FRUHF   1H2V04529CH003886   FB92F45      DE      Seaford
 YRCF     SERVICE EQUIPMENT   STG     RDWY899217   2004   STGHT   1DW1A532X4S704108   VARIOUS      NJ      Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899218   2004   STGHT   1DW1A53264S713324   VARIOUS      NJ      South Plainfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899219   1999   STGHT   1DW1A5328XS257461   1DW          PA      Line Lexington
 YRCF     SERVICE EQUIPMENT   STG     RDWY899220   2000   UTLTY   1UYVS2539YP393208   1UYV         PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899221   2004   STGHT   1DW1A53284S704320   VARIOUS      DE      New Castle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899222   1988   FRUHF   1H2V02818JH012714   FGGL28W      WA      Tacoma
 YRCF     SERVICE EQUIPMENT   STG     RDWY899224   1968   COPCO   4761                CD4          TX      Lubbock
 YRCF     SERVICE EQUIPMENT   STG     RDWY899225   2001   STRCK   1S12E95341D455343   GLEN MOORE   VA      Richmond
 YRCF     SERVICE EQUIPMENT   STG     RDWY899226   1986   FRUHF   1H2V04827GH052389   FB9F248W     WI      Neenah
 YRCF     SERVICE EQUIPMENT   STG     RDWY899227   1994   PINES   1PNM402S8RKB56335   CDRSV        IL      Morton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899228   2001   TRLMB   1PT01JPH218001314   1PT          MN      Burnsville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899229   1985   FRUHF   1H2V04823FH043073   FB9F248W     MN      Burnsville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899230   1987   PINES   1PND281S1HKA27213   2815ADXP     IL      Bolingbrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899233   1995   PINES   1PNM402S9SK069773   4096CDBRSV   WV      Charleston
 YRCF     SERVICE EQUIPMENT   STG     RDWY899234   1995   PINES   1PNK281S5SKB66047   286BDRSWV    MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899235   1999   STGHT   1DW1A5326XS300274   1DW          CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY899236   1993   WABSH   1JJV482Y1PL205743   WNCR         NC      Charlotte
 YRCF     SERVICE EQUIPMENT   STG     RDWY899237   1985   FRUHF   1H5V02814FM027910   8W5102       CO      Aurora
 YRCF     SERVICE EQUIPMENT   STG     RDWY899239   1997   WABSH   1JJV402T9VL429233   SA 102 MC    TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY899240   1995   PINES   1PNV482L5SKB69457   1PNV         TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY899244   1995   WABSH   1JJV482M7SL247842   UNKNOWN      NY      Brooklyn
 YRCF     SERVICE EQUIPMENT   STG     RDWY899246   1989   PINES   1PNK281S7KKB33616   286BDRSWV    OK      Oklahoma City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899248   1993   WABSH   1JJV482XXPL183023   USFDUGAN     OH      Akron
 YRCF     SERVICE EQUIPMENT   STG     RDWY899249   1988   PINES   1PNM331S8JK031407   3396CDRSV    HI      Waipahu
 YRCF     SERVICE EQUIPMENT   STG     RDWY899250   1995   PINES   1PNM402S3SK069817   4096CDBRSV   IN      Fort Wayne
 YRCF     SERVICE EQUIPMENT   STG     RDWY899251   1999   FRUHF   1JJV452F7XF543109   FBHLP9‐45    PA      Bethlehem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899252   1997   WABSH   1JJV402T1VL429226   SA 102 MC    PA      Bethlehem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899253   1988   PINES   1PNM402S1JK031257   4096CDRSV    IA      Mason City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899254   2000   TRLMB   1PT01JAH4Y6001233   1PT          NC      Kernersville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899255   1996   STRCK   1S12E9482TD406609   1S1          NC      Durham
 YRCF     SERVICE EQUIPMENT   STG     RDWY899256   2000   STRCK   1S12E9531YD447291   FB97245      TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY899258   1999   FRUHF   1JJV452F8XF543216   FBHLP9‐45    PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899259   1995   PINES   1PNM402S1SK069847   4096CDBRSV   PA      McKees Rocks
 YRCF     SERVICE EQUIPMENT   STG     RDWY899260   1987   PINES   1PND281S2HKA27236   2815ADXP     VA      Manassas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899261   1988   PINES   1PNM331S1JK031507   3386CDRSV    CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY899263   1993   STRCK   1S12S8484PD355414   REDDAWAY     TX      San Antonio
 YRCF     SERVICE EQUIPMENT   STG     RDWY899264   1984   STRCK   1S11S828XEE258658   S4280        IN      South Bend
 YRCF     SERVICE EQUIPMENT   STG     RDWY899265   2000   LFKTR   1L01A5326Y1140802   1L01         MD      Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY899266   1988   PINES   1PNM331S3JK031508   3386CDRSV    RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899267   1999   FRUHF   1JJV281F0XF540397   DVDBFSA      TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899268   2000   TRLMB   1PT01JAH5Y6007364   1PT          PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899269   1986   FRUHF   1H2V04821GH052095   VARIOUS      NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899270   2005   WABSH   1JJV482W35L913729   FGGL28W5     MD      Baltimore
 YRCF     SERVICE EQUIPMENT   STG     RDWY899272   2001   WABSH   1JJV281W11L745302   DVDBHPC      TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY899273   2001   WABSH   1JJV532W01L668611   1JJV         VA      Chesapeake
 YRCF     SERVICE EQUIPMENT   STG     RDWY899274   2000   GRTDN   1PNV532B8YG316294   1PNV         NE      Omaha
 YRCF     SERVICE EQUIPMENT   STG     RDWY899275   1970   TRLMB   F64825              S32D5AAE     TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY899277   1995   WABSH   1JJV482U7SL227624   1JJV         CO      Aurora
 YRCF     SERVICE EQUIPMENT   STG     RDWY899278   1997   WABSH   1JJV402T1VL429145   SA 102 MC    AR      Springdale
 YRCF     SERVICE EQUIPMENT   STG     RDWY899279   2001   FRUHF   1JJV452F11F732085   DVCVFSA      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899283   1999   STGHT   1DW1A5327XS257483   1DW          MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899284   2000   TRLMB   1PT01JAH1Y6002775   1PT          PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899285   2005   WABSH   1JJV281WX5L912956   VARIOUS      MD      Hagerstown
 YRCF     SERVICE EQUIPMENT   STG     RDWY899286   1989   PINES   1PNK281S9KKB33519   286BDRSWV    MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899287   1987   PINES   1PND281S6HKA29555   2815ADXP     GA      Conley
 YRCF     SERVICE EQUIPMENT   STG     RDWY899288   2004   STGHT   1DW1A53214S704305   VARIOUS      MO      Kansas City
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23        Page 916 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899289   1999   FRUHF   1JJV452F5XF543089   FBHLP9‐45      VA      Roanoke
 YRCF     SERVICE EQUIPMENT   STG     RDWY899290   1997   WABSH   1JJV452T2VL429474   SA 102 MC      PA      McKees Rocks
 YRCF     SERVICE EQUIPMENT   STG     RDWY899291   1993   FRUHF   1H2V04828PB016701   VARIOUS        PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899292   2003   WABSH   1JJV482W73L849479   DVCVHPC        RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899293   2001   WABSH   1JJV532W41L668966   VARIOUS        RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899294   1984   FRUHF   1H5V02815EM021368   8W6102         OK      Oklahoma City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899295   1985   FRUHF   1H2V04822FH043033   FB9F248W       OH      Dayton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899296   2001   FRUHF   1JJV281F11F770179   NONE           MD      Hagerstown
 YRCF     SERVICE EQUIPMENT   STG     RDWY899297   1972   BROWN   R726992             DX242          IN      Jeffersonville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899298   1996   RAMRZ   3AEVS4827TM011338   VARIOUS        ND      Bismarck
 YRCF     SERVICE EQUIPMENT   STG     RDWY899299   1967   COPCO   4683                CD4            MN      Burnsville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899300   2000   WABSH   1JJV281W8YL716065   DVDBHPC        CA      Brisbane
 YRCF     SERVICE EQUIPMENT   STG     RDWY899301   1984   FRUHF   1H5V0281XEM021706   8W6102         CA      Brisbane
 YRCF     SERVICE EQUIPMENT   STG     RDWY899302   2001   WABSH   1JJV532W11L669489   1JJV           VA      Richmond
 YRCF     SERVICE EQUIPMENT   STG     RDWY899306   2000   WABSH   1JJV532W3YF643582   1JJV           IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899308   1988   FRUHF   1H2V02817JE029537   FBB9FL128W     MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899309   1985   PINES   1PND281SXFKA19916   2815ADX        MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899310   2001   WABSH   1JJV281W21F731150   NONE           MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899311   1999   STGHT   1DW1A5323XS300247   1DW            TX      Laredo
 YRCF     SERVICE EQUIPMENT   STG     RDWY899312   1995   PINES   1PNK281S7SKB66311   286BDRSWV      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899313   1991   PINES   1PNV402SXMK043321   4097RSV        VA      Fishersville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899314   1999   WABSH   1JJV402F5YF632388   FBHLP8‐40      VA      Manassas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899315   2003   WABSH   1JJV482W03L849324   DVCVHPC        NY      East Syracuse
 YRCF     SERVICE EQUIPMENT   STG     RDWY899316   2000   LFKTR   1L01A5324Y1140961   1L01           TX      Fort Worth
 YRCF     SERVICE EQUIPMENT   STG     RDWY899317   2000   STRCK   1S11E8286YE452275   VARIOUS        PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899318   2001   WABSH   1JJV532W91L669577   VARIOUS        CA      Tracy
 YRCF     SERVICE EQUIPMENT   STG     RDWY899320   1997   WABSH   1JJV402T5VL429097   SA 102 MC      NJ      Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899321   1994   PINES   1PNM402SXRKB56336   CDRSV          NJ      Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899323   1985   FRUHF   1H2V04821FH043041   FB9F248W       NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY899324   1985   FRUHF   1H2V04821FH043346   FB9F248W       NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY899325   2002   WABSH   1JJV532W12L815407   VARIOUS        RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899328   1989   PINES   1PNK281S2KKB33264   286BDRSWV      NJ      Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899329   1996   UTLTY   1UYVS2487VP064032   USED           PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899330   1999   FRUHF   1JJV452F2XF543017   FBHLP9‐45      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899331   1999   FRUHF   1JJV452FXXF543217   FBHLP9‐45      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899332   1997   WABSH   1JJV402T9VL429099   SA 102 MC      NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY899333   1998   FRUHF   1JJV482F2WF523656   USED           CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY899334   2001   WABSH   1JJV532W61L669648   VARIOUS        CA      Tracy
 YRCF     SERVICE EQUIPMENT   STG     RDWY899335   1990   PINES   1PNK281S5LKB38850   286BDRSWV      SC      Piedmont
 YRCF     SERVICE EQUIPMENT   STG     RDWY899336   2001   GRTDN   1GRAA06241K235894   1GRAA          MS      Richland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899337   1999   FRUHF   1JJV452F6XF543263   FBHLP9‐45      NJ      Kearny
 YRCF     SERVICE EQUIPMENT   STG     RDWY899338   2001   GRTDN   1GRAA962X1K238254   P‐SERIES       CA      Visalia
 YRCF     SERVICE EQUIPMENT   STG     RDWY899340   1995   WABSH   1JJV482T2SL324317   ************   NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899341   2001   GRTDN   1GRAA06281G319400   GLEN MOORE     NY      Brooklyn
 YRCF     SERVICE EQUIPMENT   STG     RDWY899342   1993   STRCK   1S12S8484PD355378   REDDAWAY       NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899344   2001   WABSH   1JJV281W61F731314   NONE           MS      Richland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899345   2001   WABSH   1JJV281WX1L745847   DVDBHPC        CA      Brisbane
 YRCF     SERVICE EQUIPMENT   STG     RDWY899346   2003   WABSH   1JJV482W93L849371   DVCVHPC        GA      Savannah
 YRCF     SERVICE EQUIPMENT   STG     RDWY899347   2001   GRTDN   1GRAA96201S034904   48 FOOT        OH      Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899348   2001   FRUHF   1JJV482F31F728704   NONE           NY      Brooklyn
 YRCF     SERVICE EQUIPMENT   STG     RDWY899349   1997   WABSH   1JJV402T4VL429110   SA 102 MC      NJ      South Plainfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899350   2005   GRTDN   1GRAA96255K263195   VARIOUS        OH      Copley
 YRCF     SERVICE EQUIPMENT   STG     RDWY899351   1999   STGHT   1DW1A5326XS300193   1DW            PA      McKees Rocks
 YRCF     SERVICE EQUIPMENT   STG     RDWY899353   1990   PINES   1PNK281S6LKB38873   286BDRSWV      TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899354   2001   GRTDN   1GRAA06201B053447   GLEN MOORE     IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899356   1994   WABSH   1JJV482M4RL209639   UNKNOWN        IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899357   1999   STRCK   1S12E948XXD440450   1S1            GA      Conley
 YRCF     SERVICE EQUIPMENT   STG     RDWY899358   2000   LFKTR   1L01A5326Y1141531   1L01           UT      St. George
 YRCF     SERVICE EQUIPMENT   STG     RDWY899359   1986   FRUHF   1H2V02815GH029074   FBB9F128       TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899360   2003   WABSH   1JJV482W83L849488   DVCVHPC        UT      Salt Lake City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899361   2001   WABSH   1JJV532W41L738384   1JJV           FL      Orlando
 YRCF     SERVICE EQUIPMENT   STG     RDWY899362   1997   WABSH   1JJV402T0VL429086   SA 102 MC      PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899363   1999   FRUHF   1JJV452F8XF543118   FBHLP9‐45      PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899366   1997   WABSH   1JJV402T0VL429279   SA 102 MC      CA      Orange
 YRCF     SERVICE EQUIPMENT   STG     RDWY899367   2001   WABSH   1JJV281W21F739085   NONE           PA      Bethlehem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899368   1999   FRUHF   1JJV452F5XF543268   FBHLP9‐45      PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899369   1987   PINES   1PND281S8HKA29234   2815ADXP       TX      Texarkana
 YRCF     SERVICE EQUIPMENT   STG     RDWY899373   2001   WABSH   1JJV532W01L669886   VARIOUS        NJ      Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899374   2001   GRTDN   1GRAA96201S034935   48 FOOT        LA      Port Allen
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23       Page 917 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899375   1999   MONON   1NNVX5322XM313101   1NNV           FL      Orlando
 YRCF     SERVICE EQUIPMENT   STG     RDWY899376   2001   WABSH   1JJV532W71L669738   VARIOUS        OH      Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899378   2001   WABSH   1JJV532W41L669793   VARIOUS        NJ      South Plainfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899379   2000   WABSH   1JJV532W2YF643539   1JJV           NJ      South Plainfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899380   2001   WABSH   1JJV532WX1L669782   1JJV           NJ      South Plainfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899381   1997   WABSH   1JJV402T7VL429179   SA 102 MC      PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899382   1997   WABSH   1JJV402T8VL429319   SA 102 MC      PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899383   1999   FRUHF   1JJV452F1XF543204   FBHLP9‐45      PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899384   1989   PINES   1PNK281S0KKB33537   286BDRSWV      TX      McAllen
 YRCF     SERVICE EQUIPMENT   STG     RDWY899385   1999   FRUHF   1JJV281F4XF541052   DVDBFSA        TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899386   1994   DORSY   1DTV11Z22RA217805   REDDAWAY       LA      New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY899387   2004   DORSY   1DTV11Z29RA217803   REDDAWAY       LA      New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY899388   2000   WABSH   1JJV281W2YL716613   DVDBHPC        NV      Las Vegas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899389   1994   STGHT   1DW1A4825RS849311   HOLLAND        MT      Missoula
 YRCF     SERVICE EQUIPMENT   STG     RDWY899390   2001   FRUHF   1JJV482F11F728717   NONE           TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899391   1988   PINES   1PNX482S4JKA29873   4814AXPW       CA      San Diego
 YRCF     SERVICE EQUIPMENT   STG     RDWY899392   2003   WABSH   1JJV452W83L828770   DVCVFSA‐45`    PA      Milton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899393   2000   WABSH   1JJV532W9YL730498   1JJV           OH      Copley
 YRCF     SERVICE EQUIPMENT   STG     RDWY899394   2001   GRTDN   1GRAA96291B042764   P‐SERIES       IN      Evansville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899395   2003   WABSH   1JJV482W73L849675   DVCVHPC        MA      Shrewsbury
 YRCF     SERVICE EQUIPMENT   STG     RDWY899396   1979   FRUHF   HPV652659           XTRA           LA      New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY899397   1987   FRUHF   1H2V04827HH030605   FB9F248W       LA      New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY899398   2000   STRCK   1S12E9536YD455306   GLEN MOORE     CA      Sacramento
 YRCF     SERVICE EQUIPMENT   STG     RDWY899399   2001   STRCK   1S12E94851D466946   VARIOUS        FL      Orlando
 YRCF     SERVICE EQUIPMENT   STG     RDWY899400   1994   DORSY   1DTV11Z23RA217800   REDDAWAY       LA      New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY899401   1999   TRLMB   1PT01JAH6X6001491   1PT            LA      New Orleans
 YRCF     SERVICE EQUIPMENT   STG     RDWY899402   1999   FRUHF   1JJV452F7XF543045   FBHLP9‐45      NY      Plainview
 YRCF     SERVICE EQUIPMENT   STG     RDWY899403   2000   WABSH   1JJV482W3YL657838   48 FOOT        OK      Tulsa
 YRCF     SERVICE EQUIPMENT   STG     RDWY899404   2001   FRUHF   1JJV281F62F779073   NONE           OH      Copley
 YRCF     SERVICE EQUIPMENT   STG     RDWY899406   1992   FRUHF   1H2V02817NB033370   NF128W5W       IL      Bolingbrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899408   1999   FRUHF   1JJV452F5XF543237   FBHLP9‐45      CA      Ventura
 YRCF     SERVICE EQUIPMENT   STG     RDWY899409   1993   STRCK   1S12E9481PD354542   1S12           CA      San Diego
 YRCF     SERVICE EQUIPMENT   STG     RDWY899410   2001   WABSH   1JJV532W11L738665   VARIOUS        OH      Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899411   2004   GRTDN   1GRAA802X4K262738   VARIOUS        VT      Bellows Falls
 YRCF     SERVICE EQUIPMENT   STG     RDWY899412   1996   WABSH   1JJV482U1TL325159   UNKNOWN        MS      Richland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899413   2000   WABSH   1JJV532W2YL730486   1JJV           PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899415   2004   GRTDN   1GRAA96244T505645   VARIOUS        OH      Toledo
 YRCF     SERVICE EQUIPMENT   STG     RDWY899416   1999   STRCK   1S12E9482XD440507   1S1            MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899417   2000   DORSY   1DTV41Z24YA278997   ************   MD      Landover
 YRCF     SERVICE EQUIPMENT   STG     RDWY899418   2000   GRTDN   1GRAA0620YB016022   GLEN MOORE     MD      Landover
 YRCF     SERVICE EQUIPMENT   STG     RDWY899419   1991   PINES   1PNV402S0MK043330   4097RSV        CA      Ventura
 YRCF     SERVICE EQUIPMENT   STG     RDWY899420   2001   WABSH   1JJV532W71L669058   VARIOUS        IL      Bolingbrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899421   1998           UNKNOWN3            VARIOUS        FL      Orlando
 YRCF     SERVICE EQUIPMENT   STG     RDWY899422   2000   DORSY   1DTV41Z22YA278934   ************   IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899423   1999   LFKTR   1L01A5329X1140419   1L01           UT      Salt Lake City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899424   2000   LFKTR   1L01A5326Y1141240   1L01           CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY899425   2002   MANAC   2M592146827083296   VARIOUS        CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY899426   1999   FRUHF   1JJV281F7XF625530   DVDBFSA        TX      Waco
 YRCF     SERVICE EQUIPMENT   STG     RDWY899427   2008   WABSH   1JJV281W08L109853   VARIOUS        CA      Hayward
 YRCF     SERVICE EQUIPMENT   STG     RDWY899428   2005   WABSH   1JJV532WX5L926462   FGGL28W5       IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899429   1990   PINES   1PNK281S8LKB39023   286BDRSWV      NV      Sparks
 YRCF     SERVICE EQUIPMENT   STG     RDWY899430   1988   PINES   1PNM402S3JK031275   4096CDRSV      MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899431   2001   WABSH   1JJV281W11F739031   NONE           MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899432   1987   FRUHF   1H2V04022HH034735   FB8F240        PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899434   2001   WABSH   1JJV532WX1L738258   VARIOUS        CO      Colorado Springs
 YRCF     SERVICE EQUIPMENT   STG     RDWY899435   2001   WABSH   1JJV532W61L738497   VARIOUS        CO      Colorado Springs
 YRCF     SERVICE EQUIPMENT   STG     RDWY899437   2000   STGHT   1DW1A482XYS403606   USED           MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899438   1993   WABSH   1JJV532Y5PL169037   WNCR           FL      Tampa
 YRCF     SERVICE EQUIPMENT   STG     RDWY899439   1999   LFKTR   1L01A5322X1140343   1L01           MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899440   2002   MANAC   2M592146327083366   VARIOUS        NC      Charlotte
 YRCF     SERVICE EQUIPMENT   STG     RDWY899441   1997   WABSH   1JJV402T1VL429310   SA 102 MC      NJ      South Plainfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899442   2001   WABSH   1JJV281W01L745372   DVDBHPC        TX      Eagle Pass
 YRCF     SERVICE EQUIPMENT   STG     RDWY899443   2003   WABSH   1JJV532W23L835098   VARIOUS        MD      Landover
 YRCF     SERVICE EQUIPMENT   STG     RDWY899444   1990   PINES   1PNK281S0LKB38805   286BDRSWV      MA      North Reading
 YRCF     SERVICE EQUIPMENT   STG     RDWY899445   1993   WABSH   1JJV532Y4PL169241   WNCR           FL      Orlando
 YRCF     SERVICE EQUIPMENT   STG     RDWY899446   1979   FRUHF   MAV595262           CONSOLIDATED   FL      Orlando
 YRCF     SERVICE EQUIPMENT   STG     RDWY899447   2003   MANAC   2M592161137092926   VARIOUS        NJ      Hamilton
 YRCF     SERVICE EQUIPMENT   STG     RDWY899448   1995   PINES   1PNM452S0SK069674   45CDBRSV       FL      Tampa
 YRCF     SERVICE EQUIPMENT   STG     RDWY899449   1995   PINES   1PNM452S2SK069675   45CDBRSV       FL      Tampa
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23        Page 918 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899450   1997   WABSH   1JJV452T4VL429430   SA 102 MC     FL      Tampa
 YRCF     SERVICE EQUIPMENT   STG     RDWY899451   1997   WABSH   1JJV452TXVL429433   SA 102 MC     FL      Tampa
 YRCF     SERVICE EQUIPMENT   STG     RDWY899452   1979   HOBBS   BLV979444           AX9800145     FL      Tampa
 YRCF     SERVICE EQUIPMENT   STG     RDWY899453   2001   WABSH   1JJV532W41L738174   VARIOUS       GA      Thomasville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899454   1995   WABSH   1JJV482M6SL247699   HOLLAND       GA      Thomasville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899455   1997   WABSH   1JJV402T6VL429285   SA 102 MC     NY      Plainview
 YRCF     SERVICE EQUIPMENT   STG     RDWY899456   2004   GRTDN   1GRAA80284K262723   VARIOUS       LA      Monroe
 YRCF     SERVICE EQUIPMENT   STG     RDWY899457   1999   WABSH   1JJV452F6XF626000   FBHLP8‐45     OH      Toledo
 YRCF     SERVICE EQUIPMENT   STG     RDWY899458   2004   GRTDN   1GRAA80204K262800   VARIOUS       MA      Shrewsbury
 YRCF     SERVICE EQUIPMENT   STG     RDWY899459   2004   STGHT   1DW1A532X4S713343   VARIOUS       TX      Dallas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899460   1999   WABSH   1JJV452F6XF626028   FBHLP8‐45     OH      Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899461   2003   WABSH   1JJV482W33L849480   DVCVHPC       AL      Birmingham
 YRCF     SERVICE EQUIPMENT   STG     RDWY899462   2004   WABSH   1JJV281W74L870843   N/A           MT      Missoula
 YRCF     SERVICE EQUIPMENT   STG     RDWY899465   2001   WABSH   1JJV532W81L738520   1JJV          TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899466   2006   WABSH   1JJV532W56L987560   1JJV          AZ      Lake Havasu City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899467   2000   WABSH   1JJV532W9YL730467   1JJV          CA      Tracy
 YRCF     SERVICE EQUIPMENT   STG     RDWY899469   1999   FRUHF   1JJV281F4XF540452   DVDBFSA       TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899470   1995   WABSH   1JJV482M3SL247742   HOLLAND       CA      San Diego
 YRCF     SERVICE EQUIPMENT   STG     RDWY899471   2000   GRTDN   1GRAA0629YB016133   GLEN MOORE    CA      San Diego
 YRCF     SERVICE EQUIPMENT   STG     RDWY899472   1996   STRCK   1S12E9484TD415411   1S1           CA      Sacramento
 YRCF     SERVICE EQUIPMENT   STG     RDWY899473   1984   STRCK   1S12E9482ED261509   UNKNOWN       CA      Sacramento
 YRCF     SERVICE EQUIPMENT   STG     RDWY899475   2002   WABSH   1JJV532W32L784211   1JJV          NC      Charlotte
 YRCF     SERVICE EQUIPMENT   STG     RDWY899476   2001   FRUHF   1JJV281FX2F779027   NONE          NC      Charlotte
 YRCF     SERVICE EQUIPMENT   STG     RDWY899477   1999   FRUHF   1JJV281F0XF540514   DVDBFSA       NC      Charlotte
 YRCF     SERVICE EQUIPMENT   STG     RDWY899478   2000   LFKTR   1L01A5323Y1141115   1L01          IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY899479   1999   STRCK   1S12E9488XD440463   1S1           IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899480   1999   FRUHF   1JJV482F7XF525226   REDDAWAY      IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899481   1999   FRUHF   1JJV281F6XF540016   DVDBFSA       WA      Tacoma
 YRCF     SERVICE EQUIPMENT   STG     RDWY899482   1997   WABSH   1JJV452T0VL429425   SA 102 MC     FL      Miami
 YRCF     SERVICE EQUIPMENT   STG     RDWY899483   2002   WABSH   1JJV532W32L815375   VARIOUS       TX      Laredo
 YRCF     SERVICE EQUIPMENT   STG     RDWY899484   2000   TRLMB   1PT01JAH9Y6007366   1PT           IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY899485   2000   WABSH   1JJV482WXYL636761   1JJV          GA      Macon
 YRCF     SERVICE EQUIPMENT   STG     RDWY899486   2000   WABSH   1JJV532W9YL730484   1JJV          IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY899487   1993   PINES   1PNR482NXPGB74382   1PNR          CA      San Diego
 YRCF     SERVICE EQUIPMENT   STG     RDWY899488   2000   WABSH   1JJV281W7YL716445   DVDBHPC       OH      Copley
 YRCF     SERVICE EQUIPMENT   STG     RDWY899489   2001   GRTDN   1GRAA06261G319444   GLEN MOORE    PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY899490   1999   FRUHF   1JJV281F8XF625567   DVDBFSA       OH      Copley
 YRCF     SERVICE EQUIPMENT   STG     RDWY899491   2000   WABSH   1JJV532W0YL730471   1JJV          CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY899492   1988   FRUHF   1H2V02819JH053112   FGGL28W5      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899493   2001   FRUHF   1JJV281F41F770516   NONE          IL      Bolingbrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899494   2006   WABSH   1JJV281W46L987881   VARIOUS       MT      Butte
 YRCF     SERVICE EQUIPMENT   STG     RDWY899495   2008   WABSH   1JJV532W28L111676   VARIOUS       NY      Tonawanda
 YRCF     SERVICE EQUIPMENT   STG     RDWY899496   1997   WABSH   1JJV402T0VL429105   SA 102 MC     NY      Plainview
 YRCF     SERVICE EQUIPMENT   STG     RDWY899497   1997   WABSH   1JJV402TXVL429127   SA 102 MC     NY      Plainview
 YRCF     SERVICE EQUIPMENT   STG     RDWY899498   1987   FRUHF   1H2V04025HH034731   FB8F240       NJ      Carlstadt
 YRCF     SERVICE EQUIPMENT   STG     RDWY899499   1999   FRUHF   1JJV452F0XF543016   FBHLP9‐45     NY      Plainview
 YRCF     SERVICE EQUIPMENT   STG     RDWY899500   1995   PINES   1PNM402S3SK069784   4096CDBRSV    MD      Landover
 YRCF     SERVICE EQUIPMENT   STG     RDWY899501   1995   PINES   1PNM402S1SK069783   4096CDBRSV    MD      Landover
 YRCF     SERVICE EQUIPMENT   STG     RDWY899502   1999   MONON   1NNVX5320XM313193   1NNV          CO      Henderson
 YRCF     SERVICE EQUIPMENT   STG     RDWY899503   2001   GRTDN   1GRAA96261S034938   48 FOOT       CO      Henderson
 YRCF     SERVICE EQUIPMENT   STG     RDWY899504   2000   TRLMB   1PT01JAH0Y6001200   1PT           CA      Sacramento
 YRCF     SERVICE EQUIPMENT   STG     RDWY899505   2001   WABSH   1JJV281W51F730932   NONE          NV      Las Vegas
 YRCF     SERVICE EQUIPMENT   STG     RDWY899506   1999   FRUHF   1JJV452FXXF543251   FBHLP9‐45     TX      Sherman
 YRCF     SERVICE EQUIPMENT   STG     RDWY899507   2002   STRCK   1S12E95382E491273   VARIOUS       PA      Mountain Top
 YRCF     SERVICE EQUIPMENT   STG     RDWY899508   2005   GRTDN   1GRAA96225T513986   SSL           IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899509   2001   WABSH   1JJV532W21L738013   VARIOUS       IL      Bolingbrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899510   2001   FRUHF   1JJV482F01F728692   NONE          WI      Oak Creek
 YRCF     SERVICE EQUIPMENT   STG     RDWY899511   1999   FRUHF   1JJV452F0XF543050   FBHLP9‐45     WI      Oak Creek
 YRCF     SERVICE EQUIPMENT   STG     RDWY899512   2007   WABSH   1JJV532W97L051412   1JJV          TN      Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899513   2002   STRCK   1S12E95322E491320   53' W/ GATE   IA      Sioux City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899514   1999   FRUHF   1JJV402F2XF543862   FBHLP9‐40     TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY899515   2000   STGHT   1DW1A4826YS345820   USED          MD      Landover
 YRCF     SERVICE EQUIPMENT   STG     RDWY899516   1997   WABSH   1JJV402T7VL429084   SA 102 MC     ND      Minot
 YRCF     SERVICE EQUIPMENT   STG     RDWY899517   2004   STGHT   1DW1A53244S704329   VARIOUS       MN      Burnsville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899518   2006   WABSH   1JJV532W26L987631   1JJV          MS      Richland
 YRCF     SERVICE EQUIPMENT   STG     RDWY899519   2008   WABSH   1JJV532W48L111453   VARIOUS       NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899520   2001   GRTDN   1GRAA96281G318459   P‐SERIES      ND      Minot
 YRCF     SERVICE EQUIPMENT   STG     RDWY899521   2001   WABSH   1JJV532W41L738241   1JJV          TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY899522   2001   WABSH   1JJV532WX1L738132   VARIOUS       TX      Houston
                    Case 23-11069-CTG              Doc 969-1         Filed 10/26/23        Page 919 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State      City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899523   2001   WABSH   1JJV532W01L669810   VARIOUS        TX         Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY899524   2007   WABSH   1JJV532W27L050540   VARIOUS        TX         Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY899525   2002   MANAC   2M592146127083351   VARIOUS        NY         Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899526   2007   GRTDN   1GRAA06207K286219   1GRA           TX         Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY899527   1988   FRUHF   1H2V02813JH012474   FGGL28W        TX         Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY899528   1999   WABSH   1JJV452F6XF625977   FBHLP8‐45      GA         Thomasville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899529   2004   GRTDN   1GRAA56194K257415   VARIOUS        WA         Everett
 YRCF     SERVICE EQUIPMENT   STG     RDWY899531   2007   WABSH   1JJV532W87L051482   1JJV           IN         Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY899532   2006   GRTDN   1GRAA802X6K278179   VARIOUS        IN         Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY899533   2001   GRTDN   1GRAA06211G319397   GLEN MOORE     IL         Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899534   2001   WABSH   1JJV532W51L669799   VARIOUS        NJ         Millville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899535   2001   TRLMB   1PT01JAH219003648   48' W/ GATE    NM         Albuquerque
 YRCF     SERVICE EQUIPMENT   STG     RDWY899536   1999   FRUHF   1JJV281W8XL556119   DVDBHPC        IN         Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY899537   2003   WABSH   1JJV281W23L834363   DVDBHPC        NC         Charlotte
 YRCF     SERVICE EQUIPMENT   STG     RDWY899539   1997   WABSH   1JJV402T9VL429071   SA 102 MC      PA         Line Lexington
 YRCF     SERVICE EQUIPMENT   STG     RDWY899540   2008   WABSH   1JJV281W58L108794   VARIOUS        NY         Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY899541   2000   LFKTR   1L01A5328Y1141157   1L01           IL         Chicago Heights
 YRCF     SERVICE EQUIPMENT   STG     RDWY899542   2001   GRTDN   1GRAA962X1K237475   ************   OH         Richfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY899543   1997   WABSH   1JJV402T3VL429230   SA 102 MC      MO         Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY899545   2005   GRTDN   1GRAA06245J610551   SSL            IL         Montgomery
 YRCF     SERVICE EQUIPMENT   STG     RDWY899546   2001   GRTDN   1GRAA96241K237813   P‐SERIES       PA         McKees Rocks
 YRCF     SERVICE EQUIPMENT   STG     RDWY899547   1999   PINES   1GRAA0625XS001126   1GRAA          WA         Tacoma
 YRCF     SERVICE EQUIPMENT   STG     RDWY899548   1999   WABSH   1JJV452FXXF625982   FBHLP8‐45      OH         Toledo
 YRCF     SERVICE EQUIPMENT   STG     RDWY899549   1990   PINES   1PNK281S1LKB39025   286BDRSWV      CA         Ventura
 YRCF     SERVICE EQUIPMENT   STG     RDWY899550   1995   PINES   1PNV482N0SKB61189   HOLLAND        CA         Orange
 YRCF     SERVICE EQUIPMENT   STG     RDWY899551   1995   PINES   1PNV482N7SKB61142   HOLLAND        MD         Landover
 YRCF     SERVICE EQUIPMENT   STG     RDWY899552   2001   FRUHF   1JJV281F32F779161   NONE           TN         Nashville
 YRCF     SERVICE EQUIPMENT   STG     RDWY899553   2001   GRTDN   1GRAA96221K237535   ************   MO         Saint Louis
 YRCF     SERVICE EQUIPMENT   STG     RDWY899554   2008   WABSH   1JJV532W88L112475   VARIOUS        WA         Everett
 YRCF     SERVICE EQUIPMENT   STG     RDWY899555   2007   WABSH   1JJV532W97L050325   VARIOUS        WA         Everett
 YRCF     SERVICE EQUIPMENT   STG     RDWY899556   2001   GRTDN   1GRAA96241K237973   P‐SERIES       NY         Deer Park
 YRCF     SERVICE EQUIPMENT   STG     RDWY899557   2007   WABSH   1JJV532W47L051270   1JJV           PA         Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY899653   2001   WABSH   1JJV532W21L669341   VARIOUS        Manitoba   Winnipeg
 YRCF     SERVICE EQUIPMENT   STG     RDWY90016    1971   FRUHF   MAM284032           VARIOUS        OH         Dayton
 YRCF     SERVICE EQUIPMENT   STG     RDWY90040    1972   PINES   3294CDV1225         3294CDV        AL         Decatur
 YRCF     SERVICE EQUIPMENT   STG     RDWY90325    1974   PINES   3294CDV2831         3294CDV        TX         Dallas
 YRCF     SERVICE EQUIPMENT   STG     RDWY90356    1974   PINES   3294CDV2878         3294CDV        MN         Burnsville
 YRCF     SERVICE EQUIPMENT   STG     RDWY90372    1974   PINES   3294CDV2902         3294CDV        IN         Indianapolis
 YRCF     SERVICE EQUIPMENT   STG     RDWY90442    1974   PINES   K68903              3294CDV        KY         Bowling Green
 YRCF     SERVICE EQUIPMENT   STG     RDWY90492    1974   PINES   3294CDV2910         3294CDV        IN         Terre Haute
 YRCF     SERVICE EQUIPMENT   STG     RDWY90508    1974   PINES   3294CDV2946         3294CDV        NY         Glenmont
 YRCF     SERVICE EQUIPMENT   STG     RDWY90536    1974   PINES   3294CDV2927         3294CDV        MO         Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY90537    1974   PINES   3294CDV2939         3294CDV        MO         Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY90538    1974   PINES   3294CDV2941         3294CDV        OH         Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY90555    1974   PINES   320CDV3544          3294CDV        IL         Morton
 YRCF     SERVICE EQUIPMENT   STG     RDWY90649    1974   PINES   FWS633549           3294CDV        GA         Macon
 YRCF     SERVICE EQUIPMENT   STG     RDWY90668    1974   PINES   FWS633527           3294CDV        AR         Springdale
 YRCF     SERVICE EQUIPMENT   STG     RDWY90702    1974   PINES   320CDV3582          3294CDV        OH         Akron
 YRCF     SERVICE EQUIPMENT   STG     RDWY90760    1974   PINES   320CDV3647          3294CDV        OH         Akron
 YRCF     SERVICE EQUIPMENT   STG     RDWY90822    1971   HOBBS   BLN877759           VARIOUS        MO         Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY90988    1976   FRUHF   FWX775027           VARIOUS        WA         Seattle
 YRCF     SERVICE EQUIPMENT   STG     RDWY91254    1977   TRLMB   P65482              A31D           CO         Colorado Springs
 YRCF     SERVICE EQUIPMENT   STG     RDWY91268    1977   TRLMB   P65497              A31D           NV         Sparks
 YRCF     SERVICE EQUIPMENT   STG     RDWY91467    1972   PINES   3294CDV1004         3294CDV        CA         Sun Valley
 YRCF     SERVICE EQUIPMENT   STG     RDWY91469    1959   BROWN   R594965             VARIOUS        MO         Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY91471    1969   TRLMB   E63881              VARIOUS        AL         Mobile
 YRCF     SERVICE EQUIPMENT   STG     RDWY91804    1966   FRUHF   FWG595223           VARIOUS        OH         Akron
 YRCF     SERVICE EQUIPMENT   STG     RDWY91842    1977   PINES   320CDV6061          320CDV         OK         Tulsa
 YRCF     SERVICE EQUIPMENT   STG     RDWY91854    1965   FRUHF   FWF303319           VARIOUS        OH         Akron
 YRCF     SERVICE EQUIPMENT   STG     RDWY91918    1978   FRUHF   MAZ557035           FB8F240        NV         Sparks
 YRCF     SERVICE EQUIPMENT   STG     RDWY91927    1978   FRUHF   MAZ557026           FB8F240        IL         Decatur
 YRCF     SERVICE EQUIPMENT   STG     RDWY91934    1978   FRUHF   MAZ557019           FB8F240        IL         Wheeling
 YRCF     SERVICE EQUIPMENT   STG     RDWY91956    1978   FRUHF   CHZ265065           FB8F240        NC         Wilmington
 YRCF     SERVICE EQUIPMENT   STG     RDWY91968    1978   FRUHF   CHZ265053           FB8F240        NC         Rocky Mount
 YRCF     SERVICE EQUIPMENT   STG     RDWY91977    1978   FRUHF   CHZ265044           FB8F240        NC         Rocky Mount
 YRCF     SERVICE EQUIPMENT   STG     RDWY92020    1978   FRUHF   CHZ265001           FB8F240        VA         Roanoke
 YRCF     SERVICE EQUIPMENT   STG     RDWY92025    1978   FRUHF   HPY600857           FB8F240        ME         Fairfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY92166    1965   FRUHF   FWF303318           VARIOUS        OH         Akron
 YRCF     SERVICE EQUIPMENT   STG     RDWY92223    1965   FRUHF   FWF303305           VARIOUS        GA         Marietta
                    Case 23-11069-CTG              Doc 969-1          Filed 10/26/23       Page 920 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SERVICE EQUIPMENT   STG     RDWY92225     1978   PINES   323CDV7705          323CDV       NE      Omaha
 YRCF     SERVICE EQUIPMENT   STG     RDWY92228     1978   PINES   323CDV7748          323CDV       NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   STG     RDWY92256     1978   PINES   323CDV7745          323CDV       OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY92281     1978   PINES   323CDV7809          323CDV       KS      Wichita
 YRCF     SERVICE EQUIPMENT   STG     RDWY92298     1978   PINES   3297CDV7833         3297CDV      WA      Seattle
 YRCF     SERVICE EQUIPMENT   STG     RDWY92310     1978   PINES   323CDV7721          323CDV       CA      Sun Valley
 YRCF     SERVICE EQUIPMENT   STG     RDWY92338     1965   FRUHF   FWF303326           VARIOUS      CA      Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY92475     1979   FRUHF   MEV616006           FBB8W13210   TX      Houston
 YRCF     SERVICE EQUIPMENT   STG     RDWY92477     1979   FRUHF   MEV616008           FBB8W13210   TX      Abilene
 YRCF     SERVICE EQUIPMENT   STG     RDWY92480     1979   FRUHF   MEV616011           FBB8W13210   AR      Little Rock
 YRCF     SERVICE EQUIPMENT   STG     RDWY92520     1979   FRUHF   MEV616051           FBB8W13210   NE      Omaha
 YRCF     SERVICE EQUIPMENT   STG     RDWY92595     1979   FRUHF   MEV618106           FBB6W13210   PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY92619     1979   FRUHF   MEV616210           FB8F240      CA      Sun Valley
 YRCF     SERVICE EQUIPMENT   STG     RDWY92678     1979   FRUHF   MAV583819           FB8F240      FL      Orlando
 YRCF     SERVICE EQUIPMENT   STG     RDWY92764     1979   FRUHF   MAV583905           FB8F240      MN      Burnsville
 YRCF     SERVICE EQUIPMENT   STG     RDWY92806     1979   FRUHF   CHV297814           FB8F240      VA      Roanoke
 YRCF     SERVICE EQUIPMENT   STG     RDWY92890     1979   MONON   40482               FA7OCD       MO      Kansas City
 YRCF     SERVICE EQUIPMENT   STG     RDWY93581     1979   FRUHF   MEV597777           FB97245      MN      Burnsville
 YRCF     SERVICE EQUIPMENT   STG     RDWY93597     1980   TRLMB   V36224              014A         PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY93756     1978   FRUHF   MEZ560518           FBB9W1‐27    GA      Marietta
 YRCF     SERVICE EQUIPMENT   STG     RDWY93778     1978   FRUHF   MEY545426           FBB9W1‐27    GA      Marietta
 YRCF     SERVICE EQUIPMENT   STG     RDWY93844     1977   TRLMB   P95566              D71A‐1AAP    GA      Marietta
 YRCF     SERVICE EQUIPMENT   STG     RDWY93851     1978   FRUHF   MEY545851           FBB9W1‐27    NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   STG     RDWY93912     1978   FRUHF   MEZ560569           FBB9W1‐27    CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY93971     1978   FRUHF   MEY545678           FBB9W1‐27    IL      Montgomery
 YRCF     SERVICE EQUIPMENT   STG     RDWY94028     1977   TRLMB   P95606              D71A‐1AAP    IL      Wheeling
 YRCF     SERVICE EQUIPMENT   STG     RDWY94053     1978   FRUHF   MEY545038           FBB9W1‐27    NY      Maybrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY94121     1980   TRLMB   V36279              014A         OH      Columbus
 YRCF     SERVICE EQUIPMENT   STG     RDWY94133     1980   TRLMB   V64480              014A         VA      Manassas
 YRCF     SERVICE EQUIPMENT   STG     RDWY94354     1987   FRUHF   1H2V0402XHH034501   FB8F240      NC      Charlotte
 YRCF     SERVICE EQUIPMENT   STG     RDWY94366     1987   FRUHF   1H2V04025HB008701   FB8F240      WV      Bridgeport
 YRCF     SERVICE EQUIPMENT   STG     RDWY94507     1978   FRUHF   MEZ560620           FBB9W1‐27    MT      Butte
 YRCF     SERVICE EQUIPMENT   STG     RDWY94520     1977   TRLMB   P95650              D71A‐1AAP    NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   STG     RDWY94544     1977   HOBBS   BLY794009           ADX9‐8001    TX      McAllen
 YRCF     SERVICE EQUIPMENT   STG     RDWY94583     1977   TRLMB   P95460              D71A‐1AAP    UT      Salt Lake City
 YRCF     SERVICE EQUIPMENT   STG     RDWY94649     1988   PINES   1PNM402S2JK031199   4096CDRSV    RI      Cumberland
 YRCF     SERVICE EQUIPMENT   STG     RDWY94734     1988   PINES   1PNM402S4JK031284   4096CDRSV    NC      Durham
 YRCF     SERVICE EQUIPMENT   STG     RDWY94855     1988   PINES   1PNM331S4JK031405   3396CDRSV    CA      Gardena
 YRCF     SERVICE EQUIPMENT   STG     RDWY95009     1977   TRLMB   P95003              D71A‐1AAP    CA      Santa Rosa
 YRCF     SERVICE EQUIPMENT   STG     RDWY95031     1988   FRUHF   1H2V04825JH013632   FG45W948     PA      Carlisle
 YRCF     SERVICE EQUIPMENT   STG     RDWY95069     1981   HOBBS   1H5V04524BM018871   AX9800145    CA      Bloomington
 YRCF     SERVICE EQUIPMENT   STG     RDWY95074     1982   FRUHF   1H2V04521CH003770   FB97245      CA      Orange
 YRCF     SERVICE EQUIPMENT   STG     RDWY95171     1977   FRUHF   BLY794275           ADX9‐8001    CA      Orange
 YRCF     SERVICE EQUIPMENT   STG     RDWY95204     1978   FRUHF   MEY545081           FBB9W1‐27    DE      New Castle
 YRCF     SERVICE EQUIPMENT   STG     RDWY95211     1978   FRUHF   MEY545773           FBB9W1‐27    OR      Portland
 YRCF     SERVICE EQUIPMENT   STG     RDWY95281     1982   FRUHF   1H2V04527CH004017   FB97245      WI      Neenah
 YRCF     SERVICE EQUIPMENT   STG     RDWY95306     1982   FRUHF   1H2V04523CH004127   FB97245      IL      Wheeling
 YRCF     SERVICE EQUIPMENT   STG     RDWY95312     1982   FRUHF   1H2V04523CH004158   FB97245      WI      Neenah
 YRCF     SERVICE EQUIPMENT   STG     RDWY95508     1981   HOBBS   1H5V04524BM016960   AX9800145    ME      Westbrook
 YRCF     SERVICE EQUIPMENT   STG     RDWY95649     1981   FRUHF   1H2V04523BH041726   FB97245      AL      Montgomery
 YRCF     SERVICE EQUIPMENT   STG     RDWY95665     1982   FRUHF   1H2V04527CH003711   FB97245      VA      Roanoke
 YRCF     SERVICE EQUIPMENT   STG     RDWY95945     1982   FRUHF   1H2V04520CH003839   FB97245      NY      Mount Vernon
 YRCF     SERVICE EQUIPMENT   STG     RDWY96197     1981   FRUHF   1H2V04522BH041720   FB97245      CT      Cheshire
 YRCF     SERVICE EQUIPMENT   STG     RDWY96198     1981   FRUHF   1H2V04527BH041845   FB97245      PA      Bensalem
 YRCF     SERVICE EQUIPMENT   STG     RDWY96338     1981   HOBBS   1H5V04520BM016874   AX9800145    WV      Bridgeport
 YRCF     SERVICE EQUIPMENT   STG     RDWY96390     1982   FRUHF   1H2V04527CH004213   FB97245      ME      Fairfield
 YRCF     SERVICE EQUIPMENT   STG     RDWY96434     1985   FRUHF   1H2V04828FH043280   FB9F248W     TX      Irving
 YRCF     SERVICE EQUIPMENT   STG     RDWY96477     1985   FRUHF   1H2V04825FH043219   FB9F248W     WI      Madison
 YRCF     SERVICE EQUIPMENT   STG     RDWY96507     1985   FRUHF   1H2V04820FH043046   FB9F248W     PA      Du Bois
 YRCF     SERVICE EQUIPMENT   STG     RDWY96510     1985   FRUHF   1H2V04826FH043097   FB9F248W     DE      Seaford
 YRCF     SERVICE EQUIPMENT   STG     RDWY96522     1985   FRUHF   1H2V04821FH043265   FB9F248W     DE      New Castle
 YRCF     SERVICE EQUIPMENT   STG     RDWY9654      1977   TRLMB   S62473              D31A         MI      Taylor
 YRCF     SERVICE EQUIPMENT   STG     RDWY9765      1977   TRLMB   S62622              D31A         NJ      Millville
 YRCF     SERVICE EQUIPMENT   STG     RDWY99        1970   TRLMB   F67084              S31D2AAE     OH      Copley
 YRCF     SERVICE EQUIPMENT   STG     RDWY9939      1972   PINES   3294CDV0743         3294CDV      TX      Houston
 YRCF     SERVICE EQUIPMENT   SVC‐CTK RDWY8052      2018   HINO    JHHYDM1H2JK004766   0            PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY10        2001   MACK    1M1AA08Y61W021767   CH612        IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY22        1999   VOLVO   4VA7BBRF8XN784017   VNM42T       OK      Oklahoma City
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY23        2001   FRGHT   1FUJAHCGX1LH74616   FLD120       MO      Kansas City
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23        Page 921 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY27       2003   VOLVO   4V4M39RF53N325775   VNM42T         IL      Wheeling
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY28       2000   VOLVO   4V4M42JF7YN234479   VNM42TD        CO      Aurora
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY30       1989   WGMC    4GTS9C4W8KV801133   J9C064         MI      Pontiac
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY36       1995   INTL    1HTSHAAR0SH659644   F4900          GA      Marietta
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY51       2008   VOLVO   4V4MC9EG98N498365   VNM64T         TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY64       2000   INTL    2HSCBAMR2YC080175   9100 DAY CAB   OH      Copley
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY67       1995   INTL    1HSSCAAN7SH228167   4700           IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY68       1994   WGMC    4V1JDBJF0RR822203   VARIOUS        OH      Richfield
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY7        2000   INTL    1HSHBATN5YH205635   8100           IL      Bolingbrook
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY7369     1994   WGMC    4V1VDBJG2RN681006   WCA64T         IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY768      1993   INTL    1HTGBPCR0PH487680   S‐2500         PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY77       1999   INTL    1HSHBATN2XH685700   8100           IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY79       1989   WGMC    4VGJBBRFXWN860864   J9C064         MN      Burnsville
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY8        1991   INTL    1HTMGZPM4MH342586   VARIOUS        SC      Piedmont
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY80       2006   VOLVO   4V4MC9GF16N405677   VNM64T         NY      Maybrook
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY82       2002   INTL    1HSHBAAN52H510028   8100 4X2       IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY84       2000   VOLVO   4V4M42RF1YN245806   VNM42T         OH      Columbus
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY90       2001   INTL    1HSHBAHN61H384072   8100           IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY92       1999   STRLN   2FWWMLCB0XAA03138   L8513          MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY93       2001   INTL    1HSCAAHN01J004603   9100           OH      Richfield
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY94       2004   STRLN   2FWBA2CV24AL89825   A9500          MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY96       2000   VOLVO   4V4MD2RF4YN791967   VNM64T         MI      Pontiac
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY97       1995   INTL    1HSSCAAN6SH228211   4700           MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐CTR RDWY98       2008   VOLVO   4V4MC9GG18N461971   VNM64T         NY      Tonawanda
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY1036     1999   TOYOT   6FGCU25‐82128       42‐6FGC25      NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY1041     1992   HYSTR   B187V4136M          S50XL          TN      Nashville
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY11       1994   TOYOT   5FGCU25‐80914       5FGCU25        OH      Richfield
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY118      1995   KMTSU   405811              FG20STX1       NC      Kernersville
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY1246     1996   TWMTR   4EM04600            GC25           TN      Memphis
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY1256     1996   TWMTR   4EM04550            C25            SC      Piedmont
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY1258     1996   TWMTR   4EM04570            GC25           GA      Marietta
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY1263     1996   TWMTR   4EM04598            GC25           TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY1620     1985   TOYOT   2FDC25‐11597        02FDC25        MD      Baltimore
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY1719     1997   MTSBS   AF82B005399         USFR           GA      Marietta
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY1883     1999   KMTSU   513125A             FG20ST12       TN      Memphis
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY2202     1987   TOYOT   2FDC25‐13532        2FDC25         NC      Kernersville
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY2248     1989   TOYOT   5FDC25‐10403        5FDC25         NY      Maybrook
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY2250     1990   TOYOT   5FDC25‐10799        5FDC25         OR      Portland
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY2251     1990   TOYOT   5FGC25‐13847        5FGCU25        OH      Richfield
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY2252     1985   TOYOT   4FD25‐28673         4FD25          MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY2253     1987   TOYOT   5FG25‐10589         42‐5FG25       MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY2273     1992   TOYOT   5FGCU25‐74904       5FGCU25        IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY3402     1981   NSSMT   CQF02000144         CD50           TX      Houston
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY3434     1992   TOYOT   5FGCU25‐74428       5FGCU25        NY      Tonawanda
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY3488     1996   TOYOT   6FGCU25‐67093       42‐6FGC25      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY3535     1993   TOYOT   5FGCU25‐75494       5FGCU25        CA      Bloomington
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY3651     1993   TOYOT   5FGCU25‐76805       5FGCU25        CA      Tracy
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY3671     1993   TOYOT   5FGCU25‐76848       5FGCU25        MI      Taylor
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY3684     1993   TOYOT   5FGCU25‐77147       5FGCU25        NC      Charlotte
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY373      1971   CLIFF   A1478               F820           AZ      Phoenix
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY3792     2002   TOYOT   7FGCU25‐78581       7FGCU25        OH      Copley
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4078     2006   KMTSU   587868A             F620ST         PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4154     2006   KMTSU   592707A             F620ST         TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4353     2005   KMTSU   585959A             FG20ST14       OR      Portland
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4367     2005   KMTSU   587807A             FG20ST         MD      Hagerstown
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4430     2002   KMTSU   558689A             FG20ST12       IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4694     2002   KMTSU   559219A             FG20ST12       OH      Copley
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4696     2002   KMTSU   559221A             FG20ST12       IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4711     2002   KMTSU   559967A             FG20ST12       NJ      Kearny
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4728     2002   KMTSU   559984A             FG20ST12       DE      Seaford
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4760     2002   KMTSU   559998A             FG20ST12       OH      Richfield
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4787     2002   KMTSU   561418A             FG20ST12       PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4866     1994   NSSMT   900996              USF            CA      Bloomington
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY4902     2000   KMTSU   515702A             FG20ST         PA      Mountain Top
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5024     1999   TOYOT   6FGCU25‐79303       VARIOUS        IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5049     2003   KMTSU   562128A             FG20ST12       DE      New Castle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5061     2003   KMTSU   563781A             FG20ST12       NJ      Hamilton
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5092     2003   KMTSU   563812A             FG20ST12       TN      Memphis
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5118     2003   KMTSU   563838A             FG20ST12       MS      Richland
                    Case 23-11069-CTG             Doc 969-1          Filed 10/26/23        Page 922 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5132     2003   KMTSU   563852A             FG20ST12     NY      Maybrook
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5174     2003   KMTSU   563895A             FG20ST12     PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5222     2003   KMTSU   565800A             FG20ST12     OK      Oklahoma City
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5233     2003   KMTSU   565811A             FG20ST12     TN      Nashville
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5252     2003   KMTSU   566175A             FG20ST12     NC      Charlotte
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5268     2003   KMTSU   566413A             FG20ST12     IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5316     2003   KMTSU   566977A             FG20ST12     IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5419     2003   KMTSU   567546A             FG20ST12     PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5653     2004   KMTSU   568664A             FG20ST12     OH      Cincinnati
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5723     2004   KMTSU   568848A             FG20ST12     PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5749     2004   KMTSU   568914A             FG20ST12     GA      Marietta
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY5876     2005   KMTSU   587833A             FG20ST       NC      Charlotte
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY6213     2004   TOYOT   7FGCU25‐83540       7FGCU25      MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY6602     2005   TOYOT   7FGCU25‐91466       7FGCU25      IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY6642     2002   TOYOT   7FGCU25‐73885       7FGCU25      IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY6795     2006   TOYOT   7FGCU25‐00734       VARIOUS      IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY7239     2002   TOYOT   7FGCU25‐78491       7FGCU25      TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY7375     2002   TOYOT   7FGCU25‐79749       7FGCU25      TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY7491     2002   TOYOT   7FGCU25‐79224       7FGCU25      TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY7514     2002   TOYOT   7FGCU25‐79255       7FGCU25      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY7516     2002   TOYOT   7FGCU25‐79840       7FGCU25      MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY7537     2003   TOYOT   7FGCU25‐80021       7FGCU25      TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY7541     2003   TOYOT   7FGCU25‐80075       7FGCU25      MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY8011     2006   TOYOT   7FGCU25‐02706       VARIOUS      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY8470     2006   MTSBS   AF82F02577          FGC25N‐LP    MS      Richland
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY8514     1999   TOYOT   6FGCU25‐79358       VARIOUS      IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY8799     2001   TCM     A12W02221           FCG25F9      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY8906     2001   TOYOT   7FGCU25‐70486       7FGCU25      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY9268     2002   TOYOT   7FGCU25‐74753       7FGCU25      MI      Wyoming
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY9314     2002   TOYOT   7FGCU25‐75716       7FGCU25      OR      Portland
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY9394     2002   TOYOT   7FGCU25‐76264       7FGCU25      CA      Susanville
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY9499     2002   TOYOT   7FGCU25‐78168       7FGCU25      MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY9500     2002   TOYOT   7FGCU25‐78170       7FGCU25      MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY9519     2002   TOYOT   7FGCU25‐78241       7FGCU25      MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY9540     2002   TOYOT   7FGCU25‐78412       7FGCU25      UT      Salt Lake City
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY9758     2008   TOYOT   8FGCU25‐18574       8FGCU25      CA      Pomona
 YRCF     SERVICE EQUIPMENT   SVC‐FKL RDWY9790     2008   TOYOT   8FGCU25‐18804       8FGCU25      CA      Bloomington
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY12       1997   GMC     1GDHG31R9V1042564   K3500        OR      Portland
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY14       1994   DODGE   1B7KC26C5RS655611   VARIOUS      TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY15       2008   FORD    1FTNX21PX3ED79010   F250 SUPER   IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY16       2002   DODGE   3B6KC266X2M288461   F250 SUPER   OH      Richfield
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY17       2006   FORD    1FTSF30P56EA89565   F250 SUPER   OH      Copley
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY18       1995   DODGE   1B7KC26C1SS302174   VARIOUS      GA      Marietta
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY19       2010   DODGE   3D6WD7EL8AG126463   VARIOUS      MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY26       2001   DODGE   3B7KC26621M275052   E            CA      Tracy
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY3        2000   CHVRL   1GCGK2441YE235247   SILVERADO    IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY32       1999   FORD    1FTNF20F5XEA02697   F250 XLT     MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY33       1989   SKY     8100265             VARIOUS      IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY39       1992   FORD    1FDXK74P9NVA34792   F700         MN      Burnsville
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY42       1999   FORD    1FTNF20F4XEE11550   F250         OH      Cincinnati
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY44       2015   FORD    1FDUF5HT7FEB81259   F550         PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY47       2003   FORD    1FTNF21P53EC25842   F250         MN      Burnsville
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY48       2003   FORD    1FTNF20P63EC71276   F250         MS      Richland
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY50       2005   FORD    1FTSF20P85EC97965   F250         OH      Columbus
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY53       2003   FORD    1FTNF20P13EC71279   F250         AR      Little Rock
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY55       1999   FORD    1FTNF20L5XED98250   F250         TN      Memphis
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY567      1989   CHVRL   1GCGK24KXKE277034   CHEYENNE     MD      Hagerstown
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY57       2007   FORD    1FTSX21P07EA47263   F250         NC      Charlotte
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY58       2007   FORD    1FTRF122X7KA95238   F150         TN      Nashville
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY61       2008   FORD    1FTNF20598EA02405   F250         CA      Bloomington
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY65       2004   COYTE   2031220E102055      65           OH      Richfield
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY707      1997   FORD    3FTHF26H4VMA14613   F150         OH      Toledo
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY72       2006   FORD    1FTWF31P86EA74400   F350         TN      Memphis
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY728      1997   FORD    1FTDF1823VNC21842   F150         TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY73       2002   FORD    1FTWX33F02EB95918   F350         MO      Saint Louis
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY7316     1994   DODGE   1B7KC26C3RS662184   VARIOUS      IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY7321     1995   DODGE   1B7KC26C3SS302175   VARIOUS      CO      Aurora
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY7323     1995   DODGE   1B7KC26C7SS302177   VARIOUS      MI      Taylor
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY7339     2001   DODGE   3B7KC26621M275049   VARIOUS      TX      Houston
                    Case 23-11069-CTG              Doc 969-1          Filed 10/26/23        Page 923 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1               Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL        State   City
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY7340      2001   DODGE   3B7KC26691M275050   VARIOUS       NC      Charlotte
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY7363      2007   FORD    1FTNF205X7EA79444   F250          PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY7366      2007   FORD    1FTRF12227KB62236   F250          IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY7367      1999   FORD    1FTSF30F7XEC16325   F‐350         UT      Salt Lake City
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY739       1996   CHVRL   1GCEK14M5TE246262   K1500         PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY743       1999   GMC     1GTGK24R3XF019727   SIERRA        IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY745       2000   DODGE   1B7GL22X1YS503077   DAKOTA        MO      Kansas City
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY755       1994   CHVRL   1GCGK29FXRE122697   3/4 TON       MO      Strafford
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY764       1999   DODGE   1B7HC16X1XS213820   RAM           OH      Cincinnati
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY766       2000   GMC     1GDHK34F7YF492933   K3500         IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY767       2004   FORD    1FTNF21L84EA38674   F250          PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY770       2003   FORD    1FTNF20P83EC71277   F250          IN      Indianapolis
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY771       2001   FORD    1FTNF20F81EB50978   F250          CA      Bloomington
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY772       2008   FORD    1FTNF20528EB49424   F250          PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY780       2005   CHVRL   1GCHC24U95E278277   500           IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY790       1997   FORD    1FTHF36F6VEA57036   350           PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY793       2007   FORD    1FTNF20517EA79445   F250          MI      Taylor
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY794       2003   CHVRL   1GCHK24U13E152379   TK            PA      Mountain Top
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY795       2008   FORD    1FTNF205X8EA36093   F20A          TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY796       2008   FORD    1FTNF20528EA55141   F20A          NC      Kernersville
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY797       2001   FORD    1FDWF36F21EC97908   F350          TN      Nashville
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY81115     1971   FORD    F10YRM02564         F100          NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY81529     1985   GMC     1GTGC24JXFJ525106   VARIOUS       CA      Bloomington
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY81735     1989   GMC     1GTGK24KXKE530935   VARIOUS       KS      Overland Park
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY81743     1989   GMC     1GTFC24C1KE543722   VARIOUS       NM      Albuquerque
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY81776     1990   GMC     1GTGK24J8LE529615   VARIOUS       AZ      Phoenix
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY87        2008   FORD    1FTSF20R78EA86357   F250          TX      Irving
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY88        2008   CHVRL   1GCNCPEA8DZ413759   SILVER 1500   GA      Marietta
 YRCF     SERVICE EQUIPMENT   SVC‐OTH RDWY9         1995   SKY     73124               VARIOUS       OH      Columbus
 YRCF     SERVICE EQUIPMENT   SVC‐YTR RDWY1208      2005   OTTWA   311746              30SERIES      PA      Carlisle
 YRCF     SERVICE EQUIPMENT   SVC‐YTR RDWY5         1993   OTTWA   68394               30SERIES      SC      Piedmont
 YRCF     SERVICE EQUIPMENT   SVC‐YTR RDWY8316      2003   OTTWA   305572              YT30          IL      Chicago Heights
 YRCF     SERVICE EQUIPMENT   SVC‐YTR RDWY929       2007   OTTWA   316635              4675          IL      Chicago Heights
 YRCF     YARD TRACTOR        YTR     RDWY1004      2006   OTTWA   313776              30SERIES      FL      Miami
 YRCF     YARD TRACTOR        YTR     RDWY1005      2006   OTTWA   313777              YT‐30         NY      Brooklyn
 YRCF     YARD TRACTOR        YTR     RDWY1012      2006   OTTWA   314176              30SERIES      WI      Oak Creek
 YRCF     YARD TRACTOR        YTR     RDWY1042      2006   OTTWA   314177              30SERIES      KS      Wichita
 YRCF     YARD TRACTOR        YTR     RDWY1043      2006   OTTWA   314178              30SERIES      TX      Irving
 YRCF     YARD TRACTOR        YTR     RDWY1180      2004   OTTWA   308711              YT30          RI      Cumberland
 YRCF     YARD TRACTOR        YTR     RDWY1182      2004   OTTWA   308713              YT30          MD      Landover
 YRCF     YARD TRACTOR        YTR     RDWY1184      2004   OTTWA   308715              YT30          WI      Madison
 YRCF     YARD TRACTOR        YTR     RDWY1185      2004   OTTWA   308716              YT30          MS      Richland
 YRCF     YARD TRACTOR        YTR     RDWY1186      2004   OTTWA   308717              YT30          IL      Morton
 YRCF     YARD TRACTOR        YTR     RDWY1187      2004   OTTWA   308718              YT30          RI      Cumberland
 YRCF     YARD TRACTOR        YTR     RDWY1188      2004   OTTWA   308719              YT30          GA      Jefferson
 YRCF     YARD TRACTOR        YTR     RDWY1189      2004   OTTWA   308720              30            TN      Knoxville
 YRCF     YARD TRACTOR        YTR     RDWY1190      2004   OTTWA   308721              YT30          SC      Piedmont
 YRCF     YARD TRACTOR        YTR     RDWY1192      2004   OTTWA   308722              YT30          CA      Hayward
 YRCF     YARD TRACTOR        YTR     RDWY1193      2004   OTTWA   308723              YT30          AZ      Phoenix
 YRCF     YARD TRACTOR        YTR     RDWY1195      2005   OTTWA   311733              30SERIES      PA      Bethlehem
 YRCF     YARD TRACTOR        YTR     RDWY1196      2005   OTTWA   311734              30SERIES      CA      Tracy
 YRCF     YARD TRACTOR        YTR     RDWY1197      2005   OTTWA   311735              30SERIES      NV      Sparks
 YRCF     YARD TRACTOR        YTR     RDWY1198      2005   OTTWA   311736              30SERIES      PA      McKees Rocks
 YRCF     YARD TRACTOR        YTR     RDWY1199      2005   OTTWA   311737              30SERIES      NY      Plainview
 YRCF     YARD TRACTOR        YTR     RDWY1201      2005   OTTWA   311739              30SERIES      FL      Boynton Beach
 YRCF     YARD TRACTOR        YTR     RDWY1203      2005   OTTWA   311741              30SERIES      NJ      South Plainfield
 YRCF     YARD TRACTOR        YTR     RDWY1204      2005   OTTWA   311742              30SERIES      IL      Montgomery
 YRCF     YARD TRACTOR        YTR     RDWY1205      2005   OTTWA   311743              30SERIES      MA      Shrewsbury
 YRCF     YARD TRACTOR        YTR     RDWY1206      2005   OTTWA   311744              30SERIES      WV      Charleston
 YRCF     YARD TRACTOR        YTR     RDWY1209      2005   OTTWA   311747              30SERIES      OH      Dayton
 YRCF     YARD TRACTOR        YTR     RDWY1211      2005   OTTWA   311749              30SERIES      UT      Salt Lake City
 YRCF     YARD TRACTOR        YTR     RDWY1218      2006   OTTWA   313763              30SERIES      NH      Bedford
 YRCF     YARD TRACTOR        YTR     RDWY1219      2006   OTTWA   313764              30SERIES      PA      Erie
 YRCF     YARD TRACTOR        YTR     RDWY1221      2006   OTTWA   313765              30SERIES      TX      Irving
 YRCF     YARD TRACTOR        YTR     RDWY1222      2006   OTTWA   313766              30SERIES      TX      Irving
 YRCF     YARD TRACTOR        YTR     RDWY1223      2006   OTTWA   313767              30SERIES      TX      Laredo
 YRCF     YARD TRACTOR        YTR     RDWY1224      2006   OTTWA   313768              30SERIES      TX      Irving
 YRCF     YARD TRACTOR        YTR     RDWY1225      2006   OTTWA   313769              30SERIES      OH      Columbus
 YRCF     YARD TRACTOR        YTR     RDWY1227      2006   OTTWA   313771              30SERIES      AZ      Phoenix
                    Case 23-11069-CTG          Doc 969-1          Filed 10/26/23        Page 924 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     YARD TRACTOR     YTR     RDWY1228     2006   OTTWA   313772              30SERIES   MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY1229     2006   OTTWA   313773              30SERIES   UT      Salt Lake City
 YRCF     YARD TRACTOR     YTR     RDWY1233     2006   OTTWA   313775              30SERIES   WI      Oak Creek
 YRCF     YARD TRACTOR     YTR     RDWY200      2017   OTTWA   346781              T2         NJ      Carlstadt
 YRCF     YARD TRACTOR     YTR     RDWY201      2017   OTTWA   346782              T2         VA      Manassas
 YRCF     YARD TRACTOR     YTR     RDWY202      2017   OTTWA   346783              T2         PA      Altoona
 YRCF     YARD TRACTOR     YTR     RDWY203      2017   OTTWA   346784              T2         NY      Tonawanda
 YRCF     YARD TRACTOR     YTR     RDWY204      2017   OTTWA   346785              T2         OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY205      2017   OTTWA   346786              T2         IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY206      2017   OTTWA   346787              T2         IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY207      2017   OTTWA   346788              T2         MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY208      2017   OTTWA   346789              T2         MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY210      2017   OTTWA   346791              T2         TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY211      2017   OTTWA   346792              T2         TN      Memphis
 YRCF     YARD TRACTOR     YTR     RDWY212      2017   OTTWA   346793              T2         MS      Richland
 YRCF     YARD TRACTOR     YTR     RDWY213      2017   OTTWA   346794              T2         OK      Oklahoma City
 YRCF     YARD TRACTOR     YTR     RDWY214      2017   OTTWA   346795              T2         WA      Seattle
 YRCF     YARD TRACTOR     YTR     RDWY215      2017   OTTWA   346796              T2         NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY216      2017   OTTWA   346797              T2         CA      Tracy
 YRCF     YARD TRACTOR     YTR     RDWY218      2017   OTTWA   346799              T2         UT      Salt Lake City
 YRCF     YARD TRACTOR     YTR     RDWY219      2017   OTTWA   346800              T2         UT      Salt Lake City
 YRCF     YARD TRACTOR     YTR     RDWY220      2017   OTTWA   346801              T2         CO      Aurora
 YRCF     YARD TRACTOR     YTR     RDWY221      2018   OTTWA   347726              YT30       NJ      Mercerville
 YRCF     YARD TRACTOR     YTR     RDWY222      2018   OTTWA   347727              YT30       NY      Glenmont
 YRCF     YARD TRACTOR     YTR     RDWY223      2018   OTTWA   347728              YT30       NY      Tonawanda
 YRCF     YARD TRACTOR     YTR     RDWY224      2018   OTTWA   347729              YT30       NY      Tonawanda
 YRCF     YARD TRACTOR     YTR     RDWY225      2018   OTTWA   347730              YT30       OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY226      2018   OTTWA   347731              YT30       OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY227      2018   OTTWA   347732              YT30       IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY228      2018   OTTWA   347733              YT30       IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY229      2018   OTTWA   347734              YT30       IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY230      2018   OTTWA   347735              YT30       IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY231      2018   OTTWA   347736              YT30       IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY232      2018   OTTWA   347737              YT30       IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY233      2018   OTTWA   347738              YT30       MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY234      2018   OTTWA   347739              YT30       MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY235      2018   OTTWA   347740              YT30       GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY236      2018   OTTWA   347741              YT30       TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY237      2018   OTTWA   347742              YT30       OK      Oklahoma City
 YRCF     YARD TRACTOR     YTR     RDWY238      2018   OTTWA   347743              YT30       NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY239      2018   OTTWA   347744              YT30       NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY240      2018   OTTWA   347745              YT30       OR      Eugene
 YRCF     YARD TRACTOR     YTR     RDWY241      2018   OTTWA   347746              YT30       CO      Aurora
 YRCF     YARD TRACTOR     YTR     RDWY242      2018   OTTWA   349297              T2         VA      Richmond
 YRCF     YARD TRACTOR     YTR     RDWY243      2018   OTTWA   349298              T2         TX      San Antonio
 YRCF     YARD TRACTOR     YTR     RDWY244      2018   OTTWA   349299              T2         TX      San Antonio
 YRCF     YARD TRACTOR     YTR     RDWY245      2018   OTTWA   349300              T2         NE      Omaha
 YRCF     YARD TRACTOR     YTR     RDWY246      2018   OTTWA   349301              T2         FL      Orlando
 YRCF     YARD TRACTOR     YTR     RDWY247      2018   OTTWA   349302              T2         PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY248      2018   OTTWA   349303              T2         AZ      Phoenix
 YRCF     YARD TRACTOR     YTR     RDWY249      2018   OTTWA   349304              T2         OH      Columbus
 YRCF     YARD TRACTOR     YTR     RDWY250      2018   OTTWA   349305              T2         MO      Saint Louis
 YRCF     YARD TRACTOR     YTR     RDWY251      2018   OTTWA   349306              T2         MO      Saint Louis
 YRCF     YARD TRACTOR     YTR     RDWY252      2018   OTTWA   349307              T2         IN      South Bend
 YRCF     YARD TRACTOR     YTR     RDWY253      2018   OTTWA   349308              T2         PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY254      2018   OTTWA   349309              T2         PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY255      2018   OTTWA   349310              T2         WA      Seattle
 YRCF     YARD TRACTOR     YTR     RDWY256      2018   OTTWA   349311              T2         CA      Tracy
 YRCF     YARD TRACTOR     YTR     RDWY257      2018   OTTWA   349312              T2         OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY258      2018   OTTWA   349313              T2         OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY259      2018   OTTWA   349314              T2         IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY260      2018   OTTWA   349315              T2         IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY261      2018   OTTWA   349316              T2         OK      Oklahoma City
 YRCF     YARD TRACTOR     YTR     RDWY285      2019   OTTWA   1Z9TA8EA7KR530048   4X2        CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY286      2019   OTTWA   1Z9TA8EA9KR530049   4X2        CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY287      2019   OTTWA   1Z9TA8EA5KR530050   4X2        CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY288      2019   OTTWA   1Z9TA8EA7KR530051   4X2        CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY289      2019   OTTWA   1Z9TA8EA9KR530052   4X2        CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY292      2020   OTTWA   355951              T‐2        OH      Columbus
                    Case 23-11069-CTG          Doc 969-1          Filed 10/26/23           Page 925 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL         State   City
 YRCF     YARD TRACTOR     YTR     RDWY293      2020   OTTWA   355952              T‐2            UT      Salt Lake City
 YRCF     YARD TRACTOR     YTR     RDWY294      2020   OTTWA   355953              T‐2            PA      Neville Island
 YRCF     YARD TRACTOR     YTR     RDWY295      2020   OTTWA   355954              T‐2            NJ      Kearny
 YRCF     YARD TRACTOR     YTR     RDWY296      2020   OTTWA   355955              T‐2            PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY297      2020   OTTWA   355956              T‐2            MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY298      2020   OTTWA   355957              T‐2            MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY299      2020   OTTWA   355958              T‐2            OR      Portland
 YRCF     YARD TRACTOR     YTR     RDWY302      2008   OTTWA   321955              4675           TX      Irving
 YRCF     YARD TRACTOR     YTR     RDWY303      1989   OTTWA   79007               30             NJ      Carlstadt
 YRCF     YARD TRACTOR     YTR     RDWY304      2020   OTTWA   355959              T‐2            NJ      Cinnaminson
 YRCF     YARD TRACTOR     YTR     RDWY305      2020   OTTWA   355960              T‐2            CO      Aurora
 YRCF     YARD TRACTOR     YTR     RDWY306      2008   OTTWA   321956              4675           TX      Houston
 YRCF     YARD TRACTOR     YTR     RDWY308      2020   OTTWA   355961              T‐2            MO      Saint Louis
 YRCF     YARD TRACTOR     YTR     RDWY309      2008   OTTWA   321957              4675           LA      Shreveport
 YRCF     YARD TRACTOR     YTR     RDWY312      2020   OTTWA   355962              T‐2            IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY313      2020   OTTWA   355963              T‐2            IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY315      2008   OTTWA   321959              4675           CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY316      2008   OTTWA   321960              4675           CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY317      2008   OTTWA   321961              4675           CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY319      2008   OTTWA   321962              4675           MA      North Reading
 YRCF     YARD TRACTOR     YTR     RDWY320      2008   OTTWA   321963              4675           OR      Portland
 YRCF     YARD TRACTOR     YTR     RDWY322      2008   OTTWA   321964              4675           CO      Aurora
 YRCF     YARD TRACTOR     YTR     RDWY3388     2004   OTTWA   308067              30             RI      Cumberland
 YRCF     YARD TRACTOR     YTR     RDWY346      2003   OTTWA   306386              YT30           FL      Tampa
 YRCF     YARD TRACTOR     YTR     RDWY347      2003   OTTWA   306297              YT30           CA      Sun Valley
 YRCF     YARD TRACTOR     YTR     RDWY349      2004   OTTWA   308724              YT30           CA      San Diego
 YRCF     YARD TRACTOR     YTR     RDWY357      2005   OTTWA   310310              C30 YARD TRK   TX      San Antonio
 YRCF     YARD TRACTOR     YTR     RDWY366      2007   OTTWA   317711              YT30           CA      Pomona
 YRCF     YARD TRACTOR     YTR     RDWY367      2020   OTTWA   355964              T‐2            IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY374      2020   OTTWA   355965              T‐2            IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY383      2020   OTTWA   355966              T‐2            OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY389      2020   OTTWA   355967              T‐2            TX      Houston
 YRCF     YARD TRACTOR     YTR     RDWY396      2020   OTTWA   355968              T‐2            AZ      Phoenix
 YRCF     YARD TRACTOR     YTR     RDWY414      2020   OTTWA   355969              T‐2            GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY423      2020   OTTWA   355970              T‐2            FL      Tampa
 YRCF     YARD TRACTOR     YTR     RDWY427      2020   OTTWA   355971              T‐2            NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY438      2000   OTTWA   300496                             FL      Tampa
 YRCF     YARD TRACTOR     YTR     RDWY450      2020   OTTWA   355972              T‐2            NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY451      2020   OTTWA   355973              T‐2            MS      Richland
 YRCF     YARD TRACTOR     YTR     RDWY452      2020   OTTWA   355974              T‐2            TN      Memphis
 YRCF     YARD TRACTOR     YTR     RDWY453      2020   OTTWA   1Z9TA8EA1LR530077   T‐2            CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY454      2020   OTTWA   1Z9TA8EA3LR530078   T‐2            CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY464      2020   OTTWA   1Z9TA8EA5LR530079   T‐2            CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY465      2001   OTTWA   302221                             OK      Oklahoma City
 YRCF     YARD TRACTOR     YTR     RDWY468      2006   OTTWA   313784                             MI      Wayland
 YRCF     YARD TRACTOR     YTR     RDWY482      2002   OTTWA   304398                             OH      Dayton
 YRCF     YARD TRACTOR     YTR     RDWY490      2002   OTTWA   304406                             NY      Glenmont
 YRCF     YARD TRACTOR     YTR     RDWY491      2002   OTTWA   304407                             CA      Gardena
 YRCF     YARD TRACTOR     YTR     RDWY493      2003   OTTWA   305555              YT30           OH      Richfield
 YRCF     YARD TRACTOR     YTR     RDWY495      2003   OTTWA   305569              YT30           CA      Bloomington
 YRCF     YARD TRACTOR     YTR     RDWY496      2003   OTTWA   305573              YT30           CA      Pico Rivera
 YRCF     YARD TRACTOR     YTR     RDWY508      2004   OTTWA   308060              30             NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY511      2004   OTTWA   308064              30             TX      Houston
 YRCF     YARD TRACTOR     YTR     RDWY512      2004   OTTWA   308068              30             CT      Cheshire
 YRCF     YARD TRACTOR     YTR     RDWY513      2004   OTTWA   11VA812E54A000478   30             IL      Bolingbrook
 YRCF     YARD TRACTOR     YTR     RDWY514      2004   OTTWA   308665              30             VA      Fishersville
 YRCF     YARD TRACTOR     YTR     RDWY515      2002   CPCTY   4LMBB21192L013268   TJ500          WA      Seattle
 YRCF     YARD TRACTOR     YTR     RDWY516      2002   CPCTY   4LMBB21142L013257   TJ500          WA      Seattle
 YRCF     YARD TRACTOR     YTR     RDWY525      2004   OTTWA   308666              30             MI      Wyoming
 YRCF     YARD TRACTOR     YTR     RDWY534      2005   OTTWA   311262              30             AR      Springdale
 YRCF     YARD TRACTOR     YTR     RDWY538      2005   OTTWA   311269              30             OH      Richfield
 YRCF     YARD TRACTOR     YTR     RDWY539      2005   OTTWA   311653              30             NY      Tonawanda
 YRCF     YARD TRACTOR     YTR     RDWY541      2006   OTTWA   313761              30             CA      Orange
 YRCF     YARD TRACTOR     YTR     RDWY542      2006   OTTWA   314171              30             NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY543      2006   OTTWA   314175              30             NC      Durham
 YRCF     YARD TRACTOR     YTR     RDWY545      2006   OTTWA   11VA812E56A000600   30             NJ      Hamilton
 YRCF     YARD TRACTOR     YTR     RDWY546      2006   OTTWA   11VA812E06A000603   30             NJ      Kearny
 YRCF     YARD TRACTOR     YTR     RDWY548      2007   OTTWA   316645              30             OK      Oklahoma City
 YRCF     YARD TRACTOR     YTR     RDWY549      2007   OTTWA   316658              30             NY      Deer Park
                    Case 23-11069-CTG          Doc 969-1          Filed 10/26/23          Page 926 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT      EYEAR    EMAKE   EFSERIAL            EMODEL       State   City
 YRCF     YARD TRACTOR     YTR     RDWY550      2007   OTTWA   316660              30           OH      Richfield
 YRCF     YARD TRACTOR     YTR     RDWY554      2007   OTTWA   317024              30           MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY556      2007   OTTWA   320654                           IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY557      2008   OTTWA   320659                           TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY560      2008   OTTWA   320663                           TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY562      2008   OTTWA   321967                           OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY804      2007   OTTWA   317305              4675         NY      Maybrook
 YRCF     YARD TRACTOR     YTR     RDWY805      2007   OTTWA   317306              4675         IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY806      2007   OTTWA   317307              4675         IN      South Bend
 YRCF     YARD TRACTOR     YTR     RDWY807      2007   OTTWA   317308              4675         PA      Bensalem
 YRCF     YARD TRACTOR     YTR     RDWY808      2007   OTTWA   317309              4675         IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY809      2007   OTTWA   317310              4675         OK      Oklahoma City
 YRCF     YARD TRACTOR     YTR     RDWY812      2007   OTTWA   317297              4675         PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY813      2007   OTTWA   317298              4675         CA      Pomona
 YRCF     YARD TRACTOR     YTR     RDWY814      2007   OTTWA   317299              4675         MD      Hagerstown
 YRCF     YARD TRACTOR     YTR     RDWY815      2007   OTTWA   317300              4675         IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY8174     1999   OTTWA   79468                            VA      Manassas
 YRCF     YARD TRACTOR     YTR     RDWY8201     2000   OTTWA   300424                           VA      Richmond
 YRCF     YARD TRACTOR     YTR     RDWY821      2008   OTTWA   320664              4675         IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY822      2008   OTTWA   320665              4675         IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY8223     2000   OTTWA   300446                           MI      Taylor
 YRCF     YARD TRACTOR     YTR     RDWY8224     2000   OTTWA   300447                           TX      McAllen
 YRCF     YARD TRACTOR     YTR     RDWY823      2008   OTTWA   320666              4675         IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY824      2008   OTTWA   320667              4675         IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY825      2008   OTTWA   320668              4675         IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY8259     2001   OTTWA   11VA812EX1A000505                NJ      Hamilton
 YRCF     YARD TRACTOR     YTR     RDWY826      2008   OTTWA   320669              4675         TN      Memphis
 YRCF     YARD TRACTOR     YTR     RDWY828      2008   OTTWA   320671              4675         TN      Memphis
 YRCF     YARD TRACTOR     YTR     RDWY829      2008   OTTWA   320672              4675         TN      Memphis
 YRCF     YARD TRACTOR     YTR     RDWY8291     2002   OTTWA   304410                           PA      Bethlehem
 YRCF     YARD TRACTOR     YTR     RDWY8295     2003   OTTWA   305551              YT30         NV      Sparks
 YRCF     YARD TRACTOR     YTR     RDWY8296     2003   OTTWA   305552              YT30         NC      Raleigh
 YRCF     YARD TRACTOR     YTR     RDWY8297     2003   OTTWA   305553              YT30         CA      Brisbane
 YRCF     YARD TRACTOR     YTR     RDWY8298     2003   OTTWA   305554              YT30         NJ      Kearny
 YRCF     YARD TRACTOR     YTR     RDWY830      2008   OTTWA   320673              4675         TN      Memphis
 YRCF     YARD TRACTOR     YTR     RDWY8300     2003   OTTWA   305556              YT30         MI      Wyoming
 YRCF     YARD TRACTOR     YTR     RDWY8309     2003   OTTWA   305565              YT30         WI      Neenah
 YRCF     YARD TRACTOR     YTR     RDWY831      2008   OTTWA   320674              4675         TN      Memphis
 YRCF     YARD TRACTOR     YTR     RDWY8311     2003   OTTWA   305567              YT30         NV      Las Vegas
 YRCF     YARD TRACTOR     YTR     RDWY8312     2003   OTTWA   305568              YT30         IL      Wheeling
 YRCF     YARD TRACTOR     YTR     RDWY8314     2003   OTTWA   305570              YT30         IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY8315     2003   OTTWA   305571              YT30         IL      Wheeling
 YRCF     YARD TRACTOR     YTR     RDWY832      2016   OTTWA   341114              T‐2          TX      Irving
 YRCF     YARD TRACTOR     YTR     RDWY8320     2003   OTTWA   305576              YT30         NJ      Carlstadt
 YRCF     YARD TRACTOR     YTR     RDWY8322     2003   OTTWA   305578              YT30         CA      Gardena
 YRCF     YARD TRACTOR     YTR     RDWY8324     2003   OTTWA   306131              YT30         MA      North Reading
 YRCF     YARD TRACTOR     YTR     RDWY8325     2003   OTTWA   11VA812A23A000210   YT30         CT      Cheshire
 YRCF     YARD TRACTOR     YTR     RDWY833      2016   OTTWA   341115              T‐2          TX      Irving
 YRCF     YARD TRACTOR     YTR     RDWY8330     2004   OTTWA   307659              30           FL      Miami
 YRCF     YARD TRACTOR     YTR     RDWY8331     2004   OTTWA   308057              30           MD      Baltimore
 YRCF     YARD TRACTOR     YTR     RDWY8332     2004   OTTWA   308085              30           NY      East Syracuse
 YRCF     YARD TRACTOR     YTR     RDWY834      2016   OTTWA   341116              T‐2          TX      Irving
 YRCF     YARD TRACTOR     YTR     RDWY8340     2004   OTTWA   308066              30           MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY8348     2004   OTTWA   308667              30           CA      Pico Rivera
 YRCF     YARD TRACTOR     YTR     RDWY8349     2004   OTTWA   308668              30           NV      Las Vegas
 YRCF     YARD TRACTOR     YTR     RDWY835      2016   OTTWA   341117              T‐2          TX      Irving
 YRCF     YARD TRACTOR     YTR     RDWY8352     2005   OTTWA   311259              30           UT      Salt Lake City
 YRCF     YARD TRACTOR     YTR     RDWY8356     2005   OTTWA   311263              30           FL      Orlando
 YRCF     YARD TRACTOR     YTR     RDWY8357     2005   OTTWA   311264              30           GA      Conley
 YRCF     YARD TRACTOR     YTR     RDWY8358     2005   OTTWA   311265              30           VA      Richmond
 YRCF     YARD TRACTOR     YTR     RDWY8359     2005   OTTWA   311266              30           MD      Baltimore
 YRCF     YARD TRACTOR     YTR     RDWY836      2016   OTTWA   341118              T‐2          TX      McAllen
 YRCF     YARD TRACTOR     YTR     RDWY8363     2005   OTTWA   311270              30           OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY8365     2005   OTTWA   311272              30           VA      Manassas
 YRCF     YARD TRACTOR     YTR     RDWY8368     2005   OTTWA   311654              30           NY      Tonawanda
 YRCF     YARD TRACTOR     YTR     RDWY8369     2006   OTTWA   313750              30           NY      Tonawanda
 YRCF     YARD TRACTOR     YTR     RDWY8370     2006   OTTWA   313751              30           NY      Maybrook
 YRCF     YARD TRACTOR     YTR     RDWY8371     2006   OTTWA   313752              30           MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY8372     2006   OTTWA   313753              30           GA      Conley
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23         Page 927 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL      State   City
 YRCF     YARD TRACTOR     YTR     RDWY8374      2006   OTTWA   313755              30          VA      Richmond
 YRCF     YARD TRACTOR     YTR     RDWY8375      2006   OTTWA   313756              30          NY      Maybrook
 YRCF     YARD TRACTOR     YTR     RDWY8376      2006   OTTWA   313757              30          TX      Laredo
 YRCF     YARD TRACTOR     YTR     RDWY8377      2006   OTTWA   313758              30          MA      Shrewsbury
 YRCF     YARD TRACTOR     YTR     RDWY8378      2006   OTTWA   313759              30          NY      Maybrook
 YRCF     YARD TRACTOR     YTR     RDWY8379      2006   OTTWA   313760              30          OK      Tulsa
 YRCF     YARD TRACTOR     YTR     RDWY8381      2006   OTTWA   313762              30          AR      Little Rock
 YRCF     YARD TRACTOR     YTR     RDWY8382      2006   OTTWA   314169              30          PA      Line Lexington
 YRCF     YARD TRACTOR     YTR     RDWY8383      2006   OTTWA   314170              30          GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY8385      2006   OTTWA   314172              30          OH      Columbus
 YRCF     YARD TRACTOR     YTR     RDWY8390      2006   OTTWA   11VA812E76A000601   30          MO      Saint Louis
 YRCF     YARD TRACTOR     YTR     RDWY8391      2006   OTTWA   11VA812E96A000602   30          TX      San Antonio
 YRCF     YARD TRACTOR     YTR     RDWY8393      2006   OTTWA   11VA812E26A000604   30          PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY8394      2006   OTTWA   11VA812E46A000605   30          PA      Bensalem
 YRCF     YARD TRACTOR     YTR     RDWY8395      2007   OTTWA   316643              30          OR      Portland
 YRCF     YARD TRACTOR     YTR     RDWY8398      2007   OTTWA   316646              30          MO      Strafford
 YRCF     YARD TRACTOR     YTR     RDWY8399      2007   OTTWA   316647              30          MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY8401      2007   OTTWA   316649              30          TX      El Paso
 YRCF     YARD TRACTOR     YTR     RDWY8402      2007   OTTWA   316650              30          NM      Albuquerque
 YRCF     YARD TRACTOR     YTR     RDWY8403      2007   OTTWA   316651              30          NM      Albuquerque
 YRCF     YARD TRACTOR     YTR     RDWY8404      2007   OTTWA   316652              30          IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY8406      2007   OTTWA   316654              30          OH      Cincinnati
 YRCF     YARD TRACTOR     YTR     RDWY8407      2007   OTTWA   316655              30          MI      Taylor
 YRCF     YARD TRACTOR     YTR     RDWY8408      2007   OTTWA   316656              30          MI      Taylor
 YRCF     YARD TRACTOR     YTR     RDWY8409      2007   OTTWA   316657              30          MD      Hagerstown
 YRCF     YARD TRACTOR     YTR     RDWY8411      2007   OTTWA   316659              30          OH      Richfield
 YRCF     YARD TRACTOR     YTR     RDWY8414      2007   OTTWA   316662              30          CO      Aurora
 YRCF     YARD TRACTOR     YTR     RDWY8415      2007   OTTWA   317019              30          IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY8416      2007   OTTWA   317020              30          IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY8417      2007   OTTWA   317021              30          AR      Little Rock
 YRCF     YARD TRACTOR     YTR     RDWY8418      2007   OTTWA   317022              30          OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY8419      2007   OTTWA   317023              30          OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY8421      2007   OTTWA   317025              30          MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY8422      2007   OTTWA   317026              30          MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY8423      2007   OTTWA   317027              30          MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY8424      2008   OTTWA   320652                          IA      Des Moines
 YRCF     YARD TRACTOR     YTR     RDWY8425      2008   OTTWA   320653                          IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY8427      2007   OTTWA   320655                          MI      Pontiac
 YRCF     YARD TRACTOR     YTR     RDWY8428      2008   OTTWA   320656                          IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY8429      2008   OTTWA   320657                          IN      Indianapolis
 YRCF     YARD TRACTOR     YTR     RDWY8430      2007   OTTWA   320658                          MS      Richland
 YRCF     YARD TRACTOR     YTR     RDWY8433      2008   OTTWA   320661                          TX      Fort Worth
 YRCF     YARD TRACTOR     YTR     RDWY8434      2008   OTTWA   320662                          TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY8437      2008   OTTWA   321965                          TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY8438      2008   OTTWA   321966                          TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY8440      2008   OTTWA   321968                          UT      Salt Lake City
 YRCF     YARD TRACTOR     YTR     RDWY8441      2008   OTTWA   321969                          MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY8442      2008   OTTWA   321970                          MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY8444      2008   OTTWA   321972                          MO      Saint Louis
 YRCF     YARD TRACTOR     YTR     RDWY8445      2008   OTTWA   321973                          MO      Saint Louis
 YRCF     YARD TRACTOR     YTR     RDWY8446      2008   OTTWA   321974                          MO      Saint Louis
 YRCF     YARD TRACTOR     YTR     RDWY8447      2008   OTTWA   321975                          MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY898       2020   OTTWA   355975              T2          CA      Tracy
 YRCF     YARD TRACTOR     YTR     RDWY899       2020   OTTWA   355977              T2          CA      Tracy
 YRCF     YARD TRACTOR     YTR     RDWY90017     2022   OTTWA   364456              T‐2         PA      Camp Hill
 YRCF     YARD TRACTOR     YTR     RDWY90018     2022   OTTWA   364457              T‐2         PA      Camp Hill
 YRCF     YARD TRACTOR     YTR     RDWY90019     2022   OTTWA   364458              T‐2         NY      Maybrook
 YRCF     YARD TRACTOR     YTR     RDWY90020     2022   OTTWA   364459              T‐2         NY      Maybrook
 YRCF     YARD TRACTOR     YTR     RDWY90021     2022   OTTWA   364460              T‐2         NY      Maybrook
 YRCF     YARD TRACTOR     YTR     RDWY90022     2022   OTTWA   364461              T‐2         NY      Maybrook
 YRCF     YARD TRACTOR     YTR     RDWY90023     2022   OTTWA   364462              T‐2         PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY90024     2022   OTTWA   364463              T‐2         PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY90025     2022   OTTWA   364464              T‐2         PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY90026     2022   OTTWA   364465              T‐2         PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY90027     2022   OTTWA   364466              T‐2         PA      Dunmore
 YRCF     YARD TRACTOR     YTR     RDWY90028     2022   OTTWA   364467              T‐2         MN      Burnsville
 YRCF     YARD TRACTOR     YTR     RDWY90029     2022   OTTWA   364468              T‐2         OR      Portland
 YRCF     YARD TRACTOR     YTR     RDWY90030     2022   OTTWA   364453              T‐2         GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY90031     2022   OTTWA   364454              T‐2         TX      Houston
                    Case 23-11069-CTG           Doc 969-1          Filed 10/26/23        Page 928 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT       EYEAR    EMAKE   EFSERIAL            EMODEL     State   City
 YRCF     YARD TRACTOR     YTR     RDWY90032     2022   OTTWA   364455              T‐2        OK      Oklahoma City
 YRCF     YARD TRACTOR     YTR     RDWY901       2006   OTTWA   314180              C30        VA      Chesapeake
 YRCF     YARD TRACTOR     YTR     RDWY902       2006   OTTWA   314181              30SERIES   SC      Columbia
 YRCF     YARD TRACTOR     YTR     RDWY903       2006   OTTWA   314182              30SERIES   NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY904       2006   OTTWA   314183              C30        PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY905       2006   OTTWA   314184              C30        OR      Portland
 YRCF     YARD TRACTOR     YTR     RDWY906       2006   OTTWA   314185              30SERIES   AZ      Phoenix
 YRCF     YARD TRACTOR     YTR     RDWY907       2006   OTTWA   314186              C30        NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY908       2006   OTTWA   314187              C30        VA      Roanoke
 YRCF     YARD TRACTOR     YTR     RDWY909       2006   OTTWA   314188              C30        NY      Rochester
 YRCF     YARD TRACTOR     YTR     RDWY910       2006   OTTWA   314189              C30        IL      Bolingbrook
 YRCF     YARD TRACTOR     YTR     RDWY911       2006   OTTWA   314190              C30        CA      Sacramento
 YRCF     YARD TRACTOR     YTR     RDWY912       2013   OTTWA   11VF813E9DA000374   C30        GA      Savannah
 YRCF     YARD TRACTOR     YTR     RDWY917       2007   OTTWA   316445              4675       OK      Oklahoma City
 YRCF     YARD TRACTOR     YTR     RDWY918       2007   OTTWA   316624              4675       NY      Maybrook
 YRCF     YARD TRACTOR     YTR     RDWY919       2007   OTTWA   316625              4675       MD      Hagerstown
 YRCF     YARD TRACTOR     YTR     RDWY920       2007   OTTWA   316626              4675       PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY921       2007   OTTWA   316627              4675       OH      Columbus
 YRCF     YARD TRACTOR     YTR     RDWY923       2007   OTTWA   316629              4675       PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY925       2007   OTTWA   316631              4675       IL      Bolingbrook
 YRCF     YARD TRACTOR     YTR     RDWY926       2007   OTTWA   316632              4675       WI      Oak Creek
 YRCF     YARD TRACTOR     YTR     RDWY927       2007   OTTWA   316633              4675       IL      Wheeling
 YRCF     YARD TRACTOR     YTR     RDWY928       2007   OTTWA   316634              4675       GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY930       2007   OTTWA   316636              4675       MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY931       2007   OTTWA   316637              4675       IL      Montgomery
 YRCF     YARD TRACTOR     YTR     RDWY932       2007   OTTWA   316638              4675       MO      Saint Louis
 YRCF     YARD TRACTOR     YTR     RDWY933       2007   OTTWA   316639              4675       OK      Oklahoma City
 YRCF     YARD TRACTOR     YTR     RDWY934       2007   OTTWA   316640              4675       TX      Dallas
 YRCF     YARD TRACTOR     YTR     RDWY935       2007   OTTWA   316641              4675       MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY937       2007   OTTWA   317017              4675       GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY940       2007   OTTWA   317190              4675       TX      Irving
 YRCF     YARD TRACTOR     YTR     RDWY941       2007   OTTWA   317191              4675       TX      Fort Worth
 YRCF     YARD TRACTOR     YTR     RDWY942       2007   OTTWA   317192              4675       FL      Orlando
 YRCF     YARD TRACTOR     YTR     RDWY943       2007   OTTWA   317193              4675       IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY945       2007   OTTWA   317195              4675       NE      Omaha
 YRCF     YARD TRACTOR     YTR     RDWY946       2007   OTTWA   317196              4675       NY      Mount Vernon
 YRCF     YARD TRACTOR     YTR     RDWY947       2007   OTTWA   317197              4675       NY      Brooklyn
 YRCF     YARD TRACTOR     YTR     RDWY948       2007   OTTWA   317198              4675       AL      Mobile
 YRCF     YARD TRACTOR     YTR     RDWY949       2007   OTTWA   317199              4675       TX      Dallas
 YRCF     YARD TRACTOR     YTR     RDWY950       2007   OTTWA   317252              4675       NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY951       2007   OTTWA   317253              4675       CA      Tracy
 YRCF     YARD TRACTOR     YTR     RDWY952       2007   OTTWA   317254              4675       CA      Tracy
 YRCF     YARD TRACTOR     YTR     RDWY953       2007   OTTWA   317255              4675       PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY954       2007   OTTWA   317256              4675       PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY955       2007   OTTWA   317257              4675       OH      Richfield
 YRCF     YARD TRACTOR     YTR     RDWY956       2007   OTTWA   317258              4675       OH      Copley
 YRCF     YARD TRACTOR     YTR     RDWY957       2007   OTTWA   317259              4675       NJ      South Plainfield
 YRCF     YARD TRACTOR     YTR     RDWY958       2007   OTTWA   317260              4675       NY      Tonawanda
 YRCF     YARD TRACTOR     YTR     RDWY959       2007   OTTWA   317261              4675       OH      Cincinnati
 YRCF     YARD TRACTOR     YTR     RDWY960       2007   OTTWA   317262              4675       OH      Toledo
 YRCF     YARD TRACTOR     YTR     RDWY961       2007   OTTWA   317263              4675       IL      Bolingbrook
 YRCF     YARD TRACTOR     YTR     RDWY962       2007   OTTWA   317264              4675       IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY963       2007   OTTWA   317265              4675       TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY964       2007   OTTWA   317266              4675       IN      Fort Wayne
 YRCF     YARD TRACTOR     YTR     RDWY965       2007   OTTWA   317267              4675       TX      Houston
 YRCF     YARD TRACTOR     YTR     RDWY966       2007   OTTWA   317268              4675       FL      Jacksonville
 YRCF     YARD TRACTOR     YTR     RDWY967       2007   OTTWA   317269              4675       MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY968       2007   OTTWA   317270              4675       IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY969       2007   OTTWA   317271              4675       GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY970       2007   OTTWA   317272              4675       GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY971       2007   OTTWA   317273              4675       NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY972       2007   OTTWA   317274              4675       TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY973       2007   OTTWA   317275              4675       TX      Waco
 YRCF     YARD TRACTOR     YTR     RDWY974       2007   OTTWA   317276              4675       GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY977       2007   OTTWA   317279              4675       OR      Portland
 YRCF     YARD TRACTOR     YTR     RDWY978       2007   OTTWA   317280              4675       OR      Portland
 YRCF     YARD TRACTOR     YTR     RDWY979       2007   OTTWA   317281              4675       WA      Tacoma
 YRCF     YARD TRACTOR     YTR     RDWY980       2007   OTTWA   317282              4675       CA      San Diego
 YRCF     YARD TRACTOR     YTR     RDWY982       2007   OTTWA   317284              4675       CO      Aurora
                    Case 23-11069-CTG         Doc 969-1          Filed 10/26/23   Page 929 of 942


Exhibit A ‐ Owned Assets

 Brand    Type1            Type2   EUNIT     EYEAR    EMAKE   EFSERIAL        EMODEL    State   City
 YRCF     YARD TRACTOR     YTR     RDWY983     2007   OTTWA   317285          4675      IL      Chicago Heights
 YRCF     YARD TRACTOR     YTR     RDWY984     2007   OTTWA   317286          4675      MO      Kansas City
 YRCF     YARD TRACTOR     YTR     RDWY985     2007   OTTWA   317287          4675      TN      Nashville
 YRCF     YARD TRACTOR     YTR     RDWY986     2007   OTTWA   317288          4675      VA      Richmond
 YRCF     YARD TRACTOR     YTR     RDWY987     2007   OTTWA   317289          4675      CA      Anderson
 YRCF     YARD TRACTOR     YTR     RDWY988     2007   OTTWA   317290          4675      GA      Marietta
 YRCF     YARD TRACTOR     YTR     RDWY989     2007   OTTWA   317291          4675      MS      Richland
 YRCF     YARD TRACTOR     YTR     RDWY990     2007   OTTWA   317292          4675      NC      Charlotte
 YRCF     YARD TRACTOR     YTR     RDWY991     2007   OTTWA   317293          4675      TX      Houston
 YRCF     YARD TRACTOR     YTR     RDWY992     2007   OTTWA   317294          4675      GA      Thomasville
 YRCF     YARD TRACTOR     YTR     RDWY993     2007   OTTWA   317295          4675      PA      Mountain Top
 YRCF     YARD TRACTOR     YTR     RDWY994     2007   OTTWA   317296          4675      PA      Carlisle
 YRCF     YARD TRACTOR     YTR     RDWY999     2007   OTTWA   317301          4675      GA      Marietta
Case 23-11069-CTG   Doc 969-1    Filed 10/26/23   Page 930 of 942




                         EXHIBIT B

            Leased or Financed Rolling Stock Assets
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23   Page 931 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL              EMODEL        State     City
 RETL      ROAD TRAILER     RTL-SA    RETL289006     2019     HYUND     3H3V281C6KT823001     DRY V         MT        Butte
 RETL      ROAD TRAILER     RTL-SA    RETL289007     2019     HYUND     3H3V281C8KT823002     DRY V         UT        Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289008     2019     HYUND     3H3V281CXKT823003     DRY V         CA        Pico Rivera
 RETL      ROAD TRAILER     RTL-SA    RETL289010     2019     HYUND     3H3V281C3KT823005     DRY V         WA        Seattle
 RETL      ROAD TRAILER     RTL-SA    RETL289011     2019     HYUND     3H3V281C5KT823006     DRY V         WA        Spokane
 RETL      ROAD TRAILER     RTL-SA    RETL289012     2019     HYUND     3H3V281C7KT823007     DRY V         WA        Tacoma
 RETL      ROAD TRAILER     RTL-SA    RETL289013     2019     HYUND     3H3V281C9KT823008     DRY V         CA        Gardena
 RETL      ROAD TRAILER     RTL-SA    RETL289014     2019     HYUND     3H3V281C0KT823009     DRY V         CO        Aurora
 RETL      ROAD TRAILER     RTL-SA    RETL289015     2019     HYUND     3H3V281C7KT823010     DRY V         MS        Richland
 RETL      ROAD TRAILER     RTL-SA    RETL289016     2019     HYUND     3H3V281C9KT823011     DRY V         CA        Tracy
 RETL      ROAD TRAILER     RTL-SA    RETL289017     2019     HYUND     3H3V281C0KT823012     DRY V         CA        Sun Valley
 RETL      ROAD TRAILER     RTL-SA    RETL289018     2019     HYUND     3H3V281C2KT823013     DRY V         OR        Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289019     2019     HYUND     3H3V281C4KT823014     DRY V         AZ        Phoenix
 RETL      ROAD TRAILER     RTL-SA    RETL289020     2019     HYUND     3H3V281C6KT823015     DRY V         CO        Henderson
 RETL      ROAD TRAILER     RTL-SA    RETL289021     2019     HYUND     3H3V281C8KT823016     DRY V         CA        Bloomington
 RETL      ROAD TRAILER     RTL-SA    RETL289022     2019     HYUND     3H3V281CXKT823017     DRY V         OR        Central Point
 RETL      ROAD TRAILER     RTL-SA    RETL289023     2019     HYUND     3H3V281C1KT823018     DRY V         CA        Fontana
 RETL      ROAD TRAILER     RTL-SA    RETL289024     2019     HYUND     3H3V281C3KT823019     DRY V         CA        Ventura
 RETL      ROAD TRAILER     RTL-SA    RETL289025     2019     HYUND     3H3V281CXKT823020     DRY V         CA        Tracy
 RETL      ROAD TRAILER     RTL-SA    RETL289026     2019     HYUND     3H3V281C1KT823021     DRY V         CA        Sacramento
 RETL      ROAD TRAILER     RTL-SA    RETL289027     2019     HYUND     3H3V281C3KT823022     DRY V         WA        Tacoma
 RETL      ROAD TRAILER     RTL-SA    RETL289028     2019     HYUND     3H3V281C5KT823023     DRY V         CA        Fontana
 RETL      ROAD TRAILER     RTL-SA    RETL289030     2019     HYUND     3H3V281C9KT823025     DRY V         AZ        Phoenix
 RETL      ROAD TRAILER     RTL-SA    RETL289031     2019     HYUND     3H3V281C0KT823026     DRY V         CA        Pico Rivera
 RETL      ROAD TRAILER     RTL-SA    RETL289032     2019     HYUND     3H3V281C2KT823027     DRY V         AZ        Phoenix
 RETL      ROAD TRAILER     RTL-SA    RETL289033     2019     HYUND     3H3V281C4KT823028     DRY V         WA        Seattle
 RETL      ROAD TRAILER     RTL-SA    RETL289034     2019     HYUND     3H3V281C6KT823029     DRY V         CA        San Diego
 RETL      ROAD TRAILER     RTL-SA    RETL289035     2019     HYUND     3H3V281C2KT823030     DRY V         AZ        Phoenix
 RETL      ROAD TRAILER     RTL-SA    RETL289036     2019     HYUND     3H3V281C4KT823031     DRY V         CA        Tracy
 RETL      ROAD TRAILER     RTL-SA    RETL289037     2019     HYUND     3H3V281C6KT823032     DRY V         OR        Central Point
 RETL      ROAD TRAILER     RTL-SA    RETL289038     2019     HYUND     3H3V281C8KT823033     DRY V         NV        Las Vegas
 RETL      ROAD TRAILER     RTL-SA    RETL289039     2019     HYUND     3H3V281CXKT823034     DRY V         NV        Sparks
 RETL      ROAD TRAILER     RTL-SA    RETL289040     2019     HYUND     3H3V281C1KT823035     DRY V         OR        Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289041     2019     HYUND     3H3V281C3KT823036     DRY V         UT        Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289042     2019     HYUND     3H3V281C5KT823037     DRY V         UT        Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289043     2019     HYUND     3H3V281C7KT823038     DRY V         OR        Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289044     2019     HYUND     3H3V281C9KT823039     DRY V         MT        Missoula
 RETL      ROAD TRAILER     RTL-SA    RETL289045     2019     HYUND     3H3V281C5KT823040     DRY V         Alberta   Edmonton
 RETL      ROAD TRAILER     RTL-SA    RETL289046     2019     HYUND     3H3V281C7KT823041     DRY V         WA        Spokane
 RETL      ROAD TRAILER     RTL-SA    RETL289047     2019     HYUND     3H3V281C9KT823042     DRY V         CA        Sun Valley
 RETL      ROAD TRAILER     RTL-SA    RETL289048     2019     HYUND     3H3V281C0KT823043     DRY V         AZ        Phoenix
 RETL      ROAD TRAILER     RTL-SA    RETL289049     2019     HYUND     3H3V281C2KT823044     DRY V         CO        Aurora
 RETL      ROAD TRAILER     RTL-SA    RETL289050     2019     HYUND     3H3V281C4KT823045     DRY V         CA        Sacramento
 RETL      ROAD TRAILER     RTL-SA    RETL289051     2019     HYUND     3H3V281C6KT823046     DRY V         CA        Tracy
 RETL      ROAD TRAILER     RTL-SA    RETL289052     2019     HYUND     3H3V281C8KT823047     DRY V         WA        Spokane
 RETL      ROAD TRAILER     RTL-SA    RETL289053     2019     HYUND     3H3V281CXKT823048     DRY V         UT        Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289054     2019     HYUND     3H3V281C1KT823049     DRY V         CA        West Sacramento
 RETL      ROAD TRAILER     RTL-SA    RETL289055     2019     HYUND     3H3V281C8KT823050     DRY V         WA        Seattle
 RETL      ROAD TRAILER     RTL-SA    RETL289056     2019     HYUND     3H3V281CXKT823051     DRY V         CA        Tracy
 RETL      ROAD TRAILER     RTL-SA    RETL289057     2019     HYUND     3H3V281C1KT823052     DRY V         AZ        Phoenix
 RETL      ROAD TRAILER     RTL-SA    RETL289058     2019     HYUND     3H3V281C3KT823053     DRY V         WA        Tacoma
 RETL      ROAD TRAILER     RTL-SA    RETL289059     2019     HYUND     3H3V281C5KT823054     DRY V         UT        Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289060     2019     HYUND     3H3V281C7KT823055     DRY V         CO        Henderson
 RETL      ROAD TRAILER     RTL-SA    RETL289061     2019     HYUND     3H3V281C9KT823056     DRY V         OR        Central Point
 RETL      ROAD TRAILER     RTL-SA    RETL289062     2019     HYUND     3H3V281C0KT823057     DRY V         OR        Redmond
 RETL      ROAD TRAILER     RTL-SA    RETL289064     2019     HYUND     3H3V281C4KT823059     DRY V         UT        Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289065     2019     HYUND     3H3V281C0KT823060     DRY V         CA        Orange
 RETL      ROAD TRAILER     RTL-SA    RETL289066     2019     HYUND     3H3V281C2KT823061     DRY V         CA        Visalia
 RETL      ROAD TRAILER     RTL-SA    RETL289067     2019     HYUND     3H3V281C4KT823062     DRY V         CA        Anderson
 RETL      ROAD TRAILER     RTL-SA    RETL289068     2019     HYUND     3H3V281C6KT823063     DRY V         CA        Tracy
 RETL      ROAD TRAILER     RTL-SA    RETL289069     2019     HYUND     3H3V281C8KT823064     DRY V         CO        Grand Junction
 RETL      ROAD TRAILER     RTL-SA    RETL289070     2019     HYUND     3H3V281CXKT823065     DRY V         OR        Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289071     2019     HYUND     3H3V281C1KT823066     DRY V         NV        Elko
 RETL      ROAD TRAILER     RTL-SA    RETL289072     2019     HYUND     3H3V281C3KT823067     DRY V         WA        Tacoma
 RETL      ROAD TRAILER     RTL-SA    RETL289073     2019     HYUND     3H3V281C5KT823068     DRY V         CO        Henderson
 RETL      ROAD TRAILER     RTL-SA    RETL289074     2019     HYUND     3H3V281C7KT823069     DRY V         CO        Aurora
 RETL      ROAD TRAILER     RTL-SA    RETL289075     2019     HYUND     3H3V281C3KT823070     DRY V         OR        Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289076     2019     HYUND     3H3V281C5KT823071     DRY V         WA        Seattle
 RETL      ROAD TRAILER     RTL-SA    RETL289077     2019     HYUND     3H3V281C7KT823072     DRY V         WA        Spokane
 RETL      ROAD TRAILER     RTL-SA    RETL289078     2019     HYUND     3H3V281C9KT823073     DRY V         OR        Eugene
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23   Page 932 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL              EMODEL        State   City
 RETL      ROAD TRAILER     RTL-SA    RETL289079     2019     HYUND     3H3V281C0KT823074     DRY V         NV      Las Vegas
 RETL      ROAD TRAILER     RTL-SA    RETL289080     2019     HYUND     3H3V281C2KT823075     DRY V         CA      Tracy
 RETL      ROAD TRAILER     RTL-SA    RETL289081     2019     HYUND     3H3V281C4KT823076     DRY V         CA      Bloomington
 RETL      ROAD TRAILER     RTL-SA    RETL289082     2019     HYUND     3H3V281C6KT823077     DRY V         AZ      Phoenix
 RETL      ROAD TRAILER     RTL-SA    RETL289083     2019     HYUND     3H3V281C8KT823078     DRY V         CA      West Sacramento
 RETL      ROAD TRAILER     RTL-SA    RETL289084     2019     HYUND     3H3V281CXKT823079     DRY V         OR      Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289085     2019     HYUND     3H3V281C6KT823080     DRY V         CA      Ventura
 RETL      ROAD TRAILER     RTL-SA    RETL289086     2019     HYUND     3H3V281C8KT823081     DRY V         CA      Fresno
 RETL      ROAD TRAILER     RTL-SA    RETL289087     2019     HYUND     3H3V281CXKT823082     DRY V         OR      Roseburg
 RETL      ROAD TRAILER     RTL-SA    RETL289088     2019     HYUND     3H3V281C1KT823083     DRY V         OR      Hermiston
 RETL      ROAD TRAILER     RTL-SA    RETL289089     2019     HYUND     3H3V281C3KT823084     DRY V         OR      Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289090     2019     HYUND     3H3V281C5KT823085     DRY V         NV      Sparks
 RETL      ROAD TRAILER     RTL-SA    RETL289091     2019     HYUND     3H3V281C7KT823086     DRY V         UT      Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289092     2019     HYUND     3H3V281C9KT823087     DRY V         UT      Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289093     2019     HYUND     3H3V281C0KT823088     DRY V         CO      Henderson
 RETL      ROAD TRAILER     RTL-SA    RETL289094     2019     HYUND     3H3V281C2KT823089     DRY V         CA      Bloomington
 RETL      ROAD TRAILER     RTL-SA    RETL289095     2019     HYUND     3H3V281C9KT823090     DRY V         WA      Seattle
 RETL      ROAD TRAILER     RTL-SA    RETL289096     2019     HYUND     3H3V281C0KT823091     DRY V         OR      Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289097     2019     HYUND     3H3V281C2KT823092     DRY V         WA      Tacoma
 RETL      ROAD TRAILER     RTL-SA    RETL289098     2019     HYUND     3H3V281C4KT823093     DRY V         CA      Bloomington
 RETL      ROAD TRAILER     RTL-SA    RETL289099     2019     HYUND     3H3V281C6KT823094     DRY V         CA      Sacramento
 RETL      ROAD TRAILER     RTL-SA    RETL289100     2019     HYUND     3H3V281C8KT823095     DRY V         WA      Tacoma
 RETL      ROAD TRAILER     RTL-SA    RETL289101     2019     HYUND     3H3V281CXKT823096     DRY V         CO      Grand Junction
 RETL      ROAD TRAILER     RTL-SA    RETL289102     2019     HYUND     3H3V281C1KT823097     DRY V         UT      Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289103     2019     HYUND     3H3V281C3KT823098     DRY V         OR      Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289104     2019     HYUND     3H3V281C5KT823099     DRY V         CA      Fresno
 RETL      ROAD TRAILER     RTL-SA    RETL289105     2019     HYUND     3H3V281C8KT823100     DRY V         CA      West Sacramento
 RETL      ROAD TRAILER     RTL-SA    RETL289106     2019     HYUND     3H3V281CXKT823101     DRY V         CA      Hayward
 RETL      ROAD TRAILER     RTL-SA    RETL289107     2019     HYUND     3H3V281C1KT823102     DRY V         CA      Lost Hills
 RETL      ROAD TRAILER     RTL-SA    RETL289108     2019     HYUND     3H3V281C3KT823103     DRY V         CA      Fontana
 RETL      ROAD TRAILER     RTL-SA    RETL289109     2019     HYUND     3H3V281C5KT823104     DRY V         UT      St. George
 RETL      ROAD TRAILER     RTL-SA    RETL289110     2019     HYUND     3H3V281C7KT823105     DRY V         NV      Sparks
 RETL      ROAD TRAILER     RTL-SA    RETL289111     2019     HYUND     3H3V281C9KT823106     DRY V         WA      Pasco
 RETL      ROAD TRAILER     RTL-SA    RETL289112     2019     HYUND     3H3V281C0KT823107     DRY V         CA      Bloomington
 RETL      ROAD TRAILER     RTL-SA    RETL289113     2019     HYUND     3H3V281C2KT823108     DRY V         CA      Bakersfield
 RETL      ROAD TRAILER     RTL-SA    RETL289114     2019     HYUND     3H3V281C4KT823109     DRY V         ID      Twin Falls
 RETL      ROAD TRAILER     RTL-SA    RETL289115     2019     HYUND     3H3V281C0KT823110     DRY V         OR      Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289116     2019     HYUND     3H3V281C2KT823111     DRY V         OR      Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289117     2019     HYUND     3H3V281C4KT823112     DRY V         CO      Aurora
 RETL      ROAD TRAILER     RTL-SA    RETL289118     2019     HYUND     3H3V281C6KT823113     DRY V         WA      Seattle
 RETL      ROAD TRAILER     RTL-SA    RETL289119     2019     HYUND     3H3V281C8KT823114     DRY V         CA      Pico Rivera
 RETL      ROAD TRAILER     RTL-SA    RETL289120     2019     HYUND     3H3V281CXKT823115     DRY V         OR      Portland
 RETL      ROAD TRAILER     RTL-SA    RETL289121     2019     HYUND     3H3V281C1KT823116     DRY V         WA      Spokane
 RETL      ROAD TRAILER     RTL-SA    RETL289122     2019     HYUND     3H3V281C3KT823117     DRY V         WA      Spokane
 RETL      ROAD TRAILER     RTL-SA    RETL289123     2019     HYUND     3H3V281C5KT823118     DRY V         CA      Bloomington
 RETL      ROAD TRAILER     RTL-SA    RETL289124     2019     HYUND     3H3V281C7KT823119     DRY V         CA      Bloomington
 RETL      ROAD TRAILER     RTL-SA    RETL289125     2019     HYUND     3H3V281C3KT823120     DRY V         OR      Central Point
 RETL      ROAD TRAILER     RTL-SA    RETL289126     2019     HYUND     3H3V281C5KT823121     DRY V         WA      Tacoma
 RETL      ROAD TRAILER     RTL-SA    RETL289127     2019     HYUND     3H3V281C7KT823122     DRY V         WA      Tacoma
 RETL      ROAD TRAILER     RTL-SA    RETL289128     2019     HYUND     3H3V281C9KT823123     DRY V         UT      Salt Lake City
 RETL      ROAD TRAILER     RTL-SA    RETL289129     2019     HYUND     3H3V281C0KT823124     DRY V         CA      Gardena
 RETL      ROAD TRAILER     RTL-SA    RETL289130     2019     HYUND     3H3V281C2KT823125     DRY V         WA      Spokane
 YRCF      ROAD TRAILER     RTL-SA    RDWY137664     2019     WABSH     1JJV281D8KL138796     DVDBHPC       IL      Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY137667     2019     WABSH     1JJV281D3KL138799     DVDBHPC       GA      Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY137672     2019     WABSH     1JJV281D3KL138804     DVDBHPC       IN      Fort Wayne
 YRCF      ROAD TRAILER     RTL-SA    RDWY137690     2019     WABSH     1JJV281D5KL138822     DVDBHPC       WA      Seattle
 YRCF      ROAD TRAILER     RTL-SA    RDWY137691     2019     WABSH     1JJV281D7KL138823     DVDBHPC       MT      Butte
 YRCF      ROAD TRAILER     RTL-SA    RDWY137705     2019     WABSH     1JJV281D7KL138837     DVDBHPC       TX      Dallas
 YRCF      ROAD TRAILER     RTL-SA    RDWY137706     2019     WABSH     1JJV281D9KL138838     DVDBHPC       TX      Lubbock
 YRCF      ROAD TRAILER     RTL-SA    RDWY137709     2019     WABSH     1JJV281D9KL138841     DVDBHPC       CA      Santa Clara
 YRCF      ROAD TRAILER     RTL-SA    RDWY137756     2019     WABSH     1JJV281D2KL138888     DVDBHPC       FL      Ocala
 YRCF      ROAD TRAILER     RTL-SA    RDWY137824     2019     WABSH     1JJV281D4KL138956     DVDBHPC       NC      Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY137826     2019     WABSH     1JJV281D8KL138958     DVDBHPC       NE      Omaha
 YRCF      ROAD TRAILER     RTL-SA    RDWY137844     2019     WABSH     1JJV281DXKL138976     DVDBHPC       IL      Hodgkins
 YRCF      ROAD TRAILER     RTL-SA    RDWY137846     2019     WABSH     1JJV281D3KL138978     DVDBHPC       CA      Bloomington
 YRCF      ROAD TRAILER     RTL-SA    RDWY137850     2019     WABSH     1JJV281D5KL138982     DVDBHPC       CA      San Bernardino
 YRCF      ROAD TRAILER     RTL-SA    RDWY137866     2019     WABSH     1JJV281D9KL138998     DVDBHPC       UT      Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY137869     2019     WABSH     1JJV281D3KL139001     DVDBHPC       PA      Bethlehem
 YRCF      ROAD TRAILER     RTL-SA    RDWY137873     2019     WABSH     1JJV281D0KL139005     DVDBHPC       GA      Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY137876     2019     WABSH     1JJV281D6KL139008     DVDBHPC       GA      Marietta
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 933 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State     City
 YRCF      ROAD TRAILER     RTL-SA    RDWY137880     2019     WABSH     1JJV281D8KL139012       DVDBHPC       OK        Oklahoma City
 YRCF      ROAD TRAILER     RTL-SA    RDWY137881     2019     WABSH     1JJV281DXKL139013       DVDBHPC       IL        Rock Island
 YRCF      ROAD TRAILER     RTL-SA    RDWY137887     2019     WABSH     1JJV281D0KL139019       DVDBHPC       PA        Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY137925     2019     WABSH     1JJV281D8KL139057       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY137928     2019     WABSH     1JJV281D8KL139060       DVDBHPC       MO        Saint Louis
 YRCF      ROAD TRAILER     RTL-SA    RDWY137932     2019     WABSH     1JJV281D5KL139064       DVDBHPC       UT        St. George
 YRCF      ROAD TRAILER     RTL-SA    RDWY137962     2019     WABSH     1JJV281D3KL139094       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY137974     2019     WABSH     1JJV281D6KL139106       DVDBHPC       NM        Albuquerque
 YRCF      ROAD TRAILER     RTL-SA    RDWY137981     2019     WABSH     1JJV281D3KL139113       DVDBHPC       TX        Dallas
 YRCF      ROAD TRAILER     RTL-SA    RDWY137989     2019     WABSH     1JJV281D2KL139121       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138019     2019     WABSH     1JJV281D0KL139151       DVDBHPC       OH        Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138022     2019     WABSH     1JJV281D6KL139154       DVDBHPC       NY        Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138042     2019     WABSH     1JJV281D1KL139174       DVDBHPC       TX        Waco
 YRCF      ROAD TRAILER     RTL-SA    RDWY138047     2019     WABSH     1JJV281D0KL139179       DVDBHPC       GA        Conley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138050     2019     WABSH     1JJV281D0KL139182       DVDBHPC       TX        Houston
 YRCF      ROAD TRAILER     RTL-SA    RDWY138051     2019     WABSH     1JJV281D2KL139183       DVDBHPC       FL        Jacksonville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138083     2019     WABSH     1JJV281D0KL139215       DVDBHPC       OK        Oklahoma City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138084     2019     WABSH     1JJV281D2KL139216       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138085     2019     WABSH     1JJV281D4KL139217       DVDBHPC       TX        San Antonio
 YRCF      ROAD TRAILER     RTL-SA    RDWY138086     2019     WABSH     1JJV281D6KL139218       DVDBHPC       CA        Bloomington
 YRCF      ROAD TRAILER     RTL-SA    RDWY138088     2019     WABSH     1JJV281D4KL139220       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138089     2019     WABSH     1JJV281D6KL139221       DVDBHPC       RI        Cumberland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138091     2019     WABSH     1JJV281DXKL139223       DVDBHPC       FL        Tampa
 YRCF      ROAD TRAILER     RTL-SA    RDWY138093     2019     WABSH     1JJV281D3KL139225       DVDBHPC       IN        Jeffersonville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138094     2019     WABSH     1JJV281D5KL139226       DVDBHPC       IN        Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138096     2019     WABSH     1JJV281D9KL139228       DVDBHPC       IN        Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138099     2019     WABSH     1JJV281D9KL139231       DVDBHPC       PA        Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138101     2019     WABSH     1JJV281D2KL139233       DVDBHPC       WA        Tacoma
 YRCF      ROAD TRAILER     RTL-SA    RDWY138102     2019     WABSH     1JJV281D4KL139234       DVDBHPC       MO        Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138104     2019     WABSH     1JJV281D8KL139236       DVDBHPC       IN        South Bend
 YRCF      ROAD TRAILER     RTL-SA    RDWY138107     2019     WABSH     1JJV281D3KL139239       DVDBHPC       TX        Lubbock
 YRCF      ROAD TRAILER     RTL-SA    RDWY138108     2019     WABSH     1JJV281DXKL139240       DVDBHPC       OK        Oklahoma City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138112     2019     WABSH     1JJV281D7KL139244       DVDBHPC       NY        Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138113     2019     WABSH     1JJV281D9KL139245       DVDBHPC       IL        Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138117     2019     WABSH     1JJV281D6KL139249       DVDBHPC       MO        Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138120     2019     WABSH     1JJV281D6KL139252       DVDBHPC       NV        Sparks
 YRCF      ROAD TRAILER     RTL-SA    RDWY138121     2019     WABSH     1JJV281D8KL139253       DVDBHPC       NY        Mount Vernon
 YRCF      ROAD TRAILER     RTL-SA    RDWY138123     2019     WABSH     1JJV281D1KL139255       DVDBHPC       FL        Jacksonville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138124     2019     WABSH     1JJV281D3KL139256       DVDBHPC       GA        Macon
 YRCF      ROAD TRAILER     RTL-SA    RDWY138125     2019     WABSH     1JJV281D5KL139257       DVDBHPC       NY        Deer Park
 YRCF      ROAD TRAILER     RTL-SA    RDWY138126     2019     WABSH     1JJV281D7KL139258       DVDBHPC       AZ        Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138127     2019     WABSH     1JJV281D9KL139259       DVDBHPC       FL        Tampa
 YRCF      ROAD TRAILER     RTL-SA    RDWY138129     2019     WABSH     1JJV281D7KL139261       DVDBHPC       MO        Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138136     2019     WABSH     1JJV281DXKL139268       DVDBHPC       OH        Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138138     2019     WABSH     1JJV281D8KL139270       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138141     2019     WABSH     1JJV281D3KL139273       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138143     2019     WABSH     1JJV281D7KL139275       DVDBHPC       CA        Willows
 YRCF      ROAD TRAILER     RTL-SA    RDWY138144     2019     WABSH     1JJV281D9KL139276       DVDBHPC       FL        Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY138145     2019     WABSH     1JJV281D0KL139277       DVDBHPC       CA        Bloomington
 YRCF      ROAD TRAILER     RTL-SA    RDWY138146     2019     WABSH     1JJV281D2KL139278       DVDBHPC       NV        Sparks
 YRCF      ROAD TRAILER     RTL-SA    RDWY138147     2019     WABSH     1JJV281D4KL139279       DVDBHPC       NC        Raleigh
 YRCF      ROAD TRAILER     RTL-SA    RDWY138148     2019     WABSH     1JJV281D0KL139280       DVDBHPC       MS        Richland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138149     2019     WABSH     1JJV281D2KL139281       DVDBHPC       AL        Mobile
 YRCF      ROAD TRAILER     RTL-SA    RDWY138153     2019     WABSH     1JJV281DXKL139285       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138154     2019     WABSH     1JJV281D1KL139286       DVDBHPC       NY        Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138155     2019     WABSH     1JJV281D3KL139287       DVDBHPC       GA        Jefferson
 YRCF      ROAD TRAILER     RTL-SA    RDWY138156     2019     WABSH     1JJV281D5KL139288       DVDBHPC       IL        Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138158     2019     WABSH     1JJV281D3KL139290       DVDBHPC       FL        Tampa
 YRCF      ROAD TRAILER     RTL-SA    RDWY138159     2019     WABSH     1JJV281D5KL139291       DVDBHPC       IN        Terre Haute
 YRCF      ROAD TRAILER     RTL-SA    RDWY138160     2019     WABSH     1JJV281D7KL139292       DVDBHPC       Ontario   Mississauga
 YRCF      ROAD TRAILER     RTL-SA    RDWY138161     2019     WABSH     1JJV281D9KL139293       DVDBHPC       CA        Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138162     2019     WABSH     1JJV281D0KL139294       DVDBHPC       NM        Albuquerque
 YRCF      ROAD TRAILER     RTL-SA    RDWY138164     2019     WABSH     1JJV281D4KL139296       DVDBHPC       OK        Oklahoma City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138166     2019     WABSH     1JJV281D8KL139298       DVDBHPC       ME        Westbrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138168     2019     WABSH     1JJV281D2KL139300       DVDBHPC       CA        Bloomington
 YRCF      ROAD TRAILER     RTL-SA    RDWY138169     2019     WABSH     1JJV281D4KL139301       DVDBHPC       WA        Tacoma
 YRCF      ROAD TRAILER     RTL-SA    RDWY138172     2019     WABSH     1JJV281DXKL139304       DVDBHPC       TX        Laredo
 YRCF      ROAD TRAILER     RTL-SA    RDWY138174     2019     WABSH     1JJV281D3KL139306       DVDBHPC       TN        Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138179     2019     WABSH     1JJV281D7KL139311       DVDBHPC       NY        Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138182     2019     WABSH     1JJV281D2KL139314       DVDBHPC       MD        Baltimore
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 934 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State     City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138186     2019     WABSH     1JJV281DXKL139318       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138187     2019     WABSH     1JJV281D1KL139319       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138217     2019     WABSH     1JJV281DXKL139349       DVDBHPC       PQ        Dorval
 YRCF      ROAD TRAILER     RTL-SA    RDWY138227     2019     WABSH     1JJV281D2KL139359       DVDBHPC       FL        Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY138259     2019     WABSH     1JJV281D9KL139391       DVDBHPC       CO        Henderson
 YRCF      ROAD TRAILER     RTL-SA    RDWY138262     2019     WABSH     1JJV281D4KL139394       DVDBHPC       IN        Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138264     2019     WABSH     1JJV281D8KL139396       DVDBHPC       OH        Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY138265     2019     WABSH     1JJV281DXKL139397       DVDBHPC       TX        Laredo
 YRCF      ROAD TRAILER     RTL-SA    RDWY138266     2019     WABSH     1JJV281D1KL139398       DVDBHPC       IN        Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138267     2019     WABSH     1JJV281D3KL139399       DVDBHPC       GA        Macon
 YRCF      ROAD TRAILER     RTL-SA    RDWY138268     2019     WABSH     1JJV281D6KL139400       DVDBHPC       CA        Los Angeles
 YRCF      ROAD TRAILER     RTL-SA    RDWY138269     2019     WABSH     1JJV281D8KL139401       DVDBHPC       TX        Houston
 YRCF      ROAD TRAILER     RTL-SA    RDWY138270     2019     WABSH     1JJV281DXKL139402       DVDBHPC       MD        Hagerstown
 YRCF      ROAD TRAILER     RTL-SA    RDWY138271     2019     WABSH     1JJV281D1KL139403       DVDBHPC       TN        Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138272     2019     WABSH     1JJV281D3KL139404       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138273     2019     WABSH     1JJV281D5KL139405       DVDBHPC       ND        Fargo
 YRCF      ROAD TRAILER     RTL-SA    RDWY138274     2019     WABSH     1JJV281D7KL139406       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138275     2019     WABSH     1JJV281D9KL139407       DVDBHPC       IL        Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138277     2019     WABSH     1JJV281D2KL139409       DVDBHPC       TN        Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138280     2019     WABSH     1JJV281D2KL139412       DVDBHPC       MD        Hagerstown
 YRCF      ROAD TRAILER     RTL-SA    RDWY138281     2019     WABSH     1JJV281D4KL139413       DVDBHPC       CA        Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138282     2019     WABSH     1JJV281D6KL139414       DVDBHPC       NY        East Syracuse
 YRCF      ROAD TRAILER     RTL-SA    RDWY138283     2019     WABSH     1JJV281D8KL139415       DVDBHPC       IN        Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138284     2019     WABSH     1JJV281DXKL139416       DVDBHPC       UT        Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138285     2019     WABSH     1JJV281D1KL139417       DVDBHPC       LA        Alexandria
 YRCF      ROAD TRAILER     RTL-SA    RDWY138287     2019     WABSH     1JJV281D5KL139419       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138288     2019     WABSH     1JJV281D1KL139420       DVDBHPC       TX        Irving
 YRCF      ROAD TRAILER     RTL-SA    RDWY138289     2019     WABSH     1JJV281D3KL139421       DVDBHPC       IN        Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138290     2019     WABSH     1JJV281D5KL139422       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138292     2019     WABSH     1JJV281D9KL139424       DVDBHPC       OR        Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138293     2019     WABSH     1JJV281D0KL139425       DVDBHPC       OH        Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138294     2019     WABSH     1JJV281D2KL139426       DVDBHPC       VA        Manassas
 YRCF      ROAD TRAILER     RTL-SA    RDWY138295     2019     WABSH     1JJV281D4KL139427       DVDBHPC       MS        Richland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138296     2019     WABSH     1JJV281D6KL139428       DVDBHPC       AR        Little Rock
 YRCF      ROAD TRAILER     RTL-SA    RDWY138297     2019     WABSH     1JJV281D8KL139429       DVDBHPC       OH        Dayton
 YRCF      ROAD TRAILER     RTL-SA    RDWY138299     2019     WABSH     1JJV281D6KL139431       DVDBHPC       CA        Sun Valley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138300     2019     WABSH     1JJV281D8KL139432       DVDBHPC       CO        Aurora
 YRCF      ROAD TRAILER     RTL-SA    RDWY138301     2019     WABSH     1JJV281DXKL139433       DVDBHPC       TN        Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138303     2019     WABSH     1JJV281D3KL139435       DVDBHPC       MN        Saint Cloud
 YRCF      ROAD TRAILER     RTL-SA    RDWY138305     2019     WABSH     1JJV281D7KL139437       DVDBHPC       IN        South Bend
 YRCF      ROAD TRAILER     RTL-SA    RDWY138308     2019     WABSH     1JJV281D7KL139440       DVDBHPC       OH        Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138309     2019     WABSH     1JJV281D9KL139441       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138310     2019     WABSH     1JJV281D0KL139442       DVDBHPC       NE        Omaha
 YRCF      ROAD TRAILER     RTL-SA    RDWY138311     2019     WABSH     1JJV281D2KL139443       DVDBHPC       PA        Bethlehem
 YRCF      ROAD TRAILER     RTL-SA    RDWY138312     2019     WABSH     1JJV281D4KL139444       DVDBHPC       NY        Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138313     2019     WABSH     1JJV281D6KL139445       DVDBHPC       ID        Pocatello
 YRCF      ROAD TRAILER     RTL-SA    RDWY138314     2019     WABSH     1JJV281D8KL139446       DVDBHPC       IL        Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138316     2019     WABSH     1JJV281D1KL139448       DVDBHPC       OH        Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY138317     2019     WABSH     1JJV281D3KL139449       DVDBHPC       IN        Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138318     2019     WABSH     1JJV281DXKL139450       DVDBHPC       AZ        Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138320     2019     WABSH     1JJV281D3KL139452       DVDBHPC       TN        Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138322     2019     WABSH     1JJV281D7KL139454       DVDBHPC       FL        Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY138323     2019     WABSH     1JJV281D9KL139455       DVDBHPC       CA        Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138324     2019     WABSH     1JJV281D0KL139456       DVDBHPC       CA        Bloomington
 YRCF      ROAD TRAILER     RTL-SA    RDWY138325     2019     WABSH     1JJV281D2KL139457       DVDBHPC       CA        Los Angeles
 YRCF      ROAD TRAILER     RTL-SA    RDWY138327     2019     WABSH     1JJV281D6KL139459       DVDBHPC       SD        Watertown
 YRCF      ROAD TRAILER     RTL-SA    RDWY138328     2019     WABSH     1JJV281D2KL139460       DVDBHPC       FL        Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY138329     2019     WABSH     1JJV281D4KL139461       DVDBHPC       FL        Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY138330     2019     WABSH     1JJV281D6KL139462       DVDBHPC       OR        Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138332     2019     WABSH     1JJV281DXKL139464       DVDBHPC       OR        Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138333     2019     WABSH     1JJV281D1KL139465       DVDBHPC       FL        Jacksonville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138336     2019     WABSH     1JJV281D7KL139468       DVDBHPC       Ontario   Mississauga
 YRCF      ROAD TRAILER     RTL-SA    RDWY138337     2019     WABSH     1JJV281D9KL139469       DVDBHPC       MS        Richland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138339     2019     WABSH     1JJV281D7KL139471       DVDBHPC       FL        Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY138340     2019     WABSH     1JJV281D9KL139472       DVDBHPC       AR        Springdale
 YRCF      ROAD TRAILER     RTL-SA    RDWY138341     2019     WABSH     1JJV281D0KL139473       DVDBHPC       KY        Bowling Green
 YRCF      ROAD TRAILER     RTL-SA    RDWY138342     2019     WABSH     1JJV281D2KL139474       DVDBHPC       NJ        Hamilton
 YRCF      ROAD TRAILER     RTL-SA    RDWY138343     2019     WABSH     1JJV281D4KL139475       DVDBHPC       AZ        Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138344     2019     WABSH     1JJV281D6KL139476       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138345     2019     WABSH     1JJV281D8KL139477       DVDBHPC       CA        Downey
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 935 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State   City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138346     2019     WABSH     1JJV281DXKL139478       DVDBHPC       CA      Bloomington
 YRCF      ROAD TRAILER     RTL-SA    RDWY138347     2019     WABSH     1JJV281D1KL139479       DVDBHPC       GA      Conley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138349     2019     WABSH     1JJV281DXKL139481       DVDBHPC       MO      Strafford
 YRCF      ROAD TRAILER     RTL-SA    RDWY138350     2019     WABSH     1JJV281D1KL139482       DVDBHPC       MI      Taylor
 YRCF      ROAD TRAILER     RTL-SA    RDWY138351     2019     WABSH     1JJV281D3KL139483       DVDBHPC       NY      Elmira
 YRCF      ROAD TRAILER     RTL-SA    RDWY138354     2019     WABSH     1JJV281D9KL139486       DVDBHPC       CA      Los Angeles
 YRCF      ROAD TRAILER     RTL-SA    RDWY138362     2019     WABSH     1JJV281D8KL139494       DVDBHPC       CA      Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138371     2019     WABSH     1JJV281D5KL139503       DVDBHPC       DE      New Castle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138374     2019     WABSH     1JJV281D0KL139506       DVDBHPC       MD      Hagerstown
 YRCF      ROAD TRAILER     RTL-SA    RDWY138378     2019     WABSH     1JJV281D2KL139510       DVDBHPC       FL      Boynton Beach
 YRCF      ROAD TRAILER     RTL-SA    RDWY138384     2019     WABSH     1JJV281D3KL139516       DVDBHPC       OR      Central Point
 YRCF      ROAD TRAILER     RTL-SA    RDWY138395     2019     WABSH     1JJV281D8KL139527       DVDBHPC       NY      Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138397     2019     WABSH     1JJV281D1KL139529       DVDBHPC       OR      Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138400     2019     WABSH     1JJV281D1KL139532       DVDBHPC       NY      Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138403     2019     WABSH     1JJV281D7KL139535       DVDBHPC       GA      Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138413     2019     WABSH     1JJV281DXKL139545       DVDBHPC       NC      Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138427     2019     WABSH     1JJV281DXKL139559       DVDBHPC       NY      Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138448     2019     WABSH     1JJV281D1KL139580       DVDBHPC       OH      Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY138449     2019     WABSH     1JJV281D3KL139581       DVDBHPC       ID      Twin Falls
 YRCF      ROAD TRAILER     RTL-SA    RDWY138458     2019     WABSH     1JJV281D4KL139590       DVDBHPC       CA      Gardena
 YRCF      ROAD TRAILER     RTL-SA    RDWY138460     2019     WABSH     1JJV281D8KL139592       DVDBHPC       OR      Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138461     2019     WABSH     1JJV281DXKL139593       DVDBHPC       GA      Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138462     2019     WABSH     1JJV281D1KL139594       DVDBHPC       NY      Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138479     2019     WABSH     1JJV281D8KL139611       DVDBHPC       IN      Fort Wayne
 YRCF      ROAD TRAILER     RTL-SA    RDWY138480     2019     WABSH     1JJV281DXKL139612       DVDBHPC       AR      Little Rock
 YRCF      ROAD TRAILER     RTL-SA    RDWY138484     2019     WABSH     1JJV281D7KL139616       DVDBHPC       CO      Colorado Springs
 YRCF      ROAD TRAILER     RTL-SA    RDWY138486     2019     WABSH     1JJV281D0KL139618       DVDBHPC       CA      Orange
 YRCF      ROAD TRAILER     RTL-SA    RDWY138492     2019     WABSH     1JJV281D6KL139624       DVDBHPC       MI      Taylor
 YRCF      ROAD TRAILER     RTL-SA    RDWY138496     2019     WABSH     1JJV281D3KL139628       DVDBHPC       GA      Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138498     2019     WABSH     1JJV281D1KL139630       DVDBHPC       OR      Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138499     2019     WABSH     1JJV281D3KL139631       DVDBHPC       WA      Spokane
 YRCF      ROAD TRAILER     RTL-SA    RDWY138500     2019     WABSH     1JJV281D5KL139632       DVDBHPC       AL      Mobile
 YRCF      ROAD TRAILER     RTL-SA    RDWY138501     2019     WABSH     1JJV281D7KL139633       DVDBHPC       CA      Los Angeles
 YRCF      ROAD TRAILER     RTL-SA    RDWY138502     2019     WABSH     1JJV281D9KL139634       DVDBHPC       VA      Richmond
 YRCF      ROAD TRAILER     RTL-SA    RDWY138507     2019     WABSH     1JJV281D8KL139639       DVDBHPC       IN      South Bend
 YRCF      ROAD TRAILER     RTL-SA    RDWY138510     2019     WABSH     1JJV281D8KL139642       DVDBHPC       RI      Cumberland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138514     2019     WABSH     1JJV281D5KL139646       DVDBHPC       CO      Aurora
 YRCF      ROAD TRAILER     RTL-SA    RDWY138516     2019     WABSH     1JJV281D9KL139648       DVDBHPC       IL      Montgomery
 YRCF      ROAD TRAILER     RTL-SA    RDWY138519     2019     WABSH     1JJV281D9KL139651       DVDBHPC       MA      Shrewsbury
 YRCF      ROAD TRAILER     RTL-SA    RDWY138520     2019     WABSH     1JJV281D0KL139652       DVDBHPC       KS      Wichita
 YRCF      ROAD TRAILER     RTL-SA    RDWY138521     2019     WABSH     1JJV281D2KL139653       DVDBHPC       AR      Little Rock
 YRCF      ROAD TRAILER     RTL-SA    RDWY138522     2019     WABSH     1JJV281D4KL139654       DVDBHPC       OK      Oklahoma City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138523     2019     WABSH     1JJV281D6KL139655       DVDBHPC       OH      Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138524     2019     WABSH     1JJV281D8KL139656       DVDBHPC       NC      Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138525     2019     WABSH     1JJV281DXKL139657       DVDBHPC       TX      Lubbock
 YRCF      ROAD TRAILER     RTL-SA    RDWY138526     2019     WABSH     1JJV281D1KL139658       DVDBHPC       NY      Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138527     2019     WABSH     1JJV281D3KL139659       DVDBHPC       OR      Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138528     2019     WABSH     1JJV281DXKL139660       DVDBHPC       NV      Sparks
 YRCF      ROAD TRAILER     RTL-SA    RDWY138529     2019     WABSH     1JJV281D1KL139661       DVDBHPC       FL      Miami
 YRCF      ROAD TRAILER     RTL-SA    RDWY138530     2019     WABSH     1JJV281D3KL139662       DVDBHPC       GA      Macon
 YRCF      ROAD TRAILER     RTL-SA    RDWY138531     2019     WABSH     1JJV281D5KL139663       DVDBHPC       CA      Ventura
 YRCF      ROAD TRAILER     RTL-SA    RDWY138532     2019     WABSH     1JJV281D7KL139664       DVDBHPC       OH      Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY138533     2019     WABSH     1JJV281D9KL139665       DVDBHPC       CO      Grand Junction
 YRCF      ROAD TRAILER     RTL-SA    RDWY138534     2019     WABSH     1JJV281D0KL139666       DVDBHPC       NC      Kernersville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138535     2019     WABSH     1JJV281D2KL139667       DVDBHPC       IL      Hodgkins
 YRCF      ROAD TRAILER     RTL-SA    RDWY138536     2019     WABSH     1JJV281D4KL139668       DVDBHPC       MO      Saint Louis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138537     2019     WABSH     1JJV281D6KL139669       DVDBHPC       OH      Cincinnati
 YRCF      ROAD TRAILER     RTL-SA    RDWY138538     2019     WABSH     1JJV281D2KL139670       DVDBHPC       IN      Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138539     2019     WABSH     1JJV281D4KL139671       DVDBHPC       OR      Redmond
 YRCF      ROAD TRAILER     RTL-SA    RDWY138540     2019     WABSH     1JJV281D6KL139672       DVDBHPC       CA      Gardena
 YRCF      ROAD TRAILER     RTL-SA    RDWY138541     2019     WABSH     1JJV281D8KL139673       DVDBHPC       OK      Oklahoma City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138542     2019     WABSH     1JJV281DXKL139674       DVDBHPC       CA      Stockton
 YRCF      ROAD TRAILER     RTL-SA    RDWY138543     2019     WABSH     1JJV281D1KL139675       DVDBHPC       UT      Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138544     2019     WABSH     1JJV281D3KL139676       DVDBHPC       IL      Wheeling
 YRCF      ROAD TRAILER     RTL-SA    RDWY138545     2019     WABSH     1JJV281D5KL139677       DVDBHPC       GA      Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138546     2019     WABSH     1JJV281D7KL139678       DVDBHPC       NY      East Syracuse
 YRCF      ROAD TRAILER     RTL-SA    RDWY138547     2019     WABSH     1JJV281D9KL139679       DVDBHPC       PA      Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138548     2019     WABSH     1JJV281D5KL139680       DVDBHPC       MO      Saint Louis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138549     2019     WABSH     1JJV281D7KL139681       DVDBHPC       NY      Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138550     2019     WABSH     1JJV281D9KL139682       DVDBHPC       FL      Jacksonville
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 936 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State   City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138552     2019     WABSH     1JJV281D2KL139684       DVDBHPC       IL      Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138553     2019     WABSH     1JJV281D4KL139685       DVDBHPC       VA      Chesapeake
 YRCF      ROAD TRAILER     RTL-SA    RDWY138554     2019     WABSH     1JJV281D6KL139686       DVDBHPC       IL      Decatur
 YRCF      ROAD TRAILER     RTL-SA    RDWY138556     2019     WABSH     1JJV281DXKL139688       DVDBHPC       IL      Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138557     2019     WABSH     1JJV281D1KL139689       DVDBHPC       PA      Mountain Top
 YRCF      ROAD TRAILER     RTL-SA    RDWY138558     2019     WABSH     1JJV281D8KL139690       DVDBHPC       IL      Hodgkins
 YRCF      ROAD TRAILER     RTL-SA    RDWY138559     2019     WABSH     1JJV281DXKL139691       DVDBHPC       PA      Bensalem
 YRCF      ROAD TRAILER     RTL-SA    RDWY138560     2019     WABSH     1JJV281D1KL139692       DVDBHPC       OH      Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138561     2019     WABSH     1JJV281D3KL139693       DVDBHPC       TN      Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138562     2019     WABSH     1JJV281D5KL139694       DVDBHPC       GA      Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138563     2019     WABSH     1JJV281D7KL139695       DVDBHPC       MS      Olive Branch
 YRCF      ROAD TRAILER     RTL-SA    RDWY138564     2019     WABSH     1JJV281D9KL139696       DVDBHPC       TX      Houston
 YRCF      ROAD TRAILER     RTL-SA    RDWY138565     2019     WABSH     1JJV281D0KL139697       DVDBHPC       NY      Deer Park
 YRCF      ROAD TRAILER     RTL-SA    RDWY138566     2019     WABSH     1JJV281D2KL139698       DVDBHPC       IL      Montgomery
 YRCF      ROAD TRAILER     RTL-SA    RDWY138567     2019     WABSH     1JJV281D4KL139699       DVDBHPC       GA      Thomasville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138568     2019     WABSH     1JJV281D7KL139700       DVDBHPC       NV      Las Vegas
 YRCF      ROAD TRAILER     RTL-SA    RDWY138569     2019     WABSH     1JJV281D9KL139701       DVDBHPC       NY      Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138570     2019     WABSH     1JJV281D0KL139702       DVDBHPC       MD      Baltimore
 YRCF      ROAD TRAILER     RTL-SA    RDWY138571     2019     WABSH     1JJV281D2KL139703       DVDBHPC       MD      Baltimore
 YRCF      ROAD TRAILER     RTL-SA    RDWY138572     2019     WABSH     1JJV281D4KL139704       DVDBHPC       FL      Tampa
 YRCF      ROAD TRAILER     RTL-SA    RDWY138573     2019     WABSH     1JJV281D6KL139705       DVDBHPC       TX      Houston
 YRCF      ROAD TRAILER     RTL-SA    RDWY138574     2019     WABSH     1JJV281D8KL139706       DVDBHPC       NY      Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138576     2019     WABSH     1JJV281D1KL139708       DVDBHPC       TX      Houston
 YRCF      ROAD TRAILER     RTL-SA    RDWY138577     2019     WABSH     1JJV281D3KL139709       DVDBHPC       CA      Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138578     2019     WABSH     1JJV281DXKL139710       DVDBHPC       CA      Los Angeles
 YRCF      ROAD TRAILER     RTL-SA    RDWY138579     2019     WABSH     1JJV281D1KL139711       DVDBHPC       TX      Laredo
 YRCF      ROAD TRAILER     RTL-SA    RDWY138580     2019     WABSH     1JJV281D3KL139712       DVDBHPC       IL      Montgomery
 YRCF      ROAD TRAILER     RTL-SA    RDWY138581     2019     WABSH     1JJV281D5KL139713       DVDBHPC       OH      Richfield
 YRCF      ROAD TRAILER     RTL-SA    RDWY138582     2019     WABSH     1JJV281D7KL139714       DVDBHPC       VA      Chesapeake
 YRCF      ROAD TRAILER     RTL-SA    RDWY138583     2019     WABSH     1JJV281D9KL139715       DVDBHPC       MI      Wayland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138584     2019     WABSH     1JJV281D0KL139716       DVDBHPC       GA      Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138585     2019     WABSH     1JJV281D2KL139717       DVDBHPC       FL      Jacksonville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138586     2019     WABSH     1JJV281D4KL139718       DVDBHPC       FL      Ocala
 YRCF      ROAD TRAILER     RTL-SA    RDWY138587     2019     WABSH     1JJV281D6KL139719       DVDBHPC       FL      Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY138588     2019     WABSH     1JJV281D2KL139720       DVDBHPC       LA      Shreveport
 YRCF      ROAD TRAILER     RTL-SA    RDWY138589     2019     WABSH     1JJV281D4KL139721       DVDBHPC       MO      Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138590     2019     WABSH     1JJV281D6KL139722       DVDBHPC       TN      Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138591     2019     WABSH     1JJV281D8KL139723       DVDBHPC       IL      Bolingbrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138592     2019     WABSH     1JJV281DXKL139724       DVDBHPC       OR      Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138593     2019     WABSH     1JJV281D1KL139725       DVDBHPC       CA      Adelanto
 YRCF      ROAD TRAILER     RTL-SA    RDWY138594     2019     WABSH     1JJV281D3KL139726       DVDBHPC       NC      Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138595     2019     WABSH     1JJV281D5KL139727       DVDBHPC       PA      Mountain Top
 YRCF      ROAD TRAILER     RTL-SA    RDWY138596     2019     WABSH     1JJV281D7KL139728       DVDBHPC       TX      McAllen
 YRCF      ROAD TRAILER     RTL-SA    RDWY138597     2019     WABSH     1JJV281D9KL139729       DVDBHPC       UT      Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138598     2019     WABSH     1JJV281D5KL139730       DVDBHPC       OH      Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY138599     2019     WABSH     1JJV281D7KL139731       DVDBHPC       UT      Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138600     2019     WABSH     1JJV281D9KL139732       DVDBHPC       RI      Cumberland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138601     2019     WABSH     1JJV281D0KL139733       DVDBHPC       CA      Ventura
 YRCF      ROAD TRAILER     RTL-SA    RDWY138602     2019     WABSH     1JJV281D2KL139734       DVDBHPC       NJ      South Plainfield
 YRCF      ROAD TRAILER     RTL-SA    RDWY138603     2019     WABSH     1JJV281D4KL139735       DVDBHPC       GA      Ringgold
 YRCF      ROAD TRAILER     RTL-SA    RDWY138604     2019     WABSH     1JJV281D6KL139736       DVDBHPC       TN      Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138605     2019     WABSH     1JJV281D8KL139737       DVDBHPC       OH      Cincinnati
 YRCF      ROAD TRAILER     RTL-SA    RDWY138606     2019     WABSH     1JJV281DXKL139738       DVDBHPC       GA      La Grange
 YRCF      ROAD TRAILER     RTL-SA    RDWY138607     2019     WABSH     1JJV281D1KL139739       DVDBHPC       OH      Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY138608     2019     WABSH     1JJV281D8KL139740       DVDBHPC       AZ      Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138609     2019     WABSH     1JJV281DXKL139741       DVDBHPC       WA      Seattle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138610     2019     WABSH     1JJV281D1KL139742       DVDBHPC       MI      Wyoming
 YRCF      ROAD TRAILER     RTL-SA    RDWY138611     2019     WABSH     1JJV281D3KL139743       DVDBHPC       OH      Bowling Green
 YRCF      ROAD TRAILER     RTL-SA    RDWY138612     2019     WABSH     1JJV281D5KL139744       DVDBHPC       IL      Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138613     2019     WABSH     1JJV281D7KL139745       DVDBHPC       TN      Goodlettsville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138614     2019     WABSH     1JJV281D9KL139746       DVDBHPC       IN      South Bend
 YRCF      ROAD TRAILER     RTL-SA    RDWY138615     2019     WABSH     1JJV281D0KL139747       DVDBHPC       WA      Tacoma
 YRCF      ROAD TRAILER     RTL-SA    RDWY138616     2019     WABSH     1JJV281D2KL139748       DVDBHPC       TX      San Antonio
 YRCF      ROAD TRAILER     RTL-SA    RDWY138617     2019     WABSH     1JJV281D4KL139749       DVDBHPC       NY      Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138618     2019     WABSH     1JJV281D0KL139750       DVDBHPC       CA      Santa Rosa
 YRCF      ROAD TRAILER     RTL-SA    RDWY138619     2019     WABSH     1JJV281D2KL139751       DVDBHPC       PA      Bethlehem
 YRCF      ROAD TRAILER     RTL-SA    RDWY138620     2019     WABSH     1JJV281D4KL139752       DVDBHPC       MS      Richland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138621     2019     WABSH     1JJV281D6KL139753       DVDBHPC       GA      Savannah
 YRCF      ROAD TRAILER     RTL-SA    RDWY138622     2019     WABSH     1JJV281D8KL139754       DVDBHPC       IL      Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138623     2019     WABSH     1JJV281DXKL139755       DVDBHPC       IL      Hodgkins
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 937 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State            City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138624     2019     WABSH     1JJV281D1KL139756       DVDBHPC       NY               Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138625     2019     WABSH     1JJV281D3KL139757       DVDBHPC       NC               Fayetteville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138626     2019     WABSH     1JJV281D5KL139758       DVDBHPC       TN               Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138627     2019     WABSH     1JJV281D7KL139759       DVDBHPC       IN               Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138628     2019     WABSH     1JJV281D3KL139760       DVDBHPC       NY               Deer Park
 YRCF      ROAD TRAILER     RTL-SA    RDWY138629     2019     WABSH     1JJV281D5KL139761       DVDBHPC       NC               Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138630     2019     WABSH     1JJV281D7KL139762       DVDBHPC       IL               Hodgkins
 YRCF      ROAD TRAILER     RTL-SA    RDWY138631     2019     WABSH     1JJV281D9KL139763       DVDBHPC       MO               Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138632     2019     WABSH     1JJV281D0KL139764       DVDBHPC       PA               Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138633     2019     WABSH     1JJV281D2KL139765       DVDBHPC       TX               Irving
 YRCF      ROAD TRAILER     RTL-SA    RDWY138634     2019     WABSH     1JJV281D4KL139766       DVDBHPC       MO               Saint Louis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138635     2019     WABSH     1JJV281D6KL139767       DVDBHPC       PA               Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138636     2019     WABSH     1JJV281D8KL139768       DVDBHPC       FL               Miami
 YRCF      ROAD TRAILER     RTL-SA    RDWY138637     2019     WABSH     1JJV281DXKL139769       DVDBHPC       CA               Fresno
 YRCF      ROAD TRAILER     RTL-SA    RDWY138638     2019     WABSH     1JJV281D6KL139770       DVDBHPC       GA               Conley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138639     2019     WABSH     1JJV281D8KL139771       DVDBHPC       NM               Albuquerque
 YRCF      ROAD TRAILER     RTL-SA    RDWY138640     2019     WABSH     1JJV281DXKL139772       DVDBHPC       AL               Birmingham
 YRCF      ROAD TRAILER     RTL-SA    RDWY138641     2019     WABSH     1JJV281D1KL139773       DVDBHPC       OH               Cincinnati
 YRCF      ROAD TRAILER     RTL-SA    RDWY138642     2019     WABSH     1JJV281D3KL139774       DVDBHPC       CA               Orange
 YRCF      ROAD TRAILER     RTL-SA    RDWY138643     2019     WABSH     1JJV281D5KL139775       DVDBHPC       NC               Raleigh
 YRCF      ROAD TRAILER     RTL-SA    RDWY138644     2019     WABSH     1JJV281D7KL139776       DVDBHPC       AL               Birmingham
 YRCF      ROAD TRAILER     RTL-SA    RDWY138645     2019     WABSH     1JJV281D9KL139777       DVDBHPC       NE               Omaha
 YRCF      ROAD TRAILER     RTL-SA    RDWY138646     2019     WABSH     1JJV281D0KL139778       DVDBHPC       TN               Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138647     2019     WABSH     1JJV281D2KL139779       DVDBHPC       NJ               South Plainfield
 YRCF      ROAD TRAILER     RTL-SA    RDWY138648     2019     WABSH     1JJV281D9KL139780       DVDBHPC       RI               Cumberland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138649     2019     WABSH     1JJV281D0KL139781       DVDBHPC       GA               Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138650     2019     WABSH     1JJV281D2KL139782       DVDBHPC       NM               Albuquerque
 YRCF      ROAD TRAILER     RTL-SA    RDWY138651     2019     WABSH     1JJV281D4KL139783       DVDBHPC       PA               Bensalem
 YRCF      ROAD TRAILER     RTL-SA    RDWY138652     2019     WABSH     1JJV281D6KL139784       DVDBHPC       WA               Seattle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138653     2019     WABSH     1JJV281D8KL139785       DVDBHPC       IN               Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138654     2019     WABSH     1JJV281DXKL139786       DVDBHPC       CA               Fontana
 YRCF      ROAD TRAILER     RTL-SA    RDWY138657     2019     WABSH     1JJV281D5KL139789       DVDBHPC       Ontario          Mississauga
 YRCF      ROAD TRAILER     RTL-SA    RDWY138658     2019     WABSH     1JJV281D1KL139790       DVDBHPC       British Columbia Burnaby
 YRCF      ROAD TRAILER     RTL-SA    RDWY138659     2019     WABSH     1JJV281D3KL139791       DVDBHPC       NY               Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138660     2019     WABSH     1JJV281D5KL139792       DVDBHPC       NY               Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138661     2019     WABSH     1JJV281D7KL139793       DVDBHPC       IL               Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138662     2019     WABSH     1JJV281D9KL139794       DVDBHPC       PA               Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138663     2019     WABSH     1JJV281D0KL139795       DVDBHPC       UT               Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138664     2019     WABSH     1JJV281D2KL139796       DVDBHPC       OR               Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138665     2019     WABSH     1JJV281D4KL139797       DVDBHPC       CO               Aurora
 YRCF      ROAD TRAILER     RTL-SA    RDWY138666     2019     WABSH     1JJV281D6KL139798       DVDBHPC       NC               Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138667     2019     WABSH     1JJV281D8KL139799       DVDBHPC       MA               North Reading
 YRCF      ROAD TRAILER     RTL-SA    RDWY138668     2019     WABSH     1JJV281D0KL139800       DVDBHPC       MA               North Reading
 YRCF      ROAD TRAILER     RTL-SA    RDWY138669     2019     WABSH     1JJV281D2KL139801       DVDBHPC       MO               Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138670     2019     WABSH     1JJV281D4KL139802       DVDBHPC       VA               Fishersville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138671     2019     WABSH     1JJV281D6KL139803       DVDBHPC       MI               Wayland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138672     2019     WABSH     1JJV281D8KL139804       DVDBHPC       IL               Atlanta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138673     2019     WABSH     1JJV281DXKL139805       DVDBHPC       NY               Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138674     2019     WABSH     1JJV281D1KL139806       DVDBHPC       MO               Columbia
 YRCF      ROAD TRAILER     RTL-SA    RDWY138675     2019     WABSH     1JJV281D3KL139807       DVDBHPC       MN               Burnsville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138676     2019     WABSH     1JJV281D5KL139808       DVDBHPC       PA               Bensalem
 YRCF      ROAD TRAILER     RTL-SA    RDWY138677     2019     WABSH     1JJV281D7KL139809       DVDBHPC       IL               Morton
 YRCF      ROAD TRAILER     RTL-SA    RDWY138678     2019     WABSH     1JJV281D3KL139810       DVDBHPC       NY               Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138679     2019     WABSH     1JJV281D5KL139811       DVDBHPC       CA               Bloomington
 YRCF      ROAD TRAILER     RTL-SA    RDWY138680     2019     WABSH     1JJV281D7KL139812       DVDBHPC       CO               Aurora
 YRCF      ROAD TRAILER     RTL-SA    RDWY138681     2019     WABSH     1JJV281D9KL139813       DVDBHPC       WA               Seattle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138682     2019     WABSH     1JJV281D0KL139814       DVDBHPC       WV               Beckley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138683     2019     WABSH     1JJV281D2KL139815       DVDBHPC       GA               Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138684     2019     WABSH     1JJV281D4KL139816       DVDBHPC       NJ               Carlstadt
 YRCF      ROAD TRAILER     RTL-SA    RDWY138685     2019     WABSH     1JJV281D6KL139817       DVDBHPC       MD               Hagerstown
 YRCF      ROAD TRAILER     RTL-SA    RDWY138686     2019     WABSH     1JJV281D8KL139818       DVDBHPC       TN               Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138687     2019     WABSH     1JJV281DXKL139819       DVDBHPC       OK               Oklahoma City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138688     2019     WABSH     1JJV281D6KL139820       DVDBHPC       MO               Saint Louis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138689     2019     WABSH     1JJV281D8KL139821       DVDBHPC       MD               Baltimore
 YRCF      ROAD TRAILER     RTL-SA    RDWY138690     2019     WABSH     1JJV281DXKL139822       DVDBHPC       CA               Sun Valley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138691     2019     WABSH     1JJV281D1KL139823       DVDBHPC       ID               Twin Falls
 YRCF      ROAD TRAILER     RTL-SA    RDWY138692     2019     WABSH     1JJV281D3KL139824       DVDBHPC       CA               Pomona
 YRCF      ROAD TRAILER     RTL-SA    RDWY138693     2019     WABSH     1JJV281D5KL139825       DVDBHPC       CA               Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138694     2019     WABSH     1JJV281D7KL139826       DVDBHPC       OR               Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138695     2019     WABSH     1JJV281D9KL139827       DVDBHPC       TN               Nashville
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 938 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State            City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138696     2019     WABSH     1JJV281D0KL139828       DVDBHPC       PQ               Dorval
 YRCF      ROAD TRAILER     RTL-SA    RDWY138697     2019     WABSH     1JJV281D2KL139829       DVDBHPC       OR               Eugene
 YRCF      ROAD TRAILER     RTL-SA    RDWY138698     2019     WABSH     1JJV281D9KL139830       DVDBHPC       OH               Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY138699     2019     WABSH     1JJV281D0KL139831       DVDBHPC       MI               Wayland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138700     2019     WABSH     1JJV281D2KL139832       DVDBHPC       IN               Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138701     2019     WABSH     1JJV281D4KL139833       DVDBHPC       NC               Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138702     2019     WABSH     1JJV281D6KL139834       DVDBHPC       OH               Akron
 YRCF      ROAD TRAILER     RTL-SA    RDWY138703     2019     WABSH     1JJV281D8KL139835       DVDBHPC       TN               Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138704     2019     WABSH     1JJV281DXKL139836       DVDBHPC       OH               Cincinnati
 YRCF      ROAD TRAILER     RTL-SA    RDWY138705     2019     WABSH     1JJV281D1KL139837       DVDBHPC       NV               Sparks
 YRCF      ROAD TRAILER     RTL-SA    RDWY138706     2019     WABSH     1JJV281D3KL139838       DVDBHPC       GA               Conley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138707     2019     WABSH     1JJV281D5KL139839       DVDBHPC       IL               Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138708     2019     WABSH     1JJV281D1KL139840       DVDBHPC       CO               Aurora
 YRCF      ROAD TRAILER     RTL-SA    RDWY138709     2019     WABSH     1JJV281D3KL139841       DVDBHPC       TN               Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138710     2019     WABSH     1JJV281D5KL139842       DVDBHPC       NY               Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138711     2019     WABSH     1JJV281D7KL139843       DVDBHPC       TX               Irving
 YRCF      ROAD TRAILER     RTL-SA    RDWY138712     2019     WABSH     1JJV281D9KL139844       DVDBHPC       British Columbia Burnaby
 YRCF      ROAD TRAILER     RTL-SA    RDWY138713     2019     WABSH     1JJV281D0KL139845       DVDBHPC       NC               Rocky Mount
 YRCF      ROAD TRAILER     RTL-SA    RDWY138714     2019     WABSH     1JJV281D2KL139846       DVDBHPC       WA               Tacoma
 YRCF      ROAD TRAILER     RTL-SA    RDWY138715     2019     WABSH     1JJV281D4KL139847       DVDBHPC       MD               Landover
 YRCF      ROAD TRAILER     RTL-SA    RDWY138716     2019     WABSH     1JJV281D6KL139848       DVDBHPC       AZ               Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138717     2019     WABSH     1JJV281D8KL139849       DVDBHPC       PA               Du Bois
 YRCF      ROAD TRAILER     RTL-SA    RDWY138718     2019     WABSH     1JJV281D4KL139850       DVDBHPC       LA               Port Allen
 YRCF      ROAD TRAILER     RTL-SA    RDWY138719     2019     WABSH     1JJV281D6KL139851       DVDBHPC       IN               South Bend
 YRCF      ROAD TRAILER     RTL-SA    RDWY138720     2019     WABSH     1JJV281D8KL139852       DVDBHPC       MS               Richland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138721     2019     WABSH     1JJV281DXKL139853       DVDBHPC       IN               Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138722     2019     WABSH     1JJV281D1KL139854       DVDBHPC       MN               Burnsville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138723     2019     WABSH     1JJV281D3KL139855       DVDBHPC       PA               Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138724     2019     WABSH     1JJV281D5KL139856       DVDBHPC       WI               Oak Creek
 YRCF      ROAD TRAILER     RTL-SA    RDWY138725     2019     WABSH     1JJV281D7KL139857       DVDBHPC       VA               Richmond
 YRCF      ROAD TRAILER     RTL-SA    RDWY138726     2019     WABSH     1JJV281D9KL139858       DVDBHPC       CA               Los Angeles
 YRCF      ROAD TRAILER     RTL-SA    RDWY138727     2019     WABSH     1JJV281D0KL139859       DVDBHPC       Ontario          Whitby
 YRCF      ROAD TRAILER     RTL-SA    RDWY138728     2019     WABSH     1JJV281D7KL139860       DVDBHPC       AZ               Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138729     2019     WABSH     1JJV281D9KL139861       DVDBHPC       MA               North Reading
 YRCF      ROAD TRAILER     RTL-SA    RDWY138730     2019     WABSH     1JJV281D0KL139862       DVDBHPC       TN               Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138731     2019     WABSH     1JJV281D2KL139863       DVDBHPC       CA               Sun Valley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138732     2019     WABSH     1JJV281D4KL139864       DVDBHPC       IL               Hodgkins
 YRCF      ROAD TRAILER     RTL-SA    RDWY138733     2019     WABSH     1JJV281D6KL139865       DVDBHPC       VA               Fishersville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138734     2019     WABSH     1JJV281D8KL139866       DVDBHPC       OK               Oklahoma City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138735     2019     WABSH     1JJV281DXKL139867       DVDBHPC       NE               Omaha
 YRCF      ROAD TRAILER     RTL-SA    RDWY138736     2019     WABSH     1JJV281D1KL139868       DVDBHPC       NJ               South Plainfield
 YRCF      ROAD TRAILER     RTL-SA    RDWY138737     2019     WABSH     1JJV281D3KL139869       DVDBHPC       MO               Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138738     2019     WABSH     1JJV281DXKL139870       DVDBHPC       KS               Wichita
 YRCF      ROAD TRAILER     RTL-SA    RDWY138739     2019     WABSH     1JJV281D1KL139871       DVDBHPC       OH               Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138740     2019     WABSH     1JJV281D3KL139872       DVDBHPC       MI               Birch Run
 YRCF      ROAD TRAILER     RTL-SA    RDWY138741     2019     WABSH     1JJV281D5KL139873       DVDBHPC       ND               Fargo
 YRCF      ROAD TRAILER     RTL-SA    RDWY138742     2019     WABSH     1JJV281D7KL139874       DVDBHPC       FL               Tampa
 YRCF      ROAD TRAILER     RTL-SA    RDWY138743     2019     WABSH     1JJV281D9KL139875       DVDBHPC       TX               Fort Worth
 YRCF      ROAD TRAILER     RTL-SA    RDWY138744     2019     WABSH     1JJV281D0KL139876       DVDBHPC       PA               Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138745     2019     WABSH     1JJV281D2KL139877       DVDBHPC       NM               Albuquerque
 YRCF      ROAD TRAILER     RTL-SA    RDWY138746     2019     WABSH     1JJV281D4KL139878       DVDBHPC       IL               Wheeling
 YRCF      ROAD TRAILER     RTL-SA    RDWY138747     2019     WABSH     1JJV281D6KL139879       DVDBHPC       NY               Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138748     2019     WABSH     1JJV281D2KL139880       DVDBHPC       NE               Omaha
 YRCF      ROAD TRAILER     RTL-SA    RDWY138749     2019     WABSH     1JJV281D4KL139881       DVDBHPC       FL               Miami
 YRCF      ROAD TRAILER     RTL-SA    RDWY138750     2019     WABSH     1JJV281D6KL139882       DVDBHPC       PA               Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138751     2019     WABSH     1JJV281D8KL139883       DVDBHPC       OH               Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY138752     2019     WABSH     1JJV281DXKL139884       DVDBHPC       IN               Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138753     2019     WABSH     1JJV281D1KL139885       DVDBHPC       ME               Fairfield
 YRCF      ROAD TRAILER     RTL-SA    RDWY138754     2019     WABSH     1JJV281D3KL139886       DVDBHPC       MI               Taylor
 YRCF      ROAD TRAILER     RTL-SA    RDWY138755     2019     WABSH     1JJV281D5KL139887       DVDBHPC       GA               Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138756     2019     WABSH     1JJV281D7KL139888       DVDBHPC       PA               Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138757     2019     WABSH     1JJV281D9KL139889       DVDBHPC       GA               Ringgold
 YRCF      ROAD TRAILER     RTL-SA    RDWY138758     2019     WABSH     1JJV281D5KL139890       DVDBHPC       TN               Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138759     2019     WABSH     1JJV281D7KL139891       DVDBHPC       GA               Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138760     2019     WABSH     1JJV281D9KL139892       DVDBHPC       CO               Denver
 YRCF      ROAD TRAILER     RTL-SA    RDWY138761     2019     WABSH     1JJV281D0KL139893       DVDBHPC       OR               Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138762     2019     WABSH     1JJV281D2KL139894       DVDBHPC       WV               Charleston
 YRCF      ROAD TRAILER     RTL-SA    RDWY138763     2019     WABSH     1JJV281D4KL139895       DVDBHPC       IN               Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138765     2019     WABSH     1JJV281D8KL139897       DVDBHPC       IL               Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138766     2019     WABSH     1JJV281DXKL139898       DVDBHPC       PA               Milton
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 939 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State     City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138767     2019     WABSH     1JJV281D1KL139899       DVDBHPC       MO        Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138768     2019     WABSH     1JJV281D4KL139900       DVDBHPC       TN        Goodlettsville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138769     2019     WABSH     1JJV281D6KL139901       DVDBHPC       UT        Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138770     2019     WABSH     1JJV281D8KL139902       DVDBHPC       UT        Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138771     2019     WABSH     1JJV281DXKL139903       DVDBHPC       IA        Des Moines
 YRCF      ROAD TRAILER     RTL-SA    RDWY138772     2019     WABSH     1JJV281D1KL139904       DVDBHPC       MO        Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138773     2019     WABSH     1JJV281D3KL139905       DVDBHPC       FL        Ocala
 YRCF      ROAD TRAILER     RTL-SA    RDWY138774     2019     WABSH     1JJV281D5KL139906       DVDBHPC       CA        Bloomington
 YRCF      ROAD TRAILER     RTL-SA    RDWY138775     2019     WABSH     1JJV281D7KL139907       DVDBHPC       IL        Hodgkins
 YRCF      ROAD TRAILER     RTL-SA    RDWY138776     2019     WABSH     1JJV281D9KL139908       DVDBHPC       CA        Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138777     2019     WABSH     1JJV281D0KL139909       DVDBHPC       MD        Hagerstown
 YRCF      ROAD TRAILER     RTL-SA    RDWY138778     2019     WABSH     1JJV281D7KL139910       DVDBHPC       NY        Plainview
 YRCF      ROAD TRAILER     RTL-SA    RDWY138779     2019     WABSH     1JJV281D9KL139911       DVDBHPC       PA        Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138780     2019     WABSH     1JJV281D0KL139912       DVDBHPC       OH        Lima
 YRCF      ROAD TRAILER     RTL-SA    RDWY138781     2019     WABSH     1JJV281D2KL139913       DVDBHPC       RI        Cumberland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138782     2019     WABSH     1JJV281D4KL139914       DVDBHPC       TN        Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138783     2019     WABSH     1JJV281D6KL139915       DVDBHPC       TN        Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138784     2019     WABSH     1JJV281D8KL139916       DVDBHPC       IN        Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138785     2019     WABSH     1JJV281DXKL139917       DVDBHPC       OH        Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138786     2019     WABSH     1JJV281D1KL139918       DVDBHPC       OH        Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138787     2019     WABSH     1JJV281D3KL139919       DVDBHPC       IL        Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138788     2019     WABSH     1JJV281DXKL139920       DVDBHPC       PA        Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138789     2019     WABSH     1JJV281D1KL139921       DVDBHPC       CA        Gardena
 YRCF      ROAD TRAILER     RTL-SA    RDWY138790     2019     WABSH     1JJV281D3KL139922       DVDBHPC       IN        Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138791     2019     WABSH     1JJV281D5KL139923       DVDBHPC       OR        Redmond
 YRCF      ROAD TRAILER     RTL-SA    RDWY138792     2019     WABSH     1JJV281D7KL139924       DVDBHPC       TN        Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138794     2019     WABSH     1JJV281D0KL139926       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138795     2019     WABSH     1JJV281D2KL139927       DVDBHPC       GA        Richmond Hill
 YRCF      ROAD TRAILER     RTL-SA    RDWY138796     2019     WABSH     1JJV281D4KL139928       DVDBHPC       OH        Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138797     2019     WABSH     1JJV281D6KL139929       DVDBHPC       AL        Montgomery
 YRCF      ROAD TRAILER     RTL-SA    RDWY138798     2019     WABSH     1JJV281D2KL139930       DVDBHPC       CA        Pico Rivera
 YRCF      ROAD TRAILER     RTL-SA    RDWY138799     2019     WABSH     1JJV281D4KL139931       DVDBHPC       NJ        Millville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138800     2019     WABSH     1JJV281D6KL139932       DVDBHPC       PA        Carlisle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138801     2019     WABSH     1JJV281D8KL139933       DVDBHPC       FL        Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY138802     2019     WABSH     1JJV281DXKL139934       DVDBHPC       CA        Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138803     2019     WABSH     1JJV281D1KL139935       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138804     2019     WABSH     1JJV281D3KL139936       DVDBHPC       OR        Central Point
 YRCF      ROAD TRAILER     RTL-SA    RDWY138805     2019     WABSH     1JJV281D5KL139937       DVDBHPC       TX        Irving
 YRCF      ROAD TRAILER     RTL-SA    RDWY138806     2019     WABSH     1JJV281D7KL139938       DVDBHPC       OH        Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138807     2019     WABSH     1JJV281D9KL139939       DVDBHPC       MO        Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138808     2019     WABSH     1JJV281D5KL139940       DVDBHPC       TN        Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138809     2019     WABSH     1JJV281D7KL139941       DVDBHPC       IL        Hodgkins
 YRCF      ROAD TRAILER     RTL-SA    RDWY138810     2019     WABSH     1JJV281D9KL139942       DVDBHPC       UT        Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138811     2019     WABSH     1JJV281D0KL139943       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138812     2019     WABSH     1JJV281D2KL139944       DVDBHPC       TX        Houston
 YRCF      ROAD TRAILER     RTL-SA    RDWY138813     2019     WABSH     1JJV281D4KL139945       DVDBHPC       CO        Aurora
 YRCF      ROAD TRAILER     RTL-SA    RDWY138814     2019     WABSH     1JJV281D6KL139946       DVDBHPC       TN        Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138815     2019     WABSH     1JJV281D8KL139947       DVDBHPC       CA        Stockton
 YRCF      ROAD TRAILER     RTL-SA    RDWY138816     2019     WABSH     1JJV281DXKL139948       DVDBHPC       CA        Pico Rivera
 YRCF      ROAD TRAILER     RTL-SA    RDWY138817     2019     WABSH     1JJV281D1KL139949       DVDBHPC       MN        Burnsville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138818     2019     WABSH     1JJV281D8KL139950       DVDBHPC       UT        Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138819     2019     WABSH     1JJV281DXKL139951       DVDBHPC       OH        Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138822     2019     WABSH     1JJV281D5KL139954       DVDBHPC       GA        Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138823     2019     WABSH     1JJV281D7KL139955       DVDBHPC       CA        San Bernardino
 YRCF      ROAD TRAILER     RTL-SA    RDWY138824     2019     WABSH     1JJV281D9KL139956       DVDBHPC       TN        Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138825     2019     WABSH     1JJV281D0KL139957       DVDBHPC       TN        Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138826     2019     WABSH     1JJV281D2KL139958       DVDBHPC       NC        Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138827     2019     WABSH     1JJV281D4KL139959       DVDBHPC       PA        Bedford
 YRCF      ROAD TRAILER     RTL-SA    RDWY138828     2019     WABSH     1JJV281D0KL139960       DVDBHPC       AL        Mobile
 YRCF      ROAD TRAILER     RTL-SA    RDWY138829     2019     WABSH     1JJV281D2KL139961       DVDBHPC       OH        Cincinnati
 YRCF      ROAD TRAILER     RTL-SA    RDWY138830     2019     WABSH     1JJV281D4KL139962       DVDBHPC       CA        Pico Rivera
 YRCF      ROAD TRAILER     RTL-SA    RDWY138831     2019     WABSH     1JJV281D6KL139963       DVDBHPC       GA        Thomasville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138832     2019     WABSH     1JJV281D8KL139964       DVDBHPC       TX        Laredo
 YRCF      ROAD TRAILER     RTL-SA    RDWY138833     2019     WABSH     1JJV281DXKL139965       DVDBHPC       PA        Bensalem
 YRCF      ROAD TRAILER     RTL-SA    RDWY138834     2019     WABSH     1JJV281D1KL139966       DVDBHPC       TN        Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138835     2019     WABSH     1JJV281D3KL139967       DVDBHPC       OH        Richfield
 YRCF      ROAD TRAILER     RTL-SA    RDWY138836     2019     WABSH     1JJV281D5KL139968       DVDBHPC       FL        Ocala
 YRCF      ROAD TRAILER     RTL-SA    RDWY138837     2019     WABSH     1JJV281D7KL139969       DVDBHPC       Ontario   Ottawa
 YRCF      ROAD TRAILER     RTL-SA    RDWY138838     2019     WABSH     1JJV281D3KL139970       DVDBHPC       TX        Irving
 YRCF      ROAD TRAILER     RTL-SA    RDWY138839     2019     WABSH     1JJV281D5KL139971       DVDBHPC       NC        Durham
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 940 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State   City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138841     2019     WABSH     1JJV281D9KL139973       DVDBHPC       NV      Sparks
 YRCF      ROAD TRAILER     RTL-SA    RDWY138842     2019     WABSH     1JJV281D0KL139974       DVDBHPC       FL      Tampa
 YRCF      ROAD TRAILER     RTL-SA    RDWY138843     2019     WABSH     1JJV281D2KL139975       DVDBHPC       TN      Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138845     2019     WABSH     1JJV281D6KL139977       DVDBHPC       TX      Dallas
 YRCF      ROAD TRAILER     RTL-SA    RDWY138846     2019     WABSH     1JJV281D8KL139978       DVDBHPC       PA      Bedford
 YRCF      ROAD TRAILER     RTL-SA    RDWY138847     2019     WABSH     1JJV281DXKL139979       DVDBHPC       TX      El Paso
 YRCF      ROAD TRAILER     RTL-SA    RDWY138848     2019     WABSH     1JJV281D6KL139980       DVDBHPC       TX      Houston
 YRCF      ROAD TRAILER     RTL-SA    RDWY138849     2019     WABSH     1JJV281D8KL139981       DVDBHPC       AZ      Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138850     2019     WABSH     1JJV281DXKL139982       DVDBHPC       TX      Irving
 YRCF      ROAD TRAILER     RTL-SA    RDWY138851     2019     WABSH     1JJV281D1KL139983       DVDBHPC       MD      Baltimore
 YRCF      ROAD TRAILER     RTL-SA    RDWY138852     2019     WABSH     1JJV281D3KL139984       DVDBHPC       MO      Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138853     2019     WABSH     1JJV281D5KL139985       DVDBHPC       GA      Conley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138854     2019     WABSH     1JJV281D7KL139986       DVDBHPC       IN      Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138855     2019     WABSH     1JJV281D9KL139987       DVDBHPC       UT      Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138856     2019     WABSH     1JJV281D0KL139988       DVDBHPC       IL      Wheeling
 YRCF      ROAD TRAILER     RTL-SA    RDWY138857     2019     WABSH     1JJV281D2KL139989       DVDBHPC       MN      Burnsville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138858     2019     WABSH     1JJV281D9KL139990       DVDBHPC       MT      Butte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138860     2019     WABSH     1JJV281D2KL139992       DVDBHPC       IL      Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY138861     2019     WABSH     1JJV281D4KL139993       DVDBHPC       TX      Sherman
 YRCF      ROAD TRAILER     RTL-SA    RDWY138862     2019     WABSH     1JJV281D6KL139994       DVDBHPC       OH      Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138863     2019     WABSH     1JJV281D8KL139995       DVDBHPC       MI      Taylor
 YRCF      ROAD TRAILER     RTL-SA    RDWY138866     2019     WABSH     1JJV281D3KL139998       DVDBHPC       TN      Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138867     2019     WABSH     1JJV281D5KL139999       DVDBHPC       CA      Needles
 YRCF      ROAD TRAILER     RTL-SA    RDWY138868     2019     WABSH     1JJV281D6KL140000       DVDBHPC       NY      Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138869     2019     WABSH     1JJV281D8KL140001       DVDBHPC       IN      Fort Wayne
 YRCF      ROAD TRAILER     RTL-SA    RDWY138870     2019     WABSH     1JJV281DXKL140002       DVDBHPC       CA      Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138871     2019     WABSH     1JJV281D1KL140003       DVDBHPC       DE      New Castle
 YRCF      ROAD TRAILER     RTL-SA    RDWY138872     2019     WABSH     1JJV281D3KL140004       DVDBHPC       KS      Wichita
 YRCF      ROAD TRAILER     RTL-SA    RDWY138873     2019     WABSH     1JJV281D5KL140005       DVDBHPC       IN      Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138874     2019     WABSH     1JJV281D7KL140006       DVDBHPC       ND      Minot
 YRCF      ROAD TRAILER     RTL-SA    RDWY138875     2019     WABSH     1JJV281D9KL140007       DVDBHPC       NC      Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138876     2019     WABSH     1JJV281D0KL140008       DVDBHPC       WA      Union Gap
 YRCF      ROAD TRAILER     RTL-SA    RDWY138878     2019     WABSH     1JJV281D9KL140010       DVDBHPC       TX      Lubbock
 YRCF      ROAD TRAILER     RTL-SA    RDWY138879     2019     WABSH     1JJV281D0KL140011       DVDBHPC       NC      Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138880     2019     WABSH     1JJV281D2KL140012       DVDBHPC       GA      Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY138881     2019     WABSH     1JJV281D4KL140013       DVDBHPC       MO      Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138884     2019     WABSH     1JJV281DXKL140016       DVDBHPC       TX      Lubbock
 YRCF      ROAD TRAILER     RTL-SA    RDWY138885     2019     WABSH     1JJV281D1KL140017       DVDBHPC       UT      Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138886     2019     WABSH     1JJV281D3KL140018       DVDBHPC       GA      Macon
 YRCF      ROAD TRAILER     RTL-SA    RDWY138887     2019     WABSH     1JJV281D5KL140019       DVDBHPC       NY      Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY138888     2019     WABSH     1JJV281D1KL140020       DVDBHPC       GA      Savannah
 YRCF      ROAD TRAILER     RTL-SA    RDWY138889     2019     WABSH     1JJV281D3KL140021       DVDBHPC       CA      Adelanto
 YRCF      ROAD TRAILER     RTL-SA    RDWY138890     2019     WABSH     1JJV281D5KL140022       DVDBHPC       PA      Harrisburg
 YRCF      ROAD TRAILER     RTL-SA    RDWY138891     2019     WABSH     1JJV281D7KL140023       DVDBHPC       PA      Bensalem
 YRCF      ROAD TRAILER     RTL-SA    RDWY138892     2019     WABSH     1JJV281D9KL140024       DVDBHPC       VA      Fishersville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138894     2019     WABSH     1JJV281D2KL140026       DVDBHPC       IA      Des Moines
 YRCF      ROAD TRAILER     RTL-SA    RDWY138895     2019     WABSH     1JJV281D4KL140027       DVDBHPC       TX      Waco
 YRCF      ROAD TRAILER     RTL-SA    RDWY138896     2019     WABSH     1JJV281D6KL140028       DVDBHPC       AZ      Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138897     2019     WABSH     1JJV281D8KL140029       DVDBHPC       NC      Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY138898     2019     WABSH     1JJV281D4KL140030       DVDBHPC       AZ      Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138899     2019     WABSH     1JJV281D6KL140031       DVDBHPC       OK      Checotah
 YRCF      ROAD TRAILER     RTL-SA    RDWY138900     2019     WABSH     1JJV281D8KL140032       DVDBHPC       FL      Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY138903     2019     WABSH     1JJV281D3KL140035       DVDBHPC       IL      Hodgkins
 YRCF      ROAD TRAILER     RTL-SA    RDWY138904     2019     WABSH     1JJV281D5KL140036       DVDBHPC       AZ      Phoenix
 YRCF      ROAD TRAILER     RTL-SA    RDWY138905     2019     WABSH     1JJV281D7KL140037       DVDBHPC       TX      Laredo
 YRCF      ROAD TRAILER     RTL-SA    RDWY138906     2019     WABSH     1JJV281D9KL140038       DVDBHPC       CO      Aurora
 YRCF      ROAD TRAILER     RTL-SA    RDWY138907     2019     WABSH     1JJV281D0KL140039       DVDBHPC       VA      Manassas
 YRCF      ROAD TRAILER     RTL-SA    RDWY138908     2019     WABSH     1JJV281D7KL140040       DVDBHPC       MO      Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138909     2019     WABSH     1JJV281D9KL140041       DVDBHPC       IN      Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138910     2019     WABSH     1JJV281D0KL140042       DVDBHPC       IN      Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138911     2019     WABSH     1JJV281D2KL140043       DVDBHPC       NY      Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138912     2019     WABSH     1JJV281D4KL140044       DVDBHPC       NY      Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138913     2019     WABSH     1JJV281D6KL140045       DVDBHPC       WA      Tacoma
 YRCF      ROAD TRAILER     RTL-SA    RDWY138915     2019     WABSH     1JJV281DXKL140047       DVDBHPC       TN      Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138916     2019     WABSH     1JJV281D1KL140048       DVDBHPC       IN      Indianapolis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138917     2019     WABSH     1JJV281D3KL140049       DVDBHPC       OH      Akron
 YRCF      ROAD TRAILER     RTL-SA    RDWY138918     2019     WABSH     1JJV281DXKL140050       DVDBHPC       WI      Madison
 YRCF      ROAD TRAILER     RTL-SA    RDWY138919     2019     WABSH     1JJV281D1KL140051       DVDBHPC       WA      Spokane
 YRCF      ROAD TRAILER     RTL-SA    RDWY138920     2019     WABSH     1JJV281D3KL140052       DVDBHPC       CA      Tracy
 YRCF      ROAD TRAILER     RTL-SA    RDWY138922     2019     WABSH     1JJV281D7KL140054       DVDBHPC       MA      Shrewsbury
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 941 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State            City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138928     2019     WABSH     1JJV281D2KL140060       DVDBHPC       CA               Orange
 YRCF      ROAD TRAILER     RTL-SA    RDWY138929     2019     WABSH     1JJV281D4KL140061       DVDBHPC       OH               Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138930     2019     WABSH     1JJV281D6KL140062       DVDBHPC       OR               Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY138931     2019     WABSH     1JJV281D8KL140063       DVDBHPC       TN               Nashville
 YRCF      ROAD TRAILER     RTL-SA    RDWY138932     2019     WABSH     1JJV281DXKL140064       DVDBHPC       NY               Maybrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138933     2019     WABSH     1JJV281D1KL140065       DVDBHPC       ME               Westbrook
 YRCF      ROAD TRAILER     RTL-SA    RDWY138934     2019     WABSH     1JJV281D3KL140066       DVDBHPC       TN               Memphis
 YRCF      ROAD TRAILER     RTL-SA    RDWY138935     2019     WABSH     1JJV281D5KL140067       DVDBHPC       MO               Kansas City
 YRCF      ROAD TRAILER     RTL-SA    RDWY138937     2019     WABSH     1JJV281D9KL140069       DVDBHPC       GA               Conley
 YRCF      ROAD TRAILER     RTL-SA    RDWY138939     2019     WABSH     1JJV281D7KL140071       DVDBHPC       KS               Wichita
 YRCF      ROAD TRAILER     RTL-SA    RDWY138940     2019     WABSH     1JJV281D9KL140072       DVDBHPC       IN               South Bend
 YRCF      ROAD TRAILER     RTL-SA    RDWY138941     2019     WABSH     1JJV281D0KL140073       DVDBHPC       CA               West Sacramento
 YRCF      ROAD TRAILER     RTL-SA    RDWY138942     2019     WABSH     1JJV281D2KL140074       DVDBHPC       GA               La Grange
 YRCF      ROAD TRAILER     RTL-SA    RDWY138943     2019     WABSH     1JJV281D4KL140075       DVDBHPC       NE               Omaha
 YRCF      ROAD TRAILER     RTL-SA    RDWY139027     2019     WABSH     1JJV281DXKL140159       DVDBHPC       TX               McAllen
 YRCF      ROAD TRAILER     RTL-SA    RDWY139174     2019     WABSH     1JJV281D8KL140306       DVDBHPC       CA               Bloomington
 YRCF      ROAD TRAILER     RTL-SA    RDWY139187     2019     WABSH     1JJV281D6KL140319       DVDBHPC       UT               St. George
 YRCF      ROAD TRAILER     RTL-SA    RDWY139188     2019     WABSH     1JJV281D2KL140320       DVDBHPC       British Columbia Burnaby
 YRCF      ROAD TRAILER     RTL-SA    RDWY139215     2019     WABSH     1JJV281D0KL140347       DVDBHPC       AR               Little Rock
 YRCF      ROAD TRAILER     RTL-SA    RDWY139216     2019     WABSH     1JJV281D2KL140348       DVDBHPC       VA               Richmond
 YRCF      ROAD TRAILER     RTL-SA    RDWY139220     2019     WABSH     1JJV281D4KL140352       DVDBHPC       OH               Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY139222     2019     WABSH     1JJV281D8KL140354       DVDBHPC       IN               Hammond
 YRCF      ROAD TRAILER     RTL-SA    RDWY139223     2019     WABSH     1JJV281DXKL140355       DVDBHPC       OH               Copley
 YRCF      ROAD TRAILER     RTL-SA    RDWY139224     2019     WABSH     1JJV281D1KL140356       DVDBHPC       GA               Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY139226     2019     WABSH     1JJV281D5KL140358       DVDBHPC       AR               Springdale
 YRCF      ROAD TRAILER     RTL-SA    RDWY139227     2019     WABSH     1JJV281D7KL140359       DVDBHPC       OH               Cincinnati
 YRCF      ROAD TRAILER     RTL-SA    RDWY139230     2019     WABSH     1JJV281D7KL140362       DVDBHPC       NY               Tonawanda
 YRCF      ROAD TRAILER     RTL-SA    RDWY139231     2019     WABSH     1JJV281D9KL140363       DVDBHPC       WA               Spokane
 YRCF      ROAD TRAILER     RTL-SA    RDWY139232     2019     WABSH     1JJV281D0KL140364       DVDBHPC       RI               Cumberland
 YRCF      ROAD TRAILER     RTL-SA    RDWY139233     2019     WABSH     1JJV281D2KL140365       DVDBHPC       MO               Saint Louis
 YRCF      ROAD TRAILER     RTL-SA    RDWY139234     2019     WABSH     1JJV281D4KL140366       DVDBHPC       CO               Colorado Springs
 YRCF      ROAD TRAILER     RTL-SA    RDWY139235     2019     WABSH     1JJV281D6KL140367       DVDBHPC       IL               Wheeling
 YRCF      ROAD TRAILER     RTL-SA    RDWY139236     2019     WABSH     1JJV281D8KL140368       DVDBHPC       MT               Butte
 YRCF      ROAD TRAILER     RTL-SA    RDWY139237     2019     WABSH     1JJV281DXKL140369       DVDBHPC       CA               Fontana
 YRCF      ROAD TRAILER     RTL-SA    RDWY139241     2019     WABSH     1JJV281D1KL140373       DVDBHPC       OH               Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY139242     2019     WABSH     1JJV281D3KL140374       DVDBHPC       CA               Los Angeles
 YRCF      ROAD TRAILER     RTL-SA    RDWY139243     2019     WABSH     1JJV281D5KL140375       DVDBHPC       MT               Butte
 YRCF      ROAD TRAILER     RTL-SA    RDWY139244     2019     WABSH     1JJV281D7KL140376       DVDBHPC       TN               Goodlettsville
 YRCF      ROAD TRAILER     RTL-SA    RDWY139246     2019     WABSH     1JJV281D0KL140378       DVDBHPC       GA               Marietta
 YRCF      ROAD TRAILER     RTL-SA    RDWY139247     2019     WABSH     1JJV281D2KL140379       DVDBHPC       PA               McKees Rocks
 YRCF      ROAD TRAILER     RTL-SA    RDWY139248     2019     WABSH     1JJV281D9KL140380       DVDBHPC       OH               Columbus
 YRCF      ROAD TRAILER     RTL-SA    RDWY139253     2019     WABSH     1JJV281D8KL140385       DVDBHPC       FL               Orlando
 YRCF      ROAD TRAILER     RTL-SA    RDWY139254     2019     WABSH     1JJV281DXKL140386       DVDBHPC       PA               McKees Rocks
 YRCF      ROAD TRAILER     RTL-SA    RDWY139255     2019     WABSH     1JJV281D1KL140387       DVDBHPC       OR               Portland
 YRCF      ROAD TRAILER     RTL-SA    RDWY139256     2019     WABSH     1JJV281D3KL140388       DVDBHPC       Ontario          Ottawa
 YRCF      ROAD TRAILER     RTL-SA    RDWY139257     2019     WABSH     1JJV281D5KL140389       DVDBHPC       TX               San Antonio
 YRCF      ROAD TRAILER     RTL-SA    RDWY139258     2019     WABSH     1JJV281D1KL140390       DVDBHPC       GA               Thomasville
 YRCF      ROAD TRAILER     RTL-SA    RDWY139259     2019     WABSH     1JJV281D3KL140391       DVDBHPC       OH               Richfield
 YRCF      ROAD TRAILER     RTL-SA    RDWY139271     2019     WABSH     1JJV281D6KL140403       DVDBHPC       UT               Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY140477     2020     WABSH     1JJV281D9LL203138       DVDBHPC       NC               Charlotte
 YRCF      ROAD TRAILER     RTL-SA    RDWY140536     2020     WABSH     1JJV281D3LL203197       DVDBHPC       WA               Seattle
 YRCF      ROAD TRAILER     RTL-SA    RDWY140619     2020     WABSH     1JJV281D1LL203280       DVDBHPC       NJ               South Plainfield
 YRCF      ROAD TRAILER     RTL-SA    RDWY140620     2020     WABSH     1JJV281D3LL203281       DVDBHPC       PA               Harrisburg
 YRCF      ROAD TRAILER     RTL-SA    RDWY140623     2020     WABSH     1JJV281D9LL203284       DVDBHPC       CA               Fresno
 YRCF      ROAD TRAILER     RTL-SA    RDWY140624     2020     WABSH     1JJV281D0LL203285       DVDBHPC       IL               Chicago Heights
 YRCF      ROAD TRAILER     RTL-SA    RDWY140625     2020     WABSH     1JJV281D2LL203286       DVDBHPC       Ontario          Mississauga
 YRCF      ROAD TRAILER     RTL-SA    RDWY140627     2020     WABSH     1JJV281D6LL203288       DVDBHPC       UT               Salt Lake City
 YRCF      ROAD TRAILER     RTL-SA    RDWY140652     2020     WABSH     1JJV281D1LL203313       DVDBHPC       CA               Bakersfield
 YRCF      ROAD TRAILER     RTL-SA    RDWY140653     2020     WABSH     1JJV281D3LL203314       DVDBHPC       MO               Kansas City
 YRCF      ROAD TRAILER     RTL-TA    RDWY531399     2020     WABSH     1JJV532D3LL203886       DVCVHPC       NJ               Hamilton
 YRCF      ROAD TRAILER     RTL-TA    RDWY531400     2020     WABSH     1JJV532D5LL203887       DVCVHPC       PQ               Sherbrooke
 YRCF      ROAD TRAILER     RTL-TA    RDWY531401     2020     WABSH     1JJV532D7LL203888       DVCVHPC       SC               Columbia
 YRCF      ROAD TRAILER     RTL-TA    RDWY531402     2020     WABSH     1JJV532D9LL203889       DVCVHPC       IN               South Bend
 YRCF      ROAD TRAILER     RTL-TA    RDWY531403     2020     WABSH     1JJV532D5LL203890       DVCVHPC       NJ               South Plainfield
 YRCF      ROAD TRAILER     RTL-TA    RDWY531404     2020     WABSH     1JJV532D7LL203891       DVCVHPC       WI               Oak Creek
 YRCF      ROAD TRAILER     RTL-TA    RDWY531405     2020     WABSH     1JJV532D8LL203897       DVCVHPC       IN               South Bend
 YRCF      ROAD TRAILER     RTL-TA    RDWY531406     2020     WABSH     1JJV532D9LL203911       DVCVHPC       NY               Rochester
 YRCF      ROAD TRAILER     RTL-TA    RDWY531407     2020     WABSH     1JJV532D0LL203912       DVCVHPC       CO               Colorado Springs
 YRCF      ROAD TRAILER     RTL-TA    RDWY531408     2020     WABSH     1JJV532D2LL203913       DVCVHPC       TX               Fort Worth
 YRCF      ROAD TRAILER     RTL-TA    RDWY531409     2020     WABSH     1JJV532D4LL203914       DVCVHPC       OH               Columbus
                                     Case 23-11069-CTG      Doc 969-1    Filed 10/26/23     Page 942 of 942




Exhibit B - Leased Assets


 Brand     Type1            Type2     EUNIT        EYEAR      EMAKE     EFSERIAL                EMODEL        State   City
 YRCF      ROAD TRAILER     RTL-TA    RDWY531410     2020     WABSH     1JJV532D8LL203916       DVCVHPC       OH      Copley
 YRCF      ROAD TRAILER     RTL-TA    RDWY531411     2020     WABSH     1JJV532DXLL203917       DVCVHPC       PA      Bedford
 YRCF      ROAD TRAILER     RTL-TA    RDWY531412     2020     WABSH     1JJV532D1LL203918       DVCVHPC       NJ      Hamilton
 YRCF      ROAD TRAILER     RTL-TA    RDWY531413     2020     WABSH     1JJV532DXLL203920       DVCVHPC       OH      Toledo
 YRCF      ROAD TRAILER     RTL-TA    RDWY531414     2020     WABSH     1JJV532D1LL203921       DVCVHPC       TN      Knoxville
 YRCF      ROAD TRAILER     RTL-TA    RDWY531415     2020     WABSH     1JJV532D3LL203922       DVCVHPC       WV      Charleston
 YRCF      ROAD TRAILER     RTL-TA    RDWY531416     2020     WABSH     1JJV532D5LL203923       DVCVHPC       IL      Rock Island
 YRCF      ROAD TRAILER     RTL-TA    RDWY531417     2020     WABSH     1JJV532D7LL203924       DVCVHPC       CA      Tracy
 YRCF      ROAD TRAILER     RTL-TA    RDWY531418     2020     WABSH     1JJV532D9LL203925       DVCVHPC       TN      Nashville
 YRCF      ROAD TRAILER     RTL-TA    RDWY531419     2020     WABSH     1JJV532D0LL203926       DVCVHPC       IN      Terre Haute
 YRCF      ROAD TRAILER     RTL-TA    RDWY531420     2020     WABSH     1JJV532D2LL203927       DVCVHPC       VA      Fishersville
 YRCF      ROAD TRAILER     RTL-TA    RDWY531421     2020     WABSH     1JJV532D4LL203928       DVCVHPC       IN      South Bend
 YRCF      ROAD TRAILER     RTL-TA    RDWY531422     2020     WABSH     1JJV532D6LL203929       DVCVHPC       TN      Knoxville
 YRCF      ROAD TRAILER     RTL-TA    RDWY531423     2020     WABSH     1JJV532D2LL203930       DVCVHPC       PA      Bensalem
 YRCF      ROAD TRAILER     RTL-TA    RDWY531424     2020     WABSH     1JJV532D4LL203931       DVCVHPC       MN      Burnsville
 YRCF      ROAD TRAILER     RTL-TA    RDWY531425     2020     WABSH     1JJV532D6LL203932       DVCVHPC       OH      Bowling Green
 YRCF      ROAD TRAILER     RTL-TA    RDWY531426     2020     WABSH     1JJV532D8LL203933       DVCVHPC       FL      Jacksonville
 YRCF      ROAD TRAILER     RTL-TA    RDWY531427     2020     WABSH     1JJV532DXLL203934       DVCVHPC       OH      Toledo
 YRCF      ROAD TRAILER     RTL-TA    RDWY531428     2020     WABSH     1JJV532D1LL203935       DVCVHPC       IN      South Bend
 YRCF      ROAD TRAILER     RTL-TA    RDWY531429     2020     WABSH     1JJV532D3LL203936       DVCVHPC       IN      South Bend
 YRCF      ROAD TRAILER     RTL-TA    RDWY531430     2020     WABSH     1JJV532D5LL203937       DVCVHPC       OH      North Lima
 YRCF      ROAD TRAILER     RTL-TA    RDWY531431     2020     WABSH     1JJV532D7LL203938       DVCVHPC       NY      Rochester
 YRCF      ROAD TRAILER     RTL-TA    RDWY531432     2020     WABSH     1JJV532D9LL203939       DVCVHPC       TX      Dallas
 YRCF      ROAD TRAILER     RTL-TA    RDWY531433     2020     WABSH     1JJV532D5LL203940       DVCVHPC       DE      New Castle
 YRCF      ROAD TRAILER     RTL-TA    RDWY531434     2020     WABSH     1JJV532D7LL203941       DVCVHPC       NJ      Hamilton
 YRCF      ROAD TRAILER     RTL-TA    RDWY531435     2020     WABSH     1JJV532D9LL203942       DVCVHPC       TX      San Antonio
 YRCF      ROAD TRAILER     RTL-TA    RDWY531437     2020     WABSH     1JJV532D2LL203944       DVCVHPC       OH      Dayton
 YRCF      ROAD TRAILER     RTL-TA    RDWY531438     2020     WABSH     1JJV532D4LL203945       DVCVHPC       SD      Watertown
 YRCF      ROAD TRAILER     RTL-TA    RDWY531439     2020     WABSH     1JJV532D6LL203946       DVCVHPC       NE      Omaha
 YRCF      ROAD TRAILER     RTL-TA    RDWY531440     2020     WABSH     1JJV532D8LL203947       DVCVHPC       IL      Montgomery
 YRCF      ROAD TRAILER     RTL-TA    RDWY531441     2020     WABSH     1JJV532DXLL203948       DVCVHPC       IL      Montgomery
 YRCF      ROAD TRAILER     RTL-TA    RDWY531442     2020     WABSH     1JJV532D1LL203949       DVCVHPC       PA      Du Bois
 YRCF      ROAD TRAILER     RTL-TA    RDWY531443     2020     WABSH     1JJV532D8LL203950       DVCVHPC       CO      Aurora
 YRCF      ROAD TRAILER     RTL-TA    RDWY531444     2020     WABSH     1JJV532DXLL203951       DVCVHPC       WI      Oak Creek
 YRCF      ROAD TRAILER     RTL-TA    RDWY531445     2020     WABSH     1JJV532D1LL203952       DVCVHPC       CA      Bloomington
 YRCF      ROAD TRAILER     RTL-TA    RDWY531446     2020     WABSH     1JJV532D3LL203953       DVCVHPC       MI      Wyoming
 YRCF      ROAD TRAILER     RTL-TA    RDWY531447     2020     WABSH     1JJV532D5LL203954       DVCVHPC       VA      Chesapeake
